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SAP Account   Leg Account                   Customer                   City        State    Zip    Business Channel      DEA       06/2014     07/2014     08/2014      09/2014     10/2014     11/2014     Avg/Mth     Total



 100053177    024073650     6122 PHARMACY                          LOS ANGELES      CA     90022     INDEPENDENT       AXXXXXXXX       4,900       6,700       2,800       10,400       3,000                   5,560    27,800

 100052428    024099242     2010 PRESCRIPTION PHARMACY             LOS ANGELES      CA     90057     INDEPENDENT       AXXXXXXXX       2,100       3,500       2,500        7,500       4,700       2,000       3,717    22,300

 100051093    008018572     1800 SULLIVAN PHARMACY CPA              DALY CITY       CA     94015     INDEPENDENT       AXXXXXXXX      14,700       6,400      10,800       14,500      10,500      10,900      11,300    67,800

 100061443    023016717     255 COLUMBUS AVE CORP                   NEW YORK        NY     10023     INDEPENDENT       AXXXXXXXX       1,500       1,400       1,500        3,700                               2,025     8,100

 100061374    023016238     1746 PHARMACY CORP(GNP)                 BROOKLYN        NY     11203     INDEPENDENT       AXXXXXXXX                     400       1,700          200                                 767     2,300

 100063252    046070094     A & E PHCY         SF                  PENSACOLA        FL     32506     INDEPENDENT       AA0161430      38,900      45,300      46,200       36,400      55,400      48,330      45,088   270,530

 100054184    040067777     JOHN D ARCHBOLD MEM HOSP PHS           THOMASVILLE      GA     31792   PHS 340B HOSPITAL   AA0401416       5,600       6,200       5,500        6,200       3,800       6,400       5,617    33,700

 100056089    040040329     JOHN D ARCHBOLD MEMORIAL HOSP          THOMASVILLE      GA     31792       HOSPITAL        AA0401416       3,500       4,900       3,800        1,800       6,780       2,120       3,817    22,900

 100056082    040040246     JOHN D ARCHBOLD H ADMIN2 PHS           THOMASVILLE      GA     31792   PHS 340B HOSPITAL   AA0401416                                            1,400         600                   1,000     2,000

 100085518    040103465     JOHN D ARCHBOLD CONT/MED GPO           THOMASVILLE      GA     31792       HOSPITAL        AA0401416                                              400                                 400       400

 100085499    040103473     JOHN D ARCHBOLD CONT/MED PHS           THOMASVILLE      GA     31792   PHS 340B HOSPITAL   AA0401416                                              200                                 200       200

 100064076    052014613     ADAMS STREET DRUG COMPANY @           MONTGOMERY        AL     36104     INDEPENDENT       AA0478811                                (100)         500       2,500       4,000       1,725     6,900

 100086255    023106252     LEHIGH VALLEY HOSPITAL(17TH)           ALLENTOWN        PA     18102       HOSPITAL        AA0593043         300         300         400          500         240         240         330     1,980

 100071697    037116343     *ANGLETON DANBURY MEDICAL CTR           ANGLETON        TX     77515       HOSPITAL        AA0891057       1,200         700         400                                              767     2,300

 100089027    037128520     HAMLIN PHARMACY                       CORPUS CHRISTI    TX     78411     INDEPENDENT       AA0951928      12,000      11,500       8,000       10,000      10,000       6,000       9,583    57,500

 100090490    040114231     ADD DRUG CO, INC     CPA                 ATHENS         GA     30606     INDEPENDENT       AA1176824       1,700       1,600       1,600        2,900                   2,000       1,960     9,800

 100066160    040143032     ADAMS DRUG STORE INC          CPA        CORDELE        GA     31015     INDEPENDENT       AA1186801       8,500      11,500      13,000        9,000      14,000      11,500      11,250    67,500

 100096480    040115154     ATHENS REG MED CTR D21(WAC)              ATHENS         GA     30606   PHS 340B HOSPITAL   AA1197727       1,100       2,600       1,100        2,100       3,260                   2,032    10,160

 100055416    040041046     ATHENS REG MED CTR ATTN PHCY             ATHENS         GA     30606       HOSPITAL        AA1197727       1,700       1,700       1,900          700                               1,500     6,000

 100062629    040067660     ATHENS REG MED CTR 340B D21              ATHENS         GA     30606   PHS 340B HOSPITAL   AA1197727       1,100         900       1,500        1,500                               1,250     5,000

 100066545    021002790     ATCHISON HOSPITAL ASSOCIATION           ATCHISON        KS     66002       HOSPITAL        AA1288996         100         200         200          400         280         500         280     1,680

 100093886    021168849     ATCHISON HOSP ASSOC 340B                ATCHISON        KS     66002       HOSPITAL        AA1288996         200         300         300          500                                 325     1,300

 100065855    021055509     SUE B ALLEN MEM HOSP/MED                EL DORADO       KS     67042       HOSPITAL        AA1293860       3,200       1,600       1,800        2,100       4,000         600       2,217    13,300

 100059456    023001115     ARROCHAR PHARMACY INC. IPBG           STATEN ISLAND     NY     10305     INDEPENDENT       AA1323031       1,500       3,000         700        2,000       2,100       1,700       1,833    11,000

 100066161    040143057     APOTHECARE PHARMACY            CPA      SNELLVILLE      GA     30078     INDEPENDENT       AA1353058       1,200       2,300       1,500        3,600       2,580       3,380       2,427    14,560

 100051287    008035857     ALTA BATES MED CENTER PHCY              BERKELEY        CA     94705       HOSPITAL        AA1362499       4,200       3,700       3,500        2,500         100       1,700       2,617    15,700

 100101358    008095778     ALTA BATES MED CENTER PHY WAC           BERKELEY        CA     94705   PHS 340B HOSPITAL   AA1362499         400                                3,100       2,600       2,980       2,270     9,080

 100059594    008133553     ALTA BATES MED CENTER PHY 340B          BERKELEY        CA     94705   PHS 340B HOSPITAL   AA1362499                     300         800          400                                 500     1,500

 100071037    023143065     TRIGUN PHARMACY INC(X)         CPA      NEW YORK        NY     10009     INDEPENDENT       AA1483356         500       1,000                      700         100                     575     2,300

 100073098    018143263     GAIL'S PHARMACY          CPA           BRIDGEPORT       TX     76426     INDEPENDENT       AA1594161      21,200      13,400      36,300       29,300       2,100      13,500      19,300   115,800

 100052364    017059790     *VALLEY COMPOUNDING PHARMACY            FRUITLAND       ID     83619     INDEPENDENT       AA1621045       3,000                                                                    3,000     3,000

 100061944    025018853     STERLING DRUG #8         SF           WORTHINGTON       MN     56187     INDEPENDENT       AA1803712       9,100       8,100       7,700        5,600       8,800       7,300       7,767    46,600

 100050512    004046227     ATHOL MEM HOSP(X)                         ATHOL         MA     01331       HOSPITAL        AA1925772         200         150         200          200                     100         170       850

 100050429    018047712     TACKETT PHARMACY                      WEATHERFORD       TX     76087     INDEPENDENT       AA1948807      13,100      15,700      14,100       13,900       8,100      13,600      13,083    78,500

 100063434    018080341     ARBUCKLE MEMORIAL HOSPITAL               SULPHUR        OK     73086       HOSPITAL        AA2132304         400         400         100          300         500         200         317     1,900

 100068328    021004911     TAYLOR DRUG             CPA           ARKANSAS CITY     KS     67005     INDEPENDENT       AA2154641       8,100       1,500       6,600       13,000         300       3,000       5,417    32,500

 100051424    018046623     GIBSON PRESCRIPTION PHCY SF              ATHENS         TX     75751     INDEPENDENT       AA2243032      47,300      29,700      44,200       38,300      46,500      30,000      39,333   236,000

 100076089    055052050     ANDERSON APOTH / PRO PHCY               ANDERSON        SC     29621     INDEPENDENT       AA2374736                     500                    2,500       1,000                   1,333     4,000

 100107470    023153635     AHMAR PHARMACY                         JERSEY CITY      NJ     07304     INDEPENDENT       AA2477847         100                                            1,400         500         667     2,000

 100052284    010040675     ALLEN'S MEDICAL PHARM INC              CHILLICOTHE      OH     45601     INDEPENDENT       AA2499843      31,500      29,300      28,300       36,400      26,800      30,500      30,467   182,800

 100066758    049175877     ANDERSON PHARMACY INC,          CPA      BAY CITY       MI     48706     INDEPENDENT       AA2756697       9,100      13,900      19,900       10,200       8,300      16,100      12,917    77,500

 100071825    010123653     AMHERST HOSPITAL ASSOCIATION            AMHERST         OH     44001       HOSPITAL        AA2875461         200         200         200          250         160         200         202     1,210
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100090226   010224386   MERCY ALLEN HOSPITAL                 OBERLIN     OH   44074       HOSPITAL        AA2878556     200      300      300      300         200      500      300      1,800

100073353   055060269   ANGEL MEDICAL CENTER                FRANKLIN     NC   28734       HOSPITAL        AA3196006              300     1,400    1,400       1,120     600      964      4,820

100074310   055069534   ANGEL MEDICAL CENTER(340B)          FRANKLIN     NC   28734       HOSPITAL        AA3196006    1,800     600      200      100                           675      2,700

100077064   055052852   *MARION PHARMACY INC                 MARION      NC   28752     INDEPENDENT       AA3196830              300               200                           250       500

100087737   055028746   WAKEMED MAIN CAMPUS                  RALEIGH     NC   27610       HOSPITAL        AA3299511    6,400    6,300    6,100    5,600       6,660    5,900    6,160    36,960

100076887   055042275   WAKEMED INPATIENT PHARMACY(OP)       RALEIGH     NC   27610       HOSPITAL        AA3299511              500      500       -                            333      1,000

100076888   055042226   WAKEMED 340B                         RALEIGH     NC   27610   PHS 340B HOSPITAL   AA3299511     100                                                      100       100

100076127   004055715   LEWIS COUNTY GENERAL HOSP(X)        LOWVILLE     NY   13367       HOSPITAL        AA3300491     100      200      300      300         160      200      210      1,260

100087747   004088187   CONN VALLEY HOSPITAL               MIDDLETOWN    CT   06457       HOSPITAL        AA3508085     200      400      100      100                           200       800

100111100   017001936   ALLEN DRUG         CPA              MALAD CITY   ID   83252     INDEPENDENT       AA3531779                                           1,200   10,100    5,650    11,300

100061163   025018788   STERLING DRUG #1        SF           AUSTIN      MN   55912     INDEPENDENT       AA3630565    5,000    6,500    6,000    4,600       7,300    5,300    5,783    34,700

100087352   025083055   APPLETON MUNICIPAL HOSP             APPLETON     MN   56208       HOSPITAL        AA3642178               50       50           50     100      300      110       550

100103950   019179911   THOREK HOSPITAL & MED CTR WAC        CHICAGO     IL   60613   PHS 340B HOSPITAL   AA3849784              100     1,000     500          80      240      384      1,920

100064519   019008367   THOREK HOSPITAL & MED CTR 340B       CHICAGO     IL   60613   PHS 340B HOSPITAL   AA3849784              200      300                           300      267       800

100063868   019000372   THOREK HOSPITAL & MEDICAL CTR        CHICAGO     IL   60613       HOSPITAL        AA3849784              300      200                                    250       500

100074219   019056796   APPLETON MEDICAL CENTER             APPLETON     WI   54911       HOSPITAL        AA3910470    1,500    1,800    2,300    1,850        800     1,780    1,672    10,030

100104651   021172445   AUDRAIN MEDICAL CENTER (MAIN)        MEXICO      MO   65265       HOSPITAL        AA3938721              800      600      400         520               580      2,320

100104959   021172593   ALEGENT HEALTH - BERGAN MERCY        OMAHA       NE   68124       HOSPITAL        AA3985035    1,600    1,650    2,700    1,400       1,320    1,460    1,688    10,130

100063196   021001065   AUDUBON COUNTY MEMORIAL HOSP        AUDUBON      IA   50025       HOSPITAL        AA4029864     100               200      500                           267       800

100067408   021003343   AMANA SOCIETY PHARMACY                AMANA      IA   52203     INDEPENDENT       AA4035235    4,300    6,000    5,300    6,400       6,200    4,500    5,450    32,700

100066067   021003210   ADAIR CTY MEMORIAL HOSP            GREENFIELD    IA   50849       HOSPITAL        AA4036504     100                                    200      100      133       400

100069821   004155077   ANDROSCOGGIN VALLEY HOS INC(X)       BERLIN      NH   03570       HOSPITAL        AA4261400     100      200      100      300         200       -       150       900

100069998   004155093   ANDROSCOGGIN VALLEY HOS(EMP)X)       BERLIN      NH   03570       HOSPITAL        AA4261400     100      300               200                           200       600

100065710   021004218   ASHLEY CLINIC PHARMACY       CPA    CHANUTE      KS   66720     INDEPENDENT       AA4264088   11,000   11,000   14,500    5,800      12,100   14,000   11,400    68,400

100051264   008035154   ALISAL DRUG STORES INC             PLEASANTON    CA   94566     INDEPENDENT       AA4467090   18,600   26,100   29,200   14,900      14,900   15,600   19,883   119,300

100069621   021102319   TRUMAN MED CTR. HOSP HILL 340B     KANSAS CITY   MO   64108   PHS 340B HOSPITAL   AA4833390    5,500    2,500    1,100     700        2,200    1,000    2,167    13,000

100069622   021102327   TRUMAN MEDICAL CTR HOSP HILL       KANSAS CITY   MO   64108       HOSPITAL        AA4833390     300     5,000    4,200    1,900        200      200     1,967    11,800

100097023   021078469   TRUMAN MED CTR HOSP HILL WAC       KANSAS CITY   MO   64108   PHS 340B HOSPITAL   AA4833390      -                        1,000       3,700    2,320    1,755     7,020

100094108   004091348   E BOSTON NEIGHBOR HLTH CT 340B     EAST BOSTON   MA   02128    PHS 340B CLINIC    AA5585938     300     2,100    1,500     700        3,600    1,800    1,667    10,000

100051038   008001727   AUBURN DRUG CO.                      AUBURN      CA   95603     INDEPENDENT       AA5897054    8,000    9,100    8,100    7,000       8,200    8,000    8,067    48,400

100086388   023106997   LVHN CEDAR CREST HS                ALLENTOWN     PA   18103       HOSPITAL        AA6168175    7,000    6,900    6,000    3,400                         5,825    23,300

100086256   023106260   LEHIGH VALLEY HOSP CEDAR CREST     ALLENTOWN     PA   18103       HOSPITAL        AA6168175    1,100    1,800    1,500    1,400       1,200    1,200    1,367     8,200

100110231   004103663   BEACON PRESCRIP#3 (DANICO) CPA       BRISTOL     CT   06010     INDEPENDENT       AA6316409             9,600    6,300    7,100      17,100    3,300    8,680    43,400

100071041   004143024   *BEACON PRESCRIP#3-BRISTOL CPA       BRISTOL     CT   06010     INDEPENDENT       AA6316409    4,900    2,300                                           3,600     7,200

100052372   020049304   ADDISON DRUG                       FORT SUMNER   NM   88119     INDEPENDENT       AA6329228    4,000    7,800    2,100    5,100      10,200    7,400    6,100    36,600

100057269   056015826   AL ROSE APOTHECARY INC(X)(GNP)       CAMDEN      NJ   08104     INDEPENDENT       AA6845830     500     2,000    1,000    1,000        600      800      983      5,900

100086999   023108191   ASTORIA CHEMISTS 340B                ASTORIA     NY   11102   PHS 340B HOSPITAL   AA6870009     400      300      200                  100               250      1,000

100061420   023011379   ASTORIA CHEMISTS INC(B)(GNP)         ASTORIA     NY   11102     INDEPENDENT       AA6870009              200      100      100                           133       400

100065382   049044487   *ADRIAN DISCOUNT DRUGS INC           ADRIAN      MI   49221     INDEPENDENT       AA6917770   13,300                                                   13,300    13,300

100058708   044064709   ADAMS PHARMACY          APSC        LEBANON      KY   40033     INDEPENDENT       AA7971763             1,500    1,500    1,500        500     1,000    1,200     6,000

100067278   052061002   ADAMS DRUG-SOUTH @                 MONTGOMERY    AL   36111     INDEPENDENT       AA7996412     220      120      100     1,200       8,480    5,100    2,537    15,220

100061655   023010728   ABBOT'S DRUG STORE(ZS) (GNP)        BELLEVILLE   NJ   07109     INDEPENDENT       AA8033754    1,400    1,500    1,400    1,800       1,300    1,200    1,433     8,600

100065816   019002865   ADAMS COUNTY MEMORIAL HOSPITAL      DECATUR      IN   46733       HOSPITAL        AA8424474    2,500    2,400    3,000    2,000       2,680    2,480    2,510    15,060

100065715   021004317   ABRAMS PHARMACY, INC.              KANSAS CITY   KS   66101     INDEPENDENT       AA8524731                               1,000       4,000    5,500    3,500    10,500
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100057878   026003012   AIEA MEDICAL PHARMACY                      AIEA        HI   96701     INDEPENDENT       AA8573277     600      500      100      500     1,900    1,400     833      5,000

100059541   023027748   ANTHONY'S PHARMACY LLC(Z)               RIDGEFIELD     NJ   07657     INDEPENDENT       AA8854069    1,200     200      800     1,800     800     1,630    1,072     6,430

100066162   040143065   *APOTHECARE PHCY STONE MTN CPA        STONE MOUNTAIN   GA   30087     INDEPENDENT       AA9001049    1,700    1,500                                        1,600     3,200

100052838   024041053   LORENA PHARMACY                        LOS ANGELES     CA   90023     INDEPENDENT       AA9246972   15,500   15,100   18,200   25,000   11,400   16,400   16,933   101,600

100054776   010045401   ARP INC            APSC                 GREENVILLE     OH   45331     INDEPENDENT       AA9341265    6,000    5,500    6,200    6,000    6,300    6,100    6,017    36,100

100061877   025018812   STERLING DRUG #4 ASTRUP DRSF            FAIRMONT       MN   56031     INDEPENDENT       AA9349209    9,500   10,400   15,500    5,600    9,500    7,300    9,633    57,800

100056678   056013425   ALFORS PHARMACY                        TABERNACLE      NJ   08088     INDEPENDENT       AA9497973    1,400    2,000    1,800    1,600     800     2,900    1,750    10,500

100052623   046000133   BAPTIST MED CTR PHMCY DEPT RX          JACKSONVILLE    FL   32207       HOSPITAL        AB0175047    3,900    5,100    4,600    4,900    5,620    4,720    4,807    28,840

100069118   046022475   BAPTIST MEDICAL CENTER PHS             JACKSONVILLE    FL   32207   PHS 340B HOSPITAL   AB0175047    1,400    1,200     100                       1,600    1,075     4,300

100096758   046044099   BAPTIST MED CTR PHMCY DEPT WAC         JACKSONVILLE    FL   32207       HOSPITAL        AB0175047                      1,500                               1,500     1,500

100057128   052026765   BEACHAM MEM. HOSPITAL                   MAGNOLIA       MS   39652       HOSPITAL        AB0223381     200                        200     1,000              467      1,400

100050742   052036921   BEAUMONT DRUGS #            SF          BEAUMONT       MS   39423     INDEPENDENT       AB0227214    2,400    4,000    3,500    3,500    4,000    8,500    4,317    25,900

100063491   052026427   BUCKLEYS PHCY             SF            CLEVELAND      MS   38732     INDEPENDENT       AB0228646    1,400    2,000    1,400    1,600    1,980    1,200    1,597     9,580

100065485   052059857   BLOUNT MEMORIAL HOSPITAL INC            MARYVILLE      TN   37804       HOSPITAL        AB0402381    1,500    2,100    2,200    4,500     800     1,600    2,117    12,700

100062941   052051235   FAIRFIELD PAYLESS DRUGS, CPA            FAIRFIELD      AL   35064     INDEPENDENT       AB0481096   26,000   25,200   14,500    6,700   14,100   19,300   17,633   105,800

100110282   041154831   BEDFORD MEMORIAL HOSPITAL                BEDFORD       VA   24523       HOSPITAL        AB0635904              300     2,100              200      500      775      3,100

100059136   041055160   *BEDFORD MEMORIAL HOSPITAL 869           BEDFORD       VA   24523       HOSPITAL        AB0635904     350                                                   350       350

100056573   056013771   BELLEVUE DRUG CO INC(GNP)              HAMMONTON       NJ   08037     INDEPENDENT       AB0662608                       320     2,600                      1,460     2,920

100061457   023017236   BROOKHAVEN MEM HOSP MED CTR             PATCHOGUE      NY   11772       HOSPITAL        AB0774504     200      200      200      200      500               260      1,300

100090014   032143156   HIGHLINE MED CTR MAIN                     BURIEN       WA   98166       HOSPITAL        AB1002017     500     1,050    1,200    1,650     800     1,200    1,067     6,400

100065686   040063396   BARNES DRUG STORE DT           CPA      VALDOSTA       GA   31601     INDEPENDENT       AB1176545   16,100   18,000   15,400   16,400   17,200   15,100   16,367    98,200

100085935   040103895   BACON COUNTY HOSPITAL                     ALMA         GA   31510       HOSPITAL        AB1177092    2,700    1,900    2,300    3,100    3,380    4,100    2,913    17,480

100083931   040098327   BROOKS COUNTY HOSPITAL 340B              QUITMAN       GA   31643   PHS 340B HOSPITAL   AB1187358     900      500      600      200               200      480      2,400

100056087   040040303   BROOKS COUNTY HOSPITAL                   QUITMAN       GA   31643       HOSPITAL        AB1187358              100               100      300      200      175       700

100069117   055069575   VIDANT BERTIE HOSPITAL                   WINDSOR       NC   27983       HOSPITAL        AB1197210                       100                                 100       100

100110499   004103762   BOUVIER PHARMACY,INC CPA                MARLBORO       MA   01752     INDEPENDENT       AB1214458                                        2,500    2,100    2,300     4,600

100061847   010100982   BILLING DRUG INC          APSC           STANTON       KY   40380     INDEPENDENT       AB1241582    3,500    2,300    3,300    4,000    3,000    1,500    2,933    17,600

100100567   020159897   SCOTTSDALE HEALTHCARE OSBORN           SCOTTSDALE      AZ   85251       HOSPITAL        AB1248497    3,600    3,450    3,200    4,800    3,000    4,100    3,692    22,150

100062515   010009365   BOSTICK'S PRESC PHARM          APSC      PIKETON       OH   45661     INDEPENDENT       AB1477620                       800     3,000    3,800    1,500    2,275     9,100

100054741   017011577   BEAR LAKE MEMORIAL HOSPITAL            MONTPELIER      ID   83254       HOSPITAL        AB1618062    1,400    1,100    1,200    1,300    2,500     300     1,300     7,800

100085716   010210211   BRADFORD HOSPITAL                       BRADFORD       PA   16701       HOSPITAL        AB1685734     300      200      300      200      480      260      290      1,740

100085736   010210203   BRADFORD HOSPITAL 340B                  BRADFORD       PA   16701   PHS 340B HOSPITAL   AB1685734     200               100      100                        133       400

100061645   023006684   BPB DRUG INC (ARX)                      NEW YORK       NY   10022     INDEPENDENT       AB1863427                                                  100      100       100

100108926   019186254   MERCY CLINIC NORTH                      JANESVILLE     WI   53546       HOSPITAL        AB1955054                       100                                 100       100

100055989   032077149   GHC PHARM NORTHSHORE 20                  BOTHELL       WA   98011     HEALTH PLAN       AB1985425   10,500    9,100    8,900    7,600    6,500             8,520    42,600

100073137   032120022   GHC PHARM NORTHSHORE 20 2                BOTHELL       WA   98011     HEALTH PLAN       AB1985425                                        2,200   11,600    6,900    13,800

100051236   008004523   B & B PHCY. X S1 0GL                  SAN FRANCISCO    CA   94115     INDEPENDENT       AB2035055     600      900      500      500     2,000     600      850      5,100

100073079   024044792   BEVERLY COMMUNITY HOSP 340B            MONTEBELLO      CA   90640   PHS 340B HOSPITAL   AB2078409     600     3,000    1,200    1,000     200              1,200     6,000

100103975   024053546   BEVERLY COMMUNITY HOSP WAC             MONTEBELLO      CA   90640       HOSPITAL        AB2078409                                        4,300     300     2,300     4,600

100098915   019176826   WALGREENS #01332           DSD           CHICAGO       IL   60601     WALGREENS         AB2143890    1,500    2,000    1,000     800     3,800      -      1,517     9,100

100069147   049175646   BAY PHARMACY, INC.         CPA         SAINT IGNACE    MI   49781     INDEPENDENT       AB2165264   17,300   16,000   13,700   19,300   11,600   11,800   14,950    89,700

100099055   019178251   WALGREENS #09358           DSD         LINCOLNWOOD     IL   60712     WALGREENS         AB2175809   13,500   13,200   10,750   12,100   14,600    6,800   11,825    70,950

100073872   019054999   PUTNAM COUNTY HOSPITAL                 GREENCASTLE     IN   46135       HOSPITAL        AB2294065    1,100    1,500     900     1,200    1,920    1,140    1,293     7,760

100083630   019135418   PUTNAM COUNTY HOSP 340B                GREENCASTLE     IN   46135   PHS 340B HOSPITAL   AB2294065     200      400     1,000     200                        450      1,800
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100058716   041062448   STATE PHARMACY B I L INC B14            BALTIMORE       MD   21234     INDEPENDENT       AB2323765              700       900     1,500     500      600      840      4,200

100061760   023013664   ANDREW BROWNS DRUG STORE(GNP)X          SCRANTON        PA   18505     INDEPENDENT       AB2345432   11,800   11,200    12,900   13,800   11,200   14,000   12,483    74,900

100098978   019177485   WALGREENS #01308         DSD             CHICAGO        IL   60626     WALGREENS         AB2359520   14,760   14,300    13,600   17,100   11,300    9,100   13,360    80,160

100098920   019176875   WALGREENS #05387         DSD             CHICAGO        IL   60603     WALGREENS         AB2382682    2,300    2,000     2,500    2,500    2,100    1,500    2,150    12,900

100099001   019177717   WALGREENS #06297         DSD             CHICAGO        IL   60638     WALGREENS         AB2395716   27,400   28,000    27,200   28,700   26,000   22,300   26,600   159,600

100053610   056003814   BROCKIE PHARMATECH (X)                    YORK          PA   17402   LONG TERM CARE      AB2407408    1,200    2,200     1,100    4,100    1,000    1,100    1,783    10,700

100059441   041056812   MARION PHCY     (GNP)(EPIC) D29         CRISFIELD       MD   21817     INDEPENDENT       AB2432677    4,300    4,900     4,800    5,700    3,600    3,200    4,417    26,500

100096759   041152926   BON SECOURS HOSP WAC                    BALTIMORE       MD   21223   PHS 340B HOSPITAL   AB2544117              100       200               400      160      215       860

100059442   041056820   BON SECOURS BALTIMORE (340B)MD          BALTIMORE       MD   21223   PHS 340B HOSPITAL   AB2544117     400                         200                        300       600

100098800   019174649   WALGREENS #05355         DSD         CHICAGO HEIGHTS    IL   60411     WALGREENS         AB2576657    5,500   14,700    14,500   14,900   15,600   10,000   12,533    75,200

100098928   019176958   WALGREENS #01417         DSD             CHICAGO        IL   60608     WALGREENS         AB2581456   10,900   10,800    12,700   11,800   12,000    6,600   10,800    64,800

100052374   020049668   BEST BUY DRUG                         ALBUQUERQUE       NM   87112     INDEPENDENT       AB2593146    3,700    4,500    11,000    7,000     700              5,380    26,900

100073946   018143024   B & B PHARMACY INC.      CPA              PAMPA         TX   79065     INDEPENDENT       AB2602705    7,700   11,600     8,300   10,200    3,100    5,500    7,733    46,400

100075889   004080960   BORDONARO'S PHARMACY(X)         SF      PORTLAND        CT   06480     INDEPENDENT       AB2625575     800                800      300                        633      1,900

100098972   019177428   WALGREENS #01298         DSD             CHICAGO        IL   60622     WALGREENS         AB2691182    7,400    7,000     6,400    8,600    6,300    5,100    6,800    40,800

100098818   019174821   WALGREENS #05126         DSD             LANSING        IL   60438     WALGREENS         AB2721276   32,400   31,800    30,000   30,900   33,700   17,300   29,350   176,100

100051744   008047993   BOULDER CREEK DRUG STORE              BOULDER CREEK     CA   95006     INDEPENDENT       AB2738043    8,900    6,500     7,600   20,300    4,500    3,800    8,600    51,600

100067704   049175828   MONITOR PHARMACY INC        CPA          BAY CITY       MI   48706     INDEPENDENT       AB2745062   21,400   35,100    23,800   28,600   45,200   19,200   28,883   173,300

100065598   021021261   BALES PHCY INC         SF              CLEARWATER       KS   67026     INDEPENDENT       AB2749476                                          500      500      500      1,000

100058015   049002519   BAARS PHARMACY INC                      FREMONT         MI   49412     INDEPENDENT       AB2750962    8,500   11,000     9,300   14,500   10,000    7,500   10,133    60,800

100110428   049197277   BINSON'S PHARMACY                      CENTERLINE       MI   48015     INDEPENDENT       AB2759124              100      2,900   15,100    3,100    5,500    5,340    26,700

100066871   049047431   BINSON'S PHARMACY, INC                 CENTER LINE      MI   48015     INDEPENDENT       AB2759124    3,800    1,700                                         2,750     5,500

100064957   049042465   BROWNS PROFESSIONAL SERV INC             JACKSON        MI   49202   LONG TERM CARE      AB2782832    7,800    9,700     6,400    8,100   10,200    6,500    8,117    48,700

100098827   019174938   WALGREENS #11109         DSD           MIDLOTHIAN       IL   60445     WALGREENS         AB2845064   31,600   34,300    33,800   35,600   34,500   26,100   32,650   195,900

100107665   019185702   WALGREENS #11109 340B                  MIDLOTHIAN       IL   60445   PHS 340B HOSPITAL   AB2845064     500                                                    500       500

100099016   019177865   WALGREENS #04306         DSD             CHICAGO        IL   60643     WALGREENS         AB2845444   16,200   18,900    16,400   19,800   13,000   15,300   16,600    99,600

100052079   010042655   BETHESDA HOSP NORTH I/P PHARM           CINCINNATI      OH   45242       HOSPITAL        AB2856954    2,800    2,800     3,500    4,000    3,300    4,440    3,473    20,840

100051802   010047225   BETHESDA HOSP NORTH O/P APOTH           CINCINNATI      OH   45242     INDEPENDENT       AB2856954    2,000    2,200     3,100    2,900    1,400    2,200    2,300    13,800

100053912   010044107   BELLEVUE HOSPITAL DEPT PHCY             BELLEVUE        OH   44811       HOSPITAL        AB2864216     200      350       100      300      160      160      212      1,270

100075361   010185744   BUCYRUS COMMUNITY HOSP                   BUCYRUS        OH   44820       HOSPITAL        AB2869759     400      700      1,100     800     1,040     500      757      4,540

100054178   010044412   BROWN MEMORIAL HOSPITAL RX              CONNEAUT        OH   44030       HOSPITAL        AB2875079                        100      100               100      100       300

100093203   010226704   UH - CONNEAUT MEDICAL CTR 340B          CONNEAUT        OH   44030       HOSPITAL        AB2875079     100                                                    100       100

100059943   010099390   MEDICAL PLAZA PHCY-ASHLAND               ASHLAND        KY   41101     INDEPENDENT       AB2877186               (20)                               3,500    1,740     3,480

100054502   010044834   BARNESVILLE HOSPITAL ASSN INC          BARNESVILLE      OH   43713       HOSPITAL        AB2886604     100      300       100               200               175       700

100099017   019177873   WALGREENS #06762         DSD             CHICAGO        IL   60643     WALGREENS         AB2897443    8,200   10,700     8,800   10,700   10,300    4,500    8,867    53,200

100052291   010040824   BALTZLY DRUG WEST        APSC           MASSILLON       OH   44647     INDEPENDENT       AB2944785    6,000    2,500    12,300     300     2,100    1,320    4,087    24,520

100055027   010045492   BUNNYS PHARMACY INC                      SIDNEY         OH   45365     INDEPENDENT       AB2946246   10,200   11,000    14,900    6,000   11,500    2,800    9,400    56,400

100098743   019174078   WALGREENS #06462         DSD          FRANKLIN PARK     IL   60131     WALGREENS         AB2948834   13,900   14,700    15,200   18,100   14,500    8,700   14,183    85,100

100059290   023000307   BLISS PHARMACY INC(ARX)                 NEW YORK        NY   10029     INDEPENDENT       AB2975350     700                200      200               900      500      2,000

100059087   044043513   EVANS DRUG COMPANY          APSC         FULTON         KY   42041     INDEPENDENT       AB3021057   17,600   17,100    15,400   17,500   18,000   22,000   17,933   107,600

100099022   019177923   WALGREENS #01310         DSD             CHICAGO        IL   60647     WALGREENS         AB3047924    5,900    7,100     5,100    6,300    7,100    3,600    5,850    35,100

100066957   018061655   BURNS DRUG INC                            OZARK         AR   72949     INDEPENDENT       AB3052975    7,100    9,000     6,000    6,900    8,800    4,000    6,967    41,800

100058025   049006205   BOTSFORD GENERAL HOSPITAL PREM       FARMINGTON HILLS   MI   48336       HOSPITAL        AB3102516    4,200    4,400     5,500    6,000    3,900    4,980    4,830    28,980

100055383   049089235   KNIGHT DRUGS INC - JEFFERSON             DETROIT        MI   48214     INDEPENDENT       AB3113254    4,500    7,500     5,500    4,500    4,500    1,500    4,667    28,000
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100058572   049007401   BUNTE'S PHARMACY, INC.               ZEELAND         MI   49464     INDEPENDENT       AB3113482   10,200    9,900   12,700    8,200   16,100    7,000   10,683    64,100

100055505   041000877   BENNETTS CREEK PHCY (EPIC) 57A       SUFFOLK         VA   23435     INDEPENDENT       AB3116072    8,000    9,600    8,900    9,100    9,000    6,400    8,500    51,000

100068365   055143024   BEACH PHARMACY OF AVON(X) CPA          AVON          NC   27915     INDEPENDENT       AB3126908    5,400    5,000    5,800    5,600    5,000    3,500    5,050    30,300

100099099   019178681   WALGREENS #06067         DSD          MOLINE         IL   61265     WALGREENS         AB3135060   18,200   15,600   18,700   14,200   18,000   15,100   16,633    99,800

100066068   021037002   FONTANELLE DRUG-GNP        SF       FONTANELLE       IA   50846     INDEPENDENT       AB3182526    6,500    4,500    5,500    6,000    4,500    4,400    5,233    31,400

100088168   055029462   VIDANT BEAUFORT HOSPITAL (UHS)      WASHINGTON       NC   27889       HOSPITAL        AB3188732     100      100      200      200                        150       600

100076989   055052753   BETSY JOHNSON REGIONAL HOSP(X)         DUNN          NC   28335       HOSPITAL        AB3194002     300      800                        400      100      400      1,600

100076988   055052761   BETSY JOHNSON REG HOSP(340B)X)         DUNN          NC   28335   PHS 340B HOSPITAL   AB3194002              100      300      600      160      200      272      1,360

100096856   055037762   BETSY JOHNSON REG HOSP (WAC)           DUNN          NC   28335       HOSPITAL        AB3194002              100      200               260      100      165       660

100073356   055020792   BROOKSHIRE PHARMACY INC              ASHEVILLE       NC   28806     INDEPENDENT       AB3199230   15,700   14,400   13,700   12,900   18,400   13,000   14,683    88,100

100091186   055031427   NOVANT HLTH FORSYTH MED(WAC)      WINSTON SALEM      NC   27103       HOSPITAL        AB3202760     800      300     4,100    2,700   12,810    6,200    4,485    26,910

100073632   055042689   NOVANT HLTH FORSYTH MED CTR       WINSTON SALEM      NC   27103       HOSPITAL        AB3202760    7,200    6,900    4,400    1,750     100              4,070    20,350

100073560   055067512   NOVANT HLTH FORSYTH MED(340B)     WINSTON SALEM      NC   27103   PHS 340B HOSPITAL   AB3202760     750     1,000     300                                 683      2,050

100099064   019178343   WALGREENS #09141         DSD      EVERGREEN PARK     IL   60805     WALGREENS         AB3272337   10,400   12,500    9,400   11,200   14,200    7,700   10,900    65,400

100053541   056003806   BROCKIE PHARMATECH (X)              LANGHORNE        PA   19047   LONG TERM CARE      AB3273670    1,500     800     1,200     500     1,600     500     1,017     6,100

100090510   032144618   SAMARITAN HOSP PHARMACY             MOSES LAKE       WA   98837       HOSPITAL        AB3308485                                900      400      600      633      1,900

100100663   032147991   SAMARITAN HOSP PHARMACY WAC         MOSES LAKE       WA   98837       HOSPITAL        AB3308485     500      500      500      400                        475      1,900

100090025   032143263   OREGON STATE HOSPITAL SALEM           SALEM          OR   97310       HOSPITAL        AB3309069     500      600      600      700      700      300      567      3,400

100061237   019052514   BLESSING HOSPITAL PHARMACY I/P        QUINCY         IL   62301       HOSPITAL        AB3580380    8,200    5,800    6,400    8,900   10,100    9,500    8,150    48,900

100061173   019034470   BLESSING HOSPITAL PHARMACY            QUINCY         IL   62301       HOSPITAL        AB3580380    4,800    6,000    5,600    6,400    3,000             5,160    25,800

100091439   044210963   HERMANN AREA DIST HOSPITAL           HERMANN         MO   65041       HOSPITAL        AB3955816     200      200      300      300               760      352      1,760

100062386   021000430   BRYAN LGH MEDICAL CTR (EAST)          LINCOLN        NE   68506       HOSPITAL        AB3987964    5,000    6,600    9,000    6,100    1,920    6,800    5,903    35,420

100098249   019170944   WALGREENS #05119         DSD          CLINTON        IA   52732     WALGREENS         AB4009305   16,800   19,900   16,700   17,600   16,700   16,500   17,367   104,200

100056826   021037135   BURGESS HEALTH CENTER                 ONAWA          IA   51040       HOSPITAL        AB4025676              200      100     1,000     500      600      480      2,400

100083858   021142950   BURGESS HLTH CTR - PHS                ONAWA          IA   51040   PHS 340B HOSPITAL   AB4025676     200      200      100                                 167       500

100069755   021146019   IOWA SPECIALTY HOSPITAL              BELMOND         IA   50421       HOSPITAL        AB4078918     200      100      200      200      800               300      1,500

100072328   055069963   BROUGHTON HOSPITAL PHARMACY         MORGANTON        NC   28655       HOSPITAL        AB4232473     300      300      500      300      680      400      413      2,480

100056576   056013896   CAPE REGIONAL MED CTR PHY(PS)    CAPE MAY COURT HO   NJ   08210       HOSPITAL        AB4395201     300      200      300      200     1,000              400      2,000

100057477   019300426   BERLIN MEMORIAL HOSPITAL              BERLIN         WI   54923       HOSPITAL        AB4470415    1,100    1,300    1,200    1,800    1,000     900     1,217     7,300

100052058   010041806   BLANK'S PHARMACY         APSC       COVINGTON        KY   41011     INDEPENDENT       AB4855372    7,000   10,000   16,000    8,600    4,700    7,500    8,967    53,800

100054518   012015131   BEEMANS HIGHLAND PHCY             SAN BERNARDINO     CA   92404     INDEPENDENT       AB4863735     400     2,800     400     7,200   21,000   12,500    7,383    44,300

100104672   012027599   BEEMAN'S HIGHLAND PHCY 340B       SAN BERNARDINO     CA   92404   PHS 340B HOSPITAL   AB4863735    1,300    2,300    3,100    1,000                      1,925     7,700

100063043   021002212   COLUMBUS COMMUNITY HOSP INC          COLUMBUS        NE   68601       HOSPITAL        AB4982232    1,800    1,700    1,400    1,100    1,100    1,500    1,433     8,600

100063167   052049510   BRYCE HOSPITAL PHARMACY             TUSCALOOSA       AL   35404       HOSPITAL        AB5059349     200      200      300      100                        200       800

100053199   017076513   U OF UT HOSP IP PHCY               SALT LAKE CITY    UT   84132       HOSPITAL        AB5089102    3,400    3,800    4,500    7,700              400     3,960    19,800

100093982   017096164   U OF UT HOSP CENTRAL PHCY WAC      SALT LAKE CITY    UT   84132   PHS 340B HOSPITAL   AB5089102                               3,200                      3,200     3,200

100064078   052021956   BRYAN W. WHITFIELD MEM HOSP @       DEMOPOLIS        AL   36732       HOSPITAL        AB5297519     300      300      200      400      300      300      300      1,800

100056382   052094102   BRYAN W.WHITFIELD MEM HOSP PHS      DEMOPOLIS        AL   36732   PHS 340B HOSPITAL   AB5297519     100      100      300      100      100      300      167      1,000

100064659   052042747   BIBB CO HOSP & NURSING HOME         CENTREVILLE      AL   35042       HOSPITAL        AB5503455    2,500    1,300     800     2,500    1,000    2,000    1,683    10,100

100054849   012018606   CAL MED PHARMACY       PRO         MISSION VIEJO     CA   92692     INDEPENDENT       AB5547724   10,100   11,200   10,200   11,400    8,300    7,400    9,767    58,600

100103887   032151456   FRED MEYER STORES, INC 340B         BELLINGHAM       WA   98229   PHS 340B HOSPITAL   AB5944497     700     1,900    1,800    1,000                      1,350     5,400

100059809   056027516   BUTLER PHARMACY INC(Z)            POINT PLEASANT     NJ   08742     INDEPENDENT       AB6499900    2,940    1,500    4,600    2,500    2,200    2,900    2,773    16,640

100086511   018196287   BEAVER COUNTY MEMORIAL HOSPSF         BEAVER         OK   73932       HOSPITAL        AB6754091                                300                        300       300

100058664   044042473   BENTON DISCOUNT PHARMACY APSC         BENTON         KY   42025     INDEPENDENT       AB6754647   22,600   18,500   19,400   14,000   11,500   11,500   16,250    97,500
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100055650   046005843   CIRCLES OF CARE,INC-COMMUNITY             MELBOURNE       FL   32901       HOSPITAL        AB6773457              100                                   100      100       200

100067466   018060186   BUDGET PHCY          SF                  HOT SPRINGS      AR   71913     INDEPENDENT       AB6933560   11,400   13,900   13,300     9,300    16,600   13,000   12,917    77,500

100072832   017140020   BRIGHAM CITY COMM HOSP       #712        BRIGHAM CITY     UT   84302       HOSPITAL        AB7028699     600      700      200      1,250      100      200      508      3,050

100056182   038082297   BOX BUTTE GENERAL HOSPITAL                 ALLIANCE       NE   69301       HOSPITAL        AB7062146     300      500      300       400      1,100              520      2,600

100063745   052044156   BOWIE'S DISCOUNT PHARMACY                   JASPER        AL   35503     INDEPENDENT       AB7304607              100     3,800     7,000                       3,633    10,900

100072828   046140533   BRANDON REGIONAL HOSP        #712          BRANDON        FL   33511       HOSPITAL        AB7340259    1,900    1,850    2,300     2,750     1,560    2,240    2,100    12,600

100076035   055018663   BOONE DRUG AT GREENWAY(Z)(GNP)              BOONE         NC   28607     INDEPENDENT       AB7484188    1,200    1,700    1,900     1,500     2,100    1,500    1,650     9,900

100052565   024039024   BEVERLY GLEN PHARMACY                    LOS ANGELES      CA   90077     INDEPENDENT       AB7912149    3,900    3,500    3,700     1,800     4,400    2,300    3,267    19,600

100063113   044032763   GUTHRIE'S PHARMACY        APSC            CHANDLER        IN   47610     INDEPENDENT       AB8156829   15,100   26,600   20,100    12,000    12,000   16,000   16,967   101,800

100087870   010217661   BURGESS DRUGS STORE INC #2 CPA           WHITLEY CITY     KY   42653     INDEPENDENT       AB8310586   29,100   22,700   19,400    48,900    10,000            26,020   130,100

100089837   044210252   BROWN'S PHARMACY INC         CPA          ELLINGTON       MO   63638     INDEPENDENT       AB8377702   12,000   16,500   31,000      400      5,700   11,400   12,833    77,000

100059165   044044057   BROWNSVILLE APOTHECARY           APSC    BROWNSVILLE      TN   38012     INDEPENDENT       AB8660424    5,000    6,500   10,000    10,700    10,800             8,600    43,000

100063300   038064832   PLATTE VALLEY MED CTR/PHS                 BRIGHTON        CO   80601   PHS 340B HOSPITAL   AB8818481     400      600     1,000      400                         600      2,400

100054310   038041004   PLATTE VALLEY MED CTR/AMERINET            BRIGHTON        CO   80601       HOSPITAL        AB8818481                                 100      1,300              700      1,400

100096330   038106609   PLATTE VALLEY MED CTR WAC                 BRIGHTON        CO   80601   PHS 340B HOSPITAL   AB8818481              100                                            100       100

100074339   055059691   BERLEY'S PHARMACY INC.                    BARNWELL        SC   29812     INDEPENDENT       AB8897374    1,200    2,700    1,800      900      2,200    1,000    1,633     9,800

100070908   023175497   BARRY'S MONTVILLE PHCY(X) CPA             MONTVILLE       NJ   07045     INDEPENDENT       AB9010480    3,000    1,800    2,800    (1,500)     600     1,500    1,367     8,200

100057583   032005868   BERNIE'S PROFESSIONAL PHCY               ANCHORAGE        AK   99508     INDEPENDENT       AB9244497   39,800   54,500   49,200    52,100    39,500   32,100   44,533   267,200

100050390   010070235   BETHESDA ARROW SPRINGS PHAR ER             LEBANON        OH   45036     INDEPENDENT       AB9290711                       100       100       400               200       600

100093845   041145458   MED-ONE PHARMACY BOONSBORO               BOONSBORO        MD   21713     INDEPENDENT       AB9332850    6,400    7,500    7,600     6,700     7,900    5,000    6,850    41,100

100061009   044065128   CLAYWELL, INC        APSC                BARDSTOWN        KY   40004     INDEPENDENT       AB9388768   19,900   20,700   21,000    19,500    23,500   16,000   20,100   120,600

100058917   044043133   BLUEGRASS PHARMACIES, INC D              MADISONVILLE     KY   42431     INDEPENDENT       AB9520203   39,300   38,100   33,600    34,800    59,900   35,400   40,183   241,100

100070959   046141598   REGIONAL MEDICAL CTR      #712             HUDSON         FL   34667       HOSPITAL        AB9669322    3,400    2,750    3,100     3,550     2,600    2,740    3,023    18,140

100054177   010044404   BAIR PHARMACY        APSC                   CELINA        OH   45822     INDEPENDENT       AB9697220    4,000    4,000    4,000     3,000     3,700    4,000    3,783    22,700

100110002   040122234   *TY COBB LTC PHARMACY                      ROYSTON        GA   30662   LONG TERM CARE      AB9709063    8,500    9,200   11,100     1,500                       7,575    30,300

100076541   021037044   BLAKES RX, INC       SF                  MANCHESTER       IA   52057     INDEPENDENT       AB9747861    1,000    3,000    1,600     1,300     6,200    3,500    2,767    16,600

100104781   021172577   BLAKES RX INC 340B                       MANCHESTER       IA   52057   PHS 340B HOSPITAL   AB9747861    2,800    3,700    3,000     1,200                       2,675    10,700

100058004   049037861   BOB'S DRUGS LLC                            HESPERIA       MI   49421     INDEPENDENT       AB9763106   21,500   20,700   21,900    20,000    17,500   17,000   19,767   118,600

100064729   018062034   BOBBY TEETER'S DRUG STORE, INC           CLARKSVILLE      AR   72830     INDEPENDENT       AB9801312    3,500    5,000    4,500     3,000     2,400    3,300    3,617    21,700

100055503   041000737   BAYVIEW PLAZA PHCY (EPIC) 58A              NORFOLK        VA   23518     INDEPENDENT       AB9807009   25,600   23,800   23,000    24,600    13,100    8,200   19,717   118,300

100084609   024103697   CITY OF HOPE NATL 340B O/P                 DUARTE         CA   91010   PHS 340B HOSPITAL   AC0086404    2,600    4,600    4,700     4,300     6,400    7,700    5,050    30,300

100053450   024021253   CITY OF HOPE NATL MED CTR I-P              DUARTE         CA   91010       HOSPITAL        AC0086404     700     1,200     800      1,000      700      900      883      5,300

100093904   024119586   CITY OF HOPE CLINIC WAC                    DUARTE         CA   91010       HOSPITAL        AC0086404                       300       100       400      100      225       900

100100660   024119800   CITY OF HOPE OPD WAC                       DUARTE         CA   91010       HOSPITAL        AC0086404                       100                                   100       100

100063356   046093336   COREY'S PHARMACY                         VERO BEACH       FL   32963     INDEPENDENT       AC0210853    2,000     100      200                1,000     700      800      4,000

100062168   052048132   CORNER DRUG STORE           SF            MAGNOLIA        MS   39652     INDEPENDENT       AC0233560   39,100   25,400   23,900    28,100    26,500   32,500   29,250   175,500

100065454   024120667   CA POLYTECHNIC STATE UNIVERSIT          SAN LUIS OBISPO   CA   93407       ALT SITE        AC0319358     600               (300)                                 150       300

100073184   055026989   CLARENDON MEMORIAL HOSPITAL                MANNING        SC   29102       HOSPITAL        AC0334932     400      300      600       700                         500      2,000

100084842   055023838   CONWAY MED CTR EMPLOYEE 340B               CONWAY         SC   29526   PHS 340B HOSPITAL   AC0344010    2,200    2,100    1,600     1,900     2,000    2,200    2,000    12,000

100074015   055069872   CONWAY MEDICAL CENTER(340B)                CONWAY         SC   29526   PHS 340B HOSPITAL   AC0344010     500      500      600       400       360      420      463      2,780

100073363   055043372   CONWAY MEDICAL CENTER                      CONWAY         SC   29526       HOSPITAL        AC0344010     400      500      400      1,000               380      536      2,680

100096719   055037564   CONWAY MED CTR EMPLOYEE(WAC)               CONWAY         SC   29526       HOSPITAL        AC0344010     300      400      200                                   300       900

100096718   055037556   CONWAY MEDICAL CENTER (WAC)                CONWAY         SC   29526       HOSPITAL        AC0344010                                           320               320       320

100064080   052025114   COMMUNITY HOSPITAL @                      TALLASSEE       AL   36078       HOSPITAL        AC0479546     300      200      300       500       260      440      333      2,000
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100071489   023143206   CASTRODEL DRUG CORP(Z)      CPA       WARREN          NJ   07059     INDEPENDENT       AC0666377    4,200     800     1,500    1,300    1,400    1,600    1,800    10,800

100107829   037134841   DELEON'S PHARMACY, INC.            CORPUS CHRISTI     TX   78404     INDEPENDENT       AC0957401   14,500   16,600   16,600   16,400    4,000    1,100   11,533    69,200

100059216   037086157   CANTU'S PHARMACY/GNP      SF          EDINBURG        TX   78539     INDEPENDENT       AC0960915    8,400    8,700    7,600    7,900    6,400    3,800    7,133    42,800

100090540   032144931   COLUMBIA BASIN HOSP                   EPHRATA         WA   98823       HOSPITAL        AC0969886     200      400      200      400      200      200      267      1,600

100069648   032123125   ST. ELIZABETH HOSPITAL               ENUMCLAW         WA   98022       HOSPITAL        AC1000998     200      600      300      300      160      720      380      2,280

100076719   032000646   ST. ELIZABETH HOSPITAL               ENUMCLAW         WA   98022       HOSPITAL        AC1000998     200                                                   200       200

100067240   008023663   CSU STANISLAUS                        TURLOCK         CA   95382       ALT SITE        AC1015999                       100                                 100       100

100106497   018404004   THE BRIDGEWAY                     NORTH LITTLE ROCK   AR   72113       HOSPITAL        AC1039999     200      800      600      300      180      400      413      2,480

100057979   044045252   SALEM CLINIC PHARMACY, INC             SALEM          KY   42078     INDEPENDENT       AC1056628   14,600   14,700   18,000   11,600   15,100   13,700   14,617    87,700

100110510   040122689   CRISP REGIONAL HOSPITAL               CORDELE         GA   31015       HOSPITAL        AC1154727                       600     2,500                      1,550     3,100

100096702   052114496   EAMC-LANIER WAC                        VALLEY         AL   36854   PHS 340B HOSPITAL   AC1170733              100      300      300                        233       700

100067757   052146381   EAMC LANIER PHS                        VALLEY         AL   36854   PHS 340B HOSPITAL   AC1170733              100      100      150                        117       350

100077056   055051680   CARTERET GENERAL HOSP              MOREHEAD CITY      NC   28557       HOSPITAL        AC1174630    1,600    1,800    2,000    1,700    1,900     700     1,617     9,700

100060546   040009977   COBB HOSPITAL                         AUSTELL         GA   30106       HOSPITAL        AC1176595    2,400    4,600    2,100    3,600    1,000             2,740    13,700

100093199   040114702   COBB HOSPITAL (WAC)                   AUSTELL         GA   30106       HOSPITAL        AC1176595                                200     4,200    3,880    2,760     8,280

100063838   040060897   COBB HOSPITAL--PHS                    AUSTELL         GA   30106   PHS 340B HOSPITAL   AC1176595     200      900      700                                 600      1,800

100086370   040106054   COBB HOSPITAL     EMP-NOV             AUSTELL         GA   30106       HOSPITAL        AC1176595              100      100                                 100       200

100105972   040121046   EMORY U.HSP MIDTOWN ADMIN GPO         ATLANTA         GA   30308       HOSPITAL        AC1177535    2,500    2,700    2,400    2,200    1,120    1,100    2,003    12,020

100105974   040121053   EMORY U.HSP MIDTOWN ADMIN PHS         ATLANTA         GA   30308   PHS 340B HOSPITAL   AC1177535    2,100    1,700    2,300    1,500     720              1,664     8,320

100105629   040120709   EMORY U.HSP MIDTOWN ADMIN WAC         ATLANTA         GA   30308       HOSPITAL        AC1177535                                100     2,540    1,200    1,280     3,840

100067084   019143081   COAL CITY PHARMACY        CPA         COAL CITY       IL   60416     INDEPENDENT       AC1233179   14,700    8,200    8,200   12,600    4,300   12,500   10,083    60,500

100058167   044044917   *CAYCE'S PHARMACY INC               HOPKINSVILLE      KY   42240     INDEPENDENT       AC1279175   22,300                                                22,300    22,300

100059085   044043448   CROFTON PHARMACY         APSC         CROFTON         KY   42217     INDEPENDENT       AC1279644   18,300   17,700   17,500   14,800   16,700   16,700   16,950   101,700

100054361   010006171   WINDHAM PHARMACY INC       APSC       WINDHAM         OH   44288     INDEPENDENT       AC1280609    8,500    5,600   11,100    7,600    3,200    3,000    6,500    39,000

100064950   021009811   ST ROSE AMBULATORY & SURG            GREAT BEND       KS   67530       HOSPITAL        AC1294747      50                         50                         50       100

100064953   021022285   CHEYENNE COUNTY HOSP       NOV       ST FRANCIS       KS   67756       HOSPITAL        AC1299507     100               200                        200      167       500

100062578   021001537   CLAY COUNTY HOSPITAL                CLAY CENTER       KS   67432       HOSPITAL        AC1307291     100      300      600      250               200      290      1,450

100062385   021000422   CUSHING MEMORIAL HOSPITAL           LEAVENWORTH       KS   66048       HOSPITAL        AC1310642     100      100      100      100      100               100       500

100074959   021130534   CUSHING MEMORIAL HOSPITAL 340B      LEAVENWORTH       KS   66048   PHS 340B HOSPITAL   AC1310642     100      100      100      200                        125       500

100089934   021167395   CUSHING MEMORIAL HOSP-WAC           LEAVENWORTH       KS   66048       HOSPITAL        AC1310642              100               100      240               147       440

100092316   021099275   COOPER DRUG STORE CPA                 AUGUSTA         KS   67010     INDEPENDENT       AC1311771    6,200    5,700    7,600   15,200    1,100    4,200    6,667    40,000

100065621   021003624   CROWELL DRUG COMPANY INC             PITTSBURG        KS   66762     INDEPENDENT       AC1312848    4,200    4,900    1,700    5,400    3,000    3,800    3,833    23,000

100061083   052068700   CONDON EAST UNION PHCY       SF      GREENVILLE       MS   38703     INDEPENDENT       AC1325807   23,000   16,000   21,100   18,000   21,500   19,000   19,767   118,600

100060903   010109884   CRESTVILLE DRUGS INC     APSC     CRESCENT SPRINGS    KY   41017     INDEPENDENT       AC1473331    2,300    3,200    4,300    3,900    7,400    6,200    4,550    27,300

100054853   012019604   CARSON PHCY                          TORRANCE         CA   90502     INDEPENDENT       AC1526283    5,100    2,100    3,400    4,500    2,100    3,000    3,367    20,200

100062038   021001230   CITIZENS MEDICAL CENTER                COLBY          KS   67701       HOSPITAL        AC1537123     200      100      100      100      560               212      1,060

100057858   032021246   CLEARWATER VALLEY HOSPITAL            OROFINO         ID   83544       HOSPITAL        AC1615523     100      100      200               280      400      216      1,080

100084973   032137513   CLEARWATER VALLEY HOSP 340B           OROFINO         ID   83544   PHS 340B HOSPITAL   AC1615523     200      400      100      200                        225       900

100053559   010052480   CORRY MEM HOSPITAL ASSN PHCY           CORRY          PA   16407       HOSPITAL        AC1670822     600      900      900      200      240      320      527      3,160

100111218   010002056   CONEMAUGH VALLEY MEM HOSP            JOHNSTOWN        PA   15905       HOSPITAL        AC1681697                                                 7,640    7,640     7,640

100054496   056000463   CHAMBERSBURG HOSP PHCY             CHAMBERSBURG       PA   17201       HOSPITAL        AC1685556    2,000    2,700    2,100    2,400    2,680    1,300    2,197    13,180

100052581   024040691   WILBUR FAMILY PHARMACY                TARZANA         CA   91356     INDEPENDENT       AC1741683                       100      600      500     4,500    1,425     5,700

100071382   018144139   *CHAMBERS DRUG INC        CPA       JACKSONVILLE      AR   72076     INDEPENDENT       AC1762942   18,500   13,900   20,100    9,800                     15,575    62,300

100065272   021021162   CITIZENS MEM HOSP, PHY    NOV         BOLIVAR         MO   65613       HOSPITAL        AC1768487     500     1,000    1,400     800     1,440     600      957      5,740
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100064090   021060087   CITIZENS MEM HOSP, PHY 340B              BOLIVAR        MO   65613   PHS 340B HOSPITAL   AC1768487     400      200               300      200                275      1,100

100058582   049010819   CENTRAL DRUG STORE INC       SF        CHARLEVOIX       MI   49720     INDEPENDENT       AC1804663    2,700    3,500    4,300   11,800    3,300     400      4,333    26,000

100066409   044143057   CAVE CITY PRESCRIPTION CTR CPA          CAVE CITY       KY   42127     INDEPENDENT       AC1831153    5,500    9,500    8,000   10,500    8,000   10,500     8,667    52,000

100066416   040143222   CONYERS PHARMACY INC         CPA         CONYERS        GA   30012     INDEPENDENT       AC1868845   11,200   29,500   13,600   20,100   31,800   25,500    21,950   131,700

100066410   010143016   CITIZENS DRUG        CPA                 PHELPS         KY   41553     INDEPENDENT       AC1920342   21,000   10,700   18,100   10,900   13,800    9,300    13,967    83,800

100072646   004078790   CIAMPA APOTHECARY(X)(GNP)               CAMBRIDGE       MA   02141     INDEPENDENT       AC1933387    1,600     300               100      100                525      2,100

100066328   044173146   FRANKLIN PROFESSIONAL PHARMACY          FRANKLIN        TN   37064   LONG TERM CARE      AC1964522    2,000    3,000    3,000    1,700    3,700    1,500     2,483    14,900

100053445   024019257   CATHAY MEDICAL PHARMACY                LOS ANGELES      CA   90012     INDEPENDENT       AC1984423    3,500    5,800    3,400             4,300    5,300     4,460    22,300

100064149   019002063   COWAN DRUGS            CPA               LEBANON        IN   46052     INDEPENDENT       AC2012590   12,800   10,900   10,200   11,800    7,200    8,600    10,250    61,500

100061880   008027078   COMMUNITY HOSPITAL, PHARMACY            MONTEREY        CA   93940       HOSPITAL        AC2017223    4,300    4,200    5,000    4,700    4,500    3,600     4,383    26,300

100109755   008118422   CHINESE HOSPITAL ASSN INC WAC         SAN FRANCISCO     CA   94133       HOSPITAL        AC2033455    1,100    4,900    8,000    3,500    3,700    3,700     4,150    24,900

100062623   008134619   CHINESE HOSPITAL ASSN INC 340B        SAN FRANCISCO     CA   94133   PHS 340B HOSPITAL   AC2033455    5,300             1,000             1,660              2,653     7,960

100051390   008034611   CHINESE HOSPITAL ASSN INC             SAN FRANCISCO     CA   94133       HOSPITAL        AC2033455     200      300      100      200      200      100       183      1,100

100054208   018063495   PARKER'S CITY PHARMACY                   SEGUIN         TX   78155     INDEPENDENT       AC2051679   18,200   15,400   13,300   18,400   23,000     400     14,783    88,700

100053510   024049361   L M CALDWELL PHARMACIST #1            SANTA BARBARA     CA   93101     INDEPENDENT       AC2081646              100      100      730     6,500    1,700     1,826     9,130

100071307   023143172   CENTRAL PHARMACY(X)        CPA       WEST NEW YORK      NJ   07093     INDEPENDENT       AC2084591     100      200      200      200      100      200       167      1,000

100072755   018143172   CLINIC PHARMACY GUYMON         CPA       GUYMON         OK   73942     INDEPENDENT       AC2167028   12,600   14,700   17,200    6,300    9,600    8,900    11,550    69,300

100067222   008023556   CSU CHICO                                 CHICO         CA   95929       ALT SITE        AC2172118                                        1,000     (500)     250       500

100050289   018008524   CHILLICOTHE HOSPITAL                   CHILLICOTHE      TX   79225       HOSPITAL        AC2176154                                200                         200       200

100051252   008013557   COMMUNITY PHCY. CPA                   SAN FRANCISCO     CA   94110     INDEPENDENT       AC2206743    6,600    6,400    6,500    3,800    4,600    3,800     5,283    31,700

100083675   018181081   CITY DRUG STORE      CPA               JACKSBORO        TX   76458     INDEPENDENT       AC2221074   25,600   30,600   20,700   29,000   17,000    6,000    21,483   128,900

100085440   018193649   CLEBURNE DRUG INC,       CPA            CLEBURNE        TX   76033     INDEPENDENT       AC2249399   18,700   27,300   23,500   14,700    8,900   19,500    18,767   112,600

100061890   044077123   CHRIS' PHARMACY   APSC                NEW HARMONY       IN   47631     INDEPENDENT       AC2298467   17,000   16,000   21,000    8,000            24,000    17,200    86,000

100059064   041054973   CARILION ROANOKE COMM HOS PHCY          ROANOKE         VA   24013       HOSPITAL        AC2358201                       200      200      200      200       200       800

100059428   010098871   CARDINAL HILL HOSPITAL PHCY             LEXINGTON       KY   40504       HOSPITAL        AC2442894    3,000    3,100    3,200    4,400    2,100    1,680     2,913    17,480

100057012   056014662   MYERS DRUG STORE (X)                   NORRISTOWN       PA   19401     INDEPENDENT       AC2449622    1,400    1,100    1,400    1,400    2,300    2,500     1,683    10,100

100109623   023160861   CHESTER COUNTY HOSPITAL (EMP)         WEST CHESTER      PA   19380       HOSPITAL        AC2452592     400     1,500     500      300      500      200       567      3,400

100109615   023160820   CHESTER COUNTY HOSPITAL               WEST CHESTER      PA   19380       HOSPITAL        AC2452592             1,000     400      600      160      680       568      2,840

100071110   046140715   COLUMBIA HOSP PALM BEACH #712        WEST PALM BEACH    FL   33407       HOSPITAL        AC2459801     200      100      150      250      400      240       223      1,340

100059147   041055475   CULPEPER REGIONAL HOSPITAL              CULPEPER        VA   22701       HOSPITAL        AC2486505     400      300      200      300      360      160       287      1,720

100053963   041012500   COMM. MEM. HEALTHCENTER        845      SOUTH HILL      VA   23970       HOSPITAL        AC2491962     400      600      700      800     1,680     400       763      4,580

100071913   018090860   HUNT REGIONAL COMMUNITY HOSP            COMMERCE        TX   75428       HOSPITAL        AC2528555              100      100      100                80        95       380

100084540   018183715   HUNT REGIONAL COMMUNITY 340B            COMMERCE        TX   75428   PHS 340B HOSPITAL   AC2528555              100               100                         100       200

100060215   040001164   CHRISTIAN'S PHARMACY INC CPA           FOREST PARK      GA   30297     INDEPENDENT       AC2549179   27,500     700    20,500    9,300   14,700    8,800    13,583    81,500

100055206   041007385   CALVERT MEMORIAL HOSP PHY B07        PRINCE FREDERICK   MD   20678       HOSPITAL        AC2554081    1,500    1,200     700     1,300    1,100     800      1,100     6,600

100107311   019184945   COMMUNITY HOSPITAL OF BREMEN             BREMEN         IN   46506       HOSPITAL        AC2713495     200      100      100      300      200      100       167      1,000

100051240   008005678   CERES DRUG STORE                          CERES         CA   95307     INDEPENDENT       AC2721721   64,100   61,600   67,700   59,100   61,700   62,600    62,800   376,800

100066876   049047514   MIDMICHIGAN MED CTR-CLARE                 CLARE         MI   48617       HOSPITAL        AC2749731     400     1,100    1,600                                1,033     3,100

100064833   049065326   CRITTENTON HOSP MED CTR RX             ROCHESTER        MI   48307       HOSPITAL        AC2752221    3,000    2,900    3,500    2,600    9,000     400      3,567    21,400

100063068   049106617   CRITTENTON HOSP MED CTR EMPLOY         ROCHESTER        MI   48307       HOSPITAL        AC2752221    3,500    2,600    5,700    1,100                       3,225    12,900

100101121   049194357   CHARLEVOIX AREA HOSPITAL               CHARLEVOIX       MI   49720       HOSPITAL        AC2755328    1,500     900     1,600    2,600     960      440      1,333     8,000

100097028   049190314   CARSON CITY HOSPITAL (WAC)             CARSON CITY      MI   48811       HOSPITAL        AC2765153     200      400      400      400      580      680       443      2,660

100067050   049049890   CARSON CITY HOSPITAL                   CARSON CITY      MI   48811       HOSPITAL        AC2765153     200      200      200      300      160                212      1,060

100073515   049133215   CARSON CITY HOSPITAL 340B              CARSON CITY      MI   48811   PHS 340B HOSPITAL   AC2765153     200      100      100      400                         200       800
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100058576   049008615   CARO COMMUNITY HOSPITAL                 CARO          MI   48723       HOSPITAL        AC2767020               300                                 160      230       460

100084816   049181727   SPARROW CLINTON HOSP 340B            SAINT JOHNS      MI   48879   PHS 340B HOSPITAL   AC2770988     300       400      400      300               200      320      1,600

100066529   049049866   SPARROW CLINTON HOSPITAL I/P         SAINT JOHNS      MI   48879       HOSPITAL        AC2770988                        100               700               400       800

100086454   010213041   CHRIST HOSP                           CINCINNATI      OH   45219       HOSPITAL        AC2820959    5,400     5,200    5,200    6,000    5,700    4,640    5,357    32,140

100055728   010092650   C.F. KETTERING MEM HOSP PREM          KETTERING       OH   45429       HOSPITAL        AC2822890                                3,600                      3,600     3,600

100053922   010046953   COSHOCTON CO MEMORIAL HOSPITAL       COSHOCTON        OH   43812       HOSPITAL        AC2840026     400                500      200      300      200      320      1,600

100075431   010193532   COSHOCTON MEMORIAL HOSP 340B         COSHOCTON        OH   43812   PHS 340B HOSPITAL   AC2840026     100       100               200                        133       400

100068037   010174912   CCF EUCLID AVE OP PHARMACY            CLEVELAND       OH   44195     INDEPENDENT       AC2876920    7,300     6,700    6,800    6,900    9,900    6,800    7,400    44,400

100068202   010175620   HILLCREST HOSPITAL                 MAYFIELD HEIGHTS   OH   44124       HOSPITAL        AC2892164    2,600     1,400    3,100     700     2,320    2,200    2,053    12,320

100068109   010174953   CCF INPATIENT PHARMACY                CLEVELAND       OH   44195       HOSPITAL        AC2895437    6,300     4,500    4,500    9,100     960     4,890    5,042    30,250

100052293   010040956   COPE PHARMACY INC.         APSC         AKRON         OH   44319     INDEPENDENT       AC2911508    7,300     7,900    3,600    3,900    8,700    5,200    6,100    36,600

100086638   040106518   COFFEE REG'L MED CTR    - EMPL        DOUGLAS         GA   31533       HOSPITAL        AC2928539     900      1,300    1,700    1,800    1,200     600     1,250     7,500

100071906   040074906   COFFEE REG'L MEDICAL CTR (340B        DOUGLAS         GA   31533   PHS 340B HOSPITAL   AC2928539     600       700      800      600      560      100      560      3,360

100054467   040040022   COFFEE REGIONAL MEDICAL CENTER        DOUGLAS         GA   31533       HOSPITAL        AC2928539     300       400      200      300      680               376      1,880

100100549   040119941   COFFEE REG'L MED CTR (WAC)            DOUGLAS         GA   31533   PHS 340B HOSPITAL   AC2928539                         -                980      100      360      1,080

100071713   010172197   CABELL HUNTINGTON HOSP 340B OP       HUNTINGTON       WV   25701   PHS 340B HOSPITAL   AC2977556      (40)    3,500    5,020    6,200    2,200    9,300    4,363    26,180

100052059   010041822   CABELL-HUNTINGTON HOSP RX            HUNTINGTON       WV   25701       HOSPITAL        AC2977556    3,200     3,500    2,100    2,800    3,640    2,480    2,953    17,720

100100709   010234096   CABELL HUNTINGTON HOSP I/P WAC       HUNTINGTON       WV   25701   PHS 340B HOSPITAL   AC2977556     600                500      600     1,200    2,020     984      4,920

100054066   010000810   CABELL-HUNTINGTON HOSPITAL 340       HUNTINGTON       WV   25701   PHS 340B HOSPITAL   AC2977556     700       300      500      600                        525      2,100

100074257   044103002   CALDWELL COUNTY HOSPITAL PHCY         PRINCETON       KY   42445       HOSPITAL        AC3001536               100               100      400      320      230       920

100060360   010100768   CLINTON COUNTY WAR MEM HOSP            ALBANY         KY   42602       HOSPITAL        AC3015840     300       300      600      300      560               412      2,060

100058655   044042184   LIVINGSTON CNTY HOSP INC-SALEM          SALEM         KY   42078       HOSPITAL        AC3018428     100       200      200      700      100      300      267      1,600

100057842   032013656   COLUMBIA PHCY GNP                      SEATTLE        WA   98118     INDEPENDENT       AC3053523    1,500     1,400    2,100    8,400                      3,350    13,400

100059531   041018317   COMMUNITY PHCY & MED SPLY(GNP)     CHRISTIANSBURG     VA   24073       HOSPITAL        AC3085582    7,500     9,400    6,700    3,530   17,000    3,030    7,860    47,160

100054232   017008813   CARBON MEDICAL SERV ASSOC/G          EAST CARBON      UT   84520       ALT SITE        AC3129346    2,000     2,600    4,100    4,300    3,500    2,000    3,083    18,500

100054233   017008821   CARBON MEDICAL       PHS             EAST CARBON      UT   84520    PHS 340B CLINIC    AC3129346    1,100     2,700    1,900    2,500    2,600    1,800    2,100    12,600

100075550   055072488   CHATHAM HOSPITAL(X)                   SILER CITY      NC   27344       HOSPITAL        AC3160467     200       400      400      600     1,040     100      457      2,740

100072999   055069492   CATAWBA VAL MD CT(EMP RX 340B)         HICKORY        NC   28602   PHS 340B HOSPITAL   AC3171888    1,700     2,000    2,200    2,730    1,100    1,600    1,888    11,330

100074080   055150912   CATAWBA VALLEY MEDICAL CTR             HICKORY        NC   28602       HOSPITAL        AC3171888    1,000     1,100     800      500      420      480      717      4,300

100073751   055069476   CATAWBA VALLEY MED CTR(340B)           HICKORY        NC   28602   PHS 340B HOSPITAL   AC3171888     200       300      400      200      180               256      1,280

100089827   055031047   CATAWBA VALLEY MED CTR(WAC)            HICKORY        NC   28602       HOSPITAL        AC3171888                                 100     1,100      80      427      1,280

100096859   055037770   CATAWBA VAL MED CTR EMP (WAC)          HICKORY        NC   28602       HOSPITAL        AC3171888               100      100      300                        167       500

100050921   037072215   CARR'S DRUG INC #1      SF          NEW ORLEANS       LA   70114     INDEPENDENT       AC3183162    7,400     8,300    5,700    9,300    8,500    5,000    7,367    44,200

100050920   037072199   CARR'S DRUG INC                     NEW ORLEANS       LA   70114     INDEPENDENT       AC3183162                                                  6,000    6,000     6,000

100074505   055043117   CALDWELL MEMORIAL HOSP, INC            LENOIR         NC   28645       HOSPITAL        AC3190648     400       600     2,300                               1,100     3,300

100074849   055043299   CAPE FEAR VALLEY MEDICAL CTR         FAYETTEVILLE     NC   28304       HOSPITAL        AC3205540    1,200     1,800    2,000    2,000              100     1,420     7,100

100096492   055037275   CAPE FEAR VALLEY MED CTR (WAC)       FAYETTEVILLE     NC   28304       HOSPITAL        AC3205540                                         2,300     700     1,500     3,000

100074847   055041871   CAPE FEAR VALLEY MED CTR - PHS       FAYETTEVILLE     NC   28304   PHS 340B HOSPITAL   AC3205540     500       400      400      500               900      540      2,700

100071383   044143230   CITY DRUG STORE: PARAGOULD CPA       PARAGOULD        AR   72450     INDEPENDENT       AC3209550   22,500    23,000   37,100     100    15,000   18,000   19,283   115,700

100071386   018144154   COLEMAN PHARMACY INC         CPA     FORT SMITH       AR   72904     INDEPENDENT       AC3213129   18,000    16,200   14,800   15,920    7,100   16,700   14,787    88,720

100064725   018036095   COLLIER REXALL DRUG STORE CPA        FAYETTEVILLE     AR   72701     INDEPENDENT       AC3216543   18,000    30,700   15,000   18,100   12,200   18,800   18,800   112,800

100059871   018300277   ST. VINCENT MORRILTON                 MORRILTON       AR   72110       HOSPITAL        AC3217014     200       300      400      300      660               372      1,860

100070546   018144113   C & D DRUG STORE INC       CPA      RUSSELLVILLE      AR   72801     INDEPENDENT       AC3217583   21,000    18,000   16,100    2,000    6,020    9,100   12,037    72,220

100073414   004079251   CORTLAND REGIONAL MEDICAL CNTR        CORTLAND        NY   13045       HOSPITAL        AC3279343     900       400      600      900      400      500      617      3,700
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100056265   040068411   ROBINS USAF HOSPITAL              WARNER ROBINS    GA   31098   HOSPITAL (FEDERAL)   AC3288291   14,400   15,600   13,200     9,600   10,800   14,400   13,000   78,000

100065741   018035980   *COLLINSVILLE FAMILY PHCY SF       COLLINSVILLE    OK   74021     INDEPENDENT        AC3293418             1,000                                         1,000    1,000

100052968   017011668   CARIBOU COUNTY HOSPITAL           SODA SPRINGS     ID   83276       HOSPITAL         AC3307584     800     1,100     200      1,800             1,900    1,160    5,800

100053947   038029652   DENVER HEALTH MED CTR/DDC            DENVER        CO   80204   PHS 340B HOSPITAL    AC3360752    3,900    5,500    4,000     3,900   15,500             6,560   32,800

100053948   038029660   DENVER HEALTH MED CTR/DCJ            DENVER        CO   80204   PHS 340B HOSPITAL    AC3360752    1,800    2,500    2,200     2,400    7,800             3,340   16,700

100055698   038020909   DENVER HLTH MED CTR OP PHY PHS       DENVER        CO   80204   PHS 340B HOSPITAL    AC3360752    2,400    3,600    2,400     3,600    2,400    2,000    2,733   16,400

100055697   038020875   DENVER HLTH.MED.CTR.HOSP.PHCY.       DENVER        CO   80204       HOSPITAL         AC3360752    1,100     600     1,000      600      600               780     3,900

100093157   038106062   DENVER HLTH.MED.CTR.ACUTE.340B       DENVER        CO   80204   PHS 340B HOSPITAL    AC3360752              400      300                         400      367     1,100

100092784   038105981   DENVER HLTH.MED.CT.HOS.PHY.WAC       DENVER        CO   80204       HOSPITAL         AC3360752                                          400      600      500     1,000

100075058   038101212   DOC SOUTHERN REGIONAL PHARMACY       PUEBLO        CO   81003    LONG TERM CARE      AC3360764    2,400    2,700    1,800     2,000             1,560    2,092   10,460

100053412   024063081   L M CALDWELL PHARMACIST #2        SANTA BARBARA    CA   93105     INDEPENDENT        AC3443683     200      900      100       100     4,900     700     1,150    6,900

100062424   052049981   CHILDREN'S HOSPITAL MAIN           BIRMINGHAM      AL   35233       HOSPITAL         AC3473496     500      500      300       900      160      300      443     2,660

100096716   052114512   CHILDREN'S HOSP (WAC)              BIRMINGHAM      AL   35233   PHS 340B HOSPITAL    AC3473496     100      100                         160               120      360

100075178   052170647   CHILDRENS HOSPITAL OF AL 340B      BIRMINGHAM      AL   35233   PHS 340B HOSPITAL    AC3473496              100      200                                  150      300

100056862   044064741   CLARK MEMORIAL HOSPITAL          JEFFERSONVILLE    IN   47130       HOSPITAL         AC3507211    2,900    2,800    2,700     2,900    4,200    2,600    3,017   18,100

100090925   019157909   NEW LONDON FAM MED CTR 340B        NEW LONDON      WI   54961       HOSPITAL         AC3539636                       400                                  400      400

100072451   019057752   NEW LONDON FAMILY MED CENTER       NEW LONDON      WI   54961       HOSPITAL         AC3539636                                                   200      200      200

100108904   021174854   CLAY COUNTY HOSPITAL                  FLORA        IL   62839       HOSPITAL         AC3581572     100      100      200       100      200      300      167     1,000

100061164   025018796   STERLING DRUG #3        SF         ALBERT LEA      MN   56007    LONG TERM CARE      AC3636125    2,500    2,500    2,000     3,600    2,900    2,900    2,733   16,400

100104132   019180596   LURIE CHILDRENS HSP OF CHICAGO       CHICAGO       IL   60611       HOSPITAL         AC3714917     700      900      800       600      700      300      667     4,000

100104136   019180869   LURIE CHILDRENS HP WAC               CHICAGO       IL   60611   PHS 340B HOSPITAL    AC3714917                       200                500               350      700

100104134   019180851   LURIE CHILDRENS HP 340B              CHICAGO       IL   60611   PHS 340B HOSPITAL    AC3714917     100      100      100                                  100      300

100092959   019161604   CARLE MEMORIAL HOSPITAL PHCY         URBANA        IL   61801       HOSPITAL         AC3758692   12,200    8,300    3,800     9,700   11,200    9,100    9,050   54,300

100104036   019180067   CARLE FOUNDATION HOSP WAC            URBANA        IL   61801   PHS 340B HOSPITAL    AC3758692              100     9,000     1,000     500              2,650   10,600

100104033   019180034   CARLE FOUNDATION HOSP 340B           URBANA        IL   61801   PHS 340B HOSPITAL    AC3758692     600     1,600     900      1,200                      1,075    4,300

100066542   021002733   CAMERON REGIONAL MED CTR INC        CAMERON        MO   64429       HOSPITAL         AC3781122     800      600      400       500     2,100              880     4,400

100067082   019143065   CENTRAL CLEARING DRUG STRE CPA       CHICAGO       IL   60638     INDEPENDENT        AC3853668     200      400      500     14,200                      3,825   15,300

100088668   019154294   CGH MEDICAL CENTER INPATIENT        STERLING       IL   61081       HOSPITAL         AC3865512    2,000    1,700    2,400     1,600    1,400    1,700    1,800   10,800

100072589   019057174   AURORA PHARMACY #1030               OSHKOSH        WI   54901         CHAIN          AC3929075    5,600    4,700    4,800     5,800    3,400    4,900    4,867   29,200

100066543   021002741   COMMUNITY HOSPITAL ASS'N             FAIRFAX       MO   64446       HOSPITAL         AC3941540     200               100       200               200      175      700

100058942   044041400   MASSAC COUNTY HOSP DISTRICT,       METROPOLIS      IL   62960       HOSPITAL         AC3960019     300      600      200       600      780      500      497     2,980

100090720   019167601   COLUMBUS COMMUNITY HOSP, INC        COLUMBUS       WI   53925       HOSPITAL         AC3974917     200      500      (100)     500               300      280     1,400

100090718   019167585   COLUMBUS COMM HOSP INC 340B         COLUMBUS       WI   53925   PHS 340B HOSPITAL    AC3974917                                 100                        100      100

100062590   021001693   CHILDRENS HOSPITAL                   OMAHA         NE   68114       HOSPITAL         AC3979551     300      550      400       200      500               390     1,950

100111250   021002090   CHILDRENS HOSPITAL WAC               OMAHA         NE   68114       HOSPITAL         AC3979551                                          200      300      250      500

100062592   021001727   JENNIE M MELHAM MEMORIAL           BROKEN BOW      NE   68822       HOSPITAL         AC3983675              400                                  500      450      900

100074610   021136002   MANNING REGIONAL HLTHCARE CTR       MANNING        IA   51455       HOSPITAL         AC4009711              100                100                        100      200

100104962   021172601   ALEGENT HEALTH COMM MEM HOSP     MISSOURI VALLEY   IA   51555       HOSPITAL         AC4011906     200               100       200      520       80      220     1,100

100104963   021172668   ALEGENT HLTH COMM MEM HOSP340B   MISSOURI VALLEY   IA   51555       HOSPITAL         AC4011906                                 100                        100      100

100062588   021001677   GRAPE COMMUNITY HOSPITAL            HAMBURG        IA   51640       HOSPITAL         AC4017287     400      300      100       500      200               300     1,500

100063369   021001099   CLARINDA REGIONAL HLTH CTR          CLARINDA       IA   51632       HOSPITAL         AC4020474              100      100       200      180      260      168      840

100069756   019146001   CENTRAL COMM HOSP PHCY               ELKADER       IA   52043       HOSPITAL         AC4040957     100                         100      160               120      360

100064596   019008920   COMMUNITY MEMORIAL HOSP OF ME    MENOMONEE FALLS   WI   53052       HOSPITAL         AC4051304    1,400    1,100    1,400      700     3,300     420     1,387    8,320

100062878   025000554   COTEAU DES PRAIRIES HOSPITAL        SISSETON       SD   57262       HOSPITAL         AC4068563     250      400      200       300               460      322     1,610
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100063041   021002196   CASS COUNTY MEMORIAL HOSPITAL      ATLANTIC      IA   50022       HOSPITAL        AC4102416     500      300     1,000              460      300      512      2,560

100071798   040140111   COLISEUM MEDICAL CENTER #712        MACON        GA   31217       HOSPITAL        AC4119067    3,100    1,150    3,900    1,900    3,980    1,840    2,645    15,870

100055703   038023879   COMMUNITY HOSPITAL                  MCCOOK       NE   69001       HOSPITAL        AC4161523     200      400      200      100      600      100      267      1,600

100085249   038098657   COMMUNITY HOSPITAL 340B             MCCOOK       NE   69001   PHS 340B HOSPITAL   AC4161523                       200      100                        150       300

100066413   044143065   CLARK'S DRUG INC       CPA       MUNFORDVILLE    KY   42765     INDEPENDENT       AC4169062    6,800   10,700    8,000   13,000    6,000    7,100    8,600    51,600

100060174   023069161   MAIMONIDES MED CTR (340B)          BROOKLYN      NY   11219   PHS 340B HOSPITAL   AC4187868                       200                                 200       200

100059466   023018333   MAIMONIDES MEDICAL CENTER          BROOKLYN      NY   11219       HOSPITAL        AC4187868                                          80                80        80

100093897   010227223   DAYTON CHILDRENS HOSP WAC           DAYTON       OH   45404       HOSPITAL        AC4253958    1,300     600     1,000    5,600    1,000    1,600    1,850    11,100

100096708   010233544   DAYTON CHILDRENS RETAIL WAC         DAYTON       OH   45404   PHS 340B HOSPITAL   AC4253958    1,000    2,600    1,000    1,000                      1,400     5,600

100052355   010000042   DAYTON CHILDRENS HOSPITAL           DAYTON       OH   45404       HOSPITAL        AC4253958     100      100      200      100                        125       500

100074569   010185686   DAYTON CHILDRENS HOSP 340B          DAYTON       OH   45404   PHS 340B HOSPITAL   AC4253958     100      100               100                        100       300

100053035   012069419   CASA COLINA HOSPITAL                POMONA       CA   91767       HOSPITAL        AC4278671    1,800    1,800    1,300    3,900    1,600     500     1,817    10,900

100071014   023175984   COLUMBUS AVE PHARMACY(X) CPA       NEW YORK      NY   10025     INDEPENDENT       AC4538015                                100               700      400       800

100110015   023161257   COLUMBUS AVE PHARMACY GPO CPA      NEW YORK      NY   10025     INDEPENDENT       AC4538015                       200                                 200       200

100091210   055031450   NOVANT HTH THOMASVILLE MED WAC    THOMASVILLE    NC   27360       HOSPITAL        AC4545945     200               100              1,400     400      525      2,100

100074844   055041657   NOVANT HLTH THOMASVILLE MED CT    THOMASVILLE    NC   27360       HOSPITAL        AC4545945     400      500      500      400                        450      1,800

100076297   055045302   NOVANT HTH THOMASVILLE MED340B    THOMASVILLE    NC   27360   PHS 340B HOSPITAL   AC4545945              400      500      200                        367      1,100

100050177   004020511   DANA FARBER CANCER INST (OPD)       BOSTON       MA   02215       HOSPITAL        AC4652827    1,400     900      200      900      100      400      650      3,900

100050178   004020537   DANA FARBER CANCER INST. PHCY.      BOSTON       MA   02215       HOSPITAL        AC4652827              300                                          300       300

100051108   018041574   COLLINGSWORTH GEN HOSP(RETAIL)    WELLINGTON     TX   79095       HOSPITAL        AC4924052   12,300   15,100   11,900    9,100    7,400    7,000   10,467    62,800

100051369   018042648   COLLINGSWORTH GENERAL HOSP        WELLINGTON     TX   79095       HOSPITAL        AC4924052              100      100                        260      153       460

100075683   055071704   CHERRY HOSPITAL                   GOLDSBORO      NC   27530       HOSPITAL        AC4995885     100                        100                        100       200

100090119   032143859   LAKE CHELAN COMMUNITY HOSP.         CHELAN       WA   98816       HOSPITAL        AC5083643     200      400      200      200      160               232      1,160

100071902   041140103   CHIPPENHAM MEDICAL CENTER #712     RICHMOND      VA   23225       HOSPITAL        AC5108798    1,800    2,750    1,900    2,450    2,250    1,580    2,122    12,730

100063927   052045401   CALHOUN-CLEBURNE MTL HLTH CTR      ANNISTON      AL   36207       ALT SITE        AC5135909     600      700     1,000     600      600      200      617      3,700

100062187   025004382   CARRINGTON HEALTH CENTER          CARRINGTON     ND   58421       HOSPITAL        AC5288837     100      300      100       50       80      160      132       790

100062308   025009183   CHILDREN'S HLTH CARE MNPLS        MINNEAPOLIS    MN   55404       HOSPITAL        AC5395531                                200                        200       200

100107444   019185017   CLOVERDALE DRUGS CPA              CLOVERDALE     IN   46120     INDEPENDENT       AC5476278   15,200   16,100   16,200   19,100   10,200    8,100   14,150    84,900

100090538   032144915   COULEE COMMUNITY HOSPITAL        GRAND COULEE    WA   99133       HOSPITAL        AC5527619     400      400               200      100      340      288      1,440

100075515   055071878   CASWELL DEVELOPMENTAL CENTER        KINSTON      NC   28504       HOSPITAL        AC5563766              200      100      100       80      240      144       720

100065629   021003863   CARLEY DRUG CO                      AVOCA        IA   51521     INDEPENDENT       AC5571016    1,000    1,000     500              1,800             1,075     4,300

100104107   021172270   CARLEY DRUG CO 340B                 AVOCA        IA   51521   PHS 340B HOSPITAL   AC5571016     100      200     1,100                                467      1,400

100090209   010224311   CLERMONT MERCY HOSPITAL             BATAVIA      OH   45103       HOSPITAL        AC5593644     500      800     1,200     400     1,860     900      943      5,660

100066630   019038398   COMMUNITY HOSPITAL                 MUNSTER       IN   46321       HOSPITAL        AC5650331    5,300    6,400    6,300    4,900   14,700    1,000    6,433    38,600

100068501   019159442   COMMUNITY HOSPITAL OWN USE CSC     MUNSTER       IN   46321       HOSPITAL        AC5650331    4,800    7,500    8,200    8,200                      7,175    28,700

100054383   041015727   CENTRAL VIRGINIA HLTH SERV(X)     NEW CANTON     VA   23123    PHS 340B CLINIC    AC5832109   16,900   16,900   15,300   26,800   21,900   13,100   18,483   110,900

100051598   018044891   COMANCHE PHARMACY                  COMANCHE      TX   76442     INDEPENDENT       AC5840601   10,500   12,500   10,500    5,400    8,300   13,400   10,100    60,600

100066411   040143172   CITY DRUG STORE: VIDALIA CPA        VIDALIA      GA   30474     INDEPENDENT       AC5953218   32,200   24,300   26,600   43,200   31,900    5,700   27,317   163,900

100088917   021166835   CLINIC PHARMACY      CPA          VERSAILLES     MO   65084     INDEPENDENT       AC6066206    7,200    8,700    7,300    9,800    4,600    5,200    7,133    42,800

100055294   010089953   LOFINO'S PHARMACY #2 APSC        BEAVERCREEK     OH   45430     INDEPENDENT       AC6155596    4,100    4,500    5,000    4,200    6,800    3,000    4,600    27,600

100060154   044063727   C D S #10 DRUG     APSC          BOWLING GREEN   KY   42104     INDEPENDENT       AC6273990   11,200   10,800   14,100   11,800   16,000   11,300   12,533    75,200

100109423   023160077   COTTAGE PHCY & SURGICAL INC       WOODBURY       NY   11797     INDEPENDENT       AC6336019                       300               100      200      200       600

100070550   044143222   CATE PHARMACY INC,         CPA     CORNING       AR   72422     INDEPENDENT       AC6382016   10,000   11,000   13,500    7,500   15,000    8,000   10,833    65,000

100060737   025022756   ESSENTIA HEALTH                     DULUTH       MN   55805       HOSPITAL        AC6400270    7,200    8,500    3,500   29,000    9,000   17,000   12,367    74,200
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100066337   025041335   ESSENTIA HEALTH                         DULUTH        MN   55805   PHS 340B HOSPITAL    AC6400270   13,000    9,500   14,500    3,000                      10,000    40,000

100055529   046003186   CORAL WAY PHARMACY INC          %        MIAMI        FL   33155     INDEPENDENT        AC6402755     100      300      100      200                100      160       800

100076343   046114637   LAKEVIEW CENTER INC,                  PENSACOLA       FL   32501       HOSPITAL         AC6485735              200      300      100       300               225       900

100056273   046003079   TONYMAR DRUG CORPORATION                 MIAMI        FL   33130     INDEPENDENT        AC6520452     700      700      700      600       500      200      567      3,400

100061943   025018838   STERLING DRUG #5       SF             OWATONNA        MN   55060     INDEPENDENT        AC6588137    6,100    4,600   17,500                       6,200    8,600    34,400

100056267   040062380   CITIZENS PHARMACY         CPA       FLOWERY BRANCH    GA   30542     INDEPENDENT        AC6641270   10,200   21,200   27,200   29,200    27,000   21,600   22,733   136,400

100066419   040143248   CRAWFORD-BREAZEALE DRUG CO CPA        LINCOLNTON      GA   30817     INDEPENDENT        AC6654102    3,000   13,000     600     6,800     9,600    4,200    6,200    37,200

100059219   041055764   CHESAPEAKE GEN.HOSP OUTPATIENT        CHESAPEAKE      VA   23320       HOSPITAL         AC6689408    1,100    2,800    1,200    4,400      500     1,900    1,983    11,900

100059218   041055756   CHESAPEAKE GEN HOSP AUTH INPAT        CHESAPEAKE      VA   23320       HOSPITAL         AC6689408    1,000    2,100    1,500    1,400     1,400    1,780    1,530     9,180

100062354   052049908   CLEBURNE PHCY          SF               HEFLIN        AL   36264     INDEPENDENT        AC6963739   19,000   19,200   21,100   24,200     7,500   14,100   17,517   105,100

100066132   049040808   M/CENTER FOR FORENSIC PSYCHIAT          SALINE        MI   48176       HOSPITAL         AC7079040              300      100                         100      167       500

100064098   056072124   USAF-87TH MED LOGISTICS/SGSM         MCGUIRE AFB      NJ   08641   HOSPITAL (FEDERAL)   AC7154355             6,000    1,800    4,400              4,800    4,250    17,000

100057414   046001578   JACKSON DRUG INC                      FORT PIERCE     FL   34950     INDEPENDENT        AC7248760     100                        100       200               133       400

100076036   055019570   CARROLL PHARMACY INC                  SMITHFIELD      NC   27577     INDEPENDENT        AC7264841                              10,000                      10,000    10,000

100073182   055041566   CHARLES A CANNON JR MEM. HOSP.          LINVILLE      NC   28646       HOSPITAL         AC7441176     700      700      500      400       320      300      487      2,920

100057300   044066142   CENTRAL STATE HOSPITAL                LOUISVILLE      KY   40223       HOSPITAL         AC7621419                       200                                  200       200

100070139   046114660   YOUR HOME MED PRESCRIPTION SHO         PALATKA        FL   32177     INDEPENDENT        AC7641310    7,000    4,700    5,300    4,200      700     1,500    3,900    23,400

100075837   019160952   COMMUNITY HEALTH CARE RX 340B         DAVENPORT       IA   52801    PHS 340B CLINIC     AC7668493    3,000    2,400    2,600    5,000     1,500             2,900    14,500

100050604   004026005   CARLETON,JACK HARDY MD                 WALLKILL       NY   12589       HOSPITAL         AC7713375              100                                           100       100

100067616   041145003   CLINCH VALLEY MEDICAL CTR #712        RICHLANDS       VA   24641       HOSPITAL         AC7838090    1,100    1,050     300      600      1,700     800      925      5,550

100054277   037046177   CLEAR LAKE PROF BLDG PHCY/GNP          WEBSTER        TX   77598     INDEPENDENT        AC7901033   16,890   18,300   16,000   32,800    22,600   20,400   21,165   126,990

100091007   023136226   CHRIST HOSPITAL                       JERSEY CITY     NJ   07306       HOSPITAL         AC8070613                       120                                  120       120

100060898   019047936   MCMANUS, DOUGLAS BRIEN MD            GERMANTOWN       WI   53022       HOSPITAL         AC8124935     300               200      100                         200       600

100071659   046141283   NEW PORT RICHEY HOSP        #712    NEW PORT RICHEY   FL   34656       HOSPITAL         AC8249244                        50      200                 80      110       330

100086171   041138339   IAEGER PHARMACY        CPA              IAEGER        WV   24844     INDEPENDENT        AC8278942   14,000   18,000   14,000   13,200    10,600    6,500   12,717    76,300

100061837   023013904   CALVARY HOSP INC                        BRONX         NY   10461       HOSPITAL         AC8354247              100               600                         350       700

100059425   010098830   CAVE RUN PHARMACY INC       APSC      MOREHEAD        KY   40351     INDEPENDENT        AC8463159    7,100    5,500    6,000    8,200     6,700    8,100    6,933    41,600

100066247   010177907   CAVE RUN PHARMACY 340B                MOREHEAD        KY   40351   PHS 340B HOSPITAL    AC8463159     600      500      800      950      1,160     940      825      4,950

100092119   010116061   CLOVERFORK CLINIC RETAIL APSC           EVARTS        KY   40828     INDEPENDENT        AC8497617   23,100   21,900   19,000   21,500    19,400   17,500   20,400   122,400

100072834   046140582   CAPITAL REGIONAL MED CTR #712        TALLAHASSEE      FL   32308       HOSPITAL         AC8781165     900     1,400    1,200    1,200     2,200     500     1,233     7,400

100093160   018396465   CHAPMAN PHARMACY INC                     RUSK         TX   75785     INDEPENDENT        AC8948169   15,500   16,700   13,300   14,500    10,500   16,100   14,433    86,600

100063752   021060210   CRAIG GENERAL HOSPITAL / PREM            VINITA       OK   74301       HOSPITAL         AC9001467     300      200      200      200       400      400      283      1,700

100074694   044179234   CLAY DRUG STORE     APSC                 CLAY         KY   42404     INDEPENDENT        AC9089649   11,100   14,000   12,000   11,000     9,500    8,000   10,933    65,600

100086300   044203257   CLAY DRUG STORE 340B                     CLAY         KY   42404    PHS 340B CLINIC     AC9089649                                                  4,800    4,800     4,800

100066709   018061341   CITY PHARMACY INC      CPA           POCAHONTAS       AR   72455     INDEPENDENT        AC9099866   11,000   12,400   13,800   19,400     7,900    8,700   12,200    73,200

100053452   024023309   COLONIAL DRUG L.A. /PCN              LOS ANGELES      CA   90027     INDEPENDENT        AC9167342     300      300      500      200       400      400      350      2,100

100060725   021036822   COMMUNITY HLTH CNTR, PHARM SF          CLARION        IA   50525     INDEPENDENT        AC9255767    4,200    5,700    5,100    5,500     6,400    5,300    5,367    32,200

100072759   037143016   COBB'S PHARMACY INC         CPA      GEORGE WEST      TX   78022     INDEPENDENT        AC9553036    6,600     100    10,600     (500)    8,600   11,000    6,067    36,400

100057376   052027490   SOUTHWEST PHARMACIES INC CPA           MCCOMB         MS   39648     INDEPENDENT        AC9555838   15,500    6,500   27,000              1,500    7,000   11,500    57,500

100067608   052145003   ANDALUSIA REGIONAL HOSP #712          ANDALUSIA       AL   36420       HOSPITAL         AC9709897     850      500      750      350       200      500      525      3,150

100059215   037086140   CAMPBELL DRUG STORE /GNP             THREE RIVERS     TX   78071     INDEPENDENT        AC9732404   12,000    9,100   11,400   10,900    15,000    5,800   10,700    64,200

100058176   019038505   CEDAR LAKE CAMPUS PHARMACY            WEST BEND       WI   53095    LONG TERM CARE      AC9749144    1,900    4,700    5,200    5,400     2,840    3,300    3,890    23,340

100055308   010092205   CAMDEN VILLAGE PHARMACY                 CAMDEN        OH   45311     INDEPENDENT        AC9807302   11,600   18,500   37,500   17,900    15,500   15,300   19,383   116,300

100088046   018200865   CITY PHARMACY       CPA               LITTLE ROCK     AR   72206     INDEPENDENT        AC9809128    9,000   26,900   12,400    3,900    14,000    7,300   12,250    73,500
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100055582   046007500   DOCTORS PHARMACY INC                    MIAMI        FL   33135     INDEPENDENT       AD0212059    5,000     6,100    3,200    4,700    3,500    2,000    4,083    24,500

100105989   012112334   *SAIL DRUG        HEMET                 HEMET        CA   92543     INDEPENDENT       AD0280040    1,600               200                                 900      1,800

100091310   052099168   THE CORNER DRUG STORE, INC SF         LAKE CITY      TN   37769     INDEPENDENT       AD0393722   12,200    14,500   12,600   11,500   12,300    9,200   12,050    72,300

100071606   044140426   SUMMIT MEDICAL CENTER        #712     HERMITAGE      TN   37076       HOSPITAL        AD0408434    3,200     1,300    3,500    2,500    3,640    1,900    2,673    16,040

100074898   052147611   DALE MEDICAL CENTER (340B PHS)          OZARK        AL   36360   PHS 340B HOSPITAL   AD0471007    1,400     1,200    1,900    1,500    1,600    1,000    1,433     8,600

100062695   052050310   DALE MEDICAL CENTER                     OZARK        AL   36360       HOSPITAL        AD0471007     400       400      500      100      600      300      383      2,300

100062696   052050344   DAVIS DRUG COMPANY INC        SF     COLUMBIANA      AL   35051     INDEPENDENT       AD0482810               200     2,500    2,700   13,020     200     3,724    18,620

100057777   056011577   DOYLESTOWN HOSPITAL                  DOYLESTOWN      PA   18901       HOSPITAL        AD0574308     600       800      400      700               200      540      2,700

100060542   023064519   DOYLESTOWN HOSPITAL                  DOYLESTOWN      PA   18901       HOSPITAL        AD0574308                                         1,300             1,300     1,300

100076979   037112243   DRISCOLL CHILDRENS'S HOSPITAL       CORPUS CHRISTI   TX   78411       HOSPITAL        AD0894952     200       100               200               200      175       700

100091139   037129668   DRISCOLL CHILDREN'S HOSP WAC        CORPUS CHRISTI   TX   78411       HOSPITAL        AD0894952     200       200                                          200       400

100057498   018065565   DAVILA PHARMACY, INC                 SAN ANTONIO     TX   78207     INDEPENDENT       AD0937649   13,200    14,100   11,600   10,600             3,000   10,500    52,500

100058920   044043323   DAVIS DRUGS          APSC             PADUCAH        KY   42001     INDEPENDENT       AD1089829   25,400    16,800   18,700   57,600   42,500    5,520   27,753   166,520

100095222   023144162   DUANE READE                           NEW YORK       NY   10022     WALGREENS         AD1473519    1,600     1,300    1,600    2,000    2,100    1,700    1,717    10,300

100060396   019048710   DEVILLE PHARMACIES-DILLSBORO          DILLSBORO      IN   47018     INDEPENDENT       AD1474383    8,200     8,300    6,600    7,300    9,500    4,700    7,433    44,600

100055535   032058230   MIKES MEDICAL PHCY                    NEWBERG        OR   97132     INDEPENDENT       AD1630804    4,500     2,600    2,500    4,000    1,000             2,920    14,600

100056055   046002329   D B M, INC                           KEY BISCAYNE    FL   33149     INDEPENDENT       AD1655363    1,500      700     1,500    2,100     300     1,100    1,200     7,200

100087742   021166017   DALLAS COUNTY HOSP 340B                 PERRY        IA   50220   PHS 340B HOSPITAL   AD1782792                        200      200      400               267       800

100069001   021130237   DALLAS COUNTY HOSPITAL                  PERRY        IA   50220       HOSPITAL        AD1782792     100       300      100                                 167       500

100095214   023144030   DUANE READE                           NEW YORK       NY   10006     WALGREENS         AD1845176     800       300     1,100     440      500      900      673      4,040

100095215   023144048   DUANE READE                           NEW YORK       NY   10007     WALGREENS         AD1845188    1,300     2,800    2,000    1,600     600     1,100    1,567     9,400

100095227   023144212   DUANE READE                           NEW YORK       NY   10004     WALGREENS         AD1845190      30       500               100                        210       630

100095223   023144170   DUANE READE                           NEW YORK       NY   10007     WALGREENS         AD1845203     200      1,400     600      700      700      100      617      3,700

100095348   023145433   DUANE READE                           NEW YORK       NY   10010     WALGREENS         AD1887504    1,000      300     1,000     100      100      300      467      2,800

100051493   008035667   DAMERON HOSPITAL INPATIENT            STOCKTON       CA   95203       HOSPITAL        AD2099530    3,600     3,500    4,000    4,300    2,220    3,200    3,470    20,820

100057473   008040139   DAMERON HOSPITAL 340B                 STOCKTON       CA   95203   PHS 340B HOSPITAL   AD2099530     700       500      600      400      160               472      2,360

100054957   041003236   DRUG CTR DISCOUNT PHARMACY #2        PORTSMOUTH      VA   23704     INDEPENDENT       AD2105004    6,700     4,600    6,700    9,100    3,600    1,400    5,350    32,100

100059185   044041996   DIERBERGS 79 CROSSING PHARMACY       SAINT PETERS    MO   63376        CHAIN          AD2132734    3,500     4,500    4,000    4,000    5,000    3,200    4,033    24,200

100095224   023144188   DUANE READE                           NEW YORK       NY   10018     WALGREENS         AD2205258     400      1,100              100      500      800      580      2,900

100054956   041003210   DRUG CENTER PHARMACY #3              PORTSMOUTH      VA   23707     INDEPENDENT       AD2242181     (500)     300     1,000     300    14,500   11,800    4,567    27,400

100050371   018044982   DAVIS CITY PHARMACY INC RD          WEATHERFORD      TX   76086     INDEPENDENT       AD2254376   51,500     8,000   25,200    2,000   29,000   17,500   22,200   133,200

100064562   049055541   SINDECUSE HEALTH CENTER MEDA         KALAMAZOO       MI   49008       ALT SITE        AD2268399    3,900     5,200    5,900    4,900    5,000    3,400    4,717    28,300

100073411   041111948   DIAMOND DRUGS INC(Z)                GAITHERSBURG     MD   20877     INDEPENDENT       AD2320187     700       200                                          450       900

100052947   012024000   DESERT MEDICAL PHCY                   EL CENTRO      CA   92243     INDEPENDENT       AD2526107   16,200    21,400   17,600   19,800   30,700   27,200   22,150   132,900

100095225   023144196   DUANE READE                           NEW YORK       NY   10017     WALGREENS         AD2782971     600       700     1,300     500      200      600      650      3,900

100056248   018029504   RAFF & HALL FAMILY PARK                LUBBOCK       TX   79404     INDEPENDENT       AD2884903   19,200    20,700   21,600   11,100   23,300   14,900   18,467   110,800

100095226   023144204   DUANE READE                           NEW YORK       NY   10001     WALGREENS         AD2885361     100      1,400    2,000    1,100    1,100    1,100    1,133     6,800

100094560   023138248   DUANE READE                           BROOKLYN       NY   11206     WALGREENS         AD2924238     300      1,000     100      100      200      600      383      2,300

100065472   010011510   MONROE PHARMACY             APSC       TOLEDO        OH   43606     INDEPENDENT       AD2925975    6,300     3,100    3,500    2,700    5,500    5,500    4,433    26,600

100059188   044042036   DIERBERGS MARKETS INC-LEMAY          SAINT LOUIS     MO   63125        CHAIN          AD2967404    5,300     7,300    8,600    6,700    7,400    7,000    7,050    42,300

100060810   025022848   ESSENTIA HEALTH                        DULUTH        MN   55807       HOSPITAL        AD2980224    1,700     4,000    1,500    1,600    6,000    4,100    3,150    18,900

100083397   025064923   ESSENTIA HEALTH                        DULUTH        MN   55807   PHS 340B HOSPITAL   AD2980224    3,000     2,000    4,000    4,100     500     1,600    2,533    15,200

100058149   044047514   DANHAUER DRUG CO INC         APSC    OWENSBORO       KY   42301     INDEPENDENT       AD3011905   18,000    17,500   18,400   13,000   26,500    9,000   17,067   102,400

100057196   052026880   DAN'S DISC PHCY        SF             LOUISVILLE     MS   39339     INDEPENDENT       AD3044601    5,600     4,700    5,200    8,100   11,000    5,200    6,633    39,800
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100066056   049040402   M/CARO CENTER-MENTL HLTH MMCAP       CARO        MI   48723       HOSPITAL         AD3119357              200               100                         150       300

100053707   024025254   DE SOTO PHARMACY                 CANOGA PARK     CA   91304     INDEPENDENT        AD3165405   10,900   14,700   11,400    9,100   18,400    11,900   12,733    76,400

100077118   055018689   BOONE DRUG & HEALTH CARE (GNP)      BOONE        NC   28607     INDEPENDENT        AD3172246   15,740   14,520   16,420   24,500   21,000    19,100   18,547   111,280

100104482   055038802   BOONE DRUG & HEALTH CARE(340B)      BOONE        NC   28607    PHS 340B CLINIC     AD3172246                       500      500                         500      1,000

100096965   055037903   BOONE DRUG & HEALTH CARE 340B       BOONE        NC   28607    PHS 340B CLINIC     AD3172246                                500                         500       500

100059187   044042028   DIERBERGS MKTS INC-BOGEY HILLS   SAINT CHARLES   MO   63303         CHAIN          AD3179454    6,500    7,600    6,700    8,200   12,500     5,100    7,767    46,600

100076043   055015404   DUKE UNIV HOSP MAIN PHARMACY        DURHAM       NC   27710       HOSPITAL         AD3189380                               1,000                       1,000     1,000

100096850   055037721   DUPLIN GENERAL HOSPITAL (WAC)     KENANSVILLE    NC   28349       HOSPITAL         AD3195319     200      500      300      100      400       600      350      2,100

100085824   055025791   DUPLIN GENERAL HOSPITAL (340B)    KENANSVILLE    NC   28349   PHS 340B HOSPITAL    AD3195319     100               100      200                         133       400

100085802   055025783   DUPLIN GENERAL HOSPITAL (GPO)     KENANSVILLE    NC   28349       HOSPITAL         AD3195319              100               100                         100       200

100070270   004155127   HUGGINS HOSPITAL                  WOLFEBORO      NH   03894       HOSPITAL         AD3304716     300      450      750      200      240       240      363      2,180

100087278   004086538   HUGGINS HOSPITAL (340B)           WOLFEBORO      NH   03894   PHS 340B HOSPITAL    AD3304716     500      100      700      200                300      360      1,800

100103902   037133330   DAUTERIVE HOSPITAL                NEW IBERIA     LA   70563       HOSPITAL         AD3410862     200      500     1,800              160                665      2,660

100056994   019046185   DECATUR MEMORIAL HOSPITAL          DECATUR       IL   62526       HOSPITAL         AD3589314    3,300    3,500    3,200    6,900     560      2,660    3,353    20,120

100061228   019300269   MARIANJOY REHABILITATION HOSP      WHEATON       IL   60189       HOSPITAL         AD3852894    7,200    5,900    4,800    4,800    4,800     5,800    5,550    33,300

100056339   038083295   DUNDY COUNTY HOSPITAL HSCA        BENKELMAN      NE   69021       HOSPITAL         AD3982344      -                100                         100       67       200

100056569   021300046   DAVIS COUNTY HOSPITAL             BLOOMFIELD     IA   52537       HOSPITAL         AD4034435     200      100               100                180      145       580

100087289   021162891   DAVIS COUNTY HOSP 340B            BLOOMFIELD     IA   52537   PHS 340B HOSPITAL    AD4034435              100               200                         150       300

100060998   021036475   DECATUR COUNTY HOSPITAL              LEON        IA   50144       HOSPITAL         AD4035932              300      200      350       80        80      202      1,010

100095216   023144055   DUANE READE                        NEW YORK      NY   10016      WALGREENS         AD4335712     500     1,100    1,500     600      800      1,800    1,050     6,300

100067076   021003012   DEGOLER'S PRESCRIP PHARM SF       KANSAS CITY    KS   66102     INDEPENDENT        AD4519952   13,700   13,000   12,700   10,800   16,100     9,800   12,683    76,100

100106499   023153130   HORSHAM HOSPITAL                    AMBLER       PA   19002       HOSPITAL         AD4530336                       100               100       200      133       400

100055144   018094284   BARKSDALE AFD 2D MDSS/SGSL       BARKSDALE AFB   LA   71110   HOSPITAL (FEDERAL)   AD4555009   11,200   11,400   18,800    9,300   13,900     5,600   11,700    70,200

100052465   018092221   (CRD)DEP OF AIRFORCE BARKSDALE   BARKSDALE AFB   LA   71110   HOSPITAL (FEDERAL)   AD4555009                                                  4,300    4,300     4,300

100071488   056143040   DOGANIEROS PHARMACY INC(X) CPA      CAMDEN       NJ   08104     INDEPENDENT        AD4741270    2,100    2,200    1,400    4,400    1,300     1,800    2,200    13,200

100073625   010141093   DEARBORN COUNTY HOSPITAL         LAWRENCEBURG    IN   47025       HOSPITAL         AD4938784    4,750    5,450    8,300    5,800    4,080     2,920    5,217    31,300

100054288   037046839   *DELL'S PHARMACY                   HOUSTON       TX   77028     INDEPENDENT        AD5009394    5,200    4,300    3,000                                4,167    12,500

100063123   052051409   JELLICO DRUG STORE INC    SF        JELLICO      TN   37762     INDEPENDENT        AD5058727    4,000     400     3,400    5,400    3,900     7,200    4,050    24,300

100095355   023145508   DUANE READE                        NEW YORK      NY   10005      WALGREENS         AD5346665    1,600    1,500    1,300     600     2,000     1,700    1,450     8,700

100075562   019160796   DUPAGE CONVALESCENT CTR PHCY       WHEATON       IL   60187    LONG TERM CARE      AD5705857    1,000    1,500    2,100    3,300    3,300     2,500    2,283    13,700

100071209   040140145   DOCTOR'S HOSPITAL       #712       AUGUSTA       GA   30909       HOSPITAL         AD5723449    1,500    1,000    5,500     900                        2,225     8,900

100053180   046000281   DANIA DISCOUNT DRUG INC              DANIA       FL   33004     INDEPENDENT        AD5948623    3,900    4,300    5,100    1,700    3,400     1,100    3,250    19,500

100056422   040064824   DOUGLAS HOSPITAL                 DOUGLASVILLE    GA   30134       HOSPITAL         AD6032914    1,700    1,800    5,800                       1,300    2,650    10,600

100056442   037090233   BAYNE-JONES MATERIAL BRNCH/DOD     FORT POLK     LA   71459   HOSPITAL (FEDERAL)   AD6265777              100                                           100       100

100057213   052027193   MR. DISCOUNT DRUGS #1              MERIDIAN      MS   39301     INDEPENDENT        AD6285212                                100                         100       100

100106088   012112342   *SAIL DRUG & DISCNTCTR YUCAIPA      YUCAIPA      CA   92399     INDEPENDENT        AD6401727    1,000              500                                  750      1,500

100058649   049015503   DSP-FLT                              FLINT       MI   48532     MAIL SERVICE       AD6448446   43,600   44,000   43,100   83,500   51,600    71,500   56,217   337,300

100063073   025006668   JOHNSON MEMORIAL HEALTH SERVIC     DAWSON        MN   56232       HOSPITAL         AD6559833     100               300                                  200       400

100095217   023144063   DUANE READE                        NEW YORK      NY   10036      WALGREENS         AD6591398    1,100     600     2,800     730      900       600     1,122     6,730

100055684   038076943   DOLORES COUNTY HEALTH ASSOC       DOVE CREEK     CO   81324    PHS 340B CLINIC     AD6807119    1,000             1,000              (500)              500      1,500

100095350   023145458   DUANE READE                        NEW YORK      NY   10016      WALGREENS         AD6961343    1,200    1,300    1,600     900     1,100     2,200    1,383     8,300

100072916   018143222   DOYLE HIGH'S THE DRUG STRE CPA     HASKELL       TX   79521     INDEPENDENT        AD7182708   39,500   28,600   31,100   30,100   23,200    17,000   28,250   169,500

100057844   032015107   DAVENPORT PHCY WSPA/GNP+ U        DAVENPORT      WA   99122     INDEPENDENT        AD7271101   10,000   10,000    8,500   18,200   15,600    14,300   12,767    76,600

100071309   023143198   DAMIANO PHARMACY(Z)       CPA       CLIFTON      NJ   07011     INDEPENDENT        AD7477070    1,020    1,200    1,400    1,000     800      1,200    1,103     6,620
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100095219   023144089   DUANE READE                           NEW YORK      NY   10018      WALGREENS         AD7538347     800     1,100      1,600     100      200      200      667       4,000

100096436   010233429   CHEROKEE DRUG SHOPPE                 INDEPENDENCE   KY   41051     INDEPENDENT        AD7725471    8,500   10,400     17,000   10,700   13,000    4,500   10,683     64,100

100095218   023144071   *DUANE READE                          NEW YORK      NY   10038      WALGREENS         AD7751527              (300)                                          (300)      (300)

100065697   021003954   DEGOLER'S PHARMACY       SF           KANSAS CITY   KS   66102     INDEPENDENT        AD7795694   17,400   18,700     16,400   18,900   19,000   13,500   17,317    103,900

100095220   023144121   DUANE READE                           NEW YORK      NY   10017      WALGREENS         AD7867558    1,000    1,100       600     1,000     700      500      817       4,900

100053710   024025700   DOCTORS PROFESSIONAL PHARMACY        WEST COVINA    CA   91790     INDEPENDENT        AD8098899    1,900    1,900      3,500    1,000    1,000    1,100    1,733     10,400

100074349   049130575   DAVIS CUT RATE DRUGS, INC SF           DETROIT      MI   48235     INDEPENDENT        AD8334271    8,700    8,500     12,800   11,000   12,500    6,000    9,917     59,500

100064180   056075846   FORT DIX PHARMACY SERVICE(DOD)         FORT DIX     NJ   08640   HOSPITAL (FEDERAL)   AD9165514     200      600                                   300      367       1,100

100095221   023144154   DUANE READE                           NEW YORK      NY   10019      WALGREENS         AD9210701    1,200    1,600       500      600      800      600      883       5,300

100059186   044042010   DIERBERG'S WEST INC-WEST OAK         CREVE COEUR    MO   63141         CHAIN          AD9417329    4,100    4,300      4,600   11,400     600     3,300    4,717     28,300

100057089   026029769   DON QUIJOTE USA - KAHEKA RX           HONOLULU      HI   96814         CHAIN          AD9498305    1,200     900        100      800      800     1,800     933       5,600

100085886   021158956   MANKATO PROFESSIONAL PHCY CPA          MANKATO      KS   66956     INDEPENDENT        AD9542689    6,000    7,000      3,500   11,000    6,000             6,700     33,500

100083552   003074724   DRUG FARM PHARMACY INC GNP           SAINT THOMAS   VI   00801     INDEPENDENT        AD9743990     500     1,000      1,000    1,000             1,200     940       4,700

100053514   024051631   ANTELOPE VALLEY HOSPITAL              LANCASTER     CA   93534       HOSPITAL         AE0081632    3,800    5,300      4,400    3,400    2,600    3,000    3,750     22,500

100050619   052036780   ESCAMBIA DRUG STORE INC #              ATMORE       AL   36502     INDEPENDENT        AE0471437    1,200     700        200     3,100             4,300    1,900      9,500

100053189   056001925   EPHRATA COMMUNITY HOSPITAL             EPHRATA      PA   17522       HOSPITAL         AE0575918    1,100    1,600      1,600      50     1,000    2,080    1,238      7,430

100054456   037054163   EAST END PHARMACY INC                  HOUSTON      TX   77011     INDEPENDENT        AE0867854     400      500        500      300               200      380       1,900

100062716   018067801   ECONOMY DISCOUNT PHARMACY             MUSKOGEE      OK   74401     INDEPENDENT        AE1048544   41,720   40,200     28,700   33,700   37,500   33,300   35,853    215,120

100070250   040110809   EMORY UNIVERSITY HOSP ADMIN            ATLANTA      GA   30322       HOSPITAL         AE1185695    1,400    2,500      6,400    3,400             3,300    3,400     17,000

100062319   021001347   ELLINWOOD DISTRICT HOSPITAL           ELLINWOOD     KS   67526       HOSPITAL         AE1299519                                  100      100      200      133        400

100064951   021023010   EDWARDS COUNTY HOSPITAL                KINSLEY      KS   67547       HOSPITAL         AE1304005              300        100      200               300      225        900

100055105   010045716   ELLWOOD CITY HOSPITAL                ELLWOOD CITY   PA   16117       HOSPITAL         AE1688261     600      200        700     1,000     200      200      483       2,900

100053558   010052456   MILLCREEK COMMUNITY HOSPITAL             ERIE       PA   16509       HOSPITAL         AE1702756    2,100    2,300      2,100    3,250    2,000    2,000    2,292     13,750

100090494   032144394   EASTERN STATE HOSPITAL               MEDICAL LAKE   WA   99022       HOSPITAL         AE1719561     300      700        400      400     1,040              568       2,840

100066605   018061093   BUERKLE DRUG CO         SF            STUTTGART     AR   72160     INDEPENDENT        AE2009430    4,000    5,100      4,500   10,000    2,000    2,000    4,600     27,600

100073623   018166959   ECONOMY DRUG          CPA            GRAND SALINE   TX   75140     INDEPENDENT        AE2012108   13,820   12,500     14,440   12,600   14,000    7,100   12,410     74,460

100061128   008034116   *EMANUEL MEDICAL CENTER PHARMA         TURLOCK      CA   95382       HOSPITAL         AE2063864    2,750    6,000                                          4,375      8,750

100071966   008014837   *EMANUEL MEDICAL CTR PHCY 340B         TURLOCK      CA   95382   PHS 340B HOSPITAL    AE2063864     650      150                                            400        800

100068833   018175992   EAST END PHARMACY         CPA         LITTLE ROCK   AR   72206     INDEPENDENT        AE2215475    6,300   11,300     31,100   30,000   24,000    5,900   18,100    108,600

100061008   044065102   EAST BROADWAY PHARMACY        APSC    LOUISVILLE    KY   40299     INDEPENDENT        AE2215867     700      300        600     1,200                       700       2,800

100063949   023100479   *SHOPRITE PHARMACY #247               LIVINGSTON    NJ   07039         CHAIN          AE2597384              200        200                                 200        400

100061000   021036483   EAGLE PHARMACY          CPA          EAGLE GROVE    IA   50533     INDEPENDENT        AE2717657    9,600    8,300      8,400   20,700            10,000   11,400     57,000

100071824   010123646   EMH REG MED CTR-ELYRIA MED CTR          ELYRIA      OH   44035       HOSPITAL         AE2871526    1,100    2,050      1,950     550     2,080    2,160    1,648      9,890

100066128   049040733   ERIE ENTERPRISES INC APSC               TOLEDO      OH   43612     INDEPENDENT        AE2874293    4,000    5,500      2,500    4,500    1,000    3,500    3,500     21,000

100058160   044044636   E & S PHARMACY, INC     CPA            DONIPHAN     MO   63935     INDEPENDENT        AE2886224   26,100   20,500     34,600   20,000   21,100   18,300   23,433    140,600

100068129   010175505   EUCLID HOSPITAL                         EUCLID      OH   44119       HOSPITAL         AE2889648             1,500      3,200             6,640             3,780     11,340

100104849   010235267   EUCLID HOSPITAL OP PHCY                 EUCLID      OH   44119       HOSPITAL         AE2889648    1,400    1,400      1,000    1,100     880     1,920    1,283      7,700

100054204   037045575   PHARMERICA (HOUSTON)                   HOUSTON      TX   77055    LONG TERM CARE      AE2989296   72,600   78,400    116,900   79,100                     86,750    347,000

100060155   044063784   EDMONSON DRUG CO INC         APSC    BROWNSVILLE    KY   42210     INDEPENDENT        AE3004708   14,100   13,300     12,700   15,600   20,500    8,000   14,033     84,200

100060631   010101170   MARCUM & WALLACE MEM HOSPITAL           IRVINE      KY   40336       HOSPITAL         AE3007211     200      400        300      100      560      100      277       1,660

100096472   010231688   EPHRAIM MCDOWELL REG WAC               DANVILLE     KY   40422   PHS 340B HOSPITAL    AE3026514    1,200    1,500      1,100    1,800    1,940    1,620    1,527      9,160

100061846   010100974   EPHRAIM MCDOWELL REG GPO               DANVILLE     KY   40422       HOSPITAL         AE3026514     700      500        700      400                        575       2,300

100059646   010101238   EPHRAIM MCDOWELL REG MC 340B           DANVILLE     KY   40422   PHS 340B HOSPITAL    AE3026514     100      100        400                                 200        600

100055555   018003137   PHARMERICA (SAN ANTONIO)             SAN ANTONIO    TX   78219    LONG TERM CARE      AE3150428   52,900   50,100    164,500    1,000     100             53,720    268,600
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100071293   046140905   ENGLEWOOD COMMUNITY HOSP #712           ENGLEWOOD        FL   34223       HOSPITAL        AE3278682     100      350      100      500       280               266      1,330

100075444   055071795   BLACK MOUNTAIN CENTER                 BLACK MOUNTAIN     NC   28711       HOSPITAL        AE3299496     400      400      500      600       540      860      550      3,300

100106590   019183590   WFH - ELMBROOK MEM HOSP WAC             BROOKFIELD       WI   53045   PHS 340B HOSPITAL   AE3929099              200      800      200       300     1,100     520      2,600

100057479   019300475   ELMBROOK MEMORIAL HOSP INC              BROOKFIELD       WI   53045       HOSPITAL        AE3929099     400      300      300      400       200               320      1,600

100106576   019183574   WHEATON FRANCISCAN, INC 340B            BROOKFIELD       WI   53045   PHS 340B HOSPITAL   AE3929099     200      100               100                         133       400

100067091   021143008   ESTHERVILLE DRUG INC     CPA            ESTHERVILLE      IA   51334     INDEPENDENT       AE4006347    6,200    1,500    3,500   12,000     2,500     500     4,367    26,200

100069932   021146027   ELLSWORTH MUNICIPAL HOSP                IOWA FALLS       IA   50126       HOSPITAL        AE4029636     400      350     1,650     (400)     460      480      490      2,940

100066934   021005173   EBY DRUG STORE LOGAN INC SF               LOGAN          IA   51546     INDEPENDENT       AE4038192    1,600    3,200    1,200    4,600     4,100    3,100    2,967    17,800

100107456   021174300   EBY DRUG STORE LOGAN INC 340B             LOGAN          IA   51546   PHS 340B HOSPITAL   AE4038192    1,900    1,700    2,300    1,300                       1,800     7,200

100066935   021005181   EBY DRUG STORE WOODBINE INC              WOODBINE        IA   51579     INDEPENDENT       AE4038205    2,500    3,000    3,000    4,500     3,000    2,000    3,000    18,000

100066937   021005215   ENGLAND, B J MD                          GRISWOLD        IA   51535       ALT SITE        AE4249341             1,000             1,000              1,500    1,167     3,500

100062972   052050567   ECONOMY DRUG CTR         SF                BILOXI        MS   39530     INDEPENDENT       AE4288026   16,000    9,000   11,900    9,500    14,200    6,000   11,100    66,600

100090496   032144436   EVERGREEN HOSP MEDICAL CENTER            KIRKLAND        WA   98034       HOSPITAL        AE4942911    1,600    1,000    1,300     800      1,100    1,300    1,183     7,100

100062413   052092833   EAST TENNESSEE DISCOUNT DRUGS        STRAWBERRY PLAINS   TN   37871     INDEPENDENT       AE5042104    6,700   11,700   19,300    5,300     9,300    8,300   10,100    60,600

100056583   056014233   MEDFORD LEAS PHARMACY        NJHA        MEDFORD         NJ   08055   LONG TERM CARE      AE5446770     400      700      300      600      2,100    1,000     850      5,100

100073024   018143248   EVANS PHARMACY ODESSA          CPA        ODESSA         TX   79763     INDEPENDENT       AE5723843   23,900   48,100   24,100   22,300     9,700   19,200   24,550   147,300

100070757   052140194   PARKRIDGE EAST HOSPITAL                CHATTANOOGA       TN   37412       HOSPITAL        AE5977547     900      700      400      800      1,000    1,200     833      5,000

100074990   055071720   LONG LEAF NEURO MEDICAL TRETMT            WILSON         NC   27893   LONG TERM CARE      AE6065735     100      100      100       50       100      100       92       550

100062881   025000760   EAGLE DRUG                              ROCHESTER        MN   55902     INDEPENDENT       AE6774740    1,800    1,300    1,500    1,000      500     1,600    1,283     7,700

100076056   055017004   ELK PHARMACY INC.      (GNP)               ELKIN         NC   28621     INDEPENDENT       AE6893374    1,000              500     3,000                       1,500     4,500

100055539   046003285   ESPIMAR CORP DBA MARQUEZ PHCY             HIALEAH        FL   33012     INDEPENDENT       AE6988464              200      200                                  200       400

100051053   018041178   ENTERPRISE PHARMACY                  MOUNT ENTERPRISE    TX   75681     INDEPENDENT       AE7968348     100                                                    100       100

100075939   018176529   *EVERETT'S PHARMACY                      SAN SABA        TX   76877     INDEPENDENT       AE8041143    9,400    8,200   15,600    9,500                      10,675    42,700

100110969   018001797   EVERETT'S PHARMACY                       SAN SABA        TX   76877     INDEPENDENT       AE8041143                               2,000     6,700    8,500    5,733    17,200

100058676   044061036   EVANSVILLE STATE HOSPITAL               EVANSVILLE       IN   47714       HOSPITAL        AE8200836              100      100      100       100      200      120       600

100071574   021143073   ECONOMY DRUG: BERRYVILLE CPA            BERRYVILLE       AR   72616     INDEPENDENT       AE8406161    8,000   20,700   17,200   55,500              1,000   20,480   102,400

100052093   010042127   EDWARD'S DRUGS APSC                      COLUMBUS        OH   43203     INDEPENDENT       AE8920349   19,600   19,600   19,500   13,900    14,600   10,600   16,300    97,800

100063265   046070490   EASTWOOD PHARMACY INC 3492             TALLAHASSEE       FL   32308     INDEPENDENT       AE9046865                       400                                  400       400

100062973   052050575   ELMORE COMMUNITY HOSPITAL               WETUMPKA         AL   36092       HOSPITAL        AE9110545     100      100      100      100                200      120       600

100063772   044067017   *FRED'S PHCY #2936 - SENATOBIA           SENATOBIA       MS   38668        CHAIN          AF1041324   11,200   11,980   10,320   11,800      600              9,180    45,900

100073377   055043083   FAIRFIELD MEMORIAL HOSPITAL             WINNSBORO        SC   29180       HOSPITAL        AF1194240     200      300                         200      100      200       800

100084146   040100347   FARMER'S PRESCRIPTION SHOP CPA            WINDER         GA   30680     INDEPENDENT       AF1198060   24,100   16,100   14,000   13,100    10,900   19,100   16,217    97,300

100062080   021002378   FLOYD VALLEY HOSPITAL                     LE MARS        IA   51031       HOSPITAL        AF1513628     200      500      200      400       260      320      313      1,880

100087908   021166207   FLOYD VALLEY HOSP 340B                    LE MARS        IA   51031   PHS 340B HOSPITAL   AF1513628                       100                                  100       100

100094285   041145706   FAMILY CARE DRUG CENTER                  COEBURN         VA   24230     INDEPENDENT       AF1643421   21,700   28,600   24,400   17,000    23,600   20,700   22,667   136,000

100066260   049045229   FRASER DRUGS INC        SF                DETROIT        MI   48204     INDEPENDENT       AF1660681   22,500   19,000   28,000   29,500    27,000   18,000   24,000   144,000

100053471   010051730   FINDLEY'S PHARMACY INC LTC               SOMERSET        PA   15501     INDEPENDENT       AF1686039    1,200     600                        1,900    2,700    1,600     6,400

100052637   010054270   FINDLEY'S PHARMACY INC C                 SOMERSET        PA   15501     INDEPENDENT       AF1686039                                          500      500      500      1,000

100068917   049143206   FREDS PHCY:THREE RIVERS        CPA     THREE RIVERS      MI   49093     INDEPENDENT       AF1923499   16,300   22,300    5,800   38,500     8,700    5,000   16,100    96,600

100056475   010060392   FAMILY MEDICAL PHARMACY APSC             COLUMBUS        OH   43229     INDEPENDENT       AF1958935    1,200    2,000    6,800    1,300     3,400    2,000    2,783    16,700

100060231   044064295   *FRED'S PHCY #2221 - LEBANON             LEBANON         TN   37087        CHAIN          AF2191500   22,000   21,000   19,000   18,300     1,000            16,260    81,300

100063760   044066993   *FRED'S PHCY #2946 - SOUTHAVEN          SOUTHAVEN        MS   38671        CHAIN          AF2202050    4,000    3,600    3,700    3,200                       3,625    14,500

100065824   019003004   MEMORIAL HOSPITAL EMPLOYEE              LOGANSPORT       IN   46947       HOSPITAL        AF2293734    3,800    3,100    2,700    3,700      100              2,680    13,400

100065817   019002873   MEMORIAL HOSPITAL                       LOGANSPORT       IN   46947       HOSPITAL        AF2293734     200      500      200      500       600      600      433      2,600
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100070336   019159582   MEMORIAL HOSPITAL 340B               LOGANSPORT      IN   46947   PHS 340B HOSPITAL    AF2293734     100      100       300      100                        150       600

100054977   004055525   (CRD) USCG ACADEMY MED CLIN          NEW LONDON      CT   06320   HOSPITAL (FEDERAL)   AF2300705              400                                  500      450       900

100054744   020051383   FAIRVIEW PHARMACY 3544                 ESPANOLA      NM   87532     INDEPENDENT        AF2353807   29,700   30,200    30,700   34,400   26,800   24,500   29,383   176,300

100083167   041132522   FRIENDS HOUSE PHARMACY               SANDY SPRING    MD   20860    LONG TERM CARE      AF2404236              500                                           500       500

100056806   044067280   *FRED'S PHCY #1021 - AMORY              AMORY        MS   38821         CHAIN          AF2421876   29,500   29,700    30,300   26,300     500             23,260   116,300

100056726   052063107   *FRED'S PHCY #2671 - PRENTISS          PRENTISS      MS   39474         CHAIN          AF2479295    7,700    9,300     8,200    7,700     300              6,640    33,200

100060721   023011874   FIRST NATIONAL PHCY      GNP          LEHIGHTON      PA   18235     INDEPENDENT        AF2528238    5,500    2,100     6,200    2,400     200     4,100    3,417    20,500

100059365   041036897   FISHBURNE & SON PHCY GNP CPA         WAYNESBORO      VA   22980     INDEPENDENT        AF2573815    5,500   11,500     2,500    2,000   23,200             8,940    44,700

100059017   056100651   *SHOPRITE PHARMACY #626                 HAZLET       NJ   07730         CHAIN          AF2601121              500                100                        300       600

100110316   055045286   FAMILY PHCY OF STATESVILLE SF         STATESVILLE    NC   28625     INDEPENDENT        AF2609317                                         2,500    1,000    1,750     3,500

100055898   044053272   *FRED'S PHCY-#3051 TRENTON             TRENTON       TN   38382         CHAIN          AF2719649    8,000    9,600     7,900    8,800    1,500             7,160    35,800

100068130   010175513   FAIRVIEW HOSPITAL                     CLEVELAND      OH   44111       HOSPITAL         AF2862349    2,800    3,250     2,400    2,200    3,700     760     2,518    15,110

100052026   018045955   *FRED'S PHARMACY #1291                 CONWAY        AR   72032         CHAIN          AF2912120   12,800   13,600    13,800   14,100    7,200            12,300    61,500

100052065   010041921   DAVIES PHARMACY 1      APSC             CANTON       OH   44708     INDEPENDENT        AF2933871   21,400   20,700    12,300   22,400   15,500   16,800   18,183   109,100

100109417   010237834   FAIRMONT GENERAL HOSP INC 340B         FAIRMONT      WV   26554    PHS 340B CLINIC     AF2970552    1,600    1,100      700      300                        925      3,700

100109198   010237776   FAIRMONT GENERAL HOSP INC              FAIRMONT      WV   26554       HOSPITAL         AF2970552     200                         200                        200       400

100056909   044300178   FLAGET MEMORIAL HOSPITAL              BARDSTOWN      KY   40004       HOSPITAL         AF3003388    1,450    1,150     1,700    1,900     700     2,280    1,530     9,180

100057833   052062877   *FRED'S PHCY #1256 - CLINTON           CLINTON       MS   39056         CHAIN          AF3073056    8,400    8,400     8,500    9,000                      8,575    34,300

100055314   044053165   *FRED'S PHCY-#2846 RIPLEY               RIPLEY       TN   38063         CHAIN          AF3128863    9,800    9,300     8,000    8,300                      8,850    35,400

100057912   052062950   *FRED'S PHCY #1921 - INDIANOLA         INDIANOLA     MS   38751         CHAIN          AF3168312    9,200    9,700    11,200   10,300     400              8,160    40,800

100056807   044067298   *FRED'S PHCY #1156 -BOONEVILLE        BOONEVILLE     MS   38829         CHAIN          AF3168348   11,200   12,400    10,500   18,800     100             10,600    53,000

100063498   044066944   *FRED'S PHCY #1301 - CLARKSDAL        CLARKSDALE     MS   38614         CHAIN          AF3169340    7,300    8,300     9,800   11,500     400              7,460    37,300

100093173   018396499   FULTON COUNTY HOSPITAL                  SALEM        AR   72576       HOSPITAL         AF3216757     200                600      900                        567      1,700

100107346   037134700   *FRED'S PHARMACY #3583                 FRANKLIN      LA   70538         CHAIN          AF3420522   15,600   14,400    12,700   13,400    2,000            11,620    58,100

100057901   024121947   MING & H DRUGS INNOV COMBO CPA       BAKERSFIELD     CA   93304     INDEPENDENT        AF3443885    3,500    1,000               600     8,000    5,000    3,620    18,100

100053699   024036863   MING & H DRUGS CPA                   BAKERSFIELD     CA   93304     INDEPENDENT        AF3443885     500      (500)                                          -         -

100068801   025042457   FIRST CARE MEDICAL SERVICES            FOSSTON       MN   56542       HOSPITAL         AF3642128     200      100       400      200               680      316      1,580

100076757   019059949   FAYETTE COUNTY HOSPITAL                VANDALIA      IL   62471       HOSPITAL         AF3754834     100      100       100      200      300      100      150       900

100073094   021143024   FOUR STAR DRUG: LINCOLN      CPA        LINCOLN      NE   68510     INDEPENDENT        AF3984475    3,500    2,500     2,600    4,900    3,000    1,000    2,917    17,500

100073093   021143016   FOUR STAR DRUG: BETHANY        CPA      LINCOLN      NE   68505     INDEPENDENT        AF3984514    1,500    3,000     5,600    5,000    7,500    5,000    4,600    27,600

100073324   038079350   FARRELL'S PHCY        CPA              MCCOOK        NE   69001     INDEPENDENT        AF3986835    4,300    4,200     3,200    3,200    3,600    2,000    3,417    20,500

100057483   019300517   FORT HEALTHCARE                      FORT ATKINSON   WI   53538       HOSPITAL         AF4057332     900      500       850      800     1,500              910      4,550

100063146   025000836   FREEMAN REG HEALTH SVCS MWF            FREEMAN       SD   57029       HOSPITAL         AF4072168     100      200                900                        400      1,200

100059014   056100628   *SHOPRITE PHCY DEPT #613               ABERDEEN      NJ   07747         CHAIN          AF4170750     800      (100)     100      160                        240       960

100050123   003031369   FCIA MARTIN GNP                       SAN GERMAN     PR   00683     INDEPENDENT        AF4207684     100                200      400               200      225       900

100092800   003002113   FARMACIA SAN AGUSTIN                  SAN GERMAN     PR   00683     INDEPENDENT        AF4207696     200      300                                           250       500

100053914   010044123   FISHER-TITUS MEM HOSP RX               NORWALK       OH   44857       HOSPITAL         AF4373522    1,100    1,600      600     2,800     500     1,000    1,267     7,600

100057788   056011924   FOULKEWAYS AT GWYNEDD PHY ALLA         GWYNEDD       PA   19436    LONG TERM CARE      AF4621303     500      100      1,000     500                        525      2,100

100058267   041030916   FLAT IRON DRUG STORE INC(X)828          WELCH        WV   24801     INDEPENDENT        AF4894716    7,000    2,900     5,000             3,000    3,000    4,180    20,900

100050101   040068247   23RD MDG/SGSL                         MOODY AFB      GA   31699   HOSPITAL (FEDERAL)   AF5010044   10,200    5,400    12,000    6,600   12,600    2,400    8,200    49,200

100053021   024035402   FOOTHILL PRESBYTERIAN HOSP            GLENDORA       CA   91740       HOSPITAL         AF5421514    1,100     900      1,400    1,300    1,900     100     1,117     6,700

100073095   021143032   FOUR STAR DRUG: WAVERLY        CPA     WAVERLY       NE   68462     INDEPENDENT        AF5452040    1,600    2,100      700     2,200    1,500    2,500    1,767    10,600

100066058   049040568   FULTON COUNTY HEALTH CENTER            WAUSEON       OH   43567       HOSPITAL         AF5471230              200       200      900      900      400      520      2,600

100084819   049181735   FULTON COUNTY HLTH CTR 340B            WAUSEON       OH   43567   PHS 340B HOSPITAL    AF5471230     300      500       300      100                        300      1,200
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100103896   032151654   FRED MEYER STORES, INC 340B              LONGVIEW        WA   98632   PHS 340B HOSPITAL   AF5507112    4,400    9,300     7,500    7,300                      7,125    28,500

100057787   056011833   UPPER CHESAPEAKE MED CTR PHCY             BEL AIR        MD   21014       HOSPITAL        AF6354005     900      500       400      200     3,300             1,060     5,300

100086940   010213835   FAMILY HEALTH CLINIC 340B                MOREHEAD        KY   40351   PHS 340B HOSPITAL   AF6358510    7,800    9,000     7,000    6,100    7,600    6,400    7,317    43,900

100059420   010098780   FAMILY HEALTH CLINIC APSC                MOREHEAD        KY   40351     INDEPENDENT       AF6358510    4,500    3,800     4,000    3,600    5,500    3,500    4,150    24,900

100065006   049066704   SATOW DRUG STORE(DBA)                   FRANKENMUTH      MI   48734     INDEPENDENT       AF6493009    8,300    2,000              1,700   10,000    5,500    5,500    27,500

100066131   049040782   *FALER DRUG STORE        SF               SAGINAW        MI   48602     INDEPENDENT       AF6556457    5,500    6,000     7,000    6,500    5,500             6,100    30,500

100071301   046140939   FAWCETT MEMORIAL HOSPITAL #712        PORT CHARLOTTE     FL   33952       HOSPITAL        AF6674938    1,300    1,700     1,700    1,650    1,680    1,200    1,538     9,230

100067095   019143198   FOREST HILLS PHARMACY           CPA       JUSTICE        IL   60458     INDEPENDENT       AF6727210   14,000   12,400    13,800   20,100    8,500   12,200   13,500    81,000

100050308   003055848   FCIA LOURDES GNP                           PONCE         PR   00728     INDEPENDENT       AF6805317              500       400      300                        400      1,200

100061462   023000513   FERGUSON, WALTER L MD                    BROOKLYN        NY   11201       ALT SITE        AF7200950                                 100                        100       100

100074281   004079210   FOUR WINDS HOSPITAL(X)                    KATONAH        NY   10536       HOSPITAL        AF7461522                        100                                 100       100

100064963   052057448   FAMILY HEALTH PHCY       SF              SULLIGENT       AL   35586     INDEPENDENT       AF7856098    7,640    7,600    10,800    8,100    9,700    7,200    8,507    51,040

100060997   021036491   FAY PHARMACY                               ADAIR         IA   50002     INDEPENDENT       AF7878056    1,000    1,900     1,700     700     1,000    1,000    1,217     7,300

100060391   019042309   FAYETTE MEMORIAL HOSPITAL, PHA         CONNERSVILLE      IN   47331       HOSPITAL        AF8021242    2,200    1,400     1,500    1,600     680     1,900    1,547     9,280

100096711   019163618   FAYETTE MEM HOSP WAC                   CONNERSVILLE      IN   47331   PHS 340B HOSPITAL   AF8021242     100                100               860               353      1,060

100064369   019042721   FAYETTE MEMORIAL HOSPITAL- PHS         CONNERSVILLE      IN   47331   PHS 340B HOSPITAL   AF8021242     200      200       200      100                        175       700

100057781   056011742   FAMILY HEALTH & PRES CTR                 WOODBINE        NJ   08270     INDEPENDENT       AF8353120              100                                           100       100

100055905   044053306   *FRED'S PHCY #2286 - MEMPHIS              MEMPHIS        TN   38118        CHAIN          AF8420630    1,900    2,100     1,700    2,200                      1,975     7,900

100058427   044053108   *FRED'S PHCY #1101 - BARTLETT             BARTLETT       TN   38134        CHAIN          AF8563113    6,500    5,500     4,500    6,000                      5,625    22,500

100055241   044053132   *FRED'S PHCY #1361-COLLIERVILL          COLLIERVILLE     TN   38017        CHAIN          AF8579205   11,200   13,500    12,800   14,960     100             10,512    52,560

100061368   023015719   FAUZIA & MAHER, INC (ARX)             SOUTH OZONE PARK   NY   11420     INDEPENDENT       AF8613475              (100)                       200                50       100

100060252   044064212   *FRED'S PHCY #2376 -MCMINNVILL          MCMINNVILLE      TN   37110        CHAIN          AF8763991   13,000   12,500    11,600   13,300                     12,600    50,400

100055315   044053173   *FRED'S PHCY-#2971 SOMERVILLE           SOMERVILLE       TN   38068        CHAIN          AF8767610    5,600    6,000     4,000    4,500                      5,025    20,100

100060238   044064378   *FRED'S PHCY #1741 - GALLATIN             GALLATIN       TN   37066        CHAIN          AF8899619   16,320   17,600    15,000   15,300     500             12,944    64,720

100053943   038029116   SHATTO'S FRONTIER DRUG          SF        DOUGLAS        WY   82633     INDEPENDENT       AF9052781    9,300   11,700    15,400    8,000    6,200    7,900    9,750    58,500

100069146   049177972   FARMBROOK PHARMACY                       SOUTHFIELD      MI   48034     INDEPENDENT       AF9287524    2,300    1,600     1,600    2,900    5,200             2,720    13,600

100067027   044054965   *FRED'S PHARMACY #2016                   JONESBORO       AR   72401        CHAIN          AF9350985    7,200    9,300     3,900   22,000                     10,600    42,400

100096485   010233452   FT MITCHELL DRUG SHOPPE APSC           FORT MITCHELL     KY   41017     INDEPENDENT       AF9388958    6,200    5,100     5,200    5,500   13,000    3,500    6,417    38,500

100065657   019004531   FROEDTERT MEM LUTHERAN HOSP IP           MILWAUKEE       WI   53226       HOSPITAL        AF9414323     600      800      1,000    1,100     100      400      667      4,000

100096586   019163345   FROEDTERT MEM LUTH HOSP WAC              MILWAUKEE       WI   53226   PHS 340B HOSPITAL   AF9414323              100       500     2,200                       933      2,800

100087327   019147777   FROEDTERT MEM LUTH HOSP 340B             MILWAUKEE       WI   53226   PHS 340B HOSPITAL   AF9414323     200      600       400      600               600      480      2,400

100057908   052062919   *FRED'S PHCY #1736 - GREENWOOD          GREENWOOD        MS   38930        CHAIN          AF9460229   18,300   18,600    14,700   17,700                     17,325    69,300

100063762   044067009   *FRED'S PHCY #2902 - SARDIS                SARDIS        MS   38666        CHAIN          AF9512395    3,800    3,700     3,700    4,200     400              3,160    15,800

100052000   008056416   ST.JAMES HLT CT-PHS-S5      7             SAN JOSE       CA   95112    PHS 340B CLINIC    AF9669310     100      300       900      600                        475      1,900

100086651   024109512   GOLETA VLY COTTAGE HOSP IP             SANTA BARBARA     CA   93111       HOSPITAL        AG0007446    1,200    1,700     1,400    1,300     600     1,240    1,240     7,440

100055593   046002717   GULFSTREAM PHCY INC         SF         BOYNTON BEACH     FL   33435     INDEPENDENT       AG0161721    1,500    1,200     1,000    1,800     900     1,400    1,300     7,800

100089641   024043992   BAKERSFIELD MEMORIAL HOSP               BAKERSFIELD      CA   93303       HOSPITAL        AG0288844    3,000    2,800     2,550    1,850    5,400     900     2,750    16,500

100089642   024052316   BAKERSFIELD MEMORIAL HOSP 340B          BAKERSFIELD      CA   93303   PHS 340B HOSPITAL   AG0288844     400      650       450      550                        513      2,050

100096602   024116525   BAKERSFIELD MEMORIAL HOSP WAC           BAKERSFIELD      CA   93303   PHS 340B HOSPITAL   AG0288844                        100      650                        375       750

100075972   055019455   GOOD PHARMACY OF ROCK HILL               ROCK HILL       SC   29732     INDEPENDENT       AG0338043                                1,000    3,200             2,100     4,200

100066729   052056473   P AND S PHARMACY                         KINGSPORT       TN   37660     INDEPENDENT       AG0388238   50,700   52,200    57,800   45,800   55,400   54,500   52,733   316,400

100071427   004175810   GEROULD'S PROF PHCY INC #1(GNP             ELMIRA        NY   14904     INDEPENDENT       AG0553417   16,200   18,800    16,100   10,800   19,400    2,500   13,967    83,800

100059386   023000927   ANTHONY'S PHCY LLC(Z)(IPBG)            PALISADES PARK    NJ   07650     INDEPENDENT       AG0657912    2,700     400      1,900              800     1,800    1,520     7,600

100093178   023136911   GROVE PHARMACY, LLC CPA                  MONTCLAIR       NJ   07042     INDEPENDENT       AG0673548    6,000    3,600     4,900    3,200    5,000    4,900    4,600    27,600
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100067853   023175893   S BROS PHARMACY(X)         CPA         BROOKLYN       NY   11211     INDEPENDENT        AG0794760     300      400      300      300      100      400      300      1,800

100055991   032077164   GHC PHARM CENTRAL SPEC CTR 01           SEATTLE       WA   98112      HEALTH PLAN       AG1001952   17,600   21,500   19,200   18,900    2,200            15,880    79,400

100069315   032117549   GHC PHARM CENTRAL SPEC CTR01 2          SEATTLE       WA   98112      HEALTH PLAN       AG1001952                                       18,800   13,500   16,150    32,300

100056236   032077271   GHC PHARM CENTRAL HOSPITAL 17           SEATTLE       WA   98112      HEALTH PLAN       AG1001964    2,900    3,000    2,600    3,100                      2,900    11,600

100069316   032117556   GHC PHARM CENTRAL HOSPITAL17 2          SEATTLE       WA   98112      HEALTH PLAN       AG1001964                                        1,500    7,400    4,450     8,900

100055980   032077032   GHC PHARM RENTON MC 03                  RENTON        WA   98056      HEALTH PLAN       AG1001988   12,800   12,600   12,500   12,900     800             10,320    51,600

100069317   032117564   GHC PHARM RENTON MC 03 2                RENTON        WA   98056      HEALTH PLAN       AG1001988                                       12,500   12,700   12,600    25,200

100055990   032077156   GHC PHARM BURIEN MC 05                  SEATTLE       WA   98166      HEALTH PLAN       AG1001990   13,200   12,700   12,500   12,100    2,000            10,500    52,500

100073135   032120006   GHC PHARM BURIEN MC 05 2                SEATTLE       WA   98166      HEALTH PLAN       AG1001990                                       10,300   10,800   10,550    21,100

100055993   032077180   GHC PHARM NORTHGATE MC 04               SEATTLE       WA   98115      HEALTH PLAN       AG1002005   12,000   11,600    9,400   10,800     900              8,940    44,700

100073539   032118414   GHC PHARM NORTHGATE MC 04 2             SEATTLE       WA   98115      HEALTH PLAN       AG1002005                                        9,200    9,700    9,450    18,900

100096405   032147736   GRAY'S HARBOR COMMUNITY HOSP           ABERDEEN       WA   98520       HOSPITAL         AG1027300     800     1,000     300      800      560     1,000     743      4,460

100096406   032147744   GRAYS HARBOR COMM HOSP 340B            ABERDEEN       WA   98520   PHS 340B HOSPITAL    AG1027300     700      300      800      200                        500      2,000

100056232   032077214   GHC PHARM DOWNTOWN 06                   SEATTLE       WA   98101      HEALTH PLAN       AG1077406    2,500    2,200    2,200    2,300     100              1,860     9,300

100069385   032117572   GHC PHARM DOWNTOWN 06 2                 SEATTLE       WA   98101      HEALTH PLAN       AG1077406                                        2,000    1,700    1,850     3,700

100052591   026082206   WILCOX MEMORIAL HOSPITAL                 LIHUE        HI   96766       HOSPITAL         AG1081380     500      700      700      400      600               580      2,900

100087548   026003533   WILCOX MEMORIAL HOSPITAL 340B            LIHUE        HI   96766   PHS 340B HOSPITAL    AG1081380     200      100      200      100                        150       600

100066851   040143388   GUNN DRUG COMPANY INC          CPA      WADLEY        GA   30477     INDEPENDENT        AG1187637     500     3,100    5,100    1,600    2,700    3,000    2,667    16,000

100056370   018011486   GARZA PHARMACY                        SAN ANTONIO     TX   78215     INDEPENDENT        AG1248663    1,500   10,500   10,200    6,900                      7,275    29,100

100052493   020030239   WHITE MOUNTAIN REG MED CTR           SPRINGERVILLE    AZ   85938       HOSPITAL         AG1269631              300     2,000                               1,150     2,300

100062584   021001602   GRAHAM CO HOSP                          HILL CITY     KS   67642       HOSPITAL         AG1277688              200      100      200               200      175       700

100067133   021020099   GEARY COMM. HOSP.                    JUNCTION CITY    KS   66441       HOSPITAL         AG1278185     150      400      300      150      300      400      283      1,700

100062322   021001370   GRISELL MEMORIAL HOSPITAL               RANSOM        KS   67572       HOSPITAL         AG1278236                                200                        200       200

100062328   021001438   GOVE COUNTY MEDICAL CENTER              QUINTER       KS   67752       HOSPITAL         AG1311846     100      100      200      600                        250      1,000

100065383   049044529   GRAND VALUE PHCY          SF            DETROIT       MI   48204     INDEPENDENT        AG1337078    5,000    6,100   14,000    3,100    7,100     400     5,950    35,700

100056695   056012146   VIRTUA MARLTON HOSPITAL                MARLTON        NJ   08053       HOSPITAL         AG1601182    1,000     200     1,000     200     1,200              720      3,600

100052351   024033605   HORTON & CONVERSE #33                LOS ANGELES      CA   90069     INDEPENDENT        AG1773755    2,500    3,200    4,800    5,900    4,400    4,000    4,133    24,800

100075670   018176420   BI-WIZE PHARMACY (NEW)      CPA         FRIONA        TX   79035     INDEPENDENT        AG1802683   19,300   18,300    5,100   10,300    4,200    9,300   11,083    66,500

100057889   056027599   GATEWAY PHCY OF PHOENIXVIL (X)       PHOENIXVILLE     PA   19460     INDEPENDENT        AG1920568   10,200   15,300   10,300   12,400    6,800   11,600   11,100    66,600

100083551   003074369   GOV JUAN F LUIS HOSP & MED            SAINT CROIX     VI   00820       HOSPITAL         AG1994878                       400                                 400       400

100056275   032054569   GODFREYS GARIBALDI PHCY                GARIBALDI      OR   97118     INDEPENDENT        AG2053988    8,300    5,400    5,300    5,600    5,500    4,600    5,783    34,700

100070291   008040873   THE VISTA PHARMACY-TULARE               FRESNO        CA   93702     INDEPENDENT        AG2103238   26,300   29,800   23,900   25,900   17,700    1,200   20,800   124,800

100053552   041074559   CLINIC CTR-PHCY DEPT PRO (DOD)         BETHESDA       MD   20892   HOSPITAL (FEDERAL)   AG2278744    2,200     800      700      800     1,100     200      967      5,800

100058450   041032482   VA BEACH GEN HOSP I/P      R51       VIRGINIA BEACH   VA   23454       HOSPITAL         AG2361385    1,900    2,000    2,000    1,600    1,880    6,000    2,563    15,380

100058451   041032516   OUT PAT VBGH         R51             VIRGINIA BEACH   VA   23454       HOSPITAL         AG2361385    3,400    1,400    3,300    2,800    2,100             2,600    13,000

100059137   041055178   CARILION GILES COMM HOSPITAL          PEARISBURG      VA   24134       HOSPITAL         AG2492407     400      400      300      500               500      420      2,100

100083635   041133488   CARILION GILES COMM HOSP 340B         PEARISBURG      VA   24134   PHS 340B HOSPITAL    AG2492407              300      100      400                        267       800

100063148   025000950   GUERTIN PHCY         SF               MAPLEWOOD       MN   55119     INDEPENDENT        AG2543800    3,900    4,500    5,000    1,100    4,200    1,200    3,317    19,900

100069718   010132993   GARRETT COUNTY MEMORIAL HOSP.          OAKLAND        MD   21550       HOSPITAL         AG2549484     400      800      500     2,100                       950      3,800

100076875   041106534   GREENBELT CONSUMER COOP INC(X)        GREENBELT       MD   20770     INDEPENDENT        AG2693477    4,200    1,900    5,800    3,800    2,600    2,600    3,483    20,900

100058495   044051284   GIBSON GEN HOSP PHARMACY DEPT         PRINCETON       IN   47670       HOSPITAL         AG2697994     300      300      200      100      300      400      267      1,600

100064802   049041616   GARDEN CITY HOSP PHARMACY             GARDEN CITY     MI   48135       HOSPITAL         AG2734677    2,500    3,200    1,800     400                       1,975     7,900

100059003   049035550   MIDMICHIGAN MED CTR-GRATIOT              ALMA         MI   48801       HOSPITAL         AG2737180    4,800    9,500    6,000    5,700    2,580    3,640    5,370    32,220

100083685   049180257   MID MICHIGAN MED CENTER 340B             ALMA         MI   48801    PHS 340B CLINIC     AG2737180     200      200      200      200     2,000              560      2,800
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100083726   049180349   MIDMICHIGAN REG MD CTR/GLADWIN       GLADWIN      MI   48624   PHS 340B HOSPITAL   AG2750772    1,400     500               200                         700      2,100

100066877   049047522   MIDMICHIGAN REG MD CTR/GLADWIN       GLADWIN      MI   48624       HOSPITAL        AG2750772              100      800                         200      367      1,100

100058566   049025387   GILBERTS DRUG STORE INC              OSCODA       MI   48750     INDEPENDENT       AG2763692   44,600   43,700   39,000   49,800    54,200   37,600   44,817   268,900

100076859   010122531   FIRELANDS REGIONAL MED CENTER       SANDUSKY      OH   44870       HOSPITAL        AG2797908    1,450    1,100    1,800    2,050     1,380    1,300    1,513     9,080

100103908   010234633   GOOD SAMARITAN HOSP O/P WAC         CINCINNATI    OH   45220   PHS 340B HOSPITAL   AG2821153     300     1,000    2,600    1,500     2,100    2,400    1,650     9,900

100051782   010047191   GOOD SAMARITAN HOSP I/P PHARM       CINCINNATI    OH   45220       HOSPITAL        AG2821153    2,000    2,400    2,700    1,000      900              1,800     9,000

100089635   010223917   GOOD SAMARITAN HOSP WAC             CINCINNATI    OH   45220       HOSPITAL        AG2821153     100      900              2,400     2,500    2,900    1,760     8,800

100064417   010022061   GOOD SAMARITAN HOSP, O/P 340B       CINCINNATI    OH   45220   PHS 340B HOSPITAL   AG2821153    2,100    1,600     600      200                        1,125     4,500

100064168   010022053   GOOD SAMARITAN HOSP I/P 340B        CINCINNATI    OH   45220   PHS 340B HOSPITAL   AG2821153    1,200     400     1,100     200                         725      2,900

100052282   010040592   GALION COMMUNITY HOSPITAL INC         GALION      OH   44833       HOSPITAL        AG2873710     200      400      800      (300)     720      320      357      2,140

100055987   032077123   GHC PHARM SILVERDL MC 22            SILVERDALE    WA   98383     HEALTH PLAN       AG2888204   28,500   30,500   27,200   30,700                      29,225   116,900

100071817   032120048   GHC PHARM SILVERDL MC 22 2          SILVERDALE    WA   98383     HEALTH PLAN       AG2888204                                        30,100   23,000   26,550    53,100

100058268   041030924   GOODYKOONTZ DRUG STORES (EPIC)      BLUEFIELD     WV   24701     INDEPENDENT       AG2969686   37,600   32,500   32,000   32,700    35,300   29,700   33,300   199,800

100075293   041112177   GRANT MEMORIAL HOSP(340B)          PETERSBURG     WV   26847   PHS 340B HOSPITAL   AG2982874     700      900      700     2,300               500     1,020     5,100

100059231   041056317   GRANT MEMORIAL HOSPITAL      883   PETERSBURG     WV   26847       HOSPITAL        AG2982874     900      500      500      750       500     1,000     692      4,150

100064152   019002352   RICHARD GILLESPIE PHARMACY         SAINT JOSEPH   MI   49085     INDEPENDENT       AG3086659    8,700   11,600    4,800    4,000    13,700     700     7,250    43,500

100061894   049119479   METROPOLITAN HOSPITAL      MAIN      WYOMING      MI   49519       HOSPITAL        AG3093628    6,700    6,100    5,900    6,400     5,700    6,120    6,153    36,920

100096959   049190181   METROPOLITAN HOSPITAL WAC            WYOMING      MI   49519   PHS 340B HOSPITAL   AG3093628    2,600    2,000    2,600    3,700     2,160    1,940    2,500    15,000

100061893   049119461   METROPOLITAN HOSPITAL      EMP       WYOMING      MI   49519       HOSPITAL        AG3093628    2,800    1,000    2,100    1,600     1,900     600     1,667    10,000

100061895   049119495   METROPOLITAN HOSPITAL      340B      WYOMING      MI   49519   PHS 340B HOSPITAL   AG3093628     900      900     1,100     900      1,280     880      993      5,960

100064941   004053967   PARKVIEW HLTH SVCOFNYLLC(Z)          BUFFALO      NY   14223   LONG TERM CARE      AG3151014                                 50      3,500    3,000    2,183     6,550

100074156   055060186   GRANVILLE MEDICAL CENTER             OXFORD       NC   27565       HOSPITAL        AG3204699     100      200      300      100       820      240      293      1,760

100104461   055038745   GRANVILLE MEDICAL CTR (WAC)          OXFORD       NC   27565   PHS 340B HOSPITAL   AG3204699     700      200      200      200                         325      1,300

100074157   055060194   GRANVILLE MEDICAL CTR (340B)         OXFORD       NC   27565   PHS 340B HOSPITAL   AG3204699              100      200      500       160               240       960

100061461   023017475   GOOD SAMARITAN HOSPITAL             WEST ISLIP    NY   11795       HOSPITAL        AG3434901     600      100      200      500       100      300      300      1,800

100063965   019002592   GOTTLIEB MEMORIAL HOSPITAL         MELROSE PARK   IL   60160       HOSPITAL        AG3870587    2,500    2,600    2,800    2,800     2,400    2,480    2,597    15,580

100069877   019102103   *MORSE L DRUGS340B                   CHICAGO      IL   60626    PHS 340B CLINIC    AG3891579              700                                           700       700

100087576   019150342   GUNDERSEN LUTHERAN CLIN PHCY        LA CROSSE     WI   54601       HOSPITAL        AG3933632    8,100   10,800   10,800   15,700     7,200   18,000   11,767    70,600

100092922   019161513   GUNDERSEN LUTHERAN CLIN PHARM       LA CROSSE     WI   54601       HOSPITAL        AG3933632    1,000    1,400    1,200    1,500      200     3,000    1,383     8,300

100069251   021059584   GOOD SAMARITAN HOSPITAL              KEARNEY      NE   68847       HOSPITAL        AG3979563    3,900    3,350    2,300    4,400     1,500    2,040    2,915    17,490

100063370   021001107   GLENWOOD RESOURCE CENTER            GLENWOOD      IA   51534       HOSPITAL        AG4016312                       200                                  200       200

100069139   004023846   GOOD SAMARITAN HOSP       (I/P)      SUFFERN      NY   10901       HOSPITAL        AG4088185              100      200      200       180       80      152       760

100100570   004101121   GOOD SAMARITAN HOSP I/P WAC          SUFFERN      NY   10901       HOSPITAL        AG4088185     200      200                                  240      213       640

100080552   004080440   GOOD SAMARITAN HOSP(340B)            SUFFERN      NY   10901   PHS 340B HOSPITAL   AG4088185                                                    80       80        80

100084633   004066134   WESTCHESTER COUNTY MED CTR           VALHALLA     NY   10595       HOSPITAL        AG4300858     100      100      500                300      400      280      1,400

100096567   004100982   WESTCHESTER CNTY MED CTR (WAC)       VALHALLA     NY   10595       HOSPITAL        AG4300858     100      100      100                550               213       850

100084685   004066860   WESTCHESTER CNTY MED CTR(EMP)        VALHALLA     NY   10595       HOSPITAL        AG4300858     200      100                                           150       300

100056233   032077222   GHC PHARM LYNNWOOD MC 07            LYNNWOOD      WA   98036     HEALTH PLAN       AG4625488   14,400   16,600   14,400   15,000     1,800            12,440    62,200

100071854   032116210   GHC PHARM LYNNWOOD MC 07 2          LYNNWOOD      WA   98036     HEALTH PLAN       AG4625488                                        13,500   13,300   13,400    26,800

100093242   018202564   HUNT REGIONAL MED CTR 340B          GREENVILLE    TX   75401       HOSPITAL        AG4777578    3,300    3,400    6,300                                4,333    13,000

100071912   018090852   HUNT REGIONAL MEDICAL CENTER        GREENVILLE    TX   75401       HOSPITAL        AG4777578     100      600     7,600     500       320      620     1,623     9,740

100093242   018202564   HUNT REGIONAL MED CTR 340B          GREENVILLE    TX   75401   PHS 340B HOSPITAL   AG4777578                               1,200                       1,200     1,200

100093244   018324632   HUNT REGIONAL MED CTR WAC           GREENVILLE    TX   75401       HOSPITAL        AG4777578     100                                                    100       100

100065260   021022533   GOLDEN VALLEY MEM HPL                CLINTON      MO   64735       HOSPITAL        AG4925612    2,600    1,900    2,000    1,700     1,780    1,700    1,947    11,680
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100110354   021176677   GOLDEN VALLEY MEM HOSP EMPLYS               CLINTON        MO   64735       HOSPITAL        AG4925612              200      100      400                        233       700

100083857   021142935   GOLDEN VALLEY MEM HOSP 340B                 CLINTON        MO   64735    PHS 340B CLINIC    AG4925612     100      100               200                        133       400

100056754   026026609   GUAM REXALL DRUG 9          !              TAMUNING        GU   96913     INDEPENDENT       AG4959930     400      500                                          450       900

100056237   032077313   GHC PHARM OLYMPIA MC 09                     OLYMPIA        WA   98506     HEALTH PLAN       AG5059200   66,200   66,200   65,900   66,000     400             52,940   264,700

100073600   032118026   GHC PHARM OLYMPIA MC 09 2                   OLYMPIA        WA   98506     HEALTH PLAN       AG5059200                                       70,400   62,600   66,500   133,000

100052795   024033258   HORTON & CONVERSE #4                      LOS ANGELES      CA   90025     INDEPENDENT       AG5065265    6,600    6,400    7,000    7,400    7,200    7,300    6,983    41,900

100071315   044140210   GREENVIEW REG HOSP,        #712         BOWLING GREEN      KY   42104       HOSPITAL        AG5199725    3,000    3,250    2,200    8,300     800     1,480    3,172    19,030

100073822   055054890   *GREENVILLE MEMORIAL MED CTR(W            GREENVILLE       SC   29605       HOSPITAL        AG5265005    9,600                                                 9,600     9,600

100073815   055059915   *GREENVILLE MEM MED (340B)(W)             GREENVILLE       SC   29605   PHS 340B HOSPITAL   AG5265005    1,300                                                 1,300     1,300

100096623   055037408   *GREENVILLE MEM MED (WAC)                 GREENVILLE       SC   29605       HOSPITAL        AG5265005    1,300                                                 1,300     1,300

100071429   004175828   GEROULD'S PROF PHCY INC #2(GNP              ELMIRA         NY   14905     INDEPENDENT       AG5338517    7,800    6,600    8,700    8,900   11,500    3,400    7,817    46,900

100058799   041024182   *GAUNTS DRUG STORE         883            WINCHESTER       VA   22601     INDEPENDENT       AG5519078    1,500     100                                          800      1,600

100070474   018144055   AMERICAN DRUGS & HERBS           CPA      GREENBRIER       AR   72058     INDEPENDENT       AG5549057   20,100    3,600    7,000    7,360    7,520    4,720    8,383    50,300

100066674   052147561   GRAY PHCY            SF                      GRAY          TN   37615     INDEPENDENT       AG5658705   23,700   23,800   19,900   28,200   21,000   18,500   22,517   135,100

100071374   052140160   GARDEN PARK MED CTR PHCY #712              GULFPORT        MS   39503       HOSPITAL        AG5722500    1,300    2,050    1,200    3,050             1,280    1,776     8,880

100067228   008023580   CSU EAST BAY                               HAYWARD         CA   94542       ALT SITE        AG5887433     100                                                   100       100

100071371   046140962   FT WALTON BEACH MED CTR #712           FORT WALTON BEACH   FL   32547       HOSPITAL        AG6024804    3,100    1,100    3,300    1,100    2,500    2,680    2,297    13,780

100055981   032077040   GHC PHARM REDMOND MC 08                    REDMOND         WA   98052     HEALTH PLAN       AG6261692    4,800    3,500    4,300    4,800    1,600             3,800    19,000

100071820   032120071   GHC PHARM REDMOND MC 08 2                  REDMOND         WA   98052     HEALTH PLAN       AG6261692                                        5,100    1,500    3,300     6,600

100056234   032077230   GHC PHARM FED WAY MC10                   FEDERAL WAY       WA   98003     HEALTH PLAN       AG6598380   17,100   18,400   15,900   16,800                     17,050    68,200

100073468   032000901   GHC PHARM FED WAY MC 10 2                FEDERAL WAY       WA   98003     HEALTH PLAN       AG6598380                                       17,200   13,000   15,100    30,200

100055002   012030403   GROVE HARBOR MED CTR PHCY                GARDEN GROVE      CA   92843     INDEPENDENT       AG6844028    3,500    6,000    4,600    4,500    6,500    2,100    4,533    27,200

100071316   046140970   GULF COAST MEDICAL CENTER #712            PANAMA CITY      FL   32405       HOSPITAL        AG7028029    2,200    2,800    2,600    2,700    2,580    3,020    2,650    15,900

100052140   010049627   GOOD SAMARITAN HOSPITAL                     DAYTON         OH   45406       HOSPITAL        AG7099131    4,200    5,200    3,000    4,300    6,700    3,400    4,467    26,800

100063174   052049635   CAMPBELL'S PHARMACY                       ADAMSVILLE       AL   35005     INDEPENDENT       AG7193458   25,000   25,300   22,200   19,700   55,100   13,000   26,717   160,300

100075962   037117598   GEM DRUGS INC         SF                   RESERVE         LA   70084     INDEPENDENT       AG7219202   26,500   22,700   25,600   21,500   28,200   19,100   23,933   143,600

100052796   024033407   HORTON & CONVERSE PHARMACY #8            SANTA MONICA      CA   90404     INDEPENDENT       AG7548627   24,100   22,500   24,600   28,300   24,600   21,700   24,300   145,800

100059363   041036806   GREENE PHARMACY 864         CPA          STANARDSVILLE     VA   22973     INDEPENDENT       AG7845259    2,500    3,900    5,000    9,600     100              4,220    21,100

100052788   024031450   GREGG'S PHARMACY, INC                     BAKERSFIELD      CA   93301     INDEPENDENT       AG7852038   27,200   24,700   27,400   18,200   29,700   18,500   24,283   145,700

100052349   024033456   HORTON & CONVERSE #15                     LOS ANGELES      CA   90048     INDEPENDENT       AG8429777    1,700    4,200    3,800    3,400    3,700    2,600    3,233    19,400

100066849   040143362   GRAVES PHARMACY            CPA              MACON          GA   31201     INDEPENDENT       AG8519590   14,400   18,300   22,100   21,000   20,200   16,360   18,727   112,360

100091130   040114389   GRAVES PHARMACY 340B                        MACON          GA   31201   PHS 340B HOSPITAL   AG8519590     500                20                                 260       520

100052350   024033555   HORTON & CONVERSE #23                     LOS ANGELES      CA   90067     INDEPENDENT       AG9028665    1,100    1,100    1,700     800      900      900     1,083     6,500

100053492   024087783   GUADALUPE PHARMACY                        GUADALUPE        CA   93434     INDEPENDENT       AG9223809    5,500    6,800    7,000    8,000    5,500    5,500    6,383    38,300

100066848   040143354   GOODSON'S PHARMACY              CPA      DAWSONVILLE       GA   30534     INDEPENDENT       AG9528211    9,000   11,500    5,000    8,500    7,580    3,400    7,497    44,980

100074709   037117606   GEM DRUG - GRAMERCY INC          SF        GRAMERCY        LA   70052     INDEPENDENT       AG9749384    7,900    3,700    8,840    8,460   20,900   14,000   10,633    63,800

100070762   046141556   PLANTATION GENERAL HOSPIT #712            PLANTATION       FL   33317       HOSPITAL        AH0169006     100      250      200      300      160      200      202      1,210

100073297   055054338   *HILLCREST MEMORIAL HOSPITAL             SIMPSONVILLE      SC   29681       HOSPITAL        AH0343145     700                                                   700       700

100059177   044041707   HARDIN COUNTY GENERAL HOSP                 SAVANNAH        TN   38372       HOSPITAL        AH0387337    1,300    1,800    1,400     800     1,360     300     1,160     6,960

100052762   044000190   HARDIN COUNTY GENERAL HOSP 340             SAVANNAH        TN   38372   PHS 340B HOSPITAL   AH0387337     200      100      200      200                        175       700

100106453   052223743   HILLCREST HOSPITAL                        BIRMINGHAM       AL   35212       HOSPITAL        AH0469999     100      200                        100      100      125       500

100060876   023012351   PINNACLE HEALTH AT HBG HOSP               HARRISBURG       PA   17101       HOSPITAL        AH0593322    2,800    3,800    2,700    4,000    2,460    2,600    3,060    18,360

100058838   041100537   PINNACLE HEALTH AT HBG HOSP               HARRISBURG       PA   17101       HOSPITAL        AH0593322                               1,000                      1,000     1,000

100109647   023160911   PINNACLE HEALTH AT HBG (WSH)              HARRISBURG       PA   17101       HOSPITAL        AH0593322              400                                          400       400
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100060600   023012666   HAZLET PHARMACY INC(Z) (IPBG)            HAZLET         NJ   07730     INDEPENDENT        AH0658471    5,040    3,000    3,400    2,900    4,620    2,800    3,627    21,760

100066582   023144139   H & R PHARMACY(X)       CPA             ELMHURST        NY   11373     INDEPENDENT        AH0791346     300       -                300      300      600      300      1,500

100067675   018145136   HIGHLAND DRUG INC          CPA            ALPINE        TX   79830     INDEPENDENT        AH0880357    6,400    3,300    6,300    4,500    5,400    1,000    4,483    26,900

100062045   021001321   HERINGTON MUNICIPAL HOSPITAL            HERINGTON       KS   67449       HOSPITAL         AH0888365     100      300               100                        167       500

100056373   018019091   HILLS DRUG STORE #1 INC                SAN ANTONIO      TX   78226     INDEPENDENT        AH0923690   38,300   19,400   13,300   13,200   13,920    5,500   17,270   103,620

100109212   032152785   HARRISON MED CTR-BREMERTON             BREMERTON        WA   98310       HOSPITAL         AH0977453    2,400    2,700    2,850    1,250    3,000     880     2,180    13,080

100072656   046140517   BLAKE MEDICAL CENTER        #712        BRADENTON       FL   34209       HOSPITAL         AH1012791    2,500    2,600    3,600    3,000    2,940    3,620    3,043    18,260

100096767   023147488   HARRIS PHARMACY INC                    DOYLESTOWN       PA   18901     INDEPENDENT        AH1026029    3,500    4,500    3,000    2,000    1,000    1,000    2,500    15,000

100054094   012038315   HOAG MEMORIAL HOSPITAL               NEWPORT BEACH      CA   92663       HOSPITAL         AH1040865    3,400    2,800    3,500    2,900    4,700    2,700    3,333    20,000

100056930   026029603   HILO HOSPITAL PHARMACY                     HILO         HI   96720       HOSPITAL         AH1078927    1,400    1,200    1,200    1,100     900      700     1,083     6,500

100056932   026029678   HILO MEDICAL CENTER (PHS)                  HILO         HI   96720   PHS 340B HOSPITAL    AH1078927     900      800      900      800     1,400     600      900      5,400

100109794   026004655   HILO MEDICAL CTR 340B HPOC                 HILO         HI   96720   PHS 340B HOSPITAL    AH1078927              100                                          100       100

100059960   023017590   HELLER'S PHARMACY(X)       (GNP)         NEWARK         NJ   07104     INDEPENDENT        AH1107499     200      700      500      100       80       80      277      1,660

100066859   040143446   *HUNTER'S DRUG STORE        CPA        GREENSBORO       GA   30642     INDEPENDENT        AH1196965   13,800    3,900                                        8,850    17,700

100085375   044201129   HORST PHARMACY          CPA              JACKSON        MO   63755     INDEPENDENT        AH1293935    7,500    8,000    2,400    7,600    5,900    6,100    6,250    37,500

100065601   021021337   HOSP DISTRICT 1     HSCA                CALDWELL        KS   67022       HOSPITAL         AH1296789                                500                        500       500

100065618   021003517   HOFFMAN WILLIAM H OWNER               WESTMORELAND      KS   66549     INDEPENDENT        AH1300564    1,700    1,700    1,100    2,000    2,000    1,500    1,667    10,000

100063034   021001818   HIAWATHA HOSPITAL ASSN INC              HIAWATHA        KS   66434       HOSPITAL         AH1302809     100      100               200      200      300      180       900

100085680   021059857   HIAWATHA HOSP ASSN INC 340B             HIAWATHA        KS   66434   PHS 340B HOSPITAL    AH1302809     200               200                                 200       400

100062509   021001503   CLARA BARTON HOSPITAL                   HOISINGTON      KS   67544       HOSPITAL         AH1309079     200      400      200      600                        350      1,400

100101360   008103432   ALTA BATES MED CTR PHY WAC              BERKELEY        CA   94704   PHS 340B HOSPITAL    AH1365091              100      200      400     1,100     440      448      2,240

100051507   008035840   ALTA BATES MED CENTER PHCY              BERKELEY        CA   94704       HOSPITAL         AH1365091     600      700      200      300               100      380      1,900

100059595   008155507   ALTA BATES MED CENTER PHY 340B          BERKELEY        CA   94704   PHS 340B HOSPITAL    AH1365091                       200                                 200       200

100059421   010098798   HOME CONVALESCENT AIDS INC             WINCHESTER       KY   40391     INDEPENDENT        AH1491947    7,100    9,100    8,200    6,600   10,000    3,600    7,433    44,600

100066943   049044917   HENRY COUNTY HOSPITAL INC               NAPOLEON        OH   43545       HOSPITAL         AH1622681     300      400      500      700      400      100      400      2,400

100050417   004028381   HAVERMILL PHCY INC(Z)      CPA         HAVERSTRAW       NY   10927     INDEPENDENT        AH1640285     600               500      800     2,000     400      860      4,300

100063775   044067132   OXFORD SURGERY CENTER NEW ACCT           OXFORD         MS   38655       HOSPITAL         AH1684023              500                                          500       500

100056929   026029587   HICKAM AFB 15TH MED GRP/SGSL            HONOLULU        HI   96853   HOSPITAL (FEDERAL)   AH1825528    1,700     800     2,200    1,100    2,900    1,400    1,683    10,100

100060868   040069088   HARRIS PHARMACY                         ARLINGTON       GA   39813     INDEPENDENT        AH1836848    1,500    2,500    2,100    1,500    3,300    4,100    2,500    15,000

100110384   041154930   HAMPSHIRE MEM HOSPITAL                   ROMNEY         WV   26757       HOSPITAL         AH1848730                               1,700                      1,700     1,700

100061489   023012450   HEIGHTS TERRACE PHCY RXMD(GNP)          HAZLETON        PA   18201     INDEPENDENT        AH1859997    4,700    2,600    5,300    2,900    5,500    4,300    4,217    25,300

100071797   046140665   COL NORTHSIDE HOSPITAL        #712   SAINT PETERSBURG   FL   33709       HOSPITAL         AH1875698     900     1,450    1,050    1,550     300     1,280    1,088     6,530

100070887   032140020   ALASKA REGIONAL HOSP PHCY #712         ANCHORAGE        AK   99508       HOSPITAL         AH1879165    1,700    1,400    2,500    2,800     960     1,280    1,773    10,640

100090743   019167650   SMDV AMB SURG CTR-PARK ST SS             MADISON        WI   53725       HOSPITAL         AH1895385     100      100      100      200       80      280      143       860

100060168   004069542   HENRY HEYWOOD MEM HOSPITAL GPO           GARDNER        MA   01440       HOSPITAL         AH1909653     500      400      100      500       80               316      1,580

100060170   004069559   HENRY HEYWOOD MEM HOSP(340B)             GARDNER        MA   01440   PHS 340B HOSPITAL    AH1909653     200               300      100      240      100      188       940

100096828   004101097   HENRY HEYWOOD MEM HOSP(WAC)              GARDNER        MA   01440       HOSPITAL         AH1909653                                         160      300      230       460

100062724   018067983   HEADS PHARMACY, INC.                     STIGLER        OK   74462     INDEPENDENT        AH2163195    6,100    5,500    8,000   21,500             3,500    8,920    44,600

100109375   018404970   HOLDER DRUG       CPA                     ALVA          OK   73717     INDEPENDENT        AH2165757   11,000   14,500   12,500   11,000   10,500   14,000   12,250    73,500

100090331   018186577   HOPKINS COUNTY MEMORIAL HOSP         SULPHUR SPRINGS    TX   75482       HOSPITAL         AH2257637    1,500    1,600    1,800    1,800    1,980     600     1,547     9,280

100090332   018187047   HOPKINS COUNTY MEM HOSP 340B         SULPHUR SPRINGS    TX   75482       HOSPITAL         AH2257637              200      100                                 150       300

100051199   018024349   HASKELL MEMORIAL HOSPITAL                HASKELL        TX   79521       HOSPITAL         AH2258386                       100      100               100      100       300

100067668   010141671   METROHEALTH MED CTR-PLAZA 340B          CLEVELAND       OH   44109   PHS 340B HOSPITAL    AH2289646    8,100    6,800    7,100    5,800    3,800    5,000    6,100    36,600

100071177   010141572   METROHEALTH MEDICAL CENTER              CLEVELAND       OH   44109       HOSPITAL         AH2289646     800     1,350     800      650     4,500             1,620     8,100
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100096800   041152959   HOLY CROSS HOSP O/P PHCY WAC      SILVER SPRING   MD   20910   PHS 340B HOSPITAL   AH2328195     500      500      1,700     800     1,300    2,300     1,183      7,100

100069934   041146019   HOLY CROSS HOSP PHARMACY          SILVER SPRING   MD   20910       HOSPITAL        AH2328195     400      400       800      400               400       480       2,400

100096792   041152942   HOLY CROSS HOSP PHCY WAC          SILVER SPRING   MD   20910   PHS 340B HOSPITAL   AH2328195     200      300                500     1,120     100       444       2,220

100086600   041138958   HOLY CROSS HOSP PHCY 340B         SILVER SPRING   MD   20910   PHS 340B HOSPITAL   AH2328195     500      500                500                         500       1,500

100069936   041146035   HOLY CROSS HOSP PHS PHARMACY      SILVER SPRING   MD   20910   PHS 340B HOSPITAL   AH2328195     200      200       200      200               480       256       1,280

100056765   056012260   HANOVER GENERAL HOSP (PP)           HANOVER       PA   17331       HOSPITAL        AH2452465    1,300     400       400      400      740      500       623       3,740

100056767   056012294   HARFORD MEMORIAL HOSP            HAVRE DE GRACE   MD   21078       HOSPITAL        AH2544218              400                300      240      200       285       1,140

100052188   010050229   HOCKING VALLEY COMMUNITY HOSP        LOGAN        OH   43138       HOSPITAL        AH2593158     600      200                100      440      760       420       2,100

100085292   010209452   HOCKING VALLEY COMM HOSP 340B        LOGAN        OH   43138   PHS 340B HOSPITAL   AH2593158     200                300      100                         200        600

100070092   019146027   ST JOSEPH REG MED CTR PLY          PLYMOUTH       IN   46563       HOSPITAL        AH2616158     900      850       850     1,400    2,300      80      1,063      6,380

100106446   049195057   HAVENWYCK HOSPITAL                AUBURN HILLS    MI   48326       HOSPITAL        AH2694962     850      400       300     1,050     800      460       643       3,860

100069387   049129353   HILLS & DALES GENERAL HOSP          CASS CITY     MI   48726       HOSPITAL        AH2730198              (100)                                300       100        200

100090578   049188441   HILLS & DALES GEN HOSP 340B         CASS CITY     MI   48726   PHS 340B HOSPITAL   AH2730198     200       -                                             100        200

100056226   046002535   HOLLYWOOD DISCOUNT PHARMACY        HOLLYWOOD      FL   33021     INDEPENDENT       AH2731025    6,400    7,300     8,600    4,800    8,300    1,260     6,110     36,660

100070093   049149310   *MERCY HEALTH MUSKEGON             MUSKEGON       MI   49443       HOSPITAL        AH2735035     800     3,400     5,200    1,800             6,900     3,620     18,100

100086100   049183525   *MERCY HEALTH MUSKEGON             MUSKEGON       MI   49443   PHS 340B HOSPITAL   AH2735035     100                100                                  100        200

100070009   049149336   *MERCY HEALTH MUSKEGON             MUSKEGON       MI   49443   PHS 340B HOSPITAL   AH2735035    3,600    1,100      400      750             (6,900)     (210)    (1,050)

100075108   049121137   HURON MEDICAL CENTER                BAD AXE       MI   48413       HOSPITAL        AH2753627     700      600       500      200     1,000     640       607       3,640

100051804   010047258   HOCK'S VANDALIA PHARMACY APSC       VANDALIA      OH   45377     INDEPENDENT       AH2785511   19,300   22,600    34,600   23,000   35,300    9,000    23,967    143,800

100055109   010045799   HART PHARMACY INC.      APSC       CINCINNATI     OH   45238     INDEPENDENT       AH2787793    6,100    7,000    20,000    1,000    2,000   15,000     8,517     51,100

100070013   010146027   MOUNT CARMEL MED CTR PHCY          COLUMBUS       OH   43222       HOSPITAL        AH2794217    5,500    5,200     8,900     700     8,300    4,200     5,467     32,800

100070012   010146019   MOUNT CARMEL MED CTR PHCY-O/P      COLUMBUS       OH   43222       HOSPITAL        AH2794217     100      100       100      700                         250       1,000

100073463   037113449   HIBBS PHARMACY                      BAY CITY      TX   77414     INDEPENDENT       AH2807901   10,200   20,100    11,200   12,200   15,000    9,700    13,067     78,400

100067568   049140434   HOLIHANS DRUG STORE                  EVART        MI   49631     INDEPENDENT       AH2867868   15,200   17,600    13,300   15,100   23,000    3,500    14,617     87,700

100053903   010027326   HURSH BELLVILLE DRUGS     APSC      BELLVILLE     OH   44813     INDEPENDENT       AH2879508    5,000    5,000     5,900    5,400    9,100    4,120     5,753     34,520

100054166   010044172   HARDIN MEMORIAL HOSPITAL RX          KENTON       OH   43326       HOSPITAL        AH2939114     200      300       200      150      200      200       208       1,250

100054168   010044230   HURSH DRUG INC -MANSFIELD          MANSFIELD      OH   44902     INDEPENDENT       AH2953013    3,500    4,300     2,500    3,000    3,000    1,600     2,983     17,900

100054428   010044503   HURSH DRUG INC - DME INN APSC      MANSFIELD      OH   44902     INDEPENDENT       AH2953013               30        30                                   30         60

100065725   049070797   HEALTHWAY PHARMACY INC           SAINT CHARLES    MI   48655     INDEPENDENT       AH2958001   11,000   11,500     8,000    8,600    8,400    7,100     9,100     54,600

100058270   041030957   HICKMAN RX DRUGIST INC-EPICGNP     PRINCETON      WV   24740     INDEPENDENT       AH2979625    1,000     (100)                                          450        900

100054767   010045252   HIGHLAND HOSPITAL ASSOC           CHARLESTON      WV   25304       HOSPITAL        AH2984121     200                         200                80       160        480

100058269   041030940   HICKMAN,JOHN ROGER JR.EPIC(GNP     PRINCETON      WV   24740     INDEPENDENT       AH2991582     800      (100)                                          350        700

100052088   010042895   *HOUGH-NORWOOD FAMILY HEALTH C     CLEVELAND      OH   44103    PHS 340B CLINIC    AH3035056     500     1,500      500                                  833       2,500

100107980   021174615   HOS DIST NO 6 OF HARPER CO KS       ANTHONY       KS   67003       HOSPITAL        AH3046112              100       200                        500       267        800

100084761   055023671   HIGHLANDS-CASHIERS HSP 340B        HIGHLANDS      NC   28741   PHS 340B HOSPITAL   AH3203130     700     1,500     1,200     900                        1,075      4,300

100075018   055041418   HIGHLANDS-CASHIERS HOSP INC        HIGHLANDS      NC   28741       HOSPITAL        AH3203130     100      300                350               680       358       1,430

100111178   055002009   HIGHLANDS CASHIERS HSP 340B(2)     HIGHLANDS      NC   28741   PHS 340B HOSPITAL   AH3203130                                         1,300              1,300      1,300

100055933   046009548   HHCS PHCY,INC DBA FREEDOM PHCY      ORLANDO       FL   32803     INDEPENDENT       AH3234591     300      700       200      900      700      200       500       3,000

100106753   018331819   HARPER COUNTY COMMUNITY HOSP        BUFFALO       OK   73834       HOSPITAL        AH3353137              100       100                                  100        200

100058904   044042705   HARDIN COUNTY GENERAL HOSPITAL     ROSICLARE      IL   62982       HOSPITAL        AH3579159     200      200       300      600       80      100       247       1,480

100086126   019145391   HOSP & MED FOUNDATION 340B           PARIS        IL   61944   PHS 340B HOSPITAL   AH3580366     100                                                     100        100

100059161   044043877   HAMILTON MEMORIAL HOSPITAL       MCLEANSBORO      IL   62859       HOSPITAL        AH3752119     200      500       500                80      200       296       1,480

100063976   019002766   HOLY CROSS HOSPITAL PHARMACY        CHICAGO       IL   60629       HOSPITAL        AH3876957    1,600               700              2,480     360      1,285      5,140

100096754   019163659   HOLY CROSS HOSPITAL WAC             CHICAGO       IL   60629   PHS 340B HOSPITAL   AH3876957     400      200      1,500     200                         575       2,300
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100062526   019010884   HOLY CROSS HOSPITAL PHCY 340B      CHICAGO       IL   60629   PHS 340B HOSPITAL   AH3876957     400      200      100               100      980      356      1,780

100059160   044043836   PEMISCOT MEMORIAL HOSPITAL           HAYTI       MO   63851       HOSPITAL        AH3955967    1,100     500     1,800    1,500    1,900     300     1,183     7,100

100062585   021001628   HARLAN COUNTY HEALTH SYSTEM          ALMA        NE   68920       HOSPITAL        AH3983930              100      200               160       80      135       540

100067118   021005629   BURWELL PHCY         SF            BURWELL       NE   68823     INDEPENDENT       AH3986152    8,000    3,000    6,500    6,500    5,500    4,700    5,700    34,200

100070015   021146035   HAWARDEN COMMUNITY HOSP           HAWARDEN       IA   51023       HOSPITAL        AH4012415     400      300      100      300                        275      1,100

100070143   019250043   HARTIG DRUG CO #4       (RX)       DUBUQUE       IA   52001        CHAIN          AH4014952   13,100    9,400   12,600    9,800    9,900    9,300   10,683    64,100

100068381   021146043   HANCOCK CTY MEM HOSP                 BRITT       IA   50423       HOSPITAL        AH4025917     500      300               550      320      200      374      1,870

100070141   019250027   HARTIG DRUG CO #2       (RX)       DUBUQUE       IA   52001        CHAIN          AH4034358    6,000    7,500    6,000    6,500    8,100    6,000    6,683    40,100

100104502   021025692   VAN DIEST MEDICAL CENTER         WEBSTER CITY    IA   50595       HOSPITAL        AH4035944     400      500      400      800      200      260      427      2,560

100070142   019250035   HARTIG DRUG CO #3       (RX)       DUBUQUE       IA   52002        CHAIN          AH4048725    7,500    8,000    8,600    5,700    8,000    6,800    7,433    44,600

100068382   021146050   PALO ALTO COUNTY HOSPITAL        EMMETSBURG      IA   50536       HOSPITAL        AH4102290     200      200      100      100      200     1,000     300      1,800

100068383   021146068   FRANKLIN GEN HOSP                  HAMPTON       IA   50441       HOSPITAL        AH4102339     100      400      300      200      400      300      283      1,700

100085305   052166199   H C WATKINS MEMORIAL HOSPITAL      QUITMAN       MS   39355       HOSPITAL        AH4118267     100      200      200      400      100      500      250      1,500

100085381   052166322   H C WATKINS MEMORIAL HOSP 340B     QUITMAN       MS   39355   PHS 340B HOSPITAL   AH4118267              100                                          100       100

100096597   049189969   HENRY FORD MEDICAL CTR WAC          DETROIT      MI   48202   PHS 340B HOSPITAL   AH4337526    7,000    9,000   11,000    4,000    6,080             7,416    37,080

100066798   049046508   HENRY FORD MEDICAL CENTER           DETROIT      MI   48202       HOSPITAL        AH4337526             3,000                      1,560    7,400    3,987    11,960

100107295   049195313   HENRY FORD HOSPITAL PHCY 340B       DETROIT      MI   48202   PHS 340B HOSPITAL   AH4337526                               4,300                      4,300     4,300

100063699   049053454   HENRY FORD MEDICAL CENTER           DETROIT      MI   48202       HOSPITAL        AH4337526                               2,700                      2,700     2,700

100052406   056006957   HOSP OF UNIVERSITY OF PA(340B)   PHILADELPHIA    PA   19104   PHS 340B HOSPITAL   AH4429177    3,000    4,000    4,400    3,100    4,460    2,120    3,513    21,080

100104689   023152389   HOSP OF THE UNIV OF PA (WAC)     PHILADELPHIA    PA   19104   PHS 340B HOSPITAL   AH4429177                                         210               210       210

100104687   023152363   HOSP OF UNIV OF PA(OFF LOC GPO   PHILADELPHIA    PA   19104       HOSPITAL        AH4429177                                 60                         60        60

100075017   055041632   HIGH POINT REGIONAL HOSP 10022    HIGH POINT     NC   27262       HOSPITAL        AH4518582    3,100    2,950    3,400    6,400             2,100    3,590    17,950

100072568   055070847   HIGH POINT REG HOSP(O/P PHCY)     HIGH POINT     NC   27262       HOSPITAL        AH4518582    1,600    2,400    1,000    4,600                      2,400     9,600

100057373   044066159   HAZELWOOD ICF MR                  LOUISVILLE     KY   40215       HOSPITAL        AH4855536     700      600      400      500      780      200      530      3,180

100068384   010146050   MOUNT CARMEL EAST HOSPITAL        COLUMBUS       OH   43213       HOSPITAL        AH4908945    4,800    8,050    7,500    8,350    5,480    6,020    6,700    40,200

100062867   052051086   HALE COUNTY HOSPITAL             GREENSBORO      AL   36744       HOSPITAL        AH5070420     100               100      200               200      150       600

100052253   010040121   HOLZER HOSPITAL FOUNDATION        GALLIPOLIS     OH   45631       HOSPITAL        AH5074911     100      500      400                                 333      1,000

100060091   010103341   HOLZER HOSP FOUNDATION 340B       GALLIPOLIS     OH   45631   PHS 340B HOSPITAL   AH5074911     200               100      100                        133       400

100096769   010233601   HOLZER HOSPITAL FOUNDATION WAC    GALLIPOLIS     OH   45631   PHS 340B HOSPITAL   AH5074911                       100       -                          50       100

100065490   023013813   HUGUENOT PHARMACY                STATEN ISLAND   NY   10312     INDEPENDENT       AH5302865     700      900      600     1,300    1,000              900      4,500

100057202   052026989   HILL HOSPITAL OF YORK                YORK        AL   36925       HOSPITAL        AH5355979                                100      200               150       300

100075094   010185819   HIGHLANDS REGIONAL MED CTR       PRESTONSBURG    KY   41653       HOSPITAL        AH5359612    1,100    1,200     900      300               100      720      3,600

100096476   010233445   HIGHLANDS REG MED CTR WAC        PRESTONSBURG    KY   41653   PHS 340B HOSPITAL   AH5359612                                100     1,380     880      787      2,360

100075095   010185827   HIGHLANDS REG MED CTR 340B       PRESTONSBURG    KY   41653   PHS 340B HOSPITAL   AH5359612              300                                 200      250       500

100077021   055049320   HOT SPRINGS MEDICAL C(340B)       HOT SPRINGS    NC   28743    PHS 340B CLINIC    AH5550935    2,400    2,700    2,600    3,900    1,700    1,100    2,400    14,400

100064147   019001883   HIGH STREET PHARMACY              BLUE ISLAND    IL   60406     INDEPENDENT       AH5596878    2,000    4,200    2,100    4,600    3,500    5,100    3,583    21,500

100075973   055019471   HARDIN'S DRUG #1        GNP       FOREST CITY    NC   28043     INDEPENDENT       AH5900053   15,300   21,400   20,600   18,600   24,500   11,500   18,650   111,900

100052121   018044370   HANSFORD HOSPITAL                  SPEARMAN      TX   79081       HOSPITAL        AH5912818    7,400    5,100    6,800    7,900    2,400    4,700    5,717    34,300

100085498   018193698   HANSFORD HOSPITAL 340B             SPEARMAN      TX   79081   PHS 340B HOSPITAL   AH5912818    2,700    4,100    1,400    7,300                      3,875    15,500

100051930   018044917   HANSFORD HOSPITAL (INST)           SPEARMAN      TX   79081       HOSPITAL        AH5912818     100               200      400                80      195       780

100071325   041140301   HENRICO DR'S-FOREST CAMPUS#712     RICHMOND      VA   23229       HOSPITAL        AH5996713     800      850      950      900      900      720      853      5,120

100068386   019146035   REG HLTH SRVC OF HOWARD CO          CRESCO       IA   52136       HOSPITAL        AH6042319     100               500               200               267       800

100071703   056143255   SAIFF DRUGS & SURGICAL(Z) CPA    HIGHLAND PARK   NJ   08904     INDEPENDENT       AH6218475    1,800     700      900     1,400     860      760     1,070     6,420

100071501   023143313   HUDACKO'S PHARMACY INC(Z) CPA      BAYONNE       NJ   07002     INDEPENDENT       AH6285248    3,700    3,200    5,100    2,400    1,300    4,500    3,367    20,200
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100070144   019250050   HARTIG DRUG CO #5      (RX)            GALENA         IL   61036        CHAIN          AH6421793   11,400   13,100   12,600   13,200    5,700   10,700   11,117    66,700

100063524   049050658   HOLIDAY PHARMACY-PLLC              STERLING HEIGHTS   MI   48312     INDEPENDENT       AH6463397    5,300    3,200   13,500    7,400   19,300    4,700    8,900    53,400

100064452   010106534   *H&N DRUGS, INC       APSC           MANCHESTER       KY   40962     INDEPENDENT       AH6504294   31,600                                                31,600    31,600

100056730   024132407   HENRY MAYO NEWHALL MEM'RL HOS         VALENCIA        CA   91355       HOSPITAL        AH6519372    2,600    3,000    2,400    2,300    3,000    2,160    2,577    15,460

100063115   021002279   HUTCHINSON REGIONAL MED CTR          HUTCHINSON       KS   67502       HOSPITAL        AH6598760    4,500    6,400    6,600    7,200    6,560    6,240    6,250    37,500

100066874   049047498   HFMC-WESTBLOOMFIELD 300 RETAL      WEST BLOOMFIELD    MI   48322     INDEPENDENT       AH7004384   12,000   12,000   14,500   12,500   31,900   19,300   17,033   102,200

100088057   049186270   HFMC - WESTBLOOMFIELD 340B         WEST BLOOMFIELD    MI   48322   PHS 340B HOSPITAL   AH7004384   11,000   12,000   10,000   10,300    6,400   12,400   10,350    62,100

100065276   049054171   HFMC - FAIRLANE 340B                  DEARBORN        MI   48126   PHS 340B HOSPITAL   AH7020819   22,000   18,500   19,700   18,100   11,200   27,400   19,483   116,900

100066797   049046474   HFMC - FAIRLANE 120 RETAIL            DEARBORN        MI   48126     INDEPENDENT       AH7020819    4,500    5,600    8,500    8,700   28,000   20,900   12,700    76,200

100092429   049154831   HFMC PHCY FAIRLANE 340B               DEARBORN        MI   48126   PHS 340B HOSPITAL   AH7020819     300      200      100               280      500      276      1,380

100077008   055043265   *HALIFAX REGIONAL MEDICAL CT       ROANOKE RAPIDS     NC   27870       HOSPITAL        AH7244572     300      500      300                                 367      1,100

100077025   055045351   *HALIFAX REGIONAL MED (340B)       ROANOKE RAPIDS     NC   27870   PHS 340B HOSPITAL   AH7244572     200      200      200                                 200       600

100096519   055037366   *HALIFAX REG MED CTR (WAC)         ROANOKE RAPIDS     NC   27870       HOSPITAL        AH7244572                       100                                 100       100

100073105   018143339   HILLIARD DRUGS INC      CPA            KERENS         TX   75144     INDEPENDENT       AH7279652    8,000    6,600    8,300    8,000    8,000    6,000    7,483    44,900

100056768   056012302   HARFORD PCY INC-Z(GNP)EPIC)            BEL AIR        MD   21014     INDEPENDENT       AH7498303    2,000    2,500    2,000    2,600    1,000     710     1,802    10,810

100075718   018178046   HILLCREST PHARMACY          CPA        VERNON         TX   76384     INDEPENDENT       AH7763356   16,000   25,900   12,700    5,300   28,100    9,000   16,167    97,000

100062936   052051128   HAYES DRUG                             JEMISON        AL   35085     INDEPENDENT       AH7790163   25,800   24,400   34,800   19,000   27,800   27,200   26,500   159,000

100070147   019250084   HARTIG NH PHCY SVCS #9 (RX)           DUBUQUE         IA   52002        CHAIN          AH7812440    6,500    7,500    6,100    3,400    4,900    3,500    5,317    31,900

100077110   055020495   HOSPITAL DRIVE PHARMACY              SPRUCE PINE      NC   28777     INDEPENDENT       AH7812820    3,300    7,700   16,500   10,700    1,800    3,500    7,250    43,500

100093033   055031971   HOSPITAL DRIVE PHARMACY(340B)2       SPRUCE PINE      NC   28777   PHS 340B HOSPITAL   AH7812820    1,800    2,400    2,300    1,300     700     1,000    1,583     9,500

100104718   055038893   HOSPITAL DRIVE PHARMACY (340B)       SPRUCE PINE      NC   28777   PHS 340B HOSPITAL   AH7812820     100               200      400                        233       700

100074947   055071357   HOSPITAL DRIVE PHARMACY(340B)        SPRUCE PINE      NC   28777    PHS 340B CLINIC    AH7812820              100               100                        100       200

100062324   021001396   HOSP DISTRICT #1 OF DICKINSON          ABILENE        KS   67410       HOSPITAL        AH8056271    1,450    2,300    1,150    1,850    2,380    1,500    1,772    10,630

100065022   021022723   HAMILTON COUNTY HOSPITAL HSCA         SYRACUSE        KS   67878       HOSPITAL        AH8090019                       100                                 100       100

100056412   044079764   HOLLIS DISC PHCY       SF               RIPLEY        MS   38663     INDEPENDENT       AH8108222   27,100   29,500   31,200   30,070   31,600   21,200   28,445   170,670

100063158   025001800   HOWARD LAKE DRUG CO           SF    HOWARD LAKE       MN   55349     INDEPENDENT       AH8189587    2,200    1,400    2,200    1,900    2,200    2,300    2,033    12,200

100094290   041145748   HAYSI DRUG CENTER                       HAYSI         VA   24256     INDEPENDENT       AH8345123   28,600   30,700   36,000   23,800   29,300   27,600   29,333   176,000

100083514   052161026   HUNTE'S PHARMACY                       MOBILE         AL   36617     INDEPENDENT       AH8410778    2,000    3,000    2,000    1,000                      2,000     8,000

100070771   046141572   RAULERSON HOSPITAL          #712     OKEECHOBEE       FL   34972       HOSPITAL        AH8486359     400      700      300      150      940      480      495      2,970

100061488   023012427   HARTZELL PHARMACY       PBI/GNP      CATASAUQUA       PA   18032     INDEPENDENT       AH8566246    3,400    3,200    3,500    2,560    2,400    2,300    2,893    17,360

100071643   018144295   HAMPTON MEDICAL PHARMACY CPA          HAMPTON         AR   71744     INDEPENDENT       AH8656184    7,500   11,200    6,600   17,000    8,000   12,500   10,467    62,800

100053911   010044081   H B MAGRUDER MEM HOSP PHCY          PORT CLINTON      OH   43452       HOSPITAL        AH8675285    1,200     700      700     1,200    1,400             1,040     5,200

100075974   055019489   HARDIN'S DRUG STRE NO 2,INCGNP       FOREST CITY      NC   28043     INDEPENDENT       AH8997263    9,500   12,300   13,100   17,400    7,900   12,200   12,067    72,400

100052071   010042044   HUGHES PHARMACY           APSC        HAMILTON        OH   45013     INDEPENDENT       AH9036927    9,000   11,700   11,500   13,000    9,000    8,500   10,450    62,700

100086136   010212340   HAWKEYS INC OF COLUMBUS GR         COLUMBUS GROVE     OH   45830     INDEPENDENT       AH9055662    4,200    5,100    4,500    6,500    1,500    3,500    4,217    25,300

100065052   052058362   HASSLER'S DRUGS INC         SF       SPRING CITY      TN   37381     INDEPENDENT       AH9336240   14,400   18,100   18,700   16,500   25,100   13,300   17,683   106,100

100055003   012030486   HI - DESERT MEDICAL CTR              JOSHUA TREE      CA   92252       HOSPITAL        AH9688954    1,000    1,200    1,700    3,300                      1,800     7,200

100063150   025001024   HANS P PETERSON MEMORIAL, HOSP          PHILIP        SD   57567       HOSPITAL        AH9801211     100                50      200      500      200      210      1,050

100067013   025143008   THE APOTHECARY: CUMBERLAND CPA       CUMBERLAND       WI   54829     INDEPENDENT       AI1420809    7,000    5,000    6,000   20,500    2,000    1,000    6,917    41,500

100064732   018011841   TEASLEY DRUG           SF             GRAVETTE        AR   72736     INDEPENDENT       AI2541565   22,100   25,200   24,700   29,900   24,600   25,600   25,350   152,100

100052701   012100040   INDIAN HLTH COUNCIL PHY             PAUMA VALLEY      CA   92061    PHS 340B CLINIC    AI2626402     500     2,000    4,300                               2,267     6,800

100061492   023012641   IDEAL PHARMACY INC (ARX)              BROOKLYN        NY   11220     INDEPENDENT       AI2649791                                         500               500       500

100052763   024034207   IDEAL PHARMACY                       LOS ANGELES      CA   90028     INDEPENDENT       AI3054284    1,000    1,600     500     1,500                      1,150     4,600

100074486   055044008   IREDELL MEMORIAL HOSPITAL, INC       STATESVILLE      NC   28677       HOSPITAL        AI3192969    2,500    2,600    2,800    2,700    2,500    2,800    2,650    15,900
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100061123   019047977   IROQUOIS MEMORIAL HOSPITAL           WATSEKA       IL   60970       HOSPITAL         AI3589186     300     1,600    1,500     3,950     660      520     1,422     8,530

100065979   019003103   INGALLS MEMORIAL HOSPITAL I/P        HARVEY        IL   60426       HOSPITAL         AI3874016    1,800    3,100    2,100     2,600    5,080    2,800    2,913    17,480

100060494   019037515   INGALLS MEMORIAL HOSP-340B PHS       HARVEY        IL   60426   PHS 340B HOSPITAL    AI3874016     900      900      700       900                        850      3,400

100100643   019179200   INGALLS MEMORIAL HOSPITAL WAC        HARVEY        IL   60426   PHS 340B HOSPITAL    AI3874016                       300       200                        250       500

100104965   021172619   ALEGENT HEALTH IMMANUEL MED           OMAHA        NE   68122       HOSPITAL         AI3985011    1,700    2,600    2,000     1,800    2,560    2,020    2,113    12,680

100104967   021172874   IMMANUEL MEDICAL CENTER WAC           OMAHA        NE   68122       HOSPITAL         AI3985011              200      200       100                -       125       500

100104966   021172866   IMMANUEL MEDICAL CENTER 340B          OMAHA        NE   68122       HOSPITAL         AI3985011     100                                                    100       100

100061493   023012674   ISLA DRUG STORES INC        CPA     NEW YORK       NY   10029     INDEPENDENT        AI4139362     600     1,000     700       100      600     1,600     767      4,600

100063114   044032771   IMPERIAL PHARMACY         APSC     HENDERSON       KY   42420     INDEPENDENT        AI5243186    9,000   13,500   13,100    12,500   36,700   20,800   17,600   105,600

100083930   044188276   IMPERIAL PHARMACY 340B             HENDERSON       KY   42420   PHS 340B HOSPITAL    AI5243186    4,000    2,300    3,000     3,900                      3,300    13,200

100061736   019096164   INDIANA UNIV STUDENT- MMCAP        BLOOMINGTON     IN   47401        ALT SITE        AI6210568    1,000              700      1,100              700      875      3,500

100058052   019044065   WESTVIEW HOSPITAL-PHARMACY         INDIANAPOLIS    IN   46222       HOSPITAL         AI6382371     300      300      100       600      400      500      367      2,200

100055041   019024307   ILLINOIS VALLEY COMMUNITY HOS         PERU         IL   61354       HOSPITAL         AI6883056     500     1,200     300      1,700              920      924      4,620

100057617   026039800   ITC PHARMACY #1 10                  TAMUNING       GU   96913     INDEPENDENT        AI7794363    1,200    1,500                                         1,350     2,700

100058109   019052043   INDIANA VETERANS HOME MMCAP       WEST LAFAYETTE   IN   47906   HOSPITAL (FEDERAL)   AI7869754    2,900    4,000    2,700     2,200    3,100    2,300    2,867    17,200

100065524   021023523   IOLA PHCY GNP     PRO                  IOLA        KS   66749     INDEPENDENT        AI8107523   23,200   22,900   17,400    23,500   21,700   17,600   21,050   126,300

100060872   023012013   FRANWIN PHARMACY                     MINEOLA       NY   11501     INDEPENDENT        AI9065423              500               1,000                       750      1,500

100055081   012032805   INDIO MEDICAL PHCY                    INDIO        CA   92201     INDEPENDENT        AI9213872   39,000    3,500   12,800    12,500   11,000    2,800   13,600    81,600

100071769   046141051   JFK MEDICAL CENTER         #712      ATLANTIS      FL   33462       HOSPITAL         AJ0124381     800      700     1,000     1,750     340      900      915      5,490

100063260   046070854   JAY PHARMACY INC                       JAY         FL   32565     INDEPENDENT        AJ0192586    9,500    8,000    8,500    10,300   13,040    8,000    9,557    57,340

100067067   052057026   CLAY COUNTY HOSPITAL                 ASHLAND       AL   36251       HOSPITAL         AJ0467476    1,500    1,500      50      1,500    2,160    2,040    1,458     8,750

100054188   037028324   JACKS APOTHECARY #2                  HOUSTON       TX   77051     INDEPENDENT        AJ0945898     700      300     1,100      700     1,000              760      3,800

100091005   023136200   J C BLAIR MEMORIAL HOSPITAL        HUNTINGDON      PA   16652       HOSPITAL         AJ1659816              200      100                300      100      175       700

100061807   025019596   JONS DRUG            SF              EVELETH       MN   55734     INDEPENDENT        AJ2062925    8,000    6,200   12,000    10,000    3,000    2,000    6,867    41,200

100051186   018044073   JACKSON CTY MEMORIAL HOSPITAL         ALTUS        OK   73521       HOSPITAL         AJ2164832    3,200    2,600    2,700     3,350    2,040    2,680    2,762    16,570

100064039   018064931   JANE PHILLIPS MEDICAL CENTER       BARTLESVILLE    OK   74006       HOSPITAL         AJ2174150    2,100    2,400    2,000     3,600             1,800    2,380    11,900

100052292   010040873   ROBINSON MEMORIAL HOSPITAL           RAVENNA       OH   44266       HOSPITAL         AJ2289468     700      750      700       600     1,400    1,040     865      5,190

100071771   041140319   JOHNSTON-WILLIS HOSPITAL #716       RICHMOND       VA   23235       HOSPITAL         AJ2350750    2,100     700     2,100     1,550     500              1,390     6,950

100071772   041140327   JOHNSTON-WILLIS HOSP CSOS #716      RICHMOND       VA   23235       HOSPITAL         AJ2350750                                         1,100     600      850      1,700

100057155   019051847   JOHNSON MEMORIAL HOSPITAL            FRANKLIN      IN   46131       HOSPITAL         AJ2652750     800     1,100    1,100     2,700              600     1,260     6,300

100052294   010040980   GRADY MEMORIAL HOSP RX              DELAWARE       OH   43015       HOSPITAL         AJ2805616     500      900       (50)     700      580      600      538      3,230

100083556   010192203   JACKSON GENERAL HOSPITAL              RIPLEY       WV   25271       HOSPITAL         AJ2986911     500     1,000    1,100      400     1,300    1,300     933      5,600

100094234   010227405   JACKSON GENERAL HOSPITAL 340B         RIPLEY       WV   25271       HOSPITAL         AJ2986911     700      400      300       300                        425      1,700

100094234   010227405   JACKSON GENERAL HOSPITAL 340B         RIPLEY       WV   25271   PHS 340B HOSPITAL    AJ2986911                                                   600      600       600

100096535   044106591   JEWISH HOSPITAL WAC                 LOUISVILLE     KY   40202       HOSPITAL         AJ3012488             1,600    1,600     7,900    4,580    5,200    4,176    20,880

100056864   044064782   JEWISH HOSPITAL                     LOUISVILLE     KY   40202       HOSPITAL         AJ3012488    6,000    6,200    3,000               640      960     3,360    16,800

100061737   044106005   JEWISH HOSPITAL         340B        LOUISVILLE     KY   40202   PHS 340B HOSPITAL    AJ3012488    1,300     700     1,350      750       80      240      737      4,420

100060109   010100305   JAMES B HAGGIN MEMORIAL HOSP.     HARRODSBURG      KY   40330       HOSPITAL         AJ3021110     300      400      700       900      320      200      470      2,820

100057835   044085183   JANE TODD CRAWFORD MMRL HOSP       GREENSBURG      KY   42743       HOSPITAL         AJ3027679     400      600      100       900       80      160      373      2,240

100066694   018061432   ASHFLAT PHARMACY                     ASH FLAT      AR   72513     INDEPENDENT        AJ3232713    7,600    6,800    6,700    10,800    7,300    7,600    7,800    46,800

100052454   017090548   UTAH STATE HOSPITAL                   PROVO        UT   84606       HOSPITAL         AJ3308194     500      500      200       400      880      400      480      2,880

100063970   019002691   JACKSON PARK HOSPITAL, FOUNDAT       CHICAGO       IL   60649       HOSPITAL         AJ3870373     100      100      300                300      560      272      1,360

100065062   019003483   JOLIET PROFESSIONAL PHCY CPA          JOLIET       IL   60435     INDEPENDENT        AJ3880235    3,400    4,200    3,300     2,700    2,400    3,600    3,267    19,600

100086934   019147256   JOLIET PROFESSIONAL PHCY 340B         JOLIET       IL   60435    PHS 340B CLINIC     AJ3880235     700      200      200       600                        425      1,700
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100063032   021001776   BOTHWELL REGIONAL HEALTH CNTR         SEDALIA        MO   65301       HOSPITAL        AJ3943316    1,300     1,600    1,400    1,600     1,900      600     1,400     8,400

100065616   021003426   *JACK W MONROE PHARMACY INC.     EXCELSIOR SPRINGS   MO   64024     INDEPENDENT       AJ3972432    5,000                                                    5,000     5,000

100062481   021000224   JENNIE EDMUNDSON MEMORIAL HOS     COUNCIL BLUFFS     IA   51503       HOSPITAL        AJ4037948    1,600     1,600    1,300    1,900     1,700     1,800    1,650     9,900

100063156   025001743   JAMES DRUG CHARLES MIX COUNTY        WAGNER          SD   57380     INDEPENDENT       AJ4066418    1,400     3,700    3,800    6,000     1,500     3,000    3,233    19,400

100060190   056029066   JORDAN-RESES PRESCRIPTION CTR      PHILADELPHIA      PA   19143     INDEPENDENT       AJ4396897    3,200     4,000    3,300    4,000     3,500     2,900    3,483    20,900

100066833   021130369   WESTERN MISSOURI MED CTR I/P      WARRENSBURG        MO   64093       HOSPITAL        AJ4416182    1,400     1,500    1,000    1,000      580      1,140    1,103     6,620

100066835   021130351   WESTERN MISSOURI MED CTR O/P      WARRENSBURG        MO   64093       HOSPITAL        AJ4416182     600      1,400     500      700      1,000      300      750      4,500

100063977   019002782   JASPER COUNTY HOSP                  RENSSELAER       IN   47978       HOSPITAL        AJ5133703     800       200     1,200    1,000               1,160     872      4,360

100107100   052224014   JACKSON-HINDS COMPR CTR 340B         JACKSON         MS   39213    PHS 340B CLINIC    AJ5425699               200                                            200       200

100056056   046002337   JORGES PHARMACY                        MIAMI         FL   33145     INDEPENDENT       AJ5594836     800      1,100    1,300    1,000      700       600      917      5,500

100071623   044103341   JERSEY,COMMUNITY HOSP DISTRICT      JERSEYVILLE      IL   62052       HOSPITAL        AJ5806863    1,100     1,050     300     1,050     2,000     2,000    1,250     7,500

100066013   019004614   JAY COUNTY HOSPITAL                  PORTLAND        IN   47371       HOSPITAL        AJ5990925     400       700      600      800       660       280      573      3,440

100087667   004088088   JOHN DEMPSEY HOSPITAL UCONN         FARMINGTON       CT   06030       HOSPITAL        AJ6217461     300       400               300       260                315      1,260

100087672   004088047   JOHN DEMPSEY HOSP UCONN 340B        FARMINGTON       CT   06030   PHS 340B HOSPITAL   AJ6217461     100                200                100                133       400

100096441   004100941   JOHN DEMPSEY HOSP UCONN WAC         FARMINGTON       CT   06030       HOSPITAL        AJ6217461                                 100       200       100      133       400

100060950   040069294   JENKINS COUNTY HOSPITAL               MILLEN         GA   30442       HOSPITAL        AJ6356441               200               400                          300       600

100065054   052058404   JABO'S PHCY          SF              NEWPORT         TN   37821     INDEPENDENT       AJ6596348   45,300    66,700   49,100   49,300    18,300    35,500   44,033   264,200

100110812   023000218   JEFFERSON APOTHECARY (WAC)         PHILADELPHIA      PA   19107       HOSPITAL        AJ6773849                        500     6,000     3,300     3,500    3,325    13,300

100110806   023162420   JEFFERSON APOTHECARY (340B)        PHILADELPHIA      PA   19107   PHS 340B HOSPITAL   AJ6773849                                2,500     2,500     5,700    3,567    10,700

100057416   046001602   RITTER'S TOWNE PHARMACY               DELAND         FL   32724     INDEPENDENT       AJ7033791     100       100      100      200                          125       500

100060592   010104505   JH LEASE DRUG CO APSC                 SALEM          OH   44460     INDEPENDENT       AJ7775488    7,500     6,500    7,200    7,700    10,400    10,200    8,250    49,500

100057973   037100057   JAY'S PHARMACY                       MCALLEN         TX   78501     INDEPENDENT       AJ8367484                                          1,000     1,700    1,350     2,700

100106113   024121632   SAN MARTIN PHARMACY              HUNTINGTON PARK     CA   90255     INDEPENDENT       AJ8922951               100      200                                   150       300

100073257   021101923   JOHN FITZGIBBON MEM HOSP             MARSHALL        MO   65340       HOSPITAL        AJ9630395     200       100               200       400       600      300      1,500

100074893   021130567   JOHN FITZGIBBON MEM HOSP 340B        MARSHALL        MO   65340   PHS 340B HOSPITAL   AJ9630395     300       400      300      300                          325      1,300

100103840   021172148   JOHN FITZGIBBON MEM HOSP WAC         MARSHALL        MO   65340   PHS 340B HOSPITAL   AJ9630395                                 300                          300       300

100074488   055067934   KERSHAW CNTY MEDICAL CTR             CAMDEN          SC   29020       HOSPITAL        AK0335655    1,700     1,900    1,600    2,400     2,000      800     1,733    10,400

100061909   023012930   KRESSATY'S PHARMACY                  HASKELL         NJ   07420     INDEPENDENT       AK0606585     700       600      500      900       400       700      633      3,800

100069592   018176016   KRAEGE DRUG STORE                   YORKTOWN         TX   78164     INDEPENDENT       AK0923703   10,000     8,500    6,800    7,000     6,400     5,800    7,417    44,500

100055786   056012872   *KLEINS TOWER PL PHCY #545          FOREST HILL      MD   21050        CHAIN          AK1070414                -                200                          100       200

100101138   026004309   KUAKINI MEDICAL CNTR PHARMACY       HONOLULU         HI   96817       HOSPITAL        AK1079878                        400                          600      500      1,000

100055339   040080861   KENNESTONE HOSPITAL, PHARMACY        MARIETTA        GA   30060       HOSPITAL        AK1191321    6,600     8,800    8,000    8,900     7,720     5,500    7,587    45,520

100086483   040106278   KENNESTONE HOSP-RETAIL EMPLOYE       MARIETTA        GA   30060       HOSPITAL        AK1191321     (500)                      1,000                         250       500

100054265   012034801   KAISER PERM #106 PHCY              HARBOR CITY       CA   90710     HEALTH PLAN       AK1278983                        100              15,900    10,200    8,733    26,200

100062581   021001560   KIOWA COUNTY MEMORIAL HOSP, IN     GREENSBURG        KS   67054       HOSPITAL        AK1311860     100       100      100                          100      100       400

100063377   021001206   KINGMAN COMMUNITY HOSPITAL           KINGMAN         KS   67068       HOSPITAL        AK1313220     400       200      200      600                          350      1,400

100051714   008074815   KAISER FNDN HOS PHAR 61A /S        SACRAMENTO        CA   95825     HEALTH PLAN       AK1358337    2,500     1,800    2,000    2,500     6,000     4,000    3,133    18,800

100051574   008072652   KAISER PERM PHAR 581 /H             SANTA ROSA       CA   95403     HEALTH PLAN       AK1421495    3,700     6,400    2,700    8,300   142,400   121,100   47,433   284,600

100053628   024036608   KAISER PERM #311 GROUND FLOOR      LOS ANGELES       CA   90034     HEALTH PLAN       AK1451448                                          4,700     7,600    6,150    12,300

100053626   024036558   KAISER PERM #308                    INGLEWOOD        CA   90301     HEALTH PLAN       AK1480134                                 100     20,300    35,600   18,667    56,000

100061908   023012823   KESSLER INST FOR REHAB(SELECT)     WEST ORANGE       NJ   07052       HOSPITAL        AK1544128               200      100      400       500                300      1,200

100085730   023103689   KOMISHANE'S PHARMACY(ARX)            NEWARK          NJ   07106     INDEPENDENT       AK1566263     100       300               100                          167       500

100065217   049043190   KINGSLEY DRUGS INC                   KINGSLEY        MI   49649     INDEPENDENT       AK1595985    5,500     6,000    5,200    9,000     3,000     4,500    5,533    33,200

100054266   012034850   KAISER PERM #107 PHCY              HARBOR CITY       CA   90710     HEALTH PLAN       AK1628885     100                                 86,400    74,400   53,633   160,900
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100055385   049089227   KNIGHT DETROIT MED CTR PHC INC             DETROIT         MI   48201     INDEPENDENT       AK1629495     100                100      100      100               100       400

100054011   012034652   KAISER PERM #059 PHCY                     DOWNEY           CA   90242     HEALTH PLAN       AK1631680     100                         100    48,000   64,800   28,250   113,000

100051809   010047449   KESSLING WILLIAM C                      MCKEESPORT         PA   15133     INDEPENDENT       AK1674438     600       500                                          550      1,100

100052712   010054585   WATTERS BROS DRUG STORE               NORTHERN CAMBRIA     PA   15714     INDEPENDENT       AK1695103                                          500               500       500

100053901   012091512   KAISER PERM #208-BE691                   ESCONDIDO         CA   92025     HEALTH PLAN       AK1781827                                        41,200   39,600   40,400    80,800

100065546   049109223   SAULT COMMUNITY PHCY        SF        SAULT SAINTE MARI    MI   49783     INDEPENDENT       AK1874191    7,500     8,500    6,000    7,500    7,500    9,500    7,750    46,500

100056007   038065607   KAISER PERM-ARAPAHOE                      LITTLETON        CO   80122     HEALTH PLAN       AK2001270   19,400    19,500    7,200     700     2,400   19,400   11,433    68,600

100063604   049051201   *OLIVET PHCY INC       SF                  OLIVET          MI   49076     INDEPENDENT       AK2011079    7,600     9,000                                        8,300    16,600

100096674   008111823   KAWEAH DELTA MED CTR WAC                   VISALIA         CA   93291   PHS 340B HOSPITAL   AK2035916    1,200             34,000    1,500                     12,233    36,700

100066081   008058305   KAWEAH DELTA MEDICAL CTR PHY/S             VISALIA         CA   93291       HOSPITAL        AK2035916    5,400     6,400    6,400    6,200                      6,100    24,400

100064889   008084061   KAWEAH DELTA MED CTR PHY 340BS             VISALIA         CA   93291   PHS 340B HOSPITAL   AK2035916     400      3,100     800      500                       1,200     4,800

100051491   008074096   KAISER FNDN HOS PHAR 35A /A          SOUTH SAN FRANCISCO   CA   94080     HEALTH PLAN       AK2109797    1,200      600      600     5,000                      1,850     7,400

100051428   008074138   KAISER FNDN HOS PHAR37A/374 /B          REDWOOD CITY       CA   94063     HEALTH PLAN       AK2109848    1,100     1,400    1,600    1,100     800     1,000    1,167     7,000

100051487   008074013   KFHP 131-754 INPAT. PHCY /S            SAN FRANCISCO       CA   94115     HEALTH PLAN       AK2109874    1,200     1,500    2,200    6,400   14,900   12,900    6,517    39,100

100051694   008074252   KAISER FNDN HOS PHAR 51A /A             WALNUT CREEK       CA   94596     HEALTH PLAN       AK2109913     500      2,500     800     3,700                      1,875     7,500

100051411   008072819   KAISER PERM PHAR 631 /A                   SAN JOSE         CA   95119     HEALTH PLAN       AK2130273    1,700     1,800    1,200     700    54,000   65,200   20,767   124,600

100054630   010000299   PLEASANT RIDGE MANOR PHARMACY              GIRARD          PA   16417   LONG TERM CARE      AK2276500   13,700     5,600    4,100    9,100    7,300    5,500    7,550    45,300

100051560   008072298   KAISER PERM PHAR 381 /C                   MILPITAS         CA   95035     HEALTH PLAN       AK2276738     400       800      300      300    23,760   20,100    7,610    45,660

100105784   010236281   HEALTHSPAN INTEGRTD CARE -STRO          STRONGSVILLE       OH   44136     HEALTH PLAN       AK2292100    3,600     4,200    7,900    2,400    6,100    5,500    4,950    29,700

100076529   019101774   PULASKI MEMORIAL HOSPITAL                 WINAMAC          IN   46996       HOSPITAL        AK2293772     200       200      200      200       80               176       880

100067255   019159038   PULASKI MEM HOSP - OWN USE                WINAMAC          IN   46996       HOSPITAL        AK2293772                                 100      500               300       600

100057622   026041004   KAHI MOHALA HOSPITAL                     EWA BEACH         HI   96706       HOSPITAL        AK2352134               100                                          100       100

100055129   041009845   KAISER RESTON PHARMACY         B20         RESTON          VA   20190     HEALTH PLAN       AK2444127    5,400     7,600    8,100    6,900    7,400    5,800    6,867    41,200

100053366   024036350   KAISER PERM #014                        LOS ANGELES        CA   90027     HEALTH PLAN       AK2458809                                        30,100   27,600   28,850    57,700

100052933   020055350   KARE DRUG #2 - AZTEC                       AZTEC           NM   87410     INDEPENDENT       AK2484905   10,500    10,500   21,000   15,100    2,100   13,600   12,133    72,800

100064042   023100024   *SHOPRITE PHARMACY #105                    KEARNY          NJ   07032        CHAIN          AK2622404     900                500      300                        567      1,700

100056594   026044107   KAISER HAWAII KAI CLINIC PHCY             HONOLULU         HI   96825     HEALTH PLAN       AK2643953    4,400     4,700    3,000    4,500    7,800             4,880    24,400

100065921   049060863   KRONNER PHARMACY INC                    PRUDENVILLE        MI   48651     INDEPENDENT       AK2738764   14,900    22,500   18,100   18,000   30,600   19,000   20,517   123,100

100072552   049132183   KRONNER PHARMACY INC/MMHP 340B          PRUDENVILLE        MI   48651    PHS 340B CLINIC    AK2738764   15,400    14,700   23,300    3,000    4,200   10,400   11,833    71,000

100055131   041009878   KAISER SPRINGFIELD PHCY     D25          SPRINGFIELD       VA   22150     HEALTH PLAN       AK2753994   13,600    14,700    7,600   10,100   14,900    7,900   11,467    68,800

100054068   010029942   KOEHLER DRUG CO         APSC           UPPER SANDUSKY      OH   43351     INDEPENDENT       AK2865814    4,000     3,500    3,100    3,500    3,500    1,500    3,183    19,100

100055095   012035501   KAISER PERM #163 PHCY                      COLTON          CA   92324     HEALTH PLAN       AK2905911                                        55,400   64,900   60,150   120,300

100054042   041009803   KAISER LARGO PHARMACY         B12        GLENARDEN         MD   20774     HEALTH PLAN       AK2929656   19,600    17,400   15,500   19,300    8,400    9,300   14,917    89,500

100105790   010236349   HEALTHSPAN INTEGR CARE-PAR SSM             PARMA           OH   44130     HEALTH PLAN       AK2964232     100       200      200                                 167       500

100058933   044041178   KATTERJOHN DRUG STORE         APSC        PADUCAH          KY   42003     INDEPENDENT       AK3010787    3,200     2,000                     12,000             5,733    17,200

100056591   026041236   KAPIOLANI MED CTR PHARMACY S              HONOLULU         HI   96826       HOSPITAL        AK3041960     100                100      200                        133       400

100087546   026003517   KAPIOLANI MED CTR PHARMACY340B            HONOLULU         HI   96826   PHS 340B HOSPITAL   AK3041960               100      100      200                        133       400

100087547   026003525   KAPIOLANI MED CTR PHRMACY /WAC            HONOLULU         HI   96826       HOSPITAL        AK3041960     (100)                                160       80       47       140

100051713   008074773   KAISER FNDN HOS PHAR 60A /P             SACRAMENTO         CA   95823     HEALTH PLAN       AK3056581    3,000     2,000    2,000    6,200    3,000    3,000    3,200    19,200

100051416   008072892   KAISER PERM PHAR 371 /B                 REDWOOD CITY       CA   94063     HEALTH PLAN       AK3120730     300       400      300             42,600   54,800   19,680    98,400

100054038   041009753   KAISER FALLS CHURCH PHCY                FALLS CHURCH       VA   22046     HEALTH PLAN       AK3125564    4,800     3,200    5,200    3,000    5,300    4,000    4,250    25,500

100057625   026041046   KAISER MOANALUA CLINIC/OUTP               HONOLULU         HI   96819     HEALTH PLAN       AK3167396   20,000    15,600   17,000   18,000   21,400    8,400   16,733   100,400

100053902   012091520   KAISER PERM #214-BE691                    SAN DIEGO        CA   92110     HEALTH PLAN       AK3181447               100               100    30,000   32,400   15,650    62,600

100077119   055019968   BOONE DRUG AT KINGSTREET                   BOONE           NC   28607     INDEPENDENT       AK3194103    2,500     2,600    3,500    2,000    2,500    2,000    2,517    15,100
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100104483   055038752   BOONE DRUG AT KING ST (340B)                 BOONE           NC   28607    PHS 340B CLINIC    AK3194103              100      500                                  300       600

100065985   023065110   KEANSBURG DRUGS (Z)                        KEANSBURG         NJ   07734     INDEPENDENT       AK3221140    9,100    8,600   18,900    2,500    5,600     5,500    8,367    50,200

100056506   038065789   KAISER PERM-SOUTHWEST                       LITTLETON        CO   80123     HEALTH PLAN       AK3295082   23,300   24,000    4,000     500     1,100    18,600   11,917    71,500

100090024   032143255   OREGON STATE HOSPITAL PORTLAND              PORTLAND         OR   97232       HOSPITAL        AK3309146                       100                                  100       100

100055882   026049304   KAUAI VETERANS MEMORIAL HOSP                 WAIMEA          HI   96796       HOSPITAL        AK3312600     300      400      300      600                200      360      1,800

100054226   038053264   WESTSIDE NBRHD HLTH CTR 340B                 DENVER          CO   80204    PHS 340B CLINIC    AK3360904   27,200   35,800   26,600   30,400   28,600    23,700   28,717   172,300

100105107   044219816   KIRKS PHARMACY APSC                       CHRISTOPHER        IL   62822     INDEPENDENT       AK3760407     100     2,600    2,100    3,700    2,300     3,000    2,300    13,800

100058940   044041368   KEY DRUGS             CPA                 POPLAR BLUFF       MO   63901     INDEPENDENT       AK3768922   29,800   48,700   52,600   39,700   23,160    46,700   40,110   240,660

100057487   019300574   KENOSHA MEDICAL CENTER CAMPUS               KENOSHA          WI   53143       HOSPITAL        AK4051049     700     1,350    1,000    1,000    1,800      300     1,025     6,150

100075060   038101238   CMHI FORT LOGAN PHARMACY                     DENVER          CO   80236       HOSPITAL        AK4166256                                         500                500       500

100068387   021146076   KOSSUTH REGIONAL HLTH CTR                    ALGONA          IA   50511       HOSPITAL        AK5387065     900      600      600      400      300       460      543      3,260

100101379   021172080   KOSSUTH REGIONAL HLTH CTR 340B               ALGONA          IA   50511       HOSPITAL        AK5387065                       100      100                         100       200

100054890   018093880   K & S DRUGS INC                            WINNSBORO         LA   71295     INDEPENDENT       AK5817284                               2,000                       2,000     2,000

100076543   021041780   KOERNER-WHIPPLE PHCY            CPA         HAMPTON          IA   50441     INDEPENDENT       AK5852872    8,000    9,000    7,900    7,500    8,500     8,000    8,150    48,900

100071304   010140038   FRANKFORT REG MED CTR           #712       FRANKFORT         KY   40601       HOSPITAL        AK5979743    1,050    1,300    1,500    1,300    2,140      840     1,355     8,130

100053099   024035857   KAISER I-P #305-33 RM 2081                LOS ANGELES        CA   90034     HEALTH PLAN       AK6149872    2,500    2,300    3,500    4,000     840      1,100    2,373    14,240

100053354   024036053   KAISER FDN HOSP PHCY 1ST FLOOR            LOS ANGELES        CA   90034     HEALTH PLAN       AK6149884                                       81,600    87,600   84,600   169,200

100074242   055027300   KINSTON CLINIC N PHCY                       KINSTON          NC   28501     INDEPENDENT       AK6499431    9,000    9,200   15,000   11,600   22,900    13,000   13,450    80,700

100056290   032055889   KAISER FND HOSP SSIP +                     CLACKAMAS         OR   97015     HEALTH PLAN       AK6618803    2,000    4,500    4,700   15,100    1,700              5,600    28,000

100057883   026049510   KONA HOSPITAL (PHS)                        KEALAKEKUA        HI   96750   PHS 340B HOSPITAL   AK6673316    1,000    1,700    1,700    1,900     480      1,060    1,307     7,840

100094336   026004283   KONA COMMUNITY HOSPITAL WAC                KEALAKEKUA        HI   96750       HOSPITAL        AK6673316                                         900       160      530      1,060

100055883   026049502   KONA COMMUNITY HOSPITAL                    KEALAKEKUA        HI   96750       HOSPITAL        AK6673316                                100                 80       90       180

100059687   019027706   KEOKUK AREA HOSPITAL                         KEOKUK          IA   52632       HOSPITAL        AK6708474     400      400      300      300      560                392      1,960

100053898   012091454   KAISER HOSP #202 OP-BE691                   SAN DIEGO        CA   92120     HEALTH PLAN       AK6750081                       200             89,500    87,700   59,133   177,400

100053792   017086140   KENDRICK PHARMACY                           GOODING          ID   83330     INDEPENDENT       AK6844383    7,800    7,300    6,800    7,900    4,400     7,900    7,017    42,100

100051707   008074492   KAISER FNDN HOS PHAR 393 /B                SAN RAFAEL        CA   94903     HEALTH PLAN       AK6853685     700     1,300    1,600    1,500   51,000    45,700   16,967   101,800

100056817   021036657   KELLER PHCY           SF                     PONCA           NE   68770     INDEPENDENT       AK6913380    1,000    1,200     800     1,100     600      2,200    1,150     6,900

100052683   020055335   KARE DRUG #4 - BLOOMFIELD                  BLOOMFIELD        NM   87413     INDEPENDENT       AK7013826    7,600   10,500   14,500   16,000   (1,000)    4,000    8,600    51,600

100056603   026044552   KAISER LAHAINA CLINIC PHCY                   LAHAINA         HI   96761     HEALTH PLAN       AK7183510   10,800   14,400   19,000   11,200    2,400    13,200   11,833    71,000

100051712   008074732   KAISER FNDN HOS PHAR 63A /A                 SAN JOSE         CA   95119     HEALTH PLAN       AK7308340     600     1,800     600     3,000                       1,500     6,000

100051705   008074450   KAISER PERM PHAR 351 /P                SOUTH SAN FRANCISCO   CA   94080     HEALTH PLAN       AK7322807             1,100    1,900    2,600   82,900    70,200   31,740   158,700

100055783   056012781   KENNEDY PHARMACY            (GNP)          STRATFORD         NJ   08084     INDEPENDENT       AK7388691     200      700      300               600       200      400      2,000

100056436   038065722   KAISER PERM-LAKEWOOD                       LAKEWOOD          CO   80226     HEALTH PLAN       AK7676678   32,100   25,300    1,300   18,500    1,200    23,700   17,017   102,100

100056338   038083063   KAISER PERM-LAKEWOOD SATELL                LAKEWOOD          CO   80226     HEALTH PLAN       AK7676678   17,300   18,100    3,800     300     1,700     5,200    7,733    46,400

100056431   038065664   KAISER PERM-EAST DENVER                      DENVER          CO   80247     HEALTH PLAN       AK7676680   34,300   28,100    7,500   20,300    1,600    26,000   19,633   117,800

100056507   038065797   KAISER PERM-WESTMINSTER                   WESTMINSTER        CO   80234     HEALTH PLAN       AK7676692   50,400   42,500   11,600   27,500     100     48,000   30,017   180,100

100056433   038065680   KAISER PERM-FRANKLIN EAST                    DENVER          CO   80205     HEALTH PLAN       AK7676705   23,600   19,100     300      300              14,600   11,580    57,900

100092029   038105890   KAISER PERM FRANKLIN SATELL                  DENVER          CO   80205     HEALTH PLAN       AK7676705                                300                100      200       400

100051573   008072611   KAISER PERM PHAR 551       /P               ANTIOCH          CA   94509     HEALTH PLAN       AK7705277     600      400      600      200    49,800    57,300   18,150   108,900

100054339   012035303   KAISER PERM #152 PHCY                    SAN BERNARDINO      CA   92404     HEALTH PLAN       AK7757923                       300             45,300    56,400   34,000   102,000

100056288   032055822   KAISER PHCY BEAVERTON                      BEAVERTON         OR   97005     HEALTH PLAN       AK7799034    2,400    3,400    4,000     100     3,100     3,700    2,783    16,700

100053694   024036657   KAISER PERM O-P #402                     WOODLAND HILLS      CA   91367     HEALTH PLAN       AK7824863                                       12,800    16,200   14,500    29,000

100054000   012034009   KAISER 101 INPAT                           HARBOR CITY       CA   90710     HEALTH PLAN       AK7934501    1,700    2,800    2,800             3,500      600     2,280    11,400

100053130   012049304   KAISER 502 1ST PHCY                         RIVERSIDE        CA   92505     HEALTH PLAN       AK7935604                                       80,400    92,400   86,400   172,800
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100053620   024036467   KAISER PERM #557                    WEST COVINA    CA   91790      HEALTH PLAN       AK7935666     200               400      200     29,600    18,900    9,860    49,300

100053361   024036202   KAISER PERM #005                    LOS ANGELES    CA   90027      HEALTH PLAN       AK7935680     200      100      100              20,000    15,600    7,200    36,000

100053900   012091496   KAISER PERM #206-BE691               SAN DIEGO     CA   92111      HEALTH PLAN       AK8142630                                        51,600    60,400   56,000   112,000

100055275   032056457   KAISER PERM MT SCOTT +              CLACKAMAS      OR   97015      HEALTH PLAN       AK8220282    3,800    4,100    7,700    4,200     9,800    10,100    6,617    39,700

100055268   032056242   KAISER EAST MAIN INTERSTATE          PORTLAND      OR   97227      HEALTH PLAN       AK8322733    2,300    3,500    3,000   12,900     2,500     3,700    4,650    27,900

100053899   012091470   KAISER PERM #201-BE691                BONITA       CA   91902      HEALTH PLAN       AK8497643     200               100              68,900    43,200   28,100   112,400

100051557   008072256   KAISER PERM PHAR 162 /A              FREMONT       CA   94538      HEALTH PLAN       AK8512255                                        21,200     4,800   13,000    26,000

100105781   010236257   HEALTHSPAN INTEGRTD CARE -BED        BEDFORD       OH   44146      HEALTH PLAN       AK8606317    4,700    4,100    5,300    5,100     6,700     3,200    4,850    29,100

100101152   026004333   PLAZA PHARMACY                       HONOLULU      HI   96817       HOSPITAL         AK8656386    3,600    6,100    4,900    3,500     7,600     5,400    5,183    31,100

100105786   010236307   HEALTHSPAN INTEGRTD CARE-RK RV      ROCKY RIVER    OH   44116      HEALTH PLAN       AK8856671    2,200    2,300    2,900    3,400     8,200              3,800    19,000

100107354   021174219   CROWN PHARMACY CPA                     PELLA       IA   50219     INDEPENDENT        AK8895318    4,500    4,200    3,400    4,300     6,000     1,800    4,033    24,200

100051408   008072777   KAISER PERM PHAR 632 /A              SAN JOSE      CA   95119      HEALTH PLAN       AK8895609                       100              22,700    28,200   17,000    51,000

100054761   010045005   KUNKEL PHARMACEUTICALS, INC          CINCINNATI    OH   45255     INDEPENDENT        AK8992554                        30                                    30        30

100054342   012035451   KAISER PERM #160 PHCY               CLAREMONT      CA   91711      HEALTH PLAN       AK9021813                                        43,600    29,400   36,500    73,000

100055955   026049718   KWAJALEIN HOSPITAL                  HICKAM AFB     HI   96853   HOSPITAL (FEDERAL)   AK9101065     800                        500                          650      1,300

100055166   012035907   KAISER 355 OP LKVW                   ANAHEIM       CA   92807      HEALTH PLAN       AK9217236     100                                46,300    56,400   34,267   102,800

100051463   008073379   KAISER PERM PHAR 591 /G              ROSEVILLE     CA   95678      HEALTH PLAN       AK9245374    1,500    5,300    1,600    2,000   104,900   132,200   41,250   247,500

100069828   041122804   FAIRFAX SURGERY CENTER      #712      FAIRFAX      VA   22030       HOSPITAL         AK9427748              100      100                100                100       300

100105783   010236273   HEALTHSPAN INTEGRTD CARE -WILL      WILLOUGHBY     OH   44094      HEALTH PLAN       AK9489027    7,000    5,500    4,200    5,700    11,900     9,800    7,350    44,100

100087969   021166314   KNOXVILLE AREA COMMUNITY HOSP        KNOXVILLE     IA   50138       HOSPITAL         AK9653963     100               400      200       200       240      228      1,140

100088456   021010132   KNOXVILLE AREA COMM HOSP 340B        KNOXVILLE     IA   50138   PHS 340B HOSPITAL    AK9653963     100      100      100                                   100       300

100053623   024036509   KAISER PERM #259                   PANORAMA CITY   CA   91402      HEALTH PLAN       AK9707083                                         2,000     2,200    2,100     4,200

100064712   044072181   LEWIS DRUG STORE LLC       SF        ROSEDALE      MS   38769     INDEPENDENT        AL0224648    1,300     400     1,700    1,300      400      1,000    1,017     6,100

100087025   024139295   AURORA LAS ENCINAS PHCY              PASADENA      CA   91107       HOSPITAL         AL0283919     400      800      400     1,000      160       400      527      3,160

100072416   055032458   LEXINGTON MEDICAL CENTER           WEST COLUMBIA   SC   29169       HOSPITAL         AL0351534    7,900    8,200   10,100    7,000     9,100    10,320    8,770    52,620

100072415   055032490   LEXINGTON MED CTR (SATURDAY)       WEST COLUMBIA   SC   29169       HOSPITAL         AL0351534                                500                          500       500

100064481   052041301   LINGERFELT PHARMACY INC            ELIZABETHTON    TN   37643     INDEPENDENT        AL0397415    4,100   10,100    9,500    5,100     8,000     6,000    7,133    42,800

100066731   052056549   LONGS DRUG STORE INC       SF        KNOXVILLE     TN   37919     INDEPENDENT        AL0407456    5,000    3,000    4,730    9,300     1,700     4,100    4,638    27,830

100068942   004155135   LAKES REGION GENERAL HOSP(X)          LACONIA      NH   03246       HOSPITAL         AL0443161     600      800      500      600       400       700      600      3,600

100087613   052173286   EAST AL HEALTH CARE AUTH(340B)        OPELIKA      AL   36801   PHS 340B HOSPITAL    AL0480311    5,600    6,000    5,300    6,800     7,400     3,800    5,817    34,900

100064083   052029751   EAST ALABAMA HEALTHCARE AUTH @        OPELIKA      AL   36801       HOSPITAL         AL0480311    3,800    3,700    4,300    3,200      880       500     2,730    16,380

100096333   052114199   EAST ALABAMA HLTHCR AU(WAC)           OPELIKA      AL   36801   PHS 340B HOSPITAL    AL0480311                               1,000     4,480     1,600    2,360     7,080

100067129   052094755   EAST ALABAMA HEALTHCARE AU PHS        OPELIKA      AL   36801   PHS 340B HOSPITAL    AL0480311     600      800      800      700       960       300      693      4,160

100054397   056001628   LANCASTER GENERAL HOSP              LANCASTER      PA   17602       HOSPITAL         AL0589501    2,900    2,800    2,800    2,200     1,540     1,540    2,297    13,780

100060607   023064501   LANCASTER GENERAL HOSPITAL          LANCASTER      PA   17602       HOSPITAL         AL0589501                                600                          600       600

100071583   041140400   LEWIS-GALE MEDICAL CENTER #712         SALEM       VA   24153       HOSPITAL         AL0637465    3,000    2,600    3,500    2,600     3,640     2,920    3,043    18,260

100057755   037087254   LA HACIENDA         %                SAN DIEGO     TX   78384     INDEPENDENT        AL0959873    8,200    7,800    8,600    7,500    14,600              9,340    46,700

100090150   032144014   LINCOLN HOSPITAL                    DAVENPORT      WA   99122       HOSPITAL         AL0998394     100      800      200      400                  80      316      1,580

100068590   040143628   LEE-KING PHARMACY         CPA         NEWNAN       GA   30263     INDEPENDENT        AL1174907   10,200    8,500   19,800    7,600    16,100     4,500   11,117    66,700

100068493   040143529   LACEY DRUG CO INC        CPA         ACWORTH       GA   30101     INDEPENDENT        AL1195242    6,500    8,700    9,000    9,300     8,200     9,500    8,533    51,200

100062323   021001388   LINDSBORG COMMUNITY HOSP            LINDSBORG      KS   67456       HOSPITAL         AL1295460              100               300       160       160      180       720

100063047   021002253   LAWRENCE MEMORIAL HOSPITAL           LAWRENCE      KS   66044       HOSPITAL         AL1300160    1,700    2,300    2,100    2,600     1,900     2,160    2,127    12,760

100062321   021001362   LANE COUNTY HOSPITAL                 DIGHTON       KS   67839       HOSPITAL         AL1303267              100               100                          100       200

100058781   021038455   LABETTE HEALTH                       PARSONS       KS   67357       HOSPITAL         AL1303801     700     1,400     700     1,800      800       600     1,000     6,000
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100062329   021001446   LOGAN COUNTY HOSPITAL                    OAKLEY        KS   67748       HOSPITAL        AL1312482      200       100       200                   260                190         760

100087719   018199653   MERCY HOSP LOGAN COUNTY, INC.           GUTHRIE        OK   73044       HOSPITAL        AL1393800      100       100       400                   300                225         900

100087794   032140822   OSBURN DRUG                              OSBURN        ID   83849     INDEPENDENT       AL1618719     8,000     7,500     5,500     8,500      5,500     6,000     6,833     41,000

100057795   056012096   FULTON COUNTY MEDICAL CTR            MCCONNELLSBURG    PA   17233       HOSPITAL        AL1708998     2,500     1,000     1,900     2,400      1,500     2,480     1,963     11,780

100058998   049033506   LUEA PHCY, INC         SF             SWARTZ CREEK     MI   48473     INDEPENDENT       AL1888037      700       800       900      1,100      8,500     2,400     2,400     14,400

100084551   008059055   LODI MEMORIAL HOSP(INPATIENT)             LODI         CA   95241       HOSPITAL        AL2031209     2,300     2,400     3,000     4,100        600     2,200     2,433     14,600

100059789   041058388   FIBUS DRUG STORE INC         B08       BALTIMORE       MD   21216     INDEPENDENT       AL2326545                100                 300                  100       167         500

100059790   041058396   FIBUS ALTERNATE CARE         B08       BALTIMORE       MD   21216     INDEPENDENT       AL2326545                                                         200       200         200

100053882   041010207   LAWRENCE PHARMACY (EPIC) R59           CHESAPEAKE      VA   23323     INDEPENDENT       AL2352968    24,920    31,600    25,800    24,300     26,630    21,800    25,842    155,050

100058540   041045484   SENTARA/VHA LEIGH PHCY        R51       NORFOLK        VA   23502       HOSPITAL        AL2494324     2,200     1,700     2,800      700       2,600     2,500     2,083     12,500

100109934   041154732   SENTARA LEIGH HOSPITAL                  NORFOLK        VA   23502       HOSPITAL        AL2494324                                   1,400      1,100     2,900     1,800      5,400

100059499   010098962   L B CLINIC PHARMACY         APSC      CORNETTSVILLE    KY   41731     INDEPENDENT       AL2554485    11,300    11,300    13,000    11,600     15,500     7,600    11,717     70,300

100068589   040143610   LEE GOODRUM PHCY: NEWNAN CPA            NEWNAN         GA   30263     INDEPENDENT       AL2634132    20,500    16,800     2,300    11,800     14,500    17,100    13,833     83,000

100058194   041065706   WESTWOOD PHARMACY(X)           843      RICHMOND       VA   23226     INDEPENDENT       AL2680230     2,000     1,500     2,600     1,600      1,200     1,500     1,733     10,400

100059422   010098806   ARCHER CLINIC PHARMACY        APSC    PRESTONSBURG     KY   41653     INDEPENDENT       AL2753754     8,100    11,100    11,700     5,900     13,100    11,200    10,183     61,100

100055267   032056150   KAISER LONGVIEW PHCY                    LONGVIEW       WA   98632     HEALTH PLAN       AL2863810     4,800     4,800     4,900                6,500     6,600     5,520     27,600

100069926   046126466   LINCOURT PHARMACY RETAIL               CLEARWATER      FL   33756     INDEPENDENT       AL2905947    10,300    13,500    10,000    12,700     13,800    13,800    12,350     74,100

100072030   046114546   LINCOURT PHARMACY (WHOLESALE)          CLEARWATER      FL   33756     INDEPENDENT       AL2905947                          100                                      100         100

100062394   021000521   LESTER E COX MED CTR STH               SPRINGFIELD     MO   65807       HOSPITAL        AL2998889     3,800     4,900     5,500     3,200      2,280     1,760     3,573     21,440

100090926   021167692   LESTER E COX MED CTR S CO1 GPO         SPRINGFIELD     MO   65807       HOSPITAL        AL2998889     4,000     5,500     5,100     4,500                          4,775     19,100

100058945   021033803   LESTER E COX MED CTR STH PHS           SPRINGFIELD     MO   65807   PHS 340B HOSPITAL   AL2998889     1,800     2,000     1,800     1,400        700     1,860     1,593      9,560

100090927   021167700   LESTER E COX MED CTR S CO2 GPO         SPRINGFIELD     MO   65807       HOSPITAL        AL2998889     2,600     1,300     1,000     1,000                          1,475      5,900

100096701   021077958   LESTER COX MED CTR STH WAC             SPRINGFIELD     MO   65807   PHS 340B HOSPITAL   AL2998889                                    600       3,240     1,460     1,767      5,300

100073894   021101774   LESTER E COX MED CTR SOUTH             SPRINGFIELD     MO   65807       HOSPITAL        AL2998889               2,100               1,500                          1,800      3,600

100050888   018030460   PHARMERICA (GRND PRARIE)              GRAND PRAIRIE    TX   75050   LONG TERM CARE      AL3103429   164,200   150,100   156,400   261,600   1,410,000            428,460   2,142,300

100052367   017060822   ORCHARD DRUG                         NORTH SALT LAKE   UT   84054     INDEPENDENT       AL3130604      500      1,000               6,000      2,000               2,375      9,500

100096853   055037747   LENOIR MEMORIAL HOSP INC(WAC)            KINSTON       NC   28501       HOSPITAL        AL3170812      100       200       260       610       1,800                594       2,970

100074835   055042978   LENOIR MEMORIAL HOSPITAL INC             KINSTON       NC   28501       HOSPITAL        AL3170812      300       100       200       460                            265       1,060

100077027   055045344   LENOIR MEMORIAL HOSP INC(340B)           KINSTON       NC   28501   PHS 340B HOSPITAL   AL3170812      200       200       390       150                            235         940

100071651   018144329   LARRY'S REXALL PHARMACY        CPA     EL DORADO       AR   71730     INDEPENDENT       AL3213799     2,600     4,100     3,900     8,400      2,100               4,220     21,100

100070405   018144394   MEDISAV HOMECARE PHCY INC CPA          CHARLESTON      AR   72933     INDEPENDENT       AL3216896    11,900     9,500    12,800    10,900      5,700    11,300    10,350     62,100

100066881   018061374   LAWRENCE MEMORIAL HOSPITAL            WALNUT RIDGE     AR   72476       HOSPITAL        AL3218989      300       100       100                                      167         500

100067468   018060178   LEO N LEVI MEMORIAL HOSPITAL           HOT SPRINGS     AR   71901       HOSPITAL        AL3221380      300       200                             900      200       400       1,600

100055794   056013110   LIPKIN'S PHARMACY(Z)    (GNP)          BROOKLAWN       NJ   08030     INDEPENDENT       AL3223295     1,800     1,700     2,000     1,100      1,000     2,500     1,683     10,100

100067891   020145003   LOS ALAMOS MEDICAL CENTER #712         LOS ALAMOS      NM   87544       HOSPITAL        AL3247663                150       150       200                  240       185         740

100054668   017011262   STAR VALLEY MEDICAL CENTER               AFTON         WY   83110       HOSPITAL        AL3259276      300       200       400       700                  240       368       1,840

100057288   052027334   NOXUBEE GENERAL HOSPITAL                 MACON         MS   39341       HOSPITAL        AL3284801      600       400       650       100       1,100                570       2,850

100096655   052114488   NOXUBEE GEN HOSP (340B                   MACON         MS   39341       HOSPITAL        AL3284801                          400       200                            300         600

100084630   037116103   LADY OF THE SEA 340B                     CUT OFF       LA   70345   PHS 340B HOSPITAL   AL3390616      300       400       300       800         200      800       467       2,800

100050932   037072520   LADY OF THE SEA                          CUT OFF       LA   70345       HOSPITAL        AL3390616      550       200       600       300         560      500       452       2,710

100067266   037125369   LANE REGIONAL MEDICAL CENTER            ZACHARY        LA   70791       HOSPITAL        AL3420887     1,600     2,300     2,050     1,550      1,580     1,640     1,787     10,720

100089644   024115352   CALIFORNIA MED CTR                     LOS ANGELES     CA   90015       HOSPITAL        AL3458937     3,500     3,900     3,000     2,200      4,500     3,500     3,433     20,600

100089643   024070813   CALIFORNIA MED CTR 340B                LOS ANGELES     CA   90015   PHS 340B HOSPITAL   AL3458937      700      1,000     1,000      700                            850       3,400

100096604   024116533   CALIFORNIA MED CTR WAC                 LOS ANGELES     CA   90015   PHS 340B HOSPITAL   AL3458937                200                 800       1,000                667       2,000
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100111281   012002122   LOMA LINDA UNIV HSP PHCY WAC          LOMA LINDA     CA   92354       HOSPITAL         AL3458949                                                 6,900    6,900     6,900

100055010   012042432   *LOMA LINDA UNIVERSITY                LOMA LINDA     CA   92354       HOSPITAL         AL3458949                      2,400                               2,400     2,400

100090223   044193854   LOURDES HOSPITAL PHCY EMP              PADUCAH       KY   42003       HOSPITAL         AL3533002    3,700    4,400    3,500    7,000     600     2,700    3,650    21,900

100090222   044193847   LOURDES HOSPITAL PHCY                  PADUCAH       KY   42003       HOSPITAL         AL3533002    2,400    2,600    3,200    4,100     200     1,700    2,367    14,200

100063963   019002576   LA RABIDA CHILDREN'S HOSP I/P          CHICAGO       IL   60649       HOSPITAL         AL3693529              200      100      200      240               185       740

100061815   021039768   LESTER E COX MED CTR & PHCY          SPRINGFIELD     MO   65802   PHS 340B HOSPITAL    AL3819464     500      600      600      500      160      560      487      2,920

100062392   021000505   LESTER E COX MED CTR &               SPRINGFIELD     MO   65802       HOSPITAL         AL3819464     300      200      300      100                        225       900

100101168   021172023   LESTER E COX MED CTR & WAC           SPRINGFIELD     MO   65802   PHS 340B HOSPITAL    AL3819464                                         740               740       740

100105066   019182113   LORETTO HOSPITAL PHCY WAC              CHICAGO       IL   60644   PHS 340B HOSPITAL    AL3861297     100      500      300      200      200               260      1,300

100105064   019182097   LORETTO HOSPITAL PHARMACY              CHICAGO       IL   60644       HOSPITAL         AL3861297                                100      620      100      273       820

100063973   019002725   LITTLE COMPANY OF MARY HOSP         EVERGREEN PARK   IL   60805       HOSPITAL         AL3892355                                750                        750       750

100092924   019161539   GUNDERSEN LUTHERAN I/P WAC            LA CROSSE      WI   54601       HOSPITAL         AL3925748    1,200    2,800    4,050    3,400    2,760    2,840    2,842    17,050

100087567   019150318   GUNDERSEN LUTHERAN MED CTR I/P        LA CROSSE      WI   54601       HOSPITAL         AL3925748    1,800     200                                         1,000     2,000

100056512   038067025   WESTERN DRUG-SIDNEY           SF        SIDNEY       NE   69162     INDEPENDENT        AL4002933    6,700    5,700    6,300   13,800    1,600    5,100    6,533    39,200

100090336   038105205   WESTERN DRUG 340B                       SIDNEY       NE   69162        ALT SITE        AL4002933    1,200    1,500    1,000     500                       1,050     4,200

100087770   021166033   THE PILL BOX                           NORFOLK       NE   68701       HOSPITAL         AL4004432    3,000    4,100    5,900    6,300    9,200    7,400    5,983    35,900

100063040   021002188   FAITH REGIONAL HEALTH SRVS             NORFOLK       NE   68701       HOSPITAL         AL4004432    2,100    1,800    2,300    2,800    2,080    2,040    2,187    13,120

100061514   019028175   IOWA MEDICAL & CLASS CTR              CORALVILLE     IA   52241        ALT SITE        AL4045971     300     1,200     600     1,000    2,100     300      917      5,500

100090844   044193920   LINCOLN CO MEM HOSP PHCY                 TROY        MO   63379       HOSPITAL         AL4079186              200      200      300      320               255      1,020

100091014   044210773   LINCOLN CO MEM HOSP PHCY 340B            TROY        MO   63379   PHS 340B HOSPITAL    AL4079186     200      400                                          300       600

100061498   023012997   LENOX HILL HOSP                       NEW YORK       NY   10075       HOSPITAL         AL4088604     600      200               400       80      230      302      1,510

100073860   055090167   NAVAL HOSP CAMP LEJEUNE NC           CAMP LEJEUNE    NC   28547   HOSPITAL (FEDERAL)   AL4148412   31,400   14,000   24,400   16,200   33,900   27,200   24,517   147,100

100051208   018034991   LOUIS MORGAN DRUGS #1                 LONGVIEW       TX   75602     INDEPENDENT        AL4926068   34,500   38,300   35,100   47,600   35,500   17,200   34,700   208,200

100054925   018071126   LOUIS MORGAN DRUGS #1 (PHS)           LONGVIEW       TX   75602    PHS 340B CLINIC     AL4926068                       100      200                        150       300

100054078   012034751   LBJ TROPICAL MED CTR                  PAGO PAGO      AS   96799       HOSPITAL         AL4982472     400      600      400      400      300      600      450      2,700

100066114   018078220   LEONARD PHARMACY INC                   LEONARD       TX   75452     INDEPENDENT        AL5062310   14,000   16,000   13,400   15,100   13,400   10,100   13,667    82,000

100092826   018396267   LOUIS MORGAN DRUG NO 4 CPA            LONGVIEW       TX   75601     INDEPENDENT        AL5417844   28,400   17,100   45,800     100     7,000   34,800   22,200   133,200

100065161   018080416   MERCY HEALTH - LOVE COUNTY             MARIETTA      OK   73448       HOSPITAL         AL5474488     700      600              1,600                       967      2,900

100090079   018236935   MERCY HEALTH-LOVE COUNTY 340B          MARIETTA      OK   73448       HOSPITAL         AL5474488                                300                        300       300

100060474   019086710   LOGANSPORT STATE HOSP MMCAP          LOGANSPORT      IN   46947       HOSPITAL         AL5498212     100      300      200      100               100      160       800

100059269   041052183   *RESTON LAKESIDE PHARM        B20       RESTON       VA   20190     INDEPENDENT        AL5520843     900     1,000    1,200     500                        900      3,600

100077022   055049338   LAUREL MEDICAL CENTER(340B)           MARSHALL       NC   28753    PHS 340B CLINIC     AL5550947    1,300    1,800     900     1,600     500     1,300    1,233     7,400

100071986   037143099   LOS EBANOS PHARMACY           CPA    BROWNSVILLE     TX   78520     INDEPENDENT        AL5672616    2,000    2,100    2,500    3,000    2,000    1,000    2,100    12,600

100085242   025068551   LAKEVIEW PHCY            SF            PHILLIPS      WI   54555     INDEPENDENT        AL5694422    5,000    6,000    4,000    4,100    8,500    4,000    5,267    31,600

100062589   021001685   LIBERTY HOSPITAL PHARMACY               LIBERTY      MO   64068       HOSPITAL         AL5852670    3,400    5,000    4,200    7,600    1,000    3,120    4,053    24,320

100058660   044042341   L & S DISC PHCY                      CHARLESTON      MO   63834     INDEPENDENT        AL6837744   31,400   33,400   26,000   39,200   48,000   10,700   31,450   188,700

100070322   017140079   LAKEVIEW HOSPITAL         #712        BOUNTIFUL      UT   84010       HOSPITAL         AL7101570    1,200    1,550     700     1,700     940     1,300    1,232     7,390

100057590   037086868   LAVACA MEDICAL CENTER                HALLETTSVILLE   TX   77964       HOSPITAL         AL7520097     100      100      200      500               200      220      1,100

100071580   046141176   LAWNWOOD MEDICAL CENTER #712         FORT PIERCE     FL   34950       HOSPITAL         AL7892169    1,100     800     1,100    1,500     500      640      940      5,640

100061216   037102095   LSU VET HOSP & CLINIC                BATON ROUGE     LA   70803      ALT CHANNEL       AL8604351              400                                 800      600      1,200

100056132   032040212   LUMMI PHS INDIAN HLTH CTR             BELLINGHAM     WA   98226    PHS 340B CLINIC     AL8917493    7,000    7,000    7,000   11,000    6,200    5,000    7,200    43,200

100062510   021001511   LINCOLN COUNTY HOSPITAL                LINCOLN       KS   67455       HOSPITAL         AL9067679     100      100               100               200      125       500

100072203   018092684   LARRY'S PHARMACY                       SULPHUR       OK   73086     INDEPENDENT        AL9136880             1,000      -      9,100             3,500    3,400    13,600

100054570   017049940   LONDON DRUG         /G                  GRACE        ID   83241     INDEPENDENT        AL9150448    2,000    1,000    3,500    9,000             2,500    3,600    18,000
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100062820   010099333   LEX FAYETTE CTY HLTH DEPT 340B       LEXINGTON      KY   40508    PHS 340B CLINIC    AL9206334    1,900    3,600    3,100    4,200    4,500             3,460    17,300

100061618   010109728   LEX FAYETTE CTY HLTH DEPT MWF        LEXINGTON      KY   40508       ALT SITE        AL9206334    1,400     900      200      100                        650      2,600

100092894   018396283   LOUIS MORGAN DRUGS #5 INC CPA         OVERTON       TX   75684     INDEPENDENT       AL9317923    4,000    4,000    2,500    1,100   10,000    6,000    4,600    27,600

100087704   019150938   PRENTICE WOMENS HOSPITAL              CHICAGO       IL   60611       HOSPITAL        AL9424766                       100                                 100       100

100057688   046001891   BROWNING'S PHARMACY & HEALTH         MELBOURNE      FL   32901     INDEPENDENT       AM0141995     400     1,900    1,500    1,100    1,600     500     1,167     7,000

100067154   046039016   MORTON PLANT HOSP PHCY              CLEARWATER      FL   33756       HOSPITAL        AM0176645    5,400    5,000    4,000    5,400    5,640    5,300    5,123    30,740

100086458   046037895   MERCY HOSP, A CAMPUS OF #712            MIAMI       FL   33133       HOSPITAL        AM0184818     200      100      200      100      200               160       800

100057415   046001586   MULBERRY PHARMACY, INC               MULBERRY       FL   33860     INDEPENDENT       AM0192992    9,600    8,500    7,800   12,900    9,700   13,000   10,250    61,500

100056332   046005314   MEMORIAL REG OUTPATIENT PHS          HOLLYWOOD      FL   33021   PHS 340B HOSPITAL   AM0208214    3,300    2,200    2,300    2,000    4,800    3,900    3,083    18,500

100053250   046000372   MEMORIAL REGIONAL PREMIER            HOLLYWOOD      FL   33021       HOSPITAL        AM0208214     500      700      700     1,000     960     1,000     810      4,860

100056499   046005322   MEMORIAL REGIONAL HOSPITAL PHS       HOLLYWOOD      FL   33021   PHS 340B HOSPITAL   AM0208214     300      400      300      400                        350      1,400

100096930   046044230   MEMORIAL REG OUTPATIENT WAC          HOLLYWOOD      FL   33021       HOSPITAL        AM0208214     200               100                                 150       300

100057210   052027151   MOSBY DRUG STORE         SF            CANTON       MS   39046     INDEPENDENT       AM0227252    1,600    3,000    3,000    4,800    4,500     500     2,900    17,400

100087876   052173534   MEDICAL CENTER PHARMACY(340B)         PICAYUNE      MS   39466    PHS 340B CLINIC    AM0228519     100               100                                 100       200

100057207   052027110   MCGUFFEE'S DRUG STORE         SF    MENDENHALL      MS   39114     INDEPENDENT       AM0231883    5,000    5,600    6,500    6,000    3,500             5,320    26,600

100087760   052173435   MCGUFFEE'S DRUG STORE 340B          MENDENHALL      MS   39114   PHS 340B HOSPITAL   AM0231883    1,100    3,000    2,100    1,500                      1,925     7,700

100062167   052048124   MIZELL-MEMORIAL-HOSPITAL                OPP         AL   36467       HOSPITAL        AM0362664     300      200      300      100      560      400      310      1,860

100083370   040097410   MEDICAL ARTS PHCY, INC CPA          MILLEDGEVILLE   GA   31061     INDEPENDENT       AM0383694   10,000   12,500    6,500   15,100   12,700   13,000   11,633    69,800

100057301   052300012   MEMORIAL HOSPITAL PHARMACY          CHATTANOOGA     TN   37404       HOSPITAL        AM0388353    4,050    4,800    4,600    4,650    4,400    3,400    4,317    25,900

100064601   041092536   MARY WASHINGTON HOSPITAL V07       FREDERICKSBURG   VA   22401       HOSPITAL        AM0634104    1,200    2,000    2,200    2,700    2,200    2,500    2,133    12,800

100059080   041078204   MARYVIEW HOSPITAL (I/P) R64         PORTSMOUTH      VA   23707       HOSPITAL        AM0634255    1,100    1,000    1,500    1,500     520      400     1,003     6,020

100096326   041152710   MARYVIEW HOSPITAL (WAC)             PORTSMOUTH      VA   23707       HOSPITAL        AM0634255     200      200               100     1,800     300      520      2,600

100067534   041113290   MARYVIEW HOSPITAL(340B)             PORTSMOUTH      VA   23707   PHS 340B HOSPITAL   AM0634255              100                                          100       100

100054223   038052506   MED CTR PHCY, INC       SF            BOULDER       CO   80304     INDEPENDENT       AM0841103    2,500    4,500    5,300    1,200    6,300     700     3,417    20,500

100054526   037087585   MOORE'S PHARMACY                       SINTON       TX   78387     INDEPENDENT       AM0931382   24,700   28,800   23,300   25,100   18,400   33,600   25,650   153,900

100071873   037135582   MISSION HOSPITAL                      MISSION       TX   78572       HOSPITAL        AM0948604    1,000     900     1,200    1,050     800     1,000     992      5,950

100056495   018031922   CONNALLY MEMORIAL MEDICAL CNTR      FLORESVILLE     TX   78114       HOSPITAL        AM0959784     200      300      500      400      180      180      293      1,760

100053742   026055707   MAUI MEMORIAL HOSP PHARMACY           WAILUKU       HI   96793       HOSPITAL        AM1081986     200     1,900     400     1,400     980      700      930      5,580

100053253   026055715   MAUI MED CENTER - PHS                 WAILUKU       HI   96793   PHS 340B HOSPITAL   AM1081986              800      600     1,700     540      100      748      3,740

100101282   026004366   MAUI MEMORIAL HOSP PHARM WAC          WAILUKU       HI   96793       HOSPITAL        AM1081986     400     1,400                                         900      1,800

100096526   040115246   MEMORIAL HOSP (WAC)                  BAINBRIDGE     GA   39819   PHS 340B HOSPITAL   AM1161796     900      600      900      300      420               624      3,120

100061133   040094441   MEMORIAL HOSP PHS                    BAINBRIDGE     GA   39819   PHS 340B HOSPITAL   AM1161796     300      600      300      200               640      408      2,040

100061134   040069559   MEMORIAL HOSPITAL                    BAINBRIDGE     GA   39819       HOSPITAL        AM1161796     400      300      300      100      200      160      243      1,460

100058271   041031021   MEDICINE STOP PHCY(GNP)      827       UNEEDA       WV   25205     INDEPENDENT       AM1175024   14,500   16,100   12,500   13,100   13,500   13,300   13,833    83,000

100075657   040176206   HAWTHORNE DRUG CO            CPA       ATHENS       GA   30606     INDEPENDENT       AM1178272   16,500   18,500   23,600   12,000   13,700   11,500   15,967    95,800

100056088   040040311   MITCHELL COUNTY HOSPITAL              CAMILLA       GA   31730       HOSPITAL        AM1185619      50       50               300      720      800      384      1,920

100083869   040098319   MITCHELL COUNTY HOSPITAL 340B         CAMILLA       GA   31730   PHS 340B HOSPITAL   AM1185619     400      200      400               600      300      380      1,900

100111039   010001865   MARSH DRUGS #7027/793              WEST LAFAYETTE   IN   47906        CHAIN          AM1227176                                        5,500    4,300    4,900     9,800

100052285   010040691   ADENA REGIONAL MEDICAL CENTER        CHILLICOTHE    OH   45601       HOSPITAL        AM1274478     200      700      800     1,000    1,060     700      743      4,460

100068947   010123356   ADENA REG MC 340B                    CHILLICOTHE    OH   45601   PHS 340B HOSPITAL   AM1274478    1,000     800      600                        600      750      3,000

100075869   010179093   ADENA REG MED CTR O/P - 340B         CHILLICOTHE    OH   45601   PHS 340B HOSPITAL   AM1274478              700                                          700       700

100096558   010233494   ADENA REG MED CTR WAC                CHILLICOTHE    OH   45601   PHS 340B HOSPITAL   AM1274478     100               100               500               233       700

100065024   021021329   MINNEOLA DISTRICT HOSP NOV            MINNEOLA      KS   67865       HOSPITAL        AM1277929     100      300               100      160      100      152       760

100057030   021038463   RAUCH MED-ECON PHCY, INC SF         COFFEYVILLE     KS   67337     INDEPENDENT       AM1290826    4,500    8,000    6,500    8,000    2,900    1,580    5,247    31,480
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100096935   021078188   MERCY HOSP INDEPENDENCE WAC          INDEPENDENCE     KS   67301   PHS 340B HOSPITAL   AM1293771     100                 100       600               100      225        900

100066037   021027086   MERCY HOSPITAL INDEPENDENCE          INDEPENDENCE     KS   67301       HOSPITAL        AM1293771     200       200       100       300                        200        800

100086912   021162511   MERCY HOSP INDEPENDENCE 340B         INDEPENDENCE     KS   67301   PHS 340B HOSPITAL   AM1293771               100       100       100                        100        300

100068596   040143685   MEDI-SAVE PHARMACY          CPA         ALBANY        GA   31701     INDEPENDENT       AM1299660    4,300     5,700     6,100     6,200    3,000    3,700    4,833     29,000

100084720   040101279   *MEDI-SAVE PHARMACY 340B CPA            ALBANY        GA   31701   PHS 340B HOSPITAL   AM1299660     700       (400)     (100)                                 67        200

100065525   021027037   MERCY HOSP PHCY FORT SCOTT            FORT SCOTT      KS   66701       HOSPITAL        AM1300158                        1,100     1,600                      1,350      2,700

100085579   021059485   MAHANNA PHARMACY INC,        CPA         HOXIE        KS   67740     INDEPENDENT       AM1304384    2,000     6,100     3,400     4,000    1,000    2,300    3,133     18,800

100065591   021041707   VIA CHRISTI HOSP PHCY, IP             PITTSBURG       KS   66762       HOSPITAL        AM1308471    1,900     1,600     1,500     1,450    1,600    1,300    1,558      9,350

100083879   021142968   VIA CHRISTI HOSP PITT 340B            PITTSBURG       KS   66762    PHS 340B CLINIC    AM1308471     (100)                                                    (100)      (100)

100065856   021021022   MEDICINE LODGE MEM HOSP NOV         MEDICINE LODGE    KS   67104       HOSPITAL        AM1309043     100        50       250                400      200      200       1,000

100066699   018061473   MYERS PHCY            SF            MAMMOTH SPRING    AR   72554     INDEPENDENT       AM1358298    1,500     3,200     3,800     3,500    3,700    3,000    3,117     18,700

100065494   023018325   MADURA PHARMACY(Z)(GNP)              SOUTH AMBOY      NJ   08879     INDEPENDENT       AM1548239    1,300      900      1,300      800     1,100     400      967       5,800

100057242   021300293   MERCY HOSPITAL OF FRANCISCAN           OELWEIN        IA   50662       HOSPITAL        AM1580821     200       100       100       100      100      180      130        780

100069812   023110437   M&I PHARMACY INC(X)                    BROOKLYN       NY   11203     INDEPENDENT       AM1590606                                   100                        100        100

100056223   032041418   MEDICINE MAN PHARMACY INC            COEUR D'ALENE    ID   83814     INDEPENDENT       AM1605801   11,300    13,800    12,800    15,900   15,200   14,000   13,833     83,000

100107461   032152488   MEDICINE MAN PHMCY INC 340B         COEUR D ALENE     ID   83814    PHS 340B CLINIC    AM1605801    3,500     2,500     1,500     1,500                      2,250      9,000

100096524   017096420   ST ALPHONSUS MED CTR NAMPA WAC          NAMPA         ID   83686       HOSPITAL        AM1618505    1,000     1,350     1,200     1,850                      1,350      5,400

100052358   017054296   ST ALPHONSUS MED CTR NAMPA              NAMPA         ID   83686       HOSPITAL        AM1618505     300       200                 800      400      740      488       2,440

100052418   017090043   ST ALPHONSUS MED CTR NAMPA340B          NAMPA         ID   83686   PHS 340B HOSPITAL   AM1618505                         800                                  800        800

100109905   025092247   MED SAVE FAMILY PHARMACY CPA            BEMIDJI       MN   56601     INDEPENDENT       AM1690672    4,000     3,800     4,100     6,300    1,400    2,900    3,750     22,500

100089320   040113852   MOYE'S DRUG STORE, INC CPA              PELHAM        GA   31779     INDEPENDENT       AM1699860    8,600     5,600     9,900     7,000   12,100    6,500    8,283     49,700

100065617   021003434   *MONROE PHARMACY #2                    LAWSON         MO   64062     INDEPENDENT       AM1761421    4,000                                                    4,000      4,000

100077099   055019638   THE MEDICINE CENTER                      DUNN         NC   28334     INDEPENDENT       AM1781675   16,500    17,200    16,500    15,300   16,220   15,100   16,137     96,820

100066928   055143438   MEDICINE MART W COLUMBIA(X)CPA      WEST COLUMBIA     SC   29169     INDEPENDENT       AM1796931   10,900    17,200     2,900     6,000    6,500   14,300    9,633     57,800

100091999   018314153   MERCY HOSP OF SCOTT COUNT              WALDRON        AR   72958       HOSPITAL        AM1807126     300       100       300       400                        275       1,100

100065669   023028555   ROSEBANK PHARMACY LLC                STATEN ISLAND    NY   10305     INDEPENDENT       AM1857032    1,700     2,300     1,700     2,100    1,600    3,400    2,133     12,800

100075019   055042929   MARGARET R PARDEE HOSP. PHARM.      HENDERSONVILLE    NC   28791       HOSPITAL        AM1888304     500      1,500      200       900     1,120    1,220     907       5,440

100091133   021167734   MYERS PHARMACY                          ALTON         MO   65606     INDEPENDENT       AM1895640    8,000    11,000     8,700     9,800   12,500    8,000    9,667     58,000

100050588   004023234   MILFORD REGIONAL MEDICAL CTR           MILFORD        MA   01757       HOSPITAL        AM1910430    1,800     1,100     1,100     2,000     300     1,200    1,250      7,500

100051299   008035972   MEMORIAL MED CTR PHCY GPO              MODESTO        CA   95355       HOSPITAL        AM2035930    8,300     9,900     6,300      700              1,400    5,320     26,600

100100673   008027425   MEMORIAL MED CTR PHCY WAC              MODESTO        CA   95355   PHS 340B HOSPITAL   AM2035930                                 15,200    1,760    4,000    6,987     20,960

100073683   008066480   MEMORIAL MED CTR PHCY 340B             MODESTO        CA   95355   PHS 340B HOSPITAL   AM2035930               100      1,700                        100      633       1,900

100067104   040063792   MURRAY DRUG CO. INC.                  HOMERVILLE      GA   31634     INDEPENDENT       AM2100585              4,000               1,000    7,600   12,700    6,325     25,300

100096757   004101048   BON SECOURS COM HOSP WAC              PORT JERVIS     NY   12771   PHS 340B HOSPITAL   AM2107515     100       100                 100               100      100        400

100054735   017011304   MEDICAL ARTS PHARMACY                  BOZEMAN        MT   59715     INDEPENDENT       AM2116487    2,100     1,300     2,000     1,600    1,600    1,700    1,717     10,300

100057027   021035766   MATHIS DRUG STORE                       GIRARD        KS   66743     INDEPENDENT       AM2165276    4,900     5,300     4,700     5,500    8,600    2,500    5,250     31,500

100059257   041036954   MEADOWBROOK PHARMACY 724 CPA        CHARLOTTESVILLE   VA   22903     INDEPENDENT       AM2165505    3,400     2,100     2,900     3,700    2,500    1,500    2,683     16,100

100054273   024110080   VICTORY DRUG & SURGICAL              CANOGA PARK      CA   91303     INDEPENDENT       AM2198035    1,700    (1,300)     900      3,300      -      9,900    2,417     14,500

100055612   018024612   WINKLER COUNTY MEMORIAL                 KERMIT        TX   79745       HOSPITAL        AM2232700     100                                                      100        100

100072152   018143719   MONAHANS PHARMACY, INC        CPA     MONAHANS        TX   79756     INDEPENDENT       AM2237128   28,800    16,800    20,600    14,200   10,900   15,600   17,817    106,900

100076799   018091702   MEMORIAL HOSPITAL 340B                  DUMAS         TX   79029   PHS 340B HOSPITAL   AM2244274     200       300       300       200                        250       1,000

100061127   018090753   MEMORIAL HOSPITAL                       DUMAS         TX   79029       HOSPITAL        AM2244274               100                          420      200      240        720

100073902   049124461   NORTH OTTAWA COMMUNITY HOSP          GRAND HAVEN      MI   49417       HOSPITAL        AM2268591     400       800      1,000     1,200     100      400      650       3,900

100073903   049124479   N.OTTAWA COMM HOSP EMPLOYEE RX       GRAND HAVEN      MI   49417       HOSPITAL        AM2268591     100       200       100       100                        125        500
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100055310   010095620   FM2300 MEDICAL LOGISTICS DOD            DAYTON        OH   45433   HOSPITAL (FEDERAL)   AM2282135   28,800   27,200   23,800   21,200   25,400   17,200   23,933   143,600

100066407   040143164   C & C PHARMACY. INC      CPA            DALLAS        GA   30132     INDEPENDENT        AM2291247   10,100    6,200    6,200    6,200    6,100    6,000    6,800    40,800

100058400   044049999   MURRAY-CALLOWAY CO HOSPITAL             MURRAY        KY   42071       HOSPITAL         AM2298126    4,900    2,300    5,000    5,500    2,920    2,000    3,770    22,620

100059351   041069112   MILFORD PHARMACY         D27           MILFORD        DE   19963     INDEPENDENT        AM2401608                       200                                 200       200

100061367   023015669   RED CROSS PHARMACY         GNP        FOREST CITY     PA   18421     INDEPENDENT        AM2449949    2,200    3,700    5,600    4,500     700              3,340    16,700

100101161   021171967   MERCY OUTPATIENT PHCY WAC             DES MOINES      IA   50314   PHS 340B HOSPITAL    AM2449963   12,200   12,100    9,700   12,200   15,700   10,900   12,133    72,800

100057236   021300194   MERCY OUTPATIENT PHARMACY             DES MOINES      IA   50314       HOSPITAL         AM2449963              300      200      300      600      300      340      1,700

100087503   021165621   MERCY OUTPATIENT PHCY 340B            DES MOINES      IA   50314   PHS 340B HOSPITAL    AM2449963              800                                          800       800

100053883   041010496   MARY IMMACULATE HOSP PHCY(I/P)      NEWPORT NEWS      VA   23602       HOSPITAL         AM2486531     350      400      950      350      580      780      568      3,410

100088746   041143313   MARTHA JEFFERSON HSP(AMB PHCY)      CHARLOTTESVILLE   VA   22911       HOSPITAL         AM2487406    1,700    2,300    2,000    2,300    4,200    1,700    2,367    14,200

100059063   041054940   MARTHA JEFFERSON HOSPITAL VHA       CHARLOTTESVILLE   VA   22911       HOSPITAL         AM2487406     900     1,000    1,300     900      800     1,500    1,067     6,400

100063493   052072322   *MED ARTS PHCY        SF              CLEVELAND       MS   38732     INDEPENDENT        AM2494742    1,400                                                 1,400     1,400

100055211   041007633   PEOPLES DRUG STORE         882         EDINBURG       VA   22824     INDEPENDENT        AM2495972     500      200               100                        267       800

100059362   041036509   MCGUIRE PARK PHY         RAF           RICHMOND       VA   23223     INDEPENDENT        AM2500242     800      700     1,200     800     2,500             1,200     6,000

100086377   023106948   LVHN MUHLENBERG HS                    BETHLEHEM       PA   18017       HOSPITAL         AM2512285    1,500    2,100    3,100    2,000                      2,175     8,700

100086224   023106245   LEHIGH VALLEY HOSP MUHLENBERG         BETHLEHEM       PA   18017       HOSPITAL         AM2512285     600      200      900      600      540      940      630      3,780

100059258   041037945   MEDICAL ARTS PHARMACY         RAH   FREDERICKSBURG    VA   22401     INDEPENDENT        AM2521361    3,400    5,100    2,800    2,700    1,800    2,900    3,117    18,700

100065053   052058388   MURPHY'S SAV-MOR PHCY         SF    JEFFERSON CITY    TN   37760     INDEPENDENT        AM2553279   17,500   21,500   12,300   30,000   11,400   18,100   18,467   110,800

100053793   017086231   MALHEUR DRUG #2                         NYSSA         OR   97913     INDEPENDENT        AM2580719   10,000   10,500             2,200   12,500    5,500    8,140    40,700

100061059   023014316   MIDTOWN PHARMACY(GNP)                  BAYONNE        NJ   07002     INDEPENDENT        AM2596407     300      700      500      400      200               420      2,100

100086830   052170183   NORTHWOOD PHCY           SF            FLORENCE       AL   35630     INDEPENDENT        AM2618520    4,000    3,500    2,000    4,000    5,000     400     3,150    18,900

100065319   019004382   MARION GENERAL HOSPITAL                 MARION        IN   46952       HOSPITAL         AM2675138    1,100    3,300    1,700    1,900    2,040    1,820    1,977    11,860

100083710   019135525   MARION GENERAL HOSP 340B                MARION        IN   46952   PHS 340B HOSPITAL    AM2675138     400      500      600      400      200               420      2,100

100096595   019163352   MARION GENERAL HOSPITAL WAC             MARION        IN   46952   PHS 340B HOSPITAL    AM2675138                       200      400      500      360      365      1,460

100060394   019048918   MARGARET MARY COMMUNITY               BATESVILLE      IN   47006       HOSPITAL         AM2690192     300      300      600      200      580      300      380      2,280

100054172   010044289   MILLER'S PHARMACY        APSC           KALIDA        OH   45853     INDEPENDENT        AM2715538    4,000    3,600   10,000    1,300    1,500             4,080    20,400

100055214   041007880   MEDICAL CNTR PHY, INC (GNP)868         ROANOKE        VA   24014     INDEPENDENT        AM2724626    8,000    6,500    4,700   10,000   11,200    7,600    8,000    48,000

100071546   041112557   MEDICAL CENTER PHCY INC(340B)          ROANOKE        VA   24014   PHS 340B HOSPITAL    AM2724626    4,000    2,000    3,000    1,500              500     2,200    11,000

100068390   049149377   *SAINT JOSEPH MERCY PORT HURON        PORT HURON      MI   48060       HOSPITAL         AM2753944    1,700    1,400    1,500    1,500                      1,525     6,100

100068391   049149393   MERCY HOSP PHARMACY GRAYLING           GRAYLING       MI   49738       HOSPITAL         AM2754112    4,800    2,300    3,950    4,750    4,400    2,900    3,850    23,100

100093085   049189373   MERCY HOSP PHCY/GRAYLING 340B          GRAYLING       MI   49738       HOSPITAL         AM2754112    3,000    3,200    1,400     600                       2,050     8,200

100068393   049149427   MERCY HOSP PHCY/GRAYLING-AMBUL         GRAYLING       MI   49738       HOSPITAL         AM2754112             1,100     900     2,500    2,500             1,750     7,000

100066800   049046615   MERCY MEMORIAL HOSP PHCY MEDA          MONROE         MI   48162       HOSPITAL         AM2755190    2,100    1,700    1,500    2,300    1,960    1,500    1,843    11,060

100068395   049149443   MUNSON MED CTR,PH DPT/EMPLEDI        TRAVERSE CITY    MI   49684       HOSPITAL         AM2767208   15,100   14,500   14,700   14,400   17,800   19,400   15,983    95,900

100068394   049149435   MUNSON MEDICAL CENTER, PH DEPT       TRAVERSE CITY    MI   49684       HOSPITAL         AM2767208   12,500   15,200   13,700   18,100   10,420   17,820   14,623    87,740

100065226   049044008   *MC LAREN FLINT                          FLINT        MI   48532       HOSPITAL         AM2775003     600                                                   600       600

100052094   010042135   MIAMI VALLEY HOSP-GPO                   DAYTON        OH   45409       HOSPITAL         AM2789482    5,100    7,100    6,200    6,300    7,100    4,000    5,967    35,800

100059523   010007054   MIAMI VALLEY HOSP-340B                  DAYTON        OH   45409   PHS 340B HOSPITAL    AM2789482    3,000    3,000    2,900    2,100     600     1,800    2,233    13,400

100101183   010234252   MIAMI VALLEY HOSP-WAC                   DAYTON        OH   45409   PHS 340B HOSPITAL    AM2789482              200               700     3,500             1,467     4,400

100051789   010048231   MARIETTA MEMORIAL HOSPITAL             MARIETTA       OH   45750       HOSPITAL         AM2824767    1,600    2,400    2,200    1,500    3,180    1,740    2,103    12,620

100051790   010048264   MARIETTA MEM HOSP EMPLOYEE             MARIETTA       OH   45750       HOSPITAL         AM2824767     300     2,300    1,400    1,400    1,600     600     1,267     7,600

100050187   004021154   NEWT'S PHARMACY INC                    BRIGHTON       MA   02135     INDEPENDENT        AM2829161     600      500      600      500      700      700      600      3,600

100052092   010042077   MC CULLOUGH-HYDE MEM HOSPITAL           OXFORD        OH   45056       HOSPITAL         AM2845127     700      900      500     1,300     340      300      673      4,040

100066263   049045328   MEMORIAL HOSPITAL PHARMACY             FREMONT        OH   43420       HOSPITAL         AM2872605     400     1,300     100      450      920      200      562      3,370
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100054171   010044271   UNIVERSITY HOSPITALS GENEVA           GENEVA         OH   44041       HOSPITAL        AM2875485     100      100      200      100      400               180       900

100064092   010020701   MEDINA GENERAL HOSPITAL               MEDINA         OH   44256       HOSPITAL        AM2889268    1,200     400     1,200     400      700     1,600     917      5,500

100109596   052224766   MEDICAL ARTS PHARMACY       SF       COLUMBUS        MS   39701     INDEPENDENT       AM2947971    2,500    3,100    2,500    4,300    4,000             3,280    16,400

100068211   010176008   MARYMOUNT HOSPITAL                GARFIELD HEIGHTS   OH   44125       HOSPITAL        AM2965993     600      700      600      800     1,280     700      780      4,680

100052245   010040014   MILLERS PHARMACY INC                BUCKHANNON       WV   26201     INDEPENDENT       AM2974473    2,000    1,500    2,000    3,500             1,500    2,100    10,500

100052247   010040055   J&B REXALL DRUGS        APSC        GRANTSVILLE      WV   26147     INDEPENDENT       AM2980515    3,900    4,900    5,800    7,800    3,000    6,000    5,233    31,400

100060520   023080879   MMC PHARMACY INC.                    BROOKLYN        NY   11219       HOSPITAL        AM2994576     500      100               300                        300       900

100064716   010300129   ST. JOSEPH LONDON -MMMC INC           LONDON         KY   40741       HOSPITAL        AM3004683    2,000    1,600    2,000    1,400      80      800     1,313     7,880

100092317   010144469   ST. JOSEPH LONDON-MMMC INC WAC        LONDON         KY   40741       HOSPITAL        AM3004683     500      100      800      200     2,500              820      4,100

100064718   010300194   ST. JOSEPH LONDON 340B                LONDON         KY   40741   PHS 340B HOSPITAL   AM3004683     500      400      300      200      400      400      367      2,200

100061422   010099267   PIKEVILLE MEDICAL CENTER PHARM       PIKEVILLE       KY   41501       HOSPITAL        AM3004924    2,700    3,100    2,500     800     4,360    2,160    2,603    15,620

100104105   010234906   PIKEVILLE MED CTR IP WAC             PIKEVILLE       KY   41501   PHS 340B HOSPITAL   AM3004924    1,000     800     1,000    1,900    2,400             1,420     7,100

100058426   044060020   MUHLENBERG COMMUNITY HOSPITAL       GREENVILLE       KY   42345       HOSPITAL        AM3008706    1,300    1,100    1,500    1,400              800     1,220     6,100

100096665   044108183   MUHLENBERG COMMUNITY HOSP WAC       GREENVILLE       KY   42345   PHS 340B HOSPITAL   AM3008706     200      100      300      900                        375      1,500

100062901   044068692   MUHLENBERG COMM HOSP / 340B         GREENVILLE       KY   42345   PHS 340B HOSPITAL   AM3008706     100      200      200      200               100      160       800

100092332   010145672   ST. JOSEPH MOUNT STERLING WAC     MOUNT STERLING     KY   40353       HOSPITAL        AM3022251     500      500      400      650      600      720      562      3,370

100058705   010102004   ST. JOSEPH MOUNT STERLING         MOUNT STERLING     KY   40353       HOSPITAL        AM3022251     200                        100                        150       300

100066878   049047530   MID-MICHIGAN MEDICAL CENTER           MIDLAND        MI   48670       HOSPITAL        AM3044841    4,800    4,300    6,600    3,800    5,080    4,200    4,797    28,780

100058173   049039032   MARINCO DRUG STORE         EPIC     HAZEL PARK       MI   48030     INDEPENDENT       AM3065946   10,000   10,000   11,000   16,100   10,900    8,800   11,133    66,800

100059265   041039388   MONTPELIER PHARMACY 725 CPA         MONTPELIER       VA   23192     INDEPENDENT       AM3074654    4,200    6,800    3,600    7,100    8,900     240     5,140    30,840

100074765   049179119   *MAC LEAN PHCY, INC                  HARRISON        MI   48625     INDEPENDENT       AM3103431   32,000   32,100   37,000   19,500                     30,150   120,600

100076633   017175984   MAAG PRESCRIPTION CTR, LLC CPA       POCATELLO       ID   83204     INDEPENDENT       AM3103683   14,000   23,500   29,500   10,100    5,400   13,500   16,000    96,000

100074655   017134239   MAAG PRESCRIPTION CENTER 340B        POCATELLO       ID   83204    PHS 340B CLINIC    AM3103683    1,600             1,000     500                       1,033     3,100

100064252   017053199   *M & M PRESCRIPTION SVC INC.          DRAPER         UT   84020   LONG TERM CARE      AM3126112     100     1,100     200                                 467      1,400

100061419   023011213   M & S DRUGS INC (ARX)             LONG ISLAND CITY   NY   11106     INDEPENDENT       AM3137470                                        2,000     400     1,200     2,400

100073238   055048017   THE MCDOWELL HOSPITAL(340B)(X)        MARION         NC   28752   PHS 340B HOSPITAL   AM3160671     200      500      250      400      400               350      1,750

100096433   055037192   THE MCDOWELL HOSPITAL (WAC)           MARION         NC   28752       HOSPITAL        AM3160671     200      300      200               900      100      340      1,700

100073237   055043885   THE MCDOWELL HOSPITAL(X)              MARION         NC   28752       HOSPITAL        AM3160671      50      200                50                        100       300

100066924   055143396   MCDOWELL'S PHARMACY INC(Z) CPA     SCOTLAND NECK     NC   27874     INDEPENDENT       AM3166065    4,000    1,500    9,000    4,000    2,600     700     3,633    21,800

100077028   055043737   NC SPECIALTY HOSPITAL                 DURHAM         NC   27704       HOSPITAL        AM3200778     700      600      700     1,700             1,900    1,120     5,600

100070397   018144337   MCCOY & TYGART DRUG STORE CPA        SHERIDAN        AR   72150     INDEPENDENT       AM3215159   13,300   56,200   21,820   48,740   11,620   27,800   29,913   179,480

100064935   018060814   MILLER'S DRUG STORE INC               MALVERN        AR   72104     INDEPENDENT       AM3215628    6,200    8,040    8,600    6,600   16,000    5,000    8,407    50,440

100051506   008035832   MILLS PENINSULA MED CTR - PHCY      BURLINGAME       CA   94010       HOSPITAL        AM3221013    2,800    3,800    2,400    7,300     800     1,300    3,067    18,400

100056575   056013805   MARTIN DRUGS INC                   SWARTHMORE        PA   19081   LONG TERM CARE      AM3234375     600      400      600      700                        575      2,300

100059570   044086496   JEFFERSON AVENUE PHARMACY           COOKEVILLE       TN   38501     INDEPENDENT       AM3262350    4,200    3,300    3,200    7,800    1,400    2,100    3,667    22,000

100074116   055059402   MEDICAL CENTER PHARMACY (340B)       ASHEVILLE       NC   28801   PHS 340B HOSPITAL   AM3264912    4,600    4,700    6,200    2,600     500     1,100    3,283    19,700

100096653   055037507   MEDICAL CENTER PHARMACY (WAC)        ASHEVILLE       NC   28801       HOSPITAL        AM3264912     800      600     4,200    3,200     800     2,600    2,033    12,200

100104379   040120279   MEMORIAL HLTH UNIV - UBC 340B        SAVANNAH        GA   31405   PHS 340B HOSPITAL   AM3288140    3,300    2,700    2,700    3,500     100     8,860    3,527    21,160

100104367   040120238   MEMORIAL HLTH UNIV-UBC NOV           SAVANNAH        GA   31405       HOSPITAL        AM3288140     800      800     1,300     700     1,960    1,680    1,207     7,240

100104383   040120303   MEMORIAL HLTH UNIV-WAC               SAVANNAH        GA   31405       HOSPITAL        AM3288140                                        1,700             1,700     1,700

100067177   019143347   MEDICINE STOP OF ELGIN     CPA         ELGIN         IL   60120     INDEPENDENT       AM3288897    7,000    5,700    6,200    9,000    4,100   10,100    7,017    42,100

100054737   017011403   BINGHAM MEMORIAL HOSPITAL            BLACKFOOT       ID   83221       HOSPITAL        AM3307685    1,100    1,900    2,600    2,800    2,380    1,520    2,050    12,300

100085012   017085753   BINGHAM MEMORIAL HOSPITAL 340B       BLACKFOOT       ID   83221   PHS 340B HOSPITAL   AM3307685                       200                        100      150       300

100064038   018064881   CIMARRON MEMORIAL HOSPITAL           BOISE CITY      OK   73933       HOSPITAL        AM3353202              500               500                        500      1,000
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100074276   004155192   MOSES-LUDINGTON HOSPITAL(X)       TICONDEROGA     NY   12883       HOSPITAL        AM3450094     250               150      100       80               145      580

100059359   041035782   MARSHALL'S DRUG PHARM.(GNP)RAD      URBANNA       VA   23175     INDEPENDENT       AM3511183    5,100    3,600    3,000    4,400    5,100    2,200    3,900   23,400

100074185   055045369   MEMORIAL MISSION HOSP. (340B)      ASHEVILLE      NC   28801   PHS 340B HOSPITAL   AM3534054    2,200    2,200    2,200    2,700              240     1,908    9,540

100075022   055043455   MEMORIAL MISSION HOSPITAL          ASHEVILLE      NC   28801       HOSPITAL        AM3534054    1,100    3,300    1,300    1,500    1,300     480     1,497    8,980

100096896   055037838   MEMORIAL MISSION HOSP (WAC)        ASHEVILLE      NC   28801       HOSPITAL        AM3534054     300      100               100     2,540    2,400    1,088    5,440

100107171   019184374   MERCY HEALTH SYSTEM                JANESVILLE     WI   53548       HOSPITAL        AM3540754    1,400    2,300    2,100    1,900    1,820     880     1,733   10,400

100068397   019146043   MORRISON COMMUNITY HOSPITAL        MORRISON       IL   61270       HOSPITAL        AM3684316     400      400      200      500      600               420     2,100

100054048   019025189   MENDOTA COMMUNITY HOSPITAL          MENDOTA       IL   61342       HOSPITAL        AM3745479     700      500      100      300      600      660      477     2,860

100085097   019140822   MENDOTA COMM HOSP 340B              MENDOTA       IL   61342   PHS 340B HOSPITAL   AM3745479              100                                          100      100

100061241   019060079   MCDONOUGH DISTRICT HOSPITAL         MACOMB        IL   61455       HOSPITAL        AM3761788     600      700      500      900     1,100     700      750     4,500

100065781   021004556   MILLERS MED ARTS PHCY     SF       BOONVILLE      MO   65233     INDEPENDENT       AM3776917    6,200   11,500    6,800    7,400    7,700    5,500    7,517   45,100

100107369   021174235   MERRYFIELD PHARMACY INC. SF         WINDSOR       MO   65360     INDEPENDENT       AM3787427   16,100   16,000   15,600   15,300   11,800   11,200   14,333   86,000

100057230   025300160   MERCY HOSPITAL                     WILLISTON      ND   58801       HOSPITAL        AM3789368     700              1,200    1,300                      1,067    3,200

100084350   025066480   MERCY HOSPITAL 340B                WILLISTON      ND   58801   PHS 340B HOSPITAL   AM3789368                                300                        300      300

100062182   025004309   MERCY HOSPITAL                     VALLEY CITY    ND   58072       HOSPITAL        AM3795727     300               200      100               320      230      920

100062181   025004291   MERCY HOSPITAL                     DEVILS LAKE    ND   58301       HOSPITAL        AM3795816     500      200      100      600      500      500      400     2,400

100065615   021003392   CITY PHARMACY, INC                   SLATER       MO   65349     INDEPENDENT       AM3818549    2,200    3,100    2,100    1,000    6,800    4,500    3,283   19,700

100076944   044088708   MADISON MEDICAL CENTER           FREDERICKTOWN    MO   63645       HOSPITAL        AM3831802     400      300      200      100      100      600      283     1,700

100073780   019102426   MT SINAI HOSP MED CNTR I/P          CHICAGO       IL   60608       HOSPITAL        AM3870816    4,900    5,100    5,700    6,900    6,500    5,100    5,700   34,200

100096712   019163642   MT SINAI HOSP MED CNTR WAC          CHICAGO       IL   60608   PHS 340B HOSPITAL   AM3870816    1,500    3,300             1,500                      2,100    6,300

100073443   019102459   MT SINAI   340B                     CHICAGO       IL   60608   PHS 340B HOSPITAL   AM3870816     800      400      400      200                        450     1,800

100066087   019005033   SAINT MARY OF NAZARETH HOSPIT       CHICAGO       IL   60622       HOSPITAL        AM3876414    2,300    2,950    2,750    4,650    3,600    2,700    3,158   18,950

100075613   019161034   SAINT MARY OF NAZARETH HSP EMP      CHICAGO       IL   60622       HOSPITAL        AM3876414    5,000    2,100                                        3,550    7,100

100068084   019159913   ELMHURST MEMORIAL HOSPITAL I/P     ELMHURST       IL   60126       HOSPITAL        AM3879484    4,000    5,500    4,000    8,000    2,200    6,000    4,950   29,700

100067272   019159954   ELMHURST MEMORIAL HOSP OWN/USE     ELMHURST       IL   60126       HOSPITAL        AM3879484    2,700    2,100    3,200     500     3,000    2,800    2,383   14,300

100090729   019167619   EDGERTON HOSP & HEALTH SERV        EDGERTON       WI   53534       HOSPITAL        AM3923504     300      200      100      200      600               280     1,400

100075647   021134254   TRUMAN MED CTR LAKEWOOD-RE340B    KANSAS CITY     MO   64139   PHS 340B HOSPITAL   AM3956084    2,400    1,500    2,200    1,200    2,700     800     1,800   10,800

100069617   021102277   TRUMAN MEDICAL CTR LAKEWOOD       KANSAS CITY     MO   64139       HOSPITAL        AM3956084    1,100    1,600    1,800     800      100     1,320    1,120    6,720

100069618   021102285   TRUMAN MED CENTER LAKEWOOD 340    KANSAS CITY     MO   64139   PHS 340B HOSPITAL   AM3956084     300      400      200      400      200      260      293     1,760

100097024   021078519   TRUMAN MED CTR LAKEWOOD WAC       KANSAS CITY     MO   64139   PHS 340B HOSPITAL   AM3956084                                400      860      300      520     1,560

100088452   021010108   MERCY MCCUNE-BROOKS HOSP RX        CARTHAGE       MO   64836       HOSPITAL        AM3965108     600      300      400      500      300      300      400     2,400

100062077   021002345   BEATRICE COMMUNITY HOSP & HL        BEATRICE      NE   68310       HOSPITAL        AM3979157    1,200    1,100    1,200    2,400    1,400    1,400    1,450    8,700

100062587   021001651   MARY LANNING MEMORIAL HOSPITAL      HASTINGS      NE   68901       HOSPITAL        AM3982471    1,800    2,500    2,000    2,400    1,700    2,300    2,117   12,700

100068398   021146084   MITCHELL COUNTY MEMORIAL HOSP        OSAGE        IA   50461       HOSPITAL        AM4009862     100               100      800                        333     1,000

100063371   021001149   CLARINDA TREATMENT COMPLEX          CLARINDA      IA   51632       HOSPITAL        AM4016259     300      100      200      500      500               320     1,600

100061685   019028209   MENTAL HEALTH INSTITUTE          MOUNT PLEASANT   IA   52641       HOSPITAL        AM4016704              300      100                                 200      400

100056820   021036749   MADISON COUNTY MEMORIAL HOSP       WINTERSET      IA   50273       HOSPITAL        AM4029725     150      200      300               300      300      250     1,250

100068399   019146050   MERCY MEDICAL CENTER-DUBUQUE        DUBUQUE       IA   52001       HOSPITAL        AM4033332    2,700    2,400    2,450    2,350    2,700    2,000    2,433   14,600

100057001   021300186   MERCY MEDICAL CENTER PHARMACY      DES MOINES     IA   50314       HOSPITAL        AM4033445    5,600    8,500    4,400   10,300    5,100    2,000    5,983   35,900

100096755   021077982   MERCY MEDICAL CENTER PHCY WAC      DES MOINES     IA   50314       HOSPITAL        AM4033445             1,600    6,800    5,900    4,100    8,620    5,404   27,020

100086112   021161109   MERCY MED CTR PHCY 340B            DES MOINES     IA   50314   PHS 340B HOSPITAL   AM4033445    1,800    1,200     900     1,000     800     1,300    1,167    7,000

100061684   019028092   MERCY MEDICAL CENTER,             CEDAR RAPIDS    IA   52403       HOSPITAL        AM4050174    3,500    3,550    5,000    6,300    3,260    1,600    3,868   23,210

100069092   019159343   MERCY MEDICAL CENTER O/P          CEDAR RAPIDS    IA   52403       HOSPITAL        AM4050174    2,100    2,000    1,900    5,000    1,100    1,600    2,283   13,700

100056566   021300012   MONROE COUNTY HOSPITAL                ALBIA       IA   52531       HOSPITAL        AM4050592              100      100      150      280               158      630
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100063231   025002162   MADISON COMMUNITY HOSPITAL                MADISON         SD   57042       HOSPITAL         AM4070063     200      100      300       400      200      180      230      1,380

100066695   018061440   COMMUNITY MEDICAL CTR IZARD CO          CALICO ROCK       AR   72519       HOSPITAL         AM4132786                       100      3,000                      1,550     3,100

100050084   003052167   FCIA NUEVA CAMUY GNP                       CAMUY          PR   00627     INDEPENDENT        AM4216380     500               300                200               333      1,000

100074836   055041608   NOVANT HLTH MEDICAL PARK               WINSTON-SALEM      NC   27103       HOSPITAL         AM4230859     800      950      600       550     1,460     160      753      4,520

100070399   018144345   MC KINNEY REXALL DRUG         CPA       SPRINGDALE        AR   72764     INDEPENDENT        AM4334950    3,000    7,200   14,400    15,000    1,000    3,000    7,267    43,600

100051184   008038448   MAXIMART PHCY.                           PALO ALTO        CA   94306     INDEPENDENT        AM4370184    5,200    4,600    6,600     4,600   12,000    3,300    6,050    36,300

100058795   041022251   EDWARD W. MCCREADY MEM HOSP PH           CRISFIELD        MD   21817       HOSPITAL         AM4379699     200      300      400                                  300       900

100111054   010001882   MARSH DRUGS #7077/787                    LAFAYETTE        IN   47905         CHAIN          AM4418148                                         3,000    4,000    3,500     7,000

100111057   010001886   MARSH DRUGS #7089/786                      TIPTON         IN   46072         CHAIN          AM4517174                                         8,300    7,700    8,000    16,000

100071479   041140475   MONTGOMERY REGIONAL HOSP #712           BLACKSBURG        VA   24060       HOSPITAL         AM4571015    1,100    1,700    1,800     1,000    1,400    1,280    1,380     8,280

100090021   032143222   MASON GENERAL HOSPITAL                    SHELTON         WA   98584       HOSPITAL         AM4671435    1,600    1,100    1,800     1,500    3,140    1,300    1,740    10,440

100070406   018144402   MEDISAV HOMECARE PHCY #2 CPA             FORT SMITH       AR   72903     INDEPENDENT        AM4678821   18,900    9,600   42,960    15,200   27,800   14,300   21,460   128,760

100058511   040060921   *MEDI CTR CTRL GEO PHS EMPLOYE             MACON          GA   31201   PHS 340B HOSPITAL    AM4704032    7,060                                                  7,060     7,060

100071830   040110833   *MED CTR OF CTRL GEO (PHS)                 MACON          GA   31201   PHS 340B HOSPITAL    AM4704032    6,100                                                  6,100     6,100

100056353   040040410   *MED CTR CTRL GEO PHS ANDERSON             MACON          GA   31201   PHS 340B HOSPITAL    AM4704032    3,600                                                  3,600     3,600

100096826   040115378   *MED CTR OF CTRL GA (WAC                   MACON          GA   31201   PHS 340B HOSPITAL    AM4704032    3,100                                                  3,100     3,100

100056352   040040402   *MED CTR OF CTRL GEO, PHCY GPO             MACON          GA   31201       HOSPITAL         AM4704032    1,500                                                  1,500     1,500

100096825   040115360   *MED CTR OF CTRL GA EMPLOY(WAC             MACON          GA   31201   PHS 340B HOSPITAL    AM4704032    1,400                                                  1,400     1,400

100087410   004087643   MORTON HOSPITAL (STEWARD)                 TAUNTON         MA   02780       HOSPITAL         AM4779469     400      300      500       600               400      440      2,200

100060541   023030619   MILES SQUARE PHARMACY INC 762             YONKERS         NY   10704     INDEPENDENT        AM4891431    1,400    1,400     500                                 1,100     3,300

100053971   056001370   M D CO INC-Z                            PHILADELPHIA      PA   19122     INDEPENDENT        AM4926359   14,200   18,700   17,700    15,600    1,500    7,500   12,533    75,200

100063501   056027680   MORRISON PHARMACY(IPBG)(Z)              PHILADELPHIA      PA   19128     INDEPENDENT        AM4948898    1,000    2,000    3,300     1,700    2,500    1,500    2,000    12,000

100055692   046004077   MAYHUGH'S DRUGS INC                  GREEN COVE SPRINGS   FL   32043     INDEPENDENT        AM4954384    5,700    6,500    3,500     5,500                      5,300    21,200

100099836   018399295   WALGREENS #15782         DSD               TULSA          OK   74105      WALGREENS         AM5058311     500    10,200   26,600    27,700   31,800   22,600   19,900   119,400

100068595   040143677   MCKINNEY'S APOTHECARY INC CPA             DECATUR         GA   30030     INDEPENDENT        AM5073705    1,500    1,900    2,600     3,100    3,000    3,000    2,517    15,100

100085511   021059972   MCPHERSON HOSP (VC)                     MCPHERSON         KS   67460       HOSPITAL         AM5104548     400      200      200       100      700      160      293      1,760

100057476   025300194   MEMORIAL MEDICAL CENTER                   ASHLAND         WI   54806       HOSPITAL         AM5263304     300      400      600       700                        500      2,000

100109989   025092262   MEMORIAL MEDICAL CTR 340B                 ASHLAND         WI   54806   PHS 340B HOSPITAL    AM5263304                                 300                        300       300

100051227   008025718   MAD RIVER COMM. HOSPITAL                  ARCATA          CA   95521       HOSPITAL         AM5302497    1,500    1,300     800      1,650    1,440     240     1,155     6,930

100076542   021041764   MED CTR PHCY           CPA                HAMPTON         IA   50441       HOSPITAL         AM5315684    2,000    3,000    1,000     6,000             3,800    3,160    15,800

100103962   021172155   MEDICAL CENTER PHARMACY 340B              HAMPTON         IA   50441       HOSPITAL         AM5315684                       500                                  500       500

100051355   008030452   JEFFERSON PLAZA S1 8GL                 REDWOOD CITY       CA   94062     INDEPENDENT        AM5331664    6,500    8,000    9,500     9,500    7,500    7,880    8,147    48,880

100090542   032144956   ODESSA MEM HEALTHCARE CTR                 ODESSA          WA   99159       HOSPITAL         AM5333214                                 100                        100       100

100085671   019142232   MARTIN AVE PHARMACY INC, CPA             NAPERVILLE       IL   60540     INDEPENDENT        AM5468726                                          700      300      500      1,000

100051811   041074096   MALCOLM GROW USAF MED CTR(DOD)          ANDREWS AFB       MD   20762   HOSPITAL (FEDERAL)   AM5476014    3,100    5,800    3,700     4,800    4,300    4,600    4,383    26,300

100050840   040068254   BRANCH MEDICAL CLINIC                     ALBANY          GA   31704   HOSPITAL (FEDERAL)   AM5491698    3,500             5,000    10,000                      6,167    18,500

100069017   018057638   MOORE DRUG INC           SF               RINGLING        OK   73456     INDEPENDENT        AM5559743             1,000     (500)    4,500    4,500    1,500    2,200    11,000

100070486   046141416   OCALA REGIONAL MED CTR        #712         OCALA          FL   34471       HOSPITAL         AM5656181    1,400    1,600    1,000      950     3,100     900     1,492     8,950

100070407   018144410   MEDISAV HOMECARE PHCY #3 CPA             FORT SMITH       AR   72908     INDEPENDENT        AM5754999    4,300   10,400    9,800     2,600   11,400             7,700    38,500

100090793   019167841   UPLAND HILLS HLTH OP 340B               DODGEVILLE        WI   53533   PHS 340B HOSPITAL    AM5886734     300      600      100               1,560     480      608      3,040

100090787   019167783   UPLAND HILLS HLTH 340B                  DODGEVILLE        WI   53533   PHS 340B HOSPITAL    AM5886734     400      300      500       600                        450      1,800

100090790   019167817   UPLAND HILLS HLTH IP                    DODGEVILLE        WI   53533       HOSPITAL         AM5886734     200      200      100       200                        175       700

100056513   038068478   MORRILL COUNTY COMMUNITY HOSP           BRIDGEPORT        NE   69336       HOSPITAL         AM5911575     400                         500                        450       900

100065155   018064196   TINKER-DAPA (USAF HOSPITAL)              TINKER AFB       OK   73145   HOSPITAL (FEDERAL)   AM5948041   14,800   24,200   20,400    30,900    9,600   15,600   19,250   115,500
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100072428   055019505   MEDICAL ARTS PHARMACY INC GNP        FOREST CITY       NC   28043     INDEPENDENT        AM6052930    9,000    7,000    7,300    9,500   10,600    9,300    8,783    52,700

100064996   018080366   MERCY HEALTH CTR-PHARMACY           OKLAHOMA CITY      OK   73120       HOSPITAL         AM6143058    3,800    4,500    4,000    9,500             2,000    4,760    23,800

100050332   018043034   METHODIST CHARLTON MED CT               DALLAS         TX   75237       HOSPITAL         AM6217663                                500      500               500      1,000

100058168   044044933   MEHR DRUG STORE       APSC              BELLS          TN   38006     INDEPENDENT        AM6221321    8,600    8,600    8,100    7,600    8,000    7,500    8,067    48,400

100059957   023017350   MT PROS PHARM SVCS INC(X)(GNP)         NEWARK          NJ   07104     INDEPENDENT        AM6384161    2,300    1,700    1,500    1,900    1,500     600     1,583     9,500

100110642   023161893   MAGEE REHABILITATION HOSPITAL        PHILADELPHIA      PA   19102       HOSPITAL         AM6387597                       200      200      200      200      200       800

100052039   018047704   MALAKOFF PRESCRIP SHOPPE SF           MALAKOFF         TX   75148     INDEPENDENT        AM6510588   19,500   17,900   20,400   21,700   14,100   10,600   17,367   104,200

100090085   032143347   PULLMAN REGIONAL HOSP PHCY             PULLMAN         WA   99163       HOSPITAL         AM6602696     900     1,000     600      500     1,500     880      897      5,380

100090033   032143354   PULLMAN REGIONAL HOSP PHCY340B         PULLMAN         WA   99163   PHS 340B HOSPITAL    AM6602696                                100                        100       100

100060247   044064154   FT CAMPBELL-IMSA US ARMY HOSP       FORT CAMPBELL      KY   42223   HOSPITAL (FEDERAL)   AM6639338     100                        500                        300       600

100110258   010238360   MATHES PHARMACY       CPA            NEW ALBANY        IN   47150     INDEPENDENT        AM6703056            13,700    7,600   13,800   14,000   11,600   12,140    60,700

100110259   010238378   MATHES PHARMACY LTC GPO CPA          NEW ALBANY        IN   47150     INDEPENDENT        AM6703056              200      300      500                        333      1,000

100052941   020056861   MC CRORY'S PHCY INC                    EL PASO         TX   79912     INDEPENDENT        AM6777556   11,100   12,700   12,200    9,900   13,300    3,500   10,450    62,700

100059935   010099044   MCDONALD PHARMACY           APSC     SOUTH SHORE       KY   41175     INDEPENDENT        AM6817398    3,500    4,500    7,800    5,700    2,500    2,100    4,350    26,100

100053511   024049783   MARINA DEL REY PHARMACY             MARINA DEL REY     CA   90292     INDEPENDENT        AM6958257   12,500    9,100   28,300    3,800    7,000    9,400   11,683    70,100

100099364   021170332   WALGREENS #15730         DSD            JOPLIN         MO   64801      WALGREENS         AM7035846    8,600   16,600   16,300   18,500   20,500   14,700   15,867    95,200

100073801   019054726   SARAH BUSH LINCOLN HLTH CT I/P         MATTOON         IL   61938       HOSPITAL         AM7071347    2,400    2,900    2,800    2,600    2,900    2,800    2,733    16,400

100050787   052062273   MOUNT VERNON PHARMACY 2072 #        MOUNT VERNON       AL   36560     INDEPENDENT        AM7285364             1,500    1,300    2,600    1,000             1,600     6,400

100111048   010001876   MARSH DRUGS #7055/790                BLOOMINGTON       IN   47404         CHAIN          AM7331894                                       16,000    7,000   11,500    23,000

100111059   010001888   MARSH DRUGS #7091/788                 ANDERSON         IN   46012         CHAIN          AM7378284                                        8,800    6,100    7,450    14,900

100096617   010233536   MILLS PHARMACY    APSC                 FAIRFIELD       OH   45014     INDEPENDENT        AM7416731    4,000    4,000    4,600    3,900    5,200    4,900    4,433    26,600

100060222   044063883   MCMINNVILLE DRUG CTR         SF      MCMINNVILLE       TN   37110     INDEPENDENT        AM7451470   47,500   55,500   54,500   51,500   55,200   43,000   51,200   307,200

100104949   021172841   BERGAN MERCY MED PHCY                   OMAHA          NE   68124       HOSPITAL         AM7508279    3,600    3,500    3,800    4,800    4,200    3,600    3,917    23,500

100055536   032058495   MERCY MEDICAL CENTER PHCY             ROSEBURG         OR   97471       HOSPITAL         AM7527154    2,200    1,300     100     1,200    1,500     720     1,170     7,020

100092961   032147090   MERCY MEDICAL CTR PHCY 340B           ROSEBURG         OR   97471       HOSPITAL         AM7527154              300      500      400                        400      1,200

100092961   032147090   MERCY MEDICAL CTR PHCY 340B           ROSEBURG         OR   97471    PHS 340B CLINIC     AM7527154                                                  800      800       800

100065655   018068817   MEMORIAL HOSPITAL                      STILWELL        OK   74960       HOSPITAL         AM7643770     200      100      700      100      200      600      317      1,900

100065075   019004028   LAKELAND MEDICAL CENTER ST.JOE       SAINT JOSEPH      MI   49085       HOSPITAL         AM7740396    3,100    4,200    2,900    3,400     200      400     2,367    14,200

100104574   019181719   LAKELAND MED CTR ST JOE WAC          SAINT JOSEPH      MI   49085   PHS 340B HOSPITAL    AM7740396               -       100     1,700    3,000    3,200    1,600     8,000

100064773   019008987   LAKELAND MED.CTR ST.JOE (340B)       SAINT JOSEPH      MI   49085   PHS 340B HOSPITAL    AM7740396     400      900     1,000     700                        750      3,000

100050900   018042937   METHODIST DALLAS MEDICAL CNTR           DALLAS         TX   75203       HOSPITAL         AM7744356                               8,000    2,000    1,500    3,833    11,500

100062307   025009092   MEDICINE CHEST(PHCY & CAMERA)      WHITE BEAR LAKE     MN   55110     INDEPENDENT        AM7792751                                        3,000    3,000    3,000     6,000

100065545   049109215   ARFSTROM PHCY-SAULT MARIE SF       SAULT SAINTE MARI   MI   49783     INDEPENDENT        AM7797648   14,300   15,500   12,900   13,600   14,500   15,900   14,450    86,700

100058335   044044958   MED ARTS PHCY-SIKESTON                 SIKESTON        MO   63801     INDEPENDENT        AM7820384   26,100   34,600   24,000   34,500   25,000   14,000   26,367   158,200

100060018   052160341   MILNER-RUSHING DRUG         SF        FLORENCE         AL   35630     INDEPENDENT        AM7823897    2,600    3,500    3,600    1,600     400     9,700    3,567    21,400

100059434   041052886   MCDOUGALLS DRUG CENTER-Z (GNP)        SYKESVILLE       MD   21784     INDEPENDENT        AM7844106                      2,000    3,000    3,500     100     2,150     8,600

100111071   010001901   MARSH DRUGS #7052/791                 PLAINFIELD       IN   46168         CHAIN          AM7915296                                        2,000    1,800    1,900     3,800

100090396   010225052   MERCY FAIRFIELD HOSP IP PHCY           FAIRFIELD       OH   45014       HOSPITAL         AM8090932    2,800    3,000    2,500    2,700    2,680    2,200    2,647    15,880

100056496   018032029   MEMORIAL HOSPITAL                      MIDLAND         TX   79701       HOSPITAL         AM8107802                               1,400    2,400             1,900     3,800

100075518   055071910   MURDOCH CENTER PHARMACY                BUTNER          NC   27509       HOSPITAL         AM8165664     200      200      200              1,240              460      1,840

100063374   021001172   MONTGOMERY COUNTY MEM HOSP             RED OAK         IA   51566       HOSPITAL         AM8257188              300      400      400      600      200      380      1,900

100059451   041057349   (CRD)CG HSWL FLD OFF YORKTOWN         YORKTOWN         VA   23690   HOSPITAL (FEDERAL)   AM8348737              200               200                        200       400

100070325   046141150   LARGO MEDICAL CENTER        #712        LARGO          FL   33770       HOSPITAL         AM8357801    1,900    3,200    2,000    5,400             1,040    2,708    13,540

100050125   004054593   FT DRUM-PHARMACY SERVICES(DOD)        FORT DRUM        NY   13602   HOSPITAL (FEDERAL)   AM8361088    6,000    8,400    6,000    9,600   10,800    2,400    7,200    43,200
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100056271   046002998   MEDICAL III PHARMACY                    PLANTATION         FL   33317     INDEPENDENT        AM8462866    3,100    2,500    1,600    1,500    2,100    1,000    1,967    11,800

100063428   018038554   MEDI-QUIK PHARMACY #2      CPA           MULBERRY          AR   72947     INDEPENDENT        AM8510530   11,300   16,600    6,900    8,600    4,500    8,000    9,317    55,900

100063621   049053025   MESICK PHARMACY                           MESICK           MI   49668     INDEPENDENT        AM8827050    5,500   11,400    9,500   10,600   11,000   14,000   10,333    62,000

100068597   040143693   MEDITHRIFT PHARMACY INC       CPA       LA FAYETTE         GA   30728     INDEPENDENT        AM8847646   19,200   24,400   15,700   17,100   22,500   17,000   19,317   115,900

100071759   023143495   MIDDLE VILLAGE PHCY INC(Z) CPA            CLIFTON          NJ   07011     INDEPENDENT        AM8854297              400      200               400      100      275      1,100

100090566   049188425   GRAND RAPIDS HOME FOR VETERANS         GRAND RAPIDS        MI   49505   HOSPITAL (FEDERAL)   AM9112690                                200                        200       200

100056604   026044602   KAISER NANAIKEOLA CLINIC                  WAIANAE          HI   96792      HEALTH PLAN       AM9197535    4,400    5,000    3,200    2,400    4,500    1,700    3,533    21,200

100051877   008045591   MOWRY MEDICAL PHCY                       FREMONT           CA   94538     INDEPENDENT        AM9211107    6,200   10,700   11,700   17,100   14,000    2,700   10,400    62,400

100059889   023017160   MAIORINO PHCY & SURGICAL(B)              HOLBROOK          NY   11741     INDEPENDENT        AM9246631    3,800    7,900    7,000    6,800    7,800    7,800    6,850    41,100

100053783   024027904   MINI PHARMACY                           LOS ANGELES        CA   90021     MAIL SERVICE       AM9302148     100      300      200                                 200       600

100065677   040095406   NAVAL MEDICAL CENTER KINGS BAY      KINGS BAY NAVAL BASE   GA   31547   HOSPITAL (FEDERAL)   AM9418282   30,500                     15,200             3,500   16,400    49,200

100052194   010050385   MOUNDSVILLE PHARMACY       APSC        MOUNDSVILLE         WV   26041     INDEPENDENT        AM9597800   14,800   19,000   32,700    5,400   26,300   11,700   18,317   109,900

100060724   023014464   MOUNT SINAI MED CTR                      NEW YORK          NY   10029       HOSPITAL         AM9707805                                100                        100       100

100109694   046059964   PARRISH MEDICAL CENTER                   TITUSVILLE        FL   32796       HOSPITAL         AN0160159     500     1,100     800      900      760      860      820      4,920

100065675   018093864   JANE PHILLIPS NOWATA HLTH CTR             NOWATA           OK   74048       HOSPITAL         AN0924921              200      300                        160      220       660

100090126   032143875   NEWPORT COMMUNITY HOSPITAL               NEWPORT           WA   99156       HOSPITAL         AN0997796     500      700      600      800      200      400      533      3,200

100062042   021001289   NORTON COUNTY HOSPITAL                    NORTON           KS   67654       HOSPITAL         AN1288150     100      400               200               100      200       800

100090648   021167536   NORTON COUNTY HOSPITAL 340B               NORTON           KS   67654   PHS 340B HOSPITAL    AN1288150              100               100                        100       200

100062594   021001743   NESS COUNTY HOSPITAL DISTRICT            NESS CITY         KS   67560       HOSPITAL         AN1296931                       200                                 200       200

100084739   021145565   GOODLAND REG MED CTR 340B                GOODLAND          KS   67735   PHS 340B HOSPITAL    AN1306148     100      200      100                                 133       400

100062325   021001404   GOODLAND REGIONAL MED CTR                GOODLAND          KS   67735       HOSPITAL         AN1306148                                100      200               150       300

100053780   024026658   *NOUBAR'S EL ADOBE PHCY INC.            LOS ANGELES        CA   90027     INDEPENDENT        AN1650818     100      600      200                                 300       900

100083718   023090423   NEW LONDON PHARMACY INC                  NEW YORK          NY   10011     INDEPENDENT        AN1856814     500               200               200      100      250      1,000

100059379   023003269   NYU MEDICAL CENTER EMPLOYEE              NEW YORK          NY   10016       HOSPITAL         AN1866625    2,800    3,400    2,000    1,300     200              1,940     9,700

100059378   023003251   NYU MED CTR UNIVERSITY HOSP              NEW YORK          NY   10016       HOSPITAL         AN1866625     700      500      300      800      820      900      670      4,020

100106395   018403824   NEWMAN MEMORIAL HOSP INC                 SHATTUCK          OK   73858       HOSPITAL         AN2166002     300      100      100      200      200      200      183      1,100

100055512   041002295   CHILDRENS HOSP OF KD PHCY R67            NORFOLK           VA   23507       HOSPITAL         AN2359001     100      300      400      200                        250      1,000

100086868   041139246   CHILDRENS HOSP OF KD WAC                 NORFOLK           VA   23507       HOSPITAL         AN2359001                                400               400      400       800

100086885   041139279   CHILDRENS HOSP OF KD 340B                NORFOLK           VA   23507   PHS 340B HOSPITAL    AN2359001     100      100      100                                 100       300

100071698   041121665   NANTICOKE MEMORIAL HOSPITAL(X)           SEAFORD           DE   19973       HOSPITAL         AN2400707     400      400               300               100      300      1,200

100090650   041144204   NANTICOKE MEMORIAL HOSP(WAC)             SEAFORD           DE   19973       HOSPITAL         AN2400707                                400      320      200      307       920

100068148   041113035   NANTICOKE MEM HOSP(340B)(X)              SEAFORD           DE   19973   PHS 340B HOSPITAL    AN2400707              100               100               100      100       300

100069172   041121418   SENTRA/VHA NGH PHY O/P(WAC)              NORFOLK           VA   23507       HOSPITAL         AN2498207     300      700      500     2,900    6,300    7,400    3,017    18,100

100058541   041045526   SENTARA/NORF GEN HOSP I/P R63            NORFOLK           VA   23507       HOSPITAL         AN2498207    3,100    3,500    3,000    2,700     800     1,200    2,383    14,300

100073551   041112003   SENTARA NORFOLK GENERAL HOSP             NORFOLK           VA   23507   PHS 340B HOSPITAL    AN2498207    3,100    4,000    2,500    1,200              700     2,300    11,500

100069174   041121657   SENTRA/NORF GEN HOSP I/P(WAC)            NORFOLK           VA   23507       HOSPITAL         AN2498207              500      100      300     2,600    3,400    1,380     6,900

100060554   041056705   SENTARA/NORF GEN PHS (340B)              NORFOLK           VA   23507   PHS 340B HOSPITAL    AN2498207     400      500      400      500               800      520      2,600

100059021   056100693   *SHOPRITE PHARMACY #637                   BELMAR           NJ   07719         CHAIN          AN2603896     400      100      400       -                         225       900

100053925   041074047   ANNAPOLIS NAVAL MED CLIN (DOD)           ANNAPOLIS         MD   21402   HOSPITAL (FEDERAL)   AN2635932    3,000             4,500    4,200     300              3,000    12,000

100052885   041082255   (CRD) ANNAPOLIS NAVAL(74047)             ANNAPOLIS         MD   21402   HOSPITAL (FEDERAL)   AN2635932             1,000             2,000                      1,500     3,000

100056865   044064790   *NORTON HOSPITAL                         LOUISVILLE        KY   40202       HOSPITAL         AN3011791    6,700    7,500    8,700    1,200                      6,025    24,100

100096440   044105924   *NORTON HOSPITAL WAC                     LOUISVILLE        KY   40202   PHS 340B HOSPITAL    AN3011791    1,400             1,200    2,800                      1,800     5,400

100057368   044065904   *NORTON HOSPITAL       340B              LOUISVILLE        KY   40202   PHS 340B HOSPITAL    AN3011791     700     1,100     900                                 900      2,700

100074838   055043018   NEW HANOVER REGIONAL MED CTR            WILMINGTON         NC   28401       HOSPITAL         AN3190193                                500                        500       500
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100075545   055072439   UNC HOSP & PHY(MIX PT CR 340B)      CHAPEL HILL      NC   27514   PHS 340B HOSPITAL    AN3208065    7,900   11,300   14,100    2,400                       8,925    35,700

100086718   055027342   UNC HOSP & PHCY (CSOS 340B)         CHAPEL HILL      NC   27514   PHS 340B HOSPITAL    AN3208065                                         2,400    1,300    1,850     3,700

100106714   055041822   UNC HOSP & PHCY (COP WAC)           CHAPEL HILL      NC   27514       HOSPITAL         AN3208065              300      500      300       400      400      380      1,900

100089636   055031013   UNC HOSP & PHCY (WAC)               CHAPEL HILL      NC   27514       HOSPITAL         AN3208065                      1,700                                1,700     1,700

100063974   019002733   NORTHWEST COMMUNITY HOSP PHCY    ARLINGTON HEIGHTS   IL   60005       HOSPITAL         AN3745304    5,500    6,100    6,300    5,600     5,480    5,400    5,730    34,380

100063968   019002675   OUR LADY OF RESURRECTION             CHICAGO         IL   60634       HOSPITAL         AN3870563    1,200    2,100    1,800    3,100      600     1,000    1,633     9,800

100062479   021000190   NEBRASKA METHODIST HOSPITAL           OMAHA          NE   68114       HOSPITAL         AN3979575    6,200    9,800    8,000   37,100     1,500    5,800   11,400    68,400

100062380   021000331   NEBR METHODIST HOSP-CANCER CTR        OMAHA          NE   68114       HOSPITAL         AN3979575     300      400      800      500                         500      2,000

100055778   038025502   EASTSIDE NEIGHBORHOOD HEALTH          DENVER         CO   80205    PHS 340B CLINIC     AN4229589   21,400   22,400   22,200   27,900    24,900   21,200   23,333   140,000

100062673   046095190   NAVAL MEDICAL CLINIC                 KEY WEST        FL   33040   HOSPITAL (FEDERAL)   AN4242943    4,800    1,900    1,200    1,200      600     3,600    2,217    13,300

100062404   046094870   (CRD)-NAVAL MEDICAL CLINIC           KEY WEST        FL   33040   HOSPITAL (FEDERAL)   AN4242943                      1,800                                1,800     1,800

100066884   018061531   NEWTON'S PHARMACY-RUSSELV CPA      RUSSELLVILLE      AR   72801     INDEPENDENT        AN4674950   18,000   24,500   31,900   21,000    44,000   24,800   27,367   164,200

100076384   025037531   NIOBRARA VALLEY HOSPITAL              LYNCH          NE   68746       HOSPITAL         AN4864826                                100                100      100       200

100071764   023143537   NORTH COUNTRY PHCY INC(Z) CPA        FRANKLIN        NJ   07416     INDEPENDENT        AN4999960    7,200    6,400    7,900   26,100              2,600   10,040    50,200

100051810   041074088   NAVAL HEALTH CLINIC PHARMACY     PATUXENT RIVER NA   MD   20670   HOSPITAL (FEDERAL)   AN5102619    1,500    4,800    3,500    2,400      500     4,800    2,917    17,500

100065588   019004473   NORTHWESTERN MEMORIAL HOSP           CHICAGO         IL   60611       HOSPITAL         AN5240394   18,900   23,300   20,000   21,900    37,540   12,380   22,337   134,020

100052902   004054957   NAVAL AMBULATORY CARE CTR(DOD)       GROTON          CT   06340   HOSPITAL (FEDERAL)   AN5322172    2,400   16,800    9,600     500                        7,325    29,300

100090541   032144949   NORTH VALLEY HOSPITAL                TONASKET        WA   98855       HOSPITAL         AN5395238    3,150    5,900    6,100    1,800               300     3,450    17,250

100072776   055047241   NAVAL HOSP BEAUFORT      (DOD)       BEAUFORT        SC   29902   HOSPITAL (FEDERAL)   AN5529334    8,000   16,100   20,000    6,500     6,100   14,400   11,850    71,100

100050118   004054551   NAVAL AMB CARE CTR      (DOD)         KITTERY        ME   03904   HOSPITAL (FEDERAL)   AN5595674    1,400    1,200    2,300    4,200                       2,275     9,100

100076879   024125435   NORTHEAST VALLEY HTH CORP 340B     SAN FERNANDO      CA   91340    PHS 340B CLINIC     AN5596208    3,400    3,500    3,100    4,100     2,100    2,800    3,167    19,000

100052563   018040915   NOCONA GENERAL HOSPITAL              NOCONA          TX   76255       HOSPITAL         AN5962166     100               400      200                         233       700

100055485   044087924   NAVY EXCHANGE PHCY                  MILLINGTON       TN   38054   HOSPITAL (FEDERAL)   AN6397930    7,000   14,500   75,600    2,000                      24,775    99,100

100055947   032046482   NEIL'S PHCY NWPS/GNP                 SHELTON         WA   98584     INDEPENDENT        AN6512328   10,500   12,000   13,000   12,000    14,700    8,000   11,700    70,200

100072368   055019711   NORTH VILLAGE PHCY INC(Z) CPA      YANCEYVILLE       NC   27379     INDEPENDENT        AN6746917   20,300   14,800   13,400   13,600     2,500   21,000   14,267    85,600

100067062   052056937   NORTH ALABAMA REGIONAL HOSPIT        DECATUR         AL   35603       HOSPITAL         AN7301865     100      100      100      600                         225       900

100083680   020149989   SUMMIT HEALTHCARE                   SHOW LOW         AZ   85901       HOSPITAL         AN7323582     900      200      700      300      1,500    1,000     767      4,600

100083681   020149997   SUMMIT HEALTHCARE 340B              SHOW LOW         AZ   85901   PHS 340B HOSPITAL    AN7323582     600      500                                           550      1,100

100090698   020158790   SUMMIT HEALTHCARE WAC               SHOW LOW         AZ   85901       HOSPITAL         AN7323582              300      500      100                         300       900

100109466   023160507   NU WAY PHARMACY                     LEVITTOWN        PA   19055     INDEPENDENT        AN7680881    3,400    3,100    2,800    3,100     3,800    2,900    3,183    19,100

100071121   046140764   COLUMBIA TWIN CITIES HOSP #712       NICEVILLE       FL   32578       HOSPITAL         AN8273524     400      700      200      300       600      600      467      2,800

100052488   020029736   PLAZA DRUGS                         LAS VEGAS        NM   87701     INDEPENDENT        AN8319344   19,800   17,900   18,100   19,900    13,800   11,200   16,783   100,700

100070480   018144436   NEWSOM'S FAMILY PHARMACY CPA          STRONG         AR   71765     INDEPENDENT        AN8580006    9,800    4,600   10,300    5,600     7,100    5,700    7,183    43,100

100059377   023003244   NEW YORK UNIV MEDICAL CENTER         NEW YORK        NY   10016     INDEPENDENT        AN8637920    1,000                      1,000     2,700    1,200    1,475     5,900

100067061   052056911   NEIL'S PHCY       SF                  PELHAM         AL   35124     INDEPENDENT        AN8668242    4,400    5,200                                         4,800     9,600

100104219   019180968   NORWEGIAN-AMERICAN HOSP              CHICAGO         IL   60622       HOSPITAL         AN8905436    1,000     400      700     1,300               900      860      4,300

100052645   010054445   NICHOLS' APOTHECARY, INC APSC      ELKHORN CITY      KY   41522     INDEPENDENT        AN8938637     800      400     3,800   (2,500)    8,700   12,700    3,983    23,900

100074093   008011163   NORTH LAKE MED PHCY, INC. CPA        LAKEPORT        CA   95453     INDEPENDENT        AN9157113   37,500   24,000   25,600   29,800    29,600   30,700   29,533   177,200

100074394   008070854   NORTH LAKE MEDICAL PHCYIN 340B       LAKEPORT        CA   95453    PHS 340B CLINIC     AN9157113    2,000    2,100    1,000    1,900     2,500             1,900     9,500

100060223   044063966   NUNN DRUG STORE APSC                EDMONTON         KY   42129     INDEPENDENT        AN9269603    5,500    4,500    5,000    3,500     7,000    4,000    4,917    29,500

100070367   018143750   NOLEN PHARMACY          CPA       FORT STOCKTON      TX   79735     INDEPENDENT        AN9355961    1,700    3,700    1,200    5,000     3,000    1,500    2,683    16,100

100089437   018236513   NOLEN PHARMACY    (340B) CPA      FORT STOCKTON      TX   79735   PHS 340B HOSPITAL    AN9355961    1,300     500              1,000                        933      2,800

100052486   020029363   NOWELL PHARMACY                     LOVINGTON        NM   88260     INDEPENDENT        AN9472793   23,100   19,800   36,400    9,300    14,000   13,500   19,350   116,100

100109750   046059972   ORANGE CNTY MED CLNC PHCY 340B       ORLANDO         FL   32805    PHS 340B CLINIC     AO0102842     400      700                                           550      1,100
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100055889   046008870   ORLANDO PHARMACY INC.                    ORLANDO        FL   32804     INDEPENDENT        AO0204432    1,300     500     100      500     2,000   2,200   1,100    6,600

100086052   055026294   *OCONEE MEDICAL CTR (AMB)                SENECA         SC   29672       HOSPITAL         AO0347939    4,600    5,800   4,700    5,000                    5,025   20,100

100072371   055050351   *OCONEE MEDICAL CENTER                   SENECA         SC   29672       HOSPITAL         AO0347939    2,200    1,800    800     3,000                    1,950    7,800

100090125   032143867   MID-VALLEY HOSPITAL                       OMAK          WA   98841       HOSPITAL         AO0966347     500      450     900               400     500     550     2,750

100090515   032144667   OKANOGAN DOUGLAS CTY- 3 RIVER           BREWSTER        WA   98812       HOSPITAL         AO0971576             1,200    600      100                      633     1,900

100090028   032143297   OTHELLO COMMUNITY HOSPITAL               OTHELLO        WA   99344       HOSPITAL         AO0984787     100      200     100      200              200     160      800

100090499   032144485   OVERLAKE HOSP MED CTR                   BELLEVUE        WA   98004       HOSPITAL         AO1009718    3,100    3,500   3,300    1,700    3,800   3,400   3,133   18,800

100106885   021173757   OLATHE MEDICAL CENTER                    OLATHE         KS   66061       HOSPITAL         AO1294191    4,000    6,250   5,250    5,200    5,900   5,180   5,297   31,780

100062400   021001495   OTTAWA COUNTY HEALTH CENTER            MINNEAPOLIS      KS   67467       HOSPITAL         AO1299557     100      100     100                               100      300

100062041   021001271   OSBORNE COUNTY MEMORIAL HOSP             OSBORNE        KS   67473       HOSPITAL         AO1299569                      100                               100      100

100062039   021001255   MITCHELL COUNTY HOSPITAL                  BELOIT        KS   67420       HOSPITAL         AO1299571    1,200    1,000    700     2,400     500     500    1,050    6,300

100089503   008108480   OAK VALLEY DISTRICT HOSPITAL             OAKDALE        CA   95361       HOSPITAL         AO1316353     450     1,100    300      500      950     500     633     3,800

100069198   055072090   OUR COMMUNITY HOSP 51         C01     SCOTLAND NECK     NC   27874       HOSPITAL         AO1478470                               100                      100      100

100070594   023143560   OLSSON'S PHARMACY(X)       CPA         HAWTHORNE        NJ   07506     INDEPENDENT        AO1481794    1,800    1,600   2,500    1,200    1,400   1,600   1,683   10,100

100053121   012047704   *ONTARIO PHARMACY INC.                   ONTARIO        CA   91764     INDEPENDENT        AO1553204    1,000                                              1,000    1,000

100054740   017011569   ONEIDA, COUNTY HOSPITAL                 MALAD CITY      ID   83252       HOSPITAL         AO1619189              200              200      100     100     150      600

100058798   041023069   FORK UNION PHARM         728            FORK UNION      VA   23055     INDEPENDENT        AO2352398    2,000    2,000   5,100    9,500     800     200    3,267   19,600

100067021   052060319   OAK RIDGE HEALTH CARE CENTER            OAK RIDGE       TN   37830    LONG TERM CARE      AO2379205    2,800    2,100   1,600    5,300    2,400           2,840   14,200

100070435   056143263   SILVERTON PHARMACY(Z)-        CPA       TOMS RIVER      NJ   08753     INDEPENDENT        AO2597550    6,100    5,600   5,600    4,500    8,000   4,660   5,743   34,460

100070485   046141390   OAKHILL COMMUNITY HOSP        #712     BROOKSVILLE      FL   34613       HOSPITAL         AO2610839    1,500    1,700   1,500    1,600    1,800   1,320   1,570    9,420

100090228   010224402   MERCY ANDERSON HOSPITAL IP              CINCINNATI      OH   45255       HOSPITAL         AO2634144    1,300    1,400   2,400    1,500    1,780   1,400   1,630    9,780

100068691   049179689   OTSEGO COUNTY MEMORIAL HOSP              GAYLORD        MI   49735       HOSPITAL         AO2756899    1,800    1,800   2,100    2,100    3,420   2,060   2,213   13,280

100083604   049180182   OTSEGO COUNTY MEM HOSP (340B)            GAYLORD        MI   49735   PHS 340B HOSPITAL    AO2756899     700      600     900      600                      700     2,800

100063612   049051409   *ORR'S DRUG STORE,INC.     SF            PIGEON         MI   48755     INDEPENDENT        AO2775801    4,700    4,800   4,400    7,800                    5,425   21,700

100052279   010040543   TRINITY EAST                           STEUBENVILLE     OH   43952       HOSPITAL         AO2875067    1,900    4,700   3,000    3,000                    3,150   12,600

100085834   021158915   OSWEGO DRUG STORE        CPA             OSWEGO         KS   67356     INDEPENDENT        AO2902977   10,000   15,000   7,000    2,000    9,000   8,000   8,500   51,000

100055953   026049692   PRINCE KUHIO PHARMACY                   HONOLULU        HI   96815     INDEPENDENT        AO2943896    2,200    1,600   1,700     700      900     600    1,283    7,700

100060353   010100651   ST. JOSEPH MARTIN PHARMACY                MARTIN        KY   41649       HOSPITAL         AO3010268     200      300     300      450      300     360     318     1,910

100101321   049194522   OAKWOOD HOSPITAL WAC                    DEARBORN        MI   48124   PHS 340B HOSPITAL    AO3066265    2,300    3,600   1,900    4,500   12,940   8,980   5,703   34,220

100059604   049112144   OAKWOOD HOSPITAL         340B           DEARBORN        MI   48124   PHS 340B HOSPITAL    AO3066265    7,300    8,500   7,900    6,000             160    5,972   29,860

100066879   049047589   OAKWOOD HOSPITAL - MAIN RX (1)          DEARBORN        MI   48124       HOSPITAL         AO3066265    2,300    2,700   4,000    3,900     560    1,900   2,560   15,360

100056311   046002667   OCEAN SIDE PHARMACY INC                FORT PIERCE      FL   34949     INDEPENDENT        AO3080316    3,000     700              500             1,800   1,500    6,000

100050541   004040915   *OUR LADY OF FATIMA HOSPITAL         NORTH PROVIDENCE   RI   02904       HOSPITAL         AO3262083    1,100     900    1,300     850                     1,038    4,150

100096916   037103291   OUR LADY OF THE LAKE RMC WAC           BATON ROUGE      LA   70808       HOSPITAL         AO3420027    3,500    4,100   3,500    4,700    3,920   6,820   4,423   26,540

100093050   037130351   OUR LADY OF THE LAKE RG MD CTR         BATON ROUGE      LA   70808       HOSPITAL         AO3420027    4,100    5,100   4,200    3,000    3,300    480    3,363   20,180

100062184   025004333   OAKES COMMUNITY HOSPITAL                  OAKES         ND   58474       HOSPITAL         AO3789445     100      200     200               100             150      600

100052246   010040022   O'BLENESS MEMORIAL HOSPITAL              ATHENS         OH   45701       HOSPITAL         AO4122975                               600      160     720     493     1,480

100066513   010160259   O'BLENESS MEM HOSP 340B                  ATHENS         OH   45701   PHS 340B HOSPITAL    AO4122975              600     200                               400      800

100050138   004054668   NAVAL AMB CARE CTR       (DOD)           NEWPORT        RI   02841   HOSPITAL (FEDERAL)   AO4514685    3,600    8,400   4,800   10,700                    6,875   27,500

100077017   055043760   CAREPARTNERS REHAB. HOSPITAL            ASHEVILLE       NC   28803       HOSPITAL         AO4784713     200      300     100      300      460     340     283     1,700

100075516   055071894   O'BERRY CENTER PHARMACY                 GOLDSBORO       NC   27530       HOSPITAL         AO4950235     200                       200      500             300      900

100060354   010100677   OAKWOOD PHARMACY                        SOMERSET        KY   42501       HOSPITAL         AO5105196              200     300      500                      333     1,000

100058410   044050278   OKOLONA DRUG CO          SF              OKOLONA        MS   38860     INDEPENDENT        AO6170548    8,300    5,100   7,300    5,500   23,200   4,700   9,017   54,100

100096644   052114454   OKITIBBEHA COUNTY HOSP(WAC              STARKVILLE      MS   39759   PHS 340B HOSPITAL    AO6249165     300     1,100   2,400    2,000    3,700   3,040   2,090   12,540
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100066723   052056176   OKITIBBEHA COUNTY HOSPITAL             STARKVILLE      MS   39759       HOSPITAL        AO6249165    1,300     400      1,100      600      200      560      693      4,160

100062364   052160705   OKITIBBEHA COUNTY HOSP 340B            STARKVILLE      MS   39759   PHS 340B HOSPITAL   AO6249165    1,100     200      1,000      600                        725      2,900

100067817   004175562   HUDSON PHCY & SURG (LTC)CPA             OSSINING       NY   10562     INDEPENDENT       AO6873043             4,000     2,000     1,000    3,600             2,650    10,600

100067816   004175554   HUDSON PHCY & SURG GERIMED CPA          OSSINING       NY   10562     INDEPENDENT       AO6873043     800                         1,000    6,100     100     2,000     8,000

100090443   018189290   OLD CORNER DRUG                           WEST         TX   76691     INDEPENDENT       AO7030771   11,300   11,900     7,300    10,800    9,500    8,900    9,950    59,700

100076760   044088179   ANDERSON HOSPITAL - MARYVILLE          MARYVILLE       IL   62062       HOSPITAL        AO7297117    2,100    2,200     2,600     7,000     200     1,900    2,667    16,000

100071492   023143230   OM PHARMACY INC(X)      CPA            BROOKLYN        NY   11233     INDEPENDENT       AO9058808     500      600       400      2,000                       875      3,500

100063157   025001784   OTT DRUG STORE INC,     SF             DEER RIVER      MN   56636     INDEPENDENT       AO9629885    4,500    6,500    11,000     3,000    7,000    3,500    5,917    35,500

100054584   012015149   BEEMANS RX PHARMACY                  SAN BERNARDINO    CA   92404     INDEPENDENT       AP0003854   48,600   57,000    47,600    53,200   47,700   48,700   50,467   302,800

100072844   044140186   CENTENNIAL MEDICAL CENTER #712         NASHVILLE       TN   37203       HOSPITAL        AP0205799    4,900    5,200     5,100     6,400    3,700    3,440    4,790    28,740

100057501   046005165   PALM SPRINGS GENERAL HOSPITAL           HIALEAH        FL   33012       HOSPITAL        AP0212489     100                100       200                        133       400

100054087   012037762   PRESBYTERIAN INTER-COM HSP PHY          WHITTIER       CA   90602       HOSPITAL        AP0317924    3,200    2,500     4,900      800      100     2,600    2,350    14,100

100100558   012087817   PRESBYTERIAN INTER-COM WAC              WHITTIER       CA   90602   PHS 340B HOSPITAL   AP0317924                                  700     4,380    1,280    2,120     6,360

100076745   012120352   PRESBYTERIAN INTER-COM 340B             WHITTIER       CA   90602   PHS 340B HOSPITAL   AP0317924     800     1,800               2,200              640     1,360     5,440

100062864   052050922   GREENE COUNTY HOSPITAL                   EUTAW         AL   35462       HOSPITAL        AP0479837              100                 100                        100       200

100067073   052057133   PATTERSON PHCY CORP          SF          LEEDS         AL   35094     INDEPENDENT       AP0482632    4,800    4,100    12,000    10,000    6,000    4,500    6,900    41,400

100060027   038300046   PENROSE HOSPITAL                    COLORADO SPRINGS   CO   80907       HOSPITAL        AP0843436    2,600    3,100     1,600     3,150    3,160    2,300    2,652    15,910

100060031   038300095   PORTER ADVENTIST HOSPITAL               DENVER         CO   80210       HOSPITAL        AP0851673    2,000    2,100     2,500     3,500    2,720    2,460    2,547    15,280

100054610   037059626   THE MEDICINE MAN GNP                    HOUSTON        TX   77061     INDEPENDENT       AP0922369    3,100    2,500     4,100     6,000                      3,925    15,700

100090543   032144964   PROSSER MEMORIAL HOSPITAL               PROSSER        WA   99350       HOSPITAL        AP1014860     500      400       200       400      300      400      367      2,200

100104615   012012104   PALOMAR MED CTR DOWNTOWN WAC           ESCONDIDO       CA   92025       HOSPITAL        AP1032399     300      400      1,300     1,700    1,500     200      900      5,400

100076341   012049015   PALOMAR MED CENTER DOWNTOWN            ESCONDIDO       CA   92025       HOSPITAL        AP1032399     500      700       500                                  567      1,700

100070066   012049098   PALOMAR MED CTR 340B                   ESCONDIDO       CA   92025   PHS 340B HOSPITAL   AP1032399     100      100       300               1,020              380      1,520

100076423   020220103   PHARMEX DBA: PINON FAMILY PHCY        FARMINGTON       NM   87401     INDEPENDENT       AP1046956    5,000    8,000     5,500     6,000    8,500    3,000    6,000    36,000

100050587   004023218   NORTHERN MAINE MED CENTER(X)           FORT KENT       ME   04743       HOSPITAL        AP1083500     100      100       100                         200      125       500

100073319   004155200   NORTHERN MAINE MED CTR(340B)X)         FORT KENT       ME   04743   PHS 340B HOSPITAL   AP1083500                        100                                  100       100

100101337   004101253   NORTHERN MAINE MED CTR (WAC)           FORT KENT       ME   04743       HOSPITAL        AP1083500                                  100                        100       100

100083848   004062562   PORTER HOSPITAL, INC 340B              MIDDLEBURY      VT   05753   PHS 340B HOSPITAL   AP1125067    1,400     (200)     500                                  567      1,700

100050397   004017558   PORTER HOSPITAL, INC                   MIDDLEBURY      VT   05753       HOSPITAL        AP1125067              100       200       200      640               285      1,140

100056084   040040279   SGMC DEPT OF PHARMACY                   VALDOSTA       GA   31602       HOSPITAL        AP1167154    1,100    2,150     2,350     1,000      50              1,330     6,650

100096371   040115071   SGMC DEPT OF PHCY (WAC)                 VALDOSTA       GA   31602   PHS 340B HOSPITAL   AP1167154              250       200               3,150    2,400    1,500     6,000

100068152   040111104   SGMC DEPT OF PHARMACY PHS               VALDOSTA       GA   31602   PHS 340B HOSPITAL   AP1167154     400      350       250       250      100               270      1,350

100069190   055069682   PITT CTY MEM HOSPITAL INC              GREENVILLE      NC   27834       HOSPITAL        AP1180885    2,200    5,200     4,300     2,900    1,600    1,100    2,883    17,300

100096337   055037150   PITT CTY MEM HOSP INC (WAC)            GREENVILLE      NC   27834       HOSPITAL        AP1180885                                  500     3,800    1,900    2,067     6,200

100069192   055069708   PITT CTY MEM HOSP INC (340B)           GREENVILLE      NC   27834   PHS 340B HOSPITAL   AP1180885    1,000     800      1,900      900               700     1,060     5,300

100061212   040069724   PUTNAM GENERAL HOSPITAL                EATONTON        GA   31024       HOSPITAL        AP1197676     200      200       300       200      360      400      277      1,660

100062036   021001214   ROOKS COUNTY HEALTH CENTER             PLAINVILLE      KS   67663       HOSPITAL        AP1277931     200      200       100       100      100      200      150       900

100063044   021002220   PRATT REGIONAL MED CTR CORPOR            PRATT         KS   67124       HOSPITAL        AP1291068     800      500       900       300      300      300      517      3,100

100062040   021001263   PHILLIPS COUNTY HOSPITAL OPER         PHILLIPSBURG     KS   67661       HOSPITAL        AP1300386     300       (50)     250       100      160      280      173      1,040

100060619   010098749   PARKWAY PHARMACY            APSC      WHITESBURG       KY   41858     INDEPENDENT       AP1313206   30,500   27,800    31,600    31,200   28,500   29,800   29,900   179,400

100084000   010192740   PARKWAY PHARMACY 340B                 WHITESBURG       KY   41858    PHS 340B CLINIC    AP1313206    2,000             (2,000)                                 -         -

100060103   010100214   PROFESSIONAL PHARMACY        APSC      LEXINGTON       KY   40503     INDEPENDENT       AP1340998     100      200       700                100      300      280      1,400

100066146   055070797   PIKE'S PHARMACY INC(Z)(GNP)CPA         CHARLOTTE       NC   28205     INDEPENDENT       AP1495945    8,500    3,100     8,600     3,500    5,700    4,500    5,650    33,900

100065915   049060400   *PHARMACY CARE         SF              MIDDLEVILLE     MI   49333     INDEPENDENT       AP1500405   17,700   14,500     8,800                               13,667    41,000
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100060539   023030841   SEIFERT PHARMACY                    GUTTENBERG       NJ   07093       INDEPENDENT        AP1503754    1,100    1,100     1,000      800      500      900       900      5,400

100071523   023143610   POMARICO PHARMACY(Z)        CPA     JERSEY CITY      NJ   07305       INDEPENDENT        AP1536640     100      400       300       100               200       220      1,100

100054262   012008557   PARKER'S PHCY PRO CPA                HOLTVILLE       CA   92250       INDEPENDENT        AP1577557    4,400    6,300     5,100     5,500    2,600              4,780    23,900

100073460   037113415   PALACIOS PRESCRIPTION SHOPPE          PALACIOS       TX   77465       INDEPENDENT        AP1630260    8,000   16,500    16,000    15,600    8,600    5,300    11,667    70,000

100050425   004028894   PEEKSKILL PHCY INC (B) (ARX)         PEEKSKILL       NY   10566       INDEPENDENT        AP1638610                        100       500                         300       600

100050720   037072835   PONTCHARTRAIN PHARMACY              MANDEVILLE       LA   70448     LONG TERM CARE       AP1855494   11,600   16,200    11,200    21,600   39,100             19,940    99,700

100050702   004070052   HUDSON VALLEY HOSPITAL CENTER     CORTLANDT MANOR    NY   10567         HOSPITAL         AP1860483              200                 200      200                200       600

100050392   004010330   PACKARD MED PHCY INC (GNP)           LAWRENCE        MA   01843       INDEPENDENT        AP1918753                        (600)     600                          -         -

100053521   024054403   PING ON PHARMACY 3547               LOS ANGELES      CA   90012       INDEPENDENT        AP1993600                                  700                         700       700

100056700   044067264   PEARSON'S DISC DRUGS LLC SF           HOUSTON        MS   38851       INDEPENDENT        AP2025321   16,400   16,200    16,100    15,200   12,600   12,800    14,883    89,300

100072053   018092502   PARKS DRUG                            DENISON        TX   75020       INDEPENDENT        AP2037554   25,300   28,800    23,700    30,000   26,800   21,000    25,933   155,600

100055982   032077057   GHC PHARM PORT ORCH MC 12          PORT ORCHARD      WA   98366       HEALTH PLAN        AP2043266   20,200   20,900    24,800    17,000                      20,725    82,900

100071818   032120055   GHC PHARM PORT ORCH MC 12 2        PORT ORCHARD      WA   98366       HEALTH PLAN        AP2043266                                         24,800   21,400    23,100    46,200

100064370   018066126   PAWHUSKA HOSPITAL                    PAWHUSKA        OK   74056         HOSPITAL         AP2130778              100       200       200                         167       500

100064324   023089219   POPULAR PHARMACY INC(GNP)(B)        PATCHOGUE        NY   11772       INDEPENDENT        AP2145197                                           200      (100)      50       100

100092919   018396309   PAULS VALLEY GENERAL HOSP           PAULS VALLEY     OK   73075         HOSPITAL         AP2160771     400                300      1,200                        633      1,900

100069271   046141671   ST LUCIE MEDICAL CTR    #712      PORT SAINT LUCIE   FL   34952         HOSPITAL         AP2167787     400      400       300       800     1,420               664      3,320

100106808   018356535   PURCELL MUNICIPAL HOSPITAL            PURCELL        OK   73080         HOSPITAL         AP2175138              200       100       100                80       120       480

100051740   018044792   PARMER MEDICAL CENTER                  FRIONA        TX   79035         HOSPITAL         AP2226757     100      400                1,200                        567      1,700

100075430   021161117   NUCARA IV SERVICES                   OTTUMWA         IA   52501   HOME HEALTH SERVICES   AP2229020                                 2,000                       2,000     2,000

100073589   018093567   MEDICAL ARTS PHARMACY               SAN ANGELO       TX   76901       INDEPENDENT        AP2250114   16,000   17,800    13,500    16,500   18,500   14,000    16,050    96,300

100058745   049029934   ARMC INPATIENT PHCY/EMPLOYPHCY        ALPENA         MI   49707         HOSPITAL         AP2268818    3,600    4,100     4,300     7,600     300     2,800     3,783    22,700

100059104   049000521   ARMC INPATIENT PHARMACY MEDIA         ALPENA         MI   49707         HOSPITAL         AP2268818    1,200    2,400     1,800     2,300    2,100    1,700     1,917    11,500

100055178   010043935   FAIRFIELD MEDICAL CENTER             LANCASTER       OH   43130         HOSPITAL         AP2282058    2,200    2,200     4,000     1,500    4,200     100      2,367    14,200

100052300   010041103   RUWE FAMILY PHCY-COVINGTN APSC       COVINGTON       KY   41011       INDEPENDENT        AP2338184    1,500    3,100     2,000     2,000    1,500    3,100     2,200    13,200

100059616   041053223   NOVANT HLTH PRINCE WILLIAM I/P       MANASSAS        VA   20110         HOSPITAL         AP2491948     500      800       500       650     2,600              1,010     5,050

100051962   018045096   PHARMACY PLUS, #2                   GROESBECK        TX   76642       INDEPENDENT        AP2524696    4,700    5,600     4,700     4,000    4,700    4,500     4,700    28,200

100051979   018045138   PHARMACY PLUS (#1)                    TEAGUE         TX   75860       INDEPENDENT        AP2524709    3,600    4,500     4,400     4,400    2,500    2,100     3,583    21,500

100059526   041070078   PARK WEST MEDICAL CENTER 340B        BALTIMORE       MD   21215      PHS 340B CLINIC     AP2565301     100      100       100       100                         100       400

100061067   023015172   PHILHAVEN HOSPITAL                 MOUNT GRETNA      PA   17064         HOSPITAL         AP2566670              100                 100                         100       200

100107843   021174516   POLING DRUG 340B                      BEATRICE       NE   68310     PHS 340B HOSPITAL    AP2587698                        100       100                         100       200

100071515   056143206   PARKWAY PHARMACY(X)         CPA     ATLANTIC CITY    NJ   08401       INDEPENDENT        AP2605181    1,100     900      1,500     4,700    2,000    1,500     1,950    11,700

100065706   021004127   *PARKLANE PHARMACY                    WICHITA        KS   67218       INDEPENDENT        AP2627226    9,000    9,000     8,500     8,000                       8,625    34,500

100110388   041154971   WINCHESTER MED CTR INC. (RX)        WINCHESTER       VA   22601         HOSPITAL         AP2644323                       4,100     5,000    4,650    4,300     4,513    18,050

100055108   010045740   PHILLIPS DRUG, INC     SF            RICHMOND        IN   47374       INDEPENDENT        AP2655958   42,700   37,400    42,300    38,100   42,500   29,800    38,800   232,800

100069860   040113803   PRUITTHLTH PHCY SVS INC TOCC          TOCCOA         GA   30577     LONG TERM CARE       AP2679756   81,030   59,100    87,000    40,500   96,000   31,800    65,905   395,430

100060188   056027722   PUBLIC DRUG OF DARBY (IPBG)            DARBY         PA   19023       INDEPENDENT        AP2689961    8,000    3,100     6,000     6,000    4,000    1,500     4,767    28,600

100058100   019051151   PURDUE UNIVERSITY PHCY MMCAP      WEST LAFAYETTE     IN   47907         ALT SITE         AP2692045     800      200       800       400      300      400       483      2,900

100065070   019003863   PARKVIEW MEMORIAL HOSP INC.I/P      FORT WAYNE       IN   46805         HOSPITAL         AP2705424    3,200    2,700     3,700     2,200    3,700    2,220     2,953    17,720

100065318   019004317   PARKVIEW MEMORIAL HOSPITAL O/P      FORT WAYNE       IN   46805         HOSPITAL         AP2705424    1,200     (100)                                           550      1,100

100104567   010235234   ADENA PIKE MED CENTER                 WAVERLY        OH   45690         HOSPITAL         AP2714334              300       100       300      600                325      1,300

100108058   019186015   LAKELAND MEDICAL CENTER OP             NILES         MI   49120         HOSPITAL         AP2733548    2,200    2,200     1,700     1,600    4,060    2,100     2,310    13,860

100065076   019004036   LAKELAND MEDICAL CENTER                NILES         MI   49120         HOSPITAL         AP2733548     700      700       200       400                         500      2,000

100104576   019181743   LAKELAND MEDICAL CENTER WAC            NILES         MI   49120     PHS 340B HOSPITAL    AP2733548     400      500                 600               300       450      1,800
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100064772   019008979   LAKELAND MEDICAL CENTER (340B)       NILES        MI   49120   PHS 340B HOSPITAL   AP2733548     300      300      400      100                        275      1,100

100061306   049120105   PENNOCK HOSPITAL-PHARMACY          HASTINGS       MI   49058       HOSPITAL        AP2748020    1,200    1,100    1,800    1,600     160      880     1,123     6,740

100059170   049035949   PORT HURON HOSPITAL I/P           PORT HURON      MI   48061       HOSPITAL        AP2754287    4,300    4,400    3,900    2,300    4,400    2,540    3,640    21,840

100065925   049061564   PETERTYL DRUG CO INC             TRAVERSE CITY    MI   49684     INDEPENDENT       AP2776334    1,000    1,600    2,400    2,000    3,500    2,000    2,083    12,500

100056142   010059386   PACK'S PHARMACY         APSC       CINCINNATI     OH   45208     INDEPENDENT       AP2810629    3,000    1,900    2,400    2,600    1,800    2,800    2,417    14,500

100055859   010061671   TISCHBEIN APOTHECARY      APSC     CINCINNATI     OH   45208     INDEPENDENT       AP2858403    1,200    2,100    1,100    2,300     100     1,600    1,400     8,400

100065620   021003608   PALACE DRUG STORE INC     CPA        COLBY        KS   67701     INDEPENDENT       AP2893421    6,600    3,000   18,000    2,000              100     5,940    29,700

100073270   010141200   PARMA COMMUNITY HOSPITAL             PARMA        OH   44129       HOSPITAL        AP2946892    2,500    2,500    1,400     800     2,000    2,960    2,027    12,160

100070534   026130336   KTA KEAUHOU PHARMACY              KAILUA KONA     HI   96740        CHAIN          AP2952871    8,600   11,600   14,800    9,200   15,800   12,300   12,050    72,300

100059048   041054486   POTOMAC VALLEY HOSPITAL OF WV       KEYSER        WV   26726       HOSPITAL        AP2983143     800      200      600      500               600      540      2,700

100058543   010102392   PVH (340B) (EMP)                 POINT PLEASANT   WV   25550   PHS 340B HOSPITAL   AP2983701    1,100    2,100    1,300    1,500    1,800    1,300    1,517     9,100

100101166   010234195   PVH (WAC) (EMP)                  POINT PLEASANT   WV   25550   PHS 340B HOSPITAL   AP2983701     700      900      200      600     1,600     500      750      4,500

100051787   010048215   PVH IMPATIENT                    POINT PLEASANT   WV   25550       HOSPITAL        AP2983701              400      600      200      600      260      412      2,060

100059061   041054924   PRINCETON COMMUNITY HOSP. 831      PRINCETON      WV   24740       HOSPITAL        AP2986985    1,000     800      500      800      500      400      667      4,000

100069788   041112672   PRINCETON COMMUNITY HOSP(340B)     PRINCETON      WV   24740   PHS 340B HOSPITAL   AP2986985    1,200     500      700      500               900      760      3,800

100070630   041113142   PRINCETON COMM HOSP(WAC)           PRINCETON      WV   24740       HOSPITAL        AP2986985                                300      300      200      267       800

100100681   010233965   PINEVILLE COMMUNITY HOSP WAC       PINEVILLE      KY   40977   PHS 340B HOSPITAL   AP2996758     700      900      800      300     1,000     600      717      4,300

100068433   010141796   PINEVILLE COMM HOSP INPATIENT      PINEVILLE      KY   40977       HOSPITAL        AP2996758                       100      500      200               267       800

100068436   010141804   PINEVILLE COMMUNITY HOSP 340B      PINEVILLE      KY   40977   PHS 340B HOSPITAL   AP2996758     200                        100                        150       300

100060105   010100230   COLEMAN'S DRUG STORE INC. APSC     STANFORD       KY   40484     INDEPENDENT       AP2998168   10,000   11,000    9,200   11,000   10,000    8,500    9,950    59,700

100068437   010141812   PINEVILLE COMM HOSP ASSN INC       PINEVILLE      KY   40977       HOSPITAL        AP3004405    1,800    1,000                                        1,400     2,800

100060492   044085340   UNITED REGIONAL MED CTR PHCY      MANCHESTER      TN   37355       HOSPITAL        AP3005926     250      350      400      750                        438      1,750

100060186   056027706   PAOLI PHARMACY (IPBG)                PAOLI        PA   19301     INDEPENDENT       AP3015523    2,700    3,800    2,700    2,000    3,200    2,900    2,883    17,300

100073976   019101030   PRAIRIE MEDICAL PHARMACY            MATTOON       IL   61938       HOSPITAL        AP3030284                                500     6,100    3,500    3,367    10,100

100059152   044043539   PRESCRIPTIONS PLUS LTD              LEBANON       IL   62254     INDEPENDENT       AP3157434    9,100    7,700    9,100   14,100    2,200    6,600    8,133    48,800

100089777   055030973   *VIDANT PUNGO HOSITAL              BELHAVEN       NC   27810       HOSPITAL        AP3179226     100                                                   100       100

100074837   055042242   NASH GENERAL HOSP                 ROCKY MOUNT     NC   27804       HOSPITAL        AP3187944    1,100    2,300    2,650    1,700    1,700    1,000    1,742    10,450

100075030   055051615   NASH GENERAL HOSP       (340B)    ROCKY MOUNT     NC   27804   PHS 340B HOSPITAL   AP3187944     500      500      750      100      360      800      502      3,010

100096854   055037754   NASH GENERAL HOSP (WAC)           ROCKY MOUNT     NC   27804       HOSPITAL        AP3187944     300                                 400      400      367      1,100

100074841   055042150   NOVANT HTH PRESBYTERIAN MD CTR     CHARLOTTE      NC   28204       HOSPITAL        AP3206605    4,300    4,200    4,500    1,700     700     1,500    2,817    16,900

100076208   055069369   NOVANT HTH PRESBYTERIAN (340B)     CHARLOTTE      NC   28204   PHS 340B HOSPITAL   AP3206605    1,100    1,100    1,000    1,000     700     2,900    1,300     7,800

100091208   055031443   NOVANT HTH PRESBYTERIAN (WAC)      CHARLOTTE      NC   28204       HOSPITAL        AP3206605                               1,400    3,640     900     1,980     5,940

100058101   019051193   PURDUE UNIV TEACHING HSP MMCAP   WEST LAFAYETTE   IN   47907       ALT SITE        AP3501574     100      200      200      100               100      140       700

100053794   017086470   PENNY WISE DRUG 1                  CALDWELL       ID   83605     INDEPENDENT       AP3527186   17,800   17,800   16,400   15,200   17,800    8,300   15,550    93,300

100058518   044040428   MEM HOSP OF CARBONDALE            CARBONDALE      IL   62901       HOSPITAL        AP3586281    2,400    2,700    2,900    4,000     160     2,080    2,373    14,240

100096445   044105965   MEM HOSPITAL CARBONDALE WAC       CARBONDALE      IL   62901   PHS 340B HOSPITAL   AP3586281                                        2,460    1,300    1,880     3,760

100069616   044103473   MEM HOSP OF CARBONDALE 340B       CARBONDALE      IL   62901   PHS 340B HOSPITAL   AP3586281     700      600      700      600      560      480      607      3,640

100056992   019045013   PEARMAN PHARMACY INC      APSC       PARIS        IL   61944     INDEPENDENT       AP3754101   25,600   14,600   12,800   41,400   15,500   42,700   25,433   152,600

100067132   021044909   PERSHING MEMORIAL HSP NOVATION    BROOKFIELD      MO   64628       HOSPITAL        AP3827322     100      100      300      400                        225       900

100090741   044210484   PINCKNEYVILLE COMM HOSP 340B     PINCKNEYVILLE    IL   62274   PHS 340B HOSPITAL   AP3848275    1,000     700      600     1,200                       875      3,500

100090742   044210492   PINCKNEYVILLE COMMUNITY HOSP     PINCKNEYVILLE    IL   62274       HOSPITAL        AP3848275      50      450      200      150      660      860      395      2,370

100055847   019025346   PERRY MEM HOSP PHARMACY DEPT       PRINCETON      IL   61356       HOSPITAL        AP3888899              200      100      300      160      100      172       860

100090740   044210476   PIKE COUNTY MEMORIAL HOSPITAL      LOUISIANA      MO   63353       HOSPITAL        AP3972658     100     1,100    3,300                       600     1,275     5,100

100053949   038030148   PERKINS COUNTY HEALTH SRV/HSCA       GRANT        NE   69140       HOSPITAL        AP3993943                                                  400      400       400
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100068579   021146092   PENDER COMMUNITY HOSPITAL               PENDER        NE   68047       HOSPITAL         AP3998474     300       -       300      100      380      200      213      1,280

100070760   052140228   PARKRIDGE MEDICAL CENTER             CHATTANOOGA      TN   37404       HOSPITAL         AP4120820    2,300    2,600    1,800    2,400    2,240    1,920    2,210    13,260

100067182   019143388   HILLS DRUG IV       CPA               PALOS HILLS     IL   60465     INDEPENDENT        AP4138714    8,200    8,500    6,100    8,200    7,800    6,100    7,483    44,900

100050232   003013367   PROFESSIONAL MAXSAL DRUG GNP           SAN JUAN       PR   00922     INDEPENDENT        AP4208701                                         500               500       500

100060428   044064469   INSTALLATION MEDICAL SUPPLY            FORT KNOX      KY   40121   HOSPITAL (FEDERAL)   AP4291655                                        1,000             1,000     1,000

100051224   008025106   LOYALTON PHARMACY                      LOYALTON       CA   96118     INDEPENDENT        AP4304832    4,400    3,200    3,300    4,500    3,000    4,500    3,817    22,900

100056602   026044503   KAISER KOOLAU CLINIC PHCY              KANEOHE        HI   96744      HEALTH PLAN       AP4559045    5,900    8,700    9,000    6,400    7,400    4,800    7,033    42,200

100061850   010100180   PEYTON'S PHARMACY INC        APSC     WEST LIBERTY    KY   41472     INDEPENDENT        AP4720947   16,000   17,500   19,000   15,000   15,500   11,600   15,767    94,600

100052936   020055723   PAT-Y-KEN DRUG MEDICINE CHEST        ALBUQUERQUE      NM   87107     INDEPENDENT        AP4808056   17,300   17,500   34,700   29,300   12,600    9,700   20,183   121,100

100068605   044143149   PARKLAND DRUG           CPA            CAVE CITY      KY   42127     INDEPENDENT        AP4874182    6,400    4,500    7,000    4,300    2,800    5,400    5,067    30,400

100068600   044143131   METCALFE DRUG           CPA            EDMONTON       KY   42129     INDEPENDENT        AP4874194   11,000    9,000   11,200   13,100            14,200   11,700    58,500

100110392   041155010   PAGE MEMORIAL HOSPITAL                   LURAY        VA   22835       HOSPITAL         AP4905367                       200      100      300      260      215       860

100065823   019002980   PALOS COMMUNITY HOSPITAL             PALOS HEIGHTS    IL   60463       HOSPITAL         AP4927729    5,600    5,100    4,500    7,500    3,400    4,800    5,150    30,900

100059618   041053280   SENTARA N VA MEDICAL CTR V01          WOODBRIDGE      VA   22191       HOSPITAL         AP5248819     700      400      400      600                        525      2,100

100067712   040143776   PHILLIPS PHARMACY           CPA         VIDALIA       GA   30474     INDEPENDENT        AP5369790   14,100   14,000   12,200    3,700    7,000   14,000   10,833    65,000

100057449   056010504   PARAMOUNT DRUG (Z)       (GNP)         RIVERSIDE      NJ   08075     INDEPENDENT        AP5437199    4,700    5,700    5,200    5,200    3,600    4,200    4,767    28,600

100089056   018204123   PORTER PHARMACY INC                  JACKSONVILLE     TX   75766     INDEPENDENT        AP5610933   37,800   35,800   34,300   31,300   28,500   29,200   32,817   196,900

100070770   041140517   PULASKI COMMUNITY HOS         #712      PULASKI       VA   24301       HOSPITAL         AP5647916     800      700      800     1,400     900      200      800      4,800

100050799   052062521   PERRY COUNTY GENERAL HOSP #             RICHTON       MS   39476       HOSPITAL         AP5802120     200      100               300                        200       600

100072175   055070086   PROSPECT HILL HLTH CTR PHY(D51       PROSPECT HILL    NC   27314    PHS 340B CLINIC     AP5808641    2,300    1,800    2,200    1,400    1,200    1,300    1,700    10,200

100059473   023026138   PLYMOUTH PARK PHCY INC        CPA      FAIR LAWN      NJ   07410     INDEPENDENT        AP5944017    1,500     500      200      700     1,000     300      700      4,200

100055145   018094722   PEACE PHARMACY INC                      CANTON        TX   75103     INDEPENDENT        AP5974793   25,100   29,000   34,200   11,100   19,000   15,600   22,333   134,000

100051590   018044834   PORTER DRUG            SF             PETERSBURG      TX   79250     INDEPENDENT        AP5977787    2,700    3,100     900     4,400    2,000     200     2,217    13,300

100054215   038046995   POWELL DRUG            SF               POWELL        WY   82435     INDEPENDENT        AP6195071   12,000    8,400   13,100    8,300   26,200   10,500   13,083    78,500

100089922   038105031   POWELL DRUG, INC. 340B                  POWELL        WY   82435   PHS 340B HOSPITAL    AP6195071    6,900    5,500    6,500    5,000                      5,975    23,900

100057691   026041095   KAISER WAILUKU CLINIC                   WAILUKU       HI   96793      HEALTH PLAN       AP6201331    5,400    3,000    2,100    3,400    6,400    2,900    3,867    23,200

100055810   037087460   PEDIATRICS PHARMACY                  CORPUS CHRISTI   TX   78411     INDEPENDENT        AP6207410     100      100                                          100       200

100068805   018178707   PERRONE PHARMACY INCORPORATED         FORT WORTH      TX   76116     INDEPENDENT        AP6469414   26,900   27,700   26,300   23,800   32,700   15,900   25,550   153,300

100059006   044041434   PRINCETON DRUG CO           APSC       PRINCETON      KY   42445     INDEPENDENT        AP6557017   22,600   21,500   20,300   16,400   21,500   14,000   19,383   116,300

100058615   041066076   *PARK VIEW PHARMACY (EPIC) 871       HARRISONBURG     VA   22802     INDEPENDENT        AP6856225              500                                          500       500

100064148   019002030   PARKSIDE PHCY    CPA                    LEBANON       IN   46052     INDEPENDENT        AP7065609   13,800   13,000   10,100   25,000             3,100   13,000    65,000

100075817   019160754   PARKSIDE PHARMACY GPO CPA               LEBANON       IN   46052     INDEPENDENT        AP7065609     200                                          200      200       400

100057259   056015404   PROFESSIONAL CTR PHCY INC                BERLIN       NJ   08009     INDEPENDENT        AP7178999     800     1,600    2,000    1,000     700      600     1,117     6,700

100076342   012049023   POMERADO HOSPITAL                       POWAY         CA   92064       HOSPITAL         AP7558870    1,600    1,000    1,000    1,200    1,000    1,100    1,150     6,900

100061686   019027243   PALMER LUTHERAN HEALTH CENTER,        WEST UNION      IA   52175       HOSPITAL         AP7695363     500      200      300               320               330      1,320

100084270   010195545   *PACK PHARMACY    APSC                    LIMA        OH   45801     INDEPENDENT        AP7702752    5,000    2,500    2,500                               3,333    10,000

100059089   056100750   *PERLMART DRUGS OF LACEY, INC        LANOKA HARBOR    NJ   08734         CHAIN          AP7725368     100                20      100                         73       220

100073532   010141127   PUNXSUTAWNEY AREA HOSP PHCY          PUNXSUTAWNEY     PA   15767       HOSPITAL         AP7851872      50      400     2,350                                933      2,800

100067406   021003327   PENN DRUG CO                            SIDNEY        IA   51652     INDEPENDENT        AP7889516    2,500    4,000    1,000    6,700    2,600    1,600    3,067    18,400

100071653   017140095   MOUNTAIN VIEW HOSPITAL        #712      PAYSON        UT   84651       HOSPITAL         AP7906184     800      800      400      500     3,100    1,000    1,100     6,600

100065912   023037390   PDL DRUG STORE INC.                    MONTAUK        NY   11954     INDEPENDENT        AP7925502    3,300    1,400    3,600    2,000     500              2,160    10,800

100104579   018403485   PARKER DRUG            CPA             PITTSBURG      TX   75686     INDEPENDENT        AP7982641    7,100   12,300   14,200    7,100    9,000   10,600   10,050    60,300

100093247   040114710   POWELL'S PHARMACY CPA                   MACON         GA   31206     INDEPENDENT        AP7993771   37,220   38,500   35,500   36,300   38,760   24,500   35,130   210,780

100059312   044085472   PARDUE'S PHCY          SF              NASHVILLE      TN   37203     INDEPENDENT        AP7996347   11,500   10,000   13,500    6,500    5,500    6,000    8,833    53,000
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100069587   044036749   PAUL'S PHARMACY                        EVANSVILLE      IN   47712     INDEPENDENT       AP8129707   20,700   17,500   26,200   14,600   28,000            21,400   107,000

100053587   024054650   PLAZA PHARMACY                         HAWTHORNE       CA   90250     INDEPENDENT       AP8164763     500     1,500    1,500     500                       1,000     4,000

100050135   003033886   FCIA BORINQUEN GNP                       JUNCOS        PR   00777     INDEPENDENT       AP8443195              100      100      100                        100       300

100069193   055069716   PITTMAN'S PHCY INC(Z(GNP) CPA           WINDSOR        NC   27983     INDEPENDENT       AP8530215    8,300   10,400    6,200    7,000   11,000   11,300    9,033    54,200

100069194   055069724   PITTMANS PHCY(340B RXSTRATEGY)          WINDSOR        NC   27983    PHS 340B CLINIC    AP8530215              100                                          100       100

100058916   044043117   PIGGOTT COMMUNITY HOSPITAL              PIGGOTT        AR   72454       HOSPITAL        AP8554986     500      300      200      300      700               400      2,000

100055013   012043307   PEARSON'S MEDICAL GROUP              SAN BERNARDINO    CA   92404     INDEPENDENT       AP8557336   16,400   17,400   15,600   13,400   37,800   36,600   22,867   137,200

100056818   021036681   LARRY'S PHCY          SF                HUMBOLDT       IA   50548     INDEPENDENT       AP8853550    4,900    5,300    5,700    6,500    7,400    3,100    5,483    32,900

100070676   044143438   PATS SUPER V DRUGSTORE INC CPA         JONESBORO       AR   72401     INDEPENDENT       AP8945101   13,200   12,400   26,900   15,300                     16,950    67,800

100067456   052061911   PLAZA DISC APOTHECARY INC SF           GRAYSVILLE      AL   35073     INDEPENDENT       AP9018602   13,000   23,500   18,000    7,000   29,900   14,500   17,650   105,900

100052543   010053801   PATIENT CARE PHARMACY        APSC       FAIRFIELD      OH   45014     INDEPENDENT       AP9079270    2,200    4,000    6,000    9,000             3,000    4,840    24,200

100050582   004022889   PHRED'S DRUG INC-OAKLAWN AVE            CRANSTON       RI   02920     INDEPENDENT       AP9086869    4,400    2,200    2,400    3,500    8,500     700     3,617    21,700

100056022   032050591   PARK'S PHCY GNP                         SEATTLE        WA   98115     INDEPENDENT       AP9252913    1,800    1,500    2,800    2,000    2,100    2,000    2,033    12,200

100054387   041016071   PATTERSONS DRG STR-X(EPIC)(GNP        MARTINSBURG      WV   25401     INDEPENDENT       AP9407986    8,700    7,600    7,400    6,100    7,360    5,200    7,060    42,360

100070664   044143404   PRESCRIPTIONS CORNER DRUG CPA          PARAGOULD       AR   72450     INDEPENDENT       AP9626219   29,200   25,300   23,900   19,200   24,100   21,200   23,817   142,900

100068316   021045153   PHELPS COUNTY REG MED CTR-IN P           ROLLA         MO   65401       HOSPITAL        AP9733014     800     1,500     800      900     1,460     640     1,017     6,100

100100613   021171942   PHELPS CO REG MED CTR I/P WAC            ROLLA         MO   65401   PHS 340B HOSPITAL   AP9733014     500      800      300     1,000     810               682      3,410

100075455   021134262   PHELPS COUNTY REG MED CTR 340B           ROLLA         MO   65401   PHS 340B HOSPITAL   AP9733014     400      500      400      200               560      412      2,060

100085923   055026427   NEIL MEDICAL GRP PHCY (KINSTON          KINSTON        NC   28504   LONG TERM CARE      AP9814105   32,200   43,600   43,200   39,600   47,800   35,200   40,267   241,600

100090544   032144972   QUINCY VALLEY HOSP.                      QUINCY        WA   98848       HOSPITAL        AQ0967301     200      100      200      200      500               240      1,200

100108740   023159608   QUICK MART PHARMACY                     MILLTOWN       NJ   08850     INDEPENDENT       AQ3063334     600     1,200     500     1,300     700      600      817      4,900

100054302   038039008   LA CASA - QUIGG NEWTON 340B              DENVER        CO   80211    PHS 340B CLINIC    AQ5506603    6,400    9,300    7,400    7,200    6,700    7,200    7,367    44,200

100085234   052166181   RUSH FOUNDATION HOSP & PHAR,            MERIDIAN       MS   39301       HOSPITAL        AR0230778    1,600    1,500    1,500    1,700    2,180    2,500    1,830    10,980

100085380   052166314   RUSH FOUNDATION HOSP&PHAR 340B          MERIDIAN       MS   39301   PHS 340B HOSPITAL   AR0230778     400      400      600      300                        425      1,700

100089541   020157982   ST ROSE DOM. HOSP DELIMA               HENDERSON       NV   89015       HOSPITAL        AR0254437    2,100    2,950    2,400    1,300    2,300    1,800    2,142    12,850

100067002   055143552   REYNOLDS DRUG STORE,INC(X)CPA           ANDREWS        SC   29510     INDEPENDENT       AR0347460   10,100   10,900   12,200    8,600   12,200   14,600   11,433    68,600

100064585   052041079   ROLLER PHARMACY INC                      ERWIN         TN   37650     INDEPENDENT       AR0390928   13,240   15,140    7,600    8,440   13,820   13,100   11,890    71,340

100096981   052114694   ROLLER PHARMACY INC(PHS)                 ERWIN         TN   37650    PHS 340B CLINIC    AR0390928     500      500      500                                 500      1,500

100109408   052224683   RUSSELL MEDICAL CTR        WAC EMP   ALEXANDER CITY    AL   35010   PHS 340B HOSPITAL   AR0464672     500     1,600     600      100     2,000              960      4,800

100109373   052224642   RUSSELL MEDICAL CENTER               ALEXANDER CITY    AL   35010       HOSPITAL        AR0464672     600      200      300      450      200               350      1,750

100109399   052224667   RUSSELL MEDICAL CENTER 340B          ALEXANDER CITY    AL   35010   PHS 340B HOSPITAL   AR0464672     100      100      100      300                        150       600

100067454   052061762   RAY PHCY          SF                  HACKLEBURG       AL   35564     INDEPENDENT       AR0471158   19,800   12,600   14,000   14,800   15,000   14,000   15,033    90,200

100053606   056006486   ROSVOLD PHARMACY(X)(EPIC)(GNP)        CINNAMINSON      NJ   08077     INDEPENDENT       AR0606573    1,100    1,900    1,900    2,500    2,300    1,900    1,933    11,600

100054542   018063487   REAGAN MEMORIAL HOSPITAL                BIG LAKE       TX   76932       HOSPITAL        AR0869086     200      200                                 100      167       500

100052472   020015826   UNIVERSITY MED CTR EL PASO O-P           EL PASO       TX   79905   PHS 340B HOSPITAL   AR0962022   18,600   22,100   18,500   16,900    9,000    5,600   15,117    90,700

100096411   020159723   UNIV MED CTR EL PASO OP WAC              EL PASO       TX   79905       HOSPITAL        AR0962022    7,900    9,200   10,500   10,200    7,900    5,900    8,600    51,600

100053285   020062687   UNIVERSITY MED CTR EL PASO I-P           EL PASO       TX   79905       HOSPITAL        AR0962022    4,800    3,700    4,500    3,800     240     1,580    3,103    18,620

100065533   020107714   UNIVERSITY MED CTR EL PASO WAC           EL PASO       TX   79905       HOSPITAL        AR0962022     400                                3,320    3,060    2,260     6,780

100073699   020129056   UNIVERSTY MED CTR EL PASO 340B           EL PASO       TX   79905   PHS 340B HOSPITAL   AR0962022     900     1,400     800      700       80      480      727      4,360

100090539   032144923   EAST ADAMS RURAL HOSP-RITZVLE           RITZVILLE      WA   99169       HOSPITAL        AR0986402     100               100               100      200      125       500

100104266   012017772   REDLANDS COMMUNITY HOSPITAL             REDLANDS       CA   92373       HOSPITAL        AR1058228    3,300    3,800    4,700    3,200    4,200    2,800    3,667    22,000

100060094   010103291   RUSSELL COUNTY HOSPITAL PHCY         RUSSELL SPRINGS   KY   42642       HOSPITAL        AR1061770     100      100               200      100      280      156       780

100091294   010225870   RUSSELL CO HOSP PHCY 340B            RUSSELL SPRINGS   KY   42642       HOSPITAL        AR1061770                                200                        200       200

100050724   037072959   ROYAL PHARMACY                        NEW ORLEANS      LA   70116     INDEPENDENT       AR1243980     400     1,500    1,200    2,300     300      500     1,033     6,200
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100062327   021001420   RUSSELL REGIONAL HOSPITAL, THE         RUSSELL       KS   67665       HOSPITAL        AR1278159              100      100      200      460               215       860

100062579   021001545   RUSH COUNTY MEMORIAL HOSPITAL         LA CROSSE      KS   67548       HOSPITAL        AR1311911     100               100      250      100               138       550

100096540   008111708   RIDEOUT MEMORIAL HOSPITAL WAC         MARYSVILLE     CA   95901       HOSPITAL        AR1383392    4,400    5,200    4,500    4,700    4,540    3,680    4,503    27,020

100050779   008037705   RIDEOUT MEMORIAL HOSPITAL             MARYSVILLE     CA   95901       HOSPITAL        AR1383392                       400                                 400       400

100057265   056015735   RING DRUG LTD        (GNP)           PHILADELPHIA    PA   19120     INDEPENDENT       AR1403687                                500                        500       500

100067003   055143560   RILEY'S DRUGS(X)      CPA             LEXINGTON      SC   29072     INDEPENDENT       AR1573585    2,000    4,700    3,900    4,200    1,800    2,700    3,217    19,300

100056134   032040238   ROGUE VALLEY MED CTR / PHCY II         MEDFORD       OR   97504       HOSPITAL        AR1636109                                        2,860     800     1,830     3,660

100107761   032152561   ROGUE VALLEY MED CTR WAC               MEDFORD       OR   97504       HOSPITAL        AR1636109                                         280               280       280

100053208   012051953   RANCHO DRUGS       PRO               APPLE VALLEY    CA   92307     INDEPENDENT       AR1783275     500     1,000              300     7,700    5,500    3,000    15,000

100071097   037140301   RIO GRANDE REG'L HOSP        #712      MCALLEN       TX   78503       HOSPITAL        AR1841837    1,500    1,600    1,300    2,200     620      840     1,343     8,060

100089911   019156869   RUSHVILLE PHARMACY INC        CPA     RUSHVILLE      IN   46173     INDEPENDENT       AR1979181   10,300    4,300    5,400    9,000    7,000    3,200    6,533    39,200

100108671   019186163   RUSHVILLE PHARMACY INC 340B           RUSHVILLE      IN   46173   PHS 340B HOSPITAL   AR1979181    1,500     500     2,000    1,000                      1,250     5,000

100065017   021022293   RAWLINS COUNTY HEALTH CTR NOV          ATWOOD        KS   67730       HOSPITAL        AR2008123                       300                                 300       300

100062727   018068080   ROGERS DRUG CO INC           CPA      WAGONER        OK   74467     INDEPENDENT       AR2140008   16,200   38,900   37,700   34,300   26,500            30,720   153,600

100063761   052079673   REDMONT PHARMACY                       RED BAY       AL   35582     INDEPENDENT       AR2209636     500     1,000                                         750      1,500

100060414   018076356   RANKIN HOSPITAL DISTRICT                RANKIN       TX   79778       HOSPITAL        AR2240315     100      100               100      100               100       400

100050899   018042861   RAYS PHARMACY                         MANSFIELD      TX   76063     INDEPENDENT       AR2247270    1,100     200     6,500    2,700   14,900    1,000    4,400    26,400

100072748   018143107   BEST VALUE RON'S PHCY INC CPA         GRANBURY       TX   76048     INDEPENDENT       AR2253855   32,800   20,600   25,800   30,300   27,500   24,100   26,850   161,100

100064137   019001479   RIVERVIEW HOSPITAL                   NOBLESVILLE     IN   46060       HOSPITAL        AR2294154    3,000    3,100    3,100    3,400    5,200    1,800    3,267    19,600

100088391   019153619   RIVERVIEW O/P HOSPITAL               NOBLESVILLE     IN   46060       HOSPITAL        AR2294154                                500                        500       500

100057268   056015800   *RONCO'S PHARMACY        (GNP)        WEST LAWN      PA   19609     INDEPENDENT       AR2340153    4,700    5,800    5,200    6,200    1,900    1,400    4,200    25,200

100058971   041054171   SENTARA RMH MD CTR PY EMPLOYEE      HARRISONBURG     VA   22801       HOSPITAL        AR2354556    9,900   10,400   11,200   14,700    3,000             9,840    49,200

100058970   041054155   SENTARA RMH MED CTR PHCY .872       HARRISONBURG     VA   22801       HOSPITAL        AR2354556    1,500    1,100     900     2,400     100      900     1,150     6,900

100055983   032077065   GHC PHARM RAINIER MC 21                SEATTLE       WA   98118     HEALTH PLAN       AR2365612    4,500    5,700    5,800    5,000                      5,250    21,000

100073136   032120014   GHC PHARM RAINIER MC 21 2              SEATTLE       WA   98118     HEALTH PLAN       AR2365612                                        5,700    3,400    4,550     9,100

100057826   018089052   RON'S APOTHECARY SHOP                 BURLESON       TX   76028     INDEPENDENT       AR2435130   32,400   36,800   32,800   41,900   24,200   21,600   31,617   189,700

100059135   041055129   ROANOKE MEMORIAL HOSPITAL 868          ROANOKE       VA   24014       HOSPITAL        AR2488511    5,000    4,400    5,000    4,100    4,980    4,800    4,713    28,280

100072315   041107466   ROANOKE MEMORIAL HOSP(340B)            ROANOKE       VA   24014   PHS 340B HOSPITAL   AR2488511    1,300     900      700      800                        925      3,700

100096580   041152702   ROANOKE MEMORIAL HOSP (WAC)            ROANOKE       VA   24014       HOSPITAL        AR2488511                                200                        200       200

100059057   041054858   CARILION NEW RIVER VALLEY HOSP      CHRISTIANSBURG   VA   24073       HOSPITAL        AR2492419    1,600    1,800    1,600    2,000    1,700    1,700    1,733    10,400

100059055   041054817   CARILION NEW RIVER VAL. EMPLY.      CHRISTIANSBURG   VA   24073       HOSPITAL        AR2492419                       500     1,500                      1,000     2,000

100050958   008038224   ROBERT'S DRUG STORE          GPP       OROVILLE      CA   95966     INDEPENDENT       AR2611780   43,800   47,000   53,500   37,600   59,500   25,400   44,467   266,800

100111092   021001930   RIDER DRUG INC.       SF              KIRKSVILLE     MO   63501     INDEPENDENT       AR2728472                                       14,000   13,600   13,800    27,600

100053758   024056002   RAMONA PROFESSIONAL PHARMACY        MONTEREY PARK    CA   91754     INDEPENDENT       AR2764240              100      100     3,300                      1,167     3,500

100052086   010042796   RIVERSIDE METH HOSP RX                COLUMBUS       OH   43214       HOSPITAL        AR2812750    5,000    6,100    8,500    4,000    3,580    4,440    5,270    31,620

100070205   010172064   *RISCH #2 INC                         LANCASTER      OH   43130     INDEPENDENT       AR2844048              200                                          200       200

100066133   049040873   RYAN PHARMACY          APSC            TOLEDO        OH   43607     INDEPENDENT       AR2861284     100      400      200     2,200    1,000    2,300    1,033     6,200

100109703   010238030   GEORGE'S FAMILY PHARMACY B CPA        BROOKVILLE     IN   47012     INDEPENDENT       AR2990326   19,000   14,700   18,100   17,400   18,300   18,400   17,650   105,900

100052252   010040113   ROANE GENERAL HOSPITAL                 SPENCER       WV   25276       HOSPITAL        AR2991342     600      500      400      650      340      300      465      2,790

100059153   044043604   RILEY-WHITE DRUG STORE       APSC    RUSSELLVILLE    KY   42276     INDEPENDENT       AR3030296   15,000   16,000   14,500   13,500   19,700   13,500   15,367    92,200

100061677   010101105   ROCKCASTLE REGIONAL HOSP            MOUNT VERNON     KY   40456       HOSPITAL        AR3034319    2,200    2,100    1,900    1,300    1,700             1,840     9,200

100103834   010234567   ROCKCASTLE REGIONAL HOSP WAC        MOUNT VERNON     KY   40456   PHS 340B HOSPITAL   AR3034319                                700     1,360    1,420    1,160     3,480

100064453   010106815   ROCKCASTLE REGIONAL HOSP 340B       MOUNT VERNON     KY   40456   PHS 340B HOSPITAL   AR3034319              100               100                80       93       280

100070668   018144493   ROSE DRUG STRE RUSSELLVILL CPA       RUSSELLVILLE    AR   72801     INDEPENDENT       AR3067154   19,700   16,200   17,500    5,000   12,500    8,000   13,150    78,900
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100069195   055069740   ROANOKE CHOWAN HOSP PHY              AHOSKIE        NC   27910       HOSPITAL         AR3170139     100      200      200       200       300      600      267      1,600

100096827   055037713   ROANOKE CHOWAN HOSP (WAC)            AHOSKIE        NC   27910       HOSPITAL         AR3170139              200      100       100       300               175       700

100069724   055106179   ROANOKE CHOWAN (CHEMO 340B)          AHOSKIE        NC   27910   PHS 340B HOSPITAL    AR3170139     200      100      100       100                         125       500

100076590   055040162   REX HOSPITAL PHARMACY                 RALEIGH       NC   27607       HOSPITAL         AR3188693    5,800    8,100    4,900     6,400     6,180    9,420    6,800    40,800

100074462   055067520   RANDOLPH HOSPITAL (340B)            ASHEBORO        NC   27203   PHS 340B HOSPITAL    AR3192426     200      300      300       200       480               296      1,480

100072872   055040303   RANDOLPH HOSPITAL, INC. PHARM.      ASHEBORO        NC   27203       HOSPITAL         AR3192426     200      300      200       200       160      320      230      1,380

100096494   055037283   RANDOLPH HOSPITAL (WAC)             ASHEBORO        NC   27203       HOSPITAL         AR3192426                                           300               300       300

100071539   055070029   NOVANT HLTH ROWAN REG MED CTR        SALISBURY      NC   28144       HOSPITAL         AR3203192    2,000    2,600    7,200    (3,300)    2,780    2,100    2,230    13,380

100050598   004023473   *ROGER WILLIAMS GEN HOSP            PROVIDENCE      RI   02908       HOSPITAL         AR3268198              700      500       250                         483      1,450

100057231   018300079   OKEENE MUNICIPAL HOSPITAL             OKEENE        OK   73763       HOSPITAL         AR3353264                       200                                   200       200

100061647   023009787   ROBERT WOOD JOHNSON                   RAHWAY        NJ   07065       HOSPITAL         AR3479638                       100       100                         100       200

100054049   019025197   ROCHELLE COMMUNITY HOSPITAL          ROCHELLE       IL   61068       HOSPITAL         AR3690319     400      200      200       200                200      240      1,200

100084199   019138479   ROCHELLE COMM HOSP ASSOC 340B        ROCHELLE       IL   61068   PHS 340B HOSPITAL    AR3690319     100      100      100       100       100      100      100       600

100088280   019152389   REHABILTATION INST OF CHGO           CHICAGO        IL   60611       HOSPITAL         AR3853288    4,000    3,700    3,750     5,300     4,200    2,320    3,878    23,270

100063964   019002584   RESURRECTION MEDICAL CTR PHCY.       CHICAGO        IL   60631       HOSPITAL         AR3860233    3,600    3,700    3,100     4,900     2,000    4,600    3,650    21,900

100067015   019143040   BRANDT PHARMACY           CPA        MARENGO        IL   60152     INDEPENDENT        AR3905328   11,900    9,200   10,800    13,600     5,200    6,800    9,583    57,500

100060575   019040600   THE RICHLAND HOSPITAL INC         RICHLAND CENTER   WI   53581       HOSPITAL         AR3929140     300      200      200       550                         313      1,250

100060727   021036871   RINGGOLD COUNTY HOSPITAL            MOUNT AYR       IA   50854       HOSPITAL         AR4013215     100      100      200       200       400      240      207      1,240

100086427   040106179   TAYLOR MEMORIAL HOSPITAL           HAWKINSVILLE     GA   31036       HOSPITAL         AR4166472     200               100       100       100      300      160       800

100096969   040115410   TAYLOR MEMORIAL HOSP (WAC)         HAWKINSVILLE     GA   31036   PHS 340B HOSPITAL    AR4166472              100      100                                   100       200

100073681   041112276   RODMAN DRUG CO(X)(GNP)              WASHINGTON      DC   20016     INDEPENDENT        AR4185915    1,700    2,700    2,000     2,400     2,600    1,860    2,210    13,260

100063520   018063677   *RALPH'S DRUG STORE #3             OKLAHOMA CITY    OK   73119     INDEPENDENT        AR4985074     400                                                     400       400

100070773   040140335   REDMOND REGIONAL MED CTR #712          ROME         GA   30165       HOSPITAL         AR5062904    3,800    4,100    3,800     4,150     5,150    3,720    4,120    24,720

100064792   049041335   RINGS PHARMACY INC,       APSC      MONTPELIER      OH   43543     INDEPENDENT        AR5483754   10,300   11,700   11,600    14,100    10,500    6,600   10,800    64,800

100070689   041145037   RALEIGH GENERAL HOSPITAL #712        BECKLEY        WV   25801       HOSPITAL         AR5514357    1,800    2,000    2,000     1,600     2,600    1,900    1,983    11,900

100058972   041054189   ROMAN EAGLE MEM HOME INC PHCY        DANVILLE       VA   24540    LONG TERM CARE      AR5625009    1,500    1,200    1,200     2,000     1,300    1,880    1,513     9,080

100057490   025300327   RUSK COUNTY MEMORIAL HOSPITAL       LADYSMITH       WI   54848       HOSPITAL         AR5672527     300      100      100       100                 80      136       680

100061069   023015727   RHOADS PHARMACY(Z)        (GNP)    HUMMELSTOWN      PA   17036     INDEPENDENT        AR5732400    5,800    8,500    7,600     5,200     3,300    3,740    5,690    34,140

100057085   019048272   RENE'S DRUG STORE INC               TAYLORVILLE     IL   62568     INDEPENDENT        AR5821473    4,500    4,100    6,000     5,600     6,000     200     4,400    26,400

100059545   023028720   ROSSMORE PHARMACY INC               BELLEVILLE      NJ   07109     INDEPENDENT        AR5920079     700     1,200     (300)                                 533      1,600

100087801   032140905   RATHDRUM DRUG                       RATHDRUM        ID   83858     INDEPENDENT        AR6148147   12,000   16,000   14,000    18,000    25,500    1,500   14,500    87,000

100056247   018029520   RANDOLPH AFB359 MED SQADRN/SGL    RANDOLPH A F B    TX   78150   HOSPITAL (FEDERAL)   AR6241501   14,800   16,600   16,200    32,000     8,000   15,000   17,100   102,600

100093255   010226787   ROSELAWN PHCY INC APSC              CINCINNATI      OH   45237     INDEPENDENT        AR6358471    3,100    5,100    3,200     3,700     4,900    3,300    3,883    23,300

100050333   018043059   RAY PHARMACY NO 2                   KENNEDALE       TX   76060     INDEPENDENT        AR6364652   15,000   17,600   25,700    13,300    10,300    1,500   13,900    83,400

100056408   044079640   RAINES PHARMACY     APSC              BELLS         TN   38006     INDEPENDENT        AR6430172   19,320   21,600   15,720    22,500    15,660   18,500   18,883   113,300

100067793   040143933   ROSS DRUG           CPA              SYLVANIA       GA   30467     INDEPENDENT        AR6495130    7,200    6,000   11,600    15,000     4,500    4,500    8,133    48,800

100054323   056000802   RUTGERS HEALTH CTR PHARMACY       NEW BRUNSWICK     NJ   08901     INDEPENDENT        AR6660686                                           100               100       100

100054881   019096107   RICHMOND STATE HOSP PHY MMCAP        RICHMOND       IN   47374       HOSPITAL         AR6832035     400      500      500       200       820               484      2,420

100092131   018314773   ROSE DRUG OF CLARKSVILLE CPA        CLARKSVILLE     AR   72830     INDEPENDENT        AR7122358   14,900   16,800   32,600    18,300    26,000   25,300   22,317   133,900

100060468   041051862   RAPPAHANNOCK GENERAL HOSP RAD       KILMARNOCK      VA   22482       HOSPITAL         AR7361304     150      400      100       400       600               330      1,650

100061385   040069765   RIDGEVIEW INSTITUTE                   SMYRNA        GA   30080       HOSPITAL         AR7377307                       100       100       400               200       600

100067119   021005702   RON'S PHCY          SF               BLUE HILL      NE   68930     INDEPENDENT        AR7593812    3,000    4,500    2,000     6,000     2,000    1,500    3,167    19,000

100063052   025002600   RANCHLAND DRUG                      WHITE RIVER     SD   57579     INDEPENDENT        AR7917668    1,000    1,000    3,200    16,700      500     4,700    4,517    27,100

100055833   044026047   RIPLEY DRUG CO           SF           RIPLEY        MS   38663     INDEPENDENT        AR7976713     200      700      500      7,600    16,200    6,400    5,267    31,600
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100066970   021009373   ROGERS PHCY #2 (EDI)         SF         MOUND CITY      MO   64470     INDEPENDENT       AR8078316    5,600    6,000    6,000    4,100    6,000    4,600    5,383   32,300

100056417   018029611   REEVES COUNTY HOSPITAL                    PECOS         TX   79772       HOSPITAL        AR8109440     400      400      400      200               200      320     1,600

100064834   049065425   RIVER PHARMACY INC                      ELK RAPIDS      MI   49629     INDEPENDENT       AR8316134    7,000    7,900    7,800    7,300    6,600    6,700    7,217   43,300

100062037   021001222   REPUBLIC COUNTY HOSPITAL                BELLEVILLE      KS   66935       HOSPITAL        AR8500666    1,200     500      200      600      620      160      547     3,280

100059326   037101634   ROGERS PHARMACY #1                       VICTORIA       TX   77901     INDEPENDENT       AR8694007   13,700   16,400   17,700   11,600   17,000   17,500   15,650   93,900

100064302   018066050   REIDS PHCY             SF                NOWATA         OK   74048     INDEPENDENT       AR9170161    6,500    8,000    7,400    4,000    6,000    5,000    6,150   36,900

100053209   012052308   RITE PRICE PHCY         PRO            LAKE FOREST      CA   92630     INDEPENDENT       AR9175010    5,800    5,300    5,300    7,100    6,200     900     5,100   30,600

100059435   041052902   RICHMOND COMMUNITY HOSP (I/P)           RICHMOND        VA   23223       HOSPITAL        AR9202247     100      100               200               240      160      640

100059522   041057695   RICHMOND COMMUNITY HOSP (340B)          RICHMOND        VA   23223   PHS 340B HOSPITAL   AR9202247     100               400                                 250      500

100094291   041145755   RICHMOND COMMUNITY HOSP (WAC)           RICHMOND        VA   23223       HOSPITAL        AR9202247     200      100                                          150      300

100066966   021009258   ROGERS PHCY #3(NDC SYS/EDI)SF             TARKIO        MO   64491     INDEPENDENT       AR9362637    4,500    6,500    3,000    6,600    5,100    3,500    4,867   29,200

100053055   017011833   BYU-ID STUDENT HEALTH                    REXBURG        ID   83460       ALT SITE        AR9414551     800      700      400      300      100      700      500     3,000

100076588   055040501   RED SPRINGS DRUG CO.                   RED SPRINGS      NC   28377     INDEPENDENT       AR9527168    4,400    3,700    4,200    3,100    3,800    4,600    3,967   23,800

100052967   012067207   YEE'S PRESCRIPTION PH         PRO       LONG BEACH      CA   90804     INDEPENDENT       AR9743382   11,100   10,600   11,100   10,600   11,600   11,500   11,083   66,500

100062146   046094144   ST. JOSEPHS HOSPITAL TPA                  TAMPA         FL   33607       HOSPITAL        AS0137833     900     2,900    2,000    3,500    1,720    1,280    2,050   12,300

100067250   046031922   ST. JOSEPHS HOSP. TAMPA 340B              TAMPA         FL   33607   PHS 340B HOSPITAL   AS0137833    2,300    1,000    1,000    1,000     720      900     1,153    6,920

100096387   046043935   ST. JOSEPHS HOSPITAL TPA WAC              TAMPA         FL   33607       HOSPITAL        AS0137833                                100      260     1,300     553     1,660

100063358   046093963   SOUTH FLORIDA BAPTIST HOSP              PLANT CITY      FL   33563       HOSPITAL        AS0159550     100      600      500      200      480      820      450     2,700

100067321   046062505   SO. FL. BAPTIST 340B                    PLANT CITY      FL   33563   PHS 340B HOSPITAL   AS0159550     400      600      100      700                        450     1,800

100066981   046052811   ST ANTHONY HOSPITAL PHCY             SAINT PETERSBURG   FL   33705       HOSPITAL        AS0182674    1,600    2,900    1,900    2,200    3,000    2,920    2,420   14,520

100087771   046039438   ST ANTHONY HOSPITAL PHCY PHS         SAINT PETERSBURG   FL   33705   PHS 340B HOSPITAL   AS0182674     200      300      300      300      200      400      283     1,700

100096900   046044172   ST ANTHONY HOSPITAL PHCY WAC         SAINT PETERSBURG   FL   33705       HOSPITAL        AS0182674                                100                        100      100

100057307   052027573   STRIBLING DRUG STORE           SF      PHILADELPHIA     MS   39350     INDEPENDENT       AS0225044   13,200   19,600   13,100   18,800   13,230    9,600   14,588   87,530

100071612   020140152   SUNRISE HOSPITAL            #712        LAS VEGAS       NV   89109       HOSPITAL        AS0252837    7,300    8,900    7,500    8,700    8,220    8,520    8,190   49,140

100054943   012066100   WARDS PHARMACY                          LONG BEACH      CA   90802     INDEPENDENT       AS0283488    7,200    8,400    8,600    7,400   18,200    4,000    8,967   53,800

100106531   055041103   SPARTANBURG MEDICAL CENTER             SPARTANBURG      SC   29303       HOSPITAL        AS0336811    6,100    7,300    6,700    6,400              800     5,460   27,300

100109154   055044453   SPARTANBURG MED CNT            WAC     SPARTANBURG      SC   29303       HOSPITAL        AS0336811              700      700     3,000    8,500    4,400    3,460   17,300

100109155   055044479   SPARTANBURG MED CNTR 340B              SPARTANBURG      SC   29303       HOSPITAL        AS0336811    1,700    1,900    2,100    1,800     500              1,600    8,000

100109155   055044479   SPARTANBURG MED CNTR 340B              SPARTANBURG      SC   29303   PHS 340B HOSPITAL   AS0336811                                                  600      600      600

100100605   055037994   SELF REGIONAL HLTHCARE(EMPWAC)         GREENWOOD        SC   29646       HOSPITAL        AS0337306    4,600    5,400    4,900    5,500    7,600    5,200    5,533   33,200

100076650   055065458   SELF REG HEALTHCARE (340B)             GREENWOOD        SC   29646   PHS 340B HOSPITAL   AS0337306    2,500    3,300    3,100    2,100    1,500    1,560    2,343   14,060

100076654   055042721   SELF REGIONAL HEALTHCARE PREM.         GREENWOOD        SC   29646       HOSPITAL        AS0337306    1,500    1,900    2,100    1,300     400      740     1,323    7,940

100100606   055038000   SELF REG HEALTHCARE (WAC)              GREENWOOD        SC   29646       HOSPITAL        AS0337306     900                        200     3,800    1,320    1,555    6,220

100085943   055025957   SELF REGIONAL HLTHCRE (EMP340B         GREENWOOD        SC   29646   PHS 340B HOSPITAL   AS0337306     400      100      100      300                        225      900

100072360   055019513   PEAK PHARMACY           (GNP)             PEAK          SC   29122     INDEPENDENT       AS0349870    7,900   19,100   10,000    9,000   13,900    8,700   11,433   68,600

100064251   052093161   JOHN SMITH PROF PHCY           SF       CROSSVILLE      TN   38555     INDEPENDENT       AS0393621    8,500    8,000   10,000    8,500    5,700    8,500    8,200   49,200

100069822   004155085   ST ELIZABETH MEDICAL CENTER(X)            UTICA         NY   13501       HOSPITAL        AS0533302    2,400    3,400    2,300    2,400    2,040    5,160    2,950   17,700

100091427   023136333   SOMERSET PARK PHARMACY                  SOMERSET        NJ   08873     INDEPENDENT       AS0663915     700      200      300      100      500      100      317     1,900

100065902   023064196   STEVEN DRUGS INC(GNP)                WEST LONG BRANCH   NJ   07764     INDEPENDENT       AS0666492    1,600     800      900     1,500     500      200      917     5,500

100084260   023094748   SOUTHSIDE HOSPITAL                      BAYSHORE        NY   11706       HOSPITAL        AS0779441              100                                          100      100

100061455   023016949   ST CHARLES HOSP PHCY                  PORT JEFFERSON    NY   11777       HOSPITAL        AS0786167              600              2,000                      1,300    2,600

100054213   038046029   SEDGWICK COUNTY HOSP.                   JULESBURG       CO   80737       HOSPITAL        AS0807668              100      100                                 100      200

100070530   037143891   SCHULZ & WROTEN PHCY INC. CPA            BEEVILLE       TX   78102     INDEPENDENT       AS0931471   18,500   16,500   15,000    6,100    8,000    9,000   12,183   73,100

100054609   037059568   ST JOSEPH PROF PHY/GNP                   HOUSTON        TX   77002     INDEPENDENT       AS0952261   16,700   18,700   27,900   12,800    2,500    4,500   13,850   83,100
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100056292   032068429   ST. JOSEPH MEDICAL CENTER              TACOMA          WA   98405       HOSPITAL         AS0969191    2,400    3,000    2,550    4,600    4,700     200     2,908    17,450

100104730   032151860   ST JOSEPH MED CTR FP TACOMA            TACOMA          WA   98405       HOSPITAL         AS0969191    3,000    6,000    2,500    2,500                      3,500    14,000

100083629   032136085   ST. JOSEPH MED CTR CYN RD              TACOMA          WA   98405       HOSPITAL         AS0969191     200     2,250    1,900    1,800     500              1,330     6,650

100055325   032176636   ST. JOSEPH'S MED CTR 340B              TACOMA          WA   98405   PHS 340B HOSPITAL    AS0969191     800     1,550    1,150    1,200                      1,175     4,700

100090067   032143685   ST JOSEPH MED CTR                    BELLINGHAM        WA   98225       HOSPITAL         AS0993750    2,400    2,800    3,600    3,000    3,760    4,160    3,287    19,720

100090071   032143727   ST JOSEPH MED CTR OP 340B            BELLINGHAM        WA   98225   PHS 340B HOSPITAL    AS0993750    1,100     800      100     1,000                       750      3,000

100090159   032143636   ST JOHN'S MED CTR WAC CLINICS         LONGVIEW         WA   98632       HOSPITAL         AS0997140     500      500      500      300     2,100     800      783      4,700

100090062   032143677   ST JOHN MEDICAL CENTER                LONGVIEW         WA   98632       HOSPITAL         AS0997140     700     1,100     900      500                        800      3,200

100090065   032143669   ST JOHN MED CTR CLINICS 340B          LONGVIEW         WA   98632   PHS 340B HOSPITAL    AS0997140     300               500      100                        300       900

100100625   032147967   SKAGIT VALLEY HOSPITAL WAC          MOUNT VERNON       WA   98273   PHS 340B HOSPITAL    AS1010800    1,600    1,500    1,400    1,100    1,400    1,200    1,367     8,200

100089673   012088245   COMM HOSP OF SAN BER. 340B         SAN BERNARDINO      CA   92411   PHS 340B HOSPITAL    AS1045942    1,200    1,400    4,100    3,600                      2,575    10,300

100096591   012017699   COMM HOSP OF SAN BER. WAC          SAN BERNARDINO      CA   92411   PHS 340B HOSPITAL    AS1045942    2,600    1,900     300     2,500                      1,825     7,300

100089674   012103168   COMM HOSP OF SAN BERNARDINO        SAN BERNARDINO      CA   92411       HOSPITAL         AS1045942    1,100     600      100              1,460    3,920    1,436     7,180

100086653   024109520   SANTA YNEZ VALLEY COTTAGE HOSP         SOLVANG         CA   93463       HOSPITAL         AS1061287     800                        600      160               520      1,560

100053685   056016899   SUN PHARMACY(Z)      (GNP)            RISING SUN       MD   21911     INDEPENDENT        AS1074703    3,000    3,000    3,100    2,500    1,500             2,620    13,100

100052920   026068809   SAMUEL MAHELONA MEM HOSP                KAPAA          HI   96746       HOSPITAL         AS1079474              400      100      300                        267       800

100069208   004023853   ST.ANTHONY COMMUNITY HOSP(I/P)         WARWICK         NY   10990       HOSPITAL         AS1110876              100      100      200                        133       400

100067720   040143842   PROFESSIONAL PHCY: DALTON CPA          DALTON          GA   30720     INDEPENDENT        AS1173450   57,600   33,500   37,300   17,100   52,200   29,000   37,783   226,700

100105992   040121061   EMORY, ST JOSEPH'S HOSP OF ATL         ATLANTA         GA   30342       HOSPITAL         AS1176343    2,500    3,000    1,300             1,800    1,800    2,080    10,400

100105993   040121079   EMORY,ST JOSEPHS HOSP ATL MAIN         ATLANTA         GA   30342       HOSPITAL         AS1176343                       600     1,900    2,200             1,567     4,700

100068246   040144006   SEASIDE DRUGS INC,      CPA        SAINT SIMONS ISLA   GA   31522     INDEPENDENT        AS1183463    8,800    4,600    4,100    1,800    6,000    3,200    4,750    28,500

100055104   010045708   B S D INC ,SAVE DISCOUNT DRUGS        COVINGTON        KY   41011     INDEPENDENT        AS1185900   12,000   12,000   21,400   18,000    8,000   10,500   13,650    81,900

100070438   023143750   STAR TREK PHARMACY(X)        CPA        BRONX          NY   10468     INDEPENDENT        AS1275785     600     1,000     600      700                        725      2,900

100068413   021130518   STAFFORD COUNTY HOSPITAL              STAFFORD         KS   67578       HOSPITAL         AS1277993              100                                          100       100

100104453   021172395   STEVENS COUNTY HOSPITAL 340B           HUGOTON         KS   67951   PHS 340B HOSPITAL    AS1288287     600     2,200    1,000    1,700                      1,375     5,500

100065285   021052290   STEVENS COUNTY HOSPITAL                HUGOTON         KS   67951       HOSPITAL         AS1288287     100               200               100               133       400

100066104   021063834   SEDAN CITY HOSPITAL     /CONS           SEDAN          KS   67361       HOSPITAL         AS1294418     100                                                   100       100

100065624   021003673   SMITH, BRUCE DRUGS INC.            PRAIRIE VILLAGE     KS   66208     INDEPENDENT        AS1297072   11,200    4,700    8,000    7,400    8,000    6,100    7,567    45,400

100058783   021038497   SOUTHWEST MED CENTER                   LIBERAL         KS   67905       HOSPITAL         AS1297806     900      600      800     1,800              800      980      4,900

100062577   021001529   SHERIDAN COUNTY HOSPITAL                HOXIE          KS   67740       HOSPITAL         AS1299545     100                                          100      100       200

100062043   021001297   SMITH COUNTY MEMORIAL HOSPITAL      SMITH CENTER       KS   66967       HOSPITAL         AS1299583     100      100      400                80               170       680

100088090   021009894   ST CATHERINE HOSP PHARM              GARDEN CITY       KS   67846       HOSPITAL         AS1301706     600      800      600      900     1,040     480      737      4,420

100083664   021142661   ST. CATHERINE HOSPITAL 340B          GARDEN CITY       KS   67846   PHS 340B HOSPITAL    AS1301706              100                                          100       100

100075062   038101261   GRAND JUNCTION REGINL CTR PHCY     GRAND JUNCTION      CO   81501       HOSPITAL         AS1302570              100      100      100               100      100       400

100092117   008043166   SONOMA VALLEY HOSPITAL & PHCY          SONOMA          CA   95476       HOSPITAL         AS1339527     850     1,000    1,100     200     1,100     400      775      4,650

100051266   008035311   SAN JOAQUIN CTY, MENTAL HEALSV        STOCKTON         CA   95202       HOSPITAL         AS1340001              100                                          100       100

100057003   032099697   PACMED CTR BEACON DOD                  SEATTLE         WA   98144   HOSPITAL (FEDERAL)   AS1343413    1,400    1,200     800     1,400    1,800    2,000    1,433     8,600

100056035   032068205   PACMED CENTER BEACON HILL              SEATTLE         WA   98144        ALT SITE        AS1343413     300       -                200     3,400     500      880      4,400

100057006   032099457   (CRD)PACMED CTR CREDIT                 SEATTLE         WA   98144   HOSPITAL (FEDERAL)   AS1343413     200               600                                 400       800

100101330   008006106   SIERRA VIEW DIST HOSP WAC            PORTERVILLE       CA   93257   PHS 340B HOSPITAL    AS1365510     400     1,200     900      600      540               728      3,640

100059246   008034579   SIERRA VIEW DISTRICT HOSP /Z         PORTERVILLE       CA   93257       HOSPITAL         AS1365510     100      100                        930     1,300     608      2,430

100059509   008037408   SIERRA VIEW DIST HOSP 340B           PORTERVILLE       CA   93257   PHS 340B HOSPITAL    AS1365510     600      500      200      300       30               326      1,630

100064110   023100073   *SHOPRITE PHARMACY #117                EMERSON         NJ   07630         CHAIN          AS1389368                       100                                 100       100

100074842   055042606   *SALEMBURG PHARMACY                  SALEMBURG         NC   28385     INDEPENDENT        AS1417523    1,000                                                 1,000     1,000
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100076656   055056226   *SHRINERS HOSPITAL FOR CHILDRE      GREENVILLE     SC   29605       HOSPITAL        AS1483609     400                                                    400       400

100067006   055143594   SPEARS PHARMACY INC(Z)      CPA   ROANOKE RAPIDS   NC   27870     INDEPENDENT       AS1531804    6,500    7,500    5,000   14,000    3,000     9,700    7,617    45,700

100050427   004028910   ST FRANCIS HOSPITAL                 HARTFORD       CT   06105       HOSPITAL        AS1559650                                         300                300       300

100090046   032143479   SAC HRT MD CTR UNIV DIST             EUGENE        OR   97401       HOSPITAL        AS1596672     700      600      600      700     1,480      400      747      4,480

100067659   044143487   JAMESTOWN VALU-RITE PHCY CPA       JAMESTOWN       KY   42629     INDEPENDENT       AS1596735   18,700   12,200   21,100   14,000   26,700    16,100   18,133   108,800

100053247   046000315   SURF DRUGS INC                     MIAMI BEACH     FL   33141     INDEPENDENT       AS1606598    1,400    1,200    1,800    1,300    1,800     1,000    1,417     8,500

100057246   032300012   ST MARY'S HOSPITAL, INC            COTTONWOOD      ID   83522       HOSPITAL        AS1615686              400      200       50      300                238       950

100053796   017086769   MALHEUR DRUG #1                        VALE        OR   97918     INDEPENDENT       AS1620067   10,700   10,600    9,600   18,000    5,200     6,700   10,133    60,800

100090053   032143545   SALEM HOSPITAL PHCY                   SALEM        OR   97301       HOSPITAL        AS1634383    8,800    5,700    8,100    5,500   10,660     6,900    7,610    45,660

100090054   032143552   SALEM HOSPITAL PHCY - EMPLOYEE        SALEM        OR   97301       HOSPITAL        AS1634383    3,300    6,400    9,100   18,400    1,000              7,640    38,200

100090057   032143586   SALEM HOSPITAL PHCY - SANTIAM         SALEM        OR   97301       HOSPITAL        AS1634383     700     1,200     800     1,400                       1,025     4,100

100090056   032143578   SALEM HOSPITAL PHCY - W VALLEY        SALEM        OR   97301       HOSPITAL        AS1634383     600      900      800      200                         625      2,500

100094244   032147694   SALEM HOSPITAL PHCY WAC               SALEM        OR   97301       HOSPITAL        AS1634383              100               200      200                167       500

100051920   010049445   SOMERSET DRUG CO INC                SOMERSET       PA   15501     INDEPENDENT       AS1678347                                        1,500              1,500     1,500

100053556   010052423   ST VINCENT HEALTH CENTER GPO           ERIE        PA   16544       HOSPITAL        AS1685619    2,700    3,300    3,500    2,600     500      2,700    2,550    15,300

100072516   010141382   SAINT VINCENT HEALTH CTR 340B          ERIE        PA   16544   PHS 340B HOSPITAL   AS1685619     600      700      900     1,000     400      1,000     767      4,600

100096764   010233585   SAINT VINCENT HEALTH CTR WAC           ERIE        PA   16544   PHS 340B HOSPITAL   AS1685619     100               100      600     3,700              1,125     4,500

100064902   019003368   SHRINERS HOSP FOR CHILDREN           CHICAGO       IL   60707       HOSPITAL        AS1694543              600      200      900                200      475      1,900

100066732   021054692   SPALITTO'S PHARMACY LLC GNP        KANSAS CITY     MO   64124     INDEPENDENT       AS1762752   18,500   22,000   19,100   19,400   43,700     4,000   21,117   126,700

100107349   023153601   SHEELEY'S DRUG STORE INC            SCRANTON       PA   18503     INDEPENDENT       AS1766700                      1,100    4,000    2,500     1,000    2,150     8,600

100055526   032056697   KAISER PERM PHCY SALEM                SALEM        OR   97305     HEALTH PLAN       AS1768451    3,200    2,400    7,600    9,000     400      4,800    4,567    27,400

100067218   012113928   CSU SAN BERNARDINO                SAN BERNARDINO   CA   92407       ALT SITE        AS1832559     100      100     1,100                                 433      1,300

100063600   023100198   *SHOPRITE PHARMACY #151             HILLSDALE      NJ   07642        CHAIN          AS1883342     200      200      400      300                         275      1,100

100105817   008046714   NORTHERN NEVADA MD CTR PHRMCY        SPARKS        NV   89434       HOSPITAL        AS1906556     500      600      800      600      740       700      657      3,940

100093213   010226712   SHARONVILLE PHARMACY                CINCINNATI     OH   45232     INDEPENDENT       AS1936181   17,500    1,000   13,000    6,000   12,000    18,000   11,250    67,500

100068582   008146027   SAINT AGNES MED CNTR-INPATIE/Q       FRESNO        CA   93720       HOSPITAL        AS2023822    5,700    7,000    4,000    6,400    5,500     5,600    5,700    34,200

100068583   008146035   SAINT AGNES MED CNTR-340B /Z         FRESNO        CA   93720   PHS 340B HOSPITAL   AS2023822                      2,000                                2,000     2,000

100089515   008108514   SAINT FRANCIS MEM HOSP PHCY       SAN FRANCISCO    CA   94109       HOSPITAL        AS2024230    1,300    1,400    1,200     900      800      1,200    1,133     6,800

100096632   008111773   SAINT FRANCIS MEM HOSP WAC        SAN FRANCISCO    CA   94109   PHS 340B HOSPITAL   AS2024230              300      300      400     1,120      600      544      2,720

100089516   008108522   SAINT FRANCIS MEM HOSP 340B       SAN FRANCISCO    CA   94109   PHS 340B HOSPITAL   AS2024230     100      200      400      100                         200       800

100063952   023100503   *SHOPRITE PHARMACY #245           CEDAR KNOLLS     NJ   07927        CHAIN          AS2043468     100                                                    100       100

100050804   052062570   SARTINS DISCOUNT DRUG #             GULFPORT       MS   39501     INDEPENDENT       AS2048557                                        6,000              6,000     6,000

100054593   012058859   SKINNER'S PHARMACY        PRO      ROLLING HILLS   CA   90274     INDEPENDENT       AS2072421    4,000    6,600    5,100    5,700    5,000     6,000    5,400    32,400

100089507   008108696   SIERRA NEVADA MEM HOSPITAL         GRASS VALLEY    CA   95945       HOSPITAL        AS2103466    3,500    3,200   12,600                                6,433    19,300

100070118   023113563   ST JOHN'S PHARMACY(Z)               JERSEY CITY    NJ   07306     INDEPENDENT       AS2106537      -       300               200      (100)              100       400

100090757   018237545   ST ANTHONY HOSP & PHCY            OKLAHOMA CITY    OK   73102       HOSPITAL        AS2144791    7,100    5,700    3,600    6,500    7,100     3,600    5,600    33,600

100058637   018068767   SEQUOYAH MEMORIAL HOSPITAL           SALLISAW      OK   74955       HOSPITAL        AS2161292     100      400     1,200     600                500      560      2,800

100062453   018066472   ST JOHN MED CTR & PHY INC             TULSA        OK   74104       HOSPITAL        AS2164440   19,900   22,900   21,600   33,400   18,780    11,320   21,317   127,900

100090784   018237560   ST ANTHONY SHAWNEE HOSP INC.         SHAWNEE       OK   74804       HOSPITAL        AS2169414    1,000     700      300      100     1,300     1,400     800      4,800

100090785   018237578   ST ANTHONY SHAWNEE HOSP 340B         SHAWNEE       OK   74804       HOSPITAL        AS2169414     100                        100                         100       200

100058584   056100487   *SHOPRITE PHARMACY #539             CLEMENTON      NJ   08021        CHAIN          AS2172017     100               100                                  100       200

100106754   018331835   SHARE MEMORIAL HOSPITAL                ALVA        OK   73717       HOSPITAL        AS2173730     200               100      600      100                250      1,000

100050529   018051631   SOUTHERN METHODIST UNIVERSITY         DALLAS       TX   75205       HOSPITAL        AS2252409                                          80       200      140       280

100066141   049041103   M/KALAMAZOO PSYCHIATRIC HOSP        KALAMAZOO      MI   49008       HOSPITAL        AS2268870     200      200      200      300                         225       900
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100052073   010042440   TRINITY WEST                         STEUBENVILLE    OH   43952       HOSPITAL        AS2289824    1,000    1,000     1,000    1,600     1,560    1,400     1,260     7,560

100058498   044051540   PERRY COUNTY MEMORIAL HOSP             TELL CITY     IN   47586       HOSPITAL        AS2294027     200      600       200                         300       325      1,300

100088701   044209510   PERRY COUNTY MEM HOSP 340B             TELL CITY     IN   47586   PHS 340B HOSPITAL   AS2294027              200       100      200                          167       500

100053306   010050922   WEST VIRGINIA UNIV HOSPITAL          MORGANTOWN      WV   26506       HOSPITAL        AS2295904                        200                                   200       200

100057670   018032482   SOUTH SAN MEDICAL BUILDING PHC       SAN ANTONIO     TX   78221     INDEPENDENT       AS2301911    7,100   13,100     6,000    8,600     1,000    6,200     7,000    42,000

100100568   020159905   SCOTTSDALE HEALTHCARE SHEA           SCOTTSDALE      AZ   85260       HOSPITAL        AS2324983    3,900    4,300     3,000    3,600     3,500    2,800     3,517    21,100

100065666   023029652   ST. GEORGE PHARMACY IPBG             STATEN ISLAND   NY   10301     INDEPENDENT       AS2348983    1,200     800       800     2,000      800      900      1,083     6,500

100110390   041154997   SHENANDOAH MEMORIAL HOSPITAL         WOODSTOCK       VA   22664       HOSPITAL        AS2353124                        400      200       600      100       325      1,300

100059220   041055780   CARILION STNWALL JCKSN HSP 869        LEXINGTON      VA   24450       HOSPITAL        AS2355849     400      400                300       760      (160)     340      1,700

100083614   041133470   CARILION STNWLL JCKSN HSP 340B        LEXINGTON      VA   24450   PHS 340B HOSPITAL   AS2355849                                                    400       400       400

100055931   010066712   SHELIGA DRUG         APSC             CLEVELAND      OH   44103     INDEPENDENT       AS2395538    5,500    3,000     3,400    3,000     5,100    7,000     4,500    27,000

100064117   023100149   *SHOPRITE PHARMACY #131              NEW MILFORD     NJ   07646        CHAIN          AS2424024     100      (100)     260      200                          115       460

100057587   037086702   SALINAS PHCY/GNP %       SF           SAN BENITO     TX   78586     INDEPENDENT       AS2477417   13,200   12,300    25,100   12,800     2,100    6,000    11,917    71,500

100057232   056300012   ST. JOSEPH MEDICAL CENTER              READING       PA   19605       HOSPITAL        AS2480793     600      700                500       400      400       520      2,600

100060603   056033399   SOUTHERN CHESTER CTY PHY(IPBG)       WEST GROVE      PA   19390     INDEPENDENT       AS2488864    6,700    1,100      500    (1,700)    3,000    5,000     2,433    14,600

100059524   041057703   ST MARYS HOSP PHCY (I/P)VA 722        RICHMOND       VA   23226       HOSPITAL        AS2498459    2,100    1,500     1,600    1,650     1,930    1,580     1,727    10,360

100059148   041055483   SOUTHSIDE COMM HOSP INC       874     FARMVILLE      VA   23901       HOSPITAL        AS2499196     300     1,200      900      800      2,360    1,280     1,140     6,840

100080520   041100859   SOUTHSIDE COMMUNITY HOSP(340B)        FARMVILLE      VA   23901   PHS 340B HOSPITAL   AS2499196     400      200       400                                   333      1,000

100051784   010048090   SCHWIETERMAN'S DRUG STORE CPA        WAPAKONETA      OH   45895     INDEPENDENT       AS2575302    4,400    5,500     2,800   20,600               700      6,800    34,000

100062375   023100677   *SHOPRITE PHARMACY #443                STIRLING      NJ   07980        CHAIN          AS2597562                         30       60                           45        90

100064216   056100073   *SHOPRITE PHARMACY #299                NEPTUNE       NJ   07753        CHAIN          AS2601119              200                200                          200       400

100068652   010146100   ST ANN'S HOSP OF COLUMBUS INC        WESTERVILLE     OH   43081       HOSPITAL        AS2620905    4,300    3,600     3,700    4,300     3,160    3,060     3,687    22,120

100066888   019038422   SAINT CATHERINE'S HOSPITAL           EAST CHICAGO    IN   46312       HOSPITAL        AS2672916    1,400    2,300      800     1,100    17,100              4,540    22,700

100067048   019038513   SAINT CATHERINES HOSP (340B)         EAST CHICAGO    IN   46312   PHS 340B HOSPITAL   AS2672916                        200     1,300                         750      1,500

100058666   044042564   OAK HILL PHARMACY, INC                EVANSVILLE     IN   47711     INDEPENDENT       AS2686737   22,000   24,500    22,600   21,100    24,800   12,000    21,167   127,000

100057062   044067454   STEPP-SAVER PHCY         SF             BRUCE        MS   38915     INDEPENDENT       AS2727886    4,100    3,500     4,000    3,500     5,500    4,500     4,183    25,100

100055770   019025205   ST FRANCIS HOSPITAL OSF               ESCANABA       MI   49829       HOSPITAL        AS2738651     100     1,500      400     1,700     1,700    1,600     1,167     7,000

100094216   019162842   ST FRANCIS HOSPITAL 340B              ESCANABA       MI   49829       HOSPITAL        AS2738651     800     1,300      600      400                          775      3,100

100094216   019162842   ST FRANCIS HOSPITAL 340B              ESCANABA       MI   49829    PHS 340B CLINIC    AS2738651                                           200                200       200

100093269   049189662   MERCY HOSP AMBULATORY-CADILLAC         CADILLAC      MI   49601       HOSPITAL        AS2739540    3,600    3,500     1,200    3,600     3,400    9,800     4,183    25,100

100068654   049149484   MERCY HOSPITAL     CADILLAC            CADILLAC      MI   49601       HOSPITAL        AS2739540    2,400    2,000     2,050    3,500              3,960     2,782    13,910

100092345   049154799   MERCY HOSPITAL - CADILLAC 340B         CADILLAC      MI   49601       HOSPITAL        AS2739540              300      1,200     700                          733      2,200

100093835   049189670   MERCY HOSPITAL -CAD 340B               CADILLAC      MI   49601       HOSPITAL        AS2739540              600                500                          550      1,100

100068657   049149534   *MERCY HEALTH SAINT MARY'S CAM       GRAND RAPIDS    MI   49503    PHS 340B CLINIC    AS2740997    4,900    7,900     9,200    6,000                        7,000    28,000

100068656   049149526   *MERCY HEALTH SAINT MARY'S CAM       GRAND RAPIDS    MI   49503       HOSPITAL        AS2740997    4,700     500      2,100    5,000                        3,075    12,300

100096379   049189894   *MERCY HEALTH SAINT MARY'S CAM       GRAND RAPIDS    MI   49503       HOSPITAL        AS2740997             1,650              6,500                        4,075     8,150

100069162   049230466   *MERCY HEALTH SAINT MARY'S CAM       GRAND RAPIDS    MI   49503       HOSPITAL        AS2740997              150       100      150                          133       400

100066530   049049874   EDWARD W SPARROW HOSPITAL I/P          LANSING       MI   48912       HOSPITAL        AS2753045   10,600   11,100     8,800    7,050     2,520    1,420     6,915    41,490

100101299   049194498   EDWARD W SPARROW HOSP WAC              LANSING       MI   48912   PHS 340B HOSPITAL   AS2753045    1,300     400      1,200    4,200     9,920    7,300     4,053    24,320

100065235   049076083   EDWARD W SPARROW HOSP         340B     LANSING       MI   48912   PHS 340B HOSPITAL   AS2753045    1,200     700      1,250     800       100      640       782      4,690

100064836   049066308   COVENANT HEALTHCARE HARR VHA           SAGINAW       MI   48602       HOSPITAL        AS2753564    2,700    2,300     3,300    2,100              1,200     2,320    11,600

100101367   049194597   COVENANT HEALTHCARE HARR WAC           SAGINAW       MI   48602   PHS 340B HOSPITAL   AS2753564              500       600      900      3,300    3,500     1,760     8,800

100065721   049069328   COVENANT HEALTHCARE HARR 340B          SAGINAW       MI   48602   PHS 340B HOSPITAL   AS2753564     700     2,000     1,000    1,200      820               1,144     5,720

100108080   049196634   COVENANT HC HARR MACK WAC              SAGINAW       MI   48602       HOSPITAL        AS2753564                                 100                          100       100
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100065722   049069906   COVENANT HEALTHCARE COOPER        SAGINAW      MI   48602       HOSPITAL        AS2754984    3,800    5,800    4,600    2,300    2,000    1,900     3,400   20,400

100101356   049194589   COVENANT HLTHCARE COOPER WAC      SAGINAW      MI   48602   PHS 340B HOSPITAL   AS2754984     400      700     1,300    2,200    3,360    2,100     1,677   10,060

100059722   049115592   COVENANT HLCARE COOPER 340B       SAGINAW      MI   48602   PHS 340B HOSPITAL   AS2754984     700      300      300               100      600       400     2,000

100071028   008086967   PAMF-SC-MAIN CLNC-URGENT CARE    SANTA CRUZ    CA   95062       HOSPITAL        AS2760379              100      100                        480       227      680

100068659   049149567   *SAINT JOSEPH MERCY              ANN ARBOR     MI   48106       HOSPITAL        AS2762032    8,200   10,300   11,100    9,050    1,000              7,930   39,650

100068662   049149609   *SAINT JOSEPH MERCY              ANN ARBOR     MI   48106       HOSPITAL        AS2762032                               1,000                       1,000    1,000

100068841   049149658   *SAINT JOSEPH MERCY OAKLAND        PONTIAC     MI   48341       HOSPITAL        AS2768919    6,200    6,400    8,000   13,800                       8,600   34,400

100065013   049067108   SCHEURER HOSP PHCY        MEDA     PIGEON      MI   48755       HOSPITAL        AS2773011     400      300               400      560      240       380     1,900

100090932   049188698   SCHEURER HOSPITAL 340B             PIGEON      MI   48755   PHS 340B HOSPITAL   AS2773011     100               100                                  100      200

100055569   018039370   SUPER DRUG MART #4               SAN ANTONIO   TX   78227     INDEPENDENT       AS2809830    7,000    9,700    7,800    6,500    6,000    4,300     6,883   41,300

100074311   010123612   SELBY GENERAL HOSPITAL            MARIETTA     OH   45750       HOSPITAL        AS2828979     600      600      950     2,700              500      1,070    5,350

100087735   010217414   SELBY GENERAL HOSP 340B           MARIETTA     OH   45750       HOSPITAL        AS2828979     100               100                                  100      200

100054907   010043299   BERNENS CONVALESCENT PHCY,INC     CINCINNATI   OH   45238     INDEPENDENT       AS2838449    6,400    7,500    6,500    6,730    8,530    7,000     7,110   42,660

100101179   049194415   ST VINCENT MED AMB CARE WAC        TOLEDO      OH   43608   PHS 340B HOSPITAL   AS2861145    2,900    4,400    3,500    3,000    4,600    3,800     3,700   22,200

100090299   049188243   ST VINCENT MED CTR 340B            TOLEDO      OH   43608   PHS 340B HOSPITAL   AS2861145    2,500    2,300    4,700    3,000                       3,125   12,500

100090406   049188367   ST VINCENT MED AMB CARE 340B       TOLEDO      OH   43608   PHS 340B HOSPITAL   AS2861145    2,300    2,000    1,600     900      300      (200)    1,150    6,900

100093901   049189704   ST VINCENT MED CTR WAC             TOLEDO      OH   43608       HOSPITAL        AS2861145                                        2,800    2,200     2,500    5,000

100090263   049188151   ST CHARLES IP PHCY                 OREGON      OH   43616       HOSPITAL        AS2868911    1,800    1,300    1,600    1,550    1,720    1,700     1,612    9,670

100090256   010224642   SEHC AMBULATORY PHCY OP EMP      YOUNGSTOWN    OH   44501       HOSPITAL        AS2938984    7,100    7,500    4,900    6,260    7,400    6,200     6,560   39,360

100090276   010224741   ST ELIZABETH HOSPITAL            YOUNGSTOWN    OH   44501       HOSPITAL        AS2938984    3,400    4,400    4,450    4,100    5,600    4,500     4,408   26,450

100056468   010055335   SCHWIETERMANS DRUG STORE CPA     NEW BREMEN    OH   45869     INDEPENDENT       AS2954736    4,500    4,300    4,200    4,100    3,400              4,100   20,500

100052070   010042010   STEWART'S PHARMACY       APSC    GREENFIELD    OH   45123     INDEPENDENT       AS2964321   11,300   12,800   13,800   11,700   14,300   11,800    12,617   75,700

100087675   010217265   STEWART'S PHARMACY 340B          GREENFIELD    OH   45123    PHS 340B CLINIC    AS2964321     100       -                                             50      100

100076810   010121806   ST JOSEPHS HOSPITAL 340B         BUCKHANNON    WV   26201   PHS 340B HOSPITAL   AS2970069     400      500      800      400                         525     2,100

100100640   010233908   ST JOSEPHS HOSPITAL WAC          BUCKHANNON    WV   26201   PHS 340B HOSPITAL   AS2970069              200      200      100      700      700       380     1,900

100076809   010121798   ST JOSEPHS HOSPITAL              BUCKHANNON    WV   26201       HOSPITAL        AS2970069     100      200      100                        400       200      800

100052061   010041848   ST MARYS HOSPITAL PHARMACY RX    HUNTINGTON    WV   25702       HOSPITAL        AS2973495    7,000    7,100    6,600    9,000    6,200    4,800     6,783   40,700

100085497   044201269   SMITH DRUG CO, INC               HODGENVILLE   KY   42748     INDEPENDENT       AS3002982   12,800    7,100   10,600    7,500    9,000   11,500     9,750   58,500

100060818   010101063   ST CLAIRE REG, MED CENTER PHCY    MOREHEAD     KY   40351       HOSPITAL        AS3003984     900      800     1,000     700               600       800     4,000

100096398   010233411   ST CLAIRE REGIONAL MEDICAL WAC    MOREHEAD     KY   40351   PHS 340B HOSPITAL   AS3003984              600               200     1,300     500       650     2,600

100060363   010100917   ST CLAIRE REGIONAL MEDICAL 340    MOREHEAD     KY   40351   PHS 340B HOSPITAL   AS3003984     100      100      200      200               200       160      800

100064715   010300111   ST. JOSEPH HOSPITAL               LEXINGTON    KY   40504       HOSPITAL        AS3009772    3,900    6,100    8,100    5,800    4,000    4,700     5,433   32,600

100066246   019160077   SOUTH BEND CLINIC SURGICENTER    SOUTH BEND    IN   46634       HOSPITAL        AS3018125              200               100       80                127      380

100072480   049130989   STRAITH HOSP FOR SPEC SURG       SOUTHFIELD    MI   48033       HOSPITAL        AS3042582     200      650      200      500               200       350     1,750

100060793   023011171   STATION PHARMACY        (GNP)      NEWARK      NJ   07114     INDEPENDENT       AS3086661     300      100      400      400                         300     1,200

100053525   017076794   SAN JUAN COUNTY HOSPITAL         MONTICELLO    UT   84535       HOSPITAL        AS3130147              100                                           100      100

100056483   010066464   SAM'S DRUG MART APSC              ALLIANCE     OH   44601     INDEPENDENT       AS3149398   14,400   19,200   16,100   16,800   14,500   17,400    16,400   98,400

100074843   055042994   SAMPSON REG MED CTR PHCY(W)        CLINTON     NC   28328       HOSPITAL        AS3158385     600      500      100              1,000    3,500     1,140    5,700

100076146   055045294   SAMPSON REGIONAL MED CTR(340B)     CLINTON     NC   28328   PHS 340B HOSPITAL   AS3158385     100      300      400      800                         400     1,600

100055100   010045617   SAMARITAN PHARMACY O/P RETAIL     ASHLAND      OH   44805     INDEPENDENT       AS3179303    5,900    1,700    2,300    3,300    2,500    3,000     3,117   18,700

100074463   055045377   ST JOSEPH'S HOSP PHARM. (340B)    ASHEVILLE    NC   28801   PHS 340B HOSPITAL   AS3196789     500      700     1,100     300               100       540     2,700

100074465   055044503   ST JOSEPH'S HOSPITAL PHARMACY     ASHEVILLE    NC   28801       HOSPITAL        AS3196789     700      500               300      460      640       520     2,600

100096887   055037804   ST JOSEPH'S HOSP PHARM (WAC)      ASHEVILLE    NC   28801       HOSPITAL        AS3196789     100                        200      600                300      900

100072412   055027201   KINGS DRUG COMPANY                  KING       NC   27021     INDEPENDENT       AS3197250   11,000   11,700    8,700   11,500   15,320   11,600    11,637   69,820
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100066923   055143388   MABRY'S DRUG STORE(X)      CPA      HAMLET       NC   28345     INDEPENDENT       AS3202481   28,100   25,300   40,500   25,000   17,200    30,800   27,817   166,900

100065395   018045716   LANDMARK PHCY         SF          LITTLE ROCK    AR   72206     INDEPENDENT       AS3216428    4,800    7,100    6,200    8,800    6,600     7,500    6,833    41,000

100065604   018080028   CHI ST VINCENT HSP HOT SPRG IP   HOT SPRINGS     AR   71913       HOSPITAL        AS3235997    3,700    4,500    3,300    6,100    4,900      900     3,900    23,400

100055102   010045633   SCHAEPER'S PHARMACY INC APSC      CINCINNATI     OH   45223     INDEPENDENT       AS3237092    6,600    8,600   10,100    7,600    5,200    12,700    8,467    50,800

100055367   038000273   SOUTH BIG HORN COUNTY HOSP           BASIN       WY   82410       HOSPITAL        AS3256345     200      100      200               100       100      140       700

100050539   004040899   SOUTH COUNTY HOSPITAL INC         WAKEFIELD      RI   02879       HOSPITAL        AS3261942     700      500      700      500      720       320      573      3,440

100068842   049149682   *MERCY HEALTH SAINT MARY'S CAM   GRAND RAPIDS    MI   49503     INDEPENDENT       AS3278074    1,000    1,500    1,200    4,600                       2,075     8,300

100083768   049180422   *MERCY HEALTH SAINT MARY'S CAM   GRAND RAPIDS    MI   49503   PHS 340B HOSPITAL   AS3278074    1,300    1,800    1,300    1,400     200               1,200     6,000

100071621   052125625   NESHOBA CNTY GENERAL HOSP (PHS   PHILADELPHIA    MS   39350   PHS 340B HOSPITAL   AS3284750     100     2,100     800     2,100    2,100     1,600    1,467     8,800

100071620   052125617   NESHOBA COUNTY GENERAL HOSPIT    PHILADELPHIA    MS   39350       HOSPITAL        AS3284750     500     1,200     700      200      500        80      530      3,180

100105694   032152173   VALLEY GENERAL HOSPITAL            MONROE        WA   98272       HOSPITAL        AS3308853     200      300      200               200       200      220      1,100

100093066   018396358   ST FRANCIS MEDICAL CTR PHA         MONROE        LA   71201       HOSPITAL        AS3398460    4,000    3,200    4,700    4,600      -       5,300    3,633    21,800

100100638   018403386   ST FRANCIS MEDICAL CTR OP WAC      MONROE        LA   71201       HOSPITAL        AS3398460     500      500     1,000     700                         675      2,700

100100645   018403402   ST FRANCIS MEDICAL CTR PHA WAC     MONROE        LA   71201       HOSPITAL        AS3398460                                700      600                650      1,300

100093067   018396366   ST FRANCIS MEDICAL CTR INC340B     MONROE        LA   71201       HOSPITAL        AS3398460     200      500      400      100                         300      1,200

100093069   018396382   ST FRANCIS MEDICAL CTR 340BOP      MONROE        LA   71201       HOSPITAL        AS3398460     200      200      500      200                         275      1,100

100061460   023017442   ST FRANCIS HOSPITAL                 ROSLYN       NY   11576       HOSPITAL        AS3427653              200                        200       100      167       500

100109743   004103515   MID-HUDSON VALLEY                POUGHKEEPSIE    NY   12601       HOSPITAL        AS3512197     200                        500                200      300       900

100057924   019301069   WFHC-INPATIENT                      RACINE       WI   53405       HOSPITAL        AS3540730    2,600    2,700    4,150     250      960       800     1,910    11,460

100061802   019301531   WHEATON FRANCISCAN HTH (340B)       RACINE       WI   53405   PHS 340B HOSPITAL   AS3540730     700     1,000     600      900               1,060     852      4,260

100100550   019179150   WFHC-INPATIENT WAC                  RACINE       WI   53405   PHS 340B HOSPITAL   AS3540730                       100      150     1,300      180      433      1,730

100086535   019146498   SHAWANO MEDICAL CENTER             SHAWANO       WI   54166       HOSPITAL        AS3571343     400      700      500      300                700      520      2,600

100089866   019156836   SHAWANO MEDICAL CTR 340B           SHAWANO       WI   54166       HOSPITAL        AS3571343     100      100                                           100       200

100055842   019025296   ST FRANCIS MEDICAL CENTER           PEORIA       IL   61637       HOSPITAL        AS3581875   15,200    8,200   14,100   14,200     500      8,400   10,100    60,600

100100662   019179218   ST FRANCIS MEDICAL CENTER WAC       PEORIA       IL   61637   PHS 340B HOSPITAL   AS3581875     600     8,700              800    16,420     6,540    6,612    33,060

100058377   019044115   ST FRANCIS MEDICAL CTR-340B         PEORIA       IL   61637   PHS 340B HOSPITAL   AS3581875    1,900    1,600    2,200    1,900               900     1,700     8,500

100056443   019025411   ST FRANCIS MED CTR COMM CLINIC      PEORIA       IL   61637       HOSPITAL        AS3581875                       500                                  500       500

100059182   044041855   SOUTHERN ILLINOIS HOSPITAL, CO      HERRIN       IL   62948       HOSPITAL        AS3583021    3,600    2,000    3,800    3,300    7,260     2,300    3,710    22,260

100058091   044044537   STUDENT HEALTH CENTER PHARMACY   CARBONDALE      IL   62901       ALT SITE        AS3584275              600      600      500      100       500      460      2,300

100055777   019025270   ST JOSEPH'S HOSPITAL MEDICAL     BLOOMINGTON     IL   61701       HOSPITAL        AS3589097    3,700    3,100    3,400    3,100    3,360     2,100    3,127    18,760

100055844   019025320   ST MARY'S MEDICAL CENTER          GALESBURG      IL   61401       HOSPITAL        AS3589477    1,800     600     1,300     600      320       960      930      5,580

100062180   025004283   ST. GABRIEL'S HOSPITAL & PHCY     LITTLE FALLS   MN   56345       HOSPITAL        AS3642065     200      200      300      200      200       200      217      1,300

100063177   025004424   ST. FRANCIS MEDICAL CENTER       BRECKENRIDGE    MN   56520       HOSPITAL        AS3642798     600      650      450      700      800      1,900     850      5,100

100059552   025024513   ST MARYS MED CTR VIRGINIA OWN       DULUTH       MN   55805       HOSPITAL        AS3653258    9,500   10,500   10,000    9,600                       9,900    39,600

100059554   025024539   ST MARYS MED CTR INT'L FLL OWN      DULUTH       MN   55805       HOSPITAL        AS3653258    2,500    1,500    2,000    9,000                       3,750    15,000

100104055   025091363   ST MARYS MEDICAL CENTER WAC         DULUTH       MN   55805   PHS 340B HOSPITAL   AS3653258    1,800    1,700    2,900    3,400              1,800    2,320    11,600

100061855   025022665   ST MARYS MEDICAL CENTER             DULUTH       MN   55805       HOSPITAL        AS3653258    2,100    1,300     600      200     3,420     1,100    1,453     8,720

100059553   025024521   ST MARYS MED CTR HIBBING OWN        DULUTH       MN   55805       HOSPITAL        AS3653258    2,300    2,100    2,000    2,300                       2,175     8,700

100071957   025035246   ST. JOSEPH'S MED CTR PHCY-BMC      BRAINERD      MN   56401       HOSPITAL        AS3653260    5,500    6,000    7,500   12,800                       7,950    31,800

100088725   025012294   ST JOSEPH'S MED CTR & PHCY-BAX     BRAINERD      MN   56401       HOSPITAL        AS3653260    4,500    3,000    3,100   10,000                       5,150    20,600

100061854   025022657   ST JOSEPH'S MED CTR & PHCY         BRAINERD      MN   56401       HOSPITAL        AS3653260    1,200     700      900     1,900               600     1,060     5,300

100061126   019047985   SOUTH SHORE HOSPITAL               CHICAGO       IL   60617       HOSPITAL        AS3748437     200      300      200      400      (200)     500      233      1,400

100090778   044210666   ST MARY'S HOSPITAL PHCY           CENTRALIA      IL   62801       HOSPITAL        AS3758680    1,300     600     1,000    1,150    2,450      600     1,183     7,100

100055775   019025254   ST JAMES HOSPITAL                   PONTIAC      IL   61764       HOSPITAL        AS3761954     600      800      700      900      580       740      720      4,320
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100063135   021021089   SKAGGS COMMUNITY HOSPITAL VHA       BRANSON       MO   65616       HOSPITAL        AS3768249    1,200    1,600    2,200    3,000    1,300    1,200    1,750   10,500

100066544   021002774   *HEARTLAND REGIONAL MED CTR       SAINT JOSEPH    MO   64506       HOSPITAL        AS3774038    4,100     700                                         2,400    4,800

100084656   021145474   *HEARTLAND REG MED CTR 340B       SAINT JOSEPH    MO   64506   PHS 340B HOSPITAL   AS3774038     600      100                                          350      700

100062475   021000141   ST LUKES HOSPITAL OF KC (IP)       KANSAS CITY    MO   64111       HOSPITAL        AS3774367    4,400    6,200    5,100    2,400    2,300    2,600    3,833   23,000

100101288   021172064   ST LUKES HOSP PLZ O-P WAC          KANSAS CITY    MO   64111   PHS 340B HOSPITAL   AS3774367    2,100    3,100    1,500    2,600    2,300    2,900    2,417   14,500

100089974   021167403   ST LUKES HOSPITAL OF KC-WAC        KANSAS CITY    MO   64111       HOSPITAL        AS3774367     100      400              3,000    3,900    2,000    1,880    9,400

100074960   021130542   ST LUKE'S HOSP OF KC 340B          KANSAS CITY    MO   64111   PHS 340B HOSPITAL   AS3774367                       100      100      700      700      400     1,600

100067033   044039933   MERCY HOSP - ST LOUIS IP           SAINT LOUIS    MO   63141       HOSPITAL        AS3774432    7,900    6,600    7,700    8,500    6,400    8,640    7,623   45,740

100057228   025300129   ST. JOSEPH'S HOSP & HLTH CTR       DICKINSON      ND   58601       HOSPITAL        AS3791212              500     1,800                       800     1,033    3,100

100065716   021004325   STARK PROFESSIONAL PHARMACY        KANSAS CITY    MO   64131     INDEPENDENT       AS3810644    8,300   11,000    7,400    8,200    7,900    7,100    8,317   49,900

100094091   021015081   MERCY HOSP SPRINGFIELD-OP WAC      SPRINGFIELD    MO   65804   PHS 340B HOSPITAL   AS3818373   16,600   18,200   13,000   15,100   18,600   17,000   16,417   98,500

100058835   021027110   MERCY HOSP SPRINGFIELD-IP          SPRINGFIELD    MO   65804       HOSPITAL        AS3818373    7,300    7,500    7,500   10,800             1,000    6,820   34,100

100077135   021044974   MERCY HOSP SPRGFIELD-OP 340B       SPRINGFIELD    MO   65804   PHS 340B HOSPITAL   AS3818373    7,500    8,100    7,000    4,100    1,000    1,700    4,900   29,400

100096654   021077925   MERCY HOSP SPRINGFIELD WAC         SPRINGFIELD    MO   65804   PHS 340B HOSPITAL   AS3818373                               7,900    4,880     860     4,547   13,640

100059756   021030239   MERCY HOSP SPRINGFIELD-340B        SPRINGFIELD    MO   65804   PHS 340B HOSPITAL   AS3818373    1,500    1,600    1,400    1,300              840     1,328    6,640

100058567   021027169   MERCY HOSP SPRINGFIELD-OP          SPRINGFIELD    MO   65804       HOSPITAL        AS3818373                                        2,900             2,900    2,900

100062474   021000133   ST LUKES NORTHLAND HOSP (SMV)      SMITHVILLE     MO   64089       HOSPITAL        AS3825998     300      200      200      300      440      100      257     1,540

100067202   044053769   MERCY PHCY - JFK CLINIC            SAINT LOUIS    MO   63141       HOSPITAL        AS3835088    3,000    5,000    5,000   10,500    1,000    3,000    4,583   27,500

100056108   019025361   ST MARGARET'S HOSPITAL PHCY       SPRING VALLEY   IL   61362       HOSPITAL        AS3865396    1,800    1,900    1,400    1,300    2,700    1,400    1,750   10,500

100066153   019143495   STUTS DRUG STORE INC        CPA      ALEDO        IL   61231     INDEPENDENT       AS3866110    2,800    4,400    4,300    4,400    3,500    2,400    3,633   21,800

100075994   019052837   ST. FRANCIS HOSPITAL 340B           EVANSTON      IL   60202   PHS 340B HOSPITAL   AS3869572    1,300    2,700     900     2,000                      1,725    6,900

100065081   019004150   ST FRANCIS HOSP ATTN PHARMACY       EVANSTON      IL   60202       HOSPITAL        AS3869572              100      100      100     1,520    1,580     680     3,400

100090140   019157081   ST FRANCIS HOSPITAL PHCY WAC        EVANSTON      IL   60202       HOSPITAL        AS3869572                       900      900                        900     1,800

100063967   019002642   ST. BERNARD HOSPITAL                CHICAGO       IL   60621       HOSPITAL        AS3884221              800              1,000                       900     1,800

100055772   019025221   ST ANTHONY MEDICAL CENTER OSF      ROCKFORD       IL   61108       HOSPITAL        AS3884764    5,900    5,600    6,800   11,000    1,040    5,280    5,937   35,620

100067348   019143453   SEARS PHARMACY, INC        CPA      OAK PARK      IL   60302     INDEPENDENT       AS3892090    6,600    5,200    6,200    5,800    5,900    5,100    5,800   34,800

100064279   019031799   JOHN H STROGER, JR HSP IP           CHICAGO       IL   60612       HOSPITAL        AS3906813    5,200    6,000    4,600    5,300    6,240    3,520    5,143   30,860

100096613   019163378   JOHN H STROGER, JR HOSP 340B        CHICAGO       IL   60612   PHS 340B HOSPITAL   AS3906813    2,000    2,300    1,400    1,900     960     1,040    1,600    9,600

100096614   019163394   JOHN H STROGER, JR HOSP WAC         CHICAGO       IL   60612   PHS 340B HOSPITAL   AS3906813                                        1,040    1,200    1,120    2,240

100096909   019163915   AURORA ST LUKES MED CTR WAC        MILWAUKEE      WI   53215       HOSPITAL        AS3919656    9,800    1,000             2,800   11,300    7,800    6,540   32,700

100065188   019005835   ASLMC-PHARMACY 7 FL I/P            MILWAUKEE      WI   53215       HOSPITAL        AS3919656    1,550    6,050    8,200    3,350                      4,788   19,150

100083994   019136408   ASLMC PHCY 340B                    MILWAUKEE      WI   53215   PHS 340B HOSPITAL   AS3919656     250     1,950     500     4,250                      1,738    6,950

100090715   019167551   HOSP & NURSING HOME PHCY IP         MONROE        WI   53566       HOSPITAL        AS3919670    1,000    1,100     900     1,600     700      900     1,033    6,200

100064676   019006288   AMC WASHINGTON CO (I/P)             HARTFORD      WI   53027       HOSPITAL        AS3929188     200      500      200      400               600      380     1,900

100096905   019163899   AURORA SHEBOYGAN MEMORIAL WAC      SHEBOYGAN      WI   53083       HOSPITAL        AS3929239     100                       1,000    1,900    1,000    1,000    4,000

100063458   019006635   AURORA SHEBOYGAN MEMORIAL          SHEBOYGAN      WI   53083       HOSPITAL        AS3929239     400      500      700                                 533     1,600

100086525   019180133   AURORA SHEBOYGAN MEM 340B          SHEBOYGAN      WI   53083   PHS 340B HOSPITAL   AS3929239    1,100     100      100      100                        350     1,400

100090763   021167593   ST FRANCIS HOSP CORP               MARYVILLE      MO   64468       HOSPITAL        AS3964322    1,500     400      700      400      940      760      783     4,700

100067042   021054270   SKAGWAY PHCY#1, NORTH GNPSF       GRAND ISLAND    NE   68801     INDEPENDENT       AS3977785    8,800   10,600    7,600   10,800    9,600    8,800    9,367   56,200

100063647   021054957   ST. FRANCIS MED CTR /CONS         GRAND ISLAND    NE   68803       HOSPITAL        AS3979549    3,100    2,300    8,200    2,500             1,500    3,520   17,600

100084690   021145524   CHI HEALTH ST. MARY'S 340B        NEBRASKA CITY   NE   68410   PHS 340B HOSPITAL   AS3984095                       100      500                        300      600

100063884   021054809   CHI HEALTH ST. MARY'S     /CONS   NEBRASKA CITY   NE   68410       HOSPITAL        AS3984095     100      300               100                        167      500

100055516   038072744   *SHAVERS PHCY 3533         SF     HEMINGFORD      NE   69348     INDEPENDENT       AS3988435    2,600                                                 2,600    2,600

100067337   021003202   JOHNSON PHARMACY                     FRIEND       NE   68359     INDEPENDENT       AS4002844             1,100                               4,000    2,550    5,100
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100063646   021054932   ST. ELIZABETH REGIONAL MED CNT       LINCOLN        NE   68510       HOSPITAL        AS4004165    4,700    5,000   10,700    2,400              280     4,616   23,080

100104971   021172718   ALEGENT HLTH MEMORIAL HOSPITAL      SCHUYLER        NE   68661       HOSPITAL        AS4004571                       100      100               100      100      300

100063376   021001198   MYRTUE MEMORIAL HOSPITAL              HARLAN        IA   51537       HOSPITAL        AS4005787     600      400      300      800     1,940              808     4,040

100086006   021159053   MYRTUE MEMORIAL HOSP 340B             HARLAN        IA   51537   PHS 340B HOSPITAL   AS4005787              100               100                        100      200

100056635   021300061   SARTORI MEMORIAL HOSPITAL          CEDAR FALLS      IA   50613       HOSPITAL        AS4017364     300      750      450      650     1,200              670     3,350

100057245   021300343   COVENANT MED CENTER W NINTH         WATERLOO        IA   50702       HOSPITAL        AS4031554              300     1,400     600     1,500    2,000    1,160    5,800

100100634   021171959   COVENANT MED CENTER WAC             WATERLOO        IA   50702   PHS 340B HOSPITAL   AS4031554    1,800    2,200     500      700                       1,300    5,200

100085582   021158659   COVENANT MED CENTER 340B            WATERLOO        IA   50702   PHS 340B HOSPITAL   AS4031554     600      200      500      300                        400     1,600

100060728   021036889   ST ANTHONY REGIONAL HOSPITAL         CARROLL        IA   51401       HOSPITAL        AS4034942    1,600    1,900    1,300    2,800    1,490    1,240    1,722   10,330

100056636   021300079   MERCY MEDICAL CTR-CENTERVILLE      CENTERVILLE      IA   52544       HOSPITAL        AS4037479     250      300      200      450      240      200      273     1,640

100057743   019300962   WHEATON FRANCISCAN HC SF HOSP       MILWAUKEE       WI   53215       HOSPITAL        AS4051291     800      700     1,000     500               480      696     3,480

100057309   019302216   ST FRANCIS HOSP, PHCY (340B)        MILWAUKEE       WI   53215   PHS 340B HOSPITAL   AS4051291     500      300      400      450               320      394     1,970

100097040   019163956   ST FRANCIS HOSP PHCY WAC            MILWAUKEE       WI   53215   PHS 340B HOSPITAL   AS4051291                                         100      400      250      500

100090783   019167775   STOUGHTON HOSPITAL ASSN             STOUGHTON       WI   53589       HOSPITAL        AS4058562     200      400      100      500               500      340     1,700

100057744   019300970   ST JOSEPH HOSPITAL                  MILWAUKEE       WI   53210       HOSPITAL        AS4059184     200      500      300      100     1,720     160      497     2,980

100061800   019301499   ST JOSEPH HOSPITAL (340B PHS)       MILWAUKEE       WI   53210   PHS 340B HOSPITAL   AS4059184     600      500      500      200      200      320      387     2,320

100097042   019163964   ST JOSEPH HOSPITAL WAC              MILWAUKEE       WI   53210   PHS 340B HOSPITAL   AS4059184              300      700      300      300               400     1,600

100058145   044047308   SHRINERS HOSPS FOR CHILDREN         SAINT LOUIS     MO   63131       HOSPITAL        AS4078374     200      200      200      400                        250     1,000

100065267   021027300   MERCY HOSPITAL ST FRANCIS SOM     MOUNTAIN VIEW     MO   65548       HOSPITAL        AS4079198     300               300      700                        433     1,300

100070470   037143313   VILLAGE PHARMACY: REFUGIO CPA        REFUGIO        TX   78377     INDEPENDENT       AS4095522   13,020   11,680   15,600   11,500    1,900    4,500    9,700   58,200

100064738   018080184   MERCY HOSPITAL FT SMITH - IP        FORT SMITH      AR   72903       HOSPITAL        AS4164048    5,300    5,500    4,100    5,200   11,200    5,700    6,167   37,000

100064740   018080234   MERCY HOSPITAL-FT SMITH EMP         FORT SMITH      AR   72903       HOSPITAL        AS4164048    4,800    4,900    3,900    4,200                      4,450   17,800

100107739   018404400   *MERCY HOSPITAL-FT SMITH 340B       FORT SMITH      AR   72903   PHS 340B HOSPITAL   AS4164048     100      900               900      100               500     2,000

100067220   012113936   CSU SAN DIEGO                       SAN DIEGO       CA   92182       ALT SITE        AS4348745                      1,000                               1,000    1,000

100055254   019040048   ST JOSEPH'S MEM HOSP WI             HILLSBORO       WI   54634       HOSPITAL        AS4479285              200      600      800                        533     1,600

100087792   019151217   ST JOSEPH MEM HOSPITAL 340B         HILLSBORO       WI   54634       HOSPITAL        AS4479285     600      600                                          600     1,200

100064974   052057828   SUMMERFORD DRUGS INC                 FALKVILLE      AL   35622   LONG TERM CARE      AS4551619    5,500    6,500    5,000    4,500   14,900    3,500    6,650   39,900

100059016   056100644   *SHOPRITE PHARMACY #623          WEST LONG BRANCH   NJ   07764        CHAIN          AS4633598     400      400      200      300                        325     1,300

100055954   026049700   KULA HOSPITAL PHARMACY                 KULA         HI   96790       HOSPITAL        AS4654465                                100                        100      100

100065221   021022160   SABETHA COMM HOSP, IN     NOV        SABETHA        KS   66534       HOSPITAL        AS4866743              100               300      360      160      230      920

100090551   032145045   PEACE HLTH SW MED CTR CENTRAL       VANCOUVER       WA   98664       HOSPITAL        AS4942581    1,500    2,000    1,050    2,850    1,860    1,180    1,740   10,440

100090555   032145086   PEACE HLTH SW MED CTR IP WAC        VANCOUVER       WA   98664       HOSPITAL        AS4942581    1,000     300      100               560     2,480     888     4,440

100090554   032145078   SOUTH WST WASHNGTN MD CTR 340B      VANCOUVER       WA   98664       HOSPITAL        AS4942581              900      200                                 550     1,100

100068845   017146035   ST ALPHONSUS REGIONAL                 BOISE         ID   83706       HOSPITAL        AS4986228    2,500    6,300    8,300    4,100                      5,300   21,200

100094213   017096271   ST ALPHONSUS REGIONAL WAC             BOISE         ID   83706       HOSPITAL        AS4986228             1,000                      8,060    6,800    5,287   15,860

100090158   017093849   ST ALPHONSUS REGIONAL 340B            BOISE         ID   83706   PHS 340B HOSPITAL   AS4986228    3,500                       200                       1,850    3,700

100052922   026069088   SEVENTH DAY ADVENTIST               TAMUNING        GU   96913     INDEPENDENT       AS5012517    4,100             1,000     200     3,200    1,200    1,940    9,700

100058565   049024422   HEALTH SOURCE/SAGINAW INC            SAGINAW        MI   48608       HOSPITAL        AS5074187    2,300    2,400    2,000    3,200    1,040    2,160    2,183   13,100

100104182   018314070   ST VINCENT INFIRMARY WAC EMPRX      LITTLE ROCK     AR   72205   PHS 340B HOSPITAL   AS5092058    4,500    3,300   16,500     420     2,000    2,000    4,787   28,720

100060685   018300194   ST. VINCENT INFIRMARY MEDS          LITTLE ROCK     AR   72205       HOSPITAL        AS5092058    3,100    4,600    5,100    4,300                      4,275   17,100

100059870   018300269   ST. VINCENT INFIRMARY 340B          LITTLE ROCK     AR   72205   PHS 340B HOSPITAL   AS5092058    1,300     600     1,700     900                       1,125    4,500

100068635   018177881   ST VINCENT INFIRMRY 340B EMPRX      LITTLE ROCK     AR   72205   PHS 340B HOSPITAL   AS5092058     400      600      100                                 367     1,100

100075061   038101246   HARTSHORN HEALTH SERV PHARMACY     FORT COLLINS     CO   80521       ALT SITE        AS5291062     600      200     1,000    1,400     700      300      700     4,200

100076156   010121830   SWISHER & LOHSE DRUGS     CPA        POMEROY        OH   45769     INDEPENDENT       AS5494430   23,100   11,100   17,200   10,600   17,000   16,000   15,833   95,000
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100087089   010214122   SWISHER & LOHSE DRUGS 340B CPA        POMEROY         OH   45769    PHS 340B CLINIC     AS5494430              100      2,100                               1,100     2,200

100085921   021158980   SEITZ DRUG COMPANY INC CPA           ELLSWORTH        KS   67439     INDEPENDENT        AS5821384    3,100    5,700     3,500    1,900    8,200    5,700    4,683    28,100

100092807   021160812   SEITZ DRUG COMPANY INC 340B          ELLSWORTH        KS   67439   PHS 340B HOSPITAL    AS5821384    5,300    3,300     3,700    4,200                      4,125    16,500

100053223   012054213   SANTA ANA-TUSTIN PROF CLINIC         SANTA ANA        CA   92705     INDEPENDENT        AS5960100   12,900    9,950    13,000   13,700    9,000    5,100   10,608    63,650

100052969   017011676   SAV MOR DRUG                         TWIN FALLS       ID   83301     INDEPENDENT        AS6037065    5,000   12,000    26,500    6,500                     12,500    50,000

100054133   041012914   KENNER ARMY HEALTH CLINIC- DOD        FORT LEE        VA   23801   HOSPITAL (FEDERAL)   AS6057601   12,800    8,500     9,500   13,400    4,100    8,600    9,483    56,900

100059090   056100768   *SHOPRITE PHARMACY #656              TOMS RIVER       NJ   08753         CHAIN          AS6117976              400       300     1,000                       567      1,700

100059013   044041665   SUPER DRUG, OF MCKENZIE               MCKENZIE        TN   38201     INDEPENDENT        AS6167933    7,000              2,000    9,000    3,500    3,000    4,900    24,500

100067225   008023572   CSU FRESNO                             FRESNO         CA   93740        ALT SITE        AS6240585              300       100      300      200               225       900

100050795   052062406   SPRINGHILL MEM HOSP PHARMACY #         MOBILE         AL   36608       HOSPITAL         AS6292534    3,200    2,700     2,900    3,800    2,180    2,820    2,933    17,600

100109923   004103598   PRESCRIPTION CTR OSSINING CPA         OSSINING        NY   10562     INDEPENDENT        AS6391279    1,000     500      2,100    1,700    2,200    1,100    1,433     8,600

100087800   032140863   SUNNYSIDE DRUG                        KELLOGG         ID   83837     INDEPENDENT        AS6479302    9,000    8,500     7,500   13,500    3,500    6,500    8,083    48,500

100064212   023100602   *SHOPRITE PHARMACY #294              SPRINGFIELD      NJ   07081         CHAIN          AS6486965              200       100      100                        133       400

100109010   021174953   SCHROEDER DRUGS, INC.       CPA      OSAGE CITY       KS   66523     INDEPENDENT        AS6508482    8,000    6,000     3,500   17,500                      8,750    35,000

100062582   021001578   SCOTT COUNTY HOSPITAL                SCOTT CITY       KS   67871       HOSPITAL         AS6542624     200      200       300                        200      225       900

100054170   010044263   SOUTHWEST GENERAL HLTH CTR RX     MIDDLEBURG HEIGHT   OH   44130       HOSPITAL         AS6630532    1,200    2,900     1,800    1,800    4,110    1,640    2,242    13,450

100053037   012069450   SAN DIEGO CO,DPT OF HLTH SEV          SAN DIEGO       CA   92110        ALT SITE        AS6733869              200                                           200       200

100060192   056032334   STEPHEN RESES PHARMACY                 POMONA         NJ   08240     INDEPENDENT        AS6859295    4,000    6,000     3,000    2,200    2,000    3,300    3,417    20,500

100064334   052040212   SERVICE REXALL DRUGS, INC SF         MENDENHALL       MS   39114     INDEPENDENT        AS6870667   15,100   14,600    15,300   16,100   22,600   16,000   16,617    99,700

100087754   052173419   SERVICE REXALL DRUGS, INC 340B       MENDENHALL       MS   39114   PHS 340B HOSPITAL    AS6870667    6,800    8,700     6,400    6,200      -               5,620    28,100

100093828   044212316   SCOTT COUNTY MEM HOSP #712           SCOTTSBURG       IN   47170       HOSPITAL         AS7021126     500      300       500      900      200               480      2,400

100067199   044039792   MERCY HOSP - WASHINGTON              WASHINGTON       MO   63090       HOSPITAL         AS7071311    1,300    1,600     1,100     600     1,180    1,480    1,210     7,260

100090019   032143206   KETCHIKAN GENERAL HOSPITAL           KETCHIKAN        AK   99901       HOSPITAL         AS7105124     700      600       400      900      500     1,000     683      4,100

100057503   037086710   SANDER PHARMACY / GNP $ CPA           WESLACO         TX   78596     INDEPENDENT        AS7153341    3,100   13,300    12,000   13,900   12,600   11,000   10,983    65,900

100063939   023100339   *SHOPRITE PHARMACY #205              LITTLE FALLS     NJ   07424         CHAIN          AS7170020     600      300       400      300                        400      1,600

100065456   024113985   CSU NORTHRIDGE                       NORTHRIDGE       CA   91330        ALT SITE        AS7217880     100                600      600                        433      1,300

100061248   044064881   SNIDER DRUGS, INC      APSC          BLOOMFIELD       KY   40008     INDEPENDENT        AS7233795    3,500                                                  3,500     3,500

100063669   023100255   *SHOPRITE PHARMACY #163                CLARK          NJ   07066         CHAIN          AS7277836              100       300      500                        300       900

100066152   019143487   STREATOR DRUGS          CPA           STREATOR        IL   61364     INDEPENDENT        AS7376076   24,500   16,000    21,500   14,700   15,600   20,100   18,733   112,400

100053218   012053207   SADDLEBACK MEDICAL ARTS PHCY        LAGUNA HILLS      CA   92653     INDEPENDENT        AS7459921    5,000    4,300     6,000    5,100    9,700     100     5,033    30,200

100090293   010224915   ST RITA'S MED CENTER MAIN               LIMA          OH   45801       HOSPITAL         AS7471852    2,900    4,700     4,100    5,100    5,840    2,200    4,140    24,840

100076147   055045609   *SUTTONS DRUG STORE INC.(GNP)        CHAPEL HILL      NC   27514     INDEPENDENT        AS7503508     700                                                    700       700

100090491   032144345   SOUTH PENINSULA HOSPITAL               HOMER          AK   99603       HOSPITAL         AS7597238     400     1,300      500      500     1,200     800      783      4,700

100067350   019143479   SHERMAN'S PHARMACY        CPA         BRIMFIELD       IL   61517     INDEPENDENT        AS7647728    4,600    5,600     6,000    8,500    6,000    3,000    5,617    33,700

100090163   018050336   STRICKLAND DRUGS CPA                   BLANCO         TX   78606     INDEPENDENT        AS7781570    7,700    7,500     7,600    6,240   12,300             8,268    41,340

100064214   023100628   *SHOPRITE PHARMACY #296             WEST ORANGE       NJ   07052         CHAIN          AS7808061     200      (100)              100                         67       200

100065026   021052860   SATANTA HOSP RETAIL PHCY              SATANTA         KS   67870     INDEPENDENT        AS7909419    5,100    6,000     4,700    6,100    5,200    4,600    5,283    31,700

100061201   044080127   SIMON'S PROSPECT APOTHECARY           PROSPECT        KY   40059     INDEPENDENT        AS7984924    1,500    1,500               500     2,500             1,500     6,000

100056328   018066894   TX STATE UNIVERSITY SAN MARCOS       SAN MARCOS       TX   78666        ALT SITE        AS8240816                        100     1,300             1,100     833      2,500

100109665   010237958   ST ELIZABETH MED CTR                 EDGEWOOD         KY   41017       HOSPITAL         AS8269169                       1,650    6,700    1,700    2,500    3,138    12,550

100057850   032018705   SEMPERT DRUG STORE GNP              MYRTLE POINT      OR   97458     INDEPENDENT        AS8354362   19,200   23,000    22,900   23,700   25,800   18,600   22,200   133,200

100076995   055019240   SUNSET PHARMACY                    WEST COLUMBIA      SC   29169     INDEPENDENT        AS8406123    1,000                                 200               600      1,200

100063940   023100354   *SHOPRITE PHARMACY #207            WEST CALDWELL      NJ   07006         CHAIN          AS8502862     100                                                    100       100

100065016   049067454   SHAFFER PHARMACY, INC     APSC         TOLEDO         OH   43623     INDEPENDENT        AS8550243    9,400    8,100     9,160    9,400    6,440    6,000    8,083    48,500
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100064045   023100057   *SHOPRITE PHARMACY #111                    NUTLEY         NJ   07110        CHAIN          AS8644470              100       (100)                                 -            -

100056816   021036616   STUDENT HEALTH CTR PHARMACY                 AMES          IA   50011       ALT SITE        AS8689107     100      100       500       700      700      400      417         2,500

100071451   044140368   SOUTHERN HILLS HOSP PHCY #712            NASHVILLE        TN   37211       HOSPITAL        AS8876178    1,500    1,550     1,900     2,700     500      700     1,475        8,850

100059693   010099028   STULTZ PHARMACY INC       APSC            GREENUP         KY   41144     INDEPENDENT       AS8923559   15,500   15,200    21,100    21,600   16,800   11,800   17,000      102,000

100091421   010225938   STULTZ PHARMACY INC 340B                  GREENUP         KY   41144   PHS 340B HOSPITAL   AS8923559    4,500    5,000     1,400     1,000                      2,975       11,900

100085633   040103549   U SAVE IT PHCY, INC #1 340B                ALBANY         GA   31701    PHS 340B CLINIC    AS8936087              200                                            200          200

100054169   010044248   SCARBROUGH PHARMACY            APSC       DESHLER         OH   43516     INDEPENDENT       AS8958134    4,100    4,100     4,600     3,200    3,200    3,200    3,733       22,400

100062938   052051151   AUBURN UNIV VET TEACH HOSP PHR            AUBURN          AL   36849       ALT SITE        AS8964050     200      200      1,200                                 533         1,600

100056477   010061705   SCHWIETERMAN'S DRUG STORE CPA            COLDWATER        OH   45828     INDEPENDENT       AS9089776    8,500    7,100     9,200     4,200   17,200    9,000    9,200       55,200

100056466   010055319   SCHWIETERMAN'S DRG.STR         CPA       COLDWATER        OH   45828     INDEPENDENT       AS9089776    2,300     200     (1,000)    2,200     100               760         3,800

100060226   044064048   STOVALL'S PRESCRIPTION SHOP             SCOTTSVILLE       KY   42164     INDEPENDENT       AS9090034   31,000   34,000    26,000    28,500   43,800   28,000   31,883      191,300

100071899   046140624   CENTRAL FLORIDA REG HOSP #712             SANFORD         FL   32771       HOSPITAL        AS9180150    1,300    1,700     2,100     2,000    2,040    1,800    1,823       10,940

100058820   049017921   SIXTH STREET DRUG INC     SF           TRAVERSE CITY      MI   49684     INDEPENDENT       AS9192826   23,100   28,600    20,700    27,600   27,100   22,800   24,983      149,900

100056024   032065334   SEA-MAR COMM HEALTH CTR                   SEATTLE         WA   98108    PHS 340B CLINIC    AS9232389     500      500       600       500     1,000              620         3,100

100064733   018011791   SMITH DRUG           SF                    GENTRY         AR   72734     INDEPENDENT       AS9242695    9,900   13,100    17,400    14,800    7,000    9,700   11,983       71,900

100058329   044049445   SOUTHERN DISC DRUGS OF RX SF            CHARLESTON        MS   38921     INDEPENDENT       AS9572531    3,500    8,000     6,500     6,300    8,000    5,500    6,300       37,800

100064208   023100537   *SHOPRITE PHARMACY #281                 SUCCASUNNA        NJ   07876        CHAIN          AS9584485     200      100        -                                   100          300

100096762   010233577   SOUTHERN OHIO MEDICAL CTR WAC           PORTSMOUTH        OH   45662   PHS 340B HOSPITAL   AS9612234     600      900      1,800      300     7,300    2,900    2,300       13,800

100052286   010040717   SOUTHERN OHIO MEDICAL CENTER            PORTSMOUTH        OH   45662       HOSPITAL        AS9612234    2,100    2,500      900      2,800              800     1,820        9,100

100058969   010006189   SOUTHERN OHIO MEDICAL CTR 340B          PORTSMOUTH        OH   45662   PHS 340B HOSPITAL   AS9612234     500      600      1,000      500              1,400     800         4,000

100060181   010100495   SUTTON PHARMACY, INC      APSC           LANCASTER        KY   40444     INDEPENDENT       AS9702538   15,600   18,500    25,600    14,000   21,500   12,000   17,867      107,200

100063942   023100370   *SHOPRITE PHARMACY #213                   NEWTON          NJ   07860        CHAIN          AS9806728     300      200       200       900                        400         1,600

100066977   046036004   MEASE HOSP PHCY                           DUNEDIN         FL   34698       HOSPITAL        AT0173877     800      600       800      1,000    1,700     700      933         5,600

100107960   046059667   PRESCRIPTION SHOP OFSTUART CPA             STUART         FL   34994     INDEPENDENT       AT0205167    3,500    1,300     2,600     1,300    2,300    1,200    2,033       12,200

100057064   044067470   TURNAGE DRUG STORE            SF        WATER VALLEY      MS   38965     INDEPENDENT       AT0231516    1,100     900                 100     3,500    1,500    1,420        7,100

100054085   012037341   TORRANCE MEMORIAL MED CTR IP             TORRANCE         CA   90505       HOSPITAL        AT0318471    4,000    4,200     4,100     4,200    4,380    5,420    4,383       26,300

100092492   052214494   ERLANGER MEDICAL CTR BEH WAC            CHATTANOOGA       TN   37403       HOSPITAL        AT0388199              200                2,200    8,600   10,500    5,375       21,500

100065143   052059329   ERLANGER MED CTR HOSP BEH GPO           CHATTANOOGA       TN   37403       HOSPITAL        AT0388199    4,400    4,500     5,100     3,100             1,000    3,620       18,100

100068072   052147520   ERLANGER MEDCEN HOSP BEH 340B           CHATTANOOGA       TN   37403   PHS 340B HOSPITAL   AT0388199     600      400       700       500                        550         2,200

100062975   052050609   THE EYE FOUNDATION HOSP                 BIRMINGHAM        AL   35233       HOSPITAL        AT0469622              200       200       100      260      200      192          960

100085649   004069583   OLEAN GENERAL HOSPITAL                     OLEAN          NY   14760       HOSPITAL        AT0532033    1,500    1,300      800      1,300     880     1,600    1,230        7,380

100109354   004103432   OLEAN GENERAL HOSPITAL 340B                OLEAN          NY   14760       HOSPITAL        AT0532033              300       400       300                        333         1,000

100096554   023147421   JAMAICA HOSPITAL (WAC)                    JAMAICA         NY   11418       HOSPITAL        AT0798061              700                                            700          700

100059463   023014522   JAMAICA HOSPITAL                          JAMAICA         NY   11418       HOSPITAL        AT0798061                                                     80           80           80

100056250   032079392   WINSLOW DRUG GNP NWPS                 BAINBRIDGE ISLAND   WA   98110     INDEPENDENT       AT0990944    1,700    3,800     1,800     6,100    5,700    5,200    4,050       24,300

100058067   044046748   TOWN PHARMACY INC                        BLOOMFIELD       MO   63825     INDEPENDENT       AT1080251   10,000   12,500     8,000    13,000    7,000    6,000    9,417       56,500

100067103   040063776   MEADOWS REGIONAL MEDICAL CTR               VIDALIA        GA   30474       HOSPITAL        AT1166986     400      650       700       500      280      700      538         3,230

100063981   040067496   MEADOWS REGIONAL MED CTR-340B              VIDALIA        GA   30474   PHS 340B HOSPITAL   AT1166986     400      250       200       200      100      100      208         1,250

100094251   040114975   MEADOWS REG MED CTR WAC                    VIDALIA        GA   30474       HOSPITAL        AT1166986                                            80      300      190          380

100089260   040113746   MEADOWS REG MED CTR 340B                   VIDALIA        GA   30474   PHS 340B HOSPITAL   AT1166986                                           100               100          100

100056357   040040451   THE MEDICAL CENTER DSH110064             COLUMBUS         GA   31901   PHS 340B HOSPITAL   AT1179678    7,400     (800)                                         3,300        6,600

100056255   040040501   MEDICAL CENTER GPO ATTN PHCY             COLUMBUS         GA   31901       HOSPITAL        AT1179678    1,200    1,950     1,200     1,550     100              1,200        6,000

100056254   040040493   MEDICAL CENTER        (PHS)              COLUMBUS         GA   31901   PHS 340B HOSPITAL   AT1179678     900      750       700       950      200      480      663         3,980

100092972   040114652   MEDICAL CENTER (WAC)                     COLUMBUS         GA   31901       HOSPITAL        AT1179678              350       150               2,740     680      980         3,920
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100056253   040040469   MEDICAL CENTER GPO NURSING HME      COLUMBUS       GA   31901       HOSPITAL        AT1179678     200                                                   200       200

100055420   040041392   *TIFT, REGIONAL MEDICAL CENTER       TIFTON        GA   31794   PHS 340B HOSPITAL   AT1184833    6,000    6,100    5,900    4,000    5,100     400     4,583    27,500

100056093   040040378   *TIFT, REGIONAL MEDICAL CENTER       TIFTON        GA   31794       HOSPITAL        AT1184833    3,100    3,600    3,100    3,000    3,200             3,200    16,000

100055425   040048041   *TIFT REGIONAL MED CTR PHS           TIFTON        GA   31794   PHS 340B HOSPITAL   AT1184833                       500      500                        500      1,000

100092749   040114637   HUTCHESON MED CTR ERLANGER WAC   FORT OGLETHORPE   GA   30742       HOSPITAL        AT1185227    2,500    1,900    3,600    1,200    3,580     700     2,247    13,480

100091960   040114462   HUTCHESON MEDICAL CTR, INC       FORT OGLETHORPE   GA   30742       HOSPITAL        AT1185227     700      700      100      100      830      800      538      3,230

100092747   040114629   HUTCHESON MED CTR ERLANGR 340B   FORT OGLETHORPE   GA   30742       HOSPITAL        AT1185227     100      150      250      200       50               150       750

100092747   040114629   HUTCHESON MED CTR ERLANGR 340B   FORT OGLETHORPE   GA   30742   PHS 340B HOSPITAL   AT1185227                                         100      180      140       280

100059084   044043380   THE LETASSY PHARMACY CPA          POPLAR BLUFF     MO   63901     INDEPENDENT       AT1192602   11,000    7,000    9,000   14,200    8,500    6,500    9,367    56,200

100062320   021001354   TREGO COUNTY                        WAKEENEY       KS   67672       HOSPITAL        AT1278135     400      400      400      400      370      160      355      2,130

100059349   041069013   TSCHIFFELY INTERN-CONN.AVE B17     WASHINGTON      DC   20036     INDEPENDENT       AT1361601     800               500      800      500     1,400     800      4,000

100053589   024055038   *TEMPLE COMM. HOSP PHCY            LOS ANGELES     CA   90004       HOSPITAL        AT1449164     300      100      100                                 167       500

100108869   044221226   TOMPKINSVILLE DRUG CO CPA         TOMPKINSVILLE    KY   42167     INDEPENDENT       AT1597422     200    19,000   11,100    7,000   16,000   10,500   10,633    63,800

100101263   032148106   TUALITY COMM HOSP & PHAR            HILLSBORO      OR   97123       HOSPITAL        AT1600750    1,000    1,000     200     1,200    3,500     700     1,267     7,600

100101266   032148122   TUALITY HEALTHCARE 340B             HILLSBORO      OR   97123   PHS 340B HOSPITAL   AT1600750    1,200     200     1,800                               1,067     3,200

100094295   020159657   TMC HEALTH CARE IP                   TUCSON        AZ   85712       HOSPITAL        AT1652545    2,200    3,200    2,800    2,500    4,160    2,800    2,943    17,660

100076238   023111245   NASON HOSPITAL ASSN(X)           ROARING SPRING    PA   16673       HOSPITAL        AT1685936    1,000    1,100    1,200    2,300     300     1,000    1,150     6,900

100051791   010048298   TITUSVILLE AREA HOSPITAL            TITUSVILLE     PA   16354       HOSPITAL        AT1695076     300      400      300      600      360      560      420      2,520

100084549   010196048   TITUSVILLE AREA HOSPITAL 340B       TITUSVILLE     PA   16354   PHS 340B HOSPITAL   AT1695076     200               100      100                        133       400

100051875   008044487   TWAIN HARTE PHARMACY INC           TWAIN HARTE     CA   95383     INDEPENDENT       AT1848615   18,400   20,800   19,800   25,700   26,500   11,540   20,457   122,740

100054673   012061705   TUSTIN COMM PHARMACY       PRO       TUSTIN        CA   92780     INDEPENDENT       AT2052847    2,400    4,000    1,900    5,300    2,700     800     2,850    17,100

100091226   018114744   NORTHEASTERN HLTH SYS 340B WAC     TAHLEQUAH       OK   74464       HOSPITAL        AT2141668    1,500    1,750    1,350     800     2,080    1,000    1,413     8,480

100066061   018068031   NORTHEASTERN HEALTH SYSTEM         TAHLEQUAH       OK   74464       HOSPITAL        AT2141668     350      250      500      450               500      410      2,050

100084970   018101667   NORTHEASTERN HEALTH SYS 340B       TAHLEQUAH       OK   74464   PHS 340B HOSPITAL   AT2141668               50      100      100               300      138       550

100052549   010053900   EAST HILLS FAMILY PHARMACY         JOHNSTOWN       PA   15904     INDEPENDENT       AT2277437     200               200      200                        200       600

100096332   010233320   ADAMS COUNTY REG MED CTR             SEAMAN        OH   45679       HOSPITAL        AT2282084              200      200      400               200      250      1,000

100068206   010175760   LAKEWOOD HOSPITAL                   LAKEWOOD       OH   44107       HOSPITAL        AT2289420    1,500    1,300    1,700    1,700    2,000    1,820    1,670    10,020

100108738   010237446   LAKEWOOD HOSPITAL OP PHCY           LAKEWOOD       OH   44107       HOSPITAL        AT2289420              400      500     1,000              500      600      2,400

100096339   055037168   THE PRESCRIPTION SHOPPE CPA        ORANGEBURG      SC   29115     INDEPENDENT       AT2362212    3,300    2,000    3,200    3,100    3,600    1,700    2,817    16,900

100072176   055072736   COMMWELL HLTH OF NEWTON GROVE         DUNN         NC   28334    PHS 340B CLINIC    AT2399803    1,200    1,800    1,800    1,200                      1,500     6,000

100076298   055047605   THORNE DISCOUNT DRUG                TARBORO        NC   27886     INDEPENDENT       AT2400048    8,500    9,800   10,800    9,200   11,700    8,330    9,722    58,330

100053939   037082412   LANINGHAM'S THRIFTY WAY/GNP       LAKE CHARLES     LA   70605     INDEPENDENT       AT2439304    1,020     320     1,500    5,500    2,000             2,068    10,340

100057260   056015552   READING HOSPITAL BETHLEHEM        WEST READING     PA   19611       HOSPITAL        AT2452908    1,200    2,000    2,000    2,600    1,120    1,700    1,770    10,620

100072575   046140426   AMBULATORY SURGERY CENTER #712       TAMPA         FL   33613       HOSPITAL        AT2453594      50                                                    50        50

100053885   041010637   MECHANICSVILLE DRUG STORE        MECHANICSVILLE    VA   23111     INDEPENDENT       AT2498055              200                                          200       200

100064809   019003434   TOSA PHCY            SF            MILWAUKEE       WI   53222     INDEPENDENT       AT2520408    2,600    5,300    2,300    8,700    1,000    8,300    4,700    28,200

100106102   037134353   TIMBERLAND MC PHARMACY CPA           LUFKIN        TX   75901     INDEPENDENT       AT2556150   12,800   20,000   31,200   14,100   17,100   17,200   18,733   112,400

100054089   012037861   TORRANCE MEMORIAL HOSPITAL, ME      TORRANCE       CA   90505       HOSPITAL        AT2664173   13,500   12,600   14,600   13,700    9,200    8,900   12,083    72,500

100054823   012071720   ZWEBER APOTHECARY #3       CPA       DOWNEY        CA   90241     INDEPENDENT       AT2665377    3,400    1,500    2,100    3,600    1,200    1,300    2,183    13,100

100054822   012071704   ZWEBER APOTHECARY #1       CPA       DOWNEY        CA   90241     INDEPENDENT       AT2665389   11,900   14,900   12,700   16,200   24,600    5,800   14,350    86,100

100052275   010040477   THE EYE & EAR CLINIC, CHARLEST     CHARLESTON      WV   25301       HOSPITAL        AT2747561     300                        200      160      160      205       820

100064813   049073700   MEMORIAL HOSPITAL                   OWOSSO         MI   48867       HOSPITAL        AT2756091    1,500    2,250    1,700    2,750    1,000    1,740    1,823    10,940

100074683   038101485   THE APOTHECARY CU WARDENBURG        BOULDER        CO   80309       ALT SITE        AT2801682     600      400      300     1,000    1,300     900      750      4,500

100090245   010224535   SPRINGFIELD REG MED CTR            SPRINGFIELD     OH   45504       HOSPITAL        AT2827838    3,800    4,100    3,600    5,000    5,360    2,600    4,077    24,460
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100053923   010046961   TRIPLITT DRUG CORP       APSC        COSHOCTON       OH   43812     INDEPENDENT       AT2833817    6,000    6,100    6,700    6,500    6,600    6,000    6,317    37,900

100054672   012061606   TOWN SQUARE PHARMACY                    INDIO        CA   92201     INDEPENDENT       AT2866347     200              1,800    4,200   11,500   15,000    6,540    32,700

100062139   046090803   MEASE HOSPITAL COUNTRYSIDE          SAFETY HARBOR    FL   34695       HOSPITAL        AT2871209    2,300    2,300    3,000    2,400    3,700    4,500    3,033    18,200

100052099   010042218   SAMARITAN HOSPITAL MAIN PHCY           ASHLAND       OH   44805       HOSPITAL        AT2875562     400      500      700      700      800      300      567      3,400

100052098   010042192   MEDCENTRAL HEALTH SYSTEM              MANSFIELD      OH   44903       HOSPITAL        AT2875702    2,600    2,800    2,900    3,200    2,700    2,600    2,800    16,800

100072254   018143685   THE MEDICINE PLACE INC      CPA      SWEETWATER      TX   79556     INDEPENDENT       AT2896249   17,000   18,000   16,500   19,500   14,400   10,500   15,983    95,900

100052082   010042713   GEAUGA HOSPITAL ASSOCIATION            CHARDON       OH   44024       HOSPITAL        AT2920747    1,000    1,000    3,000                       500     1,375     5,500

100086614   017088757   MIKE'S PHARMACY CPA                  IDAHO FALLS     ID   83401     INDEPENDENT       AT2945775    7,000    9,000    8,000    7,500   14,200    2,000    7,950    47,700

100064660   052042770   TURNER DRUGS                          D'IBERVILLE    MS   39540     INDEPENDENT       AT2995150     800     1,500    1,800    3,000    2,260             1,872     9,360

100061273   044085142   TAYLOR REGIONAL HOSPITAL            CAMPBELLSVILLE   KY   42718       HOSPITAL        AT3026716     100      300      230      300      440      900      378      2,270

100061281   044086488   TAYLOR REGIONAL HOSPITA 340B        CAMPBELLSVILLE   KY   42718   PHS 340B HOSPITAL   AT3026716     900      700      200      200      100               420      2,100

100104546   044219691   TAYLOR REGIONAL HOSPITAL WAC        CAMPBELLSVILLE   KY   42718   PHS 340B HOSPITAL   AT3026716              100      430      300      660               373      1,490

100072255   018143693   THE MEDICINE PLACE       CPA        COLORADO CITY    TX   79512     INDEPENDENT       AT3031349    6,500    7,200    8,100   10,100    8,600    8,200    8,117    48,700

100071308   023143180   COLONIAL PHARMACY(Z)        CPA        CLIFTON       NJ   07013     INDEPENDENT       AT3178286    3,160    4,960    3,060    2,160    2,100    2,320    2,960    17,760

100075026   055042788   TRANSYLVANIA REGIONAL HOSPITAL         BREVARD       NC   28712       HOSPITAL        AT3181435     300      500      600               520      320      448      2,240

100083434   055021253   TRANSYLVANIA REG HOSP(340B)            BREVARD       NC   28712   PHS 340B HOSPITAL   AT3181435              300      400      400               500      400      1,600

100077032   055020024   TAR HEEL DRUG, INC.                    GRAHAM        NC   27253     INDEPENDENT       AT3196688    8,400    5,400    6,300    7,720    5,600    5,000    6,403    38,420

100056771   056012476   ROBERT T HENRY PHCY-Y PBI-GNP       SHIPPENSBURG     PA   17257     INDEPENDENT       AT3198961    1,200     700      500     1,100    1,500    1,600    1,100     6,600

100070570   004140046   PARKLAND MEDICAL CENTER #712            DERRY        NH   03038       HOSPITAL        AT3305148              300      500      100      600      480      396      1,980

100064032   018066696   HARMON MEMORIAL HOSP                    HOLLIS       OK   73550       HOSPITAL        AT3353795              200      100               200               167       500

100066275   052054577   BRANDON DISC DRUGS INC        SF       BRANDON       MS   39042     INDEPENDENT       AT3465425   49,100   58,600   42,780   39,500   42,100   29,200   43,547   261,280

100062183   025004325   LAKEWOOD HEALTH CENTER                BAUDETTE       MN   56623       HOSPITAL        AT3599618     100               100                80      180      115       460

100071390   019159608   PRESBYTERIAN HOME PH                  EVANSTON       IL   60201   LONG TERM CARE      AT3881718    5,500    7,000    5,000    6,600    4,000    2,500    5,100    30,600

100087588   019150425   TRI COUNTY MEM HOSP PHCY 340B         WHITEHALL      WI   54773       HOSPITAL        AT3910379     300               400      100                        267       800

100087586   019150417   TRI COUNTY MEMORIAL HOSP PHCY         WHITEHALL      WI   54773       HOSPITAL        AT3910379                                                  200      200       200

100072706   019058016   THEDA CLARK REG MED CTR                NEENAH        WI   54956       HOSPITAL        AT3929784    1,700    2,300    3,000    2,300    1,000    1,620    1,987    11,920

100067366   021006098   TAYLOR PHARMACY          SF            CLARINDA      IA   51632     INDEPENDENT       AT4018900    3,700    5,500    3,900    3,300    3,400    3,100    3,817    22,900

100057456   019044503   RIVERSIDE MEDICAL CENTER              WAUPACA        WI   54981       HOSPITAL        AT4050922     400      200      400      500     1,080     400      497      2,980

100090894   019157891   RIVERSIDE MEDICAL CTR 340B            WAUPACA        WI   54981       HOSPITAL        AT4050922                       300      200                        250       500

100074224   019056853   AMC MANITOWOC (I/P)                  TWO RIVERS      WI   54241       HOSPITAL        AT4269569    1,000    1,200     900      900     2,540     200     1,123     6,740

100089155   041144006   TWIN COUNTY REGIONAL HOSP #712          GALAX        VA   24333       HOSPITAL        AT5419305             1,100     500     1,500     800               975      3,900

100051899   008047183   TROPICANA DRUGS II    S5 2             SAN JOSE      CA   95122     INDEPENDENT       AT5478614     200      500     1,300     500      500     7,600    1,767    10,600

100051251   008012906   TROPICANA DRUGS (DANNEY'S)V0UB         SAN JOSE      CA   95122     INDEPENDENT       AT5478614                                500     1,500             1,000     2,000

100068250   040144048   TEMPLE PHARMACY INC         CPA        TEMPLE        GA   30179     INDEPENDENT       AT6032899    7,000    8,500    4,000    9,000    5,900    5,000    6,567    39,400

100083470   018180653   MEDICAL PLAZA PHARMACY                LONGVIEW       TX   75601     INDEPENDENT       AT6644846   39,300   48,900   36,200   30,600   55,000   39,400   41,567   249,400

100090975   018238204   MEDICAL PLAZA PHARMACY-MHA LTC        LONGVIEW       TX   75601   LONG TERM CARE      AT6644846    2,800    7,500    2,800    5,500                      4,650    18,600

100105031   040120634   THOMAS DRUGS          CPA              AUSTELL       GA   30168     INDEPENDENT       AT6758760   18,400   21,600   17,600   18,400   18,600   15,100   18,283   109,700

100056863   044064758   ART JACOB PRESCRIPTION SHOPPE         LOUISVILLE     KY   40207     INDEPENDENT       AT6990964     200      200      100      200               480      236      1,180

100062081   021002386   LEXINGTON REGIONAL HEALTH CTR         LEXINGTON      NE   68850       HOSPITAL        AT7027863     100      600      400      300                        350      1,400

100057135   040070078   THE PRESBYTERIAN HOME INC PHCY         QUITMAN       GA   31643   LONG TERM CARE      AT7699018    5,000    3,000    3,000   18,000                      7,250    29,000

100055101   010045625   THE OAK APOTHECARY                    CINCINNATI     OH   45206     INDEPENDENT       AT7740702    1,500     900     1,300    6,200    2,800    4,500    2,867    17,200

100067135   049042754   THE GRUND DRUG CO APSC                 FREMONT       OH   43420     INDEPENDENT       AT7948055    2,000    4,600    4,500    3,000    4,600    4,000    3,783    22,700

100062725   018068049   TAHLEQUAH MED CTR PHCY         SF     TAHLEQUAH      OK   74464     INDEPENDENT       AT7951317   33,900   39,900   40,700   45,000   38,400   28,200   37,683   226,100

100068252   040144063   THRIFTY MAC DISCOUNT DRUG CPA          MADISON       GA   30650     INDEPENDENT       AT7966522    8,100    8,500    7,500   10,000   12,000    4,500    8,433    50,600
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100053507   026076109   TRIPLER ARMY - MATERIEL BRANCH       HONOLULU       HI   96859   HOSPITAL (FEDERAL)   AT8274184                       100       200                        150       300

100057084   019048280   THE PHARMACY - TAYLORVILLE IL       TAYLORVILLE     IL   62568     INDEPENDENT        AT8441090    5,000    6,000    5,000     2,400    8,000    2,000    4,733    28,400

100058914   044042903   TOM'S FAMILY PHARMACY       APSC    HOPKINSVILLE    KY   42240     INDEPENDENT        AT8488795   13,100   14,700   13,500    14,700   18,200    2,000   12,700    76,200

100073461   037113423   THE MUECKE PRESCRIPTION SHOPPE        BAY CITY      TX   77414     INDEPENDENT        AT8533069   22,320   18,700   23,000    23,000   33,700    8,900   21,603   129,620

100056503   046005348   TRU-VALU DRUGS OF SANFORD, INC        SANFORD       FL   32771     INDEPENDENT        AT8818467    4,300    2,300     (500)    4,000   12,300    5,500    4,650    27,900

100071755   023143446   THEJUS CORPORATION(X)       CPA      BROOKLYN       NY   11208     INDEPENDENT        AT8973984     100      100      100       100               200      120       600

100067334   021003152   WEAVER PHCY           SF              GENEVA        NE   68361     INDEPENDENT        AT9058769    9,500    8,600   11,100     9,200    8,700   10,500    9,600    57,600

100070458   037143263   TAFT PHARMACY         CPA               TAFT        TX   78390     INDEPENDENT        AT9104489   12,000   12,500   10,500    11,500    9,100    5,500   10,183    61,100

100061057   023014167   *TOWNVILLE PHARMACY                    MUNCY        PA   17756     INDEPENDENT        AT9658608                                 500                        500       500

100066517   021009951   CORNER PHARMACY-GNP CPA             LEAVENWORTH     KS   66048     INDEPENDENT        AT9743902   12,000   11,000    9,300    10,000   11,000   19,900   12,200    73,200

100053576   024065508   UNIV OF SOUTH CALIF PHARMACY        LOS ANGELES     CA   90089     INDEPENDENT        AU1031981     400      900      600       500      600      800      633      3,800

100083571   024105080   USC PHARMACY 340B                   LOS ANGELES     CA   90089   PHS 340B HOSPITAL    AU1031981     100               200                                  150       300

100058008   041073940   436TH MEDICAL GROUP-SGL (DOD)        DOVER AFB      DE   19902   HOSPITAL (FEDERAL)   AU1263932    5,700    3,700    2,700     7,500    3,800    3,000    4,400    26,400

100096531   010233486   UNIONTOWN HOSPITAL WAC               UNIONTOWN      PA   15401   PHS 340B HOSPITAL    AU1677535    2,100    4,700    1,500     2,600    3,400    3,100    2,900    17,400

100054056   010000794   UNIONTOWN HOSPITAL                   UNIONTOWN      PA   15401       HOSPITAL         AU1677535     200      300      100      1,100     300     1,960     660      3,960

100054058   010000802   UNIONTOWN HOSPITAL 340B              UNIONTOWN      PA   15401   PHS 340B HOSPITAL    AU1677535              100     1,100      500               160      465      1,860

100073593   044100313   WALTER'S PHARMACY APSC                MURRAY        KY   42071     INDEPENDENT        AU2120828   37,600   41,700   47,100    36,600   44,500   40,220   41,287   247,720

100053953   041010728   MERCURY WEST PHCY (EPIC) 57A          HAMPTON       VA   23666     INDEPENDENT        AU2241711    6,300    8,400    8,300     4,200    3,200    1,500    5,317    31,900

100075977   055047811   USAF CLIN CHARLESTON AFB (DOD)     CHARLESTON AFB   SC   29404   HOSPITAL (FEDERAL)   AU2249096    3,800    3,500    4,200     5,200    1,400    3,300    3,567    21,400

100099680   018397877   WALGREENS #15830        DSD          PINE BLUFF     AR   71601      WALGREENS         AU2529709    6,600    8,700    9,100    10,100   10,600    5,000    8,350    50,100

100057159   019040576   UNION HOSPITAL PHARMACY I/P         TERRE HAUTE     IN   47804       HOSPITAL         AU2644789    4,700    4,000    4,800     5,600    6,140    4,100    4,890    29,340

100056995   019049841   UNION HOSPITAL LOBBY PHARMACY       TERRE HAUTE     IN   47804       HOSPITAL         AU2644789    2,200    3,400    2,800     2,900    2,800    2,000    2,683    16,100

100090961   019157925   UNION HOSPITAL PHCY 340B            TERRE HAUTE     IN   47804       HOSPITAL         AU2644789    1,600    1,700    1,900     1,400     100              1,340     6,700

100090961   019157925   UNION HOSPITAL PHCY 340B            TERRE HAUTE     IN   47804    PHS 340B CLINIC     AU2644789                                          900     1,900    1,400     2,800

100086465   019145953   UNION HOSPITAL PHCY 340B            TERRE HAUTE     IN   47804    PHS 340B CLINIC     AU2644789     400      400      500       200                        375      1,500

100058718   041062612   (CRD)USCG PORTSMOUTH (62604)        PORTSMOUTH      VA   23703   HOSPITAL (FEDERAL)   AU2660086     600              1,600                                1,100     2,200

100104097   010234872   UH OF CLEVELAND-MAIN VLT L WAC       CLEVELAND      OH   44106       HOSPITAL         AU2866626                       400                                  400       400

100052642   010054437   UPPER LEVISA CLINIC PHARMACY I      MOUTHCARD       KY   41548     INDEPENDENT        AU2956071   13,700    7,600   18,600     6,700   13,200    7,600   11,233    67,400

100062671   046095182   USCG AIR STATION                    CLEARWATER      FL   33762   HOSPITAL (FEDERAL)   AU2957136                                 300                        300       300

100051210   018038968   MEDICAL LOGISTICS OFFICE-LRAFB      JACKSONVILLE    AR   72099   HOSPITAL (FEDERAL)   AU2966767   19,800   20,900   14,800     9,000   19,600    6,500   15,100    90,600

100109009   010237685   UPTOWN PHARMACY        CPA          WESTERVILLE     OH   43081     INDEPENDENT        AU3086116    4,400    2,800     900      1,400     500     2,400    2,067    12,400

100063316   025002865   UNITED HOSPITAL                      BLUE EARTH     MN   56013       HOSPITAL         AU3616820     300      100      200       300               100      200      1,000

100055255   019040105   UNION HEALTH SERVICE INC              CHICAGO       IL   60612      HEALTH PLAN       AU3855941    9,300    5,800    8,100     6,700    9,500    7,500    7,817    46,900

100064871   049041855   U OF M HEALTH SERVICE PHARMACY       ANN ARBOR      MI   48109        ALT SITE        AU4195790     200      800      400                600      800      560      2,800

100050807   052066605   USAF MED CTR-81ST-MAIN ACC #           BILOXI       MS   39534   HOSPITAL (FEDERAL)   AU4327676   22,600   30,200   27,700    18,900   16,000   15,600   21,833   131,000

100063000   052048454   UNIV OF ALABAMA HOSPITALS           BIRMINGHAM      AL   35249       HOSPITAL         AU4362062   16,600   16,700   11,000    10,900     800     8,100   10,683    64,100

100092010   052214114   UNIV OF ALABAMA HOSP II (WAC)       BIRMINGHAM      AL   35249       HOSPITAL         AU4362062     300     7,600    1,300      900     6,760    2,000    3,143    18,860

100092051   052214247   UAB HOSP RECEIVING (340B) II        BIRMINGHAM      AL   35249       HOSPITAL         AU4362062    1,600    1,900    1,500     1,300    1,480             1,556     7,780

100092051   052214247   UAB HOSP RECEIVING (340B) II        BIRMINGHAM      AL   35249   PHS 340B HOSPITAL    AU4362062                                                  1,640    1,640     1,640

100061581   052027623   COLUMBUS AFS HOSPITAL              COLUMBUS AFB     MS   39710   HOSPITAL (FEDERAL)   AU4579960    4,800    6,600    6,600     7,800    2,400    3,600    5,300    31,800

100059694   041018994   LANGLEY AFB 1ST MED GRP ACC         LANGLEY AFB     VA   23665   HOSPITAL (FEDERAL)   AU4675027   19,800   23,000   20,100    26,900   19,100   23,900   22,133   132,800

100063653   019038315   M/NORTHERN MI UNIV 086 MMCAP         MARQUETTE      MI   49855        ALT SITE        AU4719843    3,200    3,900    3,600     3,000    2,400    6,100    3,700    22,200

100071786   055047316   MONCRIEF ARMY HOSP         (DOD)    FORT JACKSON    SC   29207   HOSPITAL (FEDERAL)   AU5010260   23,400   18,400   23,100    29,600   18,000   18,400   21,817   130,900

100074143   055047282   363RD MEDICAL GROUP-MGAL (DOD)       SHAW AFB       SC   29152   HOSPITAL (FEDERAL)   AU5010385    9,900   14,900   14,100    17,500    7,800    9,700   12,317    73,900
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100076855   044089326   SCOTT USAF MEDICAL CENTER                SCOTT AFB      IL   62225   HOSPITAL (FEDERAL)   AU5181677   18,900   12,500   26,600    6,900   18,300       9,700   15,483    92,900

100053132   018086009   7TH MEDICAL GROUP/SGSL                   DYESS AFB      TX   79607   HOSPITAL (FEDERAL)   AU5209540   16,300   13,000   13,600   14,700   13,100       6,600   12,883    77,300

100064199   018064436   FORT SILL-DAPA (REYNOLDS HOSP)           FORT SILL      OK   73503   HOSPITAL (FEDERAL)   AU5233882                                                   15,600   15,600    15,600

100063251   046070128   AFSC REG HOSP EGLIN SGL                  EGLIN AFB      FL   32542   HOSPITAL (FEDERAL)   AU5320798   31,700   30,900   49,400   30,300   22,400      25,200   31,650   189,900

100063349   046072694   TYNDALL AFB FM 4819-MAIN A              TYNDALL AFB     FL   32403   HOSPITAL (FEDERAL)   AU5481952   18,300   17,300   16,100   17,000    3,600      10,800   13,850    83,100

100064205   018064550   ALTUS-DAPA (USAF HOSPITAL)                 ALTUS        OK   73523   HOSPITAL (FEDERAL)   AU5589847    7,000    5,400    4,500    5,500    3,000       7,000    5,400    32,400

100054894   017018051   UTAH STATE PRISON/DPT OF CORR             DRAPER        UT   84020        ALT SITE        AU5594014    3,000    2,000    2,400    1,800    2,300       2,400    2,317    13,900

100065532   046095315   MACDILL USAF HOSP MED SUPPLY            MACDILL AFB     FL   33621   HOSPITAL (FEDERAL)   AU5619842   17,500   22,500   23,400   61,500   32,700       5,700   27,217   163,300

100056821   021036970   UNIV OF NO IOWA HEALTH CTR              CEDAR FALLS     IA   50614        ALT SITE        AU5647093                                                     400      400       400

100091501   052208470   UNIV HEALTH SERV PHCY MMCAP             TUSCALOOSA      AL   35401       HOSPITAL         AU5730343                                200      200         300      233       700

100055062   004055616   (CRD) KAEHLER MEM MED CLINI               OTIS AFB      MA   02542   HOSPITAL (FEDERAL)   AU5763265                                400                           400       400

100051801   041074179   USCG HQS BRANCH CLINIC (DOD)            WASHINGTON      DC   20593   HOSPITAL (FEDERAL)   AU5919280                       300               100                  200       400

100073163   055090134   USAF HOSP MED SUPPLY OFFICER          SEYMOUR JOHNSON   NC   27531   HOSPITAL (FEDERAL)   AU5957557   16,800    4,100   13,200   24,000    6,000       8,400   12,083    72,500

100056372   018013250   GOODFELLOW AFB-17 MED SQDR/SGL        GOODFELLOW AFB    TX   76908   HOSPITAL (FEDERAL)   AU6006995   10,600    9,000    9,900   11,200    6,300       7,000    9,000    54,000

100052456   017090571   UTAH STATE UNIVERSITY                      LOGAN        UT   84322        ALT SITE        AU6520313                                100      100                  100       200

100063626   049092130   UNIV OF MI MED CTR/ACP OP 340B           ANN ARBOR      MI   48109   PHS 340B HOSPITAL    AU7007467    8,000   12,500    9,500    8,600    9,000       8,600    9,367    56,200

100100600   049194266   UNIV OF MICH MED CTR ACP WAC             ANN ARBOR      MI   48109   PHS 340B HOSPITAL    AU7007467    2,000    6,000    2,500    5,900   10,100      11,300    6,300    37,800

100100652   049194308   UNIV OF MI MED CTR WAC                   ANN ARBOR      MI   48109   PHS 340B HOSPITAL    AU7007467    4,100    1,000    1,400    5,900   12,180       9,980    5,760    34,560

100064872   049041921   UNIV OF MI MEDICAL CTR        RX         ANN ARBOR      MI   48109       HOSPITAL         AU7007467    5,700   10,400    7,300    7,300                         7,675    30,700

100063625   049092122   UNIV OF MI MED CTR/CGC OP 340B           ANN ARBOR      MI   48109   PHS 340B HOSPITAL    AU7007467    7,500    3,000    4,500    3,000    1,600       5,900    4,250    25,500

100100677   049194324   UNIV OF MI MED CTR/CGC OP WAC            ANN ARBOR      MI   48109   PHS 340B HOSPITAL    AU7007467     500     2,200    1,000    5,600    8,500       4,100    3,650    21,900

100063624   049092114   UNIV OF MI MED CTR       340B            ANN ARBOR      MI   48109   PHS 340B HOSPITAL    AU7007467    2,600    2,600    4,700    3,700                1,200    2,960    14,800

100090832   049188557   KELLOGG EYE CTR 340B                     ANN ARBOR      MI   48109   PHS 340B HOSPITAL    AU7007467    1,400    1,900    1,000                                  1,433     4,300

100101133   049194381   KELLOGG EYE CTR WAC                      ANN ARBOR      MI   48109   PHS 340B HOSPITAL    AU7007467    1,700     900                                            1,300     2,600

100058793   018068957   UNITED DISCOUNT DRUG                      GUYMON        OK   73942     INDEPENDENT        AU7276668     300               200     1,100    3,000       5,500    2,020    10,100

100050730   037073064   USCG INTEGRATED SUPPORT COMMAN          NEW ORLEANS     LA   70129   HOSPITAL (FEDERAL)   AU7312399              300               100       -                   133       400

100052237   017090373   UNIVERSITY PHARMACY      /G            SALT LAKE CITY   UT   84102     INDEPENDENT        AU7470658    6,600    5,200    5,300    2,000    6,000       1,500    4,433    26,600

100087730   004088138   UCONN STUDENT HEALTH SERVICES             STORRS        CT   06269        ALT SITE        AU7609944              100      800                                    450       900

100067277   052060418   U.T. VETERINARY MED TEACHING             KNOXVILLE      TN   37996      ALT CHANNEL       AU8909371     500      500               400                           467      1,400

100053755   056017640   UNIVERSITY OF PA SCHOOL OF VET          PHILADELPHIA    PA   19104      ALT CHANNEL       AU9370886     500      600     1,400     800      600        1,400     883      5,300

100061694   023035220   VERONA DRUG STORE INC.(IPBG)              VERONA        NJ   07044     INDEPENDENT        AV0668737     600      700      500      700     1,100                 720      3,600

100075953   018169243   VALVERDE REGIONAL MEDICAL CTR             DEL RIO       TX   78840       HOSPITAL         AV0862602     600     1,500     200     2,050                         1,088     4,350

100089186   018204370   VALVERDE REGIONAL MED CTR 340B            DEL RIO       TX   78840       HOSPITAL         AV0862602     500                        500                           500      1,000

100090473   032144295   VALLEY MEDICAL CENTER                     RENTON        WA   98055       HOSPITAL         AV0983521    1,100    1,000    1,600     100           80     260      690      4,140

100094301   032147728   VALLEY MEDICAL CENTER WAC                 RENTON        WA   98055       HOSPITAL         AV0983521              100              1,000    1,380       1,420     975      3,900

100090474   032144303   VALLEY MEDICAL CENTER 340B                RENTON        WA   98055   PHS 340B HOSPITAL    AV0983521     400      400      600      300                  240      388      1,940

100052739   024070342   VICTORY TAMPA MEDICAL PHARMACY            RESEDA        CA   91335     INDEPENDENT        AV1061960    9,000    9,700    3,300    4,500    4,000                6,100    30,500

100062478   021000174   STORMONT-VAIL REG. MEDICAL CTR            TOPEKA        KS   66604       HOSPITAL         AV1307897    3,100    2,400    2,200             2,200       2,980    2,576    12,880

100092822   021168385   STORMONT-VAIL REG MED CTR WAC             TOPEKA        KS   66604       HOSPITAL         AV1307897     100      400     1,500    4,700                         1,675     6,700

100085901   021158923   STORMONT-VAIL REG. MED 340B               TOPEKA        KS   66604   PHS 340B HOSPITAL    AV1307897              200                                             200       200

100083596   003005025   ROY L. SCHNEIDER HOSPITAL              SAINT THOMAS     VI   00802       HOSPITAL         AV1794684    1,000    2,000                      1,000                1,333     4,000

100065661   023019752   VIZZONI'S PHCY (IPBG)                     TRENTON       NJ   08610     INDEPENDENT        AV1928045    1,300    1,300    1,400    1,500     600         800     1,150     6,900

100051547   008066688   VERSAILLES PHCY.                          ALAMEDA       CA   94501     INDEPENDENT        AV1965017    5,100    5,800    5,800    6,100    4,300       5,800    5,483    32,900

100070679   018144592   VILLAGE PHARMACY OZARK          CPA        OZARK        AR   72949     INDEPENDENT        AV2073310   12,600   11,000    9,200   10,800   14,000      16,000   12,267    73,600
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100101324   008001826   VALLEY MEMORIAL HOSP PHCY         LIVERMORE      CA   94550       HOSPITAL        AV2085529     700      700     1,100      800     1,300     400      833       5,000

100058570   049026906   HURLEY MEDICAL CENTER PHCY/UHC       FLINT       MI   48503       HOSPITAL        AV2268844    8,900   12,100    6,800     6,300     300     1,220    5,937     35,620

100100682   049194332   HURLEY MED CTR PHCY WAC              FLINT       MI   48503   PHS 340B HOSPITAL   AV2268844                      3,400     3,600   11,820    2,800    5,405     21,620

100059852   049112227   HURLEY MED CTR PHCY/ IP 340B         FLINT       MI   48503   PHS 340B HOSPITAL   AV2268844     800       -       900       800              4,320    1,364      6,820

100058115   041063867   VIENNA DRUG CENTER (EPIC)(GNP)      VIENNA       VA   22180     INDEPENDENT       AV2358162    8,200    4,700    6,600     3,600    3,800    3,860    5,127     30,760

100076601   041108159   CENTRA OUTPATIENT PHARMACY        LYNCHBURG      VA   24503       HOSPITAL        AV2488763    6,500    8,100    8,000     8,300    6,200    6,400    7,250     43,500

100059058   041054874   VIRGINIA BAPTIST HOSPITAL PHCY    LYNCHBURG      VA   24503       HOSPITAL        AV2488763     700     1,100    1,100     1,400    1,300    1,400    1,167      7,000

100087481   041141119   VIRGINIA BAPTIST HOSPITAL 340B    LYNCHBURG      VA   24503   PHS 340B HOSPITAL   AV2488763     100      300      200       100                        175        700

100050873   004083808   VISEL PHARMACY       SF           NEW HAVEN      CT   06511     INDEPENDENT       AV2629953     800      800     1,000      700      900      900      850       5,100

100091461   010225979   VAN WERT COUNTY HOSPITAL           VAN WERT      OH   45891       HOSPITAL        AV2869507     750      550     1,600     2,600              100     1,120      5,600

100061317   023007088   V L V MED PHARMACY INC(X)          NEW YORK      NY   10032     INDEPENDENT       AV3039105              100      100                                  100        200

100053483   024063537   VERDUGO HILLS PROFESSIONAL PH      GLENDALE      CA   91208     INDEPENDENT       AV3118317    5,500    5,200    4,500     6,700    3,900    4,900    5,117     30,700

100065452   008030510   DEUEL VOCATIONAL INST, PROCMNT       TRACY       CA   95376       ALT SITE        AV3309831     100      400                                           250        500

100065938   008023853   CSU SAN FRANCISCO                SAN FRANCISCO   CA   94132       ALT SITE        AV3309982                       (500)                                (500)      (500)

100065464   008030577   SIERRA CONSERVATION CENTER        JAMESTOWN      CA   95327       ALT SITE        AV3310101      50                                   80                65        130

100063306   008023549   PORTERVILLE DEVEL CENTER          PORTERVILLE    CA   93257       HOSPITAL        AV3310454     400      200                                           300        600

100063305   008023531   SONOMA DEVELOPMENTAL CTR PHAR      ELDRIDGE      CA   95431       HOSPITAL        AV3310783    1,400    1,200    1,300     1,300    2,400     600     1,367      8,200

100063294   024165126   ATASCADERO STATE HOSPITAL         ATASCADERO     CA   93423       HOSPITAL        AV3311090    1,300    1,100    2,200     1,500     400      500     1,167      7,000

100063301   012113860   FAIRVIEW DEV CENTER PHAR          COSTA MESA     CA   92626       HOSPITAL        AV3311139                                          240               240        240

100062854   012165159   METROPOLITAN STATE HOSPITAL        NORWALK       CA   90650       HOSPITAL        AV3311204    1,000     600     2,400                       1,920    1,480      5,920

100062855   012165118   PATTON STATE HOSPITAL               PATTON       CA   92369       HOSPITAL        AV3311242     100               200       150     2,000              613       2,450

100090339   021088575   VALLEY COUNTY HOSPITAL                ORD        NE   68862       HOSPITAL        AV3983841                                 150      600      700      483       1,450

100090355   021167502   VALLEY COUNTY HOSPITAL 340B           ORD        NE   68862   PHS 340B HOSPITAL   AV3983841              100      300                                  200        400

100105816   012089797   VALLEY HOSPITAL MEDICAL CENTER     LAS VEGAS     NV   89106       HOSPITAL        AV4793041    1,200    1,400    1,600     2,100             3,060    1,872      9,360

100061468   040070144   VALLEY PHARMACY                     DILLARD      GA   30537     INDEPENDENT       AV4794562    7,100   12,500   11,100     6,700    8,900    5,300    8,600     51,600

100053310   024061614   USC VERDUGO HILLS HOSPITAL         GLENDALE      CA   91208       HOSPITAL        AV5357529    1,000    1,550    1,750     1,400    2,360    1,360    1,570      9,420

100066696   018060475   OZARK HEALTH HOSPITAL PHARM         CLINTON      AR   72031       HOSPITAL        AV5849407     200      500      100       100      560       80      257       1,540

100076300   055049304   VILLAGE PHCY OF ROBERSONV(GNP)   ROBERSONVILLE   NC   27871     INDEPENDENT       AV6052740    2,600    2,900    4,500     3,200    3,200    3,400    3,300     19,800

100066831   010178038   VALLEY DISCOUNT PHARMACY CPA       PIKEVILLE     KY   41501     INDEPENDENT       AV6795198   27,500   29,700   27,800    32,300   22,600   20,200   26,683    160,100

100074685   038101501   VET TEACHING HOSP, PHCY - CSU    FORT COLLINS    CO   80526       ALT SITE        AV7207649                                                   300      300        300

100051377   008034181   VISITACION VALLEY PHCY CPA       SAN FRANCISCO   CA   94134     INDEPENDENT       AV7273763    1,100    8,100    9,200     2,600   11,000    8,000    6,667     40,000

100070467   018144030   VALU-RITE PHARMACY        CPA     BRIDGEPORT     TX   76426     INDEPENDENT       AV8143656   20,600   14,000   19,800    13,400    9,000   11,000   14,633     87,800

100070444   023143818   VALLEY PHCY INC(CLIFTON)(Z)CPA      CLIFTON      NJ   07013     INDEPENDENT       AV8232011     800      700      600       600     1,400     200      717       4,300

100063246   046094714   WINTER HAVEN HOSPITAL INC        WINTER HAVEN    FL   33881       HOSPITAL        AW0159079    1,700    2,100    2,000     1,500     500      400     1,367      8,200

100096545   046044032   WINTER HAVEN HOSPITAL INC WAC    WINTER HAVEN    FL   33881       HOSPITAL        AW0159079     100      500                        2,740    1,500    1,210      4,840

100076603   046012872   WINTER HAVEN HOSPITAL INC 340B   WINTER HAVEN    FL   33881   PHS 340B HOSPITAL   AW0159079     300      500      500       400      100      580      397       2,380

100103175   046055301   WALGREENS #03525        DSD       HOLLYWOOD      FL   33024     WALGREENS         AW0200939     520      420     6,700    14,260   17,500   10,400    8,300     49,800

100102804   046053322   WALGREENS #04644        DSD        TITUSVILLE    FL   32780     WALGREENS         AW0200965     300      200     3,400     9,800    7,000    8,300    4,833     29,000

100102064   046047654   WALGREENS #03331        DSD       LAKE WORTH     FL   33460     WALGREENS         AW0200977    1,000     120     2,600     3,200    4,200    2,500    2,270     13,620

100102237   046049569   WALGREENS #03459        DSD         TAMPA        FL   33610     WALGREENS         AW0200991     100      200     4,500    27,330   12,800   14,900    9,972     59,830

100102551   046052050   WALGREENS #11537        DSD       TALLAHASSEE    FL   32301     WALGREENS         AW0201006              500     1,700     4,300    8,700    5,300    4,100     20,500

100102229   046049528   WALGREENS #03743        DSD         TAMPA        FL   33609     WALGREENS         AW0201018      40      500      300      7,620    7,600    5,700    3,627     21,760

100102278   046049684   WALGREENS #06674        DSD         TAMPA        FL   33615     WALGREENS         AW0201020     600      800     2,630    17,730   15,400   13,900    8,510     51,060

100101444   046045344   WALGREENS #03455        DSD      RIVIERA BEACH   FL   33404     WALGREENS         AW0201032     100      200     5,600     8,100    6,500    6,400    4,483     26,900
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100101507   046045757   WALGREENS #10900        DSD         MIAMI         FL   33133   WALGREENS     AW0201044     300      300      560     2,200    2,230    2,500    1,348     8,090

100102820   046053397   WALGREENS #03650        DSD       ORLANDO         FL   32803   WALGREENS     AW0201070    1,500     400     8,200    8,990   12,000    5,600    6,115    36,690

100101622   046046284   WALGREENS #02719        DSD   NORTH MIAMI BEACH   FL   33162   WALGREENS     AW0201094              300      500     2,100    1,800    1,200    1,180     5,900

100102990   046054239   WALGREENS #03811        DSD       ORLANDO         FL   32839   WALGREENS     AW0201119     200      200     6,200    6,300    5,600    4,600    3,850    23,100

100102428   046051441   WALGREENS #00774        DSD    ORMOND BEACH       FL   32176   WALGREENS     AW0201121     500      900     2,100    7,600    9,000   11,000    5,183    31,100

100101498   046045716   WALGREENS #03239        DSD         MIAMI         FL   33131   WALGREENS     AW0201157     200      300      700      300     2,500    1,200     867      5,200

100101488   046045666   WALGREENS #00622        DSD         MIAMI         FL   33126   WALGREENS     AW0201169     100      300      300     1,700    2,800    1,300    1,083     6,500

100101570   046046086   WALGREENS #03371        DSD         MIAMI         FL   33147   WALGREENS     AW0201171                       700     2,600    1,800    1,400    1,625     6,500

100101630   046046318   WALGREENS #13851        DSD         MIAMI         FL   33165   WALGREENS     AW0201183     200      100      900     3,400    3,900    3,600    2,017    12,100

100102733   046052985   WALGREENS #04379        DSD      BRADENTON        FL   34205   WALGREENS     AW0201210     200      200    13,900   24,100   23,400   18,500   13,383    80,300

100101565   046046060   WALGREENS #04768        DSD   FORT LAUDERDALE     FL   33315   WALGREENS     AW0201222     200      400     6,260    9,460    9,700    7,700    5,620    33,720

100102566   046052118   WALGREENS #02941        DSD      FORT MYERS       FL   33901   WALGREENS     AW0201234     100       -      4,700    6,500    6,600    5,100    3,833    23,000

100103155   046055202   WALGREENS #00456        DSD      HOLLYWOOD        FL   33020   WALGREENS     AW0201272     200      300     4,000    5,900    5,600    3,200    3,200    19,200

100101760   046046722   WALGREENS #03063        DSD   FORT LAUDERDALE     FL   33305   WALGREENS     AW0201296     800      100     7,600   11,780   10,560    6,500    6,223    37,340

100102440   046051508   WALGREENS #03287        DSD     JACKSONVILLE      FL   32208   WALGREENS     AW0201309    2,300     200    14,100   30,500   35,000   35,500   19,600   117,600

100101579   046046144   WALGREENS #00621        DSD         MIAMI         FL   33155   WALGREENS     AW0201359     700     1,100    1,030    5,290    5,200    3,100    2,737    16,420

100101585   046046169   WALGREENS #11939        DSD         MIAMI         FL   33155   WALGREENS     AW0202666     200      300      700     3,100    3,300    4,200    1,967    11,800

100103050   046054601   WALGREENS #04401        DSD    MERRITT ISLAND     FL   32952   WALGREENS     AW0209519     400              3,700   10,300    9,700    6,500    6,120    30,600

100056074   046009134   WISES DRUG STORE, INC            GAINESVILLE      FL   32601   INDEPENDENT   AW0209898    4,000    3,700    4,000    2,900    7,900    3,200    4,283    25,700

100101561   046046045   WALGREENS #02184        DSD         MIAMI         FL   33144   WALGREENS     AW0214712                       500     2,200    1,700    2,300    1,675     6,700

100058709   052026625   WINSTON MEDICAL CENTER           LOUISVILLE       MS   39339    HOSPITAL     AW0222151              100      100      900                        367      1,100

100050827   052073718   WILSONS PHARMACY INC #            WIGGINS         MS   39577   INDEPENDENT   AW0226503   10,500   10,600   12,700    8,600   11,500   11,500   10,900    65,400

100057381   052030569   WARDS PHARMACY                    ELLISVILLE      MS   39437   INDEPENDENT   AW0228038   22,700   23,800   21,400   25,400   23,500   28,300   24,183   145,100

100097682   052222430   WALGREENS #04172        DSD         BILOXI        MS   39531   WALGREENS     AW0229953   12,600   21,100   20,500   21,000   17,000   21,500   18,950   113,700

100055909   044077404   WILES SMITH DRUG STORE INC        MEMPHIS         TN   38104   INDEPENDENT   AW0398645     400      200      400      200                        300      1,200

100097405   044215236   WALGREENS #03221        DSD       MADISON         TN   37115   WALGREENS     AW0408117   52,130   50,100   46,700   54,500   40,100   21,500   44,172   265,030

100097551   044215830   WALGREENS #00586        DSD       MEMPHIS         TN   38103   WALGREENS     AW0408129    4,500    5,500    4,000    6,000    5,500    2,500    4,667    28,000

100097560   044215921   WALGREENS #03227        DSD       MEMPHIS         TN   38111   WALGREENS     AW0408167   14,000   12,980   10,000   12,300   11,200    8,900   11,563    69,380

100097554   044215863   WALGREENS #05676        DSD       MEMPHIS         TN   38104   WALGREENS     AW0408179   16,700   14,700   14,000   16,100   15,500   13,500   15,083    90,500

100097567   044215996   WALGREENS #03013        DSD       MEMPHIS         TN   38116   WALGREENS     AW0408181   11,200   10,800   12,000   10,300    8,000   10,100   10,400    62,400

100097583   044216150   WALGREENS #03465        DSD       MEMPHIS         TN   38128   WALGREENS     AW0408206    9,000    9,700    9,200   11,100    9,200    7,000    9,200    55,200

100097556   044215889   WALGREENS #02940        DSD       MEMPHIS         TN   38106   WALGREENS     AW0408220   17,000   16,200   17,200   18,000   14,500   15,000   16,317    97,900

100097571   044216036   WALGREENS #11671        DSD       MEMPHIS         TN   38117   WALGREENS     AW0408232    5,800    7,600    6,900    8,000    6,800    6,000    6,850    41,100

100097563   044215954   WALGREENS #03866        DSD       MEMPHIS         TN   38114   WALGREENS     AW0408244   19,000   17,500   16,000   17,000   20,000   15,000   17,417   104,500

100097434   044215525   WALGREENS #04707        DSD       NASHVILLE       TN   37209   WALGREENS     AW0408256   26,100   26,900   27,000   29,700   27,500   27,040   27,373   164,240

100097446   044215640   WALGREENS #00696        DSD       NASHVILLE       TN   37219   WALGREENS     AW0408268    6,500    8,000    6,500    7,800    6,900    5,000    6,783    40,700

100097568   044216002   WALGREENS #03176        DSD       MEMPHIS         TN   38116   WALGREENS     AW0408270   30,900   32,500   26,200   25,400   16,700   20,700   25,400   152,400

100097441   044215590   WALGREENS #04158        DSD       NASHVILLE       TN   37215   WALGREENS     AW0408282   11,300    9,900    9,800   12,300   11,700    9,100   10,683    64,100

100097438   044215566   WALGREENS #13929        DSD       NASHVILLE       TN   37211   WALGREENS     AW0408319   22,600   22,000   23,600   24,100   24,100   19,000   22,567   135,400

100097601   044216291   WALGREENS #13659        DSD       JACKSON         TN   38301   WALGREENS     AW0408345   54,340   52,100   50,000   63,800   38,600   37,600   49,407   296,440

100097573   044216051   WALGREENS #06882        DSD       MEMPHIS         TN   38118   WALGREENS     AW0410427   24,600   22,300   19,000   25,800   25,140   21,000   22,973   137,840

100064122   052154765   WELDON PHARMACY                  HUEYTOWN         AL   35023   INDEPENDENT   AW0472009                       200                                 200       200

100067381   052061572   WIREGRASS MEDICAL CENTER           GENEVA         AL   36340    HOSPITAL     AW0475360     300      400      400      500      900      400      483      2,900

100102216   020161208   WALGREENS #03789        DSD       PHOENIX         AZ   85018   WALGREENS     AW0572481   18,100   17,160   16,400   15,900   21,800   13,800   17,193   103,160
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100102265   020161299   WALGREENS #01272     DSD           PHOENIX         AZ   85031     WALGREENS         AW0572493   20,830   22,500   21,560   22,200   18,200   23,500   21,465   128,790

100103679   020164616   WALGREENS #06063     DSD           PHOENIX         AZ   85015     WALGREENS         AW0572506   11,300   12,600    8,900   13,900   12,600   12,900   12,033    72,200

100102196   020161141   WALGREENS #03464     DSD           PHOENIX         AZ   85012     WALGREENS         AW0572518   20,090   18,790   21,300   20,860   20,900   11,000   18,823   112,940

100102227   020161216   WALGREENS #00809     DSD           PHOENIX         AZ   85020     WALGREENS         AW0572520    7,900    6,400    6,400    6,000    7,900    7,700    7,050    42,300

100102313   020161414   WALGREENS #07375     DSD           PHOENIX         AZ   85041     WALGREENS         AW0572532    7,700    9,700    7,800    7,700    9,600    7,300    8,300    49,800

100102958   020162966   WALGREENS #11183     DSD           TUCSON          AZ   85716     WALGREENS         AW0572568   10,010   11,000    8,060    9,600    9,900    6,700    9,212    55,270

100102946   020162933   WALGREENS #06953     DSD           TUCSON          AZ   85713     WALGREENS         AW0572582   21,400   23,300   19,500   21,200   18,200   18,900   20,417   122,500

100104629   020165266   WALGREENS #15030     DSD           TUCSON          AZ   85719     WALGREENS         AW0572594    5,400    4,800    4,500    5,500    7,700    6,500    5,733    34,400

100102781   020162529   WALGREENS #02219     DSD            YUMA           AZ   85364     WALGREENS         AW0572619   25,700   26,100   27,000   31,100   23,400   24,000   26,217   157,300

100102888   008113159   WALGREENS #12257     DSD         BURLINGAME        CA   94010     WALGREENS         AW0572683   15,200   13,200   13,460   13,730   14,000    9,900   13,248    79,490

100103845   008116087   WALGREENS #15246     DSD        SANTA CLARA        CA   95050     WALGREENS         AW0572695   11,600   11,900   13,900   11,900   12,400    5,700   11,233    67,400

100103028   008113498   WALGREENS #00887     DSD       SAN FRANCISCO       CA   94109     WALGREENS         AW0572710    6,600    8,800    7,000    6,700    7,300    3,300    6,617    39,700

100103938   008022046   WALGREENS #15397     DSD     SOUTH SAN FRANCISCO   CA   94080     WALGREENS         AW0572722   18,500   21,200   21,900   19,500   21,400   13,600   19,350   116,100

100061315   023006783   WASCHKO'S PHARMACY INC (X)        HAZLETON         PA   18201     INDEPENDENT       AW0586151     400                                                   400       400

100110394   041155036   WARREN MEMORIAL HOSPITAL        FRONT ROYAL        VA   22630       HOSPITAL        AW0641779                       500      300      500      200      375      1,500

100103343   038110080   WALGREENS #03499     DSD           ARVADA          CO   80002     WALGREENS         AW0842989    8,100   10,900   11,830   10,360   10,400    6,100    9,615    57,690

100101447   038108720   WALGREENS #03655     DSD           AURORA          CO   80010     WALGREENS         AW0843018   10,300    8,400    5,600    9,700    9,300    5,600    8,150    48,900

100101643   038109272   WALGREENS #02482     DSD          BOULDER          CO   80301     WALGREENS         AW0843020    5,200    4,940    6,000    6,800    6,000    5,600    5,757    34,540

100101485   038108738   WALGREENS #04043     DSD      COLORADO SPRINGS     CO   80909     WALGREENS         AW0843032   28,100   34,800   29,200   30,200   28,800   26,100   29,533   177,200

100101572   038109066   WALGREENS #00356     DSD           DENVER          CO   80202     WALGREENS         AW0843094    6,400    7,030    6,200    5,800    7,500    3,700    6,105    36,630

100101584   038109108   WALGREENS #09887     DSD         LAKEWOOD          CO   80215     WALGREENS         AW0843133    8,500    9,200    8,400    8,600   11,400    6,800    8,817    52,900

100101527   038108878   WALGREENS #12423     DSD         ENGLEWOOD         CO   80113     WALGREENS         AW0843157   15,000   16,000   12,900   14,430   16,700   10,100   14,188    85,130

100100312   038108506   WALGREENS #03958     DSD        PORT ARTHUR        TX   77642     WALGREENS         AW0946030     300     1,700   11,000   22,700   18,900    7,000   10,267    61,600

100100085   038106740   WALGREENS #00489     DSD          HOUSTON          TX   77005     WALGREENS         AW0946078              200     5,000    5,800    5,000    4,500    4,100    20,500

100100113   037132191   WALGREENS #04316     DSD          HOUSTON          TX   77035     WALGREENS         AW0946092              900     5,500    7,000    7,100    1,500    4,400    22,000

100100102   038106914   WALGREENS #12015     DSD          HOUSTON          TX   77022     WALGREENS         AW0946105     230      780    10,500   14,300    7,200    4,100    6,185    37,110

100090517   032144683   WHIDBEY GENERAL HOSPITAL         COUPEVILLE        WA   98239       HOSPITAL        AW0967298    1,100     900      800     1,200     500      300      800      4,800

100103140   046055111   WALGREENS #05465     DSD       PORT SAINT LUCIE    FL   34952     WALGREENS         AW1012171     300      100     4,800   10,900   11,300    8,700    6,017    36,100

100102448   046051540   WALGREENS #03382     DSD        JACKSONVILLE       FL   32210     WALGREENS         AW1026322     500      600    14,500   21,800    9,200   22,000   11,433    68,600

100099488   021171439   WALGREENS #06936     DSD           OMAHA           NE   68111     WALGREENS         AW1031474   15,100   11,300   18,100   15,600   13,600    9,500   13,867    83,200

100098820   019174847   WALGREENS #03710     DSD           LEMONT          IL   60439     WALGREENS         AW1033923   25,000   25,420   25,700   27,520   20,500   19,000   23,857   143,140

100090640   019157644   WALGREENS #03710 340B              LEMONT          IL   60439   PHS 340B HOSPITAL   AW1033923     500               500                                 500      1,000

100101491   020159988   WALGREENS #04139     DSD           PHOENIX         AZ   85051     WALGREENS         AW1055284   19,000   17,800   16,960   20,500   18,400   11,100   17,293   103,760

100103077   046054742   WALGREENS #06940     DSD          LEESBURG         FL   34748     WALGREENS         AW1064928              700    16,300   18,500   13,900   10,100   11,900    59,500

100100281   037132647   WALGREENS #04100     DSD            CLUTE          TX   77531     WALGREENS         AW1074955     340      840    16,780   22,600   14,600    4,300    9,910    59,460

100100292   038108340   WALGREENS #03420     DSD         GALVESTON         TX   77550     WALGREENS         AW1074979     800     1,200   17,400   29,600   25,000   12,600   14,433    86,600

100100194   037132357   WALGREENS #03400     DSD          HOUSTON          TX   77099     WALGREENS         AW1074993              700     6,600    9,900    7,200    5,500    5,980    29,900

100100152   037132266   WALGREENS #04514     DSD          HOUSTON          TX   77071     WALGREENS         AW1075008     600      640     7,020    7,940    4,700    3,000    3,983    23,900

100100136   038107193   WALGREENS #07005     DSD          HOUSTON          TX   77062     WALGREENS         AW1075010     100     1,020   10,100   16,960   10,200    5,300    7,280    43,680

100100183   038107573   WALGREENS #04513     DSD          HOUSTON          TX   77090     WALGREENS         AW1075022    1,140    1,220   14,620   22,900   18,000   10,500   11,397    68,380

100097048   038107847   WALGREENS #03424     DSD           SPRING          TX   77373     WALGREENS         AW1075034    1,100     300     9,500   15,200    7,700   12,300    7,683    46,100

100100178   038107524   WALGREENS #03082     DSD          HOUSTON          TX   77087     WALGREENS         AW1075084     600      600     7,000    9,930    8,500    2,000    4,772    28,630

100100159   038107383   WALGREENS #03407     DSD          HOUSTON          TX   77077     WALGREENS         AW1075109              300     3,820    5,300    5,500    3,500    3,684    18,420

100100297   038108381   WALGREENS #03001     DSD          LA PORTE         TX   77571     WALGREENS         AW1075111     500      420    12,600   20,720   14,320   18,000   11,093    66,560
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100100300   038108415   WALGREENS #06566        DSD        LEAGUE CITY      TX   77573    WALGREENS        AW1075123     100      1,400   14,600   17,300   16,100   10,800   10,050    60,300

100100268   038108142   WALGREENS #05766        DSD         PASADENA        TX   77502    WALGREENS        AW1075135     (300)     100     9,600   12,800   13,500    6,500    7,033    42,200

100100253   037132506   WALGREENS #02958        DSD        ROSENBERG        TX   77471    WALGREENS        AW1075147    1,500     1,520   26,320   39,100   34,800   18,700   20,323   121,940

100100227   038107987   WALGREENS #06510        DSD          SPRING         TX   77388    WALGREENS        AW1075159    1,040      620    14,520   23,930   20,390   10,700   11,867    71,200

100095028   004093450   WALGREENS #06650        DSD         KINGSTON        NY   12401    WALGREENS        AW1111905   11,200    11,600   10,900    9,400   15,200    8,900   11,200    67,200

100103289   020163899   WALGREENS #07107        DSD        LAS CRUCES       NM   88001    WALGREENS        AW1124306   22,900    24,300   24,500   20,800   40,800   17,900   25,200   151,200

100100120   038107060   WALGREENS #07251        DSD         HOUSTON         TX   77042    WALGREENS        AW1124445     340      2,500    8,400   10,800    8,300    6,100    6,073    36,440

100100087   038106765   WALGREENS #03157        DSD         HOUSTON         TX   77006    WALGREENS        AW1162180     200      1,800   14,840   27,200   14,800   14,500   12,223    73,340

100094967   010229658   WALGREENS #04284        DSD      HIGHLAND HEIGHTS   KY   41076    WALGREENS        AW1169071    9,900     9,800    8,600   10,700    7,600    8,500    9,183    55,100

100055422   040043976   WILLS MEMORIAL HOSPITAL            WASHINGTON       GA   30673      HOSPITAL       AW1172509               100      100      400               320      230       920

100102253   020161265   WALGREENS #04508        DSD          PHOENIX        AZ   85027    WALGREENS        AW1195052   12,500    13,400   12,300   14,400   15,800   10,000   13,067    78,400

100102682   020162297   WALGREENS #04228        DSD         GLENDALE        AZ   85301    WALGREENS        AW1195076   11,200    14,900   15,400   13,400   14,900    8,500   13,050    78,300

100098211   021169466   WALGREENS #04714        DSD        DES MOINES       IA   50321    WALGREENS        AW1199240   29,200    29,600   25,100   26,200   24,500   24,700   26,550   159,300

100101601   046046227   WALGREENS #03565        DSD        CUTLER BAY       FL   33157    WALGREENS        AW1214155     400       300     1,600   10,100    9,800    6,300    4,750    28,500

100102578   046052175   WALGREENS #03753        DSD        CAPE CORAL       FL   33904    WALGREENS        AW1225665               320     6,000   11,310    7,400    7,900    6,586    32,930

100099054   019178244   WALGREENS #03833        DSD       ELMWOOD PARK      IL   60707    WALGREENS        AW1230096   23,300    24,400   23,200   28,200   16,700   18,600   22,400   134,400

100101551   038108985   WALGREENS #03589        DSD         LITTLETON       CO   80127    WALGREENS        AW1291715    9,600    11,800   12,400   11,600   10,500    8,100   10,667    64,000

100099441   021171108   WALGREENS #03069        DSD          TOPEKA         KS   66612    WALGREENS        AW1299913   32,800    35,400   40,700   40,300   28,700   34,500   35,400   212,400

100105853   021173369   WALGREENS #03069 340B                TOPEKA         KS   66612   PHS 340B CLINIC   AW1299913                                 500                        500       500

100097839   019169557   WALGREENS #12109        DSD         HAMMOND         IN   46324    WALGREENS        AW1301984   17,000    18,900   15,100   16,500   19,400    9,000   15,983    95,900

100097721   044216879   WALGREENS #03618        DSD         LOUISVILLE      KY   40220    WALGREENS        AW1302152    6,360    23,460   26,660   28,600   24,900   22,500   22,080   132,480

100101201   046044701   WALGREENS #04217        DSD        HOMOSASSA        FL   34446    WALGREENS        AW1307138               600     4,200   20,100   13,600   10,600    9,820    49,100

100103364   038110155   WALGREENS #06513        DSD          AURORA         CO   80013    WALGREENS        AW1325922   17,600    19,700   15,100   15,800   19,900   10,700   16,467    98,800

100100206   038107789   WALGREENS #04999        DSD        HUNTSVILLE       TX   77340    WALGREENS        AW1335149     900      1,600   21,200   32,300   26,100   12,700   15,800    94,800

100098924   019176917   WALGREENS #02432        DSD          CHICAGO        IL   60606    WALGREENS        AW1349554    1,400     1,800     800     2,000    1,600    1,500    1,517     9,100

100103678   046055616   WALGREENS #04962        DSD         BRANDON         FL   33511    WALGREENS        AW1356989     600       100     2,260   16,330   21,400   23,200   10,648    63,890

100102900   008113183   WALGREENS #00324        DSD         DALY CITY       CA   94015    WALGREENS        AW1365382   23,600    22,200   21,600   21,600   20,600   14,200   20,633   123,800

100052048   010048769   DEER PARK PHARMACY        APSC      CINCINNATI      OH   45236    INDEPENDENT      AW1388556    3,200     3,200    2,600    1,100    4,300    5,100    3,250    19,500

100100278   038108225   WALGREENS #03138        DSD         BAYTOWN         TX   77521    WALGREENS        AW1423235     500      2,500   29,600   44,860   18,700   23,200   19,893   119,360

100071802   055140939   COLLETON MED CTR        #712       WALTERBORO       SC   29488      HOSPITAL       AW1440166     900      1,350    1,600    1,100    1,140     800     1,148     6,890

100098981   019177519   WALGREENS #05123        DSD          CHICAGO        IL   60628    WALGREENS        AW1440849   11,000     9,400   10,900   12,800   10,200    7,000   10,217    61,300

100097562   044215947   WALGREENS #07613        DSD          MEMPHIS        TN   38111    WALGREENS        AW1446461   23,700    19,700   21,000   23,800   15,500   17,500   20,200   121,200

100087152   003091124   WALGREENS #00655                    HUMACAO         PR   00791    WALGREENS        AW1459103               500               500                        500      1,000

100098943   019177139   WALGREENS #01096        DSD          CHICAGO        IL   60613    WALGREENS        AW1464281    7,300     6,600    7,800    6,500    7,500    4,000    6,617    39,700

100102985   046054213   WALGREENS #12318        DSD          HOLIDAY        FL   34691    WALGREENS        AW1504972     200       500     4,900   27,400   20,200   21,100   12,383    74,300

100102505   046051813   WALGREENS #04023        DSD        AUBURNDALE       FL   33823    WALGREENS        AW1507992               500     2,030   24,030   19,200   17,500   12,652    63,260

100101443   046045328   WALGREENS #03356        DSD        FORT MYERS       FL   33908    WALGREENS        AW1508413     100       300     4,030    8,190    8,400    8,600    4,937    29,620

100098833   019174995   WALGREENS #04032        DSD         NEW LENOX       IL   60451    WALGREENS        AW1515204   46,100    43,500   41,100   45,200   31,200   43,200   41,717   250,300

100091934   019158881   WALGREENS #04032   340B             NEW LENOX       IL   60451      HOSPITAL       AW1515204     500       100              2,100    1,000              925      3,700

100101574   046046110   WALGREENS #04798        DSD       DAYTONA BEACH     FL   32118    WALGREENS        AW1540219     100       400     4,600    7,900    8,700   12,200    5,650    33,900

100095928   023146472   WALGREENS #06161        DSD       ELMWOOD PARK      NJ   07407    WALGREENS        AW1549077    5,800     4,400    4,900    5,200    2,900    3,900    4,517    27,100

100070624   056143289   WOODRUFF'S DRUGS(X)       CPA       BRIDGETON       NJ   08302    INDEPENDENT      AW1557721    5,100      800     1,000    4,000    4,500    1,000    2,733    16,400

100101192   046044610   WALGREENS #01189        DSD        PALM HARBOR      FL   34685    WALGREENS        AW1567998               300     1,600    6,000    8,400    6,500    4,560    22,800

100097520   052221853   WALGREENS #01015        DSD         KNOXVILLE       TN   37916    WALGREENS        AW1583168    3,500     4,000    4,000    2,600    3,000    3,500    3,433    20,600
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100099286   044218834   WALGREENS #01107       DSD       SAINT LOUIS     MO   63143   WALGREENS     AW1585453             4,160    6,560    7,000    8,100    5,100    6,184    30,920

100094756   010229203   WALGREENS #02136       DSD       DEER PARK       OH   45236   WALGREENS     AW1596797   18,300   19,180   19,800   18,700   18,800   12,400   17,863   107,180

100055360   032071969   *WEST MAIN PHCY                   MEDFORD        OR   97501   INDEPENDENT   AW1600875   22,900   29,200   28,800   27,100                     27,000   108,000

100099597   037131524   WALGREENS #04007       DSD         SLIDELL       LA   70458   WALGREENS     AW1604049    1,000    2,600   43,200   64,800   21,900   24,900   26,400   158,400

100099588   037131433   WALGREENS #06027       DSD        HAMMOND        LA   70401   WALGREENS     AW1604051     120     1,600   16,900   29,400   27,500   23,000   16,420    98,520

100103438   008114769   WALGREENS #01179       DSD        SAN JOSE       CA   95121   WALGREENS     AW1606992    6,000    8,000    6,300    7,600    8,500    3,700    6,683    40,100

100097857   019169730   WALGREENS #10534       DSD        WHITING        IN   46394   WALGREENS     AW1614571   12,800   14,500   12,100   13,500   14,600    7,000   12,417    74,500

100103723   046056093   WALGREENS #04263       DSD        DUNEDIN        FL   34698   WALGREENS     AW1624700     400      700     1,000   10,700   13,700    9,700    6,033    36,200

100098986   019177568   WALGREENS #09709       DSD        CHICAGO        IL   60630   WALGREENS     AW1627934   17,500   17,400   19,260   21,800   20,600   17,600   19,027   114,160

100101808   038109736   WALGREENS #03583       DSD    COLORADO SPRINGS   CO   80918   WALGREENS     AW1628897   15,900   17,900   14,100   17,900   14,400   16,700   16,150    96,900

100102076   046047688   WALGREENS #04280       DSD      PALM SPRINGS     FL   33461   WALGREENS     AW1648611     100      700     9,900   15,900   10,500   13,500    8,433    50,600

100098318   019171629   WALGREENS #01200       DSD       MILWAUKEE       WI   53203   WALGREENS     AW1648750    1,800    2,000    2,500    2,000    3,000    1,000    2,050    12,300

100106755   017098376   WALKER DRUG CO. INC. CPA           MOAB          UT   84532   INDEPENDENT   AW1649790   10,100    7,000    5,600   18,900    8,100   14,600   10,717    64,300

100101891   046047084   WALGREENS #04568       DSD        SUNRISE        FL   33351   WALGREENS     AW1650832    2,630     500     6,130   11,310   12,500    7,500    6,762    40,570

100053678   056009910   WAYNESBORO HOSPITAL             WAYNESBORO       PA   17268    HOSPITAL     AW1686053     600      600      600      500      320      160      463      2,780

100053631   010052605   WARREN GENERAL HOSPITAL           WARREN         PA   16365    HOSPITAL     AW1697614                                700                        700       700

100051806   010047373   WYBLE'S PHARMACY INC               APOLLO        PA   15613   INDEPENDENT   AW1698173              500                       1,500    4,500    2,167     6,500

100098691   019173559   WALGREENS #05830       DSD       MUNDELEIN       IL   60060   WALGREENS     AW1731288   10,260   11,660   10,130   10,500   15,100    2,900   10,092    60,550

100101989   046047399   WALGREENS #01172       DSD      BOCA RATON       FL   33434   WALGREENS     AW1748485     600      300     4,200    5,400    4,500    5,700    3,450    20,700

100103200   046055434   WALGREENS #06832       DSD         STUART        FL   34997   WALGREENS     AW1768463     300      400     8,820   20,500   16,800   16,100   10,487    62,920

100098948   019177188   WALGREENS #01173       DSD        CHICAGO        IL   60614   WALGREENS     AW1773224    5,600    8,400    7,400    8,000    7,300    6,600    7,217    43,300

100101489   046045674   WALGREENS #04124       DSD      PALM HARBOR      FL   34684   WALGREENS     AW1780990     300      200     2,600   21,900   11,500   18,300    9,133    54,800

100103265   020163733   WALGREENS #04510       DSD      FARMINGTON       NM   87402   WALGREENS     AW1786372   25,100   25,600   25,200   24,800   27,000   20,500   24,700   148,200

100100157   038107367   WALGREENS #06907       DSD        HOUSTON        TX   77076   WALGREENS     AW1819551     100     1,200    9,200   16,600    5,200    4,500    6,133    36,800

100100256   038108118   WALGREENS #01157       DSD       SUGAR LAND      TX   77478   WALGREENS     AW1819563              300     4,400    9,700    5,900    5,200    5,100    25,500

100052097   010042184   W S W INC, APSC                 LOUDONVILLE      OH   44842   INDEPENDENT   AW1819943    4,200    5,000    3,000    4,000    3,900    3,100    3,867    23,200

100100182   038107565   WALGREENS #04396       DSD        HOUSTON        TX   77089   WALGREENS     AW1838537     500     1,540   12,200   23,400   12,100   11,600   10,223    61,340

100098568   025090506   WALGREENS #09511       DSD      BLOOMINGTON      MN   55420   WALGREENS     AW1858111    8,700   10,000    9,100   10,100   12,100    6,100    9,350    56,100

100097049   038107854   WALGREENS #03233       DSD        TOMBALL        TX   77375   WALGREENS     AW1858147     220     1,380   13,700   30,720   18,500   19,900   14,070    84,420

100099601   037131565   WALGREENS #03440       DSD       MANDEVILLE      LA   70471   WALGREENS     AW1863631    2,070    1,500   14,030   19,530   19,400   15,100   11,938    71,630

100102991   008113407   WALGREENS #01126       DSD     SAN FRANCISCO     CA   94103   WALGREENS     AW1871854   10,900    9,200    9,700    8,690    9,200    5,500    8,865    53,190

100103098   008113662   WALGREENS #01241       DSD     SAN FRANCISCO     CA   94116   WALGREENS     AW1878719    6,200    3,800    5,100    6,700    5,200    3,000    5,000    30,000

100098957   019177279   WALGREENS #13106       DSD        CHICAGO        IL   60617   WALGREENS     AW1880601   15,600   14,200   14,500   15,000   17,100    7,300   13,950    83,700

100094652   010228643   WALGREENS #05632       DSD       CINCINNATI      OH   45217   WALGREENS     AW1888227    9,500   11,100   10,000   11,000   10,000    7,500    9,850    59,100

100066370   056047258   WESTBROOK PARK PHCY(X)(GNP)    CLIFTON HEIGHTS   PA   19018   INDEPENDENT   AW1910567    1,500     500     1,000    1,500    1,100     700     1,050     6,300

100101715   038109488   WALGREENS #05645       DSD       LOVELAND        CO   80537   WALGREENS     AW1919729   19,400   22,400   20,300   22,100   21,000   13,400   19,767   118,600

100101675   038109363   WALGREENS #09598       DSD       LONGMONT        CO   80501   WALGREENS     AW1919731   19,400   21,500   21,600   19,700   24,100   12,100   19,733   118,400

100101500   038108761   WALGREENS #01286       DSD       LOUISVILLE      CO   80027   WALGREENS     AW1919743    5,300    7,000    4,700    5,600    6,600    3,000    5,367    32,200

100102031   046047563   WALGREENS #01139       DSD    DEERFIELD BEACH    FL   33442   WALGREENS     AW1950802     100      200     6,300   11,000    8,500   10,200    6,050    36,300

100101460   046045443   WALGREENS #04706       DSD     COCONUT CREEK     FL   33063   WALGREENS     AW1965194     300      200     9,700   14,100   15,500   11,900    8,617    51,700

100101671   038109355   WALGREENS #07927       DSD       LONGMONT        CO   80501   WALGREENS     AW1967073   13,600   13,900   13,300   13,800   13,700   13,500   13,633    81,800

100097565   044215970   WALGREENS #04735       DSD        MEMPHIS        TN   38115   WALGREENS     AW1988433   22,400   22,300   23,300   23,300   18,100   19,700   21,517   129,100

100102433   020161703   WALGREENS #03670       DSD          MESA         AZ   85204   WALGREENS     AW1994400    9,400   13,100    9,900   10,900   10,900    7,000   10,200    61,200

100098727   019173914   WALGREENS #04008       DSD       BELLWOOD        IL   60104   WALGREENS     AW1994450   11,000   12,100   13,700   13,100   11,200   11,200   12,050    72,300
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100098775   019174391   WALGREENS #03994            DSD      VILLA PARK    IL   60181     WALGREENS         AW2000519   27,500   27,900   25,200    27,500   29,500   28,600   27,700   166,200

100090635   019157594   WALGREENS #03994 340B                VILLA PARK    IL   60181   PHS 340B HOSPITAL   AW2000519     100                                                    100       100

100051548   008069245   WEST OAKLAND CTR PHS X 3 L            OAKLAND      CA   94607    PHS 340B CLINIC    AW2031728    3,500    3,000    3,000     2,800    7,000    2,000    3,550    21,300

100070293   008040915   WESTSIDE DRUG CO                     FIREBAUGH     CA   93622     INDEPENDENT       AW2033265   11,900    5,100   (2,800)    3,300    5,500    4,200    4,533    27,200

100102998   046054270   WALGREENS #04815            DSD     MELBOURNE      FL   32903     WALGREENS         AW2052873                      4,000     7,430    9,500    6,600    6,883    27,530

100102427   046051433   WALGREENS #04800            DSD        LARGO       FL   33771     WALGREENS         AW2058887     190      100     1,200    10,200   13,900    9,400    5,832    34,990

100103078   008113613   WALGREENS #01327            DSD    SAN FRANCISCO   CA   94114     WALGREENS         AW2067141   25,500   24,400   22,700    24,100   22,300   12,060   21,843   131,060

100099257   044218545   WALGREENS #09771            DSD      ROCK HILL     MO   63119     WALGREENS         AW2083905             6,900    6,200     9,000    8,300    4,600    7,000    35,000

100087168   003091488   WALGREENS #01463                      ARECIBO      PR   00612     WALGREENS         AW2086622     200               300       100                        200       600

100102744   046053025   WALGREENS #07106            DSD     BRADENTON      FL   34210     WALGREENS         AW2090594     300      500    16,400    20,500   23,400   24,000   14,183    85,100

100097824   019169409   WALGREENS #04668            DSD     CROWN POINT    IN   46307     WALGREENS         AW2106513   19,100   20,400   17,620    19,880   22,000   15,000   19,000   114,000

100103067   008113597   WALGREENS #01120            DSD    SAN FRANCISCO   CA   94112     WALGREENS         AW2142848    7,100    6,300    7,600     7,800    7,200    5,000    6,833    41,000

100097559   044215913   WALGREENS #09174            DSD       MEMPHIS      TN   38109     WALGREENS         AW2176457   12,200   14,500   12,500    14,500   12,000   10,000   12,617    75,700

100099486   021171413   WALGREENS #06962            DSD       OMAHA        NE   68108     WALGREENS         AW2176522   13,900   15,300   12,800    15,700   16,600    9,200   13,917    83,500

100100169   037132316   WALGREENS #03661            DSD      HOUSTON       TX   77083     WALGREENS         AW2195774    1,340    1,100   17,020    30,000    5,600   18,500   12,260    73,560

100103213   020163592   WALGREENS #03366            DSD    ALBUQUERQUE     NM   87120     WALGREENS         AW2195914   20,400   20,770   15,700    21,800   22,300   12,000   18,828   112,970

100097580   044216127   WALGREENS #02892            DSD       MEMPHIS      TN   38127     WALGREENS         AW2197348   20,000   20,000   16,240    21,200   19,100   16,000   18,757   112,540

100051889   008046607   WATERFRONT PHARMACY                  STOCKTON      CA   95202     INDEPENDENT       AW2244236   54,900   55,200   55,000    46,000   55,000   40,500   51,100   306,600

100072004   049120469   HOLLAND COMMUNITY HOSP PHCY           HOLLAND      MI   49423       HOSPITAL        AW2268414    2,400    3,100    5,200              4,000    3,400    3,620    18,100

100088251   049186536   HOLLAND COMMUNITY HOSP 340B           HOLLAND      MI   49423   PHS 340B HOSPITAL   AW2268414              100                                           100       100

100092026   049188961   HOLLAND COMM HOSP PHCY WAC            HOLLAND      MI   49423       HOSPITAL        AW2268414                                          100               100       100

100059001   049035303   M/EASTERN MI UNIV PHCY MMCAP         YPSILANTI     MI   48197       ALT SITE        AW2268882             1,100     700                500               767      2,300

100102006   046047464   WALGREENS #03546            DSD    BOYNTON BEACH   FL   33436     WALGREENS         AW2277867     200      100     7,900    10,700    7,800    9,100    5,967    35,800

100052283   010040618   MORROW COUNTY HOSPITAL             MOUNT GILEAD    OH   43338       HOSPITAL        AW2281804     100      400      200       100      500      200      250      1,500

100085768   010210260   MORROW COUNTY HOSP 340B            MOUNT GILEAD    OH   43338   PHS 340B HOSPITAL   AW2281804     200                                                    200       200

100054098   010044131   MARION GENERAL HOSP RX                MARION       OH   43302       HOSPITAL        AW2282161     700     1,300     200       600     1,080    1,120     833      5,000

100100691   010233999   MARION GENERAL HOSP 340B              MARION       OH   43302   PHS 340B HOSPITAL   AW2282161    1,000     900     1,600      300      500      240      757      4,540

100100692   010234005   MARION GENERAL HOSP WAC               MARION       OH   43302   PHS 340B HOSPITAL   AW2282161     100      500                800      500      380      456      2,280

100104024   010234799   MARION GENERAL HOSP EMP WAC           MARION       OH   43302   PHS 340B HOSPITAL   AW2282161                                          500               500       500

100101707   038109462   WALGREENS #07252            DSD     FORT COLLINS   CO   80526     WALGREENS         AW2284317   21,000   22,700   19,700    23,900   22,400   14,900   20,767   124,600

100098792   019174565   WALGREENS #05076            DSD       BERWYN       IL   60402     WALGREENS         AW2285408   35,900   40,600   39,100    41,300   36,500   33,100   37,750   226,500

100090641   019157651   WALGREENS #05076 340B                 BERWYN       IL   60402   PHS 340B HOSPITAL   AW2285408    1,500                                                  1,500     1,500

100099265   044218628   WALGREENS #04833            DSD     SAINT LOUIS    MO   63125     WALGREENS         AW2285472     100    18,000   22,200    25,400   30,000   16,800   18,750   112,500

100091491   044211011   WALGREENS #4833      340B           SAINT LOUIS    MO   63125       ALT SITE        AW2285472     500               500      1,000                       667      2,000

100102782   046053207   WALGREENS #05575            DSD      SARASOTA      FL   34233     WALGREENS         AW2290699     100      300    12,200    23,500   24,400   19,000   13,250    79,500

100087126   003090589   WALGREENS #217                       CONDADO       PR   00908     WALGREENS         AW2297706                       200                                  200       200

100059645   010101220   FT LOGAN HOSP, INC                   STANFORD      KY   40484       HOSPITAL        AW2298176     200      100      100                100      400      180       900

100063885   019000844   WOODLAWN HOSPITAL                   ROCHESTER      IN   46975       HOSPITAL        AW2299419     400      900      900       300     1,300     380      697      4,180

100084821   019139261   WOODLAWN HOSPITAL-EMPLOYEE          ROCHESTER      IN   46975       HOSPITAL        AW2299419     400      100                500                        333      1,000

100102663   046052589   WALGREENS #04167            DSD       NAPLES       FL   34108     WALGREENS         AW2306365     500      300     3,400     7,160    9,000    6,800    4,527    27,160

100102207   046049452   WALGREENS #12552            DSD    PORT ORANGE     FL   32129     WALGREENS         AW2306377     300      300     8,300    11,400   12,800   17,300    8,400    50,400

100066155   019143545   WAGNER PHARMACY              CPA       ALEDO       IL   61231     INDEPENDENT       AW2307886    1,600    2,100    2,600     5,800    1,000    1,500    2,433    14,600

100068324   021004846   WISE DRUG, INC.       CPA             HILL CITY    KS   67642     INDEPENDENT       AW2320276    7,000    6,200    7,500     7,700    7,200    7,200    7,133    42,800

100097431   044215491   WALGREENS #07689            DSD      NASHVILLE     TN   37206     WALGREENS         AW2320290   27,100   25,000   24,060    25,600   32,500   28,000   27,043   162,260
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100098755   019174193   WALGREENS #09217        DSD        LOMBARD       IL   60148     WALGREENS         AW2345254   16,700   17,100    15,400   16,100   15,800    9,500   15,100    90,600

100107657   019185629   WALGREENS #09217 340B              LOMBARD       IL   60148   PHS 340B HOSPITAL   AW2345254     500                                                    500       500

100100236   038108035   WALGREENS #03449        DSD        CYPRESS       TX   77429     WALGREENS         AW2347727     400     1,440    12,800   18,300   19,300    9,500   10,290    61,740

100100218   038107896   WALGREENS #07413        DSD         SPRING       TX   77379     WALGREENS         AW2347739     120      200      6,500    9,920   11,800    4,600    5,523    33,140

100103156   046055210   WALGREENS #06520        DSD      JENSEN BEACH    FL   34957     WALGREENS         AW2349098     700      400      4,000    9,200   11,700    9,300    5,883    35,300

100098201   021169367   WALGREENS #03252        DSD       DES MOINES     IA   50309     WALGREENS         AW2359544    6,000    6,000     4,500    7,000    5,000    5,000    5,583    33,500

100103132   046055061   WALGREENS #10741        DSD       FORT PIERCE    FL   34950     WALGREENS         AW2388242      -       100      4,800   12,400   14,600   11,300    7,200    43,200

100057192   052026823   WELLS PHCY         SF               LAUREL       MS   39440     INDEPENDENT       AW2421117   31,200   33,100    32,000   33,500   26,300   37,600   32,283   193,700

100056774   056012518   THE GETTYSBURG HOSPITAL PHARM     GETTYSBURG     PA   17325       HOSPITAL        AW2425432     500      600       300      600      320      160      413      2,480

100101199   046044685   WALGREENS #03778        DSD       CLEARWATER     FL   33765     WALGREENS         AW2442705    1,730     (300)    1,200   12,400   10,200    9,200    5,738    34,430

100099285   044218826   WALGREENS #10082        DSD      CREVE COEUR     MO   63141     WALGREENS         AW2471617     200    10,100    11,100   12,000   14,500    9,600    9,583    57,500

100059139   041055202   CARILION FRANKLIN MEMORIAL HSP   ROCKY MOUNT     VA   24151       HOSPITAL        AW2487329     500      400       300      400      600      400      433      2,600

100103133   020163386   WALGREENS #01279        DSD      ALBUQUERQUE     NM   87106     WALGREENS         AW2501319    9,900   10,800     9,600   10,700    9,500    7,000    9,583    57,500

100102387   046051219   WALGREENS #03471        DSD       CLEARWATER     FL   33756     WALGREENS         AW2508666              200      1,700   10,500   10,200    9,800    6,480    32,400

100102535   046051979   WALGREENS #04310        DSD      NEPTUNE BEACH   FL   32266     WALGREENS         AW2509240     200               4,200    8,500   12,100    8,600    6,720    33,600

100058089   044044305   W R B ENTERPRISES INC-GIBSONS      MAYFIELD      KY   42066     INDEPENDENT       AW2517728   28,600   27,200    19,500   30,100   42,800   27,200   29,233   175,400

100063230   025002105   WEST ACRES PHARMACY INC             FARGO        ND   58103     INDEPENDENT       AW2531247                        500                                 500       500

100101438   046045260   WALGREENS #03318        DSD          MIAMI       FL   33173     WALGREENS         AW2531843     500      600      2,300    7,930    7,430    7,400    4,360    26,160

100056665   056017970   WILLIAMS APOTHECARY               LANCASTER      PA   17602     INDEPENDENT       AW2558320                                          100               100       100

100101654   046046425   WALGREENS #03835        DSD          MIAMI       FL   33169     WALGREENS         AW2559170     200      200      1,400    4,500    5,800    5,100    2,867    17,200

100098563   025090456   WALGREENS #15983        DSD       MINNEAPOLIS    MN   55411     WALGREENS         AW2588664    7,500    6,600     6,500    7,100    7,000    2,100    6,133    36,800

100100221   038107920   WALGREENS #01267        DSD         SPRING       TX   77380     WALGREENS         AW2613974     600     3,500    27,500   49,200   25,500   34,200   23,417   140,500

100102848   046053504   WALGREENS #05691        DSD        INVERNESS     FL   34452     WALGREENS         AW2614041     300      200      4,300   39,230   25,100   36,000   17,522   105,130

100103159   046055228   WALGREENS #01412        DSD       HOLLYWOOD      FL   33021     WALGREENS         AW2621654     100      130      2,060    4,720    2,830    4,100    2,323    13,940

100103307   020164012   WALGREENS #05350        DSD        ROSWELL       NM   88201     WALGREENS         AW2630413   34,400   35,800    34,700   38,100   36,100   26,600   34,283   205,700

100098763   019174276   WALGREENS #06046        DSD         HILLSIDE     IL   60162     WALGREENS         AW2647533   11,200   11,300    11,900   11,800   12,700    9,900   11,467    68,800

100103754   008115931   WALGREENS #01283        DSD      SAN FRANCISCO   CA   94102     WALGREENS         AW2653310    3,100    3,100     3,500    2,700    3,000    3,000    3,067    18,400

100051808   010047407   WALTMIRE PHARMACY APSC            PITTSBURGH     PA   15212     INDEPENDENT       AW2655845    6,800   10,300     8,500    6,200   10,300    8,000    8,350    50,100

100097847   019169631   WALGREENS #04635        DSD      MICHIGAN CITY   IN   46360     WALGREENS         AW2665846   67,100   64,800    68,000   66,600   62,500   16,100   57,517   345,100

100097860   019169763   WALGREENS #12556        DSD          GARY        IN   46404     WALGREENS         AW2668258    7,400    7,600     9,100    8,800    7,000    7,000    7,817    46,900

100094824   010229377   WALGREENS #05196        DSD        FAIRFIELD     OH   45014     WALGREENS         AW2671988    9,800    9,300     7,500    9,600    8,700    3,700    8,100    48,600

100097923   044217257   WALGREENS #03223        DSD       CLARKSVILLE    IN   47129     WALGREENS         AW2678970    4,000   22,400    30,500   29,600   23,700   22,100   22,050   132,300

100097830   019169466   WALGREENS #07631        DSD      EAST CHICAGO    IN   46312     WALGREENS         AW2681434   17,300   16,500    17,100   16,400   16,900    8,900   15,517    93,100

100097906   019170225   WALGREENS #05940        DSD       FORT WAYNE     IN   46825     WALGREENS         AW2682587   10,700   10,400    10,500   13,600   14,200   11,100   11,750    70,500

100059962   023017814   KESSLER WELKIND REH HSP(SELECT     CHESTER       NJ   07930       HOSPITAL        AW2682804     200                200      100      280      160      188       940

100102399   046051276   WALGREENS #01407        DSD       CLEARWATER     FL   33761     WALGREENS         AW2682979     200      200      1,500    9,200   10,000    4,700    4,300    25,800

100099514   021171694   WALGREENS #04088        DSD         LINCOLN      NE   68504     WALGREENS         AW2691194   16,400   16,900    16,100   17,200   18,700   12,500   16,300    97,800

100097899   019170159   WALGREENS #03410        DSD       FORT WAYNE     IN   46806     WALGREENS         AW2692007   12,200   10,900    11,600   12,200    7,900   11,800   11,100    66,600

100097944   044217349   WALGREENS #03530        DSD        VINCENNES     IN   47591     WALGREENS         AW2694645   10,900   57,820    48,820   56,700   42,500   25,300   40,340   242,040

100098936   019177063   WALGREENS #01375        DSD        CHICAGO       IL   60610     WALGREENS         AW2699859    9,700    8,300     8,700    9,900   10,700    6,400    8,950    53,700

100098866   019175877   WALGREENS #12125        DSD         AURORA       IL   60505     WALGREENS         AW2703254   13,200   14,000    13,500   15,700   16,600   15,100   14,683    88,100

100057087   019051227   W S MAJOR HOSPITAL PHCY RD        SHELBYVILLE    IN   46176       HOSPITAL        AW2703874    1,200    2,600      900      600     2,800    3,100    1,867    11,200

100103134   008113753   WALGREENS #01403        DSD      SAN FRANCISCO   CA   94123     WALGREENS         AW2706882   12,300   12,440    11,900   12,000   12,800    6,400   11,307    67,840

100098146   019170829   WALGREENS #05315        DSD        MUSKEGON      MI   49441     WALGREENS         AW2724551   67,300   72,500    61,400   67,300   65,100   23,000   59,433   356,600
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100098624   025091058   WALGREENS #10187        DSD     MOORHEAD        MN   56560    WALGREENS        AW2729385   12,000   13,000   11,100   10,600   13,000    7,000   11,117    66,700

100098110   049193714   WALGREENS #15633        DSD    BATTLE CREEK     MI   49017    WALGREENS        AW2729739   44,600   46,800   41,500   44,100   50,200   34,800   43,667   262,000

100107805   049196410   WALGREENS #15633 340B          BATTLE CREEK     MI   49017   PHS 340B CLINIC   AW2729739                      1,500     500      500     1,000     875      3,500

100101225   046044958   WALGREENS #10204        DSD       NAPLES        FL   34103    WALGREENS        AW2743385      20      300     3,500    4,000    4,600    5,500    2,987    17,920

100100196   038107680   WALGREENS #07287        DSD       CONROE        TX   77301    WALGREENS        AW2756116     100      300    10,500   14,800   17,000    8,000    8,450    50,700

100101985   046047381   WALGREENS #01411        DSD     BOCA RATON      FL   33433    WALGREENS        AW2778566             1,030    4,200    7,400    5,100    6,100    4,766    23,830

100094493   023137596   WALGREENS #01013        DSD       BRONX         NY   10463    WALGREENS        AW2778871    3,400    1,400    2,600    3,000             2,400    2,560    12,800

100052298   010041061   WAYNE HOSPITAL COMPANY          GREENVILLE      OH   45331      HOSPITAL       AW2791994     800      500      500      800      240      560      567      3,400

100102498   046051797   WALGREENS #05327        DSD      LAKELAND       FL   33813    WALGREENS        AW2794952     300      300     2,600    9,100    9,700    8,300    5,050    30,300

100094647   010228593   WALGREENS #03807        DSD      CINCINNATI     OH   45248    WALGREENS        AW2795978   21,700   20,900   20,300   20,700   21,900   17,300   20,467   122,800

100103692   046055756   WALGREENS #05779        DSD       EUSTIS        FL   32726    WALGREENS        AW2796817     400      100    12,800   15,800    8,000   10,500    7,933    47,600

100098747   019174110   WALGREENS #04179        DSD       GENEVA        IL   60134    WALGREENS        AW2798291   20,400   23,100   19,000   17,800   20,500   17,400   19,700   118,200

100102940   046053983   WALGREENS #05414        DSD   NEW PORT RICHEY   FL   34654    WALGREENS        AW2801264     100              3,800   25,200   16,400    8,100   10,720    53,600

100054759   010044982   WHITE JOHN K       APSC          COLUMBUS       OH   43227    INDEPENDENT      AW2812293    3,500    4,600     800     7,100    8,200    6,500    5,117    30,700

100101859   046046995   WALGREENS #06403        DSD       WESTON        FL   33326    WALGREENS        AW2817748     100      400     2,300    4,620    5,100    1,800    2,387    14,320

100098600   025090829   WALGREENS #07126        DSD       DULUTH        MN   55807    WALGREENS        AW2819273   43,300   48,700   44,000   46,900   47,800   35,500   44,367   266,200

100094643   010228551   WALGREENS #00274        DSD      CINCINNATI     OH   45209    WALGREENS        AW2820303    8,000    9,100    8,500    9,300    9,300    5,000    8,200    49,200

100103407   008114587   WALGREENS #07326        DSD     LOS GATOS       CA   95030    WALGREENS        AW2829565   23,450   22,880   21,860   22,200   25,600   14,400   21,732   130,390

100094642   010228544   WALGREENS #00272        DSD      CINCINNATI     OH   45219    WALGREENS        AW2845230   13,300   16,600   13,100   14,100   12,700   12,600   13,733    82,400

100094661   010228734   WALGREENS #09775        DSD      CINCINNATI     OH   45202    WALGREENS        AW2857019    2,300    2,900    2,500    2,500    3,500    2,000    2,617    15,700

100064790   049041277   WOOD COUNTY HOSPITAL INC      BOWLING GREEN     OH   43402      HOSPITAL       AW2861993    1,200     900      800      800     1,140     600      907      5,440

100099531   021171868   WALGREENS #03716        DSD      KEARNEY        NE   68847    WALGREENS        AW2862806   20,100   21,500   19,300   21,900   20,100   15,100   19,667   118,000

100098652   019173161   WALGREENS #01438        DSD    BANNOCKBURN      IL   60015    WALGREENS        AW2877643    8,800    7,500    9,500    9,460    8,700    7,500    8,577    51,460

100094515   023137794   WALGREENS #01427        DSD      BROOKLYN       NY   11224    WALGREENS        AW2878429    1,100    3,500    2,600    1,500    3,000     600     2,050    12,300

100100190   038107631   WALGREENS #04161        DSD      HOUSTON        TX   77095    WALGREENS        AW2884321     400     2,140   19,800   35,530   22,300   19,100   16,545    99,270

100100237   038108043   WALGREENS #04901        DSD      CYPRESS        TX   77429    WALGREENS        AW2884333     100      100     5,300    7,100    8,900    2,500    4,000    24,000

100100109   038106989   WALGREENS #01582        DSD      HOUSTON        TX   77027    WALGREENS        AW2885018     520     1,020    4,900    4,300    3,300    4,500    3,090    18,540

100100104   038106930   WALGREENS #01583        DSD      HOUSTON        TX   77024    WALGREENS        AW2885044     920     1,000    6,200    7,500    3,000    2,500    3,520    21,120

100100147   038107300   WALGREENS #05085        DSD      HOUSTON        TX   77070    WALGREENS        AW2885056              700     8,100    9,900    5,900    5,200    5,960    29,800

100100166   038107458   WALGREENS #01580        DSD      HOUSTON        TX   77081    WALGREENS        AW2885068              100     4,200    6,900    2,600    2,100    3,180    15,900

100100098   038106872   WALGREENS #06619        DSD      HOUSTON        TX   77018    WALGREENS        AW2885070     500     1,500    8,400   13,600   10,500    3,800    6,383    38,300

100100096   038106856   WALGREENS #04647        DSD      HOUSTON        TX   77015    WALGREENS        AW2885082     100     1,800   14,100   21,540    8,100    6,500    8,690    52,140

100100092   038106815   WALGREENS #13786        DSD      HOUSTON        TX   77008    WALGREENS        AW2885094     500      300     5,600    9,800    4,400    6,500    4,517    27,100

100100162   038107417   WALGREENS #05094        DSD      HOUSTON        TX   77079    WALGREENS        AW2885107     400      900     8,400   12,700    9,800    6,100    6,383    38,300

100100153   037132274   WALGREENS #05390        DSD      HOUSTON        TX   77072    WALGREENS        AW2885119     500     1,040   10,940   16,000   10,000    9,600    8,013    48,080

100102537   020161943   WALGREENS #04018        DSD       GILBERT       AZ   85234    WALGREENS        AW2890627   10,840   10,620   10,120   10,110   10,620    7,380    9,948    59,690

100101454   046045419   WALGREENS #03932        DSD   POMPANO BEACH     FL   33060    WALGREENS        AW2895639     300      100    10,000   16,290   14,690   15,300    9,447    56,680

100097895   019170118   WALGREENS #03722        DSD     FORT WAYNE      IN   46803    WALGREENS        AW2897455   32,800   30,500   28,200   28,600   26,100   25,600   28,633   171,800

100097904   019170209   WALGREENS #02932        DSD     FORT WAYNE      IN   46816    WALGREENS        AW2897467   20,100   20,500   20,900   22,000   27,300   15,200   21,000   126,000

100102898   020162800   WALGREENS #04104        DSD       TUCSON        AZ   85705    WALGREENS        AW2905466    7,100    6,200    6,500    6,600    8,900    3,600    6,483    38,900

100102530   046051946   WALGREENS #04380        DSD     LAKE WALES      FL   33853    WALGREENS        AW2905517     200      300     4,600   21,300   12,900   20,300    9,933    59,600

100098732   019173963   WALGREENS #04502        DSD   CARPENTERSVILLE   IL   60110    WALGREENS        AW2911003   19,200   18,100   18,900   20,400   23,100   12,000   18,617   111,700

100098703   019173674   WALGREENS #15066        DSD       SKOKIE        IL   60076    WALGREENS        AW2911116   21,230   18,000   17,000   21,200   21,400   14,300   18,855   113,130

100103756   008115956   WALGREENS #01393        DSD    SAN FRANCISCO    CA   94112    WALGREENS        AW2915847    6,400    6,500    6,000    6,000    7,100    2,700    5,783    34,700
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100098851   019175273   WALGREENS #04532         DSD         PARK FOREST     IL   60466     WALGREENS         AW2919960   13,500   11,700   10,800   13,200   10,500    9,000   11,450    68,700

100099248   044218453   WALGREENS #06024         DSD          OVERLAND       MO   63114     WALGREENS         AW2925901            12,900   19,600   20,300   22,100   12,700   17,520    87,600

100102500   020161851   WALGREENS #03727         DSD          CHANDLER       AZ   85224     WALGREENS         AW2943618   23,700   22,230   19,860   20,730   21,000   18,900   21,070   126,420

100090243   010224519   MERCY HOSPITAL WILLARD                 WILLARD       OH   44890       HOSPITAL        AW2953950     400               600      600               600      550      2,200

100092873   044211821   STUDENT/EMPLOYEE HLTH SERVICES         ST LOUIS      MO   63110       HOSPITAL        AW2958342     100               100               200               133       400

100102899   046053751   WALGREENS #04289         DSD         SPRING HILL     FL   34606     WALGREENS         AW2963545     530      530     3,100   17,530   26,600   18,700   11,165    66,990

100102182   046049379   WALGREENS #01934         DSD          PLANT CITY     FL   33563     WALGREENS         AW2967846     500      120     2,400   12,300   11,800    9,600    6,120    36,720

100097929   044217315   WALGREENS #09854         DSD         NEW ALBANY      IN   47150     WALGREENS         AW2977102    8,200   47,000   53,980   64,000   43,200   31,700   41,347   248,080

100099060   019178301   WALGREENS #01249         DSD           CICERO        IL   60804     WALGREENS         AW2978849   22,600   23,300   20,400   23,900   15,900   14,600   20,117   120,700

100102381   020161588   WALGREENS #04344         DSD        CASA GRANDE      AZ   85122     WALGREENS         AW2981315   24,500   22,200   20,300   27,200   26,200   17,000   22,900   137,400

100097842   019169581   WALGREENS #04581         DSD           HOBART        IN   46342     WALGREENS         AW2985438   14,200   16,300   16,300   16,300   19,400   13,000   15,917    95,500

100101559   046046029   WALGREENS #04736         DSD        JACKSONVILLE     FL   32210     WALGREENS         AW2986163     200      900    17,800   18,400   20,500   19,500   12,883    77,300

100101947   046047282   WALGREENS #05067         DSD       WEST PALM BEACH   FL   33415     WALGREENS         AW2989133     100      100     4,700    7,100    6,700    6,300    4,167    25,000

100097715   044216812   WALGREENS #03756         DSD          LOUISVILLE     KY   40216     WALGREENS         AW2992863   13,000   57,800   39,100   65,900   46,100   29,000   41,817   250,900

100107560   044220855   *WALGREENS #03756 340B                LOUISVILLE     KY   40216   PHS 340B HOSPITAL   AW2992863                       500                                 500       500

100060142   010098731   PRATER DRUGS INC      APSC          SALYERSVILLE     KY   41465     INDEPENDENT       AW2993079   10,600   13,400   12,300    8,300   14,100   11,000   11,617    69,700

100094732   010229062   WALGREENS #13055         DSD         COVINGTON       KY   41015     WALGREENS         AW3009215    7,600    8,200    8,600    8,600    8,500    7,000    8,083    48,500

100059176   044041681   J R PHARMACY                           BENTON        KY   42025     INDEPENDENT       AW3010713   25,500   32,600   27,300   30,300   32,000   27,500   29,200   175,200

100097704   044216705   WALGREENS #06443         DSD          LOUISVILLE     KY   40204     WALGREENS         AW3011385    3,200   17,700   18,200   19,400   23,700   13,800   16,000    96,000

100097718   044216846   WALGREENS #12322         DSD          LOUISVILLE     KY   40217     WALGREENS         AW3012779    4,500   20,100   21,500   26,500   15,000   14,000   16,933   101,600

100056822   021037028   WAYNE COUNTY HOSPITAL                 CORYDON        IA   50060       HOSPITAL        AW3013252     100      200      250               200      360      222      1,110

100101165   021171991   WAYNE COUNTY HOSPITAL 340B            CORYDON        IA   50060       HOSPITAL        AW3013252                                200                        200       200

100097722   044216887   WALGREENS #05436         DSD          LOUISVILLE     KY   40220     WALGREENS         AW3016854    2,300   13,600   13,260   13,700   15,800   15,700   12,393    74,360

100095059   010231787   WALGREENS #16036      DSD             LEXINGTON      KY   40504     WALGREENS         AW3018884    3,030   18,100   17,500   19,300   20,500   10,800   14,872    89,230

100097713   044216796   WALGREENS #04216         DSD          LOUISVILLE     KY   40214     WALGREENS         AW3023241   13,700   53,920   53,660   58,260   45,700   17,100   40,390   242,340

100107565   044220905   *WALGREENS #04216 340B                LOUISVILLE     KY   40214   PHS 340B HOSPITAL   AW3023241              500                                          500       500

100058452   041032789   VA BEACH ABULATORY SURG CTRR58      VIRGINIA BEACH   VA   23454       HOSPITAL        AW3026590                                200                        200       200

100103010   046054361   WALGREENS #05018         DSD         MELBOURNE       FL   32905     WALGREENS         AW3028304     300      300     3,800    9,700    8,000    5,500    4,600    27,600

100095377   010232363   WALGREENS #07346         DSD          NEWPORT        KY   41071     WALGREENS         AW3028570   27,000   28,000   26,300   28,400   24,800   17,300   25,300   151,800

100060180   010100487   WHEELER PHARMACY INC        APSC      LEXINGTON      KY   40502     INDEPENDENT       AW3029433    4,500    4,600    5,200    4,300    4,900    4,000    4,583    27,500

100097725   044216911   WALGREENS #06437         DSD           LYNDON        KY   40222     WALGREENS         AW3031135    2,100   13,100   11,200   12,600   13,000    8,100   10,017    60,100

100097518   052221838   WALGREENS #03353         DSD          KNOXVILLE      TN   37914     WALGREENS         AW3036729   20,000   17,100   17,500   20,100   11,000   15,000   16,783   100,700

100102993   046054247   WALGREENS #04398         DSD           DUNEDIN       FL   34698     WALGREENS         AW3038723     600     1,960    3,400   26,660   23,000   23,400   13,170    79,020

100065243   049078774   WARE'S PHARMACY INC                    MASON         MI   48854     INDEPENDENT       AW3039054   20,600   22,000   21,900   44,900    3,800   12,800   21,000   126,000

100100486   018402917   WALGREENS #04761         DSD           AUSTIN        TX   78749     WALGREENS         AW3040526   10,220   36,000   33,300   31,030   28,900   23,500   27,158   162,950

100101526   046045856   WALGREENS #04441         DSD          HOLLY HILL     FL   32117     WALGREENS         AW3040855     100      800    15,300   16,800   24,000   20,000   12,833    77,000

100102494   046051763   WALGREENS #04700         DSD          LAKELAND       FL   33813     WALGREENS         AW3041162     200      300     1,200   10,100   10,200    8,300    5,050    30,300

100103029   046054486   WALGREENS #06486         DSD          KISSIMMEE      FL   34741     WALGREENS         AW3050414              100    12,000   13,900   14,500    9,600   10,020    50,100

100102423   046051417   WALGREENS #06803         DSD       BELLEAIR BLUFFS   FL   33770     WALGREENS         AW3050995     100     1,600    1,700   12,900   12,800   12,900    7,000    42,000

100101780   046046797   WALGREENS #10984         DSD          TAMARAC        FL   33309     WALGREENS         AW3051252     130      300     4,030    6,000    7,000    7,500    4,160    24,960

100102988   020163030   WALGREENS #07209         DSD           TUCSON        AZ   85741     WALGREENS         AW3058662   14,690   16,850   19,810   24,600   21,700   16,800   19,075   114,450

100102934   020162909   WALGREENS #04764         DSD           TUCSON        AZ   85712     WALGREENS         AW3058674   10,400   11,000   10,000    9,100   11,000   11,500   10,500    63,000

100099512   021171678   WALGREENS #01430         DSD           LINCOLN       NE   68502     WALGREENS         AW3062534   25,700   21,600   26,100   27,400   24,000   16,800   23,600   141,600

100099146   044217505   WALGREENS #15005         DSD         EAST ALTON      IL   62024     WALGREENS         AW3079313    9,000   11,300   12,200   14,500   18,500    9,100   12,433    74,600
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100103237   020163659   WALGREENS #09773       DSD        ALBUQUERQUE        NM   87123     WALGREENS         AW3084453   19,900   23,100    19,100   17,800   23,900   13,000   19,467      116,800

100094825   010229385   WALGREENS #07046       DSD          FAIRFIELD        OH   45014     WALGREENS         AW3094240   20,900   23,100    20,000   20,700   28,600   19,000   22,050      132,300

100097552   044215848   WALGREENS #03473       DSD           MEMPHIS         TN   38104     WALGREENS         AW3095773   25,880   30,810    23,200   26,450   27,300   20,400   25,673      154,040

100102228   046049510   WALGREENS #12724       DSD          PLANTATION       FL   33317     WALGREENS         AW3096840     330               5,190    9,350    7,130    3,800    5,160       25,800

100099114   019178798   WALGREENS #09508       DSD         WEST PEORIA       IL   61604     WALGREENS         AW3097208    5,600   23,320    27,240   26,000   24,600   23,000   21,627      129,760

100101578   038109082   WALGREENS #09567       DSD           DENVER          CO   80210     WALGREENS         AW3102364    5,700    6,700     6,000    6,200    5,400    5,300    5,883       35,300

100102027   046047548   WALGREENS #12808       DSD       DEERFIELD BEACH     FL   33441     WALGREENS         AW3118468     800      600      2,600    6,000    4,400    2,000    2,733       16,400

100100204   038107763   WALGREENS #05671       DSD          KINGWOOD         TX   77339     WALGREENS         AW3120285     730     1,320     8,460   11,130    5,700    7,300    5,773       34,640

100101532   046045880   WALGREENS #04526       DSD           ORLANDO         FL   32822     WALGREENS         AW3132963     200      200     11,700   16,900   12,300   13,700    9,167       55,000

100097750   044217125   WALGREENS #06104       DSD         HOPKINSVILLE      KY   42240     WALGREENS         AW3138307   22,800   20,200    19,600   19,300   20,600   13,500   19,333      116,000

100100492   018402974   WALGREENS #06861       DSD            AUSTIN         TX   78753     WALGREENS         AW3151355    5,000   21,800    18,400   18,900   13,600   12,200   14,983       89,900

100067562   049143537   VALUE DRUGS: SOUTH HAVEN CPA       SOUTH HAVEN       MI   49090     INDEPENDENT       AW3154399   39,100   19,000    25,500   40,500   12,500   26,800   27,233      163,400

100098813   019174771   WALGREENS #05386       DSD            JOLIET         IL   60432     WALGREENS         AW3155872   22,200   22,100    23,300   25,600   22,400   20,100   22,617      135,700

100068692   049179697   WEST SHORE MEDICAL CENTER-PHCY       MANISTEE        MI   49660       HOSPITAL        AW3156569     900     1,100     1,300     200     1,220    1,080     967         5,800

100103188   046055376   WALGREENS #04174       DSD          PALM CITY        FL   34990     WALGREENS         AW3157953     300      800     10,630   14,430   13,400   10,600    8,360       50,160

100102487   020161828   WALGREENS #03767       DSD            MESA           AZ   85213     WALGREENS         AW3164136   12,230   11,460    11,320   12,590   11,500    6,900   11,000       66,000

100076815   055043067   WAYNE MEMORIAL HOSPITAL            GOLDSBORO         NC   27534       HOSPITAL        AW3169617    1,700    2,000     1,600    1,200     260      720     1,247        7,480

100076351   055050054   WAYNE MEM HOSP(340B)               GOLDSBORO         NC   27534    PHS 340B CLINIC    AW3169617    1,500    1,500     1,600     800       80      560     1,007        6,040

100100667   055038083   WAYNE MEM HOSPITAL (WAC)           GOLDSBORO         NC   27534       HOSPITAL        AW3169617               30               1,400    2,720    1,320    1,368        5,470

100076350   055049122   WAYNE MEM HOSP (HOSP DEPTS)        GOLDSBORO         NC   27534       HOSPITAL        AW3169617     100      (100)                                          -            -

100097709   044216754   WALGREENS #12321       DSD          LOUISVILLE       KY   40208     WALGREENS         AW3174389    6,100   34,500    35,700   38,400   29,200   30,500   29,067      174,400

100100261   037132563   WALGREENS #04071       DSD        MISSOURI CITY      TX   77489     WALGREENS         AW3180205     900      800      3,600    7,400    7,800    2,600    3,850       23,100

100076169   055041574   WATAUGA MEDICAL CENTER INC            BOONE          NC   28607       HOSPITAL        AW3203128     950     1,100      800     1,050     980      800      947         5,680

100086232   055026625   WATAUGA MEDICAL CNTR INC (340B        BOONE          NC   28607   PHS 340B HOSPITAL   AW3203128      50       50                 50                             50      150

100099725   044219220   WALGREENS #05789       DSD        WEST MEMPHIS       AR   72301     WALGREENS         AW3210414   31,200   27,300    34,200   31,200   28,900   13,000   27,633      165,800

100099120   019178855   WALGREENS #05544       DSD        PEORIA HEIGHTS     IL   61616     WALGREENS         AW3214854    6,220   34,660    34,860   39,600   36,900   20,700   28,823      172,940

100099687   018397943   WALGREENS #10198       DSD          EL DORADO        AR   71730     WALGREENS         AW3220504   13,000   19,800    19,800   22,000   21,700    8,500   17,467      104,800

100103092   020163287   WALGREENS #05208       DSD       LAKE HAVASU CITY    AZ   86403     WALGREENS         AW3220869   37,930   36,100    36,900   38,600   42,600   30,800   37,155      222,930

100097837   019169532   WALGREENS #06691       DSD          HIGHLAND         IN   46322     WALGREENS         AW3220958   20,300   18,500    20,100   20,200   29,300   14,800   20,533      123,200

100099091   019178616   WALGREENS #03991       DSD         ROCK ISLAND       IL   61201     WALGREENS         AW3229209   13,000   13,600    14,400   13,800   10,700   12,000   12,917       77,500

100097521   052221861   WALGREENS #03798       DSD          KNOXVILLE        TN   37917     WALGREENS         AW3233296   39,600   42,700    37,000   43,600   35,100   28,500   37,750      226,500

100099440   021171090   WALGREENS #04782       DSD           TOPEKA          KS   66611     WALGREENS         AW3246370   12,700   17,000    18,300   24,700   24,200   14,000   18,483      110,900

100102950   020162941   WALGREENS #06766       DSD           TUCSON          AZ   85714     WALGREENS         AW3247699   23,400   18,900    19,800   20,900   20,500   11,800   19,217      115,300

100103185   020163527   WALGREENS #06587       DSD        ALBUQUERQUE        NM   87112     WALGREENS         AW3249035   20,300   21,160    18,060   22,230   19,000   14,200   19,158      114,950

100103121   020163352   WALGREENS #03997       DSD        ALBUQUERQUE        NM   87104     WALGREENS         AW3249047   11,100   16,400    12,500   13,000   12,500    6,000   11,917       71,500

100103304   020163998   WALGREENS #04950       DSD            CLOVIS         NM   88101     WALGREENS         AW3253589   30,700   32,000    30,800   33,700   32,000   20,500   29,950      179,700

100103344   008114348   WALGREENS #01536       DSD           OAKLAND         CA   94619     WALGREENS         AW3261447   23,200   24,500    19,900   20,600   23,800   17,500   21,583      129,500

100098545   025090274   WALGREENS #13853       DSD         MINNETONKA        MN   55345     WALGREENS         AW3289964    6,400    8,000     5,600    6,700    5,600    3,700    6,000       36,000

100090513   032144642   WESTERN STATE HOSPITAL               TACOMA          WA   98498       HOSPITAL        AW3308714              400       200      900                        500         1,500

100075059   038101220   COLORADO MENTAL HEALTH INST          PUEBLO          CO   81003       HOSPITAL        AW3361095     100      200       100      400      100               180          900

100050732   037073080   WEST FELICIANA PARISH HOSPITAL   SAINT FRANCISVILL   LA   70775       HOSPITAL        AW3385615                        100      100       80      160      110          440

100099547   037131029   WALGREENS #06637       DSD           HARVEY          LA   70058     WALGREENS         AW3417183     100     1,860     6,530    8,800    9,700    8,400    5,898       35,390

100099622   037131789   WALGREENS #03373       DSD        LAKE CHARLES       LA   70601     WALGREENS         AW3417210     600     1,980    12,900   24,200   16,100   14,000   11,630       69,780

100099623   037131797   WALGREENS #06219       DSD        LAKE CHARLES       LA   70601     WALGREENS         AW3417222     720     1,200    15,840   27,900   31,100   23,600   16,727      100,360
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100099572   037131276   WALGREENS #03024        DSD    NEW ORLEANS     LA   70126     WALGREENS         AW3417296     100     1,300    9,100   15,100   12,900   11,500    8,333    50,000

100099571   037131268   WALGREENS #04451        DSD    NEW ORLEANS     LA   70125     WALGREENS         AW3417311             1,000    8,900   15,400   14,000    8,600    9,580    47,900

100103210   008113944   WALGREENS #09248        DSD      ALAMEDA       CA   94501     WALGREENS         AW3476935   26,500   26,700   22,700   25,200   27,700   16,400   24,200   145,200

100102911   008113217   WALGREENS #00625        DSD      MILLBRAE      CA   94030     WALGREENS         AW3476959    8,900   10,700   10,900    9,000   11,000    6,700    9,533    57,200

100102919   008113233   WALGREENS #00689        DSD    MOUNTAIN VIEW   CA   94040     WALGREENS         AW3476961   24,700   28,500   23,900   27,800   23,400   18,500   24,467   146,800

100060126   041098236   SENTARA WILLIAMSBURG O/P RAE   WILLIAMSBURG    VA   23188       HOSPITAL        AW3511400    2,000    1,500    1,000    1,200    3,000    2,000    1,783    10,700

100058618   041066340   SENTARA WILLIAMSBURG REG I/P   WILLIAMSBURG    VA   23188       HOSPITAL        AW3511400    1,300    1,800    1,400    1,500    1,540    1,800    1,557     9,340

100099133   019178988   WALGREENS #04409        DSD     CHAMPAIGN      IL   61821     WALGREENS         AW3584922    5,700   29,500   32,900   32,700   29,300   29,200   26,550   159,300

100099174   019179085   WALGREENS #05388        DSD      DECATUR       IL   62526     WALGREENS         AW3584958    5,100   27,300   29,800   31,940   36,800   19,700   25,107   150,640

100109118   019186353   WALGREENS #05388 340B            DECATUR       IL   62526   PHS 340B HOSPITAL   AW3584958     100     1,000              500      500               525      2,100

100099113   019178780   WALGREENS #03181        DSD       PEORIA       IL   61604     WALGREENS         AW3584996    4,700   19,700   17,000   20,000   17,500   19,500   16,400    98,400

100099170   019179069   WALGREENS #15249        DSD       QUINCY       IL   62301     WALGREENS         AW3585013   14,200   55,300   49,600   63,700   47,400   30,000   43,367   260,200

100099192   044217893   WALGREENS #02071        DSD     SPRINGFIELD    IL   62704     WALGREENS         AW3585025    6,700   31,000   33,700   36,900   28,800   28,200   27,550   165,300

100098615   025090969   WALGREENS #03101        DSD     SAINT CLOUD    MN   56301     WALGREENS         AW3645035   18,300   19,830   17,130   22,090   18,700   11,700   17,958   107,750

100098501   025089821   WALGREENS #03665        DSD     SAINT PAUL     MN   55106     WALGREENS         AW3645061    6,500    6,500    7,000    7,600    7,500    4,000    6,517    39,100

100098498   025089797   WALGREENS #02355        DSD     SAINT PAUL     MN   55104     WALGREENS         AW3645097    4,700    4,600    4,000    5,000    5,000    3,000    4,383    26,300

100105886   025091686   WALGREENS #02355 340B           SAINT PAUL     MN   55104    PHS 340B CLINIC    AW3645097              500                                          500       500

100098561   025090431   WALGREENS #01737        DSD     MINNEAPOLIS    MN   55408     WALGREENS         AW3645100    4,500    4,500    3,000    4,100    5,100    1,700    3,817    22,900

100098497   025089789   WALGREENS #00866        DSD     SAINT PAUL     MN   55102     WALGREENS         AW3645112    5,500    6,800    6,200    5,700    6,200    3,200    5,600    33,600

100098542   025090241   WALGREENS #04260        DSD      HOPKINS       MN   55343     WALGREENS         AW3645124   11,600   11,600   12,200   11,200   11,700    8,000   11,050    66,300

100098573   025090555   WALGREENS #00828        DSD      RICHFIELD     MN   55423     WALGREENS         AW3645136   11,800   11,600   10,500    9,500   11,500    8,500   10,567    63,400

100098599   025090811   WALGREENS #13877        DSD       DULUTH       MN   55802     WALGREENS         AW3645150   43,300   43,700   45,800   42,500   42,500   30,000   41,300   247,800

100098606   025090878   WALGREENS #07290        DSD      MANKATO       MN   56001     WALGREENS         AW3645186   15,100   16,000   14,000   16,700   17,500   12,300   15,267    91,600

100083486   025065029   ESSENTIA HLTH NORTHERN PINES      AURORA       MN   55705       HOSPITAL        AW3656305             1,200     500      200                        633      1,900

100099130   019178954   WALGREENS #11368        DSD       URBANA       IL   61802     WALGREENS         AW3760471    2,800   15,100   14,600   18,000   17,000   10,800   13,050    78,300

100094323   021062372   OZARKS MEDICAL CENTER WAC       WEST PLAINS    MO   65775       HOSPITAL        AW3776551              800      800      300     1,440    1,280     924      4,620

100092387   021168088   OZARKS MEDICAL CTR              WEST PLAINS    MO   65775       HOSPITAL        AW3776551     900      700      500      300                        600      2,400

100092388   021168096   OZARKS MEDICAL CTR 340B         WEST PLAINS    MO   65775       HOSPITAL        AW3776551     600      200      500      400                        425      1,700

100099263   044218602   WALGREENS #00854        DSD     GREEN PARK     MO   63123     WALGREENS         AW3785081     100     9,800   16,600   15,200   17,100   11,800   11,767    70,600

100090794   044210682   WASHINGTON COUNTY HOSPITAL       NASHVILLE     IL   62263       HOSPITAL        AW3841601              100      150      150      180       80      132       660

100098814   019174789   WALGREENS #03929        DSD       JOLIET       IL   60435     WALGREENS         AW3870513   42,700   44,500   38,500   42,360   33,800   38,000   39,977   239,860

100101249   019179465   WALGREENS #11154        DSD       BERWYN       IL   60402     WALGREENS         AW3878444   26,300   28,200   27,800   26,900   16,600   26,800   25,433   152,600

100099039   019178095   WALGREENS #07515        DSD      CHICAGO       IL   60656     WALGREENS         AW3882532   15,780   16,260   15,720   16,750   21,800   10,700   16,168    97,010

100098949   019177196   WALGREENS #00162        DSD      CHICAGO       IL   60615     WALGREENS         AW3882544   19,200   14,300   18,200   17,300   16,000   10,300   15,883    95,300

100098982   019177527   WALGREENS #00163        DSD      CHICAGO       IL   60629     WALGREENS         AW3882568    9,700   10,200    9,500   10,700   11,900    6,200    9,700    58,200

100098956   019177261   WALGREENS #06238        DSD      CHICAGO       IL   60617     WALGREENS         AW3882633   11,500   10,400   13,300   10,600   13,700    8,400   11,317    67,900

100098983   019177535   WALGREENS #05034        DSD      CHICAGO       IL   60629     WALGREENS         AW3882645   11,100   11,000   11,800   13,100   10,900   11,500   11,567    69,400

100098976   019177469   WALGREENS #00194        DSD      CHICAGO       IL   60625     WALGREENS         AW3882671    9,600   11,500    9,800   10,700    9,100    7,300    9,667    58,000

100098955   019177253   WALGREENS #05192        DSD      CHICAGO       IL   60617     WALGREENS         AW3882758   12,600   13,000   11,500   14,900   10,500   14,700   12,867    77,200

100098964   019177345   WALGREENS #05124        DSD      CHICAGO       IL   60619     WALGREENS         AW3882772   21,100   19,200   21,400   19,300   18,500   18,000   19,583   117,500

100098932   019176990   WALGREENS #03074        DSD      CHICAGO       IL   60609     WALGREENS         AW3882861   14,500   15,600   13,200   14,200   16,900    9,100   13,917    83,500

100098938   019177089   WALGREENS #00211        DSD      CHICAGO       IL   60611     WALGREENS         AW3882974   12,100   14,200   11,200   12,930   14,100   10,200   12,455    74,730

100098953   019177238   WALGREENS #00147        DSD      CHICAGO       IL   60617     WALGREENS         AW3883053   11,300   10,600   12,300   13,300   10,900    7,700   11,017    66,100

100098951   019177212   WALGREENS #00232        DSD      CHICAGO       IL   60616     WALGREENS         AW3883077   17,300   20,400   18,500   23,900   14,400   16,500   18,500   111,000
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100098998   019177683   WALGREENS #02923        DSD          CHICAGO         IL   60637     WALGREENS         AW3883089    7,800    7,100    7,600    8,600    6,500    9,000    7,767    46,600

100101244   019179440   WALGREENS #03539        DSD          CHICAGO         IL   60619     WALGREENS         AW3883128   23,000   22,500   20,500   23,500   18,800   17,700   21,000   126,000

100098973   019177436   WALGREENS #00215        DSD          CHICAGO         IL   60623     WALGREENS         AW3883130    4,200    4,100    5,100    3,100    5,600    2,000    4,017    24,100

100098974   019177444   WALGREENS #00226        DSD          CHICAGO         IL   60623     WALGREENS         AW3883142    6,400    6,900    8,000    8,300    8,100    5,500    7,200    43,200

100101241   019179366   WALGREENS #00252        DSD          CHICAGO         IL   60645     WALGREENS         AW3883166   11,900   16,400   13,000   13,300   16,500    9,200   13,383    80,300

100098689   019173534   WALGREENS #00209        DSD        MT PROSPECT       IL   60056     WALGREENS         AW3883178   28,820   30,020   29,800   30,680   24,000   20,800   27,353   164,120

100098642   019173062   WALGREENS #00039        DSD      ARLINGTON HEIGHTS   IL   60004     WALGREENS         AW3883217   14,700   16,200   15,200   14,200   17,300   14,700   15,383    92,300

100098643   019173070   WALGREENS #09246        DSD      ARLINGTON HEIGHTS   IL   60004     WALGREENS         AW3883229   10,900   12,400   12,600   11,700   12,800    6,200   11,100    66,600

100098838   019175059   WALGREENS #00089        DSD         BRIDGEVIEW       IL   60455     WALGREENS         AW3883231   16,000   17,600   14,490   17,300   16,000   12,500   15,648    93,890

100098795   019174599   WALGREENS #03396        DSD         BLUE ISLAND      IL   60406     WALGREENS         AW3883243   14,400   12,800   15,300   14,400   12,400   10,600   13,317    79,900

100099062   019178327   WALGREENS #05103        DSD           CICERO         IL   60804     WALGREENS         AW3883255   22,800   24,300   23,630   22,600   25,100   22,600   23,505   141,030

100098646   019173104   WALGREENS #04438        DSD      ELK GROVE VILLAGE   IL   60007     WALGREENS         AW3883281   35,200   40,720   36,600   40,300   44,900   29,200   37,820   226,920

100099053   019178236   WALGREENS #16310        DSD       ELMWOOD PARK       IL   60707     WALGREENS         AW3883318   13,200   13,900   13,000   13,100   10,400    3,000   11,100    66,600

100098786   019174508   WALGREENS #02619        DSD          EVANSTON        IL   60201     WALGREENS         AW3883332    7,200    8,600    9,000    9,500    9,600    8,000    8,650    51,900

100098748   019174128   WALGREENS #05927        DSD         GLEN ELLYN       IL   60137     WALGREENS         AW3883356   17,800   20,100   23,200   19,200   21,300   18,600   20,033   120,200

100098656   019173203   WALGREENS #06601        DSD         DES PLAINES      IL   60016     WALGREENS         AW3883382   11,900   13,200   14,200   12,300   16,500    6,000   12,350    74,100

100099097   019178665   WALGREENS #03633        DSD           MOLINE         IL   61265     WALGREENS         AW3883394   30,900   30,400   30,400   28,430   20,000   26,560   27,782   166,690

100098761   019174250   WALGREENS #09600        DSD        MELROSE PARK      IL   60160     WALGREENS         AW3883407   17,100   17,200   15,700   19,300   16,900   15,600   16,967   101,800

100099067   019178376   WALGREENS #04142        DSD          KANKAKEE        IL   60901     WALGREENS         AW3883421   51,800   50,860   45,700   68,200   46,000   38,800   50,227   301,360

100098812   019174763   WALGREENS #09330        DSD         HOMEWOOD         IL   60430     WALGREENS         AW3883445   11,300   14,000   11,700   11,600   13,600    5,000   11,200    67,200

100098809   019174730   WALGREENS #04713        DSD          MARKHAM         IL   60428     WALGREENS         AW3883469   12,060   13,200    9,200   15,300    7,400   12,000   11,527    69,160

100098837   019175042   WALGREENS #05713        DSD          OAK LAWN        IL   60453     WALGREENS         AW3883483   47,700   46,500   41,700   51,500   36,900   45,000   44,883   269,300

100107636   019185413   WALGREENS #05713 340B                OAK LAWN        IL   60453   PHS 340B HOSPITAL   AW3883483              300     2,500              500              1,100     3,300

100098694   019173583   WALGREENS #12584        DSD        NORTHBROOK        IL   60062     WALGREENS         AW3883522   14,800   12,860   14,300   15,300    4,700   16,700   13,110    78,660

100099079   019178491   WALGREENS #03283        DSD         ROCKFORD         IL   61103     WALGREENS         AW3883558   28,600   29,600   28,600   24,500   31,300   24,000   27,767   166,600

100099081   019178517   WALGREENS #03322        DSD         ROCKFORD         IL   61104     WALGREENS         AW3883560   51,200   50,200   45,100   48,900   54,700   48,200   49,717   298,300

100098711   019173757   WALGREENS #03749        DSD         WAUKEGAN         IL   60087     WALGREENS         AW3883584   21,300   21,300   19,400   18,400   21,300   13,500   19,200   115,200

100098767   019174318   WALGREENS #00829        DSD        RIVER GROVE       IL   60171     WALGREENS         AW3883609   23,800   24,500   22,000   27,600   22,000   19,300   23,200   139,200

100098697   019173617   WALGREENS #01201        DSD         PARK RIDGE       IL   60068     WALGREENS         AW3883611   21,500   21,300   20,600   21,700   22,300   14,100   20,250   121,500

100099056   019178269   WALGREENS #02721        DSD            NILES         IL   60714     WALGREENS         AW3883623   20,600   21,600   21,400   22,200   23,500   16,700   21,000   126,000

100099100   019178699   WALGREENS #03009        DSD          OTTAWA          IL   61350     WALGREENS         AW3883635   32,700   34,800   33,600   32,600   33,900   21,700   31,550   189,300

100098791   019174557   WALGREENS #03076        DSD        RIVER FOREST      IL   60305     WALGREENS         AW3883647   14,200   12,600   16,300   13,800   13,800   11,900   13,767    82,600

100098898   019176651   WALGREENS #05384        DSD      WESTERN SPRINGS     IL   60558     WALGREENS         AW3883659   18,900   18,400   17,000   18,900   21,200   17,000   18,567   111,400

100098708   019173724   WALGREENS #03078        DSD         WAUKEGAN         IL   60085     WALGREENS         AW3883661   24,400   25,900   27,700   28,300   21,900   19,100   24,550   147,300

100098776   019174409   WALGREENS #04252        DSD         VILLA PARK       IL   60181     WALGREENS         AW3883673   20,400   23,000   22,900   21,900   21,700   17,000   21,150   126,900

100091953   019158915   WALGREENS #04252 340B               VILLA PARK       IL   60181       HOSPITAL        AW3883673    1,000                                                 1,000     1,000

100098745   019174094   WALGREENS #03729        DSD        HANOVER PARK      IL   60133     WALGREENS         AW3896670   28,500   29,800   28,200   31,400   29,800   26,900   29,100   174,600

100098899   019176669   WALGREENS #05275        DSD         WESTMONT         IL   60559     WALGREENS         AW3903449   23,500   24,700   24,220   27,230   27,400   23,900   25,158   150,950

100091914   019158741   WALGREENS #05275    340B            WESTMONT         IL   60559       HOSPITAL        AW3903449     100                        500                        300       600

100109960   019187328   AURORA WEST ALLIS MED CTR WAC       WEST ALLIS       WI   53227       HOSPITAL        AW3921322             1,300    1,600    2,200    2,800     800     1,740     8,700

100063893   019007039   W ALLIS MEMORIAL HOSP INC (I/P      WEST ALLIS       WI   53227       HOSPITAL        AW3921322    1,700     800      100                                 867      2,600

100109978   019187351   AWAMC 340B                          WEST ALLIS       WI   53227   PHS 340B HOSPITAL   AW3921322              300      400      300                        333      1,000

100098322   019171660   WALGREENS #00649        DSD         MILWAUKEE        WI   53207     WALGREENS         AW3934064   27,300   29,800   25,400   29,500   25,600   15,500   25,517   153,100

100107188   019184879   WALGREENS #00649 340B               MILWAUKEE        WI   53207   PHS 340B HOSPITAL   AW3934064     500              1,000                                750      1,500
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100094333   019162966   WALGREENS #00649 340B              MILWAUKEE         WI   53207   PHS 340B HOSPITAL   AW3934064              500                                            500       500

100104340   019181313   WALGREENS #00649 AHC 340B 100      MILWAUKEE         WI   53207   PHS 340B HOSPITAL   AW3934064                        100                                  100       100

100098361   019172056   WALGREENS #00665        DSD        MILWAUKEE         WI   53233     WALGREENS         AW3934115    3,600    4,000     3,500    5,100     6,200    1,600    4,000    24,000

100098308   019171520   WALGREENS #03732        DSD     SOUTH MILWAUKEE      WI   53172     WALGREENS         AW3934141   21,900   25,000    21,500   24,000    22,200   15,700   21,717   130,300

100062483   021000240   WRIGHT MEMORIAL HOSPITAL             TRENTON         MO   64683       HOSPITAL        AW3943405     500      300       300      700       400      300      417      2,500

100086330   021161406   WRIGHT MEMORIAL HOSPITAL 340B        TRENTON         MO   64683   PHS 340B HOSPITAL   AW3943405     100                                                     100       100

100099229   044218263   WALGREENS #04867        DSD        FLORISSANT        MO   63033     WALGREENS         AW3970705             6,530    12,400   13,400    15,100    9,600   11,406    57,030

100099280   044218776   WALGREENS #02994        DSD         JENNINGS         MO   63136     WALGREENS         AW3970717     200    11,100    18,800   20,800    20,100   16,400   14,567    87,400

100099278   044218750   WALGREENS #11350        DSD     COUNTRY CLUB HILLS   MO   63136     WALGREENS         AW3970729             5,500     6,200    7,500     9,000    3,500    6,340    31,700

100099244   044218412   WALGREENS #06755        DSD        SAINT LOUIS       MO   63109     WALGREENS         AW3970781     100    13,200    23,100   22,800    24,300   14,900   16,400    98,400

100099260   044218578   WALGREENS #06254        DSD        SAINT LOUIS       MO   63121     WALGREENS         AW3970793             8,700    11,100   11,100    11,000    6,400    9,660    48,300

100099518   021171736   WALGREENS #00541        DSD          LINCOLN         NE   68508     WALGREENS         AW3981392    2,500    1,500     2,500    2,700     3,200    1,100    2,250    13,500

100099498   021171538   WALGREENS #05143        DSD          OMAHA           NE   68132     WALGREENS         AW3981431    9,200    9,200     7,500    9,500    11,500    7,500    9,067    54,400

100101236   021172056   WALGREENS #15237        DSD          OMAHA           NE   68104     WALGREENS         AW3981443   13,100   13,600    13,500   14,600    13,800    9,700   13,050    78,300

100067335   021003160   WAGONER PHARMACY                  GRAND ISLAND       NE   68803     INDEPENDENT       AW3983360     500                500               1,000              667      2,000

100067333   021003137   WELLS HEALTHMART        SF           ALBION          NE   68620     INDEPENDENT       AW3986695    2,500    4,600     3,300    2,400     7,800    9,500    5,017    30,100

100090829   021167643   WELLS HEALTHMART DRUG 340B           ALBION          NE   68620   PHS 340B HOSPITAL   AW3986695    5,200    4,600     8,400    3,200                       5,350    21,400

100099493   021171488   WALGREENS #04443        DSD          OMAHA           NE   68124     WALGREENS         AW3986873   13,300   11,900    11,800   12,200    13,100   10,500   12,133    72,800

100099500   021171553   WALGREENS #03621        DSD          OMAHA           NE   68134     WALGREENS         AW3987421   24,500   20,300    21,200   23,600    25,200   15,000   21,633   129,800

100099532   021171876   WALGREENS #03269        DSD         HASTINGS         NE   68901     WALGREENS         AW3988613   20,900   19,700    18,500   20,500    19,900   13,400   18,817   112,900

100056823   021037051   WOODWARD RESOURCE CENTER           WOODWARD          IA   50276       HOSPITAL        AW4016235              100       500      (500)                        33       100

100098248   019170936   WALGREENS #06553        DSD        BETTENDORF        IA   52722     WALGREENS         AW4021010   10,100    9,100     9,100   10,600    12,000   10,500   10,233    61,400

100098213   021169482   WALGREENS #04973        DSD        URBANDALE         IA   50322     WALGREENS         AW4032013   16,700   18,100    16,840   17,700    23,500   10,100   17,157   102,940

100098224   021169581   WALGREENS #00910        DSD         SIOUX CITY       IA   51101     WALGREENS         AW4034752   26,000   28,400    25,100   24,400    26,200   16,500   24,433   146,600

100098217   021169516   WALGREENS #05361        DSD        FORT DODGE        IA   50501     WALGREENS         AW4036756   17,000   17,000    16,600   16,500    18,000   11,500   16,100    96,600

100110972   021001795   SOUTH SIDE DRUG, INC    CPA         OTTUMWA          IA   52501     INDEPENDENT       AW4041252                                         18,500   10,000   14,250    28,500

100098252   019170969   WALGREENS #11709        DSD        DAVENPORT         IA   52803     WALGREENS         AW4043232   13,600   14,500    13,000   16,100    15,100   10,500   13,800    82,800

100098207   021169425   WALGREENS #00359        DSD        DES MOINES        IA   50317     WALGREENS         AW4044056   48,800   50,500    43,000   46,100    48,100   30,400   44,483   266,900

100098233   019170910   WALGREENS #09708        DSD         DUBUQUE          IA   52002     WALGREENS         AW4046959   20,600   20,000    19,900   20,100    19,900   11,400   18,650   111,900

100098653   019173179   WALGREENS #05045        DSD         DEERFIELD        IL   60015     WALGREENS         AW4077613   22,300   22,330    20,930   23,100    20,400   23,000   22,010   132,060

100098678   019173427   WALGREENS #00528        DSD        LAKE FOREST       IL   60045     WALGREENS         AW4077625    5,680    6,620     5,320    7,050     5,300    4,240    5,702    34,210

100099282   044218792   WALGREENS #04824        DSD        SAINT LOUIS       MO   63138     WALGREENS         AW4131188     300    12,100    21,800   18,300    21,900   13,900   14,717    88,300

100099230   044218271   WALGREENS #01633        DSD        HAZELWOOD         MO   63042     WALGREENS         AW4131607     100     7,100     8,600   13,300    11,200    6,200    7,750    46,500

100102002   046047456   WALGREENS #00074        DSD      BOYNTON BEACH       FL   33435     WALGREENS         AW4136594     200      140      4,530    8,760     7,900    7,300    4,805    28,830

100098251   021169789   WALGREENS #05885        DSD         MUSCATINE        IA   52761     WALGREENS         AW4161496   15,000   16,300    15,000   15,600    16,500    8,000   14,400    86,400

100097832   019169482   WALGREENS #04241        DSD          GRIFFITH        IN   46319     WALGREENS         AW4168008   11,700   11,400    11,100   12,800    14,400   13,800   12,533    75,200

100061353   019301358   WILD ROSE COMMUNITY MEMORIAL        WILD ROSE        WI   54984       HOSPITAL        AW4173720     200      100       100      150       500               210      1,050

100100106   038106955   WALGREENS #04328        DSD         HOUSTON          TX   77025     WALGREENS         AW4174253    1,440      (60)    6,900    7,200     6,300    5,600    4,563    27,380

100087109   003090266   WALGREENS #00055                    GUAYNABO         PR   00969     WALGREENS         AW4195966              100       400      700                         400      1,200

100096329   018397398   WOODY WEAVER PHARMACY                 TYLER          TX   75702     INDEPENDENT       AW4236611   19,500   26,600    28,400   21,700    27,600   14,300   23,017   138,100

100101706   046046581   WALGREENS #00748        DSD        NORTH MIAMI       FL   33181     WALGREENS         AW4241725     800     1,700     2,500    6,600     5,660    5,000    3,710    22,260

100103514   008115840   WALGREENS #00993        DSD         YUBA CITY        CA   95991     WALGREENS         AW4300517   50,200   54,900    48,900   50,800    41,200   43,000   48,167   289,000

100099008   019177782   WALGREENS #09470        DSD          CHICAGO         IL   60639     WALGREENS         AW4300529    7,600    8,600     9,000    8,600    10,100    8,000    8,650    51,900

100099031   019178012   WALGREENS #10350        DSD          CHICAGO         IL   60649     WALGREENS         AW4300543   13,600   15,000    17,800   18,200    11,700   10,100   14,400    86,400
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100099254   044218511   WALGREENS #07144        DSD      SAINT LOUIS     MO   63116    WALGREENS        AW4304692     200     9,900   10,200    10,000   14,500    6,000    8,467    50,800

100091490   044211029   WALGREENS #7144 340B               ST LOUIS      MO   63116   PHS 340B CLINIC   AW4304692     500                                                    500       500

100103968   037133397   WALTER BIRDSALL PHCY     SF        CUT OFF       LA   70345    INDEPENDENT      AW4304731             1,000     (700)    5,400    3,000             2,175     8,700

100100314   038108522   WALGREENS #03507        DSD     PORT NECHES      TX   77651    WALGREENS        AW4312029     500     1,800   12,500    24,300   13,500    8,100   10,117    60,700

100102257   020161273   WALGREENS #03120        DSD        PHOENIX       AZ   85028    WALGREENS        AW4328375   12,700   12,200   10,400    12,600   11,700    9,700   11,550    69,300

100098147   019170837   WALGREENS #04835        DSD       MUSKEGON       MI   49442    WALGREENS        AW4338592   43,600   45,700   46,500    47,000   50,000    7,000   39,967   239,800

100102545   046052027   WALGREENS #04005        DSD     WINTER HAVEN     FL   33880    WALGREENS        AW4380995     100      200     4,000    22,700   20,900   17,300   10,867    65,200

100099142   044217455   WALGREENS #05444        DSD       MATTOON        IL   61938    WALGREENS        AW4395326    8,400   38,600   38,800    43,300   41,600   27,100   32,967   197,800

100101505   038108787   WALGREENS #04307        DSD        AURORA        CO   80012    WALGREENS        AW4553649   19,100   18,400   18,100    21,300   22,200   11,200   18,383   110,300

100101403   008112243   WALGREENS #00101        DSD     CASTRO VALLEY    CA   94546    WALGREENS        AW4571457   37,600   38,600   34,200    37,760   43,600   39,300   38,510   231,060

100100133   038107169   WALGREENS #05035        DSD       HOUSTON        TX   77061    WALGREENS        AW4605955     100     1,040    9,700    14,200    7,100    2,100    5,707    34,240

100098821   019174854   WALGREENS #04948        DSD     BOLINGBROOK      IL   60440    WALGREENS        AW4643549   21,900   26,400   26,400    26,700   26,700   22,400   25,083   150,500

100098778   019174425   WALGREENS #07419        DSD       WHEATON        IL   60187    WALGREENS        AW4674176   10,500   11,500    9,400     8,400    9,900    9,600    9,883    59,300

100101887   046047076   WALGREENS #04810        DSD     OAKLAND PARK     FL   33334    WALGREENS        AW4684064     300      800     9,500    14,600   12,700   11,000    8,150    48,900

100102555   046052076   WALGREENS #03430        DSD      TALLAHASSEE     FL   32303    WALGREENS        AW4713461     100       -      3,500     5,500    7,700    8,100    4,150    24,900

100087144   003090944   WALGREENS #00403                   CAGUAS        PR   00725    WALGREENS        AW4737081              100                200                        150       300

100098588   025090704   WALGREENS #03832        DSD    BROOKLYN PARK     MN   55443    WALGREENS        AW4798142   11,800   10,300   13,200    10,600    9,700    7,100   10,450    62,700

100107099   025091876   WALGREENS #03832 340B          BROOKLYN PARK     MN   55443   PHS 340B CLINIC   AW4798142              500      100                500               367      1,100

100103448   008114868   WALGREENS #00842        DSD       SAN JOSE       CA   95133    WALGREENS        AW4808335   20,500   19,500   16,600    20,700   17,900   16,800   18,667   112,000

100099443   021171124   WALGREENS #04557        DSD        TOPEKA        KS   66614    WALGREENS        AW4841931   11,200   12,900   14,600    17,000   16,000    7,000   13,117    78,700

100077060   055051003   WAYNE PHARMACY                   GOLDSBORO       NC   27534    INDEPENDENT      AW4853986                                         7,040             7,040     7,040

100099478   021171330   WALGREENS #03694        DSD       BELLEVUE       NE   68005    WALGREENS        AW4958510   22,600   22,200   24,100    24,600   20,800   16,700   21,833   131,000

100098228   021169623   WALGREENS #04405        DSD    COUNCIL BLUFFS    IA   51501    WALGREENS        AW4980707   38,600   34,900   31,700    39,100   35,400   26,200   34,317   205,900

100056075   046009142   WISE'S PARKWOOD PHARMACY INC     GAINESVILLE     FL   32607    INDEPENDENT      AW4983880    2,400    3,100    2,900     2,200    3,600    4,500    3,117    18,700

100103170   008113845   WALGREENS #00893        DSD     SAN FRANCISCO    CA   94133    WALGREENS        AW5016236    5,400    7,100    5,200     7,300    4,300    3,100    5,400    32,400

100094664   010228767   WALGREENS #11630        DSD       CINCINNATI     OH   45231    WALGREENS        AW5016387   22,060   23,660   19,360    22,300   18,700   19,260   20,890   125,340

100097406   044215244   WALGREENS #03599        DSD       MADISON        TN   37115    WALGREENS        AW5040592   25,640   25,200   26,500    26,000   24,500   27,000   25,807   154,840

100099256   044218537   WALGREENS #03686        DSD      SAINT LOUIS     MO   63118    WALGREENS        AW5064061     100     8,100   11,500    14,000   12,500   10,900    9,517    57,100

100098234   021169656   WALGREENS #05077        DSD       IOWA CITY      IA   52240    WALGREENS        AW5081257   13,200   14,900   12,200    15,200   15,200   11,200   13,650    81,900

100101467   046045484   WALGREENS #03893        DSD    DAYTONA BEACH     FL   32119    WALGREENS        AW5084695     200      400     4,500     8,100   15,000   14,500    7,117    42,700

100099507   021171629   WALGREENS #07272        DSD        OMAHA         NE   68144    WALGREENS        AW5093911   16,900   14,800   15,000    18,500   23,000   12,000   16,700   100,200

100098766   019174300   WALGREENS #06760        DSD    HOFFMAN ESTATES   IL   60169    WALGREENS        AW5096082   21,800   21,600   20,290    20,930   24,200   14,500   20,553   123,320

100101734   020160184   WALGREENS #05892        DSD        TUCSON        AZ   85711    WALGREENS        AW5115755   17,900   16,600   17,700    15,800   17,700   10,900   16,100    96,600

100102917   020162859   WALGREENS #04102        DSD        TUCSON        AZ   85710    WALGREENS        AW5115767   15,900   17,300   15,100    18,200   14,100   13,800   15,733    94,400

100102894   020162792   WALGREENS #02451        DSD        TUCSON        AZ   85705    WALGREENS        AW5115779   11,330   12,200   10,200    12,900   12,900   11,100   11,772    70,630

100102630   020162164   WALGREENS #01197        DSD        TEMPE         AZ   85282    WALGREENS        AW5116404   18,900   18,600   17,700    18,900   17,900    9,600   16,933   101,600

100102353   020161513   WALGREENS #05504        DSD        PHOENIX       AZ   85051    WALGREENS        AW5120237   17,900   19,200   20,000    21,000   24,300   12,900   19,217   115,300

100103728   020164640   WALGREENS #05505        DSD        PHOENIX       AZ   85019    WALGREENS        AW5120249    8,200    8,770    6,700    11,200   11,200    7,700    8,962    53,770

100065168   019004267   WABASH VALLEY ALLIANCE         WEST LAFAYETTE    IN   47906      HOSPITAL       AW5138830     200      100      200       300                        200       800

100098209   021169441   WALGREENS #05721        DSD      DES MOINES      IA   50320    WALGREENS        AW5151434   41,700   39,100   50,500    45,700   40,900   30,300   41,367   248,200

100094649   010228619   WALGREENS #04245        DSD       CINCINNATI     OH   45247    WALGREENS        AW5169176   26,500   24,500   24,700    22,200   23,200   15,900   22,833   137,000

100098195   021169300   WALGREENS #03196        DSD    MARSHALLTOWN      IA   50158    WALGREENS        AW5174658   12,000   11,700   11,500    11,600   12,800    8,600   11,367    68,200

100098571   025090530   WALGREENS #00430        DSD     GOLDEN VALLEY    MN   55422    WALGREENS        AW5188859    6,200    9,200    9,100     9,500    9,400    5,830    8,205    49,230

100103110   008113696   WALGREENS #00896        DSD     SAN FRANCISCO    CA   94118    WALGREENS        AW5228716    9,400   10,600    9,500    10,100    9,500    6,700    9,300    55,800
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100101509   038108803   WALGREENS #06883      DSD          WHEAT RIDGE      CO   80033      WALGREENS         AW5261437    7,400    9,730    9,600    8,500    9,100    7,900    8,705    52,230

100098695   019173591   WALGREENS #04355      DSD            PALATINE       IL   60067      WALGREENS         AW5273622   15,700   14,900   12,700   17,300   17,200   14,600   15,400    92,400

100098701   019173658   WALGREENS #04940      DSD        ROUND LAKE BEACH   IL   60073      WALGREENS         AW5301344   43,200   51,000   41,000   46,000   45,500   30,700   42,900   257,400

100099109   019178749   WALGREENS #04732      DSD             PEKIN         IL   61554      WALGREENS         AW5310874   10,300   50,100   47,200   58,600   43,700   39,600   41,583   249,500

100103447   008114850   WALGREENS #00900      DSD            SAN JOSE       CA   95132      WALGREENS         AW5316650    9,200    9,900    9,900   10,600    9,000    5,900    9,083    54,500

100087132   003090688   WALGREENS #00314                   HORMIGUEROS      PR   00660      WALGREENS         AW5318111                       100      100                        100       200

100055400   018037507   WILFORD HALL MED CNTR/HSLS         LACKLAND AFB     TX   78236   HOSPITAL (FEDERAL)   AW5333303   51,200   58,400   50,500   40,300   30,200   20,300   41,817   250,900

100099077   019178475   WALGREENS #03559      DSD            STERLING       IL   61081      WALGREENS         AW5392763   19,200   19,900   19,800   17,800   17,700   17,100   18,583   111,500

100097525   052221903   WALGREENS #05483      DSD           KNOXVILLE       TN   37919      WALGREENS         AW5402627   11,100   12,620   10,300   11,300    9,900    7,500   10,453    62,720

100074845   055042200   WAKEMED CARY HOSPITAL                  CARY         NC   27518       HOSPITAL         AW5411638    1,000    1,000    1,900    1,400    2,020    1,700    1,503     9,020

100102246   020161257   WALGREENS #03593      DSD            PHOENIX        AZ   85023      WALGREENS         AW5416361   16,400   17,300   15,400   14,560   15,100   18,900   16,277    97,660

100101439   046045278   WALGREENS #03332      DSD           SARASOTA        FL   34233      WALGREENS         AW5430943     500      800    13,800   21,200   19,300   13,100   11,450    68,700

100097863   019169797   WALGREENS #06906      DSD          MERRILLVILLE     IN   46410      WALGREENS         AW5432492   26,900   26,800   26,500   26,900   29,500   30,100   27,783   166,700

100100381   018402222   WALGREENS #04552      DSD          SAN ANTONIO      TX   78237      WALGREENS         AW5436894     800     2,000   33,800   63,600   39,700   25,600   27,583   165,500

100103157   020163444   WALGREENS #05997      DSD          ALBUQUERQUE      NM   87110      WALGREENS         AW5455440   10,220   11,160   10,340   11,800   11,100    5,700   10,053    60,320

100103268   020163758   WALGREENS #02900      DSD            SANTA FE       NM   87505      WALGREENS         AW5455452   15,560   16,120   14,600   16,300   15,800   14,000   15,397    92,380

100102254   046049627   WALGREENS #02818      DSD             TAMPA         FL   33612      WALGREENS         AW5465403     200              2,400   12,300    9,900    8,900    6,740    33,700

100087165   003091421   WALGREENS #00967                      YAUCO         PR   00698      WALGREENS         AW5484314              100                                          100       100

100102777   020162511   WALGREENS #05568      DSD            SUN CITY       AZ   85351      WALGREENS         AW5506968    9,600   11,600    8,400   10,100   11,800   10,500   10,333    62,000

100098759   019174235   WALGREENS #05149      DSD           BROADVIEW       IL   60155      WALGREENS         AW5514383   10,100    7,860   10,000    8,100    9,500    8,500    9,010    54,060

100098254   019170985   WALGREENS #03595      DSD           DAVENPORT       IA   52806      WALGREENS         AW5535402   21,700   21,900   19,800   23,100   25,100   15,000   21,100   126,600

100102880   008113134   WALGREENS #00063      DSD            BELMONT        CA   94002      WALGREENS         AW5541708    9,900    9,600    9,600   10,400   11,900    2,600    9,000    54,000

100056661   056017863   WEST JERSEY HOSP -BERLIN (PFQ)        BERLIN        NJ   08009       HOSPITAL         AW5547596     100      200      100                                 133       400

100074115   055049353   MASHBURN MED CTR PHCY(340B)         MARSHALL        NC   28753    PHS 340B CLINIC     AW5595066    2,500    2,500    1,900    1,900    2,200    1,700    2,117    12,700

100056660   056017848   VIRTUA WEST JERSEY HOSP(PFQ)        VOORHEES        NJ   08043       HOSPITAL         AW5638424     800     1,100     900      800     1,000     800      900      5,400

100055207   041007450   WINDSOR PHARMACY, INC.RAA(GNP)       WINDSOR        VA   23487     INDEPENDENT        AW5654810    9,700   11,400   10,600    9,000    9,800    8,200    9,783    58,700

100099578   037131334   WALGREENS #03889      DSD          NEW ORLEANS      LA   70131      WALGREENS         AW5700667    1,000    1,500   13,900   24,600   21,300   17,100   13,233    79,400

100102974   020163006   WALGREENS #10879      DSD            TUCSON         AZ   85730      WALGREENS         AW5722396   29,700   25,980   25,300   29,690   26,800   23,500   26,828   160,970

100102930   020162891   WALGREENS #04045      DSD            TUCSON         AZ   85712      WALGREENS         AW5732119   21,400   23,800   20,400   22,400   25,100   18,400   21,917   131,500

100094868   010229476   WALGREENS #12891      DSD           FT WRIGHT       KY   41011      WALGREENS         AW5744075    7,600   11,030    8,000    8,060    9,400    6,760    8,475    50,850

100102773   020162503   WALGREENS #00813      DSD            SUN CITY       AZ   85351      WALGREENS         AW5745255   11,800   10,700   10,600   13,300   15,300    8,400   11,683    70,100

100097719   044216853   WALGREENS #04194      DSD           LOUISVILLE      KY   40218      WALGREENS         AW5747083    8,800   33,500   37,600   39,000   28,500   22,700   28,350   170,100

100098842   019175125   WALGREENS #05684      DSD          HICKORY HILLS    IL   60457      WALGREENS         AW5753632   14,560   15,900   14,700   15,400   17,940   14,000   15,417    92,500

100098858   019175711   WALGREENS #04743      DSD          TINLEY PARK      IL   60477      WALGREENS         AW5764267   22,500   23,700   26,600   24,800   23,200   21,500   23,717   142,300

100074290   010123372   WAYNE COUNTY HOSPITAL              MONTICELLO       KY   42633       HOSPITAL         AW5773557     300      400     1,800     200                        675      2,700

100072194   018091256   *WALLING'S PHCY      SF             GRAPELAND       TX   75844     INDEPENDENT        AW5874765    4,700    4,500    3,100                               4,100    12,300

100099098   019178673   WALGREENS #05720      DSD             MOLINE        IL   61265      WALGREENS         AW5918593   13,200   14,800   12,100   13,000   13,400   12,200   13,117    78,700

100073174   055090050   WOMACK A.M.C INSTALL MED SUPP      FORT BRAGG       NC   28310   HOSPITAL (FEDERAL)   AW5922186                       600                                 600       600

100098803   019174672   WALGREENS #06332      DSD            DOLTON         IL   60419      WALGREENS         AW5999733    9,900    9,300   10,500   13,000   14,500    7,100   10,717    64,300

100101466   046045476   WALGREENS #04120      DSD         POMPANO BEACH     FL   33064      WALGREENS         AW6019675              100     7,400   12,700    9,500    8,900    7,720    38,600

100103196   046055418   WALGREENS #03828      DSD             STUART        FL   34996      WALGREENS         AW6019687    1,000    1,000    5,100   11,000   12,200    9,800    6,683    40,100

100101479   046045583   WALGREENS #03963      DSD           BRADENTON       FL   34207      WALGREENS         AW6020539    2,100    1,100   25,230   39,400   31,400   39,000   23,038   138,230

100102729   046052969   WALGREENS #03613      DSD           BRADENTON       FL   34205      WALGREENS         AW6020541     300      130    16,360   27,600   19,000   15,100   13,082    78,490

100101502   046045732   WALGREENS #04303      DSD             COCOA         FL   32922      WALGREENS         AW6020553      60      830     8,350   22,650   21,900   14,900   11,448    68,690
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100102477   046051680   WALGREENS #05657         DSD        LAKELAND       FL   33803     WALGREENS         AW6020565     200       100     1,400   13,500     8,500    8,100    5,300    31,800

100102868   046053595   WALGREENS #03390         DSD         OCALA         FL   34471     WALGREENS         AW6020577     100       100     4,700    6,100     9,000   10,000    5,000    30,000

100102794   046053272   WALGREENS #03830         DSD        SARASOTA       FL   34236     WALGREENS         AW6020666     200       100     4,800    8,100    11,300    8,000    5,417    32,500

100102841   046053470   WALGREENS #03745         DSD        ORLANDO        FL   32808     WALGREENS         AW6020818     100               7,600    8,200     3,500    2,600    4,400    22,000

100101446   038108712   WALGREENS #03586         DSD    COLORADO SPRINGS   CO   80917     WALGREENS         AW6020907   25,000    25,600   22,300   24,300    25,500   14,000   22,783   136,700

100102864   046053579   WALGREENS #03391         DSD         OCALA         FL   34470     WALGREENS         AW6023080     340       100     9,600   10,800      500     6,500    4,640    27,840

100101198   046044677   WALGREENS #03080         DSD       MELBOURNE       FL   32901     WALGREENS         AW6026808               300     4,800   10,700    13,000    9,500    7,660    38,300

100102249   046049593   WALGREENS #01925         DSD         TAMPA         FL   33612     WALGREENS         AW6041139     100       200     2,400    9,200    11,400    8,700    5,333    32,000

100103712   046055970   WALGREENS #07157         DSD      PINELLAS PARK    FL   33781     WALGREENS         AW6041141               200     2,000   12,500    15,100    8,660    7,692    38,460

100101195   046044644   WALGREENS #02230         DSD     ST PETERSBURG     FL   33703     WALGREENS         AW6041153     400       300     3,200   19,700    12,300   20,300    9,367    56,200

100102270   046049668   WALGREENS #03863         DSD         TAMPA         FL   33614     WALGREENS         AW6041165     (300)     130      800     8,330     8,400    6,500    3,977    23,860

100103931   046057372   WALGREENS #15192         DSD     MADEIRA BEACH     FL   33708     WALGREENS         AW6043210     100       200     1,560   11,230    11,400   10,500    5,832    34,990

100102314   046049791   WALGREENS #02918         DSD     ST PETERSBURG     FL   33701     WALGREENS         AW6043222     100      1,200    1,600   12,900    11,000    9,900    6,117    36,700

100102371   046051136   WALGREENS #02665         DSD     ST PETERSBURG     FL   33712     WALGREENS         AW6043234                       1,300    9,900    10,100   10,300    7,900    31,600

100102376   046051169   WALGREENS #05584         DSD     DAYTONA BEACH     FL   32118     WALGREENS         AW6070281               100     2,500    5,600    10,600   10,100    5,780    28,900

100087145   003090969   WALGREENS #412                       MANATI        PR   00674     WALGREENS         AW6088947     500       100     1,000    1,600                        800      3,200

100101896   020160267   WALGREENS #07623         DSD        NOGALES        AZ   85621     WALGREENS         AW6099104    9,500     8,300   10,100    9,700     7,900    6,000    8,583    51,500

100099198   044217950   WALGREENS #04219         DSD      CARBONDALE       IL   62901     WALGREENS         AW6194865     100     19,100   36,200   36,960    36,100   29,330   26,298   157,790

100098482   025089623   WALGREENS #06057         DSD     COTTAGE GROVE     MN   55016     WALGREENS         AW6205365   20,500    20,300   19,900   22,400    18,300   18,200   19,933   119,600

100100112   038107011   WALGREENS #06606         DSD        HOUSTON        TX   77034     WALGREENS         AW6249266     100       780    12,500   21,800    14,000    8,500    9,613    57,680

100100145   038107284   WALGREENS #06934         DSD        HOUSTON        TX   77069     WALGREENS         AW6249278     440       600     9,300   12,900    13,800   10,100    7,857    47,140

100100270   038108167   WALGREENS #04133         DSD       PASADENA        TX   77504     WALGREENS         AW6260157    1,600     1,400   29,300   45,500    26,200   32,500   22,750   136,500

100101779   038109652   WALGREENS #07777         DSD    COLORADO SPRINGS   CO   80904     WALGREENS         AW6260222   14,300    15,700   13,000   15,400    18,200    8,100   14,117    84,700

100085888   044201657   SEMO DRUG          CPA               SENATH        MO   63876     INDEPENDENT       AW6307056    7,700    21,600    9,600   25,600     7,700    4,500   12,783    76,700

100099117   019178822   WALGREENS #06408         DSD         PEORIA        IL   61614     WALGREENS         AW6314796    4,330    30,760   28,430   40,100    28,500   25,900   26,337   158,020

100109991   055044958   WAKEMED OUTPATIENT PHARMACY         RALEIGH        NC   27610       HOSPITAL        AW6321664              2,700    3,000    2,900     2,400    4,200    3,040    15,200

100096345   055037176   WAKEMED OUT PATIENT (WAC)           RALEIGH        NC   27610   PHS 340B HOSPITAL   AW6321664    2,800                                                   2,800     2,800

100076884   055042234   WAKEMED OUT PATIENT                 RALEIGH        NC   27610   PHS 340B HOSPITAL   AW6321664     600                                                     600       600

100101212   046044818   WALGREENS #06970         DSD        SANFORD        FL   32773     WALGREENS         AW6330928     600       300    10,830   11,100     7,000   10,600    6,738    40,430

100102449   020161745   WALGREENS #07828         DSD          MESA         AZ   85205     WALGREENS         AW6336867   13,200    15,700   13,500   17,100    17,400   12,700   14,933    89,600

100098815   019174797   WALGREENS #03946         DSD         JOLIET        IL   60435     WALGREENS         AW6355716   28,360    27,400   27,360   31,900    36,600   26,100   29,620   177,720

100107610   019185157   WALGREENS #03946 340B                JOLIET        IL   60435   PHS 340B HOSPITAL   AW6355716                        500                                  500       500

100103288   020163881   WALGREENS #03924         DSD        EL PASO        TX   79912     WALGREENS         AW6374437    6,200    23,580   23,700   19,400     8,900   15,600   16,230    97,380

100099516   021171710   WALGREENS #00515         DSD        LINCOLN        NE   68506     WALGREENS         AW6387991   11,100    11,600   11,000   10,600    14,200    6,000   10,750    64,500

100069606   046141879   WEST FLORIDA REG MED CTR #712      PENSACOLA       FL   32514       HOSPITAL        AW6421705    3,400     3,950    3,100    4,000     3,000    3,120    3,428    20,570

100100187   038107607   WALGREENS #06702         DSD        HOUSTON        TX   77092     WALGREENS         AW6431770               900     9,100   13,400    10,400    6,200    8,000    40,000

100099149   044217539   WALGREENS #04407         DSD      GRANITE CITY     IL   62040     WALGREENS         AW6459639    1,000    36,700   50,700   56,900    46,300   12,600   34,033   204,200

100086007   021159087   WOLKAR DRUG, INC    CPA          BAXTER SPRINGS    KS   66713     INDEPENDENT       AW6467030   12,900    12,100   11,300    9,100    22,300   11,000   13,117    78,700

100098811   019174755   WALGREENS #03179         DSD       HOMEWOOD        IL   60430     WALGREENS         AW6476205   15,530    15,000   14,700   16,500    17,700   15,300   15,788    94,730

100096799   046044107   WEBBS FT MYERS PRESC SHOP INC      FORT MYERS      FL   33901     INDEPENDENT       AW6491601                                 300      1,600     500      800      2,400

100101402   020032979   WALGREENS #00023         DSD      ALBUQUERQUE      NM   87109     WALGREENS         AW6512277   21,300    25,000   19,300   20,700    23,900   18,500   21,450   128,700

100094651   010228635   WALGREENS #04522         DSD       CINCINNATI      OH   45251     WALGREENS         AW6518685   26,300    29,700   26,000   31,600    25,600   26,200   27,567   165,400

100068846   049149690   *MERCY HEALTH MUSKEGON             MUSKEGON        MI   49444     INDEPENDENT       AW6544325   15,300    20,400   16,000   23,400                      18,775    75,100

100090862   049188607   *MERCY HEALTH MUSKEGON             MUSKEGON        MI   49444   PHS 340B HOSPITAL   AW6544325    5,100              3,800   (2,100)                      2,267     6,800
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100103446   008114843   WALGREENS #00840        DSD           SAN JOSE         CA   95129     WALGREENS         AW6641244    5,900    5,200    5,500    3,800    5,500    4,600    5,083    30,500

100060250   044064188   WESTERN STATE HOSPITAL              HOPKINSVILLE       KY   42240       HOSPITAL        AW6650407     100      300      100      100     1,260              372      1,860

100094144   044104810   WESTERN STATE HOSP NURSING FAC      HOPKINSVILLE       KY   42240       HOSPITAL        AW6650407     200      700      300      300                        375      1,500

100103177   020163501   WALGREENS #11360        DSD         ALBUQUERQUE        NM   87111     WALGREENS         AW6689434   13,500   14,400   13,760   14,700   13,500    8,500   13,060    78,360

100103708   046055939   WALGREENS #05604        DSD          ZEPHYRHILLS       FL   33542     WALGREENS         AW6738326     400      700     4,200   28,000   19,500   32,700   14,250    85,500

100103729   020164657   WALGREENS #06400        DSD           PHOENIX          AZ   85021     WALGREENS         AW6742616   11,400   10,500    7,160   10,960   12,300    4,300    9,437    56,620

100098906   019176735   WALGREENS #06820        DSD          NAPERVILLE        IL   60563     WALGREENS         AW6752198   10,100    8,900    7,600    9,300    9,700    8,800    9,067    54,400

100099221   044218180   WALGREENS #06789        DSD            FENTON          MO   63026     WALGREENS         AW6814924     500    11,200   23,300   22,900   29,600   17,800   17,550   105,300

100098723   019173872   WALGREENS #05468        DSD           ADDISON          IL   60101     WALGREENS         AW6847365   28,060   31,300   28,900   29,500   25,300   25,500   28,093   168,560

100091915   019158758   WALGREENS #05468    340B              ADDISON          IL   60101       HOSPITAL        AW6847365     100                                                   100       100

100098659   019173237   WALGREENS #03320        DSD           FOX LAKE         IL   60020     WALGREENS         AW6863977   34,500   37,460   33,700   42,000   40,500   24,200   35,393   212,360

100107606   019185116   WALGREENS #03320 340B                 FOX LAKE         IL   60020   PHS 340B HOSPITAL   AW6863977    1,500                                                 1,500     1,500

100058116   041064006   WHITEFORD PHARMACY (EPIC) B01        WHITEFORD         MD   21160     INDEPENDENT       AW6888587    3,000    3,500    5,300    4,400                      4,050    16,200

100102642   020162206   WALGREENS #03768        DSD            TEMPE           AZ   85283     WALGREENS         AW6909103   11,900   15,400   13,900   14,120   13,300    8,300   12,820    76,920

100101831   046046920   WALGREENS #02999        DSD           SUNRISE          FL   33322     WALGREENS         AW6915079     100      400     6,000    9,700    9,800    6,300    5,383    32,300

100087156   003091223   WALGREENS #00710                      BAYAMON          PR   00956     WALGREENS         AW6922442     200      700      800      300                        500      2,000

100103125   020163360   WALGREENS #09336        DSD         ALBUQUERQUE        NM   87104     WALGREENS         AW6952370   16,600   17,600   16,000   16,500   16,200    9,000   15,317    91,900

100097575   044216077   WALGREENS #07808        DSD           MEMPHIS          TN   38119     WALGREENS         AW6985812   18,000   15,000   14,200   14,700   16,520   15,100   15,587    93,520

100098651   019173153   WALGREENS #06746        DSD         CRYSTAL LAKE       IL   60014     WALGREENS         AW7008849   37,600   36,490   31,490   37,800   35,100   23,100   33,597   201,580

100099216   044218131   WALGREENS #07185        DSD         CHESTERFIELD       MO   63017     WALGREENS         AW7102166      20    10,860   13,060   13,760   16,360    7,700   10,293    61,760

100102212   020161190   WALGREENS #03087        DSD           PHOENIX          AZ   85018     WALGREENS         AW7354753    9,500    7,670    7,500    9,400   11,100    8,300    8,912    53,470

100102814   046053371   WALGREENS #04033        DSD            VENICE          FL   34285     WALGREENS         AW7361239     300      320     6,500   16,400   14,700   13,000    8,537    51,220

100050874   004085993   HOMETOWN HEALTHCARE INC CPA          WATERVLIET        NY   12189     INDEPENDENT       AW7364627    5,700    5,500    4,000    8,100    2,000    5,100    5,067    30,400

100097412   044215301   WALGREENS #03953        DSD        MURFREESBORO        TN   37129     WALGREENS         AW7437242   37,600   36,600   33,500   39,500   42,000   31,000   36,700   220,200

100099272   044218693   WALGREENS #05667        DSD          SAINT LOUIS       MO   63129     WALGREENS         AW7462625     100    10,000   13,200   12,400   16,500   10,600   10,467    62,800

100055624   032074153   WHITE CROSS                         PRIEST RIVER       ID   83856     INDEPENDENT       AW7540188    8,000   16,600   10,100   11,000   14,000   13,000   12,117    72,700

100096583   032147801   WHITE CROSS PHARMACY 340B           PRIEST RIVER       ID   83856   PHS 340B HOSPITAL   AW7540188    6,000    2,000    4,500    5,000     500              3,600    18,000

100099284   044218818   WALGREENS #03305        DSD         CREVE COEUR        MO   63141     WALGREENS         AW7566891     100    12,700   16,200   17,200   22,400    9,800   13,067    78,400

100098840   019175083   WALGREENS #06629        DSD          HOMETOWN          IL   60456     WALGREENS         AW7672454   13,200   16,000   14,700   16,900   18,100   10,200   14,850    89,100

100098878   019176420   WALGREENS #04874        DSD      LA GRANGE HIGHLANDS   IL   60525     WALGREENS         AW7672466   21,200   22,300   21,200   21,300   19,300   19,300   20,767   124,600

100091119   019158253   WALGREENS #04874 340B            LA GRANGE HIGHLANDS   IL   60525       HOSPITAL        AW7672466              100                                          100       100

100098686   019173500   WALGREENS #04503        DSD        MORTON GROVE        IL   60053     WALGREENS         AW7672478   11,200    9,200   10,300   11,500   10,900    6,800    9,983    59,900

100098765   019174292   WALGREENS #03433        DSD       HOFFMAN ESTATES      IL   60169     WALGREENS         AW7672492   25,230   25,800   24,930   26,460   21,200   21,200   24,137   144,820

100098946   019177162   WALGREENS #00249        DSD           CHICAGO          IL   60614     WALGREENS         AW7672505    8,700    8,900    9,600   10,500    8,700    4,700    8,517    51,100

100101596   038109157   WALGREENS #11101        DSD            DENVER          CO   80224     WALGREENS         AW7704148   12,460   13,680   12,830   13,300   12,900    9,300   12,412    74,470

100103201   020163568   WALGREENS #04651        DSD         ALBUQUERQUE        NM   87114     WALGREENS         AW7707928    8,000   17,100    4,260   10,240    8,300   10,000    9,650    57,900

100099051   019178210   WALGREENS #11332        DSD           NORRIDGE         IL   60706     WALGREENS         AW7739103   19,100   13,800   14,400   20,700   10,300   12,100   15,067    90,400

100091932   019158865   WALGREENS #11332    340B              NORRIDGE         IL   60706       HOSPITAL        AW7739103                                500                        500       500

100099172   044217752   WALGREENS #05719        DSD           DECATUR          IL   62521     WALGREENS         AW7751767    6,000   24,400   24,200   27,100   30,600   14,200   21,083   126,500

100109119   019186361   WALGREENS #05719 340B                 DECATUR          IL   62521   PHS 340B HOSPITAL   AW7751767              700      500     1,100                       767      2,300

100101481   046045617   WALGREENS #04004        DSD          FORT MYERS        FL   33907     WALGREENS         AW7772583     620      300    12,600   14,610   10,730    7,200    7,677    46,060

100102570   046052134   *WALGREENS #03831       DSD       NORTH FORT MYERS     FL   33903     WALGREENS         AW7772595    2,400     400                                         1,400     2,800

100099231   044218289   WALGREENS #09481        DSD       MARYLAND HEIGHTS     MO   63043     WALGREENS         AW7780085     400    11,600   15,100   16,400   18,700    6,800   11,500    69,000

100094838   010229419   WALGREENS #05763        DSD           FLORENCE         KY   41042     WALGREENS         AW7824798   22,700   27,100   22,000   26,090   26,100   19,100   23,848   143,090
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100099160   044217646   WALGREENS #04024        DSD           BELLEVILLE      IL   62226   WALGREENS     AW7828330    1,200   32,200   42,060   47,260   39,400   25,000   31,187   187,120

100068963   008041822   WINTON'S PROF. PHCY.                   FRESNO         CA   93720   INDEPENDENT   AW7865530   10,200   12,000   11,900   12,600   14,000     900    10,267    61,600

100097894   019170100   WALGREENS #03502        DSD           NEW HAVEN       IN   46774   WALGREENS     AW7888007   16,400   18,000   12,700   17,000   16,200   10,600   15,150    90,900

100059964   023018002   WILLIAM'S VALLEY PHARMACY             TOWER CITY      PA   17980   INDEPENDENT   AW7948702    2,900    1,300    1,500    2,600    1,700    1,600    1,933    11,600

100097587   018397539   WALGREENS #04083        DSD            BARTLETT       TN   38134   WALGREENS     AW7993581    8,500    7,600    7,700    7,700    8,000    7,500    7,833    47,000

100099006   019177766   WALGREENS #04233        DSD            CHICAGO        IL   60639   WALGREENS     AW8056269   18,400   19,400   20,200   18,500   15,300   17,300   18,183   109,100

100098984   019177543   WALGREENS #05724        DSD            CHICAGO        IL   60629   WALGREENS     AW8056295   11,500   10,000   11,400   12,100   13,600   11,300   11,650    69,900

100102282   046049692   WALGREENS #04573        DSD         TEMPLE TERRACE    FL   33617   WALGREENS     AW8078645     100      100     3,100   18,450   17,590   10,600    8,323    49,940

100095065   010231845   WALGREENS #10776        DSD           LEXINGTON       KY   40502   WALGREENS     AW8132817    1,700   16,700   17,800   19,390   19,600   15,600   15,132    90,790

100053790   017085555   WEBER COUNTY HUMAN SERVICES             OGDEN         UT   84401     ALT SITE    AW8206939    2,100    2,200    1,500    1,800    2,400     800     1,800    10,800

100059424   010098822   WARFIELD PRESCRIPTION CENTER          WARFIELD        KY   41267   INDEPENDENT   AW8215596    8,000    8,000   10,500   13,500    4,000    7,400    8,567    51,400

100097378   044214973   WALGREENS #03775        DSD          CLARKSVILLE      TN   37042   WALGREENS     AW8226739   29,100   24,200   26,600   30,100   27,700   21,500   26,533   159,200

100099177   019179119   WALGREENS #09792        DSD            DECATUR        IL   62526   WALGREENS     AW8294679    1,700   12,200   14,800   17,300   17,300   12,100   12,567    75,400

100098963   019177337   WALGREENS #10649        DSD            CHICAGO        IL   60618   WALGREENS     AW8328418    6,300    4,200    4,900    5,000    6,400    4,800    5,267    31,600

100102954   020162958   WALGREENS #03097        DSD            TUCSON         AZ   85715   WALGREENS     AW8348852    7,800    7,400    5,000    5,300    7,100    3,600    6,033    36,200

100099101   019178707   WALGREENS #06554        DSD             PERU          IL   61354   WALGREENS     AW8365505   31,300   38,500   34,100   35,400   37,500   24,100   33,483   200,900

100097517   052221820   WALGREENS #06224        DSD           KNOXVILLE       TN   37912   WALGREENS     AW8388743   30,200   33,200   28,700   31,000   26,100   19,500   28,117   168,700

100098783   019174474   WALGREENS #12623        DSD          SCHAUMBURG       IL   60193   WALGREENS     AW8399277   11,100   12,200   11,900   10,500   11,800    8,800   11,050    66,300

100087120   003090464   WALGREENS #00174                       CAROLINA       PR   00979   WALGREENS     AW8427761              100      500                                 300       600

100087142   003090902   WALGREENS #00380                       BAYAMON        PR   00956   WALGREENS     AW8428890     100               100      100                        100       300

100071589   040140277   MARIETTA SURGICAL CENTER #712          MARIETTA       GA   30060    HOSPITAL     AW8437027                       150                                 150       150

100053725   010053132   WEXLER'S LAKE MILTON RX APSC         LAKE MILTON      OH   44429   INDEPENDENT   AW8468806   15,400   15,400   11,600   15,200   15,900   13,300   14,467    86,800

100102274   046049676   WALGREENS #03829        DSD             TAMPA         FL   33615   WALGREENS     AW8470609     100       30     2,000   15,220    8,800   12,900    6,508    39,050

100101863   046047001   WALGREENS #04003        DSD             DAVIE         FL   33328   WALGREENS     AW8470611     300      400     6,900   10,560    9,930    6,200    5,715    34,290

100097707   044216739   WALGREENS #03777        DSD           LOUISVILLE      KY   40207   WALGREENS     AW8483531    1,000   10,200   11,130   13,800   10,600    9,000    9,288    55,730

100102096   046047761   WALGREENS #05334        DSD          GREENACRES       FL   33463   WALGREENS     AW8511796     300      800     4,600    6,400    6,200    4,700    3,833    23,000

100098715   019173799   WALGREENS #04941        DSD           WHEELING        IL   60090   WALGREENS     AW8532740   13,860   18,040   13,310   17,540   16,200   12,700   15,275    91,650

100098945   019177154   WALGREENS #00178        DSD            CHICAGO        IL   60614   WALGREENS     AW8532752    5,900    7,000    8,100    6,900    8,800    4,100    6,800    40,800

100100201   038107730   WALGREENS #00496        DSD            HUMBLE         TX   77338   WALGREENS     AW8580082     100      200     7,800   14,400   12,300    6,700    6,917    41,500

100098873   019176081   WALGREENS #00318        DSD         DOWNERS GROVE     IL   60516   WALGREENS     AW8611899    6,300    8,000    6,000    6,800    7,100    3,000    6,200    37,200

100098693   019173575   WALGREENS #04674        DSD          VERNON HILLS     IL   60061   WALGREENS     AW8624137   12,760   12,300   11,500   13,900   12,000   10,500   12,160    72,960

100099273   044218701   WALGREENS #04671        DSD         UNIVERSITY CITY   MO   63130   WALGREENS     AW8629125             6,100   10,100   12,300   12,100    9,700   10,060    50,300

100058174   049040022   M/WAYNE CO. JAIL PHCY                  DETROIT        MI   48226     ALT SITE    AW8680185     800     1,700     500     1,900    1,000     400     1,050     6,300

100098992   019177626   WALGREENS #00118        DSD            CHICAGO        IL   60634   WALGREENS     AW8680969    7,700    8,200    9,100    7,300    3,200    6,500    7,000    42,000

100070870   044143453   WOODSPRINGS PHARMACY          CPA     JONESBORO       AR   72401   INDEPENDENT   AW8714467   15,200   18,100   26,400   17,000    3,100     500    13,383    80,300

100068057   044143511   WOODSPRINGS PHARMACY(MHA) CPA         JONESBORO       AR   72401   INDEPENDENT   AW8714467                                                16,000   16,000    16,000

100097732   044216986   WALGREENS #04163        DSD           LOUISVILLE      KY   40258   WALGREENS     AW8715130   12,300   51,890   49,440   65,300   45,600   19,100   40,605   243,630

100099186   044217836   WALGREENS #03501        DSD          SPRINGFIELD      IL   62702   WALGREENS     AW8721892    5,100   21,030   23,500   26,500   29,300   15,700   20,188   121,130

100100366   018402073   WALGREENS #05424        DSD          SAN ANTONIO      TX   78221   WALGREENS     AW8723771     830     3,200   26,020   48,000   30,400   22,200   21,775   130,650

100099552   037131078   WALGREENS #03199        DSD            MARRERO        LA   70072   WALGREENS     AW8744395     100     2,500   20,360   30,500   29,400   25,000   17,977   107,860

100059961   023017707   WALD DRUGS                            SOMERVILLE      NJ   08876   INDEPENDENT   AW8765779     500      900      600     1,100     200      200      583      3,500

100100135   038107185   WALGREENS #05709        DSD            HOUSTON        TX   77062   WALGREENS     AW8812605    2,040    2,720   28,700   40,900   25,100   32,200   21,943   131,660

100100123   038107094   WALGREENS #04605        DSD            HOUSTON        TX   77051   WALGREENS     AW8812617     600     1,400   17,100   27,500   17,700    8,000   12,050    72,300

100100188   038107615   WALGREENS #03717        DSD            HOUSTON        TX   77039   WALGREENS     AW8812629     500      700    12,100   22,600   13,900    6,000    9,300    55,800
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100100114   037132209   WALGREENS #04927        DSD      HOUSTON        TX   77035     WALGREENS         AW8812643     200     1,820    12,100   16,600   17,700    8,000    9,403    56,420

100100099   038106880   WALGREENS #03735        DSD      HOUSTON        TX   77019     WALGREENS         AW8812667     900      940      6,000    9,700    6,500    3,000    4,507    27,040

100100101   038106906   WALGREENS #11465        DSD      HOUSTON        TX   77023     WALGREENS         AW8812679    1,360    1,900    18,200   34,200   17,500   10,600   13,960    83,760

100100103   038106922   WALGREENS #03095        DSD      HOUSTON        TX   77023     WALGREENS         AW8812681     200      300      6,100    8,100    4,400    3,500    3,767    22,600

100100097   038106864   WALGREENS #02135        DSD      HOUSTON        TX   77016     WALGREENS         AW8812693     800     1,200    23,500   35,100   25,400   14,200   16,700   100,200

100100185   038107581   WALGREENS #03285        DSD      HOUSTON        TX   77091     WALGREENS         AW8812706              300      9,200   15,300   10,900    7,800    8,700    43,500

100100126   037132233   WALGREENS #03820        DSD      HOUSTON        TX   77055     WALGREENS         AW8812720     520      500      6,300    7,500    5,800    2,100    3,787    22,720

100100471   018402768   WALGREENS #10615        DSD       AUSTIN        TX   78723     WALGREENS         AW8818520    8,220   38,700    36,400   31,900   22,800   24,500   27,087   162,520

100100321   038108597   WALGREENS #03271        DSD     BEAUMONT        TX   77708     WALGREENS         AW8818532     100      500     13,700   29,320   17,400   10,000   11,837    71,020

100100318   038108563   WALGREENS #03821        DSD     BEAUMONT        TX   77701     WALGREENS         AW8818544     700     2,000    27,700   43,700   28,900   20,200   20,533   123,200

100100284   038108274   WALGREENS #03848        DSD     DEER PARK       TX   77536     WALGREENS         AW8818568    2,840    2,780    26,070   68,700   45,100   20,100   27,598   165,590

100100193   038107664   WALGREENS #00553        DSD      HOUSTON        TX   77096     WALGREENS         AW8818607     200     2,440    15,200   20,600    8,800   15,700   10,490    62,940

100103270   020163766   WALGREENS #05274        DSD      EL PASO        TX   79902     WALGREENS         AW8818621    2,500    9,700    12,000   11,900    6,500    3,300    7,650    45,900

100103267   020163741   WALGREENS #15371        DSD      EL PASO        TX   79901     WALGREENS         AW8818633    1,600   15,100    15,400   13,200    9,700    8,500   10,583    63,500

100103303   020163980   WALGREENS #01293        DSD      EL PASO        TX   79925     WALGREENS         AW8818645    8,420   32,000    30,400   30,600   17,900   10,300   21,603   129,620

100103291   020163907   WALGREENS #06753        DSD      EL PASO        TX   79915     WALGREENS         AW8818671    6,800   30,900    31,100   34,500   24,100   11,800   23,200   139,200

100103306   020164004   WALGREENS #06542        DSD      EL PASO        TX   79925     WALGREENS         AW8818683    9,100   14,800    14,600   16,800   13,200    8,000   12,750    76,500

100100066   018401596   WALGREENS #03220        DSD    WICHITA FALLS    TX   76308     WALGREENS         AW8818695             7,800    18,800   20,100   11,100   11,800   13,920    69,600

100100328   037132712   WALGREENS #02636        DSD      VICTORIA       TX   77901     WALGREENS         AW8818734    1,280    2,240    27,700   47,000   28,500   31,700   23,070   138,420

100100296   038108373   WALGREENS #05833        DSD     LA MARQUE       TX   77568     WALGREENS         AW8818746     900    11,200    26,800   47,300   40,200   18,500   24,150   144,900

100100350   018401919   WALGREENS #03634        DSD    SAN ANTONIO      TX   78201     WALGREENS         AW8818772    1,800     500     16,300   24,400   17,600   13,600   12,367    74,200

100100311   038108498   WALGREENS #03081        DSD      ORANGE         TX   77630     WALGREENS         AW8818796     340      (240)   17,100   26,600   18,400   17,500   13,283    79,700

100100525   018403303   WALGREENS #07024        DSD      ODESSA         TX   79761     WALGREENS         AW8818809     600    28,200    32,600   39,000   16,000   15,000   21,900   131,400

100109460   018405035   WALGREENS #07024 340B            ODESSA         TX   79761   PHS 340B HOSPITAL   AW8818809              100                                           100       100

100100521   018403261   WALGREENS #06122        DSD      MIDLAND        TX   79701     WALGREENS         AW8818811    2,900   52,900    52,600   57,800   37,300   12,300   35,967   215,800

100100110   038106997   WALGREENS #03444        DSD    JACINTO CITY     TX   77029     WALGREENS         AW8835324    1,000     500      9,900   21,900    6,600    8,500    8,067    48,400

100102200   020161158   WALGREENS #06527        DSD      PHOENIX        AZ   85014     WALGREENS         AW8879883    7,800    6,570     7,300    5,500    9,100    5,500    6,962    41,770

100097447   044215657   WALGREENS #04346        DSD     NASHVILLE       TN   37221     WALGREENS         AW8921935   19,600   18,140    18,400   21,700   18,100   16,500   18,740   112,440

100098844   019175141   WALGREENS #03651        DSD   OLYMPIA FIELDS    IL   60461     WALGREENS         AW8942523   29,920   24,700    27,700   28,300   27,700   23,700   27,003   162,020

100097592   044216200   WALGREENS #01512        DSD    GERMANTOWN       TN   38138     WALGREENS         AW8947915    6,500   10,700     7,600    8,820    9,400    7,000    8,337    50,020

100100173   038107482   WALGREENS #03441        DSD      HOUSTON        TX   77084     WALGREENS         AW8965999     700      160     13,830   22,830   13,500    9,600   10,103    60,620

100099528   021171835   WALGREENS #03467        DSD    GRAND ISLAND     NE   68801     WALGREENS         AW8966078   10,100    8,500    12,600   11,200   11,100    8,500   10,333    62,000

100102159   046047936   WALGREENS #04811        DSD      DADE CITY      FL   33525     WALGREENS         AW8984432    1,100    1,200     3,400   26,400   25,000   20,800   12,983    77,900

100058609   040000026   WINDY HILL HOSP                  MARIETTA       GA   30067       HOSPITAL        AW9001164     200      400                         520      940      515      2,060

100054461   040028159   WINDY HILL HOSPITAL              MARIETTA       GA   30067       HOSPITAL        AW9001164                                 100                        100       100

100097724   044216903   WALGREENS #07064        DSD     LOUISVILLE      KY   40222     WALGREENS         AW9042867    2,000    9,760    11,660   11,730   10,900    7,200    8,875    53,250

100103083   046054775   WALGREENS #03608        DSD     VERO BEACH      FL   32960     WALGREENS         AW9058771     400      400      6,200   12,300   15,700   10,000    7,500    45,000

100099071   019178418   WALGREENS #02591        DSD       DIXON         IL   61021     WALGREENS         AW9086186   26,300   29,100    27,200   23,500   18,200   16,500   23,467   140,800

100102348   046049940   WALGREENS #03247        DSD   SAINT AUGUSTINE   FL   32086     WALGREENS         AW9105873      90      130     10,860   14,820   21,000   29,500   12,733    76,400

100098253   019170977   WALGREENS #05239        DSD     DAVENPORT       IA   52804     WALGREENS         AW9132452   48,300   47,900    41,500   45,200   44,700   39,200   44,467   266,800

100100302   038108423   WALGREENS #03660        DSD     PEARLAND        TX   77581     WALGREENS         AW9138012    1,100    2,100    13,400   22,300   12,000   13,600   10,750    64,500

100098721   019173856   WALGREENS #01994        DSD    WOODSTOCK        IL   60098     WALGREENS         AW9138163   31,000   28,400    29,600   29,900   29,400   25,700   29,000   174,000

100100174   038107490   WALGREENS #03870        DSD      HOUSTON        TX   77084     WALGREENS         AW9148431     200      500      8,900   11,800    8,400    4,300    5,683    34,100

100098255   019170993   WALGREENS #04041        DSD     DAVENPORT       IA   52807     WALGREENS         AW9155018   26,500   28,000    22,400   26,900   29,100   17,100   25,000   150,000
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100064958   049042507   M/WALTER P. REUTHER PSY MMCAP      WESTLAND        MI   48186    HOSPITAL     AW9161085     200      200      (100)              240      200      148       740

100098730   019173948   WALGREENS #05148    DSD          BLOOMINGDALE      IL   60108   WALGREENS     AW9171365   14,700   16,500   16,300    16,500   12,800   16,100   15,483    92,900

100103328   020164145   WALGREENS #06435    DSD             EL PASO        TX   79936   WALGREENS     AW9193373    8,400   40,500   35,100    37,100   25,000    7,600   25,617   153,700

100099535   037104695   WALGREENS #15564    DSD             METAIRIE       LA   70003   WALGREENS     AW9206079     100     1,700    7,600    10,000    8,700    8,300    6,067    36,400

100100386   018402271   WALGREENS #06335    DSD           SAN ANTONIO      TX   78247   WALGREENS     AW9224750     900     2,200   24,030    40,500   30,600   24,500   20,455   122,730

100103225   020163626   WALGREENS #04047    DSD           ALBUQUERQUE      NM   87121   WALGREENS     AW9226588   16,200   18,200   16,100    17,500   17,100   11,200   16,050    96,300

100098664   019173286   WALGREENS #05683    DSD             GLENVIEW       IL   60025   WALGREENS     AW9241869   17,900   19,300   19,500    21,500   22,000   17,600   19,633   117,800

100099013   019177832   WALGREENS #04936    DSD             CHICAGO        IL   60641   WALGREENS     AW9246489   15,400   16,000   14,100    17,200   11,200   12,800   14,450    86,700

100105587   044220533   WESTLAKE REG HOSP-CUMBLND DIP       COLUMBIA       KY   42728    HOSPITAL     AW9290610     200      100      600                                  300       900

100097898   019170142   WALGREENS #05452    DSD           FORT WAYNE       IN   46805   WALGREENS     AW9293248   17,200   17,300   18,700    16,800   21,700   17,400   18,183   109,100

100100524   018403295   WALGREENS #13681    DSD             MIDLAND        TX   79705   WALGREENS     AW9301778            19,300   20,600    22,700   15,400   11,000   17,800    89,000

100100165   038107441   WALGREENS #06668    DSD             HOUSTON        TX   77080   WALGREENS     AW9301780    1,100     200     5,600     7,600    7,800    5,000    4,550    27,300

100100360   018402016   WALGREENS #03224    DSD           SAN ANTONIO      TX   78216   WALGREENS     AW9301792     720      800    18,200    30,000   14,500    9,500   12,287    73,720

100102809   020162594   WALGREENS #06128    DSD           SUN CITY WEST    AZ   85375   WALGREENS     AW9355517   15,200   12,320   15,160    14,590   19,700    8,400   14,228    85,370

100099211   044218081   WALGREENS #11744    DSD            ELLISVILLE      MO   63011   WALGREENS     AW9365734     200     7,900    9,300     9,430   11,100    6,500    7,405    44,430

100094653   010228650   WALGREENS #05716    DSD            CINCINNATI      OH   45237   WALGREENS     AW9366180   10,700   11,700   13,300    11,800   11,100    8,500   11,183    67,100

100102286   046049700   WALGREENS #15236   DSD               TAMPA         FL   33618   WALGREENS     AW9423144     600       -      3,300    10,200   12,800    9,900    6,133    36,800

100100378   018402198   WALGREENS #03571    DSD           SAN ANTONIO      TX   78231   WALGREENS     AW9449441     420      300     8,440     9,600   12,600    6,000    6,227    37,360

100101535   038108910   WALGREENS #04596    DSD         COLORADO SPRINGS   CO   80916   WALGREENS     AW9474723   17,700   18,200   17,700    21,700   23,300   12,700   18,550   111,300

100065246   049080101   WEST SHORE PHCY      SF               HART         MI   49420   INDEPENDENT   AW9477161    5,500    5,000    5,500     9,000    5,000    4,500    5,750    34,500

100103011   020163089   WALGREENS #13822    DSD              TUCSON        AZ   85745   WALGREENS     AW9487768   16,600   15,260   15,030    15,660   14,100   10,200   14,475    86,850

100104245   019181016   WALGREENS #15197    DSD             CHICAGO        IL   60660   WALGREENS     AW9512446    8,500   10,400    9,800    10,700   11,600    5,600    9,433    56,600

100102692   046052761   WALGREENS #00263    DSD              APOPKA        FL   32703   WALGREENS     AW9516901     100      600     6,300     5,100    4,300    5,200    3,600    21,600

100099011   019177816   WALGREENS #06727    DSD             CHICAGO        IL   60640   WALGREENS     AW9542324   13,500   10,900   10,600    12,200   12,600   11,300   11,850    71,100

100100385   018402263   WALGREENS #03562    DSD           SAN ANTONIO      TX   78245   WALGREENS     AW9546219     200      700     8,000    15,720   12,200    9,000    7,637    45,820

100099065   019178350   WALGREENS #10485    DSD           CALUMET PARK     IL   60827   WALGREENS     AW9546269   12,000   12,100   11,900    11,600   10,700    8,400   11,117    66,700

100098971   019177410   WALGREENS #00258    DSD             CHICAGO        IL   60622   WALGREENS     AW9555559    5,500    6,500    7,000     6,420    6,500    5,000    6,153    36,920

100100186   038107599   WALGREENS #03369    DSD             HOUSTON        TX   77091   WALGREENS     AW9568203              600     8,500    14,200   11,300    7,600    8,440    42,200

100100274   037132639   WALGREENS #04373    DSD            ANGLETON        TX   77515   WALGREENS     AW9607271     620     1,540   18,300    27,220   16,500   18,400   13,763    82,580

100100285   038108282   WALGREENS #06089    DSD            DICKINSON       TX   77539   WALGREENS     AW9613022             8,500   32,000    40,900   40,000   23,600   29,000   145,000

100100319   038108571   WALGREENS #03796    DSD            BEAUMONT        TX   77706   WALGREENS     AW9623643    1,000    1,100   11,300    20,300   16,300    7,300    9,550    57,300

100100480   018402859   WALGREENS #03341    DSD              AUSTIN        TX   78745   WALGREENS     AW9623768   13,130   42,820   42,400    40,100   34,200   20,700   32,225   193,350

100102301   020161380   WALGREENS #05668    DSD             PHOENIX        AZ   85037   WALGREENS     AW9623770   12,200   10,000   10,600    10,600   10,600    7,900   10,317    61,900

100100116   038107029   WALGREENS #06239    DSD             HOUSTON        TX   77037   WALGREENS     AW9639583     800     1,200   18,700    29,300   15,000   16,200   13,533    81,200

100100365   018402065   WALGREENS #03996    DSD           SAN ANTONIO      TX   78218   WALGREENS     AW9653103              400    12,200    20,220   14,900    7,500   11,044    55,220

100100383   018402248   WALGREENS #04934    DSD           SAN ANTONIO      TX   78238   WALGREENS     AW9680439    1,000    1,300   16,730    29,200    9,800   22,000   13,338    80,030

100099269   044218669   WALGREENS #05228    DSD            SAINT LOUIS     MO   63129   WALGREENS     AW9681544     100     8,100   11,800    14,200   17,900   11,100   10,533    63,200

100098958   019177287   WALGREENS #00259    DSD             CHICAGO        IL   60618   WALGREENS     AW9686847    5,600    7,400    8,000     7,800    4,500    5,300    6,433    38,600

100101242   044219469   WALGREENS #01124    DSD            FLORISSANT      MO   63031   WALGREENS     AW9689956     200     9,100   13,500    13,030   14,100   10,500   10,072    60,430

100099209   044218065   WALGREENS #10429    DSD             BALLWIN        MO   63011   WALGREENS     AW9689968             7,200    9,000     8,600    8,100    7,200    8,020    40,100

100099258   044218552   WALGREENS #07680    DSD         WEBSTER GROVES     MO   63119   WALGREENS     AW9689970     200    10,600   14,800    13,900   14,200   10,500   10,700    64,200

100099261   044218586   WALGREENS #04392    DSD            KIRKWOOD        MO   63122   WALGREENS     AW9689982     100     8,500   15,200    15,300   12,400   13,800   10,883    65,300

100099289   044218867   WALGREENS #03243    DSD          SAINT CHARLES     MO   63301   WALGREENS     AW9690012     200    11,000   18,400    19,440   15,400   16,200   13,440    80,640

100098513   025089953   WALGREENS #02805    DSD           WEST ST PAUL     MN   55118   WALGREENS     AW9696406   16,200   17,300   16,100    19,200   18,600    9,700   16,183    97,100
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100102569   020162016   WALGREENS #04506        DSD         SCOTTSDALE      AZ   85251       WALGREENS          AW9699818    8,600    9,230     9,000    9,800    9,700    7,200    8,922    53,530

100099494   021171496   WALGREENS #04754        DSD           LA VISTA      NE   68128       WALGREENS          AW9699820   23,300   20,900    21,700   23,100   23,800   18,000   21,800   130,800

100101556   046046003   WALGREENS #04734        DSD           PALATKA       FL   32177       WALGREENS          AW9703302     460      700     14,360   18,860   22,000   31,500   14,647    87,880

100098954   019177246   WALGREENS #02387        DSD           CHICAGO       IL   60617       WALGREENS          AW9706031    8,500    8,200     9,900    9,600    9,800    9,500    9,250    55,500

100098847   019175174   WALGREENS #06580        DSD         ORLAND PARK     IL   60462       WALGREENS          AW9727756   26,300   26,100    25,200   29,600   26,400   24,900   26,417   158,500

100091930   019158840   WALGREENS #06580     340B           ORLAND PARK     IL   60462         HOSPITAL         AW9727756              100                100                        100       200

100099508   021171637   WALGREENS #05540        DSD          BELLEVUE       NE   68147       WALGREENS          AW9730804   17,100   12,600    16,800   17,200   19,700   11,300   15,783    94,700

100100382   018402230   WALGREENS #03505        DSD         SAN ANTONIO     TX   78238       WALGREENS          AW9731844     200      500     11,000   17,900   16,800    8,200    9,100    54,600

100100359   018402008   WALGREENS #00662        DSD         SAN ANTONIO     TX   78216       WALGREENS          AW9773133             1,000     5,160   12,740    7,600    8,540    7,008    35,040

100098933   019177030   WALGREENS #05356        DSD           CHICAGO       IL   60609       WALGREENS          AW9782079    7,100    6,600     5,800    7,500    8,200    2,500    6,283    37,700

100100267   038108134   WALGREENS #05422        DSD          PASADENA       TX   77502       WALGREENS          AW9784908     100      600     18,800   29,100   23,400   14,300   14,383    86,300

100098327   019171710   WALGREENS #00295        DSD          MILWAUKEE      WI   53209       WALGREENS          AW9803304    9,700   13,000    11,500   10,600   10,500   12,500   11,300    67,800

100098717   019173815   WALGREENS #01033        DSD          WILMETTE       IL   60091       WALGREENS          AW9805346    8,800    8,900     7,500   10,190    7,100    7,500    8,332    49,990

100097570   044216028   WALGREENS #03699        DSD           MEMPHIS       TN   38117       WALGREENS          AW9813052   14,100   16,300    12,000   15,060   12,600   12,600   13,777    82,660

100098883   019176479   WALGREENS #04779        DSD        MONTGOMERY       IL   60538       WALGREENS          AW9813177   36,500   36,700    32,900   37,500   30,800   27,600   33,667   202,000

100100293   038108357   WALGREENS #09062        DSD          GALVESTON      TX   77551       WALGREENS          AW9814915     800      700     25,000   32,900   31,600   10,000   16,833   101,000

100065051   052058354   YORKS PHARMACY                      BIRMINGHAM      AL   35207       INDEPENDENT        AY0453807   34,900   31,900    29,600   31,500   35,000   21,000   30,650   183,900

100050564   004022368   YORK HOSPITAL                          YORK         ME   03909         HOSPITAL         AY1093169     700      500       500      700     1,900              860      4,300

100092298   040114595   YOUNG BROTHERS PHARMACY CPA        CARTERSVILLE     GA   30120       INDEPENDENT        AY1183223    7,600   18,100      200    15,100    4,200    8,900    9,017    54,100

100061754   023013086   YNFK DRG INC KOPALD'S PHCY             BRONX        NY   10462       INDEPENDENT        AY2060971                                                   100      100       100

100056671   056018127   YORK HOSPITAL PHCY DEPT                YORK         PA   17403         HOSPITAL         AY2571594    1,350    1,500     1,900     900      720     1,400    1,295     7,770

100060610   023064485   YORK HOSPITAL PHARMACY DEPT            YORK         PA   17403         HOSPITAL         AY2571594                                 900                        900       900

100066953   018061564   CHAMBERS MEMORIAL HOSPITAL            DANVILLE      AR   72833         HOSPITAL         AY3212278     300      200       200     1,000                       425      1,700

100086659   021162115   YORK GENERAL HOSP 340B                 YORK         NE   68467     PHS 340B HOSPITAL    AY3983447    1,200    1,000     1,300    1,000     200      500      867      5,200

100062586   021001636   YORK GENERAL HOSPITAL INC              YORK         NE   68467         HOSPITAL         AY3983447     100      100                200     1,380     500      456      2,280

100069430   019175778   MIDWESTERN REG MED CTR (SAT)            ZION        IL   60099         HOSPITAL         AZ3717177   13,400   15,000    13,200   20,800                     15,600    62,400

100069362   019175760   MIDWESTERN REGIONAL MED CTR             ZION        IL   60099         HOSPITAL         AZ3717177     500      300       300      500    18,680    7,600    4,647    27,880

100052647   010054502   SHAFER DRUG STORE           FPD       WINDBER       PA   15963       INDEPENDENT        AZ4127090              300       300               500     1,100     550      2,200

100059367   023002568   1699 FANCY PHARMACY, INC.            NEW YORK       NY   10002       INDEPENDENT        B91640184                                 500                        500       500

100059299   023000893   731 PHARMACY CORP       (GNP)        NEW YORK       NY   10025       INDEPENDENT        B92858542              500                200      300      400      350      1,400

100070595   023143578   1500 MET DRUG, INC(X)   CPA            BRONX        NY   10462       INDEPENDENT        B92866157    1,000     800       700      900                        850      3,400

100055358   018022327   LAUGHLIN AFB-47TH MED SQDR/SGL      LAUGHLIN AFB    TX   78843    HOSPITAL (FEDERAL)    B93744592     700     2,500     4,700    1,500                      2,350     9,400

100055231   018080069   (CRD)/LAUGHLIN AFB                  LAUGHLIN AFB    TX   78843    HOSPITAL (FEDERAL)    B93744592                                         4,200     600     2,400     4,800

100057899   019045633   29 SUPER PHCY                        SCHOFIELD      WI   54476       INDEPENDENT        B94317182    7,100    6,600     4,300    8,400    5,500    5,000    6,150    36,900

100063346   046072728   USAF HURLBURT FIELD                HURLBURT FIELD   FL   32544    HOSPITAL (FEDERAL)    B94416207    6,000    9,500     7,800    6,300    1,200    6,000    6,133    36,800

100064034   018064790   VANCE-DAPA (71ST MED GROUP)          VANCE AFB      OK   73705    HOSPITAL (FEDERAL)    B94426676    3,900    6,100    15,000             1,500    3,600    6,020    30,100

100051796   041074153   BOLLING AFB-11TH MED GRP (DOD)      BOLLING AFB     DC   20032    HOSPITAL (FEDERAL)    B94639247    1,300     900      1,000    1,700     200      400      917      5,500

100071726   023175968   HALPERN PHARMACY(X)         CPA      NEW YORK       NY   10010       INDEPENDENT        B95005079    1,000    1,500     1,000    1,500             1,600    1,320     6,600

100068593   040143651   MARKET PHARMACY #109         CPA      ATLANTA       GA   30303       INDEPENDENT        B95486712    1,700     (100)     600     1,200     300     1,500     867      5,200

100053789   017085506   12TH STREET PHARMACY /G               OGDEN         UT   84404       INDEPENDENT        B96046735    4,000    2,500     1,500    9,200     500    10,000    4,617    27,700

100052446   024102723   4LIFE RX                              TARZANA       CA   91356   HOME HEALTH SERVICES   B97079963    1,500    2,000     2,000    1,700    1,100    1,700    1,667    10,000

100071953   044140269   SOUTHERN KY REHAB HOSP             BOWLING GREEN    KY   42104         HOSPITAL         B98320981    1,400    1,220     1,200     700     2,120     860     1,250     7,500

100071950   004140012   NEW BEDFORD REHABILITATION HOS     NEW BEDFORD      MA   02745         HOSPITAL         B98397540     200                         100     1,400              567      1,700

100062933   056045518   MACPHAIL PHCY INC(Z)(4 S PHCY)        BEL AIR       MD   21014       INDEPENDENT        B99495575    2,400    1,500     1,300     600     2,100    2,400    1,717    10,300
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100064074   052014415   ADAMS DRUG EAST @                         MONTGOMERY         AL   36109       INDEPENDENT        BA0152126     200       400      600      4,620       300     3,640    1,627      9,760

100050407   004019638   ALEXANDER'S PHARMACY(X)                      DRACUT          MA   01826       INDEPENDENT        BA0175376    5,100     6,800    4,500     5,000      1,700             4,620     23,100

100071040   004143016   BEACON PRESCRIP-SO ST-BRISTCPA               BRISTOL         CT   06010       INDEPENDENT        BA0325375    6,700     3,700    7,100     6,600       200      700     4,167     25,000

100067877   004080168   BEACON PRESCRIP-SO-BR (LTC)CPA               BRISTOL         CT   06010       INDEPENDENT        BA0325375    1,200      200      (700)      300      1,300     300      433       2,600

100091924   044211078   AUSTIN PHARMACY, INC                         AUSTIN          IN   47102       INDEPENDENT        BA0333334   12,600    13,600   11,300    15,100     12,300    4,800   11,617     69,700

100054331   017004556   ANDERSON DRUG         /G                    EPHRAIM          UT   84627       INDEPENDENT        BA0639697    3,500     2,000    3,000     4,000      3,200    2,500    3,033     18,200

100064501   052042564   APPLE DISC DRUGS 61         SF               CLINTON         TN   37716       INDEPENDENT        BA0775912    9,400     5,200     200      4,500     12,920    3,900    6,020     36,120

100086757   010213397   ARIES PHARMACY APSC                       RUSSELS POINT      OH   43348       INDEPENDENT        BA0820262    4,900     4,100    4,700     4,300      4,300    3,500    4,300     25,800

100053352   024074641   ALPHA MEDICAL PHARMACY INC                  ALHAMBRA         CA   91803       INDEPENDENT        BA1189744     500       500      200                                    400       1,200

100065544   049109207   ARFSTROM PHCY - CEDARVILLE SF              CEDARVILLE        MI   49719       INDEPENDENT        BA1219953   12,400    13,800   15,500    12,400     14,000    9,900   13,000     78,000

100053117   024012658   ALAN SCHWAB PHARMACY                      BEVERLY HILLS      CA   90210       INDEPENDENT        BA1226100     600      1,300     900      2,600      1,000    1,600    1,333      8,000

100110911   023000320   AAUSADH INC           SF                    BROOKLYN         NY   11220       INDEPENDENT        BA1267029                                                      100      100        100

100088761   037128116   ACADIANA PHARMACY (5009)                   OPELOUSAS         LA   70570       INDEPENDENT        BA1285510     (100)                                                     (100)      (100)

100056257   040040535   AMBULATORY CARE PHARMACY (PHS)             COLUMBUS          GA   31901     PHS 340B HOSPITAL    BA1356078    3,000     3,900    3,300     2,700      5,900    1,400    3,367     20,200

100050349   018043638   ADAMS PHCY INC         SF                    DESOTO          TX   75115       INDEPENDENT        BA1369544    3,500             12,200     2,500                        6,067     18,200

100060458   041048322   ATRIUM PHARM.AT DEPAUL(RETAIL)              NORFOLK          VA   23505         HOSPITAL         BA1396781    2,300     2,900    3,900     2,600      4,800    3,400    3,317     19,900

100065146   052059451   MAXWELL HOSPITAL/SGL @                    MAXWELL AFB        AL   36112    HOSPITAL (FEDERAL)    BA1433351   18,000    28,800   17,600    48,600              10,800   24,760    123,800

100063244   046095463   SMA BEHAVIORAL HEALTH SVCS INC           DAYTONA BEACH       FL   32114         ALT SITE         BA1459672     500       600      100                                    400       1,200

100071379   055140947   GRAND DUNES SURG CENTER #712              MYRTLE BEACH       SC   29572         HOSPITAL         BA1529619     100                                              100      100        200

100061550   023000273   ABELS PHARMACY                              IRVINGTON        NJ   07111       INDEPENDENT        BA1685671    1,100     1,100    1,100     1,100       200      100      783       4,700

100050115   004054528   MEDICAL CLINIC-SGSL        (DOD)          HANSCOM AFB        MA   01731    HOSPITAL (FEDERAL)    BA1928223    2,500               800      2,900               1,000    1,800      7,200

100073447   020125906   *ALBUQUERQUE PHARMACY LTC                 ALBUQUERQUE        NM   87108     LONG TERM CARE       BA1934125    6,000     6,500    4,300       (500)                      4,075     16,300

100057224   025300012   ALBANY AREA HOSPITAL                         ALBANY          MN   56307         HOSPITAL         BA2095392               100      100                                    100        200

100055950   032047217   ASHLAND DRUG INC                            ASHLAND          OR   97520       INDEPENDENT        BA2102945    8,300     9,300   10,500    10,100     11,100   11,300   10,100     60,600

100059781   040074526   ARCHBOLD HIGH TECH PHARM                  THOMASVILLE        GA   31792   HOME HEALTH SERVICES   BA2105941    3,000     3,500    2,000     3,200      2,600    2,000    2,717     16,300

100071421   023143685   ROSSI PHARMACY        CPA                   BROOKLYN         NY   11233       INDEPENDENT        BA2115207     500       600      600        500      1,100     900      700       4,200

100067795   040143958   S & W PHARMACY: DALTON           CPA         DALTON          GA   30721       INDEPENDENT        BA2200549   33,500      600    19,500    (18,000)    8,000    4,000    7,933     47,600

100054772   010045336   ALLEN'S PHARMASERV, INC                   YOUNGSTOWN         OH   44504     LONG TERM CARE       BA2452504    3,000     3,600    2,800     3,500      3,900    2,600    3,233     19,400

100053115   024012187   ABC PHARMACY                                ALHAMBRA         CA   91803       INDEPENDENT        BA2461490    2,000     1,100    1,800     1,100                900     1,380      6,900

100071228   004143081   BEACON PRESCRIP-TERRYVILLE CPA             TERRYVILLE        CT   06786       INDEPENDENT        BA2528644    3,200     3,200    4,700     4,500      2,700    2,400    3,450     20,700

100060020   018075317   MEDI-PARK PHCY         SF                   AMARILLO         TX   79106       INDEPENDENT        BA2913172    9,600     8,800   11,500    12,100     16,200   15,200   12,233     73,400

100071042   004143032   BEACON PRESCRIP-EAST HAVEN CPA             EAST HAVEN        CT   06513       INDEPENDENT        BA2968470    1,800     1,100     700        500       900      900      983       5,900

100067876   004080143   BEACON PRESCRIP-E HAVN(LTC)CPA             EAST HAVEN        CT   06513     LONG TERM CARE       BA2968470              1,000     100        200                         433       1,300

100071569   018144204   CRAWFORD PHARMACY             CPA          HOT SPRINGS       AR   71913       INDEPENDENT        BA3086774   22,900    20,400   21,500    22,300     34,800   12,900   22,467    134,800

100074084   008011072   ARENA PHARMACY CPA                         POINT ARENA       CA   95468       INDEPENDENT        BA3150290   11,000    12,000   12,500    10,600     18,100   11,100   12,550     75,300

100071901   052140137   CHATTANOOGA SURGERY CTR #712              CHATTANOOGA        TN   37404         HOSPITAL         BA3162384               100      200                                    150        300

100061912   023013474   ALERT PHCY UNIT II AMAL                MOUNT HOLLY SPRINGS   PA   17065     LONG TERM CARE       BA3217266   12,000    10,900   12,400    12,100     19,700    7,000   12,350     74,100

100061496   023012732   ABA NOUB LTD        (GNP)                   NEW YORK         NY   10023       INDEPENDENT        BA3347300     400       400      400        800                         500       2,000

100085641   040103515   U SAVE IT PHCY, DAWSON RD 340B               ALBANY          GA   31707      PHS 340B CLINIC     BA3363532               500                                             500        500

100065192   019005959   AURORA PHARMACY #1110                      MILWAUKEE         WI   53212          CHAIN           BA3370993    4,100     3,100    2,800     4,400      2,800    3,100    3,383     20,300

100064922   019006262   AURORA PHARMACY #1120                       FRANKLIN         WI   53132          CHAIN           BA3449281    5,100     5,100    4,900     8,500      4,500    4,300    5,400     32,400

100059436   041052928   ATLANTIC GENERAL HOSP D29                    BERLIN          MD   21811         HOSPITAL         BA3602794     200       600      500        100       600      800      467       2,800

100052151   041074203   DTHC-P/G PHCY      (DOD)                   WASHINGTON        DC   20310    HOSPITAL (FEDERAL)    BA3619129     300       900      300        800      2,000              860       4,300

100053300   041074278   ANDREW RADER US ARMY HLTH CLIN             FORT MYER         VA   22211    HOSPITAL (FEDERAL)    BA3619131    2,700     2,700     400      2,400                600     1,760      8,800
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100073944   018143008   ALLEN FAMILY DRUG       CPA           ALLEN          TX   75013     INDEPENDENT        BA3669566    3,500    5,200    6,100             2,000    3,200    4,000    20,000

100064615   038300244   CENTURA HLTH PHCY AT PORTER           DENVER         CO   80210       HOSPITAL         BA3702582    2,400    3,400    2,500    6,600    8,200    3,000    4,350    26,100

100053114   024011882   A-1 PHARMACY                        ALHAMBRA         CA   91801     INDEPENDENT        BA3746798     500     1,100    1,100     500                        800      3,200

100063453   019006528   AURORA PHARMACY #1130               NEW BERLIN       WI   53151         CHAIN          BA3848756    2,000    2,100    2,400    2,200    3,900    2,000    2,433    14,600

100070119   023113571   ALEXANDERS TWIN PHARMACY             HAMILTON        NJ   08610     INDEPENDENT        BA3866033     500      100                        200               267       800

100071033   023143016   ABEL'S PHARMACY(X)      CPA          PATERSON        NJ   07502     INDEPENDENT        BA3906279     100               200      100      200      100      140       700

100092386   018314955   AMERICARE PHARMACY INC              GAINESVILLE      TX   76240     INDEPENDENT        BA4039889    6,000    8,200    8,100    6,000    6,500    3,000    6,300    37,800

100065836   019006155   AURORA PHARMACY #1140               BURLINGTON       WI   53105         CHAIN          BA4045034    5,900    4,600    6,600    6,500    9,700    7,500    6,800    40,800

100063448   019006403   AURORA PHARMACY #1150                KENOSHA         WI   53142         CHAIN          BA4088438   11,400   10,100   11,600   15,200    5,260    7,600   10,193    61,160

100108529   019186064   AURORA PHARMACY #1150 340B 100       KENOSHA         WI   53142   PHS 340B HOSPITAL    BA4088438                                                 6,600    6,600     6,600

100054513   012014183   ANH-NHI PHARMACY                   WESTMINSTER       CA   92683     INDEPENDENT        BA4122228     200     1,100     500     1,800    3,000             1,320     6,600

100075235   008110403   ALTA BATES COMP CANCER CTR340B       BERKELEY        CA   94704   PHS 340B HOSPITAL    BA4151027              100                                          100       100

100101362   008112193   ALTA BATES COMP CANCER CTR WAC       BERKELEY        CA   94704   PHS 340B HOSPITAL    BA4151027              100                                          100       100

100054511   012013581   AMERICAN SURGICAL PHCY            SAN BERNARDINO     CA   92404     INDEPENDENT        BA4322044    2,000    2,000    2,500    6,500   18,600   17,000    8,100    48,600

100052273   010040451   ANTIS PHARMACY, INC     APSC        VANCEBURG        KY   41179     INDEPENDENT        BA4331409    5,000    5,700    2,600    1,500   12,000    1,000    4,633    27,800

100053512   024051177   *ADAMS SQUARE PHARMACY               GLENDALE        CA   91205     INDEPENDENT        BA4462557    1,000                                                 1,000     1,000

100105827   055039420   AIKEN REGIONAL MEDICAL CENTER          AIKEN         SC   29801       HOSPITAL         BA4557281    1,500     900     1,500    2,000     200     1,000    1,183     7,100

100055838   046001404   AMBULATORY SURG FACILITY PINES    PEMBROKE PINES     FL   33028       HOSPITAL         BA4633776                       100                                 100       100

100054509   012013227   ALTA VISTA PHARMACY                 MONTCLAIR        CA   91763     INDEPENDENT        BA4651647     100      100               200               300      175       700

100060459   041048348   ALLIED PHARM. SERV. (X) B03         ROCKVILLE        MD   20854    LONG TERM CARE      BA4699736    1,200    2,200    1,800     500     1,400    1,900    1,500     9,000

100060263   041100818   *ACT NURSING SERVICES(Z) R59       PORTSMOUTH        VA   23707    LONG TERM CARE      BA4716467     800                                                   800       800

100052863   010045864   ABSOLUTE PHARMACY SERVICES MWF    NORTH CANTON       OH   44720    LONG TERM CARE      BA4736899             2,000    4,000    3,000    4,000             3,250    13,000

100051032   008000471   ALCOSTA PHARMACY                    SAN RAMON        CA   94583     INDEPENDENT        BA4786399   13,900   13,200   11,600   13,700   12,000    9,500   12,317    73,900

100066163   040143073   APOTHECARY SHOPPE PHARMACY CPA     DOUGLASVILLE      GA   30134     INDEPENDENT        BA4830851   11,100    5,500    3,800    9,100    8,000    3,500    6,833    41,000

100063461   019006676   AURORA PHARMACY #1050              SAINT FRANCIS     WI   53235         CHAIN          BA4863759    4,500    5,000    4,800    6,400    6,400    3,500    5,100    30,600

100063896   019007062   AURORA PHARMACY #1060               WEST ALLIS       WI   53227         CHAIN          BA4867555   10,100    9,700    8,900    9,500   12,800    9,700   10,117    60,700

100065043   052057901   AUBURN UNIV STUD HLTH PHCY/CTR   AUBURN UNIVERSITY   AL   36849        ALT SITE        BA4871249     300      100      600      350      600      600      425      2,550

100058157   044047696   AMERICA'S #1 HEALTH STORE APSC     MADISONVILLE      KY   42431     INDEPENDENT        BA4882127   37,200            17,000    5,000   22,500   37,500   23,840   119,200

100065786   021004606   ADRIAN KREISLER DRUG                  ADRIAN         MO   64720     INDEPENDENT        BA4905545   11,500   13,200    8,100    9,200   13,900    8,800   10,783    64,700

100104952   021172692   ACH LAKE HEALTHP PHCY                 OMAHA          NE   68130       HOSPITAL         BA4909290    5,200    4,500    3,400    4,500    6,000    6,800    5,067    30,400

100069928   049175901   NOVI SURGERY CENTER                    NOVI          MI   48375       HOSPITAL         BA4918491                                 90                         90        90

100063457   019006619   AURORA PHARMACY #1070                 RACINE         WI   53406         CHAIN          BA4949321    8,000    8,600    7,600   10,200   10,400   10,020    9,137    54,820

100055837   046001396   AMBLTRY SURG FCLTY HOLLYWOOD        HOLLYWOOD        FL   33021       HOSPITAL         BA4954954     100                                          100      100       200

100060817   010101006   CASEY CO HOSPITAL PHARMACY            LIBERTY        KY   42539       HOSPITAL         BA5011173    1,000     400      900      500      640      560      667      4,000

100070510   038140111   MEDICAL CTR OF AURORA-SO. #712       AURORA          CO   80012       HOSPITAL         BA5045681    2,900    3,150    2,750    2,500    4,120    2,640    3,010    18,060

100063459   019006643   AURORA PHARMACY #1223               SHEBOYGAN        WI   53081         CHAIN          BA5167766   10,800    9,300   11,100   10,000   14,600   15,800   11,933    71,600

100063460   019006650   AURORA PHARMACY #1225               SHEBOYGAN        WI   53081         CHAIN          BA5234694    4,700    4,500    5,600    6,100    6,100    5,600    5,433    32,600

100055499   041000612   ADMIRAL JOEL T. BOONE-DOD            NORFOLK         VA   23521   HOSPITAL (FEDERAL)   BA5294575   30,000             6,000             8,400    7,300   12,925    51,700

100055500   041000638   NAVAL SEC.GR.ACT./NW-DOD           CHESAPEAKE        VA   23322   HOSPITAL (FEDERAL)   BA5294575             1,000                                500      750      1,500

100087560   010217059   THE CHRIST HOSP APOTHECARY          CINCINNATI       OH   45219       HOSPITAL         BA5323403    5,200    7,000    7,000    2,500    9,000    7,500    6,367    38,200

100065065   019003574   ASC SURGICAL VENTURES, LLC           ELKHART         IN   46514       HOSPITAL         BA5333303                       200                                 200       200

100050906   018083865   ALLIED PHARMACY SERVICES,INC        ARLINGTON        TX   76011    LONG TERM CARE      BA5353723                                100      200               150       300

100061352   019301341   WAUSHARA FAMILY PHYSICIANS          WILD ROSE        WI   54984       HOSPITAL         BA5358204    1,000    1,300    1,400    2,300     800     2,000    1,467     8,800

100074388   019057018   AURORA PHARMACY #1155                DE PERE         WI   54115         CHAIN          BA5376567    3,500    3,200    3,700    5,500    4,200    3,800    3,983    23,900
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100104041   021060921   APOTEK PHARMACY, INC. CPA         LINDSBORG     KS   67456     INDEPENDENT       BA5385871   25,000   11,100    8,000    9,000   20,100   10,000   13,867   83,200

100059276   041052753   ALCO PHARMACY(LTC)(Z)    B10     OWINGS MILLS   MD   21117   LONG TERM CARE      BA5388536     700      900      100     1,300    2,900     400     1,050    6,300

100104973   021172726   ACH MERCY HOSP - CORNING           CORNING      IA   50841       HOSPITAL        BA5454501                                                  100      100      100

100104974   021172734   ALEGENT HLTH MERCY HOSP 340B       CORNING      IA   50841       HOSPITAL        BA5454501                                100                        100      100

100054487   056000182   ADAMS-CUMBERLAND MED CTR(X)GNP    BIGLERVILLE   PA   17307     INDEPENDENT       BA5467522   10,500    8,700    9,300   10,500    8,100    8,100    9,200   55,200

100063897   019007104   AURORA PHARMACY #1055             WEST BEND     WI   53095        CHAIN          BA5502566    4,000    3,000    2,000    2,500    3,500    3,300    3,050   18,300

100067279   052061010   ADAMS DRUG VAUGHN ROAD @         MONTGOMERY     AL   36116     INDEPENDENT       BA5604372    8,300    5,100     800      100    11,000    8,500    5,633   33,800

100072520   019057091   AURORA PHARMACY #1227             PLYMOUTH      WI   53073        CHAIN          BA5626722    5,700    5,200    5,500   14,800    2,300    2,700    6,033   36,200

100104979   021172635   ACH - MIDLANDS HOSP                PAPILLION    NE   68046       HOSPITAL        BA5644100             1,000     100     1,150              240      623     2,490

100072592   019057273   AURORA PHARMACY #1032            FOND DU LAC    WI   54937        CHAIN          BA5672969    5,100    6,000    5,000    6,700    3,300    5,100    5,200   31,200

100105871   019183194   DR. AZIZ PHARMACY CPA            INDIANAPOLIS   IN   46256     INDEPENDENT       BA5766564    3,500    2,600    3,500    2,100    4,100    2,100    2,983   17,900

100064744   019006320   AURORA PHARMACY #1065             HARTLAND      WI   53029        CHAIN          BA5832212    3,400    4,200    3,600    4,100    5,000    2,700    3,833   23,000

100053420   024075507   AA PHARMACY                      LOS ANGELES    CA   90012     INDEPENDENT       BA5871492    1,000    1,000     500              4,500             1,750    7,000

100056866   044064808   *NOR AUDUBON HOSP                 LOUISVILLE    KY   40217       HOSPITAL        BA5991864    5,700    7,000    5,800    1,000                      4,875   19,500

100057371   044065938   *NOR AUDUBON HOSP 340B            LOUISVILLE    KY   40217   PHS 340B HOSPITAL   BA5991864     900     1,300     800                                1,000    3,000

100096442   044105932   *NOR AUDUBON HOSP WAC             LOUISVILLE    KY   40217   PHS 340B HOSPITAL   BA5991864                      1,000                               1,000    1,000

100061026   044065417   *NOR SUBURBAN HOSPITAL            LOUISVILLE    KY   40207       HOSPITAL        BA5995076    3,300    3,800    3,600     900                       2,900   11,600

100057289   044065961   *NOR SUBURBAN HOSP 340B           LOUISVILLE    KY   40207   PHS 340B HOSPITAL   BA5995076     500      700      800                                 667     2,000

100096434   044105916   *NORTON SUBURBAN HOSP WAC         LOUISVILLE    KY   40207   PHS 340B HOSPITAL   BA5995076                                500                        500      500

100065837   019006163   AURORA PHARMACY #1143             BURLINGTON    WI   53105        CHAIN          BA6072879    5,400    4,100    5,000    5,000    7,000    1,000    4,583   27,500

100055604   032060160   ANCHORAGE NEIGHBORHOOD PHCY       ANCHORAGE     AK   99503    PHS 340B CLINIC    BA6112635    2,500    2,000    1,800    2,500    3,900    1,900    2,433   14,600

100067609   017145524   ASHLEY VALLEY MEDICAL CTR #712      VERNAL      UT   84078       HOSPITAL        BA6179899     700      300      800      400      700      200      517     3,100

100052669   020053058   ADVANT-EDGE HOME HEALTH            EL PASO      TX   79935     INDEPENDENT       BA6194310    1,800    2,100    2,000    1,900     700              1,700    8,500

100055832   046006841   ACCARDI CLINICAL SERVICES        ORANGE CITY    FL   32763     INDEPENDENT       BA6209298    1,100    2,900    2,900    3,000    5,600    8,900    4,067   24,400

100062470   010009522   ANTWERP PHARMACY INC.     APSC     ANTWERP      OH   45813     INDEPENDENT       BA6285983    4,100    4,870    5,000    4,200    3,500    3,500    4,195   25,170

100104955   021172742   ALLEGENT HEALTH -BELLVUE PHCY      BELLEVUE     NE   68123       HOSPITAL        BA6375908    2,700    3,400    4,600    3,500    4,200    2,000    3,400   20,400

100072517   019057026   AURORA PHARMACY #1157            STURGEON BAY   WI   54235        CHAIN          BA6376049    4,100    5,500    6,000    4,500    8,500    6,500    5,850   35,100

100063867   019000364   ADDISON-CENTRAL PHARMACY           CHICAGO      IL   60634     INDEPENDENT       BA6391421    6,300    7,400    6,600    6,500    5,900    5,600    6,383   38,300

100104953   021172783   ALEGENT HLTH PHCY MIDPRO CTR       PAPILLION    NE   68046       HOSPITAL        BA6393906    1,500    1,500    1,400    1,500    2,900    2,300    1,850   11,100

100067449   052061663   ADAMS DRUG - PRATTVILLE @         PRATTVILLE    AL   36067     INDEPENDENT       BA6459576    4,000     500                      12,400    2,000    4,725   18,900

100067964   004175893   WORCESTER SURGICAL CENTER(X)      WORCESTER     MA   01605       HOSPITAL        BA6559807                       100                                 100      100

100104950   021172759   ACH PHARM - FLORENCE                OMAHA       NE   68112       HOSPITAL        BA6581866    2,500    2,800    3,300    1,900    3,300    3,000    2,800   16,800

100075499   010185611   ADVANCE PHARMACY                 CHARLESTON     WV   25303     INDEPENDENT       BA6602076    1,700    2,200    1,900    1,400    2,400    2,300    1,983   11,900

100063889   019006965   AURORA PSYCHIATRIC HOSPITAL,IP   WAUWATOSA      WI   53213       HOSPITAL        BA6602519     250      100       50      100                        125      500

100063892   019007021   AURORA PHARMACY #1017            WAUWATOSA      WI   53213        CHAIN          BA6609688     400      100      300      300      200      100      233     1,400

100063450   019006437   AURORA PHARMACY #1178            LAKE GENEVA    WI   53147        CHAIN          BA6680967    4,800    5,900    5,800    6,000    5,500    6,500    5,750   34,500

100063456   019006601   AURORA PHARMACY #1099               RACINE      WI   53402        CHAIN          BA6717776    3,700    5,900    4,400    6,200    4,700    2,500    4,567   27,400

100064075   052014522   ADAMS DRUGS-WETUMPKA @            WETUMPKA      AL   36092     INDEPENDENT       BA6745092     300      (100)    200      100      600    28,000    4,850   29,100

100077117   055019810   AVERY PHARMACY AND HEALTH CARE     LINVILLE     NC   28646     INDEPENDENT       BA6749381    8,500    6,000    7,600    7,100    8,600    6,400    7,367   44,200

100074376   049123331   NOOR PHCY           SF             WARREN       MI   48092     INDEPENDENT       BA6757198     100      100      100      200     1,000              300     1,500

100059725   023038828   ATRIUM PHARMACY (X)                EMERSON      NJ   07630   LONG TERM CARE      BA6768139     100      800      600      500      600      600      533     3,200

100104150   023151977   ACCOKEEK DRUG & HEALTH CAREINC    ACCOKEEK      MD   20607     INDEPENDENT       BA6800216    3,800    3,800    3,600    2,800    3,000    2,700    3,283   19,700

100054508   012013052   ALOHA PHARMACY                   WESTMINSTER    CA   92683     INDEPENDENT       BA6818085    1,300    1,500     500     1,200                      1,125    4,500

100106411   040121103   ANCHOR HOSPITAL                    ATLANTA      GA   30349       HOSPITAL        BA6833417     300      500      400      500      100      400      367     2,200
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100065191   019005942   AURORA PHARMACY #1018              MILWAUKEE       WI   53225        CHAIN          BA6887749    5,200    5,500    6,000     9,100    4,600    3,700    5,683    34,100

100065830   019006064   AURORA PHARMACY #1002              MILWAUKEE       WI   53220        CHAIN          BA6987462   10,900   10,630   12,400    16,200   12,800    9,900   12,138    72,830

100065832   019006098   AURORA PHARMACY #1007              MILWAUKEE       WI   53215        CHAIN          BA6990180    2,000    3,000    2,500     3,000    1,500    2,000    2,333    14,000

100060454   019040287   AURORA PHARMACY INC (340B PHS)     MILWAUKEE       WI   53215    PHS 340B CLINIC    BA6990180    1,000     400      500       200     1,400     100      600      3,600

100065825   019005975   AURORA PHARMACY #1014            SOUTH MILWAUKEE   WI   53172        CHAIN          BA7009815    6,400    7,500    5,600    14,400    1,400    3,500    6,467    38,800

100066622   021007773   ANITA CLINIC PHARMACY #1144           ANITA        IA   50020     INDEPENDENT       BA7076652     600      600      300                         800      575      2,300

100089054   021167130   ANITA CLINIC PHCY #1144 340B          ANITA        IA   50020   PHS 340B HOSPITAL   BA7076652                       700       500                        600      1,200

100060614   025025148   STERLING LTC (MHA)      SF          OWATONNA       MN   55060   LONG TERM CARE      BA7092086    5,200    8,700    4,400     5,200    8,000    7,100    6,433    38,600

100054481   049088625   *ATLAS PHCY INC      SF              DETROIT       MI   48238     INDEPENDENT       BA7102990   20,000   20,000     (100)                              13,300    39,900

100106014   024121392   AHF PHARMACY 340B                  LOS ANGELES     CA   90027     INDEPENDENT       BA7145534     300                                                    300       300

100051206   018032037   ARKANSAS SPECIALTY ORTHO           LITTLE ROCK     AR   72205       HOSPITAL        BA7334206     100               100       200                        133       400

100073355   055032409   ASSOCIATED PHARMACEUTICAL          SWANNANOA       NC   28778     INDEPENDENT       BA7440934   10,400   10,700   10,300    10,700   15,400    4,500   10,333    62,000

100073275   020180661   LA TIENDA PHARM                     CARLSBAD       NM   88220     INDEPENDENT       BA7449780   17,300   18,800   18,800    18,800   21,100   18,400   18,867   113,200

100053449   024020198   AMERICAN HEALTH SOLUTIONS          LOS ANGELES     CA   90034     INDEPENDENT       BA7456773     300      400      300       400      600      300      383      2,300

100072518   019057042   AURORA PHARMACY #1169               GREEN BAY      WI   54311        CHAIN          BA7499913   12,800   13,500   12,600    18,000   23,100   22,000   17,000   102,000

100106020   024121467   AHF HEALTHCARE CTR WESTSID340B    BEVERLY HILLS    CA   90211     INDEPENDENT       BA7608536    1,600                                                  1,600     1,600

100063447   019006395   AURORA PRES DIS #1179               KENOSHA        WI   53143        CHAIN          BA7634593    1,400     800     1,100     1,900    1,500    2,000    1,450     8,700

100056404   044078899   BAPTIST EAST MEMPHIS SURGERY C      MEMPHIS        TN   38120       HOSPITAL        BA7668253      50               100       200               240      148       590

100083731   018181230   ANDERSON'S DISCOUNT PHCY CPA         FT SMITH      AR   72901     INDEPENDENT       BA7675020   55,000   55,100   54,020    55,000   54,500   37,000   51,770   310,620

100068502   012100735   ANAHEIM PLAZA PHARMACY               ANAHEIM       CA   92804   LONG TERM CARE      BA7738163    5,700    6,500    5,600     4,700    5,900    3,400    5,300    31,800

100067610   052145011   ATHENS REGIONAL MED CENTER#712       ATHENS        TN   37303       HOSPITAL        BA7800510     700      400      900       600     1,600              840      4,200

100065185   019005751   AURORA PHARMACY #1104              BROOKFIELD      WI   53045        CHAIN          BA7809190    2,400    3,300    4,700     4,300    1,700    2,000    3,067    18,400

100065186   019005769   AURORA PHARMACY #1105              BROOKFIELD      WI   53005        CHAIN          BA7809215    1,100    2,300    1,700     2,500    1,500     900     1,667    10,000

100065184   019005736   AURORA PHARMACY #1101              MILWAUKEE       WI   53219        CHAIN          BA7809253    5,100    6,000    6,500    10,200    5,000    3,500    6,050    36,300

100052530   020041582   *ARIZONA SENIOR CARE PHARMACY         TEMPE        AZ   85283   LONG TERM CARE      BA7809695   24,500                                                 24,500    24,500

100053805   010053314   AVENUE PHARMACY         APSC         DAYTON        KY   41074     INDEPENDENT       BA7854943   19,600    3,600   34,130      230     5,100    7,600   11,710    70,260

100057997   049037127   ADDISON PHCY         SF              ADDISON       MI   49220     INDEPENDENT       BA7884326     400     2,100     600       300     5,100    1,100    1,600     9,600

100065828   019006015   AURORA PHARMACY #1194              MILWAUKEE       WI   53215        CHAIN          BA7911818    3,400    4,500    2,700     7,100     800     2,000    3,417    20,500

100106028   008116491   AHF PHARMACY-SAN FRANCISCO        SAN FRANCISCO    CA   94114     INDEPENDENT       BA7914701     200                         600                        400       800

100072588   019057141   AURORA PHARMACY #1242               MARINETTE      WI   54143        CHAIN          BA7980875    7,000    6,800    7,800     8,400    6,700    6,600    7,217    43,300

100089349   023135772   A J PHARMACY                      CLIFFSIDE PARK   NJ   07010     INDEPENDENT       BA8003028     500     1,600    1,200     1,500     200     1,000    1,000     6,000

100052399   020097204   ARIZONA SPINE & JOINT HOSP            MESA         AZ   85206       HOSPITAL        BA8054190     400      200     2,800                                1,133     3,400

100063997   019007492   AURORA PHARMACY #1062              WEST ALLIS      WI   53214        CHAIN          BA8071374    5,100    4,900    4,400     5,000    4,400    3,600    4,567    27,400

100053494   024087858   YAN YAN PHARMACY                 MONTEREY PARK     CA   91754     INDEPENDENT       BA8085599                                7,300    1,200             4,250     8,500

100059108   049000570   ALPENA REG MED CTR PHCY O/P          ALPENA        MI   49707       HOSPITAL        BA8128008    5,500    4,500    4,600     5,600    6,900    6,600    5,617    33,700

100076415   052021352   APOTHCARE DBA FOR BUCHHEIT-SF       WARTBURG       TN   37887     INDEPENDENT       BA8209644    9,500   11,000   10,500     7,000   13,300    7,500    9,800    58,800

100083169   008096677   ADVANCE MEDICAL PHARMACY          WALNUT CREEK     CA   94598     INDEPENDENT       BA8211992                       100      2,600    5,000             2,567     7,700

100064242   019007781   AURORA PHARMACY #1053                SLINGER       WI   53086        CHAIN          BA8249852    6,400    4,600    5,500    20,800    2,500             7,960    39,800

100104562   021172411   ALLEN COUNTY HOSP PHCY                 IOLA        KS   66749       HOSPITAL        BA8263991     300      300      350       600      200      100      308      1,850

100058000   049037432   ADVANCED CARE PHCY SVC BPS ACP      JACKSON        MI   49203     INDEPENDENT       BA8281242    5,900    5,400    5,900     6,500    6,500    5,200    5,900    35,400

100051866   008041988   ABALA PHARMACY                        TRACY        CA   95376     INDEPENDENT       BA8298792     700      200      700      1,400    6,500    5,500    2,500    15,000

100051867   008042259   ALTA BATES SUMMIT MEDICAL CTR       OAKLAND        CA   94609       HOSPITAL        BA8318265    2,700    2,000    1,700     1,400    2,500    1,640    1,990    11,940

100101364   008112201   ALTA BATES SUMMIT MED CTR WAC       OAKLAND        CA   94609    PHS 340B CLINIC    BA8318265              700               1,900             1,160    1,253     3,760

100059596   008144428   ALTA BATES SUMMIT MED CTR 340B      OAKLAND        CA   94609    PHS 340B CLINIC    BA8318265              200     1,000      500                        567      1,700
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100057923   019301051   WFHC-ST LUKES                                 RACINE         WI   53403       HOSPITAL        BA8398972     100       100               200                80      120        480

100106037   046058826   AHF PHARMACY-JACKSONVILLE                  JACKSONVILLE      FL   32204     INDEPENDENT       BA8457512     700      1,600                                        1,150      2,300

100106038   046058834   AHF PHARMACY-JACKSONVILLE 340B             JACKSONVILLE      FL   32204     INDEPENDENT       BA8457512     400       600                                          500       1,000

100072593   019057331   AURORA PHARMACY #1034                        OSHKOSH         WI   54904        CHAIN          BA8472639    9,300     7,600    8,500    7,500    9,100   11,600    8,933     53,600

100074222   019056838   AMC OSHKOSH (I/P)                            OSHKOSH         WI   54904       HOSPITAL        BA8520911    1,000      700      900      600     1,500     900      933       5,600

100072587   019057125   AURORA PHARMACY #1230                     HOWARDS GROVE      WI   53083        CHAIN          BA8546686     900      1,500    1,200    1,500    2,900    1,700    1,617      9,700

100053810   010053470   ADRIEN INC      APSC                        CINCINNATI       OH   45243     INDEPENDENT       BA8549466     500       700     1,000   12,500     500     3,000    3,033     18,200

100054015   038034132   APOTHECARE PHCY-LITTLETON SF                 LITTLETON       CO   80122     INDEPENDENT       BA8565319    1,000     2,000    1,500    2,500    1,500    1,500    1,667     10,000

100065689   049057661   ADVANCED CARE PHCY SVC SAGINAW               SAGINAW         MI   48602   LONG TERM CARE      BA8581440    3,900     3,000    3,600    2,300    3,700    2,900    3,233     19,400

100060740   023007930   AYUSH LLC           (GNP)                    ELMHURST        NY   11373     INDEPENDENT       BA8641361               100      100               100      100      100        400

100052385   024089516   AMERICAN CHRONICARE, INC                    ROSAMOND         CA   93560     INDEPENDENT       BA8643935    5,000     6,400    7,000    5,100                      5,875     23,500

100061513   019028126   A AVENUE PHARMACY                          CEDAR RAPIDS      IA   52401     INDEPENDENT       BA8648783    6,200     5,700    5,200    5,500    6,700    6,000    5,883     35,300

100065914   049060392   ADVANCED CARE PHCY SVC SFIELD               SOUTHFIELD       MI   48033     INDEPENDENT       BA8655966     900       700     1,200     400      800      700      783       4,700

100072594   019057349   AURORA PHARMACY #1036                         ALGOMA         WI   54201        CHAIN          BA8658013    4,600     3,700    3,800    5,900    4,700    3,800    4,417     26,500

100104806   004102038   *APOTHECARY CTR             SF              SPRINGFIELD      MA   01103     INDEPENDENT       BA8660018    6,400     7,100    8,500    3,000                      6,250     25,000

100054516   012014407   AVALON PHARMACY                            YUCCA VALLEY      CA   92284     INDEPENDENT       BA8723529   48,900    61,100   54,500   54,800   37,200   52,300   51,467    308,800

100085270   041136762   ANCHOR PHARMACY #112                        KILMARNOCK       VA   22482   LONG TERM CARE      BA8779994    1,000     1,500    1,000    2,500    3,000    1,000    1,667     10,000

100109691   032152942   ASSURED PHARMACY #3                          KIRKLAND        WA   98034     INDEPENDENT       BA8901755              1,500    2,800    2,300    2,300    2,000    2,180     10,900

100104969   021172627   ACH LAKESIDE HOSP                             OMAHA          NE   68130       HOSPITAL        BA8907175    2,500     2,100    2,500    2,450    1,600    1,900    2,175     13,050

100065036   008089086   A & O CLINIC PHARMACY                         SALINAS        CA   93901     INDEPENDENT       BA8931873   16,430    23,000   27,400   27,100   25,400   22,900   23,705    142,230

100107885   008116913   A & O CLINIC PHARMACY 340B                    SALINAS        CA   93901   PHS 340B HOSPITAL   BA8931873    9,800                                                  9,800      9,800

100065738   023061960   ALLENTOWN PHARMACY(Z)(GNP)                  ALLENTOWN        NJ   08501     INDEPENDENT       BA8932077    1,800     2,000    2,200    1,500    2,000    1,600    1,850     11,100

100061119   023008987   ALERT PHCY SVCS INC-X(GNP)(3)             MECHANICSBURG      PA   17055     INDEPENDENT       BA8943676                                          500      600      550       1,100

100069236   021009662   APOTHECARY PHCY             SF             SAINT JOSEPH      MO   64505     INDEPENDENT       BA9007104    9,500     6,000    9,300   10,400   13,200   12,000   10,067     60,400

100107742   021174367   APOTHECARY PHARMACY 340B                   SAINT JOSEPH      MO   64505   PHS 340B HOSPITAL   BA9007104    2,500     2,100    2,800    2,100     100              1,920      9,600

100066967   021009266   APOTHECARY PHARMACY (340B PHS)             SAINT JOSEPH      MO   64505    PHS 340B CLINIC    BA9007104    1,000     2,500    2,200                               1,900      5,700

100053418   024075333   ALHAMBRA PROFESSIONAL PHCY                   ALHAMBRA        CA   91801     INDEPENDENT       BA9028297    2,100     1,100    4,100    2,500             1,200    2,200     11,000

100070036   018145110   ALEDO MEDICINE STORE INC CPA                  ALEDO          TX   76008     INDEPENDENT       BA9028588   10,200     8,000    4,100    4,700     100     3,800    5,150     30,900

100106058   046059022   AHF PHARMACY-NORTH MIAMI                 NORTH MIAMI BEACH   FL   33169     INDEPENDENT       BA9035999     100                                                    100        100

100106059   046059030   AHF PHARMACY-JACKSON NORTH340B           NORTH MIAMI BEACH   FL   33169     INDEPENDENT       BA9035999     100                                                    100        100

100076221   018175356   SELECT SPECIALTY HOSP-TULSAMD                 TULSA          OK   74120       HOSPITAL        BA9053644    1,000     1,000    1,100     800     1,440    1,760    1,183      7,100

100072590   019057182   AURORA PHARMACY #1300                        WAUTOMA         WI   54982        CHAIN          BA9055648    4,800     4,100    5,400    5,800    9,200    1,200    5,083     30,500

100072586   019057109   AURORA PHARMACY #1228                          KIEL          WI   53042        CHAIN          BA9055650    2,200     2,800    1,600    2,700     100     1,400    1,800     10,800

100064783   019009274   *AURORA PHARMACY #1093                       GLENDALE        WI   53217        CHAIN          BA9083700     (800)                                                  (800)      (800)

100056463   046011072   ARA MEDICAL SERVICES INC                       MIAMI         FL   33144     INDEPENDENT       BA9119252     200       100      400      400                        275       1,100

100089427   024055541   ARROYO GRANDE COMMUNITY HOSP              ARROYO GRANDE      CA   93420       HOSPITAL        BA9170147    1,600     2,700    1,700    2,400    1,900    1,400    1,950     11,700

100070997   023144097   ANGELO PHARMACY(X)           CPA             NEWARK          NJ   07105     INDEPENDENT       BA9199907     100       400      500      500      300      700      417       2,500

100055210   010006148   ASHLAND HOMETOWNE PHCY            APSC       ASHLAND         OH   44805     INDEPENDENT       BA9234244    1,000      500      500      500     1,200    1,700     900       5,400

100054272   046050096   ADEL CONSLT.DBA BEARSS PHCY %                 TAMPA          FL   33618     INDEPENDENT       BA9250856     300       900     1,500     800     1,000              900       4,500

100058407   049096420   ADA HILLSIDE PHARMACY        SF                ADA           MI   49301     INDEPENDENT       BA9307009    2,400     3,700    2,500    5,800    1,800    1,800    3,000     18,000

100063901   049099077   ADVANCED CARE PHCY SVCS PHURON              PORT HURON       MI   48060     INDEPENDENT       BA9318292    2,200     2,000    2,100    1,600    5,600    2,600    2,683     16,100

100088193   049186429   ADVANCED CARE PHCY 340B                     PORT HURON       MI   48060    PHS 340B CLINIC    BA9318292     100       100      100               500               200        800

100066553   010010330   ACUITY SPECIALTY HOSP, OH VALL             STEUBENVILLE      OH   43952       HOSPITAL        BA9434274     400       200      300      300               360      312       1,560

100060432   044080929   ACCREDO HEALTH GROUP INC                     NASHVILLE       TN   37228     MAIL SERVICE      BA9451193     600                         700                        650       1,300
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100067101   019143263   JW PHARMACY & DME INC.        CPA      LA GRANGE       IL   60525     INDEPENDENT       BA9460306    3,500    3,500    7,100    1,500    8,000             4,720    23,600

100072596   019057364   AURORA PHARMACY #1041                  TWO RIVERS      WI   54241        CHAIN          BA9504588    2,600    4,200    2,500    3,000    3,800    2,500    3,100    18,600

100073446   020125914   *ALBUQUERQUE PHARMACY (RETAIL)       ALBUQUERQUE       NM   87108     INDEPENDENT       BA9509893    2,200    3,800    2,400                               2,800     8,400

100077116   055019224   ACCREDO HEALTH GROUP, INC             GREENSBORO       NC   27409     MAIL SERVICE      BA9513905              400      100      300                        267       800

100074220   019056804   ARCARO, SUSAN E DO (MARINETTE)         MARINETTE       WI   54143       HOSPITAL        BA9528502                                100                        100       100

100067236   012114355   ARLINGTON PRESCRIPT PHMCY              RIVERSIDE       CA   92503     INDEPENDENT       BA9534707   15,300   17,400   16,300   15,500   13,600    6,500   14,100    84,600

100071035   023143040   AR-EX PHARMACY(X)           CPA          FORDS         NJ   08863     INDEPENDENT       BA9536078    2,500    3,500    3,200    1,700     200     1,000    2,017    12,100

100066362   024112284   ABSOLUTE CARE INC                    SAN FERNANDO      CA   91340     INDEPENDENT       BA9598357                                         200               200       200

100106043   046058883   AHF PHARMACY-ORLANDO                    ORLANDO        FL   32803     INDEPENDENT       BA9598662     100                                          900      500      1,000

100056740   052160663   AUPCC PHARMACY                          AUBURN         AL   36849       ALT SITE        BA9623186    3,530    3,730    3,530    3,930    2,400    2,100    3,203    19,220

100071670   052146514   AUPCC PHARMACY (NON-MMCAP)              AUBURN         AL   36849       ALT SITE        BA9623186                                        1,200     600      900      1,800

100090619   032145144   AUBURN COMMUNITY HLTH CTR 340B          AUBURN         WA   98002    PHS 340B CLINIC    BA9634254    1,400    1,800    1,300    1,900    1,600    1,000    1,500     9,000

100065742   023035097   ACE PHARMACY     (Z)                  LONG BRANCH      NJ   07740     INDEPENDENT       BA9649976    1,500    2,300    2,500    1,400    2,800    1,100    1,933    11,600

100076898   010114926   ARLINGTON PHARMACY                     ARLINGTON       OH   45814     INDEPENDENT       BA9653999    3,000    4,600    4,000    4,200                      3,950    15,800

100050156   010070003   ARROW SPRINGS PHARMACY                  LEBANON        OH   45036     INDEPENDENT       BA9694452     700      600     1,400    2,500    2,800    3,000    1,833    11,000

100089360   018204644   *FAMILY PHCY           SF              LEWISVILLE      TX   75067     INDEPENDENT       BA9696836    8,000    8,800                                        8,400    16,800

100067815   038111112   ADMHN PHARMACY                         LITTLETON       CO   80120     INDEPENDENT       BA9706194     600      700      900      600      700      400      650      3,900

100059289   019040642   AURORA PHARMACY #1102                  HARTFORD        WI   53027        CHAIN          BA9729231    6,100    6,600    6,700    7,300    7,700    6,700    6,850    41,100

100058462   049110072   APOTHECARY SHOP                         LANSING        MI   48906     INDEPENDENT       BA9737024   47,600   50,700   47,400   51,800   57,700   19,600   45,800   274,800

100062362   049112300   ALL CARE PHCY          SF              ALLEN PARK      MI   48101     INDEPENDENT       BA9739484   35,500   31,600   30,300   40,500   34,400   20,800   32,183   193,100

100054420   012038810   ACCREDO HEALTH GROUP                    CORONA         CA   92880     MAIL SERVICE      BA9751050                       100      100                        100       200

100063955   049117200   ADVANCED CARE PHCY SVCS SHELBY      SHELBY TOWNSHIP    MI   48315   LONG TERM CARE      BA9833713     300      600      800      800      800               660      3,300

100086419   024109140   ARROW MEDICAL PHARMACY                   AZUSA         CA   91702     INDEPENDENT       BA9850000                                        7,000    4,200    5,600    11,200

100086419   024109140   ARROW MEDICAL PHARMACY                   AZUSA         CA   91702     MAIL SERVICE      BA9850000    3,000    3,000    3,800    1,100                      2,725    10,900

100101243   019179432   WALGREENS #01504            DSD        OAK LAWN        IL   60453     WALGREENS         BB0200698   23,100   25,500   22,700   20,330   24,800   12,400   21,472   128,830

100107602   019185074   WALGREENS #01504 340B                  OAK LAWN        IL   60453   PHS 340B HOSPITAL   BB0200698                                500                        500       500

100099021   019177915   WALGREENS #01496            DSD         CHICAGO        IL   60646     WALGREENS         BB0201133   19,800   18,520   18,400   19,200   17,200   10,100   17,203   103,220

100099046   019178160   WALGREENS #13454            DSD         CHICAGO        IL   60659     WALGREENS         BB0216108    6,400    9,200    8,800    8,200    4,400    8,500    7,583    45,500

100099003   019177733   WALGREENS #01495            DSD         CHICAGO        IL   60639     WALGREENS         BB0216235    3,600    3,200    3,000    3,600    3,000    3,000    3,233    19,400

100098882   019176461   WALGREENS #01450            DSD          LYONS         IL   60534     WALGREENS         BB0216259   28,620   31,600   32,130   32,400   31,700   30,300   31,125   186,750

100090639   019157636   WALGREENS #01450 340B                    LYONS         IL   60534   PHS 340B HOSPITAL   BB0216259     500                                                   500       500

100098985   019177550   WALGREENS #01593            DSD         CHICAGO        IL   60630     WALGREENS         BB0222529   12,700   14,900   12,700   14,800   15,800    9,600   13,417    80,500

100098923   019176909   *WALGREENS #01068           DSD         CHICAGO        IL   60606     WALGREENS         BB0346521    1,100                                                 1,100     1,100

100098700   019173641   WALGREENS #04146            DSD     PROSPECT HEIGHTS   IL   60070     WALGREENS         BB0372312   13,000   16,500   15,200   14,700   13,700   10,700   13,967    83,800

100098969   019177394   WALGREENS #11223            DSD         CHICAGO        IL   60620     WALGREENS         BB0386032    6,800    7,400    9,300    8,300    5,700    7,000    7,417    44,500

100098930   019176974   WALGREENS #01503            DSD         CHICAGO        IL   60609     WALGREENS         BB0449000    6,700    7,730    7,360    8,690    5,900    4,000    6,730    40,380

100067017   019143057   BURGLAND DRUG STORE           CPA      GALESBURG       IL   61401     INDEPENDENT       BB0484345   15,000   12,300    6,500    6,300   16,000   14,400   11,750    70,500

100098876   019176404   WALGREENS #01670            DSD         HINSDALE       IL   60521     WALGREENS         BB0538047   11,500    9,900   11,040   11,000    9,700    4,900    9,673    58,040

100059484   056064394   BRADLEY BEACH PHARMACY               BRADLEY BEACH     NJ   07720     INDEPENDENT       BB0539443    1,500     600     1,600    1,600              800     1,220     6,100

100098859   019175737   WALGREENS #05924            DSD          WORTH         IL   60482     WALGREENS         BB0541486   19,100   19,900   18,300   22,100   23,400   12,600   19,233   115,400

100099075   019178459   WALGREENS #02473            DSD        ROCK FALLS      IL   61071     WALGREENS         BB0559267   18,600   23,500   24,200   20,300   21,700   21,500   21,633   129,800

100098661   019173252   WALGREENS #01656            DSD         GLENCOE        IL   60022     WALGREENS         BB0595415    3,760    4,680    5,120    4,030    4,000    2,900    4,082    24,490

100098967   019177378   WALGREENS #05825            DSD         CHICAGO        IL   60620     WALGREENS         BB0610851    9,800    9,500   10,000   10,200    7,700    8,700    9,317    55,900

100099070   019178400   WALGREENS #04150            DSD        BELVIDERE       IL   61008     WALGREENS         BB0645525   38,400   39,000   37,500   40,800   39,200   23,500   36,400   218,400
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100054491   056000323   BOYDS PHCY OF PEMBERTON INCCPA       PEMBERTON        NJ   08068       INDEPENDENT        BB0677457    5,100    3,700    6,900    2,500    5,700    2,400    4,383    26,300

100098712   019173765   WALGREENS #04067          DSD      BUFFALO GROVE      IL   60089       WALGREENS          BB0732607   39,090   39,470   35,670   40,260   43,000   23,200   36,782   220,690

100098987   019177576   WALGREENS #01768          DSD         CHICAGO         IL   60631       WALGREENS          BB0752457    5,100    6,400    6,300    5,700    6,300    4,600    5,733    34,400

100099103   021169888   WALGREENS #04504          DSD        GALESBURG        IL   61401       WALGREENS          BB0800121   51,600   52,800   55,200   63,400   60,200   24,500   51,283   307,700

100098789   019174532   WALGREENS #11760          DSD         OAK PARK        IL   60302       WALGREENS          BB0800133   13,300   12,300   14,200   12,000   14,200   10,600   12,767    76,600

100099002   019177725   WALGREENS #11492          DSD         CHICAGO         IL   60638       WALGREENS          BB0818623   11,400   11,200   10,200    9,600   12,600    7,700   10,450    62,700

100054490   056000315   BOYDS PHCY OF FLORENCE      CPA       FLORENCE        NJ   08518       INDEPENDENT        BB0844375    3,400    4,300    6,400    4,300    3,400    2,500    4,050    24,300

100054489   056000307   BOYDS PHCY OF BORDENTOWN CPA        BORDENTOWN        NJ   08505       INDEPENDENT        BB0844387    2,620    3,700    3,000    2,700    4,000    2,100    3,020    18,120

100091474   046042705   DAVIS ISLANDS PHARMACY      CPA        TAMPA          FL   33606       INDEPENDENT        BB0852055    2,200    2,500    2,600    2,400             2,200    2,380    11,900

100067349   019143461   BERTINI PHARMACEUTICAL SVC CPA        OAK PARK        IL   60304       INDEPENDENT        BB0915578   16,500    6,000   12,005    3,020    8,500    4,300    8,388    50,325

100065614   021003376   BROWN-GREIM PHARMACY, INC         EXCELSIOR SPRINGS   MO   64024       INDEPENDENT        BB0983507   16,300   17,800   13,000   10,300   14,300   11,700   13,900    83,400

100098935   019177055   WALGREENS #06641          DSD         CHICAGO         IL   60609       WALGREENS          BB1057428    6,100    6,800    7,000    8,200   10,600    3,500    7,033    42,200

100098645   019173096   WALGREENS #05594          DSD     ARLINGTON HEIGHTS   IL   60005       WALGREENS          BB1132048   10,330   11,400   11,300   10,000   11,100    9,100   10,538    63,230

100062462   018067124   BROOKHAVEN HOSPITAL INC                TULSA          OK   74128         HOSPITAL         BB1166568     600      200               200      300      200      300      1,500

100058024   049006106   BOTSFORD OUT-PATIENT PHARMACY     FARMINGTON HILLS    MI   48336         HOSPITAL         BB1219941   14,500   15,700   16,000   11,800   12,500   16,400   14,483    86,900

100098929   019176966   WALGREENS #02025          DSD         CHICAGO         IL   60608       WALGREENS          BB1242407   14,900   16,800   14,200   15,000   18,700   10,600   15,033    90,200

100054588   012016550   BUSHARD'S PHARMACY                  LAGUNA BEACH      CA   92651       INDEPENDENT        BB1252686    5,500    5,600    5,500    4,300    6,300    5,600    5,467    32,800

100098641   019173054   WALGREENS #15261          DSD         ANTIOCH         IL   60002       WALGREENS          BB1266647   39,630   41,700   39,020   41,760   46,100   29,900   39,685   238,110

100077120   055018671   BOONE DRUG AT NEW MARKET               BOONE          NC   28607       INDEPENDENT        BB1307140   12,800   13,200   14,400   20,700    5,100   14,300   13,417    80,500

100054492   056000331   BOYDS PHCY OF MANSFLD INC CPA        COLUMBUS         NJ   08022       INDEPENDENT        BB1399167    3,600    4,700    4,100    6,300    3,000    3,900    4,267    25,600

100068255   040144097   TURNER PHARMACY           CPA       CARROLLTON        GA   30117       INDEPENDENT        BB1422269   33,500   32,700   33,000   35,200   43,200   24,400   33,667   202,000

100099181   044217794   WALGREENS #05602          DSD       JACKSONVILLE      IL   62650       WALGREENS          BB1457022    7,900   32,400   36,300   41,600   34,800   29,900   30,483   182,900

100098888   019176545   WALGREENS #10148          DSD        NAPERVILLE       IL   60540       WALGREENS          BB1482823   11,100   13,900    9,600   11,800   12,700    5,300   10,733    64,400

100099148   044217521   WALGREENS #05665          DSD       GLEN CARBON       IL   62034       WALGREENS          BB1491137     200    14,320   22,900   22,000   22,400   16,800   16,437    98,620

100098857   019175703   WALGREENS #09924          DSD      SOUTH HOLLAND      IL   60473       WALGREENS          BB1505669   17,800   16,700   16,500   18,100   19,100   13,000   16,867   101,200

100054321   056000729   VIRTUA MEM HOS OF BURLINGTON C      MOUNT HOLLY       NJ   08060         HOSPITAL         BB1544407     600     2,100              400      500      600      840      4,200

100098738   019174029   WALGREENS #09439          DSD           ELGIN         IL   60120       WALGREENS          BB1563293    9,300   11,300   11,100   10,200   11,200    8,000   10,183    61,100

100098931   019176982   WALGREENS #02073          DSD         CHICAGO         IL   60609       WALGREENS          BB1643457    6,000    5,000    6,900    7,600    5,000    5,000    5,917    35,500

100052820   026060517   NORTHSHORE PHCY     KAUAI              KILAUEA        HI   96754       INDEPENDENT        BB1648205    1,500    1,200    1,600    2,000             6,700    2,600    13,000

100098768   019174326   WALGREENS #09505          DSD         ROSELLE         IL   60172       WALGREENS          BB1650440   12,100   13,200   13,290   10,530   15,000    7,800   11,987    71,920

100098764   019174284   WALGREENS #03995          DSD        NORTHLAKE        IL   60164       WALGREENS          BB1651985   38,300   38,530   36,700   34,200   36,600   31,400   35,955   215,730

100091096   019158147   WALGREENS #3995    340B              NORTHLAKE        IL   60164     PHS 340B HOSPITAL    BB1651985    1,500    1,000     600                                1,033     3,100

100098934   019177048   WALGREENS #05868          DSD         CHICAGO         IL   60609       WALGREENS          BB1652002    8,600   10,400    9,100    9,900   10,000    8,600    9,433    56,600

100058732   044042572   BENTON DISCOUNT PHARMACY, INC          BENTON         KY   42025       INDEPENDENT        BB1660693   28,000   30,100   30,820   28,700   25,700   27,800   28,520   171,120

100099033   019178038   WALGREENS #04147          DSD         CHICAGO         IL   60651       WALGREENS          BB1690949   19,600   19,300   17,800   17,200   14,000   15,500   17,233   103,400

100071238   023143149   BUCKLEY DRUG STORE(X)       CPA      ENGLEWOOD        NJ   07631       INDEPENDENT        BB1705156    1,100     600      700     2,200     300     1,600    1,083     6,500

100054498   010044743   BELMONT CO HLTH SERVICES, INC         BELMONT         OH   43718       INDEPENDENT        BB1716503    5,000    6,200    4,800    3,200    5,600    3,700    4,750    28,500

100099110   019178756   WALGREENS #11493          DSD           PEKIN         IL   61554       WALGREENS          BB1792212    5,200   25,500   30,500   30,600   41,800   22,700   26,050   156,300

100099188   044217851   WALGREENS #10775          DSD        SPRINGFIELD      IL   62702       WALGREENS          BB1878884    1,500   10,630   15,600   15,630   16,000   12,000   11,893    71,360

100098644   019173088   WALGREENS #03512          DSD     ARLINGTON HEIGHTS   IL   60005       WALGREENS          BB1895967   21,100   25,900   17,700   21,300   19,500   14,000   19,917   119,500

100099194   044217919   WALGREENS #12427          DSD        SPRINGFIELD      IL   62704       WALGREENS          BB1950458    6,700   21,800   24,100   24,300   27,900   16,200   20,167   121,000

100099038   019178087   WALGREENS #07360          DSD         CHICAGO         IL   60655       WALGREENS          BB1954913   21,200   20,300   19,100   22,100   16,200   16,100   19,167   115,000

100099009   019177790   WALGREENS #11410          DSD         CHICAGO         IL   60639       WALGREENS          BB1961704   12,700   11,200   11,400   11,300   10,800   11,000   11,400    68,400

100076162   056001610   LIFECARE PHARMACY                    LANCASTER        PA   17601   HOME HEALTH SERVICES   BB1962908    3,100    2,000    3,500    3,000    3,400    1,800    2,800    16,800
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100067471   021016352   MEDICINE MAN PHCY (BP INC) SF             OMAHA            NE   68154     INDEPENDENT       BB1992432    2,400    3,200    2,200    4,300    2,100    3,100    2,883    17,300

100098854   019175653   WALGREENS #11224       DSD             ORLAND PARK         IL   60467     WALGREENS         BB1995185   14,500   13,700   12,200   13,900   18,600    7,600   13,417    80,500

100060965   040067421   BJL, INC                                HIAWASSEE          GA   30546     INDEPENDENT       BB2018821    1,100    1,000              500     6,500             2,275     9,100

100098950   019177204   WALGREENS #02211       DSD               CHICAGO           IL   60615     WALGREENS         BB2050540    9,800   11,400   11,000   10,300    8,500    9,000   10,000    60,000

100099112   019178772   WALGREENS #02166       DSD                PEORIA           IL   61604     WALGREENS         BB2050552    2,000    6,700    7,000    8,500   10,700    4,000    6,483    38,900

100098681   019173450   WALGREENS #02213       DSD              LAKE ZURICH        IL   60047     WALGREENS         BB2050564    9,800   10,500   10,330    9,700   10,400    9,200    9,988    59,930

100072654   046140491   BELLEAIR SURGERY CENTER #712           CLEARWATER          FL   33756       HOSPITAL        BB2111300                       100                                 100       100

100098658   019173229   WALGREENS #02212       DSD              DES PLAINES        IL   60018     WALGREENS         BB2157837   21,800   19,500   18,500   19,800   15,300   18,600   18,917   113,500

100099108   019178731   WALGREENS #09920       DSD                CANTON           IL   61520     WALGREENS         BB2158930    2,900   21,100   28,500   28,300   25,200   19,500   20,917   125,500

100098994   019177642   WALGREENS #04935       DSD               CHICAGO           IL   60634     WALGREENS         BB2161038   13,900   12,900   12,200   11,200    7,700    9,600   11,250    67,500

100076881   055042838   BLUE RIDGE HOSP SYSTEMS INC             SPRUCE PINE        NC   28777       HOSPITAL        BB2168892     200      300      100      200      400      400      267      1,600

100076357   055048009   BLUE RIDGE HOSP SYSTEMS (340B)          SPRUCE PINE        NC   28777   PHS 340B HOSPITAL   BB2168892     400      300      300                        200      300      1,200

100098865   019175844   WALGREENS #09404       DSD                AURORA           IL   60505     WALGREENS         BB2197855   14,900   14,600   14,200   14,700   15,300    7,100   13,467    80,800

100098724   019173880   WALGREENS #05284       DSD              ALGONQUIN          IL   60102     WALGREENS         BB2201654   13,530   14,190   11,460   12,930   14,900    6,700   12,285    73,710

100098980   019177501   *WALGREENS #02300      DSD               CHICAGO           IL   60628     WALGREENS         BB2242446    6,900    2,500                                        4,700     9,400

100076018   049132506   DEARBORN SURGERY CENTER                 DEARBORN           MI   48124       HOSPITAL        BB2244349              300      100      300      160      160      204      1,020

100098726   019173906   WALGREENS #15482     DSD                 BARTLETT          IL   60103     WALGREENS         BB2269771   11,230   10,050   11,800    9,400   11,800    9,000   10,547    63,280

100057409   046001412   BAPTIST MEDICAL CENTER OF THE        JACKSONVILLE BEAC     FL   32250       HOSPITAL        BB2270863    1,200    1,800    1,600    1,100     960     1,100    1,293     7,760

100054385   041015776   *BAXTERS DRUG STORE        845          MCKENNEY           VA   23872     INDEPENDENT       BB2323107     200                                                   200       200

100099026   019177964   WALGREENS #10424       DSD               CHICAGO           IL   60647     WALGREENS         BB2339972    3,800    6,200    4,100    5,600    3,600    3,500    4,467    26,800

100059677   056027342   BAYWOOD PHARMACY                           BRICK           NJ   08723     INDEPENDENT       BB2374647    5,400    2,400    3,100    7,500    1,700     600     3,450    20,700

100098807   019174714   WALGREENS #02301       DSD                HARVEY           IL   60426     WALGREENS         BB2378354    6,600    7,500    8,000    7,100    7,100    6,500    7,133    42,800

100099185   044217828   WALGREENS #02492       DSD              SPRINGFIELD        IL   62702     WALGREENS         BB2400923    9,200   27,200   34,400   35,500   35,300   19,700   26,883   161,300

100098722   019173864   WALGREENS #05829       DSD                 ZION            IL   60099     WALGREENS         BB2400947   29,900   31,500   29,500   30,700   22,700   25,300   28,267   169,600

100064579   052041012   BENNETT'S PHARMACY                      WINCHESTER         TN   37398     INDEPENDENT       BB2409438   27,900   32,300   23,430   19,200   32,500   29,500   27,472   164,830

100072829   046140541   BRANDON SURGI-CENTER       #712          BRANDON           FL   33511       HOSPITAL        BB2428488              300       -                                  150       300

100104883   010235309   BOLWELL HLT H CTR PHCY WAC              CLEVELAND          OH   44106       HOSPITAL        BB2466642              400               200     1,200     500      575      2,300

100098740   019174045   WALGREENS #12772       DSD                 ELGIN           IL   60123     WALGREENS         BB2475184   14,700   15,900   15,600   15,500   15,600   15,500   15,467    92,800

100053709   044000174   BYASSEE DRUG STORE         APSC          CLINTON           KY   42031     INDEPENDENT       BB2479550    3,000    3,000   10,500    1,000    4,000    1,000    3,750    22,500

100089785   010223966   BUKMIR'S PHARMACY APSC                   BRILLIANT         OH   43913     INDEPENDENT       BB2505583    4,000    1,300    2,000    4,000             1,600    2,580    12,900

100098685   019173492   WALGREENS #05469       DSD               MCHENRY           IL   60050     WALGREENS         BB2508793   51,400   56,000   54,700   55,500   60,700   20,400   49,783   298,700

100098802   019174664   WALGREENS #05086       DSD         SOUTH CHICAGO HEIGHTS   IL   60411     WALGREENS         BB2528098   31,500   31,400   27,700   32,500   31,500   19,000   28,933   173,600

100059156   044043646   POOLE'S PHARMACY CARE       APSC       CENTRAL CITY        KY   42330     INDEPENDENT       BB2547428   32,000   36,400   38,600   35,700   49,700   27,200   36,600   219,600

100099157   044217612   WALGREENS #04832       DSD           FAIRVIEW HEIGHTS      IL   62208     WALGREENS         BB2557722     300    17,700   26,200   25,100   33,000   17,100   19,900   119,400

100099137   019179028   WALGREENS #12787       DSD               DANVILLE          IL   61832     WALGREENS         BB2568371   11,400   39,100   45,800   51,000   42,400   44,000   38,950   233,700

100098696   019173609   WALGREENS #07754       DSD               PALATINE          IL   60067     WALGREENS         BB2593235   12,700   13,500   12,100   12,100   10,700    9,300   11,733    70,400

100098870   019176057   WALGREENS #02532       DSD                BATAVIA          IL   60510     WALGREENS         BB2607236    6,960    7,960    7,600    7,900    9,200    5,700    7,553    45,320

100055036   019004374   BRATLAND'S PRESCRIPTION SHOP             DANVILLE          IL   61832     INDEPENDENT       BB2632405     400      300      300     4,900                      1,475     5,900

100068366   055143032   BEACH PHARMACY: HATTERAS(X)CPA           HATTERAS          NC   27943     INDEPENDENT       BB2680569    3,200    2,000    3,100    2,000    3,600    2,100    2,667    16,000

100098728   019173922   WALGREENS #09024       DSD             BENSENVILLE         IL   60106     WALGREENS         BB2707935   18,600   16,200   16,700   17,800   21,100   15,300   17,617   105,700

100098784   019174482   WALGREENS #07545       DSD             SCHAUMBURG          IL   60194     WALGREENS         BB2720236   13,300   13,900   14,300   13,600   14,500   11,300   13,483    80,900

100099083   019178533   WALGREENS #09127       DSD              ROCKFORD           IL   61107     WALGREENS         BB2720248   24,400   26,900   23,060   25,400   28,000   23,600   25,227   151,360

100098808   019174722   WALGREENS #02558       DSD                HARVEY           IL   60426     WALGREENS         BB2748210    9,500   10,800    9,000    9,200    6,200    8,500    8,867    53,200

100059458   023002121   BELL APOTHECARY       (GNP)               EASTON           PA   18042     INDEPENDENT       BB2750241     900      700      600      700      400     1,100     733      4,400
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100098959   019177295   WALGREENS #02586        DSD           CHICAGO       IL   60618     WALGREENS         BB2793695    6,130    9,700    5,100     6,900    6,900    5,800    6,755     40,530

100099127   019178921   WALGREENS #12396        DSD           NORMAL        IL   61761     WALGREENS         BB2795865    2,600    9,800   10,200    10,500   10,500    9,500    8,850     53,100

100099069   019178392   WALGREENS #10339        DSD         BOURBONNAIS     IL   60914     WALGREENS         BB2804626   33,300   34,160   32,500    34,740   37,000   32,800   34,083    204,500

100098769   019174334   WALGREENS #07292        DSD          ST CHARLES     IL   60174     WALGREENS         BB2815364   15,500   14,600   12,600    15,600   17,800   11,400   14,583     87,500

100098879   019176438   WALGREENS #05670        DSD          LA GRANGE      IL   60525     WALGREENS         BB2903549    9,500   10,200    9,400    10,400   13,900    9,800   10,533     63,200

100054118   037016618   BROOKSHIRE BROS GNP/KIRBYVILLE       KIRBYVILLE     TX   75956     INDEPENDENT       BB2911685   17,900   27,700   20,100    38,600    7,000   20,300   21,933    131,600

100099072   019178426   WALGREENS #02584        DSD          FREEPORT       IL   61032     WALGREENS         BB2941777   19,300   22,100   18,700    19,600   19,600   12,000   18,550    111,300

100099123   019178889   WALGREENS #15164        DSD         BLOOMINGTON     IL   61701     WALGREENS         BB2948149    4,100   14,300   15,200    17,200   16,200   15,600   13,767     82,600

100067465   044053835   BOWLING GREEN PHARMACY             BOWLING GREEN    MO   63334     INDEPENDENT       BB2958859    6,200    4,900    3,400     3,500    7,200    4,300    4,917     29,500

100063168   052049544   BURNHAM-MCKINNEY PHY #1       SF     MOSS POINT     MS   39563     INDEPENDENT       BB2995807   24,300   18,600   22,100    19,200   30,110   14,000   21,385    128,310

100104479   052223024   BURNHAM-MCKINNEY PHCY #1 PHS         MOSS POINT     MS   39563   PHS 340B HOSPITAL   BB2995807    1,500    4,000    3,500     2,000                      2,750     11,000

100063169   052049551   BURNHAM MCKINNEY PHY #2       SF     ESCATAWPA      MS   39552     INDEPENDENT       BB2995819   14,600   13,500   13,700    13,000   21,500   12,700   14,833     89,000

100104505   052223032   BURNHAM MCKINNEY PHCY #2 PHS         ESCATAWPA      MS   39552   PHS 340B HOSPITAL   BB2995819    3,000    2,000    1,500     2,000                      2,125      8,500

100073947   018143032   BELLS FAMILY DRUG       CPA            BELLS        TX   75414     INDEPENDENT       BB2996873   12,100   12,100   16,000    12,100    8,000    8,000   11,383     68,300

100063829   021013839   MED ASSOCIATES PHCY      SF            BOONE        IA   50036     INDEPENDENT       BB3043534    8,000    7,000    7,500     9,500    8,000    9,500    8,250     49,500

100093848   046043745   B & W REXALL DRUGS                   INVERNESS      FL   34450     INDEPENDENT       BB3086243    5,000    3,700    5,300     7,400    8,200    8,400    6,333     38,000

100098874   019176099   WALGREENS #02720        DSD        DOWNERS GROVE    IL   60516     WALGREENS         BB3105067   10,200   10,700   10,200     9,100   12,000    5,500    9,617     57,700

100098979   019177493   WALGREENS #02210        DSD           CHICAGO       IL   60628     WALGREENS         BB3114701    9,700     800     6,100     5,800    3,500    5,500    5,233     31,400

100099078   019178483   WALGREENS #02585        DSD          ROCKFORD       IL   61101     WALGREENS         BB3114713   44,200   44,400   40,500    42,300   33,100   30,500   39,167    235,000

100098817   019174813   WALGREENS #10772        DSD            JOLIET       IL   60435     WALGREENS         BB3147065   22,600   25,900   24,800    25,100   13,000   21,100   22,083    132,500

100058027   049006460   BELLAIRE PHARMACY                     BELLAIRE      MI   49615     INDEPENDENT       BB3148954    6,300    6,100   31,000     5,030                     12,108     48,430

100099061   019178319   WALGREENS #02785        DSD           CICERO        IL   60804     WALGREENS         BB3149083    8,000    7,700    7,700     8,600    8,000    6,800    7,800     46,800

100098999   019177691   WALGREENS #02711        DSD           CHICAGO       IL   60638     WALGREENS         BB3203041   18,040   20,440   19,700    21,940   17,300   15,840   18,877    113,260

100102264   019179648   WALGREENS #15080        DSD           BURBANK       IL   60459     WALGREENS         BB3257549   19,000   21,100   22,100    25,100   19,000   18,500   20,800    124,800

100098940   019177105   WALGREENS #15921        DSD           CHICAGO       IL   60611     WALGREENS         BB3277426    1,500    3,700    3,500     4,100    1,600    2,600    2,833     17,000

100098666   019173302   WALGREENS #02528        DSD          GLENVIEW       IL   60026     WALGREENS         BB3277438   11,330   11,260    9,860    10,420   11,500    9,200   10,595     63,570

100098860   019175745   WALGREENS #09331        DSD         TINLEY PARK     IL   60487     WALGREENS         BB3281069   14,600   15,100   13,900    13,600   16,900   14,600   14,783     88,700

100107659   019185645   WALGREENS #09331 340B               TINLEY PARK     IL   60487   PHS 340B HOSPITAL   BB3281069     100                                                    100        100

100099052   019178228   WALGREENS #10771        DSD           CHICAGO       IL   60707     WALGREENS         BB3301518    6,400    5,400    6,500     7,200    6,200    7,000    6,450     38,700

100054429   010044552   BARRON PHARMACY                     BEACHWOOD       OH   44122     MAIL SERVICE      BB3355737     100      400      300                                  267        800

100054429   010044552   BARRON PHARMACY                     BEACHWOOD       OH   44122     INDEPENDENT       BB3355737                       (300)                                (300)      (300)

100064051   008027920   BUKER & COLSON MEDICINE CHEST         FRESNO        CA   93704     INDEPENDENT       BB3483651              500     1,000     1,000                       833       2,500

100099197   044217943   WALGREENS #02876        DSD        MOUNT VERNON     IL   62864     WALGREENS         BB3495175     430    21,530   30,200    32,000   32,200   19,600   22,660    135,960

100072751   018143131   BEST VALUE WEST PHARMACY CPA         BURLESON       TX   76028     INDEPENDENT       BB3516323   16,500   22,400   13,120    21,080   14,700   18,400   17,700    106,200

100064339   019007914   BADRINATH, SHYAMALA K MD              CHICAGO       IL   60612       HOSPITAL        BB3563360     100      100      100       100      400               160        800

100099080   019178509   WALGREENS #02828        DSD          ROCKFORD       IL   61104     WALGREENS         BB3571672   25,200   25,800   25,900    25,800   19,300   18,500   23,417    140,500

100098737   019174011   WALGREENS #02986        DSD            ELGIN        IL   60120     WALGREENS         BB3614535   21,400   21,500   19,100    21,300   22,300   15,600   20,200    121,200

100054119   037021337   BROOKSHIRE BROS PHCY/KATY/GNP          KATY         TX   77493     INDEPENDENT       BB3652511   35,500   15,200   25,880    28,400   13,600   13,300   21,980    131,880

100099023   019177931   WALGREENS #02877        DSD           CHICAGO       IL   60647     WALGREENS         BB3656759   11,100   10,500   11,400    12,100    8,900   11,100   10,850     65,100

100099020   019177907   WALGREENS #02903        DSD           CHICAGO       IL   60644     WALGREENS         BB3666988   15,500   18,800   20,400    19,800   16,200   12,000   17,117    102,700

100098780   019174441   WALGREENS #13861        DSD          WHEATON        IL   60189     WALGREENS         BB3670925   11,500   11,800   11,400    12,100   11,800    8,500   11,183     67,100

100070120   008103226   BARR PHARMACY CPA                     SANGER        CA   93657     INDEPENDENT       BB3729778   10,300   13,000   11,000     2,000    5,000    7,800    8,183     49,100

100098864   019175828   WALGREENS #03014        DSD           AURORA        IL   60504     WALGREENS         BB3733866   12,900   14,500   14,100    15,200   15,900   10,000   13,767     82,600

100072585   037140079   BAY AREA MEDICAL CTR    #713       CORPUS CHRISTI   TX   78412       HOSPITAL        BB3766512    2,700    4,400    3,500     3,000     700              2,860     14,300
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100098744   019174086   WALGREENS #02447        DSD            HANOVER PARK       IL   60133      WALGREENS         BB3776575   14,900   15,400   14,260   13,300   13,700   12,700   14,043    84,260

100099010   019177808   WALGREENS #02840        DSD               CHICAGO         IL   60640      WALGREENS         BB3809552    4,760    6,400    6,900    5,800    7,300    4,800    5,993    35,960

100098824   019174904   WALGREENS #06703        DSD              LOCKPORT         IL   60441      WALGREENS         BB3814767   29,700   30,700   32,200   33,300   26,100   36,500   31,417   188,500

100107646   019185512   WALGREENS #06703 340B                    LOCKPORT         IL   60441   PHS 340B HOSPITAL    BB3814767     100     1,000                                         550      1,100

100106516   008116616   WEST HILLS HOSPITAL PHARMACY               RENO           NV   89520       HOSPITAL         BB3815151     500      200      350      250      420       -       287      1,720

100099063   019178335   WALGREENS #15635        DSD          EVERGREEN PARK       IL   60805      WALGREENS         BB3819565    9,930   11,300   10,200   11,700   16,000   11,500   11,772    70,630

100099036   019178061   WALGREENS #03072        DSD               CHICAGO         IL   60654      WALGREENS         BB3833072   12,890   13,890   13,060   14,620    9,800   12,800   12,843    77,060

100099102   019178715   WALGREENS #03089        DSD              STREATOR         IL   61364      WALGREENS         BB3873418   31,000   34,900   32,300   36,700   33,700   21,000   31,600   189,600

100098667   019173310   WALGREENS #02985        DSD             GRAYSLAKE         IL   60030      WALGREENS         BB3884574   15,500   18,400   16,600   18,100   17,600   19,200   17,567   105,400

100070476   018144097   BEARDEN PHARMACY          CPA             BEARDEN         AR   71720     INDEPENDENT        BB3887784   11,200    4,100    7,300    1,300    4,800    5,500    5,700    34,200

100055502   041000711   BARRS PHCY (EPIC)       R58           VIRGINIA BEACH      VA   23451     INDEPENDENT        BB3909453    3,200    2,300    3,900    3,000    2,430    3,090    2,987    17,920

100098875   019176396   WALGREENS #12624        DSD             WOODRIDGE         IL   60517      WALGREENS         BB3927223   10,500   10,300   10,500   10,100   10,600    9,400   10,233    61,400

100099156   044217604   WALGREENS #03136        DSD               CAHOKIA         IL   62206      WALGREENS         BB4020082     400    13,700   21,300   19,600   18,200   11,100   14,050    84,300

100098911   019176784   WALGREENS #02335        DSD             NAPERVILLE        IL   60565      WALGREENS         BB4042103   19,600   20,800   19,100   23,400   19,900   20,200   20,500   123,000

100094161   004091579   BOSTON HT CR FOR THE HMLS 340B            BOSTON          MA   02118    PHS 340B CLINIC     BB4048749    1,100    1,100    1,200    1,000    1,200     500     1,017     6,100

100055932   046009530   BAPTIST MEDICAL CENTER PHCY          FERNANDINA BEACH     FL   32034       HOSPITAL         BB4122583     700      500      600      500      840      300      573      3,440

100071233   023143099   BELL DRUGS(EDISON)(X)     CPA             EDISON          NJ   08817     INDEPENDENT        BB4149058    4,100     700     1,000     400     1,600    1,960    1,627     9,760

100099136   019179010   WALGREENS #03212        DSD               DANVILLE        IL   61832      WALGREENS         BB4183872    7,300   19,900   27,200   27,300   29,400   15,500   21,100   126,600

100098673   019173377   WALGREENS #03273        DSD           HIGHLAND PARK       IL   60035      WALGREENS         BB4184317   15,600   18,400   14,900   17,800   11,400   13,500   15,267    91,600

100050031   018006759   BRANCH MEDICAL CLINIC NAS JRB           FORT WORTH        TX   76127   HOSPITAL (FEDERAL)   BB4186688    7,500   14,000   11,200   21,200    1,200    9,300   10,733    64,400

100099106   021169904   WALGREENS #02206        DSD               MACOMB          IL   61455      WALGREENS         BB4196920    3,500   24,100   21,300   26,900   21,100   17,600   19,083   114,500

100060195   056036129   BOOTHWYN PHCY INC(X)(IPBG)               BOOTHWYN         PA   19061     INDEPENDENT        BB4210592    1,000    2,400    2,900    1,300    2,630    1,200    1,905    11,430

100098741   019174052   WALGREENS #03015        DSD              ELMHURST         IL   60126      WALGREENS         BB4215542   13,700   10,800   10,330   12,660   12,500   11,000   11,832    70,990

100098836   019175034   WALGREENS #03023        DSD              OAK LAWN         IL   60453      WALGREENS         BB4249480   15,900   18,200   16,200   17,200   14,900   16,200   16,433    98,600

100063341   046072488   NAS WHITING FIELD/PHARMACY DPT             MILTON         FL   32570   HOSPITAL (FEDERAL)   BB4280955    3,000    4,900    4,000   12,400    1,000    1,000    4,383    26,300

100052370   056002980   BROCKIE PHARMATECH                         YORK           PA   17405    LONG TERM CARE      BB4363672    6,000    8,900    6,800    6,300    9,660    6,700    7,393    44,360

100066382   055143149   *BROOKINS, INC D/B/A(X) CPA             LINCOLNTON        NC   28092     INDEPENDENT        BB4382189   15,500    7,000                                       11,250    22,500

100054432   010044693   BREWSTER FAMILY PHARMACY APSC            BREWSTER         OH   44613     INDEPENDENT        BB4401256    4,200    2,500    3,000    2,900    2,700    2,800    3,017    18,100

100054165   010044164   BLANCHARD VALLEY HOSPITAL                 FINDLAY         OH   45840       HOSPITAL         BB4470972    2,800    2,000    1,700    1,900    1,400     800     1,767    10,600

100062934   010009712   BLANCHARD VALLEY HOSPITAL                 FINDLAY         OH   45840       HOSPITAL         BB4470972    1,900    1,800    1,700    1,200    1,300    1,600    1,583     9,500

100054435   010044727   BLANCHARD VALLEY HOSPITAL/BLUF            FINDLAY         OH   45840       HOSPITAL         BB4470972     300      400      300      150                        288      1,150

100057348   056007922   BURMAN'S PHARMACY INC (X) CPA          BROOKHAVEN         PA   19015     INDEPENDENT        BB4487713    6,700    5,200    5,300    1,900    2,200     100     3,567    21,400

100099163   044217679   WALGREENS #02490        DSD            COLLINSVILLE       IL   62234      WALGREENS         BB4507173     500    18,000   30,400   36,500   31,800   22,100   23,217   139,300

100098975   019177451   WALGREENS #03395        DSD               CHICAGO         IL   60624      WALGREENS         BB4542723   22,300   23,700   21,000   22,700   16,300   19,700   20,950   125,700

100091047   019158030   WALGREENS #03395 340B                     CHICAGO         IL   60624    PHS 340B CLINIC     BB4542723     100                                                   100       100

100067343   019143412   PHARMACY STOP : BENNER        CPA         OTTAWA          IL   61350     INDEPENDENT        BB4603684    5,800   12,900   14,500    6,900   11,940    7,900    9,990    59,940

100098760   019174243   WALGREENS #03406        DSD           LAKE IN THE HILLS   IL   60156      WALGREENS         BB4631506   32,790   36,860   33,400   36,660   35,400   27,700   33,802   202,810

100098886   019176529   WALGREENS #03405        DSD             NAPERVILLE        IL   60540      WALGREENS         BB4677413    6,500    8,000    7,800    7,000    8,100    8,100    7,583    45,500

100098753   019174177   WALGREENS #03622        DSD                ITASCA         IL   60143      WALGREENS         BB4690308   15,000   16,000   14,900   14,500   15,400   14,200   15,000    90,000

100063250   046090662   ED FRASER MEMORIAL HOSPITAL             MACCLENNY         FL   32063       HOSPITAL         BB4696653    1,100    1,200     300      200     1,400     800      833      5,000

100067784   046126433   ED FRASER MEMORIAL HOSP 340B            MACCLENNY         FL   32063   PHS 340B HOSPITAL    BB4696653     100                                                   100       100

100056364   018010579   BROOKE ARMY MC-SPECIAL              JBSA FT SAM HOUSTON   TX   78234   HOSPITAL (FEDERAL)   BB4704753   76,200   84,400   84,400   83,300   79,200   71,200   79,783   478,700

100099041   019178111   WALGREENS #03698        DSD               CHICAGO         IL   60657      WALGREENS         BB4737815   11,800   12,200   12,800   13,600   12,500    6,100   11,500    69,000

100052659   026058669   NAVAL MED CLINIC KANEOHE             MCBH KANEOHE BAY     HI   96863   HOSPITAL (FEDERAL)   BB4786793    3,500    3,000    4,000    2,000    7,000    1,000    3,417    20,500
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100060224   044063990   PERRY COMMUNITY HOSPITAL PHCY          LINDEN          TN   37096       HOSPITAL         BB4846436     100       300      200      300               560      292       1,460

100062860   052050781   BURNHAM-MCKINNEY PH #3 LLCSF           GAUTIER         MS   39553     INDEPENDENT        BB4849189   22,200    26,000   18,800   30,800   27,100   15,600   23,417    140,500

100104506   052223040   BURNHAM-MCKINNEY PHCYLLC#3 PHS         GAUTIER         MS   39553   PHS 340B HOSPITAL    BB4849189    3,100     2,100    4,500    1,600                      2,825     11,300

100071039   056143008   BAYSHORE PHARMACY(X)        CPA   ATLANTIC HIGHLANDS   NJ   07716     INDEPENDENT        BB4880476    4,700     7,000   11,600    2,200    2,500    2,700    5,117     30,700

100054640   024060681   BARRINGTON-WILSHIRE PHARMACY         LOS ANGELES       CA   90025     INDEPENDENT        BB4896784    1,700     1,000   10,600   11,000    2,000     500     4,467     26,800

100057591   037086892   NAVAL STATION-KING. BMC               KINGSVILLE       TX   78363   HOSPITAL (FEDERAL)   BB5001146              5,300     900     7,000                      4,400     13,200

100098867   019176024   WALGREENS #03774       DSD             AURORA          IL   60506      WALGREENS         BB5016553   11,600    13,500   12,500   12,500   15,300    8,600   12,333     74,000

100098762   019174268   WALGREENS #04009       DSD             HILLSIDE        IL   60162      WALGREENS         BB5115844   10,100     9,800   10,100    8,600    6,200   11,400    9,367     56,200

100098650   019173146   WALGREENS #04040       DSD              CARY           IL   60013      WALGREENS         BB5122546   20,700    21,000   17,700   22,200   15,600   16,100   18,883    113,300

100099190   044217877   WALGREENS #03901       DSD           SPRINGFIELD       IL   62703      WALGREENS         BB5133979    5,700    24,100   29,800   30,200   29,200   25,700   24,117    144,700

100106454   017098319   INTERMOUNTAIN HOSPITAL                  BOISE          ID   83704       HOSPITAL         BB5139325     200                700               400               433       1,300

100106408   019183475   BHC VALLE VISTA HOSPITAL             GREENWOOD         IN   46143       HOSPITAL         BB5175509     200       100      300      100      300      100      183       1,100

100054306   038040402   BLACK HILLS SURGICAL HOSPITAL         RAPID CITY       SD   57701       HOSPITAL         BB5183621    1,300     1,400    1,500    1,200    2,200    2,800    1,733     10,400

100098756   019174201   WALGREENS #03779       DSD            MAYWOOD          IL   60153      WALGREENS         BB5187112   10,600    11,200    8,700   11,700    9,000    7,000    9,700     58,200

100098742   019174060   WALGREENS #03960       DSD           FOREST PARK       IL   60130      WALGREENS         BB5187124    7,500    11,300    8,300   11,000    9,100    8,500    9,283     55,700

100054389   041016121   BAILEY'S DRG STRE(EPIC)865(GNP         LOUISA          VA   23093     INDEPENDENT        BB5194321               200      100                       1,600     633       1,900

100098810   019174748   WALGREENS #03928       DSD           HAZEL CREST       IL   60429      WALGREENS         BB5253935   10,460    11,100   12,200   11,200   15,400    7,000   11,227     67,360

100099162   044217661   WALGREENS #03907       DSD            SWANSEA          IL   62226      WALGREENS         BB5331777     100      9,200   12,800   12,000   12,100    9,300    9,250     55,500

100054954   041003004   DEPAUL HOSPITAL PHARMACY (I/P)        NORFOLK          VA   23505       HOSPITAL         BB5345132     800       850     1,150     900     1,500     800     1,000      6,000

100054953   041002998   BON SECOURS DEPAUL HOSP.PHY #2        NORFOLK          VA   23505       HOSPITAL         BB5345132                        100                                 100        100

100098908   019176750   WALGREENS #03780       DSD           NAPERVILLE        IL   60564      WALGREENS         BB5356743   11,300    10,200   10,500    9,800   10,900    9,300   10,333     62,000

100098905   019176727   WALGREENS #03861       DSD           NAPERVILLE        IL   60563      WALGREENS         BB5367811   17,500    17,900   16,100   16,000   16,600   17,200   16,883    101,300

100098670   019173344   WALGREENS #04097       DSD             GURNEE          IL   60031      WALGREENS         BB5392636   16,300    16,300   15,400   16,100   15,700   15,900   15,950     95,700

100098734   019173989   WALGREENS #04042       DSD             DEKALB          IL   60115      WALGREENS         BB5424394   14,400    17,500   15,700   17,900   16,800   10,700   15,500     93,000

100099143   044217463   WALGREENS #03627       DSD              ALTON          IL   62002      WALGREENS         BB5433533    3,100    30,000   45,900   48,400   49,400   27,600   34,067    204,400

100098862   019175802   WALGREENS #04151       DSD             AURORA          IL   60502      WALGREENS         BB5508316    8,600    10,200    8,500    8,900    9,900    6,100    8,700     52,200

100099145   044217497   WALGREENS #04337       DSD            BETHALTO         IL   62010      WALGREENS         BB5526453     300     22,900   29,300   30,500   28,100   18,700   21,633    129,800

100098707   019173716   WALGREENS #04277       DSD            WAUCONDA         IL   60084      WALGREENS         BB5566445   20,700    20,800   20,800   17,800   20,100   13,500   18,950    113,700

100065899   018060053   BRADLEY COUNTY MEDICAL CENTER          WARREN          AR   71671       HOSPITAL         BB5573351     300       100      150      100      160      240      175       1,050

100098832   019174987   WALGREENS #04348       DSD             MORRIS          IL   60450      WALGREENS         BB5583314   30,300    33,100   28,000   30,300   28,500   18,500   28,117    168,700

100071232   056143016   BELL PHARMACY: CAMDEN(X) CPA           CAMDEN          NJ   08103     INDEPENDENT        BB5595054    1,400     1,500    1,100     500                       1,125      4,500

100106448   008116590   HERITAGE OAKS HOSPITAL PHCY          SACRAMENTO        CA   95841       HOSPITAL         BB5608774    1,000     1,400    1,000    2,700     500      600     1,200      7,200

100058614   019064238   WALGREENS4505                          CHICAGO         IL   60613      WALGREENS         BB5618460    4,800     5,700    5,300    6,300    6,300    6,500    5,817     34,900

100065265   021027292   MERCY HOSP LEBANON SOM                 LEBANON         MO   65536       HOSPITAL         BB5627851     400       100      500      300                        325       1,300

100096565   021077651   MERCY HOSP LEBANON WAC                 LEBANON         MO   65536   PHS 340B HOSPITAL    BB5627851                                 100      180      520      267        800

100072640   021101246   MERCY HOSP LEBANON 340B                LEBANON         MO   65536   PHS 340B HOSPITAL    BB5627851     200       300      100      100                        175        700

100098846   019175166   WALGREENS #04148       DSD           ORLAND PARK       IL   60462      WALGREENS         BB5641394   30,600    35,420   30,630   34,900   31,300   19,600   30,408    182,450

100099093   019178632   WALGREENS #04333       DSD           EAST MOLINE       IL   61244      WALGREENS         BB5644174   12,900    12,300   11,700   11,400    9,900   10,700   11,483     68,900

100098799   019174631   WALGREENS #04336       DSD         CHICAGO HEIGHTS     IL   60411      WALGREENS         BB5656155    8,300     9,000    7,700    8,500    6,700    6,500    7,783     46,700

100099005   019177758   *WALGREENS #04152      DSD             CHICAGO         IL   60639      WALGREENS         BB5680891   (1,000)                                                (1,000)    (1,000)

100106437   032152256   FAIRFAX HOSPITAL                      KIRKLAND         WA   98034       HOSPITAL         BB5706568     200       100               500                        267        800

100098772   019174367   WALGREENS #04463       DSD           SOUTH ELGIN       IL   60177      WALGREENS         BB5717876   20,600    19,400   18,700   19,700   15,900   17,500   18,633    111,800

100058239   044048793   BARDWELL PHARMACY          APSC       BARDWELL         KY   42023     INDEPENDENT        BB5730026    6,400     7,500    8,600   11,000    3,500    5,700    7,117     42,700

100099092   019178624   WALGREENS #04332       DSD           ROCK ISLAND       IL   61201      WALGREENS         BB5731131   14,600    15,880   13,800   14,600   12,200   12,300   13,897     83,380
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100098702   019173666   WALGREENS #03940        DSD            PALATINE        IL   60074      WALGREENS         BB5740306   29,400   29,300   28,800   29,400   24,000   24,300   27,533   165,200

100054364   037050203   BELLAIRE DISCOUNT PHCY 3458            HOUSTON         TX   77072     INDEPENDENT        BB5766336     760      500      500      200      200      400      427      2,560

100098925   019176925   WALGREENS #04349        DSD            CHICAGO         IL   60606      WALGREENS         BB5770549    2,700    2,700    1,800    2,000    4,600    2,000    2,633    15,800

100063795   019000232   BROADWAY PHARMACY, INC.                CHICAGO         IL   60640     INDEPENDENT        BB5776109    1,000    2,500    2,500    2,500    2,000    2,000    2,083    12,500

100060246   044064147   FT CAMPBELL-BLANCHFIELD HOSP        FORT CAMPBELL      KY   42223   HOSPITAL (FEDERAL)   BB5776262   30,000   34,500   60,000   32,900   39,600   33,400   38,400   230,400

100099043   019178137   WALGREENS #04494        DSD            CHICAGO         IL   60657      WALGREENS         BB5789586    7,600    9,200    7,330    8,600    8,500    4,600    7,638    45,830

100059609   041053066   BON SECOURS MEM REG MED (I/P)       MECHANICSVILLE     VA   23116       HOSPITAL         BB5796896    1,600    1,500    1,100    1,500    1,900    1,100    1,450     8,700

100099167   044217711   WALGREENS #04599        DSD            O FALLON        IL   62269      WALGREENS         BB5801320     400    12,700   14,400   16,600   20,300   10,900   12,550    75,300

100055431   040048173   SELECT,SPECIALITY HOSPIT-ATLAN         ATLANTA         GA   30308       HOSPITAL         BB5826067     100               200      700                        333      1,000

100098788   019174524   WALGREENS #04218        DSD           EVANSTON         IL   60202      WALGREENS         BB5839242    9,500   11,500   10,200   10,600   12,100    5,900    9,967    59,800

100098698   019173625   WALGREENS #04540        DSD           PARK RIDGE       IL   60068      WALGREENS         BB5862570   10,600   12,500    8,400   10,030    7,000    5,100    8,938    53,630

100098861   019175794   WALGREENS #04460        DSD          BOLINGBROOK       IL   60490      WALGREENS         BB5877898   11,620   10,040    8,540   10,120    9,200    7,740    9,543    57,260

100098720   019173849   WALGREENS #03926        DSD           NORTHFIELD       IL   60093      WALGREENS         BB5899781    7,700    8,000    7,300    8,800   10,000    7,600    8,233    49,400

100098880   019176446   WALGREENS #04572        DSD          WILLOWBROOK       IL   60527      WALGREENS         BB5981421   15,200   19,000   14,600   16,300   15,100   16,200   16,067    96,400

100065763   049059006   B&C PHARMACY INC                        FENTON         MI   48430     INDEPENDENT        BB6015110   30,300   34,400   31,000   32,700   38,900   30,800   33,017   198,100

100099084   019178541   WALGREENS #04777        DSD           ROCKFORD         IL   61108      WALGREENS         BB6039843   22,500   23,600   23,300   23,100   20,700   24,000   22,867   137,200

100098927   019176941   WALGREENS #04461        DSD            CHICAGO         IL   60607      WALGREENS         BB6064771   15,200   17,020   13,300   14,630   12,000   13,500   14,275    85,650

100098777   019174417   WALGREENS #04069        DSD         WEST CHICAGO       IL   60185      WALGREENS         BB6072095   14,330   16,200   14,800   16,100   15,600   12,800   14,972    89,830

100098750   019174144   WALGREENS #04612        DSD        GLENDALE HEIGHTS    IL   60139      WALGREENS         BB6085080    9,000    8,760    7,700    8,700    5,100   10,800    8,343    50,060

100098735   019173997   WALGREENS #04258        DSD          WEST DUNDEE       IL   60118      WALGREENS         BB6100921   19,100   20,000   18,400   19,900   22,300   15,100   19,133   114,800

100070478   044143198   BUTLER DRUG STORE INC       CPA      PORTAGEVILLE      MO   63873     INDEPENDENT        BB6101137   43,000   50,900    8,480   44,600   43,000   28,600   36,430   218,580

100098709   019173732   WALGREENS #03750        DSD           WAUKEGAN         IL   60085      WALGREENS         BB6111873   19,600   20,300   21,400   24,300   27,400   17,200   21,700   130,200

100098779   019174433   WALGREENS #03993        DSD         CAROL STREAM       IL   60188      WALGREENS         BB6118168   26,700   27,900   25,900   27,400   27,900   23,200   26,500   159,000

100107611   019185165   WALGREENS #03993 340B               CAROL STREAM       IL   60188   PHS 340B HOSPITAL    BB6118168              500                                          500       500

100066692   018061168   BURNETT, HUGH F MD-BPT O/P CTR        LITTLE ROCK      AR   72205       HOSPITAL         BB6122357     200      400      100      200      400      400      283      1,700

100098826   019174920   WALGREENS #04947        DSD          CRESTWOOD         IL   60445      WALGREENS         BB6125783   21,900   20,900   22,100   24,700   25,600   19,600   22,467   134,800

100107627   019185322   WALGREENS #04947 340B                CRESTWOOD         IL   60445   PHS 340B HOSPITAL    BB6125783                       100                                 100       100

100099158   044217620   WALGREENS #04865        DSD           BELLEVILLE       IL   62221      WALGREENS         BB6126759            10,600   19,800   22,100   24,200   10,600   17,460    87,300

100074086   008011098   EAGLE DRUG BET BERT INC.               WINTERS         CA   95694     INDEPENDENT        BB6127965   10,500    9,100    9,000    8,500   11,800    8,400    9,550    57,300

100082183   008110353   EAGLE DRUG 340B                        WINTERS         CA   95694    PHS 340B CLINIC     BB6127965              600      500      900      500      800      660      3,300

100073126   024100941   BIG 1 PHARMACY (COMBO)               SAN GABRIEL       CA   91776     INDEPENDENT        BB6153465     800     1,100     900     1,400              800     1,000     5,000

100052419   024098582   BIG 1 PHARMACY #2                    SAN GABRIEL       CA   91776     INDEPENDENT        BB6153465     400      100      300      100      500               280      1,400

100065630   021003889   BENDERS PRESCRIPTION SHOP SF         SAINT JOSEPH      MO   64506     INDEPENDENT        BB6166222    3,200    4,500    3,200    3,500    2,700    2,900    3,333    20,000

100086915   021162537   BENDERS PRESCRIPTION SHOP 340B        ST JOSEPH        MO   64506   PHS 340B HOSPITAL    BB6166222    2,300    1,800    2,500    2,000    3,900    3,100    2,600    15,600

100099048   019178186   WALGREENS #04542        DSD            CHICAGO         IL   60660      WALGREENS         BB6168086   21,460   21,000   15,300   19,160   19,100   14,700   18,453   110,720

100098682   019173468   WALGREENS #04464        DSD          LAKE ZURICH       IL   60047      WALGREENS         BB6182264   15,200   18,300   17,600   16,600   19,300    9,600   16,100    96,600

100098757   019174219   WALGREENS #04664        DSD          WESTCHESTER       IL   60154      WALGREENS         BB6209414   10,100   12,800    9,500   11,600   11,600   10,100   10,950    65,700

100099115   019178806   WALGREENS #05088        DSD          EAST PEORIA       IL   61611      WALGREENS         BB6213487    8,800   48,300   45,200   49,800   38,100   36,900   37,850   227,100

100099124   019178897   WALGREENS #05188        DSD          BLOOMINGTON       IL   61704      WALGREENS         BB6227474    5,300   24,900   27,200   29,900   25,100   26,200   23,100   138,600

100099191   044217885   WALGREENS #05137        DSD          SPRINGFIELD       IL   62703      WALGREENS         BB6232502    1,000   11,200   15,900   17,000   18,700   15,200   13,167    79,000

100098952   019177220   WALGREENS #04752        DSD            CHICAGO         IL   60616      WALGREENS         BB6268646    2,000    2,200    2,500    3,500    2,000    2,500    2,450    14,700

100098801   019174656   WALGREENS #05128        DSD          SAUK VILLAGE      IL   60411      WALGREENS         BB6293372   21,500   23,100   20,200   22,700   23,900   18,300   21,617   129,700

100099155   044217596   WALGREENS #04602        DSD        EAST SAINT LOUIS    IL   62205      WALGREENS         BB6313338     300    21,100   29,200   32,800   32,400   20,200   22,667   136,000

100057936   023040303   *BILLS SHOPRITE PHCY #414         COVINGTON TOWNSHIP   PA   18444         CHAIN          BB6323101      -      1,000     700      900                        650      2,600
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100098771   019174359   WALGREENS #04826         DSD       SCHILLER PARK   IL   60176     WALGREENS         BB6340311   22,800   22,000   19,400   21,400   19,700   14,300   19,933   119,600

100098877   019176412   WALGREENS #04939         DSD        OAK BROOK      IL   60523     WALGREENS         BB6380214    4,330    5,400    5,130    5,800    8,400    4,600    5,610    33,660

100066379   052055442   BELEW DRUG, INC     CPA             KNOXVILLE      TN   37917     INDEPENDENT       BB6383169   16,700   20,800   19,800   27,000   18,600   21,000   20,650   123,900

100098819   019174839   WALGREENS #05127         DSD         LANSING       IL   60438     WALGREENS         BB6397877   17,000   16,300   14,500   17,800   16,700   15,400   16,283    97,700

100098729   019173930   WALGREENS #03927         DSD       STREAMWOOD      IL   60107     WALGREENS         BB6454918   16,000   16,300   19,630   16,900   20,700   15,300   17,472   104,830

100098679   019173435   WALGREENS #05108         DSD        LAKE VILLA     IL   60046     WALGREENS         BB6456912   24,600   23,800   22,500   24,700   26,200   19,900   23,617   141,700

100098966   019177360   WALGREENS #05140         DSD         CHICAGO       IL   60620     WALGREENS         BB6456924    7,500    6,500    7,600    9,100    8,600    8,000    7,883    47,300

100099059   019178293   WALGREENS #05055         DSD           ALSIP       IL   60803     WALGREENS         BB6462597   19,600   20,200   17,600   18,800   23,400   10,800   18,400   110,400

100099193   044217901   WALGREENS #05488         DSD        SPRINGFIELD    IL   62704     WALGREENS         BB6464933    2,100    7,700    7,100    7,800   11,900    5,100    6,950    41,700

100098804   019174680   WALGREENS #04949         DSD        FRANKFORT      IL   60423     WALGREENS         BB6467181   19,600   21,600   19,920   20,300   18,200   16,200   19,303   115,820

100098690   019173542   WALGREENS #04778         DSD        MUNDELEIN      IL   60060     WALGREENS         BB6510374    8,500   10,000    6,800    8,100    7,800    8,700    8,317    49,900

100086158   023105866   BERGENLINE DRUGS (ARX)            WEST NEW YORK    NJ   07093     INDEPENDENT       BB6549173     500      400      100      200               200      280      1,400

100099105   019178723   WALGREENS #05511         DSD         KEWANEE       IL   61443     WALGREENS         BB6567741   22,600   20,100   22,600   24,000   23,500   14,200   21,167   127,000

100098872   019176073   WALGREENS #04636         DSD      DOWNERS GROVE    IL   60515     WALGREENS         BB6572576   20,200   20,900   19,700   16,900    9,100   19,200   17,667   106,000

100098913   019176800   WALGREENS #04828         DSD        PLAINFIELD     IL   60586     WALGREENS         BB6577259   34,300   38,900   35,700   36,000   38,900   21,400   34,200   205,200

100107622   019185272   WALGREENS #04828 340B               PLAINFIELD     IL   60586   PHS 340B HOSPITAL   BB6577259     500               500      200                        400      1,200

100099057   019178277   WALGREENS #05282         DSD           NILES       IL   60714     WALGREENS         BB6585078   10,200   13,100   12,100   12,500   10,200   13,200   11,883    71,300

100098754   019174185   WALGREENS #04780         DSD         LOMBARD       IL   60148     WALGREENS         BB6585092   15,900   15,500   16,300   15,400   17,700   10,500   15,217    91,300

100099035   019178053   WALGREENS #04519         DSD         CHICAGO       IL   60653     WALGREENS         BB6589177    3,400    5,400    5,800    6,100    7,900    3,700    5,383    32,300

100099029   019177998   WALGREENS #05033         DSD         CHICAGO       IL   60649     WALGREENS         BB6589189    8,600   10,900   10,700   10,100   11,500   10,200   10,333    62,000

100098855   019175661   WALGREENS #05193         DSD          POSEN        IL   60469     WALGREENS         BB6595093   13,200   14,930   13,200   14,500   12,700   11,100   13,272    79,630

100099128   019178939   WALGREENS #05460         DSD         PONTIAC       IL   61764     WALGREENS         BB6623210    4,000   15,300   16,800   20,000   22,800   12,500   15,233    91,400

100098713   019173773   WALGREENS #04988         DSD      BUFFALO GROVE    IL   60089     WALGREENS         BB6624844   10,010    8,960   10,880   10,490   10,460    8,800    9,933    59,600

100099150   044217547   WALGREENS #04971         DSD       GRANITE CITY    IL   62040     WALGREENS         BB6631255    1,300   24,900   34,400   39,200   34,800   24,300   26,483   158,900

100098835   019175026   WALGREENS #05104         DSD        OAK FOREST     IL   60452     WALGREENS         BB6637106   19,900   19,100   17,000   20,000   19,800   17,300   18,850   113,100

100098909   019176768   WALGREENS #05515         DSD        NAPERVILLE     IL   60564     WALGREENS         BB6642741    6,700    7,300    7,600    7,600    8,400    5,000    7,100    42,600

100098961   019177311   WALGREENS #05057         DSD         CHICAGO       IL   60618     WALGREENS         BB6648325   16,200   15,800   14,900   18,080   15,200   15,500   15,947    95,680

100058320   044049312   BOONEVILLE COMMUNITY PHCY SF        BOONEVILLE     MS   38829     INDEPENDENT       BB6652071   17,700   17,600   18,300   15,400   17,500   16,600   17,183   103,100

100098989   019177592   WALGREENS #05234         DSD         CHICAGO       IL   60632     WALGREENS         BB6652704   15,800   17,000   16,800   20,300   16,000    9,000   15,817    94,900

100098688   019173526   WALGREENS #05107         DSD      MOUNT PROSPECT   IL   60056     WALGREENS         BB6652716   11,500   12,700   12,800   12,160   14,800   11,700   12,610    75,660

100098663   019173278   WALGREENS #04611         DSD         GLENVIEW      IL   60025     WALGREENS         BB6671033    8,800    8,520    9,500   12,300   11,200    9,800   10,020    60,120

100099049   019178194   WALGREENS #04978         DSD         CHICAGO       IL   60661     WALGREENS         BB6679015   12,000   14,800   12,620   14,900   13,500   12,520   13,390    80,340

100098996   019177667   WALGREENS #05089         DSD         CHICAGO       IL   60636     WALGREENS         BB6689965   11,400   15,900   14,600   14,300   12,600    8,700   12,917    77,500

100098995   019177659   WALGREENS #05121         DSD         CHICAGO       IL   60634     WALGREENS         BB6700822    8,830    9,660    8,900   11,030    8,700    8,000    9,187    55,120

100066954   018061614   BERRY DRUG STORE         CPA        DARDANELLE     AR   72834     INDEPENDENT       BB6722436    8,400    9,400   15,800    4,800    6,200    7,600    8,700    52,200

100067612   052145029   BOLIVAR MEDICAL CENTER     #712     CLEVELAND      MS   38732       HOSPITAL        BB6734695     130      600      500      180      560      340      385      2,310

100098831   019174979   WALGREENS #04154         DSD         MOKENA        IL   60448     WALGREENS         BB6736485   19,760   20,880   16,500   20,700   19,400   17,800   19,173   115,040

100052802   012076752   BRIGHT LA MIRADA PHCY     PRO        LA MIRADA     CA   90638     INDEPENDENT       BB6764460    5,700    5,100    4,800    8,100    7,100    9,500    6,717    40,300

100098687   019173518   WALGREENS #05364         DSD      MORTON GROVE     IL   60053     WALGREENS         BB6799689    7,200    7,000    6,100    6,400    6,100    5,700    6,417    38,500

100092795   044211649   *FRED'S PHARMACY #3916              MONTEREY       TN   38574        CHAIN          BB6805608    7,200    8,000    7,000    7,900     200              6,060    30,300

100098988   019177584   WALGREENS #04937         DSD         CHICAGO       IL   60631     WALGREENS         BB6813756   12,300   13,000   12,900   13,600   19,300   13,700   14,133    84,800

100098683   019173476   WALGREENS #05257         DSD       LIBERTYVILLE    IL   60048     WALGREENS         BB6826537    7,300    7,900    8,300    6,300   11,100    8,600    8,250    49,500

100098684   019173484   WALGREENS #05258         DSD       LIBERTYVILLE    IL   60048     WALGREENS         BB6834926   22,900   24,600   21,500   26,100   20,000   24,200   23,217   139,300

100099007   019177774   WALGREENS #04938         DSD         CHICAGO       IL   60639     WALGREENS         BB6854916   18,100   19,800   19,700   21,900   18,900   14,100   18,750   112,500
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100063738   052043810   BURNHAM MCKINNEY PHCY #4 SF               VANCLEAVE       MS   39565     INDEPENDENT        BB6873423   13,600   14,500   19,300    7,300   33,400   14,700   17,133   102,800

100104507   052223057   BURNHAM-MCKINNEY PHCY #4 PHS              VANCLEAVE       MS   39565   PHS 340B HOSPITAL    BB6873423    3,500    1,500    4,500    1,700                      2,800    11,200

100099175   019179093   WALGREENS #05545           DSD             DECATUR        IL   62526      WALGREENS         BB6926678    3,600   15,000   17,600   16,600   17,300   16,000   14,350    86,100

100109125   019186379   WALGREENS #05545 340B                      DECATUR        IL   62526   PHS 340B HOSPITAL    BB6926678                                500                        500       500

100098668   019173328   WALGREENS #05106           DSD            GRAYSLAKE       IL   60030      WALGREENS         BB6980090   14,800   12,500   16,230   15,530   17,400   11,100   14,593    87,560

100098699   019173633   WALGREENS #05256           DSD           LINCOLNSHIRE     IL   60069      WALGREENS         BB7007328   12,330    9,360   10,830   10,800   13,000    4,700   10,170    61,020

100054480   012094011   *BEST PHARMACY                            SAN DIEGO       CA   92115     INDEPENDENT        BB7085601    1,000                                                 1,000     1,000

100099086   019178566   WALGREENS #06003           DSD            ROCKFORD        IL   61109      WALGREENS         BB7099864   27,000   32,100   31,300   30,900   34,600   23,500   29,900   179,400

100083263   010195230   BEE WELL PHARMACY CPA                  SOUTH CHARLESTON   WV   25309     INDEPENDENT        BB7129427   16,300   16,500   15,900   15,400   14,300   11,000   14,900    89,400

100067611   010159806   BLUEGRASS COMMUNITY HOSP #712             VERSAILLES      KY   40383       HOSPITAL         BB7139783     100      100      200      300               100      160       800

100065920   049060798   BAY MILLS PHARMACY         PHS             BRIMLEY        MI   49715    PHS 340B CLINIC     BB7165485    6,900    3,900    5,800    5,500    7,800    3,800    5,617    33,700

100065922   049060921   BAY MILLS PHARMACY                         BRIMLEY        MI   49715   HOSPITAL (FEDERAL)   BB7165485     500     2,500     500     2,200                      1,425     5,700

100085751   021059923   BACHMAN DRUG INC      CPA                   MEADE         KS   67864     INDEPENDENT        BB7195503    5,200    6,700   14,300    1,000    8,400             7,120    35,600

100098841   019175117   WALGREENS #05139           DSD           HICKORY HILLS    IL   60457      WALGREENS         BB7228251   34,600   37,200   34,800   33,300   35,300   31,400   34,433   206,600

100091955   019158931   WALGREENS #05139 340B                    HICKORY HILLS    IL   60457       HOSPITAL         BB7228251     600                                                   600       600

100061842   010100040   LAKESHORE PHARMACY, INC APSC               BURNSIDE       KY   42519     INDEPENDENT        BB7330842    4,500    4,500    6,700    3,700    6,500    3,000    4,817    28,900

100064010   052046847   BACK BAY DRUGS, LLC        SF             DIBERVILLE      MS   39540     INDEPENDENT        BB7355414   22,500   19,700   20,600   19,500   25,400   24,500   22,033   132,200

100098731   019173955   WALGREENS #05520           DSD          BLOOMINGDALE      IL   60108      WALGREENS         BB7407528   14,600   17,260   16,300   15,400   20,100   11,400   15,843    95,060

100072651   046140483   BAYONET POINT SURG CTR          #712       HUDSON         FL   34667       HOSPITAL         BB7431365     100                        100               100      100       300

100055597   032045237   CHC OF SNOHOMISHCOUNTY 340B                EVERETT        WA   98201    PHS 340B CLINIC     BB7443675    2,300    2,100    1,900    2,800    2,400    1,000    2,083    12,500

100088069   038103051   CLEAR CREEK SURGERY CTR #712             WHEAT RIDGE      CO   80033       HOSPITAL         BB7446695                                                  240      240       240

100098993   019177634   WALGREENS #04862           DSD             CHICAGO        IL   60634      WALGREENS         BB7452078   25,800   29,400   24,300   32,600   32,400   28,200   28,783   172,700

100107623   019185280   WALGREENS #04862 340B                      CHICAGO        IL   60634   PHS 340B HOSPITAL    BB7452078     200      100                                          150       300

100075793   019161059   *BCD PHCY INC         SF                   MONONA         IA   52159     INDEPENDENT        BB7455707    4,000    3,000                                        3,500     7,000

100059696   041019455   BLUE RIDGE PHS   (340B) 865               ARRINGTON       VA   22922    PHS 340B CLINIC     BB7456470    8,400    7,900    7,200    6,900    6,800    9,200    7,733    46,400

100059695   041019448   BLUE RIDGE MEDICAL CENTER 865             ARRINGTON       VA   22922     INDEPENDENT        BB7456470    1,500    2,200    1,600     700      800     1,000    1,300     7,800

100072600   019057422   BAYCARE AURORA, LLC (I/P RX)              GREEN BAY       WI   54311       HOSPITAL         BB7471345    2,900    2,500    2,700    3,000    2,920    2,280    2,717    16,300

100064052   008034496   BULLARD PHARMACY                           FRESNO         CA   93711     INDEPENDENT        BB7484962              200     1,000     200                        467      1,400

100098790   019174540   WALGREENS #05235           DSD             OAK PARK       IL   60304      WALGREENS         BB7496789   11,800   13,500   12,000   14,000   12,700    7,600   11,933    71,600

100098942   019177121   WALGREENS #03961           DSD             CHICAGO        IL   60612      WALGREENS         BB7502354   11,100   13,400   11,700   12,600   11,600   11,500   11,983    71,900

100098671   019173351   WALGREENS #05056           DSD             GURNEE         IL   60031      WALGREENS         BB7554098   19,700   17,300   16,300   15,900   17,000   15,300   16,917   101,500

100099058   019178285   WALGREENS #05542           DSD               NILES        IL   60714      WALGREENS         BB7557385   13,900   11,700   11,800   11,800   13,200   10,300   12,117    72,700

100099014   019177840   WALGREENS #04986           DSD             CHICAGO        IL   60641      WALGREENS         BB7586110    9,900   10,400    9,200   10,900    9,700    6,800    9,483    56,900

100054852   012019018   BALBOA PHARMACY                           SAN DIEGO       CA   92117     INDEPENDENT        BB7621178   12,700   15,600   13,200   12,700   13,500   16,000   13,950    83,700

100072908   010121715   BUX, ANJUM MD                              DANVILLE       KY   40422        ALT SITE        BB7643061     100                50               240               130       390

100098782   019174466   WALGREENS #05553           DSD         HOFFMAN ESTATES    IL   60192      WALGREENS         BB7645902    8,400    6,300    4,600    7,700    7,300    7,300    6,933    41,600

100053529   017080150   COMMUNITY HEALTH CTR PHCY 340B              BUTTE         MT   59701    PHS 340B CLINIC     BB7654696    3,600    2,900    4,000    4,500    3,600    1,200    3,300    19,800

100073036   017130146   COMMUNITY HEALTH CTR PHCY SF                BUTTE         MT   59701     INDEPENDENT        BB7654696    1,900    2,000    1,200    1,300    2,100    2,000    1,750    10,500

100061141   040068494   BRIARCLIFF PHCY INC        SF              ATLANTA        GA   30329     INDEPENDENT        BB7780390    1,900    2,000    3,000    1,900    1,300    2,500    2,100    12,600

100099034   019178046   *WALGREENS #04807          DSD             CHICAGO        IL   60652      WALGREENS         BB7783992    4,700    2,000                                        3,350     6,700

100061947   025018911   STERLING DRUG #16       SF                 BUFFALO        MN   55313     INDEPENDENT        BB7786087    5,000    3,800    6,800    3,800    4,700    3,300    4,567    27,400

100053210   012052464   BIXBY PHARMACY                            LONG BEACH      CA   90808     INDEPENDENT        BB8056651    9,600    8,100    7,000    9,100    6,100    3,200    7,183    43,100

100067887   052145037   LAKELAND COMMUNITY HOSP #712              HALEYVILLE      AL   35565       HOSPITAL         BB8105086     200      300      400      900      200      200      367      2,200

100086719   010213355   BRYAN'S FAMILY PHCY                        LEBANON        OH   45036     INDEPENDENT        BB8183066    7,800    6,800    8,200   10,800    4,200    6,700    7,417    44,500
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100052952   012025346   THE DRUGGIST #2      PRO            HUNTINGTON BEACH    CA   92649    INDEPENDENT      BB8212324   12,120   13,200   13,200   12,200   11,500    8,600   11,803    70,820

100054585   012016378   BRIGHT PLAZA PHCY       PRO             WHITTIER        CA   90603    INDEPENDENT      BB8227642   12,200   12,800   13,500    8,200   12,300    9,700   11,450    68,700

100092289   023136598   BAYSHORE HOME CARE PHARMACY             HOLMDEL         NJ   07733    INDEPENDENT      BB8239647    2,500    1,000    1,700    2,500    1,300    2,000    1,833    11,000

100098871   019176065   WALGREENS #04561        DSD              BATAVIA        IL   60510    WALGREENS        BB8254637   10,600   11,300   11,500   11,500   13,500    6,700   10,850    65,100

100083252   041176412   BECKLEY PHARMACY        CPA             BECKLEY         WV   25801    INDEPENDENT      BB8263066   20,600   25,600   26,300   21,400   28,500   17,200   23,267   139,600

100098675   019173393   WALGREENS #05543        DSD             HIGHWOOD        IL   60040    WALGREENS        BB8319419    5,500    4,300    4,300    6,300    5,100    4,600    5,017    30,100

100072538   010123851   BEREA WHITE HOUSE CLINIC 340B            BEREA          KY   40403   PHS 340B CLINIC   BB8498962    3,600    4,500    2,800    3,800    3,000    2,500    3,367    20,200

100071829   010123679   BEREA WHITEHOUSE CLINIC APSC             BEREA          KY   40403    INDEPENDENT      BB8498962    1,600    1,800    1,200    1,500    4,300     500     1,817    10,900

100059450   041057299   BLUEWELLS FAMILY PHCY(Z)(GNP)           BLUEFIELD       WV   24701    INDEPENDENT      BB8502608   15,300    5,400   13,000   13,200    5,600    2,000    9,083    54,500

100071800   040140137   COLISEUM SAME DAY SURG CTR#712           MACON          GA   31217      HOSPITAL       BB8545759              100                                          100       100

100076744   012120691   BARLOW RESPIRATORY HOSPITAL             WHITTIER        CA   90602      HOSPITAL       BB8600226              300      300      200               100      225       900

100055538   032059733   BETHEL PHARMACY                        LYNNWOOD         WA   98037    INDEPENDENT      BB8636384     500      400      600      500     1,500              700      3,500

100059094   023100818   *SHOPRITE PHARMACY #801                BAY SHORE        NY   11706       CHAIN         BB8657097     300      300      400     1,200                       550      2,200

100092071   021167999   BORING REXALL DRUG CPA                  WARSAW          MO   65355    INDEPENDENT      BB8708731   12,000   10,600    8,100   14,100   10,100    8,500   10,567    63,400

100064393   023089276   BELLMORE PHCY INC (ARX)                 BELLMORE        NY   11710    INDEPENDENT      BB8740789    1,100    1,000     100     1,000     500               740      3,700

100060752   023009167   BARRETTO PHARMACY, INC (ARX)             BRONX          NY   10459    INDEPENDENT      BB8865973     500      300      300      400                        375      1,500

100106422   052223719   BRENTWOOD BEHAV HEATH OF MS             FLOWOOD         MS   39232      HOSPITAL       BB8871902     400      700     1,000    1,100    1,080     300      763      4,580

100057937   023040311   *BILLS SHOPRITE PHCY #416             MOUNT POCONO      PA   18344       CHAIN         BB8902187              620               400                        510      1,020

100067462   052070037   BLANKENSHIP PHARMACY                  JOHNSON CITY      TN   37601    INDEPENDENT      BB8923004    8,300    6,900   10,900    5,700    8,000    7,000    7,800    46,800

100064185   023069468   BALD EAGLE PHARMACY (ZS)              WEST MILFORD      NJ   07480   LONG TERM CARE    BB8995930              200      200               500               300       900

100066234   040143115   BENNETT'S HOMETOWN PHCY       CPA       NAHUNTA         GA   31553    INDEPENDENT      BB9013347   10,200   12,100   20,100    7,300   13,200   20,000   13,817    82,900

100068367   055143040   BLYTHEWOOD PHCY&HOME(X)       CPA     BLYTHEWOOD        SC   29016    INDEPENDENT      BB9068621    9,300   10,200    9,300   11,500   12,400    7,700   10,067    60,400

100065410   049087874   BETTER CARE NEIGHBORHOOD PHCY          HAMTRAMCK        MI   48212    INDEPENDENT      BB9109922    3,100   10,300   32,600   21,000   10,100     100    12,867    77,200

100062301   025008649   BENNETT COUNTY HOSPITAL PHCY             MARTIN         SD   57551      HOSPITAL       BB9134064                       250      800                        525      1,050

100088716   024113811   BELLWOOD MED CTR PHY 340B              BELLFLOWER       CA   90706   PHS 340B CLINIC   BB9139999    1,800    1,100    3,100    1,100    2,000     500     1,600     9,600

100055443   032094516   BALLARD PLAZA PHARMACY                   SEATTLE        WA   98107    INDEPENDENT      BB9175464                       100      100               200      133       400

100063944   023100396   *SHOPRITE PHARMACY #218                 BROOKLYN        NY   11230       CHAIN         BB9284516                       100      200                        150       300

100059866   052092601   BFP INC DBA THRIFTY MEDPLUS PH          OOLTEWAH        TN   37363    INDEPENDENT      BB9368413   10,200   12,600   10,000    9,700    8,600    9,900   10,167    61,000

100062249   056045468   BROCKIE PHARMATECH (X)                  HANOVER         PA   17331   LONG TERM CARE    BB9382069     700     2,000     200     1,100    1,400    2,000    1,233     7,400

100074924   008044404   BASCOM PHARMACY LLC. CPA                SAN JOSE        CA   95128    INDEPENDENT      BB9402900    3,200    3,600    3,300    4,300    3,400    3,500    3,550    21,300

100062191   018076943   *BROADWAY PHARMACY                    ALAMO HEIGHTS     TX   78209    INDEPENDENT      BB9408914    5,100    5,300    3,000                               4,467    13,400

100084152   018182576   CORNER DRUG STORE CPA                  MELBOURNE        AR   72556    INDEPENDENT      BB9501962   13,300   17,200   15,700   17,800   15,200   20,200   16,567    99,400

100069250   032123505   BHS EUGENE, INC.                         EUGENE         OR   97402   LONG TERM CARE    BB9517559    7,400    6,000    8,500    6,000    8,600    6,600    7,183    43,100

100076188   023083527   BALD EAGLE PHARMACY 2(ZS)               PARAMUS         NJ   07652   LONG TERM CARE    BB9607156     100      100                                          100       200

100106708   023153288   BORO HALL PHARMACY(X) GPO CPA           MIDDLESEX       NJ   08846    INDEPENDENT      BB9609225                      1,800    1,900     300     1,300    1,325     5,300

100071235   023143123   BORO HALL PHARMACY(X)       CPA         MIDDLESEX       NJ   08846    INDEPENDENT      BB9609225    2,600    1,300     500                                1,467     4,400

100106421   020166116   BHC MESILLA VALLEY HOSP (3751)         LAS CRUCES       NM   88012      HOSPITAL       BB9613820              100                                          100       100

100106420   020166108   BHC MESILLA VALLEY HOSP (3521)         LAS CRUCES       NM   88012      HOSPITAL       BB9613832                                200                        200       200

100058128   052092726   BAY POINTE HOSPITAL PHARMACY             MOBILE         AL   36693      HOSPITAL       BB9623477              150               100               100      117       350

100106707   023153296   HEIGHTS SPECIALTY (GPO) CPA         HASBROUCK HEIGHTS   NJ   07604    INDEPENDENT      BB9642528    1,200    1,700    1,300     600              1,500    1,260     6,300

100071231   023143081   HEIGHTS SPECIALTY PHCY(X) CPA       HASBROUCK HEIGHTS   NJ   07604    INDEPENDENT      BB9642528     700      400              3,200    1,700             1,500     6,000

100061458   023047530   BRUNDAGE'S WAYMART PHCY(Z)(GNP          WAYMART         PA   18472    INDEPENDENT      BB9660994    4,000    4,100    6,200    2,100    3,700    2,600    3,783    22,700

100074896   018169235   BUCKNER NEIGHBORHOOD PHARMACY            DALLAS         TX   75228    INDEPENDENT      BB9696824    9,500    9,100   10,000   10,000    6,000    2,500    7,850    47,100

100070785   041112573   BI-STATE PHARMACY INC(Z)                 DELMAR         DE   19940    INDEPENDENT      BB9718391     900     1,500    1,100    1,200    1,300    1,100    1,183     7,100
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100059592   044059717   BRIGHTON PHARMACY APSC                 BRIGHTON     TN   38011     INDEPENDENT       BB9720017   13,220   12,100   12,600   13,900   15,200    9,000   12,670    76,020

100059516   049115006   LIFECARE PHARMACY                       LIVONIA     MI   48150   LONG TERM CARE      BB9749726                                        2,100    1,600    1,850     3,700

100070460   018143966   TEXAS STAR PHARMACY           CPA       PLANO       TX   75023     INDEPENDENT       BB9769590   12,900    8,000    5,400    4,100     200     8,200    6,467    38,800

100065420   018064626   QUARTZ MOUNTAIN MEDICAL CTR            MANGUM       OK   73554       HOSPITAL        BB9791218               50       50      350      200               163       650

100066406   040143156   BRIDGEMILL FAMILY PHARMACY CPA          CANTON      GA   30114     INDEPENDENT       BB9877715             1,000    3,000                               2,000     4,000

100067131   021096222   CARROLL CNTY MEMORL HSPL HE          CARROLLTON     MO   64633       HOSPITAL        BC0204115              200      400      300                        300       900

100054841   010043240   *COLLINWOOD HEALTH CENTER             CLEVELAND     OH   44110    PHS 340B CLINIC    BC0268397     500     1,000     500      500                        625      2,500

100066689   049175893   COUNTRY DRUGS,         CPA             BAY CITY     MI   48706     INDEPENDENT       BC0271647   10,700   13,600   19,700   24,100    2,200   12,900   13,867    83,200

100065609   018061739   COLLIER DRUG FARMINGTON        CPA    FARMINGTON    AR   72730     INDEPENDENT       BC0305979   13,700     100     7,000    4,100    6,500    4,300    5,950    35,700

100052051   010049007   CARRIAGE DRIVE PHARMACY                BECKLEY      WV   25801     INDEPENDENT       BC0352283    2,400    1,500    1,600    3,100    1,500    1,000    1,850    11,100

100066348   049045351   COMMUNITY HOSPS & WELLNESS CTR        MONTPELIER    OH   43543       HOSPITAL        BC0365305     300      300      200      200               400      280      1,400

100066264   049045344   COMM HOSPS & WELLNESS CTRS RX           BRYAN       OH   43506       HOSPITAL        BC0365317     200      700               400      400      500      440      2,200

100085995   018194449   COMMUNITY PHCY           SF             BEAVER      OK   73932       HOSPITAL        BC0402305    9,000   13,100   10,500   16,200    6,680    4,900   10,063    60,380

100055171   010043661   *SOUTHEAST HEALTH CENTER              CLEVELAND     OH   44105    PHS 340B CLINIC    BC0445317     200      200                                          200       400

100054993   010046656   CORNERSBURG FAMILY DISC DRUG         YOUNGSTOWN     OH   44511     INDEPENDENT       BC0539164    2,400    4,500    2,600    1,800    5,200    3,000    3,250    19,500

100056886   010102152   CLINIC PHARMACY #1 APSC               COLUMBUS      OH   43205     INDEPENDENT       BC0572328    4,200     100     7,000   15,000   35,200   30,200   15,283    91,700

100055663   046006106   CARROLLWOOD PHARMACY                    TAMPA       FL   33618     INDEPENDENT       BC0626501    1,700    1,400     800      900      500     2,900    1,367     8,200

100056679   032035147   COSTCO #0008 EDI KIRKLAND              KIRKLAND     WA   98033        CHAIN          BC0651314                                         200     2,000    1,100     2,200

100096484   040115196   CAMDEN MED CTR (WAC)                 SAINT MARYS    GA   31558   PHS 340B HOSPITAL   BC0659714     400      400      300      600      360               412      2,060

100071718   040120899   CAMDEN MEDICAL CENTER 340B           SAINT MARYS    GA   31558   PHS 340B HOSPITAL   BC0659714     200      100      200      300               200      200      1,000

100071716   040120865   CAMDEN MEDICAL CENTER                SAINT MARYS    GA   31558       HOSPITAL        BC0659714              200      600                                 400       800

100055967   032035329   COSTCO #0002 EDI PORTLAND              PORTLAND     OR   97230        CHAIN          BC0669094    1,100     700      600      500                        725      2,900

100062557   021000596   CONVENIENT CARE INC #1                SPRINGFIELD   MO   65802     INDEPENDENT       BC0742420     800      700     1,200    9,200    5,200    9,500    4,433    26,600

100074904   021134510   CONVENIENT CARE INC #1 340B           SPRINGFIELD   MO   65802   PHS 340B HOSPITAL   BC0742420    2,200    1,800    2,000     200                       1,550     6,200

100050175   004020461   CRAWFORD DRUG            SF          DORCHESTER     MA   02124     INDEPENDENT       BC0786016              100     1,100     400      500      900      600      3,000

100070547   044143206   CALDWELL DISCOUNT DRUG         CPA      WYNNE       AR   72396     INDEPENDENT       BC0796435   11,400   10,700   21,000    5,800   27,400   23,600   16,650    99,900

100062347   052049791   CENTRAL N ALA HLTH SERV INC           HUNTSVILLE    AL   35816    PHS 340B CLINIC    BC0797564    3,300   11,000             2,000    4,000    2,500    4,560    22,800

100107109   019184267   APOTHECARY- HOUGHTON                  HOUGHTON      MI   49931       HOSPITAL        BC0852245    4,000    3,500    2,500    2,000    7,500    5,000    4,083    24,500

100053588   010000190   COLONIAL PHARMACY         APSC           BATH       OH   44210     INDEPENDENT       BC0895283    2,930    2,900    2,900    2,760    3,700    3,660    3,142    18,850

100069857   040113795   PRUITTHLTH PHY SVS-VALDOSTA            VALDOSTA     GA   31601   LONG TERM CARE      BC0934679   46,200   53,300   60,200   68,400   62,000   15,400   50,917   305,500

100056611   032035139   COSTCO #0006 EDI TUKWILA               TUKWILA      WA   98188        CHAIN          BC0954190                                         100      100      100       200

100056042   032035394   COSTCO #0111 EDI TIGARD                 TIGARD      OR   97223        CHAIN          BC1098917     500                                 200               350       700

100051239   008004853   CARRANZA PHARMACY                      MODESTO      CA   95358     INDEPENDENT       BC1131464                                        4,000             4,000     4,000

100091270   008012351   CARRANZA PHARMACY 340B                 MODESTO      CA   95358       ALT SITE        BC1131464    1,000    1,000    1,000                               1,000     3,000

100056681   032035162   COSTCO #0013 EDI SILVERDALE           SILVERDALE    WA   98383        CHAIN          BC1137985                                        4,200    1,900    3,050     6,100

100060472   040003962   MID CITY PHARMACY        CPA            CANTON      GA   30114     INDEPENDENT       BC1180570    3,700    4,700    4,800    7,900    2,500    2,600    4,367    26,200

100053952   041010660   CLARK'S PHARMACY         874          FARMVILLE     VA   23901     INDEPENDENT       BC1189225                                                  300      300       300

100056296   046002600   CIRCLE S PHARMACY, INC                 PAHOKEE      FL   33476     INDEPENDENT       BC1222734    2,600    1,500    1,100    3,600    1,200             2,000    10,000

100055966   032035311   COSTCO #0486 EDI KENNEWICK            KENNEWICK     WA   99336        CHAIN          BC1231858                                         600     1,200     900      1,800

100067190   018060400   ECONOMY PHCY           SF               BENTON      AR   72015     INDEPENDENT       BC1251052   12,000   14,600   11,600   14,600   12,900   12,100   12,967    77,800

100056146   024109058   CAPITOL DRUGS - S.O.                 SHERMAN OAKS   CA   91403     INDEPENDENT       BC1260049    2,700    4,500    6,300    2,600    5,100    3,600    4,133    24,800

100073426   055020834   CASHIERS VALLEY PHARMACY (GNP)         CASHIERS     NC   28717     INDEPENDENT       BC1274682    5,600    2,400    4,300    2,400    4,820    2,500    3,670    22,020

100056047   032035477   COSTCO #0670 EDI SPOKANE               SPOKANE      WA   99212        CHAIN          BC1282855                                        2,000    2,000    2,000     4,000

100068320   021047548   COOPER DRUG STORE                       THAYER      MO   65791     INDEPENDENT       BC1313030    2,800    4,400   17,000    8,000    2,500             6,940    34,700
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100065455   024113977   CSU BAKERSFIELD                    BAKERSFIELD      CA   93311       ALT SITE        BC1415036     300                                                    300       300

100055969   032035337   COSTCO #0009 EDI ALOHA                ALOHA         OR   97006        CHAIN          BC1604734                                          500               500       500

100051052   008000349   COSTCO #0025 EDI RENO                  RENO         NV   89502        CHAIN          BC1632567                                          900     3,400    2,150     4,300

100062487   021000299   CRITTENTON CENTER                   KANSAS CITY     MO   64134       HOSPITAL        BC1653181               50                                            50        50

100109619   012113555   *COLE'S CARE PHARMACY                FONTANA        CA   92335     INDEPENDENT       BC1696749   27,500   26,600   24,500    27,800                     26,600   106,400

100062688   052050096   NAPHCARE                            BIRMINGHAM      AL   35216   LONG TERM CARE      BC1699442     900     2,000   (1,100)                                600      1,800

100056683   032035188   COSTCO #0061 EDI FEDERAL WAY       FEDERAL WAY      WA   98003        CHAIN          BC1750428                                                  1,200    1,200     1,200

100056610   032035113   COSTCO #0001 EDI SEATTLE             SEATTLE        WA   98134        CHAIN          BC2061454    2,500    2,500                                1,700    2,233     6,700

100106669   023153254   CAMACHO PHARMACY CPA                ELIZABETH       NJ   07206     INDEPENDENT       BC2065541     800     1,300    1,400     2,000     500      400     1,067     6,400

100056038   032035345   COSTCO #0017 EDI EUGENE              EUGENE         OR   97408        CHAIN          BC2075376                                                   200      200       200

100066883   018061390   CLINIC DRUG STORE, INC              BATESVILLE      AR   72501     INDEPENDENT       BC2135754    2,500    8,200    3,400      300     4,200    6,600    4,200    25,200

100107951   025092130   CANBY DRUG & GIFTS CPA                CANBY         MN   56220     INDEPENDENT       BC2150073   10,500    8,500   11,600             11,000            10,400    41,600

100055815   046008748   CAMPBELLTON GRACEVILLE HOSP         GRACEVILLE      FL   32440       HOSPITAL        BC2160288     200      200      300       100      200               200      1,000

100111350   063002199   CITRUS MEMORIAL HEALTH SYSTEM       INVERNESS       FL   34452       HOSPITAL        BC2192994                                                  1,040    1,040     1,040

100050919   037072173   CARR DRUGS #2 /SPECIAL     SF         GRETNA        LA   70053     INDEPENDENT       BC2209751    8,500    9,200   11,800     6,200    6,400    6,200    8,050    48,300

100070525   004143214   BLOOMING GROVE PHARMACY(X) CPA       MONROE         NY   10950     INDEPENDENT       BC2217001    3,120    3,300    6,200      600     1,500     400     2,520    15,120

100070964   023143008   CHRISTOPHER A. BASSOLINO CPA        NEW YORK        NY   10128     INDEPENDENT       BC2276687     400     3,300    1,200      600      600     1,300    1,233     7,400

100071636   037125500   ROGERS PHARMACY #3                   VICTORIA       TX   77901     INDEPENDENT       BC2280319   11,000    9,400   10,500     9,300   12,000   10,800   10,500    63,000

100062555   021000570   CONVENIENT CARE #2                 SPRINGFIELD      MO   65807     INDEPENDENT       BC2310542    3,700    1,600    4,100     5,000    3,100    4,100    3,600    21,600

100084031   021144261   CONVENIENT CARE #2 340B            SPRINGFIELD      MO   65807   PHS 340B HOSPITAL   BC2310542    1,500    3,800    3,100     5,000                      3,350    13,400

100056131   032040204   CENTER PHARMACY, INC                 NEWBERG        OR   97132     INDEPENDENT       BC2320733    4,500    2,600    3,300     4,000    3,400    3,300    3,517    21,100

100053451   024023218   COLLEGE PHARMACY (4)               LOS ANGELES      CA   90012     INDEPENDENT       BC2406874                                3,000     500              1,750     3,500

100073948   018143040   BEST VALUE CNTRY DAY PHCY CPA      FORT WORTH       TX   76132     INDEPENDENT       BC2454750    9,900   14,300    3,200     8,100    9,300   11,900    9,450    56,700

100053293   012055582   COAST PLAZA DOCTORS HOSPITAL         NORWALK        CA   90650       HOSPITAL        BC2475502     700      100      500       550      400      200      408      2,450

100050669   004060434   COSTCO #0302 EDI W.SPRINGFIELD   WEST SPRINGFIELD   MA   01089        CHAIN          BC2521183     100      600      500                         800      500      2,000

100050670   004060442   COSTCO #0301 EDI DANVERS             DANVERS        MA   01923        CHAIN          BC2526385    1,000    1,100    1,000      400      100               720      3,600

100053447   024020149   CENTURY CITY MEDICAL PLAZA         CENTURY CITY     CA   90067     INDEPENDENT       BC2585961    6,100    3,600    6,800     3,700    6,400    2,400    4,833    29,000

100062687   052050088   CORPORATE PHCY SERV INC SF           GADSDEN        AL   35901       ALT SITE        BC2602654   36,300   35,600   28,500    38,600   28,200   24,600   31,967   191,800

100066697   018061465   *CAVE CITY PHARMACY                  CAVE CITY      AR   72521     INDEPENDENT       BC2604329    5,000    5,100    5,500                                5,200    15,600

100067216   008030445   CCWF PHARMACY                      CHOWCHILLA       CA   93610       ALT SITE        BC2623862     200      400      200                        1,000     450      1,800

100087875   038102681   COLORADO SPRINGS HLTH PRT        COLORADO SPRINGS   CO   80907     INDEPENDENT       BC2636617    2,500    3,300    2,400     3,000    1,500    3,500    2,700    16,200

100053444   024018879   CANOGA PARK PHARMACY               CANOGA PARK      CA   91303     INDEPENDENT       BC2647583    2,600    3,200    2,000     2,500     900     1,500    2,117    12,700

100068423   040143503   JONES PHARMACY           CPA       FAYETTEVILLE     GA   30214     INDEPENDENT       BC2660478   21,000   10,000   32,400    14,100   12,800   21,100   18,567   111,400

100056147   024108720   CAPITOL DRUGS - W.H.             WEST HOLLYWOOD     CA   90069     INDEPENDENT       BC2661090    5,400    6,500    7,700     6,300   10,000    6,400    7,050    42,300

100063296   012147066   CALIF INSTITUTION FOR WOMEN          CORONA         CA   92880       ALT SITE        BC2702745              300      200       300                        267       800

100063191   020106732   CANYON SURGERY CENTER                PHOENIX        AZ   85015       HOSPITAL        BC2773439              100                                           100       100

100107316   012052316   C.H.O.C. PHCY OP WAC                 ORANGE         CA   92868       HOSPITAL        BC2805820    1,000    1,200     400       400      400      400      633      3,800

100067147   046087056   COSTCO #0180 EDI LANTANA             LANTANA        FL   33462        CHAIN          BC2829337     500      300                200                        333      1,000

100085725   004069740   CHANCE, JOHN TIGHE MD (OA)           PORTLAND       ME   04102       HOSPITAL        BC2835075                                 100      200               150       300

100067150   046087015   COSTCO #0091 EDI DAVIE                 DAVIE        FL   33324        CHAIN          BC2843060    2,300    2,400     700       100     1,330    1,300    1,355     8,130

100067151   046087007   COSTCO #0088 EDI POMPANO BEACH    POMPANO BEACH     FL   33064        CHAIN          BC2843096                                 300      100               200       400

100050673   004060475   COSTCO #0303 EDI AVON                  AVON         MA   02322        CHAIN          BC2870889     400                                  500      400      433      1,300

100050667   004060418   COSTCO #0304 EDI BROOKFIELD         BROOKFIELD      CT   06804        CHAIN          BC2879293     400      200      400       300                        325      1,300

100064056   008064832   CENTRAL AVENUE PHARMACY            PACIFIC GROVE    CA   93950     INDEPENDENT       BC2928351    5,900    6,300    6,400     3,400    4,800    3,200    5,000    30,000
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100054846   012018408   C.H.O.C. PHCY                        ORANGE        CA   92868       HOSPITAL        BC2940636     200      600       300      300                        350      1,400

100107318   012087031   C.H.O.C. PHCY IP WAC                 ORANGE        CA   92868       HOSPITAL        BC2940636     300                         300      360      300      315      1,260

100107332   012097063   C.H.O.C. PHCY 340B OP                ORANGE        CA   92868   PHS 340B HOSPITAL   BC2940636              800       100      100                        333      1,000

100107331   012089599   C.H.O.C. PHCY 340B                   ORANGE        CA   92868   PHS 340B HOSPITAL   BC2940636              100                                           100       100

100056682   032035170   COSTCO #0019 EDI BELLINGHAM         BELLINGHAM     WA   98226        CHAIN          BC2951261                                         1,200    3,800    2,500     5,000

100056686   032035212   COSTCO #0064 EDI TUMWATER           TUMWATER       WA   98512        CHAIN          BC2952617                        200              2,200    1,400    1,267     3,800

100056039   032035352   COSTCO #0065 EDI MEDFORD             MEDFORD       OR   97504        CHAIN          BC3008605                                         1,500             1,500     1,500

100090712   044210344   CLAYTON HLTH SVC PHCY WEST          SAINT LOUIS    MO   63117       HOSPITAL        BC3008958    6,200    6,100     6,700    3,900   10,000    4,400    6,217    37,300

100090713   044210351   CLAYTON HLTH SVC PHCY WST 340B      SAINT LOUIS    MO   63117   PHS 340B HOSPITAL   BC3008958    2,100      -       2,100    1,100    2,100    3,000    1,733    10,400

100071200   046140798   COUNTRYSIDE SURGERY CTR #712       CLEARWATER      FL   33761       HOSPITAL        BC3022794              100       100                                 100       200

100056680   032035154   COSTCO #0010 EDI ANCHORAGE          ANCHORAGE      AK   99515        CHAIN          BC3035614     200      300       200      500                        300      1,200

100063830   021013854   CLINIC PHCY          SF               BOONE        IA   50036     INDEPENDENT       BC3044702    1,500    1,700     1,800     600      200     1,100    1,150     6,900

100056040   032035360   COSTCO #0068 EDI SALEM                SALEM        OR   97301        CHAIN          BC3067700                                         1,300             1,300     1,300

100050674   004060483   COSTCO #0307 EDI NASHUA               NASHUA       NH   03060        CHAIN          BC3075769     600     1,000               200                        600      1,800

100059305   044085068   CLINIC PHARMACY BOWLING G APSC    BOWLING GREEN    KY   42101     INDEPENDENT       BC3090913    7,000    6,500     5,900    5,500    6,600    6,000    6,250    37,500

100053322   024085175   CAYUCOS PHARMACY                     CAYUCOS       CA   93430     INDEPENDENT       BC3097777     100      200                100              1,100     375      1,500

100051269   008035410   CORRECTIONAL HLTH CARE PHCY        FRENCH CAMP     CA   95231       ALT SITE        BC3122695    1,100    1,100     1,050    1,600    2,400    1,000    1,375     8,250

100060799   023011288   CLASSIC PHARMACY INC (ARX)         STATEN ISLAND   NY   10301     INDEPENDENT       BC3128178              200       100      200                        167       500

100057523   056011254   CHOICE CRITICAL CARE INC          MCSHERRYSTOWN    PA   17344   LONG TERM CARE      BC3143548                                 100                        100       100

100057702   032031898   COSTCO #0095 EDI TACOMA              TACOMA        WA   98409        CHAIN          BC3164023                                4,500             1,200    2,850     5,700

100059663   023096800   COSTCO #0306 EDI CLIFTON             CLIFTON       NJ   07014        CHAIN          BC3198909     200      200       100      100      700               260      1,300

100058583   049011023   CENTRAL LAKE PHCY INC      SF      CENTRAL LAKE    MI   49622     INDEPENDENT       BC3230555    4,000    5,000     4,500    5,700    5,000    3,500    4,617    27,700

100085991   004069989   CONLIN'S PHARMACY INC. CPA           METHUEN       MA   01844     INDEPENDENT       BC3234666     300     1,400      100      800               500      620      3,100

100054238   017038240   COSTCO #0067 EDI MISSOULA            MISSOULA      MT   59808        CHAIN          BC3258286    9,000    8,500     5,400    4,300    3,000    3,000    5,533    33,200

100064064   008053074   COALINGA REGIONAL MEDICAL            COALINGA      CA   93210       HOSPITAL        BC3347920      50      200        50      150               180      126       630

100051335   008036269   CPMC PHARMACY(CALIF. CAMPUS)/S    SAN FRANCISCO    CA   94118       HOSPITAL        BC3350674    1,900    2,500     2,100    2,200     160     1,760    1,770    10,620

100101137   008112144   CPMC PHCY (CALIF CAMPUS) WAC      SAN FRANCISCO    CA   94118   PHS 340B HOSPITAL   BC3350674              700               1,150    3,360     880     1,523     6,090

100066323   008089615   CPMC PHCY(CALIF CAMPUS) 340 /S    SAN FRANCISCO    CA   94118   PHS 340B HOSPITAL   BC3350674                       1,000                               1,000     1,000

100051301   008035998   CPMC PHARMACY(PACIFIC CAMPUS/S    SAN FRANCISCO    CA   94115       HOSPITAL        BC3350698    1,100    1,900     1,700    3,100     100      700     1,433     8,600

100101136   008112136   CPMC PACIFIC CAMPUS WAC           SAN FRANCISCO    CA   94115   PHS 340B HOSPITAL   BC3350698    1,800    1,400      200     1,700    1,600     740     1,240     7,440

100066322   008089607   CPMC PACIFIC CAMPUS 340B     /S   SAN FRANCISCO    CA   94115   PHS 340B HOSPITAL   BC3350698                       1,800     800                       1,300     2,600

100069509   024155036   COMP CANCER/CEDAR-SINAI 340B       LOS ANGELES     CA   90048   PHS 340B HOSPITAL   BC3352301              100                         100               100       200

100056687   032035220   COSTCO #0066 EDI SPOKANE             SPOKANE       WA   99208        CHAIN          BC3372721                                         4,000             4,000     4,000

100068035   010174888   CCF CRILE OP PHARMACY               CLEVELAND      OH   44106     INDEPENDENT       BC3375323    4,400    5,800     5,400    4,500    5,700    4,500    5,050    30,300

100065866   021009837   CTR. FOR SAME DAY SRGY /CONS         WICHITA       KS   67214       ALT SITE        BC3408831     100      100       100               200      100      120       600

100055813   019005892   CLINIC PHARMACY OF W SALEM CPA      WEST SALEM     WI   54669     INDEPENDENT       BC3441449    2,900    3,500     1,300    3,700     800      200     2,067    12,400

100064572   052040584   CRESCENT CENTER DRUG STORE         MORRISTOWN      TN   37814     INDEPENDENT       BC3491723   25,120   14,000    49,500   18,000   24,000   18,000   24,770   148,620

100057754   037087262   COUNTY PHCY UNITED #2379/GNP       HEBBRONVILLE    TX   78361     INDEPENDENT       BC3559234              (500)              900     1,100     100      400      1,600

100050668   004060426   COSTCO #0312 EDI MILFORD             MILFORD       CT   06460        CHAIN          BC3565453    1,000    1,000      300      300               300      580      2,900

100068446   019159996   COMMUNITY PHARMACY 340B            LOGANSPORT      IN   46947   PHS 340B HOSPITAL   BC3600067    1,100    1,500     1,300     800     1,900    1,800    1,400     8,400

100065974   019003012   COMMUNITY PHARMACY                 LOGANSPORT      IN   46947     INDEPENDENT       BC3600067              100                        3,600    3,800    2,500     7,500

100068364   055143016   APOTHECARE PHCY(LEESVILLE) CPA       LEESVILLE     SC   29070     INDEPENDENT       BC3603885    3,500    2,500     4,000    4,500     500     3,500    3,083    18,500

100071198   046140780   CORAL SPRINGS SURGI CTR #712      CORAL SPRINGS    FL   33071       HOSPITAL        BC3652256     100                                                    100       100

100054242   017038299   COSTCO #0145 EDI TWIN FALLS         TWIN FALLS     ID   83301        CHAIN          BC3672068   12,200   16,000     6,000    7,600   14,600    1,500    9,650    57,900
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100056688   032035238   COSTCO #0103 EDI CLARKSTON           CLARKSTON      WA   99403        CHAIN          BC3683592                                                 4,000    4,000     4,000

100056041   032035386   COSTCO #0101 EDI BEND                  BEND         OR   97701        CHAIN          BC3686524                                        7,000    2,300    4,650     9,300

100050675   004060491   COSTCO #0314 EDI COLCHESTER         COLCHESTER      VT   05446        CHAIN          BC3733195    1,000     800      200      100      400      300      467      2,800

100074905   021134502   CONVENIENT CARE RX #3 340B          SPRINGFIELD     MO   65807   PHS 340B HOSPITAL   BC3754000    3,000    5,000    3,500    3,500    4,500    3,800    3,883    23,300

100062556   021000588   CONVENIENT CARE PHARMY NO 3         SPRINGFIELD     MO   65807     INDEPENDENT       BC3754000    1,000             3,100    2,500    4,300    4,900    3,160    15,800

100050666   004060400   COSTCO #0313 EDI WATERBURY          WATERBURY       CT   06705        CHAIN          BC3778327    1,700    1,200    1,300    1,000     800      600     1,100     6,600

100050672   004060467   COSTCO #0308 EDI WALTHAM             WALTHAM        MA   02451        CHAIN          BC3829403     300                        200      300               267       800

100056744   026014084   COSTCO #0140 EDI KAILUA KONA        KAILUA KONA     HI   96740        CHAIN          BC3836181   12,000   11,700    9,300    2,500    1,700    2,600    6,633    39,800

100063298   012147082   CENTINELA STATE PRISON PHMCY          IMPERIAL      CA   92251       ALT SITE        BC3858327     400               300     1,100    1,400              800      3,200

100090714   019167544   CLINIC PHARMACY                       MONROE        WI   53566     INDEPENDENT       BC3874131   16,300   15,600   18,200   24,300   11,300   15,200   16,817   100,900

100109686   019186924   CRANDON REXALL PHCY CPA              CRANDON        WI   54520     INDEPENDENT       BC3875145    2,000    4,500    2,000    3,000    4,700    1,500    2,950    17,700

100062397   021000554   COX MONETT HOSPITAL INC               MONETT        MO   65708       HOSPITAL        BC3882518     200      500      300      500      300      500      383      2,300

100062398   021000562   COX MONETT HOSPITAL INC (RTL)         MONETT        MO   65708       HOSPITAL        BC3882518     300      100      600      100      600               340      1,700

100053443   024018440   CALIX DRUGS                           COVINA        CA   91724   LONG TERM CARE      BC3887443              100      300                                 200       400

100073320   037112839   SOUTH TEXAS SURGICAL HOSPITAL      CORPUS CHRISTI   TX   78414       HOSPITAL        BC3893802                       100      300                        200       400

100052559   010054049   CORNER PHARMACY APSC                BARNESVILLE     OH   43713     INDEPENDENT       BC3894448    1,000     800     1,200     300     3,500    5,500    2,050    12,300

100071578   020140053   LAS PALMAS REHAB HOSP       #712      EL PASO       TX   79902       HOSPITAL        BC3896264    1,000     800     1,100    1,200     680      800      930      5,580

100055556   018002618   CENTER PHARMACY, INC                PLEASANTON      TX   78064     INDEPENDENT       BC3898953    6,500    6,500    5,700    6,500    5,500    3,100    5,633    33,800

100100699   010234047   CABELL HUNTINGTON O/P PHCY WAC      HUNTINGTON      WV   25701   PHS 340B HOSPITAL   BC3917436   14,800    4,760    5,600    7,320   13,500    7,560    8,923    53,540

100072756   018143180   CUB DRUG, INC       CPA                OLNEY        TX   76374     INDEPENDENT       BC3951096   39,100   41,100   37,600   37,400   37,400   27,900   36,750   220,500

100052786   024031021   CENTURY DISCOUNT PHARMACY INC         RESEDA        CA   91335     INDEPENDENT       BC3969827    1,000    2,200    8,600   13,300   12,300   14,100    8,583    51,500

100064892   008035436   KAWEAH DELTA REHABILITATION           VISALIA       CA   93277       HOSPITAL        BC3970197    1,800    1,900    8,400    4,200                      4,075    16,300

100050042   018008979   CITY DRUG COMPANY          CPA      VAN ALSTYNE     TX   75495     INDEPENDENT       BC3994464   12,500   14,000   12,100   23,100    7,600   13,000   13,717    82,300

100056690   032035261   COSTCO #0106 EDI SEATTLE              SEATTLE       WA   98133        CHAIN          BC4041466                                                  400      400       400

100055084   012033662   CROWN DRUG                            CARSON        CA   90746     INDEPENDENT       BC4044688     700     2,000    1,500    1,000    1,700     500     1,233     7,400

100051538   008063032   COSTCO #0149 EDI SANTA CRUZ         SANTA CRUZ      CA   95060        CHAIN          BC4118419                                                 1,400    1,400     1,400

100051532   008062869   COSTCO #0141 EDI NOVATO               NOVATO        CA   94945        CHAIN          BC4136152     100                        100                        100       200

100073985   008049064   COSTCO #1011 EDI CHICO                 CHICO        CA   95928        CHAIN          BC4136203                                        6,500     800     3,650     7,300

100051544   008063107   COSTCO #0482 EDI RICHMOND            RICHMOND       CA   94804        CHAIN          BC4136239                                         500      100      300       600

100056691   032035279   COSTCO #0110 EDI ISSAQUAH            ISSAQUAH       WA   98027        CHAIN          BC4151407    2,600    2,600    1,000    1,800    4,000    4,500    2,750    16,500

100052988   012078493   COSTCO #0126 EDI GARDEN GROVE      GARDEN GROVE     CA   92843        CHAIN          BC4169733    7,600    9,700    7,000    8,300   16,300    1,500    8,400    50,400

100093072   018396416   ST FRANCIS COMM HLTH PHARM            MONROE        LA   71201       HOSPITAL        BC4204272    5,000    2,700    3,100    4,700    3,000    3,200    3,617    21,700

100093073   018396424   ST FRANCIS COMM HLTH CTR 340B         MONROE        LA   71201       HOSPITAL        BC4204272    1,000    1,500    2,100    1,700                      1,575     6,300

100065908   008071035   COSTCO #0131 EDI SAND CITY           SAND CITY      CA   93955        CHAIN          BC4205250                                                  400      400       400

100051046   008000265   COSTCO #0132 EDI VALLEJO              VALLEJO       CA   94591        CHAIN          BC4205262                                                  400      400       400

100051047   008000273   COSTCO #0133 EDI REDDING              REDDING       CA   96003        CHAIN          BC4205337                               3,000                      3,000     3,000

100065910   008071373   COSTCO #1017 EDI VISALIA              VISALIA       CA   93277        CHAIN          BC4205349              100      200                       4,600    1,633     4,900

100065804   008071423   COSTCO #0135 EDI CLOVIS               CLOVIS        CA   93612        CHAIN          BC4205363              200                        100     2,000     767      2,300

100051534   008062893   COSTCO #0144 EDI SAN FRANCISCO     SAN FRANCISCO    CA   94103        CHAIN          BC4205375                                         100               100       100

100052985   012078469   COSTCO #0121 EDI EL CENTRO           EL CENTRO      CA   92243        CHAIN          BC4224197   10,200    5,100   11,000    7,800    9,400    8,100    8,600    51,600

100051024   008000521   COSTCO #0041 EDI SANTA ROSA         SANTA ROSA      CA   95407        CHAIN          BC4227042                                        1,000     100      550      1,100

100051023   008000224   COSTCO #0125 EDI EUREKA               EUREKA        CA   95501        CHAIN          BC4227078              100                       6,300     120     2,173     6,520

100051519   018047324   CRAIG PHARMACY                         TYLER        TX   75701     INDEPENDENT       BC4229224   25,600   26,000   24,200   35,800   21,200   12,100   24,150   144,900

100052745   024071050   COSTCO #0024 EDI SANTA MARIA        SANTA MARIA     CA   93454        CHAIN          BC4254493   16,100   23,600   13,900   14,800   28,400   21,400   19,700   118,200
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100083319   052160846   CITY DRUG CO       APSC                MARYVILLE       TN   37804     INDEPENDENT       BC4255370    4,200    9,200    9,200    4,700   18,800   13,000    9,850    59,100

100064407   021080143   MERCY HOSPITAL, BERRYVILLE IP         BERRYVILLE       AR   72616       HOSPITAL        BC4348353              200      200      100      700      460      332      1,660

100085210   021148254   MERCY HOSPITAL BERRYVILLE 340B        BERRYVILLE       AR   72616   PHS 340B HOSPITAL   BC4348353     200      200      200      100                        175       700

100056256   040040519   COMMUNITY HEALTH PHARMACY RX           COLUMBUS        GA   31904       ALT SITE        BC4419568     200     1,700    1,000     700     1,800    1,000    1,067     6,400

100056589   026014068   COSTCO #0119 EDI KAHULUI                KAHULUI        HI   96732        CHAIN          BC4437287    6,100    7,300    3,600    1,400     600     1,100    3,350    20,100

100066069   008037317   SEQUOIA SURGERY CENTER LLC              VISALIA        CA   93277       HOSPITAL        BC4452633     100      100      100      200      100      100      117       700

100056692   032035287   COSTCO #0112 EDI E. WENATCHEE       EAST WENATCHEE     WA   98802        CHAIN          BC4463282    4,800    6,200    9,100    3,000                      5,775    23,100

100086383   019145615   WALGREENS #15168                        URBANA         IL   61801     WALGREENS         BC4465022    2,600   14,000   11,100   14,500   19,100   15,700   12,833    77,000

100052983   012078444   COSTCO #0028 EDI LAGUNA NIGUEL       LAGUNA NIGUEL     CA   92677        CHAIN          BC4487864    4,800    4,900    5,700    4,300    1,200    2,700    3,933    23,600

100053001   024071191   COSTCO #0044 EDI CANOGA PARK         CANOGA PARK       CA   91304        CHAIN          BC4487876    5,500    5,200    4,600    4,700    3,000    1,300    4,050    24,300

100053002   024071217   COSTCO #0048 EDI VAN NUYS              VAN NUYS        CA   91411        CHAIN          BC4487888    9,400   10,200    6,800    8,100    2,900    2,800    6,700    40,200

100052986   012078477   COSTCO #0122 EDI TUSTIN                 TUSTIN         CA   92782        CHAIN          BC4487890    5,800    5,900    4,200    4,600    7,700    5,800    5,667    34,000

100073724   012004846   COSTCO #1010 EDI VICTORVILLE          VICTORVILLE      CA   92395        CHAIN          BC4487903   16,600   18,000   14,300   18,800    3,900    2,900   12,417    74,500

100052749   024071167   COSTCO #0679 EDI CITY OF INDUS      CITY OF INDUSTRY   CA   91748        CHAIN          BC4487953    2,500    3,600    3,300    3,300    4,200     800     2,950    17,700

100064934   018061754   COLLIER DRUG STORE WILLOW CPA          JOHNSON         AR   72741     INDEPENDENT       BC4496255    2,700    8,300    3,800     600     3,500    5,200    4,017    24,100

100086396   019145649   WALGREENS #15167                     BLOOMINGTON       IL   61704     WALGREENS         BC4532809     500     5,500    2,500    4,000    6,000    4,000    3,750    22,500

100051531   008062851   COSTCO #0129 EDI SANTA CLARA          SANTA CLARA      CA   95050        CHAIN          BC4561533                                                 3,000    3,000     3,000

100071392   044140244   HORIZON MEDICAL CENTER      #712        DICKSON        TN   37055       HOSPITAL        BC4584074     800     1,900    1,150    1,780    1,720     940     1,382     8,290

100071100   038140186   ROSE MEDICAL CENTER       #712          DENVER         CO   80220       HOSPITAL        BC4613596    2,100    1,500    1,150    2,100    2,600    2,300    1,958    11,750

100072754   018143164   CLARENDON OUTPOST          CPA        CLARENDON        TX   79226     INDEPENDENT       BC4632609    7,000    6,700    5,000    1,000    3,000    3,000    4,283    25,700

100071108   041140152   LEWISGALE HOSP ALLEGHANY #712          LOW MOOR        VA   24457       HOSPITAL        BC4639297    1,000     900      100      600      700      780      680      4,080

100054848   012018432   CBC COMMUNITY PHARMACY              SAN BERNARDINO     CA   92411     INDEPENDENT       BC4648323    9,500   10,500    7,000    9,000   20,500    3,000    9,917    59,500

100052622   046000125   CIRCLES OF CARE, INC OUTPAT           MELBOURNE        FL   32904     INDEPENDENT       BC4653211     100      500      700                       1,000     575      2,300

100053767   024057349   CENTURY-PICO PHARMACY                 LOS ANGELES      CA   90035     INDEPENDENT       BC4655582    1,400    1,100     600                                1,033     3,100

100072319   008175281   COSTCO #1002 EDI ANTIOCH                ANTIOCH        CA   94509        CHAIN          BC4691831     100      500                                          300       600

100054243   017038307   COSTCO #0113 EDI SALT LAKE CIT       SALT LAKE CITY    UT   84115        CHAIN          BC4693607                                        8,000    5,600    6,800    13,600

100076039   055013508   CHARLES DREW COM.HLTH CNT(340B        BURLINGTON       NC   27217    PHS 340B CLINIC    BC4699673    1,600    2,500    1,600    1,400    3,600    1,000    1,950    11,700

100063577   023096842   COSTCO #0316 EDI STATEN ISLAND       STATEN ISLAND     NY   10314        CHAIN          BC4707482    1,300    1,000    1,000    2,000                      1,325     5,300

100071900   038140046   CENTRUM SURCTR/CULLITON M #712     GREENWOOD VILLAGE   CO   80111       HOSPITAL        BC4707901              100                        200               150       300

100054589   012018341   CBC ROYALTY PHARMACY                    POMONA         CA   91767     INDEPENDENT       BC4718699    3,900    4,100    4,100   13,800    5,100             6,200    31,000

100062694   052050260   CULLMAN DISCOUNT PHARMACY              CULLMAN         AL   35055     INDEPENDENT       BC4725202                                        1,000             1,000     1,000

100050940   008037333   CLONEY'S RED CROSS PHCY CPA             EUREKA         CA   95501     INDEPENDENT       BC4750813    7,000   17,100   14,000   18,500    5,500   12,700   12,467    74,800

100051241   008006205   CLONEY'S PRESCRIP PHCY CPA              EUREKA         CA   95501     INDEPENDENT       BC4750825   18,500   21,400   33,500    6,100   28,500   28,500   22,750   136,500

100085832   055025767   PROVIDENCE HOSPITAL                    COLUMBIA        SC   29204       HOSPITAL        BC4777073     900     1,800    1,200    2,150    6,300             2,470    12,350

100072840   038140004   CENTENNIAL MD CTR PHY RTL #713        ENGLEWOOD        CO   80112     INDEPENDENT       BC4782896    5,100    5,900    3,500    6,000    6,500    3,000    5,000    30,000

100072843   038140038   CENTENNIAL MED CTR PHCY #712          ENGLEWOOD        CO   80112       HOSPITAL        BC4782896     100      200      150      150      100      160      143       860

100059178   044041731   CALVERT CITY PHARMACY      APSC       CALVERT CITY     KY   42029     INDEPENDENT       BC4794067    9,500   12,500    9,700   12,800   11,500   11,300   11,217    67,300

100071212   046140871   DRS SAME DAY SURGERY CNTR #712         SARASOTA        FL   34233       HOSPITAL        BC4803688     100                        100                80       93       280

100071118   041140251   RETREAT HOSPITAL      #713             RICHMOND        VA   23220       HOSPITAL        BC4819718     400      200      300      500               480      376      1,880

100053004   024071308   COSTCO #0128 EDI SIMI VALLEY          SIMI VALLEY      CA   93065        CHAIN          BC4836194    9,500   11,200    8,300    9,400   11,000   13,700   10,517    63,100

100066624   021007856   CHARLES DREW HEALTH CENTER              OMAHA          NE   68111    PHS 340B CLINIC    BC4841563                                500                        500       500

100059927   056096859   COSTCO #317 EDI LANCASTER             LANCASTER        PA   17601        CHAIN          BC4847488    3,800    3,900    2,400    2,500    1,300    2,800    2,783    16,700

100059945   010099424   COMMUNITY HOSPICE PHARMACY             ASHLAND         KY   41101       HOSPITAL        BC4908109     300      100      100                                 167       500

100054434   010044719   CHILLICOTHE RX SUPP SVC               LANCASTER        OH   43130     INDEPENDENT       BC4959764                                        2,300             2,300     2,300
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100053003   024071274   COSTCO #0117 EDI WESTLAKE VILL     WESTLAKE VILLAGE    CA   91362        CHAIN          BC4964602    7,500   11,400    9,800   11,400    9,500   11,200   10,133   60,800

100052873   010046060   VANTAGE CARE APOTHECARY RX             MEADVILLE       PA   16335   LONG TERM CARE      BC4974920                               1,700     500              1,100    2,200

100055965   032035295   COSTCO #0114 EDI EVERETT               EVERETT         WA   98208        CHAIN          BC4997966     500      500                                2,400    1,133    3,400

100063030   046087080   COSTCO #0183 EDI ALTAMONTE SPR     ALTAMONTE SPRINGS   FL   32714        CHAIN          BC5040376    1,400    1,300    1,400     800                       1,225    4,900

100067148   046087049   COSTCO #0093 EDI LAKE PARK             LAKE PARK       FL   33403        CHAIN          BC5072056    1,000    1,700     400     3,600    3,300    1,500    1,917   11,500

100071384   044143248   CLARK'S FAMILY PHARMACY      CPA        EARLE          AR   72331     INDEPENDENT       BC5076674   12,200    1,000    9,100   18,200    4,000    6,500    8,500   51,000

100054959   041003889   CEDARFIELD PHARM SERVICE 843           RICHMOND        VA   23233   LONG TERM CARE      BC5084443    2,600    2,500    2,700    2,400    2,700    2,000    2,483   14,900

100071111   041140160   COL JOHN RANDOLPH MED CTR #712         HOPEWELL        VA   23860       HOSPITAL        BC5108899     300      500      150               380      640      394     1,970

100054873   040050047   COSTCO #0188 EDI ATLANTA             SANDY SPRINGS     GA   30328        CHAIN          BC5109156     700     1,000     100      100               600      500     2,500

100054872   040050039   COSTCO #0187 EDI DULUTH                 DULUTH         GA   30096        CHAIN          BC5109168    1,200    1,400     100      100                        700     2,800

100059838   023096867   COSTCO #0318 EDI BROOKLYN              BROOKLYN        NY   11232        CHAIN          BC5122166                       300                                 300      300

100053006   024071332   COSTCO #0130 EDI LOS ANGELES          LOS ANGELES      CA   90039        CHAIN          BC5124362    3,600    3,300    4,600    3,900     900     1,000    2,883   17,300

100071362   018140608   ROUND ROCK MEDICAL CENTER HCA         ROUND ROCK       TX   78681       HOSPITAL        BC5127077    4,500    8,000    6,500    7,300    3,200    5,180    5,780   34,680

100054843   012018374   CBC CONV CARE PHCY                      POMONA         CA   91766   LONG TERM CARE      BC5136773              100                                          100      100

100054844   012018382   CBC MISSION PHCY                        POMONA         CA   91766     INDEPENDENT       BC5136785     500                       4,000             4,500    3,000    9,000

100054813   012078857   COSTCO #0469 EDI LA MESA                LA MESA        CA   91942        CHAIN          BC5176563    9,900    9,200    9,100    6,700     500     1,000    6,067   36,400

100090708   044195669   CARDINAL GLEN CHILD HSP ACCWAC        SAINT LOUIS      MO   63104       HOSPITAL        BC5180257     700     1,100     600      500     1,500    2,500    1,150    6,900

100090709   044210310   CARDINAL GLEN CHLD HSP ACC340B        SAINT LOUIS      MO   63104   PHS 340B HOSPITAL   BC5180257    1,600     500     1,100    1,500                      1,175    4,700

100090710   044210328   CARDINAL GLENNON CHILD HOSP           SAINT LOUIS      MO   63104       HOSPITAL        BC5180257     400      400      300      400      400      200      350     2,100

100090707   044195222   CARDINAL GLEN CHILD HOSP WAC          SAINT LOUIS      MO   63104       HOSPITAL        BC5180257                                                  100      100      100

100069261   038140236   SPALDING REHAB HOSP        #712         AURORA         CO   80011       HOSPITAL        BC5204778                                350      180      180      237      710

100056043   032035402   COSTCO #0097 EDI CLACKAMAS            CLACKAMAS        OR   97015        CHAIN          BC5209689                                         500     1,000     750     1,500

100064597   019008938   COMMUNITY MEMORIAL HOSPITAL OP     MENOMONEE FALLS     WI   53051       HOSPITAL        BC5309251    2,500    3,000    4,600    1,000    4,300    1,900    2,883   17,300

100092920   019161471   COMMUNITY MEMORIAL HOSP OP-TH      MENOMONEE FALLS     WI   53051       HOSPITAL        BC5309251    1,700    1,800    2,600    2,100    1,000             1,840    9,200

100071115   018140178   COLUMBIA OAKWOOD SURG CTR HCA         ROUND ROCK       TX   78681       HOSPITAL        BC5348568     100      100      100      100       80      100       97      580

100055940   032045393   GRAND RONDE HEALTH & WELLNESS        GRAND RONDE       OR   97347    PHS 340B CLINIC    BC5444334   17,900   15,000   12,900   14,600    2,200    3,100   10,950   65,700

100058446   041031674   CLINCH RIVER PHARMACY(340B)824        DUNGANNON        VA   24245    PHS 340B CLINIC    BC5448938    7,200    5,400    6,300   11,200    1,000    4,500    5,933   35,600

100071385   018144147   COKER HAMPTON DRUG CO        CPA      STUTTGART        AR   72160     INDEPENDENT       BC5475125    9,620   13,300    8,500    8,600    4,500    6,400    8,487   50,920

100108052   010237396   MERCY REG MED CENTER WAC                LORAIN         OH   44053       HOSPITAL        BC5476494             1,300    1,750    2,100     500              1,413    5,650

100090251   010224592   MERCY REG MED CENTER IP                 LORAIN         OH   44053       HOSPITAL        BC5476494    1,250     600                       1,820    1,680    1,338    5,350

100090250   010224584   MERCY REG MED CENTER EMPLOY             LORAIN         OH   44053       HOSPITAL        BC5476494              500     1,000     300      500               575     2,300

100061617   023000448   QUALITY CARE PHCY INC(Z) GNP           CARLISLE        PA   17015     INDEPENDENT       BC5483588    1,500    1,000    9,500    1,200    1,100    2,500    2,800   16,800

100070327   018140269   LAS COLINAS MEDICAL CNTR HCA            IRVING         TX   75039       HOSPITAL        BC5485518    1,200    3,100    2,300    3,050     800     2,140    2,098   12,590

100054874   040050054   COSTCO #0189 EDI KENNESAW             KENNESAW         GA   30144        CHAIN          BC5505194                                300                        300      300

100106429   017098301   CCS / SALT LAKE CITY INC PHARM         W JORDAN        UT   84081       HOSPITAL        BC5511325                                100                        100      100

100065812   008071670   COSTCO #0472 EDI SALINAS                SALINAS        CA   93907        CHAIN          BC5513658                                        5,600    3,200    4,400    8,800

100064437   056096776   COSTCO #245 EDI KING OF PRUSS       KING OF PRUSSIA    PA   19406        CHAIN          BC5573250     200      800      300      300               300      380     1,900

100052987   012078485   COSTCO #0124 EDI VISTA                   VISTA         CA   92081        CHAIN          BC5577119   14,600   15,200   12,500   16,800   11,600    9,800   13,417   80,500

100059662   023096768   COSTCO #0244 EDI EAST HANOVER        EAST HANOVER      NJ   07936        CHAIN          BC5601085     100      100      100      500                        200      800

100053446   024020099   CENTURY BEVERLY HILLS PHARMACY        LOS ANGELES      CA   90048     INDEPENDENT       BC5613559    5,100    5,100    6,400    9,400    1,800    4,200    5,333   32,000

100054814   012078873   COSTCO #0473 EDI CHINO HILLS          CHINO HILLS      CA   91709        CHAIN          BC5628702    4,000    4,700    4,000    4,800              500     3,600   18,000

100056561   038300152   AVISTA ADVENTIST HOSP PHCY            LOUISVILLE       CO   80027       HOSPITAL        BC5645809     400      400      200      200      300       80      263     1,580

100088356   038103564   CENTURA HLT AVISTA ADV HSP340B        LOUISVILLE       CO   80027   PHS 340B HOSPITAL   BC5645809     100               200      400      160      320      236     1,180

100096735   038106625   AVISTA ADVENTIST HOSP PHCY WAC        LOUISVILLE       CO   80027       HOSPITAL        BC5645809                       400      100      320      160      245      980
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100109591   038110916   ST. MARY CORWIN MED CNTR WAC             PUEBLO         CO   81004         HOSPITAL         BC5645811     400     2,100     1,200    1,600              500     1,160     5,800

100056564   038300186   ST. MARY CORWIN MED CNTR PHARM           PUEBLO         CO   81004         HOSPITAL         BC5645811     400      (300)             1,400                       500      1,500

100109590   038110908   ST. MARY CORWIN MED CNTR 340B            PUEBLO         CO   81004         HOSPITAL         BC5645811     100      100       500      500                        300      1,200

100060026   038300012   ST. THOMAS MORE HOSP PHARM             CANON CITY       CO   81212         HOSPITAL         BC5645823     500      900       750     1,050     580      580      727      4,360

100056565   038300194   ST. ANTHONY NORTH HOSP PHARM          WESTMINSTER       CO   80031         HOSPITAL         BC5645847     500     1,000     1,000     600                        775      3,100

100106573   038110718   ST ANTHONY NORTH HOSP PHCY WAC        WESTMINSTER       CO   80031     PHS 340B HOSPITAL    BC5645847                                         1,300     900     1,100     2,200

100106572   038110700   ST ANTHONY NORTH HSP PHCY 340B        WESTMINSTER       CO   80031     PHS 340B HOSPITAL    BC5645847     600      200                900                        567      1,700

100051242   008007500   COMMUNITY HEALTH PHCY                  CARSON CITY      NV   89706      PHS 340B CLINIC     BC5677236    1,000                       5,000                      3,000     6,000

100083914   004062802   STEWARD NORWOOD HOSPITAL INC            NORWOOD         MA   02062         HOSPITAL         BC5681386     800      500       700      400      960      320      613      3,680

100053858   004052233   CARROLL DRUG STORE INC(X) GNP       SOUTHWEST HARBOR    ME   04679       INDEPENDENT        BC5692492    6,800    7,200     7,800    6,800    8,700    3,500    6,800    40,800

100074894   056090548   CHOICE FAMILY PHARMACY(Z)            MCSHERRYSTOWN      PA   17344       INDEPENDENT        BC5708360                                1,500                      1,500     1,500

100052964   012066571   WHITTIER DRUGS         PRO              WHITTIER        CA   90605       INDEPENDENT        BC5712028              100       100      100                        100       300

100073931   055025593   PHARMERICA DRUG SYSTEM(SIMPSON          SIMPSON         NC   27879     LONG TERM CARE       BC5724035    2,200    3,200     4,100    4,300     300              2,820    14,100

100071795   018140137   COLUMBIA HSP MED CITY        HCA         DALLAS         TX   75230         HOSPITAL         BC5738351   11,700   17,850     6,000   14,200    9,840   10,240   11,638    69,830

100071733   018140541   NORTH HILLS HOSPITAL PHCY HCA       NORTH RICHLAND HI   TX   76180         HOSPITAL         BC5738363    2,500    3,400     2,900    3,300    2,400    1,600    2,683    16,100

100070764   018140582   PLAZA MEDICAL CNTR OF FW HCA           FORT WORTH       TX   76104         HOSPITAL         BC5738387    4,400    3,800     5,800     900     4,980    3,040    3,820    22,920

100071114   018140160   MEDICAL CENTER OF PLANO       HCA        PLANO          TX   75075         HOSPITAL         BC5738399    8,100    9,400     8,800    7,800    8,300    9,120    8,587    51,520

100071207   018140210   DENTON REGIONAL MED CTR       HCA        DENTON         TX   76210         HOSPITAL         BC5738438    4,200    4,000     5,100    4,900    3,560    4,200    4,327    25,960

100050671   004060459   COSTCO #0319 EDI DEDHAM                  DEDHAM         MA   02026          CHAIN           BC5745089    1,000     700       100      200      200      500      450      2,700

100071594   018140301   MEDICAL CTR OF ARLINGTON HCA           ARLINGTON        TX   76015         HOSPITAL         BC5750066    6,800    5,000     7,900    5,100    5,320    5,000    5,853    35,120

100071595   018140319   MEDICAL CENTER LEWISVILLE HCA          LEWISVILLE       TX   75057         HOSPITAL         BC5750078    2,500    3,700     3,900    2,700    3,200     800     2,800    16,800

100065430   049056572   COSTCO #0390 EDI LIVONIA                 LIVONIA        MI   48150          CHAIN           BC5791404              200       100      400     3,200    2,000    1,180     5,900

100065435   049056648   COSTCO #0394 EDI ROSEVILLE              ROSEVILLE       MI   48066          CHAIN           BC5791416   10,600   17,900     2,900     500     1,500    3,500    6,150    36,900

100065431   049056606   COSTCO #0391 EDI LIVONIA                 LIVONIA        MI   48152          CHAIN           BC5791428    2,300    2,000      500      400                       1,300     5,200

100073790   049175463   COSTCO #1037 EDI BLOOMFIELD         BLOOMFIELD HILLS    MI   48302          CHAIN           BC5791430    3,500    3,000     1,500     600                       2,150     8,600

100065434   049056630   COSTCO #0393 EDI MADISON HEIGH       MADISON HEIGHTS    MI   48071          CHAIN           BC5791442     100      100                100      100               100       400

100067242   046030346   CHILDREN & FAMILY HOME PHCY             ORLANDO         FL   32804   HOME HEALTH SERVICES   BC5812551              100       100      100               200      125       500

100052908   024071647   COSTCO #0459 EDI MONTEBELLO            MONTEBELLO       CA   90640          CHAIN           BC5813882    2,400    2,800     2,100    4,000    4,100    1,900    2,883    17,300

100070511   018140335   MEDICAL CTR OF MCKINNEY       HCA       MCKINNEY        TX   75070         HOSPITAL         BC5819428     600      700       800     1,800              700      920      4,600

100070512   018140343   MEDICAL CTR OF MCKINNEY       HCA       MCKINNEY        TX   75069         HOSPITAL         BC5819430    2,900    3,750     3,200    3,200    2,700    1,600    2,892    17,350

100094309   010228023   CARE MORE PHARMACY                       DORTON         KY   41520       INDEPENDENT        BC5843950   12,800   14,800    14,200   15,700   12,500    7,600   12,933    77,600

100060560   041068254   COSTCO #0246 EDI NEWARK                 NEWARK          DE   19702          CHAIN           BC5870490     100      100       100      300      300      600      250      1,500

100054815   012078881   COSTCO #0476 EDI TORRANCE               TORRANCE        CA   90505          CHAIN           BC5916551    8,500   10,300    11,100   11,000   19,100   25,200   14,200    85,200

100106863   055042077   CHAPIN PHARMACY CPA                      CHAPIN         SC   29036       INDEPENDENT        BC5931402    7,000    9,400     6,400   15,200    7,000    6,500    8,583    51,500

100058241   044048892   COST PLUS PHARMACY, INC APSC            JACKSON         TN   38305       INDEPENDENT        BC5935068    8,600    7,500    11,500    8,500    6,200    6,000    8,050    48,300

100085667   021059592   CURRIER DRUG     CPA                    ATWOOD          KS   67730       INDEPENDENT        BC5985962   12,500    7,800      500     2,000    1,000    7,700    5,250    31,500

100054816   012078899   COSTCO #0478 EDI SAN BERNARDIN       SAN BERNARDINO     CA   92408          CHAIN           BC6004927   18,000   25,800    18,300   14,600   10,200   13,100   16,667   100,000

100054239   017038265   COSTCO #0069 EDI BILLINGS               BILLINGS        MT   59102          CHAIN           BC6008874    1,500    1,000     1,400    1,900    1,000    1,300    1,350     8,100

100062393   021000513   MEYER ORTHO REHAB HOSP                 SPRINGFIELD      MO   65807         HOSPITAL         BC6017405     100      700       500      400      160      500      393      2,360

100101169   021172031   MEYER ORTHO REHAB HOSP WAC             SPRINGFIELD      MO   65807     PHS 340B HOSPITAL    BC6017405              100                         780      240      373      1,120

100061816   021039776   MEYER ORTHO REHAB HOSP 340B            SPRINGFIELD      MO   65807     PHS 340B HOSPITAL    BC6017405     300                100      100               200      175       700

100106390   019183442   CORE CENTER PHARMACY 340B               CHICAGO         IL   60612     PHS 340B HOSPITAL    BC6071978    1,200    1,400      600      600                        950      3,800

100052909   024071688   COSTCO #0474 EDI GOLETA                  GOLETA         CA   93117          CHAIN           BC6074342   11,600   10,300     7,700    9,800    8,200    4,100    8,617    51,700

100089099   021167155   COLE CAMP PHARMACY CPA                 COLE CAMP        MO   65325       INDEPENDENT        BC6101149    8,100    9,900    11,000   18,200    1,600    2,500    8,550    51,300
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100058368   019052373   COSTCO #0388 EDI OAK BROOK              OAK BROOK       IL   60523          CHAIN           BC6109234               100               300      300      100      200       800

100058367   019052365   COSTCO #0387 EDI SCHAUMBURG            SCHAUMBURG       IL   60173          CHAIN           BC6109246    2,300     2,500    1,800    1,300    1,500    1,300    1,783    10,700

100063575   023096875   COSTCO #0320 EDI UNION                    UNION         NJ   07083          CHAIN           BC6112964                                 100               100      100       200

100068118   010175182   CCF STRONGSVILLE OP PHCY              STRONGSVILLE      OH   44136       INDEPENDENT        BC6122294    4,900     5,700    5,960    4,900   10,000    6,560    6,337    38,020

100068915   049143099   COMMUNITY PH OF PLAINWELL CPA           PLAINWELL       MI   49080       INDEPENDENT        BC6138285   11,400     9,300    7,300   18,100    6,100   12,700   10,817    64,900

100066408   044143040   MEDCARE PHCY AND HOME MED CPA             CAIRO         IL   62914       INDEPENDENT        BC6139958   13,000     9,000    9,000   13,500   10,400   11,500   11,067    66,400

100083238   049179416   CASCADE HEMOPHILIA CONSORTIUM           ANN ARBOR       MI   48103   HOME HEALTH SERVICES   BC6181147     200       100      200      600                        275      1,100

100067617   044172387   CROCKETT HOSPITAL        #712         LAWRENCEBURG      TN   38464         HOSPITAL         BC6194360     600       900      600     3,100              800     1,200     6,000

100055648   046005801   CIRCLES OF CARE, INC     O/P            ROCKLEDGE       FL   32955       INDEPENDENT        BC6222602     200       100      200      200      500      200      233      1,400

100067614   017145532   CASTLEVIEW HOSPITAL       #712            PRICE         UT   84501         HOSPITAL         BC6229668     400       300      400      200      520      280      350      2,100

100085801   055025775   PROVIDENCE HOSPITAL NORTHEAST           COLUMBIA        SC   29203         HOSPITAL         BC6231613    1,600     2,000    7,400    1,600              800     2,680    13,400

100092778   038105999   COMMUNITY DRUG           SF            TORRINGTON       WY   82240       INDEPENDENT        BC6258152    2,000     6,600   17,400    2,500                      7,125    28,500

100061946   025018895   STERLING #14        SF                  HASTINGS        MN   55033       INDEPENDENT        BC6315851    6,600     6,100   18,000             2,200    1,500    6,880    34,400

100052910   024071712   COSTCO #0479 EDI MARINA DEL RE        MARINA DEL REY    CA   90292          CHAIN           BC6323822   10,500    10,600    8,500   10,000   13,400   11,500   10,750    64,500

100064438   056096784   COSTCO #248 EDI MONTGOMERY           MONTGOMERY TWP     PA   19454          CHAIN           BC6370910    1,200     1,100     100      400               300      620      3,100

100066516   049047787   CADILLAC FAMILY PHARMACY                 CADILLAC       MI   49601       INDEPENDENT        BC6420640   17,700    25,700   28,500   20,700   20,600   18,500   21,950   131,700

100059915   044089490   COSTCO #0386 EDI BRENTWOOD             BRENTWOOD        TN   37027          CHAIN           BC6441252                                1,000    5,100    1,000    2,367     7,100

100064404   023096891   COSTCO #0322 EDI BRIDGEWATER           BRIDGEWATER      NJ   08807          CHAIN           BC6443535     (100)     200      100      200      200      600      200      1,200

100062956   046087098   COSTCO #0184 EDI ORLANDO                 ORLANDO        FL   32837          CHAIN           BC6450720    3,000     2,500     500      600                       1,650     6,600

100055879   026013227   COMMUNITY PHARMACY                      TAMUNING        GU   96913       INDEPENDENT        BC6459398    4,500     2,000                                        3,250     6,500

100067087   019143115   CURRY'S FAMILY PHARMACY        CPA      RIVERTON        IL   62561       INDEPENDENT        BC6484339   14,000    16,600   11,600   26,800   15,100   14,000   16,350    98,100

100067145   046087114   COSTCO #0351 EDI FORT MYERS            FORT MYERS       FL   33907          CHAIN           BC6506870    6,300     5,800    2,100    7,100    2,900     800     4,167    25,000

100055618   018026914   CENTRAL PARK SURGERY CENTER               AUSTIN        TX   78705         HOSPITAL         BC6532940                                 100                80       90       180

100051300   008035980   CALIFORNIA PACIFIC MEDICAL /S         SAN FRANCISCO     CA   94114         HOSPITAL         BC6541189    2,600     2,400    1,800    4,500     400     2,100    2,300    13,800

100055250   019037358   CRUSADERS CENTRAL CLINIC PHS            ROCKFORD        IL   61104      PHS 340B CLINIC     BC6556205    4,400     3,700    2,900    5,100    2,000    1,100    3,200    19,200

100055249   019037341   CRUSADERS WEST END PHCY PHS             ROCKFORD        IL   61102      PHS 340B CLINIC     BC6556229    8,500     9,700    8,000    6,300    1,500    3,500    6,250    37,500

100055490   044089466   COSTCO #0352 EDI MEMPHIS                CORDOVA         TN   38018          CHAIN           BC6556952    3,000     4,000     500    12,600    1,000             4,220    21,100

100055491   044089474   COSTCO #0353 EDI MEMPHIS                 MEMPHIS        TN   38125          CHAIN           BC6556964     200       100     1,600    3,000                      1,225     4,900

100054241   017038281   COSTCO #0484 EDI OREM                     OREM          UT   84097          CHAIN           BC6581044                                                  1,800    1,800     1,800

100067081   046087122   COSTCO #0354 EDI NAPLES                  NAPLES         FL   34109          CHAIN           BC6586676     800      2,000     500     1,500    1,200     700     1,117     6,700

100062013   046087106   COSTCO #0185 EDI WINTER PARK           WINTER PARK      FL   32792          CHAIN           BC6586688    2,300     1,800     300    20,300    1,100     200     4,333    26,000

100059931   056027367   CAREL PHARMACY (IPBG)                    JACKSON        NJ   08527       INDEPENDENT        BC6646256    1,100     1,200     900     1,100    1,600     800     1,117     6,700

100071588   037140277   MAINLAND MEDICAL CENTER #712            TEXAS CITY      TX   77591         HOSPITAL         BC6647044    3,000     2,100    3,800    3,900    2,460    2,340    2,933    17,600

100056195   010089482   COSTCO #0384 EDI CINCINNATI             CINCINNATI      OH   45249          CHAIN           BC6647373    1,100     1,000     100                                 733      2,200

100089387   046155325   COMMUNITY, A WALGREENS PHCY          SAINT PETERSBURG   FL   33713       WALGREENS          BC6652463                                1,900     700     1,500    1,367     4,100

100072652   037140103   BAYSHORE MED CENTER           #712      PASADENA        TX   77504         HOSPITAL         BC6672213    1,800     4,500    4,300    2,100    5,260    2,040    3,333    20,000

100069609   037140434   WEST HOUSTON MED CTR          #712       HOUSTON        TX   77082         HOSPITAL         BC6672225    4,100     4,400    5,000    4,900    4,400    3,500    4,383    26,300

100071213   037140202   EAST HOUSTON REG MED CTR #713            HOUSTON        TX   77015         HOSPITAL         BC6672237    1,800     2,150    2,950    1,700    2,380    1,320    2,050    12,300

100071197   037140152   CONROE REG MED CTR        #712           CONROE         TX   77304         HOSPITAL         BC6672249    6,800     6,100    7,300    6,700    9,600    5,500    7,000    42,000

100071903   037140137   CLEARLAKE REG'L MED CTR #712             WEBSTER        TX   77598         HOSPITAL         BC6672251    7,700     8,700    8,900    7,400    8,700    7,120    8,087    48,520

100069614   037140475   THE WOMAN'S HOSP OF TX        #712       HOUSTON        TX   77054         HOSPITAL         BC6674964    3,400     5,700    5,050    7,000    2,500   10,880    5,755    34,530

100060052   056051052   CARES SURGICENTER LLC                 NEW BRUNSWICK     NJ   08901         HOSPITAL         BC6683228                                           80                80        80

100054236   017038018   COSTCO #0487 EDI SANDY                    SANDY         UT   84070          CHAIN           BC6720735                                         1,600    2,400    2,000     4,000

100073183   055047233   NAVAL HEALTH CLINIC CHARLESTON         GOOSE CREEK      SC   29445    HOSPITAL (FEDERAL)    BC6721876   18,000    21,600   10,800   18,900   11,500   11,200   15,333    92,000
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100054818   012078915   COSTCO #0488 EDI SAN DIEGO               SAN DIEGO       CA   92108       CHAIN         BC6722171    9,800    8,400    5,900    7,500    1,300    1,400    5,717    34,300

100051060   008000455   COSTCO #0661 EDI MODESTO                 MODESTO         CA   95356       CHAIN         BC6730914                                                 1,300    1,300     1,300

100058366   019052357   COSTCO #0383 EDI NILES                     NILES         IL   60714       CHAIN         BC6761248     100               100      100      400      500      240      1,200

100088860   017092585   CORVALLIS DRUG                           CORVALLIS       MT   59828    INDEPENDENT      BC6764876    7,900    5,700    6,100    5,000   12,400    5,100    7,033    42,200

100110152   017098632   CORVALLIS DRUG INC 340B                  CORVALLIS       MT   59828   PHS 340B CLINIC   BC6764876              500     1,600     600                        900      2,700

100064132   019000992   COMMUNITY HOSPITAL OF NOBLE IP         KENDALLVILLE      IN   46755      HOSPITAL       BC6792851    2,500    2,000    3,200    3,100     600      700     2,017    12,100

100064587   052041137   CHURCH HILL DRUG STORE                  CHURCH HILL      TN   37642    INDEPENDENT      BC6807866   36,800   37,000   37,200   42,000   35,500   28,290   36,132   216,790

100061150   040068650   *CONCORD PHARMACY 3890                   SUWANEE         GA   30024    INDEPENDENT      BC6825509     500      700      100                                 433      1,300

100056745   026014092   COSTCO #0485 EDI WAIPAHU                 WAIPAHU         HI   96797       CHAIN         BC6835586    1,100     700      600     1,500     700     1,300     983      5,900

100106407   023153080   FAIRMOUNT BEHAVIORAL HLTH SYS          PHILADELPHIA      PA   19128      HOSPITAL       BC6842478              100      100                        100      100       300

100051061   008000463   COSTCO #0663 EDI CONCORD                 CONCORD         CA   94520       CHAIN         BC6846440                                                  200      200       200

100056044   032035436   COSTCO #0662 EDI BURLINGTON             BURLINGTON       WA   98233       CHAIN         BC6849004                                         700     1,800    1,250     2,500

100054819   012078923   COSTCO #0491 EDI TEMECULA                TEMECULA        CA   92591       CHAIN         BC6858027   23,400    7,700   11,600    7,900   17,000   17,500   14,183    85,100

100066415   040143214   COLISEUM PARK PROF PHCY        CPA        MACON          GA   31217    INDEPENDENT      BC6867254   13,000   10,000   10,500   16,000   21,000   11,000   13,583    81,500

100068030   010174813   CCF BEACHWOOD ASC OU                    BEACHWOOD        OH   44122      HOSPITAL       BC6881646                                200                        200       200

100076950   049122416   CORNER DRUGGIST INC       SF            ELK RAPIDS       MI   49629    INDEPENDENT      BC6882131    6,000    7,000    5,500    5,900   11,000    4,600    6,667    40,000

100050676   004060509   COSTCO #0324 EDI NORWALK                 NORWALK         CT   06854       CHAIN         BC6885795     900      400      500      300               300      480      2,400

100106498   055041020   CAROLINA CTR FOR BEHAV HEALTH             GREER          SC   29650      HOSPITAL       BC6902832     400      500     1,100    1,500     880      380      793      4,760

100050524   018056721   COSTCO #0664 EDI PLANO                     PLANO         TX   75074       CHAIN         BC6908656    7,600    8,200    1,500     400     3,800    4,700    4,367    26,200

100050690   018059048   COSTCO #0489 EDI FORT WORTH             FORT WORTH       TX   76132       CHAIN         BC6908668    8,200    9,300    2,200    2,900    1,000    1,300    4,150    24,900

100058365   019052340   COSTCO #0381 EDI BEDFORD PARK          BEDFORD PARK      IL   60629       CHAIN         BC6920905     900     1,100     400     3,100              600     1,220     6,100

100068120   010175364   CCF TAUSSIG OP PHARMACY OU              CLEVELAND        OH   44106    INDEPENDENT      BC6934815    1,000    1,300    1,600    1,300    1,300    1,730    1,372     8,230

100068119   010175208   CCF SURG CENTER OP PHARM OU             CLEVELAND        OH   44106    INDEPENDENT      BC6934827    1,400     500      800      900     1,400     800      967      5,800

100070548   044143214   CAMP'S MEDICAL PHARMACY        CPA      JONESBORO        AR   72401    INDEPENDENT      BC6982652    2,000                               2,500    1,500    2,000     6,000

100053072   017012492   *CACHE VALLEY SPECIALTY HOSP           NORTH LOGAN       UT   84341      HOSPITAL       BC6985557     700      200      600      600      180               456      2,280

100055685   038076968   COMM HEALTH CTR/CENTRAL WY-PHS            CASPER         WY   82609   PHS 340B CLINIC   BC6989454    1,500    1,000    1,700    2,700    2,100     800     1,633     9,800

100088112   038103069   COMM HLTH CTR OF CENTRAL WY               CASPER         WY   82609    INDEPENDENT      BC6989454    1,000    1,100    1,500     300     2,000    2,000    1,317     7,900

100051543   008063099   COSTCO #0475 EDI S.SAN FRANCIS       SOUTH SAN FRANCIS   CA   94080       CHAIN         BC6995332                                         200     2,500    1,350     2,700

100066179   052074310   COSTCO #0356 EDI HUNTSVILLE             HUNTSVILLE       AL   35801       CHAIN         BC7004740                                100      500     1,640     747      2,240

100051045   008000257   COSTCO #0127 EDI CARSON CITY            CARSON CITY      NV   89701       CHAIN         BC7017569                                        2,000     800     1,400     2,800

100069559   055099630   COSTCO #0249 EDI DURHAM                   DURHAM         NC   27705       CHAIN         BC7022267     400      500      600     1,000     300               560      2,800

100065432   049056614   COSTCO #0376 EDI AUBURN HILLS          AUBURN HILLS      MI   48326       CHAIN         BC7022748    2,500    2,100    1,000     330     1,400    1,000    1,388     8,330

100056294   032042564   COMM.HEALTH ASSOC.OF SPOKANE          SPOKANE VALLEY     WA   99206   PHS 340B CLINIC   BC7022988    7,500   10,000   13,400    5,400   11,800    9,600    9,617    57,700

100073057   025028613   COSTCO #0377 EDI ST LOUIS PARK        SAINT LOUIS PARK   MN   55416       CHAIN         BC7024689             1,000     100               400               500      1,500

100054244   017038323   COSTCO #0672 EDI SAINT GEORGE          SAINT GEORGE      UT   84770       CHAIN         BC7029398                                        5,000     800     2,900     5,800

100052911   024071720   COSTCO #0671 EDI HAWTHORNE              HAWTHORNE        CA   90250       CHAIN         BC7037965    8,400    8,300    9,900    8,200    8,100   14,100    9,500    57,000

100062141   046020156   COSTCO #0357 EDI JACKSONVILLE          JACKSONVILLE      FL   32246       CHAIN         BC7039680    7,200    9,900    1,000   13,500                      7,900    31,600

100067079   046087130   COSTCO #0358 EDI BRANDON                 BRANDON         FL   33511       CHAIN         BC7040366                               2,200                      2,200     2,200

100073840   004097808   CATSKILL PHARMACY INC (ARX)            KERHONKSON        NY   12446    INDEPENDENT      BC7044934    1,000     200      200               100     2,100     720      3,600

100056200   010089755   COSTCO #0379 EDI SPRINGDALE             SPRINGDALE       OH   45246       CHAIN         BC7048792    1,600    2,200     700     2,200                      1,675     6,700

100063010   021000950   COSTCO #0375 EDI KANSAS CITY            KANSAS CITY      MO   64111       CHAIN         BC7089154     300      400      500      900     1,500    2,600    1,033     6,200

100054012   038030817   CLEARSPRING PHCY    UNIVERSITY            DENVER         CO   80206    INDEPENDENT      BC7097466     500      900     1,100    1,500    1,000     600      933      5,600

100063473   052044271   COVENANT PHARMACY LLC                   RIDGELAND        MS   39157   LONG TERM CARE    BC7116127                               3,000                      3,000     3,000

100062101   025003673   CHILDRENS HOSPITALS, & CLINIC             ST PAUL        MN   55102      HOSPITAL       BC7128843     200      200      300      200      200      500      267      1,600
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100104238   025091421   CHILDRENS HOSPS & CLIN WAC               ST PAUL        MN   55102       HOSPITAL        BC7128843              100      200                                 150      300

100058111   019052282   COSTCO #0378 EDI LAKE ZURICH           LAKE ZURICH      IL   60047        CHAIN          BC7143225    3,700    2,600    1,000     700     1,700    2,100    1,967   11,800

100050288   018054015   COSTCO #0669 EDI SOUTHLAKE             SOUTHLAKE        TX   76092        CHAIN          BC7167693   10,600   12,100    6,900    4,300    6,800    5,900    7,767   46,600

100066631   019038406   COMMUNITY SURGERY CENTER                MUNSTER         IN   46321       HOSPITAL        BC7176539                                        4,000    5,800    4,900    9,800

100075141   019161083   COMMUNITY SURG CTR PHCY 340B            MUNSTER         IN   46321   PHS 340B HOSPITAL   BC7176539    1,500                                                 1,500    1,500

100050743   052036996   COASTAL FAMILY HEALTH CTR PHS            BILOXI         MS   39530    PHS 340B CLINIC    BC7192216     300     1,000     900     1,300    1,500     500      917     5,500

100050487   018054981   COSTCO #0668 EDI ARLINGTON             ARLINGTON        TX   76014        CHAIN          BC7206306    2,900    2,500     900     7,000    2,200    1,500    2,833   17,000

100076050   055000851   COSTCO #0360 EDI CHARLESTON           CHARLESTON        SC   29407        CHAIN          BC7214745    1,200    3,100    5,000    3,600    4,700    3,200    3,467   20,800

100057162   052033746   CURRY PHARMACY / AMG - LLC              CLINTON         LA   70722     INDEPENDENT       BC7225130   17,100   16,000   16,100   13,000   18,000   13,000   15,533   93,200

100058370   019052399   COSTCO #0380 EDI CHICAGO                CHICAGO         IL   60614        CHAIN          BC7233238    2,900    3,400    1,200     600      100              1,640    8,200

100100648   055038042   CAPE FEAR VAL/VALLEY PHCY(WAC)        FAYETTEVILLE      NC   28304     INDEPENDENT       BC7235484    5,300    6,900    6,300    5,720    7,700    4,740    6,110   36,660

100066774   055070805   CAPE FEAR VAL/VALLEY PHCY(340B        FAYETTEVILLE      NC   28304   PHS 340B HOSPITAL   BC7235484    1,000              400      200      100      900      520     2,600

100076766   044088260   COSTCO #0382 EDI SAINT PETERS         SAINT PETERS      MO   63376        CHAIN          BC7251666    3,500    5,100    5,100    3,500    7,900             5,020   25,100

100063622   049053041   ADVANCED CARE PHCY - LANSING            LANSING         MI   48911   LONG TERM CARE      BC7258355    3,600    1,800    2,400    5,500    4,400     500     3,033   18,200

100056116   037086694   COSTCO #0680 EDI HOUSTON                HOUSTON         TX   77055        CHAIN          BC7293359    1,000    1,100     100                                 733     2,200

100073817   055097220   COSTCO #0359 EDI CHARLOTTE             CHARLOTTE        NC   28217        CHAIN          BC7306687    1,900    1,800    1,200     900      400              1,240    6,200

100058606   019054437   COSTCO #0370 EDI MERRILLVILLE         MERRILLVILLE      IN   46410        CHAIN          BC7318454    4,700    5,700    2,700    2,800                      3,975   15,900

100063623   049053090   COMMUNITY MARKETS PHCY       APSC        DELTA          OH   43515     INDEPENDENT       BC7325550    5,500    4,300    5,500    3,700    3,700    3,100    4,300   25,800

100065437   049056713   COSTCO #0374 EDI SHELBY TOWNSH      SHELBY TOWNSHIP     MI   48315        CHAIN          BC7352797    6,700    6,600    1,600    1,600    2,200    3,400    3,683   22,100

100057512   018018325   COSTCO #0681 EDI AUSTIN                  AUSTIN         TX   78759        CHAIN          BC7356581    8,800    6,200    2,300     700     1,700             3,940   19,700

100065119   018061838   COLLIER-VALLEY DRUG       CPA         PRAIRIE GROVE     AR   72753     INDEPENDENT       BC7375226    7,800    6,100   10,600   14,100    1,000    7,100    7,783   46,700

100059660   023096743   COSTCO #0241 EDI NEW ROCHELLE        NEW ROCHELLE       NY   10805        CHAIN          BC7377143     100      300               200                        200      600

100059891   023096636   COSTCO #0226 EDI WESTBURY              WESTBURY         NY   11590        CHAIN          BC7377155     100      100      100      100               200      120      600

100063751   023096727   COSTCO #0240 EDI COMMACK                COMMACK         NY   11725        CHAIN          BC7377167     200      100               300      100               175      700

100059890   023096669   COSTCO #0230 EDI HOLBROOK              HOLBROOK         NY   11741        CHAIN          BC7377179     200      300                        200               233      700

100063578   023096701   COSTCO #0237 EDI MELVILLE               MELVILLE        NY   11747        CHAIN          BC7377181                                         200               200      200

100059999   023096610   COSTCO #0206 EDI NESCONSET             NESCONSET        NY   11767        CHAIN          BC7377193     400      100      500      300      200      600      350     2,100

100052538   020045617   COSTCO #0667 EDI ALBUQUERQUE          ALBUQUERQUE       NM   87123        CHAIN          BC7379022    2,500    3,500    1,000     800                       1,950    7,800

100051059   008000448   COSTCO #0471 EDI SACRAMENTO           SACRAMENTO        CA   95815        CHAIN          BC7379084                                        1,000             1,000    1,000

100051541   008063073   COSTCO #0423 EDI SUNNYVALE             SUNNYVALE        CA   94086        CHAIN          BC7379111                                         500      500      500     1,000

100051540   008063065   COSTCO #0422 EDI S.SAN FRANCIS      SOUTH SAN FRANCIS   CA   94080        CHAIN          BC7379123     700      800               500                        667     2,000

100070126   008141804   COSTCO #1042 EDI REDWOOD CITY         REDWOOD CITY      CA   94063        CHAIN          BC7379135                                100                        100      100

100055154   018024158   COSTCO #0684 EDI PLANO                   PLANO          TX   75093        CHAIN          BC7380974    3,000    5,600    1,500     800     1,700    1,800    2,400   14,400

100055397   046004473   CHRIS LOU, CORP                           MIAMI         FL   33155     INDEPENDENT       BC7392943     200               200               100      100      150      600

100055068   012085837   COSTCO #0781 EDI CHULA VISTA           CHULA VISTA      CA   91911        CHAIN          BC7409938    2,800    2,900    1,400    2,900    1,600    2,400    2,333   14,000

100060384   041068148   COSTCO #0208 EDI BALTIMORE             BALTIMORE        MD   21220        CHAIN          BC7412834    3,700    4,000    1,800    1,200              700     2,280   11,400

100060381   041068114   COSTCO #0203 EDI GLEN BURNIE          GLEN BURNIE       MD   21060        CHAIN          BC7412846    2,300    1,800    1,100    1,400     600     1,500    1,450    8,700

100059497   044086165   CARPENTER-DENT DRUGS        APSC       SCOTTSVILLE      KY   42164     INDEPENDENT       BC7418482    9,500   12,500   10,300   12,000   14,500    6,000   10,800   64,800

100060385   041068155   COSTCO #0213 EDI GAITHERSBURG         GAITHERSBURG      MD   20879        CHAIN          BC7429536     400      600      700      600      200               500     2,500

100056006   019028860   COSTCO #0779 EDI MT. PROSPECT       MOUNT PROSPECT      IL   60056        CHAIN          BC7435666    1,300    1,600              400     2,400    2,300    1,600    8,000

100064402   023098012   COSTCO #0327 EDI HARRISBURG            HARRISBURG       PA   17112        CHAIN          BC7442849    2,000    3,000     400      600     2,600    2,000    1,767   10,600

100052461   056002261   COLTS NECK PHARMACY(Z)(B)(GNP)         COLTS NECK       NJ   07722     INDEPENDENT       BC7444108    2,300    2,000             3,100     200      100     1,540    7,700

100056050   032035816   COSTCO #0682 EDI ALBANY                  ALBANY         OR   97322        CHAIN          BC7449259                                                  600      600      600

100052331   020094946   COSTCO #0465 EDI PHOENIX                PHOENIX         AZ   85008        CHAIN          BC7458791    1,700    2,600    1,900    1,100    5,400    5,500    3,033   18,200
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100052335   020094987   COSTCO #0665 EDI PHOENIX              PHOENIX         AZ   85015        CHAIN          BC7458816    5,900    4,600    4,800    4,300    7,100    4,700    5,233   31,400

100052334   020094979   COSTCO #0490 EDI PHOENIX              PHOENIX         AZ   85027        CHAIN          BC7458828    5,000    6,600    4,700    5,000    3,300     800     4,233   25,400

100073614   020175265   COSTCO #1028 EDI MESA                  MESA           AZ   85209        CHAIN          BC7458830    6,800    7,900    7,100    8,400    8,500   12,400    8,517   51,100

100052333   020094961   COSTCO #0481 EDI GILBERT              GILBERT         AZ   85233        CHAIN          BC7458842    4,800    6,800    4,700    3,900    6,900    3,800    5,150   30,900

100052707   020094722   COSTCO #0427 EDI SCOTTSDALE         SCOTTSDALE        AZ   85260        CHAIN          BC7458866    5,300    5,900    4,600    5,900    6,000    6,900    5,767   34,600

100052330   020094938   COSTCO #0436 EDI TEMPE                 TEMPE          AZ   85284        CHAIN          BC7458878    2,300    3,100    1,200    2,800    1,200    5,000    2,600   15,600

100052705   020094714   COSTCO #0407 EDI TUCSON               TUCSON          AZ   85712        CHAIN          BC7458892    8,400    8,200    8,100    5,800    6,800    9,100    7,733   46,400

100052708   020094748   COSTCO #0431 EDI TUCSON               TUCSON          AZ   85741        CHAIN          BC7458905    6,900    5,800    3,100    4,500    4,500    8,900    5,617   33,700

100052332   020094953   COSTCO #0466 EDI PRESCOTT            PRESCOTT         AZ   86301        CHAIN          BC7458917   11,600   15,100   12,300   12,000   12,900   12,600   12,750   76,500

100060259   023096628   COSTCO #0221 EDI WAYNE                 WAYNE          NJ   07470        CHAIN          BC7459945                       100      100     2,000              733     2,200

100072394   056175398   COSTCO #0739 EDI BRICK                 BRICK          NJ   08723        CHAIN          BC7459969    1,100    1,900     700      600               600      980     4,900

100059825   023096685   COSTCO #0323 EDI EDISON                EDISON         NJ   08817        CHAIN          BC7459971                                100      100               100      200

100052702   020094672   COSTCO #0673 EDI HENDERSON           HENDERSON        NV   89014        CHAIN          BC7470494   21,500   22,600   21,500   21,500    4,800    1,600   15,583   93,500

100055682   038075432   COSTCO #0676 EDI ARVADA               ARVADA          CO   80002        CHAIN          BC7479442                                        1,000     300      650     1,300

100073367   055099648   COSTCO #0361 EDI WINSTON SALEM     WINSTON SALEM      NC   27103        CHAIN          BC7483720    4,200    3,900    1,300     800     1,300             2,300   11,500

100086916   021162552   COUNTRYSIDE PHARMACY 340B            SAVANNAH         MO   64485   PHS 340B HOSPITAL   BC7495218    4,100    4,300    4,100    4,500    3,500    3,900    4,067   24,400

100067378   021006387   COUNTRYSIDE PHCY         SF          SAVANNAH         MO   64485     INDEPENDENT       BC7495218    3,000    2,500    2,000    2,300    5,600    2,000    2,900   17,400

100088562   021035410   COUNTRYSIDE PHARMACY 340B            SAVANNAH         MO   64485   PHS 340B HOSPITAL   BC7495218     500                                                   500      500

100053096   024071795   COSTCO #0677 EDI BURBANK              BURBANK         CA   91506        CHAIN          BC7498391    7,800    8,000    7,200    6,500    1,700    1,500    5,450   32,700

100060558   041068239   COSTCO #0238 EDI HARRISONBURG      HARRISONBURG       VA   22801        CHAIN          BC7503851    6,400    6,100    2,900    2,300    1,400    5,100    4,033   24,200

100060388   041068189   COSTCO #0218 EDI STERLING             STERLING        VA   20164        CHAIN          BC7504358     600      700      300      500     1,200              660     3,300

100060383   041068130   COSTCO #0205 EDI GLEN ALLEN          GLEN ALLEN       VA   23060        CHAIN          BC7504524    2,800    1,700     300               100      600     1,100    5,500

100060559   041068247   COSTCO #0239 EDI WINCHESTER         WINCHESTER        VA   22602        CHAIN          BC7504714     900     1,800    1,700    1,500                      1,475    5,900

100060380   041068106   COSTCO #0202 EDI NORFOLK R53          NORFOLK         VA   23502        CHAIN          BC7504740    1,500    1,200    1,200    1,000    1,800     300     1,167    7,000

100060561   041068262   COSTCO #0247 EDI NEWPORT NEWS      NEWPORT NEWS       VA   23602        CHAIN          BC7504764     900     1,100     600      700      200               700     3,500

100060382   041068122   COSTCO #0204 EDI FAIRFAX              FAIRFAX         VA   22030        CHAIN          BC7504827     520      500     1,600    1,300     200      300      737     4,420

100060557   041068221   COSTCO #0233 EDI ARLINGTON           ARLINGTON        VA   22202        CHAIN          BC7504853                                                  900      900      900

100052709   020094755   COSTCO #0685 EDI LAS VEGAS           LAS VEGAS        NV   89144        CHAIN          BC7508926   13,900   12,200   13,500   13,200    9,400   11,630   12,305   73,830

100063002   021000612   COSTCO #0373 EDI INDEPENDENCE       INDEPENDENCE      MO   64055        CHAIN          BC7518903    5,100    7,500    2,300    6,400   11,000   12,400    7,450   44,700

100071932   025028621   COSTCO #0372 EDI COON RAPIDS        COON RAPIDS       MN   55433        CHAIN          BC7524021    3,000    4,300    1,200     600     1,100     300     1,750   10,500

100072757   018143198   COMMUNITY PHARMACY DENTON CPA         DENTON          TX   76210     INDEPENDENT       BC7526811   10,000    7,700   13,400    8,200   14,300   20,100   12,283   73,700

100057514   018018622   COSTCO #0689 EDI SAN ANTONIO        SAN ANTONIO       TX   78249        CHAIN          BC7533501    8,500   10,200    2,100    3,300                      6,025   24,100

100052703   020094680   COSTCO #0116 EDI ALBUQUERQUE        ALBUQUERQUE       NM   87107        CHAIN          BC7550519    4,400    4,200    1,200     800      400              2,200   11,000

100066055   021000380   COSTCO #0349 EDI LENEXA                LENEXA         KS   66215        CHAIN          BC7563667    6,300    6,200     600      600     1,300    1,300    2,717   16,300

100076052   055000679   COSTCO #0367 EDI MATTHEWS            MATTHEWS         NC   28105        CHAIN          BC7564506    3,400    2,900    1,500    1,600     900      400     1,783   10,700

100060378   041068080   COSTCO #0325 EDI HANOVER              HANOVER         MD   21076        CHAIN          BC7566423                       300      400      900               533     1,600

100060379   041068098   COSTCO #0330 EDI FREDERICK           FREDERICK        MD   21704        CHAIN          BC7566435      90      200      100      100                        123      490

100056205   010099119   COSTCO #0328 EDI CRANBERRY TOW   CRANBERRY TOWNSHIP   PA   16066        CHAIN          BC7568011    2,000    1,500     500      500                       1,125    4,500

100060386   041068163   COSTCO #0214 EDI BELTSVILLE          BELTSVILLE       MD   20705        CHAIN          BC7569924     100      200                        300               200      600

100054448   019018325   COSTCO #0371 EDI BLOOMINGDALE      BLOOMINGDALE       IL   60108        CHAIN          BC7570989    2,000    4,000     500     2,500              500     1,900    9,500

100052981   012078394   COSTCO #0686 EDI MONTCLAIR           MONTCLAIR        CA   91763        CHAIN          BC7574759    8,500    7,700    6,400    6,100     200              5,780   28,900

100060556   041068197   COSTCO #0225 EDI MANASSAS            MANASSAS         VA   20109        CHAIN          BC7576816     400      600      700      400      200     1,200     583     3,500

100064717   010300095   CONTINUING CARE HOSPITAL             LEXINGTON        KY   40509       HOSPITAL        BC7593189     600      600      500      700      440      440      547     3,280

100089671   020127530   CHANDLER REGIONAL HOSP               CHANDLER         AZ   85224       HOSPITAL        BC7594105    4,800    6,300    7,000    4,400   11,700    3,800    6,333   38,000
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100063116   021002295   CRETE AREA MEDICAL CENTER              CRETE          NE   68333       HOSPITAL        BC7607231     200       500      300               400                350      1,400

100054351   012038588   CAREMAX PHARMACY                     BUENA PARK       CA   90621     INDEPENDENT       BC7617484     100       300      300      600                         325      1,300

100066138   021000729   COSTCO #0369 EDI OVERLAND PARK     OVERLAND PARK      KS   66213        CHAIN          BC7630862    6,200     6,400    2,200    1,800               500     3,420    17,100

100096803   008111948   WOODLAND HEALTHCARE PHCY WAC         WOODLAND         CA   95695   PHS 340B HOSPITAL   BC7640510   39,600    38,400   41,600   30,600   42,300    40,000   38,750   232,500

100062008   046057497   COSTCO #0182 EDI N. MIAMI BCH     NORTH MIAMI BEACH   FL   33181        CHAIN          BC7689637     500       500               100                         367      1,100

100053040   012070045   COSTCO #0690 EDI LAGUNA NIGUEL      LAGUNA NIGUEL     CA   92677        CHAIN          BC7696505    6,600     8,600    5,400    7,300    4,500     9,700    7,017    42,100

100089665   024115410   MERCY HOSP BAKERSFIELD PHCY          BAKERSFIELD      CA   93301       HOSPITAL        BC7699436     100                500     1,900     100       400      600      3,000

100101172   024119867   MERCY HOSP BAKERSFIELD WAC           BAKERSFIELD      CA   93301       HOSPITAL        BC7699436     600       400     1,200     100      300       300      483      2,900

100101171   024119859   MERCY HOSP BAKERSFIELD 340B          BAKERSFIELD      CA   93301       HOSPITAL        BC7699436     100       200      100      100                         125       500

100101171   024119859   MERCY HOSP BAKERSFIELD 340B          BAKERSFIELD      CA   93301   PHS 340B HOSPITAL   BC7699436                                                    100      100       100

100101174   024119883   MERCY SOUTHWEST HOSPITAL WAC         BAKERSFIELD      CA   93311       HOSPITAL        BC7699448    1,000     2,200              300     1,800      400     1,140     5,700

100089490   024115543   MERCY SOUTHWEST HOSP PHCY            BAKERSFIELD      CA   93311       HOSPITAL        BC7699448     100                300      800      100       800      420      2,100

100101173   024119875   MERCY SOUTHWEST HOSPITAL 340B        BAKERSFIELD      CA   93311       HOSPITAL        BC7699448               200      300      100                         200       600

100089696   008107797   DOMINICAN PLAZA PHARMACY             SANTA CRUZ       CA   95065       HOSPITAL        BC7699549    9,600     9,800    8,400    9,000   14,300    11,100   10,367    62,200

100089492   008108654   METHODIST HOSP OF SACRAMENTO        SACRAMENTO        CA   95823       HOSPITAL        BC7699614    7,500    10,400   11,400    6,600   13,020     9,900    9,803    58,820

100089493   008108803   METHODIST HOSP OF SACRMTO 340B      SACRAMENTO        CA   95823   PHS 340B HOSPITAL   BC7699614    1,100      800     2,800     500                        1,300     5,200

100096630   008111757   METHODIST HOSP-SACRAMENTO WAC       SACRAMENTO        CA   95823   PHS 340B HOSPITAL   BC7699614                                1,400     500                950      1,900

100089685   008107755   WOODLAND MEM HOSPITAL                WOODLAND         CA   95695       HOSPITAL        BC7699664    1,250     1,200     250              1,050     1,680    1,086     5,430

100089686   008107763   WOODLAND MEM HOSPITAL 340B           WOODLAND         CA   95695   PHS 340B HOSPITAL   BC7699664     100       300     1,600     600      250                570      2,850

100096635   008111807   WOODLAND MEM HOSP WAC                WOODLAND         CA   95695   PHS 340B HOSPITAL   BC7699664                        600      200      500                433      1,300

100089566   008108712   ST JOSEPH IMMEDIATE CARE PHCY         STOCKTON        CA   95219       HOSPITAL        BC7699676    4,700     4,700    3,700    4,300    2,300     3,800    3,917    23,500

100089529   008108571   ST JOSEPHS MED CTR STKTN              STOCKTON        CA   95204       HOSPITAL        BC7699929    5,500     6,600    5,900    8,100    4,520     4,680    5,883    35,300

100089527   008108555   ST JOSEPHS MED CTR STKTN 340B         STOCKTON        CA   95204   PHS 340B HOSPITAL   BC7699929    1,100      700     1,100     300      400                720      3,600

100096633   008111781   ST JOSEPHS MD CTR STKTN WAC           STOCKTON        CA   95204   PHS 340B HOSPITAL   BC7699929               300                                           300       300

100089528   008108563   ST JOSEPHS MED CTR STKTN MM           STOCKTON        CA   95204       HOSPITAL        BC7699929                                          100                100       100

100089667   008107714   MERCY MED CTR REDDING                 REDDING         CA   96001       HOSPITAL        BC7699943    5,100     6,800    5,400   10,100    4,300     7,100    6,467    38,800

100104798   008116152   MERCY MED CTR REDDING OP WAC          REDDING         CA   96001   PHS 340B HOSPITAL   BC7699943    2,500     1,500    1,000     700     1,400      800     1,317     7,900

100096628   008111732   MERCY MEDICAL CTR REDDING WAC         REDDING         CA   96001   PHS 340B HOSPITAL   BC7699943              1,200    1,000    5,200                       2,467     7,400

100089668   008107722   MERCY MED CTR REDDING 340B            REDDING         CA   96001   PHS 340B HOSPITAL   BC7699943     900      1,000    1,700     200                         950      3,800

100089481   008108795   MERCY MED CTR MT SHASTA             MOUNT SHASTA      CA   96067       HOSPITAL        BC7699955     300       200      800      300      500                420      2,100

100089482   008108647   MERCY MED CTR MT SHASTA 340B        MOUNT SHASTA      CA   96067   PHS 340B HOSPITAL   BC7699955     100       200                        200       600      275      1,100

100053151   012078675   COSTCO #0678 EDI RANCHO CUCAMO    RANCHO CUCAMONGA    CA   91730        CHAIN          BC7700366   11,600     9,600   10,000    6,300    3,900      600     7,000    42,000

100096631   008111765   ST ELIZABETH COMM HOSP WAC            RED BLUFF       CA   96080   PHS 340B HOSPITAL   BC7716826     500       500      500     3,100                       1,150     4,600

100089514   008108829   ST ELIZABETH COMM HOSPITAL            RED BLUFF       CA   96080       HOSPITAL        BC7716826     500       400      700     2,700                       1,075     4,300

100089513   008108704   ST ELIZABETH COMM HOSP 340B           RED BLUFF       CA   96080   PHS 340B HOSPITAL   BC7716826     400      1,300     800     1,300                        950      3,800

100089647   008068296   DOMINICAN HOSPITAL SANTA CRUZ        SANTA CRUZ       CA   95065       HOSPITAL        BC7730787    2,400     3,400    4,200    1,000    4,600     3,600    3,200    19,200

100089451   008108340   DOMINICAN HOSP SANTA CRUZ 340B       SANTA CRUZ       CA   95065   PHS 340B HOSPITAL   BC7730787                                1,200                       1,200     1,200

100063932   052045898   COLLEGE PARK PHCY       SF          MORRISTOWN        TN   37814     INDEPENDENT       BC7731397   (8,000)    1,000    2,500    4,500             16,500    3,300    16,500

100089521   020157917   ST JOSEPH'S HOSP PHX                  PHOENIX         AZ   85013       HOSPITAL        BC7786140               450     1,000    8,500     560      2,200    2,542    12,710

100096801   020159848   ST JOSEPH'S MCAULEY PHCY WAC          PHOENIX         AZ   85013   PHS 340B HOSPITAL   BC7786152    4,300     3,500    3,900    6,000     (200)    3,500    3,500    21,000

100089698   020157842   ST JOSEPHS MCAULEY PHCY 340B          PHOENIX         AZ   85013   PHS 340B HOSPITAL   BC7786152     400       300      100      400                         300      1,200

100053309   010050989   CHARLESTON PHARMACY        APSC   SOUTH CHARLESTON    OH   45368     INDEPENDENT       BC7788853    2,600     3,600    4,200    3,400    3,300     2,100    3,200    19,200

100052746   024071100   COSTCO #0688 EDI BAKERSFIELD         BAKERSFIELD      CA   93308        CHAIN          BC7801358   26,300    23,700   23,500   38,000   25,400    28,400   27,550   165,300

100061181   019039487   COSTCO #0346 EDI INDIANAPOLIS       INDIANAPOLIS      IN   46250        CHAIN          BC7809734    4,000     4,200    1,700    1,000    1,200     1,800    2,317    13,900
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100058439   041067207   COSTCO #0340 EDI FREDERICKSBRG    FREDERICKSBRG      VA   22407        CHAIN          BC7813353     100      100               900     1,800    200      620     3,100

100056588   026014050   COSTCO #0687 EDI HONOLULU           HONOLULU         HI   96817        CHAIN          BC7816626    2,500    5,800    1,700    1,600                     2,900   11,600

100055676   038075127   COSTCO #0480 EDI SUPERIOR            SUPERIOR        CO   80027        CHAIN          BC7820497              500                                         500      500

100055679   038075317   COSTCO #0443 EDI LITTLETON           LITTLETON       CO   80123        CHAIN          BC7820500                       300      600                       450      900

100055677   038075234   COSTCO #0439 EDI AURORA              AURORA          CO   80012        CHAIN          BC7820524    4,600    5,600    3,900    5,100    1,500   4,630    4,222   25,330

100055678   038075309   COSTCO #0440 EDI WESTMINSTER       WESTMINSTER       CO   80030        CHAIN          BC7820536                                                 700      700      700

100056203   010093088   COSTCO #0332 EDI PITTSBURGH         PITTSBURGH       PA   15205        CHAIN          BC7822403    2,000    1,800     500      800     1,400   1,100    1,267    7,600

100056493   018031112   COSTCO #0693 EDI SAN ANTONIO       SAN ANTONIO       TX   78232        CHAIN          BC7831539    3,700    3,200    2,500    3,600                     3,250   13,000

100059671   023098855   COSTCO #0326 EDI PORT CHESTER      PORT CHESTER      NY   10573        CHAIN          BC7837593                       100                                100      100

100051229   008025817   COSTCO #0659 EDI ROHNERT PARK     ROHNERT PARK       CA   94928        CHAIN          BC7913634     300                        200      600    4,000    1,275    5,100

100058569   049026773   COLOSSEUM,INC DBA ER DRUGS SF         TAYLOR         MI   48180     INDEPENDENT       BC7924322   14,500   17,300   19,200   20,100    9,000   3,000   13,850   83,100

100109251   049196931   CLIO ROAD PHARMACY 340B                FLINT         MI   48504   PHS 340B HOSPITAL   BC7929877    1,500     400      300      300      100              520     2,600

100076764   044088237   COSTCO #0368 EDI SAINT LOUIS        SAINT LOUIS      MO   63128        CHAIN          BC7949968                                100                       100      100

100061240   019056945   COSTCO #0347 EDI INDIANAPOLIS      INDIANAPOLIS      IN   46268        CHAIN          BC7970090              500      500      500      400              475     1,900

100059665   023096826   COSTCO #0315 EDI WHARTON             WHARTON         NJ   07885        CHAIN          BC7980166    1,200    1,100     600      600                       875     3,500

100051106   008023747   COLUSA REGIONAL MEDICAL CENTER        COLUSA         CA   95932       HOSPITAL        BC7983770                       700      450      440     560      538     2,150

100052710   020094763   COSTCO #0691 EDI AVONDALE           AVONDALE         AZ   85323        CHAIN          BC8000286    3,700    3,430    4,000    4,900    3,700   5,000    4,122   24,730

100056449   019025825   COSTCO #0348 EDI GLENVIEW            GLENVIEW        IL   60025        CHAIN          BC8007836    2,300    2,800     900      700     1,900            1,720    8,600

100057689   010024364   COSTCO #0344 EDI MAYFIELD HEIG   MAYFIELD HEIGHTS    OH   44124        CHAIN          BC8025822                                200      200     800      400     1,200

100076269   032200634   COMMUNITY HLTHCR DOWNTOWN 340B       TACOMA          WA   98405    PHS 340B CLINIC    BC8048060    3,000    1,000    2,000    2,500    1,600   2,500    2,100   12,600

100062753   046083147   COSTCO #0345 EDI BOCA RATON         BOCA RATON       FL   33487        CHAIN          BC8052247    1,200     200      600      200             1,600     760     3,800

100051234   008026708   COSTCO #0694 EDI VACAVILLE          VACAVILLE        CA   95687        CHAIN          BC8061892    1,000              500     2,000     500    3,500    1,500    7,500

100050679   004060525   COSTCO #0333 EDI EVERETT             EVERETT         MA   02149        CHAIN          BC8064785     900      700      100      500      200              480     2,400

100059345   041068510   COSTCO #0227 EDI SPRINGFIELD       SPRINGFIELD       VA   22153        CHAIN          BC8079522                                500      200     300      333     1,000

100055727   010032896   COSTCO #0343 EDI AVON                  AVON          OH   44011        CHAIN          BC8095728                                100      500     400      333     1,000

100053147   012078634   COSTCO #0429 EDI SAN JUAN CAPI   SAN JUAN CAPISTRA   CA   92675        CHAIN          BC8115520   12,500   11,600    7,600    7,400    3,100   9,700    8,650   51,900

100053671   024079814   COSTCO #0762 EDI LANCASTER          LANCASTER        CA   93534        CHAIN          BC8138819   12,500    5,600    6,100    6,900   13,100   9,260    8,910   53,460

100053834   024066142   CLINISHARE PHARMACY                 WEST HILLS       CA   91304   LONG TERM CARE      BC8142008     100      100      200      100      400              180      900

100054245   017038414   COSTCO #0764 EDI MURRAY              MURRAY          UT   84107        CHAIN          BC8157922                                         200    2,000    1,100    2,200

100065807   008069328   COSTCO #0760 EDI GILROY               GILROY         CA   95020        CHAIN          BC8158811                                                 200      200      200

100065273   021023531   CITIZENS MEM.HOSP PHCY NOV           BOLIVAR         MO   65613       HOSPITAL        BC8163595    2,200    1,400    3,300    5,900    1,200   4,200    3,033   18,200

100064091   021060137   CITIZENS MEM HOSP EMP RX 340B        BOLIVAR         MO   65613   PHS 340B HOSPITAL   BC8163595    1,200    1,200     600      600      300              780     3,900

100059929   056099820   COSTCO #329 EDI OCEAN                 OCEAN          NJ   07712        CHAIN          BC8164597     200      500      400      300      700     200      383     2,300

100089518   024115618   ST JOHN'S PLEASANT VALLEY HOSP      CAMARILLO        CA   93010       HOSPITAL        BC8172847    1,000     900     1,200     700     1,580    700     1,013    6,080

100089520   024115634   ST JOHN'S REG. MED CTR 340B          OXNARD          CA   93030   PHS 340B HOSPITAL   BC8177102    1,500    3,300     100               900    4,900    2,140   10,700

100089519   024115626   ST JOHN'S REG. MED CTR               OXNARD          CA   93030       HOSPITAL        BC8177102    1,500             3,700    2,700    2,400            2,575   10,300

100096607   024119610   ST JOHN'S REG. MED CTR WAC           OXNARD          CA   93030   PHS 340B HOSPITAL   BC8177102                                        1,000            1,000    1,000

100089508   012103283   ST BERNARDINE MED CTR             SAN BERNARDINO     CA   92404       HOSPITAL        BC8179891    3,700    3,650    6,000             5,440   5,580    4,874   24,370

100096592   012093898   ST BERNARDINE MED CTR WAC         SAN BERNARDINO     CA   92404   PHS 340B HOSPITAL   BC8179891    1,400    2,000    5,600                              3,000    9,000

100089512   012103325   ST BERNARDINE MED CTR RAD         SAN BERNARDINO     CA   92404       HOSPITAL        BC8179891              400                                         400      400

100089509   012103291   ST BERNARDINE MED CTR 340B        SAN BERNARDINO     CA   92404   PHS 340B HOSPITAL   BC8179891     300                                                  300      300

100089650   024115386   MARIAN MEDICAL CENTER              SANTA MARIA       CA   93454       HOSPITAL        BC8179904    3,400    2,800    2,900    3,900    6,660   4,900    4,093   24,560

100089651   024115394   MARIAN MEDICAL CENTER 340B         SANTA MARIA       CA   93454   PHS 340B HOSPITAL   BC8179904    2,100    2,200    3,700    2,800     600             2,280   11,400

100055949   032047118   COMMUNITY HEALTHCARE LAKEWOOD       LAKEWOOD         WA   98499    PHS 340B CLINIC    BC8194336    2,300    1,900    1,000     700      400    1,700    1,333    8,000
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100059635   023093187   COSTCO #0222 EDI HAZLET              HAZLET        NJ   07730        CHAIN          BC8196429     100      200      100      100      100               120       600

100053668   056005934   CONTRACT PHARMACY SERVICES (Z)     WARRINGTON      PA   18976   LONG TERM CARE      BC8199778    6,100    8,900    5,500    6,300    7,500    2,900    6,200    37,200

100053007   056006221   CONTRACT PHARMACY SERVICES (Z)     WARRINGTON      PA   18976   LONG TERM CARE      BC8199780     500      800      700      700     1,100     700      750      4,500

100064053   008085423   CARMEL DRUG STORE CPA                CARMEL        CA   93921     INDEPENDENT       BC8229418    7,100    5,000    5,200    5,100    4,700    2,000    4,850    29,100

100059939   010099143   *CEDAR TRACE PHARMACY INC APSC      PIKEVILLE      KY   41501     INDEPENDENT       BC8253205    4,600                                                 4,600     4,600

100056124   032039560   COSTCO #0766 EDI WILSONVILLE       WILSONVILLE     OR   97070        CHAIN          BC8271885                                                  300      300       300

100059787   041058321   CORRECT RX PHCY SERVICES (Z)        LINTHICUM      MD   21090   LONG TERM CARE      BC8273120   12,000   15,700   11,100   15,100    3,100    6,400   10,567    63,400

100063028   046064519   COSTCO #0336 EDI CLEARWATER        CLEARWATER      FL   33759        CHAIN          BC8275819    5,800    6,300    1,700     400               900     3,020    15,100

100093975   019162396   WHEATON FRANCISCAN PHCY #6835      MILWAUKEE       WI   53221       HOSPITAL        BC8279110                       100                                 100       100

100086016   004070151   RESIDENT CARE PHARMACY CPA          METHUEN        MA   01844   LONG TERM CARE      BC8303101     200      100      200      200      100      200      167      1,000

100073374   055024513   CROSSNORE DRUG STORE, INC          CROSSNORE       NC   28616     INDEPENDENT       BC8323177    4,600    5,100    4,100    5,100   10,000             5,780    28,900

100053841   024067439   SB COMMUNITY HLTH CLNC PHY PHS   SANTA BARBARA     CA   93110    PHS 340B CLINIC    BC8329408    3,500    4,500    4,500    5,200    4,500    3,000    4,200    25,200

100052408   024095406   COMMUNITY HEALTH PHARM NON-PHS   SANTA BARBARA     CA   93110       ALT SITE        BC8329408     500     1,200     500               500               675      2,700

100053950   038030791   CLEARSPRING PHCY    BROADWAY        LITTLETON      CO   80122     INDEPENDENT       BC8330994    2,800    4,300    4,400    2,900    3,500    3,500    3,567    21,400

100060349   010100578   CUMBERLAND DRUG CO. INC. APSC      CUMBERLAND      KY   40823     INDEPENDENT       BC8333065   15,900   13,700   19,000   10,100   22,000   15,500   16,033    96,200

100056062   019015057   COSTCO #0342 EDI NAPERVILLE        NAPERVILLE      IL   60564        CHAIN          BC8337746                       100      100      200      700      275      1,100

100064556   049054734   SPARROW CLINTON HOSPITAL OP        SAINT JOHNS     MI   48879       HOSPITAL        BC8431809   13,100   12,700   11,600   22,300    7,600    4,700   12,000    72,000

100084256   049180877   SPARROW CLINTON HOSP OP 340B        ST JOHNS       MI   48879   PHS 340B HOSPITAL   BC8431809     500     1,000    1,000     500      500     1,700     867      5,200

100054642   024060962   COSTCO #0769 EDI INGLEWOOD         INGLEWOOD       CA   90303        CHAIN          BC8450152    6,000    5,800    4,100    5,500   10,700    4,800    6,150    36,900

100093162   018396473   CHEROKEE PHARMACY                     RUSK         TX   75785     INDEPENDENT       BC8456902    3,100    2,000    2,000    8,000    6,000             4,220    21,100

100058001   049037457   COSTCO #0341 EDI COMMERCE TWP    COMMERCE TWP      MI   48390        CHAIN          BC8470786    6,500    5,500    1,400     700                       3,525    14,100

100055498   041000216   COSTCO #0334 EDI CHANTILLY          CHANTILLY      VA   20151        CHAIN          BC8490295                                         400               400       400

100065149   049043109   COUNTRY MARKET PHCY #11              ADRIAN        MI   49221     INDEPENDENT       BC8500503    2,000    4,200    4,900    5,000    2,100    3,200    3,567    21,400

100053804   010053306   CCF PHARMACIST INTERVENT APSC      PARK HILLS      KY   41011     INDEPENDENT       BC8506151     100                                                   100       100

100050264   003025700   COSTCO #0335 EDI SAN JUAN           SAN JUAN       PR   00924        CHAIN          BC8522357                                100                        100       100

100053616   020070045   COSTCO #0768 EDI EL PASO             EL PASO       TX   79925        CHAIN          BC8548046    2,700    4,300     500      200      200              1,580     7,900

100073366   055050468   COSTCO #0339 EDI GREENSBORO       GREENSBORO       NC   27407        CHAIN          BC8554291    3,900    3,800    1,200     300      700      700     1,767    10,600

100104370   019181552   WHEATON FRANCISCAN PHCY WAC        MILWAUKEE       WI   53210   PHS 340B HOSPITAL   BC8558845                                         500               500       500

100054237   017038216   COSTCO #0770 EDI SOUTH OGDEN      SOUTH OGDEN      UT   84405        CHAIN          BC8566424                                        4,500    3,000    3,750     7,500

100084430   055155606   CAPE FEAR DISCOUNT DRUG CPA       FAYETTEVILLE     NC   28303     INDEPENDENT       BC8570283   19,300   11,100   16,400    1,440    7,500   14,540   11,713    70,280

100066341   052083626   COSTCO #0362 EDI HOOVER              HOOVER        AL   35244        CHAIN          BC8574697    2,900    2,600     400     4,800    1,000    3,000    2,450    14,700

100091297   046042655   BAYSIDE SURGERY CENTER #712           MIAMI        FL   33133       HOSPITAL        BC8594586                                400                        400       400

100064447   010101451   KNIGHTS PHARMACY         APSC        BEREA         KY   40403     INDEPENDENT       BC8598255   17,000   12,500   15,600   12,100   12,000   12,600   13,633    81,800

100067189   018060392   CLARK DRUG STORE         SF         BALD KNOB      AR   72010     INDEPENDENT       BC8622311    6,500    4,600    5,500    6,200    6,000    5,000    5,633    33,800

100054299   038038042   CLEARSPRING PHCY    HIGHLANDS    HIGHLANDS RANCH   CO   80129     INDEPENDENT       BC8622703     200      600      600      600      400      800      533      3,200

100065562   019039503   ROCKFORD ORTHOPEDIC SURGERY         ROCKFORD       IL   61107       HOSPITAL        BC8634481                                                  200      200       200

100069583   021009670   PRIMARY HEALTH CARE PHARMACY       DES MOINES      IA   50314    PHS 340B CLINIC    BC8657047    1,200    4,900    1,200    2,400    7,100    2,200    3,167    19,000

100057341   040051862   CLAXTON COLE (TRETOP )     CPA       GRIFFIN       GA   30223     INDEPENDENT       BC8669054   15,100   17,700   16,500   21,200   13,100   13,220   16,137    96,820

100088840   037128199   CLINICAL CARE PHARMACY              HOUSTON        TX   77038     INDEPENDENT       BC8679295   11,500   12,800   14,400   14,400   13,200   10,700   12,833    77,000

100085711   044201533   COOPER DRUGS. INC     APSC        CHARLESTOWN      IN   47111     INDEPENDENT       BC8695150   42,700   41,300   35,700   30,800   44,500   34,500   38,250   229,500

100052805   012096230   COSTCO #0775 EDI POWAY               POWAY         CA   92064        CHAIN          BC8697231    6,900    6,500    6,300    6,100    1,900    8,200    5,983    35,900

100073364   055099580   COSTCO #0338 EDI MYRTLE BEACH     MYRTLE BEACH     SC   29577        CHAIN          BC8703755    5,300    6,400    2,900    7,600    1,500    1,100    4,133    24,800

100064830   049064790   COUNTRY MARKET PHARMACY #66         BROOKLYN       MI   49230     INDEPENDENT       BC8705723   12,700   13,100   13,400   10,100    9,900    8,800   11,333    68,000

100056291   032068403   COSTCO #0773 EDI COEUR D'ALENE    COEUR D'ALENE    ID   83815        CHAIN          BC8734700                                         500               500       500
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100085778   018194241   CONTINUECARE HOSPITAL                 TYLER          TX   75701      HOSPITAL       BC8776900    2,000    2,050    2,150    2,100     720     1,440    1,743    10,460

100058603   044060665   CORNER DRUG STORE OF STURGIS         STURGIS         KY   42459    INDEPENDENT      BC8778043   11,200   14,000   12,200   11,700   12,300   10,500   11,983    71,900

100052010   008057455   COSTCO #0453 EDI FAIRFIELD          FAIRFIELD        CA   94534       CHAIN         BC8781317                                         400               400       400

100059833   044069559   CLEMENTS PHARMACY                 MORGANFIELD        KY   42437    INDEPENDENT      BC8808810   40,900   40,800   44,300   37,900   43,700   45,000   42,100   252,600

100059639   010100826   CLARK COUNTY PHARMACY, INC         WINCHESTER        KY   40391    INDEPENDENT      BC8833902   12,000   13,500   22,500   16,500   10,000    2,500   12,833    77,000

100055043   019024513   COSTCO #0774 EDI LAKE IN THE H   LAKE IN THE HILLS   IL   60156       CHAIN         BC8860694    2,200    3,200     700      200     2,100    1,000    1,567     9,400

100055118   040051078   CHRISTIANS PHCY & HLTH SV CPA     FOREST PARK        GA   30297   LONG TERM CARE    BC8864983                                500                        500       500

100050680   004060541   COSTCO #0780 EDI ENFIELD             ENFIELD         CT   06082       CHAIN         BC8877459    1,900    1,800     700      300      200               980      4,900

100059347   041068817   COSTCO #0337 EDI LEESBURG           LEESBURG         VA   20176       CHAIN         BC8907694     600      200      200      600               400      400      2,000

100050868   018064675   COSTCO #0683 EDI LEWISVILLE         LEWISVILLE       TX   75067       CHAIN         BC8948981                               1,800    1,300     400     1,167     3,500

100055807   032075960   COSTCO #0772 EDI VANCOUVER         VANCOUVER         WA   98665       CHAIN         BC8956673                               6,000    7,400    1,200    4,867    14,600

100065244   049076836   COSTCO #0786 EDI BRIGHTON           BRIGHTON         MI   48116       CHAIN         BC8988872    3,800    3,500    1,000     800     1,400     400     1,817    10,900

100053110   049076869   COSTCO #0784 EDI GRAND RAPIDS     GRAND RAPIDS       MI   49508       CHAIN         BC8989088    3,500    3,000     300              2,900     600     2,060    10,300

100072973   025050674   COSTCO #0783 EDI EDEN PRAIRIE     EDEN PRAIRIE       MN   55344       CHAIN         BC8997338     100      200      200              3,200    1,000     940      4,700

100066101   021035667   COSTCO #0788 EDI W.DES MOINES    WEST DES MOINES     IA   50266       CHAIN         BC9013828                       400      800     1,100     500      700      2,800

100056498   032092395   CHAS PHARMACY MAPLE STREET340B       SPOKANE         WA   99205   PHS 340B CLINIC   BC9095440   14,300   15,300   13,600   16,900   12,100   12,800   14,167    85,000

100051528   008062588   COSTCO #0778 EDI FREMONT            FREMONT          CA   94538       CHAIN         BC9097127                                         300      300      300       600

100060827   056099150   COSTCO #749 EDI MOUNT LAUREL      MOUNT LAUREL       NJ   08054       CHAIN         BC9116965     400      800                                          600      1,200

100064065   008104943   KAWEAH DELTA SKILLED NURSING S       VISALIA         CA   93277      HOSPITAL       BC9124708    1,000     800      500     1,200     900      900      883      5,300

100067615   038145003   COLORADO PLAINS MED CENTER#712    FORT MORGAN        CO   80701      HOSPITAL       BC9185770     100      600                        100      600      350      1,400

100059095   024105841   CONCOURSE RX                     CITY OF INDUSTRY    CA   91748    INDEPENDENT      BC9187964              200      700               200               367      1,100

100056019   040061036   COSTCO #0743 EDI ALPHARETTA        ALPHARETTA        GA   30004       CHAIN         BC9243952     700     1,000     400      100      300      700      533      3,200

100056069   049091694   COSTCO #0744 EDI WYOMING            WYOMING          MI   49418       CHAIN         BC9254878    2,900    3,100     400      700     4,600             2,340    11,700

100060199   012110056   COSTCO #0748 EDI CYPRESS             CYPRESS         CA   90630       CHAIN         BC9258078   11,400   13,000   10,200   12,600   13,200   17,860   13,043    78,260

100061388   040093450   *RIVERSIDE DRUGS                   EAST ELLIJAY      GA   30540    INDEPENDENT      BC9328609    5,000    6,000      -      2,000                      3,250    13,000

100058507   049096339   COUNTRY MARKET PHARMACY #12          CHELSEA         MI   48118    INDEPENDENT      BC9328635    7,600    5,000    9,600    9,100    3,500             6,960    34,800

100063226   008165126   COALINGA STATE HOSPITAL             COALINGA         CA   93210      HOSPITAL       BC9341695    1,300    2,400    2,900     700     1,700    2,400    1,900    11,400

100107753   049196352   COLEMAN FAMILY PHCY SF              COLEMAN          MI   48618    INDEPENDENT      BC9361697   15,300   16,200   14,900   15,200   16,000   12,690   15,048    90,290

100063189   041090795   CITIZENS PHCY SERV(X)(LTC) B01   HAVRE DE GRACE      MD   21078    INDEPENDENT      BC9379682             1,500                                        1,500     1,500

100066546   010010058   CENTER FOR MEDICATION MGMT           FINDLAY         OH   45840    INDEPENDENT      BC9398175     400      300      300      300      500      300      350      2,100

100064568   024116673   COSTCO #0741 EDI SAN LUIS OBIS   SAN LUIS OBISPO     CA   93405       CHAIN         BC9429502    7,600    9,700    9,000    8,200   10,400    8,900    8,967    53,800

100061152   040093377   *CONCORD,INC CONCORD PHCY 1700       AUSTELL         GA   30106    INDEPENDENT      BC9435682    1,700    1,200     800                                1,233     3,700

100089998   010224170   COX FAMILY PHARMACY INC APSC      PARKERSBURG        WV   26101    INDEPENDENT      BC9442637   12,900   12,300   11,700   12,200   13,000   12,500   12,433    74,600

100089903   010224022   CH OF HUNTINGTON WV                HUNTINGTON        WV   25702      HOSPITAL       BC9465990     300      500      900     1,700     240               728      3,640

100067233   020149666   COSTCO #0738 EDI PHOENIX             PHOENIX         AZ   85050       CHAIN         BC9471816    5,100    3,300    3,200    3,400    6,600    5,990    4,598    27,590

100089891   018236661   CORNERSTONE HSP OF WEST MONROE    WEST MONROE        LA   71291      HOSPITAL       BC9473098     800     1,000     800      700      840     1,020     860      5,160

100066893   012111765   COSTCO #0777 EDI LA HABRA           LA HABRA         CA   90631       CHAIN         BC9484166    8,700    7,500    8,100    7,900    5,200    2,000    6,567    39,400

100089884   020158147   CORNERSTONE HOSP OF SE AZ            TUCSON          AZ   85710      HOSPITAL       BC9488049              200               400      300      400      325      1,300

100066891   017094276   COSTCO #0745 EDI KALISPELL          KALISPELL        MT   59901       CHAIN         BC9489065    6,300    7,600    4,900    3,600    4,600    2,090    4,848    29,090

100066199   046084665   COSTCO #0742 EDI PEMBROKE PINE   PEMBROKE PINES      FL   33027       CHAIN         BC9491058     100               500      100      200               225       900

100089895   037128975   CH OF HOUSTON-BELLAIRE              HOUSTON          TX   77081      HOSPITAL       BC9492935    1,400    1,000     500     1,000    1,480    1,600    1,163     6,980

100089896   037128983   CH OF HOUSTON-CLEAR LAKE            WEBSTER          TX   77598      HOSPITAL       BC9492947    1,100     800      900      900     1,400             1,020     5,100

100089894   018236695   CORNERSTONE HOSPITAL OF AUSTIN        AUSTIN         TX   78756      HOSPITAL       BC9493305    1,200    1,900    1,850    1,600     540     2,380    1,578     9,470

100067231   020153130   COSTCO #0737 EDI LAS VEGAS          LAS VEGAS        NV   89131       CHAIN         BC9504540   12,000   13,800    4,300    9,300   13,000    2,900    9,217    55,300
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100059640   010100800   COMPLETE CARE PHARMACY          APSC      HAZARD        KY   41701     INDEPENDENT       BC9506025   12,500   19,000   12,400   13,000   14,500   14,500   14,317    85,900

100065033   020114462   COSTCO #0736 EDI CHANDLER                CHANDLER       AZ   85226        CHAIN          BC9511862    4,200    3,200    3,300    3,400    2,500    5,200    3,633    21,800

100069235   032123463   COSTCO #0692 EDI HILLSBORO               HILLSBORO      OR   97124        CHAIN          BC9512573                                        2,100     600     1,350     2,700

100069042   032114322   CHAS NORTH COUNTY 340B                   DEER PARK      WA   99006    PHS 340B CLINIC    BC9529516    4,500    6,500    7,800    2,000    5,100    5,400    5,217    31,300

100089890   018236653   CH OF BOSSIER CITY                      BOSSIER CITY    LA   71112       HOSPITAL        BC9530886     200      200      600     1,800              300      620      3,100

100069233   017066555   COSTCO #0735 EDI BOUNTIFUL               BOUNTIFUL      UT   84010        CHAIN          BC9531496                                        2,000    1,300    1,650     3,300

100062549   046050542   COMMUNITY PHARMACY INC                 CRESCENT CITY    FL   32112     INDEPENDENT       BC9538414   22,600   25,100   22,600   17,100   16,700   13,400   19,583   117,500

100064763   019040220   CRIVITZ PHCY         CPA                  CRIVITZ       WI   54114     INDEPENDENT       BC9541980   13,100   16,000   19,500   19,000    2,300   17,800   14,617    87,700

100088611   037127662   RECEPT PHARMACY #60                    CORPUS CHRISTI   TX   78411     INDEPENDENT       BC9546017    4,700    4,100    4,200    3,900    3,200    2,600    3,783    22,700

100062495   049106955   CRITTENTON MEDICAL PHARMACY             ROCHESTER       MI   48307     INDEPENDENT       BC9567732    8,800    7,100    7,600    9,500   24,100   18,900   12,667    76,000

100065453   024121269   CLINICARE PHARMACY INC                  NORTHRIDGE      CA   91324     INDEPENDENT       BC9570866     100      100                       2,000              733      2,200

100086779   024109678   CLINICARE PHARMACY INC COMBO            NORTHRIDGE      CA   91324     INDEPENDENT       BC9570866     400      400      100                                 300       900

100061285   044103838   WESTMORELAND PHARMACY           APSC    NEW ALBANY      IN   47150     INDEPENDENT       BC9594311   34,900   34,100   32,600   33,800   35,800   30,500   33,617   201,700

100066118   021059469   CERNER HLTH CONN PA14-CH112             KANSAS CITY     MO   64117       ALT SITE        BC9595870    2,400    1,900    1,600     500                       1,600     6,400

100059121   049109892   CARE MAX PHARMACY                       HAMTRAMCK       MI   48212     INDEPENDENT       BC9617614    6,500    7,300    8,700    7,500    2,000    4,000    6,000    36,000

100089659   020018432   MERCY GILBERT MED CTR                     GILBERT       AZ   85297       HOSPITAL        BC9620192    2,100    3,400    3,100    2,200    2,900    2,300    2,667    16,000

100064761   020187971   COSTCO #0644 EDI GILBERT                  GILBERT       AZ   85296        CHAIN          BC9645966    4,900    4,700    4,900    3,500    7,700    4,800    5,083    30,500

100064757   024123455   COSTCO #0643 EDI BAKERSFIELD            BAKERSFIELD     CA   93313        CHAIN          BC9670591   13,500   13,100   13,500   11,600   10,000    5,300   11,167    67,000

100063466   012149385   COSTCO #0746 EDI LAKE ELSINORE         LAKE ELSINORE    CA   92532        CHAIN          BC9688980   15,000   12,600   11,900   14,200   14,500   11,900   13,350    80,100

100063979   040067512   COSTCO #0366 EDI BUFORD                   BUFORD        GA   30519        CHAIN          BC9704291    1,100    1,000     500      300     1,600     400      817      4,900

100091361   037129841   KINDRED REHAB HOSP CLEAR LAKE            WEBSTER        TX   77598       HOSPITAL        BC9707754    2,000    1,300    1,900    1,700    2,030    1,740    1,778    10,670

100056715   021019125   CYPRESS SURGERY CENTER, LLC               WICHITA       KS   67226       HOSPITAL        BC9714242     100      100      300               200      160      172       860

100059286   018069617   CABOT MED PARK PHCY        SF              CABOT        AR   72023     INDEPENDENT       BC9715941    2,000    3,000    2,500    2,300    2,000    2,000    2,300    13,800

100058132   018069377   COSTCO #0641 EDI AUSTIN                   AUSTIN        TX   78749        CHAIN          BC9728568             2,000             3,500    3,000    2,600    2,775    11,100

100068126   010175406   CCF WILL HILLS OP PHARM OU              WILLOUGHBY      OH   44094     INDEPENDENT       BC9740336    4,000    5,000    4,100    4,800    6,900    5,900    5,117    30,700

100074470   019053645   COMMUNITY HOSP OF LAGRANGE CTY           LAGRANGE       IN   46761       HOSPITAL        BC9751389    1,400     700     1,500    2,100                      1,425     5,700

100086382   019145581   COMM HOSP OF LAGRANGE CTY 340B           LAGRANGE       IN   46761   PHS 340B HOSPITAL   BC9751389     100      100      100      300                        150       600

100074152   055060137   COSTCO #0635 EDI WILMINGTON             WILMINGTON      NC   28405        CHAIN          BC9810981    2,500    2,800     900     1,200    5,900    4,700    3,000    18,000

100087607   038102350   *THE MEDICINE SHOPPE 461    SF           RAPID CITY     SD   57701     INDEPENDENT       BC9812365    5,500    4,300    7,500    3,500                      5,200    20,800

100088892   038104299   THE MEDICINE SHOPPE 461 340B             RAPID CITY     SD   57701   PHS 340B HOSPITAL   BC9812365    3,000    1,100    1,000    2,600                      1,925     7,700

100066434   018059923   CELINA DRUG          CPA                   CELINA       TX   75009     INDEPENDENT       BC9818646    2,300    7,400    9,400   13,300             7,200    7,920    39,600

100061215   017058107   CENTRAL VALLEY PHARMACY                    NEPHI        UT   84648     INDEPENDENT       BC9837975    8,400    9,200    9,500    9,900   11,200   10,900    9,850    59,100

100084470   017084749   CENTRAL VALLEY PHARMACY 340B               NEPHI        UT   84648   PHS 340B HOSPITAL   BC9837975    3,400    2,600    1,700    1,300                      2,250     9,000

100059778   032144360   COSTCO #0740 EDI LACEY                     LACEY        WA   98516        CHAIN          BC9855391                                         100               100       100

100061040   018000497   COSTCO #0636 EDI DUNCANVILLE            DUNCANVILLE     TX   75137        CHAIN          BC9873604   10,900   11,400    3,200    2,700    1,000    2,500    5,283    31,700

100106424   012112375   CANYON RIDGE HOSPITAL                      CHINO        CA   91710       HOSPITAL        BC9903635              700     1,400    1,400                      1,167     3,500

100056689   032035246   COSTCO #0639 EDI SEQUIM                   SEQUIM        WA   98382        CHAIN          BC9912379                                800      500               650      1,300

100064618   017108217   COSTCO #0733 EDI LEHI                       LEHI        UT   84043        CHAIN          BC9918268     200      100               100     1,500    2,800     940      4,700

100059242   023051094   COLONIA NATURAL PHCY(Z)(GNP)              COLONIA       NJ   07067     INDEPENDENT       BC9920061              500      500      500     1,000     300      560      2,800

100061725   017100545   COSTCO #0734 EDI NAMPA                     NAMPA        ID   83687        CHAIN          BC9928106                                                 1,000    1,000     1,000

100056732   008031252   COSTCO #0646 EDI SPARKS                   SPARKS        NV   89436        CHAIN          BC9930492                       100                        300      200       400

100084210   012088955   COAST HILLS PHARMACY                   NEWPORT BEACH    CA   92660     INDEPENDENT       BC9943502    3,500    1,800    3,900    1,700    2,100    4,600    2,933    17,600

100056884   040074443   CENTRAL GEORGIA REHAB HOSPITAL            MACON         GA   31210       HOSPITAL        BC9960231    1,700                                                 1,700     1,700

100074028   021140046   CENTERPOINT ASC                        INDEPENDENCE     MO   64057       HOSPITAL        BC9966485     200      300      100      200       80      320      200      1,200
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100069546   004097790   CRYSTAL RUN PHCY LLC(Z)(ARX)        MIDDLETOWN     NY   10941     INDEPENDENT       BC9968489    1,300    1,200     800     1,400    1,400    2,700    1,467     8,800

100061564   056060178   CPS ABRAMSON CENTER PHARMACY        NORTH WALES    PA   19454   LONG TERM CARE      BC9977010     400      300      800      600      600     1,100     633      3,800

100061915   032130674   COSTCO #0642 EDI MARYSVILLE          MARYSVILLE    WA   98271        CHAIN          BC9977919                               3,000    4,000    4,000    3,667    11,000

100053554   010052357   COORDINATED CARE NETWORK (MET)       PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102    2,600    3,300    3,200     800     5,900    1,600    2,900    17,400

100054069   010070227   COORDINATED CARE NETWORK/ALL         PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102     100      300      300              7,200    1,800    1,940     9,700

100075434   010193540   COORDINATED CARE NETWORK (SEN)       PITTSBURGH    PA   15235   PHS 340B HOSPITAL   BC9983102     900     1,200    1,300    1,100    1,800     600     1,150     6,900

100053376   010051029   COORDINATED CARE NETWORK CCN         PITTSBURGH    PA   15235     MAIL SERVICE      BC9983102                                         500     1,500    1,000     2,000

100086911   010213785   COORDINATED CARE NETWORK CATAW       PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102     100      300      100      100      500      800      317      1,900

100072489   010123570   COORDINATED CARE NETWORK PERSA       PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102     200      200      200      300      300      500      283      1,700

100086160   010212381   COORDINATED CARE NETWORK /READ       PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102     100      300      200      200      300               220      1,100

100071958   010123554   COORDINATED CARE NETWORK PATF        PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102     200      100      100      500                        225       900

100084958   010196964   CORDINATD CARE NTWRK MT25 340B       PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102     200               400                                 300       600

100105096   010235556   COORDINATED CARE NTWK 340B GSP       PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102              100      100                        200      133       400

100053555   010052373   COORDINATED CARE NETWORK (ELI)       PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102                       100               100               100       200

100083289   010191700   COORDINATED CARE NETWORK 340B        PITTSBURGH    PA   15235    PHS 340B CLINIC    BC9983102              100                                          100       100

100074154   055061259   COSTCO #0645 EDI RALEIGH              RALEIGH      NC   27609        CHAIN          BC9988734    2,000    3,000    1,000     400      400     1,600    1,400     8,400

100060407   018074740   CLINTON DRUG                          CLINTON      AR   72031     INDEPENDENT       BC9997290   15,700   18,700   30,600    9,500   11,000    8,600   15,683    94,100

100095363   023145581   DUANE READE                          NEW YORK      NY   10019     WALGREENS         BD0179398     600      300     1,200    1,000     900      400      733      4,400

100056580   056014050   DOUG'S FAMILY PHARMACY (GNP)         ELVERSON      PA   19520     INDEPENDENT       BD0188993    2,800    3,600    3,800    2,800    2,300    2,000    2,883    17,300

100059184   044041988   DIERBERGS MKTS INC-FLORISSANT        FLORISSANT    MO   63031        CHAIN          BD0194895    6,600    7,300    9,200    7,100    6,100    6,000    7,050    42,300

100066384   055143164   DRUM'S PHARMACY(X)       CPA          ENFIELD      NC   27823     INDEPENDENT       BD0322153    7,000             6,000    5,000    6,000    6,500    6,100    30,500

100052259   010040204   DRUG EMPORIUM                      BARBOURSVILLE   WV   25504        CHAIN          BD0427927   17,900   16,400   16,800   17,900   21,300   14,100   17,400   104,400

100058651   049016576   DUBOIS,WILLIAM MD/MED ENTERPRE       STANWOOD      MI   49346       ALT SITE        BD0500543    3,600    3,100    4,700    2,500    2,900    2,000    3,133    18,800

100083553   003074765   DRUG FARM PHARMACY #2               SAINT THOMAS   VI   00802     INDEPENDENT       BD0510708             1,100    1,000     500               800      850      3,400

100052262   010040253   DUTTON PHARMACY       APSC             VIENNA      WV   26105     INDEPENDENT       BD0757902    8,300   13,100    9,200    8,500    9,800    7,500    9,400    56,400

100074065   018094318   DFW PRESCRIPTIONS, INC             GRAND PRAIRIE   TX   75051     INDEPENDENT       BD0808418    6,000    3,500    5,500    4,000    4,500    2,100    4,267    25,600

100095228   023144220   DUANE READE                          NEW YORK      NY   10005     WALGREENS         BD0826187     400      700      100     1,100     920     1,000     703      4,220

100050379   018046417   DIAMOND PHARMACY #1                MINERAL WELLS   TX   76067     INDEPENDENT       BD0880193   37,000   42,800   39,800   35,900   33,600   18,100   34,533   207,200

100054955   041003046   D STEPHENSON/SUBURBAN PHY. R59      PORTSMOUTH     VA   23707     INDEPENDENT       BD0881979    7,900    7,800    9,100    9,100    9,400    5,300    8,100    48,600

100059941   010099168   DISCOUNT DRUG MART, INC APSC        SANDY HOOK     KY   41171     INDEPENDENT       BD0936863    5,300    3,600    2,600    5,100    4,400    3,500    4,083    24,500

100088926   010223321   DISCOUNT DRUG MART 340B             SANDY HOOK     KY   41171   PHS 340B HOSPITAL   BD0936863     100      400      500                                 333      1,000

100063880   019000687   DEL-PHARMACY                          CHICAGO      IL   60623     INDEPENDENT       BD0992734     200      200      300      300               100      220      1,100

100095229   023144238   DUANE READE                          NEW YORK      NY   10022     WALGREENS         BD1014214    1,300     700     1,200     200      900      700      833      5,000

100094541   023138057   DUANE READE                          BROOKLYN      NY   11201     WALGREENS         BD1067366     700     1,600     100     1,000    1,400    1,500    1,050     6,300

100057887   056027573   DAVIS PHARMACY (IPBG)               PHILADELPHIA   PA   19143     INDEPENDENT       BD1134888    1,200     800      500     1,200    1,000     700      900      5,400

100095230   023144246   DUANE READE                          NEW YORK      NY   10022     WALGREENS         BD1173931     500      800     1,300     200     1,100     700      767      4,600

100060794   023011189   D'ALLEGRO'S PHARMACY     (GNP)        NEWARK       NJ   07105     INDEPENDENT       BD1194175     900      600      800      600               900      760      3,800

100067089   019143149   DOUGLAS-MAIN PHARMACY        CPA   DOWNERS GROVE   IL   60515     INDEPENDENT       BD1227025   11,300              100     2,000    3,000             4,100    16,400

100058662   044042432   DIERBERGS MARKET PLACE PHARM        CHESTERFIELD   MO   63017        CHAIN          BD1398684    7,800    7,100   25,400    7,500              600     9,680    48,400

100056127   010056861   DAVES EAGLE SUPERMRKT PHCYAPSC       CLEVELAND     OH   44114     INDEPENDENT       BD1553901    1,100    1,500    2,100    1,500    1,000     500     1,283     7,700

100092948   023136853   SYED, EHSAN                         HARRISBURG     PA   17110       HOSPITAL        BD1570135                                100                        100       100

100052003   018047993   DYER DRUG STORE INC                 FARMERSVILLE   TX   75442     INDEPENDENT       BD1692474   14,100   14,800   12,800   20,900   11,800    9,800   14,033    84,200

100052270   010040394   DRUG EMPORIUM #2                    CHARLESTON     WV   25387        CHAIN          BD1708152   17,800   18,100   16,900   14,800   18,600   19,800   17,667   106,000

100087608   010217166   DRUG EMPORIUM (HOSP)                CHARLESTON     WV   25387        CHAIN          BD1708152                       200              2,000             1,100     2,200
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100052895   010055178   DRUG EMPORIUM #2 / 340B           CHARLESTON     WV   25387    PHS 340B CLINIC    BD1708152     200               600                                  400       800

100105746   021173302   DIXON DRUG 340B                     TRIBUNE      KS   67879   PHS 340B HOSPITAL   BD1760734    3,700    3,000    2,600    2,500     600      2,400    2,467    14,800

100065702   021004036   DIXON DRUG         CPA              TRIBUNE      KS   67879     INDEPENDENT       BD1760734    1,500    1,500    1,800    1,500    4,800     1,200    2,050    12,300

100095231   023144253   DUANE READE                        NEW YORK      NY   10016     WALGREENS         BD1768273    2,000    1,400    3,200    1,600     900      1,000    1,683    10,100

100060588   023086405   MENDHAM APOTHECARY INC (X)IPBG     MENDHAM       NJ   07945     INDEPENDENT       BD1848766    2,100    2,800    1,400    2,500      -                1,760     8,800

100059162   044043935   DIERBERGS MACKENZIE POINTE        SAINT LOUIS    MO   63119        CHAIN          BD1857789    7,000    7,300    5,600    7,200    7,300     4,700    6,517    39,100

100094032   019162446   LOW COST PHARMACY                   LACON        IL   61540     INDEPENDENT       BD1958783    1,000                       500     6,000              2,500     7,500

100065672   023023085   DEVINES PHARMACY INC(X) (GNP)       EDISON       NJ   08820     INDEPENDENT       BD1976161    1,900    1,900    2,400    1,200    1,800     1,460    1,777    10,660

100058161   044044651   DIERBERGS TELEGRAPH PLAZA PHA     SAINT LOUIS    MO   63129        CHAIN          BD2005583    6,200    7,100   11,900    8,100    4,300     8,300    7,650    45,900

100061318   023007229   DORNEYVILLE PHARMACY (X)          ALLENTOWN      PA   18103     INDEPENDENT       BD2009719              100      200      100                260      165       660

100054080   012037051   LAGUNA SUNSET DRUG               LAGUNA BEACH    CA   92651     INDEPENDENT       BD2074211    9,100    2,500    2,000    6,400    6,600     1,700    4,717    28,300

100058337   044045112   DIERBERGS HERITAGE PLACE PHCY     SAINT LOUIS    MO   63141        CHAIN          BD2089248    4,700    4,700    7,900    3,400    3,600     4,200    4,750    28,500

100095232   023144261   DUANE READE                        NEW YORK      NY   10004     WALGREENS         BD2101640     500      900      600      500                500      600      3,000

100051090   008017392   DO RX PHARMACY                     SAN JOSE      CA   95112     INDEPENDENT       BD2114700              100      100                                  100       200

100095233   023144279   DUANE READE                        NEW YORK      NY   10038     WALGREENS         BD2115194     700      300      700      300      400       200      433      2,600

100066602   018060871   DARLING MEDI-SAVE CPA              NEWPORT       AR   72112     INDEPENDENT       BD2139295   24,400   18,000   16,000    9,000   25,000    14,000   17,733   106,400

100067014   019143032   BARCUS PHARMACY           CPA      OAK LAWN      IL   60453     INDEPENDENT       BD2245163    2,300    1,800    5,600    9,700    2,100      200     3,617    21,700

100054990   010046482   DAYS MIAMI HEIGHTS PHARMACY       CINCINNATI     OH   45248     INDEPENDENT       BD2411697    4,600    1,500    2,500    3,500    2,000     3,500    2,933    17,600

100053711   024025841   DOCTORS HOSPITAL OF W COVINA     WEST COVINA     CA   91790       HOSPITAL        BD2428325     300      200      100      250      600                290      1,450

100052249   010040089   DRUG EMPORIUM #3                  CHARLESTON     WV   25304        CHAIN          BD2460791   12,300   13,800   10,400   10,000   11,800     9,300   11,267    67,600

100051088   008015909   DANIELS-RX-PHCY                  SAN FRANCISCO   CA   94112     INDEPENDENT       BD2488535    8,700   14,300   18,700    8,600    5,900     7,500   10,617    63,700

100067338   021003228   DEINES PHCY         SF             BEATRICE      NE   68310     INDEPENDENT       BD2603884   11,500   10,000    8,900    9,100   14,100     7,000   10,100    60,600

100107743   021174375   DEINES PHARMACY 340B               BEATRICE      NE   68310   PHS 340B HOSPITAL   BD2603884                      1,500    1,500                       1,500     3,000

100071773   037140244   KINGWOOD MEDICAL CENTER #712       KINGWOOD      TX   77339       HOSPITAL        BD2675544    8,800    9,300    8,800    6,200    7,580     5,540    7,703    46,220

100060599   023007765   DEVINES PHARMACY(GNP)              DUNELLEN      NJ   08812     INDEPENDENT       BD2676205    2,000    2,100    1,700    2,300     700      1,300    1,683    10,100

100087688   018199612   QUICK MESA PARK PHARMACY CPA      ROUND ROCK     TX   78664     INDEPENDENT       BD2678184   15,000   12,400   13,400   24,600   15,600     7,000   14,667    88,000

100095234   023144287   DUANE READE                        NEW YORK      NY   10019     WALGREENS         BD2692968    2,300    2,300    2,300    2,060    2,300     1,800    2,177    13,060

100106432   012112383   DEL AMO HOSPITAL                   TORRANCE      CA   90505       HOSPITAL        BD2743044     200      100      500     1,000     200       400      400      2,400

100095309   023145045   DUANE READE                        NEW YORK      NY   10001     WALGREENS         BD2752358    2,300    2,400    2,200     990     1,700     1,100    1,782    10,690

100057982   044045435   DIERBERGS SOUTHROADS PHARMACY     SAINT LOUIS    MO   63128        CHAIN          BD2785977    9,000    9,900   12,200    9,800   11,000     8,200   10,017    60,100

100060418   019041418   DELNOR-COMMUNITY HOSPITAL           GENEVA       IL   60134       HOSPITAL        BD2846953    3,700    4,100    5,000    3,000    3,300     2,500    3,600    21,600

100099826   018399196   WALGREENS #15762         DSD       OWASSO        OK   74055     WALGREENS         BD2946347     700     8,600   25,800   25,700   27,100    25,300   18,867   113,200

100067088   019143131   DOCTOR'S PHARMACY,INC      CPA     HIGHLAND      IN   46322     INDEPENDENT       BD3016955     100      200     6,300     200     2,500     3,100    2,067    12,400

100052950   012025213   DIAL DRUG LAGUNA HILLS           LAGUNA HILLS    CA   92653     INDEPENDENT       BD3219335   13,000    7,200    3,200    2,200     500               5,220    26,100

100054100   037010116   DEVEREUX TEXAS TREATMENT CTR      LEAGUE CITY    TX   77573       HOSPITAL        BD3319046                       100      200                100      133       400

100071572   018144238   *DRUG MART PHARMACY        CPA     MCGEHEE       AR   71654     INDEPENDENT       BD3359949    2,000    2,100    2,500    2,000    1,700              2,060    10,300

100095235   023144295   DUANE READE                        NEW YORK      NY   10001     WALGREENS         BD3540110     600      100     1,000               -        100      360      1,800

100056998   019048868   DECATUR MEMORIAL HOSPITAL, INC     DECATUR       IL   62526       HOSPITAL        BD3541996    4,800    3,000    5,000    3,000   (2,200)             2,720    13,600

100109487   019186817   *PHYSICIANS PLAZA PHARMACY340B     DECATUR       IL   62526   PHS 340B HOSPITAL   BD3541996    4,200    3,100    2,600    3,000     500               2,680    13,400

100095236   023144303   DUANE READE                        NEW YORK      NY   10012     WALGREENS         BD3733121     600      900     1,000                                 833      2,500

100051391   008034629   DAMERON'S LINACIA PHARMACY         STOCKTON      CA   95203     INDEPENDENT       BD3748398    9,500   11,200   11,100   13,800    8,600     3,300    9,583    57,500

100070565   008073411   DAMERON'S LINACIA PHCY 340B        STOCKTON      CA   95203   PHS 340B HOSPITAL   BD3748398    5,600    5,400    4,900    3,700    1,900     3,800    4,217    25,300

100095237   023144311   DUANE READE                        NEW YORK      NY   10174     WALGREENS         BD3772565     700     1,800    1,900     800     1,500     1,200    1,317     7,900

100056123   010056853   DAVE'S SUPERMARKETS INC. APSC     CLEVELAND      OH   44102     INDEPENDENT       BD3823362    2,800    4,900    4,400    4,500    4,300     6,000    4,483    26,900
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100059065   010006197   DAVE'S SUPERMARKETS, INC 340B         CLEVELAND        OH   44102    PHS 340B CLINIC     BD3823362     200       300      100                                 200       600

100061042   023007492   DITTMAR'S PHARMACY (ARX)               BAYONNE         NJ   07002     INDEPENDENT        BD3862287     800       400      200      400      600      800      533      3,200

100071199   037140178   CORPUS CHRISTI MED CTR RX #712      CORPUS CHRISTI     TX   78411       HOSPITAL         BD3891428    2,500     2,900    3,400    4,200    3,600    2,600    3,200    19,200

100095270   023144659   DUANE READE                           NEW YORK         NY   10036      WALGREENS         BD3894727    1,800     1,200    2,100             1,400    1,400    1,580     7,900

100066422   044143081   DUNCAN PRESCRIPTION CENTER CPA         MAYFIELD        KY   42066     INDEPENDENT        BD3976531   11,700      100    27,200   11,600   15,300    6,600   12,083    72,500

100101234   023151621   DUANE READE                           BROOKLYN         NY   11201      WALGREENS         BD4016817     700       200      500                        500      475      1,900

100071120   018140194   PLANO AMBULATORY SURGERY HCA            PLANO          TX   75075       HOSPITAL         BD4039865     200       100      200      300      100      300      200      1,200

100095239   023144345   DUANE READE                           NEW YORK         NY   10065      WALGREENS         BD4059538    1,100      900      700      800      700     1,300     917      5,500

100064400   023089359   DVN DRUG CORP (B)(GNP)                SMITHTOWN        NY   11787     INDEPENDENT        BD4110538     (100)     500                        600               333      1,000

100095240   023144352   DUANE READE                           NEW YORK         NY   10025      WALGREENS         BD4111198     900      2,900    1,500     100     1,300    1,600    1,383     8,300

100095241   023144360   DUANE READE                           NEW YORK         NY   10027      WALGREENS         BD4140531     800       900      700      600      100      800      650      3,900

100054106   037011957   DOW PHARMACY UNIT #1808/GNP            HOUSTON         TX   77055     INDEPENDENT        BD4145694     500       200      200      100                        250      1,000

100094506   023137729   DUANE READE                             BRONX          NY   10459      WALGREENS         BD4183163                                 500                        500       500

100055699   038020925   DENVER HEALTH MEDICAL CTR 340B         DENVER          CO   80204   PHS 340B HOSPITAL    BD4213649    4,400     3,300    5,200     100     3,100    1,700    2,967    17,800

100095242   023144378   DUANE READE                           NEW YORK         NY   10021      WALGREENS         BD4262591    2,700     1,600    2,000    1,300    2,700    3,000    2,217    13,300

100075497   018171603   DANIEL DRUG INC       SF             FORT WORTH        TX   76107     INDEPENDENT        BD4300101     200       200      200      200                        200       800

100095246   023144410   *DUANE READE                          NEW YORK         NY   10024      WALGREENS         BD4307511     700       900                                          800      1,600

100095244   023144394   DUANE READE                           NEW YORK         NY   10022      WALGREENS         BD4344949     400      1,200    1,000     300     1,400     200      750      4,500

100071573   018144246   DRUG ROOM, INC        CPA             PINE BLUFF       AR   71603     INDEPENDENT        BD4362050    4,120    21,300   30,200   20,340     600     3,200   13,293    79,760

100094543   023138073   DUANE READE                           BROOKLYN         NY   11201      WALGREENS         BD4369573     800       700     1,000              400      100      600      3,000

100090722   044210377   DEPAUL HEALTH CENTER IP               BRIDGETON        MO   63044       HOSPITAL         BD4407070    5,900     5,100    4,500    4,000    5,160    2,560    4,537    27,220

100090723   044210385   DEPAUL HEALTH CENTER WAC              BRIDGETON        MO   63044       HOSPITAL         BD4407070               100       50     1,800    2,000    1,200    1,030     5,150

100090721   044210369   DEPAUL HEALTH CENTER 340B             BRIDGETON        MO   63044   PHS 340B HOSPITAL    BD4407070     900       500      800      500              1,120     764      3,820

100095243   023144386   DUANE READE                           NEW YORK         NY   10017      WALGREENS         BD4412449     400       600                        400      200      400      1,600

100095245   023144402   DUANE READE                           NEW YORK         NY   10121      WALGREENS         BD4434281    1,200     1,300     100     2,000     600      700      983      5,900

100095247   023144428   DUANE READE                           NEW YORK         NY   10036      WALGREENS         BD4434318     500      1,100    1,000     600      400      700      717      4,300

100053430   026069435   USAHC SCHOFIELD BKS/PHARMACY      SCHOFIELD BARRACKS   HI   96857   HOSPITAL (FEDERAL)   BD4485834    7,200     7,200    4,800   14,400             9,600    8,640    43,200

100053509   026076216   TRIPLER ARMY HOSP - IN PATIENT        HONOLULU         HI   96859   HOSPITAL (FEDERAL)   BD4485846   11,400    10,200    9,200    3,500   19,000    5,300    9,767    58,600

100095351   023145466   DUANE READE                           NEW YORK         NY   10022      WALGREENS         BD4490126    1,500     2,400    2,700    2,300    1,500    2,900    2,217    13,300

100061055   023014035   DEDALE PHARMACY INC (GNP)           VALLEY STREAM      NY   11580     INDEPENDENT        BD4491053                                 500     1,600    2,700    1,600     4,800

100095248   023144436   DUANE READE                           NEW YORK         NY   10011      WALGREENS         BD4564274     700      1,040    1,000     500      300     1,000     757      4,540

100055696   038020693   DENVER HLTH PRIM CARE PHCY340B         DENVER          CO   80204   PHS 340B HOSPITAL    BD4567395   25,700    40,000   29,100   25,600   26,500   21,500   28,067   168,400

100060807   025022814   ESSENTIA HEALTH                      HERMANTOWN        MN   55811       HOSPITAL         BD4592172    2,000     3,000    2,000    3,700    6,100    2,000    3,133    18,800

100083395   025064873   ESSENTIA HLTH-HERMANTOWN PHCY        HERMANTOWN        MN   55811   PHS 340B HOSPITAL    BD4592172    3,000     2,500    3,000    2,800     700     1,400    2,233    13,400

100057091   026029785   DON QUIJOTE USA - WAIPAHU RX           WAIPAHU         HI   96797         CHAIN          BD4694611     900       300     1,100    1,000    1,200    1,100     933      5,600

100058153   044047613   DIERBERGS WARSON WOODS PHRMCY       WARSON WOODS       MO   63122         CHAIN          BD4725151    2,000     3,100    2,900    4,000    2,800    1,500    2,717    16,300

100095249   023144444   DUANE READE                           NEW YORK         NY   10010      WALGREENS         BD5006970    1,000     1,500    1,200     700      900      800     1,017     6,100

100099855   018399485   WALGREENS #15811         DSD            TULSA          OK   74145      WALGREENS         BD5035919     500      9,100   31,200   31,000   34,100   29,000   22,483   134,900

100072915   018143214   DRISCOLL PHARMACY, INC      CPA         IDALOU         TX   79329     INDEPENDENT        BD5112040    5,000     5,800    9,200    6,500    5,000    6,000    6,250    37,500

100058158   044047720   DIERBERG 94 CROSSING PHARMACY        SAINT PETERS      MO   63304         CHAIN          BD5113826    4,200     3,100    4,500    3,500    4,600    3,800    3,950    23,700

100055174   010043844   DAVIES DRUG, INC #2   APSC          NORTH CANTON       OH   44720     INDEPENDENT        BD5187390    3,000      300     2,700    1,600    3,300    2,000    2,150    12,900

100060809   025022830   ESSENTIA HEALTH                    INTERNATIONAL FAL   MN   56649       HOSPITAL         BD5239632                                         1,000    1,000    1,000     2,000

100094846   023138602   DUANE READE                            FLUSHING        NY   11354      WALGREENS         BD5264736     800      1,500    1,500     800     2,000     500     1,183     7,100

100065305   021004697   DENMAN COUNTRY DRUG                    GOLDEN          IL   62339     INDEPENDENT        BD5286578     200       100      200     2,500    6,100    1,000    1,683    10,100
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100095250   023144451   DUANE READE                         NEW YORK        NY   10003   WALGREENS     BD5321841     900     1,600    1,300      900     1,300    1,200       1,200     7,200

100094805   023138537   DUANE READE                         ELMHURST        NY   11373   WALGREENS     BD5404986     500      100     1,000               200      200         400      2,000

100056491   018030338   DILLEY DRUG STORE      SF            DILLEY         TX   78017   INDEPENDENT   BD5450197    1,500    4,000    4,100     2,000    2,100    5,000       3,117    18,700

100099811   018399048   WALGREENS #15751       DSD        BARTLESVILLE      OK   74006   WALGREENS     BD5453559             6,660   21,200    20,700   23,700   12,000      16,852    84,260

100095251   023144469   DUANE READE                         NEW YORK        NY   10024   WALGREENS     BD5466811    1,260    1,400    2,600     1,100    1,800    2,900       1,843    11,060

100095252   023144477   DUANE READE                         NEW YORK        NY   10021   WALGREENS     BD5562029    1,900    1,600    2,100     1,600     400     2,300       1,650     9,900

100107958   018404509   DENNIS' EXPRESS PHARMACY CPA       KINGFISHER       OK   73750   INDEPENDENT   BD5570280   20,200   23,000   32,500    20,500   13,300   26,000      22,583   135,500

100095360   023145557   DUANE READE                         NEW YORK        NY   10028   WALGREENS     BD5649857    1,100     500      500       900     1,100     100         700      4,200

100056907   052063222   *FREDS/DR FOR LESS 1991JACKSON      JACKSON         MS   39206      CHAIN      BD5653008    4,300    5,500    5,500     7,800                         5,775    23,100

100056906   052063214   *FREDS/DR FOR LESS 1996JACKSON      JACKSON         MS   39204      CHAIN      BD5653010    7,000    7,800    7,200     6,800                         7,200    28,800

100095329   023145243   DUANE READE                         NEW YORK        NY   10010   WALGREENS     BD5659668     300      800     1,000               100       -          440      2,200

100064259   052037515   *FRED'S PHARMACY# 1841 @             HOOVER         AL   35216      CHAIN      BD5662867    8,700    8,100    9,000     7,000                         8,200    32,800

100095253   023144485   DUANE READE                         NEW YORK        NY   10016   WALGREENS     BD5684798    4,190    4,200    3,100     3,700    4,200    3,500       3,815    22,890

100095349   023145441   DUANE READE                         NEW YORK        NY   10038   WALGREENS     BD5695664     800     1,360     250       500      200     1,100        702      4,210

100094544   023138081   DUANE READE                         BROOKLYN        NY   11208   WALGREENS     BD5725481              200      600       100      500       -          280      1,400

100095256   023144519   DUANE READE                         NEW YORK        NY   10023   WALGREENS     BD5729150     400     1,300    1,000               700      400         760      3,800

100095080   023142927   DUANE READE                      LONG ISLAND CITY   NY   11101   WALGREENS     BD5729162    1,300    1,100     500       960     1,000     700         927      5,560

100095527   023145755   DUANE READE                        RIDGEWOOD        NY   11385   WALGREENS     BD5730230    1,100    1,000     500                100     1,200        780      3,900

100095354   023145490   DUANE READE                         NEW YORK        NY   10012   WALGREENS     BD5739935    1,800    1,100    1,500     2,330    1,070    2,400       1,700    10,200

100095254   023144493   DUANE READE                         NEW YORK        NY   10011   WALGREENS     BD5768190    1,000     900      500       600      500      300         633      3,800

100094545   023138099   DUANE READE                         BROOKLYN        NY   11226   WALGREENS     BD5789396    1,800     900     1,600      300     1,600     600        1,133     6,800

100095258   023144535   DUANE READE                         NEW YORK        NY   10001   WALGREENS     BD5797925              700                100               200         333      1,000

100095257   023144527   DUANE READE                         NEW YORK        NY   10002   WALGREENS     BD5797963     400      300     1,200      600      700       -          533      3,200

100095352   023145474   DUANE READE                         NEW YORK        NY   10003   WALGREENS     BD5797987    1,000    2,300    2,900     2,100    2,900    1,400       2,100    12,600

100095008   023138909   DUANE READE                          JAMAICA        NY   11435   WALGREENS     BD5841374     300      600      500                         500         475      1,900

100095260   023144550   DUANE READE                         NEW YORK        NY   10128   WALGREENS     BD5853709    2,000    2,100    1,300      700     1,000     800        1,317     7,900

100095255   023144501   DUANE READE                         NEW YORK        NY   10029   WALGREENS     BD5875349    1,200     200     1,000      500      200                  620      3,100

100069059   008078535   SMF DAVIS FP/OCC MED                  DAVIS         CA   95616    HOSPITAL     BD5908249     100                                   80                   90       180

100095781   023146142   DUANE READE                         WOODSIDE        NY   11377   WALGREENS     BD5911878     700     1,400     700       100      500      600         667      4,000

100095261   023144568   DUANE READE                         NEW YORK        NY   10025   WALGREENS     BD5923900    2,820    1,000    2,120     1,220    2,300     400        1,643     9,860

100095264   023144592   DUANE READE                         NEW YORK        NY   10025   WALGREENS     BD5924130     400      900     1,000      600      400      700         667      4,000

100060738   025022772   ESSENTIA HEALTH                      VIRGINIA       MN   55792   INDEPENDENT   BD5970961              500      (500)            10,400   10,400       5,200    20,800

100060812   025022863   ESSENTIA HEALTH HAYWARD PHCY        HAYWARD         WI   54843    HOSPITAL     BD5994884    5,400    5,700    4,800     7,700    4,500    6,400       5,750    34,500

100095259   023144543   DUANE READE                         NEW YORK        NY   10033   WALGREENS     BD6008139             1,000               500               200         567      1,700

100095263   023144584   DUANE READE                         NEW YORK        NY   10016   WALGREENS     BD6025818    1,600    2,000    1,700     1,400     600     2,100       1,567     9,400

100094510   023137760   DUANE READE                          BRONX          NY   10472   WALGREENS     BD6033055     600      500      100      1,000              500         540      2,700

100094867   023138693   DUANE READE                      FRESH MEADOWS      NY   11365   WALGREENS     BD6033093     100      800     1,500      700      500     1,400        833      5,000

100094999   023138842   DUANE READE                      JACKSON HEIGHTS    NY   11372   WALGREENS     BD6033118    1,400     600                500                    60     640      2,560

100095628   023146001   DUANE READE                       STATEN ISLAND     NY   10314   WALGREENS     BD6033207    1,700     300     1,100     1,200    1,000    1,800       1,183     7,100

100094565   023138297   DUANE READE                         BROOKLYN        NY   11234   WALGREENS     BD6033233    1,900    1,400     200       800     1,700    1,000       1,167     7,000

100094810   023138560   DUANE READE                          ELMONT         NY   11003   WALGREENS     BD6033310     800     1,000    1,700      100      700     1,400        950      5,700

100094568   023138321   DUANE READE                         BROOKLYN        NY   11229   WALGREENS     BD6033473     300      500      500       600      200      600         450      2,700

100095262   023144576   DUANE READE                         NEW YORK        NY   10016   WALGREENS     BD6036049     800     2,600     500       200     1,500     300         983      5,900

100061155   040068700   DOLLAR PRESCRIPTION SHOP, INC        DALLAS         GA   30132   INDEPENDENT   BD6039742                                 500                           500       500
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100095125   023142943   DUANE READE                         MASPETH         NY   11378     WALGREENS         BD6062006    600    1,300   1,000    500     600    1,300    883     5,300

100094849   023138636   DUANE READE                         FLUSHING        NY   11355     WALGREENS         BD6062018    400     140     500     200     500     100     307     1,840

100094567   023138313   DUANE READE                        BROOKLYN         NY   11229     WALGREENS         BD6062020   3,500   1,300   1,800   2,000   1,600   2,200   2,067   12,400

100095780   023146134   DUANE READE                        WOODSIDE         NY   11377     WALGREENS         BD6084230    200    1,700    100     600                     650     2,600

100063372   021001156   DUNLAP FAMILY PHARMACY               DUNLAP         IA   51529     INDEPENDENT       BD6103054   1,400   1,900   3,800    400    3,900   3,400   2,467   14,800

100091228   021167775   DUNLAP FAMILY PHCY 340B              DUNLAP         IA   51529   PHS 340B HOSPITAL   BD6103054    300    1,200    800    1,700    100             820     4,100

100086380   021161455   DUNLAP FAMILY PHARMACY 340B          DUNLAP         IA   51529   PHS 340B HOSPITAL   BD6103054            500                                     500      500

100052266   010040311   DOCTORS HOSP OF NELSONVILLE       NELSONVILLE       OH   45764       HOSPITAL        BD6124159    100                                             100      100

100094509   023137752   DUANE READE                          BRONX          NY   10468     WALGREENS         BD6127333    500     600             600            1,000    675     2,700

100095787   023146183   DUANE READE                         YONKERS         NY   10704     WALGREENS         BD6130241   1,100   2,900   2,100   1,800   1,300   3,500   2,117   12,700

100095623   041151050   DUANE READE                      STATEN ISLAND      NY   10312     WALGREENS         BD6130330   2,900   2,600   2,700   2,200   2,900   2,600   2,650   15,900

100094828   023138578   DUANE READE                      FAR ROCKAWAY       NY   11694     WALGREENS         BD6130392   3,800   2,700   2,000   1,900   2,400   1,500   2,383   14,300

100095505   023145748   DUANE READE                        REGO PARK        NY   11374     WALGREENS         BD6134124   2,300   1,100   1,000    500    1,000    700    1,100    6,600

100095266   023144618   DUANE READE                        NEW YORK         NY   10024     WALGREENS         BD6146206   1,600   2,600   1,200   2,900   3,000   2,400   2,283   13,700

100094566   023138305   DUANE READE                        BROOKLYN         NY   11209     WALGREENS         BD6192532    900     600     200     700     800      -      533     3,200

100094546   023138107   DUANE READE                        BROOKLYN         NY   11229     WALGREENS         BD6192619    800     100    1,500    100    1,100   1,000    767     4,600

100058645   041061127   DEGC ENTERPRISE US INC.   868       ROANOKE         VA   24019     MAIL SERVICE      BD6226028    400    1,000    700      -                      525     2,100

100095265   023144600   DUANE READE                        NEW YORK         NY   10023     WALGREENS         BD6227676   2,000   1,300   2,400   1,100   1,000   1,930   1,622    9,730

100095267   023144626   DUANE READE                        NEW YORK         NY   10025     WALGREENS         BD6241450   1,800    900    1,000   1,500    500    1,100   1,133    6,800

100094548   023138123   DUANE READE                        BROOKLYN         NY   11235     WALGREENS         BD6247298    600    2,700   1,700   1,100   1,000   1,800   1,483    8,900

100095268   023144634   DUANE READE                        NEW YORK         NY   10018     WALGREENS         BD6256514   1,400   1,900   1,200    800     700     600    1,100    6,600

100086771   025082768   ESSENTIA HEALTH 340B                SUPERIOR        WI   54880   PHS 340B HOSPITAL   BD6269080   5,500   7,000   8,000   7,900   2,500   6,800   6,283   37,700

100060808   025022822   ESSENTIA HEALTH                     SUPERIOR        WI   54880       HOSPITAL        BD6269080   7,000   6,000   3,700   6,900   7,500   5,200   6,050   36,300

100064938   018060947   DELOACH, JOHN M JR              NORTH LITTLE ROCK   AR   72117       HOSPITAL        BD6284513    200     200     200     100     200     100     167     1,000

100095274   023144691   DUANE READE                        NEW YORK         NY   10017     WALGREENS         BD6356340    970    1,700    800     900    1,400    800    1,095    6,570

100095334   023145292   DUANE READE                        NEW YORK         NY   10021     WALGREENS         BD6356352   1,700   3,600   2,200   1,800   3,100   2,400   2,467   14,800

100095273   023144683   DUANE READE                        NEW YORK         NY   10025     WALGREENS         BD6356364           1,100    500     100     600    1,000    660     3,300

100095271   023144667   DUANE READE                        NEW YORK         NY   10003     WALGREENS         BD6356376    100            1,000    500     100     700     480     2,400

100095272   023144675   DUANE READE                        NEW YORK         NY   10025     WALGREENS         BD6387179   1,700   1,800   1,700   1,200   1,900   1,700   1,667   10,000

100055287   046003814   DANIA DISCOUNT DRUGS (CD)         DANIA BEACH       FL   33004     INDEPENDENT       BD6441240   1,000           1,100            600    1,100    950     3,800

100094853   023138651   DUANE READE                       FOREST HILLS      NY   11375     WALGREENS         BD6476609    900    1,900    700     300     900    1,600   1,050    6,300

100095275   023144709   DUANE READE                        NEW YORK         NY   10075     WALGREENS         BD6483212   3,000   1,800   1,000    700    2,200   1,700   1,733   10,400

100066815   046076349   DRUGSTORE AND MORE              WEST PALM BEACH     FL   33404     INDEPENDENT       BD6532990                   1,500                           1,500    1,500

100058318   044049262   DIERBERGS DEER CREEK PHARMACY       O'FALLON        MO   63368        CHAIN          BD6537661   3,100   6,000   2,400   5,000   1,700   3,600   3,633   21,800

100092027   052214205   DUNKIN'S PHCY, INC (DUTCH) SF     TUSCALOOSA        AL   35405     INDEPENDENT       BD6538233   1,500   2,100    300     100    1,000    500     917     5,500

100095277   023144725   DUANE READE                        NEW YORK         NY   10065     WALGREENS         BD6552029    700    2,400           1,100   1,600    800    1,320    6,600

100095276   023144717   DUANE READE                        NEW YORK         NY   10075     WALGREENS         BD6557601    900    1,700   1,100    500    2,300   1,700   1,367    8,200

100095278   023144733   DUANE READE                        NEW YORK         NY   10019     WALGREENS         BD6570368   1,100   1,500   1,600    400    1,500   1,300   1,233    7,400

100050638   004053389   DAN'S PHARMACY(X)                  NANTUCKET        MA   02554     INDEPENDENT       BD6599457   2,200   1,900   1,700   1,400   1,100    600    1,483    8,900

100094131   004091454   EATON APOTHECARY #2040                LYNN          MA   01901   LONG TERM CARE      BD6601618   3,300   1,100   2,800   1,700   2,400   1,000   2,050   12,300

100094895   023138735   DUANE READE                        GLEN OAKS        NY   11004     WALGREENS         BD6608701    700     500             500             500     550     2,200

100069983   025036152   DAKOTA MART INC-PIERRE    SF         PIERRE         SD   57501     INDEPENDENT       BD6628929   6,700   6,500   6,600   6,000   8,900   4,500   6,533   39,200

100095279   023144741   DUANE READE                        NEW YORK         NY   10022     WALGREENS         BD6649670    400     700    1,000   1,000    800    1,300    867     5,200

100054110   037012302   DUFFEY DRUG UNIT #293/GNP           FRANKLIN        TX   77856     INDEPENDENT       BD6650457   8,800   9,700   7,000   9,500   6,000   4,500   7,583   45,500
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100095280   023144758   DUANE READE                        NEW YORK       NY   10028      WALGREENS         BD6668973     400     1,500     500               1,000     200         720      3,600

100095202   023143925   DUANE READE                      NEW HYDE PARK    NY   11040      WALGREENS         BD6684787    1,000    3,400     600      800      3,300     600        1,617     9,700

100095283   023144782   DUANE READE                        NEW YORK       NY   10012      WALGREENS         BD6745523     500      100      600      130       500      100         322      1,930

100095269   023144642   DUANE READE                        NEW YORK       NY   10065      WALGREENS         BD6745561    1,400    1,800    1,000     900      1,000     700        1,133     6,800

100095281   023144766   DUANE READE                        NEW YORK       NY   10035      WALGREENS         BD6786125     700      800     1,100    1,000      200     1,000        800      4,800

100095009   023138917   DUANE READE                         JAMAICA       NY   11432      WALGREENS         BD6790326     600      100      100      300       700      200         333      2,000

100057993   044046201   DIERBERGS FENTON CROSS PHCY         FENTON        MO   63026         CHAIN          BD6839508    9,800   10,700    8,700    9,700    10,200    8,200       9,550    57,300

100095286   023144816   DUANE READE                        NEW YORK       NY   10038      WALGREENS         BD6885416     500      300     1,500               600      300         640      3,200

100095308   023145037   DUANE READE                        NEW YORK       NY   10119      WALGREENS         BD6923367     300     1,400    1,000               500                  800      3,200

100095284   023144790   DUANE READE                        NEW YORK       NY   10011      WALGREENS         BD6925804    2,200    2,300    2,530    1,600     3,000    1,000       2,105    12,630

100094763   023138420   DUANE READE                       DOUGLASTON      NY   11362      WALGREENS         BD6942204    1,100    1,800    1,800    1,000     2,200    1,800       1,617     9,700

100095285   023144808   DUANE READE                        NEW YORK       NY   10017      WALGREENS         BD6942228     500      200     1,200     600       900      100         583      3,500

100095287   023144824   DUANE READE                        NEW YORK       NY   10003      WALGREENS         BD6977322     200      700      600                         600         525      2,100

100095289   023144840   DUANE READE                        NEW YORK       NY   10040      WALGREENS         BD7002253     200      570      500      (300)     500      600         345      2,070

100094454   023137554   DUANE READE                         BAYSIDE       NY   11360      WALGREENS         BD7019981    2,100    2,100    1,700    1,200     2,400    1,400       1,817    10,900

100095779   023146126   DUANE READE                       WOODHAVEN       NY   11421      WALGREENS         BD7039363    3,000    1,200    1,600    1,500     1,000    2,300       1,767    10,600

100064227   023072207   DUNHAM US ARMY HLTH CLIN (DOD)      CARLISLE      PA   17013   HOSPITAL (FEDERAL)   BD7052614    3,700    2,500    3,100    2,300     2,400    4,000       3,000    18,000

100064238   023073015   (CRD)DUNHAM US ARMY HLTH            CARLISLE      PA   17013   HOSPITAL (FEDERAL)   BD7052614                       600     2,900                          1,750     3,500

100095918   023146431   DUANE READE                       EDGEWATER       NJ   07020      WALGREENS         BD7054353    1,000     780     1,630     630      1,200    1,300       1,090     6,540

100094956   023138768   DUANE READE                         HEWLETT       NY   11557      WALGREENS         BD7075028    2,800    2,100    2,900    1,600     4,000    1,300       2,450    14,700

100095403   023145631   DUANE READE                      NORTH MERRICK    NY   11566      WALGREENS         BD7092670    1,300    2,400    1,300     600      2,400    1,000       1,500     9,000

100055021   012045138   DON'S DRUGS                      SAN BERNARDINO   CA   92411     INDEPENDENT        BD7094129   15,000   10,600   13,500    6,000    16,100    5,500      11,117    66,700

100095282   023144774   DUANE READE                        NEW YORK       NY   10001      WALGREENS         BD7102279     200      900      600      600       600                  580      2,900

100094549   023138131   DUANE READE                        BROOKLYN       NY   11226      WALGREENS         BD7109312    1,400    1,200    1,000     500       500     1,000        933      5,600

100094945   023138743   DUANE READE                        HARTSDALE      NY   10530      WALGREENS         BD7110947    1,500    1,100     700     2,200     3,000    1,000       1,583     9,500

100053036   012069427   DETENTIONS FACILITY PHCY           SAN DIEGO      CA   92123        ALT SITE        BD7140128    3,000    4,500    4,000    6,000      900                 3,680    18,400

100095288   023144832   DUANE READE                        NEW YORK       NY   10023      WALGREENS         BD7165271    1,000    1,800    1,000              1,200     900        1,180     5,900

100095291   023144865   DUANE READE                        NEW YORK       NY   10001      WALGREENS         BD7165283              600                                  600         600      1,200

100050313   018040584   DAVIS CITY PHARMACY              WEATHERFORD      TX   76086    LONG TERM CARE      BD7189699     700      500     3,000     600       200                 1,000     5,000

100095047   023142893   DUANE READE                        LAURELTON      NY   11413      WALGREENS         BD7196620     700     1,300    1,000    1,100      800      600         917      5,500

100095328   023145235   DUANE READE                        NEW YORK       NY   10023      WALGREENS         BD7211167    2,100    2,700    1,420    2,300     1,900    1,200       1,937    11,620

100071211   041140277   DOMINION HOSPITAL        #733     FALLS CHURCH    VA   22044       HOSPITAL         BD7236614      50                50                              80      60       180

100094551   023138156   DUANE READE                        BROOKLYN       NY   11226      WALGREENS         BD7268964     800      100      600      200       200      200         350      2,100

100073949   018143057   BEST VALUE DAN'S PHARMACY CPA       JOSHUA        TX   76058     INDEPENDENT        BD7285249   17,200   13,000   17,100   20,500    11,600   16,500      15,983    95,900

100095624   023145995   DUANE READE                      STATEN ISLAND    NY   10310      WALGREENS         BD7347633    1,900    1,700    1,100    1,000     1,600     500        1,300     7,800

100067377   021006338   DEGOLER PHARMACY         SF       KANSAS CITY     KS   66112     INDEPENDENT        BD7380621   14,000   13,100   14,800   15,100     7,000    9,600      12,267    73,600

100088796   019154559   OMRO PHCY           SF               OMRO         WI   54963     INDEPENDENT        BD7383437   18,000   19,800   17,100   19,800    18,600    9,700      17,167   103,000

100094550   023138149   DUANE READE                        BROOKLYN       NY   11235      WALGREENS         BD7389287     100     1,500     500      700        -       500         550      3,300

100094259   025087445   DEER RIVER HEALTH CARE CTR         DEER RIVER     MN   56636       HOSPITAL         BD7413139     300      100      200      300       900      320         353      2,120

100095297   023144923   DUANE READE                        NEW YORK       NY   10019      WALGREENS         BD7421770     400      200     1,500                        300         600      2,400

100104664   010235259   DARTMOUTH PHY INC APSC              CANTON        OH   44708     INDEPENDENT        BD7427481   11,100   10,200    9,800   12,900     9,500   10,000      10,583    63,500

100095293   023144881   DUANE READE                        NEW YORK       NY   10007      WALGREENS         BD7503089     200              1,000               500       -          425      1,700

100095294   023144899   DUANE READE                        NEW YORK       NY   10075      WALGREENS         BD7503609    1,400    1,900    1,500     300      1,300     700        1,183     7,100

100094552   023138164   DUANE READE                        BROOKLYN       NY   11210      WALGREENS         BD7521986     500      600      600      100       900     1,000        617      3,700
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100095292   023144873   DUANE READE                         NEW YORK        NY   10020      WALGREENS         BD7522015     300               600      200      400      200      340      1,700

100072760   018143206   DIMMITT PHARMACY      CPA            DIMMITT        TX   79027     INDEPENDENT        BD7529033   15,200   19,800   31,300     600     4,100   11,500   13,750    82,500

100059166   044044065   DIERBERGS BRENTWOOD POINTE-#19      SAINT LOUIS     MO   63144         CHAIN          BD7555228    1,300    1,500    1,700     400     2,400     700     1,333     8,000

100052889   018081091   DARNALL ARMY MEDICAL CENTER         FORT HOOD       TX   76544   HOSPITAL (FEDERAL)   BD7562843   75,000   67,600   72,200   65,200   33,600   55,400   61,500   369,000

100094554   023138180   DUANE READE                         BROOKLYN        NY   11223      WALGREENS         BD7564253     600      700      400      700      100      100      433      2,600

100096051   023146746   DUANE READE                         MAYWOOD         NJ   07607      WALGREENS         BD7581879     600      700     1,700              300      300      720      3,600

100065234   049076059   DEARBORN HEIGHTS PHARMACY        DEARBORN HEIGHTS   MI   48127     INDEPENDENT        BD7590121   17,400   27,700   25,500   25,700   27,600   28,200   25,350   152,100

100052531   020042424   DIAMONDBACK DRUGS                  SCOTTSDALE       AZ   85251     INDEPENDENT        BD7590448    2,200    2,800    2,300    1,100    4,400    3,200    2,667    16,000

100094553   023138172   DUANE READE                         BROOKLYN        NY   11241      WALGREENS         BD7595955    2,600    2,700    2,000    1,000    2,700    2,900    2,317    13,900

100095625   041151068   DUANE READE                       STATEN ISLAND     NY   10309      WALGREENS         BD7601001    2,300    2,000    1,500    2,400    2,400     600     1,867    11,200

100094555   023138198   DUANE READE                         BROOKLYN        NY   11212      WALGREENS         BD7618412     600     1,200     100      700      500      600      617      3,700

100095296   023144915   DUANE READE                         NEW YORK        NY   10169      WALGREENS         BD7642968     800     1,200    1,900     300     1,700     700     1,100     6,600

100094508   023137745   DUANE READE                           BRONX         NY   10468      WALGREENS         BD7678381     200      800     2,100     500     2,400     800     1,133     6,800

100095999   023146647   DUANE READE                         JERSEY CITY     NJ   07306      WALGREENS         BD7688976     700      800     2,100     800     1,500    1,400    1,217     7,300

100096000   023146654   DUANE READE                         JERSEY CITY     NJ   07310      WALGREENS         BD7688988     400      400     1,400     800      600      500      683      4,100

100057804   046099879   DEGC ENTERPRISES US INC            CLEARWATER       FL   33762     MAIL SERVICE       BD7689687    1,500    1,600    1,200     500                       1,200     4,800

100095298   023144931   DUANE READE                         NEW YORK        NY   10003      WALGREENS         BD7694082     900      400     1,700              200      500      740      3,700

100051097   008019976   DOLLAR DRUG/JGS INC CPA             SANTA ROSA      CA   95401     INDEPENDENT        BD7702815    8,500   14,400   15,800   13,800   14,700    2,870   11,678    70,070

100059550   023035576   DRUG DEPOT CORP (Z)(ARX)              BRONX         NY   10456     INDEPENDENT        BD7725926              500      700     1,400              500      775      3,100

100095301   023144964   DUANE READE                         NEW YORK        NY   10011      WALGREENS         BD7759383     900      200     1,500     600      600     1,600     900      5,400

100095300   023144956   DUANE READE                         NEW YORK        NY   10016      WALGREENS         BD7759395    1,300    1,900    1,100    1,400     500     1,400    1,267     7,600

100095528   023145763   DUANE READE                         RIDGEWOOD       NY   11385      WALGREENS         BD7761679     700      600              1,100             1,500     975      3,900

100094562   023138263   DUANE READE                         BROOKLYN        NY   11249      WALGREENS         BD7761693     300     1,600    2,000    1,300    1,300    1,400    1,317     7,900

100095336   023145318   DUANE READE                         NEW YORK        NY   10025      WALGREENS         BD7799921     600     1,370     200      500     1,100     500      712      4,270

100095303   023144980   DUANE READE                         NEW YORK        NY   10128      WALGREENS         BD7821324     700      700     1,100     500      200      900      683      4,100

100096313   023147272   DUANE READE                       RICHMOND HILL     NY   11419      WALGREENS         BD7831666    1,100     600               700              1,100     875      3,500

100095304   023144998   DUANE READE                         NEW YORK        NY   10004      WALGREENS         BD7831793              600      600      500                        567      1,700

100096318   023147306   DUANE READE                      ROOSEVELT ISLAND   NY   10044      WALGREENS         BD7883538     600      900      100     1,000     800      600      667      4,000

100105801   041153759   GEORGE WASHINGTON UNIV HOSP        WASHINGTON       DC   20037       HOSPITAL         BD7904445              200      500      200      400      400      340      1,700

100087887   019151282   DEGEN BERGLUND, INC - ONALASKA      ONALASKA        WI   54650     INDEPENDENT        BD7911820    6,200    6,600   19,100    4,600             2,000    7,700    38,500

100092950   019161570   DEGEN BERGLUND, INC 340B            ONALASKA        WI   54650       HOSPITAL         BD7911820    1,900    1,400    1,200    1,500                      1,500     6,000

100092950   019161570   DEGEN BERGLUND, INC 340B            ONALASKA        WI   54650   PHS 340B HOSPITAL    BD7911820                                         600     3,500    2,050     4,100

100071571   018144220   DEAN'S PHCY #2 STUTTGART CPA        STUTTGART       AR   72160     INDEPENDENT        BD7935781   15,900   14,600   12,700   17,100    6,500    7,500   12,383    74,300

100095995   023146613   DUANE READE                         IRVINGTON       NJ   07111      WALGREENS         BD7955618     300      900      700      100      100     1,000     517      3,100

100095022   023142869   DUANE READE                        KEW GARDENS      NY   11415      WALGREENS         BD7971131     400      900     1,100    1,100              600      820      4,100

100095633   023146019   DUANE READE                        STONY BROOK      NY   11790      WALGREENS         BD8016253     900      900     2,100     500     1,300     500     1,033     6,200

100054452   037052787   DARCY PHARMACY                       HOUSTON        TX   77072     INDEPENDENT        BD8059493     900      900      300      740                        710      2,840

100095299   023144949   DUANE READE                         NEW YORK        NY   10029      WALGREENS         BD8080056     200     1,000                                700      633      1,900

100094422   023137513   DUANE READE                          ASTORIA        NY   11103      WALGREENS         BD8081060    1,100    1,500    2,030     900     1,800    1,400    1,455     8,730

100095290   023144857   DUANE READE                         NEW YORK        NY   10019      WALGREENS         BD8083519     200     2,100    1,500             1,300    1,100    1,240     6,200

100095307   023145029   DUANE READE                         NEW YORK        NY   10028      WALGREENS         BD8088317    1,260    2,460    1,130    1,160    1,000     900     1,318     7,910

100095302   023144972   DUANE READE                         NEW YORK        NY   10019      WALGREENS         BD8090691     700      790      100               100     1,000     538      2,690

100094557   023138214   DUANE READE                         BROOKLYN        NY   11203      WALGREENS         BD8140585     100                                                   100       100

100095947   023146555   DUANE READE                          FORT LEE       NJ   07024      WALGREENS         BD8176679     800      500      500      500      600      100      500      3,000
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100095967   023146563   DUANE READE                          HACKENSACK       NJ   07601    WALGREENS        BD8180870    1,700     800     2,600     900     1,900     900     1,467     8,800

100090685   004089789   DRUG WORLD OF COLD SPRING, LLC       COLD SPRING      NY   10516    INDEPENDENT      BD8188054    1,500    1,400    1,200    1,300     800      400     1,100     6,600

100095627   041151084   DUANE READE                         STATEN ISLAND     NY   10306    WALGREENS        BD8219900    3,300    3,500    2,700    1,600    3,600    1,800    2,750    16,500

100058414   044050351   DIERBERGS GREEN MOUNT CROSSING         SHILOH         IL   62269       CHAIN         BD8223428    1,100    1,100    1,500    1,500    2,000    1,200    1,400     8,400

100100543   021171934   WALGREENS #15763       DSD              PRYOR         OK   74361    WALGREENS        BD8226335            10,040   33,020   36,800   27,700   26,000   26,712   133,560

100094556   023138206   DUANE READE                           BROOKLYN        NY   11217    WALGREENS        BD8227375    1,200     500      700      400      900      200      650      3,900

100095312   023145078   DUANE READE                           NEW YORK        NY   10009    WALGREENS        BD8263143     200     2,200    1,600     500     1,900    1,300    1,283     7,700

100060146   019052209   DOCTORS PARK PHARMACY INC             COLUMBUS        IN   47203   LONG TERM CARE    BD8269703     400      300      200     1,300                       550      2,200

100095310   023145052   DUANE READE                           NEW YORK        NY   10013    WALGREENS        BD8290621             1,100     600               500      600      700      2,800

100053712   024026203   DRUGTOWN PHARMACY #3                SANTA MONICA      CA   90403    INDEPENDENT      BD8378336    5,200    3,900    3,600    3,300     500      500     2,833    17,000

100095311   023145060   DUANE READE                           NEW YORK        NY   10128    WALGREENS        BD8379174     600     1,300              100     1,700     900      920      4,600

100058488   044050658   DAVIS DRUGS LONE OAK     APSC         PADUCAH         KY   42003    INDEPENDENT      BD8382246    7,500    8,500    8,500   11,500   12,000    7,100    9,183    55,100

100055195   032074880   WHITE CROSS II/DEBLAQUIERC ENT        SANDPOINT       ID   83864    INDEPENDENT      BD8388034   13,500   12,000   16,500   17,500    5,600    6,500   11,933    71,600

100095431   023145672   DUANE READE                          OZONE PARK       NY   11417    WALGREENS        BD8507393     200      100      200               100               150       600

100095305   023145003   DUANE READE                           NEW YORK        NY   10039    WALGREENS        BD8615239     900      900     1,500     900     1,800     800     1,133     6,800

100058250   044052381   DIERBERGS TOWN CTR PHARMACY           WILDWOOD        MO   63040       CHAIN         BD8622955    3,100    2,500    6,000    1,700    4,500    1,300    3,183    19,100

100074998   019160812   DUPAGE CONVALESCENT CO SVS PHY        WHEATON         IL   60187   LONG TERM CARE    BD8623767              100      100      400      500               275      1,100

100095626   041151076   DUANE READE                         STATEN ISLAND     NY   10306    WALGREENS        BD8632146    3,100    1,900    2,600    1,600    2,900    1,600    2,283    13,700

100095330   023145250   DUANE READE                           NEW YORK        NY   10022    WALGREENS        BD8699716     800     3,870     600     2,500    2,500    1,800    2,012    12,070

100095314   023145094   DUANE READE                           NEW YORK        NY   10023    WALGREENS        BD8713895    1,400     100      500      700              1,600     860      4,300

100099846   018399394   WALGREENS #15773       DSD              TULSA         OK   74129    WALGREENS        BD8718011     500     5,500   24,500   18,100   18,500   19,500   14,433    86,600

100099844   018399378   WALGREENS #15770       DSD              TULSA         OK   74128    WALGREENS        BD8718023             9,200   28,400   27,320   31,200   20,000   23,224   116,120

100095315   023145102   DUANE READE                           NEW YORK        NY   10024    WALGREENS        BD8767280    3,090    1,210    3,700     600     1,900    5,600    2,683    16,100

100094187   004091702   DORCHESTER HS MULT SER CT 340B       DORCHESTER       MA   02122   PHS 340B CLINIC   BD8771140     300      700      800      500      700      400      567      3,400

100094196   004091710   DORCHESTER HS MULT SER CT MARK       DORCHESTER       MA   02122    INDEPENDENT      BD8771140                                                  600      600       600

100091980   023136424   DUANE READE (WALGREENS #14367)        BROOKLYN        NY   11220    WALGREENS        BD8776796    1,100     200      600      500      100               500      2,500

100095306   023145011   DUANE READE                           NEW YORK        NY   10029    WALGREENS        BD8788652     600     1,200    1,500     500     1,800     500     1,017     6,100

100095316   023145110   DUANE READE                           NEW YORK        NY   10022    WALGREENS        BD8836857    1,600    1,500    1,000     630      700      800     1,038     6,230

100056530   052094193   DEAN'S LONG TERM PHARMACY              CENTRE         AL   35960   LONG TERM CARE    BD8846644    6,500    7,200    6,000    6,400    8,500    5,000    6,600    39,600

100095318   023145136   DUANE READE                           NEW YORK        NY   10028    WALGREENS        BD8864894     600      200     1,000     100     1,300    1,000     700      4,200

100095319   023145144   DUANE READE                           NEW YORK        NY   10012    WALGREENS        BD8950203     100     1,200     120               200               405      1,620

100095321   023145169   DUANE READE                           NEW YORK        NY   10021    WALGREENS        BD8982755   11,400   11,600   12,000   15,500    7,400   20,600   13,083    78,500

100094559   023138230   DUANE READE                           BROOKLYN        NY   11204    WALGREENS        BD8986070                                500      600               550      1,100

100095361   023145565   DUANE READE                           NEW YORK        NY   10003    WALGREENS        BD8986094    1,400    1,500     600     1,900     500     2,800    1,450     8,700

100068916   049143123   DELTON FAMILY PHARMACY       CPA       DELTON         MI   49046    INDEPENDENT      BD9059812   39,900    4,100   33,700   25,800   29,900    1,100   22,417   134,500

100066791   021008706   DEGOLER PHARMACY       SF            KANSAS CITY      KS   66109    INDEPENDENT      BD9064990   11,200   11,300   12,000   16,600    9,700    9,600   11,733    70,400

100057618   049084558   *DSP-GRR                            GRAND RAPIDS      MI   49503    MAIL SERVICE     BD9076008    2,900    3,500    2,600    4,100    2,400             3,100    15,500

100052844   020098293   *DESERT WEST PHARMACY                  KINGMAN        AZ   86401   LONG TERM CARE    BD9084396    4,700                                                 4,700     4,700

100060718   023010017   DULARI CORP(X)(GNP)                    JAMAICA        NY   11435    INDEPENDENT      BD9105140     100      400      500      200      300               300      1,500

100056345   019033654   DEVON DISCOUNT PHARMACY                CHICAGO        IL   60660    INDEPENDENT      BD9114505     100                                                   100       100

100093926   004091157   DRUG WORLD OF AMENIA, LLC              AMENIA         NY   12501    INDEPENDENT      BD9123946    2,400    1,100    1,500     800      800      300     1,150     6,900

100071206   018140202   DAY SURG CTR@ DENTON REG HCA           DENTON         TX   76210      HOSPITAL       BD9128807     100      100               100                        100       300

100095317   023145128   DUANE READE                           NEW YORK        NY   10029    WALGREENS        BD9133670    1,400    1,900    1,300    1,100    1,500    1,700    1,483     8,900

100055658   018101535   DRIPPING SPRINGS PHARMACY CPA      DRIPPING SPRINGS   TX   78620    INDEPENDENT      BD9201613    8,900    7,100    9,700   13,800    2,300    8,000    8,300    49,800
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100087889   019151308   DEGEN BERGLUND, INC - HOLMEN             HOLMEN         WI   54636       INDEPENDENT        BD9275024    4,100     2,600    3,800    3,700    2,040     1,300     2,923     17,540

100092957   019161596   DEGEN BERGLUND, INC 340B                 HOLMEN         WI   54636     PHS 340B HOSPITAL    BD9275024    1,400     3,800    1,800    1,500              2,500     2,200     11,000

100070777   041145078   DANVILLE REGIONAL MED CTR #712           DANVILLE       VA   24541         HOSPITAL         BD9330755    1,700     1,900    2,200    2,300    1,800     2,400     2,050     12,300

100066421   044143073   DUNCAN CLINIC PHARMACY         CPA       MAYFIELD       KY   42066       INDEPENDENT        BD9423358   10,500              6,000             5,500    18,700    10,175     40,700

100095313   023145086   DUANE READE                             NEW YORK        NY   10282       WALGREENS          BD9433157     800       100      500     1,000               200       520       2,600

100095324   023145193   DUANE READE                             NEW YORK        NY   10030       WALGREENS          BD9440594     800       800     1,500    1,200    1,400      500      1,033      6,200

100095323   023145185   DUANE READE                             NEW YORK        NY   10022       WALGREENS          BD9471828    1,500      900      500      100      500      1,300      800       4,800

100085784   023104018   DAYTON PARK PHARMACY (ARX)               DAYTON         NJ   08810       INDEPENDENT        BD9484231     100       300      100      400                100       200       1,000

100067090   019143156   DUNDEE PHARMACY           CPA          NORTHBROOK       IL   60062       INDEPENDENT        BD9488695    4,400     6,100    7,300    9,200    2,500     5,000     5,750     34,500

100070209   018176297   DENTON PRESCRIPTION SHOP 340B            DENTON         TX   76201      PHS 340B CLINIC     BD9549291     800                100                                   450        900

100091984   023136440   DUANE READE (WALGREENS #14384)            BRONX         NY   10466       WALGREENS          BD9606510     600       300      600      100      200                 360       1,800

100066255   046050856   DAVITA RX LLC                            ORLANDO        FL   32819   HOME HEALTH SERVICES   BD9640524   12,600    16,400   14,500   14,200             (1,900)   11,160     55,800

100064755   044055558   DIERBERGS LAFAYETTE PHARMACY           MANCHESTER       MO   63011          CHAIN           BD9643950    3,700     4,100    3,900    3,500    4,000     2,500     3,617     21,700

100095320   023145151   DUANE READE                             NEW YORK        NY   10107       WALGREENS          BD9665704    3,830     3,000    3,030    1,900    4,100     2,300     3,027     18,160

100095322   023145177   DUANE READE                             NEW YORK        NY   10012       WALGREENS          BD9665716               100      100      560      100       700       312       1,560

100059338   044056606   DIERBERGS WENTZVILLE PHCY, RX          WENTZVILLE       MO   63385          CHAIN           BD9677317    5,600     4,600    5,100    3,600    3,800     3,600     4,383     26,300

100060527   032117747   DOWNTOWN PHARMACY                       MEDFORD         OR   97501       INDEPENDENT        BD9680427   11,000    10,500   13,500   10,100   10,800     6,000    10,317     61,900

100083378   025064865   ESSENTIA HEALTH                          DULUTH         MN   55805     PHS 340B HOSPITAL    BD9715092    5,000     5,500    6,500    6,900     600      2,500     4,500     27,000

100060811   025022855   ESSENTIA HEALTH                          DULUTH         MN   55805         HOSPITAL         BD9715092    2,000     2,000             3,700    2,500     3,000     2,640     13,200

100094806   023138545   DUANE READE                             ELMHURST        NY   11373       WALGREENS          BD9771951     100       500      500               200                 325       1,300

100059847   018000448   DAVITA RX, LLC                           COPPELL        TX   75019   HOME HEALTH SERVICES   BD9789833   41,500    40,100   35,700   32,000   (4,300)             29,000    145,000

100095325   023145201   DUANE READE                             NEW YORK        NY   10011       WALGREENS          BD9855581     600      1,100    2,000     700     1,400      800      1,100      6,600

100051356   008030312   DAVITA RX LLC       /H                  SAN BRUNO       CA   94066   HOME HEALTH SERVICES   BD9865859   20,400    23,600   22,700   22,300   (4,400)   (4,600)   13,333     80,000

100060316   025023713   DAKOTA CLINIC PHARMACY                    FARGO         ND   58103       INDEPENDENT        BD9892628               300      400     6,000              3,000     2,425      9,700

100058219   044067215   DIERBERGS EDWARDSVILLE         RX     EDWARDSVILLE      IL   62025          CHAIN           BD9958185    3,100     3,000    2,600    6,800     700       500      2,783     16,700

100073025   018143255   EW THOMSON DRUG CO        CPA             DELHI         LA   71232       INDEPENDENT        BE0190936   13,000    11,700   15,100    6,500   11,000     5,800    10,517     63,100

100066385   055143180   ELGIN PHARMACY(X)        CPA              ELGIN         SC   29045       INDEPENDENT        BE0359756   21,300    17,100   26,700   14,600   24,500    17,600    20,300    121,800

100083432   019135236   ELMER'S PHAR        SF                  ESCANABA        MI   49829       INDEPENDENT        BE0424642    3,000     2,500    2,500    7,100   18,200    15,000     8,050     48,300

100069093   012068338   EDGEMOOR GERIATRIC HOSP PHCY             SANTEE         CA   92071     LONG TERM CARE       BE0843222    2,900     3,000    2,100    3,900   (1,000)              2,180     10,900

100059369   023002584   ESTHER PHARMACY INC(Z)(B)(GNP)           YONKERS        NY   10701       INDEPENDENT        BE0897465     100       400               400     2,000                725       2,900

100071215   017140046   EASTERN IDAHO REG MED CT #712          IDAHO FALLS      ID   83404         HOSPITAL         BE1194810    4,000     7,200    5,500    3,400    8,600     5,120     5,637     33,820

100057778   056011635   ELLIS PHARMACY (GNP)                   PHILADELPHIA     PA   19130       INDEPENDENT        BE1811074    2,000     1,000     500      500               1,000     1,000      5,000

100071214   017140038   EASTERN IDAHO REG BEHAVIO #712         IDAHO FALLS      ID   83404         HOSPITAL         BE1839298     100       100      250      250                          175        700

100056375   019025395   EASTLAND PHARMACY                      BLOOMINGTON      IL   61701       INDEPENDENT        BE1878947    2,000                       1,200    7,100     4,000     3,575     14,300

100092506   052214510   ERLANGER MED CTR NORTH (WAC)          CHATTANOOGA       TN   37415         HOSPITAL         BE2133495     100                         100       80       300       145        580

100068766   052146480   ERLANGER MEDICL CTR NORTH 340B        CHATTANOOGA       TN   37415     PHS 340B HOSPITAL    BE2133495               100      100                                   100        200

100065482   052059741   ERLANGER NORTH HOSPITAL               CHATTANOOGA       TN   37415         HOSPITAL         BE2133495                                 100                          100        100

100062939   052051201   ED HOLCOMBE DISCOUNT PHARMACY            CULLMAN        AL   35055       INDEPENDENT        BE2145250   25,900    28,800   29,200   28,600   31,100    24,200    27,967    167,800

100054322   056000760   EPISCOPO'S MERCERVILLE PHCY(Z)         MERCERVILLE      NJ   08619       INDEPENDENT        BE2150592     600      1,000    1,600     600      200       700       783       4,700

100057780   056011692   EPISCOPOS PHARMACY(Z)(GNP)               TRENTON        NJ   08610       INDEPENDENT        BE2227709    3,500     3,000    3,100    2,800    3,800     1,200     2,900     17,400

100096729   040115311   EMORY AESTHETIC CTR                      ATLANTA        GA   30327         HOSPITAL         BE2277627     200                                   80                 140        280

100062275   018064576   *ELGIN DISC PHCY         SF               ELGIN         OK   73538       INDEPENDENT        BE2900858   (2,000)                                                  (2,000)    (2,000)

100071291   046140897   EDWARD WHITE HOSPITAL         #712   SAINT PETERSBURG   FL   33713         HOSPITAL         BE3031539     400      1,000     700      550      300                 590       2,950

100062721   018067876   ECONOMY PHARMACY                        MUSKOGEE        OK   74403       INDEPENDENT        BE3181017   43,900    45,400   37,600   34,900   50,100    28,300    40,033    240,200
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100062318   021001339   ELLSWORTH COUNTY MEDICAL CTR            ELLSWORTH       KS   67439       HOSPITAL        BE3698783                400       100       500        80       200       256       1,280

100061487   023011734   ESSEX STREET CORP (ARX)                 BROOKLYN        NY   11212     INDEPENDENT       BE4136758      100       100       200                           500       225        900

100050290   004041889   E W MOORE & SON PHARMACY (GNP)           BINGHAM        ME   04920     INDEPENDENT       BE4260662     2,000     2,000     2,500     2,500     1,000     3,000     2,167     13,000

100110230   018405712   ERIC'S PHARMACY CPA                     SHAWNEE         OK   74804     INDEPENDENT       BE4342111              40,200     5,600    10,800      200     17,400    14,840     74,200

100056122   046002352   ELOMAR DRUGS CORP                         MIAMI         FL   33145     INDEPENDENT       BE4611388      800      1,700     1,100     1,300      400      1,100     1,067      6,400

100085919   023104257   EDISON DRUGS & SURGCL INC (ARX         PERTH AMBOY      NJ   08861     INDEPENDENT       BE4838629      100       100       100                           100       100        400

100058685   044040550   EAST JACKSON FAMILY MEDICAL              JACKSON        TN   38301       HOSPITAL        BE4970883     5,600     9,500     6,000     7,300     5,800     4,000     6,367     38,200

100064664   052042895   ERLANGER PHARMACY(RETAIL)             CHATTANOOGA       TN   37403     INDEPENDENT       BE5103128    10,500    18,500    18,200    12,800    31,700    24,000    19,283    115,700

100068762   052146464   ERLANGER PHCY 340B-MCP                CHATTANOOGA       TN   37403   PHS 340B HOSPITAL   BE5103128    16,000    11,000     7,000    13,000                        11,750     47,000

100064578   052040881   ERLANGER PHARMACY                     CHATTANOOGA       TN   37406     INDEPENDENT       BE5103142     3,800     2,500     3,300     2,700     5,600     3,700     3,600     21,600

100068676   052146456   ERLANGER PHCY 340B-DIPS-DA            CHATTANOOGA       TN   37406    PHS 340B CLINIC    BE5103142     1,700     3,200      700      1,500                700      1,560      7,800

100068673   052146449   ERLANGER PHCY 340B-DIPS- SS           CHATTANOOGA       TN   37406    PHS 340B CLINIC    BE5103142      600       600       700      1,100                500       700       3,500

100064480   052041251   ERLANGER PHARMACY                     CHATTANOOGA       TN   37415     INDEPENDENT       BE5103154     2,550     2,550     3,300     1,000     4,580      500      2,413     14,480

100068765   052146472   ERLANGER PHARMACY 340B RB             CHATTANOOGA       TN   37405   PHS 340B HOSPITAL   BE5103154     1,000     1,000      500      4,800                500      1,560      7,800

100056334   046000448   EIGHTY EIGHT PHARMACY, INC                MIAMI         FL   33144     INDEPENDENT       BE5190347                200       200       200       400                 250       1,000

100101297   049194480   EDWARD W SPARROW HOSP O/P WAC            LANSING        MI   48912   PHS 340B HOSPITAL   BE5314050    22,800    19,500    26,300    27,100    36,100    25,500    26,217    157,300

100065411   049087957   EDWARD W SPARROW HOSP OP 340B            LANSING        MI   48912   PHS 340B HOSPITAL   BE5314050    28,800    28,300    25,700    22,200    15,800    20,900    23,617    141,700

100072917   018143230   ELAM ROAD PHARMACY        CPA             DALLAS        TX   75217     INDEPENDENT       BE5575343     1,200     3,700     3,500     5,500    10,000     3,000     4,483     26,900

100060776   038312652   *EMISSARY PHCY & INFUS SERV SF           CASPER         WY   82609   LONG TERM CARE      BE5643247    16,700     1,000                                             8,850     17,700

100072403   046114355   E P MEDICAL EQUIPMENT, INC                MIAMI         FL   33183     INDEPENDENT       BE5832767      900       800      1,000      900       500       800       817       4,900

100051337   008036293   EDEN MEDICAL CENTER       /S          CASTRO VALLEY     CA   94546       HOSPITAL        BE5902019     1,200     1,600     1,000      500      1,820     3,320     1,573      9,440

100075686   008090688   EDEN MEDICAL CENTER 340B              CASTRO VALLEY     CA   94546   PHS 340B HOSPITAL   BE5902019     2,000     1,400     1,600     2,200     1,000      300      1,417      8,500

100064085   052030429   EVERGREEEN MEDICAL CENTER @             EVERGREEN       AL   36401       HOSPITAL        BE6032116      200       200       200       400       600                 320       1,600

100069187   055069583   E.CAROLINA HLTH-CHOWAN,INC               EDENTON        NC   27932       HOSPITAL        BE6113877      400       900       300       700       400       500       533       3,200

100072837   040140095   CARTERSVILLE MEDICAL CTR #712          CARTERSVILLE     GA   30120       HOSPITAL        BE6185311     1,500     2,000     1,250     1,800     3,400               1,990      9,950

100086412   040106146   EMORY JOHNS CREEK HOSP         NOV       DULUTH         GA   30097       HOSPITAL        BE6185323      500       700       900      1,000      680       800       763       4,580

100071287   040140186   EMORY EASTSIDE MED CTR     #712         SNELLVILLE      GA   30078       HOSPITAL        BE6185359     2,100     3,050     3,500     2,800     3,000     2,800     2,875     17,250

100055428   040048108   ELDER-CARE PHARMACY-ACWORTH             ACWORTH         GA   30101   LONG TERM CARE      BE6194322    35,400    36,900    32,000    32,000    44,300    22,300    33,817    202,900

100071289   018140228   OU MEDICAL CENTER EDMOND HCA             EDMOND         OK   73034       HOSPITAL        BE6200872      600       650       600      1,050      400       440       623       3,740

100096464   010231670   EPHRAIM MCDOWELL REG RTL WAC             DANVILLE       KY   40422   PHS 340B HOSPITAL   BE6508622     3,700     4,400     3,600     5,900     7,600     4,600     4,967     29,800

100076952   010117697   EPHRAIM MCDOWELL REG (340B)              DANVILLE       KY   40422   PHS 340B HOSPITAL   BE6508622     3,000     4,200     2,200     1,300      300                2,200     11,000

100053284   020062331   EL PASO SPECIALTY/DBA SURG.INS           EL PASO        TX   79902       HOSPITAL        BE6633754      800       400       700       400       520       440       543       3,260

100107554   021174318   ECONO-MED PHARMACY, INC CPA          CHEROKEE VILLAGE   AR   72529     INDEPENDENT       BE6635366    13,500    12,600    15,700    12,000    12,400    12,600    13,133     78,800

100092122   021168013   EXPRESS SCRIPTS PHCY      (B)           SAINT LOUIS     MO   63134     MAIL SERVICE      BE6824317   130,900   289,500   149,500   143,300    10,000             144,640    723,200

100091233   021167742   EXPRESS SCRIPTS    MAIN                 SAINT LOUIS     MO   63134     MAIL SERVICE      BE6824317                         3,600      100     18,880   105,780    32,090    128,360

100092123   021168021   EXPRESS SCRIPTS PHCY      (A)           SAINT LOUIS     MO   63134     MAIL SERVICE      BE6824317                                            13,100              13,100     13,100

100068350   020140202   SURG CTR OF EL PASO-EAST #712            EL PASO        TX   79915       HOSPITAL        BE6998516                 50                                                50         50

100053673   024080077   HEALTH CARE PHARMACY                  MONTEREY PARK     CA   91754     INDEPENDENT       BE7072921     1,200      900       600       100                           700       2,800

100064243   019007856   ELM PLAZA PHARMACY        CPA            HINSDALE       IL   60521     INDEPENDENT       BE7165942     5,700     4,000     4,800     2,600     5,700     6,000     4,800     28,800

100052956   012026906   EL TORO PHARMACY                       LAGUNA HILLS     CA   92653     INDEPENDENT       BE7169231     4,400     3,200     6,200     5,700      400      5,100     4,167     25,000

100087440   024111369   PREMIER PHARMACY #4                   VALLEY VILLAGE    CA   91607   LONG TERM CARE      BE7790240     2,300     2,800     2,500     1,000     4,400     1,500     2,417     14,500

100056840   018042275   DRUG EMPORIUM 240 RX                   LITTLE ROCK      AR   72205        CHAIN          BE8121220    10,800    11,500    11,900    12,900    11,700     9,920    11,453     68,720

100092108   020158923   ESI MAIL PHARMACY SERV, INC(A)            TEMPE         AZ   85284     MAIL SERVICE      BE8131625                                              700                 700        700

100092107   020158915   ESI MAIL PHARMACY SERV, INC(B)            TEMPE         AZ   85284     MAIL SERVICE      BE8131625     1,100     1,300      500     (5,500)                         (650)    (2,600)
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100056845   018042358   DRUG EMPORIUM 210 RX                  SHREVEPORT     LA   71105        CHAIN          BE8171376   15,700   16,200   12,500   21,200   12,500   10,700   14,800    88,800

100054285   037046672   DRUG EMPORIUM 220 RX                   LAFAYETTE     LA   70506        CHAIN          BE8171388    7,800    7,100    9,100    7,700   13,500    7,800    8,833    53,000

100087578   037124909   DRUG EMPORIUM 340B                     LAFAYETTE     LA   70506   PHS 340B HOSPITAL   BE8171388     500               500                                 500      1,000

100062172   052048272   EVI PHARMACY SERVICES                 BIRMINGHAM     AL   35235   LONG TERM CARE      BE8485319                               4,100    3,000             3,550     7,100

100056176   040053033   ELDER-CARE PHARMACY HAWK             HAWKINSVILLE    GA   31036   LONG TERM CARE      BE8491324   39,700   40,700   43,500   39,600   40,780   34,300   39,763   238,580

100055429   040048124   ELDER-CARE PHARMACY/AUGUSTA            AUGUSTA       GA   30909   LONG TERM CARE      BE8491386   10,000   12,500   12,200   16,700    7,080   11,500   11,663    69,980

100057757   046006874   EL JARDIN PHARMACY, INC                 HIALEAH      FL   33012     INDEPENDENT       BE8537562     700      600      900      400                        650      2,600

100072929   010160366   ELKHORN DRUG INC          CPA        ELKHORN CITY    KY   41522     INDEPENDENT       BE8565042   39,800   38,700   32,040   10,100   42,900   19,900   30,573   183,440

100074672   018176594   EVERETT'S PHARMACY SONORA               SONORA       TX   76950     INDEPENDENT       BE8778803    9,900   11,500   10,100    9,300    6,100    4,900    8,633    51,800

100057880   044000448   EXPRESS PHARMACY          APSC           ALMO        KY   42020     INDEPENDENT       BE8840844    4,000    2,000    8,000    9,500                      5,875    23,500

100106711   020166215   SUMMIT PHARMACY INC                     PHOENIX      AZ   85029   LONG TERM CARE      BE8869426   35,600   34,600   32,200   36,600   18,800   28,000   30,967   185,800

100108850   008117473   ELMORE PHCY CPA                        RED BLUFF     CA   96080     INDEPENDENT       BE8914459   37,100   35,000   37,200   36,400   43,900   12,800   33,733   202,400

100053258   056009209   EXTON PHCY AT MARCHWOOD(X(GNP)          EXTON        PA   19341     INDEPENDENT       BE8948044    1,500    1,100     900     4,200    3,400     300     1,900    11,400

100052794   052094532   ERLANGER PHARMACY                    CHATTANOOGA     TN   37421     INDEPENDENT       BE9000693    3,000    5,000    2,000    1,500   10,000    1,600    3,850    23,100

100068510   052146431   ERLANGER PHARMACY 340B-EB            CHATTANOOGA     TN   37421   PHS 340B HOSPITAL   BE9000693    2,000    1,000    3,000    6,700             2,000    2,940    14,700

100073527   049133249   EAST JORDAN FAMILY PHARMACY           EAST JORDAN    MI   49727     INDEPENDENT       BE9007469    5,300    5,000    6,700    7,300    4,600    6,000    5,817    34,900

100073528   049133256   EAST JORDAN FAMILY PHCY 340B          EAST JORDAN    MI   49727    PHS 340B CLINIC    BE9007469    6,200    7,100    7,200    4,100    4,000    3,600    5,367    32,200

100056065   046050021   ELY'S PHARMACY & DISCOUNT CORP           MIAMI       FL   33185     INDEPENDENT       BE9207160     200                                 300      300      267       800

100105574   041153700   EASTERN DISCOUNT PHARMACY              BALTIMORE     MD   21221     INDEPENDENT       BE9364263              700               400               100      400      1,200

100057953   024122051   EVERYTHING PHARMACY RELATED II        LOS ANGELES    CA   90017     INDEPENDENT       BE9374036    3,000    2,000    1,500    1,500    3,000    5,300    2,717    16,300

100068693   056075192   EXCELLE RX PA(X)                      SHARON HILL    PA   19079     MAIL SERVICE      BE9490626                                200                        200       200

100064713   044099986   ELDERSCRIPT SERVICES, LLC               TUPELO       MS   38801   LONG TERM CARE      BE9741489   34,500   35,300   13,100   29,300   20,100   22,300   25,767   154,600

100060402   019037382   EXTENDED LIVING PHARMACY LLC           DECATUR       IL   62526   LONG TERM CARE      BE9998812   24,600   30,100   26,100   44,800   11,300   19,300   26,033   156,200

100055351   040099218   *FRED'S PHARMACY #2166                LA FAYETTE     GA   30728        CHAIN          BF0146692    8,000    9,500    8,000    8,000                      8,375    33,500

100065522   021030346   FREDONIA REGIONAL HOSP         NOV     FREDONIA      KS   66736       HOSPITAL        BF0170299     200      200      200      300       80      100      180      1,080

100051638   018046987   *FRED'S PHARMACY #2041               JACKSONVILLE    AR   72076        CHAIN          BF0187535   18,000   17,400   18,200   17,000     600             14,240    71,200

100061848   010100156   CLINIC PHARMACY       APSC           WEST LIBERTY    KY   41472     INDEPENDENT       BF0203769    3,600    6,500    5,730    4,650    4,900    2,300    4,613    27,680

100059996   023065003   FIRO INC.                               BRONX        NY   10452     INDEPENDENT       BF0225068     300                        100      500               300       900

100053070   017012435   FRANKLIN COUNTY MED. CTR               PRESTON       ID   83263       HOSPITAL        BF0290306    1,100    1,500    1,100    1,500    2,360     900     1,410     8,460

100053330   024087049   FEDERAL DRUG COMPANY                 SANTA BARBARA   CA   93105     INDEPENDENT       BF0393962                                        4,000             4,000     4,000

100066532   018061101   FAMILY MEDICAL CENTER PHARMAC         LITTLE ROCK    AR   72204     INDEPENDENT       BF0413221                               1,000    1,500     500     1,000     3,000

100068201   010175612   FAIRVIEW HOSPITAL OP PHARM OU         CLEVELAND      OH   44111       HOSPITAL        BF0425137    6,200    5,900    7,000    7,300    4,000    4,000    5,733    34,400

100061844   010100081   FAMILY DISCOUNT DRUGS      APSC       OWINGSVILLE    KY   40360     INDEPENDENT       BF0446573    6,500    6,500    4,400    8,000    6,500    5,000    6,150    36,900

100088768   010222604   FAMILY DISCOUNT DRUGS 340B            OWINGSVILLE    KY   40360   PHS 340B HOSPITAL   BF0446573     600     1,400    1,300                               1,100     3,300

100106760   018331843   FAIRVIEW REGIONAL MED CTR              FAIRVIEW      OK   73737       HOSPITAL        BF0503006              100               100                        100       200

100050924   037072280   FOLSE PHCY           SF                MARRERO       LA   70072     INDEPENDENT       BF0636451    8,500    1,000     100               500              2,525    10,100

100058021   049004408   *BIRCH RUN DRUGS/SATOW                 BIRCH RUN     MI   48415     INDEPENDENT       BF0833687    4,700    2,600     200     1,500    6,900    2,000    2,983    17,900

100074000   055140889   NOVANT HLTH FRANKLIN REG MED          LOUISBURG      NC   27549       HOSPITAL        BF0900921     300      200      500      200               200      280      1,400

100056903   052063180   *FRED'S XPRESS #3241 - WINONA           WINONA       MS   38967        CHAIN          BF0952158   13,300   16,600   15,000   16,200     300             12,280    61,400

100091143   019158311   *FAMILY DISC DRUGS        SF            LACON        IL   61540     INDEPENDENT       BF1008893    7,200    9,400    7,100                               7,900    23,700

100065211   049054148   HFMC - TAYLOR 340B                      TAYLOR       MI   48180   PHS 340B HOSPITAL   BF1025091    9,300   10,100    7,900    7,600    9,600   20,400   10,817    64,900

100066354   049045518   HFMC - TAYLOR 200 RETAIL                TAYLOR       MI   48180     INDEPENDENT       BF1025091    1,600    1,900    5,000    3,000    8,000    7,700    4,533    27,200

100092467   049189126   FAIRLANE PHCY SER CORP TAYLOR           TAYLOR       MI   48180     INDEPENDENT       BF1025091             1,400             2,700    1,000             1,700     5,100

100065212   049054155   HFMC - WOODHAVEN 340B                 WOODHAVEN      MI   48183   PHS 340B HOSPITAL   BF1025116    7,800    9,300    6,400    5,500    6,600   19,700    9,217    55,300
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100066356   049045559   HFMC - WOODHAVEN RETAIL               WOODHAVEN      MI   48183   INDEPENDENT   BF1025116    1,500     (100)    3,700     3,300    9,000    5,300    3,783    22,700

100110952   023000360   FAMILY PHARMACY                         DURYEA       PA   18642   INDEPENDENT   BF1031385                                 1,000    6,600    6,200    4,600    13,800

100051430   018046748   *FRED'S PHARMACY #2916                  SEARCY       AR   72143      CHAIN      BF1110369   10,200   11,100    10,600     9,300    1,300             8,500    42,500

100064722   018046649   *FRED'S PHARMACY #1421                 DE QUEEN      AR   71832      CHAIN      BF1118909   16,100   17,000    16,300    16,100     100             13,120    65,600

100063497   044066936   *FRED'S PHCY #1136 - BATESVILL        BATESVILLE     MS   38606      CHAIN      BF1167027   10,200   10,700    10,300     9,800                     10,250    41,000

100055240   044053124   *FRED'S PHCY #1166 - BOLIVAR            BOLIVAR      TN   38008      CHAIN      BF1274769   11,000   10,600     9,500     9,000   11,600            10,340    51,700

100056875   044067330   *FRED'S PHCY #3046 - TUPELO             TUPELO       MS   38801      CHAIN      BF1385485   10,400    9,500    11,000     9,600     400              8,180    40,900

100060690   040068981   *FRED'S PHARMACY# 1511 @               EASTMAN       GA   31023      CHAIN      BF1577103    7,100    6,700     6,800     6,500                      6,775    27,100

100069404   012110023   FOX DRUG OF TORRANCE (COMBO)           TORRANCE      CA   90501   INDEPENDENT   BF1641174    8,000    8,000     5,500     9,000    9,600    7,200    7,883    47,300

100052959   012029306   FOX DRUGS                              TORRANCE      CA   90501   INDEPENDENT   BF1641174    3,100    6,000     2,300     2,500    6,500     530     3,488    20,930

100057834   052062885   *FRED'S PHCY #1341 - COLUMBIA          COLUMBIA      MS   39429      CHAIN      BF1823079   33,000   34,800    37,400    46,000    1,600            30,560   152,800

100056279   046003103   FARMACIA 22-24 INC    CENTRAL            MIAMI       FL   33135   INDEPENDENT   BF2042719              100                          500               300       600

100090545   032144980   FERRY COUNTY HOSP                      REPUBLIC      WA   99166    HOSPITAL     BF2045929     100      100       100                100               100       400

100052100   010042234   FLEMING PHARMACISTS GROUP, INC       FLEMINGSBURG    KY   41041   INDEPENDENT   BF2262296   16,500   11,500    20,000     8,000   10,500   10,000   12,750    76,500

100052101   010042242   TOTAL CARE PHARMACY #2 APSC          FLEMINGSBURG    KY   41041   INDEPENDENT   BF2262309   17,500   20,500    32,800    24,040   27,500    3,000   20,890   125,340

100066438   044053678   *FRED'S PHARMACY #1621               FORREST CITY    AR   72335      CHAIN      BF2417219   27,800   28,100    24,200    20,300    1,100            20,300   101,500

100076291   032115410   FIFTH AND BROWNE PHARMACY INC.         SPOKANE       WA   99204   INDEPENDENT   BF2571506    9,500     500      4,600     6,000    5,700    6,000    5,383    32,300

100077153   032131755   FIFTH & BROWNE PHARMACY COMBO          SPOKANE       WA   99204   INDEPENDENT   BF2571506      50                                           4,500    2,275     4,550

100057130   044067504   *FRED'S PHCY #3211 -WATER VALL       WATER VALLEY    MS   38965      CHAIN      BF2594922    6,500    7,000     5,900     7,000     100              5,300    26,500

100050048   003044644   FCIA CARIDAD 3 GNP                     VEGA BAJA     PR   00693   INDEPENDENT   BF2609076                        100                                  100       100

100050108   003028084   FCIA CARIDAD #4 GNP                    BAYAMON       PR   00956   INDEPENDENT   BF2609090     100                          100                        100       200

100106438   049195040   FOREST VIEW PSYCHIATRIC HOSP         GRAND RAPIDS    MI   49546    HOSPITAL     BF2702769     500      300       400       600      500      100      400      2,400

100057662   052062836   *FRED'S PHCY #1211 - CANTON             CANTON       MS   39046      CHAIN      BF2733497    4,200    4,400     4,500     6,900     100              4,020    20,100

100063758   044066977   *FRED'S PHCY #2521 - OXFORD             OXFORD       MS   38655      CHAIN      BF2733512    3,200    4,300     2,900     4,200     100              2,940    14,700

100061518   023010074   FRANKLYN'S PHARMACY IPBG               HO HO KUS     NJ   07423   INDEPENDENT   BF2750948     700      700       600       800      400     1,400     767      4,600

100057665   052062869   *FRED'S PHCY #1221 - CARTHAGE          CARTHAGE      MS   39051      CHAIN      BF3010927   19,400   16,200    18,900    16,700     300             14,300    71,500

100058746   049030007   FAMILY PHARMACY                          FLINT       MI   48507   INDEPENDENT   BF3010991   34,300   34,500    25,800    24,100   40,600   32,300   31,933   191,600

100057916   052062992   *FRED'S PHCY #2211 -LOUISVILLE         LOUISVILLE    MS   39339      CHAIN      BF3053179   13,200   13,100    13,500    12,500     400             10,540    52,700

100057915   052062984   *FRED'S PHCY #2111 - KOSCIUSKO        KOSCIUSKO      MS   39090      CHAIN      BF3075050   13,000   11,500    11,500    11,200    2,000             9,840    49,200

100051841   018047266   *FRED'S PHARMACY #2261                MORRILTON      AR   72110      CHAIN      BF3115690    9,900   12,500     9,800    11,500     400              8,820    44,100

100063759   044066985   *FRED'S PHCY #2851 - RIPLEY             RIPLEY       MS   38663      CHAIN      BF3149374    6,900    7,700     6,700     6,700     100              5,620    28,100

100056874   044067322   *FRED'S PHCY #2641 - PONTOTOC          PONTOTOC      MS   38863      CHAIN      BF3193050   16,600   16,300    15,900    17,400    5,200            14,280    71,400

100067274   021005850   FREDONIA PHARMACY, INC CPA             FREDONIA      KS   66736   INDEPENDENT   BF3193618   21,000   25,200    10,900    30,700   15,500   16,400   19,950   119,700

100066386   055143198   FAMILY PHARMACY(AIKEN)(X) CPA            AIKEN       SC   29801   INDEPENDENT   BF3202075             6,000      (300)   12,000    1,100    2,000    4,160    20,800

100055976   044053355   *FRED'S PHCY #1766 - HENDERSON        HENDERSON      TN   38340      CHAIN      BF3231646   16,700   22,500    20,200    24,900                     21,075    84,300

100050110   003028407   FCIA GIUSTI,INC. PP GNP                BAYAMON       PR   00959   INDEPENDENT   BF3232840              800                          600               700      1,400

100056722   052063065   *FRED'S PHCY #2446 - NATCHEZ           NATCHEZ       MS   39120      CHAIN      BF3363758   12,300   14,200    12,600    11,500     600             10,240    51,200

100064654   018056820   *FRED'S PHARMACY #2441                 NASHVILLE     AR   71852      CHAIN      BF3400506   18,100   19,900    18,600    24,200                     20,200    80,800

100052013   018045807   *FRED'S PHARMACY #1806               HEBER SPRINGS   AR   72543      CHAIN      BF3400518   40,000   28,800    34,100    31,520                     33,605   134,420

100060233   044064329   *FRED'S PHCY #2186 -LIVINGSTON        LIVINGSTON     TN   38570      CHAIN      BF3410696    3,900    4,200     4,300     4,400     300              3,420    17,100

100060237   044064360   *FRED'S PHCY #1381 - COLUMBIA          COLUMBIA      TN   38401      CHAIN      BF3503744   20,400   21,100    21,000    21,000     200             16,740    83,700

100071302   046140947   SURGICARE OF ALTAMONTE        #712   ALTAMONTE SPG   FL   32701    HOSPITAL     BF3511602              100        (50)     100               100       63       250

100057918   052063024   *FRED'S PHCY #2231 - MAGEE              MAGEE        MS   39111      CHAIN      BF3591270    5,800    5,800     6,400     6,000                      6,000    24,000

100051995   018045542   *FRED'S PHARMACY #1046                ARKADELPHIA    AR   71923      CHAIN      BF3598414    7,300    7,500     7,000     7,300     100              5,840    29,200
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100064727   018062018   *FRED'S PHARMACY #2806              RUSSELLVILLE    AR   72801         CHAIN          BF3598438    7,200    8,100    6,000      6,700                        7,000      28,000

100056537   019015974   FORUM EXTENDED CARE SRVC II           CHICAGO       IL   60646    LONG TERM CARE      BF3612579              500                6,000              25,000   10,500      31,500

100051664   018047399   *FRED'S PHARMACY #2891               SPRINGHILL     LA   71075         CHAIN          BF3631389   13,500   14,300   13,900     12,000                       13,425      53,700

100055312   044053116   *FRED'S PHCY #1321 - CAMDEN            CAMDEN       TN   38320         CHAIN          BF3654212   26,500   28,100   22,900     32,200      600              22,060     110,300

100053782   024027490   FARMACIA DEL REY                    LOS ANGELES     CA   90023     INDEPENDENT        BF3675230     200                100                                     150        300

100063499   044066951   *FRED'S PHCY #1791 - HERNANDO        HERNANDO       MS   38632         CHAIN          BF3677210   13,900   13,900   13,100     13,200      600              10,940      54,700

100051101   008021550   FRANKLIN PHARMACY X S1 1 L          SAN FRANCISCO   CA   94109     INDEPENDENT        BF3682437     600      400       500       500      1,000      300       550       3,300

100052041   018047779   *FRED'S PHARMACY #3256              WEST MONROE     LA   71291         CHAIN          BF3743451    6,000    5,000    4,000      4,000                        4,750      19,000

100055904   044053298   *FRED'S PHCY #2246                      MILAN       TN   38358         CHAIN          BF3798571   10,700   11,120   28,600      1,600                       13,005      52,020

100066440   044053686   *FRED'S PHARMACY #2281                MARIANNA      AR   72360         CHAIN          BF3868328    9,900   11,700    9,400     12,100     1,200              8,860      44,300

100068918   049143214   FRED'S SUPER PHARMACY INC. CPA       VICKSBURG      MI   49097     INDEPENDENT        BF3887772   11,400    8,400   17,000     19,200     4,600     6,900   11,250      67,500

100051639   018046979   *FRED'S PHARMACY #1761               HAYNESVILLE    LA   71038         CHAIN          BF3896719    5,000    4,500    4,400      4,400                        4,575      18,300

100056956   021036293   FREEMAN NEOSHO HOSPITAL                NEOSHO       MO   64850       HOSPITAL         BF3911737     400      600       400       200       260       280       357       2,140

100101387   021172122   QUICKMEDS PHARMACY NEOSHO WAC2         NEOSHO       MO   64850   PHS 340B HOSPITAL    BF3914555    1,500   11,500   57,700     12,600    10,300    10,700   17,383     104,300

100056957   021036244   QUICKMEDS PHARMACY NEOSHO              NEOSHO       MO   64850       HOSPITAL         BF3914555   11,100            (45,200)                                (17,050)   (34,100)

100056280   046003111   FARMACIA 22-24                          MIAMI       FL   33174     INDEPENDENT        BF3976505                                  (200)                         (200)      (200)

100055719   044053215   *FRED'S PHCY #7781 - PARSONS          PARSONS       TN   38363         CHAIN          BF4009456   10,600   10,400   13,600      7,800                       10,600      42,400

100071577   018144261   FREIDERICA PHARMACY       CPA        LITTLE ROCK    AR   72201     INDEPENDENT        BF4014104    4,000    2,100    3,100                6,000     1,000    3,240      16,200

100067467   044053728   *FRED'S PHARMACY #3246              WEST HELENA     AR   72390         CHAIN          BF4034954    9,200    8,800    8,100      7,200      100               6,680      33,400

100056723   052063073   *FRED'S PHCY #2621 - PEARL             PEARL        MS   39208         CHAIN          BF4058699   22,800   27,200   20,000     24,600      800              19,080      95,400

100056515   040040691   FAMILY HEALTH PHARMACY (PHS)          COLUMBUS      GA   31901   PHS 340B HOSPITAL    BF4128636   10,400   11,000    8,300      9,800     9,100    10,400    9,833      59,000

100052207   018047530   *FRED'S PHARMACY #2356                MONROE        LA   71201         CHAIN          BF4170243    7,600    7,900    6,400      9,000                        7,725      30,900

100057917   052063016   *FRED'S PHCY #2176 - LEXINGTON       LEXINGTON      MS   39095         CHAIN          BF4248717    7,500   10,000   10,600      9,900     1,700              7,940      39,700

100051829   018047258   *FRED'S PHARMACY #2336                MONROE        LA   71203         CHAIN          BF4272364   12,200   14,100   12,700     13,400                       13,100      52,400

100050210   003009449   FCIA LOS MAESTROS GNP                 SAN JUAN      PR   00923     INDEPENDENT        BF4274697                                  100                           100        100

100052200   041074252   FAIRFAX HEALTH CTR(DOD)                FAIRFAX      VA   22030   HOSPITAL (FEDERAL)   BF4283317    1,900    3,100    2,000      3,800     1,500      600     2,150      12,900

100084145   040100339   FARMER'S HOSPITAL PHARMACY CPA         WINDER       GA   30680     INDEPENDENT        BF4295716    8,600   11,600    6,000      6,500     8,000    10,700    8,567      51,400

100060719   023011825   FAMILY PHCY OF ARCHBALD (GNP)         ARCHBALD      PA   18403     INDEPENDENT        BF4331029    3,600    4,200    5,600      4,200     5,100     4,400    4,517      27,100

100054861   012022368   *FRIENDLY HILLS UNITED DRUG #2        WHITTIER      CA   90603     INDEPENDENT        BF4353835    3,600    2,200    3,000      3,100                        2,975      11,900

100056656   052063040   *FRED'S PHCY #2406 - MORTON           MORTON        MS   39117         CHAIN          BF4364167    4,400    5,000    4,300      4,900                        4,650      18,600

100101397   021172114   QUICKMEDS PHY FREEMAN WEST WAC         JOPLIN       MO   64804   PHS 340B HOSPITAL    BF4387747    5,000   16,000   38,300     10,600    16,800    24,300   18,500     111,000

100057552   021065714   QUICKMEDS PHY FREEMAN WEST PHS         JOPLIN       MO   64804   PHS 340B HOSPITAL    BF4387747   12,000    6,000    7,700     10,000     4,700     4,000    7,400      44,400

100056950   021037416   QUICKMEDS PHARM FREEMAN WEST           JOPLIN       MO   64804       HOSPITAL         BF4387747    4,600            (20,300)                                 (7,850)   (15,700)

100055718   044053199   *FRED'S XPRESS-#3871SOMERVILLE       SOMERVILLE     TN   38068         CHAIN          BF4400658    8,100    6,600    7,500      6,900      200               5,860      29,300

100056902   052063172   *FRED'S XPRESS #1126 -BAY SPRI       BAY SPRINGS    MS   39422         CHAIN          BF4460046    6,600    7,000    7,100      6,900     1,000              5,720      28,600

100053348   024074104   FOOTHILL MED PLAZA PHCY               GLENDORA      CA   91740     INDEPENDENT        BF4524078    1,100    2,200    7,300       100       100       400     1,867      11,200

100057385   052062810   *FRED'S PHCY #1061 - ACKERMAN         ACKERMAN      MS   39735         CHAIN          BF4525626    9,700   11,400   10,800      9,100                       10,250      41,000

100059432   010098939   FRENCHBURG PHARMACY          APSC   FRENCHBURG      KY   40322     INDEPENDENT        BF4539245    6,100    7,600    7,400      7,000     7,000     7,000    7,017      42,100

100088925   010223313   FRENCHBURG PHCY-ST CLAIRE 340B      FRENCHBURG      KY   40322   PHS 340B HOSPITAL    BF4539245     600     1,200    1,500       100                           850       3,400

100056724   052063081   *FRED'S PHCY #2781 -ROLLING FO      ROLLING FORK    MS   39159         CHAIN          BF4560567   10,700   12,700   12,100     14,600      (100)            10,000      50,000

100060228   044064261   *FRED'S PHCY #3226-WAYNESBORO       WAYNESBORO      TN   38485         CHAIN          BF4604650   14,600   12,600   13,900     11,700      300              10,620      53,100

100055895   044053249   *GETWELL DRUG & DOLLAR #6016         MIDDLETON      TN   38052         CHAIN          BF4604662   17,000   17,000   20,300     13,800                       17,025      68,100

100057856   032021105   FRANCISCAN PHCY ST CLARE             LAKEWOOD       WA   98499       HOSPITAL         BF4644907    7,100    5,100    2,000      4,500     5,200     5,300    4,867      29,200

100090436   019157313   LOYOLA UNIVERSITY MED CNTR            MAYWOOD       IL   60153       HOSPITAL         BF4649604   11,200   17,900   12,900                                  14,000      42,000
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100096707   019163592   LOYOLA UNIVERSITY MED CTR WAC      MAYWOOD        IL   60153       HOSPITAL        BF4649604                       400     8,500   13,200    9,300    7,850   31,400

100090439   019157347   LOYOLA UNIV MED CNTR-340B          MAYWOOD        IL   60153   PHS 340B HOSPITAL   BF4649604     700                       3,700                      2,200    4,400

100090445   019157354   LOYOLA UNIV MED CNTR-340B/ ASC     MAYWOOD        IL   60153   PHS 340B HOSPITAL   BF4649604     100      200      100      100                        125      500

100090446   019157362   LOYOLA UNIV MED CTR-340B/CANCR     MAYWOOD        IL   60153   PHS 340B HOSPITAL   BF4649604                       200                                 200      200

100101120   019179275   MULCAHY PHARMACY WAC               MAYWOOD        IL   60153       HOSPITAL        BF4649628    1,100    1,500     500     2,500    2,500    3,800    1,983   11,900

100101089   019179267   MULCAHY PHARMACY 340B              MAYWOOD        IL   60153       HOSPITAL        BF4649628     500              2,000     200                        900     2,700

100065659   019004556   FROEDTERT HOSP/OUTPAT PHAR #1     MILWAUKEE       WI   53226   PHS 340B HOSPITAL   BF4675786    7,600    6,000    5,300   15,200    6,000     900     6,833   41,000

100056946   021036210   FREEMAN-OAK HILL HLTH SYSTEM W       JOPLIN       MO   64804       HOSPITAL        BF4686537    8,400    6,500    6,600    3,100                      6,150   24,600

100096772   021078014   FREEMAN-OAK HILL HLTH SYST WAC       JOPLIN       MO   64804   PHS 340B HOSPITAL   BF4686537              200      900     8,600    3,640    6,180    3,904   19,520

100056952   021053405   FREEMAN-OAK HILL HLTH 340B PHS       JOPLIN       MO   64804   PHS 340B HOSPITAL   BF4686537              500      200      500                        400     1,200

100055896   044053256   *FRED'S PHARMACY #1401-COUNCE       COUNCE        TN   38326        CHAIN          BF4694560    7,000    7,700    6,900    6,300     200              5,620   28,100

100089019   055030866   FIRSTHLTH CAROLINAS(OP PHCY)       PINEHURST      NC   28374       HOSPITAL        BF4694647    2,800    3,000    3,500    3,600    4,400    3,100    3,400   20,400

100076812   055043182   FIRST HLTH OF THE CAROLINAS        PINEHURST      NC   28374       HOSPITAL        BF4694647    2,000    3,500    2,000    1,500    2,800    2,500    2,383   14,300

100065660   019004564   FROEDTERT CLINIC PHARMACY 340B    MILWAUKEE       WI   53226   PHS 340B HOSPITAL   BF4713586    5,100     800     4,700    4,400    1,000    6,600    3,767   22,600

100076889   055042184   FIRSTHEALTH MONTGOMERY MEM HSP       TROY         NC   27371       HOSPITAL        BF4729969     100               200              1,020              440     1,320

100056897   052063123   *FRED'S XPRESS #3651HEIDELBERG    HEIDELBERG      MS   39439        CHAIN          BF4861717    5,600    7,900    6,200    6,800     500              5,400   27,000

100056905   052063206   *FRED'S PHARMACY #1471 -DURANT      DURANT        MS   39063        CHAIN          BF4869725    8,000    8,900    8,100    8,900                      8,475   33,900

100055721   044053223   *FRED'S PHCY #1071 - ARLINGTON     ARLINGTON      TN   38002        CHAIN          BF4872378    3,600    3,900    3,900    5,300     900              3,520   17,600

100060425   044064238   *FRED'S PHCY #3251-WESTMORELAN   WESTMORELAND     TN   37186        CHAIN          BF4977697   20,500   19,900   18,000   21,400    2,400            16,440   82,200

100056727   052063115   *FRED'S PHCY #2961 -STARKVILLE    STARKVILLE      MS   39759        CHAIN          BF5006057   12,000   10,700   11,200   11,500     200              9,120   45,600

100056901   052063164   *FRED'S XPRESS #3666 - OTC         ITTA BENA      MS   38941        CHAIN          BF5079670    2,900    2,900    2,600    2,800     500              2,340   11,700

100056873   044067314   *FRED'S PHCY #1911 - IUKA             IUKA        MS   38852        CHAIN          BF5124247    8,000    8,700   10,400    6,900     300              6,860   34,300

100058785   021046441   *FRED'S PHARMACY #1881           HOLIDAY ISLAND   AR   72631        CHAIN          BF5129463    4,500    6,000    6,400   10,300                      6,800   27,200

100088991   023134841   FAITHFUL PHARMACY INC               EDISON        NJ   08817     INDEPENDENT       BF5164330                       300               200               250      500

100055717   044053181   *FRED'S PHARMACY #2556               PARIS        TN   38242        CHAIN          BF5173606   13,000   14,200   12,000   18,100                     14,325   57,300

100056898   052063131   *GETWELL DRUG & DOLLAR #6020        LELAND        MS   38756        CHAIN          BF5211608    5,800    6,300    6,700    6,300                      6,275   25,100

100056904   052063198   *FRED'S XPRESS #1279 - COLLINS      COLLINS       MS   39428        CHAIN          BF5211622   22,900   24,300   22,700   20,700    1,100            18,340   91,700

100051576   018046581   *FRED'S PHARMACY #1036              ARCADIA       LA   71001        CHAIN          BF5254684   10,200   12,200   12,200   10,200                     11,200   44,800

100060424   044064220   *FRED'S PHCY #2646 - PORTLAND      PORTLAND       TN   37148        CHAIN          BF5258480   15,500   16,400   14,900   13,100     500             12,080   60,400

100057919   052063032   *FRED'S PHCY #2366 -MONTICELLO    MONTICELLO      MS   39654        CHAIN          BF5323011   13,400   15,300   14,200   16,700     100             11,940   59,700

100088202   021010017   FOREST PARK PHARMACY 340B         MASON CITY      IA   50401   PHS 340B HOSPITAL   BF5334494   19,200   18,400   14,700   16,600    6,500    2,000   12,900   77,400

100068848   021146100   FOREST PARK PHARMACY              MASON CITY      IA   50401     INDEPENDENT       BF5334494    1,000    4,000    5,500    5,900   19,000    8,500    7,317   43,900

100094286   041145722   FAMILY DRUG                         VANSANT       VA   24656     INDEPENDENT       BF5366186   14,700   14,700   16,700   11,500   16,800   11,000   14,233   85,400

100059920   052062794   *FRED'S PHCY #3301 - DECHERD       DECHERD        TN   37324        CHAIN          BF5370197    8,700    9,300   10,400   12,000                     10,100   40,400

100055897   044053264   *FRED'S PHCY EXPRESS #3794         OAKLAND        TN   38060        CHAIN          BF5370200    2,500                                                 2,500    2,500

100057066   044067496   *FRED'S PHCY #1306 -CALHOUN CI   CALHOUN CITY     MS   38916        CHAIN          BF5407196    5,300    4,600    5,800    6,400     900              4,600   23,000

100057132   044067538   *FRED'S PHCY,#1011 - ABERDEEN      ABERDEEN       MS   39730        CHAIN          BF5429508    7,380    7,500    6,700    7,200                      7,195   28,780

100055311   044053207   *FRED'S PHCY #2956 - SELMER         SELMER        TN   38375        CHAIN          BF5466657    8,000    7,400    7,400    7,800                      7,650   30,600

100050822   052073122   *FRED'S PHARMACY #3236 #            WIGGINS       MS   39577        CHAIN          BF5474591   14,900   15,300   14,800   15,300    1,500            12,360   61,800

100056407   046000562   FLORIDA MEDICAL CLINIC, PA        ZEPHYRHILLS     FL   33542     INDEPENDENT       BF5534133    9,800   13,100   11,200   11,100   11,900    8,100   10,867   65,200

100057065   044067488   *FRED'S PHCY #1146 - BRUCE           BRUCE        MS   38915        CHAIN          BF5536517    6,900    7,300    5,900    6,800                      6,725   26,900

100056899   052063149   *FRED'S XPRESS #2896 - SUMRALL     SUMRALL        MS   39482        CHAIN          BF5536531    7,400   10,500   10,100    8,000                      9,000   36,000

100051840   018047274   *FRED'S PHARMACY #3341             WHITEHALL      AR   71602        CHAIN          BF5561166   11,300   11,720   11,140   14,240     600              9,800   49,000

100056876   044067348   *FRED'S XPRESS #3926 -VARDAMAN     VARDAMAN       MS   38878        CHAIN          BF5574997    7,000    7,200    6,300    6,400     100              5,400   27,000
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100060239   044064386   *FRED'S PHCY #1441 - DOVER            DOVER          TN   37058        CHAIN          BF5588756    6,600    7,500    5,500    6,600      300              5,300    26,500

100055243   044053157   *FRED'S PHCY #2361 - MCKENZIE       MCKENZIE         TN   38201        CHAIN          BF5595890    8,700    9,200   10,900   10,200                       9,750    39,000

100055722   044053231   *FRED'S PHCY #1861 -HUNTINGDON     HUNTINGDON        TN   38344        CHAIN          BF5597337   14,000   15,600   13,200   15,900     1,900            12,120    60,600

100060240   044064311   *FRED'S PHCY #1801 - HARTSVILL      HARTSVILLE       TN   37074        CHAIN          BF5611404   14,500   15,800   15,500   14,000     2,900            12,540    62,700

100060236   044064352   *FRED'S PHCY #2216 - LINDEN           LINDEN         TN   37096        CHAIN          BF5611416   13,600   15,800   14,600   17,500      700             12,440    62,200

100057909   052062927   *FRED'S PHCY #1631 - FOREST          FOREST          MS   39074        CHAIN          BF5658414    4,300    6,400    6,600   20,100                       9,350    37,400

100051432   018046854   *FRED'S PHARMACY #1111               BASTROP         LA   71220        CHAIN          BF5680029   15,000   14,800   13,800   13,900                      14,375    57,500

100057855   032021006   FRANCISCAN PHCY FED WAY RETAIL     FEDERAL WAY       WA   98003       HOSPITAL        BF5692529    2,400    1,600     900      200      3,500    4,300    2,150    12,900

100059824   056027409   FORKED RIVER PHCY        IPBG     FORKED RIVER       NJ   08731     INDEPENDENT       BF5706138    2,500    1,200    2,000    2,900     1,300    1,800    1,950    11,700

100060691   040068999   *FRED'S PHARMACY# 2386               HELENA          GA   31037        CHAIN          BF5718498   11,400   12,500   10,700    8,200                      10,700    42,800

100051549   018046441   *FRED'S PHARMACY #2461              CROSSETT         AR   71635        CHAIN          BF5736840   12,800   14,100   12,100   12,600     9,400            12,200    61,000

100057836   052062893   *FRED'S PHCY #1521 - EUPORA          EUPORA          MS   39744        CHAIN          BF5737246   11,600   13,000   13,300   10,500                      12,100    48,400

100051617   018046995   *FRED'S PHARMACY #2981              STAR CITY        AR   71667        CHAIN          BF5759711   13,900   17,700   17,300   17,980     2,800            13,936    69,680

100051200   018028647   FIKES PHCY          SF             GRANDFIELD        OK   73546     INDEPENDENT       BF5787366     500     1,700     500     4,500              2,000    1,840     9,200

100105849   018403766   FIKES PHARMACY 340B                GRANDFIELD        OK   73546    PHS 340B CLINIC    BF5787366    2,100     100     1,200                                1,133     3,400

100051583   018046722   *FRED'S PHARMACY #1826              HAUGHTON         LA   71037        CHAIN          BF5808689    8,100    9,000    9,000    7,600                       8,425    33,700

100060457   041048215   FAMILY DISC.PHCY(Z)(GNP)866       STANLEYTOWN        VA   24168     INDEPENDENT       BF5811131   49,100   60,100   46,800   55,000    56,400   38,700   51,017   306,100

100072447   037110627   *FRED'S PHARMACY #1296              COLUMBIA         LA   71418        CHAIN          BF5811179   16,100   14,200   12,600   11,600     1,000            11,100    55,500

100057663   052062844   *FRED'S PHCY #1236 -CENTREVILL     CENTREVILLE       MS   39631        CHAIN          BF5821132   11,000   11,300   10,800   11,200                      11,075    44,300

100064746   008022574   FOX DRUG STORE                        SELMA          CA   93662     INDEPENDENT       BF5835105   10,100   14,100   15,600   11,200     9,900    7,700   11,433    68,600

100092728   008058495   FOX DRUG STORE 340B                   SELMA          CA   93662    PHS 340B CLINIC    BF5835105     200      600              1,000               600      600      2,400

100107130   008042143   FOX DRUG STORE 340B                   SELMA          CA   93662    PHS 340B CLINIC    BF5835105     700                                                    700       700

100092538   008054577   FOX DRUG STORE 340B                   SELMA          CA   93662    PHS 340B CLINIC    BF5835105     100                                           100      100       200

100054534   037057034   *FRED'S PHARMACY #3006               PINEVILLE       LA   71360        CHAIN          BF5841817   16,700   17,500   17,900   19,200      500             14,360    71,800

100055923   046001354   FERRO INTERNATIONAL INC               MIAMI          FL   33142     INDEPENDENT       BF5842061     400      700       -       (100)                       250      1,000

100052004   018045690   *FRED'S PHARMACY #1216                CABOT          AR   72023        CHAIN          BF5844926   21,300   27,400   19,800   21,700     1,600            18,360    91,800

100060235   044064345   *FRED'S PHCY #2156 - LAFAYETTE      LAFAYETTE        TN   37083        CHAIN          BF5880910   12,900   12,000   12,300   12,900      200             10,060    50,300

100058784   021046094   *FRED'S PHARMACY #1846              HARRISON         AR   72601        CHAIN          BF5897890   18,800   20,000   18,600   19,100     7,500            16,800    84,000

100063757   044066969   *FRED'S PHCY #2501 - OLIVE BRA    OLIVE BRANCH       MS   38654        CHAIN          BF5912666   12,700   11,620   12,400   13,200                      12,480    49,920

100060251   044064196   *FRED'S PHCY #1241 -CENTERVILL     CENTERVILLE       TN   37033        CHAIN          BF5933658   17,400   16,800   18,500   18,000     1,500            14,440    72,200

100060227   044064253   *FRED'S PHARMACY #2549           MOUNT PLEASANT      TN   38474        CHAIN          BF5933660   24,500   24,800   20,200   22,200     1,800            18,700    93,500

100068850   049149757   *MERCY HEALTH SAINT MARY'S CAM    GRAND RAPIDS       MI   49503   PHS 340B HOSPITAL   BF5952278   22,300   23,700   20,400   23,700     1,500            18,320    91,600

100068849   049149732   *MERCY HEALTH SAINT MARY'S CAM    GRAND RAPIDS       MI   49503     INDEPENDENT       BF5952278   11,900    7,300   13,600   15,200     1,000             9,800    49,000

100064260   052037812   *FRED'S PHARMACY# 1356 @             CAMDEN          AL   36726        CHAIN          BF5977484    3,900    5,400    5,200    4,800                       4,825    19,300

100056900   052063156   *FRED'S XPRESS #3369 -WOODVILL      WOODVILLE        MS   39669        CHAIN          BF5989910   13,400   12,200   10,500   10,700                      11,700    46,800

100057386   052062828   *FRED'S PHCY #1161 - BELZONI         BELZONI         MS   39038        CHAIN          BF6011960    5,100    7,000    5,600    4,000                       5,425    21,700

100054533   037057026   *FRED'S PHARMACY #2991           SAINT FRANCISVILL   LA   70775        CHAIN          BF6015463   11,300   11,200   11,100    9,900     2,000             9,100    45,500

100056725   052063099   *FRED'S PHCY #2631 -PHILADELPH     PHILADELPHIA      MS   39350        CHAIN          BF6034615   16,000   14,100   14,900   15,300                      15,075    60,300

100051819   018047159   *FRED'S PHARMACY #3311               WARREN          AR   71671        CHAIN          BF6042066    8,600   10,200    9,000   10,400      100              7,660    38,300

100054530   037057000   *FRED'S PHARMACY #1711              GONZALES         LA   70737        CHAIN          BF6048234   12,400   13,700   11,300   11,700                      12,275    49,100

100086185   041138362   FOUR SEASONS PHCY INC      CPA      PRINCETON        WV   24740     INDEPENDENT       BF6064769   55,000   49,000   54,300   53,100    36,600   47,000   49,167   295,000

100108954   041154476   FOUR SEASONS PHCY INC (340B)        PRINCETON        WV   24740   PHS 340B HOSPITAL   BF6064769                      2,000    1,000                       1,500     3,000

100051550   018046425   *FRED'S PHARMACY #1311               CONWAY          AR   72034        CHAIN          BF6077211    7,100   10,000    8,400    9,900      600              7,200    36,000

100055906   044053322   *FRED'S PHCY #2306 - MEMPHIS         MEMPHIS         TN   38122        CHAIN          BF6084595   14,020   15,400   12,200   14,600      500             11,344    56,720
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100055907   044053348   *FRED'S PHCY #1724 -GREENFIELD      GREENFIELD     TN   38230        CHAIN          BF6084608   16,700   16,200   15,400   15,200   1,600            13,020    65,100

100051994   018045567   *FRED'S PHARMACY #2371              MONTICELLO     AR   71655        CHAIN          BF6092542   10,800   12,400   11,300   10,300   1,400             9,240    46,200

100064258   052037119   *FRED'S PHARMACY# 2351 @             MIDFIELD      AL   35228        CHAIN          BF6101101    7,500    8,600    7,500    6,100    500              6,040    30,200

100067469   044053710   *FRED'S PHARMACY #2296                MARION       AR   72364        CHAIN          BF6108799   10,400   12,100    9,700   11,300    600              8,820    44,100

100057911   052062943   *FRED'S PHCY #1906 -HATTIESBUR      HATTIESBURG    MS   39401        CHAIN          BF6113992   36,900   40,400   36,000   38,900   1,000            30,640   153,200

100060234   044064337   *FRED'S PHCY #1811 -CLARKSVILL      CLARKSVILLE    TN   37040        CHAIN          BF6115023    8,100    9,800    7,600    7,600    500              6,720    33,600

100060230   044064287   *FRED'S PHCY #3366 - WOODBURY       WOODBURY       TN   37190        CHAIN          BF6115035   14,000   13,800   14,300   14,100    400             11,320    56,600

100058787   021046037   *FRED'S PHARMACY #2326             MOUNTAIN HOME   AR   72653        CHAIN          BF6171576    9,000   11,500   10,400   15,000    100              9,200    46,000

100057840   052062901   *FRED'S PHCY #1701 - FLORA            FLORA        MS   39071        CHAIN          BF6182884    9,100   10,400    9,600    7,200                     9,075    36,300

100060426   044064246   *FRED'S #3276 - WAVERLY              WAVERLY       TN   37185        CHAIN          BF6206963   10,600    9,400    9,900   11,200   1,500             8,520    42,600

100057379   052029934   *FRED'S PHCY #7841 - QUITMAN          QUITMAN      MS   39355        CHAIN          BF6239861   36,300   41,200   33,900   38,200   1,800            30,280   151,400

100056657   052063057   *FRED'S PHCY #2396 -MENDENHALL      MENDENHALL     MS   39114        CHAIN          BF6253013    6,600    7,200    7,900    8,700                     7,600    30,400

100052025   018045963   *FRED'S PHARMACY #1719              GREENBRIER     AR   72058        CHAIN          BF6312920   14,120   13,900   13,400   16,220    400             11,608    58,040

100071208   046140863   DESTIN EMERGENCY CARE CTR #712        DESTIN       FL   32541       HOSPITAL        BF6328202    1,000                      1,300                     1,150     2,300

100065270   021027508   MERCY PHARMACY-LEBANON               LEBANON       MO   65536       HOSPITAL        BF6458752   15,600   14,200   19,600   20,400   7,600   14,400   15,300    91,800

100094270   021049759   MERCY PHARMACY-LEBANON 340B          LEBANON       MO   65536       HOSPITAL        BF6458752    1,000                                                1,000     1,000

100059050   041054676   FAMILY CARE PHCY       843           RICHMOND      VA   23238   LONG TERM CARE      BF6494520    2,400    4,900    3,100    3,800   4,600    3,100    3,650    21,900

100058902   021027060   MERCY PHARMACY-FREMONT              SPRINGFIELD    MO   65804       HOSPITAL        BF6500347   10,700   11,100   10,100   10,400   9,400    8,600   10,050    60,300

100094191   021033993   MERCY PHARMACY-FREMONT 340B         SPRINGFIELD    MO   65804   PHS 340B HOSPITAL   BF6500347                                100                       100       100

100075971   055019737   FOSCOE PHARMACY                       BOONE        NC   28607     INDEPENDENT       BF6535720    1,600    2,300    1,500    1,300   1,100    1,600    1,567     9,400

100056877   044067355   *FRED'S PHCY #1641 - FULTON           FULTON       MS   38843        CHAIN          BF6583707   10,600   11,700   11,900   10,300                    11,125    44,500

100058613   040000323   *FRED'S PHARMACY #1406                DARIEN       GA   31305        CHAIN          BF6689713   11,800   12,800    9,600   11,520    700              9,284    46,420

100059293   023000596   FAMILY PHCY-OLYPHANT-Y (GNP)         OLYPHANT      PA   18447     INDEPENDENT       BF6705428    5,800    8,600    7,700    5,800   6,500    5,300    6,617    39,700

100052117   018049569   *FRED'S PHARMACY #1206                BENTON       AR   72015        CHAIN          BF6707218   13,200   16,400   14,400   14,300                    14,575    58,300

100056150   044053371   *FRED'S PHCY #3011-TIPTONVILLE      TIPTONVILLE    TN   38079        CHAIN          BF6710493    3,400    4,000    3,500    4,800    100              3,160    15,800

100092265   023136564   FILIPPONE'S TOWN PHARMACY           KENILWORTH     NJ   07033     INDEPENDENT       BF6724036     300      300               100     500               300      1,200

100059842   044088559   *FRED'S PHCY #1551 - ERIN              ERIN        TN   37061        CHAIN          BF6773370   22,600   20,900   21,300   22,600    300             17,540    87,700

100084147   040100362   FARMERS OCONEE CPA                 WATKINSVILLE    GA   30677     INDEPENDENT       BF6780565    1,500    1,700    2,100    1,500   1,400    1,700    1,650     9,900

100063771   044067033   *FRED'S PHCY #2411 - NEW ALBAN      NEW ALBANY     MS   38652        CHAIN          BF6803971   16,500   17,300   16,500   17,600    800             13,740    68,700

100052116   018052126   *FRED'S PHARMACY #1086                BEEBE        AR   72012        CHAIN          BF6803983   15,000   16,500   14,800   14,800   1,700            12,560    62,800

100063754   044055020   *FRED'S XPRESS #1866                HARRISBURG     AR   72432        CHAIN          BF6804214   10,900    8,700    9,300   13,100                    10,500    42,000

100058788   021046136   *FRED'S PHARMACY #3411               YELLVILLE     AR   72687        CHAIN          BF6804238   18,300   20,500   19,600   18,800   1,300            15,700    78,500

100067286   052061226   *FRED'S PHARMACY #1714 @            GEORGIANA      AL   36033        CHAIN          BF6854536   13,400   15,400   11,800   12,900                    13,375    53,500

100071298   040140251   FAIRVIEW PARK HOSPITAL      #712      DUBLIN       GA   31021       HOSPITAL        BF6867331    1,700    1,550    1,400    2,200   1,700    1,040    1,598     9,590

100060689   040068940   *FRED'S PHARMACY# 1026                ALBANY       GA   31701        CHAIN          BF6900561    9,200    9,000    7,900    9,500    100              7,140    35,700

100063826   044055004   *FRED'S PHARMACY #2021              JONESBORO      AR   72401        CHAIN          BF6942343   10,200   10,100    8,930    8,700    100              7,606    38,030

100057257   052063297   *FRED'S PHCY #1091 - PEARL            PEARL        MS   39208        CHAIN          BF6955011    3,700    3,600    4,100    4,400                     3,950    15,800

100059914   044089235   *FRED'S PHCY #1571 -FAIRVIEW         FAIRVIEW      TN   37062        CHAIN          BF6986600   28,920   32,100   26,400   30,280   1,100            23,760   118,800

100050823   052073197   *FRED'S PHARMACY #2229 #             LUCEDALE      MS   39452        CHAIN          BF6997463   17,600   16,700   17,800   13,100    500             13,140    65,700

100105834   018403725   FORT DUNCAN REGIONAL MED CTR        EAGLE PASS     TX   78852       HOSPITAL        BF7049756     600      900      600      700     820      800      737      4,420

100072449   037110643   *FRED'S PHARMACY #3231               WINNFIELD     LA   71483        CHAIN          BF7064378    9,400   10,400    9,600    9,500    600              7,900    39,500

100052128   018058768   *FRED'S PHARMACY #2146              LITTLE ROCK    AR   72206        CHAIN          BF7064380   12,700   13,100   12,900   11,300                    12,500    50,000

100053876   037074732   *FRED'S PHARMACY #1526                EUNICE       LA   70535        CHAIN          BF7123449   12,900   13,200   12,400   10,900    300              9,940    49,700

100059916   044089698   *FRED'S PHCY #3221-WHITE BLUFF      WHITE BLUFF    TN   37187        CHAIN          BF7152200    6,300    6,500    5,800    9,200    200              5,600    28,000
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100071497   023143255   FARMACIAS DEL PUEBLO LLC(Z)CPA         PATERSON        NJ   07501     INDEPENDENT        BF7232159    1,000     700       700      (100)    1,000     500      633       3,800

100071576   018144253   FAMILY CLINIC PHARMACY LLC CPA        WALNUT RIDGE     AR   72476     INDEPENDENT        BF7252187   10,200    9,200    10,700   28,200    10,000            13,660     68,300

100054307   038040535   FALL RIVER HOSPITAL PHARMACY          HOT SPRINGS      SD   57747       HOSPITAL         BF7313985    1,000     800       800     1,200      560      800      860       5,160

100085603   038099200   FALL RIVER HOSPITAL PHCY 340B         HOT SPRINGS      SD   57747   PHS 340B HOSPITAL    BF7313985     200                                                     200        200

100056648   044089904   *FRED'S PHCY #2151 - LORETTO            LORETTO        TN   38469         CHAIN          BF7318377   16,100   15,100    16,200   16,400                      15,950     63,800

100055398   046004481   FARMACIA JULIA DISCOUNT, INC             MIAMI         FL   33125     INDEPENDENT        BF7346592     500      700       600      500                         575       2,300

100056879   044067371   *FRED'S PHCY #2871 - SALTILLO           SALTILLO       MS   38866         CHAIN          BF7355426   18,500   17,700    16,900   16,000                      17,275     69,100

100067292   052061408   *FRED'S PHARMACY #1431 @               DALEVILLE       AL   36322         CHAIN          BF7361784    2,700    4,700     3,500    4,400                       3,825     15,300

100064730   018062067   *FRED'S PHARMACY #1386                CLARKSVILLE      AR   72830         CHAIN          BF7380176   14,400   16,000    14,900   17,900                      15,800     63,200

100053868   037070904   *FRED'S PHARMACY #2124                   KINDER        LA   70648         CHAIN          BF7408140    9,600   11,200    10,120   12,000     1,000             8,784     43,920

100050227   010075283   FRED'S FAMILY PHARMACY APSC              SALEM         OH   44460     INDEPENDENT        BF7423394    3,200    2,600     3,000    2,600     3,300    4,600    3,217     19,300

100096522   032147793   FRANCISCAN HOSPICE LTC PH WAC       UNIVERSITY PLACE   WA   98466       HOSPITAL         BF7425158    2,800    2,500     1,000    2,000     1,200    1,900    1,900     11,400

100089400   032133108   FRANCISCAN HOSPC LTC PHCY 340B      UNIVERSITY PLACE   WA   98466   PHS 340B HOSPITAL    BF7425158    2,500    2,200      500     1,000     1,000             1,440      7,200

100051249   008012559   FAMILY DRUG PHARMACY CPA                  NAPA         CA   94559     INDEPENDENT        BF7441710   18,500   20,700    20,000   21,700    19,100   20,000   20,000    120,000

100074234   055040410   FIRSTHEALTH OF THE CAROLINAS          ROCKINGHAM       NC   28379       HOSPITAL         BF7466899     100      200       200      600       200      100      233       1,400

100088924   049187302   FLOWER HOSPITAL OP PHCY                 SYLVANIA       OH   43560       HOSPITAL         BF7476307    3,900    4,000     3,200    4,300     4,500    3,400    3,883     23,300

100062912   023003541   FAMILY PHCY OF JESSUP INC(GNP)           JESSUP        PA   18434     INDEPENDENT        BF7482437    2,900    4,000     3,400    3,600     4,500    6,600    4,167     25,000

100056628   052091363   *FRED'S PHCY #2591 - PIKEVILLE          PIKEVILLE      TN   37367         CHAIN          BF7497402    8,100    8,400     8,000    7,500      100              6,420     32,100

100064087   052031419   FOX ARMY HEALTH CENTER PHARM @      REDSTONE ARSENAL   AL   35809   HOSPITAL (FEDERAL)   BF7510161   25,200   13,200    30,000   20,400    20,400   19,200   21,400    128,400

100055929   046004754   FARMACIA CALI, INC                      HIALEAH        FL   33012     INDEPENDENT        BF7529691     300      100       100                                  167        500

100059018   056100669   *SHOPRITE PHARMACY #628               MIDDLETOWN       NJ   07748         CHAIN          BF7569695                        200                                  200        200

100051194   018021618   *FRED'S PHARMACY #2926                  SHERIDAN       AR   72150         CHAIN          BF7570941   11,100   12,000    11,240   12,100      100              9,308     46,540

100057420   046004887   FLORIDA ORTHOPAEDIC INSTITUTE        TEMPLE TERRACE    FL   33637       HOSPITAL         BF7582023              100                100                         100        200

100087968   018200626   FAMILY DISC PHCY       SF             RICHARDSON       TX   75080     INDEPENDENT        BF7584534    5,400    5,200     3,100    6,300     7,500    2,500    5,000     30,000

100072408   010141416   FULTON ROAD PHARMACY, INC               CANTON         OH   44709     INDEPENDENT        BF7603029    6,900   11,300    11,430   11,460    15,400    8,500   10,832     64,990

100058093   044044578   FUNDERBURG, WILLIAM RODGER MD         GERMANTOWN       TN   38138       HOSPITAL         BF7603396              100       100                300               167        500

100065176   019005447   FAWCETT'S PHCY         SF              PRINCETON       IL   61356     INDEPENDENT        BF7611507    7,200    5,300     6,200    6,000     9,600    1,600    5,983     35,900

100057067   052063305   *FRED'S PHCY #3071 - TYLERTOWN         TYLERTOWN       MS   39667         CHAIN          BF7640837    8,300    8,300     6,800    6,700     1,000             6,220     31,100

100060456   041048207   FAMILY PHCY #3 (Z) (GNP) 866            STUART         VA   24171     INDEPENDENT        BF7648908    3,000    4,000     3,000    2,000                       3,000     12,000

100063931   052045880   F&M SPECIALTY PHCY         SF           FLOWOOD        MS   39232     INDEPENDENT        BF7708300     200      300       200     1,000                        425       1,700

100066184   052081422   *FRED'S PHARMACY# 1541 @                  ELBA         AL   36323         CHAIN          BF7776416    9,300   10,000     6,600    6,500                       8,100     32,400

100052761   056004762   FUTURE PHARMACY, INC (Z)                HOWELL         NJ   07731     INDEPENDENT        BF7777658    1,100              1,000    1,800               200     1,025      4,100

100056913   037106336   *FRED'S PHARMACY #1936FERRIDAY          FERRIDAY       LA   71334         CHAIN          BF7786847   14,600   17,500    15,800   20,000                      16,975     67,900

100056644   044091504   *FRED'S PHCY #2661 - PULASKI            PULASKI        TN   38478         CHAIN          BF7800572   54,900   56,900    53,900   56,200      500             44,480    222,400

100069391   004155150   FRANKLIN REGIONAL HOSPITAL(X)           FRANKLIN       NH   03235       HOSPITAL         BF7824647     200      200       200      100       100      100      150        900

100076934   044088393   *FRED'S PHARMACY #1089                  BENTON         IL   62812         CHAIN          BF7862433   11,700   10,700                                         11,200     22,400

100076936   044088443   *FRED'S PHARMACY #2349                MCLEANSBORO      IL   62859         CHAIN          BF7862445    6,300    4,300                                          5,300     10,600

100076935   044088419   *FRED'S PHARMACY #1516                 ELDORADO        IL   62930         CHAIN          BF7862457   14,700   14,500                                         14,600     29,200

100058166   044044909   FRANKLIN HOSPITAL DISTRICT              BENTON         IL   62812       HOSPITAL         BF7866241                                           160               160        160

100110676   049197418   FAMILY DRUGS          SF                DETROIT        MI   48228     INDEPENDENT        BF7898147                                3,600     7,700    6,200    5,833     17,500

100050088   003052845   FCIA SAN CARLOS GNP                    AGUADILLA       PR   00603     INDEPENDENT        BF7948207               (20)                                           (20)       (20)

100090458   019157446   FANTUS HLTH CTR PHY 340B                CHICAGO        IL   60612       HOSPITAL         BF8001466    1,700    1,200     1,800    3,400                       2,025      8,100

100090458   019157446   FANTUS HLTH CTR PHY 340B                CHICAGO        IL   60612   PHS 340B HOSPITAL    BF8001466                                                   2,200    2,200      2,200

100110772   049197434   FAMILY DRUG PHARMACY           SF       DETROIT        MI   48214     INDEPENDENT        BF8012318                                4,000     1,500             2,750      5,500
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100052110   018048066   *FRED'S PHARMACY #3271              WEST MONROE      LA   71292        CHAIN          BF8025567   12,600    12,000   10,800   14,400                      12,450    49,800

100056914   037106351   *FRED'S XPRESS 3861 -ST JOSEPH      SAINT JOSEPH     LA   71366        CHAIN          BF8025579    5,200     7,500    5,600    4,900                       5,800    23,200

100050826   052073528   *FRED'S PHCY #1536 #               EAST BREWTON      AL   36426        CHAIN          BF8025593   23,500    24,800   23,100   19,500     500              18,280    91,400

100055119   040051086   *FRED'S PHARMACY #1479                 DUBLIN        GA   31021        CHAIN          BF8048781    5,700     6,000    5,700    6,000                       5,850    23,400

100085243   049182618   FAMILY HEALTH CARE PHARMACY WH      WHITE CLOUD      MI   49349     INDEPENDENT       BF8051574   24,000    22,600   28,500   29,200   26,300    15,600   24,367   146,200

100085244   049182626   FAMILY HEALTH CARE PHY WC 340B      WHITE CLOUD      MI   49349    PHS 340B CLINIC    BF8051574   17,000    19,100   16,500   15,500   15,600    14,000   16,283    97,700

100076937   044088583   *FRED'S XPRESS #3936 RX           WEST FRANKFORT     IL   62896        CHAIN          BF8111940   16,500    12,000                                        14,250    28,500

100056912   037106328   *FRED'S PHCY #1666 -FRANKLINTO      FRANKLINTON      LA   70438        CHAIN          BF8127929    7,700     7,700    7,200    7,800                       7,600    30,400

100051212   018040048   *FRED'S PHARMACY #1096               BALD KNOB       AR   72010        CHAIN          BF8157693    7,900     8,600    7,800    8,300     200               6,560    32,800

100103886   032151431   FRED MEYER STORES, INC 340B         BELLINGHAM       WA   98226   PHS 340B HOSPITAL   BF8208553     700      1,500     800     1,000                       1,000     4,000

100057163   052063339   *FRED'S XPRESS 2244 - MACON            MACON         MS   39341        CHAIN          BF8215229    8,600     9,600   10,000   10,500     500               7,840    39,200

100067125   052088617   *FRED'S PHARMACY# 2751 @              RED BAY        AL   35582        CHAIN          BF8219847   13,400    14,700   11,900   13,900     500              10,880    54,400

100056645   044091512   *FRED'S PHCY #2884 - SPARTA           SPARTA         TN   38583        CHAIN          BF8253318   12,100    13,200   10,400   10,800    1,600              9,620    48,100

100071498   023143263   FARMACIAS DEL PUEBLO II CPA(Z)       PATERSON        NJ   07501     INDEPENDENT       BF8334245     200                100      100      100                125       500

100066186   052082214   *FRED'S PHARMACY# 1561 @             EVERGREEN       AL   36401        CHAIN          BF8389238   36,700    42,300   29,000   34,200                      35,550   142,200

100057332   040051409   *FRED'S PHARMACY #2056                 JESUP         GA   31545        CHAIN          BF8413990    5,700     4,900    7,800    7,400                       6,450    25,800

100073637   055031815   *FRED'S PHARMACY-RX #2106            KINGSTREE       SC   29556        CHAIN          BF8427444    6,400     6,800    6,800   10,400     600               6,200    31,000

100065120   018061796   *FRED'S PHARMACY #2596               PEA RIDGE       AR   72751        CHAIN          BF8451801   18,200    20,100   15,000   14,300    8,400             15,200    76,000

100057133   044067546   *FRED'S XPRESS #3634 -HAMILTON       HAMILTON        MS   39746        CHAIN          BF8525086    6,900     6,500    6,300    7,400     300               5,480    27,400

100062096   052048439   FIVE POINTS PHARMACY & DOLLAR         JASPER         AL   35503     INDEPENDENT       BF8542234    2,500     2,000    2,000                                2,167     6,500

100058982   041054353   FOSTER, TROY D         882          MARTINSBURG      WV   25401       HOSPITAL        BF8551017                                           50       100       75       150

100057338   040051748   *FRED'S PHARMACY #3416                ZEBULON        GA   30295        CHAIN          BF8559859    5,000     5,200    4,800    5,000     200               4,040    20,200

100060688   040084517   *FRED'S PHARMACY # 1461 @          DONALSONVILLE     GA   39845        CHAIN          BF8568757   10,000    12,100   12,400   14,400                      12,225    48,900

100056224   044098384   *FREDS PHCY #2551-OAKLAND CITY      OAKLAND CITY     IN   47660        CHAIN          BF8579039   18,400    16,600   17,100   18,100     400              14,120    70,600

100050759   037073692   F&M SPECIALTY PHCY, INC      SF       SLIDELL        LA   70458     INDEPENDENT       BF8624238     100                                                     100       100

100061436   019028019   CAREPRO AT THE PAVILION             CEDAR RAPIDS     IA   52403     INDEPENDENT       BF8648769    5,100     5,130    5,000    5,000    9,500     4,000    5,622    33,730

100056880   044067389   *FRED'S PHCY #2469 - NETTLETON       NETTLETON       MS   38858        CHAIN          BF8652605   16,400    17,500   15,200   18,700     600              13,680    68,400

100110632   049197392   FAMILY DRUGS PHCY III INC SF      DEARBORN HEIGHTS   MI   48127     INDEPENDENT       BF8691176                                         1,500     1,000    1,250     2,500

100057774   046007369   GREAT CARE PHARMACY, INC           MIAMI GARDENS     FL   33056     INDEPENDENT       BF8707169     (100)                                300       200      133       400

100056553   010093385   WALGREENS SPECIALTY PHCY 10997       CARNEGIE        PA   15106     WALGREENS         BF8715661               100               100       -                  67       200

100056881   044067405   *FRED'S PHCY #1894 - HOUSTON          HOUSTON        MS   38851        CHAIN          BF8829890   14,100    10,100   14,000   16,300                      13,625    54,500

100074640   023175844   FINE CARE PHARMACY, INC(X) CPA       BROOKLYN        NY   11238     INDEPENDENT       BF8839574    2,600     4,900    5,700    3,400    2,500      200     3,217    19,300

100056618   052063586   *FRED'S XPRESS #3921 - UNION           UNION         MS   39365        CHAIN          BF8859196    7,100    10,500    8,500   16,100                      10,550    42,200

100056617   052063552   *FRED'S PHCY #2431 - NEWTON           NEWTON         MS   39345        CHAIN          BF8859211   15,500    16,500   14,500   13,000    1,000             12,100    60,500

100056622   052063669   *FRED'S PHCY #1746 -GREENVILLE       GREENVILLE      MS   38703        CHAIN          BF8871940    7,100     7,100    7,600    8,600                       7,600    30,400

100051600   008052647   FRIENDLY PHCY INC. NEW U 9            SAN JOSE       CA   95111     INDEPENDENT       BF8882739               100      100                                  100       200

100055423   040048009   *FRED'S PHARMACY #1831               HIAWASSEE       GA   30546        CHAIN          BF8889543    5,600     7,500    6,500    7,200     200               5,400    27,000

100065015   021035121   PHARMERICA (URBANDALE)               URBANDALE       IA   50322   LONG TERM CARE      BF8983656   15,000    18,500   17,400   20,200   (1,000)     200    11,717    70,300

100060097   052075028   *FRED'S PHARMACY #2256               MONTEAGLE       TN   37356        CHAIN          BF9038793   10,500    10,800   11,200   10,700     300               8,700    43,500

100056174   040053017   *FRED'S PHARMACY # 1539             EAST DUBLIN      GA   31027        CHAIN          BF9044950    6,700     6,400    5,800    6,500     100               5,100    25,500

100055146   018071571   *FRED'S PHARMACY #2284                MINDEN         LA   71055        CHAIN          BF9047134    9,900     9,800    8,200    8,000                       8,975    35,900

100052429   052094300   *FRED'S PHARMACY # 3056              TUSCUMBIA       AL   35674        CHAIN          BF9089245    9,400     9,400    7,220   10,200     600               7,364    36,820

100069049   041072058   FAMILY CARE REMINGTON INC.(X)        REMINGTON       VA   22734   LONG TERM CARE      BF9100671    1,100      900      900      700     1,600      300      917      5,500

100062458   018066779   FAMILY & CHILDREN SRVCS PHCY           TULSA         OK   74114       ALT SITE        BF9125065    1,200      600      750      400                         738      2,950
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100057061   044067421   *FRED'S PHARMACY #2474                   MANTACHIE       MS   38855        CHAIN          BF9140283   11,500   11,500   11,100   11,600     400               9,220    46,100

100054064   037080507   *FRED'S PHARMACY # 1324                    BUNKIE        LA   71322        CHAIN          BF9163849   13,600   14,700   12,900   13,000                      13,550    54,200

100089648   024115360   FRENCH HOSPITAL MEDICAL CTR            SAN LUIS OBISPO   CA   93401       HOSPITAL        BF9170159    1,900    1,800    2,300    1,700    1,200      700     1,600     9,600

100054888   040061093   *FRED'S PHARMACY # 1264                  BRUNSWICK       GA   31523        CHAIN          BF9201702   13,000   14,700   12,000   12,000    2,300             10,800    54,000

100053937   037081182   *FRED'S PHARMACY #2334                 LAKE CHARLES      LA   70611        CHAIN          BF9202665    7,100    7,300    6,600    5,400                       6,600    26,400

100055550   044026690   *FRED'S PHARMACY # 2484 RX                 MARION        IL   62959        CHAIN          BF9209621   11,900    9,800                                        10,850    21,700

100054028   018030585   *FRED'S PHARMACY #2799                    RUSTON         LA   71270        CHAIN          BF9257266    5,700    6,400    6,500    5,300     800               4,940    24,700

100059175   044031112   FERRELL HOSPITAL                         ELDORADO        IL   62930       HOSPITAL        BF9268384     200      100      300               200       200      200      1,000

100073634   055048488   *FRED'S PHARMACY #1114                    ANDREWS        SC   29510        CHAIN          BF9293870    4,200    4,300    4,000    5,300     200               3,600    18,000

100058624   052093815   *GETWELL DRUG & DOLLAR #6022             SULLIGENT       AL   35586        CHAIN          BF9309659   11,300   10,400   11,800   16,000                      12,375    49,500

100058616   052093831   *FRED'S PHARMACY #1676                   FLORENCE        AL   35634        CHAIN          BF9335200   10,500   11,600    5,200   11,000                       9,575    38,300

100067010   019143008   FARMACIA 47 PHARMACY           CPA        CHICAGO        IL   60609     INDEPENDENT       BF9416834    4,100    3,600    4,100    2,600    3,200     2,600    3,367    20,200

100066445   018060772   *FRED'S PHARMACY #2271                    MALVERN        AR   72104        CHAIN          BF9421392   25,900   30,400   30,600   29,840     400              23,428   117,140

100050239   003015248   FCIA SAN RAFAEL (PP) GNP                  SAN JUAN       PR   00909     INDEPENDENT       BF9443665              300      300               200                267       800

100071299   037140228   FANNIN SURGICARE        #712              HOUSTON        TX   77054       HOSPITAL        BF9445847              200              1,000     (500)              233       700

100067238   046050369   FEMY DRUG CORP,DBA OLYMPIA PHY             MIAMI         FL   33165     INDEPENDENT       BF9454327     100      500      100      100                         200       800

100103773   055038265   NOVANT HEALTH PHCY (FL) (WAC)          WINSTON SALEM     NC   27103       HOSPITAL        BF9557604    1,200    1,900    3,100    3,600    4,300     3,800    2,983    17,900

100103772   055038257   NOVANT HEALTH PHCY (FL) (340B)         WINSTON SALEM     NC   27103   PHS 340B HOSPITAL   BF9557604    3,600    2,300    1,100    1,600               500     1,820     9,100

100063066   018078501   *FRED'S PHARMACY #1609                     DUMAS         AR   71639        CHAIN          BF9575842   10,600   11,500   10,300    9,000    3,000              8,880    44,400

100085327   049182659   FAMILY HEALTH CARE PHCY GRANT              GRANT         MI   49327     INDEPENDENT       BF9634014    9,300   10,000   21,700    4,500    7,500    11,200   10,700    64,200

100085328   049182667   FAMILY HLTH CARE PH GRANT 340B             GRANT         MI   49327    PHS 340B CLINIC    BF9634014    6,100    8,000    7,000    6,500    4,700     3,300    5,933    35,600

100064020   052092890   *FRED'S XPRESS RX #3638                  HALEYVILLE      AL   35565        CHAIN          BF9644801   25,720   22,700   19,180   22,300     900              18,160    90,800

100062630   012116640   FIRESIDE PHARMACY                       PALM DESERT      CA   92260     INDEPENDENT       BF9653874   18,600    1,400   16,600   27,000   22,100     1,500   14,533    87,200

100058776   052026690   *FRED'S PHARMACY #1929 DEKALB             DE KALB        MS   39328        CHAIN          BF9662431   16,000   18,200   16,400   15,500     500              13,320    66,600

100086852   008046763   FLYING DIAMOND PHARMACY LLC                 RENO         NV   89523   LONG TERM CARE      BF9689754    3,800    3,600    2,800    4,400    3,700     3,600    3,650    21,900

100075730   046128975   FAMILY PHYSICIANS RX {DAVIE}               DAVIE         FL   33314     MAIL SERVICE      BF9693967    2,000    4,000    2,000                                2,667     8,000

100075730   046128975   FAMILY PHYSICIANS RX {DAVIE}               DAVIE         FL   33314     INDEPENDENT       BF9693967                                                  1,000    1,000     1,000

100058201   040084004   *FRED'S PHARMACY #2214                   LOUISVILLE      GA   30434        CHAIN          BF9736616    3,800    4,200    4,100    4,500                       4,150    16,600

100060576   040083923   *FRED'S PHARMACY #3371                     WRENS         GA   30833        CHAIN          BF9736628    4,400    5,100    4,000    5,000                       4,625    18,500

100054198   037041194   FARMACIA DEL SOL                          HOUSTON        TX   77081     INDEPENDENT       BF9737478    8,700    9,100    2,100    4,800    2,500     2,500    4,950    29,700

100066847   040143339   FOREST HEIGHTS PHARMACY          CPA    STATESBORO       GA   30458     INDEPENDENT       BF9741883    5,700    6,600    8,500    8,000    4,300     7,600    6,783    40,700

100060567   040083949   *FRED'S PHARMACY #2959                 SOCIAL CIRCLE     GA   30025        CHAIN          BF9746756    7,600    6,500    5,800    5,900                       6,450    25,800

100063495   044066886   *FRED'S PHCY #7601 - MARKS                 MARKS         MS   38646        CHAIN          BF9784352    5,000    4,700    5,500    5,100                       5,075    20,300

100072193   018091249   FORT WORTH PHCY           SF            FORT WORTH       TX   76132     INDEPENDENT       BF9789871     300      200                                           250       500

100059802   040168435   *FRED'S PHARMACY # 1519                  CLEVELAND       GA   30528        CHAIN          BF9810169    8,700   10,000    5,100    6,200                       7,500    30,000

100060697   018000588   *FRED'S PHARMACY #1534                    BENTON         LA   71006        CHAIN          BF9945582    7,900    5,400    7,320    6,300                       6,730    26,920

100064040   052160523   *FRED'S PHARMACY #2759                  ROGERSVILLE      AL   35652        CHAIN          BF9950696    6,400    6,300    8,000   10,300                       7,750    31,000

100075202   021042259   FREEMAN HEALTH SYSTEM EAST                 JOPLIN        MO   64804       HOSPITAL        BF9978442     400                                                    400       400

100062899   052154716   *FRED'S PHARMACY #1824                  HATTIESBURG      MS   39402        CHAIN          BF9979571   16,700   15,300   18,500   13,400    2,000             13,180    65,900

100060400   018074633   FAMILY FIRST PHARMACY                      TYLER         TX   75703     INDEPENDENT       BF9987681    4,700    7,400    4,600    8,300    8,800     4,100    6,317    37,900

100055988   032077131   GHC PHARM TACOMA SPLTY CTR 24             TACOMA         WA   98405     HEALTH PLAN       BG0160034   27,400   27,000   25,700   27,100   16,700             24,780   123,900

100073601   032118034   GHC PHARM TACOMA SPLTY CTR24 2            TACOMA         WA   98405     HEALTH PLAN       BG0160034                                       16,100    21,200   18,650    37,300

100055984   032077073   GHC PHARM TACOMA S MC 23                  TACOMA         WA   98444     HEALTH PLAN       BG0160046   16,100   17,600   16,100   17,300                      16,775    67,100

100073470   032000943   GHC PHARM TACOMA S MC 23 2                TACOMA         WA   98444     HEALTH PLAN       BG0160046                                       15,200    17,200   16,200    32,400
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100063962   019002568   GOTTLIEB PROFESSIONAL BUILDING    MELROSE PARK    IL   60160    INDEPENDENT      BG0246303    3,100    5,200    2,700    3,400     2,600    5,800    3,800    22,800

100056231   032077206   GHC PHARM EVERETT MC 15             EVERETT       WA   98201    HEALTH PLAN      BG0292778   24,000   24,500   23,700   24,800     3,600            20,120   100,600

100071853   032116202   GHC PHARM EVERETT MC15 2            EVERETT       WA   98201    HEALTH PLAN      BG0292778                                        21,100   23,900   22,500    45,000

100060534   032182303   GRANDE RONDE HOSPITAL              LA GRANDE      OR   97850      HOSPITAL       BG0297069    1,200    1,400    1,000    2,000      680      300     1,097     6,580

100054074   017031005   GIBSON'S PHARMACY                    MURRAY       UT   84107    INDEPENDENT      BG0492188    8,100    6,500    5,800    9,600    10,700    6,000    7,783    46,700

100085717   010210229   GERDES PHARMACY          APSC       CONNEAUT      OH   44030    INDEPENDENT      BG0714952    7,700    5,200    5,600    6,200     3,600    1,100    4,900    29,400

100106444   018403873   GLEN OAKS HOSPITAL                 GREENVILLE     TX   75402      HOSPITAL       BG0765341     500      200      400      700                100      380      1,900

100071430   004175836   GEROULD'S PROF PHCY INC #3(GNP    HORSEHEADS      NY   14845    INDEPENDENT      BG0830340   10,500   10,000   10,300   11,000    11,100    7,800   10,117    60,700

100104493   020117762   GUADALUPE COUNTY HOSPITAL          SANTA ROSA     NM   88435      HOSPITAL       BG1146720     100      100               200                         133       400

100052566   024039073   GOOD DRUGS                          PASADENA      CA   91104    INDEPENDENT      BG1164968     400      400      700     1,100                        650      2,600

100056235   032077248   GHC PHARM FACTORIA MC 27            BELLEVUE      WA   98006    HEALTH PLAN      BG1212036    4,900    5,400    5,300    3,900                       4,875    19,500

100071816   032120030   GHC PHARM FACTORIA MC 27 2          BELLEVUE      WA   98006    HEALTH PLAN      BG1212036                                         3,900    6,300    5,100    10,200

100057680   010021352   GFP PHARMACY, INC.      APSC      GARRETTSVILLE   OH   44231    INDEPENDENT      BG1251886   10,100    2,000    9,000    5,500     1,500    5,800    5,650    33,900

100088797   023134338   GOOD HEALTH PHARMACY INC. CPA      BELLEVILLE     NJ   07109    INDEPENDENT      BG1255997     300      500      300                200               325      1,300

100057679   010020644   GATES PHARMACY         APSC          ELYRIA       OH   44035    INDEPENDENT      BG1327142    3,800    3,800    3,400    4,800     5,000    5,800    4,433    26,600

100066412   040143180   CITY PHCY OF ZEBULON, PC CPA        ZEBULON       GA   30295    INDEPENDENT      BG1660314    4,680   11,000    3,500    2,000     4,500    6,500    5,363    32,180

100056117   037086280   GOLIAD PHARMACY & GIFTS              GOLIAD       TX   77963    INDEPENDENT      BG2178122   10,000   11,000    9,600   10,300     7,200    5,200    8,883    53,300

100061562   018090795   GROVE MED CTR PHCY         SF        DALLAS       TX   75217    INDEPENDENT      BG2185367    2,500    4,100    4,000    4,700     4,000    8,500    4,633    27,800

100054914   010043489   LEE SILSBY COMPOUNDING RX MWF      CLEVELAND      OH   44118    INDEPENDENT      BG2241660                                100       100               100       200

100055992   032077172   GHC PHARM POULSBO MC 25             POULSBO       WA   98370    HEALTH PLAN      BG2414326    7,300    6,400    6,400    6,100      300              5,300    26,500

100071819   032120063   GHC PHARM POULSBO MC 25 2           POULSBO       WA   98370    HEALTH PLAN      BG2414326                                         6,200    6,500    6,350    12,700

100060792   023011007   G & G DRUGS                       EAST ORANGE     NJ   07018    INDEPENDENT      BG2443505     200      200      500     1,300                        550      2,200

100058832   049022822   GROVER PHARMACY                     FRUITPORT     MI   49415    INDEPENDENT      BG2537934   16,100   18,500   22,000   11,000    21,000   17,600   17,700   106,200

100052781   024029462   GARDENA PROFESSIONAL PHARMACY       GARDENA       CA   90247    INDEPENDENT      BG2624193    3,300    3,500    3,100    2,600     3,000    4,500    3,333    20,000

100106807   012085555   GARDENA PROFESSIONAL PHCY 340B      GARDENA       CA   90247   PHS 340B CLINIC   BG2624193              100                                           100       100

100066948   049045005   GARDEN CITY HOSP OUTPATIENT PH     GARDEN CITY    MI   48135    INDEPENDENT      BG2881313   13,500   15,400   14,000    4,300                      11,800    47,200

100052103   010042283   GALLAHER'S PHARMACY, INC APSC       ASHLAND       KY   41101    INDEPENDENT      BG3029661    6,500    6,800    5,500    8,300     7,100    7,600    6,967    41,800

100054120   037023408   GREENPARK PHCY                      HOUSTON       TX   77025    INDEPENDENT      BG3031476              100      100                                  100       200

100064286   004100131   *GRADE-A MARKET INC                 STAMFORD      CT   06902       CHAIN         BG3130034     400     1,100     600     1,400                        875      3,500

100071313   018140251   GREEN OAKS HOSPITAL        HCA       DALLAS       TX   75251      HOSPITAL       BG3312321     900     1,050     700     1,000      880      640      862      5,170

100051105   008023671   GOLDEN GATE PHCY      S1 5G CPA   SAN FRANCISCO   CA   94122    INDEPENDENT      BG3364166    4,200    1,500     800     2,600      500              1,920     9,600

100059474   023026831   GIARDINA PHARMACY (ARX)           NORTH BERGEN    NJ   07047    INDEPENDENT      BG3369421     200       -       300                                  167       500

100064287   004100149   *GRADE A MARKET INC #394            NORWALK       CT   06854       CHAIN         BG3414086      -       200      100      (100)                        50       200

100071123   046140772   COLUMBIA WESTSIDE REG MED #712     PLANTATION     FL   33324      HOSPITAL       BG3507033     900      400      500      300       620      240      493      2,960

100085807   023103895   GREEN CROSS PHARMACY (ARX)           PASSAIC      NJ   07055    INDEPENDENT      BG3562091                       100      600                         350       700

100065976   019003046   GAS CITY DISTRIBUTERS,INC APSC      GAS CITY      IN   46933    INDEPENDENT      BG3743540   39,300   39,000   39,500   38,900    40,600   29,800   37,850   227,100

100085750   021059915   GREGWIRE DRUG STORE        CPA      RUSSELL       KS   67665    INDEPENDENT      BG4171601    5,100    9,500   24,900   22,100      300     4,100   11,000    66,000

100052993   024041988   GLESENER PHARMACY                    COVINA       CA   91723    INDEPENDENT      BG4245658   13,800   21,600   11,400   14,200    20,100   18,900   16,667   100,000

100103850   024121384   GLESENER PHARMACY COMBO              COVINA       CA   91723    INDEPENDENT      BG4245658    4,500                                                  4,500     4,500

100066444   018047225   GARDEN OAKS PHARMACY, INC CPA        CAMDEN       AR   71701    INDEPENDENT      BG4297075    4,000     200    10,400    4,500    11,000    3,500    5,600    33,600

100050377   018045419   PLAZA PHARMACY                     GAINESVILLE    TX   76240    INDEPENDENT      BG4315102   18,100   17,700   20,800   14,000    21,100    7,000   16,450    98,700

100054503   010044842   GEHRING PHARMACY        APSC       CINCINNATI     OH   45246    INDEPENDENT      BG4319821    2,300    1,800    2,900    1,000     3,000    1,000    2,000    12,000

100055985   032077099   GHC PHARM PUYALLUP 39               PUYALLUP      WA   98374    HEALTH PLAN      BG4436792   21,800   22,100   20,800   18,600     1,900            17,040    85,200

100073538   032000976   GHC PHARM PUYALLUP 39 2             PUYALLUP      WA   98374    HEALTH PLAN      BG4436792                                        16,200   18,100   17,150    34,300
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100100642   010233916   GRANT MEDICAL CENTER WAC              COLUMBUS        OH   43215   PHS 340B HOSPITAL   BG4680395     400      2,000      700     5,000    3,820    2,260    2,363    14,180

100065534   010021576   GRANT MEDICAL CENTER 340B             COLUMBUS        OH   43215   PHS 340B HOSPITAL   BG4680395    2,600     1,800     3,500     500     1,000    1,400    1,800    10,800

100052081   010042705   GRANT MEDICAL CENTER RX               COLUMBUS        OH   43215       HOSPITAL        BG4680395    2,400     3,300     2,500    1,100              940     2,048    10,240

100050745   052037077   GULFSOUTH SURGERY CTR.LLC             GULFPORT        MS   39501       HOSPITAL        BG4686169               300       100      100      100      100      140       700

100069891   020142448   KOMATKE HEALTH CTR PHCY 340B           LAVEEN         AZ   85339    PHS 340B CLINIC    BG4706226    4,000     6,000     3,500    6,000                      4,875    19,500

100090732   044210450   GOOD SAMARITAN REG HLTH CTR         MOUNT VERNON      IL   62864       HOSPITAL        BG4793166    1,900     1,400     1,500    1,800    2,480    1,500    1,763    10,580

100055759   032063560   GOLD HILL PHCY                        GOLD HILL       OR   97525     INDEPENDENT       BG4798180   16,200     1,000    10,500    7,000    8,500    8,500    8,617    51,700

100109844   049197137   GABECARE DIRECT RX INC      SF          TROY          MI   48084     INDEPENDENT       BG4827765    4,200     8,300     4,800    6,500    4,400    2,500    5,117    30,700

100052561   010054064   GAHMS PHARMACY, INC      APSC         LUCASVILLE      OH   45648     INDEPENDENT       BG4889917   10,600    42,000    38,600                      2,000   23,300    93,200

100061056   023014092   GOODALE PHCY-(GNP) CPA                  DOVER         NJ   07801     INDEPENDENT       BG4920864    1,700     1,900     1,600    3,600     700     1,100    1,767    10,600

100087573   019150409   GUNDERSEN LUTHERAN CL -ONA            ONALASKA        WI   54650       HOSPITAL        BG5113814    3,400     4,300     2,900    5,000    6,000    6,000    4,600    27,600

100092935   019161547   GUNDERSEN LUTH CLIN PHCY 340B         ONALASKA        WI   54650       HOSPITAL        BG5113814                        1,000    2,000                      1,500     3,000

100105599   023152884   RESTORE HEALTH                      HIGHLAND PARK     NJ   08904     INDEPENDENT       BG5155747     200       200       100      200      200               180       900

100069343   046141705   ST PETERSBURG GEN. HOSP #712       SAINT PETERSBURG   FL   33710       HOSPITAL        BG5189469     550       400       300      500      500      460      452      2,710

100053915   010046821   GILL'S FAMILY PHARMACY - EDI          MCARTHUR        OH   45651     INDEPENDENT       BG5190777    8,000     8,000    13,000    5,000    6,500    1,600    7,017    42,100

100073639   055045252   GASTON FMLY HTLH SVS INC(X)           GASTONIA        NC   28052    PHS 340B CLINIC    BG5394438    4,700    13,800     1,000    5,500     100              5,020    25,100

100056490   018030346   GADDIS PHARMACY,L.C.   SF              COTULLA        TX   78014     INDEPENDENT       BG5450452    8,800    12,200    12,600   10,500    7,200    6,600    9,650    57,900

100052480   020024141   PHARMERICA (PHOENIX)                   PHOENIX        AZ   85021   LONG TERM CARE      BG5758113   18,000    23,500    22,500   30,600             1,000   19,120    95,600

100107314   018404244   GOLDER PROFESSION PHRMCY               ODESSA         TX   79761     INDEPENDENT       BG5856604   18,000    22,000    19,500   22,500   12,500    9,500   17,333   104,000

100055986   032077107   GHC PHARM KENT CLINIC 40                KENT          WA   98030     HEALTH PLAN       BG5899426   10,100    11,800     8,700    8,900    2,200             8,340    41,700

100073469   032000935   GHC PHARM KENT CLINIC 40 2              KENT          WA   98030     HEALTH PLAN       BG5899426                                          9,800   11,500   10,650    21,300

100073101   018143297   GIBSON DISCOUNT PHARMACY CPA          SEAGOVILLE      TX   75159     INDEPENDENT       BG5904443   28,700    34,900    29,600   32,700   46,700    9,800   30,400   182,400

100072777   055040766   NEW HORIZON FAMILY HLTH SER(Y)        GREENVILLE      SC   29601    PHS 340B CLINIC    BG6068046    4,900     5,100     4,800    5,000    3,000    3,000    4,300    25,800

100066076   008076919   GONZALES RX PHCY                      GONZALES        CA   93926     INDEPENDENT       BG6070534     300       800      2,000    3,700    6,400    6,900    3,350    20,100

100071642   018144287   GAMMEL'S CLINIC PHARMACY CPA          CROSSETT        AR   71635     INDEPENDENT       BG6073807   10,100    12,500     8,600   10,200             9,300   10,140    50,700

100090080   055031112   *UPSTATE PHCY EASTSIDE(340B)          GREENVILLE      SC   29615   PHS 340B HOSPITAL   BG6284878    4,900                                                   4,900     4,900

100076096   055053132   *UPSTATE PHARMACY EASTSIDE            GREENVILLE      SC   29615       HOSPITAL        BG6284878    3,400                                                   3,400     3,400

100067102   019143271   GAMMARIELLO RX, INC      CPA           CHICAGO        IL   60615     INDEPENDENT       BG6329999    9,600     8,100     8,300    9,300    6,600    7,600    8,250    49,500

100071381   055140988   GRAND STRAND REG MED CTR #712       MYRTLE BEACH      SC   29572       HOSPITAL        BG6385303    2,800     3,350     3,000    3,500    3,180    3,420    3,208    19,250

100067618   010159822   GEORGETOWN COMMUNITY HOSP #712       GEORGETOWN       KY   40324       HOSPITAL        BG6439245     750       800       650      400     1,200     100      650      3,900

100051351   008029405   GARCIA PHCY X S1 4G CPA                SAN JOSE       CA   95112     INDEPENDENT       BG6737348     100       400       200      100               300      220      1,100

100052562   010054072   GAHMS PHARMACY II      APSC        WEST PORTSMOUTH    OH   45663     INDEPENDENT       BG6981915   11,200    10,100    36,600    1,500    2,000    4,000   10,900    65,400

100066156   049143081   WEICK'S PHARMACY       CPA           SHELBYVILLE      MI   49344     INDEPENDENT       BG7092404   11,600    12,900    13,300   31,400    7,200     200    12,767    76,600

100053580   024065862   GOOD PRICE PHARMACY 340B             LOS ANGELES      CA   90042    PHS 340B CLINIC    BG7232969     100       100       100      100                        100       400

100064082   052027565   GANNON, TIMOTHY H. @                   DOTHAN         AL   36301       HOSPITAL        BG7265956                                                     80       80        80

100073099   018143271   GALLAGHER'S PHARMACY         CPA     GEORGETOWN       TX   78628     INDEPENDENT       BG7325601    9,700     4,800     4,300    5,200    5,300    3,000    5,383    32,300

100063648   021056440   GRAND ISLAND SURGERY CTR HSCA        GRAND ISLAND     NE   68803       ALT SITE        BG7341958     300       (100)              100      200       -       100       500

100050869   018064725   GENERX DISC PHCY       SF            CARROLLTON       TX   75006     INDEPENDENT       BG7397676    8,500    10,500     8,100    9,000    3,500    5,000    7,433    44,600

100066790   021008672   GIBSON'S PHCY DODGE CITY CPA          DODGE CITY      KS   67801     INDEPENDENT       BG7445528   21,400    23,700    39,300   33,200    7,400     100    20,850   125,100

100058164   044044784   GOLZ, ROBERT J MD-S IL ORTHOPE         HERRIN         IL   62948       HOSPITAL        BG7663417               200                300                        250       500

100110034   021176404   GILLEN PHARMACY INC      SF         HARRISONVILLE     MO   64701     INDEPENDENT       BG7851428              6,000     9,000    9,300    9,100    6,700    8,020    40,100

100056060   032077198   GHC PHARM CENTRAL REFILL 36            TUKWILA        WA   98168     HEALTH PLAN       BG7982893   87,200   104,800    88,600   94,400   45,200            84,040   420,200

100069043   032116525   GHC PHARM CENTRAL REFILL 36 2          TUKWILA        WA   98168     HEALTH PLAN       BG7982893                                         38,400   64,900   51,650   103,300

100068029   010174797   GRACE HOSPITAL PHARMACY               CLEVELAND       OH   44113       HOSPITAL        BG8028195     200       100                100     3,000              850      3,400
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100057502   037086660   GILBERT SALINAS PHCY     SF        HARLINGEN      TX   78550     INDEPENDENT       BG8114756   10,800   11,000    9,600    8,900    9,400    4,000    8,950    53,700

100056846   018042366   DRUG EMPORIUM 273 RX                 WACO         TX   76710        CHAIN          BG8178128   21,500   22,000   18,800   19,000   30,300   11,000   20,433   122,600

100089681   024115451   GLENDALE MEMORIAL HOSPITAL         GLENDALE       CA   91204       HOSPITAL        BG8179877    1,450    1,950              300     1,360    1,660    1,344     6,720

100089680   024115444   GLENDALE MEMORIAL HOSP 340B        GLENDALE       CA   91204   PHS 340B HOSPITAL   BG8179877     100      350     1,100     850                        600      2,400

100096605   024119602   GLENDALE MEMORIAL HOSP WAC         GLENDALE       CA   91204   PHS 340B HOSPITAL   BG8179877              100               300     1,100              500      1,500

100056847   018042374   DRUG EMPORIUM 200 RX               LONGVIEW       TX   75604        CHAIN          BG8188802   38,400   44,200   37,700   43,200   40,200   28,900   38,767   232,600

100056848   018042382   DRUG EMPORIUM 230 RX               AMARILLO       TX   79109        CHAIN          BG8188814   12,300   13,400   10,700    8,600   10,700    6,200   10,317    61,900

100056842   018042309   DRUG EMPORIUM 251 RX                ABILENE       TX   79605        CHAIN          BG8188838   31,500   30,100   32,300   32,800   20,150   21,000   27,975   167,850

100056849   018042390   DRUG EMPORIUM 262 RX                LUBBOCK       TX   79424        CHAIN          BG8188840    9,500   14,000    4,000   11,700    6,400    4,200    8,300    49,800

100056843   018042325   DRUG EMPORIUM 284 RX                 TYLER        TX   75703        CHAIN          BG8188852    8,300   12,900   11,500   16,300   10,100    9,500   11,433    68,600

100056770   018042408   DRUG EMPORIUM 101 RX                DENTON        TX   76201        CHAIN          BG8188864   15,600   15,900   13,800   17,400   19,900    8,700   15,217    91,300

100064450   010101394   GOOD NEIGHBOR PHY      APSC         DANVILLE      KY   40422     INDEPENDENT       BG8339548   41,400   40,200   36,700   38,700   63,700   43,940   44,107   264,640

100087652   018199588   *GARLAND INDEPENDENT PHCY SF        GARLAND       TX   75043     INDEPENDENT       BG8378312   13,200                                                13,200    13,200

100052478   020019158   SALIBA EXTENDED CARE PHARM          PHOENIX       AZ   85024   LONG TERM CARE      BG8478693   25,000   27,200   27,700   26,000   27,400   23,900   26,200   157,200

100087579   019150367   GUNDERSEN LUTHERAN E PHCY          LA CROSSE      WI   54601       HOSPITAL        BG8514362    3,000    4,500    4,000    4,000    6,800    3,600    4,317    25,900

100092923   019161521   GUNDERSEN LUTHERAN EAST 340B       LA CROSSE      WI   54601       HOSPITAL        BG8514362    1,000     500                                          750      1,500

100092923   019161521   GUNDERSEN LUTHERAN EAST 340B       LA CROSSE      WI   54601   PHS 340B HOSPITAL   BG8514362                                         500     1,000     750      1,500

100071431   004175844   GEROULD'S PROF PHCY INC #4(GNP      CORNING       NY   14830     INDEPENDENT       BG8530417     500     1,000     400      500     6,400    9,200    3,000    18,000

100087662   019150813   WALGREENS #15262                  DES PLAINES     IL   60016     WALGREENS         BG8570702              500               500      500       -       375      1,500

100111660   049000681   GATEWAY PHY OF CLARE EPIC            CLARE        MI   48617     INDEPENDENT       BG8581084                                                 2,000    2,000     2,000

100053423   024076687   BERRY & SWEENEY PHARMACY           PASADENA       CA   91103     INDEPENDENT       BG8755780    1,500    2,800     300     3,000    4,800    9,400    3,633    21,800

100067463   052070078   GILMER DRUG COMPANY, INC SF       BIRMINGHAM      AL   35218     INDEPENDENT       BG8962789   14,600   11,500   11,500   13,700   18,100   15,100   14,083    84,500

100058672   044060913   G & O PHARMACY OF PADUCAH, INC      PADUCAH       KY   42001     INDEPENDENT       BG8971916   37,200   33,500   42,200   43,700   38,800   30,900   37,717   226,300

100059968   023019869   GILLMAN, EDWIN C                  HARRISBURG      PA   17109       ALT SITE        BG8992922      -       100               150               200      113       450

100066387   055143206   GASTON FAMILY PHARMACY(X) CPA       GASTON        SC   29053     INDEPENDENT       BG9068669    9,500    8,700   10,500   12,000    5,800    2,000    8,083    48,500

100055971   010000620   GREAT SCOT COMMUNITY MARKET 70     FOSTORIA       OH   44830     INDEPENDENT       BG9108920    6,100    8,200    6,400    6,600    4,700    5,700    6,283    37,700

100084307   010195636   GHA PHARMACY                       CINCINNATI     OH   45230     INDEPENDENT       BG9256024    4,500    6,500    5,000    5,500   11,100    4,600    6,200    37,200

100084315   010195669   GHA PHARMACY - WEST HILLS          CINCINNATI     OH   45238     INDEPENDENT       BG9256048    4,000    3,000   12,000     500     3,000    1,800    4,050    24,300

100084308   010195644   GHA PHARMACY - KENWOOD             CINCINNATI     OH   45236     INDEPENDENT       BG9256074    1,600    4,400    3,400    2,800    3,700    4,000    3,317    19,900

100084309   010195651   GROUP HEALTH PHARMACY            WEST CHESTER     OH   45069     INDEPENDENT       BG9256086    6,100    5,500    5,000    6,000   11,600    7,200    6,900    41,400

100084305   010195628   GHA PHARMACY - CLIFTON             CINCINNATI     OH   45220     INDEPENDENT       BG9256098    9,600   10,000   10,500    9,000   13,100   10,400   10,433    62,600

100083361   010191676   GHA PHARMACY                         MASON        OH   45040     INDEPENDENT       BG9256113    1,500    3,500    1,800    2,800    2,100    2,900    2,433    14,600

100085377   023102749   GERISCRIPT LLC                   POMPTON PLAINS   NJ   07444   LONG TERM CARE      BG9369667    3,000    5,600    5,200    2,900    2,100    2,800    3,600    21,600

100092936   019161554   GUNDERSEN LUTH CLIN PHCY WAC       ONALASKA       WI   54650       HOSPITAL        BG9540700                                200                        200       200

100087581   019150383   GUNDERSEN LUTHERAN CL -ONA INF     ONALASKA       WI   54650       HOSPITAL        BG9540700                       100                                 100       100

100086235   010212472   *GUARDIAN LONG TERM CARE PHCY      BROCKWAY       PA   15824   LONG TERM CARE      BG9604744   26,200   22,800   25,600                              24,867    74,600

100067928   019159434   GLANDER PRESCRIPTION PLUS SF       SHEBOYGAN      WI   53081     INDEPENDENT       BG9661073   11,500   11,100    8,000   12,600    9,800   10,500   10,583    63,500

100084068   023094490   GENERATION PHARMACY LLC            NEW YORK       NY   10038     INDEPENDENT       BG9820588              100                                          100       100

100085794   023103853   GREENHILLS PHARMACY (ARX)         PARSIPPANY      NJ   07054     INDEPENDENT       BG9989938     700      500     1,100    1,100    1,200    3,000    1,267     7,600

100053733   010053249   HIGHLANDS HOSPITAL               CONNELLSVILLE    PA   15425       HOSPITAL        BH0131881     400               300      650                        450      1,350

100052089   010042903   *NEON SUPERIOR HEALTH CENTER       CLEVELAND      OH   44106    PHS 340B CLINIC    BH0167216    1,000     500     1,000     500                        750      3,000

100070145   019250068   HARTIG DRUG CO #6      (RX)        DYERSVILLE     IA   52040        CHAIN          BH0195811    5,200    6,500    4,000    4,100    5,000    3,000    4,633    27,800

100089302   032142877   HAWTHORNE PARK PHARMACY             MEDFORD       OR   97504     INDEPENDENT       BH0255782    9,600   13,900   12,700   13,500   13,200    5,200   11,350    68,100

100065654   018068312   HARRISON DISCOUNT PHARMACY         SHAWNEE        OK   74801     INDEPENDENT       BH0364199   34,500   35,200   33,000   34,900   35,000   33,000   34,267   205,600
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100060598   023007583   HOFFMAN PHARMACY         (Z)          LAURENCE HARBOR      NJ   08879     INDEPENDENT       BH0396843    3,400    3,200     1,400    4,900     1,700     500     2,517    15,100

100063154   025001107   HAYWARD AREA MEMORIAL HOSP                HAYWARD          WI   54843       HOSPITAL        BH0490019    1,200    1,000      900      800      1,280     740      987      5,920

100067695   024140079   LOS ROBLES SURGICENTER #712(3)         THOUSAND OAKS       CA   91360       HOSPITAL        BH0546006     100                          50                          75       150

100062144   046092957   H LEE MOFFITT CANCER CTR (IP)              TAMPA           FL   33612       HOSPITAL        BH0622818     600     1,000      400     1,600                        900      3,600

100108038   046059725   H LEE MOFFITT CANCER CTR IPCS              TAMPA           FL   33612       HOSPITAL        BH0622818                                           100      400      250       500

100053162   024072207   WESTERN GLENDALE DRUG                     GLENDALE         CA   91201     INDEPENDENT       BH0638671    1,600    1,600     1,600    1,900     1,300    2,100    1,683    10,100

100108733   023159590   HAZLETON GENERAL HOSPITAL                 HAZLETON         PA   18201       HOSPITAL        BH0649939     800      500       800     1,200      240      240      630      3,780

100065488   023013953   HYLAN MED CABINET LTD(Z)                STATEN ISLAND      NY   10306     INDEPENDENT       BH0886690    2,900    2,300     2,800    3,800     4,400    4,500    3,450    20,700

100052792   024032557   HERBERT'S PHARMACY                      BEVERLY HILLS      CA   90211     INDEPENDENT       BH0973140    2,100    1,900     2,500    3,200     4,000    1,500    2,533    15,200

100085849   046036186   HUMANA PHARMACY INC. #01281              HOLLYWOOD         FL   33020     HEALTH PLAN       BH1075779     700      700       300     1,000      800               700      3,500

100085855   046036244   HUMANA PHARMACY INC. #01312               LANTANA          FL   33462     HEALTH PLAN       BH1075818    1,100    2,100     1,000    1,100     1,200    1,100    1,267     7,600

100085814   046036137   HUMANA PHARMACY INC. #01276                 MIAMI          FL   33135     HEALTH PLAN       BH1085150     200      600                300       400      300      360      1,800

100085846   046036152   HUMANA PHARMACY INC. #01673                 MIAMI          FL   33165     HEALTH PLAN       BH1085162     900      500       500      900               1,000     760      3,800

100104509   018394718   BEST VALUE HICO PHARMACY CPA                HICO           TX   76457     INDEPENDENT       BH1090579   13,200   13,100    15,300   18,200    10,400   13,300   13,917    83,500

100067613   010159814   BOURBON COMMUNITY HOSPITAL#712              PARIS          KY   40361       HOSPITAL        BH1108338     600      100      1,750                                 817      2,450

100059823   056027433   HOPEWELL PHARMACY (IPBG)                  HOPEWELL         NJ   08525     INDEPENDENT       BH1172129     800      900      1,000     700       500      600      750      4,500

100070769   004140087   PORTSMOUTH REGIONAL HOSP #712           PORTSMOUTH         NH   03801       HOSPITAL        BH1244057     700     1,200     1,050     700       850      800      883      5,300

100057028   021037291   HUMBOLDT PHARMACY              CPA        HUMBOLDT         KS   66748     INDEPENDENT       BH1269302    3,100    4,600     3,600    5,600     6,000    1,100    4,000    24,000

100066858   040143438   HUDSON BRIDGE PHCY             CPA      STOCKBRIDGE        GA   30281     INDEPENDENT       BH1314791   12,300   16,300     2,200   22,400     4,000   14,700   11,983    71,900

100050399   004018705   HEALTH CARE PHARMACY                     FALL RIVER        MA   02720     INDEPENDENT       BH1317177    1,200    1,100      400                                  900      2,700

100063790   049054072   HFMC - LAKESIDE 340B                  STERLING HEIGHTS     MI   48313   PHS 340B HOSPITAL   BH1330707    6,500    9,000     8,400    5,200     9,000   11,500    8,267    49,600

100067142   049042903   HFMC - LAKESIDE 420 RETAIL            STERLING HEIGHTS     MI   48313     INDEPENDENT       BH1330707    2,100    2,300     2,700    4,200    11,600   11,700    5,767    34,600

100092436   049162479   HFMC PHCY LAKESIDE 340B               STERLING HEIGHTS     MI   48313   PHS 340B HOSPITAL   BH1330707              100                                            100       100

100061828   023012559   HOLLY PHARMACY INC         GNP       MOUNT HOLLY SPRINGS   PA   17065     INDEPENDENT       BH1398292    6,100    5,500     7,500    6,500     7,200    4,600    6,233    37,400

100085789   046036277   HUMANA PHARMACY #01564                 WEST PAM BEACH      FL   33407     HEALTH PLAN       BH1480766    3,100    3,700     2,600    3,700     2,500    1,500    2,850    17,100

100055151   018024315   HAMILTON GENERAL HOSPITAL                 HAMILTON         TX   76531       HOSPITAL        BH1530535     400      500       300      600       160      680      440      2,640

100056051   046002287   HERMANAS GONZALEZ PHCY & DISC               MIAMI          FL   33144     INDEPENDENT       BH1559559                        100                                  100       100

100055008   012031005   HEALTH CARE PHY TUSTIN                     TUSTIN          CA   92780     INDEPENDENT       BH1604746    4,000    4,100     4,000    6,500     4,700    4,200    4,583    27,500

100050331   018042267   HALLMARK PHARMACY                        FORT WORTH        TX   76134     INDEPENDENT       BH1635828   29,800   35,600    31,300   28,800    31,700   22,700   29,983   179,900

100085809   023103952   HARRIS PHARMACY (ARX)                     NEWARK           NJ   07104     INDEPENDENT       BH1665720              100       100                                  100       200

100056698   056012229   HADDON PHARMACY                        COLLINGSWOOD        NJ   08108     INDEPENDENT       BH1767093     400      200       400      100                         275      1,100

100074237   055060160   HAW RIVER DRUG CO (Z) (GNP)              HAW RIVER         NC   27258     INDEPENDENT       BH1895525    3,700    4,700     4,300    3,700     3,800    3,800    4,000    24,000

100066707   018061309   HEALTHCARE PHCY           SF             LITTLE ROCK       AR   72206   LONG TERM CARE      BH1954040                       1,200     100                         650      1,300

100090118   032143842   *HIGHLINE MED CTR SPEC CAMPUS             SEATTLE          WA   98168       HOSPITAL        BH1995818     100                300      100                         167       500

100060601   023013482   HOLMDEL VILLAGE PCY(X)         GNP        HOLMDEL          NJ   07733     INDEPENDENT       BH2135805     300     1,700      600      800                300      740      3,700

100066659   049175588   *MERCY HEALTH HACKLEY CAMPUS             MUSKEGON          MI   49442     INDEPENDENT       BH2236215   11,400   12,100    12,600   14,400                      12,625    50,500

100069866   049230409   *MERCY HEALTH HACKLEY CAMPUS             MUSKEGON          MI   49442   PHS 340B HOSPITAL   BH2236215    2,300    1,000      700     2,600                       1,650     6,600

100067141   049042895   HFHS - TROY 410 RETAIL                      TROY           MI   48083     INDEPENDENT       BH2259542    2,200     200      1,300    1,700     4,300    3,500    2,200    13,200

100063789   049054064   HFHS - TROY 340B                            TROY           MI   48083   PHS 340B HOSPITAL   BH2259542    1,200    1,600      700     1,100              1,400    1,200     6,000

100063788   049054023   HFMC - ST HEIGHTS 340B                STERLING HEIGHTS     MI   48310   PHS 340B HOSPITAL   BH2259554    9,900    7,600     7,400    6,300     6,900   16,800    9,150    54,900

100067140   049042887   HFMC - ST HEIGHTS 400 RETAIL          STERLING HEIGHTS     MI   48310     INDEPENDENT       BH2259554     200     1,000     1,400    3,700     8,800    1,600    2,783    16,700

100092446   049188995   HFMC PHCY STERLING HGTS 340B          STERLING HEIGHTS     MI   48310   PHS 340B HOSPITAL   BH2259554                        100                                  100       100

100066658   049175570   *MERCY HEALTH HACKLEY CAMPUS             MUSKEGON          MI   49442     INDEPENDENT       BH2265735   12,400   15,100    11,300   19,800                      14,650    58,600

100090858   049188581   *MERCY HEALTH HACKLEY CAMPUS             MUSKEGON          MI   49442   PHS 340B HOSPITAL   BH2265735    1,400     (200)     900      (200)                       475      1,900
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100066979   046054379   HIGHLAND PHARMACY, INC.                 CLEARWATER       FL   33756       INDEPENDENT        BH2298823    3,500    3,700    3,900     1,500    4,700     1,700    3,167    19,000

100071647   044143305   HYDE PHARMACY INC,       CPA            PARAGOULD        AR   72450       INDEPENDENT        BH2333502   30,500   17,900   43,100     9,400   25,000    14,500   23,400   140,400

100085850   046036194   HUMANA PHARMACY INC. #02125             PLANTATION       FL   33324       HEALTH PLAN        BH2493384    1,200    1,200    1,200     1,600    2,000     1,000    1,367     8,200

100085856   046036251   HUMANA PHARMACY INC. #01310            DELRAY BEACH      FL   33484       HEALTH PLAN        BH2528062    1,500     500               2,000               500     1,125     4,500

100067320   046020552   FAMILY DRUG MART                      PORT SAINT JOHN    FL   32927       INDEPENDENT        BH2669870    7,800    9,500   16,300     9,000   12,200     2,500    9,550    57,300

100063046   021002246   HAYS MEDICAL CENTER, INC                   HAYS          KS   67601         HOSPITAL         BH2695572    1,900    3,500    2,600     3,300    3,900     2,500    2,950    17,700

100090642   019157669   HFM PRESCRIPTION SERVICES               MANITOWOC        WI   54220         HOSPITAL         BH2829503    1,300    2,800    1,800     2,800    3,100      200     2,000    12,000

100103901   019179887   HOLY FAMILY MEMORIAL, INC               MANITOWOC        WI   54220         HOSPITAL         BH2829503     600      500     1,200     1,600    3,200      720     1,303     7,820

100051897   008047027   RIDGECREST PHCY                        WALNUT CREEK      CA   94596       INDEPENDENT        BH2930279    2,000     600     2,300     1,600    2,200      600     1,550     9,300

100070146   019250076   HARTIG DRUG CO #8      (RX)              DUBUQUE         IA   52001          CHAIN           BH2993029    9,000    7,500    7,400     8,100    9,900     6,500    8,067    48,400

100075093   010185793   HIGHLANDS MEDICAL OFFICE PHAR           PAINTSVILLE      KY   41240         HOSPITAL         BH2996784    8,300   11,500    7,100    10,000    9,700    11,500    9,683    58,100

100100587   018403352   HARDEMAN CTY MEM HOSP DIP ACCT            QUANAH         TX   79252         HOSPITAL         BH3079060                                 600      100                350       700

100073103   018143313   HENRIETTA PHARMACY INC        CPA        HENRIETTA       TX   76365       INDEPENDENT        BH3121960   15,700   15,400   19,500     1,300   11,600    13,100   12,767    76,600

100053163   024072215   WESTERN DRUG #4                          GLENDALE        CA   91204       INDEPENDENT        BH3185394     600     1,200     500       800      100                640      3,200

100057989   044046060   HOLCOMB'S PHARMACY, INC        CPA        PIGGOTT        AR   72454       INDEPENDENT        BH3221986    6,600    2,500    3,500     3,500    2,300     5,000    3,900    23,400

100072563   055070128   HAYWOOD-MONCURE HLTH CNTR(D51)           MONCURE         NC   27559      PHS 340B CLINIC     BH3250610    2,600    3,600    1,500     2,400    4,700              2,960    14,800

100063262   046070649   HEALTHMARK REG. MED. CTR.             DEFUNIAK SPRINGS   FL   32435         HOSPITAL         BH3278668     200      500      500       400      200                360      1,800

100071570   018144212   DEAN'S PHARM&VITAL CARE SV CPA            DE WITT        AR   72042       INDEPENDENT        BH3336585   13,200   13,300   17,700     9,800   10,500     6,600   11,850    71,100

100064642   019000166   HEIGHTS PHARMACY, INC.                CHICAGO HEIGHTS    IL   60411       INDEPENDENT        BH3354280     100                                                     100       100

100050306   003055756   USCG BASE SAN JUAN                       SAN JUAN        PR   00901    HOSPITAL (FEDERAL)    BH3388457     100                                                     100       100

100058023   049005819   HILLMAN PHARMACY INC                      HILLMAN        MI   49746       INDEPENDENT        BH3470197   10,100    8,600    6,900     9,000   11,700    11,300    9,600    57,600

100064558   049055186   HILLMAN PHCY - THUNDER BAY/PHS            HILLMAN        MI   49746      PHS 340B CLINIC     BH3470197    4,900    5,000    5,400     4,300                       4,900    19,600

100054186   037025692   MEDICAL PLAZA PHCY @CLEAR LAKE           WEBSTER         TX   77598       INDEPENDENT        BH3474246   15,050   18,500   16,600    21,700   29,400    15,700   19,492   116,950

100055159   010024109   HARRY'S PHARMACY, INC     APSC             CAREY         OH   43316       INDEPENDENT        BH3480958    3,200    4,300    3,600     8,400    2,100      400     3,667    22,000

100071500   023143305   HAWORTH PHARMACY(X)           CPA        HAWORTH         NJ   07641       INDEPENDENT        BH3644639    3,600    1,600    2,000     4,100    1,000     1,800    2,350    14,100

100053165   024072322   WESTERN DRUG #5                          GLENDALE        CA   91205       INDEPENDENT        BH3667663    2,000    1,300    1,800     1,000                       1,525     6,100

100062083   046057745   HOSPICE OF THE FL SUNCOAST-PHC             LARGO         FL   33773     LONG TERM CARE       BH3800059    2,000    3,000    6,300     7,500    4,840     3,700    4,557    27,340

100052789   024031732   HAUGEN'S IDEAL PHARMACY                  GLENDALE        CA   91202       INDEPENDENT        BH3810858    3,000    1,900    5,100     1,100    2,200     4,000    2,883    17,300

100068346   049175562   *MERCY HEALTH HACKLEY CAMPUS             MUSKEGON        MI   49441       INDEPENDENT        BH3851462   11,900   12,700   10,400    14,700   (1,500)             9,640    48,200

100090859   049188599   *MERCY HEALTH HACKLEY CAMPUS             MUSKEGON        MI   49441     PHS 340B HOSPITAL    BH3851462     300      100      100                                   167       500

100067809   008094409   VISALIA HEALTH CENTER 340B                VISALIA        CA   93291      PHS 340B CLINIC     BH3859381     200      200      100                                   167       500

100075530   008094441   VISALIA HEALTH CTR PHCY (2ND)             VISALIA        CA   93291       INDEPENDENT        BH3859381              200      (100)                                  50       100

100060221   044063834   HARRISON PHARMACY         APSC         TOMPKINSVILLE     KY   42167       INDEPENDENT        BH3894703   24,800   19,900   26,500    25,000   28,300     9,500   22,333   134,000

100089939   019156950   HOPEDALE HOSP PHARMACY 340B              HOPEDALE        IL   61747     PHS 340B HOSPITAL    BH3912599     400      800      200      1,100                        625      2,500

100059103   019038158   HOPEDALE HOSPITAL PHARMACY               HOPEDALE        IL   61747         HOSPITAL         BH3912599     100               300       300                200      225       900

100071646   044143297   HICKORY HILL PHARMACY         CPA         HELENA         AR   72342       INDEPENDENT        BH3982786   46,300   54,800   38,900    38,100   43,600    27,060   41,460   248,760

100071445   044140335   SKYLINE MEDICAL CENTER        #712       NASHVILLE       TN   37207         HOSPITAL         BH3990353    4,000    4,900    8,900     5,000    2,100     7,200    5,350    32,100

100073296   055043463   HIGH POINT SURGERY CENTER                HIGH POINT      NC   27261         HOSPITAL         BH3996848              100      100                                   100       200

100071323   044140236   HENDERSONVILLE MED CTR         #712   HENDERSONVILLE     TN   37075         HOSPITAL         BH4208876    1,300    1,000    2,300     2,300     500       200     1,267     7,600

100101278   023151647   HARRIS HEALTHCARE INC                   DOYLESTOWN       PA   18901     LONG TERM CARE       BH4277679    2,000                                          3,300    2,650     5,300

100057676   046001727   HEALTHWISE PHARMACY INC                    TAMPA         FL   33614       INDEPENDENT        BH4285309   13,000   23,000   11,000    12,100   15,700    14,000   14,800    88,800

100060632   010101139   HOSPICE OF HOPE PHARMACY                 MAYSVILLE       KY   41056   HOME HEALTH SERVICES   BH4326840    1,400    1,200    1,250      500     1,000      600      992      5,950

100060806   025022798   ESSENTIA HEALTH                           HIBBING        MN   55746         HOSPITAL         BH4359635     300      900      600       800     3,100     1,100    1,133     6,800

100051405   018043158   HUGHES PHARMACY, INC                     IOWA PARK       TX   76367       INDEPENDENT        BH4383256   12,700   10,700   11,300    10,500    7,000    12,000   10,700    64,200
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100073147   010123406   HOSPICE OF THE BLUEGRASS HAZ              HAZARD          KY   41701         HOSPITAL         BH4405355   13,800   12,100    10,600   10,500   14,900    9,800   11,950    71,700

100063492   052026435   HAIRE DRUG CO INC        SF              CLEVELAND        MS   38732       INDEPENDENT        BH4546303    5,000    8,500     8,600    8,000   12,000     500     7,100    42,600

100076616   020150490   HU HU KAM MEMORIAL HOSP 340B              SACATON         AZ   85147      PHS 340B CLINIC     BH4706238    3,900    2,400     1,000     600     2,500             2,080    10,400

100065317   019004309   HUNTINGTON MEMORIAL HOSP, INC           HUNTINGTON        IN   46750         HOSPITAL         BH4723777    1,300     100      1,600     300      300     1,220     803      4,820

100086402   019145672   HUNTINGTON MEM HOSP INC 340B            HUNTINGTON        IN   46750     PHS 340B HOSPITAL    BH4723777     200      100               1,100                       467      1,400

100067144   049042911   HFMC - SOUTHFIELD 310 RETAIL             SOUTHFIELD       MI   48033       INDEPENDENT        BH4732156    1,700     (100)    3,000    4,800    5,900    2,500    2,967    17,800

100063791   049054080   HFMC-SOUTHFIELD 340B                     SOUTHFIELD       MI   48033     PHS 340B HOSPITAL    BH4732156    2,200    3,500      400     1,500     100     1,000    1,450     8,700

100064798   049041467   HFMC - FORD RD 510 RETAIL                DEARBORN         MI   48126       INDEPENDENT        BH4732170    1,000     900      1,200    1,000    1,300    1,600    1,167     7,000

100092460   049189068   HFMC FORD ROAD CLINIC 340B               DEARBORN         MI   48126     PHS 340B HOSPITAL    BH4732170              400               1,700     700     1,200    1,000     4,000

100088708   049186999   HF MEDICAL CENTER FORD RD 340B           DEARBORN         MI   48126     PHS 340B HOSPITAL    BH4732170    1,100    1,900               600                       1,200     3,600

100065278   049054205   HFMC - LIVONIA 340B                        LIVONIA        MI   48150     PHS 340B HOSPITAL    BH4732194    5,800    6,000     5,300    6,300    4,700    4,400    5,417    32,500

100067137   049042796   HFMC - LIVONIA 100 RETAIL                  LIVONIA        MI   48150       INDEPENDENT        BH4732194    1,300     600      3,200    2,200    3,400    6,800    2,917    17,500

100067214   049043059   HFMC - DNW 520 RETAIL                     DETROIT         MI   48235       INDEPENDENT        BH4732207    7,400    8,700    10,800    8,700   15,300   21,700   12,100    72,600

100063792   049054098   HFMC - DNW 340B                           DETROIT         MI   48235     PHS 340B HOSPITAL    BH4732207   13,900   16,600    10,400   14,300    8,400            12,720    63,600

100092469   049189142   HFMC DETROIT NORTHWEST 340B               DETROIT         MI   48235     PHS 340B HOSPITAL    BH4732207                        200                                 200       200

100058154   044047662   HARRIS PHARMACY           CPA             KENNETT         MO   63857       INDEPENDENT        BH4782947   51,900   28,100    47,200   20,800   47,600   38,900   39,083   234,500

100084966   018103671   HONEY GROVE PHARMACY                    HONEY GROVE       TX   75446       INDEPENDENT        BH4808652    4,000    4,600     8,100    1,600    1,300    4,300    3,983    23,900

100062559   021000646   HEDRICK MEDICAL CENTER                  CHILLICOTHE       MO   64601         HOSPITAL         BH4856526     700      700       700      800      680      780      727      4,360

100086072   021159830   HEDRICK MED CTR 340B                    CHILLICOTHE       MO   64601     PHS 340B HOSPITAL    BH4856526     100                200      100                        133       400

100064638   021021204   HASSELBALCH PHCY GNP PRO SF              TECUMSEH         NE   68450       INDEPENDENT        BH4909985    1,200    2,300     1,500    5,400    3,600    7,800    3,633    21,800

100096658   021077909   HASSELBALCH PHARMACY 340B                TECUMSEH         NE   68450     PHS 340B HOSPITAL    BH4909985    2,600    3,700     3,400    5,400                      3,775    15,100

100090736   021167577   HANNIBAL REGIONAL HOSPITAL                HANNIBAL        MO   63401         HOSPITAL         BH5098935    1,400    1,800     1,000    2,400     640     1,400    1,440     8,640

100085854   046036236   HUMANA PHARMACY, INC.#01169             BOCA RATON        FL   33434       HEALTH PLAN        BH5111101    1,600    1,100     2,100     600     2,000     700     1,350     8,100

100054996   010046680   HIGHLAND PHARMACY                       CHARLESTON        WV   25301       INDEPENDENT        BH5120287     700      600       100      100     2,700     600      800      4,800

100051201   018026682   HOSPICE OF WICHITA FALLS PHCY           WICHITA FALLS     TX   76310         HOSPITAL         BH5185067     100                100      100                        100       300

100071682   056143115   MEDICINE TO GO PHARMACIES(ZCPA          FORKED RIVER      NJ   08731       INDEPENDENT        BH5396064    3,200    2,000     3,100    2,230    3,900    3,600    3,005    18,030

100085105   021148171   HEARTLAND HOMECARE SERVICES              LAWRENCE         KS   66044     LONG TERM CARE       BH5400089    1,800    1,300     1,500    1,300    3,100     400     1,567     9,400

100074294   021250092   HARTIG DRUG CO #10      (RX)              IOWA CITY       IA   52246          CHAIN           BH5435676    3,200    2,100     2,800    2,600    2,800    1,900    2,567    15,400

100064136   019001461   HEALTH MART PHARMACY, INC.               WHEELING         IL   60090       INDEPENDENT        BH5452076    2,800    5,000     3,300    4,000    1,000    3,000    3,183    19,100

100057521   056010959   HEALTHCARE PHARMACY                       TRENTON         NJ   08608       INDEPENDENT        BH5561647    5,300    2,400     3,700    2,700    3,300    3,900    3,550    21,300

100059947   010099465   HOSPICE CARE PLUS, INC                     BEREA          KY   40403   HOME HEALTH SERVICES   BH5591905    2,400    2,200     2,100    2,800     500              2,000    10,000

100055282   018020677   HOSPICE AUSTIN PHARMACY                    AUSTIN         TX   78702         HOSPITAL         BH5620504    4,400    4,900     4,500    3,000    4,000    3,500    4,050    24,300

100065228   049044065   HFMC - K15 540 RETAIL                     DETROIT         MI   48202       INDEPENDENT        BH5623966     700    (1,000)    1,600    5,200   11,400   14,400    5,383    32,300

100065209   049054122   HFMC - K15 340B                           DETROIT         MI   48202     PHS 340B HOSPITAL    BH5623966    4,600    4,000     3,100    2,300                      3,500    14,000

100063784   049053983   HFMC - LOBBY 340B                         DETROIT         MI   48202     PHS 340B HOSPITAL    BH5623978   26,200   32,000    36,100   18,600   40,400   33,100   31,067   186,400

100064803   049041640   HFMC - LOBBY 530 RETAIL                   DETROIT         MI   48202       INDEPENDENT        BH5623978    5,500    7,300    15,200    9,300    7,800   13,500    9,767    58,600

100107678   023153668   H&G HOME MEDICAL PHARMACY CPA           BARTLESVILLE      OK   74006       INDEPENDENT        BH5650610   23,600   15,000    24,200   30,100    3,100    1,000   16,167    97,000

100107169   019184366   MERCY HARVARD HOSPITAL INC                HARVARD         IL   60033         HOSPITAL         BH5688936              200       100      350               160      203       810

100059106   019038166   HOPEDALE PHARMACY (O/P)                  HOPEDALE         IL   61747         HOSPITAL         BH5841792    2,100    2,900     3,000    3,000    1,900    4,100    2,833    17,000

100065867   021022780   HEARTLAND HOMECARE SERV MHA               WICHITA         KS   67207     LONG TERM CARE       BH5901221     400      700       600      300      900               580      2,900

100063785   049053991   HFMC-ST CLAIR SHORES 340B             SAINT CLAIR SHORE   MI   48080     PHS 340B HOSPITAL    BH5929267    4,100    7,100     3,300    2,400    7,400   11,800    6,017    36,100

100066964   049042598   HFMC-ST CLAIR SHORES 430 RTL          SAINT CLAIR SHORE   MI   48080       INDEPENDENT        BH5929267    2,300    1,500     5,500    3,700    9,000             4,400    22,000

100052104   010042291   HEALTHY WAY PHARMACY           APSC     SANDY HOOK        KY   41171       INDEPENDENT        BH6019219    7,600    7,100    10,700   12,700   18,500    1,700    9,717    58,300

100103906   055038331   E CAR HLT-HERITAGE INC(EMPWAC)            TARBORO         NC   27886         HOSPITAL         BH6064339     800     1,150      850     3,400    1,000     500     1,283     7,700
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100069542   055077818   E CAROLNA HLT-HERITAGE INC.              TARBORO         NC   27886       HOSPITAL        BH6064339     300      900      600      900               200      580      2,900

100096851   055037739   E CAROLNA HLT-HERITAGE INC(WAC           TARBORO         NC   27886       HOSPITAL        BH6064339                                400      800               600      1,200

100069375   055077784   E CAROLNA HLT-HERITAGE INC340B           TARBORO         NC   27886   PHS 340B HOSPITAL   BH6064339     200      100      200      100                        150       600

100065210   049054130   HFHS - PLYMOUTH 340B                     PLYMOUTH        MI   48170   PHS 340B HOSPITAL   BH6109272    4,800    6,300    4,500    3,300    3,600    9,400    5,317    31,900

100065390   049044693   HFHS - PLYMOUTH 150 RETAIL               PLYMOUTH        MI   48170     INDEPENDENT       BH6109272     800     1,100    1,500    4,900    5,400    2,200    2,650    15,900

100063793   049054106   HFHS - CANTON 340B                        CANTON         MI   48187   PHS 340B HOSPITAL   BH6111291    7,800    8,900    4,000    5,200    4,200    3,300    5,567    33,400

100065224   049043950   HFHS - CANTON 140 RETAIL                  CANTON         MI   48187     INDEPENDENT       BH6111291     500       -      3,700    1,600    3,600    3,500    2,150    12,900

100056374   018019059   HILLTOP PHARMACY,INC.                 NEW BRAUNFELS      TX   78130   LONG TERM CARE      BH6175219    4,800    4,800    4,900    3,000    5,500    2,800    4,300    25,800

100067619   044172395   HILLSIDE HOSPITAL, LLC   #712             PULASKI        TN   38478       HOSPITAL        BH6194396     400      600      400      700      640      720      577      3,460

100072744   018143065   BEST VALUE HOMETOWN PHCY CPA           WEATHERFORD       TX   76086     INDEPENDENT       BH6262808    9,800   10,300   12,800    4,600   16,500   12,200   11,033    66,200

100073225   055065946   HEALTH CARE PARTNERS PHCY(X)             CONWAY          SC   29526    PHS 340B CLINIC    BH6303072    6,500    8,500    6,500    7,800    6,000    5,500    6,800    40,800

100074241   055040055   HIGHSMITH-RAINEY MEM'L HOSP            FAYETTEVILLE      NC   28301       HOSPITAL        BH6303692     100      200                        100      180      145       580

100056926   026029504   HAWAII STATE HOSPITAL PHARMACY           KANEOHE         HI   96744   LONG TERM CARE      BH6313441     100      100      100               200               125       500

100106445   019183491   HARTGROVE HOSPITAL                       CHICAGO         IL   60644       HOSPITAL        BH6316663     100      300      200      300      200               220      1,100

100106527   023153148   HAMPTON BEHAVIORAL HEALTH CTR          WESTAMPTON        NJ   08060       HOSPITAL        BH6359550              100                                 100      100       200

100063746   052044172   HAMPTON PHARMACY INC.                    HAMPTON         TN   37658     INDEPENDENT       BH6535732   17,000   17,100   17,500   13,300   19,200   17,000   16,850   101,100

100090549   032145029   HAGGEN PHARMACY #69       340B        MOUNT VERNON       WA   98274       HOSPITAL        BH6585701    3,000    4,400    3,300    3,900                      3,650    14,600

100072969   018092635   HARVESTFOODS PHCY #3140         SF      CLARKSVILLE      AR   72830     INDEPENDENT       BH6685145    6,000    4,000    4,000    7,000     100              4,220    21,100

100055537   032058552   HARRISBURG PHCY                         HARRISBURG       OR   97446     INDEPENDENT       BH6743517     100      100               100      100      600      200      1,000

100052052   010049072   HOLZER FAMILY PHARMACY (RX)              JACKSON         OH   45640     INDEPENDENT       BH6752338   12,400   10,300   10,600   15,100    8,500    7,700   10,767    64,600

100085172   010198671   HOLZER FAMILY PHARMACY 340B              JACKSON         OH   45640   PHS 340B HOSPITAL   BH6752338                                         200               200       200

100062819   010099341   HUBBARD AND CURRY PHARMACY              LEXINGTON        KY   40503     INDEPENDENT       BH6763836    6,300    6,800    6,900    4,300    5,700    5,000    5,833    35,000

100109216   032152827   HARRISON SILVERDALE PHCY                SILVERDALE       WA   98383       HOSPITAL        BH6823858     400      900      800      900      840      740      763      4,580

100051393   018042945   HAMILTON CITY DRUG, INC                  HAMILTON        TX   76531     INDEPENDENT       BH6867583   17,300   19,700   15,800    2,600   15,400    1,300   12,017    72,100

100056242   046004127   HOLMES COUNTY HOSPITAL, CO               BONIFAY         FL   32425       HOSPITAL        BH6870390     200      300      300      100      100      180      197      1,180

100088604   018203174   HIGHPOINT PHARMACY                      ARLINGTON        TX   76015     INDEPENDENT       BH6897776   22,800   23,500   20,600   24,400   29,400   30,200   25,150   150,900

100070148   019250100   HARTIG DRUG CO #11       (RX)            STOCKTON        IL   61085        CHAIN          BH6931100    7,400    7,300    8,600    8,700    5,500    7,500    7,500    45,000

100070149   019250118   HARTIG DRUG CO #12       (RX)            WAUKON          IA   52172        CHAIN          BH6963979   12,700   14,000   13,200   13,700   15,800   10,000   13,233    79,400

100054123   037077354   H P B PHARMACY                           HOUSTON         TX   77030     INDEPENDENT       BH6985610    3,500    4,000    2,000    3,600    3,500    5,300    3,650    21,900

100051917   010049403   HOLZER MEDICAL CTR-JACKSON               JACKSON         OH   45640       HOSPITAL        BH7020958     450      300      350      150      700      360      385      2,310

100085478   010209767   HOLZER MED CTR JACKSON 340B              JACKSON         OH   45640   PHS 340B HOSPITAL   BH7020958     100      300      100      200                        175       700

100063532   049051045   HFMC - PIERSON 440 RETAIL            GROSSE POINTE FAR   MI   48236     INDEPENDENT       BH7022724    2,100    2,900    4,600    5,700   13,800   22,200    8,550    51,300

100065279   049054213   HFMC - PIERSON 340B                  GROSSE POINTE FAR   MI   48236   PHS 340B HOSPITAL   BH7022724    9,500   10,100    7,200    7,700                      8,625    34,500

100051914   010049346   HIEBER'S PHARMACY, INC. MWF             PITTSBURGH       PA   15213     INDEPENDENT       BH7041750              100               200                        150       300

100072974   025054726   AVERA HEART HOSPITAL OF S D             SIOUX FALLS      SD   57108       HOSPITAL        BH7051648    1,500     800      600     1,500    1,900    2,500    1,467     8,800

100107675   018404368   HARVEST DRUG & GIFT CPA                WICHITA FALLS     TX   76309     INDEPENDENT       BH7092771     500     8,000    6,500    3,500    4,500    2,900    4,317    25,900

100109987   024122671   HAIG PHARMACY                            GLENDALE        CA   91205     INDEPENDENT       BH7192420    1,500    2,200    1,700    4,000    1,600    4,600    2,600    15,600

100071324   041140293   HENRICO DR'S HOSPITAL      #716          RICHMOND        VA   23294       HOSPITAL        BH7247770    1,300    1,300    1,450    2,900              400     1,470     7,350

100054092   012038174   HILLCREST PHARMACY         CPA           SAN DIEGO       CA   92103     INDEPENDENT       BH7318517    5,600   14,500   11,400    5,200    5,000    1,400    7,183    43,100

100066142   049041111   HEALTH DELIVERY INC-PHCY PHS             SAGINAW         MI   48601    PHS 340B CLINIC    BH7329433   19,900   18,500   26,600   10,100   22,400    8,400   17,650   105,900

100085161   010198622   HOMETOWN PHCY OF JACKSON                 JACKSON         KY   41339     INDEPENDENT       BH7432189                      1,500   11,200   17,500   12,500   10,675    42,700

100050568   004022681   *HARVARD VANGUARD MEDICAL #11             BOSTON         MA   02109       HOSPITAL        BH7452496    1,100     500      600                                 733      2,200

100050578   004022830   *HARVARD VANGUARD MEDICAL # 1             BOSTON         MA   02215       HOSPITAL        BH7452511    1,900    3,700    1,500                               2,367     7,100

100050569   004022699   *HARVARD VANGUARD MEDICAL # 5           BRAINTREE        MA   02184       HOSPITAL        BH7452535    2,500    4,000    1,800                               2,767     8,300
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100050579   004022848   *HARVARD VANGUARD MEDICAL # 7             BURLINGTON       MA   01803      HOSPITAL       BH7452547     700     1,000     400                                 700      2,100

100050580   004022855   *HARVARD VANGUARD MEDICAL # 2              CAMBRIDGE       MA   02138      HOSPITAL       BH7452559     500     1,100                                         800      1,600

100050577   004022814   *HARVARD VANGUARD MEDICAL #16             CHELMSFORD       MA   01824      HOSPITAL       BH7452561    2,800    2,600    1,100                               2,167     6,500

100050567   004022673   *HARVARD VANGUARD MEDICAL #4                MEDFORD        MA   02155      HOSPITAL       BH7452573    7,600    3,900    1,500                               4,333    13,000

100050572   004022731   *HARVARD VANGUARD MEDICAL #6                PEABODY        MA   01960      HOSPITAL       BH7452585    2,000    3,000     700                                1,900     5,700

100050574   004022780   *HARVARD VANGUARD MED ASSOC 19              QUINCY         MA   02169      HOSPITAL       BH7452597     900     1,000     500                                 800      2,400

100050576   004022806   *HARVARD VANGUARD MEDICAL #17             SOMERVILLE       MA   02144      HOSPITAL       BH7452600    2,300    2,100    1,700                               2,033     6,100

100050581   004022863   *HARVARD VANGUARD MEDICAL #15             WATERTOWN        MA   02472      HOSPITAL       BH7452612    1,600    2,000    1,200                               1,600     4,800

100050573   004022772   *HARVARD VANGUARD MEDICAL #3               WELLESLEY       MA   02481      HOSPITAL       BH7452624    2,800    3,300     200                                2,100     6,300

100050575   004022798   *HARVARD VANGUARD MEDICAL #14            CHESTNUT HILL     MA   02467      HOSPITAL       BH7452636     500     1,000     200                                 567      1,700

100058442   041067769   HOSP.FOR EXTENDED RECOVERY R55              NORFOLK        VA   23507      HOSPITAL       BH7536975     200      200               200      100      700      280      1,400

100051226   008025429   HALLERS PHMCY & MEDICAL SUPPLY              FREMONT        CA   94536    INDEPENDENT      BH7562588   15,100   20,300   18,500   12,300   33,300    2,600   17,017   102,100

100090547   032145003   HAGGEN PHARMACY 340B                      BURLINGTON       WA   98233      HOSPITAL       BH7574482    1,500    1,000    1,500    1,700                      1,425     5,700

100088411   046040386   HAWA PHARMACY INC                        WINTER GARDEN     FL   34787    INDEPENDENT      BH7580992   16,700   14,800   12,800   13,700    4,500    9,300   11,967    71,800

100073945   018143016   ANSON PLAZA PHARMACY             CPA         ANSON         TX   79501    INDEPENDENT      BH7595171   17,000   15,600   11,600   12,500   11,100   13,000   13,467    80,800

100061859   023003962   HEALTH MAX CORPORATION(X)(GNP)            WOODHAVEN        NY   11421    INDEPENDENT      BH7657630     500     1,500     500      500              1,000     800      4,000

100065177   019005504   HOLY FAMILY MEDICAL CTR PHCY              DES PLAINES      IL   60016      HOSPITAL       BH7665447     500      700     1,000    1,400     100     1,740     907      5,440

100060585   023080945   H-B DRUG INC (X)(B)(GNP)                NORTH ARLINGTON    NJ   07031    INDEPENDENT      BH7671060    4,700    5,200    7,700    1,100    5,800    2,900    4,567    27,400

100064613   018000968   HOMETOWN PHARMACY                          FAIRFIELD       TX   75840    INDEPENDENT      BH7747605   17,600    9,200   13,100   10,400   12,200    7,500   11,667    70,000

100053263   024045930   HALLIBURTON PROF PHCY                   HACIENDA HEIGHTS   CA   91745    INDEPENDENT      BH7814660    1,700    1,500    1,900    2,300     800              1,640     8,200

100106856   055042044   PHARMERICA (WANDO)                          WANDO          SC   29492   LONG TERM CARE    BH7969554   10,800   11,900   11,100   13,700    2,000             9,900    49,500

100109209   052224618   HOUSTON CO JAIL INFIRM MMCAP                DOTHAN         AL   36301      ALT SITE       BH8117562     100      100                                          100       200

100070150   021250001   HARTIG DRUG CO #14        (RX)           INDEPENDENCE      IA   50644       CHAIN         BH8136815    3,000    4,000    2,500    3,300    3,900    2,600    3,217    19,300

100087603   056020271   HONEYBROOK PHARMACY CPA                   HONEY BROOK      PA   19344    INDEPENDENT      BH8226068             3,500    8,200    4,200     600              4,125    16,500

100055005   012030809   HEART DRUGS PHCY                            WHITTIER       CA   90606    INDEPENDENT      BH8251011     300      400      400      500     1,500              620      3,100

100070151   019250126   HARTIG DRUG CO #15        (RX)            PLATTEVILLE      WI   53818       CHAIN         BH8310497    3,500    4,000    2,500    3,900    3,200    1,400    3,083    18,500

100073674   004101212   HEALTH LINE LLC(Z)(ARX)                 WAPPINGERS FALLS   NY   12590    INDEPENDENT      BH8449414    1,900    2,400    2,800    3,000    1,300    2,700    2,350    14,100

100065691   049058024   HEMMINGSEN DRUG STORE                      MARSHALL        MI   49068    INDEPENDENT      BH8501670   23,300   19,700   22,900   20,700   24,600   13,500   20,783   124,700

100053221   012053959   HENDRICKS PHCY                             CLAREMONT       CA   91711    INDEPENDENT      BH8522713    8,700    6,600   25,400    4,200     600     1,800    7,883    47,300

100065726   049070805   HEALTHWAY COMPOUNDING PHCY                  SAGINAW        MI   48604    INDEPENDENT      BH8570675     500               500                        400      467      1,400

100065762   049058776   DMC PHARMACY HARPER         RETAIL          DETROIT        MI   48201      HOSPITAL       BH8619744   72,600   83,000   71,700   75,800   87,400   59,100   74,933   449,600

100071016   040175943   HOMER DRUG COMPANY INC            CPA        HOMER         GA   30547    INDEPENDENT      BH8685301    7,600    5,200    8,500    7,300    6,900   10,100    7,600    45,600

100059641   010100792   HARLAN MEDICAL CENTER PHARMACY              HARLAN         KY   40831    INDEPENDENT      BH8714316   13,000   14,100   10,100   12,100   11,100   13,300   12,283    73,700

100070152   019250134   HARTIG DRUG CO #16        (RX)             FENNIMORE       WI   53809       CHAIN         BH8731742    3,000    2,500    3,000    3,900    2,000    2,500    2,817    16,900

100067098   019143230   HILLS DRUG ORLAND          CPA            ORLAND PARK      IL   60462    INDEPENDENT      BH8743709    3,800    4,800    3,900    6,000    3,500    3,500    4,250    25,500

100070681   044143446   WALDEN DRUG           CPA                  PARAGOULD       AR   72450    INDEPENDENT      BH8791837   21,700   27,900   25,200   53,000   10,000   19,500   26,217   157,300

100106471   041153890   POPLAR SPRINGS HOSPITAL                   PETERSBURG       VA   23805      HOSPITAL       BH8834702     400      100      100      600                        300      1,200

100053259   056009217   HEALTHY COMM PHCY (X)       (GNP)            YORK          PA   17401    INDEPENDENT      BH8947991     500      400      800      200     3,100    1,500    1,083     6,500

100069774   018175299   HUNTER'S SPECIALTY PHCY          CPA     OKLAHOMA CITY     OK   73120    INDEPENDENT      BH8958805    5,500   12,600   11,000   13,500   13,200    4,600   10,067    60,400

100058265   041030874   HEALTH CARE ALLIANCE PHY(340B)            PETERSBURG       VA   23805   PHS 340B CLINIC   BH8975065    2,800    3,900    2,500    3,100    2,500    2,200    2,833    17,000

100108089   021174748   HECTOR PHARMACY CPA                         HECTOR         AR   72843    INDEPENDENT      BH9001784    4,100    6,100    9,200   15,100     200      300     5,833    35,000

100056923   026029033   HAMAKUA FAMILY PHRMCY INC 340B              HONOKAA        HI   96727   PHS 340B CLINIC   BH9022916     500     2,000    3,000    1,800                      1,825     7,300

100050886   018070680   HOMETOWN PHARMACY                         WHITESBORO       TX   76273    INDEPENDENT      BH9057212   14,380   15,800   14,100   13,300   12,000   11,600   13,530    81,180

100066856   044143107   HEALTH FIRST PHARMACY PSC CPA             GREENSBURG       KY   42743    INDEPENDENT      BH9064647   17,500    9,000    6,700    8,000    3,500    8,000    8,783    52,700
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100073104   018143321   HERITAGE PHARMACY INC       CPA         GARLAND       TX   75042     INDEPENDENT       BH9133264      1,500       2,000        1,000       1,500     1,500    1,000      1,417       8,500

100054199   049093179   HFMC - NEW CENTER ONE 340B              DETROIT       MI   48202   PHS 340B HOSPITAL   BH9196608      4,100       9,000        2,200       2,400     3,600    1,200      3,750      22,500

100054191   049093153   HFMC-NEW CENTER ONE 560 RETAIL          DETROIT       MI   48202     INDEPENDENT       BH9196608      1,100       (4,700)      1,900       3,400     6,200     500       1,400       8,400

100092437   049162578   HFMC PHCY NEW CTR ONE 340B              DETROIT       MI   48202   PHS 340B HOSPITAL   BH9196608                                                      500                  500         500

100060611   052098202   HOSPITAL DISCOUNT PHAR JASPER           JASPER        AL   35501     INDEPENDENT       BH9221641     49,500      45,330       53,100      36,930    39,800   48,100     45,460     272,760

100055627   004056317   *HARVARD VANGUARD MED #18               BOSTON        MA   02116       HOSPITAL        BH9264095        100       1,400          500                                       667       2,000

100055765   056020016   HEALTH FIRST PHCY LLC (Z)             BEACHWOOD       NJ   08722     INDEPENDENT       BH9279414                    700          700       1,800     1,000               1,050       4,200

100056183   038082685   KAISER PERM-HIGHLANDS RANCH         HIGHLANDS RANCH   CO   80129     HEALTH PLAN       BH9305524     11,000       8,300          700                           600       5,150      20,600

100063187   008025197   HALLER'S LTC PHCY                      FREMONT        CA   94536   LONG TERM CARE      BH9404776        400         700          400         800     3,000               1,060       5,300

100057353   026031633   HO'OLA LAHUI HAWAII-PHS LIHUE            LIHUE        HI   96766    PHS 340B CLINIC    BH9460293        100         300          200       1,000                           400       1,600

100062548   026031641   HO'OLA LAHUI HI- RTL                     LIHUE        HI   96766     INDEPENDENT       BH9460293                                             400                           400         400

100054388   041016105   HIDENWOOD PHCY(Z) 57A CPA            NEWPORT NEWS     VA   23606     INDEPENDENT       BH9484572      4,700       6,000        6,600       5,000     5,420    5,700      5,570      33,420

100092731   018315002   HALTOM PHARMACY LLC                   HALTOM CITY     TX   76117     INDEPENDENT       BH9538490      5,000       4,500        5,500       5,020     1,000    3,500      4,087      24,520

100070153   019250142   HARTIG DRUG CO #18     (RX)            LANCASTER      WI   53813        CHAIN          BH9554949      7,000       7,200        5,200       7,600     4,600    6,200      6,300      37,800

100106478   010236638   HHC RIVER PARK INC. HOSPITAL          HUNTINGTON      WV   25701       HOSPITAL        BH9558771        600         400          700         400      300      800         533       3,200

100075184   020198358   HUMANA PHARMACY INC.AZ RS MAIL          PHOENIX       AZ   85043     HEALTH PLAN       BH9569851   1,412,600   1,462,400    1,400,900   1,316,900     600             1,118,680   5,593,400

100077158   024047001   HEALTHY FAMILY PHARMACY             HUNTINGTON PARK   CA   90255     INDEPENDENT       BH9570878      3,000       5,500        7,000       4,000      100                3,920      19,600

100094031   023137257   HEALTH CARE PHARMACY (SUMMIT)         JERSEY CITY     NJ   07304     INDEPENDENT       BH9588902        100                      300                           200         200         600

100066757   049175612   *MERCY HEALTH HACKLEY CAMPUS           MUSKEGON       MI   49444     INDEPENDENT       BH9590161      5,000       7,000        4,700       2,900     2,300               4,380      21,900

100090857   049188573   *MERCY HEALTH HACKLEY CAMPUS           MUSKEGON       MI   49444   PHS 340B HOSPITAL   BH9590161      2,000         500                      500      100                  775       3,100

100094021   023137240   HEALTH CARE PHARMACY(GARFIELD)        JERSEY CITY     NJ   07304     INDEPENDENT       BH9612602                    100                                                    100         100

100057626   040170936   HARBIN CLINIC PHARMACY                   ROME         GA   30165       ALT SITE        BH9625320      3,200       3,200        3,100       3,100     4,200    4,500      3,550      21,300

100064023   049108563   HENRY FORD HC-BROWNSTOWN PH IN      BROWNSTOWN TWP.   MI   48183       HOSPITAL        BH9628249        100         100          200         100      160                  132         660

100085869   046036350   HUMANA PHARMACY INC. #01756             HIALEAH       FL   33012     HEALTH PLAN       BH9690480      1,000         900          900         600               400         760       3,800

100085867   046036301   HUMANA PHARMACY INC. #01773             HIALEAH       FL   33013     HEALTH PLAN       BH9690492        800       1,300        1,900       1,400     1,400    1,800      1,433       8,600

100085871   046036376   HUMANA PHARMACY INC. #03546             MIRAMAR       FL   33025     HEALTH PLAN       BH9690505      2,700       3,500        2,100       3,500              1,000      2,560      12,800

100085868   046036343   HUMANA PHARMACY INC. #01761              MIAMI        FL   33165     HEALTH PLAN       BH9690517        900       1,700        1,100         400      200      700         833       5,000

100085866   046036293   HUMANA PHARMACY INC. #01759              MIAMI        FL   33135     HEALTH PLAN       BH9690529      1,800       1,300        1,800       1,100     1,700     700       1,400       8,400

100069352   044175794   HANSON PHCY & WELLNESS CTR CPA          HANSON        KY   42413     INDEPENDENT       BH9695226      8,500      14,500       14,500      13,500    17,700   13,000     13,617      81,700

100060966   012154740   PREMIER PHARMACY SERVICES                BREA         CA   92821   LONG TERM CARE      BH9738014     39,300      43,800       45,600      51,900    60,900   39,400     46,817     280,900

100069244   020196998   HIGHLANDS REGIONAL REHAB HOSP           EL PASO       TX   79936       HOSPITAL        BH9775860      1,600       1,100        1,300         600      600     1,400      1,100       6,600

100085865   046036285   HUMANA PHARMACY INC. #01772          DELRAY BEACH     FL   33445     HEALTH PLAN       BH9830628        600       1,800        1,000       1,200      600     2,100      1,217       7,300

100067661   012059832   AMERIPHARMA                             CORONA        CA   92879     INDEPENDENT       BH9851747     12,000      11,900       12,100      11,700    29,900              15,520      77,600

100075439   018179010   HEALTH-CARE PHARMACY          CPA      MORRILTON      AR   72110     INDEPENDENT       BH9855872      8,700      15,800       11,400      15,000    15,100   25,700     15,283      91,700

100095196   041149641   WALGREENS #11078        DSD           NEW CASTLE      DE   19720     WALGREENS         BH9873680      3,720       3,300        3,800       2,500     3,100    2,300      3,120      18,720

100095151   041149526   WALGREENS #11075        DSD           MIDDLETOWN      DE   19709     WALGREENS         BH9873995      5,800       4,400        4,900       4,230     4,400    5,100      4,805      28,830

100095162   041149609   WALGREENS #11073        DSD             MILTON        DE   19968     WALGREENS         BH9874036      9,330       7,680        8,100       7,100     7,300    6,500      7,668      46,010

100095753   041151589   WALGREENS #11070        DSD           WILMINGTON      DE   19806     WALGREENS         BH9874074      2,500       3,300        2,600       3,200     2,500    3,700      2,967      17,800

100095752   041151571   WALGREENS #11069        DSD           WILMINGTON      DE   19805     WALGREENS         BH9874125      3,020       2,600        4,850       3,230     3,600    4,500      3,633      21,800

100095150   041149518   WALGREENS #11067        DSD           MIDDLETOWN      DE   19709     WALGREENS         BH9874149      5,230       5,400        5,100       5,400     3,200    4,700      4,838      29,030

100095372   041149724   WALGREENS #11066        DSD             NEWARK        DE   19713     WALGREENS         BH9874151      7,600       6,500        7,200       7,300     6,000    5,000      6,600      39,600

100095101   041149419   WALGREENS #11063        DSD            MAGNOLIA       DE   19962     WALGREENS         BH9874175      4,400       5,300        4,100       5,300     5,700    1,500      4,383      26,300

100094768   041146639   WALGREENS #11061        DSD             DOVER         DE   19901     WALGREENS         BH9874226      4,900       4,100        4,500       4,600     5,400    4,700      4,700      28,200

100094767   041146621   WALGREENS #11060        DSD             DOVER         DE   19901     WALGREENS         BH9874238      6,400       5,700        6,600       6,200     7,000    5,000      6,150      36,900
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100095195   041149633   WALGREENS #11058         DSD      NEW CASTLE       DE   19720    WALGREENS        BH9874264    6,640    6,260    6,120    6,300    7,800    5,700    6,470   38,820

100095149   041149500   WALGREENS #11055         DSD     MIDDLETOWN        DE   19709    WALGREENS        BH9874288    2,600    3,100    2,000    2,600    2,200    3,430    2,655   15,930

100095612   041151035   WALGREENS #11051         DSD       STANTON         DE   19804    WALGREENS        BH9874303    4,680    5,300    6,600    6,400    6,700    6,000    5,947   35,680

100095371   041149716   WALGREENS #11050         DSD        NEWARK         DE   19702    WALGREENS        BH9874315    3,600    2,900    3,600    3,600    2,800    1,800    3,050   18,300

100095751   041151563   WALGREENS #11049         DSD      WILMINGTON       DE   19809    WALGREENS        BH9874327    2,960    3,600    3,500    2,500    2,200    2,600    2,893   17,360

100095370   041149708   WALGREENS #11048         DSD        NEWARK         DE   19702    WALGREENS        BH9874339    4,300    4,400    3,800    3,700    3,400    4,000    3,933   23,600

100094883   041147033   WALGREENS #11047         DSD     GEORGETOWN        DE   19947    WALGREENS        BH9874341    7,000    6,800    7,000    7,300    7,300    5,100    6,750   40,500

100095369   041149690   WALGREENS #11045         DSD        NEWARK         DE   19711    WALGREENS        BH9874783    4,300    2,900    2,700    4,300    2,900    2,100    3,200   19,200

100094667   041146498   WALGREENS #11044         DSD      CLARKSVILLE      DE   19970    WALGREENS        BH9874795    5,200    6,030    4,700    3,700    4,800    5,030    4,910   29,460

100094766   041146613   WALGREENS #15632         DSD        CAMDEN         DE   19934    WALGREENS        BH9874834    2,600    2,800    2,600    2,300    1,900    3,400    2,600   15,600

100094765   041146605   WALGREENS #11036         DSD        DOVER          DE   19901    WALGREENS        BH9874858    4,900    4,900    4,500    3,200    5,500    3,600    4,433   26,600

100095368   041149682   WALGREENS #11035         DSD        NEWARK         DE   19713    WALGREENS        BH9874860    4,100    4,500    4,500    3,700    4,300    4,100    4,200   25,200

100095194   041149625   WALGREENS #11034         DSD      NEW CASTLE       DE   19720    WALGREENS        BH9874872    3,560    3,060    2,800    2,900    2,900    3,600    3,137   18,820

100094473   041146241   WALGREENS #11033         DSD    BETHANY BEACH      DE   19930    WALGREENS        BH9874884    4,000    3,400    4,900    3,600    3,100    2,000    3,500   21,000

100095161   041149591   WALGREENS #11031         DSD      MILLSBORO        DE   19966    WALGREENS        BH9874896    8,800   11,400   10,300   11,900    9,500    6,900    9,800   58,800

100095749   041151548   WALGREENS #13823         DSD      WILMINGTON       DE   19805    WALGREENS        BH9874909    5,150    6,030    5,960    6,300    4,900    4,900    5,540   33,240

100095367   041149674   WALGREENS #11028         DSD        NEWARK         DE   19711    WALGREENS        BH9874911    6,600    7,300    6,720    4,400    6,100    5,000    6,020   36,120

100095160   041149583   WALGREENS #11026         DSD      MILLSBORO        DE   19966    WALGREENS        BH9874923    8,500    7,700    8,100    7,000    7,700    6,400    7,567   45,400

100094915   041147124   WALGREENS #11025         DSD      GREENVILLE       DE   19807    WALGREENS        BH9874935    1,800    3,200    3,130    2,900    1,700    2,260    2,498   14,990

100095748   041151530   WALGREENS #11024         DSD      WILMINGTON       DE   19808    WALGREENS        BH9874947    2,860    3,240    2,200    4,000    3,700    3,300    3,217   19,300

100094456   041146159   WALGREENS #11022         DSD         BEAR          DE   19701    WALGREENS        BH9874961    4,000    4,800    7,200    4,700    4,700    5,400    5,133   30,800

100083701   056096958   WALGREENS #11022(340B)               BEAR          DE   19701   PHS 340B CLINIC   BH9874961     100                                                   100      100

100095506   041150698   WALGREENS #11021         DSD    REHOBOTH BEACH     DE   19971    WALGREENS        BH9874973    4,990    5,550    7,230    5,300    6,300    4,200    5,595   33,570

100095747   041151522   WALGREENS #11020         DSD      WILMINGTON       DE   19801    WALGREENS        BH9874985    1,800     600     1,100    2,300    1,100    1,200    1,350    8,100

100094455   041146142   WALGREENS #11017         DSD         BEAR          DE   19701    WALGREENS        BH9875026   11,040   12,760   10,500   12,200    8,100   10,700   10,883   65,300

100095152   041149534   WALGREENS #12462         DSD     MIDDLETOWN        DE   19709    WALGREENS        BH9875038    4,100    3,600    4,000    4,300    3,500    5,000    4,083   24,500

100095746   041151514   WALGREENS #11014         DSD      WILMINGTON       DE   19806    WALGREENS        BH9875040    1,660    2,160    1,760    1,820    2,500    2,100    2,000   12,000

100095745   041151506   WALGREENS #11011         DSD      WILMINGTON       DE   19805    WALGREENS        BH9875064    2,900    3,880    4,500    4,000    3,700    2,600    3,597   21,580

100095744   041151498   WALGREENS #11010         DSD      WILMINGTON       DE   19805    WALGREENS        BH9875076    2,700    2,900    3,700    3,800    3,900    2,800    3,300   19,800

100095193   041149617   WALGREENS #11009         DSD      NEW CASTLE       DE   19720    WALGREENS        BH9875088    2,800    2,100    2,500    2,800    3,600    2,600    2,733   16,400

100095366   041149666   WALGREENS #11008         DSD        NEWARK         DE   19711    WALGREENS        BH9875090     700     1,000     500      600      600     1,100     750     4,500

100095743   041151480   WALGREENS #11006         DSD      WILMINGTON       DE   19803    WALGREENS        BH9875115    6,400    5,200    5,300    4,800    4,500    5,500    5,283   31,700

100095742   041151472   WALGREENS #11005         DSD      WILMINGTON       DE   19808    WALGREENS        BH9875127    5,230    6,850    5,330    4,600    5,700    4,800    5,418   32,510

100095365   041149658   WALGREENS #11003         DSD        NEWARK         DE   19702    WALGREENS        BH9875153    3,700    4,000    4,100    3,600    3,700    1,900    3,500   21,000

100095741   041151464   WALGREENS #11002         DSD      WILMINGTON       DE   19803    WALGREENS        BH9875177    2,000    2,400    3,500    2,200    1,600    3,600    2,550   15,300

100095740   041151456   WALGREENS #11001         DSD      WILMINGTON       DE   19810    WALGREENS        BH9875191    5,720    5,400    4,700    4,660    4,600    4,500    4,930   29,580

100095045   041149252   WALGREENS #11016         DSD        LAUREL         DE   19956    WALGREENS        BH9875216    7,700    7,060    7,100    6,800    9,400    3,800    6,977   41,860

100070155   019250167   HARTIG DRUG CO #20   (RX)       PROPHETSTOWN       IL   61277       CHAIN         BH9884823    5,100    5,600    5,600    6,200    4,500    4,700    5,283   31,700

100057815   018000471   HORSESHOE HLTH & MEDICINE CPA   HORSESHOE BEND     AR   72512    INDEPENDENT      BH9898377   16,300   16,000   15,500   21,400   14,500    9,500   15,533   93,200

100070154   019250159   HARTIG DRUG CO #19   (RX)       PRAIRIE DU CHIEN   WI   53821       CHAIN         BH9903279    4,500    5,600    6,000    3,500    4,400    5,300    4,883   29,300

100095541   041150870   WALGREENS #11064         DSD       ROCK HALL       MD   21661    WALGREENS        BH9904269    3,700    3,600    3,500    4,000    3,000    2,500    3,383   20,300

100094604   041146340   HAPPY HARRY'S INC.               CENTREVILLE       MD   21617    WALGREENS        BH9908635    6,400    6,800    6,400    6,500    7,500    5,500    6,517   39,100

100106451   018403881   HICKORY TRAIL HOSPITAL              DE SOTO        TX   75115      HOSPITAL       BH9911454     700      200      600     1,400                       725     2,900

100094472   041146233   WALGREENS #11043         DSD        BERLIN         MD   21811    WALGREENS        BH9918369    4,460    6,760    6,200    5,800    3,400    4,100    5,120   30,720
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100094636   041146472   WALGREENS #11763           DSD         CHESTERTOWN     MD   21620       WALGREENS          BH9921986   14,900   16,500   13,900    14,900    15,100   13,300   14,767    88,600

100096136   041152363   WALGREENS #11027           DSD          PENNSVILLE     NJ   08070       WALGREENS          BH9933664    8,800    9,500    9,100     8,500     9,300    7,100    8,717    52,300

100058844   018000851   HEALTH-WAY PHCY, INC        SF           JUDSONIA      AR   72081       INDEPENDENT        BH9936925    7,000    7,000    5,500     7,000     5,100    6,000    6,267    37,600

100054187   037027615   INWOOD PHARMACY/GNP                      HOUSTON       TX   77070       INDEPENDENT        BI0534392    9,650    9,700   11,500     8,600    13,200    9,600   10,375    62,250

100063961   019002550   INGALLS PROFESSIONAL PHARMACY             HARVEY       IL   60426       INDEPENDENT        BI1823966     300               100       (100)    3,000   10,000    2,660    13,300

100056140   032040576   IVY HOME INFUSIONS                      ANCHORAGE      AK   99508   HOME HEALTH SERVICES   BI1858058     200      100                600                         300       900

100050350   018043802   IVMEDCO FORT WORTH                      FORT WORTH     TX   76109   HOME HEALTH SERVICES   BI2049915                       100                          200      150       300

100085260   046035865   INFUSERVE AMERICA                      ST PETERSBURG   FL   33716   HOME HEALTH SERVICES   BI2696562              200      (100)                                  50       100

100063119   052051300   LAKESHORE DISC PHCY         SF           DADEVILLE     AL   36853       INDEPENDENT        BI2766256   15,100    2,100    7,000    11,000              9,300    8,900    44,500

100066540   046028241   INDIAN RIVER PHARMACY INC R/X           VERO BEACH     FL   32960       INDEPENDENT        BI3779204    5,700    6,500    7,100     8,500     7,400    8,680    7,313    43,880

100059574   044088229   IRELAND ARMY COMM HOSP PHCY              FORT KNOX     KY   40121    HOSPITAL (FEDERAL)    BI3942073   12,300   19,400   48,600    13,800     8,700   19,200   20,333   122,000

100073387   037135483   IV SERVICES          SF                   GRETNA       LA   70056   HOME HEALTH SERVICES   BI4508187     100      100      200       100       200      200      150       900

100084196   049180828   IONIA COUNTY MEM HOSP 340B                 IONIA       MI   48846     PHS 340B HOSPITAL    BI4517732     700      400      700       400       500      400      517      3,100

100070564   049177824   IONIA COUNTY MEMORIAL HOSPITAL             IONIA       MI   48846         HOSPITAL         BI4517732     200      200      100       200                         175       700

100065489   023014142   ISELIN PHARMACY                            ISELIN      NJ   08830       INDEPENDENT        BI4529371    1,600     900      300      4,500     1,000             1,660     8,300

100057377   052027540   INNOVATIVE PHARMACY SRV.IN CPA            MCCOMB       MS   39648   HOME HEALTH SERVICES   BI4806355     500     2,500    5,000     1,200     1,600     500     1,883    11,300

100064876   049042010   IGA COMMUNITY MARKETS           APSC    OAK HARBOR     OH   43449       INDEPENDENT        BI5034537    2,900    2,700    2,630     3,430     3,700    1,000    2,727    16,360

100062399   021001479   SELECT SPECIALITY HOS/TOPEKA              TOPEKA       KS   66606         HOSPITAL         BI5345334     300      600      300       800       200      300      417      2,500

100063521   049050369   SELECT SPECIALITY HOSP. FLINT              FLINT       MI   48532         HOSPITAL         BI5364980     700      500      400      1,500      500     1,100     783      4,700

100067057   049050294   SELECT SPECIALTY HOSPITAL              MOUNT CLEMENS   MI   48043         HOSPITAL         BI5382039     500      700      600       600       960      600      660      3,960

100093006   025087171   SELECT SPECIALTY HOSP-SIOUX FL          SIOUX FALLS    SD   57105         HOSPITAL         BI5450591     700      800      700      1,100      200     1,000     750      4,500

100051904   010049189   SELECT SPECIALTY HOSP                    CINCINNATI    OH   45220         HOSPITAL         BI5666586     400      400      500       200       600      300      400      2,400

100067100   019143255   ILLINI CLINIC PHARMACY      CPA            SILVIS      IL   61282       INDEPENDENT        BI5763429    5,000    5,600    3,100     4,400     3,000    4,000    4,183    25,100

100065129   052058677   SELECT, SPECIALTY HOSPITAL               KNOXVILLE     TN   37917         HOSPITAL         BI5784928     300      600      500       650       700      560      552      3,310

100074687   018176438   PLANO SPECIALTY HOSP (PHARM)               PLANO       TX   75075         HOSPITAL         BI5864435     600      300      700      1,400     2,080             1,016     5,080

100067056   049050286   SELECT SPECIALTY HOSPITAL                YPSILANTI     MI   48197         HOSPITAL         BI5964196     500      600      400       400       640      200      457      2,740

100068417   040143453   IHS PHARMACY 1            CPA             METTER       GA   30439       INDEPENDENT        BI6023876   11,300   24,000   27,900    18,500    10,000    9,000   16,783   100,700

100051906   010049213   SELECT SPECIALTY HOSPITAL               JOHNSTOWN      PA   15901         HOSPITAL         BI6061953              100                100       300               167       500

100074690   020175836   MESA HILLS SPECIALTY HOSPITAL             EL PASO      TX   79902         HOSPITAL         BI6158489     200               300       900                200      400      1,600

100052853   056001776   SELECT SPECIALTY HOSP                   WILMINGTON     DE   19801         HOSPITAL         BI6187036     100      100                100                         100       300

100066449   052055541   INDEPENDENT HEALTH SERVICES              RAINSVILLE    AL   35986     LONG TERM CARE       BI6487486    2,800    2,900    3,800     1,700     1,200             2,480    12,400

100053022   024035428   INTER COMMUNITY CAMPUS                    COVINA       CA   91723         HOSPITAL         BI6672554     500     1,800    1,600     6,500      300              2,140    10,700

100100621   024119776   INTER COMMUNITY CAMPUS WAC                COVINA       CA   91723     PHS 340B HOSPITAL    BI6672554                       200                                   200       200

100058056   044046300   INTENSIVA HOSPITAL OF-STL              SAINT CHARLES   MO   63301         HOSPITAL         BI6678924     800      600                600       600      660      652      3,260

100060140   010098715   ISOM COMMUNITY PHARMACY APSC               ISOM        KY   41824       INDEPENDENT        BI6717093   11,300   14,300   22,800    14,000    22,000    8,300   15,450    92,700

100073436   055020867   INGLES MARKETS, INC #43                  FLETCHER      NC   28732          CHAIN           BI6763951    8,900    8,500    8,600     8,700     9,400    7,500    8,600    51,600

100060945   040069195   INGLES PHARMACY #476                   CARTERSVILLE    GA   30120          CHAIN           BI7027952   13,300   12,600   11,300    12,700    11,400    9,700   11,833    71,000

100073740   055059790   INGLES MARKETS, INC #69                 GREENVILLE     SC   29609          CHAIN           BI7037561    5,030    5,400    6,200     6,800     5,700    5,400    5,755    34,530

100077111   055020586   INGLES MARKETS, INC #03                  ASHEVILLE     NC   28804          CHAIN           BI7037698    2,000    1,700    1,900     1,900     2,400    1,800    1,950    11,700

100077112   055020602   INGLES MARKETS, INC #110                 CASHIERS      NC   28717          CHAIN           BI7152161    7,300    7,400    6,900     8,400     4,900    5,300    6,700    40,200

100077113   055020610   INGLES MARKETS, INC. #34                SWANNANOA      NC   28778          CHAIN           BI7196226    8,000    9,000    8,100     9,400     9,000    5,300    8,133    48,800

100073743   055059824   INGLES MARKETS, INC. #32                GREENVILLE     SC   29609          CHAIN           BI7202207    3,900    4,100    3,900     4,600     5,800    3,500    4,300    25,800

100074304   055059832   INGLES MARKETS, INC. #37               SPARTANBURG     SC   29316          CHAIN           BI7202219   16,800   16,900   16,400    17,900    16,900   15,000   16,650    99,900

100073434   055020636   INGLES MARKETS PHARMACY #33             SPRUCE PINE    NC   28777          CHAIN           BI7296115    7,100    7,800    6,500    10,300     4,000    6,100    6,967    41,800
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100073433   055020644   INGLES MARKETS PHARMACY #13        BURNSVILLE     NC   28714        CHAIN          BI7298739    5,500    6,200    5,800    8,000    6,500    7,700    6,617    39,700

100063480   052044842   INGLES MARKETS PHARMACY #304       KNOXVILLE      TN   37931        CHAIN          BI7331185    5,500    5,000    5,500    5,600    5,200    4,100    5,150    30,900

100060941   040069179   INGLES MARKETS PHARMACY #455        CUMMING       GA   30041        CHAIN          BI7403950    1,800    3,100    2,700    2,800    3,500    3,400    2,883    17,300

100073739   055059782   INGLES MARKETS PHARMACY #93         DUNCAN        SC   29334        CHAIN          BI7416856    6,300    7,100    7,300    8,700    9,100    8,000    7,750    46,500

100074107   055036160   INGLES PHARMACY #130                 ARDEN        NC   28704        CHAIN          BI7432658    2,300    1,800    1,700    2,000    2,600    3,200    2,267    13,600

100074102   055020651   INGLES MARKETS, INC. #04           ASHEVILLE      NC   28805        CHAIN          BI7464376    5,100    5,600    5,300    5,800    7,100    5,000    5,650    33,900

100075726   046128967   INTRAMED                          DANIA BEACH     FL   33004     MAIL SERVICE      BI7564594    2,000     800      300     1,000                      1,025     4,100

100060942   040069187   INGLES MARKETS, #102             LAWRENCEVILLE    GA   30046        CHAIN          BI7870579    2,900    2,900    3,000    3,700    4,000    1,200    2,950    17,700

100052366   017060426   ISLAND VIEW PHARMACY INC           SYRACUSE       UT   84075     INDEPENDENT       BI7885481    3,500    2,000    4,300    2,900    2,900    4,000    3,267    19,600

100105825   012096404   INLAND VALLEY MED CTR              WILDOMAR       CA   92595       HOSPITAL        BI7904419    2,100    1,800    2,300    1,800    2,320    1,320    1,940    11,640

100073742   055059816   INGLES MARKETS, INC. #208            GREER        SC   29651        CHAIN          BI7964198    9,000    8,800    8,100    8,900    9,300    9,200    8,883    53,300

100059948   010099481   FORCHT PHARMACY                      CORBIN       KY   40701   LONG TERM CARE      BI7985673   26,000   26,200   28,200   27,500   28,000   22,080   26,330   157,980

100073437   055020768   INGLES MARKETS, INC #55             CANTON        NC   28716        CHAIN          BI8066993   15,300   13,500   11,800   15,100   15,100   12,200   13,833    83,000

100073741   055059808   INGLES MARKETS, INC. #17            PICKENS       SC   29671        CHAIN          BI8113689   11,900   11,400   11,300   16,000    9,300   10,500   11,733    70,400

100070035   018145102   HALL'S LONG TERM CARE PHCY CPA       ALEDO        TX   76008     INDEPENDENT       BI8126179   12,300             6,100    6,500    5,900             7,700    30,800

100060946   040069203   INGLES PHARMACY #495             LOCUST GROVE     GA   30248        CHAIN          BI8148365    7,600    6,700    6,900    6,840    5,400    5,600    6,507    39,040

100074482   055040923   INTERMEDICAL HOSPITAL OF SC         COLUMBIA      SC   29220       HOSPITAL        BI8177354     200     1,000     800      300      560      200      510      3,060

100086435   023107110   *INMAN RX DRUGS (ARX)                EDISON       NJ   08820     INDEPENDENT       BI8182797     500                                                   500       500

100073670   055059766   INGLES MARKETS #49                 WEST UNION     SC   29696        CHAIN          BI8183915   18,800   19,000   17,200   21,100   20,600   21,500   19,700   118,200

100073669   055059733   INGLES MARKETS #253                 LIBERTY       SC   29657        CHAIN          BI8225345   10,200    9,200    9,100   10,000   12,800    8,000    9,883    59,300

100060870   040069146   INGLES MARKETS #437                  JASPER       GA   30143        CHAIN          BI8261505    5,300    4,700    6,300    6,700    3,400    5,400    5,300    31,800

100074029   021140053   CENTERPOINT MED CENT INDE #712   INDEPENDENCE     MO   64057       HOSPITAL        BI8263232    5,700    4,850    5,800    5,350    7,360    5,560    5,770    34,620

100060871   040069153   INGLES MARKETS INC #469             CONYERS       GA   30013        CHAIN          BI8273877    3,300    3,900    3,400    2,700    2,000    4,000    3,217    19,300

100057506   046006254   INTEGRATED MEDICAL SUPPLIES          OCALA        FL   34474   LONG TERM CARE      BI8278586    1,500    1,000    1,500    1,300                      1,325     5,300

100073671   055059774   INGLES MARKETS INC #45            SPARTANBURG     SC   29302        CHAIN          BI8298451    8,200    8,500    8,600   11,400   11,800    7,400    9,317    55,900

100073435   055024554   INGLES MARKETS, #62                ASHEVILLE      NC   28806        CHAIN          BI8315017   10,500   10,100    9,200   10,700    9,900    7,400    9,633    57,800

100055024   012045583   IMPERIAL BEACH PHARMACY CPA      IMPERIAL BEACH   CA   91932     INDEPENDENT       BI8326919    5,000    6,500    4,500    5,000    4,000    2,000    4,500    27,000

100060940   040069161   INGLES MARKETS INC #86            CHATSWORTH      GA   30705        CHAIN          BI8340298    5,900    5,400    5,400    5,800    4,800    5,100    5,400    32,400

100086195   021161216   IRWIN-POTTER DRUG-MED-LAB CPA       ANTHONY       KS   67003     INDEPENDENT       BI8462210    9,000    6,100   19,900    5,000                     10,000    40,000

100109349   021175760   IRWIN-POTTER DRUG-MED-LAB 340B      ANTHONY       KS   67003   PHS 340B HOSPITAL   BI8462210                      6,900    5,000                      5,950    11,900

100109007   021174961   IRWIN-POTTER DRUG-MED-LAB 340B      ANTHONY       KS   67003     INDEPENDENT       BI8462210    2,500    1,500    2,000    1,500                      1,875     7,500

100054295   056045252   I&A BELLS PHARMACY,LLC (Z)        PHILADELPHIA    PA   19152     INDEPENDENT       BI8476308     200      400      200      100      100               200      1,000

100069034   037028068   INSTITL PHCYACIES OF, L    SF        SCOTT        LA   70583   LONG TERM CARE      BI8547107    8,100    8,600    5,400    6,000   10,320    4,960    7,230    43,380

100073668   055026609   INGLES MARKETS #27                FOREST CITY     NC   28043        CHAIN          BI8556055    7,800    8,900    8,100    8,900   10,700    9,000    8,900    53,400

100064518   019008334   INGALLS PROFESSIONAL PHARM II      TINLEY PARK    IL   60477     INDEPENDENT       BI8646068     100               100     5,600    6,000    1,800    2,720    13,600

100074110   055032185   INGLES PHARMACY #180              WEAVERVILLE     NC   28787        CHAIN          BI8650005    6,800    6,600    5,800    5,200    5,700    4,100    5,700    34,200

100087020   052170332   INSTITUTIONAL PHCY SOL DOT          DOTHAN        AL   36301       HOSPITAL        BI8654370                                         100               100       100

100074103   055032268   INGLES PHARMACY #011             HENDERSONVILLE   NC   28792        CHAIN          BI8682331    2,600    4,300    3,500    3,100    3,100    3,500    3,350    20,100

100074109   055032250   INGLES PHARMACY #179             HENDERSONVILLE   NC   28792        CHAIN          BI8682343    6,900    7,000    8,400    7,600    9,900    6,800    7,767    46,600

100074108   055032243   INGLES PHARMACY #177               FLAT ROCK      NC   28731        CHAIN          BI8682379    7,300    7,500    7,800    6,800    6,300    5,800    6,917    41,500

100065058   052058602   INGLES MARKET SD #399               POWELL        TN   37849        CHAIN          BI8717538    3,200    3,200    2,600    2,900    2,700    2,600    2,867    17,200

100065057   052058594   INGLES MARKET SB #398              JONESBORO      TN   37659        CHAIN          BI8722779    8,100    7,400    7,400    8,600    7,140    8,600    7,873    47,240

100055201   037078881   INTRACARE NORTH HOSPITAL            HOUSTON       TX   77090       HOSPITAL        BI8744080     100      800      500      200      600               440      2,200

100074475   055060061   INGLES PHARMACY # 94                SENECA        SC   29678        CHAIN          BI8789248   12,000   14,600   14,300   14,400   17,560   18,400   15,210    91,260
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100055686   046007435   ISLAND FAMILY PHARMACY INC             SAINT AUGUSTINE    FL   32080     INDEPENDENT       BI8799174   19,900   20,500   19,000   20,300   19,340      17,200   19,373   116,240

100087021   052170340   INSTITUTIONAL PHCY SOL GAD                 GADSDEN        AL   35904       HOSPITAL        BI8846579     200      200      100      200           80              156       780

100055194   018027714   IRAAN GENERAL HOSPITAL DIST                 IRAAN         TX   79744       HOSPITAL        BI8914613     100               100                           200      133       400

100060943   040094524   INGLES PHARMACY # 489                     CLEVELAND       GA   30528        CHAIN          BI9021243    6,700    6,700    8,200    9,000    6,100       7,000    7,283    43,700

100061175   019034447   INDIANA ORTHOPAEDIC HOSPITAL             INDIANAPOLIS     IN   46278       HOSPITAL        BI9103158    1,600    3,100    3,000    7,400    1,700        800     2,933    17,600

100073870   004100594   *SHOPRITE PHARMACY #292                  GARNERVILLE      NY   10923        CHAIN          BI9125813     300               100      300                           233       700

100061174   019034454   ILLINI COMMUNITY HOSPITAL                 PITTSFIELD      IL   62363       HOSPITAL        BI9131549     100      200      300      800      400                  360      1,800

100073438   055038380   INGLES MARKETS, INC #67                    BREVARD        NC   28712        CHAIN          BI9245211    2,400    3,400    2,800    4,600    2,400       2,600    3,033    18,200

100073667   055051664   INGLES MARKET #200                          INMAN         SC   29349        CHAIN          BI9371509   14,600   14,400   13,800   16,700   11,400      13,100   14,000    84,000

100074477   055051672   INGLES PHARMACY #127                      LAKE LURE       NC   28746        CHAIN          BI9391979    7,400    8,300    7,500    7,700    8,000       5,400    7,383    44,300

100083157   046031997   ICON PHARMACEUTICALS                       ORLANDO        FL   32801   LONG TERM CARE      BI9487439    1,500    2,000    3,000    1,000    2,500        100     1,683    10,100

100069240   019038745   INGALLS PROFESSIONAL PHARMACY            FLOSSMOOR        IL   60422     INDEPENDENT       BI9501227    1,500    2,000     700     3,300                 400     1,580     7,900

100074481   055051771   INGLES PHARMACY #53                        CLEMSON        SC   29631        CHAIN          BI9530317    7,900    7,600    7,000    8,700    7,300       7,500    7,667    46,000

100077063   055051755   INGLES PHARMACY #28                       MARSHALL        NC   28753        CHAIN          BI9582342    2,800    2,500    2,100    2,500    1,700       1,800    2,233    13,400

100060944   040092783   INGLES PHARMACY #428                     CLARKESVILLE     GA   30523        CHAIN          BI9686823   10,200   10,400    9,800   13,000    8,580       9,100   10,180    61,080

100074443   018175489   WALGREENS SPEC PHARMACY #15443             FRISCO         TX   75033     WALGREENS         BI9716587     300      400      100      200       -                   200      1,000

100059252   040166041   INGLES PHARMACY # 057                      WINDER         GA   30680        CHAIN          BI9755731   12,400   12,300   12,700   12,700    9,100      10,600   11,633    69,800

100074478   055060020   INGLES PHARMACY #204                    SPARTANBURG       SC   29301        CHAIN          BI9769499    8,400    8,000    6,900    7,900    5,300       5,800    7,050    42,300

100074476   055060038   INGLES PHARMACY #044                       LAURENS        SC   29360        CHAIN          BI9872335   12,000   11,800   11,900   11,700   15,100      11,000   12,250    73,500

100056085   040040287   GRADY GENERAL HOSPITAL/DBA                  CAIRO         GA   39828       HOSPITAL        BJ0248078              300      200      400      900         600      480      2,400

100052260   010040212   HOLZER FAMILY PHARMACY          APSC      GALLIPOLIS      OH   45631     INDEPENDENT       BJ0485210    9,500    9,400    7,800    9,400   12,900       8,300    9,550    57,300

100074948   010179002   HOLZER FAMILY PHARMACY 340B               GALLIPOLIS      OH   45631   PHS 340B HOSPITAL   BJ0485210             1,000                      2,300       1,500    1,600     4,800

100110813   023000219   JEFFERSON PHARMACY (WAC)                 PHILADELPHIA     PA   19107       HOSPITAL        BJ0782222                       400     1,200                          800      1,600

100110807   023162438   JEFFERSON PHARMACY (340B)                PHILADELPHIA     PA   19107   PHS 340B HOSPITAL   BJ0782222                                800                           800       800

100071394   046141010   JACKSONVILLE SURGERY CTR #712            JACKSONVILLE     FL   32256       HOSPITAL        BJ0995487                                100                           100       100

100087111   023108266   ROCKVILLE CENTRE PHCY CPA              ROCKVILLE CENTRE   NY   11570     INDEPENDENT       BJ1036614    2,300     500     2,000    2,500     200        1,200    1,450     8,700

100109489   023160549   JERRY'S DRUG & SURG SUPPLY CPA             BAYONNE        NJ   07002     INDEPENDENT       BJ1387225    1,500    1,800    1,400    1,000    4,100        600     1,733    10,400

100074487   055000588   JEFFERSON DRUG STORE                      JEFFERSON       NC   28640     INDEPENDENT       BJ1872426                                        1,000                1,000     1,000

100061081   010101089   JEFF'S PHARMACY        APSC              MIDDLESBORO      KY   40965     INDEPENDENT       BJ2092889   38,300   13,200   27,200   29,300   19,400      22,900   25,050   150,300

100055083   012033506   JOHN'S SHOP-RITE PHCY                    LONG BEACH       CA   90805     INDEPENDENT       BJ2194164    3,000    1,000    3,000    1,000                1,000    1,800     9,000

100052152   010049791   JOINT TWNSHP DIST MEM'RL HOSP            SAINT MARYS      OH   45885       HOSPITAL        BJ2236772     700     1,000    1,100     900     1,020       1,200     987      5,920

100085909   044201681   JOHN'S PHCY INC       SF               CAPE GIRARDEAU     MO   63703     INDEPENDENT       BJ2450740   33,200   33,500   34,000   32,000   36,900      30,500   33,350   200,100

100064329   052040022   JACKSONS DISC PHCY         SF             GULFPORT        MS   39503     INDEPENDENT       BJ2797035   36,400   34,400   38,500   32,500   55,400      31,100   38,050   228,300

100090095   052214072   JACKSONS DISCOUNT PHCY 340B               GULFPORT        MS   39503   PHS 340B HOSPITAL   BJ2797035    8,100    9,400   10,400    8,300    1,000                7,440    37,200

100061021   044065326   JEWISH HOSPITAL SHELBYVILLE              SHELBYVILLE      KY   40065       HOSPITAL        BJ3059145     650      350      600      900      160         560      537      3,220

100073108   018143354   JORDAN PHARMACY GRAHAM           CPA       GRAHAM         TX   76450     INDEPENDENT       BJ3122544   11,900   13,100    8,900    3,700   16,000      18,000   11,933    71,600

100071230   004143107   BEACON PRESCRIP (WINSTED) CPA              WINSTED        CT   06098     INDEPENDENT       BJ3471719    1,700    2,900   19,600    1,400    1,900       1,900    4,900    29,400

100055781   056012716   JFK MED CTR PHCY SW(PFW)                 PHILADELPHIA     PA   19104       HOSPITAL        BJ3488841                       300      600                           450       900

100058740   049028241   JC HANSEN INC,                             EDMORE         MI   48829     INDEPENDENT       BJ3613317   16,600   17,300   19,200   29,500   16,600      10,800   18,333   110,000

100058074   044046961   JONES DRUG STORE, INC      SF              JACKSON        MO   63755     INDEPENDENT       BJ3799509    8,500   12,500   10,000   18,500    9,500       7,600   11,100    66,600

100071502   023143339   JAY'S PHARMACY(Z)       CPA                ORADELL        NJ   07649     INDEPENDENT       BJ3910723    1,100    2,300     300     1,300     200        1,200    1,067     6,400

100085627   021158733   JAYHAWK PHCY @ MISSN WOODS CPA             TOPEKA         KS   66614     INDEPENDENT       BJ5143728    3,500              500      500      600         100     1,040     5,200

100068421   044143123   JEFF'S PRESCRIPTION SHOP CPA            ELIZABETHTOWN     KY   42701     INDEPENDENT       BJ5280146   29,700   17,100   45,500    5,800    6,220       4,000   18,053   108,320

100072173   055077313   ONSLOW MEMORIAL HOSPITAL, INC            JACKSONVILLE     NC   28546       HOSPITAL        BJ5399426    1,700    1,300    1,500    1,200    2,200       1,800    1,617     9,700
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100076582   055057307   ONSLOW MEMORIAL HOSPITAL(340B)        JACKSONVILLE     NC   28546   PHS 340B HOSPITAL    BJ5399426     600       400      600      300                         475      1,900

100064805   049041756   JAKS PUBLIC PHARMACY                 BOWLING GREEN     OH   43402     INDEPENDENT        BJ5503330    3,500     3,000    4,500    7,500     2,000    4,500    4,167    25,000

100084429   018183475   JAMES MCCOY'S DRUGSTORE CPA              ABILENE       TX   79601     INDEPENDENT        BJ5749811   18,500    22,600   22,200   27,900    29,200   24,500   24,150   144,900

100068091   018162040   HEALTH DEPOT #2 BARLING        CPA       BARLING       AR   72923     INDEPENDENT        BJ5755713   15,400    24,200   15,700   20,100    13,200   15,100   17,283   103,700

100068090   018162032   HEALTH DEPOT #1 FORT SMITH CPA         FORT SMITH      AR   72908     INDEPENDENT        BJ5755725   41,600    25,000   33,400   49,200     4,500   16,000   28,283   169,700

100055780   056012690   JARRETTSVILLE PHARMACY INC GNP        JARRETTSVILLE    MD   21084     INDEPENDENT        BJ5839141    3,600     3,900    4,000    4,500      300              3,260    16,300

100050737   052036871   JACKSON MEDICAL CENTER #                JACKSON        AL   36545       HOSPITAL         BJ6028042     100       100      100                100      200      120       600

100057704   032034009   JACK'S PHARMACY     GNP               SAINT MARIES     ID   83861     INDEPENDENT        BJ6064973   23,200    21,000   27,700   17,800    25,200   22,000   22,817   136,900

100058767   023100834   *SHOPRITE PHARMACY #831                HAUPPAUGE       NY   11788         CHAIN          BJ6074532     200       100      100      200                         150       600

100061833   023012708   JAMESBURG DRUGS (Z)(GNP)               JAMESBURG       NJ   08831     INDEPENDENT        BJ6201999    2,000      600      800     1,000     1,100    2,100    1,267     7,600

100054218   038051219   JOHN'S MED HILL PHCY      SF            GILLETTE       WY   82716     INDEPENDENT        BJ6203854    9,400    11,200    8,700   17,700     4,500    5,280    9,463    56,780

100058568   021027078   MERCY PHARMACY-SGC                     SPRINGFIELD     MO   65807       HOSPITAL         BJ6460048   14,800    13,600   17,700   23,000    22,500   18,100   18,283   109,700

100069647   046013128   JOHN E POLK, CORRECTIONAL               SANFORD        FL   32773        ALT SITE        BJ6638475     100       100                                           100       200

100063743   052044073   JEFFCO DRUGCENTER IN DANDRIDGE         DANDRIDGE       TN   37725     INDEPENDENT        BJ7045582   12,500    11,700    9,600    8,400    14,300    7,500   10,667    64,000

100073107   037143057   JC'S TRUCARE PHARMACY INC CPA           SHEPHERD       TX   77371     INDEPENDENT        BJ7352432    5,300     5,200    7,800   (2,000)    6,300    9,000    5,267    31,600

100071477   038140129   MIDTOWN SURG CTR/JOHNSON #712            DENVER        CO   80206       HOSPITAL         BJ7471395     (100)                       100                100       33       100

100066821   046090068   JUPITER OUTPATIENT SURG CNT              JUPITER       FL   33458       HOSPITAL         BJ7582934               100                                           100       100

100073109   018143362   JORDAN PHCY INC HAMILTON CPA            HAMILTON       TX   76531     INDEPENDENT        BJ7817200    1,100    27,200     100    21,000    11,900    8,300   11,600    69,600

100105829   018403675   J O WYATT COMMUNITY HLTH CTR            AMARILLO       TX   79107       HOSPITAL         BJ7904433   33,500    41,000   31,500   22,500     1,700    1,100   21,883   131,300

100064278   019031781   JOHN H STROGER, JR AMB     340B         CHICAGO        IL   60612   PHS 340B HOSPITAL    BJ8001430   12,900    10,900   12,200   16,000    12,000   11,000   12,500    75,000

100090459   019157479   FANTUS HLTH CTR REFIL PHY 340B          CHICAGO        IL   60612       HOSPITAL         BJ8001430    3,600     5,000    4,600    4,200      500              3,580    17,900

100087130   023108274   WEST HEMPSTEAD PHARMACY CPA          WEST HEMPSTEAD    NY   11552     INDEPENDENT        BJ8093899     600       600     1,330    1,400     1,000     500      905      5,430

100053427   024076992   JEFFREY GOODMAN 340B                  LOS ANGELES      CA   90028    PHS 340B CLINIC     BJ8171681    5,100     6,300    5,700    4,500     3,800    6,200    5,267    31,600

100054798   037064584   J S C CLINIC CONTRACT                   HOUSTON        TX   77058   HOSPITAL (FEDERAL)   BJ8201472                                 100                         100       100

100068757   041175950   JONES & COUNTS PHARMACY(X) CPA            HAYSI        VA   24256     INDEPENDENT        BJ8232580   26,300    27,400   39,500   16,200    20,100   33,700   27,200   163,200

100089016   046040931   JLH PHARMACY                         HIALEAH GARDENS   FL   33016     INDEPENDENT        BJ8751744     100       400      100      200                         200       800

100075514   055071852   J IVERSON RIDDLE DEVELPMNT CTR         MORGANTON       NC   28655       HOSPITAL         BJ8893453     100       100      750      300                         313      1,250

100088371   023133595   JVJ PHARMACY INC (DIP)                  NEW YORK       NY   10003     INDEPENDENT        BJ9001215    1,000      500     2,000     400       500     1,300     950      5,700

100055974   052094235   JACKS DRUGS DOTHAN                       DOTHAN        AL   36305     INDEPENDENT        BJ9084675     120       200      200     5,100      500      200     1,053     6,320

100110660   023162073   JEFFERSON PHCY-WALNUT ST              PHILADELPHIA     PA   19107     INDEPENDENT        BJ9146196                       1,000    2,900     3,400    3,120    2,605    10,420

100109804   041154682   JOPPA ROAD PHARMACY LLC                BALTIMORE       MD   21234     INDEPENDENT        BJ9328849    4,800     4,200    2,800    3,900     3,900    3,000    3,767    22,600

100085990   044201806   JOHN'S RX LTC       SF               CAPE GIRARDEAU    MO   63703    LONG TERM CARE      BJ9506861    6,200     6,600    7,400    4,400    13,000    1,000    6,433    38,600

100063769   044066241   OUR LADY OF PEACE/JWSH HSP             LOUISVILLE      KY   40205       HOSPITAL         BJ9610521     500       300      200      600       340      360      383      2,300

100096537   044107110   STS MARY & ELIZABETH HOSP WAC          LOUISVILLE      KY   40215       HOSPITAL         BJ9610557     800      1,100     600     1,950     2,600    2,000    1,508     9,050

100063768   044066233   STS MARY & ELIZABETH HOSPITAL          LOUISVILLE      KY   40215       HOSPITAL         BJ9610557    1,100     1,150    1,400    1,500                       1,288     5,150

100061195   044074872   STS MARY & ELIZABETH HOSP 340B         LOUISVILLE      KY   40215   PHS 340B HOSPITAL    BJ9610557     400       250      850      100                         400      1,600

100068422   040143487   JIM CASH PHARMACY         CPA           BUCHANAN       GA   30113     INDEPENDENT        BJ9700471    4,000    33,700   25,400   10,000    15,000   13,100   16,867   101,200

100084492   018183608   JAMES MCCOYS DRUGSTORE STH CPA           ABILENE       TX   79606     INDEPENDENT        BJ9753648   18,100    16,800   25,700   14,700    32,200   21,300   21,467   128,800

100086055   023104414   MISHKIN PHARMACY         CPA            BROOKLYN       NY   11221     INDEPENDENT        BJ9820122     100       500      200      500      1,500     500      550      3,300

100054043   041009829   KAISER CAP HILL PHCY PERM              WASHINGTON      DC   20002      HEALTH PLAN       BK0153091   12,800     6,000   12,500    6,000     2,200    8,200    7,950    47,700

100055278   032056630   KAISER MED OFF ROCKWOOD                 PORTLAND       OR   97233      HEALTH PLAN       BK0167432    4,800     9,900    5,200    5,000    18,600   19,500   10,500    63,000

100057624   026041038   KAISER HONOLULU CLINIC PHCY             HONOLULU       HI   96814      HEALTH PLAN       BK0177596   27,700    25,200   21,500   24,300    28,400   23,300   25,067   150,400

100054154   012091546   KAISER PERM #223-BE691                  CARLSBAD       CA   92011      HEALTH PLAN       BK0277043                                         35,700   40,800   38,250    76,500

100053100   024035907   KAISER FOUN HOSP #401-33             WOODLAND HILLS    CA   91367      HEALTH PLAN       BK0309496    4,900      100     4,900    6,000                       3,975    15,900
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100053356   024036103   KAISER HOSPITAL PHARM 401           WOODLAND HILLS    CA   91367   HEALTH PLAN   BK0309511     300      900     1,100     300     125,100    72,300   33,333   200,000

100055787   056012898   *KLEINS PHCY ABERDEEN #548             ABERDEEN       MD   21001      CHAIN      BK0318976              200                                             200       200

100054039   041009761   KAISER GAITHERSBURG PHCY             GAITHERSBURG     MD   20879   HEALTH PLAN   BK0344161    6,600   13,200    7,000    8,600      5,900    10,300    8,600    51,600

100092816   021168377   *LAKELAND PHARMACY #6 CPA           KIMBERLING CITY   MO   65686   INDEPENDENT   BK0352409    5,700    5,700    1,100                                  4,167    12,500

100054268   012035006   KAISER PERM #357 PHCY                GARDEN GROVE     CA   92840   HEALTH PLAN   BK0357889                                100      85,400    63,600   49,700   149,100

100051459   008073296   KAISER PERM PHAR 143 /F                HAYWARD        CA   94545   HEALTH PLAN   BK0396982     800      300     1,200     300       9,500    13,700    4,300    25,800

100063503   056027656   KATZ PHARMACY      (IPBG)             HAVERTOWN       PA   19083   INDEPENDENT   BK0442703    1,600    2,300    1,200    1,600      1,600     2,100    1,733    10,400

100105788   010236323   HEALTHSPAN INTEGRD CARE-AKR IN          AKRON         OH   44310   HEALTH PLAN   BK0445280    5,300    2,200    3,000    3,500      4,400     6,600    4,167    25,000

100054341   012035402   KAISER PERM #155 PHCY                  FONTANA        CA   92335   HEALTH PLAN   BK0463226                                          3,100     2,900    3,000     6,000

100059419   010098772   KYVA PHCY           APSC              WHITESBURG      KY   41858   INDEPENDENT   BK0589311    2,200    2,600    1,600    1,700      5,500     2,000    2,600    15,600

100064988   008016881   KAISER PERM PHAR 725 /G                 FRESNO        CA   93726   HEALTH PLAN   BK0605975                                         15,600    18,000   16,800    33,600

100053370   024036442   KAISER PERM #108                       GARDENA        CA   90249   HEALTH PLAN   BK0670566                                (200)    28,800    28,200   18,933    56,800

100054041   041009787   KAISER KENSINGTON PHCY.       D24     KENSINGTON      MD   20895   HEALTH PLAN   BK0732190    7,900    8,600    8,100    6,900     23,200     4,800    9,917    59,500

100053944   038029124   KAISER PERM-WHEATRIDGE                WHEAT RIDGE     CO   80033   HEALTH PLAN   BK0749296   31,500   30,200    1,700     500      10,500    49,600   20,667   124,000

100051470   008073577   KAISER PERM PHAR 541 /H                MARTINEZ       CA   94553   HEALTH PLAN   BK0770188    4,000    4,200    2,500    1,100     97,600    51,300   26,783   160,700

100054155   012091553   KAISER PERM #225 BE691                 EL CAJON       CA   92020   HEALTH PLAN   BK0810196                                         36,900     8,900   22,900    45,800

100056601   026044453   *KAISER KONA PHCY                     KAILUA KONA     HI   96740   HEALTH PLAN   BK0904753   17,100                                                   17,100    17,100

100055531   032056903   KAISER SUNSET PHCY                     HILLSBORO      OR   97124   HEALTH PLAN   BK0920733    1,200    2,400    2,400    3,600      2,600     2,400    2,433    14,600

100056432   038065672   KAISER PERM-ENGLEWOOD                 ENGLEWOOD       CO   80110   HEALTH PLAN   BK0998887   14,600   12,300     400      500       2,100     4,600    5,750    34,500

100105789   010236331   HEALTHSPAN INTEGR CARE-PARM MO          PARMA         OH   44130   HEALTH PLAN   BK1027134   13,400   14,900   12,900   14,300     24,900    19,200   16,600    99,600

100055133   041009902   KAISER WOODBRIDGE PHCY        V01     WOODBRIDGE      VA   22192   HEALTH PLAN   BK1106497    5,800   10,800    8,000   17,500      5,900     5,100    8,850    53,100

100051468   008073494   KAISER PERM PHAR 582 /H               SANTA ROSA      CA   95403   HEALTH PLAN   BK1159640                               2,000     17,000    39,300   19,433    58,300

100054037   041009738   KAISER FAIROAKS PHARMACY                FAIRFAX       VA   22033   HEALTH PLAN   BK1174717    4,000    4,600    4,200    3,300      5,500     6,700    4,717    28,300

100056441   038065771   KAISER PERM-SMOKY HILL                  AURORA        CO   80015   HEALTH PLAN   BK1186267   26,600   22,100    6,000     800      12,200    18,500   14,367    86,200

100056010   038065649   KAISER PERM-ROCK CREEK                 LAFAYETTE      CO   80026   HEALTH PLAN   BK1186281   30,800   27,600    1,100     200      17,000    27,000   17,283   103,700

100053131   012049353   KAISER 506 2ND PHCY                    RIVERSIDE      CA   92505   HEALTH PLAN   BK1223964                                         23,800    14,400   19,100    38,200

100061384   021039750   KINKEAD PHCY INC        CPA            CENTRALIA      MO   65240   INDEPENDENT   BK1259274   18,600   37,700   32,500   31,800      4,100    22,600   24,550   147,300

100064990   008017434   KOMOTO PHCY INC                         DELANO        CA   93215   INDEPENDENT   BK1400592    1,300     500               200      28,400     3,700    6,820    34,100

100093879   008110494   KOMOTO PHARMACY 340B                    DELANO        CA   93215     ALT SITE    BK1400592     100      200                                             150       300

100054559   040022053   KAISER CUMBERLAND CENTRAL               ATLANTA       GA   30339   HEALTH PLAN   BK1577038    7,600    7,800    5,200    6,400      8,500     7,000    7,083    42,500

100054008   012034405   KAISER PERM #364 PHCY                MISSION VIEJO    CA   92691   HEALTH PLAN   BK1600180     100                        100      57,800    48,100   26,525   106,100

100054035   041009712   KAISER CAMP SPRINGS PHCY B04         TEMPLE HILLS     MD   20748   HEALTH PLAN   BK1603530   10,100    7,900    6,500    7,800      4,500     7,400    7,367    44,200

100054558   040022020   KAISER CRESCENT CENTER CENTRAL          TUCKER        GA   30084   HEALTH PLAN   BK1629332   10,700    8,300    9,500    4,700      9,600     8,100    8,483    50,900

100051289   018043323   KEMP FAMILY PHARMACY                     KEMP         TX   75143   INDEPENDENT   BK1675783    5,800    7,870    6,700    8,400      8,400     2,500    6,612    39,670

100051419   008072934   KAISER PERM PHAR 201 /F                PETALUMA       CA   94954   HEALTH PLAN   BK1693692     100      100                        46,500    48,300   23,750    95,000

100053360   024036160   KAISER O-P #558                       MONTEBELLO      CA   90640   HEALTH PLAN   BK1721059                                          4,900    13,400    9,150    18,300

100067318   046032003   KINDRED HOSPITAL FT LAUDERDALE      FORT LAUDERDALE   FL   33301    HOSPITAL     BK1735731     100               100                                    100       200

100056289   032055855   KAISER PHCY CASCADE PK                VANCOUVER       WA   98684   HEALTH PLAN   BK1783263    3,600    3,600    4,700    7,200      3,600     3,700    4,400    26,400

100053621   024036475   KAISER PERM #027 1ST FLOOR            LOS ANGELES     CA   90027   HEALTH PLAN   BK1791385     400      500      500               22,300    23,400    9,420    47,100

100055788   056012880   *KLEIN'S PHCY BEL AIR #547              BEL AIR       MD   21014      CHAIN      BK1815868              100               200                           150       300

100054001   012034058   KAISER 501 OUTPT                       RIVERSIDE      CA   92505   HEALTH PLAN   BK1840366                       200              114,500   116,300   77,000   231,000

100053998   012033902   KAISER 501 INPAT                       RIVERSIDE      CA   92505   HEALTH PLAN   BK1922207    3,600    3,900    2,800    3,500      2,700     3,200    3,283    19,700

100053030   024035667   KAISER I-P #955                       LOS ANGELES     CA   90012   HEALTH PLAN   BK1933034     100      200                          200       300      200       800

100053830   024037457   KNOLLS PHARMACY       /PCN           BALDWIN PARK     CA   91706   INDEPENDENT   BK1934226    7,900    8,000   10,700    8,300      7,200     5,200    7,883    47,300
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100055132   041009894   KAISER WOODLAWN                         BALTIMORE         MD   21244   HEALTH PLAN   BK2004199    2,400     3,500    3,700    2,700    2,500     3,400    3,033    18,200

100056426   040077255   KAISER GLENLAKE CENTRAL                  ATLANTA          GA   30328   HEALTH PLAN   BK2037047    8,400     8,600    9,300    8,200   14,600     7,800    9,483    56,900

100052435   024099895   KAISER O-P #603                        BAKERSFIELD        CA   93309   HEALTH PLAN   BK2041072     100       300      200      200    66,400    43,900   18,517   111,100

100056596   026044354   KAISER KAILUA PHCY                        KAILUA          HI   96734   HEALTH PLAN   BK2064070   11,300     5,600    4,500    7,800    6,900     7,500    7,267    43,600

100051464   008073387   KAISER PERM PHAR 592 /C                 ROSEVILLE         CA   95678   HEALTH PLAN   BK2077318     200                200      200    26,200    28,800   11,120    55,600

100051709   008074658   KAISER PERM PHAR 441 /K                SANTA CLARA        CA   95051   HEALTH PLAN   BK2109812                                         5,400     6,000    5,700    11,400

100054376   040022145   KAISER SOUTHWOOD CENTRAL               JONESBORO          GA   30236   HEALTH PLAN   BK2124143   27,700    29,500   29,000   28,000   26,100    22,500   27,133   162,800

100054561   040022095   KAISER GWINNETT CENTRAL                  DULUTH           GA   30096   HEALTH PLAN   BK2124155   39,600    22,300   30,100   28,000   31,200    34,400   30,933   185,600

100054375   040022129   KAISER PANOLA                            LITHONIA         GA   30058   HEALTH PLAN   BK2124167    9,700     9,200    7,600    8,000    8,700     8,700    8,650    51,900

100054560   040022087   KAISER CASCADE                           ATLANTA          GA   30331   HEALTH PLAN   BK2136679   11,300     8,900    8,000    8,700   11,700     7,400    9,333    56,000

100051708   008074518   KAISER FNDN HOS PHAR58A/584 /H         SANTA ROSA         CA   95403   HEALTH PLAN   BK2142329    1,600      600     1,000    4,400                       1,900     7,600

100055785   056012864   *KLEINS PHCY FESTIVAL #549               BEL AIR          MD   21015      CHAIN      BK2142456                        300                                  300       300

100056011   038065656   KAISER PERM-EMERGENCY CARE               DENVER           CO   80218   HEALTH PLAN   BK2177473    7,000                                                   7,000     7,000

100054338   012035204   KAISER 176 SURGICAL PHCY                 FONTANA          CA   92335   HEALTH PLAN   BK2182412                                        43,700    51,000   47,350    94,700

100053357   024036111   KAISER PERMANENTE PHARMACY 404       WOODLAND HILLS       CA   91367   HEALTH PLAN   BK2240466     100                                21,300    11,800   11,067    33,200

100053025   024035527   KAISER PERMANENTE PHARMACY 605         BAKERSFIELD        CA   93306   HEALTH PLAN   BK2302204                                        18,000    15,600   16,800    33,600

100052750   018040964   HOMETOWN PHARMACY                      GAINESVILLE        TX   76240   INDEPENDENT   BK2309878   13,300    11,300   14,700   12,700   10,900     9,500   12,067    72,400

100051570   008072546   KAISER PERM PHAR 361 /B                  NOVATO           CA   94945   HEALTH PLAN   BK2345191     800       600      500      500    38,500    29,100   11,667    70,000

100051466   008073395   KAISER PERM PHAR 593 /C                 ROSEVILLE         CA   95661   HEALTH PLAN   BK2388127                                         5,000    29,100   17,050    34,100

100051569   008072538   KAISER PERM PHAR 221 /P                   NAPA            CA   94558   HEALTH PLAN   BK2412081    1,200     2,400    2,400    1,400   58,600    74,500   23,417   140,500

100051488   008074021   KAISER PERM PHAR 471       /C          PLEASANTON         CA   94588   HEALTH PLAN   BK2439405    2,500     4,000     800     5,400   81,100    92,000   30,967   185,800

100051489   008074039   KAISER PERM PHAR 472       /C          PLEASANTON         CA   94588   HEALTH PLAN   BK2439417                        800             19,300    22,100   14,067    42,200

100054077   012034660   KAISER PERM #063 PHCY                   WHITTIER          CA   90602   HEALTH PLAN   BK2461488                                        16,800    20,400   18,600    37,200

100051455   008073163   KAISER PERM PHAR 621 /C                   DAVIS           CA   95618   HEALTH PLAN   BK2462226     600       600      900      800    40,300    43,400   14,433    86,600

100053897   012091447   KAISER HOSP #202 IP-BE691               SAN DIEGO         CA   92120   HEALTH PLAN   BK2480301    6,200     6,800    7,000    6,600    1,600     5,900    5,683    34,100

100054005   012034223   KAISER PERM #071 PHCY D-1                DOWNEY           CA   90242   HEALTH PLAN   BK2551186                                        19,300    19,400   19,350    38,700

100051474   008073676   KAISER PERM PHAR 211 /H                  VALLEJO          CA   94589   HEALTH PLAN   BK2605345    3,000     1,600     400     3,500   99,000   100,900   34,733   208,400

100051475   008073684   KAISER PERM PHAR 212 /P                  VALLEJO          CA   94590   HEALTH PLAN   BK2605357     200                                18,700    40,700   19,867    59,600

100051407   008072744   KAISER PERM PHAR 421 /C               MOUNTAIN VIEW       CA   94041   HEALTH PLAN   BK2606917     700       200      400      200    24,400    13,200    6,517    39,100

100051422   008072975   KAISER PERM PHAR 161 /G                 FREMONT           CA   94538   HEALTH PLAN   BK2614231     800      1,900    1,600    2,100   77,400    51,400   22,533   135,200

100054003   012034124   KAISER 113 L B PLAZA PHY               LONG BEACH         CA   90804   HEALTH PLAN   BK2660151                        300      100    52,400    42,000   23,700    94,800

100051561   008072306   KAISER PERM PHAR 383 /C                  MILPITAS         CA   95035   HEALTH PLAN   BK2670417                        100                                  100       100

100071112   046140723   KENDALL REGIONAL MED CTR #712             MIAMI           FL   33175    HOSPITAL     BK2699897               100      200      100       80       280      152       760

100051467   008073460   KAISER PERM PHAR 711 /C              RANCHO CORDOVA       CA   95670   HEALTH PLAN   BK2721911     400      1,200    4,900    3,700   69,000    88,000   27,867   167,200

100051563   008072421   KAISER PERM PHAR 752 /M                  GILROY           CA   95020   HEALTH PLAN   BK2729082     (100)     100     2,000   27,600   12,600    46,900   14,850    89,100

100054335   012035147   KAISER PERM #383 PHCY                   LA PALMA          CA   90623   HEALTH PLAN   BK2750493      -                                 55,400    48,600   34,667   104,000

100053692   024036632   KAISER PERM #553                        SAN DIMAS         CA   91773   HEALTH PLAN   BK2763539               200      100             40,600    30,300   17,800    71,200

100053359   024036145   KAISER O-P #552                       BALDWIN PARK        CA   91706   HEALTH PLAN   BK2794673                                         8,200    12,600   10,400    20,800

100054264   012034769   KAISER PERM #117 PHCY                   TORRANCE          CA   90503   HEALTH PLAN   BK2856776                                        38,300    21,600   29,950    59,900

100064981   008016923   KAISER PERM PHAR 723 /K                  FRESNO           CA   93720   HEALTH PLAN   BK2883735                                 200     7,200     7,200    4,867    14,600

100064978   008016915   KAISER PERM PHAR 722 /H                  FRESNO           CA   93720   HEALTH PLAN   BK2883759     500       500      700      700     9,700   102,600   19,117   114,700

100053368   024036384   KAISER O-P #067                          CUDAHY           CA   90201   HEALTH PLAN   BK2885311                                         9,700    13,700   11,700    23,400

100051572   008072579   KAISER PERM PHAR 473    /C             PLEASANTON         CA   94588   HEALTH PLAN   BK2893318     500       500      400              6,400     7,600    3,080    15,400

100055130   041009852   KAISER TOWSON PHCY           B14   LUTHERVILLE TIMONIUM   MD   21093   HEALTH PLAN   BK2901812    1,800     3,200    1,500    4,000    2,300     4,900    2,950    17,700
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100054332   012035071   KAISER PERM #366 PHCY                     IRVINE          CA   92604      HEALTH PLAN       BK2908210               200      200              19,500    23,400   10,825    43,300

100051427   008073031   KAISER PERM PHARM 684 /H                 STOCKTON         CA   95210      HEALTH PLAN       BK2917310    5,300     8,900    5,300    4,200   194,400   174,600   65,450   392,700

100051426   008073023   KAISER PERM PHAR 686 /H                  STOCKTON         CA   95210      HEALTH PLAN       BK2917322     100                200                          200      167       500

100054044   041009837   KAISER WHITE MARSH        B10           NOTTINGHAM        MD   21236      HEALTH PLAN       BK2960400    5,800     9,300    7,400    7,600     9,300     7,400    7,800    46,800

100051575   008072660   KAISER PERM PHAR 583 /H                 SANTA ROSA        CA   95403      HEALTH PLAN       BK2969206                                         27,800    24,800   26,300    52,600

100107377   019184986   PHARMACY CARE CENTRE CPA                 ANAMOSA          IA   52205     INDEPENDENT        BK2993132    3,600     1,400    1,400    2,500     6,000     1,000    2,650    15,900

100053355   024036095   KAISER O-P #279PC3                    PANORAMA CITY       CA   91402      HEALTH PLAN       BK2998106                                         40,500    43,500   42,000    84,000

100051456   008073213   KAISER PERM PHAR 601 /P                SACRAMENTO         CA   95823      HEALTH PLAN       BK3022186    1,700              1,500             22,500    19,900   11,400    45,600

100051483   008073858   *KAISER FNDN HOS PHAR 11A /K             OAKLAND          CA   94611      HEALTH PLAN       BK3043700    1,500      600                                           1,050     2,100

100055163   012035600   KAISER PERM #508 PHCY                 MORENO VALLEY       CA   92553      HEALTH PLAN       BK3047708                                         56,400    46,200   51,300   102,600

100058747   049030106   *HARBOR DRUG, INC        SF            HARBOR BEACH       MI   48441     INDEPENDENT        BK3067407   16,400    10,200    9,700                                12,100    36,300

100051695   008074260   KAISER PERM PHAR 501     /A            WALNUT CREEK       CA   94598      HEALTH PLAN       BK3092145     200       600      700     1,300     6,000    22,800    5,267    31,600

100051417   008072900   KAISER PERM PHAR 372 /B                REDWOOD CITY       CA   94063      HEALTH PLAN       BK3140895     100                         100     11,200    10,200    5,400    21,600

100053968   041009605   KAISER MANASSAS          V02             MANASSAS         VA   20109      HEALTH PLAN       BK3209601    5,000     8,200    6,100    5,700    10,200     3,700    6,483    38,900

100105785   010236299   HEALTHSPAN INTEGRD CARE-AKR EP            AKRON           OH   44333      HEALTH PLAN       BK3285942    1,000      600      800      700      1,700     2,600    1,233     7,400

100055789   056012906   *KLEINS PHCY RIVERSIDE #551              BELCAMP          MD   21017         CHAIN          BK3359622     200                100      300                          200       600

100068332   021005082   KELLSTROM PHARMACY            CPA       MANHATTAN         KS   66502     INDEPENDENT        BK3371945    7,000              5,500    3,500      500      1,400    3,580    17,900

100053358   024036137   KAISER PERMANENTE PHCY 409            THOUSAND OAKS       CA   91360      HEALTH PLAN       BK3386415                        100              47,200    36,800   28,033    84,100

100051452   008073106   KAISER PERM PHAR 353 /M                 SAN BRUNO         CA   94066      HEALTH PLAN       BK3400619                                         18,900             18,900    18,900

100056437   038065730   KAISER PERM-LONGMONT                    LONGMONT          CO   80503      HEALTH PLAN       BK3402889   22,200    23,100     500      300      3,500    20,800   11,733    70,400

100070317   046141119   KISSIMMEE SURGICARE, LTD #712            KISSIMMEE        FL   34741       HOSPITAL         BK3443796                                                     100      100       100

100054157   012091645   KAISER PERM #239-BE691                     VISTA          CA   92083      HEALTH PLAN       BK3467621     (100)      -                         9,800     7,200    4,225    16,900

100054336   012035154   KAISER PERM #352 PHCY                    ANAHEIM          CA   92801      HEALTH PLAN       BK3474361                                         40,600    42,300   41,450    82,900

100051509   008074187   KAISER PERM PHAR 392 /A                 SAN RAFAEL        CA   94903      HEALTH PLAN       BK3514545                        100               2,600     1,300    1,333     4,000

100051508   008074179   KAISER FNDN HOS PHAR39A/394 /B          SAN RAFAEL        CA   94903      HEALTH PLAN       BK3531488    1,100     1,000     400     1,100     1,200      400      867      5,200

100051704   008074443   KAISER FNDN HOS PHAR 354 /B         SOUTH SAN FRANCISCO   CA   94080      HEALTH PLAN       BK3546643                                          7,200    16,500   11,850    23,700

100053363   024036236   KAISER PERMANENTE PHCY 323             LOS ANGELES        CA   90066      HEALTH PLAN       BK3554993                                         10,500    14,530   12,515    25,030

100056542   032055947   KAISER CENTRAL INTER ONCOLOGY            PORTLAND         OR   97227      HEALTH PLAN       BK3586926     400                                  1,200     1,400    1,000     3,000

100058083   041073965   KIMBROUGH ARMY COM HOSP (DOD)           FORT MEADE        MD   20755   HOSPITAL (FEDERAL)   BK3613064    5,600     5,800    9,200    7,200     3,600     4,800    6,033    36,200

100058085   041073981   ABERDEEN PROVING GROUND (DOD)              APG            MD   21005   HOSPITAL (FEDERAL)   BK3624308    4,100     3,600    5,000    4,600     6,000     6,000    4,883    29,300

100053365   024036244   KAISER PERMANENTE PHMCY 437           WOODLAND HILLS      CA   91367      HEALTH PLAN       BK3635907                        100              37,200    16,800   18,033    54,100

100065782   021004564   KREISLER COUNTRY PHARMACY              APPLETON CITY      MO   64724     INDEPENDENT        BK3663564   11,000    13,500   11,500   10,000    12,600    11,700   11,717    70,300

100053031   024035709   KAISER I-P #002-33                     LOS ANGELES        CA   90027      HEALTH PLAN       BK3794927    4,000     5,700    7,000    7,100               2,000    5,160    25,800

100054040   041009779   KAISER SILVER SPRING      B12          SILVER SPRING      MD   20904      HEALTH PLAN       BK3814945    2,800     5,900    3,400    2,800     2,500     1,000    3,067    18,400

100051458   008073262   KAISER PERM PHAR 164 /M                  FREMONT          CA   94538      HEALTH PLAN       BK3815454                                         27,800    35,700   31,750    63,500

100054267   012034959   KAISER PERM #356 PHCY                HUNTINGTON BEACH     CA   92648      HEALTH PLAN       BK3818309                                9,600    55,500    57,000   40,700   122,100

100054639   024060673   KAISER PERM #030                         GLENDALE         CA   91202      HEALTH PLAN       BK3821572     400                                 23,100    19,900   14,467    43,400

100051698   008074302   KAISER PERM PHAR 115 /M                  OAKLAND          CA   94611      HEALTH PLAN       BK3823398    1,600     2,000    1,600   16,600    91,700    88,800   33,717   202,300

100070848   012110635   KAISER FOUND HOSP PHCY 081 OP           BELLFLOWER        CA   90706      HEALTH PLAN       BK3836167                                         23,060    19,500   21,280    42,560

100054036   041009720   KAISER CITY PLAZA       B08             BALTIMORE         MD   21201      HEALTH PLAN       BK3856385     500                500      700      1,100     1,300     820      4,100

100051415   008072876   KAISER PERM PHAR 512 /A                WALNUT CREEK       CA   94596      HEALTH PLAN       BK3863633                                3,000    13,900    24,600   13,833    41,500

100055164   012035683   KAISER #197 LINK PHARMACY                FONTANA          CA   92335      HEALTH PLAN       BK3924176                                        104,800    93,600   99,200   198,400

100054340   012035329   KAISER PERM #181 FAM. PRACTICE           FONTANA          CA   92335      HEALTH PLAN       BK3928112                                         39,600    30,900   35,250    70,500

100055165   012035691   KAISER PERM #182 OB/GYN PHCY             FONTANA          CA   92335      HEALTH PLAN       BK3928124                                          9,100     9,600    9,350    18,700
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100066989   046054585   KINDRED HOSPITAL S FL HOLLYWOO          HOLLYWOOD       FL   33020         HOSPITAL         BK3938341     100                                  100                100       200

100051719   008075028   KAISER PERM PHAR 124 /B                  RICHMOND       CA   94801       HEALTH PLAN        BK3970248     300     1,200      -       300      7,000    35,000    7,300    43,800

100083472   018180695   MEDICAL PARK PHARMACY                    LONGVIEW       TX   75605       INDEPENDENT        BK4005826   13,300   13,500   14,400   20,100    15,100    17,000   15,567    93,400

100090968   018238196   MEDICAL PARK PHARMACY-MHA INF            LONGVIEW       TX   75605   HOME HEALTH SERVICES   BK4005826    4,100    2,500    1,300    1,500                        2,350     9,400

100054377   040022152   KAISER TOWNPARK                          KENNESAW       GA   30144       HEALTH PLAN        BK4017807   27,000   28,400   24,100   20,700    28,600    32,100   26,817   160,900

100068334   021005116   KELLSTROM PHARMACY LTC           CPA     MANHATTAN      KS   66502       INDEPENDENT        BK4076293    3,500    1,500    4,600    1,000     1,500     1,500    2,267    13,600

100076550   024110098   KAISER FOUN HOSP PHMCY 253             PANORAMA CITY    CA   91402       HEALTH PLAN        BK4172300    3,000    1,000    3,000    2,000     3,000     1,000    2,167    13,000

100053624   024036517   KAISER PERM #281 1ST FLOOR             SANTA CLARITA    CA   91355       HEALTH PLAN        BK4176649     900      900      900     1,300    75,000    68,300   24,550   147,300

100055782   056012773   KENDAL CROSSLANDS COMM PCY             KENNETT SQUARE   PA   19348     LONG TERM CARE       BK4191590    1,100             1,600     600       400       600      860      4,300

100052992   024041947   KAISER O-P #551                         BALDWIN PARK    CA   91706       HEALTH PLAN        BK4226533     200      200      600              43,200    54,000   19,640    98,200

100051099   008021303   MASON PHARMACY                          SACRAMENTO      CA   95824       INDEPENDENT        BK4299459    9,300   12,100   10,700    8,900    12,000     7,800   10,133    60,800

100066080   008044636   KAISER FNDN HOS PHAR 72A /G               FRESNO        CA   93720       HEALTH PLAN        BK4309971     600      600      600               2,700              1,125     4,500

100054009   012034413   KAISER 361 OUTPT                         SANTA ANA      CA   92705       HEALTH PLAN        BK4323755                                        33,600    43,800   38,700    77,400

100053999   012033951   KAISER 151 INPAT                          FONTANA       CA   92335       HEALTH PLAN        BK4326321    4,500   14,000                       1,500     8,500    7,125    28,500

100051450   008073072   KAISER PERM PHAR 511 /A                WALNUT CREEK     CA   94596       HEALTH PLAN        BK4341171    1,000     500      100      200    112,800    87,400   33,667   202,000

100051715   008074930   KAISER FNDN HOS PHAR 616 /P             SACRAMENTO      CA   95825       HEALTH PLAN        BK4392255     700      900     1,000     700     47,800    64,300   19,233   115,400

100051451   008073080   KAISER PERM PHAR 502      /A           WALNUT CREEK     CA   94598       HEALTH PLAN        BK4395833     400      200     2,400    5,600    56,300    46,900   18,633   111,800

100054504   010044867   K-C INSTITUTIONAL PHARMACY               BREWSTER       OH   44613     LONG TERM CARE       BK4401282    1,300    1,100    1,400     900      1,400      600     1,117     6,700

100053597   024077644   KAISER PERM #004 1ST FLOOR              LOS ANGELES     CA   90027       HEALTH PLAN        BK4411168                                         5,700     4,200    4,950     9,900

100056434   038065698   KAISER PERM-HIDDEN LAKE                 WESTMINSTER     CO   80003       HEALTH PLAN        BK4411473   35,800   29,300    6,700     900      4,800    20,500   16,333    98,000

100054557   040022004   KAISER ALPHARETTA                       ALPHARETTA      GA   30005       HEALTH PLAN        BK4411625    6,600    4,700    4,300    3,000     6,300     8,600    5,583    33,500

100051484   008073890   KAISER FNDN HOS PHAR12A/125 /B           RICHMOND       CA   94801       HEALTH PLAN        BK4464210     600      400      500      500     20,600              4,520    22,600

100051718   008075010   KAISER FNDN HOS PHAR 123 /B              RICHMOND       CA   94801       HEALTH PLAN        BK4464222     800     1,300     800     2,000    56,200    55,700   19,467   116,800

100065934   021061671   KANSAS SURGERY & RECOVERY MWF             WICHITA       KS   67226         HOSPITAL         BK4469854     600     1,600     700      900      1,900      800     1,083     6,500

100051486   008073973   KAISER FNDN HOS PHAR 21A /G               VALLEJO       CA   94589       HEALTH PLAN        BK4473005    1,500    2,200    1,400     800      1,400     3,000    1,717    10,300

100056008   038065615   KAISER PERM-AURORA CTRPNT.                AURORA        CO   80012       HEALTH PLAN        BK4491495   29,700   18,600    1,100   22,800     2,000     9,600   13,967    83,800

100064791   049041319   KAYWES, INC            APSC              WEST UNITY     OH   43570       INDEPENDENT        BK4571089    2,500    3,300    4,300    3,400     2,100     3,100    3,117    18,700

100051453   008073114   KAISER PERM PHAR 322 /S                SAN FRANCISCO    CA   94118       HEALTH PLAN        BK4809868                                        33,700    22,200   27,950    55,900

100051412   008072827   KAISER PERM PHAR 635 /A                   SAN JOSE      CA   95119       HEALTH PLAN        BK4822032                                        11,000     8,000    9,500    19,000

100051716   008074955   KFHP 116-754 I.P. /Q                      FREMONT       CA   94538       HEALTH PLAN        BK4835976     800      700      800      400      1,300     1,900     983      5,900

100055162   012035568   KAISER REFILL PHCY 985                    DOWNEY        CA   90242       HEALTH PLAN        BK4844658     200      500      300       -                           250      1,000

100055270   032056333   KAISER AUTOMATED REFILL CTR              PORTLAND       OR   97230       HEALTH PLAN        BK4860955   83,800   65,000   65,700   60,100     1,200    19,000   49,133   294,800

100056595   026044156   KAISER HILO PHCY                            HILO        HI   96720       HEALTH PLAN        BK4911461   12,800   10,400    9,400    4,700    12,300     7,600    9,533    57,200

100064985   008042846   KAISER PERM PHAR 801 /G                  OAKHURST       CA   93644       HEALTH PLAN        BK4936184                                        14,500    14,400   14,450    28,900

100053371   024036459   KAISER PERMANENTE PHCY #254              LANCASTER      CA   93534       HEALTH PLAN        BK5027087    1,300    1,900    1,300    1,700   116,400   118,800   40,233   241,400

100051420   008072942   KAISER PERM PHAR 671 /K                  VACAVILLE      CA   95688       HEALTH PLAN        BK5104081     100                                 7,000     8,400    5,167    15,500

100055525   032056663   KAISER SALMON CREEK                      VANCOUVER      WA   98686       HEALTH PLAN        BK5121568    3,600    4,200             3,800     5,200     4,300    4,220    21,100

100059966   023018044   KENNEDY HEALTH SVCES-Z(GNP)CPA           JERSEY CITY    NJ   07306       INDEPENDENT        BK5185598     200      200      300      100       200                200      1,000

100061834   023012815   KESSLER INST REHAB N (SELECT)          SADDLE BROOK     NJ   07663         HOSPITAL         BK5188049     100      200               200       250       240      198       990

100055218   041008847   KAISER MARLOW HEIGHTS          B04        SUITLAND      MD   20746       HEALTH PLAN        BK5203601    4,500    4,000    5,000    2,700     4,000     3,800    4,000    24,000

100055219   041008961   KAISER PRINCE GEORGE PHY B04            HYATTSVILLE     MD   20782       HEALTH PLAN        BK5203613    1,500    2,200    3,400    2,500     3,100     1,600    2,383    14,300

100051571   008072553   KFHP 125-766 CONS.PRESCE PHY/C           LIVERMORE      CA   94551       HEALTH PLAN        BK5210834   10,400   12,400   11,700    8,200      200               8,580    42,900

100073255   021101915   SENIOR CARE PHARMACY                      WICHITA       KS   67209     LONG TERM CARE       BK5279232                                         3,600      200     1,900     3,800

100051568   008072512   KAISER PERM PHAR 442 /A                 SANTA CLARA     CA   95051       HEALTH PLAN        BK5295755    1,600     500      500      400     47,200    35,300   14,250    85,500
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100055161   012035535   KAISER PERM #513 PHCY              MORENO VALLEY      CA   92553   HEALTH PLAN   BK5321954                                          10,600    10,800   10,700    21,400

100056440   038065763   KAISER PERM-SKYLINE                    DENVER         CO   80205   HEALTH PLAN   BK5328340    19,400   27,600    1,600     500       2,200    17,200   11,417    68,500

100106375   055040584   WALGREENS OF NC #16154                 AYDEN          NC   28513   WALGREENS     BK5358545     4,700    3,500    4,000    4,000      4,600     4,000    4,133    24,800

100106387   055040832   WALGREENS OF NC #16166               RICHLANDS        NC   28574   WALGREENS     BK5369194     3,200    5,600    3,600    6,200      5,500     2,900    4,500    27,000

100106325   055039719   WALGREENS OF NC #16169             SCOTLAND NECK      NC   27874   WALGREENS     BK5369245     3,500    3,000    2,500    4,600      4,500     2,500    3,433    20,600

100106331   055039776   WALGREENS OF NC #16175                WINDSOR         NC   27983   WALGREENS     BK5369295     6,400    5,900    7,300    6,800      6,900     4,800    6,350    38,100

100105585   044220525   KROGER PHCY L-900 340B DIP         RUSSELL SPRINGS    KY   42642    HOSPITAL     BK5370654                                 100                           100       100

100053698   024036806   KAISER PERM O-P #559 2ND FLR        BALDWIN PARK      CA   91706   HEALTH PLAN   BK5476406                                          13,400    11,600   12,500    25,000

100051701   008074344   KAISER PERM PHAR 626 /F             SACRAMENTO        CA   95815   HEALTH PLAN   BK5613333     1,700    1,800    1,300     600     140,000   135,900   46,883   281,300

100054010   012034439   KAISER PERM #240                      EL CAJON        CA   92021   HEALTH PLAN   BK5627053              2,300                       73,300    73,600   49,733   149,200

100051462   008073338   KAISER PERM PHAR 401 /C               FAIRFIELD       CA   94533   HEALTH PLAN   BK5636672     7,300    6,900    6,400    4,500     71,400    86,900   30,567   183,400

100055160   012035527   KAISER PERM #390 PHCY                ALISO VIEJO      CA   92656   HEALTH PLAN   BK5651509                                          25,500    22,300   23,900    47,800

100056598   026044404   KAISER KIHEI PHCY                       KIHEI         HI   96753   HEALTH PLAN   BK5663023     7,200    5,400    7,300    9,000      5,900     4,200    6,500    39,000

100054758   012042283   KAISER PERM #514                      WILDOMAR        CA   92595   HEALTH PLAN   BK5696604      200                                 92,600    85,400   59,400   178,200

100054334   012035139   KAISER PERM #371 PHCY                   BREA          CA   92821   HEALTH PLAN   BK5734416                                          60,200    47,400   53,800   107,600

100067803   049178335   KNIGHT DRUGS - MCNICHOLS               DETROIT        MI   48212   INDEPENDENT   BK5808879      300      200      300      (200)                         150       600

100051418   008072918   KAISER PERM PHAR 637C /A              SAN JOSE        CA   95119   HEALTH PLAN   BK5821889                                          15,000    13,800   14,400    28,800

100051421   008072967   KAISER PERM PHAR 491 /C               MANTECA         CA   95337   HEALTH PLAN   BK5821891     3,000    1,800    1,500    2,700    110,300   124,200   40,583   243,500

100051429   008077693   KAISER FNDN HOS PHAR 59A /H           ROSEVILLE       CA   95661   HEALTH PLAN   BK5868130     2,000    3,000    2,600    5,500      2,300     1,100    2,750    16,500

100063248   046055749   KINDRED HOSP BAY AREA ST.PETER    SAINT PETERSBURG    FL   33705    HOSPITAL     BK5869512      300      500      200      300        500       500      383      2,300

100054657   012095422   KAISER PERM #157 PHCY                VICTORVILLE      CA   92392   HEALTH PLAN   BK5878725      100      100                       199,100   162,000   90,325   361,300

100054652   012094847   KAISER PERM #216 PHCY                 SAN DIEGO       CA   92154   HEALTH PLAN   BK5910977      200      600       -                99,200    85,300   37,060   185,300

100054661   012095802   KAISER PERM #179 PHCY             RANCHO CUCAMONGA    CA   91730   HEALTH PLAN   BK5967825               100                        71,700    82,700   51,500   154,500

100106332   055039784   WALGREENS OF NC #16176                SNOW HILL       NC   28580   WALGREENS     BK5990949     3,100    3,200    3,700    3,700      4,000     3,200    3,483    20,900

100056009   038065623   KAISER PERM-BASELINE                  BOULDER         CO   80303   HEALTH PLAN   BK5991206    14,500   10,900     600      400       1,000     6,000    5,567    33,400

100052423   024098814   KAISER I-P BALDWIN PARK #551        BALDWIN PARK      CA   91706   HEALTH PLAN   BK6001503     1,000    3,000    1,000    4,000                         2,250     9,000

100052424   024098897   KAISER PERM #333                     CULVER CITY      CA   90230   HEALTH PLAN   BK6001642                                          13,800    15,200   14,500    29,000

100050234   003013524   FCIA SIEMPREABIERTA KGH GNP           HATO REY        PR   00918   INDEPENDENT   BK6027076      300               600      200                           367      1,100

100054716   012099747   KAISER #515 MOB 4TH FLR               RIVERSIDE       CA   92505   HEALTH PLAN   BK6058348                                          23,500    30,600   27,050    54,100

100062085   046057786   KINDRED HOSPITAL NORTH FLORIDA    GREEN COVE SPRING   FL   32043    HOSPITAL     BK6102040      400      800      700      600        900       100      583      3,500

100105782   010236265   HEALTHSPAN INTEGRD CARE-CL SEV    CLEVELAND HEIGHTS   OH   44118   HEALTH PLAN   BK6113055     5,900    5,100    5,200    4,600     10,000     5,000    5,967    35,800

100105794   010236380   HEALTHSPAN INTEGRD CARE-CLEVE     CLEVELAND HEIGHTS   OH   44118   HEALTH PLAN   BK6113055                                            240        -       120       240

100053967   041009571   KAISER SEVERNA PARK         B05       PASADENA        MD   21122   HEALTH PLAN   BK6133641     3,200    2,000    2,700    2,300      2,500     1,900    2,433    14,600

100051410   008072793   KAISER PERM PHAR 553        /P        ANTIOCH         CA   94509   HEALTH PLAN   BK6164545                        100      200      20,500    17,000    9,450    37,800

100056510   038066639   KAISER PERM-AUTO REFILL CTR.           AURORA         CO   80011   HEALTH PLAN   BK6170548   121,100   97,500   25,700   69,600                5,900   63,960   319,800

100052896   018082214   KELL WEST HOSPITAL                  WICHITA FALLS     TX   76310    HOSPITAL     BK6180133     1,700     800     3,100     600        400       800     1,233     7,400

100053693   024036640   KAISER PERMANENTE PHARMACY 428       SIMI VALLEY      CA   93063   HEALTH PLAN   BK6207826                                          32,100    44,800   38,450    76,900

100059449   041057174   KAISER BURKE          D25              BURKE          VA   22015   HEALTH PLAN   BK6218754     2,500    2,000    6,500    1,300      4,400     4,500    3,533    21,200

100052421   024098624   KAISER PERMANENTE PHARMACY 606       BAKERSFIELD      CA   93311   HEALTH PLAN   BK6260119               200               100      51,000    50,000   25,325   101,300

100089435   018236497   KINSEY'S PHARMACY                      TYLER          TX   75703   INDEPENDENT   BK6418087    11,800   11,500   11,400   11,200      6,200    11,030   10,522    63,130

100051460   008073312   KAISER PERM PHARM 451 /B              CAMPBELL        CA   95008   HEALTH PLAN   BK6527521     2,500     600      800      400       9,600    22,800    6,117    36,700

100051556   008072223   KAISER PERM PHAR 396 /M              SAN RAFAEL       CA   94901   HEALTH PLAN   BK6527533      800     1,800     600     1,200     20,300    31,300    9,333    56,000

100051559   008072264   KAISER PERM PHAR 331 /K             SAN FRANCISCO     CA   94115   HEALTH PLAN   BK6557598     1,600     200     1,400     300     107,700    92,700   33,983   203,900

100051472   008073635   KAISER PERM PHAR 336 /M             SAN FRANCISCO     CA   94115   HEALTH PLAN   BK6558160                                           4,600     1,200    2,900     5,800
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100054714   012099564   KAISER PERM #391 PHCY            SAN JUAN CAPISTRANO   CA   92675     HEALTH PLAN       BK6595245                                         18,000     24,000   21,000    42,000

100053205   012051599   KAISER PERM #385                     YORBA LINDA       CA   92887     HEALTH PLAN       BK6664494                                         39,900     35,200   37,550    75,100

100065724   049070771   KNIGHT DRUGS- GRAND BLANC INC       GRAND BLANC        MI   48439     INDEPENDENT       BK6704135   29,200    29,400   26,700   24,500    24,800     28,000   27,100   162,600

100054156   012091587   KAISER PERM PHCY 220                 SAN MARCOS        CA   92078     HEALTH PLAN       BK6767365               100      200      100     79,400     72,000   30,360   151,800

100051454   008073148   KAISER PERM PHAR 311 /S            SAN FRANCISCO       CA   94115     HEALTH PLAN       BK6768569                                         14,800     16,800   15,800    31,600

100053856   024083550   KRAMERS PHARMACY                    AGOURA HILLS       CA   91301     INDEPENDENT       BK6783294    6,000     9,200    9,400   19,000     2,400      6,800    8,800    52,800

100070471   037143321   WATSON'S CITY DRUG        CPA       RAYMONDVILLE       TX   78580     INDEPENDENT       BK6826715   31,800    22,100   18,300   24,500    22,100     12,600   21,900   131,400

100055115   032061523   KAISER PHCY TUALATIN                  TUALATIN         OR   97062     HEALTH PLAN       BK6950352    3,200     3,000    3,300    3,800     5,300      3,100    3,617    21,700

100074792   046127712   MEDICINE SHOPPE                       BRANDON          FL   33511     INDEPENDENT       BK6966177   (1,500)                                           2,500     500      1,000

100057888   056027581   KING OF PRUSSIA PHARMACY(Z)             PAOLI          PA   19301   LONG TERM CARE      BK7135975     600       400      100      200      1,000       200      417      2,500

100051440   008080135   KAISER PERM PHAR 132 /K              UNION CITY        CA   94587     HEALTH PLAN       BK7175929    2,000     2,500             1,800    79,500     82,800   33,720   168,600

100052552   010053942   KRATZERS PHARMACY         APSC       WILMINGTON        OH   45177     INDEPENDENT       BK7176123   18,000     2,400   30,700   14,900     5,900      2,200   12,350    74,100

100087527   049185595   *KD PHARMACY INC                      DETROIT          MI   48207     INDEPENDENT       BK7270224    1,000                                                     1,000     1,000

100068836   010176149   KNIGHTSBRIDGE SURGERY CENTER         COLUMBUS          OH   43214       HOSPITAL        BK7373917     300       100               200                           200       600

100066355   049045534   KNIGHT DRUGS-CHESANING               CHESANING         MI   48616     INDEPENDENT       BK7380570    7,100     6,100    7,100    5,500     4,000       100     4,983    29,900

100051481   008073833   KAISER PERM PHAR 515 /A             WALNUT CREEK       CA   94596     HEALTH PLAN       BK7387904                                          3,000     21,200   12,100    24,200

100068919   021146126   KRHC FAMILY PHARMACY                   ALGONA          IA   50511     INDEPENDENT       BK7396509    7,500     8,500    8,500   10,500     8,500     10,100    8,933    53,600

100104094   021172254   KRHC FAMILY PHARMACY 340B              ALGONA          IA   50511   PHS 340B HOSPITAL   BK7396509    2,000     2,500    1,000    1,000                         1,625     6,500

100053277   020060996   KINDRED HOSPITAL ALBUQUERQUE        ALBUQUERQUE        NM   87102       HOSPITAL        BK7444881     100       100      100      100                  300      140       700

100066811   046076406   KABS PHARMACY                          TAMPA           FL   33613     INDEPENDENT       BK7456052    3,200     4,600    4,200    4,800     6,000      4,000    4,467    26,800

100053241   012098772   KAISER PERM #394 1ST FLOOR           SANTA ANA         CA   92704     HEALTH PLAN       BK7459541               100      100              48,000     56,500   26,175   104,700

100054946   012042341   KAISER PERM #516                      CORONA           CA   92879     HEALTH PLAN       BK7528144                                         70,600     76,300   73,450   146,900

100055277   032056515   KAISER MT TALBERT MAIN +             CLACKAMAS         OR   97015     HEALTH PLAN       BK7541798                                 800       500       1,600     967      2,900

100055527   032056721   KAISER PERM SKYLINE                    SALEM           OR   97306     HEALTH PLAN       BK7541801    2,400     1,200    3,700    1,200     3,600      9,700    3,633    21,800

100091949   032145896   KAISER PERM SKYLINE ONCOLOGY           SALEM           OR   97306     HEALTH PLAN       BK7541801               100                                             100       100

100053281   020061655   KINDRED HOSP, LV-FLAMINGO            LAS VEGAS         NV   89119       HOSPITAL        BK7542586     200       200      400      100       160        940      333      2,000

100051469   008073528   KAISER PERM PHAR 613 /F             SACRAMENTO         CA   95825     HEALTH PLAN       BK7569568     500      1,500     500      500     85,900    145,500   39,067   234,400

100051555   008072108   KAISER PER PHAR 101 /H                ALAMEDA          CA   94501     HEALTH PLAN       BK7574343     400       600      100      100     26,700     31,200    9,850    59,100

100055508   041000968   KAISER COLUMBIA GATEWAY-PHCY          COLUMBIA         MD   21046     HEALTH PLAN       BK7584990    2,700     1,400    2,500    1,200     2,800      3,100    2,283    13,700

100085818   021158881   KRIEN PHARMACY INC       CPA         ST FRANCIS        KS   67756     INDEPENDENT       BK7637664    7,700     7,400   13,700    5,500     5,000     10,500    8,300    49,800

100051702   008074427   KAISER PERM PHAR 357 /B              SAN BRUNO         CA   94066     HEALTH PLAN       BK7690743               200      200      300     23,200     21,600    9,100    45,500

100052692   024036996   KAISER PERMANENTE PHARMACY 439       NORTHRIDGE        CA   91326     HEALTH PLAN       BK7704504    1,200               300      500      6,400      7,900    3,260    16,300

100054883   040050823   KAISER REFILL CENTER                  ATLANTA          GA   30340     HEALTH PLAN       BK7832911   41,800    58,200   61,800   55,400    (3,200)             42,800   214,000

100051584   008077602   KINDRED HOSPITAL SAN FRANCISCO      SAN LEANDRO        CA   94577       HOSPITAL        BK7864134     800       900     1,400     900       600       1,100     950      5,700

100053345   024049247   KAISER PERMANENTE PHARMACY 019      LOS ANGELES        CA   90027     HEALTH PLAN       BK7881914     200                600      200      6,100      7,200    2,860    14,300

100055075   012031641   KAISER PERM PHCY #195                  CHINO           CA   91710     HEALTH PLAN       BK7911503                                         18,100     17,600   17,850    35,700

100053892   012091314   KAISER PERM PHCY #865               PALM SPRINGS       CA   92262     HEALTH PLAN       BK7911527               100      100              15,600     22,600    9,600    38,400

100058351   041041780   KAISER SHADY GROVE                   ROCKVILLE         MD   20850     HEALTH PLAN       BK7930642    1,600     2,700    1,600    2,000     4,000      2,000    2,317    13,900

100051510   008074237   KAISER PERM PHAR 281 /Q                FOLSOM          CA   95630     HEALTH PLAN       BK7963211    1,900     5,600    1,900    3,500    95,800    122,500   38,533   231,200

100053622   024036491   KAISER PERM #006                  EAST LOS ANGELES     CA   90022     HEALTH PLAN       BK7963273                                          4,000     12,000    8,000    16,000

100054952   040050989   KAISER HENRY                        MC DONOUGH         GA   30253     HEALTH PLAN       BK8013651    8,900     8,900    7,200    8,600    11,800      9,200    9,100    54,600

100051566   008072462   KAISER PERM PHAR 851 /B               MODESTO          CA   95356     HEALTH PLAN       BK8062197    3,900     3,100    4,400    3,000   195,600    146,800   59,467   356,800

100053477   010052084   KINDRED HOSP @ HERITAGE VALLEY         BEAVER          PA   15009       HOSPITAL        BK8086161               300      300                240         20      215       860

100105787   010236315   HEALTHSPAN INTEGRTD CARE-TWIN        TWINSBURG         OH   44087     HEALTH PLAN       BK8109375    1,600     1,500    2,300    1,800     1,900      1,800    1,817    10,900
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100060299   041034124   KAISER ANNAPOLIS        B05         ANNAPOLIS       MD   21401    HEALTH PLAN     BK8112625    3,200    2,700    3,500     3,600      4,400     3,500    3,483    20,900

100054831   012072058   KAISER PERM #217 PHCY               SAN DIEGO       CA   92120    HEALTH PLAN     BK8114578              500                100     108,000    86,730   48,833   195,330

100054825   012071795   KAISER PERM #230 PHCY                LA MESA        CA   91942    HEALTH PLAN     BK8114580                       100                76,600    90,600   55,767   167,300

100085135   019140772   PRINCETON PHARMACY SF               PRINCETON       IL   61356    INDEPENDENT     BK8140268    5,700    7,100    6,200     8,100      9,500     6,100    7,117    42,700

100051471   008073593   KAISER PERM PHAR 521 /B           ROHNERT PARK      CA   94928    HEALTH PLAN     BK8143997     300               200       200      39,400    32,400   14,500    72,500

100055123   040051235   KAISER BROOKWOOD                     ATLANTA        GA   30309    HEALTH PLAN     BK8153354    1,500    1,600    1,500     1,500      1,500     1,200    1,467     8,800

100053353   024074849   KAISER PERM #288                    PALMDALE        CA   93552    HEALTH PLAN     BK8175386     300     1,000    1,000     1,300     12,000    38,400    9,000    54,000

100062493   010017764   MCFADDEN PHARMACY         APSC      BAINBRIDGE      OH   45612    INDEPENDENT     BK8183028    8,700    8,000    9,400     7,000      9,500     6,500    8,183    49,100

100073618   012175273   KINDRED HOSPITAL - SANTA ANA        SANTA ANA       CA   92706      HOSPITAL      BK8213720     400      200      800       500        580       400      480      2,880

100053215   012052795   KINDRED HOSP-LA MIRADA              LA MIRADA       CA   90638      HOSPITAL      BK8213732     300      700      600       500        620       720      573      3,440

100054091   012037994   KAISER PERM #245 PHCY                LA MESA        CA   91941    HEALTH PLAN     BK8218364              200      100       100      52,800    55,400   21,720   108,600

100073619   024175299   KINDRED HOSP - SAN GABRIEL VAL     WEST COVINA      CA   91791      HOSPITAL      BK8221498              200      200       400                  380      295      1,180

100064989   008057984   KAISER PERM PHAR 841 /B               SELMA         CA   93662    HEALTH PLAN     BK8252998                                          22,600    20,800   21,700    43,400

100051721   008075358   KAISER PERM PHAR 833 /M              MODESTO        CA   95356    HEALTH PLAN     BK8253003    1,100     300     1,200               86,200    58,500   29,460   147,300

100051730   008075929   KAISER PERM PHAR 222 /M                NAPA         CA   94558    HEALTH PLAN     BK8257671              300      200                 6,000     8,600    3,775    15,100

100074088   008011114   KELSEYVILLE PHARMACY CPA           KELSEYVILLE      CA   95451    INDEPENDENT     BK8349335   16,000     100    13,000    18,000      9,000     6,100   10,367    62,200

100064984   008084467   KAISER PERM PHAR 291 /G               CLOVIS        CA   93611    HEALTH PLAN     BK8352015     100      500      400       400      51,100    86,800   23,217   139,300

100053175   024073536   KAISER PERM #607                   BAKERSFIELD      CA   93309    HEALTH PLAN     BK8352027                                          56,900    54,600   55,750   111,500

100051728   008075853   KAISER PERM PHAR 571      /C         ANTIOCH        CA   94531    HEALTH PLAN     BK8370075     500                                  52,900    49,600   34,333   103,000

100051722   008075390   KAISER PERM PHAR 587 /H            SANTA ROSA       CA   95403    HEALTH PLAN     BK8410754     200      100                         24,600    40,200   16,275    65,100

100051726   008075820   KAISER PERM PHAR 301 /M             ELK GROVE       CA   95758    HEALTH PLAN     BK8445288     300      700      500      2,200     32,400     2,400    6,417    38,500

100051727   008075838   KAISER PERM PHAR 241 /H             LIVERMORE       CA   94551    HEALTH PLAN     BK8445290    1,100     700      600       600      59,500    48,200   18,450   110,700

100105791   010236356   HEALTHSPAN INTEGRTD CARE-REFIL   BROOKLYN HEIGHTS   OH   44131    HEALTH PLAN     BK8461876   26,000   19,300   23,400    14,100     (1,000)            16,360    81,800

100051724   008075739   KAISER PERM PHAR 341 /C             DALY CITY       CA   94015    HEALTH PLAN     BK8533754     900     1,400     400      3,200     21,600    38,000   10,917    65,500

100071503   056143081   KAPLER'S PHARMACY(X)      CPA      BEACH HAVEN      NJ   08008    INDEPENDENT     BK8537079     520      800     2,900      (400)      700       200      787      4,720

100055528   032056762   KAISER LONG TERM CARE               PORTLAND        OR   97230    HEALTH PLAN     BK8599106    1,200    1,200    2,400     1,200      2,200     1,200    1,567     9,400

100057354   056007955   *KLEINS PHCY CARDIFF INC(X)555       CARDIFF        MD   21160       CHAIN        BK8641133     300      400      100       200                           250      1,000

100061189   044074377   KINDRED HOSPITAL                    LOUISVILLE      KY   40202      HOSPITAL      BK8680856     100      600      400      1,000       240      1,120     577      3,460

100059984   023061754   KINDRED HOSPITAL - MORRIS CO          DOVER         NJ   07801      HOSPITAL      BK8770263                                             80                 80        80

100052211   008083089   KAISER PERM PHAR 685 /H             STOCKTON        CA   95210    HEALTH PLAN     BK8802680     200                         100      24,700    27,200   13,050    52,200

100054665   012095968   KAISER PERM #171 O.P. AMB SURG       ONTARIO        CA   91761    HEALTH PLAN     BK8814825                                           3,500     1,200    2,350     4,700

100052636   010054239   KINDRED HOSPITAL DAYTON              DAYTON         OH   45417      HOSPITAL      BK8820599    1,000     800      600       800       1,100               860      4,300

100050514   004046326   PHARMERICA (CONCORD)                CONCORD         NH   03301   LONG TERM CARE   BK8823595    5,200    5,100    7,100     4,700      1,800     1,800    4,283    25,700

100065360   024106476   KANAN PHARMACY & MEDICAL           AGOURA HILLS     CA   91301    INDEPENDENT     BK8849715    5,500    9,200    6,200     7,000     10,500      500     6,483    38,900

100051580   008077073   KAISER PERM PHAR 608 /G            SACRAMENTO       CA   95823    HEALTH PLAN     BK8856708    1,600    1,300    1,600     4,100               34,900    8,700    43,500

100071949   008140004   KENTFIELD REHABILITATION HOSP       KENTFIELD       CA   94904      HOSPITAL      BK8916085     400     1,000     400                  700       400      580      2,900

100106768   037134460   KENNER DISCOUNT PHARMACY SF          KENNER         LA   70064    INDEPENDENT     BK8930770    6,500    5,200    5,400     4,800                         5,475    21,900

100053257   056009043   *KLEINS PHCY JACKSONVIL(X)#563       PHOENIX        MD   21131       CHAIN        BK8946975     100      200      200                                     167       500

100076942   044088674   KINDRED HOSPITAL ST LOUIS ST A      SAINT LOUIS     MO   63128      HOSPITAL      BK8977362     500      300      300       300        500       360      377      2,260

100105774   010236232   HEALTHSPAN INTEGRTD CARE -AVON        AVON          OH   44011    HEALTH PLAN     BK8980232    1,200    1,900    1,700     1,500      6,100     2,000    2,400    14,400

100051874   008043745   KAISER FNDN HOS PHAR 49A /C          MANTECA        CA   95337    HEALTH PLAN     BK9004590     600      400      600       300        520       200      437      2,620

100053000   008003582   KAISER PERM PHAR 431 /C               TRACY         CA   95377    HEALTH PLAN     BK9015846    1,200     600      100       600      64,500    76,000   23,833   143,000

100055290   010076505   PHARMERICA (WORTHINGTON)           WORTHINGTON      OH   43085   LONG TERM CARE   BK9018359   51,300   63,400   59,000   188,100                 980    72,556   362,780

100060881   052025809   PHARMERICA (KNOXVILLE)              KNOXVILLE       TN   37921   LONG TERM CARE   BK9019717   45,500   43,000   73,000    43,500                        51,250   205,000
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100056165   044072603   PHARMERICA (MEMPHIS)                   MEMPHIS      TN   38134   LONG TERM CARE      BK9019781   24,800   30,250   26,200   29,300    6,000     200    19,458   116,750

100053095   020096156   KINDRED HOSP LV AT DESERT SPG        HENDERSON      NV   89015       HOSPITAL        BK9038806     200      100      400      200      660               312      1,560

100054216   038047555   KAISER PERM-KEN CARYL PHARMACY        LITTLETON     CO   80127     HEALTH PLAN       BK9051931   14,400   14,400     300      200      400     5,800    5,917    35,500

100056600   026041558   KAISER WAIPIO PHARMACY                 WAIPAHU      HI   96797     HEALTH PLAN       BK9078456   18,100   21,600   17,500   19,600   15,300    8,000   16,683   100,100

100055952   026044867   KAISER MAUI LANI PHARMACY              WAILUKU      HI   96793     HEALTH PLAN       BK9078468   29,300   32,700   32,600   20,300   33,900   31,300   30,017   180,100

100052512   020038919   PHARMERICA (TUCSON)                    TUCSON       AZ   85714   LONG TERM CARE      BK9084372    3,700    4,000    3,900    7,700     200              3,900    19,500

100090613   023136085   WEST SHORE SURGERY CENTER           MECHANICSBURG   PA   17050       HOSPITAL        BK9086908              100      100                        160      120       360

100106465   055040949   OLD VINEYARD BEHAVIORAL HEALTH      WINSTON SALEM   NC   27104       HOSPITAL        BK9098460     100      100      500      400                        275      1,100

100064890   008104372   KAWEAH DELTA EMPLOYEE PHARMACY         VISALIA      CA   93291       HOSPITAL        BK9099739   11,000   13,400   14,700   12,500   11,300    7,700   11,767    70,600

100060568   018064287   KINDRED HOSPITAL EAST, LLC          OKLAHOMA CITY   OK   73119       HOSPITAL        BK9114175    1,200     400      500     3,000                      1,275     5,100

100061254   008042911   KAWEAH DELTA HOME INFUSION340B         VISALIA      CA   93291   PHS 340B HOSPITAL   BK9120902     100               100      100      200      200      140       700

100053797   017086785   PHARMERICA (MERIDIAN)                 MERIDIAN      ID   83642   LONG TERM CARE      BK9135220    8,000    8,000    8,000   20,000                     11,000    44,000

100050695   004066506   PHARMERICA (PORTLAND)                 PORTLAND      ME   04103   LONG TERM CARE      BK9137729    8,500    8,600    9,300   25,200                     12,900    51,600

100054181   008007682   KAISER PERM PHAR 215 /Q                VALLEJO      CA   94589     HEALTH PLAN       BK9142213    1,300     600      700      100    71,800   86,800   26,883   161,300

100072363   055079475   PHARMERICA (CHARLOTTE)                CHARLOTTE     NC   28227   LONG TERM CARE      BK9156301   13,100   12,100   13,000   21,300              100    11,920    59,600

100056389   012166991   KAISER PERM PHCY #167                  ONTARIO      CA   91761     HEALTH PLAN       BK9170161     100      100      200      200    37,900   42,300   13,467    80,800

100055468   037080887   KATY MEDICAL COMPLEX PHARMACY           KATY        TX   77450     INDEPENDENT       BK9186784    6,600    6,300    5,100    4,600    4,800    4,000    5,233    31,400

100055945   008008441   KAISER PERM PHAR 443 /A              SANTA CLARA    CA   95051     HEALTH PLAN       BK9203403     200      300      400      200     9,400    4,800    2,550    15,300

100056025   008011015   KAISER PERM PHAR 444 /A              SANTA CLARA    CA   95051     HEALTH PLAN       BK9203415     200      200      200     1,200   10,800             2,520    12,600

100061527   044094342   KINDRED HOSPITAL NASHVILLE            NASHVILLE     TN   37218       HOSPITAL        BK9232884     200      300      600      400     1,220     380      517      3,100

100058461   046022541   KARE PHARMACY INC                   CORAL SPRINGS   FL   33065     INDEPENDENT       BK9260679    1,000     500     1,000     500     1,000    1,000     833      5,000

100064634   052093732   KILGORE EXPRESS PHCY #2      SF      FORT PAYNE     AL   35967     INDEPENDENT       BK9378440   23,500   22,000   25,000   24,200   22,240   23,900   23,473   140,840

100066457   046084590   KINDRED HOSPITALS EAST,                 OCALA       FL   34471       HOSPITAL        BK9404360              100      300      400               160      240       960

100072285   049120758   KNIGHT DRUGS LANSING INC               LANSING      MI   48912     INDEPENDENT       BK9546118   23,100   11,500   22,700   22,700   14,600   16,600   18,533   111,200

100065941   012188433   KAISER PERM PHCY # 060                 DOWNEY       CA   90242     HEALTH PLAN       BK9547475     100      200                      42,400   55,200   24,475    97,900

100063060   008044412   KAISER FNDN HOS PHAR 44B /G          SANTA CLARA    CA   95051     HEALTH PLAN       BK9566564    2,900    2,300    2,300    6,300    2,200    1,700    2,950    17,700

100107457   018404335   KING'S PHARMACY-MID COUNTY           PORT ARTHUR    TX   77642     INDEPENDENT       BK9599486     300      600      400     3,600    1,000             1,180     5,900

100094307   010228015   KIMPER PHARMACY                        KIMPER       KY   41539     INDEPENDENT       BK9616787   18,200   22,000   21,700   17,600   16,400   12,500   18,067   108,400

100062598   004065961   KINDRED BRAINTREE HOSPITAL LLC         NATICK       MA   01760       HOSPITAL        BK9649154                       100      200      300               200       600

100062597   004065953   KINDRED BRAINTREE HSPTAL LLC         STOUGHTON      MA   02072       HOSPITAL        BK9649166              300      100                                 200       400

100059855   049112268   KARMANOS CANCER CENTER                 DETROIT      MI   48201       HOSPITAL        BK9698373     800     1,000    1,300    1,300    2,200    2,800    1,567     9,400

100059856   049112276   KARMANOS CANCER CENTER 340B            DETROIT      MI   48201   PHS 340B HOSPITAL   BK9698373     300               900                        800      667      2,000

100061592   008083006   KAISER FNDN HOS PHAR 47B       /G    PLEASANTON     CA   94588     HEALTH PLAN       BK9721069     200      200      200                        300      225       900

100056712   008027672   KAISER PERM PHAR 261 /C                LINCOLN      CA   95648     HEALTH PLAN       BK9742962    2,000    2,300    1,000    1,300   55,400   73,800   22,633   135,800

100064128   026044842   KAISER MAPUNAPUNA                     HONOLULU      HI   96819     HEALTH PLAN       BK9746960    8,900    4,600    9,200    9,700   14,800    4,200    8,567    51,400

100059773   012123448   KAISER PERM #868                     PALM DESERT    CA   92211     HEALTH PLAN       BK9757812                                       26,800   27,600   27,200    54,400

100060908   024130401   KAISER PERMANENTE PHRMCY #608        BAKERSFIELD    CA   93308     HEALTH PLAN       BK9854818                                       19,500   19,500   19,500    39,000

100085208   019140913   *KEWANEE HOSPITAL 340B                KEWANEE       IL   61443   PHS 340B HOSPITAL   BK9884835     300      300      200      700                        375      1,500

100069978   019102129   *KEWANEE HOSPITAL                     KEWANEE       IL   61443       HOSPITAL        BK9884835     200      100      100      700                        275      1,100

100058477   008033548   KML PHARMACY INC                      CUPERTINO     CA   95014     INDEPENDENT       BK9961663     500     1,800    1,200    1,600     100     1,100    1,050     6,300

100060313   021029736   KUBAT PHCY (N STREET)     SF           OMAHA        NE   68107     INDEPENDENT       BK9972399    3,200    3,200    2,700    5,100    4,800     800     3,300    19,800

100057310   008032615   KAISER FNDN HOS PHAR 85A /F           MODESTO       CA   95356     HEALTH PLAN       BK9976121    1,500    1,700    1,400    4,000    3,900             2,500    12,500

100062896   008031922   KAISER PERM PHAR 634 /A               SAN JOSE      CA   95119     HEALTH PLAN       BK9980651    1,000    1,000    1,000    2,700   50,400   48,000   17,350   104,100

100071581   046141192   LAWNWOOD PAVILION        #712        FORT PIERCE    FL   34950       HOSPITAL        BL0109733     300      100      400      250      410      260      287      1,720
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100058797   041022509   FITZGERALD LAFAYETTE (X)RAK DS         RICHMOND       VA   23221     INDEPENDENT       BL0272005    1,200    2,700    2,200    2,100    2,100    1,500    1,967    11,800

100056460   046010017   TURNER BROTHERS INC                   CELEBRATION     FL   34747     INDEPENDENT       BL0384088     100      900      200      800               200      440      2,200

100061753   023013003   LIEB PHARMACY INC(X)(B)                BROOKLYN       NY   11204     INDEPENDENT       BL0384569     400      200      600               400      400      400      2,000

100061720   023000778   LEO HOPP PHARMACY (ARX)                 NEWARK        NJ   07107     INDEPENDENT       BL0787450     100      400      100      100      200               180       900

100071506   023143396   LIBERTY DRUG & SURGICAL(X) CPA          CHATHAM       NJ   07928     INDEPENDENT       BL0822975              500      700      200      300      900      520      2,600

100071013   023175976   HEALTH CARE PHARMACY(X)        CPA     NEW YORK       NY   10035     INDEPENDENT       BL0878922     100                        100      200               133       400

100110008   023161240   HEALTH CARE PHARMACY GPO CPA           NEW YORK       NY   10035     INDEPENDENT       BL0878922                       200      100                        150       300

100059059   041054882   LYNCHBURG GEN HOSP                     LYNCHBURG      VA   24501       HOSPITAL        BL0935328    5,900    7,900    5,000    3,800    5,500   12,300    6,733    40,400

100087484   041141143   LYNCHBURG GENERAL HOSP 340B            LYNCHBURG      VA   24501   PHS 340B HOSPITAL   BL0935328    1,800     900     3,700    1,100                      1,875     7,500

100089028   012016303   LOMA LINDA PHARMACY, INC               LOMA LINDA     CA   92354     INDEPENDENT       BL1312999   12,200   13,800    9,600    9,800    6,000    5,000    9,400    56,400

100061755   023013177   LORDS VALLEY VILLAGE PHCY(GNP)          HAWLEY        PA   18428     INDEPENDENT       BL1416533    2,500    3,000    3,200   16,000    2,300    4,600    5,267    31,600

100058733   044042630   LETASSY HEALTH SERVICES        CPA    POPLAR BLUFF    MO   63901   LONG TERM CARE      BL1612820    3,000    2,000    2,000    4,000    4,500    6,000    3,583    21,500

100070320   046141143   LAKE CITY MEDICAL CENTER #712           LAKE CITY     FL   32055       HOSPITAL        BL1659765     500      600      650      650      500      560      577      3,460

100056560   038300145   LITTLETON ADVENTIST HOSPITAL           LITTLETON      CO   80122       HOSPITAL        BL1743738    2,200     700     1,000    2,250    1,200    1,640    1,498     8,990

100088997   021167098   BOND PHARMACY, INC CPA                 CALIFORNIA     MO   65018     INDEPENDENT       BL1744831     700     7,200    9,800    7,300   10,400    9,400    7,467    44,800

100106410   052223701   ALLIANCE HEALTH CENTER                  MERIDIAN      MS   39301       HOSPITAL        BL2040688     100      100      200      400               100      180       900

100076517   055069351   *LAURENS COUNTY MEMORIAL HOSP           CLINTON       SC   29325       HOSPITAL        BL2045424    1,500                                                 1,500     1,500

100071982   037143065   LINDBERG PHARMACY         CPA           MCALLEN       TX   78501     INDEPENDENT       BL2095253    2,500    1,100    2,300    1,600     500      600     1,433     8,600

100065077   019004044   LAKELAND PHARMACY SHOPPE              SAINT JOSEPH    MI   49085     INDEPENDENT       BL2334035    9,700   13,500   13,900   23,600    3,000    9,400   12,183    73,100

100084553   008098855   LODI MEMORIAL HOSP (WEST)                 LODI        CA   95241       HOSPITAL        BL2458431    7,200    8,400    8,200    7,300    6,700   11,500    8,217    49,300

100055564   018038166   LILLIAN M HUDSPETH MEM.HOSP.            SONORA        TX   76950       HOSPITAL        BL2678639      50                        200                        125       250

100111154   012001987   LLU BEHAVORIAL MED CTR                 REDLANDS       CA   92373       HOSPITAL        BL2752865                                                  200      200       200

100059174   049000901   ALLEGAN COMMUNITY PHCY                  ALLEGAN       MI   49010     INDEPENDENT       BL2881274   12,500    8,300   11,100   10,600   14,000    8,500   10,833    65,000

100065007   049066803   SAUGATUCK DRUG STORE                   SAUGATUCK      MI   49453     INDEPENDENT       BL2881325    9,600   10,500    6,800   12,000    8,000    6,000    8,817    52,900

100059173   049000802   ALEXANDER'S DRUG STORE                 FENNVILLE      MI   49408     INDEPENDENT       BL2881337   17,100   16,000   21,100   13,500   18,100   10,600   16,067    96,400

100067012   019143024   ALWOOD PHARMACY           CPA            ALPHA        IL   61413     INDEPENDENT       BL2966476    5,200    8,100    5,500    1,600    5,000    5,000    5,067    30,400

100089011   021167106   LAURIE HEALTHMART PHCY CPA               LAURIE       MO   65038     INDEPENDENT       BL2968660   30,200   22,300   23,300   12,300   28,600   27,700   24,067   144,400

100053740   026055608   MAUI CLINIC PHARMACY                    KAHULUI       HI   96732     INDEPENDENT       BL3161178                                        3,000   11,600    7,300    14,600

100106731   012007369   LINDA VISTA PHARMACY                  YORBA LINDA     CA   92886     INDEPENDENT       BL3280928   14,200   12,600   13,500   25,800    8,200   15,500   14,967    89,800

100055584   037086496   LOS FRESNOS PHCY          SF          LOS FRESNOS     TX   78566     INDEPENDENT       BL3383558    1,900    2,400    1,600    7,800                      3,425    13,700

100073038   008120410   ASPEN SURGERY CENTER                 WALNUT CREEK     CA   94598       HOSPITAL        BL3404984     100      100      100                        180      120       480

100071101   038140202   ROSE SURGICAL CENTER       #712         DENVER        CO   80220       HOSPITAL        BL3622431     100                                  80                90       180

100058989   049031401   LAYERER'S PHARMACY,INC         CPA      BAY CITY      MI   48708     INDEPENDENT       BL3813753   52,600   21,300   34,500   35,400   29,200   36,500   34,917   209,500

100059319   044085837   REEVES-SAIN EXTENDED CARE SF         MURFREESBORO     TN   37129   LONG TERM CARE      BL3878090   27,000   29,000   25,900   23,560   24,100   25,000   25,760   154,560

100055725   032021758   GHC PHARM LIDGERWOOD HC 52              SPOKANE       WA   99208     HEALTH PLAN       BL4054918   34,800   39,000   34,400   31,300   10,600            30,020   150,100

100072182   032116186   GHC PHARM LIDGERWOOD HC 52 2            SPOKANE       WA   99208     HEALTH PLAN       BL4054918                                       32,500   30,400   31,450    62,900

100065978   019003095   LA RABIDA CHILDREN'S HOSPITAL           CHICAGO       IL   60649       HOSPITAL        BL4109422                                                  300      300       300

100072497   056001602   LANCASTER GENERAL PHARMACY             LANCASTER      PA   17602       HOSPITAL        BL4159794    6,700    6,200    5,500    6,000    8,400    2,400    5,867    35,200

100076738   056061150   LANCASTER GENERAL PHCY(340B)           LANCASTER      PA   17602    PHS 340B CLINIC    BL4159794              100                                 100      100       200

100106871   023153452   LEXINGTON PHARMACY                   EAST BRUNSWICK   NJ   08816     INDEPENDENT       BL4208737    1,000     600     1,000     900     1,100    1,360     993      5,960

100070328   018140277   LAS COLINAS SURGERY CTR        HCA       IRVING       TX   75038       HOSPITAL        BL4300113                       100       -                          50       100

100090221   044193805   LOURDES HOME INFUSION RET               PADUCAH       KY   42003       HOSPITAL        BL4373483                                         200      700      450       900

100111153   012001986   LOMA LINDA UNIV COMM                   LOMA LINDA     CA   92350       HOSPITAL        BL4431209                                        2,000             2,000     2,000

100111282   012002123   LOMA LINDA UNIV COMM WAC               LOMA LINDA     CA   92350       HOSPITAL        BL4431209                                                 1,200    1,200     1,200
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100107835   010237149   LACKEY FAMILY PHARMACY APSC          LACKEY         KY   41643     INDEPENDENT       BL4844329   15,600   16,600   12,500   25,000    6,100   20,300   16,017    96,100

100109687   019186932   LAONA PHARMACY      CPA               LAONA         WI   54541     INDEPENDENT       BL4923694    3,000    3,500    4,600    2,000    4,500    3,000    3,433    20,600

100056052   032036996   LAKE DISTRICT HOSPITAL              LAKEVIEW        OR   97630       HOSPITAL        BL4983359     600      200      400     1,600     600               680      3,400

100054539   019021105   LAWNDALE CHRISTIAN HLTH CTR          CHICAGO        IL   60623    PHS 340B CLINIC    BL5115779    6,000    4,800    6,200    5,400    7,300    5,800    5,917    35,500

100061275   019096057   LARUE D CARTER MEM HOSP MMCAP      INDIANAPOLIS     IN   46222       HOSPITAL        BL5125403                       500      100      260      320      295      1,180

100055926   046004739   LAKELAND SURGICAL                   LAKELAND        FL   33805       HOSPITAL        BL5152703                                500                        500       500

100057423   046004945   LEON MEDICAL CENTERS, INC             MIAMI         FL   33135       HOSPITAL        BL5176943                      1,000     500                        750      1,500

100088009   026003624   LANAI FAMILY HEALTH CENTER            LANAI         HI   96763       HOSPITAL        BL5209095    2,500    3,000    3,000    4,000     500     5,000    3,000    18,000

100056997   019048884   LINTON FAMILY PHARMACY, APSC          LINTON        IN   47441     INDEPENDENT       BL5398652   24,300   24,100   25,700   24,400   23,600   21,500   23,933   143,600

100055792   056013078   WELLSPAN PHARMACY         GNP       FAIRFIELD       PA   17320     INDEPENDENT       BL5475238     500      100               300     3,200    2,600    1,340     6,700

100062387   021000448   BRYAN LGH MEDICAL CTR (WEST)         LINCOLN        NE   68502       HOSPITAL        BL5618129    4,300    3,700    7,000    3,000    7,200    1,800    4,500    27,000

100061459   023016923   LINCOLN PLACE PHCY INC(B)(GNP)      BROOKLYN        NY   11213     INDEPENDENT       BL5626645     100                        300                        200       400

100055791   056013052   WELLSPAN PHARMACY(Z)       GNP     GETTYSBURG       PA   17325     INDEPENDENT       BL5636759                                        1,300    2,000    1,650     3,300

100068208   010175802   LUTHERAN HOSPITAL                   CLEVELAND       OH   44113       HOSPITAL        BL6001046     400      300      500      150                        338      1,350

100096939   010233742   LUTHERAN HOSPITAL WAC               CLEVELAND       OH   44113   PHS 340B HOSPITAL   BL6001046     100                                 200      540      280       840

100068209   010175984   LUTHERAN HOSPITAL 340B              CLEVELAND       OH   44113   PHS 340B HOSPITAL   BL6001046              100                                          100       100

100071648   021143081   LAKELAND PHARMACY 1        CPA    BRANSON WEST      MO   65737     INDEPENDENT       BL6006591   24,600    5,200   19,600   21,400   20,800   34,900   21,083   126,500

100059426   010098855   *LITTLE & WADDELL INC    APSC     PRESTONSBURG      KY   41653     INDEPENDENT       BL6079948   36,200   15,000                                       25,600    51,200

100057424   046004952   LEON MEDICAL CENTERS, INC            HIALEAH        FL   33013       HOSPITAL        BL6122004                               2,700                      2,700     2,700

100057426   046004960   LEON MEDICAL CENTERS, INC             MIAMI         FL   33165       HOSPITAL        BL6122016                       500                                 500       500

100067888   044172411   LIVINGSTON REGIONAL HOSP #712      LIVINGSTON       TN   38570       HOSPITAL        BL6136623     800      800      800      800      750      460      735      4,410

100065841   019006221   AURORA LAKELAND (I/P)                ELKHORN        WI   53121       HOSPITAL        BL6136863     800      400      900     2,100     400      240      807      4,840

100071987   037143107   LOS EBANOS PHARMACY-NORTH CPA     BROWNSVILLE       TX   78526     INDEPENDENT       BL6181363     800      200      400      500      300               440      2,200

100067210   049042945   LEFAVE PHCY & HOME MED EQ CPA        ALPENA         MI   49707     INDEPENDENT       BL6271225   17,500   37,700   19,700            40,430   19,800   27,026   135,130

100051366   008032557   LASSEN DRUG CO                       CHESTER        CA   96020     INDEPENDENT       BL6325523   21,900   28,100   25,300   23,700   25,500   22,600   24,517   147,100

100070323   037140269   LAKEVIEW REGIONAL MED CTR #712     COVINGTON        LA   70433       HOSPITAL        BL6326133    1,500    2,200    1,500    1,600    1,200    1,960    1,660     9,960

100105837   018403733   DOCTORS HOSPITAL OF LAREDO           LAREDO         TX   78045       HOSPITAL        BL6421781     600     1,200    5,200    1,800                      2,200     8,800

100067621   010159830   LAKE CUMBERLAND REG HOSP #712       SOMERSET        KY   42503       HOSPITAL        BL6439182    2,100    3,700    2,200    3,800     900     2,000    2,450    14,700

100067890   044172429   LOGAN MEMORIAL HOSPITAL #712      RUSSELLVILLE      KY   42276       HOSPITAL        BL6441199     200      350      300      350      480      560      373      2,240

100053690   056017343   LITTLE SILVER FAM PHCY(X)(GNP)     LITTLE SILVER    NJ   07739     INDEPENDENT       BL6515499    2,400    3,000    2,400    1,300    2,100    1,200    2,067    12,400

100059154   044043620   LONE OAK PHARMACY         APSC       PADUCAH        KY   42003     INDEPENDENT       BL6600274    9,100   10,200   10,500   10,900   10,200    9,300   10,033    60,200

100064141   019001636   LAGRANGE ROAD PHARMACY             TINLEY PARK      IL   60487     INDEPENDENT       BL6621494    1,700     100      500     4,500    1,400    4,200    2,067    12,400

100111148   012001980   LLU COMM PHARMACY                  LOMA LINDA       CA   92354     HEALTH PLAN       BL6665270                                         400    11,100    5,750    11,500

100052313   020080333   SOUTHWEST MED/SIERRA HLTH SVS       LAS VEGAS       NV   89128       HOSPITAL        BL6709159                                                  100      100       100

100071649   021143099   LAKELAND PHARMACY 2        CPA      BRANSON         MO   65616     INDEPENDENT       BL6765664    9,500   13,000    7,500   14,500    9,600    8,200   10,383    62,300

100063048   021002261   LAWRENCE SURGERY CENTER, LLC        LAWRENCE        KS   66044       HOSPITAL        BL6809098     100      100      100               100      200      120       600

100051908   010049254   LIMA MEMORIAL JOINT OPERATING          LIMA         OH   45804       HOSPITAL        BL6925967    2,350    2,400    1,950    1,450    2,200    1,800    2,025    12,150

100066690   049175885   LABRENZ PHARMACY          CPA      ESSEXVILLE       MI   48732     INDEPENDENT       BL6963929   18,000   14,000   21,500   20,000   13,000   21,000   17,917   107,500

100061794   023003004   LANDMARK PHARMACY (ARX)          NORTH PLAINFIELD   NJ   07060     INDEPENDENT       BL7051206                                100               100      100       200

100051996   008056341   LOS ALAMITOS PHCY INC               SAN JOSE        CA   95116     INDEPENDENT       BL7169255    3,900    4,300    4,100    4,100    4,600    2,800    3,967    23,800

100111068   010001898   MARSH DRUGS LLC #7328/822            MUNCIE         IN   47303        CHAIN          BL7189524                                       15,500    9,400   12,450    24,900

100111069   010001899   MARSH DRUGS LLC #7329/823            MUNCIE         IN   47302        CHAIN          BL7193460                                       36,900   31,300   34,100    68,200

100111067   010001897   MARSH DRUGS #7311/827               ANDERSON        IN   46011        CHAIN          BL7232402                                       27,800   15,200   21,500    43,000

100051035   008000919   LIVE OAK PHARMACY                    LIVE OAK       CA   95953     INDEPENDENT       BL7253090    1,700    2,200     500      500    21,900   33,000    9,967    59,800
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100052171   010050039   NEWPORT DRUG CENTER APSC             NEWPORT        KY   41071     INDEPENDENT        BL7274082   10,600   10,500     9,600    10,400    12,500     7,500    10,183    61,100

100072421   055048231   LITTLE RIVER MEDICAL CTR(340B)      LITTLE RIVER    SC   29566    PHS 340B CLINIC     BL7343560    3,400    2,800     3,100     3,500     3,500     2,200     3,083    18,500

100104236   055038679   LITTLE RIVER MED CTR PHARMACY       LITTLE RIVER    SC   29566     INDEPENDENT        BL7343560                        100       100                           100       200

100066465   046085407   DOCTORS CHOICE PHARMACY            BAYONET POINT    FL   34667     INDEPENDENT        BL7420273    2,900    3,500     3,500     2,700     1,500      200      2,383    14,300

100056418   032079954   LAKEWOOD PHARMACY                   LAKEWOOD        WA   98499     INDEPENDENT        BL7433698             1,000      500       500      2,500     3,000     1,500     7,500

100053229   012098376   LEISURE WORLD PHARMACY              SEAL BEACH      CA   90740    LONG TERM CARE      BL7436303    3,100   10,400    16,600    29,500     1,700      500     10,300    61,800

100061986   023003640   LEVY'S PHARMACY LLC(Z) (GNP)        LYNDHURST       NJ   07071     INDEPENDENT        BL7501100    2,200    1,900     2,500     2,100     2,790     1,600     2,182    13,090

100068793   056090332   LEHIGH PHARMACY(Z)                 PHILADELPHIA     PA   19133     INDEPENDENT        BL7502342     300                100      1,000      500      1,000      580      2,900

100055565   018038141   LUNA'S FRIENDLY PHARMACY, INC       EAGLE PASS      TX   78852     INDEPENDENT        BL7513927    7,500    8,500     8,400    11,000     2,600     1,500     6,583    39,500

100074089   008011122   *LARK DRUGS PHARMACY, INC CPA      GUERNEVILLE      CA   95446     INDEPENDENT        BL7700215    9,600   23,800    18,200                                  17,200    51,600

100073192   008068890   LARK DRUGS PHARMACY, INC. 340B     GUERNEVILLE      CA   95446    PHS 340B CLINIC     BL7700215    3,000    2,500     2,500     2,100     2,900     3,500     2,750    16,500

100067892   020145011   LOS ALAMOS OUTPATIENT PHCY#713      LOS ALAMOS      NM   87544       HOSPITAL         BL7767304    2,700    2,900     3,300     3,100     3,400     2,700     3,017    18,100

100105857   044220624   LOGAN PROF PHCY APSC                  HERRIN        IL   62948     INDEPENDENT        BL7795240   12,000   13,100    11,200    13,900    17,500    10,800    13,083    78,500

100066823   046160069   WEST BAY SURGRY CTR LARGO SURG        LARGO         FL   33770       HOSPITAL         BL7807778              100                                               100       100

100050867   004080556   *LONG-TERM PHARMACY SOLUTION(X        LOWELL        MA   01851    LONG TERM CARE      BL7822275    2,100                                                      2,100     2,100

100061430   010099671   LEWIS CO PRIMARY CARE CENTER        TOLLESBORO      KY   41189    PHS 340B CLINIC     BL7847796    1,800    1,100     2,000     2,400     1,600      900      1,633     9,800

100061432   010099721   TOLLESBORO CLINIC PHCY APSC         TOLLESBORO      KY   41189     INDEPENDENT        BL7847796    1,200    1,300     1,500     1,200     1,500     1,500     1,367     8,200

100066391   055143263   LEE'S INLET APOTHECARY(X) CPA     MURRELLS INLET    SC   29576     INDEPENDENT        BL7924853    3,300   19,200     1,200    18,300     2,000     4,100     8,017    48,100

100051274   008035576   LEITERS CAMBRIAN PARK DRUGS          SAN JOSE       CA   95126     INDEPENDENT        BL8001252    5,800    8,400     4,700     7,000     3,000     3,500     5,400    32,400

100064006   052046342   LAKE MARTIN COMM HOSPITAL            DADEVILLE      AL   36853       HOSPITAL         BL8010629     100      100       300                 260       240       200      1,000

100057229   025300137   LISBON AREA HEALTH SERVICES           LISBON        ND   58054       HOSPITAL         BL8019033                        100       100                           100       200

100067889   041145011   LOGAN REGIONAL MEDICAL CTR#712        LOGAN         WV   25601       HOSPITAL         BL8103602    2,100    1,750     1,700     1,700     2,500     1,680     1,905    11,430

100062728   018068106   LAKE COUNTRY HEALTHCARE LLC          WELLING        OK   74471    LONG TERM CARE      BL8106723     300      400       400       (100)                         250      1,000

100106704   037134452   LAKE SURGERY CENTER                BATON ROUGE      LA   70808       HOSPITAL         BL8141412                        100                           200       150       300

100066405   040143149   LOVVORN DRUG CO.           CPA        BREMEN        GA   30110     INDEPENDENT        BL8143442   21,500   30,600    24,300    32,800     8,900    22,000    23,350   140,100

100064599   019008961   LAKELAND MED.CTR-ST JOE (340B)     SAINT JOSEPH     MI   49085   PHS 340B HOSPITAL    BL8179257                        200                                     200       200

100055269   032056325   LYNNWOOD COMM HEALTH CENTER         LYNNWOOD        WA   98036    PHS 340B CLINIC     BL8196417    1,200    2,300     2,700     4,600     4,900     1,400     2,850    17,100

100061234   019052092   PHARMAKON LONG TERM CARE PHCY         CARMEL        IN   46032    LONG TERM CARE      BL8205292   77,600   67,600   133,200   178,500    62,700   117,700   106,217   637,300

100057747   019301028   L H O PHARMACY LLC                   OSHKOSH        WI   54902    LONG TERM CARE      BL8206838    3,100    5,200     2,100     4,200     7,200     3,400     4,200    25,200

100074030   021140061   LAFAYETTE REG HLTH CNTR #712        LEXINGTON       MO   64067       HOSPITAL         BL8239534     300      700       600       500       820       280       533      3,200

100074031   021140087   LEES SUMMIT MED CTR #712            LEES SUMMIT     MO   64063       HOSPITAL         BL8263939    1,400    1,200     1,500     2,000      500      1,180     1,297     7,780

100062166   052047092   LITTLES PHCY         SF               RALEIGH       MS   39153     INDEPENDENT        BL8295998   10,600    7,600     8,800    11,000     4,500     6,600     8,183    49,100

100058978   041054254   LEISURE, GEORGE S MD              CHARLOTTESVILLE   VA   22901       HOSPITAL         BL8363967              100                                               100       100

100056501   018070359   *LUNA'S FAMILY PHARMACY             EAGLE PASS      TX   78852     INDEPENDENT        BL8393833    3,000    4,200     2,000                                   3,067     9,200

100068230   019142059   LOUIS A WEISS HOSPITAL               CHICAGO        IL   60640       HOSPITAL         BL8403747    1,900    2,900     2,400     2,200     3,000     2,000     2,400    14,400

100057763   046006940   LEON MEDICAL CENTERS, INC              MIAMI        FL   33165       HOSPITAL         BL8438839                        300                                     300       300

100067457   052061945   US LYSTER ARMY HOSPITAL @          FORT RUCKER      AL   36362   HOSPITAL (FEDERAL)   BL8443448   22,800   23,400    22,800    71,500     1,200    14,400    26,017   156,100

100076183   023077008   LAVIDA PHARMACY, INC (Z)             ELMHURST       NY   11373     INDEPENDENT        BL8466597     100                                                        100       100

100071505   056143099   LAMBERT'S PHARMACY(X)       CPA     CHERRY HILL     NJ   08034     INDEPENDENT        BL8486169    1,500    1,500     2,100     1,000     1,200      200      1,250     7,500

100059774   019028068   LIBERTY PHARMACY                   NORTH LIBERTY    IA   52317     INDEPENDENT        BL8648757    3,600    4,200     6,000     3,900     8,000     1,600     4,550    27,300

100067169   025143016   LUCK PHARMACY             CPA          LUCK         WI   54853     INDEPENDENT        BL8663331    3,000    4,500     1,500     4,000     4,500     2,100     3,267    19,600

100057767   046007104   LACUBANA PHARMACY DISCOUNT,INC         MIAMI        FL   33144     INDEPENDENT        BL8671910    1,600     200       700      1,700                500       940      4,700

100084161   012088922   LAGUNA DRUGS                       LAGUNA BEACH     CA   92651     INDEPENDENT        BL8673217    2,200    2,700     4,800     4,000     3,200      600      2,917    17,500

100074091   008011148   LUCERNE PHARMACY CPA                 LUCERNE        CA   95458     INDEPENDENT        BL8679978   23,500   17,000    31,500    15,500    25,000    16,000    21,417   128,500
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100110009   018405597   LAKE WORTH PHARMACY CPA             FORT WORTH      TX   76135     INDEPENDENT       BL8730827            19,600   16,100   15,300   15,100    6,700   14,560    72,800

100104092   037133421   LINO'S PHARMACY                        ROMA         TX   78584     INDEPENDENT       BL8778841   10,200   15,000   16,800   14,400    4,400    5,600   11,067    66,400

100094156   004091520   LYNN COMMUNITY HLTH CTR 340B           LYNN         MA   01901    PHS 340B CLINIC    BL8798095    1,200    1,500    1,200     900     1,700     900     1,233     7,400

100083396   025064915   ESSENTIA HEALTH                       DULUTH        MN   55804   PHS 340B HOSPITAL   BL8827810    7,200    8,500    9,500    8,600    1,000    8,500    7,217    43,300

100060805   025022780   ESSENTIA HEALTH                       DULUTH        MN   55804     INDEPENDENT       BL8827810    1,500    2,100     100     4,100    3,000             2,160    10,800

100055817   037087569   LA BLANCA PHARMACY                   LA BLANCA      TX   78558     INDEPENDENT       BL8962020     500      400      100      100      100               240      1,200

100085311   052166223   LAIRD HOSPITAL INC                     UNION        MS   39365       HOSPITAL        BL9050460      50      450      400      150      720      860      438      2,630

100063954   018079194   LYONS DRUG STORE         CPA          LONOKE        AR   72086     INDEPENDENT       BL9052488    7,400    6,300    8,300    4,300   11,500    4,230    7,005    42,030

100076691   032150037   *LINCOLN PHARMACY                     TACOMA        WA   98418     INDEPENDENT       BL9125851    7,000   13,200                                       10,100    20,200

100074416   018093617   *LEGENDS PHARMACY SA                SAN ANTONIO     TX   78216   LONG TERM CARE      BL9153177   22,700    8,500   14,500                              15,233    45,700

100074419   018093633   *LEGENDS PHARMACY RICHARDSON        RICHARDSON      TX   75080   LONG TERM CARE      BL9154345   11,000    8,500   11,000                              10,167    30,500

100056396   037080762   LTC RX                               PEARLAND       TX   77581   LONG TERM CARE      BL9154395   43,900   41,300   44,500   22,800   32,600   33,000   36,350   218,100

100068494   040143537   LACEY'S LTC PHARMACY        CPA      ACWORTH        GA   30101   LONG TERM CARE      BL9177949    1,500    1,400    1,600    5,300     500      900     1,867    11,200

100061423   010099259   LEWIS COUNTY PRIMARY CARE 340B       VANCEBURG      KY   41179    PHS 340B CLINIC    BL9188687    3,300    1,900    2,400    2,500    3,200    1,000    2,383    14,300

100061424   010099242   LEWIS COUNTY PRIMARY CARE CTR        VANCEBURG      KY   41179     INDEPENDENT       BL9188687    1,700    2,700    1,900    2,400    3,000    2,000    2,283    13,700

100069050   041082891   ORANGE PHCY (X)       CPA             ORANGE        VA   22960     INDEPENDENT       BL9206461    1,800    8,200    2,600     800     8,000    2,500    3,983    23,900

100105968   023153015   LIFE TREE PHARMACY                  COLLEGEVILLE    PA   19426     INDEPENDENT       BL9208388             1,000                                        1,000     1,000

100062799   008078196   LOS PORTALES PHARMACY        CPA   SAN FRANCISCO    CA   94110     INDEPENDENT       BL9238444    5,000    3,700    2,000                               3,567    10,700

100062514   041090498   ST FRANCIS MED CTR (I/P)VA 734       MIDLOTHIAN     VA   23114       HOSPITAL        BL9393668    1,300    1,300    1,000    1,100    2,200    1,000    1,317     7,900

100105712   023152900   LGDK, LLC (LTC)                      NEW YORK       NY   10031     INDEPENDENT       BL9444009                                200                        200       200

100074421   018093666   *LEGENDS PHARMACY - RETAIL WM       WEST MONROE     LA   71291     INDEPENDENT       BL9455406     500      700      500                                 567      1,700

100056155   012157834   LARSON PHCY                           COLTON        CA   92324     INDEPENDENT       BL9466233   14,400   15,900   13,600   19,400    6,500     200    11,667    70,000

100066116   021009647   LOUDERBACK DRUG OF MADISON SF         MADISON       NE   68748     INDEPENDENT       BL9469897                                        2,500    2,000    2,250     4,500

100062516   024109306   LA JOYA PHARMACY                    SANTA MARIA     CA   93458     INDEPENDENT       BL9516230    7,100    8,500    6,500   12,600    5,000    5,500    7,533    45,200

100071984   018143404   LITTLE ELM PHARMACY       CPA        LITTLE ELM     TX   75068     INDEPENDENT       BL9550903    4,000    6,000   16,500             4,000             7,625    30,500

100091240   004089870   FREEDOM FERTILITY PHARMACY            BYFIELD       MA   01922     MAIL SERVICE      BL9566742    1,300    1,300    1,500     800                       1,225     4,900

100073326   038079376   LYNN'S DAKOTAMART PHCY       SF    BELLE FOURCHE    SD   57717        CHAIN          BL9570498    4,300    5,300    4,200    4,500    8,000    2,500    4,800    28,800

100073327   038079426   LYNN'S DAKOTAMART HOTSPRNG SF       HOT SPRINGS     SD   57747        CHAIN          BL9581910    8,900    8,700    6,200   10,100    6,200    3,000    7,183    43,100

100076693   032150052   *LINCOLN PHARMACY LTC                 TACOMA        WA   98418   LONG TERM CARE      BL9599006    8,300    9,900                                        9,100    18,200

100067710   046125476   LAKE ONE PRO PHARMACY INC           GREENACRES      FL   33463     INDEPENDENT       BL9621790              100     1,000             1,000    1,000     775      3,100

100061808   019301663   HFM PHARMACY                         MANITOWOC      WI   54220       HOSPITAL        BL9661922     100     5,000    9,000   15,500    6,300   14,700    8,433    50,600

100062417   046021147   LEON MEDICAL CENTERS, INC              MIAMI        FL   33166       HOSPITAL        BL9663320                       400     1,600                      1,000     2,000

100111147   012001979   LLU FACULTY PHARMACY                 LOMA LINDA     CA   92350     HEALTH PLAN       BL9668849                                                 7,200    7,200     7,200

100056860   056050831   LIFESTREAM PHARMACY (Z)             WARRINGTON      PA   18976     INDEPENDENT       BL9692395    3,800    1,900    3,500    2,600    2,100    3,100    2,833    17,000

100088190   023132472   LIBERTY PHARMACY (ARX)              ENGLEWOOD       NJ   07631     INDEPENDENT       BL9704570                                         200               200       200

100063064   012166504   WATERMAN PHARMACY                  SAN BERNARDINO   CA   92404     INDEPENDENT       BL9736060   28,500   30,700   24,800   27,200   21,500   20,000   25,450   152,700

100070483   044143388   PARKER ROAD SPECIALTY PHCY CPA       JONESBORO      AR   72404     INDEPENDENT       BL9751670   16,100    8,000   16,100   21,100    6,000    9,500   12,800    76,800

100086220   041138396   MEDICAL PARK PHARMACY       CPA       GRUNDY        VA   24614     INDEPENDENT       BM0144939   31,000   36,200   24,200   37,200   31,500   32,000   32,017   192,100

100066117   032099291   MEDICINE MAN WEST PHARMACY 6         POST FALLS     ID   83854     INDEPENDENT       BM0159752   14,300   18,300   12,600   21,700   18,700   16,700   17,050   102,300

100107468   032152512   MEDICINE MAN WEST PHCY 340B          POST FALLS     ID   83854    PHS 340B CLINIC    BM0159752    4,000    1,600    5,200    2,000                      3,200    12,800

100087380   044205682   DON AND DAISY'S PHCY PLUS CPA       OWENSBORO       KY   42303     INDEPENDENT       BM0204646   16,000   15,000   19,000   11,000    9,500   19,000   14,917    89,500

100067373   021006239   GRAND PHARMACY                        HANNIBAL      MO   63401     INDEPENDENT       BM0251227     700     1,000     800     4,600   11,300   14,100    5,417    32,500

100051297   008035956   MILLS PENINSULA MED-MILLS PHCY       SAN MATEO      CA   94401       HOSPITAL        BM0257685     400      600      500      500      300      400      450      2,700

100064994   018080044   MERCY PHARMACY                     OKLAHOMA CITY    OK   73120     INDEPENDENT       BM0258346    5,900    5,800    4,900    5,200    7,950    5,200    5,825    34,950
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100091311   037129866   MEMORIAL MED CTR EAST TEXAS              LUFKIN      TX   75904       HOSPITAL         BM0274174                      2,300    3,300    4,300    3,040    3,235    12,940

100071754   023143438   MELCON'S PHARMACY(X)      CPA         HAWTHORNE      NJ   07506     INDEPENDENT        BM0285622    1,900    1,300    2,100     900     1,130    1,200    1,422     8,530

100092294   049098350   *MAPLE VALLEY PHCY       SF            NASHVILLE     MI   49073     INDEPENDENT        BM0300311   21,800   12,300    9,000                              14,367    43,100

100053632   010052647   MEADVILLE MEDICAL CTR MAIN RX          MEADVILLE     PA   16335       HOSPITAL         BM0330287     200     1,000     600      700     1,000     500      667      4,000

100100705   010234062   MEADVILLE MED CTR LIB ST WAC           MEADVILLE     PA   16335   PHS 340B HOSPITAL    BM0330287     100                        100     1,000     300      375      1,500

100084214   010195537   MEADVILLE MED CTR LIB ST 340B          MEADVILLE     PA   16335   PHS 340B HOSPITAL    BM0330287     400      400      400      200                        350      1,400

100066926   055143412   MEDICINE MART-LEXINGTON SC CPA         LEXINGTON     SC   29072     INDEPENDENT        BM0365280    1,040    6,000    4,000     200     3,600    7,900    3,790    22,740

100052871   010046003   *MORTON'S HILLTOP PHCY APSC           PORTSMOUTH     OH   45662     INDEPENDENT        BM0438312    5,600                                                 5,600     5,600

100092072   020158907   PHARMACY CENTER EAST                    EL PASO      TX   79936     INDEPENDENT        BM0590528   16,500   20,000   15,500   18,000   10,000    6,000   14,333    86,000

100059438   041052951   MOUNT CARMEL PHCY-Z (GNP) B14          HEREFORD      MD   21111     INDEPENDENT        BM0598423                                300                        300       300

100068920   049149781   *SAINT JOSEPH MERCY YPSILANTI          YPSILANTI     MI   48197     INDEPENDENT        BM0611120    5,100    9,000    2,000   10,000                      6,525    26,100

100070402   018144378   MEDIC PHARMACY #1        CPA           EL DORADO     AR   71730     INDEPENDENT        BM0636514   21,200   20,400   18,900    2,200   15,500   12,400   15,100    90,600

100055615   018026195   MOUNTAIN VALLEY PHARMACY              CANYON LAKE    TX   78132     INDEPENDENT        BM0692118   14,300   13,800    8,800   11,100    9,200    8,500   10,950    65,700

100090738   019167635   MEMORIAL HOSP OF BOSCOBEL              BOSCOBEL      WI   53805       HOSPITAL         BM0770075              100      100                        100      100       300

100096927   019163931   MEMORIAL HOSP OF BOSCOBEL 340B         BOSCOBEL      WI   53805       HOSPITAL         BM0770075                                100                        100       100

100071921   018090878   MEDICINE CHEST PHCY      SF             GRAHAM       TX   76450     INDEPENDENT        BM0784771   14,000   14,700   16,700   15,200   12,100    8,500   13,533    81,200

100099835   018399287   WALGREENS #15780        DSD              TULSA       OK   74105      WALGREENS         BM0800323             8,500   26,100   27,000   29,500   22,000   22,620   113,100

100099843   018399360   WALGREENS #15772        DSD              TULSA       OK   74127      WALGREENS         BM0800412     200     8,400   27,000   25,500   19,500   24,500   17,517   105,100

100056584   056014282   MEDICINE EXPRESS PHARMACY(X)          BURLINGTON     NJ   08016     INDEPENDENT        BM0826808    1,200     400     1,500     100      800      700      783      4,700

100068921   049149815   *SAINT JOSEPH MERCY PORT HURON        PORT HURON     MI   48060     INDEPENDENT        BM0838372    8,600    8,000   13,100   11,500                     10,300    41,200

100093056   037130393   MEDICAL PLAZA PHARMACY (WAC)          BATON ROUGE    LA   70808       HOSPITAL         BM0838500    3,550    6,100    2,000    6,100    5,500    5,000    4,708    28,250

100093058   037236943   MEDICAL PLAZA PHARMACY 340B           BATON ROUGE    LA   70808       HOSPITAL         BM0838500    4,000    2,500    4,500    2,500                      3,375    13,500

100093058   037236943   MEDICAL PLAZA PHARMACY 340B           BATON ROUGE    LA   70808   PHS 340B HOSPITAL    BM0838500                                        2,500    3,000    2,750     5,500

100055605   046003319   MAGGY PHARMACY DISCOUNT                 HIALEAH      FL   33012     INDEPENDENT        BM0902191              100                                          100       100

100071518   004143164   PHARMAHEALTH PHARMACY(X) CPA          NEW BEDFORD    MA   02745     INDEPENDENT        BM0911429     700      800      900     1,000    1,000    1,400     967      5,800

100089568   008108720   MERCY PHARMACY #4                     SACRAMENTO     CA   95819       HOSPITAL         BM1006952   29,900   31,500   29,700   29,500   40,500   30,700   31,967   191,800

100093900   019162388   CARLE SURGI CENTER                     CHAMPAIGN     IL   61821       HOSPITAL         BM1034785     200      300      200     1,300                       500      2,000

100067893   010159855   MEADOWVIEW REG MED CTR         #712    MAYSVILLE     KY   41056       HOSPITAL         BM1163740     900      450      750     1,450     460      100      685      4,110

100071736   040140285   NORTHLAKE SURG/MARSHBURN #712           TUCKER       GA   30084       HOSPITAL         BM1171216                                 50                         50        50

100065459   008030536   MULE CREEK STATE PRISON                   IONE       CA   95640        ALT SITE        BM1176103                                                  200      200       200

100104072   044219576   LONG TERM CARE RX                     SAINT LOUIS    MO   63114    LONG TERM CARE      BM1182699   12,000   13,500   11,600   13,800   16,900   15,100   13,817    82,900

100111058   010001887   MARSH DRUGS #7090/796                 INDIANAPOLIS   IN   46260         CHAIN          BM1206564                                        1,700     800     1,250     2,500

100061688   023013979   MADISON PHARMACY(Z)(IPBG)               MADISON      NJ   07940     INDEPENDENT        BM1223279    1,500    1,100    1,500    1,400     300     1,500    1,217     7,300

100076577   004079319   MARTINS POINT HLTH CARE CTR(X)         PORTLAND      ME   04103       HOSPITAL         BM1323877    6,000    4,500    7,800    7,300   12,300   11,300    8,200    49,200

100050275   004054460   MARTINS POINT HEALTHCARE (DOD)         PORTLAND      ME   04103   HOSPITAL (FEDERAL)   BM1323877     900      300      700      600               300      560      2,800

100056120   019025387   MEDI-PARK PHARMACY                      PEORIA       IL   61603       HOSPITAL         BM1384875   16,700   25,700   18,500   20,100   23,000   25,600   21,600   129,600

100096763   019163667   MEDI-PARK PHARMACY 340B                 PEORIA       IL   61603   PHS 340B HOSPITAL    BM1384875    4,500    1,000    3,000    1,000                      2,375     9,500

100057010   056014431   MEDICINE PLUS PHCY                    MOUNT AIRY     MD   21771     INDEPENDENT        BM1467489     400      700      600      500      700      400      550      3,300

100055111   046003335   MADAHIMA PHARMACY                       HIALEAH      FL   33014     INDEPENDENT        BM1659296              200                                          200       200

100069561   004064634   MIDDLETOWN APOTH INC(Z) CPA           MIDDLETOWN     NY   10940     INDEPENDENT        BM1689073    6,200    6,400    6,800   14,700    4,800    6,600    7,583    45,500

100066435   049107607   BASSETT'S IGA    APSC                 PORT CLINTON   OH   43452     INDEPENDENT        BM1837600    4,600    4,900    4,800    4,900    6,000    3,400    4,767    28,600

100068495   040143545   LACEY'S MARIETTA PHARMACY CPA          MARIETTA      GA   30060     INDEPENDENT        BM1893634   10,200   11,800    7,000    7,200    4,100    8,200    8,083    48,500

100057687   010024315   PHARMERICA GREENGATENORTH PLAZ        GREENSBURG     PA   15601    LONG TERM CARE      BM1978191   14,900   16,600   23,900   12,000     160     1,500   11,510    69,060

100104438   010235135   PHARMERICA (RX SENTRY)                GREENSBURG     PA   15601    LONG TERM CARE      BM1978191     600      600                                          600      1,200
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100111036   010001862   MARSH DRUGS #7017/797                       FISHERS        IN   46038        CHAIN          BM1986895                                         3,600    4,000    3,800     7,600

100065835   019006148   AURORA MEMORIAL BURLINGTON                BURLINGTON       WI   53105       HOSPITAL        BM1995820     300      400       400      900               400      480      2,400

100086141   052169698   MED CTR DISC PHCY            SF              MAGEE         MS   39111     INDEPENDENT       BM2029002    5,100    5,100     4,000    9,300    6,000    1,700    5,200    31,200

100052304   018068411   MADISON PARISH HOSPITAL                    TALLULAH        LA   71282       HOSPITAL        BM2048608              300       100      600      200               300      1,200

100070913   012110072   ALTAMED ANAHEIM,MALDONADO340B               ANAHEIM        CA   92801    PHS 340B CLINIC    BM2064551     600      700       500      100      300     1,200     567      3,400

100092412   044211250   MEDEX PHARMACY INC - HPG                   SWANSEA         IL   62226     INDEPENDENT       BM2084173                                                  4,000    4,000     4,000

100089682   008107748   MARK TWAIN MEDICAL CENTER                 SAN ANDREAS      CA   95249       HOSPITAL        BM2133875     300      700       300     1,200     600      100      533      3,200

100101185   008112177   MARK TWAIN ST JOSEPH HOSP 340B            SAN ANDREAS      CA   95249       HOSPITAL        BM2133875     300                         100                        200       400

100071679   023143412   MANDELL'S PHARMACY(Z)             CPA      SOMERSET        NJ   08873     MAIL SERVICE      BM2194506    1,000               500                                 750      1,500

100056703   023066373   MADISON CHEMISTS INC CPA                   NEW YORK        NY   10029     INDEPENDENT       BM2200006     100                                           200      150       300

100071619   018175935   SOUTHWESTERN REGIONAL MED CTR                TULSA         OK   74133       HOSPITAL        BM2242458     100      250       300      400                        263      1,050

100056222   032041400   MEDICINE MAN NORTH PHCY NORTH            COEUR D ALENE     ID   83815     INDEPENDENT       BM2269048    8,500   10,000    10,800   12,700   15,000   13,000   11,667    70,000

100056421   032081356   MEDICINE MAN NORTH/DIRNE CHC             COEUR D ALENE     ID   83815    PHS 340B CLINIC    BM2269048    3,200    6,100     5,600                               4,967    14,900

100062723   018067967   M & D STAR DRUG COMPANY            SF      OKMULGEE        OK   74447     INDEPENDENT       BM2309979   12,600   20,700    17,100   16,600   12,200   13,500   15,450    92,700

100056323   018066084   MORNINGSIDE MINISTRIES PHCY               SAN ANTONIO      TX   78201   LONG TERM CARE      BM2317166     600                         600                        600      1,200

100068922   049149823   SAINT JOSEPH MERCY LIVINGSTON               HOWELL         MI   48843       HOSPITAL        BM2326569     700      550      1,150     300                        675      2,700

100054686   012039859   LOS ALAMITOS PHARM INC.                   LOS ALAMITOS     CA   90720     INDEPENDENT       BM2335758    5,800    6,600     7,800    2,600    7,340    8,900    6,507    39,040

100074114   055049346   MARS HILL MED CTR PHCY(340B)               MARS HILL       NC   28754    PHS 340B CLINIC    BM2336483    4,200    4,500     3,400    2,500    3,600    2,800    3,500    21,000

100099823   018399162   WALGREENS #15808             DSD            CUSHING        OK   74023     WALGREENS         BM2343301     600     9,100    23,400   20,800   15,500   13,500   13,817    82,900

100065042   052057893   ST VINCENTS PHARMACY                      BIRMINGHAM       AL   35235     INDEPENDENT       BM2358198    2,000                                 320              1,160     2,320

100063484   052045062   MIKE'S DISC PHCY, INC        SF           MORRISTOWN       TN   37814     INDEPENDENT       BM2424896   12,000   11,500    10,900   16,700   12,540    5,500   11,523    69,140

100068592   040143644   MADDOX DRUGS             CPA                TOCCOA         GA   30577     INDEPENDENT       BM2433023   34,200   18,000    28,200   26,200   17,000   21,600   24,200   145,200

100073590   018093575   MEDI MART PHARMACY                        SAN ANGELO       TX   76901   LONG TERM CARE      BM2515635    2,900    3,700     4,200    2,900    3,600    4,500    3,633    21,800

100071855   049125096   HENRY FORD MACOMB HOSP PHCY #2          MOUNT CLEMENS      MI   48043       HOSPITAL        BM2549496     100      400       300               320               280      1,120

100071857   049125104   HENRY FORD MACOMB HOSP PHCY #1          CLINTON TOWNSHIP   MI   48038       HOSPITAL        BM2549509    6,100    6,900     6,500    7,500    8,280    5,240    6,753    40,520

100065928   008034421   MADERA COMMUNITY HOSPITAL                   MADERA         CA   93637       HOSPITAL        BM2550449     600     2,700               500      700      500     1,000     5,000

100062418   008134429   MADERA COMM HOSP 340B                       MADERA         CA   93637   PHS 340B HOSPITAL   BM2550449     200      100                200                        167       500

100055015   012043554   MEDICAL ARTS PHARMACY                      TORRANCE        CA   90503     INDEPENDENT       BM2551201    1,300    1,500     1,100    1,600    5,200    1,600    2,050    12,300

100092870   044211789   WASH UNIV CANCER CTR PHCY                   ST LOUIS       MO   63110       HOSPITAL        BM2589123    3,200    6,000     3,700    4,900    3,600    3,400    4,133    24,800

100061960   023082966   MANNINGS PHARMACY CORP(Z)                  NEW YORK        NY   10013     INDEPENDENT       BM2610675                                          100               100       100

100051350   008028142   COBBLESTONE PHARMACY                       PARADISE        CA   95969     INDEPENDENT       BM2642254    2,500    1,500     1,000    9,000   26,000     500     6,750    40,500

100074092   008011155   MARIN MEDICAL PHARMACY CPA                 SAN RAFAEL      CA   94903     INDEPENDENT       BM2645678    4,500    6,300     4,100    7,800    4,500    5,600    5,467    32,800

100077104   055018754   KING'S PHARMACY & COMPNDG LAB             WILMINGTON       NC   28403     INDEPENDENT       BM2649070              700      2,100     200     4,000    3,800    2,160    10,800

100071760   023143503   MIDTOWN DRUGS(X)             CPA            KEARNY         NJ   07032     INDEPENDENT       BM2741177    2,700     (600)    1,800    1,800    3,700    2,230    1,938    11,630

100073996   023111674   ANDOVER APOTHECARY                          ANDOVER        NJ   07821     INDEPENDENT       BM2753108     400     1,600      600     1,100    1,500     500      950      5,700

100054994   010046664   MARTY'S FAMILY DISCNT DRUGS              EAST LIVERPOOL    OH   43920     INDEPENDENT       BM2863579    1,700     800       900      800      800     2,000    1,167     7,000

100066803   052056739   METRO PHCY              SF                  JACKSON        MS   39204     INDEPENDENT       BM2864595    2,400    2,400     2,200    1,400    1,000    1,900    1,883    11,300

100054547   018063479   MULESHOE AREA MEDICAL CENTER               MULESHOE        TX   79347       HOSPITAL        BM2896011                                 400                        400       400

100060954   040069476   MEDICAL CTR PRESCRIP SHOP CPA               EASTMAN        GA   31023     INDEPENDENT       BM2930015    9,600    9,800    10,740   11,600   14,200   12,200   11,357    68,140

100070400   018144352   MEDICAL CTR PHARMACY, INC CPA             POCAHONTAS       AR   72455     INDEPENDENT       BM2954320    6,000    6,500     7,000    6,100    3,500    5,500    5,767    34,600

100052939   020056770   MEDICAL ARTS PHCY        CPA              ALAMOGORDO       NM   88310     INDEPENDENT       BM2997471   12,000   12,400    10,100   11,900    9,500   14,900   11,800    70,800

100103946   049194662   MERCY HEALTHCARE CTR PHCY WAC               TOLEDO         OH   43604   PHS 340B HOSPITAL   BM3043332     700      600       800     1,300     700      900      833      5,000

100090238   049188078   MERCY HEALTHCARE PHCY 340B                  TOLEDO         OH   43604   PHS 340B HOSPITAL   BM3043332     800      100       100      500               100      320      1,600

100060198   056038984   MURRAY-OVERHILL PHCY(Z)                      MEDIA         PA   19063     INDEPENDENT       BM3047152    3,200    1,500     3,000   12,000              200     3,980    19,900
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100070479   044143354   MONETTE DISCOUNT DRUG             CPA      MONETTE       AR   72447       INDEPENDENT        BM3052076   17,100    12,800   27,100    6,700    24,200   19,100   17,833   107,000

100064883   049042218   MERCY MEMORIAL MACOMB PHARMACY              MONROE       MI   48162       INDEPENDENT        BM3109445   25,600    25,100   21,000   20,000    27,300   15,500   22,417   134,500

100057208   052027128   MEDICAL CENTER PHARMACY            CPA      MCCOMB       MS   39648       INDEPENDENT        BM3114763   15,500    21,800   19,500   19,100    20,200   27,100   20,533   123,200

100056221   032041392   MEDICINE MAN NORTH PHCY HAYDEN              HAYDEN       ID   83835       INDEPENDENT        BM3152105   12,500    12,100   13,900   16,600    11,500    7,600   12,367    74,200

100066373   052055095   MAGIC MART PHCY INC         SF             INDIANOLA     MS   38751       INDEPENDENT        BM3255278    8,900    12,300    8,500    5,600    12,200    9,000    9,417    56,500

100109797   052224998   MAGIC MART PHCY INC 340B                   INDIANOLA     MS   38751       INDEPENDENT        BM3255278                        600     1,000                        800      1,600

100111052   010001880   MARSH DRUGS #7073/800                     INDIANAPOLIS   IN   46229          CHAIN           BM3310531                                          6,000    1,000    3,500     7,000

100068601   040143727   MIDTOWN PHARMACY: COLUMBUS CPA             COLUMBUS      GA   31906       INDEPENDENT        BM3398004    3,000     4,600    4,000    4,100      100     1,300    2,850    17,100

100051298   008035964   MEMORIAL MEDICAL CENTER OP                 MODESTO       CA   95355         HOSPITAL         BM3402586   27,500    34,000   26,100   51,600    12,200   21,860   28,877   173,260

100070496   046141473   OUTPATIENT SURGICAL SERVI #712            PLANTATION     FL   33324         HOSPITAL         BM3430117     150                                                     150       150

100099850   018399436   WALGREENS #15777        DSD                  TULSA       OK   74135       WALGREENS          BM3433478     220      2,700   13,700   12,800    12,900   21,000   10,553    63,320

100060106   010100271   MCDOWELL PROFESSIONAL PHCY, IN             MCDOWELL      KY   41647       INDEPENDENT        BM3438846   46,000    44,600   29,700   36,000    48,300   39,400   40,667   244,000

100090930   010225458   MCDOWELL PROFESSIONAL PHY 340B             MCDOWELL      KY   41647         ALT SITE         BM3438846               500      500                                  500      1,000

100070403   021143131   BOLIVAR DRUG     CPA                        BOLIVAR      MO   65613       INDEPENDENT        BM3449508   13,000     6,000   17,700   (2,900)   10,500    5,600    8,317    49,900

100053633   010052654   MEADVILLE MED CTR NO BAXTER DS             MEADVILLE     PA   16335         HOSPITAL         BM3459941    1,100      600      500      200       500               580      2,900

100085777   040103812   MEDICAL PARK PHARMACY         CPA           DUBLIN       GA   31021       INDEPENDENT        BM3478016      (20)   17,200   10,100   12,720    10,840    8,040    9,813    58,880

100111070   010001900   MARSH DRUGS #7053/802                     INDIANAPOLIS   IN   46211          CHAIN           BM3481405                                         13,000    9,600   11,300    22,600

100111049   019001877   MARSH DRUGS #7056/803                      WARSAW        IN   46580          CHAIN           BM3481417                                          6,200    5,500    5,850    11,700

100069659   052023374   MORRISTOWN PHARMACY                       MORRISTOWN     TN   37814       INDEPENDENT        BM3491711    8,000     5,500    7,000   14,000     5,500   11,000    8,500    51,000

100109543   012113530   MED-CENTER PHARMACY CPA                      IRVINE      CA   92604       INDEPENDENT        BM3570288    1,700     3,600    1,000    2,300     8,700    2,900    3,367    20,200

100091313   037129882   MEMORIAL SPECIALTY HOSPITAL                 LUFKIN       TX   75901         HOSPITAL         BM3617290                        400     1,000     1,980             1,127     3,380

100060016   052160366   MILNER-RUSHING DRUGS          SF         MUSCLE SHOALS   AL   35661       INDEPENDENT        BM3621061   27,500    28,600   22,940   27,440    26,200   30,140   27,137   162,820

100053076   024043257   MAXSONS DRUGS                            SHERMAN OAKS    CA   91423       INDEPENDENT        BM3625730   10,800    10,400   12,000   14,200    19,900    5,500   12,133    72,800

100055599   046003426   MED-CARE INFUSIONSERVICES, INC              HIALEAH      FL   33018   HOME HEALTH SERVICES   BM3665190     500                                                     500       500

100057831   021036194   MAHASKA DRUG, INC           CPA           OSKALOOSA      IA   52577       INDEPENDENT        BM3689241   27,300    14,100   22,200   19,000    24,500   11,400   19,750   118,500

100111029   010001858   MARSH DRUGS #7003/804                    BLOOMINGTON     IN   47404          CHAIN           BM3689380                                         11,500    7,700    9,600    19,200

100111056   010001885   MARSH DRUGS #7083/806                     INDIANAPOLIS   IN   46254          CHAIN           BM3689392                                          6,000    4,100    5,050    10,100

100111055   010001884   MARSH DRUGS #7080/794                       CARMEL       IN   46033          CHAIN           BM3689392                                          3,100    1,300    2,200     4,400

100111050   010001878   MARSH DRUGS #7058/805                     NOBLESVILLE    IN   46062          CHAIN           BM3689405                                          7,500    3,700    5,600    11,200

100055430   040048132   GAYCO HEALTHCARE                            DUBLIN       GA   31021     LONG TERM CARE       BM3695422   37,600    53,800   38,300   33,600    39,000   36,500   39,800   238,800

100111183   040002025   GAYCO HEALTHCARE GM                         DUBLIN       GA   31021     LONG TERM CARE       BM3695422                                                  15,500   15,500    15,500

100052261   010040238   MEDICAL ARTS SUPPLY, INC APSC             HUNTINGTON     WV   25701       INDEPENDENT        BM3744489    3,220     3,400    3,500    2,500     5,000    2,500    3,353    20,120

100068925   049149856   *SAINT JOSEPH MERCY                       ANN ARBOR      MI   48106         HOSPITAL         BM3815872   11,500    13,500   13,500   15,500                      13,500    54,000

100054591   012058354   SEA VIEW PHARMACY                        SAN CLEMENTE    CA   92673       INDEPENDENT        BM3825342   10,200    10,900   11,300   10,300     9,400    4,500    9,433    56,600

100077154   021102012   MEDICAL CENTER PHARMACY CPA                 SEDALIA      MO   65301       INDEPENDENT        BM3881035    4,000     7,000    3,100   17,200     3,300             6,920    34,600

100060734   021037739   CORNER PHCY            SF                 IOWA FALLS     IA   50126       INDEPENDENT        BM3893092    3,000     4,400    4,900    4,800     3,800    2,700    3,933    23,600

100055016   012043653   MEDICAL ARTS RX ANA                         ANAHEIM      CA   92801       INDEPENDENT        BM3897519     100       100      100               2,100     200      520      2,600

100059364   041036814   MADISON DRUG CO. 869        CPA            MADISON       VA   22727       INDEPENDENT        BM3900417    2,600     2,100    3,300    1,500     8,500    5,000    3,833    23,000

100088258   021010041   PAUL'S PHARMACY                           MANHATTAN      KS   66502       INDEPENDENT        BM3907194    3,600     4,700    4,100    3,600     4,400    3,160    3,927    23,560

100052997   024042457   M & S PHARMACY                            LOS ANGELES    CA   90066       INDEPENDENT        BM3919303     300       100      200      100     10,200     200     1,850    11,100

100072581   046140442   AVENTURA HOSP & MED CTR #712               AVENTURA      FL   33180         HOSPITAL         BM3922994     700       700      450      800       670      680      667      4,000

100065218   049043323   MONROE PHCY            SF                  DEARBORN      MI   48124       INDEPENDENT        BM3960691    5,300     5,900    5,300    6,100     3,100    4,700    5,067    30,400

100058512   044000083   PHARMAX PHARMACY #1302           PFOA       POTOSI       MO   63664       INDEPENDENT        BM3966794   14,500    13,400   12,600   14,900    16,000   13,300   14,117    84,700

100093251   044211987   PHARMAX PHARMACY #1302 340B                 POTOSI       MO   63664         HOSPITAL         BM3966794    2,500     4,600    3,100    4,000                       3,550    14,200
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100068926   049149880   BAY SHORE PHARMACY                  SUTTONS BAY       MI   49682       INDEPENDENT        BM3974563   10,000    8,300    6,100    3,900   19,400   12,500   10,033    60,200

100108769   049196766   BAY SHORE PHARMACY 340B             SUTTONS BAY       MI   49682      PHS 340B CLINIC     BM3974563     100     7,900    9,600    1,700                      4,825    19,300

100050114   004054510   MARTINS POINT HEALTH CARE(DOD)      PORTSMOUTH        NH   03801    HOSPITAL (FEDERAL)    BM3977381    3,400    5,000    1,800    5,700    2,800    3,800    3,750    22,500

100073441   004079335   MARTINS POINT HLTH CARE CTR(X)      PORTSMOUTH        NH   03801         HOSPITAL         BM3977381     300                       2,500     200      800      950      3,800

100052971   004055335   (CRD) MARTINS PT HEALTHCARE         PORTSMOUTH        NH   03801    HOSPITAL (FEDERAL)    BM3977381              300                                          300       300

100060325   019037234   MORRISON'S MIRACLE DRUG     SF        ISHPEMING       MI   49849       INDEPENDENT        BM3991622    9,000   11,000    9,000   11,500    9,000   10,000    9,917    59,500

100053266   024046987   MONTEBELLO PROFESSIONAL PHMCY        MONTEBELLO       CA   90640       INDEPENDENT        BM4015459    1,700    3,900    3,100    3,900    1,200    3,000    2,800    16,800

100111028   010001857   MARSH DRUGS #7001/807                  FISHERS        IN   46037          CHAIN           BM4147725                                        3,000    1,300    2,150     4,300

100091314   037129890   MEMORIAL CENTER OF LIVINGSTON        LIVINGSTON       TX   77351         HOSPITAL         BM4149464                      1,600     400      800      500      825      3,300

100091440   037129940   MEMORIAL CTR LIVINGSTON 340B         LIVINGSTON       TX   77351         HOSPITAL         BM4149464                       300      200                        250       500

100096560   037102947   MEMORIAL CTR LIVINGSTON WAC          LIVINGSTON       TX   77351         HOSPITAL         BM4149464                                300                        300       300

100055256   019042119   WFH-PE AND FW                        BROOKFIELD       WI   53005     LONG TERM CARE       BM4190740    5,000    2,500    3,500    5,500    5,900    4,300    4,450    26,700

100077168   019160630   WFH-PE AND FW                        BROOKFIELD       WI   53005     PHS 340B HOSPITAL    BM4190740             1,900     900      700                       1,167     3,500

100066681   019160184   WFH-PE AND FW                        BROOKFIELD       WI   53005     PHS 340B HOSPITAL    BM4190740              800      100      200                        367      1,100

100077169   019160648   WFH-PE AND FW                        BROOKFIELD       WI   53005     PHS 340B HOSPITAL    BM4190740              200      200      200                        200       600

100054031   037005140   MAXOR-P PHARMACY/CONT/DOD           PORT ARTHUR       TX   77642    HOSPITAL (FEDERAL)    BM4192554    8,800    8,300   14,900    9,800             6,300    9,620    48,100

100054103   037010553   MAXOR-P PHARMACY/HMO                PORT ARTHUR       TX   77642    HOSPITAL (FEDERAL)    BM4192554                      1,000             3,000             2,000     4,000

100054523   037055467   MAXOR-H PHARMACY/CONT/DOD             HOUSTON         TX   77002    HOSPITAL (FEDERAL)    BM4193823    3,700    3,640    2,800    2,800    2,800    3,800    3,257    19,540

100054102   037010538   MAXOR-H PHARMACY/HMO                  HOUSTON         TX   77002       MAIL SERVICE       BM4193823              100      100              2,400    1,100     925      3,700

100055035   037066456   (CRD)MAXOR-H PHARMACY/DOD RTN         HOUSTON         TX   77002    HOSPITAL (FEDERAL)    BM4193823                       700                                 700       700

100054521   037055319   MAXOR-N PHARMACY/CONT/DOD             HOUSTON         TX   77058    HOSPITAL (FEDERAL)    BM4193835   10,200   14,900   12,900   15,000    8,700   10,300   12,000    72,000

100054870   037066415   (CRD)MAXOR-N PHARMACY/DOD/RTN         HOUSTON         TX   77058    HOSPITAL (FEDERAL)    BM4193835    1,000              600                                 800      1,600

100058515   044000109   PHARMAX PHARMACY #1343     PFOA      LEADINGTON       MO   63601       INDEPENDENT        BM4241939   20,900   24,900   21,200   20,400   21,200   18,500   21,183   127,100

100104975   021172890   MERCY HOSP PHCY - COU BLUFF         COUNCIL BLFS      IA   51503         HOSPITAL         BM4289600    1,500    1,250    1,950    1,400    2,280     400     1,463     8,780

100104976   021172908   MERCY HOSP PHCY - COU BLUFF OP      COUNCIL BLFS      IA   51503         HOSPITAL         BM4289600     100      200      300      100                        175       700

100104978   021172916   MERCY HOSP PHCY - COU BLUFFWAC      COUNCIL BLFS      IA   51503         HOSPITAL         BM4289600              200                                  -       100       200

100106887   021173773   MIAMI COUNTY MEDICAL CTR               PAOLA          KS   66071         HOSPITAL         BM4306545     600      500      500      300              1,300     640      3,200

100061184   044065474   MEDICAL ARTS PHARMACY               SCOTTSBURG        IN   47170       INDEPENDENT        BM4310758   16,800   16,600   16,700   19,700   10,200   14,500   15,750    94,500

100063408   046061325   MAXI-CARE, INC. #2                 BOYNTON BEACH      FL   33426     LONG TERM CARE       BM4332071    2,700    5,000    3,500    6,100   15,000             6,460    32,300

100074098   019103663   MAPLEWOOD OF SAUK PRAIRIE             SAUK CITY       WI   53583     LONG TERM CARE       BM4343771    1,100    1,600    1,400    1,600    1,100     300     1,183     7,100

100070521   018140418   METH SPEC/TRANSPLANT HOSP HCA        SAN ANTONIO      TX   78229         HOSPITAL         BM4362137    5,800    3,800    4,800    7,200    2,380    5,100    4,847    29,080

100088487   046040535   MEDICINE SHOPPE XUBEX PHARMACY      WINTER PARK       FL   32792       INDEPENDENT        BM4362834    8,700   11,400    9,300    9,000    2,000    1,000    6,900    41,400

100093841   046043679   MEDICINE SHOPPE XUBEX PHCY HPG      WINTER PARK       FL   32792       INDEPENDENT        BM4362834                                        2,200    7,200    4,700     9,400

100071658   018140517   NORTHEAST METHODIST HOSP HCA          LIVE OAK        TX   78233         HOSPITAL         BM4365498    5,100    4,950    4,600    5,000    4,500    3,200    4,558    27,350

100066759   049175869   MAIN STREET PHARMACY       CPA        MARLETTE        MI   48453       INDEPENDENT        BM4379776    3,900    6,200   20,500     100    10,200    1,000    6,983    41,900

100054773   010045351   MAHONING VALLEY INFUSION CARE       YOUNGSTOWN        OH   44505   HOME HEALTH SERVICES   BM4379992     700      400      100      800     1,300    1,200     750      4,500

100061756   023013235   M & F PHARMACY INC (ARX)              BROOKLYN        NY   11216       INDEPENDENT        BM4380907                       300      200                        250       500

100071474   018140475   METROPOLITAN METHODIST      HCA      SAN ANTONIO      TX   78212         HOSPITAL         BM4382494    6,800    8,350    7,300    7,600    6,590    5,400    7,007    42,040

100064483   052041335   MOUNTAIN CITY PHARMACY              MOUNTAIN CITY     TN   37683       INDEPENDENT        BM4383826   16,200   23,700   24,200   18,700   33,500   14,800   21,850   131,100

100111053   010001881   MARSH DRUGS #7075/808                  MUNCIE         IN   47304          CHAIN           BM4387406                                       11,220   12,700   11,960    23,920

100057154   019051698   MEDWORKS PHARMACY                    SHELBYVILLE      IN   46176     LONG TERM CARE       BM4393485    8,000   10,500   12,100   17,000             9,900   11,500    57,500

100089938   010224055   MERDIA SO PT HOSP POINT B DISC    WARRENSVILLE HTS    OH   44122         HOSPITAL         BM4400379     500      200      400      400      500      900      483      2,900

100068212   010176016   MERDIA SOUTH POINTE HOSP PT B     WARRENSVILLE HEIG   OH   44122         HOSPITAL         BM4400379     200      300      500               760      760      504      2,520

100071684   018175943   CITYPLEX PHCY                          TULSA          OK   74133         HOSPITAL         BM4412742    8,400    7,400   16,900   13,000             5,600   10,260    51,300
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100070519   018140384   METHODIST HOSPITAL       HCA         SAN ANTONIO    TX   78229       HOSPITAL         BM4421183   15,800   17,500   18,000   15,800   15,900   15,360   16,393    98,360

100111046   010001873   MARSH DRUGS #7047/809                LAFAYETTE      IN   47905         CHAIN          BM4465844                                        3,500    2,100    2,800     5,600

100058516   044000117   PHARMAX PHARMACY #1365              BONNE TERRE     MO   63628     INDEPENDENT        BM4472712   16,300   16,100   16,100   16,400   15,500   11,200   15,267    91,600

100060017   052160358   MILNER-RUSHING EXPRESS PHCYSF         FLORENCE      AL   35630     INDEPENDENT        BM4483311   12,500   13,600   17,700    4,000    5,000    8,000   10,133    60,800

100068185   049149906   *SAINT JOSEPH MERCY LIVINGSTON         HOWELL       MI   48843       HOSPITAL         BM4516259    4,300    5,500    4,100    4,400     500              3,760    18,800

100089762   052213934   MINNIS DRUG STORE INC    SF         MORRISTOWN      TN   37815     INDEPENDENT        BM4517807   15,100   13,000   15,000    7,500   12,000   12,800   12,567    75,400

100104050   041153270   BON SEC MARYVIEW MED CT OP WAC      PORTSMOUTH      VA   23707   PHS 340B HOSPITAL    BM4520626     500     1,500     500     1,500    1,500    2,200    1,283     7,700

100096388   041152785   BON SEC MARYVIEW MED CT(OP340B      PORTSMOUTH      VA   23707   PHS 340B HOSPITAL    BM4520626     900     1,100    1,000                               1,000     3,000

100064224   023072264   BAYLEY SETON HOSPITAL (DOD)         STATEN ISLAND   NY   10305   HOSPITAL (FEDERAL)   BM4536718     100      200      900      300              1,100     520      2,600

100071922   023101915   MAXOR NATIONAL PHCY SERV CORP       STATEN ISLAND   NY   10305     MAIL SERVICE       BM4536718     200      100      100     1,100              200      340      1,700

100051861   008040725   MCKEE MEDICAL PHCY, INC CPA           SAN JOSE      CA   95116     INDEPENDENT        BM4571320    2,100    2,200    5,500    1,100    1,600    2,000    2,417    14,500

100059423   010098814   MENIFEE COUNTY PHARMACY APSC        FRENCHBURG      KY   40322     INDEPENDENT        BM4583084    6,200    7,200    6,900    6,500    8,000    6,400    6,867    41,200

100105823   046058727   MANATEE MEMORIAL HOSPITAL            BRADENTON      FL   34208       HOSPITAL         BM4595267    2,600    3,000    2,400    3,800    2,200    2,820    2,803    16,820

100056304   032043174   MEDICINE MAN SOUTHWEST PHRMCY        POST FALLS     ID   83854     INDEPENDENT        BM4637851    9,100    9,600   10,000    9,000   12,500   11,000   10,200    61,200

100054577   017052415   MED NOW EAGLE                          EAGLE        ID   83616     INDEPENDENT        BM4663476    4,530    3,000    3,030    1,560    4,000    2,500    3,103    18,620

100096468   017096388   MEDNOW PHARMACY 340B                   EAGLE        ID   83616   PHS 340B HOSPITAL    BM4663476     500              1,000                                750      1,500

100067367   021006122   LINCOLN HIGHWAY PHCY       SF         CARROLL       IA   51401     INDEPENDENT        BM4669985    5,500    7,500   13,500    6,000    7,500     700     6,783    40,700

100088010   021166371   LINCOLN HIGHWAY PHCY LTC SF           CARROLL       IA   51401     INDEPENDENT        BM4669985     500                                                   500       500

100069599   021130104   MADONNA REHABILITATION CTR             LINCOLN      NE   68506       HOSPITAL         BM4680939    6,100    6,300    6,900    5,200    3,040    3,800    5,223    31,340

100054574   017050419   MED NOW PHARMACY #2(ER)                NAMPA        ID   83686       HOSPITAL         BM4733906    7,200    6,600    5,100   10,600    2,400    4,300    6,033    36,200

100054163   010044149   MEDCENTRAL HEALTH SYSTEM               SHELBY       OH   44875       HOSPITAL         BM4737992     500      300      400      200      720               424      2,120

100056812   021036533   MANSMITH PHCY INC       CPA         EMMETSBURG      IA   50536     INDEPENDENT        BM4744656    7,500    4,500    5,500    6,000    5,300    6,400    5,867    35,200

100058054   044046268   MEDICAP PHARMACY-CLARKSDALE,MS       CLARKSDALE     MS   38614     INDEPENDENT        BM4785599   37,000   31,000   17,500   16,500   38,580   28,000   28,097   168,580

100053642   010052746   MINNIE HAMILTON HEALTH CARE         GRANTSVILLE     WV   26147       HOSPITAL         BM4821775     100      100      100      300                        150       600

100070513   046141226   MEM HSP OF JACKSONVILLE #712        JACKSONVILLE    FL   32216       HOSPITAL         BM4834621    3,000    3,550    3,200    3,300    5,400    2,480    3,488    20,930

100068187   021146142   MERCY CARE IV                        SIOUX CITY     IA   51101       HOSPITAL         BM4837045                                                  200      200       200

100070395   021143115   MARSHALL MEDICINE PHARMACY CPA        MARSHALL      AR   72650     INDEPENDENT        BM4853099   19,100   23,700    3,000   13,800   22,600    9,200   15,233    91,400

100052999   052094474   MEDICINE SHOPPE                      HUNTSVILLE     AL   35805     INDEPENDENT        BM4869698    8,100    3,000    1,080   14,000   21,400   18,100   10,947    65,680

100068598   040143701   MEDICAP PHARMACY: GRAY        CPA       GRAY        GA   31032     INDEPENDENT        BM4949838    2,000              100                20       20      535      2,140

100091309   037129858   MEMORIAL MED CTR SAN AUGUSTINE      SAN AUGUSTINE   TX   75972       HOSPITAL         BM5042762                                400                        400       400

100111061   010001890   MARSH DRUGS #7096/812                  MUNCIE       IN   47304         CHAIN          BM5062207                                       14,200   12,000   13,100    26,200

100111060   010001889   MARSH DRUGS #7093/810               INDIANAPOLIS    IN   46220         CHAIN          BM5062207                                         700      600      650      1,300

100067143   021046458   MERCY HLTH CTR-CAMPUS      /CONS     MANHATTAN      KS   66502       HOSPITAL         BM5102669    1,800    2,400    1,100    2,600    2,400    1,800    2,017    12,100

100068188   049149930   MUNSON COMMUNITY HLTH CTR PHCY      TRAVERSE CITY   MI   49686     INDEPENDENT        BM5116036   34,200   36,800   29,000   50,900   29,630   20,700   33,538   201,230

100108902   049196782   MUNSON SERVICES INC 340B            TRAVERSE CITY   MI   49686    PHS 340B CLINIC     BM5116036    1,000    1,000    1,000    1,000                      1,000     4,000

100065414   018080382   MERCY MEMORIAL HEALTH CTR             ARDMORE       OK   73401       HOSPITAL         BM5118078    3,000    2,200    3,800   11,500                      5,125    20,500

100073047   018166686   MERCY MEMORIAL HEALTH CTR PHS         ARDMORE       OK   73401   PHS 340B HOSPITAL    BM5118078     500      300      600      300                        425      1,700

100089692   012103242   MEDICAL MALL PHARMACY                LONG BEACH     CA   90813       HOSPITAL         BM5147726    2,500    3,300    2,200    3,900    3,700    6,500    3,683    22,100

100089690   012103226   MEDICAL MALL PHCY ADAP S/T340B       LONG BEACH     CA   90813    PHS 340B CLINIC     BM5147726    1,800    2,000    1,400    1,600                      1,700     6,800

100089559   012103416   ATLANTIC PROF PHARMACY               LONG BEACH     CA   90813       HOSPITAL         BM5147738   17,600   15,600   17,400   11,700   22,700   19,000   17,333   104,000

100089560   012103424   ATLANTIC PROF PHARMACY-340B ST       LONG BEACH     CA   90813   PHS 340B HOSPITAL    BM5147738    1,800    4,400    4,500    1,400                      3,025    12,100

100070674   018144550   STANLEY PHARMACY        CPA            SEARCY       AR   72143     INDEPENDENT        BM5149631   17,000   18,300   55,100    2,300   26,700    2,460   20,310   121,860

100056563   038300178   CENTURA HLTH PHCY STMARYRETAIL         PUEBLO       CO   81004       HOSPITAL         BM5174038    8,400    4,900    7,300    4,600    5,700    2,900    5,633    33,800

100056091   040040352   MEDICAL CENTER PHARMACY               VALDOSTA      GA   31602       HOSPITAL         BM5181386    6,900    6,000    6,500    6,800    8,600    7,200    7,000    42,000
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100067032   044039909   MERCY PHCY-TESSON FERRY I-270       SAINT LOUIS     MO   63128       HOSPITAL         BM5192175    2,600    1,000    2,000    5,000             1,500    2,420    12,100

100067198   044039925   MERCY PHCY-TOWER A BALLAS           SAINT LOUIS     MO   63141       HOSPITAL         BM5203067   13,100   13,450   11,600   14,800   13,000   12,800   13,125    78,750

100064908   010055384   EXPRESS SCRIPTS PHARMACY, INC       COLUMBUS        OH   43228     MAIL SERVICE       BM5206001   43,000   51,800   52,800   98,200     600             49,280   246,400

100052481   010055376   EXPRESS SCRIPTS PHARMACY, INC       COLUMBUS        OH   43228     MAIL SERVICE       BM5206001              400                      13,200   13,600    9,067    27,200

100090248   010224568   MERCY MEMORIAL HOSP IP               URBANA         OH   43078       HOSPITAL         BM5218474     600               700               640               647      1,940

100110647   023161943   METHODIST HOSPITAL DIV, TJUH       PHILADELPHIA     PA   19148       HOSPITAL         BM5266639                                         560               560       560

100110649   023161968   METHODIST HSP DIV, TJUH (WAC)      PHILADELPHIA     PA   19148       HOSPITAL         BM5266639                       200      100                        150       300

100077065   055053074   MOUNTAIN AREA HOSPICE               ASHEVILLE       NC   28803       HOSPITAL         BM5282570     100                                                   100       100

100056335   046000463   MERIT PHARMACY INC               LAUDERDALE LAKES   FL   33313     INDEPENDENT        BM5282619     100                                          500      300       600

100066515   049047779   MISSION PHARMACY LLC             MOUNT PLEASANT     MI   48858     INDEPENDENT        BM5316674   32,000   25,400   27,700   35,400   24,000   25,400   28,317   169,900

100076785   023109892   MEDILANE PHCY CORP(X)(B)(GNP)       NEW YORK        NY   10002     INDEPENDENT        BM5399894                                                  200      200       200

100055972   010000646   MEDICINE SHOPPE                    AUSTINTOWN       OH   44515     INDEPENDENT        BM5611428    4,300    4,600    2,700    4,500    6,700    1,700    4,083    24,500

100050785   052062240   MILLRY DRUG 2070 #                    MILLRY        AL   36558     INDEPENDENT        BM5630074             3,000                                        3,000     3,000

100066525   049049775   SPARROW HOSP-ST LAWRENCE CAMP.       LANSING        MI   48915       HOSPITAL         BM5631482     800     1,300     700      700      280      200      663      3,980

100101354   049194571   SPARROW HOSPITAL WAC                 LANSING        MI   48915   PHS 340B HOSPITAL    BM5631482     300                                1,160     760      740      2,220

100065729   049071415   SPARROW HOSPITAL - 340B              LANSING        MI   48915   PHS 340B HOSPITAL    BM5631482     100      100      100      300                        150       600

100055319   046000810   MEDICAL TECH TRANS CORP             MELBOURNE       FL   32901        ALT SITE        BM5633842    6,000    6,700    5,700    6,100    5,520    5,700    5,953    35,720

100055361   018023002   MAXOR PHARMACIES DOD                AMARILLO        TX   79101   HOSPITAL (FEDERAL)   BM5645354   17,100   16,300   10,400   12,600    9,500    8,800   12,450    74,700

100055407   018080770   (CRD)/MAXOR MAIL ORDER-DOD          AMARILLO        TX   79101   HOSPITAL (FEDERAL)   BM5645354     200              2,500                               1,350     2,700

100068189   019146217   MERCY FAMILY PHCY RUEGNITZ2          DUBUQUE        IA   52001       HOSPITAL         BM5671640    4,000    2,500    2,800    2,800    5,300    3,800    3,533    21,200

100061923   025022681   SMDC MEDICAL CENTER                  DULUTH         MN   55805       HOSPITAL         BM5676070     700      600      500      700      600      480      597      3,580

100104048   025091355   SDMC MEDICAL CENTER WAC              DULUTH         MN   55805   PHS 340B HOSPITAL    BM5676070     100      600               300                        333      1,000

100073087   025036756   SMDC MEDICAL CENTER 340B             DULUTH         MN   55805   PHS 340B HOSPITAL    BM5676070     100      200      100      200                        150       600

100070495   018140566   OU MEDICAL CENTER PHARMACY        OKLAHOMA CITY     OK   73104       HOSPITAL         BM5689647   10,700   13,000   13,400   12,500   14,800   12,620   12,837    77,020

100066734   052056630   MEDAUS, INC.                       BIRMINGHAM       AL   35242     INDEPENDENT        BM5694612     200      100      100      100               200      140       700

100056220   032041384   MEDICINE MAN NORTH PHCY PRAIRI       HAYDEN         ID   83835     INDEPENDENT        BM5701215   11,600   12,600   12,500   14,000   13,600   13,000   12,883    77,300

100107469   032152520   MEDICINE MAN PRAIRIE PHCY 340B       HAYDEN         ID   83835    PHS 340B CLINIC     BM5701215    3,500    2,000    2,500    2,000                      2,500    10,000

100088582   010222307   CCF MARYMOUNT ASC                GARFIELD HEIGHTS   OH   44125       HOSPITAL         BM5714971                                100       80                90       180

100051381   008034298   *MIDTOWN PHARMACY                    OAKLAND        CA   94607    LONG TERM CARE      BM5766730    3,700                                                 3,700     3,700

100111041   010001868   MARSH DRUGS #7034/815               ZIONSVILLE      IN   46077         CHAIN          BM5773797                                        6,600    3,500    5,050    10,100

100111051   019001879   MARSH DRUGS #7066/824                KOKOMO         IN   46902         CHAIN          BM5823225                                       14,200   13,000   13,600    27,200

100111040   019001866   MARSH DRUGS #7031/814                MARION         IN   46952         CHAIN          BM5823237                                       23,800   23,300   23,550    47,100

100075482   037117804   MISSION PLAZA PHARMACY                ALTON         TX   78573     INDEPENDENT        BM5826156    1,000    1,000     500                                 833      2,500

100057304   052300046   MEMORIAL NORTH PARK HOSPITAL          HIXSON        TN   37343       HOSPITAL         BM5838428    1,000     550      900      900      960     1,220     922      5,530

100055337   040041012   MURRAY MED CTR INC ATTN PHCY       CHATSWORTH       GA   30705       HOSPITAL         BM5839165     200      100      300      200      200      100      183      1,100

100111035   010001861   MARSH DRUGS #7014/816                CARMEL         IN   46032         CHAIN          BM5844849                                        1,500    1,300    1,400     2,800

100071799   040140129   COLISEUM NORTHSIDE HOSP #712          MACON         GA   31210       HOSPITAL         BM5879335    1,000     500      800      850     1,100    1,180     905      5,430

100060498   044082610   PHARMACY ARTS        APSC          SCOTTSVILLE      KY   42164     INDEPENDENT        BM5906372   19,000   25,000   22,000   12,500   54,400   19,000   25,317   151,900

100068190   019146233   MERCY FAMILY PHARMACY-CASCADE        CASCADE        IA   52033     INDEPENDENT        BM5949168    1,900    2,000    2,000    2,000    2,100    1,100    1,850    11,100

100068191   021146159   MERCY MED CTR-SIOUX CITY            SIOUX CITY      IA   51101       HOSPITAL         BM5964968    4,200    3,700    3,050    2,900    3,940    2,100    3,315    19,890

100061288   023013821   MAUCH CHUNK PHARMACY-Z (GNP)        JIM THORPE      PA   18229     INDEPENDENT        BM6002935   12,100    6,900    6,700   11,100    9,900    8,800    9,250    55,500

100059576   044064527   US ARMY-FT KNOX MAIN PX-PHCY        FORT KNOX       KY   40121   HOSPITAL (FEDERAL)   BM6031900   25,400   24,900   24,200   39,600   12,000   22,800   24,817   148,900

100051863   008041038   MEDICAL ARTS PHCY      S5 3GU      SAN LEANDRO      CA   94578     INDEPENDENT        BM6071699   21,600   24,800   19,600   22,000   27,100   18,700   22,300   133,800

100061132   040094540   MOORE HEALTH, INC                    MADISON        GA   30650     INDEPENDENT        BM6086246    7,200    8,900    7,800    8,000    8,700    6,000    7,767    46,600
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100063556   019006361   AMC KENOSHA (I/P)                     KENOSHA         WI   53142       HOSPITAL        BM6142222    1,200    1,900    1,100    1,100    2,000    1,100    1,400     8,400

100053087   024044255   KOMOTO MEDICAL PHARMACY              BAKERSFIELD      CA   93301     INDEPENDENT       BM6144620    3,800    2,000     100      700    27,000   10,300    7,317    43,900

100101086   024119826   KOMOTO MEDICAL PHARMACY 340B         BAKERSFIELD      CA   93301       ALT SITE        BM6144620     200      100      100      100                        125       500

100101086   024119826   KOMOTO MEDICAL PHARMACY 340B         BAKERSFIELD      CA   93301   PHS 340B HOSPITAL   BM6144620                                                  300      300       300

100054575   017051417   MEDNOW PHARMACY #4                     NAMPA          ID   83687     INDEPENDENT       BM6152538    4,600    4,100    4,200    8,500    5,000    6,400    5,467    32,800

100068258   044143180   MEDCARE PHCY AND HOME MED CPA         WICKLIFFE       KY   42087     INDEPENDENT       BM6165737   16,500   14,700   17,300   13,200   19,400   10,000   15,183    91,100

100066231   044143032   MEDCARE PHCY AND HOME MED CPA         ARLINGTON       KY   42021     INDEPENDENT       BM6165749   11,200    5,700   10,100    6,600   11,100    9,000    8,950    53,700

100111043   010001870   MARSH DRUGS #7041/789                INDIANAPOLIS     IN   46250        CHAIN          BM6184270                                        1,100    1,600    1,350     2,700

100066039   021027433   MERCY MED PLZ PHCY INDEPENDNCE      INDEPENDENCE      KS   67301       HOSPITAL        BM6218766    7,300    5,500    5,100    8,600    4,740    3,000    5,707    34,240

100064574   052040725   MUGFORD PHCY INC        SF            KNOXVILLE       TN   37920     INDEPENDENT       BM6231916    7,000    7,500    7,500    7,500    9,500    4,000    7,167    43,000

100083262   010195222   MAIN STREET PHARMACY CPA               OAK HILL       WV   25901     INDEPENDENT       BM6243846   14,000   12,500   11,000   15,000   15,500   12,200   13,367    80,200

100054581   017053785   MEDICAL CENTER PHARMACY/G           SALT LAKE CITY    UT   84102     INDEPENDENT       BM6273685    5,600    4,300    4,200    4,500    3,500    2,100    4,033    24,200

100057237   021300202   MERCY SPECIALTY CARE PHARMACY        DES MOINES       IA   50310   LONG TERM CARE      BM6317348     200                                                   200       200

100065264   021052167   KRIBBS FAMILY PHARMACY                MOBERLY         MO   65270     INDEPENDENT       BM6346743    8,600    9,300   12,300    2,600   12,400    2,500    7,950    47,700

100052551   010053926   MERCY PROFESSIONAL PHARMACY            CANTON         OH   44708     INDEPENDENT       BM6373423    7,100    4,500    5,800    5,500    5,000    5,100    5,500    33,000

100052550   010053918   MERCY MEDICAL CENTER                   CANTON         OH   44708       HOSPITAL        BM6373435    5,000    4,700    3,200    3,700   10,320    2,720    4,940    29,640

100106579   024119453   MEDICAL GROUP PHARMACY              PANORAMA CITY     CA   91402     INDEPENDENT       BM6452546    3,000    2,500    4,000    2,000    2,500     200     2,367    14,200

100111038   010001864   MARSH DRUGS #7021/818                 ZIONSVILLE      IN   46077        CHAIN          BM6496283                                        3,400    2,700    3,050     6,100

100071247   041171389   MONUMENT PHARMACY INC(X)(B)           BALTIMORE       MD   21224   LONG TERM CARE      BM6518041     100                                 100      100      100       300

100085522   044201368   SENIOR SCRIPTS                      CHESTERFIELD      MO   63005   LONG TERM CARE      BM6543169   23,300   20,600   29,000   23,150   31,780   22,700   25,088   150,530

100067895   018161653   MINDEN MEDICAL CENTER     #712         MINDEN         LA   71055       HOSPITAL        BM6554249     500     1,000     900     3,250     400      320     1,062     6,370

100064139   019001511   MARYVILLE ACADEMY (INPATIENT)        DES PLAINES      IL   60016       HOSPITAL        BM6563919                       100                        100      100       200

100111037   010001863   MARSH DRUGS #7020/819               BROWNSBURG        IN   46112        CHAIN          BM6584583                                        5,400    3,100    4,250     8,500

100060491   044094482   MEDICAL CENTER OF MANCHESTER         MANCHESTER       TN   37355       HOSPITAL        BM6586260     500      200      200     1,200              400      500      2,500

100054220   038051904   MCPN PHARMACY/JEFFCO CL/PHS           LAKEWOOD        CO   80215    PHS 340B CLINIC    BM6636623    2,700    3,000    2,800    2,500    2,000    3,000    2,667    16,000

100064295   018065649   BROKEN ARROW FAMILY DRUG,           BROKEN ARROW      OK   74012     INDEPENDENT       BM6652184    9,200   10,500    8,500    9,000   11,600    7,000    9,300    55,800

100089310   018204529   MITCHELL'S PARK ST PHCY CPA          CALICO ROCK      AR   72519     INDEPENDENT       BM6661587    5,200     300    35,200     500      200     6,500    7,983    47,900

100075092   010185777   MEDICAL CENTER PHARMACY             PRESTONSBURG      KY   41653       HOSPITAL        BM6664470    5,000    4,800    5,900    4,400    4,800    3,900    4,800    28,800

100067957   010141747   METROHEALTH BUCKEYE CTR 340B         CLEVELAND        OH   44120   PHS 340B HOSPITAL   BM6680121    4,500    2,000    2,500    1,500     700     1,100    2,050    12,300

100068231   019142067   MACNEAL HOSPITAL-IP                    BERWYN         IL   60402       HOSPITAL        BM6686426    4,500    3,500    5,000    4,400    5,400    4,800    4,600    27,600

100052489   020029942   WALTON DRUG                           SAFFORD         AZ   85546     INDEPENDENT       BM6687454     400      400      300      900    11,300   10,300    3,933    23,600

100111031   052001860   MILL STREET PHARMACY      SF            BOAZ          AL   35957     INDEPENDENT       BM6710518                                       17,700   17,000   17,350    34,700

100091363   010225904   MEDICINE SHOPPE APSC                 SPRINGBORO       OH   45066     INDEPENDENT       BM6714629    5,800    7,200    4,600    5,300   12,200    1,000    6,017    36,100

100086392   018196030   MARSHALL ROAD PHARMACY CPA          JACKSONVILLE      AR   72076     INDEPENDENT       BM6751704   11,600   10,400   11,400    9,300   12,400   11,900   11,167    67,000

100056217   032041269   MEDICINE MAN RATHDRUM PHARMAC         RATHDRUM        ID   83858     INDEPENDENT       BM6790011    6,500   12,100   11,600   26,500    5,700   15,400   12,967    77,800

100107462   032152496   MEDICINE MAN RATHRDUM 340B            RATHDRUM        ID   83858    PHS 340B CLINIC    BM6790011    8,000    2,000    5,000    2,000                      4,250    17,000

100052826   026064576   MEGA DRUG #2                           DEDEDO         GU   96929     INDEPENDENT       BM6803034    1,100             2,400    1,700    1,300             1,625     6,500

100063045   021002238   HAYS MEDICAL CENTER DBA                 HAYS          KS   67601     INDEPENDENT       BM6812920    1,500    2,000    2,000    3,000    2,500    1,600    2,100    12,600

100067171   044143016   MEDICATE CENTRAL PHARMACY CPA      WASHINGTON PARK    IL   62204     INDEPENDENT       BM6835334    9,500    6,400   10,400    6,600    8,200    4,700    7,633    45,800

100067172   044143024   MEDICATE PHARMACY,INC        CPA   EAST SAINT LOUIS   IL   62201     INDEPENDENT       BM6835360    4,000    2,600    3,700    1,900    2,200    1,000    2,567    15,400

100052755   044000125   PHARMAX PHARMACY #1108 PFOA            PACIFIC        MO   63069     INDEPENDENT       BM6898398   15,600   14,300   13,600   15,100   11,500   12,200   13,717    82,300

100054889   010000778   MISSION PHARMACY SERVICES            KITTANNING       PA   16201   LONG TERM CARE      BM6937140    2,000                      2,500     200              1,567     4,700

100066813   046040469   NORTH BAY HOSPITAL CENTER          NEW PORT RICHEY    FL   34652       HOSPITAL        BM6949599    1,600    1,100    1,300    1,200    1,420    1,820    1,407     8,440

100111047   010001874   MARSH DRUGS #7054/820               BLOOMINGTON       IN   47408        CHAIN          BM6957178                                        7,200    6,000    6,600    13,200
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100071923   023101923   MAXOR NATIONAL PHCY SVSC CORP        GARDEN CITY    NY   11530     MAIL SERVICE      BM6975493     100       100      200      300                        175        700

100059353   041069278   MAC ARTHUR PHCY (X) (EPIC) R53         NORFOLK      VA   23510     INDEPENDENT       BM6999758    1,900     3,100     400     2,000             1,800    1,840      9,200

100088215   021010009   MERCY FAMILY PHCY REGENCY 340B        MASON CITY    IA   50401   PHS 340B HOSPITAL   BM7047788    6,100     8,500    3,500    9,000    3,500    8,000    6,433     38,600

100068196   021146209   MERCY FAMILY PHCY-REGENCY             MASON CITY    IA   50401   LONG TERM CARE      BM7047788    1,500     3,600    3,500             7,500    1,000    3,420     17,100

100085642   023103382   MAIO'S MEDICINE CHEST (ARX)           MANALAPAN     NJ   07726     INDEPENDENT       BM7048273     500      1,400    1,300     500      800     1,400     983       5,900

100092537   046043091   INTERNATIONAL GARDEN PHARM              MIAMI       FL   33184     INDEPENDENT       BM7065142     100       100      100                                 100        300

100072573   021115832   MERCY LONG TERM CARE PHARMACY         MASON CITY    IA   50401   LONG TERM CARE      BM7076638    3,000     5,000    3,700    3,200   10,000    3,500    4,733     28,400

100109218   021175414   MERCY LONG TERM CARE PHCY 340B        MASON CITY    IA   50401   PHS 340B HOSPITAL   BM7076638                        500                                 500        500

100063701   021054973   MANHATTAN SURGICAL HOSP PREM          MANHATTAN     KS   66502       HOSPITAL        BM7082150     300       500      800      500      700      180      497       2,980

100065930   008023036   MADERA MEDICAL PHCY                    MADERA       CA   93637     INDEPENDENT       BM7105908   17,800    26,900   20,100   22,800   18,000     800    17,733    106,400

100065999   008058263   MADERA MED PHCY/HOME CAREINST          MADERA       CA   93637     INDEPENDENT       BM7105908                                         6,200   25,700   15,950     31,900

100086639   008102426   MADERA MEDICAL PHARMACY 340B           MADERA       CA   93637    PHS 340B CLINIC    BM7105908    1,300     1,600    2,800     800                       1,625      6,500

100055977   046004085   MARE INC                               HIALEAH      FL   33012     INDEPENDENT       BM7154812    1,300      200                                          750       1,500

100055973   010000653   MEDICINE SHOPPE                       BOARDMAN      OH   44512     INDEPENDENT       BM7161944              1,500     500     1,500    2,000    1,800    1,460      7,300

100069504   056090308   MITHANI BHARATI T MD(340BCOOP)        VOORHEES      NJ   08043   PHS 340B HOSPITAL   BM7191682                                                   160      160        160

100105840   037134296   MCALLEN MEDICAL CENTER                MC ALLEN      TX   78503       HOSPITAL        BM7195185    2,100     1,900    2,000    2,100    1,500    1,020    1,770     10,620

100105839   037134288   MCALLEN MEDICAL HEART HOSPITAL        MC ALLEN      TX   78503       HOSPITAL        BM7207423     500       400      400      300      380      800      463       2,780

100066777   055175851   MONCKS CORNER MEDICAL CTR #779      MONCKS CORNER   SC   29461       HOSPITAL        BM7244495               100      100                        160      120        360

100068603   040143743   MURRAYVILLE PHARMACY          CPA    MURRAYVILLE    GA   30564     INDEPENDENT       BM7255474    5,600     3,200    4,700   18,000     300      200     5,333     32,000

100074622   019160374   MIKHAEEL, HANY G MD                   MILWAUKEE     WI   53220       HOSPITAL        BM7259991     (100)                                                  (100)      (100)

100105836   037134270   SO. TEXAS BEHAVIORAL HLTH CTR         EDINBURG      TX   78539       HOSPITAL        BM7321641     400       600      400      700      500      400      500       3,000

100105835   037134262   EDINBURG REGIONAL MED CENTER          EDINBURG      TX   78539       HOSPITAL        BM7360085    1,000      700      750     1,100     660      400      768       4,610

100052191   010050294   MED CARE PHARMACY LLC                 FLORENCE      KY   41042   LONG TERM CARE      BM7378866   53,100    56,600   64,600   54,200   46,000   61,900   56,067    336,400

100111062   010001892   MARSH DRUGS #7101                     PENDLETON     IN   46064        CHAIN          BM7407201                                         8,400    7,600    8,000     16,000

100111063   010001893   MARSH DRUGS #7104                    INDIANAPOLIS   IN   46278        CHAIN          BM7407213                                         2,700    2,300    2,500      5,000

100086405   041138560   MOORE'S PHARMACY(GENERICS)           MARTINSBURG    WV   25404     INDEPENDENT       BM7408633    7,000     4,600    7,000    2,000               -      4,120     20,600

100075251   041128991   MOORE'S PHARMACY(Z)                  MARTINSBURG    WV   25404     INDEPENDENT       BM7408633     100        60                60     3,900    3,220    1,468      7,340

100090242   049188102   MERCY HOSPITAL OF DEFIANCE LLC        DEFIANCE      OH   43512       HOSPITAL        BM7415195     300       200      300      200      500      200      283       1,700

100060537   023030734   MALCOLM PHARMACY,INC. (ARX)           NEW YORK      NY   10026     INDEPENDENT       BM7420994                                 600      100      200      300        900

100072963   018092627   MED STORE LLP,         SF            FORT WORTH     TX   76111     INDEPENDENT       BM7428750   10,000    11,500    9,500   15,000    9,000   13,000   11,333     68,000

100076249   044100164   MEDICINE EXPRESS INC                  BELLEVILLE    IL   62226   LONG TERM CARE      BM7437999   15,400     9,800    7,200    3,100     400     5,200    6,850     41,100

100111065   010001895   MARSH DRUGS #7116/829                  FISHERS      IN   46037        CHAIN          BM7524932                                         1,700    1,200    1,450      2,900

100111044   010001871   MARSH DRUGS #7044/828                GREENWOOD      IN   46143        CHAIN          BM7524944                                         5,100    3,700    4,400      8,800

100072753   018143156   BONHAM FAMILY DRUG          CPA        BONHAM       TX   75418     INDEPENDENT       BM7556434   22,700    13,500   20,500    3,500   13,500   12,000   14,283     85,700

100052825   026064568   MEGA DRUG                             TAMUNING      GU   96913     INDEPENDENT       BM7564140    2,100     2,600    2,000    7,300    3,600    4,000    3,600     21,600

100056508   038066548   IRIS PHCY         SF                   BOULDER      CO   80304     INDEPENDENT       BM7631143     300       500      400      200      500               380       1,900

100109684   018405191   MAXWELL PHARMACY            CPA       FRANKSTON     TX   75763     INDEPENDENT       BM7646132   15,200    16,100   12,000   14,600    9,000   11,000   12,983     77,900

100067275   021005918   MILLER MEDICINE CABINET CPA            KALONA       IA   52247     INDEPENDENT       BM7649190     400       500      500     1,300     800     1,600     850       5,100

100066105   012185553   MEIJI PHARMACY INC                    GARDENA       CA   90247     INDEPENDENT       BM7721613              3,800    7,400    6,900    3,700    3,100    4,980     24,900

100067799   055143636   *SELF-MED RX MAINST PHCY(X)CPA        HIGHLANDS     NC   28741     INDEPENDENT       BM7725419     (100)                                                  (100)      (100)

100071979   018177964   MITCHELL'S MEDIMART         CPA         HOPE        AR   71801     INDEPENDENT       BM7752480   19,400    27,500   33,500   12,500   13,000   15,500   20,233    121,400

100092878   010226506   MEDICINE SHOPPE PHARMACY APSC        NEW CASTLE     PA   16105     INDEPENDENT       BM7772141                                         3,200    1,600    2,400      4,800

100070517   018140368   METH AMB SURG CTR MED CTR HCA        SAN ANTONIO    TX   78229       HOSPITAL        BM7791571                                 100                        100        100

100067894   041145029   MEM HOSP OF MARTINSVILLE #712        MARTINSVILLE   VA   24112       HOSPITAL        BM7805229    1,600     2,300    2,000    1,000    1,800    1,100    1,633      9,800
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100065523   021027359   MERCY HEALTH CTR PHARMACY SOM          FORT SCOTT      KS   66701      HOSPITAL       BM7831779   (1,700)    10,200     8,300    15,500    6,000     8,800     7,850    47,100

100051865   008041871   MENDOCINO VILLAGE PHARMACY CPA         MENDOCINO       CA   95460    INDEPENDENT      BM7839220    6,500      7,600     7,500    21,500    4,000       60      7,860    47,160

100086732   008010678   MENDOCINO VILLAGE PHARMACY340B         MENDOCINO       CA   95460   PHS 340B CLINIC   BM7839220     200       1,000                                             600      1,200

100069610   046141895   WEST MARION COMM HOSPITAL #712           OCALA         FL   34474      HOSPITAL       BM7893743     400        300       700      1,000     920      1,040      727      4,360

100054196   037040162   MAGNOLIA PHARMACY                       MAGNOLIA       TX   77354    INDEPENDENT      BM7982944   15,100     15,500    16,400    18,000   14,500    19,600    16,517    99,100

100096766   021077990   MERCY WEST PHARMACY WAC                   CLIVE        IA   50325    INDEPENDENT      BM7986411    5,200      5,600     6,000     6,500    4,900     5,500     5,617    33,700

100085878   023104141   MEDI CENTER PHARMACY (ARX)           WOODLAND PARK     NJ   07424    INDEPENDENT      BM8012027     500        600       400        -       800       400       450      2,700

100072244   018143602   MEDICINE CHEST INST PHCY CPA         SULPHUR SPRINGS   TX   75482   LONG TERM CARE    BM8062882   79,000    102,500   111,000   111,000   75,500   124,100   100,517   603,100

100104821   018403584   MEDICINE CHST INST PHY GPO CPA       SULPHUR SPRINGS   TX   75482   LONG TERM CARE    BM8062882     500                            500                          500      1,000

100067376   021006320   SUMPTER PHCY & WELLNESS CPA               ADEL         IA   50003    INDEPENDENT      BM8073784    6,000      5,800     4,500     6,000    2,000     4,000     4,717    28,300

100051813   008052860   ELMHURST 2 PHCY    V S2 8G              OAKLAND        CA   94605    INDEPENDENT      BM8119821                                             800      5,000     2,900     5,800

100068199   019146258   MERCY MEDICAL CTR-CLINTON-OP             CLINTON       IA   52732    INDEPENDENT      BM8120088     600       1,400     1,100     1,700     500      1,000     1,050     6,300

100070398   044143347   MCHANEY DRUG, PA        CPA            PARAGOULD       AR   72450    INDEPENDENT      BM8144278   20,300     16,800    19,900    15,700   17,300    18,000    18,000   108,000

100053296   010050732   C & R PHARMACY                        WEST LIBERTY     OH   43357    INDEPENDENT      BM8152528    1,900      2,600     1,500     2,800    3,680     2,700     2,530    15,180

100063181   025006064   MACKENTHUN BECK PHCY INC, CPA           WACONIA        MN   55387    INDEPENDENT      BM8184690    4,500      6,000     3,600     4,000    6,000     3,100     4,533    27,200

100077062   055040956   ASHEVILLE SPECIALTY HOSPITAL            ASHEVILLE      NC   28801      HOSPITAL       BM8191518     200        100       300       100      300                 200      1,000

100062010   046057224   MOULTRIE PHCY, INC.                  SAINT AUGUSTINE   FL   32086    INDEPENDENT      BM8227755    7,500     10,100     7,500     8,000    8,700     7,500     8,217    49,300

100072157   021140103   MENORAH MEDICAL CENTER        #712   OVERLAND PARK     KS   66209      HOSPITAL       BM8263977    3,100      3,050     3,200     2,900    3,320     2,960     3,088    18,530

100060551   041056671   FRITZ'S PHY-WELLNESS CTR(Z)825         RONCEVERTE      WV   24970    INDEPENDENT      BM8273524   24,900     27,800    25,200    28,500   16,000     5,400    21,300   127,800

100059563   044086207   MED CARE PHARMACY LLC, GLASGOW          GLASGOW        KY   42141   LONG TERM CARE    BM8290431   30,300     37,700    46,100    38,100   16,100    39,200    34,583   207,500

100053222   012054098   MED EXPRESS                              PERRIS        CA   92571    INDEPENDENT      BM8304569   13,400     13,000    13,700    11,700   13,500    11,900    12,867    77,200

100052998   024042705   MARCO'S FARMACIA                       LOS ANGELES     CA   90022    INDEPENDENT      BM8319560     200        200       500       900      500       500       467      2,800

100057673   046006569   METOMA CORPORATION DBA                    MIAMI        FL   33174    INDEPENDENT      BM8358360    1,700      2,700     2,500      500                         1,850     7,400

100111042   010001869   MARSH DRUGS #7037                      NOBLESVILLE     IN   46060       CHAIN         BM8379162                                            1,800      600      1,200     2,400

100052828   026064725   MEDIPHARM PHARMACY                      HONOLULU       HI   96813    INDEPENDENT      BM8381460    2,400      3,500     4,200     1,900    3,200     1,100     2,717    16,300

100088171   044207530   MEDICINE PLUS         CPA               BEDFORD        IN   47421    INDEPENDENT      BM8396803   22,800     21,300    26,200    28,300   25,700    22,500    24,467   146,800

100085790   023103788   MCDERMOTT PHARMACY (ARX)                PATERSON       NJ   07502    INDEPENDENT      BM8422848                200       200       100               1,000      375      1,500

100111316   008002159   MODEL DRUG INC      GPO CPA            KINGSBURG       CA   93631    INDEPENDENT      BM8430136                                                      6,000     6,000     6,000

100057247   019300012   MERCY PROFESSIONAL BLDG PHCY             AURORA        IL   60506      HOSPITAL       BM8431429    8,500      9,600    10,500     7,500    6,200     8,000     8,383    50,300

100062171   052048264   MARKS FAMILY PHCY       SF               ONEIDA        TN   37841    INDEPENDENT      BM8436621   27,100     30,100    38,000    39,500    6,500    18,500    26,617   159,700

100088696   018203380   MERIDIAN PHARMACY GROUP, INC           RICHARDSON      TX   75080    INDEPENDENT      BM8456774                100                                              100       100

100071541   023111732   MAXI-CARE PHARMACY INC(Z)               BROOKLYN       NY   11225    INDEPENDENT      BM8484468               1,300     1,200      200      800       800       860      4,300

100075485   037117820   *MISSION PLAZA PHARMACY                  MISSION       TX   78572    INDEPENDENT      BM8524262     100                                                         100       100

100061962   023007526   MEDICAP PHARMACY #348 (Z)               DUNMORE        PA   18512    INDEPENDENT      BM8547664   11,500     11,100    15,000    10,300   10,000    10,900    11,467    68,800

100073722   024007112   PAYLESS PHARMACY        1               ALHAMBRA       CA   91801    INDEPENDENT      BM8601963    2,200      2,800     3,000     2,300    2,000               2,460    12,300

100056654   044095281   MED CARE PHARMACY, LLC               JEFFERSONTOWN     KY   40299   LONG TERM CARE    BM8619415   36,200     34,800    36,700    55,300   32,700    32,900    38,100   228,600

100052546   010053876   MED CARE PHARMACY                       ASHLAND        KY   41102   LONG TERM CARE    BM8694122   31,000     37,000    30,600    36,300   49,200    25,000    34,850   209,100

100057103   056008094   MAX-WELL PHARMACY SERVICES GNP         WARMINSTER      PA   18974    INDEPENDENT      BM8694665    4,020      4,820     4,040     5,040    2,700     2,500     3,853    23,120

100055712   049085837   MEDCENTER PHARMACY                     CLARKSTON       MI   48346    INDEPENDENT      BM8705533    5,800      3,800     4,400     5,200   10,300     4,000     5,583    33,500

100077106   055018820   DOWN EAST PHARMACY                      NEW BERN       NC   28560    INDEPENDENT      BM8708692    8,100      7,000     6,700    15,200    6,500     1,000     7,417    44,500

100052740   024070474   MC CARTHY DRUGS                       SANTA MONICA     CA   90405    INDEPENDENT      BM8725991    6,700      8,200     6,600     8,400    6,700     5,300     6,983    41,900

100070591   018140434   METHODIST AMB SURG HSP NW HCA          SAN ANTONIO     TX   78240      HOSPITAL       BM8733772     400        600       300      1,800                         775      3,100

100088694   018203372   MERIDIAN PHARMACY GROUP                  DALLAS        TX   75224    INDEPENDENT      BM8784248    6,100      4,600     5,300     5,100    2,300     2,700     4,350    26,100

100069830   055070573   MEDICAL ARTS PHCY OF LENOIR(Z)           LENOIR        NC   28645    INDEPENDENT      BM8794124    5,000      6,000     4,500     5,500    6,700     3,600     5,217    31,300
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100059268   041052076   *MOUNT JACKSON DRUG STORE ZGNP        MOUNT JACKSON     VA   22842     INDEPENDENT       BM8811095    3,600    3,600                                        3,600     7,200

100053256   056008961   MEDCARE LTC (X)                        PHILADELPHIA     PA   19141   LONG TERM CARE      BM8856265    2,000    2,300    2,100    1,400    2,200             2,000    10,000

100055047   037069252   MEDCARE RX PHARMACY                     HOUSTON         TX   77074     INDEPENDENT       BM8864589   10,500    7,500    8,600    8,000    8,700    5,000    8,050    48,300

100106464   018403923   MILLWOOD HOSPITAL                       ARLINGTON       TX   76011       HOSPITAL        BM8888034     300      200      500               280      180      292      1,460

100105821   046058701   LAKEWOOD RANCH MEDICAL CENTER          BRADENTON        FL   34202       HOSPITAL        BM8901832     600      700      200      700      400     1,360     660      3,960

100059443   037101758   MOORE'S COMPOUNDING PHARMACY          CORPUS CHRISTI    TX   78412     INDEPENDENT       BM8911566    2,100    1,500    1,000    1,700                      1,575     6,300

100050871   018065755   LINDSEY'S PHARMACY                        IRVING        TX   75062     INDEPENDENT       BM8943993   12,620   13,400   11,820   13,700    8,300    5,000   10,807    64,840

100056454   037091587   METSCRIPT PHCY                         SUGAR LAND       TX   77478     INDEPENDENT       BM9014286     800      100      400      520      500     1,300     603      3,620

100096885   021078139   MERCY NORTH PHARMACY WAC                 ANKENY         IA   50021     INDEPENDENT       BM9049063    5,500    4,500    5,000    5,100    5,800    4,500    5,067    30,400

100056568   021300038   MERCY NORTH PHARMACY                     ANKENY         IA   50021     INDEPENDENT       BM9049063                                        1,500             1,500     1,500

100110811   023000217   METHODIST HP APOTHECARY (WAC)          PHILADELPHIA     PA   19148       HOSPITAL        BM9061879                       300     1,200    3,000    2,400    1,725     6,900

100110805   023162412   METHODIST HP APOTHECARY (340B)         PHILADELPHIA     PA   19148   PHS 340B HOSPITAL   BM9061879                                400                        400       400

100052450   044000356   MEDICAL ARTS PHARMACY APSC               MURRAY         KY   42071     INDEPENDENT       BM9064659    9,500   11,000   36,100    8,600    4,000    5,000   12,367    74,200

100068139   004142067   METROWEST MEDICAL CENTER-NAT             NATICK         MA   01760       HOSPITAL        BM9091959                                                  100      100       100

100068138   004142059   METROWEST MEDICAL CENTER-FRAM          FRAMINGHAM       MA   01702       HOSPITAL        BM9091961     200                        100                        150       300

100056870   046026690   MEMORIAL MIRAMAR PHS                     MIRAMAR        FL   33029   PHS 340B HOSPITAL   BM9093737     300      400               300                        333      1,000

100058681   046010157   MEMORIAL MIRAMAR PREMIER                 MIRAMAR        FL   33029       HOSPITAL        BM9093737                                100      100      700      300       900

100110105   046060160   MEMORIAL MIRAMAR RETAIL PHS              MIRAMAR        FL   33029   PHS 340B HOSPITAL   BM9093737                                         600               600       600

100052361   017055137   MOUNTAIN WEST APOTHECARY                BOUNTIFUL       UT   84010     INDEPENDENT       BM9134521    5,000    3,500    3,500    2,000    3,500    2,900    3,400    20,400

100072257   037143172   MID-VALLEY PHARMACY LLP       CPA       MERCEDES        TX   78570     INDEPENDENT       BM9149940   14,800    3,000   21,800    2,700   10,500   10,200   10,500    63,000

100086404   055026807   *MEDI-FARE DRUGS &HME HLTH CPA         BLACKSBURG       SC   29702     INDEPENDENT       BM9154369    5,000                                                 5,000     5,000

100070958   040140343   SURGERY CENTER OF ROME        #712        ROME          GA   30165       HOSPITAL        BM9167695              200               100       80               127       380

100071683   056143123   MEDICINE TO GO PHARMACIES CPA           LAKEWOOD        NJ   08701     INDEPENDENT       BM9204645    3,700    2,200    2,700    1,100    1,500     700     1,983    11,900

100054289   017108555   IDAHO DOCTOR'S HOSPITAL PHCY            BLACKFOOT       ID   83221       HOSPITAL        BM9214331              200      300               100               200       600

100065471   049102913   MUSKEGON FAMILY CARE PHARMACY           MUSKEGON        MI   49444    PHS 340B CLINIC    BM9218947   19,300   14,000   13,600   25,700   27,000   14,200   18,967   113,800

100070394   044143321   MARMADUKE FAMILY PHARMACY CPA          MARMADUKE        AR   72443     INDEPENDENT       BM9257052   18,600   15,800   14,300    6,900   11,500    9,400   12,750    76,500

100083533   052161091   MASSEY DRUGS           SF               FLORENCE        AL   35633     INDEPENDENT       BM9259272    3,300    1,600    2,000    3,000   12,200    7,000    4,850    29,100

100071989   018143420   MARIO'S PHARMACY INC        CPA        SAN ANTONIO      TX   78207     INDEPENDENT       BM9287853   11,200   16,400   22,900   10,000    7,800    8,500   12,800    76,800

100086365   023106906   MORT JACOBS PHARMACY (ARX)              PATERSON        NJ   07504     INDEPENDENT       BM9311666                                200                        200       200

100076789   021101477   MARTIN HEALTH SERVICES                   DENVER         IA   50622   LONG TERM CARE      BM9383338    3,700    9,700     600    19,300    5,400     500     6,533    39,200

100068602   040143735   MOSELEY DRUG CO         CPA              DAWSON         GA   39842     INDEPENDENT       BM9413763     100     3,000    3,000    1,000    1,200    1,600    1,650     9,900

100066897   024121095   FREEMAN MEDICAL PHARMACY               INGLEWOOD        CA   90301     INDEPENDENT       BM9425732   11,800   14,700   12,400   12,200   13,500    8,000   12,100    72,600

100106806   012063628   MCCARTHY PHARMACY INC 340B             INGLEWOOD        CA   90301    PHS 340B CLINIC    BM9425732                      1,000                               1,000     1,000

100068870   046124669   MYMATRIXX PHARMACY                        TAMPA         FL   33634     INDEPENDENT       BM9458250   23,800   23,400   20,000   21,100    5,400            18,740    93,700

100085658   023103622   MONROE PARK PHARMACY (ARX)           MONROE TOWNSHIP    NJ   08831     INDEPENDENT       BM9469467    2,600    2,700    2,700    3,200    4,200    2,080    2,913    17,480

100060138   010098699   MED-EXPRESS PHARMACY LLC APSC         PRESTONSBURG      KY   41653     INDEPENDENT       BM9483695   14,200   13,100   16,200   13,500   12,200    8,700   12,983    77,900

100084395   044189480   MORGAN'S MEDICINE, PLLC. CPA           BURKESVILLE      KY   42717     INDEPENDENT       BM9500302    7,000    5,000    9,100    7,300   13,300   12,500    9,033    54,200

100067174   019143313   EANNELLI PHARMACY           CPA       PRAIRIE DU SAC    WI   53578     INDEPENDENT       BM9507394    7,000    6,500    9,200   10,500    5,300    5,500    7,333    44,000

100067229   056050112   MAYFAIR DRUG STORE INC. (GNP)          PHILADELPHIA     PA   19136     INDEPENDENT       BM9523223    4,200    4,700   10,500    4,200    5,300   10,500    6,567    39,400

100107167   019184341   MERCY WALWORTH HOSPITAL                LAKE GENEVA      WI   53147       HOSPITAL        BM9533767     400      300      400      400      500      200      367      2,200

100065634   010016402   MCCLOUD FAMILY PHARMACY APSC           HUNTINGTON       WV   25701     INDEPENDENT       BM9558733   17,100   20,000   17,100   26,100   11,700   19,800   18,633   111,800

100059285   032122093   MIKE'S LONGTERM PHARMACY                NEWBERG         OR   97132   LONG TERM CARE      BM9572769     300     1,000     400      900      100               540      2,700

100068210   010175992   MARYMOUNT FAMILY PHARMACY            GARFIELD HEIGHTS   OH   44125       HOSPITAL        BM9585956    4,430    4,500    4,700    3,300    5,600    2,900    4,238    25,430

100065758   008098392   MEDICAL PAVILION PHARMACY                GILROY         CA   95020     INDEPENDENT       BM9602005    2,600    3,600    2,560    5,700   11,000    1,000    4,410    26,460
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100090645   044192344   ST CATHERINE REGIONAL HOSP DIP      CHARLESTOWN      IN   47111       HOSPITAL         BM9636462     350      200      250      250      200      200      242      1,450

100071592   018140293   MED CITY DAL AMB SURG CTR HCA          DALLAS        TX   75230       HOSPITAL         BM9696848     100      100      100      100      100               100       500

100072243   037143149   HOUSTON MEDICINE CHEST       CPA      HOUSTON        TX   77061    LONG TERM CARE      BM9696862   62,000   60,100   53,300   46,800   53,600   28,000   50,633   303,800

100104820   037133850   HOUSTON MEDICINE CHEST GPO CPA        HOUSTON        TX   77061    LONG TERM CARE      BM9696862     200               300                                 250       500

100091063   010225649   MEDMART PHARMACY      APSC          CONNELLSVILLE    PA   15425     INDEPENDENT        BM9698551    6,000    6,500    5,700    5,000    4,500    5,500    5,533    33,200

100076393   017064212   MIDTOWN COMM HLTH CTR PHY 340B         OGDEN         UT   84401    PHS 340B CLINIC     BM9736642    4,300    4,900    4,800   10,400     800     5,000    5,033    30,200

100060615   020156463   MERCY REGIONAL MEDICAL CENTER         DURANGO        CO   81301       HOSPITAL         BM9774616     700      900     1,100     750     1,240     700      898      5,390

100106855   038110734   MERCY REG MEDICAL CTR 340B            DURANGO        CO   81301       HOSPITAL         BM9774616     100      100      400      300                        225       900

100106855   038110734   MERCY REG MEDICAL CTR 340B            DURANGO        CO   81301   PHS 340B HOSPITAL    BM9774616                                                  660      660       660

100089657   008107631   MERCY GENERAL HOSPITAL               SACRAMENTO      CA   95819       HOSPITAL         BM9787372   11,900    4,600   11,300    3,000   12,400    6,100    8,217    49,300

100089653   008070755   MERCY GENERAL HOSP 340B OP           SACRAMENTO      CA   95819   PHS 340B HOSPITAL    BM9787372     600              3,800                               2,200     4,400

100096589   008014480   MERCY GENERAL HOSP OP WAC            SACRAMENTO      CA   95819   PHS 340B HOSPITAL    BM9787372                      3,500                               3,500     3,500

100083485   024104901   MISSION ROAD PHARMACY                LOS ANGELES     CA   90033     MAIL SERVICE       BM9859414    9,600   11,700    8,400    8,600    7,200    6,000    8,583    51,500

100060790   018000380   MEDPRO PHARMACY & WELLNESS             MELISSA       TX   75454     INDEPENDENT        BM9859628   12,500   13,500   25,600    6,100   16,200    2,500   12,733    76,400

100074381   055060400   MISSION COMMUNITY PHCY(340B)          ASHEVILLE      NC   28803   PHS 340B HOSPITAL    BM9874365    3,200    4,600   10,700             1,000             4,875    19,500

100096650   055037473   MISSION COMMUNITY PHCY(WAC)           ASHEVILLE      NC   28803       HOSPITAL         BM9874365     700      500     4,800             1,500    4,400    2,380    11,900

100085760   021158774   MINNEOLA PHARMACY INC CPA             MINNEOLA       KS   67865     INDEPENDENT        BM9890953    5,600   10,900    7,900    7,600    2,200    5,700    6,650    39,900

100053261   024045856   MID VALLEY PHARMACY                  SIMI VALLEY     CA   93065     INDEPENDENT        BM9910793    8,200   12,700   15,100    7,200   10,500    1,000    9,117    54,700

100059782   021022988   MOCH PHARMACY                            AVA         MO   65608    PHS 340B CLINIC     BM9944528     700      900      800      400     1,400     900      850      5,100

100069825   021102368   MOCH PHARMACY                            AVA         MO   65608     INDEPENDENT        BM9944528     200               100                                 150       300

100062273   010105700   MID-OHIO ONCOLOGY, HEM PHCY           COLUMBUS       OH   43219       ONCOLOGY         BM9966966    2,000    2,800    4,000    2,200    3,000    3,500    2,917    17,500

100089664   008107680   MERCY HOSP OF FOLSOM                   FOLSOM        CA   95630       HOSPITAL         BM9976070    2,500    2,100    2,200    3,600    1,600    1,500    2,250    13,500

100060594   010104513   MULLANEY LTC PHARMACY                 CINCINNATI     OH   45213    LONG TERM CARE      BM9982910    2,200    4,900    4,400    2,700    3,000    2,100    3,217    19,300

100089489   008108464   MERCY SAN JUAN MEDICAL CTR           CARMICHAEL      CA   95608       HOSPITAL         BM9996212   11,000   10,900    7,200    6,500   10,300    8,400    9,050    54,300

100096629   008111740   MERCY SAN JUAN MED CTR WAC           CARMICHAEL      CA   95608   PHS 340B HOSPITAL    BM9996212     200      100              5,950    2,000    1,300    1,910     9,550

100089485   008108415   MERCY SAN JUAN MED CTR 340B          CARMICHAEL      CA   95608   PHS 340B HOSPITAL    BM9996212     900     1,000    3,400     700              1,400    1,480     7,400

100073161   055090795   US NAVAL HOSPITAL                   CHERRY POINT     NC   28533   HOSPITAL (FEDERAL)   BN0228115    6,800   22,500   35,700                              21,667    65,000

100055588   037086561   NAVAL HOSPITAL PHARMACY            CORPUS CHRISTI    TX   78419   HOSPITAL (FEDERAL)   BN0235590   18,000   18,000   23,200   84,400                     35,900   143,600

100072595   019057356   AURORA PHARMACY #1040                MANITOWOC       WI   54220         CHAIN          BN0309282    3,100    3,200    2,700    5,800    2,600    2,000    3,233    19,400

100062856   008165118   NAPA STATE HOSPITAL PHARMACY            NAPA         CA   94558       HOSPITAL         BN0391425     600      800     1,100    1,300    1,500     600      983      5,900

100067180   019143362   NEW ENGLAND PHARMACY         CPA      CHICAGO        IL   60638     INDEPENDENT        BN0762941    8,300    8,700    9,200    6,600    8,100    7,520    8,070    48,420

100084344   032136853   NORTH POLE PRESCRIPTION LAB          NORTH POLE      AK   99705     INDEPENDENT        BN0920555    2,300    1,900    2,000    1,300    3,000     700     1,867    11,200

100062299   025008599   NORTHFIELD PHARMACY                  NORTHFIELD      MN   55057     INDEPENDENT        BN1153460    2,800    3,600    2,800    2,100    4,700    2,500    3,083    18,500

100065858   021036947   NEWTON M.C. HSCA                       NEWTON        KS   67114       HOSPITAL         BN1237014    1,200    2,000    1,200    1,100    2,600    1,300    1,567     9,400

100061578   052027599   NAVAL HOSPITAL BRANCH MED CLIN        MERIDIAN       MS   39309   HOSPITAL (FEDERAL)   BN1274896    8,400             6,900    6,000             2,400    5,925    23,700

100067203   018060160   NATIONAL PARK PHCY, INC              HOT SPRINGS     AR   71901     INDEPENDENT        BN1403764   13,100   10,700    7,800    5,100    8,700    5,000    8,400    50,400

100071661   046141309   NEW PORT RICHEY SURGI-CTR #712     NEW PORT RICHEY   FL   34655       HOSPITAL         BN1515482              200                                 200      200       400

100053335   024047894   NOGALES PHARMACY                   ROWLAND HEIGHTS   CA   91748     INDEPENDENT        BN1773983     600      400      700     2,800     800              1,060     5,300

100090022   032143230   NORTHWEST KIDNEY CENTER                SEATTLE       WA   98122       HOSPITAL         BN1781207    1,100    1,300    2,100    1,500    2,400    1,100    1,583     9,500

100053378   041074302   QUANTICO NAVAL MED CLINIC(DOD)        QUANTICO       VA   22134   HOSPITAL (FEDERAL)   BN2302189    2,600    1,200    1,900    5,600                      2,825    11,300

100066521   049049460   NEW HUDSON DISC PHCY      SF         NEW HUDSON      MI   48165     INDEPENDENT        BN2440989    7,800   10,300    9,300    9,200   15,700    4,300    9,433    56,600

100065309   049044131   NIMKEE MEM WELLNESS CTR PHS        MOUNT PLEASANT    MI   48858    PHS 340B CLINIC     BN2651861    5,500    6,000    7,300    3,300   10,000    9,000    6,850    41,100

100065463   008030569   NEUMILLER INFIRMARY PHARMACY         SAN QUENTIN     CA   94964        ALT SITE        BN2685406     100      100      600                                 267       800

100104229   019180992   NORWEGIAN AMER HOSP COMM PHY          CHICAGO        IL   60622       HOSPITAL         BN3028924    3,000    4,000    5,700    8,900    5,000    5,300    5,317    31,900
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100104287   019181040   NORWEGIAN AM HOSP COM PHY 340B          CHICAGO        IL   60622   PHS 340B HOSPITAL    BN3028924     1,500    2,700    1,500                                1,900     5,700

100071732   046141366   NO FLORIDA SURG PAVILION #784         GAINESVILLE      FL   32605       HOSPITAL         BN3372656                                  100       80       80       87       260

100051892   008046748   NEWARK HALLER'S PHCY                    NEWARK         CA   94560     INDEPENDENT        BN3426245     1,500    3,000    2,100     1,000    6,700     500     2,467    14,800

100071734   038140145   NORTH SUBURBAN MED CTR       #712      THORNTON        CO   80229       HOSPITAL         BN3558131     1,300     900     2,150      850     1,260    1,440    1,317     7,900

100071234   023143107   NICHOLAS AVE PHARMACY(X) CPA           BROOKLYN        NY   11237     INDEPENDENT        BN3603330     1,000    1,800     100       500               600      800      4,000

100059628   023085555   STEPHENS PHARMACY(X)(GNP)             HONESDALE        PA   18431     INDEPENDENT        BN3612339     2,700    3,500    3,400     3,300    9,300    5,500    4,617    27,700

100066213   021146217   MERCY MED CTR- N IOWA EAST            MASON CITY       IA   50401       HOSPITAL         BN3658195     3,200    2,200    2,600     2,100    3,520    1,900    2,587    15,520

100086936   021162578   MERCY MED CTR-N IOWA EAST 340B        MASON CITY       IA   50401   PHS 340B HOSPITAL    BN3658195      900     1,300     600      1,900     100               960      4,800

100089084   041146688   NATIONAL NAVAL MED CTR-WR (7)          BETHESDA        MD   20889   HOSPITAL (FEDERAL)   BN3672082     5,100    5,000   13,900    12,200                      9,050    36,200

100051928   041074104   NATIONAL NAVAL MED CTR (DOD)           BETHESDA        MD   20889   HOSPITAL (FEDERAL)   BN3672082                                                  17,400   17,400    17,400

100066216   021146258   MERCY WESTSIDE PHARMACY               MASON CITY       IA   50401     INDEPENDENT        BN3686447     3,100    4,000    4,300     1,400    6,400    4,400    3,933    23,600

100088203   021010025   MERCY WESTSIDE PHARMACY 340B          MASON CITY       IA   50401   PHS 340B HOSPITAL    BN3686447     2,700    1,600    2,100     2,300     500              1,840     9,200

100059470   023022426   NEPTUNE PHCY INC.                      BROOKLYN        NY   11235     INDEPENDENT        BN3966047               100                                           100       100

100071765   023143545   NORTH WARREN PHARMACY(X) CPA          BLAIRSTOWN       NJ   07825     INDEPENDENT        BN3972925     3,600    1,600    2,400     2,400    1,600     700     2,050    12,300

100051104   008023606   NOR-CAL PHARMACIES, INC               LOCKEFORD        CA   95237     INDEPENDENT        BN3982938                                          2,000             2,000     2,000

100052751   026059204   NEWTOWN SQUARE PHARMACY                   AIEA         HI   96701     INDEPENDENT        BN4024991     1,100     200      700      1,000             3,440    1,288     6,440

100062012   046072504   NAVAL HOSPITAL MAIN ACCT              PENSACOLA        FL   32512   HOSPITAL (FEDERAL)   BN4109927    39,100   51,700   35,400    36,000   42,000   12,000   36,033   216,200

100067326   046095265   NAVAL HOSPITAL JACKSONVILLE          JACKSONVILLE      FL   32214   HOSPITAL (FEDERAL)   BN4154427   100,300   12,300   34,950   147,000    6,000   12,000   52,092   312,550

100062667   046094946   (CRD)-NAVAL HOSP JAX                JACKSONVILLE N A   FL   32212   HOSPITAL (FEDERAL)   BN4154427                                21,400                     21,400    21,400

100068722   046141994   NORTHWEST MEDICAL CENTER #712          MARGATE         FL   33063       HOSPITAL         BN4325014      350      400      350       200      540      360      367      2,200

100066085   019005009   NAZARETH FAMILY CENTER                  CHICAGO        IL   60622     INDEPENDENT        BN4333605                       2,000     5,500                      3,750     7,500

100078810   019007682   NAZARETH FAMILY CTR PHCY 340B           CHICAGO        IL   60622   PHS 340B HOSPITAL    BN4333605              2,000                                         2,000     2,000

100083745   023090340   NOVECK'S PHARMACY INC        CPA     NORTH BERGEN      NJ   07047     INDEPENDENT        BN4380286     1,500    1,600    1,300      200               700     1,060     5,300

100062676   046095117   BRANCH MEDICAL CLINIC MAYPORT          MAYPORT         FL   32228   HOSPITAL (FEDERAL)   BN4389183     6,500   14,500   15,500    27,600             7,200   14,260    71,300

100059733   023050898   NEW PELHAM PARKWAY PHCY(ARX)             BRONX         NY   10460     INDEPENDENT        BN4435764               100      100                        1,300     500      1,500

100050495   004044834   HIGH POINT TREATMENT CTR (X)           PLYMOUTH        MA   02360       HOSPITAL         BN4461492      100                                                    100       100

100052660   026058685   NAVAL MED PEARL HARBOR               PEARL HARBOR      HI   96860   HOSPITAL (FEDERAL)   BN4645810      100     6,400    6,000     4,200             3,600    4,060    20,300

100074094   008011171   NORTH LAKE MED PHCY#2 CPA              LAKEPORT        CA   95453     INDEPENDENT        BN4661749    32,300   29,500   23,400    24,800   44,400   20,600   29,167   175,000

100074395   008070847   NORTH LAKE MEDICAL PHCY#2 340B         LAKEPORT        CA   95453    PHS 340B CLINIC     BN4661749     5,500    8,500   10,500    14,500   16,100   15,000   11,683    70,100

100060183   023300020   ST. CLARE'S HOSPITAL/DENVILL           DENVILLE        NJ   07834       HOSPITAL         BN4671788               100                                           100       100

100057015   056014779   MEDICINE PLUS PHARMACY (GNP)          NEW MARKET       MD   21774     INDEPENDENT        BN4694457     3,700    4,100    2,700     3,100    3,300    2,800    3,283    19,700

100050797   052062489   NAVAL BR. MED. CLINIC-SUPP. #          GULFPORT        MS   39501   HOSPITAL (FEDERAL)   BN4729351     1,200    1,200    2,000     2,400              600     1,480     7,400

100094335   026004275   NORTH HAWAII COMM HOSP WAC             KAMUELA         HI   96743       HOSPITAL         BN4828729      300      700      200      1,000     500               540      2,700

100083737   026002949   NORTH HAWAII COMM HOSP 340B            KAMUELA         HI   96743   PHS 340B HOSPITAL    BN4828729      200      100      200       200               320      204      1,020

100052752   026059626   NORTH HAWAII COMMUNITY HOSP            KAMUELA         HI   96743       HOSPITAL         BN4828729      100      300      100       400                        225       900

100058224   019036624   NORWOOD HIGGINS DRUGS                   CHICAGO        IL   60656     INDEPENDENT        BN4931110     5,000    5,200    4,000     3,500    2,500    4,700    4,150    24,900

100055758   032063545   *NORTHWEST HEALTH SYSTEMS HOSP      SPOKANE VALLEY     WA   99216    LONG TERM CARE      BN5062548    16,600                                                 16,600    16,600

100083330   019134916   NICOLET PHCY, INC      CPA             LAKEWOOD        WI   54138     INDEPENDENT        BN5072892     8,500    8,500    8,500     5,500    9,600    2,600    7,200    43,200

100083823   019135632   NICOLET PHCY, INC 340B                 LAKEWOOD        WI   54138    PHS 340B CLINIC     BN5072892      500                                                    500       500

100061139   040069609   NORTH COLUMBUS PHCY          SF        COLUMBUS        GA   31909     INDEPENDENT        BN5191248     6,000    7,500    8,600     5,000    8,500    3,000    6,433    38,600

100092508   021013086   NORTH ARKANSAS REG MED CTR WAC         HARRISON        AR   72601       HOSPITAL         BN5245976      600     1,100    1,800     3,900    2,500    2,900    2,133    12,800

100083461   021142356   NORTH ARKANSAS REGIONAL 340B           HARRISON        AR   72601   PHS 340B HOSPITAL    BN5245976     1,200     900      400       900               100      700      3,500

100068321   021043109   NORTH ARKANSAS REG-MEDICAL CTR         HARRISON        AR   72601       HOSPITAL         BN5245976      900     1,200     600       100                        700      2,800

100058184   041064501   *NEW MARKET PHCYZ(EPIC-GNP)882        NEW MARKET       VA   22844     INDEPENDENT        BN5318399     3,000    2,500                                         2,750     5,500
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100068909   044150300   DELTA MEDICAL CENTER                       MEMPHIS        TN   38118       HOSPITAL         BN5384918    1,050     950     1,350     750      1,500     940     1,090     6,540

100057412   046001503   NORTHWEST FLORIDA SURGERY CTR            PANAMA CITY      FL   32405       HOSPITAL         BN5527950                       100                                  100       100

100090262   049188144   ST ANNE MERCY HOSP RETAIL                  TOLEDO         OH   43623       HOSPITAL         BN5614703    5,400    5,500    5,000    6,200     7,000    3,600    5,450    32,700

100092481   046043067   CYPRESS HEALTH SYST FL INC DIP            WILLISTON       FL   32696       HOSPITAL         BN5629425     400               100                                  250       500

100061903   023010744   NEW YORK UNIVERSITY PHCY                  NEW YORK        NY   10003       HOSPITAL         BN5667110     200      100      300      400       200      500      283      1,700

100063444   018063057   KINDRED HOSPITAL OKLAHOMA CITY          OKLAHOMA CITY     OK   73103       HOSPITAL         BN5822285     500      700      600     2,100               200      820      4,100

100060430   044064485   NELSON T.M.C. PHARMACY                    FORT KNOX       KY   40121   HOSPITAL (FEDERAL)   BN6084242     200                                                    200       200

100061289   023014787   NEW RONSON DRUG INC-Y          (GNP)      BROOKLYN        NY   11213     INDEPENDENT        BN6114211              100               100       100               100       300

100071731   046141358   NO FL REG'L MED CENTER      #712         GAINESVILLE      FL   32605       HOSPITAL         BN6164812    1,900    4,200    1,900    2,300     1,880    2,140    2,387    14,320

100054840   010043232   NOBLE'S PHARMACY, INC.      APSC          GARRISON        KY   41141     INDEPENDENT        BN6170524    2,500    9,500    3,000    5,000     8,000    3,000    5,167    31,000

100063525   049050732   NORTHEAST PHCY (DBA)        SF         CLINTON TOWNSHIP   MI   48038     INDEPENDENT        BN6204212    3,600    4,800    6,000    5,700     5,500    3,000    4,767    28,600

100052363   017057075   NORTHVIEW PHARMACY        /G               LAYTON         UT   84041     INDEPENDENT        BN6273041    8,105    9,110    9,210    6,610     9,205    7,205    8,241    49,445

100076753   008050617   NATIVIDAD, MEDICAL CENTER PHCY             SALINAS        CA   93906       HOSPITAL         BN6406121    1,000    1,700    2,400    3,000                       2,025     8,100

100096599   008111716   NATIVIDAD MED CTR PHCY WAC                 SALINAS        CA   93906    PHS 340B CLINIC     BN6406121              200      300               2,240    3,120    1,465     5,860

100076474   008050591   NATIVIDAD MED CTR PHCY 340B                SALINAS        CA   93906    PHS 340B CLINIC     BN6406121     200      400      400      200                         300      1,200

100088522   046040576   NORTH PORT PHARMACY                      NORTH PORT       FL   34287     INDEPENDENT        BN6420498    4,500    5,000    4,500   10,000              3,000    5,400    27,000

100075100   023114199   ST. JOSEPH HOSPITAL                       BETHPAGE        NY   11714       HOSPITAL         BN6639201                                          100               100       100

100059840   023097220   NY DRUGS INC DBA CASTLE HILL(X              BRONX         NY   10473     INDEPENDENT        BN6759433                                          400               400       400

100060141   010098723   NEW ERA OF KENTUCKY, INC APSC             VERSAILLES      KY   40383     INDEPENDENT        BN6769852    6,100    5,300    6,100    6,100     7,000    4,000    5,767    34,600

100094305   010228007   NOVA PHARMACY                             PIKEVILLE       KY   41501     INDEPENDENT        BN6860476    1,000     200     1,100              4,000    2,700    1,800     9,000

100071763   056143149   NORTH BRUNSWICK PHARMACY(X)CPA         NORTH BRUNSWICK    NJ   08902     INDEPENDENT        BN6947557    1,700    1,500     200      (400)     200      700      650      3,900

100071762   023143529   NEWPORT PHARM SERVICE(X) CPA             JERSEY CITY      NJ   07302     INDEPENDENT        BN7093773    1,000    1,600    1,800     700      1,100     100     1,050     6,300

100109530   023160622   NEWPORT PHARM SERVICE GPO CPA            JERSEY CITY      NJ   07302     INDEPENDENT        BN7093773                               2,400                       2,400     2,400

100107754   012112755   P.J.'S RX SHOPPE ** CPA                   SAN DIEGO       CA   92110     INDEPENDENT        BN7193319    4,800    7,100    4,000    3,600     1,500     300     3,550    21,300

100055614   018025775   NORTH STAR SURGICAL CENTER                 LUBBOCK        TX   79416       HOSPITAL         BN7249469               50               100       100                83       250

100065356   018061671   NORTH HILLS PHARMACY           CPA       FAYETTEVILLE     AR   72703     INDEPENDENT        BN7325384   14,500   15,500   12,500   10,400     5,500   13,600   12,000    72,000

100071951   038140020   VIBRA LONG TERM ACUTE CARE HOS            THORNTON        CO   80229       HOSPITAL         BN7443649     200      200      150      150       100      100      150       900

100062929   046050278   NAPLES DAY SURGERY SOUTH LLC               NAPLES         FL   34102       HOSPITAL         BN7519183                       100                         100      100       200

100064911   023050815   *NEWHARD PHARMACY LTC (X)               NORTHAMPTON       PA   18067    LONG TERM CARE      BN7562603    1,200                                                  1,200     1,200

100106494   018403998   TEXAS NEUROREHAB HOSPITAL                   AUSTIN        TX   78745       HOSPITAL         BN7603106     900      500      900     1,100      950      740      848      5,090

100068856   037125443   CARE REGIONAL MEDICAL CENTER            ARANSAS PASS      TX   78336       HOSPITAL         BN7629720     200      600      200      700       880               516      2,580

100070516   018140350   NORTH CNTRL METHODIST ASC HCA            SAN ANTONIO      TX   78258       HOSPITAL         BN7730129                       150                240               195       390

100087031   052170365   NORTHEAST PHARMACEUTICALS MTG            MONTGOMERY       AL   36116    LONG TERM CARE      BN8003422              100      100                                  100       200

100066268   021006551   NORTHWEST PHARMACY SERVICES               HAMILTON        MO   64644     INDEPENDENT        BN8027105    7,500    8,600    8,500    8,000     8,300    4,700    7,600    45,600

100067896   052145045   NORTHWEST MEDICAL CENTER #712              WINFIELD       AL   35594       HOSPITAL         BN8105062     600      900      600     1,500      400               800      4,000

100065673   023022566   NEWHARD PHARMACY (IPBG)(X)              NORTHAMPTON       PA   18067     INDEPENDENT        BN8169838    5,700    8,500    4,500    5,200     3,600    2,900    5,067    30,400

100072778   055040915   NEW HORIZON PHARMACY #2                  GREENVILLE       SC   29601    PHS 340B CLINIC     BN8183939    5,900    6,300    6,100    6,800    13,500    7,000    7,600    45,600

100089498   024115584   NORTHRIDGE HOSP MED CTR                  NORTHRIDGE       CA   91328       HOSPITAL         BN8190922    1,900    1,900    2,300    2,700     3,980     960     2,290    13,740

100061072   044077024   NATION'S MEDICINES    CPA                OWENSBORO        KY   42303     INDEPENDENT        BN8327101   27,500   23,000   24,600   28,800    22,900   19,600   24,400   146,400

100106423   023153098   BROOKE GLEN BEHAVIORAL HOSP            FORT WASHINGTON    PA   19034       HOSPITAL         BN8480509              100      400                                  250       500

100058959   032184317   NORTHWEST SPECIALTY HOSPITAL              POST FALLS      ID   83854       HOSPITAL         BN8490221     700      700      500      500      1,000     800      700      4,200

100072301   055052456   *NORTH GREENVILLE HOSP. SYSTEM         TRAVELERS REST     SC   29690       HOSPITAL         BN8527206     100                                                    100       100

100067181   019143370   NORTH SCOTT PHARMACY            CPA       ELDRIDGE        IA   52748     INDEPENDENT        BN8575550    6,000    4,400   10,100    6,500     1,800    5,500    5,717    34,300

100065357   049056341   NRK RX INC-FOOD TOWN DRUGS SF              MONROE         MI   48162     INDEPENDENT        BN8576831     100     1,100     700     2,000     3,700    3,100    1,783    10,700
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100062071   046066183   NEIGHBORLY PHARMACY                     CLEARWATER      FL   33762     INDEPENDENT       BN8784642     200       300      200      200                600      300       1,500

100066795   021009084   NEBRASKA LTC, LLC         SF             BEATRICE       NE   68310   LONG TERM CARE      BN8857180    1,900     1,900    2,100    3,300     1,700    2,300    2,200     13,200

100086243   023106591   DYCKMAN PHARMACY              CPA        NEW YORK       NY   10040     INDEPENDENT       BN8936962     100       400      100     1,500                        525       2,100

100060778   046131250   NEGLEX PHARMACY                            MIAMI        FL   33174     INDEPENDENT       BN8973085     100       100      100      (400)                        (25)      (100)

100059071   041072371   NEW RIVER VALLEY SURG CTR(X)          CHRISTIANSBURG    VA   24073       HOSPITAL        BN8988719     100                                                     100        100

100071728   018140533   NORTH AUSTIN SURGERY CNTR HCA             AUSTIN        TX   78758       HOSPITAL        BN9031523                                 200       160      200      187        560

100054219   038047803   NEIN PHCY           SF                  BRIDGEPORT      NE   69336     INDEPENDENT       BN9032664    7,100     7,000   33,500    9,000     1,000            11,520     57,600

100055457   010000919   NIE'S INDEPENDENCE PHCY APSC           INDEPENDENCE     KY   41051     INDEPENDENT       BN9067477    1,000              1,000    2,000     3,500    2,600    2,020     10,100

100062802   004059386   NEIGHBRHD DIABETES,INC(X) SF             BILLERICA      MA   01821     MAIL SERVICE      BN9132589     400      1,000     700      600       100      300      517       3,100

100056144   049091744   LAKE SURGERY CENTER                   WEST BLOOMFIELD   MI   48323       HOSPITAL        BN9205609                        100                100               100        200

100061204   040093989   NORTH EAST GA CANCER CARE                 ATHENS        GA   30607      ONCOLOGY         BN9213430                                1,000      400               700       1,400

100076615   023074443   NY NORTHERN PHARMACY LLC (ZS)            FLUSHING       NY   11358     INDEPENDENT       BN9377866     300       200      100                                  200        600

100093990   018397299   NEW ERA PHARMACY                          DALLAS        TX   75217     INDEPENDENT       BN9538503    2,100     2,200    2,300    1,500              4,300    2,480     12,400

100071662   018140525   NORTH AUSTIN MEDICAL CTR HCA              AUSTIN        TX   78758       HOSPITAL        BN9555319    8,700     9,800   10,400    9,900    10,500    8,080    9,563     57,380

100062554   010014761   NICHOLAS PHARMACY, INC                 SUMMERSVILLE     WV   26651     INDEPENDENT       BN9557298   21,500    23,200   25,500   17,840    27,100   12,100   21,207    127,240

100059327   018000430   NETCARE PHARMACY #2                     SAN ANTONIO     TX   78214     INDEPENDENT       BN9572276                                1,000                       1,000      1,000

100104140   023151969   NORTHGATE FAM PHY & MED EQUIP             CAMDEN        NJ   08102     INDEPENDENT       BN9572719     (100)              100      500                         167        500

100059342   032122226   *NORTHWEST HEALTH SYSTEMS INC.           SPOKANE        WA   99202       ALT SITE        BN9638860     100                                                     100        100

100072779   055056655   NEW HORIZON PHCY #3(Y)                    GREER         SC   29651    PHS 340B CLINIC    BN9646653     400       100               200                         233        700

100063508   020107599   WELCOME PHARMACY                         LAS VEGAS      NV   89146     INDEPENDENT       BN9723392     500               1,000     500                         667       2,000

100071954   008140061   NORTHERN CA REHAB HOSP LLC               REDDING        CA   96001       HOSPITAL        BN9768372    3,400     4,000    4,300    3,000     2,380    1,860    3,157     18,940

100069571   004097782   *NEWBURGH PHARMACY INC Z)(GNP)          NEWBURGH        NY   12550     INDEPENDENT       BN9954644                       5,000                                5,000      5,000

100058220   046026716   NATURE COAST PHARMACY                   SPRING HILL     FL   34606     INDEPENDENT       BN9965560    2,000     3,100    4,000    3,000     1,500    5,100    3,117     18,700

100070489   018140558   OKLAHOMA SURGICARE             HCA     OKLAHOMA CITY    OK   73134       HOSPITAL        BO0766761     100                100                100               100        300

100065170   019004283   OAKLAWN HOSPITAL                          GOSHEN        IN   46528       HOSPITAL        BO0910718                                           100      200      150        300

100076646   055052126   SAMMETH DRUG CO                           SENECA        SC   29678     INDEPENDENT       BO0924197    5,000                                                   5,000      5,000

100058882   041041467   OLDE TOWNE PHARMACY IN RAE CPA         WILLIAMSBURG     VA   23188     INDEPENDENT       BO1156769    1,900     3,000    2,800    7,600              1,700    3,400     17,000

100058874   044073296   ODON PHARMACY        RX APSC               ODON         IN   47562     INDEPENDENT       BO1180823   17,200    18,700   17,000   17,800    17,800   15,500   17,333    104,000

100092734   010226449   SPARTAN PHARMACY APSC                   BETHEL PARK     PA   15102     INDEPENDENT       BO1560160    9,800     5,200    6,500    6,100    12,000    4,100    7,283     43,700

100064276   019031765   OAK FOREST PHARMACY (O/P PHS)           OAK FOREST      IL   60452   PHS 340B HOSPITAL   BO1701362    2,400     3,600   16,800   (9,400)                      3,350     13,400

100064582   052041046   OLDE TOWNE PHARMACY INC                 JONESBORO       TN   37659     INDEPENDENT       BO1761065   10,920    10,400    9,800   12,100     7,320    6,100    9,440     56,640

100052436   024099911   OJAI REXALL DRUGS                          OJAI         CA   93023     INDEPENDENT       BO2140236   10,200    14,400   21,200   13,800    10,300     800    11,783     70,700

100066724   052056200   OAK GROVE PHCY           SF             HATTIESBURG     MS   39402     INDEPENDENT       BO2456691    8,000     7,600    7,600    7,100     5,000             7,060     35,300

100061062   023014886   OLSHIN'S PHARMACY (X)                     NEWARK        NJ   07105     INDEPENDENT       BO2536259     200       200               900       700               500       2,000

100065765   049059642   OSSINEKE PHCY            SF              OSSINEKE       MI   49766     INDEPENDENT       BO2729145    6,000     7,300    2,100     (500)    8,500   11,500    5,817     34,900

100066003   008063230   ORDWAY DRUG STORE                        MONTEREY       CA   93940     INDEPENDENT       BO2895514   24,800    30,300   33,100   21,700    42,000   16,700   28,100    168,600

100060296   041033704   LEE DAVIS PHARMACY INC                MECHANICSVILLE    VA   23111     INDEPENDENT       BO2987634    1,000     2,200    1,100    2,000     2,300     520     1,520      9,120

100053955   041011304   COLONIAL PHARMACY INC          RAF    MECHANICSVILLE    VA   23111     INDEPENDENT       BO2987646   10,000    12,600    9,700    8,300    10,600    8,500    9,950     59,700

100072174   055072074   ORANGE-CHATHAM COMP/H/CTR 54             CARRBORO       NC   27510    PHS 340B CLINIC    BO3250634    3,200     3,700    3,400    3,800      400              2,900     14,500

100053337   024048371   OAKDALE PHARMACY, INC                     ENCINO        CA   91316     INDEPENDENT       BO3704423    3,000     1,100    1,600    2,000      600     3,200    1,917     11,500

100058641   021036079   OZARK CENTER PHARMACY                     JOPLIN        MO   64804     INDEPENDENT       BO3839276    1,700      600      100     1,100               500      800       4,000

100070488   017140129   OGDEN REGIONAL MED CTR         #712       OGDEN         UT   84405       HOSPITAL        BO4168452    1,500     1,300    1,600    1,000     2,220    1,280    1,483      8,900

100065935   021052316   VIA CHRISTI REHAB CENTER                  WICHITA       KS   67206       HOSPITAL        BO4306533    1,100      500      500      800      1,360     900      860       5,160

100057520   056010934   OLDEN PHARMACY-Z          (GNP)          TRENTON        NJ   08610     INDEPENDENT       BO4367632    3,300     3,300    2,640    4,800     2,500    2,000    3,090     18,540
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100075248   010185629   ONCOLOGY HEMATOLOGY CARE               CINCINNATI       OH   45242        ONCOLOGY          BO4393120     200      100                        600      200      275      1,100

100052192   010050310   OHIO UNIV STUDENT HLTH SERV              ATHENS         OH   45701         ALT SITE         BO4612796              100      100               600      100      225       900

100055168   010043588   OKULEY'S PHARMACY         APSC        CONTINENTAL       OH   45831       INDEPENDENT        BO4772023    3,200    7,000    3,200    4,200     800     1,400    3,300    19,800

100053964   041009035   OLDE VIRGINIA PHCY(Z)834                TAZEWELL        VA   24651       INDEPENDENT        BO4867795   20,100   19,500   18,800   18,900   14,700   14,500   17,750   106,500

100057018   056014845   OAKS PHARMACY (Z)                     PHILADELPHIA      PA   19147       INDEPENDENT        BO5181362     600     1,200     900      300               800      760      3,800

100101353   049194563   OAKWOOD HEALTHCARE INC WAC               WAYNE          MI   48184     PHS 340B HOSPITAL    BO5188710     600      700      800     2,100    2,920    2,360    1,580     9,480

100066962   049042515   OAKWOOD HEALTHCARE INC        (3)        WAYNE          MI   48184         HOSPITAL         BO5188710    2,000    2,100    1,900    1,200     280      160     1,273     7,640

100072404   049131201   OAKWOOD HEALTHCARE INC 340B              WAYNE          MI   48184     PHS 340B HOSPITAL    BO5188710     200      200      200      100                80      156       780

100065391   049044792   OAKWOOD HLTHCARE INC-HRTGE (2)           TAYLOR         MI   48180         HOSPITAL         BO5188722    4,500    5,100    4,700    5,600    4,280    5,000    4,863    29,180

100066136   049041020   OAKWOOD SOUTHSHORE MED CTR (4)          TRENTON         MI   48183         HOSPITAL         BO5188760    2,300    2,100    2,800    3,100    4,180    2,100    2,763    16,580

100053962   041012427   OCEANA BRANCH MED. CL-DOD            VIRGINIA BEACH     VA   23460    HOSPITAL (FEDERAL)    BO5236357             9,000    8,000             3,600    6,000    6,650    26,600

100053123   012048082   OSO MEDICAL PHARMACY                  MISSION VIEJO     CA   92691       INDEPENDENT        BO5254292     100      200     1,200     100     2,800              880      4,400

100070494   046141465   OSCEOLA REGIONAL HOSPITAL #712         KISSIMMEE        FL   34741         HOSPITAL         BO5591311    1,700    2,550    2,700    2,300    3,860    1,540    2,442    14,650

100067211   049042986   OAKWOOD PHARMACY DEARBORN              DEARBORN         MI   48124       INDEPENDENT        BO5674305    4,300   22,500   25,200   36,400   39,900    9,600   22,983   137,900

100073622   049133207   OAKWOOD PHARMACY DEARBORN/340B         DEARBORN         MI   48124     PHS 340B HOSPITAL    BO5674305   23,800    8,800    6,100     100     5,800   41,100   14,283    85,700

100087895   049185959   OAKWOOD PHCY DEARBORN 340B2            DEARBORN         MI   48124     PHS 340B HOSPITAL    BO5674305    1,000                       500               600      700      2,100

100067212   049042994   OAKWOOD PHARMACY CANTON                  CANTON         MI   48187       INDEPENDENT        BO5674329    2,500    8,500   11,100    8,500                      7,650    30,600

100087874   049185942   OAKWOOD PHCY CANTON 340B2                CANTON         MI   48187     PHS 340B HOSPITAL    BO5674329    4,500    2,500             1,000                      2,667     8,000

100085299   049182709   OAKWOOD PHCY CANTON 340B                 CANTON         MI   48187     PHS 340B HOSPITAL    BO5674329    1,000                                                 1,000     1,000

100067213   049043042   OAKWOOD PHARMACY WESTLAND              WESTLAND         MI   48186       INDEPENDENT        BO5674343    9,200    7,700    9,100   14,200    9,000     200     8,233    49,400

100087899   049185991   OAKWOOD PHCY WESTLAND 340B2            WESTLAND         MI   48186         HOSPITAL         BO5674343    2,000    2,000    1,500    1,000                      1,625     6,500

100085297   049182683   OAKWOOD PHCY WESTLAND 340B             WESTLAND         MI   48186     PHS 340B HOSPITAL    BO5674343    1,000    1,000     500                       3,100    1,400     5,600

100058789   021037259   OLE MINERS PHARMACY                      PICHER         OK   74360       INDEPENDENT        BO5714541    9,000   16,500   10,200   15,500    6,300    7,000   10,750    64,500

100093448   037130906   OUR LADY OF THE LAKE ASSUMPT         NAPOLEONVILLE      LA   70390         HOSPITAL         BO5952886     100      100                        100      200      125       500

100085198   046035790   ORANGE PARK MEDICAL CTR #712          ORANGE PARK       FL   32073         HOSPITAL         BO6665321    2,500    3,300    2,300    3,500    2,720    3,000    2,887    17,320

100059950   010099549   OUR LADY OF BELL - I/P                  ASHLAND         KY   41101         HOSPITAL         BO6687074     700      400      500      400      920      860      630      3,780

100059942   010099176   OUR LADY OF BELL HOSP - 340B            ASHLAND         KY   41101     PHS 340B HOSPITAL    BO6687074              300               100                        200       400

100065160   018035923   OKLAHOMA SPINE HOSPITAL              OKLAHOMA CITY      OK   73134         HOSPITAL         BO6757732     300      300      700      600      400      200      417      2,500

100063690   049053116   ADVANCED CARE PHCY SVCS METRO           WARREN          MI   48089     LONG TERM CARE       BO7218856     800     3,100    1,000    1,900    2,300    1,900    1,833    11,000

100051745   008048025   OLIVE PHARMACY INC.                     OROVILLE        CA   95966       INDEPENDENT        BO7369021   51,800   57,400   47,100   47,200   49,600   36,300   48,233   289,400

100052823   026062703   OKA PHARMACY                            TAMUNING        GU   96913       INDEPENDENT        BO7595929     700      500              1,000              600      700      2,800

100062711   018067397   OKLAHOMA SURGICAL HOSPITAL LLC           TULSA          OK   74137         HOSPITAL         BO7644455    2,100    2,400    2,600    2,800    1,000     760     1,943    11,660

100111066   010001896   MARSH DRUGS #7209/831                 INDIANAPOLIS      IN   46204          CHAIN           BO7749899                                        4,900    2,400    3,650     7,300

100064995   018080358   OKLAHOMA HEART HOSPITAL              OKLAHOMA CITY      OK   73120         HOSPITAL         BO7754016     800     1,400    1,500    1,900     800     1,100    1,250     7,500

100076266   024110569   KOMOTO CUSTOM CARE PHCY               BAKERSFIELD       CA   93301     LONG TERM CARE       BO8071449    7,600   12,600    8,600    5,000   14,300    8,000    9,350    56,100

100072161   021140145   OVERLAND PARK REG MED CTR #712       OVERLAND PARK      KS   66215         HOSPITAL         BO8264006    3,500    3,800    3,400    3,700    4,140    3,720    3,710    22,260

100063161   052049049   OKIE'S PHCY INC #2       SF              BLAINE         TN   37709       INDEPENDENT        BO8436669    5,100    5,800   12,100    1,960    7,400    3,300    5,943    35,660

100052407   024093740   OXNARD DRUG                             OXNARD          CA   93030       INDEPENDENT        BO8514134    8,000    7,500    7,000    8,500    8,500    7,000    7,750    46,500

100104600   041153494   OLNEY PROFESSIONAL PHARMACY              OLNEY          MD   20832       INDEPENDENT        BO8747086    1,000                       100     1,000     300      600      2,400

100053672   024079848   OWL HOMECARE PHARMACY                 BALDWIN PARK      CA   91706     LONG TERM CARE       BO8819964    3,100    5,300    3,000   19,100   22,600    3,900    9,500    57,000

100055365   019026104   ORSINI PHARMACY SERVICES, INC       ELK GROVE VILLAGE   IL   60007   HOME HEALTH SERVICES   BO8928256     600     1,400     200     1,100                       825      3,300

100090505   032144543   OVERLAKE SURGERY CTR, LLC               BELLEVUE        WA   98004         HOSPITAL         BO8975801              100                        180      100      127       380

100053341   024048660   OLYMPIC GERHART PHARMACY INC           COMMERCE         CA   90022       INDEPENDENT        BO9041269    1,300    1,500    1,900    2,300     100              1,420     7,100

100094330   021063784   OZARKS MED CTR EMP WAC                WEST PLAINS       MO   65775         HOSPITAL         BO9059519    4,000    6,000    4,800    7,000    6,600    4,500    5,483    32,900
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100092395   021168138   OZARKS MEDICAL CTR EMP 340B                WEST PLAINS      MO   65775         HOSPITAL         BO9059519    1,400    2,500    2,100     200                        1,550     6,200

100092395   021168138   OZARKS MEDICAL CTR EMP 340B                WEST PLAINS      MO   65775     PHS 340B HOSPITAL    BO9059519                                          700      800      750      1,500

100059517   024124578   OAK HILLS MEDICAL PHARMACY                 CANOGA PARK      CA   91307       INDEPENDENT        BO9075878    3,700    8,200    7,200    5,700     8,100    4,700    6,267    37,600

100056527   024109116   OPTIMA CARE PHARMACY, INC.                   GLENDALE       CA   91201       INDEPENDENT        BO9139660    2,000     800     1,800    3,100     2,000             1,940     9,700

100051788   010048223   ORTHO AMBULATORY, SURGICAL INT                CANTON        OH   44718         HOSPITAL         BO9613161              100                                  200      150       300

100059194   010022715   OHIO HEALTH CORP. DOCTORS 340B              COLUMBUS        OH   43228     PHS 340B HOSPITAL    BO9667710    1,400     800     1,800                       1,500    1,375     5,500

100100680   010233957   OHIO HEALTH CORP-DOCTORS WAC                COLUMBUS        OH   43228     PHS 340B HOSPITAL    BO9667710              100      400     1,200     1,940     680      864      4,320

100059125   010022699   OHIO HEALTH CORP, DOCTORS RX                COLUMBUS        OH   43228         HOSPITAL         BO9667710     900     1,100    1,200     200                         850      3,400

100070593   023143552   OCEAN BREEZE PHARMACY(Z) CPA               STATEN ISLAND    NY   10305       INDEPENDENT        BO9759676    5,400    3,000    3,900    3,690     1,800     700     3,082    18,490

100065135   052058883   ERLANGER BLEDSOE HOSPITAL                    PIKEVILLE      TN   37367         HOSPITAL         BP0144105     200      300      100      400                100      220      1,100

100058574   049008102   PROFESSIONAL PCY-CALEDON CPA                CALEDONIA       MI   49316       INDEPENDENT        BP0217996    7,500    8,000    8,100    7,600    11,300    8,600    8,517    51,100

100060028   038300053   CENTURA HLTH PHCY PENROSE HOSP           COLORADO SPRINGS   CO   80907         HOSPITAL         BP0237265    2,000     100     8,100    1,700     4,800    4,700    3,567    21,400

100056336   046000471   PAVILION PLAZA PHARMACY                    JACKSONVILLE     FL   32207       INDEPENDENT        BP0244979     100                        100                         100       200

100054179   010044446   P & R HOME IV SERVICE, INC                   VAN WERT       OH   45891   HOME HEALTH SERVICES   BP0246668     800      800                        1,000              867      2,600

100090361   044123349   PARK PHARMACY CPA                         CAPE GIRARDEAU    MO   63703       INDEPENDENT        BP0261571   16,600   23,300   17,100   42,900    32,400   17,400   24,950   149,700

100105976   008027193   LISA FAMILY PHARMACY CPA                     MAGALIA        CA   95954       INDEPENDENT        BP0296194   23,300   29,600    8,100   25,700    37,500   13,500   22,950   137,700

100050426   004028902   PINE PLAINS PHCY INC(GNP)(ARX)              PINE PLAINS     NY   12567       INDEPENDENT        BP0339463                       500      (500)     200                67       200

100058872   044073288   PRESCRIPTION SHOPPE     APSC               WASHINGTON       IN   47501       INDEPENDENT        BP0403395   17,000   18,100   18,100   17,300    18,200   20,300   18,167   109,000

100055096   010045567   PAULDING COUNTY HOSPITAL RX                  PAULDING       OH   45879         HOSPITAL         BP0459366     400      500      100                260               315      1,260

100083487   010191981   PAULDING CO HOSP PHCY 340B                   PAULDING       OH   45879     PHS 340B HOSPITAL    BP0459366                       200      300        80      600      295      1,180

100063516   018063222   PROHEALTH PLAZA PHARMACY                  OKLAHOMA CITY     OK   73112         HOSPITAL         BP0559635                                400                         400       400

100058082   041081117   PASADENA PHARM (EPIC)        B05            PASADENA        MD   21122       INDEPENDENT        BP0616411    2,060    2,360    3,500    3,000      700     2,300    2,320    13,920

100071514   056143198   PARK PLAZA PHCY(MATAWAN)(X)CPA               MATAWAN        NJ   07747       INDEPENDENT        BP0651364     800      600     1,200     700       100     1,600     833      5,000

100050424   004028878   HAZARDS PHARMACY(GNP)                       CORNWALL        NY   12518       INDEPENDENT        BP0770722    3,000    1,100    1,200    1,900     1,400    1,300    1,650     9,900

100052263   010040279   PHARMACY ASSOCIATES INC                     HUNTINGTON      WV   25701   HOME HEALTH SERVICES   BP0795433              500      500                                  500      1,000

100053677   056009647   PELLECCHIA, DENNIS J MD (X)                WYOMISSING       PA   19610         HOSPITAL         BP0795712              100      100                160               120       360

100111378   019002227   POLYCLINIC PHARMACY, INC CPA                 DANVILLE       IL   61832       INDEPENDENT        BP0797437                                                   500      500       500

100085924   055026435   NEIL MED GRP PHCY SVS (MRSVLE)             MOORESVILLE      NC   28115     LONG TERM CARE       BP0914730   45,600   41,600   49,500   45,900    56,640   40,560   46,633   279,800

100057158   019040196   PARIS CLINIC PHARMACY, INC-LLC                PARIS         IL   61944       INDEPENDENT        BP0929781    6,000    5,000   10,700    1,000     9,600   16,500    8,133    48,800

100064742   018062414   HUDSON PHARMACY          CPA                VAN BUREN       AR   72956       INDEPENDENT        BP1125411   24,100   20,700   26,000   23,100    30,100   22,000   24,333   146,000

100071517   023143594   PHARMACY VALUE(X)       CPA                GUTTENBERG       NJ   07093       INDEPENDENT        BP1273781     500      500      100      400       300      100      317      1,900

100070714   026130666   KTA PUAINAKO PHARMACY                          HILO         HI   96720          CHAIN           BP1307075   10,000    9,800    9,500    9,700    21,800   16,500   12,883    77,300

100059654   023095281   PARKWAY CENTRAL PHARMACY(X)                EAST ORANGE      NJ   07018       INDEPENDENT        BP1387821     100               100                                  100       200

100070499   046141499   PALMS WEST HOSPITAL PHCY #712              LOXAHATCHEE      FL   33470         HOSPITAL         BP1420140     300      350      300      200       380      180      285      1,710

100059623   041053470   POTOMAC CENTER PHARMACY            V01     WOODBRIDGE       VA   22191       INDEPENDENT        BP1462100     400      300      300      400                         350      1,400

100053757   024055327   PUENTE HILLS PHARMACY/PCN                HACIENDA HEIGHTS   CA   91745       INDEPENDENT        BP1627996    1,500    2,400    1,500    2,000     1,100    1,300    1,633     9,800

100064955   049042440   PROFESSIONAL VILLAGE PHARMACY                 LIVONIA       MI   48150       INDEPENDENT        BP1681495    1,500    2,400   11,000    1,100      300     2,500    3,133    18,800

100055183   032061861   PAULSENS PHARMACY                           PORTLAND        OR   97213       INDEPENDENT        BP1701689    4,100    3,800    4,200    6,900     7,000    2,200    4,700    28,200

100106888   021173781   PHARMACY EXPRESS                              OLATHE        KS   66061       INDEPENDENT        BP1795179    7,000    8,500    8,700    9,000    10,000   11,000    9,033    54,200

100090506   032144550   PEACE HARBOR HOSPITAL                       FLORENCE        OR   97439         HOSPITAL         BP1890993     200      800      200      900      1,000     200      550      3,300

100090508   032144592   PEACE HARBOR HOSPITAL 340B                  FLORENCE        OR   97439     PHS 340B HOSPITAL    BP1890993              100                                           100       100

100058064   044046599   PUXICO DRUGS                                  PUXICO        MO   63960       INDEPENDENT        BP1906506   25,500   24,000   28,500   29,000    25,200   32,000   27,367   164,200

100051273   008035568   PLEASANT VALLEY PHCY                       PENN VALLEY      CA   95946       INDEPENDENT        BP2033544                                         1,000    1,000    1,000     2,000

100070531   026130112   KTA KAMUELA PHARMACY RX                      KAMUELA        HI   96743          CHAIN           BP2053990    6,000    7,500    6,000    5,500     6,900    5,600    6,250    37,500
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100064335   052040261   PROFESSIONAL PHCY, INC       SF         TYLERTOWN       MS   39667       INDEPENDENT        BP2081761   12,000   11,300   11,700     12,300   14,200    9,600   11,850    71,100

100064672   052043554   PULMONAIRE SERV. PHARM INC             CHATTANOOGA      TN   37403       INDEPENDENT        BP2156114    1,000    1,500     500       2,000    1,300     500     1,133     6,800

100064612   025020941   PEOPLE'S DRUG STORE        SF            SUPERIOR       WI   54880       INDEPENDENT        BP2184187    5,500    7,200    5,400      6,900    3,900    5,200    5,683    34,100

100071062   037125526   ROGERS PHARMACY #2 - CITIZENS,           VICTORIA       TX   77901       INDEPENDENT        BP2280307   11,900   12,500   13,600      7,900   20,300    9,700   12,650    75,900

100052827   026064709   PALI MOMI MED CENTER INPATIENT             AIEA         HI   96701         HOSPITAL         BP2318372    1,200     400      500       1,500                       900      3,600

100109835   026004671   PALI MOMI MED CTR IP WAC                   AIEA         HI   96701         HOSPITAL         BP2318372                                                    600      600       600

100053134   012049601   PENINSULA PHCY                          SAN PEDRO       CA   90731       INDEPENDENT        BP2342119   23,100   25,700   22,700     20,800   13,500   12,800   19,767   118,600

100057447   056010462   PBC PHARMACY, INC.     MHA             HARLEYSVILLE     PA   19438     LONG TERM CARE       BP2647595    1,500    1,500    1,500      3,100     500      500     1,433     8,600

100062416   012192849   POINT LOMA SHELTER ISL.                 SAN DIEGO       CA   92106       INDEPENDENT        BP2727759    7,800    9,400    9,800      6,600    8,500    7,460    8,260    49,560

100067908   024101683   PRESCRIPTION PHARMACY           #1    SANTA BARBARA     CA   93110       INDEPENDENT        BP2939443    7,800    9,300    7,600     11,500    6,200    2,800    7,533    45,200

100107455   010237115   PROSPECT PHARMACY CPA                    PROSPECT       OH   43342       INDEPENDENT        BP3076583    4,500    6,500    3,500      2,200    2,000    4,500    3,867    23,200

100090683   044192559   PRESCRIPTION PLUS BADEN                 NEW BADEN       IL   62265       INDEPENDENT        BP3120437    6,200    7,600    7,600      8,200    8,300    6,100    7,333    44,000

100056059   018028506   PHARMERICA (AUSTIN)                       AUSTIN        TX   78704     LONG TERM CARE       BP3128471   96,600   26,300   77,000    107,500             3,300   62,140   310,700

100053141   012078584   COSTCO #0411 EDI FOUNTAIN VALL        FOUNTAIN VALLEY   CA   92708          CHAIN           BP3185370    7,400   10,000    7,700     11,800    3,300    9,300    8,250    49,500

100067907   024110601   PRESCRIPTION PHARMACY        #2       SANTA BARBARA     CA   93105       INDEPENDENT        BP3186322    1,300    2,100    1,500      9,600   24,700   10,500    8,283    49,700

100062690   052050120   PAYLESS DRUGS          CPA              BIRMINGHAM      AL   35207       INDEPENDENT        BP3327550   32,200   37,000   39,000     32,100    8,900   31,000   30,033   180,200

100056278   032054833   PHARMACARE PRESC. INC                    PORTLAND       OR   97239       INDEPENDENT        BP3342742    2,400    4,000     800       1,700    2,100    2,700    2,283    13,700

100056983   021026104   INTEGRATED HMO PHCY SVC         SF        OMAHA         NE   68154       MAIL SERVICE       BP3403172    2,400     600      400        800                       1,050     4,200

100056983   021026104   INTEGRATED HMO PHCY SVC         SF        OMAHA         NE   68154       INDEPENDENT        BP3403172                       (100)               800      700      467      1,400

100087245   046038471   PINELLAS COUNTY JAIL                   CLEARWATER       FL   33762         ALT SITE         BP3432604     500     1,500               1,500                      1,167     3,500

100066999   055143529   PRICE'S PRESCRIPTION SHOP CPA           WINNSBORO       SC   29180       INDEPENDENT        BP3486544   16,800   15,900   15,100     14,000    9,400   12,500   13,950    83,700

100066684   021175869   PRESCRIPTION SHOPPE THE, CPA            MONTICELLO      IA   52310       INDEPENDENT        BP3686005    3,000    2,500    4,500       500     3,500    1,500    2,583    15,500

100070763   018140574   PLAZA DAY SURGERY         HCA          FORT WORTH       TX   76104         HOSPITAL         BP3717418     200                          200                        200       400

100052120   018044644   PHARMERICA (TYLER)                        TYLER         TX   75703     LONG TERM CARE       BP3738626   28,200   35,800   37,400     74,300                     43,925   175,700

100067329   021003079   PLAZA WEST PHARMACY INC CPA               SEDALIA       MO   65301       INDEPENDENT        BP3876046    7,200   11,300    1,700     11,500    2,700    4,800    6,533    39,200

100056258   040040550   MYCARE PHARMACY #8251                   COLUMBUS        GA   31901       INDEPENDENT        BP3913767    3,700    4,100    4,700      4,300    5,200    4,900    4,483    26,900

100064300   018065862   POPKESS PHARMACY                          DEWEY         OK   74029       INDEPENDENT        BP3927918    5,000    2,500    2,300      4,300    5,500             3,920    19,600

100063354   046072579   POSEY PROFESSIONAL SERVICES            PANAMA CITY      FL   32404     LONG TERM CARE       BP3947592    1,100    1,200    1,500       900               800     1,100     5,500

100050127   004054619   KELLER ARMY HOSP-PHCY DIV(DOD)          WEST POINT      NY   10996    HOSPITAL (FEDERAL)    BP3950664     300      400     2,500       800               800      960      4,800

100051993   018045278   PRUITT, TAD C MD                        LITTLE ROCK     AR   72205         HOSPITAL         BP4006006      50       50       50        100                         63       250

100054117   037014027   PHARMCARE                                PEARLAND       TX   77581       INDEPENDENT        BP4032164   13,000    8,500   11,500      7,200   10,600    7,700    9,750    58,500

100067716   040143800   PORTER PHARMACY & GIFTS         CPA      COCHRAN        GA   31014       INDEPENDENT        BP4034257    7,600    4,200    6,900     12,000   11,200    7,100    8,167    49,000

100060187   056027714   PARVIN'S PHARMACY(X)(IPBG)              BRYN MAWR       PA   19010       INDEPENDENT        BP4056164     800      200     1,300      1,200     200      900      767      4,600

100072617   055040113   NOVANT HLTH MATTHEWS MD CTR             MATTHEWS        NC   28105         HOSPITAL         BP4064399    1,100    2,100    1,000      2,200    2,860    1,300    1,760    10,560

100059534   041018796   MCDONALD ARMY HOSP PHY-DOD              FORT EUSTIS     VA   23604    HOSPITAL (FEDERAL)    BP4298382   32,000    9,600   25,200                        9,600   19,100    76,400

100052303   010041111   RUWE FAMILY PHCY-BELLEVUE APSC           BELLEVUE       KY   41073       INDEPENDENT        BP4307648    2,500    3,500    1,500      3,000    2,500    2,000    2,500    15,000

100053075   012078576   COSTCO #0410 EDI NORWALK                 NORWALK        CA   90650          CHAIN           BP4337451    6,300    9,400    5,400      9,400    7,500    3,100    6,850    41,100

100090334   056020834   PLUMSTED APOTHECARY INC CPA             NEW EGYPT       NJ   08533       INDEPENDENT        BP4367442    3,700    2,240    5,820      3,600     800     4,600    3,460    20,760

100066414   040143206   CLINIC PHARMACY INC       CPA             TOCCOA        GA   30577       INDEPENDENT        BP4385793    2,000    6,000   10,000      1,000    1,000    5,000    4,167    25,000

100060989   019034199   PROGRESSIVE HOMECARE SERVICES          INDIANAPOLIS     IN   46256   HOME HEALTH SERVICES   BP4440121    8,900   12,500   11,000      8,400   11,900   10,800   10,583    63,500

100106495   019183541   PAVILION HOSPITAL PHARMACY              CHAMPAIGN       IL   61820         HOSPITAL         BP4499631                       200        100       80               127       380

100089769   010223925   POCA VALU-RITE PHARMACY                    POCA         WV   25159       INDEPENDENT        BP4501753   11,100   15,200    9,800     19,900   15,400   10,100   13,583    81,500

100065992   023066431   PROFESSIONAL PHCY-PENNSBURG(Z)          PENNSBURG       PA   18073       INDEPENDENT        BP4586511   10,000    9,300   14,800      6,400    7,000    1,800    8,217    49,300

100090050   032143511   PEACE HLTH EMPLOY BENEFIT PHCY          SPRINGFIELD     OR   97477         HOSPITAL         BP4622482    6,500    6,500    8,600      5,900    5,600    5,300    6,400    38,400
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100090343   032144220   PEACEHEALTH MEDICAL GROUP 340B       SPRINGFIELD    OR   97477     PHS 340B HOSPITAL    BP4622482     500                                                    500       500

100090344   032144238   *PEACEHEALTH MEDICAL GRP 340B        SPRINGFIELD    OR   97477     PHS 340B HOSPITAL    BP4622482     500                                                    500       500

100056921   056015289   PENN PRESBYTERIAN MED CTR HOSP      PHILADELPHIA    PA   19104         HOSPITAL         BP4683783                                         1,800     500     1,150     2,300

100068317   021049924   PHELPS COUNTY REG MED CTR-EMPL         ROLLA        MO   65401         HOSPITAL         BP4685092    5,500    7,000     7,300    7,900    8,000    4,600    6,717    40,300

100051948   018045062   PHARMACY PLUS (#6)                      WACO        TX   76705       INDEPENDENT        BP4714071   17,400   17,400    15,400   15,700   15,600   11,100   15,433    92,600

100050793   052062349   P M O A, INC. #                        MOBILE       AL   36609         ALT SITE         BP4735570    5,500              3,000    5,400     700     6,700    4,260    21,300

100058459   046022558   PINE ISLAND DRUGS, INC                  DAVIE       FL   33324       INDEPENDENT        BP4747450    3,300    3,200     3,300    5,000    3,200    1,900    3,317    19,900

100109335   012113373   PHARMCO DRUG                           NORCO        CA   92860       INDEPENDENT        BP4754152    5,600   22,600    18,500   15,900   30,400   32,200   20,867   125,200

100070497   038140160   PRESBYTERIAN ST. LUKES MEDCTR          DENVER       CO   80218         HOSPITAL         BP4782860     900     1,900     1,600    3,100    1,600    1,200    1,717    10,300

100090693   044192963   PRESCRIPTIONS PLUS TROY                 TROY        IL   62294       INDEPENDENT        BP4806153    6,200    6,000     8,400    8,600    9,500    7,000    7,617    45,700

100056240   018029272   PECOS CNTY MEMORIAL HOSP/PHCY       FORT STOCKTON   TX   79735         HOSPITAL         BP4840763     100      100       150               260      100      142       710

100055655   018101006   PECOS CO MEMORIAL HOSP PH(PHS)      FORT STOCKTON   TX   79735     PHS 340B HOSPITAL    BP4840763                        200                                 200       200

100051929   018045047   PHARMACY PLUS (#4)                      WACO        TX   76706       INDEPENDENT        BP4854318   17,540   15,920    19,140   19,960   11,500    6,000   15,010    90,060

100051947   018045070   PHARMACY PLUS, #5                       WACO        TX   76708       INDEPENDENT        BP4854320    6,000   11,000     8,000   15,200    6,000    6,000    8,700    52,200

100076848   044089151   PEOPLES HEALTH CENTERS PHCY          SAINT LOUIS    MO   63112      PHS 340B CLINIC     BP4869155    2,600    4,400     1,400    5,300                      3,425    13,700

100050376   018045054   PHARMACY PLUS (#7)                    COPPELL       TX   75019       INDEPENDENT        BP4879625    7,100    6,180     7,600    4,000    7,300    6,000    6,363    38,180

100067273   049143040   PAUL'S PHARMACY          CPA          HOLLAND       MI   49423       INDEPENDENT        BP4950273    9,200    4,000     9,500    6,600    6,900    6,300    7,083    42,500

100053150   012078667   COSTCO #0445 EDI YORBA LINDA         YORBA LINDA    CA   92887          CHAIN           BP4965692    7,600    7,100     7,400    5,700    5,300    3,200    6,050    36,300

100070315   010172098   PROFESSIONAL CENTER PHCY APSC         RICHMOND      KY   40475       INDEPENDENT        BP5015347    3,500    2,500     3,500    4,400    3,000    1,000    2,983    17,900

100065028   021044370   PHARMERICA (OMAHA)         CPS         OMAHA        NE   68137     LONG TERM CARE       BP5023356   10,800   15,600    14,600   31,300                     18,075    72,300

100104517   038110429   PEOPLE'S PHCY         SF              LAKEWOOD      CO   80228       INDEPENDENT        BP5068704    5,100    5,500     4,900    6,400    4,300    4,300    5,083    30,500

100057612   026038075   PHARMERICA (HILO)                       HILO        HI   96720     LONG TERM CARE       BP5166740    4,400    4,600     5,200   13,600     300     2,200    5,050    30,300

100085588   040103499   GA HIGHLANDS MED SERVICES 340B        CUMMING       GA   30028      PHS 340B CLINIC     BP5183873                                 200                        200       200

100054088   012037846   POMONA VALLEY HOSP MED CTR (2)         POMONA       CA   91767         HOSPITAL         BP5261487    6,400    5,600     6,600    5,500    6,200    6,760    6,177    37,060

100056036   032068221   PACMED CENTER MADISON PHY              SEATTLE      WA   98104         ALT SITE         BP5266033                                 100      500     1,500     700      2,100

100057005   032099424   PACMED CTR MADISON DOD                 SEATTLE      WA   98104    HOSPITAL (FEDERAL)    BP5266033                                 100     1,000              550      1,100

100053956   041011874   NAVAL MED CTR,PHY DEPT-DOD           PORTSMOUTH     VA   23708    HOSPITAL (FEDERAL)    BP5294563   79,000   30,000    85,800            51,400   29,400   55,120   275,600

100058009   041080028   (CRD)NAVAL HSP 11874/60004           PORTSMOUTH     VA   23708    HOSPITAL (FEDERAL)    BP5294563                               10,400   18,000            14,200    28,400

100060469   041051870   PHARMERICA - VINTON        868         VINTON       VA   24179     LONG TERM CARE       BP5312121   13,500    9,000     9,500   14,000             4,600   10,120    50,600

100058792   018068940   PARKVIEW PHARMACY, INC                 GUYMON       OK   73942       INDEPENDENT        BP5338872    1,500    2,500     2,000    8,500    7,700   11,700    5,650    33,900

100055548   049089821   PGPA PHARMACY INC        340B          OKEMOS       MI   48864      PHS 340B CLINIC     BP5456024    5,400    5,300     5,000    3,200                      4,725    18,900

100070841   049178178   PGPA PHARMACY CSHS         340B        OKEMOS       MI   48864      PHS 340B CLINIC     BP5456024     200      400       200                                 267       800

100052610   020072165   PET HEALTH PHARMACY                  YOUNGTOWN      AZ   85363       ALT CHANNEL        BP5465720                        700      500     1,000    3,500    1,425     5,700

100071735   038140152   NORTH SUBURBAN SURG CTR #712          THORNTON      CO   80229         HOSPITAL         BP5478551                        100               100               100       200

100065169   019004275   PARKVIEW HOME INFUSION SERVS         FORT WAYNE     IN   46805   HOME HEALTH SERVICES   BP5506324     800      900      1,200    1,000     700      900      917      5,500

100086401   019145664   PARKVIEW HOME INF SVS 340B           FORT WAYNE     IN   46805     PHS 340B HOSPITAL    BP5506324     500      (400)                                          50       100

100059086   044043471   PHIL'S PRESCRIPTION DRUGS APSC         ENERGY       IL   62933       INDEPENDENT        BP5561560    7,400    8,000     7,800   12,400    8,100   16,000    9,950    59,700

100067898   018161679   PARKVIEW REGIONAL HOSPITAL#712          MEXIA       TX   76667         HOSPITAL         BP5588403     800      550       300      100      290      320      393      2,360

100058238   044048728   PEOPLES CUSTOM RX & CLINICAL          MEMPHIS       TN   38117       INDEPENDENT        BP5602443     700     1,700     1,000    1,100    1,620    1,780    1,317     7,900

100090509   032144600   PIONEERS' HOME PHARMACY              ANCHORAGE      AK   99501         HOSPITAL         BP5618458             7,300     5,000    6,700              600     4,900    19,600

100053149   012078659   COSTCO #0441 EDI PALM DESERT         PALM DESERT    CA   92211          CHAIN           BP5645075   16,300   13,500    16,500   11,300    3,100     200    10,150    60,900

100053874   037074161   PROFESSIONAL ARTS PHCY         SF     LAFAYETTE     LA   70506       INDEPENDENT        BP5680005     400      400       100     1,100              100      420      2,100

100066984   046044495   PHARMERICA (FT. LAUDERDALE)         FT LAUDERDALE   FL   33309     LONG TERM CARE       BP5682958    3,900    4,200     3,600   12,200     700     2,000    4,433    26,600

100061084   052075119   PHARMACY CORP AMER (RIDGELAND)        RIDGELAND     MS   39157     LONG TERM CARE       BP5685144   40,900   43,500    48,300   47,200     600      200    30,117   180,700
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100057299   044066126   PHARMERICA - LOUISVILLE             LOUISVILLE       KY   40299   LONG TERM CARE      BP5689089   47,800   40,500   45,000     69,100                       50,600    202,400

100066980   046053934   PHARMERICA (SARASOTA)                SARASOTA        FL   34240   LONG TERM CARE      BP5691488   14,500   12,300   10,700     28,000      300      100     10,983     65,900

100057251   019300079   PRES UNITED SAMARITANS MED CT        DANVILLE        IL   61832       HOSPITAL        BP5692240    1,000    1,400    1,800      1,900     1,160              1,452      7,260

100083264   019134858   PRES UNITED SAMARITANS 340B          DANVILLE        IL   61832    PHS 340B CLINIC    BP5692240     900                           200               400       500       1,500

100110012   019187385   PRES UNITED SAMARITANS WAC           DANVILLE        IL   61832       HOSPITAL        BP5692240              400                                    700       550       1,100

100062809   019301770   PRES UNITED SAMARITANS (CC)GPO       DANVILLE        IL   61832       HOSPITAL        BP5692240                                                     320       320         320

100057248   019300020   PROVENA HOSPITALS                     AURORA         IL   60506       HOSPITAL        BP5692264    1,600    2,200    1,100      2,100     1,060    1,120     1,530      9,180

100083984   019136093   PROVENA MERCY MED CTR WAC             AURORA         IL   60506       HOSPITAL        BP5692264                                            820     1,520     1,170      2,340

100083567   019135335   PROVENA MERCY MED CTR 340B            AURORA         IL   60506   PHS 340B HOSPITAL   BP5692264     200      200      600         700                         425       1,700

100061226   019300244   PROVENA COVENANT MEDICAL CTR          URBANA         IL   61801       HOSPITAL        BP5692276    2,000    2,700    2,000      1,700     4,000     100      2,083     12,500

100061225   019300145   PRESENCE ST. MARY'S HOSPITAL         KANKAKEE        IL   60901       HOSPITAL        BP5692288    1,500    1,900    1,600      2,200               400      1,520      7,600

100110116   019187880   PRESENCE ST. MARY'S HOSP WAC         KANKAKEE        IL   60901       HOSPITAL        BP5692288                                           1,900    1,600     1,750      3,500

100061227   019300251   PROVENA COVENANT OUTPAT PHCY          URBANA         IL   61801       HOSPITAL        BP5692290     800      900      900         500     2,900    1,800     1,300      7,800

100066983   046045195   PHARMERICA (JAX)                   JACKSONVILLE      FL   32256   LONG TERM CARE      BP5692377   13,700   13,700   12,000     40,600                       20,000     80,000

100059457   023001321   PHARMERICA (LEESPORT)                LEESPORT        PA   19533   LONG TERM CARE      BP5694561     100      800     1,300      1,100                         825       3,300

100059454   023000802   PHARMERICA (WILKES-BARRE)          WILKES BARRE      PA   18706   LONG TERM CARE      BP5694597    9,300    7,600    7,000     20,500      200      800      7,567     45,400

100056702   056027532   PHARMERICA (KING OF PRUSSIA)      KING OF PRUSSIA    PA   19406   LONG TERM CARE      BP5694624    5,200    5,300    5,000      9,600              1,600     5,340     26,700

100055764   032064204   PHARMERICA (SPOKANE)                 SPOKANE         WA   99206   LONG TERM CARE      BP5697365    3,000    3,400    3,500      7,000                        4,225     16,900

100076850   044089250   PHARMERICA (BRIDGETON)              BRIDGETON        MO   63044   LONG TERM CARE      BP5697997    7,500    7,000   11,000     10,500     3,400              7,880     39,400

100066060   021044701   PHARMERICA (KANSAS CITY) CPS          LENEXA         KS   66214   LONG TERM CARE      BP5699775   35,000   35,600   36,400     33,600     9,000             29,920    149,600

100057253   019300129   ST JOSEPH MEDICAL CENTER PHCY         JOLIET         IL   60435       HOSPITAL        BP5700390    7,700    6,200    7,000      8,900     5,000    7,300     7,017     42,100

100061853   025022640   ESSENTIA HEALTH SANDSTONE           SANDSTONE        MN   55072       HOSPITAL        BP5701532              100      200         100      200                150         600

100062968   046049114   PHARMERICA (ORLANDO)             ALTAMONTE SPRINGS   FL   32701   LONG TERM CARE      BP5703788   13,550   13,200   14,700   1,427,700     240      300    244,948   1,469,690

100063355   046072553   PHARMERICA (TALLAHASS)             TALLAHASSEE       FL   32303   LONG TERM CARE      BP5703803   25,000   31,500   38,500     49,500      500              29,000    145,000

100066816   046043695   PHARMERICA (LARGO)                    LARGO          FL   33771   LONG TERM CARE      BP5704324   40,100   27,850   29,600     79,150              1,000    35,540    177,700

100057252   019300111   PROVENA HOSPITALS, D/B/A               ELGIN         IL   60123       HOSPITAL        BP5708536    2,600    1,900    2,300      3,700     1,400    2,140     2,340     14,040

100055436   038010041   PHARMERICA (CO SPRINGS)          COLORADO SPRINGS    CO   80907   LONG TERM CARE      BP5714274   11,800   12,700   24,700      8,500    15,200   19,700    15,433     92,600

100054217   038050484   PHARMERICA/PCA (BROOMFIELD)         BROOMFIELD       CO   80020   LONG TERM CARE      BP5723449   61,200   72,900   57,900    163,900     1,200   36,200    65,550    393,300

100072362   055039115   PHARMERICA (GREENSBOR)             GREENSBORO        NC   27407   LONG TERM CARE      BP5724655    2,100    3,500    3,400      5,500      200               2,940     14,700

100056425   040065169   PHCY CORP OF AMERICA (SMYRNA)         SMYRNA         GA   30082   LONG TERM CARE      BP5728160   20,100   20,500   40,100     19,700              3,000    20,680    103,400

100054541   038041038   PHARMERICA (RAPID CITY)              RAPID CITY      SD   57701   LONG TERM CARE      BP5729681    8,100    9,000    9,000     24,600                       12,675     50,700

100065674   023021907   PHARMERICA (HARRISBURG)             HARRISBURG       PA   17112   LONG TERM CARE      BP5731256    3,800    4,900    3,200      6,800      200     3,500     3,733     22,400

100055768   032064857   PHARMERICA (KENT) PCA/HCPA             KENT          WA   98032   LONG TERM CARE      BP5734341    4,200    5,700    4,300      4,800                        4,750     19,000

100061529   044096230   PHARMERICA (FRANKLIN)                FRANKLIN        TN   37067   LONG TERM CARE      BP5734593   31,000   39,100   41,100     70,700      160              36,412    182,060

100054380   041015008   PHARMERICA (BELTSVILLE)    B12      BELTSVILLE       MD   20705   LONG TERM CARE      BP5737626    2,500    2,700     500       4,200     1,000              2,180     10,900

100055152   018030304   PHARMERICA (PCA-LITTLE RK)       NORTH LITTLE ROCK   AR   72116   LONG TERM CARE      BP5741978   13,000   11,500   12,700     25,000                       15,550     62,200

100067083   019143073   CHN PHARMACY #1         CPA          WAUTOMA         WI   54982     INDEPENDENT       BP5742449    3,300    4,400    3,500      6,200     4,900    2,500     4,133     24,800

100088161   019151936   CHN PHARMACY #1 - 340B CPA           WAUTOMA         WI   54982   PHS 340B HOSPITAL   BP5742449    2,200    2,600    1,100        100      600     3,100     1,617      9,700

100073051   025044453   PHARMERICA (SIOUX FALLS) CPS        SIOUX FALLS      SD   57105   LONG TERM CARE      BP5746966    8,000    8,000    9,000      4,500     1,500              6,200     31,000

100061159   019300137   PRESENCE LIFE CONNECTIONS PHCY     BOURBONNAIS       IL   60914   LONG TERM CARE      BP5748643   24,600   20,500   21,500     11,400    20,200   20,000    19,700    118,200

100055968   010055590   PHARMERICA WESTLAKE TWINSBURG        WESTLAKE        OH   44145   LONG TERM CARE      BP5756323   17,100   21,100   17,700     33,600               300     17,960     89,800

100072377   055042770   BAPTIST EASLEY HOSPITAL               EASLEY         SC   29641       HOSPITAL        BP5763342    1,200    1,000     600       1,100     1,380     380       943       5,660

100072355   055042580   PALMETTO HEALTH PHARMACY 5MP         COLUMBIA        SC   29203       HOSPITAL        BP5763354    3,700    5,600    3,700      4,100      640     3,100     3,473     20,840

100096660   055037531   PALMETTO HEALTH PHCY 5MP(WAC)        COLUMBIA        SC   29203       HOSPITAL        BP5763354              100                3,700     2,340              2,047      6,140
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100072354   055060384   PALMETTO HLTH PHCY 5MP (340B)        COLUMBIA        SC   29203   PHS 340B HOSPITAL   BP5763354     600      1,000     600      600       400     1,000     700       4,200

100072378   055042796   PALMETTO HLTH BAPTIST MED CTR        COLUMBIA        SC   29201       HOSPITAL        BP5763366    1,400     1,900    1,900    2,100      240      900     1,407      8,440

100096659   055037523   PALMETTO HEALTH BAPTIST (WAC)        COLUMBIA        SC   29201       HOSPITAL        BP5763366               100               300      5,220             1,873      5,620

100072380   055060228   PALMETTO HEALTH(BAPTIST)(340B)       COLUMBIA        SC   29201   PHS 340B HOSPITAL   BP5763366     400       500      300      300       320      100      320       1,920

100096657   055037515   PALMETTO HEALTH PHCY 10MP(WAC)       COLUMBIA        SC   29203       HOSPITAL        BP5763455    7,200     8,000    7,100   16,800     2,400    5,400    7,817     46,900

100072177   055043539   PALMETTO HEALTH PHCY10MP(PHS)        COLUMBIA        SC   29203   PHS 340B HOSPITAL   BP5763455    3,700     4,000    3,500    3,700      100     3,400    3,067     18,400

100058817   049030890   PHARMERICA (WARREN)         CPS       WARREN         MI   48092   LONG TERM CARE      BP5774105   25,300    23,400   32,100   50,800                      32,900    131,600

100061276   019095745   PHARMERICA (INDY)      CPS          INDIANAPOLIS     IN   46250   LONG TERM CARE      BP5778468   27,800    31,300   26,300   78,500      280      620    27,467    164,800

100109842   010238170   PHARMERICA (INDY-DEPOT)             INDIANAPOLIS     IN   46250   LONG TERM CARE      BP5778468     (100)                                                   (100)      (100)

100060433   044082461   PHARMERICA (GLASGOW)                 GLASGOW         KY   42141   LONG TERM CARE      BP5795452   20,400    22,000   20,900   34,000                      24,325     97,300

100063805   052006023   PHARM CORP OF AMERICA-B'HAM @       BIRMINGHAM       AL   35244   LONG TERM CARE      BP5811333   35,000    30,500   33,300   36,600     2,000     180    22,930    137,580

100050794   052062356   PHARMERICA (DAPHNE) #                 DAPHNE         AL   36526   LONG TERM CARE      BP5817157    8,200    10,200    9,600   20,600                      12,150     48,600

100062176   025004127   PHARMERICA (FRIDLEY)                  FRIDLEY        MN   55421   LONG TERM CARE      BP5822209   13,700    13,100   13,500   17,000     2,500    1,200   10,167     61,000

100067899   020145029   HAVASU REGIONAL MED CTR #712      LAKE HAVASU CITY   AZ   86403       HOSPITAL        BP5843669    1,100     1,000     650      550      1,150     480      822       4,930

100075103   056061093   PHARMERICA (NEWARK-2)                 NEWARK         DE   19711   LONG TERM CARE      BP5895529     500       500      100      500                500      420       2,100

100058447   041031708   PETERSTOWN PHARMACY,LLC (GNP)       PETERSTOWN       WV   24963     INDEPENDENT       BP5975226    5,900     6,700    4,500    6,800     7,620    2,500    5,670     34,020

100062075   021002329   FAITH REGIONAL SURGERY CTR LLC       NORFOLK         NE   68701       HOSPITAL        BP5982562               100                         100               100        200

100052854   017065730   PHARMERICA (G-FALLS)                GREAT FALLS      MT   59404   LONG TERM CARE      BP6019625    1,400     1,400    1,200    3,100      200      400     1,283      7,700

100057615   026038109   PHARMERICA/WAILUKU                    WAILUKU        HI   96793   LONG TERM CARE      BP6048359    2,200     3,700    3,300    9,100              1,100    3,880     19,400

100053015   020058156   PHARMERICA/BROADBENT ALBQ          ALBUQUERQUE       NM   87107   LONG TERM CARE      BP6061814   18,100    20,000   19,600   42,800     1,300            20,360    101,800

100061651   023010413   PINNACLE HLTH-COM GEN (PP)NOVA      HARRISBURG       PA   17109       HOSPITAL        BP6083733    3,200     3,600    1,900    2,600     1,400    2,960    2,610     15,660

100078713   017141929   PARTNERSHIP HEALTH CENTER 340B       MISSOULA        MT   59802    PHS 340B CLINIC    BP6109450    5,700     7,000    4,600    7,700     5,400   10,400    6,800     40,800

100058821   017078782   PARTNERSHIP HEALTH CTR PHRMSF        MISSOULA        MT   59802       ALT SITE        BP6109450    3,500     2,000    4,000    2,000      800     2,400    2,450     14,700

100072356   055045229   PALMETTO HEALTH PHARMACY PSC         COLUMBIA        SC   29201   PHS 340B HOSPITAL   BP6126165    1,500     1,000     900     1,300     1,700             1,280      6,400

100053016   020058248   PHARMERICA (EL PASO)                  EL PASO        TX   79902   LONG TERM CARE      BP6195184   13,500    14,200   14,900   27,700                      17,575     70,300

100066997   055143495   PAWLEY'S ISLAND PHARMACY(X)CPA    PAWLEYS ISLAND     SC   29585     INDEPENDENT       BP6196504   15,300    14,000   12,900     300      9,600   10,300   10,400     62,400

100058995   049032862   PORT HURON HOSP PHARMACY PLACE         YALE          MI   48097     INDEPENDENT       BP6226054    9,400     9,100    8,700    9,900    10,800    5,900    8,967     53,800

100110424   023161505   POWER'S PHARMACY       CPA         BROWNS MILLS      NJ   08015     INDEPENDENT       BP6259926                       2,600    2,900     1,000    2,640    2,285      9,140

100051263   008035139   PREMIER PHARMACY      SF            SAN RAMON        CA   94583   LONG TERM CARE      BP6261589    4,400     7,500    4,900    6,500     7,400    2,000    5,450     32,700

100056420   046004168   PHARMLINK, INC                         MIAMI         FL   33144     INDEPENDENT       BP6335156     300       200      400      400       300      100      283       1,700

100059498   010098947   PIKEVILLE DISCOUNT DRUGS INC         PIKEVILLE       KY   41501     INDEPENDENT       BP6354170   11,200    19,500   19,200   17,700    16,000   15,000   16,433     98,600

100071547   018169573   PHCYNET PRESCRIPTION SERV SF          FRISCO         TX   75035     INDEPENDENT       BP6359055     500      1,100     600      (100)                       525       2,100

100075720   010185439   PLAIN CITY DRUGGIST        CPA       PLAIN CITY      OH   43064     INDEPENDENT       BP6379324    8,200     4,500    9,800   26,100     3,300    5,200    9,517     57,100

100067620   044172403   JACKSON PURCHASE MED CTR #712        MAYFIELD        KY   42066       HOSPITAL        BP6452091     900       800      900     2,200     1,140     500     1,073      6,440

100056145   046009308   PHARMACEUTICAL CR CLNTS OF, FL      BOCA RATON       FL   33433     INDEPENDENT       BP6566876     500       400      300                200               350       1,400

100055888   019013748   PHARMERICA (BENSENVILLE)            BENSENVILLE      IL   60106   LONG TERM CARE      BP6571966   54,200    40,300   46,500   90,500      100      500    38,683    232,100

100070663   044143396   PLAZA PHARMACY          CPA         JONESBORO        AR   72401     INDEPENDENT       BP6576702    8,700    12,400   19,580    1,100    13,500    9,500   10,797     64,780

100050842   008036376   PALO ALTO MED FOUNDATION R/S         PALO ALTO       CA   94301       HOSPITAL        BP6588442    8,500    14,000   14,100   11,000    20,200   13,400   13,533     81,200

100050843   008036384   PALO ALTO MEDICAL FOUNDATION/S       PALO ALTO       CA   94301       HOSPITAL        BP6588454                        200                                  200        200

100064077   052016014   PHARMACY CARE ASSOCIATES, LLC      MONTGOMERY        AL   36117   LONG TERM CARE      BP6611518   31,000    34,900   37,600   34,500    37,300   28,800   34,017    204,100

100067897   018161661   PALESTINE REGIONAL MED CTR#712       PALESTINE       TX   75801       HOSPITAL        BP6638944    1,500     1,800    1,100    1,300     1,140    1,080    1,320      7,920

100053416   024063313   PHARMACY 2000                       LOS ANGELES      CA   90024     INDEPENDENT       BP6648678     200       100      500      700       900               480       2,400

100052728   012073015   PALMIERI PHCY                         CORONA         CA   92879     INDEPENDENT       BP6658605     600      2,900    4,600    1,900    13,700   10,100    5,633     33,800

100066718   052055996   PAYLESS, DRUGS         CPA            MORRIS         AL   35116     INDEPENDENT       BP6664507   22,600     7,000   21,600   16,100    13,500   15,000   15,967     95,800
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100050190   018040295   PHARMACY CONCEPTS, LTD                 ARLINGTON      TX   76011     LONG TERM CARE       BP6677819   22,400   30,500   15,000   12,300   11,900    2,000   15,683    94,100

100066726   052056291   PHARMACY PARTNERS, LLC                   FYFFE        AL   35971     LONG TERM CARE       BP6707826    8,500                                                 8,500     8,500

100068065   018161687   ENNIS REGIONAL MED CTR       #712        ENNIS        TX   75119         HOSPITAL         BP6708424     600      700      750      650      410     1,080     698      4,190

100067810   010177519   PHYSICIANS AMB SURGERY CENTER         CIRCLEVILLE     OH   43113         HOSPITAL         BP6709628                                          80                80        80

100085099   010198614   FAMILY PHARMACY OF JACKSON              JACKSON       KY   41339       INDEPENDENT        BP6728781   26,500   24,500   24,500   25,500   23,300   18,500   23,800   142,800

100062818   010099366   PIKEVILLE MEDICAL CENTER PHARM          PIKEVILLE     KY   41501         HOSPITAL         BP6771908   21,000    8,600   29,000   22,900   24,500   26,800   22,133   132,800

100058380   010106518   PIKEVILLE MEDICAL CENTER 340B           PIKEVILLE     KY   41501     PHS 340B HOSPITAL    BP6771908    6,500   17,200    9,500   13,100                     11,575    46,300

100106468   040121129   PEACHFORD BEHAVIORAL HEALTH             ATLANTA       GA   30338         HOSPITAL         BP6814621     600      200      600      500      560      200      443      2,660

100062149   046081935   PERKINS COMPOUNDING PHARMACY          VERO BEACH      FL   32960       INDEPENDENT        BP6817627    8,500    8,700    8,500    6,800   10,200    9,100    8,633    51,800

100070688   046145029   PUTNAM COMMUNITY MED CTR #712           PALATKA       FL   32177         HOSPITAL         BP6825674    1,100    1,050    1,400    2,200     400      320     1,078     6,470

100106467   044220673   PARKWOOD BEHAVIORAL HEALTH            OLIVE BRANCH    MS   38654         HOSPITAL         BP6834368     300      200      200      200      160               212      1,060

100085662   023103556   PROFESSIONAL PRSCRPTN CTR(ARX)        EAST ORANGE     NJ   07018       INDEPENDENT        BP6842113     300      100      300      100                        200       800

100106466   055041004   PALMETTO LOWCOUNTRY BEHAV HLTH        CHARLESTON      SC   29405         HOSPITAL         BP6929345     200      100      300      400                        250      1,000

100067344   019143420   PRINCEVILLE PHARMACY         CPA      PRINCEVILLE     IL   61559       INDEPENDENT        BP6987258   10,500    6,000   11,600   11,800    1,100   10,900    8,650    51,900

100056227   032041913   CARE RX LLC                            PORTLAND       OR   97224     LONG TERM CARE       BP7012874   39,100   49,400   45,900   43,900   93,820   17,160   48,213   289,280

100083520   052161034   LINCOLN PHARMACY                         MOBILE       AL   36603       INDEPENDENT        BP7071323    6,000    6,600    3,500    2,300                      4,600    18,400

100066017   019004820   PHOENIX PHARMACY INC                   MILWAUKEE      WI   53202     LONG TERM CARE       BP7118789                                100                        100       100

100064859   056050120   PENNSYLVANIA HSP O/P PHCY(340B        PHILADELPHIA    PA   19107     PHS 340B HOSPITAL    BP7216193     400     1,500    3,300     200      600              1,200     6,000

100061691   023024844   PASCACK PHARMACY INC        (IPBG)     HILLSDALE      NJ   07642       INDEPENDENT        BP7269500    1,520     900     1,600    1,300     900      800     1,170     7,020

100058918   044043166   PADUCAH PHARMACY, INC        APSC       PADUCAH       KY   42003       INDEPENDENT        BP7273648   13,300   17,200    6,700   18,600   10,500   10,000   12,717    76,300

100056003   038060608   PATHWAYS HOSPICE PHARMACY             FORT COLLINS    CO   80525   HOME HEALTH SERVICES   BP7333507    1,900    2,100    1,300    2,100    1,000    1,500    1,650     9,900

100085815   023103861   PATERSON DRUG INC. (ARX)               PATERSON       NJ   07524       INDEPENDENT        BP7357709              200              1,100                       650      1,300

100072615   055036962   NOVANT HLTH HUNTERSVILLE MEDCR        HUNTERSVILLE    NC   28078         HOSPITAL         BP7401021    1,600    1,300    1,200    1,400    1,200     700     1,233     7,400

100057616   026038125   PHARMERICA (KAUAI)                       LIHUE        HI   96766     LONG TERM CARE       BP7407706    1,000     500      500     1,500     400      500      733      4,400

100061900   023010181   PASSAIC COMMUNI PHCY INC(X)             PASSAIC       NJ   07055       INDEPENDENT        BP7411109                                100                        100       100

100058647   049012351   PHCY SOLUTIONS         SF              ANN ARBOR      MI   48103   HOME HEALTH SERVICES   BP7424562              600      100      200     1,000     400      460      2,300

100050719   037072827   PHYSICIANS MEDICAL CENTER                HOUMA        LA   70360         HOSPITAL         BP7432153     300               200               160       80      185       740

100071522   056143230   *PITMAN PHARMACY(X)      CPA             PITMAN       NJ   08071       INDEPENDENT        BP7437975    3,200    3,400    3,700    1,800                      3,025    12,100

100067900   017145540   NORTHEASTERN NEVADA REG HP#712            ELKO        NV   89801         HOSPITAL         BP7451521     500      500      500      700     1,240     500      657      3,940

100088697   018203406   PROFESSIONAL PHARMACY PLUS           GRAND PRAIRIE    TX   75051       INDEPENDENT        BP7454173     800     2,700    3,300    2,500             1,500    2,160    10,800

100054728   017012559   HEARTLAND PHARMACY                       AMMON        ID   83406     LONG TERM CARE       BP7484001   18,500   20,300   17,300   22,000   22,700   14,300   19,183   115,100

100052913   026064865   PHARMACARE NO 2                        EWA BEACH      HI   96706       INDEPENDENT        BP7499026    4,700    9,000    9,300    8,500    5,300    4,300    6,850    41,100

100052914   026064873   PHARMACARE NO 1                        HONOLULU       HI   96817       INDEPENDENT        BP7499038    7,200    8,700    9,100    8,600    7,200    5,500    7,717    46,300

100057611   026038067   PHARMERICA (HONOLULU)                  HONOLULU       HI   96819     LONG TERM CARE       BP7511492    3,000    3,200    3,200    8,800     200     1,200    3,267    19,600

100068967   008051920   TOMER DRUG CO.                          AVENAL        CA   93204       INDEPENDENT        BP7556701    6,500    8,000    6,900    9,800    6,000    2,000    6,533    39,200

100050318   018040857   PHARMACY PLUS #8                         IRVING       TX   75039       INDEPENDENT        BP7575612    2,500    3,500    1,700    2,700    4,000    3,400    2,967    17,800

100066092   019005389   PARKVIEW NORTH HOSPITAL               FORT WAYNE      IN   46845         HOSPITAL         BP7611329    8,500    9,800    9,400    9,100   16,420    3,620    9,473    56,840

100092142   020158931   PHOENIX CHILDRENS HOSPITAL              PHOENIX       AZ   85016         HOSPITAL         BP7644152     900     1,000     600     2,900                      1,350     5,400

100097012   020159889   PHOENIX CHILDRENS HOSP WAC              PHOENIX       AZ   85016         HOSPITAL         BP7644152     100                        100                        100       200

100067555   010141549   PRECISION CARE PHARMACY - RET           LATROBE       PA   15650       INDEPENDENT        BP7680146    6,500    6,100    7,800    1,700    1,500             4,720    23,600

100053298   010050781   PRECISION CARE PHARMACY LTC             LATROBE       PA   15650     LONG TERM CARE       BP7680146                                        5,100    6,600    5,850    11,700

100052411   024095950   PUBLIC HLTH PHCY-SANTA MAR PHS        SANTA MARIA     CA   93455      PHS 340B CLINIC     BP7694703    5,900    6,700    6,000    6,200    4,500    6,900    6,033    36,200

100071524   023143628   POMPTON PHARMACY(X)          CPA     POMPTON PLAINS   NJ   07444       INDEPENDENT        BP7717537    1,900    1,800    1,100    1,500    1,540    2,500    1,723    10,340

100089307   019156042   PAY LESS PHARMACY J-824 340B          W LAFAYETTE     IN   47906      PHS 340B CLINIC     BP7724001     400      500      500                                 467      1,400
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100070369   021143057   PLEASANT HILL DRUG INC   CPA       PLEASANT HILL    MO   64080     INDEPENDENT        BP7766198    9,200    9,200   18,300    3,700    13,900   13,800   11,350    68,100

100053126   012048702   LAS PALMAS PHCY                    PALM SPRINGS     CA   92262     INDEPENDENT        BP7775781     200      100      600      (200)    4,500    1,300    1,083     6,500

100071513   023143586   PANTHER VALLEY PHCY & GIFT CPA      ALLAMUCHY       NJ   07820     INDEPENDENT        BP7783118    1,700     400     1,400    1,600     4,800     600     1,750    10,500

100104496   024030379   PLAZA PHARMACY                    THOUSAND OAKS     CA   91360     INDEPENDENT        BP7788132    7,900    7,100    7,200    3,400     5,600    9,000    6,700    40,200

100054246   017038976   HEARTLAND LONG TERM CARE PHCY         BOISE         ID   83704    LONG TERM CARE      BP7810143   14,500   21,500   19,100   (1,600)   36,300     900    15,117    90,700

100073879   024158428   PHARMACY OF THE STARS (COMBO)      LOS ANGELES      CA   90067     INDEPENDENT        BP7946936    1,300    2,100    1,100              1,600             1,525     6,100

100053351   024074526   PHARMACY OF THE STARS              LOS ANGELES      CA   90067     INDEPENDENT        BP7946936                                                   100      100       100

100070767   004140061   PORTSMOUTH AMB SURG CTR #712       PORTSMOUTH       NH   03801       HOSPITAL         BP7950353              100       -                                    50       100

100056306   032043273   PARSONS LTC PHARMACY                  CANBY         OR   97013    LONG TERM CARE      BP8048185    1,500    4,600    5,500    2,500                       3,525    14,100

100058398   044049965   POOLE'S PHARMACY CARE    APSC      OWENSBORO        KY   42303     INDEPENDENT        BP8158138    4,200    5,100    4,300    3,000     8,400    1,000    4,333    26,000

100075494   046127761   PROCARE PHARMACY CARE                MIRAMAR        FL   33025     MAIL SERVICE       BP8185096     800     2,700    1,700     200      2,800    4,800    2,167    13,000

100057004   032099150   PACMED CLINICS NORTHGATE DOD         SEATTLE        WA   98125   HOSPITAL (FEDERAL)   BP8225559     900      500      400     1,600     2,400    1,200    1,167     7,000

100056101   032068288   PACMED CLINICS NORTHGATE             SEATTLE        WA   98125        ALT SITE        BP8225559     200      300      100     1,300     1,900    1,600     900      5,400

100054013   038030825   PALLIATIVE PHCY OF PIKES PEAK    COLORADO SPRINGS   CO   80906       HOSPITAL         BP8266048    3,500    4,400    5,400    1,600     5,500    1,800    3,700    22,200

100069493   004051037   PINE BUSH PHARMACY INC(Z)(ARX)      PINE BUSH       NY   12566     INDEPENDENT        BP8274994    3,600    1,800    1,700    1,600     5,500    2,500    2,783    16,700

100106487   018403980   SHADOW MTN BEHAV HLTH SYS-SHER        TULSA         OK   74133       HOSPITAL         BP8287890                                           80                80        80

100088568   010222257   PHARMERICA (HERMITAGE)              HERMITAGE       PA   16148    LONG TERM CARE      BP8332013    7,700    8,200    7,800   11,800      480      100     6,013    36,080

100056646   044091546   *MORGANTOWN PRESCRIPTION CTR       MORGANTOWN       KY   42261     INDEPENDENT        BP8386977   33,300   35,000   28,400                               32,233    96,700

100053799   010053256   PRESCRIPTIONS SOLUTIONS APSC         FINDLAY        OH   45840     INDEPENDENT        BP8425008    5,000    4,000   17,000              2,000    2,000    6,000    30,000

100089754   024115493   PLAZA SURGERYCENTER                SANTA MARIA      CA   93454       HOSPITAL         BP8490005                       100                200               150       300

100051511   018047373   PHARMERICA (LUBBOCK)                 LUBBOCK        TX   79407    LONG TERM CARE      BP8498443   25,000   37,400   54,200   56,600      100      100    28,900   173,400

100055322   032098673   PACMED CLINICS TOTEM LAKE DOD        KIRKLAND       WA   98034   HOSPITAL (FEDERAL)   BP8501492     700     1,200    1,200     900      2,600    2,300    1,483     8,900

100056100   032068262   PACMED CLINICS TOTEM LAKE            KIRKLAND       WA   98034        ALT SITE        BP8501492    1,400    1,400     900     1,400     2,200    1,500    1,467     8,800

100057175   032098624   (CRD)PACMED TOTEM LAKE CREDIT        KIRKLAND       WA   98034   HOSPITAL (FEDERAL)   BP8501492     100                                                    100       100

100050226   010075275   PROCARE PHARMACY INC     EPIC       SHINNSTON       WV   26431     INDEPENDENT        BP8516506                               5,500     6,000             5,750    11,500

100055321   032098509   PACMED CLINICS RENTON DOD            RENTON         WA   98055   HOSPITAL (FEDERAL)   BP8518649    3,100    3,300    2,500    2,200     4,700    2,000    2,967    17,800

100056099   032068239   PACMED CLINICS RENTON                RENTON         WA   98055        ALT SITE        BP8518649     600     1,000    1,100     800      1,200     900      933      5,600

100057008   032098772   (CRD)PACMED RENTON CREDIT            RENTON         WA   98055   HOSPITAL (FEDERAL)   BP8518649     200               300                                  250       500

100065690   049057778   PHARMERICA (GRD RAPIDS) 7112       GRAND RAPIDS     MI   49512    LONG TERM CARE      BP8549505   29,000   35,500   35,200   59,800              2,500   32,400   162,000

100056562   038300160   PARKER ADVENTIST HOSPITAL PHCY       PARKER         CO   80138       HOSPITAL         BP8581096     700     1,550    1,400    1,850      820     1,080    1,233     7,400

100088536   023133934   PAN AMERICAN PHARMACY (ARX)       WEST NEW YORK     NJ   07093     INDEPENDENT        BP8609919                       100                                  100       100

100061505   019060996   PHARMACORR, LLC   (INDY MAIN)      INDIANAPOLIS     IN   46278    LONG TERM CARE      BP8614895    8,900    9,400    8,400    4,300     2,700    5,600    6,550    39,300

100085724   004069781   PENOBSCOT COMMTY HTH CTR 340B        BANGOR         ME   04401    PHS 340B CLINIC     BP8625038    2,400    4,400    3,600    4,900     3,700    2,800    3,633    21,800

100085676   004069732   PENOBSCOT COMMTY HLTH CTR INC        BANGOR         ME   04401     INDEPENDENT        BP8625038     500     2,800     700      600      2,600     700     1,317     7,900

100067340   019143396   PETRANEK'S PHARMACY      CPA       LIBERTYVILLE     IL   60048     INDEPENDENT        BP8632653    1,700    1,700    1,300    1,000     1,400    1,500    1,433     8,600

100085880   023103960   PARAMUS PHARMACY, INC (ARX)          PARAMUS        NJ   07652     INDEPENDENT        BP8643175     500      500     1,000     600                300      580      2,900

100068712   023112276   *SAINT MARY HOSP PHCY(DIP)           PASSAIC        NJ   07055       HOSPITAL         BP8692647              200      100                                  150       300

100057892   046131797   PHARMA-PLUS DRUGSTORE                 MIAMI         FL   33144     INDEPENDENT        BP8695770     200      200      300                                  233       700

100055756   032063362   CARE RX LLC                          EVERETT        WA   98208    LONG TERM CARE      BP8700963    4,300    6,700    7,000    5,300     6,500    6,300    6,017    36,100

100088695   018203398   PALMER PHARMACY PLUS INC              DALLAS        TX   75220     INDEPENDENT        BP8725369   16,500   20,500   25,000   19,000    14,000    7,000   17,000   102,000

100053496   024088088   PUBLIC HLTH PHCY - LOMPOC PHS        LOMPOC         CA   93436    PHS 340B CLINIC     BP8735942    9,800    8,200    7,600   11,400     7,500    4,100    8,100    48,600

100053424   024076760   PUBLIC HLTH PHCY-LOMPOC NONPHS       LOMPOC         CA   93436        ALT SITE        BP8735942                                         1,000             1,000     1,000

100088584   018203125   RECEPT PHARMACY #1                 FORT WORTH       TX   76104     INDEPENDENT        BP8755386   10,500   10,100   11,100    9,500    11,260    7,000    9,910    59,460

100052917   026064915   PHI PHARMACY #2 DANDAN                SAIPAN        MP   96950     INDEPENDENT        BP8755893    2,600    2,700    3,100    6,800                       3,800    15,200
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100065274   021044651   GERICARE LTC                           IOLA        KS   66749   LONG TERM CARE      BP8757140    4,000     5,500     6,000     5,000     4,500     5,000    5,000     30,000

100053254   056008847   PMC PHARMACY (Z)                     HORSHAM       PA   19044   LONG TERM CARE      BP8791091    7,900     5,000     6,000     7,500     5,300     3,500    5,867     35,200

100052831   026064816   PEREZVILLE PHARMACY                  TAMUNING      GU   96913     INDEPENDENT       BP8793007    1,500     2,500     1,000     1,000     1,400      200     1,267      7,600

100053329   024086777   PARK WEST PHARMACY                  WEST HILLS     CA   91307     INDEPENDENT       BP8803137    5,100     6,500     6,000     6,500     4,000     4,500    5,433     32,600

100068064   020145060   MEMORIAL HSP OF LAS CRUCES#712      LAS CRUCES     NM   88011       HOSPITAL        BP8817174     800       900      1,000      500      1,200      520      820       4,920

100100562   010233825   POWELLS FOODFAIR PHARMACY APSC       POMEROY       OH   45769     INDEPENDENT       BP8917758    5,000     6,500     8,000     3,100     5,800     4,000    5,400     32,400

100096446   046043992   PRO PHARMACY & DISCOUNT               MIAMI        FL   33157     INDEPENDENT       BP9053303                                   300                          300        300

100066108   056045898   HOSP OF UNV PA RADNOR PHY(340B       RADNOR        PA   19087   PHS 340B HOSPITAL   BP9109833     200      1,300      800       400      2,000     1,100     967       5,800

100075000   037117838   PAT WOOD DRUG STORE                PORT ARTHUR     TX   77642     INDEPENDENT       BP9141893    4,000     2,000     3,000     5,700    10,800     6,000    5,250     31,500

100055519   008048751   PROFESSIONAL VILLAGE PHARMACY      SACRAMENTO      CA   95825     INDEPENDENT       BP9145536                                   100      1,200     1,100     800       2,400

100055630   026065300   PHARMACARE LTC                         AIEA        HI   96701   LONG TERM CARE      BP9146386    1,700     1,700     1,300     1,600     1,200     1,100    1,433      8,600

100072338   018169276   PARK PLACE PHCY        SF          FORT WORTH      TX   76110     INDEPENDENT       BP9160300   11,000     5,500     3,500     4,600     3,500     2,500    5,100     30,600

100063862   056050740   PHILADELPHIAN PHARMACY(Z)(GNP)     PHILADELPHIA    PA   19130     INDEPENDENT       BP9201461     500       600       200       700                          500       2,000

100073130   018175380   PRIME THERAPEUTICS, LLC               IRVING       TX   75063     MAIL SERVICE      BP9206120               900      6,400      300                         2,533      7,600

100059116   008042028   *PALO CEDRO PHARMACY                PALO CEDRO     CA   96073     INDEPENDENT       BP9251000    1,900     3,500     4,000     6,500                        3,975     15,900

100076380   024147983   ALTAMED PHCY 340B /AMD             LOS ANGELES     CA   90023    PHS 340B CLINIC    BP9260491    3,400     6,800     6,600     7,300     4,900     8,000    6,167     37,000

100065294   024147991   ALTAMED PHARMACY      /PMQ         LOS ANGELES     CA   90023       ALT SITE        BP9260491     300                 200                                    250        500

100061559   049120188   PENNOCK PHARMACY INC                 HASTINGS      MI   49058     INDEPENDENT       BP9279907   13,300    15,500    16,700    11,200    23,200    17,500   16,233     97,400

100104196   055038620   NOVANT HEALTH PHCY (PL) (WAC)       CHARLOTTE      NC   28204     INDEPENDENT       BP9285253     800      4,300     2,500     4,900     8,000     4,300    4,133     24,800

100104168   055038588   NOVANT HEALTH PHCY (PL) (340B)      CHARLOTTE      NC   28204   PHS 340B HOSPITAL   BP9285253    2,300     2,800     7,500     5,400     3,100     2,400    3,917     23,500

100109434   012113399   PARTELL SPECIALTY PHARMACY E        LAS VEGAS      NV   89119     INDEPENDENT       BP9296749    1,700     4,800     4,800     7,100    10,000     9,800    6,367     38,200

100064229   023070458   PARKE WARNER PHARMACY (Z)(GNP)     NEPTUNE CITY    NJ   07753     INDEPENDENT       BP9335375    1,000      700       400       700       800      1,100     783       4,700

100096438   046043984   PRESIDENT PHARMACY & DISC, INC        MIAMI        FL   33157     INDEPENDENT       BP9372967     200                 200       800       500       300      400       2,000

100064097   026065409   PHARMACARE NO 5                        AIEA        HI   96701     INDEPENDENT       BP9373969    3,800     4,100     3,600     4,000     3,900     5,300    4,117     24,700

100064096   026065417   PHARMACARE NO 6                     HONOLULU       HI   96826     INDEPENDENT       BP9373971     400       100      2,000     1,300     2,500     1,500    1,300      7,800

100054280   020099374   EVERGREENS DRUGS                    HENDERSON      NV   89052     INDEPENDENT       BP9397490   14,500    14,000    15,500    13,600    12,100     4,000   12,283     73,700

100065111   026064964   PHARMACARE NO 3                     HONOLULU       HI   96813     INDEPENDENT       BP9440366     100       500      4,900     8,000     9,800     9,400    5,450     32,700

100063192   019038430   PHARMERICA (PEWAUKEE)               MILWAUKEE      WI   53224   LONG TERM CARE      BP9444136   11,000    14,000    25,000    11,500     1,000      200    10,450     62,700

100057131   044067520   PIONEER FAMILY PHARMACY OF          ABERDEEN       MS   39730     INDEPENDENT       BP9469164               500                1,000     2,000              1,167      3,500

100067902   020145052   VALLEY VIEW MEDICAL CENTER#712     FORT MOHAVE     AZ   86426       HOSPITAL        BP9480651     400       500       350      1,400      (360)     240      422       2,530

100074412   044175299   PHARMACY ALTERNATIVES LLC,          LOUISVILLE     KY   40223   LONG TERM CARE      BP9537828    1,700     1,300     2,200     1,200     1,700      900     1,500      9,000

100052373   020049510   ONEPOINT PATIENT CARE, LLC-AZ         TEMPE        AZ   85282   LONG TERM CARE      BP9543326   52,600    42,600    50,700    57,900    42,200    43,900   48,317    289,900

100058133   049110015   STANDISH PHARMACY          340B      STANDISH      MI   48658    PHS 340B CLINIC    BP9559773    3,200     2,900     2,500      900                         2,375      9,500

100064255   038062463   PIONEER PHARMACY LLC               WHEAT RIDGE     CO   80033   LONG TERM CARE      BP9575359   19,500    20,500    17,300    24,300    28,000    16,500   21,017    126,100

100087761   046039412   PHARMACY MEDICAL SERVICES, INC      PLANTATION     FL   33317     INDEPENDENT       BP9607512     100       500       500                 100       700      380       1,900

100076304   023089599   PARKSHORE HEALTH CARE LLC (X)       BROOKLYN       NY   11236   LONG TERM CARE      BP9633492     300       100       100       100                          150        600

100050718   037072819   PHARMERICA (ELMWOOD)                 ELMWOOD       LA   70123   LONG TERM CARE      BP9641615    9,500    10,000     8,500    15,600      500               8,820     44,100

100110308   041154856   PEOPLES CARE PHARMACY               BALTIMORE      MD   21205     INDEPENDENT       BP9656894                         400                           400      400        800

100071520   004143180   PHARMAHEALTH LTC       CPA          FAIRHAVEN      MA   02719     INDEPENDENT       BP9695175     600      2,000     2,500     1,800                        1,725      6,900

100071520   004143180   PHARMAHEALTH LTC       CPA          FAIRHAVEN      MA   02719   LONG TERM CARE      BP9695175     (800)     (600)     (200)   (1,400)     300       400      (383)    (2,300)

100106869   055042168   PROSPERITY DRUG (BUY-IN) CPA        PROSPERITY     SC   29127     INDEPENDENT       BP9720877    8,200     6,800     6,500    11,800     7,000     7,300    7,933     47,600

100070552   055143701   PROSPERITY DRUG COMPANY(X) CPA      PROSPERITY     SC   29127     INDEPENDENT       BP9720877     200      1,200     5,200     5,700    10,200              4,500     22,500

100070481   018144444   PALACE DRUG         CPA           MAMMOTH SPRING   AR   72554     INDEPENDENT       BP9740057   21,500    18,200    19,500    17,400     3,500             16,020     80,100

100086609   037121533   PRESTIGE PHCY         SF             HOUSTON       TX   77081     INDEPENDENT       BP9751858              1,000      600                3,000              1,533      4,600
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100059803   046121368   PROMISE PHARMACY LLC                   PALM HARBOR      FL   34684       INDEPENDENT        BP9784338    8,960     3,900   13,000   10,100    6,000    3,100    7,510     45,060

100074409   018175265   PHARMACY ALTERNATIVES                     AUSTIN        TX   78744     LONG TERM CARE       BP9787740     500       400      400      400      800               500       2,500

100062460   018069567   PLANNED PARENTHOOD AR/EAST OK              TULSA        OK   74120         ALT SITE         BP9791232               100                                          100        100

100060708   019032045   PHARMORE DRUGS, LLC                       SKOKIE        IL   60076     LONG TERM CARE       BP9838597   58,100    53,100   51,800   67,400   34,800   60,700   54,317    325,900

100059880   017130419   PHARMERICA (SL-CITY)                   SALT LAKE CITY   UT   84115     LONG TERM CARE       BP9839068    3,500     5,500    9,500    8,000                      6,625     26,500

100076394   017072173   *PARK-VU PHARMACY 340B                   FRUITLAND      ID   83619      PHS 340B CLINIC     BP9910058     200       100     1,400                                567       1,700

100058842   040074468   PRESBYTERIAN VILLAGE PHARM                AUSTELL       GA   30106     LONG TERM CARE       BP9912278    1,000      500     1,600    1,500    2,000     800     1,233      7,400

100071519   004143172   PHARMAHEALTH HAWTHORN INC(XCPA          DARTMOUTH       MA   02747       INDEPENDENT        BP9960015    1,300     1,000     200      100     1,400     900      817       4,900

100068761   040143768   PAYLOW PHARMACY            CPA            ATLANTA       GA   30331       INDEPENDENT        BP9973618    2,200     2,300    1,000     900     2,000             1,680      8,400

100058546   032136796   PROLIANCE SURGEONS, INC.                  SEATTLE       WA   98104         HOSPITAL         BP9975117     100       100      100      100               200      120        600

100060189   056027730   QUICK STOP PHARMACY INC.(IPBG)          THORNDALE       PA   19372       INDEPENDENT        BQ1516802    8,600     7,600    7,200    9,100    7,700    3,400    7,267     43,600

100050336   018043083   Q I C PHARMACY SERVICES                  MANSFIELD      TX   76063     LONG TERM CARE       BQ2796158   29,300    38,900    9,200    3,600    1,800     100    13,817     82,900

100057995   021021824   QUALI CARE, INC                          LAWRENCE       KS   66046     LONG TERM CARE       BQ3676319     100                                 2,000             1,050      2,100

100055495   044090407   QUALITY DRUG STORE      APSC            FRIENDSHIP      TN   38034       INDEPENDENT        BQ4716253    1,000     3,500    1,500    4,000    2,000    4,500    2,750     16,500

100064203   018064535   QUANTUM MEDICAL INC                       LAWTON        OK   73505   HOME HEALTH SERVICES   BQ6061155     200                                                    200        200

100057491   019300608   QUAD/MED LLC - LOMIRA                     LOMIRA        WI   53048         ALT SITE         BQ6652590    1,600     3,200    1,100    2,800    1,700    2,300    2,117     12,700

100061350   019301309   QUAD MED, LLC-WEST ALLIS (MAIN          WEST ALLIS      WI   53214         ALT SITE         BQ6652603    2,400     2,400    3,500    2,500    3,000    2,500    2,717     16,300

100053023   024035444   QUEEN OF THE VALLEY CAMPUS              WEST COVINA     CA   91790         HOSPITAL         BQ6672566    1,200     3,100    2,000    6,300             1,000    2,720     13,600

100053136   012050070   QUEENS PHARMACY INC.                    VICTORVILLE     CA   92395       INDEPENDENT        BQ7482716   52,200    68,100   61,900   53,700   54,800   39,000   54,950    329,700

100050803   052062554   QUEST PHARMACY INC                      HATTIESBURG     MS   39402     LONG TERM CARE       BQ8739572    2,000     3,500    2,500    3,500    3,000    3,500    3,000     18,000

100061346   019301168   QUAD/MED PHARMACY-SUSSEX (MAIN            SUSSEX        WI   53089         ALT SITE         BQ9081073    1,200     2,800    1,800    1,700    1,800    1,800    1,850     11,100

100091152   037129676   *QVL PHARMACY #141                       HOUSTON        TX   77005       INDEPENDENT        BQ9448780   21,000    26,200             4,500    5,700            14,350     57,400

100110968   018001794   TEXAS RX PHCY II     CPA                  DALLAS        TX   75243       INDEPENDENT        BQ9524821                               19,000   25,300   14,700   19,667     59,000

100075533   018169185   QVL PHARMACY 142                          DALLAS        TX   75243       INDEPENDENT        BQ9524821   10,400    16,100   14,100                              13,533     40,600

100064401   023089524   RUPAL ENTERPRISE INC (GNP)                SELDEN        NY   11784       INDEPENDENT        BR0179730   12,600    15,700   12,100   10,200   16,100   10,800   12,917     77,500

100070404   018144386   ATKINS FAMILY PHARMACY       CPA          ATKINS        AR   72823       INDEPENDENT        BR0189818   11,500    11,500   11,100    9,000   11,500   11,300   10,983     65,900

100053989   017030833   CENTRAL VALLEY MEDICAL                     NEPHI        UT   84648         HOSPITAL         BR0231198               600      100      200     2,100     400      680       3,400

100069562   004064972   REVRAC INDUSTRIES INC. (GNP)            STONY POINT     NY   10980       INDEPENDENT        BR0260050    2,400     5,700    2,100    2,600    8,100    1,500    3,733     22,400

100071095   041140533   RESTON HOSPITAL CTR PHCY #712             RESTON        VA   20190         HOSPITAL         BR0609620    1,400      700     2,400    2,450                      1,738      6,950

100092162   023136549   ROBINSON DRUG SHOP CPA                   MENDHAM        NJ   07945       INDEPENDENT        BR0759590     600      1,100     200     2,000     400      500      800       4,800

100066233   040143107   BAINBRIDGE PHARMACY         CPA         BAINBRIDGE      GA   39819       INDEPENDENT        BR0912065   20,500     9,700   20,600   24,000   18,500   17,000   18,383    110,300

100096487   046044016   REGENCY CTR WOMEN INFANTS WAC          WINTER HAVEN     FL   33880         HOSPITAL         BR1079183                                 100                        100        100

100071527   023143644   RAPPS PHARMACY(Z)          CPA           PLAINFIELD     NJ   07060       INDEPENDENT        BR1295698     200       300      200      200               100      200       1,000

100070666   044143412   RECTOR DOWNTOWN DRUG INC CPA              RECTOR        AR   72461       INDEPENDENT        BR1790915   20,800    23,100   20,200     600    10,800    4,200   13,283     79,700

100072746   018143081   BEST VALUE RENSHAW DRUG          CPA     DECATUR        TX   76234       INDEPENDENT        BR2032833   22,800    38,400   17,700   28,520   21,700   18,500   24,603    147,620

100052977   012078188   RIV COUNTY/MENTAL HEALTH PHCY            RIVERSIDE      CA   92503         HOSPITAL         BR2162977     600                                                    600        600

100058976   041054239   SENTARA RMH MED CTR OUTPATIENT         HARRISONBURG     VA   22801         HOSPITAL         BR2244440                                         7,100    9,200    8,150     16,300

100064135   019001453   RX COMMUNITY MEDICAL PHCY, INC         SOUTH HOLLAND    IL   60473       INDEPENDENT        BR2348313    1,200     1,800     700     1,300    1,000     500     1,083      6,500

100064571   052040576   RIPPETOE INC                            MORRISTOWN      TN   37814       INDEPENDENT        BR2404654    1,600     7,200    4,200    5,000             5,500    4,700     23,500

100065256   021061564   *REMEDIES GOOD NEIGHBORPHCYSF           CARROLLTON      MO   64633       INDEPENDENT        BR2501864     (100)                                                  (100)      (100)

100076787   037026260   REUSS PHARMACY                            CUERO         TX   77954       INDEPENDENT        BR2577534   39,200    45,200   48,200   41,200   39,300   36,900   41,667    250,000

100073720   020000166   PRIMM DRUG           CPA                 ROSWELL        NM   88201       INDEPENDENT        BR2588309    7,800     2,400   12,100    5,700    9,700    4,400    7,017     42,100

100058389   021034405   MERCY HOME PHCY SPRINGFLD 340B          SPRINGFIELD     MO   65804     PHS 340B HOSPITAL    BR2718964    1,300     1,400    1,800    2,300    3,000     500     1,717     10,300

100067004   055143578   ROCKY MOUNT MED PRK PHCY(X)CPA         ROCKY MOUNT      NC   27804       INDEPENDENT        BR2815566    5,700     6,000    5,600    5,500    9,100    7,160    6,510     39,060
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100071419   023143669   READING RIDGE PHARMACY(X) CPA           FLEMINGTON      NJ   08822     INDEPENDENT       BR2886642    1,000    1,400    1,100      800      1,600    1,300    1,200     7,200

100057271   056015859   ROXY DRUG STORE           (GNP)        LAFAYETTE HILL   PA   19444     INDEPENDENT       BR2998978     500     1,400    2,200     2,000      100              1,240     6,200

100063824   056027748   RANN PHARMACY (IPBG) (GNP)              HARLEYSVILLE    PA   19438     INDEPENDENT       BR3008984     600     4,800     (400)    3,200     2,100             2,060    10,300

100051383   008034314   ROGERS DRUG STORE                        MODESTO        CA   95351     INDEPENDENT       BR3043306    5,000    3,000                       17,000    2,000    6,750    27,000

100106477   037134395   RIVER OAKS HOSPITAL                     NEW ORLEANS     LA   70123       HOSPITAL        BR3153397     100      200      100       100       160               132       660

100051265   008035220   REDDING RANCHERIA INDHLTH(PHS)            REDDING       CA   96001    PHS 340B CLINIC    BR3182728   38,500   30,500   33,000    31,900    38,100   28,400   33,400   200,400

100051276   018043307   GUN BARREL CITY PHARMACY              GUN BARREL CITY   TX   75156     INDEPENDENT       BR3188667   14,700   17,100   10,200     8,000    13,500    7,000   11,750    70,500

100071360   024059386   ROXSAN PHARMACY INC                    BEVERLY HILLS    CA   90210     INDEPENDENT       BR3438050    1,900    1,500    1,300     1,000     1,800    2,300    1,633     9,800

100053763   024056861   RIVERSIDE DISCOUNT DRUGS, INC         NORTH HOLLYWOOD   CA   91607     INDEPENDENT       BR3456882    4,600    3,100    4,100     3,100     4,600    4,100    3,933    23,600

100052084   010042747   RIVERSIDE MED BLDG DRUGS                 COLUMBUS       OH   43214       HOSPITAL        BR3463368    1,700    2,500    3,800     3,100     2,500    4,100    2,950    17,700

100063882   019000737   ROSENS-MORSEVIEW PHARMACY, INC            CHICAGO       IL   60659     INDEPENDENT       BR3518618    5,500    6,500    4,100     6,100     3,000    4,000    4,867    29,200

100106476   018403956   RIVER CREST HOSPITAL PHCY               SAN ANGELO      TX   76901       HOSPITAL        BR3536591     750      800     1,600      100       100               670      3,350

100085626   021158725   RAY'S PHARMACY CPA                        QUINTER       KS   67752     INDEPENDENT       BR3637153    5,000    4,000    1,000     5,000              5,000    4,000    20,000

100052187   010050211   RANIER'S PHARMACY INC                    JEANNETTE      PA   15644     INDEPENDENT       BR3658955     300      900      700       400               1,500     760      3,800

100071420   023143677   ROCK RIDGE PHARMACY(X)          CPA      GLEN ROCK      NJ   07452     INDEPENDENT       BR3902954              600      300      2,000      200      480      716      3,580

100057270   056015834   ROSICA PHARMACY(Z)                      PHILADELPHIA    PA   19145     INDEPENDENT       BR4072651    1,700    1,900    2,500     2,700     3,500    2,200    2,417    14,500

100057860   032021535   GHC PHARM RIVERFRONT HC 53                SPOKANE       WA   99201     HEALTH PLAN       BR4104193   43,000   44,300   44,300    51,800     2,500            37,180   185,900

100072005   032116160   GHC PHARM RIVERFRONT HC 53 2              SPOKANE       WA   99201     HEALTH PLAN       BR4104193                                         40,600   48,000   44,300    88,600

100062633   021059667   ROGERS PHCY #5     RX      SF           SAINT JOSEPH    MO   64506     INDEPENDENT       BR4130631   31,200   29,000   44,400    45,600    39,900   40,900   38,500   231,000

100087268   021162859   ROGERS PHARMACY ST. JOE 340B            SAINT JOSEPH    MO   64506   PHS 340B HOSPITAL   BR4130631   25,400   31,200   30,200    24,400    23,900   14,500   24,933   149,600

100052643   018073478   RX DIRECT INC                            TEXARKANA      TX   75503     MAIL SERVICE      BR4188391    6,200    2,900    3,600     2,550     1,600    1,000    2,975    17,850

100053770   024057653   RUBIO DRUG                                ENCINO        CA   91436     INDEPENDENT       BR4310900    3,000    6,000    3,500     6,200     4,100    3,900    4,450    26,700

100058146   044047399   RICK'S PHARMACY - C11      APSC           PADUCAH       KY   42003     INDEPENDENT       BR4625313   24,800   26,800   31,000    34,300    16,200   30,300   27,233   163,400

100060500   044084731   REEVES SAIN DRUG STORE          SF     MURFREESBORO     TN   37129     INDEPENDENT       BR4669113   18,500   15,000   35,100     5,100    12,400   15,500   16,933   101,600

100072749   018143115   BEST VALUE ROYCE'S PHCY         CPA      CLEBURNE       TX   76033     INDEPENDENT       BR4693734   21,300   22,600   26,000    33,400     7,900   26,600   22,967   137,800

100052713   010054635   RAINELLE MED CENTER PHARMACY              RAINELLE      WV   25962    PHS 340B CLINIC    BR4705882    6,800    5,000    6,000     6,900     4,900    4,500    5,683    34,100

100059475   023027458   RICHARDS PHARMACY (IPBG)               PALISADES PARK   NJ   07650     INDEPENDENT       BR4921171    1,000    1,500    1,000      800      1,600    2,100    1,333     8,000

100052277   010040527   ROSS PARK PHARMACY, INC         VHA     STEUBENVILLE    OH   43952     INDEPENDENT       BR4960337    3,300    1,500    1,900     1,500     4,700    4,900    2,967    17,800

100066955   018061622   ROSE DRUG INC, OF DOVER         CPA        DOVER        AR   72837     INDEPENDENT       BR5096498   11,700    3,000     200               14,000   15,300    8,840    44,200

100067792   040143925   RIGGINS PHARMACY           CPA            LAVONIA       GA   30553     INDEPENDENT       BR5182439   55,100   42,000   55,200    52,000    29,500   15,200   41,500   249,000

100053206   012051813   RAINCROSS PHARMACY                       RIVERSIDE      CA   92506     INDEPENDENT       BR5187946   17,800   16,800   18,500    17,200    22,100   20,600   18,833   113,000

100056999   019048496   RICHLAND MEMORIAL HOSPITAL                 OLNEY        IL   62450       HOSPITAL        BR5195905     100      920      800       600       800      620      640      3,840

100110310   025092312   RX EXPRESS           SF                 MOUNDS VIEW     MN   55112     INDEPENDENT       BR5216090              500     4,200     3,300     8,700             4,175    16,700

100052299   010041095   RUWE FAMILY PHCY-LATONIA APSC            COVINGTON      KY   41015     INDEPENDENT       BR5241966    3,500    3,500    3,500     3,100     3,000    2,900    3,250    19,500

100071710   037125518   ROGERS' PHARMACY #4/REGIONAL              VICTORIA      TX   77904     INDEPENDENT       BR5265257   43,420   48,160   44,220    48,620    48,140   35,100   44,610   267,660

100075917   038101477   WHEAT RIDGE REGIONAL CTR                WHEAT RIDGE     CO   80033       HOSPITAL        BR5266095                       100                                   100       100

100073748   023110817   RX EXPRESS PRESCRIP(X)(B)(GNP)          HUNTINGTON      NY   11743     INDEPENDENT       BR5332173                                 100                         100       100

100057411   046001438   RIVERWALK SURGERY CENTER, INC           FORT MYERS      FL   33919       HOSPITAL        BR5341780                                 100                         100       100

100054413   012092460   RAMSAY REXALL DRUG                      COSTA MESA      CA   92627     INDEPENDENT       BR5349697    3,400    7,700    3,500    18,700     3,100    4,700    6,850    41,100

100086863   023107953   RODEO PHARMACY, INC.                   PALISADES PARK   NJ   07650     INDEPENDENT       BR5465629     100               100                                   100       200

100066220   019146266   MERCY CAREMOR                            DUBUQUE        IA   52001   LONG TERM CARE      BR5642776    9,200    8,200    8,600     7,000     3,500   26,000   10,417    62,500

100066222   019146290   MERCY FAMILY PHCY ELM ST RX              DUBUQUE        IA   52001     INDEPENDENT       BR5642815   14,300   11,500   27,700    (4,300)   11,100   12,200   12,083    72,500

100067607   019175687   MERCY FAM PHCY 3 ELM ST-3(340B           DUBUQUE        IA   52001    PHS 340B CLINIC    BR5642815    2,000    1,000     800      1,000     1,400    1,300    1,250     7,500

100075376   055040170   REX PHARMACY OF RALEIGH                   RALEIGH       NC   27607       HOSPITAL        BR5655230   10,800   11,200   12,900    11,100    14,800    8,100   11,483    68,900
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100064879   049042069   RX SPECIALTIES N H, INC              HAZEL PARK      MI   48030    LONG TERM CARE      BR5657323    1,000     2,000    1,500    2,500    2,500    1,500    1,833     11,000

100090259   049188110   ST ANNE MERCY HOSP IP PHCY            TOLEDO         OH   43623       HOSPITAL         BR5662778     800       800      800      800      760     1,200     860       5,160

100065066   019003616   RIVERPOINTE SURGERY CENTER            ELKHART        IN   46514       HOSPITAL         BR5677907                        100                                 100        100

100096964   012097998   RIVERSIDE CNTY REG MED IP WAC      MORENO VALLEY     CA   92555       HOSPITAL         BR5719072    3,500     2,500              600     2,400    5,500    2,900     14,500

100053211   012052605   RIVERSIDE COUNTY REG MED IP        MORENO VALLEY     CA   92555       HOSPITAL         BR5719072    1,400     1,500    2,600    4,400    1,120             2,204     11,020

100072490   012044438   RIVERSIDE COUNTY REG IP PHS        MORENO VALLEY     CA   92555   PHS 340B HOSPITAL    BR5719072     300      1,400    2,300     500      320               964       4,820

100052976   012078097   NEIGHBORHOOD CLC RIVERSIDE340B       RIVERSIDE       CA   92504   PHS 340B HOSPITAL    BR5803160     900       200      600      700                        600       2,400

100092025   052214197   RX EXPRESS PHARMACY                   HURLEY         MS   39555     INDEPENDENT        BR5954878    5,500     3,600   10,900   11,700   23,400   15,500   11,767     70,600

100064966   052057620   RURAL HEALTH SERVICES PHCY PHS      ROGERSVILLE      TN   37857    PHS 340B CLINIC     BR5967419   13,500    13,900   13,200   15,700   11,200   12,200   13,283     79,700

100065913   023038711   R&M PHARMACY INC (IPBG)(ZS)          FREEHOLD        NJ   07728     INDEPENDENT        BR6021769    2,300      700      800     1,100    3,800    1,400    1,683     10,100

100081493   041112763   REEDS PHARMACY(GENERICS)(X)       BERKELEY SPRINGS   WV   25411     INDEPENDENT        BR6103597    2,900     1,400   18,700   28,700               -     10,340     51,700

100070982   041112649   REEDS PHARMACY(X)                 BERKELEY SPRINGS   WV   25411     INDEPENDENT        BR6103597                       3,000              700     1,600    1,767      5,300

100053166   024072348   RILEY'S PHARMACY                     GLENDALE        CA   91203     INDEPENDENT        BR6109323    1,100     1,500    1,200    2,500     100      500     1,150      6,900

100072559   055074971   DUKE RALEIGH HOSPITAL                 RALEIGH        NC   27609       HOSPITAL         BR6157172                                          200               200        200

100070692   038145011   RIVERTON MEMORIAL HOSPITAL#712       RIVERTON        WY   82501       HOSPITAL         BR6179887     200       300      400      300      100      580      313       1,880

100054802   017012872   RIGBY'S PHCY INC      SF              SALMON         ID   83467     INDEPENDENT        BR6232526   25,000    24,600   24,000   26,000   25,500   17,000   23,683    142,100

100071708   055070813   NOVANT HEALTH PHARMACY (ROWAN)       SALISBURY       NC   28144       HOSPITAL         BR6235039    4,900     6,200    5,800    5,900    5,800    6,900    5,917     35,500

100065656   019004523   RESURRECTION LTC PHARMACY           DES PLAINES      IL   60016    LONG TERM CARE      BR6397891    9,800    13,800    9,000   17,000    8,300    9,700   11,267     67,600

100064144   019001768   PRESENCE HEALTHCARE SERVICES          CHICAGO        IL   60631     INDEPENDENT        BR6512936    4,200     4,300    4,700    4,300    5,300    3,600    4,400     26,400

100061764   023010892   R&P APOTHECARY, INC                  ELMHURST        NY   11373     INDEPENDENT        BR6531431               100                                          100        100

100052102   010042259   REYNOLDS PHARMACY          APSC       AUGUSTA        KY   41002     INDEPENDENT        BR6534071    3,000     3,000    5,000    1,500     700     4,200    2,900     17,400

100059179   044041756   REIDLAND PHARMACY          APSC       PADUCAH        KY   42003     INDEPENDENT        BR6615679   14,300    15,300   15,300   24,800    8,000   14,100   15,300     91,800

100070886   037126391   RAPIDES REGIONAL MED CTR #712       ALEXANDRIA       LA   71301       HOSPITAL         BR6630227    5,400     6,900    7,000    4,900    5,980    3,940    5,687     34,120

100070772   037140293   RED RIVER PHARMACY         #713     ALEXANDRIA       LA   71301       HOSPITAL         BR6656663     900       900     1,000    1,000     900     1,300    1,000      6,000

100106480   019183525   RIVEREDGE HOSPITAL                  FOREST PARK      IL   60130       HOSPITAL         BR6689888     200       200      200      400               400      280       1,400

100065113   018060988   ROLAND'S DRUG STORE, INC SF          PERRYVILLE      AR   72126     INDEPENDENT        BR6722892   10,700    12,300   10,600   11,700   18,000    2,600   10,983     65,900

100067685   041112722   REEDS PHARMACY #2(GENERICS)(X)      HEDGESVILLE      WV   25427     INDEPENDENT        BR6751499   14,700    16,000   25,800     100                -     11,320     56,600

100070984   041112664   REEDS PHARMACY #2(X)                HEDGESVILLE      WV   25427     INDEPENDENT        BR6751499                                         7,000    5,800    6,400     12,800

100070527   004143230   RAILROAD RX, INC(X)       CPA       GARNERVILLE      NY   10923     INDEPENDENT        BR7003217    2,300      700     2,200     900     1,200    2,800    1,683     10,100

100058665   044042507   RIVER VALLEY PHCY/SUPPLY             LEXINGTON       TN   38351    LONG TERM CARE      BR7092644     200       400      100               100               200        800

100058399   044049973   REA CLINIC PHARMACY       340B      CHRISTOPHER      IL   62822    PHS 340B CLINIC     BR7119806    8,800    10,600    9,600   10,200    9,900    8,500    9,600     57,600

100058908   044042747   REA CLINIC PHARMACY                 CHRISTOPHER      IL   62822     INDEPENDENT        BR7119806     500      1,000    1,000              500      300      660       3,300

100074823   037117788   RIDGEPOINT MEDICAL PHARMACY           MCALLEN        TX   78503     INDEPENDENT        BR7293448   (1,100)              100      400                        (200)      (600)

100064131   018064410   FORT SILL-DAPA (PHARMACY V)          FORT SILL       OK   73503   HOSPITAL (FEDERAL)   BR7300142   37,300    54,500   50,800   65,200   19,200   33,800   43,467    260,800

100062295   025007989   REGENCY HOSPITAL OF MPLS           GOLDEN VALLEY     MN   55422       HOSPITAL         BR7408520     100       100      200      200      340      420      227       1,360

100064726   018061960   REGENCY HOSPITAL OF SPRINGDALE      SPRINGDALE       AR   72764       HOSPITAL         BR7432507     200       400               100      600               325       1,300

100071521   004143198   PHARMAHEALTH PHARMACY(X) CPA       NEW BEDFORD       MA   02740     INDEPENDENT        BR7438345     400       100      400               300      300      300       1,500

100076777   008054643   R & M DRUG                           CORCORAN        CA   93212     INDEPENDENT        BR7445883   10,000    13,600   11,900   10,600   31,200     800    13,017     78,100

100107101   008028381   R & M DRUG 340B                      CORCORAN        CA   93212   PHS 340B HOSPITAL    BR7445883    2,000     1,800    1,900    1,100                      1,700      6,800

100107027   008002998   R & M DRUG 340B                      CORCORAN        CA   93212   PHS 340B HOSPITAL    BR7445883     300       400      500                                 400       1,200

100053207   012051854   RIALTO VISTA PHARMACY                  RIALTO        CA   92376     INDEPENDENT        BR7513042    1,000     3,000    1,000    1,000                      1,500      6,000

100111174   019002015   ROGERS MEMORIAL HOSPITAL IPS       OCONOMOWOC        WI   53066       HOSPITAL         BR7517278                                          100      200      150        300

100111180   019002016   ROGERS MEMORIAL HOSPITAL IPS         MILWAUKEE       WI   53227       HOSPITAL         BR7517292                                                   100      100        100

100072874   055040642   REGENCY HOSPITAL OF FLORENCE         FLORENCE        SC   29506       HOSPITAL         BR7580118     200                400      700               500      450       1,800
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100051400   008034942   RP HEALTHCARE INC CPA                  SANTA ROSA      CA   95401   LONG TERM CARE      BR7582100    1,500    1,500    2,000     500      500     1,900    1,317     7,900

100056486   018029892   REXCO PHARMACY                        PLEASANTON       TX   78064     INDEPENDENT       BR7703843    8,000    7,000    6,000    2,200                      5,800    23,200

100054062   038051821   *REGISTER CLIFF PHCY, INC SF           GUERNSEY        WY   82214     INDEPENDENT       BR7741401    5,500    6,100    4,300                               5,300    15,900

100090254   010224626   RIVERFRONT PHARMACY                     FAIRFIELD      OH   45014       HOSPITAL        BR7742643    4,000    4,100    5,400    3,800    2,500    2,400    3,700    22,200

100069312   024122200   ROBERT PHARMACY                        ROSEMEAD        CA   91770     INDEPENDENT       BR7783283     100      500      500                                 367      1,100

100092004   046042747   RX EXPRESS PHCY OF NAVARRE, IN          NAVARRE        FL   32566     INDEPENDENT       BR7787495   19,900   17,400   16,200   15,600   19,200   15,300   17,267   103,600

100109713   052224949   ROBERT'S DISCOUNT PHCY CPA              HOOVER         AL   35226     INDEPENDENT       BR7819406   16,300    9,300                                       12,800    25,600

100110019   018405605   RIDGMAR PHARMACY         CPA          FORT WORTH       TX   76116     INDEPENDENT       BR7881623            39,000   24,200   12,300   25,500   25,700   25,340   126,700

100052614   020075085   RX INNOVATIONS                       ALBUQUERQUE       NM   87109   LONG TERM CARE      BR7914876     100                        400      200               233       700

100055716   044000521   RICK'S PHARMACY        APSC             PADUCAH        KY   42003     INDEPENDENT       BR8019312                      9,400                               9,400     9,400

100067005   055143586   RON'S PHARMACY(X)       CPA          BOILING SPRINGS   SC   29316     INDEPENDENT       BR8071350   23,500    2,000   18,000   24,000            18,000   17,100    85,500

100070372   037143214   RAYMONDVILLE FAMILY PHCY CPA         RAYMONDVILLE      TX   78580     INDEPENDENT       BR8080361   18,800   14,800   20,100     200     8,500    8,500   11,817    70,900

100056633   052064022   REGENCY HOSPITAL OF MERIDIAN            MERIDIAN       MS   39301       HOSPITAL        BR8094221     800      400      700     1,400     360      680      723      4,340

100057825   018089045   RON'S APOTHECARY SHOP (LTC)            BURLESON        TX   76028     INDEPENDENT       BR8105276                                         400      200      300       600

100070693   052145052   RUSSELLVILLE HOSPITAL    #712         RUSSELLVILLE     AL   35653       HOSPITAL        BR8169737     500      950      300     2,650                      1,100     4,400

100072168   021140228   RESEARCH PSYCHIATRIC CTR #713         KANSAS CITY      MO   64130       HOSPITAL        BR8256186     600      400      300      400      780      160      440      2,640

100072166   021140194   RESEARCH MEDICAL CENTER #712          KANSAS CITY      MO   64132       HOSPITAL        BR8256198    7,500    6,100    4,500    8,500    8,000    5,920    6,753    40,520

100058486   044050583   RICK'S PHARMACY        APSC             PADUCAH        KY   42001     INDEPENDENT       BR8309759                      1,000    4,000    8,100     100     3,300    13,200

100064340   019007948   REGENCY HOSPITAL OF NORTHWEST         EAST CHICAGO     IN   46312       HOSPITAL        BR8352039     200      200      300      300      180               236      1,180

100057334   040051441   REGENCY HOSP (4TH FLOOR)               EAST POINT      GA   30344       HOSPITAL        BR8438625              300      200                                 250       500

100053213   012052639   RIVERSIDE COUNTY REG MED O/P         MORENO VALLEY     CA   92555   PHS 340B HOSPITAL   BR8542347   17,000   33,000   15,000   13,200    2,200   11,500   15,317    91,900

100089904   012055137   RIVERSIDE CNTY REG MED O/P WAC       MORENO VALLEY     CA   92555       HOSPITAL        BR8542347                               8,700   17,200    9,800   11,900    35,700

100107399   012112466   RCRMC OP PHARMACY 340B               MORENO VALLEY     CA   92555    PHS 340B CLINIC    BR8542347                      3,000                               3,000     3,000

100089089   012102780   RIVERSIDE CO REG JAIL WAC            MORENO VALLEY     CA   92555       HOSPITAL        BR8542347     200      200      400               180               245       980

100052398   024091660   ROSA II PHARMACY                       ROSEMEAD        CA   91770     INDEPENDENT       BR8579801     700     1,000     800      600                        775      3,100

100065355   018061697   *REGENCY HOSP OF N.W. ARKANSAS          ROGERS         AR   72758       HOSPITAL        BR8586452              100      300      100                        167       500

100058980   041054320   ROANOKE AMBULATORY SURGERY, CE          ROANOKE        VA   24016       HOSPITAL        BR8590300     100               100              1,000              400      1,200

100057769   046007211   RXPERTS PHARMACY SERVICES, INC        HOLLYWOOD        FL   33020   LONG TERM CARE      BR8668317    1,600    1,700    2,600    3,700    3,800    1,300    2,450    14,700

100066436   019039685   *WOUND CARE SOLUTIONS INC               CHICAGO        IL   60612     ALT CHANNEL       BR8674930   19,000    7,600                                       13,300    26,600

100054623   037061861   REGENCY HOS OF COVINGTON LLC           COVINGTON       LA   70433       HOSPITAL        BR8690009     400      300      300      600      500               420      2,100

100104409   020104463   DBA ROUTE 66 PHARMACY                  SANTA ROSA      NM   88435     INDEPENDENT       BR8703274    8,000   10,000    3,600    6,300    8,000             7,180    35,900

100096335   037102517   RECEPT PHARMACY #33                     BELLAIRE       TX   77401     INDEPENDENT       BR8729634   24,800   27,200   31,900   32,300   47,900   36,000   33,350   200,100

100071096   041140541   RESTON SURGERY CENTER         #712       RESTON        VA   20190       HOSPITAL        BR8731184     100      100      100                        320      155       620

100088610   018203216   RECEPT PHARMACY #54                   SAN ANTONIO      TX   78229     INDEPENDENT       BR8746957   13,200   11,800   14,500   11,800   27,400   28,400   17,850   107,100

100088603   018203166   RECEPT PHARMACY #4                       DALLAS        TX   75224     INDEPENDENT       BR8747668   10,700    8,600   11,000    9,300   12,000    9,100   10,117    60,700

100088601   018203141   RECEPT PHARMACY #5                     GRAPEVINE       TX   76051     INDEPENDENT       BR8747682     500      900      600      800     3,200    1,800    1,300     7,800

100052609   017087072   RIDGEWAY PHARMACY CLOSED DOOR            VICTOR        MT   59875     MAIL SERVICE      BR8820006    7,400    9,100    8,300    5,500    5,700    5,300    6,883    41,300

100071528   023143651   RARITAN VALLEY PHARMACY(X) CPA        BRANCHBURG       NJ   08876     INDEPENDENT       BR8862054    1,000    3,300     300      600      400     1,240    1,140     6,840

100070691   037145052   RIVER PARISHES HOSPITAL #712            LAPLACE        LA   70068       HOSPITAL        BR8911744     500      100               200                        267       800

100053753   040052761   REGIONAL HOPE PHARMACY-PHS             COLUMBUS        GA   31904   PHS 340B HOSPITAL   BR9004449    1,200    1,600    1,300    1,200    1,000    2,000    1,383     8,300

100053842   010000224   REGENCY HOSPITAL OF CINCINNATI         CINCINNATI      OH   45242       HOSPITAL        BR9005388     400      400      330      600               200      386      1,930

100072875   055060483   REGENCY HOSPITAL OF GREENVILLE         GREENVILLE      SC   29601       HOSPITAL        BR9009196     400      500      500     1,300     300      180      530      3,180

100054222   038048405   BERTHOUD DRUG           SF             BERTHOUD        CO   80513     INDEPENDENT       BR9050268    7,300    7,100    6,000   10,700    4,100    5,500    6,783    40,700

100088609   020156646   RECEPT PHARMACY # 75                    EL PASO        TX   79925     INDEPENDENT       BR9060067    4,600    5,600    4,500    5,500    3,700    2,200    4,350    26,100
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100072720   044086686   RANKEN JORDAN HOME FOR CONV/        MARYLAND HEIGHTS    MO   63043       HOSPITAL        BR9064015     100      100                                                 100       200

100106475   018403949   RIVENDELL BEHAVIORAL HLTH SVCS           BENTON         AR   72019       HOSPITAL        BR9080401                                    200                           200       200

100072165   021140186   RESEARCH BELTON HOSPITAL #712            BELTON         MO   64012       HOSPITAL        BR9156426    1,100    1,800        600      3,100     640      800        1,340     8,040

100056379   046090019   RXPERTS PHARMACY-TAMPA                   TAMPA          FL   33619   LONG TERM CARE      BR9176935   46,700   49,350      41,600    35,300   55,060   36,380      44,065   264,390

100083505   046032391   GROVEL PHARMACY                        GROVELAND        FL   34736     INDEPENDENT       BR9250868   12,000   11,000      11,600    19,700   12,800    5,600      12,117    72,700

100061776   010099788   RITE VALUE PHARMACY, LLC APSC            LOUISA         KY   41230     INDEPENDENT       BR9299341   12,800   13,900      14,600    14,400   12,800    9,800      13,050    78,300

100065123   019017921   REGENCY HOSPITAL OF PORTAGE             PORTAGE         IN   46368       HOSPITAL        BR9421479     400                  100       100      780                  345      1,380

100067688   041112748   RPHC LLC(GENERICS)(X)                   HANCOCK         MD   21750     INDEPENDENT       BR9484130    4,200    3,900       2,200     3,300     100       -         2,283    13,700

100070979   041112623   RPHC LLC(X)                             HANCOCK         MD   21750     INDEPENDENT       BR9484130                                    200     2,800    3,200       2,067     6,200

100066898   056050104   RIOS PHARMACY (Z) (GNP)                  MORTON         PA   19070     INDEPENDENT       BR9523172                                    600               500         550      1,100

100061845   052026682   REGENCY HOSPITAL OF JACKSON             JACKSON         MS   39216       HOSPITAL        BR9575866     200      300         300       750      200      380         355      2,130

100058416   056100453   *SHOPRITE PHARMACY #533                PENNINGTON       NJ   08534        CHAIN          BR9589358              900         700                                     800      1,600

100089094   052178749   LLOYD'S PHARMACY, INC                BAYOU LA BATRE     AL   36509     INDEPENDENT       BR9610470   17,100   15,200      14,100    18,800   40,000   23,500      21,450   128,700

100091330   018254649   KINDRED REHAB HOSP ARLINGTON           ARLINGTON        TX   76012       HOSPITAL        BR9612943     400     1,300       1,300      600      760      720         847      5,080

100053764   024056911   ROBERTSON CENTER PHARMACY             BEVERLY HILLS     CA   90211     INDEPENDENT       BR9637806    2,100     500         300      6,100     700                 1,940     9,700

100092304   023136655   RAMTOWN PHARMACY, ASHA SHAH              HOWELL         NJ   07731     INDEPENDENT       BR9664637     500      200         500       700      480      500         480      2,880

100059341   018065219   ROGERS PHARMACY, INC.                 WALNUT RIDGE      AR   72476     INDEPENDENT       BR9686431   19,400   22,500      27,000    21,600   19,700   22,800      22,167   133,000

100070796   008070177   RX CARE PHARMACY                        COALINGA        CA   93210     INDEPENDENT       BR9703946               -                   1,000                          500      1,000

100064315   023088062   ROSELLE PARK RITA PCY(Z) (GNP)        ROSELLE PARK      NJ   07204     INDEPENDENT       BR9751579     100      800         500      3,800                         1,300     5,200

100060985   018000323   REGENCY HOSPITAL OF FORT WORTH         FORT WORTH       TX   76132       HOSPITAL        BR9925756     550      450        1,600      200      660      800         710      4,260

100058846   010101675   RIPLEY DRUG        APSC                  RIPLEY         WV   25271     INDEPENDENT       BR9935961   11,400   10,800      16,220     6,300   13,200    7,300      10,870    65,220

100072169   021140236   SURGICARE OF WICHITA      #712           WICHITA        KS   67226       HOSPITAL        BS0101559     100                  100       100       80           80      92       460

100061838   023014159   STANDARD DRUG STORE(Z)(GNP)              MCADOO         PA   18237     INDEPENDENT       BS0114619    3,200    3,220       5,200     5,800    2,300    2,100       3,637    21,820

100052310   046000141   SHRINERS HOSPITAL FOR CHILDREN           TAMPA          FL   33612       HOSPITAL        BS0128846              100         200       200                           167       500

100068333   021005108   FUNK PHARMACY           CPA            CONCORDIA        KS   66901     INDEPENDENT       BS0188905    8,900    6,100      10,500    41,500     100     1,500      11,433    68,600

100110309   021176644   FUNK PHARMACY 340B                     CONCORDIA        KS   66901   PHS 340B HOSPITAL   BS0188905                                   2,500                         2,500     2,500

100063864   023100289   *SHOPRITE PHARMACY #122                   LODI          NJ   07644        CHAIN          BS0236578              700         500       300                           500      1,500

100090298   049188235   ST VINCENT MED AMB CARE RETAIL           TOLEDO         OH   43608       HOSPITAL        BS0237708                          500                                     500       500

100057471   046129379   SOUTH FLORIDA EVALUATION CTR           FLORIDA CITY     FL   33034       HOSPITAL        BS0264426     100                                                          100       100

100059025   056100735   *SHOPRITE PHARMACY #649               MANAHAWKIN        NJ   08050        CHAIN          BS0291714     200           20                                             110       220

100053530   017080200   SCHWARZ, MATTHEW B MD                   BOISE CITY      ID   83704       ALT SITE        BS0303519     100                            100               200         133       400

100076202   024054049   *SANSUM CLINIC PHCY                  SANTA BARBARA      CA   93105     INDEPENDENT       BS0337104   20,100   21,600      16,300     9,200                        16,800    67,200

100077105   055019992   STEDMAN DRUG CENTER(X)        CPA       STEDMAN         NC   28391     INDEPENDENT       BS0364125   18,900   15,700      17,200    33,740    1,900   14,300      16,957   101,740

100054175   010044388   SCARBROUGH HEALTHMART #2 APSC            LEIPSIC        OH   45856     INDEPENDENT       BS0402684    2,600    1,900       2,700     2,600    2,000    1,100       2,150    12,900

100054457   038054767   SURGERY CENTER OF FT COLLINS          FORT COLLINS      CO   80525       HOSPITAL        BS0421709     100                  100       100      300                  150       600

100063597   023095356   SORKINS RX LTD (Z)(B)                 LAKE SUCCESS      NY   11042     MAIL SERVICE      BS0443515                                    100                           100       100

100055935   010069096   SOUTHWEST COMMUNITY PHCY            MIDDLEBURG HEIGHT   OH   44130     INDEPENDENT       BS0512550    2,600    3,400       2,200     3,000    2,500    2,600       2,717    16,300

100057737   019300905   FROEDTERT SURGERY CENTER               MILWAUKEE        WI   53226       HOSPITAL        BS0554510                          100                                     100       100

100062372   023100651   *SHOPRITE PHARMACY #434                WASHINGTON       NJ   07882        CHAIN          BS0626587     500      300         (200)     120                           180       720

100058601   056100610   *SHOPRITE PHARMACY #612               SOMERS POINT      NJ   08244        CHAIN          BS0677952     300      900                   100                           433      1,300

100065632   021003921   STEVENSON FAMILY PHCY         SF      SAINT JOSEPH      MO   64504     INDEPENDENT       BS0729383    7,100    8,800      15,200    10,000   13,500    9,500      10,683    64,100

100087267   021162842   STEVENSON FAMILY PHARMACY 340B         ST. JOSEPH       MO   64504   PHS 340B HOSPITAL   BS0729383    6,700    7,700       6,900     6,000    5,000    7,400       6,617    39,700

100066969   021009340   STEVENSON FAMILY PHARMACY (PHS        SAINT JOSEPH      MO   64504    PHS 340B CLINIC    BS0729383    1,600    1,500       1,600              1,500    1,500       1,540     7,700

100056151   044053389   URO CENTER - E MEMPHIS UROLOGY          MEMPHIS         TN   38120       HOSPITAL        BS0823573     100      100                   100      100      100         100       500
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100090302   049188276   FAMILY HEALTHCARE PHCY 340B                TOLEDO          OH   43620   PHS 340B HOSPITAL   BS0842268    1,700    1,300    1,800    1,700     1,700     500     1,450     8,700

100096938   049190132   FAMILY HEALTHCARE PHARMACY WAC             TOLEDO          OH   43620   PHS 340B HOSPITAL   BS0842268     200      200      800      300       600      500      433      2,600

100056358   032068437   ST FRANCISCAN FW O/P CONTRACT           FEDERAL WAY        WA   98003       HOSPITAL        BS0850708     600     1,600    2,100    1,500      300              1,220     6,100

100064764   032168518   ST. FRANCIS HOSPITAL 340B               FEDERAL WAY        WA   98003   PHS 340B HOSPITAL   BS0850708    1,000     500      850      650       500      800      717      4,300

100104697   032151837   ST FRANCIS COMMU HOSP PHMCY             FEDERAL WAY        WA   98003       HOSPITAL        BS0850708     500      800      600      600                         625      2,500

100091489   032145821   ST FRANCIS COMM HSP FP-OP               FEDERAL WAY        WA   98003       HOSPITAL        BS0850708              200      800      900                         633      1,900

100056361   032068510   ST. FRANCIS HOSPITAL                    FEDERAL WAY        WA   98003       HOSPITAL        BS0850708              300      400      350                         350      1,050

100109845   032152975   ST FRANCIS COMM HOSP FP AUBURN          FEDERAL WAY        WA   98003       HOSPITAL        BS0850708              200      400      400                         333      1,000

100096521   032147785   ST. FRANCIS HOSPITAL WAC                FEDERAL WAY        WA   98003       HOSPITAL        BS0850708                                          600               600       600

100062471   021000083   S-V ENTERPRISES                            TOPEKA          KS   66604     INDEPENDENT       BS0868173    3,500    4,900    5,100    3,600     8,400    8,900    5,733    34,400

100086142   021161158   S-V ENTERPRISES 340B                       TOPEKA          KS   66604   PHS 340B HOSPITAL   BS0868173     100      100                                           100       200

100088715   023134171   SCAREAST PHARMACY INC. CPA               SCARSDALE         NY   10583     INDEPENDENT       BS0956740    2,500    1,300    2,400     700      2,000    2,000    1,817    10,900

100055289   010070276   SCHWIETERMAN'S PHCY/ST M CPA             SAINT MARYS       OH   45885     INDEPENDENT       BS0985892    6,800    5,400    6,900    7,300    11,000    4,300    6,950    41,700

100059012   044041632   SAVE ON DRUGS           APSC                CADIZ          KY   42211     INDEPENDENT       BS0985931   27,300   31,200   46,100   38,500    19,600    6,000   28,117   168,700

100057672   018032607   SPECIAL CARE PHARMACY                     LUBBOCK          TX   79404   LONG TERM CARE      BS1054446             1,000    3,000              1,000    1,500    1,625     6,500

100057671   018032615   SPECIAL CARE PHARMACY/MHA                 LUBBOCK          TX   79404   LONG TERM CARE      BS1054446    1,500     500     1,000                                1,000     3,000

100058415   056100446   *SHOPRITE PHARMACY #531                  WEST BERLIN       NJ   08091        CHAIN          BS1160984     200      100               (100)                        67       200

100069273   017140145   ST MARKS HOSPITAL I/P    #712           SALT LAKE CITY     UT   84124       HOSPITAL        BS1176937    3,800    3,000    4,350    3,600     4,040    2,920    3,618    21,710

100073869   004100578   *SHOPRITE PHARMACY #288                  WEST NYACK        NY   10994        CHAIN          BS1224916     800     2,000    1,700    1,500                       1,500     6,000

100052141   010049643   SAMARITAN PHARMACY                         DAYTON          OH   45406     INDEPENDENT       BS1238838    4,700    4,400    2,200     700      5,000    4,100    3,517    21,100

100065005   049066605   SANILAC SERVICES INC      SF              SANDUSKY         MI   48471     INDEPENDENT       BS1259806    9,200    9,700    6,200    6,300    10,800    6,300    8,083    48,500

100071608   046141747   SUN CITY HOSPITAL INC    #712          SUN CITY CENTER     FL   33573       HOSPITAL        BS1298771     600      600     1,200     300       940     1,020     777      4,660

100053311   024061754   SIERRA PHARMACY                           GLENDORA         CA   91741     INDEPENDENT       BS1300653    1,300    1,800   28,800   32,100    18,000    3,700   14,283    85,700

100058598   056100586   *SHOPRITE PHARMACY #601              EGG HARBOR TOWNSHIP   NJ   08234        CHAIN          BS1301249              200                                           200       200

100064351   056100339   *SHOPRITE PHARMACY #504                 WILLIAMSTOWN       NJ   08094        CHAIN          BS1317355                                100                         100       100

100071507   020140046   LAS PALMAS MEDICAL CENTER #712             EL PASO         TX   79902       HOSPITAL        BS1514327    1,900    2,700    2,750    3,400     2,080    1,720    2,425    14,550

100054793   037064261   SULLIVAN RX ACCT/EDI                       BACLIFF         TX   77518     INDEPENDENT       BS1523871   36,900   38,200   37,200   38,200    29,500   25,300   34,217   205,300

100066192   008023648   CSU SAN JOSE                              SAN JOSE         CA   95192       ALT SITE        BS1598905              100      100     1,100                        433      1,300

100067797   040143974   SAWNEE DRUG COMPANY            CPA        CUMMING          GA   30028     INDEPENDENT       BS1601411    5,000    6,000    4,000    4,000     8,000    3,000    5,000    30,000

100057276   056016212   SELLERSVILLE PHCY(X)(GNP)               SELLERSVILLE       PA   18960     INDEPENDENT       BS1633800    4,000    5,800   32,700    2,000     1,500     900     7,817    46,900

100087893   041141739   STONEY CREEK PHARMACY                    NELLYSFORD        VA   22958     INDEPENDENT       BS1651214    4,600    3,600    1,900    3,600     1,000    2,000    2,783    16,700

100055724   032021642   GHC PHARM SOUTH HILL MC 54                SPOKANE          WA   99223     HEALTH PLAN       BS1690444    9,100   10,400    7,500    9,000      200              7,240    36,200

100072006   032116178   GHC PHARM SOUTH HILL MC 54 2              SPOKANE          WA   99223     HEALTH PLAN       BS1690444                                        10,300    9,400    9,850    19,700

100062473   021000109   ST LUKES NORTHLAND HOSP (BRY)            KANSAS CITY       MO   64154       HOSPITAL        BS1712606    1,500    1,800    2,100    3,000     1,700    3,400    2,250    13,500

100086538   037121269   WALGREENS #15086                          HOUSTON          TX   77030     WALGREENS         BS1776434             1,100    8,200   10,700    10,000   14,100    8,820    44,100

100065676   023031294   SIEGEL'S PHARMACY(X)(IPBG)                TRENTON          NJ   08610     INDEPENDENT       BS1791397    2,000    2,800    2,000    2,700     1,200             2,140    10,700

100058346   023100768   *SHOPRITE PHARMACY #522                  WOODBRIDGE        NJ   07095        CHAIN          BS1846457              100               100                         100       200

100058595   023100800   *SHOPRITE PHARMACY #585                EAST BRUNSWICK      NJ   08816        CHAIN          BS1864126              100                                           100       100

100066223   019146316   MERCY MEDICAL CTR-CLINTON                  CLINTON         IA   52732       HOSPITAL        BS1899749    1,500    2,000    1,700    2,000     2,220    1,440    1,810    10,860

100060816   025022905   ST MARY'S REGIONAL HLTH CTR             DETROIT LAKES      MN   56501       HOSPITAL        BS1899751     400      700      200      700       400      800      533      3,200

100058586   023100776   *SHOPRITE PHARMACY #552                  PISCATAWAY        NJ   08854        CHAIN          BS1986376     100      100                                           100       200

100054562   010055327   SCHWIETERMAN'S MINSTER         CPA         MINSTER         OH   45865     INDEPENDENT       BS2001294    4,550    3,700    4,800    7,300              3,900    4,850    24,250

100064046   023100065   *SHOPRITE PHARMACY #113                  LYNDHURST         NJ   07071        CHAIN          BS2052164             1,000     230      530                         587      1,760

100055285   032070854   SUBLIMITY PHARMACY                        STAYTON          OR   97383   LONG TERM CARE      BS2061430    4,200    4,000    4,500    4,500     3,000    2,300    3,750    22,500
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100052414   024096768   STAN'S DRUGS                          OXNARD          CA   93033     INDEPENDENT       BS2080935    5,300    5,800    7,000    2,600   16,100   11,800    8,100    48,600

100085199   024107573   STAN'S DRUGS                          OXNARD          CA   93033     INDEPENDENT       BS2080935                               1,000                      1,000     1,000

100060581   019040618   SNITEMAN PHCY, INC    CPA            NEILLSVILLE      WI   54456     INDEPENDENT       BS2098603    7,400    2,100    3,500   12,000    2,400    6,500    5,650    33,900

100109834   019187062   SNITEMAN PHARMACY 340B               NEILLSVILLE      WI   54456   PHS 340B HOSPITAL   BS2098603             7,000    2,200    1,500                      3,567    10,700

100066727   021052068   SAM'S RX SHOP- UNITED 3430            RAYTOWN         MO   64138     INDEPENDENT       BS2101474   12,200   11,600    9,800    9,100   13,300    5,100   10,183    61,100

100052074   010042473   SAND RUN PHARMACY         APSC         AKRON          OH   44313     INDEPENDENT       BS2107779    4,400    3,800    3,000    4,500    4,500    3,300    3,917    23,500

100064123   021060640   SPALDING PHCY        SF               SPALDING        NE   68665     INDEPENDENT       BS2126022     500     1,500    1,200     200     1,500              980      4,900

100058600   056100602   *SHOPRITE PHARMACY #607              FREEHOLD         NJ   07728        CHAIN          BS2178653     600     1,100    1,500     100                        825      3,300

100055937   010069393   SPEIDELS MED ARTS PHCY     APSC       RAVENNA         OH   44266     INDEPENDENT       BS2201438    1,500             2,500    2,000             2,100    2,025     8,100

100058063   044046532   SHOE CREEK PHARMACY APSC             WAYNE CITY       IL   62895     INDEPENDENT       BS2212330    3,500    3,500    5,600     200     2,000    2,200    2,833    17,000

100063787   049054015   COVENANT HEALTHCARE O/P PHCY          SAGINAW         MI   48602       HOSPITAL        BS2242876    8,660    8,520   11,960   23,360    3,400   11,100   11,167    67,000

100101373   049194605   COVENANT HLCARE-O/P PHCY WAC          SAGINAW         MI   48602   PHS 340B HOSPITAL   BS2242876    1,000    3,400    1,500             1,500             1,850     7,400

100059893   049115576   COVENANT HLCARE -O/P PHCY 340B        SAGINAW         MI   48602   PHS 340B HOSPITAL   BS2242876    2,500    3,000    1,000                               2,167     6,500

100063945   023100412   *SHOPRITE PHARMACY #221                WAYNE          NJ   07470        CHAIN          BS2244971     100      100      500      400                        275      1,100

100092006   018314179   MERCY HOSP TURNER MEMORIAL             OZARK          AR   72949       HOSPITAL        BS2315097     300      100      600      100                        275      1,100

100068010   032130997   ST. CLARE HOSPITAL FP OP             LAKEWOOD         WA   98499       HOSPITAL        BS2354001              500     3,100    2,000                      1,867     5,600

100055326   032178798   ST. CLARE HOSPITAL 340B              LAKEWOOD         WA   98499   PHS 340B HOSPITAL   BS2354001     300      650      900      400      100     1,300     608      3,650

100056034   032068080   ST. CLARE HOSPITAL                   LAKEWOOD         WA   98499       HOSPITAL        BS2354001     500      100      350      200     1,000     400      425      2,550

100094289   041145730   STREET DRUG CORP                      LEBANON         VA   24266     INDEPENDENT       BS2399865    7,600    6,400    6,800   10,500   13,700    1,700    7,783    46,700

100067121   021005751   STEIER PHCY, INC     SF                OMAHA          NE   68122     INDEPENDENT       BS2422967    5,000    5,500    5,500    4,000    7,500    3,000    5,083    30,500

100053526   017078006   SERVICE DRUG                           DELTA          UT   84624     INDEPENDENT       BS2442096   18,500   20,000   12,500   20,400   18,700   20,000   18,350   110,100

100059547   023030882   SELIGMAN PHCY INC                     HOBOKEN         NJ   07030     INDEPENDENT       BS2442387     600      500     1,200     900      320      420      657      3,940

100090268   049188201   ST CHARLES OP PHCY RETAIL             OREGON          OH   43616       HOSPITAL        BS2490287    5,000    5,700    4,100    5,700    7,200    3,200    5,150    30,900

100066225   049150011   *SAINT JOSEPH MERCY OAKLAND           PONTIAC         MI   48341     INDEPENDENT       BS2503224   20,200   15,000   24,200   29,300     100             17,760    88,800

100064114   023100115   *SHOPRITE PHARMACY #121            ROCHELLE PARK      NJ   07662        CHAIN          BS2537768              300      600                                 450       900

100075956   037117580   SAN AUGUSTINE DRUG COMPANY         SAN AUGUSTINE      TX   75972     INDEPENDENT       BS2544078   20,000   25,900   22,900   27,100   19,100    9,600   20,767   124,600

100053706   024024570   SG KNOLLS PHARMACY                PACIFIC PALISADES   CA   90272     INDEPENDENT       BS2559269    1,700    2,100    1,900    1,400    2,000    1,700    1,800    10,800

100064210   023100560   *SHOPRITE PHARMACY #287                DOVER          NJ   07801        CHAIN          BS2563965              200      200       -                         133       400

100051328   018043414   SHAW'S PHCY-CROWELL        SF         CROWELL         TX   79227     INDEPENDENT       BS2564777    2,500    2,500    3,000    4,000    3,000    5,000    3,333    20,000

100053108   024000216   SUPERMARKET PHARMACY /AMD          BELL GARDENS       CA   90201    PHS 340B CLINIC    BS2609836     400               100                                 250       500

100085127   025068163   SCHMITZ'S ECONOMART        SF         SPOONER         WI   54801     INDEPENDENT       BS2653598    3,200    4,400    3,200    3,100    4,100    3,300    3,550    21,300

100067345   049143065   ROSE CITY DRUGS       CPA            ROSE CITY        MI   48654     INDEPENDENT       BS2662179   24,600   31,200   32,400   25,700   26,200    4,300   24,067   144,400

100067041   021054288   SKAGWAY PHCY #2,SOUTH GNPSF         GRAND ISLAND      NE   68801     INDEPENDENT       BS2669111    6,000    8,900    7,500    7,500   12,500    2,500    7,483    44,900

100063601   023100206   *SHOPRITE PHARMACY #153              NORTHVALE        NJ   07647        CHAIN          BS2704559     200      300      700      300                        375      1,500

100059024   056100727   *SHOPRITE PHARMACY #643              RIO GRANDE       NJ   08242        CHAIN          BS2710514               20      100      300                        140       420

100064801   049041541   SAULT STE MARIE TBL HLTH PHS        SAINT IGNACE      MI   49781    PHS 340B CLINIC    BS2712671    4,400    6,000    4,500    4,800    6,300    2,500    4,750    28,500

100057845   032015115   *FRANCISCAN PHCY HM MED SUPLY         TACOMA          WA   98405       HOSPITAL        BS2765090     500                                                   500       500

100076908   040111948   REPRODUCTIVE MEDICINE AT CLH          ATLANTA         GA   30308       HOSPITAL        BS2772475              100                                          100       100

100058537   041045435   SENTARA INDEPENDENCE PHCY          VIRGINIA BEACH     VA   23455       HOSPITAL        BS2801909     300               300                                 300       600

100056344   019032953   VASCULAR ACCESS-CTRS OF IL        EVERGREEN PARK      IL   60805       HOSPITAL        BS2846826     100                                                   100       100

100088210   052174078   BIRMINGHAM SURGERY CENTER           BIRMINGHAM        AL   35209       HOSPITAL        BS2853744              100      200      300      160       80      168       840

100071715   040120857   SE GA REGIONAL MED CTR 340B          BRUNSWICK        GA   31520   PHS 340B HOSPITAL   BS2859936    2,200    3,400    1,800    1,200              900     1,900     9,500

100071714   040120832   SOUTHEAST GA REG MEDICAL CTR         BRUNSWICK        GA   31520       HOSPITAL        BS2859936    1,500    1,700    2,200    2,300     160      800     1,443     8,660

100096483   040115188   SE GA REG MED CTR(WAC)               BRUNSWICK        GA   31520   PHS 340B HOSPITAL   BS2859936                       100               700     1,500     767      2,300
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100054180   010044453   ST AUGUSTINE SERVICE CORP.            CLEVELAND       OH   44102     LONG TERM CARE       BS2993853    2,200    3,500    2,000    2,600    1,800    1,700    2,300    13,800

100051504   008035790   SUTTER COAST HOSPITAL(PHCY)         CRESCENT CITY     CA   95531         HOSPITAL         BS2999932     400      900     1,100    2,500     100      300      883      5,300

100055640   018076828   BEST DISCOUNT PHARMACY                 LUBBOCK        TX   79411       INDEPENDENT        BS3006120    7,300    6,300    7,500    5,500    8,700    7,200    7,083    42,500

100060243   044064105   ST BETHLEHEM DRUGS, INC APSC         CLARKSVILLE      TN   37043       INDEPENDENT        BS3061479   10,600   12,600   12,100   15,300    6,500    9,200   11,050    66,300

100062444   023100693   *SHOPRITE PHARMACY #453             BERNARDSVILLE     NJ   07924          CHAIN           BS3067178     300      100      200      100                        175       700

100108682   049196683   SHORELINE PHARMACY         SF        SOUTH HAVEN      MI   49090       INDEPENDENT        BS3073703    7,000    8,000    7,500   14,000    2,000    4,000    7,083    42,500

100059270   041052266   ST MARYS (RETAIL)VA     843           RICHMOND        VA   23226         HOSPITAL         BS3092828    3,700    3,900    3,200    3,500    5,400    2,300    3,667    22,000

100056188   037089664   SOUTHSIDE INFUSION                     HOUSTON        TX   77030   HOME HEALTH SERVICES   BS3104522                       100                                 100       100

100053252   046000398   MEMORIAL WEST PREMIER              PEMBROKE PINES     FL   33028         HOSPITAL         BS3111399     800      200     1,500     500     1,000     700      783      4,700

100065477   046050401   MEMORIAL WEST PHS                  PEMBROKE PINES     FL   33028     PHS 340B HOSPITAL    BS3111399              500      200                                 350       700

100050035   003042242   SUPER FCIA SAN JOSE AIBO GNP           AIBONITO       PR   00705       INDEPENDENT        BS3158068              200               100                        150       300

100086670   049184457   *MERCY HEALTH SAINT MARY'S CAM      GRAND RAPIDS      MI   49503     PHS 340B HOSPITAL    BS3262158   14,500   16,500   13,300   14,500                     14,700    58,800

100066226   049150060   *MERCY HEALTH SAINT MARY'S CAM      GRAND RAPIDS      MI   49503     LONG TERM CARE       BS3262158              500     7,200   13,800                      7,167    21,500

100063671   023100271   *SHOPRITE PHARMACY #169              ENGLEWOOD        NJ   07631          CHAIN           BS3444053     400                                                   400       400

100071365   046141614   SAME DAY SURGICTR ORLANDO #712         ORLANDO        FL   32806         HOSPITAL         BS3451200                       100                         80       90       180

100071856   049125179   HENRY FORD MACOMB PHCY #1 O/P      CLINTON TOWNSHIP   MI   48038       INDEPENDENT        BS3469675   14,800   23,900   18,700   16,800   24,000   41,500   23,283   139,700

100106696   049195123   HENRY FORD MACOMB # 1 PHS          CLINTON TOWNSHIP   MI   48038     PHS 340B HOSPITAL    BS3469675    1,600     100      600     1,000     500               760      3,800

100065012   049067090   *SCHEURER FAMILY PHCY         SF        PIGEON        MI   48755       INDEPENDENT        BS3509176    8,700   10,400   11,200   13,800   15,700            11,960    59,800

100091142   049188748   *SCHEURER FMLY PHCY340B PIGEON          PIGEON        MI   48755         HOSPITAL         BS3509176    5,700    6,000    4,200    4,200                      5,025    20,100

100091142   049188748   *SCHEURER FMLY PHCY340B PIGEON          PIGEON        MI   48755     PHS 340B HOSPITAL    BS3509176                                        3,200             3,200     3,200

100090766   044210591   ST JOSEPH HOSPITAL WEST            LAKE SAINT LOUIS   MO   63367         HOSPITAL         BS3514987    2,100    3,100    2,900    2,300    3,500    2,200    2,683    16,100

100090945   044195198   ST MARY'S HLTH CTR IP                 SAINT LOUIS     MO   63117         HOSPITAL         BS3516929    3,200    2,800    3,600    2,200    3,260    2,100    2,860    17,160

100090947   044195677   ST MARY'S HLTH CTR WAC                SAINT LOUIS     MO   63117         HOSPITAL         BS3516929                               1,600     340     1,520    1,153     3,460

100090769   044210617   ST MARY'S HLTH CTR 340B               SAINT LOUIS     MO   63117     PHS 340B HOSPITAL    BS3516929     400      300      700      400      160      300      377      2,260

100090765   044210583   ST JOSEPH HLTH CTR-ST CHARLES       SAINT CHARLES     MO   63301         HOSPITAL         BS3544447    2,200    2,600    2,400    1,700    1,500    1,300    1,950    11,700

100091081   044210831   ST JOSEPH HLTH CTR-ST CHAR WAC      SAINT CHARLES     MO   63301         HOSPITAL         BS3544447                       100     1,900    1,480    1,200    1,170     4,680

100090764   044210575   ST JOSEPH HLTH CTR-ST CHA 340B      SAINT CHARLES     MO   63301     PHS 340B HOSPITAL    BS3544447     300      500      400      400               200      360      1,800

100076985   055055624   SEA LEVEL HOSPITAL PHCY(GNP)          SEALEVEL        NC   28577       INDEPENDENT        BS3563120             1,200     600      100                        633      1,900

100058065   044046649   STONES PHARMACY           CPA        JONESBORO        AR   72401       INDEPENDENT        BS3565150   11,600   11,800   18,000   17,800   14,000    9,600   13,800    82,800

100087050   046038406   SPECIALTY HOSP JACKSONVIL #712       JACKSONVILLE     FL   32207         HOSPITAL         BS3580227     300      750               200      500      300      410      2,050

100109668   010237982   ST ELIZABETH MED CTR-GRANT CO       WILLIAMSTOWN      KY   41097         HOSPITAL         BS3716834                       100      100                        100       200

100067351   049143073   SKIP'S PHCY OF MICHIGAN    CPA         HOLLAND        MI   49423       INDEPENDENT        BS3764164   13,000   18,000   16,100   17,500   18,300   18,400   16,883   101,300

100060191   056032300   STAFFORD PHARMACY (IPBG)             MANAHAWKIN       NJ   08050       INDEPENDENT        BS3783708    1,300    1,400    1,700    1,800    2,000    1,100    1,550     9,300

100061712   012120261   SAN YSIDRO HLTH CTR PHCY 340B         SAN YSIDRO      CA   92173      PHS 340B CLINIC     BS3832171    4,500    3,000    4,500    2,800    2,000    2,300    3,183    19,100

100062179   025004267   ST. JOSEPH'S AREA HEALTH             PARK RAPIDS      MN   56470         HOSPITAL         BS3867263     250      500      500      600      430      440      453      2,720

100085121   025068155   ST JOSEPHS AREA HLTH SVCS 340B       PARK RAPIDS      MN   56470     PHS 340B HOSPITAL    BS3867263                                100                        100       100

100068254   040144089   TRUSTEE DRUGS           CPA          FOREST PARK      GA   30297       INDEPENDENT        BS3896098   12,900    9,200   13,100   13,700    7,000    1,800    9,617    57,700

100058707   044064691   SOUTHERN INDIANA REHAB HOSP          NEW ALBANY       IN   47150         HOSPITAL         BS3906673    1,900    1,400    2,300     900      580     1,280    1,393     8,360

100050489   004044438   SYNA INC (X)                          WESTFIELD       MA   01085       INDEPENDENT        BS3906976    1,500    1,500    1,000     500                       1,125     4,500

100063972   019002717   ST BERNARD HOSP OUTPATI PHAR           CHICAGO        IL   60621       INDEPENDENT        BS3938618     500      300      600     1,500                       725      2,900

100064592   019008813   ST BERNARD HOSP O/P (340B PHS          CHICAGO        IL   60621     PHS 340B HOSPITAL    BS3938618              200               200                        200       400

100064211   023100586   *SHOPRITE PHARMACY #291                FRANKLIN       NJ   07416          CHAIN           BS3954016     200      100      400                                 233       700

100059091   056100776   *SHOPRITE PHARMACY #659              MANCHESTER       NJ   08759          CHAIN           BS3958937     200              1,000    1,700                       967      2,900

100065714   021004309   STARK PROFESSIONAL PHARMACY         OVERLAND PARK     KS   66209       INDEPENDENT        BS4009292    4,800    4,000    4,900    4,200    5,800    4,900    4,767    28,600
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100086650   024109504   SANTA BARBARA COTTAGE HOSP IP       SANTA BARBARA      CA   93105         HOSPITAL         BS4023038    8,800   11,300     8,900     8,400   10,400    6,700    9,083     54,500

100086849   024085522   SANTA BARBARA COTTAGE HOSP EM       SANTA BARBARA      CA   93105         HOSPITAL         BS4023038                        100                                  100        100

100090842   044193862   SAINT CHARLES CLINIC PHARMACY       SAINT CHARLES      MO   63303         HOSPITAL         BS4077625     600      800      1,500     2,200     900     2,000    1,333      8,000

100089858   008050732   SUTTER ALHAMBRA SURGERY CTR LP       SACRAMENTO        CA   95816         HOSPITAL         BS4142953     200                200       800               300      375       1,500

100064112   023100099   *SHOPRITE PHARMACY #119                BAYONNE         NJ   07002          CHAIN           BS4177312     200       -                  200                        133        400

100051386   008034389   SUTTER DAVIS HOSPITAL,PHARMACY          DAVIS          CA   95616         HOSPITAL         BS4180193     500      900       400       100      300      700      483       2,900

100101124   008112151   SUTTER DAVIS HOSP PHAR WAC              DAVIS          CA   95616      PHS 340B CLINIC     BS4180193              100                2,000                      1,050      2,100

100060979   008136630   SUTTER DAVIS HOSP PHAR 340B             DAVIS          CA   95616      PHS 340B CLINIC     BS4180193     100      300       500                                  300        900

100064115   023100123   *SHOPRITE PHARMACY #125                PASSAIC         NJ   07055          CHAIN           BS4209044              100                                            100        100

100064118   023100156   *SHOPRITE PHARMACY #134              HACKENSACK        NJ   07601          CHAIN           BS4226963                        100                                  100        100

100071367   046141648   SARASOTA DOCTORS HOSPITAL #712        SARASOTA         FL   34233         HOSPITAL         BS4234833    1,000     700       800      2,000     160      600      877       5,260

100065010   049066878   SAULT TRIBAL HLTH CTR PHCY/PHS     SAULT SAINTE MARI   MI   49783      PHS 340B CLINIC     BS4249858    8,500    9,400     8,800    10,200    6,400    9,100    8,733     52,400

100096937   021078444   SABETHA FAMILY PHARMACY CPA            SABETHA         KS   66534       INDEPENDENT        BS4250813   10,500    6,300     2,500     4,800    4,500    7,000    5,933     35,600

100070383   018143909   SCOTT'S PHARMACY        CPA           WINNSBORO        TX   75494       INDEPENDENT        BS4277946   28,700   30,100    17,900    26,000   16,100   21,000   23,300    139,800

100058636   018068742   SEQUOYAH COUNTY HOSPITAL O/P           SALLISAW        OK   74955         HOSPITAL         BS4279748     600      600      2,800      900      400              1,060      5,300

100052143   010049676   SAMARITAN NORTH PHARMACY               DAYTON          OH   45415       INDEPENDENT        BS4283646    2,800    3,700     6,200     7,800    7,500   12,000    6,667     40,000

100074271   008011254   SMITHS ST. HELENA PHARMACY CPA       SAINT HELENA      CA   94574       INDEPENDENT        BS4307042    4,900    8,800     9,800     7,900     200     3,900    5,917     35,500

100092772   008088070   SMITHS ST HELENA PHARMACY 340B        ST HELENA        CA   94574         ALT SITE         BS4307042     100                                                     100        100

100058517   044040410   ST.JOSEPH HOSPITAL                  MURPHYSBORO        IL   62966         HOSPITAL         BS4314996     300      200      1,200      900               400      600       3,000

100083997   044188326   ST.JOSEPH HOSP 340B                 MURPHYSBORO        IL   62966     PHS 340B HOSPITAL    BS4314996              100       100       100                        100        300

100070457   018143941   SUPER VALUE PHARMACY         CPA        EULESS         TX   76039       INDEPENDENT        BS4325622    9,100    2,100      (800)     900      100      500     1,983     11,900

100106545   055041517   SPARTANBURG MEDICAL CENTER -OP      SPARTANBURG        SC   29303         HOSPITAL         BS4332792    4,600    5,400     6,000     5,400    9,100    5,100    5,933     35,600

100058520   056100479   *SHOPRITE PHARMACY #538                NEWPORT         DE   19804          CHAIN           BS4364460                                  500                        500        500

100064119   023100164   *SHOPRITE PHARMACY #139              JERSEY CITY       NJ   07302          CHAIN           BS4400735     200                                                     200        200

100060795   023011221   SPRINGVIEW PHARMACY(Z) (GNP)          IRVINGTON        NJ   07111       INDEPENDENT        BS4443797     100      100       100       100                        100        400

100067128   052094730   SOUTHEAST PHARMACEUTICALS%               ELBA          AL   36323   HOME HEALTH SERVICES   BS4453281              500                                            500        500

100065083   021054718   SIOUXLAND COMMUNITY HLTH CTR          SIOUX CITY       IA   51105      PHS 340B CLINIC     BS4481723   13,100   14,900    12,100    15,800   14,600   14,000   14,083     84,500

100055402   046005637   MEMORIAL PEMBROKE PHS              PEMBROKE PINES      FL   33024     PHS 340B HOSPITAL    BS4487698     300      400       200       200                        275       1,100

100053249   046000380   MEMORIAL PEMBROKE PREMIER          PEMBROKE PINES      FL   33024         HOSPITAL         BS4487698                                  500               300      400        800

100052265   010040303   SOUTHEASTERN OH REG MED CTR           CAMBRIDGE        OH   43725         HOSPITAL         BS4560276     900      900      1,000     1,200     720      820      923       5,540

100107345   032152405   THE VANCOUVER CLINIC                  VANCOUVER        WA   98664         HOSPITAL         BS4585735                        100                                  100        100

100071446   018140624   SOUTH AUSTIN HOSPITAL     HCA           AUSTIN         TX   78704         HOSPITAL         BS4610336   12,000   13,500     8,800     9,600   13,100    6,720   10,620     63,720

100062330   021001453   SALINA REGIONAL HLTH CENTER             SALINA         KS   67401         HOSPITAL         BS4611770    4,100    4,700     4,000     3,400    4,980    2,820    4,000     24,000

100096910   019163923   AURORA ST LUKES SO SHORE WAC           CUDAHY          WI   53110         HOSPITAL         BS4614776     800                200       900     1,200     980      816       4,080

100065839   019006205   ST LUKES SOUTH SHORE (I/P)             CUDAHY          WI   53110         HOSPITAL         BS4614776     100      800      1,200      100                        550       2,200

100084001   019136416   ST LUKES SOUTH SHORE 340B              CUDAHY          WI   53110     PHS 340B HOSPITAL    BS4614776              300       200       100                        200        600

100051777   010047084   ST MARY'S HOSPITAL PHARMACY O        HUNTINGTON        WV   25702         HOSPITAL         BS4645911    6,500    8,100     7,000     6,200    5,300    4,800    6,317     37,900

100059848   037101907   SAENZ MED PHCY OF PENITAS SF           PENITAS         TX   78576       INDEPENDENT        BS4666369   15,900   19,300    13,400    11,100   11,700    8,000   13,233     79,400

100058417   056100461   *SHOPRITE PHARMACY #537              PHILADELPHIA      PA   19120          CHAIN           BS4688098              (300)     200                                   (50)      (100)

100058591   056100537   *SHOPRITE PHARMACY #561              PHILADELPHIA      PA   19116          CHAIN           BS4688113     200      (100)                                           50        100

100106549   055041582   SPARTANBURG HOSP FOR RES. CARE      SPARTANBURG        SC   29303         HOSPITAL         BS4697352    1,400    1,300     1,500     1,700    1,880    1,100    1,480      8,880

100061922   025022673   ST MARY'S HOSP OF SUPERIOR             SUPERIOR        WI   54880         HOSPITAL         BS4714514     100      150       200       750      180      280      277       1,660

100053484   024063636   SMITH PHARMACY                       LOS ANGELES       CA   90006       INDEPENDENT        BS4722977     800      300       900                                  667       2,000

100071654   020140079   MOUNTAINVIEW HOSPITAL     #712        LAS VEGAS        NV   89128         HOSPITAL         BS4735277    3,400    4,700     3,900     3,600    3,240    3,920    3,793     22,760
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100066702   018061317   SMITH COUNTRY CLUB DR STORESF            LITTLE ROCK     AR   72207     INDEPENDENT        BS4736914                                 500                        500        500

100066243   019160051   SOUTH BEND CLINIC                        SOUTH BEND      IN   46634       HOSPITAL         BS4740002     700     1,000    1,000     1,200    1,100    1,900    1,150      6,900

100051288   018043380   STRONG-HURT PHARMACY, INC                HENDERSON       TX   75652     INDEPENDENT        BS4754405   13,700   11,700   16,700    10,000   11,600    8,500   12,033     72,200

100051388   008034546   SAN JOAQUIN GEN HOSP PHCY I/P           FRENCH CAMP      CA   95231       HOSPITAL         BS4763276    1,800    2,500    1,500     3,100    1,800    2,600    2,217     13,300

100065156   018064212   PHARMACORR, LLC     (OK MAIN)          OKLAHOMA CITY     OK   73149    LONG TERM CARE      BS4773847   19,200   14,600   16,100    13,200   23,500   10,500   16,183     97,100

100070358   038140269   SWEDISH MEDICAL CENTER         #712      ENGLEWOOD       CO   80113       HOSPITAL         BS4782909    1,300    3,500    2,800     2,500    1,720    2,980    2,467     14,800

100090468   010225177   ST JOSEPH HLTH CTR AMB PHCY OP            WARREN         OH   44484       HOSPITAL         BS4791047    3,100    4,600    4,800     2,600    3,600    2,100    3,467     20,800

100090282   010224808   ST JOSEPH HLTH CTR PHCY IP                WARREN         OH   44484       HOSPITAL         BS4791047    1,800    1,500    1,800     1,600    3,300    2,500    2,083     12,500

100090558   032145110   PEACE HLTH SW AT MED CTR WAC             VANCOUVER       WA   98664       HOSPITAL         BS4803741    6,100    7,200    8,100     9,000    7,700    9,100    7,867     47,200

100065764   049059337   SNYDER'S LINCOLN PHCY INC                 LINCOLN        MI   48742     INDEPENDENT        BS4833302   15,100   15,300   16,900    20,300   10,800   16,500   15,817     94,900

100058837   037105759   SAENZ MED PHCY NORTH, LLC SF              MC ALLEN       TX   78504     INDEPENDENT        BS4853051     200      300      100       200               200      200       1,000

100065115   018080127   MERCY MEDICAL CENTER                      ROGERS         AR   72758       HOSPITAL         BS4853873    2,200    2,100    2,000     5,000      80     1,180    2,093     12,560

100091481   010225987   MEDICINE SHOPPE APSC                   HUBER HEIGHTS     OH   45424     INDEPENDENT        BS4859596    8,100    5,100    5,600    10,600    2,660    4,800    6,143     36,860

100055291   010074138   SURGICAL HOSPITAL AT SOUTHWOOD          YOUNGSTOWN       OH   44512        ALT SITE        BS4871453     300      200      700       800      500      300      467       2,800

100063935   056100065   *SHOPRITE PHARMACY DEPT #193            MORGANVILLE      NJ   07751         CHAIN          BS4884171     200                                                    200        200

100050065   003048447   SUPER FCIA LIZETTE GNP                     JAYUYA        PR   00664     INDEPENDENT        BS4887064                                 100                        100        100

100069963   021101618   *BRADFORD PHCY           SF             WEST PLAINS      MO   65775     INDEPENDENT        BS4913631    4,000                                                  4,000      4,000

100060804   023011486   SOUTH RIVER PHARMACY                    SOUTH RIVER      NJ   08882     INDEPENDENT        BS4917540     300      500      400      1,030     700      400      555       3,330

100069268   018140673   ST DAVID'S MEDICAL CTR    HCA              AUSTIN        TX   78705       HOSPITAL         BS4923997   15,100   12,800   10,900     8,600   16,740   17,320   13,577     81,460

100069269   018140681   ST DAVID'S MED CTR 340B       HCA          AUSTIN        TX   78705   PHS 340B HOSPITAL    BS4923997             1,600    3,750     5,500                      3,617     10,850

100097013   018397497   ST DAVID'S MEDICAL CTR WAC HCA             AUSTIN        TX   78705       HOSPITAL         BS4923997                                 200                        200        200

100069270   018140699   ST DAVID'S REHABILITATION HCA              AUSTIN        TX   78705       HOSPITAL         BS4924014    2,600    2,200    1,000      600                       1,600      6,400

100058771   037105692   SAENZ MED PHY OF MCALLEN SF               EDINBURG       TX   78539     INDEPENDENT        BS4940107              100                500                        300        600

100063183   021054890   ST. FRANCIS MEM HTH PHY/CONS            GRAND ISLAND     NE   68803       HOSPITAL         BS4953368     400      200      500       600     6,000             1,540      7,700

100052315   020080986   SOUTHWEST MEDICAL ASSOCIATES             LAS VEGAS       NV   89106       HOSPITAL         BS4955235              100      100       100               100      100        400

100056993   019045534   ST JOSEPH DRUGS INC, APSC               SAINT JOSEPH     IL   61873     INDEPENDENT        BS4967280    5,000    3,500    7,500     1,500    1,000    4,000    3,750     22,500

100070673   044143420   SEMO DRUGS OF KENNETT          CPA        KENNETT        MO   63857     INDEPENDENT        BS5003164   15,400   26,500   14,800    20,400   22,800    3,900   17,300    103,800

100070493   046141457   ORANGE PARK SURGERY CENTE #712          ORANGE PARK      FL   32073       HOSPITAL         BS5008176                                 100                        100        100

100054592   012058701   *SHORT STOP PHARMACY                      CARSON         CA   90745     INDEPENDENT        BS5066065    9,000   10,000    7,000                                8,667     26,000

100092037   018314211   ST. VINCENT INFIRMARY WAC                LITTLE ROCK     AR   72205       HOSPITAL         BS5092058     500     1,600    1,000     3,700    9,000     160     2,660     15,960

100064218   004100073   *SHOPRITE PHARMACY #314                  WATERBURY       CT   06705         CHAIN          BS5093911                       (100)                                (100)      (100)

100058588   056100503   *SHOPRITE PHARMACY #554                  GLASSBORO       NJ   08028         CHAIN          BS5192240    1,100     500      200       100                        475       1,900

100053436   026071498   STRAUB CLINIC & HSP PHCY S               HONOLULU        HI   96813       HOSPITAL         BS5211456     200      800      700       800      800      800      683       4,100

100103778   004101378   R L MT VERNON PHARMACY INC             MOUNT VERNON      NY   10550     INDEPENDENT        BS5218892               50                         500               275        550

100054393   041016709   SEWELLS POINTS MED CL-DOD                 NORFOLK        VA   23511   HOSPITAL (FEDERAL)   BS5236395            18,000   52,500                               35,250     70,500

100065027   021022517   SATANTA DISTRICT HOSP PHC NOV             SATANTA        KS   67870       HOSPITAL         BS5321853     100                50       100                         83        250

100088167   021009993   SHEFFIELD PHCY-MRCY N IOWA PHS           SHEFFIELD       IA   50475   PHS 340B HOSPITAL    BS5335206    2,000    3,500    2,400     2,800    1,100    1,000    2,133     12,800

100066227   021146266   SHEFFIELD PHARMACY MERCY FAMIL           SHEFFIELD       IA   50475     INDEPENDENT        BS5335206    1,500    2,100    1,700     1,100    3,100    2,600    2,017     12,100

100062374   023100669   *SHOPRITE PHARMACY #437                 PHILLIPSBURG     NJ   08865         CHAIN          BS5340865     300      820                100                        407       1,220

100051501   008035741   SUTTER ROSEVILLE MEDICAL CTR/S           ROSEVILLE       CA   95661       HOSPITAL         BS5381544   11,600   11,000   28,700              1,000    7,380   11,936     59,680

100051921   010049510   SOUTHWEST OHIO AMBULATORY               MIDDLETOWN       OH   45042       HOSPITAL         BS5565936              400                                           400        400

100064747   008044057   SUNNYSIDE PHARMACY                        FRESNO         CA   93727     INDEPENDENT        BS5596183    6,600    6,600    7,800     5,600    9,100    5,800    6,917     41,500

100106823   010236836   STEUBENVILLE HEALTH CARE                STEUBENVILLE     OH   43952     INDEPENDENT        BS5598098              100      100       700                        300        900

100059088   056100743   *SHOPRITE PHARMACY #651               WOODBURY HEIGHTS   NJ   08096         CHAIN          BS5622534     100      200      100       100                        125        500
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100062482   021000232   ST LUKE'S HOSPITAL OF GARNETT        GARNETT        KS   66032       HOSPITAL        BS5629514     200       200      300                        180      220        880

100097604   044216325   WALGREENS #15816         DSD        HUMBOLDT        TN   38343     WALGREENS         BS5636999   23,200    24,610   22,900   23,100   24,100   18,380   22,715    136,290

100100533   044219303   WALGREENS #15785         DSD          MILAN         TN   38358     WALGREENS         BS5637004   22,100    21,700   24,400   24,200   23,200   15,000   21,767    130,600

100097547   044215798   WALGREENS #15814         DSD        DYERSBURG       TN   38024     WALGREENS         BS5637028   21,600    21,000   20,500   22,600   24,000   15,500   20,867    125,200

100097635   044216549   WALGREENS #15805         DSD          TUPELO        MS   38801     WALGREENS         BS5653034   18,800    21,200   18,000   19,800   21,100   15,500   19,067    114,400

100097658   052222240   WALGREENS #15742         DSD         JACKSON        MS   39206     WALGREENS         BS5653046    6,000     6,500    6,600    6,000   10,000    4,000    6,517     39,100

100099726   044219238   WALGREENS #15788         DSD       BLYTHEVILLE      AR   72315     WALGREENS         BS5673593   13,400    23,700   22,200   23,200   19,900   17,100   19,917    119,500

100099698   018398057   WALGREENS #15793         DSD           MENA         AR   71953     WALGREENS         BS5673682    5,800    11,300   11,100   11,400   11,600    5,000    9,367     56,200

100093884   018113902   WALGREENS #15714                    LITTLE ROCK     AR   72205     WALGREENS         BS5673719    6,200     8,400   15,500    8,600   11,200    6,000    9,317     55,900

100099688   018397950   WALGREENS #15789         DSD        EL DORADO       AR   71730     WALGREENS         BS5673795   18,300    27,500   25,300   22,900   24,100   13,800   21,983    131,900

100099731   044219287   WALGREENS #15852         DSD        JONESBORO       AR   72401     WALGREENS         BS5685067    7,200    11,700   11,800   14,000   14,000    8,000   11,117     66,700

100105606   018352591   VIBRA HOSPITAL OF AMARILLO           AMARILLO       TX   79109       HOSPITAL        BS5692935    2,900     2,900    3,250    3,050     800     2,200    2,517     15,100

100055828   018055392   NETCARE PHARMACY                   SAN ANTONIO      TX   78238     INDEPENDENT       BS5727081     100       100                                          100        200

100058724   041063503   STUARTS DRAFT FAMILY 871 CPA      STUARTS DRAFT     VA   24477     INDEPENDENT       BS5734377   25,900    33,600   18,800    5,800   27,000   15,000   21,017    126,100

100058406   044050195   SOO'S DRUG, INC     CPA             JONESBORO       AR   72401     INDEPENDENT       BS5799602    6,700    11,000   11,100   18,300   11,400    7,800   11,050     66,300

100093466   018397018   SAM'S PHARMACY 10-6342                TULSA         OK   74133        CHAIN          BS5844609                                 400                        400        400

100063938   023100321   *SHOPRITE PHARMACY #203             STANHOPE        NJ   07874        CHAIN          BS5854321               400                                          400        400

100093743   046043406   SAM'S PHARMACY 10-8214              FERN PARK       FL   32730        CHAIN          BS5855777                                5,600              900     3,250      6,500

100091348   010225888   KINDRED HOSPITAL LIMA                  LIMA         OH   45801       HOSPITAL        BS5858521     300       500      600      200     1,440     200      540       3,240

100063951   023100495   *SHOPRITE PHARMACY #257            WEST MILFORD     NJ   07480        CHAIN          BS5866845     (100)                                                  (100)      (100)

100093784   038106179   SAM'S PHARMACY 10-8272           COLORADO SPRINGS   CO   80910        CHAIN          BS5868154                                5,000             2,500    3,750      7,500

100052654   024068106   *SYLMAR PROFESSIONAL PHARMACY        SYLMAR         CA   91342     INDEPENDENT       BS5876252    3,500     7,700    1,200                               4,133     12,400

100093534   046043711   SAM'S PHARMACY 10-6441               LAKELAND       FL   33809        CHAIN          BS5899921                                4,200              700     2,450      4,900

100070672   018144535   SALEM DRUG COMPANY        CPA         SALEM         AR   72576     INDEPENDENT       BS5900128    2,000     6,000    1,500    1,000             1,500    2,400     12,000

100067798   040143982   SELF-MED RX CLAYTON PHCY CPA         CLAYTON        GA   30525     INDEPENDENT       BS5949283    5,400     9,000   14,800    7,800   12,500   10,600   10,017     60,100

100066228   021146274   MERCY MED CTR-NEW HAMPTON          NEW HAMPTON      IA   50659       HOSPITAL        BS5952305     200                400               200      400      300       1,200

100089394   024155309   COMMUNITY, A WALGREENS PHCY      WEST HOLLYWOOD     CA   90069     WALGREENS         BS5971800    1,100     1,800     800     2,000     500      500     1,117      6,700

100062446   023100719   *SHOPRITE PHARMACY #466            BOUND BROOK      NJ   08805        CHAIN          BS5998286    1,200      400      600     1,000                       800       3,200

100067068   052057034   SIMMONS, BERNIS ADRIAN MD           BIRMINGHAM      AL   35235       HOSPITAL        BS6011453     100       200      100      200       80      100      130        780

100066705   018061259   *SELECT SPECIALTY HOSP-L.R. AR      LITTLE ROCK     AR   72205       HOSPITAL        BS6015336     200       100                                          150        300

100058057   044046318   SELECT SPECIALTY HOSP-MEMPHIS        MEMPHIS        TN   38119       HOSPITAL        BS6024892     600       500      500     1,200                       700       2,800

100093738   018396556   SAM'S PHARMACY 10-8209             FAYETTEVILLE     AR   72704        CHAIN          BS6032104               300              2,800    1,900    2,500    1,875      7,500

100051340   008036343   SUTTER AUBURN FAITH HOSPITAL         AUBURN         CA   95602       HOSPITAL        BS6036695    1,800     2,200    1,700    1,800    1,800    1,440    1,790     10,740

100051503   008035782   SUTTER CENTER FOR PSYCHIATRY       SACRAMENTO       CA   95826       HOSPITAL        BS6051750     500       500      300     1,500                       700       2,800

100101125   008112128   SUTTER GENERAL HOSPITAL (WAC)      SACRAMENTO       CA   95816   PHS 340B HOSPITAL   BS6051762                       1,300    6,600   12,800             6,900     20,700

100051499   008035725   SUTTER GENERAL HOSPITAL (GPO)      SACRAMENTO       CA   95816       HOSPITAL        BS6051762    3,800     6,200    1,100    3,000     600     1,800    2,750     16,500

100060275   008036335   SUTTER GENERAL HOSP 340B           SACRAMENTO       CA   95816   PHS 340B HOSPITAL   BS6051762    1,100     1,500    1,300    1,700                      1,400      5,600

100059313   044085563   SELECT SPECIALTY HOSP-NASHVILL      NASHVILLE       TN   37203       HOSPITAL        BS6070077     600      1,500    1,500    1,600     960     1,100    1,210      7,260

100065131   052058784   SELECT SPECIALTY HSP(FT SNDER)      KNOXVILLE       TN   37916       HOSPITAL        BS6070089     700                600      300     1,100     700      680       3,400

100062477   021000166   ST LUKES SOUTH-HOSPITAL(PHCY)     OVERLAND PARK     KS   66213       HOSPITAL        BS6075344    1,200     2,600     900     1,900    2,200    1,800    1,767     10,600

100093404   046043562   SAM'S PHARMACY 10-6212               ORLANDO        FL   32807        CHAIN          BS6077235               200      300     1,900              500      725       2,900

100093814   046043588   SAM'S PHARMACY 10-6218               ORLANDO        FL   32818        CHAIN          BS6077247                        100      100               600      267        800

100093717   044212068   SAM'S PHARMACY 10-8182              SAINT LOUIS     MO   63131        CHAIN          BS6080458     600       300      200                        800      475       1,900

100093807   021168708   SAM'S PHARMACY 10-8296             SPRINGFIELD      MO   65809        CHAIN          BS6080763               100                                1,800     950       1,900
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100093801   046043422   SAM'S PHARMACY 10-8290               ORLANDO        FL   32837         CHAIN          BS6085181              200      200                         200       200       600

100052498   020030452   SELECT SPECIALTY HOSP.PHOENIX        PHOENIX        AZ   85013       HOSPITAL         BS6090409     100                                  100                100       200

100093408   038106229   SAM'S PHARMACY 10-6219           COLORADO SPRINGS   CO   80920         CHAIN          BS6099940    1,000              100                500     3,700     1,325     5,300

100062476   021000158   ST LUKES SOUTH HOSP - RETAIL      OVERLAND PARK     KS   66213       HOSPITAL         BS6102949    3,500    3,000    4,500    2,900     6,100    3,000     3,833    23,000

100062366   056100081   *SHOPRITE PHARMACY DEPT #402       PHILADELPHIA     PA   19111         CHAIN          BS6111532              100      100                                   100       200

100061520   010300103   ST. JOSEPH EAST                     LEXINGTON       KY   40509       HOSPITAL         BS6129440     700      300     7,000    1,400                        2,350     9,400

100091281   010225854   SAINT JOSEPH EAST WAC               LEXINGTON       KY   40509       HOSPITAL         BS6129440     600     1,700     800     1,400                        1,125     4,500

100076604   010121996   ST. JOSEPH EAST 340B                LEXINGTON       KY   40509   PHS 340B HOSPITAL    BS6129440     300      100      200      100                          175       700

100058592   056100545   *SHOPRITE PHARMACY #570            CHERRY HILL      NJ   08002         CHAIN          BS6130556     200      100                                            150       300

100055283   032070821   STAYTON PHARMACY                     STAYTON        OR   97383     INDEPENDENT        BS6132930   24,100   22,700   22,700   21,600    21,400   16,900    21,567   129,400

100050355   018044123   SELECT SPECIALTY HOSP-DALLAS       CARROLLTON       TX   75010       HOSPITAL         BS6135467    1,200    1,600     900     1,800      700     1,200     1,233     7,400

100070694   052145060   EMERALD HODGSON HOSP PHCY #712       SEWANEE        TN   37375       HOSPITAL         BS6136635     100      100      200      300       900      320       320      1,920

100070695   052145078   SOUTHERN TENN MED CTR PHCY#712     WINCHESTER       TN   37398       HOSPITAL         BS6136661    2,100    1,500    1,600    1,750     2,240     800      1,665     9,990

100063517   018063248   SELECT SPECIALTY HOSPITAL OKC     OKLAHOMA CITY     OK   73112       HOSPITAL         BS6137548    2,300    1,700    2,700    4,700      300      400      2,017    12,100

100051780   010047142   SELECT SPECIALTY HOSPITAL           COLUMBUS        OH   43201       HOSPITAL         BS6147018     500      900      500                         300       550      2,200

100063618   049052522   SURGI & CARE (AMBULATORY             MAUMEE         OH   43537       HOSPITAL         BS6159126                                           80                 80        80

100093405   020159467   SAM'S PHARMACY 10-6213              CHANDLER        AZ   85226         CHAIN          BS6160080     100      300               600                          333      1,000

100051494   008035675   SUTTER MEMORIAL HOSPITAL (GPO)     SACRAMENTO       CA   95819       HOSPITAL         BS6173962    9,300    9,600    5,500    2,500     9,200     900      6,167    37,000

100100708   008112110   SUTTER MEMORIAL HOSPITAL (WAC)     SACRAMENTO       CA   95819   PHS 340B HOSPITAL    BS6173962                               5,100     4,700    1,000     3,600    10,800

100060266   008036251   SUTTER MEMORIAL HOSPITAL 340B      SACRAMENTO       CA   95819   PHS 340B HOSPITAL    BS6173962     700      600     1,300     300      3,400   (1,800)     750      4,500

100109833   023161083   SIMCARE PHARMACY        CPA        MAYS LANDING     NJ   08330     INDEPENDENT        BS6175930     700     1,200     800      800      1,100    2,300     1,150     6,900

100085881   023104133   SACHIN PHARMACY INC (ARX)           JERSEY CITY     NJ   07307     INDEPENDENT        BS6182050     100               100      100                          100       300

100065587   019004432   SELECT MED CORP                     WEST ALLIS      WI   53227       HOSPITAL         BS6182567     300      400      500      600       300                420      2,100

100093658   052214932   SAM'S PHARMACY 10-8106             MONTGOMERY       AL   36117         CHAIN          BS6192570      40                      13,640               300      4,660    13,980

100093441   019162180   SAM'S PHARMACY 10-6315              MISHAWAKA       IN   46545         CHAIN          BS6203791              500     1,300    1,900              1,300     1,250     5,000

100068616   021140319   SURGICENTER OF JOHNSON CO #712    OVERLAND PARK     KS   66214       HOSPITAL         BS6216926     100               100                         100       100       300

100093618   040114751   SAM'S PHARMACY 10-6646              ALPHARETTA      GA   30009         CHAIN          BS6228135                                                   600       600       600

100064282   004100107   *SHOPRITE PHARMACY #308              BRISTOL        CT   06010         CHAIN          BS6229226     200      300      200      500                          300      1,200

100063943   023100388   *SHOPRITE PHARMACY #215             BLOOMFIELD      NJ   07003         CHAIN          BS6233720     100      200      200      360                          215       860

100057977   041056614   SENTARA CAREPLEX OUTPTNT R57         HAMPTON        VA   23666       HOSPITAL         BS6234304    4,900    5,100    4,700    7,000     3,900    3,800     4,900    29,400

100058538   041045450   SENTARA CAREPLEX HOSPITAL            HAMPTON        VA   23666       HOSPITAL         BS6234304    1,100    1,300    1,800    1,100     2,700    1,000     1,500     9,000

100091337   049188854   KINDRED HOSPITAL DETROIT             DETROIT        MI   48234       HOSPITAL         BS6275603     700     1,300     800     1,200     2,500              1,300     6,500

100058597   056100578   *SHOPRITE PHARMACY #597           WEST CHESTER      PA   19382         CHAIN          BS6282545              200       40      500                          247       740

100051903   010049171   SELECT SPECIALTY HSP-YOUNGSTWN     YOUNGSTOWN       OH   44501       HOSPITAL         BS6308349     400               200      300       300      200       280      1,400

100073158   021045096   STEFFEN DRUG STORE        SF        HARTINGTON      NE   68739     INDEPENDENT        BS6329470    1,500    3,500    3,000    1,500     3,000    1,500     2,333    14,000

100064283   004100115   *SHOPRITE PHARMACY #330            MANCHESTER       CT   06040         CHAIN          BS6359675     300               300      200                          267       800

100067324   046095257   SOUTH COMMAND HEALTH CLINIC           DORAL         FL   33172   HOSPITAL (FEDERAL)   BS6360402                               1,000                        1,000     1,000

100093595   012108365   SAM'S PHARMACY 10-6613              LONG BEACH      CA   90808         CHAIN          BS6397740                               1,700      500     2,700     1,633     4,900

100063870   019000398   ST FRANCIS PROF BLDG PHCY           EVANSTON        IL   60202     INDEPENDENT        BS6397904    1,800    3,600    3,000    1,600     7,400    1,000     3,067    18,400

100065313   049044347   STATE STREET PHCY        SF           CARO          MI   48723     INDEPENDENT        BS6425436   23,500   22,700   23,800   24,100    32,800    7,600    22,417   134,500

100106488   008116608   SIERRA VISTA HOSPITAL              SACRAMENTO       CA   95823       HOSPITAL         BS6434687     400      300      400      200       550                370      1,850

100090747   019167684   SSM HEALTHCARE OF WISCONSIN          MADISON        WI   53719       HOSPITAL         BS6442711    2,200    1,700    1,500    3,900      800     1,800     1,983    11,900

100093417   044212217   SAM'S PHARMACY 10-6249               FRANKLIN       TN   37067         CHAIN          BS6465694                       600     2,300      900      900      1,175     4,700

100093654   032147462   SAM'S PHARMACY 10-6688               AUBURN         WA   98002         CHAIN          BS6476685     120                         (60)     100     2,300      615      2,460
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100093642   004091074   SAM'S PHARMACY 10-6674              ELMSFORD        NY   10523          CHAIN           BS6476700                                 100               200      150       300

100066295   049150128   *SAINT JOSEPH MERCY OAKLAND          PONTIAC        MI   48341       INDEPENDENT        BS6516580    2,600    3,500     3,200    1,600                      2,725    10,900

100063035   021001859   SALINA SURGICAL HOSPITAL              SALINA        KS   67401         HOSPITAL         BS6525832     900     1,600     1,000    1,700     500     1,240    1,157     6,940

100093425   044212241   SAM'S PHARMACY 10-6260               BARTLETT       TN   38133          CHAIN           BS6529587     100                        1,400              800      767      2,300

100059868   018300210   ST. VINCENT MED CTR, NORTH          SHERWOOD        AR   72120         HOSPITAL         BS6529804     400      200       300     1,000              480      476      2,380

100093786   037130674   SAM'S PHARMACY 10-8274               HOUSTON        TX   77065          CHAIN           BS6531657                        300    14,330                      7,315    14,630

100093818   037130864   SAM'S PHARMACY 10-6346               HOUSTON        TX   77082          CHAIN           BS6547270                                2,400                      2,400     2,400

100093740   040114819   SAM'S PHARMACY 10-8211             DOUGLASVILLE     GA   30134          CHAIN           BS6553019                                1,400    2,400    1,300    1,700     5,100

100093616   040114736   SAM'S PHARMACY 10-6643               ATLANTA        GA   30329          CHAIN           BS6553259              (100)     100       -                300       75       300

100093824   037130617   SAM'S PHARMACY 10-8245               HOUSTON        TX   77073          CHAIN           BS6556217     700       20               2,000             1,700    1,105     4,420

100058350   056100438   *SHOPRITE PHARMACY #512              VINELAND       NJ   08360          CHAIN           BS6564000     400      300       700      600                        500      2,000

100058836   037105726   SAENZ MED PHCY NOLANA SF             MC ALLEN       TX   78504       INDEPENDENT        BS6565874    3,700    4,200     3,700    6,100    3,500    4,100    4,217    25,300

100093409   037130849   SAM'S PHARMACY 10-6220               SLIDELL        LA   70460          CHAIN           BS6575952     500      600               2,500    1,000    2,100    1,340     6,700

100093762   037130609   SAM'S PHARMACY 10-8244               HOUSTON        TX   77089          CHAIN           BS6576613     100      360       800     8,500             1,300    2,212    11,060

100093793   037130690   SAM'S PHARMACY 10-8281               HOUSTON        TX   77015          CHAIN           BS6576625                                3,800                      3,800     3,800

100093745   037130583   SAM'S PHARMACY 10-8217               HOUSTON        TX   77054          CHAIN           BS6576649               20              11,200                      5,610    11,220

100093772   044212100   SAM'S PHARMACY 10-8258               MEMPHIS        TN   38111          CHAIN           BS6577475                                1,600              400     1,000     2,000

100093803   044212134   SAM'S PHARMACY 10-8292               MEMPHIS        TN   38128          CHAIN           BS6577487     200                100     5,800              600     1,675     6,700

100093766   055032326   SAM'S PHARMACY 10-8252           NORTH CHARLESTON   SC   29418          CHAIN           BS6578655              100       300               500     2,300     800      3,200

100065263   021071423   SENIOR CARE PHCY/JOPLIN               JOPLIN        MO   64804     LONG TERM CARE       BS6583668   24,700   27,600    22,700   23,600   28,700   15,300   23,767   142,600

100064116   023100131   *SHOPRITE PHARMACY #130           NORTH BERGEN      NJ   07047          CHAIN           BS6588896     100                100                                 100       200

100093484   046043638   SAM'S PHARMACY 10-6364               NAPLES         FL   34110          CHAIN           BS6589088     330      200      1,100    3,200     500     1,600    1,155     6,930

100093672   046043315   SAM'S PHARMACY 10-8130              FORT MYERS      FL   33907          CHAIN           BS6589090              200      2,000    7,100              300     2,400     9,600

100093414   020159475   SAM'S PHARMACY 10-6241             SCOTTSDALE       AZ   85260          CHAIN           BS6595574     100                         200      100      600      250      1,000

100065480   052059626   SELECT SPECIALTY HSP TRICITIES       BRISTOL        TN   37620         HOSPITAL         BS6608749     900      900      1,000    1,400    1,000     240      907      5,440

100093412   041145300   SAM'S PHARMACY 10-6239               TIMONIUM       MD   21093          CHAIN           BS6608763              200                400               200      267       800

100090776   019167742   ST MARY'S HOSPITAL MED IP PHCY       MADISON        WI   53715         HOSPITAL         BS6610679    3,900    4,600     4,500    4,100    3,500    3,760    4,060    24,360

100090775   019167734   ST MARY'S HOSPITAL MED DIALYS        MADISON        WI   53715         HOSPITAL         BS6610679     600                                                    600       600

100065059   052058644   MYCARE PHARMACY #8255               PHENIX CITY     AL   36867       INDEPENDENT        BS6615910    7,600    7,700     7,500    8,700    8,700    6,800    7,833    47,000

100093615   046043273   SAM'S PHARMACY 10-6642                TAMPA         FL   33611          CHAIN           BS6616722              100               3,800     800      800     1,375     5,500

100093416   018396952   SAM'S PHARMACY 10-6244             FORT WORTH       TX   76120          CHAIN           BS6621230                                6,200    4,500    1,800    4,167    12,500

100063734   052043752   SELECT SPECIALTY HOSP GULF CO       GULFPORT        MS   39501         HOSPITAL         BS6621937     800      700       700      400      880      500      663      3,980

100093410   019162123   SAM'S PHARMACY 10-6227               BATAVIA        IL   60510          CHAIN           BS6627547     100               1,000    3,100     300      300      960      4,800

100093411   019162131   SAM'S PHARMACY 10-6228             VERNON HILLS     IL   60061          CHAIN           BS6627559                        200     1,800              400      800      2,400

100093415   010227041   SAM'S PHARMACY 10-6242                DUBLIN        OH   43017          CHAIN           BS6627561     300      400       500     1,330     900     1,400     805      4,830

100090760   019167700   ST CLARE HOSP & HLT CTR IP           BARABOO        WI   53913         HOSPITAL         BS6630099     400     1,350      100      500      200      800      558      3,350

100055702   038023861   SELECT SPECIALTY HOSP-DENVER         DENVER         CO   80218         HOSPITAL         BS6631344              100                                  200      150       300

100061836   023011346   ST CATHERINE OF SIENA               SMITHTOWN       NY   11787         HOSPITAL         BS6636786     200      300                100      500      300      280      1,400

100062445   023100701   *SHOPRITE PHARMACY #457             FLEMINGTON      NJ   08822          CHAIN           BS6637524     100      200                                           150       300

100062447   023100727   *SHOPRITE PHARMACY #470             SOMERVILLE      NJ   08876          CHAIN           BS6642804     160      200       120      200                        170       680

100090773   021167619   ST MARY'S HOLTS SUMMIT PHCY        HOLTS SUMMIT     MO   65043         HOSPITAL         BS6646206   10,300    9,300    10,300   12,600   11,000    5,500    9,833    59,000

100090782   021167635   ST MARY'S TIPTON PHARMACY             TIPTON        MO   65081         HOSPITAL         BS6649517    7,000    6,000     3,200    5,600    6,800    6,500    5,850    35,100

100090291   010224899   ST RITA'S HOME INFUSION SVCS           LIMA         OH   45805   HOME HEALTH SERVICES   BS6650990                        300      300      500      500      400      1,600

100090767   021167601   ST MARY'S HEALTH CENTER           JEFFERSON CITY    MO   65109         HOSPITAL         BS6653605    2,050    2,000     2,000    1,800    2,560     880     1,882    11,290
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100093815   012108480   SAM'S PHARMACY 10-6235               SAN DIEGO         CA   92115        CHAIN          BS6660078    400     200     600     1,400    1,600     2,300    1,083    6,500

100093430   019162156   SAM'S PHARMACY 10-6303               WEST ALLIS        WI   53214        CHAIN          BS6660080           1,500            2,600    1,100     1,300    1,625    6,500

100090781   021167627   ST MARY'S MEDICAL PLAZA PHCY       JEFFERSON CITY      MO   65109       HOSPITAL        BS6661032   2,000   1,000   3,000    2,500    6,600     2,500    2,933   17,600

100065586   019004424   SELECT SPECIALTY HOSP FT WAYNE      FORT WAYNE         IN   46802       HOSPITAL        BS6661474    300     800     300      400       400      300      417     2,500

100093419   044212225   SAM'S PHARMACY 10-6252              CHESTERFIELD       MO   63005        CHAIN          BS6667604    200             100      400               1,800     625     2,500

100062373   056100305   *SHOPRITE PHARMACY #436             PHILADELPHIA       PA   19137        CHAIN          BS6680905    100                                                  100      100

100076991   055055715   ST.FRANCIS HOSPITAL (I/P)SC          GREENVILLE        SC   29601       HOSPITAL        BS6691174   2,000   2,400   2,200    2,300    4,600     2,780    2,713   16,280

100076731   055055640   ST.FRANCIS - EASTSIDE HOSPITAL       GREENVILLE        SC   29615       HOSPITAL        BS6691198    600     800    1,100     930     1,200     1,660    1,048    6,290

100093760   018396614   SAM'S PHARMACY 10-8241              MIDWEST CITY       OK   73110        CHAIN          BS6700543   1,700    500    1,200    6,200              2,700    2,460   12,300

100093657   018396523   SAM'S PHARMACY 10-8104               LITTLE ROCK       AR   72211        CHAIN          BS6700579                            1,700      200     1,300    1,067    3,200

100093703   040114777   SAM'S PHARMACY 10-8166                 DULUTH          GA   30096        CHAIN          BS6706317                            2,600               900     1,750    3,500

100093511   040114934   SAM'S PHARMACY 10-6409                 TUCKER          GA   30084        CHAIN          BS6706329                                       500      300      400      800

100093733   040114801   SAM'S PHARMACY 10-8203                MARIETTA         GA   30060        CHAIN          BS6706331                            9,200               100     4,650    9,300

100090060   032143610   SALEM HOSPITAL COM RETAIL PHCY         SALEM           OR   97301       HOSPITAL        BS6707535                                     9,430     5,530    7,480   14,960

100093799   040114843   SAM'S PHARMACY 10-8287                MORROW           GA   30260        CHAIN          BS6711128    200     100     200     4,700              1,000    1,240    6,200

100064285   023100644   *SHOPRITE PHARMACY #355              PARSIPPANY        NJ   07054        CHAIN          BS6720709                    200      (200)                        -        -

100093723   037130567   SAM'S PHARMACY 10-8190               LA MARQUE         TX   77568        CHAIN          BS6721737    300     200     100    18,900    1,600     2,500    3,933   23,600

100104154   004101683   SOUND SHORE PHARMACY (ARX)         NEW ROCHELLE        NY   10801     INDEPENDENT       BS6731017                                                500      500      500

100066338   025041343   INFUSION CENTER PHARMACY 340B          DULUTH          MN   55805   PHS 340B HOSPITAL   BS6732184     50                                                   50           50

100093569   037130526   SAM'S PHARMACY 10-6527              BATON ROUGE        LA   70809        CHAIN          BS6733720    500     300     100     1,000               500      480     2,400

100093583   052214916   SAM'S PHARMACY 10-6572               KNOXVILLE         TN   37924        CHAIN          BS6743000                     20     5,600              1,200    2,273    6,820

100093483   046043620   SAM'S PHARMACY 10-6363              JACKSONVILLE       FL   32244        CHAIN          BS6743012           1,030            3,700      800     2,400    1,983    7,930

100093663   046043281   SAM'S PHARMACY 10-8116              JACKSONVILLE       FL   32246        CHAIN          BS6743024            500      60                        1,000     520     1,560

100093767   046043414   SAM'S PHARMACY 10-8253              JACKSONVILLE       FL   32218        CHAIN          BS6743036                                               3,400    3,400    3,400

100093770   052215012   SAM'S PHARMACY 10-8256               KNOXVILLE         TN   37923        CHAIN          BS6751297             30             1,630      500     1,660     955     3,820

100093776   018396663   SAM'S PHARMACY 10-8263                 TULSA           OK   74145        CHAIN          BS6752516                            4,700      100     2,400    2,400    7,200

100093792   020159319   SAM'S PHARMACY 10-8280                EL PASO          TX   79936        CHAIN          BS6755815            100     100    12,300    (7,000)    600     1,220    6,100

100093695   020159293   SAM'S PHARMACY 10-8153                EL PASO          TX   79932        CHAIN          BS6755827                    200     7,600              1,100    2,967    8,900

100093827   018396689   SAM'S PHARMACY 10-8266               SHERWOOD          AR   72117        CHAIN          BS6769117                             900       800      100      600     1,800

100093469   055032524   SAM'S PHARMACY 10-6348                PINEVILLE        NC   28134        CHAIN          BS6769129    200     500    1,000    1,300               700      740     3,700

100093775   018396655   SAM'S PHARMACY 10-8262              SAN ANTONIO        TX   78233        CHAIN          BS6769131                   1,500   10,100               400     4,000   12,000

100093755   018396598   SAM'S PHARMACY 10-8227              SAN ANTONIO        TX   78229        CHAIN          BS6769143    200     100     200    11,300              2,500    2,860   14,300

100089544   020158014   ST ROSE DOM. HOSP SIENA              HENDERSON         NV   89052       HOSPITAL        BS6777835   3,200   3,900   4,800    4,200    4,900     3,700    4,117   24,700

100093543   018397091   SAM'S PHARMACY 10-6453                 AUSTIN          TX   78759        CHAIN          BS6779930    300     200              400       200     1,800     580     2,900

100093780   018396697   SAM'S PHARMACY 10-8268           NORTH RICHLAND HILL   TX   76180        CHAIN          BS6779942            400     700     7,200              5,000    3,325   13,300

100093418   010227058   SAM'S PHARMACY 10-6251              WASHINGTON         PA   15301        CHAIN          BS6779954    100     200     500     1,200               600      520     2,600

100054346   012038463   SAFECARE PHARMACY                     LA VERNE         CA   91750   LONG TERM CARE      BS6784397    200                                                  200      200

100093789   018396739   SAM'S PHARMACY 10-8277           WESTWORTH VILLAGE     TX   76114        CHAIN          BS6793966                    200    26,000                      13,100   26,200

100093819   018397067   SAM'S PHARMACY 10-6416              SAN ANTONIO        TX   78216        CHAIN          BS6793978     30     660     260     9,330       30     1,060    1,895   11,370

100093777   018396671   SAM'S PHARMACY 10-8264              SAN ANTONIO        TX   78224        CHAIN          BS6793980            300             3,800              1,500    1,867    5,600

100093487   037130872   SAM'S PHARMACY 10-6367                HUMBLE           TX   77338        CHAIN          BS6793992     -                      7,700    1,000      300     2,250    9,000

100093431   019162164   SAM'S PHARMACY 10-6304              INDIANAPOLIS       IN   46224        CHAIN          BS6798752           2,000   5,200    4,000              4,100    3,825   15,300

100093432   010227066   SAM'S PHARMACY 10-6305               CLEVELAND         OH   44130        CHAIN          BS6798776                   1,400    1,900      200     1,000    1,125    4,500

100093550   019162305   SAM'S PHARMACY 10-6464              DES PLAINES        IL   60018        CHAIN          BS6803541    200     200     600     1,500      300      600      567     3,400
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100055827   018051300   SUPER DRUG MART                     LYTLE        TX   78052    INDEPENDENT      BS6804454   15,500   16,600      20,500    10,000   11,000    10,300   13,983   83,900

100056343   019032730   SCENIC BLUFFS HEALTH CTR PHS      CASHTON        WI   54619   PHS 340B CLINIC   BS6805797    1,200     800         900      2,500     200      1,500    1,183    7,100

100051905   010049205   SELECT SPECIALTY HOSPITAL         LATROBE        PA   15650      HOSPITAL       BS6813302              200         100                160       160      155      620

100093429   019162149   SAM'S PHARMACY 10-6301          INDIANAPOLIS     IN   46229       CHAIN         BS6813732                          200      3,400              1,400    1,667    5,000

100093451   019162222   SAM'S PHARMACY 10-6325           GREENWOOD       IN   46143       CHAIN         BS6815027             1,300       1,500     1,600     900      2,000    1,460    7,300

100093442   019162198   SAM'S PHARMACY 10-6316          INDIANAPOLIS     IN   46268       CHAIN         BS6815039      60     1,150       1,200      460     2,000     1,100     995     5,970

100093797   044212126   SAM'S PHARMACY 10-8285            O'FALLON       IL   62269       CHAIN         BS6819645                                   1,000              1,200    1,100    2,200

100090275   010224733   ST ELIZABETH HC PHCY OWN USE    YOUNGSTOWN       OH   44501      HOSPITAL       BS6825989     500     1,000        500       500      600      2,000     850     5,100

100056331   018066969   SELECT SPECIALTY HOSPITAL        SAN ANTONIO     TX   78205      HOSPITAL       BS6828985    1,000    1,100        900       700     1,500      300      917     5,500

100093498   018397059   SAM'S PHARMACY 10-6381           LEWISVILLE      TX   75067       CHAIN         BS6841844                                  17,200   (1,000)    1,400    5,867   17,600

100093426   020159491   SAM'S PHARMACY 10-6261            LAS VEGAS      NV   89123       CHAIN         BS6842391     100       -           30       300      200      4,190     803     4,820

100093062   037130427   ST ELIZABETH HOSPITAL             GONZALES       LA   70737      HOSPITAL       BS6856732     700     1,100        600      1,800     400       400      833     5,000

100093771   044212092   SAM'S PHARMACY 10-8257         HENDERSONVILLE    TN   37075       CHAIN         BS6871087     500                            500                700      567     1,700

100093421   018396960   SAM'S PHARMACY 10-6255             PLANO         TX   75024       CHAIN         BS6881331                                   9,600               400     5,000   10,000

100093539   046043737   SAM'S PHARMACY 10-6448         NEW PORT RICHEY   FL   34652       CHAIN         BS6883549     100                  600     11,800              2,600    3,775   15,100

100093506   046043661   SAM'S PHARMACY 10-6403            BRANDON        FL   33511       CHAIN         BS6883551                                    500                100      300      600

100093519   046043703   SAM'S PHARMACY 10-6420          CLEARWATER       FL   33765       CHAIN         BS6893716     130       30        2,960     5,030    1,100     2,400    1,942   11,650

100093504   046043653   SAM'S PHARMACY 10-6401             TAMPA         FL   33618       CHAIN         BS6893728                                   2,300              1,600    1,950    3,900

100093488   041145375   SAM'S PHARMACY 10-6368           CHESAPEAKE      VA   23320       CHAIN         BS6907060      30                  500      9,700               200     2,608   10,430

100093816   041145326   SAM'S PHARMACY 10-6343            RICHMOND       VA   23294       CHAIN         BS6916879     470           60     330      5,280               100     1,248    6,240

100093765   044212084   SAM'S PHARMACY 10-8251          SAINT CHARLES    MO   63303       CHAIN         BS6918049                          100      2,500               900     1,167    3,500

100093805   044212142   SAM'S PHARMACY 10-8294            NASHVILLE      TN   37211       CHAIN         BS6918063                          100      1,600    1,000     2,100    1,200    4,800

100093520   037130880   SAM'S PHARMACY 10-6421            CONROE         TX   77304       CHAIN         BS6918190    1,700     400         700      2,700              1,100    1,320    6,600

100093472   041145334   SAM'S PHARMACY 10-6351         NEWPORT NEWS      VA   23602       CHAIN         BS6923165              700         100      3,100              1,800    1,425    5,700

100093422   044212233   SAM'S PHARMACY 10-6256            MEMPHIS        TN   38125       CHAIN         BS6926692     100      100                  1,500     500       900      620     3,100

100093450   019162214   SAM'S PHARMACY 10-6324           MILWAUKEE       WI   53223       CHAIN         BS6941276              900        1,200     1,500               400     1,000    4,000

100093701   019161935   SAM'S PHARMACY 10-8164           WAUKESHA        WI   53186       CHAIN         BS6941288                         1,900      500               1,200    1,200    3,600

100093424   018396978   SAM'S PHARMACY 10-6259           ROUND ROCK      TX   78681       CHAIN         BS6942052     210                           6,800     100      4,300    2,853   11,410

100093491   018397034   SAM'S PHARMACY 10-6372             DALLAS        TX   75231       CHAIN         BS6963791              100                  2,900               800     1,267    3,800

100093648   017096008   SAM'S PHARMACY 10-6682             LAYTON        UT   84041       CHAIN         BS6967523                          100      1,400    1,500     1,000    1,000    4,000

100093761   018396622   SAM'S PHARMACY 10-8242             DALLAS        TX   75238       CHAIN         BS6967535     100                           3,600    1,000      600     1,325    5,300

100093497   010227165   SAM'S PHARMACY 10-6380             DAYTON        OH   45414       CHAIN         BS6975683                         2,900     3,000              1,500    2,467    7,400

100093730   019162008   SAM'S PHARMACY 10-8198            WHEELING       IL   60090       CHAIN         BS6979578                          200      3,000               600     1,267    3,800

100093649   017096016   SAM'S PHARMACY 10-6683             MURRAY        UT   84107       CHAIN         BS6979605                                   3,300     900      1,700    1,967    5,900

100093737   021168674   SAM'S PHARMACY 10-8208             LENEXA        KS   66215       CHAIN         BS6980747      30                 1,030     3,000              2,200    1,565    6,260

100093479   019162271   SAM'S PHARMACY 10-6358           NORTHLAKE       IL   60164       CHAIN         BS6980759             3,600       2,000     5,800    1,700      500     2,720   13,600

100093454   019162230   SAM'S PHARMACY 10-6328             CICERO        IL   60804       CHAIN         BS6980761              100         (100)     400                200      150      600

100093736   021168666   SAM'S PHARMACY 10-8207           KANSAS CITY     MO   64118       CHAIN         BS6981965     100     1,000        100      3,600    5,000     1,800    1,933   11,600

100093478   041145359   SAM'S PHARMACY 10-6357           ANNAPOLIS       MD   21401       CHAIN         BS6983161     130     1,100        900      5,000     200      1,300    1,438    8,630

100093749   037130591   SAM'S PHARMACY 10-8221             HARVEY        LA   70058       CHAIN         BS6990469              100                  1,300     100       600      525     2,100

100051912   010049312   SELECT SPECIALTY HOSP/ERIE          ERIE         PA   16501      HOSPITAL       BS6991029     100      300         300       700      400       400      367     2,200

100093582   055032094   SAM'S PHARMACY 10-6570            RALEIGH        NC   27604       CHAIN         BS6991358     100      200         800      1,800              1,200     820     4,100

100093542   055032599   SAM'S PHARMACY 10-6452            ASHEVILLE      NC   28806       CHAIN         BS6991360     100                  700      1,900    1,900     3,200    1,560    7,800

100093763   052215004   SAM'S PHARMACY 10-8247           HOMEWOOD        AL   35209       CHAIN         BS6992956    1,100     700         500     12,100                       3,600   14,400
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100093668   044212043   SAM'S PHARMACY 10-8125             FERGUSON        MO   63136      CHAIN      BS6993871                     400     3,000   8,000    600    3,000    12,000

100093719   019161984   SAM'S PHARMACY 10-8184               GURNEE        IL   60031      CHAIN      BS6995700                     800     1,900            500    1,067     3,200

100093503   046043646   SAM'S PHARMACY 10-6387            PINELLAS PARK    FL   33781      CHAIN      BS6995750             800    2,700   11,900   1,800   4,100   4,260    21,300

100093494   018397042   SAM'S PHARMACY 10-6376              ADDISON        TX   75001      CHAIN      BS6997172             500     200    15,700    100    1,530   3,606    18,030

100109670   010238006   SEMC MEDICAL VILLAGE PHARMACY      EDGEWOOD        KY   41017   INDEPENDENT   BS6998441                    2,400    2,400   2,500   3,000   2,575    10,300

100093579   049189407   SAM'S PHARMACY 10-6562             MUSKEGON        MI   49444      CHAIN      BS6999114            2,500   9,000   15,100            600    6,800    27,200

100059229   041056184   SHEPPARD & ENOCH PRATT      B14     TOWSON         MD   21204    HOSPITAL     BS7005134    (100)    300              300     100     200     160       800

100093634   049189498   SAM'S PHARMACY 10-6665             WATERFORD       MI   48328      CHAIN      BS7005348            1,000   1,000    6,200           1,200   2,350     9,400

100093513   049189621   SAM'S PHARMACY 10-6412             SOUTHGATE       MI   48195      CHAIN      BS7005350                    2,000    1,400   4,800   2,300   2,625    10,500

100093810   018396804   SAM'S PHARMACY 10-8299               PLANO         TX   75075      CHAIN      BS7010147    200              100     3,700    500    2,800   1,460     7,300

100093433   010227074   SAM'S PHARMACY 10-6307             COLUMBUS        OH   43219      CHAIN      BS7011199    100              500     3,800    500     400    1,060     5,300

100093690   019161893   SAM'S PHARMACY 10-8148            STREAMWOOD       IL   60107      CHAIN      BS7011214            1,000   2,200    2,630   2,500   1,200   1,906     9,530

100093490   041145383   SAM'S PHARMACY 10-6371            WOODBRIDGE       VA   22192      CHAIN      BS7012898                     200     3,600    100    1,500   1,350     5,400

100093734   037130575   SAM'S PHARMACY 10-8204            BATON ROUGE      LA   70815      CHAIN      BS7018307    500      700    1,000    1,000   7,650    600    1,908    11,450

100093444   025087312   SAM'S PHARMACY 10-6318            ST. LOUIS PARK   MN   55426      CHAIN      BS7018319    600      500             1,700   2,000    400    1,040     5,200

100093564   010226795   SAM'S PHARMACY 10-6517            BEAVERCREEK      OH   45431      CHAIN      BS7022926                             6,500            200    3,350     6,700

100093262   020159327   SAM'S PHARMACY 10-4703            ALBUQUERQUE      NM   87114      CHAIN      BS7022938                             3,000            400    1,700     3,400

100093529   041145409   SAM'S PHARMACY 10-6434               LAUREL        MD   20724      CHAIN      BS7031684    100      100     200     1,600            100     420      2,100

100093475   041145342   SAM'S PHARMACY 10-6354             MIDLOTHIAN      VA   23113      CHAIN      BS7040479    200      700     100     2,050   2,200    630     980      5,880

100070434   023143727   SCOTT DRUGS(Z)      CPA            PLAINFIELD      NJ   07060   INDEPENDENT   BS7042512             400     300      500     300     300     360      1,800

100093696   019161919   SAM'S PHARMACY 10-8154              MATTESON       IL   60443      CHAIN      BS7042651    600      200    1,300    5,000    200    3,600   1,817    10,900

100093764   018396630   SAM'S PHARMACY 10-8248               DALLAS        TX   75220      CHAIN      BS7045619    100                      2,300            700    1,033     3,100

100093674   010226894   SAM'S PHARMACY 10-8132             SPRINGDALE      OH   45246      CHAIN      BS7045621                     100     1,500    300    1,000    725      2,900

100093574   010226811   SAM'S PHARMACY 10-6544              LOVELAND       OH   45140      CHAIN      BS7045633             500     300     6,200    100    1,680   1,756     8,780

100093794   018396754   SAM'S PHARMACY 10-8282               DALLAS        TX   75237      CHAIN      BS7046724            1,500    500     4,600           2,100   2,175     8,700

100093512   026014191   SAM'S PHARMACY 10-6410             PEARL CITY      HI   96782      CHAIN      BS7051559             300     300      300             500     350      1,400

100093536   019162297   SAM'S PHARMACY 10-6444              EVANSTON       IL   60202      CHAIN      BS7063679                     100      800    1,000    100     500      2,000

100071618   018140707   SURGICARE OF SOUTH AUSTIN HCA        AUSTIN        TX   78745    HOSPITAL     BS7069176                               50                      50        50

100072825   037112409   ST. THERESA SPECIALTY HOSPITAL      METAIRIE       LA   70006    HOSPITAL     BS7071450    300      200     100                       80     170       680

100063828   018062331   SELECT SPECIALTY HOSPITAL          FORT SMITH      AR   72901    HOSPITAL     BS7071537    200      700     300     1,000    700     200     517      3,100

100054203   037045534   SELECT SPECIALTY HOSPITAL           HOUSTON        TX   77030    HOSPITAL     BS7071626   1,000    1,100   1,800    1,100   1,400   1,300   1,283     7,700

100054270   037045617   SELECT SPECIALTY HOSPITAL           HOUSTON        TX   77008    HOSPITAL     BS7071640   1,100     700     500      400     500     400     600      3,600

100054202   037045526   SELECT SPECIALTY HOSP HOUSTON       HOUSTON        TX   77055    HOSPITAL     BS7071652    200      600     500      100    1,060            492      2,460

100062369   056100271   *SHOPRITE PHARMACY #424           EAST NORRITON    PA   19401      CHAIN      BS7076551    200                                               200       200

100093423   020159483   SAM'S PHARMACY 10-6257              LAS VEGAS      NV   89149      CHAIN      BS7077692     -               100      800            1,400    575      2,300

100052395   024090126   SUNSET CENTER PHARMACY            LOS ANGELES      CA   90027   INDEPENDENT   BS7079014   3,000    2,400   3,100    3,500   1,500   2,000   2,583    15,500

100090270   010224683   ST ELIZABETH BOARDMAN HC IP        BOARDMAN        OH   44512    HOSPITAL     BS7085182   2,300    2,000   2,300    2,300   2,280   2,480   2,277    13,660

100093599   012119487   SAM'S PHARMACY 10-6619              ONTARIO        CA   91764      CHAIN      BS7086918              30     900     4,490   4,700   4,500   2,924    14,620

100093428   018396994   SAM'S PHARMACY 10-6265               IRVING        TX   75063      CHAIN      BS7099890                              100            1,500    800      1,600

100091339   020158873   KINDRED HOSPITAL EL PASO             EL PASO       TX   79902    HOSPITAL     BS7101758    600     1,200    900     1,000   1,040    820     927      5,560

100093446   025087320   SAM'S PHARMACY 10-6320            HERMANTOWN       MN   55811      CHAIN      BS7108586             190    1,300    3,400   1,900   2,100   1,778     8,890

100093273   037130724   SAM'S PHARMACY 10-4713            SHENANDOAH       TX   77385      CHAIN      BS7114286    200      200     200      200     100     600     250      1,500

100093825   037130625   SAM'S PHARMACY 10-8246              STAFFORD       TX   77477      CHAIN      BS7139656                      20                      200     110       220

100058340   023100750   *SHOPRITE PHARMACY #511             CARTERET       NJ   07008      CHAIN      BS7151929    (100)                                             (100)     (100)
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100063474   052044321   SELECT SPECIALTY HOSPITAL          BIRMINGHAM      AL   35213         HOSPITAL         BS7156602     500      600      700      500       280        80      443      2,660

100062382   021000356   STORMONT VAIL WEST                   TOPEKA        KS   66606         HOSPITAL         BS7163304     100      100               200       180       180      152       760

100093774   037130641   SAM'S PHARMACY 10-8261              KENNER         LA   70065          CHAIN           BS7196428     200      100                         100       200      150       600

100093427   018396986   SAM'S PHARMACY 10-6262            SAN ANTONIO      TX   78249          CHAIN           BS7196430     300      700      100    16,400                100     3,520    17,600

100093664   018396531   SAM'S PHARMACY 10-8117           OKLAHOMA CITY     OK   73134          CHAIN           BS7198662              100     1,300    2,500      100      1,700    1,140     5,700

100093804   021168690   SAM'S PHARMACY 10-8293           INDEPENDENCE      MO   64055          CHAIN           BS7203879               60              7,000     2,500     2,000    2,890    11,560

100093812   018396820   SAM'S PHARMACY 10-4731           OKLAHOMA CITY     OK   73132          CHAIN           BS7204845                               5,000               1,700    3,350     6,700

100093287   044212159   SAM'S CLUB #4740                   SOUTHAVEN       MS   38671          CHAIN           BS7207334              100      100     4,000               1,400    1,400     5,600

100093811   037130716   SAM'S PHARMACY 10-4712              HOUSTON        TX   77043          CHAIN           BS7215153              200      200     2,700                        1,033     3,100

100093611   038106146   SAM'S PHARMACY 10-6634             LONE TREE       CO   80124          CHAIN           BS7221562                       100      (100)     300       300      150       600

100093822   044212027   SAM'S PHARMACY 10-8111            JEFFERSTOWN      KY   40299          CHAIN           BS7225990                       600      100      1,000     1,700     850      3,400

100052153   010049833   SBH MEDICAL, LTD                  WORTHINGTON      OH   43085   HOME HEALTH SERVICES   BS7232046              100               100                          100       200

100093460   046043596   SAM'S PHARMACY 10-6335               OCALA         FL   34474          CHAIN           BS7236070    1,000              100     6,500                200     1,950     7,800

100063619   049052654   SELECT SPECIALTY HOSPITAL           PONTIAC        MI   48341         HOSPITAL         BS7247097     600      700      400      700       900       400      617      3,700

100093276   037130732   SAM'S PHARMACY 10-4721              HOUSTON        TX   77070          CHAIN           BS7249635                               9,880                500     5,190    10,380

100093290   018396846   SAM'S PHARMACY 10-4743               PLANO         TX   75074          CHAIN           BS7249647     200     1,100             3,700      100      1,600    1,340     6,700

100093607   038106104   SAM'S PHARMACY 10-6630               ARVADA        CO   80002          CHAIN           BS7256464                       900     3,500     4,000     1,300    2,425     9,700

100110623   049197384   SUTTON'S DRUG INC        SF         DETROIT        MI   48215       INDEPENDENT        BS7270236                               2,100     6,700     4,700    4,500    13,500

100093585   010226837   SAM'S PHARMACY 10-6575             PITTSBURGH      PA   15275          CHAIN           BS7282712              200      200      400                 300      275      1,100

100093545   024119560   SAM'S PHARMACY 10-6455              OXNARD         CA   93030          CHAIN           BS7289677                       100    10,300      200      1,100    2,925    11,700

100093270   012108423   SAM'S PHARMACY 10-4709              CORONA         CA   92881          CHAIN           BS7300712              100               400      1,000     1,600     775      3,100

100061983   023003525   SELECT SPECIALTY HOSPITAL           CAMP HILL      PA   17011         HOSPITAL         BS7302045     100      300      300      100       200       160      193      1,160

100064313   023088039   SOUTHWOOD RITA PHCY(Z) (GNP)         LINDEN        NJ   07036       INDEPENDENT        BS7302362    1,200    2,500    1,900    3,500      500      4,700    2,383    14,300

100055705   038023895   SELECT SPECIALTY HOSPITAL       COLORADO SPRINGS   CO   80923         HOSPITAL         BS7305750     300      100      300      700       100       200      283      1,700

100093712   020159301   SAM'S PHARMACY 10-8177             LAS VEGAS       NV   89120          CHAIN           BS7305990              100              1,000     1,100     4,900    1,775     7,100

100093499   020159517   SAM'S PHARMACY 10-6382             LAS VEGAS       NV   89117          CHAIN           BS7306005     200     2,800    4,700     500       100      3,100    1,900    11,400

100093640   020159277   SAM'S PHARMACY 10-6672            ALBUQUERQUE      NM   87123          CHAIN           BS7307728                       300     9,400     1,000     1,400    3,025    12,100

100093667   044212035   SAM'S PHARMACY 10-8123             EVANSVILLE      IN   47715          CHAIN           BS7309998              900     1,500    4,800      600      1,900    1,940     9,700

100093277   023137125   SAM'S PHARMACY 10-4722           WILLIAMSTOWN      NJ   08094          CHAIN           BS7310167                       200      400       200       700      375      1,500

100093278   052215038   SAM'S PHARMACY 10-4724              HOOVER         AL   35244          CHAIN           BS7311690     690      600      460    13,700      (300)     800     2,658    15,950

100093263   008110668   SAM'S PHARMACY 10-4704              FRESNO         CA   93720          CHAIN           BS7318187     500      600     2,200   12,800               1,900    3,600    18,000

100070381   018143875   S & J PHARMACY SANGER     CPA       SANGER         TX   76266       INDEPENDENT        BS7319266   11,100   24,200   17,200   18,900    11,100    17,000   16,583    99,500

100093280   041145243   SAM'S PHARMACY 10-4729              STERLING       VA   20166          CHAIN           BS7319672                       160                         1,200     680      1,360

100062448   023100735   *SHOPRITE PHARMACY #487             WHARTON        NJ   07885          CHAIN           BS7319886     200      100      400      100                          200       800

100093622   041145185   SAM'S PHARMACY 10-6651            CATONSVILLE      MD   21228          CHAIN           BS7320613                       800                400       800      667      2,000

100093697   046043372   SAM'S PHARMACY 10-8157           W. PALM BEACH     FL   33407          CHAIN           BS7344699                       130     7,200                790     2,707     8,120

100093708   046043380   SAM'S PHARMACY 10-8173              MIRAMAR        FL   33025          CHAIN           BS7344790     200                                                     200       200

100072202   049125187   HENRY FORD-MACOMB AMB PHCY #2     CHESTERFIELD     MI   48047       INDEPENDENT        BS7352785    6,000    8,100    9,500    8,900    11,600     9,700    8,967    53,800

100093467   017096115   SAM'S PHARMACY 10-6345             IDAHO FALLS     ID   83404          CHAIN           BS7358826    3,400    3,700    4,600    2,300     1,400     3,000    3,067    18,400

100093514   021168781   SAM'S PHARMACY 10-6413              LINCOLN        NE   68521          CHAIN           BS7368928              500     1,000    2,200      500       600      960      4,800

100092763   021168328   SULLIVAN MAIN ST PHARMACY CPA       HARRISON       AR   72601       INDEPENDENT        BS7375214   17,800   27,100   10,200   24,200    22,000     5,000   17,717   106,300

100063214   046063586   SUNTREE PHARMACY, INC              MELBOURNE       FL   32940       INDEPENDENT        BS7384174    5,890    5,320    5,780    5,320     5,990     6,080    5,730    34,380

100070384   037143255   SMALL FRY'S PHARMACY      CPA      HARLINGEN       TX   78550       INDEPENDENT        BS7393971     100      100                                   100      100       300

100093264   021168716   SAM'S PHARMACY 10-4707           OVERLAND PARK     KS   66213          CHAIN           BS7396054              500              4,600     1,600     1,300    2,000     8,000
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100093507   010227173   SAM'S PHARMACY 10-6404               FAIRLAWN       OH   44333      CHAIN      BS7397222     30       60     100    1,200    400     400     365      2,190

100093754   018396580   SAM'S PHARMACY 10-8226                ABILENE       TX   79606      CHAIN      BS7397309   1,900    2,100   1,600   9,800   1,500   6,300   3,867    23,200

100093286   040114850   SAM'S PHARMACY 10-4739              SNELLVILLE      GA   30078      CHAIN      BS7397638                            4,500    500    3,200   2,733     8,200

100093261   037130708   SAM'S PHARMACY 10-4702             FRIENDSWOOD      TX   77546      CHAIN      BS7397640    100                     2,700           1,100   1,300     3,900

100093554   018397109   SAM'S PHARMACY 10-6482                DALLAS        TX   75228      CHAIN      BS7403823   1,100     120     500    3,100           2,400   1,444     7,220

100093675   010226902   SAM'S PHARMACY 10-8133               FLORENCE       KY   41042      CHAIN      BS7410931    100     2,100   4,300   8,800           2,000   3,460    17,300

100093691   019161901   SAM'S PHARMACY 10-8149              GREEN BAY       WI   54303      CHAIN      BS7411591                    2,300   1,700   1,200   1,700   1,725     6,900

100093284   025087239   SAM'S PHARMACY 10-4736             APPLE VALLEY     MN   55124      CHAIN      BS7418951                             800            2,200   1,500     3,000

100093285   025087247   SAM'S PHARMACY 10-4738                EAGAN         MN   55121      CHAIN      BS7418975                     200    1,000            600     600      1,800

100093334   038106211   SAM'S PHARMACY 10-4816               AURORA         CO   80016      CHAIN      BS7422671     30                     3,230   2,500    100    1,465     5,860

100064241   019007757   SAINT JOSEPH HOSPITAL                CHICAGO        IL   60657    HOSPITAL     BS7424346   2,900    3,500   2,600   3,200   2,700   1,000   2,650    15,900

100093435   025087270   SAM'S PHARMACY 10-6309            WHITE BEAR LAKE   MN   55110      CHAIN      BS7424586                     300    2,700    500     800    1,075     4,300

100093666   046043307   SAM'S PHARMACY 10-8120             TALLAHASSEE      FL   32301      CHAIN      BS7427683              30      30     200            1,000    315      1,260

100093413   024119552   SAM'S PHARMACY 10-6240              GLENDORA        CA   91740      CHAIN      BS7430387    200      300     200    1,360    700    1,300    677      4,060

100093403   020159459   SAM'S PHARMACY 10-6205                 YUMA         AZ   85365      CHAIN      BS7431745    300      100                            1,400    600      1,800

100066286   021002634   SALINA REGIONAL HLTH CENTER EM        SALINA        KS   67401    HOSPITAL     BS7433408   2,800    2,300   2,700   1,700   2,600   1,400   2,250    13,500

100093350   010226969   SAM'S PHARMACY 10-4846               MENTOR         OH   44060      CHAIN      BS7436098                            2,200    500     900    1,200     3,600

100093356   041145284   SAM'S PHARMACY 10-4860               BECKLEY        WV   25801      CHAIN      BS7440174            1,400    400     500            1,000    825      3,300

100093355   010226985   SAM'S PHARMACY 10-4859                BUTLER        PA   16001      CHAIN      BS7440198             400    1,000    200     100    1,200    580      2,900

100093552   044212290   SAM'S PHARMACY 10-6474              MAPLEWOOD       MO   63143      CHAIN      BS7441518                     300     500    1,600    900     825      3,300

100106489   012112391   SPRING MOUNTAIN TREATMENT CTR       LAS VEGAS       NV   89117    HOSPITAL     BS7441784    700     1,150    900     900    1,800    700    1,025     6,150

100093436   025087288   SAM'S PHARMACY 10-6310                FRIDLEY       MN   55432      CHAIN      BS7444362    200              300    1,400    800    1,200    780      3,900

100093656   052214924   SAM'S PHARMACY 10-8102                MOBILE        AL   36606      CHAIN      BS7445706    900     1,200            400                     833      2,500

100069263   020140137   SPECIALTY SURGERY CENTER #712       LAS VEGAS       NV   89128    HOSPITAL     BS7466205                                             100     100       100

100093660   052214957   SAM'S PHARMACY 10-8112             CHATTANOOGA      TN   37421      CHAIN      BS7470177                                     500    1,200    850      1,700

100093445   049189605   SAM'S PHARMACY 10-6319              KENTWOOD        MI   49512      CHAIN      BS7471408    100      400     600    9,800                   2,725    10,900

100093586   032147439   SAM'S PHARMACY 10-6601              ANCHORAGE       AK   99515      CHAIN      BS7473060   1,200     300    1,700   2,400   3,500   2,200   1,883    11,300

100093756   055032318   SAM'S PHARMACY 10-8228            WINSTON-SALEM     NC   27103      CHAIN      BS7478957            1,400    730    2,630    500     900    1,232     6,160

100093788   044212118   SAM'S PHARMACY 10-8276              LOUISVILLE      KY   40219      CHAIN      BS7486930   1,500                    3,300   1,000   4,400   2,550    10,200

100093459   004091181   SAM'S PHARMACY 10-6333               BANGOR         ME   04401      CHAIN      BS7496563    130     2,000    800    3,300   1,100   1,800   1,522     9,130

100093275   018396812   SAM'S PHARMACY 10-4720                AUSTIN        TX   78735      CHAIN      BS7496587     30      160     130     130      30    1,630    352      2,110

100093471   018397026   SAM'S PHARMACY 10-6350               SHERMAN        TX   75090      CHAIN      BS7498771   1,000     800     900    6,440   1,000   5,500   2,607    15,640

100093588   020159236   SAM'S PHARMACY 10-6604              FLAGSTAFF       AZ   86001      CHAIN      BS7498783             100                     300    1,000    467      1,400

100093525   023137182   SAM'S PHARMACY 10-6428               MEDFORD        NY   11763      CHAIN      BS7501934   1,060    1,600    400    1,300   1,000   1,100   1,077     6,460

100093710   023137091   SAM'S PHARMACY 10-8175              HARRISBURG      PA   17111      CHAIN      BS7501946                    1,300    900     300     600     775      3,100

100093817   021168773   SAM'S PHARMACY 10-6344              DES MOINES      IA   50311      CHAIN      BS7509574                    2,300   2,100           1,800   2,067     6,200

100093606   012108415   SAM'S PHARMACY 10-6628              TORRANCE        CA   90505      CHAIN      BS7509586             100     100                    1,500    567      1,700

100093787   037130682   SAM'S PHARMACY 10-8275              BEAUMONT        TX   77701      CHAIN      BS7509598             200            4,100   1,000   1,800   1,775     7,100

100065542   021016253   SAC CITY DRUG LLC       SF           SAC CITY       IA   50583   INDEPENDENT   BS7510476   4,000    5,400   3,600   6,300   2,400   3,400   4,183    25,100

100093531   019212266   SAM'S PHARMACY 10-6437             BLOOMINGTON      IN   47403      CHAIN      BS7516353             500            2,700    700    2,300   1,550     6,200

100063668   023100248   *SHOPRITE PHARMACY #162              GARWOOD        NJ   07027      CHAIN      BS7517519    (100)                                            (100)     (100)

100093546   010227199   SAM'S PHARMACY 10-6457           SOUTH CHARLESTON   WV   25309      CHAIN      BS7522104    700      500    2,500   5,700           1,500   2,180    10,900

100093726   041145441   SAM'S PHARMACY 10-8193             HAGERSTOWN       MD   21740      CHAIN      BS7522128    700      400    2,400   5,100           1,420   2,004    10,020

100093823   023137075   SAM'S PHARMACY 10-8160               READING        PA   19560      CHAIN      BS7522130                     100    1,300   1,700   1,900   1,250     5,000
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100093629   049189449   SAM'S PHARMACY 10-6660              PORT HURON      MI   48060      CHAIN      BS7524590    1,400    7,400    1,200    9,700             2,800    4,500   22,500

100050805   052062612   STONE COUNTY HOSPITAL, INC #          WIGGINS       MS   39577    HOSPITAL     BS7528396     300      500      700     1,200              200      580     2,900

100093671   055032169   SAM'S PHARMACY 10-8129              WILMINGTON      NC   28403      CHAIN      BS7529728              100               (100)             600      200      600

100093681   049189530   SAM'S PHARMACY 10-8139               HOLLAND        OH   43528      CHAIN      BS7529730                       800     1,700    1,100    1,500    1,275    5,100

100064815   049073809   *SCHMIDT & SONS PHCY      SF         TECUMSEH       MI   49286   INDEPENDENT   BS7531064   12,200   11,300    9,600                              11,033   33,100

100064817   049073825   *SCHMIDT & SONS PHCY.     SF          CLINTON       MI   49236   INDEPENDENT   BS7531076    6,100    7,100    5,200                               6,133   18,400

100093796   018396762   SAM'S PHARMACY 10-8284                 TYLER        TX   75701      CHAIN      BS7532369              500      500    13,000     200     4,500    3,740   18,700

100093724   023137109   SAM'S PHARMACY 10-8191             WILKES-BARRE     PA   18702      CHAIN      BS7536343                       300      300      100     1,100     450     1,800

100052537   020045096   SURGICAL ARTS CENTER                 LAS VEGAS      NV   89117    HOSPITAL     BS7538335              200               100               200      167      500

100093665   046043299   SAM'S PHARMACY 10-8119              PENSACOLA       FL   32504      CHAIN      BS7540342     100      100              7,500             2,500    2,550   10,200

100052783   024030791   GOOD PHARMACY                       SAN GABRIEL     CA   91776   INDEPENDENT   BS7540520     100      100      100      100                        100      400

100093272   041145235   SAM'S PHARMACY 10-4711             VIRGINIA BEACH   VA   23452      CHAIN      BS7546128     200      300      800    13,200                      3,625   14,500

100093481   038106237   SAM'S PHARMACY 10-6360            GRAND JUNCTION    CO   81505      CHAIN      BS7546217              200      200     2,000     600     2,200    1,040    5,200

100093768   021168682   SAM'S PHARMACY 10-8254                WICHITA       KS   67209      CHAIN      BS7546231                                600      300      500      467     1,400

100093782   018396713   SAM'S PHARMACY 10-8270               LUBBOCK        TX   79407      CHAIN      BS7546407     600     1,200     700    10,100             1,400    2,800   14,000

100093800   018396788   SAM'S PHARMACY 10-8289            OKLAHOMA CITY     OK   73128      CHAIN      BS7549415                       100     4,900     800     1,500    1,825    7,300

100093485   041145367   SAM'S PHARMACY 10-6365            CHARLOTTESVILLE   VA   22901      CHAIN      BS7549427      60      500     1,500    3,230    1,900     800     1,332    7,990

100093570   010226803   SAM'S PHARMACY 10-6528               CINCINNATI     OH   45245      CHAIN      BS7554187              500      500     4,100             1,100    1,550    6,200

100093694   010226928   SAM'S PHARMACY 10-8152              SOUTH POINT     OH   45680      CHAIN      BS7554199              500      500                       1,300     767     2,300

100093826   037130633   SAM'S PHARMACY 10-8250               MCALLEN        TX   78503      CHAIN      BS7554202                               1,000                      1,000    1,000

100093470   019162263   SAM'S PHARMACY 10-6349            EVERGREEN PARK    IL   60805      CHAIN      BS7554214              500      400     2,700              600     1,050    4,200

100093309   040114868   SAM'S PHARMACY 10-4780                BUFORD        GA   30519      CHAIN      BS7554226               30              1,700     500     1,500     933     3,730

100093779   037130666   SAM'S PHARMACY 10-8267            CORPUS CHRISTI    TX   78411      CHAIN      BS7554238      40                      10,300    1,500    3,000    3,710   14,840

100093820   023137000   SAM'S PHARMACY 10-6581               SCRANTON       PA   18519      CHAIN      BS7555709                       100     1,500     200      300      525     2,100

100093501   019162289   SAM'S PHARMACY 10-6384               HODGKINS       IL   60525      CHAIN      BS7555711             1,900    2,000   18,400              200     5,625   22,500

100093517   021168807   SAM'S PHARMACY 10-6418                WICHITA       KS   67226      CHAIN      BS7555723                               1,700     300      860      953     2,860

100093722   010226936   SAM'S PHARMACY 10-8188               LEXINGTON      KY   40505      CHAIN      BS7560027                               4,700              600     2,650    5,300

100093515   055032565   SAM'S PHARMACY 10-6414               GASTONIA       NC   28056      CHAIN      BS7560990     300      200      600    16,900    1,900     600     3,417   20,500

100093476   055032540   SAM'S PHARMACY 10-6355                HICKORY       NC   28602      CHAIN      BS7561005                              13,920     700      900     5,173   15,520

100093623   041145433   SAM'S PHARMACY 10-6652               FREDERICK      MD   21704      CHAIN      BS7561435     100      100      500     1,100     100               380     1,900

100052494   020030379   SELECT SPECIALTY HOSPITAL           SCOTTSDALE      AZ   85251    HOSPITAL     BS7561459     100      300      100      400      300               240     1,200

100052199   010050468   SELECT SPECIALTY HSP CHARLESTO      CHARLESTON      WV   25301    HOSPITAL     BS7566093     400      500      300      700      160      100      360     2,160

100063694   049053280   SELECT SPECIALTY HOSPITAL             DETROIT       MI   48235    HOSPITAL     BS7567881     700      600      900      300     1,200     800      750     4,500

100052507   020033712   SELECT SPECLTY HOSP PHX DOWNTN        PHOENIX       AZ   85006    HOSPITAL     BS7586374     300      200               700      500               425     1,700

100076346   008068247   SEQUOIA SURGICAL PAVILION          WALNUT CREEK     CA   94598    HOSPITAL     BS7592909     100      200      200                                 167      500

100093587   032147447   SAM'S PHARMACY 10-6603               FAIRBANKS      AK   99701      CHAIN      BS7593723              100      300      200              1,500     525     2,100

100093281   017096081   SAM'S PHARMACY 10-4730             WEST JORDAN      UT   84084      CHAIN      BS7595727     100      400      100     1,600     100     2,500     800     4,800

100093288   044212167   SAM'S CLUB #4741                     ST. LOUIS      MO   63122      CHAIN      BS7597581                       500                       1,200     850     1,700

100093289   018396838   SAM'S PHARMACY 10-4742              FORT WORTH      TX   76132      CHAIN      BS7598420     500     3,000            15,400     400     4,600    4,780   23,900

100093303   046043430   SAM'S PHARMACY 10-4772               SARASOTA       FL   34232      CHAIN      BS7600364              (100)    500     8,100     100     1,500    2,020   10,100

100067347   019143446   SCOTT'S FAMILY PHARMACY     CPA     GIBSON CITY     IL   60936   INDEPENDENT   BS7614072   34,000    9,000                      8,900   16,600   17,125   68,500

100093420   025087262   SAM'S PHARMACY 10-6254             MAPLE GROVE      MN   55311      CHAIN      BS7646081     400      200      200     1,400     500      400      517     3,100

100093669   037130542   SAM'S PHARMACY 10-8126             BROWNSVILLE      TX   78520      CHAIN      BS7648946     100               100                                 100      200

100093661   037130534   SAM'S PHARMACY 10-8114               LAFAYETTE      LA   70506      CHAIN      BS7650977                                900      200      900      667     2,000
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100093705   019161950   SAM'S PHARMACY 10-8168              INDIANAPOLIS      IN   46250        CHAIN          BS7655713      200       500       900      8,800      300      3,600     2,383    14,300

100093452   010227124   SAM'S PHARMACY 10-6326             REYNOLDSBURG       OH   43068        CHAIN          BS7663746                          100      1,000               2,300     1,133     3,400

100093283   012108431   SAM'S PHARMACY 10-4735                LA HABRA        CA   90631        CHAIN          BS7669611      120       100       240      1,400      300      1,500      610      3,660

100093293   010226951   SAM'S PHARMACY 10-4750            CUYAHOGA FALLS      OH   44221        CHAIN          BS7669623      200       500       400       400       900      1,300      617      3,700

100085211   021148262   MERCY HOSPITAL - AURORA 340B          AURORA          MO   65605   PHS 340B HOSPITAL   BS7670208                500       300      1,500                          767      2,300

100062119   021027177   MERCY HOSPITAL - AURORA               AURORA          MO   65605       HOSPITAL        BS7670208      200                 200                 100                 167       500

100093709   019161976   SAM'S PHARMACY 10-8174              MERRILLVILLE      IN   46410        CHAIN          BS7677884                         1,000     1,800     1,100     1,600     1,375     5,500

100064288   004100156   *SHOPRITE PHARMACY #396                DERBY          CT   06418        CHAIN          BS7683091                          100       500                           300       600

100067290   052061358   SENIOR CARE PHARMACY                 NORTHPORT        AL   35473   LONG TERM CARE      BS7685247   117,000   117,200   124,100   140,650   113,600   105,400   119,658   717,950

100093727   040114785   SAM'S PHARMACY 10-8194                BOGART          GA   30622        CHAIN          BS7702132                          100     18,700                         9,400    18,800

100093440   010227090   SAM'S PHARMACY 10-6314            SHEFFIELD VILLAGE   OH   44035        CHAIN          BS7703122               1,100     1,800     1,900      900      1,800     1,500     7,500

100058743   021027185   MERCY HOSPITAL - CASSVILLE           CASSVILLE        MO   65625       HOSPITAL        BS7711826                400       200                 900       200       425      1,700

100085209   021138230   MERCY HOSPITAL-CASSVILLE 340B        CASSVILLE        MO   65625   PHS 340B HOSPITAL   BS7711826      200                 200       300                           233       700

100093508   008110692   SAM'S PHARMACY 10-6405                YUBA CITY       CA   95993        CHAIN          BS7714810                                   2,100     4,500     3,300     3,300     9,900

100093291   023137133   SAM'S PHARMACY 10-4744               BUDD LAKE        NJ   07828        CHAIN          BS7717599                100       100       100                 400       175       700

100093312   018396861   SAM'S PHARMACY 10-4783                GARLAND         TX   75040        CHAIN          BS7723504      500                          2,500               1,600     1,533     4,600

100093297   037130757   SAM'S PHARMACY 10-4764                  KATY          TX   77449        CHAIN          BS7727514                          100                           500       300       600

100093296   037130740   SAM'S PHARMACY 10-4763              SUGAR LAND        TX   77478        CHAIN          BS7727526      690                 190      8,100                         2,993     8,980

100093591   020159269   SAM'S PHARMACY 10-6608                PHOENIX         AZ   85023        CHAIN          BS7738024                700       100                          3,000     1,267     3,800

100093528   008110726   SAM'S PHARMACY 10-6433               VACAVILLE        CA   95687        CHAIN          BS7738985      500       500                5,800               1,800     2,150     8,600

100093302   041145268   SAM'S PHARMACY 10-4771                SEVERN          MD   21144        CHAIN          BS7738997                                   2,100      100       100       767      2,300

100093292   038106187   SAM'S PHARMACY 10-4745               THORNTON         CO   80229        CHAIN          BS7744926      100       200       500      2,100     1,300     1,900     1,017     6,100

100093537   046043729   SAM'S PHARMACY 10-6445            PORT CHARLOTTE      FL   33948        CHAIN          BS7751503                                   4,000               2,700     3,350     6,700

100093670   019161869   SAM'S PHARMACY 10-8128                 PEORIA         IL   61615        CHAIN          BS7754472     2,100     3,200     3,800     4,300      100      2,500     2,667    16,000

100093468   020159509   SAM'S PHARMACY 10-6347              FARMINGTON        NM   87402        CHAIN          BS7756844                           60      9,530      300      1,800     2,923    11,690

100093573   055032086   SAM'S PHARMACY 10-6540               CHARLOTTE        NC   28262        CHAIN          BS7769170      200       200       500      1,900                          700      2,800

100093593   012119479   SAM'S PHARMACY 10-6610                 CHINO          CA   91710        CHAIN          BS7790252                400      1,300     3,500      900      1,800     1,580     7,900

100093651   017096032   SAM'S PHARMACY 10-6685                 PROVO          UT   84601        CHAIN          BS7793551                          100       100                1,300      500      1,500

100093298   041145250   SAM'S PHARMACY 10-4766              OWINGS MILLS      MD   21117        CHAIN          BS7797903      400       200       200      1,900                300       600      3,000

100093328   040114892   SAM'S PHARMACY 10-4804              MCDONOUGH         GA   30253        CHAIN          BS7797939                100                1,500     1,300     1,000      975      3,900

100093305   037130773   SAM'S PHARMACY 10-4775                METAIRIE        LA   70001        CHAIN          BS7797977      300       200       400      1,900                900       740      3,700

100093673   010226886   SAM'S PHARMACY 10-8131               CINCINNATI       OH   45209        CHAIN          BS7798044                                   2,900      500      1,000     1,467     4,400

100053381   010051086   KINDRED HOSP CLEVELAND GATEWAY       CLEVELAND        OH   44115       HOSPITAL        BS7801233      100       100                           100       100       100       400

100059792   041058727   STONY POINT SURGERY CENTER           RICHMOND         VA   23235       HOSPITAL        BS7802300                200                                     100       150       300

100052764   056004812   SELECT SPECIALTY HOSP-YORK              YORK          PA   17403       HOSPITAL        BS7803340                          100                                     100       100

100063705   049053637   SELECT SPECIALTY HOSP-SAGINAW         SAGINAW         MI   48602       HOSPITAL        BS7819571      700       500       700       400       540       460       550      3,300

100053736   018041194   SELECT SPECIALTY HOSPITAL              DALLAS         TX   75237       HOSPITAL        BS7822073     1,000     1,400     1,300     6,600      500                2,160    10,800

100064001   052046052   SELECT SPECIALTY HOSPITAL             JACKSON         MS   39211       HOSPITAL        BS7822578      800       900      1,000      900       980       300       813      4,880

100058165   044044818   SCOTT FAMILY PHARMACY LLC,           CAMPBELL         MO   63933     INDEPENDENT       BS7825055    12,000    14,600    12,000    26,600     4,100     5,500    12,467    74,800

100072337   018169219   SOUTH SCRIPT HEALTHCARE      SF     FORT WORTH        TX   76104     INDEPENDENT       BS7830892    11,500    10,000    11,800     8,200    10,500     3,000     9,167    55,000

100093677   019161877   SAM'S PHARMACY 10-8135              TERRE HAUTE       IN   47802        CHAIN          BS7836983               2,000     2,060      800                 300      1,290     5,160

100093682   046043331   SAM'S PHARMACY 10-8140                LANTANA         FL   33462        CHAIN          BS7837923                                   2,500      100      1,700     1,433     4,300

100093655   020159285   SAM'S PHARMACY 10-6692                TUCSON          AZ   85704        CHAIN          BS7842823      100       600       100      4,400     3,800     2,000     1,833    11,000

100105610   055039164   VIBRA HOSPITAL OF CHARLESTON      MOUNT PLEASANT      SC   29464       HOSPITAL        BS7844423      500       700       750       950      1,160      780       807      4,840
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100093447   019162206   SAM'S PHARMACY 10-6321              APPLETON       WI   54914        CHAIN          BS7851480                         1,000    1,700              800     1,167    3,500

100093443   010227108   SAM'S PHARMACY 10-6317            NORTH CANTON     OH   44720        CHAIN          BS7851492              700        1,000    2,600             1,100    1,350    5,400

100093813   037130765   SAM'S PHARMACY 10-4769              HOUSTON        TX   77081        CHAIN          BS7851668              100         300     4,800    4,200    1,400    2,160   10,800

100093650   017096024   SAM'S PHARMACY 10-6684              RIVERDALE      UT   84405        CHAIN          BS7853876     100      100         600     1,600     700     1,200     717     4,300

100093621   041145177   SAM'S PHARMACY 10-6650              BALTIMORE      MD   21237        CHAIN          BS7853915              100         300     1,000              700      525     2,100

100089531   012103341   ST MARY MED CENTER LB              LONG BEACH      CA   90813       HOSPITAL        BS7858472    2,900    2,700       4,000    2,600    4,800     300     2,883   17,300

100093313   020159343   SAM'S PHARMACY 10-4784             LAS CRUCES      NM   88011        CHAIN          BS7866633              100          30     4,560     900     2,400    1,598    7,990

100093271   041145227   SAM'S PHARMACY 10-4710             CHESAPEAKE      VA   23321        CHAIN          BS7866645     200                 2,300    2,200     300     1,600    1,320    6,600

100093307   038106203   SAM'S PHARMACY 10-4777               DENVER        CO   80238        CHAIN          BS7866657              200         300      100     1,000     300      380     1,900

100093438   025087304   SAM'S PHARMACY 10-6312              WOODBURY       MN   55125        CHAIN          BS7871090              460         200     1,860              900      855     3,420

100093518   049189639   SAM'S PHARMACY 10-6419            TRAVERSE CITY    MI   49684        CHAIN          BS7871379              100         500    12,800              700     3,525   14,100

100093578   023136994   SAM'S PHARMACY 10-6558                EXTON        PA   19341        CHAIN          BS7871545                                   600      100      800      500     1,500

100058005   049038018   *SCHEURER FAMILY PHCY     SF       SEBEWAING       MI   48759     INDEPENDENT       BS7875151    8,100    9,500       7,100    7,900    9,300             8,380   41,900

100091987   049188946   *SCHEURER FMY PH340B SEBEWAING     SEBEWAING       MI   48759       HOSPITAL        BS7875151    4,100    2,500       4,600    2,600     500              2,860   14,300

100091987   049188946   *SCHEURER FMY PH340B SEBEWAING     SEBEWAING       MI   48759   PHS 340B HOSPITAL   BS7875151                                           5,800             5,800    5,800

100093462   004091199   SAM'S PHARMACY 10-6337              SEABROOK       NH   03874        CHAIN          BS7884504     500      100         600     3,200     800     1,400    1,100    6,600

100073844   004100446   *SHOPRITE PHARMACY #227            MONTICELLO      NY   12701        CHAIN          BS7889225    4,400    4,500       5,200    4,300                      4,600   18,400

100073494   004100453   *SHOPRITE PHARMACY #235              CARMEL        NY   10512        CHAIN          BS7889249     600      800         200      600                        550     2,200

100073868   004100545   *SHOPRITE PHARMACY #282          CORTLANDT MANOR   NY   10567        CHAIN          BS7889251     200      100         200      200                        175      700

100073867   004100511   *SHOPRITE PHARMACY #260             VAILS GATE     NY   12584        CHAIN          BS7889275              100                  200                        150      300

100063948   004100057   *SHOPRITE PHARMACY #241             KINGSTON       NY   12401        CHAIN          BS7889287     300                           300                        300      600

100105815   012088013   SUMMERLIN HOSPITAL MED CENTER       LAS VEGAS      NV   89144       HOSPITAL        BS7904457    2,100    3,400       3,100    4,200    2,600    2,300    2,950   17,700

100093477   004091215   SAM'S PHARMACY 10-6356               FISHKILL      NY   12524        CHAIN          BS7904964                                            300      200      250      500

100093747   055032292   SAM'S PHARMACY 10-8219              MATTHEWS       NC   28105        CHAIN          BS7912036     300      200         400     4,200             1,400    1,300    6,500

100093464   019162255   SAM'S PHARMACY 10-6339            CRYSTAL LAKE     IL   60014        CHAIN          BS7913759      60      200        1,860    1,080   10,000     100     2,217   13,300

100067166   019038448   ST MARY MEDICAL CENTER INC           HOBART        IN   46342       HOSPITAL        BS7919939    3,900    4,500       3,800    6,000   10,120     980     4,883   29,300

100087773   038102665   LINCOLN SURG CENTER, LLC #712        PARKER        CO   80134       HOSPITAL        BS7929687              100                  100                        100      200

100093728   004091173   SAM'S PHARMACY 10-8195             MANCHESTER      CT   06042        CHAIN          BS7930111     900     1,000       1,200     500      300      400      717     4,300

100093548   023137190   SAM'S PHARMACY 10-6460              ALTOONA        PA   16602        CHAIN          BS7937709     100     2,100       1,200    2,700    1,300    1,800    1,533    9,200

100093608   038106112   SAM'S PHARMACY 10-6631               AURORA        CO   80012        CHAIN          BS7947724                   30      90                       1,700     607     1,820

100093486   004091223   SAM'S PHARMACY 10-6366               VESTAL        NY   13850        CHAIN          BS7947750    1,000    2,000       2,000    4,000              200     1,840    9,200

100066820   046075002   SENIOR CARE PHCY OF FL LLC          LAKELAND       FL   33811   LONG TERM CARE      BS7955430   14,700   12,700      13,300   14,300   13,200   13,200   13,567   81,400

100093300   008110676   SAM'S PHARMACY 10-4768                RENO         NV   89509        CHAIN          BS7958210                                            100      800      450      900

100093495   012108498   SAM'S PHARMACY 10-6378              RIVERSIDE      CA   92507        CHAIN          BS7958436    5,600    6,800       6,800    6,700             1,400    5,460   27,300

100093781   018396705   SAM'S PHARMACY 10-8269            GRAND PRAIRIE    TX   75052        CHAIN          BS7958486               -          100     9,000    1,000    2,100    2,440   12,200

100063816   052092841   SANITARY DRUG COMPANY               WHITE PINE     TN   37890     INDEPENDENT       BS7959313    9,100    7,000       7,000    5,500    6,800    2,500    6,317   37,900

100093523   021168815   SAM'S PHARMACY 10-6426               SALINA        KS   67401        CHAIN          BS7962891              200                 3,600    6,600    2,400    3,200   12,800

100093753   040114835   SAM'S PHARMACY 10-8225               MACON         GA   31204        CHAIN          BS7970189                   20             3,020    1,220    1,900    1,540    6,160

100093685   019161885   SAM'S PHARMACY 10-8143             NAPERVILLE      IL   60540        CHAIN          BS7970204     100      500         600      700      400      700      500     3,000

100093315   017096099   SAM'S PHARMACY 10-4786                LOGAN        UT   84341        CHAIN          BS7970230                                   300               400      350      700

100091331   038105692   KINDRED HOSPITAL AURORA              AURORA        CO   80011       HOSPITAL        BS7974808     300      400         100     1,000                       450     1,800

100093516   021168799   SAM'S PHARMACY 10-6415                JOPLIN       MO   64804        CHAIN          BS7975379                                  2,600    1,400     500     1,500    4,500

100093589   020159244   SAM'S PHARMACY 10-6605               GILBERT       AZ   85234        CHAIN          BS7975785                                  3,900    1,700    2,100    2,567    7,700

100093522   004091256   SAM'S PHARMACY 10-6423             MIDDLETOWN      NY   10941        CHAIN          BS7975797                          100      800              1,100     667     2,000
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100093679   049189522   SAM'S PHARMACY 10-8137              LANSING      MI   48911        CHAIN          BS7976650     100     1,900     1,200    5,700    1,000     2,500    2,067    12,400

100093713   004091124   SAM'S PHARMACY 10-8178            ROCHESTER      NY   14626        CHAIN          BS7977397     100      100       100     1,200    3,400      600      917      5,500

100093624   041145193   SAM'S PHARMACY 10-6653           GAITHERSBURG    MD   20877        CHAIN          BS7977400      60       30        30      200                400      144       720

100063988   019007245   SELECT SPECIALTY HOSPITAL         MILWAUKEE      WI   53215       HOSPITAL        BS7987007              100       300      200      100       340      208      1,040

100093327   040114884   SAM'S PHARMACY 10-4802               HIRAM       GA   30141        CHAIN          BS7987071                                7,800     (100)             3,850     7,700

100093308   049189555   SAM'S PHARMACY 10-4778           AUBURN HILLS    MI   48326        CHAIN          BS7988112             1,000     1,000    5,900    1,000     1,000    1,980     9,900

100093731   046043398   SAM'S PHARMACY 10-8201            BRADENTON      FL   34203        CHAIN          BS7988150                                4,100               300     2,200     4,400

100093635   049189506   SAM'S PHARMACY 10-6666              CANTON       MI   48187        CHAIN          BS7991347      -      2,500     2,800    5,400     600      1,300    2,100    12,600

100093541   010227181   SAM'S PHARMACY 10-6450             CINCINNATI    OH   45247        CHAIN          BS7995117     500      300      1,300    2,000     300      1,700    1,017     6,100

100093314   046043455   SAM'S PHARMACY 10-4785             SANFORD       FL   32771        CHAIN          BS7997666                                                    100      100       100

100093689   038106161   SAM'S PHARMACY 10-8147             LOVELAND      CO   80537        CHAIN          BS8001264     200      200       200     3,000    1,100     2,000    1,117     6,700

100070436   023143735   SKYLANDS COMMUNITY PHCY(X) CPA   HACKETTSTOWN    NJ   07840     INDEPENDENT       BS8020202    1,700    1,400     1,400    1,300    1,500      400     1,283     7,700

100063778   049053892   SELECT SPECIALTY HOSPITAL        BATTLE CREEK    MI   49017       HOSPITAL        BS8020404     200      600       600      700     1,100               640      3,200

100093500   041145391   SAM'S PHARMACY 10-6383             SALISBURY     MD   21801        CHAIN          BS8023335     100     1,300      500     6,300              1,400    1,920     9,600

100063950   023100487   *SHOPRITE PHARMACY #253            MONTAGUE      NJ   07827        CHAIN          BS8029781     300      400                                            350       700

100060348   010100511   SELECT SPECIALTY HOSPITAL          LEXINGTON     KY   40508       HOSPITAL        BS8052348     700      700       800      700      480       880      710      4,260

100093609   038106120   SAM'S PHARMACY 10-6632              DENVER       CO   80209        CHAIN          BS8053528                                 600     1,000      200      600      1,800

100059644   010101386   STULTZ PHARMACY           APSC    FLATWOODS      KY   41139     INDEPENDENT       BS8060953   21,300   25,900    23,200   23,000   23,600    17,800   22,467   134,800

100091420   010225920   STULTZ PHARMACY 340B              FLATWOODS      KY   41139       HOSPITAL        BS8060953    6,000    3,000     1,700     800                        2,875    11,500

100055856   038035915   SELECT SPECIALTY HOSPITAL-DNV       DENVER       CO   80210       HOSPITAL        BS8061676                                          100       100      100       200

100061047   023008748   SPECIALTY RX INC (Z)(B)            ROSELLE       NJ   07203   LONG TERM CARE      BS8063389    5,000    2,500     2,500    1,800    1,900     3,300    2,833    17,000

100093282   020159335   SAM'S PHARMACY 10-4732             GLENDALE      AZ   85308        CHAIN          BS8088343                                2,000    1,000     1,500    1,500     4,500

100108072   032152637   SOLDOTNA PROFESSIONAL PHCY         SOLDOTNA      AK   99669     INDEPENDENT       BS8102511   21,400   27,800    25,000   20,800   22,300    18,200   22,583   135,500

100084236   017084459   SYKES PHARMACY CPA                 KALISPELL     MT   59901     INDEPENDENT       BS8106292    7,100   11,000    10,200   13,400    7,000     5,500    9,033    54,200

100067245   046031872   ST. GEORGE PHCY                  PALM HARBOR     FL   34684     INDEPENDENT       BS8106379    2,000    1,000     5,500    1,500    1,000     2,000    2,167    13,000

100090746   018237511   SSM HEALTHCARE OF OKLAHOMA       OKLAHOMA CITY   OK   73119       HOSPITAL        BS8106824     100      700       450      200      830       200      413      2,480

100093324   055032367   SAM'S PHARMACY 10-4798           WINSTON-SALEM   NC   27105        CHAIN          BS8112283     100      600      1,400    4,400              2,000    1,700     8,500

100068999   041123984   SHEPPARD PRATT @ ELLICOTT CITY   ELLICOTT CITY   MD   21041       HOSPITAL        BS8114023     100                                  280                190       380

100093311   046043448   SAM'S PHARMACY 10-4782             KISSIMMEE     FL   34746        CHAIN          BS8119162                                1,300     500      2,400    1,400     4,200

100061246   023005959   SHAFER PHARMACY, LLC (X) GNP       TAMAQUA       PA   18252     INDEPENDENT       BS8120343    4,500    4,200     4,800    8,100    2,900     4,900    4,900    29,400

100093785   018396721   SAM'S PHARMACY 10-8273            SHREVEPORT     LA   71105        CHAIN          BS8132348     120      220       100     7,500              2,300    2,048    10,240

100089569   008108738   ST MARYS MED CTR CLN PHAR 340B   SAN FRANCISCO   CA   94117   PHS 340B HOSPITAL   BS8133213    1,700    3,300     2,200    3,700    2,500              2,680    13,400

100089535   008108589   ST MARYS MED CTR SF              SAN FRANCISCO   CA   94117       HOSPITAL        BS8133213    1,100    1,800     1,000     300     1,600     1,300    1,183     7,100

100089536   008108597   ST MARYS MED CTR SF 340B OP      SAN FRANCISCO   CA   94117   PHS 340B HOSPITAL   BS8133213     200                200      600      500                375      1,500

100096634   008111799   ST MARYS MED CTR SF OP WAC       SAN FRANCISCO   CA   94117   PHS 340B HOSPITAL   BS8133213              400                500                         450       900

100070287   008070284   SUMMIT SURGICAL                     FRESNO       CA   93720       ALT SITE        BS8133819                                 200                         200       200

100053364   056004929   SUNRAY DRUGS & MED(Z)(GNP) CPA    MIDDLETOWN     NJ   07748     INDEPENDENT       BS8135572    1,100    1,100               600      200       200      640      3,200

100093559   020159228   SAM'S PHARMACY 10-6502              EL PASO      TX   79925        CHAIN          BS8139481                        200     1,300               700      733      2,200

100093687   023137067   SAM'S PHARMACY 10-8145            CINNAMINSON    NJ   08077        CHAIN          BS8142248     100      100       300      200                         175       700

100053629   010052571   SAMARITAN NORTH SURGERY CNTR        DAYTON       OH   45415       HOSPITAL        BS8151401     100                                                     100       100

100053387   010051185   SPARTAN PHARMACY INC. APSC        PITTSBURGH     PA   15227     INDEPENDENT       BS8155079   19,400   22,700    22,100   12,800   20,200    11,300   18,083   108,500

100053410   024062992   SUPER CARE DRUGS INC                MALIBU       CA   90265     INDEPENDENT       BS8158417    1,500   (1,500)              700      500                300      1,200

100093465   046043604   SAM'S PHARMACY 10-6341              SUNRISE      FL   33323        CHAIN          BS8163545                                 500                         500       500

100093437   025087296   SAM'S PHARMACY 10-6311             SHAKOPEE      MN   55379        CHAIN          BS8181339              100               1,500     100       400      525      2,100
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100093505   055032557   SAM'S PHARMACY 10-6402              GREENSBORO      NC   27407      CHAIN      BS8203856      90     1,130     830     4,530              2,960    1,908     9,540

100093790   055032334   SAM'S PHARMACY 10-8278               GREENVILLE     SC   29607      CHAIN      BS8210750     400     1,100     500      900                800      740      3,700

100093316   025087254   SAM'S PHARMACY 10-4787              BLOOMINGTON     MN   55420      CHAIN      BS8212386     100      100              1,400     1,300     600      700      3,500

100093325   008110684   SAM'S PHARMACY 10-4799             CITRUS HEIGHTS   CA   95621      CHAIN      BS8223860     200      100      100     6,200      100     3,000    1,617     9,700

100058772   037105700   SAENZ MED PHCY RIDGE, IN SF           MC ALLEN      TX   78503   INDEPENDENT   BS8230839    2,300    2,700    2,400    1,700              1,700    2,160    10,800

100093401   055032508   SAM'S PHARMACY 10-6203               COLUMBIA       SC   29212      CHAIN      BS8231526     400      300      100     1,400     1,900              820      4,100

100093627   049189423   SAM'S PHARMACY 10-6658                JACKSON       MI   49202      CHAIN      BS8244876             1,500    1,500    9,000               800     3,200    12,800

100075378   055024505   SELECT SPECIALTY HOSP DURHAM          DURHAM        NC   27704    HOSPITAL     BS8254346                       100                                  100       100

100093808   019162040   SAM'S PHARMACY 10-8297               ROCKFORD       IL   61108      CHAIN      BS8257823     300     1,400    1,100    1,500               800     1,020     5,100

100093306   052215046   SAM'S PHARMACY 10-4776               HUNTSVILLE     AL   35816      CHAIN      BS8262393    1,000     600      800     5,700               900     1,800     9,000

100093702   025087205   SAM'S CLUB #8165                    SIOUX FALLS     SD   57106      CHAIN      BS8262646             1,100    5,600    2,800               400     2,475     9,900

100093795   055032342   SAM'S PHARMACY 10-8283               COLUMBIA       SC   29206      CHAIN      BS8275528              500      100      800                800      550      2,200

100051362   018042606   SELECT SPECIALTY HOSP-LONGVIEW       LONGVIEW       TX   75601    HOSPITAL     BS8275782    1,200     700     1,400    1,700     1,400     900     1,217     7,300

100071369   038140210   SKY RIDGE MEDICAL CENTER #712        LONE TREE      CO   80124    HOSPITAL     BS8281278    2,200    2,900     800     3,800     1,840    2,500    2,340    14,040

100076224   040111245   AMBULATORY SURGERY CTR-ORTH           ATLANTA       GA   30329    HOSPITAL     BS8290873                                100                         100       100

100093407   046043570   SAM'S PHARMACY 10-6217                 MIAMI        FL   33126      CHAIN      BS8296558     100                        100                         100       200

100064215   023100636   *SHOPRITE PHARMACY #297             LINCOLN PARK    NJ   07035      CHAIN      BS8297221     100                                                    100       100

100059500   010098970   STALLARD PHARMACY, INC PRO GEN         NEON         KY   41840   INDEPENDENT   BS8298110    9,100    9,600    8,800    8,300    10,400    8,100    9,050    54,300

100093439   019162172   SAM'S PHARMACY 10-6313               FT. WAYNE      IN   46818      CHAIN      BS8321755     100     1,200    2,300    6,400     2,000    1,700    2,283    13,700

100093456   041145318   SAM'S PHARMACY 10-6330                 DOVER        DE   19901      CHAIN      BS8324268     450      400     1,000    7,420               200     1,894     9,470

100057509   046006338   SELECT SPECIALTY HOSP-ORLANDO         ORLANDO       FL   32803    HOSPITAL     BS8328406                        20                100                60       120

100093299   024119529   SAM'S PHARMACY 10-4767               PALMDALE       CA   93551      CHAIN      BS8342608              200      900      (200)             2,900     950      3,800

100093676   018396549   SAM'S PHARMACY 10-8134               FORT SMITH     AR   72903      CHAIN      BS8344892               60       60     2,530     1,500    2,000    1,230     6,150

100093631   049189464   SAM'S PHARMACY 10-6662               ROSEVILLE      MI   48066      CHAIN      BS8346531     700      200     1,000    4,400    13,600    4,000    3,983    23,900

100058342   056100362   *SHOPRITE PHARMACY #516             HAINESPORT      NJ   08036      CHAIN      BS8346947                                200                         200       200

100093474   055032532   SAM'S PHARMACY 10-6353             MYRTLE BEACH     SC   29577      CHAIN      BS8356986     100      100      100    10,900      200     1,500    2,150    12,900

100093729   019161992   SAM'S PHARMACY 10-8197               CHAMPAIGN      IL   61822      CHAIN      BS8366886             1,500     500     4,700      400     2,000    1,820     9,100

100059734   023050906   ST MARK PHARMACY (Z)                 JERSEY CITY    NJ   07306   INDEPENDENT   BS8371041     100                                           100      100       200

100093323   055032359   SAM'S PHARMACY 10-4797               KANNAPOLIS     NC   28083      CHAIN      BS8380141              100      100     1,730      700      730      672      3,360

100093331   040114900   SAM'S PHARMACY 10-4810                LITHONIA      GA   30038      CHAIN      BS8380735                               3,000                       3,000     3,000

100053721   010052993   SELECT SPECIALTY HOSPITAL            ZANESVILLE     OH   43701    HOSPITAL     BS8388298     100      100      200      250                         163       650

100093632   049189472   SAM'S PHARMACY 10-6663                SAGINAW       MI   48604      CHAIN      BS8394532     400      800              3,800      500     1,100    1,320     6,600

100067850   021124065   GREAT BEND REGIONAL HOSPITAL        GREAT BEND      KS   67530    HOSPITAL     BS8403468     300      600      600     1,800      340      400      673      4,040

100053722   010053090   SCOTTDALE PHARMACY, INC              SCOTTDALE      PA   15683   INDEPENDENT   BS8411857    4,000    6,400    3,800    6,800     5,300    4,600    5,150    30,900

100067297   008023630   CSU SACRAMENTO                      SACRAMENTO      CA   95819     ALT SITE    BS8413673     100      200      100                800               300      1,200

100093802   049189548   SAM'S PHARMACY 10-8291                  FLINT       MI   48532      CHAIN      BS8415071     300      800     2,000    8,400      700     2,600    2,467    14,800

100060350   010100586   SOMERSET PHARMACY INC       APSC     SOMERSET       KY   42501   INDEPENDENT   BS8418902    3,200    3,100    1,600    2,800     1,500    2,000    2,367    14,200

100093614   046043265   SAM'S PHARMACY 10-6637             CORAL SPRINGS    FL   33071      CHAIN      BS8434336      40               200      400                600      310      1,240

100093333   019162065   SAM'S PHARMACY 10-4815                NORMAL        IL   61761      CHAIN      BS8434348      30               200     1,100      900      400      526      2,630

100093641   004091066   SAM'S PHARMACY 10-6673             CHEEKTOWAGA      NY   14225      CHAIN      BS8437205    4,300    4,700    1,000    3,000     2,800    1,100    2,817    16,900

100093680   046043323   SAM'S PHARMACY 10-8138             DAYTONA BEACH    FL   32119      CHAIN      BS8443195              100      100      600               1,000     450      1,800

100071603   044140400   TRISTAR STONECREST MED CTR 712        SMYRNA        TN   37167    HOSPITAL     BS8469202     600     1,650    1,100    1,300     1,650     860     1,193     7,160

100066761   049175844   SOUTHSIDE PHARMACY        CPA         BAY CITY      MI   48708   INDEPENDENT   BS8475445   19,200   25,900   25,300   18,400    21,800   20,100   21,783   130,700

100093604   012108399   SAM'S PHARMACY 10-6624             SAN BERNARDINO   CA   92408      CHAIN      BS8481032              300      500     4,300     4,200    5,300    2,920    14,600
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100093601   008110635   SAM'S PHARMACY 10-6621              ROSEVILLE       CA   95678        CHAIN          BS8481044     300       200      200      2,800     300     1,900     950         5,700

100093480   049189613   SAM'S PHARMACY 10-6359           COMSTOCK PARK      MI   49321        CHAIN          BS8481056     600      1,000    5,000     8,800              900     3,260       16,300

100093322   018396879   SAM'S PHARMACY 10-4795              GRAPEVINE       TX   76051        CHAIN          BS8481068     100                100      3,120             1,200    1,130        4,520

100093473   004091207   SAM'S PHARMACY 10-6352               HUDSON         NH   03051        CHAIN          BS8490586                60       30      1,630     900     1,000     724         3,620

100105804   012056424   SPRING VALLEY MEDICAL CTR           LAS VEGAS       NV   89118       HOSPITAL        BS8495106    3,500     3,200    3,500     3,800    4,600    2,900    3,583       21,500

100093510   020159525   SAM'S PHARMACY 10-6408              SANTA FE        NM   87505        CHAIN          BS8502103                                 4,000    1,400    1,900    2,433        7,300

100083619   023089946   SRIN, INC       SF                   YONKERS        NY   10701     INDEPENDENT       BS8506721                                           100     2,500    1,300        2,600

100093698   023137083   SAM'S PHARMACY 10-8161                YORK          PA   17402        CHAIN          BS8524882      30       100      300      1,200             1,000     526         2,630

100093434   010227082   SAM'S PHARMACY 10-6308              COLUMBUS        OH   43026        CHAIN          BS8526014      40      1,030    1,800     5,500             1,200    1,914        9,570

100063603   023100222   *SHOPRITE PHARMACY #159              HILLSIDE       NJ   07205        CHAIN          BS8526622                         40                                       40       40

100070696   044172437   SPRING VIEW HOSPITAL, LLC #712       LEBANON        KY   40033       HOSPITAL        BS8534643     500       450      500       650      380      580      510         3,060

100053795   017086702   SARMED OUTPATIENT PHARMACY            BOISE         ID   83706       HOSPITAL        BS8540230   18,600    16,200   12,400    18,600   20,900   19,800   17,750      106,500

100096448   017096354   SARMED OUTPATIENT PHCY 340B           BOISE         ID   83706   PHS 340B HOSPITAL   BS8540230    6,100     3,500    3,100     4,400     500              3,520       17,600

100074268   008011189   SCRIPTWORKS, INC. RX CPA          WALNUT CREEK      CA   94598     INDEPENDENT       BS8541345     900       800      500       800      100      100      533         3,200

100093683   046043349   SAM'S PHARMACY 10-8141             MELBOURNE        FL   32904        CHAIN          BS8549555               100      100                         400      200          600

100093625   041145201   SAM'S PHARMACY 10-6655              WALDORF         MD   20601        CHAIN          BS8551079               100                        1,600    1,700    1,133        3,400

100052464   020000570   SUNRISE MEDICAL PHARMACY            LAS VEGAS       NV   89109     INDEPENDENT       BS8558528   10,000     9,500    9,500    11,500    8,400    4,000    8,817       52,900

100053807   010053397   SELECT SPECIALITY HOSP, AKRON        CANTON         OH   44708       HOSPITAL        BS8560535     300       200      100       400      500      200      283         1,700

100069120   049076075   SOUTHEAST,MI SURG. HOSP (MWF)        WARREN         MI   48091       HOSPITAL        BS8565270     100                 50                100      200      113          450

100058345   056100396   *SHOPRITE PHARMACY #521             HAMILTON        NJ   08691        CHAIN          BS8583420               300      100                                  200          400

100093332   049189571   SAM'S PHARMACY 10-4812           FARMINGTON HILLS   MI   48334        CHAIN          BS8589597     100       500      400      2,200     300     1,200     783         4,700

100093449   010227116   SAM'S PHARMACY 10-6322              BOARDMAN        OH   44512        CHAIN          BS8590615                        500      2,660     700     1,600    1,365        5,460

100064111   023100081   *SHOPRITE PHARMACY #118             HOBOKEN         NJ   07030        CHAIN          BS8597532               100      (100)                                 -            -

100093540   044212282   SAM'S PHARMACY 10-6449              PADUCAH         KY   42001        CHAIN          BS8611825                                                   3,500    3,500        3,500

100053811   010053496   SELECT SPECIAL HOSPITAL - PITT     PITTSBURGH       PA   15213       HOSPITAL        BS8612447                        100                200               150          300

100066025   021040006   SELECT SPECIALTY HOSP-WICHITA        WICHITA        KS   67214       HOSPITAL        BS8612803    1,100     1,300     600       750     1,440    1,180    1,062        6,370

100058343   056100370   *SHOPRITE PHCY OF DELRAN #517        DELRAN         NJ   08075        CHAIN          BS8618196     300       100      100       100                        150          600

100064342   019008243   ST ELIZABETH HOSPITAL                CHICAGO        IL   60622       HOSPITAL        BS8618297     250       250      550       150     1,220              484         2,420

100093343   020159368   SAM'S PHARMACY 10-4830              AVONDALE        AZ   85323        CHAIN          BS8620494     200       100     1,020      300     1,600     900      687         4,120

100093600   008110585   SAM'S PHARMACY 10-6620               FOLSOM         CA   95630        CHAIN          BS8621953                        (100)    6,600             1,800    2,767        8,300

100057764   046007013   SELECT SPECIALTY HOSP-PANAMA C     PANAMA CITY      FL   32401       HOSPITAL        BS8627260     500       600      600       600     1,300     320      653         3,920

100093345   032147470   SAM'S PHARMACY 10-4835               RENTON         WA   98055        CHAIN          BS8630267     (300)     200               1,900    1,600    1,800    1,040        5,200

100093336   046043505   SAM'S PHARMACY 10-4818             BROOKSVILLE      FL   34613        CHAIN          BS8635091                        100     15,400                      7,750       15,500

100093496   017096123   SAM'S PHARMACY 10-6379             GREAT FALLS      MT   59404        CHAIN          BS8637754                                                   1,200    1,200        1,200

100053817   010053652   SELECT SPECIALTY HOSPITAL- MCK     MCKEESPORT       PA   15132       HOSPITAL        BS8638148     100       100      300      1,000     180       30      285         1,710

100071448   020140111   SOUTHERN HILLS HOSP      #712       LAS VEGAS       NV   89148       HOSPITAL        BS8645028    1,800     3,200     600      1,600    1,400    2,420    1,837       11,020

100061687   019027268   SHEPLEY PHARMACY                  MOUNT VERNON      IA   52314     INDEPENDENT       BS8648719    9,400     6,800    7,800     5,000    7,000    5,100    6,850       41,100

100093748   041145219   SAM'S PHARMACY 10-8220              ROANOKE         VA   24012        CHAIN          BS8649723               500      300      4,600              400     1,450        5,800

100092355   046042978   SPEEDY SCRIPTS INC               WEST PALM BEACH    FL   33407     INDEPENDENT       BS8650675     800      1,300     600      1,800     500     2,500    1,250        7,500

100064373   018066266   ST JOHN SAPULPA, INC                 SAPULPA        OK   74066       HOSPITAL        BS8680200     900       600      500       550      920      300      628         3,770

100075344   019160291   SRC PHARMACY LLC                  CONNERSVILLE      IN   47331   LONG TERM CARE      BS8683511     500       500      900       200               600      540         2,700

100067909   024110494   SANSUM SANTA BARBARA MEDICAL      SANTA BARBARA     CA   93110     INDEPENDENT       BS8689309                50      100        50      100                    75      300

100052544   010053827   SCRIPTSHOP PHARMACY       APSC       NAVARRE        OH   44662     INDEPENDENT       BS8690326    9,000     9,900    9,300     9,900    9,800    8,900    9,467       56,800

100093590   020159251   SAM'S PHARMACY 10-6606               PHOENIX        AZ   85037        CHAIN          BS8731235                                  700      700     1,200     867         2,600
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100062276   037103655   SAENZ MEDICAL PHARMACY SF             MISSION        TX   78572    INDEPENDENT      BS8731413    4,700       6,800    6,300    4,800    3,300     2,500    4,733     28,400

100088894   021166827   STOCKSTILLS PHARMACY      CPA        RICHLAND        MO   65556    INDEPENDENT      BS8736057   13,300      38,600   16,300   25,200   15,800    13,200   20,400    122,400

100059093   056100792   *SHOPRITE PHARMACY #663               BAYVILLE       NJ   08721       CHAIN         BS8742404                 800      400                                  600       1,200

100067828   044140996   SUMMIT SURGERY CENTER      #701      HERMITAGE       TN   37076      HOSPITAL       BS8760200     200                           200                         200        400

100093335   052215061   SAM'S PHARMACY 10-4817              BIRMINGHAM       AL   35235       CHAIN         BS8761404     200         300      200    11,500              2,500    2,940     14,700

100093402   040114926   SAM'S PHARMACY 10-6204               VALDOSTA        GA   31601       CHAIN         BS8778005     100        1,000            11,000     200       800     2,620     13,100

100093482   046043612   SAM'S PHARMACY 10-6361            FT. WALTON BEACH   FL   32547       CHAIN         BS8781329     500        1,100     600     3,800                       1,500      6,000

100093791   018396747   SAM'S PHARMACY 10-8279               AMARILLO        TX   79103       CHAIN         BS8781963    7,000       7,000    7,400   13,600              2,500    7,500     37,500

100062450   056100313   *SHOPRITE PHARMACY #500            LAWRENCEVILLE     NJ   08648       CHAIN         BS8789034     (100)                                                     (100)      (100)

100052311   020079020   *SPECTRUM PHARMACY SERV,INC         HENDERSON        NV   89014   LONG TERM CARE    BS8797017   11,500                                                    11,500     11,500

100061049   023008805   SELECT SPECIALTY HOSP                 DANVILLE       PA   17822      HOSPITAL       BS8812112                 100                                           100        100

100093636   049189514   SAM'S PHARMACY 10-6667               YPSILANTI       MI   48197       CHAIN         BS8815461    1,800        200     1,800    2,200     300      1,000    1,217      7,300

100093310   049189563   SAM'S PHARMACY 10-4781                LANSING        MI   48912       CHAIN         BS8815473                         1,000     600     1,500     1,100    1,050      4,200

100093693   046043364   SAM'S PHARMACY 10-8151              PANAMA CITY      FL   32405       CHAIN         BS8825905      -                   100    17,200   (2,900)    6,000    4,080     20,400

100066733   021046805   SELECT SPECIALTY HOSPITAL W.MO      KANSAS CITY      MO   64132      HOSPITAL       BS8827288     600         200     1,000     500      720       280      550       3,300

100093344   055032375   SAM'S PHARMACY 10-4831                DURHAM         NC   27707       CHAIN         BS8832479     200         100              2,900              1,100    1,075      4,300

100052627   010054080   SELECT SPEC HOSP MT CARMEL           COLUMBUS        OH   43222      HOSPITAL       BS8837152     100         500      100               500                300       1,200

100093576   038106088   SAM'S PHARMACY 10-6549                PUEBLO         CO   81008       CHAIN         BS8838534     100         100     2,100   12,500    2,900      400     3,017     18,100

100063818   019040246   SAULT STE MARIE TRIBAL HLTH 1       MANISTIQUE       MI   49854   PHS 340B CLINIC   BS8889226    5,000       3,000   16,000    1,500     500      3,500    4,917     29,500

100093353   044212175   SAM'S PHARMACY 10-4851              CLARKSVILLE      IN   47129       CHAIN         BS8900359     200                  100     8,100     400      5,800    2,920     14,600

100093744   019162016   SAM'S PHARMACY 10-8215              SPRINGFIELD      IL   62704       CHAIN         BS8902391                2,000    1,300   11,500               600     3,850     15,400

100093647   010226878   SAM'S PHARMACY 10-6679              WEST MIFFLIN     PA   15122       CHAIN         BS8902860     230         260      530      260               1,390     534       2,670

100093688   021168633   SAM'S PHARMACY 10-8146                OMAHA          NE   68137       CHAIN         BS8904181                 200      500      800     1,400     1,900     960       4,800

100093610   038106138   SAM'S PHARMACY 10-6633              FORT COLLINS     CO   80525       CHAIN         BS8906440                                  1,000    2,100      900     1,333      4,000

100093714   004091132   SAM'S PHARMACY 10-8179               HENRIETTA       NY   14467       CHAIN         BS8925589                          200     1,000     500       400      525       2,100

100093453   010227132   SAM'S PHARMACY 10-6327                WARREN         OH   44484       CHAIN         BS8928129                1,000     900     1,600               100      900       3,600

100065206   010020255   SYLVANIA PHARMACY        APSC        SYLVANIA        OH   43560    INDEPENDENT      BS8954251    2,000       4,300    2,800    2,200    4,700     3,700    3,283     19,700

100096804   021078063   ST MARY'S PHARMACY CPA               ST MARYS        KS   66536    INDEPENDENT      BS8963046    5,700       2,100    3,100    6,400    6,000     5,500    4,800     28,800

100093751   055032300   SAM'S PHARMACY 10-8223                RALEIGH        NC   27603       CHAIN         BS8965735                                  1,800    1,100     1,500    1,467      4,400

100093653   032147454   SAM'S PHARMACY 10-6687                SEATTLE        WA   98133       CHAIN         BS8966701    1,000                1,000                        500      833       2,500

100093526   049189647   SAM'S PHARMACY 10-6429             BATTLE CREEK      MI   49014       CHAIN         BS8968781                 200     1,000    5,000    2,400     1,000    1,920      9,600

100087774   038102673   ROCKY MOUNTAIN SURG CTR #712        ENGLEWOOD        CO   80110      HOSPITAL       BS8971637                 100                         80       160      113        340

100093544   049189654   SAM'S PHARMACY 10-6454              SOUTHFIELD       MI   48034       CHAIN         BS8972691     200         600     1,400    1,500    1,500     1,200    1,067      6,400

100058593   056100552   *SHOPRITE PHARMACY #572             BORDENTOWN       NJ   08505       CHAIN         BS8975104     100         400      200      300                         250       1,000

100093704   019161943   SAM'S PHARMACY 10-8167               FRANKLIN        WI   53132       CHAIN         BS8976310    1,100       1,300    1,000    1,800               400     1,120      5,600

100093535   004091280   SAM'S PHARMACY 10-6442                ORANGE         CT   06477       CHAIN         BS8976334     100         200      300      800                300      340       1,700

100093339   012108472   SAM'S PHARMACY 10-4822               MURRIETA        CA   92563       CHAIN         BS8977261                         1,000    1,700     900      2,400    1,500      6,000

100063941   023100362   *SHOPRITE PHARMACY #212              FLANDERS        NJ   07836       CHAIN         BS9009362     200         300                -                          167        500

100052833   052094490   SPRINGVILLE DISC. DRUG    CPA       SPRINGVILLE      AL   35146    INDEPENDENT      BS9017080   10,000      17,800    9,600   28,700     100     19,500   14,283     85,700

100089893   018236687   SOLARA HOSPITAL OF SHAWNEE           SHAWNEE         OK   74801      HOSPITAL       BS9028615    1,000        500      500      600      880       460      657       3,940

100093563   044212019   SAM'S PHARMACY 10-6512              CLARKSVILLE      TN   37040       CHAIN         BS9030191          20                      2,600              1,100    1,240      3,720

100093295   018396853   SAM'S PHARMACY 10-4761                NORMAN         OK   73072       CHAIN         BS9030204                          100     2,300              2,000    1,467      4,400

100075606   037117549   QVL PHARMACY 222                   BATON ROUGE       LA   70809    INDEPENDENT      BS9040712   12,600       4,000    3,000    9,700    3,000     3,000    5,883     35,300

100076647   055046698   SC ONCOLOGY RETAIL PHCY (X)          COLUMBIA        SC   29210     ONCOLOGY        BS9060283    4,500       5,300    3,000    2,500    7,000     5,900    4,700     28,200
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100055811   046008672   SOUTHERN BAPTIST HOSPITAL OF        JACKSONVILLE       FL   32258       HOSPITAL        BS9066045   1,600     800     2,700     1,500    1,300    2,500    1,733    10,400

100059602   046027029   SOUTHERN BAPTIST HOSP 340B          JACKSONVILLE       FL   32258   PHS 340B HOSPITAL   BS9066045    800     1,000    1,000      300               500      720      3,600

100065336   049083592   *SCHMIDT & SONS PHCY      SF         BLISSFIELD        MI   49228     INDEPENDENT       BS9067706   8,600    7,600    8,500                                8,233    24,700

100058344   056100388   *SHOPRITE PHARMACY #519             PHILADELPHIA       PA   19128        CHAIN          BS9069027                      (200)                                (200)     (200)

100075529   018169110   *QVL PHARMACY 101                     LONGVIEW         TX   75605     INDEPENDENT       BS9069178   3,000                                                  3,000     3,000

100093752   018396572   SAM'S PHARMACY 10-8224              WICHITA FALLS      TX   76308        CHAIN          BS9072682                              11,300             2,600    6,950    13,900

100104126   004101592   SAINT VINCENT HOSP PHARM(GPO)        WORCESTER         MA   01608     INDEPENDENT       BS9091947   2,600    6,300     500      4,200                      3,400    13,600

100068146   004142075   SAINT VINCENT HOSPITAL               WORCESTER         MA   01608       HOSPITAL        BS9091947    900     1,150    1,600      600     1,770             1,204     6,020

100061326   041105197   TERRAPIN PHARMACY (Z)B05 CPA         ANNAPOLIS         MD   21401   LONG TERM CARE      BS9093307    200      100      800       600      800               500      2,500

100060342   056060509   SOMERTON PHARMACY (Z)               PHILADELPHIA       PA   19116     INDEPENDENT       BS9094931    400      600      100       100                        300      1,200

100093759   019162024   SAM'S PHARMACY 10-8238               DAVENPORT         IA   52807        CHAIN          BS9100520     30      300      100       800     1,800    1,200     705      4,230

100093538   044212274   SAM'S PHARMACY 10-6447                NASHVILLE        TN   37209        CHAIN          BS9112082    100      100      100       200              1,500     400      2,000

100076657   055049908   SILER CITY COMM HEALTH(340B)          SILER CITY       NC   27344    PHS 340B CLINIC    BS9113666    200      400      700       400      300      500      417      2,500

100060797   023010132   ADVANCED PHARMACY                   PERTH AMBOY        NJ   08861     INDEPENDENT       BS9114000    100      100      100       200               100      120       600

100109473   019186783   SOUTHWEST HLTH CTR-NURS HOME         PLATTEVILLE       WI   53818       HOSPITAL        BS9114315   1,000     500     1,600      700                        950      3,800

100109470   019186767   SOUTHWEST HEALTH CENTER, INC         PLATTEVILLE       WI   53818       HOSPITAL        BS9114315             100      200       100     2,240     700      668      3,340

100093337   024119537   SAM'S PHARMACY 10-4819               BAKERSFIELD       CA   93313        CHAIN          BS9127615                                                  800      800       800

100104195   004101691   SOUND SHORE PHARMACY (MT VERN)      MOUNT VERNON       NY   10550     INDEPENDENT       BS9127742    400      600                500              1,500     750      3,000

100069570   004089532   SULLIVAN PHARMACY INC(GNP)(X)          LIBERTY         NY   12754     INDEPENDENT       BS9128516            1,000               300      200     3,000    1,125     4,500

100074793   008090936   SUTTER FAIRFIELD SURGERY CTR          FAIRFIELD        CA   94534       HOSPITAL        BS9131563                      100                                  100       100

100093711   021168658   SAM'S PHARMACY 10-8176                 TOPEKA          KS   66604        CHAIN          BS9138050    900                        3,300    2,000    2,800    2,250     9,000

100055393   008048918   SUNSHINE CENTER PHCY             SOUTH SAN FRANCISCO   CA   94080     INDEPENDENT       BS9139913   9,500   14,000   10,500     9,500   27,100   13,500   14,017    84,100

100057441   008006700   PHARMERICA (RENO)                       RENO           NV   89502   LONG TERM CARE      BS9142821   3,250    3,700    4,000     7,000    2,500    1,000    3,575    21,450

100058474   019040659   ST JOSEPH'S COMM HOSPITAL IP         WEST BEND         WI   53095       HOSPITAL        BS9163281    600      800      800       600     1,380     680      810      4,860

100093684   055032227   SAM'S PHARMACY 10-8142              SPARTANBURG        SC   29301        CHAIN          BS9174082    200      500      100      6,200    1,100    2,600    1,783    10,700

100062449   023100743   *SHOPRITE PHARMACY #497                CLINTON         NJ   08809        CHAIN          BS9174436     20               300                                  160       320

100093798   018396770   SAM'S PHARMACY 10-8286                  WACO           TX   76705        CHAIN          BS9193652   4,700    3,800    4,300     4,400              900     3,620    18,100

100076858   044089425   TIMBERLAKE SURGERY CENTER           CHESTERFIELD       MO   63017       HOSPITAL        BS9200356                                100                        100       100

100067424   021055608   MERCY PHARMACY NIXA SOM/GNP             NIXA           MO   65714       HOSPITAL        BS9209823   9,300   10,800    8,900     9,000   11,600   10,100    9,950    59,700

100094190   021031559   MERCY PHARMACY-NIXA 340B                NIXA           MO   65714   PHS 340B HOSPITAL   BS9209823    100      100                                           100       200

100093354   046043513   SAM'S PHARMACY 10-4852             WESLEY CHAPEL       FL   33543        CHAIN          BS9214975                                600      100     1,000     567      1,700

100062367   056100255   *SHOPRITE PHARMACY #413              EDDYSTONE         PA   19022        CHAIN          BS9220803                                200                        200       200

100093366   021168757   SAM'S PHARMACY 10-4920              SAINT JOSEPH       MO   64506        CHAIN          BS9227023   2,900    2,200     400      3,200    2,200    2,500    2,233    13,400

100093562   044212001   SAM'S PHARMACY 10-6507                JACKSON          TN   38305        CHAIN          BS9235676             200      (200)    8,200             1,800    2,500    10,000

100093368   020159384   SAM'S PHARMACY 10-4927                CHANDLER         AZ   85286        CHAIN          BS9240526   1,700    1,260    1,100     2,400    1,200    1,400    1,510     9,060

100065561   037095604   HOUSTON PHYSICIAN'S HOSPITAL          WEBSTER          TX   77598       HOSPITAL        BS9264069    300      400      500       500               500      440      2,200

100093628   049189431   SAM'S PHARMACY 10-6659             MADISON HEIGHTS     MI   48071        CHAIN          BS9277713   6,000    5,500    8,500     7,800     500     2,300    5,100    30,600

100093558   044211995   SAM'S PHARMACY 10-6501             MURFREESBORO        TN   37129        CHAIN          BS9297690    300               500      3,000             2,600    1,600     6,400

100093644   023137042   SAM'S PHARMACY 10-6676              WILLOW GROVE       PA   19090        CHAIN          BS9305512            1,500     100      2,000     100      400      820      4,100

100093700   021168641   SAM'S PHARMACY 10-8163                COLUMBIA         MO   65201        CHAIN          BS9315599                                                 1,000    1,000     1,000

100071364   004140095   SALEM SURGERY CENTER      #712         SALEM           NH   03079       HOSPITAL        BS9337608    100                                                    100       100

100093659   052214940   SAM'S PHARMACY 10-8107               HUNTSVILLE        AL   35803        CHAIN          BS9377551                               9,700              700     5,200    10,400

100061391   040069815   SELECT SPEC HOSP SAVANNAH,I           SAVANNAH         GA   31405       HOSPITAL        BS9415060    300      400      300       100      200      700      333      2,000

100055432   040048181   SELECT SPECIALTY HOSP-AUGUSTA         AUGUSTA          GA   30904       HOSPITAL        BS9415072    800      400      200       600      600               520      2,600
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100093461   018397000   SAM'S PHARMACY 10-6336               TEMPLE        TX   76502        CHAIN          BS9421758     60                        (60)             2,800     933     2,800

100093340   024119545   SAM'S PHARMACY 10-4824            SANTA CLARITA    CA   91350        CHAIN          BS9426241                                                1,000    1,000    1,000

100093556   019161836   SAM'S PHARMACY 10-6488             WOODRIDGE       IL   60517        CHAIN          BS9431850   1,000   1,000    1,500    2,700     1,500     600     1,383    8,300

100074986   046127720   SPEEDY SCRIPTS II PHARMACY       FORT LAUDERDALE   FL   33311     INDEPENDENT       BS9433323                     200      100       600               300      900

100093365   020159376   SAM'S PHARMACY 10-4915            BULLHEAD CITY    AZ   86429        CHAIN          BS9440203    700             3,800   11,700     2,200   12,100    6,100   30,500

100093524   025087338   SAM'S PHARMACY 10-6427             ROCHESTER       MN   55901        CHAIN          BS9443932            100                         200      100      133      400

100093746   055032284   SAM'S PHARMACY 10-8218            FAYETTEVILLE     NC   28303        CHAIN          BS9465469    200                      2,800      200              1,067    3,200

100093532   018397083   SAM'S PHARMACY 10-6439               ODESSA        TX   79762        CHAIN          BS9474660    500     500      100    11,500               600     2,640   13,200

100093778   037130658   SAM'S PHARMACY 10-8265            LAKE CHARLES     LA   70601        CHAIN          BS9476373    320     120      100      700               1,200     488     2,440

100093645   010226852   SAM'S PHARMACY 10-6677            MONROEVILLE      PA   15146        CHAIN          BS9480574    500     500     1,600     900               1,500    1,000    5,000

100093633   049189480   SAM'S PHARMACY 10-6664                UTICA        MI   48315        CHAIN          BS9482112    200     400              3,600              2,900    1,775    7,100

100093521   018397075   SAM'S PHARMACY 10-6422              LONGVIEW       TX   75605        CHAIN          BS9491971     20                      4,500      300     2,500    1,830    7,320

100093757   052214999   SAM'S PHARMACY 10-8236              GULFPORT       MS   39503        CHAIN          BS9492098   2,700   3,500    3,000    5,000              5,500    3,940   19,700

100064113   023100107   *SHOPRITE PHARMACY #120              PASSAIC       NJ   07055        CHAIN          BS9494977                     400      300                         350      700

100071952   008140038   SAN JOAQUIN VALLEY REHAB HOSP        FRESNO        CA   93720       HOSPITAL        BS9518335   2,700   2,800    2,200    2,150     2,160    2,360    2,395   14,370

100073456   018094334   STONEGATE PHARMACY                   AUSTIN        TX   78745     INDEPENDENT       BS9523071   8,000   9,600    7,300    6,000    25,000            11,180   55,900

100093376   018396929   SAM'S CLUB PHARMACY 10-4948        SAN ANGELO      TX   76901        CHAIN          BS9533351                            33,200              3,000   18,100   36,200

100063946   023100420   *SHOPRITE PHARMACY #224           HACKETTSTOWN     NJ   07840        CHAIN          BS9542576    100     300      100      200                         175      700

100093362   044212191   SAM'S CLUB PHARMACY 10-4876      BOWLING GREEN     KY   42103        CHAIN          BS9544316                     500                         500      500     1,000

100060033   038300111   ST. ANTHONY SUMMIT MEDICAL CTR       FRISCO        CO   80443       HOSPITAL        BS9545902    100      50      300      500        80               206     1,030

100064863   021009613   SAINT LUKE'S EAST-LEE'S SUMMIT     LEES SUMMIT     MO   64086       HOSPITAL        BS9554014   3,400   2,400    2,600    3,750     2,840    2,600    2,932   17,590

100084619   021145433   SAINT LUKE'S EAST LEES SUMMIT      LEES SUMMIT     MO   64086       HOSPITAL        BS9554014   1,400   1,700    1,900    1,100     2,400    1,500    1,667   10,000

100093070   018396390   ST FRANCIS MED CTR INC -N HOSP       MONROE        LA   71203       HOSPITAL        BS9554937    400     200      400                                  333     1,000

100054579   017053447   MEDICAL PLAZA PHARMACY G          SALT LAKE CITY   UT   84102     INDEPENDENT       BS9559191   2,200   2,200    4,200    2,500      500      500     2,017   12,100

100093551   021168823   SAM'S PHARMACY 10-6472           COUNCIL BLUFFS    IA   51501        CHAIN          BS9565182           1,400    2,200    2,400      900      400     1,460    7,300

100093699   019161927   SAM'S PHARMACY 10-8162            CEDAR RAPIDS     IA   52402        CHAIN          BS9569560                     200      800                700      567     1,700

100064714   010300053   ST. JOSEPH BEREA                     BEREA         KY   40403       HOSPITAL        BS9572531    500     300      500      200       400      600      417     2,500

100084030   010193342   ST. JOSEPH BEREA 340B                BEREA         KY   40403   PHS 340B HOSPITAL   BS9572531            200      200                                  200      400

100074295   037112318   SAENZ MED PHCY RENAISSANCE SF       EDINBURG       TX   78539     INDEPENDENT       BS9573191    900     900      300      500      1,200     100      650     3,900

100060481   046132423   SARNO PHARM THE MEDICINE SHOPP     MELBOURNE       FL   32935     INDEPENDENT       BS9574737   1,300                              15,200    3,400    6,633   19,900

100093630   049189456   SAM'S PHARMACY 10-6661              PORTAGE        MI   49002        CHAIN          BS9575335            400      100     2,300              1,100     975     3,900

100093372   049189589   SAM'S PHARMACY 10-4944            GRAND BLANC      MI   48439        CHAIN          BS9575347           1,200    2,200    1,100     3,200    5,400    2,620   13,100

100093367   019162081   SAM'S PHARMACY 10-4926              COLUMBUS       IN   47201        CHAIN          BS9585122           1,200    3,500    1,800      500     2,500    1,900    9,500

100093370   020159392   SAM'S CLUB PHARMACY 10-4938       ALBUQUERQUE      NM   87107        CHAIN          BS9591632            100              1,700     3,800     900     1,625    6,500

100093567   037130518   SAM'S PHARMACY 10-6521               HOUMA         LA   70360        CHAIN          BS9603590             40       80     2,500               400      755     3,020

100093378   010227017   SAM'S CLUB PHARMACY 10-4952         TARENTUM       PA   15084        CHAIN          BS9605784    200     300     1,400    1,100      700      900      767     4,600

100065207   019039974   SEIFERT DRUG,HAKIM HEALTH CARE      ELKHART        IN   46516     INDEPENDENT       BS9607637   7,800   7,900    6,300    5,100     9,140    3,800    6,673   40,040

100068368   055143057   STERLING PHCY SYSTEMS LLC(XCPA      LEXINGTON      SC   29072   LONG TERM CARE      BS9608449   1,000    (100)    100                                  333     1,000

100089006   055030841   STERLING PHCY SYS LLC GERI CPA      LEXINGTON      SC   29072   LONG TERM CARE      BS9608449    100                                                   100      100

100093351   010226977   SAM'S CLUB PHARMACY 10-4847       GREENSBURG       PA   15601        CHAIN          BS9608590                                                 200      200      200

100064253   037096099   SAVON DRUGS                       EAST BERNARD     TX   77435     INDEPENDENT       BS9634432   5,000   5,900    5,500    3,100     2,600    3,500    4,267   25,600

100105614   004102368   VIBRA HOSP OF WESTERN MASS LLC     SPRINGFIELD     MA   01109       HOSPITAL        BS9649217    100     400      200      300                100      220     1,100

100064247   008066365   STONERIDGE PROF PHCY               PLEASANTON      CA   94588     INDEPENDENT       BS9651779                                       3,500     500     2,000    4,000

100093735   044212076   SAM'S PHARMACY 10-8205             SAINT LOUIS     MO   63129        CHAIN          BS9653204                             1,200     2,000    1,600    1,600    4,800
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100065538   049109272   SELECT SPEC HOSP GROSSE POINTE     GROSSE POINTE    MI   48230       HOSPITAL        BS9660970     300      500      400       550       240      500      415       2,490

100066189   008023598   CSU HUMBOLDT                          ARCATA        CA   95521       ALT SITE        BS9666592                     (2,000)                               (2,000)    (2,000)

100093639   023137034   SAM'S CLUB PHARMACY 10-6671          FREEHOLD       NJ   07728        CHAIN          BS9668863     100               100       100                         100        300

100060049   052098178   SPRINGHILL PHAR LLC RETAIL             MOBILE       AL   36608     INDEPENDENT       BS9670933   16,000   20,800   24,300    18,000    39,480   33,600   25,363    152,180

100060618   052098186   SPRINGHILL PHAR LLC LTC                MOBILE       AL   36608     INDEPENDENT       BS9670933    3,100    1,500    2,600     1,500                       2,175      8,700

100062365   004100164   *SHOPRITE PHARMACY #397              STAMFORD       CT   06902        CHAIN          BS9689514              100                                            100        100

100093294   026014183   SAM'S PHARMACY #10-4755              HONOLULU       HI   96814        CHAIN          BS9707982                                2,300              1,600    1,950      3,900

100061165   008042689   SUTTER PHARMACY                      YUBA CITY      CA   95991     INDEPENDENT       BS9713163   40,000   33,000   24,000    47,000    47,400   41,300   38,783    232,700

100059280   019040626   SELECT SPECIALTY HOSP,QUADCITY       DAVENPORT      IA   52806       HOSPITAL        BS9714557     700      400      300       500       160     1,280     557       3,340

100057716   041097808   SENTARA O/P LOUISE OBICI MEM          SUFFOLK       VA   23434       HOSPITAL        BS9734701    1,700     700     2,000     1,200     2,500    3,000    1,850     11,100

100057717   041097790   SENTARA LOUISE OBICI MEM I/P          SUFFOLK       VA   23434       HOSPITAL        BS9734701     800     1,500    1,000     1,000     1,700     800     1,133      6,800

100093592   012108357   SAM'S PHARMACY 10-6609              PALM DESERT     CA   92211        CHAIN          BS9738242                       200      2,900               200     1,100      3,300

100093455   044212258   SAM'S PHARMACY #10-6329               TUPELO        MS   38804        CHAIN          BS9759640      30               130      2,200               600      740       2,960

100087290   004086561   STANDARD PHARMACY CPA                FALL RIVER     MA   02724     INDEPENDENT       BS9764590    3,000    4,600    5,100     5,400      400      300     3,133     18,800

100093646   010226860   SAM'S PHARMACY 10-6678               PITTSBURGH     PA   15237        CHAIN          BS9766962     100              2,000      700      1,000     800      920       4,600

100074269   008011239   SILVERADO PHARMACY RX CPA            CALISTOGA      CA   94515     INDEPENDENT       BS9787497    2,800    3,500    6,500     3,600     1,900    5,000    3,883     23,300

100059775   037101139   SOUTHSIDE PHARMACY                    HOUSTON       TX   77030     INDEPENDENT       BS9794276     500              1,400      300       500     3,400    1,220      6,100

100093725   052214965   SAM'S PHARMACY 10-8192                DOTHAN        AL   36303        CHAIN          BS9798527     100      800      720      2,000                        905       3,620

100064544   041097931   SENTARA PORT WARWICK II      R57   NEWPORT NEWS     VA   23606       HOSPITAL        BS9814193     200      200                300                200      225        900

100093626   049189415   SAM'S PHARMACY 10-6657                  NOVI        MI   48374        CHAIN          BS9816096    1,000    1,400    2,800     3,800                       2,250      9,000

100089546   020158030   ST ROSE DOMINICAN HOSP SM            LAS VEGAS      NV   89113       HOSPITAL        BS9828356    1,500    1,800    2,200     1,800     1,760    2,700    1,960     11,760

100107452   021174292   SEDAN PHARMACY CPA                     SEDAN        KS   67361     INDEPENDENT       BS9836884   12,000    2,000    5,300     8,000     3,200    2,200    5,450     32,700

100062278   046026930   BEE RIDGE PHARMACY         CPA       SARASOTA       FL   34233     INDEPENDENT       BS9839424    3,500    4,000    1,500     2,500     6,800    2,300    3,433     20,600

100072253   037143164   SHOLARS MEDICINE CHEST       CPA      ORANGE        TX   77630     INDEPENDENT       BS9849689   14,300   16,100   11,300     2,400             17,500   12,320     61,600

100061167   056050799   SQA PHARMACY SERVICES INC(X)        PHILADELPHIA    PA   19144   LONG TERM CARE      BS9858347              200                100                300      200        600

100071849   056070540   SQA PHARMACY SERV INC(340B)         PHILADELPHIA    PA   19144    PHS 340B CLINIC    BS9858347     100                         (100)                        -          -

100093381   020159418   SAM'S PHARMACY 10-4961                ROSWELL       NM   88201        CHAIN          BS9880825                                6,000     1,200    3,200    3,467     10,400

100093732   040114793   SAM'S PHARMACY 10-8202               SAVANNAH       GA   31406        CHAIN          BS9888162              100      100      4,500               900     1,400      5,600

100060403   052160424   SUMRALL DRUG STORE         SF         SUMRALL       MS   39482     INDEPENDENT       BS9895523   17,000   20,000   18,600    14,900    20,000   11,700   17,033    102,200

100109792   041154674   MEDICAP PHARMACY                       BEL AIR      MD   21014     INDEPENDENT       BS9895535     500               100       300       500      100      300       1,500

100061916   046026773   MEMORIAL PRIMARY CARE PHS            HOLLYWOOD      FL   33021   PHS 340B HOSPITAL   BS9912420    1,200    2,400    2,400     2,500     3,500    2,000    2,333     14,000

100059015   056100636   *SHOPRITE PHARMACY #615               SEWELL        NJ   08080        CHAIN          BS9929019              100      200                                   150        300

100064611   019031880   SELECT SPECIALTY HOSP -MADISON        MADISON       WI   53715       HOSPITAL        BS9932345     100      400      300                 500               325       1,300

100073144   010123398   SAVE RITE PHARMACY    APSC            BELLAIRE      OH   43906     INDEPENDENT       BS9946217   10,500    6,500    7,400     7,100     9,600    7,100    8,033     48,200

100069858   037175869   S & R DRUG CO        CPA             KIRBYVILLE     TX   75956     INDEPENDENT       BS9952006   36,700   13,200   25,200      100     29,600    9,200   19,000    114,000

100058840   041100552   SENTARA PRINCESS ANNE PHCY R54     VIRGINIA BEACH   VA   23456       HOSPITAL        BS9960205    1,400    2,000    2,400     1,800     1,400    2,800    1,967     11,800

100093383   010227033   SAM'S PHARMACY 10-4963              CHILLICOTHE     OH   45601        CHAIN          BS9962526     500               300      3,700     1,800    2,000    1,660      8,300

100093382   010227025   SAM'S PHARMACY 10-4962               SANDUSKY       OH   44870        CHAIN          BS9962538                       500      4,600     1,600    1,000    1,925      7,700

100076373   037030759   SWLA CTR FOR HEALTH SERV 340B       LAKE CHARLES    LA   70601    PHS 340B CLINIC    BS9963857    1,700    3,000    2,200     1,700                       2,150      8,600

100089901   037129031   SOLARA HOSPITAL OF HARLINGEN         HARLINGEN      TX   78550       HOSPITAL        BS9964126     600      300      300       600       160      400      393       2,360

100093527   004091264   SAM'S PHARMACY 10-6431                 ELMIRA       NY   14903        CHAIN          BS9964328     400     1,000              2,100      700     3,200    1,480      7,400

100071376   018140244   ST DAVID'S GEORGETOWN HOSP HCA      GEORGETOWN      TX   78626       HOSPITAL        BS9972731    2,500    4,700    1,050     3,550     2,980    2,820    2,933     17,600

100058841   041100560   SENTARA PRINCESS ANNE(RET) R54     VIRGINIA BEACH   VA   23456       HOSPITAL        BS9976260    1,100    2,200                                          1,650      3,300

100093377   055032433   SAM'S PHARMACY 10-4950             HENDERSONVILLE   NC   28792        CHAIN          BS9976284    1,300             1,600     8,000     1,000    1,100    2,600     13,000
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100093385   018396945   SAM'S PHARMACY 10-4969                   BENTONVILLE       AR   72712       CHAIN         BS9991387              200      100      3,900              1,500     1,425     5,700

100093678   010226910   SAM'S PHARMACY 10-8136               WASHINGTON TOWNSHIP   OH   45459       CHAIN         BS9993963     500      600      100       400     1,900     2,900     1,067     6,400

100093741   052214973   SAM'S PHARMACY 10-8212                    IRONDALE         AL   35210       CHAIN         BS9994066    1,000     600               4,500   (1,600)     500      1,000     5,000

100053569   024064907   THANH'S PHARMACY (4)                     LOS ANGELES       CA   90012    INDEPENDENT      BT0180113     300      400      500       900      400                 500      2,500

100052867   010045955   HENDERSON PHARMACY SVCS APSC             CHILLICOTHE       OH   45601    INDEPENDENT      BT0277992    8,100   11,200   12,800     8,500    9,200     8,500     9,717    58,300

100087055   010214031   HENDERSON PHARMACY SVSC 340B             CHILLICOTHE       OH   45601   PHS 340B CLINIC   BT0277992     100      200      100                                    133       400

100109660   052224790   *FRED'S PHARMACY #3714 RX               JOHNSON CITY       TN   37601       CHAIN         BT0367210   10,800   12,000   12,400    13,000     300                9,700    48,500

100085558   010209916   THOMPSON DISCOUNT DRUG                     LONDON          KY   40741    INDEPENDENT      BT0388048   25,700   21,000   28,100    24,400   46,100     9,400    25,783   154,700

100074866   044178749   MEDICINE CENTRE PHARMACY CPA           CAMPBELLSVILLE      KY   42718    INDEPENDENT      BT0430708    2,800     400      200      1,000    3,300     4,600     2,050    12,300

100067718   040143826   THE PRESCRIPTION SHOPPE PH CPA             ALBANY          GA   31701    INDEPENDENT      BT0581012    2,900    2,900    3,600     2,600    1,600     2,300     2,650    15,900

100106505   021173542   TWO RIVERS PSYCHIATRIC HOSP              KANSAS CITY       MO   64133      HOSPITAL       BT0688614     600      500      300       300      460       260       403      2,420

100066949   049045013   THE MEDICINE CABINET                     SOUTHFIELD        MI   48076    INDEPENDENT      BT0771154     100                        4,500    9,500     1,000     3,775    15,100

100058374   049114124   THE MEDICINE CABINET                     SOUTHFIELD        MI   48076    INDEPENDENT      BT0771154     200                         200                          200       400

100090127   032143883   TRI STATE MEMORIAL HOSP                  CLARKSTON         WA   99403      HOSPITAL       BT0918601     600     1,800    2,100     1,400     580       560      1,173     7,040

100056259   040040568   MYCARE PHARMACY RX #8250                  COLUMBUS         GA   31901    INDEPENDENT      BT0922179    4,100    3,200    4,000     4,600    5,100     3,200     4,033    24,200

100056519   040040758   MYCARE PHARMACY #8250                     COLUMBUS         GA   31901    INDEPENDENT      BT0922179                       100       100                          100       200

100053798   017086793   TERRY REILLY HEALTH SVCS                   NAMPA           ID   83687   PHS 340B CLINIC   BT0935253    7,100    7,900    8,500     8,900    8,200     5,700     7,717    46,300

100063033   021001784   STORMONT-VAIL DAY SURGERY                  TOPEKA          KS   66606      HOSPITAL       BT1147607                                          180       200       190       380

100060409   046132449   CARL D. ACQUAVIVA/ACQUAVIVA PH            PALM BAY         FL   32905    INDEPENDENT      BT1411761    5,200    5,600    5,200     1,300    4,500     4,400     4,367    26,200

100052072   010042051   THE MEDICINE SHOPPE      PFOA             LEBANON          OH   45036    INDEPENDENT      BT1449330             1,500     (500)    2,500    3,000     4,000     2,100    10,500

100088030   055029223   THE MEDICINE MART PHCY CPA                 CONWAY          SC   29526    INDEPENDENT      BT1566528    2,500    1,500    1,000     8,500    7,500     7,000     4,667    28,000

100063959   019002493   T E E M TRADING COMPANY INC                TOPEKA          IN   46571    INDEPENDENT      BT1621526   10,200   10,600    9,500    14,000    8,000    10,000    10,383    62,300

100065387   049044669   THE CLINIC PHARMACY      APSC              TOLEDO          OH   43623    INDEPENDENT      BT1621540    3,000    5,500    4,500     3,600    6,000     5,000     4,600    27,600

100099848   018399410   WALGREENS #15812         DSD                TULSA          OK   74133    WALGREENS        BT1626033             5,100   18,100    19,100   23,800    18,500    16,920    84,600

100054604   012060558   TAM'S RX PHARMACY                       WESTMINSTER        CA   92683    INDEPENDENT      BT1638165     400      400      400       400                          400      1,600

100103966   018056903   T B BOND LTC                              HILLSBORO        TX   76645    INDEPENDENT      BT1649740    1,000    6,200    5,600     4,300    6,100     4,100     4,550    27,300

100104192   018353581   T B BOND PHARMACY                         HILLSBORO        TX   76645    INDEPENDENT      BT1649740    6,600    4,000    2,000               200                3,200    12,800

100053488   024064329   TAI ON PHARMACY                          LOS ANGELES       CA   90012    INDEPENDENT      BT1660819    1,200     300      400       100                          500      2,000

100074410   055069427   MARKET STREET PHARMACY(Z) GNP            WILMINGTON        NC   28401    INDEPENDENT      BT1718747    2,600    2,300    2,200     2,200    2,600     3,800     2,617    15,700

100068965   008107342   TOWN CENTER PHARMACY                       VISALIA         CA   93291    INDEPENDENT      BT1785306   12,900   15,100   15,900    15,400   16,400     8,400    14,017    84,100

100066550   046050302   5TH STREET PHARMACY                      OKEECHOBEE        FL   34972    INDEPENDENT      BT1787817    4,300    3,300    5,100     5,800              3,000     4,300    21,500

100068248   044143164   TAYLOR PHARMACY INC       CPA           HARDINSBURG        KY   40143   LONG TERM CARE    BT1812456   26,100   29,300   37,700    37,600   22,300    26,000    29,833   179,000

100099828   018399212   WALGREENS #15764         DSD            SAND SPRINGS       OK   74063    WALGREENS        BT1830303            10,200   31,400    33,100   29,000    16,700    24,080   120,400

100104042   008046979   TULLY MED CLINIC PHCY CPA                 SAN JOSE         CA   95121    INDEPENDENT      BT2002587     600     1,000    1,000     5,300                        1,975     7,900

100076602   018052167   TROUP PHARMACY                             TROUP           TX   75789    INDEPENDENT      BT2039003   11,500   15,200   13,000    13,700   11,400     5,500    11,717    70,300

100059886   023017095   *TOTAL LIFE CARE PHARMACY                MIFFLINTOWN       PA   17059    INDEPENDENT      BT2128886     500                                                      500       500

100050896   018072157   REED FAMILY PHARMACY                      ARDMORE          OK   73401    INDEPENDENT      BT2179530   15,500   17,800   19,400    15,400   20,500    15,000    17,267   103,600

100051371   008033969   *THE LAKE PHCY    VX S5 2GU               OAKLAND          CA   94612    INDEPENDENT      BT2516295                                          320                 320       320

100058727   041021113   DARLINGTON PHARMACY (EPIC) B01           DARLINGTON        MD   21034    INDEPENDENT      BT2602717             1,500    8,100               600      1,100     2,825    11,300

100068506   019175893   THE PRESCRIPTION SHOPPE        CPA       DYERSVILLE        IA   52040    INDEPENDENT      BT2720680    1,100    1,200     100      1,500     400      1,000      883      5,300

100068249   040144030   TAYLORSVILLE PHARMACY         CPA       TAYLORSVILLE       GA   30178    INDEPENDENT      BT2815578    6,500    7,000    4,000     6,500   10,740      (500)    5,707    34,240

100099831   018399246   WALGREENS #15810         DSD              SAPULPA          OK   74066    WALGREENS        BT2888115     700     8,700   31,800    33,600   35,200    23,000    22,167   133,000

100054605   012061077   THO'S PHARMACY         PRO              WESTMINSTER        CA   92683    INDEPENDENT      BT2921989     600      100      500      1,000                         550      2,200

100060244   044064113   TOWN & COUNTRY DRUGS         APSC        CLARKSVILLE       TN   37040    INDEPENDENT      BT3017123   21,600   16,100   23,100    33,600   19,500     5,600    19,917   119,500
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100052109   010042432   TRIANGLE PHARMACY INC        APSC       RAVENNA        OH   44266    INDEPENDENT      BT3094339    3,500             1,000    1,000    2,500    1,000    1,800     9,000

100076999   055051607   *POWERS PHARMACY OF LORIS                LORIS         SC   29569    INDEPENDENT      BT3366906                                        8,700             8,700     8,700

100055329   018034447   TRAVIS CNTY JAIL SYSTEM PHCY           DEL VALLE       TX   78617      ALT SITE       BT3530880     100     1,200    1,200    1,300     560      960      887      5,320

100068966   008034462   THE FRESNO SURGERY & RECOVERY           FRESNO         CA   93710      HOSPITAL       BT3555565     400     1,300     400     2,200    1,200             1,100     5,500

100055215   041008151   TRI-AREA COM PHY@LAUR FK 340B         LAUREL FORK      VA   24352   PHS 340B CLINIC   BT3576583    3,100    4,100    4,600    3,700    3,300    2,500    3,550    21,300

100059260   041038810   TRI-AREA PHARMACY(XS)830              LAUREL FORK      VA   24352    INDEPENDENT      BT3576583    1,200    2,400    1,100    1,100    1,500    1,900    1,533     9,200

100067159   046094425   KINDRED HOSPITAL CTRL TAMPA              TAMPA         FL   33603      HOSPITAL       BT3595090     400      300              1,300     200               550      2,200

100065041   052057877   TURENNE PHARMEDCO                     MONTGOMERY       AL   36117   LONG TERM CARE    BT3596749   40,300   45,300   42,100   41,700   45,180   35,400   41,663   249,980

100069532   055141010   TRIDENT AMBULATORY SUR CT #712      NORTH CHARLESTON   SC   29406      HOSPITAL       BT3599454                       100                        200      150       300

100077012   044089433   TOUCHETTE REGIONAL HOSPITAL           CENTREVILLE      IL   62207      HOSPITAL       BT3620158     200      500               300               400      350      1,400

100065385   049044610   THE BEAVERTON PHARMACY, INC            BEAVERTON       MI   48612    INDEPENDENT      BT3637115   27,100   26,000   28,000   27,600   25,600   11,500   24,300   145,800

100109770   049197103   THE BEAVERTON PHCY 340B                BEAVERTON       MI   48612   PHS 340B CLINIC   BT3637115              500      500     1,000                       667      2,000

100072256   018143701   THE MED-SHOP PHARMACY INC CPA        HUGHES SPRINGS    TX   75656    INDEPENDENT      BT3694331   15,700   20,700   17,400   18,300   13,100   12,600   16,300    97,800

100092391   052214445   RX EXPRESS PHARMACY                   PASCAGOULA       MS   39567    INDEPENDENT      BT3743300    6,700    5,800    2,200    4,100   24,440   26,300   11,590    69,540

100058073   044046938   TWIN CITY PHCY, INC     SF             MARBLE HILL     MO   63764    INDEPENDENT      BT3799573   18,600   25,700   19,500   45,500    4,800   17,000   21,850   131,100

100054529   037056671   KINDRED HOSPITAL-HOUSTON N W            HOUSTON        TX   77065      HOSPITAL       BT3852250     700      700      800      300     1,000     800      717      4,300

100056347   019035758   KINDRED HOSP CHICAGO CENTRAL            CHICAGO        IL   60641      HOSPITAL       BT3913553     300      100      400      400      260      700      360      2,160

100053152   012078691   COSTCO #0452 EDI SAN DIEGO             SAN DIEGO       CA   92128       CHAIN         BT3936183   10,900   11,200   10,400   10,300    7,300   10,000   10,017    60,100

100053073   012078527   COSTCO #0401 EDI SAN DIEGO             SAN DIEGO       CA   92117       CHAIN         BT3936195    9,500    9,900    7,400    8,500   11,600   10,100    9,500    57,000

100050931   037072512   KINDRED HOSP. NEW ORLEANS             NEW ORLEANS      LA   70115      HOSPITAL       BT3937894     400      400      250       50      400      900      400      2,400

100054671   012061119   THU VAN PHARMACY                      WESTMINSTER      CA   92683    INDEPENDENT      BT3958761                                600                        600       600

100070360   046141820   TALLAHASSEE ORTHOPEDIC SU #712        TALLAHASSEE      FL   32308      HOSPITAL       BT4145670              200               100                        150       300

100106529   010236653   THE MEADOWS PSYCHIATRIC CENTER        CENTRE HALL      PA   16828      HOSPITAL       BT4203383     100               300      100      100       80      136       680

100054863   012061747   KINDRED HOSPITAL BREA                     BREA         CA   92821      HOSPITAL       BT4247323     600      400      200      800               200      440      2,200

100052776   020094789   COSTCO #0674 EDI GLENDALE              GLENDALE        AZ   85308       CHAIN         BT4269355    7,100    6,400    5,700    5,400    5,700    5,900    6,033    36,200

100088922   049187286   WEST CENTRAL PHARMACY                    TOLEDO        OH   43606    INDEPENDENT      BT4280361    2,400    3,500    7,600    2,500     200      200     2,733    16,400

100054670   012061101   THU PHARMACY           PRO             LAWNDALE        CA   90260    INDEPENDENT      BT4285652    1,000     500     1,100     500                        775      3,100

100061020   044065292   MEDICA PHARMACY       APSC           SHEPHERDSVILLE    KY   40165    INDEPENDENT      BT4299649   20,300   20,900   18,700   20,600   31,420   18,200   21,687   130,120

100069529   037140384   TEXAS ORTHOPEDIC HOSPITAL #712          HOUSTON        TX   77030      HOSPITAL       BT4322981    4,200    2,700    3,700    3,300    3,000    3,400    3,383    20,300

100054765   010045179   TWIN CITY PHARMACY        APSC          DENNISON       OH   44621    INDEPENDENT      BT4353532    5,000    4,700    3,800    5,600    8,500    6,100    5,617    33,700

100055840   044038760   THRIFTY PHCY - PROVIDENCE APSC        PROVIDENCE       KY   42450    INDEPENDENT      BT4379500   25,300   26,200   40,600   23,200   25,100   11,800   25,367   152,200

100075427   044185926   THRIFTY PHARMACY 340B M-W-F           PROVIDENCE       KY   42450   PHS 340B CLINIC   BT4379500                                500             13,300    6,900    13,800

100053148   012078642   COSTCO #0432 EDI CORONA                 CORONA         CA   92879       CHAIN         BT4386872    6,500    7,100    6,400    5,200    7,600     900     5,617    33,700

100068253   010143032   TOTAL PHARMACY CARE          CPA        PIKEVILLE      KY   41501    INDEPENDENT      BT4390441   58,100    6,100   84,000   16,100   61,900   49,300   45,917   275,500

100070459   018143958   TANGLEWOOD PHARMACY, INC CPA          STEPHENVILLE     TX   76401    INDEPENDENT      BT4412336   17,500    9,500   13,700   14,800    8,400   14,300   13,033    78,200

100057854   032020552   KINDRED HOSPITAL SEATTLE                SEATTLE        WA   98125      HOSPITAL       BT4414429              200      200      100      300               200       800

100053010   024071498   COSTCO #0412 EDI AZUSA                   AZUSA         CA   91702       CHAIN         BT4414897    5,600    6,100    3,700    5,300    7,200    5,200    5,517    33,100

100061396   040070011   THE MEDICINE SHOPPE                    DUNWOODY        GA   30338    INDEPENDENT      BT4476289                                100                        100       100

100085014   020151787   TRUST PHARMACY                           GRANTS        NM   87020    INDEPENDENT      BT4500282              500     2,000    3,000    3,000             2,125     8,500

100105828   055039438   THE AURORA PAVILLION                     AIKEN         SC   29801      HOSPITAL       BT4563690     200      300      100               160      100      172       860

100053906   018002774   KINDRED HOSPITAL TARRANT CNTY         FORT WORTH       TX   76132      HOSPITAL       BT4593744    1,800    2,300    3,000    4,300    1,320     920     2,273    13,640

100069537   037140392   TULANE UNIV HOSP & CLINIC #712        NEW ORLEANS      LA   70112      HOSPITAL       BT4601692    1,300     400     1,250    1,450    1,160    1,100    1,110     6,660

100068251   040144055   THOMAS DRUGS           CPA             COLUMBUS        GA   31907    INDEPENDENT      BT4663414    6,000    7,000    8,400   10,000    6,640    5,600    7,273    43,640

100053153   012078816   COSTCO #0454 EDI IRVINE                  IRVINE        CA   92618       CHAIN         BT4686222    5,600    5,700    4,800    2,100    2,600    1,900    3,783    22,700
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100108053   023153981   THE GALAXY DRUG STORE (ARX)       GUTTENBERG      NJ   07093     INDEPENDENT       BT4703989     500      200      500      100      800      200      383      2,300

100091341   019158444   KINDRED HOSP NORTHWEST INDIANA      HAMMOND       IN   46320       HOSPITAL        BT4710871     400      400      300      800      400      600      483      2,900

100057086   019051201   SELECT SPECIALTY HOSPITAL         INDIANAPOLIS    IN   46250       HOSPITAL        BT4715580     500      500     1,100     700      500               660      3,300

100053394   010051417   THE MEDICINE SHOPPE      PFOA     GREENSBURG      PA   15601     INDEPENDENT       BT4738968                       500               400     3,100    1,333     4,000

100086759   012175414   COSTCO #1080 EDI SAN MARCOS       SAN MARCOS      CA   92069        CHAIN          BT4766931   18,000   21,400   16,700   16,800   16,400    8,800   16,350    98,100

100053491   024064618   TEHACHAPI VALLEY (HOSPITAL)        TEHACHAPI      CA   93561       HOSPITAL        BT4801038     200      250      100      400                        238       950

100056540   020174052   SOUTHWEST MEDICAL ASSOCIATES       HENDERSON      NV   89052       HOSPITAL        BT4813932                       100                                 100       100

100062331   021001461   SELECT SPECIALTY HOSPITAL/KS       KANSAS CITY    KS   66112       HOSPITAL        BT4828553     400      700      300      200      800      300      450      2,700

100058055   044046292   SELECT SPECIALTY HOSP-EVANSVIL     EVANSVILLE     IN   47747       HOSPITAL        BT4836841    1,200    1,300    1,100    1,100    3,760    1,600    1,677    10,060

100053145   012078618   COSTCO #0418 EDI FULLERTON         FULLERTON      CA   92832        CHAIN          BT4849533    7,900    6,800    8,800    7,500    6,700    6,400    7,350    44,100

100056409   046000570   TIBERIUS, INC                    WESLEY CHAPEL    FL   33544     INDEPENDENT       BT4856273     200      300      200      200                        225       900

100052906   024071589   COSTCO #0437 EDI NORTHRIDGE        NORTHRIDGE     CA   91324        CHAIN          BT4865830    4,000    4,800    4,200    3,700    4,000    5,000    4,283    25,700

100065619   021003558   THE ONAGA PHARMACY                   ONAGA        KS   66521     INDEPENDENT       BT4890338    2,700    2,300    3,300    3,900    2,200    1,000    2,567    15,400

100052905   024071571   COSTCO #0428 EDI ALHAMBRA          ALHAMBRA       CA   91803        CHAIN          BT4894158    2,400    3,200    2,200    2,600    2,100             2,500    12,500

100053146   012078626   COSTCO #0424 EDI SIGNAL HILL       SIGNAL HILL    CA   90755        CHAIN          BT4899463    5,300    5,500    4,000    6,300    3,500    2,700    4,550    27,300

100067108   021005330   THE MEDICINE SHOPPE              OVERLAND PARK    KS   66204     INDEPENDENT       BT5007807   12,500   17,200   11,900   14,300   15,300   12,030   13,872    83,230

100053154   012078824   COSTCO #0455 EDI MORENO VALLEY   MORENO VALLEY    CA   92553        CHAIN          BT5008772    7,900    8,600    7,000    6,700    9,700    2,800    7,117    42,700

100110881   008000286   TORGSYN DISCOUNT PHARMACY CPA    SAN FRANCISCO    CA   94121     INDEPENDENT       BT5024017                                         300      200      250       500

100056348   019035766   KINDRED HOSP CHICAGO LAKE SHOR      CHICAGO       IL   60660       HOSPITAL        BT5080522     200      200      400      500      700      100      350      2,100

100058236   044048579   TRAINOR-CLEVENGER DRUG STORE          HAYTI       MO   63851     INDEPENDENT       BT5086613   19,600   22,200   20,200   19,300   15,500   10,100   17,817   106,900

100063628   049092171   U OF M EAST ANN ARBOR PHY 340B     ANN ARBOR      MI   48109   PHS 340B HOSPITAL   BT5092197    6,500    8,000    6,500    3,500    2,000    6,600    5,517    33,100

100100651   049194290   THE UNIV OF MI EAST PHCY/WAC       ANN ARBOR      MI   48109   PHS 340B HOSPITAL   BT5092197             2,000             5,500    8,740    4,840    5,270    21,080

100052907   024071621   COSTCO #0447 EDI SANTA CLARITA   CANYON COUNTRY   CA   91387        CHAIN          BT5107784   10,300   10,600   10,500   11,300   10,900    7,600   10,200    61,200

100053324   024086199   COSTCO #0420 EDI OXNARD             OXNARD        CA   93036        CHAIN          BT5107796   13,400   14,800   15,300   13,600   25,100   13,700   15,983    95,900

100053074   012078543   COSTCO #0403 EDI SANTEE              SANTEE       CA   92071        CHAIN          BT5125465   18,600   17,500   13,900   14,100   19,300   18,420   16,970   101,820

100054812   012078840   COSTCO #0462 EDI CARLSBAD          CARLSBAD       CA   92011        CHAIN          BT5127306    7,500    7,100    5,800    6,500    4,700   14,400    7,667    46,000

100054108   037012070   KINDRED HOSPITAL BAY AREA          PASADENA       TX   77505       HOSPITAL        BT5152501    1,400     700     1,300    2,000              160     1,112     5,560

100076998   055081547   THE HAWTHORNE PHCY (Z)           WINSTON-SALEM    NC   27103     INDEPENDENT       BT5177820              500      500      100     3,600     700     1,080     5,400

100058737   049027623   PHARMACY PLACE,                    PORT HURON     MI   48060       HOSPITAL        BT5180651   25,300   30,000   33,500   20,800   36,200   36,400   30,367   182,200

100091372   041144378   KAISER NORTHWEST DC PHCY          WASHINGTON      DC   20037     HEALTH PLAN       BT5208512    1,400    1,700     900      600     1,400    2,000    1,333     8,000

100053465   010051607   TRI-HEALTH SENIOR LINK             CINCINNATI     OH   45212       ALT SITE        BT5231333    7,100    3,400    3,900                               4,800    14,400

100070371   021143065   PRESCRIPTION SHOP        CPA      COFFEYVILLE     KS   67337     INDEPENDENT       BT5260853   21,000    1,600   46,800   18,600     400    16,500   17,483   104,900

100059348   041069005   TSCHIFFELY PHARM-19TH ST. B17     WASHINGTON      DC   20036     INDEPENDENT       BT5311965    1,800     200     1,300     900     1,200    1,300    1,117     6,700

100056819   021036731   THE OSMOND PHCY          SF         OSMOND        NE   68765     INDEPENDENT       BT5334456    2,800    3,600    3,700    7,600    1,100    2,300    3,517    21,100

100054255   010070177   THE WRIGHT PHARMACY INC APSC      SOUTH SHORE     KY   41175     INDEPENDENT       BT5383803    6,000    8,500    8,100    8,000    6,000    5,500    7,017    42,100

100053156   012078832   COSTCO #0460 EDI CHULA VISTA       CHULA VISTA    CA   91910        CHAIN          BT5407590    7,300    7,800    7,900    8,000    7,300    6,200    7,417    44,500

100110526   017098673   KJ'S PHARMACY GPO CPA              TWIN FALLS     ID   83301     INDEPENDENT       BT5436224             7,000   13,500    4,500   19,000   13,500   11,500    57,500

100110298   017098640   KJ'S PHARMACY       CPA            TWIN FALLS     ID   83301     INDEPENDENT       BT5436224             3,000    9,000    3,000    1,500             4,125    16,500

100067173   019143305   MEDICINE SHOPPE MCFARLAND CPA      MCFARLAND      WI   53558     INDEPENDENT       BT5659973    1,200    1,300                       500     1,700    1,175     4,700

100074434   055099135   THE MEDICINE SHOPPE(340B RXS)       MAXTON        NC   28364    PHS 340B CLINIC    BT5680714     200      500      600      300                        400      1,600

100057233   056300020   THE COMMUNITY PHARMACY              READING       PA   19601     INDEPENDENT       BT5700326    2,300    4,700    1,800    5,700    1,400    2,100    3,000    18,000

100056917   056015099   PENNSYLVANIA HOSP PHARM (THE)     PHILADELPHIA    PA   19107       HOSPITAL        BT5757464     100                                                   100       100

100089826   052213959   THE COMM HLTH & FMLY PRAC PHCY     BIRMINGHAM     AL   35249       HOSPITAL        BT5819377    3,600    3,700    4,000    4,200    4,000    3,600    3,850    23,100

100092011   052214122   THE KIRKLIN CLINIC PHCY WAC        BIRMINGHAM     AL   35249       HOSPITAL        BT5819389   11,100   14,300   12,800   27,200   10,000   10,700   14,350    86,100
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100066728   052056424   THE KIRKLIN CLINIC PHARMACY            BIRMINGHAM      AL   35249   PHS 340B HOSPITAL    BT5819389    4,600     1,400     2,800    1,000     800     2,800    2,233     13,400

100057250   019300061   THE APOTHECARY                          DANVILLE       IL   61832       HOSPITAL         BT5862203    5,000     5,500     8,000    2,500    6,000    3,000    5,000     30,000

100055023   012045476   THE REMEDY PHARM,                       TORRANCE       CA   90505     INDEPENDENT        BT5871505     400       500       600      700      800     2,200     867       5,200

100052499   020030494   TIGUA PHARMACY INC                       EL PASO       TX   79907     INDEPENDENT        BT6067498    3,200     4,500     3,000    3,000    5,000    1,300    3,333     20,000

100066164   040143081   THE APOTHECARY SHOPPE           CPA     VILLA RICA     GA   30180     INDEPENDENT        BT6095613   16,580    19,400    14,300   16,600   19,360   13,600   16,640     99,840

100052383   024089144   TAMPA PLAZA PHARMACY                     TARZANA       CA   91356     INDEPENDENT        BT6222830     700      2,800     3,300    1,300    4,800    3,300    2,700     16,200

100052471   020015818   UNIVERSITY MED CTR NORTHEAST             EL PASO       TX   79924   PHS 340B HOSPITAL    BT6223298    6,600     7,700     7,300    7,100    6,600    2,700    6,333     38,000

100089415   020157800   UNIVERSITY MED CTR N E WAC               EL PASO       TX   79924   PHS 340B HOSPITAL    BT6223298    1,400     1,600     2,700    1,400    2,100    1,100    1,717     10,300

100069534   055141036   TRIDENT MEDICAL CENTER      #712       CHARLESTON      SC   29406       HOSPITAL         BT6303159    2,600     3,100     3,300    2,700    3,460    2,140    2,883     17,300

100052473   020015834   UNIVERSITY MED CTR YSLETA PHCY           EL PASO       TX   79907   PHS 340B HOSPITAL    BT6303907    9,900    12,400    11,400    7,400    6,600    6,000    8,950     53,700

100089416   020142893   UNIVERSITY MED CTR YSLETA WAC            EL PASO       TX   79907     INDEPENDENT        BT6303907    1,300     3,700     4,900    3,600    4,400    1,600    3,250     19,500

100064992   018063743   THRIFTY PHARMACY                      OKLAHOMA CITY    OK   73120     INDEPENDENT        BT6313679     (500)                               15,000    2,000    5,500     16,500

100110646   023161935   THOMAS JEFFERSON UNV HSP (WAC)        PHILADELPHIA     PA   19107       HOSPITAL         BT6398235                        1,000    2,200    5,240    1,120    2,390      9,560

100110644   023161919   THOMAS JEFFERSON UNIV HOSP            PHILADELPHIA     PA   19107       HOSPITAL         BT6398235                                                   1,760    1,760      1,760

100110645   023161927   THOMAS JEFFERSON UNV HSP(340B)        PHILADELPHIA     PA   19107   PHS 340B HOSPITAL    BT6398235                                                     80       80         80

100071604   055141002   SUMMERVILLE MEDICAL CNTR #714         SUMMERVILLE      SC   29485       HOSPITAL         BT6403341    1,600     1,600     1,300    1,200    1,300    1,060    1,343      8,060

100064820   049074146   THE SURGERY CENTER                        FLINT        MI   48507       HOSPITAL         BT6439144     200                 100                        200      167        500

100059798   041060277   TRICARE DOD - CHESAPEAKE               CHESAPEAKE      VA   23320   HOSPITAL (FEDERAL)   BT6468727    7,500     9,000     6,600             3,600    2,400    5,820     29,100

100059797   041060269   TRICARE DOD - VA. BEACH               VIRGINIA BEACH   VA   23456   HOSPITAL (FEDERAL)   BT6491182    3,000     6,000     4,500    1,200    4,000    4,200    3,817     22,900

100050727   037072991   ROBICHAUXS PHARMACY                     LOCKPORT       LA   70374     INDEPENDENT        BT6516833    8,900    11,400     8,400    8,400   15,400    9,800   10,383     62,300

100055362   032072058   TEKOA PHARMACY GNP+                       TEKOA        WA   99033     INDEPENDENT        BT6541115    4,000     4,000     3,500    3,500    3,500    2,500    3,500     21,000

100053421   024076109   *LIEN NGUYEN                           SOUTH GATE      CA   90280     INDEPENDENT        BT6559112    4,500     5,000      200                                3,233      9,700

100070441   023143784   TIFFANY NATURAL PHARMACY(X)CPA          WESTFIELD      NJ   07090     INDEPENDENT        BT6560115    2,500     2,820     3,100    3,100    4,600    1,120    2,873     17,240

100090878   023136168   TIFFANY NATURAL PHCY CPA HPG            WESTFIELD      NJ   07090     INDEPENDENT        BT6560115                                                   1,500    1,500      1,500

100054817   012078907   COSTCO #0483 EDI SAN DIEGO              SAN DIEGO      CA   92102         CHAIN          BT6576942    4,900     5,200     3,200    4,000    2,000     400     3,283     19,700

100052362   010055467   THE MEDICINE SHOPPE       APSC          MANSFIELD      OH   44907     INDEPENDENT        BT6578984    5,200     4,100     4,800    4,600    3,600    3,600    4,317     25,900

100091346   037129775   *KINDRED HOSPITAL NORTH HOUSTN          HOUSTON        TX   77076       HOSPITAL         BT6585369     (300)                                                   (300)      (300)

100107125   046059519   TOWN & COUNTRY HOSPITAL PHCY              TAMPA        FL   33615       HOSPITAL         BT6597489     600       400       300      700      400      200      433       2,600

100050309   018040352   TRINITY APOTHECARY                     CARROLLTON      TX   75010    LONG TERM CARE      BT6658059    5,600     6,100     7,400    4,100    6,500    3,500    5,533     33,200

100063426   018062513   THRIFTY PHARMACY EDMOND                  EDMOND        OK   73003     INDEPENDENT        BT6679849    1,000     1,500      500    15,000     200              3,640     18,200

100064134   019001404   TOUHY PHARMACY                           CHICAGO       IL   60659    LONG TERM CARE      BT6732918    2,700      (100)    1,200    2,100     600      600     1,183      7,100

100053931   037078550   THE PHYSICIANS CENTRE                     BRYAN        TX   77802       HOSPITAL         BT6740864     700       500       600      800      680               656       3,280

100068353   049150193   *SAINT MARY MERCY LIVONIA                LIVONIA       MI   48154       HOSPITAL         BT6746599    3,000     3,500     3,600    6,000                      4,025     16,100

100068092   018162057   HEALTH DEPOT #3 GREENWOOD CPA          GREENWOOD       AR   72936     INDEPENDENT        BT6764890   14,300    33,400    28,000   47,600    9,100   22,340   25,790    154,740

100070589   052146647   TRADING POST DRUGS         SF          TUSCUMBIA       AL   35674     INDEPENDENT        BT6790883    7,100    12,500    16,200   14,000   35,100   22,000   17,817    106,900

100091334   037129726   *KINDRED HOSPITAL EAST HOUSTON        CHANNELVIEW      TX   77530       HOSPITAL         BT6882080     300                                                     300        300

100051349   008028076   RIVER OAK PHARMACY                      OAKDALE        CA   95361     INDEPENDENT        BT6927149   20,700    26,500    28,200   24,000   36,000   25,200   26,767    160,600

100068943   004155143   THE PHARMACY CTR @ LACONIA(X)            LACONIA       NH   03246       HOSPITAL         BT6959994    1,200      700      1,400    1,600    1,300    1,200    1,233      7,400

100110658   023162057   JEFFERSON HP FOR NEU EKG (WAC)        PHILADELPHIA     PA   19107       HOSPITAL         BT7130266                                  200                        200        200

100110656   023162032   JEFFERSON HSP FOR NEUROSCIENCE        PHILADELPHIA     PA   19107       HOSPITAL         BT7130266                                                    160      160        160

100110657   023162040   JEFFERSON HP FOR NEU EKG(340B)        PHILADELPHIA     PA   19107   PHS 340B HOSPITAL    BT7130266                                  100                        100        100

100083621   052161141   THE DRUG STORE        SF                 AUBURN        AL   36830     INDEPENDENT        BT7161526                                 2,000    2,000    1,000    1,667      5,000

100059611   041053165   SURGERY CTR OF CHESAPEAKE (X)          CHESAPEAKE      VA   23320       HOSPITAL         BT7244231     100       100       200      100       80               116        580

100054795   037064352   *HALL'S PHARMACY                        BRAZORIA       TX   77422     INDEPENDENT        BT7266162   14,800    19,900     5,000                              13,233     39,700
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100094299   020159699   TMC HEALTH CARE OP-WAC                TUCSON        AZ   85712       HOSPITAL        BT7312870    3,000    3,100    4,200    3,700     6,800    4,000    4,133    24,800

100094298   020159681   TMC HEALTH CARE OP-340B               TUCSON        AZ   85712       HOSPITAL        BT7312870    1,900    1,500    1,300    1,500                       1,550     6,200

100094298   020159681   TMC HEALTH CARE OP-340B               TUCSON        AZ   85712   PHS 340B HOSPITAL   BT7312870                                100                         100       100

100069531   017140178   TIMPANOGOS REG MED SERV #712           OREM         UT   84057       HOSPITAL        BT7375923     400      500      500      400       560      680      507      3,040

100091333   037129718   KINDRED HOSPITAL BAYTOWN              BAYTOWN       TX   77520       HOSPITAL        BT7391650     600      600      300     3,000                       1,125     4,500

100052818   012097949   TOWER PHARMACY                      MISSION VIEJO   CA   92691     INDEPENDENT       BT7407693    3,400    6,400    9,500    8,600     5,100    3,000    6,000    36,000

100085562   010209908   THOMPSON DRUG EAST BERNSTADT       EAST BERNSTADT   KY   40729     INDEPENDENT       BT7418406   19,000   18,500   17,800   42,990    14,600   17,500   21,732   130,390

100106493   037134403   TEXAS CYPRESS CREEK HOSPITAL          HOUSTON       TX   77090       HOSPITAL        BT7514335     500      600      500      500       250      200      425      2,550

100058006   049038026   INTEGRATED PHARMACY NETWORK           MIDLAND       MI   48642   LONG TERM CARE      BT7520388   84,800   94,300   89,000   86,300   120,200   83,200   92,967   557,800

100070363   019140012   TERRE HAUTE REG HOSP PHCY #712      TERRE HAUTE     IN   47802       HOSPITAL        BT7525338    2,200    1,650    2,450    1,450     2,700    2,040    2,082    12,490

100106517   037134411   WEST OAKS HOSPITAL                    HOUSTON       TX   77074       HOSPITAL        BT7526570     150      100      500      200       300      100      225      1,350

100069541   055077800   THE OUTERBANKS HOSPITAL              NAGS HEAD      NC   27959       HOSPITAL        BT7659583    1,300    1,500    1,700     800       760     1,500    1,260     7,560

100108836   004103242   TLC HEALTH NETWORK INC. DIP            IRVING       NY   14081       HOSPITAL        BT7699791     300      100      400      100       340      100      223      1,340

100070697   037145060   TECHE REGIONAL MEDICAL CTR#712      MORGAN CITY     LA   70380       HOSPITAL        BT7725178     600     1,200     950     1,050     1,960     540     1,050     6,300

100052848   020099788   TURQUOISE LTD DBA DEL NORTE LV       LAS VEGAS      NM   87701     INDEPENDENT       BT7732325   16,500   17,000   16,100   15,500    18,100    9,400   15,433    92,600

100053104   020099820   TURQUOISE LTD DBA DEL NORTE SF        SANTA FE      NM   87505     INDEPENDENT       BT7732337   16,200   11,000   19,000   16,100    17,900   15,100   15,883    95,300

100070132   010175075   THREE GABLES SURGERY CENTER        PROCTORVILLE     OH   45669       HOSPITAL        BT7742756     100      100      200      100       100      180      130       780

100059169   049035907   THUNDER BAY PHCY 340B PHS ATL         ATLANTA       MI   49709    PHS 340B CLINIC    BT7803718   15,000   12,000   13,500   13,200     2,600   11,000   11,217    67,300

100058830   049021915   THUNDER BAY PHCY ATLANTA SF           ATLANTA       MI   49709     INDEPENDENT       BT7803718    9,500    6,000    6,100    2,300    12,900   12,200    8,167    49,000

100053838   024066878   THC - ORANGE COUNTY INC             LOS ANGELES     CA   90056       HOSPITAL        BT7862065    1,100     600      600      900      3,000             1,240     6,200

100054932   012062893   KINDRED HOSPITAL ONTARIO              ONTARIO       CA   91764       HOSPITAL        BT7862091     400      300      700      500      1,000    1,240     690      4,140

100054931   012062885   KINDRED HOSPITAL WESTMINSTER        WESTMINSTER     CA   92683       HOSPITAL        BT7862104    1,300    1,100     900     1,500     1,300     600     1,117     6,700

100091345   037129767   KINDRED HOSPITAL SPRING               HOUSTON       TX   77090       HOSPITAL        BT7867748    1,200    1,350     700     1,000     1,380    1,480    1,185     7,110

100053895   012091397   KINDRED HOSPITAL SAN DIEGO           SAN DIEGO      CA   92104       HOSPITAL        BT7870745     500      200      600      400       600      300      433      2,600

100091356   037129809   KINDRED HOSPITAL SUGAR LAND         SUGAR LAND      TX   77479       HOSPITAL        BT7874109    1,200    1,000    1,000    1,600              1,100    1,180     5,900

100055328   018034322   SOUTH TX SPINE AND SURG HOSP        SAN ANTONIO     TX   78258       HOSPITAL        BT7908695     100      800      800      400      1,240              668      3,340

100065151   018064121   TAYLOR DRUG, LTC       CPA         OKLAHOMA CITY    OK   73170   LONG TERM CARE      BT7978628     100               200                         200      167       500

100064008   052046664   TRANSCRIPT PHARMACY INC              FLOWOOD        MS   39232     INDEPENDENT       BT8058504              100                         300      600      333      1,000

100051860   008039966   TOIYABE INDIAN HEALTH PROJECT          BISHOP       CA   93514    PHS 340B CLINIC    BT8064634                                100                         100       100

100075595   055176156   THE DRUG STORE(X)      CPA           STONEVILLE     NC   27048     INDEPENDENT       BT8075093   20,000   22,000   22,100   22,100    22,200   20,100   21,417   128,500

100068113   010175117   CCF LORAIN ASC OU                      LORAIN       OH   44053       HOSPITAL        BT8146525                                100                         100       100

100107348   032152413   THE VANCOUVER CLINIC PHCY(RTL)       VANCOUVER      WA   98664       HOSPITAL        BT8218403                      5,500    6,400     8,800    8,800    7,375    29,500

100088854   017092577   TIMBER RIDGE PHARMACY                HAMILTON       MT   59840     INDEPENDENT       BT8223062    6,300    5,800    4,200    6,700     8,300    8,300    6,600    39,600

100110154   017098624   TIMBER RIDGE PHARMACY 340B           HAMILTON       MT   59840    PHS 340B CLINIC    BT8223062             1,500    1,100     600                        1,067     3,200

100063436   018062968   TURNER DRUG          SF               PURCELL       OK   73080     INDEPENDENT       BT8228505    1,000                      2,400     3,300    4,000    2,675    10,700

100062547   010014639   THE ORTHOPAEDIC SURGERY CTR,         BOARDMAN       OH   44512       HOSPITAL        BT8233215                                                    80       80        80

100061172   019034405   CASS STREET PHARMACY         CPA     LA CROSSE      WI   54601     INDEPENDENT       BT8286026   11,500    3,500    7,600   11,000    11,500    7,200    8,717    52,300

100106458   018403899   LAUREL RIDGE TREATMENT CENTER       SAN ANTONIO     TX   78259       HOSPITAL        BT8295304    1,200    1,200     800     1,200      200      700      883      5,300

100090589   055031252   TLC MEDICAL CENTER CPA                 AIKEN        SC   29803     INDEPENDENT       BT8353168    1,500    4,800    1,200    2,800      500     3,600    2,400    14,400

100106401   018403832   TEXARKANA BEHAVIORIAL,ASSOC LC        BARLING       AR   72923       HOSPITAL        BT8366987              300      100      100       200      100      160       800

100062463   018067157   TULSA SPINE & SPECILTY HOSP            TULSA        OK   74132       HOSPITAL        BT8385850    1,800    1,400    2,100    6,100              1,000    2,480    12,400

100054519   037055079   THE MENNINGER CLINIC                  HOUSTON       TX   77035       HOSPITAL        BT8448791                       100      150       260      100      153       610

100057315   052064196   MERIDIAN SURGERY CENTER LLC           MERIDIAN      MS   39301       HOSPITAL        BT8580525              200      100      100       200      100      140       700

100061349   019301291   THE WISCONSIN HEART HOSPITAL        WAUWATOSA       WI   53226       HOSPITAL        BT8614542     200      300               200       500       80      256      1,280
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100100551   019179168   THE WISCONSIN HEART HOSP WAC         WAUWATOSA        WI   53226   PHS 340B HOSPITAL    BT8614542              200                                          200       200

100075868   019160366   THE WISCONSIN HEART HOSP 340B        WAUWATOSA        WI   53226   PHS 340B HOSPITAL    BT8614542                       100                                 100       100

100059683   019027607   TIPTON PHARMACY                         TIPTON        IA   52772     INDEPENDENT        BT8648733    6,000    6,500    6,800    5,000    7,100    4,500    5,983    35,900

100074824   019160713   THOREK HOSP & MED CTR 340B             CHICAGO        IL   60613   PHS 340B HOSPITAL    BT8650120    5,900    3,500                      2,400    3,200    3,750    15,000

100107285   019184903   THOREK HOSP & MED CTR WAC              CHICAGO        IL   60613   PHS 340B HOSPITAL    BT8650120    1,500    1,000    1,600    4,100              600     1,760     8,800

100089298   018204537   THE MED-SHOP PHARMACY CPA              GILMER         TX   75644     INDEPENDENT        BT8699146    1,200    1,900     800      200     6,700   34,300    7,517    45,100

100051545   008064824   THE APOTHECARY CPA                     OAKLAND        CA   94605     INDEPENDENT        BT8801450   29,400   30,400   30,800   32,400   43,000   20,500   31,083   186,500

100085793   056102707   TAYLOR'S PHARMACY (ARX)               LAKEWOOD        NJ   08701     INDEPENDENT        BT8814952     500      600      700      600      400               560      2,800

100062726   018068072   TAHLEQUAH DRUG COMPANY, LLCSF         TAHLEQUAH       OK   74464     INDEPENDENT        BT8879352   26,100   30,500   29,600   26,900   31,600   25,000   28,283   169,700

100107372   032152447   THE VANCOUVER CLINIC CTC             VANCOUVER        WA   98684       HOSPITAL         BT8925351                      4,400    4,900    5,500    5,300    5,025    20,100

100085875   018193862   HUMANA PHARMACY INC. #01737          SAN ANTONIO      TX   78288      HEALTH PLAN       BT9094169    2,900    2,700    3,600    2,400    4,220    3,000    3,137    18,820

100054258   012000166   TEPLOW DRUGS         PRO              BARSTOW         CA   92311     INDEPENDENT        BT9128225   20,900   23,100   24,300   20,300   28,800   15,800   22,200   133,200

100065580   049090670   TROY PROFESSIONAL PHCY INC SF           TROY          MI   48083     INDEPENDENT        BT9169295    6,900    5,600    8,400    8,800    8,600    5,500    7,300    43,800

100052900   008000810   SURGERY CENTER OF ALTA BATE            OAKLAND        CA   94609       HOSPITAL         BT9199072     200       -                100               200      125       500

100091360   037129833   KINDRED HOSPITAL CLEAR LAKE            WEBSTER        TX   77598       HOSPITAL         BT9219002    1,000    1,300    2,100    1,000    4,700     200     1,717    10,300

100071017   040175950   TIGER TOWN PHARMACY        CPA        COMMERCE        GA   30529     INDEPENDENT        BT9346025   16,200   10,300   20,600    2,100   19,700   16,900   14,300    85,800

100064850   037093153   TRIDENT PHARMACY                     ROSENBERG        TX   77471     INDEPENDENT        BT9489584    7,000    7,500    7,500    9,000    1,000    2,000    5,667    34,000

100066106   018078204   THO PHARMACY                            TYLER         TX   75701       ONCOLOGY         BT9497985    2,200    1,000    1,000             5,500    5,500    3,040    15,200

100069247   052093385   THE PHCY IN MOUNT OLIVE    SF        MOUNT OLIVE      AL   35117     INDEPENDENT        BT9522120    6,600    6,000    6,000    7,800   14,100    5,200    7,617    45,700

100069538   037140418   TULANE/LAKESIDE HOSPITAL #709          METAIRIE       LA   70001       HOSPITAL         BT9541435              500      600      400              2,160     915      3,660

100068354   019146357   MERCY FAMILY PHCY - EAST               DUBUQUE        IA   52001     INDEPENDENT        BT9554519    8,100    8,500    5,400    6,900    8,500    6,400    7,300    43,800

100068355   019146365   MERCY FAMILY PHCY WEST                 DUBUQUE        IA   52002     INDEPENDENT        BT9558795    2,500    6,000    5,000    3,200    6,100    7,900    5,117    30,700

100075365   055176305   THE VILLAGE PHARMACY LLC(X)CPA       FAYETTEVILLE     NC   28306     INDEPENDENT        BT9571060   14,300    4,700    3,500    9,800   14,300   10,200    9,467    56,800

100064967   052057638   THE HEALTHCARE AUTH.FOR MED WE        BESSEMER        AL   35022       HOSPITAL         BT9605215    2,600    2,950    2,700    4,200    2,780    2,020    2,875    17,250

100100650   055038067   THE PAVILION PHARMACY (WAC)          FAYETTEVILLE     NC   28311     INDEPENDENT        BT9629900    3,300    2,600    2,500    3,500    6,400    2,200    3,417    20,500

100067186   055070763   THE PAVILION PHARMACY (340B)         FAYETTEVILLE     NC   28311   PHS 340B HOSPITAL    BT9629900    1,600    2,300    1,900    1,700     800     1,100    1,567     9,400

100107373   032152454   THE VANCOUVER CLNC SALMON CRK        VANCOUVER        WA   98686       HOSPITAL         BT9673155                      5,600    6,400    7,100    6,800    6,475    25,900

100066467   046085340   TRI-MED USA, INC                   SAINT PETERSBURG   FL   33709     INDEPENDENT        BT9682483    2,400    5,000    4,800    3,600    5,000    2,500    3,883    23,300

100071443   044140319   SKYLINE MADISON CAMPUS     #712        MADISON        TN   37115       HOSPITAL         BT9696963     400      400      100      300      300               300      1,500

100093902   012042226   TOMMIE'S MEDICAL CENTER PHMCY         PLACENTIA       CA   92870    LONG TERM CARE      BT9845453    6,000    9,200    7,000    7,000    7,600    6,800    7,267    43,600

100072705   019058008   THEDA CARE PHARMACY                   SHAWANO         WI   54166     INDEPENDENT        BT9909548    4,500    5,000    4,000    4,500    3,900    6,000    4,650    27,900

100091357   037129817   KINDRED HOSPITAL TOMBALL               TOMBALL        TX   77375       HOSPITAL         BT9916252    1,300    1,000     900     1,100    1,140     680     1,020     6,120

100060480   008162453   TUOLUMNE ME-WUK IND. HLTH 340B        TUOLUMNE        CA   95379    PHS 340B CLINIC     BT9921063   15,500   10,000    8,500   11,100    1,500             9,320    46,600

100061921   008032466   TUOLUMNE ME-WUK IND HLT CTR IN        TUOLUMNE        CA   95379   HOSPITAL (FEDERAL)   BT9921063             4,600    2,300    2,100    7,800    9,800    5,320    26,600

100066383   055143156   *THE DRUG STORE(VALE)(X) CPA            VALE          NC   28168     INDEPENDENT        BT9927142    7,500    4,000                                        5,750    11,500

100070677   018144576   TANGLEWOOD DRUG STORE        CPA     LITTLE ROCK      AR   72207     INDEPENDENT        BT9951496    3,100    3,500    6,000    3,500    4,000    3,600    3,950    23,700

100074788   010179192   THE DRUG STORE-OBLENESS CPA            ATHENS         OH   45701     INDEPENDENT        BT9996399   15,500   10,000   42,500   24,000                     23,000    92,000

100099681   018397885   WALGREENS #15721      DSD             PINE BLUFF      AR   71602      WALGREENS         BU0279592   10,400   16,800   14,700   16,320   13,700    9,500   13,570    81,420

100054755   018086108   SHEPPARD AFB 82D MED GR SGAL        SHEPPARD AFB      TX   76311   HOSPITAL (FEDERAL)   BU0415681   19,800   18,900   21,000   18,100     500    11,600   14,983    89,900

100068599   040143719   MIKE'S MEDICAL PHARMACY CPA             MACON         GA   31204     INDEPENDENT        BU0935758   34,000   31,000   38,500   49,500   21,000   18,000   32,000   192,000

100090597   052028209   UNIV OF ALA HOSP CLNC 1917           BIRMINGHAM       AL   35249       HOSPITAL         BU1231175    1,600   11,000    4,000    2,800    8,800    6,000    5,700    34,200

100074002   055140913   *NOVANT HEALTH GAFFNEY MED CTR         GAFFNEY        SC   29340       HOSPITAL         BU1371222     700      600      300      800     2,840             1,048     5,240

100065311   049044172   UNION PRESCRIPTION CTR 1T,TH,F      MOUNT MORRIS      MI   48458     INDEPENDENT        BU1748574    9,600    1,300     600     3,300   19,000             6,760    33,800

100070465   018144006   U S DRUG MART NO 4    CPA               FERRIS        TX   75125     INDEPENDENT        BU2614988   11,600   10,800   11,900   11,300   10,100    8,300   10,667    64,000
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100070464   018143990   U S DRUG MART NO 3           CPA      MIDLOTHIAN     TX   76065     INDEPENDENT        BU2614990   15,200   18,000   14,800   14,900   10,600   12,900   14,400    86,400

100069539   046141846   UNIVERSITY HOSP & MED CTR #712         TAMARAC       FL   33321       HOSPITAL         BU2637861     100      200      700      300               200      300      1,500

100083569   024105098   USC MED PLAZA PHARM 340B             LOS ANGELES     CA   90033   PHS 340B HOSPITAL    BU2716845    6,200   13,500   10,500    8,700   13,500   11,700   10,683    64,100

100053575   024065417   USC MEDICAL PLAZA PHARMACY           LOS ANGELES     CA   90033     INDEPENDENT        BU2716845    6,300    2,900    4,800    5,300    4,700    7,600    5,267    31,600

100077006   055053009   *UPSTATE MEDICAL PHCY(PHS)(W)         GREENVILLE     SC   29605   PHS 340B HOSPITAL    BU2933821   33,000                                                33,000    33,000

100077005   055056291   *UPSTATE MEDICAL PHARMACY (W)         GREENVILLE     SC   29605       HOSPITAL         BU2933821    8,500                                                 8,500     8,500

100089041   046041012   UNIVERSAL PHARMACY DISCOUNT              MIAMI       FL   33175     INDEPENDENT        BU3564158                       100      200                        150       300

100053200   017076521   U OF UT UNI IP PHCY                 SALT LAKE CITY   UT   84108       HOSPITAL         BU3970224     500               200     2,000                       900      2,700

100056427   040068445   WINN ARMY COMMUNITY HOSPITAL        FORT STEWART     GA   31314   HOSPITAL (FEDERAL)   BU4064161   32,000   33,800   38,700   54,900    9,600   29,400   33,067   198,400

100091230   052077149   UAB SPEC PHCY, MAIL-ORDR (WAC)       BIRMINGHAM      AL   35249       HOSPITAL         BU4329771    1,700    3,300    2,200    1,500    1,300    1,100    1,850    11,100

100060147   019058123   ROCK ISLAND/US ARMY HEALTH           ROCK ISLAND     IL   61299   HOSPITAL (FEDERAL)   BU4679532    2,900    3,100    3,700    3,300    4,400     800     3,033    18,200

100060193   056032771   UPPER DARBY PHARMACY(Z)(IPBG)        UPPER DARBY     PA   19082     INDEPENDENT        BU4694762    4,000    2,200    2,500    4,300    2,500    3,000    3,083    18,500

100057291   044066027   U OF L OUTPT/DSH      340B            LOUISVILLE     KY   40202   PHS 340B HOSPITAL    BU4743387   16,300   15,500   15,100   19,300    9,500   15,500   15,200    91,200

100104719   044219717   U OF L HOSP - WAC                     LOUISVILLE     KY   40202   PHS 340B HOSPITAL    BU4743387    4,400    4,900    8,200    5,800                      5,825    23,300

100060879   044109603   U OF L HOSP - 340B                    LOUISVILLE     KY   40202   PHS 340B HOSPITAL    BU4743387    1,600    1,200     100      100                        750      3,000

100057292   044066035   UNIV OF LOUISVILLE HOSP PHCY          LOUISVILLE     KY   40202       HOSPITAL         BU4743399    1,500    2,000     200      400    10,000    5,960    3,343    20,060

100070368   018143768   PARK PLAZA PHARMACY           CPA    WICHITA FALLS   TX   76301     INDEPENDENT        BU4844595   13,200   14,300   11,700   11,800   10,000    7,500   11,417    68,500

100070463   018143982   TROTT'S CALL FIELD DRUG       CPA    WICHITA FALLS   TX   76308     INDEPENDENT        BU4844608    6,100    6,200    8,100    7,200    8,600    7,100    7,217    43,300

100105830   018403683   NORTHWEST TEXAS HOSPITAL               AMARILLO      TX   79106       HOSPITAL         BU4929367    5,100    5,900    6,200    8,500    3,900    4,280    5,647    33,880

100057186   041078097   US ARMY HLTH CLINIC-FT DE(DOD)       FORT DETRICK    MD   21702   HOSPITAL (FEDERAL)   BU5073490    1,800    1,900    1,700    2,500             1,800    1,940     9,700

100106504   018404012   TIMBERLAWN MENTAL HLTH SYSTEM           DALLAS       TX   75228       HOSPITAL         BU5107621    1,000    1,300    1,200    1,100    1,100     500     1,033     6,200

100052085   010042754   UPPER ARLINGTON SURGERY CENTER        COLUMBUS       OH   43220       HOSPITAL         BU5178151              100                                          100       100

100074587   038101527   THE APOTHECARY @ UMGP                  BOULDER       CO   80303        ALT SITE        BU5208409    1,300    1,000     700     1,200     600               960      4,800

100063433   018063016   UNITED PHARMACY                         YUKON        OK   73099     INDEPENDENT        BU5614309             3,000    2,100   17,000    8,500             7,650    30,600

100065074   019003988   UNIVERSITY HEALTH SERVICES           NOTRE DAME      IN   46556        ALT SITE        BU5840322     200                                                   200       200

100051781   010047175   UPPER VALLEY MEDICAL CENT VHA            TROY        OH   45373       HOSPITAL         BU5853379    1,050    1,850    1,350    3,600     160      700     1,452     8,710

100052230   017087254   U OF UT WESTRIDGE PHCY 340B         SALT LAKE CITY   UT   84118   PHS 340B HOSPITAL    BU5870856    4,700    5,200    4,900    3,200    2,400    6,000    4,400    26,400

100078249   017076661   U OF UT WESTRIDGE PHCY WAC          SALT LAKE CITY   UT   84118     INDEPENDENT        BU5870856    1,000    1,200    1,700    4,000    3,600     900     2,067    12,400

100052231   017087262   U OF UT REDWOOD PHCY 340B           SALT LAKE CITY   UT   84119   PHS 340B HOSPITAL    BU5870868   26,200   22,500   23,500   14,700    9,400    1,500   16,300    97,800

100053457   017076679   U OF UT REDWOOD PHCY WAC            SALT LAKE CITY   UT   84119     INDEPENDENT        BU5870868             6,000            39,500   13,800            19,767    59,300

100053456   017076653   U OF UT PARKWAY PHARMACY WAC            OREM         UT   84058     INDEPENDENT        BU5870907    2,100    3,100    2,500    3,700    3,600    1,000    2,667    16,000

100052229   017087247   U OF UT PARKWAY PHARMACY 340B           OREM         UT   84058   PHS 340B HOSPITAL    BU5870907    2,400    2,200    1,900    1,000     700     1,800    1,667    10,000

100052228   017087239   U OF UT GREENWOOD OP PHCY 340B         MIDVALE       UT   84047   PHS 340B HOSPITAL    BU5870919   11,100   11,000   11,100    8,000    7,500    6,000    9,117    54,700

100078248   017076646   U OF UT GREENWOOD OP PHCY WAC          MIDVALE       UT   84047     INDEPENDENT        BU5870919    1,100    6,100   15,100    8,900     300              6,300    31,500

100054998   010046748   UNIV HEALTH SERVICES PHARMACY         CINCINNATI     OH   45221        ALT SITE        BU6014916     200      400      100     1,000             1,500     640      3,200

100099686   018397935   WALGREENS #15702             DSD       CAMDEN        AR   71701      WALGREENS         BU6019435   12,700   19,300   17,400   19,500   19,400   11,700   16,667   100,000

100070208   055070888   PRUITTHLTH PHARMACY SERVICES          LEXINGTON      SC   29072    LONG TERM CARE      BU6115667   32,600   34,500   32,500   32,400   30,100   26,300   31,400   188,400

100052232   017087288   U OF UT STANSBURY PHCY 340B         STANSBURY PARK   UT   84074   PHS 340B HOSPITAL    BU6431782    4,400    4,400    3,900    3,300    2,800    5,400    4,033    24,200

100053458   017076695   U OF UT STANSBURY PHCY WAC          STANSBURY PARK   UT   84074     INDEPENDENT        BU6431782    1,400    2,700    1,500    5,600    3,100    2,000    2,717    16,300

100053500   024088666   UNIVERSAL DRUGS                      LOS ANGELES     CA   90027     INDEPENDENT        BU6467648     100      200      100                                 133       400

100067276   052060384   UNIVERSITY HLTH SYSTEM, INC           KNOXVILLE      TN   37920       HOSPITAL         BU6476407    4,600    5,500    3,800    4,400     640     2,580    3,587    21,520

100096496   052114439   UNIV HLTH SYS, INC (WAC)              KNOXVILLE      TN   37920   PHS 340B HOSPITAL    BU6476407                               6,200    2,480    3,760    4,147    12,440

100065132   052058834   UNIVERSITY HLTH SYS,INC 340B          KNOXVILLE      TN   37920   PHS 340B HOSPITAL    BU6476407    2,600    2,000    3,600    1,400     160      980     1,790    10,740

100054929   012062570   *UPLAND PHARMACY                        UPLAND       CA   91786     INDEPENDENT        BU6765741    1,000                                                 1,000     1,000
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100051901   010049114   UH-REGIONAL HOSPITALS               RICHMOND HEIGHTS   OH   44143         HOSPITAL         BU6828012     100       50      500       (200)      80         200      122          730

100106457   044220665   LAKESIDE BEHAVIORAL HEALTH SYS          MEMPHIS        TN   38133         HOSPITAL         BU6832871     600     1,500     400      1,500                  200      840         4,200

100106481   023153114   UHS OF ROCKFORD                         NEWARK         DE   19713         HOSPITAL         BU6842480                       100       100                            100          200

100070443   023143800   UNION AVENUE PHARMACY(X) CPA          BOUND BROOK      NJ   08805       INDEPENDENT        BU6890405    2,400    3,400    1,900     2,200     3,700       1,900    2,583       15,500

100105826   018403667   ST MARY'S REGIONAL MEDICAL CTR            ENID         OK   73701         HOSPITAL         BU6944525    2,200    2,400    2,900     1,500     2,340       2,240    2,263       13,580

100106469   004102509   UHS OF WESTWOOD PEMBROKE, LLC          PEMBROKE        MA   02359         HOSPITAL         BU7093254     100      100      200                                      133          400

100106518   004102525   WESTWOOD LODGE HOSP PHARMACY           WESTWOOD        MA   02090         HOSPITAL         BU7093266                       100        60                                 80      160

100069196   055069807   UHS EMPLOYEE PHCY                      GREENVILLE      NC   27834         HOSPITAL         BU7252353   11,800   11,980   11,900    10,100    10,300       8,300   10,730       64,380

100096662   004101022   UCONN HEALTH CENTER PHCY (WAC)        FARMINGTON       CT   06032         HOSPITAL         BU7345134     200               300       200       200         200      220         1,100

100087677   004088070   UCONN HEALTH CENTER PHARMACY          FARMINGTON       CT   06032     LONG TERM CARE       BU7345134              100      (100)                                     -            -

100052608   017087015   U OF UT UOC OP PHCY 340B             SALT LAKE CITY    UT   84108     PHS 340B HOSPITAL    BU7422936    5,200    5,500    5,200     6,900      300        2,100    4,200       25,200

100053198   017076018   U OF UT UOC OP PHCY WAC              SALT LAKE CITY    UT   84108         HOSPITAL         BU7422936     900     1,900     900      6,900     6,700       1,800    3,183       19,100

100052607   017087007   U OF UT UOC PHCY 340B                SALT LAKE CITY    UT   84108     PHS 340B HOSPITAL    BU7422948                                 100            80                   90      180

100050980   008036798   UNITED INDIAN HEALTH SVCS 340B          ARCATA         CA   95521      PHS 340B CLINIC     BU7452941    8,000    8,000   10,500     8,700    11,000      11,000    9,533       57,200

100056378   037090225   BAYNE-JONES ARMY CONT HOSP/DOD         FORT POLK       LA   71459    HOSPITAL (FEDERAL)    BU7533929   10,400   20,000   15,600    33,600    12,000      12,000   17,267      103,600

100056327   046005256   UNION PHCY & MEDICAL SUPPLIES            MIAMI         FL   33144       INDEPENDENT        BU7735193     500      600      700       800       700        1,200     750         4,500

100085631   040103523   U SAVE IT PHCY, NORTHWEST 340B           ALBANY        GA   31707      PHS 340B CLINIC     BU7799894              500                500                            500         1,000

100057921   019301036   ST CATHERINES MED CTR CAMPUS        PLEASANT PRAIRIE   WI   53158         HOSPITAL         BU7864867    1,100    1,000    1,150     1,450     1,580        880     1,193        7,160

100105819   012096396   RANCHO SPRINGS MEDICAL CENTER          MURRIETA        CA   92562         HOSPITAL         BU7904421    1,700    1,600    1,800     1,800     1,680       1,500    1,680       10,080

100083422   024104851   MEDICO PHARMACY DBA                   LOS ANGELES      CA   90025       INDEPENDENT        BU8118590    2,000    1,000               100      1,000                1,025        4,100

100076584   055021170   PHYSICIANS PHARMACY ALLIANCE              CARY         NC   27518   HOME HEALTH SERVICES   BU8132639    1,500    1,600              2,000                          1,700        5,100

100053301   041074286   USA MEDICAL CLINIC      (DOD)          ALEXANDRIA      VA   22315    HOSPITAL (FEDERAL)    BU8154748     100                                                        100          100

100055750   046006619   ULTIMA RX, LLC                           DORAL         FL   33166       INDEPENDENT        BU8503799    2,200    3,100     200      1,200                          1,675        6,700

100067201   044039826   MERCY PHCY-WASHINGTON                 WASHINGTON       MO   63090       INDEPENDENT        BU8572972    2,500    5,000    3,000     4,500     7,100       2,000    4,017       24,100

100068507   019175885   UNION FAMILY PHARMACY         CPA       DUBUQUE        IA   52001       INDEPENDENT        BU8586109    3,900    2,500    2,500     2,300                  500     2,340       11,700

100070442   004143206   U & I INC. USA(Z)    CPA                VERNON         NY   13476       INDEPENDENT        BU8692938    3,300    3,000    3,000     6,800     1,500       3,500    3,517       21,100

100105818   012096388   CORONA REGIONAL MEDICAL CENTER          CORONA         CA   92882         HOSPITAL         BU8728911    1,600    1,200    1,800     1,800     1,780       1,620    1,633        9,800

100053179   056008649   PENN PRESBYTER MED CT PHY(340B        PHILADELPHIA     PA   19104     PHS 340B HOSPITAL    BU8732807    4,300    3,200    2,900     1,400     1,300       1,200    2,383       14,300

100070135   055070870   PRUITTHLTH PHCY SVCS DURHM (W)          DURHAM         NC   27703     LONG TERM CARE       BU8924107   19,600   19,300   21,700    18,900    22,900      19,400   20,300      121,800

100070466   018144014   UBA PHARMACY            CPA           SAN ANTONIO      TX   78218       INDEPENDENT        BU8976803     900     1,300    1,700     1,400     1,500       2,000    1,467        8,800

100067207   044053744   MERCY PHCY-OLIVE-MASON                 SAINT LOUIS     MO   63141       INDEPENDENT        BU9108716    2,200    1,200    2,900     5,200                 2,000    2,700       13,500

100070678   018144584   US COMPOUNDING, INC        CPA          CONWAY         AR   72032       INDEPENDENT        BU9189033              200                100                            150          300

100052224   017087155   U OF UT MADSEN PHCY 340B             SALT LAKE CITY    UT   84112     PHS 340B HOSPITAL    BU9272129    1,500    1,600    1,700      900      1,000       1,300    1,333        8,000

100078247   017076562   U OF UT MADSEN PHCY WAC              SALT LAKE CITY    UT   84112         HOSPITAL         BU9272129     400      300      100       500       300         500      350         2,100

100087957   038102830   LOWRY SURGERY CENTER                    DENVER         CO   80230         HOSPITAL         BU9399393                                 100            80                   90      180

100062930   017087189   U OF UT REDSTONE PHCY 340B             PARK CITY       UT   84098     PHS 340B HOSPITAL    BU9408027    2,100    2,700    2,000     2,100     2,700       2,600    2,367       14,200

100062931   017076463   U OF UT REDSTONE PHCY WAC              PARK CITY       UT   84098         HOSPITAL         BU9408027     600      900      400      2,300      900        1,000    1,017        6,100

100074283   046014266   UNLIMITED CARE SERVICES INC              MIAMI         FL   33174       INDEPENDENT        BU9557743                                 100                            100          100

100106510   018404038   UNIV BEHAVIORAL HLTH OF DENTON          DENTON         TX   76201         HOSPITAL         BU9577668     400      200      400      1,100       -                   420         2,100

100060535   052092775   UAB HIGHLANDS APOTHECARY              BIRMINGHAM       AL   35205         HOSPITAL         BU9720853    8,640    9,620    8,140     8,420     9,800       8,900    8,920       53,520

100084863   052164236   UAB HIGHLANDS PHARMACY                BIRMINGHAM       AL   35205         HOSPITAL         BU9720865    1,500    2,200    1,400     2,000     4,200       1,900    2,200       13,200

100060536   052092767   UAB HIGHLANDS                         BIRMINGHAM       AL   35205         HOSPITAL         BU9720865                                           400                  400          400

100106426   018403865   CEDAR RIDGE                          OKLAHOMA CITY     OK   73141         HOSPITAL         BU9809445     200      900      200      1,300                   80      536         2,680

100060128   017087684   U OF U MORAN EYE CTR PHY 340B        SALT LAKE CITY    UT   84132     PHS 340B HOSPITAL    BU9876991                       100                                      100          100
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100061591   017087171   U OF UT MORAN EYE CTR PHCY340B     SALT LAKE CITY   UT   84132     PHS 340B HOSPITAL    BU9896272     800     1,000    1,000      700         100      400      667      4,000

100060127   017076323   U OF UT MORAN OP PHCY WAC          SALT LAKE CITY   UT   84132         HOSPITAL         BU9896272     100                         700         300      500      400      1,600

100076530   017087320   U OF UT CENTERVILLE PHCY 340B       CENTERVILLE     UT   84014     PHS 340B HOSPITAL    BU9896296    2,900    3,100    2,600     1,600       1,700    2,900    2,467    14,800

100061299   017076364   UNIV OF UT CENTERVILLE WAC          CENTERVILLE     UT   84014       INDEPENDENT        BU9896296     300     1,300     (600)    3,200        400      400      833      5,000

100099751   018398453   WALGREENS #15703       DSD            DANVILLE      AR   72833       WALGREENS          BU9897820    3,600    6,500    8,500     7,700       8,100    2,000    6,067    36,400

100111141   046001969   UNIVERSITY PHARMACY                   JUPITER       FL   33458       INDEPENDENT        BU9949946                                 800        1,400    1,900    1,367     4,100

100088417   037127290   UNIVERSITY GENERAL HOSPITAL          HOUSTON        TX   77054         HOSPITAL         BU9963554     400      800      600       800         500      600      617      3,700

100106509   046059329   UNIVERSITY BEHAVIORAL CENTER         ORLANDO        FL   32826         HOSPITAL         BU9991111              200      200       300         300               250      1,000

100093972   012078345   VALLEY MEDICAL PHARMACY CPA           BRAWLEY       CA   92227       INDEPENDENT        BV0698805    2,000    2,200              3,100       2,300    2,500    2,420    12,100

100052962   012030056   VISTA DRUG                          COSTA MESA      CA   92627       INDEPENDENT        BV0733421    7,500    7,600    8,500     7,500       6,500    4,000    6,933    41,600

100061245   023005637   *VADUZ PHARMACEUTICAL(X)             BROOKLYN       NY   11204       INDEPENDENT        BV0912724     200      700      900        -                            450      1,800

100069604   037140426   VALLEY REGIONAL MED CTR #712        BROWNSVILLE     TX   78526         HOSPITAL         BV1234424     800      700     1,100      700        1,260    1,500    1,010     6,060

100052605   017086843   VIC'S FAMILY PHY                       NAMPA        ID   83686       INDEPENDENT        BV1247128    4,500    5,000    4,000    12,500       1,500    5,000    5,417    32,500

100064395   023089292   VARSHA PHARMACY, INC (ARX)            SELDEN        NY   11784       INDEPENDENT        BV1438236    2,500    2,700    1,000     1,000       3,600     500     1,883    11,300

100071205   020140020   DEL SOL MEDICAL CENTER    #712        EL PASO       TX   79925         HOSPITAL         BV1508069    3,500    4,700    4,800     4,200       6,100    2,700    4,333    26,000

100055558   018003756   VILLAGE DRUG                           OZONA        TX   76943       INDEPENDENT        BV1518490    3,900    3,100    3,400     4,700       4,000    1,000    3,350    20,100

100110383   041154922   VALLEY PHARMACY & INFUSION          WINCHESTER      VA   22601         HOSPITAL         BV1530410                       600     12,700      13,300    6,800    8,350    33,400

100051880   008045773   VILLAGE DRUG CO                     GREENVILLE      CA   95947       INDEPENDENT        BV1661392   19,300   21,800   23,000    16,800      21,600   15,000   19,583   117,500

100063413   046061754   KINDRED HOSP BAY AREA TAMPA            TAMPA        FL   33611         HOSPITAL         BV1686089     600      400      700       600         320      200      470      2,820

100065298   052059923   VAL-U-PHARMACY                      JOHNSON CITY    TN   37604       INDEPENDENT        BV1962352      60      300                                              180       360

100051009   018048330   KINDRED HOSPITAL - FORT WORTH        MANSFIELD      TX   76063         HOSPITAL         BV2138370     900     1,200    2,000      600         700     1,200    1,100     6,600

100056181   038081158   KINDRED HOSPITAL DENVER               DENVER        CO   80218         HOSPITAL         BV2395196                       100       400                           250       500

100070445   023143826   VALLEY PHCU(PLUCKEMIN)(X) CPA        PLUCKEMIN      NJ   07978       INDEPENDENT        BV2546262    1,200    1,800     800       100         600      800      883      5,300

100076122   055018697   VILLAGE PHARMACY                   BLOWING ROCK     NC   28605       INDEPENDENT        BV2583094    3,000    3,500    5,600     5,000       4,600    4,980    4,447    26,680

100053843   024067686   VINA PHARMACY                         RESEDA        CA   91335       INDEPENDENT        BV2666254     400               100       300         300               275      1,100

100054933   012063065   VIA VERDE PRESC.SHOP      PRO        SAN DIMAS      CA   91773       INDEPENDENT        BV2733093    3,300    2,300    1,900     1,700        800      700     1,783    10,700

100054540   037058552   KINDRED HOSPITAL HOUSTON             HOUSTON        TX   77030         HOSPITAL         BV2807569    2,400     800     2,200     1,700       1,300     800     1,533     9,200

100070446   023143834   VALUE MART PHARMACY(Z)       CPA      ORANGE        NJ   07050       INDEPENDENT        BV2885525     600               200       400         300      200      340      1,700

100101322   008070672   VALLEY CARE MEDICAL CNTR PHMCY      PLEASANTON      CA   94588         HOSPITAL         BV2920874    1,700    2,400    2,400     1,800       2,600    2,000    2,150    12,900

100060606   056035188   VILLAGE PHARMACY(Z) (IPBG)         SPRING HOUSE     PA   19477       INDEPENDENT        BV3060340     300      200      300       100         900      400      367      2,200

100070447   023143842   VAN HOUTEN PHARMACY(Z)       CPA      CLIFTON       NJ   07013       INDEPENDENT        BV3368962     700      900     1,000      500         700      300      683      4,100

100057859   032021428   GHC PHARM VERADALE HC CTR 55          SPOKANE       WA   99216       HEALTH PLAN        BV3500419   20,700   25,700   21,300    21,500       8,700            19,580    97,900

100071998   032116152   GHC PHARM VERADALE HC CTR 55 2        SPOKANE       WA   99216       HEALTH PLAN        BV3500419                                           17,300   19,200   18,250    36,500

100061286   019096859   KINDRED HOSPITAL INDIANAPOLIS       INDIANAPOLIS    IN   46222         HOSPITAL         BV3644095     200      600     1,000                  800     1,440     808      4,040

100074490   055049221   KINDRED HOSPITAL GREENSBORO         GREENSBORO      NC   27406         HOSPITAL         BV3958836     500                -                    680      600      445      1,780

100065239   049077826   VISITING NURSE ASSOCIATION/VHA        SAGINAW       MI   48602   HOME HEALTH SERVICES   BV3996204     500      500      500                   400      600      500      2,500

100050887   018030452   KINDRED HOSPITAL DALLAS               DALLAS        TX   75243         HOSPITAL         BV4048509     500     1,000    1,200     1,100       1,100     980      980      5,880

100050696   018059345   KINDRED HOSPITAL - FORT WORTH       FORT WORTH      TX   76104         HOSPITAL         BV4270942     800     1,600    1,900     2,000       2,980     800     1,680    10,080

100066291   008030973   VALLEY STATE PRISON                 CHOWCHILLA      CA   93610         ALT SITE         BV4399778     200     1,200     200                   200      900      540      2,700

100084162   012088930   VIA LIDO DRUGS                     NEWPORT BEACH    CA   92663       INDEPENDENT        BV4466872    5,300    6,800    6,900     6,200       8,100    1,400    5,783    34,700

100066032   021074419   VIA CHRISTI REG MED CTR-ST FRA        WICHITA       KS   67214         HOSPITAL         BV4716760    6,200    8,500    9,600     9,750       9,960    5,000    8,168    49,010

100091963   021167932   VIA CHRISTI HSP ST FRANCIS WAC        WICHITA       KS   67214         HOSPITAL         BV4716760     100      100      550       150        1,700    2,000     767      4,600

100066033   021073205   VIA CHRISTI HOSPITAL PHARMACY         WICHITA       KS   67218         HOSPITAL         BV4754087     600     2,400    1,350     1,050       1,320    1,500    1,370     8,220

100091962   021167924   VIA CHRISTI HOSP E HARRY WAC          WICHITA       KS   67218         HOSPITAL         BV4754087     300               100            50      80               133       530
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100089993   021167429   VIA CHRISTI HOSP E HARRY 340B        WICHITA       KS   67218   PHS 340B HOSPITAL   BV4754087     200                                                   200       200

100053386   010051177   KINDRED HOSPITAL-PITTSBURGH          OAKDALE       PA   15071       HOSPITAL        BV4755128     200      200      100      100      400      200      200      1,200

100053019   024035212   VICTORY DISCOUNT PHARMACY        NORTH HOLLYWOOD   CA   91606     INDEPENDENT       BV4814364   10,200    2,000    7,400    8,400     500              5,700    28,500

100050428   004028985   V-CARE PHCY INC (ARX)             SPRING VALLEY    NY   10977     INDEPENDENT       BV5357529     100      200               700      900      600      500      2,500

100053951   041010652   KINDRED PHCY SVS VA BEACH R58     VIRGINIA BEACH   VA   23462   LONG TERM CARE      BV5369740     900      900     1,400    2,400     500      400     1,083     6,500

100053905   018002717   KINDRED HOSP TARRANT COUNTY         ARLINGTON      TX   76011       HOSPITAL        BV5635466    1,100    1,900     900     1,600    1,340    2,020    1,477     8,860

100050861   004076976   KINDRED HOSP BOSTON N.SHORE          PEABODY       MA   01960       HOSPITAL        BV5636785     100      100      200                                 133       400

100061287   019096800   KINDRED HOSP-INDIANAPOLIS S        GREENWOOD       IN   46143       HOSPITAL        BV5751450     400      500      600      400     1,180     420      583      3,500

100050711   018061986   KINDRED HOSPITAL WHITE ROCK          DALLAS        TX   75218       HOSPITAL        BV5776844     200      300      600      400     1,120     360      497      2,980

100053176   024073585   VALLEY DRUG AND COMPOUNDING          ENCINO        CA   91316     INDEPENDENT       BV5776856    1,000    1,300     800      900     1,600    1,150    1,125     6,750

100060098   052078444   KINDRED HOSPITAL CHATTANOOGA      CHATTANOOGA      TN   37402       HOSPITAL        BV5809578     200      600      200      700      380      180      377      2,260

100067488   021078113   KINDRED HOSPITAL KANSAS CITY       KANSAS CITY     MO   64131       HOSPITAL        BV5819276     700      600     1,100     700     1,500     800      900      5,400

100076943   044088682   KINDRED HOSPITAL ST. LOUIS         SAINT LOUIS     MO   63108       HOSPITAL        BV5819290     300      400      200      900      100      900      467      2,800

100105803   012021329   DESERT SPRINGS HOSPITAL             LAS VEGAS      NV   89119       HOSPITAL        BV5819517    2,000    2,200    1,800    2,300    2,040    1,300    1,940    11,640

100068232   020142067   MARYVALE MEDICAL CENTER              PHOENIX       AZ   85031       HOSPITAL        BV5838062     300      300      200      300      200      280      263      1,580

100053611   020068312   KINDRED HOSPITAL PHOENIX             PHOENIX       AZ   85012       HOSPITAL        BV5892713                                                  200      200       200

100058105   019036418   KINDRED HOSP CHICAGO N.LAKE         NORTHLAKE      IL   60164       HOSPITAL        BV5909380     600      700      800      900     1,320     960      880      5,280

100058106   019036434   KINDRED HOSPITAL SYCAMORE           SYCAMORE       IL   60178       HOSPITAL        BV5921211     500     1,400     900     1,000     960      500      877      5,260

100058104   019036400   KINDRED HOSPITAL CHICAGO NORTH       CHICAGO       IL   60618       HOSPITAL        BV5921223     950     1,500     800     1,600    2,660     600     1,352     8,110

100053612   020068320   KINDRED HOSPITAL TUCSON              TUCSON        AZ   85711       HOSPITAL        BV6008634     300                                 500      180      327       980

100055332   018035162   KINDRED HOSP SAN ANTONIO PHCY      SAN ANTONIO     TX   78229       HOSPITAL        BV6010920     900     1,200     700     1,200     600     1,100     950      5,700

100063763   044066183   KINDRED HOSPITAL-LOUISVILLE         LOUISVILLE     KY   40204       HOSPITAL        BV6066977    2,200    2,200    2,900    4,500    2,340    2,620    2,793    16,760

100104295   004101725   VALUABLE DRUGS MIDRAGE 9           WHITE PLAINS    NY   10607     INDEPENDENT       BV6070027     700      900     1,000    1,500     500     2,000    1,100     6,600

100052314   020080630   PHARMERICA (LAS VEGAS)             HENDERSON       NV   89014   LONG TERM CARE      BV6088339   12,000   25,600   35,100   36,200              100    21,800   109,000

100053282   020061739   KINDRED HOSP, LV-SAHARA             LAS VEGAS      NV   89146       HOSPITAL        BV6115489     400      300      100      300                        275      1,100

100050639   004054239   KINDRED HOSPITAL BOSTON              BOSTON        MA   02135       HOSPITAL        BV6128943                                 30                         30        30

100060471   040003392   KINDRED HOSPITAL ATLANTA             ATLANTA       GA   30308       HOSPITAL        BV6196174     200      300      400      400      360      300      327      1,960

100058585   056100495   *VILLAGE SUPERMARKET, INC #550      VINELAND       NJ   08361        CHAIN          BV6261565                                100                        100       100

100070448   056143271   VILLAGE PHARMACY:MARMORA(X)CPA      MARMORA        NJ   08223     INDEPENDENT       BV6274601    2,800    3,100    6,400    4,200     600      600     2,950    17,700

100054450   037052225   SURGERY SPECIALY HOSP OF AMERI      PASADENA       TX   77504       HOSPITAL        BV6277924      50                        200       80               110       330

100063630   049094946   VILLAGE PHARMACY     SF           GRAND RAPIDS     MI   49508     INDEPENDENT       BV6348266    6,000    7,600    6,500   10,500    5,000    6,500    7,017    42,100

100107086   010236893   VILLAGE APOTHECARY DIP              PAULDING       OH   45879   LONG TERM CARE      BV6520236     500      500                                          500      1,000

100068228   020142059   ARROWHEAD HOSPITAL                  GLENDALE       AZ   85308       HOSPITAL        BV6764787     800      750      950      700     1,040     680      820      4,920

100068143   020142083   PHOENIX BAPTIST HOSPITAL-I/P         PHOENIX       AZ   85015       HOSPITAL        BV6764799     550      650      700      600      560      400      577      3,460

100066029   021070805   VIA CHRISTI BEHAV HLTH /CONS         WICHITA       KS   67207       HOSPITAL        BV6917530     400      200      100      300      360               272      1,360

100085986   023104240   VALUE PHCY & SURGICAL INC(ARX)       PASSAIC       NJ   07055     INDEPENDENT       BV6989264     200      200      100                                 167       500

100066672   052147546   VILLAGE DRUG SHOP         SF      MUSCLE SHOALS    AL   35661     INDEPENDENT       BV7037193    1,600    1,900    8,800    1,200   20,100   33,800   11,233    67,400

100106562   018404079   VISTA HEALTH                       FAYETTEVILLE    AR   72703       HOSPITAL        BV7071525     650      850      700     1,000     800      600      767      4,600

100069584   021009688   VALLEY DRUG STORE         SF     MISSOURI VALLEY   IA   51555     INDEPENDENT       BV7418785    3,400    5,400    3,000    3,300    2,500    7,700    4,217    25,300

100107451   021174284   VALLEY DRUG STORE 340B           MISSOURI VALLEY   IA   51555   PHS 340B HOSPITAL   BV7418785    6,300    4,100    6,900    5,700                      5,750    23,000

100070698   052145086   VAUGHAN REGIONAL MED CTR #712         SELMA        AL   36701       HOSPITAL        BV7543449     200      350      800      200      400      360      385      2,310

100068142   020142075   PARADISE VALLEY HOSPITAL             PHOENIX       AZ   85032       HOSPITAL        BV7594143     300      300      400      800      320      160      380      2,280

100070699   037145078   MERCY REGIONAL MED CTR #712        VILLE PLATTE    LA   70586       HOSPITAL        BV7653048     600      400      300      500      720      300      470      2,820

100054055   037077081   VITA-CARE PHARMACY                  HOUSTON        TX   77063     INDEPENDENT       BV7923976   14,300   13,800   14,800   17,300   13,500   16,500   15,033    90,200
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100055224   046005454   VICTORIA HEALTHCARE, INC                  MIAMI        FL   33128      HOSPITAL       BV8000325               50      100                                  75       150

100068141   018142075   NORTHEAST BAPTIST HOSP          VAN    SAN ANTONIO     TX   78217      HOSPITAL       BV8166919    4,700    5,300             3,900    4,000    3,120    4,204    21,020

100068144   018142083   MISSION TRAIL BAPIST HOSP VAN          SAN ANTONIO     TX   78235      HOSPITAL       BV8166933    2,500    2,800    1,900    2,000    2,200    1,500    2,150    12,900

100068140   018142067   NORTH CTRL BAPTIS HOSP VAN             SAN ANTONIO     TX   78258      HOSPITAL       BV8166969    6,200    7,200   12,600    8,100    5,800    6,000    7,650    45,900

100068229   018142059   BAPTIST MEDICAL CENTER         VAN     SAN ANTONIO     TX   78205      HOSPITAL       BV8168278    6,500    7,200    6,900    6,000    6,600    5,340    6,423    38,540

100068145   018142091   ST LUKES BAPTIST HOSP         VAN      SAN ANTONIO     TX   78229      HOSPITAL       BV8170437    6,600    8,000    6,300   10,600    3,380    6,960    6,973    41,840

100109100   004103283   VERMONT FAMILY PHCY INC SF             BURLINGTON      VT   05408    INDEPENDENT      BV8261529    1,600     700     1,100    1,100    1,000    2,100    1,267     7,600

100056416   032079947   VIRGINIA GARCIA MEMORIAL                CORNELIUS      OR   97113   PHS 340B CLINIC   BV8349323    1,800    2,600    1,600    1,400    2,600     900     1,817    10,900

100086513   024109322   VINE DISCOUNT PHARMACY AND             HOLLYWOOD       CA   90038    INDEPENDENT      BV8588747    1,000    5,200    1,900    2,900    2,600    2,500    2,683    16,100

100054596   012059675   VILLA PARK PHARMACY           PRO       VILLA PARK     CA   92861    INDEPENDENT      BV8639037    8,500    6,700    9,600   11,500    6,600    5,900    8,133    48,800

100068442   010178046   VILLAGE SURGICENTER                        ERIE        PA   16505      HOSPITAL       BV8870746                                         100               100       100

100065929   008103663   MANOR DRUGS                              FRESNO        CA   93710    INDEPENDENT      BV9188257     600     1,700     200     1,600    7,500    7,100    3,117    18,700

100063443   018065474   VALIR REHAB HOSP OF OKC               OKLAHOMA CITY    OK   73102      HOSPITAL       BV9411620     700      900     1,150    1,100    1,580     800     1,038     6,230

100067164   004059758   *V & S PHCY, LLC (Z) (GNP)             STONINGTON      ME   04681    INDEPENDENT      BV9453022    1,500                                                 1,500     1,500

100052593   056008417   VILLAGE PHARMACY(Z)          (GNP)     ALLENTOWN       NJ   08501    INDEPENDENT      BV9496793    1,900    2,600    2,500    2,100    3,300     500     2,150    12,900

100058044   032107425   VIRGINIA GARCIA MEM HC 340B             BEAVERTON      OR   97005   PHS 340B CLINIC   BV9861964    3,500    2,800    3,200    3,800    2,500    2,500    3,050    18,300

100071955   018140079   VIBRA SPECIALTY HOSPITAL                 DESOTO        TX   75115      HOSPITAL       BV9978303    1,300    1,100    1,000    1,750     800      640     1,098     6,590

100097901   019170175   WALGREENS #04190             DSD       FORT WAYNE      IN   46809    WALGREENS        BW0115964   23,920   24,400   24,400   26,160   20,300   24,100   23,880   143,280

100102708   046052852   WALGREENS #05197             DSD      MARCO ISLAND     FL   34145    WALGREENS        BW0120597     600              2,100    4,000    4,900    4,200    3,160    15,800

100097833   019169490   WALGREENS #12788             DSD         GRIFFITH      IN   46319    WALGREENS        BW0120600   46,400   45,300   45,600   45,700   54,200   15,000   42,033   252,200

100097855   019169714   WALGREENS #03680             DSD       VALPARAISO      IN   46383    WALGREENS        BW0120612   33,000   31,830   30,900   35,350   39,100   22,100   32,047   192,280

100097874   019169904   WALGREENS #07418             DSD          KNOX         IN   46534    WALGREENS        BW0120648   23,500   25,000   26,600   24,360   31,600   20,200   25,210   151,260

100097843   019169599   WALGREENS #06216             DSD         HOBART        IN   46342    WALGREENS        BW0120650   37,700   38,600   36,500   41,300   38,900   24,500   36,250   217,500

100097836   019169524   WALGREENS #07708             DSD         MUNSTER       IN   46321    WALGREENS        BW0120662   12,200   13,300   11,300   13,600   17,400   10,500   13,050    78,300

100097918   019170340   WALGREENS #09827             DSD          PERU         IN   46970    WALGREENS        BW0120698   20,300   19,500   17,800   20,530   13,000   16,600   17,955   107,730

100097964   019170597   WALGREENS #06434             DSD       RENSSELAER      IN   47978    WALGREENS        BW0120701   22,500   25,300   23,100   23,700   27,500   14,000   22,683   136,100

100097850   019169664   WALGREENS #13949             DSD         PORTAGE       IN   46368    WALGREENS        BW0120713   52,500   55,200   49,100   55,100   54,600   16,900   47,233   283,400

100097838   019169540   WALGREENS #03352             DSD        HAMMOND        IN   46323    WALGREENS        BW0120725   42,100   46,500   43,600   44,300   29,600   32,700   39,800   238,800

100097845   019169615   WALGREENS #05141             DSD         LAPORTE       IN   46350    WALGREENS        BW0120737   17,500   22,100   20,100   21,100   24,000   17,700   20,417   122,500

100097834   019169508   WALGREENS #04462             DSD        HAMMOND        IN   46320    WALGREENS        BW0120751   31,600   34,800   30,800   31,800   33,600   30,400   32,167   193,000

100097829   019169458   WALGREENS #06106             DSD          DYER         IN   46311    WALGREENS        BW0120763   20,800   23,830   19,700   23,500   25,200   14,600   21,272   127,630

100097846   019169623   WALGREENS #05194             DSD         LOWELL        IN   46356    WALGREENS        BW0120775   31,300   32,600   29,800   29,720   33,600   24,600   30,270   181,620

100097856   019169722   WALGREENS #05241             DSD       VALPARAISO      IN   46383    WALGREENS        BW0120787   19,000   21,300   17,800   18,900   15,200   15,800   18,000   108,000

100097827   019169433   WALGREENS #12812             DSD       CROWN POINT     IN   46307    WALGREENS        BW0120799   17,300   16,700   17,000   19,100   19,500   17,000   17,767   106,600

100097919   019170357   WALGREENS #05316             DSD       ROCHESTER       IN   46975    WALGREENS        BW0120814   15,900   16,000   13,800   13,600   19,300    8,500   14,517    87,100

100097841   019169573   WALGREENS #12074             DSD         HEBRON        IN   46341    WALGREENS        BW0120826   16,400   18,400   19,900   18,600   13,400   15,700   17,067   102,400

100097849   019169656   WALGREENS #04560             DSD         PORTAGE       IN   46368    WALGREENS        BW0120840   26,800   30,400   33,260   31,800   41,300   22,060   30,937   185,620

100097853   019169698   WALGREENS #05787             DSD      SCHERERVILLE     IN   46375    WALGREENS        BW0120876   26,200   29,800   27,100   28,200   25,900   26,300   27,250   163,500

100097840   019169565   WALGREENS #05628             DSD        HAMMOND        IN   46327    WALGREENS        BW0120890   21,900   22,000   21,400   23,900   20,700   21,040   21,823   130,940

100103722   046056085   WALGREENS #04426             DSD        BELLEVIEW      FL   34420    WALGREENS        BW0127123                      6,500   10,600   10,200   15,000   10,575    42,300

100100469   018402743   WALGREENS #01933             DSD          AUSTIN       TX   78704    WALGREENS        BW0134762    5,320   25,300   23,160   22,290   22,600   17,100   19,295   115,770

100097925   044217273   WALGREENS #06100             DSD      JEFFERSONVILLE   IN   47130    WALGREENS        BW0153813    8,600   40,500   45,280   45,800   46,000   44,000   38,363   230,180

100097926   044217281   WALGREENS #04122             DSD       NEW ALBANY      IN   47150    WALGREENS        BW0153825    3,500   21,700   20,900   24,900   26,300   22,100   19,900   119,400

100100245   037132423   WALGREENS #04696             DSD          KATY         TX   77450    WALGREENS        BW0156504    1,500    2,400   22,400   36,000   21,500   22,600   17,733   106,400
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100102808   046053348   WALGREENS #05495       DSD       WINTER PARK      FL   32792   WALGREENS     BW0162545     700       100     4,200    4,900    5,000    5,400    3,383    20,300

100101791   046046813   WALGREENS #01508       DSD     FORT LAUDERDALE    FL   33312   WALGREENS     BW0162557     500       300     6,900    9,800   12,900    5,630    6,005    36,030

100097758   044217208   WALGREENS #04123       DSD      ELIZABETHTOWN     KY   42701   WALGREENS     BW0163737    6,200    25,270   25,200   26,600   20,100   18,000   20,228   121,370

100099274   044218719   WALGREENS #05120       DSD        DES PERES       MO   63131   WALGREENS     BW0163751     200      6,900   11,900   11,300   12,900    9,400    8,767    52,600

100101407   008112250   WALGREENS #01537       DSD         OAKLAND        CA   94601   WALGREENS     BW0167329   18,500    18,700   17,700   20,100   14,400   15,700   17,517   105,100

100102871   046053611   WALGREENS #07589       DSD          OCALA         FL   34471   WALGREENS     BW0171102     (100)     500     7,200   12,700   16,600   16,500    8,900    53,400

100103044   008113548   WALGREENS #01054       DSD      SAN FRANCISCO     CA   94110   WALGREENS     BW0171114    9,100    10,800    9,200   10,200    9,800    5,200    9,050    54,300

100103329   008114298   WALGREENS #11706       DSD         OAKLAND        CA   94606   WALGREENS     BW0171885   18,100    19,100   17,600   19,000   17,000   15,500   17,717   106,300

100102486   046051722   WALGREENS #05854       DSD        LAKELAND        FL   33809   WALGREENS     BW0171998     300      1,500    2,500   19,700   20,300   12,900    9,533    57,200

100101620   020160101   WALGREENS #05157       DSD        ESPANOLA        NM   87532   WALGREENS     BW0179247   32,600    36,200   34,200   35,600   42,500   29,000   35,017   210,100

100101800   038109710   WALGREENS #04709       DSD     COLORADO SPRINGS   CO   80911   WALGREENS     BW0179829   26,600    24,600   21,500   22,200   26,500   14,600   22,667   136,000

100098569   025090514   WALGREENS #07188       DSD         HILLTOP        MN   55421   WALGREENS     BW0182852    7,600     9,200    7,000    9,500    7,000    4,500    7,467    44,800

100103699   046055822   WALGREENS #03574       DSD        MARATHON        FL   33050   WALGREENS     BW0182876     100                        4,700    4,700    4,600    3,525    14,100

100103071   046054718   WALGREENS #04248       DSD        SEBASTIAN       FL   32958   WALGREENS     BW0182890     300       400     6,100   15,100   11,900   13,900    7,950    47,700

100101514   038108829   WALGREENS #04366       DSD       WHEAT RIDGE      CO   80033   WALGREENS     BW0187674   21,300    22,100   20,700   19,700   17,300   13,900   19,167   115,000

100101919   046047175   WALGREENS #04080       DSD        HAVERHILL       FL   33409   WALGREENS     BW0208086                       3,100    6,200    5,800    3,100    4,550    18,200

100095064   010231837   WALGREENS #10206       DSD        LEXINGTON       KY   40503   WALGREENS     BW0212275     500      6,500    6,000    6,000    7,000    3,000    4,833    29,000

100102281   020161331   WALGREENS #12739       DSD         PHOENIX        AZ   85032   WALGREENS     BW0214849    9,700     8,500    8,640    9,130   11,000    7,700    9,112    54,670

100098560   025090423   WALGREENS #01303       DSD       MINNEAPOLIS      MN   55407   WALGREENS     BW0218405    9,350     8,230    8,750    7,500    7,100    5,700    7,772    46,630

100094844   023138586   WALGREENS #01572       DSD         FLUSHING       NY   11355   WALGREENS     BW0230653     200      2,100              500     1,000     400      840      4,200

100103145   020163410   WALGREENS #07735       DSD       LOS RANCHOS      NM   87107   WALGREENS     BW0236136   10,200     9,600   11,600   11,600   12,000    8,600   10,600    63,600

100100313   038108514   WALGREENS #05375       DSD       PORT ARTHUR      TX   77642   WALGREENS     BW0238306    2,780     4,400   27,900   54,600   37,600   29,700   26,163   156,980

100070963   044143461   WYNNE APOTHECARY.INC     CPA        WYNNE         AR   72396   INDEPENDENT   BW0248054    8,700     5,000    5,800    5,100    8,300    5,500    6,400    38,400

100087141   003090886   WALGREENS #374                    MAYAGUEZ        PR   00682   WALGREENS     BW0253598               500     1,020     500                        673      2,020

100099484   021171397   WALGREENS #04974       DSD          OMAHA         NE   68106   WALGREENS     BW0264894   28,700    27,660   28,890   30,060   28,900   24,000   28,035   168,210

100100485   018402909   WALGREENS #04458       DSD          AUSTIN        TX   78749   WALGREENS     BW0264945    5,500    17,500   15,600   19,700   16,400   14,100   14,800    88,800

100103733   020164699   WALGREENS #09202       DSD          MESA          AZ   85210   WALGREENS     BW0264957   11,300     9,100   10,100   10,200   12,600    7,200   10,083    60,500

100101453   020144808   WALGREENS #03769       DSD         PHOENIX        AZ   85016   WALGREENS     BW0264971    6,200     6,100    4,500    5,700    6,700    4,100    5,550    33,300

100102840   046053462   WALGREENS #05578       DSD        DUNNELLON       FL   34432   WALGREENS     BW0265086               500     8,300   13,900   17,000   20,500   12,040    60,200

100101811   046046862   WALGREENS #05153       DSD        LAUDERHILL      FL   33313   WALGREENS     BW0265834    1,100      100     2,500    4,800    5,100    4,700    3,050    18,300

100098244   021169755   WALGREENS #09476       DSD        BURLINGTON      IA   52601   WALGREENS     BW0295926   10,300    12,500   12,300   11,000   11,700    8,200   11,000    66,000

100099118   019178830   WALGREENS #06604       DSD          PEORIA        IL   61615   WALGREENS     BW0309422    2,000    15,100   13,500   14,200   16,100    9,000   11,650    69,900

100097526   052221911   WALGREENS #04169       DSD        KNOXVILLE       TN   37920   WALGREENS     BW0315677   38,800    37,100   36,300   38,700   24,900   29,700   34,250   205,500

100097445   044215632   WALGREENS #05869       DSD        NASHVILLE       TN   37218   WALGREENS     BW0315689   53,320    52,280   52,700   56,720   44,800   31,500   48,553   291,320

100099275   044218727   WALGREENS #06350       DSD         OLIVETTE       MO   63132   WALGREENS     BW0319649     200      5,500    9,800    6,900    9,100    6,200    6,283    37,700

100101550   046045971   WALGREENS #04699       DSD         DELAND         FL   32724   WALGREENS     BW0329323     100       200    10,500   15,600   21,700   28,700   12,800    76,800

100101756   046046706   WALGREENS #06221       DSD     FORT LAUDERDALE    FL   33304   WALGREENS     BW0336784     300       800     4,290    5,870    5,800    7,300    4,060    24,360

100102359   046049999   WALGREENS #03951       DSD      ST PETERSBURG     FL   33710   WALGREENS     BW0336796     300       500     2,600   26,700   16,900   18,500   10,917    65,500

100102055   046047639   WALGREENS #04279       DSD         JUPITER        FL   33458   WALGREENS     BW0337116     100       200     7,130   10,100   10,000    7,300    5,805    34,830

100099576   037131318   WALGREENS #05040       DSD       NEW ORLEANS      LA   70130   WALGREENS     BW0355126              2,200    9,900   14,500   18,600   13,300   11,700    58,500

100103137   020163394   WALGREENS #04649       DSD       ALBUQUERQUE      NM   87106   WALGREENS     BW0386044   10,800    12,100   10,100   10,100   12,000    7,500   10,433    62,600

100102206   046049445   WALGREENS #06029       DSD         SEFFNER        FL   33584   WALGREENS     BW0389886     300       520     5,300   25,700   18,000   18,500   11,387    68,320

100099266   044218636   WALGREENS #09436       DSD       CRESTWOOD        MO   63126   WALGREENS     BW0392225              4,600    9,500    9,500    9,700    8,000    8,260    41,300

100102238   020161232   WALGREENS #03477       DSD         PHOENIX        AZ   85022   WALGREENS     BW0403078   20,800    19,100   20,200   19,000   16,800   16,000   18,650   111,900
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100095079   023142919   WALGREENS #01180       DSD       LONG ISLAND CITY   NY   11106   WALGREENS     BW0405541    2,900     900     1,600    1,000     500     2,900    1,633     9,800

100056246   032078907   WHITE'S PHARMACY   GNP+               SITKA         AK   99835   INDEPENDENT   BW0406531   11,400   11,200   10,500    9,500   11,100   12,000   10,950    65,700

100101451   046045393   WALGREENS #03755       DSD        JACKSONVILLE      FL   32217   WALGREENS     BW0420454     200      900     9,700   17,700   13,300   15,500    9,550    57,300

100094659   010228718   WALGREENS #07182       DSD          CINCINNATI      OH   45211   WALGREENS     BW0432005   10,500   11,500   10,000   11,500   11,500   11,000   11,000    66,000

100100491   018402966   WALGREENS #05160       DSD           AUSTIN         TX   78752   WALGREENS     BW0435986    4,600   14,500   13,200   13,200   11,700    7,500   10,783    64,700

100095836   004094375   WALGREENS #03944       DSD          BRANFORD        CT   06405   WALGREENS     BW0446561    4,900    6,500    5,300    5,500    5,700    3,800    5,283    31,700

100095850   004094458   WALGREENS #11825       DSD           BRISTOL        CT   06010   WALGREENS     BW0446585    9,090    7,000    7,700    7,300    9,000    6,900    7,832    46,990

100095890   004094730   WALGREENS #06968       DSD          DANBURY         CT   06811   WALGREENS     BW0446612    2,600    2,700    3,200    2,640    2,700    2,200    2,673    16,040

100095893   023146381   WALGREENS #01873       DSD           DARIEN         CT   06820   WALGREENS     BW0446636    2,700    3,100    1,500    2,400    2,300    1,300    2,217    13,300

100095929   004094953   WALGREENS #01824       DSD           ENFIELD        CT   06082   WALGREENS     BW0446674    5,100    4,200    4,000    3,200    5,200    2,400    4,017    24,100

100096123   004099093   WALGREENS #07935       DSD           ORANGE         CT   06477   WALGREENS     BW0446713    2,800    3,020    3,590    1,800    3,800    3,200    3,035    18,210

100096037   004098434   WALGREENS #05407       DSD        MANCHESTER        CT   06040   WALGREENS     BW0446737   11,900   13,500    9,900   10,700   10,000    8,700   10,783    64,700

100096088   004098806   WALGREENS #03579       DSD         NEW HAVEN        CT   06515   WALGREENS     BW0446751    3,600    3,900    3,600    3,900    4,500    3,200    3,783    22,700

100095977   004098053   WALGREENS #03827       DSD          HARTFORD        CT   06106   WALGREENS     BW0446775    3,500    5,400    4,200    3,900    3,300    4,000    4,050    24,300

100095938   023146514   WALGREENS #01835       DSD          FAIRFIELD       CT   06825   WALGREENS     BW0446799    5,900    5,300    4,300    5,300    5,000    2,000    4,633    27,800

100096196   004099564   WALGREENS #05134       DSD          SIMSBURY        CT   06070   WALGREENS     BW0446814    5,200    6,600    7,100    5,600    6,100    4,000    5,767    34,600

100096278   023147199   WALGREENS #01834       DSD          WESTPORT        CT   06880   WALGREENS     BW0446838    3,700    3,500    2,700    3,300    3,930    3,030    3,360    20,160

100096261   004100354   WALGREENS #01826       DSD       WEST HARTFORD      CT   06117   WALGREENS     BW0446840    3,000    3,300    4,000    4,000    2,000    2,500    3,133    18,800

100096281   004100610   WALGREENS #04490       DSD        WETHERSFIELD      CT   06109   WALGREENS     BW0446864    3,800    3,200    3,500    2,900    3,700    4,000    3,517    21,100

100096287   004100651   WALGREENS #07333       DSD         WILLIMANTIC      CT   06226   WALGREENS     BW0446876   11,200   10,340    8,700   10,890   13,000    5,100    9,872    59,230

100101748   046046680   WALGREENS #01600       DSD            MIAMI         FL   33196   WALGREENS     BW0466638              600     1,100    4,000    3,100    4,000    2,560    12,800

100098317   019171611   WALGREENS #01685       DSD         MILWAUKEE        WI   53202   WALGREENS     BW0470500   12,600   11,600   12,600   11,100    9,300   11,300   11,417    68,500

100054499   010044776   VALLEY VIEW PHARMACY      APSC      MAGNOLIA        OH   44643   INDEPENDENT   BW0474104    8,500   10,600   16,300   10,100   12,800    7,000   10,883    65,300

100103091   046054817   WALGREENS #04642       DSD         VERO BEACH       FL   32966   WALGREENS     BW0479875     100     1,200    8,290   20,510   22,330   20,300   12,122    72,730

100094655   010228676   WALGREENS #06653       DSD          EVENDALE        OH   45241   WALGREENS     BW0481577   11,460   11,460   12,560   12,120   14,300    9,300   11,867    71,200

100102333   020161463   WALGREENS #13870       DSD           PHOENIX        AZ   85044   WALGREENS     BW0482531   13,000   13,200   12,600   13,700   13,900    8,200   12,433    74,600

100103069   046054700   WALGREENS #06163       DSD          LEESBURG        FL   34748   WALGREENS     BW0487048     130      130    13,200   15,100    7,300    9,000    7,477    44,860

100103762   020164798   WALGREENS #06736       DSD          GLENDALE        AZ   85304   WALGREENS     BW0492380   12,730   13,230   10,990   13,590   16,200    7,400   12,357    74,140

100096219   004099721   WALGREENS #05755       DSD         STOUGHTON        MA   02072   WALGREENS     BW0499182    7,100    7,400    6,600    6,830    9,100    5,100    7,022    42,130

100095900   004094805   WALGREENS #01847       DSD        DORCHESTER        MA   02122   WALGREENS     BW0499233    4,200    3,860    5,420    4,000    4,800    2,400    4,113    24,680

100095834   004094367   WALGREENS #10317       DSD           BOSTON         MA   02136   WALGREENS     BW0499245    3,000    3,500    5,100    3,300    5,400    1,200    3,583    21,500

100096174   004099390   WALGREENS #15001       DSD         ROSLINDALE       MA   02131   WALGREENS     BW0499257    2,600    3,000    1,700    2,100    3,100    2,100    2,433    14,600

100096077   004098723   WALGREENS #01851       DSD           NATICK         MA   01760   WALGREENS     BW0499271    3,100    4,300    3,700    4,300    4,900    2,800    3,850    23,100

100096078   004098731   WALGREENS #01852       DSD          NEEDHAM         MA   02492   WALGREENS     BW0499283    1,900    1,800    2,100    1,100    3,200     700     1,800    10,800

100096222   004099739   WALGREENS #01862       DSD        SWAMPSCOTT        MA   01907   WALGREENS     BW0499334    2,600    3,600    3,400    3,000    3,100    2,900    3,100    18,600

100096013   004098277   WALGREENS #01863       DSD          LEXINGTON       MA   02420   WALGREENS     BW0499346    1,500    1,600    2,500    2,200    2,200    2,200    2,033    12,200

100095804   004094193   WALGREENS #01864       DSD         ARLINGTON        MA   02474   WALGREENS     BW0499358    4,200    4,900    2,200    4,800    3,600    2,600    3,717    22,300

100096163   004099341   WALGREENS #10824       DSD           REVERE         MA   02151   WALGREENS     BW0499384    5,300    7,500    4,700    6,600    6,200    6,100    6,067    36,400

100096101   004098897   WALGREENS #01871       DSD       NEWTON CENTRE      MA   02459   WALGREENS     BW0499423    1,900    1,700     500     1,500    1,000    1,600    1,367     8,200

100096005   004098178   WALGREENS #03154       DSD            KEENE         NH   03431   WALGREENS     BW0509933    7,800    9,400    5,900    9,300    8,200    6,100    7,783    46,700

100097444   044215624   WALGREENS #10657       DSD          NASHVILLE       TN   37217   WALGREENS     BW0523161   21,400   20,500   22,100   24,500   19,100   21,500   21,517   129,100

100102932   046053942   WALGREENS #05857       DSD       NEW PORT RICHEY    FL   34653   WALGREENS     BW0523488     200      600     1,230   16,900   13,630    9,700    7,043    42,260

100102364   046051102   WALGREENS #04261       DSD       DAYTONA BEACH      FL   32114   WALGREENS     BW0530003     200      400     5,700   15,100   17,000   14,500    8,817    52,900

100098323   019171678   WALGREENS #01652       DSD         MILWAUKEE        WI   53207   WALGREENS     BW0533352   13,600   12,700   12,100   12,500   11,500   10,600   12,167    73,000
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100100231   038108027   WALGREENS #05835     DSD             BELLAIRE        TX   77401   WALGREENS     BW0533388     120     2,140   10,100   18,400   13,500   11,300    9,260    55,560

100095414   010232470   WALGREENS #07435     DSD            NORWOOD          OH   45212   WALGREENS     BW0538061   24,200   24,000   26,600   26,630   23,200   28,730   25,560   153,360

100098518   025090001   WALGREENS #10641     DSD              EAGAN          MN   55123   WALGREENS     BW0548858    7,900    9,800    7,700    7,600    9,000    4,200    7,700    46,200

100094852   023138644   WALGREENS #01487     DSD           FOREST HILLS      NY   11375   WALGREENS     BW0548860    4,000    4,000    4,300    4,100    4,300    3,600    4,050    24,300

100104233   038110387   WALGREENS #13968    DSD             LAKEWOOD         CO   80226   WALGREENS     BW0559281   11,800   12,800   11,200   12,700   14,800   10,700   12,333    74,000

100099252   044218495   WALGREENS #01679     DSD            SAINT LOUIS      MO   63116   WALGREENS     BW0559659             6,500    8,600    9,000   10,700    5,000    7,960    39,800

100102655   046052548   WALGREENS #01662     DSD             NAPLES          FL   34103   WALGREENS     BW0560955              360     2,400    3,200    4,300    4,200    2,892    14,460

100100371   018402123   WALGREENS #02943     DSD           SAN ANTONIO       TX   78225   WALGREENS     BW0587040     600     1,900   14,000   23,800   15,500   10,600   11,067    66,400

100076168   055018648   WARRENSVILLE DRUG STORE INC       WARRENSVILLE       NC   28693   INDEPENDENT   BW0588030    7,000    8,100    4,700    8,200    7,100    4,500    6,600    39,600

100050077   018029256   *TX HEALTH HARRISMETHCLEBURNE       CLEBURNE         TX   76033    HOSPITAL     BW0589878                               1,000                      1,000     1,000

100095829   023146274   WALGREENS #01881     DSD           BLOOMFIELD        NJ   07003   WALGREENS     BW0605040    2,360    1,660    3,000    1,300    2,400     200     1,820    10,920

100096260   023147165   WALGREENS #07794     DSD          WEST CALDWELL      NJ   07006   WALGREENS     BW0605052    3,400    4,000    4,330    4,300    5,200    2,000    3,872    23,230

100095946   023146548   WALGREENS #01879     DSD             FORT LEE        NJ   07024   WALGREENS     BW0605064    4,500    3,800    2,900    3,300    3,000    2,000    3,250    19,500

100095884   041151886   WALGREENS #09332     DSD            CRANFORD         NJ   07016   WALGREENS     BW0605076    4,200    2,800    3,460    3,200    3,900    1,600    3,193    19,160

100095879   041151860   WALGREENS #07056     DSD             COLONIA         NJ   07067   WALGREENS     BW0605088    2,500    2,900    2,400    2,030    2,900     700     2,238    13,430

100096192   023147017   WALGREENS #01884     DSD           SHORT HILLS       NJ   07078   WALGREENS     BW0605090    2,830    2,260    1,400    3,000    2,100    1,300    2,148    12,890

100096137   041152371   WALGREENS #04544     DSD           PERTH AMBOY       NJ   08861   WALGREENS     BW0605103    3,800    5,800    6,000    3,100    4,900    6,000    4,933    29,600

100096093   023146811   WALGREENS #03146     DSD             NEWARK          NJ   07106   WALGREENS     BW0605115    1,400    3,220    2,700    3,100    2,800    2,800    2,670    16,020

100096302   023147215   WALGREENS #02141     DSD             WYCKOFF         NJ   07481   WALGREENS     BW0605141    1,660    1,900    2,200    1,040    1,400    1,800    1,667    10,000

100095927   023146464   WALGREENS #04092     DSD          ELMWOOD PARK       NJ   07407   WALGREENS     BW0605228    3,230    4,450    3,230    1,630    2,950    3,900    3,232    19,390

100096079   041152314   WALGREENS #05200     DSD             NEPTUNE         NJ   07753   WALGREENS     BW0605343   11,500   13,160   12,690   11,020    7,000    8,400   10,628    63,770

100105824   046058750   WELLINGTON REG MEDICAL CENTER    WEST PALM BEACH     FL   33414    HOSPITAL     BW0608577     500      800      600     1,950     100       80      672      4,030

100102561   020161992   WALGREENS #09262     DSD           SCOTTSDALE        AZ   85250   WALGREENS     BW0610837   10,500    9,500    7,900    9,100    9,200    7,300    8,917    53,500

100103241   020163667   WALGREENS #04187     DSD            RIO RANCHO       NM   87124   WALGREENS     BW0610849   13,000   12,300   11,500   13,500   15,900    9,700   12,650    75,900

100097883   019169995   WALGREENS #03437     DSD           SOUTH BEND        IN   46614   WALGREENS     BW0610863   29,300   31,500   28,200   33,400   33,700   18,300   29,067   174,400

100097831   019169474   WALGREENS #10529     DSD           EAST CHICAGO      IN   46312   WALGREENS     BW0610875   10,900   11,100   11,800    9,500   12,500   10,800   11,100    66,600

100101410   008112268   WALGREENS #01626     DSD          SAN FRANCISCO      CA   94134   WALGREENS     BW0613198   17,300   13,700   12,600   13,200   15,000    8,400   13,367    80,200

100103039   020163154   WALGREENS #06645     DSD             TUCSON          AZ   85750   WALGREENS     BW0621905    7,800    8,600    7,900    8,500   10,200    5,200    8,033    48,200

100095983   023146589   WALGREENS #01875     DSD            HILLSDALE        NJ   07642   WALGREENS     BW0630043    2,700    2,200    2,300    3,400    2,100    1,600    2,383    14,300

100095937   023146506   WALGREENS #04361     DSD            FAIR LAWN        NJ   07410   WALGREENS     BW0630067    3,020    1,300    2,900    1,700    2,500     400     1,970    11,820

100100203   038107755   WALGREENS #04840     DSD            KINGWOOD         TX   77339   WALGREENS     BW0633897     800     2,200   11,100   17,820   14,900   10,300    9,520    57,120

100098230   021169649   WALGREENS #05306     DSD           COUNCIL BLFS      IA   51503   WALGREENS     BW0634419   13,000   10,700   13,100   12,500   15,800    9,100   12,367    74,200

100103136   046055087   WALGREENS #05335     DSD         PORT SAINT LUCIE    FL   34952   WALGREENS     BW0649357              100     3,760   12,620   15,130   10,300    8,382    41,910

100103706   046055897   WALGREENS #04916     DSD            TEQUESTA         FL   33469   WALGREENS     BW0649737     260              3,680    8,400    6,900    6,200    5,088    25,440

100102922   020162867   WALGREENS #03856     DSD             TUCSON          AZ   85711   WALGREENS     BW0664121   11,000   10,100   10,100    9,500    9,900    6,600    9,533    57,200

100101409   046045120   WALGREENS #01622     DSD             JUPITER         FL   33477   WALGREENS     BW0671493     200      200     2,300    3,700    4,300    3,100    2,300    13,800

100102346   046049932   WALGREENS #04481     DSD          ST PETERSBURG      FL   33709   WALGREENS     BW0674538     700      700     1,100    8,800    8,400    8,300    4,667    28,000

100103007   020163071   WALGREENS #06571     DSD             TUCSON          AZ   85745   WALGREENS     BW0691938   16,900   17,200   13,430   15,700   14,700   13,600   15,255    91,530

100101218   046044875   WALGREENS #07350     DSD           JACKSONVILLE      FL   32223   WALGREENS     BW0691940     200      300     2,800    5,300    1,000    7,500    2,850    17,100

100101235   037133249   WALGREENS #15199     DSD           NEW ORLEANS       LA   70115   WALGREENS     BW0691952      30      600     4,600    5,790    8,000    5,100    4,020    24,120

100099087   019178574   WALGREENS #01515     DSD            LOVES PARK       IL   61111   WALGREENS     BW0691964   25,400   32,700   26,900   28,600   29,800   17,800   26,867   161,200

100103183   046055343   WALGREENS #06011     DSD             MIRAMAR         FL   33025   WALGREENS     BW0697168     100      100     3,800     900     2,500    1,100    1,417     8,500

100095949   004097865   WALGREENS #01855     DSD           FRAMINGHAM        MA   01701   WALGREENS     BW0703404    3,300    2,700    2,000    2,300    2,900    1,300    2,417    14,500

100101963   046047324   WALGREENS #10576     DSD        PALM BEACH GARDENS   FL   33418   WALGREENS     BW0706979     200      100     3,400    3,100    4,700    3,500    2,500    15,000
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100063975   019002758   WABASH COUNTY HOSPITAL                WABASH            IN   46992      HOSPITAL       BW0718897    1,200    1,600    1,000    1,000    1,500    1,500    1,300     7,800

100074957   004175927   WEINSTEIN PHARMACY CORP(X)CPA         KATONAH           NY   10536    INDEPENDENT      BW0722101     500      400      100      200                        300      1,200

100100375   018402164   WALGREENS #02458        DSD         SAN ANTONIO         TX   78229    WALGREENS        BW0724218    1,020    1,800   23,500   36,380   19,000   24,600   17,717   106,300

100103737   020164731   WALGREENS #05776        DSD          AVONDALE           AZ   85323    WALGREENS        BW0744929   10,200   11,200    9,900   11,900   11,000   11,200   10,900    65,400

100102289   020161356   WALGREENS #06872        DSD           PHOENIX           AZ   85033    WALGREENS        BW0744931   10,400    9,790   10,200   12,100   11,000    8,000   10,248    61,490

100050552   004021733   *ANDREWS PHARMACY                    WELLESLEY          MA   02482    INDEPENDENT      BW0750150              100                                          100       100

100101764   046046730   WALGREENS #01681        DSD     LAUDERDALE BY THE SEA   FL   33308    WALGREENS        BW0758548     100      100     2,000    3,260    4,100    3,500    2,177    13,060

100101549   046045963   WALGREENS #01532        DSD          MIAMI BEACH        FL   33141    WALGREENS        BW0768892     100      100      700     2,300    2,700    1,900    1,300     7,800

100094803   023138511   WALGREENS #01616        DSD          ELMHURST           NY   11373    WALGREENS        BW0770518              700      500      600      600      500      580      2,900

100102752   046053066   WALGREENS #13850        DSD        HOLMES BEACH         FL   34217    WALGREENS        BW0772257     100      300     3,200    6,700    8,600    6,500    4,233    25,400

100102044   046047605   WALGREENS #10286        DSD         JACKSONVILLE        FL   32225    WALGREENS        BW0775265     300      400     7,000   12,400   12,000   20,500    8,767    52,600

100097561   044215939   WALGREENS #06881        DSD           MEMPHIS           TN   38111    WALGREENS        BW0776281   16,300   15,000   16,200   17,500   17,100   15,700   16,300    97,800

100100472   018402776   WALGREENS #06189        DSD            AUSTIN           TX   78727    WALGREENS        BW0776293    4,600   16,330   15,730   15,100   13,500   13,600   13,143    78,860

100098533   025090159   WALGREENS #01916        DSD         MAPLE GROVE         MN   55311    WALGREENS        BW0783173    3,600    4,830    5,160    4,200    4,600    3,500    4,315    25,890

100098558   025090407   WALGREENS #01811        DSD         MINNEAPOLIS         MN   55406    WALGREENS        BW0787462    6,600    4,600    4,500    6,500    6,000    3,600    5,300    31,800

100094660   010228726   WALGREENS #07877        DSD          CINCINNATI         OH   45227    WALGREENS        BW0788236    6,600    6,300    5,700    6,100    6,600    6,000    6,217    37,300

100094938   010229617   WALGREENS #07239        DSD           HAMILTON          OH   45013    WALGREENS        BW0800107   16,300   17,800   19,200   20,300   19,600   17,000   18,367   110,200

100102765   020162487   WALGREENS #04019        DSD            PEORIA           AZ   85345    WALGREENS        BW0804030    9,700    7,500    8,200    9,500   10,300    5,100    8,383    50,300

100102646   020162214   WALGREENS #04376        DSD            TEMPE            AZ   85284    WALGREENS        BW0804042    7,930    7,140    9,130    7,040    9,600    7,260    8,017    48,100

100097886   019170027   WALGREENS #09220        DSD          SOUTH BEND         IN   46628    WALGREENS        BW0806147   18,700   17,500   15,500   19,200   17,300   14,600   17,133   102,800

100097892   019170084   WALGREENS #06066        DSD          HUNTINGTON         IN   46750    WALGREENS        BW0812746   34,700   39,300   34,300   40,200   33,800   29,000   35,217   211,300

100097882   019169987   WALGREENS #12344        DSD          SOUTH BEND         IN   46613    WALGREENS        BW0812758   17,200   15,400   19,400   17,800   20,600   14,400   17,467   104,800

100094644   010228569   WALGREENS #01502        DSD          CINCINNATI         OH   45213    WALGREENS        BW0812784    7,700    8,700    8,500    7,600    8,200    6,000    7,783    46,700

100102509   046051839   WALGREENS #05946        DSD          AVON PARK          FL   33825    WALGREENS        BW0816770     900     1,100    3,300   11,600   12,100   11,100    6,683    40,100

100102895   046053736   WALGREENS #07916        DSD         BROOKSVILLE         FL   34601    WALGREENS        BW0817049     300      100     3,500   19,400   17,400   17,300    9,667    58,000

100099268   044218651   WALGREENS #09714        DSD          SAINT LOUIS        MO   63128    WALGREENS        BW0817277     500    16,200   25,300   24,300   24,000   25,400   19,283   115,700

100097523   052221887   WALGREENS #05394        DSD          KNOXVILLE          TN   37918    WALGREENS        BW0818611   27,060   25,100   30,000   23,600   21,520   23,500   25,130   150,780

100098581   025090639   WALGREENS #06714        DSD         COON RAPIDS         MN   55433    WALGREENS        BW0820921    7,600    8,700    7,000    7,000    8,000    5,600    7,317    43,900

100098204   021169391   WALGREENS #07833        DSD          DES MOINES         IA   50312    WALGREENS        BW0826846   18,700   16,000   17,600   16,400   20,900    9,100   16,450    98,700

100103703   046055863   WALGREENS #04387        DSD         OAKLAND PARK        FL   33311    WALGREENS        BW0835415     200      260     3,800    7,100    5,400    4,900    3,610    21,660

100097903   019170191   WALGREENS #03129        DSD          FORT WAYNE         IN   46815    WALGREENS        BW0835960   20,400   20,600   20,600   21,600   25,600   14,500   20,550   123,300

100098565   025090472   WALGREENS #01895        DSD         MINNEAPOLIS         MN   55418    WALGREENS        BW0839639    9,400    8,700    9,100    9,200    7,900    4,700    8,167    49,000

100107088   025091819   WALGREENS #01895 340B               MINNEAPOLIS         MN   55418   PHS 340B CLINIC   BW0839639              100                                          100       100

100063069   008022384   WOMACK'S SIERRA VISTA PHARM         FARMERSVILLE        CA   93223    INDEPENDENT      BW0859011                                        3,000             3,000     3,000

100102920   046053843   WALGREENS #06494        DSD         LAND O LAKES        FL   34639    WALGREENS        BW0868870     430      700     4,100   19,980   11,300   17,300    8,968    53,810

100101412   046045138   WALGREENS #01779        DSD           ORLANDO           FL   32812    WALGREENS        BW0882957              200     3,000    2,600    3,500    1,000    2,060    10,300

100095123   010232116   WALGREENS #05205        DSD            MASON            OH   45040    WALGREENS        BW0883199    8,770    7,200    6,600    8,700    9,200    5,800    7,712    46,270

100065911   023035709   WARREN COUNTY PHARMACY (IPBG)       WASHINGTON          NJ   07882    INDEPENDENT      BW0884381    2,200    1,200    2,600    1,900    3,400     600     1,983    11,900

100102083   046047704   WALGREENS #10901        DSD         TALLAHASSEE         FL   32308    WALGREENS        BW0884444              260     2,900    6,600   11,000    8,000    5,752    28,760

100103038   046054536   WALGREENS #04259        DSD          MELBOURNE          FL   32935    WALGREENS        BW0886753     200      300     3,330    7,700    8,800    2,100    3,738    22,430

100098148   019170845   WALGREENS #06279        DSD          MUSKEGON           MI   49442    WALGREENS        BW0910871   66,500   87,800   80,100   68,500   87,500   43,000   72,233   433,400

100103440   008114785   WALGREENS #02081        DSD           SAN JOSE          CA   95122    WALGREENS        BW0911835    9,800    8,500   10,400   10,300   10,700    7,500    9,533    57,200

100099242   044218396   WALGREENS #06472        DSD          SAINT LOUIS        MO   63108    WALGREENS        BW0911847     400     9,300   12,000   16,300   14,200   11,500   10,617    63,700

100099569   037131243   WALGREENS #13658        DSD          RIVER RIDGE        LA   70123    WALGREENS        BW0911859     200     2,200   12,700   18,800   16,600   16,500   11,167    67,000
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100097733   044216994   WALGREENS #09524       DSD           LOUISVILLE      KY   40272   WALGREENS     BW0911861   11,000   46,880    51,300   53,300   50,500   29,100   40,347   242,080

100102155   046047928   WALGREENS #04523       DSD            BRANDON        FL   33511   WALGREENS     BW0914259     200      500      3,100   14,600   15,100   16,300    8,300    49,800

100103694   046055772   WALGREENS #01800       DSD            ORLANDO        FL   32811   WALGREENS     BW0914261              200      3,030    5,600    4,200    4,600    3,526    17,630

100052634   018073114   WHITEHOUSE PHARMACY                 WHITEHOUSE       TX   75791   INDEPENDENT   BW0915542   18,500   17,300    16,800   17,000   29,900     700    16,700   100,200

100050876   004087718   WILLIAMSBURG PHARMACY               WILLIAMSBURG     MA   01096   INDEPENDENT   BW0918598     300     1,200      600      500     2,400     600      933      5,600

100056663   056017913   WEST TRENTON PHARMACY INC(GNP)      WEST TRENTON     NJ   08628   INDEPENDENT   BW0925050    1,200    1,200      900     1,100                      1,100     4,400

100103181   020163519   WALGREENS #05923       DSD          ALBUQUERQUE      NM   87112   WALGREENS     BW0948515   15,800   17,900    15,200   15,600   20,000    9,000   15,583    93,500

100101823   046046904   WALGREENS #04484       DSD            TAMARAC        FL   33321   WALGREENS     BW0951132     700     1,200     6,300    8,600   11,700    6,800    5,883    35,300

100102836   046053447   WALGREENS #05338       DSD          CRYSTAL RIVER    FL   34429   WALGREENS     BW0951548     100      660      4,930   33,230   18,200   26,900   14,003    84,020

100102325   020161448   WALGREENS #06697       DSD            PHOENIX        AZ   85042   WALGREENS     BW0952944   13,300   12,800    10,700   11,100   15,300   10,600   12,300    73,800

100102441   020161729   WALGREENS #04435       DSD              MESA         AZ   85205   WALGREENS     BW0952956   11,200   11,900     9,400   10,700   11,900    8,600   10,617    63,700

100101939   046047258   WALGREENS #15619       DSD          GREENACRES       FL   33413   WALGREENS     BW0969610    5,200    7,900     6,800    8,200    8,200   10,200    7,750    46,500

100097585   044216176   WALGREENS #10103       DSD            MEMPHIS        TN   38128   WALGREENS     BW0976261   22,300   22,100    21,700   22,620   17,600   16,900   20,537   123,220

100102598   020162081   WALGREENS #01950       DSD           SCOTTSDALE      AZ   85258   WALGREENS     BW0987327    8,300    5,600     5,700    6,100    8,900    5,000    6,600    39,600

100096264   004100388   WALGREENS #07584       DSD           WEST HAVEN      CT   06516   WALGREENS     BW0987353    7,600    7,400     5,300    6,600    6,900    3,800    6,267    37,600

100097896   019170126   WALGREENS #05510       DSD           FORT WAYNE      IN   46804   WALGREENS     BW0987733    9,000    8,360     9,000    9,800   12,300   10,300    9,793    58,760

100063958   019002477   WARSAW PILL BOX                       WARSAW         IN   46580   INDEPENDENT   BW0987745                                 900     3,000    3,700    2,533     7,600

100099226   044218230   WALGREENS #05749       DSD           FLORISSANT      MO   63031   WALGREENS     BW0991150            12,400    19,100   21,100   25,300   10,500   17,680    88,400

100058190   041065300   WESTBURY PHARMACY(X)        735      RICHMOND        VA   23229   INDEPENDENT   BW0997037   14,500   10,700    19,200   12,900   21,500   17,650   16,075    96,450

100079679   041171447   WESTBURY PHARMACY (HOSPICE)(X)       RICHMOND        VA   23229   INDEPENDENT   BW0997037             2,000     1,500                               1,750     3,500

100102770   046053140   WALGREENS #01921       DSD            SARASOTA       FL   34231   WALGREENS     BW0997417              100      4,100    3,600    6,100    4,100    3,600    18,000

100097439   044215574   WALGREENS #03401       DSD           NASHVILLE       TN   37214   WALGREENS     BW0997835   32,700   32,100    30,700   32,600   25,700   27,000   30,133   180,800

100102659   046052563   WALGREENS #04482       DSD             NAPLES        FL   34104   WALGREENS     BW1012854              (100)    4,500    9,900    6,900    6,800    5,600    28,000

100102513   046051854   WALGREENS #13797       DSD            BARTOW         FL   33830   WALGREENS     BW1016775     200      900      3,100   19,100   15,900   16,800    9,333    56,000

100101598   046046219   WALGREENS #04960       DSD        NEW SMYRNA BEACH   FL   32168   WALGREENS     BW1016787     200      700     12,000   18,800   27,000   23,800   13,750    82,500

100098294   019171389   WALGREENS #15020       DSD            FRANKLIN       WI   53132   WALGREENS     BW1020293    7,800    8,700     9,500    8,500   11,500    6,500    8,750    52,500

100103212   025091199   WALGREENS #15272       DSD            ST. PAUL       MN   55113   WALGREENS     BW1034925    7,800    7,290     7,700    9,900    6,800    3,700    7,198    43,190

100094839   010229427   WALGREENS #09162       DSD            FLORENCE       KY   41042   WALGREENS     BW1057606   14,900   16,300    14,000   15,000   14,300   11,800   14,383    86,300

100102678   020162289   WALGREENS #01969       DSD            GLENDALE       AZ   85301   WALGREENS     BW1059991   10,900   12,100    10,300   12,500   10,500    5,800   10,350    62,100

100058180   041064345   *WALTON & SMOOT LTD (EPIC) 882       WOODSTOCK       VA   22664   INDEPENDENT   BW1061821    4,700    4,000     2,200                               3,633    10,900

100103262   008114074   WALGREENS #01940       DSD            FAIRFIELD      CA   94533   WALGREENS     BW1082685   29,100   29,500    27,000   28,500   33,800   23,500   28,567   171,400

100103297   020163949   WALGREENS #07328       DSD            EL PASO        TX   79924   WALGREENS     BW1083889    8,900   39,100    32,500   34,200   22,200   12,000   24,817   148,900

100099537   037104984   WALGREENS #01799       DSD            METAIRIE       LA   70005   WALGREENS     BW1091216              600      4,560    5,990    7,600    3,500    4,450    22,250

100097627   044216481   WALGREENS #04455       DSD           SOUTHAVEN       MS   38671   WALGREENS     BW1100279   11,200   11,100    12,900   15,600   11,200   13,500   12,583    75,500

100102857   020162701   WALGREENS #06533       DSD             PAYSON        AZ   85541   WALGREENS     BW1104811   22,330   22,160    19,630   21,900   20,800   14,000   20,137   120,820

100103730   020164665   WALGREENS #09057       DSD            PHOENIX        AZ   85023   WALGREENS     BW1104859   10,900   12,400    10,900   11,800   14,400    6,700   11,183    67,100

100097541   044215731   WALGREENS #06212       DSD          COLLIERVILLE     TN   38017   WALGREENS     BW1114292   24,510   25,830    22,020   24,580   21,500   20,000   23,073   138,440

100100467   018402727   WALGREENS #09216       DSD          ROUND ROCK       TX   78681   WALGREENS     BW1119482    3,700   15,960    13,700   13,200   14,000   12,500   12,177    73,060

100101851   046046979   WALGREENS #06404       DSD              DAVIE        FL   33325   WALGREENS     BW1120500     260               5,160    6,330    8,400    5,000    5,030    25,150

100099249   044218461   WALGREENS #06220       DSD           SAINT JOHN      MO   63114   WALGREENS     BW1159688     200    10,200    12,200   15,500   16,200   10,800   10,850    65,100

100098507   025089888   WALGREENS #15560      DSD            ROSEVILLE       MN   55113   WALGREENS     BW1169499    4,900    4,600     4,100    4,100    5,200    4,100    4,500    27,000

100094662   010228742   WALGREENS #10493       DSD           CINCINNATI      OH   45238   WALGREENS     BW1175303   19,700   19,800    16,890   20,100   16,800   16,860   18,358   110,150

100103192   046055392   WALGREENS #05255       DSD             STUART        FL   34994   WALGREENS     BW1176292              630      3,730   10,200   11,000    7,900    6,692    33,460

100102432   046051466   WALGREENS #02220       DSD          JACKSONVILLE     FL   32205   WALGREENS     BW1179060     100              15,600   22,200   26,600   43,500   21,600   108,000
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100103698   046055814   WALGREENS #04591       DSD        HALLANDALE BEACH   FL   33009     WALGREENS         BW1179375     200              2,500    4,600    4,500    4,400    3,240    16,200

100052963   012066407   WEST DRUG          PRO              WESTMINSTER      CA   92683     INDEPENDENT       BW1184491                                         500      500      500      1,000

100069612   017140210   WEST VALLEY MEDICAL CNTR #712        CALDWELL        ID   83605       HOSPITAL        BW1194834    1,300    1,500    1,500    1,200    1,580    1,340    1,403     8,420

100097900   019170167   WALGREENS #06868       DSD          FORT WAYNE       IN   46808     WALGREENS         BW1215234   27,400   25,600   22,100   25,200   31,700   19,400   25,233   151,400

100101508   046045765   WALGREENS #04327       DSD          JACKSONVILLE     FL   32216     WALGREENS         BW1229118     300      600    18,400   26,900   17,000   15,000   13,033    78,200

100101469   020159954   WALGREENS #03913       DSD          BULLHEAD CITY    AZ   86442     WALGREENS         BW1231846   44,400   49,300   51,500   55,000   34,000   24,500   43,117   258,700

100101191   046044602   WALGREENS #01116       DSD         CORAL SPRINGS     FL   33065     WALGREENS         BW1232862             1,100    3,500    6,200    7,500    5,900    4,840    24,200

100102104   046047787   WALGREENS #03713       DSD          LAKE WORTH       FL   33467     WALGREENS         BW1233042     300      200     5,500    6,100    6,600    6,100    4,133    24,800

100099546   037131011   WALGREENS #03156       DSD             HARVEY        LA   70058     WALGREENS         BW1235325             2,000    5,600    8,100   10,600    5,500    6,360    31,800

100102892   008113167   WALGREENS #01807       DSD            DALY CITY      CA   94014     WALGREENS         BW1236620   10,700    9,900   10,600   11,600   11,700    6,300   10,133    60,800

100067561   049143529   VALUE DRUGS: ALLEGAN        CPA       ALLEGAN        MI   49010     INDEPENDENT       BW1239183   21,700   19,800   12,500   19,500   17,100   17,000   17,933   107,600

100101411   038108688   WALGREENS #01769       DSD             DENVER        CO   80206     WALGREENS         BW1240706   12,000    9,400    8,800    9,300   11,000    3,500    9,000    54,000

100102147   046047902   WALGREENS #015395 DSD                BOCA RATON      FL   33487     WALGREENS         BW1245768     200      600     3,700    5,500    6,300    6,800    3,850    23,100

100103144   046055137   WALGREENS #12302       DSD          PORT ST LUCIE    FL   34952     WALGREENS         BW1249160              200     2,600    8,230    9,800    8,200    5,806    29,030

100103436   008114744   WALGREENS #12548       DSD            SAN JOSE       CA   95118     WALGREENS         BW1264403    7,300    8,500   10,200    9,900   10,600    5,500    8,667    52,000

100103015   020163097   WALGREENS #03837       DSD             TUCSON        AZ   85746     WALGREENS         BW1264415   14,600   15,800   14,700   14,800   15,900   12,600   14,733    88,400

100094658   010228700   WALGREENS #07181       DSD           CINCINNATI      OH   45205     WALGREENS         BW1274416   15,700   15,800   16,600   16,100   14,100   12,500   15,133    90,800

100099245   044218420   WALGREENS #02019       DSD           SAINT LOUIS     MO   63110     WALGREENS         BW1277068             4,600    4,000    5,000    5,600    3,000    4,440    22,200

100098556   025090381   WALGREENS #02039       DSD          MINNEAPOLIS      MN   55402     WALGREENS         BW1278539    6,500    6,100    5,500    6,000    6,000    4,600    5,783    34,700

100103031   020163139   WALGREENS #15502      DSD              TUCSON        AZ   85749     WALGREENS         BW1293769    7,900    8,000    8,600    7,400    9,300    5,600    7,800    46,800

100102170   046047951   WALGREENS #06412       DSD         WESLEY CHAPEL     FL   33543     WALGREENS         BW1297301     600      100     1,820   12,800   12,500   10,700    6,420    38,520

100095827   004094326   WALGREENS #02011       DSD            BILLERICA      MA   01821     WALGREENS         BW1309651    6,360    5,960    5,000    6,860    6,900    4,800    5,980    35,880

100097720   044216861   WALGREENS #05449       DSD           LOUISVILLE      KY   40219     WALGREENS         BW1327623    7,000   28,700   31,030   36,860   37,100   29,700   28,398   170,390

100103273   020163782   WALGREENS #04679       DSD            EL PASO        TX   79903     WALGREENS         BW1345431    8,300   35,900   37,000   32,100   14,200   16,000   23,917   143,500

100066944   049044925   HENRY FORD WYANDOTTE HSP/AMBUL       WYANDOTTE       MI   48192       HOSPITAL        BW1350355    7,700    7,900    7,500    7,400   12,400    9,600    8,750    52,500

100066880   049047605   HENRY FORD WYANDOTTE HOSPITAL        WYANDOTTE       MI   48192       HOSPITAL        BW1350355    6,200    6,600    6,500    7,800    9,340    7,440    7,313    43,880

100106666   049195107   HENRY FORD WYANDOTTE HSP PHS         WYANDOTTE       MI   48192   PHS 340B HOSPITAL   BW1350355             2,000                       500              1,250     2,500

100059963   023017897   WEST PERRY PHCY INC         GNP       LOYSVILLE      PA   17047     INDEPENDENT       BW1361524    5,500    7,200    4,100    6,500    4,900    7,500    5,950    35,700

100099287   044218842   WALGREENS #06432       DSD           BRENTWOOD       MO   63144     WALGREENS         BW1367007     100    10,000   14,100   14,800   18,600   10,700   11,383    68,300

100097574   044216069   WALGREENS #05345       DSD            MEMPHIS        TN   38119     WALGREENS         BW1373517   12,200    9,000   11,400    9,300   10,800    9,500   10,367    62,200

100102208   020161182   WALGREENS #04722       DSD            PHOENIX        AZ   85016     WALGREENS         BW1377200   10,100    9,400   10,300   12,700   10,500    9,100   10,350    62,100

100102269   020161307   WALGREENS #02079       DSD            PHOENIX        AZ   85032     WALGREENS         BW1381134    8,700    7,800    6,700    8,000   11,800    4,100    7,850    47,100

100097730   044216960   WALGREENS #03677       DSD          MIDDLETOWN       KY   40243     WALGREENS         BW1394713    2,500   19,500   19,400   21,300   21,500   16,100   16,717   100,300

100103697   046055806   WALGREENS #04646       DSD            ORLANDO        FL   32837     WALGREENS         BW1397149                      5,000    4,000    5,500    3,600    4,525    18,100

100103319   020164087   WALGREENS #11749       DSD            EL PASO        TX   79935     WALGREENS         BW1401835    3,100   16,100   14,600   14,500    9,700    3,500   10,250    61,500

100104031   046057455   WALGREENS #15137       DSD        DEERFIELD BEACH    FL   33442     WALGREENS         BW1416052     500      100     4,800    8,200    8,800    8,000    5,067    30,400

100102758   046053082   WALGREENS #06515       DSD            ELLENTON       FL   34222     WALGREENS         BW1421534     600      200    16,030   23,830   21,900   27,200   14,960    89,760

100101202   046044719   WALGREENS #04281       DSD          JACKSONVILLE     FL   32250     WALGREENS         BW1426192     100              5,300    8,200    4,700    8,200    5,300    26,500

100102802   046053314   WALGREENS #02083       DSD           SARASOTA        FL   34243     WALGREENS         BW1428691     500      200    11,700   13,500   15,700   11,000    8,767    52,600

100101788   038109686   WALGREENS #09767       DSD        COLORADO SPRINGS   CO   80906     WALGREENS         BW1441865   26,100   27,040   25,900   26,900   29,800   16,600   25,390   152,340

100098564   025090464   WALGREENS #02038       DSD          MINNEAPOLIS      MN   55416     WALGREENS         BW1446308    3,100    5,000    4,000    4,000    4,000    2,500    3,767    22,600

100103162   008113829   WALGREENS #02005       DSD         SAN FRANCISCO     CA   94132     WALGREENS         BW1453606    8,100    7,200    8,200    5,800    9,300    4,800    7,233    43,400

100102293   020161364   WALGREENS #05937       DSD            PHOENIX        AZ   85035     WALGREENS         BW1464596   13,000   13,700   10,200   13,700   12,200   12,300   12,517    75,100

100099176   019179101   WALGREENS #09299       DSD            DECATUR        IL   62526     WALGREENS         BW1465067    3,600   13,100   15,600   17,500   15,600   11,000   12,733    76,400
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100109127   019186395   WALGREENS #09299 340B                DECATUR        IL   62526   PHS 340B HOSPITAL   BW1465067                                500                         500       500

100102447   046051532   WALGREENS #05870        DSD           LARGO         FL   33774     WALGREENS         BW1467299     100       80     3,600   20,430    19,500   12,800    9,418    56,510

100098120   019170720   WALGREENS #04536        DSD        SAINT JOSEPH     MI   49085     WALGREENS         BW1467441   41,800   38,000   41,200   42,000    30,200   38,100   38,550   231,300

100109046   049196824   WALGREENS #04536 340B              SAINT JOSEPH     MI   49085   PHS 340B HOSPITAL   BW1467441     500                                                    500       500

100087148   003091041   WALGREENS #499                        PONCE         PR   00731     WALGREENS         BW1471250              500               100                         300       600

100097581   044216135   WALGREENS #09719        DSD          MEMPHIS        TN   38127     WALGREENS         BW1474016   12,000   14,500   12,800   13,500    12,100   11,000   12,650    75,900

100097557   044215897   WALGREENS #02161        DSD          MEMPHIS        TN   38108     WALGREENS         BW1474030   10,740   12,400   11,700   13,600    14,100    9,100   11,940    71,640

100098142   049193870   WALGREENS #02905        DSD          HOLLAND        MI   49424     WALGREENS         BW1474751   43,300   45,100   42,260   46,500    36,800   29,800   40,627   243,760

100108683   049196691   WALGREENS #02905 340B                HOLLAND        MI   49424   PHS 340B HOSPITAL   BW1474751     100               500                                  300       600

100102912   046053819   WALGREENS #06540        DSD        BROOKSVILLE      FL   34613     WALGREENS         BW1475789     360      600     2,120   22,410    20,800   21,400   11,282    67,690

100098567   025090498   WALGREENS #04394        DSD        BLOOMINGTON      MN   55420     WALGREENS         BW1482467   13,200   14,300   14,100   13,000    15,300   11,500   13,567    81,400

100099305   044219022   WALGREENS #06246        DSD        SAINT PETERS     MO   63376     WALGREENS         BW1505974     200     8,300   12,400   13,800    16,000   10,200   10,150    60,900

100102324   046049858   WALGREENS #04081        DSD        ORANGE PARK      FL   32073     WALGREENS         BW1507827              100     4,200    7,100     9,800    7,500    5,740    28,700

100099246   044218438   WALGREENS #02151        DSD         SAINT LOUIS     MO   63111     WALGREENS         BW1516232     200     5,600    8,700   12,000    10,100    8,500    7,517    45,100

100101413   046045146   WALGREENS #01938        DSD      ROYAL PALM BEACH   FL   33411     WALGREENS         BW1531854                      3,000    4,200     4,100    3,100    3,600    14,400

100070136   046114652   WEST FLORIDA COMMUNITY CARE CT        MILTON        FL   32570       HOSPITAL        BW1546730     100      200      200      (300)                        50       200

100102747   046053033   WALGREENS #07298        DSD         FERN PARK       FL   32730     WALGREENS         BW1548760     130      600     6,200    7,760     9,700    5,200    4,932    29,590

100097524   052221895   WALGREENS #04330        DSD         KNOXVILLE       TN   37919     WALGREENS         BW1568065   12,800   11,970   12,000   10,500     7,900   11,000   11,028    66,170

100097397   044215160   WALGREENS #05065        DSD         HERMITAGE       TN   37076     WALGREENS         BW1568089   17,500   15,500   17,500   18,000    12,000   18,000   16,417    98,500

100099141   044217448   WALGREENS #11542        DSD        CHARLESTON       IL   61920     WALGREENS         BW1574296    6,100   23,100   25,200   24,400    29,900   12,000   20,117   120,700

100102776   046053173   WALGREENS #04262        DSD        ORANGE CITY      FL   32763     WALGREENS         BW1584778     700      600    28,400   27,400    18,500   17,000   15,433    92,600

100097889   019170050   WALGREENS #07472        DSD         BLUFFTON        IN   46714     WALGREENS         BW1586190   15,000   13,300   16,300   15,300    18,300   13,100   15,217    91,300

100102644   046052506   WALGREENS #04799        DSD      PORT CHARLOTTE     FL   33980     WALGREENS         BW1592206     100      300    11,300   16,200    17,000   21,800   11,117    66,700

100100143   038107268   WALGREENS #06865        DSD          HOUSTON        TX   77067     WALGREENS         BW1606461     100      200     9,000   17,100    14,000    8,500    8,150    48,900

100098572   025090548   WALGREENS #13607        DSD        ROBBINSDALE      MN   55422     WALGREENS         BW1606827   10,400    8,100   10,800   10,200    11,200    7,900    9,767    58,600

100107096   025091843   WALGREENS #13607 340B              ROBBINSDALE      MN   55422    PHS 340B CLINIC    BW1606827     100      100      100                                  100       300

100101216   046044859   WALGREENS #07125        DSD       FT LAUDERDALE     FL   33316     WALGREENS         BW1608439     100      300     1,600    2,900     4,300    2,100    1,883    11,300

100103082   008113621   WALGREENS #02088        DSD       SAN FRANCISCO     CA   94114     WALGREENS         BW1615080   12,700   12,600   12,900   13,800     9,800    7,600   11,567    69,400

100096091   004098830   WALGREENS #09785        DSD         NEW HAVEN       CT   06511     WALGREENS         BW1616436    2,200    3,300    2,500    2,500     3,000    1,400    2,483    14,900

100098331   019171751   WALGREENS #02182        DSD         MILWAUKEE       WI   53212     WALGREENS         BW1625574   11,300   10,100    9,100   10,100     9,200    6,000    9,300    55,800

100098191   021169268   WALGREENS #07454        DSD          ANKENY         IA   50023     WALGREENS         BW1626312   25,700   27,360   24,100   28,800    28,800   24,300   26,510   159,060

100060196   056036517   WOODLYN PHCY, INC (IPBG)            WOODLYN         PA   19094     INDEPENDENT       BW1634294    3,800    2,500    2,100    2,900     3,200    3,700    3,033    18,200

100095816   023146225   WALGREENS #02121        DSD         BELLEVILLE      NJ   07109     WALGREENS         BW1637656    1,800    2,100    2,600    2,800     1,300    1,100    1,950    11,700

100096201   041152512   WALGREENS #07347        DSD        SOMERVILLE       NJ   08876     WALGREENS         BW1638418    5,200    6,400    3,800    5,800     4,900    2,400    4,750    28,500

100094937   010229609   WALGREENS #05203        DSD         HAMILTON        OH   45011     WALGREENS         BW1641201   32,500   34,800   33,630   35,600    20,900   14,600   28,672   172,030

100103707   046055921   WALGREENS #06015        DSD       DELRAY BEACH      FL   33483     WALGREENS         BW1644954                      3,700    7,500     6,600    5,900    5,925    23,700

100102245   046049585   WALGREENS #13031        DSD           TAMPA         FL   33611     WALGREENS         BW1652800     100      300      700     5,930     7,000    5,300    3,222    19,330

100101462   046045450   WALGREENS #06414        DSD          MARGATE        FL   33063     WALGREENS         BW1654549     200              4,660    6,630     8,100    6,600    5,238    26,190

100102849   046053512   WALGREENS #12672        DSD          ORLANDO        FL   32809     WALGREENS         BW1657646     100      100     4,300    4,600     4,700    3,000    2,800    16,800

100097577   044216093   WALGREENS #06644        DSD          MEMPHIS        TN   38122     WALGREENS         BW1671014   25,700   25,400   24,100   24,400    24,200   20,200   24,000   144,000

100095911   004094896   WALGREENS #07566        DSD       EAST HARTFORD     CT   06118     WALGREENS         BW1675810    3,800    3,370    3,100    2,700     3,800    2,400    3,195    19,170

100103187   046055368   WALGREENS #06949        DSD          MIRAMAR        FL   33025     WALGREENS         BW1691585     100      100     2,100    2,600     3,900    3,000    1,967    11,800

100103174   008113852   WALGREENS #02125        DSD       SAN FRANCISCO     CA   94133     WALGREENS         BW1712430    4,100    5,900    4,600    5,500     4,800    3,300    4,700    28,200

100102939   008113282   WALGREENS #02126        DSD        SAN CARLOS       CA   94070     WALGREENS         BW1712478   26,630   28,900   26,300   27,900    29,300   20,700   26,622   159,730
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100102464   046051623   WALGREENS #09528     DSD          JACKSONVILLE     FL   32218   WALGREENS     BW1721100     200      100     9,400   14,700   12,000   23,500    9,983    59,900

100101456   046045427   WALGREENS #02082     DSD         POMPANO BEACH     FL   33062   WALGREENS     BW1733612              100     2,600    4,300    3,800    5,380    3,236    16,180

100098566   025090480   WALGREENS #16057     DSD           MINNEAPOLIS     MN   55419   WALGREENS     BW1736644    5,430    6,700    5,930    6,600    5,800    4,500    5,827    34,960

100097543   044215756   WALGREENS #04232     DSD            CORDOVA        TN   38018   WALGREENS     BW1736858   24,600   20,860   23,400   24,620   22,700   22,100   23,047   138,280

100098500   025089813   WALGREENS #09795     DSD            SAINT PAUL     MN   55105   WALGREENS     BW1745605   15,000   17,600   14,800   15,800   15,700   11,300   15,033    90,200

100103054   046054627   WALGREENS #09959     DSD          MERRITT ISLAND   FL   32953   WALGREENS     BW1763893     200      200     5,700   10,500   10,000    7,900    5,750    34,500

100102337   020161471   WALGREENS #04046     DSD             PHOENIX       AZ   85048   WALGREENS     BW1773008   15,620   15,530   16,990   15,800   17,600   17,200   16,457    98,740

100094645   010228577   WALGREENS #02875     DSD            CINCINNATI     OH   45255   WALGREENS     BW1785837    8,400    8,300    9,600    9,700    8,600    5,500    8,350    50,100

100102628   046052415   WALGREENS #06071     DSD          LEHIGH ACRES     FL   33936   WALGREENS     BW1786637     700      480    13,400   24,000   24,130   14,200   12,818    76,910

100102981   046054189   WALGREENS #06541     DSD         TARPON SPRINGS    FL   34689   WALGREENS     BW1792325     200     1,300    1,600   15,800   14,500   13,800    7,867    47,200

100097579   044216119   WALGREENS #06769     DSD             MEMPHIS       TN   38125   WALGREENS     BW1796068    5,100    5,000    5,000    5,000    6,100    4,000    5,033    30,200

100103089   046054809   WALGREENS #07163     DSD           SAINT CLOUD     FL   34769   WALGREENS     BW1799999     300      180     7,800   10,600   11,000    6,800    6,113    36,680

100101847   046046961   WALGREENS #02193     DSD              DAVIE        FL   33325   WALGREENS     BW1801869     100      200     3,700    5,400    5,400    4,400    3,200    19,200

100095784   023146159   WALGREENS #02122     DSD            YONKERS        NY   10703   WALGREENS     BW1806578    8,400    7,400    7,200    6,200    7,600    9,000    7,633    45,800

100095588   023145847   WALGREENS #07628     DSD           SMITHTOWN       NY   11787   WALGREENS     BW1809360    7,560    4,610    5,500    5,800    8,500    6,310    6,380    38,280

100099277   044218743   WALGREENS #06023     DSD            FERGUSON       MO   63135   WALGREENS     BW1831658     200     6,900   12,100   13,600   15,400    9,000    9,533    57,200

100098787   019174516   WALGREENS #15364     DSD            EVANSTON       IL   60202   WALGREENS     BW1834589    8,920    7,940    9,750   10,230    9,250    3,900    8,332    49,990

100098960   019177303   WALGREENS #03950     DSD             CHICAGO       IL   60618   WALGREENS     BW1834591    8,500    8,800    7,400   10,400    8,800    7,000    8,483    50,900

100099121   019178863   WALGREENS #09983     DSD          BLOOMINGTON      IL   61701   WALGREENS     BW1840138    4,000   11,900   16,700   15,330   16,700    9,560   12,365    74,190

100099279   044218768   WALGREENS #11351     DSD            DELLWOOD       MO   63136   WALGREENS     BW1851864      -      6,500    6,600    7,000    9,300    5,600    5,833    35,000

100102519   046051896   WALGREENS #04278     DSD          JACKSONVILLE     FL   32257   WALGREENS     BW1856268     200      200     5,800    6,800   11,100    5,500    4,933    29,600

100101593   038109140   WALGREENS #10070     DSD             DENVER        CO   80222   WALGREENS     BW1872008    7,200    5,800    7,400    5,600    6,100    4,100    6,033    36,200

100101531   046045872   WALGREENS #02128     DSD           MIAMI BEACH     FL   33139   WALGREENS     BW1892024                      1,700    3,120    2,300    2,300    2,355     9,420

100094665   010228775   WALGREENS #12831     DSD            CINCINNATI     OH   45230   WALGREENS     BW1897656   10,000   12,800   10,630   10,560   12,000   10,200   11,032    66,190

100097433   044215517   WALGREENS #11701     DSD            NASHVILLE      TN   37207   WALGREENS     BW1898608   35,000   31,600   34,300   38,500   39,000   40,000   36,400   218,400

100103308   008114223   WALGREENS #02150     DSD           PLEASANTON      CA   94566   WALGREENS     BW1920417   11,000   11,830   11,630   12,800   12,200    7,700   11,193    67,160

100100356   018401976   WALGREENS #05964     DSD           SAN ANTONIO     TX   78212   WALGREENS     BW1941144     100     1,100    9,000   15,000   14,000    5,600    7,467    44,800

100096228   041152553   WALGREENS #01315     DSD           TOMS RIVER      NJ   08755   WALGREENS     BW1956652    8,200    9,300    8,900    6,820    7,500    7,700    8,070    48,420

100103142   008113779   WALGREENS #02244     DSD          SAN FRANCISCO    CA   94124   WALGREENS     BW1959482   11,200   11,600   10,600   11,600   11,200    7,000   10,533    63,200

100068588   040143602   LEE GOODRUM PHCY: EASTSIDE CPA       NEWNAN        GA   30263   INDEPENDENT   BW1961247    5,700    4,700    6,500    5,820    7,400    4,100    5,703    34,220

100102391   046051235   WALGREENS #09688     DSD           CLEARWATER      FL   33759   WALGREENS     BW1968607     130      400     1,600   13,790    8,700   12,900    6,253    37,520

100103944   046057398   WALGREENS #15208     DSD           WELLINGTON      FL   33414   WALGREENS     BW1974078     230      300     4,760    7,430    8,830    6,600    4,692    28,150

100103129   020163378   WALGREENS #15033     DSD          ALBUQUERQUE      NM   87105   WALGREENS     BW1984574   21,100   24,300   19,700   21,100   22,600   13,400   20,367   122,200

100070868   018144626   WOODARD DRUG        CPA            GLENWOOD        AR   71943   INDEPENDENT   BW1994119   12,100    8,100    9,100   14,500   11,700    5,100   10,100    60,600

100102099   020160325   WALGREENS #11182     DSD              MESA         AZ   85210   WALGREENS     BW1997317    9,000    9,700    6,200    8,700   10,100    4,600    8,050    48,300

100102051   046047621   WALGREENS #02202     DSD          DELRAY BEACH     FL   33446   WALGREENS     BW2014291     100      200     2,500    2,300    1,700    2,700    1,583     9,500

100054939   012065854   WAGNER PHARMACY                     SANTA ANA      CA   92705   INDEPENDENT   BW2022515     100               200      100     3,100              875      3,500

100102828   046053421   WALGREENS #12392     DSD             VENICE        FL   34293   WALGREENS     BW2025016     220      300     9,030   16,260   14,930   16,100    9,473    56,840

100072747   018143099   BEST VALUE RIDGLEA DRUG   CPA      FORT WORTH      TX   76107   INDEPENDENT   BW2032845   10,700   11,900   14,000   18,200   14,400    7,800   12,833    77,000

100102415   046051367   WALGREENS #15435     DSD           CLEARWATER      FL   33767   WALGREENS     BW2042694     100               500     3,200    2,300    2,300    1,680     8,400

100096098   004098871   WALGREENS #02330     DSD             NEWTON        MA   02461   WALGREENS     BW2049030    1,260    1,900    1,700    1,500    1,300    2,300    1,660     9,960

100101768   046046755   WALGREENS #02214     DSD         FORT LAUDERDALE   FL   33308   WALGREENS     BW2059310     300      400     3,300    6,000    6,600    6,500    3,850    23,100

100097920   019170365   WALGREENS #09689     DSD             WABASH        IN   46992   WALGREENS     BW2059916   31,800   29,800   28,600   26,600   42,500   20,000   29,883   179,300

100098499   025089805   WALGREENS #02142     DSD            SAINT PAUL     MN   55105   WALGREENS     BW2060387    8,200    4,800    5,000    7,700    5,100    4,900    5,950    35,700
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100102711   046052860   WALGREENS #05178        DSD    WINTER SPRINGS     FL   32708     WALGREENS         BW2068066     300      100    12,400   16,130   13,700    7,400    8,338    50,030

100103030   046054494   WALGREENS #02284        DSD     COCOA BEACH       FL   32931     WALGREENS         BW2070681              360     4,200   16,900   12,100    8,500    8,412    42,060

100101211   046044800   WALGREENS #06886        DSD   NEW PORT RICHEY     FL   34653     WALGREENS         BW2072685     600      600     3,700   27,400   18,400    8,100    9,800    58,800

100095087   010231936   WALGREENS #06191        DSD       LOVELAND        OH   45140     WALGREENS         BW2081468    4,700    4,700    5,500    4,500    5,000    4,500    4,817    28,900

100103033   046054502   WALGREENS #07726        DSD      KISSIMMEE        FL   34743     WALGREENS         BW2081608     100      600     8,000    7,100    6,800    5,000    4,600    27,600

100103051   020163188   WALGREENS #15206        DSD      FLAGSTAFF        AZ   86004     WALGREENS         BW2083006   18,700   19,800   19,300   17,500   22,000   15,200   18,750   112,500

100098108   019170654   WALGREENS #07158        DSD     BATTLE CREEK      MI   49015     WALGREENS         BW2083183   67,900   79,700   60,800   64,400   47,900   69,500   65,033   390,200

100107798   049196394   WALGREENS #07158 340B           BATTLE CREEK      MI   49015    PHS 340B CLINIC    BW2083183    7,600    2,500    8,900    6,100    1,100    2,000    4,700    28,200

100096179   004099440   WALGREENS #02063        DSD        SALEM          MA   01970     WALGREENS         BW2087648    2,700    6,700    3,000    4,000    3,600    2,100    3,683    22,100

100102457   020161760   WALGREENS #06582        DSD         MESA          AZ   85207     WALGREENS         BW2094441   13,600   11,800    9,600   13,500   15,200   10,100   12,300    73,800

100097848   019169649   WALGREENS #11084        DSD     MICHIGAN CITY     IN   46360     WALGREENS         BW2097423   37,700   44,300   36,400   37,200   22,900   37,000   35,917   215,500

100102194   046049411   WALGREENS #07177        DSD    SUN CITY CENTER    FL   33573     WALGREENS         BW2097702     400      440     2,500   25,200   25,100   23,700   12,890    77,340

100096131   004099127   WALGREENS #02208        DSD       PEABODY         MA   01960     WALGREENS         BW2098855    4,100    4,400    3,000    3,500    4,100    1,500    3,433    20,600

100102632   046052431   WALGREENS #07875        DSD    PORT CHARLOTTE     FL   33948     WALGREENS         BW2101880     400     1,600   10,300   15,530   19,530    8,600    9,327    55,960

100103508   008115782   WALGREENS #02277        DSD      MARYSVILLE       CA   95901     WALGREENS         BW2102298   30,600   35,900   32,100   33,800   34,000   36,400   33,800   202,800

100095484   004093708   WALGREENS #02180        DSD    POUGHKEEPSIE       NY   12603     WALGREENS         BW2110637    3,900    4,200    3,400    3,700    4,700    3,300    3,867    23,200

100097531   052221960   WALGREENS #05729        DSD      KNOXVILLE        TN   37931     WALGREENS         BW2111742   25,560   26,390   23,660   25,160   20,600   23,300   24,112   144,670

100099561   037131169   WALGREENS #02262        DSD     NEW ORLEANS       LA   70117     WALGREENS         BW2131249     500      900    11,600   19,030   13,800   11,800    9,605    57,630

100096292   004100693   WALGREENS #02309        DSD       WOBURN          MA   01801     WALGREENS         BW2139473    6,800    5,700    7,900    6,800    7,400    6,100    6,783    40,700

100096247   004100222   WALGREENS #10647        DSD     WALLINGFORD       CT   06492     WALGREENS         BW2150770   10,300    9,700    9,200    9,000   10,700    5,500    9,067    54,400

100103111   046054908   WALGREENS #03989        DSD    WINTER GARDEN      FL   34787     WALGREENS         BW2151277     500      400    14,200   13,300    9,500    8,500    7,733    46,400

100098796   019174607   WALGREENS #02054        DSD     CALUMET CITY      IL   60409     WALGREENS         BW2164642    9,900   11,100    7,800   10,400    9,800    8,200    9,533    57,200

100096015   041152173   WALGREENS #04109        DSD        LINDEN         NJ   07036     WALGREENS         BW2167333    4,400    6,000    5,500    3,800    6,500    2,200    4,733    28,400

100097726   044216929   WALGREENS #04586        DSD      LOUISVILLE       KY   40228     WALGREENS         BW2167446    4,700   23,300   29,100   27,600   29,500   17,700   21,983   131,900

100103300   020163964   WALGREENS #10414        DSD       EL PASO         TX   79924     WALGREENS         BW2169084    4,400   21,100   19,700   19,200   14,100    6,000   14,083    84,500

100103281   008114132   WALGREENS #02306        DSD       HAYWARD         CA   94544     WALGREENS         BW2184339   26,000   23,500   22,800   24,400   26,200   15,200   23,017   138,100

100102417   020161661   WALGREENS #06177        DSD         MESA          AZ   85201     WALGREENS         BW2188159   24,600   22,900   24,500   25,500   29,400   15,160   23,677   142,060

100099549   037131045   WALGREENS #05472        DSD        KENNER         LA   70065     WALGREENS         BW2191423     900     1,200   20,030   25,260   23,300   30,100   16,798   100,790

100102866   020162727   WALGREENS #02232        DSD     GREEN VALLEY      AZ   85614     WALGREENS         BW2192223    6,400    9,800    6,000    7,000    9,900    5,300    7,400    44,400

100103018   046054411   WALGREENS #06704        DSD       PALM BAY        FL   32907     WALGREENS         BW2196574     500     1,300    6,400   14,830   12,700   11,200    7,822    46,930

100103292   020163915   WALGREENS #11960        DSD      LAS CRUCES       NM   88001     WALGREENS         BW2220185   28,600   29,900   30,900   30,500   28,000   21,900   28,300   169,800

100099297   044218941   WALGREENS #05748        DSD       O FALLON        MO   63366     WALGREENS         BW2220717            12,800   23,100   22,100   24,200   12,300   18,900    94,500

100103090   008113647   WALGREENS #02152        DSD    SAN FRANCISCO      CA   94115     WALGREENS         BW2228319   10,000   11,200    9,630    9,970   11,200    6,900    9,817    58,900

100098559   025090415   WALGREENS #04119        DSD     MINNEAPOLIS       MN   55406     WALGREENS         BW2234829   18,900   14,000   15,960   16,200   14,200   14,200   15,577    93,460

100101610   046046250   WALGREENS #02129        DSD   SUNNY ISLES BEACH   FL   33160     WALGREENS         BW2240795     600      100     1,000    2,100    2,200    1,200    1,200     7,200

100099218   044218156   WALGREENS #01273        DSD       BALLWIN         MO   63021     WALGREENS         BW2244452    1,200    7,600   10,800   12,200   13,200    9,600    9,100    54,600

100102638   020162198   WALGREENS #02398        DSD        TEMPE          AZ   85283     WALGREENS         BW2245012    5,000    5,400    4,100    5,700    7,000    4,800    5,333    32,000

100101634   046046326   WALGREENS #02416        DSD         MIAMI         FL   33165     WALGREENS         BW2268173              100      600     2,400    1,600    1,600    1,260     6,300

100096025   004098319   WALGREENS #06739        DSD        LOWELL         MA   01851     WALGREENS         BW2269000    9,930    8,730    7,800    9,300   11,100    8,900    9,293    55,760

100098202   021169375   WALGREENS #07452        DSD      DES MOINES       IA   50310     WALGREENS         BW2280725   27,900   28,830   27,500   27,630   27,200   18,100   26,193   157,160

100096208   004099648   WALGREENS #02268        DSD     SPRINGFIELD       MA   01104     WALGREENS         BW2284153    1,800    2,200     500     2,500    1,500     700     1,533     9,200

100098140   049193854   WALGREENS #10515        DSD       HOLLAND         MI   49423     WALGREENS         BW2286640   36,200   38,400   37,200   38,500   30,200   21,100   33,600   201,600

100108684   049196709   WALGREENS #10515 340B             HOLLAND         MI   49423   PHS 340B HOSPITAL   BW2286640                               1,500                      1,500     1,500

100101193   046044628   WALGREENS #02192        DSD      SPRING HILL      FL   34609     WALGREENS         BW2288163     400      300     3,900   21,200   21,900   16,000   10,617    63,700
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100073943   040144139   WYATTS PHARMACY         CPA       LITHIA SPRINGS    GA   30122   INDEPENDENT   BW2288620   22,900   27,500   24,500   45,640   15,200   13,200   24,823   148,940

100103230   008113993   WALGREENS #02112        DSD          CLAYTON        CA   94517   WALGREENS     BW2296615   16,300   19,700   18,900   19,000   19,500   17,900   18,550   111,300

100103740   020164764   WALGREENS #07930        DSD         CARLSBAD        NM   88220   WALGREENS     BW2298897   30,500   33,900   29,600   29,000   31,800   21,200   29,333   176,000

100103315   020164053   WALGREENS #02349        DSD           HOBBS         NM   88240   WALGREENS     BW2298900   41,100   42,300   39,400   36,400   27,600   26,000   35,467   212,800

100102379   046051177   WALGREENS #02326        DSD       ST PETERSBURG     FL   33716   WALGREENS     BW2304070              100     1,100    6,400    7,800    5,860    4,252    21,260

100102363   046051094   WALGREENS #06804        DSD       ST PETERSBURG     FL   33710   WALGREENS     BW2304082     800      200     2,300   15,000   17,500   13,300    8,183    49,100

100103217   020163600   WALGREENS #04911        DSD       ALBUQUERQUE       NM   87120   WALGREENS     BW2304260   11,200   11,300    8,600   11,400    9,700   10,000   10,367    62,200

100103443   008114819   WALGREENS #02265        DSD          SAN JOSE       CA   95125   WALGREENS     BW2313308   11,780   12,000   10,400   12,300   12,800    6,200   10,913    65,480

100094944   010229625   WALGREENS #07470        DSD         HARRISON        OH   45030   WALGREENS     BW2318839   19,330   24,430   19,300   21,300   19,600   12,400   19,393   116,360

100089765   019156364   WEBB'S FAMILY PHARMACY INC CPA      ROCHESTER       IN   46975   INDEPENDENT   BW2320240    9,100    7,800    6,300   15,300    8,100    4,500    8,517    51,100

100094788   023138479   WALGREENS #13643        DSD      EAST PATCHOGUE     NY   11772   WALGREENS     BW2324161    4,100    3,700    4,900    4,600    6,800    3,700    4,633    27,800

100102971   008113357   WALGREENS #02153        DSD       SAN FRANCISCO     CA   94102   WALGREENS     BW2345177    9,600    7,800    9,700    8,700    7,600    7,000    8,400    50,400

100097443   044215616   WALGREENS #04677        DSD         NASHVILLE       TN   37217   WALGREENS     BW2351144   18,100   20,000   17,500   18,000   23,000   14,000   18,433   110,600

100103283   020163857   WALGREENS #02425        DSD         LAS VEGAS       NM   87701   WALGREENS     BW2380789   21,200   22,800   23,700   20,200   14,700   14,000   19,433   116,600

100101420   046045187   WALGREENS #02405        DSD       DAYTONA BEACH     FL   32118   WALGREENS     BW2390552                      3,600    7,000   10,500    4,000    6,275    25,100

100101819   046046888   WALGREENS #04483        DSD          TAMARAC        FL   33319   WALGREENS     BW2398685     400      400     8,900   14,400   14,400    8,300    7,800    46,800

100060475   040005371   WINDY HILL APOTHECARY                MARIETTA       GA   30067    HOSPITAL     BW2400466    2,100    1,800    2,300    2,700    1,400    2,500    2,133    12,800

100101445   046045351   WALGREENS #03492        DSD         TITUSVILLE      FL   32796   WALGREENS     BW2404046     200      600     4,400   12,700   10,100    7,100    5,850    35,100

100094574   010228395   WALGREENS #06642        DSD        BURLINGTON       KY   41005   WALGREENS     BW2409212   19,800   16,100   15,300   18,000   17,000   12,500   16,450    98,700

100103310   020164038   WALGREENS #01941        DSD          ROSWELL        NM   88203   WALGREENS     BW2440321   28,800   32,400   29,900   28,400   35,500   22,300   29,550   177,300

100096024   004098301   WALGREENS #09178        DSD       LONDONDERRY       NH   03053   WALGREENS     BW2464701    4,560    3,530    4,560    3,030    4,300    3,000    3,830    22,980

100095971   004098004   WALGREENS #02410        DSD          HAMDEN         CT   06517   WALGREENS     BW2465385    3,500    3,100    2,830    2,900    2,500    2,100    2,822    16,930

100096096   004098855   WALGREENS #02564        DSD       NEWBURYPORT       MA   01950   WALGREENS     BW2466971    4,800    5,930    6,030    3,500    7,100    4,000    5,227    31,360

100096074   004098699   WALGREENS #09447        DSD          NASHUA         NH   03063   WALGREENS     BW2467098    5,900    5,400    2,100    5,530    6,200    3,600    4,788    28,730

100096076   004098715   WALGREENS #11505        DSD          NASHUA         NH   03060   WALGREENS     BW2467113    4,200    4,000    4,600    3,100    5,500    4,000    4,233    25,400

100096181   004099465   WALGREENS #02566        DSD           SALEM         NH   03079   WALGREENS     BW2467137    2,900    2,870    3,000    3,600    2,300    2,400    2,845    17,070

100095909   004094862   WALGREENS #02246        DSD      EAST GREENWICH     RI   02818   WALGREENS     BW2469799    3,300    4,300    3,300    3,200    5,100    2,200    3,567    21,400

100096109   004098962   WALGREENS #09071        DSD        NORTH HAVEN      CT   06473   WALGREENS     BW2477518    4,500    6,000    4,800    3,700    6,000    3,100    4,683    28,100

100087107   003090225   WALGREENS #00037                    VEGA BAJA       PR   00693   WALGREENS     BW2484880              500      100      500                        367      1,100

100103451   008114892   WALGREENS #02169        DSD          SAN JOSE       CA   95138   WALGREENS     BW2489981    6,800    8,700    7,300    7,500    9,500    5,900    7,617    45,700

100094865   023138685   WALGREENS #04845        DSD         FREEPORT        NY   11520   WALGREENS     BW2490251    4,300    4,000    4,200    2,200    4,700    5,030    4,072    24,430

100096010   023146670   WALGREENS #09934        DSD        LEDGEWOOD        NJ   07852   WALGREENS     BW2501028    5,630    7,100    4,660    4,860    6,700    6,600    5,925    35,550

100098577   025090597   WALGREENS #05882        DSD         NEW HOPE        MN   55428   WALGREENS     BW2501802   10,300   10,200    9,800   10,600   12,200    8,900   10,333    62,000

100096209   004099655   WALGREENS #02311        DSD        SPRINGFIELD      MA   01129   WALGREENS     BW2506333    4,100    4,600    3,100    3,300    4,500    3,200    3,800    22,800

100097370   044214890   WALGREENS #06211        DSD          ANTIOCH        TN   37013   WALGREENS     BW2510344   16,000   13,500   13,600   15,600   17,600   11,500   14,633    87,800

100098131   049193789   WALGREENS #07416        DSD         BIG RAPIDS      MI   49307   WALGREENS     BW2521272   35,100   40,260   36,300   37,450   29,100   31,400   34,935   209,610

100103084   020163261   WALGREENS #04065        DSD          SEDONA         AZ   86336   WALGREENS     BW2567331   13,800   16,330   12,960   11,910   13,300   12,000   13,383    80,300

100100540   044219337   WALGREENS #15265     DSD            SAINT LOUIS     MO   63124   WALGREENS     BW2575768      30     4,800    8,000    7,030    9,100    4,900    5,643    33,860

100099255   044218529   WALGREENS #05894        DSD      RICHMOND HEIGHTS   MO   63117   WALGREENS     BW2577700     200     9,000   10,300   12,100   13,800   10,600    9,333    56,000

100099213   044218107   WALGREENS #06989        DSD        MANCHESTER       MO   63011   WALGREENS     BW2577748     300     4,700    5,600    7,220    7,400    4,600    4,970    29,820

100099253   044218503   WALGREENS #03906        DSD         SAINT LOUIS     MO   63116   WALGREENS     BW2577750     200    25,400   35,100   34,100   35,800   24,900   25,917   155,500

100103085   046054783   WALGREENS #11105        DSD           OCOEE         FL   34761   WALGREENS     BW2579348     200      200     5,300    6,600    2,600    1,000    2,650    15,900

100099262   044218594   WALGREENS #07762        DSD          AFFTON         MO   63123   WALGREENS     BW2581088            11,000   16,100   19,600   18,700   13,800   15,840    79,200

100099223   044218206   WALGREENS #07050        DSD           FESTUS        MO   63028   WALGREENS     BW2581090     400    30,800   44,700   49,060   37,200   36,100   33,043   198,260
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100099236   044218339   WALGREENS #02552        DSD       SAINT ANN       MO   63074     WALGREENS         BW2595265             8,600    12,100   11,500   13,100    9,200   10,900    54,500

100101419   046045179   WALGREENS #02292        DSD      BOCA RATON       FL   33432     WALGREENS         BW2604658              200      3,930    5,420    5,700    5,500    4,150    20,750

100103275   008114116   WALGREENS #02401        DSD       HAYWARD         CA   94541     WALGREENS         BW2616588   11,600   11,800    11,200   11,800   13,200   11,500   11,850    71,100

100098199   021169342   WALGREENS #06678        DSD   WEST DES MOINES     IA   50265     WALGREENS         BW2618520   19,500   17,000    16,600   18,700   17,000   13,600   17,067   102,400

100097711   044216770   WALGREENS #15183        DSD      LOUISVILLE       KY   40211     WALGREENS         BW2626058    9,500   45,700    54,500   60,100   50,500   17,500   39,633   237,800

100103000   008113423   WALGREENS #02521        DSD    SAN FRANCISCO      CA   94104     WALGREENS         BW2632417    2,600    3,900     3,400    3,700    3,500    1,900    3,167    19,000

100099208   044218057   WALGREENS #05058        DSD        ARNOLD         MO   63010     WALGREENS         BW2635691            15,100    19,700   17,500   24,900   15,200   18,480    92,400

100096139   041152397   WALGREENS #05248        DSD      PLAINFIELD       NJ   07062     WALGREENS         BW2639245    3,300    4,130     3,000    1,700    3,700    2,600    3,072    18,430

100103341   008114330   WALGREENS #13595        DSD       OAKLAND         CA   94612     WALGREENS         BW2658029   21,500   20,700    19,000   20,500   22,100   16,500   20,050   120,300

100098181   049194191   WALGREENS #05481        DSD       PETOSKEY        MI   49770     WALGREENS         BW2660416   24,000   27,600    20,320   23,830   24,600   16,100   22,742   136,450

100097948   044217380   WALGREENS #02652        DSD      EVANSVILLE       IN   47710     WALGREENS         BW2664666   17,600   21,600    19,000   20,500   22,500   18,000   19,867   119,200

100097950   044217406   WALGREENS #09321        DSD      EVANSVILLE       IN   47712     WALGREENS         BW2664678   34,700   29,800    35,200   33,700   35,300   25,560   32,377   194,260

100097951   044217414   WALGREENS #06151        DSD      EVANSVILLE       IN   47714     WALGREENS         BW2664680   44,700   40,300    45,700   49,200   40,200   22,700   40,467   242,800

100097952   044217422   WALGREENS #06152        DSD      EVANSVILLE       IN   47715     WALGREENS         BW2664705   54,200   49,000    53,800   58,700   47,700   39,500   50,483   302,900

100097945   044217356   WALGREENS #07058        DSD      NEWBURGH         IN   47630     WALGREENS         BW2664717   23,800   23,000    24,500   27,200   24,500   21,000   24,000   144,000

100095493   023145722   WALGREENS #02055        DSD    QUEENS VILLAGE     NY   11429     WALGREENS         BW2665163    2,600    1,800     2,300    2,200    1,700    2,800    2,233    13,400

100103442   008114801   WALGREENS #02384        DSD       SAN JOSE        CA   95124     WALGREENS         BW2669440   11,200   10,500     9,700   10,900   11,500    9,000   10,467    62,800

100102825   046053413   WALGREENS #13920        DSD       ORLANDO         FL   32804     WALGREENS         BW2683882                       5,600    7,700    7,100    5,200    6,400    25,600

100098145   025089359   WALGREENS #05560        DSD      LUDINGTON        MI   49431     WALGREENS         BW2685874   57,700   64,900    55,600   55,900   46,500   38,500   53,183   319,100

100087116   003090381   WALGREENS #00157                  BAYAMON         PR   00956     WALGREENS         BW2690584              100       100      100                        100       300

100100528   018403337   WALGREENS #06715        DSD        ODESSA         TX   79764     WALGREENS         BW2695065    1,600   55,100    49,900   59,000   35,600   19,000   36,700   220,200

100109457   018405027   WALGREENS #06715 340B              ODESSA         TX   79764   PHS 340B HOSPITAL   BW2695065              200                100                        150       300

100102330   046049882   WALGREENS #02524        DSD     ST PETE BEACH     FL   33706     WALGREENS         BW2696548     200      500       800     6,900    6,700    4,900    3,333    20,000

100097588   018397547   WALGREENS #06465        DSD       BARTLETT        TN   38134     WALGREENS         BW2706503   23,120   22,500    22,240   24,020   24,700   23,220   23,300   139,800

100101694   046046540   WALGREENS #02545        DSD   NORTH MIAMI BEACH   FL   33179     WALGREENS         BW2707911     100                600     3,700    2,700    2,700    1,960     9,800

100103688   046055681   WALGREENS #15136        DSD      CAPE CORAL       FL   33904     WALGREENS         BW2712823     300       (20)    9,400   17,800   16,000   17,200   10,113    60,680

100102953   046054064   WALGREENS #06030        DSD       ORLANDO         FL   32826     WALGREENS         BW2714675     100               5,500    6,100    6,000    3,700    4,280    21,400

100072080   023175935   WESTERN DRUGS(X)        CPA   JACKSON HEIGHTS     NY   11372     INDEPENDENT       BW2727735     100      200       500      300               100      240      1,200

100101827   046046912   WALGREENS #05796        DSD       TAMARAC         FL   33321     WALGREENS         BW2732332     300      120      2,200    5,900    5,900    3,300    2,953    17,720

100087119   003090449   WALGREENS #00173                 RIO PIEDRAS      PR   00919     WALGREENS         BW2733889              100                                           100       100

100103246   008114033   WALGREENS #02560        DSD       DANVILLE        CA   94526     WALGREENS         BW2734362    6,500    9,170     8,900    8,900   10,300    3,900    7,945    47,670

100098576   025090589   WALGREENS #05883        DSD        CRYSTAL        MN   55428     WALGREENS         BW2736998    5,200    8,300     7,000    8,100    8,300    4,000    6,817    40,900

100103163   046055244   WALGREENS #02443        DSD      HOLLYWOOD        FL   33021     WALGREENS         BW2738384    1,000     260      5,300    8,900    7,300    3,900    4,443    26,660

100100308   038108464   WALGREENS #10583        DSD      TEXAS CITY       TX   77590     WALGREENS         BW2739348    2,300    9,700    35,800   52,300   45,100   25,400   28,433   170,600

100103321   020164095   WALGREENS #09991        DSD     ALAMOGORDO        NM   88310     WALGREENS         BW2744832   38,300   32,000    31,700   32,900   35,400   23,600   32,317   193,900

100103113   020163337   WALGREENS #06610        DSD       LOS LUNAS       NM   87031     WALGREENS         BW2744844   26,200   24,300    20,230   27,400   25,400   13,800   22,888   137,330

100101941   046047266   WALGREENS #09116        DSD    COCONUT CREEK      FL   33073     WALGREENS         BW2750619     100      600      3,300    7,230    7,000    6,200    4,072    24,430

100098562   025090449   WALGREENS #02509        DSD         EDINA         MN   55410     WALGREENS         BW2752308    4,160    5,190     4,120    5,890    4,800    2,600    4,460    26,760

100098531   025090134   WALGREENS #02496        DSD      BURNSVILLE       MN   55306     WALGREENS         BW2763426    5,000    4,600     5,000    5,500    5,000    4,000    4,850    29,100

100098158   049193961   WALGREENS #11249        DSD       WYOMING         MI   49509     WALGREENS         BW2767652   24,200   24,500    24,600   23,200   23,500   20,500   23,417   140,500

100095842   023146290   WALGREENS #05723        DSD      BRIDGEPORT       CT   06606     WALGREENS         BW2770421    6,500    7,000     4,900    5,600    4,500    4,700    5,533    33,200

100103148   046055178   WALGREENS #06383        DSD    PORT SAINT LUCIE   FL   34953     WALGREENS         BW2773009     600      600      6,000   16,100   16,800   10,900    8,500    51,000

100102622   020162149   WALGREENS #06060        DSD    FOUNTAIN HILLS     AZ   85268     WALGREENS         BW2778946   16,000   15,000    14,160   13,800   19,300    8,200   14,410    86,460

100097519   052221846   WALGREENS #06967        DSD       KNOXVILLE       TN   37914     WALGREENS         BW2779710   25,500   26,740    22,000   23,600   25,700   15,700   23,207   139,240
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100094654   010228668   WALGREENS #06449     DSD      CINCINNATI      OH   45216    WALGREENS        BW2798366    6,500      100                                          3,300     6,600

100056659   056017822   WEST GIRARD HEALTH PHCY      PHILADELPHIA     PA   19122    INDEPENDENT      BW2799623                                 1,000                      1,000     1,000

100099288   044218859   WALGREENS #02617     DSD    SAINT CHARLES     MO   63301    WALGREENS        BW2820923              5,700    11,700   13,000   12,600    8,500   10,300    51,500

100099243   044218404   WALGREENS #06166     DSD      SAINT LOUIS     MO   63109    WALGREENS        BW2820947              3,700    11,500   10,200   10,500    7,100    8,600    43,000

100103352   038110114   WALGREENS #12100     DSD        ARVADA        CO   80003    WALGREENS        BW2823397    8,500     7,700     8,400   10,100    8,700    7,100    8,417    50,500

100101424   046045211   WALGREENS #02542     DSD        NAPLES        FL   34104    WALGREENS        BW2826901               400      4,900    7,000    5,800    4,500    4,520    22,600

100095866   041151837   WALGREENS #07490     DSD       CARTERET       NJ   07008    WALGREENS        BW2826937    2,700     2,900     2,400    2,400    2,500    2,500    2,567    15,400

100103374   008114454   WALGREENS #02435     DSD      SAN PABLO       CA   94806    WALGREENS        BW2827802   21,200    18,100    18,200   17,100   16,200   14,100   17,483   104,900

100099560   037131151   WALGREENS #02640     DSD     NEW ORLEANS      LA   70115    WALGREENS        BW2831382     100       400      6,700   11,100   12,900    6,600    6,300    37,800

100095906   023146415   WALGREENS #02682     DSD       DUMONT         NJ   07628    WALGREENS        BW2886818    2,100     1,900     2,100     500     2,400    1,000    1,667    10,000

100096188   004099515   WALGREENS #11619     DSD       SEYMOUR        CT   06483    WALGREENS        BW2892633    6,500     8,100     5,000    7,600    8,500    3,400    6,517    39,100

100097440   044215582   WALGREENS #06853     DSD      NASHVILLE       TN   37214    WALGREENS        BW2900682   13,300    12,700    13,500   14,630   13,000   13,100   13,372    80,230

100101718   038109496   WALGREENS #05794     DSD   COLORADO SPRINGS   CO   80910    WALGREENS        BW2902686   18,900    16,600    15,200   16,700   18,800   10,000   16,033    96,200

100103261   020163717   WALGREENS #09067     DSD     FARMINGTON       NM   87401    WALGREENS        BW2912702   34,290    31,620    35,410   36,810   36,000   28,100   33,705   202,230

100087124   003090548   WALGREENS #12874                PONCE         PR   00731    WALGREENS        BW2913209     100       100      1,100    1,100                       600      2,400

100097522   052221879   WALGREENS #05373     DSD      KNOXVILLE       TN   37918    WALGREENS        BW2932134   27,940    26,090    25,230   27,200   23,900   22,500   25,477   152,860

100098189   021169243   WALGREENS #12108     DSD         AMES         IA   50010    WALGREENS        BW2933340   11,000    10,000    11,000   11,000   13,000    8,500   10,750    64,500

100100065   018401588   WALGREENS #09041     DSD     WICHITA FALLS    TX   76301    WALGREENS        BW2938403    2,000    27,800    49,500   51,600   22,600   15,500   28,167   169,000

100102131   046047860   WALGREENS #02547     DSD     DELRAY BEACH     FL   33483    WALGREENS        BW2944963     (400)     100      2,630    5,130    3,500    3,100    2,343    14,060

100101425   008112292   WALGREENS #02606     DSD        SALINAS       CA   93906    WALGREENS        BW2945597   32,600    31,700    29,400   35,020   33,200   23,200   30,853   185,120

100067794   040143941   RX DRUG CENTER      CPA       BAINBRIDGE      GA   39819    INDEPENDENT      BW2946626   23,200    15,200    25,300   12,100   12,300   40,700   21,467   128,800

100100091   038106807   WALGREENS #07530     DSD       HOUSTON        TX   77008    WALGREENS        BW2954344     640      1,020     7,340   13,400   11,800    4,800    6,500    39,000

100103320   008114264   WALGREENS #02575     DSD       VALLEJO        CA   94591    WALGREENS        BW2954774   19,400    21,300    19,500   20,500   15,600   15,200   18,583   111,500

100098519   025090019   WALGREENS #02661     DSD     APPLE VALLEY     MN   55124    WALGREENS        BW2957009   16,000    15,100    15,200   16,000   14,200    9,600   14,350    86,100

100101843   046046953   WALGREENS #09748     DSD      PLANTATION      FL   33324    WALGREENS        BW2958479     300       600      3,500    4,100    5,100    4,100    2,950    17,700

100098168   049194068   WALGREENS #02714     DSD       WYOMING        MI   49548    WALGREENS        BW2964989   22,000    22,000    22,200   23,000   19,500   15,000   20,617   123,700

100098510   025089920   WALGREENS #02769     DSD    WHITE BEAR LAKE   MN   55115    WALGREENS        BW2966767    9,000     8,300     9,500    7,600    8,200    6,600    8,200    49,200

100103059   020163204   WALGREENS #02555     DSD       PRESCOTT       AZ   86301    WALGREENS        BW2969371   11,100     9,800    10,000    9,300   10,500    7,400    9,683    58,100

100094517   023137810   WALGREENS #02650     DSD      BROOKLYN        NY   11234    WALGREENS        BW2969915    2,300     4,100     2,500    3,200    3,200    2,500    2,967    17,800

100101772   046046763   WALGREENS #02838     DSD   FORT LAUDERDALE    FL   33308    WALGREENS        BW2974221               100      2,100    2,400    3,200    2,200    2,000    10,000

100102602   020162099   WALGREENS #02599     DSD      SCOTTSDALE      AZ   85258    WALGREENS        BW2988751    7,310     6,950     4,660    5,990    8,100    6,600    6,602    39,610

100103454   008114926   WALGREENS #13984     DSD      STOCKTON        CA   95205    WALGREENS        BW2994413   38,000    37,100    37,600   40,000   18,100   12,000   30,467   182,800

100102151   046047910   WALGREENS #06751     DSD       BRANDON        FL   33510    WALGREENS        BW2996823     300       200      2,000    9,490   11,190    9,200    5,397    32,380

100102202   046049437   WALGREENS #09475     DSD      RIVERVIEW       FL   33578    WALGREENS        BW2996835     300       900      4,120   15,730   15,900   18,000    9,158    54,950

100096085   004098798   WALGREENS #07585     DSD      NEW BRITAIN     CT   06051    WALGREENS        BW2997344    7,300     9,800     7,900    6,330    8,700    6,300    7,722    46,330

100050488   004044297   WALGREENS CO 07585-340B       NEW BRITAIN     CT   06051   PHS 340B CLINIC   BW2997344                         100                        100      100       200

100101428   046045229   WALGREENS #02761     DSD   TREASURE ISLAND    FL   33706    WALGREENS        BW3003047     100       (100)    1,100    4,600    7,500    4,000    2,867    17,200

100103465   008115030   WALGREENS #07313     DSD       MODESTO        CA   95350    WALGREENS        BW3012476   31,700    34,200    28,300   32,300   26,700   30,100   30,550   183,300

100098522   025090043   WALGREENS #10188     DSD      WOODBURY        MN   55125    WALGREENS        BW3016020    7,700     7,700     8,000    9,500    7,700    7,300    7,983    47,900

100100280   038108241   WALGREENS #02692     DSD     CHANNELVIEW      TX   77530    WALGREENS        BW3016525     100      1,100    13,220   20,800   13,900   13,100   10,370    62,220

100095717   010233114   WALGREENS #05762     DSD    WEST CHESTER      OH   45069    WALGREENS        BW3017731    5,300     8,030     7,600    7,000    7,100    5,000    6,672    40,030

100096321   010233304   WALGREENS #02694     DSD      SPRINGDALE      OH   45246    WALGREENS        BW3017743   16,440    16,000    17,700   16,800   13,600   11,600   15,357    92,140

100103453   008114918   WALGREENS #02680     DSD      STOCKTON        CA   95204    WALGREENS        BW3017755   46,700    54,100    54,500   55,800   48,600   30,500   48,367   290,200

100087146   003090985   WALGREENS #00438                 LOIZA        PR   00772    WALGREENS        BW3039434               300                500                        400       800
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100098289   019171330   WALGREENS #02752       DSD        ELM GROVE      WI   53122    WALGREENS        BW3043320    6,200    7,300    6,700    6,500    7,200    3,800    6,283    37,700

100098557   025090399   WALGREENS #02713       DSD        MINNEAPOLIS    MN   55405    WALGREENS        BW3050123   12,660   10,300   10,300   11,200   11,100    7,100   10,443    62,660

100084827   046034876   WOOLLEYS PHARMACY                   NAPLES       FL   34112    INDEPENDENT      BW3053890     400                                                   400       400

100103245   020163675   WALGREENS #05158       DSD        RIO RANCHO     NM   87124    WALGREENS        BW3057393   21,400   24,900   19,500   22,300   29,200   18,700   22,667   136,000

100053954   041010983   CLINIC WESTBURY APOTHECARY RAK     RICHMOND      VA   23294    INDEPENDENT      BW3058131    4,000    4,000    4,700    8,600    2,100    5,200    4,767    28,600

100097528   052221937   WALGREENS #07374       DSD         KNOXVILLE     TN   37921    WALGREENS        BW3059284   18,000   18,700   17,400   20,900   19,200   16,500   18,450   110,700

100101256   004101162   WALGREENS #12558    DSD           FITCHBURG      MA   01420    WALGREENS        BW3061885    7,000    6,700    9,400    9,700    9,900    6,800    8,250    49,500

100103421   008114652   WALGREENS #02740       DSD        SANTA CLARA    CA   95051    WALGREENS        BW3064134   10,700   10,900   11,400   10,300   11,800    6,300   10,233    61,400

100102927   008113258   WALGREENS #02659       DSD       MOUNTAIN VIEW   CA   94043    WALGREENS        BW3067089    4,800    4,900    3,200    5,200    5,300    2,200    4,267    25,600

100103126   008113738   WALGREENS #02705       DSD       SAN FRANCISCO   CA   94122    WALGREENS        BW3067104    6,500    6,000    6,700    6,030    6,400    3,000    5,772    34,630

100097436   044215541   WALGREENS #04872       DSD         NASHVILLE     TN   37211    WALGREENS        BW3067938   11,750   16,530   14,530   16,920   15,200   13,000   14,655    87,930

100103119   046054932   WALGREENS #12285       DSD          HIALEAH      FL   33010    WALGREENS        BW3068651              500      500     1,100    1,000    1,700     960      4,800

100103463   008115014   WALGREENS #10454       DSD         MANTECA       CA   95336    WALGREENS        BW3075276   41,200   44,400   41,900   47,400   44,100   34,200   42,200   253,200

100099232   044218297   WALGREENS #02501       DSD        BRIDGETON      MO   63044    WALGREENS        BW3080582      -     13,600   17,600   20,700   19,700   14,000   14,267    85,600

100098797   019174615   WALGREENS #06564       DSD       CALUMET CITY    IL   60409    WALGREENS        BW3083069   23,400   28,200   25,400   29,520   32,000   28,000   27,753   166,520

100098155   049193938   WALGREENS #02581       DSD       GRAND RAPIDS    MI   49507    WALGREENS        BW3092931   30,800   30,800   32,800   31,500   26,500   18,500   28,483   170,900

100095961   004097956   WALGREENS #02517       DSD        GLOUCESTER     MA   01930    WALGREENS        BW3093236   15,200   16,900   15,900   17,600   15,600   12,100   15,550    93,300

100087155   003091181   WALGREENS #00677                    CAYEY        PR   00737    WALGREENS        BW3098022                       500      100                        300       600

100099227   044218248   WALGREENS #02741       DSD        BLACK JACK     MO   63033    WALGREENS        BW3110183             3,000    4,600    5,700    5,700    3,000    4,400    22,000

100102803   008112946   WALGREENS #02702       DSD          FRESNO       CA   93705    WALGREENS        BW3110272   19,460   19,600   18,800   22,560   15,700   14,200   18,387   110,320

100096184   004099499   WALGREENS #02577       DSD          SAUGUS       MA   01906    WALGREENS        BW3121794    9,560    9,160   10,560    9,730   11,000    6,400    9,402    56,410

100105088   004102327   WALGREENS #02577 (340B)             SAUGUS       MA   01906   PHS 340B CLINIC   BW3121794              100                                          100       100

100103147   046055152   WALGREENS #05130       DSD          HIALEAH      FL   33018    WALGREENS        BW3122633     300      800      500     1,700    2,600    2,200    1,350     8,100

100094809   023138552   WALGREENS #02778       DSD          ELMONT       NY   11003    WALGREENS        BW3133220    2,000    3,500    2,800    2,000    3,400    4,300    3,000    18,000

100103693   046055764   WALGREENS #05658       DSD         ORLANDO       FL   32806    WALGREENS        BW3133915     100             14,900   15,600   17,500   15,700   12,760    63,800

100100275   038108191   WALGREENS #15338       DSD         BAYTOWN       TX   77520    WALGREENS        BW3134917     320      980    13,920   19,700   21,500    9,500   10,987    65,920

100098619   025091009   WALGREENS #13880       DSD        SAUK RAPIDS    MN   56379    WALGREENS        BW3143889    9,600    8,600    7,000    8,800    9,000    6,000    8,167    49,000

100062454   018066480   PROFESSIONAL PHARMACY               TULSA        OK   74104    INDEPENDENT      BW3150086   12,600   15,600   12,000   17,000   18,500   14,100   14,967    89,800

100100100   038106898   WALGREENS #02686       DSD         HOUSTON       TX   77020    WALGREENS        BW3151759    1,000    1,600   19,400   24,200   17,300   10,500   12,333    74,000

100099442   021171116   WALGREENS #02846       DSD          TOPEKA       KS   66614    WALGREENS        BW3161673    8,200   11,200   14,400   15,100   13,800   13,500   12,700    76,200

100103316   020164061   WALGREENS #09173       DSD          EL PASO      TX   79932    WALGREENS        BW3170292    8,400   43,500   39,520   37,300   15,300   20,000   27,337   164,020

100103350   008114363   WALGREENS #02609       DSD         BERKELEY      CA   94702    WALGREENS        BW3171333   19,600   15,900   16,000   19,100   14,200   14,500   16,550    99,300

100102606   020162107   WALGREENS #05890       DSD        SCOTTSDALE     AZ   85259    WALGREENS        BW3173197   10,010    8,250    7,700   13,720   12,500    6,700    9,813    58,880

100102495   020161844   WALGREENS #02056       DSD         CHANDLER      AZ   85224    WALGREENS        BW3173212   10,060    8,500    7,800   10,300   10,000    7,600    9,043    54,260

100102546   020161968   WALGREENS #03669       DSD         SUN LAKES     AZ   85248    WALGREENS        BW3176220   11,700   11,020   10,760   11,260   12,100   11,400   11,373    68,240

100102819   008112987   WALGREENS #13871       DSD          FRESNO       CA   93711    WALGREENS        BW3182514   23,900   24,300   24,000   27,800   27,100   12,300   23,233   139,400

100096274   004100529   WALGREENS #02710       DSD        WESTFIELD      MA   01085    WALGREENS        BW3183073    3,700    3,800    3,000    4,100    4,000    1,000    3,267    19,600

100103257   020163709   WALGREENS #09007       DSD          GALLUP       NM   87301    WALGREENS        BW3198834   14,100   14,600   14,500   11,500   16,000   10,600   13,550    81,300

100096028   004098343   WALGREENS #02699       DSD          LUDLOW       MA   01056    WALGREENS        BW3199797    3,000    5,000    4,000    4,100    3,700    3,000    3,800    22,800

100102799   008112938   WALGREENS #12574       DSD          FRESNO       CA   93703    WALGREENS        BW3206237   12,400   17,800   18,000   14,500   11,000    9,600   13,883    83,300

100055372   038000760   WESTERN DR.-CHAPPELL      SF       CHAPPELL      NE   69129    INDEPENDENT      BW3207392    1,500    2,400    2,300    1,300    3,200    1,600    2,050    12,300

100091460   038105742   WESTERN DR.-CHAPPELL 340B          CHAPPELL      NE   69129      ALT SITE       BW3207392     100      100               100                        100       300

100095919   041151928   WALGREENS #02593       DSD          EDISON       NJ   08837    WALGREENS        BW3220504    5,000    5,100    2,500    3,700    3,500    3,500    3,883    23,300

100066710   021007955   WAGEY DRUG CO                       LINCOLN      NE   68503   PHS 340B CLINIC   BW3227623    1,000    1,000              500              1,000     875      3,500
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100097858   019169748   WALGREENS #10719        DSD       GARY         IN   46403    WALGREENS        BW3229160    6,400   10,300    6,000    7,200    8,000    7,300    7,533    45,200

100097887   019170035   WALGREENS #11085        DSD    SOUTH BEND      IN   46637    WALGREENS        BW3229172   15,900   13,600   13,700   12,700   17,400   11,400   14,117    84,700

100098541   025090233   WALGREENS #11419        DSD    BURNSVILLE      MN   55337    WALGREENS        BW3248196    8,600    8,600    7,200    7,500    9,900    5,700    7,917    47,500

100099303   044219006   WALGREENS #02733        DSD    SAINT PETERS    MO   63376    WALGREENS        BW3254163     100    16,900   25,600   28,700   30,900   25,800   21,333   128,000

100096073   023146787   WALGREENS #02831        DSD    N ARLINGTON     NJ   07031    WALGREENS        BW3254517    2,900    2,500    2,800    1,200    3,000    1,400    2,300    13,800

100096199   004099580   WALGREENS #02760        DSD    SOMERVILLE      MA   02145    WALGREENS        BW3255406    2,700    2,200    2,500    3,700    2,200    1,500    2,467    14,800

100101474   046045534   WALGREENS #06416        DSD   POMPANO BEACH    FL   33069    WALGREENS        BW3260926     200      400     6,100    9,800   10,000    7,200    5,617    33,700

100102886   020162776   WALGREENS #02372        DSD      TUCSON        AZ   85704    WALGREENS        BW3276068    8,860    9,690    9,160    7,430   11,600    5,700    8,740    52,440

100098153   049193912   WALGREENS #15466        DSD   GRAND RAPIDS     MI   49504    WALGREENS        BW3281033   31,200   31,500   31,100   29,300   35,400   26,500   30,833   185,000

100102178   046049361   WALGREENS #13824        DSD       LUTZ         FL   33549    WALGREENS        BW3281398     200      100     1,600    6,930    8,500    5,200    3,755    22,530

100099439   021171082   WALGREENS #15601        DSD      TOPEKA        KS   66608    WALGREENS        BW3284457   11,700   17,500   16,800   20,700   18,400   16,500   16,933   101,600

100098587   025090696   WALGREENS #02767        DSD     PLYMOUTH       MN   55442    WALGREENS        BW3293634    8,300    8,800    8,800    9,600    8,700    6,800    8,500    51,000

100095159   010232249   WALGREENS #09042        DSD      MILFORD       OH   45150    WALGREENS        BW3294117    6,200    6,700    7,500    6,130    8,500    4,500    6,588    39,530

100097799   019169151   WALGREENS #02796        DSD    INDIANAPOLIS    IN   46222    WALGREENS        BW3306784   20,200   16,300   17,500   18,500   20,300   18,500   18,550   111,300

100097802   019169185   WALGREENS #02830        DSD    INDIANAPOLIS    IN   46227    WALGREENS        BW3306796   10,600    9,800   11,000   13,100   12,200   10,600   11,217    67,300

100097783   019168997   WALGREENS #15032        DSD    GREENWOOD       IN   46142    WALGREENS        BW3306809   22,500   14,560   23,230   24,760   25,200   23,600   22,308   133,850

100097795   019169110   WALGREENS #02800        DSD    INDIANAPOLIS    IN   46219    WALGREENS        BW3306811   27,900   19,800   23,700   25,100   19,300   23,300   23,183   139,100

100106682   019183657   WALGREENS #02800 340B          INDIANAPOLIS    IN   46219   PHS 340B CLINIC   BW3306811              500      500                                 500      1,000

100097790   019169060   WALGREENS #10973        DSD    INDIANAPOLIS    IN   46202    WALGREENS        BW3306835   27,300   19,700   26,000   27,600   30,800   31,300   27,117   162,700

100105923   019183301   WALGREENS #10973 340B          INDIANAPOLIS    IN   46202   PHS 340B CLINIC   BW3306835     500                                                   500       500

100086554   019146530   WALGREEN PHCY #10973 340B      INDIANAPOLIS    IN   46202   PHS 340B CLINIC   BW3306835              200      100               100               133       400

100097794   019169102   WALGREENS #02797        DSD    INDIANAPOLIS    IN   46218    WALGREENS        BW3306847   24,800   22,200   24,500   25,500   21,300   23,000   23,550   141,300

100097796   019169128   WALGREENS #13874        DSD    INDIANAPOLIS    IN   46219    WALGREENS        BW3306859   29,200   25,800   22,600   25,700   30,200   32,300   27,633   165,800

100096262   004100362   WALGREENS #015324       DSD   WEST HARTFORD    CT   06119    WALGREENS        BW3312434    1,400    2,900    3,300    1,800    3,500    3,400    2,717    16,300

100103473   008115147   WALGREENS #02434        DSD       TRACY        CA   95376    WALGREENS        BW3322550   25,500   25,300   22,400   22,600   14,400   24,700   22,483   134,900

100100342   018401836   WALGREENS #06337        DSD   NEW BRAUNFELS    TX   78130    WALGREENS        BW3336573    1,060    2,400   29,120   43,400   36,500   24,600   22,847   137,080

100100181   038107557   WALGREENS #02115        DSD     HOUSTON        TX   77089    WALGREENS        BW3343388     600     1,320    8,900   10,900    8,500    5,100    5,887    35,320

100096249   004100248   WALGREENS #02669        DSD     WALTHAM        MA   02453    WALGREENS        BW3346031    2,800    2,700    2,800    3,300    3,800    3,100    3,083    18,500

100099522   021171777   WALGREENS #02845        DSD      LINCOLN       NE   68516    WALGREENS        BW3347158    5,600    6,000    6,700    6,700    8,500    5,500    6,500    39,000

100100468   018402735   WALGREENS #02462        DSD      AUSTIN        TX   78702    WALGREENS        BW3352262    6,500   24,900   19,800   22,900   20,100    8,500   17,117   102,700

100103251   046055574   WALGREENS #02777        DSD     KEY WEST       FL   33040    WALGREENS        BW3357945     200     1,600    2,300   15,400   10,400   16,200    7,683    46,100

100101575   038109074   WALGREENS #02843        DSD      DENVER        CO   80203    WALGREENS        BW3366982    8,200   10,060    8,760    9,500    7,400    5,800    8,287    49,720

100103409   008114595   WALGREENS #02786        DSD     LOS GATOS      CA   95032    WALGREENS        BW3372909    7,300    8,900    7,300    8,260    8,100    5,700    7,593    45,560

100101475   046045542   WALGREENS #03931        DSD    EDGEWATER       FL   32141    WALGREENS        BW3378608     300      800     8,800   22,700   17,500   24,500   12,433    74,600

100103365   008114413   WALGREENS #02314        DSD     BERKELEY       CA   94710    WALGREENS        BW3382619    8,300    8,600    8,400    8,700   13,000    7,000    9,000    54,000

100096031   004098400   WALGREENS #02823        DSD       LYNN         MA   01905    WALGREENS        BW3397951    3,700    2,700    3,500    2,600    4,300    1,500    3,050    18,300

100096225   023147074   WALGREENS #02695        DSD      TEANECK       NJ   07666    WALGREENS        BW3397999    1,300    1,400    1,700     200     1,700    1,800    1,350     8,100

100096154   004099275   WALGREENS #02759        DSD      QUINCY        MA   02169    WALGREENS        BW3403792    4,400    4,200    4,000    3,100    4,700    2,000    3,733    22,400

100096066   004098665   WALGREENS #02689        DSD      MILFORD       MA   01757    WALGREENS        BW3404124    4,300    6,900    6,300    5,700    5,200    4,400    5,467    32,800

100101994   046047415   WALGREENS #02664        DSD    BOCA RATON      FL   33434    WALGREENS        BW3413236     100      600     2,500    4,640    3,700    3,000    2,423    14,540

100102695   046052779   WALGREENS #04165        DSD   BONITA SPRINGS   FL   34134    WALGREENS        BW3414517     120      300     4,420    6,300    8,500    7,200    4,473    26,840

100098516   025089987   WALGREENS #02766        DSD       EAGAN        MN   55122    WALGREENS        BW3416004    5,200    5,000    4,600    5,700    5,000    4,100    4,933    29,600

100098112   019170662   WALGREENS #10078        DSD   BENTON HARBOR    MI   49022    WALGREENS        BW3419567   55,400   53,000   53,800   50,700   53,400   24,700   48,500   291,000

100102233   046049544   WALGREENS #15129        DSD       TAMPA        FL   33609    WALGREENS        BW3425318     120      280     2,270   10,490   13,900   13,140    6,700    40,200
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100100291   038108332   WALGREENS #09507         DSD     FRIENDSWOOD      TX   77546     WALGREENS         BW3427184     400      2,020   12,700   14,000   16,200   11,100    9,403    56,420

100055731   032030569   HARRY RACE PHARMACY GNP+            SITKA         AK   99835     INDEPENDENT       BW3433644    5,200    12,800    7,800    6,700    8,500    7,500    8,083    48,500

100103441   008114793   WALGREENS #02739         DSD       SAN JOSE       CA   95123     WALGREENS         BW3457391   29,400    30,150   30,900   29,100   28,000   18,700   27,708   166,250

100095912   004094904   WALGREENS #09784         DSD    EAST HARTFORD     CT   06108     WALGREENS         BW3460677    4,700     5,500    3,600    3,100    5,200    4,100    4,367    26,200

100097793   019169094   WALGREENS #12151         DSD     INDIANAPOLIS     IN   46214     WALGREENS         BW3464942   15,000    15,600   16,200   17,200   19,900   18,900   17,133   102,800

100099224   044218214   WALGREENS #02901         DSD      FLORISSANT      MO   63031     WALGREENS         BW3464980     100     12,400   13,300   14,300   15,000   10,100   10,867    65,200

100097558   044215905   WALGREENS #02775         DSD       MEMPHIS        TN   38109     WALGREENS         BW3466958   16,200    20,980   15,900   19,100   12,600   13,000   16,297    97,780

100102416   046051383   WALGREENS #02909         DSD   NEW SMYRNA BEACH   FL   32168     WALGREENS         BW3472949     100       300     2,700    3,600    5,100    6,000    2,967    17,800

100102290   046049718   WALGREENS #02887         DSD        TAMPA         FL   33619     WALGREENS         BW3475680    1,100              2,200   11,100    9,800   11,300    7,100    35,500

100098402   019172460   WALGREENS #02879         DSD       MADISON        WI   53713     WALGREENS         BW3479905   13,000    14,400   11,500   15,000   10,600   13,500   13,000    78,000

100098399   019172437   WALGREENS #02848         DSD       MADISON        WI   53711     WALGREENS         BW3479917   16,600    17,500   18,000   19,600   19,600   10,000   16,883   101,300

100103852   019179705   WALGREENS # 02848 340B             MADISON        WI   53711   PHS 340B HOSPITAL   BW3479917               100                                          100       100

100098152   049193904   WALGREENS #15007         DSD     GRAND RAPIDS     MI   49503     WALGREENS         BW3480807   27,600    25,600   24,100   27,900   24,000   14,500   23,950   143,700

100097706   044216721   WALGREENS #02924         DSD      LOUISVILLE      KY   40206     WALGREENS         BW3490149    2,500    15,500   14,000   17,100   15,800   12,000   12,817    76,900

100102723   046052936   WALGREENS #02378         DSD       DELAND         FL   32720     WALGREENS         BW3505940     500       400     3,400    6,200    5,000    4,500    3,333    20,000

100098469   019172932   WALGREENS #02921         DSD       APPLETON       WI   54915     WALGREENS         BW3506815    8,000     9,100    9,500   10,500    7,600   10,500    9,200    55,200

100102657   008112805   WALGREENS #02869         DSD        VISALIA       CA   93291     WALGREENS         BW3510282   14,700    17,100   16,400   14,900   13,900   13,900   15,150    90,900

100096020   041152215   WALGREENS #02706         DSD     LITTLE SILVER    NJ   07739     WALGREENS         BW3517060    3,300     3,800    2,390    1,900    2,400    3,600    2,898    17,390

100103397   008114538   WALGREENS #02957         DSD      CAMPBELL        CA   95008     WALGREENS         BW3523823   13,100    13,000   12,500   13,400   13,100    9,900   12,500    75,000

100095163   023143875   WALGREENS #02748         DSD       MINEOLA        NY   11501     WALGREENS         BW3525699    2,300     2,600    2,700    1,700    2,600    1,600    2,250    13,500

100070701   021145011   WESTERN PLAINS REG HOSP #712      DODGE CITY      KS   67801       HOSPITAL        BW3525738     350       200      500      300       80      320      292      1,750

100098113   019170670   WALGREENS #10080         DSD       PORTAGE        MI   49024     WALGREENS         BW3534648   33,900    32,200   31,200   33,800   24,400   13,000   28,083   168,500

100097582   044216143   WALGREENS #13108         DSD       MEMPHIS        TN   38127     WALGREENS         BW3538949   13,000    14,000   14,000   15,500   12,100   15,000   13,933    83,600

100096045   004098483   WALGREENS #02889         DSD     MARLBOROUGH      MA   01752     WALGREENS         BW3541491    5,100     5,700    6,600    4,900    5,700    5,000    5,500    33,000

100099629   037131854   WALGREENS #02920         DSD       SULPHUR        LA   70663     WALGREENS         BW3550185    1,820     2,600   18,940   31,400   17,000   29,500   16,877   101,260

100101698   046046557   WALGREENS #02489         DSD      AVENTURA        FL   33180     WALGREENS         BW3556529     200       100     1,190    3,940    4,790    3,500    2,287    13,720

100096119   004099044   WALGREENS #02976         DSD       NORWICH        CT   06360     WALGREENS         BW3557292   21,100    21,680   21,100   20,730   20,400   18,000   20,502   123,010

100101776   046046789   WALGREENS #09915         DSD     OAKLAND PARK     FL   33309     WALGREENS         BW3565023     400       800     5,600    7,400    8,900    7,900    5,167    31,000

100100354   018401950   WALGREENS #02944         DSD     SAN ANTONIO      TX   78209     WALGREENS         BW3569881     500       500     8,400   16,600   13,200    9,100    8,050    48,300

100100414   037132928   WALGREENS #02942         DSD       MCALLEN        TX   78501     WALGREENS         BW3569920     400      1,900    4,800    6,500    3,600    1,000    3,033    18,200

100101492   046045690   WALGREENS #02544         DSD        MIAMI         FL   33130     WALGREENS         BW3570365     500       200      800     1,000    1,500    1,600     933      5,600

100100421   037132993   WALGREENS #10826         DSD     BROWNSVILLE      TX   78520     WALGREENS         BW3572167     500      1,200    4,900    9,200    5,800    1,000    3,767    22,600

100100422   037133009   WALGREENS #02896         DSD     BROWNSVILLE      TX   78521     WALGREENS         BW3572179    1,200      500    10,100   16,400   11,800    1,100    6,850    41,100

100102772   046053157   WALGREENS #02928         DSD     MOUNT DORA       FL   32757     WALGREENS         BW3581926     800      1,200   15,800   17,500   13,200   13,200   10,283    61,700

100097865   019169813   WALGREENS #10124         DSD       ELKHART        IN   46514     WALGREENS         BW3583134   20,000    20,000   22,300   20,500   19,900   18,200   20,150   120,900

100101429   020143750   WALGREENS #02771         DSD        MESA          AZ   85206     WALGREENS         BW3589314   17,100    21,030   15,930   22,800   15,500   10,400   17,127   102,760

100101415   032146365   WALGREENS #01993         DSD    SPOKANE VALLEY    WA   99216     WALGREENS         BW3602744   49,100    44,500   45,700   47,800   39,500   47,700   45,717   274,300

100101722   032148197   WALGREENS #05818         DSD       SPOKANE        WA   99207     WALGREENS         BW3602756   27,800    28,500   29,600   30,300   31,000   17,600   27,467   164,800

100101842   032148247   WALGREENS #07034         DSD       SPOKANE        WA   99207     WALGREENS         BW3602768   34,100    35,700   36,000   37,500   43,200   24,000   35,083   210,500

100100111   038107003   WALGREENS #02981         DSD       HOUSTON        TX   77033     WALGREENS         BW3606045               500    10,200   15,700   10,700    7,000    8,820    44,100

100100093   038106823   WALGREENS #12069         DSD       HOUSTON        TX   77009     WALGREENS         BW3607554      (30)    1,100    7,900   10,500    9,900    6,000    5,895    35,370

100097859   019169755   WALGREENS #09290         DSD        GARY          IN   46404     WALGREENS         BW3608366   26,700    27,700   23,700   28,100   28,000   20,500   25,783   154,700

100097778   019168948   WALGREENS #02956         DSD     BEECH GROVE      IN   46107     WALGREENS         BW3612175   41,400    36,700   41,700   44,300   39,200   45,000   41,383   248,300

100102258   046049635   WALGREENS #02959         DSD        TAMPA         FL   33612     WALGREENS         BW3612543     100               2,000   12,100    8,800   11,300    6,860    34,300
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100102240   008112698   WALGREENS #13000     DSD             CHICO         CA   95926     WALGREENS         BW3614888   61,000   71,600   69,500   69,400   71,000   45,230   64,622   387,730

100102231   020161224   WALGREENS #02851     DSD            PHOENIX        AZ   85020     WALGREENS         BW3617620   17,290   13,450   16,400   16,600   16,000   15,000   15,790    94,740

100068257   040144113   WAUKA MOUNTAIN PHARMACY    CPA      CLERMONT       GA   30527     INDEPENDENT       BW3618014    9,800    8,900    8,700    8,200    8,800    6,100    8,417    50,500

100099644   037132001   WALGREENS #02995     DSD          BATON ROUGE      LA   70806     WALGREENS         BW3620627     120      700    23,900   43,200   34,000   35,000   22,820   136,920

100099652   037132084   WALGREENS #02980     DSD          BATON ROUGE      LA   70816     WALGREENS         BW3620639             1,080   19,400   29,200   34,800   27,100   22,316   111,580

100098341   019171850   WALGREENS #02925     DSD           MILWAUKEE       WI   53216     WALGREENS         BW3626871   13,100   15,800   14,100   15,200   12,500   13,000   13,950    83,700

100100479   018402842   WALGREENS #02915     DSD             AUSTIN        TX   78741     WALGREENS         BW3627796    5,800   17,700   14,200   16,600   15,100    9,500   13,150    78,900

100107388   037134742   WALGREENS #15200    DSD              GRETNA        LA   70056     WALGREENS         BW3630414     630     2,200    9,400   14,600   18,500   12,600    9,655    57,930

100053600   024077966   WARNER PLAZA PHCY                WOODLAND HILLS    CA   91364     INDEPENDENT       BW3636719    2,500    2,000    1,600    2,200     900     2,500    1,950    11,700

100098205   021169409   WALGREENS #07453     DSD           DES MOINES      IA   50313     WALGREENS         BW3637557   38,600   34,200   33,300   36,800   32,300   30,100   34,217   205,300

100102887   046053694   WALGREENS #13585     DSD             OCALA         FL   34476     WALGREENS         BW3647332     100      100     5,200    4,200   10,000   12,200    5,300    31,800

100102369   020161554   WALGREENS #02963     DSD         APACHE JUNCTION   AZ   85120     WALGREENS         BW3652193   13,800   15,500   14,500   12,200   11,600   12,600   13,367    80,200

100095950   004097873   WALGREENS #02861     DSD           FRAMINGHAM      MA   01701     WALGREENS         BW3657244    4,300    5,900    3,500    4,900    6,000    2,100    4,450    26,700

100103419   008114645   WALGREENS #02612     DSD          SANTA CLARA      CA   95050     WALGREENS         BW3659301    7,200    8,490    8,300    7,890   10,900    6,400    8,197    49,180

100099513   021171686   WALGREENS #05736     DSD             LINCOLN       NE   68503     WALGREENS         BW3660378   14,800   13,700   14,300   15,600   12,000   14,500   14,150    84,900

100101217   046044867   WALGREENS #07322     DSD           HOLLYWOOD       FL   33024     WALGREENS         BW3669148     100      600     2,500    3,100    6,000    1,200    2,250    13,500

100098348   019171926   WALGREENS #02911     DSD           MILWAUKEE       WI   53221     WALGREENS         BW3674656   21,500   22,500   22,000   21,900   18,000   17,500   20,567   123,400

100101196   046044651   WALGREENS #02975     DSD             TAMPA         FL   33618     WALGREENS         BW3675420    1,000     800     3,620   17,700   11,900   10,100    7,520    45,120

100100219   038107904   WALGREENS #07599     DSD             SPRING        TX   77379     WALGREENS         BW3675850     500     1,220   15,000   22,700   10,800   11,800   10,337    62,020

100103276   020163808   WALGREENS #15036     DSD             EL PASO       TX   79903     WALGREENS         BW3675862    8,800   21,100   20,800   22,200   11,500    9,000   15,567    93,400

100096030   004098384   WALGREENS #02716     DSD              LYNN         MA   01902     WALGREENS         BW3679000    1,400    2,800    2,000    1,500    1,700    1,600    1,833    11,000

100101421   008112284   WALGREENS #02426     DSD          SAN LEANDRO      CA   94579     WALGREENS         BW3686334   47,700   53,500   49,400   55,100   46,100   36,300   48,017   288,100

100101666   046046466   WALGREENS #02832     DSD              MIAMI        FL   33175     WALGREENS         BW3694230     300      180      800     5,000    2,300    4,400    2,163    12,980

100102935   008113274   WALGREENS #02939     DSD           SAN BRUNO       CA   94066     WALGREENS         BW3695270   10,600   10,000    9,900   11,100    6,300    5,500    8,900    53,400

100099228   044218255   WALGREENS #02971     DSD           FLORISSANT      MO   63033     WALGREENS         BW3698454            10,600   14,000   15,000   16,100   12,200   13,580    67,900

100103460   008114983   WALGREENS #02961     DSD              LODI         CA   95242     WALGREENS         BW3702760   54,100   53,440   45,000   68,200   37,000   48,500   51,040   306,240

100095852   004094474   WALGREENS #02977     DSD            BROCKTON       MA   02301     WALGREENS         BW3703178    5,600    6,200    5,230    5,500    7,100    3,700    5,555    33,330

100098366   019172106   WALGREENS #02927     DSD             RACINE        WI   53406     WALGREENS         BW3711808   29,300   41,900   37,000   33,300   28,600   44,600   35,783   214,700

100087778   019151134   WALGREENS # 02927 340B               RACINE        WI   53406   PHS 340B HOSPITAL   BW3711808   11,800    4,000    2,500   11,000    1,000             6,060    30,300

100100295   037132662   WALGREENS #02954     DSD          LAKE JACKSON     TX   77566     WALGREENS         BW3711911     700     1,500   15,340   25,300   15,500   21,600   13,323    79,940

100102914   020162842   WALGREENS #02910     DSD             TUCSON        AZ   85710     WALGREENS         BW3717228   10,090   10,460   11,000   10,330   11,800    7,000   10,113    60,680

100102521   020161901   WALGREENS #03008     DSD             GILBERT       AZ   85233     WALGREENS         BW3717254   18,230   19,300   17,060   20,020   18,700   17,920   18,538   111,230

100098508   025089896   WALGREENS #13685     DSD            ROSEVILLE      MN   55113     WALGREENS         BW3725833    8,800    8,230    8,500    8,900    9,500    5,500    8,238    49,430

100100374   018402156   WALGREENS # 15461   DSD            SAN ANTONIO     TX   78228     WALGREENS         BW3729552    1,200    1,500   12,900   27,700   15,200   11,700   11,700    70,200

100098704   019173682   WALGREENS #02684     DSD             SKOKIE        IL   60077     WALGREENS         BW3729627    6,900    8,000    7,200    8,200    5,200    6,600    7,017    42,100

100099374   021170431   WALGREENS #03017     DSD         JEFFERSON CTY     MO   65109     WALGREENS         BW3730581   15,800   21,500   20,100   22,100   18,900   19,200   19,600   117,600

100095831   004094334   WALGREENS #02933     DSD             BOSTON        MA   02116     WALGREENS         BW3733169     500     2,000    1,000    1,000    1,000     500     1,000     6,000

100096200   004099598   WALGREENS #02945     DSD           SOMERVILLE      MA   02143     WALGREENS         BW3733171    1,700    1,200    2,100    1,600    1,700    1,500    1,633     9,800

100098104   019170613   WALGREENS #15690     DSD           KALAMAZOO       MI   49007     WALGREENS         BW3737674   15,200   18,400   16,200   16,600   15,300   13,300   15,833    95,000

100098163   049194019   WALGREENS #12777     DSD             WALKER        MI   49534     WALGREENS         BW3737686   24,400   25,900   22,800   25,000   23,300   19,100   23,417   140,500

100102687   046052704   WALGREENS #02895     DSD             NAPLES        FL   34119     WALGREENS         BW3739666     200      540     4,230    4,830    5,500    4,100    3,233    19,400

100087140   003090860   WALGREENS #15462                   JUANA DIAZ      PR   00795     WALGREENS         BW3743095              300      900                                 600      1,200

100102565   020162008   WALGREENS #03163     DSD           SCOTTSDALE      AZ   85251     WALGREENS         BW3749225   18,300   17,200   17,700   18,500   19,100   12,700   17,250   103,500

100103099   046054841   WALGREENS #03002     DSD              DANIA        FL   33004     WALGREENS         BW3750331     400      400     4,000    6,500    6,700    6,700    4,117    24,700
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100097868   019169847   WALGREENS #11623         DSD      ELKHART       IN   46517    WALGREENS        BW3761889    8,500    8,800   10,000    8,500    8,400    8,100    8,717    52,300

100099815   018399089   WALGREENS #03040         DSD   BROKEN ARROW     OK   74012    WALGREENS        BW3764619             5,300   25,700   22,400   25,500   13,000   18,380    91,900

100099856   018399493   WALGREENS #03037         DSD       TULSA        OK   74146    WALGREENS        BW3764621     720    19,600   45,000   73,660   25,900   39,000   33,980   203,880

100099845   018399386   WALGREENS #03052         DSD       TULSA        OK   74129    WALGREENS        BW3764657     200     7,500   25,100   28,500   21,100   19,000   16,900   101,400

100103666   032151175   WALGREENS #05913         DSD      SPOKANE       WA   99208    WALGREENS        BW3768554   34,230   40,530   36,590   40,150   38,000   29,000   36,417   218,500

100100184   037132340   WALGREENS #15155         DSD      HOUSTON       TX   77090    WALGREENS        BW3789306     800      920    15,100   19,420   12,800    7,600    9,440    56,640

100099642   037131987   WALGREENS #02982         DSD    BATON ROUGE     LA   70805    WALGREENS        BW3791591                     16,600   24,500   25,600   19,100   21,450    85,800

100099651   037132076   WALGREENS #02996         DSD    BATON ROUGE     LA   70815    WALGREENS        BW3791616     100      500    11,000   19,200   18,100   15,500   10,733    64,400

100099534   037104646   WALGREENS #15571         DSD      METAIRIE      LA   70001    WALGREENS        BW3792074     800     2,100   20,800   28,200   30,800   25,000   17,950   107,700

100103738   020164749   WALGREENS #03048         DSD       PEORIA       AZ   85382    WALGREENS        BW3793177   18,400   19,960   17,790   17,510   21,000   11,500   17,693   106,160

100102702   020162347   WALGREENS #03003         DSD     GLENDALE       AZ   85308    WALGREENS        BW3793191   13,900   12,220   13,600   14,000   15,700    9,520   13,157    78,940

100100094   038106831   WALGREENS #02809         DSD      HOUSTON       TX   77011    WALGREENS        BW3793759     100      600     8,000   12,300    4,800    7,000    5,467    32,800

100101564   046046052   WALGREENS #02743         DSD       MIAMI        FL   33144    WALGREENS        BW3794446     100               400     2,500    1,500    1,200    1,140     5,700

100099833   018399261   WALGREENS #03038         DSD       TULSA        OK   74104    WALGREENS        BW3797555     100    16,500   44,700   47,330   46,900   11,800   27,888   167,330

100099847   018399402   WALGREENS #03051         DSD       TULSA        OK   74133    WALGREENS        BW3797567     600    10,700   27,600   29,000   22,700   26,000   19,433   116,600

100099842   018399352   WALGREENS #03039         DSD       TULSA        OK   74115    WALGREENS        BW3797579            10,000   31,600   35,500   27,000   23,500   25,520   127,600

100103487   008115295   WALGREENS #02644         DSD     VACAVILLE      CA   95687    WALGREENS        BW3799713   30,500   34,600   31,000   32,300   30,300   29,700   31,400   188,400

100098584   025090662   WALGREENS #03114         DSD       EDINA        MN   55435    WALGREENS        BW3805415   18,700   16,300   13,800   17,300   14,100   11,000   15,200    91,200

100099412   021170811   WALGREENS #03055         DSD     LAWRENCE       KS   66049    WALGREENS        BW3814818   14,500   22,790   19,160   25,100   24,500   18,650   20,783   124,700

100105933   008026674   WILLOW SPRINGS CENTER PHCY         RENO         NV   89502      HOSPITAL       BW3815163                       100               100      100      100       300

100099632   037131888   WALGREENS #03180         DSD   DENHAM SPRINGS   LA   70726    WALGREENS        BW3817648     220      600    12,600   18,800   15,600   18,000   10,970    65,820

100098159   049193979   WALGREENS #10803         DSD     KENTWOOD       MI   49512    WALGREENS        BW3819630   22,800   23,000   23,500   25,600   26,100   12,500   22,250   133,500

100102706   020162354   WALGREENS #03049         DSD     GLENDALE       AZ   85308    WALGREENS        BW3819781   22,830   20,360   19,590   22,620   18,400   15,900   19,950   119,700

100099410   021170795   WALGREENS #03056         DSD     LAWRENCE       KS   66046    WALGREENS        BW3820607   10,300   16,100   18,200   16,900   16,500   12,800   15,133    90,800

100100341   018401828   WALGREENS #03083         DSD     CONVERSE       TX   78109    WALGREENS        BW3821609     620      600    13,800   22,100   18,100   11,500   11,120    66,720

100100355   018401968   WALGREENS #03140         DSD    SAN ANTONIO     TX   78212    WALGREENS        BW3821611     600      900     8,600   15,420   10,900    6,000    7,070    42,420

100103368   008114421   WALGREENS #02506         DSD     RICHMOND       CA   94801    WALGREENS        BW3826659   21,900   25,700   24,700   25,300   20,000   17,600   22,533   135,200

100099655   037132118   WALGREENS #03085         DSD    BATON ROUGE     LA   70817    WALGREENS        BW3827500              200     9,700   16,900   19,500   10,120   11,284    56,420

100102754   008112839   WALGREENS #10334         DSD       CLOVIS       CA   93611    WALGREENS        BW3829186   15,700   18,700   16,800   17,100   18,600   10,400   16,217    97,300

100097820   019169367   WALGREENS #11248         DSD    INDIANAPOLIS    IN   46268    WALGREENS        BW3829578   19,100   16,100   17,700   19,700   17,300   17,600   17,917   107,500

100097798   019169144   WALGREENS #03142         DSD    INDIANAPOLIS    IN   46221    WALGREENS        BW3829580   45,800   34,600   39,800   44,900   46,400   25,600   39,517   237,100

100097803   019169193   WALGREENS #02952         DSD    INDIANAPOLIS    IN   46227    WALGREENS        BW3829605   23,500   17,200   20,200   21,700   23,200   17,200   20,500   123,000

100097792   019169086   WALGREENS #02931         DSD    INDIANAPOLIS    IN   46205    WALGREENS        BW3829629   11,400   11,800   11,100   12,000   12,500   11,200   11,667    70,000

100100207   038107797   WALGREENS #03025         DSD      HUMBLE        TX   77346    WALGREENS        BW3830571    3,840    3,300   26,800   36,500   20,100   20,920   18,577   111,460

100101197   046044669   WALGREENS #03046         DSD       LARGO        FL   33771    WALGREENS        BW3830634     100      900     2,900   23,430   16,600   15,600    9,922    59,530

100096175   004099408   WALGREENS #03016         DSD      ROXBURY       MA   02119    WALGREENS        BW3830850    1,700    2,000    1,900    2,700    2,900     900     2,017    12,100

100098342   019171868   WALGREENS #03125         DSD     FOX POINT      WI   53217    WALGREENS        BW3834531    7,300    7,600    7,900    7,000    7,600    5,400    7,133    42,800

100098429   025089458   WALGREENS #03088         DSD     GREEN BAY      WI   54301    WALGREENS        BW3834543   25,100   27,000   23,800   25,700   18,700   21,600   23,650   141,900

100098426   019172668   WALGREENS #03104         DSD     MANITOWOC      WI   54220    WALGREENS        BW3834555   20,800   22,200   21,500   23,400   21,800   14,100   20,633   123,800

100103466   008115048   WALGREENS #02902         DSD      MODESTO       CA   95351    WALGREENS        BW3837157   50,700   51,900   49,700   62,300   21,800   53,500   48,317   289,900

100105729   008116434   WALGREENS # 02902-340B            MODESTO       CA   95351   PHS 340B CLINIC   BW3837157    3,500    1,500     500                                1,833     5,500

100103311   008114231   WALGREENS #03032         DSD    SAN LEANDRO     CA   94578    WALGREENS        BW3837335    7,800   10,700   10,100    9,600   10,600    8,500    9,550    57,300

100096022   023146704   WALGREENS #02849         DSD     LIVINGSTON     NJ   07039    WALGREENS        BW3843085    2,230    3,390    1,530    1,420    2,700    1,660    2,155    12,930

100101430   008112300   WALGREENS #02842         DSD      MODESTO       CA   95355    WALGREENS        BW3843580   47,200   48,600   45,200   50,100   42,800   32,500   44,400   266,400
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100105731   008116459   WALGREENS #02842-340B               MODESTO       CA   95355    PHS 340B CLINIC     BW3843580    1,000                                                 1,000     1,000

100095832   004094342   WALGREENS #03135         DSD        BOSTON        MA   02126      WALGREENS         BW3846207    1,100    1,000    1,200    1,500    1,600    1,000    1,233     7,400

100096063   004098640   WALGREENS #03000         DSD      MIDDLETOWN      RI   02842      WALGREENS         BW3846233    6,900    8,500    7,730    7,800    7,900    5,400    7,372    44,230

100091316   004089912   WALGREENS # 03000 (340B)          MIDDLETOWN      RI   02842    PHS 340B CLINIC     BW3846233     100      600                                          350       700

100102707   046052845   WALGREENS #03161         DSD     WINTER SPRINGS   FL   32708      WALGREENS         BW3850307     320      200    12,300   14,200   11,000    7,500    7,587    45,520

100094731   010229054   WALGREENS #15182         DSD       COVINGTON      KY   41011      WALGREENS         BW3850648   11,300    9,700    9,700   10,000   10,100    8,500    9,883    59,300

100101520   038108852   WALGREENS #03091         DSD       CENTENNIAL     CO   80112      WALGREENS         BW3858036    6,000    7,000    4,700    5,900    6,500    5,100    5,867    35,200

100099459   018397638   WALGREENS #05769         DSD        WICHITA       KS   67208      WALGREENS         BW3872959   34,700   53,000   47,900   54,200   51,000   32,100   45,483   272,900

100096636   021077776   WALGREENS # 05769 340B              WICHITA       KS   67208   PHS 340B HOSPITAL    BW3872959    3,000    1,500    1,000    1,000                      1,625     6,500

100099465   018397687   WALGREENS #05768         DSD        WICHITA       KS   67218      WALGREENS         BW3872961   22,420   39,220   41,380   38,100   28,600   37,600   34,553   207,320

100096637   021077792   WALGREENS # 05768 340B              WICHITA       KS   67218   PHS 340B HOSPITAL    BW3872961    3,000     500               500                       1,333     4,000

100102970   020162990   WALGREENS #03007         DSD        TUCSON        AZ   85730      WALGREENS         BW3875830    8,800   11,700   11,100    9,100   10,300    8,100    9,850    59,100

100098138   049193839   WALGREENS #03012         DSD       GRANDVILLE     MI   49418      WALGREENS         BW3878331   15,700   14,600   14,500   13,500   14,000   12,500   14,133    84,800

100100084   038106732   WALGREENS #02844         DSD        HOUSTON       TX   77004      WALGREENS         BW3883015     740      400     8,000   14,300   13,700    2,000    6,523    39,140

100103389   008114504   WALGREENS #03084         DSD         COTATI       CA   94931      WALGREENS         BW3890628   28,700   27,700   28,000   25,700   23,500   15,800   24,900   149,400

100098461   025089599   WALGREENS #03064         DSD        SUPERIOR      WI   54880      WALGREENS         BW3893597   50,530   58,850   46,500   56,500   47,990   33,190   48,927   293,560

100098394   019172387   WALGREENS #02967         DSD        MADISON       WI   53704      WALGREENS         BW3893826   21,300   18,500   20,000   20,660   18,000   12,500   18,493   110,960

100100172   038107474   WALGREENS #03160         DSD        HOUSTON       TX   77084      WALGREENS         BW3895375     200      700     6,400    7,200    4,900    4,000    3,900    23,400

100103094   008113654   WALGREENS #02866         DSD     SAN FRANCISCO    CA   94115      WALGREENS         BW3895945   12,100   11,200   12,600   11,600   12,200    7,100   11,133    66,800

100099460   018397646   WALGREENS #06361         DSD        WICHITA       KS   67208      WALGREENS         BW3899373    9,600   18,400   14,900   17,500   29,500   17,500   17,900   107,400

100099455   021171207   WALGREENS #06362         DSD        WICHITA       KS   67203      WALGREENS         BW3902219   15,500   18,700   20,700   18,500   16,300   16,300   17,667   106,000

100096641   021077883   WALGREENS # 06362 340B              WICHITA       KS   67203   PHS 340B HOSPITAL    BW3902219     500                                                   500       500

100100456   018402610   WALGREENS #03159         DSD      PFLUGERVILLE    TX   78660      WALGREENS         BW3906964    5,600   30,800   27,200   28,300   23,800   15,700   21,900   131,400

100102084   046047712   WALGREENS #06123         DSD        LANTANA       FL   33462      WALGREENS         BW3913818      40              3,200    4,900    4,200    5,300    3,528    17,640

100098364   019172080   WALGREENS #03022         DSD         RACINE       WI   53404      WALGREENS         BW3915420   18,300   20,300   21,800   19,500   22,700   11,500   19,017   114,100

100087775   019151100   WALGREENS #03022    340B             RACINE       WI   53404   PHS 340B HOSPITAL    BW3915420     500                                                   500       500

100073175   055090076   WOMACK AMS PHCY SUPPORT BRANCH     FORT BRAGG     NC   28310   HOSPITAL (FEDERAL)   BW3915432   40,900   41,000   36,300   49,600   33,600   30,500   38,650   231,900

100069556   055090290   (CRD)RTRN WOMACK-PHARMA SUPP       FORT BRAGG     NC   28307   HOSPITAL (FEDERAL)   BW3915432                                        2,100             2,100     2,100

100094991   010229765   WALGREENS #02798         DSD      INDIANAPOLIS    IN   46201      WALGREENS         BW3915470   26,800   21,800   25,000   27,600   22,300   20,600   24,017   144,100

100085946   019142570   WALGREENS #02798 340B             INDIANAPOLIS    IN   46201    PHS 340B CLINIC     BW3915470    1,000     200      100      500      500      500      467      2,800

100105919   019183277   WALGREENS #2798 340B              INDIANAPOLIS    IN   46201    PHS 340B CLINIC     BW3915470                       500                                 500       500

100099849   018399428   WALGREENS #03018         DSD         TULSA        OK   74135      WALGREENS         BW3923908     100    11,200   34,300   41,730   31,000   33,000   25,222   151,330

100096246   023147140   WALGREENS #02883         DSD       WALDWICK       NJ   07463      WALGREENS         BW3924417    6,000    4,600    3,800    3,420    5,000    1,500    4,053    24,320

100103046   046054577   WALGREENS #07386         DSD       MELBOURNE      FL   32940      WALGREENS         BW3924544     520      500     4,000   11,300   13,100   10,020    6,573    39,440

100098592   025090746   WALGREENS #02935         DSD      COON RAPIDS     MN   55448      WALGREENS         BW3933101   16,500   19,400   18,300   18,100   18,000   14,500   17,467   104,800

100097530   052221952   WALGREENS #03209         DSD       KNOXVILLE      TN   37923      WALGREENS         BW3937010   21,200   21,100   18,700   20,000   16,600   17,000   19,100   114,600

100097806   019169227   WALGREENS #03066         DSD      INDIANAPOLIS    IN   46228      WALGREENS         BW3941348    8,800    8,500   10,100    9,500   10,200    6,700    8,967    53,800

100097809   019169250   WALGREENS #03194         DSD      INDIANAPOLIS    IN   46235      WALGREENS         BW3941374   17,200   16,700   15,000   16,400   17,800   11,400   15,750    94,500

100103691   046055715   WALGREENS #03166         DSD        APOPKA        FL   32703      WALGREENS         BW3942376     330      700    22,950   23,260   25,000   19,100   15,223    91,340

100107796   008116855   WILLOW CREEK PHARMACY CPA         WILLOW CREEK    CA   95573     INDEPENDENT        BW3942756   17,000   12,500   14,700   21,500   17,500   19,600   17,133   102,800

100101646   046046383   WALGREENS #03105         DSD         MIAMI        FL   33167      WALGREENS         BW3947629     200               600     2,200    1,500     100      920      4,600

100103002   046054320   WALGREENS #03079         DSD     WEST MELBOURNE   FL   32904      WALGREENS         BW3953963     200              6,460   15,400   14,500   10,200    9,352    46,760

100097600   044216283   WALGREENS #03175         DSD        JACKSON       TN   38301      WALGREENS         BW3963685   31,000   29,000   28,500   30,500   23,300   22,200   27,417   164,500

100103373   038110189   WALGREENS #10175         DSD        AURORA        CO   80014      WALGREENS         BW3964017    8,100    7,800    7,000    7,700    5,500    5,700    6,967    41,800
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100103425   008114678   WALGREENS #03158       DSD       SANTA CRUZ         CA   95062    WALGREENS        BW3964550   27,800   29,100   26,100   27,700   28,700   18,100   26,250   157,500

100099519   021171744   WALGREENS #03182       DSD         LINCOLN          NE   68510    WALGREENS        BW3964827   22,200   20,900   21,100   22,000   22,700   20,000   21,483   128,900

100103176   046055319   WALGREENS #03110       DSD     PORT SAINT LUCIE     FL   34983    WALGREENS        BW3977230     200      500     2,530    6,960    8,400    6,200    4,132    24,790

100055060   012081588   WHITE CROSS PHARMACY              BRAWLEY           CA   92227    INDEPENDENT      BW3977862   11,200    8,900    2,100     200     5,180   13,700    6,880    41,280

100099454   021171199   WALGREENS #05793       DSD         WICHITA          KS   67203    WALGREENS        BW3984881   17,600   27,700   26,500   29,000   25,100   29,500   25,900   155,400

100094482   010228320   WALGREENS #02697       DSD        CINCINNATI        OH   45242    WALGREENS        BW3987293    7,100    6,700    7,700    7,600    7,700    6,600    7,233    43,400

100102294   046049726   WALGREENS #03128       DSD          TAMPA           FL   33625    WALGREENS        BW3987306     600      100      300     8,700    6,700    7,900    4,050    24,300

100100367   018402081   WALGREENS #02755       DSD       SAN ANTONIO        TX   78222    WALGREENS        BW3988029    1,000     800    23,700   45,200   25,300   17,700   18,950   113,700

100099624   037131805   WALGREENS #02997       DSD      LAKE CHARLES        LA   70605    WALGREENS        BW3988411     160      800     8,800   10,100   13,000    6,500    6,560    39,360

100102785   020162537   WALGREENS #02611       DSD          YUMA            AZ   85364    WALGREENS        BW3990606    6,100    9,000    7,800   10,100    9,600    8,700    8,550    51,300

100096061   004098624   WALGREENS #02858       DSD       MIDDLETOWN         CT   06457    WALGREENS        BW3994969    3,700    4,700    4,900    4,500    5,900    2,100    4,300    25,800

100096148   004099218   WALGREENS #03204       DSD       PROVIDENCE         RI   02908    WALGREENS        BW3996862   10,400    9,500    9,600    9,100   10,600    7,100    9,383    56,300

100097511   052221762   WALGREENS #03284       DSD       SEVIERVILLE        TN   37862    WALGREENS        BW4009444    9,000    9,500    8,500    8,600    6,100    7,700    8,233    49,400

100096029   004098376   WALGREENS #02325       DSD          LYNN            MA   01904    WALGREENS        BW4009711    4,160    4,560    5,100    5,690    6,000    2,300    4,635    27,810

100105061   004102244   WALGREENS #02325 (340B)             LYNN            MA   01904   PHS 340B CLINIC   BW4009711     100                                                   100       100

100098434   025089508   WALGREENS #03133       DSD      ASHWAUBENON         WI   54304    WALGREENS        BW4013342   12,200   13,200   12,100   12,600   15,100    7,600   12,133    72,800

100102634   020162180   WALGREENS #11610       DSD          TEMPE           AZ   85282    WALGREENS        BW4013823   11,650   10,610    9,390   11,050   10,800    9,300   10,467    62,800

100098526   025090084   WALGREENS #03122       DSD        OAKDALE           MN   55128    WALGREENS        BW4014596   10,600   13,900   14,100   16,000   12,700    9,500   12,800    76,800

100097877   019169938   WALGREENS #09482       DSD       MISHAWAKA          IN   46545    WALGREENS        BW4015372   15,800   16,600   18,200   17,400   20,700   14,000   17,117   102,700

100103107   046054882   WALGREENS #04402       DSD    HALLANDALE BEACH      FL   33009    WALGREENS        BW4020563     300      700     9,820   13,590   10,500    8,300    7,202    43,210

100102262   046049643   WALGREENS #03145       DSD          TAMPA           FL   33612    WALGREENS        BW4022101     100              2,100    9,300    8,200    4,600    4,860    24,300

100098430   025089466   WALGREENS #03253       DSD       GREEN BAY          WI   54302    WALGREENS        BW4035780   13,000   13,100   13,100   11,300   14,700    7,300   12,083    72,500

100095936   004095455   WALGREENS #03103       DSD         EXETER           NH   03833    WALGREENS        BW4039358    7,700    9,300    5,730    7,020    8,100    4,500    7,058    42,350

100103097   020163295   WALGREENS #03245       DSD        KINGMAN           AZ   86409    WALGREENS        BW4041086   34,930   35,500   36,900   35,800   33,000   28,200   34,055   204,330

100102533   020161935   WALGREENS #03184       DSD         GILBERT          AZ   85234    WALGREENS        BW4041098    6,160    7,360    6,130    9,460    8,260    5,000    7,062    42,370

100100298   038108399   WALGREENS #03286       DSD        LA PORTE          TX   77571    WALGREENS        BW4044753     840      700    21,900   31,500   29,400   17,000   16,890   101,340

100103293   008114173   WALGREENS #02366       DSD        FREMONT           CA   94555    WALGREENS        BW4044854   11,460   11,300   13,900   11,800   10,700   11,400   11,760    70,560

100087121   003090480   WALGREENS #00177                  AGUADILLA         PR   00605    WALGREENS        BW4046543              200      220      600                        340      1,020

100087122   003090506   WALGREENS #00183                   DORADO           PR   00646    WALGREENS        BW4046567                       300      100                        200       400

100098325   019171694   WALGREENS #02296       DSD       MILWAUKEE          WI   53208    WALGREENS        BW4050996   18,600   18,500   16,500   18,000   16,000    9,000   16,100    96,600

100103266   008114082   WALGREENS #02660       DSD        FREMONT           CA   94538    WALGREENS        BW4056037   11,000   12,400   12,100   10,300   12,100    7,000   10,817    64,900

100101458   046045435   WALGREENS #03193       DSD        MARGATE           FL   33063    WALGREENS        BW4062600     200      500     9,200   18,200   12,800   11,200    8,683    52,100

100099854   018399477   WALGREENS #03258       DSD          TULSA           OK   74145    WALGREENS        BW4063753     500     6,500   22,100   18,500   22,000   19,200   14,800    88,800

100087115   003090365   WALGREENS #00156             ISLA VERDE, CAROLINA   PR   00979    WALGREENS        BW4064060                               3,200                      3,200     3,200

100096023   023146712   WALGREENS #02968       DSD          LODI            NJ   07644    WALGREENS        BW4069476    4,100    3,900    4,900    4,500    5,000    3,600    4,333    26,000

100095864   004094573   WALGREENS #03062       DSD         CANTON           MA   02021    WALGREENS        BW4071116    3,300    4,100    3,500    2,300    4,800    1,500    3,250    19,500

100096034   004098418   WALGREENS #03130       DSD         MALDEN           MA   02148    WALGREENS        BW4077966   10,900   11,100    9,200    9,500    9,100    7,400    9,533    57,200

100107866   004103077   WALGREENS #03130 (340B)            MALDEN           MA   02148   PHS 340B CLINIC   BW4077966     100      500                                          300       600

100103317   008114256   WALGREENS #03171       DSD         VALLEJO          CA   94590    WALGREENS        BW4078134   49,400   52,600   48,800   54,800   37,600   25,000   44,700   268,200

100098298   019171421   WALGREENS #03153       DSD        KENOSHA           WI   53144    WALGREENS        BW4082955   18,700   17,200   17,600   21,300   22,800   13,500   18,517   111,100

100095976   004098046   WALGREENS #03174       DSD        HAMPTON           NH   03842    WALGREENS        BW4089593    4,980    5,210    5,730    5,190    4,100    3,890    4,850    29,100

100103314   008114249   WALGREENS #02485       DSD       SAN RAMON          CA   94583    WALGREENS        BW4091562    6,200    7,000    6,300    5,930    7,800    4,200    6,238    37,430

100095114   010232058   WALGREENS #03313       DSD     MAPLE HEIGHTS        OH   44137    WALGREENS        BW4096322    4,100    5,900    5,400    4,700    6,200    3,000    4,883    29,300

100094676   010228817   WALGREENS #03307       DSD       CLEVELAND          OH   44110    WALGREENS        BW4096358    5,800    7,400    6,100    6,800    6,600    5,400    6,350    38,100
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100094680   010228858   WALGREENS #12444        DSD     CLEVELAND      OH   44109     WALGREENS         BW4096360    24,800    25,900    22,500    24,800    17,500    19,500    22,500    135,000

100102471   046051656   WALGREENS #03093        DSD     LAKELAND       FL   33801     WALGREENS         BW4100715      200       300      1,400    20,100    18,300    16,100     9,400     56,400

100101590   038109132   WALGREENS #03190        DSD      DENVER        CO   80222     WALGREENS         BW4100777    13,800    13,270    13,000    14,900    14,900     8,100    12,995     77,970

100098124   019170761   WALGREENS #03364        DSD       NILES        MI   49120     WALGREENS         BW4102656    51,700    57,780    46,400    52,700    52,600    34,000    49,197    295,180

100103464   008115022   WALGREENS #03330        DSD      MERCED        CA   95340     WALGREENS         BW4103014    27,800    24,500    22,300    28,500    19,900    19,200    23,700    142,200

100098481   025089615   WALGREENS #03293        DSD     LEXINGTON      MN   55014     WALGREENS         BW4108507     6,800     8,000     7,100     6,400     7,200     5,200     6,783     40,700

100094674   010228791   WALGREENS #03234        DSD     CLEVELAND      OH   44135     WALGREENS         BW4108797     9,700    12,300     9,500    11,000    11,500     7,200    10,200     61,200

100102577   020162032   WALGREENS #03177        DSD    SCOTTSDALE      AZ   85254     WALGREENS         BW4115653    11,800    13,700    11,100    11,900    14,900     7,100    11,750     70,500

100102345   020161497   WALGREENS #03132        DSD      PHOENIX       AZ   85050     WALGREENS         BW4115677    13,860    19,000    13,800    15,200    17,400     8,700    14,660     87,960

100094960   023138776   WALGREENS #03102        DSD     HICKSVILLE     NY   11801     WALGREENS         BW4118130     3,800     4,300     2,200     4,940     3,300     6,100     4,107     24,640

100102665   024120931   WALGREENS #03222        DSD    BAKERSFIELD     CA   93301     WALGREENS         BW4119435    13,700    16,800    18,800    19,000    19,800    10,700    16,467     98,800

100101433   038108696   WALGREENS #03207        DSD     THORNTON       CO   80233     WALGREENS         BW4120010    21,300    21,300    20,630    21,600    20,700    14,800    20,055    120,330

100096082   004098756   WALGREENS #03090        DSD    NEW BEDFORD     MA   02740     WALGREENS         BW4120692     2,800     2,900     3,000     2,600     2,600     2,700     2,767     16,600

100103235   046055533   WALGREENS #10264        DSD     HOMESTEAD      FL   33033     WALGREENS         BW4127862      200       880      1,600     8,900     6,600     5,000     3,863     23,180

100097801   019169177   WALGREENS #03065        DSD    INDIANAPOLIS    IN   46226     WALGREENS         BW4128422    18,700    14,600    16,800    19,200    18,900    17,700    17,650    105,900

100103403   008114561   WALGREENS #02810        DSD      FREEDOM       CA   95019     WALGREENS         BW4129676    44,500    47,600    40,700    47,200    41,200    34,500    42,617    255,700

100094673   010228783   WALGREENS #03226        DSD     CLEVELAND      OH   44105     WALGREENS         BW4129842     7,100     4,600     7,000     6,500     7,000     4,000     6,033     36,200

100094783   010229252   WALGREENS #03238        DSD   EAST CLEVELAND   OH   44112     WALGREENS         BW4129854     5,400     5,500     5,500     4,000     5,800     4,100     5,050     30,300

100095594   010232850   WALGREENS #03326        DSD    SOUTH EUCLID    OH   44121     WALGREENS         BW4129866     3,520     3,620     3,360     3,990     4,900     2,560     3,658     21,950

100095574   010232785   WALGREENS #03235        DSD   SHAKER HEIGHTS   OH   44120     WALGREENS         BW4129878     3,900     6,300     5,700     5,600     5,300     4,700     5,250     31,500

100094375   010228064   WALGREENS #03278        DSD       AKRON        OH   44303     WALGREENS         BW4129880    15,200    13,900    12,700    13,600    12,200    13,900    13,583     81,500

100094376   010228072   WALGREENS #03279        DSD       AKRON        OH   44320     WALGREENS         BW4129892    13,700    15,300    12,500    14,900    13,300    11,500    13,533     81,200

100098475   019172999   WALGREENS #03392        DSD      NEENAH        WI   54956     WALGREENS         BW4137635    13,100    13,800    10,900    12,600     9,700    10,400    11,750     70,500

100094377   010228080   WALGREENS #03281        DSD       AKRON        OH   44306     WALGREENS         BW4139540    19,200    20,500    20,200    20,000    18,300    14,100    18,717    112,300

100094817   010229344   WALGREENS #03312        DSD       EUCLID       OH   44123     WALGREENS         BW4139564    10,200    10,300    10,000    11,000    10,000     6,600     9,683     58,100

100094678   010228833   WALGREENS #03310        DSD     CLEVELAND      OH   44111     WALGREENS         BW4147307    20,500    21,900    20,400    20,600    17,800    15,330    19,422    116,530

100103326   008114280   WALGREENS #02464        DSD   WALNUT CREEK     CA   94598     WALGREENS         BW4150152    12,200     9,600    10,960    11,530    11,400    10,500    11,032     66,190

100101442   046045302   WALGREENS #03355        DSD     CAPE CORAL     FL   33909     WALGREENS         BW4153653      300      1,130     7,500    13,300    11,400    11,400     7,505     45,030

100102436   046051482   WALGREENS #03172        DSD    JACKSONVILLE    FL   32208     WALGREENS         BW4158780      100       100     10,000    16,300    11,500    26,100    10,683     64,100

100099564   037131193   WALGREENS #03139        DSD    NEW ORLEANS     LA   70119     WALGREENS         BW4161345      300      1,600    13,600    21,500    20,600    12,300    11,650     69,900

100097619   044216408   WALGREENS #03323        DSD     HORN LAKE      MS   38637     WALGREENS         BW4168135    12,130    12,260    11,100    12,730    11,100    12,000    11,887     71,320

100057589   037086835   SHINER FAMILY PHCY                SHINER       TX   77984     INDEPENDENT       BW4168743     3,700     4,100     3,600     6,600     2,000     3,100     3,850     23,100

100096081   004098749   WALGREENS #03021        DSD    NEW BEDFORD     MA   02746     WALGREENS         BW4174025     2,100     3,500     2,100     2,700     2,500     2,000     2,483     14,900

100100177   038107516   WALGREENS #03370        DSD      HOUSTON       TX   77086     WALGREENS         BW4175510      100                6,200     7,200     4,000     1,500     3,800     19,000

100097394   044215137   WALGREENS #03365        DSD   HENDERSONVILLE   TN   37075     WALGREENS         BW4176752    25,500    23,720    24,800    25,930    27,900    18,500    24,392    146,350

100096256   004100313   WALGREENS #03192        DSD     WATERBURY      CT   06702     WALGREENS         BW4181537     7,800     7,100     8,400     8,700     9,200     9,600     8,467     50,800

100099312   021169938   WALGREENS #02616        DSD      HANNIBAL      MO   63401     WALGREENS         BW4183846     7,700    20,200    23,100    27,000    29,500    18,600    21,017    126,100

100098407   019172510   WALGREENS #03343        DSD      MADISON       WI   53717     WALGREENS         BW4184420    18,300    17,200    17,100    18,500    18,500    12,500    17,017    102,100

100103857   019179721   WALGREENS #03343 340B            MADISON       WI   53717   PHS 340B HOSPITAL   BW4184420                                              100                 100         100

100095397   010232405   WALGREENS #03261        DSD   NORTH CANTON     OH   44720     WALGREENS         BW4184519     5,330     4,930     5,590     5,560     6,000     6,000     5,568     33,410

100095033   004093468   WALGREENS #03257        DSD    LACKAWANNA      NY   14218     WALGREENS         BW4186791    44,200    45,800    40,100    47,000    40,700    28,100    40,983    245,900

100103165   020163469   WALGREENS #03367        DSD    ALBUQUERQUE     NM   87111     WALGREENS         BW4191223     9,520    10,680    11,700    11,800    11,800     6,600    10,350     62,100

100101434   020144584   WALGREENS #03249        DSD      TUCSON        AZ   85718     WALGREENS         BW4197871     8,400     9,400     6,600     9,100     7,100     7,600     8,033     48,200

100052328   020086017   WALGREENS MAIL SERVICE INC.       TEMPE        AZ   85284     WALGREENS         BW4197883   249,600   288,200   270,690   244,700   132,500   142,300   221,332   1,327,990
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100104842   020165449   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883   12,100    9,600    9,700   12,200    1,000             8,920    44,600

100105079   020165597   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883   13,800    8,500    4,600    6,800    2,200             7,180    35,900

100104829   020165324   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883    5,500    3,500    3,000    9,000     500              4,300    21,500

100105078   020165589   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883    3,900    1,700    1,800    2,300     500              2,040    10,200

100108040   020166439   WALGREENS MAIL SERV, INC 340B       TEMPE       AZ   85284   PHS 340B HOSPITAL   BW4197883    2,000    2,500    1,500    3,000                      2,250     9,000

100106870   020166306   WALGREENS MAIL SERV INC 340B        TEMPE       AZ   85284   PHS 340B HOSPITAL   BW4197883    2,000     500     1,500    1,500                      1,375     5,500

100104315   020037697   WALGREENS MAIL SV AHC 340B 100      TEMPE       AZ   85284   PHS 340B HOSPITAL   BW4197883     400      500      400     3,200     500              1,000     5,000

100108687   049196733   WALGREENS #00022 340B               TEMPE       AZ   85284   PHS 340B HOSPITAL   BW4197883    1,000     500     1,100    2,000                      1,150     4,600

100104843   020165456   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883     500      100     1,000     500                        525      2,100

100107849   004102970   WALGREENS #00022 (340B)             TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883    1,000    1,100                                        1,050     2,100

100105021   020140640   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883     600      200      500      100                        350      1,400

100104838   020165407   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883              500               500                        500      1,000

100104831   020165340   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883                                         500               500       500

100104835   020165381   WALGREENS MAIL SERV 00022(340B      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883                                500                        500       500

100104840   020165431   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883              500                                          500       500

100105025   020165498   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883     500                                                   500       500

100104825   020165282   WALGREENS MAIL SERV, INC(340B)      TEMPE       AZ   85284    PHS 340B CLINIC    BW4197883     100                                                   100       100

100103359   008114397   WALGREENS #15025        DSD       BERKELEY      CA   94704     WALGREENS         BW4202571    7,700    8,600    8,000    7,200    9,200    4,000    7,450    44,700

100094374   010228056   WALGREENS #03276        DSD        AKRON        OH   44313     WALGREENS         BW4208965    7,700    9,300    6,700    6,700    6,600    6,300    7,217    43,300

100103475   008115162   WALGREENS #03030        DSD       TURLOCK       CA   95380     WALGREENS         BW4214235   39,500   54,500   54,400   69,100   30,500   40,800   48,133   288,800

100105728   008116426   WALGREENS #03030-340B             TURLOCK       CA   95380    PHS 340B CLINIC    BW4214235    1,000    1,000     500                                 833      2,500

100102847   008113050   WALGREENS #12707        DSD        FRESNO       CA   93726     WALGREENS         BW4216241   18,100   21,000   21,400   19,700   26,500   16,300   20,500   123,000

100102942   020162925   WALGREENS #03377        DSD        TUCSON       AZ   85713     WALGREENS         BW4218055   11,600   11,800   11,000   11,500    9,900    7,000   10,467    62,800

100102889   046053702   WALGREENS #03398        DSD       ORLANDO       FL   32819     WALGREENS         BW4221684                      4,800    2,500    2,100    3,000    3,100    12,400

100097911   019170274   *WALGREENS #03214       DSD        KOKOMO       IN   46901     WALGREENS         BW4227737   15,700    2,500                                        9,100    18,200

100097814   019169300   WALGREENS #03363        DSD      INDIANAPOLIS   IN   46240     WALGREENS         BW4227749   10,700    7,700   10,000    9,800    9,500    7,700    9,233    55,400

100098527   025090092   WALGREENS #03423        DSD        ANOKA        MN   55303     WALGREENS         BW4227799    7,600    6,500    6,000    7,000    8,000    5,500    6,767    40,600

100100442   018402479   WALGREENS #03342        DSD      CEDAR PARK     TX   78613     WALGREENS         BW4227826    6,930   40,980   36,700   39,030   25,000   24,600   28,873   173,240

100101519   046045807   WALGREENS #02790        DSD         MIAMI       FL   33137     WALGREENS         BW4233209    1,100     200     1,300    3,300    2,900    1,300    1,683    10,100

100101597   046046201   WALGREENS #02973        DSD         MIAMI       FL   33157     WALGREENS         BW4235291     100      200      600     3,200    1,700    2,200    1,333     8,000

100097869   019169854   WALGREENS #03232        DSD        GOSHEN       IN   46526     WALGREENS         BW4235330   11,700   11,900   12,200   13,600   11,200   11,500   12,017    72,100

100100497   018403022   WALGREENS #03092        DSD        AUSTIN       TX   78759     WALGREENS         BW4236027    2,500   11,220   12,100    9,900    9,900    8,000    8,937    53,620

100099692   018397992   WALGREENS #03425        DSD      HOT SPRINGS    AR   71901     WALGREENS         BW4238956   27,000   33,600   36,400   39,300   42,030   21,500   33,305   199,830

100101431   008112318   WALGREENS #02865        DSD       MODESTO       CA   95350     WALGREENS         BW4243426   93,200   88,240   75,400   77,400   83,200   65,600   80,507   483,040

100105730   008116442   WALGREENS #02865-340B             MODESTO       CA   95350    PHS 340B CLINIC    BW4243426                               1,000                      1,000     1,000

100101437   038108704   WALGREENS #03298        DSD      ENGLEWOOD      CO   80110     WALGREENS         BW4245292   11,300   10,960   10,700   12,700   12,600    9,200   11,243    67,460

100102669   024120964   WALGREENS #03272        DSD      BAKERSFIELD    CA   93304     WALGREENS         BW4245329   17,400   20,700   18,300   18,100   25,200   10,800   18,417   110,500

100102681   024120998   WALGREENS #03360        DSD      BAKERSFIELD    CA   93309     WALGREENS         BW4245343    5,700    7,100    6,700    7,500   11,800    8,700    7,917    47,500

100095662   004093856   WALGREENS #03270        DSD      TONAWANDA      NY   14150     WALGREENS         BW4250748   33,400   30,900   25,600   28,100   29,300   22,900   28,367   170,200

100094570   004092551   WALGREENS #03288        DSD        BUFFALO      NY   14202     WALGREENS         BW4250750   47,900   51,800   56,400   56,300   41,200   48,400   50,333   302,000

100103335   008114314   WALGREENS #03170        DSD       OAKLAND       CA   94609     WALGREENS         BW4250825   27,400   26,100   26,100   25,900   20,900   17,000   23,900   143,400

100099694   018398016   WALGREENS #03411        DSD      HOT SPRINGS    AR   71913     WALGREENS         BW4251156   32,900   42,400   41,800   44,800   37,100   22,600   36,933   221,600

100098328   019171728   WALGREENS #03109     DSD         MILWAUKEE      WI   53209     WALGREENS         BW4252730   11,100   14,600   10,600   12,000   13,300   12,100   12,283    73,700

100097915   019170316   WALGREENS #03148        DSD      LOGANSPORT     IN   46947     WALGREENS         BW4252742   19,200   19,500   20,100   18,800   19,200   22,400   19,867   119,200
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100099319   044219139   WALGREENS #03338       DSD      CAPE GIRARDEAU   MO   63703      WALGREENS         BW4254619     200    24,900   39,600   47,500   44,100   29,700   31,000   186,000

100098161   049193995   WALGREENS #03426       DSD       GRAND RAPIDS    MI   49525      WALGREENS         BW4264216   36,200   34,300   34,720   35,700   36,900   34,100   35,320   211,920

100096297   004100735   WALGREENS #03151       DSD       WORCESTER       MA   01610      WALGREENS         BW4265864    9,800   10,900    9,300    8,500   10,200    7,000    9,283    55,700

100098400   019172445   WALGREENS #03329       DSD         MADISON       WI   53711      WALGREENS         BW4266931    6,000    6,500    5,500    5,600    6,000    2,100    5,283    31,700

100051792   041074138   MEDICAL UNIT OEOB 97             WASHINGTON      DC   20509   HOSPITAL (FEDERAL)   BW4267111                       400                                 400       400

100052201   041074260   DUMFRIES HEALTH CT(DOD)           DUMFRIES       VA   22025   HOSPITAL (FEDERAL)   BW4283331    2,400    5,400    2,000    7,100             3,000    3,980    19,900

100103234   008114009   WALGREENS #03164       DSD        CONCORD        CA   94520      WALGREENS         BW4291528   38,500   38,900   33,800   38,300   25,500   26,200   33,533   201,200

100102792   046053256   WALGREENS #03107       DSD         SANFORD       FL   32773      WALGREENS         BW4293077     200      200    16,800   20,200    5,200    7,200    8,300    49,800

100102842   020162669   WALGREENS #03387       DSD        AVONDALE       AZ   85392      WALGREENS         BW4293192   10,360   10,430   10,090   10,400    8,600    9,700    9,930    59,580

100099647   037132035   WALGREENS #03399       DSD       BATON ROUGE     LA   70809      WALGREENS         BW4297102              500     6,100    8,000   12,000    5,000    6,320    31,600

100102547   046052035   WALGREENS #03374       DSD       TALLAHASSEE     FL   32301      WALGREENS         BW4297291                      2,700    4,500    6,700    3,600    4,375    17,500

100098358   019172023   WALGREENS #03394       DSD        MILWAUKEE      WI   53227      WALGREENS         BW4300822   15,900   15,300   16,300   17,300   15,800   15,200   15,967    95,800

100104349   019181404   WALGREENS #03394 AHC 340B 100     MILWAUKEE      WI   53227   PHS 340B HOSPITAL    BW4300822                       100                                 100       100

100102837   046053454   WALGREENS #03303       DSD         ORLANDO       FL   32807      WALGREENS         BW4308068     100      100     6,400    8,700    6,600    6,100    4,667    28,000

100102860   046053553   WALGREENS #03389       DSD          OCALA        FL   34470      WALGREENS         BW4308119              110     6,180    8,700   10,500   10,000    7,098    35,490

100099509   021171645   WALGREENS #03186       DSD          OMAHA        NE   68164      WALGREENS         BW4309488   19,100   15,400   17,000   17,800   13,200   14,300   16,133    96,800

100095806   004094219   WALGREENS #03020       DSD        ATTLEBORO      MA   02703      WALGREENS         BW4309539    9,500    9,500    9,800    9,100    8,200    6,900    8,833    53,000

100100363   018402040   WALGREENS #03368       DSD       SAN ANTONIO     TX   78218      WALGREENS         BW4309604    1,700    1,400   18,000   29,600   14,900   15,600   13,533    81,200

100094383   055032847   WALGREENS #03388       DSD          ALCOA        TN   37701      WALGREENS         BW4319338   37,900   38,540   32,900   34,900   18,000   31,940   32,363   194,180

100098116   019170696   WALGREENS #03147       DSD        KALAMAZOO      MI   49048      WALGREENS         BW4322878   27,100   30,000   27,100   28,000   27,500   20,600   26,717   160,300

100103032   008113506   WALGREENS #03358       DSD      SAN FRANCISCO    CA   94109      WALGREENS         BW4334087    8,760    9,230    6,000    8,200   10,400    5,200    7,965    47,790

100100248   037132456   WALGREENS #03419       DSD       MISSOURI CITY   TX   77459      WALGREENS         BW4334683     560      900     4,700    5,200    6,000    3,000    3,393    20,360

100098448   019172759   WALGREENS #03498       DSD        LA CROSSE      WI   54601      WALGREENS         BW4335039   41,100   42,800   44,400   43,400   44,800   25,600   40,350   242,100

100098404   019172486   WALGREENS #03393       DSD         MADISON       WI   53716      WALGREENS         BW4335065   14,700   11,300   14,100   10,600    8,700   12,500   11,983    71,900

100103322   020164103   WALGREENS #03542       DSD         EL PASO       TX   79936      WALGREENS         BW4338213    2,700    8,000   13,300   11,000    8,700    4,600    8,050    48,300

100102451   046051565   WALGREENS #03429       DSD        SEMINOLE       FL   33776      WALGREENS         BW4347111     100      160     2,200   10,800    8,100    9,800    5,193    31,160

100095383   004093559   WALGREENS #03438       DSD      NIAGARA FALLS    NY   14301      WALGREENS         BW4358140   23,700   23,100   20,700   25,000   27,500   21,000   23,500   141,000

100051086   008038034   WALGREENS SPECIALTY #3707       SAN FRANCISCO    CA   94115      WALGREENS         BW4359104    7,600    9,700    8,500    9,700   12,600   11,100    9,867    59,200

100051190   008039370   WALGREENS SPECIALTY #3706 PHY   SAN FRANCISCO    CA   94118      WALGREENS         BW4359116    6,400    7,000    5,200    6,900    8,200    8,300    7,000    42,000

100102677   024120980   WALGREENS #03294       DSD       BAKERSFIELD     CA   93306      WALGREENS         BW4361666   15,500   17,300   17,200   19,000   23,100   21,700   18,967   113,800

100097931   019170381   WALGREENS #03524       DSD        COLUMBUS       IN   47203      WALGREENS         BW4364876   48,100   56,400   43,700   62,100   48,500   21,800   46,767   280,600

100102673   024120972   WALGREENS #03282       DSD       BAKERSFIELD     CA   93306      WALGREENS         BW4367113   25,100   24,600   22,500   23,400   22,800   21,800   23,367   140,200

100100384   018402255   WALGREENS #03504       DSD       SAN ANTONIO     TX   78240      WALGREENS         BW4369410     400      900    12,400   13,140   10,200    9,000    7,673    46,040

100100368   018402099   WALGREENS #03141       DSD       SAN ANTONIO     TX   78223      WALGREENS         BW4369422     100     2,100   28,100   45,600   16,600   21,200   18,950   113,700

100087123   003090522   WALGREENS #00185                   UTUADO        PR   00641      WALGREENS         BW4375146              500      500     1,000                       667      2,000

100097816   019169326   WALGREENS #03442       DSD       INDIANAPOLIS    IN   46250      WALGREENS         BW4378394   10,600    9,900    9,700   10,500   14,300    9,600   10,767    64,600

100096220   023147058   WALGREENS #03359       DSD        STRATFORD      CT   06614      WALGREENS         BW4379459   10,000   11,900    8,200   11,700    8,800    8,000    9,767    58,600

100102910   020162834   WALGREENS #01899       DSD         TUCSON        AZ   85710      WALGREENS         BW4382975    7,600    8,700    6,500    7,630    7,800    6,400    7,438    44,630

100103346   038110098   WALGREENS #03266       DSD         ARVADA        CO   80003      WALGREENS         BW4385096   10,700   12,600   10,800   10,300   10,300    8,100   10,467    62,800

100098338   019171827   WALGREENS #03509       DSD        MILWAUKEE      WI   53215      WALGREENS         BW4386391   14,500   14,500   16,330   15,630   13,300   13,700   14,660    87,960

100103279   020163824   WALGREENS #03236       DSD         EL PASO       TX   79907      WALGREENS         BW4387470    3,500   16,100   15,800   16,300   14,800    6,500   12,167    73,000

100094675   010228809   WALGREENS #03256       DSD        CLEVELAND      OH   44105      WALGREENS         BW4387759    5,400    5,800    6,300    6,100    6,600    3,500    5,617    33,700

100097468   052221333   WALGREENS #03538       DSD       CHATTANOOGA     TN   37411      WALGREENS         BW4388941   28,800   28,500   27,100   29,000   39,700   29,000   30,350   182,100

100102698   020162339   WALGREENS #03385       DSD        GLENDALE       AZ   85306      WALGREENS         BW4392964   12,600   13,500   12,200   12,200   13,300    9,000   12,133    72,800
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100098455   025089581   WALGREENS #03497         DSD       EAU CLAIRE       WI   54701     WALGREENS         BW4393447   41,600   46,290   36,100   41,100   30,300   37,200   38,765   232,590

100101548   038108977   WALGREENS #03510         DSD        LITTLETON       CO   80127     WALGREENS         BW4393524    4,500    5,900    3,800    3,800    5,500    3,600    4,517    27,100

100097435   044215533   WALGREENS #03451         DSD       NASHVILLE        TN   37211     WALGREENS         BW4395693    7,600    8,500    7,500    8,500    9,000    4,000    7,517    45,100

100097768   019168849   WALGREENS #15334         DSD         CARMEL         IN   46032     WALGREENS         BW4400305   10,800    9,130   12,100   10,690   15,400   10,300   11,403    68,420

100097800   019169169   *WALGREENS #02930        DSD      INDIANAPOLIS      IN   46226     WALGREENS         BW4400317    4,600    4,000                                        4,300     8,600

100097767   019168831   WALGREENS #03466         DSD       ANDERSON         IN   46016     WALGREENS         BW4402715   26,000   22,700   23,600   27,700   26,600   27,000   25,600   153,600

100094571   004092569   WALGREENS #03290         DSD        BUFFALO         NY   14216     WALGREENS         BW4406206   18,300   19,300   17,000   16,600   22,300   20,500   19,000   114,000

100101542   038108944   WALGREENS #03489         DSD    HIGHLANDS RANCH     CO   80126     WALGREENS         BW4411461    7,100    6,500    7,130    6,400    7,000    3,600    6,288    37,730

100099646   037132027   WALGREENS #03047         DSD      BATON ROUGE       LA   70809     WALGREENS         BW4422274     500     1,500   14,000   27,100   22,500   26,500   15,350    92,100

100102885   046053686   WALGREENS #15500         DSD        ORLANDO         FL   32819     WALGREENS         BW4434041     100              2,000     100      700     1,000     780      3,900

100097469   052221341   WALGREENS #03537         DSD       EAST RIDGE       TN   37412     WALGREENS         BW4437364   61,000   63,630   60,160   63,000   44,700   50,300   57,132   342,790

100097473   052221382   WALGREENS #03535         DSD      CHATTANOOGA       TN   37421     WALGREENS         BW4437376   42,800   44,000   39,700   43,400   18,700   35,200   37,300   223,800

100099708   018398149   WALGREENS #03416         DSD    NORTH LITTLE ROCK   AR   72116     WALGREENS         BW4438746   27,700   33,700   35,500   35,040   30,900   22,500   30,890   185,340

100103285   020163865   WALGREENS #03570         DSD        EL PASO         TX   79912     WALGREENS         BW4445765    6,800   20,500   20,200   20,640   14,200    7,200   14,923    89,540

100104627   052223198   WALGREENS #15484         DSD       GULFPORT         MS   39503     WALGREENS         BW4446527   12,600   20,600   20,500   22,500   13,500   14,600   17,383   104,300

100100115   037132217   WALGREENS #03198         DSD        HOUSTON         TX   77036     WALGREENS         BW4456059     100              4,900   10,200    5,500    3,500    4,840    24,200

100102437   020161711   WALGREENS #03215         DSD          MESA          AZ   85205     WALGREENS         BW4456504   17,100   12,900   12,460   13,800   14,700   10,200   13,527    81,160

100102429   020161695   WALGREENS #03591         DSD          MESA          AZ   85204     WALGREENS         BW4456516    9,800   10,700   10,500    9,900   11,600    7,700   10,033    60,200

100096245   004100214   WALGREENS #03508         DSD       WAKEFIELD        MA   01880     WALGREENS         BW4457467    5,230    5,530    4,890    4,200    4,460    4,400    4,785    28,710

100100372   018402131   WALGREENS #03563         DSD      SAN ANTONIO       TX   78227     WALGREENS         BW4462040    1,000     500    11,000   18,500   12,200    7,500    8,450    50,700

100100364   018402057   WALGREENS #03506         DSD      SAN ANTONIO       TX   78218     WALGREENS         BW4462052     100      500    10,600   19,700   12,200    8,100    8,533    51,200

100099717   018398230   WALGREENS #03412         DSD       LITTLE ROCK      AR   72209     WALGREENS         BW4462761   12,400   20,500   21,400   21,300   21,900   16,000   18,917   113,500

100099387   021170563   WALGREENS #03594         DSD        BRANSON         MO   65616     WALGREENS         BW4469599    6,700    8,200    8,600    9,000    8,800    6,000    7,883    47,300

100096094   023146829   WALGREENS #03379         DSD        NEWARK          NJ   07105     WALGREENS         BW4470376    2,500    2,600    1,800     700     2,000    2,000    1,933    11,600

100102774   046053165   WALGREENS #03606         DSD       SARASOTA         FL   34231     WALGREENS         BW4471518     200      200    10,400   15,260   10,300   12,000    8,060    48,360

100102995   008113415   WALGREENS #03185         DSD     SAN FRANCISCO      CA   94103     WALGREENS         BW4472988    5,200    5,100    5,600    5,200    6,200    4,200    5,250    31,500

100103122   008113720   WALGREENS #03475         DSD     SAN FRANCISCO      CA   94121     WALGREENS         BW4473029    8,600    8,700    8,400    9,000    7,500    4,700    7,817    46,900

100099724   044219212   WALGREENS #02774         DSD     WEST MEMPHIS       AR   72301     WALGREENS         BW4479069   31,000   31,800   35,000   31,000   25,200   16,100   28,350   170,100

100102817   020162610   WALGREENS #03427         DSD         PEORIA         AZ   85381     WALGREENS         BW4487674    9,600   13,800    9,500   11,900   13,000    8,600   11,067    66,400

100095934   004094987   WALGREENS #03496         DSD        EVERETT         MA   02149     WALGREENS         BW4494047    6,800    7,200    7,100    6,600    8,500    4,400    6,767    40,600

100107867   004103085   WALGREENS #03496 (340B)             EVERETT         MA   02149    PHS 340B CLINIC    BW4494047              100                                          100       100

100099814   018399071   WALGREENS #03534         DSD     BROKEN ARROW       OK   74011     WALGREENS         BW4498196    1,000   12,720   33,600   34,580   38,700   32,000   25,433   152,600

100102388   046051227   WALGREENS #03472         DSD       PALM COAST       FL   32137     WALGREENS         BW4499403     490      390    10,750   15,500   16,100   20,600   10,638    63,830

100099489   021171447   WALGREENS #03202         DSD         OMAHA          NE   68112     WALGREENS         BW4514015   15,800   14,800   17,000   17,700   16,100   10,500   15,317    91,900

100097507   052221721   WALGREENS #03137         DSD       OAK RIDGE        TN   37830     WALGREENS         BW4517756   36,200   36,800   34,100   36,600   27,900   26,000   32,933   197,600

100098295   019171397   WALGREENS #03617         DSD        KENOSHA         WI   53142     WALGREENS         BW4523228   41,360   43,260   36,660   41,430   37,700   35,800   39,368   236,210

100096418   019163238   WALGREENS # 03617 340B              KENOSHA         WI   53142   PHS 340B HOSPITAL   BW4523228    1,500     500     2,000    3,100    1,500     500     1,517     9,100

100107056   019183913   WALGREENS #03617 AHC 340B 100       KENOSHA         WI   53142   PHS 340B HOSPITAL   BW4523228                       100     1,000                       550      1,100

100094389   023137463   WALGREENS #03241         DSD       ALLENTOWN        PA   18103     WALGREENS         BW4523317    7,700    8,200    7,600    7,400    4,600    7,000    7,083    42,500

100099462   021171223   WALGREENS #06170         DSD        WICHITA         KS   67212     WALGREENS         BW4525068   21,400   31,700   28,400   33,100   39,600   30,200   30,733   184,400

100096640   021077875   WALGREENS # 06170 340B              WICHITA         KS   67212   PHS 340B HOSPITAL   BW4525068    1,300     600                                          950      1,900

100098221   021169557   WALGREENS #03590         DSD       WATERLOO         IA   50701     WALGREENS         BW4526248    8,500    9,000    9,000    8,500    9,000    5,100    8,183    49,100

100102411   046051334   WALGREENS #03555         DSD      CLEARWATER        FL   33765     WALGREENS         BW4532277              100     2,100   12,500   10,700    8,500    6,780    33,900

100095885   004094680   WALGREENS #02850         DSD       CRANSTON         RI   02910     WALGREENS         BW4536845    8,200    9,000    8,100   10,000    9,800    8,900    9,000    54,000
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100102355   046049973   WALGREENS #03428         DSD      ST PETERSBURG     FL   33710     WALGREENS         BW4544513     100              1,700    9,500    7,900    6,600    5,160    25,800

100102439   046051490   WALGREENS #03556         DSD         SEMINOLE       FL   33772     WALGREENS         BW4544537     500      100     2,800   15,400   10,200   14,200    7,200    43,200

100098354   019171983   WALGREENS #03616         DSD        MILWAUKEE       WI   53224     WALGREENS         BW4550251   10,700    9,400    8,700    9,800    7,300    5,500    8,567    51,400

100098357   019172015   WALGREENS #03578         DSD       WAUWATOSA        WI   53226     WALGREENS         BW4550263   18,900   16,300   17,600   18,500   18,300    8,000   16,267    97,600

100094738   010229112   WALGREENS #03572         DSD      CUYAHOGA FALLS    OH   44223     WALGREENS         BW4550287   17,730   19,000   17,400   19,400   16,300   16,800   17,772   106,630

100101440   046045286   WALGREENS #03334         DSD     WEST PALM BEACH    FL   33401     WALGREENS         BW4562294                      3,600    7,000    5,400    4,400    5,100    20,400

100102425   020161687   WALGREENS #03543         DSD           MESA         AZ   85203     WALGREENS         BW4566393    7,100    5,800    6,900    7,900    7,800    4,100    6,600    39,600

100099713   018398198   WALGREENS #03413         DSD        LITTLE ROCK     AR   72204     WALGREENS         BW4567321   18,500   24,400   31,400   27,200   30,200   17,500   24,867   149,200

100097812   019169284   WALGREENS #03609         DSD       INDIANAPOLIS     IN   46237     WALGREENS         BW4572067   17,100   13,800   17,100   17,700   18,300   17,300   16,883   101,300

100106690   019183723   WALGREENS #03609 340B              INDIANAPOLIS     IN   46237    PHS 340B CLINIC    BW4572067                                                  500      500       500

100101534   046045898   WALGREENS #03162         DSD       MIAMI BEACH      FL   33139     WALGREENS         BW4572322     800      400     1,100    2,000    1,900    2,100    1,383     8,300

100099788   018398826   WALGREENS #03642         DSD      OKLAHOMA CITY     OK   73129     WALGREENS         BW4586713              500    34,500   40,000    9,500   14,500   19,800    99,000

100099778   018398727   WALGREENS #03645         DSD       MIDWEST CITY     OK   73110     WALGREENS         BW4586725     600      900    37,600   43,100   31,200   27,500   23,483   140,900

100106663   018404087   WALGREENS #03645   340B            MIDWEST CITY     OK   73110   PHS 340B HOSPITAL   BW4586725                                500                        500       500

100099793   018398875   WALGREENS #03643         DSD      OKLAHOMA CITY     OK   73159     WALGREENS         BW4586737    2,000     700    45,500   55,200   43,700   31,500   29,767   178,600

100099759   018398537   WALGREENS #03648         DSD         EDMOND         OK   73003     WALGREENS         BW4590990     600      700    26,300   24,800   32,700   17,300   17,067   102,400

100099567   037131227   WALGREENS #03558         DSD       NEW ORLEANS      LA   70122     WALGREENS         BW4596752     300      800     9,200   12,700   13,600   12,200    8,133    48,800

100103629   032150805   WALGREENS #03519         DSD         TACOMA         WA   98406     WALGREENS         BW4602769   18,900   17,500   18,030   17,830   18,000   12,200   17,077   102,460

100100417   037132951   WALGREENS #03623         DSD         MCALLEN        TX   78504     WALGREENS         BW4602808     100      480     4,700    6,300    5,700    1,100    3,063    18,380

100100406   037132845   WALGREENS #03639         DSD      CORPUS CHRISTI    TX   78405     WALGREENS         BW4602810    1,300    2,760   31,700   53,320   41,200   26,400   26,113   156,680

100100412   037132902   WALGREENS #03638         DSD      CORPUS CHRISTI    TX   78414     WALGREENS         BW4602834     940     2,660   24,310   45,240   30,100   24,700   21,325   127,950

100102512   020161885   WALGREENS #03531         DSD        CHANDLER        AZ   85226     WALGREENS         BW4612215    7,500    8,500    9,200    6,600    8,700    6,300    7,800    46,800

100102850   020162685   WALGREENS #03657         DSD        GOODYEAR        AZ   85395     WALGREENS         BW4612227   15,520   17,450   13,310   17,550   16,800   13,600   15,705    94,230

100095924   023146449   WALGREENS #02884         DSD        ELIZABETH       NJ   07208     WALGREENS         BW4616299    4,200    3,600    3,300    2,800    2,100    2,300    3,050    18,300

100067097   049143008   HAMILTON FAMILY PHARMACY CPA         HAMILTON       MI   49419     INDEPENDENT       BW4622622    6,000    6,500    7,100   11,100    6,500    8,200    7,567    45,400

100099402   021170712   WALGREENS #03690         DSD       SPRINGFIELD      MO   65804     WALGREENS         BW4633485   23,700   32,100   35,600   38,900   35,200   27,600   32,183   193,100

100103639   032150904   WALGREENS #03514         DSD         TACOMA         WA   98499     WALGREENS         BW4641519   16,300   19,260   16,990   17,500   17,900   13,400   16,892   101,350

100105044   032151928   WALGREENS # 03514 340B               TACOMA         WA   98499    PHS 340B CLINIC    BW4641519     500                                                   500       500

100103764   020164814   WALGREENS #03447         DSD        ORO VALLEY      AZ   85739     WALGREENS         BW4642232   17,060   20,490   17,300   17,460   22,300   11,400   17,668   106,010

100103739   020164756   WALGREENS #03630         DSD         TUCSON         AZ   85742     WALGREENS         BW4642256   13,000   13,500   12,700   13,000   14,500    8,200   12,483    74,900

100095941   004097824   WALGREENS #03469         DSD        FALL RIVER      MA   02721     WALGREENS         BW4645226   16,200   16,300   14,900   15,600   15,000   11,500   14,917    89,500

100102375   046051151   WALGREENS #03597         DSD      ST PETERSBURG     FL   33713     WALGREENS         BW4645529     300      400     1,500   15,600   12,800   12,100    7,117    42,700

100065018   021078774   WARD DRUG STORE-GNP       CPA        OBERLIN        KS   67749     INDEPENDENT       BW4649729    2,800    4,600    4,000    3,700    5,700    4,200    4,167    25,000

100108938   021174912   WARD DRUG STORE 340B                 OBERLIN        KS   67749   PHS 340B HOSPITAL   BW4649729    1,500    1,500    1,500    1,500                      1,500     6,000

100097924   044217265   WALGREENS #03488         DSD      JEFFERSONVILLE    IN   47130     WALGREENS         BW4654629    6,100   27,300   37,300   36,700   34,200   36,000   29,600   177,600

100101792   038109694   WALGREENS #03584         DSD     COLORADO SPRINGS   CO   80907     WALGREENS         BW4655633   18,400   23,020   21,100   21,100   17,700   13,800   19,187   115,120

100098389   019172338   WALGREENS #03291         DSD        SUN PRAIRIE     WI   53590     WALGREENS         BW4658944   27,900   29,100   28,800   25,500   17,200   20,500   24,833   149,000

100098346   019171900   WALGREENS #03666         DSD        GREENFIELD      WI   53220     WALGREENS         BW4659934   15,800   15,900   12,400   16,930   17,000   10,800   14,805    88,830

100096210   004099671   WALGREENS #03625         DSD       SPRINGFIELD      MA   01109     WALGREENS         BW4663490    4,000    2,800    2,900    2,500    3,500    2,300    3,000    18,000

100089763   019156380   WEBB'S FAMILY PHARMACY LLC CPA        AKRON         IN   46910     INDEPENDENT       BW4670332    1,000    1,000                      1,500     500     1,000     4,000

100101432   046045237   WALGREENS #03131         DSD       WINTER PARK      FL   32792     WALGREENS         BW4672451    1,300     780    11,900   10,660    8,800    8,000    6,907    41,440

100095434   010232538   WALGREENS #03314         DSD          PARMA         OH   44129     WALGREENS         BW4673554   21,400   23,000   22,300   26,900   19,900   13,500   21,167   127,000

100103572   032149500   WALGREENS #03518         DSD           KENT         WA   98030     WALGREENS         BW4675116   13,400   16,600   13,900   14,400   14,000    4,500   12,800    76,800

100105050   032151936   WALGREENS #03518 340B                  KENT         WA   98030    PHS 340B CLINIC    BW4675116     500                                                   500       500
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100102539   046051995   WALGREENS #03357      DSD           JACKSONVILLE       FL   32277     WALGREENS         BW4680915     100      300      9,800   10,700   11,100   13,000    7,500    45,000

100094790   010229260   WALGREENS #13058      DSD             EASTLAKE         OH   44095     WALGREENS         BW4682414   12,200   12,200    11,100   13,400   15,400    8,300   12,100    72,600

100097956   019170514   WALGREENS #03486      DSD           TERRE HAUTE        IN   47807     WALGREENS         BW4692693    5,300   28,300    32,300   35,000   29,100   30,500   26,750   160,500

100101525   046045849   WALGREENS #03173      DSD           MIAMI SHORES       FL   33138     WALGREENS         BW4693102     100       -        500     3,500    2,400    3,500    1,667    10,000

100099400   021170696   WALGREENS #03689      DSD            SPRINGFIELD       MO   65803     WALGREENS         BW4694508   19,200   24,800    28,900   37,000   28,400   24,600   27,150   162,900

100055395   018036509   WARD MEMORIAL HOSPITAL/MEDASSE       MONAHANS          TX   79756       HOSPITAL        BW4697631     100      100      1,300                                500      1,500

100094949   023138750   WALGREENS #03457      DSD            HEMPSTEAD         NY   11550     WALGREENS         BW4697794    5,300    4,100     4,600    4,700    4,600    3,600    4,483    26,900

100099798   018398925   WALGREENS #03786      DSD              MOORE           OK   73160     WALGREENS         BW4701074    1,000     200     24,000   27,600   28,700   17,500   16,500    99,000

100096016   041152181   WALGREENS #03549      DSD            LINDENWOLD        NJ   08021     WALGREENS         BW4702242    5,200    5,000     3,900    4,400    3,200    2,200    3,983    23,900

100099406   021170753   WALGREENS #03688      DSD            SPRINGFIELD       MO   65807     WALGREENS         BW4706567   25,100   31,900    40,900   43,500   31,600   27,300   33,383   200,300

100072750   018143123   BEST VALUE WADDY PHARMACY CPA       MINERAL WELLS      TX   76067     INDEPENDENT       BW4715693   37,700   31,100    31,300   39,300   27,800   21,200   31,400   188,400

100098525   025090076   WALGREENS #03187      DSD          WHITE BEAR LAKE     MN   55127     WALGREENS         BW4716861   12,800   15,200    15,700   14,500   15,200    9,700   13,850    83,100

100102469   020161794   WALGREENS #03728      DSD               MESA           AZ   85209     WALGREENS         BW4721393   10,700    7,800     8,300   10,100   11,300    5,100    8,883    53,300

100103578   032149567   WALGREENS #03733      DSD          MERCER ISLAND       WA   98040     WALGREENS         BW4722307    5,330    6,200     7,700    5,030    5,900    5,600    5,960    35,760

100094646   010228585   WALGREENS #03672      DSD            CINCINNATI        OH   45231     WALGREENS         BW4723640   11,300   12,600    11,000   13,600    9,600   10,300   11,400    68,400

100102420   046051409   WALGREENS #03544      DSD          ORMOND BEACH        FL   32174     WALGREENS         BW4724212     300      800     14,100   26,060   19,700   18,200   13,193    79,160

100099585   037131409   WALGREENS #03432      DSD              HOUMA           LA   70363     WALGREENS         BW4725199     800     3,700    22,400   37,800   36,800   40,500   23,667   142,000

100095886   004094698   WALGREENS #03491      DSD             CRANSTON         RI   02905     WALGREENS         BW4726610    7,700    6,900     7,400    6,700    8,100    4,100    6,817    40,900

100102863   008113092   WALGREENS #03446      DSD              SALINAS         CA   93905     WALGREENS         BW4732726   14,400   12,760    12,300   12,560   15,400    8,700   12,687    76,120

100102072   046047670   WALGREENS #03487      DSD            LAKE WORTH        FL   33461     WALGREENS         BW4739237              600      3,200    5,500    5,500    5,400    4,040    20,200

100096235   023147082   WALGREENS #03431      DSD              UNION           NJ   07083     WALGREENS         BW4739326    5,600    4,620     5,800    5,140    4,400    2,500    4,677    28,060

100099365   021170340   WALGREENS #03598      DSD              JOPLIN          MO   64804     WALGREENS         BW4739530   10,500   16,600    18,300   22,300   23,800   14,800   17,717   106,300

100100411   037132894   WALGREENS #03637      DSD          CORPUS CHRISTI      TX   78413     WALGREENS         BW4743488     600     8,000    25,220   39,840   26,900   18,500   19,843   119,060

100096008   004098228   WALGREENS #03337      DSD            LAWRENCE          MA   01840     WALGREENS         BW4746802    2,900    3,700     2,500    1,000    3,200    2,500    2,633    15,800

100103665   032151167   WALGREENS #05817      DSD             SPOKANE          WA   99205     WALGREENS         BW4755027   24,500   27,100    25,500   28,200   25,200   19,000   24,917   149,500

100103695   046055780   WALGREENS #03460      DSD             ORLANDO          FL   32821     WALGREENS         BW4755104     100      (100)    1,200     600     2,000    1,000     800      4,800

100103434   008114728   WALGREENS #03378      DSD             SAN JOSE         CA   95118     WALGREENS         BW4759493   11,360   12,430    12,330   12,100   14,600    8,700   11,920    71,520

100101513   046045781   WALGREENS #03316      DSD               MIAMI          FL   33135     WALGREENS         BW4762135     100      100      1,700    4,700    4,800    3,100    2,417    14,500

100098296   019171405   WALGREENS #03738      DSD             KENOSHA          WI   53142     WALGREENS         BW4763000   17,000   17,800    18,300   16,000   17,000   18,200   17,383   104,300

100098311   019171553   WALGREENS #03615      DSD            WAUKESHA          WI   53186     WALGREENS         BW4763012    9,700    9,400     8,800    9,700   11,700    7,600    9,483    56,900

100068509   052146423   ERLANGER HEALTH SYS EAST 340B       CHATTANOOGA        TN   37421   PHS 340B HOSPITAL   BW4763961     200                700      100                        333      1,000

100092507   052214528   ERLANGER HLTH SYS EAST (WAC)        CHATTANOOGA        TN   37421       HOSPITAL        BW4763961     100                100                        100      100       300

100102890   020162784   WALGREENS #03463      DSD              TUCSON          AZ   85704     WALGREENS         BW4764709   13,400   13,200    12,000   10,500   15,500    8,500   12,183    73,100

100101558   046046011   WALGREENS #03301      DSD               MIAMI          FL   33142     WALGREENS         BW4767248     300      100       800     5,500    4,300    3,600    2,433    14,600

100103325   020164129   WALGREENS #03826      DSD              EL PASO         TX   79936     WALGREENS         BW4768719    4,900   12,300    14,100   12,800   10,500    4,600    9,867    59,200

100102582   046052191   WALGREENS #03628      DSD            FORT MYERS        FL   33905     WALGREENS         BW4776677     100               5,000    8,000    9,600    6,500    5,840    29,200

100063960   019002535   WHITLEY MEMORIAL HOSPITAL, INC      COLUMBIA CITY      IN   46725       HOSPITAL        BW4784585    2,500    1,400     2,100     600     1,600    1,200    1,567     9,400

100101835   046046938   WALGREENS #03626      DSD            PLANTATION        FL   33322     WALGREENS         BW4786325     100      600      4,200    7,130    7,800    5,100    4,155    24,930

100096124   023146902   WALGREENS #03292      DSD              ORANGE          NJ   07050     WALGREENS         BW4793356    1,400    1,600     1,900    2,600    1,800    1,500    1,800    10,800

100099781   018398750   WALGREENS #03748      DSD             DEL CITY         OK   73115     WALGREENS         BW4799081     300      300     31,900   46,100   32,700   30,500   23,633   141,800

100100334   018401794   WALGREENS #03730      DSD             KERRVILLE        TX   78028     WALGREENS         BW4800226     200     1,100    21,530   37,180   25,090   11,000   16,017    96,100

100100299   038108407   WALGREENS #03760      DSD            LEAGUE CITY       TX   77573     WALGREENS         BW4805478     100     1,500    12,000   17,000   11,100   14,100    9,300    55,800

100103087   046054791   WALGREENS #03607      DSD            VERO BEACH        FL   32962     WALGREENS         BW4808929     200       -       3,800   11,400   10,600   11,400    6,233    37,400

100102947   008113308   WALGREENS #03346      DSD        SOUTH SAN FRANCISCO   CA   94080     WALGREENS         BW4809109   22,900   22,700    22,900   20,700   23,200   16,600   21,500   129,000
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100100039   018401323   WALGREENS #03878        DSD      FORT WORTH       TX   76133    WALGREENS        BW4813944    5,600   31,700   29,800   28,000   23,200   19,700   23,000   138,000

100103783   012111914   WALGREENS #03636        DSD       ORANGE          CA   92869    WALGREENS        BW4814352   12,700   13,300   11,000   13,900   18,200    9,300   13,067    78,400

100095889   004094714   WALGREENS #03523        DSD       DANBURY         CT   06810    WALGREENS        BW4816522    5,200    5,000    5,300    5,200    4,200    4,400    4,883    29,300

100098212   021169474   WALGREENS #03773        DSD      URBANDALE        IA   50322    WALGREENS        BW4824389   18,700   18,600   18,100   20,000   22,000   15,500   18,817   112,900

100101614   046046268   WALGREENS #03527        DSD      NORTH MIAMI      FL   33161    WALGREENS        BW4831904     500               800     2,300    1,900    1,200    1,340     6,700

100102731   046052977   WALGREENS #03577        DSD       DELTONA         FL   32725    WALGREENS        BW4838338     100     1,100   14,000   14,200   11,400   11,000    8,633    51,800

100097723   044216895   WALGREENS #03631        DSD      LOUISVILLE       KY   40222    WALGREENS        BW4841638    2,500    8,600    9,000    9,000   10,000    7,500    7,767    46,600

100097712   044216788   WALGREENS #03601        DSD      LOUISVILLE       KY   40213    WALGREENS        BW4846804    2,500   21,030   23,500   23,100   27,500   22,500   20,022   120,130

100099970   018400630   WALGREENS #15967        DSD     DUNCANVILLE       TX   75116    WALGREENS        BW4847882   11,620   16,200   15,800   15,600   10,600    5,500   12,553    75,320

100099934   018400275   WALGREENS #03822        DSD       MESQUITE        TX   75149    WALGREENS        BW4855461   28,880   51,820   46,600   49,220   32,340   35,700   40,760   244,560

100095997   023146621   WALGREENS #03197        DSD      JERSEY CITY      NJ   07304    WALGREENS        BW4855699    4,300    4,500    6,100    4,300    3,200    4,400    4,467    26,800

100103566   032149443   WALGREENS #03662        DSD       BELLEVUE        WA   98005    WALGREENS        BW4857984    7,700    8,000    7,700    7,400    6,500    5,400    7,117    42,700

100099786   018398800   WALGREENS #03718        DSD     WARR ACRES        OK   73122    WALGREENS        BW4862745     600      200    23,200   25,800   26,200   18,600   15,767    94,600

100103130   008113746   WALGREENS #03869        DSD    SAN FRANCISCO      CA   94122    WALGREENS        BW4862757    8,000    7,400    5,800    7,000    9,600    3,000    6,800    40,800

100100408   037132860   WALGREENS #15931        DSD    CORPUS CHRISTI     TX   78411    WALGREENS        BW4864193    2,400   14,400   23,700   51,300   37,100   11,000   23,317   139,900

100099998   018400911   WALGREENS #03846        DSD      ARLINGTON        TX   76006    WALGREENS        BW4866096    4,900   26,000   21,800   24,800    6,300   13,700   16,250    97,500

100099916   018400093   WALGREENS #03802        DSD      RICHARDSON       TX   75081    WALGREENS        BW4866109   15,200   22,400   20,740   22,330   13,100   16,700   18,412   110,470

100103696   046055798   WALGREENS #03554        DSD       ORLANDO         FL   32835    WALGREENS        BW4869193                      6,600    9,300    7,100    6,000    7,250    29,000

100103045   046054569   WALGREENS #03106        DSD      KISSIMMEE        FL   34746    WALGREENS        BW4871136              600     2,600    2,400    3,200    3,600    2,480    12,400

100102649   008112789   WALGREENS #03476        DSD        VISALIA        CA   93277    WALGREENS        BW4873596   28,000   44,700   42,300   45,600   48,300   35,900   40,800   244,800

100105647   008116335   WALGREENS #03476 340B              VISALIA        CA   93277   PHS 340B CLINIC   BW4873596    1,000              500      600                        700      2,100

100103603   032149815   WALGREENS #03632        DSD       SEATTLE         WA   98144    WALGREENS        BW4875300    5,630    5,130    5,200    5,330    6,200    2,600    5,015    30,090

100099898   018399915   WALGREENS #03885        DSD     GRAND PRAIRIE     TX   75051    WALGREENS        BW4879651   23,100   36,400   35,000   38,840   20,300   17,500   28,523   171,140

100102873   046053629   WALGREENS #03576        DSD       ORLANDO         FL   32818    WALGREENS        BW4883561     300      300     8,600   11,000    7,500    5,100    5,467    32,800

100095517   041150755   WALGREENS #03853        DSD       RICHMOND        VA   23222    WALGREENS        BW4886416    6,800    8,100    6,630   10,000    6,600    7,000    7,522    45,130

100099797   018398917   WALGREENS #03668        DSD    OKLAHOMA CITY      OK   73162    WALGREENS        BW4887191     800     2,200   26,700   38,600   30,700   27,600   21,100   126,600

100098432   025089482   WALGREENS #03115        DSD      GREEN BAY        WI   54303    WALGREENS        BW4896114   15,400   15,500   14,800   16,600   13,100   13,200   14,767    88,600

100098474   019172981   WALGREENS #03851        DSD       MENASHA         WI   54952    WALGREENS        BW4896138   12,200   12,600   12,100   13,300   10,200   12,000   12,067    72,400

100099438   021171074   WALGREENS #03772        DSD        TOPEKA         KS   66605    WALGREENS        BW4898613   12,800   17,300   19,900   19,700   19,900   11,000   16,767   100,600

100102585   020162057   WALGREENS #03602        DSD      SCOTTSDALE       AZ   85255    WALGREENS        BW4908907    7,300    4,500    5,700    6,800    7,600    3,300    5,867    35,200

100095086   010231928   WALGREENS #03792        DSD       LOVELAND        OH   45140    WALGREENS        BW4911396    5,700    6,560    5,590    4,500    5,500    5,500    5,558    33,350

100094390   023137471   WALGREENS #03255        DSD      ALLENTOWN        PA   18109    WALGREENS        BW4925941    5,200    6,200    4,800    4,000    2,200    6,100    4,750    28,500

100101626   046046300   WALGREENS #03678        DSD   NORTH MIAMI BEACH   FL   33162    WALGREENS        BW4929684     100      200      100     1,400    1,200    1,400     733      4,400

100099042   019178129   WALGREENS #03949        DSD       CHICAGO         IL   60657    WALGREENS        BW4931095   12,000   11,500   12,230   12,500   14,700   10,600   12,255    73,530

100103710   046055954   WALGREENS #03794        DSD       GULFPORT        FL   33707    WALGREENS        BW4933114      20      140     2,640   15,300   13,600   12,700    7,400    44,400

100096253   004100271   WALGREENS #03345        DSD       WARWICK         RI   02889    WALGREENS        BW4938796    8,460    8,200    6,430    7,860    9,700    4,100    7,458    44,750

100102618   020162131   WALGREENS #03766        DSD      SCOTTSDALE       AZ   85266    WALGREENS        BW4940866    6,960    7,060    5,900    6,130    7,500    2,100    5,942    35,650

100103024   008113480   WALGREENS #03383        DSD    SAN FRANCISCO      CA   94108    WALGREENS        BW4946969    1,200    2,200    2,300    1,800    1,600    1,100    1,700    10,200

100100010   018401034   WALGREENS #03881        DSD       BEDFORD         TX   76021    WALGREENS        BW4952657   13,800   49,030   49,560   48,130   28,100   30,400   36,503   219,020

100099900   018399931   WALGREENS #03886        DSD     GRAND PRAIRIE     TX   75052    WALGREENS        BW4952669   10,800   18,000   14,800   16,920   15,600   11,000   14,520    87,120

100103190   008113894   WALGREENS #03344        DSD      PALO ALTO        CA   94306    WALGREENS        BW4954079   11,000   11,700    7,600   10,800   10,300    7,300    9,783    58,700

100099004   019177741   WALGREENS #03948        DSD       CHICAGO         IL   60639    WALGREENS        BW4954435   11,500   12,900   11,300   12,600   10,000    9,600   11,317    67,900

100100483   018402883   WALGREENS #03724        DSD        AUSTIN         TX   78748    WALGREENS        BW4961276    7,700   36,600   36,500   36,760   29,300   20,560   27,903   167,420

100102504   020161869   WALGREENS #03726        DSD       CHANDLER        AZ   85225    WALGREENS        BW4961377    8,120    9,030    8,160    8,160   10,800    7,800    8,678    52,070
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100101449   046045377   WALGREENS #03746         DSD        JACKSONVILLE     FL   32205     WALGREENS         BW4962850     400      300     9,100   12,600   15,000   20,600    9,667    58,000

100103339   020164228   WALGREENS #03845         DSD      NORTH LAS VEGAS    NV   89030     WALGREENS         BW4963977   40,700   38,000   35,900   39,900   27,500   36,900   36,483   218,900

100101522   046045823   WALGREENS #03679         DSD            MIAMI        FL   33137     WALGREENS         BW4966238     100      100               100      800      500      320      1,600

100099851   018399444   WALGREENS #03771         DSD           TULSA         OK   74136     WALGREENS         BW4969082            15,800   39,420   45,400   45,200   19,000   32,964   164,820

100101804   038109728   WALGREENS #03914         DSD      COLORADO SPRINGS   CO   80915     WALGREENS         BW4971417   17,600   17,600   16,300   16,600   14,800   12,900   15,967    95,800

100102241   046049577   WALGREENS #03744         DSD           TAMPA         FL   33611     WALGREENS         BW4975287     300              2,400    7,000    6,400    6,200    4,460    22,300

100099293   044218909   WALGREENS #03687         DSD        SAINT PETERS     MO   63304     WALGREENS         BW4975578             7,200    9,600   13,200    9,600    9,100    9,740    48,700

100101463   020159947   WALGREENS #03841         DSD         LAS VEGAS       NV   89108     WALGREENS         BW4986622   44,300   41,900   43,200   43,600   35,500   30,200   39,783   238,700

100103198   008113910   WALGREENS #03296         DSD         SAN MATEO       CA   94401     WALGREENS         BW4987612   30,200   25,400   22,900   22,900   29,900   15,300   24,433   146,600

100100389   018402305   WALGREENS #03804         DSD        SAN ANTONIO      TX   78250     WALGREENS         BW4988171     100     1,500    9,500   14,700    8,600    6,500    6,817    40,900

100098271   019171157   WALGREENS #03567         DSD        OCONOMOWOC       WI   53066     WALGREENS         BW4990417   23,100   25,800   24,900   26,900   19,800   24,100   24,100   144,600

100102380   046051185   WALGREENS #03894         DSD        PORT ORANGE      FL   32127     WALGREENS         BW4990772     300      200     6,500   11,800   17,100   21,600    9,583    57,500

100102893   046053728   WALGREENS #03461         DSD          ORLANDO        FL   32819     WALGREENS         BW4990784     300      300    10,000   10,300    4,900    6,000    5,300    31,800

100096211   004099689   WALGREENS #03736         DSD        SPRINGFIELD      MA   01108     WALGREENS         BW4991166    4,200    5,700    4,000    3,100    4,200    2,700    3,983    23,900

100068633   055070938   NOVANT HEALTH PHCY (WS) (340B)     WINSTON-SALEM     NC   27103   PHS 340B HOSPITAL   BW4999869   30,500   33,800   29,300   30,200   25,300   38,400   31,250   187,500

100080397   055041152   NOVANT HEALTH PHCY (WS) (WAC)      WINSTON-SALEM     NC   27103       HOSPITAL        BW4999869   13,800   14,000   14,900   11,200   25,200   13,100   15,367    92,200

100099999   018400929   WALGREENS #03941         DSD         ARLINGTON       TX   76010     WALGREENS         BW5003974    5,200   22,300   21,000   23,600   16,500   18,400   17,833   107,000

100095515   041150730   WALGREENS #03685         DSD         RICHMOND        VA   23230     WALGREENS         BW5005865   11,900   11,600   10,000   13,100   10,600    8,500   10,950    65,700

100100128   038107110   WALGREENS #04027         DSD          HOUSTON        TX   77056     WALGREENS         BW5005877      -       300     8,700   13,300    8,000    4,300    5,767    34,600

100103396   020164426   WALGREENS #03843         DSD         LAS VEGAS       NV   89121     WALGREENS         BW5008239   29,900   33,100   26,700   30,000   24,200   34,300   29,700   178,200

100052866   010045930   WOODMAN PHARMACY, INC      APSC        DAYTON        OH   45432     INDEPENDENT       BW5009178    4,000   11,200    4,200   12,000    6,200    9,000    7,767    46,600

100101638   046046342   WALGREENS #03302         DSD            MIAMI        FL   33165     WALGREENS         BW5012606                               2,300    2,000    2,900    2,400     7,200

100103513   008115832   WALGREENS #03877         DSD          PARADISE       CA   95969     WALGREENS         BW5014484   39,800   43,500   36,200   39,300   40,000   32,100   38,483   230,900

100099892   018399857   WALGREENS #03847         DSD           IRVING        TX   75038     WALGREENS         BW5017404    7,320   14,000   13,700   10,700   10,900    9,200   10,970    65,820

100101465   032146704   WALGREENS #03890         DSD          PORTLAND       OR   97214     WALGREENS         BW5018379   10,700   11,430    9,330   11,100   10,900    6,200    9,943    59,660

100096135   041152355   WALGREENS #03731         DSD        PENNSAUKEN       NJ   08110     WALGREENS         BW5019624    4,200    3,580    3,500    2,700    2,300    3,000    3,213    19,280

100090121   056020800   WALGREENS #03731 (340B)             PENNSAUKEN       NJ   08110    PHS 340B CLINIC    BW5019624     100               100                                 100       200

100067470   021016311   ELMWOOD PHCY         SF                OMAHA         NE   68106     INDEPENDENT       BW5027227    1,500    2,000    1,000    1,500    1,500     500     1,333     8,000

100099947   018400408   WALGREENS #03956         DSD           DALLAS        TX   75211     WALGREENS         BW5029663   14,900   26,800   21,600   24,000   18,000    9,500   19,133   114,800

100072537   010123844   WHITE HOUSE CLINIC PHCY 340B           MCKEE         KY   40447    PHS 340B CLINIC    BW5034739   10,000   10,200    9,100    7,900    4,700    3,700    7,600    45,600

100071835   010123745   WHITE HOUSE CLINIC PHCY                MCKEE         KY   40447     INDEPENDENT       BW5034739     600     1,400    1,500     100      800     1,500     983      5,900

100094513   041146290   WALGREENS #03663         DSD        BROOKHAVEN       PA   19015     WALGREENS         BW5039361    9,100    9,200   10,100   10,600    9,000    7,400    9,233    55,400

100096169   004099374   WALGREENS #03520         DSD         ROCHESTER       NH   03867     WALGREENS         BW5039804   16,390   17,500   14,020   15,390   15,000    8,300   14,433    86,600

100102455   046051581   WALGREENS #03795         DSD        PINELLAS PARK    FL   33781     WALGREENS         BW5043740     100              2,300   15,300   13,600   13,900    9,040    45,200

100052655   024068130   WHITE MEM MED PLAZA PHARMACY        LOS ANGELES      CA   90033     INDEPENDENT       BW5050644   11,200   11,000   10,900    6,600    5,000    6,100    8,467    50,800

100104116   024004382   WHITE MEM MED PLAZA PHCY 340B       LOS ANGELES      CA   90033       ALT SITE        BW5050644    1,300    1,400    2,400    2,500                      1,900     7,600

100095448   041149971   WALGREENS #03791         DSD        PHILADELPHIA     PA   19145     WALGREENS         BW5052016    8,300   10,100    8,000    7,200    5,500    7,800    7,817    46,900

100103021   046054437   WALGREENS #04006         DSD         KISSIMMEE       FL   34741     WALGREENS         BW5061623              160     3,200    4,060    3,000    4,100    2,904    14,520

100099906   018399998   WALGREENS #03921         DSD           IRVING        TX   75063     WALGREENS         BW5065710    7,800   11,400   10,200   11,140    5,900    5,000    8,573    51,440

100103790   012111930   WALGREENS #03747         DSD          LA HABRA       CA   90631     WALGREENS         BW5072020   13,400   11,900   11,000   12,500   14,200    8,000   11,833    71,000

100057083   019048363   UNION HOSP. OF CLINTON                CLINTON        IN   47842       HOSPITAL        BW5077979     200      300      100      100      300      400      233      1,400

100086443   019145763   UNION HOSP OF CLINTON 340B            CLINTON        IN   47842   PHS 340B HOSPITAL   BW5077979     100      100               200                        133       400

100103792   012111955   WALGREENS #03902         DSD          DOWNEY         CA   90240     WALGREENS         BW5080596    8,700    7,400    8,700    8,000   11,700    7,900    8,733    52,400

100103791   012111948   WALGREENS #03815         DSD          ORANGE         CA   92868     WALGREENS         BW5080609    9,600   10,300    8,400    9,300   10,800    9,700    9,683    58,100
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100103332   008114306   WALGREENS #01625        DSD      OAKLAND       CA   94609     WALGREENS         BW5082552   23,700   24,500   23,300   25,100   23,800   20,300   23,450   140,700

100101436   008112326   WALGREENS #03297        DSD    SANTA ROSA      CA   95403     WALGREENS         BW5082564   29,900   28,940   31,900   34,100   33,800   20,600   29,873   179,240

100103357   020164293   WALGREENS #03871        DSD     HENDERSON      NV   89074     WALGREENS         BW5089277   32,300   30,230   28,630   30,930   31,300   15,400   28,132   168,790

100097754   044217166   WALGREENS #07925        DSD     HENDERSON      KY   42420     WALGREENS         BW5090547   41,000   37,300   50,900   63,200   48,600   26,000   44,500   267,000

100099955   018400481   WALGREENS #03879        DSD      DALLAS        TX   75220     WALGREENS         BW5093416   15,200   22,820   20,460   21,000    4,400   12,600   16,080    96,480

100099875   018399683   WALGREENS #03803        DSD    CARROLLTON      TX   75006     WALGREENS         BW5093430   18,200   25,680   23,430   23,100   11,640   16,700   19,792   118,750

100096296   004100727   WALGREENS #03898        DSD    WOONSOCKET      RI   02895     WALGREENS         BW5093858   19,300   17,200   17,300   17,400   16,500   14,000   16,950   101,700

100096002   004098145   WALGREENS #03719        DSD     JOHNSTON       RI   02919     WALGREENS         BW5093860   11,300   11,900   10,500   10,800   10,900    7,500   10,483    62,900

100102951   008113316   WALGREENS #03380        DSD     SUNNYVALE      CA   94087     WALGREENS         BW5093961    8,200    8,060    6,900    6,990    9,700    5,700    7,592    45,550

100054941   012065904   WALDE'S DESERT PHCY              PHELAN        CA   92371     INDEPENDENT       BW5101580   29,500   29,600   29,100   26,600   23,100   27,700   27,600   165,600

100101452   046045401   WALGREENS #03250        DSD   MIAMI GARDENS    FL   33056     WALGREENS         BW5102429     700      200      200     4,100    3,500    1,900    1,767    10,600

100102556   012111526   WALGREENS #01750        DSD     FULLERTON      CA   92831     WALGREENS         BW5104168    9,100    9,100    8,800    9,900   10,900    8,500    9,383    56,300

100103781   012111898   WALGREENS #03560        DSD     PLACENTIA      CA   92870     WALGREENS         BW5104170   12,400   13,800   12,700   12,400   15,900   16,000   13,867    83,200

100103782   012111906   WALGREENS #03588        DSD     SANTA ANA      CA   92704     WALGREENS         BW5104233    8,100    6,300    7,100    7,200    9,600    6,300    7,433    44,600

100102532   012111468   WALGREENS #07286        DSD       TUSTIN       CA   92780     WALGREENS         BW5104346   38,200   34,900   36,500   40,400   42,100   24,400   36,083   216,500

100101786   012108811   WALGREENS #07629        DSD      CYPRESS       CA   90630     WALGREENS         BW5104423   17,400   19,800   17,600   16,900   19,300   11,700   17,117   102,700

100101587   038109116   WALGREENS #03867        DSD      DENVER        CO   80220     WALGREENS         BW5104497    7,400    7,700    7,100    7,800    8,700    6,300    7,500    45,000

100103700   046055830   WALGREENS #03211        DSD       DORAL        FL   33178     WALGREENS         BW5104916              700      400     3,200    3,400    2,400    2,020    10,100

100098359   019172031   WALGREENS #03882        DSD     WEST ALLIS     WI   53227     WALGREENS         BW5108104   16,600   13,600   13,200   15,100   12,800   15,100   14,400    86,400

100095908   041151902   WALGREENS #02513        DSD   EAST BRUNSWICK   NJ   08816     WALGREENS         BW5108178    6,050    7,880    5,280    5,120    4,700    5,300    5,722    34,330

100099903   018399964   WALGREENS #04054        DSD       IRVING       TX   75060     WALGREENS         BW5108700   13,700   18,760   19,500   15,800   15,300   19,300   17,060   102,360

100101573   046046094   WALGREENS #03493        DSD       MIAMI        FL   33150     WALGREENS         BW5108964                      1,200    3,700    2,700    1,200    2,200     8,800

100099936   018400291   WALGREENS #03824        DSD     MESQUITE       TX   75150     WALGREENS         BW5110832   16,920   26,600   23,500   25,700   21,200   18,000   21,987   131,920

100094396   004092452   WALGREENS #03267        DSD      AMHERST       NY   14226     WALGREENS         BW5111911   23,000   25,600   21,600   22,400   22,500   11,100   21,033   126,200

100095663   004093872   WALGREENS #03897        DSD    TONAWANDA       NY   14150     WALGREENS         BW5111923   14,600   15,100   14,000   13,700   14,700   12,800   14,150    84,900

100094572   004092577   WALGREENS #03857        DSD      BUFFALO       NY   14214     WALGREENS         BW5111935   15,700   17,700   10,600   15,000   18,000   13,000   15,000    90,000

100094760   004092718   WALGREENS #03859        DSD       DEPEW        NY   14043     WALGREENS         BW5111959   13,500   12,600   11,730   13,700   15,200    6,700   12,238    73,430

100103445   008114835   WALGREENS #03754        DSD      SAN JOSE      CA   95126     WALGREENS         BW5112901   18,600   19,500   17,800   17,700   20,600   10,700   17,483   104,900

100098326   019171702   WALGREENS #03813        DSD     MILWAUKEE      WI   53208     WALGREENS         BW5119498   18,700   19,700   18,700   19,300   19,000   17,600   18,833   113,000

100094098   019162537   WALGREENS #03813 340B           MILWAUKEE      WI   53208   PHS 340B HOSPITAL   BW5119498                                500                        500       500

100098136   019170803   WALGREENS #03349        DSD    GRAND HAVEN     MI   49417     WALGREENS         BW5121924   25,800   27,080   25,000   27,500   23,100   22,500   25,163   150,980

100102452   046051573   WALGREENS #03930        DSD    JACKSONVILLE    FL   32211     WALGREENS         BW5124502     300      200     7,630    9,000    7,500    9,000    5,605    33,630

100102443   046051516   WALGREENS #03988        DSD     SEMINOLE       FL   33772     WALGREENS         BW5124514              700     2,730    7,700   12,800   11,400    7,066    35,330

100095154   041149542   WALGREENS #03683        DSD     MIDLOTHIAN     VA   23112     WALGREENS         BW5125681   16,560   20,880   19,800   18,500   18,000   10,200   17,323   103,940

100100105   038106948   WALGREENS #03328        DSD      HOUSTON       TX   77024     WALGREENS         BW5126506     720      200     6,800    8,800    9,200    5,300    5,170    31,020

100103347   008114355   WALGREENS #03295        DSD      OAKLAND       CA   94621     WALGREENS         BW5130480   32,800   32,600   35,120   35,180   24,500   24,200   30,733   184,400

100100004   018400978   WALGREENS #03909        DSD     ARLINGTON      TX   76015     WALGREENS         BW5131379    9,600   47,000   44,800   43,400   25,500   26,300   32,767   196,600

100102485   046051714   WALGREENS #04056        DSD    JACKSONVILLE    FL   32225     WALGREENS         BW5131848     100      300     4,560    6,090    6,030    4,500    3,597    21,580

100098315   019171595   WALGREENS #03883        DSD     WAUKESHA       WI   53189     WALGREENS         BW5135036   23,700   26,500   22,300   27,600   20,400   21,100   23,600   141,600

100100685   019168773   WALGREENS #03883 340B           WAUKESHA       WI   53186   PHS 340B HOSPITAL   BW5135036                                100                        100       100

100101457   032146464   WALGREENS #03818        DSD     PORTLAND       OR   97230     WALGREENS         BW5139616   19,500   21,500   18,600   20,960   20,700   14,000   19,210   115,260

100103522   032149013   WALGREENS #03817        DSD      GRESHAM       OR   97030     WALGREENS         BW5139628   13,200   13,260   15,600   13,300   18,600    9,100   13,843    83,060

100101471   020159962   WALGREENS #03915        DSD     LAS VEGAS      NV   89146     WALGREENS         BW5146065   30,100   28,700   28,800   28,810   34,500   27,500   29,735   178,410

100094648   010228601   WALGREENS #03864        DSD     CINCINNATI     OH   45245     WALGREENS         BW5147031   13,300   12,300   11,830   12,300   13,300    8,500   11,922    71,530
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100103048   008113555   WALGREENS #03711      DSD         SAN FRANCISCO       CA   94110   WALGREENS     BW5151674   13,800   14,960   15,700   14,800   15,800    8,700   13,960    83,760

100097471   052221366   WALGREENS #03954      DSD           RED BANK          TN   37415   WALGREENS     BW5154620   21,320   21,620   23,730   23,080   17,600   19,400   21,125   126,750

100097532   052221978   WALGREENS #03955      DSD           FARRAGUT          TN   37934   WALGREENS     BW5154632    9,600   10,500    7,600   11,100    9,000    6,000    8,967    53,800

100095518   041150763   WALGREENS #03860      DSD           RICHMOND          VA   23223   WALGREENS     BW5167160   10,300   10,400   10,500    9,700    9,000    7,000    9,483    56,900

100094587   010228452   WALGREENS #04101      DSD            CANTON           OH   44708   WALGREENS     BW5174292   23,120   33,900   27,700   29,500   25,400   18,900   26,420   158,520

100094586   010228445   WALGREENS #04044      DSD            CANTON           OH   44703   WALGREENS     BW5174317   15,300   15,530   16,830   17,900   14,900   12,500   15,493    92,960

100102924   046053884   WALGREENS #03793      DSD        NEW PORT RICHEY      FL   34652   WALGREENS     BW5175749     200      200     2,460   18,500   11,100   10,300    7,127    42,760

100101631   038109249   WALGREENS #03500      DSD            DENVER           CO   80247   WALGREENS     BW5182225    8,400    8,500    8,200    9,200    8,400    5,800    8,083    48,500

100099710   018398164   WALGREENS #04017      DSD          SHERWOOD           AR   72120   WALGREENS     BW5182477   13,900   18,200   19,650   21,200   22,800   14,100   18,308   109,850

100097710   044216762   WALGREENS #03776      DSD           LOUISVILLE        KY   40210   WALGREENS     BW5183809    8,500   34,100   34,400   38,500   30,000   23,000   28,083   168,500

100096039   004098459   WALGREENS #03900      DSD          MANCHESTER         NH   03102   WALGREENS     BW5187073    4,000    4,800    4,700    5,500    6,000    3,100    4,683    28,100

100100007   018401000   WALGREENS #03910      DSD           ARLINGTON         TX   76018   WALGREENS     BW5189700    9,100   35,000   38,900   34,320   22,500   20,900   26,787   160,720

100096149   004099226   WALGREENS #03703      DSD          PROVIDENCE         RI   02908   WALGREENS     BW5190462    6,100    6,200    5,600    6,600    5,600    4,200    5,717    34,300

100054944   012066399   WEST PHARMACY       PRO         HUNTINGTON BEACH      CA   92648   INDEPENDENT   BW5204564    2,100    1,500    1,000     900     3,000             1,700     8,500

100083096   012086322   WEST PHARMACY COMBO             HUNTINGTON BEACH      CA   92648   INDEPENDENT   BW5204564                                         500     2,800    1,650     3,300

100102261   020161281   WALGREENS #03191      DSD            PHOENIX          AZ   85028   WALGREENS     BW5204627    9,000    8,900    8,500    8,900    6,400    7,900    8,267    49,600

100107375   021174227   WEIRICK & PATTERSON PHCY CPA         COLFAX           IA   50054   INDEPENDENT   BW5206734    5,000    6,500    8,200    5,000    8,000    4,100    6,133    36,800

100101441   046045294   WALGREENS #03351      DSD             TAMPA           FL   33604   WALGREENS     BW5208702              100     1,100   11,400   10,400   11,500    6,900    34,500

100103371   008114447   WALGREENS #04049      DSD          EL SOBRANTE        CA   94803   WALGREENS     BW5209552   20,600   22,600   21,400   22,500   16,400   15,000   19,750   118,500

100102326   046049866   WALGREENS #03808      DSD        ST PETERSBURG        FL   33705   WALGREENS     BW5209615                      1,500   13,800   13,700   10,500    9,875    39,500

100100014   018401075   WALGREENS #04085      DSD          COLLEYVILLE        TX   76034   WALGREENS     BW5217775    5,000   17,300   16,100   15,400   14,000    7,000   12,467    74,800

100099580   037131359   WALGREENS #04140      DSD           THIBODAUX         LA   70301   WALGREENS     BW5219123     300     2,200   13,600   26,230   23,300   22,600   14,705    88,230

100100351   018401927   WALGREENS #04160      DSD          SAN ANTONIO        TX   78202   WALGREENS     BW5221039     700     1,000   16,200   28,700   19,700   13,500   13,300    79,800

100100391   018402321   WALGREENS #03734      DSD          SAN ANTONIO        TX   78251   WALGREENS     BW5221041     600     1,100   11,500   16,300   13,200    7,200    8,317    49,900

100100129   038107128   WALGREENS #04114      DSD           HOUSTON           TX   77056   WALGREENS     BW5224198             1,580    7,900   11,100    8,700    7,100    7,276    36,380

100101459   032146514   WALGREENS #03838      DSD           GRESHAM           OR   97030   WALGREENS     BW5234454   37,600   38,700   39,400   37,000   40,100   27,500   36,717   220,300

100101473   032146712   WALGREENS #03925      DSD           PORTLAND          OR   97220   WALGREENS     BW5234543   17,800   17,600   16,320   15,700   16,900   10,500   15,803    94,820

100103633   032150847   WALGREENS #03581      DSD            TACOMA           WA   98444   WALGREENS     BW5254913   11,400   12,500   10,400   13,400   11,600    7,900   11,200    67,200

100096150   004099234   WALGREENS #04145      DSD          PROVIDENCE         RI   02907   WALGREENS     BW5255181   10,800   10,900   10,000   11,700   10,600    8,300   10,383    62,300

100100052   018401455   WALGREENS #03825      DSD      NORTH RICHLAND HILLS   TX   76180   WALGREENS     BW5255749    5,200   29,230   25,930   28,130   24,900   11,600   20,832   124,990

100099968   018400614   WALGREENS #03957      DSD            DALLAS           TX   75241   WALGREENS     BW5255751   27,100   42,700   38,100   42,500   22,500   22,500   32,567   195,400

100099300   044218974   WALGREENS #04090      DSD           O FALLON          MO   63368   WALGREENS     BW5255989     100    13,800   15,300   15,200   18,200   14,800   12,900    77,400

100103001   046054304   WALGREENS #04093      DSD           CLERMONT          FL   34711   WALGREENS     BW5258404     400      540    14,300   16,430   12,700    8,800    8,862    53,170

100101483   046045633   WALGREENS #04034      DSD            VALRICO          FL   33596   WALGREENS     BW5269370     100              2,100    8,700    7,700    9,500    5,620    28,100

100103420   020164541   WALGREENS #03844      DSD           LAS VEGAS         NV   89142   WALGREENS     BW5271440   21,200   45,400   45,500   48,100   48,200   32,000   40,067   240,400

100099783   018398776   WALGREENS #04011      DSD         OKLAHOMA CITY       OK   73119   WALGREENS     BW5278052     500      700    23,500   27,000   22,100   17,500   15,217    91,300

100101435   046045245   WALGREENS #03264      DSD           SARASOTA          FL   34239   WALGREENS     BW5282796              120     6,630    9,000    8,200    8,600    6,510    32,550

100097586   044216184   WALGREENS #04016      DSD           BARTLETT          TN   38133   WALGREENS     BW5292026    6,100    6,800    6,000    6,700    6,700    5,500    6,300    37,800

100103507   008115774   WALGREENS #04170      DSD          SACRAMENTO         CA   95864   WALGREENS     BW5293167   15,300   17,300   13,800   17,700   13,200   11,700   14,833    89,000

100097472   052221374   WALGREENS #04084      DSD         CHATTANOOGA         TN   37416   WALGREENS     BW5305998   35,130   39,520   33,650   35,660   32,600   29,600   34,360   206,160

100097451   052221168   WALGREENS #04201      DSD          CLEVELAND          TN   37311   WALGREENS     BW5306003   48,960   47,100   44,060   48,100   45,400   42,500   46,020   276,120

100101854   024120048   WALGREENS #07035      DSD            ARCADIA          CA   91006   WALGREENS     BW5306457    7,800    6,700    6,500    6,430    7,800    4,800    6,672    40,030

100099974   018400671   WALGREENS #04013      DSD            DALLAS           TX   75287   WALGREENS     BW5308261   19,300   21,640   21,300   22,220   11,000   15,100   18,427   110,560

100099914   018400077   WALGREENS #03911      DSD             PLANO           TX   75075   WALGREENS     BW5308273   14,900   23,860   22,650   21,690   15,550   13,190   18,640   111,840
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100052965   012066712   WHITE FRONT DRUG AND DISCOUNT     COSTA MESA       CA   92626     INDEPENDENT       BW5311383    8,400   10,200    7,700    7,800    5,800    4,700    7,433    44,600

100103366   020164327   WALGREENS #03873        DSD        LAS VEGAS       NV   89103     WALGREENS         BW5315204   48,900   50,100   43,600   49,100   46,700   36,200   45,767   274,600

100103592   032149708   WALGREENS #03604        DSD         SEATTLE        WA   98107     WALGREENS         BW5321891   12,360   15,560   13,100   14,000   13,700    8,400   12,853    77,120

100095878   004094649   WALGREENS #04118        DSD        COHASSET        MA   02025     WALGREENS         BW5327588    2,900    2,200    2,900    3,200    2,500    2,900    2,767    16,600

100102976   046054163   WALGREENS #04164        DSD         ORLANDO        FL   32836     WALGREENS         BW5331260              100     2,900    1,700    3,200     500     1,680     8,400

100099880   018399733   WALGREENS #04171        DSD      FLOWER MOUND      TX   75028     WALGREENS         BW5333985   16,410   22,450   22,490   20,530   14,700    8,500   17,513   105,080

100096111   004098988   WALGREENS #03737        DSD     NORTH PROVIDENCE   RI   02904     WALGREENS         BW5334797    8,200    6,700    9,900    7,800    7,900    7,800    8,050    48,300

100101499   020159996   WALGREENS #04266        DSD         TUCSON         AZ   85741     WALGREENS         BW5335117   13,800   15,300   15,700   13,530   23,100   15,800   16,205    97,230

100102999   020163055   WALGREENS #05156        DSD         TUCSON         AZ   85743     WALGREENS         BW5335131   16,200   13,300   15,900   15,200   15,900   10,800   14,550    87,300

100102978   020163014   WALGREENS #04103        DSD        ORO VALLEY      AZ   85737     WALGREENS         BW5335143    7,300    9,600    6,800    9,100    9,400    7,100    8,217    49,300

100103406   020164475   WALGREENS #03922        DSD        LAS VEGAS       NV   89128     WALGREENS         BW5336549   49,500   63,600   47,100   56,410   54,900      -     45,252   271,510

100095868   004094599   WALGREENS #03759        DSD         CHELSEA        MA   02150     WALGREENS         BW5341312    7,130    7,500    6,130    5,600    6,700    4,600    6,277    37,660

100101546   046045955   WALGREENS #03942        DSD       MIAMI BEACH      FL   33140     WALGREENS         BW5347275     200      560     1,400    2,900    1,100     600     1,127     6,760

100101855   046046987   WALGREENS #03905        DSD         WESTON         FL   33326     WALGREENS         BW5347302     400      500     4,890    8,180    6,600    5,400    4,328    25,970

100100045   018401380   WALGREENS #04189        DSD       LAKE WORTH       TX   76135     WALGREENS         BW5349609    8,000   37,780   40,800   42,700   20,400   21,100   28,463   170,780

100099780   018398743   WALGREENS #04098        DSD      OKLAHOMA CITY     OK   73112     WALGREENS         BW5358901     100      520    34,500   41,800   37,200   35,500   24,937   149,620

100100006   018400994   WALGREENS #04099        DSD        ARLINGTON       TX   76017     WALGREENS         BW5367657    7,900   28,900   27,800   29,400   26,300   23,100   23,900   143,400

100098333   019171777   WALGREENS #04253        DSD       WAUWATOSA        WI   53213     WALGREENS         BW5370995   15,500   16,500   15,160   15,400   16,900   10,700   15,027    90,160

100089277   019155929   WALGREENS #4253 340B              WAUWATOSA        WI   53213   PHS 340B HOSPITAL   BW5370995                       500                                 500       500

100101450   046045385   WALGREENS #03854        DSD        OPA LOCKA       FL   33054     WALGREENS         BW5372519     100               800     2,700    2,800    2,900    1,860     9,300

100100046   018401398   WALGREENS #04131        DSD       HALTOM CITY      TX   76137     WALGREENS         BW5380718   10,100   46,520   43,600   42,550   38,000   31,600   35,395   212,370

100102664   046052597   WALGREENS #04037        DSD       GAINESVILLE      FL   32609     WALGREENS         BW5381289     200              3,200    3,500    6,500    7,000    4,080    20,400

100096218   004099713   WALGREENS #03548        DSD        STONEHAM        MA   02180     WALGREENS         BW5381897    8,500    8,600    7,190    9,800   11,100    5,700    8,482    50,890

100095449   041149989   WALGREENS #04115        DSD       PHILADELPHIA     PA   19140     WALGREENS         BW5388055    4,700    3,700    4,600    3,500    4,500    3,700    4,117    24,700

100051187   008038620   WALGREENS SPECIALTY #04318       SAN FRANCISCO     CA   94114     WALGREENS         BW5388776    7,800    5,800    8,100    6,000    7,400    5,000    6,683    40,100

100103274   020163790   WALGREENS #03934        DSD         SANTA FE       NM   87507     WALGREENS         BW5408453   22,500   23,930   20,200   22,700   23,100   12,000   20,738   124,430

100094735   010229096   WALGREENS #04082        DSD     CRESCENT SPRINGS   KY   41017     WALGREENS         BW5410282   11,400   11,300    9,600   11,500   11,200    8,500   10,583    63,500

100101477   046045567   WALGREENS #03935        DSD      CORAL SPRINGS     FL   33065     WALGREENS         BW5411513     100      220     6,430    8,600    8,600    5,100    4,842    29,050

100103390   020164400   WALGREENS #04137        DSD        LAS VEGAS       NV   89117     WALGREENS         BW5412642   39,300   37,600   38,200   40,400   35,100   32,200   37,133   222,800

100095516   041150748   WALGREENS #03852        DSD        RICHMOND        VA   23227     WALGREENS         BW5412844    9,200    8,200    9,230    8,200    7,300    7,000    8,188    49,130

100103588   032149666   WALGREENS #03515        DSD         SEATTLE        WA   98103     WALGREENS         BW5418935    5,700    6,100    5,100    5,100    7,200    3,600    5,467    32,800

100099335   021170043   WALGREENS #04182        DSD       LEES SUMMIT      MO   64063     WALGREENS         BW5419684    4,200   16,800   17,000   17,200   20,700   11,200   14,517    87,100

100099774   018398685   WALGREENS #04066        DSD          YUKON         OK   73099     WALGREENS         BW5420372     100      800    33,360   36,540   41,300   22,000   22,350   134,100

100102021   024120675   WALGREENS #09845        DSD     ROWLAND HEIGHTS    CA   91748     WALGREENS         BW5426704    6,800    7,500    7,200    5,600    7,700    3,400    6,367    38,200

100103123   046054957   WALGREENS #03566        DSD         HIALEAH        FL   33012     WALGREENS         BW5429394     100      100      100     2,200    1,900    2,700    1,183     7,100

100103391   038110247   WALGREENS #04025        DSD       WESTMINSTER      CO   80020     WALGREENS         BW5431971    9,600   11,000    9,300   12,100   10,700    7,300   10,000    60,000

100103638   032150896   WALGREENS #04064        DSD        LAKEWOOD        WA   98498     WALGREENS         BW5452088    7,700    7,600    7,260    9,600    9,000    4,100    7,543    45,260

100102686   020162305   WALGREENS #04020        DSD        GLENDALE        AZ   85302     WALGREENS         BW5452228   11,400   12,000   11,900   11,200   11,800    9,500   11,300    67,800

100098238   021169698   WALGREENS #03875        DSD       CEDAR RAPIDS     IA   52402     WALGREENS         BW5454412   17,600   18,600   15,000   18,500   17,100   12,500   16,550    99,300

100094650   010228627   WALGREENS #04246        DSD        CINCINNATI      OH   45238     WALGREENS         BW5456101   27,500   27,900   27,200   24,900   26,800   27,200   26,917   161,500

100099648   037132043   WALGREENS #03610        DSD       BATON ROUGE      LA   70810     WALGREENS         BW5456290                      7,200   12,200   12,000    8,000    9,850    39,400

100099220   044218172   WALGREENS #03652        DSD         FENTON         MO   63026     WALGREENS         BW5458799     300    16,600   24,600   28,600   27,900   21,200   19,867   119,200

100099327   021169961   WALGREENS #04225        DSD       BLUE SPRINGS     MO   64014     WALGREENS         BW5459549    6,200   27,200   28,100   33,900   28,700   18,800   23,817   142,900

100109361   021175794   WALGREENS #04225 340B             BLUE SPRINGS     MO   64015   PHS 340B HOSPITAL   BW5459549    1,200    2,500    2,600    2,500    1,800    3,000    2,267    13,600
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100108062   021174672   WALGREENS #04225 340B           BLUE SPRINGS       MO   64015   PHS 340B HOSPITAL   BW5459549    1,400    2,300    3,300    1,600     800     1,500    1,817    10,900

100098356   019172007   WALGREENS #04254        DSD       MILWAUKEE        WI   53225     WALGREENS         BW5464247   12,300   14,800   12,800   12,800   12,200    9,200   12,350    74,100

100101470   046045518   WALGREENS #03933        DSD     CORAL SPRINGS      FL   33067     WALGREENS         BW5464627     100      260     3,700    9,800    7,800    6,000    4,610    27,660

100103499   008115691   WALGREENS #04136        DSD      SACRAMENTO        CA   95822     WALGREENS         BW5471191   20,200   17,500   20,900   18,500   19,800   16,100   18,833   113,000

100103458   008114967   WALGREENS #02770        DSD       STOCKTON         CA   95210     WALGREENS         BW5471204   44,800   52,700   54,900   60,900   43,200   18,000   45,750   274,500

100103489   008115311   WALGREENS #04107        DSD       WOODLAND         CA   95695     WALGREENS         BW5471216   33,800   38,500   32,800   37,300   34,900   29,700   34,500   207,000

100101782   012108803   WALGREENS #10630        DSD        LA PALMA        CA   90623     WALGREENS         BW5474729   10,600   12,300   10,400   12,160   14,000    8,900   11,393    68,360

100103793   012084657   WALGREENS #03936        DSD      LAKE FOREST       CA   92630     WALGREENS         BW5474731    5,600    6,300    7,300    7,800   10,200    5,000    7,033    42,200

100101824   038109793   WALGREENS #03585        DSD   COLORADO SPRINGS     CO   80919     WALGREENS         BW5476026    8,100    9,700   11,200    9,900   10,700    7,700    9,550    57,300

100102724   046052944   WALGREENS #04282        DSD      BRADENTON         FL   34203     WALGREENS         BW5482548     720      500    11,100   26,120   17,900   15,000   11,890    71,340

100103598   032149765   WALGREENS #03582        DSD        SEATTLE         WA   98125     WALGREENS         BW5482853    4,700    5,100    5,100    5,500    4,200    3,700    4,717    28,300

100099413   021170829   WALGREENS #04183        DSD        OLATHE          KS   66061     WALGREENS         BW5483564    6,200   21,100   22,500   25,400   25,900   20,500   20,267   121,600

100101487   020159970   WALGREENS #04106        DSD       LAS VEGAS        NV   89104     WALGREENS         BW5483970   25,200   26,700   22,500   26,700   18,600   17,000   22,783   136,700

100098578   025090605   WALGREENS #04320        DSD    BROOKLYN CENTER     MN   55429     WALGREENS         BW5487930    7,700    7,560    6,100    6,830    6,560    4,700    6,575    39,450

100107095   025091835   WALGREENS #04320 340B          BROOKLYN CENTER     MN   55429    PHS 340B CLINIC    BW5487930                                100                        100       100

100103637   032150888   WALGREENS #03723        DSD    UNIVERSITY PLACE    WA   98467     WALGREENS         BW5491422    5,900    6,000    5,500    6,000    6,600    3,700    5,617    33,700

100100258   037132530   WALGREENS #03696        DSD      SUGAR LAND        TX   77479     WALGREENS         BW5494567     680      630     6,320    8,400    7,040    6,600    4,945    29,670

100103408   020164483   WALGREENS #04197        DSD       LAS VEGAS        NV   89129     WALGREENS         BW5495026   51,700   55,100   54,200   58,000   37,300   25,000   46,883   281,300

100103034   046054510   WALGREENS #04193        DSD      MELBOURNE         FL   32935     WALGREENS         BW5506499     100      200    10,600   20,900   19,000   14,400   10,867    65,200

100103794   012102293   WALGREENS #03937        DSD       NORWALK          CA   90650     WALGREENS         BW5507263    8,400    9,600    8,100    8,200    4,800    8,100    7,867    47,200

100102780   046053199   WALGREENS #04251        DSD        OVIEDO          FL   32765     WALGREENS         BW5507415                      5,700    9,320    7,400    5,600    7,005    28,020

100095857   004094524   WALGREENS #03564        DSD       BROOKLINE        MA   02446     WALGREENS         BW5507631    1,200    1,500    1,600    1,000    1,800     500     1,267     7,600

100098169   049194076   WALGREENS #04299        DSD       WYOMING          MI   49548     WALGREENS         BW5509697   18,500   18,500   19,100   18,500   17,000   12,500   17,350   104,100

100095853   004094482   WALGREENS #03758        DSD       BROCKTON         MA   02301     WALGREENS         BW5511907    3,990    4,000    5,030    6,330    6,900    4,700    5,158    30,950

100099423   021170928   WALGREENS #04185        DSD     ROELAND PARK       KS   66205     WALGREENS         BW5512985    2,100   11,800   12,600   15,200   15,300   11,000   11,333    68,000

100095739   010233189   WALGREENS #04294        DSD      WILLOUGHBY        OH   44094     WALGREENS         BW5513278   12,100   12,200   13,130   11,500   11,600    9,200   11,622    69,730

100102876   008113126   WALGREENS #02867        DSD        SEASIDE         CA   93955     WALGREENS         BW5513672   40,200   42,600   39,600   41,000   38,200   27,300   38,150   228,900

100103573   032149518   WALGREENS #04156        DSD       KIRKLAND         WA   98033     WALGREENS         BW5515690   14,400   17,000   14,100   16,290   14,500   12,600   14,815    88,890

100103143   046055129   WALGREENS #03782        DSD        HIALEAH         FL   33015     WALGREENS         BW5518862     100      600     2,100    4,500    4,400    5,000    2,783    16,700

100101504   046045740   WALGREENS #03784        DSD         MIAMI          FL   33133     WALGREENS         BW5520538     200      100     1,030    1,860    1,500    2,400    1,182     7,090

100094378   010228098   WALGREENS #03741        DSD         AKRON          OH   44312     WALGREENS         BW5523469   19,000   18,700   18,700   17,600   14,900   14,900   17,300   103,800

100102373   020161562   WALGREENS #04188        DSD    APACHE JUNCTION     AZ   85120     WALGREENS         BW5524891   21,020   21,180   21,890   25,160   25,400   19,800   22,408   134,450

100101581   038109090   WALGREENS #04301        DSD        DENVER          CO   80211     WALGREENS         BW5525502   10,690   10,560   10,360   11,050    8,400    6,400    9,577    57,460

100087157   003091249   WALGREENS #00714                  BAYAMON          PR   00959     WALGREENS         BW5538597                                100                        100       100

100098351   019171959   WALGREENS #04095        DSD      WAUWATOSA         WI   53222     WALGREENS         BW5544324   16,700   15,200   12,300   17,500   13,300    9,800   14,133    84,800

100103575   032149534   WALGREENS #03765        DSD       LYNNWOOD         WA   98036     WALGREENS         BW5551266   18,500   21,700   19,300   22,100   20,100   17,500   19,867   119,200

100103195   046055400   WALGREENS #04143        DSD    PEMBROKE PINES      FL   33027     WALGREENS         BW5552648              200     2,200    2,900    3,500    3,100    2,380    11,900

100098229   021169631   WALGREENS #03700        DSD     COUNCIL BLUFFS     IA   51503     WALGREENS         BW5554856   27,530   26,900   28,330   29,200   30,600   19,500   27,010   162,060

100103414   020164517   WALGREENS #04242        DSD       LAS VEGAS        NV   89134     WALGREENS         BW5556230   28,500   29,200   26,100   32,160   26,800   18,500   26,877   161,260

100101200   046044693   WALGREENS #04001        DSD    PORT SAINT LUCIE    FL   34984     WALGREENS         BW5562562     300      700     3,900   10,400    9,800    7,500    5,433    32,600

100099929   018400226   WALGREENS #04293        DSD        DESOTO          TX   75115     WALGREENS         BW5572272   13,520   22,600   23,440   19,700   14,800   11,500   17,593   105,560

100099923   018400168   WALGREENS #04292        DSD         PLANO          TX   75093     WALGREENS         BW5572284    9,230   12,900   12,400   10,900    9,000    9,100   10,588    63,530

100094477   023137588   WALGREENS #04116        DSD       BETHPAGE         NY   11714     WALGREENS         BW5581663    8,130    8,800    9,160    7,090   10,500    7,500    8,530    51,180

100094986   023138800   WALGREENS #03470        DSD   HUNTINGTON STATION   NY   11746     WALGREENS         BW5581726    3,500    3,300    3,500    4,000    4,200    3,300    3,633    21,800
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100087138   003090829   WALGREENS #361                 SAN SEBASTIAN    PR   00685     WALGREENS         BW5584885              300      200      100                        200       600

100097967   049192344   WALGREENS #04255        DSD       FRASER        MI   48026     WALGREENS         BW5591599   60,900   52,400   52,400   55,500   51,500   12,500   47,533   285,200

100094306   049189795   WALGREENS #04255 340B             FRASER        MI   48026   PHS 340B HOSPITAL   BW5591599    1,500     700     1,700    1,100     500              1,100     5,500

100103796   024102863   WALGREENS #04227        DSD      MONROVIA       CA   91016     WALGREENS         BW5597286   14,300   15,700   14,100   12,100   14,700   12,800   13,950    83,700

100101750   012108704   WALGREENS #07481        DSD      TORRANCE       CA   90501     WALGREENS         BW5597298   17,130   16,160   18,800   19,290   23,700   17,300   18,730   112,380

100103784   012111922   WALGREENS #03674        DSD    GARDEN GROVE     CA   92840     WALGREENS         BW5597301   16,500   14,300   13,600   14,400   15,900    6,800   13,583    81,500

100097529   052221945   WALGREENS #04199        DSD      KNOXVILLE      TN   37922     WALGREENS         BW5602291    6,500    7,300    8,100    8,500    6,100    6,500    7,167    43,000

100095854   004094490   WALGREENS #04404        DSD      BROCKTON       MA   02302     WALGREENS         BW5602455    5,500    5,700    4,030    4,530    5,300    2,800    4,643    27,860

100099600   037131557   WALGREENS #04290        DSD       SLIDELL       LA   70461     WALGREENS         BW5604384    1,400    2,600   16,500   26,400   24,200   19,200   15,050    90,300

100099784   018398784   WALGREENS #04111        DSD    OKLAHOMA CITY    OK   73120     WALGREENS         BW5604663     500      600    30,300   36,700   26,200   32,100   21,067   126,400

100095514   041150722   WALGREENS #03684        DSD      RICHMOND       VA   23234     WALGREENS         BW5608584   22,830   21,590   19,990   20,100   18,900   16,560   19,995   119,970

100094483   010228338   WALGREENS #04397        DSD      BOARDMAN       OH   44512     WALGREENS         BW5609081   18,600   19,000   19,200   19,000   18,500   12,400   17,783   106,700

100102366   012111013   WALGREENS #13833        DSD      RIVERSIDE      CA   92501     WALGREENS         BW5611567   18,300   20,700   16,700   20,300   20,000   16,200   18,700   112,200

100103795   012112219   WALGREENS #04207        DSD    LAGUNA HILLS     CA   92653     WALGREENS         BW5611579   16,360   17,000   18,090   18,190   18,900   13,200   16,957   101,740

100098165   049194035   WALGREENS #04413        DSD    GRAND RAPIDS     MI   49546     WALGREENS         BW5612090   16,600   16,100   18,100   18,000   15,500   10,500   15,800    94,800

100099349   021170183   WALGREENS #04222        DSD     KANSAS CITY     MO   64123     WALGREENS         BW5617913    3,600   18,000   19,600   18,200   14,700   20,000   15,683    94,100

100095447   041149963   WALGREENS #03569        DSD    PHILADELPHIA     PA   19124     WALGREENS         BW5622229    3,100    3,600    3,600    3,000    3,100    3,600    3,333    20,000

100098055   049193227   WALGREENS #04244        DSD     WATERFORD       MI   48329     WALGREENS         BW5623992   26,500   24,600   24,800   25,100   18,700   23,100   23,800   142,800

100094677   010228825   WALGREENS #03308        DSD     CLEVELAND       OH   44109     WALGREENS         BW5624184   13,900   14,000   14,300   14,300   14,400   16,000   14,483    86,900

100099879   018399725   WALGREENS #04418        DSD      COPPELL        TX   75019     WALGREENS         BW5627089    7,490   13,720   14,560   16,600   16,600    9,500   13,078    78,470

100101927   046047209   WALGREENS #04177        DSD   WEST PALM BEACH   FL   33411     WALGREENS         BW5628512     500              2,600    7,100    6,000    4,700    4,180    20,900

100095635   010232918   WALGREENS #04295        DSD        STOW         OH   44224     WALGREENS         BW5629615    8,500   10,400    6,600   10,000    8,700    7,200    8,567    51,400

100096003   004098152   WALGREENS #03899        DSD      JOHNSTON       RI   02919     WALGREENS         BW5635480   11,500   10,600   11,400   11,700   12,100    6,900   10,700    64,200

100102225   046049502   WALGREENS #04326        DSD        TAMPA        FL   33607     WALGREENS         BW5636127     400     1,500    2,100   14,900   13,500    8,300    6,783    40,700

100102736   020162412   WALGREENS #03912        DSD     CAVE CREEK      AZ   85331     WALGREENS         BW5638082    8,000    6,900    9,800    7,800    7,300    6,800    7,767    46,600

100097728   044216945   WALGREENS #04309        DSD      LOUISVILLE     KY   40241     WALGREENS         BW5639060    2,500   10,500   12,000   15,000   13,000   10,500   10,583    63,500

100102676   046052654   WALGREENS #04272        DSD     GAINESVILLE     FL   32641     WALGREENS         BW5639907     100              2,500    3,100    6,100    7,500    3,860    19,300

100098027   049192948   WALGREENS #04297        DSD      WESTLAND       MI   48185     WALGREENS         BW5640811   18,700   23,700   22,200   21,700   22,900   20,900   21,683   130,100

100099422   021170910   WALGREENS #04234        DSD   OVERLAND PARK     KS   66204     WALGREENS         BW5642081    5,800   22,100   22,600   25,000   22,400   14,600   18,750   112,500

100099350   021170191   WALGREENS #04212        DSD     KANSAS CITY     MO   64128     WALGREENS         BW5642738    2,000   20,000   22,000   24,100   25,100   14,400   17,933   107,600

100103286   020163873   WALGREENS #04421        DSD     LAS CRUCES      NM   88001     WALGREENS         BW5643956   24,100   22,300   21,800   20,900   23,500   13,700   21,050   126,300

100102476   046051672   WALGREENS #04325        DSD    JACKSONVILLE     FL   32223     WALGREENS         BW5646471     500      400     7,400   14,100   10,000   20,000    8,733    52,400

100096176   004099416   WALGREENS #04072        DSD      ROXBURY        MA   02119     WALGREENS         BW5648261    1,100    1,200    2,000     500     1,500    1,000    1,217     7,300

100102594   020162073   WALGREENS #04138        DSD     SCOTTSDALE      AZ   85257     WALGREENS         BW5648425   15,000   16,500   14,300   15,300   13,600    9,100   13,967    83,800

100101523   046045831   WALGREENS #04440        DSD    ORANGE PARK      FL   32065     WALGREENS         BW5650141     100      200     3,900    7,600   10,000   12,500    5,717    34,300

100096033   041152223   WALGREENS #04059        DSD      MAGNOLIA       NJ   08049     WALGREENS         BW5651674    3,500    4,170    2,200    2,600    2,900    1,700    2,845    17,070

100099429   021170985   WALGREENS #04186        DSD       LENEXA        KS   66219     WALGREENS         BW5654151    5,400   26,100   22,300   27,200   22,200   19,600   20,467   122,800

100095520   041150789   WALGREENS #04250        DSD      RICHMOND       VA   23235     WALGREENS         BW5658200   16,450   18,160   16,830   18,630   17,600   11,000   16,445    98,670

100099558   037131136   WALGREENS #04305        DSD    NEW ORLEANS      LA   70112     WALGREENS         BW5658438     100     1,000    4,300    5,400    5,900    2,200    3,150    18,900

100097459   052221242   WALGREENS #03536        DSD       HIXSON        TN   37343     WALGREENS         BW5661512   35,800   33,500   35,900   33,100   34,100   27,630   33,338   200,030

100098279   019171231   WALGREENS #03448        DSD       MEQUON        WI   53092     WALGREENS         BW5661536    7,800    8,700    6,100    7,200    8,800    5,800    7,400    44,400

100097851   019169672   WALGREENS #04276        DSD     SAINT JOHN      IN   46373     WALGREENS         BW5661548   17,700   18,720   18,900   18,700   18,300   21,800   19,020   114,120

100103548   032149278   WALGREENS #04230        DSD       KEIZER        OR   97303     WALGREENS         BW5667437   17,100   16,000   16,500   17,800   17,600   12,600   16,267    97,600

100099464   018397679   WALGREENS #05770        DSD       WICHITA       KS   67217     WALGREENS         BW5667906   38,500   52,400   48,300   58,700   30,620   28,000   42,753   256,520
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100096638   021077800   WALGREENS # 05770 340B            WICHITA      KS   67217   PHS 340B HOSPITAL   BW5667906    2,600     1,500    2,000    3,500                      2,400     9,600

100099893   018399865   WALGREENS #04340         DSD     GARLAND       TX   75040     WALGREENS         BW5671981   11,700    17,900   16,400   16,100   13,500   13,500   14,850    89,100

100097396   044215152   WALGREENS #04456         DSD    HERMITAGE      TN   37076     WALGREENS         BW5672351   22,500    24,100   21,100   22,700   25,600   18,200   22,367   134,200

100097381   044215004   WALGREENS #04313         DSD    CLARKSVILLE    TN   37043     WALGREENS         BW5672363   40,500    35,300   41,200   44,100   21,000   37,700   36,633   219,800

100102468   046051649   WALGREENS #01986         DSD   JACKSONVILLE    FL   32219     WALGREENS         BW5672743               200     6,600   12,600   15,500   17,000   10,380    51,900

100098393   019172379   WALGREENS #04155         DSD     MADISON       WI   53703     WALGREENS         BW5672818    4,000     3,500    4,000    3,600    3,000    2,500    3,433    20,600

100098376   019172205   WALGREENS #04055         DSD    JANESVILLE     WI   53545     WALGREENS         BW5672832   30,700    36,800   29,430   35,630   25,800   29,200   31,260   187,560

100097663   052222299   WALGREENS #04191         DSD     JACKSON       MS   39212     WALGREENS         BW5677426   12,500    13,000   14,500   13,800   11,700   11,500   12,833    77,000

100099615   037131714   WALGREENS #04192         DSD    NEW IBERIA     LA   70560     WALGREENS         BW5680031     300       200    14,300   31,800   29,300   19,600   15,917    95,500

100100034   018401273   WALGREENS #04268         DSD    FORT WORTH     TX   76111     WALGREENS         BW5680245    5,300    27,800   25,200   24,840   14,000   13,500   18,440   110,640

100099869   018399626   WALGREENS #04269         DSD     SHAWNEE       OK   74801     WALGREENS         BW5681994     100      1,200   29,800   42,600   34,200   27,500   22,567   135,400

100095805   004094201   WALGREENS #03112         DSD     ARLINGTON     MA   02476     WALGREENS         BW5683671    3,300     5,030    2,100    3,230    2,800    2,200    3,110    18,660

100098492   025089722   WALGREENS #04038         DSD    ROSEMOUNT      MN   55068     WALGREENS         BW5684938    7,300     7,800    7,000    5,500    5,300    4,800    6,283    37,700

100095437   010232561   WALGREENS #04159         DSD   PARMA HEIGHTS   OH   44130     WALGREENS         BW5688176    9,860    11,560   11,830   13,060   11,860    8,800   11,162    66,970

100100349   018401901   WALGREENS #03354         DSD    SAN ANTONIO    TX   78201     WALGREENS         BW5689712     (100)      -      5,500   13,100    7,600    5,000    5,183    31,100

100099895   018399881   WALGREENS #04267         DSD     GARLAND       TX   75042     WALGREENS         BW5692896   12,300    18,200   17,500   20,800   19,900   11,700   16,733   100,400

100099264   044218610   WALGREENS #04345         DSD    SAINT LOUIS    MO   63125     WALGREENS         BW5694585             10,200   15,500   16,000   15,000   12,000   13,740    68,700

100100037   018401307   WALGREENS #04417         DSD    FORT WORTH     TX   76116     WALGREENS         BW5694814    4,200    20,500   21,800   20,000   15,000   12,000   15,583    93,500

100103713   046055996   WALGREENS #04399         DSD     LAKELAND      FL   33801     WALGREENS         BW5695981                       1,200   11,400   11,100    9,300    8,250    33,000

100103411   008114603   WALGREENS #03671         DSD      MILPITAS     CA   95035     WALGREENS         BW5700946    9,000    10,000    9,260    9,600   11,000    7,800    9,443    56,660

100101517   008112342   WALGREENS #04415         DSD      MERCED       CA   95340     WALGREENS         BW5700960   36,400    55,000   43,900   48,000   45,300   32,400   43,500   261,000

100103467   008115055   WALGREENS #04331         DSD     MODESTO       CA   95351     WALGREENS         BW5700972   29,700    31,600   27,100   28,100   19,100   23,500   26,517   159,100

100103452   008114900   WALGREENS #03445         DSD     SAN JOSE      CA   95148     WALGREENS         BW5700984   10,930    10,000   10,500   10,900   12,900    7,500   10,455    62,730

100097958   019170530   WALGREENS #04371         DSD     LAFAYETTE     IN   47904     WALGREENS         BW5703574   26,730    29,460   25,600   26,760   25,500   21,500   25,925   155,550

100095144   010232181   WALGREENS #04317         DSD      MENTOR       OH   44060     WALGREENS         BW5704451   11,600    11,700   10,000   11,600   11,900    8,200   10,833    65,000

100099592   037131474   WALGREENS #03990         DSD    COVINGTON      LA   70433     WALGREENS         BW5705352    1,800     1,700   26,300   39,300   28,200   35,300   22,100   132,600

100096155   004099283   WALGREENS #04403         DSD      QUINCY       MA   02169     WALGREENS         BW5705578    8,230     8,430    6,160    7,060    7,000    5,400    7,047    42,280

100103384   020164384   WALGREENS #04086         DSD     LAS VEGAS     NV   89110     WALGREENS         BW5707522   31,800    34,900   33,300   35,300   24,100   18,300   29,617   177,700

100098015   049192823   WALGREENS #04298         DSD      LIVONIA      MI   48152     WALGREENS         BW5708194   19,700    20,700   19,000   21,300   15,400   19,500   19,267   115,600

100103456   008114942   WALGREENS #15398         DSD     STOCKTON      CA   95207     WALGREENS         BW5708384   43,700    42,800   36,500   43,700   37,900   27,000   38,600   231,600

100103799   024113761   WALGREENS #04382         DSD      POMONA       CA   91767     WALGREENS         BW5712016   19,000    17,500   15,300   18,500   22,100   18,600   18,500   111,000

100096157   041152439   WALGREENS #04287         DSD      RAHWAY       NJ   07065     WALGREENS         BW5712953    4,100     4,700    4,500    4,120    4,400    2,600    4,070    24,420

100101461   032146522   WALGREENS #03840         DSD      BURIEN       WA   98166     WALGREENS         BW5716761   22,800    22,900   23,300   22,200   20,600   11,600   20,567   123,400

100100000   018400937   WALGREENS #04291         DSD     ARLINGTON     TX   76010     WALGREENS         BW5716951    2,500    15,100   13,000   13,600   11,300    9,100   10,767    64,600

100100357   018401984   WALGREENS #04374         DSD    SAN ANTONIO    TX   78213     WALGREENS         BW5730266    1,600      100    10,600   17,400   12,900    5,200    7,967    47,800

100101511   032148155   WALGREENS #04353         DSD     PORTLAND      OR   97266     WALGREENS         BW5730925   21,330    22,330   19,730   21,280   20,300   12,900   19,645   117,870

100103677   020164608   WALGREENS #04433         DSD     LAS VEGAS     NV   89121     WALGREENS         BW5737791   51,900    54,300   42,700   68,900   46,300   26,500   48,433   290,600

100100047   018401406   WALGREENS #04395         DSD    FORT WORTH     TX   76140     WALGREENS         BW5739682    6,400    31,900   31,700   30,400   21,300   21,100   23,800   142,800

100103052   008113563   WALGREENS #04231         DSD   SAN FRANCISCO   CA   94110     WALGREENS         BW5742867    9,400     9,300    9,500    9,600   11,300    5,100    9,033    54,200

100101496   008112334   WALGREENS #04243         DSD     REDDING       CA   96002     WALGREENS         BW5742879   41,500    55,300   53,400   53,100   53,800   20,000   46,183   277,100

100100134   038107177   WALGREENS #04538         DSD     HOUSTON       TX   77062     WALGREENS         BW5744013               100     8,300   10,500   11,200    7,600    7,540    37,700

100102418   012111179   WALGREENS #05527         DSD   MORENO VALLEY   CA   92553     WALGREENS         BW5749013   30,000    32,000   29,200   34,800   41,700   22,400   31,683   190,100

100094748   010229138   WALGREENS #04567         DSD    CENTERVILLE    OH   45459     WALGREENS         BW5753341   11,290    12,020   11,900   13,300   14,000   10,800   12,218    73,310

100095146   010232207   WALGREENS #04520         DSD    MIAMISBURG     OH   45342     WALGREENS         BW5753353   28,400    29,780   26,000   28,900   27,100   25,600   27,630   165,780
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100103546   032149252   WALGREENS #04257        DSD          SALEM          OR   97302     WALGREENS         BW5756626   15,400   16,940    15,500   16,100   18,000   12,700   15,773    94,640

100100224   038107953   WALGREENS #04493        DSD      THE WOODLANDS      TX   77382     WALGREENS         BW5758581    1,540     300     10,300   12,320   12,000   10,100    7,760    46,560

100099877   018399709   WALGREENS #04014        DSD        CARROLLTON       TX   75010     WALGREENS         BW5759761   15,790   23,230    22,630   20,700   19,000   11,500   18,808   112,850

100099309   044219055   WALGREENS #04584        DSD        WENTZVILLE       MO   63385     WALGREENS         BW5763265     100    16,400    22,300   25,800   28,200   22,500   19,217   115,300

100101493   032146779   WALGREENS #04229        DSD          SALEM          OR   97305     WALGREENS         BW5775664   18,700   17,700    19,000   18,100   11,000    9,000   15,583    93,500

100097657   052222232   WALGREENS #04196        DSD         JACKSON         MS   39206     WALGREENS         BW5782291   14,700   12,000    13,200   13,600   11,600   14,500   13,267    79,600

100094978   010229708   WALGREENS #04521        DSD      HUBER HEIGHTS      OH   45424     WALGREENS         BW5783546   15,900   15,800    16,600   16,100   14,600   11,000   15,000    90,000

100095419   023145664   WALGREENS #10728        DSD        OCEANSIDE        NY   11572     WALGREENS         BW5793422    4,500    4,000     5,060    3,360    5,200    2,600    4,120    24,720

100097276   052220236   WALGREENS #04589        DSD          PELHAM         AL   35124     WALGREENS         BW5795262   14,000   11,500    11,600   14,200   10,900    9,700   11,983    71,900

100097990   049192575   WALGREENS #04412        DSD           TROY          MI   48083     WALGREENS         BW5795755   10,700   11,700    11,800   10,500   13,500   14,000   12,033    72,200

100098010   049192773   WALGREENS #04430        DSD          INKSTER        MI   48141     WALGREENS         BW5795767   22,700   21,900    24,600   22,500   19,500   14,000   20,867   125,200

100098039   049193060   WALGREENS #04501        DSD          DETROIT        MI   48236     WALGREENS         BW5795779   16,100   16,900    16,000   21,100   15,500   13,600   16,533    99,200

100097927   044217299   WALGREENS #04447        DSD        NEW ALBANY       IN   47150     WALGREENS         BW5795945    3,000   13,700    16,100   16,700   21,000   22,500   15,500    93,000

100098290   019171348   WALGREENS #04556        DSD        GREENDALE        WI   53129     WALGREENS         BW5795957   10,600    9,600    10,200   10,200   12,300    5,000    9,650    57,900

100103199   046055426   WALGREENS #04324        DSD      PEMBROKE PINES     FL   33027     WALGREENS         BW5800710     300      100      4,100    4,800    6,300    3,200    3,133    18,800

100097852   019169680   WALGREENS #04486        DSD       SCHERERVILLE      IN   46375     WALGREENS         BW5801445   17,400   17,100    15,140   17,700   23,640   11,600   17,097   102,580

100101203   046044727   WALGREENS #04449        DSD     FERNANDINA BEACH    FL   32034     WALGREENS         BW5801914     200      400      5,200    9,100   24,000   10,500    8,233    49,400

100100036   018401299   WALGREENS #04314        DSD        FORT WORTH       TX   76116     WALGREENS         BW5811319    3,600   17,500    17,100   15,800    6,700   11,100   11,967    71,800

100102956   046054072   WALGREENS #04400        DSD          HUDSON         FL   34667     WALGREENS         BW5812424     200      200      5,600   35,300   31,000   28,000   16,717   100,300

100096129   004099101   WALGREENS #03468        DSD        PAWTUCKET        RI   02860     WALGREENS         BW5821081   13,490   14,040    14,030   13,220   18,100    9,700   13,763    82,580

100074250   041112490   WAVERLY PROFESSIONAL PHCY(Z)       BALTIMORE        MD   21218     INDEPENDENT       BW5821485              200       100               600               300       900

100097979   049192468   WALGREENS #04452        DSD       CHESTERFIELD      MI   48051     WALGREENS         BW5830903   20,200   20,200    18,600   19,300   15,200   17,000   18,417   110,500

100103058   046054643   WALGREENS #04378        DSD        ROCKLEDGE        FL   32955     WALGREENS         BW5832806                       3,000   12,300   15,200   12,000   10,625    42,500

100102017   024120659   WALGREENS #05702        DSD         LA PUENTE       CA   91744     WALGREENS         BW5835268   17,400   15,200    16,300   15,500   20,000   12,000   16,067    96,400

100104240   012002295   WALGREENS #13812        DSD         LA MIRADA       CA   90638     WALGREENS         BW5835270   14,800   15,900    12,500   15,100   18,200   11,200   14,617    87,700

100103800   024121376   WALGREENS #04474        DSD         BURBANK         CA   91505     WALGREENS         BW5835282   10,900   11,700    12,800   13,900   10,600   13,800   12,283    73,700

100100413   037132910   WALGREENS #04424        DSD      CORPUS CHRISTI     TX   78416     WALGREENS         BW5836816     500      900     32,700   50,100   38,300   38,000   26,750   160,500

100102339   046049916   WALGREENS #04657        DSD       PONTE VEDRA       FL   32082     WALGREENS         BW5837084     140      620      7,000    8,600    8,100   16,600    6,843    41,060

100098350   019171942   WALGREENS #04537        DSD        MILWAUKEE        WI   53222     WALGREENS         BW5837591   21,600   24,900    18,700   21,000   21,700   18,000   20,983   125,900

100089269   019155895   WALGREENS #04537 340B              MILWAUKEE        WI   53222   PHS 340B HOSPITAL   BW5837591              500                500                        500      1,000

100104348   019181396   WALGREENS #04537 AHC 340B 100      MILWAUKEE        WI   53222   PHS 340B HOSPITAL   BW5837591                        100                                 100       100

100103075   046054734   WALGREENS #04619        DSD         SEBASTIAN       FL   32958     WALGREENS         BW5837642      30      (100)    6,330   14,360   15,600   12,500    8,120    48,720

100094681   010228866   WALGREENS #04130        DSD     CLEVELAND HEIGHTS   OH   44118     WALGREENS         BW5837945    4,400    2,800     3,130    3,700    4,300    3,500    3,638    21,830

100094896   041147116   WALGREENS #04429        DSD        GLENOLDEN        PA   19036     WALGREENS         BW5838947    7,900    7,800     8,000    8,500    9,900   11,300    8,900    53,400

100100376   018402172   WALGREENS #04551        DSD        SAN ANTONIO      TX   78230     WALGREENS         BW5840651     980     1,000    10,500   11,300   14,500    5,500    7,297    43,780

100099881   018399741   WALGREENS #04577        DSD          PLANO          TX   75023     WALGREENS         BW5842605   10,120   12,820    11,200   14,200   14,100    9,200   11,940    71,640

100100019   018401125   WALGREENS #04132        DSD          HURST          TX   76053     WALGREENS         BW5842617   10,400   45,300    40,500   40,900   46,800   26,500   35,067   210,400

100096160   004099309   WALGREENS #04535        DSD         RANDOLPH        MA   02368     WALGREENS         BW5843087    6,500    7,530     6,100    7,130    5,600    3,000    5,977    35,860

100098237   021169680   WALGREENS #03876        DSD          MARION         IA   52302     WALGREENS         BW5846209   13,500   13,200    13,000   13,600   13,400   11,500   13,033    78,200

100097391   044215103   WALGREENS #04695        DSD         FRANKLIN        TN   37069     WALGREENS         BW5852149    4,500    4,600     4,000    6,500    6,600    4,000    5,033    30,200

100099332   021170019   WALGREENS #04224        DSD       INDEPENDENCE      MO   64055     WALGREENS         BW5862859    4,200   18,900    22,600   25,800   18,500   22,300   18,717   112,300

100095512   041150706   WALGREENS #03681        DSD         RICHMOND        VA   23225     WALGREENS         BW5862861    9,690    9,690    11,400    9,200   10,800    7,200    9,663    57,980

100094804   023138529   WALGREENS #04319        DSD         ELMHURST        NY   11373     WALGREENS         BW5863584     900     2,130     1,800    1,400    2,000    2,300    1,755    10,530

100099603   037131581   WALGREENS #04566        DSD        LAFAYETTE        LA   70503     WALGREENS         BW5864093     100     1,500    11,600   25,200   29,700   22,100   15,033    90,200
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100096009   004098244   WALGREENS #04571         DSD       LAWRENCE         MA   01843     WALGREENS         BW5868356    2,900    3,000    2,700    2,900    2,200    2,000    2,617    15,700

100103404   020164467   WALGREENS #03842         DSD       LAS VEGAS        NV   89123     WALGREENS         BW5869500   45,900   47,100   44,800   49,700   50,000   12,800   41,717   250,300

100095479   041150615   WALGREENS #04616         DSD      PORTSMOUTH        VA   23707     WALGREENS         BW5872230   19,100   20,300   19,900   19,600   18,200   17,700   19,133   114,800

100094749   010229146   WALGREENS #04613         DSD        DAYTON          OH   45405     WALGREENS         BW5873232   15,060   12,700   16,500   15,500   22,500   13,500   15,960    95,760

100102552   012111518   WALGREENS #05744         DSD        ANAHEIM         CA   92806     WALGREENS         BW5876276   43,900   42,600   43,700   41,200   39,000   41,400   41,967   251,800

100099562   037131177   WALGREENS #04450         DSD     NEW ORLEANS        LA   70118     WALGREENS         BW5877658     200      640     6,000    5,700    8,400    5,800    4,457    26,740

100100246   037132431   WALGREENS #04839         DSD         KATY           TX   77450     WALGREENS         BW5878066     600      720     3,700    6,820    5,000    3,000    3,307    19,840

100095098   010231985   WALGREENS #04731         DSD        MADEIRA         OH   45243     WALGREENS         BW5878799    4,000    4,600    4,500    5,700    5,100    5,000    4,817    28,900

100100138   038107219   WALGREENS #04515         DSD       HOUSTON          TX   77063     WALGREENS         BW5879082     620      230     3,930    1,630    3,200    1,000    1,768    10,610

100099886   018399790   WALGREENS #04578         DSD    FLOWER MOUND        TX   75028     WALGREENS         BW5887128    8,700   16,020   15,800   17,800   12,000   17,500   14,637    87,820

100103102   008113670   WALGREENS #04570         DSD     SAN FRANCISCO      CA   94116     WALGREENS         BW5889401    5,300    4,900    7,100    6,900    7,200    2,500    5,650    33,900

100097983   049192500   WALGREENS #04748         DSD       ROYAL OAK        MI   48073     WALGREENS         BW5893361   23,400   24,800   23,000   24,400   40,000   33,100   28,117   168,700

100098167   049194050   WALGREENS #04726         DSD     GRAND RAPIDS       MI   49548     WALGREENS         BW5893373   24,700   26,500   23,100   20,000   23,000   17,600   22,483   134,900

100101967   046047340   WALGREENS #04176         DSD    BOYNTON BEACH       FL   33426     WALGREENS         BW5903477     100              3,660    6,330    8,100    5,200    4,678    23,390

100099794   018398883   WALGREENS #04603         DSD     OKLAHOMA CITY      OK   73159     WALGREENS         BW5910826     200             29,500   35,100   29,200   23,500   23,500   117,500

100103324   020164111   WALGREENS #04650         DSD        RUIDOSO         NM   88345     WALGREENS         BW5912870   18,830   22,100   21,200   21,330   22,600   16,500   20,427   122,560

100099946   018400390   WALGREENS #04624         DSD        DALLAS          TX   75210     WALGREENS         BW5921918   26,700   48,600   47,200   48,100   37,500   24,000   38,683   232,100

100109953   018405530   WALGREENS #04624 340B               DALLAS          TX   75210   PHS 340B HOSPITAL   BW5921918                                500                        500       500

100096250   004100255   WALGREENS #03251         DSD       WALTHAM          MA   02453     WALGREENS         BW5925978    5,300    4,700    5,400    4,300    6,700    3,000    4,900    29,400

100098462   019172866   WALGREENS #04533         DSD       OSHKOSH          WI   54901     WALGREENS         BW5926831   24,760   18,600   15,220   20,560   24,900   13,560   19,600   117,600

100102039   046047589   WALGREENS #04767         DSD    DEERFIELD BEACH     FL   33442     WALGREENS         BW5927908                      3,000    2,000    3,500    3,000    2,875    11,500

100100464   018402693   WALGREENS #04550         DSD      SAN MARCOS        TX   78666     WALGREENS         BW5932656    5,100   26,000   22,800   26,000   20,400   11,500   18,633   111,800

100101455   032146449   WALGREENS #03801         DSD      OREGON CITY       OR   97045     WALGREENS         BW5932771   18,460   19,320   18,460   20,860   23,400   12,800   18,883   113,300

100103797   012112227   WALGREENS #04354         DSD   HUNTINGTON BEACH     CA   92647     WALGREENS         BW5933468   18,900   19,500   18,460   19,590   17,500   20,300   19,042   114,250

100101829   012108910   WALGREENS #06903         DSD       LAKEWOOD         CA   90712     WALGREENS         BW5933470   35,600   39,300   38,900   39,500   37,200   30,900   36,900   221,400

100102718   020162388   WALGREENS #04434         DSD       GLENDALE         AZ   85310     WALGREENS         BW5939648    9,900    8,500    9,900    8,400   12,900    6,500    9,350    56,100

100100513   018403188   WALGREENS #04819         DSD       LUBBOCK          TX   79416     WALGREENS         BW5940514     300    24,680   31,600   31,900   28,800   23,500   23,463   140,780

100099965   018400580   WALGREENS #04459         DSD        DALLAS          TX   75236     WALGREENS         BW5940552   31,300   48,600   44,800   46,700   46,100   36,000   42,250   253,500

100099345   021170142   WALGREENS #04235         DSD      KANSAS CITY       MO   64114     WALGREENS         BW5941770    2,000   12,800   16,300   14,300   19,300   12,000   12,783    76,700

100098405   019172494   WALGREENS #04805         DSD        MADISON         WI   53716     WALGREENS         BW5946871   17,100   17,230   15,190   19,160   18,700   14,600   16,997   101,980

100103864   019179770   WALGREENS # 04805 340B              MADISON         WI   53716   PHS 340B HOSPITAL   BW5946871     100                                                   100       100

100102967   046054148   WALGREENS #04480         DSD       OLDSMAR          FL   34677     WALGREENS         BW5947835     700      300     1,900   10,400    8,300    9,100    5,117    30,700

100095680   041151191   WALGREENS #04527         DSD     VIRGINIA BEACH     VA   23455     WALGREENS         BW5949625    8,500    8,400    7,430    9,100    8,800    4,600    7,805    46,830

100098030   049192971   WALGREENS #04585         DSD       RIVERVIEW        MI   48193     WALGREENS         BW5952204   38,000   41,210   43,100   43,750   39,200   35,200   40,077   240,460

100094308   049189803   WALGREENS #04585 340B              RIVERVIEW        MI   48193   PHS 340B HOSPITAL   BW5952204     100      100      100               500               200       800

100097989   049192567   WALGREENS #04308         DSD   SAINT CLAIR SHORES   MI   48082     WALGREENS         BW5952216   34,000   36,100   34,200   38,000   40,700   26,700   34,950   209,700

100098021   049192880   WALGREENS #04498         DSD        TAYLOR          MI   48180     WALGREENS         BW5952230   14,900   12,900   17,100   16,400   18,200   16,300   15,967    95,800

100098026   049192930   WALGREENS #04631         DSD        WAYNE           MI   48184     WALGREENS         BW5952254   33,900   33,900   33,100   33,400   41,100   10,100   30,917   185,500

100095578   010232819   WALGREENS #04893         DSD      SHARONVILLE       OH   45241     WALGREENS         BW5953523    7,700    6,700    6,100    6,600    8,700    5,600    6,900    41,400

100103284   008114140   WALGREENS #04659         DSD       HAYWARD          CA   94544     WALGREENS         BW5953573   19,300   20,400   19,700   23,200   22,300   15,800   20,117   120,700

100099830   018399238   WALGREENS #04723         DSD        SAPULPA         OK   74066     WALGREENS         BW5958511     500    16,100   39,300   45,600   44,700   24,500   28,450   170,700

100099787   018398818   WALGREENS #04673         DSD      WARR ACRES        OK   73122     WALGREENS         BW5958523              900    19,200   21,000   15,500   20,000   15,320    76,600

100095572   010232777   WALGREENS #04202         DSD      SEVEN HILLS       OH   44131     WALGREENS         BW5961063   11,000   11,300    9,100   10,300   13,200    6,100   10,167    61,000

100103211   046055475   WALGREENS #03402         DSD    PEMBROKE PINES      FL   33029     WALGREENS         BW5963853      60      500     1,900    3,000    3,900    3,100    2,077    12,460
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100103115   046054916   WALGREENS #04384       DSD       HIALEAH        FL   33010   WALGREENS     BW5963865              400      800     4,700    5,300    4,300    3,100    15,500

100101529   038108886   WALGREENS #04469       DSD       AURORA         CO   80017   WALGREENS     BW5964463    9,500    7,900    8,700    9,100    9,300    9,600    9,017    54,100

100098580   025090621   WALGREENS #04697       DSD       FRIDLEY        MN   55432   WALGREENS     BW5968271    8,100    9,200    7,500    7,000    8,600    4,600    7,500    45,000

100100512   018403170   WALGREENS #04822       DSD       LUBBOCK        TX   79414   WALGREENS     BW5976595     800    37,700   44,920   46,100   26,500   22,500   29,753   178,520

100100086   038106757   WALGREENS #04745       DSD      HOUSTON         TX   77005   WALGREENS     BW5978741     900     1,620    9,900   14,600   13,200    6,400    7,770    46,620

100100077   018401703   WALGREENS #04606       DSD        WACO          TX   76710   WALGREENS     BW5980861    7,600   44,800   42,100   42,100   32,300   19,100   31,333   188,000

100095155   041149559   WALGREENS #04351       DSD     MIDLOTHIAN       VA   23113   WALGREENS     BW5981623    9,400   10,400    9,000    9,600   10,100    6,000    9,083    54,500

100101795   046046821   WALGREENS #04178       DSD   FORT LAUDERDALE    FL   33312   WALGREENS     BW5983691              500     2,800    5,460    5,300    3,000    3,412    17,060

100098058   049193250   WALGREENS #04601       DSD       PONTIAC        MI   48342   WALGREENS     BW5985013   26,000   31,700   32,600   32,600    9,900    3,500   22,717   136,300

100099949   018400424   WALGREENS #04747       DSD       DALLAS         TX   75216   WALGREENS     BW5985265   29,000   35,700   45,500   45,200   40,000   22,600   36,333   218,000

100095595   010232868   WALGREENS #04685       DSD    SOUTH EUCLID      OH   44121   WALGREENS     BW5985998    2,500    4,600    4,400    4,000    4,400    3,960    3,977    23,860

100100078   018401711   WALGREENS #04607       DSD    BEVERLY HILLS     TX   76711   WALGREENS     BW5986510    3,100   18,900   17,200   17,500   19,100    5,200   13,500    81,000

100103398   020164434   WALGREENS #04579       DSD      LAS VEGAS       NV   89121   WALGREENS     BW5987144   24,500   23,600   23,000   27,200   23,700   17,000   23,167   139,000

100101682   046046524   WALGREENS #03721       DSD        MIAMI         FL   33177   WALGREENS     BW5988134     700     1,200    2,600    6,700    6,600    4,500    3,717    22,300

100095378   041149740   WALGREENS #04615       DSD   NEWPORT NEWS       VA   23602   WALGREENS     BW5989174    8,600    9,100    7,960    9,700   11,400    5,700    8,743    52,460

100098360   019172049   WALGREENS #04827       DSD     GREENFIELD       WI   53228   WALGREENS     BW5992955    9,100   10,200    8,700   10,200   14,900    3,500    9,433    56,600

100103537   032149161   WALGREENS #04495       DSD      PORTLAND        OR   97210   WALGREENS     BW5993349    7,600    9,700    8,000    8,500    8,000    5,000    7,800    46,800

100100409   037132878   WALGREENS #04744       DSD   CORPUS CHRISTI     TX   78412   WALGREENS     BW5998440     500     1,400   14,660   26,100   23,100   11,200   12,827    76,960

100103361   038110148   WALGREENS #04610       DSD       AURORA         CO   80013   WALGREENS     BW6000385   11,000   11,300   12,700   12,700   16,600    8,500   12,133    72,800

100100539   044219329   WALGREENS #04467       DSD     SAINT LOUIS      MO   63021   WALGREENS     BW6001781     100     5,900    9,300    9,300    7,700    5,700    6,333    38,000

100103536   032149153   WALGREENS #04296       DSD      PORTLAND        OR   97202   WALGREENS     BW6002567   12,600   16,500   13,600   14,300   14,300    6,800   13,017    78,100

100100511   018403162   WALGREENS #04821       DSD       LUBBOCK        TX   79413   WALGREENS     BW6002757     200    12,800   20,800   19,900   25,800   16,900   16,067    96,400

100103219   046055491   WALGREENS #04654       DSD     HOMESTEAD        FL   33030   WALGREENS     BW6008800     100      200     2,200    8,200    9,200    6,700    4,433    26,600

100101495   046045708   WALGREENS #03943       DSD        MIAMI         FL   33130   WALGREENS     BW6008812     700     1,360    2,000    5,500    4,900    4,200    3,110    18,660

100099910   018400036   WALGREENS #04663       DSD      MCKINNEY        TX   75070   WALGREENS     BW6017013   24,600   35,900   30,400   29,700   27,200   19,200   27,833   167,000

100099915   018400085   WALGREENS #04587       DSD   HIGHLAND VILLAGE   TX   75077   WALGREENS     BW6017025   11,900   17,980   16,420   14,200   10,700   10,600   13,633    81,800

100100044   018401372   WALGREENS #04858       DSD     FORT WORTH       TX   76133   WALGREENS     BW6017037    8,300   41,500   37,700   36,700   25,900   26,500   29,433   176,600

100094449   010228213   WALGREENS #04776       DSD     BARBERTON        OH   44203   WALGREENS     BW6026668   21,460   21,190   25,130   25,990   14,200   22,300   21,712   130,270

100094518   023137828   WALGREENS #04362       DSD      BROOKLYN        NY   11217   WALGREENS     BW6027254     800     2,600    1,000    1,100    1,200     900     1,267     7,600

100099920   018400135   WALGREENS #04818       DSD      ROWLETT         TX   75088   WALGREENS     BW6032356   16,100   27,500   23,800   23,230   25,400   13,500   21,588   129,530

100103206   008113936   WALGREENS #04050       DSD       ALAMEDA        CA   94501   WALGREENS     BW6033029   15,630   16,760   16,730   16,060   15,900   13,000   15,680    94,080

100103008   008113449   WALGREENS #04275       DSD    SAN FRANCISCO     CA   94105   WALGREENS     BW6033079    3,800    2,600    2,700    3,900    3,200    1,600    2,967    17,800

100100015   018401083   WALGREENS #04634       DSD     COLLEYVILLE      TX   76034   WALGREENS     BW6040000    2,400   10,980   11,800   11,500    6,500    7,500    8,447    50,680

100099802   018398966   WALGREENS #04703       DSD       LAWTON         OK   73505   WALGREENS     BW6042460     500    16,900   40,850   46,190   33,100   30,100   27,940   167,640

100094939   041147132   WALGREENS #04617       DSD      HAMPTON         VA   23666   WALGREENS     BW6044743   19,000   18,300   15,600   17,100   20,300   14,100   17,400   104,400

100102309   020161406   WALGREENS #04422       DSD       PHOENIX        AZ   85040   WALGREENS     BW6053502    7,200    8,600    6,400    6,600    9,300    4,200    7,050    42,300

100101553   038108993   WALGREENS #04721       DSD       PUEBLO         CO   81005   WALGREENS     BW6057790   29,200   34,900   29,200   33,800   33,400   28,300   31,467   188,800

100094613   055033233   WALGREENS #04546       DSD     CHARLOTTE        NC   28215   WALGREENS     BW6057992   11,300   12,200   11,700   10,600   12,300    8,500   11,100    66,600

100102945   046054015   WALGREENS #04525       DSD      ORLANDO         FL   32825   WALGREENS     BW6065254     100      360     3,180    6,660    6,230    6,300    3,805    22,830

100056061   046004119   WELAKA PHARMACY, LLC             WELAKA         FL   32193   INDEPENDENT   BW6065266   11,900   11,400   12,300    9,600    5,000            10,040    50,200

100094475   023137562   WALGREENS #03495       DSD     BETHLEHEM        PA   18017   WALGREENS     BW6067602    6,300    5,700    5,200    4,000    5,900    5,800    5,483    32,900

100099950   018400432   WALGREENS #04705       DSD       DALLAS         TX   75217   WALGREENS     BW6068452   17,340   32,100   34,240   36,700   23,100   19,500   27,163   162,980

100103127   046054973   WALGREENS #04385       DSD       HIALEAH        FL   33012   WALGREENS     BW6071308     600      100      900     2,300    1,700    2,000    1,267     7,600

100102522   046051904   WALGREENS #04708       DSD     HAINES CITY      FL   33844   WALGREENS     BW6073554     300      200    10,700   15,200   11,900   16,400    9,117    54,700
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100102929   046053926   WALGREENS #03862         DSD        ORLANDO           FL   32822     WALGREENS         BW6073566     200      100     4,600    7,500    6,300    6,200    4,150    24,900

100096254   004100289   WALGREENS #03704         DSD        WARWICK           RI   02886     WALGREENS         BW6075231    9,630    9,200   10,230    9,360   11,500    4,200    9,020    54,120

100102796   046053280   WALGREENS #04648         DSD         TAVARES          FL   32778     WALGREENS         BW6077057     700      800    11,600   12,500    5,400   10,100    6,850    41,100

100099961   018400549   WALGREENS #04817         DSD         DALLAS           TX   75231     WALGREENS         BW6078782    7,000    9,100    9,000    9,500    7,000    6,000    7,933    47,600

100100042   018401356   WALGREENS #04857         DSD       FORT WORTH         TX   76132     WALGREENS         BW6078794    3,000   13,500   12,200   12,500   10,700   10,000   10,317    61,900

100097288   052220350   WALGREENS #04846         DSD       BIRMINGHAM         AL   35215     WALGREENS         BW6079582   20,330   22,000   20,100   23,400   12,700   20,000   19,755   118,530

100100379   018402206   WALGREENS #04274         DSD       SAN ANTONIO        TX   78232     WALGREENS         BW6079695     720      400     8,600    9,700    8,700    5,200    5,553    33,320

100100459   018402644   WALGREENS #04823         DSD       ROUND ROCK         TX   78664     WALGREENS         BW6079722    3,000   14,100   15,800   13,200   13,300    8,000   11,233    67,400

100098321   019171652   WALGREENS #04720         DSD       MILWAUKEE          WI   53206     WALGREENS         BW6083947   11,600   13,600   10,100   13,500   10,000    9,600   11,400    68,400

100097553   044215855   WALGREENS #04628         DSD         MEMPHIS          TN   38104     WALGREENS         BW6084622   15,100   12,100   15,600   14,500   14,100   16,000   14,567    87,400

100098006   049192732   WALGREENS #04367         DSD    DEARBORN HEIGHTS      MI   48127     WALGREENS         BW6086169   15,300   15,400   17,700   15,300   13,600    4,600   13,650    81,900

100100427   037133058   WALGREENS #04690         DSD        HARLINGEN         TX   78550     WALGREENS         BW6089785     200      100     5,200    8,200    9,000      -      3,783    22,700

100099894   018399873   WALGREENS #04662         DSD        GARLAND           TX   75041     WALGREENS         BW6090360   24,300   41,100   35,360   41,800   38,200   19,600   33,393   200,360

100101580   020160028   WALGREENS #04854         DSD     NORTH LAS VEGAS      NV   89032     WALGREENS         BW6094041   21,930   22,900   21,500   24,700   19,300   23,600   22,322   133,930

100096040   004098467   WALGREENS #04689         DSD       MANCHESTER         NH   03103     WALGREENS         BW6099205    6,100    6,700    6,100    5,800    8,000    3,800    6,083    36,500

100052748   024071159   *WEST ARCADIA PRESCRIPTION           ARCADIA          CA   91007     INDEPENDENT       BW6101125    2,400    3,000    1,500    1,900    1,600             2,080    10,400

100100048   018401414   WALGREENS #04692         DSD   NORTH RICHLAND HILLS   TX   76148     WALGREENS         BW6101593    9,200   38,900   38,280   43,900   29,500   29,600   31,563   189,380

100102563   046052100   WALGREENS #04091         DSD       TALLAHASSEE        FL   32304     WALGREENS         BW6102052              100     2,200    4,800    8,100    8,000    4,640    23,200

100101613   008112417   WALGREENS #04788         DSD       CARSON CITY        NV   89701     WALGREENS         BW6103838   26,930   29,330   27,600   30,060   24,300   28,200   27,737   166,420

100109145   008118034   WALGREENS #04788 340B              CARSON CITY        NV   89701    PHS 340B CLINIC    BW6103838     500               500                                 500      1,000

100098406   019172502   WALGREENS #04830         DSD         MONONA           WI   53716     WALGREENS         BW6105476   14,800   14,800   13,000   14,000   15,000   11,500   13,850    83,100

100099247   044218446   WALGREENS #04834         DSD       SAINT LOUIS        MO   63113     WALGREENS         BW6109335             7,500    8,500   12,100   12,500    8,100    9,740    48,700

100099905   018399980   WALGREENS #04746         DSD          IRVING          TX   75062     WALGREENS         BW6110390   15,300   21,180   16,740   20,200   16,200   10,500   16,687   100,120

100097976   049192435   WALGREENS #04453         DSD         MACOMB           MI   48044     WALGREENS         BW6110643   12,600   12,100   10,900   11,500    9,000   12,000   11,350    68,100

100103387   020164392   WALGREENS #03872         DSD        LAS VEGAS         NV   89117     WALGREENS         BW6110770   25,800   28,000   25,600   28,000   19,700   20,100   24,533   147,200

100099702   018398099   WALGREENS #04794         DSD         CONWAY           AR   72032     WALGREENS         BW6111001   19,400   23,300   29,500   31,800   28,000   22,000   25,667   154,000

100100488   018402933   WALGREENS #04836         DSD         AUSTIN           TX   78750     WALGREENS         BW6111025    4,400   11,100   13,000    9,800   12,600    7,000    9,650    57,900

100099358   021170274   WALGREENS #04466         DSD      SAINT JOSEPH        MO   64506     WALGREENS         BW6111568    3,000   24,400   25,500   28,600   32,100   19,000   22,100   132,600

100101799   046046839   WALGREENS #04569         DSD    FORT LAUDERDALE       FL   33312     WALGREENS         BW6114906     600      800     7,400   12,400   12,800    8,700    7,117    42,700

100097428   044215467   WALGREENS #04904         DSD        NASHVILLE         TN   37204     WALGREENS         BW6118740   17,300   16,100   16,700   17,500   17,800   16,200   16,933   101,600

100097649   052222174   WALGREENS #11111         DSD         MADISON          MS   39110     WALGREENS         BW6118764   14,200   12,200   12,300   10,500   13,200    8,300   11,783    70,700

100102571   046052142   WALGREENS #04311         DSD       TALLAHASSEE        FL   32309     WALGREENS         BW6120656     700      700     3,500    8,300    8,100    7,500    4,800    28,800

100098064   049193318   WALGREENS #04454         DSD          NOVI            MI   48375     WALGREENS         BW6124793    7,300    9,300    6,600    8,900    9,600    7,700    8,233    49,400

100099526   021171819   WALGREENS #04531         DSD        NORFOLK           NE   68701     WALGREENS         BW6126355    8,000   11,100    8,200    9,100   11,200    7,800    9,233    55,400

100095679   041151183   WALGREENS #04446         DSD      VIRGINIA BEACH      VA   23452     WALGREENS         BW6126824   11,100   12,800   11,500   10,100   13,300    8,800   11,267    67,600

100094614   055033241   WALGREENS #04547         DSD       CHARLOTTE          NC   28262     WALGREENS         BW6126862   22,180   21,500   18,000   20,780   19,500   12,200   19,027   114,160

100097746   044217083   WALGREENS #04448         DSD     BOWLING GREEN        KY   42101     WALGREENS         BW6130429    7,200   29,700   30,500   32,700   33,700   22,700   26,083   156,500

100101541   046045930   WALGREENS #04638         DSD      JACKSONVILLE        FL   32205     WALGREENS         BW6137942     100      300     9,200   10,800   10,000   14,000    7,400    44,400

100094688   041146530   WALGREENS #04921         DSD    COLONIAL HEIGHTS      VA   23834     WALGREENS         BW6138312   15,100   17,500   15,600   16,130   19,200   10,800   15,722    94,330

100103049   046054593   WALGREENS #04442         DSD        KISSIMMEE         FL   34746     WALGREENS         BW6141395     500      100     4,000    4,700    7,100    4,600    3,500    21,000

100101586   020160051   WALGREENS #04856         DSD        LAS VEGAS         NV   89121     WALGREENS         BW6141585   24,700   23,700   19,600   26,300   26,500   18,600   23,233   139,400

100098398   019172429   WALGREENS #05087         DSD        FITCHBURG         WI   53711     WALGREENS         BW6142284   14,000   17,000   12,100   14,030   14,100   13,000   14,038    84,230

100103866   019179796   WALGREENS # 05087 340B              FITCHBURG         WI   53711   PHS 340B HOSPITAL   BW6142284                       100      500                        300       600

100099557   037131128   WALGREENS #04304         DSD      NEW ORLEANS         LA   70112     WALGREENS         BW6145242                      2,600    3,000    6,300    2,000    3,475    13,900
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100100038   018401315   WALGREENS #04437        DSD         HALTOM CITY      TX   76117     WALGREENS         BW6151562    6,000   27,680   27,400   27,000   20,600   13,800   20,413   122,480

100099956   018400499   WALGREENS #04203        DSD           DALLAS         TX   75224     WALGREENS         BW6151574   17,300   26,200   24,600   27,000   12,000    6,000   18,850   113,100

100098269   019171132   WALGREENS #05002        DSD      MENOMONEE FALLS     WI   53051     WALGREENS         BW6153174   23,800   25,700   22,200   23,500   23,200   23,700   23,683   142,100

100099331   021170001   WALGREENS #04236        DSD        INDEPENDENCE      MO   64052     WALGREENS         BW6153667    5,700   23,900   24,900   31,000   26,800   20,800   22,183   133,100

100109360   021175786   WALGREENS #04236 340B              INDEPENDENCE      MO   64052   PHS 340B HOSPITAL   BW6153667    1,000     700     1,000     100     1,100              780      3,900

100108064   021174680   WALGREENS #04236 340B              INDEPENDENCE      MO   64052   PHS 340B HOSPITAL   BW6153667     800      500      300      300      500               480      2,400

100100510   018403154   WALGREENS #04820        DSD          LUBBOCK         TX   79412     WALGREENS         BW6154481     700    26,200   34,100   35,600   27,600   20,000   24,033   144,200

100098073   049193409   WALGREENS #04676        DSD            FLINT         MI   48507     WALGREENS         BW6156360   31,000   35,400   36,400   36,100   29,800   30,900   33,267   199,600

100094876   010229500   WALGREENS #04684        DSD      GARFIELD HEIGHTS    OH   44125     WALGREENS         BW6156396    8,200    8,000    9,000    7,400   10,500    6,700    8,300    49,800

100072170   021140251   WESLEY MEDICAL CENTER     #712        WICHITA        KS   67214       HOSPITAL        BW6156738    9,900    9,200    9,750   11,100   11,720    9,880   10,258    61,550

100103254   008114058   WALGREENS #03770        DSD         EL CERRITO       CA   94530     WALGREENS         BW6160117   28,100   26,100   24,900   27,000   24,300   24,100   25,750   154,500

100103377   008114462   WALGREENS #04491        DSD          SAN PABLO       CA   94806     WALGREENS         BW6160129   19,400   20,100   16,300   17,800   19,000   17,100   18,283   109,700

100100498   018403030   WALGREENS #04134        DSD           AUSTIN         TX   78759     WALGREENS         BW6160167    9,400   33,000   30,430   32,930   28,300   18,860   25,487   152,920

100101612   020160093   WALGREENS #05015        DSD          LAS VEGAS       NV   89123     WALGREENS         BW6160561   15,000   15,600   16,000   15,700   14,100   18,700   15,850    95,100

100094615   055033258   WALGREENS #04548        DSD         CHARLOTTE        NC   28212     WALGREENS         BW6160725    6,700    8,760    8,630    8,000    6,200    8,800    7,848    47,090

100102627   046052407   WALGREENS #04913        DSD           DESTIN         FL   32541     WALGREENS         BW6164824     700      800     4,700    4,300    8,700    8,100    4,550    27,300

100103634   032150854   WALGREENS #04760        DSD           TACOMA         WA   98444     WALGREENS         BW6167945   10,500   11,000   12,500   10,700   16,000   10,500   11,867    71,200

100095076   004093484   WALGREENS #04968        DSD          LOCKPORT        NY   14094     WALGREENS         BW6168012   23,200   22,300   21,900   25,000   27,400   16,700   22,750   136,500

100100249   037132464   WALGREENS #04837        DSD        MISSOURI CITY     TX   77459     WALGREENS         BW6168050     500     1,600   15,900   24,340   16,600    8,800   11,290    67,740

100101577   046046136   WALGREENS #04847        DSD         LYNN HAVEN       FL   32444     WALGREENS         BW6168240     700      600    21,790   26,160   42,700   33,500   20,908   125,450

100095521   041150797   WALGREENS #04488        DSD          RICHMOND        VA   23223     WALGREENS         BW6168579   20,500   18,700   19,520   16,200   16,200   15,000   17,687   106,120

100095802   004094177   WALGREENS #04358        DSD          AGAWAM          MA   01001     WALGREENS         BW6169076    2,600    3,730    2,600    3,500    3,500    1,600    2,922    17,530

100088466   004088575   WALGREENS #04358 (340B)              AGAWAM          MA   01001    PHS 340B CLINIC    BW6169076     500                                                   500       500

100100035   018401281   WALGREENS #04785        DSD         FORT WORTH       TX   76114     WALGREENS         BW6169723    1,600   18,600   17,100   14,340   14,000    7,500   12,190    73,140

100100519   018403246   WALGREENS #04875        DSD           ABILENE        TX   79605     WALGREENS         BW6169735    1,800   19,500   46,000   56,900   21,100   29,600   29,150   174,900

100097965   049192328   WALGREENS #04795        DSD         EASTPOINTE       MI   48021     WALGREENS         BW6171209   44,000   49,600   45,800   51,500   41,000   37,600   44,917   269,500

100102949   046054049   WALGREENS #04554        DSD          ORLANDO         FL   32825     WALGREENS         BW6175598     200      200     8,200   10,900   12,300    9,700    6,917    41,500

100102635   046052449   WALGREENS #04848        DSD      FORT WALTON BEACH   FL   32548     WALGREENS         BW6175601     100      700     4,920    8,700   11,700   10,500    6,103    36,620

100101583   020160044   WALGREENS #04855        DSD          LAS VEGAS       NV   89108     WALGREENS         BW6176071   31,780   39,290   35,760   35,680   28,700   29,800   33,502   201,010

100097415   044215335   WALGREENS #04905        DSD       MURFREESBORO       TN   37130     WALGREENS         BW6178607   24,100   21,000   25,200   24,200   21,100   24,500   23,350   140,100

100101895   046047092   WALGREENS #04769        DSD           SUNRISE        FL   33351     WALGREENS         BW6180878     100      200     2,600    3,700    5,600    4,600    2,800    16,800

100096120   004099051   WALGREENS #04729        DSD          NORWOOD         MA   02062     WALGREENS         BW6181490    2,800    4,100    3,300    2,800    4,100    2,200    3,217    19,300

100099664   018397786   WALGREENS #04998        DSD         SHREVEPORT       LA   71118     WALGREENS         BW6181818     300    28,700   33,600   34,500   19,000   39,200   25,883   155,300

100094750   010229153   WALGREENS #04975        DSD           DAYTON         OH   45410     WALGREENS         BW6183836   20,200   19,700   19,000   20,400   17,900   14,500   18,617   111,700

100097825   019169417   WALGREENS #04829        DSD        CROWN POINT       IN   46307     WALGREENS         BW6184256   21,000   24,240   21,790   24,100   26,000   22,400   23,255   139,530

100102273   020161315   WALGREENS #04762        DSD           PHOENIX        AZ   85032     WALGREENS         BW6185474    9,900    8,300    7,400    7,400    9,400    3,700    7,683    46,100

100098105   019170621   WALGREENS #04991        DSD         KALAMAZOO        MI   49008     WALGREENS         BW6186476   22,500   24,000   20,700   24,100   24,800   16,100   22,033   132,200

100102612   046052332   WALGREENS #04645        DSD         CAPE CORAL       FL   33914     WALGREENS         BW6189179     600      800     9,800   14,020    7,200   16,000    8,070    48,420

100098144   049193896   WALGREENS #05117        DSD           JENISON        MI   49428     WALGREENS         BW6189220   26,200   25,300   24,400   27,000   26,800   18,000   24,617   147,700

100099291   044218883   WALGREENS #04970        DSD        SAINT CHARLES     MO   63303     WALGREENS         BW6190057     400     9,700   14,500   14,400   14,600   10,900   10,750    64,500

100098535   025090175   WALGREENS #04725        DSD          CHAMPLIN        MN   55316     WALGREENS         BW6192001   11,500   13,700   12,000   12,100   14,800    8,900   12,167    73,000

100103604   032149823   WALGREENS #04759        DSD          SHORELINE       WA   98155     WALGREENS         BW6194586   10,100    8,900    8,000    8,600    9,100    5,100    8,300    49,800

100101544   038108951   WALGREENS #04667        DSD       FEDERAL HEIGHTS    CO   80260     WALGREENS         BW6195449   16,600   15,700   16,600   15,700   19,400   13,600   16,267    97,600

100095164   055036046   WALGREENS #04549        DSD          MINT HILL       NC   28227     WALGREENS         BW6195451    9,600   12,200    9,800   11,200    9,720   10,600   10,520    63,120
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100085767   021158832   WAMEGO DRUG STORE       CPA        WAMEGO          KS   66547    INDEPENDENT      BW6196578   13,500   15,500   11,500   10,600    8,900   10,900   11,817    70,900

100102276   020161323   WALGREENS #04951        DSD        PHOENIX         AZ   85032    WALGREENS        BW6197897    9,000    9,400    6,900    7,000    9,900    5,700    7,983    47,900

100102285   020161349   WALGREENS #04909        DSD        PHOENIX         AZ   85033    WALGREENS        BW6197924    7,000    5,900    4,200    5,300   10,600    4,600    6,267    37,600

100097296   052220434   WALGREENS #05072        DSD        HOOVER          AL   35244    WALGREENS        BW6198964   15,500   14,200   12,800   14,300   11,700   11,000   13,250    79,500

100097734   044217000   WALGREENS #15365        DSD       LOUISVILLE       KY   40299    WALGREENS        BW6201432    2,000   10,500   12,200   13,500   13,500    8,000    9,950    59,700

100099747   018398412   WALGREENS #05041        DSD      SPRINGDALE        AR   72764    WALGREENS        BW6203602    1,100   10,700   29,900   31,100   23,700   24,500   20,167   121,000

100097862   019169789   WALGREENS #04750        DSD      MERRILLVILLE      IN   46410    WALGREENS        BW6203828   36,700   41,400   35,100   39,300   44,700   29,000   37,700   226,200

100094588   010228460   WALGREENS #04983        DSD        CANTON          OH   44718    WALGREENS        BW6204692    8,300    9,400    7,930    8,930   10,200   11,100    9,310    55,860

100094811   010229294   WALGREENS #05138        DSD         ELYRIA         OH   44035    WALGREENS        BW6204705   24,100   23,000   23,300   26,400   20,100   21,300   23,033   138,200

100102398   012111104   WALGREENS #05038        DSD         HEMET          CA   92543    WALGREENS        BW6205985   47,300   51,470   48,400   43,800   49,400   15,200   42,595   255,570

100103063   008113589   WALGREENS #04492        DSD     SAN FRANCISCO      CA   94111    WALGREENS        BW6208157    2,700    3,000    2,600    2,660    3,600    2,100    2,777    16,660

100099785   018398792   WALGREENS #04784        DSD      THE VILLAGE       OK   73120    WALGREENS        BW6209678              500    23,000   24,600   16,000   21,500   17,120    85,600

100103383   008114488   WALGREENS #04625        DSD       SAN RAFAEL       CA   94901    WALGREENS        BW6210328   20,300   18,900   22,930   22,400   20,100   12,900   19,588   117,530

100097533   052221986   WALGREENS #05053        DSD       FARRAGUT         TN   37934    WALGREENS        BW6210378    7,700    8,060    7,800    8,190    6,600    7,500    7,642    45,850

100094784   023138446   WALGREENS #04058        DSD     EAST ELMHURST      NY   11369    WALGREENS        BW6212207     900      300     1,500    1,000     300      800      800      4,800

100101204   046044735   WALGREENS #04816        DSD       PALM BAY         FL   32907    WALGREENS        BW6212764     100      300     8,000   21,560   20,700   19,700   11,727    70,360

100101480   046045609   WALGREENS #04693        DSD    COCONUT CREEK       FL   33073    WALGREENS        BW6212776     200      200     4,830    5,820    8,200    3,800    3,842    23,050

100102662   020162248   WALGREENS #04543        DSD        GILBERT         AZ   85296    WALGREENS        BW6213881   12,330    8,860    9,400    8,830   11,100    7,200    9,620    57,720

100101609   020160085   WALGREENS #05013        DSD       LAS VEGAS        NV   89109    WALGREENS        BW6214011   20,200   19,600   17,000   19,700   15,000    6,000   16,250    97,500

100097359   052221028   WALGREENS #05151        DSD        MOBILE          AL   36609    WALGREENS        BW6216469   25,500   23,100   24,400   21,500   12,300    4,500   18,550   111,300

100103704   046055871   WALGREENS #04765        DSD    WEST PALM BEACH     FL   33407    WALGREENS        BW6217461      -               3,200    4,600    5,500      -      2,660    13,300

100102511   046051847   WALGREENS #04733        DSD   JACKSONVILLE BEACH   FL   32250    WALGREENS        BW6217473     600      200     5,030    8,400    6,500   11,200    5,322    31,930

100097389   044215087   WALGREENS #04903        DSD        FRANKLIN        TN   37067    WALGREENS        BW6220901    7,100    5,700    6,100    6,500   10,100    5,500    6,833    41,000

100097646   052222141   WALGREENS #05165        DSD        CLINTON         MS   39056    WALGREENS        BW6224478   22,820   22,600   23,200   22,130   19,800   17,000   21,258   127,550

100107242   052224097   WALGREENS #05165 340B              CLINTON         MS   39056   PHS 340B CLINIC   BW6224478              500                                          500       500

100101907   046047134   WALGREENS #04528        DSD     RIVIERA BEACH      FL   33404    WALGREENS        BW6226131                      2,700    4,100    4,500    4,700    4,000    16,000

100101568   008112375   WALGREENS #04789        DSD         RENO           NV   89502    WALGREENS        BW6227234   22,100   24,000   20,500   22,100   17,900   20,200   21,133   126,800

100098344   019171884   WALGREENS #04984        DSD       MILWAUKEE        WI   53218    WALGREENS        BW6230849   10,200   10,500   12,100    9,000   14,100    8,500   10,733    64,400

100100247   037132449   WALGREENS #05100        DSD         KATY           TX   77450    WALGREENS        BW6231409     100      100     4,000    6,100    6,900    2,500    3,283    19,700

100102874   020162743   WALGREENS #05027        DSD      SIERRA VISTA      AZ   85635    WALGREENS        BW6232196   16,200   14,430   18,300   17,420   20,800   13,400   16,758   100,550

100095826   004094318   WALGREENS #04393        DSD        BEVERLY         MA   01915    WALGREENS        BW6233807    6,860    9,360    8,230    9,160    6,700    5,800    7,685    46,110

100097287   052220343   WALGREENS #05073        DSD      FORESTDALE        AL   35214    WALGREENS        BW6235116   36,400   40,400   36,000   38,200   32,800   25,330   34,855   209,130

100099882   018399758   WALGREENS #04315        DSD         PLANO          TX   75024    WALGREENS        BW6238845    8,400   11,920   15,020   10,340   10,900    8,160   10,790    64,740

100103372   020164343   WALGREENS #04763        DSD       LAS VEGAS        NV   89109    WALGREENS        BW6240294    1,600    2,500    2,000    2,000    2,000     500     1,767    10,600

100099957   018400507   WALGREENS #04012        DSD        DALLAS          TX   75225    WALGREENS        BW6242806    9,920   11,000   13,460   14,200    8,100    9,500   11,030    66,180

100099210   044218073   WALGREENS #04701        DSD       ELLISVILLE       MO   63011    WALGREENS        BW6243214             8,200    9,000   11,300   12,100    6,800    9,480    47,400

100098258   019171025   WALGREENS #04888        DSD      BROOKFIELD        WI   53005    WALGREENS        BW6246525    9,400   11,600   10,700   12,400    9,200    9,200   10,417    62,500

100098042   049193094   WALGREENS #04660        DSD    ROCHESTER HILLS     MI   48307    WALGREENS        BW6249406   16,300   17,100   17,390   14,990   19,400   13,600   16,463    98,780

100099225   044218222   WALGREENS #04866        DSD      FLORISSANT        MO   63031    WALGREENS        BW6250372     200     6,800   11,800   10,200   11,200    7,400    7,933    47,600

100103422   020164558   WALGREENS #05014        DSD       LAS VEGAS        NV   89147    WALGREENS        BW6252667   24,600   25,200   29,300   28,800   16,700   29,640   25,707   154,240

100098551   025090332   WALGREENS #04879        DSD        SAVAGE          MN   55378    WALGREENS        BW6253429   20,300   20,100   18,000   17,900   18,300    9,200   17,300   103,800

100095542   055036434   WALGREENS #04842        DSD       ROCK HILL        SC   29732    WALGREENS        BW6256526   15,900   17,070   16,800   15,500   13,500   13,860   15,438    92,630

100097385   044215046   WALGREENS #05064        DSD        GALLATIN        TN   37066    WALGREENS        BW6259356   35,000   35,800   35,300   36,800   41,200   40,000   37,350   224,100

100103599   032149773   WALGREENS #04157        DSD        SEATTLE         WA   98125    WALGREENS        BW6259421    7,300    7,600    7,660    8,100    9,000    3,700    7,227    43,360
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100100520   018403253   WALGREENS #04899        DSD         ABILENE         TX   79606     WALGREENS         BW6262795    2,000    4,100   24,800   28,000   28,900   12,500   16,717   100,300

100097822   019169383   WALGREENS #04946        DSD       CHESTERTON        IN   46304     WALGREENS         BW6268610   18,300   20,200   17,100   19,400   15,600   21,700   18,717   112,300

100098250   019170951   WALGREENS #05144        DSD         CLINTON         IA   52732     WALGREENS         BW6269511   16,000   17,800   14,900   16,500   19,600   13,200   16,333    98,000

100095513   041150714   WALGREENS #03682        DSD        RICHMOND         VA   23224     WALGREENS         BW6269674   15,800   17,300   13,500   16,600   15,200    7,100   14,250    85,500

100103484   008115261   WALGREENS #04414        DSD       ORANGEVALE        CA   95662     WALGREENS         BW6270285   18,300   18,900   16,700   17,100   14,400   16,000   16,900   101,400

100102807   008112953   WALGREENS #04907        DSD         FRESNO          CA   93705     WALGREENS         BW6270297   10,200   14,200   10,000   14,300   11,900   13,400   12,333    74,000

100099250   044218479   WALGREENS #04825        DSD       SAINT LOUIS       MO   63114     WALGREENS         BW6272760             4,400    8,500    7,600    6,100    5,100    6,340    31,700

100103600   032149781   WALGREENS #04898        DSD         SEATTLE         WA   98126     WALGREENS         BW6274877    8,900    6,900    7,900    7,800    9,600    6,400    7,917    47,500

100099872   018399659   WALGREENS #04860        DSD          ALLEN          TX   75002     WALGREENS         BW6275285   12,400   20,100   18,800   19,400   16,600   20,500   17,967   107,800

100099487   021171421   WALGREENS #04772        DSD         OMAHA           NE   68111     WALGREENS         BW6278407   15,000   14,700   14,400   13,400   17,800   10,500   14,300    85,800

100100148   038107318   WALGREENS #05101        DSD        HOUSTON          TX   77070     WALGREENS         BW6279740     300      900     9,500   11,000   12,500    6,500    6,783    40,700

100100032   018401257   WALGREENS #05211        DSD       FORT WORTH        TX   76109     WALGREENS         BW6280565    1,700   10,900   10,100    9,100   10,700    6,500    8,167    49,000

100099659   018397737   WALGREENS #05163        DSD       SHREVEPORT        LA   71105     WALGREENS         BW6282797             8,100   12,500    9,680    7,500   12,600   10,076    50,380

100102797   020162560   WALGREENS #04620        DSD        SURPRISE         AZ   85374     WALGREENS         BW6283561   11,240   11,700    9,500   12,500   14,600   12,200   11,957    71,740

100098154   049193920   WALGREENS #05095        DSD      GRAND RAPIDS       MI   49505     WALGREENS         BW6288030   21,000   21,700   21,500   20,500   20,700   10,000   19,233   115,400

100102778   046053181   WALGREENS #04979        DSD        SARASOTA         FL   34231     WALGREENS         BW6288155     500      400     5,930   12,000    9,300    8,100    6,038    36,230

100102764   046053116   WALGREENS #04959        DSD        MAITLAND         FL   32751     WALGREENS         BW6289842     300              8,700    6,300    6,600    6,700    5,720    28,600

100095639   023146035   WALGREENS #04029        DSD        SUFFERN          NY   10901     WALGREENS         BW6291138    3,100    2,600    2,600    2,200    2,700    2,500    2,617    15,700

100099207   044218040   WALGREENS #04972        DSD         ARNOLD          MO   63010     WALGREENS         BW6291289     100    25,400   36,700   35,900   38,000   21,600   26,283   157,700

100098013   049192807   WALGREENS #04933        DSD         LIVONIA         MI   48150     WALGREENS         BW6297786   15,500   13,500   14,500   14,200   16,000   16,500   15,033    90,200

100103150   008113795   WALGREENS #04180        DSD      SAN FRANCISCO      CA   94127     WALGREENS         BW6301092    7,200    7,000    6,090    6,190    5,200    6,300    6,330    37,980

100101595   032148163   WALGREENS #04943        DSD        PORTLAND         OR   97236     WALGREENS         BW6302183   15,300   16,100   16,630   16,230   22,100   10,600   16,160    96,960

100100396   018402370   WALGREENS #04838        DSD       SAN ANTONIO       TX   78258     WALGREENS         BW6303604     640      760     9,100   15,100    8,100    9,000    7,117    42,700

100101923   046047191   WALGREENS #04593        DSD    WEST PALM BEACH      FL   33409     WALGREENS         BW6304923    1,100     500     4,900    8,800    9,300    9,000    5,600    33,600

100102088   046047720   WALGREENS #04653        DSD       GREENACRES        FL   33463     WALGREENS         BW6304935              200     1,700    4,200    4,700    2,500    2,660    13,300

100097429   044215475   WALGREENS #05166        DSD        NASHVILLE        TN   37205     WALGREENS         BW6305141    8,000    6,500    7,500    6,800    9,500    9,000    7,883    47,300

100099430   021170993   WALGREENS #04221        DSD     OVERLAND PARK       KS   66223     WALGREENS         BW6305331    2,000    9,200    6,000    7,600   11,100    7,500    7,233    43,400

100098339   019171835   WALGREENS #04350        DSD       MILWAUKEE         WI   53215     WALGREENS         BW6307816   31,600    9,900   17,800   20,500   21,500   19,900   20,200   121,200

100107214   019184655   WALGREENS #04350 340B             MILWAUKEE         WI   53215   PHS 340B HOSPITAL   BW6307816     500                                                   500       500

100087096   003090142   WALGREENS #00013                   GUAYNABO         PR   00969     WALGREENS         BW6311207                       100                                 100       100

100099805   018398990   WALGREENS #05142        DSD         DUNCAN          OK   73533     WALGREENS         BW6311233             7,900   27,890   30,700   24,900   20,000   22,278   111,390

100095700   041151340   WALGREENS #04356        DSD       WARMINSTER        PA   18974     WALGREENS         BW6312944   10,900   11,000   11,300   10,300    7,600    9,200   10,050    60,300

100099928   018400218   WALGREENS #05210        DSD       CEDAR HILL        TX   75104     WALGREENS         BW6313681   13,640   22,300   21,000   22,300   16,520   26,700   20,410   122,460

100100020   018401133   WALGREENS #05213        DSD        MANSFIELD        TX   76063     WALGREENS         BW6313693    5,000   23,800   21,400   23,400   16,000   14,000   17,267   103,600

100098038   049193052   WALGREENS #04369        DSD         DETROIT         MI   48228     WALGREENS         BW6314544   17,000   14,500   15,100   15,000   14,000    9,000   14,100    84,600

100059011   044041616   WEATHERS DRUGS          APSC        ELKTON          KY   42220     INDEPENDENT       BW6316334   47,700   47,100   45,800   42,000   39,640   34,500   42,790   256,740

100098272   019171165   WALGREENS #05309        DSD        PEWAUKEE         WI   53072     WALGREENS         BW6316346   13,400   16,100   13,300   12,500   15,600   14,200   14,183    85,100

100098336   019171801   WALGREENS #05231        DSD       WEST ALLIS        WI   53214     WALGREENS         BW6316358   10,000   10,600    9,100    9,500   11,000   10,500   10,117    60,700

100097075   040118109   WALGREENS #04980        DSD    HILTON HEAD ISLAND   SC   29926     WALGREENS         BW6318112   10,390   10,100   11,390   10,070    9,200    8,500    9,942    59,650

100099878   018399717   WALGREENS #04787        DSD          ALLEN          TX   75013     WALGREENS         BW6322375    5,300    7,900    6,800    6,800    5,600    3,500    5,983    35,900

100099942   018400358   WALGREENS #05093        DSD         DALLAS          TX   75203     WALGREENS         BW6322387   15,040   21,600   19,500   19,900   16,200    7,000   16,540    99,240

100101740   046046656   WALGREENS #04808        DSD       CUTLER BAY        FL   33189     WALGREENS         BW6335283     300      500     1,700   10,700    4,200    8,600    4,333    26,000

100103717   046056036   WALGREENS #05016        DSD     PORT CHARLOTTE      FL   33980     WALGREENS         BW6335295     530      300     9,530   12,130   16,100   12,360    8,492    50,950

100097672   052222372   WALGREENS #05307        DSD      HATTIESBURG        MS   39401     WALGREENS         BW6342872   27,400   43,800   44,100   45,500   27,400   38,000   37,700   226,200
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100106758   052223867   WALGREENS #05307 340B             HATTIESBURG        MS   39401    PHS 340B CLINIC    BW6342872    1,000      500              1,100                       867      2,600

100098463   019172874   WALGREENS #05280        DSD        OSHKOSH           WI   54902     WALGREENS         BW6344890   19,600    21,100   18,500   20,700   18,500   19,700   19,683   118,100

100098080   049193474   WALGREENS #05097        DSD         SAGINAW          MI   48603     WALGREENS         BW6348278   38,300    40,100   37,000   41,900   35,500   33,700   37,750   226,500

100107877   049196451   WALGREENS #05097 340B               SAGINAW          MI   48603    PHS 340B CLINIC    BW6348278     500                500     1,500                       833      2,500

100097982   049192492   WALGREENS #04691        DSD     MADISON HEIGHTS      MI   48071     WALGREENS         BW6348280   24,400    28,200   26,600   27,500   25,200   29,000   26,817   160,900

100097910   019170266   WALGREENS #05115        DSD       FORT WAYNE         IN   46845     WALGREENS         BW6348723   23,620    24,000   21,600   24,500   23,900   26,000   23,937   143,620

100095519   041150771   WALGREENS #04031        DSD        RICHMOND          VA   23294     WALGREENS         BW6348937    8,100     9,700    9,600    9,200   13,100    5,600    9,217    55,300

100101562   020160002   WALGREENS #04755        DSD        LAS VEGAS         NV   89146     WALGREENS         BW6349636   37,920    40,800   37,400   41,200   39,200   22,800   36,553   219,320

100098705   019173690   WALGREENS #05147        DSD         SKOKIE           IL   60077     WALGREENS         BW6349838    9,400    10,130   10,930    9,460    8,700    8,200    9,470    56,820

100099354   021170233   WALGREENS #04204        DSD       KANSAS CITY        MO   64155     WALGREENS         BW6351427    5,500    21,400   23,100   24,400   24,900   12,600   18,650   111,900

100111230   021002068   WALGREENS #04204 340B             KANSAS CITY        MO   64155   PHS 340B HOSPITAL   BW6351427                                         1,000             1,000     1,000

100102751   046053058   WALGREENS #05245        DSD        LAKE MARY         FL   32746     WALGREENS         BW6352316      (40)     100     9,330    9,530    6,600   11,900    6,237    37,420

100095672   010233031   WALGREENS #04775        DSD       TWINSBURG          OH   44087     WALGREENS         BW6353572    5,100     4,600    4,200    5,600    5,800    3,200    4,750    28,500

100099943   018400366   WALGREENS #05092        DSD         DALLAS           TX   75204     WALGREENS         BW6359093   24,060    34,990   30,560   31,800   17,000   24,100   27,085   162,510

100098494   025089748   WALGREENS #04882        DSD   INVER GROVE HEIGHTS    MN   55076     WALGREENS         BW6366846   12,900    13,100   11,700   11,800   15,600    9,500   12,433    74,600

100103047   020163170   WALGREENS #05221        DSD        FLAGSTAFF         AZ   86001     WALGREENS         BW6368725   26,300    26,300   24,400   25,000   18,900   20,700   23,600   141,600

100102769   020162495   WALGREENS #05222        DSD         PEORIA           AZ   85345     WALGREENS         BW6368737    9,900    10,200    9,800   10,200   14,100    8,100   10,383    62,300

100102508   020161877   WALGREENS #04792        DSD        CHANDLER          AZ   85225     WALGREENS         BW6368749   10,400    10,300    9,700    9,800   11,600    7,400    9,867    59,200

100098335   019171793   WALGREENS #04774        DSD        WEST ALLIS        WI   53214     WALGREENS         BW6372762   16,000    18,400   15,200   18,700   16,000   12,800   16,183    97,100

100100054   018401471   WALGREENS #05214        DSD   NORTH RICHLAND HILLS   TX   76182     WALGREENS         BW6379451    3,030    14,500   11,500   13,400   14,200    8,500   10,855    65,130

100100033   018401265   WALGREENS #05270        DSD       FORT WORTH         TX   76110     WALGREENS         BW6379463    5,800    28,000   28,000   26,700   16,600   15,200   20,050   120,300

100098281   019171256   WALGREENS #05136        DSD       WATERTOWN          WI   53094     WALGREENS         BW6381432   22,900    21,400   23,100   23,100   17,100   19,000   21,100   126,600

100097603   044216317   WALGREENS #12718        DSD         JACKSON          TN   38305     WALGREENS         BW6383272   23,000    27,000   25,800   26,100   20,300   23,600   24,300   145,800

100100273   037132621   WALGREENS #04113        DSD          ALVIN           TX   77511     WALGREENS         BW6384856    5,500     2,540   28,600   45,400   39,100   22,400   23,923   143,540

100094616   055033266   WALGREENS #04869        DSD       CHARLOTTE          NC   28208     WALGREENS         BW6387193   20,400    16,900   19,100   21,500   19,100   16,900   18,983   113,900

100103401   008114553   WALGREENS #04416        DSD        CUPERTINO         CA   95014     WALGREENS         BW6394085    4,000     5,800    3,700    6,100    4,900    4,500    4,833    29,000

100095920   041151936   WALGREENS #04876        DSD         EDISON           NJ   08817     WALGREENS         BW6395669    2,600     2,150    1,840    1,480    2,100    3,200    2,228    13,370

100103202   008113928   WALGREENS #05006        DSD        SAN MATEO         CA   94403     WALGREENS         BW6403911    8,600     9,900    8,300    9,900   12,100    6,500    9,217    55,300

100097972   049192393   WALGREENS #04608        DSD       CLINTON TWP        MI   48036     WALGREENS         BW6404874   30,300    30,000   31,400   35,400   41,300   20,500   31,483   188,900

100098087   049193540   WALGREENS #05167        DSD         BAY CITY         MI   48706     WALGREENS         BW6404886   27,300    29,500   28,300   28,700   30,100   29,600   28,917   173,500

100099575   037131300   WALGREENS #05358        DSD      NEW ORLEANS         LA   70128     WALGREENS         BW6406462    1,300     1,500    9,400   15,800   15,600   11,500    9,183    55,100

100098035   049193029   *WALGREENS #05084       DSD         DETROIT          MI   48219     WALGREENS         BW6407250    4,200     2,100                                        3,150     6,300

100098011   049192781   WALGREENS #04749        DSD      LINCOLN PARK        MI   48146     WALGREENS         BW6407262   27,300    28,200   26,800   29,700   24,300   19,500   25,967   155,800

100097992   049192591   WALGREENS #04512        DSD         WARREN           MI   48089     WALGREENS         BW6407274   20,300    21,400   18,500   28,000   26,300   21,200   22,617   135,700

100101538   008112359   WALGREENS #04609        DSD      SAN FRANCISCO       CA   94103     WALGREENS         BW6407503    8,100     9,000   10,000    8,100   10,700    5,600    8,583    51,500

100103369   020164335   WALGREENS #05154        DSD        LAS VEGAS         NV   89103     WALGREENS         BW6410891   24,800    25,600   23,700   25,500   23,200   14,500   22,883   137,300

100095988   004098103   WALGREENS #04967        DSD        HOLYOKE           MA   01040     WALGREENS         BW6412605    3,300     5,000    3,700    4,660    6,000    2,400    4,177    25,060

100099444   021171132   WALGREENS #04981        DSD         TOPEKA           KS   66614     WALGREENS         BW6412845    7,600     8,530    8,600   10,100   10,500    6,000    8,555    51,330

100098632   021169847   WALGREENS #05242        DSD       SIOUX FALLS        SD   57104     WALGREENS         BW6412960    8,000     8,900    7,700   10,300   10,300    8,300    8,917    53,500

100098214   021169490   WALGREENS #05060        DSD          CLIVE           IA   50325     WALGREENS         BW6418342   27,600    30,300   28,300   28,800   36,900   18,400   28,383   170,300

100103718   046056044   WALGREENS #04841        DSD       BRADENTON          FL   34208     WALGREENS         BW6418809     420       240     9,900   17,700   20,400   11,400   10,010    60,060

100098408   019172528   WALGREENS #05233        DSD         MADISON          WI   53719     WALGREENS         BW6420359    7,500     8,500    7,500    7,000   10,000    5,500    7,667    46,000

100101494   038108746   WALGREENS #04468        DSD      WESTMINSTER         CO   80021     WALGREENS         BW6421351    7,900    10,800    7,400    8,000    9,300    4,200    7,933    47,600

100095141   023142976   WALGREENS #04687        DSD        MEDFORD           NY   11763     WALGREENS         BW6423127    6,800     9,400    8,020    7,890    6,300    6,500    7,485    44,910
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100095004   023138867   WALGREENS #04565        DSD         JAMAICA        NY   11434     WALGREENS         BW6428836    2,400    2,100    3,100    1,800    3,600    1,200    2,367    14,200

100100180   038107540   WALGREENS #05314        DSD         HOUSTON        TX   77088     WALGREENS         BW6432835     300     1,280    7,600   12,000    9,200    4,600    5,830    34,980

100099661   018397752   WALGREENS #05181        DSD       SHREVEPORT       LA   71109     WALGREENS         BW6434031     100    16,900   27,000   23,000   19,500   14,500   16,833   101,000

100053398   024087494   WEST KNOLL PHARMACY             WEST HOLLYWOOD     CA   90069     INDEPENDENT       BW6435401    4,600    4,600    5,600    4,800    5,200     700     4,250    25,500

100095388   041149799   WALGREENS #04924        DSD         NORFOLK        VA   23518     WALGREENS         BW6437087   11,800   12,100   11,600   12,400   12,400    8,300   11,433    68,600

100101592   017096578   WALGREENS #04942        DSD          BOISE         ID   83704     WALGREENS         BW6441024   39,900   38,200   35,500   40,300   40,200   29,000   37,183   223,100

100101472   046045526   WALGREENS #05008        DSD     NORTH LAUDERDALE   FL   33068     WALGREENS         BW6441341     100      300     3,200    4,060    5,900    5,200    3,127    18,760

100097817   019169334   WALGREENS #05164        DSD       INDIANAPOLIS     IN   46250     WALGREENS         BW6443600    3,600    3,500    4,000    4,500   10,400    5,300    5,217    31,300

100100127   037132241   WALGREENS #05423        DSD         HOUSTON        TX   77055     WALGREENS         BW6443888     200      200     6,900    7,300    7,400    7,200    4,867    29,200

100102287   012110775   WALGREENS #05372        DSD         FONTANA        CA   92335     WALGREENS         BW6444195   23,400   26,300   26,400   26,200   22,600   35,000   26,650   159,900

100099401   021170704   WALGREENS #05288        DSD       SPRINGFIELD      MO   65803     WALGREENS         BW6444272   14,500   19,300   22,800   21,500   29,300   18,000   20,900   125,400

100099348   021170175   WALGREENS #04406        DSD       KANSAS CITY      MO   64119     WALGREENS         BW6444284    7,800   32,400   34,300   40,700   32,300   28,000   29,250   175,500

100111223   021002064   WALGREENS #04406 340B             KANSAS CITY      MO   64119   PHS 340B HOSPITAL   BW6444284                                        2,200    1,000    1,600     3,200

100111233   021002072   WALGREENS #04406 340B             KANSAS CITY      MO   64119   PHS 340B HOSPITAL   BW6444284                                         800      700      750      1,500

100100055   018401489   WALGREENS #05161        DSD         DENTON         TX   76201     WALGREENS         BW6445046   30,100   44,700   37,300   42,100   11,600   23,600   31,567   189,400

100102801   020162578   WALGREENS #04791        DSD         SURPRISE       AZ   85374     WALGREENS         BW6448105   11,800   10,200    8,600   10,900   14,300    7,000   10,467    62,800

100102830   020162636   WALGREENS #04742        DSD          PEORIA        AZ   85382     WALGREENS         BW6448129    8,600    7,700    8,300    8,900    8,700    5,600    7,967    47,800

100100012   018401059   WALGREENS #05377        DSD        BURLESON        TX   76028     WALGREENS         BW6449183   11,200   44,300   41,000   42,260   30,500   19,400   31,443   188,660

100094421   041145946   WALGREENS #04487        DSD          ASTON         PA   19014     WALGREENS         BW6450542    5,830    5,400    5,200    5,030    5,700    6,600    5,627    33,760

100097680   037104349   WALGREENS #05195        DSD        GULFPORT        MS   39503     WALGREENS         BW6451544   30,900   50,700   51,330   65,830   47,700   24,200   45,110   270,660

100105991   052223677   WALGREENS #05195 PHS/340B          GULFPORT        MS   39503    PHS 340B CLINIC    BW6451544                                100                        100       100

100097593   044216218   WALGREENS #04312        DSD       GERMANTOWN       TN   38138     WALGREENS         BW6455427    7,300    7,900    7,730    5,200    8,200    5,500    6,972    41,830

100097578   044216101   WALGREENS #05023        DSD         MEMPHIS        TN   38125     WALGREENS         BW6455453    6,600    6,600    6,500    7,000    6,600    7,600    6,817    40,900

100094719   055033548   WALGREENS #04870        DSD         CONCORD        NC   28027     WALGREENS         BW6455869   28,700   29,300   28,500   29,200   31,600   19,000   27,717   166,300

100098395   019172395   WALGREENS #04240        DSD         MADISON        WI   53704     WALGREENS         BW6456493   23,830   24,900   24,100   25,600   22,000   22,500   23,822   142,930

100103863   019179754   WALGREENS #04240 340B               MADISON        WI   53704   PHS 340B HOSPITAL   BW6456493    1,000              100                                 550      1,100

100099752   018398461   WALGREENS #05260        DSD        FORT SMITH      AR   72901     WALGREENS         BW6456683    1,300    4,000   21,720   23,100   27,300   22,000   16,570    99,420

100099742   018398362   WALGREENS #05237        DSD         ROGERS         AR   72756     WALGREENS         BW6456900    2,300   17,600   33,900   46,800   25,800   37,500   27,317   163,900

100096035   004098426   WALGREENS #04966        DSD         MALDEN         MA   02148     WALGREENS         BW6457988    4,900    5,300    5,600    5,200    7,900    4,500    5,567    33,400

100099524   021171793   WALGREENS #04753        DSD         LINCOLN        NE   68521     WALGREENS         BW6458221   31,300   26,400   30,600   30,100   24,200   29,600   28,700   172,200

100098628   021169805   WALGREENS #05243        DSD        SIOUX FALLS     SD   57104     WALGREENS         BW6460555   13,700   14,800   12,700   14,000   17,200   10,800   13,867    83,200

100097655   052222216   WALGREENS #05098        DSD         JACKSON        MS   39202     WALGREENS         BW6460884   15,200   13,100   12,000   15,500   12,500   13,000   13,550    81,300

100094751   010229161   WALGREENS #04976        DSD         DAYTON         OH   45406     WALGREENS         BW6463638   31,700   37,100   33,500   33,900   28,700   27,500   32,067   192,400

100098240   021169714   WALGREENS #05042        DSD       CEDAR RAPIDS     IA   52404     WALGREENS         BW6465226   28,700   31,200   29,500   28,700   16,500   29,100   27,283   163,700

100102482   046051706   WALGREENS #05212        DSD         LAKELAND       FL   33809     WALGREENS         BW6468614             1,300    1,400    7,200    6,600    5,300    4,360    21,800

100102143   046047894   WALGREENS #04652        DSD       DELRAY BEACH     FL   33484     WALGREENS         BW6475594              200     4,700    8,400    6,900    7,600    5,560    27,800

100101867   046047019   WALGREENS #04770        DSD       COOPER CITY      FL   33328     WALGREENS         BW6476471     100       30     2,560    4,570    5,230    2,700    2,532    15,190

100061762   023011239   SOUTH OAKS HOSP/BROADLAWN MAN      AMITYVILLE      NY   11701       HOSPITAL        BW6497487     100               300                        100      167       500

100096294   041152686   WALGREENS #04545        DSD       WOODBRIDGE       NJ   07095     WALGREENS         BW6500513    4,400    3,400    4,300    3,300    4,100    3,800    3,883    23,300

100103258   008114066   WALGREENS #04724        DSD         ANTIOCH        CA   94531     WALGREENS         BW6502505   52,100   57,000   54,100   64,700   50,200   38,900   52,833   317,000

100102982   046054205   WALGREENS #05339        DSD         ORLANDO        FL   32837     WALGREENS         BW6503949              630     5,000    6,600    7,100    5,800    5,026    25,130

100102703   046052803   WALGREENS #05399        DSD       CASSELBERRY      FL   32707     WALGREENS         BW6504016              300     6,400    9,700    7,100    9,600    6,620    33,100

100103043   020163162   WALGREENS #05090        DSD        SHOW LOW        AZ   85901     WALGREENS         BW6510956   44,100   47,900   40,700   42,000   41,200   23,700   39,933   239,600

100097994   049192617   WALGREENS #05082        DSD         WARREN         MI   48091     WALGREENS         BW6513786   24,800   24,900   24,900   28,500   13,000   19,000   22,517   135,100
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100098008   049192757   WALGREENS #05168        DSD     BROWNSTOWN        MI   48134     WALGREENS         BW6513798   28,100   29,900   26,600   32,200   35,800   24,800   29,567   177,400

100109298   049196949   WALGREENS #05168 340B           BROWNSTOWN        MI   48134   PHS 340B HOSPITAL   BW6513798              100                                          100       100

100103184   046055350   WALGREENS #04804        DSD    PORT SAINT LUCIE   FL   34986     WALGREENS         BW6513851     730      400     7,460   21,580   16,200   13,400    9,962    59,770

100094569   010228379   WALGREENS #05431        DSD      BRUNSWICK        OH   44212     WALGREENS         BW6515223    7,500    8,500    6,500    7,000    8,000    5,900    7,233    43,400

100066450   052055574   BORDEN FAMILY PHARMACY            CULLMAN         AL   35058     INDEPENDENT       BW6517241   18,510   22,505   26,100   31,505   12,100   17,000   21,287   127,720

100087106   003090209   WALGREENS #00031                  GUAYAMA         PR   00784     WALGREENS         BW6517746              100     2,000     600                        900      2,700

100098485   025089656   WALGREENS #05048        DSD       HASTINGS        MN   55033     WALGREENS         BW6524765   10,100   11,000   10,300   11,300   10,600    9,000   10,383    62,300

100099762   018398560   WALGREENS #04896        DSD        EDMOND         OK   73013     WALGREENS         BW6525301     100      600    16,340   18,600   17,600   13,000   11,040    66,240

100099969   018400622   WALGREENS #05162        DSD        DALLAS         TX   75243     WALGREENS         BW6530035   13,400   19,500   21,300   22,030   17,200   17,500   18,488   110,930

100097346   052220897   WALGREENS #05606        DSD        DAPHNE         AL   36526     WALGREENS         BW6531075   21,700   22,700   19,200   20,200   17,100    8,800   18,283   109,700

100096226   004099838   WALGREENS #05075        DSD      TEWKSBURY        MA   01876     WALGREENS         BW6533156    4,700    4,630    4,630    5,200    4,800    3,000    4,493    26,960

100098004   049192716   WALGREENS #04992        DSD       DEARBORN        MI   48126     WALGREENS         BW6533435   15,900   17,600   19,740   19,360   17,800   11,000   16,900   101,400

100095450   041149997   WALGREENS #04926        DSD     PHILADELPHIA      PA   19135     WALGREENS         BW6537180    7,530    8,090    9,400    8,630    8,400    6,900    8,158    48,950

100100029   018401224   WALGREENS #05435        DSD      FORT WORTH       TX   76105     WALGREENS         BW6537205    9,100   54,000   51,700   47,000   25,000   32,500   36,550   219,300

100097480   052221457   WALGREENS #05347        DSD        BRISTOL        TN   37620     WALGREENS         BW6537217   18,200   19,100   17,000   19,500   14,200   16,700   17,450   104,700

100098292   019171363   WALGREENS #05459        DSD       FRANKLIN        WI   53132     WALGREENS         BW6537229   11,330   12,100   11,200   13,100   12,800    9,000   11,588    69,530

100098367   019172114   WALGREENS #05417        DSD        RACINE         WI   53406     WALGREENS         BW6537231   15,600   11,800   11,600   14,700   12,900   10,100   12,783    76,700

100099281   044218784   WALGREENS #05047        DSD      SAINT LOUIS      MO   63136     WALGREENS         BW6537510             7,600   10,600   10,500   12,500    7,200    9,680    48,400

100087097   003090167   WALGREENS #00014                   JUNCOS         PR   00777     WALGREENS         BW6541177     600                                                   600       600

100100289   038108316   WALGREENS #05416        DSD     FRIENDSWOOD       TX   77546     WALGREENS         BW6541420     100      200     6,900    8,400   10,200    6,600    5,400    32,400

100097991   049192583   WALGREENS #05224        DSD         TROY          MI   48098     WALGREENS         BW6541494   12,780   13,830   12,800   14,000   15,000   18,000   14,402    86,410

100098051   049193185   WALGREENS #04864        DSD    WEST BLOOMFIELD    MI   48322     WALGREENS         BW6541507   12,000    9,200   10,100    9,600    8,200    7,200    9,383    56,300

100098157   049193953   WALGREENS #05534        DSD      KENTWOOD         MI   49508     WALGREENS         BW6541519   32,900   34,000   31,300   34,600   31,300   25,000   31,517   189,100

100102007   017097006   WALGREENS #05185        DSD         BOISE         ID   83705     WALGREENS         BW6543258   12,100   12,200   12,500   11,100   13,500   10,000   11,900    71,400

100100013   018401067   WALGREENS #05434        DSD       CLEBURNE        TX   76031     WALGREENS         BW6543664   15,700   52,400   50,300   50,000   41,500   19,800   38,283   229,700

100098206   021169417   WALGREENS #05362        DSD      DES MOINES       IA   50316     WALGREENS         BW6547294   26,230   27,500   24,600   27,130   24,000   18,530   24,665   147,990

100103086   008113639   WALGREENS #04529        DSD     SAN FRANCISCO     CA   94114     WALGREENS         BW6547307    6,700    6,700    5,800    6,500    6,400    4,800    6,150    36,900

100099342   021170118   WALGREENS #04210        DSD      KANSAS CITY      MO   64110     WALGREENS         BW6547612    2,400   19,600   19,200   20,400   22,300   11,700   15,933    95,600

100102201   012110437   WALGREENS #04757        DSD         INDIO         CA   92203     WALGREENS         BW6547674   11,500   13,900   10,200   11,400   11,400   11,400   11,633    69,800

100102068   046047662   WALGREENS #04594        DSD      LAKE WORTH       FL   33460     WALGREENS         BW6548044     100      200     2,700    2,420    3,300    2,800    1,920    11,520

100063197   021001073   WHITING FAMILY PHARMACY            WHITING        IA   51063     INDEPENDENT       BW6549060    1,100     400      300     1,500    1,000    2,300    1,100     6,600

100086381   021161463   WHITING FAMILY PHARMACY 340B       WHITING        IA   51063   PHS 340B HOSPITAL   BW6549060     100      200      100                                 133       400

100099556   037131110   WALGREENS #05230        DSD      WESTWEGO         LA   70094     WALGREENS         BW6550330     700     2,400    9,700   20,700   20,000   15,700   11,533    69,200

100099399   021170688   WALGREENS #05286        DSD      SPRINGFIELD      MO   65802     WALGREENS         BW6552980   18,500   24,200   30,700   37,300   32,500   21,000   27,367   164,200

100100276   038108209   WALGREENS #05389        DSD       BAYTOWN         TX   77520     WALGREENS         BW6556039     300     1,200   11,300   21,220   22,800    9,000   10,970    65,820

100100008   018401018   WALGREENS #04859        DSD       ARLINGTON       TX   76018     WALGREENS         BW6556053    2,100   12,900   11,800   11,800   15,300    8,000   10,317    61,900

100101650   046046409   WALGREENS #04915        DSD         MIAMI         FL   33168     WALGREENS         BW6556089     100      700     1,000    5,630    4,330    4,200    2,660    15,960

100090863   046042366   WORLD TRIUMPH MEDICAL MHA         SARASOTA        FL   34237     INDEPENDENT       BW6557031     100     1,100    4,000    1,000                      1,550     6,200

100102456   046051599   WALGREENS #05179        DSD     JACKSONVILLE      FL   32211     WALGREENS         BW6557978     100      100     4,400    8,100   10,500    4,000    4,533    27,200

100098005   049192724   WALGREENS #05032        DSD       DEARBORN        MI   48126     WALGREENS         BW6558007   13,800   13,100   15,100   15,800   17,200   12,500   14,583    87,500

100097996   049192633   WALGREENS #05322        DSD        WARREN         MI   48093     WALGREENS         BW6558019   21,000   23,100   17,600   20,900   24,700   16,000   20,550   123,300

100098025   049192922   WALGREENS #05169        DSD       TRENTON         MI   48183     WALGREENS         BW6558021   22,760   25,820   20,500   22,980   22,800   13,100   21,327   127,960

100103172   046055293   WALGREENS #04727        DSD      FORT PIERCE      FL   34982     WALGREENS         BW6561270    2,600    4,900    3,700    6,800    6,100    4,500    4,767    28,600

100097781   019168971   WALGREENS #05393        DSD       FRANKLIN        IN   46131     WALGREENS         BW6564985   25,130   16,000   22,300   26,300   19,400   23,000   22,022   132,130
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100098517   025089995   WALGREENS #05081        DSD         EAGAN          MN   55123     WALGREENS         BW6565002    6,000    5,500    6,500     5,600    4,600    4,700    5,483    32,900

100097116   040118513   WALGREENS #05337        DSD       MARIETTA         GA   30066     WALGREENS         BW6565571   10,400    8,800    8,100     9,000    8,800    6,500    8,600    51,600

100103582   032149609   WALGREENS #04627        DSD        RENTON          WA   98057     WALGREENS         BW6568072   14,200   14,400   14,400    12,600   15,600    7,700   13,150    78,900

100105052   032151951   WALGREENS #04627 340B              RENTON          WA   98057    PHS 340B CLINIC    BW6568072                                 100                        100       100

100102944   046054007   WALGREENS #05415        DSD    NEW PORT RICHEY     FL   34655     WALGREENS         BW6568844                      1,100    14,900   14,700    8,200    9,725    38,900

100095379   041149757   WALGREENS #05175        DSD     NEWPORT NEWS       VA   23601     WALGREENS         BW6568856   13,200   12,470   12,900    11,500   13,200   12,700   12,662    75,970

100097569   044216010   WALGREENS #04600        DSD        MEMPHIS         TN   38116     WALGREENS         BW6575483   15,200   12,200   13,200    14,300   17,400   11,500   13,967    83,800

100094703   010228882   WALGREENS #05541        DSD       COLUMBUS         OH   43224     WALGREENS         BW6575495    4,300    4,600    3,900     4,700    2,500    6,000    4,333    26,000

100097426   044215442   WALGREENS #05091        DSD       NASHVILLE        TN   37203     WALGREENS         BW6575914    9,100    9,100    7,700     9,500    6,200    9,500    8,517    51,100

100101557   038109017   WALGREENS #04952        DSD    HIGHLANDS RANCH     CO   80129     WALGREENS         BW6577108   14,930   16,490   15,260    14,260   14,100   13,830   14,812    88,870

100102406   012111138   WALGREENS #05349        DSD         HEMET          CA   92544     WALGREENS         BW6577273   45,400   45,500   35,500    37,900   25,500   36,000   37,633   225,800

100101636   046046334   WALGREENS #05340        DSD   PANAMA CITY BEACH    FL   32407     WALGREENS         BW6577285     100      200     5,300     7,600   12,100   23,500    8,133    48,800

100095135   010232140   *WALGREENS #05030       DSD    MAYFIELD HEIGHTS    OH   44124     WALGREENS         BW6577312    1,400    2,300     (200)                               1,167     3,500

100100490   018402958   WALGREENS #04704        DSD         AUSTIN         TX   78751     WALGREENS         BW6577324    5,500   19,830   18,990    21,080   15,800   10,800   15,333    92,000

100102234   012110544   WALGREENS #05037        DSD   DESERT HOT SPRINGS   CA   92240     WALGREENS         BW6578338   32,800   38,000   31,100    39,900   38,300   26,700   34,467   206,800

100102222   012110510   WALGREENS #05301        DSD     CATHEDRAL CITY     CA   92234     WALGREENS         BW6580573   32,100   32,200   29,300    29,700   35,500   22,500   30,217   181,300

100102636   046052456   WALGREENS #05017        DSD      PUNTA GORDA       FL   33950     WALGREENS         BW6580597     300              8,240    13,000   16,200   14,000   10,348    51,740

100097705   044216713   WALGREENS #05001        DSD       LOUISVILLE       KY   40205     WALGREENS         BW6585105    1,600    8,030    7,600    10,630   12,000    8,000    7,977    47,860

100099407   021170761   WALGREENS #04989        DSD      SPRINGFIELD       MO   65807     WALGREENS         BW6586525   16,000   16,400   21,300    20,700   22,700   12,000   18,183   109,100

100102396   046051268   WALGREENS #05432        DSD      THE VILLAGES      FL   32159     WALGREENS         BW6586537     600             21,490    25,800   19,200   19,700   17,358    86,790

100094494   023137604   WALGREENS #05074        DSD         BRONX          NY   10461     WALGREENS         BW6586739     700      800     1,500     1,000     700      700      900      5,400

100098033   049193003   WALGREENS #05226        DSD     HIGHLAND PARK      MI   48203     WALGREENS         BW6587616    4,500    5,000    4,500     4,000    5,000    6,500    4,917    29,500

100095597   023145870   WALGREENS #04445        DSD   SOUTH OZONE PARK     NY   11420     WALGREENS         BW6588288    4,000    4,400    2,600     2,700    4,000    2,400    3,350    20,100

100099839   018399329   WALGREENS #05421        DSD         TULSA          OK   74110     WALGREENS         BW6590827     500    10,000   37,600    42,000   39,000   35,000   27,350   164,100

100101787   046046805   WALGREENS #04597        DSD    FORT LAUDERDALE     FL   33311     WALGREENS         BW6590839             4,100    3,400     3,900    6,400    3,600    4,280    21,400

100102328   046049874   WALGREENS #05297        DSD      ORANGE PARK       FL   32073     WALGREENS         BW6590841                      4,200     6,600    9,800    8,500    7,275    29,100

100099352   021170217   WALGREENS #04530        DSD      KANSAS CITY       MO   64138     WALGREENS         BW6590853    4,200   15,000   17,000    19,500   21,100   12,000   14,800    88,800

100098045   049193128   WALGREENS #04661        DSD    STERLING HEIGHTS    MI   48310     WALGREENS         BW6593392   24,300   24,400   22,500    25,690   23,100    9,400   21,565   129,390

100102710   020162362   WALGREENS #05266        DSD       GLENDALE         AZ   85308     WALGREENS         BW6593948   15,200   16,570   13,500    16,000   12,500   11,800   14,262    85,570

100099414   021170837   WALGREENS #04665        DSD        OLATHE          KS   66062     WALGREENS         BW6593950    1,500   10,400   11,100    11,100   12,300    6,500    8,817    52,900

100095380   041149765   WALGREENS #05588        DSD     NEWPORT NEWS       VA   23605     WALGREENS         BW6593974    7,800    6,600    8,200     7,000    8,300    6,230    7,355    44,130

100099351   021170209   WALGREENS #05357        DSD       RAYTOWN          MO   64133     WALGREENS         BW6599382    5,800   22,100   23,800    23,000   26,400   18,500   19,933   119,600

100111220   021002058   WALGREENS #05357 340B             RAYTOWN          MO   64133   PHS 340B HOSPITAL   BW6599382                                          500     1,000     750      1,500

100111235   021002074   WALGREENS #05357 340B             RAYTOWN          MO   64133   PHS 340B HOSPITAL   BW6599382                                                   300      300       300

100102059   046047647   WALGREENS #05173        DSD        JUPITER         FL   33458     WALGREENS         BW6603472     300      100     3,430     4,730    5,400    3,800    2,960    17,760

100094397   004092460   WALGREENS #05610        DSD        AMHERST         NY   14226     WALGREENS         BW6605452   10,090   13,890    8,530    12,590   15,120    7,200   11,237    67,420

100102553   046052068   WALGREENS #05328        DSD     WINTER HAVEN       FL   33884     WALGREENS         BW6610782     200      200     1,200    11,200   11,200    9,600    5,600    33,600

100097442   044215608   WALGREENS #05028        DSD       NASHVILLE        TN   37216     WALGREENS         BW6610807   25,200   23,600   24,500    26,600   32,500   26,000   26,400   158,400

100057998   021022657   FW HUSTON PHCY          SF       OSKALOOSA         KS   66066   LONG TERM CARE      BW6614475    5,500    4,000    4,100     4,000    5,000    5,000    4,600    27,600

100098280   019171249   WALGREENS #04884        DSD      THIENSVILLE       WI   53092     WALGREENS         BW6616051    9,800    8,700    8,500    10,000    7,900    8,800    8,950    53,700

100102715   046052894   WALGREENS #05246        DSD        APOPKA          FL   32712     WALGREENS         BW6616063     100      700    12,200    13,500   10,400    6,600    7,250    43,500

100097382   044215012   WALGREENS #05564        DSD        DICKSON         TN   37055     WALGREENS         BW6616075   28,700   29,840   27,260    35,500   27,100   27,500   29,317   175,900

100102306   046049759   WALGREENS #05437        DSD         TAMPA          FL   33647     WALGREENS         BW6617180     100               200      4,700    5,900    5,300    3,240    16,200

100101644   046046375   WALGREENS #05451        DSD         TAMPA          FL   33606     WALGREENS         BW6617192     100              1,700    11,300   12,200    6,800    6,420    32,100
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100102413   020161653   WALGREENS #05039        DSD        MESA          AZ   85201     WALGREENS         BW6618461    8,700    8,500    7,200    11,000    8,400    8,700    8,750    52,500

100103282   020163840   WALGREENS #05477        DSD       EL PASO        TX   79907     WALGREENS         BW6621379    2,900   10,700   12,800     9,300    9,000    1,500    7,700    46,200

100103608   032149864   WALGREENS #04730        DSD       EVERETT        WA   98208     WALGREENS         BW6621951    5,800    7,700    6,100     5,600    9,200    5,600    6,667    40,000

100100505   018403105   WALGREENS #05613        DSD       AMARILLO       TX   79109     WALGREENS         BW6622294    1,600   18,200   25,300    28,130   18,600   13,500   17,555   105,330

100099933   018400267   WALGREENS #05558        DSD      LANCASTER       TX   75146     WALGREENS         BW6622307   13,200   23,200   21,200    19,700   18,300   11,500   17,850   107,100

100100024   018401174   WALGREENS #05376        DSD    WEATHERFORD       TX   76086     WALGREENS         BW6622319   11,600   51,800   45,700    44,100   34,500   18,700   34,400   206,400

100103413   008114611   WALGREENS #05480        DSD       MILPITAS       CA   95035     WALGREENS         BW6623208    4,800    5,400    4,800     5,800    5,900    4,600    5,217    31,300

100097535   044215673   WALGREENS #05066        DSD      ARLINGTON       TN   38002     WALGREENS         BW6623222    7,540    8,700   10,030    10,700    8,500    8,600    9,012    54,070

100100475   018402800   WALGREENS #05159        DSD        AUSTIN        TX   78729     WALGREENS         BW6623234    5,700   17,660   19,130    17,430   19,500    9,800   14,870    89,220

100098031   049192989   WALGREENS #05398        DSD       YPSILANTI      MI   48197     WALGREENS         BW6623260   17,100   16,170   15,200    16,600   15,600   11,500   15,362    92,170

100097980   049192476   WALGREENS #05595        DSD     PORT HURON       MI   48060     WALGREENS         BW6623424   37,100   37,300   38,000    42,200   39,300   20,000   35,650   213,900

100100164   038107433   WALGREENS #05536        DSD       HOUSTON        TX   77080     WALGREENS         BW6627294     800      100    12,800    18,400   13,500    9,600    9,200    55,200

100102869   046053603   WALGREENS #05240        DSD       ORLANDO        FL   32817     WALGREENS         BW6627458              200     7,300     8,800    6,900    5,900    5,820    29,100

100099283   044218800   WALGREENS #05304        DSD      SAINT LOUIS     MO   63139     WALGREENS         BW6628917             4,500    7,100     6,000    9,100    4,600    6,260    31,300

100102660   046052571   WALGREENS #05024        DSD     GAINESVILLE      FL   32608     WALGREENS         BW6628979     100      100     1,000     2,000    4,000    4,000    1,867    11,200

100098225   021169599   WALGREENS #05470        DSD      SIOUX CITY      IA   51106     WALGREENS         BW6628993    9,700   11,200   10,000     9,600   11,600    8,500   10,100    60,600

100098081   049193482   WALGREENS #05371        DSD       SAGINAW        MI   48603     WALGREENS         BW6630924   19,600   22,400   24,500    24,700   17,000   16,500   20,783   124,700

100107879   049196477   WALGREENS #05371 340B             SAGINAW        MI   48603    PHS 340B CLINIC    BW6630924     500      500                                           500      1,000

100102011   046047480   WALGREENS #04954        DSD    BOYNTON BEACH     FL   33436     WALGREENS         BW6631370     160      170     6,000     8,290    9,230    5,400    4,875    29,250

100098349   019171934   WALGREENS #05601        DSD      MILWAUKEE       WI   53221     WALGREENS         BW6631546   15,800   16,100   15,000    15,200   21,100    8,600   15,300    91,800

100103253   020163691   WALGREENS #05732        DSD      RIO RANCHO      NM   87144     WALGREENS         BW6631558   12,100   10,800   12,000    12,120   13,200    9,100   11,553    69,320

100095729   010233155   WALGREENS #05473        DSD      WESTLAKE        OH   44145     WALGREENS         BW6631560    3,700    5,200    4,600     4,600    5,200    4,200    4,583    27,500

100097488   052221531   WALGREENS #05597        DSD      KINGSPORT       TN   37664     WALGREENS         BW6631572   16,900   19,600   17,900    17,830   19,940   16,120   18,048   108,290

100097499   052221648   WALGREENS #05502        DSD      LENOIR CITY     TN   37771     WALGREENS         BW6631584   21,660   22,400   19,600    22,300   13,400   20,500   19,977   119,860

100097818   019169342   WALGREENS #05264        DSD     INDIANAPOLIS     IN   46254     WALGREENS         BW6632473   15,300   13,800   15,700    14,600   15,200   11,100   14,283    85,700

100100503   018403089   WALGREENS #05614        DSD       AMARILLO       TX   79106     WALGREENS         BW6632764            13,100   13,000    11,500    9,000    4,500   10,220    51,100

100102867   008113100   WALGREENS #04997        DSD        MARINA        CA   93933     WALGREENS         BW6633742   19,000   21,400   18,400    22,300   27,400   13,700   20,367   122,200

100099602   037131573   WALGREENS #05382        DSD      MANDEVILLE      LA   70471     WALGREENS         BW6636003     100     1,100    9,600    13,000   20,100   13,400    9,550    57,300

100094476   023137570   WALGREENS #04852        DSD      BETHLEHEM       PA   18017     WALGREENS         BW6636609    7,100    7,900    6,600     6,900    6,400    6,900    6,967    41,800

100097811   019169276   WALGREENS #05718        DSD      LAWRENCE        IN   46236     WALGREENS         BW6637093    5,700    5,500    6,000     6,500    5,700    5,500    5,817    34,900

100102679   046052662   WALGREENS #04524        DSD       NAPLES         FL   34113     WALGREENS         BW6639085              800     1,600     4,300    6,800    4,000    3,500    17,500

100099405   021170746   WALGREENS #05287        DSD     SPRINGFIELD      MO   65806     WALGREENS         BW6639097    5,500    8,800   10,700    13,000   13,400    7,000    9,733    58,400

100101624   046046292   WALGREENS #05254        DSD   NORTH PALM BEACH   FL   33408     WALGREENS         BW6640076              200     4,000     6,900    4,500    8,000    4,720    23,600

100097966   049192336   WALGREENS #05083        DSD      EASTPOINTE      MI   48021     WALGREENS         BW6640088   25,300   25,400   24,100    29,000   32,300   10,500   24,433   146,600

100095531   041150854   WALGREENS #05217        DSD       ROANOKE        VA   24012     WALGREENS         BW6640165   25,600   27,800   26,000    27,500   22,500   24,500   25,650   153,900

100094436   041145961   WALGREENS #05331        DSD      BALTIMORE       MD   21244     WALGREENS         BW6640571    3,000    3,100    4,000     3,100    4,700    2,500    3,400    20,400

100098127   049193755   WALGREENS #05707        DSD       JACKSON        MI   49202     WALGREENS         BW6640672   27,700   28,300   24,600    24,800   23,000   22,000   25,067   150,400

100102247   012110593   WALGREENS #04756        DSD     PALM DESERT      CA   92260     WALGREENS         BW6644252   28,130   25,730   23,500    29,690   29,700   22,500   26,542   159,250

100099336   021170050   WALGREENS #04439        DSD       LIBERTY        MO   64068     WALGREENS         BW6645672    5,900   26,200   29,300    30,100   33,900   21,500   24,483   146,900

100111222   021002060   WALGREENS #04439 340B             LIBERTY        MO   64068   PHS 340B HOSPITAL   BW6645672                                                   500      500       500

100111234   021002073   WALGREENS #04439 340B             LIBERTY        MO   64068   PHS 340B HOSPITAL   BW6645672                                                   100      100       100

100098313   019171579   WALGREENS #05636        DSD      WAUKESHA        WI   53188     WALGREENS         BW6645696   12,300   15,600   13,000    14,500   11,600    9,700   12,783    76,700

100101883   046047068   WALGREENS #04773        DSD    OAKLAND PARK      FL   33334     WALGREENS         BW6648313     200      600     3,600     6,500    8,100    8,100    4,517    27,100

100102588   012111617   *WALGREENS #05183       DSD       CORONA         CA   92882     WALGREENS         BW6650344   10,600   10,200   (3,100)                               5,900    17,700
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100102994   046054254   WALGREENS #04906   DSD        ORLANDO         FL   32839   WALGREENS   BW6652285     200              6,300    5,500    6,000    5,500    4,700    23,500

100094753   010229187   WALGREENS #05517   DSD        DAYTON          OH   45420   WALGREENS   BW6654316   14,700   13,000   13,500   15,000   15,300   18,700   15,033    90,200

100097984   049192518   WALGREENS #05426   DSD       ROYAL OAK        MI   48073   WALGREENS   BW6654948   17,700   15,100   18,300   17,300   16,700   19,000   17,350   104,100

100098040   049193078   WALGREENS #05425   DSD       OAK PARK         MI   48237   WALGREENS   BW6654950   17,100   15,400   15,300   16,500   13,100   12,000   14,900    89,400

100100195   038107672   WALGREENS #05269   DSD        CONROE          TX   77301   WALGREENS   BW6655596     200     2,100   24,300   44,400   18,500   23,700   18,867   113,200

100098243   021169748   WALGREENS #05044   DSD      BURLINGTON        IA   52601   WALGREENS   BW6655724   27,700   25,000   21,900   29,300   25,600   14,300   23,967   143,800

100102834   020162644   WALGREENS #05353   DSD        PEORIA          AZ   85382   WALGREENS   BW6658857    9,900    9,300   10,500   10,800   11,800    9,300   10,267    61,600

100101616   008112425   WALGREENS #05152   DSD     CITRUS HEIGHTS     CA   95621   WALGREENS   BW6658869   38,700   53,300   50,100   55,200   35,800   43,600   46,117   276,700

100097157   040118927   WALGREENS #05485   DSD       KENNESAW         GA   30152   WALGREENS   BW6658871   10,200   11,900   10,300    9,600   10,700    7,100    9,967    59,800

100103164   046055251   WALGREENS #04075   DSD      OKEECHOBEE        FL   34972   WALGREENS   BW6658883     200      300    13,500   20,900   16,100   21,000   12,000    72,000

100102323   012110916   WALGREENS #05555   DSD         RIALTO         CA   92376   WALGREENS   BW6660965   25,500   24,500   19,900   25,000   29,800   13,000   22,950   137,700

100102422   012111187   WALGREENS #05220   DSD     MORENO VALLEY      CA   92557   WALGREENS   BW6660989   18,000   21,500   18,100   18,800    8,500    3,500   14,733    88,400

100098263   019171074   WALGREENS #05427   DSD      GERMANTOWN        WI   53022   WALGREENS   BW6660991   13,700   12,700   13,800   15,400   14,700   12,600   13,817    82,900

100098262   019171066   WALGREENS #05281   DSD       DELAFIELD        WI   53018   WALGREENS   BW6661006    7,130    8,300    9,230    7,600   10,000    7,100    8,227    49,360

100102003   017096990   WALGREENS #05184   DSD         BOISE          ID   83704   WALGREENS   BW6663745   19,000   20,700   19,100   20,100   23,900   15,030   19,638   117,830

100099485   021171405   WALGREENS #05190   DSD         OMAHA          NE   68107   WALGREENS   BW6664367    9,000    8,300    8,200    9,000   10,700    7,000    8,700    52,200

100102975   008113365   WALGREENS #04558   DSD     SAN FRANCISCO      CA   94102   WALGREENS   BW6664379    4,000    4,900    4,900    5,600    4,400    2,100    4,317    25,900

100099470   021171256   WALGREENS #05539   DSD         SALINA         KS   67401   WALGREENS   BW6664381   24,800   33,700   37,100   40,900   37,300   24,500   33,050   198,300

100098392   019172361   WALGREENS #05669   DSD       WAUNAKEE         WI   53597   WALGREENS   BW6664393   13,000   13,500   13,000   13,600   16,500    6,600   12,700    76,200

100095701   010233064   WALGREENS #05549   DSD        WARREN          OH   44485   WALGREENS   BW6665511   32,000   36,000   30,000   33,200   31,900   30,900   32,333   194,000

100100212   040119909   WALGREENS #04813   DSD      HILTON HEAD       SC   29928   WALGREENS   BW6665523    6,760    7,500    6,560    6,000    6,500    4,500    6,303    37,820

100099270   044218677   WALGREENS #05285   DSD      SAINT LOUIS       MO   63129   WALGREENS   BW6668086      60     7,400   10,060   11,900   16,100   10,900    9,403    56,420

100097714   044216804   WALGREENS #05172   DSD       LOUISVILLE       KY   40214   WALGREENS   BW6671019    6,700   25,700   40,020   41,100   38,500   32,000   30,670   184,020

100101547   008112367   WALGREENS #04681   DSD        EUREKA          CA   95501   WALGREENS   BW6671021   30,700   21,600   23,100   24,700   31,100   22,500   25,617   153,700

100101701   046046565   WALGREENS #05695   DSD         TAMPA          FL   33635   WALGREENS   BW6672528     100      200      800     4,400    7,000    6,600    3,183    19,100

100098247   019170928   WALGREENS #05512   DSD      BETTENDORF        IA   52722   WALGREENS   BW6672530   12,800   16,300   12,700   12,500   16,700   10,500   13,583    81,500

100100333   018401786   WALGREENS #05765   DSD        BOERNE          TX   78006   WALGREENS   BW6672605    1,410    2,660   23,430   35,100   21,200   16,800   16,767   100,600

100100272   038108183   WALGREENS #05733   DSD       PASADENA         TX   77505   WALGREENS   BW6672617     600              9,200   12,900   12,300    7,700    8,540    42,700

100094467   055033019   WALGREENS #04843   DSD        BELMONT         NC   28012   WALGREENS   BW6672631   23,500   23,300   24,500   28,100   29,300   17,000   24,283   145,700

100099343   021170126   WALGREENS #04211   DSD      KANSAS CITY       MO   64110   WALGREENS   BW6673645    1,600    5,100    7,500    7,900   10,400    6,300    6,467    38,800

100099326   021169953   WALGREENS #05277   DSD        BELTON          MO   64012   WALGREENS   BW6673657    4,400   19,600   21,100   22,100   22,400   17,900   17,917   107,500

100102020   017097030   WALGREENS #05565   DSD         BOISE          ID   83709   WALGREENS   BW6675497   21,100   20,300   20,500   19,100   24,700   15,000   20,117   120,700

100101658   046046433   WALGREENS #04917   DSD         MIAMI          FL   33169   WALGREENS   BW6675500     200      100      500     2,300    2,500    1,800    1,233     7,400

100094752   010229179   WALGREENS #05430   DSD        DAYTON          OH   45402   WALGREENS   BW6675524   18,100   17,400   16,100   15,200   14,000   11,800   15,433    92,600

100095145   010232199   WALGREENS #05820   DSD   MENTOR ON THE LAKE   OH   44060   WALGREENS   BW6675536    9,990    9,280    7,890    9,500   11,200    8,800    9,443    56,660

100096305   004100800   WALGREENS #05592   DSD        BUFFALO         NY   14221   WALGREENS   BW6675548   11,500   10,300   10,000   12,000   13,500    7,600   10,817    64,900

100097122   040118570   WALGREENS #05758   DSD        SMYRNA          GA   30080   WALGREENS   BW6675550    6,460    6,130    6,720    5,600    7,500    6,200    6,435    38,610

100099609   037131649   WALGREENS #04626   DSD       LAFAYETTE        LA   70508   WALGREENS   BW6675562     700     2,180   10,600   21,300   22,500   15,800   12,180    73,080

100094438   041145987   WALGREENS #05409   DSD       BALTIMORE        MD   21224   WALGREENS   BW6678734    7,000    8,180    6,800    9,800    7,600    5,700    7,513    45,080

100099505   021171603   WALGREENS #05360   DSD         OMAHA          NE   68137   WALGREENS   BW6678746   11,100   10,100    9,800   12,000   15,000    6,230   10,705    64,230

100103333   020164178   WALGREENS #05369   DSD      HENDERSON         NV   89015   WALGREENS   BW6678809   40,200   44,500   41,460   44,200   46,800   15,500   38,777   232,660

100098537   025090191   WALGREENS #05325   DSD        CHASKA          MN   55318   WALGREENS   BW6679445   13,000   14,200   13,100   12,500   14,500   10,500   12,967    77,800

100102712   046052878   WALGREENS #05330   DSD     MARCO ISLAND       FL   34145   WALGREENS   BW6682151     300              2,000    4,400    4,900    4,500    3,220    16,100

100099333   021170027   WALGREENS #05247   DSD     INDEPENDENCE       MO   64055   WALGREENS   BW6684749    6,300   28,300   34,100   34,300   32,100   14,800   24,983   149,900
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100109359   021175778   WALGREENS #05247 340B          INDEPENDENCE    MO   64055   PHS 340B HOSPITAL   BW6684749     600      900      100      500     1,500    3,600    1,200     7,200

100107034   021058131   WALGREENS # 05247 340B         INDEPENDENCE    MO   64055   PHS 340B HOSPITAL   BW6684749    1,000     300      500      200      600     3,700    1,050     6,300

100096269   004100438   WALGREENS #04923         DSD   WEST ROXBURY    MA   02132     WALGREENS         BW6684775    4,100    4,700    3,900    3,800    4,900    4,460    4,310    25,860

100103429   008114694   WALGREENS #04372         DSD     SAN JOSE      CA   95112     WALGREENS         BW6684927   14,500   15,100   12,400   13,100   15,700    9,400   13,367    80,200

100101696   017096594   WALGREENS #05648         DSD      NAMPA        ID   83651     WALGREENS         BW6686806   44,700   46,600   44,000   49,500   48,200   28,300   43,550   261,300

100107949   017098483   WALGREENS # 05648 340B            NAMPA        ID   83651    PHS 340B CLINIC    BW6686806                       500      500                        500      1,000

100095821   041151738   WALGREENS #04922         DSD     BELLMAWR      NJ   08031     WALGREENS         BW6687377    3,430    2,600    1,500    3,800    2,400    2,700    2,738    16,430

100098630   021169821   WALGREENS #05745         DSD    SIOUX FALLS    SD   57106     WALGREENS         BW6687389   16,500   15,700   15,000   18,500   19,700   14,500   16,650    99,900

100097398   044215178   WALGREENS #05563         DSD    HERMITAGE      TN   37076     WALGREENS         BW6687391   27,690   26,160   27,860   26,260   25,700   22,200   25,978   155,870

100097821   019169375   WALGREENS #05727         DSD    CEDAR LAKE     IN   46303     WALGREENS         BW6691439   24,300   23,000   23,100   23,300   28,200   20,300   23,700   142,200

100102896   008113175   WALGREENS #05365         DSD     DALY CITY     CA   94014     WALGREENS         BW6698154    9,600    9,400    8,500    9,400    8,900    6,200    8,667    52,000

100102419   046051391   WALGREENS #05326         DSD      LARGO        FL   33770     WALGREENS         BW6698180               -              11,700    8,700   10,500    7,725    30,900

100097400   044215194   WALGREENS #06039         DSD    LA VERGNE      TN   37086     WALGREENS         BW6698192   22,200   20,100   18,500   21,000   18,500   19,500   19,967   119,800

100095014   055034470   WALGREENS #04871         DSD    KANNAPOLIS     NC   28083     WALGREENS         BW6700834   30,500   28,190   27,160   23,560   21,100   22,000   25,418   152,510

100095656   010232942   WALGREENS #05319         DSD      TOLEDO       OH   43605     WALGREENS         BW6701367   11,600   13,800   11,000   11,000   13,400    8,000   11,467    68,800

100095035   010231712   WALGREENS #05206         DSD    LAKEWOOD       OH   44107     WALGREENS         BW6704185   15,750   15,100   14,790   16,720   15,800   12,300   15,077    90,460

100103392   008114512   WALGREENS #04559         DSD    MILL VALLEY    CA   94941     WALGREENS         BW6707460   15,000   15,790   16,100   16,400   14,700   10,200   14,698    88,190

100103146   008113787   WALGREENS #05487         DSD   SAN FRANCISCO   CA   94124     WALGREENS         BW6707472   22,900   23,100   21,300   23,400   21,000   16,400   21,350   128,100

100103080   020163253   WALGREENS #05567         DSD   COTTONWOOD      AZ   86326     WALGREENS         BW6708347   28,600   30,100   26,200   28,500   31,600   26,600   28,600   171,600

100102461   020161778   WALGREENS #05392         DSD       MESA        AZ   85208     WALGREENS         BW6708359   11,700   12,990   12,100   13,500   15,800    8,800   12,482    74,890

100099971   018400648   WALGREENS #05710         DSD      DALLAS       TX   75252     WALGREENS         BW6709642    7,400   11,820   13,300    8,400   10,200    8,100    9,870    59,220

100100504   018403097   WALGREENS #05611         DSD     AMARILLO      TX   79107     WALGREENS         BW6709654     700    21,500   29,200   27,200   20,500   10,000   18,183   109,100

100101680   032148189   WALGREENS #05598         DSD     EVERETT       WA   98203     WALGREENS         BW6711192   14,600   13,200   14,000   13,600   14,500    9,500   13,233    79,400

100100017   018401109   WALGREENS #05921         DSD     GRANBURY      TX   76048     WALGREENS         BW6713021    9,200   44,920   45,100   44,920   29,900   40,700   35,790   214,740

100098621   025091025   WALGREENS #05635         DSD     BRAINERD      MN   56401     WALGREENS         BW6713033   16,430   16,900   15,100   15,700   15,300   10,000   14,905    89,430

100103492   008115345   WALGREENS #05501         DSD     ROSEVILLE     CA   95747     WALGREENS         BW6713045   26,000   30,600   28,100   29,100   18,200   29,600   26,933   161,600

100102092   046047746   WALGREENS #04956         DSD    LAKE WORTH     FL   33463     WALGREENS         BW6717877                      2,900    3,000    4,600    3,400    3,475    13,900

100103167   046055269   WALGREENS #04386         DSD    HOLLYWOOD      FL   33023     WALGREENS         BW6717992     100      300     2,200    4,600    6,800    3,200    2,867    17,200

100096212   004099697   WALGREENS #05445         DSD    SPRINGFIELD    MA   01129     WALGREENS         BW6718007    3,260    4,800    1,560    4,060    4,900    2,500    3,513    21,080

100097540   044215723   WALGREENS #05705         DSD   COLLIERVILLE    TN   38017     WALGREENS         BW6718019    6,100    6,020    5,600    5,800    6,100    4,000    5,603    33,620

100099554   037131094   WALGREENS #05633         DSD     MARRERO       LA   70072     WALGREENS         BW6718021             1,000   10,200   15,300   11,500   13,200   10,240    51,200

100103006   046054346   WALGREENS #05341         DSD    MELBOURNE      FL   32904     WALGREENS         BW6718766     100      200     3,700   10,200    9,800    8,100    5,350    32,100

100103205   020163576   WALGREENS #05731         DSD   ALBUQUERQUE     NM   87114     WALGREENS         BW6722501    9,000    8,500    8,500    8,000   10,100    6,100    8,367    50,200

100099316   044219105   WALGREENS #05624         DSD    FARMINGTON     MO   63640     WALGREENS         BW6722513            25,000   39,500   43,100   52,800   23,200   36,720   183,600

100103750   012111724   WALGREENS #05348         DSD      YUCAIPA      CA   92399     WALGREENS         BW6722525   54,100   51,200   42,600   61,100   37,000   40,700   47,783   286,700

100095610   023145896   WALGREENS #05051         DSD    LAURELTON      NY   11413     WALGREENS         BW6726650    1,600    1,700    1,500    1,400    1,400    1,200    1,467     8,800

100098467   019172916   WALGREENS #05102         DSD     APPLETON      WI   54914     WALGREENS         BW6727018    7,600    9,100    8,600    8,500    9,100    7,500    8,400    50,400

100103128   046054981   WALGREENS #05079         DSD    FORT PIERCE    FL   34950     WALGREENS         BW6727020     200      200     5,020   11,700   11,200    9,500    6,303    37,820

100094519   023137836   WALGREENS #04363         DSD     BROOKLYN      NY   11211     WALGREENS         BW6731574     900     1,300    2,500     500      300     1,200    1,117     6,700

100094442   041146076   WALGREENS #05638         DSD    BALTIMORE      MD   21215     WALGREENS         BW6731586    3,200    2,100    3,100    1,100    3,600    2,200    2,550    15,300

100098022   049192898   WALGREENS #05596         DSD      TAYLOR       MI   48180     WALGREENS         BW6732259   19,200   16,300   22,300   17,700   16,100    8,100   16,617    99,700

100097106   040118414   WALGREENS #05898         DSD      LILBURN      GA   30047     WALGREENS         BW6732881    7,100    6,700    6,000    8,100    3,600    6,500    6,333    38,000

100099606   037131615   WALGREENS #05747         DSD     LAFAYETTE     LA   70507     WALGREENS         BW6733504             4,100   15,400   24,700   33,000   30,000   21,440   107,200

100109345   037135244   WALGREENS #05747 340B            LAFAYETTE     LA   70507    PHS 340B CLINIC    BW6733504                       500                                 500       500
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100095530   041150847   WALGREENS #05216     DSD            ROANOKE         VA   24018     WALGREENS         BW6734001   16,600    18,130   16,590   18,030   20,000   17,000   17,725   106,350

100098101   049193680   WALGREENS #05503     DSD             LANSING        MI   48912     WALGREENS         BW6739291   14,800    13,700   15,700   14,800   16,800   10,600   14,400    86,400

100095167   010232256   WALGREENS #05321     DSD             MONROE         MI   48162     WALGREENS         BW6739304   23,900    22,700   19,800   21,100   25,600   19,200   22,050   132,300

100087076   049185082   WALGREENS CO #5321 340B              MONROE         MI   48162    PHS 340B CLINIC    BW6739304                                1,100                      1,100     1,100

100102383   046051193   WALGREENS #05662     DSD           CLEARWATER       FL   33755     WALGREENS         BW6741133     (100)    1,200      -      7,100   11,700    7,900    4,633    27,800

100101571   020160010   WALGREENS #04790     DSD            LAS VEGAS       NV   89115     WALGREENS         BW6742919   22,600    25,700   24,700   27,500   30,000   11,700   23,700   142,200

100099770   018398644   WALGREENS #03647     DSD             NORMAN         OK   73071     WALGREENS         BW6744177    1,000      200    28,600   33,100   24,700   18,500   17,683   106,100

100099212   044218099   WALGREENS #05003     DSD           MANCHESTER       MO   63011     WALGREENS         BW6745509     200      9,000   10,900   13,300   14,200    6,800    9,067    54,400

100101807   046046854   WALGREENS #04694     DSD             SUNRISE        FL   33313     WALGREENS         BW6745511     100       100     1,900    2,200    2,000    3,100    1,567     9,400

100099807   018399014   WALGREENS #05531     DSD               ENID         OK   73701     WALGREENS         BW6755435     100       700    26,300   26,500   26,200   20,500   16,717   100,300

100099776   018398701   WALGREENS #04895     DSD          OKLAHOMA CITY     OK   73107     WALGREENS         BW6755738     600       200    14,600   22,100   16,200   18,000   11,950    71,700

100103345   020164251   WALGREENS #05646     DSD            PAHRUMP         NV   89048     WALGREENS         BW6761084   48,800    53,400   51,500   49,400   39,900   25,200   44,700   268,200

100100424   037133025   WALGREENS #05734     DSD            EDINBURG        TX   78539     WALGREENS         BW6761351     500       700     3,500    4,700    4,000    3,000    2,733    16,400

100102704   046052837   WALGREENS #05693     DSD            IMMOKALEE       FL   34142     WALGREENS         BW6761767               300     2,000    3,200    4,200    2,700    2,480    12,400

100098056   049193235   WALGREENS #05290     DSD         FARMINGTON HILLS   MI   48336     WALGREENS         BW6763533    9,500    13,900    9,300   10,300   12,600    5,200   10,133    60,800

100059157   044043653   WOODBURN PHCY, LLC    APSC       DAWSON SPRINGS     KY   42408     INDEPENDENT       BW6764535   11,600    15,000   13,200   12,800   19,000    7,500   13,183    79,100

100098639   038106716   WALGREENS #05643     DSD            RAPID CITY      SD   57702     WALGREENS         BW6769333   18,600    22,300   19,800   22,400   25,300   16,500   20,817   124,900

100054564   056001636   WOMEN'S AND BABIES HOSP             LANCASTER       PA   17601       HOSPITAL        BW6770160               300               200               180      227       680

100100027   018401208   WALGREENS #05961     DSD           FORT WORTH       TX   76102     WALGREENS         BW6772520    3,200    10,700   11,800   10,100    8,100    8,000    8,650    51,900

100099553   037131086   WALGREENS #05516     DSD            MARRERO         LA   70072     WALGREENS         BW6772900     140      2,000   14,800   23,900   25,900   21,800   14,757    88,540

100099972   018400655   WALGREENS #05826     DSD             DALLAS         TX   75254     WALGREENS         BW6772912   11,900    16,920   18,900   15,400   13,000    8,600   14,120    84,720

100097401   044215202   WALGREENS #05953     DSD             LEBANON        TN   37087     WALGREENS         BW6773887   48,200    45,100   47,000   48,200   37,200   42,000   44,617   267,700

100096180   004099457   WALGREENS #04595     DSD              SALEM         MA   01970     WALGREENS         BW6774118    4,500     5,600    4,600    3,700    5,100    2,400    4,317    25,900

100100269   038108159   WALGREENS #05767     DSD            PASADENA        TX   77502     WALGREENS         BW6774120    5,400    28,500   23,400   26,500   11,500   17,500   18,800   112,800

100097087   040118224   WALGREENS #05990     DSD            SUWANEE         GA   30024     WALGREENS         BW6777619   10,400    10,000   10,000   10,600   12,100    8,500   10,267    61,600

100097102   040118372   WALGREENS #05446     DSD          LAWRENCEVILLE     GA   30044     WALGREENS         BW6777621   11,700    10,700   10,500   11,500    7,700    9,000   10,183    61,100

100102105   012109116   WALGREENS #05455     DSD            ESCONDIDO       CA   92025     WALGREENS         BW6779118   13,900    14,500   12,900   15,500   16,900   10,700   14,067    84,400

100102154   017097683   WALGREENS #05929     DSD           WEST VALLEY      UT   84128     WALGREENS         BW6779132   19,100    17,910   16,000   18,500   20,500   12,500   17,418   104,510

100099344   021170134   WALGREENS #05278     DSD           KANSAS CITY      MO   64111     WALGREENS         BW6780010    3,600    22,800   21,600   27,200   30,100   22,000   21,217   127,300

100084223   021145094   WALGREENS CO #05278-BDWAY 340B     KANSAS CITY      MO   64111   PHS 340B HOSPITAL   BW6780010     400                                                    400       400

100101940   017096727   WALGREENS #05839     DSD           IDAHO FALLS      ID   83404     WALGREENS         BW6781884   17,100    20,100   16,600   19,600   19,100   12,500   17,500   105,000

100095598   041151001   WALGREENS #03764     DSD          SOUTHAMPTON       PA   18966     WALGREENS         BW6782658    4,600     4,200    4,800    5,000    3,900    1,700    4,033    24,200

100102667   046052605   WALGREENS #04958     DSD             NAPLES         FL   34109     WALGREENS         BW6783802     180       200     4,800    5,900    6,000    5,500    3,763    22,580

100097916   019170324   WALGREENS #05663     DSD             MARION         IN   46952     WALGREENS         BW6786137   49,800    52,900   49,700   54,700   47,500   19,000   45,600   273,600

100097780   019168963   WALGREENS #05753     DSD              AVON          IN   46123     WALGREENS         BW6789892   18,700    18,300   20,500   19,900   31,000   24,700   22,183   133,100

100101190   032148056   WALGREENS #05780     DSD             TIGARD         OR   97223     WALGREENS         BW6792255   20,330    18,020   19,590   19,300   20,300   13,200   18,457   110,740

100101652   046046417   WALGREENS #05494     DSD           MELBOURNE        FL   32935     WALGREENS         BW6793423               200     3,800    8,700    8,300    5,500    5,300    26,500

100097810   019169268   WALGREENS #05978     DSD           INDIANAPOLIS     IN   46236     WALGREENS         BW6795629   13,800     9,800   12,600   13,400   13,400   14,900   12,983    77,900

100097936   019170431   WALGREENS #05802     DSD             MUNCIE         IN   47303     WALGREENS         BW6795631   33,000    28,100   34,100   35,800   27,200   27,200   30,900   185,400

100097937   019170449   WALGREENS #05803     DSD             MUNCIE         IN   47303     WALGREENS         BW6795643   36,500    31,400   38,300   34,600   31,600   32,100   34,083   204,500

100099458   018397620   WALGREENS #06113     DSD             WICHITA        KS   67207     WALGREENS         BW6795655   10,520    17,200   16,600   19,100   17,100   16,500   16,170    97,020

100097301   052220483   WALGREENS #05861     DSD           NORTHPORT        AL   35476     WALGREENS         BW6795679   31,400    33,600   28,600   31,700   29,700   37,500   32,083   192,500

100099369   021170381   WALGREENS #05928     DSD            WEBB CITY       MO   64870     WALGREENS         BW6796974   11,400    16,700   21,100   19,700   21,500   12,900   17,217   103,300

100099800   018398941   WALGREENS #05739     DSD            ARDMORE         OK   73401     WALGREENS         BW6796986             10,500   29,000   28,000   18,500   19,500   21,100   105,500
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100097686   052222463   WALGREENS #05653   DSD      PASCAGOULA       MS   39567   WALGREENS     BW6797205   14,100    25,500   22,600   23,200   24,600   21,000   21,833   131,000

100101676   046046508   WALGREENS #05582   DSD   FORT WALTON BEACH   FL   32547   WALGREENS     BW6799677     450       320     9,400   13,900   16,700   18,100    9,812    58,870

100102213   012110494   WALGREENS #05182   DSD       BANNING         CA   92220   WALGREENS     BW6802450   60,900    58,100   57,100   68,500   34,300   50,100   54,833   329,000

100097590   018397562   WALGREENS #05654   DSD       MEMPHIS         TN   38134   WALGREENS     BW6802462   10,700     8,300    8,800   11,200   10,300    8,400    9,617    57,700

100098540   025090225   WALGREENS #05685   DSD      BURNSVILLE       MN   55337   WALGREENS     BW6803868    5,100     7,700    6,700    5,900    8,000    4,800    6,367    38,200

100098275   019171199   WALGREENS #06097   DSD      SHEBOYGAN        WI   53081   WALGREENS     BW6806206   14,600    16,800   16,700   15,800   13,600   16,600   15,683    94,100

100099790   018398842   WALGREENS #05740   DSD     OKLAHOMA CITY     OK   73132   WALGREENS     BW6806218               100    18,500   23,000   19,100   18,100   15,760    78,800

100098431   025089474   WALGREENS #05746   DSD       GREEN BAY       WI   54302   WALGREENS     BW6808755   14,600    14,000   14,300   15,700   13,600   11,500   13,950    83,700

100098438   025089524   WALGREENS #06153   DSD        ANTIGO         WI   54409   WALGREENS     BW6808767   19,000    18,700   19,700   20,600   19,500   20,030   19,588   117,530

100102903   046053777   WALGREENS #05858   DSD      SPRING HILL      FL   34609   WALGREENS     BW6808856      (60)     100     3,200   13,800   13,000   11,200    6,873    41,240

100099885   018399782   WALGREENS #05443   DSD        PLANO          TX   75025   WALGREENS     BW6810255    3,330     6,200    6,500    6,200    7,000    3,500    5,455    32,730

100095734   023146100   WALGREENS #04688   DSD      WHITESTONE       NY   11357   WALGREENS     BW6810938    2,200     2,100    2,200    1,700    2,900    2,000    2,183    13,100

100098774   019174383   WALGREENS #05603   DSD       SYCAMORE        IL   60178   WALGREENS     BW6810940   33,400    37,320   31,800   32,900   39,400   26,800   33,603   201,620

100100466   018402719   WALGREENS #05708   DSD      ROUND ROCK       TX   78681   WALGREENS     BW6813910    2,400    16,400   11,800   11,800   11,100    7,600   10,183    61,100

100102080   046047696   WALGREENS #05174   DSD       LANTANA         FL   33462   WALGREENS     BW6815003               100     2,800    5,400    3,800    5,400    3,500    17,500

100097628   044216499   WALGREENS #05396   DSD      SOUTHAVEN        MS   38671   WALGREENS     BW6816978    9,600     8,600    8,200    9,600    7,300    8,000    8,550    51,300

100101889   038109942   WALGREENS #05838   DSD       CHEYENNE        WY   82001   WALGREENS     BW6819695   24,400    25,800   21,400   21,600   22,500   21,700   22,900   137,400

100102742   046053017   WALGREENS #05809   DSD        EUSTIS         FL   32726   WALGREENS     BW6819708     400       300    11,300   14,530    6,000   13,700    7,705    46,230

100094379   010228106   WALGREENS #05904   DSD        AKRON          OH   44305   WALGREENS     BW6819924   12,100    11,900   10,200   11,100   11,900    8,000   10,867    65,200

100102928   046053918   WALGREENS #05132   DSD    NEW PORT RICHEY    FL   34652   WALGREENS     BW6822806     200       300     3,800   11,730   15,800   11,800    7,272    43,630

100094815   010229336   WALGREENS #05548   DSD       ERLANGER        KY   41018   WALGREENS     BW6826525   11,300     9,200    9,600   11,600   10,600    8,000   10,050    60,300

100101576   046046128   WALGREENS #04728   DSD         MIAMI         FL   33150   WALGREENS     BW6826703                       1,000    3,800    3,300    1,000    2,275     9,100

100102610   020162115   WALGREENS #04507   DSD      SCOTTSDALE       AZ   85260   WALGREENS     BW6831944   11,450    14,380   11,910   12,750   11,300   10,700   12,082    72,490

100098059   049193268   WALGREENS #05171   DSD      CLARKSTON        MI   48346   WALGREENS     BW6831956   33,400    36,500   35,600   38,800   45,900   28,400   36,433   218,600

100097119   040118547   WALGREENS #05605   DSD       ROSWELL         GA   30075   WALGREENS     BW6831968    6,900     4,300    5,600    5,200    4,400    3,600    5,000    30,000

100101812   038109751   WALGREENS #05621   DSD   COLORADO SPRINGS    CO   80918   WALGREENS     BW6831970    6,400     9,900    8,800    8,200   10,600    6,400    8,383    50,300

100098216   025089391   WALGREENS #05941   DSD      MASON CITY       IA   50401   WALGREENS     BW6836350   14,600    19,700   16,600   17,700   19,500   12,000   16,683   100,100

100099457   018397612   WALGREENS #06006   DSD        WICHITA        KS   67206   WALGREENS     BW6836401   11,430    17,900   18,000   17,400   25,000   19,200   18,155   108,930

100098355   019171991   WALGREENS #04471   DSD      MILWAUKEE        WI   53224   WALGREENS     BW6839433    9,700    10,000   10,100    9,800   10,700    9,100    9,900    59,400

100100347   018401885   WALGREENS #05963   DSD       SCHERTZ         TX   78154   WALGREENS     BW6839457     900       840    16,100   28,100   20,500   14,500   13,490    80,940

100097361   052221044   WALGREENS #06085   DSD        MOBILE         AL   36619   WALGREENS     BW6839471   55,400    47,200   54,900   53,400   42,400   38,000   48,550   291,300

100098293   019171371   WALGREENS #05884   DSD       FRANKLIN        WI   53132   WALGREENS     BW6842377   12,400    14,100   11,300   14,000   14,100   10,000   12,650    75,900

100095570   023145821   WALGREENS #05135   DSD        SELDEN         NY   11784   WALGREENS     BW6842656   12,260    14,390   13,950   13,910   16,200   14,000   14,118    84,710

100100482   018402875   WALGREENS #06050   DSD    WEST LAKE HILLS    TX   78746   WALGREENS     BW6842668    2,100     9,490    9,230    9,320    9,300    5,600    7,507    45,040

100102460   046051615   WALGREENS #05690   DSD     JACKSONVILLE      FL   32218   WALGREENS     BW6842670      -        400     7,100   15,000   11,000   18,500    8,667    52,000

100103632   032150839   WALGREENS #05150   DSD        TACOMA         WA   98418   WALGREENS     BW6846616   12,700    12,400   12,100   12,700   14,700    9,100   12,283    73,700

100095060   010231795   WALGREENS #05574   DSD       LEXINGTON       KY   40505   WALGREENS     BW6846628    5,100    18,600   18,930   24,500   26,600   16,130   18,310   109,860

100101672   046046482   WALGREENS #05581   DSD      PENSACOLA        FL   32504   WALGREENS     BW6850653     200       440    14,200   18,230   18,000   23,600   12,445    74,670

100100140   038107235   WALGREENS #05834   DSD       HOUSTON         TX   77065   WALGREENS     BW6851148     200       600     5,320    4,500    2,700    4,600    2,987    17,920

100097125   040118604   WALGREENS #05336   DSD    STONE MOUNTAIN     GA   30083   WALGREENS     BW6852518   11,900    12,400   10,500   12,000   10,700    8,000   10,917    65,500

100097485   052221507   WALGREENS #05828   DSD      KINGSPORT        TN   37660   WALGREENS     BW6853534   51,100    52,700   43,930   47,700   45,100   33,500   45,672   274,030

100095012   041147249   WALGREENS #05523   DSD      JENKINTOWN       PA   19046   WALGREENS     BW6860349    3,630     3,900    3,320    3,890    4,000    3,000    3,623    21,740

100099116   019178814   WALGREENS #06079   DSD        PEORIA         IL   61614   WALGREENS     BW6860705    3,000    10,200   12,200   12,900   15,200    8,500   10,333    62,000

100073927   055099788   WOOD PHCY,INC.                BENSON         NC   27504   INDEPENDENT   BW6864462    1,000     1,100              500     9,700             3,075    12,300
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100097973   049192401   WALGREENS #05968         DSD     CLINTON TWP     MI   48038     WALGREENS         BW6864474   29,600   31,300   29,400   32,000   28,600   20,100   28,500   171,000

100097981   049192484   WALGREENS #06053         DSD     PORT HURON      MI   48060     WALGREENS         BW6864486   30,800   27,100   26,120   29,200   24,500   18,000   25,953   155,720

100098049   049193169   WALGREENS #05291         DSD   SHELBY TOWNSHIP   MI   48315     WALGREENS         BW6864498   10,450   11,100   13,130   14,600   18,900   11,730   13,318    79,910

100101688   038109405   WALGREENS #05642         DSD       PUEBLO        CO   81008     WALGREENS         BW6866478   16,900   16,800   17,800   17,300   22,700   12,500   17,333   104,000

100099653   037132092   WALGREENS #06028         DSD    BATON ROUGE      LA   70816     WALGREENS         BW6866480     620      800    10,860   13,400   18,800   15,400    9,980    59,880

100099714   018398206   WALGREENS #05730         DSD     LITTLE ROCK     AR   72204     WALGREENS         BW6876493   12,100   21,200   20,300   24,000   20,400   20,500   19,750   118,500

100097727   044216937   WALGREENS #05813         DSD      LOUISVILLE     KY   40229     WALGREENS         BW6876568    9,120   42,800   49,300   65,020   38,300   20,000   37,423   224,540

100095452   041150037   WALGREENS #05522         DSD    PHILADELPHIA     PA   19124     WALGREENS         BW6878295    6,500    6,600    6,700    5,800    5,000    5,000    5,933    35,600

100099456   021171215   WALGREENS #06005         DSD       WICHITA       KS   67205     WALGREENS         BW6878322   14,020   21,420   19,640   23,020   28,900   19,200   21,033   126,200

100101668   032148171   WALGREENS #05571         DSD       OLYMPIA       WA   98502     WALGREENS         BW6878358   11,300   12,400   10,300   12,400   12,500    8,500   11,233    67,400

100102480   046051698   WALGREENS #05448         DSD    JACKSONVILLE     FL   32224     WALGREENS         BW6883361      -       100     3,300    1,900    5,300    4,500    2,517    15,100

100099577   037131326   WALGREENS #05551         DSD    NEW ORLEANS      LA   70130     WALGREENS         BW6886204              500     1,000    1,000    2,000    1,500    1,200     6,000

100099993   018400861   WALGREENS #05792         DSD       LUFKIN        TX   75901     WALGREENS         BW6886216     900     3,700   19,100   38,600   31,100   21,200   19,100   114,600

100099392   021170613   WALGREENS #05289         DSD         NIXA        MO   65714     WALGREENS         BW6886228   24,100   25,200   35,200   37,300   34,300   28,100   30,700   184,200

100100122   038107086   WALGREENS #06182         DSD      HOUSTON        TX   77049     WALGREENS         BW6891142     100      200     8,040   11,360    9,500    7,100    6,050    36,300

100101749   008112474   WALGREENS #06101         DSD      MARTINEZ       CA   94553     WALGREENS         BW6891154   38,860   38,700   36,360   34,800   33,900   28,700   35,220   211,320

100096127   023146936   WALGREENS #05005         DSD      PATERSON       NJ   07501     WALGREENS         BW6892093    3,800    3,500    4,000    4,900    3,790    3,500    3,915    23,490

100100063   018401562   WALGREENS #05476         DSD       KELLER        TX   76248     WALGREENS         BW6893285    2,600   13,100   11,920   11,000   15,000    8,600   10,370    62,220

100103663   032151142   WALGREENS #05914         DSD   SPOKANE VALLEY    WA   99037     WALGREENS         BW6893300   23,500   23,600   21,500   21,200   25,200   13,500   21,417   128,500

100098305   019171496   WALGREENS #04887         DSD      OAK CREEK      WI   53154     WALGREENS         BW6893730   19,330   19,800   16,200   17,600   13,900   14,200   16,838   101,030

100096416   019163212   WALGREENS # 04887 340B           OAK CREEK       WI   53154   PHS 340B HOSPITAL   BW6893730              500                                          500       500

100098655   019173195   WALGREENS #05711         DSD     DES PLAINES     IL   60016     WALGREENS         BW6894693   12,800   16,100   12,100   12,700   17,300   12,700   13,950    83,700

100098582   025090647   WALGREENS #05413         DSD       BLAINE        MN   55434     WALGREENS         BW6895835    8,800    8,000    8,200    7,800    9,400    6,200    8,067    48,400

100097085   040118208   WALGREENS #05760         DSD     ALPHARETTA      GA   30022     WALGREENS         BW6900319    6,800    6,700    6,200    5,500    6,100    5,860    6,193    37,160

100097086   040118216   WALGREENS #05903         DSD     ALPHARETTA      GA   30022     WALGREENS         BW6900321    5,500    5,200    4,200    4,100    3,500    3,500    4,333    26,000

100101533   038108902   WALGREENS #06284         DSD      LITTLETON      CO   80123     WALGREENS         BW6900333    7,300    9,830    6,860    6,560    8,600    4,400    7,258    43,550

100099183   019179127   WALGREENS #05976         DSD       LINCOLN       IL   62656     WALGREENS         BW6902438    5,100   25,900   29,400   33,800   26,600   23,000   23,967   143,800

100094439   041145995   WALGREENS #05410         DSD      BALTIMORE      MD   21202     WALGREENS         BW6907008    1,100     500     1,500    1,100      -      1,500     950      5,700

100094940   041147140   WALGREENS #05878         DSD      HAMPTON        VA   23666     WALGREENS         BW6907729    7,500    9,500    9,100    6,500   11,000    7,800    8,567    51,400

100095018   010229799   WALGREENS #05639         DSD        KENT         OH   44240     WALGREENS         BW6910334    7,700    8,530    8,500    8,800    9,800    9,400    8,788    52,730

100099171   044217745   WALGREENS #05752         DSD     EFFINGHAM       IL   62401     WALGREENS         BW6910346    7,300   31,100   34,300   36,200   26,400   20,000   25,883   155,300

100102762   046053108   WALGREENS #05859         DSD     ENGLEWOOD       FL   34223     WALGREENS         BW6916881     300      300     6,600   13,200    8,700   10,900    6,667    40,000

100103342   020164244   WALGREENS #05814         DSD   NORTH LAS VEGAS   NV   89032     WALGREENS         BW6917972   54,000   56,300   40,200   62,400   43,700   49,000   50,933   305,600

100103621   032149997   WALGREENS #05698         DSD    PORT ORCHARD     WA   98366     WALGREENS         BW6922909    9,500   11,200    9,230   11,130    9,600    6,000    9,443    56,660

100096229   041152561   WALGREENS #04919         DSD     TOMS RIVER      NJ   08753     WALGREENS         BW6926628    5,800    7,260    4,460    4,660    4,900    4,600    5,280    31,680

100099304   044219014   WALGREENS #05974         DSD    SAINT PETERS     MO   63376     WALGREENS         BW6926666     600     5,860    7,360    7,420   11,700    7,600    6,757    40,540

100097283   052220301   WALGREENS #06034         DSD     BIRMINGHAM      AL   35209     WALGREENS         BW6926680   20,200   25,100   19,500   24,800   12,400   22,500   20,750   124,500

100101537   046045906   WALGREENS #04957         DSD     MIAMI BEACH     FL   33139     WALGREENS         BW6927771                               1,100     500     1,100     900      2,700

100101955   046047308   WALGREENS #04801         DSD   WEST PALM BEACH   FL   33417     WALGREENS         BW6927783     200      800     4,200    7,700    8,100    6,200    4,533    27,200

100098369   019172130   WALGREENS #06096         DSD       BELOIT        WI   53511     WALGREENS         BW6927872   22,800   23,900   23,200   26,000   27,800   15,800   23,250   139,500

100100170   037132324   WALGREENS #05965         DSD      HOUSTON        TX   77083     WALGREENS         BW6928660    1,000     500     5,000    7,800    7,500    4,700    4,417    26,500

100095873   023146340   WALGREENS #04162         DSD       CLIFTON       NJ   07013     WALGREENS         BW6930146    2,000    2,900    4,000    1,800    3,800    2,800    2,883    17,300

100101954   024120386   WALGREENS #05525         DSD      VAN NUYS       CA   91405     WALGREENS         BW6935627   16,500   15,000   13,800   16,800   15,100   17,500   15,783    94,700

100105568   024013938   WALGREENS # 05525 340B            VAN NUYS       CA   91405    PHS 340B CLINIC    BW6935627     100                                                   100       100
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100101769   008112490   WALGREENS #06193      DSD         SACRAMENTO        CA   95825     WALGREENS         BW6935639   28,500   28,300   21,400   24,500   24,100   13,600   23,400   140,400

100101922   024120279   WALGREENS #05566      DSD        GRANADA HILLS      CA   91344     WALGREENS         BW6941149   18,300   16,290   14,190   15,520   18,200    4,100   14,433    86,600

100102311   012110866   WALGREENS #05300      DSD           HIGHLAND        CA   92346     WALGREENS         BW6941151   26,500   32,100   28,000   28,400   42,800   27,300   30,850   185,100

100098300   019171447   WALGREENS #05600      DSD         LAKE GENEVA       WI   53147     WALGREENS         BW6941303   43,300   43,000   39,800   39,960   42,600   27,400   39,343   236,060

100107066   019184010   WALGREENS #05600 AHC 340B 100     LAKE GENEVA       WI   53147   PHS 340B HOSPITAL   BW6941303     200      200      200     1,500     500               520      2,600

100103376   038110197   WALGREENS #04470      DSD           AURORA          CO   80015     WALGREENS         BW6944195    7,600    6,300    6,300    7,200    7,400    3,800    6,433    38,600

100098063   049193300   WALGREENS #05675      DSD          LAKE ORION       MI   48362     WALGREENS         BW6944210   13,800   13,400   14,600   15,200   17,300    9,800   14,017    84,100

100098114   019170688   WALGREENS #06092      DSD          COLDWATER        MI   49036     WALGREENS         BW6945111   29,000   29,300   25,630   29,230   28,100   20,000   26,877   161,260

100099295   044218925   WALGREENS #06059      DSD        WELDON SPRING      MO   63304     WALGREENS         BW6948799             7,300    8,600   10,400   11,900    6,100    8,860    44,300

100087105   003090183   WALGREENS #00030                   RIO PIEDRAS      PR   00926     WALGREENS         BW6953055                       700                                 700       700

100097788   019169045   WALGREENS #05562      DSD          PLAINFIELD       IN   46168     WALGREENS         BW6953067   21,900   19,000   22,100   23,900   31,000   22,100   23,333   140,000

100102629   008112730   WALGREENS #05411      DSD           HANFORD         CA   93230     WALGREENS         BW6953079   37,480   44,250   41,010   43,000   50,200   18,000   38,990   233,940

100102045   017097188   WALGREENS #06183      DSD          BOUNTIFUL        UT   84010     WALGREENS         BW6954956   15,500   19,200   16,100   14,130   18,000   15,000   16,322    97,930

100098208   021169433   WALGREENS #05777      DSD          DES MOINES       IA   50317     WALGREENS         BW6955984   26,600   27,400   26,600   28,500   32,200   19,200   26,750   160,500

100098257   019171017   WALGREENS #04672      DSD          BROOKFIELD       WI   53005     WALGREENS         BW6956013   11,400   11,700   11,100   12,100   14,200    6,500   11,167    67,000

100101702   046046573   WALGREENS #04955      DSD           AVENTURA        FL   33180     WALGREENS         BW6959348     300      700     3,520   13,800   11,400    7,000    6,120    36,720

100099990   018400838   WALGREENS #06358      DSD            TYLER          TX   75703     WALGREENS         BW6960644    1,800    3,000   26,100   41,300   32,900   21,000   21,017   126,100

100103323   008114272   WALGREENS #04026      DSD        WALNUT CREEK       CA   94597     WALGREENS         BW6960656   25,500   27,400   23,700   27,500   28,300   21,200   25,600   153,600

100098647   019173112   WALGREENS #05735      DSD       ELK GROVE VILLAGE   IL   60007     WALGREENS         BW6960668   15,500   16,200   17,000   14,300   21,100   14,100   16,367    98,200

100099803   018398974   WALGREENS #06199      DSD           LAWTON          OK   73505     WALGREENS         BW6960670     100     6,500   18,700   19,000   24,100   19,600   14,667    88,000

100099799   018398933   WALGREENS #06109      DSD        OKLAHOMA CITY      OK   73170     WALGREENS         BW6960682    1,200     600    15,800   20,600   22,800   32,200   15,533    93,200

100099658   018397729   WALGREENS #05992      DSD         SHREVEPORT        LA   71104     WALGREENS         BW6961278             8,800   13,600   14,600   14,000   11,500   12,500    62,500

100095658   010232967   WALGREENS #05324      DSD            TOLEDO         OH   43615     WALGREENS         BW6963690    5,100    6,900    6,000    5,630    7,000    4,500    5,855    35,130

100097388   044215079   WALGREENS #04710      DSD           FRANKLIN        TN   37067     WALGREENS         BW6968171   17,720   14,500   20,200   18,800   17,900   15,000   17,353   104,120

100100050   018401430   WALGREENS #05922      DSD         FORT WORTH        TX   76164     WALGREENS         BW6979960    3,600   23,300   19,200   21,200   15,200    8,500   15,167    91,000

100103540   032149195   WALGREENS #05572      DSD           PORTLAND        OR   97217     WALGREENS         BW6979972   10,920    8,930   12,600    9,620   11,100    7,100   10,045    60,270

100103432   008114702   WALGREENS #05454      DSD           SAN JOSE        CA   95116     WALGREENS         BW6980052    7,000    7,800    6,900    8,400    9,500    6,200    7,633    45,800

100103757   008115964   WALGREENS #05219      DSD           SAN JOSE        CA   95113     WALGREENS         BW6980076    3,600    2,100    3,000    4,300    2,100    2,000    2,850    17,100

100102334   046049908   WALGREENS #05661      DSD        ST PETE BEACH      FL   33706     WALGREENS         BW6980088              500     1,600    5,700    6,500    2,600    3,380    16,900

100097611   044216366   WALGREENS #05474      DSD          COOKEVILLE       TN   38501     WALGREENS         BW6980115   26,400   29,400   24,700   29,720   27,800   21,500   26,587   159,520

100099501   021171561   WALGREENS #05059      DSD            OMAHA          NE   68134     WALGREENS         BW6980127   11,400   10,800   12,500   12,700   16,000   10,200   12,267    73,600

100099952   018400457   WALGREENS #06120      DSD            DALLAS         TX   75218     WALGREENS         BW6980468    9,300   14,900   13,200   13,100   10,800    7,500   11,467    68,800

100094761   004092726   WALGREENS #05714      DSD            DEPEW          NY   14043     WALGREENS         BW6983286   14,400   14,600   14,900   15,900   16,000   11,900   14,617    87,700

100103601   032149799   WALGREENS #03788      DSD          SHORELINE        WA   98133     WALGREENS         BW6983325    8,800    8,500    8,500    7,500   10,300    3,600    7,867    47,200

100099521   021171769   WALGREENS #05874      DSD           LINCOLN         NE   68512     WALGREENS         BW6989442   14,500   12,500   13,000   14,300   18,200   10,600   13,850    83,100

100097212   052220095   WALGREENS #05954      DSD            DALTON         GA   30720     WALGREENS         BW6989668   18,100   19,000   19,300   17,300   19,500   10,700   17,317   103,900

100097268   052220152   WALGREENS #06033      DSD          BESSEMER         AL   35020     WALGREENS         BW6993605   54,200   62,540   48,200   56,100   36,800   39,600   49,573   297,440

100102822   020162628   WALGREENS #05887      DSD            PEORIA         AZ   85381     WALGREENS         BW6993631    5,900    7,600    5,300    5,900    9,100    4,800    6,433    38,600

100098396   019172403   WALGREENS #06132      DSD           MADISON         WI   53704     WALGREENS         BW6993681    9,100   10,200    9,000    9,600   10,000    7,500    9,233    55,400

100097804   019169201   WALGREENS #05804      DSD         INDIANAPOLIS      IN   46227     WALGREENS         BW6993693   12,000   12,800   12,600   14,000   17,500   16,500   14,233    85,400

100097995   049192625   WALGREENS #04932      DSD           WARREN          MI   48092     WALGREENS         BW6997867   20,600   19,700   21,700   24,500   28,900   26,100   23,583   141,500

100101785   038109678   WALGREENS #06283      DSD            PUEBLO         CO   81001     WALGREENS         BW6997906   37,600   39,700   36,100   40,600   39,800   23,200   36,167   217,000

100096307   055037127   WALGREENS #06077      DSD         GARDEN CITY       SC   29576     WALGREENS         BW6998681   24,600   24,900   22,000   25,400   14,000   25,300   22,700   136,200

100095020   010231696   WALGREENS #04639      DSD          KETTERING        OH   45429     WALGREENS         BW6998718    7,200    7,100    7,200    7,000    6,600    6,100    6,867    41,200
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100098991   019177618   WALGREENS #05926         DSD      CHICAGO        IL   60632     WALGREENS         BW6998732    6,900    4,700    6,300    7,200    6,800    5,100    6,167    37,000

100100496   018403014   WALGREENS #04632         DSD       AUSTIN        TX   78758     WALGREENS         BW7003899    9,430   20,300   18,600   16,300   23,800    8,200   16,105    96,630

100099887   018399808   WALGREENS #05827         DSD     ROCKWALL        TX   75032     WALGREENS         BW7004170   24,700   33,930   36,600   46,500   37,200   34,300   35,538   213,230

100099963   018400564   WALGREENS #06197         DSD       DALLAS        TX   75233     WALGREENS         BW7004601   10,500   15,800   15,700   15,300   12,800    5,600   12,617    75,700

100099860   018399535   WALGREENS #05529         DSD     MUSKOGEE        OK   74403     WALGREENS         BW7004625     200    12,300   37,300   36,700   46,500   28,000   26,833   161,000

100098856   019175679   WALGREENS #05786         DSD    RICHTON PARK     IL   60471     WALGREENS         BW7005576   13,200   13,600   14,600   15,800   14,000   12,000   13,867    83,200

100103610   032149880   WALGREENS #05911         DSD     BELLINGHAM      WA   98226     WALGREENS         BW7006314   12,600   16,000   13,000   15,100   15,500   10,500   13,783    82,700

100095681   041151209   WALGREENS #05783         DSD   VIRGINIA BEACH    VA   23455     WALGREENS         BW7007316    9,600    8,500    8,800    9,500    8,700    8,500    8,933    53,600

100099935   018400283   WALGREENS #05959         DSD      MESQUITE       TX   75149     WALGREENS         BW7010589   18,500   28,300   28,300   26,920   31,220   19,200   25,407   152,440

100100026   018401190   WALGREENS #05919         DSD     SOUTHLAKE       TX   76092     WALGREENS         BW7010591    2,700    9,800    9,300    7,220   11,400    7,600    8,003    48,020

100102604   046052290   WALGREENS #05856         DSD     CAPE CORAL      FL   33909     WALGREENS         BW7010604     520      160     6,200   10,800    9,500   11,100    6,380    38,280

100098345   019171892   WALGREENS #06020         DSD     MILWAUKEE       WI   53219     WALGREENS         BW7010616   22,400   20,230   22,200   24,990   27,500   13,500   21,803   130,820

100094117   019162602   WALGREENS #06020 340B            MILWAUKEE       WI   53219   PHS 340B HOSPITAL   BW7010616                                500                        500       500

100101656   008112441   WALGREENS #05498         DSD      MODESTO        CA   95355     WALGREENS         BW7011466   52,500   53,900   51,000   65,400   42,000   28,200   48,833   293,000

100105726   008116400   WALGREENS # 05498-340B            MODESTO        CA   95355    PHS 340B CLINIC    BW7011466    4,000     500     1,500    1,000                      1,750     7,000

100103506   008115766   WALGREENS #05500         DSD    SACRAMENTO       CA   95843     WALGREENS         BW7011478   26,000   26,900   28,000   30,100   29,300   20,100   26,733   160,400

100097129   040118646   WALGREENS #06207         DSD     NORCROSS        GA   30092     WALGREENS         BW7011480    8,500    9,300    7,700    8,000    8,100    7,500    8,183    49,100

100094441   041146068   WALGREENS #05623         DSD     BALTIMORE       MD   21215     WALGREENS         BW7012569    2,200    2,200    2,100    3,600    2,200    1,000    2,217    13,300

100103705   046055889   WALGREENS #06016         DSD     BELLE GLADE     FL   33430     WALGREENS         BW7012660     300      500     8,500   11,100   11,900    9,100    6,900    41,400

100098193   021169284   WALGREENS #05943         DSD      INDIANOLA      IA   50125     WALGREENS         BW7012684   10,100   10,900    9,600   11,000   13,500    6,200   10,217    61,300

100099779   018398735   WALGREENS #05967         DSD    MIDWEST CITY     OK   73110     WALGREENS         BW7012723    3,500     100    23,600   26,500   24,600   27,500   17,633   105,800

100099795   018398891   WALGREENS #05738         DSD       MOORE         OK   73160     WALGREENS         BW7012773     200       30    24,200   30,100   24,700   26,000   17,538   105,230

100101789   020160200   WALGREENS #06310         DSD     LAS VEGAS       NV   89130     WALGREENS         BW7012886   22,100   21,600   24,000   25,740   10,000    7,530   18,495   110,970

100100390   018402313   WALGREENS #06336         DSD    SAN ANTONIO      TX   78250     WALGREENS         BW7012951    1,000     200     6,100    9,940    7,300    6,100    5,107    30,640

100101972   017096917   WALGREENS #06200         DSD      MERIDIAN       ID   83642     WALGREENS         BW7013143   10,900   11,200   11,900   11,600   12,900    8,500   11,167    67,000

100101738   032148205   WALGREENS #05910         DSD     TROUTDALE       OR   97060     WALGREENS         BW7013155   17,500   17,500   15,200   17,600   23,400   13,700   17,483   104,900

100098036   049193037   WALGREENS #06360         DSD      DETROIT        MI   48219     WALGREENS         BW7013179   19,900   21,100   19,000   26,500   16,300   11,700   19,083   114,500

100098072   049193391   WALGREENS #05917         DSD        FLINT        MI   48506     WALGREENS         BW7013181   47,300   52,100   46,500   50,000   31,100   41,500   44,750   268,500

100098074   049193417   WALGREENS #05918         DSD        FLINT        MI   48507     WALGREENS         BW7013193   33,600   35,700   33,500   34,700   38,100    8,200   30,633   183,800

100098070   049193375   WALGREENS #06054         DSD      FLUSHING       MI   48433     WALGREENS         BW7013206   31,800   33,300   30,200   32,700   28,000   23,500   29,917   179,500

100103135   046055079   WALGREENS #05293         DSD       HIALEAH       FL   33012     WALGREENS         BW7017230      -       200      600     3,300    3,400    2,300    1,633     9,800

100098891   019176578   WALGREENS #05824         DSD      OSWEGO         IL   60543     WALGREENS         BW7018547   13,330   14,020   13,800   13,400   14,000   11,000   13,258    79,550

100099147   044217513   WALGREENS #05664         DSD    EDWARDSVILLE     IL   62025     WALGREENS         BW7018559     500     8,600   13,400   13,000   15,000   11,100   10,267    61,600

100099837   018399303   WALGREENS #06268         DSD       TULSA         OK   74106     WALGREENS         BW7018561            12,000   46,100   36,700   36,500   37,000   33,660   168,300

100101639   038109264   WALGREENS #06213         DSD   FEDERAL HEIGHTS   CO   80260     WALGREENS         BW7020251   12,400   12,200   12,000   12,100   11,300   11,800   11,967    71,800

100099979   018400721   WALGREENS #06195         DSD     TEXARKANA       TX   75503     WALGREENS         BW7020263     700    16,500   51,100   49,800   32,500   28,000   29,767   178,600

100097410   044215285   WALGREENS #06277         DSD   MURFREESBORO      TN   37128     WALGREENS         BW7022560   14,700   14,100   14,400   15,800   10,200   13,600   13,800    82,800

100101642   046046367   WALGREENS #05625         DSD        MIAMI        FL   33165     WALGREENS         BW7022572     100      300     1,200    2,060    1,800     600     1,010     6,060

100101712   046046599   WALGREENS #06013         DSD        MIAMI        FL   33184     WALGREENS         BW7022584     100      400     1,100    3,700    5,100    3,200    2,267    13,600

100097430   044215483   WALGREENS #05395         DSD      NASHVILLE      TN   37205     WALGREENS         BW7025112    5,500    5,600    5,000    5,000    7,000    5,000    5,517    33,100

100099076   019178467   WALGREENS #06001         DSD      ROSCOE         IL   61073     WALGREENS         BW7025124   31,200   35,200   28,700   33,400   32,900   28,600   31,667   190,000

100097124   040118596   WALGREENS #05902         DSD       SMYRNA        GA   30080     WALGREENS         BW7027801    7,000    7,600    6,500    6,700    6,100    5,100    6,500    39,000

100095508   010232702   WALGREENS #06271         DSD   REYNOLDSBURG      OH   43068     WALGREENS         BW7027813   10,500    9,360   10,140    9,700    9,200    8,600    9,583    57,500

100099495   021171504   WALGREENS #05966         DSD       OMAHA         NE   68130     WALGREENS         BW7031660   17,100   18,290   16,130   17,290   20,700   15,500   17,502   105,010
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100101825   012108902   WALGREENS #05591        DSD    HARBOR CITY     CA   90710    WALGREENS        BW7034705   10,100   11,000   11,400   10,700   13,100    9,800   11,017    66,100

100094755   023138412   WALGREENS #05439        DSD     DEER PARK      NY   11729    WALGREENS        BW7035175   10,100   10,000   10,100    9,100   12,000    7,700    9,833    59,000

100099924   018400176   WALGREENS #05508        DSD       PLANO        TX   75093    WALGREENS        BW7035226    8,100    9,600    9,800    9,300   13,900    7,700    9,733    58,400

100103719   046056051   WALGREENS #04812        DSD     PALMETTO       FL   34221    WALGREENS        BW7035721     100      200    19,600   22,200   11,300   30,500   13,983    83,900

100102135   046047878   WALGREENS #06014        DSD   DELRAY BEACH     FL   33483    WALGREENS        BW7039818     100      200     2,500    3,000    3,300    3,700    2,133    12,800

100098521   025090035   WALGREENS #06056        DSD    WOODBURY        MN   55125    WALGREENS        BW7039820   12,900   15,800   11,100   13,700   11,500   10,900   12,650    75,900

100095833   004094359   WALGREENS #06072        DSD      BOSTON        MA   02118    WALGREENS        BW7039832    1,700    1,300    1,700     500     1,600     600     1,233     7,400

100099296   044218933   WALGREENS #05552        DSD     O FALLON       MO   63366    WALGREENS        BW7039844     100    13,500   17,500   16,500   18,600   11,700   12,983    77,900

100098834   019175018   WALGREENS #06180        DSD    NEW LENOX       IL   60451    WALGREENS        BW7042384   11,800   11,000   11,000   11,330   13,200    8,200   11,088    66,530

100103743   012111674   WALGREENS #05672        DSD     LA HABRA       CA   90631    WALGREENS        BW7042396   15,700   16,600   16,600   16,800   21,800   12,400   16,650    99,900

100099719   018398255   WALGREENS #05993        DSD    LITTLE ROCK     AR   72211    WALGREENS        BW7042409   19,700   29,300   32,600   35,120   33,300   20,200   28,370   170,220

100103735   020164715   WALGREENS #04793        DSD     CHANDLER       AZ   85286    WALGREENS        BW7042411   14,000   13,600   12,800   12,790   16,800    7,600   12,932    77,590

100096126   023146928   WALGREENS #05332        DSD      PASSAIC       NJ   07055    WALGREENS        BW7042423     300      700     1,000     600      700     1,200     750      4,500

100101566   038109041   WALGREENS #05261        DSD      PARKER        CO   80134    WALGREENS        BW7042435   21,300   21,800   19,500   19,900   18,000   16,900   19,567   117,400

100103375   020164350   WALGREENS #06167        DSD     LAS VEGAS      NV   89109    WALGREENS        BW7042447    3,100    3,200    4,000    2,530    8,500    4,500    4,305    25,830

100101632   020160119   WALGREENS #05311        DSD     LAS VEGAS      NV   89119    WALGREENS        BW7042461   32,800   34,200   32,100   38,800   33,000   39,000   34,983   209,900

100098079   049193466   WALGREENS #06091        DSD      SAGINAW       MI   48602    WALGREENS        BW7042877   29,800   32,700   30,500   28,000   29,000   27,000   29,500   177,000

100107881   049196493   WALGREENS #06091 340B            SAGINAW       MI   48602   PHS 340B CLINIC   BW7042877              500      500      500                        500      1,500

100099474   021171298   WALGREENS #06285        DSD       HAYS         KS   67601    WALGREENS        BW7043970   10,900   16,200   15,000   18,700   19,300   17,000   16,183    97,100

100097699   044216655   WALGREENS #06171        DSD     PROSPECT       KY   40059    WALGREENS        BW7046469    3,100   11,030    8,930   10,720   12,500    7,500    8,963    53,780

100103400   020164442   WALGREENS #06311        DSD     LAS VEGAS      NV   89121    WALGREENS        BW7046914   19,700   19,600   18,600   20,000   19,500   15,000   18,733   112,400

100101497   038108753   WALGREENS #06111        DSD     LAFAYETTE      CO   80026    WALGREENS        BW7050292   11,300   10,400    9,800   10,600   13,300    7,900   10,550    63,300

100101810   038109744   WALGREENS #06552        DSD   WESTMINSTER      CO   80030    WALGREENS        BW7050420   11,000   10,400    9,530   11,950   11,400    7,000   10,213    61,280

100056244   032078451   WELLPARTNER, INC                PORTLAND       OR   97224    MAIL SERVICE     BW7050975    1,100     400      300     3,600    2,200    1,800    1,567     9,400

100101660   046046441   WALGREENS #05519        DSD    BOCA RATON      FL   33428    WALGREENS        BW7056547     500     1,000   12,430   19,800   10,200   16,900   10,138    60,830

100100160   038107391   WALGREENS #05313        DSD     HOUSTON        TX   77077    WALGREENS        BW7061067     700     1,600    6,700    7,800    3,900    3,800    4,083    24,500

100097935   019170423   WALGREENS #06420        DSD      MUNCIE        IN   47302    WALGREENS        BW7064467   44,900   39,600   44,800   48,300   40,000   17,600   39,200   235,200

100098312   019171561   WALGREENS #05466        DSD     WAUKESHA       WI   53188    WALGREENS        BW7069734    9,100    9,000    9,500    9,000   11,000    7,500    9,183    55,100

100097094   040118299   WALGREENS #06205        DSD      LITHONIA      GA   30038    WALGREENS        BW7069885    5,500    5,530    3,000    6,500    5,200    6,500    5,372    32,230

100101490   046045682   WALGREENS #06012        DSD       MIAMI        FL   33126    WALGREENS        BW7074800     100      500      230     3,100    2,700    1,800    1,405     8,430

100103169   020163477   WALGREENS #06121        DSD   ALBUQUERQUE      NM   87111    WALGREENS        BW7076210   11,000   12,200   12,000   12,600   17,100    9,100   12,333    74,000

100101640   046046359   WALGREENS #05378        DSD    SPRING HILL     FL   34610    WALGREENS        BW7078341     100      100     2,700   26,300   19,400    9,200    9,633    57,800

100103755   008115949   WALGREENS #03624        DSD   SAN FRANCISCO    CA   94111    WALGREENS        BW7078353    4,300    3,200    3,300    3,740    4,100    2,600    3,540    21,240

100100069   018401620   WALGREENS #06158        DSD      TEMPLE        TX   76502    WALGREENS        BW7088493    7,600   42,800   33,200   35,100   17,800   23,500   26,667   160,000

100097176   040119107   WALGREENS #06209        DSD   STOCKBRIDGE      GA   30281    WALGREENS        BW7088506   12,480   13,260   11,800   13,520   11,200    9,500   11,960    71,760

100097596   044216242   WALGREENS #05706        DSD      MEMPHIS       TN   38141    WALGREENS        BW7088518    8,600    8,200    7,500    9,200    8,500    6,000    8,000    48,000

100101665   024119966   WALGREENS #06445        DSD    LOS ANGELES     CA   90035    WALGREENS        BW7091476   10,830    9,890    8,860    9,260   13,900   11,000   10,623    63,740

100094440   041146050   WALGREENS #05587        DSD     BALTIMORE      MD   21236    WALGREENS        BW7091743    6,030    5,600    5,130    6,710    7,500    5,000    5,995    35,970

100103477   008115188   WALGREENS #05774        DSD   CITRUS HEIGHTS   CA   95610    WALGREENS        BW7092454   20,100   22,900   19,500   23,100   16,200   22,000   20,633   123,800

100103497   008115659   WALGREENS #05374        DSD    SACRAMENTO      CA   95817    WALGREENS        BW7092466   21,100   21,500   19,700   22,160   17,700   19,000   20,193   121,160

100098196   021169318   WALGREENS #05942        DSD      NEWTON        IA   50208    WALGREENS        BW7092810   16,000   19,000   18,500   19,000   25,000   10,500   18,000   108,000

100102515   046051862   WALGREENS #05788        DSD   JACKSONVILLE     FL   32256    WALGREENS        BW7095260     700      200     3,530    5,730    4,160    8,500    3,803    22,820

100102643   046052480   WALGREENS #05757        DSD       PACE         FL   32571    WALGREENS        BW7095272     500      800     9,100   18,230   13,500   40,560   13,782    82,690

100098203   021169383   WALGREENS #05852        DSD    DES MOINES      IA   50311    WALGREENS        BW7095513   13,500   14,800   15,000   16,800   17,200    9,700   14,500    87,000
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100102043   046047597   WALGREENS #05068        DSD     DELRAY BEACH    FL   33445       WALGREENS          BW7098569                      2,740    3,760    5,400    2,100    3,500    14,000

100100514   018403196   WALGREENS #05996        DSD       LUBBOCK       TX   79423       WALGREENS          BW7098571     900    24,300   31,000   29,600   27,500   19,500   22,133   132,800

100099737   018398321   WALGREENS #05475        DSD     FAYETTEVILLE    AR   72703       WALGREENS          BW7098583     100     4,700   15,700   20,700   18,300   10,500   11,667    70,000

100097109   040118448   WALGREENS #06202        DSD       LITHONIA      GA   30058       WALGREENS          BW7098595    9,000    8,100    8,600    8,800    7,500    7,600    8,267    49,600

100053422   024076125   WESTERN DRUG MEDICAL SUPPLY       GLENDALE      CA   91204   HOME HEALTH SERVICES   BW7098747    2,000    1,400    2,300    1,100    1,600     300     1,450     8,700

100097407   044215251   WALGREENS #05704        DSD     MOUNT JULIET    TN   37122       WALGREENS          BW7099840   15,100   14,800   15,100   16,400   13,100   14,700   14,867    89,200

100097662   052222281   WALGREENS #05791        DSD       JACKSON       MS   39211       WALGREENS          BW7102318   18,860   18,400   18,300   19,300   16,300   17,500   18,110   108,660

100098099   049193664   WALGREENS #05841        DSD       LANSING       MI   48910       WALGREENS          BW7102320   33,800   38,600   36,700   33,100   34,900   25,400   33,750   202,500

100098078   049193458   WALGREENS #06009        DSD       SAGINAW       MI   48601       WALGREENS          BW7102332   24,300   27,700   26,000   23,600   30,100   18,000   24,950   149,700

100107880   049196485   WALGREENS #06009 340B             SAGINAW       MI   48601      PHS 340B CLINIC     BW7102332    1,500     500                                         1,000     2,000

100097970   049192377   WALGREENS #05969        DSD      SOUTHFIELD     MI   48034       WALGREENS          BW7102356   13,490   17,100   16,600   17,800   12,700   16,500   15,698    94,190

100098125   019170779   WALGREENS #06444        DSD     STEVENSVILLE    MI   49127       WALGREENS          BW7102368   12,000   13,300   12,600   12,300   17,900   10,500   13,100    78,600

100103036   008113514   WALGREENS #05599        DSD    SAN FRANCISCO    CA   94109       WALGREENS          BW7103182    7,900    8,800    9,100    9,200    7,600    6,600    8,200    49,200

100097245   040119735   WALGREENS #05368        DSD      SAVANNAH       GA   31419       WALGREENS          BW7103194   11,620   11,000   10,800   10,500   12,100   10,000   11,003    66,020

100097362   052221051   WALGREENS #05176        DSD        MOBILE       AL   36695       WALGREENS          BW7104223   26,400   22,700   21,700   22,100   18,200   13,500   20,767   124,600

100094706   010228916   WALGREENS #06378        DSD      COLUMBUS       OH   43204       WALGREENS          BW7104235   29,060   31,830   27,530   31,200   21,000   29,360   28,330   169,980

100096055   004098574   WALGREENS #05948        DSD       MERIDEN       CT   06451       WALGREENS          BW7104627    6,200    6,400    6,000    6,300    7,000    6,800    6,450    38,700

100050519   004047522   WALGREENS CO 05948-340B           MERIDEN       CT   06451      PHS 340B CLINIC     BW7104627              500      500                        100      367      1,100

100096115   023146860   WALGREENS #06308        DSD       NORWALK       CT   06851       WALGREENS          BW7104639    3,860    6,000    3,600    3,800    3,500    3,500    4,043    24,260

100098232   019170902   WALGREENS #06154        DSD       DUBUQUE       IA   52002       WALGREENS          BW7108601   13,000   12,600   12,000   11,000   13,100    6,500   11,367    68,200

100095432   010232520   WALGREENS #05821        DSD      PAINESVILLE    OH   44077       WALGREENS          BW7109045    8,400    9,760   10,300    9,820   10,700    6,700    9,280    55,680

100102074   012109041   WALGREENS #06255        DSD      CHULA VISTA    CA   91910       WALGREENS          BW7109057   12,700   11,900   11,500   12,600   15,300    6,800   11,800    70,800

100102385   020161596   WALGREENS #06129        DSD     CASA GRANDE     AZ   85122       WALGREENS          BW7109069   10,400    9,900    8,500   11,000   11,000    8,500    9,883    59,300

100102541   020161950   WALGREENS #05799        DSD       GILBERT       AZ   85234       WALGREENS          BW7109071    8,600    9,300    7,260    9,400   10,900    5,500    8,493    50,960

100102445   020161737   WALGREENS #05888        DSD         MESA        AZ   85205       WALGREENS          BW7109083    4,930    6,190    5,160    4,200    6,200    3,800    5,080    30,480

100094391   023137489   WALGREENS #05715        DSD      ALLENTOWN      PA   18104       WALGREENS          BW7113842    8,100    9,200    7,300    7,100    6,900    7,300    7,650    45,900

100056664   056017905   WEST READING DRUG STR INC(Z)    WEST READING    PA   19611       INDEPENDENT        BW7115327    6,500    6,300    4,500    5,100    5,600    4,900    5,483    32,900

100101793   017096636   WALGREENS #06380        DSD      POCATELLO      ID   83201       WALGREENS          BW7116103   35,100   36,000   34,500   35,600   29,700   23,000   32,317   193,900

100103640   032150912   WALGREENS #06083        DSD        LACEY        WA   98503       WALGREENS          BW7116533    7,800   10,200    8,500    7,500   10,200    5,600    8,300    49,800

100102312   046049783   WALGREENS #06263        DSD       LAKE CITY     FL   32055       WALGREENS          BW7116557     600      500    13,600   23,400   22,000   25,200   14,217    85,300

100103061   046054650   WALGREENS #05945        DSD      KISSIMMEE      FL   34747       WALGREENS          BW7116569     100      200     2,800    1,300    2,600    2,500    1,583     9,500

100099937   018400309   WALGREENS #06390        DSD       MESQUITE      TX   75150       WALGREENS          BW7116571   14,500   24,100   24,200   23,200   31,600   24,200   23,633   141,800

100099964   018400572   WALGREENS #05509        DSD    FARMERS BRANCH   TX   75234       WALGREENS          BW7116583   16,100   23,500   27,100   26,030   30,300   12,300   22,555   135,330

100097613   052222034   WALGREENS #06223        DSD      CROSSVILLE     TN   38555       WALGREENS          BW7116711   39,300   41,930   33,230   39,700   29,000   34,700   36,310   217,860

100100144   038107276   WALGREENS #06148        DSD       HOUSTON       TX   77068       WALGREENS          BW7116723     200      800     7,800    8,900    5,000    5,140    4,640    27,840

100100118   038107045   WALGREENS #06401        DSD       HOUSTON       TX   77040       WALGREENS          BW7116735     160      900     9,220   14,900   12,700    8,300    7,697    46,180

100094705   010228908   WALGREENS #06273        DSD      COLUMBUS       OH   43209       WALGREENS          BW7119147    9,800   11,100   11,100   10,800   11,600   12,200   11,100    66,600

100097131   040118661   WALGREENS #05989        DSD        DULUTH       GA   30096       WALGREENS          BW7119159    7,200    7,270    7,730    6,000    7,200    7,000    7,067    42,400

100095389   041149807   WALGREENS #05876        DSD       NORFOLK       VA   23505       WALGREENS          BW7127930    8,530   10,630    9,100    9,200   11,500    5,200    9,027    54,160

100097470   052221358   WALGREENS #06353        DSD      EAST RIDGE     TN   37412       WALGREENS          BW7127942   15,200   15,000   15,100   13,000   13,000   13,500   14,133    84,800

100097110   040118455   WALGREENS #06330        DSD       MARIETTA      GA   30062       WALGREENS          BW7127954   10,400   11,000    8,600    7,700    9,000    6,500    8,867    53,200

100097348   052220913   WALGREENS #06084        DSD       FAIRHOPE      AL   36532       WALGREENS          BW7127966   26,700   25,200   24,780   22,300    8,800   25,400   22,197   133,180

100102507   046051821   WALGREENS #05129        DSD     JACKSONVILLE    FL   32246       WALGREENS          BW7127978     300      400     4,700    7,000    7,000    6,600    4,333    26,000

100095840   041151779   WALGREENS #04885        DSD        BRICK        NJ   08724       WALGREENS          BW7130521    8,500    8,400    8,900    9,130    7,600    6,500    8,172    49,030
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100102926   020162883   WALGREENS #06244    DSD            TUCSON        AZ   85711   WALGREENS     BW7130533    8,000    8,390    8,320    6,890    9,300    7,700    8,100    48,600

100103614   032149922   WALGREENS #06307    DSD           MUKILTEO       WA   98275   WALGREENS     BW7136698   10,400   12,000   11,600   11,100   10,400    9,000   10,750    64,500

100103353   008114371   WALGREENS #04614    DSD           BERKELEY       CA   94703   WALGREENS     BW7140382   15,760   14,990   12,610   13,810   13,200   15,000   14,228    85,370

100102581   020162040   WALGREENS #05453    DSD          SCOTTSDALE      AZ   85254   WALGREENS     BW7141334   13,130   11,300    8,200   13,230   10,500   10,400   11,127    66,760

100099926   018400192   WALGREENS #05958    DSD            MURPHY        TX   75094   WALGREENS     BW7143477    8,000   12,700    9,100    9,100    9,800    5,500    9,033    54,200

100102538   046051987   WALGREENS #05947    DSD            SEBRING       FL   33870   WALGREENS     BW7143489     600     1,200    4,300   18,500   16,500   16,300    9,567    57,400

100102217   046049486   WALGREENS #05806    DSD            TAMPA         FL   33603   WALGREENS     BW7143908     100      300     1,300    8,500    6,000   10,100    4,383    26,300

100103732   020164681   WALGREENS #06025    DSD             MESA         AZ   85210   WALGREENS     BW7143996    6,500    9,100    6,700    7,400    8,300    5,100    7,183    43,100

100097105   040118406   WALGREENS #05899    DSD        LAWRENCEVILLE     GA   30046   WALGREENS     BW7144001   11,500   12,500   10,500   12,600    9,600    8,000   10,783    64,700

100102113   012109140   WALGREENS #05700    DSD          ESCONDIDO       CA   92027   WALGREENS     BW7145483   22,000   22,500   19,800   20,600   23,400   20,200   21,417   128,500

100100322   038108605   WALGREENS #06145    DSD            BRYAN         TX   77802   WALGREENS     BW7145495    2,800    2,800   35,000   53,900   42,700   28,800   27,667   166,000

100097769   019168856   WALGREENS #06165    DSD            CARMEL        IN   46032   WALGREENS     BW7145510    5,500    5,400    6,100    4,700   10,100    6,700    6,417    38,500

100103746   012111682   WALGREENS #05844    DSD           EL CAJON       CA   92021   WALGREENS     BW7147742   43,500   43,100   36,300   41,100   47,100   23,100   39,033   234,200

100101833   012108928   WALGREENS #05616    DSD          LAKEWOOD        CA   90713   WALGREENS     BW7147754   29,400   29,900   30,100   28,500   32,700   18,700   28,217   169,300

100103519   032148981   WALGREENS #06370    DSD          BEAVERTON       OR   97007   WALGREENS     BW7147766   21,800   24,280   21,380   22,730   25,500   12,200   21,315   127,890

100101641   024103614   WALGREENS #05879    DSD         LOS ANGELES      CA   90020   WALGREENS     BW7147780   18,300   18,700   17,500   19,200   21,200   17,500   18,733   112,400

100095646   055036749   WALGREENS #06074    DSD            SUMTER        SC   29150   WALGREENS     BW7149859   19,900   18,300   18,500   21,400   15,400   16,800   18,383   110,300

100098016   049192831   WALGREENS #06359    DSD            LIVONIA       MI   48152   WALGREENS     BW7151765   23,230   23,000   21,300   20,530   23,800   24,000   22,643   135,860

100098246   021169771   WALGREENS #05886    DSD            KEOKUK        IA   52632   WALGREENS     BW7153240   24,600   20,600   21,200   20,600   20,800   11,000   19,800   118,800

100103635   032150862   WALGREENS #05697    DSD            TACOMA        WA   98444   WALGREENS     BW7153252   19,800   22,760   17,760   21,700   25,400   14,700   20,353   122,120

100102489   046051730   WALGREENS #06384    DSD         JACKSONVILLE     FL   32225   WALGREENS     BW7155446     200              3,200    6,300    8,500    7,000    5,040    25,200

100098553   025090357   WALGREENS #06489    DSD           SHAKOPEE       MN   55379   WALGREENS     BW7157161   11,100   11,500   11,000   11,000   12,100    7,100   10,633    63,800

100098674   019173385   WALGREENS #05428    DSD        HIGHLAND PARK     IL   60035   WALGREENS     BW7157173    3,600    2,900    3,600    4,800    4,900    2,100    3,650    21,900

100097103   040118380   WALGREENS #05896    DSD        LAWRENCEVILLE     GA   30044   WALGREENS     BW7157185   13,000   10,000   11,100   13,000    8,100   10,500   10,950    65,700

100097784   019169003   WALGREENS #04592    DSD         GREENWOOD        IN   46143   WALGREENS     BW7163188   23,000   20,600   22,900   27,900   22,100   27,600   24,017   144,100

100104283   032151704   TILLAMOOK PHARMACY DBA    SF     TILLAMOOK       OR   97141   INDEPENDENT   BW7165269   45,500   41,200   37,600   32,100   35,500   20,000   35,317   211,900

100102562   046052092   WALGREENS #06217    DSD          DAVENPORT       FL   33897   WALGREENS     BW7165346              200     5,600    6,600    7,700    5,500    5,120    25,600

100102714   020162370   WALGREENS #05851    DSD           GLENDALE       AZ   85308   WALGREENS     BW7165358    6,100    7,800    7,000    6,100    9,400    4,600    6,833    41,000

100094443   041146084   WALGREENS #05686    DSD          BALTIMORE       MD   21220   WALGREENS     BW7168722    7,600    7,200    7,500    7,000    8,000    8,500    7,633    45,800

100101781   017096628   WALGREENS #06282    DSD         SALT LAKE CITY   UT   84118   WALGREENS     BW7169154   34,800   34,500   33,700   31,300   34,800   16,500   30,933   185,600

100099962   018400556   WALGREENS #05920    DSD            DALLAS        TX   75232   WALGREENS     BW7169902   14,300   21,400   20,600   17,600   10,000   12,500   16,067    96,400

100102844   046053488   WALGREENS #05980    DSD          HERNANDO        FL   34442   WALGREENS     BW7170359     610              2,100   15,100   10,000   12,600    8,082    40,410

100102120   046047837   WALGREENS #04618    DSD         LOXAHATCHEE      FL   33470   WALGREENS     BW7170361     200      720     9,600   15,200   16,100   17,400    9,870    59,220

100076177   055040436   WILLIAMSBURG REGIONAL HOSP       KINGSTREE       SC   29556    HOSPITAL     BW7171616              200      300      200      900               400      1,600

100097355   052220988   WALGREENS #06507    DSD            MOBILE        AL   36604   WALGREENS     BW7173242   36,200   39,100   34,800   37,700   24,500   25,500   32,967   197,800

100102851   008113068   WALGREENS #06082    DSD            FRESNO        CA   93727   WALGREENS     BW7173254   28,700   29,700   29,800   30,530   22,900   30,700   28,722   172,330

100097090   040118257   WALGREENS #05759    DSD           DECATUR        GA   30033   WALGREENS     BW7173266    8,100    8,300    9,100    9,600   11,500   11,900    9,750    58,500

100103494   008115626   WALGREENS #06419    DSD          ELK GROVE       CA   95758   WALGREENS     BW7179395   20,400   17,800   19,000   15,300   13,000   20,600   17,683   106,100

100101510   046045773   WALGREENS #03317    DSD         CORAL GABLES     FL   33134   WALGREENS     BW7179977              100     1,100    2,880    3,630    1,200    1,782     8,910

100097318   052220657   WALGREENS #06431    DSD          HUNTSVILLE      AL   35816   WALGREENS     BW7186061   16,500   16,300   15,500   17,000   14,700   11,500   15,250    91,500

100097147   040118828   WALGREENS #05897    DSD        POWDER SPRINGS    GA   30127   WALGREENS     BW7186073    8,700    8,200    7,000    8,100    7,700    5,000    7,450    44,700

100097993   049192609   WALGREENS #05971    DSD            WARREN        MI   48089   WALGREENS     BW7186085   38,200   37,800   38,400   35,000   32,900   20,900   33,867   203,200

100097594   044216226   WALGREENS #06037    DSD         GERMANTOWN       TN   38138   WALGREENS     BW7189144    7,200    6,900    7,000    7,900   12,260   11,040    8,717    52,300

100097467   052221325   WALGREENS #06143    DSD         CHATTANOOGA      TN   37409   WALGREENS     BW7189156   18,300   19,500   19,200   21,600   18,000   16,500   18,850   113,100
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100102725   024121137   WALGREENS #06018   DSD      LANCASTER        CA   93535   WALGREENS   BW7189168   32,700   31,300   30,600   33,000   40,100   34,100   33,633   201,800

100102305   020161398   WALGREENS #06095   DSD        PHOENIX        AZ   85037   WALGREENS   BW7189170    3,300    4,900    5,230    5,700    7,000    5,300    5,238    31,430

100102192   020161133   WALGREENS #05893   DSD        PHOENIX        AZ   85006   WALGREENS   BW7189194    9,000    8,800    9,700    9,100    9,800    6,800    8,867    53,200

100103727   020164632   WALGREENS #05938   DSD        PHOENIX        AZ   85018   WALGREENS   BW7189207    8,300    9,900    8,100    7,900   13,000    4,800    8,667    52,000

100102297   020161372   WALGREENS #06021   DSD        PHOENIX        AZ   85035   WALGREENS   BW7189219    9,400   11,000    7,600   10,900   12,400    7,800    9,850    59,100

100103035   020163147   WALGREENS #06245   DSD        TUCSON         AZ   85750   WALGREENS   BW7191644    6,200    5,800    6,900    6,200    6,300    4,400    5,967    35,800

100102966   020162982   WALGREENS #05209   DSD        TUCSON         AZ   85719   WALGREENS   BW7191668   21,200   20,840   20,000   20,000   21,600   16,200   19,973   119,840

100102936   046053967   WALGREENS #05131   DSD    NEW PORT RICHEY    FL   34654   WALGREENS   BW7191670     400      500     3,500   20,700   20,700   13,400    9,867    59,200

100103579   032149575   WALGREENS #06304   DSD         KENT          WA   98042   WALGREENS   BW7193763    5,900    5,300    7,100    6,100    9,100    2,600    6,017    36,100

100103538   032149179   WALGREENS #05647   DSD       PORTLAND        OR   97211   WALGREENS   BW7193775   13,600   13,200   13,000   14,230   13,500    8,500   12,672    76,030

100103542   032149211   WALGREENS #05952   DSD       PORTLAND        OR   97225   WALGREENS   BW7198698    8,300    9,900    8,800    9,000    9,400    4,900    8,383    50,300

100102149   012109231   WALGREENS #05456   DSD         VISTA         CA   92083   WALGREENS   BW7198701   11,300   13,460   11,600   14,300   12,200   11,100   12,327    73,960

100101974   024120477   WALGREENS #05478   DSD   RANCHO CUCAMONGA    CA   91701   WALGREENS   BW7198713   19,300   17,600   17,300   19,800   28,200   16,700   19,817   118,900

100099449   018397570   WALGREENS #05840   DSD       ANDOVER         KS   67002   WALGREENS   BW7200619   10,500   16,100   13,200   17,000   19,200   14,000   15,000    90,000

100095550   010232751   WALGREENS #05550   DSD      ROCKY RIVER      OH   44116   WALGREENS   BW7200633    6,500    7,190    5,530    6,300    6,300    6,000    6,303    37,820

100101742   046046664   WALGREENS #05994   DSD      GAINESVILLE      FL   32606   WALGREENS   BW7201736     200      400     4,700    6,900   10,400   10,400    5,500    33,000

100095426   010232504   WALGREENS #05906   DSD        OREGON         OH   43616   WALGREENS   BW7206065    8,400    9,900    8,000    8,600    9,900    5,100    8,317    49,900

100095657   010232959   WALGREENS #05323   DSD        TOLEDO         OH   43614   WALGREENS   BW7206077    5,800    7,500    6,200    6,200    7,000    5,300    6,333    38,000

100101692   038109421   WALGREENS #05644   DSD      NORTHGLENN       CO   80233   WALGREENS   BW7206089    7,500    8,500    9,900   10,200   10,200    6,600    8,817    52,900

100101730   017096610   WALGREENS #05875   DSD     WEST JORDAN       UT   84084   WALGREENS   BW7207497   33,100   32,100   30,500   32,100   33,700   18,500   30,000   180,000

100094399   023137505   WALGREENS #05956   DSD       AMITYVILLE      NY   11701   WALGREENS   BW7207500    6,000    4,230    5,430    4,430    7,500    5,300    5,482    32,890

100102340   020161489   WALGREENS #05569   DSD        PHOENIX        AZ   85048   WALGREENS   BW7207512    8,600    9,000    7,660    7,900    9,900    4,400    7,910    47,460

100095596   023145862   WALGREENS #04920   DSD   SOUTH FARMINGDALE   NY   11735   WALGREENS   BW7213325    6,500    8,900    8,700    6,900    7,700    6,500    7,533    45,200

100103179   046055327   WALGREENS #04766   DSD    PEMBROKE PINES     FL   33024   WALGREENS   BW7214682     530     1,800    4,400    6,000    6,000    6,500    4,205    25,230

100103426   020164574   WALGREENS #05570   DSD       LAS VEGAS       NV   89156   WALGREENS   BW7221649   17,800   15,500   17,100   20,000   19,200   13,500   17,183   103,100

100100049   018401422   WALGREENS #06264   DSD       WATAUGA         TX   76148   WALGREENS   BW7221651    1,700   10,400   10,100   10,100    8,100    6,000    7,733    46,400

100094617   055033274   WALGREENS #05761   DSD      CHARLOTTE        NC   28217   WALGREENS   BW7228263   17,000   18,200   18,000   18,700   18,000   12,100   17,000   102,000

100098716   019173807   WALGREENS #05609   DSD       WHEELING        IL   60090   WALGREENS   BW7231436   16,400   14,700   13,600   14,290   16,200   12,200   14,565    87,390

100095608   041151019   WALGREENS #06331   DSD      SPRINGFIELD      PA   19064   WALGREENS   BW7235268    5,400    5,300    5,200    5,600    5,100    3,900    5,083    30,500

100102365   020161547   WALGREENS #06440   DSD     GOLD CANYON       AZ   85118   WALGREENS   BW7236032   11,800   13,430   12,330   14,430   12,600   11,900   12,748    76,490

100102491   020161836   WALGREENS #06026   DSD         MESA          AZ   85215   WALGREENS   BW7236044    5,400    4,700    5,000    5,400    5,900    4,000    5,067    30,400

100097089   040118240   WALGREENS #05580   DSD       DECATUR         GA   30032   WALGREENS   BW7236056   14,800   16,700   11,030   17,500    9,500    8,500   13,005    78,030

100095605   010232876   WALGREENS #06521   DSD      SPRINGFIELD      OH   45503   WALGREENS   BW7236068   16,100   16,200   15,200   15,700   18,300   12,800   15,717    94,300

100103012   008113456   WALGREENS #06291   DSD     SAN FRANCISCO     CA   94105   WALGREENS   BW7236789    2,200    1,700    2,200    2,600    2,600    1,300    2,100    12,600

100096194   041152488   WALGREENS #05986   DSD      SICKLERVILLE     NJ   08081   WALGREENS   BW7238199    5,100    4,430    4,200    4,670    7,800    2,930    4,855    29,130

100103004   008113431   WALGREENS #05618   DSD     SAN FRANCISCO     CA   94104   WALGREENS   BW7244053    2,300    2,800    2,200    1,400    2,300    1,500    2,083    12,500

100101765   046046748   WALGREENS #06164   DSD      NORTH PORT       FL   34287   WALGREENS   BW7246805     200      200     9,000   14,500   15,800   13,020    8,787    52,720

100095858   004094532   WALGREENS #05687   DSD       BROOKLINE       MA   02446   WALGREENS   BW7246817    1,200     700     1,000              700      100      740      3,700

100101802   020160218   WALGREENS #06425   DSD       LAS VEGAS       NV   89106   WALGREENS   BW7249623   37,980   43,000   45,700   48,900   42,500   31,000   41,513   249,080

100097182   040119164   WALGREENS #06032   DSD        ATLANTA        GA   30308   WALGREENS   BW7254371    7,100   11,040    9,800   10,100    9,100    9,000    9,357    56,140

100096268   023147181   WALGREENS #05343   DSD    WEST NEW YORK      NJ   07093   WALGREENS   BW7259078    1,900    2,100    1,000    1,100    1,800    1,900    1,633     9,800

100098593   025090753   WALGREENS #06573   DSD      COON RAPIDS      MN   55448   WALGREENS   BW7259080    9,800    9,300    7,900    8,600   10,800    6,700    8,850    53,100

100097312   052220590   WALGREENS #06430   DSD      HUNTSVILLE       AL   35801   WALGREENS   BW7261174    8,600   11,000   10,700   12,200   10,300    9,000   10,300    61,800

100101882   024120170   WALGREENS #05743   DSD     CANOGA PARK       CA   91303   WALGREENS   BW7261186   12,600   13,700   10,900   14,100   14,300   10,300   12,650    75,900
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100098057   049193243   WALGREENS #06313         DSD   FARMINGTON HILLS   MI   48336     WALGREENS         BW7261198   15,900   19,200   16,700   15,900   15,700   10,600   15,667    94,000

100101684   020160168   WALGREENS #05619         DSD   NORTH LAS VEGAS    NV   89030     WALGREENS         BW7266631   26,100   26,100   23,300   29,500   37,800   21,200   27,333   164,000

100099832   018399253   WALGREENS #05530         DSD     STILLWATER       OK   74074     WALGREENS         BW7270250     100     6,700   17,100   18,200   16,000   14,000   12,017    72,100

100075448   049176677   WALGREENS #05223                   LANSING        MI   48917     WALGREENS         BW7274210   23,400   26,100   22,600   27,800   19,100   16,600   22,600   135,600

100096288   041152678   WALGREENS #05987         DSD     WILLINGBORO      NJ   08046     WALGREENS         BW7274222    3,600    3,400    3,400    2,900    2,500    2,900    3,117    18,700

100100443   018402487   WALGREENS #06517         DSD     CEDAR PARK       TX   78613     WALGREENS         BW7284134    3,000   18,390   17,630   15,800   14,100    9,000   12,987    77,920

100099420   021170894   WALGREENS #06478         DSD       MERRIAM        KS   66202     WALGREENS         BW7285770    2,000   13,600   13,100   15,600   14,100    9,100   11,250    67,500

100095972   004098020   WALGREENS #05406         DSD       HAMDEN         CT   06514     WALGREENS         BW7285782    6,130    5,900    6,100    4,400    4,400    4,200    5,188    31,130

100101602   046046235   WALGREENS #04961         DSD        OCOEE         FL   34761     WALGREENS         BW7288752     100      700    14,900   13,500    9,900   10,000    8,183    49,100

100102671   046052621   WALGREENS #06070         DSD       NAPLES         FL   34110     WALGREENS         BW7288764     330       -      3,530    4,430    5,230    5,000    3,087    18,520

100097591   044216192   WALGREENS #06341         DSD      BARTLETT        TN   38135     WALGREENS         BW7290478   11,000   12,100   12,100   11,600   11,600   10,500   11,483    68,900

100095986   004098087   WALGREENS #05586         DSD      HOLBROOK        MA   02343     WALGREENS         BW7293412    4,100    4,400    3,500    3,200    4,700    3,200    3,850    23,100

100097198   040119321   WALGREENS #06374         DSD     GAINESVILLE      GA   30504     WALGREENS         BW7296343   15,260   13,260   15,180   15,300   14,500   10,000   13,917    83,500

100103509   008115790   WALGREENS #05207         DSD        CHICO         CA   95926     WALGREENS         BW7296355   13,100   21,700   22,200   22,900   22,700   17,500   20,017   120,100

100097779   019168955   WALGREENS #06454         DSD     BROWNSBURG       IN   46112     WALGREENS         BW7300748   22,800   17,830   21,200   23,300   23,300   20,500   21,488   128,930

100101981   046047373   WALGREENS #05433         DSD     BOCA RATON       FL   33431     WALGREENS         BW7302639    5,800    5,000    6,200    6,600    6,100    2,600    5,383    32,300

100096089   004098814   WALGREENS #06474         DSD      NEW HAVEN       CT   06511     WALGREENS         BW7304897    1,600    3,600    3,700    2,100    2,800    1,300    2,517    15,100

100103488   008115303   WALGREENS #04198         DSD   WEST SACRAMENTO    CA   95691     WALGREENS         BW7305356   28,900   25,700   26,600   27,300   23,600   18,200   25,050   150,300

100097315   052220624   WALGREENS #06464         DSD     HUNTSVILLE       AL   35805     WALGREENS         BW7305368   13,000   11,120   13,120   12,500   10,700   13,500   12,323    73,940

100102870   020162735   WALGREENS #05312         DSD    GREEN VALLEY      AZ   85622     WALGREENS         BW7305370   14,100   16,100   12,800   18,700   20,100   13,800   15,933    95,600

100102786   046053223   WALGREENS #05660         DSD      SARASOTA        FL   34233     WALGREENS         BW7305988     300              6,030   10,860   11,100   13,800    8,418    42,090

100102453   020161752   WALGREENS #05889         DSD        MESA          AZ   85206     WALGREENS         BW7308124    7,000    5,100    3,600    4,300    8,600    3,900    5,417    32,500

100094445   041146100   WALGREENS #06366         DSD      BALTIMORE       MD   21230     WALGREENS         BW7310004    2,600    3,200    2,000    3,000    2,600    2,100    2,583    15,500

100095153   010232223   WALGREENS #06471         DSD     MIDDLETOWN       OH   45044     WALGREENS         BW7310472   26,600   26,000   23,500   26,100   22,500   19,600   24,050   144,300

100103427   008114686   WALGREENS #06214         DSD    SCOTTS VALLEY     CA   95066     WALGREENS         BW7310484   29,500   32,200   30,400   32,900   34,900   28,500   31,400   188,400

100097785   019169011   WALGREENS #05853         DSD     GREENWOOD        IN   46143     WALGREENS         BW7314937   15,200   12,650   16,590   17,190   17,000   14,800   15,572    93,430

100095616   023145920   WALGREENS #06179         DSD    STATEN ISLAND     NY   10314     WALGREENS         BW7319622    9,700    8,300    6,100    8,500    8,500    7,400    8,083    48,500

100103596   032149740   WALGREENS #05950         DSD       SEATTLE        WA   98118     WALGREENS         BW7319634    7,100    6,000    5,600    6,500    4,000    3,500    5,450    32,700

100099551   037131060   WALGREENS #05801         DSD       LA PLACE       LA   70068     WALGREENS         BW7319646     600     1,400   17,300   25,100   21,600   20,500   14,417    86,500

100098910   019176776   WALGREENS #06508         DSD     NAPERVILLE       IL   60564     WALGREENS         BW7319658    8,730    8,090    6,600    7,630    8,500    7,100    7,775    46,650

100103617   032149955   WALGREENS #05912         DSD     BREMERTON        WA   98310     WALGREENS         BW7324938    9,400    8,200    7,800    8,600    8,100    6,700    8,133    48,800

100101208   046044776   WALGREENS #06473         DSD      FT MYERS        FL   33919     WALGREENS         BW7325512     100      200     4,500    4,300    6,100    5,500    3,450    20,700

100102690   020162313   WALGREENS #06065         DSD      GLENDALE        AZ   85302     WALGREENS         BW7326499    9,400    6,300    6,700    7,700    9,300    6,800    7,700    46,200

100099334   021170035   WALGREENS #05873         DSD    INDEPENDENCE      MO   64056     WALGREENS         BW7326502    4,900   18,300   22,900   23,500   26,600   17,200   18,900   113,400

100111213   021002051   WALGREENS # 05873 340B          INDEPENDENCE      MO   64056   PHS 340B HOSPITAL   BW7326502                                                  500      500       500

100101806   032148221   WALGREENS #06426         DSD      PORTLAND        OR   97230     WALGREENS         BW7326514   23,400   21,500   22,500   22,700   24,100   14,200   21,400   128,400

100098307   019171512   WALGREENS #05935         DSD        SALEM         WI   53168     WALGREENS         BW7326526   28,200   32,200   30,360   33,700   27,800   32,700   30,827   184,960

100096417   019163220   WALGREENS # 05935 340B              SALEM         WI   53168   PHS 340B HOSPITAL   BW7326526    4,500    2,500    2,000    1,000    1,000             2,200    11,000

100097787   019169037   WALGREENS #06455         DSD     MOORESVILLE      IN   46158     WALGREENS         BW7333418   40,600   32,000   38,800   42,700   33,300   32,000   36,567   219,400

100106692   019183681   WALGREENS #06455 340B            MOORESVILLE      IN   46158    PHS 340B CLINIC    BW7333418    2,000     300     3,500    2,600    2,500    2,000    2,150    12,900

100095522   041150805   WALGREENS #06365         DSD      RICHMOND        VA   23229     WALGREENS         BW7337290    8,900    8,800    7,700    7,600    8,100    7,200    8,050    48,300

100098546   025090282   WALGREENS #05080         DSD     EDEN PRAIRIE     MN   55347     WALGREENS         BW7337303    6,200    7,000    6,500    5,800    6,100    5,200    6,133    36,800

100097133   040118687   WALGREENS #06276         DSD       DULUTH         GA   30097     WALGREENS         BW7340677    3,900    3,800    1,600    3,520    4,100    2,000    3,153    18,920

100096132   004099135   WALGREENS #06295         DSD       PEABODY        MA   01960     WALGREENS         BW7340689    3,400    6,000    2,500    4,000    4,200    2,700    3,800    22,800
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100100161   038107409   WALGREENS #05871     DSD           HOUSTON          TX   77077     WALGREENS         BW7340728     100      100     4,800    5,360    4,200    2,000    2,760    16,560

100099693   018398008   WALGREENS #05535     DSD      HOT SPRINGS VILLAGE   AR   71909     WALGREENS         BW7340766   12,930   11,000   18,400   16,500   13,400   11,000   13,872    83,230

100102694   020162321   WALGREENS #05775     DSD          GLENDALE          AZ   85305     WALGREENS         BW7340778    8,700   10,500    8,300    9,730   10,400    7,100    9,122    54,730

100102523   046051912   WALGREENS #06415     DSD         JACKSONVILLE       FL   32257     WALGREENS         BW7342962     100      100     2,200    3,200    4,000    1,500    1,850    11,100

100097113   040118489   WALGREENS #06206     DSD           MARIETTA         GA   30064     WALGREENS         BW7342974    5,000    6,600    4,000    6,500    7,000    6,000    5,850    35,100

100102933   046053959   WALGREENS #06391     DSD           ORLANDO          FL   32822     WALGREENS         BW7344687                      1,600    2,500    3,600    1,500    2,300     9,200

100102855   008113076   WALGREENS #06386     DSD           FRESNO           CA   93727     WALGREENS         BW7350008   22,000   26,200   23,900   24,100   24,200   21,900   23,717   142,300

100102700   046052795   WALGREENS #06499     DSD        BONITA SPRINGS      FL   34134     WALGREENS         BW7350010     200      100     2,820    4,100    6,900    5,500    3,270    19,620

100094757   010229211   WALGREENS #06485     DSD          DELAWARE          OH   43015     WALGREENS         BW7350058    8,200    6,800    7,300    9,200    6,800    5,500    7,300    43,800

100101899   046047100   WALGREENS #06352     DSD           TAMARAC          FL   33351     WALGREENS         BW7351858    1,000    1,800    5,800    6,600    8,700    5,900    4,967    29,800

100098235   021169664   WALGREENS #05977     DSD          CORALVILLE        IA   52241     WALGREENS         BW7355868   10,300   10,300    9,700    9,600    9,400    5,000    9,050    54,300

100102775   008112888   WALGREENS #06453     DSD           MADERA           CA   93637     WALGREENS         BW7357735   11,600   12,900   12,300   12,600   15,800    7,700   12,150    72,900

100097653   052222190   WALGREENS #05655     DSD          RIDGELAND         MS   39157     WALGREENS         BW7357759    8,100    9,400    7,300    8,100    9,600    6,000    8,083    48,500

100097978   049192450   WALGREENS #05227     DSD        NEW BALTIMORE       MI   48047     WALGREENS         BW7359424   23,000   24,930   23,400   24,400   24,400   34,900   25,838   155,030

100087143   003090928   WALGREENS #00396                  RIO PIEDRAS       PR   00925     WALGREENS         BW7360504                       500                                 500       500

100087108   003090241   WALGREENS #00053                 SAN LORENZO        PR   00754     WALGREENS         BW7360516     500              1,000                                750      1,500

100097464   052221291   WALGREENS #06340     DSD          TULLAHOMA         TN   37388     WALGREENS         BW7365744   33,200   31,300   33,000   32,400   30,300   24,000   30,700   184,200

100099670   018397836   WALGREENS #06274     DSD         WEST MONROE        LA   71291     WALGREENS         BW7365756     300    20,900   23,600   24,600   28,000   21,300   19,783   118,700

100101205   046044743   WALGREENS #05496     DSD            OCALA           FL   34471     WALGREENS         BW7367471      60      100     5,360    2,700    4,700    8,000    3,487    20,920

100094829   055033761   WALGREENS #06547     DSD         FAYETTEVILLE       NC   28301     WALGREENS         BW7369259    7,100    6,700    6,800    6,220    6,500    6,100    6,570    39,420

100096237   023147108   WALGREENS #05333     DSD          UNION CITY        NJ   07087     WALGREENS         BW7375783    1,260    3,200    1,400    1,130    1,200     700     1,482     8,890

100099421   021170902   WALGREENS #05263     DSD           SHAWNEE          KS   66203     WALGREENS         BW7375795    2,800   17,200   14,200   18,700   19,300   14,800   14,500    87,000

100098714   019173781   WALGREENS #05832     DSD        BUFFALO GROVE       IL   60089     WALGREENS         BW7375808   11,000    9,300   10,430   10,600   13,100    9,800   10,705    64,230

100097262   040119859   WALGREENS #06373     DSD          COLUMBUS          GA   31904     WALGREENS         BW7385241   16,200   18,000   17,100   17,300   21,500   17,000   17,850   107,100

100102358   012110999   WALGREENS #05528     DSD       SAN BERNARDINO       CA   92407     WALGREENS         BW7385253   43,100   45,600   41,600   42,600   31,800   28,800   38,917   233,500

100102750   008112821   WALGREENS #06387     DSD            CLOVIS          CA   93611     WALGREENS         BW7385265   22,900   22,700   23,500   24,800   27,200   17,500   23,100   138,600

100073510   010120451   *WILMORE PHARMACIST GROUP          WILMORE          KY   40390     INDEPENDENT       BW7392917    2,900    3,400    4,100    2,500                      3,225    12,900

100103618   032149963   WALGREENS #06423     DSD          BREMERTON         WA   98311     WALGREENS         BW7397210   10,000    9,370    9,100    9,400    8,400    6,400    8,778    52,670

100103418   020164533   WALGREENS #07841     DSD          LAS VEGAS         NV   89141     WALGREENS         BW7398832   28,900   28,000   27,900   31,800   32,800   26,100   29,250   175,500

100087154   003091165   WALGREENS #00670                 SAN GERMAN         PR   00683     WALGREENS         BW7399012                       500      800                        650      1,300

100099729   044219261   WALGREENS #01952     DSD          JONESBORO         AR   72401     WALGREENS         BW7399036   13,700   16,400   21,300   22,800   20,600   14,300   18,183   109,100

100094777   055033704   WALGREENS #07317     DSD           DURHAM           NC   27713     WALGREENS         BW7399098    6,550    7,530    8,990    7,230    8,000    6,200    7,417    44,500

100101871   046047027   WALGREENS #04803     DSD         COOPER CITY        FL   33328     WALGREENS         BW7400079     500      200     3,500    6,900    9,800    6,100    4,500    27,000

100101735   038109546   WALGREENS #06344     DSD           BRIGHTON         CO   80601     WALGREENS         BW7400461   13,930   18,470   13,180   17,080   16,100   17,660   16,070    96,420

100098428   019172676   WALGREENS #09166     DSD          TWO RIVERS        WI   54241     WALGREENS         BW7400651   12,500   12,500   12,600   13,700   11,700   11,500   12,417    74,500

100098242   021169730   WALGREENS #01301     DSD           OTTUMWA          IA   52501     WALGREENS         BW7403873   13,000   11,500   12,000   12,500   14,000    8,500   11,917    71,500

100096232   004099895   WALGREENS #05949     DSD         TORRINGTON         CT   06790     WALGREENS         BW7403948   12,400   12,300   11,800   12,000   12,500   10,900   11,983    71,900

100103131   046055053   WALGREENS #05050     DSD           HIALEAH          FL   33012     WALGREENS         BW7403986              700      400     1,900    1,000    1,800    1,160     5,800

100059897   008095315   DOCTORS MEDICAL CENTER            SAN PABLO         CA   94806       HOSPITAL        BW7405396     800     1,100     500      100      800      300      600      3,600

100073875   008047944   DOCTORS MEDICAL CENTER 340B       SAN PABLO         CA   94806   PHS 340B HOSPITAL   BW7405396     600      500      400      400      100      400      400      2,400

100102465   020161786   WALGREENS #05701     DSD             MESA           AZ   85208     WALGREENS         BW7407516   11,000   12,600   11,400   14,700   13,400   10,800   12,317    73,900

100101758   012108720   WALGREENS #05772     DSD          TORRANCE          CA   90505     WALGREENS         BW7407681    8,800    6,800    7,900    7,100    7,400    8,900    7,817    46,900

100097118   040118539   WALGREENS #07526     DSD           MARIETTA         GA   30067     WALGREENS         BW7411680    6,500    7,100    6,500    8,500    6,200    6,000    6,800    40,800

100098172   049194100   WALGREENS #07874     DSD        TRAVERSE CITY       MI   49684     WALGREENS         BW7411729   26,300   25,700   22,600   25,400   24,300   18,600   23,817   142,900
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100102405   020161638   WALGREENS #01076     DSD     QUEEN CREEK      AZ   85143    WALGREENS        BW7412238   18,030   17,900   17,900   20,100   20,800   14,600   18,222   109,330

100098633   021169854   WALGREENS #01975     DSD      SIOUX FALLS     SD   57110    WALGREENS        BW7412846    8,200    8,100    9,100    9,000   10,600    7,000    8,667    52,000

100095205   023143941   WALGREENS #06159     DSD      NEW YORK        NY   10003    WALGREENS        BW7414674    2,100    1,000    2,600    2,000    1,800    2,900    2,067    12,400

100099466   021171231   WALGREENS #06363     DSD       WICHITA        KS   67220    WALGREENS        BW7417959   16,700   22,200   21,800   24,600   25,200   16,500   21,167   127,000

100103493   008115618   WALGREENS #05499     DSD      ELK GROVE       CA   95758    WALGREENS        BW7418002   37,700   39,100   34,100   38,400   31,400   27,400   34,683   208,100

100102488   012111351   WALGREENS #05881     DSD   HUNTINGTON BEACH   CA   92648    WALGREENS        BW7418014   33,700   33,800   37,400   33,400   36,900   31,300   34,417   206,500

100102609   024120881   WALGREENS #05846     DSD       OXNARD         CA   93036    WALGREENS        BW7418026   17,000   16,500   15,500   15,700   11,400   13,900   15,000    90,000

100103116   046054924   WALGREENS #07109     DSD    WINTER GARDEN     FL   34787    WALGREENS        BW7419179                      2,500    3,600    4,300    3,000    3,350    13,400

100101813   012108878   WALGREENS #05773     DSD       ARTESIA        CA   90701    WALGREENS        BW7419775   10,630   11,200   10,430   10,000   14,500    9,200   10,993    65,960

100098075   049193425   WALGREENS #07501     DSD         FLINT        MI   48507    WALGREENS        BW7420590   34,600   42,500   38,600   38,000   42,700   32,000   38,067   228,400

100095964   004097972   WALGREENS #07759     DSD       GROTON         CT   06340    WALGREENS        BW7421201    6,900    7,300    8,300    8,100    7,800    6,300    7,450    44,700

100065348   004065599   WALGREENS CO 07759-340B        GROTON         CT   06340   PHS 340B CLINIC   BW7421201              100                                          100       100

100098215   021169508   WALGREENS #07967     DSD         CLIVE        IA   50325    WALGREENS        BW7421768   15,600   17,000   17,200   17,600   17,200   14,000   16,433    98,600

100099704   018398115   WALGREENS #02364     DSD     JACKSONVILLE     AR   72076    WALGREENS        BW7422099   18,100   26,700   23,400   29,800   15,800   22,500   22,717   136,300

100101950   024120378   WALGREENS #07826     DSD       VAN NUYS       CA   91401    WALGREENS        BW7422506    5,600    5,900    4,900    5,600    5,900    3,300    5,200    31,200

100099298   044218958   WALGREENS #06286     DSD       O FALLON       MO   63366    WALGREENS        BW7423736     300     8,300    9,200   11,300   14,600    7,000    8,450    50,700

100096306   010233288   WALGREENS #07885     DSD   WEST CARROLLTON    OH   45449    WALGREENS        BW7424106   14,200   15,300   14,200   16,320   14,700   12,300   14,503    87,020

100099816   018399097   WALGREENS #06551     DSD    BROKEN ARROW      OK   74012    WALGREENS        BW7424384     600    10,400   22,830   26,960   15,900   24,500   16,865   101,190

100099219   044218164   WALGREENS #02227     DSD       EUREKA         MO   63025    WALGREENS        BW7426869     600    10,900   20,600   16,900   20,000   11,300   13,383    80,300

100101920   017096677   WALGREENS #09092     DSD     ROCK SPRINGS     WY   82901    WALGREENS        BW7427695   17,800   17,600   14,500   15,600   13,500   15,500   15,750    94,500

100099889   018399824   WALGREENS #04786     DSD        FRISCO        TX   75034    WALGREENS        BW7428976   21,400   28,200   27,600   29,140   20,200   13,500   23,340   140,040

100103714   046056002   WALGREENS #05979     DSD       LAKELAND       FL   33813    WALGREENS        BW7429322     300      600     1,300    7,030    6,700    5,200    3,522    21,130

100102727   046052951   WALGREENS #07800     DSD        DELAND        FL   32720    WALGREENS        BW7431923              100     7,000    9,000   15,100   11,500    8,540    42,700

100097202   040119362   WALGREENS #07958     DSD       BUFORD         GA   30519    WALGREENS        BW7432797    7,600    9,000    6,600    7,500    8,000    6,500    7,533    45,200

100095728   010233148   WALGREENS #07940     DSD     WESTERVILLE      OH   43082    WALGREENS        BW7433763    6,700    7,700    5,900    7,100    7,200    7,400    7,000    42,000

100095812   023146217   WALGREENS #05463     DSD       BAYONNE        NJ   07002    WALGREENS        BW7437280    2,400    2,500    3,400    2,400    3,300    1,400    2,567    15,400

100094879   055033902   WALGREENS #05877     DSD       GASTONIA       NC   28052    WALGREENS        BW7437292   21,800   19,000   21,300   22,600   23,300   23,200   21,867   131,200

100099082   019178525   WALGREENS #06002     DSD      ROCKFORD        IL   61104    WALGREENS        BW7438561   26,300   28,900   25,900   28,900   31,200   20,400   26,933   161,600

100097093   040118281   WALGREENS #06138     DSD       DECATUR        GA   30035    WALGREENS        BW7438573    5,800    6,300    6,000    7,700    8,200    6,200    6,700    40,200

100098489   025089698   WALGREENS #09095     DSD      OWATONNA        MN   55060    WALGREENS        BW7440112    5,500    7,600    6,000    6,500    6,000    5,000    6,100    36,600

100101868   008112524   WALGREENS #07274     DSD     SAN LEANDRO      CA   94578    WALGREENS        BW7440770   27,800   28,300   24,900   27,300   28,500   18,300   25,850   155,100

100099948   018400416   WALGREENS #09126     DSD        DALLAS        TX   75211    WALGREENS        BW7440794   18,400   30,110   26,310   27,560   22,800   13,200   23,063   138,380

100101405   032146357   WALGREENS #01100     DSD      PORTLAND        OR   97086    WALGREENS        BW7440819   15,100   14,600   14,500   15,600   19,500    8,500   14,633    87,800

100096178   004099432   WALGREENS #01756     DSD       RUTLAND        VT   05701    WALGREENS        BW7441506    3,700    3,600    3,100    2,700    5,600     600     3,217    19,300

100102081   017097410   WALGREENS #09192     DSD        OREM          UT   84057    WALGREENS        BW7441582   16,600   19,100   15,600   16,500   14,500   13,500   15,967    95,800

100099675   037132167   WALGREENS #09182     DSD       PINEVILLE      LA   71360    WALGREENS        BW7442318    1,400    4,300   24,000   46,700   28,900   38,800   24,017   144,100

100097083   040118182   WALGREENS #07546     DSD       GRAYSON        GA   30017    WALGREENS        BW7443396    7,000    6,600    8,600   11,300   10,000    6,100    8,267    49,600

100098285   019171298   WALGREENS #09066     DSD       CUDAHY         WI   53110    WALGREENS        BW7443409   15,200   19,400   17,100   19,700   20,000   13,000   17,400   104,400

100098306   019171504   WALGREENS #07965     DSD   PLEASANT PRAIRIE   WI   53158    WALGREENS        BW7443411   11,500   11,700   10,200   11,700   12,200    9,000   11,050    66,300

100095186   055036186   WALGREENS #06686     DSD    MYRTLE BEACH      SC   29577    WALGREENS        BW7443550   11,600   10,800   10,000    9,600    8,800    8,000    9,800    58,800

100098505   025089862   WALGREENS #06447     DSD     MOUNDS VIEW      MN   55112    WALGREENS        BW7443562    6,200    7,300    6,500    6,600    8,100    5,500    6,700    40,200

100102510   012111401   WALGREENS #01232     DSD     MISSION VIEJO    CA   92691    WALGREENS        BW7443930    5,600    9,600    6,700    8,100   10,900    7,600    8,083    48,500

100096271   041152629   WALGREENS #07825     DSD     WESTAMPTON       NJ   08060    WALGREENS        BW7443942    2,300    3,800    2,300    2,800    2,900    2,400    2,750    16,500

100098896   019176636   WALGREENS #05712     DSD     WARRENVILLE      IL   60555    WALGREENS        BW7445011    7,160    7,380    5,980    8,660    9,900    8,500    7,930    47,580
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100103331   020164160   WALGREENS #06498        DSD              EL PASO        TX   79936     WALGREENS         BW7445023    2,500    10,680   12,200   12,800   14,500    1,500    9,030    54,180

100094401   055032854   WALGREENS #02452        DSD             ANDERSON        SC   29621     WALGREENS         BW7445845   27,200    28,000   26,900   34,100   25,500   27,100   28,133   168,800

100103327   020164137   WALGREENS #06424        DSD            HENDERSON        NV   89012     WALGREENS         BW7446431   14,840    17,300   14,770   15,100   17,200   11,100   15,052    90,310

100098048   049193151   WALGREENS #07033        DSD          STERLING HEIGHTS   MI   48314     WALGREENS         BW7448625   22,500    23,200   21,100   24,600   23,900   29,500   24,133   144,800

100102410   012111146   WALGREENS #01081        DSD               HEMET         CA   92545     WALGREENS         BW7448637   28,700    25,900   27,700   30,700   27,300   15,700   26,000   156,000

100099267   044218644   WALGREENS #05513        DSD            SAINT LOUIS      MO   63126     WALGREENS         BW7449312              6,600    6,100    6,000    7,200    3,000    5,780    28,900

100097390   044215095   WALGREENS #06105        DSD             FRANKLIN        TN   37067     WALGREENS         BW7449754    5,200     5,500    6,700    5,700    6,900    5,500    5,917    35,500

100101552   046045989   WALGREENS #05198        DSD            MIAMI BEACH      FL   33141     WALGREENS         BW7450834     100       500     1,090    3,600    3,600    1,600    1,748    10,490

100102589   020162065   WALGREENS #06534        DSD            SCOTTSDALE       AZ   85255     WALGREENS         BW7452028    8,200     8,600    8,300    6,900    9,600    5,600    7,867    47,200

100095903   004094839   WALGREENS #06349        DSD         DORCHESTER CENTER   MA   02124     WALGREENS         BW7452030    1,700     1,500    1,000    1,000    1,500     500     1,200     7,200

100094704   010228890   WALGREENS #06118        DSD             COLUMBUS        OH   43213     WALGREENS         BW7452042   10,400     6,700    8,500    9,120   10,500    7,800    8,837    53,020

100094770   010229229   WALGREENS #06115        DSD              DUBLIN         OH   43016     WALGREENS         BW7452054    6,600     5,600    7,200    7,600    8,000    6,500    6,917    41,500

100097542   044215749   WALGREENS #06278        DSD            COLLIERVILLE     TN   38017     WALGREENS         BW7452066    5,100     6,160    6,100    5,600    6,600    4,500    5,677    34,060

100097949   044217398   WALGREENS #06150        DSD            EVANSVILLE       IN   47711     WALGREENS         BW7453525   16,800    22,700   20,800   18,500   23,000   17,000   19,800   118,800

100095954   041152009   WALGREENS #04963        DSD             FREEHOLD        NJ   07728     WALGREENS         BW7455567    6,800     8,800    8,800    5,900    5,800    8,400    7,417    44,500

100097273   052220202   WALGREENS #06488        DSD            GARDENDALE       AL   35071     WALGREENS         BW7455606   35,200    33,200   32,240   31,840   22,700   28,100   30,547   183,280

100095682   041151217   WALGREENS #06633        DSD           VIRGINIA BEACH    VA   23456     WALGREENS         BW7455620    7,600     6,730    6,100    5,850    8,500    2,600    6,230    37,380

100101618   046046276   WALGREENS #05845        DSD            NORTH MIAMI      FL   33161     WALGREENS         BW7456177                        600     1,200    1,000    1,200    1,000     4,000

100102298   046049734   WALGREENS #05576        DSD               TAMPA         FL   33626     WALGREENS         BW7456355     100       130     1,400    7,400    9,200    6,000    4,038    24,230

100094918   055034066   WALGREENS #06616        DSD            GREENVILLE       NC   27858     WALGREENS         BW7456367   10,800     9,520   10,200    9,300    8,400    7,800    9,337    56,020

100103348   020164269   WALGREENS #06545        DSD            HENDERSON        NV   89052     WALGREENS         BW7460645   24,100    25,300   24,100   25,200   26,400   16,700   23,633   141,800

100103652   032151035   WALGREENS #05816        DSD            VANCOUVER        WA   98665     WALGREENS         BW7465467   14,730    15,800   16,000   16,890   18,300   11,000   15,453    92,720

100097056   040117911   WALGREENS #06076        DSD         NORTH CHARLESTON    SC   29418     WALGREENS         BW7469338   11,600    11,630   10,700   13,700   13,000   14,500   12,522    75,130

100095451   041150029   WALGREENS #05298        DSD            PHILADELPHIA     PA   19144     WALGREENS         BW7471383    4,200     3,000    4,000    4,700    4,000    1,000    3,483    20,900

100101753   008112482   WALGREENS #06141        DSD             OROVILLE        CA   95966     WALGREENS         BW7472018   49,700    55,700   48,500   66,800   39,500   35,700   49,317   295,900

100097897   019170134   WALGREENS #06673        DSD            FORT WAYNE       IN   46804     WALGREENS         BW7472020   19,900    19,900   17,900   18,300   21,400   21,800   19,867   119,200

100103545   032149245   WALGREENS #06140        DSD             PORTLAND        OR   97232     WALGREENS         BW7472032    9,200    11,300    9,900    9,900   10,400    7,800    9,750    58,500

100103481   008115238   WALGREENS #06417        DSD              FOLSOM         CA   95630     WALGREENS         BW7477068   12,300    13,400   11,600   12,400   11,300   10,800   11,967    71,800

100101828   038109801   WALGREENS #05262        DSD         COLORADO SPRINGS    CO   80920     WALGREENS         BW7477070    6,000     9,700    8,900    8,000   12,200    5,600    8,400    50,400

100097137   040118729   WALGREENS #05811        DSD              AUSTELL        GA   30106     WALGREENS         BW7477082   15,900    13,500   15,000   14,100   14,300   10,100   13,817    82,900

100099543   037105650   WALGREENS #06506        DSD              GRETNA         LA   70053     WALGREENS         BW7477094     200      2,200   14,600   25,200   25,700   17,700   14,267    85,600

100100506   018403113   WALGREENS #06501        DSD             AMARILLO        TX   79109     WALGREENS         BW7477107    1,000    16,200   21,700   22,700   20,600    8,000   15,033    90,200

100102739   046053009   WALGREENS #05641        DSD            BRADENTON        FL   34210     WALGREENS         BW7480130      (20)     100     7,840   14,800   10,600   14,500    7,970    47,820

100103654   032151050   WALGREENS #06103        DSD            VANCOUVER        WA   98683     WALGREENS         BW7480750   16,430    22,490   18,900   20,200   24,900   19,900   20,470   122,820

100091252   032145730   WALGREENS #06103 340B                  VANCOUVER        WA   98683   PHS 340B HOSPITAL   BW7480750    1,000               500      500      500               625      2,500

100101849   012108985   WALGREENS #05650        DSD            LONG BEACH       CA   90806     WALGREENS         BW7484481   41,100    38,100   40,560   38,220   23,700   29,800   35,247   211,480

100097170   040119040   WALGREENS #06208        DSD            MCDONOUGH        GA   30253     WALGREENS         BW7484493    8,500     8,700    7,500    6,600    9,100    7,500    7,983    47,900

100097474   052221390   WALGREENS #06777        DSD           CHATTANOOGA       TN   37421     WALGREENS         BW7484506   15,200    16,060   14,690   16,700   13,200   15,500   15,225    91,350

100101705   017096602   WALGREENS #05737        DSD           SALT LAKE CITY    UT   84106     WALGREENS         BW7484520   24,600    24,000   21,500   24,100   20,200   20,000   22,400   134,400

100102595   046052241   WALGREENS #05659        DSD            PENSACOLA        FL   32501     WALGREENS         BW7485128     640       300     6,800   21,300   15,000   23,040   11,180    67,080

100097422   044215400   WALGREENS #06532        DSD            SPRINGFIELD      TN   37172     WALGREENS         BW7485142   29,700    28,100   28,300   29,200   33,400   21,700   28,400   170,400

100097766   019168823   WALGREENS #06761        DSD             ANDERSON        IN   46013     WALGREENS         BW7486055   14,500    14,300   14,100   16,200   15,300   26,500   16,817   100,900

100070869   018144634   WOODLANDS PHARMACY INC        CPA      WHITE HALL       AR   71602     INDEPENDENT       BW7489974   14,340    14,180   13,460   14,260   14,360   10,460   13,510    81,060

100102564   012111542   WALGREENS #05972        DSD           GARDEN GROVE      CA   92840     WALGREENS         BW7494064   37,600    39,400   34,800   32,700   45,100   28,900   36,417   218,500
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100098198   021169334   WALGREENS #06677        DSD    WEST DES MOINES   IA   50265     WALGREENS         BW7494076   10,100   10,100    11,100   10,000   11,600    7,100   10,000    60,000

100103624   032150755   WALGREENS #06102        DSD       PUYALLUP       WA   98373     WALGREENS         BW7494090   12,100   11,300    14,300   11,630   15,500    7,300   12,022    72,130

100102560   012111534   WALGREENS #06215        DSD      FULLERTON       CA   92833     WALGREENS         BW7496791   28,000   26,300    26,900   28,300   26,100   25,200   26,800   160,800

100101761   012108738   WALGREENS #06157        DSD        ANAHEIM       CA   92804     WALGREENS         BW7496804   20,390   21,100    23,100   20,600   26,300   22,500   22,332   133,990

100097244   040119727   WALGREENS #06098        DSD       SAVANNAH       GA   31410     WALGREENS         BW7496816    9,700   10,000     9,500   10,100    9,000    6,500    9,133    54,800

100098746   019174102   WALGREENS #05366        DSD     HANOVER PARK     IL   60133     WALGREENS         BW7498707   12,000   12,100    13,600   15,300   16,000   12,200   13,533    81,200

100101809   012108860   WALGREENS #06446        DSD       STANTON        CA   90680     WALGREENS         BW7503281   16,700   17,200    14,800   17,500   19,600   17,300   17,183   103,100

100097633   044216523   WALGREENS #06771        DSD        TUPELO        MS   38801     WALGREENS         BW7503344   36,780   34,030    34,120   36,100   32,500   29,000   33,755   202,530

100097620   044216416   WALGREENS #06754        DSD       HORN LAKE      MS   38637     WALGREENS         BW7503356    8,200   10,300     9,000    9,100   10,000    5,500    8,683    52,100

100097985   049192526   WALGREENS #06323        DSD      SOUTHFIELD      MI   48076     WALGREENS         BW7503370   11,000   10,200     9,800   11,000    6,300    7,000    9,217    55,300

100102741   020162420   WALGREENS #06428        DSD       EL MIRAGE      AZ   85335     WALGREENS         BW7503382   12,200   12,400    13,000   13,000   13,400   16,300   13,383    80,300

100103009   046054353   WALGREENS #06528        DSD       CLERMONT       FL   34711     WALGREENS         BW7503952     500      400      3,000    4,700    5,800    3,700    3,017    18,100

100102377   020161570   WALGREENS #06333        DSD    APACHE JUNCTION   AZ   85120     WALGREENS         BW7505007   13,400   13,730    13,830   15,000   19,400   10,100   14,243    85,460

100102902   020162818   WALGREENS #06491        DSD        TUCSON        AZ   85705     WALGREENS         BW7505019    6,900    5,770     6,000    8,600    8,000    4,800    6,678    40,070

100102823   008112995   WALGREENS #05847        DSD        FRESNO        CA   93720     WALGREENS         BW7505021   21,100   20,530    17,900   21,100   26,500   18,700   20,972   125,830

100097960   019170555   WALGREENS #06456        DSD    WEST LAFAYETTE    IN   47906     WALGREENS         BW7505057   14,900   15,700    16,400   19,800   18,500   14,000   16,550    99,300

100097498   052221630   WALGREENS #06738        DSD      LA FOLLETTE     TN   37766     WALGREENS         BW7505069   26,700   30,000    27,700   30,720   26,800   19,500   26,903   161,420

100102122   017097592   WALGREENS #06669        DSD     SOUTH JORDAN     UT   84095     WALGREENS         BW7505071   12,700   13,200    12,900   12,500   12,300   13,000   12,767    76,600

100098023   049192906   WALGREENS #06261        DSD        TAYLOR        MI   48180     WALGREENS         BW7507607   31,400   32,500    36,100   35,900   29,200   23,000   31,350   188,100

100090101   049187948   WALGREENS #06261 340B              TAYLOR        MI   48180   PHS 340B HOSPITAL   BW7507607                                 100                        100       100

100097742   044217042   WALGREENS #06429        DSD       PADUCAH        KY   42003     WALGREENS         BW7509702   44,200   43,600    41,000   51,700   50,700   19,500   41,783   250,700

100101699   038109447   WALGREENS #06844        DSD     FORT COLLINS     CO   80525     WALGREENS         BW7512468   13,300   12,800    11,700   14,300   14,800    9,100   12,667    76,000

100094917   055034058   WALGREENS #06579        DSD      GREENVILLE      NC   27834     WALGREENS         BW7512595   15,100   15,800    14,300   14,400   16,600    9,900   14,350    86,100

100098839   019175067   WALGREENS #06427        DSD      BRIDGEVIEW      IL   60455     WALGREENS         BW7515527   23,500   21,200    19,700   22,000   24,200   16,600   21,200   127,200

100099967   018400606   *WALGREENS #05507       DSD        DALLAS        TX   75240     WALGREENS         BW7517773    3,600    2,500                                         3,050     6,100

100099625   037131813   WALGREENS #06577        DSD     LAKE CHARLES     LA   70605     WALGREENS         BW7521936      20     1,300     6,200   10,000   13,300    8,000    6,470    38,820

100102054   024120766   WALGREENS #06125        DSD      SAN GABRIEL     CA   91775     WALGREENS         BW7521948    5,300    4,400     4,500    5,600    6,700    3,530    5,005    30,030

100101737   024120014   WALGREENS #06413        DSD      INGLEWOOD       CA   90301     WALGREENS         BW7521950   21,800   23,580    19,600   21,700   14,400   20,100   20,197   121,180

100103019   020163105   WALGREENS #05532        DSD        TUCSON        AZ   85746     WALGREENS         BW7521962   14,800   19,600    17,500   19,430   18,500    9,700   16,588    99,530

100097374   044214932   WALGREENS #06409        DSD      BRENTWOOD       TN   37027     WALGREENS         BW7526241    8,300    8,320     8,760    9,500    9,400    4,500    8,130    48,780

100098903   019176701   WALGREENS #06176        DSD        DARIEN        IL   60561     WALGREENS         BW7526253    6,130    7,200     6,200    6,000    9,500    4,800    6,638    39,830

100095969   041152074   WALGREENS #05984        DSD      WESTMONT        NJ   08108     WALGREENS         BW7526277    4,400    5,300     4,600    5,100    3,800    5,400    4,767    28,600

100095143   010232173   WALGREENS #06458        DSD        MEDINA        OH   44256     WALGREENS         BW7528904    9,500   10,100     8,300    9,730   12,700    7,300    9,605    57,630

100099589   037131441   WALGREENS #06190        DSD       HAMMOND        LA   70403     WALGREENS         BW7528916     200       (40)    6,800   11,800   11,200    7,500    6,243    37,460

100098200   021169359   WALGREENS #06623        DSD    WEST DES MOINES   IA   50266     WALGREENS         BW7529437   12,000   13,100    13,500   13,500   18,000    8,600   13,117    78,700

100097971   049192385   WALGREENS #06175        DSD      CLINTON TWP     MI   48035     WALGREENS         BW7537422   21,500   24,400    26,300   23,400   25,000   23,900   24,083   144,500

100102263   012110643   WALGREENS #06399        DSD     YUCCA VALLEY     CA   92284     WALGREENS         BW7537434   44,000   39,300    50,100   43,300   49,100   15,600   40,233   241,400

100098828   019174946   WALGREENS #06563        DSD      ROMEOVILLE      IL   60446     WALGREENS         BW7537561   33,600   38,900    32,200   40,400   36,000   28,500   34,933   209,600

100103745   024121202   WALGREENS #05652        DSD   RANCHO CUCAMONGA   CA   91737     WALGREENS         BW7537585   23,200   22,100    19,100   20,200   14,400   21,800   20,133   120,800

100100089   038106781   WALGREENS #06857        DSD       HOUSTON        TX   77007     WALGREENS         BW7537612     640     1,000     5,930    7,200    6,100    5,200    4,345    26,070

100103014   046054395   WALGREENS #06463        DSD       PALM BAY       FL   32905     WALGREENS         BW7546279     200      200      5,000   17,300   16,900   12,100    8,617    51,700

100101567   046046078   WALGREENS #04809        DSD         MIAMI        FL   33145     WALGREENS         BW7546419      30      600      1,800    3,000    3,100    2,800    1,888    11,330

100101486   046045658   WALGREENS #05250        DSD         MIAMI        FL   33125     WALGREENS         BW7546421     100      300       900     4,000    2,200    1,100    1,433     8,600

100095683   041151225   WALGREENS #06634        DSD     VIRGINIA BEACH   VA   23464     WALGREENS         BW7548526    3,900    4,700     4,100    4,500    3,900    4,100    4,200    25,200
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100101664   038109330   WALGREENS #05547      DSD       COLORADO SPRINGS     CO   80909     WALGREENS         BW7548639   14,600   14,700    12,900   13,600   18,700    8,000   13,750    82,500

100103469   008115097   WALGREENS #06355      DSD            MODESTO         CA   95356     WALGREENS         BW7548641   29,100   25,700    24,000   29,100   21,700   29,000   26,433   158,600

100103752   012111740   WALGREENS #06388      DSD           SANTA ANA        CA   92705     WALGREENS         BW7548653   16,300   17,200    16,500   15,800   15,000   17,500   16,383    98,300

100101770   012108761   WALGREENS #05649      DSD            WHITTIER        CA   90602     WALGREENS         BW7550709   16,400   19,400    18,300   18,300   19,700   16,200   18,050   108,300

100099044   019178145   WALGREENS #06270      DSD            CHICAGO         IL   60657     WALGREENS         BW7550711    1,600    2,700     1,600    2,000    2,100    1,000    1,833    11,000

100098194   021169292   WALGREENS #05944      DSD           JOHNSTON         IA   50131     WALGREENS         BW7550723    8,100   11,100    11,000   10,500   12,500    8,700   10,317    61,900

100098083   049193508   WALGREENS #06559      DSD            MIDLAND         MI   48640     WALGREENS         BW7550735   48,900   47,800    44,700   50,500   23,500   28,000   40,567   243,400

100098276   019171207   WALGREENS #06570      DSD           SHEBOYGAN        WI   53081     WALGREENS         BW7552549   20,900   27,700    23,400   23,500   26,800   15,000   22,883   137,300

100104410   019181594   WALGREENS #06570 AHC 340B 121       SHEBOYGAN        WI   53081   PHS 340B HOSPITAL   BW7552549                        200      100                        150       300

100107068   019184036   WALGREENS #06570 AHC 340B 100       SHEBOYGAN        WI   53081   PHS 340B HOSPITAL   BW7552549              100                                           100       100

100097148   040118836   WALGREENS #06325      DSD        POWDER SPRINGS      GA   30127     WALGREENS         BW7552777    4,000    4,600     6,000    6,000    6,500    3,500    5,100    30,600

100103330   020164152   WALGREENS #05862      DSD           HENDERSON        NV   89014     WALGREENS         BW7552789   30,900   30,800    28,200   30,400   28,100   22,200   28,433   170,600

100100139   038107227   WALGREENS #06484      DSD            HOUSTON         TX   77063     WALGREENS         BW7553123     300     1,300     9,820   15,500    9,100   11,500    7,920    47,520

100099986   018400796   WALGREENS #06196      DSD           MARSHALL         TX   75670     WALGREENS         BW7554074    2,100    9,900    26,800   30,500   21,500   17,000   17,967   107,800

100098570   025090522   WALGREENS #06735      DSD         SAINT ANTHONY      MN   55421     WALGREENS         BW7554086    8,030    6,630     7,700    7,830    8,200    8,000    7,732    46,390

100099294   044218917   WALGREENS #06247      DSD          SAINT PETERS      MO   63304     WALGREENS         BW7554555     100     8,000    13,700   13,100   15,900    8,700    9,917    59,500

100100537   019179135   WALGREENS #06475      DSD          WILLOWBROOK       IL   60527     WALGREENS         BW7555848    9,400   10,200     8,900   10,200   10,000   10,200    9,817    58,900

100103576   032149542   WALGREENS #06302      DSD           LYNNWOOD         WA   98037     WALGREENS         BW7556650    9,100    9,000     9,000    8,500   11,800    4,900    8,717    52,300

100099050   019178202   WALGREENS #05962      DSD           NORRIDGE         IL   60706     WALGREENS         BW7557397   33,700   32,800    29,400   34,100   29,000   27,100   31,017   186,100

100091919   019158782   WALGREENS #05962   340B             NORRIDGE         IL   60706       HOSPITAL        BW7557397                        500      100                        300       600

100097418   044215368   WALGREENS #06676      DSD            SMYRNA          TN   37167     WALGREENS         BW7558793   17,100   16,100    19,000   20,200   32,400   17,700   20,417   122,500

100098256   019171009   WALGREENS #06186      DSD           DAVENPORT        IA   52807     WALGREENS         BW7559074   11,300   13,000    12,500   12,000   15,700   13,600   13,017    78,100

100095503   041150680   WALGREENS #06265      DSD         RANDALLSTOWN       MD   21133     WALGREENS         BW7561132    5,500    5,570     4,000    5,700    5,000    2,500    4,712    28,270

100097100   040118356   WALGREENS #06088      DSD         LAWRENCEVILLE      GA   30043     WALGREENS         BW7561308   11,300    9,200     9,900   10,800   12,500   11,000   10,783    64,700

100099764   018398586   WALGREENS #06436      DSD            EDMOND          OK   73034     WALGREENS         BW7561310      60     1,800    20,820   26,620   21,100   19,100   14,917    89,500

100101209   046044784   WALGREENS #06500      DSD             NAPLES         FL   34112     WALGREENS         BW7561322     100      200      2,200    7,220    4,700    9,100    3,920    23,520

100097265   040119883   WALGREENS #06327      DSD           COLUMBUS         GA   31907     WALGREENS         BW7561334   11,200   12,600    12,500   11,300    7,400   11,300   11,050    66,300

100097263   040119867   WALGREENS #06328      DSD           COLUMBUS         GA   31906     WALGREENS         BW7561346   11,700   13,200    11,600   14,300   10,100   16,200   12,850    77,100

100101815   046046870   WALGREENS #06538      DSD        FORT LAUDERDALE     FL   33316     WALGREENS         BW7561699     200     1,000     3,500    5,530    6,200    3,900    3,388    20,330

100103022   046054445   WALGREENS #06487      DSD            PALM BAY        FL   32909     WALGREENS         BW7561714     300      (100)    5,800   12,500   12,400   11,600    7,083    42,500

100098892   019176586   WALGREENS #06567      DSD           PLAINFIELD       IL   60544     WALGREENS         BW7563059    9,900   11,500     9,600    8,500    9,500    6,500    9,250    55,500

100102771   008112870   WALGREENS #06418      DSD           LOS BANOS        CA   93635     WALGREENS         BW7563061   24,300   24,700    25,000   23,600   18,600   21,500   22,950   137,700

100100213   040119917   WALGREENS #06395      DSD            MARTINEZ        GA   30907     WALGREENS         BW7563073   16,360   16,600    14,100   14,500   13,500   11,000   14,343    86,060

100095998   023146639   WALGREENS #06253      DSD           JERSEY CITY      NJ   07305     WALGREENS         BW7563566    2,300    2,500     4,700    2,900    3,900    2,000    3,050    18,300

100099980   018400739   WALGREENS #06525      DSD           TEXARKANA        TX   75503     WALGREENS         BW7565495    1,000    5,500    21,600   20,500   11,000   15,500   12,517    75,100

100095874   023146357   WALGREENS #06382      DSD            CLIFTON         NJ   07011     WALGREENS         BW7566271    2,600    3,180     2,800    2,600    2,100    2,200    2,580    15,480

100087117   003090407   WALGREENS #165                        PONCE          PR   00728     WALGREENS         BW7568934                       1,000     500                        750      1,500

100101903   046047118   WALGREENS #06405      DSD       PALM BEACH GARDENS   FL   33403     WALGREENS         BW7570559     100      140      3,980    7,500    8,100    7,500    4,553    27,320

100102716   046052902   WALGREENS #06135      DSD        LAKEWOOD RANCH      FL   34202     WALGREENS         BW7576347     200      130      5,300    9,430   10,500    8,000    5,593    33,560

100097327   052220749   WALGREENS #06800      DSD           PRATTVILLE       AL   36067     WALGREENS         BW7577488   34,000   34,700    31,600   31,900   20,400   27,100   29,950   179,700

100102832   046053439   WALGREENS #06504      DSD            ORLANDO         FL   32806     WALGREENS         BW7577490              300      6,800    9,000   10,200    8,100    6,880    34,400

100099234   044218313   WALGREENS #04702      DSD           HIGH RIDGE       MO   63049     WALGREENS         BW7577503     260     9,750    16,600   15,800   24,900   10,500   12,968    77,810

100097363   052221069   WALGREENS #06639      DSD             MOBILE         AL   36695     WALGREENS         BW7581778   22,500   20,300    19,200   19,600   18,200   14,700   19,083   114,500

100098397   019172411   WALGREENS #06130      DSD            MADISON         WI   53705     WALGREENS         BW7581780    8,500    8,600     8,700    8,700    7,500    7,500    8,250    49,500
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100095684   041151233   WALGREENS #06740         DSD      VIRGINIA BEACH      VA   23456     WALGREENS         BW7583114    8,250    9,060    9,160    8,250   10,700    6,100    8,587    51,520

100097861   019169771   WALGREENS #06733         DSD       LAKE STATION       IN   46405     WALGREENS         BW7583126   24,400   26,000   25,600   25,600   29,100   15,700   24,400   146,400

100095915   023146423   WALGREENS #06162         DSD      EAST ORANGE         NJ   07018     WALGREENS         BW7583138    4,700    5,800    4,500    5,700    3,400    4,700    4,800    28,800

100097475   052221408   WALGREENS #06256         DSD      JOHNSON CITY        TN   37601     WALGREENS         BW7586071   18,100   18,000   16,100   17,800   15,400   12,500   16,317    97,900

100102157   012109256   WALGREENS #06222         DSD          VISTA           CA   92084     WALGREENS         BW7586108   11,900   12,000   11,500   12,230   15,600    9,800   12,172    73,030

100095795   010233221   WALGREENS #06675         DSD      YOUNGSTOWN          OH   44505     WALGREENS         BW7586122   16,200   15,700   14,800   16,700   13,100   14,700   15,200    91,200

100101906   024120238   WALGREENS #06124         DSD         ARLETA           CA   91331     WALGREENS         BW7586134   36,200   30,800   27,100   29,600   30,700   20,000   29,067   174,400

100105575   024110593   WALGREENS # 06124 340B               ARLETA           CA   91331    PHS 340B CLINIC    BW7586134     500                                                   500       500

100102693   024121020   WALGREENS #06526         DSD       BAKERSFIELD        CA   93312     WALGREENS         BW7586146   25,600   28,900   26,900   30,760   31,900   23,000   27,843   167,060

100100064   018401570   WALGREENS #06047         DSD       TROPHY CLUB        TX   76262     WALGREENS         BW7588532    6,220   17,100   18,400   15,800   10,500   11,200   13,203    79,220

100101210   046044792   WALGREENS #06744         DSD       MIDDLEBURG         FL   32068     WALGREENS         BW7590222              200     7,800   13,300   17,000   19,700   11,600    58,000

100101962   024120436   WALGREENS #06250         DSD        BURBANK           CA   91502     WALGREENS         BW7590640   15,100   13,800   13,100   13,100   16,600    9,800   13,583    81,500

100094480   010228312   WALGREENS #06119         DSD        BLACKLICK         OH   43004     WALGREENS         BW7590652   12,000   10,300   10,900   11,200   11,500    8,300   10,700    64,200

100100526   018403311   WALGREENS #06694         DSD         ODESSA           TX   79762     WALGREENS         BW7590676    2,000   38,400   44,600   50,000   38,000   21,600   32,433   194,600

100100003   018400960   WALGREENS #06758         DSD        ARLINGTON         TX   76013     WALGREENS         BW7591488    7,400   23,000   24,120   24,260   17,700   16,100   18,763   112,580

100098347   019171918   WALGREENS #06058         DSD       GREENFIELD         WI   53220     WALGREENS         BW7592086   31,260   29,900   29,020   31,130   23,700   24,600   28,268   169,610

100089266   019155952   WALGREENS #6058 340B               GREENFIELD         WI   53220   PHS 340B HOSPITAL   BW7592086              500      500     1,000                       667      2,000

100107222   019184739   WALGREENS #06058 340B              GREENFIELD         WI   53220   PHS 340B HOSPITAL   BW7592086              500               500                        500      1,000

100100361   018402024   WALGREENS #06537         DSD       SAN ANTONIO        TX   78216     WALGREENS         BW7592238     300      900     9,100   13,000   11,600    7,100    7,000    42,000

100099233   044218305   WALGREENS #06492         DSD        BRIDGETON         MO   63044     WALGREENS         BW7594321     100     7,200   10,200   11,700   14,200    9,000    8,733    52,400

100095861   004094557   WALGREENS #06767         DSD       CAMBRIDGE          MA   02139     WALGREENS         BW7594333    1,500     900     1,000    2,100    1,000     600     1,183     7,100

100103744   024121194   WALGREENS #06438         DSD          CHINO           CA   91710     WALGREENS         BW7594345   31,400   34,000   30,300   31,720   32,900   28,400   31,453   188,720

100097771   019168872   WALGREENS #06299         DSD         FISHERS          IN   46038     WALGREENS         BW7597353    3,600    3,500    4,000    4,100    7,500    4,000    4,450    26,700

100099769   018398636   WALGREENS #06477         DSD         NORMAN           OK   73069     WALGREENS         BW7597492    1,100    1,200   22,720   27,100   31,600   23,800   17,920   107,520

100103461   008114991   WALGREENS #06718         DSD        ATWATER           CA   95301     WALGREENS         BW7597505   34,000   33,300   33,600   37,200   34,300   26,000   33,067   198,400

100097231   040119594   WALGREENS #06561         DSD     WARNER ROBINS        GA   31093     WALGREENS         BW7597517   40,220   45,720   37,320   41,500   33,800   41,100   39,943   239,660

100097111   040118463   WALGREENS #06809         DSD        MARIETTA          GA   30062     WALGREENS         BW7597771    3,400    3,200    3,600    3,200    4,100    3,600    3,517    21,100

100103399   008114546   WALGREENS #06585         DSD        CAMPBELL          CA   95008     WALGREENS         BW7599193   10,200   10,100   10,700    8,800    9,000   11,500   10,050    60,300

100100053   018401463   WALGREENS #06631         DSD   NORTH RICHLAND HILLS   TX   76180     WALGREENS         BW7599763    5,200   15,600   17,600   13,100   16,500    8,500   12,750    76,500

100100041   018401349   WALGREENS #06593         DSD        BENBROOK          TX   76126     WALGREENS         BW7599775    4,400   16,800   15,100   12,100   12,900    6,100   11,233    67,400

100100067   018401604   WALGREENS #06661         DSD      WICHITA FALLS       TX   76310     WALGREENS         BW7601594     500     8,600   22,700   21,000   19,500   12,400   14,117    84,700

100097691   052222497   WALGREENS #06770         DSD       STARKVILLE         MS   39759     WALGREENS         BW7601607   15,200   14,700   13,900   14,800   10,700   10,500   13,300    79,800

100097256   040119818   WALGREENS #06201       DSD           ALBANY           GA   31707     WALGREENS         BW7601621    4,100    7,700   11,200   10,200   12,200    7,000    8,733    52,400

100103415   008114629   WALGREENS #04516         DSD       MORGAN HILL        CA   95037     WALGREENS         BW7601633   12,800   13,500   11,600   12,500   13,900    8,700   12,167    73,000

100103103   046054866   WALGREENS #06402         DSD          DANIA           FL   33004     WALGREENS         BW7604588     300      500     4,860    8,120    9,400    7,200    5,063    30,380

100098486   025089664   WALGREENS #05634         DSD        LAKEVILLE         MN   55044     WALGREENS         BW7604590    3,000    4,800    4,500    5,000    6,100    2,500    4,317    25,900

100099941   018400341   WALGREENS #06562         DSD       WAXAHACHIE         TX   75165     WALGREENS         BW7608586   24,000   37,700   40,400   40,800   32,300   20,300   32,583   195,500

100095606   010232884   WALGREENS #06522         DSD       SPRINGFIELD        OH   45505     WALGREENS         BW7608598   14,600   13,600   12,500   12,600   12,600    8,000   12,317    73,900

100099239   044218362   WALGREENS #05717         DSD       WASHINGTON         MO   63090     WALGREENS         BW7608601    1,000   20,800   36,200   36,900   35,000   32,800   27,117   162,700

100101873   038109900   WALGREENS #06108         DSD         CLIFTON          CO   81520     WALGREENS         BW7608613   17,900   15,800   16,400   17,900   20,100   12,000   16,683   100,100

100102908   008113209   WALGREENS #07087         DSD       MENLO PARK         CA   94025     WALGREENS         BW7608625   14,400   15,230   12,400   12,430   16,500    5,900   12,810    76,860

100103068   020163220   WALGREENS #06666         DSD     PRESCOTT VALLEY      AZ   86314     WALGREENS         BW7608637   40,400   38,200   34,100   40,200   37,700   29,400   36,667   220,000

100097503   052221689   WALGREENS #06788         DSD       MORRISTOWN         TN   37814     WALGREENS         BW7609538   26,000   27,260   27,550   24,140   29,800   19,000   25,625   153,750

100097449   052221143   WALGREENS #05790         DSD         ATHENS           TN   37303     WALGREENS         BW7609540   43,800   44,100   45,400   45,700   32,200   27,500   39,783   238,700
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100107362   052224212   WALGREENS #5790 340B                ATHENS        TN   37303   PHS 340B HOSPITAL   BW7609540     500               100      500                        367      1,100

100102220   046049494   WALGREENS #06611        DSD         TAMPA         FL   33603     WALGREENS         BW7609552     500      200              5,400    7,900    8,200    4,440    22,200

100103042   046054551   WALGREENS #06149        DSD     SATELLITE BEACH   FL   32937     WALGREENS         BW7609564     160      400     2,900    6,350    4,200    6,690    3,450    20,700

100102529   020161927   WALGREENS #06062        DSD         GILBERT       AZ   85233     WALGREENS         BW7612244    9,400    7,500    9,200    9,800    9,800    5,100    8,467    50,800

100102654   020162222   WALGREENS #05215        DSD         GILBERT       AZ   85295     WALGREENS         BW7612256    6,910    5,400    5,400    5,330    7,300    5,300    5,940    35,640

100098770   019174342   WALGREENS #06795        DSD       ST CHARLES      IL   60175     WALGREENS         BW7612268   13,500   13,700   15,200   14,300   16,800   11,400   14,150    84,900

100094432   010228205   WALGREENS #06588        DSD       AVON LAKE       OH   44012     WALGREENS         BW7612270    7,700    7,400    8,000    7,200    8,200    6,300    7,467    44,800

100097092   040118273   WALGREENS #06481        DSD        DECATUR        GA   30034     WALGREENS         BW7612294    6,600    8,300    6,500    6,100    5,700    3,000    6,033    36,200

100097104   040118398   WALGREENS #06638        DSD     LAWRENCEVILLE     GA   30044     WALGREENS         BW7612307    3,100    2,600    4,000    3,100    3,600    3,000    3,233    19,400

100097135   040118703   WALGREENS #06461        DSD        ACWORTH        GA   30101     WALGREENS         BW7612319    4,800    6,300    7,300    5,800    6,300    4,500    5,833    35,000

100068259   040144121   WOODY'S PHARMACY INC      CPA     CLERMONT        GA   30527     INDEPENDENT       BW7617698    4,200    3,900   38,000     300              2,000    9,680    48,400

100101207   046044768   WALGREENS #06385        DSD      ORANGE PARK      FL   32003     WALGREENS         BW7618234     200      500     8,600   11,800   13,000   12,500    7,767    46,600

100100326   038108621   WALGREENS #06822        DSD     COLLEGE STATION   TX   77840     WALGREENS         BW7618246     500              5,500    9,040    7,500    4,500    5,408    27,040

100102554   020161984   WALGREENS #06241        DSD        CHANDLER       AZ   85249     WALGREENS         BW7621952    5,430    6,600    6,620    6,380    7,200    3,900    6,022    36,130

100095763   055037002   WALGREENS #06926        DSD         WILSON        NC   27893     WALGREENS         BW7621964   21,560   23,040   24,020   21,200   19,200   17,960   21,163   126,980

100102050   024120758   WALGREENS #05797        DSD        SAN DIMAS      CA   91773     WALGREENS         BW7621976   15,300   16,500   14,000   14,200   16,700   16,400   15,517    93,100

100099517   021171728   WALGREENS #06884        DSD        LINCOLN        NE   68506     WALGREENS         BW7621988   17,100   16,600   17,200   17,100   20,300   15,600   17,317   103,900

100103623   032150748   WALGREENS #05951        DSD        PUYALLUP       WA   98373     WALGREENS         BW7631701   11,300   13,700   11,500   13,500   13,900    8,700   12,100    72,600

100100217   038107888   WALGREENS #06750        DSD         SPRING        TX   77379     WALGREENS         BW7631713     900      900    10,500   12,600   11,700    5,000    6,933    41,600

100102872   008113118   WALGREENS #07081        DSD       MONTEREY        CA   93940     WALGREENS         BW7631725    7,500    7,920    8,100    8,400    9,800    7,000    8,120    48,720

100098028   049192955   WALGREENS #06550        DSD         CANTON        MI   48187     WALGREENS         BW7636496   13,700   14,000   14,600   16,600   14,400    9,500   13,800    82,800

100105984   049194977   WALGREENS #06550 340B               CANTON        MI   48187   PHS 340B HOSPITAL   BW7636496     100                                                   100       100

100102717   024121087   WALGREENS #06288        DSD       SANTA MARIA     CA   93454     WALGREENS         BW7638414   17,600   21,700   20,000   22,500   23,000   17,900   20,450   122,700

100096282   004100628   WALGREENS #06470        DSD       WEYMOUTH        MA   02188     WALGREENS         BW7645952    3,400    5,900    3,500    4,000    5,900    3,800    4,417    26,500

100095659   010232975   WALGREENS #06168        DSD         TOLEDO        OH   43613     WALGREENS         BW7650319   10,300    9,800    9,200    9,200    9,500    6,000    9,000    54,000

100100255   037132522   WALGREENS #06821        DSD     MEADOWS PLACE     TX   77477     WALGREENS         BW7650321     200      600     9,200   11,700    8,200    9,000    6,483    38,900

100098901   019176685   WALGREENS #06469        DSD        YORKVILLE      IL   60560     WALGREENS         BW7650345   19,300   19,500   20,400   19,700   21,600   12,000   18,750   112,500

100100502   018403071   WALGREENS #05612        DSD        AMARILLO       TX   79109     WALGREENS         BW7652262    3,200   33,300   49,200   47,300   35,500   25,000   32,250   193,500

100102321   020161430   WALGREENS #06535        DSD        PHOENIX        AZ   85042     WALGREENS         BW7652274    8,300    8,500    8,600    8,800    9,400    8,500    8,683    52,100

100096058   004098608   WALGREENS #05810        DSD        METHUEN        MA   01844     WALGREENS         BW7658808    3,300    2,700    2,500    3,160    3,100    2,600    2,893    17,360

100101757   046046714   WALGREENS #06156        DSD        SARASOTA       FL   34234     WALGREENS         BW7660396                      4,500    6,100    7,500    3,500    5,400    21,600

100098362   019172064   WALGREENS #06243        DSD         RACINE        WI   53402     WALGREENS         BW7660411   29,400   32,700   29,300   34,400   35,400   21,500   30,450   182,700

100087768   019151175   WALGREENS # 06243 340B              RACINE        WI   53402   PHS 340B HOSPITAL   BW7660411    2,600     500     1,000                               1,367     4,100

100107067   019184028   WALGREENS #06243 AHC 340B 100       RACINE        WI   53402   PHS 340B HOSPITAL   BW7660411                       100                                 100       100

100095172   055036095   WALGREENS #06688        DSD      MOORESVILLE      NC   28117     WALGREENS         BW7661879   18,100   15,770   14,600   20,760   12,700   10,600   15,422    92,530

100095685   041151241   WALGREENS #06790        DSD     VIRGINIA BEACH    VA   23452     WALGREENS         BW7661881   14,000   14,470   10,500   14,130   10,800   10,300   12,367    74,200

100103476   008115170   WALGREENS #06658        DSD       CARMICHAEL      CA   95608     WALGREENS         BW7664128   19,700   18,600   15,800   19,300   12,000   14,000   16,567    99,400

100094679   010228841   WALGREENS #06659        DSD       CLEVELAND       OH   44128     WALGREENS         BW7664130    3,200    5,300    6,500    6,200    7,400    3,500    5,350    32,100

100099927   018400200   WALGREENS #06329        DSD         WYLIE         TX   75098     WALGREENS         BW7664142   12,300   20,000   17,600   17,600   18,240   16,500   17,040   102,240

100100473   018402784   WALGREENS #06734        DSD         AUSTIN        TX   78727     WALGREENS         BW7664154    2,700   11,820   11,610   11,100   11,900    9,000    9,688    58,130

100101611   038109199   WALGREENS #06621        DSD       LAKEWOOD        CO   80232     WALGREENS         BW7669231    9,900   11,200    8,400   10,000   10,600    7,000    9,517    57,100

100097221   040119495   WALGREENS #06394        DSD        MARTINEZ       GA   30907     WALGREENS         BW7669243   12,400   10,500    8,600   11,000    7,500   12,000   10,333    62,000

100094963   055034306   WALGREENS #06315        DSD       HIGH POINT      NC   27262     WALGREENS         BW7669255   21,460   19,590   17,900   18,700   20,500   16,700   19,142   114,850

100097368   052221119   WALGREENS #06483        DSD       PHENIX CITY     AL   36867     WALGREENS         BW7671577   39,000   36,500   33,000   35,500   25,200   31,000   33,367   200,200
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100098076   049193433   WALGREENS #06830      DSD          FLINT         MI   48532    WALGREENS        BW7671589   48,900   55,700   53,700   54,700   45,400   36,600   49,167   295,000

100099595   037131508   WALGREENS #06849      DSD       MANDEVILLE       LA   70448    WALGREENS        BW7671591     600      940     9,460   16,200   18,600    9,600    9,233    55,400

100099376   021170456   WALGREENS #05146      DSD        COLUMBIA        MO   65203    WALGREENS        BW7672834     500     5,800    5,000    7,000    7,000    5,800    5,183    31,100

100109984   055044917   WAKEMED NORTH                     RALEIGH        NC   27614      HOSPITAL       BW7676755                       100               480               290       580

100096083   004098764   WALGREENS #06850      DSD      NEW BEDFORD       MA   02740    WALGREENS        BW7679713    5,700    6,500    4,100    5,200    7,100    4,500    5,517    33,100

100100320   038108589   WALGREENS #06583      DSD        BEAUMONT        TX   77706    WALGREENS        BW7685994    1,520    2,980   19,900   33,620   21,700   15,600   15,887    95,320

100102033   024120717   WALGREENS #06147      DSD         ONTARIO        CA   91761    WALGREENS        BW7686009   11,900   12,900   10,200   11,900   16,300    8,900   12,017    72,100

100102614   020162123   WALGREENS #06729      DSD       SCOTTSDALE       AZ   85262    WALGREENS        BW7686011    7,560    5,020    4,800    5,280    4,800    3,800    5,210    31,260

100102983   020163022   WALGREENS #06411      DSD       ORO VALLEY       AZ   85737    WALGREENS        BW7686023    8,000   12,000    7,900    8,500    9,300    8,000    8,950    53,700

100101902   024120220   WALGREENS #06347      DSD       NORTHRIDGE       CA   91324    WALGREENS        BW7686035    9,400   10,400    9,900   11,200   11,600    9,800   10,383    62,300

100102861   046053561   WALGREENS #06505      DSD        ORLANDO         FL   32811    WALGREENS        BW7688332     200      800    10,300   15,200   10,100   11,100    7,950    47,700

100095764   055037010   WALGREENS #06927      DSD         WILSON         NC   27893    WALGREENS        BW7697153   10,850    9,890   10,700    8,460   10,200    8,900    9,833    59,000

100098773   019174375   WALGREENS #06796      DSD       SOUTH ELGIN      IL   60177    WALGREENS        BW7697165   12,700   12,900   12,600   14,900   15,600    8,800   12,917    77,500

100097316   052220632   WALGREENS #06956      DSD       HUNTSVILLE       AL   35810    WALGREENS        BW7697177   19,000   18,000   19,300   21,400   17,900   17,600   18,867   113,200

100094469   041146225   WALGREENS #06319      DSD        BENSALEM        PA   19020    WALGREENS        BW7701039    5,700    7,200    5,700    6,000    6,000    5,500    6,017    36,100

100097500   052221655   WALGREENS #06993      DSD        MARYVILLE       TN   37801    WALGREENS        BW7703588   22,100   24,120   19,100   24,600   14,600   12,500   19,503   117,020

100098143   049193888   WALGREENS #06911      DSD         HOLLAND        MI   49424    WALGREENS        BW7703590   17,000   17,500   15,600   18,000   23,600   17,000   18,117   108,700

100099605   037131607   WALGREENS #05629      DSD        LAFAYETTE       LA   70506    WALGREENS        BW7703603     500      840    12,000   25,400   31,400   21,000   15,190    91,140

100102058   024120774   WALGREENS #06061      DSD         UPLAND         CA   91786    WALGREENS        BW7703615   34,500   31,160   33,660   33,400   36,900   26,800   32,737   196,420

100103114   008113704   WALGREENS #03849      DSD      SAN FRANCISCO     CA   94118    WALGREENS        BW7703627    8,500    8,000    8,200    8,300    9,000    5,000    7,833    47,000

100096286   041152660   WALGREENS #06174      DSD      WILLIAMSTOWN      NJ   08094    WALGREENS        BW7704857    9,030    9,800    8,900   10,600    9,500    6,200    9,005    54,030

100095453   041150045   WALGREENS #06367      DSD       PHILADELPHIA     PA   19134    WALGREENS        BW7709388    4,600    4,100    4,500    5,000    5,000    4,000    4,533    27,200

100099699   018398065   WALGREENS #06959      DSD         BENTON         AR   72015    WALGREENS        BW7710230   20,900   29,500   31,800   33,440   30,800   16,500   27,157   162,940

100097194   040119289   WALGREENS #06204      DSD         ATLANTA        GA   30350    WALGREENS        BW7710242    5,500    5,800    4,000    5,100    4,500    3,000    4,650    27,900

100098990   019177600   WALGREENS #05867      DSD         CHICAGO        IL   60632    WALGREENS        BW7710254    5,600    7,000    7,200    7,000    8,900    3,500    6,533    39,200

100099810   018399030   WALGREENS #06618      DSD      BARTLESVILLE      OK   74006    WALGREENS        BW7710266     100     7,800   23,600   26,500   23,200   22,500   17,283   103,700

100099852   018399451   WALGREENS #06973      DSD          TULSA         OK   74137    WALGREENS        BW7710278    1,100    4,700   16,600   14,100   19,500   12,000   11,333    68,000

100097566   044215988   WALGREENS #06858      DSD         MEMPHIS        TN   38115    WALGREENS        BW7711016   13,500   17,700   15,500   17,800   15,600   14,500   15,767    94,600

100099292   044218891   WALGREENS #06801      DSD      SAINT CHARLES     MO   63303    WALGREENS        BW7714125     100     7,800   12,700   15,300   14,700   13,200   10,633    63,800

100102568   012111559   WALGREENS #06187      DSD      GARDEN GROVE      CA   92845    WALGREENS        BW7716636   20,400   19,200   20,100   22,000   22,500   18,400   20,433   122,600

100097233   040119610   WALGREENS #06560      DSD         MACON          GA   31204    WALGREENS        BW7716648   22,120   23,640   20,500   21,620   27,540   25,500   23,487   140,920

100102013   024120642   WALGREENS #06640      DSD        GLENDORA        CA   91741    WALGREENS        BW7717424   15,700   18,000   14,700   18,200   16,600   14,000   16,200    97,200

100097539   044215715   WALGREENS #07038      DSD        CORDOVA         TN   38016    WALGREENS        BW7717448    4,500    5,700    6,500    5,000    5,500    4,500    5,283    31,700

100095718   010233122   WALGREENS #06682      DSD      WEST CHESTER      OH   45069    WALGREENS        BW7717563    7,100    8,600    8,100    7,530   10,300    6,500    8,022    48,130

100098046   049193136   WALGREENS #06636      DSD     STERLING HEIGHTS   MI   48312    WALGREENS        BW7717575   10,000    9,600    8,300   10,100    8,600    6,500    8,850    53,100

100102685   024121004   WALGREENS #06756      DSD       BAKERSFIELD      CA   93309    WALGREENS        BW7717587   19,500   21,900   19,100   21,700   21,900   16,600   20,117   120,700

100069230   056050302   WASHING SQRE PHCY INC(340B)     PHILADELPHIA     PA   19106   PHS 340B CLINIC   BW7723124     100                                                   100       100

100102623   046052381   WALGREENS #06811      DSD        CRESTVIEW       FL   32536    WALGREENS        BW7723150     200      200     7,300   15,900   16,200   23,000   10,467    62,800

100095206   023143958   WALGREENS #06160      DSD        NEW YORK        NY   10118    WALGREENS        BW7724126    1,000             1,600             1,100     500     1,050     4,200

100097409   044215277   WALGREENS #06910      DSD     MURFREESBORO       TN   37127    WALGREENS        BW7724164   19,800   17,200   19,100   19,600   22,800   15,500   19,000   114,000

100099944   018400374   WALGREENS #06660      DSD         DALLAS         TX   75206    WALGREENS        BW7724227   12,000   20,730   19,720   19,940   22,300   20,000   19,115   114,690

100100266   037132613   WALGREENS #06855      DSD       SUGAR LAND       TX   77498    WALGREENS        BW7724253     700     1,000   10,300   12,420   13,600    7,900    7,653    45,920

100102400   046051284   WALGREENS #06723      DSD        LADY LAKE       FL   32159    WALGREENS        BW7726017     600      400    12,700   14,700   10,200   11,200    8,300    49,800

100102407   046051318   WALGREENS #06293      DSD       CLEARWATER       FL   33764    WALGREENS        BW7726029     200      200     1,800   11,800    9,900    9,700    5,600    33,600
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100099435   021171041   WALGREENS #07060   DSD      MANHATTAN       KS   66502   WALGREENS   BW7729619    7,500    12,600   14,200    13,400   13,600    8,600   11,650    69,900

100103066   046054692   WALGREENS #06797   DSD      ROCKLEDGE       FL   32955   WALGREENS   BW7737399     (100)     300     3,200     7,700    8,300    5,500    4,150    24,900

100099375   021170449   WALGREENS #05145   DSD       COLUMBIA       MO   65203   WALGREENS   BW7737426    2,300    16,200   16,200    19,200   15,000   11,200   13,350    80,100

100097055   040117903   WALGREENS #06075   DSD     CHARLESTON       SC   29412   WALGREENS   BW7741209   22,840    23,420   20,630    24,860   16,500   19,100   21,225   127,350

100102730   024121145   WALGREENS #06017   DSD      LANCASTER       CA   93536   WALGREENS   BW7741211   24,400    22,000   18,500    22,100   22,800   17,400   21,200   127,200

100102713   024121079   WALGREENS #06287   DSD     SANTA MARIA      CA   93454   WALGREENS   BW7741223   32,700    39,300   33,930    40,300   32,000   31,600   34,972   209,830

100098034   049193011   WALGREENS #04797   DSD       DETROIT        MI   48207   WALGREENS   BW7741235    9,400    15,000   12,500    13,000   11,500    9,800   11,867    71,200

100100476   018402818   WALGREENS #06649   DSD        AUSTIN        TX   78732   WALGREENS   BW7741247    4,960    12,830   13,200    14,450   13,000    7,600   11,007    66,040

100095859   041151829   WALGREENS #05983   DSD      BURLINGTON      NJ   08016   WALGREENS   BW7742009    7,500     5,080    5,500     6,200    4,500    5,000    5,630    33,780

100095898   041151894   WALGREENS #05836   DSD      DEPTFORD        NJ   08096   WALGREENS   BW7744661    5,230     7,500    5,400     6,400    6,300    8,000    6,472    38,830

100095156   041149567   WALGREENS #06698   DSD      MIDLOTHIAN      VA   23112   WALGREENS   BW7749281   17,100    15,500   15,300    15,400   17,400   13,400   15,683    94,100

100102483   012111344   WALGREENS #05771   DSD   HUNTINGTON BEACH   CA   92647   WALGREENS   BW7749293   24,200    28,000   26,500    30,100   32,500   25,700   27,833   167,000

100094693   055033456   WALGREENS #06262   DSD       COLUMBIA       SC   29204   WALGREENS   BW7749306    8,530     9,400    9,200    10,500    9,800    6,700    9,022    54,130

100094437   041145979   WALGREENS #05408   DSD      BALTIMORE       MD   21213   WALGREENS   BW7750361    2,000     2,500    2,000     2,000    2,500    1,600    2,100    12,600

100097512   052221770   WALGREENS #06609   DSD      SEVIERVILLE     TN   37862   WALGREENS   BW7751591   31,120    34,840   32,100    34,000   28,300   26,600   31,160   186,960

100101726   008112466   WALGREENS #05863   DSD       EUREKA         CA   95503   WALGREENS   BW7751604   27,800    24,300   26,800    22,000   33,500   20,000   25,733   154,400

100099777   018398719   WALGREENS #06834   DSD    OKLAHOMA CITY     OK   73107   WALGREENS   BW7751616               100    12,540    15,000   16,000   10,500   10,828    54,140

100097797   019169136   WALGREENS #06778   DSD     INDIANAPOLIS     IN   46220   WALGREENS   BW7751806    8,100     5,400    8,200     8,000    8,400   10,000    8,017    48,100

100094707   010228924   WALGREENS #06981   DSD      COLUMBUS        OH   43204   WALGREENS   BW7751818   13,600    16,100   14,700    18,000   17,000   18,400   16,300    97,800

100102884   008113142   WALGREENS #06655   DSD     BURLINGAME       CA   94010   WALGREENS   BW7751820    4,800     5,440    5,020     4,400    5,700    3,600    4,827    28,960

100097413   044215319   WALGREENS #06693   DSD    MURFREESBORO      TN   37129   WALGREENS   BW7756793   17,200    18,400   18,030    18,400   21,000   11,500   17,422   104,530

100094628   041146399   WALGREENS #05461   DSD     CHESAPEAKE       VA   23322   WALGREENS   BW7756806    8,500     8,000    7,800     8,600    7,800    7,400    8,017    48,100

100101206   046044750   WALGREENS #06292   DSD    ST PETERSBURG     FL   33709   WALGREENS   BW7758759     200       100     1,600    16,800   16,100   16,200    8,500    51,000

100098442   019172726   WALGREENS #06935   DSD    STEVENS POINT     WI   54481   WALGREENS   BW7758761   16,200    15,300   14,900    14,300   11,800   13,000   14,250    85,500

100100130   038107136   WALGREENS #06643   DSD       HOUSTON        TX   77057   WALGREENS   BW7759460    3,780     8,800    8,830     8,440    6,760    2,200    6,468    38,810

100100081   018401745   WALGREENS #06695   DSD      SAN ANGELO      TX   76901   WALGREENS   BW7759472     200     21,800   32,000    38,500   20,000   16,500   21,500   129,000

100102631   046052423   WALGREENS #06578   DSD        DESTIN        FL   32541   WALGREENS   BW7763508               100     2,100     5,600    9,500    8,500    5,160    25,800

100095552   041150904   WALGREENS #06396   DSD      ROSEDALE        MD   21237   WALGREENS   BW7767277    5,800     5,040    6,530     6,100    8,000    6,300    6,295    37,770

100096230   041152579   WALGREENS #06321   DSD      TOMS RIVER      NJ   08753   WALGREENS   BW7770200    9,320     9,600    7,300     8,900    6,920    7,760    8,300    49,800

100099730   044219279   WALGREENS #06765   DSD      JONESBORO       AR   72401   WALGREENS   BW7772177   26,000    41,100   44,000    43,230   38,300   26,300   36,488   218,930

100100447   018402529   WALGREENS #06912   DSD     GEORGETOWN       TX   78628   WALGREENS   BW7772189    4,740    15,300   17,200    15,900   19,000    8,500   13,440    80,640

100094908   055033985   WALGREENS #06813   DSD     GREENSBORO       NC   27407   WALGREENS   BW7772191   10,000    13,640   10,920    13,240   11,000   10,000   11,467    68,800

100101762   012108746   WALGREENS #06251   DSD      TORRANCE        CA   90505   WALGREENS   BW7772204   12,900    12,500   11,600    11,600   10,000   14,800   12,233    73,400

100103498   008115683   WALGREENS #06613   DSD     SACRAMENTO       CA   95818   WALGREENS   BW7772230   18,700    17,900   15,400    18,700   15,200   12,600   16,417    98,500

100095003   023138859   WALGREENS #04564   DSD       JAMAICA        NY   11432   WALGREENS   BW7772254     400       800      (100)    1,000              700      560      2,800

100097165   040118992   WALGREENS #06372   DSD     FAYETTEVILLE     GA   30214   WALGREENS   BW7772266    7,600     6,600    6,100     5,720    5,500    5,000    6,087    36,520

100103005   046054338   WALGREENS #06218   DSD      CLERMONT        FL   34711   WALGREENS   BW7774284               100     4,500     6,200    6,600    3,100    4,100    20,500

100102016   017097022   WALGREENS #06971   DSD        BOISE         ID   83706   WALGREENS   BW7783980    9,500     8,100    7,500     9,500   11,100    4,000    8,283    49,700

100099085   019178558   WALGREENS #07069   DSD      ROCKFORD        IL   61108   WALGREENS   BW7784021   21,500    23,600   23,700    24,800   29,600   25,500   24,783   148,700

100098418   019172627   WALGREENS #06885   DSD   WISCONSIN DELLS    WI   53965   WALGREENS   BW7788550   19,400    23,000   20,300    20,100   21,200   11,500   19,250   115,500

100102302   046049742   WALGREENS #06192   DSD        TAMPA         FL   33634   WALGREENS   BW7792066     100       100      400      8,200    7,500    9,400    4,283    25,700

100101818   038109777   WALGREENS #06731   DSD   COLORADO SPRINGS   CO   80915   WALGREENS   BW7794995   12,900    12,700   13,300     9,500   15,800    7,100   11,883    71,300

100103444   008114827   WALGREENS #07079   DSD       SAN JOSE       CA   95125   WALGREENS   BW7795000    7,000     5,800    5,000     6,400    5,900    5,500    5,933    35,600

100101669   024119974   WALGREENS #06516   DSD     LOS ANGELES      CA   90036   WALGREENS   BW7802350    5,500     4,800    5,100     7,100    6,800    6,400    5,950    35,700
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100097123   040118588   WALGREENS #05901        DSD      SMYRNA        GA   30080     WALGREENS         BW7802362    5,300    5,600    6,100    5,000    4,700    5,100    5,300    31,800

100103571   032149492   WALGREENS #06357        DSD      ISSAQUAH      WA   98029     WALGREENS         BW7805267   17,300   18,730   18,060   19,000   18,700   13,400   17,532   105,190

100097514   052221796   WALGREENS #07048        DSD    PIGEON FORGE    TN   37863     WALGREENS         BW7809847   15,300   16,180   12,700   13,600   14,200   10,500   13,747    82,480

100099662   018397760   WALGREENS #07004        DSD    BOSSIER CITY    LA   71111     WALGREENS         BW7814026    1,000   20,220   23,200   25,600   20,800   24,000   19,137   114,820

100101628   008112433   WALGREENS #05295        DSD       RENO         NV   89501     WALGREENS         BW7814038   32,300   34,500   32,500   34,800   26,000   26,700   31,133   186,800

100098100   049193672   WALGREENS #06369        DSD      LANSING       MI   48910     WALGREENS         BW7814040   43,200   46,370   45,500   49,700   39,000   25,800   41,595   249,570

100061230   021300566   WAMEGO CITY HOSPITAL             WAMEGO        KS   66547       HOSPITAL        BW7818795     100                        150      320      420      248       990

100103271   020163774   WALGREENS #06346        DSD      SANTA FE      NM   87505     WALGREENS         BW7820930   18,600   19,000   17,300   16,690   21,500   14,200   17,882   107,290

100100305   037132688   WALGREENS #06584        DSD     PEARLAND       TX   77584     WALGREENS         BW7822605     620      900    10,200   15,500   12,700   10,300    8,370    50,220

100100444   018402495   WALGREENS #07061        DSD     CEDAR PARK     TX   78613     WALGREENS         BW7822617    4,100   18,670   16,460   13,860   15,400    8,500   12,832    76,990

100100002   018400952   WALGREENS #06876        DSD     ARLINGTON      TX   76012     WALGREENS         BW7822629    3,200   16,260   14,860   15,600   11,800    7,000   11,453    68,720

100103023   020163113   WALGREENS #07041        DSD      TUCSON        AZ   85747     WALGREENS         BW7822631    9,330   11,930   10,500    9,500   13,300    6,600   10,193    61,160

100099953   018400465   WALGREENS #06891        DSD       DALLAS       TX   75218     WALGREENS         BW7825815    9,600   15,500   13,100   12,000   18,400    8,500   12,850    77,100

100094444   041146092   WALGREENS #06320        DSD     BALTIMORE      MD   21244     WALGREENS         BW7829572    2,820    3,780    3,300    3,800    4,200    2,000    3,317    19,900

100102108   046047795   WALGREENS #05078        DSD    LAKE WORTH      FL   33467     WALGREENS         BW7832769     200              1,730    4,260    4,260    4,200    2,930    14,650

100101515   038108837   WALGREENS #06514        DSD    CASTLE ROCK     CO   80108     WALGREENS         BW7832783    9,100   10,400    9,800   10,900   11,000    9,500   10,117    60,700

100100290   038108324   WALGREENS #07020        DSD    FRIENDSWOOD     TX   77546     WALGREENS         BW7834408     740      120    11,500   15,600    9,600    9,500    7,843    47,060

100099997   018400903   WALGREENS #06998        DSD     ARLINGTON      TX   76002     WALGREENS         BW7834410    4,420   19,000   15,900   15,200   14,800    9,300   13,103    78,620

100099472   021171272   WALGREENS #07148        DSD    HUTCHINSON      KS   67502     WALGREENS         BW7834422   14,300   18,300   17,300   19,600   25,700   15,000   18,367   110,200

100101817   012108886   WALGREENS #06680        DSD    BELLFLOWER      CA   90706     WALGREENS         BW7834434   35,700   36,600   26,800   29,800   27,700   21,900   29,750   178,500

100103595   032149732   WALGREENS #06389        DSD      SEATTLE       WA   98117     WALGREENS         BW7839814    4,100    4,100    5,500    4,500    5,400    3,000    4,433    26,600

100102617   024120907   WALGREENS #06289        DSD      GOLETA        CA   93117     WALGREENS         BW7840778   14,800   17,000   15,400   13,100   17,500    9,700   14,583    87,500

100097220   040119487   WALGREENS #06632        DSD      AUGUSTA       GA   30906     WALGREENS         BW7840792   19,400   20,400   19,200   23,100   19,800   19,500   20,233   121,400

100104807   040120485   WALGREENS #06632 PHS 340B        AUGUSTA       GA   30906    PHS 340B CLINIC    BW7840792              200               500                        350       700

100102709   024121061   WALGREENS #06290        DSD      LOMPOC        CA   93436     WALGREENS         BW7840805   37,700   40,300   39,500   34,600   30,300   35,300   36,283   217,700

100101798   032148213   WALGREENS #06422        DSD     SILVERDALE     WA   98383     WALGREENS         BW7842253   13,600   14,500   13,600   12,830   15,800    8,600   13,155    78,930

100098435   025089516   WALGREENS #06569        DSD     GREEN BAY      WI   54313     WALGREENS         BW7844978   12,400   11,700   12,470   12,800   16,200    6,500   12,012    72,070

100101503   038108779   WALGREENS #06467        DSD      SUPERIOR      CO   80027     WALGREENS         BW7844980    5,500    3,600    5,500    5,100    6,300    3,200    4,867    29,200

100101619   038109215   WALGREENS #06345        DSD    BROOMFIELD      CO   80234     WALGREENS         BW7845007    5,700    6,400    5,400    7,400    6,900    4,300    6,017    36,100

100103171   046055285   WALGREENS #06512        DSD      MIRAMAR       FL   33023     WALGREENS         BW7845021     100      200     2,700    3,300    4,400    3,200    2,317    13,900

100097285   052220327   WALGREENS #06977        DSD     BIRMINGHAM     AL   35210     WALGREENS         BW7845033   21,600   22,300   20,700   22,600   12,300   19,600   19,850   119,100

100052816   012097725   WELCOME PHARMACY                 ARTESIA       CA   90701     INDEPENDENT       BW7846960     600      500     1,000     800      500               680      3,400

100101886   024120188   WALGREENS #05848        DSD    CANOGA PARK     CA   91306     WALGREENS         BW7849790    8,400    8,900    8,900    9,000    9,600    7,700    8,750    52,500

100103491   008115337   WALGREENS #06036        DSD    GRANITE BAY     CA   95746     WALGREENS         BW7849803   21,700   21,200   21,260   19,900   17,900   16,000   19,660   117,960

100095396   023145615   WALGREENS #06334        DSD   NORTH BELLMORE   NY   11710     WALGREENS         BW7852557    3,600    3,300    5,100    4,000    5,300    3,200    4,083    24,500

100102395   046051250   WALGREENS #06608        DSD    CLEARWATER      FL   33760     WALGREENS         BW7852569     330      150     2,200   14,730   15,400   10,500    7,218    43,310

100096065   023146761   WALGREENS #06503        DSD      MILFORD       CT   06460     WALGREENS         BW7859551    4,800    4,900    3,900    5,100    3,600    3,800    4,350    26,100

100103716   046056028   WALGREENS #06913        DSD     FORT MYERS     FL   33908     WALGREENS         BW7859929                      2,700    4,500    6,500    5,600    4,825    19,300

100103531   032149104   WALGREENS #06831        DSD     HILLSBORO      OR   97124     WALGREENS         BW7860693   10,500   12,100   12,500   10,900   12,600    7,200   10,967    65,800

100105601   032152165   WALGREENS #06831 340B           HILLSBORO      OR   97124   PHS 340B HOSPITAL   BW7860693              100                                          100       100

100102738   024121160   WALGREENS #06976        DSD     PALMDALE       CA   93552     WALGREENS         BW7861619   30,200   32,100   33,230   34,400   35,900   43,100   34,822   208,930

100101745   024120030   WALGREENS #05526        DSD    SANTA MONICA    CA   90403     WALGREENS         BW7861657    8,700   10,600    9,600    7,200   10,800    7,300    9,033    54,200

100101814   008112508   WALGREENS #06722        DSD     SANTA ROSA     CA   95409     WALGREENS         BW7861669   38,400   38,300   37,000   42,100   44,800   25,600   37,700   226,200

100102641   008112763   WALGREENS #06298        DSD       TULARE       CA   93274     WALGREENS         BW7861671   18,300   18,100   17,800   17,700   20,800   23,300   19,333   116,000
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100105644   008116301   WALGREENS #06298 340B              TULARE          CA   93274   PHS 340B CLINIC   BW7861671     500                                                   500       500

100098162   049194001   WALGREENS #07140        DSD      GRAND RAPIDS      MI   49525    WALGREENS        BW7861695   24,700   24,000   26,000   25,700   26,000   16,700   23,850   143,100

100094820   010229369   WALGREENS #06990        DSD       FAIRBORN         OH   45324    WALGREENS        BW7861708   15,100   17,100   12,700   15,400   17,700   11,100   14,850    89,100

100097589   018397554   WALGREENS #05318        DSD        MEMPHIS         TN   38134    WALGREENS        BW7861710    8,500    9,900    7,500    7,200    9,100    7,500    8,283    49,700

100097598   044216267   WALGREENS #06963        DSD         PARIS          TN   38242    WALGREENS        BW7861722   52,800   36,800   57,400   60,600   40,400   58,000   51,000   306,000

100098849   019175190   WALGREENS #06377        DSD       PALOS PARK       IL   60464    WALGREENS        BW7863942    8,130    9,700    9,550   10,530   12,900    3,300    9,018    54,110

100097332   052220798   WALGREENS #06843        DSD      MONTGOMERY        AL   36116    WALGREENS        BW7863966   17,200   14,700   15,700   16,100   13,000   14,600   15,217    91,300

100102536   012111476   WALGREENS #06726        DSD        ANAHEIM         CA   92801    WALGREENS        BW7863992   22,900   21,000   19,500   21,800   22,000   20,100   21,217   127,300

100102303   012110833   WALGREENS #05556        DSD        HESPERIA        CA   92345    WALGREENS        BW7864007   58,100   58,900   57,600   58,400   57,200   25,300   52,583   315,500

100102319   012110908   WALGREENS #05506        DSD         RIALTO         CA   92376    WALGREENS        BW7864019   14,400   15,300   14,800   16,900   11,400   17,200   15,000    90,000

100101830   038109819   WALGREENS #06827        DSD        DENVER          CO   80219    WALGREENS        BW7864021   11,000   11,500    9,300   10,600   11,600    8,100   10,350    62,100

100095940   004097006   WALGREENS #06226        DSD       FAIRHAVEN        MA   02719    WALGREENS        BW7864045    5,160    5,320    4,590    5,330    5,400    3,360    4,860    29,160

100098069   049193367   WALGREENS #07065        DSD        FENTON          MI   48430    WALGREENS        BW7865162   31,000   27,000   29,000   31,200   30,200   25,600   29,000   174,000

100098024   049192914   WALGREENS #06546        DSD        TAYLOR          MI   48180    WALGREENS        BW7865174   22,200   22,000   27,100   25,600   21,200   11,000   21,517   129,100

100102647   046052514   WALGREENS #06978        DSD       NICEVILLE        FL   32578    WALGREENS        BW7870618     600      700     3,100    6,600    8,500    6,000    4,250    25,500

100101512   038108811   WALGREENS #06987        DSD      CASTLE ROCK       CO   80104    WALGREENS        BW7871052   10,260   12,400   11,660   13,400   10,700    8,000   11,070    66,420

100103577   032149559   WALGREENS #06720        DSD       LYNNWOOD         WA   98037    WALGREENS        BW7874591   13,130   10,430   12,660   13,060   14,300    6,500   11,680    70,080

100097269   052220160   WALGREENS #06955        DSD       HUEYTOWN         AL   35023    WALGREENS        BW7879945   34,300   35,700   40,000   34,220   24,500   26,300   32,503   195,020

100095404   055036244   WALGREENS #06687        DSD   NORTH MYRTLE BEACH   SC   29582    WALGREENS        BW7879957    7,600    6,000    4,700    5,800    8,000    4,600    6,117    36,700

100102015   046047506   WALGREENS #05795        DSD     BOYNTON BEACH      FL   33437    WALGREENS        BW7883754     100      300     4,900    5,890    9,730    5,200    4,353    26,120

100095980   041152108   WALGREENS #05111        DSD         HAZLET         NJ   07730    WALGREENS        BW7884275    5,530    5,160    6,690    4,860    6,300    4,260    5,467    32,800

100096140   004099150   WALGREENS #07086        DSD       PLAINVILLE       CT   06062    WALGREENS        BW7891383    5,200    6,800    6,100    5,400    7,200    3,800    5,750    34,500

100099767   018398610   WALGREENS #07222        DSD        MUSTANG         OK   73064    WALGREENS        BW7891395             1,500   19,000   23,000   20,700   23,600   17,560    87,800

100097544   044215764   WALGREENS #06242        DSD        CORDOVA         TN   38018    WALGREENS        BW7891408    7,220    5,920    6,200    7,100    6,200    4,600    6,207    37,240

100102239   012110551   WALGREENS #06856        DSD       EL CENTRO        CA   92243    WALGREENS        BW7891410   17,300   17,530   19,100   18,500   20,700   10,200   17,222   103,330

100099431   021171009   WALGREENS #06920        DSD     OVERLAND PARK      KS   66223    WALGREENS        BW7891422    2,600    9,100    9,600    9,660   11,000    6,200    8,027    48,160

100097914   019170308   WALGREENS #06944        DSD        KOKOMO          IN   46902    WALGREENS        BW7891434   20,400   20,820   21,280   23,300   20,900   19,500   21,033   126,200

100094370   055032813   WALGREENS #07096        DSD       ABERDEEN         NC   28315    WALGREENS        BW7891446   10,560   11,380   11,050   13,930   13,500    6,000   11,070    66,420

100101838   017096644   WALGREENS #06961        DSD      TAYLORSVILLE      UT   84123    WALGREENS        BW7891458   22,800   18,900   19,700   17,200   17,200   14,500   18,383   110,300

100102805   020162586   WALGREENS #06806        DSD        SURPRISE        AZ   85374    WALGREENS        BW7891460   14,800   17,400   16,200   15,200   14,200   15,900   15,617    93,700

100097623   044216440   WALGREENS #07130        DSD      OLIVE BRANCH      MS   38654    WALGREENS        BW7891472   14,700   16,580   17,430   17,300   12,400   12,500   15,152    90,910

100099812   018399055   WALGREENS #06839        DSD         BIXBY          OK   74008    WALGREENS        BW7891484     300     8,000   25,500   24,400   26,600   12,700   16,250    97,500

100099912   018400051   WALGREENS #07195        DSD       MCKINNEY         TX   75071    WALGREENS        BW7891496    9,800   14,300   13,900   12,820   11,800    8,500   11,853    71,120

100100124   037132225   WALGREENS #07213        DSD        HOUSTON         TX   77053    WALGREENS        BW7891509             1,200    9,100   12,500    8,200    5,500    7,300    36,500

100102459   046051607   WALGREENS #06786        DSD     PINELLAS PARK      FL   33781    WALGREENS        BW7891511              100     1,500   14,000   19,600   12,500    9,540    47,700

100099453   021171181   WALGREENS #07152        DSD        NEWTON          KS   67114    WALGREENS        BW7893034   16,800   21,600   26,700   30,600   29,100   24,000   24,800   148,800

100094431   010228197   WALGREENS #06589        DSD      AUSTINTOWN        OH   44515    WALGREENS        BW7893046   18,360   18,600   19,500   20,500   17,200   19,700   18,977   113,860

100095386   010232389   WALGREENS #06888        DSD         NILES          OH   44446    WALGREENS        BW7893058   25,200   24,770   24,000   26,520   33,600   22,300   26,065   156,390

100099902   018399956   WALGREENS #04719        DSD      THE COLONY        TX   75056    WALGREENS        BW7898034    9,100   13,580   13,200   14,000    9,800    8,000   11,280    67,680

100096257   004100321   WALGREENS #06966        DSD       WATERBURY        CT   06705    WALGREENS        BW7900093    5,800    6,200    6,300    8,100    8,700    3,600    6,450    38,700

100097584   044216168   WALGREENS #07059        DSD        MEMPHIS         TN   38128    WALGREENS        BW7905081    9,500   11,400   11,400   11,300    9,300    6,700    9,933    59,600

100102057   017097220   WALGREENS #06281        DSD        DRAPER          UT   84020    WALGREENS        BW7905093   19,100   16,730   17,200   18,200   20,300   11,000   17,088   102,530

100097060   040117952   WALGREENS #07156        DSD    MOUNT PLEASANT      SC   29464    WALGREENS        BW7905106    4,300    4,600    4,000    5,000    4,700    5,100    4,617    27,700

100100154   037132282   WALGREENS #07071        DSD        HOUSTON         TX   77072    WALGREENS        BW7905120     200     1,040    6,900    9,900    8,300    3,540    4,980    29,880
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100103294   020163923   WALGREENS #06543        DSD       EL PASO       TX   79924     WALGREENS         BW7905132    5,100    20,700    15,300   17,300   13,100    6,000   12,917    77,500

100102745   020162438   WALGREENS #07026        DSD      EL MIRAGE      AZ   85335     WALGREENS         BW7905144   10,600    11,700    10,800   11,700   13,300   11,500   11,600    69,600

100098139   049193847   WALGREENS #07160        DSD     GRANDVILLE      MI   49418     WALGREENS         BW7905182   14,500    15,700    15,600   15,700   22,300   18,000   16,967   101,800

100097371   044214908   WALGREENS #07076        DSD       ANTIOCH       TN   37013     WALGREENS         BW7905194   10,100     8,100     9,300   10,100   11,500   10,000    9,850    59,100

100103278   008114124   WALGREENS #06502        DSD      HAYWARD        CA   94541     WALGREENS         BW7905207   17,100    16,100    16,000   18,000   18,800   17,200   17,200   103,200

100101670   046046474   WALGREENS #05742        DSD        MIAMI        FL   33175     WALGREENS         BW7908138                        1,100    1,000    1,100    1,000    1,050     4,200

100099496   021171512   WALGREENS #05741        DSD       OMAHA         NE   68131     WALGREENS         BW7920362    9,700     9,300     8,100   11,100   11,700    8,000    9,650    57,900

100102955   008113324   WALGREENS #07080        DSD     SUNNYVALE       CA   94087     WALGREENS         BW7920374    7,700     8,400     8,400    8,500   12,200    7,100    8,717    52,300

100103269   008114090   WALGREENS #04517        DSD      FREMONT        CA   94538     WALGREENS         BW7920398   40,190    56,800    44,510   44,100   52,400   22,200   43,367   260,200

100101645   024119917   WALGREENS #06931        DSD     LOS ANGELES     CA   90025     WALGREENS         BW7920401    6,330     6,830     7,130    7,030   10,100    5,900    7,220    43,320

100094446   041146118   WALGREENS #06779        DSD      BALTIMORE      MD   21234     WALGREENS         BW7920413   18,540    18,750    18,760   18,060   17,500   16,700   18,052   108,310

100100225   038107961   WALGREENS #06782        DSD       CONROE        TX   77385     WALGREENS         BW7921047     (100)     100     10,700   15,500   15,100   10,500    8,633    51,800

100101213   046044826   WALGREENS #07028        DSD     CAPE CORAL      FL   33990     WALGREENS         BW7921059     300       200      4,300    8,330    8,500    9,000    5,105    30,630

100102691   046052720   WALGREENS #06775        DSD       NAPLES        FL   34119     WALGREENS         BW7921061               300      3,200    6,400    6,500    5,500    4,380    21,900

100097164   040118984   WALGREENS #06371        DSD     FAYETTEVILLE    GA   30214     WALGREENS         BW7921073    8,000     9,000     8,300    8,100    6,400    7,600    7,900    47,400

100103037   046054528   WALGREENS #06568        DSD      KISSIMMEE      FL   34744     WALGREENS         BW7924954               (100)    5,500    7,400    6,600    3,700    4,620    23,100

100101482   046045625   WALGREENS #06772        DSD   COCONUT CREEK     FL   33073     WALGREENS         BW7934335     700       300      5,200    6,000    8,000    5,000    4,200    25,200

100094860   023138669   WALGREENS #07057        DSD   FRANKLIN SQUARE   NY   11010     WALGREENS         BW7935503    5,000     6,500     3,800    4,600    5,600    6,400    5,317    31,900

100096173   023147009   WALGREENS #06620        DSD       ROSELLE       NJ   07203     WALGREENS         BW7935515    2,600     2,000     2,300    2,700    2,300    1,600    2,250    13,500

100098852   019175281   WALGREENS #06439        DSD     ORLAND PARK     IL   60467     WALGREENS         BW7936997   11,200    11,300    12,000   11,200   13,300    9,300   11,383    68,300

100107644   019185496   WALGREENS #06439 340B           ORLAND PARK     IL   60467   PHS 340B HOSPITAL   BW7936997                                  100                        100       100

100100478   018402834   WALGREENS #07023        DSD      LAKEWAY        TX   78738     WALGREENS         BW7937002    5,700    14,360    14,930   14,430   17,400   13,400   13,370    80,220

100097117   040118521   WALGREENS #05447        DSD      MARIETTA       GA   30066     WALGREENS         BW7949057    5,500     5,100     5,500    5,500    8,000    2,600    5,367    32,200

100101709   020160176   WALGREENS #05750        DSD       TUCSON        AZ   85748     WALGREENS         BW7949069    6,800     6,900     7,200    6,800    7,900    4,100    6,617    39,700

100103065   046054684   WALGREENS #07074        DSD      KISSIMMEE      FL   34747     WALGREENS         BW7951773               100      2,100    1,100    1,100    1,500    1,180     5,900

100103622   032150730   WALGREENS #06260        DSD     EDGEWOOD        WA   98371     WALGREENS         BW7952270   10,600    10,300    10,600   11,600   11,500    8,400   10,500    63,000

100102540   012111484   WALGREENS #06954        DSD       ANAHEIM       CA   92804     WALGREENS         BW7952282   31,700    33,400    31,500   32,700   37,100   23,700   31,683   190,100

100095835   041151761   WALGREENS #06957        DSD    BOUND BROOK      NJ   08805     WALGREENS         BW7959008    2,500     2,100     2,500    1,900    3,000    1,500    2,250    13,500

100103609   032149872   WALGREENS #07131        DSD     ANACORTES       WA   98221     WALGREENS         BW7968918   12,200    13,700    14,100   13,200   15,100    7,000   12,550    75,300

100097047   038107839   WALGREENS #06932        DSD       PORTER        TX   77365     WALGREENS         BW7968920    4,100     1,700    25,300   42,300   33,200   10,300   19,483   116,900

100098530   025090126   WALGREENS #06730        DSD       HOPKINS       MN   55305     WALGREENS         BW7975305    9,600    10,400    10,900   11,500   12,400    4,300    9,850    59,100

100100244   038108100   WALGREENS #07019        DSD        KATY         TX   77449     WALGREENS         BW7975317     540      1,000     8,400   13,500   11,200    6,900    6,923    41,540

100103591   032149690   WALGREENS #06259        DSD       SEATTLE       WA   98106     WALGREENS         BW7995989    8,200    10,900     9,800   10,100   12,200    6,600    9,633    57,800

100087149   003091066   WALGREENS #00509                  CAGUAS        PR   00725     WALGREENS         BW7995991                         500                                 500       500

100095393   041149849   WALGREENS #06837        DSD     NORRISTOWN      PA   19403     WALGREENS         BW7996018    6,040     7,100     5,600    5,900    7,000    5,300    6,157    36,940

100099977   018400705   WALGREENS #07242        DSD        PARIS        TX   75460     WALGREENS         BW7996020   11,700    16,500    17,000   16,700   14,800   18,500   15,867    95,200

100094831   055033787   WALGREENS #07153        DSD     FAYETTEVILLE    NC   28306     WALGREENS         BW7998339    9,460    10,300     9,400    8,200   12,700    8,600    9,777    58,660

100102204   020161174   WALGREENS #07018        DSD       PHOENIX       AZ   85014     WALGREENS         BW8002735    8,200     8,300     8,400    8,220   13,300    6,200    8,770    52,620

100102169   012109280   WALGREENS #06094        DSD      SAN DIEGO      CA   92110     WALGREENS         BW8002759   19,700    20,300    19,600   20,400   19,500   11,400   18,483   110,900

100103351   020164277   WALGREENS #06615        DSD     HENDERSON       NV   89052     WALGREENS         BW8002761   14,600    15,300    13,200   13,600   18,000    9,500   14,033    84,200

100090309   010224998   WEST CENTRAL OH GROUP, LTD          LIMA        OH   45804       HOSPITAL        BW8011520     600       200      1,700              200      300      600      3,000

100101773   046046771   WALGREENS #06210        DSD     GULF BREEZE     FL   32563     WALGREENS         BW8012940     300       400      6,600    9,900   12,000   27,000    9,367    56,200

100098270   019171140   WALGREENS #07143        DSD   MENOMONEE FALLS   WI   53051     WALGREENS         BW8012952    8,600     8,700     9,500    7,000   11,400    4,500    8,283    49,700

100103574   032149526   WALGREENS #06258        DSD      KIRKLAND       WA   98034     WALGREENS         BW8012964   10,400    10,300    10,100   10,300    8,700   10,800   10,100    60,600
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100097509   052221747   WALGREENS #07320        DSD        POWELL          TN   37849    WALGREENS        BW8012976   14,400   16,800   14,500    16,800   16,600   13,200   15,383    92,300

100098037   049193045   *WALGREENS #06708       DSD        DETROIT         MI   48227    WALGREENS        BW8012988   16,800   11,100   (5,500)                               7,467    22,400

100094618   055033282   WALGREENS #06480        DSD      CHARLOTTE         NC   28262    WALGREENS        BW8013005    9,400    9,000    9,800     9,460   11,600    9,400    9,777    58,660

100103354   020164285   WALGREENS #07032        DSD      HENDERSON         NV   89052    WALGREENS        BW8013586   20,770   18,960   18,000    20,700   22,100   10,100   18,438   110,630

100100307   038108456   WALGREENS #07103        DSD       SEABROOK         TX   77586    WALGREENS        BW8021622     200      300     7,100     8,100    7,500    7,500    5,117    30,700

100094656   010228684   WALGREENS #06787        DSD       CINCINNATI       OH   45239    WALGREENS        BW8021646   11,300   13,900   11,030    13,330   17,600   13,030   13,365    80,190

100099627   037131839   WALGREENS #07197        DSD      MOSS BLUFF        LA   70611    WALGREENS        BW8021658     620     2,300   20,500    33,000   34,700   25,200   19,387   116,320

100102458   012111286   WALGREENS #06127        DSD        MENIFEE         CA   92584    WALGREENS        BW8021660   51,500   55,800   51,300    68,000   56,300   36,600   53,250   319,500

100101834   032148239   WALGREENS #06863        DSD     COEUR D ALENE      ID   83814    WALGREENS        BW8021672   46,300   53,300   46,900    49,600   39,900   37,000   45,500   273,000

100089088   032142646   WALGREEN'S 6863 340B            COEUR D'ALENE      ID   83814   PHS 340B CLINIC   BW8021672     500     2,000    1,000     1,500     500     1,000    1,083     6,500

100102835   008113027   WALGREENS #06942        DSD        FRESNO          CA   93722    WALGREENS        BW8027941   23,600   26,200   23,100    27,900   20,100   20,100   23,500   141,000

100097171   040119057   WALGREENS #06897        DSD       LAKE CITY        GA   30260    WALGREENS        BW8027953    7,600    8,000    8,600     7,000    5,700    7,600    7,417    44,500

100100011   018401042   WALGREENS #07299        DSD       BEDFORD          TX   76021    WALGREENS        BW8031192    4,090   22,020   19,980    20,650   18,100   12,700   16,257    97,540

100095686   041151266   WALGREENS #07133        DSD     VIRGINIA BEACH     VA   23455    WALGREENS        BW8031205    5,800    7,500    5,100     6,000    6,700    3,300    5,733    34,400

100067706   049175810   WILCOX PHARMACY,        CPA      DIMONDALE         MI   48821    INDEPENDENT      BW8035594    5,100   13,200    7,200    16,800   12,500    9,500   10,717    64,300

100095654   055036798   WALGREENS #07280        DSD      THOMASVILLE       NC   27360    WALGREENS        BW8038425   26,800   27,300   22,400    26,000   28,100   21,700   25,383   152,300

100103003   020163063   WALGREENS #07232        DSD        TUCSON          AZ   85743    WALGREENS        BW8038437    8,200    7,960    8,800     9,000    8,400    6,000    8,060    48,360

100094830   055033779   WALGREENS #06548        DSD     FAYETTEVILLE       NC   28303    WALGREENS        BW8038449    6,240    4,600    4,700     5,600    4,400    5,200    5,123    30,740

100097988   049192559   WALGREENS #06529        DSD   SAINT CLAIR SHORES   MI   48081    WALGREENS        BW8038463   20,630   21,400   30,840    37,020   25,900   21,500   26,215   157,290

100098304   019171488   WALGREENS #07259        DSD      NEW BERLIN        WI   53151    WALGREENS        BW8038590   17,000   20,420   17,100    19,000   21,200   13,200   17,987   107,920

100097120   040118554   WALGREENS #06875        DSD       ROSWELL          GA   30076    WALGREENS        BW8045468    3,100    4,100    3,500     3,100    3,100    2,000    3,150    18,900

100111131   032001962   WEST VALLEY HOSPITAL PHCY          DALLAS          OR   97338      HOSPITAL       BW8050368                                         1,000    1,300    1,150     2,300

100103532   032149112   WALGREENS #07120        DSD      MCMINNVILLE       OR   97128    WALGREENS        BW8050837   18,100   16,600   15,600    17,100   15,600    9,300   15,383    92,300

100103533   032149120   WALGREENS #06664        DSD       NEWBERG          OR   97132    WALGREENS        BW8050849   13,000   12,100   12,000    13,500   15,300    9,600   12,583    75,500

100101846   017096651   WALGREENS #07052        DSD     SAINT GEORGE       UT   84770    WALGREENS        BW8051396   25,830   28,660   28,300    30,300   28,200   29,800   28,515   171,090

100097597   044216259   WALGREENS #15928        DSD        MEMPHIS         TN   38141    WALGREENS        BW8051409    8,600    9,000    8,000     8,100    9,100    7,000    8,300    49,800

100098094   049193615   WALGREENS #07247        DSD    MOUNT PLEASANT      MI   48858    WALGREENS        BW8051411   24,100   30,100   23,300    25,800   26,800   18,100   24,700   148,200

100106811   049195180   WALGREENS #07247 340B          MOUNT PLEASANT      MI   48858   PHS 340B CLINIC   BW8051411                       500       500                        500      1,000

100102332   046049890   WALGREENS #06928        DSD     ORANGE PARK        FL   32073    WALGREENS        BW8051423              100     3,300     5,100    6,800    4,000    3,860    19,300

100102688   046052712   WALGREENS #06922        DSD   ALTAMONTE SPRINGS    FL   32701    WALGREENS        BW8051651     200     2,300   13,000    17,100   14,400   12,300    9,883    59,300

100099853   018399469   WALGREENS #07135        DSD         TULSA          OK   74137    WALGREENS        BW8056360      -      3,760   12,660    11,120   13,600    9,500    8,440    50,640

100097252   040119776   WALGREENS #06899        DSD       VALDOSTA         GA   31602    WALGREENS        BW8056372              800    12,100     9,000   12,500   22,000   11,280    56,400

100098053   049193201   WALGREENS #06459        DSD      WATERFORD         MI   48328    WALGREENS        BW8056384   16,900   16,000   17,000    17,300   15,300    7,000   14,917    89,500

100098514   025089961   WALGREENS #06995        DSD       SAINT PAUL       MN   55119    WALGREENS        BW8056396    8,100    8,300    8,500     8,500    6,500    5,000    7,483    44,900

100095488   010232678   WALGREENS #06116        DSD        POWELL          OH   43065    WALGREENS        BW8056409    2,930    3,200    3,130     2,900    3,000    1,800    2,827    16,960

100101872   017096669   WALGREENS #07276        DSD       CALDWELL         ID   83605    WALGREENS        BW8060319   28,200   30,800   27,500    27,100   28,500   20,500   27,100   162,600

100097313   052220608   WALGREENS #06979        DSD      HUNTSVILLE        AL   35802    WALGREENS        BW8061208   14,230   14,500   13,610    13,700   11,900   11,000   13,157    78,940

100097286   052220335   WALGREENS #07245        DSD      BIRMINGHAM        AL   35211    WALGREENS        BW8061210   39,800   40,100   35,200    42,300   35,300   29,700   37,067   222,400

100097902   019170183   WALGREENS #05344        DSD      FORT WAYNE        IN   46814    WALGREENS        BW8061222    9,800   10,800    8,200     9,100    9,500    6,200    8,933    53,600

100096038   004098442   WALGREENS #06654        DSD      MANCHESTER        CT   06042    WALGREENS        BW8062919    5,300    6,270    6,200     6,500    7,300    4,400    5,995    35,970

100102490   046051748   WALGREENS #05855        DSD       LAKELAND         FL   33809    WALGREENS        BW8062921     400     1,000    2,400    15,200   13,100    7,500    6,600    39,600

100101506   038108795   WALGREENS #07006        DSD       LOUISVILLE       CO   80027    WALGREENS        BW8065422    5,400    5,400    6,300     4,400    5,700    2,900    5,017    30,100

100102210   046049460   WALGREENS #07010        DSD        VALRICO         FL   33594    WALGREENS        BW8065434              200     3,900    15,400   11,500   14,500    9,100    45,500

100099616   037131722   WALGREENS #07166        DSD      NEW IBERIA        LA   70563    WALGREENS        BW8066373              600    17,500    28,000   29,200   22,500   19,560    97,800
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100102499   012111377   WALGREENS #06975        DSD    LAGUNA NIGUEL   CA   92677    WALGREENS        BW8070358    8,600    7,900     8,100    8,500    8,300    8,400    8,300    49,800

100097234   040119628   WALGREENS #06780        DSD       MACON        GA   31206    WALGREENS        BW8070360   17,500   17,400    16,700   18,020   11,400   12,000   15,503    93,020

100101928   017096693   WALGREENS #07277        DSD      TWIN FALLS    ID   83301    WALGREENS        BW8070372   19,500   18,600    18,500   20,000   14,000   11,000   16,933   101,600

100094888   041147058   WALGREENS #07114        DSD     GLEN ALLEN     VA   23059    WALGREENS        BW8071235    5,100    4,230     4,600    6,730    4,200    4,500    4,893    29,360

100095865   023146332   WALGREENS #06862        DSD      CARLSTADT     NJ   07072    WALGREENS        BW8071259    5,700    5,700     4,910    5,400    6,400    4,600    5,452    32,710

100101714   008112458   WALGREENS #05781        DSD       REDDING      CA   96001    WALGREENS        BW8079471   25,800   29,200    27,800   30,000   26,500   25,300   27,433   164,600

100087125   003090563   WALGREENS #202                   MOROVIS       PR   00687    WALGREENS        BW8091085              100       100      100                        100       300

100099918   018400119   WALGREENS #06663        DSD     RICHARDSON     TX   75082    WALGREENS        BW8099029    7,900    8,900    11,800    8,200    9,900    5,500    8,700    52,200

100102242   020161240   WALGREENS #06599        DSD       PHOENIX      AZ   85022    WALGREENS        BW8106519    8,430    9,000     8,700   10,000    9,400    8,460    8,998    53,990

100103496   008115642   WALGREENS #06915        DSD       ROCKLIN      CA   95765    WALGREENS        BW8107648   24,600   27,300    22,300   26,000   26,200   25,600   25,333   152,000

100095953   041151993   WALGREENS #06090        DSD    FRANKLIN PARK   NJ   08823    WALGREENS        BW8117827    3,400    4,900     4,800    4,300    2,600    3,600    3,933    23,600

100101721   012108670   WALGREENS #06904        DSD    REDONDO BEACH   CA   90277    WALGREENS        BW8118817    7,460    8,900     9,700    8,000   13,200    7,700    9,160    54,960

100052808   012097014   WALGREENS #7577                PALM SPRINGS    CA   92262    WALGREENS        BW8118829   11,900   14,500    12,200   22,400    9,900    9,500   13,400    80,400

100101890   024120196   WALGREENS #07015        DSD     CHATSWORTH     CA   91311    WALGREENS        BW8119249   20,900   16,900    17,700   17,300   21,500   10,400   17,450   104,700

100100271   038108175   WALGREENS #07073        DSD      PASADENA      TX   77504    WALGREENS        BW8120153     960      (200)   13,800   21,200   16,800    9,700   10,377    62,260

100094592   055033142   WALGREENS #07168        DSD        CARY        NC   27518    WALGREENS        BW8120165    6,300    7,700     7,260    6,100    7,700    5,190    6,708    40,250

100097872   019169888   WALGREENS #06965        DSD      GRANGER       IN   46530    WALGREENS        BW8120177    7,200    7,700     8,400    7,500   11,300    5,600    7,950    47,700

100098388   019172320   WALGREENS #07519        DSD     STOUGHTON      WI   53589    WALGREENS        BW8120189   18,500   18,300    17,500   18,500   17,000   16,500   17,717   106,300

100101946   024120360   WALGREENS #06700        DSD      VAN NUYS      CA   91401    WALGREENS        BW8120266   18,780   21,460    15,590   23,550   21,700   22,200   20,547   123,280

100100141   038107243   WALGREENS #07348        DSD      HOUSTON       TX   77065    WALGREENS        BW8120595     200      100      3,700    5,200    3,600    2,100    2,483    14,900

100095871   004094607   WALGREENS #07063        DSD      CHICOPEE      MA   01020    WALGREENS        BW8124113    6,200    6,100     6,100    6,100    7,300    5,600    6,233    37,400

100101713   012108654   WALGREENS #06249        DSD      LYNWOOD       CA   90262    WALGREENS        BW8126787   14,500   10,900    14,800   11,600   13,300   16,600   13,617    81,700

100095724   055036889   WALGREENS #06137        DSD    WEST COLUMBIA   SC   29169    WALGREENS        BW8126799   14,760   16,100    14,200   16,300   13,900   15,800   15,177    91,060

100099583   037131383   WALGREENS #07095        DSD       HOUMA        LA   70360    WALGREENS        BW8126802    1,100    2,300    12,500   22,100   15,900   15,500   11,567    69,400

100097235   040119636   WALGREENS #07229        DSD       MACON        GA   31206    WALGREENS        BW8126814   18,100   21,900    21,020   22,200   13,500   24,500   20,203   121,220

100095081   010231902   WALGREENS #06574        DSD       LORAIN       OH   44053    WALGREENS        BW8126826   29,700   25,500    25,800   25,400   25,400   20,500   25,383   152,300

100103630   032150813   WALGREENS #07356        DSD       TACOMA       WA   98407    WALGREENS        BW8126927    7,900    8,600     7,600    8,900    7,600    6,500    7,850    47,100

100102616   046052357   WALGREENS #07029        DSD     CAPE CORAL     FL   33914    WALGREENS        BW8126941     300      500      6,100   13,200   11,100    9,100    6,717    40,300

100103594   032149724   WALGREENS #06890        DSD       SEATTLE      WA   98112    WALGREENS        BW8127854    3,100    3,600     3,700    4,000    3,200    2,200    3,300    19,800

100099904   018399972   WALGREENS #07354        DSD        IRVING      TX   75061    WALGREENS        BW8129276   12,400   20,130    16,700   17,500   12,400   11,200   15,055    90,330

100097515   052221804   WALGREENS #07407        DSD      SEYMOUR       TN   37865    WALGREENS        BW8129719   16,700   17,600    16,600   19,600   10,100   18,100   16,450    98,700

100067009   055143628   WALL DRUGS: JOHNSONVILLE CPA   JOHNSONVILLE    SC   29555    INDEPENDENT      BW8131562   15,700   17,500    17,300   14,500   10,000    1,200   12,700    76,200

100102921   046053850   WALGREENS #06627        DSD      ORLANDO       FL   32821    WALGREENS        BW8131702                       1,200     500     2,000     500     1,050     4,200

100094372   010228049   WALGREENS #07319        DSD       ADRIAN       MI   49221    WALGREENS        BW8137285   30,200   31,500    30,200   32,500   32,400   27,100   30,650   183,900

100087223   049185173   WALGREENS #07319 340B             ADRIAN       MI   49221   PHS 340B CLINIC   BW8137285              500       500     3,700                      1,567     4,700

100102653   008112797   WALGREENS #06683        DSD       VISALIA      CA   93277    WALGREENS        BW8139431   30,200   31,000    32,200   33,800   33,700   10,300   28,533   171,200

100097537   044215699   WALGREENS #06985        DSD      LAKELAND      TN   38002    WALGREENS        BW8139443    9,200    8,700    11,200    9,800    9,900    7,500    9,383    56,300

100099982   018400754   WALGREENS #07264        DSD      LONGVIEW      TX   75604    WALGREENS        BW8139455    2,540   13,700    44,740   40,500   31,700   15,100   24,713   148,280

100100259   037132548   WALGREENS #06783        DSD     SUGAR LAND     TX   77479    WALGREENS        BW8139479     940     2,200    13,920   21,800   27,700   18,700   14,210    85,260

100103367   038110163   WALGREENS #07021        DSD       AURORA       CO   80013    WALGREENS        BW8140410   12,900   10,500     9,600   11,500   14,300    7,000   10,967    65,800

100103607   032149856   WALGREENS #07132        DSD       EVERETT      WA   98204    WALGREENS        BW8141436   12,700   13,500    12,500   11,100   12,500    7,200   11,583    69,500

100095591   010232835   WALGREENS #06889        DSD        SOLON       OH   44139    WALGREENS        BW8142159    2,600    4,900     6,000    5,200    3,600    3,700    4,333    26,000

100095021   010231704   WALGREENS #07256        DSD      KETTERING     OH   45420    WALGREENS        BW8142161   19,630   18,860    19,200   20,730   19,700   13,400   18,587   111,520

100100286   038108290   WALGREENS #07178        DSD      DICKINSON     TX   77539    WALGREENS        BW8142173     900     1,240    16,200   22,500   17,800    9,600   11,373    68,240
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100099610   037131656   WALGREENS #07393        DSD        ABBEVILLE       LA   70510     WALGREENS         BW8142185     300     1,300    9,500   18,200   21,300   13,700   10,717    64,300

100095093   041149385   WALGREENS #07115        DSD        LYNCHBURG       VA   24502     WALGREENS         BW8143909   20,200   21,600   18,400   20,100   25,800   27,000   22,183   133,100

100097395   044215145   WALGREENS #07301        DSD     HENDERSONVILLE     TN   37075     WALGREENS         BW8143961   21,100   19,700   20,920   21,100   28,600   21,500   22,153   132,920

100098781   019174458   WALGREENS #06518        DSD         WINFIELD       IL   60190     WALGREENS         BW8144610   10,800   12,100   11,600    9,000   13,900    6,000   10,567    63,400

100100095   038106849   WALGREENS #07289        DSD         HOUSTON        TX   77013     WALGREENS         BW8151095     800     1,100    8,200   13,000    5,200    8,000    6,050    36,300

100095187   055036202   WALGREENS #06877        DSD      MYRTLE BEACH      SC   29579     WALGREENS         BW8151108   16,100   16,330   14,100   15,500   13,600   15,800   15,238    91,430

100098470   019172940   WALGREENS #07323        DSD        APPLETON        WI   54915     WALGREENS         BW8151110    7,700    8,500    8,700    9,100   11,500    9,800    9,217    55,300

100098265   019171090   WALGREENS #06960        DSD        HARTFORD        WI   53027     WALGREENS         BW8151122   17,700   15,900   16,400   17,700   17,200    7,000   15,317    91,900

100095180   010232298   WALGREENS #07045        DSD      MOUNT HEALTHY     OH   45231     WALGREENS         BW8153075    7,700    8,000    8,500    8,930    9,300    8,000    8,405    50,430

100099461   018397653   WALGREENS #07147        DSD         WICHITA        KS   67211     WALGREENS         BW8153087   14,100   18,500   18,600   25,000   15,000   21,500   18,783   112,700

100098739   019174037   WALGREENS #07100        DSD          ELGIN         IL   60123     WALGREENS         BW8153621   29,600   32,700   31,000   30,300   33,100   29,000   30,950   185,700

100107648   019185538   WALGREENS #07100 340B                ELGIN         IL   60123   PHS 340B HOSPITAL   BW8153621                                500                        500       500

100097264   040119875   WALGREENS #06326        DSD        COLUMBUS        GA   31907     WALGREENS         BW8156538    8,900   10,800   12,000   10,000    8,200   12,500   10,400    62,400

100102846   020162677   WALGREENS #07387        DSD        AVONDALE        AZ   85392     WALGREENS         BW8157819   14,130   12,060   11,430   13,330   14,300    7,600   12,142    72,850

100095758   055036947   WALGREENS #06951        DSD       WILMINGTON       NC   28403     WALGREENS         BW8157821   10,400   13,400   10,800    9,800   12,200    9,600   11,033    66,200

100110789   021176917   ONE TO ONE PHARMACY      CPA       UNIONVILLE      MO   63565     INDEPENDENT       BW8159116                               9,000    8,000    9,000    8,667    26,000

100101803   046046847   WALGREENS #04141        DSD     LAUDERDALE LAKES   FL   33313     WALGREENS         BW8159344                      3,700    6,800    7,100    5,300    5,725    22,900

100052586   026080002   WAIANAE DIST COMP HLTH & HOSP       WAIANAE        HI   96792    PHS 340B CLINIC    BW8163874   12,700   18,200   21,100   23,000   17,000   10,400   17,067   102,400

100052587   026080010   WAIANAE PROFESSIONAL PHY-RTL        WAIANAE        HI   96792     INDEPENDENT       BW8163874     100      100               500                        233       700

100103642   032150938   WALGREENS #06917        DSD          LACEY         WA   98516     WALGREENS         BW8164674    9,100    9,600    9,500    9,900    9,000    6,100    8,867    53,200

100100542   018403345   WALGREENS #07444        DSD         EDMOND         OK   73013     WALGREENS         BW8165032     200     1,100   10,600   12,100    8,700   11,500    7,367    44,200

100095704   041151365   WALGREENS #07000        DSD       WARRINGTON       PA   18976     WALGREENS         BW8168014    4,740    4,550    5,380    6,390    4,690    6,150    5,317    31,900

100100327   038108639   WALGREENS #07378        DSD     COLLEGE STATION    TX   77845     WALGREENS         BW8168026     800     1,900   14,900   22,000   22,100   14,900   12,767    76,600

100094723   055033589   WALGREENS #07154        DSD         CONWAY         SC   29526     WALGREENS         BW8168038   34,800   37,370   36,500   36,900   25,300   31,500   33,728   202,370

100097338   046044503   WALGREENS #07404        DSD         DOTHAN         AL   36301     WALGREENS         BW8168040   16,500   17,200   17,500   19,500   19,500   11,500   16,950   101,700

100102350   012110965   WALGREENS #06685        DSD     SAN BERNARDINO     CA   92404     WALGREENS         BW8168052   43,300   51,400   48,400   51,700   51,600   33,500   46,650   279,900

100101822   046046896   WALGREENS #06798        DSD        HOLLY HILL      FL   32117     WALGREENS         BW8168393     100      100    10,300   11,200   22,000   15,500    9,867    59,200

100101951   046047290   WALGREENS #07098        DSD     WEST PALM BEACH    FL   33415     WALGREENS         BW8171718     100      100     2,700    3,500    4,100    3,700    2,367    14,200

100095901   004094813   WALGREENS #06805        DSD       DORCHESTER       MA   02122     WALGREENS         BW8171720    2,100    1,700    2,000    1,400    1,800    1,500    1,750    10,500

100099754   018398487   WALGREENS #07234        DSD        FORT SMITH      AR   72903     WALGREENS         BW8172241    1,500    4,800   15,600   13,800   11,700    9,500    9,483    56,900

100099415   021170845   WALGREENS #06112        DSD         OLATHE         KS   66062     WALGREENS         BW8173837    2,200    9,300    9,700    8,200   13,200    5,500    8,017    48,100

100097490   052221556   WALGREENS #07406        DSD         CLINTON        TN   37716     WALGREENS         BW8174536   13,000   12,100   12,500   14,100   12,500   11,600   12,633    75,800

100099490   021171454   WALGREENS #07563        DSD          OMAHA         NE   68114     WALGREENS         BW8176693   15,900   13,200   12,600   13,200   14,900   15,900   14,283    85,700

100101860   032148254   WALGREENS #07227        DSD       HAPPY VALLEY     OR   97086     WALGREENS         BW8178217   11,100   10,600   12,300   12,500   14,500    8,300   11,550    69,300

100103568   032149468   WALGREENS #06614        DSD         BOTHELL        WA   98021     WALGREENS         BW8178419   12,900   10,700   12,100   13,000   11,700    5,600   11,000    66,000

100067972   044178400   COOL SPRINGS AMB SURGERY CNTR       FRANKLIN       TN   37067       HOSPITAL        BW8178940                       100                         80       90       180

100097072   040118075   WALGREENS #06597        DSD        BEAUFORT        SC   29907     WALGREENS         BW8179978    8,500    6,200    7,000    7,600    6,600    6,600    7,083    42,500

100103256   038110072   WALGREENS #07383        DSD       SCOTTSBLUFF      NE   69361     WALGREENS         BW8181997   19,800   21,500   16,700   22,600   24,800   15,200   20,100   120,600

100100397   018402388   WALGREENS #07214        DSD       SAN ANTONIO      TX   78258     WALGREENS         BW8182014     540      140     5,200    7,500    8,000    4,500    4,313    25,880

100095907   004094854   WALGREENS #05756        DSD       EAST BOSTON      MA   02128     WALGREENS         BW8200684    2,200    4,660    3,600    2,500    3,700    1,800    3,077    18,460

100098793   019174573   WALGREENS #07362        DSD        CREST HILL      IL   60403     WALGREENS         BW8200696   11,400   10,400   12,600   10,600   16,100    7,600   11,450    68,700

100097969   049192369   WALGREENS #07208        DSD        SOUTHFIELD      MI   48034     WALGREENS         BW8203589   18,400   22,100   21,100   22,900   18,300    8,000   18,467   110,800

100101766   012108753   WALGREENS #07211        DSD         WHITTIER       CA   90601     WALGREENS         BW8203604    9,900   10,500    8,100   10,700   10,600    8,700    9,750    58,500

100095799   010233262   WALGREENS #07392        DSD        ZANESVILLE      OH   43701     WALGREENS         BW8207462   12,700   13,520   12,630   14,100   12,500   11,000   12,742    76,450
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100102812   046053363   WALGREENS #07314       DSD         WINTER PARK      FL   32792       WALGREENS          BW8207575      -       200     7,200    8,900    7,200    7,000    5,083    30,500

100099380   021170498   WALGREENS #07428       DSD           SEDALIA        MO   65301       WALGREENS          BW8210724    6,400   14,300   17,800   17,000   20,500    9,600   14,267    85,600

100098106   019170639   WALGREENS #07430       DSD          KALAMAZOO       MI   49009       WALGREENS          BW8210736   34,800   32,200   28,800   34,300   32,000   27,600   31,617   189,700

100099617   037131730   WALGREENS #07426       DSD          OPELOUSAS       LA   70570       WALGREENS          BW8210748    1,100    1,700   26,800   48,900   36,800   46,500   26,967   161,800

100097392   044215111   WALGREENS #07302       DSD        GOODLETTSVILLE    TN   37072       WALGREENS          BW8216598   28,000   24,000   26,500   28,100   29,500   23,500   26,600   159,600

100100028   018401216   WALGREENS #06996       DSD         FORT WORTH       TX   76103       WALGREENS          BW8218807    9,800   40,300   39,000   36,200   22,600   21,000   28,150   168,900

100100228   038107995   WALGREENS #07307       DSD            SPRING        TX   77388       WALGREENS          BW8218819     700      500     9,100   11,000   10,300    9,100    6,783    40,700

100097151   040118869   WALGREENS #06896       DSD         DOUGLASVILLE     GA   30135       WALGREENS          BW8220648    7,600    7,800    8,600    7,600    6,800    7,140    7,590    45,540

100100082   018401752   WALGREENS #07293       DSD          SAN ANGELO      TX   76903       WALGREENS          BW8220650            54,400   51,400   68,100   38,500   14,000   45,280   226,400

100101880   032148262   WALGREENS #07373       DSD         GRANTS PASS      OR   97527       WALGREENS          BW8226195   36,800   35,600   34,330   35,600   36,400   28,100   34,472   206,830

100097139   040118745   WALGREENS #07340       DSD           CANTON         GA   30114       WALGREENS          BW8226690   14,900   16,440   15,100   16,200   11,700   14,200   14,757    88,540

100103218   008113969   WALGREENS #06871       DSD         BRENTWOOD        CA   94513       WALGREENS          BW8228276   21,300   21,100   22,200   21,700   24,500   18,200   21,500   129,000

100095050   010231779   WALGREENS #07332       DSD           LEBANON        OH   45036       WALGREENS          BW8230194    9,000   11,100    9,500   11,200    9,800    9,300    9,983    59,900

100100238   038108050   WALGREENS #07101       DSD           CYPRESS        TX   77429       WALGREENS          BW8237047     100      980     8,800   11,100   15,400    5,600    6,997    41,980

100100216   038107870   WALGREENS #07372       DSD           TOMBALL        TX   77377       WALGREENS          BW8237059              200     6,900    8,800    8,500    8,100    6,500    32,500

100100191   038107649   WALGREENS #07381       DSD           HOUSTON        TX   77095       WALGREENS          BW8237061    1,200     800     7,700    8,700    7,000    6,500    5,317    31,900

100095433   041149914   WALGREENS #06924       DSD            PAOLI         PA   19301       WALGREENS          BW8237439    2,800    3,600    4,600    2,640    2,900    3,000    3,257    19,540

100099104   021169896   WALGREENS #07216       DSD          GALESBURG       IL   61401       WALGREENS          BW8244991   31,200   27,730   28,100   29,600   31,800   22,500   28,488   170,930

100100043   018401364   WALGREENS #07391       DSD         FORT WORTH       TX   76132       WALGREENS          BW8245551    6,300   17,500   19,600   18,500   21,200   10,500   15,600    93,600

100094880   055033910   WALGREENS #06742       DSD           GASTONIA       NC   28056       WALGREENS          BW8245563   18,400   19,100   18,400   18,500   12,600   19,200   17,700   106,200

100095456   041150367   WALGREENS #07336       DSD         PHILADELPHIA     PA   19103       WALGREENS          BW8249092    1,700    2,400    1,000    1,400    2,700     500     1,617     9,700

100094872   010229484   WALGREENS #07523       DSD          GALLOWAY        OH   43119       WALGREENS          BW8253344   15,200   15,400   12,700   15,500   16,200   13,800   14,800    88,800

100084982   012089532   PHARMEDQUEST PHY SERVICES 340B        BREA          CA   92821      PHS 340B CLINIC     BW8253445    4,500    6,700   15,700    8,300     960              7,232    36,160

100074034   012000034   PHARMEDQUEST PHARMACY SERVICES        BREA          CA   92821   HOME HEALTH SERVICES   BW8253445                                200                        200       200

100103680   046055624   WALGREENS #07149       DSD          LONGWOOD        FL   32750       WALGREENS          BW8253914     200     1,300   17,730   22,800   20,330   17,500   13,310    79,860

100102824   046053405   WALGREENS #07078       DSD            VENICE        FL   34292       WALGREENS          BW8253938     100      130     5,730   12,430   15,600   14,000    7,998    47,990

100101484   046045641   WALGREENS #07011       DSD        COCONUT CREEK     FL   33073       WALGREENS          BW8253952     100     1,000    4,300    6,900    7,900    5,900    4,350    26,100

100099491   021171462   WALGREENS #06802       DSD            OMAHA         NE   68116       WALGREENS          BW8254625   11,600   11,800   10,500   12,000   10,200   11,000   11,183    67,100

100099945   018400382   WALGREENS #07334       DSD            DALLAS        TX   75206       WALGREENS          BW8254649   10,600   16,800   16,200   13,800   12,700   10,000   13,350    80,100

100097808   019169243   WALGREENS #07031       DSD         INDIANAPOLIS     IN   46234       WALGREENS          BW8257342   18,700   14,500   15,900   16,500   18,900   12,700   16,200    97,200

100103141   020163402   WALGREENS #07351       DSD         ALBUQUERQUE      NM   87107       WALGREENS          BW8257354   11,400   11,700   11,200   11,400   14,400    9,000   11,517    69,100

100101741   024120022   WALGREENS #06974       DSD          INGLEWOOD       CA   90303       WALGREENS          BW8257809   20,900   22,400   22,200   18,000   27,100   22,700   22,217   133,300

100105902   024020263   *WALGREENS # 06974 340B             INGLEWOOD       CA   90303      PHS 340B CLINIC     BW8257809     500                                                   500       500

100103194   008113902   WALGREENS #06869       DSD          PALO ALTO       CA   94306       WALGREENS          BW8257811    7,200    6,100    6,000    6,300    7,300    5,000    6,317    37,900

100102093   017097519   WALGREENS #07495       DSD             ROY          UT   84067       WALGREENS          BW8260248   16,000   14,600   15,200   14,000   18,500   11,000   14,883    89,300

100097237   040119651   WALGREENS #06950       DSD            MACON         GA   31211       WALGREENS          BW8263701   31,500   36,740   31,660   32,680   19,100   26,000   29,613   177,680

100109077   040121582   WALGREENS #6950 340B                  MACON         GA   31211      PHS 340B CLINIC     BW8263701              500               500                        500      1,000

100098174   049194126   WALGREENS #07369       DSD        TRAVERSE CITY     MI   49686       WALGREENS          BW8265731   13,800   14,900   11,800   11,300   13,500    7,600   12,150    72,900

100103073   046054726   WALGREENS #06887       DSD          LEESBURG        FL   34748       WALGREENS          BW8266644     200      200    13,200   14,700   12,300   14,300    9,150    54,900

100098427   025089441   WALGREENS #07635       DSD        STURGEON BAY      WI   54235       WALGREENS          BW8271671   11,530   11,800   12,800   13,600   13,300    7,100   11,688    70,130

100097189   040119230   WALGREENS #07167       DSD          DUNWOODY        GA   30338       WALGREENS          BW8271683    5,800    6,700    6,200    6,900    4,900    5,600    6,017    36,100

100101560   038109025   WALGREENS #05538       DSD       HIGHLANDS RANCH    CO   80130       WALGREENS          BW8271695    8,100   10,300    8,800    7,100   10,600    7,000    8,650    51,900

100096177   004099424   WALGREENS #07189       DSD       ROXBURY CROSSING   MA   02120       WALGREENS          BW8271708    2,200    1,800    2,600    1,500    1,600     500     1,700    10,200

100097667   052222323   WALGREENS #07580       DSD           MERIDIAN       MS   39301       WALGREENS          BW8271859   23,700   24,800   24,800   24,800   19,700   14,500   22,050   132,300
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100103363   020164319   WALGREENS #07499      DSD          LAS VEGAS        NV   89101     WALGREENS         BW8272039    6,500    5,000    5,000    5,000    6,500    5,000    5,500    33,000

100094619   055033290   WALGREENS #07342      DSD          CHARLOTTE        NC   28226     WALGREENS         BW8274540    6,500    6,800    5,500    6,000    5,500    3,000    5,550    33,300

100102089   017097501   WALGREENS #07007      DSD           RIVERTON        UT   84065     WALGREENS         BW8274552   20,700   22,100   21,200   20,300   16,700   16,000   19,500   117,000

100097284   052220319   WALGREENS #06035      DSD         BIRMINGHAM        AL   35209     WALGREENS         BW8285896    8,700    8,800    9,100   10,600   10,200    4,600    8,667    52,000

100094395   010228155   WALGREENS #07489      DSD            AMELIA         OH   45102     WALGREENS         BW8287737   17,600   16,000   16,100   18,000   17,500   13,400   16,433    98,600

100097091   040118265   WALGREENS #07478      DSD           DECATUR         GA   30033     WALGREENS         BW8290051    4,600    4,200    5,300    6,200    4,500    4,100    4,817    28,900

100099654   037132100   WALGREENS #07440      DSD        BATON ROUGE        LA   70816     WALGREENS         BW8290316     500     1,200    6,100   11,600   13,000   10,500    7,150    42,900

100098425   025089433   WALGREENS #07615      DSD           SHAWANO         WI   54166     WALGREENS         BW8291902   22,200   22,000   22,000   21,500   18,000   19,500   20,867   125,200

100094869   055033860   WALGREENS #07170      DSD        FUQUAY VARINA      NC   27526     WALGREENS         BW8294326   14,140   13,500   15,360   13,880   13,200   13,500   13,930    83,580

100101648   046046391   WALGREENS #05464      DSD       WEST PALM BEACH     FL   33407     WALGREENS         BW8297170               -      1,100    3,400    3,000    2,500    2,000    10,000

100098629   021169813   WALGREENS #05514      DSD         SIOUX FALLS       SD   57105     WALGREENS         BW8297473   11,700   13,600   13,200   14,300   14,100   10,000   12,817    76,900

100097495   052221606   WALGREENS #07049      DSD         GREENEVILLE       TN   37745     WALGREENS         BW8300220   49,800   50,100   47,220   48,200   33,220   37,100   44,273   265,640

100101910   024120246   WALGREENS #06648      DSD            RESEDA         CA   91335     WALGREENS         BW8303377   10,100    8,000    7,800    9,000   11,200    6,800    8,817    52,900

100103736   020164723   WALGREENS #07110      DSD          GLENDALE         AZ   85310     WALGREENS         BW8303389   13,300   12,600   13,160   11,900   14,800    6,300   12,010    72,060

100097764   019168807   WALGREENS #07441      DSD             LIMA          OH   45805     WALGREENS         BW8303391   21,280   22,700   21,520   22,120   17,200   20,800   20,937   125,620

100097341   046044529   WALGREENS #07405      DSD            DOTHAN         AL   36305     WALGREENS         BW8305890   19,640   19,500   19,700   21,300   10,700   14,100   17,490   104,940

100094710   010228957   WALGREENS #07525      DSD          COLUMBUS         OH   43229     WALGREENS         BW8308795   15,000   14,320   16,800   17,300   16,000   14,600   15,670    94,020

100103229   020163634   WALGREENS #07442      DSD        ALBUQUERQUE        NM   87121     WALGREENS         BW8308808   12,600   13,600   13,100   13,400   14,300    7,600   12,433    74,600

100095023   041149195   WALGREENS #07476      DSD        KILL DEVIL HILLS   NC   27948     WALGREENS         BW8309343   11,100    9,670   10,000   10,500   11,400    7,300    9,995    59,970

100102877   046053645   WALGREENS #07165      DSD           ORLANDO         FL   32818     WALGREENS         BW8312237     100              4,300    4,700    3,200    6,100    3,680    18,400

100098365   019172098   WALGREENS #07437      DSD            RACINE         WI   53405     WALGREENS         BW8312263   29,800   31,660   27,100   29,930   32,500   20,000   28,498   170,990

100087769   019151183   WALGREENS #07437   340B              RACINE         WI   53405   PHS 340B HOSPITAL   BW8312263    1,000     500     3,500    1,000                      1,500     6,000

100107072   019184077   WALGREENS #07437 AHC 340B 100        RACINE         WI   53405   PHS 340B HOSPITAL   BW8312263                       100                                 100       100

100098340   019171843   WALGREENS #07661      DSD          MILWAUKEE        WI   53215     WALGREENS         BW8312275    9,500   11,500   11,000   11,500   13,600    5,500   10,433    62,600

100098543   025090258   WALGREENS #06280      DSD         EDEN PRAIRIE      MN   55344     WALGREENS         BW8315891    9,300   10,800    9,900    9,800    9,300    7,600    9,450    56,700

100098301   019171454   WALGREENS #07039      DSD         MUKWONAGO         WI   53149     WALGREENS         BW8318455   17,800   18,000   16,600   16,500   21,300   10,500   16,783   100,700

100107070   019184051   WALGREENS #07039 AHC 340B 100     MUKWONAGO         WI   53149   PHS 340B HOSPITAL   BW8318455                       100                                 100       100

100102042   024120733   WALGREENS #07230      DSD           POMONA          CA   91767     WALGREENS         BW8319394   14,200   13,500   13,700   16,200   22,500   13,300   15,567    93,400

100099611   037131664   WALGREENS #07696      DSD        BREAUX BRIDGE      LA   70517     WALGREENS         BW8319584     600      680    15,800   28,200   19,100   26,500   15,147    90,880

100094973   055034355   WALGREENS #07505      DSD        HOLLY SPRINGS      NC   27540     WALGREENS         BW8319596    6,000    4,800    6,100    6,500    5,800    5,300    5,750    34,500

100096167   023146977   WALGREENS #06757      DSD          RIVERSIDE        CT   06878     WALGREENS         BW8320169    3,600    5,080    3,700    3,730    4,700    1,800    3,768    22,610

100098918   019176859   WALGREENS #07054      DSD           CHICAGO         IL   60602     WALGREENS         BW8323925    2,100    1,800    2,600    1,600    2,500    1,000    1,933    11,600

100095375   010232355   WALGREENS #07541      DSD           NEWARK          OH   43055     WALGREENS         BW8323949   11,500   12,100   10,500   12,800   13,500    9,000   11,567    69,400

100068147   020142091   WEST VALLEY HOSPITAL MED CTR       GOODYEAR         AZ   85395       HOSPITAL        BW8326844     550      450      500      550     1,080     280      568      3,410

100099665   018397794   WALGREENS #07595      DSD         SHREVEPORT        LA   71129     WALGREENS         BW8326933            10,030   12,500   12,000   12,500   16,500   12,706    63,530

100103518   032148973   WALGREENS #06852      DSD            ALOHA          OR   97006     WALGREENS         BW8330805   13,530   12,400   11,200   12,200   13,800    6,900   11,672    70,030

100095381   041149773   WALGREENS #06923      DSD       NEWPORT NEWS        VA   23602     WALGREENS         BW8332253   15,700   13,500   13,500   13,300   16,200    8,700   13,483    80,900

100095061   010231803   WALGREENS #07093      DSD          LEXINGTON        KY   40509     WALGREENS         BW8334649    4,100   12,700   10,700   11,700   15,100    7,600   10,317    61,900

100100262   037132571   WALGREENS #07531      DSD        MISSOURI CITY      TX   77489     WALGREENS         BW8334687      20      700     8,800   13,300   12,000    8,300    7,187    43,120

100103587   032149658   WALGREENS #06194      DSD           SEATTLE         WA   98101     WALGREENS         BW8340781    3,600    4,700    3,600    4,000    4,200    3,000    3,850    23,100

100099757   018398511   WALGREENS #07235      DSD          VAN BUREN        AR   72956     WALGREENS         BW8343763    1,300    9,100   34,000   31,700   20,400   19,100   19,267   115,600

100097786   019169029   WALGREENS #07676      DSD         MARTINSVILLE      IN   46151     WALGREENS         BW8343775   38,100   29,500   34,800   39,300   37,300   37,000   36,000   216,000

100103539   032149187   WALGREENS #07119      DSD          PORTLAND         OR   97211     WALGREENS         BW8346555    8,930    8,420    7,940    8,150    9,100    5,000    7,923    47,540

100098150   019170860   WALGREENS #07461      DSD          MUSKEGON         MI   49445     WALGREENS         BW8346567   48,300   53,200   55,500   50,300   39,100   26,200   45,433   272,600
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100099873   018399667   WALGREENS #06829         DSD         ALLEN         TX   75002     WALGREENS         BW8346606    7,600   10,500    8,900    9,700    9,100    5,600    8,567    51,400

100100057   018401505   WALGREENS #06759         DSD        CORINTH        TX   76210     WALGREENS         BW8346618   15,100   24,100   19,900   24,120   20,900   10,000   19,020   114,120

100103272   008114108   *WALGREENS #06080       DSD        FREMONT         CA   94539     WALGREENS         BW8349412    1,400                                                 1,400     1,400

100100304   038108449   WALGREENS #07534         DSD       PEARLAND        TX   77581     WALGREENS         BW8349424     300     1,720    7,540    9,100    9,820    6,200    5,780    34,680

100097998   049192658   WALGREENS #05842         DSD      ANN ARBOR        MI   48104     WALGREENS         BW8349436    8,600    7,100    7,600   10,000    9,500    6,700    8,250    49,500

100098001   049192682   WALGREENS #05170         DSD       BRIGHTON        MI   48116     WALGREENS         BW8349448   14,700   15,300   11,000   15,600   20,000   13,000   14,933    89,600

100101826   008112516   WALGREENS #06807         DSD      SACRAMENTO       CA   95841     WALGREENS         BW8352041   27,500   26,200   23,900   25,400   19,800   25,000   24,633   147,800

100099357   021170266   WALGREENS #07551         DSD     SAINT JOSEPH      MO   64503     WALGREENS         BW8353269    3,000   17,500   20,000   22,100   17,500   18,000   16,350    98,100

100097660   052222265   WALGREENS #07517         DSD       JACKSON         MS   39209     WALGREENS         BW8353512   17,800   20,000   19,000   18,200   15,700   17,000   17,950   107,700

100107245   052224121   WALGREENS #07517 340B              JACKSON         MS   39209    PHS 340B CLINIC    BW8353512    1,000                       500                        750      1,500

100103758   046056135   WALGREENS #05681         DSD   WEST DELRAY BEACH   FL   33446     WALGREENS         BW8354071     100      300     4,700    5,000    6,200    5,000    3,550    21,300

100098868   019176032   WALGREENS #06937         DSD        AURORA         IL   60506     WALGREENS         BW8354095   32,700   30,600   30,800   31,300   43,100   15,300   30,633   183,800

100097292   052220392   WALGREENS #07306         DSD      BIRMINGHAM       AL   35242     WALGREENS         BW8354386    9,800    9,100    8,500    9,600    7,300    5,500    8,300    49,800

100102404   046051300   WALGREENS #07468         DSD     THE VILLAGES      FL   32162     WALGREENS         BW8354398                     12,500   12,000   11,600    9,000   11,275    45,100

100102186   046049387   WALGREENS #06732         DSD       PLANT CITY      FL   33563     WALGREENS         BW8359386     800      400     1,600   26,400   20,800   22,300   12,050    72,300

100097673   052222380   WALGREENS #07579         DSD      HATTIESBURG      MS   39402     WALGREENS         BW8362129   11,500   23,000   20,200   23,600   20,000   21,000   19,883   119,300

100106765   052223875   WALGREENS #07579 340B            HATTIESBURG       MS   39402    PHS 340B CLINIC    BW8362129     500               500                                 500      1,000

100100175   038107508   WALGREENS #06909         DSD       HOUSTON         TX   77084     WALGREENS         BW8365125              800     5,800    7,200    3,700    5,300    4,560    22,800

100100241   038108084   WALGREENS #07560         DSD       CYPRESS         TX   77433     WALGREENS         BW8365416     600      400     6,100    8,020    7,000    5,600    4,620    27,720

100103395   008114520   WALGREENS #07445         DSD     SAN ANSELMO       CA   94960     WALGREENS         BW8365707    8,900   11,800    9,200   11,700   13,000    7,000   10,267    61,600

100102005   024120634   WALGREENS #07598         DSD       EL MONTE        CA   91732     WALGREENS         BW8365721    6,200    6,600    6,600    7,700    9,400    5,600    7,017    42,100

100102992   020163048   WALGREENS #07304         DSD        TUCSON         AZ   85741     WALGREENS         BW8365733   10,200    7,530    9,030    9,000    8,400    7,500    8,610    51,660

100095649   055036772   WALGREENS #07749         DSD     SUNSET BEACH      NC   28468     WALGREENS         BW8368234   10,120   11,020    9,000    8,640   12,500    5,000    9,380    56,280

100099721   018398271   WALGREENS #07284         DSD      LITTLE ROCK      AR   72223     WALGREENS         BW8372055    8,300    8,700   10,220    8,800   12,500    6,100    9,103    54,620

100101884   032148270   WALGREENS #07390         DSD      BELLINGHAM       WA   98226     WALGREENS         BW8372358   24,600   24,200   24,800   27,500   26,200   20,000   24,550   147,300

100105073   032152074   WALGREENS #07390 340B             BELLINGHAM       WA   98226    PHS 340B CLINIC    BW8372358                       500     1,000                       750      1,500

100091209   032145656   WALGREENS #07390 340B             BELLINGHAM       WA   98226   PHS 340B HOSPITAL   BW8372358     500                                                   500       500

100094874   023138719   WALGREENS #05955         DSD    NEW HYDE PARK      NY   11040     WALGREENS         BW8373209    1,700    1,700    1,000    1,600     800     1,200    1,333     8,000

100098751   019174151   WALGREENS #07457         DSD       HUNTLEY         IL   60142     WALGREENS         BW8374150   23,120   25,490   20,600   23,120   20,900   16,200   21,572   129,430

100099165   044217695   WALGREENS #05608         DSD       COLUMBIA        IL   62236     WALGREENS         BW8379934     100     7,900   13,400   10,400   11,600    8,200    8,600    51,600

100099215   044218123   WALGREENS #04220         DSD     CHESTERFIELD      MO   63017     WALGREENS         BW8379946             8,300    9,300    8,600   13,100    7,600    9,380    46,900

100095671   010233023   WALGREENS #07331         DSD         TROY          OH   45373     WALGREENS         BW8379958   11,300   12,600   12,100   13,000   13,000    9,000   11,833    71,000

100101840   038109843   WALGREENS #07142         DSD   COLORADO SPRINGS    CO   80922     WALGREENS         BW8382032   12,700   14,400   13,900   12,900   14,100   11,400   13,233    79,400

100102421   020161679   WALGREENS #06784         DSD         MESA          AZ   85201     WALGREENS         BW8382056    7,100    7,400    8,200    7,800   10,100    6,300    7,817    46,900

100098222   021169565   WALGREENS #07455         DSD       WATERLOO        IA   50701     WALGREENS         BW8388654   29,600   28,700   29,000   32,500   35,000   18,400   28,867   173,200

100104067   021172239   WALGREENS #07455 340B              WATERLOO        IA   50701   PHS 340B HOSPITAL   BW8388654              500                                          500       500

100095555   041150912   WALGREENS #07604         DSD        SALEM          VA   24153     WALGREENS         BW8389911   15,600   14,500   16,600   19,120   19,100   16,500   16,903   101,420

100099645   037132019   WALGREENS #06448         DSD     BATON ROUGE       LA   70808     WALGREENS         BW8389959     500     1,600    8,100   12,700   14,500   12,000    8,233    49,400

100097078   040118133   WALGREENS #06999         DSD      ALPHARETTA       GA   30009     WALGREENS         BW8390875    4,300    5,900    2,720    5,300    4,400    4,200    4,470    26,820

100097159   052220061   WALGREENS #07199         DSD         ROME          GA   30165     WALGREENS         BW8390887   47,600   48,200   45,700   48,290   36,170   39,000   44,160   264,960

100097854   019169706   WALGREENS #06000         DSD     SCHERERVILLE      IN   46375     WALGREENS         BW8391245    9,020    8,900    7,900    8,800   12,000    8,300    9,153    54,920

100095838   004094391   WALGREENS #07270         DSD     BRATTLEBORO       VT   05301     WALGREENS         BW8391865    5,300    7,000    5,100    6,100    8,200    3,500    5,867    35,200

100098382   019172262   WALGREENS #07536         DSD      MIDDLETON        WI   53562     WALGREENS         BW8391877    7,400    8,500    6,900    8,000   11,700    3,500    7,667    46,000

100103872   019179846   WALGREENS # 07536 340B            MIDDLETON        WI   53562   PHS 340B HOSPITAL   BW8391877                       100      100                        100       200
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100099473   021171280   WALGREENS #07818   DSD      GREAT BEND        KS   67530   WALGREENS   BW8391889   10,500   15,000    16,500   17,000   10,000   14,500   13,917    83,500

100099542   037105528   WALGREENS #07415   DSD       CHALMETTE        LA   70043   WALGREENS   BW8393035     100     2,500    17,930   29,860   26,200   15,100   15,282    91,690

100100453   018402586   WALGREENS #07674   DSD        LEANDER         TX   78641   WALGREENS   BW8393047    8,400   26,700    30,800   27,600   27,800   16,100   22,900   137,400

100102462   012111294   WALGREENS #06126   DSD        SUN CITY        CA   92586   WALGREENS   BW8393059   43,400   46,480    42,700   50,600   28,900   45,200   42,880   257,280

100095148   010232215   WALGREENS #05031   DSD   MIDDLEBURG HEIGHTS   OH   44130   WALGREENS   BW8393441    8,100    8,200     7,400    7,600    8,300    6,500    7,683    46,100

100103583   032149617   WALGREENS #07355   DSD        RENTON          WA   98056   WALGREENS   BW8393453    8,320    8,380     7,840    7,880   10,200    4,000    7,770    46,620

100102904   008113191   WALGREENS #07088   DSD       LOS ALTOS        CA   94022   WALGREENS   BW8394518    9,600    8,800     8,500   10,000   11,600    5,500    9,000    54,000

100101805   012108852   WALGREENS #07263   DSD       PICO RIVERA      CA   90660   WALGREENS   BW8394520   15,200   15,500    14,200   13,600   16,000   11,300   14,300    85,800

100097448   044215665   WALGREENS #07535   DSD       NASHVILLE        TN   37221   WALGREENS   BW8395849   10,100    9,220     9,200    8,400    9,400    9,600    9,320    55,920

100101589   038109124   WALGREENS #04894   DSD       THORNTON         CO   80229   WALGREENS   BW8395863   15,000   14,300    11,600   15,400   15,900   10,500   13,783    82,700

100103106   008113688   WALGREENS #06557   DSD     SAN FRANCISCO      CA   94117   WALGREENS   BW8397564    7,200    9,900     7,800    9,000   10,000    6,100    8,333    50,000

100103515   008115857   WALGREENS #07433   DSD        YUBA CITY       CA   95993   WALGREENS   BW8397576   34,900   39,000    33,200   37,300   43,800   26,500   35,783   214,700

100100215   038107862   WALGREENS #07671   DSD        TOMBALL         TX   77375   WALGREENS   BW8399392     100      800     10,100   13,400   12,100   11,600    8,017    48,100

100100208   038107805   WALGREENS #06864   DSD       MAGNOLIA         TX   77354   WALGREENS   BW8399405    1,040     900     10,320   17,400   13,700   10,600    8,993    53,960

100102543   046052019   WALGREENS #07257   DSD      JACKSONVILLE      FL   32277   WALGREENS   BW8399669     100      200      3,900    6,500             4,500    3,040    15,200

100101892   032148288   WALGREENS #07570   DSD        EVERETT         WA   98201   WALGREENS   BW8401628   12,360   13,700    12,100   12,700   12,700    9,400   12,160    72,960

100103079   046054759   WALGREENS #06991   DSD       SEBASTIAN        FL   32958   WALGREENS   BW8402454     100      200      3,700    8,400    9,200    7,700    4,883    29,300

100101997   024120618   WALGREENS #06972   DSD         COVINA         CA   91724   WALGREENS   BW8406173    9,200   10,800     9,600   11,300   12,300    7,500   10,117    60,700

100098436   019172684   WALGREENS #07009   DSD        WAUSAU          WI   54401   WALGREENS   BW8406185   25,600   27,300    25,900   30,000   29,600   17,500   25,983   155,900

100095158   010232231   WALGREENS #07637   DSD        MILFORD         OH   45150   WALGREENS   BW8406363   12,600   14,600    13,500   13,600   12,700   11,500   13,083    78,500

100098014   049192815   WALGREENS #06312   DSD         LIVONIA        MI   48150   WALGREENS   BW8406375   10,000   11,500     9,600    9,900   14,000   18,700   12,283    73,700

100101683   038109389   WALGREENS #06785   DSD       LONGMONT         CO   80504   WALGREENS   BW8407909    7,400    8,300     7,100    9,300    8,700    4,200    7,500    45,000

100097144   040118794   WALGREENS #07337   DSD     LITHIA SPRINGS     GA   30122   WALGREENS   BW8407911    7,400    7,300     7,100    7,000    5,700    6,500    6,833    41,000

100094520   023137844   WALGREENS #06982   DSD       BROOKLYN         NY   11223   WALGREENS   BW8407923    1,100    1,900     1,000     500      600      500      933      5,600

100097607   044216341   WALGREENS #07659   DSD        COLUMBIA        TN   38401   WALGREENS   BW8407935   49,800   41,600    47,800   48,300   50,100   33,600   45,200   271,200

100097476   052221416   WALGREENS #07285   DSD      JOHNSON CITY      TN   37601   WALGREENS   BW8407947   14,100   14,200    12,200   13,000   11,000   12,500   12,833    77,000

100099995   018400887   WALGREENS #07638   DSD         JASPER         TX   75951   WALGREENS   BW8408254    1,900     900     10,200   23,700   17,300    8,000   10,333    62,000

100100316   038108548   WALGREENS #07614   DSD       LUMBERTON        TX   77657   WALGREENS   BW8408266    1,100    1,700    12,800   21,320    8,900   10,700    9,420    56,520

100100362   018402032   WALGREENS #07308   DSD      SAN ANTONIO       TX   78217   WALGREENS   BW8408723     700     1,300    10,200   17,800   12,800    8,300    8,517    51,100

100102986   046054221   WALGREENS #07460   DSD        ORLANDO         FL   32837   WALGREENS   BW8409814     500               3,600    5,000    5,200    3,200    3,500    17,500

100102190   046049395   WALGREENS #06828   DSD       RIVERVIEW        FL   33569   WALGREENS   BW8409838              100       200     4,800    4,900    3,500    2,700    13,500

100103551   032149302   WALGREENS #06530   DSD         ALBANY         OR   97321   WALGREENS   BW8410716   23,400   23,700    23,100   21,200   23,600   19,200   22,367   134,200

100102574   046052159   WALGREENS #07465   DSD   NORTH FORT MYERS     FL   33903   WALGREENS   BW8412986    1,200     (100)    9,600   16,800   16,000   10,300    8,967    53,800

100095458   041150383   WALGREENS #07544   DSD      PHILADELPHIA      PA   19116   WALGREENS   BW8413899    4,300    4,700     5,600    3,600    5,600    6,700    5,083    30,500

100094923   055034108   WALGREENS #07447   DSD       GREENVILLE       SC   29615   WALGREENS   BW8413938   10,500    9,600     9,000   10,230   12,200    8,500   10,005    60,030

100101876   046047043   WALGREENS #07344   DSD       PENSACOLA        FL   32505   WALGREENS   BW8418988     100      100     12,200   23,100   30,000   28,500   15,667    94,000

100094708   010228932   WALGREENS #07113   DSD       COLUMBUS         OH   43224   WALGREENS   BW8419005   19,000   18,960    17,400   20,490   15,300    9,200   16,725   100,350

100095025   041149211   WALGREENS #07224   DSD     KING OF PRUSSIA    PA   19406   WALGREENS   BW8419029    6,900    6,100     6,200    6,400    6,900    4,300    6,133    36,800

100095561   055036533   WALGREENS #07479   DSD        SANFORD         NC   27330   WALGREENS   BW8419055   10,400   14,150    10,600   12,720   15,600    7,100   11,762    70,570

100094841   055033829   WALGREENS #07155   DSD       FLORENCE         SC   29505   WALGREENS   BW8419081   34,090   30,680    29,760   33,090   31,000   28,100   31,120   186,720

100103569   032149476   WALGREENS #07136   DSD       ENUMCLAW         WA   98022   WALGREENS   BW8419106   11,500   11,200    13,200   11,000   13,000    7,700   11,267    67,600

100097466   052221317   WALGREENS #07312   DSD     CHATTANOOGA        TN   37407   WALGREENS   BW8420286   37,600   36,700    35,600   37,600   32,600   23,500   33,933   203,600

100099817   018399105   WALGREENS #07547   DSD     BROKEN ARROW       OK   74012   WALGREENS   BW8420577     500     8,000    17,600   17,620   20,000   15,500   13,203    79,220

100101777   020160192   WALGREENS #06227   DSD       LAS VEGAS        NV   89107   WALGREENS   BW8421707   24,000   24,100    22,400   24,800   29,100   17,500   23,650   141,900
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100097656   052222224   WALGREENS #07184        DSD        JACKSON          MS   39204    WALGREENS        BW8421719   15,100   14,000   13,200   14,700   12,100   10,500   13,267    79,600

100107244   052224113   WALGREENS #07184 340B              JACKSON          MS   39204   PHS 340B CLINIC   BW8421719    1,000                                                 1,000     1,000

100102948   046054031   WALGREENS #06752        DSD         TRINITY         FL   34655    WALGREENS        BW8423535              100     1,700    6,800    6,600    5,100    4,060    20,300

100097088   040118232   WALGREENS #06699        DSD        SUWANEE          GA   30024    WALGREENS        BW8426048   10,940   11,500   10,200   10,200    8,300   10,100   10,207    61,240

100100544   038108647   WALGREENS #07632        DSD     THE WOODLANDS       TX   77384    WALGREENS        BW8429056    1,400    1,580   23,900   35,800   13,400   22,500   16,430    98,580

100098495   025089763   WALGREENS #06943        DSD   INVER GROVE HEIGHTS   MN   55077    WALGREENS        BW8432281    6,400    7,500    4,700    6,000    5,600    4,300    5,750    34,500

100097136   040118711   WALGREENS #07338        DSD        ACWORTH          GA   30101    WALGREENS        BW8434312    7,000    6,600    7,000    8,500    7,600    5,160    6,977    41,860

100099867   018399600   WALGREENS #07698        DSD       PONCA CITY        OK   74601    WALGREENS        BW8434324     800    10,400   24,400   24,800   19,200   15,000   15,767    94,600

100101905   038109975   WALGREENS #07462        DSD         CASPER          WY   82609    WALGREENS        BW8437382   25,200   26,600   25,100   25,500   20,700   16,100   23,200   139,200

100102329   020161455   WALGREENS #07663        DSD        PHOENIX          AZ   85043    WALGREENS        BW8438651    6,400    7,300    6,900    7,500   10,200    5,300    7,267    43,600

100100303   038108431   WALGREENS #07459        DSD        PEARLAND         TX   77581    WALGREENS        BW8439401     600      700     4,300    7,400    5,100    3,000    3,517    21,100

100102374   012111039   WALGREENS #07262        DSD        RIVERSIDE        CA   92506    WALGREENS        BW8439893   23,600   25,600   23,600   26,100   10,500   11,500   20,150   120,900

100101767   038109629   WALGREENS #07022        DSD        FOUNTAIN         CO   80817    WALGREENS        BW8440769   23,200   22,500   22,400   23,500   23,800   17,400   22,133   132,800

100095455   041150359   WALGREENS #07151        DSD      PHILADELPHIA       PA   19107    WALGREENS        BW8442321    1,500    1,100    1,000    1,100    2,600    1,200    1,417     8,500

100095782   041151662   WALGREENS #06894        DSD        WYNCOTE          PA   19095    WALGREENS        BW8442345    3,000    2,300    1,500    2,800    2,700    3,300    2,600    15,600

100101727   038109520   WALGREENS #06343        DSD        LOVELAND         CO   80538    WALGREENS        BW8443424   13,500   13,900   13,900   13,600   17,000   12,100   14,000    84,000

100097187   040119214   WALGREENS #07394        DSD        ATLANTA          GA   30331    WALGREENS        BW8445442   13,900   16,200   14,600   14,600    9,400   12,100   13,467    80,800

100097079   040118141   WALGREENS #07742        DSD        CONYERS          GA   30012    WALGREENS        BW8445466   21,400   24,100   19,200   20,700   16,600   18,000   20,000   120,000

100099203   044218008   WALGREENS #07578        DSD         MARION          IL   62959    WALGREENS        BW8445478     200    16,200   25,600   26,500   34,300   30,000   22,133   132,800

100101888   020160259   WALGREENS #07450        DSD       LAS VEGAS         NV   89147    WALGREENS        BW8445480   21,500   25,800   18,600   20,700   19,700   24,800   21,850   131,100

100094957   055034249   WALGREENS #07646        DSD        HICKORY          NC   28601    WALGREENS        BW8445769   16,200   15,670   17,910   17,300   17,400   13,600   16,347    98,080

100094907   055033977   WALGREENS #06812        DSD      GREENSBORO         NC   27407    WALGREENS        BW8445935   17,100   16,800   17,000   18,200   15,300   14,100   16,417    98,500

100098119   049193748   WALGREENS #07484        DSD       PLAINWELL         MI   49080    WALGREENS        BW8447410   23,000   29,200   23,900   24,300   22,900   15,500   23,133   138,800

100103636   032150870   WALGREENS #07137        DSD    UNIVERSITY PLACE     WA   98466    WALGREENS        BW8447422   13,800   12,300    9,600   12,200   13,200    8,400   11,583    69,500

100099301   044218982   WALGREENS #06711        DSD        O FALLON         MO   63368    WALGREENS        BW8447434             9,100   11,600   11,000   11,400   10,300   10,680    53,400

100095600   055036640   WALGREENS #07648        DSD      SPARTANBURG        SC   29301    WALGREENS        BW8448498   41,600   43,380   42,620   51,660   45,000   37,500   43,627   261,760

100098484   025089649   WALGREENS #07111        DSD      FOREST LAKE        MN   55025    WALGREENS        BW8450138   10,700   14,700   11,300   12,100   14,400    9,100   12,050    72,300

100097134   040118695   WALGREENS #07395        DSD         DULUTH          GA   30097    WALGREENS        BW8450140    4,200    3,800    3,700    2,500    4,100    3,500    3,633    21,800

100102766   046053124   WALGREENS #07496        DSD       ENGLEWOOD         FL   34224    WALGREENS        BW8452396     300      500    10,300   14,100   14,300   18,500    9,667    58,000

100101720   046046615   WALGREENS #07309        DSD          MIAMI          FL   33185    WALGREENS        BW8453615     100      100     1,100    1,800     700     1,500     883      5,300

100094930   055034173   WALGREENS #07279        DSD         GREER           SC   29650    WALGREENS        BW8454960   29,200   31,600   30,500   34,600   33,600   25,600   30,850   185,100

100094692   055033449   WALGREENS #06136        DSD        COLUMBIA         SC   29205    WALGREENS        BW8454972   13,760   13,090   12,690   14,330   12,200   12,400   13,078    78,470

100101716   046046607   WALGREENS #06442        DSD          MIAMI          FL   33185    WALGREENS        BW8454996     200               700     1,200    1,300    1,200     920      4,600

100102675   046052647   WALGREENS #06776        DSD         NAPLES          FL   34110    WALGREENS        BW8455467     100              2,200    2,800    4,200    5,200    2,900    14,500

100102761   020162479   WALGREENS #07582        DSD     LITCHFIELD PARK     AZ   85340    WALGREENS        BW8457106    7,100    6,230    6,100    4,810    8,600    7,000    6,640    39,840

100101821   012108894   WALGREENS #07403        DSD      BELLFLOWER         CA   90706    WALGREENS        BW8457118   11,400   10,780    9,500   11,500   10,500   14,200   11,313    67,880

100099475   021171306   WALGREENS #07817        DSD       DODGE CITY        KS   67801    WALGREENS        BW8457132    3,100    6,300    6,700    9,100    8,500    6,000    6,617    39,700

100099821   018399147   WALGREENS #07504        DSD       CLAREMORE         OK   74017    WALGREENS        BW8457219     600    15,100   36,800   40,200   24,000   36,600   25,550   153,300

100099899   018399923   WALGREENS #07592        DSD      GRAND PRAIRIE      TX   75051    WALGREENS        BW8457322   13,100   24,400   20,700   20,100   22,700    9,500   18,417   110,500

100094640   041146480   WALGREENS #07606        DSD     CHRISTIANSBURG      VA   24073    WALGREENS        BW8457601   16,100   15,700   15,260   15,600   18,000   13,600   15,710    94,260

100099419   021170886   WALGREENS #07550        DSD       KANSAS CITY       KS   66112    WALGREENS        BW8458285    7,600   35,900   43,100   44,980   44,000   11,500   31,180   187,080

100103651   032151027   WALGREENS #07226        DSD       VANCOUVER         WA   98664    WALGREENS        BW8458300   10,740    9,190   12,720   11,710   11,800    8,600   10,793    64,760

100094990   055034413   WALGREENS #07401        DSD       INDIAN TRAIL      NC   28079    WALGREENS        BW8459186   13,630   16,500   14,200   14,080   13,600   12,000   14,002    84,010

100095546   055036467   WALGREENS #07548        DSD      ROCKY MOUNT        NC   27804    WALGREENS        BW8462056   20,420   20,200   22,900   22,400   23,300   11,700   20,153   120,920
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100094842   055033837   WALGREENS #07626         DSD             FLORENCE        SC   29501     WALGREENS         BW8462068   13,190   15,460   14,090   17,330   12,500   10,100   13,778    82,670

100094941   041147157   WALGREENS #07240         DSD             HAMPTON         VA   23669     WALGREENS         BW8462082    9,700    8,000    7,400    9,300   10,800    4,000    8,200    49,200

100095068   055035899   WALGREENS #07399         DSD             LEXINGTON       SC   29072     WALGREENS         BW8462575   24,390   22,370   21,530   21,870   18,800   18,500   21,243   127,460

100095391   041149823   WALGREENS #07588         DSD             NORFOLK         VA   23502     WALGREENS         BW8467715    5,000    6,600    5,060    4,300    5,800    2,800    4,927    29,560

100103207   046055467   WALGREENS #05696         DSD             MIRAMAR         FL   33027     WALGREENS         BW8469175                      3,200    3,000    4,100    1,400    2,925    11,700

100097975   049192427   WALGREENS #07527         DSD              MACOMB         MI   48042     WALGREENS         BW8476081    7,600    8,500    5,600    6,200    8,300    6,000    7,033    42,200

100098464   019172882   WALGREENS #07835         DSD             OSHKOSH         WI   54904     WALGREENS         BW8476093   10,000    8,100   10,000   10,000   14,000    7,500    9,933    59,600

100098291   019171355   WALGREENS #07568         DSD          HALES CORNERS      WI   53130     WALGREENS         BW8481070   15,400   14,400   15,600   16,200   17,600   10,500   14,950    89,700

100094119   019162610   WALGREENS # 07568 340B                HALES CORNERS      WI   53130   PHS 340B HOSPITAL   BW8481070     100      100      500      100                        200       800

100104327   019181180   WALGREENS #07568 AHC 340B 100         HALES CORNERS      WI   53130   PHS 340B HOSPITAL   BW8481070     100                                                   100       100

100096266   041152611   WALGREENS #05201         DSD         WEST LONG BRANCH    NJ   07764     WALGREENS         BW8485941    7,700    8,000    7,200    7,500    4,800    4,900    6,683    40,100

100102784   046053215   WALGREENS #06997         DSD              OVIEDO         FL   32765     WALGREENS         BW8487438    1,000     700     3,600    4,000    6,300    5,000    3,433    20,600

100102666   020162255   WALGREENS #06692         DSD              GILBERT        AZ   85297     WALGREENS         BW8490283   15,100   15,560   16,830   16,430   18,300   11,200   15,570    93,420

100100168   037132308   WALGREENS #07722         DSD             HOUSTON         TX   77082     WALGREENS         BW8502014     100      240     7,900   10,500    8,300    8,000    5,840    35,040

100098411   019172551   WALGREENS #07732         DSD             PORTAGE         WI   53901     WALGREENS         BW8502040   36,800   35,000   37,900   36,100   29,200   31,100   34,350   206,100

100098412   019172569   WALGREENS #07882         DSD             BARABOO         WI   53913     WALGREENS         BW8502052   22,700   25,000   22,500   24,900   27,600   14,600   22,883   137,300

100094982   055034389   WALGREENS #07400         DSD           HUNTERSVILLE      NC   28078     WALGREENS         BW8505349    6,000    7,100    6,700    5,200    6,400    4,000    5,900    35,400

100102906   020162826   WALGREENS #07463         DSD              TUCSON         AZ   85706     WALGREENS         BW8505351   10,300   10,600   11,500   10,500   13,000    8,500   10,733    64,400

100097954   019170498   WALGREENS #07443         DSD            TERRE HAUTE      IN   47802     WALGREENS         BW8506935    1,200   10,500   13,600   16,500   15,600   10,900   11,383    68,300

100101214   046044834   WALGREENS #07085         DSD            FORT MYERS       FL   33912     WALGREENS         BW8510732              300     2,500    3,500    6,100    6,300    3,740    18,700

100100051   018401448   WALGREENS #07899         DSD             SAGINAW         TX   76179     WALGREENS         BW8517801    6,400   32,900   30,430   32,620   29,100   18,600   25,008   150,050

100099598   037131532   WALGREENS #04285         DSD              SLIDELL        LA   70458     WALGREENS         BW8518651     300      200    13,000   18,720   15,500    9,500    9,537    57,220

100099834   018399279   WALGREENS #07858         DSD               TULSA         OK   74105     WALGREENS         BW8520341             5,200   15,000   18,000   14,100   11,500   12,760    63,800

100099840   018399337   WALGREENS #07503         DSD               TULSA         OK   74112     WALGREENS         BW8520353     200     7,500   16,500   15,500    9,000   12,500   10,200    61,200

100098904   019176719   WALGREENS #09033         DSD              DARIEN         IL   60561     WALGREENS         BW8521002   13,990   14,260   16,920   15,790   13,600   11,300   14,310    85,860

100091923   019158824   WALGREENS #09033   340B                   DARIEN         IL   60561       HOSPITAL        BW8521002                       500                                 500       500

100100481   018402867   WALGREENS #07187         DSD              AUSTIN         TX   78745     WALGREENS         BW8525579    4,700   15,960   19,000   14,600   17,000   10,300   13,593    81,560

100100470   018402750   WALGREENS #07673         DSD              AUSTIN         TX   78717     WALGREENS         BW8525581    2,000   12,600   10,790   10,290   15,080    7,660    9,737    58,420

100098595   025090779   WALGREENS #07781         DSD              BLAINE         MN   55449     WALGREENS         BW8527852    2,100    3,100    2,700    2,500    4,000    2,100    2,750    16,500

100097130   040118653   WALGREENS #07001         DSD             NORCROSS        GA   30093     WALGREENS         BW8529983    8,600   10,200    9,000    9,000    9,000    6,500    8,717    52,300

100102746   024121186   WALGREENS #07555         DSD             TEHACHAPI       CA   93561     WALGREENS         BW8531039   24,300   25,600   20,600   25,500   28,300   20,200   24,083   144,500

100097384   044215038   WALGREENS #07518         DSD             FRANKLIN        TN   37064     WALGREENS         BW8536801   10,530   11,590    9,120   11,160   11,600   10,160   10,693    64,160

100097383   044215020   WALGREENS #07494         DSD             FRANKLIN        TN   37064     WALGREENS         BW8536813    7,100    6,700    9,700    6,500    9,200    6,600    7,633    45,800

100099637   037131938   WALGREENS #07795         DSD         GREENWELL SPRINGS   LA   70739     WALGREENS         BW8536952              600     9,500   13,200   14,500    8,200    9,200    46,000

100100460   018402651   WALGREENS #07310         DSD            ROUND ROCK       TX   78664     WALGREENS         BW8542018    3,000   14,400   12,100   13,600   13,500    8,200   10,800    64,800

100095592   010232843   WALGREENS #07664         DSD             SOMERSET        KY   42501     WALGREENS         BW8542032    6,700   30,700   28,000   30,700   24,300   20,000   23,400   140,400

100098018   049192856   WALGREENS #10359         DSD              LIVONIA        MI   48154     WALGREENS         BW8544620    9,900   10,000    9,100    9,600   11,600   11,500   10,283    61,700

100100226   038107979   WALGREENS #07775         DSD              SPRING         TX   77386     WALGREENS         BW8544632    1,100    1,400   21,500   32,600   28,300   18,200   17,183   103,100

100050391   018047167   *WHITEWRIGHT PHARMACY          CPA     WHITEWRIGHT       TX   75491     INDEPENDENT       BW8545571   16,200    1,500   10,000   10,300     500              7,700    38,500

100110975   018001799   WHITEWRIGHT PHARMACY (NEW)CPA          WHITEWRIGHT       TX   75491     INDEPENDENT       BW8545571                                         500    10,000    5,250    10,500

100095558   055036509   WALGREENS #07278         DSD             SALISBURY       NC   28144     WALGREENS         BW8546814   13,600   16,600   15,000   16,100   16,000   15,600   15,483    92,900

100101864   012108993   WALGREENS #07244         DSD            LONG BEACH       CA   90807     WALGREENS         BW8546826   22,560   23,190   21,100   24,300   19,000   16,500   21,108   126,650

100099896   018399899   WALGREENS #07586         DSD             GARLAND         TX   75043     WALGREENS         BW8546838   18,900   27,500   23,800   26,420   18,900   15,500   21,837   131,020

100102584   012111609   WALGREENS #07591         DSD              CORONA         CA   92880     WALGREENS         BW8548844   19,100   22,600   23,400   27,700   26,900   15,600   22,550   135,300
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100099089   019178590   WALGREENS #06004        DSD     ROCKFORD        IL   61114    WALGREENS        BW8548894   23,700   22,200   21,500   24,600   24,800   23,700   23,417   140,500

100101901   038109967   WALGREENS #07601        DSD       CASPER        WY   82601    WALGREENS        BW8549543   17,400   18,300   16,600   15,100   12,400   10,200   15,000    90,000

100099497   021171520   WALGREENS #07693        DSD       OMAHA         NE   68131    WALGREENS        BW8550558   11,700    9,200    9,600   10,600   12,700    8,000   10,300    61,800

100097215   052220129   WALGREENS #07567        DSD   FT OGLETHORPE     GA   30742    WALGREENS        BW8550837   46,700   52,400   42,200   49,200   47,300   32,500   45,050   270,300

100103041   046054544   WALGREENS #07493        DSD      KISSIMMEE      FL   34744    WALGREENS        BW8554114     600      700     5,100    4,700    5,600    3,000    3,283    19,700

100097319   052220665   WALGREENS #07717        DSD      GADSDEN        AL   35903    WALGREENS        BW8554669   30,500   31,100   29,400   33,100   19,600   29,300   28,833   173,000

100097320   052220673   WALGREENS #07716        DSD    RAINBOW CITY     AL   35906    WALGREENS        BW8554671   17,700   18,200   15,700   18,520   21,800   22,000   18,987   113,920

100095207   023143966   WALGREENS #07675        DSD      NEW YORK       NY   10010    WALGREENS        BW8558249    1,600    1,100    1,700    2,100     800     3,800    1,850    11,100

100099695   018398024   WALGREENS #07283        DSD     HOT SPRINGS     AR   71913    WALGREENS        BW8562096   21,460   29,200   35,100   37,940   29,200   27,600   30,083   180,500

100094484   055033050   WALGREENS #07593        DSD   BOILING SPRINGS   SC   29316    WALGREENS        BW8562793   36,600   38,500   36,100   38,500   33,500   39,500   37,117   222,700

100097066   040118018   WALGREENS #07446        DSD     GREENWOOD       SC   29649    WALGREENS        BW8562806   19,500   19,900   18,200   21,900   15,900   17,600   18,833   113,000

100098962   019177329   WALGREENS #07359        DSD      CHICAGO        IL   60618    WALGREENS        BW8565799   10,800   11,600    9,800   12,200   11,800    7,100   10,550    63,300

100101929   032148296   WALGREENS #07949        DSD     POST FALLS      ID   83854    WALGREENS        BW8567349   26,700   29,000   26,500   25,600   23,000   18,500   24,883   149,300

100094950   055034215   WALGREENS #07398        DSD     HENDERSON       NC   27536    WALGREENS        BW8567399   16,300   14,600   17,000   17,100   15,200   14,000   15,700    94,200

100099818   018399113   WALGREENS #07821        DSD   BROKEN ARROW      OK   74012    WALGREENS        BW8567402    1,100   28,300   53,400   62,420   50,100   37,200   38,753   232,520

100099773   018398677   WALGREENS #07816        DSD    WEATHERFORD      OK   73096    WALGREENS        BW8567414              100     8,600   10,600   10,500    8,000    7,560    37,800

100102938   020162917   WALGREENS #07203        DSD       TUCSON        AZ   85712    WALGREENS        BW8567604    6,100    6,730    6,800    6,900    8,400    6,000    6,822    40,930

100095617   023145938   WALGREENS #07321        DSD    STATEN ISLAND    NY   10310    WALGREENS        BW8567616    2,400    2,700    3,000    2,700    2,800    2,700    2,717    16,300

100100220   038107912   WALGREENS #07720        DSD       SPRING        TX   77379    WALGREENS        BW8567628     700     1,500   21,400   37,100   21,300   22,400   17,400   104,400

100096068   041152280   WALGREENS #06902        DSD      MILLVILLE      NJ   08332    WALGREENS        BW8567983   14,900   16,600   13,900   13,870   13,000   11,800   14,012    84,070

100098502   025089839   WALGREENS #07388        DSD     SAINT PAUL      MN   55106    WALGREENS        BW8568808    7,300    9,500    8,500    8,000    9,900    6,200    8,233    49,400

100106835   025091801   WALGREENS #07388 340B           SAINT PAUL      MN   55106   PHS 340B CLINIC   BW8568808    1,000                                                 1,000     1,000

100097659   052222257   WALGREENS #03918        DSD       PEARL         MS   39208    WALGREENS        BW8568810   10,800   10,300   10,700   10,200   10,500    9,000   10,250    61,500

100103564   032149427   WALGREENS #07594        DSD       AUBURN        WA   98002    WALGREENS        BW8568834    9,800   12,000   13,000   10,500   13,600   10,200   11,517    69,100

100097334   052220814   WALGREENS #07746        DSD    MONTGOMERY       AL   36117    WALGREENS        BW8572403   21,300   26,500   17,400   27,200   23,100   19,500   22,500   135,000

100094371   041145805   WALGREENS #07357        DSD      ABINGDON       MD   21009    WALGREENS        BW8574320   11,660    9,800   12,720   11,490   11,800    9,000   11,078    66,470

100098845   019175158   WALGREENS #07411        DSD   OLYMPIA FIELDS    IL   60461    WALGREENS        BW8574332    3,800    3,900    3,600    3,100    4,500    2,000    3,483    20,900

100097356   052220996   WALGREENS #07609        DSD       MOBILE        AL   36606    WALGREENS        BW8574344   50,000   51,000   51,000   51,800   38,800   27,500   45,017   270,100

100100288   037132654   WALGREENS #07774        DSD       FRESNO        TX   77545    WALGREENS        BW8574356    1,120     200     9,200   11,700   11,200    5,600    6,503    39,020

100100031   018401240   WALGREENS #07898        DSD     FORT WORTH      TX   76108    WALGREENS        BW8574382    5,500   21,300   20,300   19,900   16,200   10,000   15,533    93,200

100100060   018401539   WALGREENS #07112        DSD       KELLER        TX   76244    WALGREENS        BW8574394    3,640   14,300   13,200   13,100   12,600   11,100   11,323    67,940

100101778   012108795   WALGREENS #07679        DSD     BUENA PARK      CA   90620    WALGREENS        BW8574419   22,100   19,500   19,100   21,300   22,200   17,900   20,350   122,100

100102392   046051243   WALGREENS #05808        DSD     PALM COAST      FL   32137    WALGREENS        BW8575548              450     6,200    8,400   13,600    9,700    7,670    38,350

100097127   040118620   WALGREENS #07608        DSD   STONE MOUNTAIN    GA   30087    WALGREENS        BW8577390    4,900    5,900    4,630    5,130    6,000    4,600    5,193    31,160

100095056   041149302   WALGREENS #04214        DSD     LEVITTOWN       PA   19057    WALGREENS        BW8578734    6,700    8,000    5,500    6,400    5,100    7,200    6,483    38,900

100097747   044217091   WALGREENS #07685        DSD   BOWLING GREEN     KY   42101    WALGREENS        BW8578746    3,200   13,140   13,500   15,000   14,000    7,500   11,057    66,340

100095390   041149815   WALGREENS #07117        DSD      NORFOLK        VA   23503    WALGREENS        BW8578758    9,100   10,600    8,300   10,100    9,100    7,100    9,050    54,300

100103480   008115220   WALGREENS #06612        DSD     ELK GROVE       CA   95624    WALGREENS        BW8579041   14,200   16,500   13,400   15,500   17,700   11,600   14,817    88,900

100099196   044217935   WALGREENS #07236        DSD      CENTRALIA      IL   62801    WALGREENS        BW8580715     300    12,900   20,000   19,100   21,700   15,000   14,833    89,000

100094924   055034116   WALGREENS #07572        DSD     GREENVILLE      SC   29607    WALGREENS        BW8581464   12,000   15,000   14,100   15,100   14,600   17,000   14,633    87,800

100102023   046047530   WALGREENS #06941        DSD   DEERFIELD BEACH   FL   33441    WALGREENS        BW8582923     100      400     4,400    8,000    7,800    7,400    4,683    28,100

100101677   024119990   WALGREENS #07482        DSD    LOS ANGELES      CA   90047    WALGREENS        BW8589600   30,000   33,700   30,200   32,300   35,100   19,400   30,117   180,700

100092281   024119180   WALGREENS #07482 340B          LOS ANGELES      CA   90047   PHS 340B CLINIC   BW8589600    2,500    1,000    1,000    2,000                      1,625     6,500

100102484   020161810   WALGREENS #07558        DSD        MESA         AZ   85212    WALGREENS        BW8591047    8,690   10,700    9,260   10,960   10,600    7,600    9,635    57,810
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100099921   018400143   WALGREENS #07737        DSD       ROWLETT       TX   75088     WALGREENS         BW8591059   12,800   16,400   17,420   18,900   22,300    9,500   16,220    97,320

100060867   023007484   WESTMINSTER PHARMACY             ELIZABETH      NJ   07208     INDEPENDENT       BW8591213    1,000     500      500      900      500      100      583      3,500

100099954   018400473   WALGREENS #07839        DSD        DALLAS       TX   75219     WALGREENS         BW8596275   16,480   27,880   28,060   27,300   17,100   17,500   22,387   134,320

100103242   008114025   WALGREENS #05864        DSD    PLEASANT HILL    CA   94523     WALGREENS         BW8597140   15,500   17,000   14,000   16,400   18,600   11,900   15,567    93,400

100055545   010095224   WALGREEN CO/CLINIC PHCY#2127     COLUMBUS       OH   43210     WALGREENS         BW8598611    3,100    4,130    3,500    4,600    5,100    3,600    4,005    24,030

100097731   044216978   WALGREENS #07315        DSD      LOUISVILLE     KY   40245     WALGREENS         BW8598825    2,000   10,200   11,600   13,100   12,200    7,300    9,400    56,400

100095771   055037044   WALGREENS #07647        DSD    WINSTON SALEM    NC   27106     WALGREENS         BW8611748    6,720    6,260    6,060    7,180    6,200    4,600    6,170    37,020

100102438   012111229   WALGREENS #07410        DSD      MURRIETA       CA   92563     WALGREENS         BW8611750   18,600   20,700   18,000   22,600   26,300   14,000   20,033   120,200

100102984   008113381   WALGREENS #07043        DSD    SAN FRANCISCO    CA   94102     WALGREENS         BW8611774    4,300    4,700    2,800    4,500    3,600    2,200    3,683    22,100

100098077   049193441   WALGREENS #07500        DSD         FLINT       MI   48532     WALGREENS         BW8611837   36,700   37,200   36,500   37,900   39,940   31,800   36,673   220,040

100100461   018402669   WALGREENS #07537        DSD     ROUND ROCK      TX   78664     WALGREENS         BW8611849    1,500   14,200   12,200   11,300    8,900    7,200    9,217    55,300

100099888   018399816   WALGREENS #07645        DSD        FRISCO       TX   75033     WALGREENS         BW8613413    8,500   15,090   10,400   13,800   11,200    7,000   10,998    65,990

100100242   038108092   WALGREENS #07561        DSD       CYPRESS       TX   77433     WALGREENS         BW8615152     100      920     5,100    5,800    4,600    2,500    3,170    19,020

100100192   038107656   WALGREENS #07725        DSD       HOUSTON       TX   77095     WALGREENS         BW8615164     500      880     6,500    9,000    8,000    3,600    4,747    28,480

100097142   040118778   WALGREENS #07820        DSD     CARROLLTON      GA   30117     WALGREENS         BW8616091   28,200   32,180   29,700   32,200   22,300   31,500   29,347   176,080

100100179   038107532   WALGREENS #04021        DSD       HOUSTON       TX   77088     WALGREENS         BW8616344     100      700     8,900   15,100    9,800    5,800    6,733    40,400

100098549   025090316   WALGREENS #07812        DSD       ROGERS        MN   55374     WALGREENS         BW8616356    6,000    6,000    2,600    4,700    4,800    4,000    4,683    28,100

100094657   010228692   WALGREENS #07053        DSD      CINCINNATI     OH   45202     WALGREENS         BW8616673    2,500    3,300    2,500    3,500    3,000    4,000    3,133    18,800

100103027   020163121   WALGREENS #07104        DSD       TUCSON        AZ   85748     WALGREENS         BW8616685    8,330    7,990    7,300    7,000    7,600    4,200    7,070    42,420

100095183   010232306   WALGREENS #07900        DSD      CINCINNATI     OH   45230     WALGREENS         BW8616990    7,800    8,700    6,500    7,500    8,500    5,500    7,417    44,500

100099328   021169979   WALGREENS #07789        DSD     BLUE SPRINGS    MO   64014     WALGREENS         BW8617562    3,200   13,200   14,600   15,700   20,200   13,500   13,400    80,400

100111237   021002077   WALGREENS #07789 340B           BLUE SPRINGS    MO   64014   PHS 340B HOSPITAL   BW8617562                                                  100      100       100

100099858   018399519   WALGREENS #07889        DSD        MIAMI        OK   74354     WALGREENS         BW8619011     500     4,100   21,500   22,500   20,200   15,000   13,967    83,800

100099451   018397596   WALGREENS #06707        DSD        DERBY        KS   67037     WALGREENS         BW8621206   19,600   28,400   28,800   30,300   30,500   25,000   27,100   162,600

100094709   010228940   WALGREENS #07368        DSD      COLUMBUS       OH   43214     WALGREENS         BW8621218    7,300    8,100    8,300    8,700    6,900    6,500    7,633    45,800

100100151   037132258   WALGREENS #04105        DSD       HOUSTON       TX   77071     WALGREENS         BW8621991     800     1,300    7,600   13,400   15,120    5,100    7,220    43,320

100101731   038109538   WALGREENS #07417        DSD       WINDSOR       CO   80550     WALGREENS         BW8625329    9,800    8,500    8,700    9,300   10,500    5,000    8,633    51,800

100098445   025089540   WALGREENS #07880        DSD     RHINELANDER     WI   54501     WALGREENS         BW8628767   12,100   12,500   14,100   12,400   13,300    6,600   11,833    71,000

100098314   019171587   WALGREENS #07730        DSD      WAUKESHA       WI   53188     WALGREENS         BW8628779   10,600    9,600   11,100   10,200    9,600    8,000    9,850    59,100

100098210   021169458   WALGREENS #07968        DSD      DES MOINES     IA   50320     WALGREENS         BW8628781   20,300   20,900   19,300   18,800   21,700   14,700   19,283   115,700

100097222   040119503   WALGREENS #07772        DSD       MARTINEZ      GA   30907     WALGREENS         BW8628793    7,800    7,800    7,700    8,400    7,700    6,600    7,667    46,000

100103534   032149138   WALGREENS #07665        DSD      SHERWOOD       OR   97140     WALGREENS         BW8628806   10,600   11,300   10,130   12,630   13,400    7,000   10,843    65,060

100102759   008112847   WALGREENS #07830        DSD        CLOVIS       CA   93612     WALGREENS         BW8628818   25,600   39,600   36,800   40,800   25,800   36,000   34,100   204,600

100094637   010228510   WALGREENS #07799        DSD     CHILLICOTHE     OH   45601     WALGREENS         BW8628832   25,300   30,000   25,200   26,100   18,800   20,200   24,267   145,600

100100202   038107748   WALGREENS #07681        DSD       HUMBLE        TX   77338     WALGREENS         BW8630279    1,000            12,330   13,900    8,000    9,500    8,946    44,730

100098456   019172817   WALGREENS #07966        DSD    CHIPPEWA FALLS   WI   54729     WALGREENS         BW8630281   27,700   22,600   24,900   23,000   26,500   13,500   23,033   138,200

100099271   044218685   WALGREENS #05363        DSD      SAINT LOUIS    MO   63129     WALGREENS         BW8631322             8,600   10,500   11,000   12,400    7,300    9,960    49,800

100098921   019176883   WALGREENS #07559        DSD       CHICAGO       IL   60603     WALGREENS         BW8632122    1,100    1,760    1,060    1,500    2,200    1,500    1,520     9,120

100098894   019176610   WALGREENS #07409        DSD      SANDWICH       IL   60548     WALGREENS         BW8632134   48,300   55,900   47,900   46,200   40,900   42,300   46,917   281,500

100107651   019185561   WALGREENS #07409 340B            SANDWICH       IL   60548   PHS 340B HOSPITAL   BW8632134    1,000     100      500     2,700    1,500             1,160     5,800

100097749   044217117   WALGREENS #07712        DSD      GLASGOW        KY   42141     WALGREENS         BW8632994    4,200   17,600   17,500   20,500   18,000   12,000   14,967    89,800

100100264   037132597   WALGREENS #07491        DSD         KATY        TX   77494     WALGREENS         BW8633009     520     1,620    6,220   10,000    7,240    5,100    5,117    30,700

100100518   018403238   WALGREENS #07937        DSD       ABILENE       TX   79603     WALGREENS         BW8633011    1,900    8,900   41,500   41,700   39,600   30,000   27,267   163,600

100100250   037132472   WALGREENS #07721        DSD     MISSOURI CITY   TX   77459     WALGREENS         BW8633023     200      300    11,000   15,800   13,600    8,100    8,167    49,000
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100097293   052220400   WALGREENS #07791      DSD           BIRMINGHAM       AL   35242     WALGREENS         BW8633035   12,700   11,600   11,600   12,900   14,500    9,300   12,100    72,600

100096279   023147207   WALGREENS #07145      DSD            WESTPORT        CT   06880     WALGREENS         BW8633047    2,900    1,300    3,000    1,400    3,100    4,700    2,733    16,400

100095843   023146308   WALGREENS #07522      DSD           BRIDGEPORT       CT   06606     WALGREENS         BW8633059    5,900    6,200    5,000    6,500    6,300    3,900    5,633    33,800

100101697   012108613   WALGREENS #07175      DSD             GARDENA        CA   90247     WALGREENS         BW8636548   24,300   21,280   18,900   21,500   20,100   30,300   22,730   136,380

100098353   019171975   WALGREENS #07370      DSD            MILWAUKEE       WI   53223     WALGREENS         BW8636562   17,800   19,200   17,900   18,900   22,800   13,100   18,283   109,700

100099650   037132068   WALGREENS #07836      DSD           BATON ROUGE      LA   70814     WALGREENS         BW8639366     600      800    10,200   19,700   17,700   12,600   10,267    61,600

100097534   052221994   WALGREENS #07760      DSD            FARRAGUT        TN   37922     WALGREENS         BW8639873    6,100    4,900    6,000    6,000    5,220    8,420    6,107    36,640

100090617   044192286   PREMIER ORTHOPEDC SURG CTR#712       NASHVILLE       TN   37211       HOSPITAL        BW8642767     100               100               100      200      125       500

100097353   052220962   WALGREENS #07962      DSD            SARALAND        AL   36571     WALGREENS         BW8645496   44,630   48,630   43,830   47,130   30,200   34,600   41,503   249,020

100102957   046054080   WALGREENS #07090      DSD             ORLANDO        FL   32826     WALGREENS         BW8650233     600     2,200    2,000    1,000    2,500    1,500    1,633     9,800

100102705   024121053   WALGREENS #07210      DSD           ATASCADERO       CA   93422     WALGREENS         BW8650257   41,800   44,800   42,300   44,800   41,100   10,400   37,533   225,200

100095496   055036335   WALGREENS #07549      DSD             RALEIGH        NC   27610     WALGREENS         BW8650269   12,800   12,300   12,100   10,860   11,700    8,600   11,393    68,360

100103527   032149062   WALGREENS #07688      DSD           WILSONVILLE      OR   97070     WALGREENS         BW8650271   10,800   12,100   10,500   11,500   11,100    9,100   10,850    65,100

100103013   046054387   WALGREENS #07273      DSD            CLERMONT        FL   34711     WALGREENS         BW8653823     200      100     5,300    8,000    6,700    6,200    4,417    26,500

100095733   010233171   WALGREENS #07942      DSD            WHITEHALL       OH   43213     WALGREENS         BW8653835   22,000   22,900   21,400   21,600   17,100   16,700   20,283   121,700

100098749   019174136   WALGREENS #06294      DSD            GLEN ELLYN      IL   60137     WALGREENS         BW8655928   11,100   10,500   11,900   10,400   13,900    8,200   11,000    66,000

100098274   019171181   WALGREENS #02110      DSD            SAUKVILLE       WI   53080     WALGREENS         BW8656552   13,200   14,700   11,800   13,900   12,200   12,000   12,967    77,800

100107047   019183822   WALGREENS #02110 AHC 340B 100        SAUKVILLE       WI   53080   PHS 340B HOSPITAL   BW8656552                       100                                 100       100

100098302   019171462   WALGREENS #07603      DSD            MUSKEGO         WI   53150     WALGREENS         BW8656564   15,900   12,900   12,800   13,800   10,300   11,200   12,817    76,900

100103726   038110270   WALGREENS #07928      DSD             GILLETTE       WY   82718     WALGREENS         BW8658429   16,500   18,600   17,800   21,000   22,300    8,800   17,500   105,000

100094726   023138388   WALGREENS #07294      DSD             CORONA         NY   11368     WALGREENS         BW8658669     500     1,200    1,800     600      900      800      967      5,800

100101743   038109561   WALGREENS #02086      DSD              EVANS         CO   80620     WALGREENS         BW8660664   14,500   15,400   14,500   14,100   16,100   11,700   14,383    86,300

100094837   010229401   WALGREENS #07683      DSD             FINDLAY        OH   45840     WALGREENS         BW8661921    9,200    8,900    9,900    9,400    8,000    8,200    8,933    53,600

100071591   018140285   MCKINNEY SURGERY CENTER     HCA      MCKINNEY        TX   75069       HOSPITAL        BW8661983     200                                 180               190       380

100099018   019177881   WALGREENS #07250      DSD             CHICAGO        IL   60643     WALGREENS         BW8665133    9,100   11,000   10,500   11,100   10,100    7,800    9,933    59,600

100099214   044218115   WALGREENS #07761      DSD            BARNHART        MO   63012     WALGREENS         BW8666539     100    16,420   27,820   28,260   32,000   14,800   19,900   119,400

100101755   038109595   WALGREENS #09244      DSD             GREELEY        CO   80634     WALGREENS         BW8666969   11,800   13,000   12,800   10,700   11,500   12,000   11,967    71,800

100097621   044216424   WALGREENS #07849      DSD            HORN LAKE       MS   38637     WALGREENS         BW8671326    6,700    6,300    6,700    6,600    6,500    5,500    6,383    38,300

100098850   019175265   WALGREENS #05925      DSD           PALOS HILLS      IL   60465     WALGREENS         BW8675552   16,400   17,800   17,800   19,200   19,700   15,100   17,667   106,000

100052012   008058941   WALGREENS CLINIC PHARM 02147/P       PALO ALTO       CA   94304     WALGREENS         BW8675639   10,800    9,100   10,400    7,100   10,700    8,000    9,350    56,100

100087162   003091363   WALGREENS #00906                     HUMACAO         PR   00792     WALGREENS         BW8677304              100      500      700                        433      1,300

100102361   020161539   WALGREENS #07516      DSD             ANTHEM         AZ   85086     WALGREENS         BW8678748    7,400    8,800    8,100    7,600    7,100    7,700    7,783    46,700

100094670   055033399   WALGREENS #07801      DSD             CLAYTON        NC   27520     WALGREENS         BW8681985   19,000   15,600   18,900   19,900   18,100   12,100   17,267   103,600

100094416   055032946   WALGREENS #07823      DSD            ASHEVILLE       NC   28803     WALGREENS         BW8682494   14,800   15,400   13,200   16,500   17,000   12,100   14,833    89,000

100098170   049194084   WALGREENS #07660      DSD             CADILLAC       MI   49601     WALGREENS         BW8682507   32,300   38,500   32,800   33,700   32,400   27,500   32,867   197,200

100096242   004100206   WALGREENS #06992      DSD         VERNON ROCKVILLE   CT   06066     WALGREENS         BW8686062    6,300    6,500    5,300    5,600    6,400    5,000    5,850    35,100

100097545   044215772   WALGREENS #07911      DSD            COVINGTON       TN   38019     WALGREENS         BW8692952   18,200   16,680   18,600   18,000   17,600   15,000   17,347   104,080

100094602   010228486   WALGREENS #07636      DSD           CENTERVILLE      OH   45459     WALGREENS         BW8695415    5,900    6,300    5,700    6,300    8,100    4,800    6,183    37,100

100097729   044216952   WALGREENS #07643      DSD            LOUISVILLE      KY   40241     WALGREENS         BW8695427    3,100   12,500   11,700   11,100   17,200    8,500   10,683    64,100

100098881   019176453   WALGREENS #07212      DSD              LISLE         IL   60532     WALGREENS         BW8695441   12,700   15,070   15,400   15,300   18,000    8,300   14,128    84,770

100101215   046044842   WALGREENS #07105      DSD            RIVERVIEW       FL   33569     WALGREENS         BW8695732     100      900      700     9,100   13,600    8,300    5,450    32,700

100096049   041152264   WALGREENS #05620      DSD            MATAWAN         NJ   07747     WALGREENS         BW8695908    4,160    5,640    3,700    4,100    4,500    3,700    4,300    25,800

100097599   044216275   WALGREENS #07983      DSD            UNION CITY      TN   38261     WALGREENS         BW8698613   35,100   30,700   29,800   34,600   30,700   24,000   30,817   184,900

100095410   041149872   WALGREENS #07196      DSD           NORTH WALES      PA   19454     WALGREENS         BW8699211    7,100    6,000    6,700    6,900    8,000    6,000    6,783    40,700
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100100158   038107375   WALGREENS #02862        DSD      HOUSTON         TX   77077    WALGREENS        BW8700153     160      500     4,000    9,100    8,500    5,000    4,543    27,260

100103668   032151191   WALGREENS #02205        DSD       SPOKANE        WA   99218    WALGREENS        BW8702145   17,600   18,900   17,200   20,530   21,700   11,000   17,822   106,930

100099827   018399204   WALGREENS #07857        DSD    SAND SPRINGS      OK   74063    WALGREENS        BW8702498     300    10,700   38,700   25,600   28,700   29,000   22,167   133,000

100098829   019174953   WALGREENS #07829        DSD     ROMEOVILLE       IL   60446    WALGREENS        BW8709430   13,100   13,300   13,900   13,600   13,900   12,800   13,433    80,600

100103302   008114207   WALGREENS #07376        DSD      PITTSBURG       CA   94565    WALGREENS        BW8713908   34,800   52,100   51,000   64,900   57,900   13,600   45,717   274,300

100095769   055037028   WALGREENS #06690        DSD    WINSTON SALEM     NC   27106    WALGREENS        BW8713984   10,200   10,700   10,730   10,500   10,200    6,700    9,838    59,030

100101904   046047126   WALGREENS #07667        DSD    JACKSONVILLE      FL   32259    WALGREENS        BW8714746    1,200             7,300    8,600   15,000   11,500    8,720    43,600

100098968   019177386   WALGREENS #06376        DSD       CHICAGO        IL   60620    WALGREENS        BW8714760    7,200    9,700    9,100    8,300    7,800    7,000    8,183    49,100

100102114   017097576   WALGREENS #06988        DSD     WEST JORDAN      UT   84088    WALGREENS        BW8717261   17,600   16,440   17,100   17,700   22,300   12,500   17,273   103,640

100095073   010231886   WALGREENS #07684        DSD         LIMA         OH   45804    WALGREENS        BW8717615   13,100   12,500   12,100   11,400   11,700   11,200   12,000    72,000

100102299   012110825   WALGREENS #02223        DSD      HESPERIA        CA   92345    WALGREENS        BW8718857   37,900   43,000   33,100   44,200   42,600   26,500   37,883   227,300

100103501   008115717   WALGREENS #05036        DSD     SACRAMENTO       CA   95823    WALGREENS        BW8718869   22,200   19,700   20,000   21,200   26,000   16,200   20,883   125,300

100097765   019168815   WALGREENS #07788        DSD      ANDERSON        IN   46012    WALGREENS        BW8719619   24,200   24,400   23,700   26,000   20,900   28,500   24,617   147,700

100100117   038107037   WALGREENS #07773        DSD      HOUSTON         TX   77039    WALGREENS        BW8720129              600     6,700   11,220    8,900    2,500    5,984    29,920

100095869   041151845   WALGREENS #06929        DSD     CHERRY HILL      NJ   08002    WALGREENS        BW8720422    4,760    4,230    4,100    4,400    3,800    3,600    4,148    24,890

100100380   018402214   WALGREENS #07922        DSD     SAN ANTONIO      TX   78233    WALGREENS        BW8720434     700      300    10,500   14,900   14,300    9,200    8,317    49,900

100098657   019173211   WALGREENS #06866        DSD     DES PLAINES      IL   60016    WALGREENS        BW8723315   14,300   13,000   14,500   13,900   16,000   11,600   13,883    83,300

100101516   046045799   WALGREENS #06873        DSD        MIAMI         FL   33135    WALGREENS        BW8727161     100               100     1,500     100               450      1,800

100103105   020163311   WALGREENS #02026        DSD     BERNALILLO       NM   87004    WALGREENS        BW8727438    9,360   11,300    7,700   11,100   11,500    6,200    9,527    57,160

100096198   041152504   WALGREENS #06983        DSD      SOMERSET        NJ   08873    WALGREENS        BW8728529    2,700    1,400    2,800    2,200    1,800    2,300    2,200    13,200

100099736   018398313   WALGREENS #07847        DSD     FAYETTEVILLE     AR   72701    WALGREENS        BW8729836     300     6,800   18,400   18,600   20,000   12,500   12,767    76,600

100094933   010229591   WALGREENS #07973        DSD      GROVE CITY      OH   43123    WALGREENS        BW8729848   11,680   12,640   11,300   11,200   11,300    9,200   11,220    67,320

100094591   055033134   WALGREENS #07981        DSD   CAROLINA BEACH     NC   28428    WALGREENS        BW8731158    7,900    8,900    5,300    8,530    7,800    6,600    7,505    45,030

100101956   017096875   WALGREENS #01221        DSD        EAGLE         ID   83616    WALGREENS        BW8731603    6,000    5,200    5,600    6,500    8,600    5,200    6,183    37,100

100094900   055033944   WALGREENS #07622        DSD     GOLDSBORO        NC   27534    WALGREENS        BW8735637    7,500    9,100    8,100   10,800   11,000    7,700    9,033    54,200

100097063   040117986   WALGREENS #07702        DSD     SUMMERVILLE      SC   29485    WALGREENS        BW8742505   16,300   14,700   15,400   15,300   13,100   15,200   15,000    90,000

100099395   021170647   WALGREENS #07901        DSD      REPUBLIC        MO   65738    WALGREENS        BW8743127   13,200   11,700   15,600   17,700   18,600   10,100   14,483    86,900

100103586   032149641   WALGREENS #07677        DSD       AUBURN         WA   98092    WALGREENS        BW8752342   12,000   10,900   12,200   12,200   12,200    8,500   11,333    68,000

100097688   052222471   WALGREENS #01166        DSD     BROOKHAVEN       MS   39601    WALGREENS        BW8753433   25,400   26,800   24,900   24,800   17,900   17,000   22,800   136,800

100098000   049192674   WALGREENS #07275        DSD      BELLEVILLE      MI   48111    WALGREENS        BW8755235   20,100   21,800   19,530   23,160   17,500   22,600   20,782   124,690

100100240   038108076   WALGREENS #03691        DSD       CYPRESS        TX   77433    WALGREENS        BW8755247     100     1,280    5,900    7,200    5,400    3,000    3,813    22,880

100103543   032149229   WALGREENS #01082        DSD      PORTLAND        OR   97229    WALGREENS        BW8756047   10,800    9,260   11,210   11,090   10,800    8,300   10,243    61,460

100103544   032149237   WALGREENS #15071        DSD      PORTLAND        OR   97229    WALGREENS        BW8756061    9,600   10,200    9,900   10,450    8,800   10,200    9,858    59,150

100103109   020163329   WALGREENS #07881        DSD      EDGEWOOD        NM   87015    WALGREENS        BW8757708   10,800   14,000   12,000   14,300   14,100    8,100   12,217    73,300

100097974   049192419   WALGREENS #07768        DSD     CLINTON TWP      MI   48038    WALGREENS        BW8760488    9,300    8,200    9,000    9,400    8,500    7,500    8,650    51,900

100097968   049192351   WALGREENS #07509        DSD       FRASER         MI   48026    WALGREENS        BW8760490   13,600   16,000   16,000   17,900   10,800    9,000   13,883    83,300

100098496   025089771   WALGREENS #06916        DSD   OAK PARK HEIGHTS   MN   55082    WALGREENS        BW8762507   10,500   12,000   11,400   10,200   10,000    5,200    9,883    59,300

100101623   038109223   WALGREENS #07581        DSD       DENVER         CO   80238    WALGREENS        BW8762519    9,600    6,900    9,200    8,300   10,600    6,500    8,517    51,100

100099476   021171314   WALGREENS #07972        DSD     GARDEN CITY      KS   67846    WALGREENS        BW8765832    6,200    9,700   10,100    9,100   11,500    6,000    8,767    52,600

100097625   044216465   WALGREENS #07757        DSD       OXFORD         MS   38655    WALGREENS        BW8765844   13,600   13,000   14,200   15,100   13,100   11,500   13,417    80,500

100103650   032151019   WALGREENS #09380        DSD     VANCOUVER        WA   98662    WALGREENS        BW8766985   11,660   12,130   10,560   14,160   15,300    9,100   12,152    72,910

100105080   032152090   WALGREENS #09380 340B           VANCOUVER        WA   98662   PHS 340B CLINIC   BW8766985     500      500                                          500      1,000

100099437   021171066   WALGREENS #07778        DSD       TOPEKA         KS   66604    WALGREENS        BW8767242   16,600   22,400   22,400   25,100   26,600   21,000   22,350   134,100

100102549   046052043   WALGREENS #07806        DSD    WINTER HAVEN      FL   33881    WALGREENS        BW8767254              200     1,630   11,430   10,600   10,500    6,872    34,360
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100097928   044217307   WALGREENS #07926   DSD     NEW ALBANY       IN   47150   WALGREENS   BW8771493    4,900   24,820   27,280   30,120   26,200   27,300   23,437   140,620

100098123   019170753   WALGREENS #07934   DSD     THREE RIVERS     MI   49093   WALGREENS   BW8777229   36,200   36,400   35,900   36,700   31,500   27,100   33,967   203,800

100097536   044215681   WALGREENS #06958   DSD      ARLINGTON       TN   38002   WALGREENS   BW8779514    8,200    9,000    9,700    8,600    9,500    8,800    8,967    53,800

100098454   025089573   WALGREENS #01937   DSD      EAU CLAIRE      WI   54701   WALGREENS   BW8779538   19,320   24,300   25,000   23,600   22,000   20,700   22,487   134,920

100098424   025089425   WALGREENS #07634   DSD      MARINETTE       WI   54143   WALGREENS   BW8779540   23,600   25,200   24,000   23,500   24,600   16,000   22,817   136,900

100097881   019169979   WALGREENS #07906   DSD       WARSAW         IN   46580   WALGREENS   BW8779564   24,400   25,300   27,500   23,820   24,500   21,100   24,437   146,620

100098805   019174698   WALGREENS #07139   DSD      FRANKFORT       IL   60423   WALGREENS   BW8783448    8,100    7,500    6,200    8,800   10,000    8,000    8,100    48,600

100102267   012110668   WALGREENS #07948   DSD     APPLE VALLEY     CA   92307   WALGREENS   BW8784630   28,000   28,000   24,600   30,300   25,600   28,500   27,500   165,000

100097782   019168989   WALGREENS #07174   DSD     GREENFIELD       IN   46140   WALGREENS   BW8788638   25,230   20,600   28,900   30,000   34,300   21,700   26,788   160,730

100098029   049192963   WALGREENS #01265   DSD     WYANDOTTE        MI   48192   WALGREENS   BW8788640   16,600   16,500   18,900   20,700   17,300   16,100   17,683   106,100

100101426   032146373   WALGREENS #02670   DSD     WENATCHEE        WA   98801   WALGREENS   BW8790859   18,200   16,100   13,500   16,000   17,400   12,000   15,533    93,200

100102853   046053538   WALGREENS #07686   DSD      ORLANDO         FL   32810   WALGREENS   BW8790885              500     6,500    8,700    9,300    7,500    6,500    32,500

100099189   044217869   WALGREENS #01770   DSD     SPRINGFIELD      IL   62703   WALGREENS   BW8792308    4,100   13,500   18,100   17,000   20,500   13,000   14,367    86,200

100100501   018403063   WALGREENS #01304   DSD      AMARILLO        TX   79106   WALGREENS   BW8793778     700    25,400   30,800   31,200   21,700   18,600   21,400   128,400

100097190   040119248   WALGREENS #02359   DSD      CHAMBLEE        GA   30341   WALGREENS   BW8794706    4,140    5,100    4,200    4,100    4,600    4,530    4,445    26,670

100097942   044217323   WALGREENS #02362   DSD       BEDFORD        IN   47421   WALGREENS   BW8795986   23,200   21,000   20,100   23,600   33,700   33,000   25,767   154,600

100103645   032150961   WALGREENS #01085   DSD        CAMAS         WA   98607   WALGREENS   BW8797500    9,200    8,530    9,260   11,500   11,000    7,500    9,498    56,990

100095038   010231746   WALGREENS #07798   DSD      LANCASTER       OH   43130   WALGREENS   BW8797512   11,300    9,100   10,600   10,000    9,200    7,500    9,617    57,700

100102827   008113001   WALGREENS #07266   DSD       FRESNO         CA   93720   WALGREENS   BW8797524   12,000   13,600   12,100   12,700   13,300    7,000   11,783    70,700

100099463   018397661   WALGREENS #02750   DSD       WICHITA        KS   67216   WALGREENS   BW8797536   22,100   33,300   33,500   36,100   38,400   32,800   32,700   196,200

100098483   025089631   WALGREENS #01951   DSD      FARIBAULT       MN   55021   WALGREENS   BW8799198   14,000   16,400   13,200   13,700   15,900   12,400   14,267    85,600

100100515   018403204   WALGREENS #07853   DSD       LUBBOCK        TX   79424   WALGREENS   BW8799352     300    14,580   16,500   17,640   13,700    7,700   11,737    70,420

100097156   040118919   WALGREENS #07764   DSD      KENNESAW        GA   30144   WALGREENS   BW8801020    6,420    8,800    5,900    7,400    6,000    5,600    6,687    40,120

100095097   010231977   WALGREENS #07719   DSD      MACEDONIA       OH   44056   WALGREENS   BW8807402    6,200    6,900    6,000    5,660    7,400    5,000    6,193    37,160

100097690   052222489   WALGREENS #02676   DSD      COLUMBUS        MS   39705   WALGREENS   BW8813392   21,200   21,300   20,200   23,100   15,700   19,000   20,083   120,500

100101853   020160226   WALGREENS #07164   DSD     HENDERSON        NV   89015   WALGREENS   BW8813405   48,600   43,740   44,600   48,200   46,300   14,500   40,990   245,940

100100018   018401117   WALGREENS #02020   DSD      GRAPEVINE       TX   76051   WALGREENS   BW8813431    2,400   12,800   10,000   12,940    8,200    8,700    9,173    55,040

100103590   032149682   WALGREENS #07352   DSD       SEATTLE        WA   98105   WALGREENS   BW8818607    2,600    3,100    3,000    3,100    3,500    1,000    2,717    16,300

100097639   044216572   WALGREENS #01913   DSD       CORINTH        MS   38834   WALGREENS   BW8820195   19,500   17,800   19,200   19,600   17,200   17,000   18,383   110,300

100102243   012110585   WALGREENS #07765   DSD      LA QUINTA       CA   92253   WALGREENS   BW8820208   17,000   18,700   16,100   18,860   19,100   11,200   16,827   100,960

100096259   004100339   WALGREENS #01233   DSD      WEBSTER         MA   01570   WALGREENS   BW8820791    4,100    5,700    3,700    4,700    6,700    1,700    4,433    26,600

100099959   018400523   WALGREENS #07783   DSD       DALLAS         TX   75228   WALGREENS   BW8821781   14,800   25,360   24,860   25,700   24,700   13,600   21,503   129,020

100095029   023142877   WALGREENS #07843   DSD      KINGSTON        PA   18704   WALGREENS   BW8821793   14,800   12,400   13,000   14,800   12,500   10,900   13,067    78,400

100100251   037132480   WALGREENS #01199   DSD      RICHMOND        TX   77469   WALGREENS   BW8821806    1,100     100     8,540   12,100    3,800    2,300    4,657    27,940

100099825   018399188   WALGREENS #02361   DSD       OWASSO         OK   74055   WALGREENS   BW8821907    1,500   16,700   50,200   52,500   41,900   53,100   35,983   215,900

100094434   023137547   WALGREENS #06823   DSD       BALDWIN        NY   11510   WALGREENS   BW8823002    2,600    2,000    4,300    1,600    4,000    1,100    2,600    15,600

100100404   037132829   WALGREENS #03917   DSD      KINGSVILLE      TX   78363   WALGREENS   BW8823711     300              8,100   15,500   15,000    6,500    9,080    45,400

100097423   044215418   WALGREENS #01989   DSD     SPRING HILL      TN   37174   WALGREENS   BW8827454   11,300   10,600    9,800   12,100   12,100   10,100   11,000    66,000

100100532   052222588   WALGREENS #01634   DSD      KNOXVILLE       TN   37931   WALGREENS   BW8827466   10,500   10,700   12,000   11,500    8,400    9,200   10,383    62,300

100098444   019172742   WALGREENS #09009   DSD   WISCONSIN RAPIDS   WI   54494   WALGREENS   BW8827478   27,500   31,700   29,800   30,400   25,000   22,100   27,750   166,500

100095392   041149831   WALGREENS #07644   DSD       NORFOLK        VA   23517   WALGREENS   BW8829004   10,630   10,500   11,700   10,600    9,600    9,000   10,338    62,030

100103197   020163550   WALGREENS #02053   DSD    ALBUQUERQUE       NM   87114   WALGREENS   BW8829674   10,700   12,800    9,000   12,200   10,300    9,700   10,783    64,700

100101733   012108696   WALGREENS #07070   DSD    MARINA DEL REY    CA   90292   WALGREENS   BW8835780   12,500   13,600   13,400   14,200   16,400   12,300   13,733    82,400

100098939   019177097   WALGREENS #02340   DSD       CHICAGO        IL   60611   WALGREENS   BW8835792    5,700    6,400    5,850    6,900    6,400    4,700    5,992    35,950
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100097351   052220947   WALGREENS #01230         DSD      GULF SHORES      AL   36542     WALGREENS         BW8837669   16,600    16,200   12,900   13,400    6,300   12,500   12,983    77,900

100098589   025090712   WALGREENS #02316         DSD     BROOKLYN PARK     MN   55444     WALGREENS         BW8838522   11,100    12,700   10,700   11,700   10,300    7,100   10,600    63,600

100097888   019170043   WALGREENS #02467         DSD         ANGOLA        IN   46703     WALGREENS         BW8839675    8,500    12,300   10,200   11,300   10,200    8,800   10,217    61,300

100102862   020162719   WALGREENS #02429         DSD        SAFFORD        AZ   85546     WALGREENS         BW8839687   17,700    17,900   17,000   17,300   21,100   13,000   17,333   104,000

100095053   055035865   WALGREENS #01956         DSD         LELAND        NC   28451     WALGREENS         BW8844777    8,800    12,200   10,200    9,800   13,000    8,000   10,333    62,000

100097576   044216085   WALGREENS #05317         DSD        MEMPHIS        TN   38122     WALGREENS         BW8847672   14,500    11,100   13,000   15,600   14,000   12,000   13,367    80,200

100099548   037131037   WALGREENS #02469         DSD         KENNER        LA   70065     WALGREENS         BW8853168     200      1,900    7,000   18,600   22,800    7,800    9,717    58,300

100103016   008113464   WALGREENS #07044         DSD     SAN FRANCISCO     CA   94105     WALGREENS         BW8853283    2,300     2,500    3,200    1,900    3,500     800     2,367    14,200

100101841   012108969   WALGREENS #07832         DSD       LONG BEACH      CA   90804     WALGREENS         BW8853310   27,200    28,000   27,300   27,100   25,200   31,000   27,633   165,800

100100340   018401810   WALGREENS #01194         DSD       CONVERSE        TX   78109     WALGREENS         BW8853346     900      1,400   11,800   20,600   18,300   12,800   10,967    65,800

100095615   041151043   WALGREENS #03916         DSD      STATEN ISLAND    NY   10312     WALGREENS         BW8855655    8,100     7,100    7,400    8,600    5,460   10,700    7,893    47,360

100102592   012111625   WALGREENS #07303         DSD        CORONA         CA   92882     WALGREENS         BW8855679   30,700    34,300   32,000   33,200   38,200   18,700   31,183   187,100

100095480   041150623   WALGREENS #07116         DSD      PORTSMOUTH       VA   23703     WALGREENS         BW8857673   20,900    21,190   19,200   19,400   18,660   17,800   19,525   117,150

100098415   019172593   WALGREENS #09008         DSD        MAUSTON        WI   53948     WALGREENS         BW8858916   34,900    38,200   36,700   36,800   41,900   24,400   35,483   212,900

100098391   019172353   WALGREENS #01159         DSD         VERONA        WI   53593     WALGREENS         BW8858928   15,100    16,700   11,900   13,660   13,300   10,500   13,527    81,160

100103844   019179697   WALGREENS # 01159 340B               VERONA        WI   53593   PHS 340B HOSPITAL   BW8858928                                 100                        100       100

100095669   010233015   WALGREENS #01548         DSD       TROTWOOD        OH   45426     WALGREENS         BW8858930   11,800    12,700   12,400   13,300   11,700    8,000   11,650    69,900

100095607   010232892   WALGREENS #07884         DSD       SPRINGFIELD     OH   45503     WALGREENS         BW8858942   10,300    10,700    9,800   10,700    9,900    7,000    9,733    58,400

100096069   004098681   WALGREENS #07602         DSD        MONROE         CT   06468     WALGREENS         BW8860721    4,800     5,100    2,900    4,200    5,500    2,400    4,150    24,900

100101673   024119982   WALGREENS #06854         DSD      LOS ANGELES      CA   90041     WALGREENS         BW8862357    9,300     8,600    9,100    9,300   11,000    6,500    8,967    53,800

100103020   008113472   WALGREENS #01297         DSD     SAN FRANCISCO     CA   94107     WALGREENS         BW8862369    5,200     6,300    5,500    6,600    6,100    4,400    5,683    34,100

100097155   040118901   WALGREENS #07068         DSD       KENNESAW        GA   30144     WALGREENS         BW8866038    6,400     8,300    7,000    7,600    5,800    8,000    7,183    43,100

100094629   041146407   WALGREENS #07886         DSD      CHESAPEAKE       VA   23320     WALGREENS         BW8866773   10,060    12,560   13,230   13,460   12,300    8,300   11,652    69,910

100098259   019171033   WALGREENS #07797         DSD       BROOKFIELD      WI   53005     WALGREENS         BW8870467    7,200     7,200    7,200    8,100    7,400    5,700    7,133    42,800

100098480   025089607   WALGREENS #02460         DSD       CAMBRIDGE       MN   55008     WALGREENS         BW8870479   12,300    14,900   11,600   14,500   14,000    9,500   12,800    76,800

100103656   032151076   WALGREENS #01090         DSD       VANCOUVER       WA   98684     WALGREENS         BW8871899    8,500     9,400    9,100    9,000   10,000    5,000    8,500    51,000

100100257   038108126   WALGREENS #03324         DSD       SUGAR LAND      TX   77478     WALGREENS         BW8873437      (40)     320     4,500    6,800    5,700    3,200    3,413    20,480

100097629   044216507   WALGREENS #09013         DSD       SOUTHAVEN       MS   38671     WALGREENS         BW8873499    8,200     7,700    7,060    8,130    6,500    6,000    7,265    43,590

100103101   020163303   WALGREENS #02050         DSD         BELEN         NM   87002     WALGREENS         BW8879427   14,000    14,500   13,000   16,000   18,200    7,500   13,867    83,200

100097331   052220780   WALGREENS #02203         DSD      MONTGOMERY       AL   36109     WALGREENS         BW8880622   21,100    20,700   19,500   23,520   12,200   15,100   18,687   112,120

100098273   019171173   WALGREENS #01497         DSD        PLYMOUTH       WI   53073     WALGREENS         BW8881319    9,500    11,700   10,700    9,600    7,500   13,000   10,333    62,000

100103565   032149435   WALGREENS #06901         DSD      FEDERAL WAY      WA   98003     WALGREENS         BW8883907   13,500    14,800   12,630   13,100   13,000    7,900   12,488    74,930

100103563   032149419   WALGREENS #07480         DSD         AUBURN        WA   98002     WALGREENS         BW8884478   11,200    10,800    8,000   11,000    9,500    8,000    9,750    58,500

100098660   019173245   WALGREENS #07860         DSD     FOX RIVER GROVE   IL   60021     WALGREENS         BW8886179   13,000    12,200   12,100   11,700   17,300   10,300   12,767    76,600

100100119   038107052   WALGREENS #09002         DSD        HOUSTON        TX   77041     WALGREENS         BW8888375     600       480     5,600    6,300    6,700    3,100    3,797    22,780

100098887   019176537   WALGREENS #07361         DSD       NAPERVILLE      IL   60540     WALGREENS         BW8888387    7,800    11,100   10,100    9,400   10,000    8,200    9,433    56,600

100102658   020162230   WALGREENS #06880         DSD         GILBERT       AZ   85295     WALGREENS         BW8888488    8,930     7,790    8,400    7,330    7,900    5,200    7,592    45,550

100103648   032150995   WALGREENS #10141         DSD       VANCOUVER       WA   98661     WALGREENS         BW8889757    9,280     9,180    6,500   10,660   11,100    6,500    8,870    53,220

100103559   032149385   WALGREENS #07975         DSD       SPRINGFIELD     OR   97478     WALGREENS         BW8892019   19,400    22,300   20,000   19,800   21,800   11,700   19,167   115,000

100103655   032151068   WALGREENS #01089         DSD       VANCOUVER       WA   98684     WALGREENS         BW8895255    9,520     9,590    9,880    9,890   11,200    7,200    9,547    57,280

100101194   046044636   WALGREENS #02224         DSD         OCALA         FL   34474     WALGREENS         BW8895320     100       400     2,600    3,800    7,500    7,500    3,650    21,900

100058193   041065664   WESTWOOD PHY-CLOSED DOOR(X)843      RICHMOND       VA   23226   LONG TERM CARE      BW8897829    3,200     5,000    2,700    5,300    1,100    3,000    3,383    20,300

100101724   046046623   WALGREENS #07533         DSD          MIAMI        FL   33186     WALGREENS         BW8899568     (800)              600     2,530    2,600     900     1,166     5,830

100100137   038107201   WALGREENS #01953         DSD        HOUSTON        TX   77063     WALGREENS         BW8899570               200     2,700    3,600    3,000    2,000    2,300    11,500
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100100146   038107292   WALGREENS #07492        DSD       HOUSTON        TX   77069     WALGREENS         BW8901907     840     1,800    7,300   12,500   13,200   10,100    7,623    45,740

100102218   012110502   WALGREENS #07714        DSD      BEAUMONT        CA   92223     WALGREENS         BW8901919   41,800   41,100   43,700   45,500   49,900   27,000   41,500   249,000

100095094   041149393   WALGREENS #07619        DSD      LYNCHBURG       VA   24502     WALGREENS         BW8901921   14,090   14,790   13,530   14,280   24,700   13,100   15,748    94,490

100095445   041149948   WALGREENS #01255        DSD     PHILADELPHIA     PA   19116     WALGREENS         BW8904193    2,500    1,300    2,700    2,000    2,700    1,000    2,033    12,200

100095526   010232744   WALGREENS #07474        DSD   RICHMOND HEIGHTS   OH   44143     WALGREENS         BW8904206    3,360    3,960    2,960    3,590    4,000    3,000    3,478    20,870

100097772   019168880   WALGREENS #01444        DSD       LEBANON        IN   46052     WALGREENS         BW8908393   16,300   14,100   17,900   21,900   28,500   16,700   19,233   115,400

100098141   049193862   WALGREENS #02825        DSD       HOLLAND        MI   49424     WALGREENS         BW8908406   18,100   16,800   17,200   18,500   19,500   18,000   18,017   108,100

100098478   019173021   WALGREENS #01164        DSD        RIPON         WI   54971     WALGREENS         BW8910881   15,300   14,200   13,500   14,100   13,400   12,600   13,850    83,100

100099907   018400002   WALGREENS #05960        DSD      LEWISVILLE      TX   75067     WALGREENS         BW8911578    8,400   13,780   17,400   13,500    9,100    8,500   11,780    70,680

100094890   041147074   WALGREENS #07554        DSD     GLEN BURNIE      MD   21061     WALGREENS         BW8912594   11,200   13,100   11,500   13,630    9,400   10,780   11,602    69,610

100094832   055033795   WALGREENS #07805        DSD     FAYETTEVILLE     NC   28304     WALGREENS         BW8912710    9,800    8,700   12,320    7,800   11,600    7,800    9,670    58,020

100101427   032146381   WALGREENS #02679        DSD      LEWISTON        ID   83501     WALGREENS         BW8913988   24,400   24,400   21,700   25,200   24,800   19,200   23,283   139,700

100099341   021170100   WALGREENS #01235        DSD    WARRENSBURG       MO   64093     WALGREENS         BW8913990    3,800   12,000   13,200   14,000   15,000   11,600   11,600    69,600

100101945   017096784   WALGREENS #09157        DSD      CHUBBUCK        ID   83202     WALGREENS         BW8915033   21,500   21,400   19,000   18,500   19,500   17,200   19,517   117,100

100094922   055034090   WALGREENS #02681        DSD      GREENVILLE      SC   29611     WALGREENS         BW8915057   21,900   23,800   22,500   25,500   17,000   26,000   22,783   136,700

100098605   019173047   WALGREENS #07727        DSD       WINONA         MN   55987     WALGREENS         BW8916693   16,600   19,100   17,600   20,500   18,000   10,500   17,050   102,300

100094881   055033928   WALGREENS #07859        DSD      GASTONIA        NC   28054     WALGREENS         BW8919675   18,400   21,500   22,400   20,900   20,900   17,300   20,233   121,400

100103657   032151084   WALGREENS #01086        DSD      VANCOUVER       WA   98686     WALGREENS         BW8919740    9,700   11,000   12,500   10,400   14,100    6,700   10,733    64,400

100102603   046052282   WALGREENS #07650        DSD      PENSACOLA       FL   32514     WALGREENS         BW8919764     100      400     3,900    6,430    9,500    8,200    4,755    28,530

100102046   024120741   WALGREENS #07912        DSD      ROSEMEAD        CA   91770     WALGREENS         BW8920236    2,700    1,700    3,000    1,200    3,500    1,000    2,183    13,100

100097757   044217190   WALGREENS #02225        DSD    ELIZABETHTOWN     KY   42701     WALGREENS         BW8922230    1,600    9,830   11,500   12,400   13,000   10,500    9,805    58,830

100095533   055036426   WALGREENS #07475        DSD   ROANOKE RAPIDS     NC   27870     WALGREENS         BW8924157   17,200   18,300   17,800   18,900   16,100   15,100   17,233   103,400

100097101   040118364   WALGREENS #07960        DSD    LAWRENCEVILLE     GA   30043     WALGREENS         BW8924169   13,200   12,160   12,800   13,700   13,200   10,000   12,510    75,060

100103644   032150953   WALGREENS #01084        DSD    BATTLE GROUND     WA   98604     WALGREENS         BW8926935   17,900   16,500   13,200   16,200   18,500   10,000   15,383    92,300

100099738   018398339   WALGREENS #07718        DSD     FAYETTEVILLE     AR   72703     WALGREENS         BW8926947     600     5,000   11,400   10,200   12,200    9,000    8,067    48,400

100102968   046054130   WALGREENS #07938        DSD       ORLANDO        FL   32832     WALGREENS         BW8926959     200              4,100    6,400    4,700    3,500    3,780    18,900

100103561   032149401   WALGREENS #07971        DSD      REDMOND         OR   97756     WALGREENS         BW8926961   27,700   27,100   29,000   28,800   33,700   16,200   27,083   162,500

100094686   023138362   WALGREENS #07367        DSD    COLLEGE POINT     NY   11356     WALGREENS         BW8927571    1,600    1,100     800     1,700    3,200     700     1,517     9,100

100099649   037132050   WALGREENS #07083        DSD     BATON ROUGE      LA   70810     WALGREENS         BW8928713     300      920     9,400   18,700   16,600   13,000    9,820    58,920

100097311   052220582   WALGREENS #02363        DSD       MADISON        AL   35758     WALGREENS         BW8928725   22,360   22,280   20,300   21,700   15,600   17,600   19,973   119,840

100099000   019177709   WALGREENS #03321        DSD       CHICAGO        IL   60638     WALGREENS         BW8928737   15,200   16,400   12,500   16,900   21,400    9,900   15,383    92,300

100107607   019185124   WALGREENS #03321 340B             CHICAGO        IL   60638   PHS 340B HOSPITAL   BW8928737     200               100                                 150       300

100095129   010232132   WALGREENS #07865        DSD      MASSILLON       OH   44646     WALGREENS         BW8928749   15,700   17,700   14,500   16,900   12,200    6,700   13,950    83,700

100103612   032149906   WALGREENS #07782        DSD      FERNDALE        WA   98248     WALGREENS         BW8930643   17,800   15,000   16,100   18,200   16,700   10,200   15,667    94,000

100101971   046047357   WALGREENS #05490        DSD    BOYNTON BEACH     FL   33426     WALGREENS         BW8930655     170      100     5,660    7,660    7,790    7,100    4,747    28,480

100095566   023145805   WALGREENS #07739        DSD      SCRANTON        PA   18504     WALGREENS         BW8930667   17,300   18,800   17,400   18,700    9,300   17,900   16,567    99,400

100102973   046054155   WALGREENS #07931        DSD     PALM HARBOR      FL   34684     WALGREENS         BW8931087     260      330      730     9,610   12,730    9,800    5,577    33,460

100094594   055033167   WALGREENS #07341        DSD        CARY          NC   27513     WALGREENS         BW8931099    5,400    7,100    7,300    5,880    7,600    4,800    6,347    38,080

100096053   004098541   WALGREENS #06939        DSD       MEDWAY         MA   02053     WALGREENS         BW8931102    1,400    3,000    1,700    2,600    1,600    1,200    1,917    11,500

100094721   055033563   WALGREENS #07767        DSD      CONCORD         NC   28027     WALGREENS         BW8932394    9,700   11,260   10,600   10,500   11,700   10,000   10,627    63,760

100099983   018400762   WALGREENS #07892        DSD      LONGVIEW        TX   75605     WALGREENS         BW8933625    1,500   11,640   30,360   29,720   22,200   14,700   18,353   110,120

100097240   040119685   WALGREENS #02171        DSD      SAVANNAH        GA   31405     WALGREENS         BW8933752   24,800   25,620   23,000   25,600   22,400   25,000   24,403   146,420

100102082   012109066   WALGREENS #07867        DSD     CHULA VISTA      CA   91915     WALGREENS         BW8933764    8,500    6,900    5,800    8,200    8,100    6,200    7,283    43,700

100103580   032149583   WALGREENS #07908        DSD      COVINGTON       WA   98042     WALGREENS         BW8933776   11,400    8,900    7,730    8,700    9,300    4,300    8,388    50,330
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100095119   055035964   WALGREENS #01257        DSD     MARTINSVILLE     VA   24112    WALGREENS        BW8933788   21,200   20,100   23,500   29,000   27,000   18,500   23,217   139,300

100100016   018401091   WALGREENS #09023        DSD       CROWLEY        TX   76036    WALGREENS        BW8939312    5,520   26,100   22,200   24,200   16,100   15,000   18,187   109,120

100102085   017097485   WALGREENS #01776        DSD   PLEASANT GROVE     UT   84062    WALGREENS        BW8939336   17,200   15,500   16,200   14,500   17,600    9,100   15,017    90,100

100103709   046055947   WALGREENS #06860        DSD       VALRICO        FL   33596    WALGREENS        BW8940694     100      100      900     9,000    8,800    7,700    4,433    26,600

100102431   046051458   WALGREENS #07651        DSD        LARGO         FL   33771    WALGREENS        BW8940923     300     1,000    1,700   13,210   14,800   10,800    6,968    41,810

100097095   040118307   WALGREENS #06185        DSD      SNELLVILLE      GA   30039    WALGREENS        BW8942915    3,600    4,300    4,000    5,000    5,700    4,100    4,450    26,700

100103626   032150771   WALGREENS #06814        DSD      PUYALLUP        WA   98374    WALGREENS        BW8946759    8,200    9,100    8,000    9,000   10,600    6,600    8,583    51,500

100099159   044217638   WALGREENS #07672        DSD        SHILOH        IL   62221    WALGREENS        BW8946937     500    10,900   12,300   12,930   16,200    9,900   10,455    62,730

100098109   049193706   WALGREENS #09130        DSD     BATTLE CREEK     MI   49014    WALGREENS        BW8948955   19,600   23,900   22,900   22,900   27,800   16,500   22,267   133,600

100107806   049196428   WALGREENS #09130 340B           BATTLE CREEK     MI   49014   PHS 340B CLINIC   BW8948955     100               100                                 100       200

100098128   049193763   WALGREENS #09133        DSD       JACKSON        MI   49201    WALGREENS        BW8948979   28,600   32,600   28,200   32,800   27,400   19,700   28,217   169,300

100094702   010228874   WALGREENS #01317        DSD      COLUMBUS        OH   43207    WALGREENS        BW8949161   22,800   24,100   24,300   23,200   23,000   17,500   22,483   134,900

100094581   010228411   WALGREENS #07524        DSD   CANAL WINCHESTER   OH   43110    WALGREENS        BW8950164   10,940   13,000   11,240   13,040   11,100   10,900   11,703    70,220

100095000   055034447   WALGREENS #07748        DSD     JACKSONVILLE     NC   28546    WALGREENS        BW8950176    8,400    9,300    9,100    9,500    8,300    6,800    8,567    51,400

100094919   055034074   WALGREENS #07715        DSD      GREENVILLE      NC   27858    WALGREENS        BW8950188    3,200    4,500    3,300    4,300    4,000    3,300    3,767    22,600

100099761   018398552   WALGREENS #01423        DSD       BETHANY        OK   73008    WALGREENS        BW8950847     300      200    19,600   23,900   15,100   17,000   12,683    76,100

100098758   019174227   WALGREENS #01449        DSD      BROADVIEW       IL   60155    WALGREENS        BW8953730   11,100   11,300    9,000   11,800   11,100    9,000   10,550    63,300

100100263   037132589   WALGREENS #04078        DSD        KATY          TX   77493    WALGREENS        BW8953742     600      280     7,800   13,040    9,100    4,700    5,920    35,520

100097651   037103846   WALGREENS #09142        DSD       NATCHEZ        MS   39120    WALGREENS        BW8954340   17,600   17,500   17,700   18,600   16,700   13,500   16,933   101,600

100098604   025090860   WALGREENS #09094        DSD        AUSTIN        MN   55912    WALGREENS        BW8954352    3,100    4,600    3,000    3,200    3,700    3,000    3,433    20,600

100097676   052222414   WALGREENS #09037        DSD       LAUREL         MS   39440    WALGREENS        BW8954376   16,200   25,100   26,200   23,100   19,100   20,000   21,617   129,700

100102106   017097550   WALGREENS #02529        DSD      SYRACUSE        UT   84075    WALGREENS        BW8956077   10,600   10,600   11,000   12,000   13,300    5,500   10,500    63,000

100101422   017096552   WALGREENS #02523        DSD       LAYTON         UT   84041    WALGREENS        BW8956089   21,850   24,800   17,000   21,600   19,500   12,000   19,458   116,750

100101752   046046698   WALGREENS #06603        DSD        MIAMI         FL   33196    WALGREENS        BW8956180              100      160     2,500    3,700    3,100    1,912     9,560

100095757   055036939   WALGREENS #01560        DSD     WILMINGTON       NC   28412    WALGREENS        BW8957310    9,300    9,300    8,100    8,000   10,100    5,600    8,400    50,400

100102557   046052084   WALGREENS #07219        DSD      DAVENPORT       FL   33896    WALGREENS        BW8957334     100              4,500    5,600    5,800    4,600    4,120    20,600

100094891   041147082   WALGREENS #07701        DSD     GLEN BURNIE      MD   21061    WALGREENS        BW8958704    6,700    5,530    5,000    6,400    7,000    6,000    6,105    36,630

100095582   010232827   WALGREENS #07941        DSD        SIDNEY        OH   45365    WALGREENS        BW8959302   11,700   11,200   11,800   10,800   12,200    9,900   11,267    67,600

100099346   021170159   WALGREENS #01244        DSD      GLADSTONE       MO   64118    WALGREENS        BW8961054    2,000    5,500    7,000    7,800    9,100    5,500    6,150    36,900

100097115   040118505   WALGREENS #02455        DSD       MARIETTA       GA   30066    WALGREENS        BW8961066    5,530    4,700    4,500    4,200    5,200    4,500    4,772    28,630

100094875   010229492   WALGREENS #02226        DSD   GARFIELD HEIGHTS   OH   44125    WALGREENS        BW8963224    5,600    6,200    5,500    6,500    5,100    6,600    5,917    35,500

100103570   032149484   WALGREENS #07700        DSD     FEDERAL WAY      WA   98023    WALGREENS        BW8963236   13,230   10,930   15,000   12,400   11,800    9,800   12,193    73,160

100097062   040117978   WALGREENS #06073        DSD     SUMMERVILLE      SC   29485    WALGREENS        BW8963248   14,090   13,400   14,590   12,030   14,100   11,700   13,318    79,910

100095423   055036277   WALGREENS #07506        DSD     ORANGEBURG       SC   29115    WALGREENS        BW8963250   10,500    9,100    9,100    7,500    8,100    7,500    8,633    51,800

100095601   055036657   WALGREENS #07822        DSD     SPARTANBURG      SC   29307    WALGREENS        BW8963262   35,800   38,200   34,700   39,600   45,700   35,500   38,250   229,500

100095723   055036871   WALGREENS #01073        DSD    WEST COLUMBIA     SC   29170    WALGREENS        BW8963313   15,890   15,390   15,660   17,720   16,560   12,900   15,687    94,120

100101539   038108936   WALGREENS #02641        DSD   HIGHLANDS RANCH    CO   80126    WALGREENS        BW8965709    3,800    4,200    4,200    2,900    3,600    4,200    3,817    22,900

100100001   018400945   WALGREENS #02537        DSD      ARLINGTON       TX   76011    WALGREENS        BW8965711    3,600   17,680   17,200   16,500   17,600   10,600   13,863    83,180

100103669   032151209   WALGREENS #01078        DSD        PASCO         WA   99301    WALGREENS        BW8965759   15,100   15,700   15,500   14,500   17,000   15,500   15,550    93,300

100095822   023146258   WALGREENS #07311        DSD     BERGENFIELD      NJ   07621    WALGREENS        BW8966686    4,500    4,500    4,100    4,000    5,500    3,400    4,333    26,000

100095978   004098061   WALGREENS #07617        DSD      HAVERHILL       MA   01832    WALGREENS        BW8968010    3,660    4,700    5,320    5,100    4,700    4,100    4,597    27,580

100095891   004094748   WALGREENS #09011        DSD       DANVERS        MA   01923    WALGREENS        BW8968034    4,500    4,100    2,900    4,900    5,900    2,800    4,183    25,100

100095867   004094581   WALGREENS #07220        DSD     CHELMSFORD       MA   01824    WALGREENS        BW8968058    3,200    3,430    2,700    2,960    2,700    2,430    2,903    17,420

100101608   008112409   WALGREENS #02662        DSD        RENO          NV   89511    WALGREENS        BW8969341   19,640   19,700   18,300   20,530   24,300   16,400   19,812   118,870
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100099144   044217489   WALGREENS #03714        DSD        ALTON         IL   62002     WALGREENS         BW8969567     300     18,300   23,000   26,800   29,300   11,800   18,250   109,500

100103647   032150987   WALGREENS #01093        DSD      VANCOUVER       WA   98660     WALGREENS         BW8972627   12,200    14,130   12,850   14,100   14,900    9,600   12,963    77,780

100096138   041152389   WALGREENS #07124        DSD     PISCATAWAY       NJ   08854     WALGREENS         BW8972639    2,950     3,600    2,900    2,600    2,900    1,800    2,792    16,750

100096312   023147264   WALGREENS #05985        DSD   PALMER TOWNSHIP    PA   18045     WALGREENS         BW8972920    9,760    10,300    9,600    8,700    8,100   11,000    9,577    57,460

100099608   037131631   WALGREENS #02004        DSD      LAFAYETTE       LA   70508     WALGREENS         BW8973150               700     5,700   10,700    8,200    8,500    6,760    33,800

100095876   004094623   WALGREENS #07814        DSD       CLINTON        CT   06413     WALGREENS         BW8973504    4,300     4,600    2,700    4,600    5,100    1,600    3,817    22,900

100052599   004054098   WALGREENS CO 07814-340B           CLINTON        CT   06413    PHS 340B CLINIC    BW8973504     100                                                    100       100

100095960   041152041   WALGREENS #07649        DSD      GLENDORA        NJ   08029     WALGREENS         BW8973794    3,800     5,400    1,800    4,500    4,100    2,500    3,683    22,100

100100393   018402347   WALGREENS #07939        DSD     SAN ANTONIO      TX   78251     WALGREENS         BW8976295     600      1,420   12,300   20,900    5,600   14,000    9,137    54,820

100100283   038108266   WALGREENS #07878        DSD       DAYTON         TX   77535     WALGREENS         BW8976877    8,660     2,420   33,360   44,480   27,900   19,600   22,737   136,420

100097207   040119412   WALGREENS #07134        DSD       ATHENS         GA   30606     WALGREENS         BW8977146   16,700    16,500   15,100   16,600    9,600   11,000   14,250    85,500

100101751   038109587   WALGREENS #09212        DSD       GREELEY        CO   80634     WALGREENS         BW8978364   23,100    26,000   21,800   25,100   25,400   20,800   23,700   142,200

100096206   004099622   WALGREENS #07258        DSD      SOUTHBURY       CT   06488     WALGREENS         BW8980876    4,100     4,300    6,500    4,400    4,200    2,800    4,383    26,300

100098093   049193607   WALGREENS #07952        DSD        IONIA         MI   48846     WALGREENS         BW8981311   23,300    21,900   21,200   23,600   20,800   20,700   21,917   131,500

100095019   055034496   WALGREENS #01253        DSD     KERNERSVILLE     NC   27284     WALGREENS         BW8984521   10,500    10,970   12,000    9,700    9,900    6,800    9,978    59,870

100098451   019172783   WALGREENS #09214        DSD      LA CROSSE       WI   54603     WALGREENS         BW8984571   25,000    22,000   22,600   23,200   27,100   14,500   22,400   134,400

100099447   021171165   WALGREENS #09049        DSD      PITTSBURG       KS   66762     WALGREENS         BW8986157   10,900    15,700   16,800   16,400   17,100   11,000   14,650    87,900

100098529   025090118   WALGREENS #02078        DSD       ANDOVER        MN   55304     WALGREENS         BW8988961    6,600     7,000    6,700    5,800    6,600    3,200    5,983    35,900

100099187   044217844   WALGREENS #09145        DSD     SPRINGFIELD      IL   62702     WALGREENS         BW8988973    4,000    14,000   15,500   15,100   17,000    9,000   12,433    74,600

100102053   017097212   WALGREENS #02519        DSD       CLINTON        UT   84015     WALGREENS         BW8989002   17,200    19,700   17,700   18,800   17,500   14,500   17,567   105,400

100097303   052220509   WALGREENS #02589        DSD       DECATUR        AL   35601     WALGREENS         BW8989014   19,600    18,100   19,900   17,100   13,000   14,000   16,950   101,700

100101536   038108928   WALGREENS #07432        DSD      LITTLETON       CO   80123     WALGREENS         BW8989026   11,250    12,100   10,300   11,800   12,600    7,600   10,942    65,650

100098937   019177071   WALGREENS #07630        DSD       CHICAGO        IL   60610     WALGREENS         BW8989040    6,360     4,900    6,500    7,500    5,900    4,100    5,877    35,260

100095168   055036079   WALGREENS #02700        DSD       MONROE         NC   28110     WALGREENS         BW8989153   11,800    11,600   12,500   10,700   11,700    9,500   11,300    67,800

100098009   049192765   WALGREENS #07854        DSD     GARDEN CITY      MI   48135     WALGREENS         BW8989165   21,800    22,400   21,600   26,600   30,300   28,300   25,167   151,000

100098019   049192864   WALGREENS #02023        DSD       MONROE         MI   48162     WALGREENS         BW8992085   46,400    47,600   42,200   46,900   42,000   23,500   41,433   248,600

100095644   055036723   WALGREENS #01072        DSD     SUMMERVILLE      SC   29483     WALGREENS         BW8992097   30,660    36,430   33,490   34,170   35,500   38,000   34,708   208,250

100099544   037107961   WALGREENS #07261        DSD       GRETNA         LA   70056     WALGREENS         BW8992112     500      2,300    7,500   11,600   11,800    8,400    7,017    42,100

100103255   046055590   WALGREENS #07089        DSD      KEY WEST        FL   33040     WALGREENS         BW8993013     600       400      300     1,300    1,700    1,500     967      5,800

100099673   037132142   WALGREENS #02012        DSD      ALEXANDRIA      LA   71303     WALGREENS         BW8996449    1,200     1,100   14,900   33,000   33,500   32,200   19,317   115,900

100103120   046054940   WALGREENS #07385        DSD    WINTER GARDEN     FL   34787     WALGREENS         BW8997883      (20)     400     1,900    4,400    3,200    2,000    1,980    11,880

100101423   017096560   WALGREENS #02527        DSD     SOUTH OGDEN      UT   84405     WALGREENS         BW8997895   14,600    17,200   14,700   17,100   16,200   10,500   15,050    90,300

100103517   008115899   WALGREENS #05699        DSD       REDDING        CA   96003     WALGREENS         BW8998099   43,930    49,900   44,230   40,830   45,700   36,100   43,448   260,690

100095794   010233213   WALGREENS #01398        DSD     YOUNGSTOWN       OH   44502     WALGREENS         BW8998671   17,200    17,200   15,500   17,700   17,400   18,800   17,300   103,800

100099504   021171595   WALGREENS #02472        DSD        OMAHA         NE   68135     WALGREENS         BW8998734    8,600     8,600    9,500    9,500   11,800    5,600    8,933    53,600

100098665   019173294   WALGREENS #06228        DSD      GLENVIEW        IL   60025     WALGREENS         BW9000744    8,000     8,900    9,600    8,900   10,100    4,600    8,350    50,100

100095111   010232025   WALGREENS #07910        DSD      MANSFIELD       OH   44907     WALGREENS         BW9001316    5,300     4,200    6,000    5,200    6,100    3,600    5,067    30,400

100098003   049192708   WALGREENS #07206        DSD   DEARBORN HEIGHTS   MI   48125     WALGREENS         BW9001885   50,400    53,400   45,200   56,000   52,800   34,500   48,717   292,300

100090100   049187930   WALGREENS #07206 340B         DEARBORN HEIGHTS   MI   48125   PHS 340B HOSPITAL   BW9001885    1,500               100               500               700      2,100

100095935   041151977   WALGREENS #07121        DSD       EVESHAM        NJ   08053     WALGREENS         BW9007863    3,500     3,500    2,800    3,800    3,800    4,300    3,617    21,700

100098922   019176891   WALGREENS #07179        DSD       CHICAGO        IL   60605     WALGREENS         BW9010000    4,800     3,800    5,900    6,430    7,300    3,000    5,205    31,230

100100282   038108258   WALGREENS #01518        DSD       CROSBY         TX   77532     WALGREENS         BW9010012     100       900    12,100   20,200   13,200    9,500    9,333    56,000

100097357   052221002   WALGREENS #01777        DSD        MOBILE        AL   36608     WALGREENS         BW9010024   40,600    41,000   35,700   37,700   20,000   28,030   33,838   203,030

100103062   046054676   WALGREENS #06181        DSD      ROCKLEDGE       FL   32955     WALGREENS         BW9010036               100     2,700   10,000    9,600    6,000    5,680    28,400
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100098122   019170746   WALGREENS #09146        DSD       STURGIS       MI   49091     WALGREENS         BW9012888   37,800   43,100   40,900   40,000   38,117   34,700   39,103   234,617

100101655   038109306   WALGREENS #06826        DSD       ARVADA        CO   80403     WALGREENS         BW9012890    5,600    5,000    4,300    5,200    6,300    3,600    5,000    30,000

100098488   025089680   WALGREENS #09065        DSD     NORTHFIELD      MN   55057     WALGREENS         BW9012903    7,200    8,100    8,800    9,500   10,700    5,100    8,233    49,400

100103349   038110106   WALGREENS #09034        DSD       ARVADA        CO   80003     WALGREENS         BW9012915    9,000    8,400    9,300    8,400    8,900    6,700    8,450    50,700

100102090   012109082   WALGREENS #07869        DSD    NATIONAL CITY    CA   91950     WALGREENS         BW9013044   23,600   20,410   18,800   22,300   21,400   13,000   19,918   119,510

100090188   012098590   WALGREENS #7869 340B           NATIONAL CITY    CA   92173    PHS 340B CLINIC    BW9013044     500                       1,500                      1,000     2,000

100095495   055036327   WALGREENS #01611        DSD       RALEIGH       NC   27609     WALGREENS         BW9013056    4,800    4,300    4,500    4,900    4,800    3,500    4,467    26,800

100101917   020160275   WALGREENS #07784        DSD       PHOENIX       AZ   85051     WALGREENS         BW9013107    6,700    6,100    6,700    7,500   10,000    4,300    6,883    41,300

100102069   017097295   WALGREENS #07982        DSD      KAYSVILLE      UT   84037     WALGREENS         BW9013854   10,600   10,000    9,600   11,000   12,000    6,500    9,950    59,700

100098610   025090910   WALGREENS #09350        DSD      FAIRMONT       MN   56031     WALGREENS         BW9013866   11,000    8,600   10,000   10,300   12,600    3,400    9,317    55,900

100099536   037104729   WALGREENS #06672        DSD      METAIRIE       LA   70003     WALGREENS         BW9013878     200     1,930   13,600   20,000   18,000   11,300   10,838    65,030

100099672   037132134   WALGREENS #01657        DSD     ALEXANDRIA      LA   71301     WALGREENS         BW9013880     530     2,000   19,400   44,330   46,300   28,500   23,510   141,060

100087128   003090621   WALGREENS #00251                 FAJARDO        PR   00738     WALGREENS         BW9013917              100      100     1,600                       600      1,800

100094733   010229070   WALGREENS #01034        DSD      CRAFTON        PA   15205     WALGREENS         BW9014894    4,900    5,200    6,400    5,000    5,800    4,600    5,317    31,900

100102382   012111062   WALGREENS #07786        DSD      RIVERSIDE      CA   92508     WALGREENS         BW9015199   19,500   21,100   23,100   24,100   24,200   17,800   21,633   129,800

100099024   019177949   WALGREENS #07687        DSD      CHICAGO        IL   60647     WALGREENS         BW9017775    8,400    8,600    8,300    9,300   10,700    7,600    8,817    52,900

100096086   023146795   WALGREENS #06908        DSD   NEW BRUNSWICK     NJ   08901     WALGREENS         BW9017802    2,300    2,600    2,230    1,930    2,500    2,200    2,293    13,760

100099789   018398834   WALGREENS #09223        DSD    MIDWEST CITY     OK   73130     WALGREENS         BW9017838     400      660    26,100   35,600   30,600   21,200   19,093   114,560

100106664   018404095   WALGREENS #09223   340B        MIDWEST CITY     OK   73130   PHS 340B HOSPITAL   BW9017838    1,000                                                 1,000     1,000

100096171   004099382   WALGREENS #07329        DSD      ROCKLAND       MA   02370     WALGREENS         BW9017903    3,000    4,000    3,600    4,500    4,000    3,500    3,767    22,600

100099362   021170316   WALGREENS #09382        DSD       CLINTON       MO   64735     WALGREENS         BW9017953    4,100   14,500   17,000   16,500   17,000   13,000   13,683    82,100

100102701   024121046   WALGREENS #07909        DSD     BAKERSFIELD     CA   93313     WALGREENS         BW9018498   13,200   15,600   17,960   14,200   20,800    8,800   15,093    90,560

100094916   055034041   WALGREENS #02453        DSD     GREENVILLE      NC   27858     WALGREENS         BW9020924    9,800   10,480    9,500    9,900    8,900    7,400    9,330    55,980

100097309   052220566   WALGREENS #02557        DSD   MUSCLE SHOALS     AL   35661     WALGREENS         BW9020936   30,400   31,300   29,840   29,900   25,100   20,300   27,807   166,840

100094887   041147041   WALGREENS #02732        DSD     GLEN ALLEN      VA   23059     WALGREENS         BW9024720    6,400   10,300    8,200    7,400    9,800    3,300    7,567    45,400

100100155   038107342   WALGREENS #02428        DSD      HOUSTON        TX   77073     WALGREENS         BW9049912     100      320    24,600   26,340    9,200   14,200   12,460    74,760

100098816   019174805   WALGREENS #07866        DSD       JOLIET        IL   60435     WALGREENS         BW9055977   25,400   26,600   24,600   23,500   32,100   25,500   26,283   157,700

100097752   044217141   WALGREENS #07657        DSD     OWENSBORO       KY   42301     WALGREENS         BW9056006   34,400   37,500   35,600   39,500   44,100   25,500   36,100   216,600

100105765   044220608   WALGREENS #07657 340B           OWENSBORO       KY   42301    PHS 340B CLINIC    BW9056006                                500                        500       500

100100432   037133108   WALGREENS #09076        DSD       MISSION       TX   78574     WALGREENS         BW9057351     900     2,300    4,100    7,900    5,500    4,200    4,150    24,900

100098052   049193193   WALGREENS #07094        DSD   WEST BLOOMFIELD   MI   48322     WALGREENS         BW9057399    7,400    9,600   10,200    9,700    9,200    5,600    8,617    51,700

100099182   044217802   WALGREENS #09176        DSD    JACKSONVILLE     IL   62650     WALGREENS         BW9058795    3,600   11,200   13,400   15,900   18,200   10,800   12,183    73,100

100101900   008112532   WALGREENS #07653        DSD      RED BLUFF      CA   96080     WALGREENS         BW9058808   42,000   46,500   44,800   41,900   47,400   27,000   41,600   249,600

100102815   008112979   WALGREENS #07204        DSD       FRESNO        CA   93711     WALGREENS         BW9059925    9,900   11,500   10,700   10,600   11,900    5,400   10,000    60,000

100102181   012110320   WALGREENS #07176        DSD      SAN DIEGO      CA   92119     WALGREENS         BW9059949   14,700   15,000   15,400   14,900   16,360   13,000   14,893    89,360

100101797   012108837   WALGREENS #02155        DSD     MONTEBELLO      CA   90640     WALGREENS         BW9059951    9,000   10,100   10,700   12,200   11,300    9,800   10,517    63,100

100097342   052220863   WALGREENS #09256        DSD     ENTERPRISE      AL   36330     WALGREENS         BW9061172   24,800   24,100   24,500   23,500   18,300   18,500   22,283   133,700

100102615   046052340   WALGREENS #01222        DSD     PENSACOLA       FL   32534     WALGREENS         BW9061209     200     1,100    9,700   20,700   21,100   23,600   12,733    76,400

100094909   055033993   WALGREENS #15440        DSD     JAMESTOWN       NC   27282     WALGREENS         BW9064116    6,690    8,730    6,800    6,900    9,300    6,100    7,420    44,520

100099235   044218321   WALGREENS #05666        DSD    HOUSE SPRINGS    MO   63051     WALGREENS         BW9064130     500    17,700   23,400   26,800   23,300   19,600   18,550   111,300

100101844   038109850   WALGREENS #09569        DSD    PUEBLO WEST      CO   81007     WALGREENS         BW9066172   18,700   19,600   16,700   20,300   21,800   14,900   18,667   112,000

100097962   019170571   WALGREENS #07736        DSD   CRAWFORDSVILLE    IN   47933     WALGREENS         BW9066196   21,100   19,400   20,300   24,100   26,600   20,000   21,917   131,500

100100198   038107706   WALGREENS #09161        DSD       CONROE        TX   77304     WALGREENS         BW9066211    1,100     900    11,200   15,500   11,800    8,500    8,167    49,000

100100107   038106963   WALGREENS #09293        DSD      HOUSTON        TX   77025     WALGREENS         BW9066223     600      500     7,200    7,800    8,400    4,500    4,833    29,000
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100094471   010228296   WALGREENS #01234     DSD       BEREA        OH   44017     WALGREENS         BW9066982    8,100    9,220    7,630    8,950   11,400    7,200    8,750    52,500

100098594   025090761   WALGREENS #07218     DSD       BLAINE       MN   55449     WALGREENS         BW9066994    6,960    9,760    9,030    9,530   12,700    4,600    8,763    52,580

100099403   021170720   WALGREENS #07743     DSD    SPRINGFIELD     MO   65804     WALGREENS         BW9072808   12,000   14,300   15,700   17,800   18,500   14,500   15,467    92,800

100097548   044215806   WALGREENS #07792     DSD    MILLINGTON      TN   38053     WALGREENS         BW9073317   11,800   11,700   10,600   11,600   12,700   11,100   11,583    69,500

100098889   019176552   WALGREENS #01131     DSD   NORTH AURORA     IL   60542     WALGREENS         BW9075068   11,900   12,300   11,300   11,500   13,800   10,400   11,867    71,200

100099166   044217703   WALGREENS #01309     DSD     HIGHLAND       IL   62249     WALGREENS         BW9076628     600    16,400   18,500   18,600   23,000    9,100   14,367    86,200

100101719   038109504   WALGREENS #09564     DSD     LOVELAND       CO   80537     WALGREENS         BW9076630   11,200   14,130   11,200   10,700   13,200    9,100   11,588    69,530

100094843   041146944   WALGREENS #01106     DSD    FLOURTOWN       PA   19031     WALGREENS         BW9077618    4,400    4,000    3,900    3,600    3,600    2,030    3,588    21,530

100101986   038110015   WALGREENS #09568     DSD      PUEBLO        CO   81004     WALGREENS         BW9078848   14,900   14,800   16,000   17,100   17,500   10,800   15,183    91,100

100098363   019172072   WALGREENS #09363     DSD      RACINE        WI   53402     WALGREENS         BW9079319   20,100   21,900   21,100   24,200   24,200   13,000   20,750   124,500

100087779   019151142   WALGREENS # 09363 340B        RACINE        WI   53402   PHS 340B HOSPITAL   BW9079319    1,500    1,000                                        1,250     2,500

100100156   038107359   WALGREENS #09163     DSD     HOUSTON        TX   77075     WALGREENS         BW9080336              300    12,440   17,000   18,200    8,700   11,328    56,640

100098452   019172791   WALGREENS #09168     DSD      SPARTA        WI   54656     WALGREENS         BW9081136   14,500   16,600   12,400   14,900   17,100    7,000   13,750    82,500

100100400   018402412   WALGREENS #07923     DSD    SAN ANTONIO     TX   78259     WALGREENS         BW9081148     300     1,500    6,220   10,500   11,200    5,800    5,920    35,520

100096255   004100297   WALGREENS #06592     DSD     WARWICK        RI   02889     WALGREENS         BW9082431    7,200    9,300    8,730    8,600    9,400    8,600    8,638    51,830

100097497   052221622   WALGREENS #09430     DSD   JEFFERSON CITY   TN   37760     WALGREENS         BW9087710   37,600   40,640   38,500   39,000   29,500   28,500   35,623   213,740

100103074   008113605   WALGREENS #07150     DSD   SAN FRANCISCO    CA   94112     WALGREENS         BW9087722   11,500   11,000   10,000   11,500   10,700    5,800   10,083    60,500

100095759   055036954   WALGREENS #07919     DSD    WILMINGTON      NC   28405     WALGREENS         BW9087760    9,000    9,100   10,430   10,360   13,900    6,500    9,882    59,290

100098916   019176834   WALGREENS #09001     DSD      CHICAGO       IL   60601     WALGREENS         BW9087772    2,900    3,400    3,000    3,100    4,100    2,000    3,083    18,500

100101953   017096867   WALGREENS #09242     DSD     KALISPELL      MT   59901     WALGREENS         BW9087784   39,630   43,060   37,230   40,300   44,800   22,500   37,920   227,520

100098117   019170704   WALGREENS #07894     DSD    KALAMAZOO       MI   49048     WALGREENS         BW9087796   27,700   28,500   29,400   27,700   22,400   18,300   25,667   154,000

100100131   038107144   WALGREENS #09164     DSD     HOUSTON        TX   77057     WALGREENS         BW9087811              100     3,100    2,700    2,600    1,100    1,920     9,600

100095457   041150375   WALGREENS #07543     DSD    PHILADELPHIA    PA   19145     WALGREENS         BW9091404    7,700    9,200    7,730    8,900    7,900    6,100    7,922    47,530

100096064   023146753   WALGREENS #01451     DSD      MILFORD       CT   06460     WALGREENS         BW9093612    5,400    5,700    5,000    5,400    6,800    2,900    5,200    31,200

100094746   041146571   WALGREENS #07740     DSD       DARBY        PA   19023     WALGREENS         BW9093648    2,100    3,000    1,700    2,700    2,200    1,100    2,133    12,800

100103247   046055566   WALGREENS #06407     DSD     KEY LARGO      FL   33037     WALGREENS         BW9093698     300      800     3,000    7,600    7,400    7,700    4,467    26,800

100096041   041152249   WALGREENS #06741     DSD      MANTUA        NJ   08051     WALGREENS         BW9097141    6,690    7,430    5,960    6,120    6,900    5,800    6,483    38,900

100094711   010228965   WALGREENS #09093     DSD     COLUMBUS       OH   43230     WALGREENS         BW9097165    3,300    4,500    5,100    3,500    4,600    4,100    4,183    25,100

100100142   038107250   WALGREENS #09291     DSD     HOUSTON        TX   77066     WALGREENS         BW9097432     700      400     6,600   11,640    9,300    7,020    5,943    35,660

100103437   008114751   WALGREENS #02474     DSD      SPARKS        NV   89436     WALGREENS         BW9097470   23,830   23,200   21,300   23,700   23,100   19,200   22,388   134,330

100098278   019171223   WALGREENS #07731     DSD      SUSSEX        WI   53089     WALGREENS         BW9097482   17,900   17,600   15,300   17,600   19,200   15,500   17,183   103,100

100098176   049194142   WALGREENS #09148     DSD      ALPENA        MI   49707     WALGREENS         BW9099157   19,000   23,000   21,200   23,500   23,800   15,100   20,933   125,600

100098669   019173336   WALGREENS #07824     DSD    HAINESVILLE     IL   60030     WALGREENS         BW9099169   14,200   15,200   12,100   15,730    8,600   16,500   13,722    82,330

100096090   004098822   WALGREENS #06914     DSD    NEW HAVEN       CT   06513     WALGREENS         BW9099638    3,800    5,600    3,200    3,300    4,900    2,800    3,933    23,600

100101933   046047225   WALGREENS #07979     DSD   JACKSONVILLE     FL   32222     WALGREENS         BW9100152     100              7,100    9,100   12,600    9,000    7,580    37,900

100099539   037105163   WALGREENS #02468     DSD      METAIRIE      LA   70006     WALGREENS         BW9104910     900     3,100   24,100   36,600   36,500   27,300   21,417   128,500

100095770   055037036   WALGREENS #07397     DSD   WINSTON SALEM    NC   27103     WALGREENS         BW9109302   15,200   16,600   15,700   15,500   16,100   13,000   15,350    92,100

100096207   004099630   WALGREENS #07641     DSD   SOUTHINGTON      CT   06489     WALGREENS         BW9111143    5,300    5,700    4,200    5,000    5,400    3,200    4,800    28,800

100101949   017096818   WALGREENS #09239     DSD      MIDVALE       UT   84047     WALGREENS         BW9112309   16,600   17,200   17,800   17,300   18,100   14,000   16,833   101,000

100103690   046055707   WALGREENS #07583     DSD    TALLAHASSEE     FL   32303     WALGREENS         BW9112892                      2,200    2,900    4,700    3,600    3,350    13,400

100095585   055036608   WALGREENS #09230     DSD   SIMPSONVILLE     SC   29680     WALGREENS         BW9113298   21,700   23,280   22,300   24,000   18,500   27,800   22,930   137,580

100097482   052221473   WALGREENS #09429     DSD   ELIZABETHTON     TN   37643     WALGREENS         BW9115331   34,500   34,600   30,700   33,100   26,400   30,500   31,633   189,800

100094910   055034009   WALGREENS #09135     DSD    GREENSBORO      NC   27405     WALGREENS         BW9115343   15,740   12,600   11,720   13,940   11,900    9,100   12,500    75,000

100097917   019170332   WALGREENS #09279     DSD      MARION        IN   46953     WALGREENS         BW9115355   36,600   38,600   38,600   42,100   35,100   36,100   37,850   227,100
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100097419   044215376   WALGREENS #09064     DSD           SMYRNA          TN   37167   WALGREENS   BW9115367   13,830   13,200   13,600   14,600   17,700   13,500   14,405    86,430

100095577   010232801   WALGREENS #02749     DSD           SHARON          PA   16146   WALGREENS   BW9115418   14,800   16,500   14,100   15,700   12,900   12,600   14,433    86,600

100094911   055034017   WALGREENS #09236     DSD        GREENSBORO         NC   27455   WALGREENS   BW9115672    8,300    8,100    8,700    7,200    6,300    7,500    7,683    46,100

100102098   017097527   WALGREENS #09237     DSD            SANDY          UT   84070   WALGREENS   BW9116953   18,700   15,500   16,000   18,500   17,600   13,500   16,633    99,800

100102755   046053074   WALGREENS #07819     DSD          LAKE MARY        FL   32746   WALGREENS   BW9118642     730              3,700    4,500    3,900    4,100    3,386    16,930

100097986   049192534   WALGREENS #07787     DSD      SAINT CLAIR SHORES   MI   48080   WALGREENS   BW9122374   14,200   14,000   16,800   16,800   21,400   12,500   15,950    95,700

100097097   040118323   WALGREENS #07946     DSD          CUMMING          GA   30041   WALGREENS   BW9122386    6,600    6,300    6,500    5,500    6,600    4,500    6,000    36,000

100102743   024121178   WALGREENS #09030     DSD         RIDGECREST        CA   93555   WALGREENS   BW9122677   32,400   28,900   30,200   30,400   31,000   21,200   29,017   174,100

100100405   037132837   WALGREENS #09205     DSD          ROCKPORT         TX   78382   WALGREENS   BW9122689    1,000    1,500   14,400   26,500   22,800   11,000   12,867    77,200

100099251   044218487   WALGREENS #07296     DSD         SAINT LOUIS       MO   63115   WALGREENS   BW9125774     100     8,500   13,600   13,800   13,500   12,300   10,300    61,800

100100234   037132399   WALGREENS #09504     DSD          RICHMOND         TX   77407   WALGREENS   BW9125786               60     4,100    5,500    3,500    2,700    3,172    15,860

100094903   055033969   WALGREENS #09090     DSD           GRAHAM          NC   27253   WALGREENS   BW9125798    8,200   11,500   11,200   10,300    8,800    8,500    9,750    58,500

100098907   019176743   WALGREENS #07062     DSD         NAPERVILLE        IL   60563   WALGREENS   BW9125801    5,500    4,200    6,000    5,000    4,500    7,000    5,367    32,200

100098091   049193581   WALGREENS #09132     DSD         GREENVILLE        MI   48838   WALGREENS   BW9131272   45,900   50,500   45,700   46,800   39,300   46,800   45,833   275,000

100087110   003090282   WALGREENS #00082                  TOA BAJA         PR   00949   WALGREENS   BW9131715              500                                          500       500

100103761   020164780   WALGREENS #09264     DSD          MARICOPA         AZ   85139   WALGREENS   BW9131727   18,830   18,830   18,230   18,500   20,500   12,900   17,965   107,790

100102531   046051953   WALGREENS #09014     DSD        JACKSONVILLE       FL   32259   WALGREENS   BW9131739     300      700     2,800    2,300    6,700    7,060    3,310    19,860

100097745   044217075   WALGREENS #09150     DSD           MURRAY          KY   42071   WALGREENS   BW9132109   33,500   34,000   31,600   34,500   22,500   24,000   30,017   180,100

100101653   024119933   WALGREENS #07036     DSD         LOS ANGELES       CA   90027   WALGREENS   BW9133656    5,100    5,100    4,700    4,600    3,700    5,500    4,783    28,700

100101649   024119925   WALGREENS #09136     DSD         LOS ANGELES       CA   90026   WALGREENS   BW9133668    7,600    6,100    6,700    7,530    9,700    8,000    7,605    45,630

100102134   017097626   WALGREENS #09238     DSD        SALT LAKE CITY     UT   84102   WALGREENS   BW9137995   12,200   11,000   12,100   11,500   11,500    8,000   11,050    66,300

100101921   046047183   WALGREENS #07851     DSD       BONITA SPRINGS      FL   34135   WALGREENS   BW9138000     160      140     2,920    5,860    5,300    5,700    3,347    20,080

100098066   049193334   WALGREENS #09124     DSD       COMMERCE TWP        MI   48382   WALGREENS   BW9138276    9,800   10,000   11,700   10,000   10,500    7,100    9,850    59,100

100103410   020164491   WALGREENS #07864     DSD          LAS VEGAS        NV   89131   WALGREENS   BW9140055   37,900   42,700   38,800   40,200   45,700   17,400   37,117   222,700

100097050   052220046   WALGREENS #02540     DSD           BOONE           NC   28607   WALGREENS   BW9140120   15,640   17,300   16,350   17,790   17,000   12,500   16,097    96,580

100095914   004094920   WALGREENS #07703     DSD      EAST LONGMEADOW      MA   01028   WALGREENS   BW9144281    1,300    2,200    2,100    1,000    2,500    1,560    1,777    10,660

100097037   052220012   WALGREENS #09046     DSD           BRISTOL         VA   24201   WALGREENS   BW9144293   14,600   15,800   15,600   14,500   16,700   11,000   14,700    88,200

100095653   023146043   WALGREENS #02758     DSD         TARRYTOWN         NY   10591   WALGREENS   BW9144356    3,600    5,900    4,300    4,600    5,300    3,100    4,467    26,800

100087134   003090720   WALGREENS #00323                    YAUCO          PR   00698   WALGREENS   BW9147807              200      100      700                        333      1,000

100103394   038110254   WALGREENS #09570     DSD         BROOMFIELD        CO   80020   WALGREENS   BW9150448    3,700    4,400    5,200    5,400    3,900    3,200    4,300    25,800

100095192   055036236   WALGREENS #02222     DSD          NEW BERN         NC   28560   WALGREENS   BW9154004   20,560   21,600   18,860   20,340   16,300   16,200   18,977   113,860

100100418   037132969   WALGREENS #09075     DSD          MCALLEN          TX   78504   WALGREENS   BW9154016     500     1,100    3,300    5,400    6,300    2,700    3,217    19,300

100097550   044215822   WALGREENS #09112     DSD          OAKLAND          TN   38060   WALGREENS   BW9155892   18,360   19,200   18,100   20,020   17,500   16,500   18,280   109,680

100098343   019171876   WALGREENS #09549     DSD          GLENDALE         WI   53217   WALGREENS   BW9155905    9,800   13,900   10,300   11,800   13,800    6,300   10,983    65,900

100099515   021171702   WALGREENS #01162     DSD           LINCOLN         NE   68505   WALGREENS   BW9155929   10,200    7,800    9,000   10,000   10,600    8,100    9,283    55,700

100100343   018401844   WALGREENS #09394     DSD       NEW BRAUNFELS       TX   78130   WALGREENS   BW9159573     840      760    16,920   29,900   15,500   15,000   13,153    78,920

100100056   018401497   WALGREENS #07542     DSD           DENTON          TX   76205   WALGREENS   BW9159597   15,300   29,000   22,700   20,100   18,600   14,000   19,950   119,700

100099992   018400853   WALGREENS #09411     DSD          PALESTINE        TX   75801   WALGREENS   BW9163572   24,140   43,900   41,500   38,760   34,400   19,600   33,717   202,300

100055461   020098061   WALGREENS SPECIALTY # 10349     SUN CITY WEST      AZ   85375   WALGREENS   BW9164574     700     1,700    2,000    1,500    2,500    3,600    2,000    12,000

100055462   020098814   WALGREENS SPECIALTY # 10017        PEORIA          AZ   85381   WALGREENS   BW9164586    3,000    2,000    2,500    3,000    4,500    2,500    2,917    17,500

100102138   017097634   WALGREENS #09111     DSD        SALT LAKE CITY     UT   84106   WALGREENS   BW9169827   13,500   14,200   12,100   14,500   15,700    8,500   13,083    78,500

100095090   055035949   WALGREENS #01056     DSD         LUMBERTON         NC   28358   WALGREENS   BW9169889   14,100   14,100   13,800   14,940   16,700   14,500   14,690    88,140

100095131   055035998   WALGREENS #09084     DSD          MATTHEWS         NC   28105   WALGREENS   BW9171000    5,000    4,700    5,700    5,600    5,800    7,000    5,633    33,800

100096309   023147231   WALGREENS #01214     DSD          NEW YORK         NY   10021   WALGREENS   BW9171012    2,200    1,500    1,200    1,200    1,000    2,600    1,617     9,700
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100097064   040117994   WALGREENS #09284         DSD         WALTERBORO        SC   29488     WALGREENS         BW9173674   27,700   33,900   30,500   35,900   35,000   34,700   32,950   197,700

100101254   046045021   WALGREENS #07944         DSD       ALTAMONTE SPRINGS   FL   32714     WALGREENS         BW9173686     200              7,300    7,700    6,700    6,500    5,680    28,400

100099796   018398909   WALGREENS #09375         DSD            MOORE          OK   73160     WALGREENS         BW9175387     600      500    13,200   15,200   15,000   11,200    9,283    55,700

100101771   038109637   WALGREENS #09199         DSD            FALCON         CO   80831     WALGREENS         BW9175515   13,700   18,000   15,200   14,900   16,900   10,500   14,867    89,200

100097432   044215509   WALGREENS #07316         DSD           NASHVILLE       TN   37207     WALGREENS         BW9178523   22,300   22,900   19,500   24,000   30,000   23,500   23,700   142,200

100095772   055037051   WALGREENS #09191         DSD        WINSTON SALEM      NC   27104     WALGREENS         BW9178737    6,600    7,800    6,200    7,200    7,900    4,600    6,717    40,300

100099467   021171249   WALGREENS #02751         DSD            WICHITA        KS   67235     WALGREENS         BW9181683    8,200   11,000   12,600   13,500   16,500   10,500   12,050    72,300

100097608   044216358   WALGREENS #09265         DSD           COLUMBIA        TN   38401     WALGREENS         BW9183461   13,600   14,500   13,000   15,100   15,500   17,500   14,867    89,200

100100068   018401612   WALGREENS #09040         DSD         STEPHENVILLE      TX   76401     WALGREENS         BW9186734    5,700   18,100   17,500   15,800   16,100   12,500   14,283    85,700

100103248   017097964   WALGREENS #09351         DSD           MISSOULA        MT   59808     WALGREENS         BW9186746   25,300   25,400   24,900   28,300   27,600   16,100   24,600   147,600

100095201   023143917   WALGREENS #07831         DSD        NEW HYDE PARK      NY   11040     WALGREENS         BW9193210    1,300    2,300    1,100    2,350    1,800    1,400    1,708    10,250

100102735   046052993   WALGREENS #07241         DSD           DELTONA         FL   32725     WALGREENS         BW9193715     100      900    15,500   16,100    4,530   14,000    8,522    51,130

100103189   020163535   WALGREENS #09213         DSD         ALBUQUERQUE       NM   87112     WALGREENS         BW9194604   11,100   11,100   10,600   13,500   12,500    5,600   10,733    64,400

100103358   038110130   WALGREENS #06986         DSD            AURORA         CO   80012     WALGREENS         BW9194616    7,800   11,300    7,600    9,100   10,300    6,800    8,817    52,900

100095477   010232660   WALGREENS #07861         DSD            POLAND         OH   44514     WALGREENS         BW9200077    9,100    9,300    8,600    9,300   10,000    9,000    9,217    55,300

100099775   018398693   WALGREENS #02543         DSD         OKLAHOMA CITY     OK   73106     WALGREENS         BW9200128              270    22,100   28,000   22,000   19,600   18,394    91,970

100095845   041151795   WALGREENS #07528         DSD          BRIDGETON        NJ   08302     WALGREENS         BW9206790    6,160    6,260    4,800    5,500    5,300    3,900    5,320    31,920

100097773   019168898   WALGREENS #09129         DSD          NOBLESVILLE      IN   46060     WALGREENS         BW9206815    9,900   10,200    9,300   10,300    9,400    9,100    9,700    58,200

100097703   044216697   WALGREENS #09005         DSD          LOUISVILLE       KY   40202     WALGREENS         BW9207475   11,100   41,600   45,000   47,700   25,600   39,500   35,083   210,500

100107578   044221036   *WALGREENS #09005 340B                LOUISVILLE       KY   40202   PHS 340B HOSPITAL   BW9207475              500                                          500       500

100100624   055038075   WAYNE EMP BENWEB PHCY OP(WAC)         GOLDSBORO        NC   27534       HOSPITAL        BW9209188    3,020    2,500    2,820    3,120    3,300    2,920    2,947    17,680

100076352   055048710   WAYNE MEM OUTPATIENT      (340B)      GOLDSBORO        NC   27534   PHS 340B HOSPITAL   BW9209188    1,100     900      900     1,200     400      100      767      4,600

100099660   018397745   WALGREENS #09492         DSD          SHREVEPORT       LA   71107     WALGREENS         BW9214406     900    15,800   20,300   19,100   14,600   17,000   14,617    87,700

100098479   019173039   WALGREENS #09699         DSD           WAUPACA         WI   54981     WALGREENS         BW9219115   19,700   20,700   20,600   21,200   17,100   18,600   19,650   117,900

100101687   038109397   WALGREENS #09315         DSD           FIRESTONE       CO   80504     WALGREENS         BW9221449    8,200    8,500   10,300    9,300   11,200    7,000    9,083    54,500

100099368   021170373   WALGREENS #09467         DSD            NEOSHO         MO   64850     WALGREENS         BW9225928   12,300   19,100   19,700   20,700   20,700   17,000   18,250   109,500

100089253   021167262   WALGREENS #09467 340B                   NEOSHO         MO   64850   PHS 340B HOSPITAL   BW9225928                                500                        500       500

100097890   019170068   WALGREENS #07907         DSD         COLUMBIA CITY     IN   46725     WALGREENS         BW9226007   12,000   11,700   13,000   11,600   17,000   10,100   12,567    75,400

100097367   052221101   WALGREENS #09397         DSD            AUBURN         AL   36830     WALGREENS         BW9226033    6,200    4,900    5,600    7,100    7,200    5,000    6,000    36,000

100094578   055033084   WALGREENS #09232         DSD            CAMDEN         SC   29020     WALGREENS         BW9226069    9,800   10,800    8,800   10,800    8,500    7,000    9,283    55,700

100100455   018402602   WALGREENS #09366         DSD         MARBLE FALLS      TX   78654     WALGREENS         BW9226110    5,600   19,100   17,200   15,700   17,800    9,000   14,067    84,400

100098457   019172825   WALGREENS #09514         DSD          MENOMONIE        WI   54751     WALGREENS         BW9227895   17,500   19,000   15,600   18,400   23,900   13,700   18,017   108,100

100100474   018402792   WALGREENS #01970         DSD            AUSTIN         TX   78728     WALGREENS         BW9232428    5,120   14,100   14,120   14,680   13,100    8,500   11,603    69,620

100099676   037132175   WALGREENS #09526         DSD           PINEVILLE       LA   71360     WALGREENS         BW9240538     500      600     8,000   18,400   22,300   17,500   11,217    67,300

100098044   049193110   WALGREENS #07888         DSD        ROCHESTER HILLS    MI   48309     WALGREENS         BW9241744   12,100   14,200   11,400   14,000   19,300   18,800   14,967    89,800

100097076   040118117   WALGREENS #09451         DSD          ALPHARETTA       GA   30004     WALGREENS         BW9241869    4,600    5,700    4,100    3,500    2,500    5,000    4,233    25,400

100100531   052222570   WALGREENS #09306         DSD          KINGSPORT        TN   37663     WALGREENS         BW9241871   13,230   15,670   14,120   14,100   13,500   12,000   13,770    82,620

100099321   044219154   WALGREENS #09301         DSD           SIKESTON        MO   63801     WALGREENS         BW9250921     700    25,680   40,200   43,100   42,100   37,000   31,463   188,780

100103430   020164590   WALGREENS #05479         DSD           LAS VEGAS       NV   89183     WALGREENS         BW9250933   26,500   27,590   27,120   26,630   30,100   16,200   25,690   154,140

100095814   004094268   WALGREENS #09320         DSD           BEDFORD         NH   03110     WALGREENS         BW9250957    4,500    4,500    3,700    4,500    5,400    2,100    4,117    24,700

100100176   037132332   WALGREENS #09471         DSD           HOUSTON         TX   77085     WALGREENS         BW9251339     400      800    12,000   16,500   15,700    5,000    8,400    50,400

100098067   049193342   WALGREENS #09450         DSD            BAD AXE        MI   48413     WALGREENS         BW9254626   28,600   28,100   26,900   28,900   30,300   18,700   26,917   161,500

100097654   052222208   WALGREENS #09402         DSD          VICKSBURG        MS   39180     WALGREENS         BW9254727   17,640   20,600   18,350   20,700   16,800   14,000   18,015   108,090

100098084   049193516   WALGREENS #09079         DSD           MIDLAND         MI   48640     WALGREENS         BW9254854   32,300   36,800   33,160   32,230   34,000   31,600   33,348   200,090
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100097631   052222075   WALGREENS #09144        DSD      GREENVILLE      MS   38701     WALGREENS         BW9258028   16,000   16,600   14,560   16,100   12,000   12,500   14,627    87,760

100100416   037132944   WALGREENS #09449        DSD       MCALLEN        TX   78503     WALGREENS         BW9258054     300     1,000    8,200   12,900    5,300    4,200    5,317    31,900

100100394   018402354   WALGREENS #09180        DSD     SAN ANTONIO      TX   78251     WALGREENS         BW9258066     300     1,740    9,500   12,600   13,000    7,000    7,357    44,140

100095966   004097998   WALGREENS #01455        DSD       GUILFORD       CT   06437     WALGREENS         BW9258624    4,500    5,800    3,500    5,300    6,100    3,400    4,767    28,600

100095925   023146456   WALGREENS #06748        DSD      ELIZABETH       NJ   07202     WALGREENS         BW9260340    2,300    1,800    2,200    1,000    2,900    1,500    1,950    11,700

100095394   041149856   WALGREENS #07014        DSD     NORRISTOWN       PA   19403     WALGREENS         BW9265681    9,040    6,320    6,700    6,100    6,100    5,800    6,677    40,060

100094892   041147090   WALGREENS #09028        DSD     GLEN BURNIE      MD   21061     WALGREENS         BW9265720    8,460    9,600    9,200    8,800    9,400    9,200    9,110    54,660

100103671   032151225   WALGREENS #09113        DSD      KENNEWICK       WA   99337     WALGREENS         BW9268334   26,330   25,860   21,800   27,400   25,300   23,600   25,048   150,290

100102368   046051128   WALGREENS #04423        DSD    DAYTONA BEACH     FL   32114     WALGREENS         BW9269285              100    11,500   21,900   11,000   21,500   13,200    66,000

100099958   018400515   WALGREENS #09015        DSD        DALLAS        TX   75227     WALGREENS         BW9272434   11,700   22,000   18,100   20,800   12,100   11,500   16,033    96,200

100097399   044215186   WALGREENS #09587        DSD      LAFAYETTE       TN   37083     WALGREENS         BW9272509   25,700   28,100   29,100   31,000   36,000   22,200   28,683   172,100

100097377   044214965   WALGREENS #09340        DSD     CLARKSVILLE      TN   37040     WALGREENS         BW9272523   17,000   14,580   15,030   16,500   20,500   18,100   16,952   101,710

100097685   037104505   WALGREENS #09545        DSD      LONG BEACH      MS   39560     WALGREENS         BW9272559   15,600   29,200   27,200   28,500   21,000   19,000   23,417   140,500

100094671   055033407   WALGREENS #09558        DSD      CLEMMONS        NC   27012     WALGREENS         BW9272573    7,100    8,600    5,500    6,700    5,700    7,600    6,867    41,200

100099469   018397703   WALGREENS #09455        DSD       PARSONS        KS   67357     WALGREENS         BW9272597   11,700   14,500   14,200   14,100   15,800    8,000   13,050    78,300

100109165   021175307   WALGREENS #09455 340B             PARSONS        KS   67357   PHS 340B HOSPITAL   BW9272597    1,000                                                 1,000     1,000

100099126   019178913   WALGREENS #09313        DSD       NORMAL         IL   61761     WALGREENS         BW9277105     500    11,700   10,060    9,200   11,300    9,560    8,720    52,320

100097489   052221549   WALGREENS #09459        DSD      PINEY FLATS     TN   37686     WALGREENS         BW9280582   13,900   13,300   12,300   14,500    8,800   11,500   12,383    74,300

100098368   019172122   WALGREENS #09606        DSD        RACINE        WI   53406     WALGREENS         BW9280621   24,900   24,500   24,830   26,200   33,300   18,000   25,288   151,730

100087781   019151159   WALGREENS # 09606 340B             RACINE        WI   53406   PHS 340B HOSPITAL   BW9280621     600                        100                        350       700

100097145   040118802   WALGREENS #09452        DSD      MABLETON        GA   30126     WALGREENS         BW9282411    3,600    5,200    3,200    3,500    5,200    2,000    3,783    22,700

100095630   055036699   WALGREENS #02696        DSD     STATESVILLE      NC   28677     WALGREENS         BW9282435   24,520   25,670   25,300   28,330   26,320   18,800   24,823   148,940

100097610   052222026   WALGREENS #09266        DSD       PULASKI        TN   38478     WALGREENS         BW9290850   27,700   26,700   27,400   30,700   32,700   26,200   28,567   171,400

100097458   052221234   WALGREENS #09314        DSD     FAYETTEVILLE     TN   37334     WALGREENS         BW9290862   26,700   22,500   24,700   24,100   18,000   20,000   22,667   136,000

100097074   040118091   WALGREENS #07652        DSD       BLUFFTON       SC   29910     WALGREENS         BW9291206   16,500   16,570   15,900   16,090   12,800   12,100   14,993    89,960

100094630   041146415   WALGREENS #09196        DSD     CHESAPEAKE       VA   23323     WALGREENS         BW9294593    6,100    6,700    5,500    5,800    7,600    4,200    5,983    35,900

100059100   019038133   WALGREENS #09638                  WINFIELD       IL   60190     WALGREENS         BW9295189    6,700    9,200    6,600    8,200   12,600    8,000    8,550    51,300

100095039   010231753   WALGREENS #09120        DSD      LANCASTER       OH   43130     WALGREENS         BW9296523   15,100   20,830   16,500   18,300   15,500   12,900   16,522    99,130

100095411   055036269   WALGREENS #07978        DSD   NORTH WILKESBORO   NC   28659     WALGREENS         BW9296535   20,400   20,540   19,700   20,300   17,000   22,500   20,073   120,440

100099931   018400242   WALGREENS #09448        DSD        ENNIS         TX   75119     WALGREENS         BW9297246    7,100   10,480   12,100    9,100   10,000    6,000    9,130    54,780

100099404   021170738   WALGREENS #09022        DSD     SPRINGFIELD      MO   65804     WALGREENS         BW9300889   13,300   17,100   17,600   19,900   21,100   18,300   17,883   107,300

100099371   021170407   WALGREENS #01142        DSD     OSAGE BEACH      MO   65065     WALGREENS         BW9300891   10,300   18,600   18,100   19,700   15,000   15,500   16,200    97,200

100097844   019169607   WALGREENS #09318        DSD       LA PORTE       IN   46350     WALGREENS         BW9300904   19,500   23,400   23,800   24,300   28,300   14,700   22,333   134,000

100101938   024120337   WALGREENS #07529        DSD       CASTAIC        CA   91384     WALGREENS         BW9300916    9,190   14,700   10,600   11,800   14,600   10,300   11,865    71,190

100100235   037132407   WALGREENS #09440        DSD       BAY CITY       TX   77414     WALGREENS         BW9303392     900     1,800   11,900   22,700   15,600   12,400   10,883    65,300

100099111   019178764   WALGREENS #03763        DSD     WASHINGTON       IL   61571     WALGREENS         BW9306401    2,200   13,200   15,200   14,800   14,300   15,500   12,533    75,200

100097932   019170399   WALGREENS #09488        DSD     GREENSBURG       IN   47240     WALGREENS         BW9310791    8,700    6,700   11,600    9,300   11,100    7,200    9,100    54,600

100102605   024120873   WALGREENS #07305        DSD       OXNARD         CA   93033     WALGREENS         BW9310828   12,600   11,700   10,600   13,000   14,200    9,700   11,967    71,800

100098047   049193144   WALGREENS #01246        DSD   STERLING HEIGHTS   MI   48313     WALGREENS         BW9311224   15,000   17,000   15,200   16,900   18,300   13,800   16,033    96,200

100095647   055036756   WALGREENS #09276        DSD       SUMTER         SC   29150     WALGREENS         BW9316109   12,500   13,300   12,600   14,600   14,600   11,260   13,143    78,860

100097486   052221515   WALGREENS #09428        DSD      KINGSPORT       TN   37660     WALGREENS         BW9316135   23,940   25,400   21,530   23,330   21,800   21,400   22,900   137,400

100098156   049193946   WALGREENS #09131        DSD     GRAND RAPIDS     MI   49507     WALGREENS         BW9316147   16,200   16,100   15,100   16,100   15,000   10,700   14,867    89,200

100097179   040119131   WALGREENS #09630        DSD      UNION CITY      GA   30291     WALGREENS         BW9316159    7,740    7,900    7,000    8,100    8,900    7,000    7,773    46,640

100102367   046051110   WALGREENS #01339        DSD    ST PETERSBURG     FL   33712     WALGREENS         BW9322479              200     1,500   13,000   13,800   10,100    7,720    38,600
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100097112   040118471   WALGREENS #01646      DSD          MARIETTA       GA   30064    WALGREENS        BW9332064    4,200    4,600    3,600    5,600    4,800    3,000    4,300    25,800

100095688   041151282   WALGREENS #09195      DSD       VIRGINIA BEACH    VA   23464    WALGREENS        BW9332103   20,800   23,100   18,100   19,100   21,900   12,700   19,283   115,700

100086793   049184655   WEST BRANCH REG MED CTR EMP      WEST BRANCH      MI   48661      HOSPITAL       BW9335793    3,500    2,000    3,500    3,400                      3,100    12,400

100064825   049075341   WEST BRANCH REGIONAL MED CTR     WEST BRANCH      MI   48661      HOSPITAL       BW9335793    2,200     700      600     1,100    4,380    1,500    1,747    10,480

100095917   041151910   WALGREENS #07477      DSD        EAST WINDSOR     NJ   08520    WALGREENS        BW9336252    2,900    1,400    2,000    2,200    2,800    1,100    2,067    12,400

100099367   021170365   WALGREENS #09420      DSD          CARTHAGE       MO   64836    WALGREENS        BW9344312   12,500   18,200   19,200   21,000   24,700   15,100   18,450   110,700

100095133   055036012   WALGREENS #09082      DSD          MAULDIN        SC   29662    WALGREENS        BW9344437   16,500   18,200   14,300   18,400   20,600   12,800   16,800   100,800

100095510   010232728   WALGREENS #09286      DSD       REYNOLDSBURG      OH   43068    WALGREENS        BW9344451    7,020    7,100    5,100    4,720    8,900    5,820    6,443    38,660

100094712   010228973   WALGREENS #09138      DSD         COLUMBUS        OH   43223    WALGREENS        BW9344576   19,090   19,000   19,200   19,320   23,900   15,700   19,368   116,210

100095693   055036814   WALGREENS #09156      DSD        WAKE FOREST      NC   27587    WALGREENS        BW9349401    8,830    9,600   10,200   10,100   10,420   11,400   10,092    60,550

100100438   018402438   WALGREENS #09143      DSD          BASTROP        TX   78602    WALGREENS        BW9352282   10,640   43,880   43,240   39,820   29,800   26,100   32,247   193,480

100102362   012111005   WALGREENS #09183      DSD       SAN BERNARDINO    CA   92411    WALGREENS        BW9352371   23,800   26,800   25,900   27,300   14,700   25,900   24,067   144,400

100103749   012111716   WALGREENS #09254      DSD         VICTORVILLE     CA   92392    WALGREENS        BW9352434   31,700   31,400   32,200   32,700   27,000   35,300   31,717   190,300

100097987   049192542   WALGREENS #01610      DSD       ST CLAIR SHORES   MI   48080    WALGREENS        BW9352511   20,200   22,300   19,700   19,900   20,100   25,200   21,233   127,400

100097880   019169961   WALGREENS #09100      DSD          PLYMOUTH       IN   46563    WALGREENS        BW9352559   18,800   22,200   19,600   18,400   22,700   19,400   20,183   121,100

100100493   018402982   WALGREENS #09679      DSD           AUSTIN        TX   78753    WALGREENS        BW9352561    3,700   15,100   13,300   13,200   15,700    9,500   11,750    70,500

100100076   018401695   WALGREENS #09680      DSD           TAYLOR        TX   76574    WALGREENS        BW9352585    6,500   16,400   16,900   17,100   11,600    3,100   11,933    71,600

100100079   018401729   WALGREENS #09648      DSD          WOODWAY        TX   76712    WALGREENS        BW9352624    4,000   36,300   31,200   35,530   28,500   17,500   25,505   153,030

100100330   037132738   WALGREENS #07964      DSD          VICTORIA       TX   77904    WALGREENS        BW9352662     760     2,220   12,860   25,820   18,200   14,500   12,393    74,360

100098373   019172171   WALGREENS #09740      DSD         DE FOREST       WI   53532    WALGREENS        BW9352674   17,100   17,500   17,000   17,500   18,500   12,500   16,683   100,100

100099973   018400663   WALGREENS #09647      DSD           DALLAS        TX   75254    WALGREENS        BW9352701   10,920   19,600   21,950   17,700   19,500   16,500   17,695   106,170

100097277   052220244   WALGREENS #09427      DSD           PELHAM        AL   35124    WALGREENS        BW9352840   11,900   13,300   10,100   11,800   10,300    9,200   11,100    66,600

100100040   018401331   WALGREENS #09235      DSD         FORT WORTH      TX   76123    WALGREENS        BW9352876    3,600   11,300   10,000    9,700    7,600    5,000    7,867    47,200

100095103   010232017   WALGREENS #01281      DSD         MAINEVILLE      OH   45039    WALGREENS        BW9352890    5,720    8,820    8,000    7,800    9,800    6,100    7,707    46,240

100103631   032150821   WALGREENS #09590      DSD           TACOMA        WA   98408    WALGREENS        BW9353385    9,400    8,000    7,700    8,100   11,700    4,100    8,167    49,000

100095443   041149922   WALGREENS #09270      DSD        PETERSBURG       VA   23805    WALGREENS        BW9355175    9,400    9,220    8,930    8,690   10,600    9,100    9,323    55,940

100105997   041153809   WALGREENS #09270 (340B)          PETERSBURG       VA   23805   PHS 340B CLINIC   BW9355175     500                                                   500       500

100098487   025089672   WALGREENS #07728      DSD          LAKEVILLE      MN   55044    WALGREENS        BW9355187    6,600    7,400    6,100    7,100    7,700    4,500    6,567    39,400

100099996   018400895   WALGREENS #09400      DSD        NACOGDOCHES      TX   75965    WALGREENS        BW9355199     200      900     8,200   22,840   18,400   12,100   10,440    62,640

100097698   044216648   WALGREENS #09225      DSD      MOUNT WASHINGTON   KY   40047    WALGREENS        BW9355202    6,500   29,730   31,530   31,830   29,430   23,530   25,425   152,550

100100205   038107771   WALGREENS #09700      DSD         KINGWOOD        TX   77339    WALGREENS        BW9355694     200      480     3,800    6,320    6,800    3,500    3,517    21,100

100102028   017097055   WALGREENS #01972      DSD        GARDEN CITY      ID   83714    WALGREENS        BW9363982   17,900   17,230   17,730   15,330   18,600   10,200   16,165    96,990

100095687   041151274   WALGREENS #09158      DSD       VIRGINIA BEACH    VA   23464    WALGREENS        BW9363994    4,040    5,400    2,200    4,400    4,900    2,600    3,923    23,540

100097349   052220921   WALGREENS #01318      DSD           FOLEY         AL   36535    WALGREENS        BW9364009   35,800   32,400   33,200   34,800   18,900   16,600   28,617   171,700

100099666   018397802   WALGREENS #09086      DSD          MONROE         LA   71201    WALGREENS        BW9364059            23,500   30,000   23,600   19,500   29,500   25,220   126,100

100095476   010232652   WALGREENS #09188      DSD         PITTSBURGH      PA   15236    WALGREENS        BW9373541   11,000   10,300   10,000   10,130   10,700    8,500   10,105    60,630

100097141   040118760   WALGREENS #07396      DSD        HOLLY SPRINGS    GA   30115    WALGREENS        BW9373553    7,220    8,020    6,520    7,000    6,300    4,900    6,660    39,960

100101837   012108936   WALGREENS #07870      DSD         LONG BEACH      CA   90802    WALGREENS        BW9373565   27,350   27,460   28,070   32,220   29,200   33,200   29,583   177,500

100095695   041151324   WALGREENS #09032      DSD          WALDORF        MD   20602    WALGREENS        BW9373577    7,700    7,760    4,940    7,000    5,900    9,400    7,117    42,700

100099741   021171918   WALGREENS #09593      DSD         BELLA VISTA     AR   72714    WALGREENS        BW9373589    2,500   10,000   36,100   30,200   34,500   14,500   21,300   127,800

100099096   021169870   WALGREENS #09267      DSD           MILAN         IL   61264    WALGREENS        BW9373591   14,400   12,500   15,100   14,400   13,000   11,600   13,500    81,000

100096193   004099556   WALGREENS #09233      DSD        SHREWSBURY       MA   01545    WALGREENS        BW9373604    4,930    5,100    4,100    5,500    5,000    4,100    4,788    28,730

100097605   044216333   WALGREENS #09678      DSD         LEXINGTON       TN   38351    WALGREENS        BW9373616   26,700   26,500   24,600   27,500   19,100   23,100   24,583   147,500

100097743   044217059   WALGREENS #09253      DSD          PADUCAH        KY   42003    WALGREENS        BW9373628   33,600   31,600   33,630   40,500   30,600   26,000   32,655   195,930
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100097664   052222307   WALGREENS #07656        DSD      RICHLAND        MS   39218     WALGREENS         BW9374834   11,900   14,600   11,300   11,800    9,300    9,000   11,317    67,900

100097199   040119339   WALGREENS #09155        DSD     GAINESVILLE      GA   30507     WALGREENS         BW9374846   10,120   10,720    9,600   12,600    8,600    7,500    9,857    59,140

100094906   010229567   WALGREENS #09359        DSD      GREENDALE       IN   47025     WALGREENS         BW9377587   19,300   18,500   12,000   16,100   12,700   14,700   15,550    93,300

100099679   018397869   WALGREENS #09485        DSD    NATCHITOCHES      LA   71457     WALGREENS         BW9380344     200      600     5,900   10,800    9,700    7,500    5,783    34,700

100095855   004094508   *WALGREENS #07813       DSD      BROCKTON        MA   02301     WALGREENS         BW9380356    3,600    2,300                                        2,950     5,900

100095660   010232983   WALGREENS #09337        DSD       TOLEDO         OH   43623     WALGREENS         BW9383287    9,400   10,400    9,000    9,400    9,100    6,700    9,000    54,000

100094713   010228981   *WALGREENS #09539       DSD      COLUMBUS        OH   43229     WALGREENS         BW9383299    4,600    2,000                                        3,300     6,600

100094393   010228130   WALGREENS #09385        DSD       ALLIANCE       OH   44601     WALGREENS         BW9387235   29,190   29,780   28,150   31,800   24,600   25,200   28,120   168,720

100100149   038107326   WALGREENS #09473        DSD       HOUSTON        TX   77070     WALGREENS         BW9388655     200      400     7,100    9,600    9,000    8,500    5,800    34,800

100102349   020161505   WALGREENS #09261        DSD       PHOENIX        AZ   85050     WALGREENS         BW9388895    9,400    7,930    7,600    8,800    8,000    6,300    8,005    48,030

100101246   044219477   WALGREENS #06155        DSD      WILDWOOD        MO   63040     WALGREENS         BW9388958             6,300    6,100    9,300    9,000    5,500    7,240    36,200

100103682   046055640   WALGREENS #09300        DSD         LUTZ         FL   33548     WALGREENS         BW9389746     200      180     2,200   11,200    7,500    7,700    4,830    28,980

100095702   010233072   WALGREENS #09077        DSD       WARREN         OH   44483     WALGREENS         BW9389758   17,800   18,200   17,300   18,700   16,300   19,500   17,967   107,800

100098890   019176560   WALGREENS #01484        DSD       OSWEGO         IL   60543     WALGREENS         BW9389772    6,900   10,600    7,000    9,700   13,200    6,100    8,917    53,500

100101754   012108712   WALGREENS #02622        DSD      TORRANCE        CA   90505     WALGREENS         BW9389784    8,000   10,500    9,100   10,500   13,000   12,900   10,667    64,000

100101700   012108621   WALGREENS #09137        DSD     HAWTHORNE        CA   90250     WALGREENS         BW9389796   13,500   13,600   13,500   15,200   23,600   12,000   15,233    91,400

100094694   055033464   WALGREENS #09487        DSD      COLUMBIA        SC   29210     WALGREENS         BW9389809    6,160    8,600    6,800    8,400    7,400    8,100    7,577    45,460

100099866   018399592   WALGREENS #09693        DSD      MCALESTER       OK   74501     WALGREENS         BW9389811    3,300   23,100   46,100   65,900   26,300   50,500   35,867   215,200

100097196   040119305   WALGREENS #09257        DSD     STATESBORO       GA   30458     WALGREENS         BW9393745   13,000   14,600   12,000   14,290   10,700   10,000   12,432    74,590

100102575   046052167   WALGREENS #01902        DSD     TALLAHASSEE      FL   32312     WALGREENS         BW9399189     100      200     2,700    2,400    6,800    4,500    2,783    16,700

100100294   038108365   WALGREENS #09604        DSD        KEMAH         TX   77565     WALGREENS         BW9399191     230      200    10,300   17,700   14,000   12,500    9,155    54,930

100095719   010233130   WALGREENS #09577        DSD    WEST CHESTER      OH   45069     WALGREENS         BW9399204    6,200    5,800    6,800    7,200    6,900    5,500    6,400    38,400

100102118   017097584   WALGREENS #09464        DSD        SANDY         UT   84093     WALGREENS         BW9399216   12,100   12,300   10,100   12,500   16,200    9,100   12,050    72,300

100100229   038108001   WALGREENS #09203        DSD       HUMBLE         TX   77396     WALGREENS         BW9399230     660      600     6,500   10,020    8,700    4,200    5,113    30,680

100095055   041149294   WALGREENS #02014        DSD      LEVITTOWN       PA   19054     WALGREENS         BW9404358   12,700   15,960   11,400   11,900   13,600   11,960   12,920    77,520

100094620   055033308   WALGREENS #07766        DSD      CHARLOTTE       NC   28270     WALGREENS         BW9404396    7,700    6,800    7,600    6,700    8,800    5,000    7,100    42,600

100099594   037131490   WALGREENS #09645        DSD      COVINGTON       LA   70435     WALGREENS         BW9404435     700     1,220   13,580   18,700   16,500   15,800   11,083    66,500

100066627   020102467   WALTON DRUG OF MORENCI            MORENCI        AZ   85540     INDEPENDENT       BW9405603     700      200      300     1,500    3,000             1,140     5,700

100094495   023137612   WALGREENS #07627        DSD        BRONX         NY   10469     WALGREENS         BW9405879    1,400    1,300    2,900    1,700    1,400    2,400    1,850    11,100

100102226   012110528   WALGREENS #09229        DSD    CATHEDRAL CITY    CA   92234     WALGREENS         BW9405893   12,100   11,100    9,800   11,800   11,600    8,800   10,867    65,200

100101417   012108571   WALGREENS #02162        DSD     WESTMINSTER      CA   92683     WALGREENS         BW9405906   19,900   21,300   21,100   18,800   23,000   20,700   20,800   124,800

100102434   012111211   WALGREENS #01995        DSD      MURRIETA        CA   92563     WALGREENS         BW9405920   17,700   15,800   14,000   14,600    7,500   10,100   13,283    79,700

100097546   044215780   WALGREENS #09465        DSD      DYERSBURG       TN   38024     WALGREENS         BW9405944   19,700   18,000   20,340   22,020   23,000   18,700   20,293   121,760

100101925   038110007   WALGREENS #07929        DSD    COMMERCE CITY     CO   80022     WALGREENS         BW9409182    8,000    9,400    8,800   11,400   14,700    3,400    9,283    55,700

100096046   004098491   WALGREENS #03300        DSD    MARLBOROUGH       MA   01752     WALGREENS         BW9412898    3,500    3,900    4,000    3,800    5,260    3,200    3,943    23,660

100103193   020163543   WALGREENS #09608        DSD    ALBUQUERQUE       NM   87113     WALGREENS         BW9412901    8,200    9,600    7,500    8,500   11,000    5,000    8,300    49,800

100102624   046052399   WALGREENS #09219        DSD   FORT MYERS BEACH   FL   33931     WALGREENS         BW9412913     200      300     1,700    3,900    7,000    8,000    3,517    21,100

100098102   049193698   WALGREENS #07770        DSD       LANSING        MI   48917     WALGREENS         BW9413888   10,900   11,200   10,100   10,000   11,800    7,500   10,250    61,500

100095587   055036624   WALGREENS #09434        DSD      SMITHFIELD      NC   27577     WALGREENS         BW9413903   12,920   16,200   12,700   14,800   15,500   13,600   14,287    85,720

100098185   025089375   WALGREENS #09364        DSD      ESCANABA        MI   49829     WALGREENS         BW9413965   22,600   26,300   28,000   29,200   30,600   22,700   26,567   159,400

100107740   019185926   WALGREENS #09364 340B            ESCANABA        MI   49829   PHS 340B HOSPITAL   BW9413965    2,100    1,000     500     1,000                      1,150     4,600

100099180   044217786   WALGREENS #09580        DSD       CHATHAM        IL   62629     WALGREENS         BW9414006    5,800   28,800   30,300   32,800   30,100   17,600   24,233   145,400

100096141   004099168   WALGREENS #07734        DSD      PLYMOUTH        MA   02360     WALGREENS         BW9414222    4,900    4,900    5,600    3,700    7,800    2,700    4,933    29,600

100095963   004097964   WALGREENS #07704        DSD     GREENFIELD       MA   01301     WALGREENS         BW9414234    3,100    3,200    4,000    4,100    2,600    2,600    3,267    19,600
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100095467   010232587   WALGREENS #09187        DSD        PITTSBURGH       PA   15241     WALGREENS         BW9414979    4,400    5,400    3,200    4,500    4,800    4,100    4,400    26,400

100094634   041146456   WALGREENS #09226        DSD          CHESTER        VA   23831     WALGREENS         BW9414981   14,500   13,300   12,220   13,560   12,100   10,500   12,697    76,180

100094415   055032938   WALGREENS #09730        DSD         ASHEBORO        NC   27203     WALGREENS         BW9415010   24,500   23,020   21,300   20,700   23,700   12,400   20,937   125,620

100094720   055033555   WALGREENS #07699        DSD         CONCORD         NC   28025     WALGREENS         BW9415111   10,200   11,600    8,000   11,500    9,100    9,500    9,983    59,900

100102865   046053587   WALGREENS #09119        DSD          ORLANDO        FL   32812     WALGREENS         BW9416668                      3,500    3,500    2,500    2,500    3,000    12,000

100102527   046051938   WALGREENS #09556        DSD        JACKSONVILLE     FL   32258     WALGREENS         BW9417216     300      200     4,700    5,200    8,600    5,200    4,033    24,200

100097403   044215228   WALGREENS #09510        DSD         LEWISBURG       TN   37091     WALGREENS         BW9421760   19,530   18,500   18,000   20,000   23,500   13,000   18,755   112,530

100097057   040117929   WALGREENS #09542        DSD        GOOSE CREEK      SC   29445     WALGREENS         BW9421796   12,100   12,200   11,200   12,600    6,000   10,500   10,767    64,600

100070702   041145045   WYTHE COUNTY COMMUNITY HSP#712      WYTHEVILLE      VA   24382       HOSPITAL        BW9421809     800      700     1,900              600      700      940      4,700

100094402   055032862   WALGREENS #09273        DSD         ANDERSON        SC   29624     WALGREENS         BW9421811   20,500   18,300   19,100   23,000   20,100   14,700   19,283   115,700

100099045   019178152   WALGREENS #06980        DSD          CHICAGO        IL   60659     WALGREENS         BW9426190   29,900   22,300   25,800   28,700   32,700   18,880   26,380   158,280

100099094   019178640   WALGREENS #09515        DSD        EAST MOLINE      IL   61244     WALGREENS         BW9426203   16,700   17,000   17,700   19,800   18,600   18,500   18,050   108,300

100101918   024120261   WALGREENS #07950        DSD        NORTH HILLS      CA   91343     WALGREENS         BW9426215    9,500   11,700    9,300   11,500   13,500    9,000   10,750    64,500

100101703   038109454   WALGREENS #09565        DSD        FORT COLLINS     CO   80525     WALGREENS         BW9426417    8,100   10,000    7,400    8,500   10,600    7,100    8,617    51,700

100097167   040119016   WALGREENS #09271        DSD         JONESBORO       GA   30236     WALGREENS         BW9429615    9,800    9,800    8,500    9,000    8,100    6,700    8,650    51,900

100098375   019172197   WALGREENS #01976        DSD       FORT ATKINSON     WI   53538     WALGREENS         BW9429627   24,800   22,000   20,800   26,200   19,700   23,200   22,783   136,700

100101674   046046490   WALGREENS #07458        DSD           MIAMI         FL   33176     WALGREENS         BW9431874              200     1,200    3,100    2,300     600     1,480     7,400

100099991   018400846   WALGREENS #09410        DSD          ATHENS         TX   75751     WALGREENS         BW9431886   10,700   15,600   16,000   15,500   14,600    7,000   13,233    79,400

100096241   004100198   WALGREENS #01977        DSD      VERNON ROCKVILLE   CT   06066     WALGREENS         BW9436797    3,800    4,900    3,600    4,600    4,900    1,900    3,950    23,700

100094893   023138727   WALGREENS #02626        DSD         GLEN COVE       NY   11542     WALGREENS         BW9440215    1,360    2,600    1,750     860     3,000    1,000    1,762    10,570

100100230   038108019   WALGREENS #09601        DSD          HUMBLE         TX   77396     WALGREENS         BW9452169    1,300    1,000   16,000   22,800   19,300   18,400   13,133    78,800

100096097   004098863   WALGREENS #07047        DSD         NEWINGTON       CT   06111     WALGREENS         BW9454290    4,130    3,400    2,500    2,300    4,100    2,100    3,088    18,530

100099791   018398859   WALGREENS #09582        DSD       OKLAHOMA CITY     OK   73141     WALGREENS         BW9460192     100      700    22,200   29,600   25,500   26,000   17,350   104,100

100097450   052221150   WALGREENS #09522        DSD          ATHENS         TN   37303     WALGREENS         BW9464582   19,200   17,800   17,200   18,700   19,400   14,000   17,717   106,300

100066889   019038455   WALGREENS SPECIALTY PHCY 9399        CHICAGO        IL   60657     WALGREENS         BW9464758    3,500    2,500    3,200    4,500    5,700    4,500    3,983    23,900

100096263   004100370   WALGREENS #07750        DSD       WEST HARTFORD     CT   06110     WALGREENS         BW9473771    2,740    3,100    2,500    2,800    3,100    2,700    2,823    16,940

100084873   046034900   WEST GABLES REHAB HOSP LLC            MIAMI         FL   33155       HOSPITAL        BW9473858              200               200                        200       400

100098266   019171108   WALGREENS #09365        DSD         HARTLAND        WI   53029     WALGREENS         BW9474280   10,800   12,100    8,600   12,100    9,200   13,000   10,967    65,800

100098286   019171306   WALGREENS #09839        DSD          CUDAHY         WI   53110     WALGREENS         BW9474329   18,400   19,500   18,000   21,100   21,800   18,200   19,500   117,000

100107196   019184507   WALGREENS #09839 340B                CUDAHY         WI   53110   PHS 340B HOSPITAL   BW9474329                                500                        500       500

100097955   019170506   WALGREENS #09711        DSD        TERRE HAUTE      IN   47805     WALGREENS         BW9474432    2,100   11,400   13,700   14,400   18,200   13,400   12,200    73,200

100100287   038108308   WALGREENS #09165        DSD         DICKINSON       TX   77539     WALGREENS         BW9474672              300     6,500    9,800   10,900    6,100    6,720    33,600

100096316   004100818   WALGREENS #09585        DSD         ROCHESTER       NY   14606     WALGREENS         BW9474761    9,600    9,300    8,600   10,400   10,500    8,500    9,483    56,900

100102327   012110924   WALGREENS #09105        DSD           RIALTO        CA   92376     WALGREENS         BW9479026   16,600   17,900   17,100   17,200   18,000   13,000   16,633    99,800

100098043   049193102   WALGREENS #09125        DSD      ROCHESTER HILLS    MI   48307     WALGREENS         BW9479038   11,700   12,900   10,900   10,900   14,500    7,300   11,367    68,200

100102078   012109058   WALGREENS #02623        DSD        CHULA VISTA      CA   91911     WALGREENS         BW9479040    8,600   10,600    9,200    9,800    9,900    6,000    9,017    54,100

100090187   012088310   WALGREENS #02623 340B              CHULA VISTA      CA   91911    PHS 340B CLINIC    BW9479040              500                                          500       500

100094921   055034082   WALGREENS #01252        DSD         GREENVILLE      SC   29605     WALGREENS         BW9482314   14,500   16,200   15,500   16,500   14,000   13,600   15,050    90,300

100103160   046055236   WALGREENS #07330        DSD       JENSEN BEACH      FL   34957     WALGREENS         BW9482326     300      200     3,900    8,800   10,800    7,800    5,300    31,800

100101965   046047332   WALGREENS #09304        DSD        GAINESVILLE      FL   32608     WALGREENS         BW9483126     530      200     2,700    2,100    6,500    3,500    2,588    15,530

100099734   021171892   WALGREENS #09624        DSD         HARRISON        AR   72601     WALGREENS         BW9485168     200    12,900   38,500   41,200   31,500   28,700   25,500   153,000

100095554   010232769   WALGREENS #09377        DSD           SALEM         OH   44460     WALGREENS         BW9485170   13,400   11,300   12,900   13,900   13,600    9,600   12,450    74,700

100103734   020164707   WALGREENS #07723        DSD         CHANDLER        AZ   85249     WALGREENS         BW9485194    6,350    6,400    7,160    6,700    7,800    4,960    6,562    39,370

100101957   032148304   WALGREENS #09258        DSD        SPRINGFIELD      OR   97477     WALGREENS         BW9485207   23,400   23,200   23,100   23,700   24,600   14,700   22,117   132,700
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100099824   018399170   WALGREENS #09595        DSD        JENKS         OK   74037     WALGREENS         BW9486665     600     9,700   26,100   28,900   30,900   24,500   20,117   120,700

100099806   018399006   WALGREENS #09874        DSD       ELK CITY       OK   73644     WALGREENS         BW9486677              100    14,100   16,600   18,200   12,000   12,200    61,000

100101852   038109876   WALGREENS #09393        DSD      CANON CITY      CO   81212     WALGREENS         BW9486689   14,900   16,100   15,200   18,000   17,500   13,500   15,867    95,200

100099468   018397695   WALGREENS #09454        DSD    INDEPENDENCE      KS   67301     WALGREENS         BW9487516   14,500   17,300   21,790   22,700   22,600   12,000   18,482   110,890

100109167   021175315   WALGREENS #09454 340B          INDEPENDENCE      KS   67301   PHS 340B HOSPITAL   BW9487516                                500                        500       500

100095407   010232454   WALGREENS #09372        DSD   NORTH RIDGEVILLE   OH   44039     WALGREENS         BW9487530    7,900    7,900    8,200    8,800   10,200    9,400    8,733    52,400

100101222   046044917   WALGREENS #09535        DSD       NAVARRE        FL   32566     WALGREENS         BW9488760     100      300     8,000    9,000   11,900   14,200    7,250    43,500

100100009   018401026   WALGREENS #09500        DSD         AZLE         TX   76020     WALGREENS         BW9489077    9,700   37,600   52,700   49,700   20,100   26,600   32,733   196,400

100095525   041150839   WALGREENS #10106        DSD      RICHMOND        VA   23221     WALGREENS         BW9492000    6,900    6,600    8,100    6,680    6,100    5,300    6,613    39,680

100099135   019179002   WALGREENS #09851        DSD      CHAMPAIGN       IL   61822     WALGREENS         BW9492012    2,600   12,000   12,600   11,600   12,800    5,600    9,533    57,200

100100222   038107938   WALGREENS #09602        DSD    THE WOODLANDS     TX   77381     WALGREENS         BW9492238     700      600    10,000   13,700   10,300    4,300    6,600    39,600

100097387   044215061   *WALGREENS #02431       DSD       FRANKLIN       TN   37067     WALGREENS         BW9492240    2,700      -                                          1,350     2,700

100097774   019168906   WALGREENS #09644        DSD     NOBLESVILLE      IN   46060     WALGREENS         BW9495260   13,700    9,600   14,600   12,100   15,000   15,100   13,350    80,100

100094989   010229757   WALGREENS #02132        DSD    INDEPENDENCE      OH   44131     WALGREENS         BW9497327    4,100    5,100    3,800    3,700    4,900    3,400    4,167    25,000

100095824   041151746   WALGREENS #07969        DSD   BERKELEY HEIGHTS   NJ   07922     WALGREENS         BW9501126    5,500    4,480    4,360    3,090    4,500    2,500    4,072    24,430

100100171   038107466   WALGREENS #02116        DSD       HOUSTON        TX   77084     WALGREENS         BW9501948     100      100     3,200    4,800    3,100     600     1,983    11,900

100099129   019178947   WALGREENS #09852        DSD       URBANA         IL   61802     WALGREENS         BW9502433    7,200   25,030   28,800   28,200   28,100   16,500   22,305   133,830

100094901   055033951   WALGREENS #09288        DSD      GOLDSBORO       NC   27534     WALGREENS         BW9502988   22,060   21,500   18,720   25,900   18,200   14,600   20,163   120,980

100100329   037132720   WALGREENS #07963        DSD       VICTORIA       TX   77901     WALGREENS         BW9503005    1,020    2,100   20,000   35,140   32,900   15,500   17,777   106,660

100098423   019172650   WALGREENS #09682        DSD     LITTLE CHUTE     WI   54140     WALGREENS         BW9506075    8,000    7,000    7,000    8,000    8,000    6,000    7,333    44,000

100099975   018400689   WALGREENS #09123        DSD      GREENVILLE      TX   75402     WALGREENS         BW9506695   36,800   44,700   46,500   40,220   20,600   28,600   36,237   217,420

100101893   038109959   WALGREENS #09548        DSD      CHEYENNE        WY   82009     WALGREENS         BW9506708   11,100   10,500   10,300   10,100   11,600    8,600   10,367    62,200

100099582   037131375   WALGREENS #09753        DSD    DONALDSONVILLE    LA   70346     WALGREENS         BW9506772      80              6,300   11,700   13,600    9,000    8,136    40,680

100097763   049192310   WALGREENS #09409        DSD     PERRYSBURG       OH   43551     WALGREENS         BW9506784    7,210    6,400    5,300    6,160    7,300    2,700    5,845    35,070

100094488   010228353   WALGREENS #10032        DSD     BRECKSVILLE      OH   44141     WALGREENS         BW9507786    3,700    3,300    4,000    3,700    3,700    4,600    3,833    23,000

100094453   010228239   WALGREENS #10029        DSD      BAY VILLAGE     OH   44140     WALGREENS         BW9507837    2,800    1,900    3,200    2,100    2,200    1,600    2,300    13,800

100100395   018402362   WALGREENS #09697        DSD     SAN ANTONIO      TX   78254     WALGREENS         BW9507851     630     1,600    9,200   15,800   11,300    5,600    7,355    44,130

100095469   010232603   WALGREENS #09345        DSD      PITTSBURGH      PA   15235     WALGREENS         BW9508308    4,400    3,900    3,800    4,930    3,700    5,000    4,288    25,730

100094462   010228262   WALGREENS #10220        DSD       BEDFORD        OH   44146     WALGREENS         BW9509588    8,000    8,700    9,800    8,300    9,200    9,200    8,867    53,200

100099481   021171363   WALGREENS #09899        DSD       FREMONT        NE   68025     WALGREENS         BW9510339   17,800   15,200   18,700   19,600   20,900   12,000   17,367   104,200

100101916   038109991   WALGREENS #09547        DSD       SHERIDAN       WY   82801     WALGREENS         BW9510341    7,700    9,200    7,500    9,300   10,000    4,500    8,033    48,200

100100323   038108613   WALGREENS #09574        DSD        BRYAN         TX   77802     WALGREENS         BW9510353     200      100     7,400   15,400   15,900    5,700    7,450    44,700

100103450   008114884   WALGREENS #09171        DSD       SAN JOSE       CA   95135     WALGREENS         BW9510365    3,200    2,600    3,300    1,800    3,300    1,300    2,583    15,500

100102351   046049957   *WALGREENS #02200       DSD    ST PETERSBURG     FL   33710     WALGREENS         BW9511088     200                                                   200       200

100101816   038109769   WALGREENS #09768        DSD   COLORADO SPRINGS   CO   80918     WALGREENS         BW9511848    6,800    7,400    5,200    6,100    9,900    3,900    6,550    39,300

100097302   052220491   WALGREENS #09683        DSD        JASPER        AL   35504     WALGREENS         BW9511850   43,920   47,130   46,230   52,280   26,820   40,800   42,863   257,180

100094598   041146324   WALGREENS #07574        DSD     CATONSVILLE      MD   21228     WALGREENS         BW9512422    4,700    4,900    5,680    5,000    5,500    4,000    4,963    29,780

100097461   052221267   WALGREENS #09208        DSD     MANCHESTER       TN   37355     WALGREENS         BW9514313   32,700   31,600   35,200   37,200   18,500   25,000   30,033   180,200

100097762   019168799   WALGREENS #09483        DSD       DEFIANCE       OH   43512     WALGREENS         BW9515757    4,600    5,700    4,500    5,500    6,500    4,500    5,217    31,300

100099206   044218032   WALGREENS #07692        DSD     CHESTERFIELD     MO   63005     WALGREENS         BW9516153             5,500    4,300    5,600    6,400    3,300    5,020    25,100

100101937   046047241   WALGREENS #09026        DSD     JACKSONVILLE     FL   32259     WALGREENS         BW9516622     200      600     1,500    2,300    4,500    2,500    1,933    11,600

100097609   052222018   WALGREENS #09444        DSD    LAWRENCEBURG      TN   38464     WALGREENS         BW9517686   34,000   31,700   32,500   36,100   26,100   28,500   31,483   188,900

100097455   052221200   WALGREENS #07540        DSD      CLEVELAND       TN   37323     WALGREENS         BW9518145   43,600   49,100   46,230   46,000   26,200   42,700   42,305   253,830

100097456   052221218   WALGREENS #09295        DSD       DECHERD        TN   37324     WALGREENS         BW9518169   20,100   19,800   19,000   21,600   21,900   17,700   20,017   120,100
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100100108   038106971   WALGREENS #09696        DSD        HOUSTON           TX   77025     WALGREENS         BW9518171      40      300     4,300    6,840    7,100    2,600    3,530    21,180

100095789   023146209   WALGREENS #09677        DSD          YORK            PA   17403     WALGREENS         BW9518183    8,530   10,560    9,000   11,000   10,800   10,300   10,032    60,190

100102670   020162263   WALGREENS #07747        DSD         GILBERT          AZ   85297     WALGREENS         BW9519995    7,400    6,500    7,800    7,100    9,100    4,700    7,100    42,600

100101775   038109645   WALGREENS #09561        DSD     WOODLAND PARK        CO   80863     WALGREENS         BW9520948   18,700   19,800   16,500   18,100   17,700   13,600   17,400   104,400

100094714   010228999   WALGREENS #09540        DSD        COLUMBUS          OH   43220     WALGREENS         BW9523691    3,340    3,260    3,800    3,900    4,300    3,500    3,683    22,100

100094818   010229351   WALGREENS #10710        DSD          EUCLID          OH   44117     WALGREENS         BW9525188    7,600    5,500    6,000    5,000    5,500    5,700    5,883    35,300

100099131   019178962   WALGREENS #09611        DSD        CHAMPAIGN         IL   61820     WALGREENS         BW9525190    4,200   13,500   14,400   16,100   16,200    8,500   12,150    72,900

100099025   019177956   WALGREENS #09000        DSD         CHICAGO          IL   60647     WALGREENS         BW9525455   18,400   19,900   16,000   20,900   12,500   20,300   18,000   108,000

100103681   046055632   WALGREENS #07207        DSD          OCALA           FL   34476     WALGREENS         BW9526205                      4,300    7,000   12,100   11,500    8,725    34,900

100099711   018398172   WALGREENS #09766        DSD         SEARCY           AR   72143     WALGREENS         BW9526685   22,100   31,200   30,800   37,600   34,900   19,000   29,267   175,600

100103500   008115709   WALGREENS #06706        DSD       SACRAMENTO         CA   95822     WALGREENS         BW9528603   21,700   22,200   19,400   22,600   21,800   13,000   20,117   120,700

100097267   052220145   WALGREENS #09951        DSD        ALABASTER         AL   35007     WALGREENS         BW9529326   16,800   16,520   16,000   15,300   14,600   11,000   15,037    90,220

100102798   046053298   WALGREENS #01077        DSD        SARASOTA          FL   34237     WALGREENS         BW9529833     700      380     5,100    9,400    8,800    7,500    5,313    31,880

100103526   032149054   WALGREENS #09651        DSD        THE DALLES        OR   97058     WALGREENS         BW9530595   20,600   22,100   17,400   19,800   21,400   11,100   18,733   112,400

100102310   046049775   WALGREENS #07569        DSD          TAMPA           FL   33647     WALGREENS         BW9530658              100     1,130    8,180   10,030    6,300    5,148    25,740

100094835   041146928   WALGREENS #07590        DSD   FEASTERVILLE TREVOSE   PA   19053     WALGREENS         BW9531395    4,000    5,660    4,100    5,400    5,900    5,000    5,010    30,060

100101219   046044883   WALGREENS #07815        DSD          TAMPA           FL   33611     WALGREENS         BW9531408     100      200     1,120    8,600    8,900    9,030    4,658    27,950

100094447   041146126   WALGREENS #07573        DSD        BALTIMORE         MD   21212     WALGREENS         BW9531410    3,030    5,100    3,200    2,800    4,200    2,600    3,488    20,930

100098848   019175182   WALGREENS #09347        DSD      PALOS HEIGHTS       IL   60463     WALGREENS         BW9531458   15,200   14,600   16,400   19,500   19,700   18,900   17,383   104,300

100103653   032151043   WALGREENS #09379        DSD       VANCOUVER          WA   98682     WALGREENS         BW9532044    7,300    7,200    8,300    7,030   10,300    4,700    7,472    44,830

100096265   004100396   WALGREENS #09177        DSD      WEST LEBANON        NH   03784     WALGREENS         BW9532068    7,260    8,300    7,700    7,100    8,700    5,300    7,393    44,360

100101545   038108969   WALGREENS #01306        DSD        LITTLETON         CO   80127     WALGREENS         BW9532210    7,100    8,000    9,600    9,300    9,100    5,500    8,100    48,600

100100090   038106799   WALGREENS #09294        DSD        HOUSTON           TX   77007     WALGREENS         BW9533375     400      400     3,500    2,800    4,600    1,300    2,167    13,000

100102813   020162602   WALGREENS #07933        DSD        SURPRISE          AZ   85379     WALGREENS         BW9537094    9,800   12,800   10,400   11,300   14,400    6,100   10,800    64,800

100096108   004098954   *WALGREENS #01478       DSD      NORTH EASTON        MA   02356     WALGREENS         BW9537107     100                                                   100       100

100103724   046056119   WALGREENS #07436        DSD       SAINT CLOUD        FL   34771     WALGREENS         BW9537323     100      100     7,200    8,600    7,200    5,100    4,717    28,300

100098725   019173898   WALGREENS #09059        DSD        ALGONQUIN         IL   60102     WALGREENS         BW9538034    7,800    8,500    7,300    8,100   11,000    6,100    8,133    48,800

100097181   040119156   WALGREENS #09303        DSD         ATLANTA          GA   30305     WALGREENS         BW9539543    2,800    5,070    4,000    4,700    4,100    3,000    3,945    23,670

100102913   046053827   WALGREENS #07694        DSD        ORLANDO           FL   32820     WALGREENS         BW9541714     600       -      4,700    7,000    6,500    4,600    3,900    23,400

100097247   046044438   WALGREENS #07848        DSD        BRUNSWICK         GA   31520     WALGREENS         BW9543009   13,600   14,500   16,000   14,300   12,000   10,700   13,517    81,100

100102789   020162545   WALGREENS #09742        DSD          YUMA            AZ   85364     WALGREENS         BW9543073   18,000   18,200   17,900   17,500   21,000    7,000   16,600    99,600

100097602   044216309   WALGREENS #09835        DSD         JACKSON          TN   38305     WALGREENS         BW9543085   31,520   30,300   29,700   31,900   21,500   26,040   28,493   170,960

100102189   012110346   WALGREENS #01254        DSD          INDIO           CA   92201     WALGREENS         BW9543097    8,300    7,400    8,500    7,800   11,000    6,800    8,300    49,800

100098386   019172304   WALGREENS #09741        DSD         OREGON           WI   53575     WALGREENS         BW9543100   19,000   19,530   19,530   19,500   22,060   12,000   18,603   111,620

100095703   041151357   WALGREENS #09383        DSD       WARRENTON          VA   20186     WALGREENS         BW9546271   10,300   12,900   11,640   11,750   15,300   10,000   11,982    71,890

100094516   023137802   WALGREENS #01918        DSD        BROOKLYN          NY   11206     WALGREENS         BW9547160    4,900    1,400    2,500    1,100    1,300    2,100    2,217    13,300

100095788   023146191   WALGREENS #09591        DSD          YORK            PA   17402     WALGREENS         BW9550244   19,800   17,400   15,200   17,400   11,300   12,900   15,667    94,000

100097290   052220376   WALGREENS #09701        DSD         VESTAVIA         AL   35216     WALGREENS         BW9552945    8,820    7,730    8,000    8,100    8,700    7,000    8,058    48,350

100094612   055033225   WALGREENS #01376        DSD        CHARLOTTE         NC   28211     WALGREENS         BW9554002   15,580   17,600   17,430   16,970   14,600   12,850   15,838    95,030

100095579   055036574   WALGREENS #09562        DSD         SHELBY           NC   28150     WALGREENS         BW9560182   16,800   17,700   17,500   18,300   21,600   15,500   17,900   107,400

100103529   032149088   WALGREENS #09353        DSD        CORNELIUS         OR   97113     WALGREENS         BW9565170   12,200   10,600   11,600   11,100   12,700    8,700   11,150    66,900

100105600   032152157   WALGREENS #09353 340B              CORNELIUS         OR   97113   PHS 340B HOSPITAL   BW9565170     500                                                   500       500

100102542   046052001   WALGREENS #09006        DSD         SEBRING          FL   33870     WALGREENS         BW9568568     500      900     3,600    9,500    9,700    9,000    5,533    33,200

100103064   020163212   WALGREENS #09292        DSD        PRESCOTT          AZ   86301     WALGREENS         BW9569483   19,300   18,900   16,760   20,100   25,400   12,200   18,777   112,660
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100087129   003090647   WALGREENS #283                  SAN JUAN       PR   00918     WALGREENS         BW9569495      40                        100                         70       140

100103479   008115204   WALGREENS #06142        DSD     ELK GROVE      CA   95624     WALGREENS         BW9569508   15,000   14,800   12,300   14,700   14,300   12,000   13,850    83,100

100097891   019170076   WALGREENS #09893        DSD      DECATUR       IN   46733     WALGREENS         BW9571957    9,000    7,900    8,200    9,700   12,100    6,100    8,833    53,000

100095001   055034454   WALGREENS #09348        DSD   JACKSONVILLE     NC   28540     WALGREENS         BW9575311    6,340    7,500    7,200    6,600    7,100    5,400    6,690    40,140

100094684   055033423   WALGREENS #09462        DSD      CLINTON       NC   28328     WALGREENS         BW9575323   10,300    9,300    9,900    9,000    9,700    7,300    9,250    55,500

100098132   049193797   WALGREENS #10129        DSD   BYRON CENTER     MI   49315     WALGREENS         BW9576046   16,700   15,100   17,500   17,600   16,300    9,500   15,450    92,700

100098626   025091074   WALGREENS #09633        DSD      BEMIDJI       MN   56601     WALGREENS         BW9578963   14,400   17,800   16,200   18,500   19,200    6,600   15,450    92,700

100097197   040119313   WALGREENS #09706        DSD    GAINESVILLE     GA   30501     WALGREENS         BW9581984   21,520   23,900   21,990   22,100   19,700   19,000   21,368   128,210

100099383   021170522   WALGREENS #09796        DSD      LEBANON       MO   65536     WALGREENS         BW9582859   21,700   32,300   28,500   35,400   28,800   22,800   28,250   169,500

100099541   037105494   WALGREENS #09861        DSD      BOUTTE        LA   70039     WALGREENS         BW9582861             1,000   12,500   21,000   18,500   16,300   13,860    69,300

100102386   012111070   WALGREENS #02712        DSD     RIVERSIDE      CA   92509     WALGREENS         BW9583976   38,200   40,800   34,400   38,900   39,000   38,500   38,300   229,800

100102580   012111591   WALGREENS #09197        DSD     PLACENTIA      CA   92870     WALGREENS         BW9583988   11,100   13,910   11,100   12,000   12,400   10,500   11,835    71,010

100099618   037131748   WALGREENS #09862        DSD       RAYNE        LA   70578     WALGREENS         BW9583990     800     2,100    9,000   16,800   23,100   13,700   10,917    65,500

100097700   044216663   WALGREENS #09443        DSD    SHELBYVILLE     KY   40065     WALGREENS         BW9585792    2,700   18,800   20,800   26,100   19,700   18,000   17,683   106,100

100095112   010232033   WALGREENS #09047        DSD     MANSFIELD      OH   44906     WALGREENS         BW9585831    6,700    6,100    6,600    7,600    6,500    7,700    6,867    41,200

100099643   037131995   WALGREENS #09860        DSD   BATON ROUGE      LA   70805     WALGREENS         BW9588128      20       -     21,500   33,700   28,500   37,000   20,120   120,720

100101848   038109868   WALGREENS #09912        DSD     ALAMOSA        CO   81101     WALGREENS         BW9588231   15,400   16,000   14,100   16,500   16,700   10,400   14,850    89,100

100099179   044217778   WALGREENS #09892        DSD    TAYLORVILLE     IL   62568     WALGREENS         BW9589168    5,300   19,600   23,000   24,400   24,800   13,000   18,350   110,100

100099373   021170423   WALGREENS #09713        DSD   JEFFERSON CITY   MO   65109     WALGREENS         BW9589182    8,400    9,500    8,800   11,500   14,100    9,700   10,333    62,000

100097335   052220822   WALGREENS #07951        DSD     ANNISTON       AL   36201     WALGREENS         BW9589194   28,700   29,300   29,700   28,700   17,300   31,000   27,450   164,700

100094801   041146860   WALGREENS #07225        DSD    ELKINS PARK     PA   19027     WALGREENS         BW9589207    4,100    4,900    3,100    4,260    4,100    3,200    3,943    23,660

100097229   040119578   WALGREENS #09643        DSD   WARNER ROBINS    GA   31088     WALGREENS         BW9589930   16,200   19,100   17,200   17,900   27,100   15,600   18,850   113,100

100101912   046047167   WALGREENS #07755        DSD    PALM COAST      FL   32164     WALGREENS         BW9589942     600      900    12,800   13,800   23,000   21,000   12,017    72,100

100098061   049193284   WALGREENS #09252        DSD     HIGHLAND       MI   48356     WALGREENS         BW9591531   18,800   17,700   18,200   16,000   16,300   20,500   17,917   107,500

100098121   019170738   WALGREENS #09691        DSD    SOUTH HAVEN     MI   49090     WALGREENS         BW9591555   31,100   37,100   33,700   33,500   31,500   28,500   32,567   195,400

100099809   021171926   WALGREENS #09735        DSD    WOODWARD        OK   73801     WALGREENS         BW9593333              500     9,000    9,000    9,500    5,500    6,700    33,500

100094994   004092890   WALGREENS #09758        DSD    IRONDEQUOIT     NY   14622     WALGREENS         BW9593357    8,500    8,730    8,500    9,600   12,330    6,400    9,010    54,060

100098520   025090027   WALGREENS #09727        DSD   APPLE VALLEY     MN   55124     WALGREENS         BW9593371    5,000    4,500    5,000    3,600    6,500    2,500    4,517    27,100

100094840   010229435   WALGREENS #09360        DSD     FLORENCE       KY   41042     WALGREENS         BW9593383    7,900    8,900    6,600    9,100    8,700    5,500    7,783    46,700

100099330   021169995   WALGREENS #01236        DSD    GRANDVIEW       MO   64030     WALGREENS         BW9593775    6,800   23,000   22,500   27,200   28,600   14,500   20,433   122,600

100095933   004094979   WALGREENS #09250        DSD      EPPING        NH   03042     WALGREENS         BW9597317    4,200    4,000    4,500    4,600    5,300    2,300    4,150    24,900

100065564   037095752   WALGREENS #10522                HOUSTON        TX   77074     WALGREENS         BW9598193              100     5,300    7,590    9,200    3,500    5,138    25,690

100098785   019174490   WALGREENS #09506        DSD    SCHAUMBURG      IL   60194     WALGREENS         BW9598206    9,690   12,190   10,190   10,600   12,200    4,800    9,945    59,670

100103606   032149849   WALGREENS #09423        DSD    DES MOINES      WA   98198     WALGREENS         BW9600431   14,390   13,500   11,800   13,200   16,500    5,700   12,515    75,090

100101865   038109884   WALGREENS #09493        DSD     MONTROSE       CO   81401     WALGREENS         BW9602360   15,600   18,900   15,800   18,400   18,400   14,000   16,850   101,100

100103173   020163493   WALGREENS #07438        DSD   ALBUQUERQUE      NM   87111     WALGREENS         BW9603742    5,500    7,500    5,530    7,900    7,700    5,000    6,522    39,130

100103227   046055517   WALGREENS #09361        DSD    HOMESTEAD       FL   33033     WALGREENS         BW9606508     600      220      900     5,700    5,200    2,600    2,537    15,220

100094925   055034124   WALGREENS #09597        DSD    GREENVILLE      SC   29609     WALGREENS         BW9606611   16,000   17,000   16,000   16,500   14,000   15,600   15,850    95,100

100099735   021171900   WALGREENS #09743        DSD   MOUNTAIN HOME    AR   72653     WALGREENS         BW9606623   23,600   39,900   42,100   45,000   49,400   30,000   38,333   230,000

100109394   021176115   WALGREENS #09743 340B         MOUNTAIN HOME    AR   72653   PHS 340B HOSPITAL   BW9606623    1,700    6,900    2,600    4,200    1,100     500     2,833    17,000

100095841   041151787   WALGREENS #07921        DSD       BRICK        NJ   08723     WALGREENS         BW9606635    9,430    9,760    9,100   10,000    8,700    9,000    9,332    55,990

100099427   021170969   WALGREENS #09424        DSD   OVERLAND PARK    KS   66213     WALGREENS         BW9606914    1,000    8,760    6,700    8,360   10,800    7,500    7,187    43,120

100087114   003090340   WALGREENS #00121                 COAMO         PR   00769     WALGREENS         BW9609756                                100                        100       100

100064939   004065904   WALGREENS #10003                 MERIDEN       CT   06450     WALGREENS         BW9609819    1,500    3,000    1,600    1,000    1,700    1,000    1,633     9,800
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100064940   004065912   WALGREENS CO 10003-340B        MERIDEN        CT   06450   PHS 340B CLINIC   BW9609819     200      100      800      500                        400      1,600

100097632   052222083   WALGREENS #09896     DSD      CLEVELAND       MS   38732    WALGREENS        BW9609869   15,350   14,700   14,290   13,810   11,100   10,500   13,292    79,750

100098634   025091082   WALGREENS #10007     DSD     WATERTOWN        SD   57201    WALGREENS        BW9609934   14,200   14,700   12,700   13,200   17,000   10,200   13,667    82,000

100097246   040119743   WALGREENS #09277     DSD      WAYCROSS        GA   31501    WALGREENS        BW9610646   18,700   18,800   16,830   20,100    9,300   13,000   16,122    96,730

100098466   019172908   WALGREENS #10234     DSD     GRAND CHUTE      WI   54913    WALGREENS        BW9610658    9,500    8,600    9,500   11,500   12,000    9,500   10,100    60,600

100098476   019173005   WALGREENS #10236     DSD       NEENAH         WI   54956    WALGREENS        BW9610660    8,000    8,600    8,100    9,100    9,000    6,000    8,133    48,800

100101866   024120121   WALGREENS #09139     DSD      PASADENA        CA   91101    WALGREENS        BW9610672    8,100    7,800    7,000    7,500   10,200    8,500    8,183    49,100

100100030   018401232   WALGREENS #09763     DSD     FORT WORTH       TX   76107    WALGREENS        BW9610684    2,100   11,420   10,700   11,400    8,200   10,000    8,970    53,820

100103535   032149146   WALGREENS #09671     DSD     WARRENTON        OR   97146    WALGREENS        BW9610975   17,000   17,210   19,100   17,400   13,800   10,300   15,802    94,810

100098287   019171314   WALGREENS #09210     DSD       DELAVAN        WI   53115    WALGREENS        BW9611749   19,300   19,300   16,900   19,000   24,200    9,000   17,950   107,700

100087169   003091504   WALGREENS #01476               ANASCO         PR   00610    WALGREENS        BW9611763     200      300     1,300     600                        600      2,400

100100088   038106773   WALGREENS #09808     DSD       HOUSTON        TX   77006    WALGREENS        BW9612119     100      100     5,130    3,700    3,900    3,500    2,738    16,430

100095828   041151753   WALGREENS #01531     DSD     BLACKWOOD        NJ   08012    WALGREENS        BW9612513    4,200    4,100    3,700    4,900    3,600    3,030    3,922    23,530

100097372   044214916   WALGREENS #09762     DSD       ANTIOCH        TN   37013    WALGREENS        BW9615064   14,300   12,100   11,700   12,100   12,300   10,500   12,167    73,000

100100189   038107623   WALGREENS #10259     DSD       HOUSTON        TX   77093    WALGREENS        BW9616181     500      800    11,100   16,100    9,100    8,800    7,733    46,400

100102502   046051805   WALGREENS #09025     DSD     JACKSONVILLE     FL   32244    WALGREENS        BW9616333     700      200     6,230    7,700    8,000    5,500    4,722    28,330

100097404   052221135   WALGREENS #07075     DSD     MC MINNVILLE     TN   37110    WALGREENS        BW9616383   27,500   24,500   23,600   26,500   29,500   20,500   25,350   152,100

100095694   055036822   WALGREENS #09987     DSD     WAKE FOREST      NC   27587    WALGREENS        BW9620267    7,400    7,100    8,500    7,200    9,400    5,900    7,583    45,500

100095200   004093534   WALGREENS #09799     DSD    NEW HARTFORD      NY   13413    WALGREENS        BW9620546   10,100    8,000   10,300    8,000   11,060    6,660    9,020    54,120

100100369   018402107   WALGREENS #09615     DSD     SAN ANTONIO      TX   78223    WALGREENS        BW9623439     500     1,580   10,500   15,800   15,200    7,300    8,480    50,880

100098536   025090183   WALGREENS #09728     DSD     CHANHASSEN       MN   55317    WALGREENS        BW9623441    4,100    4,500    2,500    3,600    4,600    2,900    3,700    22,200

100099019   019177899   WALGREENS #09357     DSD       CHICAGO        IL   60643    WALGREENS        BW9626067   11,200   10,200   15,500   20,200   13,500    5,100   12,617    75,700

100094690   004092684   WALGREENS #09154     DSD       ALBANY         NY   12205    WALGREENS        BW9626081    6,030    5,030    5,000    5,530    9,000    2,500    5,515    33,090

100098710   019173740   WALGREENS #02137     DSD     BEACH PARK       IL   60087    WALGREENS        BW9626093   12,000   12,700   13,600   13,100   10,800   10,800   12,167    73,000

100103482   008115246   WALGREENS #09048     DSD       FOLSOM         CA   95630    WALGREENS        BW9626106   12,900   11,600   10,800   10,600   11,500   11,200   11,433    68,600

100101635   038109256   WALGREENS #07253     DSD       DENVER         CO   80249    WALGREENS        BW9628554   13,000   13,700   11,000   13,400   13,000    7,500   11,933    71,600

100102318   046049817   WALGREENS #07827     DSD   SAINT PETERSBURG   FL   33702    WALGREENS        BW9628631     100      600      700    11,800   10,000   10,700    5,650    33,900

100098092   049193599   WALGREENS #01910     DSD       HOWELL         MI   48843    WALGREENS        BW9628908   23,260   22,880   20,490   22,080   21,400   17,600   21,285   127,710

100094603   010228494   WALGREENS #09873     DSD     CENTERVILLE      OH   45458    WALGREENS        BW9629897    9,600    7,300    8,100    8,600    8,000    6,500    8,017    48,100

100098447   025089565   WALGREENS #01158     DSD      WOODRUFF        WI   54568    WALGREENS        BW9631587   15,520   16,000   12,320   13,400   13,800    6,800   12,973    77,840

100101591   046046185   WALGREENS #09206     DSD        MIAMI         FL   33156    WALGREENS        BW9631599                       500     1,130     600      600      708      2,830

100098416   019172601   WALGREENS #10237     DSD     REEDSBURG        WI   53959    WALGREENS        BW9631602   19,830   21,900   19,600   20,800   22,300   12,500   19,488   116,930

100097347   052220905   WALGREENS #10169     DSD     SPANISH FORT     AL   36527    WALGREENS        BW9633151   23,500   24,700   19,600   20,800   16,600   15,500   20,117   120,700

100103158   008113811   WALGREENS #01109     DSD    SAN FRANCISCO     CA   94131    WALGREENS        BW9634987   12,200   14,100   13,500   11,700   15,900    8,200   12,600    75,600

100098618   025090993   WALGREENS #10210     DSD       SARTELL        MN   56377    WALGREENS        BW9634999    7,300    6,400    7,200    7,400    9,600    4,700    7,100    42,600

100094796   041146837   WALGREENS #09342     DSD      EDGEWOOD        MD   21040    WALGREENS        BW9638719   10,100    8,000    7,500   11,300    6,600    8,100    8,600    51,600

100102544   012111492   WALGREENS #09388     DSD       ANAHEIM        CA   92804    WALGREENS        BW9640106   11,000   11,200   12,000   12,500   11,800   11,900   11,733    70,400

100096072   041152306   WALGREENS #07233     DSD    MOUNT LAUREL      NJ   08054    WALGREENS        BW9640536    3,900    5,000    4,700    4,690    4,500    4,300    4,515    27,090

100102728   020162396   WALGREENS #09175     DSD       BUCKEYE        AZ   85326    WALGREENS        BW9642984   19,500   19,930   20,600   18,500   19,900   12,500   18,488   110,930

100094420   010228163   WALGREENS #09833     DSD      ASHTABULA       OH   44004    WALGREENS        BW9643013   10,000   10,600   10,000   10,600    8,000    6,500    9,283    55,700

100098188   021169235   WALGREENS #09791     DSD       ALTOONA        IA   50009    WALGREENS        BW9643025   19,800   20,700   20,400   21,800   22,700   16,700   20,350   122,100

100102579   046052183   WALGREENS #09578     DSD    CRAWFORDVILLE     FL   32327    WALGREENS        BW9643037     500      200     3,800    5,400   10,200    9,500    4,933    29,600

100102680   046052670   WALGREENS #09421     DSD   KEYSTONE HEIGHTS   FL   32656    WALGREENS        BW9644205     300      200     6,400    7,300   12,100   10,600    6,150    36,900

100103337   020164202   WALGREENS #09368     DSD       EL PASO        TX   79938    WALGREENS        BW9644279    5,300   23,480   21,300   18,700   22,100    3,500   15,730    94,380
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100094786   041146779   WALGREENS #07366        DSD    EAST NORRITON    PA   19401     WALGREENS         BW9646362    2,300    3,000     2,100    1,600    2,700    1,300    2,167    13,000

100102960   046054098   WALGREENS #07466        DSD       HUDSON        FL   34667     WALGREENS         BW9646867     100      530      3,100   23,630    8,100    7,200    7,110    42,660

100106521   038110684   UHS OF WYOMING, INC                CASPER       WY   82609       HOSPITAL        BW9647756     100      200       100      200      200               160       800

100102171   017097808   WALGREENS #09974        DSD      SPRINGVILLE    UT   84663     WALGREENS         BW9649469   13,800   14,700    12,700   14,000   14,300   10,000   13,250    79,500

100101604   008112391   WALGREENS #02658        DSD         RENO        NV   89503     WALGREENS         BW9651628   19,900   16,500    17,500   19,200   19,700   10,200   17,167   103,000

100068696   041112771   WELLCARE PHARMACY INC(Z)        OWINGS MILLS    MD   21117     INDEPENDENT       BW9651705    1,600     (400)    1,500     100      800               720      3,600

100097224   040119529   WALGREENS #09849        DSD       CORDELE       GA   31015     WALGREENS         BW9653583   12,800   11,800    12,600   13,100   13,000   14,000   12,883    77,300

100100370   018402115   WALGREENS #07371        DSD     SAN ANTONIO     TX   78224     WALGREENS         BW9655652    1,400    2,560    23,800   42,400   19,200   16,800   17,693   106,160

100095559   055036517   WALGREENS #09661        DSD      SALISBURY      NC   28147     WALGREENS         BW9661439   24,600   21,940    18,100   22,500   11,200   21,600   19,990   119,940

100095203   010232348   WALGREENS #09344        DSD    NEW KENSINGTON   PA   15068     WALGREENS         BW9664245    7,800    7,700     7,500    8,100    9,600    7,000    7,950    47,700

100095439   055036301   WALGREENS #07956        DSD    PAWLEYS ISLAND   SC   29585     WALGREENS         BW9664257    9,400    8,540     8,700   12,100    7,100    9,000    9,140    54,840

100097460   052221259   WALGREENS #10164        DSD     MADISONVILLE    TN   37354     WALGREENS         BW9672709   24,300   22,600    21,000   24,120   21,000   19,000   22,003   132,020

100107363   052224220   WALGREENS #10164 340B           MADISONVILLE    TN   37354   PHS 340B HOSPITAL   BW9672709     500      500       500                                 500      1,500

100094403   055032870   WALGREENS #09637        DSD      ANDERSON       SC   29624     WALGREENS         BW9674690   23,800   21,700    26,230   33,800   19,600   24,000   24,855   149,130

100094795   041146829   WALGREENS #09490        DSD      EDGEWATER      MD   21037     WALGREENS         BW9677898    4,360    4,860     3,800    3,430    6,100    3,090    4,273    25,640

100097417   044215350   WALGREENS #09945        DSD     SHELBYVILLE     TN   37160     WALGREENS         BW9677913   27,600   29,100    29,200   32,190   32,490   19,600   28,363   170,180

100098334   019171785   WALGREENS #10196        DSD     WAUWATOSA       WI   53213     WALGREENS         BW9679424   14,400   14,200    14,500   13,500   13,900    8,900   13,233    79,400

100102038   032148353   WALGREENS #10195        DSD      KENNEWICK      WA   99336     WALGREENS         BW9680403   26,000   26,200    25,200   27,100   23,500   22,100   25,017   150,100

100097922   044217240   WALGREENS #09710        DSD     FLOYDS KNOBS    IN   47119     WALGREENS         BW9680415    4,000   22,300    28,600   32,000   31,400   22,000   23,383   140,300

100099030   019178004   WALGREENS #07876        DSD       CHICAGO       IL   60649     WALGREENS         BW9681621    6,100    5,600     6,700    6,200    6,700    3,700    5,833    35,000

100097180   040119149   WALGREENS #09621        DSD      ELLENWOOD      GA   30294     WALGREENS         BW9682623    8,800    9,180     8,500    9,700    8,000    8,000    8,697    52,180

100102749   020162446   WALGREENS #02243        DSD      GOODYEAR       AZ   85338     WALGREENS         BW9684297   13,600   14,800    13,600   16,200   10,500   12,300   13,500    81,000

100097114   040118497   WALGREENS #09272        DSD       MARIETTA      GA   30064     WALGREENS         BW9684398    5,000    6,100     5,000    5,100    5,100    3,000    4,883    29,300

100102891   046053710   WALGREENS #01724        DSD        OCALA        FL   34482     WALGREENS         BW9688992              300      3,000    7,300   11,500   10,700    6,560    32,800

100095063   010231829   WALGREENS #09857        DSD      LEXINGTON      KY   40511     WALGREENS         BW9689019    1,000    9,700    10,200   10,400   11,100    5,000    7,900    47,400

100099663   018397778   WALGREENS #09998        DSD     BOSSIER CITY    LA   71111     WALGREENS         BW9689021     400     7,100     7,600    7,600   10,500    9,000    7,033    42,200

100103553   032149328   WALGREENS #09875        DSD     LINCOLN CITY    OR   97367     WALGREENS         BW9689033   12,700   14,000    13,300   13,600   12,500   11,000   12,850    77,100

100097875   019169912   *WALGREENS #09825       DSD      MISHAWAKA      IN   46544     WALGREENS         BW9689045    3,600    2,900                                         3,250     6,500

100070600   041175737   WILDCAT PHARMACY(X)      CPA       POUND        VA   24279     INDEPENDENT       BW9689273   39,000   23,000    36,100   15,000    7,400   16,000   22,750   136,500

100098591   025090738   WALGREENS #01002        DSD      PLYMOUTH       MN   55447     WALGREENS         BW9689653    8,800    9,500    10,100    8,900   11,400    8,200    9,483    56,900

100094425   004092502   WALGREENS #10157        DSD       AUBURN        NY   13021     WALGREENS         BW9691177    8,800    9,700     8,200   10,200   12,400    6,900    9,367    56,200

100102275   012110700   WALGREENS #01870        DSD     APPLE VALLEY    CA   92308     WALGREENS         BW9691191   29,400   30,900    30,300   33,200   35,500   26,400   30,950   185,700

100102018   020160283   WALGREENS #09953        DSD        TUCSON       AZ   85710     WALGREENS         BW9696711   11,700   11,400    12,800   11,120   15,600    7,700   11,720    70,320

100095031   055035824   WALGREENS #09555        DSD      KNIGHTDALE     NC   27545     WALGREENS         BW9696735    4,700    5,800     6,700    5,700    7,600    4,600    5,850    35,100

100098613   025090944   WALGREENS #10189        DSD     WORTHINGTON     MN   56187     WALGREENS         BW9696747    3,700    2,600     2,100    3,000    3,100    2,600    2,850    17,100

100100022   018401158   WALGREENS #09721        DSD      MIDLOTHIAN     TX   76065     WALGREENS         BW9696759   10,700   17,300    17,200   16,140   14,300    9,500   14,190    85,140

100098627   021169797   WALGREENS #09806        DSD       YANKTON       SD   57078     WALGREENS         BW9697674    9,700   10,500    11,300    9,700   12,300    5,000    9,750    58,500

100094585   010228437   WALGREENS #01337        DSD    NORTH CANTON     OH   44721     WALGREENS         BW9698208    7,660    7,220     7,560    8,860    7,800    5,800    7,483    44,900

100102467   046051631   WALGREENS #09517        DSD     PINELLAS PARK   FL   33782     WALGREENS         BW9698537     100               2,200    8,600    9,300    7,700    5,580    27,900

100097933   019170407   WALGREENS #09826        DSD    NORTH VERNON     IN   47265     WALGREENS         BW9700041   21,600   15,400    20,300   21,300   16,400   15,500   18,417   110,500

100099154   044217588   WALGREENS #01996        DSD      WOOD RIVER     IL   62095     WALGREENS         BW9702045            17,000    24,700   26,800   21,800   15,600   21,180   105,900

100094964   055034314   WALGREENS #09527        DSD      HIGH POINT     NC   27262     WALGREENS         BW9702069   17,600   17,500    17,000   19,000   16,900   16,200   17,367   104,200

100100023   018401166   WALGREENS #10258        DSD    MINERAL WELLS    TX   76067     WALGREENS         BW9702071    7,900   37,100    35,500   38,100   31,600   19,200   28,233   169,400

100103433   008114710   WALGREENS #09581        DSD        FALLON       NV   89406     WALGREENS         BW9704277   21,600   25,100    20,100   24,700   19,700   15,600   21,133   126,800
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100095676   004093906   WALGREENS #09800        DSD          UTICA        NY   13502     WALGREENS         BW9704289    7,500    8,500     8,000    8,700   10,000    8,500    8,533    51,200

100101759   038109603   WALGREENS #09979        DSD      FORT MORGAN      CO   80701     WALGREENS         BW9707627   12,500   12,200    11,200   11,700   15,800    8,900   12,050    72,300

100097121   040118562   WALGREENS #07959        DSD       SNELLVILLE      GA   30078     WALGREENS         BW9708857    8,100    9,500     8,400    7,200    8,700    4,500    7,733    46,400

100103524   032149039   WALGREENS #09625        DSD      LAKE OSWEGO      OR   97035     WALGREENS         BW9710131    8,300    9,060    10,930   10,260    9,800    8,600    9,492    56,950

100094481   055033043   WALGREENS #10330        DSD       BLOUNTVILLE     TN   37617     WALGREENS         BW9710143   13,990   17,600    14,100   16,100    6,000   16,500   14,048    84,290

100103550   032149294   WALGREENS #09287        DSD         SALEM         OR   97317     WALGREENS         BW9710167   14,090   16,100    13,600   16,500   15,500   12,100   14,648    87,890

100102070   024120824   WALGREENS #02156        DSD        ALHAMBRA       CA   91801     WALGREENS         BW9710179   13,160   15,800    14,360   13,160   19,100    9,200   14,130    84,780

100105950   024005207   WALGREENS #02156 340B              ALHAMBRA       CA   91801    PHS 340B CLINIC    BW9710179              100                                           100       100

100102997   046054262   WALGREENS #07918        DSD        DUNEDIN        FL   34698     WALGREENS         BW9711727     300      100      1,100    9,500   11,300    5,600    4,650    27,900

100103672   032151266   WALGREENS #09596        DSD        RICHLAND       WA   99352     WALGREENS         BW9711753   14,300   18,000    14,500   17,100   11,500   15,600   15,167    91,000

100097678   037104075   WALGREENS #10273        DSD        PICAYUNE       MS   39466     WALGREENS         BW9715131   14,200   25,500    23,100   23,600   18,300   14,000   19,783   118,700

100106766   052223883   WALGREENS #10273 340B              PICAYUNE       MS   39466    PHS 340B CLINIC    BW9715131                                 100                        100       100

100096080   041152322   WALGREENS #07915        DSD        NEPTUNE        NJ   07753     WALGREENS         BW9716335    3,300    5,700     3,700    3,700    5,100    4,800    4,383    26,300

100094934   004092841   WALGREENS #09153        DSD      GUILDERLAND      NY   12084     WALGREENS         BW9716385    4,030    2,530     4,000    4,000    4,500    3,600    3,777    22,660

100100243   037132415   WALGREENS #09739        DSD        EL CAMPO       TX   77437     WALGREENS         BW9716424              300      8,700   10,900    7,700    7,100    6,940    34,700

100095968   041152066   WALGREENS #09249        DSD     HACKETTSTOWN      NJ   07840     WALGREENS         BW9716436    3,400    4,100     3,700    2,500    3,100    2,400    3,200    19,200

100103416   020164525   WALGREENS #02598        DSD        LAS VEGAS      NV   89139     WALGREENS         BW9717616   21,300   19,500    20,000   20,900   25,000   16,500   20,533   123,200

100103360   020164301   WALGREENS #02590        DSD     NORTH LAS VEGAS   NV   89084     WALGREENS         BW9717856   24,460   23,900    22,890   25,500   18,100   22,000   22,808   136,850

100087880   037125674   WALGREENS #15277                   HOUSTON        TX   77006     WALGREENS         BW9718276     400      (300)    4,100    5,700    7,500    5,000    3,733    22,400

100098441   019172718   WALGREENS #09609        DSD        WESTON         WI   54476     WALGREENS         BW9719367   19,600   20,100    19,600   21,500   27,100   13,500   20,233   121,400

100098319   019171637   WALGREENS #07809        DSD       MILWAUKEE       WI   53204     WALGREENS         BW9719379   17,700   17,100    19,000   19,100   20,000   12,000   17,483   104,900

100094345   019162982   WALGREENS #07809 340B             MILWAUKEE       WI   53204   PHS 340B HOSPITAL   BW9719379     500                                                    500       500

100104332   019181230   WALGREENS #07809 AHC 340B 100     MILWAUKEE       WI   53204   PHS 340B HOSPITAL   BW9719379                        100                                 100       100

100094407   055032904   WALGREENS #07365        DSD          APEX         NC   27502     WALGREENS         BW9719393    9,590    9,630     9,000   10,430   11,200    4,500    9,058    54,350

100097770   019168864   WALGREENS #10149        DSD         FISHERS       IN   46037     WALGREENS         BW9719420    4,840    4,750     5,090    5,220    5,600    4,000    4,917    29,500

100095529   023145771   WALGREENS #09496        DSD       RIVERHEAD       NY   11901     WALGREENS         BW9719999    8,200    8,800     9,500    8,100    7,200    6,100    7,983    47,900

100099593   037131482   WALGREENS #09990        DSD       COVINGTON       LA   70433     WALGREENS         BW9726754    1,900    2,440    14,900   18,600   15,000   18,700   11,923    71,540

100095468   010232595   WALGREENS #09281        DSD       PITTSBURGH      PA   15206     WALGREENS         BW9728570    3,700    5,900     5,060    5,600    5,400    3,500    4,860    29,160

100095485   004093716   WALGREENS #07932        DSD      POUGHKEEPSIE     NY   12601     WALGREENS         BW9728582    3,300    2,500     4,500    3,000    5,100    1,100    3,250    19,500

100101942   024120345   WALGREENS #07556        DSD         SAUGUS        CA   91390     WALGREENS         BW9730260   10,300   11,270     9,000    9,500   11,500    7,600    9,862    59,170

100101625   024055905   WALGREENS #07016        DSD      LOS ANGELES      CA   90016     WALGREENS         BW9730397   19,100   17,600    19,000   21,700   12,900   14,000   17,383   104,300

100094747   055033654   WALGREENS #09737        DSD       DARLINGTON      SC   29532     WALGREENS         BW9731426   19,300   17,900    19,200   20,600   25,900   20,000   20,483   122,900

100095176   010232272   WALGREENS #09343        DSD      MORGANTOWN       WV   26505     WALGREENS         BW9732771   17,690   16,800    16,100   17,200   13,100   16,500   16,232    97,390

100102402   012111120   WALGREENS #01080        DSD         HEMET         CA   92544     WALGREENS         BW9734333   30,900   31,700    30,800   31,500   32,800   22,800   30,083   180,500

100102066   024120808   WALGREENS #09560        DSD      WEST COVINA      CA   91792     WALGREENS         BW9734345    6,000    7,000     7,100    7,000    7,700    5,100    6,650    39,900

100098264   019171082   WALGREENS #01988        DSD        GRAFTON        WI   53024     WALGREENS         BW9736096    7,300    7,100     7,100    6,900    7,700    6,600    7,117    42,700

100097737   044217034   WALGREENS #09856        DSD       FRANKFORT       KY   40601     WALGREENS         BW9736135    1,000   11,200    11,400   13,200   13,000    8,700    9,750    58,500

100099353   021170225   WALGREENS #10130        DSD        PARKVILLE      MO   64152     WALGREENS         BW9738254    2,600    9,600     7,900   11,500   12,600    8,100    8,717    52,300

100095470   010232611   WALGREENS #09675        DSD       PITTSBURGH      PA   15235     WALGREENS         BW9740362    4,900    5,000     5,400    5,400    6,200    4,200    5,183    31,100

100103760   020164772   WALGREENS #09652        DSD        COOLIDGE       AZ   85128     WALGREENS         BW9740742   14,960   15,800    13,700   16,200   19,900    8,100   14,777    88,660

100098173   049194118   WALGREENS #10186        DSD      TRAVERSE CITY    MI   49684     WALGREENS         BW9740817   24,700   25,600    23,800   24,700   22,000   23,000   23,967   143,800

100099417   021170860   WALGREENS #09376        DSD         OTTAWA        KS   66067     WALGREENS         BW9741960    5,000   24,600    26,800   28,700   29,800   19,000   22,317   133,900

100095062   010231811   WALGREENS #09631        DSD       LEXINGTON       KY   40517     WALGREENS         BW9744497             6,500     6,000    6,500    7,700    4,000    6,140    30,700

100101875   046047035   WALGREENS #09003        DSD        WESTON         FL   33331     WALGREENS         BW9745312     200               1,400    2,800    3,230    1,900    1,906     9,530
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100097168   040119024   WALGREENS #09622     DSD           LAGRANGE       GA   30240    WALGREENS        BW9745918   15,900   16,900   16,500    17,800   15,400   17,100   16,600    99,600

100098453   019172809   WALGREENS #10301     DSD            VIROQUA       WI   54665    WALGREENS        BW9748825   19,200   19,200   17,000    17,500   21,000   10,500   17,400   104,400

100098635   021169862   WALGREENS #10347     DSD            MITCHELL      SD   57301    WALGREENS        BW9749841   13,100   14,700   12,700    15,600   15,800   10,500   13,733    82,400

100099901   018399949   WALGREENS #09720     DSD         GRAND PRAIRIE    TX   75052    WALGREENS        BW9754880   11,000   13,700   16,000    14,900   10,100    8,500   12,367    74,200

100095509   010232710   WALGREENS #09193     DSD         REYNOLDSBURG     OH   43068    WALGREENS        BW9755678    8,300    9,200   10,100     8,700   10,300    8,000    9,100    54,600

100097708   044216747   WALGREENS #10151     DSD           LOUISVILLE     KY   40207    WALGREENS        BW9759474     500     5,600    6,000     6,600    8,000    5,000    5,283    31,700

100097425   044215434   WALGREENS #09836     DSD          WHITE HOUSE     TN   37188    WALGREENS        BW9759486   23,200   22,900   21,200    24,600   17,100   26,500   22,583   135,500

100097702   044216689   WALGREENS #10207     DSD         SHEPHERDSVILLE   KY   40165    WALGREENS        BW9759498    7,700   32,200   37,300    38,600   33,700   22,500   28,667   172,000

100094975   010229682   WALGREENS #09674     DSD           HOMESTEAD      PA   15120    WALGREENS        BW9759563    4,800    4,600    3,600     4,400    4,500    4,000    4,317    25,900

100095636   010232926   WALGREENS #09346     DSD          STREETSBORO     OH   44241    WALGREENS        BW9759575    8,300    7,930    7,800     9,500    8,400    7,100    8,172    49,030

100100317   038108555   WALGREENS #10139     DSD             VIDOR        TX   77662    WALGREENS        BW9760580    1,120     700    12,300    19,620   17,300   11,000   10,340    62,040

100094593   055033159   WALGREENS #07169     DSD             CARY         NC   27519    WALGREENS        BW9761102    2,700    3,900    4,100     3,000    3,100    2,700    3,250    19,500

100098421   019172635   WALGREENS #10235     DSD            DE PERE       WI   54115    WALGREENS        BW9766253   11,000   11,000    9,100     9,000    8,600    7,600    9,383    56,300

100054660   010070250   WALGREEN CO. UNIVERSITY HOSP E     COLUMBUS       OH   43205    WALGREENS        BW9767320    4,700    5,900    4,800     4,700    5,200    5,200    5,083    30,500

100100070   018401638   WALGREENS #10392     DSD            BELTON        TX   76513    WALGREENS        BW9769677    5,600   29,900   32,700    26,700   19,600   11,000   20,917   125,500

100102307   012110858   WALGREENS #09780     DSD            HESPERIA      CA   92345    WALGREENS        BW9770238   31,100   36,630   28,700    33,800   21,300   27,700   29,872   179,230

100095760   055036970   WALGREENS #09931     DSD          WILMINGTON      NC   28411    WALGREENS        BW9772030    7,560    8,550    5,860     8,370    8,900    5,800    7,507    45,040

100097172   040119065   WALGREENS #09890     DSD            NEWNAN        GA   30263    WALGREENS        BW9772890    7,700   11,000    8,700     9,500    9,100    5,500    8,583    51,500

100097295   052220426   WALGREENS #10333     DSD          BIRMINGHAM      AL   35243    WALGREENS        BW9772903    4,900    5,000    6,500     4,600    6,500    5,500    5,500    33,000

100094427   055032987   WALGREENS #09789     DSD            AUGUSTA       GA   30909    WALGREENS        BW9781089    6,600    7,500    6,000     8,800   11,600    5,100    7,600    45,600

100104734   040120493   WALGREENS #09789 PHS/340B           AUGUSTA       GA   30909   PHS 340B CLINIC   BW9781089     500                                                    500       500

100095674   010233049   WALGREENS #09804     DSD           UNIONTOWN      PA   15401    WALGREENS        BW9782334   24,300   24,300   23,200    25,700   25,600   26,900   25,000   150,000

100087163   003091389   WALGREENS #00929                    YABUCOA       PR   00767    WALGREENS        BW9784225              100               1,100      -                400      1,200

100095735   055036913   WALGREENS #09898     DSD           WHITEVILLE     NC   28472    WALGREENS        BW9785102   11,700   13,300   10,900    12,200   11,200    9,100   11,400    68,400

100099700   018398073   WALGREENS #10240     DSD            BRYANT        AR   72022    WALGREENS        BW9785114   15,200   20,600   23,300    25,100   24,800   10,600   19,933   119,600

100101983   024120493   *WALGREENS #09640     DSD         BALDWIN PARK    CA   91706    WALGREENS        BW9785140    6,200    5,900   (1,800)                               3,433    10,300

100095844   023146316   WALGREENS #09521     DSD          BRIDGEPORT      CT   06604    WALGREENS        BW9787500    5,800    7,100    5,200     5,400    5,600    3,500    5,433    32,600

100095973   004098038   WALGREENS #09101     DSD            HAMDEN        CT   06518    WALGREENS        BW9787536    2,700    3,200    3,100     3,700    6,100    1,100    3,317    19,900

100096189   004099523   WALGREENS #09612     DSD            SHELTON       CT   06484    WALGREENS        BW9787550    6,000    8,940    8,300     6,800    8,500    7,300    7,640    45,840

100101869   038109892   WALGREENS #09769     DSD         GRAND JUNCTION   CO   81504    WALGREENS        BW9789124   15,800   15,600   12,100    16,300   17,000   10,000   14,467    86,800

100099313   021169946   WALGREENS #09986     DSD           KIRKSVILLE     MO   63501    WALGREENS        BW9790456    2,600   15,700   12,700    15,300   16,500   11,500   12,383    74,300

100099613   037131680   WALGREENS #10399     DSD            CROWLEY       LA   70526    WALGREENS        BW9797549     200      700     8,800    19,200   20,100   12,000   10,167    61,000

100101406   046045112   WALGREENS #01127     DSD          VERO BEACH      FL   32968    WALGREENS        BW9798983     500      200     2,700     8,700    7,500    6,100    4,283    25,700

100102316   046049809   WALGREENS #09724     DSD            LIVE OAK      FL   32064    WALGREENS        BW9799000     200      200     7,000    10,000   13,200   16,000    7,767    46,600

100094886   055033936   WALGREENS #09834     DSD          GEORGETOWN      SC   29440    WALGREENS        BW9805497    9,320   12,400    9,000    11,200    7,900    9,000    9,803    58,820

100096052   004098533   WALGREENS #09319     DSD            MEDFORD       MA   02155    WALGREENS        BW9810753    2,100    3,100    2,000     1,800    3,500    2,100    2,433    14,600

100097306   052220533   WALGREENS #10109     DSD           FLORENCE       AL   35630    WALGREENS        BW9817062   10,100   11,000   10,100     9,700   16,100    6,500   10,583    63,500

100098919   019176867   WALGREENS #09438     DSD            CHICAGO       IL   60602    WALGREENS        BW9817074    4,000    3,800    4,500     2,900    5,100    2,900    3,867    23,200

100102073   017097378   WALGREENS #09681     DSD              LEHI        UT   84043    WALGREENS        BW9821097   17,000   18,200   18,100    18,500   17,700   12,000   16,917   101,500

100094769   023138438   WALGREENS #09673     DSD             DOVER        PA   17315    WALGREENS        BW9821112    9,500    9,700    9,600    10,200    8,300    8,700    9,333    56,000

100101594   046046193   WALGREENS #09572     DSD           PINECREST      FL   33156    WALGREENS        BW9823849                       200      3,000    1,000    2,700    1,725     6,900

100096162   004099333   *WALGREENS #09660    DSD            READING       MA   01867    WALGREENS        BW9824497     600                                                    600       600

100075105   037111740   WESLACO PHARMACY INC SF             WESLACO       TX   78596    INDEPENDENT      BW9825906   13,800   12,800   17,200     7,700    8,500   12,100   12,017    72,100

100103602   032149807   WALGREENS #09373     DSD           SHORELINE      WA   98133    WALGREENS        BW9826198    7,160    6,090    6,590     6,590    7,500    4,060    6,332    37,990
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100097775   019168914   WALGREENS #07618         DSD      WESTFIELD       IN   46062     WALGREENS         BW9826655    3,700    4,100    4,200    5,500    4,500    3,600    4,267    25,600

100098997   019177675   WALGREENS #01101         DSD       CHICAGO        IL   60637     WALGREENS         BW9827025    5,000    6,800    7,800    6,800    7,000    4,600    6,333    38,000

100099859   018399527   WALGREENS #10223         DSD      MUSKOGEE        OK   74401     WALGREENS         BW9835488     100     9,200   26,600   32,100   33,400   33,800   22,533   135,200

100097437   044215558   WALGREENS #09546         DSD       NASHVILLE      TN   37211     WALGREENS         BW9835490   17,500   16,500   15,600   17,500   14,500   13,500   15,850    95,100

100097375   044214940   WALGREENS #09907         DSD      BRENTWOOD       TN   37027     WALGREENS         BW9835503    7,100    8,600    5,400    6,200    8,000    6,500    6,967    41,800

100101414   046045153   WALGREENS #01990         DSD      TITUSVILLE      FL   32780     WALGREENS         BW9838472     900      100     3,200   11,400   11,000    9,500    6,017    36,100

100087176   003091645   WALGREENS #7710                    VEGA BAJA      PR   00693     WALGREENS         BW9838484              100                                          100       100

100098041   049193086   WALGREENS #09085         DSD    ROCHESTER HILLS   MI   48307     WALGREENS         BW9838612   10,100    8,900    8,500    8,500    9,400    8,000    8,900    53,400

100099238   044218354   WALGREENS #09692         DSD        UNION         MO   63084     WALGREENS         BW9838624     200    14,000   15,000   18,900   18,200   12,000   13,050    78,300

100095030   055035816   WALGREENS #09897         DSD       KINSTON        NC   28501     WALGREENS         BW9842154   11,900   14,200   13,600   11,700   12,000    8,900   12,050    72,300

100100277   038108217   WALGREENS #10138         DSD       BAYTOWN        TX   77520     WALGREENS         BW9842178     480     1,200   10,700   19,520   14,220   10,000    9,353    56,120

100101468   046045492   WALGREENS #09115         DSD    CORAL SPRINGS     FL   33065     WALGREENS         BW9842180              100     3,000    4,900    6,400    3,800    3,640    18,200

100101603   038109173   WALGREENS #09566         DSD      LAKEWOOD        CO   80228     WALGREENS         BW9846405   10,400   10,800   10,400   12,100   11,300   10,300   10,883    65,300

100100431   037133090   WALGREENS #10300         DSD      PALMHURST       TX   78572     WALGREENS         BW9846570     900     1,800    5,300    8,900    6,300    3,000    4,367    26,200

100097465   052221309   WALGREENS #07779         DSD     CHATTANOOGA      TN   37405     WALGREENS         BW9846594   12,700   13,600   11,200   15,500   11,200   11,500   12,617    75,700

100102390   012111088   WALGREENS #09486         DSD     LAKE ELSINORE    CA   92530     WALGREENS         BW9848182   21,700   22,700   23,830   24,200   24,000   16,300   22,122   132,730

100097108   040118430   WALGREENS #09629         DSD      LOGANVILLE      GA   30052     WALGREENS         BW9850149   16,300   15,700   14,500   15,700   14,000   15,800   15,333    92,000

100094579   004092585   WALGREENS #09413         DSD       CAMILLUS       NY   13031     WALGREENS         BW9850151   10,400    9,600    9,500   10,600   10,600    6,600    9,550    57,300

100099753   018398479   WALGREENS #09594         DSD      FORT SMITH      AR   72901     WALGREENS         BW9853690    1,600    7,500   20,700   22,700   13,700   18,500   14,117    84,700

100099749   018398438   WALGREENS #10199         DSD     RUSSELLVILLE     AR   72801     WALGREENS         BW9853703   15,700   22,700   22,600   25,800   22,300   13,000   20,350   122,100

100097150   040118851   WALGREENS #10246         DSD     DOUGLASVILLE     GA   30134     WALGREENS         BW9859844    7,100    6,500    5,500    6,700    8,100    5,100    6,500    39,000

100096114   004099028   WALGREENS #02781         DSD        NORTON        MA   02766     WALGREENS         BW9866041    2,330    2,800    2,700    2,400    3,700    3,000    2,822    16,930

100095711   004093930   WALGREENS #10219         DSD      WATERTOWN       NY   13601     WALGREENS         BW9866089    5,500    6,600    6,700    6,300    8,200    5,600    6,483    38,900

100101926   024120287   WALGREENS #06930         DSD     SANTA CLARITA    CA   91351     WALGREENS         BW9866130   34,630   36,000   34,000   36,300   51,600   24,400   36,155   216,930

100105577   024110619   WALGREENS # 06930 340B           SANTA CLARITA    CA   91351    PHS 340B CLINIC    BW9866130     100      100      200      500                        225       900

100099981   018400747   WALGREENS #07611         DSD       LONGVIEW       TX   75601     WALGREENS         BW9866180     100    17,000   43,800   42,900   32,100   15,200   25,183   151,100

100109156   018404889   WALGREENS #07611 340B              LONGVIEW       TX   75601   PHS 340B HOSPITAL   BW9866180                                500                        500       500

100099987   018400804   WALGREENS #09408         DSD        TYLER         TX   75701     WALGREENS         BW9866217    1,000     800    12,200   21,400   15,000   11,500   10,317    61,900

100095575   010232793   WALGREENS #09073         DSD    SHAKER HEIGHTS    OH   44122     WALGREENS         BW9866863    2,200    1,900    2,700    1,500    2,700    1,500    2,083    12,500

100103203   046055442   WALGREENS #05521         DSD       MIRAMAR        FL   33027     WALGREENS         BW9867384     100      300     2,700    1,700    3,400    2,700    1,817    10,900

100102672   046052639   WALGREENS #09787         DSD      CHIEFLAND       FL   32626     WALGREENS         BW9870608     200      200     2,500   10,100    6,500   10,500    5,000    30,000

100061166   008112631   WATSONVILLE PHARMACY CPA         WATSONVILLE      CA   95076     INDEPENDENT       BW9872284    9,500             4,600    7,200   52,000   27,100   20,080   100,400

100097177   040119115   WALGREENS #09501         DSD     STOCKBRIDGE      GA   30281     WALGREENS         BW9873616    7,600    8,000    7,600    7,100    9,100    9,000    8,067    48,400

100099151   044217554   WALGREENS #09824         DSD      JERSEYVILLE     IL   62052     WALGREENS         BW9873642     400    21,800   37,600   44,000   38,200   26,400   28,067   168,400

100097350   052220939   WALGREENS #10168         DSD      GRAND BAY       AL   36541     WALGREENS         BW9877753   22,800   22,880   20,400   21,000   18,300   15,200   20,097   120,580

100102697   024121038   WALGREENS #01816         DSD     BAKERSFIELD      CA   93313     WALGREENS         BW9877765   11,500   12,700   10,400   13,100   11,700    9,700   11,517    69,100

100100392   018402339   WALGREENS #07571         DSD     SAN ANTONIO      TX   78251     WALGREENS         BW9877777     600      900     8,100   12,400   10,900    7,100    6,667    40,000

100100348   018401893   WALGREENS #09810         DSD        SEGUIN        TX   78155     WALGREENS         BW9877789     820     1,200   18,500   31,100   24,500   21,500   16,270    97,620

100100516   018403212   WALGREENS #10283         DSD       LUBBOCK        TX   79424     WALGREENS         BW9877791    2,460   17,060   22,020   26,160   21,700   15,500   17,483   104,900

100102291   012110809   WALGREENS #09588         DSD       FONTANA        CA   92336     WALGREENS         BW9877804   11,100   11,000    9,900   11,100   12,600   12,400   11,350    68,100

100095191   010232322   WALGREENS #09541         DSD      NEW ALBANY      OH   43054     WALGREENS         BW9878200    1,800    3,000    4,000    3,500    3,500    3,300    3,183    19,100

100066673   052147553   WEST POINT FAMILY PHCY     SF      VINEMONT       AL   35179     INDEPENDENT       BW9881550                                100    12,600    6,500    6,400    19,200

100094754   010229195   *WALGREENS #09732        DSD        DAYTON        OH   45414     WALGREENS         BW9886942    8,200    3,700                        -               3,967    11,900

100099743   018398370   WALGREENS #09813         DSD       ROGERS         AR   72758     WALGREENS         BW9886954    1,400    3,000   13,400   11,900   10,800    9,500    8,333    50,000
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100097909   019170258   WALGREENS #09853      DSD    FORT WAYNE     IN   46835   WALGREENS   BW9888174    7,200    7,200    8,500    5,600    9,100    6,500    7,350    44,100

100094524   023137885   WALGREENS #10326      DSD     BROOKLYN      NY   11235   WALGREENS   BW9891121    1,100     500     1,800    1,300    1,200      -       983      5,900

100097652   037103887   WALGREENS #10131      DSD      NATCHEZ      MS   39120   WALGREENS   BW9893769   19,000   18,490   19,700   19,000    9,000   17,500   17,115   102,690

100099222   044218198   WALGREENS #07423      DSD      FENTON       MO   63026   WALGREENS   BW9893810     100     9,200   14,400   12,200   15,800    9,100   10,133    60,800

100094992   055034421   WALGREENS #09805      DSD       IRMO        SC   29063   WALGREENS   BW9893923    5,200    7,100    6,300    8,200    7,500    5,700    6,667    40,000

100097679   037104224   WALGREENS #10290      DSD     PICAYUNE      MS   39466   WALGREENS   BW9893961   13,700   21,000   23,000   23,100   19,120   19,560   19,913   119,480

100097483   052221481   WALGREENS #10299      DSD       ERWIN       TN   37650   WALGREENS   BW9893973   16,000   16,200   14,100   16,000   16,500    8,600   14,567    87,400

100094429   010228171   WALGREENS #09751      DSD      AURORA       IN   47001   WALGREENS   BW9897793   15,100   17,630   14,000   16,500   19,000   14,500   16,122    96,730

100099339   021170084   WALGREENS #02450      DSD    LEES SUMMIT    MO   64081   WALGREENS   BW9897818    2,000   10,100   12,100   13,500   14,200   10,600   10,417    62,500

100097463   052221283   WALGREENS #10495      DSD    SODDY DAISY    TN   37379   WALGREENS   BW9899949   31,420   30,270   29,500   30,900   24,500   21,100   27,948   167,690

100096075   004098707   WALGREENS #09613      DSD      NASHUA       NH   03060   WALGREENS   BW9903281   10,830   11,700   10,830    9,730   12,300    8,100   10,582    63,490

100097275   052220228   WALGREENS #10110      DSD       LEEDS       AL   35094   WALGREENS   BW9904029   25,600   26,000   25,460   26,800   14,400   21,500   23,293   139,760

100095571   055036558   WALGREENS #10163      DSD      SENECA       SC   29678   WALGREENS   BW9909815   41,900   44,810   40,700   47,430   47,300   34,000   42,690   256,140

100098637   038106690   WALGREENS #09512      DSD     RAPID CITY    SD   57701   WALGREENS   BW9910298   14,200   12,800   14,400   13,900   16,800   10,700   13,800    82,800

100059605   019031500   WALGREEN CO. #13832           GLENVIEW      IL   60025   WALGREENS   BW9910983    6,500    7,500    6,500    6,500    3,000    1,500    5,250    31,500

100099132   019178970   WALGREENS #09921      DSD     CHAMPAIGN     IL   61820   WALGREENS   BW9911327    2,000    8,000   10,100   11,800   10,700    9,000    8,600    51,600

100102587   046052225   WALGREENS #10147      DSD      QUINCY       FL   32351   WALGREENS   BW9912393              100     4,500    6,800   12,500   11,300    7,040    35,200

100097826   019169425   WALGREENS #10123      DSD    CROWN POINT    IN   46307   WALGREENS   BW9913597   15,300   17,300   16,000   18,200   21,600   13,300   16,950   101,700

100096251   004100263   WALGREENS #10128      DSD       WARE        MA   01082   WALGREENS   BW9918383    4,500    5,100    4,600    5,300    4,300    6,200    5,000    30,000

100102109   012109132   WALGREENS #10142      DSD     ESCONDIDO     CA   92025   WALGREENS   BW9919133   11,400    9,300    8,700   11,600   13,000    7,900   10,317    61,900

100100239   038108068   WALGREENS #09946      DSD      CYPRESS      TX   77429   WALGREENS   BW9919587    1,720    2,380   14,380   20,520   18,200    9,100   11,050    66,300

100099897   018399907   WALGREENS #09909      DSD      SACHSE       TX   75048   WALGREENS   BW9919599    8,400   12,600   13,800   13,740   13,400    8,700   11,773    70,640

100097665   037103952   WALGREENS #10270      DSD     FLOWOOD       MS   39232   WALGREENS   BW9919830   17,500   18,000   17,730   18,530   14,600   14,600   16,827   100,960

100102607   046052308   WALGREENS #09916      DSD     PENSACOLA     FL   32514   WALGREENS   BW9919878     100      200     7,400   11,200   16,000   19,000    8,983    53,900

100095088   010231944   WALGREENS #09636      DSD     LOVELAND      OH   45140   WALGREENS   BW9921760    5,800    5,160    4,760    4,760    5,800    4,100    5,063    30,380

100103472   008115139   WALGREENS #09716      DSD       RIPON       CA   95366   WALGREENS   BW9922015   17,300   19,700   18,300   19,700   19,300   15,600   18,317   109,900

100098062   049193292   WALGREENS #09251      DSD     LAKE ORION    MI   48359   WALGREENS   BW9922027   10,100    9,900   10,100   11,100   13,100   10,500   10,800    64,800

100099909   018400028   WALGREENS #09908      DSD     MCKINNEY      TX   75069   WALGREENS   BW9930478   35,000   44,800   40,900   41,500   37,200   23,700   37,183   223,100

100096310   023147249   WALGREENS #10135      DSD     NEW YORK      NY   10009   WALGREENS   BW9930531    3,400    2,200    2,500    1,100    2,700    2,900    2,467    14,800

100102102   017097543   WALGREENS #10415      DSD      TOOELE       UT   84074   WALGREENS   BW9931545   21,100   21,000   17,500   22,600   18,500   10,000   18,450   110,700

100098383   019172270   WALGREENS #10555      DSD     MIDDLETON     WI   53562   WALGREENS   BW9933474   12,000   12,100   11,060   10,560   14,000    6,000   10,953    65,720

100096320   004100826   WALGREENS #09538      DSD      ROXBURY      MA   02119   WALGREENS   BW9937206     500     1,000    2,000     500     1,000     500      917      5,500

100100211   038107821   WALGREENS #10613      DSD     PINEHURST     TX   77362   WALGREENS   BW9937422     200      100     9,800   13,100   14,900    7,700    7,633    45,800

100095197   010232330   WALGREENS #09586      DSD    NEW CASTLE     PA   16105   WALGREENS   BW9937434    8,000    8,400    7,530    8,400    8,400    6,900    7,938    47,630

100096283   004100636   WALGREENS #09405      DSD     WEYMOUTH      MA   02190   WALGREENS   BW9937826    3,830    3,760    5,100    4,020    4,600    2,610    3,987    23,920

100103151   046055186   WALGREENS #07844      DSD      HIALEAH      FL   33018   WALGREENS   BW9939325     200      100      300     3,800    1,500     700     1,100     6,600

100099671   018397844   WALGREENS #10510      DSD   WEST MONROE     LA   71291   WALGREENS   BW9940633            14,100   18,700   16,400   19,500   14,000   16,540    82,700

100101569   038109058   WALGREENS #07138      DSD      PARKER       CO   80134   WALGREENS   BW9940645    9,500   12,400   10,300   11,200   13,800    8,700   10,983    65,900

100098086   049193532   WALGREENS #10406      DSD    WEST BRANCH    MI   48661   WALGREENS   BW9941495   31,500   36,300   30,300   31,990   26,900   19,500   29,415   176,490

100097884   019170001   WALGREENS #10184      DSD    SOUTH BEND     IN   46615   WALGREENS   BW9942865   14,400   15,600   13,300   15,200   20,500   11,900   15,150    90,900

100102153   012109249   WALGREENS #09389      DSD       VISTA       CA   92083   WALGREENS   BW9945493   11,600   11,200   10,200   12,700   16,400    6,500   11,433    68,600

100099732   044219295   WALGREENS #09880      DSD    PARAGOULD      AR   72450   WALGREENS   BW9946279   30,600   48,800   46,760   52,130   44,900   19,500   40,448   242,690

100102856   046053546   WALGREENS #09847      DSD   BEVERLY HILLS   FL   34465   WALGREENS   BW9948982              100     1,000   17,100   16,100   14,400    9,740    48,700

100095166   055036061   WALGREENS #10257      DSD   MONCKS CORNER   SC   29461   WALGREENS   BW9949009   21,100   27,960   24,530   24,300   12,100   17,000   21,165   126,990
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100094418   055032961   WALGREENS #10212       DSD           ASHEVILLE      NC   28805    WALGREENS       BW9949011    7,600    8,500    7,100    8,400    9,000    5,600    7,700    46,200

100087175   003091629   WALGREENS #07706                     RIO PIEDRAS    PR   00925    WALGREENS       BW9950735     100      100      100                                 100       300

100094791   041146803   WALGREENS #09967       DSD             EASTON       MD   21601    WALGREENS       BW9951282   10,500   12,000    9,600    9,530    9,200    8,800    9,938    59,630

100100214   052222554   WALGREENS #10504       DSD           TRUSSVILLE     AL   35235    WALGREENS       BW9954199   18,100   20,070   17,500   17,500   16,100   19,100   18,062   108,370

100102961   046054106   WALGREENS #09074       DSD            ORLANDO       FL   32828    WALGREENS       BW9954202     100      200     2,300    3,400    3,100    1,100    1,700    10,200

100102100   046047779   WALGREENS #01010       DSD          LAKE WORTH      FL   33467    WALGREENS       BW9957955     300              3,400    7,800    7,230    4,500    4,646    23,230

100099015   019177857   WALGREENS #09038       DSD            CHICAGO       IL   60641    WALGREENS       BW9958248    7,800    8,200    8,700    7,200    8,700    4,500    7,517    45,100

100095424   055036285   WALGREENS #09879       DSD          ORANGEBURG      SC   29115    WALGREENS       BW9958818    9,200    9,600    9,800   10,300    9,200    8,600    9,450    56,700

100099140   019179051   WALGREENS #09965       DSD            RANTOUL       IL   61866    WALGREENS       BW9960130    4,000   14,100   14,600   17,100   15,000   11,700   12,750    76,500

100101416   046045161   WALGREENS #02074       DSD          TALLAHASSEE     FL   32308    WALGREENS       BW9960142     200      100     4,500    6,580   13,500   13,500    6,397    38,380

100097278   052220251   WALGREENS #10480       DSD            PELL CITY     AL   35125    WALGREENS       BW9960899   22,000   28,100   23,080   24,800   12,500   24,500   22,497   134,980

100099325   044219196   WALGREENS #10153       DSD          POPLAR BLUFF    MO   63901    WALGREENS       BW9963186            19,100   32,300   34,900   27,600   26,100   28,000   140,000

100101948   017096792   WALGREENS #09918       DSD            REXBURG       ID   83440    WALGREENS       BW9963566   13,700   14,500   12,500   12,500   11,000    9,000   12,200    73,200

100094787   023138461   WALGREENS #02630       DSD         EAST NORTHPORT   NY   11731    WALGREENS       BW9974901    1,700    1,200    2,000    1,000    1,600    1,800    1,550     9,300

100103763   020164806   WALGREENS #09186       DSD          GREEN VALLEY    AZ   85614    WALGREENS       BW9975422   15,260   15,020   14,290   15,060   17,800   12,300   14,955    89,730

100100233   037132381   WALGREENS #01169       DSD           RICHMOND       TX   77407    WALGREENS       BW9975636              100     3,100    7,020    5,900    4,400    4,104    20,520

100095471   010232629   WALGREENS #09736       DSD           PITTSBURGH     PA   15237    WALGREENS       BW9975939    2,800    4,800    3,800    4,730    5,800    3,100    4,172    25,030

100102514   012111419   WALGREENS #09843       DSD          MISSION VIEJO   CA   92692    WALGREENS       BW9976006    8,400   11,300    7,200    8,300   10,300    5,000    8,417    50,500

100103674   032151282   WALGREENS #10107       DSD          WALLA WALLA     WA   99362    WALGREENS       BW9977476   13,200   13,600   14,620   14,500   17,600   10,600   14,020    84,120

100098579   025090613   WALGREENS #09794       DSD          BLOOMINGTON     MN   55431    WALGREENS       BW9979545    6,500    7,600    6,500    6,500    7,500    6,100    6,783    40,700

100070472   018144048   WESTMINSTER FAMILY DRUG      CPA    NICOMA PARK     OK   73066    INDEPENDENT     BW9979761   11,600   21,200    5,500   13,000   10,500   12,000   12,300    73,800

100101651   038109298   WALGREENS #10117       DSD            GOLDEN        CO   80401    WALGREENS       BW9983265    8,100    7,400    7,000    7,600   12,200    3,200    7,583    45,500

100099596   037131516   WALGREENS #09690       DSD          PONCHATOULA     LA   70454    WALGREENS       BW9987314     600     1,000    9,800   15,300   15,600   12,000    9,050    54,300

100099393   021170621   WALGREENS #09929       DSD             OZARK        MO   65721    WALGREENS       BW9990260   11,600   13,000   15,000   17,100   17,700   13,600   14,667    88,000

100098612   025090936   WALGREENS #10516       DSD            NEW ULM       MN   56073    WALGREENS       BW9993975    6,500    6,000    5,500    4,500    6,000    2,500    5,167    31,000

100097677   052222422   WALGREENS #10430       DSD             PETAL        MS   39465    WALGREENS       BW9996628   10,100   17,800   14,600   17,600   14,000   12,600   14,450    86,700

100100345   018401869   WALGREENS #10393       DSD         NEW BRAUNFELS    TX   78132    WALGREENS       BW9996630    1,120    1,280   12,580   19,420   12,600   18,600   10,933    65,600

100098440   025089532   WALGREENS #10574       DSD            MERRILL       WI   54452    WALGREENS       BW9996642   13,000   12,100   12,700   12,500   15,100    9,500   12,483    74,900

100097253   040119784   WALGREENS #09305       DSD           VALDOSTA       GA   31602    WALGREENS       BW9996654     200      300    10,700    8,100   10,100   11,800    6,867    41,200

100068505   049175836   MIDLAND SABOURIN'S PHCY CPA           MIDLAND       MI   48640    INDEPENDENT     BX7633844   25,000   25,500   17,000   18,000   19,000   13,500   19,667   118,000

100056668   056018069   WELLSPAN PHARMACY        GNP            YORK        PA   17403    INDEPENDENT     BY0168179    4,100    4,400    2,200    1,800    3,600    2,500    3,100    18,600

100057303   052300038   YETTER CHRISTOPHER R MD             CHATTANOOGA     TN   37404      HOSPITAL      BY0187852     100                                                   100       100

100056667   056018077   WELLSPAN PHARMACY        (GNP)          YORK        PA   17403    INDEPENDENT     BY1266508    2,800                               6,500    6,100    5,133    15,400

100088406   021010082   YATES CENTER PHARMACY CPA           YATES CENTER    KS   66783    INDEPENDENT     BY1806580    7,500    6,000    6,500    7,100    5,000    4,500    6,100    36,600

100064234   056036616   YORKE PHCY (IPBG)                    LEVITTOWN      PA   19056    INDEPENDENT     BY2790839    2,300    3,800    4,000    2,000    3,100    3,000    3,033    18,200

100075484   037117812   MISSION PLAZA PHARMACY                MISSION       TX   78572    INDEPENDENT     BY3278036     300      300      400      100     1,100    3,000     867      5,200

100107797   049196386   YINGER PHARMACY SHOPPE #1             MONROE        MI   48161    INDEPENDENT     BY4552178   13,500   20,500   19,000   12,900   22,900    9,600   16,400    98,400

100059631   023088633   YOUNG'S PHARMACY(X)(IPBG)            BETHLEHEM      PA   18020    INDEPENDENT     BY4911613    6,620    5,500    5,600    6,000    8,300    1,300    5,553    33,320

100050563   004022350   YORK HOSPITAL APOTHECARY (GNP)          YORK        ME   03909      HOSPITAL      BY5326980    6,200    7,300    6,600    7,200    8,600    5,200    6,850    41,100

100056669   056018085   WELLSPAN PHARMACY        GNP        DALLASTOWN      PA   17313    INDEPENDENT     BY5404873                       200              1,300    1,600    1,033     3,100

100106732   012097006   YORBA LINDA PHARMACY                  ANAHEIM       CA   92807   LONG TERM CARE   BY6232033    9,800   11,200   12,300    9,000    6,900    9,600    9,800    58,800

100053032   012067298   YORBA PARK PHARMACY                   ORANGE        CA   92869    INDEPENDENT     BY7747326   10,400   11,500    7,500    4,200   15,800    8,600    9,667    58,000

100107809   049196436   YINGER PHARMACY SHOPPE #2             MONROE        MI   48162    INDEPENDENT     BY7772963   17,200   18,900   17,600   17,400   24,400   15,500   18,500   111,000

100083864   008097725   SKYWAY SURGERY CENTER                  CHICO        CA   95928      HOSPITAL      BY8668470     200                        150                        175       350
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100056419   032080655   YAKIMA NEIGHBORHOOD HLTH SERV.          YAKIMA        WA   98901      PHS 340B CLINIC     BY8899099    9,500   12,100    11,500    9,400   12,400    8,900   10,633    63,800

100055197   032075739   YAKIMA NEIGHBORHOOD HLTH/LTC            YAKIMA        WA   98901         ALT SITE         BY8899099                        100                                 100       100

100060566   012171397   YOUR DRUG STORE          HS            HESPERIA       CA   92345       INDEPENDENT        BY8965379     600      (100)                     12,000    1,000    3,375    13,500

100067356   037116475   YOAKUM DISCOUNT PHARMACY                YOAKUM        TX   77995       INDEPENDENT        BY9115064    7,600    9,100     8,000    7,000    3,800    5,700    6,867    41,200

100069245   004064683   YORK HOSP BERWICK PHCY(X)               BERWICK       ME   03901       INDEPENDENT        BY9487504    4,000    5,100     4,600    4,500    5,500    4,100    4,633    27,800

100066632   025014704   YANKTON MED CLINIC PHCYAC SF           YANKTON        SD   57078       INDEPENDENT        BY9540419    9,600   11,800    12,000   22,300    6,700    7,200   11,600    69,600

100059850   021023002   YUNGEBERG DRUG                        BLUE RAPIDS     KS   66411       INDEPENDENT        BY9781801    5,000    4,300     4,400    5,600    3,800    4,600    4,617    27,700

100074618   055176370   YORKVILLE PHARMACY        CPA            YORK         SC   29745       INDEPENDENT        BY9808342    3,200    9,400    18,900    3,100    4,800    5,600    7,500    45,000

100059204   010022731   ZIMM PHARMACY INC       APSC          FAYETTEVILLE    WV   25840       INDEPENDENT        BZ6518065    4,500    7,000     4,100    6,000    1,500    4,500    4,600    27,600

100055634   010008557   *ZELLNER PHARMACY       APSC             TIFFIN       OH   44883       INDEPENDENT        BZ9203251    5,200    6,000     5,100    3,700                      5,000    20,000

100054486   010070110   ZEIGLER PHARMACY        APSC          WILMINGTON      OH   45177       INDEPENDENT        BZ9740348    9,600   11,100    10,000   10,100   16,100    8,000   10,817    64,900

100060310   040160531   ZOOT ENTERPRISES DBA WARDS PHA           ROME         GA   30161       INDEPENDENT        BZ9945378     100      100      1,000    2,600    8,000    2,000    2,300    13,800

100111264   023002109   WALGREENS #15186        DSD            MATAWAN        NJ   07747       WALGREENS          EW4913299                                                  1,800    1,800     1,800

100073799   032000240   CHC OF SNOHOMISH CNTY 340B              EVERETT       WA   98204      PHS 340B CLINIC     F90395877     900      700      1,500    2,600     100      800     1,100     6,600

100107677   024026831   10TH STREET MEDICAL PHARMACY         SANTA MONICA     CA   90401       INDEPENDENT        F90869151    1,200    2,300     4,200     800     3,000     500     2,000    12,000

100106399   037134361   1960 PHARMACY                          HOUSTON        TX   77090       INDEPENDENT        F91104140     480      400                                           440       880

100070847   056090175   MACPHAIL PHCY@UPPER CHESAPEAKE          BEL AIR       MD   21014       INDEPENDENT        F91617781    3,500    3,900     1,800    4,000    2,500             3,140    15,700

100104170   046057505   1ST CHOICE PHARMACY                  ST PETERSBURG    FL   33702       INDEPENDENT        F92718091    1,400              1,000    1,500              500     1,100     4,400

100093840   037130955   1 SCRIPT SOLUTION RX                  NASSAU BAY      TX   77058       INDEPENDENT        F93396620     600     4,500                                         2,550     5,100

100109599   052224774   4TH AVENUE DRUGS        SF             BESSEMER       AL   35020       INDEPENDENT        F93940017   17,000   11,000    16,600   10,500   17,600   11,500   14,033    84,200

100107889   052224329   FREEDOM PHARMACY CPA                  HATTIESBURG     MS   39402       INDEPENDENT        F94187298    1,500    1,000     1,500    1,000    5,000    6,700    2,783    16,700

100106040   046058859   AHF PHARMACY - WILTON                WILTON MANORS    FL   33305       INDEPENDENT        FA0025052     600     2,000      300                                 967      2,900

100106041   046058867   AHF PHARMACY-WILTON MANORS340B       WILTON MANORS    FL   33305       INDEPENDENT        FA0025052     100      200                                           150       300

100052706   020094177   ANIMAS SURGICAL HOSPITAL LLC           DURANGO        CO   81301         HOSPITAL         FA0043909     200                100      200               100      150       600

100064364   019042614   AURORA PHARMACY #1122                  HUBERTUS       WI   53033          CHAIN           FA0083193    7,200    7,500     6,600    7,200    7,600    5,100    6,867    41,200

100064192   010105718   AVELLA OF COLUMBUS                     COLUMBUS       OH   43214       MAIL SERVICE       FA0111132     200      300       400                        400      325      1,300

100092262   021099242   ALBERS MEDICAL PHARMACY               KANSAS CITY     MO   64111       INDEPENDENT        FA0120117    1,300    2,100     1,600    1,000    4,300    1,200    1,917    11,500

100057643   019045195   AURORA PHARMACY #1115                 UNION GROVE     WI   53182          CHAIN           FA0121690    8,000    9,600     8,400   13,500    3,700    4,000    7,867    47,200

100061967   018090126   ABILENE BEHAVIORAL HEALTH               ABILENE       TX   79602         HOSPITAL         FA0165630     700      200       200      400                        375      1,500

100067011   019143016   AMERICAN PHARMACY OF IL       CPA       PEORIA        IL   61604       INDEPENDENT        FA0212237    6,500   25,100    31,600   26,200   40,400     130    21,655   129,930

100076160   008050070   ALLCARE HOME HEALTH (COMBO)             SALINAS       CA   93901     LONG TERM CARE       FA0230300    1,800    1,500     1,400    2,600     600     1,300    1,533     9,200

100069478   012120667   AUDREY PHARMACY                      WESTMINSTER      CA   92683       INDEPENDENT        FA0300640     200     1,300      800      700      600               720      3,600

100094140   032147678   APOTHECARY COMPOUND SOLUTS INC          YAKIMA        WA   98902       INDEPENDENT        FA0344589     100      200                300               400      250      1,000

100073960   046034553   ALPHA TOUCH PHARMACY                PEMBROKE PINES    FL   33024       INDEPENDENT        FA0427953                        100                                 100       100

100076280   010121855   ATRIUM MEDICAL CENTER                 MIDDLETOWN      OH   45005         HOSPITAL         FA0472667    2,400    1,700     1,900    3,300    1,480    2,470    2,208    13,250

100072903   049125484   ADVANCED CARE PHCY SVC GENESEE           FLINT        MI   48503     LONG TERM CARE       FA0497063    4,000    4,100     3,000    3,500    4,000    3,100    3,617    21,700

100096855   049189993   ADVANCED CARE PHCY SVCS 340B             FLINT        MI   48503      PHS 340B CLINIC     FA0497063    1,000     600       200      400                        550      2,200

100106416   018403840   AUSTIN LAKES HOSPITAL                   AUSTIN        TX   78705         HOSPITAL         FA0514073              300       300      600                        400      1,200

100076723   049127167   ADVANCED CARE PHCY WATERFORD          WATERFORD       MI   48328     LONG TERM CARE       FA0614051    5,100    5,000     4,600    4,600    6,500   10,900    6,117    36,700

100072393   020170274   ADVANCED MEDICATION MGMT SYST          CARLSBAD       NM   88220     LONG TERM CARE       FA0652885    4,600    5,000     7,500   19,500              100     7,340    36,700

100069016   019102160   AURORA PHARMACY #1262                 MILWAUKEE       WI   53209          CHAIN           FA0692524    6,700    8,600     7,400   12,300    7,000    6,600    8,100    48,600

100070081   021101667   AFFINITY BIOTECH INC                    OMAHA         NE   68022   HOME HEALTH SERVICES   FA0748256     100                                                    100       100

100071243   012074740   ANA PHARMACY                         GARDEN GROVE     CA   92843       INDEPENDENT        FA0749626    1,000                                                  1,000     1,000

100074289   019102335   AURORA PHARMACY #1263               MENOMONEE FALLS   WI   53051          CHAIN           FA0788387    5,800    4,300     5,000    5,600    9,800    4,200    5,783    34,700
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100073493   019102384   AURORA PRES DIS #1174                  WALWORTH         WI   53184          CHAIN           FA0801200    2,400    2,400     2,000    4,100    2,500     2,100    2,583     15,500

100099385   021170548   WALGREENS #15726         DSD              AVA           MO   65608       WALGREENS          FA0837065    8,100   15,000    12,100   13,500   13,500    10,300   12,083     72,500

100106032   008116533   AIDS HEALTH FND / AHF PHCY340B          OAKLAND         CA   94609       INDEPENDENT        FA0844919     200                                                     200        200

100056534   019015651   COMMUNITY PHARMACY 340B                 CHICAGO         IL   60628      PHS 340B CLINIC     FA0845264              400                                            400        400

100074313   037135277   APC PHARMACEUTICALS                    LAFAYETTE        LA   70508       ALT CHANNEL        FA0848462   25,500   29,600    25,200   24,900   30,900    31,800   27,983    167,900

100072023   046114538   ASSURED RX LLC,                       CLEARWATER        FL   33762       MAIL SERVICE       FA0920644     200                        1,000     400       500      525       2,100

100106052   046058990   AHF PHARMACY-PENSACOLA                 PENSACOLA        FL   32503       INDEPENDENT        FA1033430              300       500                                  400        800

100067682   010141481   ATRIUM MEDICAL CENTER PHCY              FRANKLIN        OH   45005         HOSPITAL         FA1151199    5,400    5,800     6,400    5,000    5,200              5,560     27,800

100096848   019163741   ASMC OHC PHARMACY WAC                  MILWAUKEE        WI   53233         HOSPITAL         FA1174717    1,400    1,700     2,300    1,600    2,700     1,600    1,883     11,300

100096849   019163758   ASMC OP PHARMACY WAC                   MILWAUKEE        WI   53233         HOSPITAL         FA1174729    4,900    5,400     4,900    4,500    6,700     6,200    5,433     32,600

100096906   019163907   AURORA SINAI MED CTR WAC               MILWAUKEE        WI   53233         HOSPITAL         FA1174731     300      500       300      100     1,800     1,820     803       4,820

100070782   019104174   AURORA SINAI MED CTR IP                MILWAUKEE        WI   53233         HOSPITAL         FA1174731    1,200    1,100      200      600                         775       3,100

100083993   019136390   AURORA SINAI MED CTR 340B              MILWAUKEE        WI   53233     PHS 340B HOSPITAL    FA1174731     200      100      1,200     800                         575       2,300

100072405   052125567   ADAMS DRUGS MILLBROOK,                 MILLBROOK        AL   36054       INDEPENDENT        FA1178258                        100     1,500    8,000     9,100    4,675     18,700

100070633   049140392   ADVANCED CARE PHARMACY-LAPEER           LAPEER          MI   48446     LONG TERM CARE       FA1192498     700      700       700     1,300    1,000     1,000     900       5,400

100070631   049140400   ADVANCED CARE PHARMACY - NEGC           DETROIT         MI   48215   HOME HEALTH SERVICES   FA1217430    1,000    2,100     1,500    1,500    1,500     1,000    1,433      8,600

100072185   020118513   AVELLA OF DEER VALLEY                   PHOENIX         AZ   85085       MAIL SERVICE       FA1240592     300     1,700      900     1,500     100       100      767       4,600

100052378   020050252   *AVELLA OF ARROWHEAD                   GLENDALE         AZ   85308       MAIL SERVICE       FA1240629     300      200       300      900      (300)              280       1,400

100052326   020085241   *AVELLA OF CHANDLER                      TEMPE          AZ   85284       MAIL SERVICE       FA1240643     400      200       200                                  267        800

100052604   020052522   *AVELLA OF GILBERT                      GILBERT         AZ   85234       MAIL SERVICE       FA1240667     200      100       200      100      100       100      133        800

100052375   020050013   *AVELLA OF PHOENIX II                   PHOENIX         AZ   85015       MAIL SERVICE       FA1240679     200                                                     200        200

100074132   020130955   AVELLA OF PHOENIX III                   PHOENIX         AZ   85004       MAIL SERVICE       FA1240693    3,100    4,600     3,800    4,000    5,400     2,800    3,950     23,700

100052376   020050039   AVELLA OF SCOTTSDALE                  SCOTTSDALE        AZ   85258       MAIL SERVICE       FA1240706     300      700       700      100      200       300      383       2,300

100052377   020050195   AVELLA OF TUCSON I                      TUCSON          AZ   85712       MAIL SERVICE       FA1240718    1,700     900      2,500     400      900       200     1,100      6,600

100052754   020086579   *AVELLA OF GRAYHAWK                   SCOTTSDALE        AZ   85255       MAIL SERVICE       FA1240732    1,000                                                   1,000      1,000

100068007   044104257   ADVANCE PHCY                            ADVANCE         MO   63730       INDEPENDENT        FA1249754   18,100   20,100    18,200   20,800   12,800    14,300   17,383    104,300

100066151   052145433   ACKERMAN DISC DRUGS           SF       ACKERMAN         MS   39735       INDEPENDENT        FA1262675   14,100   14,100    15,300   12,600   19,730    14,500   15,055     90,330

100075443   018171678   ARCADIA PHARMACY SOLUTIONS LLC           TULSA          OK   74146   HOME HEALTH SERVICES   FA1325566              (100)                                          (100)      (100)

100085453   018030197   ATRIUM MEDICAL CTR AT CORINTH           CORINTH         TX   76208         HOSPITAL         FA1349910     200      500      1,050     500     2,110      200      760       4,560

100110016   044221366   APS PHCY #801 LLC        SF            SOUTHAVEN        MS   38671       INDEPENDENT        FA1416797     400      400      1,500    1,300    5,000      500     1,517      9,100

100106035   046058800   AHF PHARMACY-NORTH POINT 340B       FORT LAUDERDALE     FL   33308      PHS 340B CLINIC     FA1417953                                          500       500      500       1,000

100106035   046058800   AHF PHARMACY-NORTH POINT 340B       FORT LAUDERDALE     FL   33308       INDEPENDENT        FA1417953     400      300                                            350        700

100106034   046058792   AHF PHARMACY-NORTH POINT            FORT LAUDERDALE     FL   33308       INDEPENDENT        FA1417953     600                                                     600        600

100067843   018177212   ACT PHARMACY, LLC                        TULSA          OK   74136       INDEPENDENT        FA1446625    1,500     600      1,200    1,500    1,000     1,700    1,250      7,500

100067707   018177493   ARKANSAS HOSPICE HOT SPRINGS          HOT SPRINGS       AR   71913         HOSPITAL         FA1489788              100                300                         200        400

100092798   018352948   CORNERSTONE HOSP N LITTLEROCK         JACKSONVILLE      AR   72076         HOSPITAL         FA1519226     900      500       700      400      500       800      633       3,800

100070930   019159566   AURORA PHARMACY #1335                   SUMMIT          WI   53066          CHAIN           FA1549736    8,000    8,600     8,000   12,000   10,500    10,500    9,600     57,600

100075346   010179077   ACUITY SPECIALTY HOSP                   BELLAIRE        OH   43906         HOSPITAL         FA1600421     400      350       250      150      240        80      245       1,470

100070334   017103291   APOTHECARY POINTE PHARMACY INC            ROY           UT   84067       INDEPENDENT        FA1612604    2,600    4,600     3,800   14,500    1,500      500     4,583     27,500

100088488   046040568   ANTHONY'S PHARMACY                 PALM BEACH GARDENS   FL   33410       INDEPENDENT        FA1631250    3,300    2,400     1,300    2,400    2,000     2,000    2,233     13,400

100088861   017092593   *ALPINE RIDGE PHARMACY                 WHITEFISH        MT   59937       INDEPENDENT        FA1639523    3,200    2,500     4,000    1,000                       2,675     10,700

100084521   018183632   ACUITY HOSP OF SOUTH TEXAS            SAN ANTONIO       TX   78212         HOSPITAL         FA1669211     700      850       850      700     1,240      360      783       4,700

100072928   020130484   AVELLA OF LAS VEGAS II                 LAS VEGAS        NV   89106       MAIL SERVICE       FA1683211    5,000    3,500     4,500   13,000              6,000    6,400     32,000

100084989   055024190   AMERICARE PHCY CONSULTANTS,LLC          FAIRVIEW        NC   28730     LONG TERM CARE       FA1685594    5,100     300       200              3,700              2,325      9,300
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100069789   008090415   ALISAL LTC PHARMACY                 SALINAS       CA   93905   LONG TERM CARE      FA1685936    1,500    4,000    2,000     1,500                        2,250      9,000

100069710   008070615   ALISAL PHARMACY                     SALINAS       CA   93905     INDEPENDENT       FA1685950   30,100   30,100   41,600    26,200    51,800    20,500   33,383    200,300

100075673   019160333   AURORA MED CTR SUMMIT I/P           SUMMIT        WI   53066       HOSPITAL        FA1780988     700      750     1,000     1,000     1,120      600      862       5,170

100068079   032145391   ALASKA ISLAND COMMUNITY SERV       WRANGELL       AK   99929    PHS 340B CLINIC    FA1864455    4,500    5,500    4,000     3,800     4,000     2,000    3,967     23,800

100074593   032246124   ALASKA ISLAND COMM SRVS PHCY       WRANGELL       AK   99929       HOSPITAL        FA1864455    2,300                        100                1,100    1,167      3,500

100074571   044182642   AVELLA OF ST LOUIS                  ST LOUIS      MO   63141     MAIL SERVICE      FA1867677                                           (100)              (100)      (100)

100110785   020167114   AURORA BEHAV HLTH TEMPE IPS          TEMPE        AZ   85283       HOSPITAL        FA1894042                                 100       600       100      267        800

100056453   037091488   ALLCARE PHARMACY LLC             THE WOODLANDS    TX   77380     INDEPENDENT       FA1894218    5,900    7,200     600                                   4,567     13,700

100075406   037117101   ATRIUM MEDICAL CENTER PHARMACY     STAFFORD       TX   77477       HOSPITAL        FA1940407     400      400      300       500       920       160      447       2,680

100075456   046117374   CORTEZ DRUG RX LLC                BROOKSVILLE     FL   34613     INDEPENDENT       FA1962706    4,900    6,700    6,600     2,900     4,700     3,500    4,883     29,300

100075487   021134429   ARBUTHNOT DRUG CO,       CPA       BELLEVILLE     KS   66935     INDEPENDENT       FA1995298   26,000   11,500   17,400     8,400     8,000    10,500   13,633     81,800

100063451   019006452   AURORA PHARMACY #1097               MEQUON        WI   53092        CHAIN          FA2021575    2,100    3,100    1,800     3,200     1,400     1,800    2,233     13,400

100083122   046031914   THE APOTHECARY SHOP               LAKE WALES      FL   33853     INDEPENDENT       FA2032578    1,100    2,200   12,500     1,600     9,900     2,000    4,883     29,300

100086005   018194456   ARLINGTON CANCER CTR PHARMACY      ARLINGTON      TX   76012       HOSPITAL        FA2033140    2,600    2,100    3,000     3,100     3,600     4,500    3,150     18,900

100083708   046032615   ALLZ WELL PHARMACY, LLC          OAKLAND PARK     FL   33334     INDEPENDENT       FA2100953     300      100                                             200        400

100083309   019134973   AMC GRAFTON (I/P)                   GRAFTON       WI   53024       HOSPITAL        FA2146036    1,800    1,400    1,100     1,100     1,600     1,700    1,450      8,700

100083503   052161075   ADAMS DRUGS-TAYLOR COPPERFIELD    MONTGOMERY      AL   36117     INDEPENDENT       FA2175291     200      200      300       200      3,000     1,800     950       5,700

100109124   037135178   OMNIPLUS PHARMACY                   HOUSTON       TX   77002     INDEPENDENT       FA2175708    1,300    1,400    1,500     2,200     2,000              1,680      8,400

100084713   024090316   ARIANNA MEDICAL PHARMACY INC       GLENDALE       CA   91208     INDEPENDENT       FA2195697     100     1,000     500      1,000     1,100      500      700       4,200

100084840   052164160   ALLEGIANCE SPECIALTY HOSP, LLC    GREENVILLE      MS   38701       HOSPITAL        FA2255075     300      100      300       700       560        80      340       2,040

100083504   019135293   AURORA SPEC PHCY #1119              BUTLER        WI   53007        CHAIN          FA2260165   14,700   12,800   17,200    33,600                       19,575     78,300

100083735   019135541   AURORA PHARMACY #1297               GRAFTON       WI   53024        CHAIN          FA2260177    6,600    6,600    6,600     8,100     6,000     9,400    7,217     43,300

100083194   038095588   APOTHECA, LLC                      TELLURIDE      CO   81435     INDEPENDENT       FA2278770     800     1,300    1,100      500       800                900       4,500

100084390   017084624   ACUPHARM, LLC                    SALT LAKE CITY   UT   84123   LONG TERM CARE      FA2302165   10,800    7,700    7,300     7,100     9,160     8,660    8,453     50,720

100053542   020067470   ASSIST CARE PHARMACY INC           LAS VEGAS      NV   89103   LONG TERM CARE      FA2352247    7,200   10,600    9,600    13,600     7,700     9,600    9,717     58,300

100096816   019163691   ASLMC OUPATIENT PHCY WAC           MILWAUKEE      WI   53215       HOSPITAL        FA2373405   12,700   13,100   12,800    13,700    22,500     9,900   14,117     84,700

100096837   019163725   ASLMC POB PHCY WAC                 MILWAUKEE      WI   53215       HOSPITAL        FA2373429    4,100    4,000    4,900     4,500     5,000     4,400    4,483     26,900

100085335   041136861   ADAMS PROFESSIONAL PHCYLLC         FREDERICK      MD   21702     INDEPENDENT       FA2379724    1,400    1,900    1,600     2,600     2,100     2,200    1,967     11,800

100084992   038098244   BENKELMAN PHCY        CPA         BENKELMAN       NE   69021     INDEPENDENT       FA2407472    3,100    8,100    4,200     4,000     2,500     3,300    4,200     25,200

100052434   024099770   ALTAMED MEDICAL GRP 340B/AMD      LOS ANGELES     CA   90022    PHS 340B CLINIC    FA2407965    3,100    5,900    5,800     4,300     7,900     3,400    5,067     30,400

100085054   024017392   ALTAMED PHARMACY 3      /PMQ      LOS ANGELES     CA   90022       ALT SITE        FA2407965     700      700                200                          533       1,600

100084520   056099705   ACUITY SPECIALTY HOSP OF NJ.      ATLANTIC CITY   NJ   08401       HOSPITAL        FA2443048               50                100                           75        150

100085324   023102525   *ALPHA PHARMACY (ARX)                ALPHA        NJ   08865     INDEPENDENT       FA2489777     400                                                      400        400

100085982   017087866   ALTITUDE DRUG, LLC      SF          PINEDALE      WY   82941     INDEPENDENT       FA2504757    4,000    4,000    5,000     4,900     2,000     3,800    3,950     23,700

100086115   055026468   PHARMERICA EASLEY                    EASLEY       SC   29641   LONG TERM CARE      FA2569183   35,500   42,000   43,000    53,000               1,000   34,900    174,500

100086446   023107144   A & H PHARMACY INC    CPA          BROOKLYN       NY   11208     INDEPENDENT       FA2571633     300      300      100       500       200       300      283       1,700

100106025   012050575   AHF PHARMACY-LONG BEACH           LONG BEACH      CA   90804     INDEPENDENT       FA2582472     700                                                      700        700

100086730   046038158   ACQUAVIVA'S PHARMACY LTC            PALM BAY      FL   32905   LONG TERM CARE      FA2587927     300     1,000     (200)     500                 100      340       1,700

100063454   019006544   AURORA PHARMACY #1135            OCONOMOWOC       WI   53066        CHAIN          FA2598730    4,000    4,500    5,500     6,500     5,000     3,100    4,767     28,600

100110311   019188052   CASC CADENCE AMB SURG CTR         WARRENVILLE     IL   60555       HOSPITAL        FA2622923                                 100                 200      150        300

100086882   056020149   ALLIANCE MEDICATION SRVCS LLC      HORSHAM        PA   19044     MAIL SERVICE      FA2647723    6,900    9,500    1,700    12,100                        7,550     30,200

100086882   056020149   ALLIANCE MEDICATION SRVCS LLC      HORSHAM        PA   19044     INDEPENDENT       FA2647723                                 (500)    4,700     9,300    4,500     13,500

100086610   012096271   AGHAPY PHARMACY, INC.             SAN JACINTO     CA   92583     INDEPENDENT       FA2650807   10,500   10,500   10,000     8,200    12,700     9,900   10,300     61,800

100101271   010234278   ADENA PHARMACY LLC WAC            CHILLICOTHE     OH   45601   PHS 340B HOSPITAL   FA2712544    5,700    5,500    5,700     7,000     6,500     6,400    6,133     36,800
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100106050   046058974   AHF PHARMACY-SUNRISE 340B        FORT LAUDERDALE   FL   33304       INDEPENDENT        FA2712962    100              700                                 400      800

100106049   046058958   AHF PHARMACY-SUNRISE             FORT LAUDERDALE   FL   33304       INDEPENDENT        FA2712962    100              200                                 150      300

100096847   019163733   ASLSS OP PHARMACY WAC                CUDAHY        WI   53110         HOSPITAL         FA2713798   3,800   4,700    3,800    4,600    4,900    4,300    4,350   26,100

100087750   004088203   AMMONOOSUC COMM HLTH SVCS           LITTLETON      NH   03561       INDEPENDENT        FA2759667   1,400   1,200    1,300     200     2,600    1,500    1,367    8,200

100087752   004088229   AMMONOOSUC COMM HLTH SVCS 340B      LITTLETON      NH   03561      PHS 340B CLINIC     FA2759667    300    1,900    1,100    1,000    1,700             1,200    6,000

100087452   023112136   ALBERT'S PHARMACY, INC.             PITTSTON       PA   18640       INDEPENDENT        FA2779859   1,400   2,700     400     1,600    3,000     500     1,600    9,600

100106064   046059097   AHF PHARMACY - COCO GROVE             MIAMI        FL   33133       INDEPENDENT        FA2812990                             1,000                      1,000    1,000

100086285   004071381   APPLE VALLEY PHY(REDI PHARMACY      WARWICK        NY   10990       INDEPENDENT        FA2864228    700     700                                          700     1,400

100088006   018200758   *ADVANCED PRESCRIPTION SERV SF      GARLAND        TX   75043     LONG TERM CARE       FA2882769   1,600                                                1,600    1,600

100109821   021176289   ASSURED PHARMACY #9                 LEAWOOD        KS   66211       INDEPENDENT        FA2883785                            17,000   22,500    3,000   14,167   42,500

100110590   024122937   JANA HEALTHCARE PHCY      SF       LOS ANGELES     CA   90038       INDEPENDENT        FA2886490                             3,500    4,700    2,100    3,433   10,300

100107904   037134882   AFFORDABLE PHARMACY SF            BATON ROUGE      LA   70806       INDEPENDENT        FA2902244   2,000   5,200    4,500    6,000    2,500    2,000    3,700   22,200

100088091   023132357   ALERT PHARMACY SRVS, INC(CNRC)      CARLISLE       PA   17013     LONG TERM CARE       FA2906848    100              200      100      500     1,000     380     1,900

100092271   021099259   ALBERS MEDICAL PHARMACY            GRANDVIEW       MO   64030       INDEPENDENT        FA2919580   7,200   7,300    5,300    6,800    7,300    6,900    6,800   40,800

100088390   056020404   ALERT PHARMACY SRVS, INC(MH)     CHAMBERSBURG      PA   17201       INDEPENDENT        FA2976895    500              600      500               500      525     2,100

100088965   018203950   AMERICAN HOME PHCY, LLC CPA          CLINTON       AR   72031       INDEPENDENT        FA2994158   7,700   7,600   11,900    4,200    4,900   14,200    8,417   50,500

100110338   021176651   AMERICAN HOME PHCY #2 GPO CPA        CLINTON       AR   72031       INDEPENDENT        FA2994158                              100                        100      100

100089990   010224089   ADENA CANCER CTR RETAIL            CHILLICOTHE     OH   45601         HOSPITAL         FA2995617    700     800      500     1,400    2,400    1,600    1,233    7,400

100088652   019154278   AURORA PRES DIS #1260              WAUWATOSA       WI   53226          CHAIN           FA3003136   2,500   3,300    1,800    3,200    2,700    4,100    2,933   17,600

100088013   019180414   AURORA PRES DIS #1068              WATERFORD       WI   53185          CHAIN           FA3011765   1,800   1,900    2,800    2,800    3,700    3,600    2,767   16,600

100086663   019180166   AURORA PRES DIS #1250              TWO RIVERS      WI   54241          CHAIN           FA3011828   1,300   1,300    1,100    1,900    3,200    2,900    1,950   11,700

100088014   019180422   AURORA PRES DIS #1141              GREEN BAY       WI   54303          CHAIN           FA3011866   1,800   2,000    3,100    1,400    5,200    4,400    2,983   17,900

100088749   040113027   ARLINGTON REXALL DRUGS CPA         ARLINGTON       GA   39813       INDEPENDENT        FA3012236   2,200            3,100    3,900    3,500    1,000    2,740   13,700

100092840   010226472   ASTI'S LONG TERM CARE PHCY         PITTSBURGH      PA   15234       INDEPENDENT        FA3020322            100                       2,000             1,050    2,100

100104981   021172791   ACH PLAINVIEW HOSP                  PLAINVIEW      NE   68769         HOSPITAL         FA3100803    100                                         300      200      400

100089330   018006338   ADDIS PHARMACY                       DENTON        TX   76208       INDEPENDENT        FA3126693   5,500   9,000    9,000    6,900    9,500    8,300    8,033   48,200

100089426   021059949   STERLING #23         SF             ALTOONA        IA   50009       INDEPENDENT        FA3128647   5,000   2,000    1,800    3,000    3,900     200     2,650   15,900

100072591   019057240   AURORA PRES DIS #1312               KAUKAUNA       WI   54130          CHAIN           FA3133612    900    1,400     500     1,600    2,500    2,100    1,500    9,000

100060647   019033845   AURORA PRES DIS #1108                LOMIRA        WI   53048          CHAIN           FA3172765    600    1,600    1,400    1,600    2,100    1,600    1,483    8,900

100093158   018396440   NORTH METRO MEDICAL CENTER        JACKSONVILLE     AR   72076         HOSPITAL         FA3174086    100     200               250      100               163      650

100090820   049188540   AZAAL DISCOUNT PHARMACY            HAMTRAMCK       MI   48212       INDEPENDENT        FA3205350   3,700   7,100    5,600    4,100    7,500    2,500    5,083   30,500

100104954   021172767   ACH PHARM - LA VISTA                 LA VISTA      NE   68128         HOSPITAL         FA3245102   2,900   3,600    2,400    3,300    4,700    2,300    3,200   19,200

100089768   023135897   ALLSTAR PHARMACY DEPT CPA             LODI         NJ   07644       INDEPENDENT        FA3255355   2,500   2,600    1,700     600     3,700     700     1,967   11,800

100092152   055031666   ADAMS FARM PHARMACY               GREENSBORO       NC   27407       INDEPENDENT        FA3302914   1,700   2,500    1,200    1,800    2,800    1,000    1,833   11,000

100065831   019006080   AURORA PRES DIS #1005              MILWAUKEE       WI   53207          CHAIN           FA3324388   1,700    400     1,500    1,100     500     1,100    1,050    6,300

100104956   021172775   ACH PHARM 132ND & CTR                OMAHA         NE   68144         HOSPITAL         FA3330228   4,300   2,800    4,300    4,200    4,800    4,300    4,117   24,700

100091079   049188722   ADVANCED CARE PHARMACY-EM            DETROIT       MI   48207   HOME HEALTH SERVICES   FA3330456    200     400      200               200      700      340     1,700

100090394   038105239   AVELLA OF DENVER                     DENVER        CO   80218       MAIL SERVICE       FA3390832   5,000   6,100    5,200    3,800    4,900    3,000    4,667   28,000

100064745   019006338   AURORA PRES DIS #1067               HARTLAND       WI   53029          CHAIN           FA3450739           1,700    1,100     600     1,500    1,100    1,200    6,000

100065838   019006197   AURORA PRES DIS #1222             CEDAR GROVE      WI   53013          CHAIN           FA3450753   2,000   3,000    2,100    2,100    2,700    4,200    2,683   16,100

100091927   019158832   ARMITAGE PHARMACY, INC CPA          CHICAGO        IL   60647       INDEPENDENT        FA3458418   1,700    200     2,600     800      500     1,000    1,133    6,800

100106068   046059147   AHF PHARMACY - WPA 340B            MIAMI BEACH     FL   33139       INDEPENDENT        FA3478787   1,700    400     1,000                               1,033    3,100

100106067   046059121   AHF PHARMACY-WPA SO BCH            MIAMI BEACH     FL   33139       INDEPENDENT        FA3478787    100                                                  100      100

100065842   019006239   AURORA PRES DIS #1145               ELKHORN        WI   53121          CHAIN           FA3489425   4,200   3,100    3,300    3,100    4,100    4,200    3,667   22,000
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100092140   019160036   AURORA PRES DIS #1810                MUSKEGO         WI   53150          CHAIN           FA3489437    1,800     1,700    1,700    1,800    1,300     300     1,433     8,600

100093198   040114694   ATHENS REG MED CNTR, INC (WAC)        ATHENS         GA   30606         HOSPITAL         FA3508617     (200)             1,030             2,000    9,000    2,958    11,830

100093189   040114686   ATHENS REG MED CNTR, INC(PHS)         ATHENS         GA   30606     PHS 340B HOSPITAL    FA3508617    3,000     4,500    1,000             1,000    1,000    2,100    10,500

100091085   012106955   APEX INFUSION PHARMACY              SIGNAL HILL      CA   90755   HOME HEALTH SERVICES   FA3531111                                                   100      100       100

100063733   019006924   AURORA PRES DIS #1160                WAUKESHA        WI   53186          CHAIN           FA3551478    2,200     3,400    1,700    3,000    3,000    2,600    2,650    15,900

100103785   012111872   ALTAMED PHARMACY #4 340B           GARDEN GROVE      CA   92840      PHS 340B CLINIC     FA3572129    1,400     1,600    1,300    1,100    3,000     800     1,533     9,200

100089141   012102848   ALTAMED PHARMACY #4 /PMQ           GARDEN GROVE      CA   92840         ALT SITE         FA3572129     300       300      200      600      200               320      1,600

100093943   055032177   AYNOR FAMILY PHARMACY CPA             AYNOR          SC   29511       INDEPENDENT        FA3583475   20,000    18,000   17,100    4,200   19,600   14,400   15,550    93,300

100106086   008116558   AHF PHARMACY-SAN FRAN 18TH ST      SAN FRANCISCO     CA   94114       INDEPENDENT        FA3592854    2,000              1,000                               1,500     3,000

100106084   012112318   AHF PHARMACY - GARDENA 340B          GARDENA         CA   90248       INDEPENDENT        FA3595076     200       200               600                        333      1,000

100106084   012112318   AHF PHARMACY - GARDENA 340B          GARDENA         CA   90248      PHS 340B CLINIC     FA3595076                                          700               700       700

100106083   012112300   AHF PHARMACY - GARDENA               GARDENA         CA   90248       INDEPENDENT        FA3595076               500                                          500       500

100106070   018372391   AHF PHARMACY-FT WORTH               FORT WORTH       TX   76111       INDEPENDENT        FA3601057     500                         800                        650      1,300

100094192   044104828   ADAIR DRUG ASPC                      COLUMBIA        KY   42728       INDEPENDENT        FA3621201   11,500    14,800   13,900   12,100   11,400   13,000   12,783    76,700

100089928   012103697   ALTAMED PHARMACY 5      /PMQ          ANAHEIM        CA   92801         ALT SITE         FA3630793     100       500      200      600      200               320      1,600

100096486   010233460   ROSS DRUG          APSC               MILTON         WV   25541       INDEPENDENT        FA3682348    7,500    11,200    8,900    8,000    7,800    7,700    8,517    51,100

100107340   018404269   ALPHA CARE PHARMACY                   MILLSAP        TX   76066       INDEPENDENT        FA3709081     500       500              1,000             1,100     775      3,100

100104544   049194837   AL AMIR PHARMACY APG                 DEARBORN        MI   48126       INDEPENDENT        FA3713597   15,500    12,500   18,500   10,500   13,000    5,500   12,583    75,500

100094127   041145516   CLEAR SPRING PHARMACY INC          CLEAR SPRING      MD   21722       INDEPENDENT        FA3729196    3,100     1,000    3,100    2,100    2,400    2,300    2,333    14,000

100103973   038110361   ASSURED PHARMACY #10             GREENWOOD VILLAGE   CO   80111       INDEPENDENT        FA3790296   14,600    15,200   17,200   18,400   10,700    6,200   13,717    82,300

100110787   020167122   AURORA BEHV HLTH SYS LLC IPS         GLENDALE        AZ   85302         HOSPITAL         FA3813397                                          200      100      150       300

100105960   046058784   RELIANCE PHARMACY                  WINTER HAVEN      FL   33880       INDEPENDENT        FA3825405     500               1,000    4,800    4,000    6,000    3,260    16,300

100104206   055038653   *ALL ABOUT YOUR HEALTH INC           ANDERSON        SC   29621       INDEPENDENT        FA3894688     500                                                    500       500

100106417   018403857   AUSTIN OAKS HOSPITAL                  AUSTIN         TX   78745         HOSPITAL         FA3906104     250       800      400     1,100     300      640      582      3,490

100108066   008116954   AURORA BEHAVIORAL HLTHCARE          SANTA ROSA       CA   95401         HOSPITAL         FA3987899      50       200      150      600               100      220      1,100

100105848   019183186   ABN HEALTHCARE, INC                  THORNTON        IL   60476       INDEPENDENT        FA4048511     500       500      500                                 500      1,500

100105716   052223610   ADAMS DRUGS PERRY HILL PLACE       MONTGOMERY        AL   36106       INDEPENDENT        FA4073538                                         2,000    3,000    2,500     5,000

100104994   040120618   ALLIANCE COMMUNITY PHARMACY           ATLANTA        GA   30324       INDEPENDENT        FA4074097     200       200                        200      200      200       800

100105958   040121038   ADAIRSVILLE DRUG                    ADAIRSVILLE      GA   30103       INDEPENDENT        FA4102238   20,200    26,600   19,500   24,100   21,700   18,800   21,817   130,900

100105075   010235531   ACCUSCRIPTS PHARMACY LLC             WESTLAKE        OH   44145     LONG TERM CARE       FA4141002    7,700     5,800    3,200    4,500    5,300    2,200    4,783    28,700

100106087   046059170   AHF PHARMACY - OAKLAND PARK FL     OAKLAND PARK      FL   33334       INDEPENDENT        FA4155621     800       500                                          650      1,300

100106616   046059386   AHF PHARMACY - OAKLAND PK 340B     OAKLAND PARK      FL   33334       INDEPENDENT        FA4155621     200       200                                          200       400

100104957   021172585   ALEGENT CREIGHTON PHARMACY            OMAHA          NE   68102         HOSPITAL         FA4200490    1,800      200     1,200     200      900     1,200     917      5,500

100109648   052224816   ADVANCED RX PHARMACY 024             FLOWOOD         MS   39232       INDEPENDENT        FA4222232    4,500     5,300    5,800    3,200    8,500    7,700    5,833    35,000

100106623   018404111   ALVARADO PHARMACY CPA                ALVARADO        TX   76009       INDEPENDENT        FA4235099   10,500    12,400   11,100   13,600   14,100   13,200   12,483    74,900

100107347   041154260   ALEXANDRIA CARE PHARMACY            ALEXANDRIA       VA   22309       INDEPENDENT        FA4250128     100       100                                          100       200

100107781   032152579   ARLINGTON CHC PHARMACY 340B          ARLINGTON       WA   98223      PHS 340B CLINIC     FA4260749     800       700      400      300      500      900      600      3,600

100107439   012112722   AUDREY PHARMACY #2                 WESTMINSTER       CA   92683       INDEPENDENT        FA4270118     200       100      100               700               275      1,100

100106935   024016261   AP 6 PHARMACY      /PMQ             PICO RIVERA      CA   90660         ALT SITE         FA4270740     400                         100      500               333      1,000

100110747   024122952   AP 6 PHARMACY 340B /AMD             PICO RIVERA      CA   90660      PHS 340B CLINIC     FA4270740                                                   600      600       600

100107115   019184275   BELL HOSPITAL PHARMACY               ISHPEMING       MI   49849         HOSPITAL         FA4282480     500       700      600      950     1,040     680      745      4,470

100107116   019184283   BELL HOSP PHARMACY (OWN USE)         ISHPEMING       MI   49849         HOSPITAL         FA4282480     400       700      300      800      600      200      500      3,000

100107449   019185025   AURORA PRES DIS #1750                ELKHORN         WI   53121          CHAIN           FA4283797     100      1,700     500      500     2,700    2,100    1,267     7,600

100108670   049196675   APOTHECARY - HOUGHTON 340B           HOUGHTON        MI   49931      PHS 340B CLINIC     FA4329947                       2,000    1,500                      1,750     3,500
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100107108   019184259   APOTHECARY-HANCOCK                     HANCOCK        MI   49930      HOSPITAL       FA4329997   13,700    9,300     900     5,100    13,100   12,500    9,100    54,600

100108427   049196667   APOTHCARY HANCOCK 340B                 HANCOCK        MI   49930   PHS 340B CLINIC   FA4329997             4,500   12,500    7,500                       8,167    24,500

100108924   019186247   AURORA PRES DIS #1730                 BROOKFIELD      WI   53005       CHAIN         FA4363634     500     1,100    1,600    1,100      700     8,700    2,283    13,700

100109396   041154534   WILLIAMSPORT PHARMACY                WILLIAMSPORT     MD   21795    INDEPENDENT      FA4369559    2,100    1,100    1,600    1,200     1,500    2,400    1,650     9,900

100107848   010237156   ASTIS SOUTH HILLS PHCY APSC           PITTSBURGH      PA   15234    INDEPENDENT      FA4382975   32,000   32,600   45,000   16,500    12,000     800    23,150   138,900

100053467   010051631   *AMERICAN PHARMACY USA               MORGANTOWN       WV   26508    INDEPENDENT      FA4490253    9,000    7,500                                         8,250    16,500

100110123   021176503   ALEGENT CREIGHTON PHCY               COUNCIL BLUFFS   IA   51501      HOSPITAL       FA4513924    1,700    1,400    1,600    2,500     3,400    3,000    2,267    13,600

100110197   041154799   AGH REDISCRIPTS PHARMACY                 BERLIN       MD   21811    INDEPENDENT      FA4546884                               1,500      900     3,600    2,000     6,000

100111373   052002229   ADVANCED RX PHARMACY 028 APSC         HATTIESBURG     MS   39401    INDEPENDENT      FA4616631                                         1,000    5,100    3,050     6,100

100111441   044000443   ADVANCED RX PHY 025 APSC               HERMITAGE      TN   37076    INDEPENDENT      FA4632356                                                  9,200    9,200     9,200

100108993   020166843   ACUITY SPLTY HSP AZ MESA DIP             MESA         AZ   85206      HOSPITAL       FA4679796                       100      200       180               160       480

100110586   017098715   ALPINE APOTHECARY                      WHITEFISH      MT   59937    INDEPENDENT      FA4701341                               2,500     4,000    1,500    2,667     8,000

100111265   010002102   ACUITY SPEICIALTY HOSP-WEIRTON          WEIRTON       WV   26062      HOSPITAL       FA4715631                                                   160      160       160

100111302   052002148   ADAMS DRUGS CHANTILLY                 MONTGOMERY      AL   36117    INDEPENDENT      FA4842084                                         2,600    4,500    3,550     7,100

100109986   018405563   BEACH STREET PHARMACY CPA             FORT WORTH      TX   76137    INDEPENDENT      FB0020418            10,400    6,600    6,800     9,800    9,600    8,640    43,200

100072998   010110502   BLUEGRASS FAMILY PHARMACY APSC         RICHMOND       KY   40475    INDEPENDENT      FB0034847    2,600    1,600    2,800    1,500     5,600    5,700    3,300    19,800

100063755   044072777   BEAUTON DRUG          CPA             EAST PRAIRIE    MO   63845    INDEPENDENT      FB0064749   29,000   18,300   45,300   17,800    24,700   18,000   25,517   153,100

100064183   056060566   BRANDYWINE PHARMACY(GNP)(Z)           HONEY BROOK     PA   19344    INDEPENDENT      FB0095186    3,800    3,700    5,200    3,600     4,600    3,500    4,067    24,400

100061707   044077115   BLUEGRASS LTC PHARMACY                MADISONVILLE    KY   42431   LONG TERM CARE    FB0102208    6,900    9,300    6,000    8,000     7,000    5,500    7,117    42,700

100057559   008040121   BRENTWOOD SURGERY CENTER LLC          BRENTWOOD       CA   94513      HOSPITAL       FB0111601                                           80                80        80

100072745   018143073   BEST VALUE MED CTR PHCY       CPA      GLEN ROSE      TX   76043    INDEPENDENT      FB0118198    6,600   31,000   11,100   16,200    34,600   16,300   19,300   115,800

100076688   052032805   BLC DRUG,CAMPBELLS HOMETWN CPA         BULLS GAP      TN   37711    INDEPENDENT      FB0286357   10,500    9,600    9,200    7,500    14,840    7,000    9,773    58,640

100074335   055067769   B&W PHARMACY CARE INC(Z) (GNP)         HIGH POINT     NC   27262    INDEPENDENT      FB0294289    2,100    2,700    3,000    4,500     3,200    1,600    2,850    17,100

100068944   018058412   BOARDWALK PHARMACY                       IRVING       TX   75038    INDEPENDENT      FB0347395   12,700   13,300   13,500   21,200    11,700   24,500   16,150    96,900

100109372   041154500   BELVEDERE PHARMACY                     BALTIMORE      MD   21215    INDEPENDENT      FB0354061                                          400     1,000     700      1,400

100066235   040143123   BENNETT'S HOMETOWN PHCY        CPA    WAYNESVILLE     GA   31566    INDEPENDENT      FB0357548    2,500   12,800             9,100     2,700    9,000    7,220    36,100

100074372   018093815   BOOMTOWN DRUG           SF            BURKBURNETT     TX   76354    INDEPENDENT      FB0387591     300      100      100     7,100      100      300     1,333     8,000

100061693   037113399   BIOCARE PHARMACY                        HOUSTON       TX   77072    INDEPENDENT      FB0440759     700     1,500    1,300    1,100                       1,150     4,600

100072657   041140095   BLUE RIDGE SURGERY CENTER #712           SALEM        VA   24153      HOSPITAL       FB0481553              150                                           150       150

100075110   024124404   BRENT AIR PHARMACY                    LOS ANGELES     CA   90049    INDEPENDENT      FB0535786   11,400    5,100    8,500    7,900     5,200    4,500    7,100    42,600

100071237   023143131   BOYT DRUGS(X)        CPA               METUCHEN       NJ   08840    INDEPENDENT      FB0537045     300     1,400    1,100    6,300               100     1,840     9,200

100068136   023144113   BOYT DRUGS (GPO)        CPA            METUCHEN       NJ   08840    INDEPENDENT      FB0537045                      1,000                        100      550      1,100

100076149   010121814   BLACKBURN'S PHARMACY LLC APSC         NEW BOSTON      OH   45662    INDEPENDENT      FB0568937    4,000    5,500    3,000    4,200     5,700    1,400    3,967    23,800

100074298   052032383   BLOUNTSVILLE PHCY        SF           BLOUNTSVILLE    AL   35031    INDEPENDENT      FB0605812    8,100    7,300    7,900    7,500     8,800    5,000    7,433    44,600

100099446   021171157   WALGREENS #15798        DSD          BAXTER SPRINGS   KS   66713    WALGREENS        FB0626854    5,300   13,300   13,700   13,100    14,300   10,500   11,700    70,200

100069872   049128413   *BLOOMFIELD PHCY NORTH        SF        PONTIAC       MI   48341    INDEPENDENT      FB0645169   54,500                                                 54,500    54,500

100074166   012117945   BEEMAN'S REDLANDS PHARMACY             REDLANDS       CA   92373    INDEPENDENT      FB0652481   13,000   12,800   11,900   14,600    15,200   15,000   13,750    82,500

100076072   046013573   BAYCARE ALLIANT HOSP,INC LTC            DUNEDIN       FL   34698      HOSPITAL       FB0682371     400      200      500      700       360      800      493      2,960

100076629   046013672   BARDMOOR EMERGENCY CENTER                LARGO        FL   33777      HOSPITAL       FB0702123     100      300      100      200                600      260      1,300

100076409   056070904   BIG SPRING PHCY INC(Z)(GNP)            NEWVILLE       PA   17241    INDEPENDENT      FB0724434    6,700    6,100    4,300    5,000     2,800    6,400    5,217    31,300

100098977   019177477   WALGREENS #12150        DSD             CHICAGO       IL   60625    WALGREENS        FB0739423    9,200   11,300    9,500    8,700    10,600    8,600    9,650    57,900

100073932   055069377   BLADEN LAKES COMM HLTH CTR(X)           TAR HEEL      NC   28392   PHS 340B CLINIC   FB0784721     700      800      600      (800)                       325      1,300

100071239   056143024   BUNTING FAMILY PHARMACY(X) CPA        NORTHFIELD      NJ   08225    INDEPENDENT      FB0966448    1,500    4,100    1,100    1,600     2,500    2,500    2,217    13,300

100074260   004079798   BRICETTI, FREDERICK MD(DFCI)         LONDONDERRY      NH   03053      HOSPITAL       FB1101207              100                                           100       100
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100072339   018169342   HARVEST FOODS PHCY #3219 SF         HOT SPRINGS     AR   71913    INDEPENDENT      FB1127908   15,000   17,100   18,300    13,600   16,760   17,700   16,410    98,460

100088552   055030171   BLADEN COUNTY HOSPITAL - CFV      ELIZABETHTOWN     NC   28337      HOSPITAL       FB1127996      50      300      300       100      200      400      225      1,350

100072935   049178095   *LAKESHORE PHARMACY                   DETROIT       MI   48202   LONG TERM CARE    FB1150527    1,500    1,000                                         1,250     2,500

100090703   018237503   BONE&JOINT HOSP ST ANTHONY        OKLAHOMA CITY     OK   73103      HOSPITAL       FB1196965    2,200    1,300    1,200     1,100    1,000    2,000    1,467     8,800

100068261   023112607   BENECARD CENTRAL FILL(X)          MECHANICSBURG     PA   17055    MAIL SERVICE     FB1201831   12,600   10,900   10,300     9,900    5,800    4,160    8,943    53,660

100067753   008100610   BJRX PHARMACY INC. COMBO CPA         STOCKTON       CA   95210    INDEPENDENT      FB1218153   11,200   10,300   11,100    12,400   14,600   10,600   11,700    70,200

100070828   046125583   BLAKE PHARMACY LLC,               NEW PORT RICHEY   FL   34652    INDEPENDENT      FB1353743    4,000    3,100    4,000     3,700    3,800    2,000    3,433    20,600

100066498   010177915   BOWLING FAMILY PHARMACY APSC       BARBOURVILLE     KY   40906    INDEPENDENT      FB1442766   16,500   17,500   31,500    13,000   15,000   13,000   17,750   106,500

100070839   049178160   BROTHERS PHCY          CPA             FLINT        MI   48505    INDEPENDENT      FB1526043   40,800   39,700   41,700    37,500    5,200    2,300   27,867   167,200

100051237   008004770   BAY PHARMACY INC,      CPA           SAN JOSE       CA   95116    INDEPENDENT      FB1550107    1,100     500      900      1,100    1,900     700     1,033     6,200

100086076   012094268   BEAR CREEK PHARMACY DBA              WILDOMAR       CA   92595    INDEPENDENT      FB1582065   14,700   13,500   10,500     8,600   10,200    6,800   10,717    64,300

100069603   052147371   KILGORE EXPRESS PHCY #5      SF     BRIDGEPORT      AL   35740    INDEPENDENT      FB1644954   13,300   14,200   14,700    12,400   12,500   11,000   13,017    78,100

100068342   024130674   BRAVO PHARMACY #2        CPA       LOS ANGELES      CA   90001    INDEPENDENT      FB1721504     100     2,000    2,700      700               300     1,160     5,800

100075685   049178665   BARCLAY PHARMACY                  ROCHESTER HILLS   MI   48307    INDEPENDENT      FB1749817    7,800    8,300    6,200     7,700    7,400    4,700    7,017    42,100

100075716   041129007   BMC PHARMACY(X)                     BALTIMORE       MD   21225    INDEPENDENT      FB1786168    1,000    1,800    1,300     1,200     600      600     1,083     6,500

100068220   056090316   BELMAR TOWN PHARMACY(Z)               BELMAR        NJ   07719    INDEPENDENT      FB1795991    3,300    4,200    2,500     4,100    2,000    2,500    3,100    18,600

100077183   055176214   *THE DRUG STORE-BOGER CITYXCPA      LINCOLNTON      NC   28092    INDEPENDENT      FB1825681    4,200    2,000                                         3,100     6,200

100075559   041129882   BEHAVIORAL PAVILION/VIRGINIAS        BLUEFIELD      WV   24701      HOSPITAL       FB1857272     800               100       400      400      300      400      2,000

100085722   004069765   BREWER MEDICAL CENTER PHCY340B       BREWER         ME   04412   PHS 340B CLINIC   FB1922992    3,400    3,800    3,500     3,800    5,000    4,300    3,967    23,800

100085669   004069690   BREWER MEDICAL CENTER PHARMACY       BREWER         ME   04412    INDEPENDENT      FB1922992    1,500    1,400     900      1,000    3,400    1,400    1,600     9,600

100075394   041129346   BELVEDERE PHARMACY(Z)               BALTIMORE       MD   21212    INDEPENDENT      FB1944378     800      400      (200)     200      100      300      267      1,600

100075005   012110403   FARMACIA FAMILIAR                   SANTA ANA       CA   92704    INDEPENDENT      FB1944746    1,600    7,000    1,200     4,200    3,200    1,400    3,100    18,600

100053373   024016451   BOTICA DEL SOL                     LOS ANGELES      CA   90033    INDEPENDENT      FB1978280    2,100    4,000    4,500     4,200                      3,700    14,800

100085656   024001727   BOTICA DEL SOL 340B                LOS ANGELES      CA   90033   PHS 340B CLINIC   FB1978280     300      200      500       100                        275      1,100

100064852   037093252   BRAZOS CO MEDICINE CHEST CPA      COLLEGE STATION   TX   77845   LONG TERM CARE    FB1993193   10,200   20,000   24,100    19,000   36,000   11,000   20,050   120,300

100104814   037133843   BRAZOS CO MEDICNE CHST MHA/CPA    COLLEGE STATION   TX   77845   LONG TERM CARE    FB1993193    5,500    6,200    6,000              4,000             5,425    21,700

100054269   037045583   BRYAN MEDICINE CHEST        CPA       BRYAN         TX   77802    INDEPENDENT      FB1993206   11,900   10,300   15,600     5,900   13,500   22,200   13,233    79,400

100083253   041176420   BYPASS PHARMACY, INC        CPA      BECKLEY        WV   25801    INDEPENDENT      FB2049446   48,900   33,200    5,000    16,300   12,100   15,800   21,883   131,300

100051238   008004796   BAY PHARMACY II PC     CPA           SAN JOSE       CA   95121    INDEPENDENT      FB2179504     600     2,100    1,100     1,400                      1,300     5,200

100087574   040108951   BENNETT'S HOMETOWN PHCY CPA          FOLKSTON       GA   31537    INDEPENDENT      FB2220515   12,500   16,500    5,000    10,500   10,100    9,800   10,733    64,400

100084228   018183145   BAPTIST PHARMACY                    SAN ANGELO      TX   76903   LONG TERM CARE    FB2228511   12,100   11,600   10,700     9,000   13,200   15,500   12,017    72,100

100075404   024120865   BIG 1 PHARMACY, LA                 LOS ANGELES      CA   90012    INDEPENDENT      FB2240480     400     1,500     500       700                        775      3,100

100084006   018181867   BENBROOK PHCY          SF           BENBROOK        TX   76126    INDEPENDENT      FB2318841   13,500   12,100   15,800    15,900   15,100    7,700   13,350    80,100

100106418   037134379   BEHAVIORAL HOSP OF BELLAIRE          HOUSTON        TX   77081      HOSPITAL       FB2321088     100               200       100      100      300      160       800

100084988   049182055   BALDWIN PATTIE DRUG, LLC RET         BALDWIN        MI   49304    INDEPENDENT      FB2334352   19,000    9,500    1,800     9,600   14,000   15,200   11,517    69,100

100066302   019159988   ELMHURST OUTPATIENT SURG CTR         ELMHURST       IL   60126      HOSPITAL       FB2349430     100      100      100       100               100      100       500

100084324   023094920   BAKER'S PHARMACY CPA                  SUSSEX        NJ   07461    INDEPENDENT      FB2354380   10,300    3,580   14,900      300     7,500    3,300    6,647    39,880

100062538   008189373   BK PHCY CORP MADERA#2 /G CPA          MADERA        CA   93637    INDEPENDENT      FB2355015    1,800     100      500      1,000    1,200   13,800    3,067    18,400

100062539   008189365   BK PHCY CORP MADERA /G CPA            MADERA        CA   93637    INDEPENDENT      FB2355015    2,400    2,200    2,700     3,200    2,200             2,540    12,700

100076161   008050062   BK PHCY CORP HERNDON CPA              FRESNO        CA   93720    INDEPENDENT      FB2355027    3,100    3,500    4,100     8,600    4,000     300     3,933    23,600

100076165   008070904   BK PHCY CORPHERNDON/COMBO CPA         FRESNO        CA   93720    INDEPENDENT      FB2355027    1,100     500     1,200     2,600                      1,350     5,400

100062541   008188862   BK PHCY CORP GETTYSBURG CPA           FRESNO        CA   93726    INDEPENDENT      FB2355039    1,600    3,200    2,500     5,000    4,000    2,700    3,167    19,000

100084198   052163584   BELEW DRUGS ASHVLE HWY LLC CPA       KNOXVILLE      TN   37924    INDEPENDENT      FB2378835    6,400    9,600   10,100    12,000    5,100    6,000    8,200    49,200

100060416   019041376   BLESSING SURGERY CTR OF QUINCY        QUINCY        IL   62301      HOSPITAL       FB2399790                                          180               180       180
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100088445   046040477   BLACK AND WHITE PHARMACY CORP          MIAMI         FL   33130       INDEPENDENT        FB2402458                       500     2,100    2,580    1,000    1,545     6,180

100064793   049041392   BERRY SURGERY CENTER PHARMACY     FARMINGTON HILLS   MI   48334         HOSPITAL         FB2406569     100               100                                 100       200

100085752   052166694   BURNHAM-MCKINNEY PHCY #5 SF            BILOXI        MS   39530       INDEPENDENT        FB2416673    4,600    6,600    6,100    3,500    8,280    6,600    5,947    35,680

100085263   052166165   BROOKSIDE DISCOUNT PHARMACY          KINGSPORT       TN   37660       INDEPENDENT        FB2451728   10,000    9,700    7,500   18,500    6,000    6,500    9,700    58,200

100062550   024144378   BUY-WELL DRUGS                      SAN MARINO       CA   91108       INDEPENDENT        FB2458188    3,300     700     1,700    3,100    1,500    2,000    2,050    12,300

100086568   046038018   SUNSHINE DRUGS - OCALA                 OCALA         FL   34472       INDEPENDENT        FB2510798     500     2,100    1,200    3,300             1,500    1,720     8,600

100085864   012066597   BELLA VIDA PHARMACY                  TORRANCE        CA   90502       INDEPENDENT        FB2512259    3,500    4,000    5,000    3,000    4,500             4,000    20,000

100086420   044203414   BROADWAY PRESCRIPTION SHOP CPA    CAPE GIRARDEAU     MO   63701       INDEPENDENT        FB2559790   23,120   32,100   32,100   21,700   32,980   22,500   27,417   164,500

100090988   018238238   BAYLOR INST-REHAB(SELECT916)          DALLAS         TX   75246         HOSPITAL         FB2596483    4,000    5,800    4,100    3,300    7,500    1,700    4,400    26,400

100087218   037122325   BOTICA FAMILIAR PHCY     SF          HOUSTON         TX   77035       INDEPENDENT        FB2608670   17,700   15,700   17,000    3,000   16,500   14,500   14,067    84,400

100087086   041139550   BROSVILLE FAMILY PHARMACY             DANVILLE       VA   24541       INDEPENDENT        FB2641175     500                                 500     6,200    2,400     7,200

100086951   018197186   BIRCH TREE COMMUNITY, INC CPA         BENTON         AR   72019         HOSPITAL         FB2646012     700     1,200     300      800     1,600              920      4,600

100087063   055027755   NOVANT HLTH BRUNSWICK MED CTR         BOLIVIA        NC   28422         HOSPITAL         FB2711908    1,200    1,400    1,500    1,100    1,640    1,100    1,323     7,940

100087038   055027714   BEHAVIORAL HLTH PHCY INNOV LLC      WILMINGTON       NC   28401       INDEPENDENT        FB2722432     200      500      800      800      700     1,200     700      4,200

100091272   046042648   BAYCARE PHARMACY MCH OP            SAFETY HARBOR     FL   34695         HOSPITAL         FB2751938    3,600    2,200    4,000    9,200    7,300    5,600    5,317    31,900

100091265   046042630   BAYCARE PHARMACY MCH RETAIL        SAFETY HARBOR     FL   34695   HOME HEALTH SERVICES   FB2751938    1,100    1,000    1,500     500                       1,025     4,100

100109690   052224857   BEAUMONT PHARMACY            SF     BIRMINGHAM       AL   35242       INDEPENDENT        FB2821076                               1,500     500     1,500    1,167     3,500

100092118   041144543   BAILEYS PHARMACY                   FALLS CHURCH      VA   22041       INDEPENDENT        FB2875207     200                        700                        450       900

100087361   023110890   BERGEN POINT APOTHECARY               BAYONNE        NJ   07002       INDEPENDENT        FB2899308     400      100      800      800      200      400      450      2,700

100088154   056020305   BOYD'S PHARMACY OF MEDFORD CPA       MEDFORD         NJ   08055       INDEPENDENT        FB2911647     500      800     1,200    1,600     100      360      760      4,560

100088470   025086686   ESSENTIA HEALTH BAXTER PHCY           BAXTER         MN   56425         HOSPITAL         FB2947995             1,500    2,000    1,000    1,300    2,030    1,566     7,830

100088436   052177238   BELEW DRUGS WASHINTN PIKE CPA        KNOXVILLE       TN   37918       INDEPENDENT        FB2967389    5,500    3,500    6,600   10,400   10,000     500     6,083    36,500

100087231   018197392   BEST VALUE RHOME PHARMACY CPA         RHOME          TX   76078       INDEPENDENT        FB2977203   20,000   28,400   21,200   18,200   22,700   18,400   21,483   128,900

100096475   041151704   BEAVERDAM PHARMACY                  BEAVERDAM        VA   23015       INDEPENDENT        FB3024471    2,600    2,400    1,500    1,480    2,800    1,500    2,047    12,280

100089432   010223909   BETHESDA HOSP BUTLER COUNTY          HAMILTON        OH   45011         HOSPITAL         FB3063548     200      100      200      300                80      176       880

100106879   037134601   BARKER CYPRESS PHCY HOME CARE        HOUSTON         TX   77084       INDEPENDENT        FB3079414   16,000   15,000   17,000   18,600   15,200   13,500   15,883    95,300

100089819   055031039   BURLINGTON CHC PHARMACY (340B)      BURLINGTON       NC   27217      PHS 340B CLINIC     FB3101348     600      500      900     1,800                       950      3,800

100089397   010223891   BLUEGRASS DRUG STORE APSC             DANVILLE       KY   40422       INDEPENDENT        FB3125641    7,700    8,400   11,300    6,600   10,100    3,900    8,000    48,000

100071717   024110684   BURT'S PHARMACY                    NEWBURY PARK      CA   91320       INDEPENDENT        FB3238400   12,300    7,800   11,400    9,500    8,700   11,400   10,183    61,100

100091135   041144295   BON SEC GOOD HLTH PCY@REYNOLDS       RICHMOND        VA   23230         HOSPITAL         FB3365776    1,100    1,700    1,800    1,000    4,000    1,000    1,767    10,600

100091376   041144410   BYPASS PHARMACY #2 CPA                BEAVER         WV   25813       INDEPENDENT        FB3382710    7,100   11,000   10,500   17,800    1,500   15,400   10,550    63,300

100106409   024121657   BHC ALHAMBRA HOSPITAL                ROSEMEAD        CA   91770         HOSPITAL         FB3439987     700      600      500      200      680     1,300     663      3,980

100092013   052214130   BULLS GAP DRUGS         SF           BULLS GAP       TN   37711       INDEPENDENT        FB3451731    1,000    5,600    6,500   12,500    9,000     500     5,850    35,100

100092408   040114603   BUDD TERRACE PHARMACY                 ATLANTA        GA   30329         HOSPITAL         FB3481998    1,450     800     1,400    1,300     500      900     1,058     6,350

100092875   018069385   BROKEN ARROW FAMILY DRUG NORTH     BROKEN ARROW      OK   74012       INDEPENDENT        FB3569273    2,500    4,500    2,500    4,500    4,500    5,000    3,917    23,500

100093012   018396341   BOYD MEDICINE STORE CPA                BOYD          TX   76023       INDEPENDENT        FB3579363   15,600   15,600   15,200   12,800    9,000   15,000   13,867    83,200

100093081   044211938   BELL'S DRUGS INC APSC                 SEBREE         KY   42455       INDEPENDENT        FB3592412    7,500    8,000    9,500    6,600   17,000    9,000    9,600    57,600

100094163   018352161   REMEDY DRUG CPA                     LITTLE ROCK      AR   72205       INDEPENDENT        FB3615436    4,800    5,700    7,300   16,800     600     6,900    7,017    42,100

100093968   046043794   BAYCARE PHARMACY STA OP            ST PETERSBURG     FL   33705   HOME HEALTH SERVICES   FB3636529    1,400    2,200    1,800    1,400                      1,700     6,800

100093967   046043786   BAYCARE PHARMACY STA RETAIL        ST PETERSBURG     FL   33705   HOME HEALTH SERVICES   FB3636529     100              1,200     400     3,200    1,600    1,300     6,500

100104223   023151993   BERGEN MEDICAL PHARMACY              PARAMUS         NJ   07652       INDEPENDENT        FB3663540              100                                          100       100

100100586   040119966   BEASLEY DRUG COMPANY CPA             CONYERS         GA   30012       INDEPENDENT        FB3724829    8,500    2,700    3,000    5,500    3,000    7,400    5,017    30,100

100101375   055038224   BRUNSON'S PHARMACY, LLC CPA           MANNING        SC   29102       INDEPENDENT        FB3728485    8,600   11,000   10,700    7,400   10,600    7,000    9,217    55,300

100104193   052222851   BURNHAM MCKINNEY #6          SF      LUCEDALE        MS   39452       INDEPENDENT        FB3743160   11,500   10,500   14,000   10,400   17,100   15,700   13,200    79,200
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100092160   024032383   OLYMPIC BOULEVARD PHARMACY       BEVERLY HILLS   CA   90211       INDEPENDENT        FB3754327    3,100    3,600    2,200    4,600    2,400    1,900    2,967   17,800

100093161   004091009   BDRN PHARMACY LLC (ARX)            WALDEN        NY   12586       INDEPENDENT        FB3764001    3,200    2,500    3,500    3,200    3,200    2,500    3,017   18,100

100109350   010237800   BEST PHARMACY APSC                 DAYTON        OH   45401       INDEPENDENT        FB3886225             1,000    1,700    6,500     500     3,000    2,540   12,700

100104565   023152165   BRIDESBURG PHARMACY              PHILADELPHIA    PA   19137       INDEPENDENT        FB3898357    3,060             3,630     840     3,600    1,100    2,446   12,230

100101087   023151555   BARON II DRUG & SURGICAL          MOONACHIE      NJ   07074       INDEPENDENT        FB3936412     100      100      500     1,000     100               360     1,800

100104149   008023341   BARR PHARMACY 340B                 SANGER        CA   93657      PHS 340B CLINIC     FB4018241              300      200      100                        200      600

100105095   046057836   BAYSHORE PHARMACY                PORT ST LUCIE   FL   34983       INDEPENDENT        FB4020602     900     1,000    1,000    1,700     300     1,200    1,017    6,100

100107380   052224246   BREWER FAMILY PHARMACY SF           KILLEN       AL   35645       INDEPENDENT        FB4138815    3,500    3,000    2,000    4,500    3,500    3,000    3,250   19,500

100105768   040120741   *BIG D'S DISCNT DRUG#3990/FRED     JACKSON       GA   30233          CHAIN           FB4157055    6,600    6,400    6,800    7,220     300              5,464   27,320

100106673   046059428   BAYCARE PHARMACY STJ RETAIL         TAMPA        FL   33607   HOME HEALTH SERVICES   FB4183911    2,600    1,800    2,100    1,600    3,800    4,500    2,733   16,400

100106793   023153403   *SHOPRITE PHARMACY #126           BELLEVILLE     NJ   07109          CHAIN           FB4233312     100                                                   100      100

100105595   049194902   ALL AMERICAN MEDICAL PHARMACY      WARREN        MI   48091       INDEPENDENT        FB4246535    2,000    2,100    1,600    2,100     200              1,600    8,000

100107282   052224188   *BURDEN DRUG CTR #3581 (FREDS)    JAMESTOWN      TN   38556          CHAIN           FB4283482    8,200    9,000    8,500   14,600     500              8,160   40,800

100107422   012112714   BOLSA EXPRESS PHARMACY           WESTMINSTER     CA   92683       INDEPENDENT        FB4284535             1,000                               1,200    1,100    2,200

100107993   049196618   BALDWIN FAMILY HC 340B             BALDWIN       MI   49304       INDEPENDENT        FB4292380   10,700   11,500   10,800   10,000                     10,750   43,000

100107991   049196600   FAMILY HEALTH CARE PHY             BALDWIN       MI   49304       INDEPENDENT        FB4292380    6,000    3,100    6,600     400     6,800    2,900    4,300   25,800

100107993   049196618   BALDWIN FAMILY HC 340B             BALDWIN       MI   49304      PHS 340B CLINIC     FB4292380                                        7,300    7,400    7,350   14,700

100067545   010141515   BRIDGEPORT PHARMACY INC           BRIDGEPORT     WV   26330       INDEPENDENT        FB4306088    5,900    4,500    2,700             5,100    5,900    4,820   24,100

100107961   004103184   BLUE HILLS PHARMACY, INC SF       BRAINTREE      MA   02184       INDEPENDENT        FB4308892     800      900      500              1,600              950     3,800

100109431   041154542   BUCHANAN PHCY ASSOC INC CPA        GRUNDY        VA   24614       INDEPENDENT        FB4396037             3,000    3,000    9,000             2,000    4,250   17,000

100109748   044221333   BARDSTOWN PHY SVS,LLC APSC        BARDSTOWN      KY   40004       INDEPENDENT        FB4401561   11,500   11,000   11,200   11,000   10,100   13,200   11,333   68,000

100109437   010237875   BRIDGEPORT FAMILY PHCY APSC       BRIDGEPORT     WV   26330       INDEPENDENT        FB4403111    2,500    1,200    2,700    3,200    1,200    4,000    2,467   14,800

100107795   040121384   HALL DRUG CO CPA (NEW)             BLAKELY       GA   39823       INDEPENDENT        FB4472902    5,500    2,000    4,500    1,500    4,500    4,700    3,783   22,700

100109425   018404996   BEST VALUE DUBLIN PHARMACY CPA      DUBLIN       TX   76446       INDEPENDENT        FB4515815    6,500    8,500    2,500    5,500    4,200    3,100    5,050   30,300

100110786   010238840   BECKETT SPRINGS          IPS     WEST CHESTER    OH   45069         HOSPITAL         FB4582690                                                  100      100      100

100110212   044221374   BRENTWOOD MEADOWS (IPS)           NEWBURGH       IN   47630         HOSPITAL         FB4583565              150      200                        200      183      550

100109900   041154724   BYPASS PHARMACY #3        CPA      BECKLEY       WV   25801       INDEPENDENT        FB4596485                               7,000   13,500   11,500   10,667   32,000

100110490   010238584   BETSY LAYNE PHARMACY APSC        BETSY LAYNE     KY   41605       INDEPENDENT        FB4652093              500    12,000    9,100    9,000    6,500    7,420   37,100

100110825   032000230   FAIRFAX BEHAV HLTH- EVERETT        EVERETT       WA   98201         HOSPITAL         FB4698809                                150      100      300      183      550

100109542   012113522   BONITA FAMILY PHARMACY             POMONA        CA   91767       INDEPENDENT        FB4847806                                800     1,000    2,700    1,500    4,500

100107708   023153700   CRESTVIEW PHARMACY                 RED BANK      NJ   07701       INDEPENDENT        FC0001177     100               300      600      100               275     1,100

100059830   012117796   COSTCO #0638 EDI LA QUINTA         LA QUINTA     CA   92253          CHAIN           FC0011344    8,300    8,800   10,500    8,700   10,300   14,200   10,133   60,800

100060487   012118158   COSTCO #0627 EDI FONTANA           FONTANA       CA   92336          CHAIN           FC0012839   14,000   11,300   10,600   11,100    7,100    4,400    9,750   58,500

100058696   038000158   COSTCO #0637 EDI GYPSUM            GYPSUM        CO   81637          CHAIN           FC0014340                                         300               300      300

100068124   046160044   CCF WESTON OP PHARMACY OU          WESTON        FL   33331       INDEPENDENT        FC0017827    4,500    5,100    4,900    5,900    5,100    5,400    5,150   30,900

100068122   046160010   CCF WESTON INPATIENT PHARMACY      WESTON        FL   33331         HOSPITAL         FC0017827     600      400      800      400     1,200              680     3,400

100058551   044068676   COSTCO #0634 EDI LOUISVILLE       LOUISVILLE     KY   40241          CHAIN           FC0023604                                300      500               400      800

100058704   026014167   COSTCO #0640 EDI LIHUE              LIHUE        HI   96766          CHAIN           FC0023680    2,600    1,900     700     1,000                      1,550    6,200

100056887   025023168   COSTCO #0648 EDI MAPLE GROVE     MAPLE GROVE     MN   55369          CHAIN           FC0028806    3,100    3,500     600      100     5,200             2,500   12,500

100076391   010103358   COSTCO #0632 EDI COLUMBUS         COLUMBUS       OH   43240          CHAIN           FC0037792    1,000     500                                          750     1,500

100059826   044069526   COSTCO #0630 EDI NASHVILLE        NASHVILLE      TN   37209          CHAIN           FC0047286    3,000    4,000     500     1,900    4,500    2,500    2,733   16,400

100060312   040168658   COSTCO #0631 EDI ATLANTA           ATLANTA       GA   30339          CHAIN           FC0049785                                                 1,000    1,000    1,000

100062196   023096099   CARE FIRST PHCY SERVICES(Z)        BERWICK       PA   18603     LONG TERM CARE       FC0057299    5,800    4,300    5,700    9,600    3,500    6,700    5,933   35,600

100059900   017066779   COSTCO #0633 EDI HELENA             HELENA       MT   59602          CHAIN           FC0057807    3,700    5,000              800     1,000    2,100    2,520   12,600
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100064530   046132167   CAREPLUS PHARMACY                    LAKELAND        FL   33803     INDEPENDENT       FC0062581    5,600    5,300    5,700    6,700    3,500    1,400    4,700    28,200

100059508   019038810   COSTCO #0647 EDI ORLAND PARK       ORLAND PARK       IL   60467        CHAIN          FC0065195    1,000    1,500                      2,000    2,000    1,625     6,500

100069482   025030791   ESSENTIA HEALTH BRAINERD PHCY        BRAINERD        MN   56401     INDEPENDENT       FC0116233     500     1,500     500      300               500      660      3,300

100057628   056060848   CONTRACT PHARMACY SERVICES(X)       GLADWYNE         PA   19035   LONG TERM CARE      FC0131259     400      500      500      600      800      500      550      3,300

100061594   037110833   CULLEN CARE PHARMACY                 HOUSTON         TX   77021     INDEPENDENT       FC0143824    5,000    1,000    3,000    3,000                      3,000    12,000

100058050   038000612   COSTCO #0629 EDI THORNTON            THORNTON        CO   80023        CHAIN          FC0148002     600               100                                 350       700

100061897   032186478   CHAS PHARMACY DOWNTOWN 340B          SPOKANE         WA   99201    PHS 340B CLINIC    FC0153748    9,000   10,500    8,700    3,100   12,200    9,600    8,850    53,100

100057823   010109678   COSTCO #0649 EDI W. HOMESTEAD    WEST HOMESTEAD      PA   15120        CHAIN          FC0161822     500     1,000                      1,900     500      975      3,900

100061627   046130427   COSTCO #0621 EDI FORT MYERS         FORT MYERS       FL   33913        CHAIN          FC0200636     900                       2,500     800      900     1,275     5,100

100061623   046131680   COSTCO #0623 EDI ROYAL PALM BE   ROYAL PALM BEACH    FL   33411        CHAIN          FC0204456     200                        200                        200       400

100076270   032200659   COMMUNITY HLTHCR EASTSIDE 340B        TACOMA         WA   98404    PHS 340B CLINIC    FC0223292    2,500    1,500    2,500     700     2,200    2,000    1,900    11,400

100071916   041105452   COSTCO #0626 EDI WOODBRIDGE        WOODBRIDGE        VA   22192        CHAIN          FC0227098     200      200      300     1,300              300      460      2,300

100076797   012120428   COSTCO #1001 EDI TUSTIN               TUSTIN         CA   92782        CHAIN          FC0261507    4,500    4,400    5,800    5,700    5,500    7,860    5,627    33,760

100076697   008044909   CARRANZA PHARMACY HUGHSON            HUGHSON         CA   95326     INDEPENDENT       FC0273956     600      500               500    14,600    2,000    3,640    18,200

100087935   055028993   WASHINGTON CO HOSP PHCY DIP          PLYMOUTH        NC   27962       HOSPITAL        FC0328244     200               100      100               200      150       600

100074541   017000463   COSTCO #0622 EDI W.VALLEY CITY     SALT LAKE CITY    UT   84119        CHAIN          FC0396057                                        1,000             1,000     1,000

100073369   055067702   COSTCO #1005 EDI GREENVILLE         GREENVILLE       SC   29607        CHAIN          FC0422131                               4,400     400     2,000    2,267     6,800

100073371   055067736   COSTCO #1008 EDI SPARTANBURG       SPARTANBURG       SC   29301        CHAIN          FC0422155    9,700   12,600    5,400    6,200    3,200             7,420    37,100

100073513   049123570   COSTCO #1007 EDI TOLEDO               TOLEDO         OH   43606        CHAIN          FC0443426    1,500     900               100                        833      2,500

100073583   019054247   COSTCO #0628 EDI GRAFTON             GRAFTON         WI   53024        CHAIN          FC0448402    1,600    1,200     500     2,900     200      100     1,083     6,500

100104510   052223073   CCI PHCY           SF               HUNTSVILLE       AL   35805     INDEPENDENT       FC0460357   17,000   17,600   18,600   18,500   28,400   14,000   19,017   114,100

100073908   041160002   COSTCO #1000 EDI ELKRIDGE            ELKRIDGE        MD   21075        CHAIN          FC0499891     100      100               400               300      225       900

100074164   018150300   COSTCO #1006 EDI SELMA                SELMA          TX   78154        CHAIN          FC0499904    4,600    5,700    2,700    2,400                      3,850    15,400

100073727   052100503   COSTCO #1009 EDI MONTGOMERY        MONTGOMERY        AL   36117        CHAIN          FC0513502                                100      300      500      300       900

100071782   021150003   COSTCO #1012 EDI OMAHA                OMAHA          NE   68154        CHAIN          FC0538275    2,100    2,400     500      200                       1,300     5,200

100105802   012013573   CENTENNIAL HILLS HOSP MED CTR       LAS VEGAS        NV   89149       HOSPITAL        FC0546626    2,300    2,100    1,800    5,400             1,280    2,576    12,880

100053766   024057307   CBC ROSE CLINIC PHARMACY              COVINA         CA   91723     INDEPENDENT       FC0552845    7,000    9,600    7,300   10,400    8,500    5,600    8,067    48,400

100076776   032114819   *CITY CENTER DRUG                    ABERDEEN        WA   98520     INDEPENDENT       FC0558188    6,000    7,000    1,000                               4,667    14,000

100072899   032185009   COSTCO #1013 EDI                     UNION GAP       WA   98903        CHAIN          FC0564268                                400                        400       400

100072967   032151233   COSTCO #0624 EDI GIG HARBOR         GIG HARBOR       WA   98335        CHAIN          FC0564270                       100               100      100      100       300

100090003   010224139   COX FAMILY PHARMACY INC 2 APSC     PARKERSBURG       WV   26101     INDEPENDENT       FC0574067   11,100   16,700    5,800    8,700   12,300    7,700   10,383    62,300

100085288   049182527   COBBS STREET PHARMACY RETAIL         CADILLAC        MI   49601     INDEPENDENT       FC0574916    5,600   11,600    6,200    5,900   15,500    1,900    7,783    46,700

100085320   049182543   COBBS STREET PHARMACY 340B           CADILLAC        MI   49601    PHS 340B CLINIC    FC0574916    8,100    9,600    7,600    4,900    2,500    7,400    6,683    40,100

100076277   049127118   COMMUNITY CARE PHARMACY 340B     MUSKEGON HEIGHTS    MI   49444    PHS 340B CLINIC    FC0582785   50,200   48,000   44,100   37,800   31,500   21,000   38,767   232,600

100076468   049127142   COMMUNITY CARE PHARMACY          MUSKEGON HEIGHTS    MI   49444     INDEPENDENT       FC0582785   13,000    6,100   13,800   10,600   31,500   35,000   18,333   110,000

100096728   010233551   COMMUNITY FIRST PHARMACY APSC        HAMILTON        OH   45013     INDEPENDENT       FC0600569    5,000    4,500    5,000    2,500    1,000             3,600    18,000

100076417   020151001   COSTCO #1016 EDI ALBUQUERQUE       ALBUQUERQUE       NM   87114        CHAIN          FC0608452             1,000     700      400      500               650      2,600

100072833   018140129   CALLOWAY CREEK SURGERY CT HCA    NORTH RICHLAND HI   TX   76180       HOSPITAL        FC0611207     200               100               280      160      185       740

100094155   038106534   COUNTY DRUG, INC        SF            STURGIS        SD   57785     INDEPENDENT       FC0633772    6,200    5,000    5,200    4,000   10,030    6,500    6,155    36,930

100101281   038108662   COUNTY DRUG 340B                      STURGIS        SD   57785   PHS 340B HOSPITAL   FC0633772     600      900     1,700    1,100                      1,075     4,300

100096541   038106617   COUNTY DRUG 340B                      STURGIS        SD   57785   PHS 340B HOSPITAL   FC0633772     800               800      500                        700      2,100

100076496   037112326   CK PHCY            SF                HOUSTON         TX   77076     INDEPENDENT       FC0634623    1,000              500      600                        700      2,100

100068032   010174847   CCF BEACHWOOD OP PHARMACY OU        BEACHWOOD        OH   44122     INDEPENDENT       FC0646793    2,900    2,100    1,900    2,800    3,900    3,200    2,800    16,800

100076289   012010066   CARE PHARMACY                        SAN DIEGO       CA   92115     INDEPENDENT       FC0662735     700     1,400    1,000     600                        925      3,700
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100097669   052222349   CHARLEY MCCOOL PERSCRIPTIONS              LOUISVILLE      MS   39339      WALGREENS         FC0668434     9,600    10,100     8,800     9,100    8,600    8,000     9,033     54,200

100069098   038175018   COSTCO #1014 EDI COLORADO SPR          COLORADO SPRINGS   CO   80922         CHAIN          FC0682028     2,000     2,000                                           2,000      4,000

100073462   037113431   COUNTRY PLACE PHARMACY                    PEARLAND        TX   77584      INDEPENDENT       FC0685656     4,900     2,900     5,500     4,000    1,500    2,400     3,533     21,200

100087609   038102368   *MED SHOPPE ADV CARE PHCY SF              RAPID CITY      SD   57701    LONG TERM CARE      FC0715586     3,000     3,700     4,100                                 3,600     10,800

100090435   037129403   CARE RX PHARMACY                          HARLINGEN       TX   78550      INDEPENDENT       FC0721212     3,500     4,900     5,500     1,700    6,000    3,000     4,100     24,600

100085765   021158790   COAST HEALTH SERVICES, INC CPA            CIMARRON        KS   67835    LONG TERM CARE      FC0744436     1,000     1,000     2,000     4,000    4,500              2,500     12,500

100109244   021175448   COAST HEALTH SVS, INC GPO CPA             CIMARRON        KS   67835    LONG TERM CARE      FC0744436               1,000     2,000                                 1,500      3,000

100069580   046175208   COSTCO #1026 EDI TALLAHASSEE             TALLAHASSEE      FL   32317         CHAIN          FC0751140     1,700      900       600       700      600      900       900       5,400

100069809   046175257   COSTCO #1023 EDI KENDALL                   KENDALL        FL   33186         CHAIN          FC0766418      600       500       500       300               700       520       2,600

100074292   024175232   COSTCO #1015 EDI SAN DIMAS                SAN DIMAS       CA   91773         CHAIN          FC0790700     5,100     4,700     4,900     3,900    1,300    1,100     3,500     21,000

100076575   010123489   CHURCH SQUARE PHARMACY APSC               CLEVELAND       OH   44103      INDEPENDENT       FC0792704     4,100     6,100     5,800     6,600    7,100    4,300     5,667     34,000

100067086   019143107   CRESCENT PHARMACY           CPA           BRIDGEVIEW      IL   60455      INDEPENDENT       FC0797312    23,800    21,600    26,700    17,500   17,000   15,200    20,300    121,800

100072550   049132175   CARO DRUGS           SF                     CARO          MI   48723      INDEPENDENT       FC0824549     9,000     8,100     8,500     8,000    7,600    5,200     7,733     46,400

100083193   055020529   CYPRESS CENTER LTC PHCY(340B)              MANNING        SC   29102   PHS 340B HOSPITAL    FC0825882     2,700     2,800     2,400     2,500    3,800    2,600     2,800     16,800

100091990   018314120   CARRUS SPECIALTY HOSPITAL                  SHERMAN        TX   75092        HOSPITAL        FC0854643      650       100       800      1,250     640      900       723       4,340

100088699   037128033   CANNONS DISC PHCY, LLC      SF          INDEPENDENCE      LA   70443      INDEPENDENT       FC0858449    14,720    12,600    15,100    14,400   13,100   13,200    13,853     83,120

100074588   038101535   COLORADO STATE VETERANS NRS HM             AURORA         CO   80045   HOSPITAL (FEDERAL)   FC0889064               2,200     2,200     1,700    2,100    1,800     2,000     10,000

100073252   021101907   CHEROKEE MENTAL HLTH INST                 CHEROKEE        IA   51012        HOSPITAL        FC0893722                100       200                          80       127         380

100076236   055069567   CENTRAL REGIONAL HOSP PHCY                 BUTNER         NC   27509        HOSPITAL        FC0936293      400       200                          260      260       280       1,120

100073265   008175422   COSTCO #1031 EDI MANTECA                   MANTECA        CA   95336         CHAIN          FC0977693                          200               1,000    2,500     1,233      3,700

100075894   024130294   COLUMBUS PHARMACY 340B/AMD               LOS ANGELES      CA   90012     PHS 340B CLINIC    FC0979736      700      1,000      800       800      300     1,000      767       4,600

100074278   024028084   COLUMBUS PHARMACY                        LOS ANGELES      CA   90012      INDEPENDENT       FC0979736     1,300     1,300      500       600      200      300       700       4,200

100073267   019175380   COSTCO #1020 EDI MIDDLETON                MIDDLETON       WI   53562         CHAIN          FC0993279                100                          300     2,200      867       2,600

100073032   038175398   COSTCO #1022 EDI PARKER                    PARKER         CO   80134         CHAIN          FC1003475     1,000     2,000      500                                  1,167      3,500

100072432   038175372   COSTCO #1027 EDI SHERIDAN                  SHERIDAN       CO   80110         CHAIN          FC1003487     1,000     1,000                200                         733       2,200

100074317   012150003   COSTCO #1032 CENTRAL FILL                  CORONA         CA   92880   WHOLESALE INTERCO    FC1007132   320,300   333,800   326,400   248,400   11,000    4,700   207,433   1,244,600

100071836   025175398   COSTCO #1021 EDI MAPLEWOOD               MAPLEWOOD        MN   55109         CHAIN          FC1030179                                                      800       800         800

100070178   037175349   COSTCO #1018 EDI HOUSTON                   HOUSTON        TX   77027         CHAIN          FC1093119               3,800      400       100                        1,433      4,300

100070176   017175349   COSTCO #1033 EDI POCATELLO                POCATELLO       ID   83202         CHAIN          FC1101257     4,300     8,000     1,600     1,800     600               3,260     16,300

100070173   032175430   COSTCO #1029 EDI COVINGTON                COVINGTON       WA   98042         CHAIN          FC1115218                          200                        1,220      710       1,420

100073991   049140111   CARE PHARMACY                              SAGINAW        MI   48602      INDEPENDENT       FC1123520    34,500    37,000    39,500    36,400   22,000    4,500    28,983    173,900

100073788   019175497   COSTCO #1040 EDI ST. CHARLES            SAINT CHARLES     IL   60174         CHAIN          FC1146352     1,600     2,000      400                400      400       960       4,800

100073787   041175430   COSTCO #1039 EDI BRANDYWINE              BRANDYWINE       MD   20613         CHAIN          FC1148940      300       100       100                                   167         500

100075866   046127654   CARE MART INC                          FORT LAUDERDALE    FL   33334      INDEPENDENT       FC1157521                200       200                                   200         400

100106548   055041558   CAROLINA'S UPSTATE PHCY -GIBBS           SPARTANBURG      SC   29303        HOSPITAL        FC1203417     1,900     2,600     3,100     4,800    5,900    3,400     3,617     21,700

100072911   023111146   CLINTON PHARMACY(Z)(GNP) CPA               CLINTON        NJ   08809      INDEPENDENT       FC1210993     1,200     1,200     1,600     1,400    2,100    1,100     1,433      8,600

100068056   037115360   C & C PHARMACY INC                         HOUSTON        TX   77017      INDEPENDENT       FC1217276      300       500       200                                   333       1,000

100106425   032152249   CEDAR HILLS HOSPITAL                      PORTLAND        OR   97225        HOSPITAL        FC1229322      300       100       200       500      900                400       2,000

100084431   055155614   CAPE FEAR DISC DRUG NORTH CPA            FAYETTEVILLE     NC   28311      INDEPENDENT       FC1229598    10,500     5,520     8,200    10,600    4,140    3,100     7,010     42,060

100070993   010141531   C & C PHARMACY       APSC                 LEXINGTON       KY   40509      INDEPENDENT       FC1236884     6,400     5,200     5,300     6,800    6,100    6,100     5,983     35,900

100068012   012225623   COSTCO #1050 EDI LAKEWOOD                 LAKEWOOD        CA   90712         CHAIN          FC1248916     7,000     8,900     7,900     6,200   16,900   16,200    10,517     63,100

100068089   026002493   COSTCO #1038 EDI KAPOLEI                   KAPOLEI        HI   96707         CHAIN          FC1254781                                    100               300       200         400

100066418   041143008   CORNERSTONE PHARMACY(Z)          CPA      APPALACHIA      VA   24216      INDEPENDENT       FC1256608    14,500    24,200    16,500    37,000    5,300    6,900    17,400    104,400

100067736   018169813   COSTCO #1049 EDI ROCKWALL                 ROCKWALL        TX   75032         CHAIN          FC1257751    19,700    17,600     9,400    17,800   10,000    6,100    13,433     80,600
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100105940   012011924   CHOICE COMPOUNDING PHCY DBA               TORRANCE         CA   90503       INDEPENDENT        FC1297630    3,900    3,300    2,200    3,900    2,900    1,400    2,933    17,600

100054602   012059956   CALIF PHCY & COMPOUNDING                NEWPORT BEACH      CA   92660       INDEPENDENT        FC1334630     300      500               100               100      250      1,000

100094356   049189886   *ST. JOSEPH MERCY CHELSEA                  CHELSEA         MI   48118         HOSPITAL         FC1363338    2,500    4,300    1,000    2,500                      2,575    10,300

100069865   049230391   *ST. JOSEPH MERCY CHELSEA                  CHELSEA         MI   48118         HOSPITAL         FC1363338     650      550     1,000     950                        788      3,150

100069863   049230375   *ST. JOSEPH MERCY CHELSEA                  CHELSEA         MI   48118       INDEPENDENT        FC1363340     600      200      100     2,000                       725      2,900

100067851   037116426   CASTLE HILLS PHARMACY LLC                  VICTORIA        TX   77904       INDEPENDENT        FC1396591   11,600   16,200   12,700   14,000   15,100   14,900   14,083    84,500

100075445   025070029   CHILDRENS HOSP & CLINIC - WAC            MINNEAPOLIS       MN   55404         HOSPITAL         FC1398646      -       600      100               500               300      1,200

100075239   025042630   CHILDRENS HOSP&CLINIC MNR 340B           MINNEAPOLIS       MN   55404     PHS 340B HOSPITAL    FC1398646     100      100                                 200      133       400

100100649   055038059   CENTER PHARAMCY (WAC)                    FAYETTEVILLE      NC   28301       INDEPENDENT        FC1403613    2,700    3,300    3,200    3,900    4,900    4,400    3,733    22,400

100067854   055070979   CENTER PHARMACY(340B)(X)                 FAYETTEVILLE      NC   28301     PHS 340B HOSPITAL    FC1403613     300      600      500      520      100      100      353      2,120

100071675   020149617   COSTCO #1058 EDI PHOENIX                   PHOENIX         AZ   85032          CHAIN           FC1512195    4,800    4,400    3,200    1,800    7,000    6,100    4,550    27,300

100072661   012110288   COMPREHENSIVE HEALTH CTR                  SAN DIEGO        CA   92113      PHS 340B CLINIC     FC1519214    1,600    2,400    1,700    1,800                      1,875     7,500

100089897   037128991   CORNERSTONE HOSP-SO HOUSTON                HOUSTON         TX   77004         HOSPITAL         FC1555688     450      500      450      300      500      400      433      2,600

100071686   056175935   PHARMACY & NUTRITION SHOPPE              PHILADELPHIA      PA   19124         HOSPITAL         FC1597838     500      600      900      700      600               660      3,300

100054902   017020305   CARE FIRST PHARMACY                   WASHINGTON TERRACE   UT   84405     LONG TERM CARE       FC1665922   19,300   23,300   22,300   23,100   19,900   16,780   20,780   124,680

100069510   024122416   CLINICAS DEL CAMINO REAL INC               VENTURA         CA   93004      PHS 340B CLINIC     FC1674351    1,800    1,600    1,600    1,500    1,700     900     1,517     9,100

100068453   032141804   COSTCO #0107 EDI JUNEAU                    JUNEAU          AK   99801          CHAIN           FC1681813     500     1,000                                         750      1,500

100070127   038141804   COSTCO #1030 EDI COLORADO SPRI         COLORADO SPRINGS    CO   80918          CHAIN           FC1698109                                        4,000             4,000     4,000

100066735   023175794   COSTCO #1062 EDI MANHATTAN                NEW YORK         NY   10035          CHAIN           FC1699808     100               200      100                        133       400

100066742   008175901   COSTCO #1061 EDI HAYWARD                   HAYWARD         CA   94545          CHAIN           FC1710323                                                 1,500    1,500     1,500

100070921   010175729   CONTINUUMCARE PHCY(PHARMERICA)            HUNTINGTON       WV   25702     LONG TERM CARE       FC1712668   30,300   39,500   29,600   60,300                     39,925   159,700

100066738   010178004   COSTCO #0625 EDI STRONGSVILLE            STRONGSVILLE      OH   44136          CHAIN           FC1718571     200      200      100                        900      350      1,400

100066737   044177881   COSTCO #1060 EDI MANCHESTER              MANCHESTER        MO   63011          CHAIN           FC1726201    1,100    2,100     600      300      600               940      4,700

100074875   010178376   CLARK LOWCOST PHARMACY APSC               CLEVELAND        OH   44109       INDEPENDENT        FC1748788   15,300   13,800   13,700   14,300   16,700   13,100   14,483    86,900

100066250   010178061   CCF CENTRAL FILL PHARMACY                BEACHWOOD         OH   44122       MAIL SERVICE       FC1750377    2,400    2,100    1,500    2,100                      2,025     8,100

100066250   010178061   CCF CENTRAL FILL PHARMACY                BEACHWOOD         OH   44122       INDEPENDENT        FC1750377                                         400      200      300       600

100111548   010000555   CCF SPECIALTY PHARMACY                   BEACHWOOD         OH   44122       INDEPENDENT        FC1750377                                                  600      600       600

100075597   012120089   COMMUNITY HEALTHCARE SERV, INC            LOMA LINDA       CA   92354   HOME HEALTH SERVICES   FC1762790     500               900     1,000              500      725      2,900

100075950   008090019   JACKSON MEDICAL PHCY       SF              SAN JOSE        CA   95116       INDEPENDENT        FC1766596    3,400    4,300    3,900    3,100    4,300    4,600    3,933    23,600

100066496   032135681   *CHAS/NHOS 340B NATIVE PROJECT             SPOKANE         WA   99201      PHS 340B CLINIC     FC1778856    1,000     600      800      100      300               560      2,800

100106430   040121111   CRESCENT PINES HOSPITAL PHCY             STOCKBRIDGE       GA   30281         HOSPITAL         FC1798668                       100      200                        150       300

100075761   019176214   COMMUNITY PHCY-CHICAGORDG CPA           CHICAGO RIDGE      IL   60415       INDEPENDENT        FC1798947   16,700   17,300   20,600   24,000    3,000            16,320    81,600

100074634   024123489   COSTCO #1071 EDI PACOIMA                   PACOIMA         CA   91331          CHAIN           FC1834630    3,800    3,800    1,600    1,800    1,700    1,700    2,400    14,400

100066826   018176107   COMMUNITY CARE PHARMACY         CPA       LEWISVILLE       TX   75077       INDEPENDENT        FC1861877    2,500    3,500    3,500    1,300    3,500    1,000    2,550    15,300

100085203   004078386   CONNORS TMC FT DRUM                       FORT DRUM        NY   13602    HOSPITAL (FEDERAL)    FC1902837    1,500    1,700     800     2,100     600              1,340     6,700

100067114   021005546   CLELAND DRUG STORE                        WAKEENEY         KS   67672       INDEPENDENT        FC1905364    3,700    6,500    5,600    5,000    6,000    2,500    4,883    29,300

100083135   040096826   *CONCORD PHARMACY                       LAWRENCEVILLE      GA   30046       INDEPENDENT        FC1954088    7,600    7,500    2,500                               5,867    17,600

100074678   018175091   CRANDALL PHARMACY         CPA             CRANDALL         TX   75114       INDEPENDENT        FC1962922    4,500    4,000    7,000    6,000    8,200    3,000    5,450    32,700

100074691   041130716   CHATHAM FAMILY PHARMACY(Z)                 CHATHAM         VA   24531       INDEPENDENT        FC1976616    4,900    4,600    5,400    4,100    4,400    3,600    4,500    27,000

100059427   010098863   CLARK REG MED CTR PHARMACY 712           WINCHESTER        KY   40391         HOSPITAL         FC1977389     900      600     1,100    2,200     500              1,060     5,300

100083084   032176990   COSTCO #1073 EDI ROSEBURG                 ROSEBURG         OR   97470          CHAIN           FC1987001                                        1,300    1,000    1,150     2,300

100074614   023175992   COSTCO #1070 EDI REGO PARK                REGO PARK        NY   11374          CHAIN           FC1992874     100                                                   100       100

100083538   052161067   CAREMAX SPECIALTY PHARMACY                KNOXVILLE        TN   37909       INDEPENDENT        FC2108353     600      800     1,000     900     1,000    1,300     933      5,600

100104441   049194811   CORNER DRUG                               FRANKFORT        MI   49635       INDEPENDENT        FC2108961   13,000   14,700   12,100   12,000   11,600    6,000   11,567    69,400
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100084462   046034504   CAREPLUS PHARMACY RX CORP              TAMPA         FL   33603     INDEPENDENT        FC2145236    2,500    2,000    2,000    2,800    2,100     500     1,983    11,900

100091993   018314138   CARRUS REHAB HOSPITAL, LLC            SHERMAN        TX   75092       HOSPITAL         FC2166797    1,250    1,250    1,200     900     1,760    1,080    1,240     7,440

100075662   008100289   *PRICES PHARMACY CPA                  CORNING        CA   96021     INDEPENDENT        FC2179403    7,000                                                 7,000     7,000

100086463   046037929   COCOA BEACH DISC PHCY LLC CPA       COCOA BEACH      FL   32931     INDEPENDENT        FC2198352   14,600   13,100   11,200   12,200    7,500   10,300   11,483    68,900

100084281   046033803   COMFORT PHARMACY CORP                  MIAMI         FL   33144     INDEPENDENT        FC2203975     500      200      100      500               100      280      1,400

100083870   018181479   COLLIER DRUGS-BENTONVILLE CPA       BENTONVILLE      AR   72712     INDEPENDENT        FC2218128    6,800    6,300    6,000    8,000    1,700    1,800    5,100    30,600

100083132   056096214   CAREKINESIS INC. CPA                MOORESTOWN       NJ   08057    LONG TERM CARE      FC2233827   21,800   22,100   18,900   26,500   25,100   15,000   21,567   129,400

100091172   018238378   CARESCRIPT PHARMACY, LLC             FORT SMITH      AR   72901     INDEPENDENT        FC2239007    3,200    2,900    2,500    2,500    2,400    3,400    2,817    16,900

100084515   044300251   FT CAMPBELL CBPCC CLI GATEWAY       CLARKSVILLE      TN   37040   HOSPITAL (FEDERAL)   FC2242167     700     1,800    3,600    3,600             2,400    2,420    12,100

100083791   040098129   COSTCO #1083 EDI RINGGOLD            RINGGOLD        GA   30736         CHAIN          FC2264048    2,600     800     1,200                       600     1,300     5,200

100083790   041133777   COSTCO #1078 EDI LANHAM               LANHAM         MD   20706         CHAIN          FC2281169                                                  400      400       400

100083792   040098137   COSTCO #1084 EDI ATLANTA              ATLANTA        GA   30319         CHAIN          FC2286082                                300               600      450       900

100093080   056026559   CHESTNUT HILL PHARMACY              PHILADELPHIA     PA   19118     INDEPENDENT        FC2294457    1,000    1,800    1,200     900     1,600     200     1,117     6,700

100083902   038096552   CJ PHCY II COMBO        SF            STERLING       CO   80751    LONG TERM CARE      FC2302230    1,200    1,500    2,100    1,400    2,900    1,500    1,767    10,600

100083542   049180091   CUSTOMCARE PHCY          SF          ROYAL OAK       MI   48073     INDEPENDENT        FC2306745   10,900    9,200    9,200   16,500   22,800   23,900   15,417    92,500

100084371   032155127   COSTCO #1086 EDI E VANCOUVER           CAMAS         WA   98607         CHAIN          FC2319463                                100                        100       100

100084348   019155051   COSTCO #1085 EDI MELROSE           MELROSE PARK      IL   60160         CHAIN          FC2319475    1,800    2,700     700      200      100     2,300    1,300     7,800

100100553   049194233   CARSON APOTHECARY SHOPPE WAC        CARSON CITY      MI   48811   PHS 340B HOSPITAL    FC2321747    6,500    2,300    6,100    7,100   13,400   10,500    7,650    45,900

100069841   049140350   CARSON APOTHECARY SHOPPE 340B       CARSON CITY      MI   48811   PHS 340B HOSPITAL    FC2321747    4,500   10,500    5,900    4,200     100              5,040    25,200

100084349   019155077   COSTCO #1088 EDI BOLINGBROOK        BOLINGBROOK      IL   60440         CHAIN          FC2322573     300      200      300     1,300     500      600      533      3,200

100084370   019155093   COSTCO #1074 EDI METTAWA              METTAWA        IL   60045         CHAIN          FC2326836    1,600    1,000                                500     1,033     3,100

100084372   025155127   COSTCO #1087 EDI BURNSVILLE          BURNSVILLE      MN   55337         CHAIN          FC2326850                                        1,200     700      950      1,900

100106428   010236620   CLARION PSYCHIATRIC CENTER            CLARION        PA   16214       HOSPITAL         FC2336178              100      200      100      200      100      140       700

100107709   021174342   CLABAUGH PHARMACY INC, 340B           BEATRICE       NE   68310   PHS 340B HOSPITAL    FC2351788     500               500                                 500      1,000

100086510   040106302   COBB HOSPITAL      EMP-RETAIL         AUSTELL        GA   30106       HOSPITAL         FC2355786    4,200    2,000   13,630    1,000                      5,208    20,830

100106427   038110650   CEDAR SPRINGS HOSPITAL            COLORADO SPRINGS   CO   80906       HOSPITAL         FC2362630    1,300     400      400     1,800                       975      3,900

100084981   032137455   COMM HLTH ASSOC SPOKANE 340B          SPOKANE        WA   99208    PHS 340B CLINIC     FC2366804    5,000    5,000    6,600    4,900    6,400    5,800    5,617    33,700

100075155   008110718   CITYCENTER PHARM BRENTWOOD INC      BRENTWOOD        CA   94513     INDEPENDENT        FC2382606    5,100    7,500    9,200    5,600    4,700    2,100    5,700    34,200

100084796   024106856   CARE PHARMACY (COMBO)                 VENTURA        CA   93003    LONG TERM CARE      FC2393419    1,700    2,700    2,000    3,000    2,500    9,800    3,617    21,700

100084714   024106823   COLLEGE PHARMACY                      VENTURA        CA   93003     INDEPENDENT        FC2393572   12,700   11,000   18,300    9,100   21,200    5,300   12,933    77,600

100066127   049040717   CHILDREN'S HOSP OF MI- 81539RX        DETROIT        MI   48201       HOSPITAL         FC2397354     550      500     1,350     650               400      690      3,450

100085385   021158394   CLINIC PHCY OF CARROLL       SF       CARROLL        IA   51401     INDEPENDENT        FC2397594             1,600    2,200     200     9,000     600     2,720    13,600

100087668   004088096   COLONIAL LTC PHARMACY               WHITESBORO       NY   13492    LONG TERM CARE      FC2408880   12,100   14,100   13,300   14,400    9,500   19,500   13,817    82,900

100084466   004106203   CHEM RX - ALBANY                      ALBANY         NY   12205    LONG TERM CARE      FC2431245   11,700   10,900   16,400   14,100    2,500    3,100    9,783    58,700

100084467   023106203   CHEM RX-LONG BEACH                   LONG BEACH      NY   11561    LONG TERM CARE      FC2431257    5,400    5,000    4,600   20,900    1,200             7,420    37,100

100086807   021162313   CITIZENS MEM HOSP AMB 340B            BOLIVAR        MO   65613   PHS 340B HOSPITAL    FC2462795     400                                 100               250       500

100088947   003001826   TRADEWINDS PHCY (CARE AT HAND)      SAINT THOMAS     VI   00802     INDEPENDENT        FC2470261     600                                          600      600      1,200

100088776   052177931   C & R PHCY         SF                  MOBILE        AL   36607     INDEPENDENT        FC2476047   21,100   27,200   28,200   30,200   54,000   37,500   33,033   198,200

100092290   023136606   CARTERET PHARMACY LLC                CARTERET        NJ   07008     INDEPENDENT        FC2477037     700                        300               300      433      1,300

100084468   023106211   CHEMRX-SOUTH PLAINFIELD           SOUTH PLAINFIELD   NJ   07080    LONG TERM CARE      FC2492952    2,100    2,300    2,200    1,200    1,000    1,200    1,667    10,000

100085594   020223479   COSTCO #1079 EDI TUCSON               TUCSON         AZ   85713         CHAIN          FC2495302    3,000    5,100    1,200    2,000    2,900    4,500    3,117    18,700

100086337   008102087   CLONEYS LTC PHCY CPA                  EUREKA         CA   95501     INDEPENDENT        FC2512235            12,000   10,000    8,000    8,500    9,500    9,600    48,000

100092519   019161273   CDH-DELNOR HEALTH SYSTEM              WINFIELD       IL   60190       HOSPITAL         FC2533013   10,700   11,600    8,600   11,300    4,000    8,160    9,060    54,360

100086216   041154906   COSTCO #1089 EDI CHESTERFIELD        RICHMOND        VA   23235         CHAIN          FC2553700     600     1,500     900     1,300     200     1,600    1,017     6,100
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100086444   008123695   COSTCO #1091 EDI LODI                      LODI          CA   95240        CHAIN          FC2578093              100                       1,500              800      1,600

100065362   012155366   COASTAL EXPRESS PHARMACY INC.          LONG BEACH        CA   90806       ALT SITE        FC2583044   74,100   93,300   69,000   62,000   44,000   29,000   61,900   371,400

100086603   008095562   COYOTE VALLEY PHARMACY CPA          HIDDEN VALLEY LAKE   CA   95467     INDEPENDENT       FC2586999   19,000    3,100   12,000   16,100    7,500    5,000   10,450    62,700

100107703   046059592   CARE MED PHARMACY GROUP, LLC             HIALEAH         FL   33012     INDEPENDENT       FC2616374     100      200               100                        133       400

100086645   021162040   CORNER DRUG             SF             CENTRAL CITY      NE   68826     INDEPENDENT       FC2622606    2,000    2,400    2,900    2,700    5,100    1,800    2,817    16,900

100086704   018196592   CLARKSVILLE FAMILY PHCY      CPA       CLARKSVILLE       AR   72830     INDEPENDENT       FC2636821   22,300   21,200   20,700   19,040   28,000   14,240   20,913   125,480

100086818   010213603   CCF TWINSBURG OP PHARMACY              TWINSBURG         OH   44087     INDEPENDENT       FC2639803    2,900    2,700    1,700    1,700    3,200    1,600    2,300    13,800

100086835   010213629   CCF TWINSBURG EMERGENCY DEPT           TWINSBURG         OH   44087       HOSPITAL        FC2643674      50       50               100                         67       200

100092970   019161638   CNS HOME INFUSION & PHARMACY          CAROL STREAM       IL   60188       HOSPITAL        FC2644145     900     1,500     800     1,000    2,100             1,260     6,300

100087232   044204313   *CAYCE'S EAGLE WAY PHCY               HOPKINSVILLE       KY   42240     INDEPENDENT       FC2677219    6,980                                                 6,980     6,980

100086755   056173989   COSTCO #1093 EDI MARLBORO             MORGANVILLE        NJ   07751        CHAIN          FC2677942     100      200      100      100      200      400      183      1,100

100087225   055027821   CAROLINA BEHAV CARE PHCY                 DURHAM          NC   27704     INDEPENDENT       FC2723434     100      900      100     1,300     200      700      550      3,300

100087214   055027813   CAROLINA BEHAV CARE PHCY                PINEHURST        NC   28374     INDEPENDENT       FC2723458    2,100    1,900    1,800    2,400    2,400    2,900    2,250    13,500

100075199   049121269   NEIGHBORHOOD HLTH ASSOC (MWF)            TOLEDO          OH   43604    PHS 340B CLINIC    FC2763147              300      300                                 300       600

100087233   056096818   COSTCO #1081 EDI SANATOGA              POTTSTOWN         PA   19464        CHAIN          FC2770750     700     1,000     200      200      500      800      567      3,400

100111262   018002107   CAPITAL PHCY LLC (PHARMERICA)            AUSTIN          TX   78741   LONG TERM CARE      FC2783113                                        8,000   21,100   14,550    29,100

100092291   023136614   CHANCELLOR PHARMACY                     IRVINGTON        NJ   07111     INDEPENDENT       FC2850041              100                        100               100       200

100106485   032152264   SCHICK SHADEL HOSPITAL                   BURIEN          WA   98146       HOSPITAL        FC2851245                                200                        200       200

100087828   018199778   COSTCO #1097 EDI FRISCO                  FRISCO          TX   75034        CHAIN          FC2858693    1,000     100               900     1,200    1,000     840      4,200

100088002   010217901   CCF AVON AMB SURGERY CTR                  AVON           OH   44011       HOSPITAL        FC2863911     100      100      100      200               100      120       600

100088001   010217893   CCF AVON AMBULATORY PHARM OP              AVON           OH   44011       HOSPITAL        FC2863923    4,900    4,700    4,600    4,000    7,400    5,700    5,217    31,300

100087860   019308593   COSTCO #1101 EDI PEWAUKEE               PEWAUKEE         WI   53072        CHAIN          FC2883595                                700     1,000              850      1,700

100087832   056096594   COSTCO #1103 EDI BUCKS COUNTY          WARMINSTER        PA   18974        CHAIN          FC2896035     500      800      800      600     2,100     100      817      4,900

100088143   041142083   CARILION CLIN PHCY ROANOKE MEM          ROANOKE          VA   24014       HOSPITAL        FC2908171    4,000    3,500    3,500    5,400    7,300    2,400    4,350    26,100

100088144   041142091   CARILION CL PHCY ROAN MEM 340B          ROANOKE          VA   24014   PHS 340B HOSPITAL   FC2908171    3,100    3,000    2,000     500      100     1,500    1,700    10,200

100088160   041142125   CARILION CL PHY RIVERSIDE 340B          ROANOKE          VA   24016   PHS 340B HOSPITAL   FC2908183    5,600    7,000    7,500    1,400     700     3,800    4,333    26,000

100088139   041142117   CARILION CLINIC PHCY RIVERSIDE          ROANOKE          VA   24016       HOSPITAL        FC2908183              500              7,600    7,500    7,100    5,675    22,700

100087830   040123398   COSTCO PHCY#1102 EDI AUGUSTA            AUGUSTA          GA   30909        CHAIN          FC2920418                                500               300      400       800

100088502   010222158   CCF-NORTH COAST CANCER CARE/OP          SANDUSKY         OH   44870       HOSPITAL        FC2965905    1,000    1,000     600      600     1,900     900     1,000     6,000

100094304   038106559   CASTLE ROCK ADVENTST HLTH CMPS         CASTLE ROCK       CO   80109       HOSPITAL        FC2975742     400      100      700      300      240      520      377      2,260

100089926   049187906   *MERCY HOSPITAL                          CANTON          MI   48188       HOSPITAL        FC2984955     100      100      100                                 100       300

100088858   038104240   CAMPBELL DRUG AME PC         SF         OSHKOSH          NE   69154     INDEPENDENT       FC2987824    3,300     300     3,300   12,400                      4,825    19,300

100090644   056021352   CTR FOR HTH ED MED & DENTISTRY          LAKEWOOD         NJ   08701     INDEPENDENT       FC2999374              200      300      100                        200       600

100090981   056021907   CTR FOR HTH ED MED & DENT(340B          LAKEWOOD         NJ   08701    PHS 340B CLINIC    FC2999374              300               100               200      200       600

100088762   037128124   COMMUNITY PHARMACY LLC        CPA        MONROE          LA   71201     INDEPENDENT       FC3012969                                 -       500               250       500

100088883   037175653   COSTCO #1108 EDI PHARR                    PHARR          TX   78577        CHAIN          FC3039511    1,000    1,500     500                                1,000     3,000

100088885   052178061   CHOCTAW GENERAL HOSPITAL                 BUTLER          AL   36904       HOSPITAL        FC3051896              100      300      400      360      100      252      1,260

100091332   018254656   CENTRAL TEXAS REHAB HOSPITAL             AUSTIN          TX   78751       HOSPITAL        FC3054664    2,850    2,000    1,900    7,800             1,500    3,210    16,050

100090391   049188375   CET PHARMACY 1004                       BELLEVILLE       MI   48111     INDEPENDENT       FC3084263    5,700    6,000    3,500    8,600    1,000    2,200    4,500    27,000

100110622   040122762   CRISP REGIONAL HOSP LTC WAC             CORDELE          GA   31015   LONG TERM CARE      FC3142560                       700     9,300    2,100    4,200    4,075    16,300

100110621   040122754   CRISP REGIONAL HOSP LTC 340B            CORDELE          GA   31015   LONG TERM CARE      FC3142560                      3,400     400                       1,900     3,800

100089116   012175422   COSTCO #1110 EDI HUNTINGTON         HUNTINGTON BEACH     CA   92648        CHAIN          FC3158424    4,900    6,100    5,200    5,900    8,000    6,200    6,050    36,300

100090105   010224196   CCF AVON EMERGENCY DEPT                   AVON           OH   44011       HOSPITAL        FC3179288              100      100      100      160               115       460

100091093   046042473   CORE HEALTH PHARMACY                 PEMBROKE PINES      FL   33026     INDEPENDENT       FC3194646     400      400      300      200      200      300      300      1,800
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100089293   037128843   *C & G PHARMACY #3901 (FRED'S)   RIVER RIDGE    LA   70123       CHAIN         FC3204497   16,400   18,500    16,700    17,600     100              13,860    69,300

100076228   040111278   EMORY AMBULATORY SURG CTR,ANES     ATLANTA      GA   30322      HOSPITAL       FC3219549     100                                            100       100       200

100076229   040111286   EMORY AMBULATORY SURG CTR(OR)      ATLANTA      GA   30322      HOSPITAL       FC3219549                                                    100       100       100

100090164   019157123   COSTCO #1111 EDI CORALVILLE       CORALVILLE    IA   52241       CHAIN         FC3247461                                  100                         100       100

100090165   049188045   COSTCO #1106 EDI PITTSFIELD       ANN ARBOR     MI   48108       CHAIN         FC3253868     900     1,100      100       100      100                460      2,300

100090976   010225524   COMMUNITY MARKET 320 PHCY APSC    PLYMOUTH      OH   44865    INDEPENDENT      FC3265180    2,000    1,500     1,000     1,000    2,000    1,500     1,500     9,000

100093083   038106021   SURGRY CTR OF THE ROCKIES #712     AURORA       CO   80012      HOSPITAL       FC3272325                                  100                         100       100

100091472   037129957   CRENSHAW PHARMACY                 PASADENA      TX   77505    INDEPENDENT      FC3279420   15,000   19,300    17,300    15,100   32,600   17,100    19,400   116,400

100092981   018396325   COLLIER COMPOUNDING CPA            JOHNSON      AR   72741    INDEPENDENT      FC3289914             2,400     1,600      500                        1,500     4,500

100091284   055031526   CAROLINA CARE PHARMACY INC         LOWELL       NC   28098   LONG TERM CARE    FC3289990     400     1,200      800       600     1,400      -        733      4,400

100091506   049188904   CET PHARMACY 1003                 REED CITY     MI   49677    INDEPENDENT      FC3341928   16,300   24,000    17,400    24,400   12,800   12,300    17,867   107,200

100088784   040113126   SOUTHEASTERN REG MED CTR RET       NEWNAN       GA   30265      HOSPITAL       FC3368164    4,200    7,800     5,000    23,700     240     4,300     7,540    45,240

100088786   040113100   SOUTHEASTERN REG MED CTR, INC.     NEWNAN       GA   30265      HOSPITAL       FC3370830              100       200       900                         400      1,200

100091298   021116004   COLUMBIA ORTHOPAEDIC GROUP        COLUMBIA      MO   65201      HOSPITAL       FC3408526   13,000   17,700     8,000    14,500   18,000     (300)   11,817    70,900

100104964   021172858   CREIGHTON UNIVERSITY MED CTR        OMAHA       NE   68131      HOSPITAL       FC3420077    2,200    1,950     2,650     1,100    1,860    1,900     1,943    11,660

100091072   046175281   COSTCO #1123 EDI SARASOTA         SARASOTA      FL   34238       CHAIN         FC3420243                                  200      100     1,400      567      1,700

100092156   044077263   NORTONVILLE PHARMACY APSC        NORTONVILLE    KY   42442    INDEPENDENT      FC3431703   13,800   13,600    16,700    13,500   17,400   10,500    14,250    85,500

100092150   020050898   CONCIERGE COMPNDING PHARMCTCL    HENDERSON      NV   89014    INDEPENDENT      FC3443683    1,500    3,400      (800)                                1,367     4,100

100091966   056022350   COLORA PHARMACY                    COLORA       MD   21917    INDEPENDENT      FC3480732                                           400     1,200      800      1,600

100092406   046042994   CANCER SPECIALISTS, LLC          JACKSONVILLE   FL   32256     ONCOLOGY        FC3495327                                  500     1,000    2,600     1,367     4,100

100092087   017095190   COSTCO #1118 EDI SPANISH FORK    SPANISH FORK   UT   84660       CHAIN         FC3498967                                                    800       800       800

100096514   019163295   CAREPOINT PHARMACY               SCHAUMBURG     IL   60173    INDEPENDENT      FC3505534     600     1,100      400       600      100      400       533      3,200

100092086   025087023   COSTCO #1122 EDI BAXTER            BAXTER       MN   56425       CHAIN         FC3520233     800     1,300      600                                   900      2,700

100092091   019158972   COSTCO #1121 EDI SUN PRAIRIE     SUN PRAIRIE    WI   53590       CHAIN         FC3527566     400     1,300      500       500     1,000    1,000      783      4,700

100104460   018355727   CANTRELL COMPOUNDING CPA         LITTLE ROCK    AR   72223    INDEPENDENT      FC3531248    1,000    2,600     1,700     3,000     500     2,000     1,800    10,800

100092980   041144949   CARILION TAZEWELL COM HOS PHCY     TAZWELL      VA   24651      HOSPITAL       FC3537187     100      300                 100      200      200       180       900

100092088   052214312   COSTCO #1116 EDI FARRAGUT         FARRAGUT      TN   37934       CHAIN         FC3548419              (100)               100     2,000    1,000      750      3,000

100093082   055031997   CAPITAL CITY SURGERY CENTER        RALEIGH      NC   27610      HOSPITAL       FC3550565                                  100                         100       100

100092092   025087031   COSTCO #1125 EDI ROCHESTER       ROCHESTER      MN   55901       CHAIN         FC3556389     500      200                                             350       700

100092089   056022707   COSTCO #1114 EDI CONCORDVILLE     GLEN MILLS    PA   19342       CHAIN         FC3556416    1,400    1,400      500       600                         975      3,900

100092090   019158964   COSTCO #1126 EDI EAST PEORIA     EAST PEORIA    IL   61611       CHAIN         FC3556517                                           500                500       500

100092093   041144519   COSTCO #1120 EDI WASHINGTON      WASHINGTON     DC   20018       CHAIN         FC3583158     100      100       100       500               900       340      1,700

100109707   052224881   CORNER DISCOUNT DRUGS CPA          WARRIOR      AL   35180    INDEPENDENT      FC3594618   10,800    4,000                                           7,400    14,800

100092899   055031922   *CROSSROADS FAMILY PHCY CPA      ROCKY MOUNT    NC   27804    INDEPENDENT      FC3600120     500                                                      500       500

100111135   040001967   CALHOUN PRESCRIPTIONS, LLC         CALHOUN      GA   30701    INDEPENDENT      FC3603277                                                   2,000     2,000     2,000

100094055   032147660   CHAS PHARMACY NETWORK 340B        LEWISTON      ID   83501   PHS 340B CLINIC   FC3626009   10,100   12,100    12,600     1,800   12,800    8,100     9,583    57,500

100094089   021018200   CHERRYVALE PHARMACY CPA          CHERRYVALE     KS   67335    INDEPENDENT      FC3634905   10,100   11,300     8,600     7,900    9,600   12,300     9,967    59,800

100094280   018397364   CONWAY MEDCARE PHARMACY CPA        CONWAY       AR   72034    INDEPENDENT      FC3648524    3,300    9,800     8,100     4,500    4,500    2,000     5,367    32,200

100094023   052113969   COLLINSVILLE EXP DRS LLC SF      COLLINSVILLE   AL   35961    INDEPENDENT      FC3670836   15,600   17,900    18,700    13,700   22,600    9,000    16,250    97,500

100096627   004101006   CONNECTICUT PHARMACY LLC          NORWALK       CT   06851    INDEPENDENT      FC3678818     700      300        -        300      300      400       333      2,000

100109342   023159889   CURE DISCOUNT PHARMACY CPA       PHILADELPHIA   PA   19132    INDEPENDENT      FC3691424                                                    500       500       500

100096980   021078451   CONVENIENT CARE PHARMACY #4      SPRINGFIELD    MO   65807    INDEPENDENT      FC3712305    1,700    1,300     1,900     4,900    2,200    4,600     2,767    16,600

100103830   040120097   COMMUNITY CARE PHCY              HAWKINSVILLE   GA   31036    INDEPENDENT      FC3721607    4,200    3,860     4,180     3,180    3,700    3,100     3,703    22,220

100092084   041144501   COSTCO #1124 EDI WHEATON          WHEATON       MD   20902       CHAIN         FC3757121                        500       100      400                333      1,000
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100103787   055038281   COLUMBIA CARE CENTER                COLUMBIA        SC   29203       HOSPITAL        FC3763681              200                200      720               373     1,120

100101088   040117846   CARING PHARMACY, LLC                CHAMBLEE        GA   30341     INDEPENDENT       FC3774278     500      500       500      500               100      420     2,100

100103993   044219543   *CRUME DRUG STORE APSC             BARDSTOWN        KY   40004     INDEPENDENT       FC3785409    3,000                                                  3,000    3,000

100101139   038108654   CAREKINESIS INC. CPA                BOULDER         CO   80301   LONG TERM CARE      FC3821849    6,200   (1,900)    3,600    5,900    3,200    7,000    4,000   24,000

100106121   019183400   CARLE FOUNDATION MBCI 340B           URBANA         IL   61801   PHS 340B HOSPITAL   FC3840320      50                                                     50       50

100104413   019181628   CHN PHARMACY GREEN LAKE CPA        GREEN LAKE       WI   54941     INDEPENDENT       FC3846396     500                         600      500               533     1,600

100107312   019184952   CHN PHARMACY GREEN LAKE 340B       GREEN LAKE       WI   54941   PHS 340B HOSPITAL   FC3846396                        500                                 500      500

100103873   018403436   CHILDRESS OUTPOST PHARMACY CPA      CHILDRESS       TX   79201     INDEPENDENT       FC3865877    1,500    2,400     3,500    4,800    4,300    3,800    3,383   20,300

100050681   018008730   COLEMAN COUNTY MEDICAL CNTR         COLEMAN         TX   76834       HOSPITAL        FC3872012     200      100       200      100               360      192      960

100109003   049196808   CET PHARMACY 1005                   KENTWOOD        MI   49546     INDEPENDENT       FC3909148   13,200    8,900    13,800   22,000   10,200   13,000   13,517   81,100

100104304   037133496   COSTCO #1146 EDI SUGAR LAND        SUGAR LAND       TX   77479        CHAIN          FC3913399    1,100     800       200      300                        600     2,400

100103925   008011924   CA HLTH CARE FACILITY               STOCKTON        CA   95215       ALT SITE        FC3986621     500      500       400                                 467     1,400

100109848   012113613   CENTRAL BEST PHCY, INC    CPA       RIVERSIDE       CA   92506     INDEPENDENT       FC4046517             1,700      900     1,100     500     1,600    1,160    5,800

100104694   041153569   COSTCO #1115 EDI ALEXANDRIA        ALEXANDRIA       VA   22306        CHAIN          FC4065973     200      200                                           200      400

100105101   004102335   CONNECTICUT PHARMACY MD SUPPLY      NORWALK         CT   06851     INDEPENDENT       FC4070570                        100                                 100      100

100068116   010175158   CCF STRONGSVILLE ASC              STRONGSVILLE      OH   44136       HOSPITAL        FC4087222                        100                                 100      100

100105749   010236224   CPHARMA, INC APSC                   OWENTON         KY   40359     INDEPENDENT       FC4098213   16,400   14,900    14,800   17,300   16,600   15,800   15,967   95,800

100105778   037134254   COSTCO #1147 EDI NEW ORLEANS      NEW ORLEANS       LA   70118        CHAIN          FC4100436     300      200       100               300      400      260     1,300

100105779   025091678   COSTCO #1159 EDI SIOUX FALLS       SIOUX FALLS      SD   57105        CHAIN          FC4105448     900      400       500      200               600      520     2,600

100105910   010236463   CCF MEDINA AMBULATORY PHCY           MEDINA         OH   44256     INDEPENDENT       FC4107036    4,200    3,700     3,400    5,500    3,100    3,300    3,867   23,200

100073124   032122721   CARE RX LLC                          EUGENE         OR   97402   LONG TERM CARE      FC4130922   13,900   16,100    16,800   13,900   19,140   16,680   16,087   96,520

100106931   049195214   CET PHARMACY 1007                  SOUTHFIELD       MI   48034     INDEPENDENT       FC4154352    4,600    4,100                                5,500    4,733   14,200

100106099   019183384   COSTCO #1162 EDI BELLEVUE           BELLEVUE        WI   54311        CHAIN          FC4161927     200      300                        1,000              500     1,500

100106703   021173658   CHILDRENS MERCY EMP WELLNS CTR     KANSAS CITY      MO   64108       ALT SITE        FC4178895     400      700       700      600     1,360     300      677     4,060

100106945   018404160   COLLIER DRUGS-ELKINS      CPA         ELKINS        AR   72727     INDEPENDENT       FC4190524     500      200      1,900     200     2,600    3,400    1,467    8,800

100106561   018404061   COIT ROAD PHARMACY                   DALLAS         TX   75254     INDEPENDENT       FC4192883   12,600   19,300    16,600   13,400   17,300   13,200   15,400   92,400

100106403   018404053   COMMUNITY PHCY SPRINGDALE CPA      SPRINGDALE       AR   72764     INDEPENDENT       FC4194887    1,500    2,000     1,000    3,100             2,800    2,080   10,400

100106097   010236554   COSTCO #1160 EDI COLUMBUS           COLUMBUS        OH   43219        CHAIN          FC4198140     200      100                100      100      100      120      600

100106098   019183376   COSTCO #1161 EDI FT. WAYNE         FORT WAYNE       IN   46808        CHAIN          FC4198885    1,400    1,400      900     2,400     600      730     1,238    7,430

100106100   010236562   COSTCO #1156 EDI LEXINGTON          LEXINGTON       KY   40509        CHAIN          FC4203042     200      300       200      200               500      280     1,400

100107030   018391607   COSTCO #1152 EDI CEDAR PARK        CEDAR PARK       TX   78613        CHAIN          FC4212205    5,400    5,300     2,700    1,000    5,100    4,200    3,950   23,700

100107032   018404152   COSTCO #1163 EDI LUBBOCK            LUBBOCK         TX   79407        CHAIN          FC4212255    1,100    1,900     1,200    1,900              800     1,380    6,900

100107431   010237099   CCF INDEPENDENCE AMBULATORY       INDEPENDENCE      OH   44131     INDEPENDENT       FC4241042    1,400    1,300      730     2,000    1,100    1,300    1,305    7,830

100107033   023153486   COSTCO #1166 EDI NO.PLAINFIELD   NORTH PLAINFIELD   NJ   07060        CHAIN          FC4242703              200       200                        300      233      700

100107161   008060913   COPPEROPOLIS PHARMACY             COPPEROPOLIS      CA   95228     INDEPENDENT       FC4243832    7,900   12,300    12,700   12,300   17,100            12,460   62,300

100107177   046059568   OVIEDO ER #712                       OVIEDO         FL   32765       HOSPITAL        FC4245610     100       50       150       50      100                90      450

100107424   021174250   CLARK PHARMACY      CPA             CIMARRON        KS   67835     INDEPENDENT       FC4254289    5,500    5,500     7,500    2,100    2,500    4,000    4,517   27,100

100107944   049196576   CHASE HEALTH PHARMACY PC            DEARBORN        MI   48126     INDEPENDENT       FC4258100    1,500    1,000     2,000    1,000    1,500     500     1,250    7,500

100107031   019183772   COSTCO #1153 EDI NO. RIVERSIDE   NORTH RIVERSIDE    IL   60546        CHAIN          FC4261208     400     1,500      400     1,100              200      720     3,600

100053124   012048504   COLLEGE MEDICAL CENTER             LONG BEACH       CA   90806       HOSPITAL        FC4270233     200     1,000      900      800     1,400     500      800     4,800

100107339   018404251   CHG CORNERSTONE HOSPITAL OF        ROUND ROCK       TX   78665       HOSPITAL        FC4270613     500     1,300     2,000    1,800     340     1,000    1,157    6,940

100107475   052224261   CULLMAN INTRL MED PHCY LLC SF       CULLMAN         AL   35058     INDEPENDENT       FC4272794    2,100    2,000      500     8,000    1,900    1,000    2,583   15,500

100107454   055044040   CROSSROADS PHARMACY CPA             OAK RIDGE       NC   27310     INDEPENDENT       FC4276538    1,500              1,000     200     1,600    1,200    1,100    5,500

100107948   021174607   CONVENIENT CARE PHARMACY #5         BRANSON         MO   65616     INDEPENDENT       FC4282682    5,500    5,000     5,700    5,600    7,000    8,100    6,150   36,900
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100108067   041154328   CHARM CITY PHARMACY INC              BALTIMORE       MD   21218     INDEPENDENT       FC4286680     500                         100                200      267      800

100108873   040121558   CARE PLUS PHARMACY LLC       SF       NEWNAN         GA   30265     INDEPENDENT       FC4297607   11,000   13,000    17,000   16,500    17,500   11,000   14,333   86,000

100107840   021174508   CERNER HEALTH CONNECTIONS, INC       DES MOINES      IA   50392     INDEPENDENT       FC4304565     400      500       400      800       200      900      533     3,200

100107107   019184242   COPPER CNTY APOTHECARY                HANCOCK        MI   49930       HOSPITAL        FC4329923     500     1,200      300      400      1,400    1,600     900     5,400

100108014   037135046   COSTCO #1167 EDI KATY                   KATY         TX   77494        CHAIN          FC4343226     900      900       800      400                         750     3,000

100109843   019187070   CHILDRNS HSP WISC EMP PRSC CTR       MILWAUKEE       WI   53226     INDEPENDENT       FC4358316     700      600       400      500      1,300     500      667     4,000

100109368   032152876   CHAS CNTRLZED MAIL-OUT PHY340B        SPOKANE        WA   99205    PHS 340B CLINIC    FC4385870     100      100       100      500                         200      800

100109720   049197087   CET PHARMACY 1009 APG               FARMINGTON       MI   48336     INDEPENDENT       FC4402816     200     8,000    11,600   13,100    20,600   13,900   11,233   67,400

100109618   010237917   CCF BRUNSWICK EMERGENCY DEPT         BRUNSWICK       OH   44212       HOSPITAL        FC4433885     150                100                 80               110      330

100109811   010238105   CLEVELAND CLN LUTH AMB PHY WAC       CLEVELAND       OH   44113   PHS 340B HOSPITAL   FC4444674     100     2,100     2,100    6,400      900     2,400    2,333   14,000

100109810   010238097   CLEVELAND CLC LUTH AMB PHY340B       CLEVELAND       OH   44113   PHS 340B HOSPITAL   FC4444674              600      1,100     400       800      700      720     3,600

100109526   037135806   COSTCO #1172 EDI BATON ROUGE        BATON ROUGE      LA   70809        CHAIN          FC4460503     200      300       100      100                         175      700

100110299   052225086   CLEVELAND MED ARTS PHCY INC SF       CLEVELAND       MS   38732     INDEPENDENT       FC4471289             3,400      300      900      3,500    2,100    2,040   10,200

100109527   018405126   COSTCO #1173 EDI N FORT WORTH       FORT WORTH       TX   76177        CHAIN          FC4488791     600     1,700      900     1,500     5,500    2,700    2,150   12,900

100109841   024122630   ATLANTIC PHARMACY                   LOS ANGELES      CA   90022     INDEPENDENT       FC4509292    2,800    2,000      500     1,000     1,000    1,000    1,383    8,300

100110032   012113670   CARLSBAD VILLAGE PHARMACY             CARLSBAD       CA   92008     INDEPENDENT       FC4538089    2,100     (500)              100       900      300      580     2,900

100110615   046060517   CHARLES PHARMACY LLC              WEST PALM BEACH    FL   33417     INDEPENDENT       FC4567105                       1,000               100               550     1,100

100110161   023161307   COSTCO #0785 EDI RIVERHEAD           RIVERHEAD       NY   11901        CHAIN          FC4623042     100                                   200      100      133      400

100110160   023161299   COSTCO #1174 EDI NO. BRUNSWICK    NORTH BRUNSWICK    NJ   08902        CHAIN          FC4666066              100                                            100      100

100110214   023161349   CLONEY'S MCKINLEYVILLE PHY CPA      MCKINLEYVILLE    CA   95519     INDEPENDENT       FC4692415                      18,300     500      2,200   14,700    8,925   35,700

100111204   010002043   CLEVELAND LOWCOST PHY APSC           CLEVELAND       OH   44135     INDEPENDENT       FC4700262                                                   1,100    1,100    1,100

100110639   041155176   CAREMED PHARMACY                    GLEN BURNIE      MD   21061     INDEPENDENT       FC4707216                       2,100               800              1,450    2,900

100110871   040000274   COMM CARE PHMCY OF ROYSTON            ROYSTON        GA   30662     INDEPENDENT       FC4720567                       1,600     200      1,900    2,500    1,550    6,200

100110749   040122846   COSTCO #1175 EDI CUMMING              CUMMING        GA   30041        CHAIN          FC4737637                       1,000                                1,000    1,000

100110830   021000234   CAVE CITY PHCY, PLLC    SF            CAVE CITY      AR   72521     INDEPENDENT       FC4749834                                6,500     5,500    5,000    5,667   17,000

100110748   017098731   COSTCO #1019 EDI SOUTH JORDAN       SOUTH JORDAN     UT   84095        CHAIN          FC4772718                                          1,000    2,300    1,650    3,300

100111435   018000435   COSTCO #1189 EDI CONROE               CONROE         TX   77385        CHAIN          FC4860638                                                   1,000    1,000    1,000

100110886   055000291   CENTRE POINTE EMERGENCY #712      NORTH CHARLESTON   SC   29405       HOSPITAL        FC4869876                                           300      160      230      460

100111113   023001943   COSTCO #1176 EDI SYRACUSE             CAMILLUS       NY   13031        CHAIN          FC4874788                                           600               600      600

100111430   019000432   COSTCO #1183 EDI GRANGER              GRANGER        IN   46530        CHAIN          FC4903666                                                    800      800      800

100111423   010000433   COSTCO #1185 EDI CENTERVILLE        CENTERVILLE      OH   45440        CHAIN          FC4935586                                                    700      700      700

100060019   021030510   DEGOLER CARE MIDWEST SF            BONNER SPRINGS    KS   66012   LONG TERM CARE      FD0012384   12,000   15,200    11,500   13,000    14,040    9,000   12,457   74,740

100095326   023145219   DUANE READE                          NEW YORK        NY   10003     WALGREENS         FD0048288              700       600      600                500      600     2,400

100058877   018088294   DUNCAN PHARMACY, INC.               SAN ANTONIO      TX   78225     INDEPENDENT       FD0073180   10,740    9,020    11,440   11,380     9,000    6,000    9,597   57,580

100094171   004091629   EATON APOTHECARY 340B                BROCKTON        MA   02301    PHS 340B CLINIC    FD0131968    2,000    2,600     4,100     (400)    3,100    1,900    2,217   13,300

100094143   004091447   EATON APOTHECARY #2120               BROCKTON        MA   02301   LONG TERM CARE      FD0131968     700      500      3,600     (900)    2,200     400     1,083    6,500

100095327   023145227   DUANE READE                          NEW YORK        NY   10036     WALGREENS         FD0166795     300      700       200      500       500      100      383     2,300

100072789   049120600   DUNEWOOD PHARMACY                   GRAND HAVEN      MI   49417     INDEPENDENT       FD0208834    8,300    9,700     9,300    9,600    11,200   12,100   10,033   60,200

100094170   004091595   EATON APOTHECARY #2080              FRAMINGHAM       MA   01702   LONG TERM CARE      FD0210079     500      200       200      300       900               420     2,100

100073901   049124453   DSP-GLDC                                FLINT        MI   48507     MAIL SERVICE      FD0286244     900     1,100      800     1,900     1,000             1,140    5,700

100067439   046124495   DALICE PHARMACY MEDICAL EQUIP           MIAMI        FL   33155     INDEPENDENT       FD0293605     100      200       100      100                         125      500

100055689   046007492   DISPENSING PHYSICIAN CNLTS,INC      DELRAY BEACH     FL   33445     INDEPENDENT       FD0349983    5,400    6,200    12,100    7,800     2,000    3,500    6,167   37,000

100095331   023145268   DUANE READE                          NEW YORK        NY   10028     WALGREENS         FD0354439     300     1,200     1,000     600       300      700      683     4,100

100069664   010119545   DAVE'S PHARMACY #14 APSC             CLEVELAND       OH   44128     INDEPENDENT       FD0360797    2,100    1,200      700      900      2,200     600     1,283    7,700
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100069662   010119461   DAVE'S PHARMACY #16      APSC         CLEVELAND HEIGHTS    OH   44118     INDEPENDENT        FD0360800     700      500     1,600     900     1,100     700      917      5,500

100069481   046034215   DSP - FLO                              FORT LAUDERDALE     FL   33316     MAIL SERVICE       FD0417825     300      400      400     1,400     100      800      567      3,400

100095337   023145326   DUANE READE                               NEW YORK         NY   10036      WALGREENS         FD0491681    1,800     600     1,000     500     1,600     200      950      5,700

100087888   019151290   DEGEN BERGLUND PHCY - VILLAGE             LA CROSSE        WI   54601     INDEPENDENT        FD0491910    3,700    1,800   10,200     800     1,000     300     2,967    17,800

100092956   019161588   DEGEN BERGLUND PHCY 340B                  LA CROSSE        WI   54601   PHS 340B HOSPITAL    FD0491910    1,200    1,400    1,000     300      200     3,800    1,317     7,900

100069654   026002436   USAHC SCHOFIELD BK/REFILL PHCY        SCHOFIELD BARRACKS   HI   96857   HOSPITAL (FEDERAL)   FD0514299     200      800      800                                 600      1,800

100091983   023136432   DUANE READE (WALGREENS #14407)            NEW YORK         NY   10003      WALGREENS         FD0598207    2,400    2,900    2,600    1,600    2,300    2,400    2,367    14,200

100094132   004091488   EATON APOTHECARY #3085                     MILFORD         MA   01757    LONG TERM CARE      FD0622224    1,300    1,100     800      900     1,000    1,100    1,033     6,200

100060131   012117192   DOWNEY PLAZA PHARMACY           CPA        DOWNEY          CA   90241     INDEPENDENT        FD0639394    2,200    2,300    2,300    1,800    1,200     800     1,767    10,600

100068690   037125393   DOLLAR RX PHARMACY                         HOUSTON         TX   77093     INDEPENDENT        FD0662494    3,300    3,300    5,300    1,300    1,500    2,600    2,883    17,300

100095333   023145284   DUANE READE                               NEW YORK         NY   10128      WALGREENS         FD0690900     200      500               500                        400      1,200

100095341   023145367   DUANE READE                               NEW YORK         NY   10013      WALGREENS         FD0706664    1,200     670     1,100     800      500      600      812      4,870

100094165   004091561   EATON APOTHECARY #2035 340B                  LYNN          MA   01905    PHS 340B CLINIC     FD0733142              200      200      300      200      700      320      1,600

100094159   004091546   EATON APOTHECARY #2035                       LYNN          MA   01905    LONG TERM CARE      FD0733142     100      100      300      200               100      160       800

100096001   023146662   DUANE READE                               JERSEY CITY      NJ   07302      WALGREENS         FD0743460    1,900    1,900    1,500    1,800    1,500    1,000    1,600     9,600

100074005   044100362   DIERBERGS ARNOLD COMMONS PHY#7             ARNOLD          MO   63010         CHAIN          FD0768549    9,300    9,100    9,500    9,600    9,300    8,200    9,167    55,000

100069397   044175240   DRUG PLACE OF TN      (DAILY)             NASHVILLE        TN   37217     INDEPENDENT        FD0786802     200      200      500                                 300       900

100111166   055001999   DILWORTH DRUG      CPA                    CHARLOTTE        NC   28203     INDEPENDENT        FD0819776                                        1,000    2,000    1,500     3,000

100073938   008072140   DOWNTOWN PHARMACY CPA                      SAN JOSE        CA   95112     INDEPENDENT        FD0824169     100      100                                          100       200

100072487   018123349   DEWITT HOSP AND NURSING HOME                DEWITT         AR   72042       HOSPITAL         FD0855063      50      250      100      400               100      180       900

100095340   023145359   DUANE READE                               NEW YORK         NY   10011      WALGREENS         FD0859097     700      200     1,000     500      400      500      550      3,300

100094561   023138255   DUANE READE                               BROOKLYN         NY   11222      WALGREENS         FD0865925     600     1,630     500      100      600     1,200     772      4,630

100075592   004081588   EATON APOTHECARY #3060                     CANTON          MA   02021    LONG TERM CARE      FD0938742    1,000     700     1,000    1,500                      1,050     4,200

100096331   004100842   EATON APOTHECARY #3060 340B                CANTON          MA   02021    PHS 340B CLINIC     FD0938742     300      700      900      900                        700      2,800

100071344   049133025   DETROIT COMM HLTH CONN PHY 340             DETROIT         MI   48214    PHS 340B CLINIC     FD0946117    1,100    1,700    1,200    1,200                      1,300     5,200

100069985   010141044   DONELL'S PHARMACY      CPA                  BAXTER         KY   40806     INDEPENDENT        FD1020104    4,100   13,600   12,100    6,400   14,700   18,000   11,483    68,900

100095342   023145375   DUANE READE                               NEW YORK         NY   10023      WALGREENS         FD1034216    1,700    2,200    1,700    2,100    3,400    1,600    2,117    12,700

100094564   023138289   DUANE READE (14432)                       BROOKLYN         NY   11220      WALGREENS         FD1051806     700      500              1,000              500      675      2,700

100095339   023145342   DUANE READE                               NEW YORK         NY   10013      WALGREENS         FD1075591     500      900      100               300      700      500      2,500

100074448   025036954   DL PHARMACY                             DETROIT LAKES      MN   56501     INDEPENDENT        FD1146631    4,100    2,800    2,300    5,300    4,600    5,600    4,117    24,700

100083912   025065607   DL PHARMACY     340B                    DETROIT LAKES      MN   56501   PHS 340B HOSPITAL    FD1146631    4,100    5,800    5,600    4,900     800     1,300    3,750    22,500

100060774   046131599   DOCTOR'S MEDICAL PHARMACY                   MIAMI          FL   33167     INDEPENDENT        FD1153624     300                                                   300       300

100095343   023145383   DUANE READE                               NEW YORK         NY   10028      WALGREENS         FD1172787    1,700     200     2,100     500     1,000    2,500    1,333     8,000

100069708   049140244   *DORR COMMUNITY PHCY         SF             DORR           MI   49323     INDEPENDENT        FD1179591   10,900   13,500   14,000                              12,800    38,400

100095335   023145300   DUANE READE                               NEW YORK         NY   10038      WALGREENS         FD1196294                       800      600      100     1,000     625      2,500

100094423   023137521   DUANE READE                                ASTORIA         NY   11106      WALGREENS         FD1223572     700      700      500                        100      500      2,000

100089296   010223818   KNOX COUNTY HOSPITAL- DIP                BARBOURVILLE      KY   40906       HOSPITAL         FD1239284     300      500      500      100      100      400      317      1,900

100070033   044143479   DEAN'S PHARMACY #3        CPA             MARIANNA         AR   72360     INDEPENDENT        FD1243079    7,500   14,200    6,500    7,800   16,000    6,900    9,817    58,900

100074404   049140087   DOWNS PHCY                                 SAGINAW         MI   48607     INDEPENDENT        FD1268196   66,300   68,000   63,600   66,600    5,000     200    44,950   269,700

100094175   004091611   DIMOCK COMM HLTH CTR 340B                  ROXBURY         MA   02119    PHS 340B CLINIC     FD1285558    1,400     300      800     1,000                       875      3,500

100069794   040140376   DOCTORS HOSPITAL         #795             COLUMBUS         GA   31901       HOSPITAL         FD1292402     600      800      200      600               100      460      2,300

100111257   040002096   DOCTORS HOSP PHCY        WAC              COLUMBUS         GA   31901       HOSPITAL         FD1292402                                         760      440      600      1,200

100095344   023145391   DUANE READE                               NEW YORK         NY   10027      WALGREENS         FD1293783     500      900      600               800      600      680      3,400

100066145   056075150   DARLEY HEALTH SVCS(RX)(Z)                 CLAYMONT         DE   19703     INDEPENDENT        FD1294800    2,500    4,900    2,500    3,300    4,100    2,700    3,333    20,000
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100094424   023137539   DUANE READE                              ASTORIA        NY   11103      WALGREENS         FD1347776     900      1,200    1,000     600       500     1,000     867      5,200

100073156   049123323   DIAL DRUGS                              WESTLAND        MI   48185     INDEPENDENT        FD1401974    1,000               200               2,600    1,500    1,325     5,300

100052380   020050757   DURAN CENTRAL PHARMACY                ALBUQUERQUE       NM   87104     INDEPENDENT        FD1447994    5,100     4,200    4,600    4,800     5,000    5,800    4,917    29,500

100070700   021145003   W PLAINS MED COMP O.P. SURGERY         DODGE CITY       KS   67801       HOSPITAL         FD1474129                        100                                  100       100

100091336   018254664   KINDRED HOSP DALLAS CENTRAL              DALLAS         TX   75231       HOSPITAL         FD1591937    1,000     1,500    1,500    2,050     1,560     960     1,428     8,570

100094563   023138271   DUANE READE                             BROOKLYN        NY   11249      WALGREENS         FD1627908    1,100      700     1,500    1,100     1,300    1,400    1,183     7,100

100089098   052178715   DORA DISC PHCY        SF                  DORA          AL   35062     INDEPENDENT        FD1632012   20,000    23,800   21,000   24,400    20,800   16,000   21,000   126,000

100095346   023145417   DUANE READE                             NEW YORK        NY   10018      WALGREENS         FD1662142    1,200      900      300      700      1,000     800      817      4,900

100074754   023114306   DDMH PHARMACY INC(Z)(ARX)                 BRONX         NY   10453     INDEPENDENT        FD1696179     200       800      500      700       400               520      2,600

100099861   018399543   WALGREENS #15756       DSD               COWETA         OK   74429      WALGREENS         FD1701855     (500)    7,980   22,200   25,600    21,000   18,000   15,713    94,280

100066841   012110445   DIPLOMAT SPECIALTY (DSP-SCA)             ONTARIO        CA   91761     MAIL SERVICE       FD1746835               400               (300)     900               333      1,000

100095345   023145409   DUANE READE                             NEW YORK        NY   10011      WALGREENS         FD1804764     600       700     1,100     200       700      700      667      4,000

100075367   046128033   HIS GRACE PHARMACY, DAYLAN INC      ALTAMONTE SPRINGS   FL   32701     INDEPENDENT        FD1876006    1,800     1,300    2,600    2,700     1,000    3,000    2,067    12,400

100075169   012154070   DELTA DRUGS                           LAKE ELSINORE     CA   92530     INDEPENDENT        FD1944722    6,500     6,000    4,500    5,000     6,300    3,600    5,317    31,900

100075905   032136127   MEDICINE MAN SANDPOINT                  SANDPOINT       ID   83864     INDEPENDENT        FD1997709    5,600     5,600    6,500    8,600     3,000    5,900    5,867    35,200

100083239   021142042   DES MOINES CENT CORRECTIONAL          MITCHELLVILLE     IA   50169    LONG TERM CARE      FD2003351    2,000     4,500                                         3,250     6,500

100094181   004091678   EATON APOTHECARY #2160 340B         DORCHESTER CENTER   MA   02124    PHS 340B CLINIC     FD2114356     500       800      300      500       500      600      533      3,200

100094142   004091439   EATON APOTHECARY #2160              DORCHESTER CENTER   MA   02124    LONG TERM CARE      FD2114356               100      200                         100      133       400

100092529   046043083   ACME PHARMACY        CPA                 MANGO          FL   33550     INDEPENDENT        FD2129701     300      2,900     700               8,800    2,500    3,040    15,200

100092288   023136580   DRUGSMART PHARMACY                     KEANSBURG        NJ   07734     INDEPENDENT        FD2179934    2,700     2,700    1,600    3,400     3,600     500     2,417    14,500

100083872   056097097   DELUXE PHARMACY INC                    PHILADELPHIA     PA   19136     INDEPENDENT        FD2215893    4,200     3,700    3,200    4,000     7,800    2,200    4,183    25,100

100095347   023145425   DUANE READE                             NEW YORK        NY   10018      WALGREENS         FD2264050     300       600      500                 -       500      380      1,900

100094133   004091496   EATON APOTHECARY #3035 340B              PEABODY        MA   01960    PHS 340B CLINIC     FD2268399    2,200     1,600    1,200     (100)    2,500     200     1,267     7,600

100094130   004091389   EATON APOTHECARY #3035                   PEABODY        MA   01960    LONG TERM CARE      FD2268399     800      1,500     700      800                         950      3,800

100109757   004103564   EATON APOTHECARY #3035 (340B)            PEABODY        MA   01960    PHS 340B CLINIC     FD2268399    1,300      300      500      500       200      800      600      3,600

100084159   046033746   ADONAI PHARMACY DAMOL INC.              LEESBURG        FL   34748     INDEPENDENT        FD2269454    8,000     2,000    4,000    4,500              1,500    4,000    20,000

100056423   040068395   EISENHOWER MEDICAL CENTER              FORT GORDON      GA   30905   HOSPITAL (FEDERAL)   FD2291867   32,700    30,300   34,300   34,300    39,600    7,500   29,783   178,700

100084753   004067199   BEACON PRESCRIPTNS STHGTN CPA          SOUTHINGTON      CT   06489     INDEPENDENT        FD2344632    3,100     4,100    5,000   15,900      300     1,500    4,983    29,900

100105098   052223248   DAYTON DRUG AND WELLNESS                 DAYTON         TN   37321     INDEPENDENT        FD2381034   21,160    22,700   20,800   20,320    22,480   18,020   20,913   125,480

100065761   049058735   DMC PHARMACY-CHILDRENS RETAIL            DETROIT        MI   48201       HOSPITAL         FD2390766    7,000     7,300    5,600    5,700     7,000    6,500    6,517    39,100

100065693   049058180   DMC PHARMACY-HURON         RETAIL   COMMERCE TOWNSHIP   MI   48382       HOSPITAL         FD2390956   12,500    10,400   12,900   10,500    13,500   16,500   12,717    76,300

100053844   049080614   DMC PHCY-DET REC HOSP RETAIL             DETROIT        MI   48201       HOSPITAL         FD2390968   65,600    55,100   69,800   59,400    62,300   74,700   64,483   386,900

100075862   049178616   DMC PHCY - SINAI LOBBY RETAIL            DETROIT        MI   48235       HOSPITAL         FD2391009   30,300    29,700   27,000   17,000    26,900   21,900   25,467   152,800

100065696   049058487   DMC PHARMACY-SINAI    RETAIL             DETROIT        MI   48235       HOSPITAL         FD2391011   17,800    25,900   13,100    9,000    29,620   10,800   17,703   106,220

100072721   049120857   DMC PHARMACY-HUTZEL RETAIL               DETROIT        MI   48201     INDEPENDENT        FD2391023   15,900    15,400   14,200    8,000     6,100    4,900   10,750    64,500

100069201   049129106   DMC PHCY - DET REC HOSP RET              DETROIT        MI   48201       HOSPITAL         FD2397203    1,300      300      600      400                         650      2,600

100066873   049047472   DETROIT RECEIVING HOSPITAL               DETROIT        MI   48201       HOSPITAL         FD2397304    6,500     7,500   12,900    3,000     1,800    8,600    6,717    40,300

100065282   049054262   DMC SURG HOSP                        MADISON HEIGHTS    MI   48071       HOSPITAL         FD2397330     500                                                     500       500

100094511   023137778   DUANE READE                               BRONX         NY   10451      WALGREENS         FD2399055     600       500      500      600       100      500      467      2,800

100085601   026013276   ARMY WARRIOR OHANA MED HOME              KAPOLEI        HI   96707   HOSPITAL (FEDERAL)   FD2419744     400      1,000     400      600                600      600      3,000

100095356   023145516   DUANE READE                             NEW YORK        NY   10023      WALGREENS         FD2435685    1,600     2,800    1,400    1,000     1,200    2,400    1,733    10,400

100086046   019142695   DEVILLE'S RISING SUN PHCY               RISING SUN      IN   47040     INDEPENDENT        FD2485414    6,500     6,100    6,500    6,000     9,500    5,500    6,683    40,100

100086616   032139253   LONE PINE DRUG DBA                      MEDFORD         OR   97504     INDEPENDENT        FD2531463    4,600     5,000    5,700    5,700     9,000    5,000    5,833    35,000

100109539   052224709   DALE HOLLOW HEALTHMART PHMCY              CELINA        TN   38551     INDEPENDENT        FD2546197    2,500     6,200    5,600    7,600     2,700    5,600    5,033    30,200
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100094512   023137786   MELROSE PHARMACY                      BRONX         NY   10451      WALGREENS         FD2549321              900      500      600       -      1,000     600      3,000

100095353   023145482   DUANE READE                         NEW YORK        NY   10065      WALGREENS         FD2633192     500      800      600      300      700      100      500      3,000

100095357   023145524   DUANE READE                         NEW YORK        NY   10128      WALGREENS         FD2684050     500     1,100     500               800      900      760      3,800

100087222   018197384   DFW WELLNESS PHARMACY               ARLINGTON       TX   76011     INDEPENDENT        FD2731885     500      500      900      200     1,000              620      3,100

100094998   023138834   DUANE READE                      JACKSON HEIGHTS    NY   11372      WALGREENS         FD2770774     130     1,100     500      500               100      466      2,330

100087456   021165571   DEGOLER PHARMACY         SF      BONNER SPRINGS     KS   66012     INDEPENDENT        FD2792819    9,000   10,000   12,700   11,700    7,100    6,500    9,500    57,000

100092451   024001636   DURFEE MEDICAL PHARMACY           SOUTH EL MONTE    CA   91733     INDEPENDENT        FD2868529     400      500     1,300    3,900    5,000             2,220    11,100

100094173   004091645   EATON APOTHECARY #2190 340B       SOUTH BOSTON      MA   02127    PHS 340B CLINIC     FD2893255    1,700    2,100    2,000    2,600    2,900    3,000    2,383    14,300

100094141   004091421   EATON APOTHECARY #2190            SOUTH BOSTON      MA   02127    LONG TERM CARE      FD2893255     100      400      100               100      900      320      1,600

100087981   055029074   PERSON MEMORIAL HOSPITAL #712        ROXBORO        NC   27573       HOSPITAL         FD2928337     200      200       50      300               240      198       990

100088239   055029710   MARIA PARHAM HOSP PHCY #712        HENDERSON        NC   27536       HOSPITAL         FD2953037     200      850      500      350     1,500     880      713      4,280

100095338   023145334   DUANE READE                         NEW YORK        NY   10019      WALGREENS         FD2960258     100      600      100      800      100               340      1,700

100089867   049187849   DMC PHARMACY CHM-PCS RETAIL          DETROIT        MI   48201       HOSPITAL         FD2994449    1,300    1,300    1,700     500                       1,200     4,800

100088815   021019471   DIXON DRUG-WALLACE COUNTY CPA    SHARON SPRINGS     KS   67758     INDEPENDENT        FD2998396     500     1,000     700      600     2,700     500     1,000     6,000

100105753   021173310   DIXON DRUG WALLACE CTY 340B      SHARON SPRINGS     KS   67758   PHS 340B HOSPITAL    FD2998396     800     1,500    1,200    1,000     200      700      900      5,400

100089161   049187575   DYNAMIC CARE PHARMACY               ROYAL OAK       MI   48073     INDEPENDENT        FD3014381   15,800   17,500   17,400   20,000   21,400   14,200   17,717   106,300

100095358   023145532   DUANE READE                         NEW YORK        NY   10022      WALGREENS         FD3039460     600      300      500      500      500     1,200     600      3,600

100088765   018203562   ROSE DRUG OF DARDANELLE CPA        DARDANELLE       AR   72834     INDEPENDENT        FD3052773   12,000   15,900   10,400    8,400   14,060    6,700   11,243    67,460

100110633   049197400   DEARBORN FRESH PHCY       SF        DEARBORN        MI   48126     INDEPENDENT        FD3094365                                500     3,900     500     1,633     4,900

100053961   041012419   DAM NECK BRANCH MEDICAL CLINIC    VIRGINIA BEACH    VA   23461   HOSPITAL (FEDERAL)   FD3142089             3,000    2,500    1,200             2,400    2,275     9,100

100095359   023145540   DUANE READE                         NEW YORK        NY   10031      WALGREENS         FD3152078     600      800     1,000     600      300       -       550      3,300

100089997   024115865   DUOMO PHARMACY                   NORTH HOLLYWOOD    CA   91606     INDEPENDENT        FD3195004    2,300    1,000    3,100    1,700                      2,025     8,100

100095362   023145573   DUANE READE                         NEW YORK        NY   10005      WALGREENS         FD3203988     400     1,600    1,000     100      300     1,200     767      4,600

100060902   018090746   DAVILA CD PHARMACY LLC             SAN ANTONIO      TX   78207     INDEPENDENT        FD3305287   11,800   13,200   11,800   16,400   10,500   14,400   13,017    78,100

100090965   044210724   DIERBERGS DES PERES PHCY            DES PERES       MO   63131         CHAIN          FD3312434    1,600    1,600    5,900    1,500     300     1,000    1,983    11,900

100108846   041154369   DEALE PHARMACY                        DEALE         MD   20751     INDEPENDENT        FD3508453    1,900    2,300    3,500    4,100    2,700     800     2,550    15,300

100109480   010237891   MEDPARK WEST SURGERY                SOMERSET        KY   42503       HOSPITAL         FD3519432               50      100       50                         67       200

100109442   019186742   DALY DRUG     CPA                WISCONSIN RAPIDS   WI   54494     INDEPENDENT        FD3542366    3,500    4,900    9,600     500     7,500    3,000    4,833    29,000

100093185   052214874   DOWN HOME PHARMACY, LLC            BEAN STATION     TN   37708     INDEPENDENT        FD3580405   10,000    8,600    8,100    9,700   10,000   18,500   10,817    64,900

100095110   023142935   DUANE READE                         MANHATTAN       NY   10010      WALGREENS         FD3595228     100     1,100     530      500      500               546      2,730

100093929   004091306   EATON APOTHECARY #2300 340B        EAST BOSTON      MA   02128    PHS 340B CLINIC     FD3629574     300      500      300      200      800               420      2,100

100094044   004091314   EATON APOTHECARY #2300             EAST BOSTON      MA   02128    LONG TERM CARE      FD3629574              100               100               200      133       400

100093200   055032029   DANIELS PHCY OF BARNWELL CPA        BARNWELL        SC   29812     INDEPENDENT        FD3653828    4,780    8,700    8,100    6,800    7,500    5,400    6,880    41,280

100093202   055032037   DANIELS PHCY OF BLACKVILLE CPA      BLACKVILLE      SC   29817     INDEPENDENT        FD3660520    2,500    3,000    3,500    2,500    1,900    2,500    2,650    15,900

100103965   004101568   LOWELL COM HLTH CTR PHCY(340B)       LOWELL         MA   01852    PHS 340B CLINIC     FD3832979    1,200     200      300      600      600      200      517      3,100

100103958   004101543   LOWELL COMMUNITY HLTH CTR PH         LOWELL         MA   01852     INDEPENDENT        FD3832979     200      100      200      100      400      200      200      1,200

100104189   055038612   DISCOUNT PHCY-HARTSVILLE CPA        HARTSVILLE      SC   29550     INDEPENDENT        FD3883053   16,500   18,000   18,400   18,400   18,400   17,400   17,850   107,100

100096761   032147819   DAVENPORT PHARMACY INC, 340B        DAVENPORT       WA   99122    PHS 340B CLINIC     FD4004266   13,600   10,100   14,000   10,000    1,100             9,760    48,800

100105651   055039206   DOTTIE'S PHARMACY, LLC             CHARLESTON       SC   29412     INDEPENDENT        FD4112556    1,400             1,000    1,100     660     1,100    1,052     5,260

100106104   004102442   EATON APOTHECARY #2020 340B           SALEM         MA   01970    PHS 340B CLINIC     FD4178516     600      200      300      100      300      300      300      1,800

100106114   004102467   EATON APOTHECARY #2020                SALEM         MA   01970    LONG TERM CARE      FD4178516     100                        100                        100       200

100105850   046058768   ACME PHARMACY CPA                     TAMPA         FL   33612     INDEPENDENT        FD4216823              200      600      200     8,100    2,500    2,320    11,600

100106876   008002964   NEW LIFE PHARMACY CPA                MADERA         CA   93637     INDEPENDENT        FD4243870    1,500    2,500                               2,500    2,167     6,500

100107686   024053306   DR. IKE'S PHARMACARE                STUDIO CITY     CA   91604    LONG TERM CARE      FD4279229    6,000    5,500    7,000   11,500    8,000    3,500    6,917    41,500
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100108197   041154336   DEMPSEY'S DRUGS                           KINSTON       NC   28501     LONG TERM CARE       FD4311281              100     1,000    1,100                        733      2,200

100107287   018404228   DANDY DRUG CPA                           BURLESON       TX   76028       INDEPENDENT        FD4327816    1,600    2,100    3,000    2,000     6,000    2,000    2,783    16,700

100109296   004103390   BEACON PRESCRIPTIONS CPA                 NEW BRITAIN    CT   06053       INDEPENDENT        FD4385387   14,900    5,200    4,800   (3,500)    2,200    3,500    4,517    27,100

100108918   023159731   DUANE READE (14505)                      NEW YORK       NY   10123       WALGREENS          FD4393598                      3,100                                3,100     3,100

100109486   023160531   DRUGMASTERS PHARMACY CPA                  GARFIELD      NJ   07026       INDEPENDENT        FD4425117     100                                                    100       100

100109759   019187005   DESNA PHARMACY PPSC                       WHEELING      IL   60090       INDEPENDENT        FD4456124      -                100      300       300               175       700

100109741   055044859   DAVIE DISCOUNT DRUGS                     COOLEEMEE      NC   27014       INDEPENDENT        FD4487268    6,000    8,100    6,800    6,200    10,300    4,900    7,050    42,300

100109767   021176214   DREXEL PHARMACY                            DREXEL       MO   64742       INDEPENDENT        FD4537948     500     2,900    1,000    1,200     3,200    2,500    1,883    11,300

100110156   038110965   DAVES PHARMACY            SF            HEMINGFORD      NE   69348       INDEPENDENT        FD4548383     500     1,000    4,100    1,600     5,500    1,500    2,367    14,200

100109562   041154591   WILSON MEDICAL CENTER                      WILSON       NC   27893         HOSPITAL         FD4572714     600      400      600     1,600     3,400             1,320     6,600

100109563   041154609   WILSON MED CTR (EMPLOYEE)                  WILSON       NC   27893         HOSPITAL         FD4572714     600      800     1,100     600       200     1,000     717      4,300

100110361   010238477   DUBLIN SPRINGS, LLC (IPS)                  DUBLIN       OH   43016         HOSPITAL         FD4582741                                                   200      200       200

100110502   055045385   RUTHERFORD REG HEALTH SYSTEM           RUTHERFORDTON    NC   28139         HOSPITAL         FD4636823                       700     1,700     1,100     640     1,035     4,140

100110433   004103754   DFCI AT ST ELIZABETH'S MED CTR            BRIGHTON      MA   02135         HOSPITAL         FD4653160                       100                                  100       100

100110376   032153098   WHITE CROSS PHCY SPIRIT LAKE             SPIRIT LAKE    ID   83869       INDEPENDENT        FD4653413             2,800    1,400    8,000     3,100    4,600    3,980    19,900

100111188   021002021   DEGOLER PHARMACY            SF             LENEXA       KS   66220       INDEPENDENT        FD4724870                                                   700      700       700

100110910   049000317   DMC PHARMACY-HARPER CVI                   DETROIT       MI   48201         HOSPITAL         FD4733893                               8,600     2,600    8,100    6,433    19,300

100105872   023152975   DUANE READE (HSRX#15688)                 NEW YORK       NY   10001       WALGREENS          FD4790021                      2,500                                2,500     2,500

100057560   037109314   ED'S PHARMACY                           MISSOURI CITY   TX   77459       INDEPENDENT        FE0102664   10,700   10,100   11,000   10,100    13,400    8,600   10,650    63,900

100061309   056061010   ESTERBROOK PHARMACY(Z) (GNP)            WEST READING    PA   19611       INDEPENDENT        FE0245313    3,500    2,500    3,200     600       500     2,100    2,067    12,400

100076954   044081687   EFILLRX LLC        APSC                  LOUISVILLE     KY   40202       INDEPENDENT        FE0354390    3,000    3,500    3,000    4,000     2,500    2,500    3,083    18,500

100104665   046057661   EAST COAST PHARMACY                      TITUSVILLE     FL   32796       INDEPENDENT        FE0422826    9,700    6,600    5,500    8,000     1,500             6,260    31,300

100076921   040112086   EMORY UNIVER ORTHO & SPINE HOS             TUCKER       GA   30084         HOSPITAL         FE0597243     200      100      500      350       460      280      315      1,890

100076617   021101568   EXCELLENT SURGERY CENTER                   TOPEKA       KS   66606         HOSPITAL         FE0688107                       100      100                         100       200

100062631   024111906   EL MONTE PHARMACY                         EL MONTE      CA   91732       INDEPENDENT        FE0701727    5,900    6,600    6,900    5,200     8,200    7,000    6,633    39,800

100072670   024100800   EL MONTE PHARMACY 340B/AMD                EL MONTE      CA   91732      PHS 340B CLINIC     FE0701727    1,100     500     1,400              3,000             1,500     6,000

100069394   044100354   EVERSPRING, LLC                          EARTH CITY     MO   63045     LONG TERM CARE       FE0735639    3,500    7,000   19,200   14,800    10,100    5,800   10,067    60,400

100070271   044100289   EFILLRX #2      APSC                     LOUISVILLE     KY   40205       INDEPENDENT        FE0769654    5,500    5,500    5,000    7,000    11,500    1,000    5,917    35,500

100060593   044071621   ELY DRUGS INC #2                          GLASGOW       KY   42141       INDEPENDENT        FE0911936   35,300   34,700   28,400   35,200    48,300   23,800   34,283   205,700

100067092   019143164   EVERGREEN PARK PHARMACY          CPA   EVERGREEN PARK   IL   60805       INDEPENDENT        FE1057822   14,000   18,300   16,500   14,000     7,000   10,100   13,317    79,900

100101304   037133280   LSU NORTH CLINIC PHARMACY 340B          BATON ROUGE     LA   70805     PHS 340B HOSPITAL    FE1172458                                100                         100       100

100067962   052145557   EAST AL HEALTHCARE AUTHORITY              AUBURN        AL   36830     LONG TERM CARE       FE1247887     500     1,000    1,800     900      1,100    1,500    1,133     6,800

100068865   010160291   EXACT CARE PHARMACY                     VALLEY VIEW     OH   44125     LONG TERM CARE       FE1303635   26,600   27,700   24,200   28,200    21,000   10,600   23,050   138,300

100069257   018176859   ECONOMY PHARMACY EXPRESS                   TULSA        OK   74133       INDEPENDENT        FE1378187   26,160   31,620   24,000   24,500    30,680   27,000   27,327   163,960

100068168   049178038   EXPRESS PHCY                              SAGINAW       MI   48601       INDEPENDENT        FE1430622   43,600    8,500   31,800   13,200     2,000    4,000   17,183   103,100

100069442   019159715   EXTENDED PHARMACY, LLC                     PEORIA       IL   61602     LONG TERM CARE       FE1456979    8,100   10,600    8,000    9,100    14,500    2,300    8,767    52,600

100070590   024117952   PARTNER HEALTHCARE, INC.                 MONROVIA       CA   91016       INDEPENDENT        FE1459381   17,400   17,400   13,500   28,500    14,500   21,500   18,800   112,800

100068831   008100990   EAST BAY AIDS OUTPATIENT 340B             OAKLAND       CA   94609     PHS 340B HOSPITAL    FE1494272    9,400    8,100    8,400    7,600     9,600    7,400    8,417    50,500

100106436   046059220   EMERALD COAST BEHAVIORAL HOSP           PANAMA CITY     FL   32405         HOSPITAL         FE1677573    1,000                                                  1,000     1,000

100075491   055176206   EASTOVER DRUG,LLC(X)(GNP) CPA            EASTOVER       NC   28312       INDEPENDENT        FE1842978    7,900   10,300   11,500   10,740     1,600    8,200    8,373    50,240

100069503   020137570   EL RIO PASCUA PHARMACY 340B                TUCSON       AZ   85757      PHS 340B CLINIC     FE1888429    7,600   12,200    4,700    8,000    14,800    1,200    8,083    48,500

100074592   023114389   ELMHURST PHCY & HOME INF INC(Z           ELMHURST       NY   11373   HOME HEALTH SERVICES   FE1971654     300      100               100                         167       500

100093201   019161711   EDWARD HOSPITAL                          NAPERVILLE     IL   60540         HOSPITAL         FE2000228    6,100    9,000    8,600    6,300     6,800    7,200    7,333    44,000

100093226   019161794   EDWARD HOSPITAL EMP OWN USE              NAPERVILLE     IL   60540         HOSPITAL         FE2000228    1,600    1,900    1,500    2,000     3,200    1,400    1,933    11,600
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100075898   023175885   ETHICAL DRUG INC(X)    CPA             NEW YORK         NY   10033     INDEPENDENT       FE2039635                       100                                  100       100

100088256   023132654   EVOLUTION PHARMACY SERVICE INC           PLAINS         PA   18702   LONG TERM CARE      FE2237609    4,200    3,800    3,200    2,800     3,060    2,700    3,293    19,760

100108531   032152678   EDMONDS PHARMACY LTC CPA                EDMONDS         WA   98026   LONG TERM CARE      FE2308585                               1,000                       1,000     1,000

100108668   032152686   EDMONDS PHCY @ STEVEN HLTH CPA          EDMONDS         WA   98026     INDEPENDENT       FE2308597    3,000    2,000    3,000    5,000              1,000    2,800    14,000

100084763   046034835   EXPRESS PHARMACY                       LEESBURG         FL   34748     INDEPENDENT       FE2309690     400                        100       500     1,200     550      2,200

100094215   037100867   *ECONO PHARMACY INC                     HOUSTON         TX   77065     INDEPENDENT       FE2354734   12,900   17,600   15,500   10,000     4,000            12,000    60,000

100087229   049185231   EZ SCRIPTS. LLC                        WESTLAKE         OH   44145     ALT CHANNEL       FE2380400     500     3,100    1,800    1,500     1,000             1,580     7,900

100107447   010237107   EAST KENTUCKY PHCY INC APSC             HINDMAN         KY   41822     INDEPENDENT       FE2447832   10,500    9,500   10,900   10,500     9,000    6,500    9,483    56,900

100085713   025081224   ESSENTIA HLTH LAKEWALK PHCY              DULUTH         MN   55812     INDEPENDENT       FE2459875    5,000    6,000    5,500    4,000     5,500    7,500    5,583    33,500

100085714   025081232   ESSENTIA HLTH SILVER BAY PHCY          SILVER BAY       MN   55614     INDEPENDENT       FE2459887     100     3,000    5,400    1,900     3,400    2,300    2,683    16,100

100085755   025081240   ESSENTIA HLTH TWO HARBORS PHCY        TWO HARBORS       MN   55616     INDEPENDENT       FE2459899     700     1,100     400      700      3,200    4,600    1,783    10,700

100086636   046038091   JAXX PHARMACY                         JACKSONVILLE      FL   32217     INDEPENDENT       FE2471768    1,700    2,000    2,100    2,400     3,100    1,500    2,133    12,800

100087102   044204271   ETOWN PHARMACY LLC APSC              ELIZABETHTOWN      KY   42701     INDEPENDENT       FE2638483   10,000   12,500   11,100   12,500     8,000   10,000   10,683    64,100

100086831   046038273   E P MEDICAL EQUIP INC(CLS DOOR            MIAMI         FL   33183     INDEPENDENT       FE2660846     300      200      700      300                200      340      1,700

100087877   004088245   EAST ROCK PHARMACY, LLC                NEW HAVEN        CT   06511     INDEPENDENT       FE2834807    2,400     700     1,400    1,700      900              1,420     7,100

100088157   052174011   ERLANGER PHARMACY                     CHATTANOOGA       TN   37416     INDEPENDENT       FE2913300    2,500    1,000    2,000    3,500     3,100     500     2,100    12,600

100088546   046040592   EL JARDIN PHARMACY #2 LLC               HIALEAH         FL   33018     INDEPENDENT       FE2971720     100      300      100      200       400               220      1,100

100110783   023162289   EAST LEHIGH HEALTH PHARMACY           PHILADELPHIA      PA   19125     INDEPENDENT       FE2998067                                          500               500       500

100089120   049187534   CET PHARMACY 1002                       DETROIT         MI   48224     INDEPENDENT       FE3007095   29,500   36,000   26,300   32,300    25,500    4,000   25,600   153,600

100110357   020167015   EL PASO CHILDRENS HOSP WAC              EL PASO         TX   79905       HOSPITAL        FE3022390              100      200                 80      240      155       620

100088616   020156620   EL PASO CHILDREN'S HOSPITAL             EL PASO         TX   79905       HOSPITAL        FE3022390     200                                                    200       200

100089334   041144030   ELKTON HLTHCARE SRVC INC CPA             ELKTON         VA   22827     INDEPENDENT       FE3068497   17,100    2,500    3,500    7,500     6,500    6,000    7,183    43,100

100089978   052214056   EASTPOINTE PHARMACY                     DAPHNE          AL   36526       HOSPITAL        FE3098503     200      200               400                         267       800

100089878   010030858   EAST MAIN STREET PHCY APSC              HAZARD          KY   41701     INDEPENDENT       FE3125918   17,600   20,000   23,200   16,100    26,500   20,000   20,567   123,400

100091271   010225847   EAST KENTUCKY DRUG INC. CPA               IVEL          KY   41642     INDEPENDENT       FE3338628    9,700    8,000   15,700    9,900              7,300   10,120    50,600

100088943   008107169   EL PORTAL PHARMACY CPA                  MERCED          CA   95340     INDEPENDENT       FE3355989   16,500   17,200    8,500    5,500    13,800    1,500   10,500    63,000

100090354   037129304   EL CAMPO PROFESSIONAL PHARMACY          EL CAMPO        TX   77437     INDEPENDENT       FE3392519    7,200    9,100   12,500    5,000     8,600    6,000    8,067    48,400

100092079   046042796   EMERGENCY CARE SERVICES #781       PALM BEACH GARDENS   FL   33418       HOSPITAL        FE3407219                                           50                50        50

100091968   044211110   ELY DRUG OF BOWLING GREEN APSC       BOWLING GREEN      KY   42104     INDEPENDENT       FE3409011    8,600   10,000   10,300    9,000    12,720    6,000    9,437    56,620

100052657   024068825   EAST LOS ANGELES DOCTORS HSP          LOS ANGELES       CA   90023       HOSPITAL        FE3446057     200      400      300     1,800                        675      2,700

100088174   018201434   ER AT ALLIANCE #712                   FORT WORTH        TX   76177       HOSPITAL        FE3499060              100               100        80                93       280

100093186   018113654   ENGLISH PHCY #1       SF              WICHITA FALLS     TX   76309     INDEPENDENT       FE3594923   17,800   18,000   17,100   14,300    13,000   12,000   15,367    92,200

100096463   023147363   EXPRESS CARE PHARMACY        CPA       ALLENTOWN        PA   18104     INDEPENDENT       FE3650860    1,800             2,000                        200     1,333     4,000

100096390   046043943   EMERGENCY CARE SERVICES AT JFK       BOYNTON BEACH      FL   33437       HOSPITAL        FE3686120                                 50                          50        50

100103963   025091249   ESSENTIA HEALTH VIRGINIA LLC            VIRGINIA        MN   55792       HOSPITAL        FE3688338    1,600    1,400    1,400    1,200     2,500    1,000    1,517     9,100

100094070   024107979   EDDIE'S PHARMACY CPA                WEST HOLLYWOOD      CA   90069     INDEPENDENT       FE3713838    2,100    2,300    2,400    2,700     2,900    1,700    2,350    14,100

100101269   019179499   ELMWOOD PARK PHARMACY                ELMWOOD PARK       IL   60707     INDEPENDENT       FE3714498    1,100    1,100     400      (200)    2,200    1,000     933      5,600

100104205   019180935   EDWARDSBURG DRUGS                    EDWARDSBURG        MI   49112     INDEPENDENT       FE3851828    3,000    3,000    5,500    4,500     3,000    2,600    3,600    21,600

100104850   018403626   ECONOMY PHARMACY ST FRANCIS              TULSA          OK   74136     INDEPENDENT       FE3984158    2,200    6,100    5,600    6,500     6,700    3,000    5,017    30,100

100105662   019183020   EXCLUSIVE PHARMACY, INC                 CHICAGO         IL   60659     INDEPENDENT       FE3994250             1,000     600     1,500      500               900      3,600

100096649   055037457   VIDANT BEAUFORT HOSPITAL(WAC)         WASHINGTON        NC   27889       HOSPITAL        FE4061949                                300       500      600      467      1,400

100090418   055031195   VIDANT BEAUFORT HOSPITAL(340B)        WASHINGTON        NC   27889   PHS 340B HOSPITAL   FE4061949     200      100      100      100                         125       500

100104148   018168328   EAGLE PHARMACY CPA                      LINDALE         TX   75771     INDEPENDENT       FE4102303    3,700    7,100    8,300   11,000     5,100    2,000    6,200    37,200

100105883   012013607   ESCONDIDO PHARMACY &DME INC SF         ESCONDIDO        CA   92025     INDEPENDENT       FE4164543     100               100     1,000     3,400     800     1,080     5,400
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100107160   055043851   EHRHARDT PHARMACY, LLC CPA          EHRHARDT        SC   29081     INDEPENDENT       FE4221773    2,200     3,700    1,200    1,400    6,800     2,000    2,883    17,300

100106398   021173526   ELDON DRUG COMPANY CPA                ELDON         MO   65026     INDEPENDENT       FE4274584   16,700    11,100   21,500   14,400   11,900    15,900   15,250    91,500

100109553   018405159   ER AT BURLESON PLAZA                BURLESON        TX   76028       HOSPITAL        FE4402208                        100                         100      100       200

100109867   052225003   EAMC-LANIER OFFSITE                  VALLEY         AL   36854       HOSPITAL        FE4405331                                         3,200              3,200     3,200

100066377   052055285   EAMC-LANIER OPERATING                VALLEY         AL   36854       HOSPITAL        FE4405331     400       200      200      450      240       240      288      1,730

100109672   025092197   ESSENTIA HLTH SUP EAST PHCY         SUPERIOR        WI   54880       HOSPITAL        FE4410077    2,000      500     2,700    1,800    1,000     1,900    1,650     9,900

100110566   037136150   *ECONO PHARMACY 2                    HOUSTON        TX   77076     INDEPENDENT       FE4416637              2,000   12,000   14,700   12,500     2,000    8,640    43,200

100108032   040121491   EXPRESS FOOD AND PHARMACY CPA        ATLANTA        GA   30303     INDEPENDENT       FE4422767    3,400     3,100    7,600    4,100    2,000     5,500    4,283    25,700

100109680   018405183   EXPRESS CARE PHARMACY              CARROLLTON       TX   75007     INDEPENDENT       FE4435904     (100)     500     1,100    2,500    1,500     1,000    1,083     6,500

100110591   023161802   EXTRACARE PHARMACY                 SHARON HILL      PA   19079     INDEPENDENT       FE4467711                       1,000                                1,000     1,000

100110198   040122341   EMORY REHAB HOSP SELECT MED          ATLANTA        GA   30322       HOSPITAL        FE4586864     500       300      700      300      280       200      380      2,280

100110884   040000289   ELDERCARE PHARMACY ROYSTON           ROYSTON        GA   30662   LONG TERM CARE      FE4704878                                3,100   12,720     3,980    6,600    19,800

100060308   052160457   *FRED'S PHARMACY # 2439              LINCOLN        AL   35096        CHAIN          FF0002814   11,200    10,000    8,860   14,000                      11,015    44,060

100068356   049150227   *MERCY HEALTH SAINT MARY'S CAM    BYRON CENTER      MI   49315     INDEPENDENT       FF0016584    9,100     8,000    7,500    7,700    1,000              6,660    33,300

100083769   049180430   *MERCY HEALTH SAINT MARY'S CAM    BYRON CENTER      MI   49315   PHS 340B HOSPITAL   FF0016584    2,100     1,600    1,500    1,000     100               1,260     6,300

100060907   041105221   FERRUM COM PHY TRI AREA (340B)       FERRUM         VA   24088    PHS 340B CLINIC    FF0076833    3,300     4,300    3,600    4,300    3,800     3,000    3,717    22,300

100058385   041103531   FERRUM COMMUNITY PHCY-TRI-AREA       FERRUM         VA   24088     INDEPENDENT       FF0076833    3,000     2,500    2,500    2,200    2,600     2,400    2,533    15,200

100058563   052160218   *FRED'S PHARMACY #1629               ETOWAH         TN   37331        CHAIN          FF0082901   13,400    15,000   13,200   11,700     500              10,760    53,800

100092347   018314922   FANNIN PHARMACY                      BONHAM         TX   75418     INDEPENDENT       FF0107424    4,700     4,000    4,100    3,100    7,000     4,000    4,483    26,900

100057461   040169805   *FRED'S PHARMACY #1839              HAMPTON         GA   30228        CHAIN          FF0114253    7,900    12,400   10,200    7,500     100               7,620    38,100

100073636   055100602   *FRED'S PHARMACY #1784               GASTON         SC   29053        CHAIN          FF0119330    7,600     8,800    8,000    7,200     200               6,360    31,800

100059330   023095240   FUTURE PHARMACY II LLC (Z)          OLD BRIDGE      NJ   08857     INDEPENDENT       FF0129709     700       200     1,200    3,100               200     1,080     5,400

100060169   012117556   NEWPORT COAST PHARMACY           NEWPORT BEACH      CA   92660     INDEPENDENT       FF0137643    1,900     1,200    2,000    3,200    3,000     5,200    2,750    16,500

100061584   040169904   *FRED'S PHARMACY #2129              LEXINGTON       GA   30648        CHAIN          FF0171796   13,900    13,500   13,100   13,700    1,200             11,080    55,400

100061302   044160309   *FRED'S PHARMACY #3049               TUPELO         MS   38801        CHAIN          FF0188626    7,200     7,800    7,700    6,000     100               5,760    28,800

100061558   052160903   *FRED'S PHARMACY #3054             TAYLORSVILLE     MS   39168        CHAIN          FF0188640    9,400    12,200   10,700   11,000    1,000              8,860    44,300

100061301   052160952   *FRED'S PHARMACY #3176               VERNON         AL   35592        CHAIN          FF0193196    7,500     7,300    6,000    7,820                       7,155    28,620

100061936   023101626   FRANKLIN PHARMACY(Z)(GNP)        MONROE TOWNSHIP    NJ   08831     INDEPENDENT       FF0202173    2,400      500      200      600     1,000      800      917      5,500

100076818   052154807   *FRED'S PHARMACY #7681               MERIDIAN       MS   39301        CHAIN          FF0230223   36,200    31,500   33,200   37,300     400              27,720   138,600

100073635   055100305   *FRED'S PHARMACY #1606               CAMDEN         SC   29020        CHAIN          FF0246036   17,700    18,200   14,700   23,100    1,000             14,940    74,700

100076896   008044750   FOX DRUG STORE #3                    PARLIER        CA   93648     INDEPENDENT       FF0258877    8,100     9,300    9,000   10,700   12,300     2,700    8,683    52,100

100107131   008050427   FOX DRUG STORE-PARLIER 340B          PARLIER        CA   93648    PHS 340B CLINIC    FF0258877    1,900     2,200    2,200     900               3,400    2,120    10,600

100104604   008099267   FOX DRUG STORE-PARLIER 340B          PARLIER        CA   93648    PHS 340B CLINIC    FF0258877     100       700      300                         800      475      1,900

100076970   044100305   *FRED'S PHARMACY #1491               DRESDEN        TN   38225        CHAIN          FF0276914   13,000    13,500   12,500   13,000     500              10,500    52,500

100074198   044170308   *FRED'S PHARMACY # 3064              TUPELO         MS   38804        CHAIN          FF0361155   10,100    11,600   10,200   10,500     100               8,500    42,500

100104391   012034371   T&C PHARMACY                       LONG BEACH       CA   90804     INDEPENDENT       FF0475764     100                200                                  150       300

100072049   003002410   FCIA MONTE VERDE GNP                 BAYAMON        PR   00959     INDEPENDENT       FF0495336                                 200                         200       200

100073803   049123653   FRANK'S PHCY ADVANCED CARE       CLINTON TOWNSHIP   MI   48036     INDEPENDENT       FF0502624   19,900    14,700   17,200   14,100   15,400    13,900   15,867    95,200

100088198   049186411   FRANKS PHCY ADVANCED CARE 340B   CLINTON TOWNSHIP   MI   48036    PHS 340B CLINIC    FF0502624    3,500     3,300    2,100    3,400    3,100     4,200    3,267    19,600

100076150   017065342   FAMILY PLAZA PHARMACY              WEST JORDAN      UT   84088     INDEPENDENT       FF0511875   10,500    13,000   15,100   10,700   16,800     8,000   12,350    74,100

100077145   044087478   *FRED'S PHARMACY # 1504               ALAMO         TN   38001        CHAIN          FF0567086   11,000     9,700   12,400   10,500   (1,000)             8,520    42,600

100096443   044106096   FAMILY PHARMACY CPA                 LEXINGTON       TN   38351     INDEPENDENT       FF0584020   33,620    34,300   45,400   35,600   39,100    33,300   36,887   221,320

100077014   044200808   *FRED'S PHARMACY #2616               PIGGOTT        AR   72454        CHAIN          FF0610027   12,200    13,500   12,500   13,200     200              10,320    51,600

100107427   018404285   FAMILY PHARMACY #1 CPA                 ENID         OK   73701     INDEPENDENT       FF0707490     200      1,200             2,200    3,300     5,500    2,480    12,400
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100075731   046128983   FAMILY PHYSICIANS RX {ORLANDO}      ORLANDO        FL   32822     INDEPENDENT       FF0752243    3,800    2,600     3,600    (2,500)                     1,875    7,500

100107906   037134874   FARMACIA ETC                        HOUSTON        TX   77081     INDEPENDENT       FF0762915     200      300       100       500                        275     1,100

100073749   019102608   FROEDTERT HOSP CANCER CTR 340B     MILWAUKEE       WI   53226   PHS 340B HOSPITAL   FF0798679     800     1,200     1,000     1,000    2,000     600     1,100    6,600

100074354   052175364   *FRED'S PHARMACY 2754                REFORM        AL   35481        CHAIN          FF0873148   10,700   10,500     9,400     9,300                      9,975   39,900

100071962   044175364   *FRED'S PHCY #1589 - BALDWYN        BALDWYN        MS   38824        CHAIN          FF0918853   12,900   12,100    11,300    13,200    1,000            10,100   50,500

100072542   037175323   *FRED'S PHARMACY #1684            CHURCH POINT     LA   70525        CHAIN          FF1028617    3,700    3,400     3,100     3,600     200              2,800   14,000

100107429   018404293   FAMILY PHARMACY #2 CPA                ENID         OK   73703     INDEPENDENT       FF1036602     400      100       300      5,600    1,900     900     1,533    9,200

100074267   010141358   FIRELAND REG MED CTR O/P            SANDUSKY       OH   44870       HOSPITAL        FF1123099    3,400    3,500     3,700     2,600    2,800    3,500    3,250   19,500

100073399   018175463   *FRED'S PHARMACY #2651             PINE BLUFF      AR   71603        CHAIN          FF1127895   16,000   16,600    15,400    16,300     600             12,980   64,900

100074389   052175653   *FRED'S PHCY #3654 - RX            GREENVILLE      MS   38701        CHAIN          FF1139028    9,800    9,400     9,200     9,400     500              7,660   38,300

100074126   052175612   *FRED'S PHCY #3644 - RX            GREENVILLE      MS   38701        CHAIN          FF1139030   10,200    9,300     9,800    10,400    1,500             8,240   41,200

100074392   052175695   *FRED'S PHCY #1969 - RX            GREENVILLE      MS   38701        CHAIN          FF1139686    4,400    4,800     5,700     7,300     100              4,460   22,300

100074127   052175638   *FRED'S PHCY #3648 - RX            GREENVILLE      MS   38703        CHAIN          FF1139698    5,800    6,200     5,700     6,200                      5,975   23,900

100074390   052175679   *FRED'S PHCY #3658 - RX            GREENVILLE      MS   38701        CHAIN          FF1139701    2,400    3,400     2,100      700                       2,150    8,600

100052958   012029140   FAMILY PHARMACY                  SAN BERNARDINO    CA   92410     INDEPENDENT       FF1184807    2,600    2,200     1,600     2,000    1,600    2,800    2,133   12,800

100092277   023136572   FRONT STREET PHARMACY              PLAINFIELD      NJ   07060     INDEPENDENT       FF1186104     200     1,400      100       400      100      300      417     2,500

100072221   018175562   *FRED'S PHARMACY #1774              HASKELL        AR   72015        CHAIN          FF1189035    6,800    9,100     8,400     8,700     600              6,720   33,600

100067711   044143156   PHARMACY EXPRESS          CPA       GLASGOW        KY   42141     INDEPENDENT       FF1243005   10,100    7,600     5,700    11,400    5,300    9,000    8,183   49,100

100087366   018199141   FOREST PARK MEDICAL CENTER           DALLAS        TX   75243       HOSPITAL        FF1244401    1,000     400       500      1,100     380      300      613     3,680

100067184   052175463   *FRED'S PHCY #1489-CRYSTAL SPR   CRYSTAL SPRINGS   MS   39059        CHAIN          FF1298050   10,300   10,700     9,700    10,900     300              8,380   41,900

100081363   032131011   FRANCISCAN PHARMACY ST ANTHONY     GIG HARBOR      WA   98332       HOSPITAL        FF1333400    2,500    2,000     3,500     3,000    4,000    4,100    3,183   19,100

100069175   055143719   FAMILY PHCY SOUTH AIKEN(X) CPA        AIKEN        SC   29803     INDEPENDENT       FF1388316     700      (100)    2,500     1,800    1,500     800     1,200    7,200

100071690   052175794   *FRED'S PHARMACY #2409            MONROEVILLE      AL   36460        CHAIN          FF1400744   17,400   15,200    13,100     9,100     700             11,100   55,500

100069186   052175760   *FRED'S PHARMACY #1639             DEMOPOLIS       AL   36732        CHAIN          FF1405643    7,600    8,600     6,500     6,800     500              6,000   30,000

100070540   052175802   *FRED'S PHARMACY #1364             COLUMBIANA      AL   35051        CHAIN          FF1430139    7,900   10,000     8,700     9,300     100              7,200   36,000

100067881   018175927   *FRED'S PHARMACY #1661              BRINKLEY       AR   72021        CHAIN          FF1489764   10,500    9,900     7,600     8,500     600              7,420   37,100

100067991   018175901   *FRED'S PHARMACY #2789              RINGGOLD       LA   71068        CHAIN          FF1514505    9,800   10,500    10,000     8,900                      9,800   39,200

100068169   055175935   *FRED'S PHARMACY #2209               LYMAN         SC   29365        CHAIN          FF1525142   15,900   18,200    14,700    14,600    1,000            12,880   64,400

100053400   024087734   *FAMILY HEALTH PHCY               WEST COVINA      CA   91790     INDEPENDENT       FF1534153    1,400    2,400      (200)                               1,200    3,600

100071815   055175943   *FRED'S PHARMACY #1914             HONEA PATH      SC   29654        CHAIN          FF1542251   22,600   24,000    22,900    26,100     600             19,240   96,200

100070411   055175562   *FRED'S PHARMACY #2784              ROEBUCK        SC   29376        CHAIN          FF1637125   10,900   10,400     9,000    16,600     100              9,400   47,000

100068289   052175919   *FRED'S PHCY #1754 - GREENWOOD     GREENWOOD       MS   38930        CHAIN          FF1647897   15,700   17,900    17,300    17,900     300             13,820   69,100

100068448   044176016   *FRED'S PHARMACY #1959 BARTLET      BARTLETT       TN   38133        CHAIN          FF1660403    3,100    3,500     3,400     3,800     100              2,780   13,900

100072668   008100503   FORESTVILLE PHARMACY CPA           FORESTVILLE     CA   95436     INDEPENDENT       FF1662786   19,700    2,500    11,100    30,900    3,000            13,440   67,200

100109144   008118224   FORESTVILLE PHARMACY 340B          FORESTVILLE     CA   95436    PHS 340B CLINIC    FF1662786              500                                   200      350      700

100068573   044177600   *FRED'S PHARMACY #1664 - ALBAN       ALBANY        KY   42602        CHAIN          FF1679488    9,200   12,400    10,200    11,700     (100)            8,680   43,400

100068292   055175992   *FRED'S PHARMACY #3938            WARE SHOALS      SC   29692        CHAIN          FF1686483   13,300   14,700    13,000    10,800                     12,950   51,800

100068291   018175703   *FRED'S PHARMACY #1999               HOMER         LA   71040        CHAIN          FF1692373   10,200   10,000     8,500     8,800                      9,375   37,500

100075315   019160234   YOUNG AT HEART                    INDIANAPOLIS     IN   46290   LONG TERM CARE      FF1704344     600      100      1,000      500     7,600             1,960    9,800

100066914   052175950   *FRED'S PHARMACY #1159           BAYOU LA BATRE    AL   36509        CHAIN          FF1728142   14,200   15,100    11,000    12,900     600             10,760   53,800

100068074   055176107   *FRED'S PHARMACY #3784              OLD FORT       NC   28762        CHAIN          FF1737367   10,400   12,400    10,600    11,200     400              9,000   45,000

100066494   003011478   FCIA SAN ANTONIO GNP                VIEQUES        PR   00765     INDEPENDENT       FF1744475    1,600               600       900                       1,033    3,100

100067647   055176131   *FRED'S PHARMACY #3351             WOODRUFF        SC   29388        CHAIN          FF1766611   22,100   21,500    19,200    22,300     700             17,160   85,800

100068874   040176008   *FRED'S PHARMACY #2134               ALBANY        GA   31701        CHAIN          FF1768754    3,700    4,200     3,500     4,500     200              3,220   16,100
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100068806   040175992   *FRED'S PHARMACY #1359              CUTHBERT       GA   39840         CHAIN          FF1768829    8,100    5,900    5,400     6,500     100               5,200    26,000

100075067   037175927   *FRED'S PHARMACY #2499              OAKDALE        LA   71463         CHAIN          FF1782665   11,200   12,400   12,500    10,600    2,200              9,780    48,900

100074625   032145151   FRANCISCAN PHARMACY CANYON RD       PUYALLUP       WA   98375       HOSPITAL         FF1784544    2,100     400               1,000     500      2,400    1,280     6,400

100068797   046127555   FARMACIA LAS AMERICAS, LLC       WEST PALM BEACH   FL   33406     INDEPENDENT        FF1796020     600     1,200     900       900     1,100      200      817      4,900

100066669   044178723   *FRED'S PHARMACY #1964-CAVE CI      CAVE CITY      KY   42127         CHAIN          FF1808039    4,700    5,000    6,000     5,900     500               4,420    22,100

100075878   044179556   FOOD GIANT DISC PHCY LLC CPA       HARRISBURG      AR   72432     INDEPENDENT        FF1828853     400    27,800   23,500    16,900   18,700     7,500   15,800    94,800

100074985   055176198   *FRED'S PHARMACY #3281               PELZER        SC   29669         CHAIN          FF1836836   12,900   11,200   11,500    13,500     400               9,900    49,500

100075945   040176057   *FRED'S PHARMACY #1394              COLBERT        GA   30628         CHAIN          FF1847168    9,500    9,100    8,200     7,400     600               6,960    34,800

100090620   041144196   FAMILY CARE WILLIAMSBURG          WILLIAMSBURG     VA   23188    LONG TERM CARE      FF1851890     530     1,730     500      1,500    1,000      600      977      5,860

100074983   055176172   *FRED'S PHARMACY #1028              ABBEVILLE      SC   29620         CHAIN          FF1859606    6,600    6,200    5,400     6,900     200               5,060    25,300

100066249   003011437   FCIA CARIDAD #5 GNP                 CAROLINA       PR   00982     INDEPENDENT        FF1868693                       100                                   100       100

100075366   044189043   *FRED'S PHCY #1966 -MUNFORDVIL    MUNFORDVILLE     KY   42765         CHAIN          FF1937791    6,500    7,400    6,100     5,800     100               5,180    25,900

100104151   041153361   FAMILY MEDS INC                     WALDORF        MD   20602     INDEPENDENT        FF1958719    1,000    1,000    1,000     1,200     100       700      833      5,000

100109875   046060053   FUTURE PHARMACY LLC                  TAMPA         FL   33617     INDEPENDENT        FF1971262    2,000    1,000    1,000     3,500               500     1,600     8,000

100075634   055176354   *FRED'S PHARMACY #3171              VARNVILLE      SC   29944         CHAIN          FF2026258   11,200   12,800   11,600    13,000                      12,150    48,600

100075926   044189274   *FRED'S PHARMACY #2019 -GREENS    GREENSBURG       KY   42743         CHAIN          FF2029014    7,300    6,200    5,500     5,100     300               4,880    24,400

100075848   021135541   FREEMAN SURG CNTR DOMINIC, DO        JOPLIN        MO   64803       HOSPITAL         FF2046262                                          100                100       100

100083412   019143578   FIRST FAMILY PHARMACY INC. CPA      CHICAGO        IL   60659     INDEPENDENT        FF2067569     200                                                     200       200

100107437   018404327   FAMILY PHARMACY #3 CPA                ENID         OK   73701     INDEPENDENT        FF2078889             1,500   (1,500)    2,500     300      4,000    1,360     6,800

100075635   040176198   *FRED'S PHARMACY #1199               BYRON         GA   31008         CHAIN          FF2081709    5,000    4,500    5,100     7,000                       5,400    21,600

100083100   052160036   *FRED'S PHARMACY #2749               RICHTON       MS   39476         CHAIN          FF2100612   15,900   15,100   14,100    17,500                      15,650    62,600

100083155   041132498   FAMILY CARE PHCY BERRYVILLE        BERRYVILLE      VA   22611    LONG TERM CARE      FF2110942     100      100      100       200      100                120       600

100083086   052176248   *FRED'S PHARMACY #3701              HAMILTON       AL   35570         CHAIN          FF2125068   31,200   27,300   25,700    26,900   (1,500)            21,920   109,600

100083120   040096800   *FRED'S PHARMACY #2491            MOUNT VERNON     GA   30445         CHAIN          FF2190267    6,600    8,100    4,800     5,300                       6,200    24,800

100083445   052167155   *FRED'S PHARMACY #2579             PASCAGOULA      MS   39567         CHAIN          FF2205044   11,700   11,600   10,600     9,500    2,700              9,220    46,100

100083438   052167130   *FRED'S PHARMACY #3764             MOSS POINT      MS   39563         CHAIN          FF2205056   14,900   19,100   17,100    13,000                      16,025    64,100

100083447   052167171   *FRED'S PHARMACY #2029               GAUTIER       MS   39553         CHAIN          FF2205068   14,800   17,000   13,600    12,300     600              11,660    58,300

100083478   010192054   FAITH PHARMACY     APSC             PIKEVILLE      KY   41501     INDEPENDENT        FF2208521   10,900   11,600   11,900    12,000   13,500    13,200   12,183    73,100

100083440   052167114   *FRED'S PHARMACY #3864                 OPP         AL   36467         CHAIN          FF2218116   19,300   19,100   18,400    19,000     200              15,200    76,000

100083236   018180158   FAMILY PHARMACY OF POTTSBORO       POTTSBORO       TX   75076     INDEPENDENT        FF2271372   18,500   23,000   24,400    30,400   18,800    19,100   22,367   134,200

100084410   008010702   FRANKS PHARMACY CPA                   APTOS        CA   95003     INDEPENDENT        FF2308028    8,700    7,400    2,900      800    54,500    21,900   16,033    96,200

100084405   052163691   *FRED'S PHARMACY #2509            OCEAN SPRINGS    MS   39564         CHAIN          FF2313726   12,500   12,100   12,600    13,000                      12,550    50,200

100084216   056099218   FARMINGDALE PHARMACY              FARMINGDALE      NJ   07727     INDEPENDENT        FF2319588    1,300    2,000    1,900     1,200    1,900     1,200    1,583     9,500

100089247   024114843   FARMACIA FAMILIA                   LOS ANGELES     CA   90033     INDEPENDENT        FF2330532    2,900    2,600    2,100      700      700               1,800     9,000

100084931   018097592   FAMAK PHARMACY                    GRAND PRAIRIE    TX   75052     INDEPENDENT        FF2332699                       200                                   200       200

100084543   055023150   *FRED'S PHARMACY #3608               EASLEY        SC   29640         CHAIN          FF2338564    8,200    8,400    7,800     8,100                       8,125    32,500

100086489   041214163   DEWITT FBCH PHCY SVC VAULT        FORT BELVOIR     VA   22060   HOSPITAL (FEDERAL)   FF2346143   12,000   10,400    9,500    20,000    4,200     7,400   10,583    63,500

100084661   055023481   *FRED'S PHARMACY #1109              BAMBERG        SC   29003         CHAIN          FF2351435    4,900    5,000    5,000     5,900                       5,200    20,800

100085050   052165035   *FRED'S PHARMACY #3878              TARRANT        AL   35217         CHAIN          FF2390110   27,200   28,200   26,100    24,400                      26,475   105,900

100084764   037116277   *FRED'S PHARMACY #2004              CARENCRO       LA   70520         CHAIN          FF2399346    6,900    7,500    7,600     7,200     800               6,000    30,000

100085514   041137083   FRITZ'S PHARMACY, INC.             LEWISBURG       WV   24901     INDEPENDENT        FF2445105   10,700   12,700    8,900    10,300   12,800     2,000    9,567    57,400

100085508   044201277   *FRED'S PHARMACY #3534               BOLIVAR       TN   38008         CHAIN          FF2445713   14,600   15,100   13,400    11,900                      13,750    55,000

100085910   023104067   FARMACIA LATINA (ARX)               UNION CITY     NJ   07087     INDEPENDENT        FF2464244                       100                                   100       100

100085925   044201715   *FRED'S PHARMACY #3738             LEWISPORT       KY   42351         CHAIN          FF2500052    5,300    6,800    6,100     7,000   (1,000)             4,840    24,200
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100085927   044201731   *FRED'S PHARMACY #2086              HARTFORD        KY   42347      CHAIN      FF2500088    9,300    9,500    8,700    9,400     200               7,420    37,100

100110023   049197178   JAJA DISCOUNT PHY PLLC APG           DETROIT        MI   48227   INDEPENDENT   FF2655883    2,400    3,700    2,800    2,000   2,100      1,600    2,433    14,600

100086811   017089003   FIRST PHCY        SF                 BILLINGS       MT   59102   INDEPENDENT   FF2665529    6,700    6,000    5,400    5,500   4,000      7,400    5,833    35,000

100087259   038101857   *FAMILY PHCY         SF              CASPER         WY   82601   INDEPENDENT   FF2721226    6,000                                                  6,000     6,000

100086688   018196576   *FRED'S PHARMACY #3179               VILONIA        AR   72173      CHAIN      FF2725058   14,100   15,800   14,600   15,600     400              12,100    60,500

100087575   019150334   FROEDTERT HLTH ST JOSEPHS UP        WEST BEND       WI   53095    HOSPITAL     FF2736847    1,800    1,700    1,400    2,600     700      2,000    1,700    10,200

100087291   012081612   FARMACIA DEL PUEBLO                 EL CENTRO       CA   92243   INDEPENDENT   FF2806694   11,000    9,500   20,300   12,000              3,700   11,300    56,500

100087389   044205716   *FRED'S PHARMACY #2099               BYHALIA        MS   38611      CHAIN      FF2818574    6,000    7,800    6,600    7,600                       7,000    28,000

100087802   044206284   *FRED'S PHARMACY #2534               OKOLONA        MS   38860      CHAIN      FF2879053    7,100    8,100    9,200    8,900                       8,325    33,300

100087905   052173575   *FRED'S PHARMACY #3146              VANCLEAVE       MS   39565      CHAIN      FF2891821   12,600   12,600   12,800   12,100     500              10,120    50,600

100087789   052173492   *FRED'S PHARMACY #3874             SWEETWATER       TN   37874      CHAIN      FF2892532    8,800    7,500    8,000    8,100                       8,100    32,400

100090661   023136093   FARMACIA UNION LLC                  UNION CITY      NJ   07087   INDEPENDENT   FF2894079     100                        500                         300       600

100088122   018201251   *FRED'S PHARMACY #2084           CHEROKEE VILLAGE   AR   72529      CHAIN      FF2933225   14,600   13,500   16,200   16,500                      15,200    60,800

100088034   052173732   *FRED'S PHARMACY #2486             LEAKESVILLE      MS   39451      CHAIN      FF2933237    8,400    9,000    8,800    8,500    (200)              6,900    34,500

100088041   040109579   *GETWELL DRUG & DOLLAR #6018        GLENWOOD        GA   30428      CHAIN      FF2938782    8,600    6,900    6,100    9,400                       7,750    31,000

100088040   044206847   *FRED'S PHARMACY #3886                RIPLEY        TN   38063      CHAIN      FF2940701   34,000   35,000   35,000   30,500                      33,625   134,500

100088024   040176149   *FRED'S PHARMACY #2524              MOULTRIE        GA   31768      CHAIN      FF2944088    8,100    5,600    6,100    7,100                       6,725    26,900

100088025   040176131   *FRED'S PHARMACY #2059               CAMILLA        GA   31730      CHAIN      FF2944090    4,900    4,000    4,400    3,800                       4,275    17,100

100087703   052173369   *FRED'S PHARMACY #2014               BRANDON        MS   39047      CHAIN      FF2946664    3,200    3,100    2,420    9,700                       4,605    18,420

100088299   041142398   FISHERSVILLE FAMILY PHCY CPA        STAUNTON        VA   24401   INDEPENDENT   FF2948101    4,000    3,500    2,500    2,000   2,000      1,060    2,510    15,060

100088222   055029587   *FRED'S PHARMACY #3774             HARDEEVILLE      SC   29927      CHAIN      FF2967492    1,600    2,300    3,300    2,000                       2,300     9,200

100088221   018201558   *FRED'S PHARMACY #2529             MAYFLOWER        AR   72106      CHAIN      FF2982507   17,100   17,900   16,200   21,000     500              14,540    72,700

100088714   046040691   FIVE POINTS PHCY OF COCOA LLC         COCOA         FL   32922   INDEPENDENT   FF3001942    2,000    3,000   18,000    1,500   2,500      1,500    4,750    28,500

100088388   052177154   *FRED'S PHARMACY #2696                PURVIS        MS   39475      CHAIN      FF3005697    6,700    6,800   13,000    6,000     100               6,520    32,600

100088255   040109850   *FRED'S PHARMACY #2554                OCILLA        GA   31774      CHAIN      FF3006980    3,400    3,000    4,600    4,800     100               3,180    15,900

100088387   052177147   *FRED'S PHARMACY #2539              FLORENCE        MS   39073      CHAIN      FF3010042    7,300    7,800    6,100    9,700                       7,725    30,900

100088386   037127233   *FRED'S PHARMACY #2644              PINEVILLE       LA   71360      CHAIN      FF3018327    6,300    5,500    7,800    5,500     100               5,040    25,200

100089209   021167205   FREEMAN PHARMACY CPA             CONWAY SPRINGS     KS   67031   INDEPENDENT   FF3047063    1,100    3,100    3,700    1,500   1,400      1,700    2,083    12,500

100109006   021174946   FREEMAN PHARMACY 340B            CONWAY SPRINGS     KS   67031   INDEPENDENT   FF3047063     700      400     1,000     900                         750      3,000

100090324   046042143   EMBASSY PHARMACY                   PORT RICHEY      FL   34668   INDEPENDENT   FF3061570    2,600    2,000    1,000    3,200   1,100       800     1,783    10,700

100088918   018203885   *FRED'S PHARMACY #2074              HAUGHTON        LA   71037      CHAIN      FF3067471    5,400    6,800    6,000    6,000                       6,050    24,200

100089151   023135061   FAMILY PHARMACY OF MOSCOW, INC       MOSCOW         PA   18444   INDEPENDENT   FF3079515    1,400    1,900    1,600    1,500   1,800      2,100    1,717    10,300

100089411   021026922   FOUR STATES PHARMACY CPA             GALENA         KS   66739   INDEPENDENT   FF3082865   12,700    9,900    9,600   17,300   9,400     24,600   13,917    83,500

100088958   044209908   *FRED'S PHCY #2954 - SOUTHHAVE      SOUTHAVEN       MS   38671      CHAIN      FF3120300    3,800    2,300    3,000    2,900     500               2,500    12,500

100089782   052213942   *FRED'S PHARMACY #8074              VICKSBURG       MS   39180      CHAIN      FF3141455    4,500    3,500    5,000    3,500     500               3,400    17,000

100089220   044210070   *FRED'S PHARMACY #1871              HUMBOLDT        TN   38343      CHAIN      FF3142623    4,900    3,900    4,800    4,900                       4,625    18,500

100089295   044210112   *FRED'S XPRESS #3888 OXFORD          OXFORD         MS   38655      CHAIN      FF3159060    1,900    2,100    2,600    2,200                       2,200     8,800

100089222   052213801   *GETWELL DRUG & DOLLAR #6026          EUTAW         AL   35462      CHAIN      FF3166685    9,700    8,500    8,300    8,700                       8,800    35,200

100089812   012103531   FARMACIA DEL PUEBLO                 CALEXICO        CA   92231   INDEPENDENT   FF3192971    4,000    4,000   10,100   15,500     200               6,760    33,800

100067433   018178962   FLOWER MOUND EMERGENCY CENTER     FLOWER MOUND      TX   75028    HOSPITAL     FF3200475     100      100               100                         100       300

100089942   040114108   *FRED'S PHARMACY #3904             SUMMERVILLE      GA   30747      CHAIN      FF3229122   30,400   26,000   29,600   28,200                      28,550   114,200

100089889   018236760   FOREST PARK MED CTR AT FRISCO         FRISCO        TX   75034    HOSPITAL     FF3241596     200      800      700     2,400     600       700      900      5,400

100090350   023136028   *SHOPRITE PHARMACY #800             PLAINVIEW       NY   11803      CHAIN      FF3249821              200      100                                  150       300

100090136   040114173   *FRED'S PHARMACY #3906              SOPERTON        GA   30457      CHAIN      FF3262665    3,700    4,000    3,100   12,600   (5,000)             3,680    18,400
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100091469   032121525   FRANCISCAN PHCY 1ST AVE            FEDERAL WAY     WA   98003       HOSPITAL        FF3293076     900      900     1,000    1,000    1,300    2,800    1,317     7,900

100091459   018258939   FINLEY PHARMACY, PLLC CPA            BENTON        AR   72015     INDEPENDENT       FF3359331   23,000   41,100   46,900   24,600   36,500   40,500   35,433   212,600

100091046   044210807   *FRED'S PHARMACY #3544 -CORINT       CORINTH       MS   38834        CHAIN          FF3376084    9,600    8,800    7,700    8,700     500              7,060    35,300

100091045   052070128   *FRED'S PHARMACY #3518               MCCOMB        MS   39648        CHAIN          FF3379903    7,100    7,000    7,300    7,800     300              5,900    29,500

100090161   008046912   FOX DRUG STORE CLOSED DOOR           FOWLER        CA   93625   LONG TERM CARE      FF3400962    7,700    2,800    6,100   10,100    4,900    3,500    5,850    35,100

100092133   055031658   FAMILY PHARMACY CPA                 NINETY SIX     SC   29666     INDEPENDENT       FF3416927    4,200    5,000    2,500    3,500    6,500    2,500    4,033    24,200

100106601   044220715   *GETWELL DRUG & DOLLAR #6028      TOMPKINSVILLE    KY   42167        CHAIN          FF3421283    8,300    9,000    9,100    9,000                      8,850    35,400

100091196   037129692   *FRED'S PHARMACY #3924             GREENSBURG      LA   70441        CHAIN          FF3451680    3,800    3,300    3,100    3,900     100              2,840    14,200

100091257   044210914   *FRED'S PHARMACY #3911              SMITHVILLE     TN   37166        CHAIN          FF3469485    7,100    7,800    8,500    6,500                      7,475    29,900

100091972   052214098   *FRED'S PHARMACY #3554              ANDALUSIA      AL   36420        CHAIN          FF3480516   31,200   30,200   37,000   23,400     600             24,480   122,400

100091973   044211102   *FRED'S PHARMACY #2561               MEMPHIS       TN   38125        CHAIN          FF3488916     700      900      700      900                        800      3,200

100092110   044211151   *FRED'S PHARMACY #2559               MEMPHIS       TN   38125        CHAIN          FF3514797     800      700      500      400                        600      2,400

100093839   019162354   FROEDTERT HLTH MF CL PHCY        MENOMONEE FALLS   WI   53051       HOSPITAL        FF3523722                                        4,100    3,400    3,750     7,500

100092104   044211136   *FRED'S PHARMACY #2564               MEMPHIS       TN   38119        CHAIN          FF3525170    1,400     900     1,100    1,400     100               980      4,900

100092302   040114587   *FRED'S PHARMACY #2544              LEESBURG       GA   31763        CHAIN          FF3534852    2,600    3,100    2,500    3,500     100              2,360    11,800

100093037   020159178   FAMILY PHARMACY #2                  LAS VEGAS      NV   89102     INDEPENDENT       FF3548940                                        1,500    2,600    2,050     4,100

100092819   044211672   *FREDS PHCY #3918                  SCOTTS HILL     TN   38374        CHAIN          FF3588398   10,000    9,100    8,500    7,600     100              7,060    35,300

100110556   023161786   FISHTOWN PHARMACY                  PHILADELPHIA    PA   19125     INDEPENDENT       FF3599466                                        1,200     100      650      1,300

100093109   052214858   *FRED'S PHARMACY #2614             PELAHATCHIE     MS   39145        CHAIN          FF3599719    5,800    4,400    3,300    7,100                      5,150    20,600

100093044   052214841   *FRED'S PHARMACY #2089                FOLEY        AL   36535        CHAIN          FF3603708   15,100   14,000   11,600   14,000     100             10,960    54,800

100093115   018396432   *FRED'S PHARMACY #2091             BOSSIER CITY    LA   71112        CHAIN          FF3654907    5,200    5,700    5,600    5,600                      5,525    22,100

100093159   018396457   *FRED'S PHARMACY #2654             BOSSIER CITY    LA   71111        CHAIN          FF3683528    4,900    5,100    5,300    5,000                      5,075    20,300

100104290   023152108   FARMACIA SAN ANTONIO (ARX)           CAMDEN        NJ   08105     INDEPENDENT       FF3703065                               2,000                      2,000     2,000

100104729   032151852   FRANCISCAN PHARMACY TACOMA           TACOMA        WA   98405       HOSPITAL        FF3709473   10,700    7,000    9,500    9,300   13,300   12,700   10,417    62,500

100101146   055038141   NOVANT HEALTH PHCY (OS) (WAC)     WINSTON SALEM    NC   27103       HOSPITAL        FF3730707             1,000    2,600    1,100    8,300    4,800    3,560    17,800

100101148   055038166   NOVANT HEALTH PHCY (OS) (340B)    WINSTON SALEM    NC   27103   PHS 340B HOSPITAL   FF3730707    3,200    3,900    3,900    2,000                      3,250    13,000

100096987   052114660   *FRED'S PHARMACY #3564              BRUNDIDGE      AL   36010        CHAIN          FF3742891    9,000    7,500    8,200    8,900                      8,400    33,600

100101141   040117861   *FRED'S PHARMACY #2571              COLUMBUS       GA   31906        CHAIN          FF3786766    2,200    2,800    3,100    3,000                      2,775    11,100

100103768   052222703   *FRED'S PHARMACY #3569               FAYETTE       AL   35555        CHAIN          FF3788518    7,200    9,100    6,900    8,500     200              6,380    31,900

100104174   019180919   FROEDTERT HLTH PLNK RD PHY 340     WAUWATOSA       WI   53226   PHS 340B HOSPITAL   FF3799028    1,500    1,700    1,200    3,200    4,300    2,300    2,367    14,200

100108678   032152710   FAMILY PHARMACY       CPA           EDMONDS        WA   98026     INDEPENDENT       FF3804552   10,000    2,600    6,700    8,400    7,000    2,100    6,133    36,800

100104053   023151910   FARMAPACK PHARMACY LLC.             LAKEWOOD       NJ   08701     INDEPENDENT       FF3841283     500      500      600      300      600      600      517      3,100

100104422   049194795   FALCON HEALTH CTR PHCY            BOWLING GREEN    OH   43402       HOSPITAL        FF3844532     200      400      300     1,400     200               500      2,500

100109819   049197129   FALCON HLTH CTR PHY OWN USE       BOWLING GREEN    OH   43402       HOSPITAL        FF3844532     100               100                                 100       200

100104122   018167361   FOREST PARK MED CTR SOUTHLAKE      SOUTHLAKE       TX   76092       HOSPITAL        FF3865978              700      400     1,100    1,000     300      700      3,500

100104698   032151845   FRANCISCAN PHCY BONNEY LAKE        BONNEY LAKE     WA   98391       HOSPITAL        FF3871983    1,100                               1,100     800     1,000     3,000

100103919   037133348   *FRED'S PHARMACY #3948              KENTWOOD       LA   70444        CHAIN          FF3884156    6,800    7,600    7,200    6,400    3,500             6,300    31,500

100106441   008116582   FREMONT HOSPITAL                    FREMONT        CA   94538       HOSPITAL        FF3905885     200      100               300      400               250      1,000

100104181   018238162   *FRED'S PHARMACY #1908              HAMBURG        AR   71646        CHAIN          FF3916650   10,100   10,900   11,100   10,900     600              8,720    43,600

100105894   055039446   NOVANT HEALTH PHCY(WG) (340B      WINSTON SALEM    NC   27103   PHS 340B HOSPITAL   FF3934519     800      900     1,100    1,000    1,700    7,800    2,217    13,300

100105944   055039487   NOVANT HEALTH PHCY (WG) (WAC)     WINSTON SALEM    NC   27103       HOSPITAL        FF3934519     500      200      600     1,300    6,500    2,600    1,950    11,700

100104500   044219683   *FRED'S PHARMACY #3084             SOUTHAVEN       MS   38671        CHAIN          FF3946348    1,300    1,100     500     1,300                      1,050     4,200

100104933   055039032   FIRSTHTH MOORE RG HP HOKE CAMP      RAEFORD        NC   28376       HOSPITAL        FF4042608     200      300      300      600               800      440      2,200

100105104   052223263   *FRED'S PHCY # 3109                   TERRY        MS   39170        CHAIN          FF4067220    7,500   10,000    8,500    8,600                      8,650    34,600
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100104617   018403501   *FRED'S PHARMACY #3958               LAKE PROVIDENCE     LA   71254        CHAIN          FF4067268    5,300     4,500    4,700     7,500                      5,500    22,000

100105015   040120626   *FRED'S PHARMACY #3992                    ROME           GA   30165        CHAIN          FF4135655    6,300     6,600    6,100     6,500                      6,375    25,500

100105030   018114462   *FRED'S PHARMACY #2679                 SHREVEPORT        LA   71107        CHAIN          FF4150075    8,500    10,200    9,400    11,700      -               7,960    39,800

100106787   055041848   NOVANT HEALTH PHCY (KV) (340B)        KERNERSVILLE       NC   27284   PHS 340B HOSPITAL   FF4150669    1,500     3,300    3,620     2,500    6,200   14,600    5,287    31,720

100106788   055041855   NOVANT HEALTH PHCY (KV) (WAC)         KERNERSVILLE       NC   27284       HOSPITAL        FF4150669     100       460     1,100     2,000                       915      3,660

100105775   040120816   *FRED'S PHARMACY #003994                 TRENTON         GA   30752        CHAIN          FF4164719   12,100    12,100   10,500    11,000                     11,425    45,700

100105943   044220657   *FRED'S PHARMACY #3960                   FRANKLIN        KY   42134        CHAIN          FF4167347   10,480    13,500   10,200    18,600                     13,195    52,780

100106557   052223750   *FRED'S PHARMACY #2576                 POPLARVILLE       MS   39470        CHAIN          FF4184634    3,600     3,500    3,200     4,900                      3,800    15,200

100107017   037134635   *FRED'S PHARMACY # 2569                   BRUSLY         LA   70719        CHAIN          FF4253477    1,300      900     1,200      700                       1,025     4,100

100106757   041153973   FAUQUIER HOSPITAL                      WARRENTON         VA   20186       HOSPITAL        FF4260674    1,300              1,100               400      500      825      3,300

100107792   019185942   FROEDTERT EYE INSTTUTE PHY PHS          MILWAUKEE        WI   53226   PHS 340B HOSPITAL   FF4261169                                  100      300      300      233       700

100109463   010237883   FINNEYS INSTITIONAL                   NORTH CANTON       OH   44720   LONG TERM CARE      FF4265117     (100)             1,800      900      500               775      3,100

100107310   037134692   *FRED'S PHARMACY # 2566                BATON ROUGE       LA   70814        CHAIN          FF4296201    2,000     2,400    1,800     2,300     300              1,760     8,800

100107260   044220764   *FRED'S PHARMACY #2599                   MEMPHIS         TN   38104        CHAIN          FF4300909    1,800     2,400    2,200     2,500                      2,225     8,900

100107383   052224253   *FAMILY PHARMACY (FRED'S #3587           MCCOMB          MS   39648        CHAIN          FF4301038   25,000    24,500   23,200    23,800     500             19,400    97,000

100107382   037134726   *FRED'S PHARMACY #3585                  DEQUINCY         LA   70633        CHAIN          FF4326648    6,020     6,600    4,700     5,500     300              4,624    23,120

100107426   037134775   *FRED'S PHARMACY #3186                  WESTLAKE         LA   70669        CHAIN          FF4351312    3,600     4,000    3,500     2,300                      3,350    13,400

100108878   032152736   FRANCISCAN PHARMACY AUBURN               AUBURN          WA   98002       HOSPITAL        FF4368002               100      (100)     200               400      150       600

100107959   040121483   *FRED'S PHARMACY #1496                 CHICKAMAUGA       GA   30707        CHAIN          FF4370982    5,600     5,000    5,000     6,000     500              4,420    22,100

100109200   020166892   FARMER'S UPTOWN PHARMACY, LLC            ROSWELL         NM   88201     INDEPENDENT       FF4383650    2,200      500      600                500     2,300    1,220     6,100

100108087   055044271   *FRED'S PHARMACY #3589 RX               HAYESVILLE       NC   28904        CHAIN          FF4394425   11,700    10,700   12,100    12,100                     11,650    46,600

100107425   037134767   *FRED'S PHARMACY #2659                    BAKER          LA   70714        CHAIN          FF4409959    1,700     2,300    1,600     1,600     200              1,480     7,400

100109676   052224824   *FRED'S PHARMACY #3716 RX               COLUMBUS         MS   39702        CHAIN          FF4480670   19,600    22,600   19,000    19,500     600             16,260    81,300

100108821   040121541   *FRED'S PHARMACY #3074                 STATESBORO        GA   30458        CHAIN          FF4484464    1,300     1,000    1,200     1,200     200               980      4,900

100109656   044221309   *FRED'S PHARMACY #3710 RX              NEW MADRID        MO   63869        CHAIN          FF4490621   14,300    13,400   11,000    11,900     300             10,180    50,900

100109954   037135905   FINNAN'S FAMILY PHCY (5269)              SLIDELL         LA   70461     INDEPENDENT       FF4509672                                 2,000    3,000             2,500     5,000

100110675   046060541   FLORIDA HEALTH CARE PLANS                SANFORD         FL   32771     HEALTH PLAN       FF4589517                                                    200      200       200

100109675   040122077   *FRED'S PHARMACY # 3712 RX             MONTEZUMA         GA   31063        CHAIN          FF4596702    2,000    19,800   18,200    16,100    3,500            11,920    59,600

100110253   055045187   *FRED'S PHARMACY #3718 RX                KERSHAW         SC   29067        CHAIN          FF4652651              6,000   14,900    13,300    5,100             9,825    39,300

100110417   037136093   *FRED'S PHARMACY #3722 RX               COUSHATTA        LA   71019        CHAIN          FF4706199               100     4,500     5,400                      3,333    10,000

100109202   040121681   *FRED'S PHARMACY #1874                 GREENSBORO        GA   30642        CHAIN          FF4714792              3,300    8,300    13,100     100              6,200    24,800

100110460   037136119   *FRED'S PHARMACY #2864 RX            SAINT MARTINVILLE   LA   70582        CHAIN          FF4740456                       8,400     7,400                      7,900    15,800

100110876   008000280   FREMONT MEDICAL CENTER         WAC      YUBA CITY        CA   95991   PHS 340B HOSPITAL   FF4759289                                           300      500      400       800

100110698   040122788   *FRED'S PHARMACY #1424 RX                DALTON          GA   30721        CHAIN          FF4760915                       6,600     5,100                      5,850    11,700

100110852   044000259   *FRED'S PHARMACY #3726 RX             MORGANTOWN         KY   42261        CHAIN          FF4775346                                31,100    3,000            17,050    34,100

100110809   021176925   *FRED'S PHARMACY #3728 RX               MABELVALE        AR   72103        CHAIN          FF4801216                                11,100     200              5,650    11,300

100110662   055045500   *FRED'S PHARMACY #3720 RX                 DUNN           NC   28334        CHAIN          FF4819491                       4,340     5,620     500              3,487    10,460

100111471   018000480   FOREST PARK MEDCAL CTR FT WRTH         FORT WORTH        TX   76109       HOSPITAL        FF4907246                                           600      200      400       800

100076164   008050021   ALLCARE PHARMACY                         SALINAS         CA   93901     INDEPENDENT       FG0055524    9,500    14,600   25,700     4,100   14,600    9,300   12,967    77,800

100057631   010109629   G&M HEALTHCARE PLLC      APSC             CORBIN         KY   40701     INDEPENDENT       FG0132201    8,100     9,200    9,700    10,300    7,600    5,800    8,450    50,700

100073100   018143289   GIBBS DRUG STORE         CPA             NOCONA          TX   76255     INDEPENDENT       FG0132566   52,000     3,600   38,200    12,800   33,900   12,700   25,533   153,200

100075168   024140269   GLENDALE PHARMACY                        G_______        CA   91202     INDEPENDENT       FG0235449    2,800      500     1,700     1,200    2,000    3,500    1,950    11,700

100110284   046060368   GUARDIAN PHCY OF DAYTONA, LLC         ORMOND BEACH       FL   32174   LONG TERM CARE      FG0254552               500     2,500     1,500    8,400    5,100    3,600    18,000

100110278   004103697   WALTZ LONG TERM CARE PHCY               BRUNSWICK        ME   04011   LONG TERM CARE      FG0347737              5,000   10,400    18,200    7,900     300     8,360    41,800
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100110286   046060350   GUARDIAN PHCY OF TAMPA,LLC           ST PETERSBURG     FL   33716   LONG TERM CARE      FG0442121               300     4,500   11,100    7,660   12,200    7,152     35,760

100110291   046060376   GUARDIAN PHCY OF SOUTHEAST FL        DEERFIELD BEACH   FL   33442   LONG TERM CARE      FG0565688              1,100    3,100     700     3,700    6,500    3,020     15,100

100071964   032118752   GHC PHARM BELLEVUE MC 60                BELLEVUE       WA   98004     HEALTH PLAN       FG0889076   19,200    21,200   19,000   27,600                     21,750     87,000

100071821   032120089   GHC PHARM BELLEVUE MC 60 2              BELLEVUE       WA   98004     HEALTH PLAN       FG0889076                                        12,400   18,700   15,550     31,100

100105856   044220616   GOREVILLE PROF PHCY APSC               GOREVILLE       IL   62939     INDEPENDENT       FG0906492    9,600    11,100    7,300   12,000   14,400   10,700   10,850     65,100

100109725   010238055   GEORGE'S FAMILY PHARMACY S CPA           SUNMAN        IN   47041     INDEPENDENT       FG0925543   15,400    14,200   16,300   10,200   12,000    9,800   12,983     77,900

100072091   010123810   TOTAL CARE PHARMACY #3 APSC             DRY RIDGE      KY   41035     INDEPENDENT       FG1019997    4,000     3,800    4,000    4,800    3,800    3,500    3,983     23,900

100072090   010123802   TOTAL CARE PHARMACY #4 APSC            CRITTENDEN      KY   41030     INDEPENDENT       FG1020027    9,100     9,000   10,000    8,000   12,000    9,500    9,600     57,600

100108766   041154351   GRAND ONE LLC DBA ORCHARD PHCY         BALTIMORE       MD   21229     INDEPENDENT       FG1023047    1,000     1,500    1,000     500     1,800     500     1,050      6,300

100072066   018143503   GOOD'S MEDICINE CHEST #114 CPA           TYLER         TX   75701     INDEPENDENT       FG1090632   13,800    41,700   35,600   48,800   39,400   33,700   35,500    213,000

100071628   018143537   GOOD'S MEDICINE CHEST #117 CPA           TYLER         TX   75703     INDEPENDENT       FG1090644   15,600    16,000   23,600   10,700   19,600   44,000   21,583    129,500

100088899   018203802   GLOBAL REHAB-DALLAS (BAYLOR)             DALLAS        TX   75247       HOSPITAL        FG1136058    1,100      300      600     1,100    1,700     600      900       5,400

100088898   018203794   GLOBAL REHAB-FT WORTH(BAYLOR)          FORT WORTH      TX   76132       HOSPITAL        FG1146326    1,300     2,200    2,400    1,600    1,840    2,660    2,000     12,000

100074263   018168799   GENERX DISC PHCY #2       SF             IRVING        TX   75061     INDEPENDENT       FG1196523     100       100      200     1,200                       400       1,600

100070585   037116616   THRIFTY WAY PHARMACY (5348)            CARENCRO        LA   70520     INDEPENDENT       FG1421382     (100)                                                  (100)      (100)

100088862   017092601   *GLACIER RIDGE PHARMACY                 KALISPELL      MT   59901     INDEPENDENT       FG1436042     500                                                    500        500

100084856   055023853   GIBSONVILLE PHARMACY CPA               GIBSONVILLE     NC   27249     INDEPENDENT       FG1454800    5,000     6,500    6,500    6,100    6,400    3,500    5,667     34,000

100091353   019158469   KINDRED HOSPITAL PEORIA                  PEORIA        IL   61605       HOSPITAL        FG1467895     900       400      600     1,300     200      700      683       4,100

100067537   012100859   GRANDVIEW PHARMACY                       CHINO         CA   91710     INDEPENDENT       FG1584956    4,500     4,500    3,500    3,500     100              3,220     16,100

100064564   049055582   GREAT LAKES SPECIALTY HOSPITAL         MUSKEGON        MI   49442       HOSPITAL        FG1659311    1,000      800      600     1,400     100      300      700       4,200

100071193   049175513   GREAT LAKES SPCLTY HSP-OAK LLC        GRAND RAPIDS     MI   49503       HOSPITAL        FG1659323     600       300      400     1,200                       625       2,500

100092321   021107813   GOLDEN PLAINS PHCY SERV CPA             AUGUSTA        KS   67010     INDEPENDENT       FG1683110    5,000     6,000    5,000    8,000    2,700             5,340     26,700

100092371   021168054   GOLDEN PLAINS PHCY SER GRMDCPA          AUGUSTA        KS   67010     INDEPENDENT       FG1683110                                                 15,000   15,000     15,000

100070840   008086827   GILROY MEDICAL PHARMACY                  GILROY        CA   95020     INDEPENDENT       FG1685948    2,000     3,000    3,000    8,000   12,000     800     4,800     28,800

100066839   052147488   G & P PHCY        SF                     BELZONI       MS   39038     INDEPENDENT       FG1720045    4,700     4,600    5,600    3,100    5,600    4,600    4,700     28,200

100074877   018176164   GALLAGHER'S PHARMACY           CPA    GEORGETOWN       TX   78626     INDEPENDENT       FG1751420    6,200     6,200    7,500    9,300    9,100    5,400    7,283     43,700

100066866   056090357   GPHA PHARMACY(340B)(X)                PHILADELPHIA     PA   19124    PHS 340B CLINIC    FG1757787     800      1,800     700     1,100    1,800     800     1,167      7,000

100091941   049188912   GLORY CARE PHARMACY                     REDFORD        MI   48239     INDEPENDENT       FG1772727   16,500     1,000                                        8,750     17,500

100104614   018403519   GLOBAL REHAB-SAN ANTONIO,LP            SAN ANTONIO     TX   78258       HOSPITAL        FG1785750    1,400     1,400    1,500    3,400     800      700     1,533      9,200

100056276   032054577   GORDON'S PHARMACY & GIFTS LLC         CANYONVILLE      OR   97417     INDEPENDENT       FG1814804   23,500    25,500   24,500   23,900   20,900   21,300   23,267    139,600

100108041   032152611   GORDONS PHCY & GIFTS LLC 340B         CANYONVILLE      OR   97417    PHS 340B CLINIC    FG1814804    1,000                       1,000                      1,000      2,000

100074647   049179754   WATERFORD SURGICAL CENTER LLC          WATERFORD       MI   48327       HOSPITAL        FG1822091                        500                                 500        500

100088683   046040667   GOODLIFE PHARMACY                      BOCA RATON      FL   33434     INDEPENDENT       FG1852450     100                                                    100        100

100108986   023159756   GALLO'S HEALTH MART PHCY CPA         ROCHELLE PARK     NJ   07662     INDEPENDENT       FG1865318    2,200     1,000    2,500    2,600     500              1,760      8,800

100074746   018176404   GLOBE PHARMACY            CPA            DALLAS        TX   75212     INDEPENDENT       FG1932311   15,000    15,100   16,000    3,000            14,000   12,620     63,100

100107996   037134999   *GHPMA                                  CONROE         TX   77304     INDEPENDENT       FG1945089    2,800     2,600                                        2,700      5,400

100110036   018405621   GREEN CROSS PHARMACY        CPA         BEDFORD        TX   76021     INDEPENDENT       FG2182171             11,100   10,980    5,200   10,000    9,000    9,256     46,280

100083871   008097642   AVELLA OF SACRAMENTO, INC.            SACRAMENTO       CA   95821     MAIL SERVICE      FG2242698   37,900    37,400   46,600   35,400   47,100   36,000   40,067    240,400

100096410   008111591   AVELLA OF SACRAMENTO, INC 340B        SACRAMENTO       CA   95821    PHS 340B CLINIC    FG2242698               500                                          500        500

100084793   056100966   GADDE & CHIRRA INC KRKWOOD PHY         WILMINGTON      DE   19808     INDEPENDENT       FG2376261               500     1,000    1,100    1,000    1,500    1,020      5,100

100084176   052163097   UNIV OF ALA BHAM (340B)                BIRMINGHAM      AL   35294   PHS 340B HOSPITAL   FG2415784    6,100              6,400    4,100    4,100             5,175     20,700

100071377   008140012   GOOD SAMARITAN HOSP PHY #712/Q          SAN JOSE       CA   95124       HOSPITAL        FG2505759    3,200     3,500    2,000    3,650    3,700    2,900    3,158     18,950

100109726   010238063   GEORGE'S FAMILY PHARMACY V CPA         VERSAILLES      IN   47042     INDEPENDENT       FG2559714   10,000    11,500   13,600    8,900   10,100    7,600   10,283     61,700

100087046   020144980   SALIBAS EXTENDED CARE PHARMACY         ORO VALLEY      AZ   85755   LONG TERM CARE      FG2610702    1,000              1,000     600     1,000              900       3,600
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100086858   023107979   GLAD RX                             SCHUYLKILL HAVEN   PA   17972     INDEPENDENT       FG2658271    1,500     1,800    2,100     4,700    1,200   1,300    2,100   12,600

100108001   037135012   *GHPMA2                             THE WOODLANDS      TX   77384     INDEPENDENT       FG2701046    6,500     6,500                                        6,500   13,000

100087570   049185652   *GREAT LAKES PHCY OF MIDLANDSF          MIDLAND        MI   48640     INDEPENDENT       FG2815465   10,700    12,100   11,000                              11,267   33,800

100087799   044206383   GOODMAN DRUG COMPANY, INC               CORNING        AR   72422     INDEPENDENT       FG2869153   11,100    11,500   11,700     9,000   17,160   5,800   11,043   66,260

100087045   008102848   GATEWAY PHARMACY CPA                   FAIRFIELD       CA   94533     INDEPENDENT       FG2870182    5,300     6,600    6,100     5,000    8,000   6,000    6,167   37,000

100104859   008116160   GATEWAY PHARMACY 340B                  FAIRFIELD       CA   94533   PHS 340B HOSPITAL   FG2870182    2,700     1,100    2,500     2,700                     2,250    9,000

100088680   023134114   GOODMAN PHARMACY LLC                     BRONX         NY   10451     INDEPENDENT       FG2885602     500       500                100                       367     1,100

100088792   056020479   GPHA PHARMACY 340B                    PHILADELPHIA     PA   19143    PHS 340B CLINIC    FG2936269               100      400       400      400     500      360     1,800

100088578   056020453   GPHA PHARMACY (LINCARE)               PHILADELPHIA     PA   19143     INDEPENDENT       FG2936269     200       100      200       200                       175      700

100088381   021010066   GALICHIA HEART HOSPITAL #712            WICHITA        KS   67220       HOSPITAL        FG2966832    1,400     1,100     900       900     1,420    460     1,030    6,180

100103861   023151795   GOLDSTEIN, RICHARD E (DVM)             NEW YORK        NY   10065     ALT CHANNEL       FG3036008    2,400     2,400    2,400     2,400    4,600            2,840   14,200

100107463   017098418   COLE DRUG CPA                          BIG TIMBER      MT   59011     INDEPENDENT       FG3348390                       1,500     5,200    2,000            2,900    8,700

100091092   010225680   GREAT SCOT 90 PHCY APSC             NORTH BALTIMORE    OH   45872     INDEPENDENT       FG3352868    5,600     3,900    4,700     9,300            2,200    5,140   25,700

100090675   019157693   GUARDIAN PHCY-INDIANAPOLIS LTC        INDIANAPOLIS     IN   46278   LONG TERM CARE      FG3378684     500      1,100    1,500      500     6,000   8,100    2,950   17,700

100092282   046042911   BRANDON REGIONAL HOSP EMER             PLANT CITY      FL   33567       HOSPITAL        FG3396214               100                 50                        75      150

100092334   020159004   GUARDIAN ANGEL PHARMACY                 EL PASO        TX   79936     INDEPENDENT       FG3432298   10,400     6,500    6,800     9,300    6,000   5,000    7,333   44,000

100109976   010238253   GREEN RIVER PHARMACY       CPA          LIBERTY        KY   42539     INDEPENDENT       FG3486455             18,700   12,300    22,600    3,100           14,175   56,700

100092861   049189324   GRANT PHCY         SF                 SOUTHFIELD       MI   48034     INDEPENDENT       FG3540312    7,400     7,800   10,000     8,000    7,800   4,600    7,600   45,600

100096409   020159715   GLOBALREHAB INST SCOTTSDALE           SCOTTSDALE       AZ   85258       HOSPITAL        FG3601538    1,000      800      300       500     2,080   1,200     980     5,880

100093181   044211953   GOOD SAMARITAN PLAZA PHARMACY        MOUNT VERNON      IL   62864       HOSPITAL        FG3603253    2,000     3,000    2,000     3,600    4,000   7,900    3,750   22,500

100094317   023137422   GENERATION PHARMACY GROUP LLC          BOONTON         NJ   07005   LONG TERM CARE      FG3615602               800                                 300      550     1,100

100106709   023153304   GROVE PHARMACY (GPO) CPA               MONTCLAIR       NJ   07042     INDEPENDENT       FG3624384     400      1,200    1,700      300      700     600      817     4,900

100094276   021050765   GLMHC PHARMACY LLC CPA                   MIAMI         OK   74354     INDEPENDENT       FG3639462     200                                                    200      200

100092777   046043109   GREAT CARE PHARMACY #2                   MIAMI         FL   33142     INDEPENDENT       FG3669441     (100)     200      200       100              500      180      900

100109704   010238048   GEORGE'S FAMILY PHARMACY L CPA       LAWRENCEBURG      IN   47025     INDEPENDENT       FG3722750    5,700     4,700    5,200     5,700    5,100   4,500    5,150   30,900

100104235   021172304   GRANT COUNTY DRUG CPA                   ULYSSES        KS   67880     INDEPENDENT       FG3796503    2,100    22,700   16,400    21,800            8,000   14,200   71,000

100096777   040115352   FITZGERALD'S PHARMACY CPA NEW          COLUMBUS        GA   31901     INDEPENDENT       FG3857402   10,000    10,200   11,100    10,300   14,500   7,500   10,600   63,600

100104115   041153296   GOOD HLTH PHCY AT MARY IMMAC         NEWPORT NEWS      VA   23602       HOSPITAL        FG3860562    3,200     2,300    2,300     5,400    1,500   2,200    2,817   16,900

100104602   041153502   WECARE PHARMACY                        COLUMBIA        MD   21045     INDEPENDENT       FG3934482     300       400      (200)     100      900              300     1,500

100104536   010235200   GEORGETOWN APOTHECARY        APSC    GEORGETOWN        KY   40324     INDEPENDENT       FG3945687    4,600     3,100    8,200     4,500    3,500   4,000    4,650   27,900

100104702   041153577   GOOD HEALTH PHCY-HARBOUR VIEW           SUFFOLK        VA   23435       HOSPITAL        FG4059704    2,300     1,500    2,600     1,600    4,100            2,420   12,100

100109377   041154526   GOOD HLT PHCY-HARBOURVIEW WAC           SUFFOLK        VA   23435       HOSPITAL        FG4059704                                          1,300   1,100    1,200    2,400

100057470   046131631   FLORIDA CIVIL COMMITMENT CTR            ARCADIA        FL   34266       ALT SITE        FG4091740    1,100     1,700     500       100      200    1,400     833     5,000

100106003   008116483   GKN RX INC CPA                         LIVINGSTON      CA   95334     INDEPENDENT       FG4122139    6,000     4,000    4,600     4,100    2,400   7,000    4,683   28,100

100110882   008000287   GKN RX INC GPO   CPA                   LIVINGSTON      CA   95334     INDEPENDENT       FG4122139                                          2,000            2,000    2,000

100106822   055041988   GP PHARMACY, LLC                       FLORENCE        SC   29501     INDEPENDENT       FG4124929              2,200    3,500     2,500    3,000    500     2,340   11,700

100104946   019182006   GENOA PHARMACY, INC. CPA                 GENOA         IL   60135     INDEPENDENT       FG4139071    2,800     3,500    3,600     3,900    3,300   3,700    3,467   20,800

100106567   018396192   GOLDSTAR PHARMACY                   COLLEGE STATION    TX   77845     INDEPENDENT       FG4179013    2,400     2,500    2,500     2,200    4,500   4,200    3,050   18,300

100106767   018390963   GRAND AVE PHARMACY CPA               PFLUGERVILLE      TX   78660     INDEPENDENT       FG4210388    7,500              7,000     7,600            6,000    7,025   28,100

100066388   055143214   GIANT DISCOUNT PHARMACY(X) CPA          NEESES         SC   29107     INDEPENDENT       FG4323147   16,300              6,000      100     4,400   3,500    6,060   30,300

100110150   041154781   GOOD HEALTH PHCY @ RICHMD COMM         RICHMOND        VA   23223       HOSPITAL        FG4506260              2,100    2,400     2,900    4,000   2,500    2,780   13,900

100110722   010238808   GEORGE'S FAMILY PHCY INC CPA             MILAN         IN   47031     INDEPENDENT       FG4618712                                          4,200   3,000    3,600    7,200

100109488   018405118   GREENBRIAR PHARMACY CPA                 PONDER         TX   76259     INDEPENDENT       FG4725808                       2,400     1,200    3,600   4,100    2,825   11,300

100110626   040122770   GRANTVILLE PHARMACY CPA               GRANTVILLE       GA   30220     INDEPENDENT       FG4726139                                 3,800            1,000    2,400    4,800
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100109540   023160630   GALLO'S PHARMACY, LLC (ARX)               MAHWAH           NJ   07430     INDEPENDENT       FG4850497    1,500      100       200                                 600       1,800

100095442   023145698   WALGREENS #11054         DSD             PERRYVILLE        MD   21903     WALGREENS         FH0073178    5,400     6,000     6,100    5,530    6,700    4,300    5,672     34,030

100058632   049118059   HFMC-ONE FORD PLACE 550 RETAIL            DETROIT          MI   48209     INDEPENDENT       FH0083799     900      1,900     1,400    1,700    2,700    2,200    1,800     10,800

100074196   049125153   HENRY FORD MED CTR PHCY 340B              DETROIT          MI   48209   PHS 340B HOSPITAL   FH0083799     700      1,200      800      900      500               820       4,100

100094633   041146449   WALGREENS #11283         DSD              CHESTER          MD   21619     WALGREENS         FH0091621    8,100     7,400     8,400    8,800    7,420    8,530    8,108     48,650

100073102   018143305   HASKELL CLINICAL SERVICES CPA             HASKELL          TX   79521   LONG TERM CARE      FH0091784     500      1,000      500      100      500      800      567       3,400

100095400   023145623   WALGREENS #11037        DSD              NORTH EAST        MD   21901     WALGREENS         FH0094110    4,110     6,280     4,700    7,480    6,600    3,000    5,362     32,170

100094802   023138503   WALGREENS #10977         DSD               ELKTON          MD   21921     WALGREENS         FH0094691    8,500     5,800     6,400    7,900    5,200    5,500    6,550     39,300

100095720   041151407   WALGREENS #11030         DSD           WEST CHESTER        PA   19382     WALGREENS         FH0096710    2,100     2,700     3,200    2,320    2,200    2,400    2,487     14,920

100095430   041149906   WALGREENS #11074         DSD              OXFORD           PA   19363     WALGREENS         FH0096722    5,400     5,400     4,600    5,900    5,000    4,200    5,083     30,500

100094894   041147108   WALGREENS #11056         DSD             GLEN MILLS        PA   19342     WALGREENS         FH0096746    3,360     1,900     2,600    2,200    2,300    2,790    2,525     15,150

100095721   041151415   WALGREENS #11076         DSD           WEST CHESTER        PA   19382     WALGREENS         FH0096760              1,580      500     1,000    1,000     700      956       4,780

100094485   041146258   WALGREENS #11077         DSD             BOOTHWYN          PA   19061     WALGREENS         FH0096772    3,300     3,800     3,600    4,300    3,200    2,400    3,433     20,600

100064391   010105486   HEALTHY WAY PHARMACY          APSC        ASHLAND          KY   41102     INDEPENDENT       FH0104555    3,300     4,400     2,800    7,200    3,500    4,500    4,283     25,700

100067099   019143248   HUDSON DRUG SHOP          CPA             PAXTON           IL   60957     INDEPENDENT       FH0107397             24,500    39,900   18,200    6,000    9,800   19,680     98,400

100106560   019183566   HUDSON DRUG SHOP 340B                     PAXTON           IL   60957    PHS 340B CLINIC    FH0107397    3,000     1,500     1,000                               1,833      5,500

100083650   046032565   *CURANT HEALTH FLORIDA,LLC                 LARGO           FL   33777     MAIL SERVICE      FH0133657     (200)                                                   (200)      (200)

100109958   018405548   HERITAGE PHARMACY       CPA                KELLER          TX   76244     INDEPENDENT       FH0157683              8,100     8,620    9,100    6,000    4,000    7,164     35,820

100106452   038110668   HIGHLAND BEHAVIORAL HEALTH               LITTLETON         CO   80130       HOSPITAL        FH0163941     200       200       200      100               200      180        900

100064022   049108555   HENRY FORD HC-BROWNSTOWN PH OP       BROWNSTOWN TWP.       MI   48183       HOSPITAL        FH0171443    5,900     5,600     8,000    7,500   17,600   16,800   10,233     61,400

100071993   010110015   HOFFMAN'S PHARMACY APSC                  ASHTABULA         OH   44004     INDEPENDENT       FH0190582    6,600     4,700    10,600    5,100    3,000    5,200    5,867     35,200

100094758   041146589   WALGREENS #11079         DSD              DELMAR           DE   19940     WALGREENS         FH0203024    5,100     4,700     5,400    5,800    6,360    4,000    5,227     31,360

100086777   010213496   HUTCHESON HOMECARE PHCY                   LEBANON          OH   45036   LONG TERM CARE      FH0274035    1,000                                  500               750       1,500

100069773   018175273   HUNTER'S PRECISION RX         CPA      OKLAHOMA CITY       OK   73120   LONG TERM CARE      FH0301072    2,300      500               2,000              500     1,325      5,300

100106490   040121137   ST. SIMONS BY THE SEA                SAINT SIMONS ISLAND   GA   31522       HOSPITAL        FH0315160     600       700      1,100    1,300     640      880      870       5,220

100067927   037116434   HARBOR HOSPITAL OF SE TEXAS              BEAUMONT          TX   77701       HOSPITAL        FH0347561     800       800       300                                 633       1,900

100071442   038140228   SKY RIDGE SURGICAL CENTER #712           LITTLETON         CO   80124       HOSPITAL        FH0405325     100                 100      200                80      120        480

100110256   038110981   HAVEN BEHVL WARHEROES HOSP IPS            PUEBLO           CO   81004       HOSPITAL        FH0440987                         100      100      100               100        300

100109550   052224725   HARPERSVILLE PHCY SF                   HARPERSVILLE        AL   35078     INDEPENDENT       FH0486565   10,500     7,000    10,000    9,000   10,000    5,000    8,583     51,500

100085723   004069773   HELEN HUNT HLTH CTR PHCY 340B            OLD TOWN          ME   04468    PHS 340B CLINIC    FH0523402    3,300     3,300     3,100    2,000    4,800    3,500    3,333     20,000

100085675   004069716   HELEN HUNT HEALTH CTR PHCY               OLD TOWN          ME   04468     INDEPENDENT       FH0523402    1,300      600       600      600     1,500    3,000    1,267      7,600

100085808   023103945   HOMETOWN PHARMACY (ARX)                BLOOMINGDALE        NJ   07403     INDEPENDENT       FH0542705     800       600       300      900      500     1,000     683       4,100

100085870   046036368   HUMANA PHARMACY INC. #01764                MIAMI           FL   33157     HEALTH PLAN       FH0561286    1,000     1,500     1,000     900     1,300    1,300    1,167      7,000

100095665   041151159   WALGREENS #11135         DSD             TOWNSEND          DE   19734     WALGREENS         FH0567062    4,300     4,400     4,600    4,800    4,600    3,800    4,417     26,500

100076556   049126243   HENRY FORD COTTAGE HOSPITAL PH         GROSSE POINTE       MI   48236   PHS 340B HOSPITAL   FH0574928     100       100       100      300                        150        600

100061629   049119214   HF PHARMACY ADV 320 RETAIL                  TROY           MI   48083     MAIL SERVICE      FH0590869    7,500    20,300     3,200   12,800                     10,950     43,800

100061631   049119255   HF PHARMACY ADV 340B                        TROY           MI   48083   PHS 340B HOSPITAL   FH0590869    9,700    12,200     3,300    7,300                      8,125     32,500

100061629   049119214   HF PHARMACY ADV 320 RETAIL                  TROY           MI   48083     INDEPENDENT       FH0590869             (6,100)                      5,700    4,000    1,200      3,600

100094971   041147215   WALGREENS #11080         DSD             HOCKESSIN         DE   19707     WALGREENS         FH0606927    4,700     5,500     4,800    3,700    5,100    2,800    4,433     26,600

100095569   041150953   WALGREENS #11136         DSD             SELBYVILLE        DE   19975     WALGREENS         FH0646476    5,200     5,400     5,100    5,700    5,100    4,100    5,100     30,600

100074748   023175901   HH PHARMACY CORP(Z)       CPA            BROOKLYN          NY   11208     INDEPENDENT       FH0647000     100       100                                           100        200

100095750   041151555   WALGREENS #11032         DSD            WILMINGTON         DE   19809     WALGREENS         FH0650766    4,000     3,200     4,700    3,900    5,500    3,700    4,167     25,000

100083885   025065516   WALGREENS #15051                         ST. CLOUD         MN   56303     WALGREENS         FH0672356    6,300     6,100     5,500    7,600    8,200    6,000    6,617     39,700

100066853   040143404   HANEY'S DRUG CORNER, INC CPA            CARROLLTON         GA   30117     INDEPENDENT       FH0691700   21,600    23,600    13,000   13,000   16,300   18,000   17,583    105,500
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100076819   049126250   HENRY FORD PHY ADV DETROIT340B        DETROIT       MI   48202   PHS 340B HOSPITAL   FH0709963   19,500   12,600    19,100     4,600    17,600    20,100    15,583     93,500

100076555   049126235   HFMC - SPECIALTY 570 RETAIL           DETROIT       MI   48202     INDEPENDENT       FH0709963    1,800     600      5,200     6,400     4,700               3,740     18,700

100095373   041149732   WALGREENS #11133         DSD          NEWARK        DE   19711     WALGREENS         FH0745894    4,820    4,400     3,700     4,800     3,100     4,200     4,170     25,020

100087917   021166256   HORTON COMM HOSP MWF                  HORTON        KS   66439       HOSPITAL        FH0799568     400               1,000                                    700       1,400

100067517   010177501   HUMANA PHARMACY INC.OH RS MAIL     WEST CHESTER     OH   45069     HEALTH PLAN       FH0825313   47,000   39,600    47,700    69,900   759,900   387,700   225,300   1,351,800

100074396   010141226   HOLZER FAMILY PHARMACY-ATHENS         ATHENS        OH   45701     INDEPENDENT       FH0843777   20,700   16,600    16,100    22,640    22,720    18,100    19,477    116,860

100095568   041150946   WALGREENS #11621         DSD         SEAFORD        DE   19973     WALGREENS         FH0853247   11,700   11,300    12,800    11,300    11,500     8,800    11,233     67,400

100094970   041147207   WALGREENS #11052         DSD        HOCKESSIN       DE   19707     WALGREENS         FH0871916    4,300    3,200     4,100     4,000     4,500     3,200     3,883     23,300

100094764   041146597   WALGREENS #09687         DSD          DOVER         DE   19904     WALGREENS         FH0895815    9,800    8,670     9,800     9,000     8,800     6,700     8,795     52,770

100109708   052224899   HOME TOWN PHARMACY,INC CPA          BROOKWOOD       AL   35444     INDEPENDENT       FH0903422   15,400    8,100                                            11,750     23,500

100110003   020166967   HAVEN SENIOR HORIZONS (IPS)           PHOENIX       AZ   85007   LONG TERM CARE      FH0956788     100      100       200       100        80                 116         580

100077155   041175307   WALGREENS #11322    (WHI)             DOVER         DE   19904     WALGREENS         FH1060538    2,000    2,700     3,000     2,500     3,000     2,700     2,650     15,900

100070881   049140236   HFMC - COLUMBUS 340B                   NOVI         MI   48377   PHS 340B HOSPITAL   FH1096266    5,000    8,400     6,000     3,100     5,300     6,200     5,667     34,000

100074254   049140145   HFMC - COLUMBUS 330 RETAIL             NOVI         MI   48377     INDEPENDENT       FH1096266     500    (1,100)    1,100     5,300     5,400     2,700     2,317     13,900

100073390   010141150   COMMONWEALTH PHARMACY APSC           PIKEVILLE      KY   41501     INDEPENDENT       FH1097749   45,100   41,800    41,800    31,300    34,300    28,900    37,200    223,200

100073651   018168708   MERCY HOSP HEALDTON DRG RM IP        HEALDTON       OK   73438       HOSPITAL        FH1116878                        600       800       380       200       495       1,980

100073193   021102186   HILLTOP DRUGS, ETC INC    SF          NELIGH        NE   68756     INDEPENDENT       FH1120029    2,100    2,200     2,100     2,600     1,500     1,900     2,067     12,400

100069782   049140269   HFMC - FARMINGTON 340B            WEST BLOOMFIELD   MI   48322   PHS 340B HOSPITAL   FH1133874    1,700    3,000     2,200     1,600     2,700     2,000     2,200     13,200

100074259   049140160   HFMC - FARMINGTON 340 RETAIL      WEST BLOOMFIELD   MI   48322     INDEPENDENT       FH1133874     300      600       (100)     600      2,200     3,400     1,167      7,000

100074121   049140079   HENRY FORD W BLOOMFIELD HS PH     WEST BLOOMFIELD   MI   48322       HOSPITAL        FH1133886    2,250    3,200     4,300     2,900     1,600     1,940     2,698     16,190

100095157   041149575   WALGREENS #11132         DSD          MILFORD       DE   19963     WALGREENS         FH1151517    8,430   10,510     8,660     8,860     7,500     6,500     8,410     50,460

100095590   041150987   WALGREENS #11134         DSD          SMYRNA        DE   19977     WALGREENS         FH1154640    5,100    6,700     6,400     4,300     7,300     2,700     5,417     32,500

100072227   049140186   HIGHLAND PHARMACY                   WATERFORD       MI   48328     INDEPENDENT       FH1162964   22,100   23,000    23,300    26,600    17,600    14,600    21,200    127,200

100068087   049140368   HEALTHSMART PHCY          SF        BELLEVILLE      MI   48111     INDEPENDENT       FH1187699   24,000   22,500    23,200    25,500    31,800     8,800    22,633    135,800

100071154   055070516   HIGH POINT REG RETAIL PHCY           HIGH POINT     NC   27262       HOSPITAL        FH1198375                                            600      1,900     1,250      2,500

100067745   010141713   HEALINGSPRINGS PHARMACY              HAMILTON       OH   45013     INDEPENDENT       FH1204673    7,400    6,700     8,000     6,500     7,100     8,200     7,317     43,900

100074138   040075846   HOUSTON HOSPITALS, INC.           WARNER ROBINS     GA   31088       ALT SITE        FH1251533    1,300    1,700     1,800     1,500     2,800     2,440     1,923     11,540

100054466   040040014   HOUSTON HOSPITAL, INC.                 PERRY        GA   31069       HOSPITAL        FH1251557     200      500      1,200      200       280       200       430       2,580

100054468   040040030   HOUSTON HOSPITAL, INC.            WARNER ROBINS     GA   31093       HOSPITAL        FH1251569    2,000    2,200     2,100     1,900     1,900      960      1,843     11,060

100056711   040083899   HOUSTON HOSPITAL, INC     PHS     WARNER ROBINS     GA   31093   PHS 340B HOSPITAL   FH1251569     600      700       200       700       100       320       437       2,620

100096437   040115121   HOUSTON HOSP INC (WAC)            WARNER ROBINS     GA   31093   PHS 340B HOSPITAL   FH1251569                                  500       800       880       727       2,180

100066775   037125385   HOPE PHARMACY INC                    HOUSTON        TX   77008     INDEPENDENT       FH1278349   11,600   12,500    16,200     9,600    13,700    11,600    12,533     75,200

100066327   021115790   HEARTLAND L T ACUTE CARE HOSP      SAINT JOSEPH     MO   64506       HOSPITAL        FH1281485     100                                               -         50         100

100070882   018169631   HYLAND'S PHARMACY, LLC      CPA      WHEELER        TX   79096     INDEPENDENT       FH1296537    4,500   10,500    10,100    11,900     7,700     9,000     8,950     53,700

100088606   018203190   HUNTER'S CREEK PHARMACY           NEW BRAUNFELS     TX   78132     INDEPENDENT       FH1300007     400     1,000                400      1,000      300       620       3,100

100071694   056090035   HOPKINS PHARMACY(Z)                PHILADELPHIA     PA   19128     INDEPENDENT       FH1306984    6,500    4,200     7,400     3,600     4,800     3,400     4,983     29,900

100092746   040114611   HUTCHESON ON PKWY PHCY 340B          RINGGOLD       GA   30736       HOSPITAL        FH1365267     100                                                        100         100

100109709   052224907   HOMEWOOD PHARMACY, INC CPA          HOMEWOOD        AL   35209     INDEPENDENT       FH1373656    4,900    5,100                                             5,000     10,000

100084892   046035071   PRIME RX PHARMACY - SEMINOLE         SEMINOLE       FL   33772     INDEPENDENT       FH1491199    1,000    1,500     1,500     1,500     1,800      500      1,300      7,800

100109921   018405456   HULEN PHARMACY CPA                  FORT WORTH      TX   76133     INDEPENDENT       FH1531169            15,100    15,000    14,000     8,700     9,200    12,400     62,000

100072076   049178129   HLTH PLUS PHCY OF BRIGHTON SF        BRIGHTON       MI   48114     INDEPENDENT       FH1569752    8,500    9,600     9,000    14,200    18,000      300      9,933     59,600

100085893   023104190   HOME DRUGS STORE (ARX)             ASBURY PARK      NJ   07712     INDEPENDENT       FH1573080     300     1,200     1,900     1,000       30                 886       4,430

100068641   040140426   HUGHSTON HOSPITAL         #712       COLUMBUS       GA   31909       HOSPITAL        FH1701348    1,500     900       900      1,300     1,880     1,040     1,253      7,520

100086036   023104331   HOBOKEN FAMILY PHARMACY (ARX)        HOBOKEN        NJ   07030     INDEPENDENT       FH1713191    1,300               200       200       400       400       500       2,500
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100066318   019176131   HEALY'S EDWARD CAMPUS PHCY CPA       WARRENVILLE     IL   60555     INDEPENDENT       FH1755771    2,100    2,400    1,400    3,200    2,100      200     1,900    11,400

100074789   055071589   HALSEY DRUG CO(Z)(GNP)                 SPARTA        NC   28675     INDEPENDENT       FH1822229   11,800   11,600   11,200   10,000   10,400     8,300   10,550    63,300

100085874   046036400   HUMANA PHARMACY INC. #02205         WEST PAM BEACH   FL   33409     HEALTH PLAN       FH1847928     400      500      800      800      700                640      3,200

100075483   055072397   HELPING HANDS PHARMACY(340B)X)        LINCOLNTON     NC   28092    PHS 340B CLINIC    FH1881918    1,500     500      500     1,500    2,000              1,200     6,000

100085916   023104083   HEALTH CENTER PHARMACY (ARX)        WEST NEW YORK    NJ   07093     INDEPENDENT       FH1900427    1,100     400      300      300      300       400      467      2,800

100075537   019160838   SEIFERTS DRUG #2                      WAKARUSA       IN   46573     INDEPENDENT       FH1915086    2,500    1,500    3,000    2,500    6,500      500     2,750    16,500

100075371   044189050   HAYDEN'S PHARMACY          CPA      CARUTHERSVILLE   MO   63830     INDEPENDENT       FH1930432   11,200   15,900   15,200   10,000   20,500     8,600   13,567    81,400

100074968   049179184   HEALTHPLUS SPECIALTY PHCY SF           CANTON        MI   48187   LONG TERM CARE      FH1941435     900     1,200    2,600    2,000   16,400    18,100    6,867    41,200

100092745   055031807   HEROLD'S PHARMACY                    CHARLESTON      SC   29414     INDEPENDENT       FH1962807    5,500    7,300    4,200    5,000    4,700     6,000    5,450    32,700

100089154   018204362   HUBBARD CITY DRUG MHA                  HUBBARD       TX   76648     INDEPENDENT       FH2019532    8,000   10,000   11,700    6,000    6,200    11,000    8,817    52,900

100075622   018199307   HUBBARD CITY DRUG                      HUBBARD       TX   76648     INDEPENDENT       FH2019532                                         600      2,000    1,300     2,600

100086464   046037937   HEARTLAND DISC PHCY LLC CPA          OKEECHOBEE      FL   34974     INDEPENDENT       FH2067785   13,400   16,100   13,700   39,300   41,200    22,300   24,333   146,000

100085527   019141838   HARTIG PHCY SVCS #2 (RX)               WAUKON        IA   52172        CHAIN          FH2099186    1,600    4,600    2,700    4,500    1,500     3,000    2,983    17,900

100083292   012086603   HOAG HOSPITAL IRVINE                    IRVINE       CA   92618       HOSPITAL        FH2151049     700      600      300      300      400       560      477      2,860

100083231   055020537   HIGHLAND HEALTH CTR PHCY(340B)         GASTONIA      NC   28052    PHS 340B CLINIC    FH2241913    2,000    3,500     600     3,500    3,400     5,400    3,067    18,400

100083762   023090555   HOROWITZ-SUPREMO PHCY & SURG          ELIZABETH      NJ   07202     INDEPENDENT       FH2256647              200               100      500                267       800

100084695   010196287   HAROLD CLINIC PHCY     APSC            HAROLD        KY   41635     INDEPENDENT       FH2297922   20,100   23,100   20,500   20,300   23,600    17,400   20,833   125,000

100086556   021161802   HEARTLAND HOMECARE SVCS, INC.       PLATTE WOODS     MO   64151   LONG TERM CARE      FH2306896     600      200      200      100                300      280      1,400

100084496   019138792   HARTIG DRUG CO #24      (RX)         DARLINGTON      WI   53530        CHAIN          FH2310338    5,500    4,500    4,700    4,100    3,900     3,600    4,383    26,300

100083291   012086595   HOAG ORTHOPEDIC INSTITUTE               IRVINE       CA   92618       HOSPITAL        FH2324161    1,900     400     2,300     500     1,680     1,680    1,410     8,460

100084700   019139188   HICKSVILLE PHCY & HOME MED INC        HICKSVILLE     OH   43526     INDEPENDENT       FH2326317    9,400    9,000    5,400    4,600    8,800     7,100    7,383    44,300

100110027   019187393   HICKSVILLE PHCY&HOME MED 340B         HICKSVILLE     OH   43526   PHS 340B HOSPITAL   FH2326317             2,500    4,000    4,500                       3,667    11,000

100084960   023097287   HARLEM RX INC (ARX)                   NEW YORK       NY   10026     INDEPENDENT       FH2326379     400                        100                400      300       900

100084818   049181743   *HARBOR DRUG 2          SF           DECKERVILLE     MI   48427     INDEPENDENT       FH2333691    9,200    3,100    2,000                                4,767    14,300

100084559   021145367   CERNER HEALTH CX - PHARMACY          KANSAS CITY     MO   64137       ALT SITE        FH2344290    1,200    1,500    1,500    1,000     (100)             1,020     5,100

100084915   010196725   NORTHVIEW PHARMACY APSC             MOUNT STERLING   KY   40353     INDEPENDENT       FH2345571    9,500     500     4,000    4,000    5,100     4,500    4,600    27,600

100084839   044190058   HOMETOWN PHARMACY             CPA     DONIPHAN       MO   63935     INDEPENDENT       FH2349973   32,700   34,300   33,100   30,900   32,700    25,100   31,467   188,800

100085204   049182386   HOMESCRIPTS.COM                         TROY         MI   48084     MAIL SERVICE      FH2369913   25,800   29,100   33,700   23,300   44,200     9,500   27,600   165,600

100065223   049043935   HURON VALLEY-SINAI HOSPITAL         COMMERCE TWP     MI   48382       HOSPITAL        FH2397265    2,600    3,400    2,300    3,800    2,760     2,100    2,827    16,960

100066799   049046516   HARPER-HUTZEL HOSP 0020130 RX          DETROIT       MI   48201       HOSPITAL        FH2397289    6,800   11,600   14,100    4,000   10,900    14,600   10,333    62,000

100084961   055024141   YOUR PHARMACY OF LEXINGTON(ARX        LEXINGTON      NC   27292     INDEPENDENT       FH2412637   11,000    9,800   10,500    9,100   20,000     7,700   11,350    68,100

100109522   023160606   HAVEN BEHAV HOSP OF EASTE              READING       PA   19601   LONG TERM CARE      FH2422690                       100                                  100       100

100085126   056102053   HC GOOD NEIGHBOR PHARMACY             TOMS RIVER     NJ   08755     INDEPENDENT       FH2436308    2,600    1,000    1,200              500      1,700    1,400     7,000

100085843   019142604   HFM MEDS TO GO                        MANITOWOC      WI   54220       HOSPITAL        FH2440597     100      600      100     1,000     200                400      2,000

100086647   010213223   HIGHLAWN PREFERRED PHCY APSC         HUNTINGTON      WV   25702     INDEPENDENT       FH2459077    5,800    5,900    5,000    4,700    3,800     5,200    5,067    30,400

100082466   018179044   HEART HOSPITAL OF AUSTIN #712           AUSTIN       TX   78756       HOSPITAL        FH2468709    2,300    1,600    1,000    1,400     180      1,560    1,340     8,040

100100712   018113761   HEART HOSP OF AUSTIN WAC #712           AUSTIN       TX   78756   PHS 340B HOSPITAL   FH2468709                       200      200     1,280               560      1,680

100087331   018197590   HEART HOSP OF AUSTIN 340B #712          AUSTIN       TX   78756   PHS 340B HOSPITAL   FH2468709                       500      400      340        80      330      1,320

100085985   010210435   HEATHER HILL CARE COMMUNTIES           CHARDON       OH   44024       HOSPITAL        FH2480717              200      200               200                200       600

100109827   041154690   HARFORD ROAD PHARMACY                 BALTIMORE      MD   21234     INDEPENDENT       FH2549674     500      900      800     1,000     500       700      733      4,400

100086459   046037903   SISTER EMMANUEL HOSP #712               MIAMI        FL   33133       HOSPITAL        FH2578788                       200                                  200       200

100110199   040122358   HARBIN CLINIC CANCER CTR PHCY           ROME         GA   30165       ALT SITE        FH2624915     700                        600      700                667      2,000

100086917   018197137   HOMETOWN PHARMACY                     CORSICANA      TX   75110     INDEPENDENT       FH2700804    8,800   15,400    1,700   10,700    4,100     8,300    8,167    49,000

100088938   010223370   HOMETOWN PHCY OF CYNTHIANA            CYNTHIANA      KY   41031     INDEPENDENT       FH2717619   10,700    9,400   10,700   15,300   11,700     9,500   11,217    67,300
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100087373   052172981   HAYMON DRUGS, INC      SF           RAINSVILLE       AL   35986       INDEPENDENT        FH2730201   15,400    18,700    18,000   12,600   14,900   15,300   15,817     94,900

100087702   010217323   CCF HURON COM HEALTH CTR PHCY     EAST CLEVELAND     OH   44112       INDEPENDENT        FH2824111     900       600       700     1,000     600      200      667       4,000

100094597   055033191   HEALTH CARE CNTR PHCY (15242)          CARY          NC   27513       WALGREENS          FH2958582    2,200     2,000     2,900    1,500    2,000    2,700    2,217     13,300

100089022   056020560   HEALING PHARMACY                   PHILADELPHIA      PA   19144       INDEPENDENT        FH2965575     200                                  1,000     500      567       1,700

100086378   023106955   HEALTH SPECTRUM PHCY SRV (CHEW      ALLENTOWN        PA   18104       INDEPENDENT        FH2983472    3,500     1,500     3,600    1,500    3,500    1,800    2,567     15,400

100086386   023106989   HEALTH SPECTRUM PHCY SRV (CC)       ALLENTOWN        PA   18103       INDEPENDENT        FH2983484     900      4,000     2,800    5,400    7,880    8,300    4,880     29,280

100086376   023106930   HEALTH SPECTRUM PHCY SRV (MHC)      BETHLEHEM        PA   18017       INDEPENDENT        FH2983509    4,600     2,500      500     1,700    6,000    4,300    3,267     19,600

100091952   044211086   HIGHLAND PHARMACY, INC APSC          GLASGOW         KY   42141       INDEPENDENT        FH3003100   17,000    17,500    22,500   15,000   14,000   10,000   16,000     96,000

100053776   024059170   HARVARD PHARMACY                   LOS ANGELES       CA   90006       INDEPENDENT        FH3012351     500                 500                                 500       1,000

100089123   008107433   SUTTER ELK GROVE SURGERY CNTER      ELK GROVE        CA   95758         HOSPITAL         FH3047354     200        -                                            100        200

100100563   041153007   HILLENDALE PHARMACY                  TOWSON          MD   21286       INDEPENDENT        FH3086344     400                                                     400        400

100089153   010223685   HOME TOWN PHARMACY APSC            BEAVERCREEK       OH   45440       INDEPENDENT        FH3095482    4,600     1,000     5,430    3,500    4,100    4,000    3,772     22,630

100088312   008092718   VINEYARD PHARMACY & GIFTS            ESCALON         CA   95320       INDEPENDENT        FH3119321   14,000    13,800    14,100   15,500   10,500   10,600   13,083     78,500

100090625   032145169   HEALTHPOINT FED WAY PHCY 340B      FEDERAL WAY       WA   98003      PHS 340B CLINIC     FH3126554     200       400       500      600      100               360       1,800

100090153   056020818   HOMETECH ADVANCED THERAPIES         SHARON HILL      PA   19079   HOME HEALTH SERVICES   FH3146253     100                          200                        150        300

100090618   032145177   HEALTHPOINT CTRL FILL PHY 340B        RENTON         WA   98057      PHS 340B CLINIC     FH3157864     900       300               1,300                       833       2,500

100089849   052213983   HACKLEBURG PHCY        SF          HACKLEBURG        AL   35564       INDEPENDENT        FH3165811   38,400    42,500    36,400   39,400   42,600   39,000   39,717    238,300

100089988   056020776   HERNANDO'S HOMETOWN PHCY,CPA         VINELAND        NJ   08360       INDEPENDENT        FH3403956    2,500     5,600     4,700    8,100    5,000    7,500    5,567     33,400

100091508   021167908   *HUDSON PHCY LLC       SF            HUDSON          IA   50643       INDEPENDENT        FH3446906    2,300      200                                          1,250      2,500

100097014   041152991   HOWARD PHARMACY                      COLUMBIA        MD   21045       INDEPENDENT        FH3486051     (100)               500      500       30      100      206       1,030

100092366   032146084   HEALTHPOINT BOTHELL PHY 340B         BOTHELL         WA   98011         ALT SITE         FH3501649    1,700     1,700     2,200    4,100                      2,425      9,700

100092366   032146084   HEALTHPOINT BOTHELL PHY 340B         BOTHELL         WA   98011      PHS 340B CLINIC     FH3501649                                           700               700        700

100092510   055031773   HOKE PHARMACY                        RAEFORD         NC   28376       INDEPENDENT        FH3502336     600       600       700      500     1,000    1,000     733       4,400

100091059   038105452   HEARTLAND PHARMACY-DENVER           ENGLEWOOD        CO   80112     LONG TERM CARE       FH3514266    4,000     4,500     4,100    2,900    1,600    3,500    3,433     20,600

100085200   019140889   BLOOMINGTON NORMAL HEALTHCARE         NORMAL         IL   61761         HOSPITAL         FH3527706               100                100               100      100        300

100110193   020166975   HAVEN BEHAVL SR CARE ABQ (IPS)     ALBUQUERQUE       NM   87108     LONG TERM CARE       FH3551276               200       100      100      100               125        500

100110124   041154773   HANSON PHARMACY                      WALDORF         MD   20601       INDEPENDENT        FH3572636     300       300       400               700      600      460       2,300

100092913   049189332   HEMLOCK PHARMACY CPA                 HEMLOCK         MI   48626       INDEPENDENT        FH3584174                       14,000            17,500            15,750     31,500

100093179   044211946   HILLTOP MARKET PHARMACY CPA         JONESBORO        AR   72401       INDEPENDENT        FH3584338    3,100     4,600     5,200    2,700    4,300    6,000    4,317     25,900

100085853   046036228   HUMANA PHARMACY INC. #01305      DEERFIELD BEACH     FL   33441       HEALTH PLAN        FH3587904     400      1,900      400      100     1,200              800       4,000

100085847   046036160   HUMANA PHARMACY INC. #01103           HIALEAH        FL   33012       HEALTH PLAN        FH3587942     500       300       400      400                        400       1,600

100085876   046036269   HUMANA PHARMACY INC. #01035      WEST PALM BEACH     FL   33406       HEALTH PLAN        FH3605132    2,800     4,200     4,000    3,400    5,200    3,100    3,783     22,700

100104696   004102020   HEBERT REXALL PHARMACY, INC         VAN BUREN        ME   04785       INDEPENDENT        FH3605904    6,600     8,400     7,000    7,300    9,300    5,400    7,333     44,000

100092342   055031724   CENTRAL HARNETT HOSPITAL            LILLINGTON       NC   27546         HOSPITAL         FH3615931     300                 600      100      240      320      312       1,560

100094246   046043877   HUMANA PHARMACY INC #02320       WEST PALM BEACH     FL   33417       HEALTH PLAN        FH3665835    2,100     1,700     1,100    1,700     800     1,100    1,417      8,500

100094368   008111567   *HUDSPETH PHARMACY                    VISALIA        CA   93291     LONG TERM CARE       FH3676511     100       (600)                                         (250)      (500)

100100588   010233874   HOLBROOK DRUG APSC                  MOREHEAD         KY   40351       INDEPENDENT        FH3774951   13,700    10,100    15,500   25,600    7,400   14,200   14,417     86,500

100103892   010234591   HOCK'S TIPP CITY PHY APSC            TIPP CITY       OH   45371       INDEPENDENT        FH3845659    5,200     5,200     7,500    3,700    7,200   10,200    6,500     39,000

100104540   010235192   HURSH DRUG SHELBY INC APSC            SHELBY         OH   44875       INDEPENDENT        FH3876034     800       800      1,300    1,400    2,000             1,260      6,300

100104049   044219568   *HUDSON DRUG STORE #3579             BOLIVAR         TN   38008          CHAIN           FH3909326   16,500    17,700    21,700   15,100                     17,750     71,000

100104299   046057554   HUMANA PHARMACY INC. #01973      NORTH MIAMI BEACH   FL   33162       HEALTH PLAN        FH3920419     600       300       700      300      100      700      450       2,700

100109568   049197038   HENRY FORD - CSI PHARMACY            DETROIT         MI   48207       INDEPENDENT        FH3933163    4,000     3,100     3,100    2,500    2,800    2,000    2,917     17,500

100109581   049197046   HENRY FORD - CSI PHCY 340B #1        DETROIT         MI   48207     PHS 340B HOSPITAL    FH3933163                         500                                 500        500

100104468   004101857   *HARVARD VANGUARD MED ASSOC          CONCORD         MA   01742         HOSPITAL         FH3948823    1,900     3,800      700                                2,133      6,400
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100104200   018355719   HOMETOWN DRUG, INC.     CPA            ENNIS        TX   75119     INDEPENDENT       FH3988649    2,000    3,000    3,000    2,600    9,500    5,500    4,267    25,600

100105089   010235549   HIGHLAND-CLARKSBURG HOSPITAL        CLARKSBURG      WV   26301       HOSPITAL        FH4087626     100                                                   100       100

100105760   023152934   HERITAGE THERAPEUTICS LLC             HOLMES        PA   19043     INDEPENDENT       FH4088464    5,000    6,900    3,800    7,100    7,600    2,200    5,433    32,600

100106803   055041897   HYERCARE LLC DBA KINGS PHY CPA       MURPHY         NC   28906     INDEPENDENT       FH4102240   11,000    7,500   16,900   29,000   11,200   20,500   16,017    96,100

100106852   021173740   HIBBARD'S PRESCRIPTNS PLUS CPA    MEDICINE LODGE    KS   67104     INDEPENDENT       FH4128509    7,600   15,600   10,100             5,300   10,800    9,880    49,400

100109935   021176354   HIBBARDS PRESCRIPTNS PLUS 340B    MEDICINE LODGE    KS   67104   PHS 340B HOSPITAL   FH4128509                              27,300                     27,300    27,300

100105975   032152215   HEALTHPOINT MIDWAY PHMCY 340B       DES MOINES      WA   98198    PHS 340B CLINIC    FH4162828     700     1,300    1,400    1,400    1,100    1,200    1,183     7,100

100107025   049195271   HEIGHTS RX PHARMACY              DEARBORN HEIGHTS   MI   48127     INDEPENDENT       FH4195144     200      500      100     1,000                       450      1,800

100107313   021174169   HEART OF AMERICA SURGERY CTR        KANSAS CITY     KS   66112       HOSPITAL        FH4213221     100                        100       80                93       280

100107262   055043901   HOLLY HILL HOSPITAL                  RALEIGH        NC   27610       HOSPITAL        FH4246597     200      300      300      300      700      600      400      2,400

100107304   049195321   HAMTRAMCK PHARMACY LLC SF           HAMTRAMCK       MI   48212     INDEPENDENT       FH4247866   23,000   12,000   23,000   30,000   11,000   12,000   18,500   111,000

100107477   044220806   TRISTAR E.R. PORTLAND #712           PORTLAND       TN   37148       HOSPITAL        FH4277251                                300                        300       300

100107807   032152595   HEALTHPOINT REDMOND PHCY 340B        REDMOND        WA   98052    PHS 340B CLINIC    FH4293849     500      400      400     1,400     500               640      3,200

100108018   021174656   HEALTHE CLINIC PHCY PA14-CH113      KANSAS CITY     KS   66111     INDEPENDENT       FH4324822     600      100      600                                 433      1,300

100108747   017098541   B AND H PHARMACY                      PROVO         UT   84601     INDEPENDENT       FH4337982              400      300      200     1,000     700      520      2,600

100109233   049196923   HOSPITAL DRIVE PHARMACY SF           CASS CITY      MI   48726     INDEPENDENT       FH4343187    2,800    4,400    4,700     100    10,200    7,600    4,967    29,800

100109717   049197079   HOSPITAL DRIVE PHCY HDGH 340B        CASS CITY      MI   48726   PHS 340B HOSPITAL   FH4343187                      4,100    3,300                      3,700     7,400

100109445   055044602   HEROLD'S PHARMACY NORTH          NORTH CHARLESTON   SC   29406     INDEPENDENT       FH4390213    1,500    2,700    3,600    4,000    5,300    6,500    3,933    23,600

100107917   010237313   HAVEN BEHAVORIAL SRCARE DAYTON        DAYTON        OH   45417       HOSPITAL        FH4407171      50      150      300                                 167       500

100109611   012113548   HOMES PHARMACY                   RANCHO CUCAMONGA   CA   91730     INDEPENDENT       FH4416827              300      200                        200      233       700

100109952   010238212   H & N DRUGS, INC APSC              MANCHESTER       KY   40962     INDEPENDENT       FH4449131            29,000   31,100   29,800   28,700   25,400   28,800   144,000

100110068   046060152   HUNTERS CREEK ER                     ORLANDO        FL   32827       HOSPITAL        FH4565389     300               100               320               240       720

100110540   032153163   HEALTHPOINT TUKWILA PHCY 340B        TUKWILA        WA   98168    PHS 340B CLINIC    FH4567799                               2,000                      2,000     2,000

100109242   018404921   HALE CENTER CLINICAL PHCY, LLC     HALE CENTER      TX   79041     INDEPENDENT       FH4572726    6,200    4,900    5,300    5,900    4,500    6,100    5,483    32,900

100110936   010000350   HARRISON PHY AND WELLNESS APSC       HARRISON       OH   45030     INDEPENDENT       FH4666129                                        2,500    2,000    2,250     4,500

100110587   004103796   STEWARD HOLY FAMILY HOSP INC         HAVERHILL      MA   01830       HOSPITAL        FH4687921                                                  500      500       500

100110870   041000270   HOLY CROSS GERMANTOWN HOSP         GERMANTOWN       MD   20876       HOSPITAL        FH4776083                               1,600                      1,600     1,600

100111177   055002008   HAYWOOD REGIONAL MED CTR              CLYDE         NC   28721       HOSPITAL        FH4820545                                         800     1,040     920      1,840

100111208   055002045   HAYWOOD REG MED CTR-HOSPICE           CLYDE         NC   28721       HOSPITAL        FH4820545                                                  200      200       200

100111159   055001992   HARRIS REGIONAL HOSP-MAIN PHCY        SYLVA         NC   28779       HOSPITAL        FH4825254                                         400               400       400

100090205   037129270   HOPEBRIDGE HOSPITAL                  HOUSTON        TX   77035       HOSPITAL        FH4827222     100      100               200                        133       400

100111346   018002194   HAVEN BEHAVIORAL HOSP-FRISCO          FRISCO        TX   75034       HOSPITAL        FH4932984                                                  500      500       500

100111472   023000481   HELEN M SIMPSON REHAB HOSP          HARRISBURG      PA   17109       HOSPITAL        FH4938873                                                  320      320       320

100060309   040168708   INGLES PHARMACY #450                   HULL         GA   30646        CHAIN          FI0005985   14,300   15,000   14,800   15,700   12,400   13,500   14,283    85,700

100074104   055032276   INGLES PHARMACY #024                 ASHEVILLE      NC   28806        CHAIN          FI0052112    6,500    5,800    6,200    5,800    7,800    5,400    6,250    37,500

100066390   055143255   ISLAND PHARMACY, INC(X)   CPA         MANTEO        NC   27954     INDEPENDENT       FI0080868    4,500    4,700    3,500    3,300    3,900    4,200    4,017    24,100

100061968   037110437   INTRACARE COMMUNITY PHARMACY         HOUSTON        TX   77090       HOSPITAL        FI0161442     700      800      500      700      700      500      650      3,900

100050080   003051649   ISABELA FARMA EXPRES GNP PSC          ISABELA       PR   00662     INDEPENDENT       FI0201931                                100                        100       100

100074474   055065417   INGLES PHARMACY #121               GRANITE FALLS    NC   28630        CHAIN          FI0233421    6,400    7,300    7,400    7,000    7,100    5,300    6,750    40,500

100071925   012120154   IDYLLWILD PHARMACY                   IDYLLWILD      CA   92549     INDEPENDENT       FI0248775   15,800   16,200   17,700   18,200   15,200   14,000   16,183    97,100

100074105   055061838   INGLES PHARMACY #030                 ASHEVILLE      NC   28803        CHAIN          FI0287525    3,400    4,100    3,100    3,500    4,000    4,000    3,683    22,100

100076032   040076356   INGLES PHARMACY # 36                BLUE RIDGE      GA   30513        CHAIN          FI0320337   18,000   15,100   18,200   15,700   28,000    7,000   17,000   102,000

100074480   055068015   INGLES PHARMACY #39                 ANDERSON        SC   29626        CHAIN          FI0435075    8,600    9,600    8,700   10,700   14,300    7,600    9,917    59,500

100087027   052170357   INSTITUTIONAL PHCY SOL EUF           EUFAULA        AL   36027       HOSPITAL        FI0460345     400      400      800      100      680      180      427      2,560
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100070987   018175620   PARIS APOTHECARY         CPA           PARIS         TX   75460       INDEPENDENT        FI0487644   20,900   28,700   35,700   20,600   18,100   29,500   25,583   153,500

100072645   040075960   INGLES PHARMACY #66                  HARTWELL        GA   30643          CHAIN           FI0491631    6,100    6,700    6,500    6,400    6,620    6,030    6,392    38,350

100075571   055176347   IRMO DRUG, INC(X) CPA(GNP)             IRMO          SC   29063       INDEPENDENT        FI0524391    6,400    9,300    4,500    5,200    8,600    5,500    6,583    39,500

100076232   040175000   INGLES PHARMACY #451                  AUBURN         GA   30011          CHAIN           FI0589462    7,400    7,400    7,700    8,600    6,200    9,300    7,767    46,600

100074111   055175000   INGLES PHARMACY #7                   ASHEVILLE       NC   28805          CHAIN           FI0611106    3,400    4,100    4,400    5,100    4,100    3,600    4,117    24,700

100076068   040175018   INGLES PHARMACY #419                 COMMERCE        GA   30530          CHAIN           FI0678841   10,600   11,100    9,800   12,800    8,200    6,400    9,817    58,900

100074106   055175018   INGLES PHARMACY #120                MORGANTON        NC   28655          CHAIN           FI0688537    8,300    8,300    6,200    7,900    8,700    6,600    7,667    46,000

100074274   025035196   INNOVIS HEALTH LLC                     FARGO         ND   58103         HOSPITAL         FI0717047     700     1,100    1,200    1,100    1,300    1,040    1,073     6,440

100074479   055002733   INGLES PHARMACY #251                  EASLEY         SC   29642          CHAIN           FI0739257    8,300   10,000    7,900    8,500    9,000    7,500    8,533    51,200

100074345   021101816   IOLA PHARMACY CLINIC                    IOLA         KS   66749       INDEPENDENT        FI0767434   15,200   14,100   13,600   13,800   14,700   14,500   14,317    85,900

100073278   040175026   INGLES PHARMACY #412              FLOWERY BRANCH     GA   30542          CHAIN           FI0780545    3,800    3,200    3,300    3,400    3,300    2,600    3,267    19,600

100071246   055175109   INGLES PHARMACY #202               SPARTANBURG       SC   29303          CHAIN           FI0809181   12,300   13,200   12,800   13,500   14,700   12,600   13,183    79,100

100073119   040175398   INGLES PHARMACY #105                  BREMEN         GA   30110          CHAIN           FI0990994    3,500    3,400    3,100    3,100    3,300    2,100    3,083    18,500

100073120   040175406   INGLES PHARMACY #498                BARNESVILLE      GA   30204          CHAIN           FI1011220    3,700    3,900    4,000    3,300    1,800    2,000    3,117    18,700

100076922   055175398   INGLES PHARMACY #147              KINGS MOUNTAIN     NC   28086          CHAIN           FI1051820    9,200    9,600    8,600    9,700    9,100    7,100    8,883    53,300

100086909   041139378   INSTITUTIONAL PHCY SOL VB          VIRGINIA BEACH    VA   23452     LONG TERM CARE       FI1084639              200      100                        200      167       500

100076923   052175034   INGLES PHARMACY #91                  FARRAGUT        TN   37934          CHAIN           FI1091026    2,000    2,000    2,100    1,900    2,200    2,000    2,033    12,200

100075032   040175349   INGLES PHARMACY #488                  CLAYTON        GA   30525          CHAIN           FI1101283    5,400    4,000    4,400    4,100    4,800    1,000    3,950    23,700

100075033   040175356   INGLES MARKETS PHARMACY #414       DOUGLASVILLE      GA   30134          CHAIN           FI1125839    4,100    4,600    3,800    4,400    3,100    3,300    3,883    23,300

100077161   019102863   INDIANA ORTHOPAEDIC HOSP            BROWNSBURG       IN   46112         HOSPITAL         FI1164944              100                                          100       100

100075034   040175364   INGLES PHARMACY #405                  TEMPLE         GA   30179          CHAIN           FI1177167    7,400    8,100    7,700   12,200    4,800    6,700    7,817    46,900

100068700   040175430   INGLES PHARMACY # 65                 ELBERTON        GA   30635          CHAIN           FI1206336    6,000    7,400    6,300    7,000    5,100    4,500    6,050    36,300

100067728   055175646   INGLES PHARMACY #146                  DALLAS         NC   28034          CHAIN           FI1239816    5,900    8,300    6,500    8,200    9,840    6,100    7,473    44,840

100068908   017175646   PREMIUM RX SERVICES         SF         BOISE         ID   83704     LONG TERM CARE       FI1252597    5,000    5,000    5,000    7,000    3,500    4,600    5,017    30,100

100104173   010234963   HOMETOWN PHY APSC                   GEORGETOWN       KY   40324       INDEPENDENT        FI1287425   13,100   12,000   29,030    4,500   11,000   12,500   13,688    82,130

100109795   032152967   INTERNATIONAL PHCY LTC       SF      LAKEWOOD        WA   98499       INDEPENDENT        FI1287730     300      200                                 300      267       800

100068099   055175869   INGLES PHARMACY #080                 MARS HILL       NC   28754          CHAIN           FI1314498    2,600    3,100    2,500    2,400    2,400    2,400    2,567    15,400

100075486   003021410   ISLOTE DRUG INC GNP                   ARECIBO        PR   00612       INDEPENDENT        FI1372351                               1,200                      1,200     1,200

100070603   010172254   IRVINE WHITE HOUSE CLINIC PHCY         IRVINE        KY   40336      PHS 340B CLINIC     FI1551185    2,600    3,000    2,300    2,900    2,800    1,300    2,483    14,900

100070907   010175018   IRVINE WHITE HOUSE CLINIC APSC         IRVINE        KY   40336       INDEPENDENT        FI1551185     700     1,600    1,900    1,600    1,700    2,000    1,583     9,500

100071464   055175430   INGLES PHARMACY #116                 HAYESVILLE      NC   28904          CHAIN           FI1604669   10,000   10,600   10,000   11,800   11,400   10,100   10,650    63,900

100087023   055139303   INSTITUTIONAL PHCY SOL CON            CONWAY         SC   29526         HOSPITAL         FI1674250     100      200                        100               133       400

100066511   019160119   INNOVATIVE PHARMACY SOLUTIONS       GREENFIELD       IN   46140     LONG TERM CARE       FI1700144   32,400   33,400   31,800   36,600   31,900   37,300   33,900   203,400

100084522   037115824   ICON HOSPITAL                         HUMBLE         TX   77338         HOSPITAL         FI1768716    1,100     900      500     1,000     400      300      700      4,200

100087022   018197202   *INSTITUTIONAL PHCY SOL SHR         SHREVEPORT       LA   71101         HOSPITAL         FI1850999     300               100      100                        167       500

100075918   004178657   INTEGRISCRIPT, INC.               WEST SPRINGFIELD   MA   01089     LONG TERM CARE       FI1972593    6,200    8,400    8,000    9,100    5,580    6,400    7,280    43,680

100086057   044201897   IMRAN PHARMACY         SF             ST LOUIS       MO   63115       INDEPENDENT        FI2227898   13,500   14,500   12,000   11,000   13,700    8,500   12,200    73,200

100083714   040098194   INGLES MARKETS PHARMACY #483         HIAWASSEE       GA   30546          CHAIN           FI2236722    8,200   10,900   11,200   10,400    8,900    7,300    9,483    56,900

100083713   040098186   INGLES MARKETS PHARMACY #467        STOCKBRIDGE      GA   30281          CHAIN           FI2246026    1,800    2,400    2,500    3,400    1,100    1,800    2,167    13,000

100084566   040101147   INGLES MARKETS PHARMACY #98         BLAIRSVILLE      GA   30512          CHAIN           FI2314514    5,600    5,700    5,500    7,100    5,900    4,500    5,717    34,300

100084658   018183970   INFUSION THERAPY OF TEXAS, LLC      RICHARDSON       TX   75081   HOME HEALTH SERVICES   FI2325137     200     1,400    1,300    1,000    1,200     500      933      5,600

100085405   019141465   INDIANA ORTHOPAEDIC HOSP SOUTH      GREENWOOD        IN   46143         HOSPITAL         FI2411851     100      500      100      100      200               200      1,000

100085708   040103721   INGLES MARKETS PHARMACY #76        CARTERSVILLE      GA   30120          CHAIN           FI2469713    8,400    7,800    7,400    6,600    7,000    6,900    7,350    44,100

100085819   004069831   *SHOPRITE PHARMACY #222               NEW CITY       NY   10956          CHAIN           FI2520826     400     1,200     300     1,200                       775      3,100
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100087030   020153932   *INSTITUTIONAL PHCY SOL GLEN        GLENDALE       AZ   85302       HOSPITAL        FI2658815     200      500      300      200                        300      1,200

100087026   020153916   *INSTITUTIONAL PHCY SOL TEMPE         TEMPE        AZ   85283       HOSPITAL        FI2785042     200      100      200                                 167       500

100087659   040109033   INGLES MARKETS PHARMACY #61         CORNELIA       GA   30531        CHAIN          FI2831673    1,900    2,400    3,700    2,200    2,100    2,300    2,433    14,600

100107939   021174565   IMMANUEL MED CTR WAC RTL             OMAHA         NE   68122   PHS 340B HOSPITAL   FI2850801    2,800    3,900    4,200    5,300    4,000    4,200    4,067    24,400

100088031   037125989   *INSTITUTIONAL PHCY SOL CAM         CAMERON        LA   70631   LONG TERM CARE      FI2905721     100      400      600      200                        325      1,300

100088667   019154286   INSTITUTIONAL PHCY SOL TERR        TERRE HAUTE     IN   47802   LONG TERM CARE      FI2946703                       100                80      100       93       280

100088788   019154567   INSTITUTIONAL PHCY SOL LAF          LAFAYETTE      IN   47905   LONG TERM CARE      FI3023380     300      200      100      500                80      236      1,180

100088766   040113050   IHS PHARMACY #3       CPA        JEFFERSONVILLE    GA   31044     INDEPENDENT       FI3052406   11,600    6,500   15,800   17,100             4,000   11,000    55,000

100088950   055030809   INGLES MARKETS PHARMACY #205        LANDRUM        SC   29356        CHAIN          FI3058408    7,000    7,600    7,600    7,400   10,500    4,500    7,433    44,600

100088937   055030791   INGLES MARKETS, INC #201          SPARTANBURG      SC   29316        CHAIN          FI3058410    4,400    4,200    4,700    7,100    8,500    7,400    6,050    36,300

100089851   040114066   INGLES PHARMACY #457                 GRIFFIN       GA   30223        CHAIN          FI3088247    4,900    5,000    4,120    4,300    5,000    3,400    4,453    26,720

100089138   018204255   INSTITUTIONAL PHCY SOL CARR        CARROLLTON      TX   75007   LONG TERM CARE      FI3096410     200      100      100      200      200      300      183      1,100

100089829   052213967   INGLES MARKETS PHARMACY #088         ATHENS        TN   37303        CHAIN          FI3187920    4,200    4,400    4,200    6,000    5,700    3,600    4,683    28,100

100090873   040114330   INGLES MARKETS PHARMACY #409         ELLIIJAY      GA   30540        CHAIN          FI3190357    5,900    5,500    5,900    6,400   10,300    3,000    6,167    37,000

100090318   040114181   INGLES PHARMACY #444                MADISON        GA   30650        CHAIN          FI3199242    4,400    4,400    5,600    5,900    5,600    5,000    5,150    30,900

100089834   012103564   IRVINE WELLNESS PHARMACY              IRVINE       CA   92618     INDEPENDENT       FI3272236    5,000    2,500    3,700    3,400    7,000    2,400    4,000    24,000

100091434   010225946   INSTITUTIONAL PHCY SOL DUB           DUBLIN        OH   43016       HOSPITAL        FI3429253     100      200      200      100      200               160       800

100092030   055031591   INGLES PHARMACY #79                 ASHEVILLE      NC   28803        CHAIN          FI3468089    1,700    2,700    1,400    3,700     500     2,600    2,100    12,600

100092368   008054064   IVANHOE PHARMACY                     IVANHOE       CA   93235     INDEPENDENT       FI3552785                               1,000    7,200    2,000    3,400    10,200

100093998   052112227   INGLES PHARMACY #85                MORRISTOWN      TN   37814        CHAIN          FI3629043    1,900    2,000    2,700    2,600    4,700    1,000    2,483    14,900

100096706   052114504   GEORGIANA MED CTR, IVY CREEK       GEORGIANA       AL   36033       HOSPITAL        FI3707241              200      100      340                        213       640

100101142   055038174   INGLES MARKETS PHARMACY #133       MILLS RIVER     NC   28759        CHAIN          FI3760700    3,800    3,600    3,400    4,200    3,460    3,900    3,727    22,360

100093850   037130963   INSTITUTIONAL PHCY SOLUTIONS       MANDEVILLE      LA   70448   LONG TERM CARE      FI3837753              100      100      100      100               100       400

100104197   040120212   INGLES PHARMACY #436                 TOCCOA        GA   30577        CHAIN          FI3884500    2,100    1,600    2,500    2,300    1,200    1,900    1,933    11,600

100104386   052222943   INGLES PHARMACY #397              ELIZABETHTON     TN   37643        CHAIN          FI3936474    1,300    2,500    4,400    3,800    1,700    2,900    2,767    16,600

100104385   052222935   INGLES MARKETS PHARMACY #372      JOHNSON CITY     TN   37604        CHAIN          FI3936501    1,800    2,300    1,400    2,400    2,000    1,000    1,817    10,900

100104176   055038604   INGLES PHARMACY #51                  EASLEY        SC   29642        CHAIN          FI3943847    3,300    3,100    3,000    4,600    4,000    3,800    3,633    21,800

100104860   023152439   ICAHN SCHOOL OF MED PHY(MT SIN      NEW YORK       NY   10029       HOSPITAL        FI4025551                       300               200      400      300       900

100104387   040120311   INGLES PHARMACY #486                  GRAY         GA   31032        CHAIN          FI4040705    5,600    3,600    6,200    2,400    7,100    3,700    4,767    28,600

100104891   010235341   INSTITUTIONAL PHCY SOLUTIONS      WEST CHESTER     OH   45069       HOSPITAL        FI4052154     100      100                                          100       200

100105041   008023044   ICARE PHARMACY INC                  SAN JOSE       CA   95133     INDEPENDENT       FI4074364              300               100      500               300       900

100104366   055038703   INGLES MARKETS PHARMACY #82      WEST JEFFERSON    NC   28694        CHAIN          FI4091308    1,200    1,300    1,400    1,400    1,400    1,500    1,367     8,200

100106402   032152272   INTERFAITH COMM HLTH CTR 340B      BELLINGHAM      WA   98225    PHS 340B CLINIC    FI4122660    3,300    3,000    1,900    3,900    4,600    4,600    3,550    21,300

100104365   055038695   INGLES MARKETS PHARMACY #12          SHELBY        NC   28150        CHAIN          FI4144490    3,600    3,400    4,000    4,300    4,000    4,000    3,883    23,300

100106721   055041830   INGLES PHARMACY #206             TRAVELERS REST    SC   29690        CHAIN          FI4199077    4,300    4,800    4,100    5,100    5,600    4,200    4,683    28,100

100107758   052224295   INTEGRACARE PHARMACY INC           ALABASTER       AL   35007     INDEPENDENT       FI4210148   24,500   25,300   27,100   28,300   34,000   24,200   27,233   163,400

100107825   046059618   IMPERIAL POINT PHCY CTR, INC.    FORT LAUDERDALE   FL   33308     INDEPENDENT       FI4242397     700               700     1,000    2,800    2,800    1,600     8,000

100109252   055044578   INGLES MARKET PHCY #239             ANDERSON       SC   29621        CHAIN          FI4399792    1,700    1,600    1,700    2,200    2,200     600     1,667    10,000

100109305   040121699   INGLES MARKETS PHARMACY #449       THOMASTON       GA   30286        CHAIN          FI4418706    1,200    2,600    2,800    2,800    3,000    2,800    2,533    15,200

100109593   052224733   INGLES MARKET PHARMACY #072        KINGSPORT       TN   37664        CHAIN          FI4441010              400     1,000    1,200     600      900      820      4,100

100110993   055001817   INGLES PHARMACY #148               LINCOLNTON      NC   28092        CHAIN          FI4838148                               1,300    2,900    2,200    2,133     6,400

100111409   055000411   INGLES PHARMACY #16                  BELTON        SC   29627        CHAIN          FI4900608                                                 2,300    2,300     2,300

100096904   044109355   PHARMACY PLUS WAC                   LOUISVILLE     KY   40202   PHS 340B HOSPITAL   FJ0149674    5,500    7,500    4,500    3,120    3,200    6,000    4,970    29,820

100061554   044077909   PHARMACY PLUS     340B              LOUISVILLE     KY   40202   PHS 340B HOSPITAL   FJ0149674    2,900    1,500    4,200    2,200                      2,700    10,800
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100061622   023101386   JAMAICARX INC (340B)                    JAMAICA       NY   11418   PHS 340B HOSPITAL    FJ0152796              1,100                       300       900      767       2,300

100096879   044109348   JEWISH HOSP & ST MARYS HC WAC          LOUISVILLE     KY   40215   PHS 340B HOSPITAL    FJ0360913    6,700     4,600    7,000    5,000    7,000     4,600    5,817     34,900

100076472   044100115   JEWISH HOSP & ST MARYS HC 340B         LOUISVILLE     KY   40215   PHS 340B HOSPITAL    FJ0360913                                         1,700      600     1,150      2,300

100073279   037118208   JERRY'S PHARMACY                       ROCKPORT       TX   78382     INDEPENDENT        FJ0753586                                         2,900              2,900      2,900

100076013   008077891   NORTH BAY REGIONAL SURG CTR             NOVATO        CA   94945       HOSPITAL         FJ0778110               100                         80                 90        180

100070640   046124735   LAKEWOOD RANCH PHARMACY CPA           BRADENTON       FL   34202     INDEPENDENT        FJ1305689     700      2,600    1,300     600     1,600     2,100    1,483      8,900

100108669   032152694   EDMONDS PHARMACY CPA                   EDMONDS        WA   98026     INDEPENDENT        FJ1666405    4,500     6,500    5,000   10,000    4,100     6,500    6,100     36,600

100084717   046034793   WEBB'S SQUARE PHARMACY JYA LLC        DAVENPORT       FL   33837     INDEPENDENT        FJ2231570    4,500     4,800    3,900    4,600    4,200     1,200    3,867     23,200

100090457   019157420   JOHN H STROGER HOSP BC340B             CHICAGO        IL   60612   PHS 340B HOSPITAL    FJ2260278   12,600    17,100   16,200   20,100   11,000     9,000   14,333     86,000

100085312   052166231   JOHN C STENNIS MEMORIAL HOSP            DE KALB       MS   39328       HOSPITAL         FJ2318334     300       700      100      100      100       360      277       1,660

100088457   049186775   *JENSEN'S COMMUNITY PHCY       SF       SALINE        MI   48176     INDEPENDENT        FJ2980402    4,500     4,500    4,500    1,500    3,500              3,700     18,500

100111099   021001937   JACKS CORNER DRUG LLC CPA             SIGOURNEY       IA   52591     INDEPENDENT        FJ3253870                                         4,800     4,400    4,600      9,200

100053228   041082263   (CRD)DOD RESEARCH ACT-73999            HANOVER        MD   21076   HOSPITAL (FEDERAL)   FJ3291680                                 200                         200        200

100111238   046002078   45TH STREET PHARMACY                WEST PALM BEACH   FL   33407     INDEPENDENT        FJ3571418                                          700       900      800       1,600

100109339   038110866   *JACKISCH DRUG     CPA              PAGOSA SPRINGS    CO   81147     INDEPENDENT        FJ3605497    5,100     2,200    3,500                                3,600     10,800

100094016   018397307   JANE PHILLIPS MEMORIAL MED CTR       BARTLESVILLE     OK   74006       HOSPITAL         FJ3615943               100      100                         100      100        300

100094242   046043869   REDDICK DISCOUNT PHARMACY               REDDICK       FL   32686     INDEPENDENT        FJ3656761     500                400      100     8,600     1,000    2,120     10,600

100103979   010234765   MERCY HLTH-ROOKWOOD MED CTR            CINCINNATI     OH   45209       HOSPITAL         FJ3689811     100       100               100       80                 95        380

100096397   044105817   MERCY HOSPITAL JEFFERSON IP             FESTUS        MO   63028       HOSPITAL         FJ3696804    1,900     2,700    4,300    3,100    1,700     1,600    2,550     15,300

100101368   018345421   JACOBS FAMILY PHARMACY CPA            BROWNWOOD       TX   76801     INDEPENDENT        FJ3897723    8,800    18,700   14,600   17,300   11,700    13,700   14,133     84,800

100104852   040120519   BROOKE'S PHARMACY CPA                 CARROLTON       GA   30117     INDEPENDENT        FJ4102276    1,200     2,300    1,000    4,100     100      1,400    1,683     10,100

100106802   023153411   JERSEY DRUGS INC CPA                  JERSEY CITY     NJ   07307     INDEPENDENT        FJ4250560     400       500      400     2,800     600       800      917       5,500

100109012   021174979   KOLLHOFF PHARMACY        CPA         JUNCTION CITY    KS   66441     INDEPENDENT        FJ4315657     600      2,700    5,700    7,100    7,700     2,000    4,300     25,800

100109796   044221341   PHARMACY PLUS SPECIALTY                LOUISVILLE     KY   40229     INDEPENDENT        FJ4446084              1,200                                 800     1,000      2,000

100109932   040122200   JENNINGS MILL DRUG CO CPA            WATKINSVILLE     GA   30677     INDEPENDENT        FJ4734059                       4,000                       2,000    3,000      6,000

100089092   021167163   JOE'S PHARMACY INC CPA                 LEBANON        MO   65536     INDEPENDENT        FJ4736192   17,100     2,200   12,000   14,000   24,100    10,500   13,317     79,900

100111456   023000462   JEFFERSON PHARMACY                   PHILADELPHIA     PA   19107       HOSPITAL         FJ4899502                                                   1,400    1,400      1,400

100057952   032123844   KAISER PERMANENTE ORCHARDS RX         VANCOUVER       WA   98682      HEALTH PLAN       FK0050891    4,800     4,900    2,600             6,200     3,000    4,300     21,500

100062265   010105684   KINDRED HOSPITAL CLEVELAND            CLEVELAND       OH   44120       HOSPITAL         FK0057225     100                         200      380                227        680

100064361   041102822   KAISER ASHBURN PHCY B20                ASHBURN        VA   20148      HEALTH PLAN       FK0074536    5,400     5,500    6,100    4,000    4,400     7,700    5,517     33,100

100057943   041103069   KAISER FREDERICK PHARM                 FREDERICK      MD   21703      HEALTH PLAN       FK0083953    2,500     2,000    1,700    1,200    2,900     1,500    1,967     11,800

100057961   010106484   *KINDRED HOSPITAL PITTS NS            PITTSBURGH      PA   15212       HOSPITAL         FK0095960     (100)                                                   (100)      (100)

100061969   032171587   KAISER SUNNYBROOK PHARMACY RTL        CLACKAMAS       OR   97015      HEALTH PLAN       FK0099033    1,300     2,800    2,600    1,600    5,600     2,200    2,683     16,100

100059579   017132548   KIDS BEHAVIORAL HEALTH OF MT             BUTTE        MT   59701       HOSPITAL         FK0107866                                 100                         100        100

100068631   055070920   NOVANT HEALTH PHCY (MV) (340B)           KING         NC   27021   PHS 340B HOSPITAL    FK0118756    7,500     7,900    5,900    7,900    3,500     6,500    6,533     39,200

100091057   055031401   NOVANT HEALTH PHCY (MV) (WAC)            KING         NC   27021     INDEPENDENT        FK0118756    2,700     3,600    4,100    2,500    9,300     9,000    5,200     31,200

100060653   040170894   KAISER WEST COBB                        AUSTELL       GA   30106      HEALTH PLAN       FK0142226    4,800     7,400    5,600    6,300    4,700     7,100    5,983     35,900

100072259   032127480   KENT COMM HLTH CTR PHCY 340B             KENT         WA   98030    PHS 340B CLINIC     FK0191483    1,700     1,800    1,500    2,600    2,800      800     1,867     11,200

100060160   023100909   *KINSLEYS SHOPRITE PHCY #422        BRODHEADSVILLE    PA   18322         CHAIN          FK0193780                        800      500                         650       1,300

100076135   008044008   KAISER PERM PHAR 572      /F            ANTIOCH       CA   94531      HEALTH PLAN       FK0224131     100      1,900    3,600     700    63,800   110,100   30,033    180,200

100074374   024124743   KAISER PERM PHARMACY #885               OXNARD        CA   93036      HEALTH PLAN       FK0230463                                 100    36,000    39,600   25,233     75,700

100076977   056040436   KH PHILADELPHIA-HAVERTOWN             HAVERTOWN       PA   19083       HOSPITAL         FK0245387     100                                   80        80       87        260

100073336   024122291   KAISER PERM #888 PHARMACY              CAMARILLO      CA   93010      HEALTH PLAN       FK0248787                                        22,600    14,400   18,500     37,000

100073847   008047407   KAISER PERM PHAR 447 /G               SANTA CLARA     CA   95051      HEALTH PLAN       FK0249311     200                200             18,000    42,600   15,250     61,000
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100074033   024008904   KAISER PERM PHCY #253             PANORAMA CITY     CA   91402    HEALTH PLAN      FK0255516     500      600      300                74,500     81,500   31,480   157,400

100072308   008045385   KAISER FNDN HOS PHAR 57A    /P       ANTIOCH        CA   94531    HEALTH PLAN      FK0338562    1,000    1,100     900       1,400      500       1,600    1,083     6,500

100076284   020123000   KINDRED ARIZONA N W PHOENIX          PEORIA         AZ   85381      HOSPITAL       FK0429907                                                        80       80        80

100064044   023100040   *SHOPRITE PHARMACY #109           STATEN ISLAND     NY   10314       CHAIN         FK0440735     230      200                                               215       430

100106455   037134387   KINGWOOD PINES HOSPITAL             KINGWOOD        TX   77339      HOSPITAL       FK0479697     500      200      300        800       180        200      363      2,180

100072046   040151001   KAISER SUGAR HILL-BUFORD           SUGAR HILL       GA   30518    HEALTH PLAN      FK0518855   10,800   10,400    7,300      9,100    17,900     12,000   11,250    67,500

100072314   010121459   KLASS APOTHECARY                     OTTAWA         OH   45875    INDEPENDENT      FK0551374    5,700    6,500    6,700      5,500     5,400      4,300    5,683    34,100

100091289   024118638   ALTAMED MED GRP-WESTCOVINA340B     WEST COVINA      CA   91790   PHS 340B CLINIC   FK0558443                                 1,400      100                 750      1,500

100074137   040172007   KAISER STONECREST                    LITHONIA       GA   30038    HEALTH PLAN      FK0583066    3,800    5,600    5,800      5,800     4,100      6,100    5,200    31,200

100076494   008050971   KAISER FNDN HOS PHAR 58B /H        SANTA ROSA       CA   95403    HEALTH PLAN      FK0583701              100                                               100       100

100054664   012095935   KAISER PERM #171 I.P. AMB SURG       ONTARIO        CA   91761    HEALTH PLAN      FK0593423              300                 600                           450       900

100076830   021101410   KUBAT PHCY          SF              FREMONT         NE   68025    INDEPENDENT      FK0599817   13,800   11,100   16,600      9,100    13,000     10,600   12,367    74,200

100087528   049185603   KNIGHT DRUG GREENFIELD               DETROIT        MI   48235    INDEPENDENT      FK0602551    2,000    1,500               1,000      500                1,250     5,000

100067167   019143289   KEEFER'S PHARMACY         CPA    MOUNT PROSPECT     IL   60056    INDEPENDENT      FK0619099    1,900    3,300    1,300      1,600      700       1,300    1,683    10,100

100051553   008070979   PHARMERICA (MTN VIEW)             MOUNTAIN VIEW     CA   94041   LONG TERM CARE    FK0624571   39,000   44,100   42,650     38,600      (300)      280    27,388   164,330

100055384   049089219   KNIGHT DRUGS-HIGHLAND PARK        HIGHLAND PARK     MI   48203    INDEPENDENT      FK0627767                                                      1,000    1,000     1,000

100051243   008008201   PHARMERICA (SACRAMENTO)           SACRAMENTO        CA   95834   LONG TERM CARE    FK0640498   46,200   51,600   50,100     97,500      100        400    40,983   245,900

100076606   052022673   KILGORE EXPRESS PHCY #4     SF       GURLEY         AL   35748    INDEPENDENT      FK0649030   19,500   19,000   18,000     15,300    19,300     17,000   18,017   108,100

100076253   010123125   KINES FAMILY PHARMACY INC APSC     CHARLESTON       WV   25312    INDEPENDENT      FK0660527   15,700   15,000   16,800     15,500    15,000     16,300   15,717    94,300

100076254   012120048   KAISER PERM #374 ALTON/SAND CY        IRVINE        CA   92618    HEALTH PLAN      FK0669563                       500        100     56,400     58,500   28,875   115,500

100069878   012130500   KAISER FOUND HOSP PHARM #372          IRVINE        CA   92618    HEALTH PLAN      FK0706056    4,800             4,800      2,400                         4,000    12,000

100073418   024040493   KAISER #554 (DIAMOND BAR)         DIAMOND BAR       CA   91765    HEALTH PLAN      FK0772904                                           7,300      8,500    7,900    15,800

100074553   032624197   KAISER WEST SALEM PHCY MEDICAL        SALEM         OR   97304    HEALTH PLAN      FK0775342    1,200             1,200                1,700      4,800    2,225     8,900

100084271   010195552   KIM'S HOMETOWN PHCY, INC APSC     WILLIAMSBURG      KY   40769    INDEPENDENT      FK0814891    9,500    5,700    8,000     17,500     2,000      2,300    7,500    45,000

100076288   012010082   KOVACS FREY PHARMACY             REDONDO BEACH      CA   90278    INDEPENDENT      FK0869149    6,300    5,200    7,200      6,600     6,600      4,000    5,983    35,900

100073705   008071001   KAISER PERM PHAR 673 /M             VACAVILLE       CA   95688    HEALTH PLAN      FK0870344    1,700    1,200    2,700    101,100    51,700    146,100   50,750   304,500

100072401   012130492   KAISER PERM #156 OUT PATIENT        REDLANDS        CA   92374    HEALTH PLAN      FK0874861     100                                  80,100     97,700   59,300   177,900

100073261   024070268   KAISER PERMANENTE PHRMCY #041       PASADENA        CA   91107    HEALTH PLAN      FK0894560              100                         25,400     35,200   20,233    60,700

100073256   046150003   KINDRED HOSPITAL PALM BEACH       RIVIERA BEACH     FL   33418      HOSPITAL       FK0911710     100               100                  200        200      150       600

100073250   012120139   KAISER PERM #525                    TEMECULA        CA   92590    HEALTH PLAN      FK0942260     200      100      200                55,300     51,500   21,460   107,300

100076226   008085084   KAISER FNDN HOS PHAR 71B /C      RANCHO CORDOVA     CA   95670    HEALTH PLAN      FK0951081              100                                               100       100

100073708   021102152   KILGORE MEDICAL PHARMACY SF         COLUMBIA        MO   65203    INDEPENDENT      FK0983230    4,300    3,600    2,700      3,400     4,500      2,200    3,450    20,700

100073530   021102194   KILGORE'S MEDICAL PHARMACY SF       COLUMBIA        MO   65203    INDEPENDENT      FK0983280   16,400   20,000    1,100     42,800    10,100      8,000   16,400    98,400

100073531   021102202   KILGORES (MOKP) PHARMACY SF         COLUMBIA        MO   65203    INDEPENDENT      FK0983280    3,700    4,000    2,600      2,700                         3,250    13,000

100069729   008066084   KAISER FNDN HOS PHAR 28B/282C        FOLSOM         CA   95630    HEALTH PLAN      FK1013476                                 2,800     2,800      9,700    5,100    15,300

100107459   037134791   KING'S PHARMACY-BEAUMONT            BEAUMONT        TX   77713    INDEPENDENT      FK1037262    1,000    2,220     (200)     1,540    16,000      4,500    4,177    25,060

100069802   012111567   KAISER PERM #187 MOB O-P PHCY        UPLAND         CA   91786    HEALTH PLAN      FK1068659                                          45,600     36,000   40,800    81,600

100072511   008110411   KAISER PERM PHAR 120 /M              PINOLE         CA   94564    HEALTH PLAN      FK1070589    1,700    1,100     700        700     63,600     30,200   16,333    98,000

100073400   008070912   KAISER FNDN HOS PHAR 67A/B /M       VACAVILLE       CA   95688    HEALTH PLAN      FK1096177     700     1,100    1,400      3,700                1,000    1,580     7,900

100073284   012029157   KAISER FND HOSP PHARMACY #529    MORENO VALLEY      CA   92555    HEALTH PLAN      FK1107425    1,700    1,400    3,600      1,500                         2,050     8,200

100071869   008105007   KAISER PERM PHAR 266 /C             ROSEVILLE       CA   95661    HEALTH PLAN      FK1142621    4,200    3,800    2,400      2,900   249,400    189,400   75,350   452,100

100069624   041175562   KAISER FREDERICKSBURG            FREDERICKSBURG     VA   22401    HEALTH PLAN      FK1184681    4,900    5,800    4,200      5,900     6,800      7,600    5,867    35,200

100070986   024110700   KAISER PERM PHARM #563           CITY OF INDUSTRY   CA   91746    HEALTH PLAN      FK1189453                                           3,100      2,000    2,550     5,100

100075370   024110627   COMM/MISS HOSP HUNTINGTON PARK   HUNTINGTON PARK    CA   90255      HOSPITAL       FK1192068     200      400      400       2,000                          750      3,000
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100068685   008073130   KAISER PERM PHAR 102 /B              OAKLAND        CA   94611     HEALTH PLAN       FK1259248    1,000     500      900      300     34,600   40,500   12,967    77,800

100067878   024100057   KAISER PERM PHCY #269              MISSION HILLS    CA   91345     HEALTH PLAN       FK1264011                                         8,200    6,000    7,100    14,200

100057623   026041012   KAISER HOSPITAL PHARMACY #2         HONOLULU        HI   96819     HEALTH PLAN       FK1267877    1,000    1,400    1,000    1,000     1,500    1,000    1,150     6,900

100071640   012056861   KAISER PERM PHCY #249               SAN DIEGO       CA   92128     HEALTH PLAN       FK1319652              200                       34,400   40,800   25,133    75,400

100070969   038000943   KAISER PERM-PARKER                   PARKER         CO   80138     HEALTH PLAN       FK1355975   12,800   12,500    1,900    1,000     1,500    5,700    5,900    35,400

100070313   012068080   KAISER PERM #054 PHCY O/P            DOWNEY         CA   90242     HEALTH PLAN       FK1386918              200               200     44,600   86,400   32,850   131,400

100067835   012068296   KAISER FOUND HOSP PHCY #054 IP       DOWNEY         CA   90242     HEALTH PLAN       FK1441411    4,000    2,000    5,000    2,000     5,000    1,000    3,167    19,000

100068777   040175901   KAISER FORSYTH                       CUMMING        GA   30041     HEALTH PLAN       FK1445849    4,400    3,400    2,300    2,800     4,600    4,400    3,650    21,900

100071267   032203125   KAISER PERM MURRAYHILL PHCY         BEAVERTON       OR   97007     HEALTH PLAN       FK1564168              600      600      600       600      600      600      3,000

100069526   012110361   KAISER PERM #081 BELLFLOWER IN     BELLFLOWER       CA   90706     HEALTH PLAN       FK1640918                       100      200                         150       300

100068789   021130401   KUBAT PHCY, INC       SF              OMAHA         NE   68106     INDEPENDENT       FK1660883   16,300   16,700   15,600   16,300    15,400   12,500   15,467    92,800

100068450   038100248   KAISER PERM-BRIARGATE            COLORADO SPRINGS   CO   80920     HEALTH PLAN       FK1666289    1,700    4,700              200                600     1,800     7,200

100068451   038101345   KAISER PERM-PUEBLO NORTH             PUEBLO         CO   81008     HEALTH PLAN       FK1671735    6,600    6,400    2,100              1,100    4,200    4,080    20,400

100066745   052147447   KILGORE EXPRESS PHCY #6     SF      FORT PAYNE      AL   35968     INDEPENDENT       FK1689794   27,400   28,700   31,600   30,800    30,600   27,500   29,433   176,600

100068518   040279000   KAISER EAST COBB PHARMACY            MARIETTA       GA   30068     HEALTH PLAN       FK1733890    2,000    2,000    2,300    1,700     2,500    2,800    2,217    13,300

100068799   046178046   KINDRED HOSPITAL MELBOURNE          MELBOURNE       FL   32901       HOSPITAL        FK1734006     100               200      100                         133       400

100066678   040279018   KAISER PERMANENTE DECATUR PHCY       DECATUR        GA   30030     HEALTH PLAN       FK1774377    1,300    2,900    2,000    1,600     2,500    2,300    2,100    12,600

100110067   046060145   IRA'S PHARMACY - RETAIL            LAKE WORTH       FL   33467     INDEPENDENT       FK1795852     100      300      800     1,200      600               600      3,000

100082917   018169847   BAYLOR INSTITUTE FOR REHAB            FRISCO        TX   75034       HOSPITAL        FK1797630    1,600    2,300    2,200    3,100     1,500    1,000    1,950    11,700

100066218   049149989   *SAINT JOSEPH MERCY PORT HURON     FORT GRATIOT     MI   48059       HOSPITAL        FK1915846                                200                         200       200

100075832   040175307   KAISER PERMANENTE LAWRENCEVILL    LAWRENCEVILLE     GA   30046     HEALTH PLAN       FK1988673    3,500    3,800    3,100    3,200     5,500    3,700    3,800    22,800

100083243   012086488   KAISER PERM #220 OUT PATIENT        SAN DIEGO       CA   92111     HEALTH PLAN       FK2008680     300     1,000              100     36,500   31,000   13,780    68,900

100075767   040279091   KAISER PERMANENTE HOLLY SPRING    HOLLY SPRINGS     GA   30115     HEALTH PLAN       FK2025864    3,800    4,600    3,000    3,300     4,200    2,700    3,600    21,600

100075593   024110692   KENNETH ROAD PHARMACY INC.          GLENDALE        CA   91201     INDEPENDENT       FK2036362    4,900    7,400    7,600    6,100     7,800    4,900    6,450    38,700

100083285   024070508   KAISER PERM #611 CHESTER AV OP     BAKERSFIELD      CA   93301     HEALTH PLAN       FK2121806              100                       16,400    7,200    7,900    23,700

100066217   049149971   NORTHWEST MICHIGAN SURGERY CTR    TRAVERSE CITY     MI   49684       HOSPITAL        FK2207822     200               300      500                320      330      1,320

100083668   026002915   KOOLAULOA PHARMACY-RETAIL            KAHUKU         HI   96731     INDEPENDENT       FK2216415    1,500    1,000    2,000   (1,300)    3,200             1,280     6,400

100083669   026002931   KOOLAULOA PHARMACY                   KAHUKU         HI   96731    PHS 340B CLINIC    FK2216415     500      100      100      (100)              300      180       900

100083661   008097352   KAISER FNDN HOS PHAR 48B /M        SANTA CLARA      CA   95051     HEALTH PLAN       FK2217289              100                                  400      250       500

100083517   040097691   KAISER WEST MARIETTA PHCY            MARIETTA       GA   30064     HEALTH PLAN       FK2217378    2,400    2,700    2,300    3,400     6,000    3,500    3,383    20,300

100083642   040097923   KAISER PERMANENTE SNELLVILLE        SNELLVILLE      GA   30078     HEALTH PLAN       FK2217518    3,800    4,500    3,100    4,100     5,600    6,000    4,517    27,100

100083690   040097956   KAISER PERMANENTE DOUGLASVILLE     DOUGLASVILLE     GA   30135     HEALTH PLAN       FK2233473    7,600    7,000    6,700    5,700    13,900    6,000    7,817    46,900

100084984   024107136   KAISER PERMANENTE PHARMACY 336     LOS ANGELES      CA   90047     HEALTH PLAN       FK2303559                                        10,400   16,800   13,600    27,200

100084485   038097071   KAISER PERM-EVERGREEN PHARMACY      EVERGREEN       CO   80439     HEALTH PLAN       FK2335594    4,100    5,300     200      200       200     2,000    2,000    12,000

100084535   040132118   KAISER PERMANENTE NEWNAN             NEWNAN         GA   30263     HEALTH PLAN       FK2345127    3,600    3,300    2,500    3,200     2,400    2,400    2,900    17,400

100085091   024107516   KAISER PERM PHARMACY #886            VENTURA        CA   93003     HEALTH PLAN       FK2359289              100               200     46,700   43,200   22,550    90,200

100085165   040132167   KAISER PERMANENTE CONYERS            CONYERS        GA   30013     HEALTH PLAN       FK2370904    2,800    2,300    2,200    2,700     5,500    2,900    3,067    18,400

100107467   037134817   KING'S LTC PHARMACY                 BEAUMONT        TX   77701   LONG TERM CARE      FK2380246   11,100    6,500    9,600    9,600     7,900    7,200    8,650    51,900

100085180   026003285   KAPAA PHARMACY                        KAPAA         HI   96746     INDEPENDENT       FK2402294    5,000    4,500    3,500     500      3,100    3,100    3,283    19,700

100091213   055031468   NOVANT HLTH KERNERSVILLE (WAC)     KERNERSVILLE     NC   27284       HOSPITAL        FK2410607     200      200      300      550       450               340      1,700

100085489   055025361   NOVANT HLTH KERNERSVILLE MD CT     KERNERSVILLE     NC   27284       HOSPITAL        FK2410607     450      500      150                300               350      1,400

100088491   055030098   NOVANT HLT KERNERSVL CT ED340B     KERNERSVILLE     NC   27284   PHS 340B HOSPITAL   FK2410607     100      300      100                         800      325      1,300

100085436   040103317   KAISER FAYETTEVILLE                FAYETTEVILLE     GA   30214     HEALTH PLAN       FK2439986    3,400    3,600    2,400    3,600     4,500    4,300    3,633    21,800

100085503   012004515   KAISER FOUNDATION HOSP PHY 651       ONTARIO        CA   91761     HEALTH PLAN       FK2454560    2,000    1,000    3,000    3,000              2,000    2,200    11,000
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100085504   012005546   KAISER PERM PHCY #657                ONTARIO        CA   91761    HEALTH PLAN      FK2454572     300      200      200              85,400   93,500   35,920   179,600

100084320   012089052   KINDRED HOSPITAL-RANCHO          RANCHO CUCAMONGA   CA   91730      HOSPITAL       FK2486163     450      700      700      700       600      100      542      3,250

100084248   012089011   KINDRED HOSPITAL RIVERSIDE            PERRIS        CA   92571      HOSPITAL       FK2486202     100      400      300      700       440      100      340      2,040

100084246   024106401   KINDRED HOSPITAL-BALDWIN PARK      BALDWIN PARK     CA   91706      HOSPITAL       FK2486377     600      400      300      700       600      100      450      2,700

100084321   024106435   KINDRED HOSPITAL SOUTH BAY           GARDENA        CA   90247      HOSPITAL       FK2486416     200      500     1,900                                 867      2,600

100085838   040104612   KAISER PERMANENTE PEACHTREE          ATLANTA        GA   30303    HEALTH PLAN      FK2496809     700      400      600      500      1,000     700      650      3,900

100086748   008102541   KAISER PERM PHAR 339 /B             SAN MATEO       CA   94403    HEALTH PLAN      FK2503046     100      400      300               5,600    8,500    2,980    14,900

100086665   040106559   *LEE AND PICKELS DRUGSTORE CPA       QUITMAN        GA   31643    INDEPENDENT      FK2527577   17,700                                                 17,700    17,700

100087940   008104489   KAISER PERM PHAR 303 /M             ELK GROVE       CA   95757    HEALTH PLAN      FK2564842              200      200      200     19,300   63,800   16,740    83,700

100087320   008103085   KAISER PERM PHAR 609 B             SACRAMENTO       CA   95823    HEALTH PLAN      FK2564878    2,900    1,600    1,900    1,900    17,500   63,000   14,800    88,800

100085700   012026807   COOLEY HEALTH PHARMACY                COLTON        CA   92324    INDEPENDENT      FK2576099   15,500   15,000   17,800   13,800    14,500   12,500   14,850    89,100

100086156   038100156   KAISER BRIGHTON MED BUILDING         BRIGHTON       CO   80601    HEALTH PLAN      FK2615790   12,500   13,900    3,800              1,000    2,600    6,760    33,800

100087463   019150003   KODO PHARMACY INC CPA                 JOLIET        IL   60433    INDEPENDENT      FK2622808    4,600    6,000    4,600    6,500     4,000    4,200    4,983    29,900

100096327   019163162   KODO PHCY INC COMBO CPA               JOLIET        IL   60433    INDEPENDENT      FK2622808              500                                  500      500      1,000

100086505   018196246   K & K PHARMACY CPA                  MULESHOE        TX   79347    INDEPENDENT      FK2625462             9,800    7,000   11,000     5,500   10,500    8,760    43,800

100086157   038100164   KAISER CASTLEROCK MED BUILDING     CASTLE ROCK      CO   80104    HEALTH PLAN      FK2652673    6,900    6,700     400                         700     3,675    14,700

100086731   032139402   KAISER PERM HILLSBORO BASELINE      HILLSBORO       OR   97123    HEALTH PLAN      FK2698516                       200                                  200       200

100087834   044206409   KB PHARMACY, LLC     APSC             MARION        KY   42064    INDEPENDENT      FK2811998   16,300   14,100   17,000   12,100    17,300   13,100   14,983    89,900

100105795   010236398   HEALTHSPAN INTEGRD CARE-N CANT     NORTH CANTON     OH   44720    HEALTH PLAN      FK2862262              700      300      600                         533      1,600

100105796   010236406   HEALTHSPAN INTEGRTD CARE -MENT       MENTOR         OH   44060    HEALTH PLAN      FK2869280    1,000     500     1,000                                 833      2,500

100105797   010236414   HEALTHSPAN INTEGRTD CARE- CONC   CONCORD TOWNSHIP   OH   44077    HEALTH PLAN      FK2887341     800     2,000    1,700    1,000                       1,375     5,500

100092264   008051284   LUKE'S YREKA DRUG CPA                 YREKA         CA   96097    INDEPENDENT      FK2889890   35,800   34,400   33,600   32,400    49,600   37,800   37,267   223,600

100107711   008116715   LUKES YREKA DRUG 340B                 YREKA         CA   96097   PHS 340B CLINIC   FK2889890    1,500    6,500    2,500                                3,500    10,500

100088828   049187120   KAHLER PHARMACY APSC                  TOLEDO        OH   43609    INDEPENDENT      FK2904161    7,000   10,400   33,200    4,600      400     1,900    9,583    57,500

100088246   032010983   KINDRED HOSP SEATTLE-FIRST HLL       SEATTLE        WA   98101      HOSPITAL       FK2913920                                          200      200      200       400

100109998   018405589   KK'S PHARMACY #51 CPA                 DALLAS        TX   75233    INDEPENDENT      FK2938770             5,000    6,000    6,200     3,000    4,000    4,840    24,200

100105798   010236422   HEALTHSPAN INTEGRTD CARE -KENT         KENT         OH   44240    HEALTH PLAN      FK2942010     500     1,200     900                                  867      2,600

100105799   010236430   HEALTHSPAN INTEGRTD CARE -MEDI        MEDINA        OH   44256    HEALTH PLAN      FK2951906    1,000    1,400     700      500                         900      3,600

100109959   018405555   KK'S PHARMACY #251    CPA           MANSFIELD       TX   76063    INDEPENDENT      FK2959875            10,500   10,420   12,140    11,500    4,260    9,764    48,820

100088348   040112250   KAISER PERMANENTE ATHENS              ATHENS        GA   30606    HEALTH PLAN      FK2968759    4,100    3,900    3,100    4,300     4,000    3,800    3,867    23,200

100088620   037127712   KINDRED REHABILITATION HOSP NE        HUMBLE        TX   77338      HOSPITAL       FK2993598     600      700      900     2,500      400     1,020    1,020     6,120

100090489   008019539   KAISER PERM PHCY #596-599 /M         ROSEVILLE      CA   95661    HEALTH PLAN      FK3009758              200     4,800   (2,100)   32,000   25,200   12,020    60,100

100088673   012102244   KAISER FOUNDATION HOSP #367          ANAHEIM        CA   92806    HEALTH PLAN      FK3092640    2,000    4,000    3,100    2,000     2,000    2,000    2,517    15,100

100088630   012005058   KAISER PERM #532 PHCY O/P              INDIO        CA   92201    HEALTH PLAN      FK3097828                                        16,200    9,000   12,600    25,200

100088843   012102418   KAISER PERM #363 PHCY MOB 2          ANAHEIM        CA   92806    HEALTH PLAN      FK3105017              100      100              71,600   83,900   38,925   155,700

100088844   026003723   KPHC PHARMACY II 340B                HONOLULU       HI   96817   PHS 340B CLINIC   FK3105055     100      300       -                                   133       400

100109988   018405571   KK'S PHARMACY #151      CPA        FLOWER MOUND     TX   75022    INDEPENDENT      FK3116527             3,500    3,200    6,500     4,000    2,060    3,852    19,260

100089171   040113597   KAISER TOWNPARK CLINIC PHCY         KENNESAW        GA   30144    HEALTH PLAN      FK3158741              100      100      100       100               100       400

100088914   012102475   GEMMELS COMPOUNDING PHARMACY         ONTARIO        CA   91762    INDEPENDENT      FK3167029                                         1,600             1,600     1,600

100089362   024066019   KYOTO PHARMACY                     LOS ANGELES      CA   90013    INDEPENDENT      FK3189823    5,000    5,000    4,500    7,300     1,000    2,500    4,217    25,300

100089989   018236893   KEARNEY PARK PHARMACY                MESQUITE       TX   75149    INDEPENDENT      FK3197008    2,100    2,500    2,000    7,500              3,000    3,420    17,100

100089853   038104992   KAISER PERM-FT. COLLINS PHARM      FORT COLLINS     CO   80528    HEALTH PLAN      FK3229019    3,800    5,100    2,100     300               3,800    3,020    15,100

100093034   008092783   KAISER PERM PHAR #610              SACRAMENTO       CA   95825    HEALTH PLAN      FK3263833                                         3,000   10,200    6,600    13,200

100090993   041144220   KAISER TYSONS CORNER                 MC LEAN        VA   22102    HEALTH PLAN      FK3348136   10,800   12,300   11,100    8,500     8,000    8,300    9,833    59,000
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100089852   038104984   KAISER PERM-LOVELAND PHARM          LOVELAND       CO   80537     HEALTH PLAN       FK3360043    7,000   10,700    1,000     500      1,800     1,200     3,700    22,200

100092834   023136770   KEYSTONE PHARMACY                  HARRISBURG      PA   17104     INDEPENDENT       FK3544574    1,900     600     2,100     700      5,000               2,060    10,300

100093992   012013292   KAISER PERM PHAR #531             MORENO VALLEY    CA   92555     HEALTH PLAN       FK3616173     100                                24,900    38,400    21,133    63,400

100094061   044071662   KEY DRUGS AT NORTHWEST LLC CPA     POPLAR BLUFF    MO   63901     INDEPENDENT       FK3633941    2,500    3,900    3,000              5,900    10,000     5,060    25,300

100094109   012089698   KAISER PERM PHAR #369             FOOTHILL RANCH   CA   92610     HEALTH PLAN       FK3640504     100      200               100      4,100     7,900     2,480    12,400

100096722   041152769   KAISER SOUTH BALTIMORE CO PHCY     HALETHORPE      MD   21227     HEALTH PLAN       FK3712824    6,600    5,000    8,700    5,700    10,000     2,000     6,333    38,000

100101127   012087924   KAISER PERM PHCY #189                FONTANA       CA   92335     HEALTH PLAN       FK3739503                                       110,600   148,500   129,550   259,100

100103871   032151480   KAISER PERMANENTE WESTSIDE MED      HILLSBORO      OR   97124     HEALTH PLAN       FK3798456             2,500    1,300    1,200     1,100     2,400     1,700     8,500

100103869   032151464   KAISER PERMANENTE WESTSIDE IP       HILLSBORO      OR   97124     HEALTH PLAN       FK3798482    1,500    1,700    1,500    6,500                         2,800    11,200

100104731   012084681   KAISER PERMANENTE PHCY #237         SAN DIEGO      CA   92130     HEALTH PLAN       FK3826849                                         6,800    24,100    15,450    30,900

100104026   024057034   KAISER PERM PHAR #120                GARDENA       CA   90248     HEALTH PLAN       FK3842893     100                                27,500    24,000    17,200    51,600

100104202   024002733   KAISER PERM PHARMACY #612          BAKERSFIELD     CA   93301     HEALTH PLAN       FK3879256                                                    100       100       100

100104455   044219667   KINDRED HOSP-ST LOUIS AT MERCY      SAINT LOUIS    MO   63141       HOSPITAL        FK3894373     400      300      500      400                 600       440      2,200

100104984   024015354   KAISER PERM PHAR #264            NORTH HOLLYWOOD   CA   91601     HEALTH PLAN       FK3944825                                         5,100     5,500     5,300    10,600

100104637   041153544   KAISER STERLING AUTOREFILL CTR       STERLING      VA   20164     HEALTH PLAN       FK3972329   20,800   14,800   21,200   15,100                        17,975    71,900

100053829   024037317   KINGSLEY PHARMACY                  LOS ANGELES     CA   90020     INDEPENDENT       FK4009975    1,700    2,700    2,500    1,300                         2,050     8,200

100105946   008017780   KAISER PERM PHAR #931               SAN RAMON      CA   94583     HEALTH PLAN       FK4041214     200      200     1,500     200     53,400    11,400    11,150    66,900

100107672   021174326   KILGORE'S MED PHCY-ASHLAND SF        ASHLAND       MO   65010     INDEPENDENT       FK4076445    4,500    5,600    4,600    6,600     2,100     1,500     4,150    24,900

100107460   037134809   KING'S PHARMACY LUMBERTON LLC      LUMBERTON       TX   77657     INDEPENDENT       FK4076471                        20               2,400     6,100     2,840     8,520

100105046   023152561   BERT'S PHARMACY                     ELIZABETH      NJ   07206     INDEPENDENT       FK4105171              300      200               1,700      100       575      2,300

100088575   021054627   CLINIC PHARMACY 340B                  BOONE        IA   50036   PHS 340B HOSPITAL   FK4125503     500      600      600     1,100      800       100       617      3,700

100088554   021035519   MED ASSOCIATES PHCY 340B              BOONE        IA   50036   PHS 340B HOSPITAL   FK4125527    1,500    2,000    1,500    1,500     1,000     1,000     1,417     8,500

100106724   021173690   KIOWA PRESCRIPTIONS PLUS CPA          KIOWA        KS   67070     INDEPENDENT       FK4128472    3,500    2,500    1,000   10,000     7,000     1,500     4,250    25,500

100105761   040120733   KAISER PERM SANDY SPRGS PHCY         ATLANTA       GA   30342     HEALTH PLAN       FK4132180    4,300    5,400    5,400    4,300     5,000     5,700     5,017    30,100

100105769   026004549   KAISER PEARLRIDGE PHARMACY             AIEA        HI   96701     HEALTH PLAN       FK4137320    2,400    1,000    2,400    1,200     2,000     2,000     1,833    11,000

100106825   008008516   KAISER PERM PHAR #105                OAKLAND       CA   94611     HEALTH PLAN       FK4178958              200      300      300     46,100    44,400    18,260    91,300

100105899   026004580   KAISER KAPOLEI OP PHCY               KAPOLEI       HI   96707     HEALTH PLAN       FK4187387    1,000    4,300    2,100    3,100     5,200     1,200     2,817    16,900

100055196   032075721   KAISER PERM LONGVIEW KELSO ONC      LONGVIEW       WA   98632     HEALTH PLAN       FK4192112              200      200                                    200       400

100106867   038110742   KAISER PERM-LONE TREE AMB PHY       LONE TREE      CO   80124     HEALTH PLAN       FK4193380                       300                                    300       300

100107290   032152389   KAISER PERMANENTE GATEWAY OP        PORTLAND       OR   97220     HEALTH PLAN       FK4201947             2,400    5,300    2,400     6,500     6,200     4,560    22,800

100107200   038110767   KAISER PERM LONE TREE O/P PHCY      LONE TREE      CO   80124     HEALTH PLAN       FK4210566    7,100    5,200     600                         5,900     4,700    18,800

100107326   012087296   KAISER PERM PHAR #379                 TUSTIN       CA   92780     HEALTH PLAN       FK4241737                                         8,800    12,000    10,400    20,800

100107288   038110809   KAISER PERM GREELEY PHARMACY         GREELEY       CO   80634     HEALTH PLAN       FK4260131    2,000    1,900    1,900                         700      1,625     6,500

100107159   055043844   KERR HEALTH LTC LLC                  RALEIGH       NC   27616   LONG TERM CARE      FK4264329     700      500      400      200       600      2,600      833      5,000

100108894   012112987   KAISER PERM PHAR #752               OCEANSIDE      CA   92056     HEALTH PLAN       FK4312687                                        22,500     7,200    14,850    29,700

100108868   008117481   KAISER PERM PHAR #921              SAN LEANDRO     CA   94577     HEALTH PLAN       FK4332881     800     1,400    1,900    1,200    81,300   102,200    31,467   188,800

100109440   049196998   KELLYS PHARMACY APG                EASTPOINTE      MI   48021     INDEPENDENT       FK4337386    4,700    3,300    3,100    1,600     7,000               3,940    19,700

100109143   040121632   KAISER SOUTHWOOD CLINIC PHCY       JONESBORO       GA   30236     HEALTH PLAN       FK4394247              200      100                400                 233       700

100109830   024122622   KAISER PERM PHAR #002              LOS ANGELES     CA   90027     HEALTH PLAN       FK4416738              100      100              62,800    31,400    23,600    94,400

100109646   024122549   KAISER PERM PHAR #122              HARBOR CITY     CA   90710     HEALTH PLAN       FK4416764                                        17,200     9,600    13,400    26,800

100109799   012113605   KAISER PERMANENTE PHCY #533         RIVERSIDE      CA   92518     HEALTH PLAN       FK4425965                                        18,400    39,900    29,150    58,300

100109651   012113571   KAISER PERM PHAR #082               CERRITOS       CA   90703     HEALTH PLAN       FK4428199                                100     16,200    27,600    14,633    43,900

100109809   040122176   KAISER GLENLAKE CLINIC PHCY          ATLANTA       GA   30328     HEALTH PLAN       FK4470403     100                                                      100       100

100109806   008118455   KAISER FOUND HOSP PHCY #92A        SAN LEANDRO     CA   94577     HEALTH PLAN       FK4481785    1,000    1,600    1,400     500      2,300     3,200     1,667    10,000
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100110028   008118547   KAISER PERM PHCY #10A                  OAKLAND        CA   94611    HEALTH PLAN      FK4549006    2,000             3,600     1,300      7,300    5,100    3,860    19,300

100110142   026004721   KAISER KONA PHARMACY                 KAILUA KONA      HI   96740    HEALTH PLAN      FK4574554            24,800   18,400    22,400     30,800   13,200   21,920   109,600

100110750   024122960   KAISER PERM PHCY #260                 LANCASTER       CA   93534    HEALTH PLAN      FK4760232                                          33,400   42,600   38,000    76,000

100111466   008000468   KAISER PERM PHAR #37B/378           REDWOOD CITY      CA   94063    HEALTH PLAN      FK4905064                                                     900      900       900

100071650   021143107   LAKELAND PHARMACY 3       CPA           CRANE         MO   65633    INDEPENDENT      FL0019592   26,000   16,200   10,300    17,400      8,700   14,200   15,467    92,800

100076698   049122317   LAKESIDE PHARMACY                      MACOMB         MI   48044    INDEPENDENT      FL0047820   10,600   14,600    8,900    14,700     15,800   12,900   12,917    77,500

100057958   046131953   LEON MEDICAL CENTER                    HIALEAH        FL   33016      HOSPITAL       FL0074740                       400                                    400       400

100074420   018093658   *LEGENDS PHARMACY - RETAIL SA        SAN ANTONIO      TX   78216    INDEPENDENT      FL0135687    3,000    3,500    4,700                                  3,733    11,200

100071652   044143313   LEACHVILLE DISCOUNT DRUG CPA          LEACHVILLE      AR   72438    INDEPENDENT      FL0245161   11,100    6,000   24,600                3,000    5,000    9,940    49,700

100106520   010236646   WINDSOR LAUREL CTR FOR BEH MED       WILLOUGHBY       OH   44094      HOSPITAL       FL0391552                                  100                         100       100

100069911   023111286   LIFEMED PHARMACY LLC(X)                INWOOD         NY   11096   LONG TERM CARE    FL0409436    8,100    5,200    5,200     4,200      3,300    3,200    4,867    29,200

100085739   019142349   NORTHWESTERN LAKE FOREST HOSP        LAKE FOREST      IL   60045      HOSPITAL       FL0430481    3,900    3,300    4,900     4,600      2,500    4,280    3,913    23,480

100086809   010213579   LIFELINE INSTITUTIONAL PHCY            HAMILTON       OH   45015   LONG TERM CARE    FL0463315   20,200   11,500   19,000    23,600     17,400   11,000   17,117   102,700

100104118   037133454   LINO'S ROBOT PHARMACY #2            RIO GRANDE CITY   TX   78582    INDEPENDENT      FL0484799    8,500   15,900   11,000    10,500      6,000            10,380    51,900

100104110   037133447   LINO'S PHARMACY #2                  RIO GRANDE CITY   TX   78582    INDEPENDENT      FL0484799    3,100    1,700    2,600     2,700      4,400    6,400    3,483    20,900

100072110   024009563   LUCKY PHARMACY                       SAN GABRIEL      CA   91776    INDEPENDENT      FL0522626     400     1,700    4,200     2,000      2,500    3,400    2,367    14,200

100076152   008090811   LINDA RX PHARMACY CPA                  SAN JOSE       CA   95121    INDEPENDENT      FL0538819     600     1,100     500        200       200     1,000     600      3,600

100072201   046033977   LAS VILLAS PHARMACY DISCOUNT           HIALEAH        FL   33012    INDEPENDENT      FL0688133     200      300      600        200                200      300      1,500

100069657   037029462   LAA DRUG LLC,                          HEARNE         TX   77859    INDEPENDENT      FL0692930    7,600   10,600    9,500     7,100      6,800    6,100    7,950    47,700

100076371   010123141   MAYSVILLE OB/GYN FAM HLTH APSC        MAYSVILLE       KY   41056    INDEPENDENT      FL0707539    3,100    4,800    3,500     3,900      5,800    4,000    4,183    25,100

100069575   010123281   MAYSVILLE OB/GYN FAM HC RX 340        MAYSVILLE       KY   41056   PHS 340B CLINIC   FL0707539    1,000    1,100     500                                    867      2,600

100104970   021172882   LASTING HOPE RECOVERY CENTER            OMAHA         NE   68131      HOSPITAL       FL0758079              250      100        100                         150       450

100106459   019183509   LINCOLN PRAIRIE BEHAV HLTH CTR       SPRINGFIELD      IL   62703      HOSPITAL       FL0804701                                            100               100       100

100066773   046124578   LA MILAGROSA PHCY & DISC LLC            MIAMI         FL   33130    INDEPENDENT      FL0914108     700     1,200     300      1,100      1,000     500      800      4,800

100106456   046059287   CENTRAL FLORIDA BEHAV HOSP             ORLANDO        FL   32821      HOSPITAL       FL1048708     100      500      200        600       560      200      360      2,160

100071610   046141762   LARGO MED CTR INDIAN ROCKS              LARGO         FL   33774      HOSPITAL       FL1058785     800      300      100      1,400                 80      536      2,680

100058234   044048355   LOURDES AMBULATORY SURGERY CTR         PADUCAH        KY   42003      HOSPITAL       FL1090024     100               200                           100      133       400

100071981   018143370   LAKEPOINTE PHARMACY #1      CPA       ROCKWALL        TX   75032    INDEPENDENT      FL1100370    8,500    6,200     (100)                                 4,867    14,600

100085731   023103697   LONG VALLEY PHARMACY (ARX)           LONG VALLEY      NJ   07853    INDEPENDENT      FL1171569     300      300      300        300      1,500     400      517      3,100

100068857   023112557   LI SCRIPT LLC(X)                      WOODBURY        NY   11797   LONG TERM CARE    FL1184934    5,000    5,500    7,000     3,000      5,200    9,300    5,833    35,000

100111272   012002124   LLU HEART & SURG HSP WAC              REDLANDS        CA   92373      HOSPITAL       FL1251901                                                     100      100       100

100069157   018177196   LTC DYNAMICS                           FAIRFIELD      TX   75840   LONG TERM CARE    FL1256014             1,500    1,400       500      1,500    1,500    1,280     6,400

100068889   018168013   LAMAR PLAZA DRUG STORE        CPA       AUSTIN        TX   78704    INDEPENDENT      FL1283910   20,600    1,600   14,800    11,700              10,500   11,840    59,200

100067841   037116418   *LEGENDS PHARMACY II                   HOUSTON        TX   77082   LONG TERM CARE    FL1377200    3,000    9,000    5,000                                  5,667    17,000

100110627   008118745   LIMA'S SPECIALTY CARE PHCY SF          EUREKA         CA   95501    INDEPENDENT      FL1384077                                1,000                500      750      1,500

100087370   046039073   LIFE WORTH LIVING                      ORLANDO        FL   32835    INDEPENDENT      FL1401645     100      200     1,000       600       500     2,500     817      4,900

100111149   012001981   LLU MEDICAL CENTER                    LOMA LINDA      CA   92354    HEALTH PLAN      FL1468695                                                    3,200    3,200     3,200

100070975   044176008   LEPANTO DISCOUNT DRUGS        CPA      LEPANTO        AR   72354    INDEPENDENT      FL1528302    5,000   17,600   23,100    (10,000)   23,500    5,500   10,783    64,700

100075332   046127613   LEON MEDICAL CENTERS, INC               MIAMI         FL   33126      HOSPITAL       FL1696345                       400        400                         400       800

100068800   010186304   LIFE LINE HOSPITAL                   WINTERSVILLE     OH   43953      HOSPITAL       FL1736567      50      300      100        150       280      200      180      1,080

100091212   046042606   LUTZ PHARMACY LLC                        LUTZ         FL   33549    INDEPENDENT      FL1811656    2,200    2,100    3,000     1,200      2,900    2,500    2,317    13,900

100084622   046034660   LINCOURT ASSISTED LIVING, INC        CLEARWATER       FL   33756    INDEPENDENT      FL1827990    2,000    3,100    1,500     2,000      2,000     200     1,800    10,800

100071579   020140061   LAS VEGAS SURGERY CTR #712            LAS VEGAS       NV   89106      HOSPITAL       FL1875117                       100         -                           50       100

100074811   037175760   LAKESIDE PHARMACY        CPA         MONTGOMERY       TX   77356    INDEPENDENT      FL1886627   33,700   34,500   23,400    23,400     26,700   18,920   26,770   160,620
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100083450   018181040   LAKESIDE PHARMACY       CPA          EUFAULA        OK   74432       INDEPENDENT        FL1934074   15,900    8,800   28,400    17,900   15,700    2,000   14,783   88,700

100075395   041129353   LOCH RAVEN PHARMACY                 BALTIMORE       MD   21239       INDEPENDENT        FL1951272     200               600       500      200      100      320     1,600

100093225   019161786   LINDEN OAKS HOSPITAL                NAPERVILLE      IL   60540         HOSPITAL         FL2011233     300      100      100       800                        325     1,300

100109975   010238246   LINCOLN PARKWAY PHARMACY CPA       HODGENVILLE      KY   42748       INDEPENDENT        FL2013718    8,600   16,300   16,100    28,100   15,900   13,600   16,433   98,600

100075924   037121376   LAKE WOODLANDS SURGICAL CENTER   THE WOODLANDS      TX   77382         ALT SITE         FL2192653     100       -                 100                         67      200

100085169   046035816   LIFE SAVERX, LLC                    BRANDON         FL   33511   HOME HEALTH SERVICES   FL2302064     100      200      200       500               400      280     1,400

100084715   052164061   LIVEWELL PHARMACY                  LENOIR CITY      TN   37772       INDEPENDENT        FL2344682    2,000                        200     1,700    1,200    1,275    5,100

100071696   046116467   LA MILAGROSA PHCY&DISC LLC(MHA        MIAMI         FL   33130       INDEPENDENT        FL2475312     500               500      1,000                       667     2,000

100087683   024111534   LOS ROBLES HOSP & MED CTR #712   WESTLAKE VILLAGE   CA   91362         HOSPITAL         FL2520597    1,000    1,300    1,500      400     1,000     880     1,013    6,080

100071587   024140012   LOS ROBLES HOSP & MED CTR #712    THOUSAND OAKS     CA   91360         HOSPITAL         FL2520600    3,300    3,150    3,400     2,500    6,200     400     3,158   18,950

100086271   056103762   LYON'S PHARMACY                  HAVRE DE GRACE     MD   21078       INDEPENDENT        FL2521741     500      100                        1,800    2,000    1,100    4,400

100086346   023106849   LAURELTON PHARMACY CPA              LAURELTON       NY   11413       INDEPENDENT        FL2534801              200      200       600      500      100      320     1,600

100086785   010213504   LINCOLN HEIGHTS FAM PHCY APSC       CINCINNATI      OH   45215       INDEPENDENT        FL2583260    1,000    1,500    1,500              1,500             1,375    5,500

100087687   037125096   LAFAYETTE SURG SPECIALTY HOSP       LAFAYETTE       LA   70508         HOSPITAL         FL2591205     500      500      400       300     1,020     240      493     2,960

100109308   038110858   MILL STREET DRUG CPA                 BAYFIELD       CO   81122       INDEPENDENT        FL2860561    9,700    4,700    2,500     3,700    4,500    3,200    4,717   28,300

100088567   046040618   LA MILAGROSA PHCY & DISC, LLC         MIAMI         FL   33125       INDEPENDENT        FL2926345     100      200                100      100               125      500

100088042   052173740   *LOVELACE DRUGS #3868 (FREDS)     OCEAN SPRINGS     MS   39564          CHAIN           FL2926965    4,700    3,500     (100)                               2,700    8,100

100088206   055029553   LITTLE RIVER MED CTR (340B MB)    MYRTLE BEACH      SC   29572      PHS 340B CLINIC     FL2928983    1,000     600      900       200     1,200              780     3,900

100104239   055038687   LITTLE RIVER MED CTR PHCY (MB)    MYRTLE BEACH      SC   29572       INDEPENDENT        FL2928983                       100                                  100      100

100087932   055028985   LAKE WYLIE PHARMACY      CPA        LAKE WYLIE      SC   29710       INDEPENDENT        FL2971352    6,400    6,600    8,200     6,500    7,500    7,100    7,050   42,300

100088547   046040600   TRU-VALU DRUGS                     LAKE WORTH       FL   33460       INDEPENDENT        FL2982773             1,000                       1,500    1,500    1,333    4,000

100089321   040113860   LIVE OAK PHARMACY CPA                CAMILLA        GA   31730       INDEPENDENT        FL3024154   10,700    5,800    1,000     7,600   10,700    4,000    6,633   39,800

100108423   037135053   LOUISIANA MED CTR HEART HOSP         LACOMBE        LA   70445         HOSPITAL         FL3049764     600      800      700       800     1,000    1,200     850     5,100

100090139   010224279   FLEMINGSBURG FAM HTH CR PHYPHS    FLEMINGSBURG      KY   41041      PHS 340B CLINIC     FL3059462    1,500    1,900    1,300     3,100    2,000             1,960    9,800

100090149   010224261   FLEMINGSBURG FAM HLTH CTR PCY     FLEMINGSBURG      KY   41041       INDEPENDENT        FL3059462    1,800    1,300    1,600     3,800                      2,125    8,500

100089068   021167148   PRONTO PHARMACY #4 CPA                JOPLIN        MO   64804       INDEPENDENT        FL3071696   10,900   18,200    9,900    20,600   15,200    6,500   13,550   81,300

100089158   052188169   LAKESIDE PHCY OF ALA, INC. SF       WEDOWEE         AL   36278       INDEPENDENT        FL3079628    6,200   11,200    8,300     8,700    5,700    8,200    8,050   48,300

100089212   018114496   LAKEWAY REGIONAL MEDICAL CTR         LAKEWAY        TX   78734         HOSPITAL         FL3084643     800      900      600       700      960      880      807     4,840

100105108   018114546   LONG PRAIRIE PHARMACY             FLOWER MOUND      TX   75028       INDEPENDENT        FL3134943    4,800    5,100    4,000     4,400    4,000    3,500    4,300   25,800

100088460   024113399   TOP-CARE PHARMACY                  BELLFLOWER       CA   90706       INDEPENDENT        FL3144108    3,000    3,000    5,000     1,500                      3,125   12,500

100092046   023136481   LIFE INFUSIONS CORP                   BRONX         NY   10469   HOME HEALTH SERVICES   FL3372884                                                    60       60       60

100111138   012001973   LLU HIGHLAND SPRINGS PHMCY          BEAUMONT        CA   92223       HEALTH PLAN        FL3384916                                          800     7,900    4,350    8,700

100093016   021026021   PRONTO PHARMACY #5 CPA              WEBB CITY       MO   64870       INDEPENDENT        FL3473826    7,700    7,100    7,000     3,000    7,300    8,500    6,767   40,600

100092153   004090506   LIFEMED PHARMACY OF ROCHESTER      ROCHESTER        NY   14615     LONG TERM CARE       FL3495214   12,100    9,300   11,400    12,700   11,680   13,300   11,747   70,480

100093942   046043760   LITTLE ROAD PHARMACY LLC         NEW PORT RICHEY    FL   34655       INDEPENDENT        FL3510206    3,000    2,300    3,000     1,100    2,500     500     2,067   12,400

100093880   023137224   LIVINGSTON PHARMACY                 LIVINGSTON      NJ   07039       INDEPENDENT        FL3621011              100                                           100      100

100111150   012001983   LLUMC OUTPATIENT PHARMACY           LOMA LINDA      CA   92350         HOSPITAL         FL3675153                                                 16,600   16,600   16,600

100101395   049194613   LIVE WELL PHCY, INC    SF          HAZEL PARK       MI   48030       INDEPENDENT        FL3693719    9,100    7,000    7,500     8,900   17,000   15,100   10,767   64,600

100101315   037133298   LSU SURG CTR PHARMACY 340B         BATON ROUGE      LA   70810     PHS 340B HOSPITAL    FL3797567     200                         100      160               153      460

100104199   017098129   LONE PEAK HOSPITAL                   DRAPER         UT   84020         HOSPITAL         FL3890933     300      400      400       500      500      100      367     2,200

100107397   032152470   LAKEWOOD PHARMACY INC.               TACOMA         WA   98444       INDEPENDENT        FL4282567    4,500             4,500      600     1,900    1,000    2,500   12,500

100107821   012112763   LA QUINTA PHARMACY                 PALM DESERT      CA   92211       INDEPENDENT        FL4301569    1,600     300      200       300     3,200    2,900    1,417    8,500

100106839   018404145   LAKE HILLS PHARMACY CPA             BEE CAVE        TX   78738       INDEPENDENT        FL4317221                       500      2,000             1,500    1,333    4,000

100108071   023153999   LVH TILGHMAN                       ALLENTOWN        PA   18104         HOSPITAL         FL4347692              400                                  400      400      800
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100110397   010238485   LIMA MEM HOSP O/P PHCY APSC            LIMA         OH   45804     INDEPENDENT       FL4396051               200      500      2,700             1,500    1,225      4,900

100109947   046060129   LE VT INC DBA: V&T PHARMACY II        TAMPA         FL   33626     INDEPENDENT       FL4399019     600       800      (400)     200      700      200      350       2,100

100111156   012001989   LLU MED CENTER - MURRIETA           MURRIETA        CA   92563       HOSPITAL        FL4416841                                                   7,600    7,600      7,600

100111155   012001988   LLU MED CENTER - MURRIETA           MURRIETA        CA   92563       HOSPITAL        FL4456643                                                   2,900    2,900      2,900

100109715   038110932   LOWRY FAMILY HLTHCTR PHCY 340B       DENVER         CO   80239    PHS 340B CLINIC    FL4467165   (2,900)    1,500     900      1,600    1,700    2,000     800       4,800

100108680   023159574   LANSDALE RX PHARMACY CPA            LANSDALE        PA   19446     INDEPENDENT       FL4503531    1,000      200      300       900     2,600     300      883       5,300

100110893   019000306   LIFEMED ILLINOIS LLC               BENSENVILLE      IL   60106   LONG TERM CARE      FL4776223                       1,200    11,500   15,200   12,500   10,100     40,400

100109459   008118299   LARK DRUGS PHARMACY CPA            GUERNEVILLE      CA   95446     INDEPENDENT       FL4780486                                26,000   19,600   13,300   19,633     58,900

100111437   024000439   LUCKY PHARMACY                       ARCADIA        CA   91007     INDEPENDENT       FL4804539                                                    800      800        800

100111462   037000470   LADY OF THE SEA COMM PHCY SF         LAROSE         LA   70373     INDEPENDENT       FL4885375                                                   1,600    1,600      1,600

100111516   012000524   LLU CHILDREN'S HOSPITAL PHRMCY     LOMA LINDA       CA   92350       HOSPITAL        FL4918035                                                   1,700    1,700      1,700

100092300   023136648   MARTINSVILLE PHARMACY             MARTINSVILLE      NJ   08836     INDEPENDENT       FM0021016     600       700      600       400     1,200              700       3,500

100060573   018069419   MAIN STREET DRUG        CPA        WILBURTON        OK   74578     INDEPENDENT       FM0040989   13,400    10,900   22,700     4,800   14,300            13,220     66,100

100064353   052160317   MONTGOMERY DRUG CO ADAMS DRUGS    MONTGOMERY        AL   36109   LONG TERM CARE      FM0042680    2,000     2,000    3,000     1,000    2,900    1,500    2,067     12,400

100059287   018069609   MALONEY PRESCRIPTION PHCY CPA     SWEETWATER        TX   79556     INDEPENDENT       FM0044329   25,100     8,600    5,500    25,400   12,600   19,600   16,133     96,800

100064194   049116905   MEDICAL PARK PHARMACY            BLOOMFIELD HILLS   MI   48302     INDEPENDENT       FM0044482   15,600    20,800   16,900    13,800   27,100   19,800   19,000    114,000

100073979   017000653   MISSOULA PHARMACY                   MISSOULA        MT   59801     INDEPENDENT       FM0069371    1,000     2,000    2,500     2,000    1,600    2,600    1,950     11,700

100072159   021140129   MID AMERICA SURG INST    #712    OVERLAND PARK      KS   66209       HOSPITAL        FM0090732     200       100      100       200      200      100      150        900

100109930   021176339   MEYER HEALTHMART PHCY CPA           WAVERLY         IA   50677     INDEPENDENT       FM0140373    9,400     8,400    9,200     8,200   11,420    1,800    8,070     48,420

100061251   037109777   METSCRIPT PHARMACY #2               RICHMOND        TX   77469     INDEPENDENT       FM0147202               100      (200)                                 (50)      (100)

100064188   012188011   MCINTOSH PHARMACY                     INDIO         CA   92201     INDEPENDENT       FM0159168    4,100     3,500              1,700     100     8,100    3,500     17,500

100068426   010146142   MT CARMEL NEW ALBANY SURG HOSP     NEW ALBANY       OH   43054       HOSPITAL        FM0166226    1,100     1,700    1,350     1,800    1,200    1,400    1,425      8,550

100075330   041131169   *MARSHALL PHARMACY                  MARSHALL        VA   20116     INDEPENDENT       FM0174944    4,200      900     2,200     3,200                      2,625     10,500

100073926   023108688   MEDICITI DRUGS INC II(Z)GNP         MASPETH         NY   11378     INDEPENDENT       FM0243787                        200                        1,300     750       1,500

100072056   018092510   MULDROW PHARMACY INC                MULDROW         OK   74948     INDEPENDENT       FM0280153    8,520    12,140   14,060    24,660   11,060   10,260   13,450     80,700

100069980   049128710   METRO HEALTH PACE PHARMACY        GRAND RAPIDS      MI   49506       HOSPITAL        FM0325729    5,000     4,700    4,600      400     2,900    3,400    3,500     21,000

100068427   019146381   MERCY FAMILY PHCY-DYERSVILLE       DYERSVILLE       IA   52040     INDEPENDENT       FM0350657    1,500     2,000    2,000     2,100     700     2,700    1,833     11,000

100073878   019101006   MIDWEST MEDICAL CTR                  GALENA         IL   61036       HOSPITAL        FM0374809     200       400      300       400                        325       1,300

100064120   023100172   *SHOPRITE SUPERMARKETS INC 110    STATEN ISLAND     NY   10306        CHAIN          FM0440432     200                100                                  150        300

100067959   010141754   METROHEALTH OLD BROOKLYN 340B       CLEVELAND       OH   44109   PHS 340B HOSPITAL   FM0457158    5,200     4,600    5,500     2,600    3,400    6,200    4,583     27,500

100111045   010001872   MARSH DRUGS #7045                   COLUMBUS        IN   47203        CHAIN          FM0461361                                          4,400    4,700    4,550      9,100

100074301   010121517   MIAMI VALLEY HOSP SOUTH-GPO        CENTERVILLE      OH   45459       HOSPITAL        FM0472655     700       600      900      1,200              400      760       3,800

100101178   010234211   MIAMI VALLEY HOSP SOUTH-WAC        CENTERVILLE      OH   45459   PHS 340B HOSPITAL   FM0472655               600      400       500     1,500              750       3,000

100075152   010188508   MIAMI VALLEY HOSP SOUTH-340B       CENTERVILLE      OH   45459   PHS 340B HOSPITAL   FM0472655     600       400      400       500               800      540       2,700

100077152   046012179   MARTINEZ DRUG STORE, INC             HIALEAH        FL   33013     INDEPENDENT       FM0478722     100                                                     100        100

100076272   010121962   MIAMI VALLEY PHARMACY                DAYTON         OH   45409       HOSPITAL        FM0480171    8,200     8,800    8,200    13,300    5,300             8,760     43,800

100101180   010234229   MIAMI VALLEY PHCY RETAIL WAC         DAYTON         OH   45409   PHS 340B HOSPITAL   FM0480171                                  500     3,140    7,900    3,847     11,540

100072329   010141275   KNISLEY PHARMACY       APSC        CHILLICOTHE      OH   45601     INDEPENDENT       FM0484179    4,500     5,000    3,500     3,500    5,100    3,000    4,100     24,600

100092841   018396275   MEDI-RX DRUGS                      SAN ANTONIO      TX   78215     INDEPENDENT       FM0491263     600       500      900      1,500     500     1,800     967       5,800

100074129   052032375   MULBERRY STREET PHCY,LLC, SF         LOUDON         TN   37774     INDEPENDENT       FM0503448    5,000     5,500    8,600     5,000   10,000    6,500    6,767     40,600

100076608   046012898   MULBERRY LONG TERM CARE PHCY        MULBERRY        FL   33860   LONG TERM CARE      FM0550790    6,700     8,030    6,100     3,000    2,500    3,900    5,038     30,230

100072153   018143727   MOORE THAN MEDICINE       CPA         TULIA         TX   79088     INDEPENDENT       FM0577506   14,200    14,800   19,800    21,200   10,600   14,200   15,800     94,800

100076524   056070821   MED ONE PHARMACY INC(Z)(GNP)       BRUNSWICK        MD   21716     INDEPENDENT       FM0653267    5,200     6,200    4,200     4,500    5,300    4,100    4,917     29,500

100072064   018143479   MEDICINE CHEST #111     CPA        CLARKSVILLE      TX   75426     INDEPENDENT       FM0663078    8,400    14,300   14,400    14,100    1,000   11,200   10,567     63,400
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100076437   056070805   MED ONE PHARMACY INC(Z)(GNP)       EMMITSBURG       MD   21727     INDEPENDENT        FM0666682    3,000    2,900    2,700    4,100    3,100    3,600    3,233    19,400

100076438   056070813   MED ONE PHARMACY INC(Z)(GNP)        THURMONT        MD   21788     INDEPENDENT        FM0666719    2,900    3,200    3,400    2,800    4,100    3,700    3,350    20,100

100069023   024024224   MAGNOLIA PHARMACY, INC.              BURBANK        CA   91506     INDEPENDENT        FM0722341    3,900    4,000    2,800    4,100    2,600    2,900    3,383    20,300

100073123   021101972   MARTIN HEALTH SERVICES, INC         JOHNSTON        IA   50131    LONG TERM CARE      FM0772485   38,000   84,200   67,700   42,000   91,880   49,600   62,230   373,380

100092898   021168401   STERLING LTC PHCY #31     SF         ANKENY         IA   50021     INDEPENDENT        FM0799277    2,500    4,000    1,500    1,600    2,400    4,200    2,700    16,200

100073289   040075994   MAGNOLIA MANOR PHARMACY            HAWKINSVILLE     GA   31036    LONG TERM CARE      FM0819699   11,900   11,200   13,500   11,600   12,060    8,880   11,523    69,140

100083415   049179622   MACKS DISCOUNT PHARMACY              DETROIT        MI   48224     INDEPENDENT        FM0955142   13,500    8,500   14,500   18,000   17,000    7,500   13,167    79,000

100076322   049132662   MACKINAC STRAITS HOSPITAL          SAINT IGNACE     MI   49781       HOSPITAL         FM0986779    1,400    1,200     700     1,500    1,100    2,200    1,350     8,100

100084709   049181636   MACKINAC STRAITS HOSPITAL 340B     SAINT IGNACE     MI   49781   PHS 340B HOSPITAL    FM0986779     300      200      700      600                        450      1,800

100073072   024044883   MEDICAL ARTS PHARMACY                  OJAI         CA   93023     INDEPENDENT        FM0997568     300      300      300              4,900   11,200    3,400    17,000

100075383   055090175   MARINE CORP EXCHANGE PHARMACY     CAMP LEJEUNE      NC   28542   HOSPITAL (FEDERAL)   FM1037147    7,500    8,000    7,500    4,800   11,200    8,400    7,900    47,400

100074355   038000802   MCPN PHARMACY 340B                   AURORA         CO   80010    PHS 340B CLINIC     FM1055587    2,500             1,500    1,000             6,000    2,750    11,000

100088692   018203356   MERIDIAN PHCY GROUP AT IRVING         IRVING        TX   75060     INDEPENDENT        FM1116169     600      700      200      700               500      540      2,700

100093940   037039644   FALLBROOK PHARMACY                   HOUSTON        TX   77065     INDEPENDENT        FM1135311    3,500    4,500    4,000    4,000    6,000    2,000    4,000    24,000

100085757   021158782   MEDICAL CENTER PHCY CPA             DODGE CITY      KS   67801     INDEPENDENT        FM1145273    4,500    3,500    4,000    4,000    4,600    3,500    4,017    24,100

100069733   044101253   MARSHALL BROWNING HOSPITAL           DU QUOIN       IL   62832       HOSPITAL         FM1175769    1,800    2,000    2,000    2,100    1,500    2,460    1,977    11,860

100099390   021170597   WALGREENS #15731        DSD         MANSFIELD       MO   65704      WALGREENS         FM1187992    8,000   16,000   11,000   12,100   17,700    6,500   11,883    71,300

100070627   044104281   MEDICINE ARTS PHARMACY, APSC      BOWLING GREEN     KY   42101     INDEPENDENT        FM1207744   10,900   11,600   10,400    8,900   12,400    7,700   10,317    61,900

100096515   044106484   MEDICINE ARTS PHCY, LLC           BOWLING GREEN     KY   42101     INDEPENDENT        FM1207744                      1,600                               1,600     1,600

100068388   049149351   *MERCY HEALTH MUSKEGON              MUSKEGON        MI   49444       HOSPITAL         FM1212353    4,000    4,300    6,400    6,300                      5,250    21,000

100069790   018140731   METHODIST STONE OAK HOSP HCA       SAN ANTONIO      TX   78258       HOSPITAL         FM1225108    4,800    6,700    6,100    4,900    3,600    6,100    5,367    32,200

100092016   046042754   *MEDIX PHARMACY                  LAUDERDALE LAKES   FL   33313     INDEPENDENT        FM1237002     400      300      400      300                        350      1,400

100067579   037115337   MED SOLUTION PHARMACY, INC           HOUSTON        TX   77065     INDEPENDENT        FM1243067    9,800    6,600    9,100   11,000    6,900    8,100    8,583    51,500

100103848   023151787   MEDICINE SOLUTIONS CPA             MANAHAWKIN       NJ   08050     INDEPENDENT        FM1273515    1,100    2,200    3,000    1,800    2,600    2,300    2,167    13,000

100069834   056074070   MRLRX LLC(X)(GNP)                  MARCUS HOOK      PA   19061     INDEPENDENT        FM1284861    4,100    4,000    6,400   13,700     100      500     4,800    28,800

100072344   023111633   MIDLAND DRUGS(Z)                     GARFIELD       NJ   07026     INDEPENDENT        FM1290686     200      300      800      100      300               340      1,700

100071072   017079871   MEDICAL PLAZA PHCY (BINGHAM)        BLACKFOOT       ID   83221     INDEPENDENT        FM1326594    9,200    2,200    8,500    6,600    9,400    7,400    7,217    43,300

100085013   017085761   MEDICAL PLAZA PHCY 340B             BLACKFOOT       ID   83221   PHS 340B HOSPITAL    FM1326594    3,300    8,900    5,000    6,200    2,200    1,600    4,533    27,200

100061140   008107409   MENLO PARK SURGICAL HOSP           MENLO PARK       CA   94025       HOSPITAL         FM1403942                                350                        350       350

100051342   008036368   SUTTER MATERNITY AND SURGERY/S     SANTA CRUZ       CA   95065       HOSPITAL         FM1406847     500      600      400      900      100      200      450      2,700

100071700   037116368   MEDICINE MAN PHARMACY                SANTA FE       TX   77510     INDEPENDENT        FM1409817   33,300   36,000   29,500   32,040   33,400   25,800   31,673   190,040

100090247   010224550   MERCY MEDICAL CENTER MT ORAB       MOUNT ORAB       OH   45154       HOSPITAL         FM1426166     100      100      100      100      160      100      110       660

100067699   019175869   MEXICARE INC.       CPA              CHICAGO        IL   60623     INDEPENDENT        FM1431321    1,500    3,300    3,000    4,000     600      500     2,150    12,900

100074751   023114298   MVM PHARMACY INC(Z)                   BRONX         NY   10454     INDEPENDENT        FM1452109                                500                        500       500

100089776   046041244   MEDICAL ARTS PHCY OF SARASOTA       SARASOTA        FL   34233     INDEPENDENT        FM1462287    6,400    6,100    7,000    4,700    4,500    4,300    5,500    33,000

100089864   008109702   FORT SUTTER SURGERY CENTER         SACRAMENTO       CA   95816       HOSPITAL         FM1467821     100                        200               100      133       400

100068159   017123901   MOUNTAIN CARE PHARMACY                BOISE         ID   83704    LONG TERM CARE      FM1553672    3,600    5,200    7,500    3,200    6,100    3,500    4,850    29,100

100086202   018195883   MATLOCK PHARMACY                    ARLINGTON       TX   76015     INDEPENDENT        FM1594654   23,800   27,100   22,200   25,000   19,000   16,000   22,183   133,100

100109922   018405464   MEADOWBROOK PHARMACY CPA           FORT WORTH       TX   76112     INDEPENDENT        FM1596533            20,600   46,000   25,800   48,300   52,500   38,640   193,200

100101158   021171983   MERCY WEST LAKES WAC             WEST DES MOINES    IA   50266   PHS 340B HOSPITAL    FM1613288              200     1,450     350     2,300    1,500    1,160     5,800

100056641   021300129   MERCY WEST LAKES PHARMACY        WEST DES MOINES    IA   50266       HOSPITAL         FM1613288     800      800      650      600                        713      2,850

100086114   021161166   MERCY WEST LAKES 340B            WEST DES MOINES    IA   50266   PHS 340B HOSPITAL    FM1613288     400      400      100      150                        263      1,050

100092154   023136523   GLEN RIDGE PHARMACY & SURGICAL      GLEN RIDGE      NJ   07028     INDEPENDENT        FM1619747     700               500                                 600      1,200

100088480   046040493   MMRX HEALTHSOLUTIONS                DADE CITY       FL   33525     INDEPENDENT        FM1644411    6,300    4,900    3,200    2,800    6,400    2,100    4,283    25,700
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100070125   041123976   MED ONE PHARMACY INC(Z)(GNP)        MIDDLETOWN     MD   21769     INDEPENDENT        FM1665667    2,100    2,500    1,500    2,500    3,700    1,200    2,250    13,500

100110964   012000376   MAICO PHARMACY                      WESTMINSTER    CA   92683     INDEPENDENT        FM1692070                                900      300      300      500      1,500

100109906   025092254   MEDSAVE LTC PHARMACY         CPA      BEMIDJI      MN   56601    LONG TERM CARE      FM1698589     500                                 500     1,000     667      2,000

100110173   025092296   MEDSAVE LTC GPO     CPA               BEMIDJI      MN   56601    LONG TERM CARE      FM1698589                                500                        500       500

100089625   008108753   MERCY SAN JUAN SRGERY CTR 340B      CARMICHAEL     CA   95608   PHS 340B HOSPITAL    FM1706057     100               100                                 100       200

100076800   017129858   MOUNTAIN CARE PHARMACY                MURRAY       UT   84123    LONG TERM CARE      FM1707011   14,000   12,500   25,500   27,900    3,800    1,000   14,117    84,700

100075692   021130583   MERCY HOSPITAL COLUMBUS              COLUMBUS      KS   66725       HOSPITAL         FM1722885     100                                          300      200       400

100067673   018139279   MCKINNEY PHARMACY            CPA     MCKINNEY      TX   75069     INDEPENDENT        FM1723825    5,100    6,400    4,800    3,100    1,000    9,200    4,933    29,600

100075710   049178830   *MCLAREN DRUG SHOP - LRMC             LAPEER       MI   48446       HOSPITAL         FM1735717    5,000                                                 5,000     5,000

100074882   049178525   *MCLAREN DRUG SHOP - AMB              BAY CITY     MI   48706       HOSPITAL         FM1735743    4,000                                                 4,000     4,000

100052598   024108837   MAX PHARMACY INC                     ALHAMBRA      CA   91801     INDEPENDENT        FM1738561    4,100    6,600    2,700    8,900    3,500             5,160    25,800

100074377   019053819   MEDPAK PHARMACY, LTC         CPA     LA CROSSE     WI   54601    LONG TERM CARE      FM1738989    4,100    1,800    3,400    1,700    2,300     500     2,300    13,800

100054937   012063883   *MANNA PHARMACY                    GARDEN GROVE    CA   92843     INDEPENDENT        FM1740922    1,200     300                                          750      1,500

100074826   046128041   MAR-LAC PHCY DSCNT/SUPPLY CORP         MIAMI       FL   33125     INDEPENDENT        FM1743803              200                                          200       200

100068576   026055582   MAKAWAO TOWN PHARMACY                MAKAWAO       HI   96768     INDEPENDENT        FM1761281                                        5,100   10,900    8,000    16,000

100075517   037117655   MILLENNIUM PHARMACY                THE WOODLANDS   TX   77380     INDEPENDENT        FM1783756   13,600   10,100   10,900   13,600   10,900    7,200   11,050    66,300

100075871   052147587   OKIE'S PHCY        SF              MAYNARDVILLE    TN   37807     INDEPENDENT        FM1807289   17,100   18,500   18,500   17,500   14,660   10,200   16,077    96,460

100075812   008110007   MILVIA OUTPATIENT PHARMACY           BERKELEY      CA   94704     INDEPENDENT        FM1845594    2,500    2,400    2,300    2,400    1,100    1,400    2,017    12,100

100088627   010222372   MARKET STREET PHCY GENERIC          STEUBENVILLE   OH   43952     INDEPENDENT        FM1852525    1,500    1,500    1,000    2,500     500     1,900    1,483     8,900

100075374   023114181   MASONIC HOMES PHARMACY             ELIZABETHTOWN   PA   17022    LONG TERM CARE      FM1853767    7,400    9,600    6,900    3,300    9,900    5,400    7,083    42,500

100061920   012181529   MED SHOP BANNING                      BANNING      CA   92220     INDEPENDENT        FM1906556   23,500   16,000   16,100   27,600   26,600   20,700   21,750   130,500

100074578   056094029   MULE ROAD PHARMACY(Z)               TOMS RIVER     NJ   08757     INDEPENDENT        FM1909843     100      400     1,900     900              2,200    1,100     5,500

100087342   018197632   MEDINA REGIONAL HOSPITAL               HONDO       TX   78861       HOSPITAL         FM1926368     400      500      500      650               480      506      2,530

100089483   008108399   MERCY MEDICAL CENTER                  MERCED       CA   95340       HOSPITAL         FM1951688    2,600    2,100    7,000     600                       3,075    12,300

100096625   008111724   MERCY MEDICAL CENTER WAC              MERCED       CA   95340   PHS 340B HOSPITAL    FM1951688                                800               300      550      1,100

100089484   008108407   MERCY MEDICAL CENTER 340B             MERCED       CA   95340   PHS 340B HOSPITAL    FM1951688     200      100      300      100                        175       700

100075778   004081562   MILLER DRUG STATE STREET(X)           BANGOR       ME   04401     INDEPENDENT        FM1960512                                        1,500    1,000    1,250     2,500

100075507   021135848   METHODISTS WOMEN'S HOSPITAL            OMAHA       NE   68022       HOSPITAL         FM1993369    1,300    1,500    1,500    2,500    1,220    1,400    1,570     9,420

100083133   037112201   MUNIZ RIO GRANDE PHCY, LLC CPA       HARLINGEN     TX   78550     INDEPENDENT        FM2048153   12,800   14,200   13,100    1,600    6,700    8,100    9,417    56,500

100083329   010191650   MEDICAL PARK PHARMACY LTC           HUNTINGTON     WV   25701    LONG TERM CARE      FM2051477    7,900    4,000    5,600    6,700    5,600    4,900    5,783    34,700

100075623   044189399   MEDCARE PHCY AND HOME MED CPA         HICKMAN      KY   42050     INDEPENDENT        FM2078803   14,000    4,500    5,500   19,000    5,100    5,500    8,933    53,600

100075320   046117507   NORTH BAY PSYCHIATRIC HOSPITAL          LUTZ       FL   33549       HOSPITAL         FM2099578              100      100      300      200               175       700

100083197   018180075   MCGEHEE HOSPITAL,INC                 MCGEHEE       AR   71654       HOSPITAL         FM2111538               50               100                         75       150

100075401   019176339   MIDWEST PHARMACIES INC (VAN)       MELROSE PARK    IL   60160     INDEPENDENT        FM2117908    6,600    3,600    9,700   14,800     400     8,200    7,217    43,300

100083220   019176362   MIDWEST PHARMACIES INC (VAN)         OAK PARK      IL   60302       HOSPITAL         FM2124434                      2,500                      5,000    3,750     7,500

100084900   010196675   *MED-MART PHARMACY LLC                LONDON       KY   40741     INDEPENDENT        FM2138267   11,200    8,000    4,400     500                       6,025    24,100

100104668   046057679   MALABAR DISCOUNT PHARMACY            PALM BAY      FL   32907     INDEPENDENT        FM2138445    8,500    1,000    3,000   16,700    8,500             7,540    37,700

100084336   055047357   MONCRIEF AMC CBPCC (2)               COLUMBIA      SC   29223   HOSPITAL (FEDERAL)   FM2153651    3,900    3,300    2,800    2,600    3,600    1,400    2,933    17,600

100083390   044187377   MERCY PHCY CLAYTON-CLARKSON V         BALLWIN      MO   63011     INDEPENDENT        FM2184593    2,300    1,800    2,400    4,700     600     1,400    2,200    13,200

100084047   019138222   MAX CARE PHARMACY CPA                 CHICAGO      IL   60659     INDEPENDENT        FM2273794    4,200    5,400    1,100    5,500    3,300             3,900    19,500

100094320   037102467   MOBILE CARE PHARMACY CPA              HOUSTON      TX   77003     INDEPENDENT        FM2279429   11,200    7,500    7,600    9,000    8,500    9,500    8,883    53,300

100084621   052163949   MISSISSIPPI DISC DRUGS LLC SF         CANTON       MS   39046     INDEPENDENT        FM2280410   22,100   20,500   19,600   21,000   26,500   13,500   20,533   123,200

100084148   044188953   RIVERSIDE PHARMACY       CPA         LAKE CITY     AR   72437     INDEPENDENT        FM2282060    6,100   16,400   26,500            14,800   18,000   16,360    81,800

100054576   017052001   MAC'S CHC PHCY          SF           SHERIDAN      MT   59749     INDEPENDENT        FM2282337    4,000    5,500    4,000    4,600    3,500    3,800    4,233    25,400
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100070723   017120345   MAC'S CHC PHARMACY 340B               SHERIDAN      MT   59749    PHS 340B CLINIC     FM2282337                                         100               100       100

100083734   019135616   HALL PERRINE CANCER CTR RETAIL      CEDAR RAPIDS    IA   52403       HOSPITAL         FM2294813     700     1,200    1,000    1,300    3,000    1,500    1,450     8,700

100084407   018183392   MERCY HOSPITAL - EL RENO              EL RENO       OK   73036       HOSPITAL         FM2295079     100      100      200      200               200      160       800

100071586   008140046   LOS GATOS SURGICAL CTR #712 /Q       LOS GATOS      CA   95032       HOSPITAL         FM2334225              100                                          100       100

100053524   017076786   MOAB REGIONAL HOSPITAL                 MOAB         UT   84532       HOSPITAL         FM2405480     600                                                   600       600

100085805   037119503   MEDI PRO INTERNATIONAL PHCY           CYPRESS       TX   77433     INDEPENDENT        FM2427246    7,000    2,100    3,500    6,000    2,500    2,500    3,933    23,600

100085450   018193664   MERCY HOSPITAL TISHOMINGO            TISHOMINGO     OK   73460       HOSPITAL         FM2430495     200      200      900                        200      375      1,500

100085439   037119099   MCALLEN PHARMACY       CPA            MCALLEN       TX   78504     INDEPENDENT        FM2440838     200      100      100                                 133       400

100085620   021158717   MEDS & MORE, LLC       SF             NORFOLK       NE   68701     INDEPENDENT        FM2451906    4,000    3,500    3,000    3,000    5,100    4,200    3,800    22,800

100086127   008101873   MED-PLACE PHARMACY                    SAN JOSE      CA   95128     INDEPENDENT        FM2503034                                                  500      500       500

100085618   008021428   MYERS MEDICAL PHCY CPA                 UKIAH        CA   95482     INDEPENDENT        FM2503692   26,400   28,300   26,300   48,400   24,300   27,100   30,133   180,800

100092757   008067801   MYERS MEDICAL PHARMACY 340B            UKIAH        CA   95482    PHS 340B CLINIC     FM2503692    9,500   16,500   14,000    8,000                     12,000    48,000

100092737   008058552   MYERS MEDICAL PHARMACY 340B            UKIAH        CA   95482    PHS 340B CLINIC     FM2503692     100      100                                          100       200

100087615   017089870   MOUNTAIN WEST SURGICAL CTR           BOUNTIFUL      UT   84010       HOSPITAL         FM2518566     200               100               100               133       400

100087538   046039214   METRO RX                              ORLANDO       FL   32803     INDEPENDENT        FM2550057                                         800     1,300    1,050     2,100

100088691   018203349   MERIDIAN PHCY GROUP GALLOWAY          DENISON       TX   75020     INDEPENDENT        FM2559372    6,000    5,600    7,100    6,000    8,100    7,600    6,733    40,400

100086270   004071373   MERRIMACK VALLEY HOSP (STEWARD       HAVERHILL      MA   01830       HOSPITAL         FM2561339     400      400      400                                 400      1,200

100086583   004085837   MOBY RX                            SOUTH PORTLAND   ME   04106     INDEPENDENT        FM2603923    3,300    4,200    1,500    1,500    2,500             2,600    13,000

100106461   018403907   MAYHILL HOSPITAL                      DENTON        TX   76208       HOSPITAL         FM2624218     700      600     1,000    1,000     500               760      3,800

100085744   019142315   HAMPSHIRE PHARMACY      CPA          HAMPSHIRE      IL   60140     INDEPENDENT        FM2626349    6,000    4,400    1,600    3,800    7,100    8,400    5,217    31,300

100087904   038102731   MONTBELLO FAMILY HLTH CTR 340B        DENVER        CO   80239    PHS 340B CLINIC     FM2658548    3,300    3,600    3,700    2,200    3,100    2,800    3,117    18,700

100089005   056020537   MARLTON PHARMACY CPA                  MARLTON       NJ   08053     INDEPENDENT        FM2674934             1,500                                        1,500     1,500

100087271   041139675   MED.ONE PHARMACY                     WOODBINE       MD   21797     INDEPENDENT        FM2740721    1,600    1,200    1,200    1,500     800     1,200    1,250     7,500

100087697   052173344   MISSISSIPPI DISC DRS LLC#2 SF         CANTON        MS   39046     INDEPENDENT        FM2757031    2,500    2,500    2,500    2,400    3,900    2,200    2,667    16,000

100084904   018098426   METHODIST TEXSAN HOSPITAL #712      SAN ANTONIO     TX   78201       HOSPITAL         FM2757283    3,000    1,400    3,700    3,900    1,460    2,860    2,720    16,320

100090389   010225037   MERCY HLTH - EASTGATE OP CTR         CINCINNATI     OH   45245       HOSPITAL         FM2818714                                                   80       80        80

100110584   023161794   MAGEE PHARMACY                      PHILADELPHIA    PA   19135     INDEPENDENT        FM2825517                                         100               100       100

100087646   023114538   MEDI CENTER PHARMACY CPA               BRONX        NY   10456     INDEPENDENT        FM2830467     400      400      100      300               600      360      1,800

100085486   055025288   MISSION PHARMCY - TALLULAH          ROBBINSVILLE    NC   28771       HOSPITAL         FM2840002    4,700    4,800    4,800    6,500    7,100    5,200    5,517    33,100

100096651   055037481   MISSION PHCY - CANCER CTR(WAC)       ASHEVILLE      NC   28801       HOSPITAL         FM2840292     100      600               100     2,100    1,900     960      4,800

100088142   055029330   MISSION PHCY - CANCER CTR 340B       ASHEVILLE      NC   28801       HOSPITAL         FM2840292     900      600     1,100     800                        850      3,400

100088142   055029330   MISSION PHCY - CANCER CTR 340B       ASHEVILLE      NC   28801   PHS 340B HOSPITAL    FM2840292                                         600               600       600

100050752   040068361   MARTIN ARMY COMM HOSP PHARMACY      FORT BENNING    GA   31905   HOSPITAL (FEDERAL)   FM2840886   46,300   56,400   48,900   41,200   18,000   37,400   41,367   248,200

100109983   021176388   MEYER LTC PHARMACY GPO CPA            WAVERLY       IA   50677    LONG TERM CARE      FM2843870     300      400      400      400      600      200      383      2,300

100109931   021176347   MEYER LTC PHARMACY CPA                WAVERLY       IA   50677    LONG TERM CARE      FM2843870     300                                                   300       300

100088108   044207290   MID-TOWN PHARMACY APSC                SELMER        TN   38375     INDEPENDENT        FM2895881   10,700   11,600    9,500   10,900   11,400    7,700   10,300    61,800

100088156   024112730   PAYLESS PHARMACY        2            ROSEMEAD       CA   91770     INDEPENDENT        FM2901494    2,800    2,100    1,400    1,300    2,500     500     1,767    10,600

100088036   046039669   MY FAMILY PHARMACY & DISCOUNT          MIAMI        FL   33144     INDEPENDENT        FM2930255    1,100     700                                          900      1,800

100092729   018315010   MERCY HOSP LOGAN CO, INC 340B         GUTHRIE       OK   73044       HOSPITAL         FM2930697                                300                        300       300

100088201   018201467   MEDI SHOP PHARMACY, LLC      CPA       MENA         AR   71953     INDEPENDENT        FM2931221    3,900    6,200    3,300    6,800    6,400    5,000    5,267    31,600

100089115   018204198   MEDI SHOP PHCY, LLC PHS CPA            MENA         AR   71953     INDEPENDENT        FM2931221    1,000     500      600                                 700      2,100

100092259   023136556   MEDICAL CENTER PHARMACY(OMEGA)       LIVINGSTON     NJ   07039     INDEPENDENT        FM2944848     300      300      100      100               200      200      1,000

100088195   037126284   MEDICINE MAN PHCY-PT LAVACA         PORT LAVACA     TX   77979     INDEPENDENT        FM2962858   12,640   13,100   14,200   12,800   13,200   10,800   12,790    76,740

100088706   049186981   MERCY DEFIANCE CLINIC PHY APSC        DEFIANCE      OH   43512     INDEPENDENT        FM2967860    4,600    2,500    4,500    3,500    4,500    6,500    4,350    26,100
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100088476   019153817   *MEDICATION ADHERENCE SOL,LLC     INDIANAPOLIS    IN   46260     WALGREENS         FM2980818     900                                                     900       900

100088542   019154039   LEE PHCY & HLTH CARE APSC         MARTINSVILLE    IN   46151     INDEPENDENT       FM2986682   12,800     9,000    9,400   14,400    10,500    8,500   10,767    64,600

100088825   018203612   MCCART PHCY LLC        SF         FORT WORTH      TX   76115     INDEPENDENT       FM2995061   16,000    15,500   14,500   10,500    15,100   14,500   14,350    86,100

100053501   024088898   MEMORIAL HOSPITAL OF GARDENA        GARDENA       CA   90247       HOSPITAL        FM3012414    1,300     1,050    1,300    1,300     2,000     700     1,275     7,650

100089026   018204081   MEDPRO PHARMACY #2                   PLANO        TX   75074     INDEPENDENT       FM3059121    3,200     2,100    5,300     (100)     500     2,000    2,167    13,000

100058952   019043364   OSF ST.FRANCIS CTR FOR HLTH #2       PEORIA       IL   61615       HOSPITAL        FM3118519               200      300                                  250       500

100093043   021168575   MOFFET DRUG CPA (NEW OWNR)          NORTON        KS   67654     INDEPENDENT       FM3162803    8,800    12,400   11,200   22,400     1,100    3,900    9,967    59,800

100109710   052224915   MIDFIELD DISCOUNT DRUGS CPA         MIDFIELD      AL   35228     INDEPENDENT       FM3178971   14,000     4,000                                         9,000    18,000

100090369   019157222   MEDICAL PARK 11 PHARMACY          FORT WAYNE      IN   46845       HOSPITAL        FM3196892   12,600     6,600    6,100    4,000     8,200    7,200    7,450    44,700

100089003   040113472   MEDICAL ARTS PHARMACY CPA            MACON        GA   31201     INDEPENDENT       FM3209194    2,300     2,400    3,500    5,800     3,500             3,500    17,500

100090169   044069047   MEDRELIEF PHARMACY, LLC CPA         MARION        AR   72364     INDEPENDENT       FM3218167    3,000     5,100    5,100    5,800     3,700    2,700    4,233    25,400

100090464   019157487   MORTON ALWAN PHARMACY CPA           MORTON        IL   61550     INDEPENDENT       FM3224413    8,300     6,100    6,405    6,800     7,800    2,820    6,371    38,225

100106595   021173567   MEADOWBROOK REHAB HOSP              GARDNER       KS   66030   LONG TERM CARE      FM3227041               400      400      600       800      200      480      2,400

100090598   032145128   MEDICINE MAN BONNERS FERRY PHY   BONNERS FERRY    ID   83805     INDEPENDENT       FM3262792     (400)                      6,100     6,100    6,000    4,450    17,800

100109467   032152900   MED MAN BONNRS FERRY PHY340B/K   BONNERS FERRY    ID   83805    PHS 340B CLINIC    FM3262792     500               1,000     500                         667      2,000

100090696   044193516   MERCY PHCY ST LOUIS LOBBY          SAINT LOUIS    MO   63141       HOSPITAL        FM3285942    4,400     3,300    4,600    5,700     3,500    4,900    4,400    26,400

100091276   055031518   MISSION MY CARE PLUS - CANDLER      CANDLER       NC   28715       HOSPITAL        FM3352654    2,300     2,500    3,900    3,700     5,500    2,100    3,333    20,000

100091375   041144402   MOUNT HOPE PHARMACY CPA           MOUNT HOPE      WV   25880     INDEPENDENT       FM3386388    2,000     3,500    2,700    2,500     3,300    2,700    2,783    16,700

100091326   018254680   MERCY HOSPITAL WATONGA, INC         WATONGA       OK   73772       HOSPITAL        FM3396543     100       200               500                         267       800

100094094   018397331   MERCY HOSP WATONGA, INC 340B        WATONGA       OK   73772       HOSPITAL        FM3396543                                 100                         100       100

100105570   021173245   MANION'S DRUG STORE       SF       CREIGHTON      NE   68729     INDEPENDENT       FM3398218    7,200     8,300    7,100    7,900     8,100    6,300    7,483    44,900

100092161   010144451   *MULLANEY'S PHARMACY      APSC   WEST CHESTER     OH   45069     INDEPENDENT       FM3460502     700       600     1,200     600                         775      3,100

100104851   019181891   MARQUETTE GENERAL HOSP OWN USE     MARQUETTE      MI   49855       HOSPITAL        FM3491622    8,600     7,500   10,100    6,500     9,600   11,000    8,883    53,300

100104636   019181776   MARQUETTE GENERAL HOSP             MARQUETTE      MI   49855       HOSPITAL        FM3491622    4,600     5,800    4,800    6,050     5,260    2,940    4,908    29,450

100092808   046043125   MOUNT DORA PHARMACY               MOUNT DORA      FL   32757     INDEPENDENT       FM3496901                                 100      1,000    1,000     700      2,100

100092365   018237883   MATT'S COUNTRY BOY PHCY SF          CHOCTAW       OK   73020     INDEPENDENT       FM3502499   19,800    17,500   22,300   16,400    20,500   15,700   18,700   112,200

100091995   018314146   MITCHELL'S MAIN STREET PHY CPA   MOUNTAIN VIEW    AR   72560     INDEPENDENT       FM3510434   10,300     3,700   20,200   25,800    14,800   13,000   14,633    87,800

100091159   008032235   MOWRY PLAZA PHARMACY INC            FREMONT       CA   94536     INDEPENDENT       FM3517010    6,000     8,000    6,000    6,500    25,000            10,300    51,500

100093931   010227256   MARION OUTPATIENT SERVICES RX       MARION        OH   43302       HOSPITAL        FM3519735     200                                            300      250       500

100092393   046042986   MIKE'S PHARMACY                  CAPE CANAVERAL   FL   32920     INDEPENDENT       FM3527225    8,200     6,000    5,000    9,000     6,000    5,300    6,583    39,500

100092301   046042929   MEMORIAL EMERGENCY CARE CTR       SAINT JOHNS     FL   32259       HOSPITAL        FM3533317               100      100                          80       93       280

100092306   018314914   MERCY REHAB HOSP-OKLAHOMA CITY   OKLAHOMA CITY    OK   73142       HOSPITAL        FM3544295    1,400      300     1,500     900               1,300    1,080     5,400

100092509   056024471   MIGUEL'S PHARMACY (ARX)             CAMDEN        NJ   08105     INDEPENDENT       FM3589883    1,100      100      100      100       300      300      333      2,000

100094035   041145508   *MEDSTAR SO MARYLAND HOSP CTR       CLINTON       MD   20735       HOSPITAL        FM3605815     800                                                     800       800

100093878   017096149   MERIDIAN MEDS LLC                     LEHI        UT   84043   LONG TERM CARE      FM3607073     200       100                         200      100      150       600

100094194   041145524   MERRITT STAR PHARMACY              BALTIMORE      MD   21222     INDEPENDENT       FM3617567    5,700     4,700    5,000    5,900    13,700    1,000    6,000    36,000

100063649   021021105   HEARTLAND SURGERY CENTER            KEARNEY       NE   68845       HOSPITAL        FM3633319     100       100      100      100                200      120       600

100092931   024119446   HUNG JEN PHARMACY                  ALHAMBRA       CA   91803     INDEPENDENT       FM3638737     100       200               (100)                        67       200

100093163   046043190   DUVAL PHARMACY #201 CPA           JACKSONVILLE    FL   32205     INDEPENDENT       FM3648978    3,000     3,100    3,000    2,600     4,400    3,300    3,233    19,400

100094177   008086538   MENDOCINO COAST PHCY CPA          FORT BRAGG      CA   95437     INDEPENDENT       FM3659541   24,500     9,000   22,100   17,000    30,500    2,000   17,517   105,100

100096389   055037184   MCDOWELL COMMUNITY PHCY (WAC)        NEBO         NC   28761     INDEPENDENT       FM3665467     700      1,000    1,000     800      4,300    2,000    1,633     9,800

100094293   055032789   MCDOWELL COMMUNITY PHCY (340B)       NEBO         NC   28761   PHS 340B HOSPITAL   FM3665467    2,400     2,600    1,200    1,500      100              1,560     7,800

100096615   021077677   LAKELAND PHY #7 CPA              WILLOW SPRINGS   MO   65793     INDEPENDENT       FM3701984   20,100     8,100    6,100   32,800     3,000    6,200   12,717    76,300

100101188   052222687   MR DISC DRUGS LLC      SF           JACKSON       MS   39209     INDEPENDENT       FM3723853    6,500     6,500    7,000    6,500    10,400    8,000    7,483    44,900
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100100597   018403360   MOUNTAIN CARE PHARMACY                     IRVING         TX   75062   LONG TERM CARE      FM3745936    9,800   10,700    6,200   15,800    5,200    3,200    8,483    50,900

100099841   018399345   WALGREENS #15778             DSD           TULSA          OK   74112     WALGREENS         FM3765077    1,000    9,800   29,600   32,500   33,000   42,500   24,733   148,400

100099829   018399220   WALGREENS #15809             DSD       SAND SPRINGS       OK   74063     WALGREENS         FM3765229     500    11,600   35,800   35,600   42,700   22,000   24,700   148,200

100099838   018399311   WALGREENS #15776             DSD           TULSA          OK   74107     WALGREENS         FM3765231     500    15,100   30,300   32,100   35,000   20,500   22,250   133,500

100096399   044105882   MERCY PHARMACY-JEFFERSON                  FESTUS          MO   63028       HOSPITAL        FM3767172    7,900   11,000    8,700   15,100    5,300    8,600    9,433    56,600

100104426   044219659   MIDTOWN PHCY EXPRESS APSC               BEAVER DAM        KY   42320     INDEPENDENT       FM3776450   17,700   14,000   11,800   20,100   39,200            20,560   102,800

100100686   017096529   MT OGDEN SURGICAL CTR, LLC                OGDEN           UT   84403       HOSPITAL        FM3807166     100                        200                        150       300

100091051   046042457   MIZNER PHARMACY INC                     BOCA RATON        FL   33432     INDEPENDENT       FM3812890              500      500      500              2,600    1,025     4,100

100109739   024122614   ALEX PHARMACY                           SAN GABRIEL       CA   91776     INDEPENDENT       FM3826990              100      100                                 100       200

100109823   018405324   MERCY PHARMACY I-35                       EDMOND          OK   73013     INDEPENDENT       FM3840899     400     1,500    2,800    9,700             1,000    3,080    15,400

100111314   024002157   MODEL DRUG         CPA                  PISMO BEACH       CA   93449     INDEPENDENT       FM3878812                                                 3,900    3,900     3,900

100104396   019181578   MCCLIMON PHARMACY LLC          CPA       GENESEO          IL   61254     INDEPENDENT       FM3880944    2,500    4,100    2,700    7,100    3,900     300     3,433    20,600

100106728   010236752   MERCY HEALTH-WEST HOSPITAL               CINCINNATI       OH   45211       HOSPITAL        FM3905570     400     2,500    1,900    2,000    2,000    1,900    1,783    10,700

100106729   010236760   MERCY HEALTH-WEST HOSP WAC               CINCINNATI       OH   45211       HOSPITAL        FM3905570    1,000                                                 1,000     1,000

100109716   052224964   MILLS DISCOUNT PHCY GORDO CPA             GORDO           AL   35466     INDEPENDENT       FM3912462    6,000    2,500                                        4,250     8,500

100109693   052224873   MILLS DISCNT PHCY WOODLAWN CPA          BIRMINGHAM        AL   35206     INDEPENDENT       FM3927045    5,500    3,500                                        4,500     9,000

100104877   055038976   MISSION PARDEE HLTH CAMPUS PHY             ARDEN          NC   28704     INDEPENDENT       FM3934468    1,000    1,300    1,400    1,500    1,000             1,240     6,200

100110613   055045484   MISSION PAR HLTH CAMP PH(WAC)              ARDEN          NC   28704     INDEPENDENT       FM3934468                                        1,700    1,500    1,600     3,200

100107697   024107995   MISSION HOPE INFUSION CTR 340B          SANTA MARIA       CA   93454   PHS 340B HOSPITAL   FM3947213                                         100               100       100

100105961   018001974   MERCY HOSPITAL ADA EMP WAC                  ADA           OK   74820       HOSPITAL        FM3978472     900      700     1,700    2,500                      1,450     5,800

100104560   018326009   MERCY HOSPITAL ADA                          ADA           OK   74820       HOSPITAL        FM3978472     800      700     1,000    1,000              300      760      3,800

100104563   018403451   MERCY HOSPITAL ADA WAC                      ADA           OK   74820       HOSPITAL        FM3978472              200              1,400     600     1,000     800      3,200

100104561   018375501   MERCY HOSPITAL ADA 340B                     ADA           OK   74820       HOSPITAL        FM3978472     200      300      200      300                        250      1,000

100105103   052223255   MERCY HLTH-FAIRFIELD PH LLCSF            FAIRFIELD        OH   45014     INDEPENDENT       FM3979955    3,900    4,500    2,400     500     3,800    5,500    3,433    20,600

100111133   040001964   MAIN STREET PHARMACY                     KENNESAW         GA   30144     INDEPENDENT       FM3990555                                500     3,000    1,100    1,533     4,600

100105920   021173435   MERCY ORTHO HSP SPFLD(OZRK EMP             OZARK          MO   65721       HOSPITAL        FM4057825   13,200   14,600   13,000    9,100     600             10,100    50,500

100105596   021173252   MERCY ORTHO HOSP SPINGFLD                  OZARK          MO   65721       HOSPITAL        FM4057825     500      600              1,300    1,080    1,300     956      4,780

100105715   010236190   MULLANEYS PHY WHITE OAK APSC             CINCINNATI       OH   45247     INDEPENDENT       FM4082549    3,000    4,800    3,100    2,100    2,000    2,000    2,833    17,000

100105935   055039461   AGAPE COMMUNITY HLTH CTR(340B)          WASHINGTON        NC   27889    PHS 340B CLINIC    FM4101870    5,000    3,600    2,600    6,500             8,100    5,160    25,800

100106680   049195115   MADHAV PHARMACY LLC                  SAINT CLAIR SHORES   MI   48080     INDEPENDENT       FM4110956    3,900    4,500    4,400    3,500    2,900             3,840    19,200

100105926   021173443   MERCY PHARMACY EVANS ROAD                  OZARK          MO   65721       HOSPITAL        FM4128648     100               100     1,100   18,100   23,800    8,640    43,200

100105948   037134312   METSCRIPT PHARMACY #3                    RICHMOND         TX   77406     INDEPENDENT       FM4129981              400      200                                 300       600

100106749   010236794   MERCY HEALTH-WEST RETAIL PHCY            CINCINNATI       OH   45211       HOSPITAL        FM4183151             1,200    1,900    1,700    4,900    2,600    2,460    12,300

100106750   010236802   *MERCY HEALTH-WEST RETAIL 340B           CINCINNATI       OH   45211   PHS 340B HOSPITAL   FM4183151     400      100                                          250       500

100106591   012027375   MAXINE PHARMACY                        GARDEN GROVE       CA   92843     INDEPENDENT       FM4188896     300      900      500               200      500      480      2,400

100109695   008118372   MISSION WELLNESS PHARMACY CPA          SAN FRANCISCO      CA   94110     INDEPENDENT       FM4197453                      3,000    4,000    3,800    2,900    3,425    13,700

100107307   018404236   MERCY HOSPITAL KINGFISHER               KINGFISHER        OK   73750       HOSPITAL        FM4226850     200      200      100      300       80      160      173      1,040

100106864   049195198   MERCY EMERGNCY SERV-PERRYSBURG          PERRYSBURG        OH   43551       HOSPITAL        FM4228171     100      100      100      100               180      116       580

100109203   044221234   MIKE'S PHARMACY        CPA              EARLINGTON        KY   42410     INDEPENDENT       FM4273164     500      500     1,000    3,500    2,000             1,500     7,500

100107995   018404525   MERCY HOSPITAL BOONEVILLE               BOONEVILLE        AR   72927       HOSPITAL        FM4311003     400               300      600                        433      1,300

100107839   018404483   MESA SPRINGS ( IPS )                    FORT WORTH        TX   76123       HOSPITAL        FM4333340     200      300      200      400      100      300      250      1,500

100108870   049196774   *MERCY HEALTH MUSKEGON                   MUSKEGON         MI   49442     INDEPENDENT       FM4336764    1,000    2,000    1,000    2,500                      1,625     6,500

100109673   010238022   MT VERNON WHITE HSE CL PH 340B         MOUNT VERNON       KY   40456    PHS 340B CLINIC    FM4341424              500     2,000    1,000     700      700      980      4,900

100109066   010237719   MT VERNON WHITE HOUSE CL APSC          MOUNT VERNON       KY   40456     INDEPENDENT       FM4341424              300      400      100      300      600      340      1,700
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100109076   020166868   MESA PHARMACY                           RATON        NM   87740     INDEPENDENT       FM4375867    3,000    6,100    3,900     2,600    5,700    3,700    4,167   25,000

100109013   021174987   MERCY SPECIALTY PHCY ST LOUIS        SAINT LOUIS     MO   63141       HOSPITAL        FM4383307     900     1,400    2,100     2,700    2,100    3,100    2,050   12,300

100109435   021176107   MARTIN HEALTH SERVICES, INC          STORM LAKE      IA   50588     INDEPENDENT       FM4410142    1,600    1,100    2,100     2,900    1,480    3,600    2,130   12,780

100109380   021176008   MADONNA REHAB SPEC HOSP 4TH FL        BELLEVUE       NE   68123       HOSPITAL        FM4424153     200      100      100                580               245      980

100109137   023159780   MEDIMAX PHARMACY       CPA           PHILLIPSBURG    NJ   08865     INDEPENDENT       FM4424622     400     1,000    1,700      900     1,200    2,400    1,267    7,600

100108069   021174714   MERCY SPRINGFIELD REHAB HOSP         SPRINGFIELD     MO   65804       HOSPITAL        FM4463319     500      300      200       600     1,500     200      550     3,300

100110074   049197186   MAPLE PHARMACY APG                 WEST BLOOMFIELD   MI   48322     INDEPENDENT       FM4469436    1,500     200      (400)    1,100    1,500    2,200    1,017    6,100

100110279   010238394   METROHEALTH BROADWAY PHCY 340B        CLEVELAND      OH   44105   PHS 340B HOSPITAL   FM4478310                                          400     1,700    1,050    2,100

100111064   010001894   MARSH DRUGS #7109                    INDIANAPOLIS    IN   46204        CHAIN          FM4499667                                         1,500     500     1,000    2,000

100109981   021176370   MEDICINE MAN PHARMACY         SF     NORTH BEND      NE   68649     INDEPENDENT       FM4503404    1,300    2,400    1,000     1,100    1,600    1,500    1,483    8,900

100110128   010238287   MEDICA PHCY BLOOMFIELD APSC          BLOOMFIELD      KY   40008     INDEPENDENT       FM4525272    4,000    5,100    5,200     4,200    8,500   10,500    6,250   37,500

100110497   040122671   MS-RX, LLC                             ATLANTA       GA   30327     INDEPENDENT       FM4547189             1,200                        600      300      700     2,100

100110134   018405670   MERCY PHARMACY I-35 DRUG ROOM          EDMOND        OK   73013       HOSPITAL        FM4554021     300      100                                  100      167      500

100110426   041155085   MINGOCARE INC (EPIC)                   DUNDALK       MD   21222     INDEPENDENT       FM4555136                                          300      400      350      700

100110296   046060384   MEMORIAL EMERGENCY CARE ATLAN       JACKSONVILLE     FL   32225       HOSPITAL        FM4569197     100               100       200                        133      400

100110073   021176420   MERCY PHARMACY SMIZER                  FENTON        MO   63026     INDEPENDENT       FM4581458     500                         800     1,700     700      925     3,700

100090252   010224600   MERCY HEALTH-TIFFIN HOSP, LLC           TIFFIN       OH   44883       HOSPITAL        FM4602961    1,300    1,000    1,000      900     1,500     800     1,083    6,500

100090253   010224618   MERCY HEALTH-TIFFIN EMPLOYEE            TIFFIN       OH   44883       HOSPITAL        FM4602961     300                         400                        350      700

100110341   049197244   MILLINGTON PHARMACY LLC CPA          MILLINGTON      MI   48746     INDEPENDENT       FM4608773                      3,300     2,100    1,100    3,000    2,375    9,500

100110665   021176859   MERCY FAMILY PHARMACY-GREENE           GREENE        IA   50636     INDEPENDENT       FM4678326                      1,000      400     1,400    1,500    1,075    4,300

100110340   040122622   MADDEN'S PHARMACY INC        CPA      ELBERTON       GA   30635     INDEPENDENT       FM4692059                     10,500     7,500    1,500    2,000    5,375   21,500

100087029   020153924   MONTEVISTA HOSPITAL (IPS LV)          LAS VEGAS      NV   89103       HOSPITAL        FM4789775     550      200      500       300      800               470     2,350

100110887   018000294   METRO METHODIST EMERGENCY CTR        SAN ANTONIO     TX   78209       HOSPITAL        FM4812497                                 400                        400      400

100111194   019002034   MEDPOINT HEALTHCARE LLC            ROLLING MEADOWS   IL   60008     INDEPENDENT       FM4832677                                 100      300               200      400

100111172   018002012   MERCY ORTHOPEDIC HSP FORTSMITH        FORT SMITH     AR   72903       HOSPITAL        FM4832829                                          600      200      400      800

100111343   041002190   CLARKSBURG PHARMACY                  CLARKSBURG      MD   20871     INDEPENDENT       FM4879790                                          200      300      250      500

100111470   052000476   MEDICAL ARTS PHCY-COLUMBUS SF         COLUMBUS       MS   39701     INDEPENDENT       FM4885224                                                  3,700    3,700    3,700

100111432   017000437   CACHE VALLEY HOSPITAL #712           NORTH LOGAN     UT   84341       HOSPITAL        FM4934015                                                   400      400      400

100058876   044073312   *KOSAIR CHILDREN'S HOSPITAL           LOUISVILLE     KY   40202       HOSPITAL        FN0075021     500      400      400                                  433     1,300

100058879   044073320   *KOSAIR CHILDRENS HOSPITAL340B        LOUISVILLE     KY   40202   PHS 340B HOSPITAL   FN0075021     100      100      100                                  100      300

100058878   037108944   NORTH CYPRESS MEDICAL CENTER           CYPRESS       TX   77429       HOSPITAL        FN0094805    2,500    3,200    3,600     9,400     440      580     3,287   19,720

100093871   037130989   NNWOOD PHARMACY LLC                   HOUSTON        TX   77088     INDEPENDENT       FN0267826   16,000   16,500   15,000    10,500   13,700   12,000   13,950   83,700

100076022   023106393   NYU HOSPITAL CENTER                   NEW YORK       NY   10003       HOSPITAL        FN0280545     300      800      200       600      880      660      573     3,440

100072888   010121574   NEWTON FALLS PHARMACY,INC APSC      NEWTON FALLS     OH   44444     INDEPENDENT       FN0500858    7,530    9,400   11,900    35,200    5,100     400    11,588   69,530

100074546   012000745   FINLEY'S REXALL DRUG                   FONTANA       CA   92335     INDEPENDENT       FN0502989   15,500   15,500   16,000    15,600   15,300   21,000   16,483   98,900

100092821   018396242   NORTH TX INFUSION & SPEC ORAL          DALLAS        TX   75246       HOSPITAL        FN0635625    1,800    2,100    1,800     1,700    2,700    3,400    2,250   13,500

100073412   024032219   NEIGHBORHOOD PHCY INC(LTC)            CAMARILLO      CA   93012   LONG TERM CARE      FN0722353     800      300      600       300              1,100     620     3,100

100087033   052170381   NORTHEAST PHARMACEUTICALS GAD         GADSDEN        AL   35901   LONG TERM CARE      FN0740402    1,100    2,300    1,600     1,400    1,300    1,300    1,500    9,000

100085695   055025627   NEW TOWN CENTER PHCY INC(ARX)      SOUTHERN PINES    NC   28387     INDEPENDENT       FN0741529    8,100   10,200    9,100     8,100   10,600    5,300    8,567   51,400

100072400   023110999   NEW LUCY'S PHARMACY INC(Z)             PASSAIC       NJ   07055     INDEPENDENT       FN0763563                                 100                        100      100

100104190   046057513   THE MEDICINE SHOPPE                     TAMPA        FL   33612     INDEPENDENT       FN0840303    4,200    5,000    4,000     5,800    5,400    4,100    4,750   28,500

100100620   055038034   NASH EMPLOYEE PHARMACY WAC          ROCKY MOUNT      NC   27804       HOSPITAL        FN1033858    2,000    2,600    1,500     2,000    4,500    2,000    2,433   14,600

100070621   044173518   *NORTON CANCER INST PHCY 340B         LOUISVILLE     KY   40217   PHS 340B HOSPITAL   FN1104885                       700       200                        450      900

100069696   046114975   FLORIDA HEALTH CARE PLAN,INC        DAYTONA BEACH    FL   32114     HEALTH PLAN       FN1203948                                         2,700             2,700    2,700
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100069698   046114967   FLORIDA HEALTH CARE PLAN INC        HOLLY HILL      FL   32117      HEALTH PLAN       FN1203950                                        9,000             9,000     9,000

100069699   046114991   FLORIDA HEALTH CARE PLAN, INC.     ORANGE CITY      FL   32763      HEALTH PLAN       FN1203962                                        6,100    3,100    4,600     9,200

100069700   046114959   FLORIDA HEALTH CARE PLAN, INC.     PALM COAST       FL   32137       HOSPITAL         FN1203974                                                 5,800    5,800     5,800

100069701   046114983   FLORIDA HEALTH CARE PLAN, INC.     EDGEWATER        FL   32132      HEALTH PLAN       FN1203986                                        1,200    6,000    3,600     7,200

100069702   046114934   FLORIDA HEALTH CARE PLAN, INC.     PORT ORANGE      FL   32127      HEALTH PLAN       FN1204003                                        2,400    7,700    5,050    10,100

100069703   046114942   FLORIDA HEALTH CARE PLAN, INC.       DE LAND        FL   32720      HEALTH PLAN       FN1204015                                        2,000    5,600    3,800     7,600

100087032   052170373   NORTHEAST PHARMACEUTICALS MOB         MOBILE        AL   36695    LONG TERM CARE      FN1209952     400      300      300      300      300               320      1,600

100094292   052114165   NORTHEAST PHARM MOB     O/P           MOBILE        AL   36695    LONG TERM CARE      FN1209952              100                                          100       100

100050933   037072678   NAVAL AMBULATORY CARE CENTER       BELLE CHASSE     LA   70037   HOSPITAL (FEDERAL)   FN1277424             4,400    1,200    1,000    3,600    2,400    2,520    12,600

100069145   023112870   NORTH SHORE UNIVERSITY HOSP         MANHASSET       NY   11030       HOSPITAL         FN1303003    1,300    1,500     600     1,000    2,100    2,300    1,467     8,800

100071361   056076075   NORTHSIDE PHARMACY INC(Z)(GNP)       ELKTON         MD   21921     INDEPENDENT        FN1348590    2,500    3,500    3,000    1,000    1,500    2,500    2,333    14,000

100073114   044175018   *NORTON HOSP BROWNSBORO             LOUISVILLE      KY   40241       HOSPITAL         FN1392721    2,900    3,500    2,400     300                       2,275     9,100

100071884   044175026   *NORTON HOSP BROWNSBORO 340B        LOUISVILLE      KY   40241   PHS 340B HOSPITAL    FN1392721     800      800      600                                 733      2,200

100096666   044108936   *NORTON HOSP BROWNBORO WAC          LOUISVILLE      KY   40241   PHS 340B HOSPITAL    FN1392721              200      100      500                        267       800

100068995   056090068   NEIGHBORHOOD PHARMACY(Z)           PHILADELPHIA     PA   19139     INDEPENDENT        FN1426231    1,300    1,000    1,000     400     1,000              940      4,700

100069158   055070946   NEW HORIZON FAMILY HLTH SVCS      TRAVELERS REST    SC   29690    PHS 340B CLINIC     FN1534014                       500      500              1,000     667      2,000

100071673   037116517   NORTH CYPRESS VILLAGE PHARMACY       CYPRESS        TX   77429       HOSPITAL         FN1536006   16,600   17,400   16,800   16,900   23,200   11,000   16,983   101,900

100069044   032116624   NISQUALLY TRIBAL HEALTH CLINIC       OLYMPIA        WA   98513    PHS 340B CLINIC     FN1608782     200     1,500    1,100    2,200    1,000             1,200     6,000

100088901   017092650   NORTH RIDGE HEALTHCARE                VICTOR        MT   59875    LONG TERM CARE      FN1704116    2,800    3,900    1,500    2,500    4,400    1,500    2,767    16,600

100092008   018314195   MERCY HOSPITAL PARIS                  PARIS         AR   72855       HOSPITAL         FN1743815              100               500                        300       600

100056376   019025403   EASTLAND MED PLAZA SURGICAL CT     BLOOMINGTON      IL   61701       HOSPITAL         FN1757408     100      100      100      100       80                96       480

100092031   037130047   NAHS PHARMACY                        HOUSTON        TX   77031     INDEPENDENT        FN1822825    4,000    6,000    4,000   12,500    6,500    2,500    5,917    35,500

100110035   018405639   NUCARE PHARMACY        CPA         LAKE WORTH       TX   76135     INDEPENDENT        FN1858820            19,100     500    14,600   18,400   15,500   13,620    68,100

100075177   055176313   NYE'S PHCY OF CONWAY INC CPA         CONWAY         SC   29526     INDEPENDENT        FN1972721   25,500   20,200   25,800   11,400   56,300    4,400   23,933   143,600

100074676   010186957   THE PRESCRIPTION PAD     CPA      NICHOLASVILLE     KY   40356     INDEPENDENT        FN1995402    6,700    8,400    7,800    6,200   11,500    5,500    7,683    46,100

100050132   004054627   NAVAL AMB-BALLSTON SPA (DOD)     SARATOGA SPRINGS   NY   12866   HOSPITAL (FEDERAL)   FN2210615     600              1,800                       600     1,000     3,000

100083706   037113795   NORMAN'S PHARMACY                    BRENHAM        TX   77833     INDEPENDENT        FN2277564    6,800    6,100    6,700    5,600    5,800    3,900    5,817    34,900

100087034   052170399   *NORTHEAST PHARMACEUTICALS GRN      GREENVILLE      MS   38703    LONG TERM CARE      FN2278489     300     1,000     500      400                        550      2,200

100083707   037113803   NORMAN'S PHARMACY LTC                BRENHAM        TX   77833     INDEPENDENT        FN2279924    2,500    3,500    2,000    4,500    2,500    1,900    2,817    16,900

100087035   052170407   NORTHEAST PHARMACEUTICALS DOT        DOTHAN         AL   36301        ALT SITE        FN2464624              200      100      500      400      100      260      1,300

100086257   004071316   NASHOBA VALLEY MED CTR (STEWRD         AYER         MA   01432       HOSPITAL         FN2561341              200               200      200      100      175       700

100059128   012193599   CROAL'S REXALL DRUGS                 BARSTOW        CA   92311     INDEPENDENT        FN2629131   22,200   26,200   28,200   32,900   18,600   24,800   25,483   152,900

100090013   021167437   NEBRASKA HEART HOSPITAL              LINCOLN        NE   68526       HOSPITAL         FN2758211              300     1,000    1,400             1,000     925      3,700

100087413   052173047   NORTHEAST PHARMACEUTICALS-BRA        BRANDON        MS   39042    LONG TERM CARE      FN2783757              100      100      100      400      200      180       900

100091362   021167809   NORTHLAND LTACH                    KANSAS CITY      MO   64118       HOSPITAL         FN2850558     600      700      700      600      640     1,100     723      4,340

100108075   018404574   CLAIBORNE PHARMACY      SF            HOMER         LA   71040     INDEPENDENT        FN2859885   21,000   20,000   18,500   13,600    1,000    3,500   12,933    77,600

100108675   018404582   CLAIBORNE PHARMACY (MHA) SF           HOMER         LA   71040     INDEPENDENT        FN2859885              500                                          500       500

100088302   046039784   MEDICAL CENTER OF TRINITY #712        TRINITY       FL   34655       HOSPITAL         FN2933643    1,300    1,550    1,450    1,200    1,430    1,200    1,355     8,130

100088851   003001784   FCIA CARIDAD #8 NEXT G. CORP         CAROLINA       PR   00985     INDEPENDENT        FN2983345     100      200      200                        600      275      1,100

100087530   046039206   HP PHARMACY 2 - NGUYEN'S INC      PINELLAS PARK     FL   33781     INDEPENDENT        FN3067748    1,500    3,000    2,500    1,000    1,500     500     1,667    10,000

100089817   049187815   NARAYAN DRUGS AND PHCY LLC          IMLAY CITY      MI   48444     INDEPENDENT        FN3112492    1,500    1,600    6,400    4,000    5,400    1,300    3,367    20,200

100089061   023134973   NYU HOSP CTR, CTR MUSCULOSKEL       NEW YORK        NY   10016       HOSPITAL         FN3148409              100                                          100       100

100090455   055031237   NOVANT HEALTH PHCY (MW) (340B)    WINSTON SALEM     NC   27106   PHS 340B HOSPITAL    FN3169542    2,900    3,200    4,800    1,700    3,700    7,500    3,967    23,800

100090964   055031328   NOVANT HEALTH PHCY (MW) (WAC)     WINSTON SALEM     NC   27106      HEALTH PLAN       FN3169542     100     1,300     400     2,200    8,100    2,900    2,500    15,000
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100107811   018404426   NEIGHBORHOOD PHARMACY                  ANDREWS          TX   79714     INDEPENDENT        FN3227964    1,300   11,600   27,700   13,500    30,600   12,800   16,250    97,500

100053212   012052621   NEWPORT BEACH SURGERY CENTER        NEWPORT BEACH       CA   92663       HOSPITAL         FN3268770              200                                           200       200

100091061   040114363   NORTHEAST PHARMACEUTICALS INC            ROME           GA   30165    LONG TERM CARE      FN3308435     300      300      200      500       300      100      283      1,700

100097878   019169946   WALGREENS #15257          DSD         NOTRE DAME        IN   46556      WALGREENS         FN3312876    2,800    4,400    2,600    3,500     4,200    3,200    3,450    20,700

100092364   004090548   NYRX INC                           CORTLANDT MANOR      NY   10567     INDEPENDENT        FN3406142              300               500       300               367      1,100

100092134   018268268   GEESONS PHARMACY                       ARLINGTON        TX   76017     INDEPENDENT        FN3427817                      1,000                                1,000     1,000

100091148   004089839   NEW ENGLAND SINAI HOSP(STEWARD        STOUGHTON         MA   02072       HOSPITAL         FN3443087                                300                         300       300

100091216   040132977   DOD NORTH COLUMBUS MED PHCY            COLUMBUS         GA   31904   HOSPITAL (FEDERAL)   FN3475111    1,900    2,500    3,100    2,300     1,500    2,200    2,250    13,500

100092900   041144915   NEW HORIZONS HLTHCR PHCY 340B          ROANOKE          VA   24017    PHS 340B CLINIC     FN3583259   11,500   10,700    7,500    9,600     6,900    6,000    8,700    52,200

100092906   041144923   NEW HORIZONS PHARMACY                  ROANOKE          VA   24017     INDEPENDENT        FN3583259              700     1,200    1,200     1,400    1,500    1,200     6,000

100094026   024032813   *NOUBAR'S EL ADOBE PHMCY INC.         LOS ANGELES       CA   90057     INDEPENDENT        FN3627380     200      100      100      (100)                        75       300

100105097   044219790   *NORTON OUTPATIENT PHCY 340B           LOUISVILLE       KY   40202   PHS 340B HOSPITAL    FN3689152    3,300    4,300    2,900     300                        2,700    10,800

100105092   044219808   *NORTON OUTPATIENT PHCY WAC            LOUISVILLE       KY   40202   PHS 340B HOSPITAL    FN3689152    1,000    1,500    1,000                                1,167     3,500

100104513   018238394   FAIRFAX MED FACILITIES INC340B          NEWKIRK         OK   74647    PHS 340B CLINIC     FN3689405    3,200    2,000    1,000    2,100     2,500    2,000    2,133    12,800

100101302   018025502   NEWKIRK PHARMACY                        NEWKIRK         OK   74647     INDEPENDENT        FN3689405    3,500      -      1,600    1,500     1,000     500     1,350     8,100

100104034   023151878   NOVA STAR PHARMACY INC                PHILADELPHIA      PA   19125     INDEPENDENT        FN3756167     700     1,500     600     2,200     2,000    2,200    1,533     9,200

100104010   052222794   NORTHEAST PHARMACEUTICALS, INC       MONTGOMERY         AL   36107    LONG TERM CARE      FN3790652                       200      100       100      100      125       500

100106105   052223693   NORTHEAST PHARMACEUTICALS, INC        BIRMINGHAM        AL   35210    LONG TERM CARE      FN4154821    3,500    1,200    2,300    1,800     1,880    2,100    2,130    12,780

100107203   018404186   NEW CARE PHARMACY         CPA         FORT WORTH        TX   76104     INDEPENDENT        FN4220125             5,000    3,500     100      6,000             3,650    14,600

100104044   055038489   COOPER'S PHARMACY (ARX)                  VASS           NC   28394     INDEPENDENT        FN4292063   14,700   26,700   15,190   19,700    23,600   17,500   19,565   117,390

100106816   004102707   KOBLIN'S PHARMACY INC CPA                NYACK          NY   10960     INDEPENDENT        FN4299853    2,700     700     2,600    3,400     2,800    1,900    2,350    14,100

100108940   052224592   NORTHSIDE PHARMACY SF                RUSSELLVILLE       AL   35654     INDEPENDENT        FN4312322    4,000    8,500    8,000    8,000     5,000    7,500    6,833    41,000

100108691   012112888   NEWPORT CARE CENTER PHARMACY        NEWPORT BEACH       CA   92663     INDEPENDENT        FN4320228              600      500      500       200     1,200     600      3,000

100108945   041154450   PRINCE WILLIAM HOSP(HAYMARKET)        HAYMARKET         VA   20169       HOSPITAL         FN4353087     200      300      200      200       200      300      233      1,400

100109481   052224691   NORTHEAST PHARMACEUTICALS              FLORENCE         AL   35630    LONG TERM CARE      FN4425636              100      200                                  150       300

100110000   021176396   NEIGHBORHOOD LTC PHCY INC.              LINCOLN         NE   68510    LONG TERM CARE      FN4513378     700     5,300     500      500      2,700     100     1,633     9,800

100110447   023161653   NSLIJ LENOX HILL HOSPITAL              NEW YORK         NY   10011       HOSPITAL         FN4611352              200                                           200       200

100110430   044221390   NEW MADRID PHARMACY CPA               NEW MADRID        MO   63869     INDEPENDENT        FN4836663                                                  8,200    8,200     8,200

100058386   018087759   OAK CLIFF PHARMACY                      DALLAS          TX   75224     INDEPENDENT        FO0087797     200      300      200                                  233       700

100068428   021146282   OAKLAND MERCY HOSPITAL                  OAKLAND         NE   68045       HOSPITAL         FO0151718      50      100                                   80       77       230

100074195   019053389   OSF HOLY FAMILY MEDICAL CENTER         MONMOUTH         IL   61462       HOSPITAL         FO0280898                       100                580               340       680

100094168   019162693   OSF HOLY FAMILY MED CTR 340B           MONMOUTH         IL   61462       HOSPITAL         FO0280898     100      100               100                         100       300

100072163   021140160   OVERLAND PARK SURG CENTER #712       OVERLAND PARK      KS   66215       HOSPITAL         FO0546828     300      100      200      350       180      260      232      1,390

100076831   049126284   OAKWOOD PHARMACY SOUTHGATE            SOUTHGATE         MI   48195     INDEPENDENT        FO0591669    4,500    5,300    8,700    9,700     5,700    1,200    5,850    35,100

100085298   049182691   OAKWOOD PHCY SOUTHGATE 340B           SOUTHGATE         MI   48195   PHS 340B HOSPITAL    FO0591669    4,300    2,300    2,100     500               6,500    3,140    15,700

100076139   010121954   DUBLIN METHODIST HOSP RX                DUBLIN          OH   43016       HOSPITAL         FO0604024     800     1,200    1,300              1,280     900     1,096     5,480

100060726   021036848   OSMOND GENERAL HOSPITAL                 OSMOND          NE   68765       HOSPITAL         FO0619568              100                         100      200      133       400

100069101   024120790   OWL REXALL DRUG           COMBO         COVINA          CA   91722     INDEPENDENT        FO0632213    1,500    2,500    5,000     500     10,100    4,200    3,967    23,800

100069849   041123943   OLD TOWNE PHARMACY(Z)                  BALTIMORE        MD   21202     INDEPENDENT        FO0647187     200      300      100      300       240               228      1,140

100070051   041111575   OSLER MEDICAL PHARMACY(ZS)              TOWSON          MD   21204     INDEPENDENT        FO0652176    1,700     700     1,000    1,100     1,000     600     1,017     6,100

100069975   049128678   *ORCHARD VIEW PHCY          SF    WASHINGTON TOWNSHIP   MI   48095     INDEPENDENT        FO0655766    1,000    2,000    2,000    2,000     4,000             2,200    11,000

100066300   018178541   ONEPOINT PATIENT CARE, LLC-OK        OKLAHOMA CITY      OK   73127    LONG TERM CARE      FO0691611   24,400   27,900   26,400   21,800    22,000   22,200   24,117   144,700

100077086   037117721   OASIS PHCY           SF               SUGAR LAND        TX   77478    LONG TERM CARE      FO0721591              200     1,300    2,900     5,300    2,300    2,400    12,000

100106503   046059311   THE VINES HOSPITAL                       OCALA          FL   34471       HOSPITAL         FO0764856                                300       320               310       620
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100073776   008012252   JACK'S DRUG STORE AND       SF         SAN ANSELMO       CA   94960     INDEPENDENT       FO0802466    3,100    3,800     4,500    5,000    2,400     3,900    3,783    22,700

100089333   012103028   OC PHARMACY                           GARDEN GROVE       CA   92843     INDEPENDENT       FO0863654     300      400       300      200      (100)              220      1,100

100075295   010141028   ORCHARD PHARMACEUTICAL SERV IN         NORTH CANTON      OH   44720     MAIL SERVICE      FO1056402   21,400   20,900    23,600   17,200   11,400    13,300   17,967   107,800

100058107   019035949   ONCOLOGY HEMATOLOGY ASSOC                 PEORIA         IL   61615      ONCOLOGY         FO1074474    9,100   10,700    12,000   10,800   17,900    16,800   12,883    77,300

100073529   046114751   ONEPOINT PATIENT CARE, LLC-FL            MIRAMAR         FL   33025   LONG TERM CARE      FO1101738     800     1,300     1,100    1,500    1,600     1,900    1,367     8,200

100073735   025036798   BEST AID PHCY         SF              SAINT LOUIS PARK   MN   55416     INDEPENDENT       FO1132175              100       200     1,100     600                500      2,000

100072336   019103952   ONEPOINT PATIENT CARE, LLC-IL         MORTON GROVE       IL   60053   LONG TERM CARE      FO1133038   21,900   29,200    19,600   20,900   24,800    20,500   22,817   136,900

100091352   019158451   KINDRED HOSP NORTHERN INDIANA           MISHAWAKA        IN   46544       HOSPITAL        FO1149637     200      800       600      500      180       640      487      2,920

100067446   049177741   OAKWOOD PHARMACY TRENTON                 TRENTON         MI   48183       HOSPITAL        FO1217543    6,700   13,200     6,200    9,100   18,000    11,500   10,783    64,700

100085254   049182501   OAKWOOD PHARMACY TRENTON 340B            TRENTON         MI   48183   PHS 340B HOSPITAL   FO1217543    4,300    1,200      200      600               2,500    1,760     8,800

100109924   021176321   OMNI PHARMACY        CPA                   TULSA         OK   74133     INDEPENDENT       FO1335377             3,500     2,500    3,500    4,500      500     2,900    14,500

100086197   038100362   PALACE PHCY DBA            SF             LANDER         WY   82520     INDEPENDENT       FO1425087    2,500    4,500     4,600    5,700   15,700    10,500    7,250    43,500

100071977   049178087   OAKWOOD PHARMACY WAYNE                    WAYNE          MI   48184       HOSPITAL        FO1437741     600     3,000     4,600    9,300    7,500     4,900    4,983    29,900

100085252   049182485   OAKWOOD PHCY WAYNE 340B 2                 WAYNE          MI   48184   PHS 340B HOSPITAL   FO1437741    5,600    2,400     2,000    1,900              3,800    3,140    15,700

100087898   049185983   OAKWOOD PHCY WAYNE 340B                   WAYNE          MI   48184   PHS 340B HOSPITAL   FO1437741              500       200                         900      533      1,600

100075073   018178889   OKLAHOMA HEART HOSP SOUTH, LLC        OKLAHOMA CITY      OK   73135       HOSPITAL        FO1753133    1,400     500      1,300    1,200     900      1,400    1,117     6,700

100075855   021130559   ONE WORLD COMM HLTH CTR, INC              OMAHA          NE   68107       ALT SITE        FO1773399    6,100    7,500     6,000   16,100    1,000     3,900    6,767    40,600

100099324   044219188   WALGREENS #15801           DSD            MALDEN         MO   63863     WALGREENS         FO1774238            15,600    32,300   37,000   43,500    28,100   31,300   156,500

100099322   044219162   WALGREENS #15799           DSD            BERNIE         MO   63822     WALGREENS         FO1774264             6,400     7,700    7,800    8,700     4,200    6,960    34,800

100099323   044219170   WALGREENS #15800           DSD            DEXTER         MO   63841     WALGREENS         FO1774276     100    19,200    35,300   39,400   35,900    29,000   26,483   158,900

100075421   019176222   OAK LAWN PHARMACY INC           CPA      OAK LAWN        IL   60453     INDEPENDENT       FO1891969    1,500    3,000     1,000    1,700    2,800     1,600    1,933    11,600

100077085   019176248   ORION FAMILY PHARMACY, LLC CPA             ORION         IL   61273     INDEPENDENT       FO1899028    2,100    2,500     1,600    2,100    2,500     1,500    2,050    12,300

100075567   024130617   OWL WESTERN PHARMACY                      COVINA         CA   91722   LONG TERM CARE      FO1906304   30,100   32,100    52,100   15,500   13,900    15,400   26,517   159,100

100075004   018177527   OVERTON PHARMACY                         OVERTON         TX   75684     INDEPENDENT       FO1922500   19,900   21,400    19,200   19,200   16,100    14,700   18,417   110,500

100075671   038103622   ORTHOCOLORADO HOSP AT ST ANTH           LAKEWOOD         CO   80228       HOSPITAL        FO1938743     100      300                500      400                325      1,300

100090866   040114322   OATTS DRUG CPA                            DUBLIN         GA   31021     INDEPENDENT       FO2360143   12,500    8,500     5,020    5,500    5,800     5,000    7,053    42,320

100086644   020153486   PHARMACY CORP OF AMERICA                  PHOENIX        AZ   85027   LONG TERM CARE      FO2414819    4,700    6,800     5,600    5,800    6,800     6,200    5,983    35,900

100074853   026012351   PRINCE KUHIO PHARMACY II DBA             HONOLULU        HI   96815     INDEPENDENT       FO2434051    2,100    3,000     1,700    1,300    2,000     1,500    1,933    11,600

100086345   041138537   ONE STOP PHARMACY, INC.                 CENTREVILLE      VA   20121     INDEPENDENT       FO2514633     200      (100)     800     4,000               200     1,020     5,100

100093060   037130419   OUR LADY OF LOURDES REG MD CTR           LAFAYETTE       LA   70508       HOSPITAL        FO2601741    2,500    3,400     3,700    4,100    3,700     3,300    3,450    20,700

100088147   044207365   OXFORD FAMILY PCHY          SF            OXFORD         MS   38655     INDEPENDENT       FO2685343                        500      200     3,000     2,000    1,425     5,700

100088303   037126573   OLD GRETNA PHCY            SF             GRETNA         LA   70053     INDEPENDENT       FO2977479    3,600    2,600     2,800    3,400    3,400     3,400    3,200    19,200

100091277   032133405   OMAK PHARMACY INC., CPA                    OMAK          WA   98841     INDEPENDENT       FO3389966    3,100    3,100     2,100    4,500    5,300     5,300    3,900    23,400

100104501   037133595   OUR LADY OF LKE LIVINGSTN 340B            WALKER         LA   70785   PHS 340B HOSPITAL   FO3469512              300                500      600                467      1,400

100089836   024115691   PAYLESS PHARMACY III                     ROSEMEAD        CA   91770     INDEPENDENT       FO3484603     800      600       600      700      600       600      650      3,900

100092485   010226340   OAK HILL HOMETOWN PHCY APSC               OAK HILL       WV   25901     INDEPENDENT       FO3507223    9,200    9,500    10,500   12,500    8,000    11,500   10,200    61,200

100093257   019161828   OSF ST ELIZABETH MED CTR                  OTTAWA         IL   61350       HOSPITAL        FO3552470     900     1,100      800     1,700     640       420      927      5,560

100093256   018396515   ONWARD CARE PHARMACY, INC               FORT WORTH       TX   76133     INDEPENDENT       FO3553042    7,500   10,000    13,000   12,000              2,000    8,900    44,500

100105661   037134189   OUR LADY OF LAKE LIV PHCY WAC             WALKER         LA   70785   PHS 340B HOSPITAL   FO3574084     500     1,500      500              2,600     1,000    1,220     6,100

100104983   037133918   OUR LADY OF LAKE LIV PHCY 340B            WALKER         LA   70785   PHS 340B HOSPITAL   FO3574084     500                                  500      1,000     667      2,000

100104515   037133603   RICHMOND PHARMACY                        RICHMOND        TX   77469     INDEPENDENT       FO3637660    5,200   11,300     6,900    8,200    1,500     2,000    5,850    35,100

100096958   024119719   OWL SPECIALTY PHARMACY                    COVINA         CA   91722   LONG TERM CARE      FO3745532                                 500                         500       500

100104640   010235242   OHRH, LLC (SELECT)                       COLUMBUS        OH   43201       HOSPITAL        FO3981924     100      300       200      900                300      360      1,800

100093092   024119461   PAYLESS PHARMACY V                      SAN GABRIEL      CA   91776     INDEPENDENT       FO4023646     600      500       500      300                         475      1,900
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100105859   049194951   ONEPOINT PATIENT CARE, LLC-MI          LIVONIA        MI   48150   LONG TERM CARE      FO4121480    8,000    9,500    7,600      2,500      1,100      500      4,867     29,200

100107021   032116723   ONEPOINT PATIENT CARE, LLC-WA        VANCOUVER        WA   98662   LONG TERM CARE      FO4219021    1,800    3,100    3,400      3,800      6,500     3,500     3,683     22,100

100106772   049195164   OAK PARK PHARMACY EPIC                OAK PARK        MI   48237     INDEPENDENT       FO4290312   18,100   18,500   21,600     19,100     23,700    15,700    19,450    116,700

100109037   037135145   OUR LADY OF ANGELS HOSP FMOL         BOGALUSA         LA   70427       HOSPITAL        FO4434952     400      400      600       1,500                           725       2,900

100110717   019188169   OSF ST LUKES MEDICAL CTR 340B         KEWANEE         IL   61443   PHS 340B HOSPITAL   FO4493704                                              400                400         400

100111469   021000475   OZARK LTC RX                        BONNE TERRE       MO   63628   LONG TERM CARE      FO4581434                                                      1,000     1,000      1,000

100111248   004002088   OUR LADY OF FATIMA HOSPITAL       NORTH PROVIDENCE    RI   02904       HOSPITAL        FO4639805                                            1,400      800      1,100      2,200

100064354   044072553   POOLE'S PHARMACY CARE      APSC      LIVERMORE        KY   42352     INDEPENDENT       FP0042387    8,600    9,400    8,200      9,000     17,500     4,500     9,533     57,200

100075426   044185918   POOLE'S PHARMACY CARE 340B           LIVERMORE        KY   42352    PHS 340B CLINIC    FP0042387     400      400      100        100       1,000                400       2,000

100074869   056090365   PENN PRESBYTERIAN APOTH(340B)       PHILADELPHIA      PA   19104   PHS 340B HOSPITAL   FP0082735     100      100      300       1,000                           375       1,500

100064264   018078147   PELZEL'S HOMETOWN PHARMACY           PILOT POINT      TX   76258     INDEPENDENT       FP0084931    5,200    7,420    4,300      5,500      5,300     3,700     5,237     31,420

100061925   018090605   PHARMACY PLUS #9                     SOUTHLAKE        TX   76092     INDEPENDENT       FP0091796    2,600    5,700   (1,500)     1,600      3,300     2,800     2,417     14,500

100073131   020175414   PRIME THERAPEUTICS                  ALBUQUERQUE       NM   87114     MAIL SERVICE      FP0103806                                 1,300                          1,300      1,300

100109388   055044594   PAGELAND FAMILY PHARMACY             PAGELAND         SC   29728     INDEPENDENT       FP0136879    5,100    7,700    8,000      7,000     12,000     1,000     6,800     40,800

100057545   056060780   POTOMAC PHARMATECH(X)               WILLIAMSPORT      MD   21795   LONG TERM CARE      FP0137922    2,600    4,100    3,100      3,600      3,700     2,300     3,233     19,400

100089308   019156059   PAY LESS PHARMACY J-843 340B         LAFAYETTE        IN   47904    PHS 340B CLINIC    FP0141779    3,600    3,900    4,400                                     3,967     11,900

100110862   041000267   PSYCHIATRIC INST OF WASHINGTON      WASHINGTON        DC   20016       HOSPITAL        FP0156617                                  100                  100       100         200

100061819   052031732   PHARMACY CARE ASSOC, LLC(HNTVL       HUNTSVILLE       AL   35824   LONG TERM CARE      FP0195443   20,500   22,600   24,200     23,600     32,000    17,800    23,450    140,700

100067714   052143008   PONDERS MOUNTAIN PHARMACY CPA          BRYANT         AL   35958     INDEPENDENT       FP0215954   10,800    9,100   12,500     13,900      5,000     9,700    10,167     61,000

100074411   041175299   PHARMACY ALTERNATIVES LLC,         CHRISTIANSBURG     VA   24073   LONG TERM CARE      FP0225450    1,700    1,100     400       1,100      1,400      800      1,083      6,500

100072184   018091173   PEOPLEFIRST PHARMACY #2             CARROLLTON        TX   75010     INDEPENDENT       FP0245591    5,500    6,000    3,000      4,100      8,600     3,000     5,033     30,200

100071924   024130302   PERSONS COMPOUNDING PHARMACY         GLENDALE         CA   91206     INDEPENDENT       FP0259677    2,300    2,200    1,300      2,400      1,500     1,700     1,900     11,400

100100710   023147736   PRIME AID PHARMACY INC. (ARX)        UNION CITY       NJ   07087     INDEPENDENT       FP0280886                                                       300       300         300

100060413   023096040   PLAINS PHARMACY(Z) (GNP)               WAYNE          NJ   07470     INDEPENDENT       FP0293845     800     1,100    1,500       700       1,000     2,700     1,300      7,800

100076078   040076711   *PHARMACY PARTNERS OF GA LLC         KENNESAW         GA   30144   LONG TERM CARE      FP0321303   25,700                                                      25,700     25,700

100073876   024125922   PORTER RANCH PHARMACY              PORTER RANCH       CA   91326     INDEPENDENT       FP0450697   11,400   12,000   14,600     11,400      5,400     7,400    10,367     62,200

100068156   055071068   PURE COMPOUNDING(Z)        CPA      MYRTLE BEACH      SC   29588     INDEPENDENT       FP0519150              400      100        200                  100       200         800

100105838   018403741   PROVIDENCE HOSPITAL CAMPUS            LAREDO          TX   78041       HOSPITAL        FP0630726     100      100      100        200                            125         500

100054824   012071761   PACIFIC PHARMACY       CPA            DOWNEY          CA   90241     INDEPENDENT       FP0635930    1,600    1,500    5,000      1,100      2,500               2,340     11,700

100066005   008032508   PHARMERICA (FRESNO)                   FRESNO          CA   93726   LONG TERM CARE      FP0640171   23,100   24,700   20,900     26,100        200     5,800    16,800    100,800

100051579   008076398   PHARMERICA (UNION CITY)              UNION CITY       CA   94587   LONG TERM CARE      FP0640537   45,500   39,900   68,400     21,800      6,000      200     30,300    181,800

100051387   008034512   PHARMERICA (STOCKTON)                STOCKTON         CA   95205   LONG TERM CARE      FP0640551   14,800   15,000   14,200     17,700      2,550              12,850     64,250

100076704   046013508   PROFESSIONAL PHCY SRV &DME INC         MIAMI          FL   33157     INDEPENDENT       FP0643610     400                                                         400         400

100077150   020190728   ONEPOINT PATIENT CARE, LLC-NV        LAS VEGAS        NV   89119   LONG TERM CARE      FP0648088   13,600   18,000   18,100     18,800     10,700    11,700    15,150     90,900

100069468   010123331   PHILLIPS DRUG INC WEST SF            RICHMOND         IN   47374     INDEPENDENT       FP0653229   16,200   11,000    9,000     15,400      5,100    11,200    11,317     67,900

100053991   012090563   PHARMERICA (SAN DIEGO)               SAN DIEGO        CA   92126   LONG TERM CARE      FP0665630   10,700   11,700   18,900     12,700                 100     10,820     54,100

100054510   012013409   PHARMERICA (RIVERSIDE)               RIVERSIDE        CA   92507   LONG TERM CARE      FP0668977   29,200   32,800   33,200    410,800   1,038,200            308,840   1,544,200

100054860   012022053   PHARMERICA (CYPRESS)                  CYPRESS         CA   90630   LONG TERM CARE      FP0668991   20,700   21,600   22,200     29,800      1,500              19,160     95,800

100053497   024088112   PHARMERICA (SAN LUIS OB)           SAN LUIS OBISPO    CA   93401   LONG TERM CARE      FP0669006   19,500   23,800   23,200     34,200                         25,175    100,700

100052779   024028654   PHARMERICA (VENTURA)                  VENTURA         CA   93003   LONG TERM CARE      FP0669018    9,650   11,300   12,950     16,700                         12,650     50,600

100069204   046013961   POPE SHENOUDA, LLC.                   HOLIDAY         FL   34691     INDEPENDENT       FP0721123    2,100    3,300    2,200      3,300      1,600     2,800     2,550     15,300

100090049   032143503   SAC HRT MD CTR AT RIVERBEND         SPRINGFIELD       OR   97477       HOSPITAL        FP0750922    4,900    4,700    5,500      6,800      6,200     5,000     5,517     33,100

100069972   024026260   PALISADES COMPOUNDING PHCY        PACIFIC PALISADES   CA   90272     INDEPENDENT       FP0762143    3,200             1,000                                     2,100      4,200

100082005   037117705   PLATINUM RX FOUNDATION MED TWR        BELLAIRE        TX   77401     INDEPENDENT       FP0762840    6,700    5,500    7,000      7,000     15,300     8,500     8,333     50,000
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100088608   020156638   PHARMACY CENTER                      EL PASO        TX   79902    INDEPENDENT      FP0765682   64,500   64,400    61,900    50,500     48,800    32,700    53,800    322,800

100060217   019083527   PREMIER SURGERY CENTER             FORT WAYNE       IN   46845      HOSPITAL       FP0798934                                  100                            100         100

100060216   040002295   PHARMERICA (MACON)                    MACON         GA   31204   LONG TERM CARE    FP0802872   24,000   25,500    27,000    29,600                         26,525    106,100

100073140   010123380   PHILLIPS DRUG EAST        SF        RICHMOND        IN   47374    INDEPENDENT      FP0804698   22,100   11,100    25,500    12,000     19,100    11,000    16,800    100,800

100073680   004110734   *PRESTIGE PHARMACY INC(Z)(GNP)     MIDDLETOWN       NY   10940    INDEPENDENT      FP0814245     100      (100)               500                            167         500

100076593   046012690   PUMAR PHARMACY, INC                   MIAMI         FL   33174    INDEPENDENT      FP0853514                                  100                            100         100

100050707   004070458   PHARMERICA (BROCKTON)               BROCKTON        MA   02301   LONG TERM CARE    FP0887957   24,300   32,800    24,700   398,000   1,045,060    2,600   254,577   1,527,460

100109712   052224931   PINSON DISCOUNT DRUGS, INC CPA       PINSON         AL   35126    INDEPENDENT      FP0925252   22,900    8,900                                             15,900     31,800

100050705   004070300   PHARMERICA (BERLIN)                   BERLIN        CT   06037   LONG TERM CARE    FP0951168    5,000    9,700     7,900    14,300        300      100      6,217     37,300

100050708   004070656   PHARMERICA (WARWICK)                 WARWICK        RI   02888   LONG TERM CARE    FP0954568   15,700   15,600    14,900    17,300     19,100    14,700    16,217     97,300

100072089   010123752   TOTAL CARE PHARMACY #5 - APSC       FALMOUTH        KY   41040    INDEPENDENT      FP1019935    7,200    8,400     6,400     7,000      6,000     6,700     6,950     41,700

100083247   046032037   PIERSON COMMUNITY PHARMACY           DELAND         FL   32720    INDEPENDENT      FP1045005    1,400    2,000     1,900     2,600      5,200     2,100     2,533     15,200

100069136   010141085   PROFESSIONAL CARE PHARMACY, IN     VANCEBURG        KY   41179    INDEPENDENT      FP1127768    5,100    7,100     9,200     6,500      4,600     6,600     6,517     39,100

100085462   052166405   PISGAH FAMILY PHCY, LLC    SF         PISGAH        AL   35765    INDEPENDENT      FP1128138     500                          100       6,500               2,367      7,100

100068677   056075184   SURGCENTER OF BEL AIR LLC(X)         BEL AIR        MD   21014      HOSPITAL       FP1129940                        100                                      100         100

100069711   032130005   CARE RX LLC                          EUGENE         OR   97401   LONG TERM CARE    FP1200788     700      700       600       800       1,100      600       750       4,500

100066998   055143511   PINE RIDGE PHARMACY(X)     CPA    WEST COLUMBIA     SC   29172    INDEPENDENT      FP1216553    1,200    3,100     1,600     5,100        500     4,300     2,633     15,800

100106685   037134445   PARK PLACE SURGICAL HOSPITAL        LAFAYETTE       LA   70508      HOSPITAL       FP1223231     200      300                 600         320      480       380       1,900

100067581   010141648   RUWE FAMILY PHARMACY FLORENCE       FLORENCE        KY   41042    INDEPENDENT      FP1228318    4,000    3,800     3,500     2,600      3,900     2,300     3,350     20,100

100068907   023111948   PHARMSCRIPT, LLC(X)                  EDISON         NJ   08817   LONG TERM CARE    FP1273820    5,000    4,500     5,500     5,000      2,500               4,500     22,500

100067438   032131995   PREMIER LONG TERM CARE PHCY          SEATTLE        WA   98144   LONG TERM CARE    FP1306415    3,600    4,800     3,600     4,700      5,700     4,800     4,533     27,200

100106661   049195099   PHARMOR PHARMACY WARREN              WARREN         MI   48093    INDEPENDENT      FP1330202    5,500    5,500     6,500     3,000      4,500     4,000     4,833     29,000

100071428   019175299   PHARMACY ALTERNATIVES LLC           ELMHURST        IL   60126   LONG TERM CARE    FP1336406    1,900    1,600               1,300      1,100      600      1,300      6,500

100069153   019175992   PRAIRIE PHARMACY       CPA        WESTCHESTER       IL   60154    INDEPENDENT      FP1346623    5,400    8,300     3,600     8,800      6,100     2,700     5,817     34,900

100088635   049186882   PICKENS MEDICAL PHCY LLC APG         DETROIT        MI   48235    INDEPENDENT      FP1358008   26,500   19,500    22,000    38,500     13,000              23,900    119,500

100071630   037125476   OAKDALE COMMUNITY HOSPITAL           OAKDALE        LA   71463      HOSPITAL       FP1373745     200      200       400       150          80      380       235       1,410

100068871   037125468   AVOYELLES HOSPITAL                 MARKSVILLE       LA   71351      HOSPITAL       FP1373757     100                250       500                  800       413       1,650

100071057   037125484   WINN PARISH MEDICAL CENTER,         WINNFIELD       LA   71483      HOSPITAL       FP1373771     300      200       200       800       1,200      600       550       3,300

100067836   044174250   PAUL'S LTC PHARMACY                 EVANSVILLE      IN   47712   LONG TERM CARE    FP1378860   12,200   17,700    18,500    15,500     17,700     2,000    13,933     83,600

100071719   046125567   *PINE BROOK PHARMACY LLC,          BROOKSVILLE      FL   34613    INDEPENDENT      FP1458531     100                                                         100         100

100071391   037116590   PRIMECARE PHARMACY                   HOUSTON        TX   77081    INDEPENDENT      FP1518109              100                                                100         100

100110314   041154864   PEOPLES CARE PHARMACY               BROOKLYN        MD   21225    INDEPENDENT      FP1633406                        500       200         500                400       1,200

100106472   025091744   PRAIRIE ST. JOHN'S                    FARGO         ND   58103      HOSPITAL       FP1636844     100      100       300       200         100      200       167       1,000

100070776   046125690   PRIME PHARMACY SERVICES, EAST       SARASOTA        FL   34240   LONG TERM CARE    FP1639737    5,500    6,300     4,300     5,000      6,300     4,400     5,300     31,800

100068341   012120147   POINT LOMA CABRILLO DRUG            SAN DIEGO       CA   92106    INDEPENDENT      FP1685277    4,500    5,000     5,200     5,000      5,000     3,100     4,633     27,800

100070124   032132126   PROFESSIONAL CENTER 205 PHCY        PORTLAND        OR   97216    INDEPENDENT      FP1688401     500     8,100     7,500    22,000      7,500     5,500     8,517     51,100

100092773   032146894   PROFESSIONAL CTR 205 PHCY340B       PORTLAND        OR   97216   PHS 340B CLINIC   FP1688401    7,300    1,600                500                           3,133      9,400

100084893   046035139   PRIME RX PHARMACY - ST PETE      SAINT PETERSBURG   FL   33709    INDEPENDENT      FP1691915                        200       300         500     2,000      750       3,000

100066913   012086645   PIH COMMUNITY PHARMACY               WHITTIER       CA   90602      HOSPITAL       FP1691977    8,600   19,200    20,800    15,000     22,200    18,400    17,367    104,200

100061634   041105148   PRINCESS ANNE AMBULATORY SURG.    VIRGINIA BEACH    VA   23456      HOSPITAL       FP1704786              100                             100      100       100         300

100070849   008100545   PEACH TREE PHARMACY 340B            MARYSVILLE      CA   95901   PHS 340B CLINIC   FP1706071    3,300    2,800     4,400      900       4,400               3,160     15,800

100068516   008107011   PEACH TREE PHARMACY RETAIL          MARYSVILLE      CA   95901    INDEPENDENT      FP1706071    2,000    2,500     2,000     3,000      1,000     3,000     2,250     13,500

100087369   032140210   PUGET SOUND PHARMACY, LLC.           TACOMA         WA   98405    INDEPENDENT      FP1706350    1,000     800      1,000      900       1,500      800      1,000      6,000

100067342   019143404   PHARMACY ONE PLUS         CPA        CHICAGO        IL   60625    INDEPENDENT      FP1740009    1,600    8,700      300       300         200               2,220     11,100
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100109696   052224865   PHARMACY AT THE PIG, INC. CPA        MCCALLA       AL   35111     INDEPENDENT        FP1759250   14,700    3,700                                        9,200    18,400

100074711   049178764   *POTTERVILLE PHCY INC     SF       POTTERVILLE     MI   48876     INDEPENDENT        FP1803419   37,200     600      600                               12,800    38,400

100103767   010234419   PHARMACY ONE                       SPRINGFIELD     OH   45504     INDEPENDENT        FP1843831    9,200    8,300   16,600   24,800    6,000    5,400   11,717    70,300

100074738   032135012   PACMED CTR CANYON PK DOD             BOTHELL       WA   98021   HOSPITAL (FEDERAL)   FP1848627    2,100    2,000    1,900    2,400    4,100    3,100    2,600    15,600

100074654   032176016   PACMED CLINICS-CANYON PARK           BOTHELL       WA   98021        ALT SITE        FP1848627     300      500      300      200     2,000     700      667      4,000

100074810   032135020   (CRD) PACMED CTR CANYON PK DOD       BOTHELL       WA   98021   HOSPITAL (FEDERAL)   FP1848627     300               300                                 300       600

100068803   026065433   PHARMACARE NO 8                      WAIANAE       HI   96792     INDEPENDENT        FP1854505   24,100   23,500   27,800   23,200   12,500   21,300   22,067   132,400

100108012   037135020   *PATIENT DIRECT PHARMACY            KINGWOOD       TX   77339     INDEPENDENT        FP1870066   13,000    7,400                                       10,200    20,400

100087261   018197467   PROVIDERX OF MIDLAND CPA             MIDLAND       TX   79707    LONG TERM CARE      FP1893521    3,600    3,500     500     7,100    4,500    1,000    3,367    20,200

100081645   018169284   PERRONERX LLC                      FORT WORTH      TX   76116    LONG TERM CARE      FP1986782   50,500   46,500   51,000   49,500   53,700   45,000   49,367   296,200

100074899   041129890   *PEOPLES DRUG STORE(Z)              STRASBURG      VA   22657     INDEPENDENT        FP1993458    3,100    4,100                                        3,600     7,200

100075164   046127977   HP PHARMACY / PHMN INC.            PINELLAS PARK   FL   33782     INDEPENDENT        FP2005139    3,700    3,100    4,200    3,600    1,500    1,000    2,850    17,100

100075143   023176107   PENN STATE HERSHEY      (SELECT)   HUMMELSTOWN     PA   17036       HOSPITAL         FP2059409     200      700      200      200      200      400      317      1,900

100109711   052224923   PARKWAY DISC DRUGS, INC CPA         BIRMINGHAM     AL   35215     INDEPENDENT        FP2090378   11,700   13,400                                       12,550    25,100

100051268   008035360   PERALTA OUTPATIENT PHARMACY          OAKLAND       CA   94609       HOSPITAL         FP2128432    6,000    7,300    6,500    6,500    7,300    4,800    6,400    38,400

100085506   037119156   PROCARE RX                           HOUSTON       TX   77068     INDEPENDENT        FP2139233    9,600    9,900    7,700   10,000    9,600    6,600    8,900    53,400

100083541   018180927   PRUDENTIAL PHARMACY INC CPA        DUNCANVILLE     TX   75116     INDEPENDENT        FP2149676    1,100    1,000    1,100    1,000                      1,050     4,200

100110780   023162263   PHARMACY PLUS & SURGICAL CPA         HARRISON      NJ   07029     INDEPENDENT        FP2176407                                200      100               150       300

100089010   046040923   DUVAL PHARMACY CPA                 JACKSONVILLE    FL   32218     INDEPENDENT        FP2187551    1,500    2,000     600      900     5,200    6,500    2,783    16,700

100084347   041134684   PIKESVILLE PHARMACY LLC             PIKESVILLE     MD   21208     INDEPENDENT        FP2229119              500     2,000    3,500                      2,000     6,000

100104521   010235184   BOGG'S PHARMACY APSC                  JENKINS      KY   41537     INDEPENDENT        FP2229804    3,500    4,000     100     2,500   11,300   12,200    5,600    33,600

100090601   037129478   PRO MED RX                          SUGAR LAND     TX   77478     INDEPENDENT        FP2270964   16,000   16,000   18,000   18,000   18,000   14,000   16,667   100,000

100084252   032136705   PROFESSIONAL PHARMACY LLC           FAIRBANKS      AK   99701     INDEPENDENT        FP2321519    6,200    5,900    5,600    6,700    6,600    4,900    5,983    35,900

100084253   032136713   PRESCRIPTION CENTER LLC             FAIRBANKS      AK   99701     INDEPENDENT        FP2321595    5,400    6,300    6,700    6,800    3,200    2,500    5,150    30,900

100084823   037116699   PYRAMIDS PHARMACY                    HOUSTON       TX   77079     INDEPENDENT        FP2340090                                                  300      300       300

100092953   046043166   PRIME PHARMACY, LLC                JACKSONVILLE    FL   32210     INDEPENDENT        FP2348806    9,000   12,000    8,000    6,000    4,000             7,800    39,000

100105820   024017194   PALMDALE REGIONAL MED CENTER         PALMDALE      CA   93551       HOSPITAL         FP2356891    1,600    2,000    1,600    4,600     400      800     1,833    11,000

100087372   046039081   PEPPER TREE PHARMACY                  OCALA        FL   34472     INDEPENDENT        FP2379623    1,900    3,600    3,700    1,000    1,500             2,340    11,700

100109441   012113407   PARTELL SPECIALTY PHARMACY W        LAS VEGAS      NV   89117     INDEPENDENT        FP2389698    6,000    5,500    6,500    6,600   13,800   13,500    8,650    51,900

100085842   041137513   PROHEALTH PHARMACY                  BALTIMORE      MD   21213     INDEPENDENT        FP2416104                                         200      700      450       900

100086116   040105726   PHARMACY ALTERNATIVES, LLC           VALDOSTA      GA   31601    LONG TERM CARE      FP2515952    1,000    2,700     600                                1,433     4,300

100103941   037133363   TEXAS RXSOLUTIONS COMPOUND PHY       HOUSTON       TX   77054     INDEPENDENT        FP2631174    5,600    8,500    6,000    5,600    4,700    7,900    6,383    38,300

100090314   032144121   PRESCRIPTION PAD PHARM SO WAC         RENTON       WA   98055       HOSPITAL         FP2631681   17,100    6,500   15,900   11,800   17,700   12,000   13,500    81,000

100090039   032143404   PRESCRIPTION PAD PHARM SO 340B        RENTON       WA   98055   PHS 340B HOSPITAL    FP2631681    4,800    9,800    5,000   11,300    5,400    4,500    6,800    40,800

100096470   046044008   PRESIDENTE PHARMACY & DISC INC         MIAMI       FL   33165     INDEPENDENT        FP2660822     100               100      100               200      125       500

100086859   041139220   PHARMACY 4 LESS                     PARKVILLE      MD   21234     INDEPENDENT        FP2661254     200               200                                 200       400

100085912   023104125   PRESCRIPTION CTR PHY INC (ARX)      UNION CITY     NJ   07087     INDEPENDENT        FP2665620                                         200      500      350       700

100087785   046039453   PHARMAG INC                            MIAMI       FL   33165     INDEPENDENT        FP2696447     400      300               100      200               250      1,000

100090064   032143651   PEACEHLTH ST JOHN MDCTR OP340B       LONGVIEW      WA   98632   PHS 340B HOSPITAL    FP2698732    4,900    6,600    5,600    5,000    1,700    3,900    4,617    27,700

100092138   032146043   PEACEHEALTH ST JOHN MED OP WAC       LONGVIEW      WA   98632       HOSPITAL         FP2698732                       900     1,200    4,000    3,500    2,400     9,600

100109826   046060046   PHARMACY 4U                         KISSIMMEE      FL   34741     INDEPENDENT        FP2703696                      1,500    2,800    7,700    6,000    4,500    18,000

100106473   017098327   PROVO CANYON HOSP - PHARMACY           OREM        UT   84097       HOSPITAL         FP2721238     100      200      100                                 133       400

100087553   041141242   *RXCONNEX PHARMACY (PCMS,LLC)        ASHLAND       VA   23005    LONG TERM CARE      FP2798431     700      600      200     1,200                       675      2,700

100087690   037125088   PALLIATIVE PHCY SOLU MHA SF         LAFAYETTE      LA   70506     INDEPENDENT        FP2834162   13,900   14,400   13,700   18,400    4,500    6,600   11,917    71,500
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100088953   010223412   PROFESSIONAL PHARMACY CPA            PIKEVILLE      KY   41501     INDEPENDENT       FP2844238    5,400     9,900    8,800    10,000    8,500   11,200    8,967    53,800

100087595   023113860   PRESTON DRUG & SURGICAL CPA          BOONTON        NJ   07005     INDEPENDENT       FP2900339    1,600     1,100     500       400     3,300     400     1,217     7,300

100087663   023114629   *SHOPRITE PHARMACY #811             PATCHOGUE       NY   11772        CHAIN          FP2900581               100                                           100       100

100089183   004088831   PHARMSCRIPT, LLC (BINGHAMTON)         VESTAL        NY   13850   LONG TERM CARE      FP2975968    1,000                                                   1,000     1,000

100088955   010223404   PARKWAY PHCY INC APSC              SALYERSVILLE     KY   41465     INDEPENDENT       FP2991001   12,500    13,700   13,900    13,400   23,500    8,800   14,300    85,800

100103843   010234575   PARKWAY PHCY INC 340B              SALYERSVILLE     KY   41465   PHS 340B HOSPITAL   FP2991001                        100       300                        200       400

100110216   044221382   PLUM STREET PHARMACY LLC CPA          CARMI         IL   62821     INDEPENDENT       FP2992697                                12,600    4,300    5,400    7,433    22,300

100088841   019154633   ALLSTATE GOOD LIFE PHARMACY        NORTHBROOK       IL   60062       ALT SITE        FP3006548     300      1,000     700       200      800      200      533      3,200

100088704   037128017   PHARMACY ALTERNATIVES, LLC          SAINT ROSE      LA   70087   LONG TERM CARE      FP3039888     200                          200                        200       400

100089101   052178731   PARK PLACE PHARMACY CPA               PETAL         MS   39465     INDEPENDENT       FP3051365                      13,800    14,500   19,000   11,500   14,700    58,800

100089029   037128538   PHARMACY PLUS                        HOUSTON        TX   77074     INDEPENDENT       FP3055868   10,400    11,300   10,200    12,000    9,000    8,000   10,150    60,900

100089854   046041277   A-1 PHARMACY                         PALATKA        FL   32177     INDEPENDENT       FP3064259   14,500    11,500   13,000    14,000   16,000   14,000   13,833    83,000

100062537   044036756   PAUL'S PHARMACY, EAST               EVANSVILLE      IN   47715     INDEPENDENT       FP3070036   21,000    16,100   20,600    19,100   23,000            19,960    99,800

100089238   049187674   PORT HURON PHARMACY                PORT HURON       MI   48060     INDEPENDENT       FP3077674   23,500    21,300   24,800    22,500   25,600   12,900   21,767   130,600

100090213   032144154   OLSON LONG TERM CARE PHARMACY       OAK GROVE       OR   97267   LONG TERM CARE      FP3089756   11,100    18,300    8,300    11,800   23,700   50,300   20,583   123,500

100089825   018236588   PANACEA RX PHARMACY                   DALLAS        TX   75211     INDEPENDENT       FP3100687    2,000     3,500    1,500              4,500    3,500    3,000    15,000

100091917   046042713   PATIENT'S CHOICE PHARMACY LLC         DAVIE         FL   33328     INDEPENDENT       FP3108924    2,000     4,200    2,800      300     1,000     200     1,750    10,500

100089213   038104729   PIONEER PHARMACY LLC             COLORADO SPRINGS   CO   80907   LONG TERM CARE      FP3111945    3,500     2,800    1,600                                2,633     7,900

100089983   019156976   MEXICARE PHARMACY II    CPA          CHICAGO        IL   60608     INDEPENDENT       FP3140314    3,500      100     3,800      100      500              1,600     8,000

100108007   037135038   PHARMACY DEPOT                       HOUSTON        TX   77059     INDEPENDENT       FP3145011              1,000                       4,000    1,000    2,000     6,000

100090171   049188060   PENNOCK PHARMACY-GUN LAKE            WAYLAND        MI   49348     INDEPENDENT       FP3163350    3,500     5,000    6,500     7,000    4,200    3,800    5,000    30,000

100090387   049188342   PALM DRUGS INC                      DEARBORN        MI   48126     INDEPENDENT       FP3189152    3,000     1,000                                         2,000     4,000

100091167   046042531   PEOPLE'S PHARMACY                    LAKELAND       FL   33809     INDEPENDENT       FP3273151    3,500     1,500    1,500     2,500    2,000    1,500    2,083    12,500

100090321   012104273   PALOMAR MEDICAL CENTER WEST         ESCONDIDO       CA   92029       HOSPITAL        FP3381415    3,700     4,400    8,300     5,500    3,300    3,300    4,750    28,500

100107178   012023028   PALOMAR MEDICAL CENTER WAC          ESCONDIDO       CA   92029       HOSPITAL        FP3381415    2,900     1,300    1,000     1,200    3,800             2,040    10,200

100107589   012112730   PALOMAR MEDICAL CENTER 340B         ESCONDIDO       CA   92029   PHS 340B HOSPITAL   FP3381415     (700)              300       500      400      300      160       800

100086630   008017806   PAYLESS DRUG SPECIAL SERV PHCY     SAN LEANDRO      CA   94577   LONG TERM CARE      FP3410658     300       300      500       200      300               320      1,600

100090607   024116269   PHARMACY 90210                     BEVERLY HILLS    CA   90212     INDEPENDENT       FP3425192    3,300                                  200              1,750     3,500

100092106   019159459   PARKVIEW BEHAVIORAL HEALTH         FORT WAYNE       IN   46805       HOSPITAL        FP3449279     300                400                200      300      300      1,200

100090850   056021667   PALMYRA PHARMACY                     PALMYRA        NJ   08065     INDEPENDENT       FP3469574    1,000       -                                            500      1,000

100099685   018397927   WALGREENS #15817        DSD          WARREN         AR   71671     WALGREENS         FP3492307   10,000    15,500   16,000    15,500   16,500    7,000   13,417    80,500

100093164   018396481   PHARMACY PLUS #10                     WACO          TX   76708     INDEPENDENT       FP3550806   10,720    12,100    9,600    15,500    6,000   10,000   10,653    63,920

100101393   021172098   PREMIER SURGICAL INSTITUTE            GALENA        KS   66739       HOSPITAL        FP3564223    1,300      700     1,000      900     1,000     600      917      5,500

100093234   032147413   PEACEHLTH PEACE ISLAND MED CTR    FRIDAY HARBOR     WA   98250       HOSPITAL        FP3575973     150       100      300                160      200      182       910

100107984   021174623   POTTSVILLE PHARMACY, INC. CPA       POTTSVILLE      AR   72858     INDEPENDENT       FP3602174    4,000     3,000    3,600     3,500    6,100    4,200    4,067    24,400

100093236   052214882   CAMERON HILL PHARMACY              CHATTANOOGA      TN   37402     INDEPENDENT       FP3605221    2,400     2,600    1,700     2,200    2,500    2,100    2,250    13,500

100106860   023153445   LEGACY PHARMACY                    CHERRY HILL      NJ   08003     INDEPENDENT       FP3611337               200      200       700      300      200      320      1,600

100094153   019162677   PARKVIEW ORTHO CENTER LLC          FORT WAYNE       IN   46845       HOSPITAL        FP3612973                        100                         200      150       300

100093846   012040964   PHARMACY ALTERNATIVES CA, LLC        ANAHEIM        CA   92806   LONG TERM CARE      FP3660152     800      1,100     100       500               900      680      3,400

100103829   049194639   PROMEDICA PARKWAY SURGERY CTR         TOLEDO        OH   43606       HOSPITAL        FP3700944     100                                            100      100       200

100093980   044037150   *METTESAVE DISC DRUGS     SF          SARDIS        MS   38666     INDEPENDENT       FP3730062     100       900      (200)                                267       800

100103894   004101469   PORTER MEDICAL CENTER LTCP          MIDDLEBURY      VT   05753       HOSPITAL        FP3771094                        100                400               250       500

100103862   032151449   PHOENIX DOWNTOWN PHMCY LLC           PHOENIX        OR   97535     INDEPENDENT       FP3783378   18,000    18,500   17,200    14,000   20,000   10,500   16,367    98,200

100110782   023162297   PHARMACY PLUS & SURGICAL CPA        PATERSON        NJ   07503     INDEPENDENT       FP3792656                                  200               800      500      1,000
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100104063   052222802   PARKRIDGE VALLEY ADULT/SENIOR         CHATTANOOGA      TN   37421       HOSPITAL        FP3816432     200      300               150      200       160      202      1,010

100103909   026004390   WAIKOLOA VILLAGE MARKET PHCY           WAIKOLOA        HI   96738        CHAIN          FP3882746    2,500    6,000    5,600    2,500    3,200     2,800    3,767    22,600

100104855   044219733   NEIL MEDICAL GRP LOUISVILLE            LOUISVILLE      KY   40223   LONG TERM CARE      FP4002515   16,500   23,500   18,000   20,500   14,000    18,400   18,483   110,900

100104684   046057703   POINCIANA MEDICAL CTR INC #712         KISSIMMEE       FL   34758       HOSPITAL        FP4006020     300      200      400      200      400       480      330      1,980

100104841   012067793   PHARMACY FOR LIVING WELL                ANAHEIM        CA   92802     WALGREENS         FP4053954    1,500    1,500    1,300    3,000    2,200     1,000    1,750    10,500

100105735   019183111   POST ACUTE SPECIALTY HOSP LLC          GREENFIELD      WI   53228       HOSPITAL        FP4102973     500      400      600      300      100       300      367      2,200

100105734   018403659   POST ACUTE SPECIAL HOSP TULSA            TULSA         OK   74145       HOSPITAL        FP4187882    1,100    1,300    1,600    2,600    1,240      500     1,390     8,340

100106832   052223941   PHARMACY SRVS OF MOBILE,LLC SF           MOBILE        AL   36693   LONG TERM CARE      FP4206668    1,100     900     1,600    1,000    1,000      900     1,083     6,500

100109001   023159764   PATIENT DIRECT RX                       HORSHAM        PA   19044       ALT SITE        FP4225113   20,300   22,400   21,700   24,900   23,000    25,200   22,917   137,500

100105733   037134205   POST ACUTE SPEC HOSP OF CORPUS       CORPUS CHRISTI    TX   78414       HOSPITAL        FP4234960     300      800     1,100    2,000    1,500     2,000    1,283     7,700

100110125   019187898   PARKVIEW RANDALLIA O/P                FORT WAYNE       IN   46805     INDEPENDENT       FP4263593             5,500    2,800    5,600   (1,700)    2,700    2,980    14,900

100105736   037134213   POST ACUTE SPEC HOSP VICTORIA           VICTORIA       TX   77901       HOSPITAL        FP4271033     400      400      500     1,700     800                760      3,800

100108008   055044248   PALMETTO HTH PY PHBP PARKRIDGE          COLUMBIA       SC   29201       HOSPITAL        FP4289915     200      500      200      400      740       100      357      2,140

100107595   018404343   PHARMERICA (OKLAHOMA CITY)           OKLAHOMA CITY     OK   73108   LONG TERM CARE      FP4297861   28,500   28,700   34,200   60,000                      37,850   151,400

100105737   037134221   POST ACUTE SPEC HOSP-LAFAYETTE         LAFAYETTE       LA   70508       HOSPITAL        FP4301002     500      600      300      300     1,040      200      490      2,940

100109103   021175166   PHARMACY OF OTTER CREEK CPA            LITTLE ROCK     AR   72210     INDEPENDENT       FP4303929     500     3,500    2,500    3,100    1,600     6,500    2,950    17,700

100107915   049196550   PROMEDICA PHARMACY COUNTER               TOLEDO        OH   43606     INDEPENDENT       FP4316091     100     1,600     600      500     2,000      500      883      5,300

100109411   010237842   PLAZA DRUG OF LONDON APSC               LONDON         KY   40741     INDEPENDENT       FP4321179   12,600   14,320   23,700   29,000   30,200    22,500   22,053   132,320

100108059   038110833   PEAK VIEW BEHAVIORAL HLTH(IPS)      COLORADO SPRINGS   CO   80923       HOSPITAL        FP4325824     200      100      400      300      480       300      297      1,780

100107105   019184226   PORTAGE HEALTH                          HANCOCK        MI   49930       HOSPITAL        FP4330039     500      700      600      300      740       400      540      3,240

100108530   021174755   PHARMACY ALTERNATIVES, LLC               LENEXA        KS   66214   LONG TERM CARE      FP4333352     200      200      700      100                         300      1,200

100109005   024122192   GLENDALE SQUARE PHMCY & MED            GLENDALE        CA   91206     INDEPENDENT       FP4336803                       100                                  100       100

100107897   020166413   PRIMEMED PHARMACY                       EL PASO        TX   79915     INDEPENDENT       FP4375843    5,700    9,600   10,600   11,700    6,100     6,500    8,367    50,200

100109638   018405175   PREMIER PHARMACY                      SAN ANTONIO      TX   78229     INDEPENDENT       FP4411562   15,100   13,400   18,200   17,600   19,400    13,400   16,183    97,100

100090134   032143958   PEACEHEALTH UNITED GEN MED CTR       SEDRO WOOLLEY     WA   98284       HOSPITAL        FP4422870     100      500      200      300      320                284      1,420

100109658   023160903   PINNACLE HEALTH AT WSH               MECHANICSBURG     PA   17050       HOSPITAL        FP4448569     800      300      500     1,100     560      1,720     830      4,980

100061517   019028282   PENINSULA PHARMACY        CPA          MARQUETTE       MI   49855     INDEPENDENT       FP4474463   24,000   19,000   28,200   27,300   28,800    17,700   24,167   145,000

100109901   021176305   PALACE DRUG OF SALEM      CPA            SALEM         AR   72576     INDEPENDENT       FP4572271    4,700    8,300   16,600    1,200   12,000     1,400    7,367    44,200

100110775   020000211   PHX CHILDRENS HOSP-MRCY GILB WAC        GILBERT        AZ   85296       HOSPITAL        FP4591625                                 50                          50        50

100110434   017098657   THE PRESCRIPTION PAD                   FRUITLAND       ID   83619     INDEPENDENT       FP4669339             3,700   10,600    7,400              2,000    5,925    23,700

100060695   017059204   *PARK-VU PHARMACY                      FRUITLAND       ID   83619     INDEPENDENT       FP4669339    2,000    2,100                                         2,050     4,100

100110534   019188110   PENINSULA PHARMACY PLUS       CPA      MARQUETTE       MI   49855     INDEPENDENT       FP4678895                               8,200    3,000              5,600    11,200

100108942   052224600   PARKRIDGE WEST HOSPITAL                  JASPER        TN   37347       HOSPITAL        FP4682096     700      550      200      650      500        80      447      2,680

100110701   023162156   PENN MED AT UNV CITY-APTH 340B        PHILADELPHIA     PA   19104   PHS 340B HOSPITAL   FP4728296                                430                         430       430

100110781   023162271   PHARMACY PLUS &SUR SUP LLC CPA          PASSAIC        NJ   07055     INDEPENDENT       FP4740026                                800                         800       800

100110844   012000261   PMC OUTPATIENT PHARMACY 340B           ESCONDIDO       CA   92029   PHS 340B HOSPITAL   FP4749997                               2,500    4,000     4,300    3,600    10,800

100056179   040057760   RAY DRUG CO         CPA                EATONTON        GA   31024     INDEPENDENT       FP4759607                               1,000     700       400      700      2,100

100110770   052225128   PHARMERICA - RX ADVANTAGE               DAPHNE         AL   36526   LONG TERM CARE      FP4770512                     19,000   45,100   57,020    55,940   44,265   177,060

100110826   046000231   SUNCOAST BEHAV HLTH CENTER             BRADENTON       FL   34210       HOSPITAL        FP4787050                       200      100                         150       300

100110685   021176875   PHARMAX PHARMACY #1117                  IMPERIAL       MO   63052     INDEPENDENT       FP4798786                               1,700    1,200     1,500    1,467     4,400

100110543   055045443   PAWLEY'S ISLAND PHCY LFLD CPA        PAWLEYS ISLAND    SC   29585     INDEPENDENT       FP4806355                               2,500               500     1,500     3,000

100110829   023000238   PITMAN PHARMACY (NEW) CPA                PITMAN        NJ   08071     INDEPENDENT       FP4837398                                        1,600     2,100    1,850     3,700

100110637   038111211   PAGOSA SPECIALTY PHARMACY CPA        PAGOSA SPRINGS    CO   81147     INDEPENDENT       FP4854534                               3,000    7,000     2,500    4,167    12,500

100101396   021172106   *QUICKMEDS PHARMACY WAC 2                JOPLIN        MO   64804   PHS 340B HOSPITAL   FQ0015277    1,500   64,300                                        32,900    65,800
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100058556   021028498   QUICKMEDS PHARMACY                    JOPLIN         MO   64804     INDEPENDENT       FQ0015277   15,100    (44,900)   17,100   14,800    22,000    14,500    6,433    38,600

100075534   018169193   QVL PHARMACY 145                      PLANO          TX   75093     INDEPENDENT       FQ0154891   19,400    13,900                                           16,650    33,300

100077149   012080853   QUEENS PHARMACY                    APPLE VALLEY      CA   92307     INDEPENDENT       FQ0589652   24,000    27,800     30,100   25,800    23,900    18,900   25,083   150,500

100072026   008077867   PALO ALTO MED FOUND-CAMINO         SANTA CLARA       CA   95051       HOSPITAL        FQ0684642                                   200       360       200      253       760

100092872   044211813   QUADRANGLE PHARMACY, LLC            SAINT LOUIS      MO   63105       HOSPITAL        FQ1350355                100                100       100                100       300

100109620   037135822   QUEEN PHARMACY                        MISSION        TX   78574     INDEPENDENT       FQ1861586     200        900      1,100     700                          725      2,900

100084525   038097204   QUALMED PHARMACY,INC                ENGLEWOOD        CO   80112   LONG TERM CARE      FQ2158637    2,000     4,000      5,500    5,800     4,900     3,900    4,350    26,100

100085541   055025411   QUAIL CORNERS PHARMACY               RALEIGH         NC   27609     INDEPENDENT       FQ2436221     600      2,500      1,000    2,300      900       800     1,350     8,100

100087066   049185025   REMINDADOSE PHARMACY                  MASON          MI   48854   LONG TERM CARE      FQ2550160     500      1,000       500     1,100      400       500      667      4,000

100109946   019187302   *QUIK SCRIPTS       CPA               LANSING        IL   60438     INDEPENDENT       FQ2746165    4,100     4,200      7,100    3,400                        4,700    18,800

100106621   012070318   QUALITY SPECIALTY PHARMACY            LOMITA         CA   90717     INDEPENDENT       FQ2821002    1,000                          100                          550      1,100

100087518   004087932   QUINCY MEDICAL CNTR (STEWARD)         QUINCY         MA   02169       HOSPITAL        FQ2876146     200        300       200      600                          325      1,300

100088803   046040733   QUALITY SPEC PHCY OF JACKSONVL     JACKSONVILLE      FL   32217     INDEPENDENT       FQ2941640     700                           100       (100)              233       700

100088952   018203935   QUALITY CARE PHCY COMPOUND CPA         ENNIS         TX   75119     INDEPENDENT       FQ3051137    2,300     2,100     11,300               680      7,500    4,776    23,880

100109700   018405209   QVL PHARMACY #181                     AUSTIN         TX   78745     INDEPENDENT       FQ4405038   11,000    17,800     17,900    9,100     1,500             11,460    57,300

100109524   004103499   QC DRUG/NEW LONDON        SF        NEW LONDON       CT   06320     INDEPENDENT       FQ4413338                                   500                          500       500

100107784   023153718   QUEEN PHARMACY          CPA         LANCASTER        PA   17602     INDEPENDENT       FQ4455095    4,800     4,600      9,500    1,400     4,500     3,000    4,633    27,800

100109702   018405217   QVL PHARMACY #162                   CEDAR PARK       TX   78613     INDEPENDENT       FQ4629133    6,200     4,400      4,000                                 4,867    14,600

100053305   010050914   REGENCY HOSPITAL OF AKRON, INC      BARBERTON        OH   44203       HOSPITAL        FR0003551     (100)      500       200      300       580                296      1,480

100059129   052160267   REGENCY HOSP OF SOUTHERN MS        HATTIESBURG       MS   39401       HOSPITAL        FR0007458     300        600       450      500       800       400      508      3,050

100072536   010123836   WHITE HOUSE CLIN RICHMOND 340B       RICHMOND        KY   40475    PHS 340B CLINIC    FR0083004    2,200     1,400      9,200     900       900      2,200    2,800    16,800

100071834   010123737   WHITEHOUSE CLINIC - RICHMOND         RICHMOND        KY   40475     INDEPENDENT       FR0083004    1,800     1,400      6,300   (2,700)     200      2,000    1,500     9,000

100075208   038079699   RICKER PHCY         SF               WORLAND         WY   82401     INDEPENDENT       FR0144155   11,800    12,600     10,500   13,100    11,000     7,500   11,083    66,500

100072440   010110254   ROCKCASTLE PROFESSIONAL PHCY      MOUNT VERNON       KY   40456     INDEPENDENT       FR0189426    7,400     7,300      6,400    7,500    20,400    14,700   10,617    63,700

100107103   010236919   ROCKCASTLE PROFESSIONAL 340B      MOUNT VERNON       KY   40456   PHS 340B HOSPITAL   FR0189426   11,600    11,200     12,000   11,100                       11,475    45,900

100071999   010110072   REGENCY HOSP OF CEVELAND WEST    MIDDLEBURG HEIGHT   OH   44130       HOSPITAL        FR0195075     100        200       400      400       700                360      1,800

100075211   049121350   REGENCY HOSPITAL OF TOLEDO,LLC       SYLVANIA        OH   43560       HOSPITAL        FR0242280     400        450                650       420       200      424      2,120

100066242   041175943   RIVERSIDE PHARMACY(X)     CPA         GILBERT        WV   25621     INDEPENDENT       FR0261684   25,500    23,000     28,100   19,000    11,000     9,200   19,300   115,800

100076021   010117317   ROSS PARK PHARMACY WEST            STEUBENVILLE      OH   43952     INDEPENDENT       FR0274605    3,500     3,500      3,500    1,000     4,300     2,300    3,017    18,100

100061305   041105239   ROCKY MOUNT FAMILYPHCY(Z)GNP)      ROCKY MOUNT       VA   24151     INDEPENDENT       FR0283135   15,700    14,700     13,600    7,400    12,000             12,680    63,400

100073923   010119719   REGENCY HOSP CLEVELAND E RX      WARRENSVILLE HEIG   OH   44128       HOSPITAL        FR0303103     100                                     200                150       300

100073692   012121202   RIVERSIDE COUNTY RUBIDOUX PHCY       RIVERSIDE       CA   92509       ALT SITE        FR0305400    2,700     1,900      2,000    2,200     1,700      400     1,817    10,900

100074378   037113084   RX-CARE PHARMACY, LLC                PEARLAND        TX   77581     INDEPENDENT       FR0324183   16,000    19,500     17,500    9,500     9,800    12,200   14,083    84,500

100072303   020000588   ROSY'S FARMACIA LA ESPERANZA         PHOENIX         AZ   85020     INDEPENDENT       FR0381854    2,000     1,500      1,600    1,100     3,600     1,900    1,950    11,700

100072302   037112219   RUSSO'S PHCY        SF             BELLE CHASSE      LA   70037     INDEPENDENT       FR0465509    9,600    11,100     11,000   10,100    37,900     1,300   13,500    81,000

100089108   055030916   ROCKY POINT PAVILION PHCY CPA       ROCKY POINT      NC   28457     INDEPENDENT       FR0480525    6,200    11,300      7,900   16,400     1,600     7,800    8,533    51,200

100074131   012007690   RON'S PHARMACY SERVICES              SAN DIEGO       CA   92121   LONG TERM CARE      FR0487721   75,300    68,400     91,400   51,500    63,440    62,600   68,773   412,640

100074302   010121566   REGENCY HOSPITAL OF COLUMBUS        COLUMBUS         OH   43207       HOSPITAL        FR0523729     100        300                                             200       400

100081491   041112755   RPSM LLC(GENERICS)(X)              MARTINSBURG       WV   25404     INDEPENDENT       FR0712491    5,000     5,900      4,400    3,400      500        -      3,200    19,200

100070980   041112631   RPSM LLC(X)                        MARTINSBURG       WV   25404     INDEPENDENT       FR0712491                                   500      1,200     3,600    1,767     5,300

100074206   049150003   RXPERTS PHARMACY-MICHIGAN LLC        PLYMOUTH        MI   48170   LONG TERM CARE      FR0714344   33,100    34,900     39,300   25,600    27,400    18,600   29,817   178,900

100073797   049139998   ROCKWOOD PHCY            SF         ROCKWOOD         MI   48173     INDEPENDENT       FR0733419    7,000    13,000     12,000   12,700    10,000     8,500   10,533    63,200

100075645   037117762   REGENCY PHARMACY                     HOUSTON         TX   77036     INDEPENDENT       FR0960458     300                  200      100       200                200       800

100073685   037175448   RXPERTS PHARMACY - TEXAS, LLC        HOUSTON         TX   77040   LONG TERM CARE      FR0960484   24,300    29,900     28,200   28,100    17,500    19,200   24,533   147,200
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100067687   041112730   RPCB LLC(GENERICS)(X)                  CAPON BRIDGE        WV   26711    INDEPENDENT      FR1037161            10,000             1,000                       5,500     11,000

100070983   041112656   RPCB LLC(X)                            CAPON BRIDGE        WV   26711    INDEPENDENT      FR1037161    2,000             2,000                                2,000      4,000

100069434   012120188   RIVER'S EDGE PHARMACY                   PALM DESERT        CA   92211    MAIL SERVICE     FR1136426     700     2,000     400     5,100                       2,050      8,200

100069434   012120188   RIVER'S EDGE PHARMACY                   PALM DESERT        CA   92211    INDEPENDENT      FR1136426                              (3,000)     900             (1,050)    (2,100)

100110899   044000308   RESTORE RX INC                           BRUNSWICK         TN   38014    MAIL SERVICE     FR1150630                                900                200      550       1,100

100106482   044220681   ROLLING HILLS HOSPITAL LLC                FRANKLIN         TN   37067      HOSPITAL       FR1215753     700      200      300      500       200      400      383       2,300

100083261   010195214   *RAINELLE PHARMACY, INC. CPA              RAINELLE         WV   25962    INDEPENDENT      FR1246087    6,000    5,500    6,500    8,000                       6,500     26,000

100074973   040176230   ROCKDALE MEDICAL CENTER                   CONYERS          GA   30012      HOSPITAL       FR1265102    1,700    1,950    7,300              1,400    1,880    2,846     14,230

100066324   044175737   RUSSELL SPRINGS PHARMACY CPA          RUSSELL SPRINGS      KY   42642    INDEPENDENT      FR1281598   10,000   20,000    2,000    9,200     5,000   10,500    9,450     56,700

100071068   055070839   REX PHARMACY OF WAKEFIELD                 RALEIGH          NC   27614      HOSPITAL       FR1336634              100                                           100        100

100066752   021130336   ROGERS LTC PHCY         SF               ST. JOSEPH        MO   64506   LONG TERM CARE    FR1361031    3,000    3,000    2,500    5,000     6,200    4,700    4,067     24,400

100084240   018183152   SOUTH HAMPTON COMMUNITY HOSP              DALLAS           TX   75224      HOSPITAL       FR1374040     700      300      300     1,200      560               612       3,060

100088672   052177683   LATHAM DRUG                             GUNTERSVILLE       AL   35976    INDEPENDENT      FR1378581    7,000    9,000   11,000    7,000     9,000    9,500    8,750     52,500

100069152   046125377   QUALITY SPECIALTY PHARMACY                 TAMPA           FL   33617    INDEPENDENT      FR1398709     200      500     1,000               500      900      620       3,100

100071078   021130039   ROCKERS PHARMACY, INC        CPA           PAOLA           KS   66071    INDEPENDENT      FR1466297    6,000    5,500   10,500    8,500    18,000             9,700     48,500

100109861   041154716   *ROCKVILLE PHARMACY INC.                 ROCKVILLE         MD   20852    INDEPENDENT      FR1486340     500                                                    500        500

100064816   049073817   R&R PRESCRIPTION SERVICES                PETOSKEY          MI   49770    INDEPENDENT      FR1642986   10,700   10,300   10,700    9,600    11,980    7,200   10,080     60,480

100065249   049078808   R&R PRESC SERV. 340B ODAWA               PETOSKEY          MI   49770   PHS 340B CLINIC   FR1642986     700     1,800     900     1,200     1,000    1,500    1,183      7,100

100069356   024080168   ROYAL HILLS PHARMACY                     WEST HILLS        CA   91307    INDEPENDENT      FR1656719    7,300    7,700    8,700   12,700    11,700    4,700    8,800     52,800

100104553   023152157   REEF FAMILY PHARMACY LLC CPA        CAPE MAY COURT HOUSE   NJ   08210    INDEPENDENT      FR1683348    6,000    7,400    6,100    7,700     7,300    5,100    6,600     39,600

100066241   019176123   ROSELAND PHARMACY ONE         CPA         CHICAGO          IL   60628    INDEPENDENT      FR1759008    2,700   10,200    2,500    7,200     6,100   10,500    6,533     39,200

100088602   018203158   RECEPT PHARMACY #15                     FORT WORTH         TX   76123    INDEPENDENT      FR1766887   24,900   25,700   28,800   57,700    55,400   47,200   39,950    239,700

100105832   018403709   TMC REBA MCENTIRE CTR FOR REHB            DENISON          TX   75020      HOSPITAL       FR1768689    1,500    1,050     900      800      1,200     860     1,052      6,310

100075558   026124982   EXPRESS MED PHARMACY                      DEDEDO           GU   96929    INDEPENDENT      FR1786675    3,000    3,000    1,000     500                700     1,640      8,200

100086032   055026195   RIVERTOWN PHARMACY, INC       CPA         CONWAY           SC   29526    INDEPENDENT      FR1843603    7,100    6,300    4,500   10,000     9,700    7,800    7,567     45,400

100111339   012002198   RANCHO SPRINGS O/P PHCY                  MURRIETA          CA   92562    INDEPENDENT      FR1958288                                         2,100    3,500    2,800      5,600

100075875   021136010   RX SHOPPE INC                              GROVE           OK   74344    INDEPENDENT      FR1984776   11,500    9,500   14,100   14,600     4,000   11,800   10,917     65,500

100083756   026002956   RAINBOW PHARMACY LLC                       KIHEI           HI   96753    INDEPENDENT      FR2154540   12,200   10,600    9,900    8,100    11,100   14,200   11,017     66,100

100086409   026003434   SAGAN AMOT PHARMACY DBA                    AGAT            GU   96928    INDEPENDENT      FR2325593     700      800     1,000    2,000                       1,125      4,500

100104270   023152082   COVERED BRIDGE PHCY          SF         CHERRY HILL        NJ   08034    INDEPENDENT      FR2333780     600      800     1,600     700                200      780       3,900

100083828   018181396   RAY'S TOWN NORTH PHARMACY                ARLINGTON         TX   76011    INDEPENDENT      FR2387656    9,500   16,200    4,100     300     14,100             8,840     44,200

100084432   056099622   RISOLDIS PHARMACY DPT                   MERCERVILLE        NJ   08619    INDEPENDENT      FR2419592    1,800     800     1,600     700      1,300    1,100    1,217      7,300

100092002   055031575   REX SURGERY CENTER OF CARY LLC             CARY            NC   27511      HOSPITAL       FR2422068              100      100                                  100        200

100085636   056102574   RICCIO FAMILY PHARMACY                   BENSALEM          PA   19020    INDEPENDENT      FR2449292    2,000    1,500    1,000    1,000     2,000    2,000    1,583      9,500

100085668   040103648   REGENCY HOSP CO OF MACON, LLC              MACON           GA   31217      HOSPITAL       FR2457263     800      700      700     3,500      200              1,180      5,900

100089771   010223933   REED'S PHARMACY APSC                    NEW LEBANON        OH   45345    INDEPENDENT      FR2467240   17,100   13,600   14,500   14,600    20,000   15,600   15,900     95,400

100070961   008140079   REGIONAL MEDICAL CTR S.J 712/Q            SAN JOSE         CA   95116      HOSPITAL       FR2505761    3,700    3,450    4,900    4,900     5,800    3,920    4,445     26,670

100071099   012140004   RIVERSIDE COMMUNITY HOSPITAL             RIVERSIDE         CA   92501      HOSPITAL       FR2520410    6,200    6,350    6,750   11,300     3,200   11,960    7,627     45,760

100086394   010212753   ROSS DRUG     APSC                      WEST HAMLIN        WV   25571    INDEPENDENT      FR2523682   16,100   21,000   17,500   14,500    14,000   12,000   15,850     95,100

100086210   041138388   ROLLING ROAD PHARMACY                   WINDSOR MILL       MD   21244    INDEPENDENT      FR2525941     200      100      400     1,000      500               440       2,200

100086676   037121624   RX TO GO PHARMACY                       LEAGUE CITY        TX   77573    INDEPENDENT      FR2609381    8,900    8,200    9,000    2,200     3,000    2,000    5,550     33,300

100108055   008116939   RELIANCE CASTLE PHARMACY, LLC             ATWATER          CA   95301    INDEPENDENT      FR2694619   16,000   16,000   15,000   12,000                      14,750     59,000

100087473   004087965   *RELIANCE BLOOMFIELD LLC (ARX)          BLOOMFIELD         CT   06002    INDEPENDENT      FR2757372     600      500                                           550       1,100

100088252   010218537   RANIER'S RX LABORATORY                   JEANNETTE         PA   15644    INDEPENDENT      FR2860131    8,900   12,800   16,200    8,000    13,000   17,300   12,700     76,200
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100087047   012077412   ROSE PHARMACY                           SANTA ANA       CA   92701     INDEPENDENT       FR2861044   19,900   33,600   33,000   28,900   24,200   26,100   27,617   165,700

100093168   004091025   RIGHT CARE PHARMACY INC                 BRIDGEPORT      CT   06606     INDEPENDENT       FR2901064                                         500               500       500

100088140   010218180   TOTAL CARE PHARMACY #7 APSC             MOREHEAD        KY   40351     INDEPENDENT       FR2910520    5,500    6,100    5,400    5,600    6,100    7,000    5,950    35,700

100089256   010223784   TOTAL CARE PHARMACY #7 340B             MOREHEAD        KY   40351   PHS 340B HOSPITAL   FR2910520    3,400    3,800    3,800    3,400    3,500    3,000    3,483    20,900

100088995   046040915   ROCKLEDGE DISCOUNT PHARMACY             ROCKLEDGE       FL   32955     INDEPENDENT       FR2968886    2,100    4,200    7,600    4,300             1,700    3,980    19,900

100091948   023136416   REVIVAL PHARMACY LLC                     BROOKLYN       NY   11203     INDEPENDENT       FR2977746     200                                                   200       200

100088591   019154153   RIVERVIEW HOSPITAL RETAIL               NOBLESVILLE     IN   46060       HOSPITAL        FR2979221    9,500    8,300    6,900    6,400   10,000    8,800    8,317    49,900

100090137   019157099   RXPERTS PHARMACY-CHICAGO, LLC         MORTON GROVE      IL   60053   LONG TERM CARE      FR3077004    3,500    3,400    4,900    3,600    6,500    4,100    4,333    26,000

100092275   021099267   ALBERS SPECIALTY PHCY                   KANSAS CITY     MO   64111     INDEPENDENT       FR3078183    2,300     500      500     2,000     500     1,700    1,250     7,500

100092036   046042788   RX EXPRESS PHCY OF MILTON, INC            MILTON        FL   32570     INDEPENDENT       FR3080190   35,640   40,000   27,600   21,260   34,700   34,380   32,263   193,580

100089910   041144121   REFUA PHCY AND MEDICAL SUPPLY           BALTIMORE       MD   21215     INDEPENDENT       FR3142988                                100      200     1,200     500      1,500

100093076   044211912   RADCLIFF PHARMACY LLC APSC               RADCLIFF       KY   40160     INDEPENDENT       FR3572612    8,900   14,000    5,000    6,500    7,500   12,000    8,983    53,900

100106705   023153262   ROBINSON DRUG SHOP GPO CPA               MENDHAM        NJ   07945     INDEPENDENT       FR3584059                       200                                 200       200

100093032   041144998   REED'S PHARMACY # 6 (GENERICS)          BERRYVILLE      VA   22611     INDEPENDENT       FR3598298     700     3,000    2,900     800     1,000      -      1,400     8,400

100093031   041144980   REED'S PHARMACY # 6                     BERRYVILLE      VA   22611     INDEPENDENT       FR3598298              100     1,000             3,500    2,700    1,825     7,300

100092270   024119107   RELIANCE FB RX LLC                     MISSION HILLS    CA   91345     INDEPENDENT       FR3616046    6,600    8,500    7,500    7,000    6,500    3,500    6,600    39,600

100105705   032152181   RINEHART PHCY          SF                WHEELER        OR   97147     INDEPENDENT       FR3623320    8,500    7,100    8,000    8,500    9,500    7,500    8,183    49,100

100088853   017092569   RIVERS EDGE PHARMACY                   STEVENSVILLE     MT   59870     INDEPENDENT       FR3699898    8,600    9,100    8,100    9,000    7,400    8,300    8,417    50,500

100110151   017098616   RIDGEWAY PHARMACY 340B                 STEVENSVILLE     MT   59870    PHS 340B CLINIC    FR3699898             1,000     100      900                        667      2,000

100071296   037140210   BAYSHORE 24H EMERGENCY CARE              PASADENA       TX   77505       HOSPITAL        FR3767297     100               100      100      100               100       400

100104016   004101576   REDI PHARMACY                             NANUET        NY   10954     INDEPENDENT       FR3811999     100                                          500      300       600

100104881   049194860   ROSEVILLE PHCY         SF                ROSEVILLE      MI   48066     INDEPENDENT       FR3824352    3,000    6,500    5,000    1,500    4,000    4,000    4,000    24,000

100104732   046057711   RX EXPRESS PHCY OF PANAMA CITY          PANAMA CITY     FL   32401     INDEPENDENT       FR4177108    2,700    1,400    1,400    5,000   22,500   19,800    8,800    52,800

100106091   010236547   RAVENSWOOD PHARMACY LLC         CPA    RAVENSWOOD       WV   26164     INDEPENDENT       FR4192097    2,160    4,600    2,560   12,800    1,060    1,540    4,120    24,720

100107176   012016287   FARMACIA DEL PUEBLO                      BRAWLEY        CA   92227     INDEPENDENT       FR4229907     800     1,400    1,600     800     1,400    2,300    1,383     8,300

100053809   010053439   ROBINSON MEMORIAL HOSPITAL HOS           RAVENNA        OH   44266       HOSPITAL        FR4289319     200      100               500                        267       800

100107916   037134890   ROGERS PHARMACY #5                       VICTORIA       TX   77904     INDEPENDENT       FR4305911    1,000    3,180    4,200    3,800    1,500    3,500    2,863    17,180

100108023   010237362   RICHWOOD PHARMACY CPA                   RICHWOOD        OH   43344     INDEPENDENT       FR4322587    2,800    5,200    3,300    8,400    1,700    3,400    4,133    24,800

100067001   055143545   R & J DRUGS(X)        CPA                 NORTH         SC   29112     INDEPENDENT       FR4323161    3,100    8,900    8,500    4,700     100     3,300    4,767    28,600

100109644   012113563   RCRMC ARLINGTON MNTL HLTH WAC            RIVERSIDE      CA   92503    PHS 340B CLINIC    FR4361022    1,000     200      100      300      600      200      400      2,400

100110137   012113738   RCRMC 340B                               RIVERSIDE      CA   92503    PHS 340B CLINIC    FR4361022                       400      300                        350       700

100107418   012112680   RCRMC ARLINGTON PHCY 340B                RIVERSIDE      CA   92503    PHS 340B CLINIC    FR4361022                                500                        500       500

100110136   012113720   RCRMC ARLINGTON 340B                     RIVERSIDE      CA   92503    PHS 340B CLINIC    FR4361022                       200                                 200       200

100107999   018404541   RED'S PHARMACY CPA                       PERRYTON       TX   79070     INDEPENDENT       FR4418326   14,000    9,500    8,800   11,000    5,000   11,000    9,883    59,300

100109138   018404855   ROCK SPRINGS, LLC ( IPS )              GEORGETOWN       TX   78626   LONG TERM CARE      FR4454752     250      400      150     1,100     500       -       400      2,400

100110018   038110957   SAGE WEST HLTH CARE PHCY #712             LANDER        WY   82520       HOSPITAL        FR4502767    1,000     700      800     1,200    1,100     600      900      5,400

100110041   037135921   RESOLUTE HEALTH                       NEW BRAUNFELS     TX   78130       HOSPITAL        FR4512314    1,500     200      850      150     1,000     200      650      3,900

100109699   037135871   ROCK PRAIRIE BEHAV HLTH (IPS)         COLLEGE STATION   TX   77845   LONG TERM CARE      FR4579388     150      450      900     1,000     500      200      533      3,200

100109832   018405332   ROBINSON FAMILY PHCY, LLC CPA            ATLANTA        TX   75551     INDEPENDENT       FR4585444    3,300    1,000    1,500     700     4,900    4,700    2,683    16,100

100110529   010238642   ROSS DRUG OF CEREDO APSC                  CEREDO        WV   25507     INDEPENDENT       FR4603901                               2,000                      2,000     2,000

100111245   004002085   ROGER WILLIAMS MEDICAL CENTER           PROVIDENCE      RI   02908       HOSPITAL        FR4639829                                         300      800      550      1,100

100111217   052002053   RX EXP PHCY OF TILLMN CRNR INC            MOBILE        AL   36619     INDEPENDENT       FR4842224                                                 6,500    6,500     6,500

100093369   010226993   SAM'S PHARMACY #10-4936                 GRANVILLE       WV   26534        CHAIN          FS0003056     500     1,300    1,900   22,500             1,000    5,440    27,200

100085406   038098806   UROLOGY SURGERY CTR OF COLRADO            DENVER        CO   80211       HOSPITAL        FS0010621                                100                        100       100
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100093597   012108373   SAM'S PHARMACY #6615                 FOUNTAIN VALLEY    CA   92708          CHAIN           FS0011356              100               4,200     3,600    1,400     2,325    9,300

100093603   008110650   SAM'S PHARMACY 10-6623                 SACRAMENTO       CA   95821          CHAIN           FS0011368                                                   1,000     1,000    1,000

100093338   040114918   SAM'S PHARMACY 10-4820                   POOLER         GA   31322          CHAIN           FS0013831                               14,200               500      7,350   14,700

100093400   037130831   SAM'S PHARMACY 10-6202                    LUFKIN        TX   75904          CHAIN           FS0017120      20                         500               2,000      840     2,520

100059754   018075671   ST JOHN OWASSO                           OWASSO         OK   74055         HOSPITAL         FS0018843     300      800      900       600       800      480       647     3,880

100093375   010227009   SAM'S PHARMACY 10-4947                  ZANESVILLE      OH   43701          CHAIN           FS0018867               30               2,060               230       773     2,320

100093652   017096040   SAM'S PHARMACY 10-6686                SALT LAKE CITY    UT   84115          CHAIN           FS0024834    2,100    2,600    2,700     6,800      100     2,600     2,817   16,900

100076305   023095620   *STEPHENS PHCY- HAWLEY(X)(GNP)           HAWLEY         PA   18428       INDEPENDENT        FS0048163    2,000    1,100     800      4,700     1,800              2,080   10,400

100093571   019161851   SAM'S CLUB PHARMACY #10-6535             WAUSAU         WI   54401          CHAIN           FS0048315             1,000    4,800     5,800               900      3,125   12,500

100089892   018236679   SOLARA HOSPITAL OF MUSKOGEE             MUSKOGEE        OK   74403         HOSPITAL         FS0055928     800      900     1,200      300       720      740       777     4,660

100107175   024019851   SUPERIOR PHARMACY INC                NORTH HOLLYWOOD    CA   91606       INDEPENDENT        FS0068836    2,400    3,800    2,300     2,200     1,000    1,800     2,250   13,500

100057078   024121988   SMITH PHARMACY INC                     LOS ANGELES      CA   90029       INDEPENDENT        FS0068850                       200       200                          200      400

100093374   055032425   SAM'S PHARMACY 10-4946                 ROCKY MOUNT      NC   27804          CHAIN           FS0071566     200      700     1,500     4,700     2,400    2,300     1,967   11,800

100093364   018396911   SAM'S PHARMACY 10-4906                  MCKINNEY        TX   75069          CHAIN           FS0076427                                1,000      400     3,900     1,767    5,300

100064356   046132076   MEM REG HOSP SOUTH PREMIER             HOLLYWOOD        FL   33021         HOSPITAL         FS0077114     400      400                400       400      600       440     2,200

100060759   046131763   MEMORIAL REG HOSP SOUTH PHS            HOLLYWOOD        FL   33021     PHS 340B HOSPITAL    FS0077114              100                                             100      100

100088857   021166793   SERGEANT BLUFF PHARMACY        CPA   SERGEANT BLUFF     IA   51054       INDEPENDENT        FS0087278    4,000    1,000    4,500      500      5,500     500      2,667   16,000

100093387   019162107   SAM'S PHARMACY 10-4973                   DUBUQUE        IA   52002          CHAIN           FS0090528              100      300                 400      400       300     1,200

100093686   023137059   SAM'S PHARMACY 10-8144                PLEASANTVILLE     NJ   08232          CHAIN           FS0106864              100      300       600       100     1,200      460     2,300

100093742   040114827   SAM'S PHARMACY 10-8213                  COLUMBUS        GA   31909          CHAIN           FS0113629     700     1,100              3,000              1,000     1,450    5,800

100093692   046043356   SAM'S PHARMACY 10-8150                 PORT ST.LUCIE    FL   34952          CHAIN           FS0125927     600      330      300       800               1,200      646     3,230

100093380   018396937   SAM'S PHARMACY 10-4958                 SAN MARCOS       TX   78666          CHAIN           FS0127147                                2,700     1,700    3,400     2,600    7,800

100069342   017140160   ST MARKS OP SURGERY CENT #712         SALT LAKE CITY    UT   84124         HOSPITAL         FS0141503               50       50                                     50      100

100067584   008085357   SAFESAVE PHARMACY                       YUBA CITY       CA   95991       INDEPENDENT        FS0147050    3,800    6,000    4,600     4,200    31,300   17,800    11,283   67,700

100061322   044077214   SMITHLAND PHARMACY, INC APSC            SMITHLAND       KY   42081       INDEPENDENT        FS0149686   13,800   25,000   10,200    16,700    23,500    6,000    15,867   95,200

100093390   049189597   SAM'S PHARMACY 10-4982                 MT PLEASANT      MI   48858          CHAIN           FS0154384     200      800                500       200      500       440     2,200

100061308   056061002   SYNERGY PHARMACY SERVICES(Z)           NORRISTOWN       PA   19403     LONG TERM CARE       FS0186076     200               100       (100)     700                225      900

100064350   056100321   *SHOPRITE PHARMACY #540                  MEDFORD        NJ   08055          CHAIN           FS0193588              300                                             300      300

100068245   046143032   SMART PHARMACY INC       CPA           JACKSONVILLE     FL   32250       INDEPENDENT        FS0195417   10,400   11,300   11,500    12,500    11,600   10,800    11,350   68,100

100090748   044210500   SSM INFUSION SERVICES, LLC           MARYLAND HEIGHTS   MO   63146   HOME HEALTH SERVICES   FS0195885    1,500     200      (200)                                  500     1,500

100110285   052225052   SOUTHERN PHARMACEUTICAL LTC            BIRMINGHAM       AL   35210     LONG TERM CARE       FS0201640             5,000    4,800     1,800     4,000    4,300     3,980   19,900

100093373   055032383   SAM'S PHARMACY 10-4945                  LUMBERTON       NC   28360          CHAIN           FS0216829                                2,500               300      1,400    2,800

100110072   037135939   ST CLAUDE PHARMACY        SF           NEW ORLEANS      LA   70117       INDEPENDENT        FS0225551    3,000    6,500    6,000     3,500     5,700    6,500     5,200   31,200

100093321   046043463   SAM'S PHARMACY 10-4794                  LAKELAND        FL   33803          CHAIN           FS0255605                       100      4,300             (2,000)     800     2,400

100093750   052214981   SAM'S PHARMACY 10-8222                 JOHNSON CITY     TN   37604          CHAIN           FS0255617              200      100       800      1,500     600       640     3,200

100072724   046033324   SELECT SPECIALTY HOSPITAL                ORLANDO        FL   32809         HOSPITAL         FS0277384     200      100      100       100       100      200       133      800

100093394   052215087   SAM'S PHARMACY 10-4990                   DAPHNE         AL   36526          CHAIN           FS0285569     200      100      100      4,700               700      1,160    5,800

100089898   037129007   SOLARA HOSPITAL OF BROWNSVILLE         BROWNSVILLE      TX   78520         HOSPITAL         FS0315881     200      100      500      1,100      700                520     2,600

100073846   046034223   SELECT SPECIALTY HOSPITAL              TALLAHASSEE      FL   32308         HOSPITAL         FS0323042     200      100      500                 600      100       300     1,500

100069732   021102111   SILVER CREEK PHCY & GIFTS CPA            LA CYGNE       KS   66040       INDEPENDENT        FS0343551    3,500    7,200    7,100     9,300      500     2,000     4,933   29,600

100093348   019162073   SAM'S PHARMACY 10-4840                  JANESVILLE      WI   53546          CHAIN           FS0349630             1,100     500      1,300      800      300       800     4,000

100110287   021176628   MERCY REHAB HOSP ST. LOUIS             CHESTERFIELD     MO   63017         HOSPITAL         FS0370647                       500      1,000     1,360     300       790     3,160

100093406   055032516   SAM'S PHARMACY 10-6216                 WINTERVILLE      NC   28590          CHAIN           FS0382945     100      100      200      9,300                        2,425    9,700

100069304   056100909   *SHOPRITE PHARMACY #505                  MILLVILLE      NJ   08332          CHAIN           FS0390702                       300       100                          200      400
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100069795   049128405   SHEBA DISCOUNT PHARMACY            DEARBORN       MI   48120     INDEPENDENT       FS0409246   14,500    25,000   29,000    21,500   31,000    9,500   21,750    130,500

100071928   032000919   SYNERGY RX                          EUGENE        OR   97401     INDEPENDENT       FS0420529    7,000     6,500    6,500     4,100    6,900    5,000    6,000     36,000

100051267   008035329   ST LUKES HOSPITAL & PHARMACY/S   SAN FRANCISCO    CA   94110       HOSPITAL        FS0422369    1,200     1,100    1,100      300      100       80      647       3,880

100101135   008112169   ST LUKES HOSPITAL WAC            SAN FRANCISCO    CA   94110   PHS 340B HOSPITAL   FS0422369               200      100       950     1,000     400      530       2,650

100058501   008017889   ST LUKES HOSPITAL 340B     /S    SAN FRANCISCO    CA   94110   PHS 340B HOSPITAL   FS0422369                        100       200                        150        300

100093809   019162057   SAM'S PHARMACY 10-8298               JOLIET       IL   60436        CHAIN          FS0443591               400     2,200     4,800              900     2,075      8,300

100089899   037129015   CHG CORNERSTONE - CONROE            CONROE        TX   77304       HOSPITAL        FS0458061     800       600      800       700     1,080     960      823       4,940

100090280   010224782   ST JOSEPH HEALTH CTR/SURG CTR       WARREN        OH   44484       HOSPITAL        FS0458718                50       50                                   50        100

100073672   004101105   *SHOPRITE PHARMACY #211           MIDDLETOWN      NY   10940        CHAIN          FS0461474               100      100       100                        100        300

100093565   041145144   SAM'S PHARMACY 10-6518              BRISTOL       VA   24202        CHAIN          FS0486503              1,000              8,200             3,100    4,100     12,300

100088490   046040527   SUPER DISCOUNT PHARMACY            PLANT CITY     FL   33563     INDEPENDENT       FS0487985    3,600     2,500    2,500     2,500    3,800    2,200    2,850     17,100

100085306   052166207   SCOTT REGIONAL MED CENTER, INC      MORTON        MS   39117       HOSPITAL        FS0489042     100       100      200       200               100      140        700

100085382   052166330   SCOTT REG'NL MED CTR INC 340B       MORTON        MS   39117   PHS 340B HOSPITAL   FS0489042                                  100                        100        100

100072909   032000927   SEA MAR COMMUNITY HEALTH 340B       OLYMPIA       WA   98502    PHS 340B CLINIC    FS0506761    9,500     9,000   12,000     9,500   10,000    9,500    9,917     59,500

100093643   010226845   SAM'S PHARMACY 10-6675                ERIE        PA   16509        CHAIN          FS0506913               300               1,400     500      700      725       2,900

100073965   018094110   SUPER DRUG MART #5                SAN ANTONIO     TX   78263     INDEPENDENT       FS0521864    6,200     9,200    6,200     6,400    3,400    5,160    6,093     36,560

100073229   056101022   *SHOPRITE PHCY OF GALLOWAY#600     GALLOWAY       NJ   08205        CHAIN          FS0526206     200                100       100                        133        400

100093342   020159350   SAM'S CLUB PHARMACY 10-4829         GILBERT       AZ   85295        CHAIN          FS0527777     100                (400)                       900      200        600

100073234   056101071   *SHOPRITE PHARMACY #507          LAUREL SPRINGS   NJ   08021        CHAIN          FS0529555     (100)                                                   (100)      (100)

100073230   056101030   *SHOPRITE PHARMACY #508           SICKLERVILLE    NJ   08081        CHAIN          FS0529567     200       300      100       100                        175        700

100085915   023104075   SOUTHWOOD PHARMACY (ARX)           OLD BRIDGE     NJ   08857     INDEPENDENT       FS0529670    1,000     1,200    1,300      800      300      300      817       4,900

100100569   020159913   SCOTTSDALE HC THOMPSON PEAK       SCOTTSDALE      AZ   85255       HOSPITAL        FS0531524    1,300     1,200    1,200     1,600     800     1,300    1,233      7,400

100072204   046033985   SELECT SPECIALTY HOSPITAL         GAINESVILLE     FL   32608       HOSPITAL        FS0537829     100                400       200      100      100      180        900

100073231   056101048   *SHOPRITE PHARMACY #546           MULLICA HILL    NJ   08062        CHAIN          FS0553695               100                                           100        100

100093509   004091249   SAM'S PHARMACY 10-6406           NIAGARA FALLS    NY   14304        CHAIN          FS0563470    2,900     4,800    1,100     1,600              900     2,260     11,300

100074542   056070227   SAVEMART PHARMACY(X)(GNP)          LANCASTER      PA   17601     INDEPENDENT       FS0567163    2,600     2,200    3,800     2,700    2,200    4,200    2,950     17,700

100087262   046038489   SIMFAROSE PHARMACY - RETAIL      PEMBROKE PINES   FL   33024     INDEPENDENT       FS0588004    1,200     2,000              2,800     500              1,625      6,500

100086854   046038307   SIMFAROSE PHARMACY               PEMBROKE PINES   FL   33024     INDEPENDENT       FS0588004                                                   1,500    1,500      1,500

100093458   023137166   SAM'S PHARMACY 10-6332            PHILADELPHIA    PA   19154        CHAIN          FS0597584               400      500      2,300     300      600      820       4,100

100070592   018140442   METHODIST BOERNE EMERGENCY          BOERNE        TX   78006       HOSPITAL        FS0610293               100      100       300      160               165        660

100069480   025030783   BRAINERD LAKES SURGERY CENTER       BAXTER        MN   56425       HOSPITAL        FS0616601                        100                         100      100        200

100076788   046012930   SANDLAKE PHARMACY                   ORLANDO       FL   32819     INDEPENDENT       FS0617893    2,700     3,000    2,000     2,500    3,800    2,500    2,750     16,500

100073892   023107045   SLATE BELT PHARMACY(GNP) CPA        BANGOR        PA   18013     INDEPENDENT       FS0627882    2,700     2,200    2,500     2,100    2,100     900     2,083     12,500

100076596   046175018   SELECT SPECIALTY HSP-PENSACOLA     PENSACOLA      FL   32504       HOSPITAL        FS0635675     700       900      700      1,400     400     1,300     900       5,400

100076866   046013474   SELECT SPECLTY HOSP PALM BEACH    LAKE WORTH      FL   33461       HOSPITAL        FS0635699               100      100       100                        100        300

100093393   052215079   SAM'S PHARMACY 10-4989              AUBURN        AL   36830        CHAIN          FS0637871                        100      4,400              400     1,633      4,900

100069406   021101501   SURGERY CTR AT LIBERTY HOSP         LIBERTY       MO   64068       HOSPITAL        FS0638138     100                100       100               100      100        400

100072096   056175000   *SHOPRITE PHCY DEPT #566            TRENTON       NJ   08690        CHAIN          FS0638239                                   40                         40         40

100093386   046043539   SAMS PHARMACY 10-4972            PORT ST. LUCIE   FL   34953        CHAIN          FS0644282                                  100               300      200        400

100073276   020180497   SOUTHWESTERN MEDICAL PHMCY         CARLSBAD       NM   88220     INDEPENDENT       FS0652897   25,600    24,500   26,400    33,700   16,700   20,100   24,500    147,000

100093388   020159426   SAM'S PHARMACY 10-4974            N. LAS VEGAS    NV   89030        CHAIN          FS0653990                                 2,200             3,900    3,050      6,100

100070378   018143842   S & J ARGYLE PHARMACY      CPA      ARGYLE        TX   76226     INDEPENDENT       FS0657138    2,800     4,100    2,600     3,600     500     2,500    2,683     16,100

100069372   021175091   SELECT SPECIALTY HOSP SPRINGFD    SPRINGFIELD     MO   65804       HOSPITAL        FS0657140     600       400      800       600      700      480      597       3,580

100069940   021150151   SURGICENTER OF KANSAS CITY#712    KANSAS CITY     MO   64132       HOSPITAL        FS0658344     100       100                100      320               155        620
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100076246   055150854   STATESVILLE FAM MED PHCY(X)             STATESVILLE      NC   28677    PHS 340B CLINIC    FS0659396    2,500    2,000    2,400    2,500    3,000              2,480    12,400

100076241   010175109   SELECT SPECIALTY HOSP WARREN              WARREN         OH   44484       HOSPITAL        FS0662850     200      200                        200      300       225       900

100093384   023137158   SAM'S PHARMACY 10-4967                    LINDEN         NJ   07036        CHAIN          FS0668484                                100      100                100       200

100090754   044210567   SSM ST JOSEPH HLTH CTR WENTZ            WENTZVILLE       MO   63385       HOSPITAL        FS0699085     100      200      100      100               100       120       600

100091083   044210849   SSM ST JOSEPH HLTH CTR WEN WAC          WENTZVILLE       MO   63385       HOSPITAL        FS0699085                       100      100                         100       200

100090753   044210559   SSM ST JOSEPH HLTH CTR WEN340B          WENTZVILLE       MO   63385   PHS 340B HOSPITAL   FS0699085                                100                         100       100

100073905   012117960   IRVINE MEDICAL CENTER PHARMACY            IRVINE         CA   92618     INDEPENDENT       FS0706260    4,000    1,000    4,000    4,000                       3,250    13,000

100089504   008108498   SEQUOIA HOSPITAL                       REDWOOD CITY      CA   94062       HOSPITAL        FS0710194    1,000    1,200     400     1,000    1,600     700       983      5,900

100093397   041145292   SAM'S PHARMACY 10-4996                   DANVILLE        VA   24541        CHAIN          FS0713289     100      970     5,700    4,000    2,500    2,300     2,595    15,570

100093391   020159442   SAM'S CLUB PHARMACY 10-4983              LAS VEGAS       NV   89113        CHAIN          FS0728610                       100     1,500    1,000    3,000     1,400     5,600

100073287   049130351   SEAWAY PHCY         SF                    TAYLOR         MI   48180     INDEPENDENT       FS0745123   25,800   21,000   26,500   23,200   34,200   17,600    24,717   148,300

100068288   046134445   SURGICAL SPECIALISTS ASC,LLC         FORT WALTON BEACH   FL   32547       HOSPITAL        FS0771661                                         200      (100)      50       100

100093617   040114744   SAM'S CLUB PHARMACY 10-6644              OAKWOOD         GA   30566        CHAIN          FS0786307                               6,800     400     2,000     3,067     9,200

100073592   056071035   SOURCE ONE PHARMACY SVS LLC(Z)         WEST CHESTER      PA   19380   LONG TERM CARE      FS0786953    1,400     600      700      500               400       720      3,600

100067352   025143024   SOMERSET DRUG LLC         CPA            SOMERSET        WI   54025     INDEPENDENT       FS0788438    4,100    2,100   16,100    3,000     500               5,160    25,800

100069388   056175232   *SHOPRITE PHCY OF WARETOWN 665          WARETOWN         NJ   08758        CHAIN          FS0793530     200      200      100                                  167       500

100093721   004091140   SAM'S PHARMACY # 10-8186               SCARBOROUGH       ME   04074        CHAIN          FS0836013     100      300      500     2,100              600       720      3,600

100074417   041111971   SENTARA BELLE HARBOUR                    SUFFOLK         VA   23435       HOSPITAL        FS0838916     200      100                        400      400       275      1,100

100074496   037118182   BAO CHAU PHARMACY                        HOUSTON         TX   77067     INDEPENDENT       FS0839300    4,000    3,500   15,500     600                        5,900    23,600

100073416   056175281   *SHOPRITE PHCY OF PARKSIDE 419         PHILADELPHIA      PA   19131        CHAIN          FS0841420                       100                                  100       100

100063691   049053207   SELECT SPCLTY HS/DOWNRIVER LLC          WYANDOTTE        MI   48192       HOSPITAL        FS0849882     500      600     1,300    1,200    1,300    1,000      983      5,900

100073204   021101832   SENIOR RX CARE OF KANSAS LLC.             TOPEKA         KS   66603   LONG TERM CARE      FS0859895   26,000   31,000   31,500   20,500   30,400   23,000    27,067   162,400

100073286   021175216   SELECT SPECIALTY HOSP-OMAHA IN            OMAHA          NE   68124       HOSPITAL        FS0900692     800      800     1,200    1,300     760      500       893      5,360

100073935   023179093   SHREE BHAVINI PHCY INC     SF            PATERSON        NJ   07514     INDEPENDENT       FS0953302     200      700               500     1,400    1,600      880      4,400

100093389   020159434   SAM'S CLUB PHARMACY 10-4977           PRESCOTT VALLEY    AZ   86314        CHAIN          FS0955534     100                       3,500     400     1,200     1,300     5,200

100071229   004143099   WILLIMANTIC PHARMACY CPA                WILLIMANTIC      CT   06226     INDEPENDENT       FS0961234    2,200    3,400    2,300    3,500    2,900    1,800     2,683    16,100

100073121   038000885   ST FRANCIS MEDICAL CENTER PHCY       COLORADO SPRINGS    CO   80923       HOSPITAL        FS0963923    1,100    2,000    1,000    2,800      80      280      1,210     7,260

100069726   021102103   STARK EDLER APOTHECARY          SF    OVERLAND PARK      KS   66215     INDEPENDENT       FS1004679                                         200      900       550      1,100

100067346   019143438   SALAM PHARMACY           CPA             CHICAGO         IL   60652     INDEPENDENT       FS1026081    1,500    2,200    1,500    1,100                       1,575     6,300

100093638   023137026   SAM'S CLUB PHARMACY 10-6670              DEPTFORD        NJ   08096        CHAIN          FS1053672    1,300                      3,800              200      1,767     5,300

100070377   018143834   S & J ALVORD PHARMACY      CPA            ALVORD         TX   76225     INDEPENDENT       FS1065831    6,600    5,500    6,100    4,500             2,500     5,040    25,200

100093320   021168724   SAM'S PHARMACY 10-4791                  GARDEN CITY      KS   67846        CHAIN          FS1097117                                100               400       250       500

100093399   019162115   SAM'S PHARMACY 10-4999                    QUINCY         IL   62305        CHAIN          FS1110395     100      300              2,100             2,600     1,275     5,100

100093566   046043257   SAM'S PHARMACY 10-6520                  VERO BEACH       FL   32966        CHAIN          FS1111563                               3,000                       3,000     3,000

100091335   044210948   ST. LUKES REHAB HOSPITAL               CHESTERFIELD      MO   63017       HOSPITAL        FS1111880     500      300      400      400      460      400       410      2,460

100097640   044216580   WALGREENS #15738         DSD             CORINTH         MS   38834     WALGREENS         FS1112159    8,600    7,700    8,700    8,700   10,900    5,500     8,350    50,100

100091056   055031385   NOVANT HEALTH PHCY (SL) (WAC)         WINSTON SALEM      NC   27103     INDEPENDENT       FS1115509    2,000    1,200     500     4,600   14,600    9,700     5,433    32,600

100069787   055070425   NOVANT HEALTH PHCY (SL) (340B)        WINSTON SALEM      NC   27103   PHS 340B HOSPITAL   FS1115509    3,100    1,700    2,500    4,300    6,000    6,600     4,033    24,200

100093317   041145276   SAM'S CLUB PHARMACY #10-4788             RICHMOND        VA   23231        CHAIN          FS1116979      30       90      500     5,000              300      1,184     5,920

100073620   023175299   SELECT SPECIALTY HOSP-CENT PA           HARRISBURG       PA   17101       HOSPITAL        FS1118733     100      100      300      400      160      400       243      1,460

100093557   019161844   SAM'S PHARMACY 10-6489                 CALUMET CITY      IL   60409        CHAIN          FS1119785               30     1,030    1,260              800       780      3,120

100093301   038106195   SAM'S PHARMACY 10-4770                    EVANS          CO   80620        CHAIN          FS1121499             1,000                               1,500     1,250     2,500

100074046   056101089   *SHOPRITE PHARMACY #450                PHILADELPHIA      PA   19114        CHAIN          FS1141489     100      200      600      700                         400      1,600

100109666   010237966   ST ELIZABETH HLTH-FT THOMAS            FORT THOMAS       KY   41075       HOSPITAL        FS1144954                      1,000    1,600    1,360    1,140     1,275     5,100
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100093379   020159400   SAM'S PHARMACY #10-4955             SURPRISE         AZ   85374        CHAIN          FS1151593                                 300               1,900    1,100     2,200

100073271   018175000   SELECT REHABILITATION HOSPITAL       DENTON          TX   76201       HOSPITAL        FS1157533    1,400      750     2,300    3,000     500       800     1,458     8,750

100071625   010141457   ST. JOSEPH JESSAMINE PHCY         NICHOLASVILLE      KY   40356       HOSPITAL        FS1167596     800       200     1,200                                 733      2,200

100071540   025037135   STERLING DRUG # 19 RX      SF       FARIBAULT        MN   55021     INDEPENDENT       FS1168219    3,800     3,400    3,900    3,100    4,100     3,500    3,633    21,800

100093396   044212209   SAM'S PHARMACY #10-4992           ELIZABETHTOWN      KY   42701        CHAIN          FS1184972     200      1,100     300     5,300    1,000     1,000    1,483     8,900

100099396   021170654   WALGREENS #15732         DSD         SEYMOUR         MO   65746     WALGREENS         FS1188019    3,700     4,600    4,200    4,000    5,800     2,200    4,083    24,500

100072506   056175588   *SHOPRITE PHARMACY #589            WILMINGTON        DE   19801        CHAIN          FS1200790               100                                           100       100

100073283   010175315   SELECT SPECIALTY HOSPITAL             AKRON          OH   44308       HOSPITAL        FS1204685     100       200      200      200      300       100      183      1,100

100072508   056175596   *SHOPRITE OF CINNAMINSON RX518     CINNAMINSON       NJ   08077        CHAIN          FS1205752                                 200                         200       200

100069704   017128124   *SALMON'S PHARMACY                    OREM           UT   84057     INDEPENDENT       FS1213177     800      1,100    1,700    1,600    2,500              1,540     7,700

100093398   046043554   SAM'S CLUB PHARMACY 10-4998         LADY LAKE        FL   32159        CHAIN          FS1220766                                                    900      900       900

100067744   049140442   *SCHEURER FAMILY PHCY       SF      CASEVILLE        MI   48725     INDEPENDENT       FS1235589    6,400     8,900    8,500    9,300   12,300              9,080    45,400

100091985   049188938   *SCHEURER FLY PH CASEVILLE340B      CASEVILLE        MI   48725   PHS 340B HOSPITAL   FS1235589    4,100     3,800    2,200    2,600    1,500              2,840    14,200

100067656   032131557   ST ANTHONY HOSPITAL GIG HARBOR     GIG HARBOR        WA   98332       HOSPITAL        FS1242332    1,500     1,150    1,500    1,600    1,060     1,780    1,432     8,590

100088413   032141846   ST ANTHONY HOSPITAL FP O/P         GIG HARBOR        WA   98332       HOSPITAL        FS1242332     600       700      500                                  600      1,800

100067660   041175539   STAFFORD HOSPITAL CENTER            STAFFORD         VA   22554       HOSPITAL        FS1247534     100       500      150      500      660                382      1,910

100099382   021170514   WALGREENS #15722         DSD         HOUSTON         MO   65483     WALGREENS         FS1253397    8,000     8,000   10,000   11,000   13,000     8,000    9,667    58,000

100109667   010237974   ST ELIZABETH HLTH PHCY-FLORNCE      FLORENCE         KY   41042       HOSPITAL        FS1273464                       1,500    1,500    2,400     1,400    1,700     6,800

100090749   044210518   SSM RX EXPRESS                      BRIDGETON        MO   63044       HOSPITAL        FS1275533   18,100    21,600    8,600   20,300   25,800     4,100   16,417    98,500

100091035   044210799   SSM RX EXPRESS 340B                 BRIDGETON        MO   63044   PHS 340B HOSPITAL   FS1275533    2,000     2,000   12,100    8,000    3,500    13,600    6,867    41,200

100090750   044210526   SSM ST CLARE HEALTH CTR              FENTON          MO   63026       HOSPITAL        FS1293391    2,700     2,500    2,400    1,800    3,800     1,400    2,433    14,600

100093769   019162032   SAM'S PHARMACY 10-8255               MADISON         WI   53719        CHAIN          FS1295814    1,000     1,000             1,100                       1,033     3,100

100067979   055071035   SCOTT COMM HEALTH CENTER PHCY      BURLINGTON        NC   27217    PHS 340B CLINIC    FS1302479    1,100      500      900     1,400    1,000               980      4,900

100086620   046038059   SUNRISE PHARMACY - SUN RX LLC    SUN CITY CENTER     FL   33573     INDEPENDENT       FS1305677    6,800     6,100    6,800    3,900    4,800     3,800    5,367    32,200

100093568   041145151   SAM'S PHARMACY 10-6524           COLONIAL HEIGHTS    VA   23834        CHAIN          FS1312141                                2,300                       2,300     2,300

100068166   012076943   SCRIPPS MERCY SURGERY PAVILION      SAN DIEGO        CA   92103       HOSPITAL        FS1312658                                                    100      100       100

100100534   052222596   WALGREENS #15804         DSD         EUROPA          MS   39744     WALGREENS         FS1318775   19,100    17,000   16,600   18,600   16,000    13,500   16,800   100,800

100069180   046116400   ST MARY PHARMACY LLC                  LARGO          FL   33770     INDEPENDENT       FS1324122    5,000     5,500    6,100    3,800    6,000     4,500    5,150    30,900

100093575   023136986   SAM'S PHARMACY 10-6547                MUNCY          PA   17756        CHAIN          FS1327231     500       100               800      800       300      500      2,500

100093596   024119495   SAM'S PHARMACY 10-6614              EL MONTE         CA   91731        CHAIN          FS1333032     100       100      500     1,200     500       700      517      3,100

100093715   044212050   SAM'S PHARMACY 10-8180               MARION          IL   62959        CHAIN          FS1337232     100       700      400     2,500              2,000    1,140     5,700

100071283   025041434   STERLING DRUG         SF              ADRIAN         MN   56110     INDEPENDENT       FS1360584    1,400     2,700    2,000    1,700    2,300     2,100    2,033    12,200

100072577   040140053   ATLANTA OP SURGERY CTR RI #712    SANDY SPRINGS      GA   30328       HOSPITAL        FS1364796     100       200               100      160       160      144       720

100067874   008069955   SUTTER SURGICAL HOSP N VALLEY       YUBA CITY        CA   95991       HOSPITAL        FS1375016     400       400     1,100    1,200               400      700      3,500

100093637   055032110   SAM'S CLUB PHARMACY 10-6668        MORRISVILLE       NC   27560        CHAIN          FS1378404     (300)    1,100    1,200    1,200     100       600      650      3,900

100088816   037128173   SCRIPT SOURCE PHCY         SF       PEARLAND         TX   77584     INDEPENDENT       FS1395006              1,000     100             (1,100)    1,000     250      1,000

100093319   052215053   SAM'S PHARMACY 10-4790                PEARL          MS   39208        CHAIN          FS1409300               100      200                         900      400      1,200

100099398   021170670   WALGREENS #15803         DSD     WILLOW SPRINGS      MO   65793     WALGREENS         FS1432107    6,000     9,200    7,600    8,200   11,100     4,500    7,767    46,600

100093577   010226829   SAM'S PHARMACY 10-6556           SAINT CLAIRSVILLE   OH   43950        CHAIN          FS1461665    1,060     1,500    1,500    2,900               800     1,552     7,760

100093716   037130559   SAM'S CLUB PHARMACY # 10-8181      ALEXANDRIA        LA   71301        CHAIN          FS1475765               400                                  300      350       700

100093395   046043547   SAM'S CLUB PHARMACY # 4991            COCOA          FL   32926        CHAIN          FS1475789                                2,700              3,000    2,850     5,700

100093392   021168765   SAM'S PHARMACY 10-4985             SPRINGFIELD       MO   65810        CHAIN          FS1485475               500      500      800      300       600      540      2,700

100099718   018398248   WALGREENS #15792         DSD       LITTLE ROCK       AR   72210     WALGREENS         FS1496327   10,400    16,600   16,700   16,900   18,300    11,100   15,000    90,000

100093613   004091033   SAM'S PHARMACY 10-6636             NEWINGTON         CT   06111        CHAIN          FS1498573               100     1,120     100                100      355      1,420
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100093457   019162248   SAM'S CLUB PHARMACY 10-6331          SOMERS         WI   53171        CHAIN          FS1508312    3,000               2,300    (2,000)      900       100       860      4,300

100068095   010160143   ST VINCENT SURG CTR ERIE 340B         ERIE          PA   16502   PHS 340B HOSPITAL   FS1531741     200       100                 100         80                 120       480

100073312   008047951   SKILLED NURSING PHARMACY            HAYWARD         CA   94545   LONG TERM CARE      FS1535016   97,500    98,100   132,000   143,000    126,500   104,200   116,883   701,300

100069879   012025627   SKILLED NURSING PHARMACY            SAN DIEGO       CA   92131   LONG TERM CARE      FS1537464   27,400    24,700    24,100    25,500     22,100    31,360    25,860   155,160

100093341   018396887   SAM'S CLUB PHARMACY 10-4825        HOT SPRINGS      AR   71913        CHAIN          FS1549697     100       100       100      4,300      2,800     5,600     2,167    13,000

100070831   010172213   SPARTAN PHARMACY #4                PITTSBURGH       PA   15227   LONG TERM CARE      FS1551325    3,000      500      2,000               13,500     1,500     4,100    20,500

100068774   012076901   SCRIPPS GREEN HOSPITAL               LA JOLLA       CA   92037       HOSPITAL        FS1566566    2,000     3,200     2,000     4,900      1,300     2,860     2,710    16,260

100068775   012076919   SCRIPPS MEM HOSPITAL-ENCINITAS      ENCINITAS       CA   92024       HOSPITAL        FS1566592    2,400     2,700     3,000     2,600      2,900     2,100     2,617    15,700

100068772   012076885   SCRIPPS MEMORIAL HOSP LA JOLLA       LA JOLLA       CA   92037       HOSPITAL        FS1566617    2,300     3,000     2,300     1,700      2,780     2,640     2,453    14,720

100068771   012076877   SCRIPPS MERCY HOSP CHULA VISTA     CHULA VISTA      CA   91910       HOSPITAL        FS1566629     550      1,600     1,400     1,650      1,680     1,860     1,457     8,740

100096375   012093732   SCRIPPS MERCY CHULA VISTA WAC      CHULA VISTA      CA   91910       HOSPITAL        FS1566629    1,100                                     460                 780      1,560

100081016   012076935   SCRIPPS MERCY CHULA VISTA 340B     CHULA VISTA      CA   91910   PHS 340B HOSPITAL   FS1566629     300       600       400       250                            388      1,550

100068770   012076869   SCRIPPS MERCY HOSP -SAN DIEGO       SAN DIEGO       CA   92103       HOSPITAL        FS1566643    2,900     5,800     4,300     8,400      4,880     4,960     5,207    31,240

100068776   012076927   SCRIPPS MERCY HSP-SANDIEGO340B      SAN DIEGO       CA   92103   PHS 340B HOSPITAL   FS1566643    1,000     1,600     1,200      700                           1,125     4,500

100096377   012093823   SCRIPPS MERCY HSP-SANDIEGO WAC      SAN DIEGO       CA   92103       HOSPITAL        FS1566643    1,400                          100        160                 553      1,660

100069850   041123950   SENTARA RX(RETAIL)               VIRGINIA BEACH     VA   23455       HOSPITAL        FS1584160    3,200     3,000     1,900     1,000      2,000     2,900     2,333    14,000

100053528   017078899   SHARED PHARMACY SERVC                MURRAY         UT   84123   LONG TERM CARE      FS1589235   13,500    17,200    14,300    15,200     14,800    15,000    15,000    90,000

100069340   021130211   MERCY PHARMACY - ROLLA                ROLLA         MO   65401       HOSPITAL        FS1589689   11,100    11,400    11,500    14,900     12,600    11,300    12,133    72,800

100069920   046126458   ST JOSEPH'S HOSP-NORTH DRUGS          LUTZ          FL   33558       HOSPITAL        FS1594832     500       600       500      1,000       160                 552      2,760

100075808   046117382   ST JOSEPH'S HOSP - NORTH 340B         LUTZ          FL   33558   PHS 340B HOSPITAL   FS1594832     200       200       200       200                  400       240      1,200

100096590   046044040   ST JOSEPH'S HOSP-NORTH WAC            LUTZ          FL   33558       HOSPITAL        FS1594832                                              100                 100       100

100072081   055175877   SELECT SPECIALTY HOSP-GREENSBO    GREENSBORO        NC   27401       HOSPITAL        FS1605229     100                                                          100       100

100104282   049194753   SPARROW PHARMACY PLUS #2 WAC      WILLIAMSTON       MI   48895   PHS 340B HOSPITAL   FS1620702    6,800     5,200     8,200     9,600      3,400     5,100     6,383    38,300

100067437   049178400   SPARROW PHARMACY PLUS #2 340B     WILLIAMSTON       MI   48895   PHS 340B HOSPITAL   FS1620702     400       900      1,100     1,800      1,300     1,100     1,100     6,600

100104382   049194787   SPARROW PHARMACY PLUS #4 WAC      GRAND LEDGE       MI   48837   PHS 340B HOSPITAL   FS1620752   12,600    12,200    12,500    17,200     13,600     7,500    12,600    75,600

100066237   049178418   SPARROW PHARMACY PLUS #4 340B     GRAND LEDGE       MI   48837   PHS 340B HOSPITAL   FS1620752    1,600     1,600     2,100      600       3,200     1,100     1,700    10,200

100104280   049194746   SPARROW PHARMACY PLUS #1 WAC         LANSING        MI   48915   PHS 340B HOSPITAL   FS1620788    8,000     9,700     9,100     8,800     10,000     7,600     8,867    53,200

100067436   049178392   SPARROW PHARMACY PLUS #1 340B        LANSING        MI   48915   PHS 340B HOSPITAL   FS1620788    2,800     2,300     2,000     2,100      3,100     3,100     2,567    15,400

100104377   049194779   SPARROW PHARMACY PLUS #11 WAC        LANSING        MI   48909   PHS 340B HOSPITAL   FS1620790    7,200     8,100     6,300     8,200      8,300     6,800     7,483    44,900

100066239   049178434   SPARROW PHARMACY PLUS #11 340B       LANSING        MI   48909   PHS 340B HOSPITAL   FS1620790    2,200     3,700     1,700     3,100      4,800     4,200     3,283    19,700

100104375   049194761   SPARROW PHCY PLUS #10 WAC            LANSING        MI   48912   PHS 340B HOSPITAL   FS1620803    6,400     6,300     6,600    12,400      2,000     5,100     6,467    38,800

100066238   049178426   SPARROW PHARMACY PLUS #10 340B       LANSING        MI   48912   PHS 340B HOSPITAL   FS1620803    2,300     1,800     2,300     1,800      2,100     2,400     2,117    12,700

100055070   012085977   SKILLED NURSING PHCY             CITY OF INDUSTRY   CA   91745   LONG TERM CARE      FS1632593   73,800   129,500   118,000   118,200    135,160   121,120   115,963   695,780

100093602   008110643   SAM'S PHARMACY 10-6622            SACRAMENTO        CA   95828        CHAIN          FS1637668                                  3,600       200      1,100     1,633     4,900

100093612   038106153   SAM'S PHARMACY 10-6635              LITTLETON       CO   80123        CHAIN          FS1637682                                  5,500                1,400     3,450     6,900

100070121   008165324   SCRIPT LIFE PHARMACY CPA             CLOVIS         CA   93612     INDEPENDENT       FS1638266   52,200    56,400    55,100    50,400     56,900    47,900    53,150   318,900

100110988   008001814   SYCAMORE WEST PHARMACY            WALNUT CREEK      CA   94598     INDEPENDENT       FS1660910                                             1,500               1,500     1,500

100067975   021130377   SHERRI'S PHARMACY SERVICES         GRANT CITY       MO   64456     INDEPENDENT       FS1671723    2,200     3,600     2,400     3,600      3,500     6,400     3,617    21,700

100086876   021162453   SHERRI'S PHCY SERVICES 340B        GRANT CITY       MO   64456   PHS 340B HOSPITAL   FS1671723    2,500     1,000     1,500      500                           1,375     5,500

100093619   004091041   SAM'S PHARMACY 10-6648              SEEKONK         MA   02771        CHAIN          FS1676797                                   500        700       100       433      1,300

100068073   037117473   SOUTH TEXAS SURGICAL HOSPITAL    CORPUS CHRISTI     TX   78414       HOSPITAL        FS1696319    1,000      900      1,100     1,200       800       300       883      5,300

100067268   044178301   SSM REHAB HOSP(RICHMOND HGTS)      SAINT LOUIS      MO   63117       HOSPITAL        FS1698337     700       600       900       800       1,000      500       750      4,500

100066832   037117432   SHRINERS HOSP FOR CHILDREN GAL     GALVESTON        TX   77550       HOSPITAL        FS1705269    2,100     1,100     1,000     1,000       500       200       983      5,900

100067516   037117457   ST.THERESA SPCLTY HOSP KENNER        KENNER         LA   70065       HOSPITAL        FS1708669                                                         80        80        80
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100067801   019177006   ST JOSEPH REG MED CNTR-MISH         MISHAWAKA      IN   46544       HOSPITAL        FS1715448   4,400   5,450   5,300   9,450    3,220   4,440   5,377   32,260

100066491   021130443   MERCY HOSPITAL JOPLIN IP              JOPLIN       MO   64804       HOSPITAL        FS1721871   1,600   1,900   1,700   1,700                    1,725    6,900

100096549   021077628   MERCY HOSPITAL JOPLIN WAC             JOPLIN       MO   64804   PHS 340B HOSPITAL   FS1721871    200     100            2,600     800    1,520   1,044    5,220

100066507   021130492   MERCY HOSPITAL JOPLIN 340B            JOPLIN       MO   64804   PHS 340B HOSPITAL   FS1721871    200     400     400     100                      275     1,100

100051339   008036327   SUTTER AMADOR HOSP PHCY /S           JACKSON       CA   95642       HOSPITAL        FS1728534   1,000   1,000   1,500   1,400    2,500           1,480    7,400

100051290   008035865   SUTTER SOLANO MED CTR PHCY /S        VALLEJO       CA   94589       HOSPITAL        FS1728546    300     300    1,600    500      760    1,300    793     4,760

100060530   008135863   SUTTER SOLANO MED CTR 340B           VALLEJO       CA   94589   PHS 340B HOSPITAL   FS1728546    500     400             400                      433     1,300

100100657   008112086   SUTTER SOLANO MED CTR WAC            VALLEJO       CA   94589   PHS 340B HOSPITAL   FS1728546    400     100     200                              233      700

100096795   008111898   SUTTER TRACY COM HOSP WAC             TRACY        CA   95376   PHS 340B HOSPITAL   FS1743637    600    1,000    700     800              100     640     3,200

100051336   008036277   SUTTER TRACY COMM HSP IP     /S       TRACY        CA   95376       HOSPITAL        FS1743637    600     800     500     200      680     380     527     3,160

100067976   008090662   SUTTER TRACY COMM HOSP 340B           TRACY        CA   95376   PHS 340B HOSPITAL   FS1743637    800     500     900     200      500             580     2,900

100051293   008035915   LOS BANOS COMMUNITY HOSPITAL        LOS BANOS      CA   93635       HOSPITAL        FS1743663    200     500     300     400     1,300            540     2,700

100096796   008111906   LOS BANOS COM HOSP WAC              LOS BANOS      CA   93635   PHS 340B HOSPITAL   FS1743663    800    1,500                                    1,150    2,300

100073682   008066464   LOS BANOS COMMUNITY HOSP 340B       LOS BANOS      CA   93635   PHS 340B HOSPITAL   FS1743663    100             900     300                      433     1,300

100074808   046127605   MEMORIAL HALLANDALE PHCY PHS        HALLANDALE     FL   33009   PHS 340B HOSPITAL   FS1762461   1,000    100    1,200    500      100    1,200    683     4,100

100072845   044140194   CENTENNIAL SURGERY CTR M #701       NASHVILLE      TN   37203       HOSPITAL        FS1770658            100     100     100      200             125      500

100074952   023175810   *SHOPRITE PHARMACY #293           NEW ROCHELLE     NY   10801        CHAIN          FS1775886            200             (100)                     50      100

100056057   010055673   ST VINCENT MEDICAID CARVE OUT       CLEVELAND      OH   44115       HOSPITAL        FS1776458   2,000   1,500   1,600   1,800    4,500    960    2,060   12,360

100056053   010055640   ST VINCENT CHARITY MEDICAL PHS      CLEVELAND      OH   44115   PHS 340B HOSPITAL   FS1776458    100     900    1,100    100      300     100     433     2,600

100053547   010052233   ST VINCENT CHARITY MEDICAL          CLEVELAND      OH   44115       HOSPITAL        FS1776458    200     800             900      400             575     2,300

100053548   010052258   ST VINCENT CHARITY MEDICAL CEN      CLEVELAND      OH   44115   PHS 340B HOSPITAL   FS1776458    300     100     300     100                      200      800

100094162   010227348   ST VINCENT CHARITY IP CARVEOUT      CLEVELAND      OH   44115       HOSPITAL        FS1776458                                             400     400      400

100077079   018175794   SENDERRA RX PHCY PARTNERS,LLC      RICHARDSON      TX   75081     INDEPENDENT       FS1799610    200     100     300                              200      600

100093329   017096107   SAM'S PHARMACY 10-4805               BILLINGS      MT   59101        CHAIN          FS1802190            500    1,000                    1,100    867     2,600

100052719   010054833   ST JOHN MEDICAL CENTER              WESTLAKE       OH   44145       HOSPITAL        FS1809207    700    1,100   1,400   1,400    1,040    720    1,060    6,360

100075948   056176040   *SHOPRITE PHARMACY #439            WARMINSTER      PA   18974        CHAIN          FS1818218            200                                      200      200

100051402   008034991   NOVATO COMMUNITY HOSPITAL            NOVATO        CA   94945       HOSPITAL        FS1821607    300     600     600     500      600      80     447     2,680

100051295   008035931   SUTTER MED CTR SANTA ROSA           SANTA ROSA     CA   95404       HOSPITAL        FS1828334   2,100   1,900   1,100    500     1,400           1,400    7,000

100103774   008116079   SUTTER MED CTR SANTA ROSA WAC       SANTA ROSA     CA   95404   PHS 340B HOSPITAL   FS1828334                           2,500                    2,500    2,500

100058927   008013177   SUTTER MED CTR SANTA ROSA 340B      SANTA ROSA     CA   95404   PHS 340B HOSPITAL   FS1828334    300     200     600                              367     1,100

100051338   008036319   SUTTER LAKESIDE HOSPITAL PHCY        LAKEPORT      CA   95453       HOSPITAL        FS1828346   1,400   1,200   1,000    700      200     800     883     5,300

100093572   023136978   SAM'S PHARMACY 10-6536              ALLENTOWN      PA   18109        CHAIN          FS1833222                            100      200     100     133      400

100068134   008077362   STOCKTON SURGERY CENTER             STOCKTON       CA   95209       HOSPITAL        FS1834084    200     100             100      100     100     120      600

100093584   055032102   SAM'S PHARMACY 10-6573             JACKSONVILLE    NC   28546        CHAIN          FS1834678                    500    1,200     300     300     575     2,300

100051292   008035881   SUTTER DELTA MED CTR /S              ANTIOCH       CA   94509       HOSPITAL        FS1839527   2,400   2,400   1,300    900             2,080   1,816    9,080

100100707   008112102   SUTTER DELTA MED CTR WAC             ANTIOCH       CA   94509   PHS 340B HOSPITAL   FS1839527                    200    1,100    2,280    880    1,115    4,460

100068688   008078634   SUTTER DELTA MED CTR 340B            ANTIOCH       CA   94509   PHS 340B HOSPITAL   FS1839527            200    1,200    200              400     500     2,000

100074652   041176149   SPOTSYLVANIA REG MED CNTR #712    FREDERICKSBURG   VA   22408       HOSPITAL        FS1842637    100     500     400     350       80     640     345     2,070

100075080   021134205   PAWNEE VALLEY COMMUNITY HOSP         LARNED        KS   67550       HOSPITAL        FS1848007    300     800     200              340     200     368     1,840

100075013   019160689   ST MARY MED CTR - O/P SURGERY        HOBART        IN   46342       HOSPITAL        FS1868097    100             100                      100     100      300

100074737   004176156   *SHOPRITE PHARMACY #398              SHELTON       CT   06484        CHAIN          FS1900352    900    1,700   1,000    600                     1,050    4,200

100075471   004176149   *SHOPRITE PHARMACY #385              CLINTON       CT   06413        CHAIN          FS1919286    200     400     300     500                      350     1,400

100075398   004176115   *SHOPRITE PHARMACY #368           WEST HARTFORD    CT   06119        CHAIN          FS1919337                    100                              100      100

100093662   040114769   SAM'S PHARMACY 10-8115               AUGUSTA       GA   30907        CHAIN          FS1922675                    100    6,900     100            2,367    7,100
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100075470   004176131   *SHOPRITE PHARMACY #389               SOUTHBURY       CT   06488         CHAIN          FS1925366                        300                                 300       300

100074596   021135715   SMART PHCY          SF                  OSAGE         IA   50461     INDEPENDENT        FS1985110    2,000    4,100     6,000     900     3,500    3,500    3,333    20,000

100075519   024140509   DR. IKE, INC.                        STUDIO CITY      CA   91604     INDEPENDENT        FS1986908    4,000    7,500     4,100    6,700   11,600    2,200    6,017    36,100

100075931   052170696   SEIB PHARMACY                        MONTGOMERY       AL   36104        ALT SITE        FS1989598     900     1,000      900      900      700     1,000     900      5,400

100075775   024110288   OXNARD PHARMACY                        OXNARD         CA   93030     INDEPENDENT        FS1990262    5,800    6,900     6,400   20,900    1,100    3,600    7,450    44,700

100093232   012030031   SUPERIOR CARE PHARMACY                 EL CAJON       CA   92020    LONG TERM CARE      FS1994513   20,200   20,200    21,650   21,600   26,000   23,200   22,142   132,850

100072638   021101238   SUTTON PHCY,LLC          SF            SUTTON         NE   68979     INDEPENDENT        FS2012893    3,200    3,900     2,800    3,900    2,100    2,700    3,100    18,600

100093493   010227157   SAM'S PHARMACY 10-6375                   LIMA         OH   45804         CHAIN          FS2018869     200      100       500     2,400    1,300    2,300    1,133     6,800

100093605   024119511   SAM'S PHARMACY 10-6625              SAN FERNANDO      CA   91340         CHAIN          FS2019417     700      800                100      900     1,600     820      4,100

100107786   049196378   SAV-PLUS PHARMCY INC          SF       PONTIAC        MI   48340     INDEPENDENT        FS2032390    2,000    3,500     3,500    3,500    4,000     500     2,833    17,000

100059796   041060004   SCOTT CENTER ANNEX - DOD             PORTSMOUTH       VA   23708   HOSPITAL (FEDERAL)   FS2047454   22,500   20,500    21,000   12,900                     19,225    76,900

100074688   018176446   SPECIALTY HOSP-MIDWEST(PHARM)        MIDWEST CITY     OK   73110       HOSPITAL         FS2073384     500      300       300      700      640      640      513      3,080

100097645   052222133   WALGREENS #15737         DSD          CARTHAGE        MS   39051      WALGREENS         FS2092473   10,200   13,440    12,120   11,130   11,600   11,400   11,648    69,890

100074657   008110049   SHERMAN'S APOTHECARY PHARMACY          SALINAS        CA   93901     INDEPENDENT        FS2111627    6,500    7,700     9,200    7,800   22,200    6,300    9,950    59,700

100083201   018181032   SALUD PHARMACY #1        CPA           DALLAS         TX   75224     INDEPENDENT        FS2149905   12,100   12,000    12,500   18,500    5,000    8,500   11,433    68,600

100093279   010226944   SAM'S PHARMACY 10-4728              NICHOLASVILLE     KY   40356         CHAIN          FS2155287     200      400       200     2,300              300      680      3,400

100110132   049197194   SUNSHINE PHARMACY                  CLINTON TOWNSHIP   MI   48038     INDEPENDENT        FS2157445                                1,000    3,500             2,250     4,500

100084325   038096974   SOUTH STREET PHCY LLC         SF      W________       WY   82201     INDEPENDENT        FS2166747   10,000    9,900     8,200    6,700   11,400    6,000    8,700    52,200

100089902   037129049   SOLARA HOSPITAL OF MCALLEN             MCALLEN        TX   78503       HOSPITAL         FS2186547              200       500      400      180      180      292      1,460

100093718   025087213   SAM'S PHARMACY 10-8183                ST. CLOUD       MN   56303         CHAIN          FS2199140                                 800      500      800      700      2,100

100089900   037129023   SOLARA HOSPITAL OF EDINBURG           EDINBURG        TX   78539       HOSPITAL         FS2203913     100      100       100      100      180      200      130       780

100093363   018396903   SAM'S PHARMACY 10-4905                 DENTON         TX   76201         CHAIN          FS2226062                                5,600              900     3,250     6,500

100093581   041145169   SAM'S PHARMACY 10-6569                BLUEFIELD       VA   24605         CHAIN          FS2261713     700     2,500     4,400    1,800    1,000    2,000    2,067    12,400

100084063   044188912   RIVERVIEW REGIONAL MED CTR            CARTHAGE        TN   37030       HOSPITAL         FS2269430     500      600      1,000              600               675      2,700

100084060   044188888   SUMNER REG MED CTR, LLC #712           GALLATIN       TN   37066       HOSPITAL         FS2274164    2,500    2,050     2,800    3,300     600     2,440    2,282    13,690

100084655   004066100   *SHOPRITE PHARMACY #231              WHITE PLAINS     NY   10601         CHAIN          FS2281183              (200)     100      100                         -         -

100084257   018183194   SHAVANO OAKS PHARMACY                SAN ANTONIO      TX   78231     INDEPENDENT        FS2289090   61,000   60,100    51,800   58,000   55,300   47,700   55,650   333,900

100106483   017098343   SALT LAKE BEHAVIORAL HEALTH         SALT LAKE CITY    UT   84106       HOSPITAL         FS2295029     600                300      300      320               380      1,520

100074878   037117515   SAVOY MEDICAL CENTER                   MAMOU          LA   70554       HOSPITAL         FS2300933     300      250       350     1,700     500               620      3,100

100103947   037133371   SAVOY MEDICAL CENTER WAC               MAMOU          LA   70554       HOSPITAL         FS2300933                                 300                        300       300

100084716   046034785   SYNERGY PHARMACY SERVICES INC        PALM HARBOR      FL   34684    LONG TERM CARE      FS2302088     100      100       100               500      100      180       900

100084926   018088260   SALUD PHARMACY #2 CPA                  DALLAS         TX   75208     INDEPENDENT        FS2317914   11,000   10,000    10,500   13,800    3,200    1,200    8,283    49,700

100093821   024119594   SAM'S PHARMACY 10-6626               SOUTH GATE       CA   90280         CHAIN          FS2326886                                                   400      400       400

100083967   004062893   STEWARD CARNEY HOSPITAL              DORCHESTER       MA   02124       HOSPITAL         FS2328169     100      100                300      200               175       700

100083925   004062711   STEWARD GOOD SAM MED CTR              BROCKTON        MA   02301       HOSPITAL         FS2328183     400      500                         620      320      460      1,840

100083956   004062844   STEWARD HOLY FAMILY HOSP, INC          METHUEN        MA   01844       HOSPITAL         FS2328208     600      400       500      300      820      560      530      3,180

100083933   004062778   STEWARD ST ELIZ MED CTR OF BOS        BRIGHTON        MA   02135       HOSPITAL         FS2328222     200      200       500               400      480      356      1,780

100053927   004055079   BRIGHTON MARINE -HANSCOM (DOD)       HANSCOM AFB      MA   01731   HOSPITAL (FEDERAL)   FS2328246    1,400    1,400      400               800     1,500    1,100     5,500

100050659   004054353   BRIGHTON MARINE HLTH CTR (DOD)        BRIGHTON        MA   02135   HOSPITAL (FEDERAL)   FS2328260    3,500    2,800     2,000    2,900    7,500             3,740    18,700

100083975   004063149   STEWARD ST ELIZ MED CTR BOS(BM        BRIGHTON        MA   02135       HOSPITAL         FS2328272    1,100    2,000      600     2,100    5,400             2,240    11,200

100083965   004062869   STEWARD ST. ANNE'S HOSP CORP          FALL RIVER      MA   02721       HOSPITAL         FS2328373     600      500       400      700      240      300      457      2,740

100084968   018184374   SUNDANCE HOSPITAL PHARMACY            ARLINGTON       TX   76001       HOSPITAL         FS2337182     500      400       500     1,400                       700      2,800

100085272   004068973   SOUTHERN NE SURGERY CENTER            ATTLEBORO       MA   02703       HOSPITAL         FS2337776     100                                                    100       100

100084495   040100990   SANDERS DRUGS            CPA           TOCCOA         GA   30577     INDEPENDENT        FS2338021   19,400   20,900    20,600   27,700   19,500   13,600   20,283   121,700
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100084751   044189886   STRAWBERRY HILLS PHCY APSC           PADUCAH        KY   42001    INDEPENDENT      FS2338893    9,500    8,800    5,100       7,700     9,300   11,100    8,583    51,500

100100618   040120014   SENOIA DRUG CO INC. CPA               SENOIA        GA   30276    INDEPENDENT      FS2339388    6,000    9,100    6,020       8,000     9,500    6,300    7,487    44,920

100106827   046059451   SUN DISCOUNT PHCY DBA      CPA      SARASOTA        FL   34239    INDEPENDENT      FS2341167     560     2,000    3,500       3,500     3,000             2,512    12,560

100074903   024130641   SUPER CARE DRUGS BEVERLY HILLS    BEVERLY HILLS     CA   90210    INDEPENDENT      FS2342145                                             100               100       100

100084654   023096396   *SHOPRITE PHARMACY #806             COMMACK         NY   11725       CHAIN         FS2347917              100                                              100       100

100084886   004067355   ST VINCENTS HSP WESTCHESTER         HARRISON        NY   10528      HOSPITAL       FS2360434     100                -                     80                60       180

100084888   004067363   ST VINCENTS HSP WESTCHESTER OP      HARRISON        NY   10528      HOSPITAL       FS2360434                       100                                     100       100

100084940   018097832   S & J SCRIPTURE ST PHCY CPA          DENTON         TX   76201    INDEPENDENT      FS2365674    6,000    9,700    6,500       8,600     3,500    3,500    6,300    37,800

100092452   049189035   *SAINT JOSEPH MERCY BRIGHTON        BRIGHTON        MI   48114      HOSPITAL       FS2370776     100      400       -          (100)                       100       400

100084978   046016063   SCRIPT CHOICE PHARMACY                TAMPA         FL   33612    INDEPENDENT      FS2371158    5,700    6,000    6,500       4,500     2,100    4,100    4,817    28,900

100093318   040114876   SAM'S PHARMACY 10-4789             SHARPSBURG       GA   30277       CHAIN         FS2392316     100               200        1,300               100      425      1,700

100093580   038106096   SAM'S PHARMACY 10-6565              RAPID CITY      SD   57701       CHAIN         FS2392330              300     2,200       2,400     1,000     800     1,340     6,700

100086018   046037622   SAVE MORE PHARMACY                   SUNRISE        FL   33351    INDEPENDENT      FS2394574    1,400     600     1,300       3,900      100              1,460     7,300

100066946   049044958   SINAI-GRACE HOSPITAL                 DETROIT        MI   48235      HOSPITAL       FS2398510   10,100   11,100   10,900       5,800     6,300    8,700    8,817    52,900

100085251   037118828   SOUTHSIDE PHARMACY II                HOUSTON        TX   77004    INDEPENDENT      FS2408690    8,600    8,700    9,300       9,800     5,500    6,700    8,100    48,600

100084541   056099713   SMITH'S PHARMACY                   PHILADELPHIA     PA   19124    INDEPENDENT      FS2414617    3,900    1,100    1,800       1,400      400     1,500    1,683    10,100

100085175   017086264   SENIOR CARE PHCY OF THE WEST      SALT LAKE CITY    UT   84115   LONG TERM CARE    FS2414643   31,200   32,900   38,400      30,700    39,400   35,900   34,750   208,500

100086466   046037911   ST MARY PHARMACY 2 {II}            PALM HARBOR      FL   34684    INDEPENDENT      FS2423678     500      300      400                   600      600      480      2,400

100085604   046036483   *PINE BROOK PHARMACY                SPRING HILL     FL   34606    INDEPENDENT      FS2425886     100      100                                              100       200

100093326   046043497   SAM'S PHARMACY 10-4801              RIVERVIEW       FL   33578       CHAIN         FS2435712      20                          3,600              2,000    1,873     5,620

100085521   018193680   ST. EDWARD MERCY MED CENTER         FORT SMITH      AR   72903      HOSPITAL       FS2438655                                   100                         100       100

100086068   032138537   SEA MAR COMM HEALTH CTR PHCY        MT VERNON       WA   98273   PHS 340B CLINIC   FS2441828    1,500    2,700    1,000       8,600              2,000    3,160    15,800

100109304   046059899   SCRIPTS PHARMACY     CPA         SAINT PETERSBURG   FL   33711    INDEPENDENT      FS2481694    1,600    2,500    1,100       3,000      200     2,000    1,733    10,400

100086637   046038109   LAKE PHARMACY                      JACKSONVILLE     FL   32210    INDEPENDENT      FS2483799    3,600    2,600    4,000       7,400              1,500    3,820    19,100

100086561   044203687   ECONOMY DRUGS OF HELENA CPA          HELENA         AR   72342    INDEPENDENT      FS2511194    9,000   17,200    9,400      13,600     4,600    9,200   10,500    63,000

100099728   044219253   WALGREENS #15794          DSD        OSCEOLA        AR   72370    WALGREENS        FS2511219    5,700   11,800   13,200      10,600    10,700    4,100    9,350    56,100

100086302   038100396   ST. ANTHONY HOSPITAL-ACT            LAKEWOOD        CO   80228      HOSPITAL       FS2529343    1,200    1,650    4,100       4,300      300     1,200    2,125    12,750

100093561   040114728   SAM'S CLUB PHARMACY #10-6506          ALBANY        GA   31707       CHAIN         FS2534875     130                    30    2,100              1,000     815      3,260

100093594   024119487   SAM'S PHARMACY 10-6611           CITY OF INDUSTRY   CA   91748       CHAIN         FS2551112                                   700       400      400      500      1,500

100086438   041138701   *SHEPHERDSTOWN PHARMACY          SHEPHERDSTOWN      WV   25443    INDEPENDENT      FS2552455     500      500                                              500      1,000

100086523   049184184   SALINE PHCY LLC                       SALINE        MI   48176    INDEPENDENT      FS2573029             3,000                 140               6,500    3,213     9,640

100093533   004091272   SAM'S PHARMACY 10-6440               LATHAM         NY   12110       CHAIN         FS2594592     100                           300       100      200      175       700

100085728   008031351   SUTTER PHARMACY SOLUTIONS           YUBA CITY       CA   95991    INDEPENDENT      FS2624117    5,700    6,100    4,700      15,900     1,380    3,900    6,280    37,680

100086234   010212548   SPARTAN PHARMACY INC. APSC         BRENTWOOD        PA   15227    INDEPENDENT      FS2637025    3,500    6,500   11,500       3,000     6,200    2,800    5,583    33,500

100086081   046037630   SANTA ROSA PHCY INC.       SF    SANTA ROSA BEACH   FL   32459    INDEPENDENT      FS2663791     100               100        2,300     7,400    4,720    2,924    14,620

100086867   021162446   MERCY PHARMACY-ST JAMES            SAINT JAMES      MO   65559    INDEPENDENT      FS2691877    1,800     800      500        1,000      500      500      850      5,100

100086877   021162461   MERCY PHARMACY-ST ROBERT           SAINT ROBERT     MO   65584    INDEPENDENT      FS2691904   11,700   10,300    9,700      12,100     7,200    8,500    9,917    59,500

100096378   021064683   MERCY PHCY-ST ROBERT 340B           ST. ROBERT      MO   65584      HOSPITAL       FS2691904     100      100      100                                     100       300

100086878   021162479   MERCY PHARMACY-LICKING               LICKING        MO   65542    INDEPENDENT      FS2691916   11,400   11,800   13,600      11,200    12,700   10,200   11,817    70,900

100086923   046038380   JOE DIMAGGIO CHLDNS HSP PRMER      HOLLYWOOD        FL   33021      HOSPITAL       FS2693617                                                      100      100       100

100086932   041139303   SENTARA PRINCESS ANNE HOSPITAL    VIRGINIA BEACH    VA   23456      HOSPITAL       FS2693744    1,100     900     1,400       1,200     1,040    1,300    1,157     6,940

100093553   044212308   SAM'S PHARMACY 10-6479           CAPE GIRARDEAU     MO   63701       CHAIN         FS2730263                       600         500      1,000     600      675      2,700

100093806   018396796   SAM'S PHARMACY 10-8295              TEXARKANA       TX   75503       CHAIN         FS2744945     400      400      260        2,300                        840      3,360

100093598   024119578   SAM'S PHARMACY 10-6617               GARDENA        CA   90248       CHAIN         FS2789949     300      200                 1,300     1,300     100      640      3,200
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100071178   017124362   SALEM HILLS PHARMACY CPA            SALEM        UT   84653     INDEPENDENT       FS2800717    7,100    7,100     9,600    9,100    4,200     6,400    7,250       43,500

100093502   004091231   SAM'S PHARMACY 10-6386             CONCORD       NH   03301        CHAIN          FS2807331     100      500                500      200                325         1,300

100100615   040120006   SMITH NORTHVIEW HOSPITAL           VALDOSTA      GA   31602       HOSPITAL        FS2812546     200      300       200      500                560      352         1,760

100088159   010218321   *SUMMIT PAIN SPECIALISTS             STOW        OH   44224     INDEPENDENT       FS2816467              (500)                                          (500)        (500)

100093347   018396895   SAM'S PHARMACY 10-4839              TULSA        OK   74132        CHAIN          FS2858732                                 800      600      1,400     933         2,800

100086437   012095851   SADDLEBACK PHARMACY, INC.        MISSION VIEJO   CA   92692     INDEPENDENT       FS2867806    4,000    1,100     7,600    8,100    4,700              5,100       25,500

100088048   010218073   VICCO PRESCRIPTION CENTER APSC      SCUDDY       KY   41760     INDEPENDENT       FS2880070   10,500   10,500    11,300   10,000    8,700    10,000   10,167       61,000

100090780   019167767   ST MARY'S JANESVILLE HOSP         JANESVILLE     WI   53547       HOSPITAL        FS2886945     200      800       900      800      480       640      637         3,820

100093707   004091082   SAM'S PHARMACY 10-8171             SYRACUSE      NY   13224        CHAIN          FS2888139                        100                         100      100          200

100087459   056020214   *SHOPRITE PHARMACY #599            HATFIELD      PA   19440        CHAIN          FS2892241     200      300                                            250          500

100087476   023112425   *SHOPRITE PHARMACY #468           SOMERVILLE     NJ   08876        CHAIN          FS2894409      -       100                                             50          100

100088300   019152447   STEMBEL PHARMACY LLC                FOWLER       IN   47944     INDEPENDENT       FS2901824    8,900   10,100    10,200   15,200    4,600     7,500    9,417       56,500

100088200   018201459   SARATOGA PHCY        CPA          FORT WORTH     TX   76244     INDEPENDENT       FS2913095    2,000    3,500     4,000    3,000    2,500     4,000    3,167       19,000

100100644   032147983   SKAGIT REG CLN MT. VERNON WAC    MOUNT VERNON    WA   98273       HOSPITAL        FS2936586                                  50                              50           50

100088345   044208777   ST LOUIS HILLS PHARMACY     SF    SAINT LOUIS    MO   63116     INDEPENDENT       FS2937146    7,000    4,000     4,500    2,500    7,300     4,700    5,000       30,000

100088293   049186593   SPECIALTY PHCY       SF             CANTON       MI   48187     INDEPENDENT       FS2943478    7,900    6,700     6,900    9,500    5,100              7,220       36,100

100088257   018201624   ST DAVID'S EMERGENCY CTR #712      BEE CAVE      TX   78738       HOSPITAL        FS2943555                        100                                  100          100

100088332   010221762   ST LUKE'S LOWCOST PHCY APSC       CLEVELAND      OH   44104     INDEPENDENT       FS2946688    2,800    2,400     3,100    2,500    2,200     1,000    2,333       14,000

100088263   017090928   U OF UT S JORDAN CLNC 340B       SOUTH JORDAN    UT   84095   PHS 340B HOSPITAL   FS2952934              100       100      700                200      275         1,100

100088650   010222380   STEPHANIE'S DOWN HOME PHCY INC      CORBIN       KY   40701     INDEPENDENT       FS2963696   13,720   17,000    14,700   17,500   15,400     9,800   14,687       88,120

100091918   044211060   ST LOUIS REG PSYCHIATRIC STABL     ST. LOUIS     MO   63112       HOSPITAL        FS2975413                                 100       80       100           93      280

100106555   055041756   SRHS EMPLOYEE PHARMACY           SPARTANBURG     SC   29303       HOSPITAL        FS2977986   14,500   14,000    12,400   13,600   14,200     9,800   13,083       78,500

100088164   044207472   SSM SELECT REHAB ST. LOUIS,LLC    BRIDGETON      MO   63044       HOSPITAL        FS2981125     800     1,700     1,000    5,000     400       500     1,567        9,400

100090755   018237529   ST ANTHONY HEALTHPLEX EAST       OKLAHOMA CITY   OK   73150       HOSPITAL        FS2992940     200      200       200      100      180       200      180         1,080

100090756   018237537   ST ANTHONY HEALTHPLEX SOUTH      OKLAHOMA CITY   OK   73170       HOSPITAL        FS2993031     100                                  100       100      100          300

100088559   010222240   SELECT SPECIALTY HOSP-NORTH KY   FORT THOMAS     KY   41075       HOSPITAL        FS2993055     200      500       200      500      500                380         1,900

100088703   018203448   SMILE PHARMACY                    CARROLLTON     TX   75007     INDEPENDENT       FS3006891    1,000     500      1,100    1,100     500      1,000     867         5,200

100093758   018396606   SAM'S PHARMACY 10-8237             MONROE        LA   71202        CHAIN          FS3008174               30                 30                900      320          960

100100546   037133173   SURGICAL SPECIAL CTR-BT RG       BATON ROUGE     LA   70810       HOSPITAL        FS3018668     200      500       100      400      160                272         1,360

100088954   021166918   ST LUKES NORTH O/P PHCY           KANSAS CITY    MO   64154       HOSPITAL        FS3020005    3,100    3,100     3,200    3,800    4,000     4,000    3,533       21,200

100088350   017091595   SERVICE DRUG                       FILLMORE      UT   84631     INDEPENDENT       FS3053991    6,000    9,000     8,000    5,100    5,800     5,600    6,583       39,500

100093555   019162313   SAM'S CLUB PHARMACY 10-6487        ADDISON       IL   60101        CHAIN          FS3074438             2,000      600     2,000   (1,500)     500      720         3,600

100089841   038104968   CENTURA HEALTH PHARMACY           LAKEWOOD       CO   80228       HOSPITAL        FS3079034    2,900    5,100     3,500    3,200    3,200     6,100    4,000       24,000

100089348   044210120   SAVE MORE DRUGS APSC             HOPKINSVILLE    KY   42240     INDEPENDENT       FS3086356   23,900   31,000    27,900   25,840   24,000    35,840   28,080      168,480

100088726   004088674   *SHOPRITE PHARMACY #322           WEST HAVEN     CT   06516        CHAIN          FS3088944     100      (100)      -                                    -            -

100093530   052215137   SAM'S PHARMACY 10-6435            TUSCALOOSA     AL   35405        CHAIN          FS3113608             1,600      400     6,000               400     2,100        8,400

100104681   012083618   SPECTRUM PHCY-ANAHEIM CPA          ANAHEIM       CA   92801     INDEPENDENT       FS3129168    5,400    6,500     5,600    5,500    1,500     5,200    4,950       29,700

100103967   046057414   ST LUKE PHARMACY CORP            CLEARWATER      FL   33765     INDEPENDENT       FS3129916     500      300                                   500      433         1,300

100089228   052213835   SYNCO DRUGS         SF               TROY        AL   36081     INDEPENDENT       FS3131733   17,100   20,400    16,100   17,300   15,200    16,100   17,033      102,200

100093352   037130815   SAM'S PHARMACY 10-4850             MCALLEN       TX   78504        CHAIN          FS3152042                        100     1,400               200      567         1,700

100090317   018186239   ST DAVIDS EMRG CTR BASTRP #712     BASTROP       TX   78602       HOSPITAL        FS3153361     200      200                200       80        80      152          760

100093620   004091058   SAM'S CLUB PHARMACY 10-6649       WORCESTER      MA   01606        CHAIN          FS3158412                                1,000     200       700      633         1,900

100089846   055031062   STUCKEY PHARMACY, LLC CPA         HEMINGWAY      SC   29554     INDEPENDENT       FS3158765   12,200   21,100    13,600    7,300   23,100    15,200   15,417       92,500

100090983   037129585   SWLA CTR FOR HEALTH SERV 340B     LAFAYETTE      LA   70501       ALT SITE        FS3164667     200     1,000      400      400                         500         2,000
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100093492   010227140   SAM'S CLUB PHARMACY 10-6373           VIENNA       WV   26105          CHAIN           FS3186029    1,300    1,100    1,200    2,300                      1,475     5,900

100090176   056020826   SPRINGFIELD PHARMACY               SPRINGFIELD     PA   19064       INDEPENDENT        FS3188530     200      300      100                                 200       600

100093549   055032607   SAM'S CLUB PHARMACY #10-6463        ANDERSON       SC   29621          CHAIN           FS3194026    3,300    2,400    3,200    5,500     500      800     2,617    15,700

100090103   025058032   STERLING #28          SF           SPRING GROVE    MN   55974       INDEPENDENT        FS3195509    3,000    4,000    3,000    4,000    4,200    3,500    3,617    21,700

100090110   025058040   STERLING #29          SF           LACRESCENT      MN   55947       INDEPENDENT        FS3195511    4,400    4,300    3,600    4,200    3,800    6,000    4,383    26,300

100090138   025058107   STERLING LTC PHCY #30       SF      RUSHFORD       MN   55971     LONG TERM CARE       FS3195523    4,400    3,800    3,400    2,800    5,100    2,000    3,583    21,500

100090099   025058024   STERLING #27          SF             HARMONY       MN   55939       INDEPENDENT        FS3195535     800      600     2,300              300      100      820      4,100

100090098   025057968   STERLING #26          SF            CALEDONIA      MN   55921       INDEPENDENT        FS3195559   10,700    9,700   29,600   10,100    2,000    2,000   10,683    64,100

100090092   025057919   STERLING #24          SF            RUSHFORD       MN   55971       INDEPENDENT        FS3195561    2,500    3,500    6,600    6,400     800      600     3,400    20,400

100093720   025087221   SAM'S CLUB PHARMACY 10-8185         EAU CLAIRE     WI   54701          CHAIN           FS3204055                       800      900                        850      1,700

100092075   049188979   *SCHEURER FAM PHY 340B ELKTON        ELKTON        MI   48731         HOSPITAL         FS3205689    2,100    4,100    5,200    3,800                      3,800    15,200

100090659   049188532   *SCHEURER FAMILY PHCY        SF      ELKTON        MI   48731       INDEPENDENT        FS3205689    1,600    2,300    1,500     100     8,100             2,720    13,600

100092075   049188979   *SCHEURER FAM PHY 340B ELKTON        ELKTON        MI   48731     PHS 340B HOSPITAL    FS3205689                                        1,600             1,600     1,600

100093706   019161968   SAM'S CLUB PHARMACY #10-8169        LAFAYETTE      IN   47905          CHAIN           FS3209637                       500                        300      400       800

100089916   023135970   SKAFF'S CORNER PHCY CPA              RAHWAY        NJ   07065       INDEPENDENT        FS3229639     400      400      700     1,100     500               620      3,100

100090383   018188896   ST. JOHN BROKEN ARROW, INC        BROKEN ARROW     OK   74012         HOSPITAL         FS3232840    1,000    1,600    1,100    1,100    2,000     980     1,297     7,780

100091070   046042465   MARTHA FARMACIA & DISCOUNT           HIALEAH       FL   33014       INDEPENDENT        FS3240429     200                                                   200       200

100090665   010225300   ST MARYS MD CTR IRONTON CAMPUS       IRONTON       OH   45638         HOSPITAL         FS3258476              100      200      100                        133       400

100093346   037130799   SAM'S PHARMACY 10-4837            DENHAM SPRINGS   LA   70726          CHAIN           FS3266219    1,000     500                        500               667      2,000

100093560   052214908   SAM'S PHARMACY 10-6503             HATTIESBURG     MS   39402          CHAIN           FS3273048                                                  900      900       900

100109714   052224956   SPARTAN DISCOUNT DRUGS CPA        PLEASANT GROVE   AL   35127       INDEPENDENT        FS3293153    7,200    5,000                                        6,100    12,200

100090936   046042374   STEWARTS PHCY & WELLNESS CPA       TALLAHASSEE     FL   32308       INDEPENDENT        FS3300287     500      200      100      200      760      100      310      1,860

100090929   019157917   SUPERIOR PHCY SOLUTIONS, INC       SCHAUMBURG      IL   60173       INDEPENDENT        FS3317585    1,000    1,300     400     1,400    1,000    1,200    1,050     6,300

100091260   052088534   SPECIALTY HOSP OF MERIDIAN           MERIDIAN      MS   39301         HOSPITAL         FS3327699     800      500      900      600     1,260    1,000     843      5,060

100100639   046044594   SUNRISE RX PHARMACY, INC.          FORT MYERS      FL   33901       INDEPENDENT        FS3370640     500     1,700     600      100      500      100      583      3,500

100107091   018404178   ST ANTHONY SHAWNEE HOSP WAC          SHAWNEE       OK   74804         HOSPITAL         FS3382900              900     1,200    1,300                      1,133     3,400

100091173   024009555   *SHORELINE PHARMACEUTICALS,INC        ENCINO       CA   91436   HOME HEALTH SERVICES   FS3401724     500                                                   500       500

100093359   021168740   SAM'S CLUB #10-4873                  LINCOLN       NE   68526          CHAIN           FS3418731     500      500      600     1,000     500      200      550      3,300

100092111   052214338   STOP-N-GO DISCOUNT PHCY CPA         EAST RIDGE     TN   37412       INDEPENDENT        FS3425104    2,500   12,500                      1,000    6,300    5,575    22,300

100093371   019162099   SAM'S CLUB PHARMACY 10-4942           ELGIN        IL   60123          CHAIN           FS3438240              900      600     9,100    2,490     300     2,678    13,390

100091468   020140459   SIERRA BLANCA PHARMACY CPA           RUIDOSO       NM   88345       INDEPENDENT        FS3443809   18,200   10,700   17,600   15,100   13,600   15,800   15,167    91,000

100092299   044211243   STURGIS PHARMACY APSC                STURGIS       KY   42459       INDEPENDENT        FS3466833    8,100   12,300    9,100    9,800   14,200    5,000    9,750    58,500

100093349   037130807   SAM'S CLUB #4843                    PEARLAND       TX   77584          CHAIN           FS3476290     800      420      400      300     5,700     900     1,420     8,520

100099315   044219097   WALGREENS #15821           DSD     BONNE TERRE     MO   63628       WALGREENS          FS3488411            14,600   19,100   19,000   18,100   15,000   17,160    85,800

100099370   021170399   WALGREENS #15826           DSD         LINN        MO   65051       WALGREENS          FS3488536    5,100    8,100    7,500    8,000    8,000    5,400    7,017    42,100

100093891   044212340   WALGREENS #15824                   FARMINGTON      MO   63640       WALGREENS          FS3488550     200     9,100    8,700   10,900   12,700    8,000    8,267    49,600

100099314   044219089   WALGREENS #15822           DSD       DESLOGE       MO   63601       WALGREENS          FS3488625     300    22,900   21,200   26,100   29,400   21,000   20,150   120,900

100093890   044212332   WALGREENS #15825                   FARMINGTON      MO   63640       WALGREENS          FS3488649             8,600    9,700   10,600   15,200    9,100   10,640    53,200

100099237   044218347   WALGREENS #15827           DSD       SULLIVAN      MO   63080       WALGREENS          FS3488651             9,600   16,300   17,300   16,800    9,100   13,820    69,100

100099318   044219121   WALGREENS #15820           DSD       IRONTON       MO   63650       WALGREENS          FS3488699     200    13,400   16,600   18,600   19,000    9,500   12,883    77,300

100099317   044219113   WALGREENS #15823           DSD     FARMINGTON      MO   63640       WALGREENS          FS3488702            17,300   26,200   26,900   29,600   17,600   23,520   117,600

100092132   008040717   SENIOR CARE PHARMACY                   LODI        CA   95240     LONG TERM CARE       FS3491230   17,700   25,600   24,300   30,100   26,300   43,300   27,883   167,300

100097675   052222406   WALGREENS #15828           DSD      ELLISVILLE     MS   39437       WALGREENS          FS3492282   10,200   20,100   18,700   18,200   12,000    7,700   14,483    86,900

100099712   018398180   WALGREENS #15819           DSD       SEARCY        AR   72143       WALGREENS          FS3492319    5,500    9,600   10,600    9,200   12,100    3,000    8,333    50,000
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100095862   023146324   MILLYS PH WALGREENS #15829 DSD         CAMDEN         NJ   08105     WALGREENS         FS3492460    2,800    2,900    2,100    2,000    2,500    1,000    2,217    13,300

100094325   056033480   MILLY'S PHARMACY #15829 (340B)         CAMDEN         NJ   08105    PHS 340B CLINIC    FS3492460                                100                        100       100

100090957   052069971   PRICE DR CO (OPERATING AS)SF           EUFAULA        AL   36027     INDEPENDENT       FS3493169    1,000     100      100                                 400      1,200

100092425   044211276   STRAWBERRY HILLS AT DALLAS MED         PADUCAH        KY   42001     INDEPENDENT       FS3493614    2,000    2,000    3,500    3,000    2,000    3,500    2,667    16,000

100093358   021168732   SAM'S CLUB #4870                     KANSAS CITY      KS   66109        CHAIN          FS3500774              360      100      600      200      400      332      1,660

100093834   044212324   SACRAMENTO PHARMACY APSC             SACRAMENTO       KY   42372     INDEPENDENT       FS3526639   10,500   12,000   16,100   10,000   12,500    7,500   11,433    68,600

100093361   044212183   SAM'S CLUB PHARMACY 10-4875           WENTZVILLE      MO   63385        CHAIN          FS3527489              100                                 400      250       500

100093360   037130823   SAM'S CLUB #4874                      COVINGTON       LA   70433        CHAIN          FS3535854                                                  400      400       400

100090184   008109892   SAVCO PHARMACY                         SAN JOSE       CA   95128     INDEPENDENT       FS3539117    8,000    8,100   10,300   13,100    4,900    6,700    8,517    51,100

100093547   041145417   SAM'S CLUB PHARMACY 10-6458           LYNCHBURG       VA   24502        CHAIN          FS3546489              500              2,600                      1,550     3,100

100093260   052214890   GUY'S PHCY OF BROOKHAVEN CPA         BROOKHAVEN       MS   39601     INDEPENDENT       FS3567762    5,500    6,100    6,020    6,600    5,800    5,200    5,870    35,220

100094260   046043885   SUNSCRIPT PHARMACY                  PEMBROKE PINES    FL   33024     INDEPENDENT       FS3580607              100      200               200      100      150       600

100093001   018396333   SENIOR CARE PHARMACY OF TEXAS           PLANO         TX   75074   LONG TERM CARE      FS3583146   31,100   41,100   41,900   40,300   15,600   25,900   32,650   195,900

100093250   044211979   SUNFLOWER DISC PHCY           SF      RULEVILLE       MS   38771     INDEPENDENT       FS3587219   10,300   11,700   10,100    9,900   19,400    7,500   11,483    68,900

100104169   044219600   SUNFLOWER DISC PHCY 340B              RULEVILLE       MS   38771   PHS 340B HOSPITAL   FS3587219                      1,000                               1,000     1,000

100100554   008111997   EDEN MEDICAL CNT WAC                CASTRO VALLEY     CA   94546   PHS 340B HOSPITAL   FS3601209              200               450      500               383      1,150

100094263   023137398   SAM'S CLUB PHARMACY 10-6541           PRINCETON       NJ   08540        CHAIN          FS3603099                                 30                         30        30

100096505   046044024   ST JOSEPH PHARMACY                      TAMPA         FL   33604     INDEPENDENT       FS3629738    1,100     500      200     2,100              500      880      4,400

100096671   046044065   STAY WELL PHARMACY                   MIDDLEBURG       FL   32068     INDEPENDENT       FS3647154    3,500    3,000    3,000    2,600    4,500    3,400    3,333    20,000

100102280   018370627   WALGREENS #15361         DSD          PINE BLUFF      AR   71601     WALGREENS         FS3673250   13,680   27,160   22,200   24,140   27,200   14,500   21,480   128,880

100111173   021002013   MEDWELLRX           SF                  OMAHA         NE   68138     INDEPENDENT       FS3693721                               8,000     200              4,100     8,200

100100697   052222653   SAM'S PHARMACY 10-4871                 MERIDIAN       MS   39301        CHAIN          FS3695953     200      200      400      500              3,000     860      4,300

100103827   044219501   SAM'S CLUB PHARMACY 10-6377           JONESBORO       AR   72401        CHAIN          FS3697046             1,000     100     6,300                      2,467     7,400

100096784   023147504   SMITH'S PHARMACY                     PHILADELPHIA     PA   19140     INDEPENDENT       FS3715969    1,700     700     2,200     800     1,000     600     1,167     7,000

100096957   055037895   SUNSHINE FAMILY PHARMACY CPA            DUCK          NC   27949     INDEPENDENT       FS3729463    1,800    4,300     300     2,200    2,800             2,280    11,400

100096923   041152983   SCOTTSVILLE PHARMACY                 SCOTTSVILLE      VA   24590     INDEPENDENT       FS3734147    4,400    4,000    5,000    3,400    4,500    1,900    3,867    23,200

100096408   024112045   SAV- NOW PHARMACY                      EL MONTE       CA   91733     INDEPENDENT       FS3742512    2,100    2,000    1,200     800     1,500    1,200    1,467     8,800

100101317   018114058   SMITH FAMILY PHARMACY CPA              CONWAY         AR   72034     INDEPENDENT       FS3760104    6,000    4,000    3,500    4,600             2,590    4,138    20,690

100101338   025091165   STERLING PHCY #32        SF          WORTHINGTON      MN   56187   LONG TERM CARE      FS3789623    1,700    4,100    4,500    6,400     100     2,800    3,267    19,600

100104214   010235028   STULTZ PHCY WHEELERSBURG APSC       WHEELERSBURG      OH   45694     INDEPENDENT       FS3792935    4,300    4,800    5,200    5,300    3,600    2,900    4,350    26,100

100103995   055038406   SAM'S CLUB PHARMACY #10-6443         GOLDSBORO        NC   27534        CHAIN          FS3800667                       300     2,300              400     1,000     3,000

100104047   019180075   ST CATHERINE HOSP OP PHCY 340B       EAST CHICAGO     IN   46312   PHS 340B HOSPITAL   FS3814907    1,500    4,000    1,000    2,900    1,300    3,000    2,283    13,700

100104011   019180000   ST CATHERINE HOSP O/P PHCY WAC       EAST CHICAGO     IN   46312       HOSPITAL        FS3814907              100      200                                 150       300

100104125   004101584   SAINT VINCENT HOSP PHARM(RETL)       WORCESTER        MA   01608     INDEPENDENT       FS3816468     600               200      300     6,100    7,400    2,920    14,600

100103989   025091298   SAM'S CLUB PHARMACY #10-6510           MANKATO        MN   56001        CHAIN          FS3821015              100               800               200      367      1,100

100103996   025091330   SKRIPTS PHARMACY                     WEST FARGO       ND   58078        CHAIN          FS3825316     700     1,000     800      900     1,000    1,000     900      5,400

100104498   049194829   SAVERX DISCOUNT PHARMACY SF        DEARBORN HEIGHTS   MI   48125     INDEPENDENT       FS3838692    5,000    9,300    9,500   11,700   13,500             9,800    49,000

100104091   040120170   SGMC BERRIEN CAMPUS                   NASHVILLE       GA   31639       HOSPITAL        FS3854824              200      100      800      400      640      428      2,140

100104589   038110437   SAM'S CLUB PHARMACY 10-6425            CASPER         WY   82609        CHAIN          FS3860827                               3,600              100     1,850     3,700

100104376   055038711   SAM'S CLUB PHARMACY 10-4901            EASLEY         SC   29640        CHAIN          FS3920863     100      100      200      100      500               200      1,000

100106748   038110726   SAM'S CLUB PHARMACY 10-6430           CHEYENNE        WY   82009        CHAIN          FS3929049              200               700      500      900      575      2,300

100093023   008004291   SUTTER AMADOR SURGERY CENTER           JACKSON        CA   95642       HOSPITAL        FS3954422                                 50                         50        50

100104824   018403618   ST ANTHONY MIDTOWN PHCY WAC         OKLAHOMA CITY     OK   73102       HOSPITAL        FS3990339    5,200    3,800    9,500     500     7,100    5,400    5,250    31,500

100104823   018403600   ST ANTHONY MIDTOWN PHCY 340B        OKLAHOMA CITY     OK   73102   PHS 340B HOSPITAL   FS3990339    1,100                      2,000              500     1,200     3,600
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100104666   008116137   SHASTA LAKE DRG STORE INC CPA     SHASTA LAKE     CA   96019    INDEPENDENT      FS4018239   16,000   19,000   19,600    17,700   23,000   26,200   20,250   121,500

100104457   023152132   *SHOPRITE PHARMACY DEPT #534       LAWNSIDE       NJ   08045       CHAIN         FS4021971     100               100       300                        167       500

100105109   044220558   SAMS PHARMACY 10-4878             GLEN CARBON     IL   62034       CHAIN         FS4102000     600      700                500      500      600      580      2,900

100106818   020166256   PEAK BEHAVIORAL HLTH SERV(IPS)    SANTA TERESA    NM   88008   LONG TERM CARE    FS4106779              100      600                                  350       700

100105732   019183103   SAM'S CLUB 10-6602                ANCHORAGE       AK   99504       CHAIN         FS4132421                                1,000              100      550      1,100

100106679   032152280   SEA MAR COMM HEALTH CTR 340B        EVERETT       WA   98208   PHS 340B CLINIC   FS4138536     400      400      800      1,200     700      800      717      4,300

100105977   018328278   SAM'S PHARMACY 10-6267              EDMOND        OK   73034       CHAIN         FS4152372                       500                300      500      433      1,300

100105914   018326272   SAM'S CLUB PHARMACY 10-6245      HARKER HEIGHTS   TX   76548       CHAIN         FS4152447      30       30       30      1,000     800      400      382      2,290

100105937   055039479   SAM'S CLUB PHARMACY 10-6236        ROCK HILL      SC   29730       CHAIN         FS4155506                                                   700      700       700

100105990   019183368   SAM'S CLUB PHARMACY 10-6237       ROMEOVILLE      IL   60446       CHAIN         FS4156774                                 500               400      450       900

100105949   008017251   SUTTER TRACY COMM HSP OP             TRACY        CA   95376      HOSPITAL       FS4159592     600      800      300       600      500      400      533      3,200

100106736   021173674   SAM'S CLUB PHARMACY #6238           OWASSO        OK   74055       CHAIN         FS4170522     200                         600      100               300       900

100105947   055039495   SAM'S CLUB PHARMACY #10-4879         AIKEN        SC   29801       CHAIN         FS4173073                                3,300                      3,300     3,300

100107134   019184325   SMITH PHARMACY           SF       LITTLE CHUTE    WI   54140    INDEPENDENT      FS4188175    3,000    4,000    4,200     7,000    2,000    4,100    4,050    24,300

100106834   032152306   ST ANTHONY HOSPITAL                PENDLETON      OR   97801      HOSPITAL       FS4189874     800     2,200    1,300     2,400     820     1,420    1,490     8,940

100106737   018192922   SAM'S CLUB PHARMACY # 4911         MANSFIELD      TX   76063       CHAIN         FS4212394                       400      1,900              600      967      2,900

100106739   021173682   SAM'S CLUB PHARMACY # 10-8243       RAYMORE       MO   64083       CHAIN         FS4212407     200                         400      500     2,800     975      3,900

100106741   004102640   SAM'S CLUB PHARMACY 10-4903        FALL RIVER     MA   02720       CHAIN         FS4223448                                          100      400      250       500

100105994   040121087   ST JOSEPH'S HOSP ATLANTA INC        ATLANTA       GA   30342      HOSPITAL       FS4223614    3,500    2,300    2,600     3,100    3,600    3,700    3,133    18,800

100107136   025091884   STERLING DRUG#34 ASTRUP RX SF     NORTHFIELD      MN   55057    INDEPENDENT      FS4240785    1,300    1,300    1,400     1,400    1,700     700     1,300     7,800

100107381   018404277   SMITH DRUG AND COMPOUNDING CPA    HOT SPRINGS     AR   71913    INDEPENDENT      FS4245204   12,100    4,800    6,500    17,100   16,500   15,700   12,117    72,700

100109914   020166942   SAM'S PHARMACY 10-4856            CASA GRANDE     AZ   85194       CHAIN         FS4278847     100                         100               300      167       500

100107963   010237339   SAINT PARIS PHARMACY CPA           SAINT PARIS    OH   43072    INDEPENDENT      FS4281262    8,100    1,000    2,300     4,800    6,000     600     3,800    22,800

100107842   019185967   STERLING DRUG #35 SF                CRESCO        IA   52136    INDEPENDENT      FS4292657    9,000    9,500   24,100     3,500    5,500    2,800    9,067    54,400

100107847   018404491   SOONER PHCY OF OKLAHOMA LLC         SULPHUR       OK   73086    INDEPENDENT      FS4296427   15,600   14,100   20,200    19,100   11,100    9,100   14,867    89,200

100107794   017098434   ST ALPHONSUS MED CTR NAMPA I84       NAMPA        ID   83687      HOSPITAL       FS4297304     500      600      500      1,000    1,040              728      3,640

100109763   008118430   MEMORIAL HOSP LOS BANOS O/P        LOS BANOS      CA   93635      HOSPITAL       FS4313499    1,300    1,000    1,400     1,100    2,100     600     1,250     7,500

100107962   004103192   SAM'S CLUB 10-6681                  WARWICK       RI   02886       CHAIN         FS4333833     100                                           300      200       400

100091195   052072991   STARR REG MED CTR LLC #712          ETOWAH        TN   37331      HOSPITAL       FS4337665     300      200      100       400      340       80      237      1,420

100107270   023153585   SUNNY PHARMACY        CPA        CLIFFSIDE PARK   NJ   07010    INDEPENDENT      FS4341068              100      (400)     900               200      200       800

100107824   055044156   SAM'S CLUB 10-6571                 FLORENCE       SC   29501       CHAIN         FS4374699                                                   400      400       400

100108983   010237651   SELECT SPEC HOSP-COLUMBUS EST      COLUMBUS       OH   43205      HOSPITAL       FS4376198              100                                           100       100

100108852   018404665   SAM'S PHARMACY 10-4939            SAN ANTONIO     TX   78223       CHAIN         FS4376403              300                                 1,400     850      1,700

100109341   018404954   SHAVANO OAKS WESTOVER HILLS       SAN ANTONIO     TX   78251    INDEPENDENT      FS4387141   15,600   27,100   21,900    24,200   39,200   30,100   26,350   158,100

100107823   018404434   SAM'S CLUB 10-8239                  LAWTON        OK   73505       CHAIN         FS4387456                                 200      200      200      200       600

100109392   018404988   STONEGATE PHCY AT THE VILLAGE        AUSTIN       TX   78735    INDEPENDENT      FS4389234      -      1,000    2,300     4,500    2,000    2,100    1,983    11,900

100107810   020166405   SAM'S CLUB 10-4914                SAN ANTONIO     TX   78259       CHAIN         FS4394362      20                20      4,900     900      400     1,248     6,240

100109343   018404962   SHAVANO OAKS PHCY @ BROOKS        SAN ANTONIO     TX   78235    INDEPENDENT      FS4398118   11,500   14,500   15,000    18,300   13,000   14,400   14,450    86,700

100109551   008118356   SAM'S PHARMACY 10-6612             CONCORD        CA   94520       CHAIN         FS4398904    1,500     200     1,800      800      500     1,000     967      5,800

100109379   021176032   THE PRESCRIPTION PAD PHCY CPA     MONTICELLO      AR   71655    INDEPENDENT      FS4409531   10,300    9,700   12,300    11,100    8,000    8,500    9,983    59,900

100109428   025092189   SAM'S PHARMACY 10-6278             MOORHEAD       MN   56560       CHAIN         FS4413910     200                                  500     1,500     733      2,200

100109142   021175182   SELECT SPECIAL HOSP-DES MOINES     DES MOINES     IA   50314      HOSPITAL       FS4421880              200                550      200               317       950

100109432   019186734   *SELECT SPECIALTY HOSP-OSHKOSH      OSHKOSH       WI   54904      HOSPITAL       FS4423682              100      200                                  150       300

100109243   037135202   SAM'S PHARMACY 10-6269             HARLINGEN      TX   78550       CHAIN         FS4425939                                                   200      200       200
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100109337   021175745   CORNERSTONE HOSP OF OK PHCY      BROKEN ARROW     OK   74012       HOSPITAL        FS4433544     700      700      700      1,400     560     660     787     4,720

100109805   020166934   ST. JOSEPH'S WESTGATE SHIP TO      GLENDALE       AZ   85305       HOSPITAL        FS4453875                       200       400      400     200     300     1,200

100109150   018404863   SCOTT'S QUITMAN PHARMACY CPA        QUITMAN       TX   75783     INDEPENDENT       FS4467076   13,800            2,000      4,600    4,500   4,500   5,880   29,400

100110302   021176636   SAM'S CLUB PHARMACY 10-6275         WICHITA       KS   67205        CHAIN          FS4475922                                                  300     300      300

100109141   021175174   SELECT SPECIALTY HOSP-LINCOLN       LINCOLN       NE   68506       HOSPITAL        FS4492459     200               100       300      200     200     200     1,000

100109907   021176313   GASHLAND PHARMACY                 KANSAS CITY     MO   64155     INDEPENDENT       FS4496128    2,300              100      1,500    1,500   1,500   1,380    6,900

100086022   055026179   *SENTARA ALBEMARLE RMC PCY(GPO   ELIZABETH CITY   NC   27909       HOSPITAL        FS4529838     500      900                                         700     1,400

100052001   008056424   ST MARY PRESCRIPTION PHCY CPA    SAN FRANCISCO    CA   94117   LONG TERM CARE      FS4545630    8,000   13,500   3,000      8,700    9,700   1,800   7,450   44,700

100110761   032153239   SUNRIVER PHARMACY                  SUNRIVER       OR   97707     INDEPENDENT       FS4546389                       500      1,900                    1,200    2,400

100110143   021176529   SAM'S PHARMACY 10-6247            KANSAS CITY     MO   64158        CHAIN          FS4566468    1,200     500               1,300    1,600   1,500   1,220    6,100

100093739   018396564   SAM'S PHARMACY 10-8210             BURLESON       TX   76028        CHAIN          FS4566634                               18,200             300    9,250   18,500

100109994   023161224   *SHOPRITE PHARMACY #741           DOYLESTOWN      PA   18901        CHAIN          FS4568765                       800                                800      800

100110359   019188060   SAM'S CLUB PHARMACY 10-6388       MONTGOMERY      IL   60538        CHAIN          FS4650203             1,000   (1,000)    2,000                     667     2,000

100110944   010000347   SOMC PHARMACY WEST UNION WAC      WEST UNION      OH   45693       HOSPITAL        FS4669896                                3,100     200     300    1,200    3,600

100110475   052225102   SAM'S CLUB PHARMACY 10-4836         OXFORD        AL   36203        CHAIN          FS4672350             1,600   (1,000)    1,200                     600     1,800

100110784   018406132   SAM'S CLUB PHARMACY 10-8288         MIDLAND       TX   79706        CHAIN          FS4672704                     1,300                        500     900     1,800

100110638   018405928   SAM'S CLUB PHARMACY 10-4109       BOSSIER CITY    LA   71111        CHAIN          FS4710768                     1,500      8,400             400    3,433   10,300

100110726   019188177   SAM'S CLUB PHARMACY 10-4061         MOLINE        IL   61265        CHAIN          FS4748349                       100                                100      100

100110736   040122820   SGMC LANIER CAMPUS                 LAKELAND       GA   31635       HOSPITAL        FS4762072                                 700       -              350      700

100110595   038111203   SALUD PHCY COMMERCECITY340B      COMMERCE CITY    CO   80022    PHS 340B CLINIC    FS4774801                     1,700       500     1,000   3,000   1,550    6,200

100110544   038110999   SALUD PHARMACY COMMERCE CITY     COMMERCE CITY    CO   80022     INDEPENDENT       FS4774801                     1,300      1,200            1,000   1,167    3,500

100110970   038000378   SALUD PHCY LONGMONT 340B           LONGMONT       CO   80501    PHS 340B CLINIC    FS4775500                                         2,000   3,000   2,500    5,000

100110920   038000326   SALUD PHARMACY LONGMONT            LONGMONT       CO   80501     INDEPENDENT       FS4775500                                         1,400   2,100   1,750    3,500

100110947   038000353   SALUD PHCY BRIGHTON 340B           BRIGHTON       CO   80601    PHS 340B CLINIC    FS4778455                                1,700     500     500     900     2,700

100110914   038000325   SALUD PHARMACY BRIGHTON            BRIGHTON       CO   80601     INDEPENDENT       FS4778455                                1,200     500     900     867     2,600

100110895   004000297   SEASIDE PHARMACY         SF       STONINGTON      ME   04681     INDEPENDENT       FS4783898                                1,700    2,200    200    1,367    4,100

100110760   023162230   SAM'S CLUB PHARMACY 10-6533      STATE COLLEGE    PA   16801        CHAIN          FS4786717                                 300              300     300      600

100110880   023000285   ST. JOSEPH AMBULATORY PHCY          READING       PA   19605       HOSPITAL        FS4787721                                2,600            1,300   1,950    3,900

100111170   010002002   SISTERSVILLE PHARMACY APSC        SISTERSVILLE    WV   26175     INDEPENDENT       FS4801963                                                 9,000   9,000    9,000

100110995   038001820   SALUD PHARMACY FORT COLLINS       FORT COLLINS    CO   80524     INDEPENDENT       FS4803563                                                 2,600   2,600    2,600

100111032   038001906   SALUD PHMCY FORT COLLINS 340B     FORT COLLINS    CO   80524    PHS 340B CLINIC    FS4803563                                                 2,100   2,100    2,100

100110942   021000345   SAM'S CLUB PHARMACY 10-6181        PAPILLION      NE   68133        CHAIN          FS4821775                                 200              700     450      900

100110732   010238816   SELECT SPEC-YOUNGSTWN BOARDMN      BOARDMAN       OH   44512       HOSPITAL        FS4822210                                 150              260     205      410

100111167   055002001   SWAIN COUNTY HOSP-MAIN PHCY       BRYSON CITY     NC   28713       HOSPITAL        FS4825331                                                  800     800      800

100110733   018406116   SELECT SPEC HSP-DALLAS GARLAND     GARLAND        TX   75042       HOSPITAL        FS4825761                                          900             900      900

100110745   018406124   SELECT SPEC HSP-DALLAS DOWNTWN      DALLAS        TX   75246       HOSPITAL        FS4825848                                1,200    1,000   1,000   1,067    3,200

100111306   037002161   SAM'S CLUB PHARMACY 10-6867        RICHMOND       TX   77407        CHAIN          FS4862783                                                  300     300      300

100111321   008002169   SUTTER SANTA ROSA REG HOSP        SANTA ROSA      CA   95403       HOSPITAL        FS4865626                                         1,200    700     950     1,900

100111094   055001935   SWEETGRASS PHCY & COMP LLC CPA    MT PLEASANT     SC   29464     INDEPENDENT       FS4892623                                                 1,200   1,200    1,200

100057183   010000844   SOUTHERN OHIO MED CTR EMP 340B    PORTSMOUTH      OH   45662   PHS 340B HOSPITAL   FS4908589    5,200    7,300   6,400      3,100    2,100   1,900   4,333   26,000

100107140   010236976   SOMC EMPLOYEE WAC                 PORTSMOUTH      OH   45662       HOSPITAL        FS4908589    1,600    1,900   3,000      4,000    6,120   3,440   3,343   20,060

100111357   023002206   SAM'S CLUB PHARMACY 10-4994      MECHANICSBURG    PA   17050        CHAIN          FS4909985                                                  200     200      200

100056805   044067272   SMITH DRUG & HOME MED, INC SF     BOONEVILLE      MS   38829     INDEPENDENT       FS4911257   10,500    8,600   7,500     11,600   11,000   3,500   8,783   52,700

100111528   008000548   SEQUOIA PROMPT CARE-AKERS           VISALIA       CA   93277       HOSPITAL        FS4928377                                                  100     100      100
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100060156   044070607   THE HATCHIE PHARMACY                 BOLIVAR        TN   38008    INDEPENDENT      FT0007561   12,000   13,500   13,600   12,500    8,000    5,500   10,850    65,100

100085776   040103804   TOMLINSON PHARMACY        CPA         DUBLIN        GA   31021    INDEPENDENT      FT0017536    5,000    2,500    5,000    4,600    3,100    5,500    4,283    25,700

100091350   010225896   KINDRED HOSP OF CENTRAL OH          MANSFIELD       OH   44903      HOSPITAL       FT0128884     200      100      500                        200      250      1,000

100106501   055041038   THREE RIVERS BEHAVIORAL           WEST COLUMBIA     SC   29169      HOSPITAL       FT0180098     200      200               300      100      300      220      1,100

100084871   046034884   TOWN PHARMACY, INC                 NORTH PORT       FL   34287    INDEPENDENT      FT0180858    6,100    6,600    6,300    6,000    6,500    2,500    5,667    34,000

100105831   018403691   TEXOMA MEDICAL CENTER                DENISON        TX   75020      HOSPITAL       FT0200509    4,000    6,600    4,600    4,400    6,600    2,000    4,700    28,200

100105841   018403758   TMC BEHAVIORAL HEALTH CENTER        SHERMAN         TX   75092      HOSPITAL       FT0200511     500      400      500      700      300      380      463      2,780

100087321   010214353   THE PHARMACY SHOP APSC              LEXINGTON       KY   40503    INDEPENDENT      FT0313370    2,000    6,000    1,500    3,000    1,500    2,500    2,750    16,500

100073907   023108985   TWIN CITY PHARMACY CPA           SOUTH PLAINFIELD   NJ   07080    INDEPENDENT      FT0418904    1,600    1,800    3,400    1,600    5,400     500     2,383    14,300

100091343   037129742   KINDRED HOSPITAL TOWN&COUNTRY       HOUSTON         TX   77043      HOSPITAL       FT0458706     500     1,100     800      800      820      360      730      4,380

100084750   041135319   OBICI AMB SURG CTR LLC               SUFFOLK        VA   23434      HOSPITAL       FT0494055                       100                                 100       100

100055288   032071084   TACOMA MEDICAL CTR PHCY              TACOMA         WA   98405    INDEPENDENT      FT0569674     500     1,500     500     1,500    1,000     500      917      5,500

100070361   018140715   TARRANT COUNTY SURGERY CTR HCA      ARLINGTON       TX   76015      HOSPITAL       FT0579168     100                                  80                90       180

100071295   040140236   EVANS SURGERY CENTER      #712        EVANS         GA   30809      HOSPITAL       FT0579500                       100                                 100       100

100054227   017004614   APOTHECARY SHOPPE, THE /G         SALT LAKE CITY    UT   84102    INDEPENDENT      FT0720486    8,800    9,100    9,600    7,600   10,300    6,600    8,667    52,000

100106479   046059303   RIVER POINT BEHAVIORAL HEALTH     JACKSONVILLE      FL   32216      HOSPITAL       FT0725044     400      300      300      400      460      200      343      2,060

100069407   012110122   THE CORNER DRUG STORE                 HEMET         CA   92544    INDEPENDENT      FT0750059    2,500    4,800    4,100    8,660    9,300   13,160    7,087    42,520

100091355   040114405   KINDRED HOSPITAL ROME                 ROME          GA   30165      HOSPITAL       FT0825767     400      400      600      900      800      600      617      3,700

100073552   008013607   TRI-CITY PHARMACY                    MILPITAS       CA   95035   LONG TERM CARE    FT0897504                      1,000                               1,000     1,000

100070789   044103358   TURENNE PHARMED CO, INC TN          NASHVILLE       TN   37214   LONG TERM CARE    FT1193060   19,000   23,000   20,100   18,900   19,380   15,400   19,297   115,780

100067833   046115196   TURNER BROTHERS, INC               CELEBRATION      FL   34747    INDEPENDENT      FT1236909    2,500    2,600    1,500    1,600    3,200    4,600    2,667    16,000

100068052   012070987   TLC XPRESS PHARMACY              FOUNTAIN VALLEY    CA   92708    INDEPENDENT      FT1283718               -       100              1,000              367      1,100

100067361   049178053   THUNDER BAY PHCY ONAWAY 340B         ONAWAY         MI   49765   PHS 340B CLINIC   FT1380839    7,000    8,600    9,700    3,600    4,600    6,200    6,617    39,700

100067427   049178061   THUNDER BAY PHCY ONAWAY/RETSF        ONAWAY         MI   49765    INDEPENDENT      FT1380839    2,500    2,000    2,500    1,500    4,000    4,200    2,783    16,700

100071280   019143560   THE PHARMACY STOP MED CTR CPA        OTTAWA         IL   61350    INDEPENDENT      FT1386855    6,600    8,500    5,100    4,100    8,800    6,800    6,650    39,900

100070210   041121731   TOTAL HLTH CARE IN(NORTH 340B)      BALTIMORE       MD   21217   PHS 340B CLINIC   FT1389988              100                        100               100       200

100070211   041121749   TOTAL HEALTHCARE INC(LIB 340B)      BALTIMORE       MD   21215   PHS 340B CLINIC   FT1390044                       100               200      300      200       600

100070212   041121756   TOTAL HLTH CARE INC(KIRK 340B)      BALTIMORE       MD   21218   PHS 340B CLINIC   FT1390082     300               500                                 400       800

100088613   037127688   RECEPT PHARMACY #31                 HOUSTON         TX   77027    INDEPENDENT      FT1421685   26,300   16,900   17,100   14,500   20,100   25,300   20,033   120,200

100068503   049177998   THE DR STORE OF PERRYSBURG SF      PERRYSBURG       OH   43551    INDEPENDENT      FT1427473     300      200      500      500                        375      1,500

100067848   041121806   TSCHIFFELY PHCY OF K STREET(Z)     WASHINGTON       DC   20006    INDEPENDENT      FT1443617     800     1,700    1,300    1,900    3,700     200     1,600     9,600

100067982   021124099   THE DOWNTOWN DR STORE, LLC CPA     TONGANOXIE       KS   66086    INDEPENDENT      FT1447677    4,700    5,700    6,800    6,200    4,200    3,600    5,200    31,200

100072078   041121848   TOTAL HLTH CARE(DIV ST 340B)X)      BALTIMORE       MD   21217   PHS 340B CLINIC   FT1477125     200      200      300      100      100      400      217      1,300

100072077   041121830   TOTAL HEALTH CARE INC(DIV ST)X      BALTIMORE       MD   21217      ALT SITE       FT1477125                       100                                 100       100

100069602   056090282   THE READING HOSP POST ACUTE        WYOMISSING       PA   19610      HOSPITAL       FT1657557     500      800      600      700      240      900      623      3,740

100069259   037140343   THE REG MED CNTR ACADIANA #712      LAFAYETTE       LA   70506      HOSPITAL       FT1674767    1,900    1,400     900     1,700    2,340    1,120    1,560     9,360

100067502   041123992   TYSONS PHARMACY(Z)                   VIENNA         VA   22180    INDEPENDENT      FT1676901     900     2,600    3,200     900     2,700     500     1,800    10,800

100085644   023103481   TRINITY SPECIALTY PHARMACY         ALLENTOWN        PA   18104   LONG TERM CARE    FT1706982     300      200      200      700      160     1,660     537      3,220

100091354   056056143   KINDRED HOSP SO. PA(ST. AGNES)     PHILADELPHIA     PA   19145      HOSPITAL       FT1740667     100      100               300               100      150       600

100074626   055176164   THE VILLAGE APOTHECARY INC CPA   WHISPERING PINES   NC   28327    INDEPENDENT      FT1746265    2,600    3,800    3,200    4,000    7,900    1,500    3,833    23,000

100075311   049178467   THE PHARMACY COUNTER LLC #2          OREGON         OH   43616    INDEPENDENT      FT1780332    8,100    9,100    6,900    4,900    7,500    8,000    7,417    44,500

100075313   049178483   THE PHARMACY COUNTER LLC #3          TOLEDO         OH   43614    INDEPENDENT      FT1780344    7,000    9,300    6,900    8,400    7,900    7,300    7,800    46,800

100075314   049178491   THE PHARMACY COUNTER LLC #1          TOLEDO         OH   43606    INDEPENDENT      FT1780356    7,100    8,500    6,100    8,100    6,600    6,500    7,150    42,900

100074812   023114140   TRINITY PHCY SVCS LEHIGH VALLY     BETHLEHEM        PA   18017   LONG TERM CARE    FT1793947    4,400    4,000    2,200   30,300    2,300    2,600    7,633    45,800
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100067008   055143610   TRIANGLE PHCY AND HOME MED CPA   WEST COLUMBIA     SC   29169     INDEPENDENT       FT1809358    2,500    3,000    2,000    6,000     2,600    1,300    2,900    17,400

100067434   023113688   TOWNSHIP PHARMACY(Z)(GNP)          SOMERSET        NJ   08873     INDEPENDENT       FT1820439     600     1,200     900     1,300               200      840      4,200

100087550   010217026   THE CHRIST HOSP SURG CTR           CINCINNATI      OH   45227       HOSPITAL        FT1822522              100                                           100       100

100087472   023112458   SIRISHA PHARMACY        CPA          BRONX         NY   10467     INDEPENDENT       FT1827091     300      300      300     1,000      300               440      2,200

100091344   037129759   KINDRED HOSPITAL THE HEIGHTS        HOUSTON        TX   77008       HOSPITAL        FT1864936     800      800      400      800       600               680      3,400

100075806   040126177   THE PHARMACY AT EMORY (A)           ATLANTA        GA   30322       HOSPITAL        FT1879090    4,900    4,900    6,100    3,630     4,100    3,100    4,455    26,730

100055279   032070490   SAINT ALPHONSUS MED CTR BAKER      BAKER CITY      OR   97814       HOSPITAL        FT1882023     500     1,100    1,600    1,000     2,300     500     1,167     7,000

100054247   017039024   SAINT ALPHONSUS MEDICAL CENTER      ONTARIO        OR   97914       HOSPITAL        FT1882263     800     2,750     900     1,200     2,220     880     1,458     8,750

100075815   041129825   TOTAL HEALTHCARE INC(SARA340B)     BALTIMORE       MD   21223    PHS 340B CLINIC    FT1910113     100               200      100                200      150       600

100074597   010195008   TOTAL PHCY CARE OF BELFRY CPA        BELFRY        KY   41514     INDEPENDENT       FT1948580   26,000   28,200   37,300   33,200    32,000   18,900   29,267   175,600

100090305   010224956   THE JEWISH HOSPITAL IP             CINCINNATI      OH   45236       HOSPITAL        FT1958492     800     1,000    1,300    1,200     1,280    1,780    1,227     7,360

100090306   010224964   THE JEWISH HOSPITAL OP             CINCINNATI      OH   45236       HOSPITAL        FT1958492    1,200    2,500     800      700                        1,300     5,200

100075932   046176180   TALLAHASSEE MEDICAL CTR              QUINCY        FL   32353       HOSPITAL        FT1985564              100                                  300      200       400

100083360   049179549   TLC PHCY           SF              DEARBORN        MI   48124     INDEPENDENT       FT1996199   20,700   24,000   23,700   23,100    26,800   13,500   21,967   131,800

100074664   032203604   TALLMANS PHARMACY                 WALLA WALLA      WA   99362     INDEPENDENT       FT2009492   14,100   15,600   16,100   14,600    16,100   15,000   15,250    91,500

100075375   049178947   TAYLER PRESCRIPTIONS               FARMINGTON      MI   48336     INDEPENDENT       FT2024797    4,300    4,500    4,500    5,500     6,000    4,500    4,883    29,300

100074801   038808527   THE SALUD PHARMACY 340B           FORT LUPTON      CO   80621    PHS 340B CLINIC    FT2046678    7,500    7,700    4,100    5,100     2,300    4,600    5,217    31,300

100074800   038808519   THE SALUD PHARMACY                FORT LUPTON      CO   80621     INDEPENDENT       FT2046678    5,500    3,900    4,800    2,900     2,400    2,200    3,617    21,700

100074907   012110783   TC MEDICAL PHARMACY CORP            CORONA         CA   92882     INDEPENDENT       FT2132378    1,500    3,600    4,000                                3,033     9,100

100083880   046032821   TRUST PHARMACY, LLC.              PALM HARBOR      FL   34684     INDEPENDENT       FT2211693    7,000    6,000    6,300    4,500     6,600    5,100    5,917    35,500

100086003   018195198   TACKETT'S SUPER SAVE PHARMACY     WEATHERFORD      TX   76086     INDEPENDENT       FT2266004   25,900   29,600   27,000   23,600    36,550   17,700   26,725   160,350

100084062   044188904   TROUSDALE MEDICAL CTR LLC #712     HARTSVILLE      TN   37074       HOSPITAL        FT2269529     150      300      300      600                280      326      1,630

100083496   018180828   TOTAL CARE PHCY & COMPOUND CPA       IRVING        TX   75062     INDEPENDENT       FT2325353    1,000    1,500    1,000    2,500     1,500             1,500     7,500

100085295   032137976   TUALATIN PHARMACY                   TUALATIN       OR   97062     INDEPENDENT       FT2365143    2,000    2,100    1,000    1,100     2,000    1,100    1,550     9,300

100084568   012089292   TRINITY MISSION PHARMACY INC.    FOUNTAIN VALLEY   CA   92708     INDEPENDENT       FT2371831    3,800     100      100     8,300      500              2,560    12,800

100085095   018192765   AVELLA OF AUSTIN                     AUSTIN        TX   78705     MAIL SERVICE      FT2424466     300      500      300      200                         325      1,300

100084476   018183533   TEXAS STAR PHARMACY II    CPA        PLANO         TX   75024     INDEPENDENT       FT2476542     600     3,500    3,000   (1,000)    6,200             2,460    12,300

100111412   052000417   TPB, LLC (EXPRESS MEDS)   CPA       CULLMAN        AL   35058     INDEPENDENT       FT2492988                                                  7,500    7,500     7,500

100086038   018195180   TRINITY NORTH PHARMACY             THE COLONY      TX   75056     INDEPENDENT       FT2514176    6,700    6,300    8,600    6,200     6,800    5,200    6,633    39,800

100086819   010213611   CCF TWINSBURG ASC                  TWINSBURG       OH   44087       HOSPITAL        FT2534940                       100      100                100      100       300

100090037   032143388   PRESCRIPTION PAD PHARM NO WAC        RENTON        WA   98055       HOSPITAL        FT2606018    3,800    4,700    4,100    5,300     8,900    4,200    5,167    31,000

100090036   032143370   PRESCRIPTION PAD PHARM NO 340B       RENTON        WA   98055   PHS 340B HOSPITAL   FT2606018    5,000             1,100    2,200     1,100    3,800    2,640    13,200

100086686   044203810   THE PILL PEDDLER PHCY CPA           OSCEOLA        AR   72370     INDEPENDENT       FT2646036   41,900   38,200   42,100   40,500    48,400   17,200   38,050   228,300

100087296   010214288   TRINITY HOSPITAL TWIN CITY          DENNISON       OH   44621       HOSPITAL        FT2653156     200      200      150      300       200      400      242      1,450

100086865   049184796   THE PHARMACY COUNTER LLC             TOLEDO        OH   43606     INDEPENDENT       FT2664109     700     1,000     300      (100)     600               500      2,500

100087281   018197509   TRUCARE PHARMACY LLC CPA           VAN BUREN       AR   72956   LONG TERM CARE      FT2719562    7,000   10,200    6,500    9,100     8,200   10,000    8,500    51,000

100088259   049186510   TOWN PHARMACY      APG              DETROIT        MI   48209     INDEPENDENT       FT2805161                                          500     1,000     750      1,500

100091982   046042739   THE CIRCLE PHARMACY               MIAMI SPRINGS    FL   33166     INDEPENDENT       FT2888925     800      500      100                500     1,100     600      3,000

100088399   012101774   TRU CARE PHARMACY (MHA)            BUENA PARK      CA   90621     INDEPENDENT       FT2922880    4,100     500      500      200      1,000     500     1,133     6,800

100088265   018201632   TOTAL PHARMACY ENNIS      CPA       GARLAND        TX   75042     INDEPENDENT       FT2974409    6,060    7,120    7,160    8,060     2,080    4,000    5,747    34,480

100088999   018203984   TEXAS GENERAL HOSPITAL            GRAND PRAIRIE    TX   75051       HOSPITAL        FT2995085     100      100               400                 80      170       680

100088835   032142380   TRI-AREA PHARMACY LLC             PORT HADLOCK     WA   98339     INDEPENDENT       FT3021817    6,600    5,200    6,900    6,800    11,800    8,200    7,583    45,500

100090838   023136119   TRINITY PHARMACY SERV(NEWPORT)      NEWPORT        PA   17074   LONG TERM CARE      FT3032783    4,600    3,100    4,000   10,000     3,200    3,000    4,650    27,900

100092320   046042937   THE PHARMACY STORE                   APOPKA        FL   32703     INDEPENDENT       FT3439367    5,700    7,200    6,600   13,400     3,000    1,000    6,150    36,900
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100092487   037130302   THE HEIGHTS PHARMACY                    HOUSTON       TX   77007        CHAIN          FT3511157   15,800    18,900   17,100   18,300    18,000   14,700   17,133    102,800

100092520   044211292   TRICARE PHARMACY, LLC APSC              GALLATIN      TN   37066     INDEPENDENT       FT3512375    1,600      600     3,500    3,100     3,200             2,400     12,000

100092765   041144899   TOTAL HLTH CARE INC (WASH 340B         BALTIMORE      MD   21230   LONG TERM CARE      FT3564413     500       800      400      500                         550       2,200

100092765   041144899   TOTAL HLTH CARE INC (WASH 340B         BALTIMORE      MD   21230    PHS 340B CLINIC    FT3564413                                           600     1,300     950       1,900

100092760   041144881   TOTAL HLTH CARE INC (WASH VILL         BALTIMORE      MD   21230   LONG TERM CARE      FT3564413               100      300      300       300      300      260       1,300

100093040   024108159   THOUSAND OAKS SURG HOSP #793         THOUSAND OAKS    CA   91361       HOSPITAL        FT3647421     800               1,500               240      240      695       2,780

100100582   046044578   THRIFTY DISCOUNT PHARMACY              MELBOURNE      FL   32901     INDEPENDENT       FT3671117    1,300      600     2,000    1,900     1,700    2,700    1,700     10,200

100066294   008030742   CSU CALIFORNIA MARITIME ACADMY          VALLEJO       CA   94590       ALT SITE        FT3688617                                  30                          30         30

100096376   010233361   TRIHEALTH EVANDALE HOSP                CINCINNATI     OH   45241       HOSPITAL        FT3697755               200               600                         400        800

100096700   018397455   TRAIL CREEK PHARMACY                    BEDFORD       TX   76022     INDEPENDENT       FT3709702    5,100     4,700    4,500    6,300     4,500    5,000    5,017     30,100

100103890   004101451   THE SPAULDING HOSPITAL CORPCNY        CHARLESTOWN     MA   02129       HOSPITAL        FT3743754                        100      200                         150        300

100093920   018397265   THE DRUG SHOP            CPA            COMFORT       TX   78013     INDEPENDENT       FT3746952    8,600    10,500   11,300    7,400     4,100    3,000    7,483     44,900

100105693   049194910   THE PHARMACY COUNTER, LLC               TOLEDO        OH   43606     INDEPENDENT       FT3757462    2,800     2,400    8,000   (6,200)                      1,750      7,000

100104112   055038539   TAR HEEL DRUG LTC, LLC                  GRAHAM        NC   27253   LONG TERM CARE      FT3815098     500       500     1,000     500      1,000     500      667       4,000

100109080   023159772   SIP PHARMACY                           JERSEY CITY    NJ   07306     INDEPENDENT       FT3821394     300       300                                           300        600

100104137   019180877   MEXICARE PHARMACY III CPA               CHICAGO       IL   60629     INDEPENDENT       FT3843566    1,000                        500       700               733       2,200

100104929   010235465   THOMPSON'S PHY APSC                   HARRODSBURG     KY   40330     INDEPENDENT       FT3879484    7,200     6,500   18,600   16,300    12,200    1,400   10,367     62,200

100104208   037133462   THE PILL BOX PHCY #003 (5674)          ALEXANDRIA     LA   71301     INDEPENDENT       FT3898648     (100)                                                   (100)      (100)

100104286   040120220   THE MEDICAL CTR OF PEACH CNTY            BYRON        GA   31008       HOSPITAL        FT3901192     400       300      800      200       200      800      450       2,700

100104939   012026351   TRU CARE PHARMACY                       ANAHEIM       CA   92801     INDEPENDENT       FT3999236    3,300     2,000    4,200    5,300     3,700             3,700     18,500

100104879   019181982   THE PHARMACY OF DUPAGE MED GRP            LISLE       IL   60532       HOSPITAL        FT4007123     400       600      800      700      1,200    1,130     805       4,830

100109081   021175158   TOLSON DRUG INC     SF               JEFFERSON CITY   MO   65101     INDEPENDENT       FT4062573                                          3,100             3,100      3,100

100105842   012096545   TEMECULA VALLEY HOSPITAL               TEMECULA       CA   92592       HOSPITAL        FT4097336     500      1,100    1,000     800       700      640      790       4,740

100105865   040121020   THE MEDICAL CTR, INC.JBACC PHS         COLUMBUS       GA   31904   PHS 340B HOSPITAL   FT4098720     100                                                     100        100

100106103   049195024   THE PHARMACY COUNTER LLC                TOLEDO        OH   43606     INDEPENDENT       FT4136013    7,100     4,900    4,000    4,700     2,900    5,600    4,867     29,200

100105005   018114454   THURMAN'S PRO-MED PHARMACY CPA       MOUNT PLEASANT   TX   75455     INDEPENDENT       FT4208042    7,500    10,520   13,940   19,500    30,480    4,000   14,323     85,940

100109808   021176271   TULSA-AMG SPECIALTY HOSP, LLC            TULSA        OK   74137       HOSPITAL        FT4289369     400       700      600     1,100      760               712       3,560

100108730   008116970   LOYALTY PHARMACY CPA                  CHOWCHILLA      CA   93610     INDEPENDENT       FT4313475     400       500               (200)    6,300    1,200    1,640      8,200

100109017   008117630   LOYALTY PHARMACY 340B                 CHOWCHILLA      CA   93610    PHS 340B CLINIC    FT4313475               200      500      500                         400       1,200

100108900   018404681   MED CTR OF PLANO FSED #712               PLANO        TX   75025       HOSPITAL        FT4377520                                 250                         250        250

100110315   040122440   THE MEDICAL CTR OUTPTNT PHCY           COLUMBUS       GA   31901     INDEPENDENT       FT4419176             10,800    9,700    9,400     8,600    5,100    8,720     43,600

100109815   010238113   THE PHARMACY APSC                     CABIN CREEK     WV   25035     INDEPENDENT       FT4457683    2,400     8,300    2,000    1,500              2,000    3,240     16,200

100109785   021176255   THE APOTHECARY SHOP                     PENDER        NE   68047     INDEPENDENT       FT4463991    5,000     8,000    5,300    6,300     4,700    7,000    6,050     36,300

100109444   044221275   THE MARVELL PHARMACY INC CPA            MARVELL       AR   72366     INDEPENDENT       FT4474590    6,300     1,000    2,000   (1,800)    6,200    1,000    2,450     14,700

100110042   012113688   OC PHARMACY                           WESTMINSTER     CA   92683     INDEPENDENT       FT4519875               200                                           200        200

100110026   004103622   V & S VARIETY PHARMACY                STONINGTON      ME   04681     INDEPENDENT       FT4535336    1,500     5,500    3,000    5,700     1,900     600     3,033     18,200

100110484   018405845   TEXAS RX PHARMACY          CPA           PLANO        TX   75093     INDEPENDENT       FT4540630              5,700   28,700   14,900    30,600   23,100   20,600    103,000

100110215   019187963   TOMAHAWK PHARMACY LLC CPA              TOMAHAWK       WI   54487     INDEPENDENT       FT4554603              2,100    3,500    2,000     5,800    4,700    3,620     18,100

100110592   010238683   TAYLOR DRUG STORE APSC                  PINEVILLE     KY   40977     INDEPENDENT       FT4608456                      12,200   20,760    24,000   21,800   19,690     78,760

100076586   055040139   NOVANT HLTH CLT ORTHOPEDIC HSP         CHARLOTTE      NC   28207       HOSPITAL        FT4618433    1,200      800     1,300     500      1,720    4,200    1,620      9,720

100111347   032002195   THE NATIVE PROJECT       340B           SPOKANE       WA   99201    PHS 340B CLINIC    FT4858823                                                    600      600        600

100111439   038000441   THE PHCY AT ST MICHAELS         SF      GREELEY       CO   80634     INDEPENDENT       FT4883232                                                    100      100        100

100071452   017140137   SOUTHTOWN SURGERY CENTER #712            SANDY        UT   84070       HOSPITAL        FU0096582                                                     80       80         80

100106435   041153882   UHS OF DOVER, LLC                        DOVER        DE   19901       HOSPITAL        FU0165058     300       100      100      200                         175        700
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100069859   040113787   PRUITTHLTH PHCY SVS ATLANTA         NORCROSS       GA   30093     LONG TERM CARE       FU0347701     200      500      700      400     1,100              580      2,900

100106511   020166132   EL PASO BEHAVIORIAL HEALTH SYS       EL PASO       TX   79902         HOSPITAL         FU0426482    1,100    1,200     400     1,100     800     2,100    1,117     6,700

100076141   025040154   UNITY FAMILY HEALTHCARE O/P        LITTLE FALLS    MN   56345         HOSPITAL         FU0457956     600               600     1,000              500      675      2,700

100072910   010121723   UK NO FORK VALLEY HAZARD 340B        HAZARD        KY   41701      PHS 340B CLINIC     FU0546373   10,200   11,200    9,800   12,400    2,000    8,700    9,050    54,300

100072907   010121707   UK NO FORK VALLEY COMM HLTH CT       HAZARD        KY   41701       INDEPENDENT        FU0546373    2,000     900     1,200    1,500    1,200     900     1,283     7,700

100073233   056101063   *UNION MILL SUPERMARKET LLC525    MOUNT LAUREL     NJ   08054          CHAIN           FU0553758                       100      100                        100       200

100083865   046032714   UNIVERSITY DRUGS LLC PHCY             TAMPA        FL   33613       INDEPENDENT        FU0603779   12,000   15,500   10,000   12,000   11,000   10,500   11,833    71,000

100104945   055039040   *UPSTATE PHARMACY-GREER(340B)        GREER         SC   29650     PHS 340B HOSPITAL    FU0667393    7,800                                                 7,800     7,800

100074011   055150862   *UPSTATE PHARMACY-GREER(X)           GREER         SC   29650     LONG TERM CARE       FU0667393    5,600                                                 5,600     5,600

100070047   010123232   UK JUNE BUCHANAN PHCY     340B      HINDMAN        KY   41822      PHS 340B CLINIC     FU0735730    1,800    1,900    1,900    1,500    1,800    1,200    1,683    10,100

100069967   010123224   UK-JUNE BUCHANAN PHARMACY           HINDMAN        KY   41822       INDEPENDENT        FU0735730              200      100      100      800               300      1,200

100073081   044100602   UNIV OF LOUISVILLE HOSP - 340B      LOUISVILLE     KY   40202     PHS 340B HOSPITAL    FU0814928    2,200    2,700    3,100    1,300     200              1,900     9,500

100104720   044219725   UNIV OF LOUISVILLE HOSP - WAC       LOUISVILLE     KY   40202     PHS 340B HOSPITAL    FU0814928     900      400              1,000    1,800    3,000    1,420     7,100

100073080   044100594   *UNIV OF LOUISVILLE HOSP- MAIN      LOUISVILLE     KY   40202         HOSPITAL         FU0814928              300                                          300       300

100106508   040121145   UHS OF SUMMITRIDGE HOSPITAL      LAWRENCEVILLE     GA   30046         HOSPITAL         FU1033745     200      700      100               400      100      300      1,500

100077089   046128900   UNITED PHARMACY LLC              WEST PALM BEACH   FL   33417       INDEPENDENT        FU1302188     200                        100                        150       300

100099716   018398222   WALGREENS #15791        DSD        LITTLE ROCK     AR   72206       WALGREENS          FU1463405   18,300   26,500   29,000   31,500   26,500   16,000   24,633   147,800

100052222   017087122   U OF UT OUTPATIENT PHCY 340B      SALT LAKE CITY   UT   84132     PHS 340B HOSPITAL    FU1472199   12,400   14,300   15,700    9,400     600     6,500    9,817    58,900

100053202   017076547   U OF UT OUTPATIENT PHCY WAC       SALT LAKE CITY   UT   84132         HOSPITAL         FU1472199    1,100    3,200    2,200   33,500    1,200    4,800    7,667    46,000

100106506   038110676   CENTENNIAL PEAKS HOSPITAL           LOUISVILLE     CO   80027         HOSPITAL         FU1488178              400               200                        300       600

100106525   018404046   SPRINGWOODS BEHAVIORAL            FAYETTEVILLE     AR   72704         HOSPITAL         FU1665340     100      100     1,000                       160      340      1,360

100068802   055071332   *UPSTATE PHARMACY CROSS CREEK      GREENVILLE      SC   29605         HOSPITAL         FU1700512   44,500                                                44,500    44,500

100053201   017076539   U OF UT UNI OP PHCY               SALT LAKE CITY   UT   84108         HOSPITAL         FU1879761     200      400     1,200    1,300              200      660      3,300

100110025   025092270   UNITED COMM PHY CORP               ST ANTHONY      MN   55418       INDEPENDENT        FU1928386                                200      500      100      267       800

100075166   046127985   SUNSHINE DRUGS - URJA PHCY,INC      WILLISTON      FL   32696       INDEPENDENT        FU2022399     500                       8,000    6,000             4,833    14,500

100083140   040096875   PRUITTHLTH PHCY SVS                 UNION CITY     GA   30291     LONG TERM CARE       FU2063307   10,500   13,500    9,600   10,000    8,700    9,400   10,283    61,700

100086814   024109751   MEDICORX SPECIALTY                  VAN NUYS       CA   91406   HOME HEALTH SERVICES   FU2162953    5,600    7,000    4,300    8,400    4,900             6,040    30,200

100083442   024104869   MEDICORX SPECIALTY DBA              VAN NUYS       CA   91406       INDEPENDENT        FU2162953                                        1,000             1,000     1,000

100099691   018397984   WALGREENS #15790        DSD         ASHDOWN        AR   71822       WALGREENS          FU2212784   13,000   18,700   18,100   23,500   12,300   16,000   16,933   101,600

100084220   010195453   AHUJA MEDICAL CENTER               BEACHWOOD       OH   44122         HOSPITAL         FU2245620     400      600      500     1,100     620      300      587      3,520

100099758   018398529   WALGREENS #15797        DSD         WALDRON        AR   72958       WALGREENS          FU2310580    7,000   17,000   15,300   17,500   16,500   10,500   13,967    83,800

100068264   019159830   UNITED RX LLC                        HILLSIDE      IL   60162     LONG TERM CARE       FU2409907   49,100   33,000   43,000    6,000   15,700   56,000   33,800   202,800

100086261   044203224   UNITED RX LLC-CARBONDALE           CARBONDALE      IL   62901     LONG TERM CARE       FU2538619   10,500                               8,000   11,100    9,867    29,600

100052226   017087213   U OF UT HCH OP 340B               SALT LAKE CITY   UT   84112     PHS 340B HOSPITAL    FU2855560    7,200    6,400    6,800    7,100    1,200    3,300    5,333    32,000

100085501   017076208   U OF UT HCH OP WAC                SALT LAKE CITY   UT   84112         HOSPITAL         FU2855560    1,000    2,100     500    12,000    3,000    1,500    3,350    20,100

100087941   017090340   U OF UT HCH IP PHCY               SALT LAKE CITY   UT   84112         HOSPITAL         FU2855572     600      800      700     2,200              100      880      4,400

100093983   017096172   U OF UT HCH PHCY WAC              SALT LAKE CITY   UT   84112     PHS 340B HOSPITAL    FU2855572                                100                        100       100

100088264   017090936   U OF UT S JORDAN PHCY 340B        SOUTH JORDAN     UT   84095     PHS 340B HOSPITAL    FU2935039    6,500    4,900    5,500    4,400    2,200    4,500    4,667    28,000

100088270   017090944   U OF UT S JORDAN PHCY WAC         SOUTH JORDAN     UT   84095       INDEPENDENT        FU2935039     900     2,600    3,000    9,500    1,600             3,520    17,600

100054174   010044362   UH-REGIONAL HOSPITALS               BEDFORD        OH   44146         HOSPITAL         FU2990249              250                        280      240      257       770

100091064   019158063   *UNITED RX - CARMEL                  CARMEL        IN   46032     LONG TERM CARE       FU3367340   14,300                               3,000             8,650    17,300

100052127   010070052   UH LYNDHURST SURGERY CTR           LYNDHURST       OH   44124         HOSPITAL         FU3449041     100                                                   100       100

100093970   055032235   *UPSTATE PHARMACY IMA              GREENVILLE      SC   29607         HOSPITAL         FU3564475    1,400                                                 1,400     1,400

100096528   041152819   UNIV OF MD ST JOSEPH MEDICAL         TOWSON        MD   21204         HOSPITAL         FU3600776    1,600    2,400    1,000    1,700    1,020    1,020    1,457     8,740
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100094106   024110866   USC HEALTH CENTER PHARMACY        LOS ANGELES     CA   90089     INDEPENDENT        FU3658070     100      300      800       700      500      500      483      2,900

100097041   024119750   USC HEALTH CENTER PHCY 340B       LOS ANGELES     CA   90089     INDEPENDENT        FU3658070     500               500       100                        367      1,100

100100602   010233890   UH REHABILITATION HOSPITAL        BEECHWOOD       OH   44122       HOSPITAL         FU3681651     100                         200      320      160      195       780

100100596   010233882   UVMC PHARMACY                        TROY         OH   45373       HOSPITAL         FU3696931    1,800    2,300    2,100     2,500     900      300     1,650     9,900

100103776   052222729   UNIVERSITY PHARMACY(WAC)           KNOXVILLE      TN   37920       HOSPITAL         FU3734402    2,200    4,700    1,900     2,500    5,000    3,400    3,283    19,700

100103775   052222711   UNIVERSITY PHARMACY(340B)          KNOXVILLE      TN   37920   PHS 340B HOSPITAL    FU3734402    2,500     800     1,300     1,100     800     1,800    1,383     8,300

100104313   037133470   US ARMY-FT POLK CTMC               FORT POLK      LA   71459   HOSPITAL (FEDERAL)   FU3790602    1,900    2,600    1,700     2,000     700     1,800    1,783    10,700

100104000   010234781   UNIQCARE PHARMACY                  HURRICANE      WV   25526     INDEPENDENT        FU3814919    9,800    9,900   10,000    12,500   10,200    6,400    9,800    58,800

100094179   020159616   UNIVERSTY MED CTR EAST PHY340B      EL PASO       TX   79936       HOSPITAL         FU3862112    6,900    7,100    7,400     6,800     900              5,820    29,100

100094185   020159624   UNIVERSTY MED CTR EAST PHY WAC      EL PASO       TX   79936       HOSPITAL         FU3862112    1,800    2,300    2,800     2,000    3,000             2,380    11,900

100094179   020159616   UNIVERSTY MED CTR EAST PHY340B      EL PASO       TX   79936   PHS 340B HOSPITAL    FU3862112                                         4,800    3,700    4,250     8,500

100106512   020166140   VALLEY HOSPITAL                     PHOENIX       AZ   85018       HOSPITAL         FU3886326     400      700      600                200      300      440      2,200

100104601   023152199   UNION HILL SUPREMO PHARMACY       ENGLISHTOWN     NJ   07726     INDEPENDENT        FU4007666     600      300                         400      100      350      1,400

100105105   020165613   UNIVERSITY MED CTR FABENS 340B      FABENS        TX   79838   PHS 340B HOSPITAL    FU4158588    2,600    1,700    2,700     1,600    1,400     900     1,817    10,900

100105106   020165621   UNIVERSITY MED CTR FABENS WAC       FABENS        TX   79838   PHS 340B HOSPITAL    FU4158588     300      300                200               200      250      1,000

100104429   037133520   UNIVERSITY HOSP& CLINICS, INC.     LAFAYETTE      LA   70506       HOSPITAL         FU4281755     300     1,000               100       80      920      480      2,400

100104447   037133546   UNIVERSITY HOSP& CLINCS 340B       LAFAYETTE      LA   70506   PHS 340B HOSPITAL    FU4281755     400               200       600      500               425      1,700

100104448   037133553   UNIVERSITY HOSP & CLINICS WAC      LAFAYETTE      LA   70506       HOSPITAL         FU4281755              100      200                                  150       300

100104446   037133538   UNIVERSITY HOSP & CLINICS PHS      LAFAYETTE      LA   70506   PHS 340B HOSPITAL    FU4281882    6,000    7,100    6,800     6,500    5,600    4,100    6,017    36,100

100107289   012037531   UC CARE PHARMACY CPA               SAN DIEGO      CA   92131     INDEPENDENT        FU4295057     400      100      (100)    1,200     800     2,500     817      4,900

100108773   020166462   PALO VERDE BEHAVIORAL HLTH          TUCSON        AZ   85712       HOSPITAL         FU4339405     100                                   80      300      160       480

100104541   055038844   UNC HTHCARE AT WAKEBROOK PHCY       RALEIGH       NC   27610       HOSPITAL         FU4448747               50                                            50        50

100110022   018405613   UNITED DISCOUNT PHARMACY #2      OKLAHOMA CITY    OK   73112     INDEPENDENT        FU4538673    5,700    9,700    4,400    22,000   29,900   24,800   16,083    96,500

100110040   024122697   UNIVERSITY CARE PHARMACY SF       LOS ANGELES     CA   90038     INDEPENDENT        FU4672386             3,300    4,700     5,100    3,500    2,500    3,820    19,100

100075157   019161091   NUCARA PHARMACY #15                ELMHURST       IL   60126    LONG TERM CARE      FV0026410                                         1,100             1,100     1,100

100058545   049114553   VALUE PHCY           SF            WESTLAND       MI   48186     INDEPENDENT        FV0037564   24,400   24,600   20,700    26,500    9,100    6,100   18,567   111,400

100058388   032111047   VIRGINIA GARCIA MEM HC 340B        HILLSBORO      OR   97123    PHS 340B CLINIC     FV0057693    1,300    2,500    1,800     1,600    3,100    1,600    1,983    11,900

100058287   032119651   VIRGINIA GARCIA MEM HC 340B       MCMINNVILLE     OR   97128    PHS 340B CLINIC     FV0057706    2,700    2,400    5,900     1,400    4,100    2,700    3,200    19,200

100057540   021034900   *VALUMED PHARMACY                  SIOUX CITY     IA   51106    LONG TERM CARE      FV0095213    2,400                                                  2,400     2,400

100106513   041153908   VIRGINIA BEACH PSYCHIATRIC CTR   VIRGINIA BEACH   VA   23454       HOSPITAL         FV0107006              400      100       100       50      300      190       950

100061379   012122028   *VIP PHARMACY                        CHINO        CA   91710     INDEPENDENT        FV0139786             3,000                                         3,000     3,000

100072215   032140087   VIBRA SPECIALTY HOSP OF PORTLA     PORTLAND       OR   97220       HOSPITAL         FV0203442     200     1,000     100       500               600      480      2,400

100060707   046032755   VIDA PHARMACY                       HIALEAH       FL   33012     INDEPENDENT        FV0230704     100      200      100       100                        125       500

100076478   037023515   VITA-CARE PHARMACY II             SUGAR LAND      TX   77478     INDEPENDENT        FV0609745    8,300   12,700   15,700    10,500   14,500    9,100   11,800    70,800

100053287   020062984   VC ENT DBA: VICTORS REGENT        ALBUQUERQUE     NM   87105     INDEPENDENT        FV0665541    1,000    4,000   10,000     2,500    8,000   11,000    6,083    36,500

100072218   049140228   VIBRA OF SOUTHEASTERN MICHIGAN    LINCOLN PARK    MI   48146       HOSPITAL         FV0814601     700      200      400       500     1,300     880      663      3,980

100089106   055030908   VILLAGE PHARMACY CPA               HAMPSTEAD      NC   28443     INDEPENDENT        FV0992380    6,400    6,800    7,600    11,000    3,100    4,230    6,522    39,130

100106550   055041640   VILLAGE HOSPITAL                     GREER        SC   29651       HOSPITAL         FV1032577     300      600      900       500      700      600      600      3,600

100072216   012140095   VIBRA HOSP OF SAN DIEGO LLC        SAN DIEGO      CA   92103       HOSPITAL         FV1064916     700      700     1,550     4,400    2,100             1,890     9,450

100074022   037135426   VILLAGE FOODS, LTD                   BRYAN        TX   77802     INDEPENDENT        FV1104152    7,600    9,200   13,700    10,100    8,500    7,100    9,367    56,200

100072217   012140103   VIBRA HOSP OF SAN BERNARDINO     SAN BERNARDINO   CA   92411       HOSPITAL         FV1202972    2,400    1,400    2,150     4,700     400     3,800    2,475    14,850

100069861   052155390   VALUE RX                           TAZEWELL       TN   37879     INDEPENDENT        FV1377490   31,700   31,700   28,800    26,100   28,000   24,100   28,400   170,400

100070755   008091116   VALLEY PRSCRPT & COMP PHCY CPA      MERCED        CA   95341     INDEPENDENT        FV1561679   28,000   11,000   17,000    11,500    6,500   11,000   14,167    85,000

100069776   023113522   VARIETY DRUG (ARX)                  GARFIELD      NJ   07026     INDEPENDENT        FV1738129     200                                                    200       200
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100075608   049175760   VAN'S PHARMACY INC          CPA    SAINT JOSEPH    MI   49085     INDEPENDENT       FV1889750   19,000   19,500   19,800   18,000   29,100   24,100    21,583   129,500

100075738   021134288   *VALUMED PHARMACY, CORALVILLE       CORALVILLE     IA   52241   LONG TERM CARE      FV1905908     500      300                                           400       800

100075936   021135574   VC HOSP WICHITA - ST TERESA RX        WICHITA      KS   67235       HOSPITAL        FV1908598     300      700      800      850      200     1,520      728      4,370

100067901   037145011   ACADIAN MED CTR CAMP/MERCY MED        EUNICE       LA   70535       HOSPITAL        FV2020751     500      450      450      550      900      560       568      3,410

100074607   040121855   VILLAGE PHCY, INC.        SF       DOUGLASVILLE    GA   30135     INDEPENDENT       FV2026020              500     1,000    1,100     300      500       680      3,400

100083221   019176370   VHS WEST SUBURBAN MED CTR(VAN)     RIVER FOREST    IL   60305       HOSPITAL        FV2124496     500      500      500     1,000             1,500      800      4,000

100075400   019176313   VHS WESTLAKE HOSP INC (VAN)        MELROSE PARK    IL   60160       HOSPITAL        FV2129232     600      800      800     1,200     700     1,000      850      5,100

100075402   019176347   VHS WEST SUBURBAN HOSP ASSOC         OAK PARK      IL   60302       HOSPITAL        FV2166204    1,850    2,100    2,350    2,350    1,840    1,880     2,062    12,370

100083998   010192757   VIBRA HOSP OF MAHONING VALLEY       BOARDMAN       OH   44512       HOSPITAL        FV2292390     300      400      250     1,700     360      480       582      3,490

100084019   019136432   VIBRA HOSPITAL OF FORT WAYNE        FORT WAYNE     IN   46805       HOSPITAL        FV2329476     300      400      600      300      660      160       403      2,420

100084025   019136440   VIBRA HOSP-NORTHWEST INDIANA       CROWN POINT     IN   46307       HOSPITAL        FV2329490     700      700      700     1,750     480     1,840     1,028     6,170

100085235   046035824   V & T PHARMACY                        TAMPA        FL   33614     INDEPENDENT       FV2393750     300      100      300     1,100    1,200     (500)     417      2,500

100086231   041138412   VIRGINIA PHARMACEUTICAL SRVCS      NEWPORT NEWS    VA   23606   LONG TERM CARE      FV2516271    4,950    5,100    6,500    6,100    7,200    4,900     5,792    34,750

100105655   019183012   VILLA GROVE PHCY          SF        VILLA GROVE    IL   61956     INDEPENDENT       FV2574235    3,200    7,600    4,100    3,000                       4,475    17,900

100086634   017088732   VIC'S FAMILY PHARMACY       (DW)      NAMPA        ID   83686     INDEPENDENT       FV2716782    7,000    7,500    5,900   10,800    4,100    5,200     6,750    40,500

100086720   040106666   VILLA RICA DRUGS CPA                 VILLA RICA    GA   30180     INDEPENDENT       FV2818954   10,000   13,100    9,500    9,600    9,000    8,800    10,000    60,000

100088330   021010058   VOHS PHARMACY             CPA       LOUISBURG      KS   66053     INDEPENDENT       FV2925367    5,000    4,600    3,600    5,500    7,500    1,500     4,617    27,700

100087963   037125815   VALLEY BAPTIST MED CTR VAN          HARLINGEN      TX   78550       HOSPITAL        FV3016830    3,500    3,900    5,100    3,100    2,940    1,580     3,353    20,120

100087965   037125799   VALLEY BAPTST MEDCTR BRNVL VAN     BROWNSVILLE     TX   78520       HOSPITAL        FV3016854     800     1,100    1,200    1,100     860     1,020     1,013     6,080

100088959   040113449   VALU-RITE DISCOUNT PHCY CPA           DALTON       GA   30720     INDEPENDENT       FV3137331    9,000   14,600   11,500   14,400   26,000    6,000    13,583    81,500

100090333   004089334   V-CARE PHCY AND SURG SUPP SF        FRAMINGHAM     MA   01701     INDEPENDENT       FV3204598     100      200      500      500               500       360      1,800

100083641   020150045   ARIZONA HEART HOSP VHS OF PHNX       PHOENIX       AZ   85016       HOSPITAL        FV3206136              400      500      500                         467      1,400

100096622   040115279   VN PHARMACY LLC (#2)                NORCROSS       GA   30093     INDEPENDENT       FV3335305     120      200       40               300                165       660

100092914   049189340   VILLAGE DRUG SHOP, INC             WEBBERVILLE     MI   48892     INDEPENDENT       FV3540324    6,500    5,300     100    11,200                       5,775    23,100

100093221   023136952   THE APOTHECARY SHOPPE PHARMACY     STATEN ISLAND   NY   10314     INDEPENDENT       FV3620893     800      800      400      600      400     1,200      700      4,200

100096863   017096438   VANS PHCY            SF               DILLON       MT   59725     INDEPENDENT       FV3694696    2,000    2,600    2,500    3,500     500     2,000     2,183    13,100

100104039   021172205   VIA CHRISTI OUTPATIENT WAC            WICHITA      KS   67214   PHS 340B HOSPITAL   FV3754947    1,400    3,200    3,000    2,700    2,900    3,800     2,833    17,000

100104038   021172197   VIA CHRISTI OUTPAT PHCY 340B          WICHITA      KS   67214   PHS 340B HOSPITAL   FV3754947     100      600      200      500                         350      1,400

100104121   017098111   VIBRA HOSPITAL OF BOISE LLC          MERIDIAN      ID   83642       HOSPITAL        FV3919315     600      350      700      300      800      720       578      3,470

100105607   025091652   VIBRA HOSP OF FARGO                   FARGO        ND   58103       HOSPITAL        FV4093441     200      200              1,100                        500      1,500

100110869   008000282   VITACARE PHARMACY CPA                OAKLAND       CA   94612     INDEPENDENT       FV4100626                               3,000    5,500    5,000     4,500    13,500

100105609   025091660   VIBRA HOSP OF CENTRAL DAKOTAS         MANDAN       ND   58554       HOSPITAL        FV4119550     400      350      550      400      500                440      2,200

100106586   021173559   VALLEY FALLS PHARMACY CPA          VALLEY FALLS    KS   66088     INDEPENDENT       FV4139196    9,000   10,000   17,200   10,000   14,000    4,000    10,700    64,200

100105612   041153726   VIBRA HOSPITAL OF RICHMOND LLC       RICHMOND      VA   23230       HOSPITAL        FV4185749     100      200                         80                127       380

100105608   008116194   VIBRA HOSPITAL OF SACRAMENTO          FOLSOM       CA   95630       HOSPITAL        FV4238920     700      700      750      650      900     2,180      980      5,880

100105615   019183004   VIBRA HOSPITAL OF SPRINGFIELD       SPRINGFIELD    IL   62702       HOSPITAL        FV4241597     500      100      900     3,400                       1,225     4,900

100105605   018347179   VIBRA REHAB HOSP OF AMARILLO         AMARILLO      TX   79106       HOSPITAL        FV4281628     900     1,200     850     3,600             1,220     1,554     7,770

100107912   021174524   VIA RX SF                             OMAHA        NE   68134     INDEPENDENT       FV4287466     100                                                    100       100

100107817   010237131   VERSAILLES INDEPENDENT PHCY         VERSAILLES     KY   40383     INDEPENDENT       FV4297190    1,000    2,500    6,500    4,500     800     1,000     2,717    16,300

100108036   049196626   VIBRA HOSP OF SE MICHIGAN             TAYLOR       MI   48180       HOSPITAL        FV4325329    1,100    1,100    1,400    1,000    1,780     580      1,160     6,960

100110678   032153189   VIRGINIA GARCIA MEM HC 340B          NEWBERG       OR   97132    PHS 340B CLINIC    FV4402385                                         100      500       300       600

100110491   046060475   VALUED CHOICE PHARMACY LLC,           TAMPA        FL   33615     INDEPENDENT       FV4464501             1,000                      2,100              1,550     3,100

100060339   038000455   VICKLUND PHCY          SF          THERMOPOLIS     WY   82443     INDEPENDENT       FV4512566   20,600    5,600    2,500   15,100   17,200     200     10,200    61,200

100090649   040114264   VN PHARMACY                         NORCROSS       GA   30093     INDEPENDENT       FV4529016              500      600      560     1,000     500       632      3,160
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100111529   018000549   VIBRA REHAB HOSP - LAKE TRAVIS      LAKEWAY         TX   78734      HOSPITAL       FV4933520                                                  200      200       200

100095887   004094706   *WALGREENS #09943       DSD         CRANSTON        RI   02920    WALGREENS        FW0000834    4,900    4,100                                        4,500     9,000

100099930   018400234   WALGREENS #10193        DSD          DESOTO         TX   75115    WALGREENS        FW0000846    8,800   13,100   14,400   15,500    9,200    7,000   11,333    68,000

100095082   010231910   WALGREENS #10222        DSD          LORAIN         OH   44052    WALGREENS        FW0000872   17,900   18,200   16,400   21,300   18,400   10,600   17,133   102,800

100099169   044217737   WALGREENS #09441        DSD         WATERLOO        IL   62298    WALGREENS        FW0001216     300    11,300   13,500   14,100   16,000   10,200   10,900    65,400

100100410   037132886   WALGREENS #10449        DSD      CORPUS CHRISTI     TX   78412    WALGREENS        FW0003107    1,200     630    14,400   34,100   31,700   20,700   17,122   102,730

100099703   018398107   WALGREENS #10170        DSD          CONWAY         AR   72034    WALGREENS        FW0007472   11,330   18,100   21,430   17,990   25,700   12,600   17,858   107,150

100099432   021171017   WALGREENS #09985        DSD         LEAWOOD         KS   66224    WALGREENS        FW0007484    1,300    7,430    5,450    6,640    7,000    5,200    5,503    33,020

100099409   021170787   WALGREENS #10150        DSD         GARDNER         KS   66030    WALGREENS        FW0007496    3,400   19,100   16,700   21,500   21,000   13,500   15,867    95,200

100094417   055032953   WALGREENS #09458        DSD         ASHEVILLE       NC   28804    WALGREENS        FW0011370    7,800    8,470    8,600    9,900    9,500    6,600    8,478    50,870

100097807   019169235   WALGREENS #09278        DSD       INDIANAPOLIS      IN   46229    WALGREENS        FW0013805   11,200    9,700   11,400   10,900   11,700   11,000   10,983    65,900

100097789   019169052   WALGREENS #09489        DSD        SHELBYVILLE      IN   46176    WALGREENS        FW0013817   11,600    9,600   12,100   11,400   16,000   10,000   11,783    70,700

100098538   025090209   WALGREENS #10289        DSD         ELK RIVER       MN   55330    WALGREENS        FW0017156    9,000   13,000   10,500    9,700   11,500   10,000   10,617    63,700

100099631   037131870   WALGREENS #10400        DSD      DENHAM SPRINGS     LA   70706    WALGREENS        FW0017170     100     1,080   11,100   20,600   19,000   13,000   10,813    64,880

100098636   038106682   WALGREENS #10572        DSD          PIERRE         SD   57501    WALGREENS        FW0017637   16,490   15,600   14,000   15,400   18,800   13,400   15,615    93,690

100099527   021171827   WALGREENS #10502        DSD      SOUTH SIOUX CITY   NE   68776    WALGREENS        FW0018184   10,000   11,000    9,100   10,500   13,500    7,500   10,267    61,600

100099502   021171579   WALGREENS #10437        DSD          OMAHA          NE   68134    WALGREENS        FW0018209    8,360    7,830    9,490    9,760   11,600    8,500    9,257    55,540

100101861   020160242   WALGREENS #10370        DSD          CORTEZ         CO   81321    WALGREENS        FW0020103   13,500   10,000   12,100   11,100   11,700    7,500   10,983    65,900

100101982   032148320   WALGREENS #09544        DSD         MILWAUKIE       OR   97222    WALGREENS        FW0020115   13,900   13,700   12,600   13,400   15,900   10,000   13,250    79,500

100102193   012110379   WALGREENS #09080        DSD           INDIO         CA   92201    WALGREENS        FW0020127   12,200   11,800   10,500   13,200   13,700    8,600   11,667    70,000

100102315   012110890   WALGREENS #07976        DSD         REDLANDS        CA   92374    WALGREENS        FW0020139   28,000   27,400   26,700   27,600   32,100   28,600   28,400   170,400

100102161   012109264   WALGREENS #06656        DSD         SAN DIEGO       CA   92104    WALGREENS        FW0020165   19,700   22,800   21,400   26,100   20,400   15,800   21,033   126,200

100090195   012103838   WALGREENS #6656 340B                SAN DIEGO       CA   92104   PHS 340B CLINIC   FW0020165    1,000                       500                        750      1,500

100102251   012110601   WALGREENS #01079        DSD       PALM SPRINGS      CA   92262    WALGREENS        FW0020177   20,600   18,500   17,000   19,100   20,600   13,300   18,183   109,100

100100462   018402677   WALGREENS #10232        DSD        ROUND ROCK       TX   78665    WALGREENS        FW0020189    3,300    9,930   11,400    8,800    9,400    6,500    8,222    49,330

100095374   004093542   WALGREENS #09939        DSD          NEWARK         NY   14513    WALGREENS        FW0020191    5,600    5,500    5,000    4,100    6,300    3,600    5,017    30,100

100098410   019172544   WALGREENS #10682        DSD      PRAIRIE DU CHIEN   WI   53821    WALGREENS        FW0020204    7,600    9,800    9,700   12,700   10,000    5,200    9,167    55,000

100098414   019172585   WALGREENS #10396        DSD         COLUMBUS        WI   53925    WALGREENS        FW0020216   13,700   15,100   12,300   15,200   14,300    8,600   13,200    79,200

100101728   012108688   WALGREENS #10262        DSD        SOUTH GATE       CA   90280    WALGREENS        FW0020228    7,600    9,000    8,100    8,500    9,600    9,800    8,767    52,600

100102645   008112771   WALGREENS #10002        DSD          TULARE         CA   93274    WALGREENS        FW0020230   31,200   33,800   32,100   32,100   27,900   28,200   30,883   185,300

100105648   008116343   WALGREENS #10002 340B                TULARE         CA   93274   PHS 340B CLINIC   FW0020230     100      100      500                                 233       700

100102470   012111310   WALGREENS #09883        DSD           IRVINE        CA   92620    WALGREENS        FW0020254    7,900    8,200    7,300    7,800   11,100    5,600    7,983    47,900

100101973   008112557   WALGREENS #09525        DSD           UKIAH         CA   95482    WALGREENS        FW0020266   17,820   22,220   18,700   19,720   25,400   11,500   19,227   115,360

100096021   004098285   WALGREENS #10410        DSD         LITTLETON       NH   03561    WALGREENS        FW0020331    3,800    3,700    2,800    4,500    4,700    1,800    3,550    21,300

100094926   055034132   WALGREENS #09774        DSD        GREENVILLE       SC   29615    WALGREENS        FW0021509    4,200    3,600    4,000    5,100    5,000    5,000    4,483    26,900

100094792   023138495   WALGREENS #09994        DSD          EASTON         PA   18040    WALGREENS        FW0022070    2,900    2,570    3,500    2,700    3,400    1,700    2,795    16,770

100095042   041149237   WALGREENS #07425        DSD         LANSDALE        PA   19446    WALGREENS        FW0022082    3,600    3,600    4,600    4,900    3,600    4,000    4,050    24,300

100095435   010232546   WALGREENS #10328        DSD          PARMA          OH   44130    WALGREENS        FW0022614    8,100    7,800    6,700    9,330    7,000    7,300    7,705    46,230

100095113   010232041   WALGREENS #10136        DSD         MANSFIELD       OH   44905    WALGREENS        FW0025569    5,100    5,600    5,100    5,200    4,600    4,000    4,933    29,600

100095017   041147256   WALGREENS #02536        DSD      KENNETT SQUARE     PA   19348    WALGREENS        FW0025874    3,800    3,800    2,400    4,400    3,500    2,300    3,367    20,200

100097943   044217331   WALGREENS #10340        DSD          JASPER         IN   47546    WALGREENS        FW0033112    5,100   16,200   16,700   16,220   18,100   15,000   14,553    87,320

100102652   046052530   WALGREENS #09617        DSD        GAINESVILLE      FL   32606    WALGREENS        FW0033136     200      100     2,600    2,100    4,000    4,100    2,183    13,100

100097736   044217026   WALGREENS #09855        DSD        FRANKFORT        KY   40601    WALGREENS        FW0033148    2,000   29,100   31,700   35,200   34,300   20,700   25,500   153,000

100095524   041150821   WALGREENS #09779        DSD         RICHMOND        VA   23231    WALGREENS        FW0033150   14,730   17,730   15,430   14,040   16,400   13,000   15,222    91,330
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100101220   046044891   WALGREENS #09016   DSD   ALTAMONTE SPRINGS   FL   32714   WALGREENS   FW0033162     700      630     6,800    4,400    4,100    4,600    3,538    21,230

100101221   046044909   WALGREENS #09317   DSD      NORTH PORT       FL   34286   WALGREENS   FW0033198     300       -      9,200   14,400   15,900   16,000    9,300    55,800

100095930   004094961   WALGREENS #09432   DSD        ENFIELD        CT   06082   WALGREENS   FW0033403    4,600    4,970    3,400    3,700    4,700    3,200    4,095    24,570

100099709   018398156   WALGREENS #10352   DSD   NORTH LITTLE ROCK   AR   72116   WALGREENS   FW0036257   11,400   18,500   20,040   21,760   17,200   16,500   17,567   105,400

100095511   010232736   WALGREENS #09128   DSD       RICHMOND        IN   47374   WALGREENS   FW0038643   17,600   19,400   16,300   18,400   11,600   14,700   16,333    98,000

100096172   023146993   WALGREENS #02470   DSD       ROSELAND        NJ   07068   WALGREENS   FW0039897     500     1,000    1,600     800     1,600     900     1,067     6,400

100095996   041152165   WALGREENS #03908   DSD       JACKSON         NJ   08527   WALGREENS   FW0039948    4,600    4,500    4,000    3,900    4,200    3,600    4,133    24,800

100102063   038110049   WALGREENS #10466   DSD       RIVERTON        WY   82501   WALGREENS   FW0040092   13,400   15,700   16,200   18,000   19,300    7,700   15,050    90,300

100097393   044215129   WALGREENS #10348   DSD    GOODLETTSVILLE     TN   37072   WALGREENS   FW0040105    9,000    9,500    8,500   10,200   12,000    8,500    9,617    57,700

100098970   019177402   WALGREENS #07267   DSD       CHICAGO         IL   60621   WALGREENS   FW0040561    5,700    6,900    7,500    8,600    7,500    4,500    6,783    40,700

100102757   020162461   WALGREENS #09179   DSD        LAVEEN         AZ   85339   WALGREENS   FW0041234   13,420   11,510    9,180   12,530   10,800    8,700   11,023    66,140

100100423   037133017   WALGREENS #10465   DSD     BROWNSVILLE       TX   78526   WALGREENS   FW0041246     100      100     6,500    5,200    6,000    1,600    3,250    19,500

100097304   052220517   WALGREENS #09976   DSD       DECATUR         AL   35601   WALGREENS   FW0041258    9,200    9,300    7,800    8,300    5,800    5,500    7,650    45,900

100102831   008113019   WALGREENS #09655   DSD        FRESNO         CA   93720   WALGREENS   FW0041905   12,200   12,690   14,000   13,820   16,300    8,700   12,952    77,710

100098226   021169607   WALGREENS #11153   DSD       SPENCER         IA   51301   WALGREENS   FW0041929   14,000   10,900   11,300   13,800   13,800    9,000   12,133    72,800

100097427   044215459   WALGREENS #09778   DSD       NASHVILLE       TN   37203   WALGREENS   FW0043365   38,700   35,500   33,000   38,500   22,500   35,000   33,867   203,200

100095199   004093526   WALGREENS #09798   DSD     NEW HARTFORD      NY   13413   WALGREENS   FW0044002    7,500    6,500    6,500    7,700   10,000    6,500    7,450    44,700

100099520   021171751   WALGREENS #10408   DSD        LINCOLN        NE   68510   WALGREENS   FW0044064   11,040   12,020   12,060   13,200   19,800    9,000   12,853    77,120

100101723   038109512   WALGREENS #10308   DSD       LOVELAND        CO   80537   WALGREENS   FW0044785   12,200    9,700   11,500    9,500   10,500   10,900   10,717    64,300

100098190   021169250   WALGREENS #07996   DSD        ANKENY         IA   50021   WALGREENS   FW0044797   14,900   16,600   14,300   17,300   18,400   13,500   15,833    95,000

100098149   019170852   WALGREENS #10079   DSD    NORTON SHORES      MI   49444   WALGREENS   FW0045802   50,700   53,000   47,200   61,800   37,600   41,200   48,583   291,500

100099667   052222547   WALGREENS #10536   DSD       BASTROP         LA   71220   WALGREENS   FW0047274     200     6,200   10,200    8,100    9,100    5,100    6,483    38,900

100098129   019170795   WALGREENS #10288   DSD       HILLSDALE       MI   49242   WALGREENS   FW0048252   20,900   21,100   20,100   21,700   18,700   15,500   19,667   118,000

100094977   010229690   WALGREENS #09669   DSD       HUBBARD         OH   44425   WALGREENS   FW0048276    8,300    7,700    7,400    8,500   10,900    5,800    8,100    48,600

100099705   018398123   WALGREENS #10365   DSD       MALVERN         AR   72104   WALGREENS   FW0049874   14,900   16,300   19,800   22,100   21,500   12,500   17,850   107,100

100097154   040118893   WALGREENS #10121   DSD        JASPER         GA   30143   WALGREENS   FW0049925    9,600   11,200   10,000   10,200    8,100   10,600    9,950    59,700

100099299   044218966   WALGREENS #06493   DSD    LAKE SAINT LOUIS   MO   63367   WALGREENS   FW0050079     100     4,300    9,600    7,900   10,000    6,000    6,317    37,900

100095165   055036053   WALGREENS #10566   DSD      MOCKSVILLE       NC   27028   WALGREENS   FW0051502   12,600   13,300   12,600   15,500   15,000   10,800   13,300    79,800

100095536   004093765   WALGREENS #09992   DSD      ROCHESTER        NY   14625   WALGREENS   FW0051514    5,000    4,200    4,500    4,500    6,300    5,200    4,950    29,700

100101976   017096925   WALGREENS #10197   DSD       MERIDIAN        ID   83642   WALGREENS   FW0051766   13,500   14,000   12,100   14,500   11,700   14,000   13,300    79,800

100095483   004093690   WALGREENS #10293   DSD       POTSDAM         NY   13676   WALGREENS   FW0051780    2,600    3,200    2,700    3,600    7,200    2,200    3,583    21,500

100103686   008115915   WALGREENS #10421   DSD      SUSANVILLE       CA   96130   WALGREENS   FW0051792   30,700   24,700   26,300   24,800   31,200   17,000   25,783   154,700

100102322   046049841   WALGREENS #09031   DSD    ST PETERSBURG      FL   33703   WALGREENS   FW0053481     200     1,000    1,800   14,400   12,400   10,100    6,650    39,900

100094695   055033472   WALGREENS #10227   DSD       COLUMBIA        SC   29229   WALGREENS   FW0053506    7,500    8,580    7,800    8,600    7,500    7,600    7,930    47,580

100098798   019174623   WALGREENS #07895   DSD      CHANNAHON        IL   60410   WALGREENS   FW0055182   23,500   22,700   21,700   23,700   19,000   14,400   20,833   125,000

100095057   041149310   WALGREENS #09672   DSD      LEVITTOWN        PA   19056   WALGREENS   FW0055954    5,060    6,230    4,390    5,250    5,800    5,320    5,342    32,050

100087171   003091546   WALGREENS #02762              CAGUAS         PR   00726   WALGREENS   FW0056576     100               100                                 100       200

100087158   003091264   WALGREENS #00788             GUAYNABO        PR   00962   WALGREENS   FW0056588              100                                          100       100

100095072   010231878   WALGREENS #09520   DSD      LIBERTY TWP      OH   45011   WALGREENS   FW0056615    7,500    7,800    7,200    6,600    8,800    4,800    7,117    42,700

100103081   046054767   WALGREENS #09509   DSD       KISSIMMEE       FL   34759   WALGREENS   FW0056639     620      200    14,700   17,900   15,900   12,800   10,353    62,120

100102763   008112854   WALGREENS #10201   DSD        DINUBA         CA   93618   WALGREENS   FW0056641   12,500   17,700   16,100   15,800   20,600   17,900   16,767   100,600

100095989   004098111   WALGREENS #09970   DSD       HOOKSETT        NH   03106   WALGREENS   FW0057124    2,200    2,800    2,100    2,500    1,500    2,100    2,200    13,200

100095418   010232496   WALGREENS #09803   DSD       OAKMONT         PA   15139   WALGREENS   FW0057465    4,200    6,300    5,100    4,400    4,500    3,200    4,617    27,700

100094851   041146969   WALGREENS #09926   DSD      FOREST HILL      MD   21050   WALGREENS   FW0059166    3,700    3,700    4,300    3,800    4,300    2,000    3,633    21,800
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100094920   010229583   WALGREENS #10327        DSD     GREENVILLE      OH   45331     WALGREENS         FW0059178    9,000    7,000    9,100    9,700   11,200    6,100    8,683    52,100

100094870   055033878   WALGREENS #09996        DSD      GAFFNEY        SC   29341     WALGREENS         FW0060727   52,500   53,100   53,700   56,630   53,800   19,000   48,122   288,730

100095174   055036111   WALGREENS #10434        DSD   MOREHEAD CITY     NC   28557     WALGREENS         FW0061490    5,820    7,900    6,100    6,300    8,000    3,400    6,253    37,520

100097299   052220467   WALGREENS #10525        DSD    TUSCALOOSA       AL   35405     WALGREENS         FW0063494   19,300   20,100   19,800   21,100   16,000   21,000   19,550   117,300

100097364   052221077   WALGREENS #10524        DSD       SELMA         AL   36703     WALGREENS         FW0063913    6,700    8,300    6,800    7,700    6,800    5,000    6,883    41,300

100101996   046047423   WALGREENS #09619        DSD    PANAMA CITY      FL   32404     WALGREENS         FW0064775     300      500    15,500   26,400   30,000   32,100   17,467   104,800

100101935   046047233   WALGREENS #09384        DSD    WELLINGTON       FL   33411     WALGREENS         FW0064799     100     1,100    4,600    6,100    8,300    6,900    4,517    27,100

100060993   037105239   WALGREENS #10847                 HOUSTON        TX   77054     WALGREENS         FW0064814              100      600     1,500     500     1,000     740      3,700

100094850   041146951   WALGREENS #10105        DSD       FOREST        VA   24551     WALGREENS         FW0065208    3,500    4,200    3,000    3,600    3,600    6,500    4,067    24,400

100095041   055035840   WALGREENS #10448        DSD     LANCASTER       SC   29720     WALGREENS         FW0065359   14,700   14,400   14,900   16,200   12,800   12,600   14,267    85,600

100101248   019179457   WALGREENS #10929        DSD    INDIANAPOLIS     IN   46203     WALGREENS         FW0070045   29,600   25,900   32,000   31,600   29,100   37,500   30,950   185,700

100058871   019043158   WALGREENS CO 10929-340B        INDIANAPOLIS     IN   46203    PHS 340B CLINIC    FW0070045    3,100    1,000     400     1,000             1,000    1,300     6,500

100099857   018399501   WALGREENS #10643        DSD       GROVE         OK   74344     WALGREENS         FW0070057    1,000    4,700   19,600   20,900   11,900   15,500   12,267    73,600

100095979   004098079   WALGREENS #09614        DSD     HAVERHILL       MA   01830     WALGREENS         FW0070742    6,900    8,170    6,230    5,700    7,200    5,700    6,650    39,900

100060992   037105221   WALGREENS #10848                 HOUSTON        TX   77054     WALGREENS         FW0073419                       500     2,200    2,300    1,000    1,500     6,000

100103646   032150979   WALGREENS #09812        DSD     LONGVIEW        WA   98632     WALGREENS         FW0076415   15,700   15,000   16,100   15,000   17,300   11,700   15,133    90,800

100091249   032145714   WALGREENS #09812 340B           LONGVIEW        WA   98632   PHS 340B HOSPITAL   FW0076415     500                                                   500       500

100099379   021170480   WALGREENS #10377        DSD      MOBERLY        MO   65270     WALGREENS         FW0094095    3,600   11,500   14,000   14,500   12,000   10,600   11,033    66,200

100097913   019170290   WALGREENS #10074        DSD      KOKOMO         IN   46901     WALGREENS         FW0094932   15,200   17,300   14,300   18,800   23,500   15,000   17,350   104,100

100098183   049194217   WALGREENS #10405        DSD   SAULT STE MARIE   MI   49783     WALGREENS         FW0094944   19,000   18,700   18,900   19,500   17,000   13,700   17,800   106,800

100097776   019168922   WALGREENS #10426        DSD     WESTFIELD       IN   46074     WALGREENS         FW0094956    4,000    4,300    3,900    3,600    5,700    4,100    4,267    25,600

100059131   041103572   WALGREENS #15119                RICHMOND        VA   23225     WALGREENS         FW0094968    2,000    3,000    2,500    3,000    3,000    3,500    2,833    17,000

100098179   049194175   WALGREENS #10404        DSD      GAYLORD        MI   49735     WALGREENS         FW0098360   25,700   26,300   24,500   27,500   27,100   11,500   23,767   142,600

100103549   032149286   WALGREENS #09650        DSD       SALEM         OR   97304     WALGREENS         FW0099451   13,700   13,300   12,300   13,800   18,200   11,600   13,817    82,900

100064388   019041772   WALGREEN CO.   #10843          SPRINGFIELD      IL   62702     WALGREENS         FW0100797    3,000   10,500   12,500   13,000    9,000    8,500    9,417    56,500

100098219   021169532   WALGREENS #10557        DSD    CEDAR FALLS      IA   50613     WALGREENS         FW0103919    7,000    7,000    7,000    7,500    9,000    5,500    7,167    43,000

100064389   019041780   WALGREEN CO    #10844          SPRINGFIELD      IL   62704     WALGREENS         FW0106915    1,500   10,600    6,600    7,600   13,800   20,600   10,117    60,700

100095712   004093948   WALGREENS #10239        DSD    WATERTOWN        NY   13601     WALGREENS         FW0108767    3,500    3,700    4,500    3,700    5,000    1,500    3,650    21,900

100095421   004093609   WALGREENS #10292        DSD    OGDENSBURG       NY   13669     WALGREENS         FW0108779    5,300    4,100    4,900    4,300    7,200    1,700    4,583    27,500

100095013   004092908   WALGREENS #10291        DSD    JOHNSON CITY     NY   13790     WALGREENS         FW0108781    8,500   10,100    8,200    8,800   10,800    8,300    9,117    54,700

100098089   049193565   WALGREENS #10250        DSD        ALMA         MI   48801     WALGREENS         FW0108793   14,700   14,100   14,200   12,000   12,000   10,000   12,833    77,000

100103439   008114777   WALGREENS #09902        DSD       SPARKS        NV   89436     WALGREENS         FW0108806   10,500   13,500   11,200   13,100   18,000   11,700   13,000    78,000

100101763   038109611   WALGREENS #09783        DSD      STERLING       CO   80751     WALGREENS         FW0108818   15,530   13,300   13,800   13,200   17,700    7,700   13,538    81,230

100097188   040119222   WALGREENS #09620        DSD      ATLANTA        GA   30331     WALGREENS         FW0112639   13,000   12,600   13,300   12,400    5,500    6,600   10,567    63,400

100095040   023142885   WALGREENS #09876        DSD     LANCASTER       PA   17601     WALGREENS         FW0112641   10,300    9,300    9,600    9,600    9,800    7,800    9,400    56,400

100094392   023137497   WALGREENS #09801        DSD     ALLENTOWN       PA   18106     WALGREENS         FW0112653    4,100    4,800    4,100    5,100    4,900    2,500    4,250    25,500

100096270   004100479   WALGREENS #09995        DSD   WEST WARWICK      RI   02893     WALGREENS         FW0113706    6,300    4,600    5,500    5,500    5,500    3,500    5,150    30,900

100096213   004099705   WALGREENS #10127        DSD    SPRINGFIELD      MA   01104     WALGREENS         FW0113895    3,200    3,900    4,000    3,200    6,200    2,600    3,850    23,100

100098822   019174862   WALGREENS #09919        DSD    BOLINGBROOK      IL   60440     WALGREENS         FW0114897    8,500    7,800    7,700    8,300    8,900    6,500    7,950    47,700

100098902   019176693   WALGREENS #10498        DSD     YORKVILLE       IL   60560     WALGREENS         FW0114900   11,500   12,100   12,700   11,500   13,300    7,300   11,400    68,400

100094954   010229641   WALGREENS #09776        DSD     HERMITAGE       PA   16148     WALGREENS         FW0114912   11,300   11,860   11,600   11,100   12,800   10,100   11,460    68,760

100095796   010233239   WALGREENS #09903        DSD    YOUNGSTOWN       OH   44511     WALGREENS         FW0118352   11,800   12,200   11,330   13,530   11,800    8,900   11,593    69,560

100100306   037132696   WALGREENS #10477        DSD     PEARLAND        TX   77584     WALGREENS         FW0118364     300      600    11,700   18,800   13,600    7,800    8,800    52,800

100061002   037109751   WELLNESS PHARMACY                BAYTOWN        TX   77521     INDEPENDENT       FW0118617   13,020   12,140   12,900   10,900   13,300    6,800   11,510    69,060
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100101524   038108860   WALGREENS #10704        DSD        CENTENNIAL       CO   80112     WALGREENS         FW0121145   10,400    8,800    10,600    9,300   10,300    6,200    9,267    55,600

100103660   032151118   WALGREENS #09911        DSD          YAKIMA         WA   98908     WALGREENS         FW0121171   16,600   16,200    17,400   20,200   21,800   10,500   17,117   102,700

100099630   037131862   WALGREENS #10509        DSD          SULPHUR        LA   70663     WALGREENS         FW0125321     560     1,240     9,220   11,000   13,200   18,700    8,987    53,920

100094722   055033571   WALGREENS #10253        DSD         CONCORD         NC   28027     WALGREENS         FW0126436    7,300    7,700     7,300    7,200    9,200    6,600    7,550    45,300

100096290   004100677   WALGREENS #10428        DSD         WINDHAM         ME   04062     WALGREENS         FW0126462    5,700    6,900     6,700    6,300    7,700    3,500    6,133    36,800

100094762   055033670   WALGREENS #10447        DSD           DILLON        SC   29536     WALGREENS         FW0127161   28,800   30,800    23,800   29,600   21,600   24,500   26,517   159,100

100095385   010232371   WALGREENS #09712        DSD       NICHOLASVILLE     KY   40356     WALGREENS         FW0128896    1,500   17,600    17,500   20,100   17,500   11,000   14,200    85,200

100098532   025090142   WALGREENS #01479        DSD        MAPLE GROVE      MN   55311     WALGREENS         FW0131704    6,700    8,200     7,100    8,200    6,100    5,600    6,983    41,900

100094931   055034181   WALGREENS #10390        DSD           GREER         SC   29650     WALGREENS         FW0131716   18,600   20,000    18,700   21,100   18,500   16,060   18,827   112,960

100099745   018398396   WALGREENS #10586        DSD       SILOAM SPRINGS    AR   72761     WALGREENS         FW0131728    2,200    5,400    21,900   24,200   26,100   16,500   16,050    96,300

100097280   052220277   WALGREENS #10598        DSD         SYLACAUGA       AL   35150     WALGREENS         FW0131730   18,100   16,200    15,000   16,200   13,500   14,000   15,500    93,000

100096276   004100537   WALGREENS #09966        DSD         WESTFORD        MA   01886     WALGREENS         FW0131742    2,100    1,900     1,000    1,600    3,300    1,130    1,838    11,030

100094997   023138826   WALGREENS #09936        DSD      JACKSON HEIGHTS    NY   11372     WALGREENS         FW0131754    1,300     300      1,600    1,100    1,200    1,200    1,117     6,700

100102424   046051425   WALGREENS #03814        DSD       ORMOND BEACH      FL   32174     WALGREENS         FW0135106     200      500      4,400    7,100   13,500   12,100    6,300    37,800

100098111   049193722   WALGREENS #10513        DSD       BATTLE CREEK      MI   49017     WALGREENS         FW0135118   41,700   43,800    41,300   45,000   43,900   29,700   40,900   245,400

100107799   049196402   WALGREENS #10513 340B             BATTLE CREEK      MI   49017    PHS 340B CLINIC    FW0135118    1,500              1,500    2,000    2,000             1,750     7,000

100100075   018401687   WALGREENS #10730        DSD      HARKER HEIGHTS     TX   76548     WALGREENS         FW0135120    3,160   17,430    16,330   18,860   14,700    7,500   12,997    77,980

100095130   055035980   WALGREENS #06479        DSD         MATTHEWS        NC   28105     WALGREENS         FW0135651    5,900    6,000     3,600    5,800    6,800    5,700    5,633    33,800

100095708   055036855   WALGREENS #09988        DSD        WASHINGTON       NC   27889     WALGREENS         FW0135663   17,900   19,000    16,800   20,400   18,700   16,700   18,250   109,500

100095851   004094466   WALGREENS #06892        DSD          BRISTOL        RI   02809     WALGREENS         FW0136615    4,420    3,900     3,130    4,320    4,600    2,100    3,745    22,470

100072001   020153775   *WEST KINGMAN PHARMACY, LLC          KINGMAN        AZ   86409     INDEPENDENT       FW0138506     100      (100)                                          -         -

100057902   021043323   WALGREENS #10845                   KANSAS CITY      MO   64108     WALGREENS         FW0138847    5,700   20,700    18,600   22,100   23,200   17,500   17,967   107,800

100069620   021102301   WALGREENS CO #10845-HOLME 340B     KANSAS CITY      MO   64108   PHS 340B HOSPITAL   FW0138847     200      100       100               500      500      280      1,400

100094782   004092759   WALGREENS #09717        DSD       EAST AMHERST      NY   14051     WALGREENS         FW0141286    4,500    5,100     4,500    4,700    6,000    4,000    4,800    28,800

100101944   017096735   WALGREENS #10603        DSD          AMMON          ID   83406     WALGREENS         FW0147911   38,000   40,700    39,100   35,000   43,500   29,500   37,633   225,800

100102014   046047498   WALGREENS #09914        DSD      DEFUNIAK SPRINGS   FL   32435     WALGREENS         FW0149256     300      100      8,900   14,300   27,100   21,500   12,033    72,200

100102004   038110023   WALGREENS #09657        DSD          DENVER         CO   80204     WALGREENS         FW0152657   14,400   18,460    16,000   16,800   18,600   13,100   16,227    97,360

100097670   052222356   WALGREENS #10067        DSD        PHILADELPHIA     MS   39350     WALGREENS         FW0152669   23,500   25,800    23,690   25,000   20,100   20,500   23,098   138,590

100097330   052220772   WALGREENS #09456        DSD        MONTGOMERY       AL   36106     WALGREENS         FW0152671   16,600   14,100    15,100   14,300   18,500   14,500   15,517    93,100

100102356   046049981   WALGREENS #09231        DSD          STARKE         FL   32091     WALGREENS         FW0153471     400      100      4,100    4,330    7,600    7,000    3,922    23,530

100097096   040118315   WALGREENS #10248        DSD         SNELLVILLE      GA   30039     WALGREENS         FW0153483    8,000    7,900     6,000    8,500    8,100    5,500    7,333    44,000

100094953   004092874   WALGREENS #10511        DSD         HENRIETTA       NY   14467     WALGREENS         FW0153495    5,900    3,860     4,100    4,700    7,100    3,400    4,843    29,060

100095534   004093740   WALGREENS #09584        DSD        ROCHESTER        NY   14620     WALGREENS         FW0154396    4,000    6,200     3,500    3,700    5,000    2,700    4,183    25,100

100102619   046052365   WALGREENS #10181        DSD         PENSACOLA       FL   32534     WALGREENS         FW0156340     300      100      9,200   18,600   11,500   24,500   10,700    64,200

100098601   025090837   WALGREENS #10500        DSD          DULUTH         MN   55811     WALGREENS         FW0158065   19,600   23,300    18,100   20,200   20,300   13,000   19,083   114,500

100097307   052220541   WALGREENS #10628        DSD         FLORENCE        AL   35630     WALGREENS         FW0158077   17,700   17,580    18,000   20,530   13,800   15,500   17,185   103,110

100094384   041145813   WALGREENS #09949        DSD           ALDIE         VA   20105     WALGREENS         FW0158089    3,100    2,000     3,260    2,460    2,800    2,100    2,620    15,720

100095124   010232124   WALGREENS #10051        DSD           MASON         OH   45040     WALGREENS         FW0158091    6,600    5,800     5,500    6,000    6,700    5,600    6,033    36,200

100101554   038109009   WALGREENS #09607        DSD         LITTLETON       CO   80128     WALGREENS         FW0161860    7,900    8,400     7,100    8,100    9,100    5,800    7,733    46,400

100095387   010232397   WALGREENS #10569        DSD           NILES         OH   44446     WALGREENS         FW0161872   16,400   18,000    15,700   16,700   19,700   14,100   16,767   100,600

100097191   040119255   WALGREENS #10422        DSD          ATLANTA        GA   30342     WALGREENS         FW0164640    2,500    3,700     1,600    1,600    2,100    1,600    2,183    13,100

100097323   052220707   WALGREENS #10523        DSD        FORT PAYNE       AL   35968     WALGREENS         FW0164652   22,000   21,800    19,300   23,100   20,900   13,500   20,100   120,600

100097907   019170233   WALGREENS #09793        DSD        FORT WAYNE       IN   46825     WALGREENS         FW0166834   13,700   12,900    10,200   12,000   14,900   10,700   12,400    74,400

100094816   041146878   WALGREENS #02446        DSD           ESSEX         MD   21221     WALGREENS         FW0166846    8,760   10,590     9,530    7,590   10,100    6,300    8,812    52,870
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100095819   004094284   WALGREENS #10268      DSD        BELLINGHAM         MA   02019     WALGREENS         FW0169385    6,800    6,800    6,800    7,100    6,900    3,800    6,367    38,200

100094728   004092700   WALGREENS #10158      DSD        CORTLAND           NY   13045     WALGREENS         FW0169397    7,300    7,500    5,900    6,200    8,400    5,400    6,783    40,700

100097128   040118638   WALGREENS #07995      DSD      STONE MOUNTAIN       GA   30088     WALGREENS         FW0171138    6,200    6,000    5,500    5,000    5,700    5,100    5,583    33,500

100095974   041152082   WALGREENS #07974      DSD         HAMILTON          NJ   08690     WALGREENS         FW0171152    7,240    6,200    6,400    5,740    6,620    3,900    6,017    36,100

100095738   004093997   WALGREENS #09759      DSD       WILLIAMSVILLE       NY   14221     WALGREENS         FW0171164    5,600    6,580    5,600    6,000    7,000    3,500    5,713    34,280

100096018   041152207   WALGREENS #09989      DSD   LITTLE EGG HARBOR TWP   NJ   08087     WALGREENS         FW0171188    4,400    7,800    3,800    6,800    6,400    3,900    5,517    33,100

100095650   055036780   WALGREENS #10436      DSD        SWANSBORO          NC   28584     WALGREENS         FW0171784   13,000   12,500   13,700   12,600   15,000    5,500   12,050    72,300

100099378   021170472   WALGREENS #10587      DSD          MEXICO           MO   65265     WALGREENS         FW0176784    8,900   13,600   13,600   14,000   13,200    7,800   11,850    71,100

100102397   020161612   WALGREENS #09840      DSD       QUEEN CREEK         AZ   85142     WALGREENS         FW0178601   10,700    8,800   10,300   10,500   13,000    9,000   10,383    62,300

100102479   012111336   WALGREENS #09089      DSD     HUNTINGTON BEACH      CA   92646     WALGREENS         FW0178613   29,800   27,900   25,900   25,000   28,900   25,600   27,183   163,100

100099690   018397976   WALGREENS #10418      DSD           HOPE            AR   71801     WALGREENS         FW0178625    9,900   13,300   16,800   17,100   19,300    8,000   14,067    84,400

100098178   049194167   WALGREENS #10514      DSD        CHEBOYGAN          MI   49721     WALGREENS         FW0178649   18,900   19,100   19,800   16,000   16,100   11,500   16,900   101,400

100103244   017097956   WALGREENS #10726      DSD         MISSOULA          MT   59801     WALGREENS         FW0178651   13,500   15,200   12,100   14,500   16,200    8,500   13,333    80,000

100098098   049193656   WALGREENS #10251      DSD        SAINT JOHNS        MI   48879     WALGREENS         FW0182600   12,200   11,200   11,700   11,800   15,300    5,700   11,317    67,900

100072896   041175000   WALGREENS #11388                 RICHMOND           VA   23235     WALGREENS         FW0182612    4,000    3,600    3,500    4,000    4,000    4,500    3,933    23,600

100098806   019174706   WALGREENS #09326      DSD        FRANKFORT          IL   60423     WALGREENS         FW0189058   18,000   19,930   17,800   23,140   23,900   14,440   19,535   117,210

100097505   052221705   WALGREENS #10688      DSD         NEWPORT           TN   37821     WALGREENS         FW0189060   35,440   36,500   36,500   35,320   32,600   25,000   33,560   201,360

100098420   025089417   WALGREENS #10585      DSD        RIVER FALLS        WI   54022     WALGREENS         FW0190936    4,700    6,800    5,000    5,100    6,800    3,500    5,317    31,900

100103231   046055525   WALGREENS #09788      DSD        HOMESTEAD          FL   33033     WALGREENS         FW0194198              100      100     3,000    3,900    2,700    1,960     9,800

100103138   008113761   WALGREENS #06625      DSD      SAN FRANCISCO        CA   94123     WALGREENS         FW0195203    6,100    5,500    4,700    4,700    6,200    3,100    5,050    30,300

100103435   008114736   WALGREENS #09864      DSD       GARDNERVILLE        NV   89410     WALGREENS         FW0195215   16,500   18,700   17,700   20,400   22,200   10,500   17,667   106,000

100100402   037132803   WALGREENS #10231      DSD           ALICE           TX   78332     WALGREENS         FW0195227    2,700    5,600   27,100   55,300   30,500    9,500   21,783   130,700

100102767   008112862   WALGREENS #09815      DSD        KINGSBURG          CA   93631     WALGREENS         FW0199035    9,300   13,900   11,600   13,500   13,900   14,600   12,800    76,800

100095560   055036525   WALGREENS #10133      DSD        SALISBURY          NC   28146     WALGREENS         FW0199047   27,900   29,280   26,320   31,500   33,100   27,500   29,267   175,600

100095737   041151449   WALGREENS #09975      DSD       WILLIAMSBURG        VA   23185     WALGREENS         FW0199059    9,130    9,090    7,360    7,030    6,100    6,500    7,535    45,210

100097376   044214957   WALGREENS #10191      DSD        BRENTWOOD          TN   37027     WALGREENS         FW0199061    4,500    3,700    3,800    3,600    5,500    3,500    4,100    24,600

100094948   010229633   WALGREENS #10810      DSD          HEATH            OH   43056     WALGREENS         FW0203036    8,200    7,200    7,100    7,320    7,800    7,100    7,453    44,720

100102611   046052324   WALGREENS #09917      DSD        PENSACOLA          FL   32526     WALGREENS         FW0203682              100     8,200   14,000   19,500   26,000   13,560    67,800

100087181   003091769   WALGREENS #10160                 GUAYNABO           PR   00968     WALGREENS         FW0203694                      1,000                               1,000     1,000

100102426   012111195   WALGREENS #09884      DSD         MURRIETA          CA   92562     WALGREENS         FW0206397   23,130   25,400   26,300   27,400   30,700   18,100   25,172   151,030

100099722   018398289   WALGREENS #10364      DSD        LITTLE ROCK        AR   72227     WALGREENS         FW0206400    7,700   10,580    9,600   11,000   13,200    8,500   10,097    60,580

100097957   019170522   WALGREENS #10486      DSD          BRAZIL           IN   47834     WALGREENS         FW0206412    1,000    6,500    9,100   10,200    8,600    6,000    6,900    41,400

100098598   025090803   WALGREENS #10501      DSD         VIRGINIA          MN   55792     WALGREENS         FW0212112   21,200   20,900   22,800   22,600   22,100   13,800   20,567   123,400

100098103   019170605   WALGREENS #10081      DSD         PORTAGE           MI   49002     WALGREENS         FW0216209   19,200   15,400   18,300   17,700   15,800   16,100   17,083   102,500

100095100   010232009   WALGREENS #10518      DSD         MADISON           OH   44057     WALGREENS         FW0216920    7,550    7,290    6,390    7,800    8,400    7,100    7,422    44,530

100094856   055033845   WALGREENS #10162      DSD         FORT MILL         SC   29708     WALGREENS         FW0216932    3,200    4,430    5,620    5,130    6,100    5,500    4,997    29,980

100098299   019171439   WALGREENS #09605      DSD         KENOSHA           WI   53144     WALGREENS         FW0216956   21,500   26,700   20,600   22,200   28,200   24,700   23,983   143,900

100087777   019151118   WALGREENS #09605   340B           KENOSHA           WI   53144   PHS 340B HOSPITAL   FW0216956                       500                                 500       500

100100339   037132795   WALGREENS #10689      DSD         BEEVILLE          TX   78102     WALGREENS         FW0223343     140      300     5,720   15,300   11,100    5,200    6,293    37,760

100100437   037133157   WALGREENS #10551      DSD         WESLACO           TX   78596     WALGREENS         FW0223367     200      900     7,000   14,300   12,900    6,600    6,983    41,900

100101993   024120600   WALGREENS #05798      DSD          COVINA           CA   91722     WALGREENS         FW0223406   12,400   14,700   10,700   12,500   13,700   16,300   13,383    80,300

100075888   004175992   WALGREENS #11387               SOUTHBOROUGH         MA   01772     WALGREENS         FW0225169    1,000    1,500    1,000     600     2,000    1,500    1,267     7,600

100068406   052175844   WALGREENS #11599                 COLUMBUS           MS   39705     WALGREENS         FW0229408   13,000   15,000   12,000   12,600   16,200   13,700   13,750    82,500

100098472   019172965   WALGREENS #10496      DSD       FOND DU LAC         WI   54935     WALGREENS         FW0229422   26,560   25,430   26,750   31,690   19,000   20,500   24,988   149,930
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100096289   004100669   WALGREENS #10376     DSD          WILMINGTON      MA   01887   WALGREENS     FW0229460     2,700      2,300     3,000     3,500    2,200    2,200    2,650    15,900

100095429   010232512   WALGREENS #09906     DSD            OXFORD        OH   45056   WALGREENS     FW0232950     4,630      7,320     5,600     6,900    6,900    4,500    5,975    35,850

100097616   052222067   WALGREENS #10815     DSD             SPARTA       TN   38583   WALGREENS     FW0232962    24,130     26,530    22,100    23,100   23,630   18,530   23,003   138,020

100098422   019172643   WALGREENS #10759     DSD           KAUKAUNA       WI   54130   WALGREENS     FW0232974     9,300      8,300     9,200    10,800    6,700    8,000    8,717    52,300

100061567   046099093   WALGREENS # 11583                    OVIEDO       FL   32765   WALGREENS     FW0238560      100        200      2,900     2,600    4,000    4,000    2,300    13,800

100103683   008115907   WALGREENS #09703     DSD            FORTUNA       CA   95540   WALGREENS     FW0244979    32,500     32,900    34,500    28,100   39,300   21,000   31,383   188,300

100069653   046013169   EXACTUS PHARMACY SOLUTIONS INC       TAMPA        FL   33634   HEALTH PLAN   FW0246846   131,100    116,100   106,000   121,600   50,600    2,500   87,983   527,900

100094718   023138370   WALGREENS #09865     DSD            COMMACK       NY   11725   WALGREENS     FW0247521     3,100      4,300     2,000     3,700    5,300    2,500    3,483    20,900

100075115   008100305   WALGREENS #11385                 SAN FRANCISCO    CA   94110   WALGREENS     FW0247610    12,300     11,800    10,500    10,100   12,800   11,100   11,433    68,600

100096298   004100743   WALGREENS #09152     DSD           WORCESTER      MA   01606   WALGREENS     FW0251176     4,800      3,200     4,500     2,700    4,700    3,000    3,817    22,900

100072187   056039065   WALGREENS EASTERN CO INC#11595    PHILADELPHIA    PA   19107   WALGREENS     FW0251188      900       1,800     2,700     3,000    2,600    1,500    2,083    12,500

100095631   041151100   WALGREENS #10394     DSD         STEPHENS CITY    VA   22655   WALGREENS     FW0252572     2,900      3,000     4,000     4,500    5,000    3,200    3,767    22,600

100102408   046051326   WALGREENS #10373     DSD          THE VILLAGES    FL   32162   WALGREENS     FW0252609       -         100      9,700     9,200    3,700    7,200    4,983    29,900

100098926   019176933   WALGREENS #10558     DSD            CHICAGO       IL   60606   WALGREENS     FW0252611     3,660      3,030     2,630     3,200    4,500    1,000    3,003    18,020

100094740   055033605   WALGREENS #10608     DSD             DALLAS       NC   28034   WALGREENS     FW0252635    22,600     22,960    19,920    23,400   19,600   18,900   21,230   127,380

100061569   018099085   WALGREENS # 11585                   NORMAN        OK   73069   WALGREENS     FW0252736      200        500      3,700     5,500    7,000    6,500    3,900    23,400

100094968   010229666   WALGREENS #09904     DSD            HILLIARD      OH   43026   WALGREENS     FW0252786     5,400      6,100     4,600     5,100    5,800    6,100    5,517    33,100

100098631   021169839   WALGREENS #10729     DSD           SIOUX FALLS    SD   57106   WALGREENS     FW0252813     6,400      6,500     7,100     5,500    7,500    3,400    6,067    36,400

100095825   004094300   WALGREENS #10119     DSD             BERLIN       CT   06037   WALGREENS     FW0252825     3,900      5,500     3,900     5,300    5,800    3,700    4,683    28,100

100095863   004094565   WALGREENS #11604     DSD            CANTON        CT   06019   WALGREENS     FW0252837     3,300      3,760     2,600     3,290    4,100    1,160    3,035    18,210

100096190   004099531   WALGREENS #11605     DSD            SHELTON       CT   06484   WALGREENS     FW0252914     4,200      4,400     2,300     3,400    5,400    2,700    3,733    22,400

100085407   004069161   WALGREENS #12025                   WATERBURY      CT   06702   WALGREENS     FW0252926     2,200      1,700     1,600     3,300    2,200    2,000    2,167    13,000

100099523   021171785   WALGREENS #11089     DSD            LINCOLN       NE   68516   WALGREENS     FW0254730     8,200      7,900     7,200     8,800    8,900    6,000    7,833    47,000

100099804   018398982   WALGREENS #09670     DSD             ALTUS        OK   73521   WALGREENS     FW0254742      (200)      100     20,200    26,100   15,500   21,500   13,867    83,200

100095121   010232090   WALGREENS #11578     DSD           MARYSVILLE     OH   43041   WALGREENS     FW0254893     2,100      1,800     2,500     2,300    1,900    1,800    2,067    12,400

100101736   046046649   WALGREENS #09401     DSD             MIAMI        FL   33187   WALGREENS     FW0255629      100        100       330      1,800    2,100    1,700    1,022     6,130

100061566   046099085   WALGREENS # 12146                   ORLANDO       FL   32806   WALGREENS     FW0255631      600                 3,500     4,000    4,200    3,100    3,080    15,400

100095910   004094888   WALGREENS #10378     DSD         EAST HAMPSTEAD   NH   03826   WALGREENS     FW0255643     7,300      7,230     6,400     6,500    6,800    5,700    6,655    39,930

100061565   046099069   WALGREENS # 11580                 JACKSONVILLE    FL   32218   WALGREENS     FW0255655                          5,500     9,500   14,500   14,000   10,875    43,500

100098597   025090795   WALGREENS #11125     DSD            HIBBING       MN   55746   WALGREENS     FW0258358    16,500     14,500    14,500    17,000   15,000    9,000   14,417    86,500

100101934   024120311   WALGREENS #01813     DSD            TARZANA       CA   91356   WALGREENS     FW0258372     8,400      6,400     9,000     6,700   10,100    4,700    7,550    45,300

100068694   044175653   WALGREENS #11600                    JACKSON       TN   38301   WALGREENS     FW0258396    29,800     30,300    28,700    30,100   25,200   24,500   28,100   168,600

100095459   041150391   WALGREENS #11780     DSD          PHILADELPHIA    PA   19148   WALGREENS     FW0258423     5,200      6,900     5,600     5,400    6,700    3,200    5,500    33,000

100095209   023143982   WALGREENS #10279     DSD           NEW YORK       NY   10022   WALGREENS     FW0260226     2,160      1,200     2,200     1,200    2,100    1,200    1,677    10,060

100094468   055033027   WALGREENS #10595     DSD         BENNETTSVILLE    SC   29512   WALGREENS     FW0260252    11,500     10,300    11,200    10,200   10,300    6,600   10,017    60,100

100103597   032149757   WALGREENS #06590     DSD            SEATTLE       WA   98122   WALGREENS     FW0261494     1,500      1,000     2,000     1,100    2,500     600     1,450     8,700

100098374   019172189   WALGREENS #10962     DSD           DODGEVILLE     WI   53533   WALGREENS     FW0261519    10,100     11,000    11,500    10,500   11,000    9,500   10,600    63,600

100095104   004093492   WALGREENS #10591     DSD            MALONE        NY   12953   WALGREENS     FW0261521     7,900      8,200     6,600     7,200    9,800    6,500    7,700    46,200

100103356   008114389   WALGREENS #10045     DSD            BERKELEY      CA   94704   WALGREENS     FW0262650      500                 1,000     1,200     600      500      760      3,800

100069045   038078121   WALGREENS #11255                    DENVER        CO   80220   WALGREENS     FW0262662     9,200      6,900     9,000     7,300   13,100    6,800    8,717    52,300

100095668   010233007   WALGREENS #11511     DSD            TRENTON       OH   45067   WALGREENS     FW0264832    20,780     23,890    18,890    22,910   20,200   21,580   21,375   128,250

100072897   019175000   WALGREENS #15525                    CHICAGO       IL   60611   WALGREENS     FW0264933    35,000     34,300    33,800    37,900   41,600   31,200   35,633   213,800

100099040   019178103   WALGREENS # 15281    DSD            CHICAGO       IL   60657   WALGREENS     FW0264945     4,700      4,800     4,500     4,500    4,800    4,000    4,550    27,300

100096299   004100750   WALGREENS #10319     DSD           WORCESTER      MA   01605   WALGREENS     FW0264957     2,900      3,000     4,300     3,200    4,700    3,000    3,517    21,100
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100098227   021169615   WALGREENS #10770         DSD        CARROLL         IA   51401     WALGREENS         FW0266634    7,900    9,100    9,600    8,400   11,500    5,800    8,717    52,300

100102308   046049767   WALGREENS #10469         DSD   GREEN COVE SPRINGS   FL   32043     WALGREENS         FW0266646              100     4,700    9,500    9,000   11,000    6,860    34,300

100095990   041152132   WALGREENS #09649         DSD        HOWELL          NJ   07731     WALGREENS         FW0266913    3,800    3,100    4,100    2,700    4,500    3,500    3,617    21,700

100094582   004092593   WALGREENS #10380         DSD      CANANDAIGUA       NY   14424     WALGREENS         FW0266937    9,900    8,700   10,800    8,400   13,300    7,700    9,800    58,800

100100446   018402511   WALGREENS #10839         DSD    FREDERICKSBURG      TX   78624     WALGREENS         FW0271407    4,300   19,200   17,800   20,140   17,400   10,000   14,807    88,840

100094993   055034439   WALGREENS #10226         DSD         IRMO           SC   29063     WALGREENS         FW0271419    8,700    8,760    7,100    8,800    8,900    6,500    8,127    48,760

100095698   055036848   WALGREENS #10088         DSD        WALLACE         NC   28466     WALGREENS         FW0271421    7,400   10,880    9,100    7,000    7,800    5,500    7,947    47,680

100102839   008113035   WALGREENS #10335         DSD        FRESNO          CA   93722     WALGREENS         FW0275075   14,300   18,600   14,900   20,200   17,200   13,900   16,517    99,100

100103226   008113985   WALGREENS #09978         DSD      BRENTWOOD         CA   94513     WALGREENS         FW0275215   39,000   47,600   34,800   40,600   44,500   30,800   39,550   237,300

100097211   052220079   WALGREENS #10798         DSD      CHATSWORTH        GA   30705     WALGREENS         FW0275493   18,000   19,700   19,000   23,800   22,700   13,000   19,367   116,200

100103076   020163246   WALGREENS #09571         DSD      CHINO VALLEY      AZ   86323     WALGREENS         FW0275506   24,400   28,740   27,050   25,600   25,300   20,200   25,215   151,290

100099448   021171173   WALGREENS #11167         DSD        EMPORIA         KS   66801     WALGREENS         FW0275518    7,100   12,100   11,500   13,500   12,000   10,000   11,033    66,200

100099701   018398081   WALGREENS #10059         DSD         CABOT          AR   72023     WALGREENS         FW0275532   13,260   17,200   20,200   20,140   21,100   16,000   17,983   107,900

100101966   024120444   WALGREENS #09491         DSD   NORTH HOLLYWOOD      CA   91601     WALGREENS         FW0275544   12,100   10,400   13,500   11,400   13,200   10,400   11,833    71,000

100105660   024113100   WALGREENS #09491-340B          NORTH HOLLYWOOD      CA   91601    PHS 340B CLINIC    FW0275544                                100                        100       100

100097813   019169292   WALGREENS #10487         DSD      INDIANAPOLIS      IN   46237     WALGREENS         FW0277194   10,700    9,800   10,500   11,000    9,500   11,300   10,467    62,800

100097938   019170456   WALGREENS #10533         DSD        MUNCIE          IN   47304     WALGREENS         FW0277207   11,500   12,800   11,700   12,200   14,100   10,600   12,150    72,900

100103224   017097899   WALGREENS #10652         DSD        BILLINGS        MT   59105     WALGREENS         FW0277219   20,000   19,900   19,600   22,000   16,600   13,500   18,600   111,600

100103232   017097923   WALGREENS #10083         DSD      GREAT FALLS       MT   59405     WALGREENS         FW0277233   31,000   35,900   36,800   35,100   37,300   19,500   32,600   195,600

100103228   017097915   WALGREENS #10859         DSD      GREAT FALLS       MT   59404     WALGREENS         FW0277245   13,000   12,600   10,600   12,500   13,500    6,000   11,367    68,200

100061745   004099077   *WALGREENS # 11601                  AMHERST         MA   01002     WALGREENS         FW0277257     700     2,100    1,500    1,400    1,200    1,100    1,333     8,000

100061746   004099085   WALGREENS # 11602                  FLORENCE         MA   01062     WALGREENS         FW0277269    2,600    3,400    3,000    3,600    4,000    2,000    3,100    18,600

100061744   041104844   WALGREENS # 11594        B07    PRINCE FREDERICK    MD   20678     WALGREENS         FW0277283    4,500    6,330    5,800    6,100    4,700    5,100    5,422    32,530

100094373   055032821   WALGREENS #10674         DSD        ADVANCE         NC   27006     WALGREENS         FW0278879   10,120    7,300    8,800    9,800   10,100    8,100    9,037    54,220

100097516   052221812   WALGREENS #10066         DSD      SWEETWATER        TN   37874     WALGREENS         FW0278881   30,800   28,800   30,700   31,400   26,600   21,500   28,300   169,800

100107366   052224238   WALGREENS #10066 340B             SWEETWATER        TN   37874   PHS 340B HOSPITAL   FW0278881                       100                                 100       100

100097065   040118000   WALGREENS #10229         DSD      GREENWOOD         SC   29646     WALGREENS         FW0282614   18,400   19,900   18,300   21,700   22,800   17,700   19,800   118,800

100101856   020160234   WALGREENS #10371         DSD       DURANGO          CO   81301     WALGREENS         FW0282638    9,800   12,140   10,600   10,300   11,600    5,700   10,023    60,140

100099626   037131821   WALGREENS #10508         DSD      LAKE CHARLES      LA   70605     WALGREENS         FW0285571     160      800     9,200   13,700   17,000   10,000    8,477    50,860

100100407   037132852   WALGREENS #10945         DSD     CORPUS CHRISTI     TX   78410     WALGREENS         FW0287119     200      940    15,100   31,120   26,200   10,500   14,010    84,060

100094413   041145888   WALGREENS #10503         DSD        ASHBURN         VA   20148     WALGREENS         FW0287145    2,600    3,000    2,700    3,000    3,100    1,900    2,717    16,300

100094821   041146894   WALGREENS #10712         DSD        FAIRFAX         VA   22030     WALGREENS         FW0287157    2,730    3,130    2,530    2,930    2,000    3,300    2,770    16,620

100099586   037131417   WALGREENS #10267         DSD         HOUMA          LA   70364     WALGREENS         FW0287258     200     1,800   16,800   28,500   29,500   22,500   16,550    99,300

100100254   037132514   WALGREENS #10681         DSD         SEALY          TX   77474     WALGREENS         FW0294330     100      400     6,900    9,100    7,300    3,500    4,550    27,300

100095454   041150052   WALGREENS #06895         DSD      PHILADELPHIA      PA   19139     WALGREENS         FW0294354    3,900    3,700    3,600    3,000    2,800    5,100    3,683    22,100

100102811   008112961   WALGREENS #09702         DSD        FRESNO          CA   93710     WALGREENS         FW0298477   14,500   16,700   14,200   15,400   18,800   16,300   15,983    95,900

100103673   032151274   WALGREENS #10478         DSD       RICHLAND         WA   99354     WALGREENS         FW0302555   17,600   16,670   16,200   19,600   16,700   16,300   17,178   103,070

100094898   010229534   WALGREENS #09043         DSD       GLENSHAW         PA   15116     WALGREENS         FW0302618    5,700    4,460    3,900    4,760    5,600    4,100    4,753    28,520

100098284   019171280   WALGREENS #10584         DSD      BURLINGTON        WI   53105     WALGREENS         FW0302656   14,600   16,300   16,600   13,100   18,200    8,600   14,567    87,400

100096419   019163246   WALGREENS # 10584 340B            BURLINGTON        WI   53105   PHS 340B HOSPITAL   FW0302656                                500                        500       500

100100325   037132704   WALGREENS #10944         DSD        BRENHAM         TX   77833     WALGREENS         FW0304193             1,600   17,700   24,000   15,500    7,000   13,160    65,800

100102526   046051920   WALGREENS #09098         DSD      LAKE PLACID       FL   33852     WALGREENS         FW0309915     500     1,700    3,100   15,400   13,700   14,000    8,067    48,400

100097329   052220764   WALGREENS #10664         DSD       WETUMPKA         AL   36092     WALGREENS         FW0309939   14,700   13,100   11,800   14,000   15,000   10,500   13,183    79,100

100101796   038109702   WALGREENS #11864         DSD   COLORADO SPRINGS     CO   80907     WALGREENS         FW0309941    8,200    9,200    8,500    7,600   11,400    4,500    8,233    49,400
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100101695   038109439   WALGREENS #11862    DSD           FORT COLLINS     CO   80524   WALGREENS     FW0309965   18,400   14,500   17,800   14,300   19,600    9,800   15,733    94,400

100101783   038109660   WALGREENS #11863    DSD         COLORADO SPRINGS   CO   80904   WALGREENS     FW0309977   11,000   11,200   10,900    9,100   12,200    5,000    9,900    59,400

100096133   004099143   WALGREENS #12352    DSD             PELHAM         NH   03076   WALGREENS     FW0313522    5,200    4,100    3,300    4,800    4,800    3,400    4,267    25,600

100096248   004100230   WALGREENS #11985    DSD             WALPOLE        NH   03608   WALGREENS     FW0313546    4,400    4,800    5,600    5,100    4,000    2,700    4,433    26,600

100094466   010228270   WALGREENS #10915    DSD          BELLEFONTAINE     OH   43311   WALGREENS     FW0313558   11,230   10,230   10,000   12,830   12,200    8,000   10,748    64,490

100097345   052220889   WALGREENS #10761    DSD             ATMORE         AL   36502   WALGREENS     FW0313661   36,900   38,700   37,100   35,800   31,800   27,600   34,650   207,900

100101250   049194456   WALGREENS #11607    DSD             REDFORD        MI   48239   WALGREENS     FW0317710   15,000   14,300   16,630   12,630   15,300    9,600   13,910    83,460

100098638   038106708   WALGREENS #10656    DSD            RAPID CITY      SD   57701   WALGREENS     FW0317734   18,800   20,000   20,800   19,000   19,200   16,700   19,083   114,500

100100435   037133132   WALGREENS #10550    DSD             SAN JUAN       TX   78589   WALGREENS     FW0317772     500      400     3,500    6,300    5,500    2,000    3,033    18,200

100099677   037132183   WALGREENS #10538    DSD            LEESVILLE       LA   71446   WALGREENS     FW0317784     200      540    13,000   19,800   18,800   18,000   11,723    70,340

100095016   004092916   WALGREENS #10442    DSD             KENMORE        NY   14217   WALGREENS     FW0319308   15,400   17,630   14,500   16,700   18,500   13,130   15,977    95,860

100102915   008113225   WALGREENS #07970    DSD             MILLBRAE       CA   94030   WALGREENS     FW0325438   15,200   15,900   15,700   16,800   16,000   12,800   15,400    92,400

100075015   017630152   WEE CARE PHMCY DBA DAVIS DRUG       LAYTON         UT   84041   INDEPENDENT   FW0326593   10,700   11,600    4,600    2,100   23,000    3,700    9,283    55,700

100102125   012109173   WALGREENS #09433    DSD            OCEANSIDE       CA   92054   WALGREENS     FW0329587   25,180   27,830   25,200   25,760   27,000   17,100   24,678   148,070

100102129   012109181   WALGREENS #07751    DSD            OCEANSIDE       CA   92056   WALGREENS     FW0329638    9,600    8,300   10,300    9,800   12,000    5,500    9,250    55,500

100099418   021170878   WALGREENS #10125    DSD           KANSAS CITY      KS   66102   WALGREENS     FW0329741    3,600   15,200   14,000   15,000   20,500   14,500   13,800    82,800

100099697   018398040   WALGREENS #10715    DSD           ARKADELPHIA      AR   71923   WALGREENS     FW0329816    8,100   10,700   11,500   12,620   14,500   11,000   11,403    68,420

100103685   046055657   WALGREENS #10312    DSD            PENSACOLA       FL   32505   WALGREENS     FW0329830     100      260    14,750   25,230   33,000   36,200   18,257   109,540

100103382   038110213   WALGREENS #07451    DSD             FOXFIELD       CO   80016   WALGREENS     FW0329854    6,100    6,500    5,900    4,600    8,000    3,300    5,733    34,400

100095556   041150920   WALGREENS #09927    DSD            SALISBURY       MD   21801   WALGREENS     FW0329878    5,300    5,900    4,700    4,700    4,400    2,600    4,600    27,600

100094859   041146985   WALGREENS #11986    DSD             FRANKLIN       VA   23851   WALGREENS     FW0329905    8,790    9,100    9,100    8,460    8,000    7,700    8,525    51,150

100095036   010231720   WALGREENS #09407    DSD            LAKEWOOD        OH   44107   WALGREENS     FW0329931    7,100    7,800    8,500    7,700    7,500    6,100    7,450    44,700

100095810   041151712   WALGREENS #09503    DSD            BARNEGAT        NJ   08005   WALGREENS     FW0335275    5,520    4,530    6,200    4,400    5,000    6,400    5,342    32,050

100071910   004073148   WALGREENS #11592                    LATHAM         NY   12110   WALGREENS     FW0339918    5,500    4,500    7,000    5,000    6,500    4,500    5,500    33,000

100069716   004014050   WALGREENS #11593                  WHITE PLAINS     NY   10604   WALGREENS     FW0339932    2,600    2,600    2,600    2,500    4,100    1,600    2,667    16,000

100094983   055034397   WALGREENS #10287    DSD           HUNTERSVILLE     NC   28078   WALGREENS     FW0343652    5,570    5,900    6,200    6,100    5,600    6,100    5,912    35,470

100102567   046052126   WALGREENS #10717    DSD           TALLAHASSEE      FL   32304   WALGREENS     FW0343664     100      300     2,500    6,300    9,000    8,600    4,467    26,800

100096233   004099945   WALGREENS #10144    DSD           TORRINGTON       CT   06790   WALGREENS     FW0347965    4,700    6,800    5,000    6,000    7,700    4,200    5,733    34,400

100100021   018401141   WALGREENS #10872    DSD            MANSFIELD       TX   76063   WALGREENS     FW0351899    5,700   19,800   18,100   18,900   18,100    7,500   14,683    88,100

100074204   037115006   WALGREEN CO                         HOUSTON        TX   77030   WALGREENS     FW0351914     600      500     6,000    8,900   10,300    8,600    5,817    34,900

100087178   003091686   WALGREENS #09215                    LUQUILLO       PR   00773   WALGREENS     FW0351938     100                                                   100       100

100097248   046044446   WALGREENS #10266    DSD            BRUNSWICK       GA   31520   WALGREENS     FW0353449   11,600   13,500    8,800    9,600    9,000    6,500    9,833    59,000

100102414   012111161   WALGREENS #09616    DSD          MORENO VALLEY     CA   92551   WALGREENS     FW0353475   19,700   20,500   19,700   20,300   16,500   23,800   20,083   120,500

100076976   018100313   WALGREENS #11402                     DALLAS        TX   75230   WALGREENS     FW0353526    3,500    4,300    4,900    5,400    4,700    4,000    4,467    26,800

100094596   055033183   WALGREENS #10541    DSD              CARY          NC   27511   WALGREENS     FW0353540    6,860    5,460    4,500    5,200    7,300    3,100    5,403    32,420

100076975   018100305   WALGREENS #11401                     DALLAS        TX   75230   WALGREENS     FW0353564    4,700    7,100    7,200    4,100    7,800    6,500    6,233    37,400

100097201   040119354   WALGREENS #09494    DSD            SUGAR HILL      GA   30518   WALGREENS     FW0359908    8,100    7,000    9,500    9,500   10,500    6,500    8,517    51,100

100098329   019171736   WALGREENS #10873    DSD            MILWAUKEE       WI   53211   WALGREENS     FW0359910    7,700    7,900    7,000    8,000    7,100    6,500    7,367    44,200

100095179   055036145   WALGREENS #10086    DSD            MOUNT AIRY      NC   27030   WALGREENS     FW0359922   22,730   24,700   23,200   24,800   21,900   19,500   22,805   136,830

100094430   010228189   WALGREENS #10567    DSD             AURORA         OH   44202   WALGREENS     FW0359934    7,000    6,200    6,300    6,100    6,800    5,800    6,367    38,200

100094715   010229005   WALGREENS #10050    DSD            COLUMBUS        OH   43213   WALGREENS     FW0359958   10,700    7,100    9,500    8,800    9,800    7,600    8,917    53,500

100097624   044216457   WALGREENS #10517    DSD           OLIVE BRANCH     MS   38654   WALGREENS     FW0366410   12,500   13,000   10,700   12,800    8,600   10,500   11,350    68,100

100101711   038109470   WALGREENS #10601    DSD           FORT COLLINS     CO   80528   WALGREENS     FW0366422   13,860   12,460   13,700   13,930   18,100   10,000   13,675    82,050

100103139   046055103   WALGREENS #09018    DSD             HIALEAH        FL   33014   WALGREENS     FW0366446     200      400     1,100    4,700    3,800    2,600    2,133    12,800
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100102454   012111278   WALGREENS #10172   DSD     SAN JACINTO    CA   92583   WALGREENS   FW0366458   10,300   13,800   12,600   14,100   14,800    9,500   12,517    75,100

100097642   052222109   WALGREENS #11171   DSD    GREENWOOD       MS   38930   WALGREENS   FW0366460   22,500   21,200   23,800   23,000   19,000   19,500   21,500   129,000

100094927   055034140   WALGREENS #10389   DSD     GREENVILLE     SC   29615   WALGREENS   FW0366472    6,700    8,400    6,200    7,400    6,800    6,000    6,917    41,500

100098381   019172254   WALGREENS #10554   DSD     MC FARLAND     WI   53558   WALGREENS   FW0366484    8,100    8,000    8,500    7,500    7,500    6,500    7,683    46,100

100098443   019172734   WALGREENS #11278   DSD    STEVENS POINT   WI   54481   WALGREENS   FW0366496   12,700   11,300    9,200   11,300    9,700    9,500   10,617    63,700

100101599   038109165   WALGREENS #10116   DSD       DENVER       CO   80227   WALGREENS   FW0366511    9,500   12,100    7,800   10,400   10,300    4,900    9,167    55,000

100099939   018400325   WALGREENS #09323   DSD     SEAGOVILLE     TX   75159   WALGREENS   FW0366547   13,300   20,500   19,200   20,500   15,300   13,500   17,050   102,300

100095791   004094003   WALGREENS #11984   DSD     YORKSHIRE      NY   14173   WALGREENS   FW0366561   13,200   13,700   10,300   15,100   19,700    9,700   13,617    81,700

100099614   037131706   WALGREENS #10577   DSD      JENNINGS      LA   70546   WALGREENS   FW0366573     600              5,100   10,100   11,500    8,100    7,080    35,400

100095725   055036897   WALGREENS #10230   DSD   WEST COLUMBIA    SC   29169   WALGREENS   FW0370534   11,400   11,700   10,160   10,660    9,900    8,500   10,387    62,320

100097953   044217430   WALGREENS #10939   DSD     EVANSVILLE     IN   47715   WALGREENS   FW0370560   17,700   15,500   18,600   18,100   18,200   13,000   16,850   101,100

100102029   024120709   WALGREENS #11440   DSD   MONTEREY PARK    CA   91754   WALGREENS   FW0370584    8,100    7,300    7,100    8,100    9,300    7,400    7,883    47,300

100102937   046053975   WALGREENS #09484   DSD      ORLANDO       FL   32822   WALGREENS   FW0378073      80       60     5,060    5,660    5,000    4,000    3,310    19,860

100098893   019176602   WALGREENS #09984   DSD     PLAINFIELD     IL   60544   WALGREENS   FW0378085   10,000    8,600    9,600    9,800   16,800    6,400   10,200    61,200

100097614   052222042   WALGREENS #10959   DSD     JAMESTOWN      TN   38556   WALGREENS   FW0378097   13,700   11,600   10,100   11,900   13,200    9,500   11,667    70,000

100097386   044215053   WALGREENS #09807   DSD      GALLATIN      TN   37066   WALGREENS   FW0378100    8,500    9,000    6,520    7,100   11,000    6,000    8,020    48,120

100097408   044215269   WALGREENS #10757   DSD    MOUNT JULIET    TN   37122   WALGREENS   FW0378112   19,100   20,100   21,500   20,500   17,000   17,000   19,200   115,200

100096084   004098780   WALGREENS #10375   DSD    NEW BEDFORD     MA   02745   WALGREENS   FW0378136    3,100    3,830    3,560    2,600    3,400    2,800    3,215    19,290

100096007   004098202   WALGREENS #10269   DSD      LAKEVILLE     MA   02347   WALGREENS   FW0378148    4,500    5,200    4,600    5,200    6,500    3,600    4,933    29,600

100102019   046047514   WALGREENS #09956   DSD     CLEWISTON      FL   33440   WALGREENS   FW0379126     100      400     3,200    4,300    5,800    6,900    3,450    20,700

100096104   004098921   WALGREENS #10209   DSD   NORTH ANDOVER    MA   01845   WALGREENS   FW0379138    2,000    2,500    2,000    1,500    1,500    2,000    1,917    11,500

100094448   041146134   WALGREENS #10076   DSD     BALTIMORE      MD   21209   WALGREENS   FW0384975    5,430    4,700    6,200    4,730    5,200    4,000    5,043    30,260

100099359   021170282   WALGREENS #10725   DSD    SAINT JOSEPH    MO   64506   WALGREENS   FW0384987    5,000   16,600   17,100   19,700   22,500   16,500   16,233    97,400

100095801   010233270   WALGREENS #11865   DSD     ZELIENOPLE     PA   16063   WALGREENS   FW0384999    4,700    2,100    4,600    5,000    3,900    4,100    4,067    24,400

100098390   019172346   WALGREENS #10925   DSD     SUN PRAIRIE    WI   53590   WALGREENS   FW0388620    9,700   13,500   10,100   10,500   16,500   10,000   11,717    70,300

100095797   010233247   WALGREENS #10519   DSD    YOUNGSTOWN      OH   44505   WALGREENS   FW0388632   14,300   13,400   14,600   14,100   16,200    9,500   13,683    82,100

100096204   004099606   WALGREENS #10460   DSD   SOUTH YARMOUTH   MA   02664   WALGREENS   FW0388656    3,700    3,300    4,500    3,100    4,900    2,500    3,667    22,000

100098164   049194027   WALGREENS #10351   DSD      WALKER        MI   49544   WALGREENS   FW0393784   24,800   28,100   23,100   25,200   22,900   15,500   23,267   139,600

100094532   023137968   WALGREENS #11806   DSD     BROOKLYN       NY   11218   WALGREENS   FW0395182    1,300    1,800    2,700    1,100    2,500    2,500    1,983    11,900

100103520   032148999   WALGREENS #10893   DSD       CANBY        OR   97013   WALGREENS   FW0395978    8,100    7,200    7,100    7,700    9,400    6,200    7,617    45,700

100098377   019172213   WALGREENS #11235   DSD     JANESVILLE     WI   53546   WALGREENS   FW0395980   15,700   16,200   15,800   18,000   20,800    8,500   15,833    95,000

100096170   023146985   WALGREENS #09335   DSD     ROCKAWAY       NJ   07866   WALGREENS   FW0404260    4,960    5,100    3,400    3,560    4,300    2,700    4,003    24,020

100095102   055035956   WALGREENS #10154   DSD       MAIDEN       NC   28650   WALGREENS   FW0406226   13,000   17,500   16,000   16,000   16,500    8,060   14,510    87,060

100095413   010232462   WALGREENS #10956   DSD      NORWALK       OH   44857   WALGREENS   FW0410201    7,700    8,200    7,500    7,900    8,200    7,200    7,783    46,700

100094741   023138404   WALGREENS #09228   DSD       DALLAS       PA   18612   WALGREENS   FW0410213    2,100    2,200    2,100    2,100    2,200    2,100    2,133    12,800

100097689   037104588   WALGREENS #10835   DSD      MCCOMB        MS   39648   WALGREENS   FW0410984   30,900   35,000   36,400   32,600   23,000   24,000   30,317   181,900

100101908   046047142   WALGREENS #07733   DSD     SPRING HILL    FL   34606   WALGREENS   FW0411001     100      200     2,160   15,960   14,700   11,300    7,403    44,420

100099306   044219030   WALGREENS #10474   DSD    SAINT PETERS    MO   63376   WALGREENS   FW0417433             6,100    9,600   10,600   12,000    6,000    8,860    44,300

100098473   019172973   WALGREENS #10927   DSD    FOND DU LAC     WI   54935   WALGREENS   FW0417483   10,200    8,000    9,100   10,200    9,100    5,600    8,700    52,200

100097508   052221739   WALGREENS #10870   DSD       ONEIDA       TN   37841   WALGREENS   FW0417495   12,000   13,600   13,600   15,200   13,000   11,000   13,067    78,400

100095944   041151985   WALGREENS #09933   DSD     FLEMINGTON     NJ   08822   WALGREENS   FW0421367    4,400    3,560    3,500    3,000    3,600    3,600    3,610    21,660

100100425   037133033   WALGREENS #11148   DSD      EDINBURG      TX   78539   WALGREENS   FW0421381     200      300     7,300    6,420    7,700    2,000    3,987    23,920

100100403   037132811   WALGREENS #10680   DSD    ARANSAS PASS    TX   78336   WALGREENS   FW0421420     160      100    10,800   22,700   15,500   13,000   10,377    62,260

100099984   018400770   WALGREENS #11212   DSD     HENDERSON      TX   75654   WALGREENS   FW0421432     200     1,300   10,700   19,500   20,000    6,500    9,700    58,200
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100099876   018399691   WALGREENS #10816    DSD       CARROLLTON      TX   75007   WALGREENS   FW0421444    7,100   12,800   11,600    9,700   15,500    3,500   10,033    60,200

100103505   008115758   WALGREENS #10114    DSD      SACRAMENTO       CA   95835   WALGREENS   FW0425365   14,200   17,200   17,200   15,100   15,100   11,500   15,050    90,300

100103478   008115196   WALGREENS #07191    DSD     CITRUS HEIGHTS    CA   95610   WALGREENS   FW0425416   21,700   24,780   21,630   23,800   23,400   30,000   24,218   145,310

100095498   055036350   WALGREENS #09635    DSD         RALEIGH       NC   27610   WALGREENS   FW0428018    7,100    5,780    6,000    6,000    6,200    6,800    6,313    37,880

100097069   040118042   WALGREENS #10581    DSD     NORTH AUGUSTA     SC   29841   WALGREENS   FW0428020    8,740   10,400    8,500   10,120    9,400   10,300    9,577    57,460

100102317   020161422   WALGREENS #10111    DSD         PHOENIX       AZ   85041   WALGREENS   FW0434770    5,100    6,100    6,600    5,700    8,000    5,600    6,183    37,100

100099152   044217562   WALGREENS #10718    DSD        LITCHFIELD     IL   62056   WALGREENS   FW0434782    4,600   22,700   21,600   23,700   23,600   16,000   18,700   112,200

100095696   041151332   WALGREENS #09632    DSD        WALDORF        MD   20603   WALGREENS   FW0434794    4,000    3,300    5,000    4,500    6,100    7,500    5,067    30,400

100099760   018398545   WALGREENS #10094    DSD         EDMOND        OK   73003   WALGREENS   FW0438386     500      500    11,300   15,200   13,700    9,100    8,383    50,300

100098733   019173971   WALGREENS #06764    DSD     CARPENTERSVILLE   IL   60110   WALGREENS   FW0438564   13,700   15,200   14,000   16,600   14,600   14,300   14,733    88,400

100095951   004097907   WALGREENS #10152    DSD       FRAMINGHAM      MA   01702   WALGREENS   FW0441066    1,500    2,200    2,100    2,100    1,700    1,100    1,783    10,700

100096134   041152348   WALGREENS #11982    DSD      PENNS GROVE      NJ   08069   WALGREENS   FW0441080    8,000    6,400    6,100    7,800    7,900    4,700    6,817    40,900

100073304   004100701   WALGREENS PHARMACY #10996       BOSTON        MA   02215   WALGREENS   FW0441092     200      500     1,000     700      500     1,600     750      4,500

100098853   019175646   WALGREENS #10774    DSD      ORLAND PARK      IL   60467   WALGREENS   FW0443642   11,300    5,400    9,800    7,100    8,600    6,100    8,050    48,300

100097650   052222182   WALGREENS #10805    DSD         MAGEE         MS   39111   WALGREENS   FW0443654   14,760   14,360   13,760   14,290   12,800   12,000   13,662    81,970

100101227   046044974   WALGREENS #10669    DSD       MACCLENNY       FL   32063   WALGREENS   FW0443680     100              7,000    7,500   12,500   10,500    7,520    37,600

100097606   052222000   WALGREENS #10871    DSD        SAVANNAH       TN   38372   WALGREENS   FW0443692   18,900   18,100   19,900   19,800   18,100   15,000   18,300   109,800

100094641   004092627   WALGREENS #10750    DSD         CICERO        NY   13039   WALGREENS   FW0443755    6,000    6,000    5,500    6,600    7,700    4,500    6,050    36,300

100095731   010233163   WALGREENS #10282    DSD        WEXFORD        PA   15090   WALGREENS   FW0443779    2,800    3,500    4,000    3,300    3,800    3,500    3,483    20,900

100095210   023143990   WALGREENS #10417    DSD        NEW YORK       NY   10065   WALGREENS   FW0443806     600     2,900    1,800    1,400    2,400    3,000    2,017    12,100

100098085   049193524   WALGREENS #10489    DSD       PRUDENVILLE     MI   48651   WALGREENS   FW0444529   23,400   22,100   21,200   24,000   22,900   15,300   21,483   128,900

100098869   019176040   WALGREENS #07467    DSD         AURORA        IL   60506   WALGREENS   FW0448034   17,200   19,500   14,500   19,200   16,900   16,600   17,317   103,900

100094858   010229450   WALGREENS #09733    DSD        FRANKLIN       OH   45005   WALGREENS   FW0448058   13,500   13,660   13,100   15,850   15,200   10,800   13,685    82,110

100094877   055033886   WALGREENS #10085    DSD         GARNER        NC   27529   WALGREENS   FW0448060    6,700    5,800    6,830    5,700    7,100    5,300    6,238    37,430

100097496   052221614   WALGREENS #10612    DSD        HARRIMAN       TN   37748   WALGREENS   FW0451384   19,420   23,340   22,510   23,040   11,800   20,500   20,102   120,610

100103625   032150763   WALGREENS #10304    DSD        PUYALLUP       WA   98373   WALGREENS   FW0451396    7,500    6,100    9,100    7,600    8,800    5,230    7,388    44,330

100095116   010232074   WALGREENS #10295    DSD         MARION        OH   43302   WALGREENS   FW0451409   11,100   10,000   12,200   12,300   16,000   14,500   12,683    76,100

100095726   004093989   WALGREENS #10383    DSD      WEST SENECA      NY   14224   WALGREENS   FW0453720   19,600   19,000   23,630   11,000   24,930   10,600   18,127   108,760

100095613   023145904   WALGREENS #01598    DSD      STATEN ISLAND    NY   10302   WALGREENS   FW0453744    5,600    5,400    3,900    5,100    4,700    6,000    5,117    30,700

100097352   052220954   WALGREENS #10982    DSD        JACKSON        AL   36545   WALGREENS   FW0456586   17,900   23,700   19,960   20,600   17,700   16,100   19,327   115,960

100099684   018397919   WALGREENS #10666    DSD       MONTICELLO      AR   71655   WALGREENS   FW0456601    8,500   11,700   13,400   11,700   12,100    8,000   10,900    65,400

100099477   021171322   WALGREENS #10722    DSD         LIBERAL       KS   67901   WALGREENS   FW0456613    6,500   10,300   11,500   14,200    9,600    6,500    9,767    58,600

100097761   019168781   WALGREENS #10579    DSD          BRYAN        OH   43506   WALGREENS   FW0456637    6,700    7,700    7,600    6,100    8,100    5,000    6,867    41,200

100094522   023137869   WALGREENS #10092    DSD        BROOKLYN       NY   11226   WALGREENS   FW0457095     100                        700      500      100      350      1,400

100099445   021171140   WALGREENS #11086    DSD       FORT SCOTT      KS   66701   WALGREENS   FW0457108     200     8,700    8,400    9,200   10,400    6,500    7,233    43,400

100099217   044218149   WALGREENS #10540    DSD         DE SOTO       MO   63020   WALGREENS   FW0457110     200    13,500   22,360   28,500   30,700   11,300   17,760   106,560

100101255   046045039   WALGREENS #09747    DSD       HOMOSASSA       FL   34446   WALGREENS   FW0457122     100      600     3,100   11,200    8,800    9,700    5,583    33,500

100097162   040118968   WALGREENS #09749    DSD       WOODSTOCK       GA   30189   WALGREENS   FW0457134    9,100    8,700    8,600    9,500    8,600    8,000    8,750    52,500

100098897   019176644   WALGREENS #09925    DSD      WARRENVILLE      IL   60555   WALGREENS   FW0457146   10,500   10,500   10,300   12,230   11,000    8,300   10,472    62,830

100097140   040118752   WALGREENS #09981    DSD         CANTON        GA   30114   WALGREENS   FW0460193    5,700    6,100    5,100    5,540    5,000    5,040    5,413    32,480

100097038   052220020   WALGREENS #09948    DSD        ABINGDON       VA   24210   WALGREENS   FW0460600   18,700   20,000   16,600   23,100   21,600   12,500   18,750   112,500

100097039   052220038   WALGREENS #10700    DSD         MARION        VA   24354   WALGREENS   FW0460612   20,800   20,600   18,600   20,220   18,900   16,400   19,253   115,520

100094882   004092791   WALGREENS #10697    DSD         GENEVA        NY   14456   WALGREENS   FW0460636    5,600    5,700    5,500    5,000    6,000    4,500    5,383    32,300

100097921   044217232   WALGREENS #10559    DSD        CORYDON        IN   47112   WALGREENS   FW0466599    8,100   26,900   31,500   35,500   32,700   25,600   26,717   160,300
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100095099   010231993   WALGREENS #10720      DSD         MADISON       IN   47250    WALGREENS        FW0466602    2,500   12,600   15,100   16,600   14,600   16,500   12,983    77,900

100094793   010229278   WALGREENS #11846      DSD          EATON        OH   45320    WALGREENS        FW0466614   18,100   18,060   17,600   21,900   19,800   14,500   18,327   109,960

100095709   010233080   WALGREENS #09676      DSD       WASHINGTON      PA   15301    WALGREENS        FW0466626    9,700   10,600    9,500    9,600    9,700   10,700    9,967    59,800

100095899   004094797   WALGREENS #10108      DSD          DERRY        NH   03038    WALGREENS        FW0466638    3,700    4,200    5,020    3,100    5,600    3,300    4,153    24,920

100102127   020160333   WALGREENS #11444      DSD        HENDERSON      NV   89014    WALGREENS        FW0467301    8,500    7,400    7,300    7,700   10,200   12,000    8,850    53,100

100095126   023142950   WALGREENS #09868      DSD       MASSAPEQUA      NY   11758    WALGREENS        FW0467313    5,500    5,000    4,800    4,900    4,300    4,900    4,900    29,400

100101969   032148312   WALGREENS #09328      DSD         MEDFORD       OR   97501    WALGREENS        FW0467325   25,360   26,100   24,230   27,350   27,300   18,700   24,840   149,040

100101224   046044933   *WALGREENS #10178     DSD      FLEMING ISLAND   FL   32003    WALGREENS        FW0468959    1,000    1,000                                        1,000     2,000

100094988   010229740   WALGREENS #10315      DSD       INDEPENDENCE    KY   41051    WALGREENS        FW0468961    8,300    8,800    8,560   10,100    8,500    5,100    8,227    49,360

100095641   041151126   WALGREENS #10416      DSD         SUFFOLK       VA   23434    WALGREENS        FW0468973   19,100   17,600   17,830   20,400   19,200   11,500   17,605   105,630

100096183   004099481   WALGREENS #02471      DSD         SAUGUS        MA   01906    WALGREENS        FW0468997    2,000    3,930    4,560    3,030    5,700    1,800    3,503    21,020

100105087   004102319   WALGREENS #02471 (340B)           SAUGUS        MA   01906   PHS 340B CLINIC   FW0468997                                100                        100       100

100095084   041149351   WALGREENS #10923      DSD          LOUISA       VA   23093    WALGREENS        FW0469002   10,500   13,800   10,860   11,600   11,800   10,500   11,510    69,060

100095849   004094441   WALGREENS #10203      DSD         BRISTOL       CT   06010    WALGREENS        FW0469014    6,070    6,790    5,800    6,500    7,600    6,700    6,577    39,460

100092979   004090639   WALGREENS #10203 (340B)           BRISTOL       CT   06010   PHS 340B CLINIC   FW0469014              100                                          100       100

100095664   004093880   WALGREENS #10443      DSD         KENMORE       NY   14217    WALGREENS        FW0469026   17,900   15,700   17,500   16,000   23,300   11,500   16,983   101,900

100097146   040118810   WALGREENS #10968      DSD        MABLETON       GA   30126    WALGREENS        FW0474635    6,500    5,600    5,000    7,600    4,000    4,000    5,450    32,700

100073155   037115014   WALGREENS CO. 11216               HOUSTON       TX   77089    WALGREENS        FW0474661     300             10,700   18,700   28,500   17,600   15,160    75,800

100101747   038109579   WALGREENS #11263      DSD         GREELEY       CO   80631    WALGREENS        FW0474673   11,500   12,000   11,700   10,800   11,700    7,000   10,783    64,700

100095184   055036178   WALGREENS #09761      DSD         MULLINS       SC   29574    WALGREENS        FW0476273   15,100   12,600   12,500   13,500   16,000    9,000   13,117    78,700

100096295   041152694   *WALGREENS #10101     DSD        WOODBURY       NJ   08096    WALGREENS        FW0476285     530                                                   530       530

100096231   041152587   WALGREENS #10695      DSD        TOMS RIVER     NJ   08755    WALGREENS        FW0476297   11,400   13,180   13,000   10,800    9,500   12,200   11,680    70,080

100098065   049193326   WALGREENS #10777      DSD         MILFORD       MI   48381    WALGREENS        FW0479306    4,300    4,300    4,800    5,100    5,700    3,000    4,533    27,200

100099340   021170092   WALGREENS #11087      DSD         RAYMORE       MO   64083    WALGREENS        FW0479320    1,800   11,500   11,900   11,930   17,300    9,800   10,705    64,230

100098509   025089912   WALGREENS #10473      DSD        SAINT PAUL     MN   55113    WALGREENS        FW0480943    8,000    7,200    6,200    6,900    7,700    4,700    6,783    40,700

100099628   037131847   WALGREENS #10537      DSD         DERIDDER      LA   70634    WALGREENS        FW0483913     100      500     7,000   15,800   13,700    9,300    7,733    46,400

100099164   044217687   WALGREENS #09750      DSD       COLLINSVILLE    IL   62234    WALGREENS        FW0486527            14,400   31,600   29,400   35,600   17,800   25,760   128,800

100100310   038108480   WALGREENS #11275      DSD         GROVES        TX   77619    WALGREENS        FW0486553    1,240    1,500   11,300   18,800   17,800    6,200    9,473    56,840

100100440   018402453   WALGREENS #10841      DSD           BUDA        TX   78610    WALGREENS        FW0486591    6,100   21,000   20,300   20,500   17,600   10,500   16,000    96,000

100095095   041149401   WALGREENS #10691      DSD        LYNCHBURG      VA   24503    WALGREENS        FW0486604    8,300    9,000    9,090    7,200   11,630    4,100    8,220    49,320

100097940   019170472   WALGREENS #07690      DSD        NEW CASTLE     IN   47362    WALGREENS        FW0487618   34,630   28,160   32,050   38,610   32,800   33,300   33,258   199,550

100095444   041149930   WALGREENS #10713      DSD       PETERSBURG      VA   23803    WALGREENS        FW0491489   16,800   16,380   19,100   16,600   13,900   14,400   16,197    97,180

100105998   041153817   WALGREENS #10713 (340B)         PETERSBURG      VA   23803   PHS 340B CLINIC   FW0491489                                         500               500       500

100097366   052221093   WALGREENS #10947      DSD         OPELIKA       AL   36801    WALGREENS        FW0491528   12,600   14,200   15,000   16,640   15,000   17,000   15,073    90,440

100096317   010233296   WALGREENS #10494      DSD      ROCHESTER BORO   PA   15074    WALGREENS        FW0499764    3,500    3,700    1,900    3,900    6,700    6,400    4,350    26,100

100102446   012111252   WALGREENS #10368      DSD        SAN JACINTO    CA   92582    WALGREENS        FW0501103   18,500   20,600   19,800   19,000   26,300   17,700   20,317   121,900

100102209   012110478   WALGREENS #10242      DSD       PALM DESERT     CA   92211    WALGREENS        FW0501141   10,400   10,110    9,100   12,000   12,900    7,600   10,352    62,110

100098401   019172452   WALGREENS #10573      DSD         MADISON       WI   53711    WALGREENS        FW0501189    7,600    8,700    6,600    8,000    7,500    6,500    7,483    44,900

100098413   019172577   WALGREENS #11253      DSD        BEAVER DAM     WI   53916    WALGREENS        FW0501191   25,800   29,800   26,600   30,000   30,500   18,000   26,783   160,700

100095774   055037077   WALGREENS #10090      DSD      WINSTON SALEM    NC   27127    WALGREENS        FW0501228   11,020   10,230   11,700   10,500   18,500    6,600   11,425    68,550

100100071   018401646   WALGREENS #11273      DSD      COPPERAS COVE    TX   76522    WALGREENS        FW0501230    5,100   20,200   17,800   18,300    9,800   12,200   13,900    83,400

100099591   037131466   WALGREENS #09997      DSD        BOGALUSA       LA   70427    WALGREENS        FW0501280     100     1,000    8,100   15,600   11,000   15,000    8,467    50,800

100074161   046034538   WESTMINSTER SR CARE PHCY LLC      ORLANDO       FL   32819   LONG TERM CARE    FW0503210    5,100    8,200    7,000    5,600    7,900    8,200    7,000    42,000

100097322   052220699   WALGREENS #10965      DSD           BOAZ        AL   35957    WALGREENS        FW0504185   20,800   24,700   21,900   23,200   17,800   18,000   21,067   126,400
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100098477   019173013   WALGREENS #11301      DSD          NEW LONDON       WI   54961    WALGREENS        FW0511128    9,100    9,000   10,200    7,800    9,000    6,600    8,617    51,700

100074119   004079764   WHITTIER HEALTH PHCY INC(340B)        BOSTON        MA   02120   PHS 340B CLINIC   FW0511510    1,100    1,000     500      500       -       900      667      4,000

100074136   004078725   WHITTIER HEALTH PHCY INC(X)      ROXBURY CROSSING   MA   02120    INDEPENDENT      FW0511510                                                  400      400       400

100103523   032149021   WALGREENS #11696      DSD           HOOD RIVER      OR   97031    WALGREENS        FW0513021   17,700   17,200   17,300   16,900   20,600   12,900   17,100   102,600

100098320   019171645   WALGREENS #11237      DSD           MILWAUKEE       WI   53204    WALGREENS        FW0518021   15,600   14,700   17,500   12,600   20,100   12,500   15,500    93,000

100099511   021171660   WALGREENS #10892      DSD              YORK         NE   68467    WALGREENS        FW0519819   15,300   10,800   13,200   15,900   16,700   10,000   13,650    81,900

100075528   041126219   WYE OAK INCORPORATED(Z)             BALTIMORE       MD   21227    INDEPENDENT      FW0520646    2,200    2,600    1,800    2,600    1,600    1,500    2,050    12,300

100099563   037131185   WALGREENS #05866      DSD          NEW ORLEANS      LA   70118    WALGREENS        FW0524062             1,200   10,300   18,500   20,800   13,600   12,880    64,400

100097684   052222455   WALGREENS #10360      DSD            GAUTIER        MS   39553    WALGREENS        FW0524290   14,600   23,700   22,600   23,500   20,200   19,500   20,683   124,100

100099768   018398628   WALGREENS #10957      DSD           NEWCASTLE       OK   73065    WALGREENS        FW0524303     500       60    34,500   43,160   32,600   38,500   24,887   149,320

100099766   018398602   WALGREENS #10916      DSD            GUTHRIE        OK   73044    WALGREENS        FW0524339    4,700   17,200   15,000   16,700   16,500   13,100   13,867    83,200

100095775   055037085   WALGREENS #11202      DSD         WINSTON SALEM     NC   27103    WALGREENS        FW0524341    8,000    7,400    8,700    7,800   10,600    4,600    7,850    47,100

100094622   055033324   WALGREENS #10275      DSD           CHARLOTTE       NC   28216    WALGREENS        FW0524416   12,200   13,200   11,640   13,100   14,400   10,700   12,540    75,240

100097132   040118679   WALGREENS #07502      DSD             DULUTH        GA   30096    WALGREENS        FW0525949    6,700    6,200    6,100    6,600    6,100    6,500    6,367    38,200

100097098   040118331   WALGREENS #07994      DSD            CUMMING        GA   30041    WALGREENS        FW0525951    3,100    2,600    4,000    2,000    2,960    2,500    2,860    17,160

100098192   021169276   WALGREENS #11193      DSD             BOONE         IA   50036    WALGREENS        FW0525963    9,100   10,000    8,500   10,500   12,500    4,500    9,183    55,100

100095188   055036210   WALGREENS #06898      DSD          MYRTLE BEACH     SC   29577    WALGREENS        FW0531714    8,800   11,500    8,800   11,700    9,200    5,500    9,250    55,500

100098171   049194092   WALGREENS #11310      DSD            MANISTEE       MI   49660    WALGREENS        FW0534708   45,300   50,400   43,500   47,700   37,700   42,100   44,450   266,700

100103741   012111658   WALGREENS #09882      DSD           EL SEGUNDO      CA   90245    WALGREENS        FW0534710    6,900    8,900   10,100    8,500   12,500   10,500    9,567    57,400

100097305   052220525   WALGREENS #10981      DSD             ATHENS        AL   35611    WALGREENS        FW0534722   19,100   16,300   15,400   19,400   16,200   11,000   16,233    97,400

100098609   025090902   WALGREENS #10640      DSD           ALBERT LEA      MN   56007    WALGREENS        FW0537716    6,500    6,700    4,600    5,600    7,400    4,700    5,917    35,500

100098151   019170878   WALGREENS #11417      DSD           WHITEHALL       MI   49461    WALGREENS        FW0538390   39,400   41,100   38,700   41,400   42,700   23,800   37,850   227,100

100103216   017097873   WALGREENS #11503      DSD            BILLINGS       MT   59102    WALGREENS        FW0538403   10,500   10,100   11,000   10,600   13,100    8,000   10,550    63,300

100099125   019178905   WALGREENS #10800      DSD            CLINTON        IL   61727    WALGREENS        FW0538415    2,700   15,300   19,000   18,500   15,700   13,800   14,167    85,000

100099689   018397968   WALGREENS #10897      DSD            MAGNOLIA       AR   71753    WALGREENS        FW0538477    4,100    9,800    9,700    8,600    4,600    6,000    7,133    42,800

100095675   010233056   WALGREENS #10053      DSD        UPPER ARLINGTON    OH   43221    WALGREENS        FW0539671    3,000    2,800    3,300    3,800    3,400    4,200    3,417    20,500

100099932   018400259   WALGREENS #10817      DSD             FORNEY        TX   75126    WALGREENS        FW0539683   10,300   17,000   17,700   15,300   11,800   10,000   13,683    82,100

100095619   023145953   WALGREENS #09204      DSD          STATEN ISLAND    NY   10314    WALGREENS        FW0540369    2,900    2,690    3,400    1,700    4,100    3,500    3,048    18,290

100097260   040119842   WALGREENS #10969      DSD           SYLVESTER       GA   31791    WALGREENS        FW0541929    9,000    9,700    9,100   12,200    9,000    8,500    9,583    57,500

100102524   012111435   WALGREENS #09534      DSD         FOUNTAIN VALLEY   CA   92708    WALGREENS        FW0541931   17,000   16,500   15,300   19,200   17,900   16,200   17,017   102,100

100102354   012110981   WALGREENS #10467      DSD         SAN BERNARDINO    CA   92404    WALGREENS        FW0541943   36,000   39,700   33,000   37,600   28,500   34,500   34,883   209,300

100103747   012111690   WALGREENS #09641      DSD         RANCHO MIRAGE     CA   92270    WALGREENS        FW0541979   16,200   15,900   15,600   16,600   20,600   12,800   16,283    97,700

100103462   008115006   WALGREENS #10631      DSD            LATHROP        CA   95330    WALGREENS        FW0541981   19,200   18,100   20,200   18,700   22,200   11,600   18,333   110,000

100098068   049193359   WALGREENS #10953      DSD            DAVISON        MI   48423    WALGREENS        FW0541993   35,500   38,500   35,000   34,600   37,400   21,600   33,767   202,600

100103667   032151183   WALGREENS #07846      DSD           MILLWOOD        WA   99212    WALGREENS        FW0542008   18,700   15,600   16,100   16,690   17,300   10,000   15,732    94,390

100103664   032151159   WALGREENS #10946      DSD            SPOKANE        WA   99203    WALGREENS        FW0542022   19,100   17,600   17,600   17,100   16,100   13,000   16,750   100,500

100094969   010229674   WALGREENS #11158      DSD           HILLSBORO       OH   45133    WALGREENS        FW0542034    6,100    7,100    8,200    8,630    9,000    8,700    7,955    47,730

100095640   041151118   WALGREENS #10332      DSD            SUFFOLK        VA   23435    WALGREENS        FW0542046    7,800    9,000    8,500    8,600    8,800    7,000    8,283    49,700

100099985   018400788   WALGREENS #11175      DSD            KILGORE        TX   75662    WALGREENS        FW0542058    2,100    1,400   13,800   22,700   16,700   13,900   11,767    70,600

100096223   004099754   WALGREENS #15591      DSD            TAUNTON        MA   02780    WALGREENS        FW0542072    3,000    3,200    3,000    3,000    3,500    2,200    2,983    17,900

100097716   044216820   WALGREENS #09412      DSD           LOUISVILLE      KY   40216    WALGREENS        FW0545573    4,500   17,100   19,500   27,300   20,000   24,100   18,750   112,500

100099241   044218388   WALGREENS #10588      DSD           SAINT LOUIS     MO   63106    WALGREENS        FW0545597     200     7,100   13,100   14,200   14,200   10,700    9,917    59,500

100100454   018402594   WALGREENS #11131      DSD            LOCKHART       TX   78644    WALGREENS        FW0546347    4,000   18,300   17,600   17,200   12,800    9,600   13,250    79,500

100100073   018401661   WALGREENS #10711      DSD             KILLEEN       TX   76541    WALGREENS        FW0546359    6,900   38,700   36,400   37,800   33,500   17,300   28,433   170,600
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100100072   018401653   WALGREENS #11274        DSD         GATESVILLE       TX   76528     WALGREENS         FW0546361    5,600   23,000   23,300   22,200   22,000   16,100   18,700   112,200

100100530   052222562   WALGREENS #11113        DSD           GRAY           TN   37615     WALGREENS         FW0546385   19,500   23,020   20,050   22,360   17,500   20,920   20,558   123,350

100099480   021171355   WALGREENS #11204        DSD           OMAHA          NE   68022     WALGREENS         FW0546397    9,900    7,900    9,400   10,200   11,800    7,000    9,367    56,200

100095904   004094847   WALGREENS #10780        DSD           DOVER          NH   03820     WALGREENS         FW0546400    5,600    6,600    4,200    4,800    4,900    5,400    5,250    31,500

100096071   041152298   WALGREENS #10156        DSD       MOUNT EPHRAIM      NJ   08059     WALGREENS         FW0546412    2,900    4,600    3,400    3,400    3,500    3,400    3,533    21,200

100099634   037131904   WALGREENS #11196        DSD          GEISMAR         LA   70734     WALGREENS         FW0547654     600      200     7,620   12,000   10,500    9,500    6,737    40,420

100102357   020161521   WALGREENS #09472        DSD          PHOENIX         AZ   85085     WALGREENS         FW0549254   12,300   13,600   13,420   13,280   17,100   10,900   13,433    80,600

100098134   049193813   WALGREENS #11415        DSD         ALLENDALE        MI   49401     WALGREENS         FW0552148   13,600   15,800   15,500   17,200   18,800   11,100   15,333    92,000

100103338   008114322   WALGREENS #10526        DSD          OAKLAND         CA   94610     WALGREENS         FW0552150    6,900    8,300    9,000    8,500   11,700    4,500    8,150    48,900

100096054   004098566   WALGREENS #10342        DSD          MELROSE         MA   02176     WALGREENS         FW0552162    5,300    6,500    5,600    5,500    3,100    5,100    5,183    31,100

100095645   055036731   WALGREENS #09738        DSD        SUMMERVILLE       SC   29483     WALGREENS         FW0556932   12,500   12,520   14,100   13,500   16,000   18,100   14,453    86,720

100097501   052221663   WALGREENS #11699        DSD         MARYVILLE        TN   37801     WALGREENS         FW0556968   10,600   10,700   10,900   10,140    9,600    7,500    9,907    59,440

100098288   019171322   WALGREENS #10714        DSD          ELKHORN         WI   53121     WALGREENS         FW0556970   14,400   14,800   15,500   15,400   16,600    7,500   14,033    84,200

100107077   019184127   WALGREENS #10714 AHC 340B 100        ELKHORN         WI   53121   PHS 340B HOSPITAL   FW0556970     100                                                   100       100

100103670   032151217   WALGREENS #09765        DSD           PASCO          WA   99301     WALGREENS         FW0556994   23,600   26,000   25,700   22,400   29,900   18,900   24,417   146,500

100100125   038107102   WALGREENS #10818        DSD          HOUSTON         TX   77054     WALGREENS         FW0557011              300     4,000    5,700    4,300    4,500    3,760    18,800

100094457   041146167   WALGREENS #10928        DSD          BEAVER          WV   25813     WALGREENS         FW0557035    7,200    8,100    6,000    6,600    9,200    3,500    6,767    40,600

100096300   004100768   WALGREENS #10401        DSD        WORCESTER         MA   01604     WALGREENS         FW0558405    5,700    4,900    4,100    6,200    5,600    3,700    5,033    30,200

100102620   046052373   WALGREENS #09298        DSD          ESTERO          FL   33928     WALGREENS         FW0559205     300      200     3,900    7,500    7,600    5,600    4,183    25,100

100097696   044216622   WALGREENS #10507        DSD         LA GRANGE        KY   40031     WALGREENS         FW0560171    4,020   19,700   21,100   22,100   17,520   22,300   17,790   106,740

100101163   055038182   WESTBURY PHARMACY CPA              SAINT GEORGE      SC   29477     INDEPENDENT       FW0563848   12,000    9,300    8,600   10,800   13,900    8,400   10,500    63,000

100097692   046044545   WALGREENS #10831        DSD         BAINBRIDGE       GA   39819     WALGREENS         FW0564117     100      400     7,500    5,600    8,000   11,200    5,467    32,800

100097178   040119123   WALGREENS #11490        DSD         THOMASTON        GA   30286     WALGREENS         FW0564129   17,800   20,600   20,700   19,100   13,200   16,200   17,933   107,600

100097617   044216382   WALGREENS #11289        DSD         BATESVILLE       MS   38606     WALGREENS         FW0564131   11,700   11,200   11,700   12,700   12,100    6,100   10,917    65,500

100095942   004097832   WALGREENS #10802        DSD         FALL RIVER       MA   02721     WALGREENS         FW0564143    2,700    2,600    3,000    3,000    2,500    2,000    2,633    15,800

100095478   023145714   WALGREENS #07485        DSD       PORT CHESTER       NY   10573     WALGREENS         FW0567024    1,200    1,500    1,000    1,700    1,600     700     1,283     7,700

100094601   023138347   WALGREENS #09461        DSD        CENTEREACH        NY   11720     WALGREENS         FW0567036    5,700    4,800    3,100    5,000    7,500    7,000    5,517    33,100

100095811   004094250   WALGREENS #10077        DSD           BATH           ME   04530     WALGREENS         FW0567074    6,200    8,500    7,100    8,000    7,000    4,700    6,917    41,500

100099320   044219147   WALGREENS #10908        DSD         PERRYVILLE       MO   63775     WALGREENS         FW0568064     100     7,100   10,100   11,700   13,000    8,500    8,417    50,500

100097358   052221010   WALGREENS #10851        DSD           MOBILE         AL   36608     WALGREENS         FW0568076   23,800   24,900   20,300   21,900   15,100   19,500   20,917   125,500

100095441   004093674   WALGREENS #10218        DSD          PENN YAN        NY   14527     WALGREENS         FW0568088    3,700    3,230    4,200    3,600    5,000    3,400    3,855    23,130

100094412   041145870   WALGREENS #09837        DSD          ASHBURN         VA   20147     WALGREENS         FW0568090    2,900    3,800    4,200    3,900    4,400    2,100    3,550    21,300

100094435   004092528   WALGREENS #10749        DSD       BALDWINSVILLE      NY   13027     WALGREENS         FW0568103    7,800    6,770    6,000    7,500    9,600    3,000    6,778    40,670

100096158   023146951   WALGREENS #10745        DSD          RAMSEY          NJ   07446     WALGREENS         FW0568115    1,500    2,660    2,520    1,590    2,700     400     1,895    11,370

100095405   055036251   WALGREENS #10814        DSD     NORTH MYRTLE BEACH   SC   29582     WALGREENS         FW0572354    9,800   12,340   11,300   12,900    8,900    8,000   10,540    63,240

100095856   004094516   WALGREENS #10650        DSD         BROCKTON         MA   02301     WALGREENS         FW0572378    2,730    3,000    2,100    1,500    3,100    1,600    2,338    14,030

100098677   019173419   WALGREENS #06819        DSD         LAKE BLUFF       IL   60044     WALGREENS         FW0572380   12,100   13,100   14,100   10,700    9,600   10,700   11,717    70,300

100101615   038109207   WALGREENS #05837        DSD         THORNTON         CO   80233     WALGREENS         FW0581339    6,600    6,800    7,500    7,900    8,200    4,900    6,983    41,900

100099397   021170662   WALGREENS #11288        DSD        WEST PLAINS       MO   65775     WALGREENS         FW0581353   24,700   31,400   37,300   38,000   36,200   35,100   33,783   202,700

100109410   021176073   WALGREENS #11288 340B              WEST PLAINS       MO   65775   PHS 340B HOSPITAL   FW0581353    2,200    1,300    3,600    4,400    3,100     500     2,517    15,100

100102000   046047449   WALGREENS #09627        DSD        FORT MYERS        FL   33905     WALGREENS         FW0581365              360     5,290    8,700    5,800    7,900    5,610    28,050

100102030   046047555   WALGREENS #10179        DSD     NORTH FORT MYERS     FL   33917     WALGREENS         FW0581404     200      100     6,200   11,300   10,800    7,400    6,000    36,000

100098914   019176818   WALGREENS #10425        DSD         PLAINFIELD       IL   60586     WALGREENS         FW0581416   12,400   16,100   12,600   15,500   16,500    6,800   13,317    79,900

100097163   040118976   WALGREENS #11222        DSD        BARNESVILLE       GA   30204     WALGREENS         FW0581428    7,100    6,800    5,300    8,500    8,200    7,000    7,150    42,900
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100097149   040118844   WALGREENS #10528        DSD       DALLAS        GA   30132    WALGREENS        FW0581430    4,000    5,600    5,000    5,100    4,300    4,500    4,750    28,500

100103702   046055855   WALGREENS #10356        DSD        MIAMI        FL   33186    WALGREENS        FW0581442     700      300     1,000    3,300    2,600    3,500    1,900    11,400

100102067   008112565   WALGREENS #10693        DSD   NORTH HIGHLANDS   CA   95660    WALGREENS        FW0581454   21,100   22,900   19,500   21,500   20,500   17,100   20,433   122,600

100094826   010229393   WALGREENS #11143        DSD      FAIRLAWN       OH   44333    WALGREENS        FW0581480    8,100    8,600    6,300    8,100    7,900    7,500    7,750    46,500

100094955   041147199   WALGREENS #10165        DSD      HERNDON        VA   20170    WALGREENS        FW0581517    6,100    5,290    6,430    5,660    7,000    4,700    5,863    35,180

100096284   004100644   WALGREENS #10272        DSD      WHITMAN        MA   02382    WALGREENS        FW0581531    4,400    4,300    4,600    4,000    5,800    3,600    4,450    26,700

100099668   018397810   WALGREENS #11139        DSD       RUSTON        LA   71270    WALGREENS        FW0582420             6,200    7,300    6,700    6,800    6,000    6,600    33,000

100095128   004093500   WALGREENS #10698        DSD      MASSENA        NY   13662    WALGREENS        FW0583371    6,100    3,300    4,100    5,100    5,500    3,800    4,650    27,900

100097753   044217158   WALGREENS #11198        DSD     OWENSBORO       KY   42303    WALGREENS        FW0583624   16,200   11,600   12,600   17,000   10,600   15,000   13,833    83,000

100102062   024120782   WALGREENS #09656        DSD     WEST COVINA     CA   91790    WALGREENS        FW0583636    6,600    6,100    5,800    6,300    8,300    5,900    6,500    39,000

100101870   024120139   WALGREENS #11442        DSD      PASADENA       CA   91101    WALGREENS        FW0583648    5,430    5,500    5,900    6,300    7,100    6,100    6,055    36,330

100098676   019173401   WALGREENS #10971        DSD     ISLAND LAKE     IL   60042    WALGREENS        FW0583650   18,800   20,800   19,000   20,400   15,500   17,700   18,700   112,200

100103562   017097980   WALGREENS #10054        DSD       ONTARIO       OR   97914    WALGREENS        FW0583662   25,800   29,300   28,300   32,000   36,300   20,100   28,633   171,800

100105659   017098236   WALGREENS #10054 340B             ONTARIO       OR   97914   PHS 340B CLINIC   FW0583662    1,500     500              1,000     500               875      3,500

100096152   004099259   WALGREENS #10256        DSD     PROVIDENCE      RI   02904    WALGREENS        FW0584018    6,800    5,700    5,500    6,100    7,000    3,100    5,700    34,200

100094979   010229716   WALGREENS #10580        DSD    HUBER HEIGHTS    OH   45424    WALGREENS        FW0584777   14,500   12,200   13,500   15,000   13,500   11,500   13,367    80,200

100095564   023145789   WALGREENS #09667        DSD       SAYVILLE      NY   11782    WALGREENS        FW0586137    7,120    7,150    6,830    5,550    9,300    4,100    6,675    40,050

100095837   004094383   WALGREENS #10309        DSD      BRANFORD       CT   06405    WALGREENS        FW0586353    3,700    2,500    3,300    3,700    3,800    3,300    3,383    20,300

100095888   023146373   WALGREENS #09818        DSD      CROMWELL       CT   06416    WALGREENS        FW0586365    4,300    4,400    4,100    4,200    5,700    3,100    4,300    25,800

100103643   032150946   WALGREENS #10395        DSD      CHEHALIS       WA   98532    WALGREENS        FW0586947   14,600   16,500   17,000   19,600   19,100   10,900   16,283    97,700

100099503   021171587   WALGREENS #11205        DSD       OMAHA         NE   68134    WALGREENS        FW0586961   11,400   13,730   10,400   13,930   18,800   12,500   13,460    80,760

100099871   018399642   WALGREENS #11295        DSD         ADA         OK   74820    WALGREENS        FW0586985    1,700     200    23,300   32,700   21,200   26,500   17,600   105,600

100098012   049192799   WALGREENS #10906        DSD    LINCOLN PARK     MI   48146    WALGREENS        FW0587470   11,600   14,500   11,100   12,700   12,600    7,100   11,600    69,600

100098126   019170787   WALGREENS #11265        DSD    STEVENSVILLE     MI   49127    WALGREENS        FW0587482   16,600   20,200   17,100   18,200   16,700   16,500   17,550   105,300

100103025   046054460   WALGREENS #04168        DSD      KISSIMMEE      FL   34741    WALGREENS        FW0587494     100     1,000    4,000    4,500    4,300    4,500    3,067    18,400

100099656   037132126   WALGREENS #09518        DSD    BATON ROUGE      LA   70817    WALGREENS        FW0587507     100              8,300   14,800   11,000    7,200    8,280    41,400

100097230   040119586   WALGREENS #10884        DSD   WARNER ROBINS     GA   31088    WALGREENS        FW0591556    7,200    6,720    6,640    7,840    9,800    5,740    7,323    43,940

100099307   044219048   WALGREENS #07811        DSD        TROY         MO   63379    WALGREENS        FW0591568     300    20,300   33,500   39,400   41,000   23,200   26,283   157,700

100094797   041146845   WALGREENS #07678        DSD     ELDERSBURG      MD   21784    WALGREENS        FW0591582    6,700    9,800    6,800    8,200    8,100    9,100    8,117    48,700

100095010   010229781   WALGREENS #09937        DSD     JAMESTOWN       NY   14701    WALGREENS        FW0591936   15,600   16,100   16,200   15,500   20,000   11,000   15,733    94,400

100097314   052220616   WALGREENS #10850        DSD     HUNTSVILLE      AL   35803    WALGREENS        FW0593093   20,560   19,360   18,290   20,490   14,200   19,300   18,700   112,200

100103616   032149948   WALGREENS #10994        DSD   SEDRO WOOLLEY     WA   98284    WALGREENS        FW0593738   13,100   13,700   11,800   13,500   11,500    9,500   12,183    73,100

100105084   032152132   WALGREENS #10994 340B         SEDRO WOOLLEY     WA   98284   PHS 340B CLINIC   FW0593738                       500                                 500       500

100095117   010232082   WALGREENS #09020        DSD        MARS         PA   16046    WALGREENS        FW0593740    2,300    1,900    1,500    1,600    1,300    1,500    1,683    10,100

100095147   023142992   WALGREENS #09869        DSD    MIDDLE VILLAGE   NY   11379    WALGREENS        FW0593752    3,200    1,900    1,900    2,200    2,000    1,200    2,067    12,400

100101605   046046243   WALGREENS #10470        DSD        MIAMI        FL   33157    WALGREENS        FW0595910     600      700     1,200    3,200    4,300    2,500    2,083    12,500

100095482   041150649   WALGREENS #11123        DSD      POTOMAC        MD   20854    WALGREENS        FW0595922    3,220    3,890    3,610    5,520    4,700    3,000    3,990    23,940

100095208   023143974   WALGREENS #09731        DSD      NEW YORK       NY   10003    WALGREENS        FW0595934    1,000    1,730    1,030     500     1,300    1,100    1,110     6,660

100103620   032149989   WALGREENS #11215        DSD    PORT ANGELES     WA   98362    WALGREENS        FW0597697    6,800    9,000   10,100   10,200    7,500    7,200    8,467    50,800

100103525   032149047   WALGREENS #10056        DSD    SAINT HELENS     OR   97051    WALGREENS        FW0598081   11,200   12,300   12,200    9,600   14,900    7,700   11,317    67,900

100097538   044215707   WALGREENS #11464        DSD    BROWNSVILLE      TN   38012    WALGREENS        FW0598093   14,200   13,000   13,100   12,500   11,000   10,000   12,300    73,800

100099862   018399550   WALGREENS #10836        DSD      OKMULGEE       OK   74447    WALGREENS        FW0598106             6,700   22,700   25,300   22,400   15,100   18,440    92,200

100095589   023145854   WALGREENS #09497        DSD     SMITHTOWN       NY   11787    WALGREENS        FW0598435    7,830    6,590    6,810    5,820    9,300    8,400    7,458    44,750

100102075   032148379   WALGREENS #10812        DSD     SPRINGFIELD     OR   97477    WALGREENS        FW0600103   19,100   19,000   17,130   18,130   17,600   13,100   17,343   104,060
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100094781   055033746   WALGREENS #11400     DSD            EASLEY        SC   29640   WALGREENS   FW0600115   19,700   20,100   18,600   22,600   22,700   14,000   19,617   117,700

100094663   010228759   WALGREENS #11269     DSD          CINCINNATI      OH   45231   WALGREENS   FW0604707    7,100    6,000    9,500   10,000    8,600    9,200    8,400    50,400

100097961   019170563   WALGREENS #10974     DSD           LAFAYETTE      IN   47909   WALGREENS   FW0606129   17,540   17,800   16,500   19,500   15,500   13,000   16,640    99,840

100099573   037131284   WALGREENS #03557     DSD         NEW ORLEANS      LA   70127   WALGREENS   FW0606131    1,600    1,000   10,200   19,100   17,400   15,800   10,850    65,100

100097239   040119677   WALGREENS #10799     DSD            RINCON        GA   31326   WALGREENS   FW0608591   12,500   12,700   13,200   12,100    8,200   13,000   11,950    71,700

100101998   046047431   WALGREENS #11152     DSD          BOCA RATON      FL   33434   WALGREENS   FW0608604              100     2,500    3,500    3,600    4,400    2,820    14,100

100094388   041145847   WALGREENS #10617     DSD          ALEXANDRIA      VA   22314   WALGREENS   FW0608616    1,500    2,890    1,100    1,600    1,800     660     1,592     9,550

100100373   018402149   WALGREENS #11276     DSD         SAN ANTONIO      TX   78227   WALGREENS   FW0609353     600     1,200   13,100   17,700   15,100    9,500    9,533    57,200

100076754   024012963   WALGREENS #11449                 LOS ANGELES      CA   90027   WALGREENS   FW0611118    2,000    1,000    2,000    2,100    1,500    1,000    1,600     9,600

100069574   019101907   WHEATON FRANCISCAN HC FRANKLIN     FRANKLIN       WI   53132    HOSPITAL   FW0611740     800      300      300      200      600      800      500      3,000

100070636   019159285   WHEATON HC FRANKLIN RX - MOSH      FRANKLIN       WI   53132    HOSPITAL   FW0611740     100               300                80      240      180       720

100098433   025089490   WALGREENS #11339     DSD          GREEN BAY       WI   54303   WALGREENS   FW0613528   22,200   27,000   23,100   27,200   22,200   24,000   24,283   145,700

100097416   044215343   WALGREENS #11129     DSD           PORTLAND       TN   37148   WALGREENS   FW0614671   36,100   34,500   33,800   36,800   24,500   35,000   33,450   200,700

100097099   040118349   WALGREENS #10423     DSD           CUMMING        GA   30041   WALGREENS   FW0614695    9,250    9,200   10,150    8,530    8,800    8,000    8,988    53,930

100103803   017097998   WALGREENS #12383     DSD          IDAHO FALLS     ID   83402   WALGREENS   FW0619049   14,200   18,200   13,600   15,600   14,600   12,000   14,700    88,200

100076479   038175000   WALGREEN PHARMACY #11448            AURORA        CO   80045   WALGREENS   FW0619051    1,600    1,500    1,600     700     2,100    1,000    1,417     8,500

100098303   019171470   WALGREENS #11636     DSD           MUSKEGO        WI   53150   WALGREENS   FW0619063    5,600    7,600    8,600    8,000    8,100    8,200    7,683    46,100

100100536   025091090   WALGREENS #11576     DSD           BELLEVUE       WI   54311   WALGREENS   FW0619075    8,100   10,200    9,200    8,600   10,600    9,000    9,283    55,700

100102674   020162271   WALGREENS #10260     DSD            GILBERT       AZ   85298   WALGREENS   FW0625220    7,800    9,000    8,900    7,700   11,300    5,100    8,300    49,800

100102205   012110460   WALGREENS #10703     DSD             INDIO        CA   92203   WALGREENS   FW0625232   10,800    9,100    9,900    9,400    9,300    6,500    9,167    55,000

100097963   019170589   WALGREENS #10532     DSD          MONTICELLO      IN   47960   WALGREENS   FW0625244   14,100   12,100   12,100   13,100   15,600    8,000   12,500    75,000

100097636   044216556   WALGREENS #11290     DSD            TUPELO        MS   38804   WALGREENS   FW0625256   12,100   13,200   11,300   13,500   10,800   11,100   12,000    72,000

100097107   040118422   *WALGREENS #10902    DSD            LILBURN       GA   30047   WALGREENS   FW0625268    2,500    2,500                                        2,500     5,000

100102548   012111500   WALGREENS #10629     DSD           ANAHEIM        CA   92804   WALGREENS   FW0628480    7,500    9,000    5,600    8,300    9,300    7,200    7,817    46,900

100101226   046044966   WALGREENS #10398     DSD            TAMPA         FL   33626   WALGREENS   FW0628505     100      200      600     3,800    4,100    5,500    2,383    14,300

100097261   046044487   WALGREENS #10833     DSD            TIFTON        GA   31794   WALGREENS   FW0628517   23,500   25,700   22,500   27,600   25,500   28,500   25,550   153,300

100098380   019172247   WALGREENS #11176     DSD          LAKE MILLS      WI   53551   WALGREENS   FW0628529    8,600    9,500    8,600    7,000   10,000    5,000    8,117    48,700

100095716   004093963   WALGREENS #12381     DSD          WELLSVILLE      NY   14895   WALGREENS   FW0629874    8,700    9,800    9,600   12,000   14,100    7,600   10,300    61,800

100097457   052221226   WALGREENS #11670     DSD            DUNLAP        TN   37327   WALGREENS   FW0633722   13,700   13,200   12,000   15,100   11,000   12,900   12,983    77,900

100102065   017097287   WALGREENS #11523     DSD          HEBER CITY      UT   84032   WALGREENS   FW0636817   10,500   10,200    9,500   10,000   12,500    6,000    9,783    58,700

100102130   017097618   WALGREENS #11150     DSD             OREM         UT   84097   WALGREENS   FW0636829    9,300   10,900   11,100   10,800   13,900    6,000   10,333    62,000

100095583   055036590   WALGREENS #11353     DSD           SILER CITY     NC   27344   WALGREENS   FW0636831    6,200    6,600    5,600    6,000    6,500    5,500    6,067    36,400

100100428   037133066   WALGREENS #11211     DSD          HARLINGEN       TX   78550   WALGREENS   FW0636843     300     1,280    4,500    9,500    9,700    5,600    5,147    30,880

100094595   055033175   WALGREENS #09757     DSD             CARY         NC   27518   WALGREENS   FW0636855    4,900    5,080    6,100    5,600    5,800    2,100    4,930    29,580

100100059   018401521   WALGREENS #11567     DSD            AUBREY        TX   76227   WALGREENS   FW0636879   13,500   21,800   20,300   20,700   12,500    9,600   16,400    98,400

100097214   052220111   WALGREENS #10247     DSD           RINGGOLD       GA   30736   WALGREENS   FW0639659   23,200   22,630   23,060   25,100   13,200   20,600   21,298   127,790

100097328   052220756   WALGREENS #11098     DSD             TROY         AL   36079   WALGREENS   FW0639661   19,200   18,700   20,700   21,000   16,900   17,000   18,917   113,500

100098020   049192872   WALGREENS #10778     DSD          SOUTH LYON      MI   48178   WALGREENS   FW0639685   15,700   13,700   16,600   15,500   15,500   16,500   15,583    93,500

100095523   041150813   WALGREENS #09181     DSD           RICHMOND       VA   23233   WALGREENS   FW0639697    5,920    5,620    5,750    4,660    6,660    2,560    5,195    31,170

100094798   041146852   WALGREENS #10132     DSD         ELIZABETH CITY   NC   27909   WALGREENS   FW0639700   11,200   13,700   10,300   11,200   13,900    7,200   11,250    67,500

100098218   021169524   WALGREENS #11330     DSD          STORM LAKE      IA   50588   WALGREENS   FW0641503    4,500    5,000    4,500    5,500    5,000    2,000    4,417    26,500

100076717   019175091   WALGREENS #12470                    MARION        IN   46952   WALGREENS   FW0642389    8,500    8,500    6,000   10,000    7,000    4,500    7,417    44,500

100097934   019170415   WALGREENS #11454     DSD           SEYMOUR        IN   47274   WALGREENS   FW0643812   14,100   10,300   16,700   13,700   12,200   14,100   13,517    81,100

100098706   019173708   WALGREENS #07769     DSD         SPRING GROVE     IL   60081   WALGREENS   FW0643824   16,230   15,230   15,930   15,800   13,600   15,900   15,448    92,690
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100101704   012108639   WALGREENS #10069        DSD      HAWTHORNE        CA   90250    WALGREENS        FW0643850    8,500    7,300    8,600    8,500   10,300    7,500    8,450    50,700

100097666   052222315   WALGREENS #10694        DSD         BYRAM         MS   39272    WALGREENS        FW0643886   15,800   16,300   18,000   19,000   14,200   12,500   15,967    95,800

100101995   017096974   WALGREENS #10672        DSD         NAMPA         ID   83686    WALGREENS        FW0643901   19,200   20,700   19,300   19,600   17,000   16,500   18,717   112,300

100107946   017098467   WALGREENS #10672 340B               NAMPA         ID   83686   PHS 340B CLINIC   FW0643901     600                                                   600       600

100094808   004092775   WALGREENS #10865        DSD         ELMIRA        NY   14904    WALGREENS        FW0644648    7,700    9,700    7,500   10,100   13,600    8,100    9,450    56,700

100096067   004098673   WALGREENS #10462        DSD        MILFORD        NH   03055    WALGREENS        FW0644965    6,830    8,160    7,430    7,800    9,100    6,600    7,653    45,920

100069650   021175059   *WALGREENS #11930                KANSAS CITY      MO   64111    WALGREENS        FW0646096     100     1,600    2,000                               1,233     3,700

100101739   038109553   WALGREENS #07955        DSD       THORNTON        CO   80602    WALGREENS        FW0646438    6,000    7,000    9,000    7,900    8,600    6,400    7,483    44,900

100094487   010228346   WALGREENS #10868        DSD     BOWLING GREEN     OH   43402    WALGREENS        FW0646452    2,100    2,230    2,600    2,100    3,000    2,500    2,422    14,530

100096301   004100776   WALGREENS #10639        DSD      WORCESTER        MA   01603    WALGREENS        FW0646464    5,530    4,920    4,860    4,800    6,300    3,000    4,902    29,410

100103459   008114975   WALGREENS #10482        DSD       STOCKTON        CA   95210    WALGREENS        FW0650475   50,000   54,100   52,500   55,000   42,700   36,500   48,467   290,800

100094912   055034025   WALGREENS #10707        DSD      GREENSBORO       NC   27403    WALGREENS        FW0650728    6,500    6,200    5,100    7,640    8,100    4,100    6,273    37,640

100095178   055036137   WALGREENS #10276        DSD      MORRISVILLE      NC   27560    WALGREENS        FW0650742    3,800    4,400    3,740    4,700    3,500    4,100    4,040    24,240

100099636   037131920   WALGREENS #11413        DSD       GONZALES        LA   70737    WALGREENS        FW0654168             1,000    9,600   15,700   18,700   15,000   12,000    60,000

100097166   040119008   WALGREENS #10632        DSD        GRIFFIN        GA   30223    WALGREENS        FW0655475   11,700   13,100   10,060   14,000   12,700    7,500   11,510    69,060

100094807   004092767   WALGREENS #10864        DSD         ELMIRA        NY   14901    WALGREENS        FW0655487   10,200    7,900    8,500   11,000    9,500    9,600    9,450    56,700

100098503   025089847   WALGREENS #11421        DSD       SAINT PAUL      MN   55106    WALGREENS        FW0656984    7,100    5,500    6,500    7,700    7,100    6,000    6,650    39,900

100094589   055033100   WALGREENS #10431        DSD     CAPE CARTERET     NC   28584    WALGREENS        FW0659120    7,000    8,300    7,500    7,320    9,000    4,500    7,270    43,620

100099917   018400101   WALGREENS #10819        DSD      RICHARDSON       TX   75081    WALGREENS        FW0659132   11,400   17,700   16,900   16,900   19,800    7,600   15,050    90,300

100098267   019171116   WALGREENS #11676        DSD        JACKSON        WI   53037    WALGREENS        FW0659144    9,800   10,200    9,200   10,700    9,200    8,000    9,517    57,100

100100508   018403139   WALGREENS #11233        DSD        LUBBOCK        TX   79401    WALGREENS        FW0659156     100    22,400   35,200   35,400   29,100   17,500   23,283   139,700

100073167   055069195   WAKEMED APEX HEALTHPLEX PHCY        APEX          NC   27502      HOSPITAL       FW0660680     200                        100      180               160       480

100098692   019173567   WALGREENS #10122        DSD       MUNDELEIN       IL   60060    WALGREENS        FW0660793    7,700   10,200    8,700    9,300    9,800    9,100    9,133    54,800

100095115   010232066   WALGREENS #11293        DSD        MARIETTA       OH   45750    WALGREENS        FW0663268   20,100   20,600   20,800   20,900   22,500   13,500   19,733   118,400

100103221   020163618   WALGREENS #09715        DSD      ALBUQUERQUE      NM   87120    WALGREENS        FW0663294   10,000   11,100    8,000    8,000   10,000    5,000    8,683    52,100

100097343   046044537   WALGREENS #10762        DSD        BREWTON        AL   36426    WALGREENS        FW0664979   22,000   27,700   22,140   24,540   17,300   20,000   22,280   133,680

100097184   040119180   WALGREENS #07741        DSD        ATLANTA        GA   30319    WALGREENS        FW0665286    3,100    2,500    4,000    2,600    3,900    2,000    3,017    18,100

100102047   046047613   WALGREENS #05489        DSD     DELRAY BEACH      FL   33445    WALGREENS        FW0665298     200      200     5,640    8,160   10,400    6,000    5,100    30,600

100098965   019177352   WALGREENS #07055        DSD        CHICAGO        IL   60619    WALGREENS        FW0665301    5,360    6,060    5,960    7,860    6,600    2,400    5,707    34,240

100103215   046055483   WALGREENS #10180        DSD     PEMBROKE PINES    FL   33029    WALGREENS        FW0665325     100      300      600     1,740    1,700     600      840      5,040

100099195   044217927   WALGREENS #11829        DSD      SPRINGFIELD      IL   62711    WALGREENS        FW0665337    4,200   14,800   17,600   18,100   23,800   10,800   14,883    89,300

100069225   004175075   WALGREENS #11363                 NEW BEDFORD      MA   02740    WALGREENS        FW0665349     500     1,700    1,000    2,400     500     1,200    1,217     7,300

100094666   004092650   WALGREENS #11142        DSD       CLARENCE        NY   14031    WALGREENS        FW0665351    6,600    6,600    6,500    7,200    9,000    5,000    6,817    40,900

100095563   004093823   WALGREENS #10384        DSD    SARATOGA SPRINGS   NY   12866    WALGREENS        FW0665363   10,000   11,500   11,000   12,100   14,900    6,600   11,017    66,100

100099584   037131391   WALGREENS #11138        DSD         HOUMA         LA   70360    WALGREENS        FW0668129     400     1,300    8,600   12,900   10,900   10,400    7,417    44,500

100096057   004098590   WALGREENS #09646        DSD       MERRIMACK       NH   03054    WALGREENS        FW0669056    1,400    3,600    2,000    1,100    2,500     700     1,883    11,300

100094800   010229286   WALGREENS #11238        DSD         ELKINS        WV   26241    WALGREENS        FW0669676   21,600   24,700   23,600   23,700   26,600   16,500   22,783   136,700

100102162   017097709   WALGREENS #10820        DSD      NORTH OGDEN      UT   84414    WALGREENS        FW0669688   11,000   12,600   10,500   10,000   10,600    8,000   10,450    62,700

100095905   023146407   WALGREENS #10379        DSD         DOVER         NJ   07801    WALGREENS        FW0669690    1,900    2,280    2,800    1,900    3,500    2,200    2,430    14,580

100095551   004093815   WALGREENS #10159        DSD         ROME          NY   13440    WALGREENS        FW0669703   12,900   14,900   13,600   13,900   17,100    6,100   13,083    78,500

100094729   010229039   WALGREENS #11730        DSD       CORTLAND        OH   44410    WALGREENS        FW0669715   15,100   17,020   13,500   14,900   14,800   12,500   14,637    87,820

100097755   044217174   WALGREENS #11394        DSD      MADISONVILLE     KY   42431    WALGREENS        FW0671936   22,500   20,600   23,600   25,400   19,500   14,000   20,933   125,600

100101980   017096933   WALGREENS #10604        DSD        MERIDIAN       ID   83642    WALGREENS        FW0671950   17,300   17,700   18,600   18,000   15,000   14,500   16,850   101,100

100095091   041149369   WALGREENS #10402        DSD         LUSBY         MD   20657    WALGREENS        FW0672027    8,030    7,800    6,300    7,000    6,100    6,800    7,005    42,030
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100096166   041152447   WALGREENS #10491      DSD     RIO GRANDE     NJ   08242    WALGREENS        FW0672039    3,700    5,700    4,700    3,800    3,600    3,200    4,117    24,700

100096092   004098848   WALGREENS #10483      DSD     NEW LONDON     CT   06320    WALGREENS        FW0672053    7,600    5,200    5,600    6,100    6,900    4,500    5,983    35,900

100093048   004090977   WALGREENS #10483 (340B)       NEW LONDON     CT   06320   PHS 340B CLINIC   FW0672053                       500                                 500       500

100096273   004100495   WALGREENS #10244      DSD     WESTBROOK      CT   06498    WALGREENS        FW0672077    4,200    2,240    3,300    2,600    3,700    2,500    3,090    18,540

100096056   004098582   WALGREENS #09820      DSD       MERIDEN      CT   06450    WALGREENS        FW0672091    4,600    5,900    2,800    4,600    5,000    5,800    4,783    28,700

100095790   055037101   WALGREENS #10614      DSD        YORK        SC   29745    WALGREENS        FW0672762    9,200   10,730    8,600   10,630    7,300    8,200    9,110    54,660

100097208   040119420   WALGREENS #11166      DSD      ELBERTON      GA   30635    WALGREENS        FW0673601   12,600   12,100   13,000   14,000   11,000   10,000   12,117    72,700

100097236   040119644   WALGREENS #10634      DSD       MACON        GA   31210    WALGREENS        FW0673738    8,700    9,500    8,640    8,340   10,600    8,120    8,983    53,900

100095132   055036004   WALGREENS #10255      DSD      MATTHEWS      NC   28104    WALGREENS        FW0675148    3,200    4,000    3,700    4,100    5,500    2,800    3,883    23,300

100087179   003091728   WALGREENS #09403               CAROLINA      PR   00983    WALGREENS        FW0675150     100      100                                          100       200

100099908   018400010   WALGREENS #11320      DSD      LITTLE ELM    TX   75068    WALGREENS        FW0677065   10,900   17,740   17,700   17,900   19,700   13,000   16,157    96,940

100097510   052221754   WALGREENS #10960      DSD     ROGERSVILLE    TN   37857    WALGREENS        FW0677116   23,500   24,670   23,300   25,700   21,000   20,200   23,062   138,370

100098054   049193219   WALGREENS #09928      DSD     WATERFORD      MI   48328    WALGREENS        FW0677192   17,500   20,100   18,000   19,700   22,900   12,100   18,383   110,300

100103615   032149930   WALGREENS #11214      DSD     OAK HARBOR     WA   98277    WALGREENS        FW0677255    8,500    8,500    7,100    8,500    9,200    6,100    7,983    47,900

100101952   017096826   WALGREENS #11541      DSD      CALDWELL      ID   83605    WALGREENS        FW0677279   23,600   24,200   19,700   22,300   20,700   13,700   20,700   124,200

100100495   018403006   WALGREENS #11271      DSD       AUSTIN       TX   78757    WALGREENS        FW0677293    2,500   12,100   10,630    9,600   14,260    9,000    9,682    58,090

100100463   018402685   WALGREENS #10961      DSD     ROUND ROCK     TX   78665    WALGREENS        FW0677306    2,610   11,400   10,000    9,500   11,200   10,000    9,118    54,710

100098385   019172296   WALGREENS #11648      DSD     MOUNT HOREB    WI   53572    WALGREENS        FW0677356    7,200    8,600    7,600    7,800    9,000    3,500    7,283    43,700

100095670   004093898   WALGREENS #10548      DSD        TROY        NY   12180    WALGREENS        FW0679792    8,720   10,310    8,530    9,220   12,700    8,700    9,697    58,180

100094814   010229328   WALGREENS #11429      DSD         ERIE       PA   16510    WALGREENS        FW0681381    6,800    7,900    6,500    6,790    8,360    5,960    7,052    42,310

100097255   040119800   WALGREENS #10796      DSD       ALBANY       GA   31705    WALGREENS        FW0682105   12,800   14,000   15,200   16,500   11,900   14,000   14,067    84,400

100095705   041151373   WALGREENS #10071      DSD     WASHINGTON     DC   20037    WALGREENS        FW0683905    1,200    1,420    1,650    1,000    1,700    1,200    1,362     8,170

100101858   024120063   WALGREENS #09050      DSD       ARCADIA      CA   91006    WALGREENS        FW0684060    6,500    6,500    5,800    6,100    8,100    4,900    6,317    37,900

100102001   024120626   WALGREENS #07575      DSD      EL MONTE      CA   91731    WALGREENS        FW0684084    6,700    4,700    5,600    6,200    6,500    6,100    5,967    35,800

100087151   003091108   WALGREENS #00555               MAYAGUEZ      PR   00680    WALGREENS        FW0684096              200      100      100                        133       400

100099452   018397604   WALGREENS #10721      DSD      EL DORADO     KS   67042    WALGREENS        FW0686266    5,000    7,000    8,000    8,500   12,000    6,500    7,833    47,000

100099727   044219246   WALGREENS #11344      DSD     FORREST CITY   AR   72335    WALGREENS        FW0686278   16,300   14,500   16,100   15,800   15,100    8,500   14,383    86,300

100098583   025090654   WALGREENS #11287      DSD        BLAINE      MN   55434    WALGREENS        FW0686280    4,600    5,170    5,400    5,700    7,900    3,200    5,328    31,970

100095765   010233197   WALGREENS #10889      DSD     WINCHESTER     KY   40391    WALGREENS        FW0688272    1,000   11,600   13,000   13,500    9,600   11,000    9,950    59,700

100097308   052220558   WALGREENS #10966      DSD      HARTSELLE     AL   35640    WALGREENS        FW0689135   18,500   18,400   18,100   20,700   14,700   11,500   16,983   101,900

100098160   049193987   WALGREENS #11801      DSD      WYOMING       MI   49519    WALGREENS        FW0690974   12,400   12,200   12,600   11,500   20,300   12,100   13,517    81,100

100099201   044217984   WALGREENS #09922      DSD     HARRISBURG     IL   62946    WALGREENS        FW0692512    3,300   13,400   22,500   22,900   17,300   14,100   15,583    93,500

100098387   019172312   WALGREENS #11277      DSD      SAUK CITY     WI   53583    WALGREENS        FW0696952   14,500   13,200   13,500   13,500   13,700    9,900   13,050    78,300

100097930   019170373   WALGREENS #10857      DSD      COLUMBUS      IN   47201    WALGREENS        FW0696988   28,600   17,000   18,700   19,800   25,300   12,900   20,383   122,300

100094813   010229310   WALGREENS #10520      DSD         ERIE       PA   16508    WALGREENS        FW0696990   11,310   13,220   14,220   15,610   14,000   13,200   13,593    81,560

100100487   018402925   WALGREENS #11513      DSD       AUSTIN       TX   78749    WALGREENS        FW0698766    3,630    9,830    9,500    8,600   10,200    6,560    8,053    48,320

100094489   055033068   WALGREENS #10274      DSD      BREVARD       NC   28712    WALGREENS        FW0700333    7,400    8,500    6,500    8,100   10,600    6,100    7,867    47,200

100097254   040119792   WALGREENS #10797      DSD       ALBANY       GA   31701    WALGREENS        FW0704711   14,100   13,300   10,100   10,700   11,200    8,200   11,267    67,600

100096151   004099242   WALGREENS #10099      DSD     PROVIDENCE     RI   02903    WALGREENS        FW0704723    3,700    4,700    3,200    3,100    4,600    3,300    3,767    22,600

100076620   056175018   WALGREEN'S SPECIALTY #11256   PHILADELPHIA   PA   19107    WALGREENS        FW0708276    1,500     500      600     1,500    1,000     700      967      5,800

100074611   056099416   WALGREENS #11256 (340B)       PHILADELPHIA   PA   19107   PHS 340B CLINIC   FW0708276     500                                                   500       500

100097977   049192443   WALGREENS #11264      DSD       MACOMB       MI   48044    WALGREENS        FW0708466   13,800   13,100   12,400   13,000   14,200    4,700   11,867    71,200

100102852   046053520   WALGREENS #11483      DSD      INVERNESS     FL   34453    WALGREENS        FW0709709     300      300     2,700   14,700   12,400   20,200    8,433    50,600

100067572   041113167   WISE DISCOUNT PHARMACY(Z)       DUNDALK      MD   21222    INDEPENDENT      FW0710372    1,500    2,500     600      500     8,700             2,760    13,800
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100098680   019173443   WALGREENS #06905    DSD         LINDENHURST      IL   60046   WALGREENS   FW0711540   13,000   12,500   14,700   13,500   17,500   11,400   13,767    82,600

100095773   055037069   WALGREENS #10089    DSD        WINSTON SALEM     NC   27106   WALGREENS   FW0713188    5,800    3,600    5,000    4,500    5,600    2,500    4,500    27,000

100094382   055032839   WALGREENS #10619    DSD          ALBEMARLE       NC   28001   WALGREENS   FW0713190   11,200   12,000   12,300   13,750   13,600   11,000   12,308    73,850

100097452   052221176   WALGREENS #11732    DSD          CLEVELAND       TN   37312   WALGREENS   FW0713215   25,500   25,700   24,500   27,600   22,200   22,500   24,667   148,000

100099635   037131912   WALGREENS #11281    DSD           GONZALES       LA   70737   WALGREENS   FW0715372     100              4,600    7,500   11,000    9,000    6,440    32,200

100103191   046055384   WALGREENS #10830    DSD        PEMBROKE PINES    FL   33026   WALGREENS   FW0715815     100      100     2,700    3,800    3,500    2,800    2,167    13,000

100102132   038110064   WALGREENS #11479    DSD          LONGMONT        CO   80501   WALGREENS   FW0718037    7,400    5,900    6,300    7,600    8,300    4,000    6,583    39,500

100097274   052220210   WALGREENS #11099    DSD            HELENA        AL   35080   WALGREENS   FW0719015   10,800    9,400    9,900   10,500    7,500    6,900    9,167    55,000

100103689   046055699   WALGREENS #07883    DSD        SAINT AUGUSTINE   FL   32080   WALGREENS   FW0720955     100              1,200    2,200    2,600    2,500    1,720     8,600

100096311   023147256   WALGREENS #11871    DSD           NEW YORK       NY   10016   WALGREENS   FW0720993     700      300     1,500     500      400     2,000     900      5,400

100095634   004093831   WALGREENS #10446    DSD          STONY POINT     NY   10980   WALGREENS   FW0721008    3,230    3,600    1,600    2,500    2,800    1,100    2,472    14,830

100100477   018402826   WALGREENS #11272    DSD           BEE CAVE       TX   78738   WALGREENS   FW0722947    3,700    9,450   10,060    9,160    8,200    5,100    7,612    45,670

100097462   052221275   WALGREENS #11160    DSD          OOLTEWAH        TN   37363   WALGREENS   FW0722959   21,800   20,800   21,200   21,630   16,300   15,500   19,538   117,230

100101984   017096941   WALGREENS #11452    DSD           MERIDIAN       ID   83646   WALGREENS   FW0722973    6,200    8,200    6,000    8,100    7,600    6,000    7,017    42,100

100102845   046053496   WALGREENS #10556    DSD           ORLANDO        FL   32809   WALGREENS   FW0725157                      6,500    8,400    8,700    7,000    7,650    30,600

100100200   038107722   WALGREENS #11814    DSD          CLEVELAND       TX   77327   WALGREENS   FW0727365    3,020    7,880   31,700   63,140   47,600   16,700   28,340   170,040

100095499   055036368   WALGREENS #10087    DSD           RALEIGH        NC   27604   WALGREENS   FW0727389    4,300    5,300    5,200    5,100    5,600    6,730    5,372    32,230

100102175   017097824   WALGREENS #11337    DSD          CEDAR CITY      UT   84720   WALGREENS   FW0727391   21,500   26,700   24,200   20,700   23,400   12,500   21,500   129,000

100103149   020163428   WALGREENS #11959    DSD         ALBUQUERQUE      NM   87108   WALGREENS   FW0727416   13,900   15,200   12,600   14,500   18,500   12,500   14,533    87,200

100096187   041152470   WALGREENS #10324    DSD            SEWELL        NJ   08080   WALGREENS   FW0728583    4,500    4,300    4,100    4,400    5,000    3,800    4,350    26,100

100069889   025175216   WALGREENS #11916                MINNEAPOLIS      MN   55408   WALGREENS   FW0730350     500     1,500    1,000    1,000    2,500    2,000    1,417     8,500

100097270   052220178   WALGREENS #11531    DSD           CHELSEA        AL   35043   WALGREENS   FW0730401   13,930   14,720   14,230   15,530   13,400   11,600   13,902    83,410

100102768   046053132   WALGREENS #10882    DSD             MIMS         FL   32754   WALGREENS   FW0730514    1,200     660     7,200   15,760   16,500   13,300    9,103    54,620

100097871   019169870   WALGREENS #11453    DSD           GOSHEN         IN   46526   WALGREENS   FW0730538    9,500   10,000    9,500   10,900    9,400   13,000   10,383    62,300

100097257   040119826   WALGREENS #11106    DSD           AMERICUS       GA   31709   WALGREENS   FW0732188   13,600   15,100   14,300   17,000    9,600   11,000   13,433    80,600

100095497   055036343   WALGREENS #09634    DSD           RALEIGH        NC   27612   WALGREENS   FW0732215    4,300    3,900    5,400    5,200    7,400    5,400    5,267    31,600

100094799   055033753   WALGREENS #11201    DSD             ELKIN        NC   28621   WALGREENS   FW0732239    6,300    8,900    8,600    7,000    8,700    6,000    7,583    45,500

100102320   046049825   *WALGREENS #11191   DSD         ORANGE PARK      FL   32065   WALGREENS   FW0745919     500                                                   500       500

100102883   046053678   WALGREENS #10671    DSD            OCALA         FL   34475   WALGREENS   FW0745921      30      100     5,300   16,730   16,000   15,500    8,943    53,660

100099868   018399618   WALGREENS #11317    DSD            DURANT        OK   74701   WALGREENS   FW0745933      60     4,800   18,500   16,000   16,500   11,300   11,193    67,160

100095543   055036442   WALGREENS #11210    DSD           ROCK HILL      SC   29732   WALGREENS   FW0745945    9,100    9,300    8,700    9,200    8,300    7,500    8,683    52,100

100097527   052221929   WALGREENS #11174    DSD          KNOXVILLE       TN   37920   WALGREENS   FW0745957   15,200   14,790   14,000   14,900   12,200   11,500   13,765    82,590

100100074   018401679   WALGREENS #11130    DSD            KILLEEN       TX   76542   WALGREENS   FW0745969    4,300   15,800   14,800   14,100   14,000    5,500   11,417    68,500

100094576   010228403   WALGREENS #10894    DSD            BUTLER        PA   16001   WALGREENS   FW0749018    8,490    9,100    8,330    7,930   11,300    6,300    8,575    51,450

100069888   010175232   WALGREENS #11914                    LIMA         OH   45801   WALGREENS   FW0749020    2,100    2,500    3,000    3,000    4,000    6,000    3,433    20,600

100098236   021169672   WALGREENS #10985    DSD          CORALVILLE      IA   52241   WALGREENS   FW0749044   10,000   11,600   10,100    9,500   10,200    8,600   10,000    60,000

100102684   046052696   WALGREENS #11306    DSD           WILLISTON      FL   32696   WALGREENS   FW0755201                      4,500    8,030   16,500   12,000   10,258    41,030

100070056   012175018   WALGREEN CO DBA:PIONEER PHCY   FOUNTAIN VALLEY   CA   92708   WALGREENS   FW0755225   12,100   13,000   12,000   11,500   10,500    8,800   11,317    67,900

100103547   032149260   WALGREENS #11173    DSD            SALEM         OR   97302   WALGREENS   FW0757647   14,200   12,700   14,200   15,200   17,800   11,000   14,183    85,100

100102123   032148387   WALGREENS #11398    DSD           GRESHAM        OR   97030   WALGREENS   FW0757659   13,800   15,300   14,400   14,400   18,500    9,600   14,333    86,000

100102026   032148338   WALGREENS #10137    DSD            SANDY         OR   97055   WALGREENS   FW0757661   15,800   13,800   12,400   13,200   15,700    6,600   12,917    77,500

100095122   010232108   WALGREENS #11966    DSD          MARYSVILLE      OH   43040   WALGREENS   FW0759502    7,400    8,500    7,500    9,300    7,500    6,600    7,800    46,800

100102599   046052266   WALGREENS #01042    DSD          PENSACOLA       FL   32506   WALGREENS   FW0762535     100      400    11,400   21,500   18,000   26,500   12,983    77,900

100097870   019169862   WALGREENS #11393    DSD           GOSHEN         IN   46526   WALGREENS   FW0762561    6,300    6,500    8,200    8,200    7,800    5,200    7,033    42,200
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100097873   019169896   WALGREENS #11544         DSD     GRANGER       IN   46530    WALGREENS        FW0764414    8,400    8,900    7,200    8,800   10,400    6,000    8,283    49,700

100099386   021170555   WALGREENS #11666         DSD      BOLIVAR      MO   65613    WALGREENS        FW0764438   13,500   19,800   21,500   25,800   27,700   14,000   20,383   122,300

100097279   052220269   WALGREENS #11450         DSD      SUMITON      AL   35148    WALGREENS        FW0764452   40,600   39,200   36,900   41,200   28,800   31,600   36,383   218,300

100097549   044215814   WALGREENS #11733         DSD     MUNFORD       TN   38058    WALGREENS        FW0764515   19,060   17,800   19,100   18,800   17,700   15,000   17,910   107,460

100106514   046059337   WEKIVA SPRINGS CTR FOR WOMEN    JACKSONVILLE   FL   32216      HOSPITAL       FW0764921     300      300      200      200      500               300      1,500

100098504   025089854   WALGREENS #01751         DSD    MAPLEWOOD      MN   55109    WALGREENS        FW0766280   18,200   16,200   15,600   17,900   17,000   15,000   16,650    99,900

100095024   041149203   WALGREENS #11381         DSD    KILMARNOCK     VA   22482    WALGREENS        FW0766305   11,130   11,160   10,700   11,500   12,000    8,100   10,765    64,590

100099574   037131292   WALGREENS #04982         DSD    NEW ORLEANS    LA   70127    WALGREENS        FW0766317     500      600     5,600    9,200   10,400    6,100    5,400    32,400

100095078   023142901   WALGREENS #10278         DSD    LONG BEACH     NY   11561    WALGREENS        FW0767763    3,500    2,900    2,700    3,500    4,700    1,900    3,200    19,200

100094400   004092486   WALGREENS #10747         DSD    AMSTERDAM      NY   12010    WALGREENS        FW0775796   17,500   16,100   16,900   18,700   20,300   12,800   17,050   102,300

100095481   041150631   WALGREENS #10302         DSD    PORTSMOUTH     VA   23701    WALGREENS        FW0775809    7,400    7,100    5,700    5,800    6,200    5,400    6,267    37,600

100095798   010233254   WALGREENS #11964         DSD    AUSTINTOWN     OH   44509    WALGREENS        FW0775859   15,200   17,200   14,800   15,300   18,800    9,900   15,200    91,200

100103222   008113977   WALGREENS #09102         DSD    BRENTWOOD      CA   94513    WALGREENS        FW0775861   12,400   13,400   14,800   15,300   20,400   12,100   14,733    88,400

100103412   020164509   WALGREENS #10783         DSD     LAS VEGAS     NV   89131    WALGREENS        FW0775873   18,200   18,200   17,500   20,200   22,800   16,500   18,900   113,400

100097506   052221713   WALGREENS #11435         DSD   NEW TAZEWELL    TN   37825    WALGREENS        FW0777435   27,000   27,900   28,100   30,500   24,200   20,200   26,317   157,900

100102174   046049353   WALGREENS #10484         DSD       LITHIA      FL   33547    WALGREENS        FW0780456     200      100     1,900    6,900    6,900    5,200    3,533    21,200

100095602   055036665   WALGREENS #10100         DSD   SPARTANBURG     SC   29306    WALGREENS        FW0780848   22,100   22,400   20,700   22,100   16,800   18,300   20,400   122,400

100095054   055035873   WALGREENS #11352         DSD      LELAND       NC   28451    WALGREENS        FW0780874    6,220    6,100    6,600    6,000    7,500    4,600    6,170    37,020

100097126   040118612   WALGREENS #10457         DSD      TUCKER       GA   30084    WALGREENS        FW0780913    5,300    5,700    4,180    5,300    6,600    4,200    5,213    31,280

100094958   055034256   WALGREENS #11629         DSD      HICKORY      NC   28601    WALGREENS        FW0780987   15,200   19,200   18,080   17,400   17,600   12,500   16,663    99,980

100100223   038107946   WALGREENS #11646         DSD   THE WOODLANDS   TX   77381    WALGREENS        FW0788274     200      800     6,600   10,100    8,100    9,300    5,850    35,100

100099706   044219204   WALGREENS #11161         DSD     NEWPORT       AR   72112    WALGREENS        FW0788349   12,600   29,700   27,700   30,500   26,500   23,500   25,083   150,500

100103312   020164046   WALGREENS #11518         DSD    HORIZON CITY   TX   79928    WALGREENS        FW0788351    2,640   11,400    9,900    9,500   11,000    2,100    7,757    46,540

100095446   041149955   WALGREENS #01256         DSD    PHILADELPHIA   PA   19107    WALGREENS        FW0788363    1,000    1,000     500     1,000    2,000     500     1,000     6,000

100074612   056099424   WALGREENS #1256 (340B)          PHILADELPHIA   PA   19107   PHS 340B CLINIC   FW0788363     500                                                   500       500

100099619   037131755   WALGREENS #11997         DSD       SCOTT       LA   70583    WALGREENS        FW0788375     300              8,700   13,600   17,200   13,100   10,580    52,900

100094452   004092536   WALGREENS #11716         DSD       BATH        NY   14810    WALGREENS        FW0789985   10,800   10,600   10,600   10,800   12,200    8,500   10,583    63,500

100097365   052221085   WALGREENS #11115         DSD    THOMASVILLE    AL   36784    WALGREENS        FW0790685   25,720   24,500   25,430   27,330   20,300   16,500   23,297   139,780

100073422   010123422   *WHITE HALL PHARMACY, LLC        FAIRMONT      WV   26554    INDEPENDENT      FW0791714    3,500     500                                         2,000     4,000

100095069   055035907   WALGREENS #11362         DSD     LEXINGTON     SC   29073    WALGREENS        FW0794051   24,830   22,800   22,500   22,230   13,800   24,800   21,827   130,960

100095948   004097857   WALGREENS #10638         DSD    FOXBOROUGH     MA   02035    WALGREENS        FW0795801    2,600    4,100    1,600    3,000    3,000    1,100    2,567    15,400

100095211   023144006   WALGREENS #10912         DSD     NEW YORK      NY   10025    WALGREENS        FW0798528    2,200    2,000    1,200     800     2,500    2,600    1,883    11,300

100074008   019175232   WALGREENS #11466                   JOLIET      IL   60435    WALGREENS        FW0798770    6,500    7,500    8,200    6,500   11,000   11,100    8,467    50,800

100102197   012110387   WALGREENS #09781         DSD       INDIO       CA   92201    WALGREENS        FW0798845    7,300    9,100    8,100    8,200    9,800    6,000    8,083    48,500

100097630   044216515   WALGREENS #11890         DSD     SOUTHAVEN     MS   38671    WALGREENS        FW0798871    6,300    6,000    5,600    6,500    7,600    5,700    6,283    37,700

100094730   010229047   WALGREENS #11694         DSD    COSHOCTON      OH   43812    WALGREENS        FW0798910    7,500   10,100    9,400    9,000   10,200    6,000    8,700    52,200

100097232   040119602   WALGREENS #11348         DSD   WARNER ROBINS   GA   31093    WALGREENS        FW0801553   15,900   15,100   14,700   14,500   18,600   15,500   15,717    94,300

100099310   044219063   WALGREENS #11311         DSD    WENTZVILLE     MO   63385    WALGREENS        FW0803672     200     6,800   10,200   10,300   13,500   10,200    8,533    51,200

100099450   018397588   WALGREENS #11369         DSD   ARKANSAS CITY   KS   67005    WALGREENS        FW0807202    8,000   11,600   11,600   13,100    8,600   15,500   11,400    68,400

100099492   021171470   WALGREENS #11203         DSD       OMAHA       NE   68118    WALGREENS        FW0807226    6,500    6,000    7,100    9,000    8,100    5,000    6,950    41,700

100095491   041150664   WALGREENS #10924         DSD      PULASKI      VA   24301    WALGREENS        FW0807238   16,000   16,000   16,000   16,500   15,500   14,500   15,750    94,500

100101223   046044925   WALGREENS #10145         DSD    NORTH PORT     FL   34288    WALGREENS        FW0810716     300      300     7,200   12,300   13,800    8,240    7,023    42,140

100094385   010228122   WALGREENS #11495         DSD    ALEXANDRIA     KY   41001    WALGREENS        FW0810728    9,330   10,420    9,100   10,300   12,600    7,200    9,825    58,950

100094854   010229443   *WALGREENS #11631        DSD    FOREST PARK    OH   45240    WALGREENS        FW0812493    6,100    1,500                                        3,800     7,600
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100101820   038109785   WALGREENS #10057        DSD   COLORADO SPRINGS   CO   80918     WALGREENS         FW0812506    8,100    7,300    7,800    8,500    9,000    3,600    7,383    44,300

100095032   041149229   WALGREENS #10063        DSD       LA PLATA       MD   20646     WALGREENS         FW0812532    9,720   12,850    9,580   11,000    8,600   12,700   10,742    64,450

100102142   017097642   WALGREENS #12639        DSD       HOLLADAY       UT   84117     WALGREENS         FW0814207    8,700    9,000    8,500    9,500   10,000    6,000    8,617    51,700

100097225   040119537   WALGREENS #11940        DSD         GRAY         GA   31032     WALGREENS         FW0817063   21,800   17,100   19,680   22,940   17,200   17,540   19,377   116,260

100098823   019174870   WALGREENS #10374        DSD     BOLINGBROOK      IL   60440     WALGREENS         FW0820604   11,200    8,800   10,300   11,100   11,100   10,200   10,450    62,700

100098370   019172148   WALGREENS #11528        DSD        BELOIT        WI   53511     WALGREENS         FW0820616   25,500   25,900   26,400   24,500   25,200   26,000   25,583   153,500

100099612   037131672   WALGREENS #10126        DSD      BROUSSARD       LA   70518     WALGREENS         FW0820628     100      700     9,400   15,700   17,700    9,100    8,783    52,700

100103336   020164194   WALGREENS #12646        DSD       MESQUITE       NV   89027     WALGREENS         FW0823321   13,900   13,000   11,100   10,600   13,600    9,700   11,983    71,900

100102164   017097717   WALGREENS #11891        DSD       HAMILTON       MT   59840     WALGREENS         FW0826466   16,100   17,600   14,200   16,200   15,200    8,000   14,550    87,300

100095916   004094938   WALGREENS #09374        DSD   EAST PROVIDENCE    RI   02914     WALGREENS         FW0827595    4,200    3,000    5,000    3,100    5,200    2,600    3,850    23,100

100091319   004089946   WALGREENS # 09374 (340B)      EAST PROVIDENCE    RI   02914    PHS 340B CLINIC    FW0827595     100               200                                 150       300

100095618   023145946   WALGREENS #07776        DSD     STATEN ISLAND    NY   10305     WALGREENS         FW0830934    3,900    4,330    4,800    4,000    5,700    3,430    4,360    26,160

100094428   055032995   WALGREENS #11827        DSD       AUGUSTA        GA   30909     WALGREENS         FW0830972    4,600    7,300    5,000    6,700    7,600    5,500    6,117    36,700

100102719   046052910   WALGREENS #10497        DSD        DEBARY        FL   32713     WALGREENS         FW0830984     200      620    11,800   14,100    8,800   12,020    7,923    47,540

100102493   046051755   WALGREENS #09479        DSD     JACKSONVILLE     FL   32226     WALGREENS         FW0832560     200      100     6,500    7,300   21,500   15,000    8,433    50,600

100097321   052220681   WALGREENS #11279        DSD     ALBERTVILLE      AL   35950     WALGREENS         FW0835174   32,630   30,000   32,400   33,100   35,900   25,500   31,588   189,530

100095813   041151720   WALGREENS #09626        DSD       BAYVILLE       NJ   08721     WALGREENS         FW0835213    4,400    5,900    2,400    4,500    3,900    3,400    4,083    24,500

100103117   020163345   WALGREENS #11361        DSD      LOS LUNAS       NM   87031     WALGREENS         FW0837750   12,100   12,500    9,700   12,500   12,000    7,800   11,100    66,600

100097502   052221671   WALGREENS #11813        DSD     MORRISTOWN       TN   37813     WALGREENS         FW0837801   14,620   14,100   13,000   17,020   16,000   16,000   15,123    90,740

100097453   052221184   WALGREENS #12049        DSD      CLEVELAND       TN   37312     WALGREENS         FW0837849   16,100   18,100   16,000   17,500    3,500   17,800   14,833    89,000

100095785   023146167   WALGREENS #09972        DSD       YONKERS        NY   10704     WALGREENS         FW0839437    2,100    3,600    2,600    1,700    4,900    2,300    2,867    17,200

100096070   023146779   WALGREENS #10438        DSD     MORRISTOWN       NJ   07960     WALGREENS         FW0841002    2,120    2,500    2,300    3,100    2,800    2,000    2,470    14,820

100096116   023146878   WALGREENS #10058        DSD       NORWALK        CT   06851     WALGREENS         FW0847143    1,900    1,900    2,800    1,200    2,500    2,200    2,083    12,500

100095580   055036582   WALGREENS #10891        DSD        SHELBY        NC   28152     WALGREENS         FW0847167   25,100   23,900   24,700   25,500   27,100   24,100   25,067   150,400

100097866   019169821   WALGREENS #11795        DSD       ELKHART        IN   46514     WALGREENS         FW0847181    9,700    8,700    7,200    9,000    9,400    4,100    8,017    48,100

100101930   024120295   WALGREENS #10767        DSD     SANTA CLARITA    CA   91354     WALGREENS         FW0847220   12,800   14,000   13,900   12,200   17,500   11,900   13,717    82,300

100102056   012109025   WALGREENS #10420        DSD     BIG BEAR LAKE    CA   92315     WALGREENS         FW0847244   44,500   51,600   46,900   48,400   43,400   37,300   45,350   272,100

100102255   012110619   WALGREENS #09885        DSD     PALM SPRINGS     CA   92264     WALGREENS         FW0847256   12,900   13,300   11,500   14,200   14,100   10,600   12,767    76,600

100098032   049192997   WALGREENS #11156        DSD       YPSILANTI      MI   48198     WALGREENS         FW0847319   21,000   23,100   22,200   23,100   21,100   18,500   21,500   129,000

100105986   049194993   WALGREENS #11156 340B             YPSILANTI      MI   48198   PHS 340B HOSPITAL   FW0847319     100      100      600                                 267       800

100098616   025090977   WALGREENS #11157        DSD      ALEXANDRIA      MN   56308     WALGREENS         FW0853007   14,100   14,700   11,500   11,500   12,200    9,600   12,267    73,600

100097249   040119750   WALGREENS #11661        DSD       DOUGLAS        GA   31533     WALGREENS         FW0853021   12,600   13,300   11,200   13,700   14,300   13,500   13,100    78,600

100099913   018400069   WALGREENS #11770        DSD        PLANO         TX   75074     WALGREENS         FW0853033    7,840   12,800   10,500   10,140    9,700    7,000    9,663    57,980

100099308   021169920   WALGREENS #10211        DSD      WARRENTON       MO   63383     WALGREENS         FW0855974            11,800   20,200   19,800   18,300   18,600   17,740    88,700

100074007   037175265   WALGREENS #11752                  HOUSTON        TX   77024     WALGREENS         FW0858766     700              2,400    6,200    8,200    7,600    5,020    25,100

100097259   046044479   WALGREENS #11794        DSD     THOMASVILLE      GA   31757     WALGREENS         FW0858855              600     5,600    4,300    5,500    6,000    4,400    22,000

100097693   046044552   WALGREENS #11107        DSD        CAIRO         GA   39828     WALGREENS         FW0858867              100     5,500    4,600    5,200    4,000    3,880    19,400

100099863   018399568   WALGREENS #10785        DSD      TAHLEQUAH       OK   74464     WALGREENS         FW0861612    1,400    9,200   32,100   35,400   27,200   32,500   22,967   137,800

100094583   010228429   WALGREENS #10786        DSD     CANONSBURG       PA   15317     WALGREENS         FW0861636    5,100    6,500    5,500    5,000    4,300    6,300    5,450    32,700

100087195   003092098   WALGREENS #12653                  BAYAMON        PR   00957     WALGREENS         FW0865800                       100      200                        150       300

100103766   032151324   WALGREENS #07173        DSD       GRAHAM         WA   98338     WALGREENS         FW0865848   10,830   11,500   10,600   12,000   11,800    6,200   10,488    62,930

100097326   052220731   WALGREENS #11389        DSD      MILLBROOK       AL   36054     WALGREENS         FW0865862   24,400   25,300   23,200   26,500   22,500   18,200   23,350   140,100

100097070   040118059   WALGREENS #11432        DSD     BEECH ISLAND     SC   29842     WALGREENS         FW0871853   11,000   11,000   10,500   10,100   10,000    8,700   10,217    61,300

100099587   037131425   WALGREENS #10975        DSD     MORGAN CITY      LA   70380     WALGREENS         FW0871865     500      200     5,000   13,400   12,800    9,000    6,817    40,900
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100094789   023138487   WALGREENS #09866        DSD   EASTCHESTER     NY   10709    WALGREENS        FW0872021    1,500    2,000     1,500     800     2,300    2,200    1,717    10,300

100095792   041151670   WALGREENS #09811        DSD     YORKTOWN      VA   23692    WALGREENS        FW0875154    5,400    6,250     5,030    4,260    4,800    4,900    5,107    30,640

100100338   018401802   WALGREENS #11725        DSD    PLEASANTON     TX   78064    WALGREENS        FW0875166    1,360    3,920    17,320   31,720   20,900   10,300   14,253    85,520

100100398   018402396   WALGREENS #11971        DSD    SAN ANTONIO    TX   78258    WALGREENS        FW0875217     300      420      4,400    6,100    3,500   10,000    4,120    24,720

100101936   017096719   WALGREENS #11622        DSD    IDAHO FALLS    ID   83401    WALGREENS        FW0880179   17,000   17,600    15,000   17,000   18,500   11,000   16,017    96,100

100100346   018401877   WALGREENS #11928        DSD   NEW BRAUNFELS   TX   78132    WALGREENS        FW0880206     400     1,100     8,000   12,830   11,400    5,300    6,505    39,030

100103334   020164186   WALGREENS #11516        DSD      EL PASO      TX   79936    WALGREENS        FW0880244    1,100    3,700     5,200    3,100    4,000    1,000    3,017    18,100

100097297   052220442   WALGREENS #11404        DSD    TUSCALOOSA     AL   35404    WALGREENS        FW0884660   19,400   19,700    18,100   21,700   29,500   23,600   22,000   132,000

100094409   055032920   WALGREENS #11712        DSD       ARDEN       NC   28704    WALGREENS        FW0884684   11,860   11,600     9,230   12,200   12,100    9,500   11,082    66,490

100103684   020164624   WALGREENS #10215        DSD     LAS VEGAS     NV   89113    WALGREENS        FW0884696   16,100   15,700    14,800   17,600   23,100   21,800   18,183   109,100

100094607   023138354   WALGREENS #11560        DSD   CHAMBERSBURG    PA   17201    WALGREENS        FW0884709    4,400    4,600     4,500    5,300    5,000    4,100    4,650    27,900

100101990   046047407   WALGREENS #09573        DSD     LAKELAND      FL   33810    WALGREENS        FW0890295     100      200      2,200   11,500    9,600    8,900    5,417    32,500

100095037   010231738   WALGREENS #10804        DSD   LAMBERTVILLE    MI   48144    WALGREENS        FW0890322    9,930    9,460    11,830   11,560   14,900    9,200   11,147    66,880

100087077   049185090   WALGREENS CO #10804 340B      LAMBERTVILLE    MI   48144   PHS 340B CLINIC   FW0890322     500      500                100                        367      1,100

100097687   037104539   WALGREENS #10321        DSD     WAVELAND      MS   39576    WALGREENS        FW0890346   23,200   38,000    39,200   35,700   28,900   25,500   31,750   190,500

100106592   052223792   WALGREENS #10321 PHS/340B       WAVELAND      MS   39576   PHS 340B CLINIC   FW0890346                                 100                        100       100

100095839   004094425   WALGREENS #11545        DSD      BREWER       ME   04412    WALGREENS        FW0890459    4,600    7,300     5,200    6,200    7,300    4,600    5,867    35,200

100094426   004092510   WALGREENS #10863        DSD      AUBURN       NY   13021    WALGREENS        FW0890497    7,100    8,500     7,000    8,820   11,500    5,900    8,137    48,820

100074006   037175257   WALGREENS #13142                HOUSTON       TX   77024    WALGREENS        FW0893429     100               2,000    1,000    3,000    3,000    1,820     9,100

100099290   044218875   WALGREENS #11627        DSD   SAINT CHARLES   MO   63301    WALGREENS        FW0893657     200    11,100    17,100   17,100   19,200   14,100   13,133    78,800

100097959   019170548   WALGREENS #10858        DSD     LAFAYETTE     IN   47905    WALGREENS        FW0893669   17,700   19,400    20,100   19,700   24,700   17,100   19,783   118,700

100095011   041147231   WALGREENS #09078        DSD      JAMISON      PA   18929    WALGREENS        FW0893671    3,700    4,320     4,890    3,290    3,120    3,190    3,752    22,510

100099865   018399584   WALGREENS #11559        DSD     WAGONER       OK   74467    WALGREENS        FW0895752             9,680    34,040   32,500   38,200   16,500   26,184   130,920

100102412   046051359   WALGREENS #11329        DSD    THE VILLAGES   FL   32162    WALGREENS        FW0895788     500      200     11,500   14,500   10,400    9,800    7,817    46,900

100102608   046052316   WALGREENS #10964        DSD    FORT MYERS     FL   33913    WALGREENS        FW0895790     100      300      3,020   11,100    9,700   11,500    5,953    35,720

100102126   017097600   WALGREENS #11524        DSD     HERRIMAN      UT   84096    WALGREENS        FW0899938    6,500    7,500     6,500    8,600    8,500    2,500    6,683    40,100

100095593   041150995   WALGREENS #11773        DSD   SOUTH BOSTON    VA   24592    WALGREENS        FW0902999    7,700    8,300     9,000    8,500    8,600    7,100    8,200    49,200

100093274   017096073   SAMS PHARMACY 10-4718         SOUTH JORDAN    UT   84095       CHAIN         FW0903030                        100                       1,300     700      1,400

100094530   023137943   WALGREENS #11427        DSD     BROOKLYN      NY   11230    WALGREENS        FW0903903    1,400    1,100      100     1,200     600      100      750      4,500

100099723   018398297   WALGREENS #11345        DSD    LITTLE ROCK    AR   72227    WALGREENS        FW0905755    5,700    9,000     9,800    8,360    6,900    7,500    7,877    47,260

100101839   046046946   WALGREENS #09552        DSD    PLANTATION     FL   33324    WALGREENS        FW0905779              200      2,100    2,800    3,500    2,900    2,300    11,500

100096195   041152496   WALGREENS #10490        DSD    SICKLERVILLE   NJ   08081    WALGREENS        FW0905781    3,400    5,000     4,400    3,100    4,800    3,900    4,100    24,600

100095808   004094235   WALGREENS #11285        DSD      BANGOR       ME   04401    WALGREENS        FW0905832    6,200    9,100     7,000    6,700    6,600    5,700    6,883    41,300

100087201   003092213   WALGREENS #12659                CAROLINA      PR   00983    WALGREENS        FW0907557      40       (40)     500                                 167       500

100103662   032151134   WALGREENS #10788        DSD    LIBERTY LAKE   WA   99019    WALGREENS        FW0910174   13,400   14,400    12,300   15,600   16,400   10,500   13,767    82,600

100097325   052220723   WALGREENS #11468        DSD    GREENVILLE     AL   36037    WALGREENS        FW0914300   13,800   13,700    14,600   15,600   13,900   12,500   14,017    84,100

100101877   038109918   WALGREENS #11187        DSD      FRUITA       CO   81521    WALGREENS        FW0918613   14,000   14,500    12,600   17,000   15,200   13,500   14,467    86,800

100102597   024120840   WALGREENS #10738        DSD     MOORPARK      CA   93021    WALGREENS        FW0918625   10,000    8,900     7,800    8,100    9,400    6,700    8,483    50,900

100097379   044214981   WALGREENS #11852        DSD    CLARKSVILLE    TN   37042    WALGREENS        FW0918637   10,430    9,500    10,000   11,000   10,000    8,000    9,822    58,930

100097615   052222059   WALGREENS #12016        DSD    LIVINGSTON     TN   38570    WALGREENS        FW0918651   16,200   16,200    14,100   16,100   14,100   13,500   15,033    90,200

100098378   019172221   WALGREENS #11236        DSD     JANESVILLE    WI   53546    WALGREENS        FW0918687   14,300   15,000    13,400   15,400   15,500   13,000   14,433    86,600

100098403   019172478   WALGREENS #11858        DSD      MADISON      WI   53715    WALGREENS        FW0918699    1,000    1,500     1,000    2,600    2,100    1,500    1,617     9,700

100095896   004094789   WALGREENS #10261        DSD    DEEP RIVER     CT   06417    WALGREENS        FW0918714    4,160    5,440     5,500    4,700    5,600    4,400    4,967    29,800

100094458   010228247   WALGREENS #09942        DSD   BEAVER FALLS    PA   15010    WALGREENS        FW0918738    2,500    4,200     3,000    4,100    5,000    2,600    3,567    21,400
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100099720   018398263   WALGREENS #11933        DSD      LITTLE ROCK     AR   72211    WALGREENS        FW0921761    7,200    8,000   10,800    8,300    6,700    9,200    8,367    50,200

100099377   021170464   WALGREENS #10907        DSD        FULTON        MO   65251    WALGREENS        FW0921773    5,100   11,000   10,500   10,700   10,100    4,800    8,700    52,200

100094687   055033431   WALGREENS #12017        DSD     COLLINSVILLE     VA   24078    WALGREENS        FW0921785   21,500   20,000   21,100   25,600   34,800   39,600   27,100   162,600

100102444   046051524   WALGREENS #11137        DSD     JACKSONVILLE     FL   32209    WALGREENS        FW0921797     800     3,400   26,900   42,200   36,100   46,600   26,000   156,000

100097641   044216598   WALGREENS #12269        DSD       GRENADA        MS   38901    WALGREENS        FW0929402   23,500   18,000   20,100   21,500   20,000   10,500   18,933   113,600

100102077   017097402   WALGREENS #10104        DSD   SARATOGA SPRINGS   UT   84045    WALGREENS        FW0929414   11,600   10,100   11,000   10,500   12,100    9,000   10,717    64,300

100099640   037131961   WALGREENS #11498        DSD       ZACHARY        LA   70791    WALGREENS        FW0933982     600      580    11,200   19,500   21,500   14,500   11,313    67,880

100094775   004092742   WALGREENS #11729        DSD       DUNKIRK        NY   14048    WALGREENS        FW0934009    8,800    7,600    7,200    8,300   11,400    6,300    8,267    49,600

100098187   019170886   WALGREENS #11954        DSD      IRONWOOD        MI   49938    WALGREENS        FW0938211    8,200   11,100    8,200   13,000   14,000    9,000   10,583    63,500

100098184   025089367   WALGREENS #11953        DSD    IRON MOUNTAIN     MI   49801    WALGREENS        FW0938273   23,900   23,500   22,200   23,800   20,900   24,400   23,117   138,700

100103385   038110221   WALGREENS #11615        DSD       AURORA         CO   80016    WALGREENS        FW0943173    7,400    5,300    7,960    8,000   10,300    8,400    7,893    47,360

100097751   044217133   WALGREENS #11168        DSD     RUSSELLVILLE     KY   42276    WALGREENS        FW0943185    2,000   13,000   13,700   13,500   10,000    8,500   10,117    60,700

100096106   004098939   WALGREENS #10609        DSD    NORTH CONWAY      NH   03860    WALGREENS        FW0943197    2,600    4,800    2,100    3,500    3,600    2,400    3,167    19,000

100087207   003092338   WALGREENS #12665                TRUJILLO ALTO    PR   00976    WALGREENS        FW0946422     100                                 100               100       200

100087198   003092155   WALGREENS #12012                  FAJARDO        PR   00738    WALGREENS        FW0946434              100                                          100       100

100097161   040118950   WALGREENS #11491        DSD      VILLA RICA      GA   30180    WALGREENS        FW0946446   17,000   17,200   16,800   17,500   15,700   17,500   16,950   101,700

100102795   008112920   WALGREENS #10243        DSD       FRESNO         CA   93703    WALGREENS        FW0946458   14,500   15,300   16,100   15,700   14,000   11,300   14,483    86,900

100095085   055035931   WALGREENS #11838        DSD      LOUISBURG       NC   27549    WALGREENS        FW0946472    6,000    5,000    5,000    5,500    7,500    3,500    5,417    32,500

100094699   055033514   WALGREENS #11851        DSD       COLUMBIA       SC   29212    WALGREENS        FW0952843    6,600    6,800    5,320    6,790    5,600    6,000    6,185    37,110

100102071   020160309   WALGREENS #10782        DSD      LAS VEGAS       NV   89149    WALGREENS        FW0953085   16,600   14,660   16,830   16,300   23,300   15,600   17,215   103,290

100095171   010232264   WALGREENS #10917        DSD    MOON TOWNSHIP     PA   15108    WALGREENS        FW0953124    4,700    4,700    6,500    4,800    6,800    7,000    5,750    34,500

100098417   019172619   WALGREENS #11649        DSD       WAUPUN         WI   53963    WALGREENS        FW0953148   10,100   12,200   10,100   11,800   10,000    9,100   10,550    63,300

100095872   004094615   WALGREENS #11688        DSD       CHICOPEE       MA   01020    WALGREENS        FW0955471    2,700    5,100    1,500    2,000    3,000    1,400    2,617    15,700

100098825   019174912   WALGREENS #10937        DSD      MATTESON        IL   60443    WALGREENS        FW0955483    8,000    7,300    8,700    6,300    9,500    3,500    7,217    43,300

100097195   040119297   WALGREENS #11708        DSD     SWAINSBORO       GA   30401    WALGREENS        FW0958249    7,100    8,300    6,200   10,000    6,600    5,500    7,283    43,700

100095958   004097923   WALGREENS #02228        DSD     GLASTONBURY      CT   06033    WALGREENS        FW0958251    4,100    3,640    4,100    3,000    4,500    3,400    3,790    22,740

100097618   044216390   WALGREENS #10706        DSD      HERNANDO        MS   38632    WALGREENS        FW0958275   10,600   11,800   10,000   10,500    8,500    9,500   10,150    60,900

100096087   023146803   WALGREENS #09821        DSD     NEW CANAAN       CT   06840    WALGREENS        FW0958287    2,880    2,230    2,090    1,890    1,300    1,900    2,048    12,290

100087208   003092353   WALGREENS #12667                   MANATI        PR   00674    WALGREENS        FW0961068              600      500                                 550      1,100

100102879   046053652   WALGREENS #11486        DSD        OCALA         FL   34473    WALGREENS        FW0961082      30      200     4,200    4,400    5,000    4,500    3,055    18,330

100103503   008115733   WALGREENS #10716        DSD     SACRAMENTO       CA   95831    WALGREENS        FW0964761   15,700   17,000   14,000   16,600   13,700   15,300   15,383    92,300

100094861   023138677   WALGREENS #10134        DSD   FRANKLIN SQUARE    NY   11010    WALGREENS        FW0966739    2,600    2,600    2,700    1,600    1,600    5,700    2,800    16,800

100099763   018398578   WALGREENS #12009        DSD      CHICKASHA       OK   73018    WALGREENS        FW0968276     500             13,100   15,500   14,000   14,000   11,420    57,100

100098088   049193557   WALGREENS #12042        DSD      ESSEXVILLE      MI   48732    WALGREENS        FW0968288   19,000   25,500   21,600   26,000   23,500   20,000   22,600   135,600

100107882   049196501   WALGREENS #12042 340B            ESSEXVILLE      MI   48732   PHS 340B CLINIC   FW0968288     500                                                   500       500

100097683   052222448   WALGREENS #10909        DSD      DIBERVILLE      MS   39540    WALGREENS        FW0971932   14,200   29,800   26,700   24,600   17,200   15,500   21,333   128,000

100103299   008114199   WALGREENS #11614        DSD        PINOLE        CA   94564    WALGREENS        FW0971956   13,900   16,800   15,900   16,800   14,900   13,700   15,333    92,000

100098554   025090365   WALGREENS #11690        DSD       WACONIA        MN   55387    WALGREENS        FW0971968    8,400    8,100   10,100    8,000   10,400   10,200    9,200    55,200

100101911   046047159   WALGREENS #10760        DSD     PALM SPRINGS     FL   33406    WALGREENS        FW0971970     100              2,500    1,600    1,600     700     1,300     6,500

100102450   012111260   WALGREENS #09021        DSD     SAN JACINTO      CA   92583    WALGREENS        FW0971982   24,000   25,700   24,600   28,200   38,200   18,500   26,533   159,200

100099074   019178442   WALGREENS #10938        DSD      ROCHELLE        IL   61068    WALGREENS        FW0972009   14,600   15,900   12,600   15,630   16,800    9,200   14,122    84,730

100101931   046047217   WALGREENS #07265        DSD   WEST PALM BEACH    FL   33411    WALGREENS        FW0974318     100      200     3,500    5,700    5,600    5,500    3,433    20,600

100102136   032148395   WALGREENS #11632        DSD        SALEM         OR   97301    WALGREENS        FW0974320   10,200   11,100   12,600   11,500   13,200   10,200   11,467    68,800

100072148   018175281   WALGREENS #12094               OKLAHOMA CITY     OK   73102    WALGREENS        FW0974332                      7,000   11,100   15,100   11,500   11,175    44,700
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100097805   019169219   WALGREENS #10606   DSD     INDIANAPOLIS     IN   46227   WALGREENS   FW0977720   11,600     7,600    9,500   11,600   14,600   12,000   11,150    66,900

100097228   040119560   WALGREENS #11793   DSD        PERRY         GA   31069   WALGREENS   FW0977768   10,100     9,600    9,560   11,200   10,100    7,500    9,677    58,060

100102838   020162651   WALGREENS #10241   DSD        PEORIA        AZ   85383   WALGREENS   FW0981096    6,400     5,200    5,700    5,400    7,400    3,800    5,650    33,900

100102656   046052555   WALGREENS #10792   DSD      GAINESVILLE     FL   32606   WALGREENS   FW0981337     100       100     2,500     800     4,500    3,500    1,917    11,500

100098884   019176495   WALGREENS #10885   DSD     MONTGOMERY       IL   60538   WALGREENS   FW0981375   13,800    13,200   12,000   13,400   16,700   11,200   13,383    80,300

100099639   037131953   WALGREENS #11762   DSD       WALKER         LA   70785   WALGREENS   FW0981414     500       200    12,600   22,500   23,600   14,000   12,233    73,400

100098050   049193177   WALGREENS #11395   DSD   SHELBY TOWNSHIP    MI   48316   WALGREENS   FW0987694   11,700    15,800   11,400   14,800   19,800   16,500   15,000    90,000

100102034   020160291   WALGREENS #10190   DSD   NORTH LAS VEGAS    NV   89081   WALGREENS   FW0987707   16,700    23,700   18,100   21,800   21,800   30,900   22,167   133,000

100097169   040119032   WALGREENS #09623   DSD     MCDONOUGH        GA   30252   WALGREENS   FW0991047   11,900    13,700   10,900   11,890   10,000   12,400   11,798    70,790

100097494   052221598   WALGREENS #11907   DSD     GREENEVILLE      TN   37743   WALGREENS   FW0991059   20,620    24,320   21,200   24,780   14,100   19,200   20,703   124,220

100101801   012108845   WALGREENS #11243   DSD       NORWALK        CA   90650   WALGREENS   FW0993293    9,900    12,000   11,300   12,700    7,800   13,100   11,133    66,800

100102148   017097667   WALGREENS #11734   DSD        PROVO         UT   84604   WALGREENS   FW0993306   24,400    24,400   23,200   24,300   23,900   20,000   23,367   140,200

100100252   037132498   WALGREENS #11909   DSD      ROSENBERG       TX   77469   WALGREENS   FW0993320     300      1,980   12,000   17,100   11,500   10,700    8,930    53,580

100097218   040119461   WALGREENS #11995   DSD       THOMSON        GA   30824   WALGREENS   FW0996617   10,900    10,400   12,700   11,500    8,700    8,500   10,450    62,700

100101836   038109835   WALGREENS #10456   DSD   COLORADO SPRINGS   CO   80921   WALGREENS   FW0996629    6,100     6,300    7,700    6,530    7,400    5,100    6,522    39,130

100097058   040117937   WALGREENS #11434   DSD     GOOSE CREEK      SC   29445   WALGREENS   FW0996631    7,560    10,260    8,060    9,090   12,000   11,000    9,662    57,970

100102091   046047738   WALGREENS #10951   DSD     WINTER PARK      FL   32789   WALGREENS   FW0998647               300     5,200    4,630    3,800    3,000    3,386    16,930

100102173   012110304   WALGREENS #12143   DSD      SAN DIEGO       CA   92111   WALGREENS   FW0998673   13,400     8,770    9,400   11,000   12,400    8,600   10,595    63,570

100102941   046053991   WALGREENS #11221   DSD       ORLANDO        FL   32824   WALGREENS   FW0998724     100       200     5,000    6,500    5,500    5,500    3,800    22,800

100098180   049194183   WALGREENS #11689   DSD       GRAYLING       MI   49738   WALGREENS   FW0998736   21,100    21,900   21,600   23,600   22,200   17,500   21,317   127,900

100102959   008113332   WALGREENS #09782   DSD      SUNNYVALE       CA   94087   WALGREENS   FW0998748    8,000     9,300    8,000    9,300   10,000    7,600    8,700    52,200

100097648   052222166   WALGREENS #12154   DSD     HAZLEHURST       MS   39083   WALGREENS   FW1003564    8,600     8,500    8,500    8,500    6,500    7,500    8,017    48,100

100094683   041146514   WALGREENS #10976   DSD       CLINTON        MD   20735   WALGREENS   FW1003590    7,400     8,380    7,400    8,200    8,900    7,100    7,897    47,380

100098384   019172288   WALGREENS #11647   DSD       MONROE         WI   53566   WALGREENS   FW1003603   13,000    14,600   11,500   12,500   19,000    8,500   13,183    79,100

100103627   032150789   WALGREENS #10926   DSD        SEQUIM        WA   98382   WALGREENS   FW1003627   18,000    16,500   16,000   17,500   23,900   12,400   17,383   104,300

100098409   019172536   WALGREENS #12498   DSD      PLATTEVILLE     WI   53818   WALGREENS   FW1003639    7,000     7,500    6,000    7,000    6,000    7,000    6,750    40,500

100099311   044219071   WALGREENS #11628   DSD      WENTZVILLE      MO   63385   WALGREENS   FW1006786              5,900    7,300    9,800   10,300    6,600    7,980    39,900

100097271   052220186   WALGREENS #11180   DSD       CULLMAN        AL   35055   WALGREENS   FW1007093   19,000    17,600   17,700   18,400   15,900   13,700   17,050   102,300

100102111   046047803   WALGREENS #11245   DSD      NEWBERRY        FL   32669   WALGREENS   FW1011054      (20)     200     1,300    3,600    5,100    5,000    2,530    15,180

100103355   038110122   WALGREENS #10739   DSD       AURORA         CO   80011   WALGREENS   FW1011080    8,700     9,300    8,800    8,400    8,100    7,400    8,450    50,700

100098459   019172841   WALGREENS #11857   DSD       HAYWARD        WI   54843   WALGREENS   FW1011092   12,600    14,200   15,600   14,000   15,700    7,500   13,267    79,600

100095118   041149476   WALGREENS #11677   DSD     MARTINSBURG      WV   25404   WALGREENS   FW1011117   17,200    18,300   21,100   19,200   19,100   16,900   18,633   111,800

100102516   020161893   WALGREENS #11181   DSD      CHANDLER        AZ   85226   WALGREENS   FW1015432    5,500     6,100    6,800    5,700    9,100    3,800    6,167    37,000

100097294   052220418   WALGREENS #11651   DSD      BIRMINGHAM      AL   35242   WALGREENS   FW1015456   13,400    14,330   13,030   12,300    9,200   10,100   12,060    72,360

100099302   044218990   WALGREENS #11422   DSD       O FALLON       MO   63368   WALGREENS   FW1015482              6,600    8,600    8,800    9,800    6,600    8,080    40,400

100095504   010232694   WALGREENS #10784   DSD       RAVENNA        OH   44266   WALGREENS   FW1019656   14,800    15,900   14,560   17,500   16,600   13,600   15,493    92,960

100095715   004093955   WALGREENS #09872   DSD       WEBSTER        NY   14580   WALGREENS   FW1019694    4,600     6,300    4,500    5,600    5,900    1,700    4,767    28,600

100098223   021169573   WALGREENS #10855   DSD      WATERLOO        IA   50703   WALGREENS   FW1019834   13,600    13,600   14,000   13,500   17,000    9,000   13,450    80,700

100099090   019178608   WALGREENS #12126   DSD   MACHESNEY PARK     IL   61115   WALGREENS   FW1019846   21,300    21,400   19,900   21,900   21,300   20,500   21,050   126,300

100099792   018398867   WALGREENS #11095   DSD    OKLAHOMA CITY     OK   73142   WALGREENS   FW1019860     100       660    12,600   17,200   17,500   18,500   11,093    66,560

100097695   044216614   WALGREENS #11663   DSD     CRESTWOOD        KY   40014   WALGREENS   FW1022209     530      8,600    7,500    9,700   11,100    6,000    7,238    43,430

100097694   044216606   WALGREENS #11307   DSD      BARDSTOWN       KY   40004   WALGREENS   FW1022211    4,000    20,000   23,500   25,530   20,500   18,500   18,672   112,030

100097701   044216671   WALGREENS #11761   DSD       RADCLIFF       KY   40160   WALGREENS   FW1022235    5,500    17,700   19,020   20,810   20,100   11,700   15,805    94,830

100095756   055036921   WALGREENS #01319   DSD      WILMINGTON      NC   28401   WALGREENS   FW1022247    9,800    11,600   12,300    9,400   11,000   13,700   11,300    67,800
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100097068   040118034   WALGREENS #11849     DSD                AIKEN         SC   29803   WALGREENS     FW1022259   10,000   10,330   10,500   10,000    10,500    8,700   10,005    60,030

100073128   023175281   WALGREENS #11915                  BERKELEY HEIGHTS    NJ   07922   WALGREENS     FW1022261    2,400    2,100    1,800     600      3,700    1,700    2,050    12,300

100102466   012111302   WALGREENS #11786     DSD               IRVINE         CA   92618   WALGREENS     FW1024114    6,030    8,100    9,800    6,700    10,300    4,200    7,522    45,130

100101774   012108787   WALGREENS #09468     DSD              WHITTIER        CA   90605   WALGREENS     FW1024152    7,400    6,900    6,400    7,600     8,200    6,800    7,217    43,300

100094785   023138453   WALGREENS #09110     DSD            EAST MEADOW       NY   11554   WALGREENS     FW1024176     700     2,300    3,000    1,500     3,700    2,400    2,267    13,600

100101663   038109322   WALGREENS #10306     DSD             EVERGREEN        CO   80439   WALGREENS     FW1026601    7,600    9,900    9,300    8,000     9,900    4,300    8,167    49,000

100097192   040119263   WALGREENS #10265     DSD              ATLANTA         GA   30342   WALGREENS     FW1026625    3,100    4,920    3,060    4,100     3,300    3,100    3,597    21,580

100097227   040119552   WALGREENS #10832     DSD            MILLEDGEVILLE     GA   31061   WALGREENS     FW1026637   12,600   13,600   11,100   12,600    15,600   11,500   12,833    77,000

100101885   038109934   WALGREENS #11617     DSD               CRAIG          CO   81625   WALGREENS     FW1026651    9,600    9,400    8,300   10,300    11,100    6,500    9,200    55,200

100097080   040118158   WALGREENS #10479     DSD              CONYERS         GA   30013   WALGREENS     FW1026675    7,000    7,100    5,500    6,600     6,200    3,500    5,983    35,900

100087206   003092312   WALGREENS #12664                     AGUADILLA        PR   00603   WALGREENS     FW1026699              100      200      100                         133       400

100100260   037132555   WALGREENS #12052     DSD           WEST COLUMBIA      TX   77486   WALGREENS     FW1029671              140     9,720   18,000    24,920   11,100   12,776    63,880

100094531   023137950   WALGREENS #11555     DSD             BROOKLYN         NY   11204   WALGREENS     FW1029962    1,100    1,000     100      500      1,200     700      767      4,600

100094527   023137919   WALGREENS #10941     DSD             BROOKLYN         NY   11226   WALGREENS     FW1029974     300      400     1,200     (300)     500               420      2,100

100102150   017097675   WALGREENS #10731     DSD         COTTONWOOD HEIGHTS   UT   84121   WALGREENS     FW1030092   17,000   17,500   14,100   15,300    17,600   12,000   15,583    93,500

100096153   004099267   WALGREENS #11147     DSD             PROVIDENCE       RI   02909   WALGREENS     FW1032476    5,700    5,800    6,600    6,500     8,100    3,500    6,033    36,200

100095881   004094656   WALGREENS #11376     DSD              CONCORD         NH   03301   WALGREENS     FW1032490    4,600    4,200    4,800    4,300     5,800    3,100    4,467    26,800

100095638   023146027   WALGREENS #09878     DSD            STROUDSBURG       PA   18360   WALGREENS     FW1032503    5,300    6,400    5,500    4,300     3,800    5,400    5,117    30,700

100098640   038106724   WALGREENS #12906     DSD             SPEARFISH        SD   57783   WALGREENS     FW1034545   13,400   18,200   14,500   15,300    19,500   10,000   15,150    90,900

100094386   041145821   WALGREENS #10233     DSD             ALEXANDRIA       VA   22306   WALGREENS     FW1036347    5,000    3,500    4,200    4,200     4,100    2,900    3,983    23,900

100101879   046047050   WALGREENS #10648     DSD         SOUTHWEST RANCHES    FL   33331   WALGREENS     FW1036361              100     1,800    1,800     3,300    2,100    1,820     9,100

100103057   046054635   WALGREENS #11683     DSD             KISSIMMEE        FL   34746   WALGREENS     FW1039343     200              2,000    4,100     4,400    2,500    2,640    13,200

100096118   004099036   WALGREENS #11416     DSD              NORWAY          ME   04268   WALGREENS     FW1039444   12,000   10,100   10,600   11,100    14,600    6,500   10,817    64,900

100095807   004094227   WALGREENS #11373     DSD              AUGUSTA         ME   04330   WALGREENS     FW1039494    6,900    6,700    8,100    7,500     7,000    6,000    7,033    42,200

100097213   052220103   WALGREENS #11994     DSD               DALTON         GA   30721   WALGREENS     FW1042910   16,900   16,000   15,100   16,600    12,500    9,500   14,433    86,600

100095395   041149864   WALGREENS #11096     DSD            NORRISTOWN        PA   19401   WALGREENS     FW1042934    3,300    4,400    3,100    5,200     3,200    5,100    4,050    24,300

100097912   019170282   WALGREENS #10073     DSD              KOKOMO          IN   46901   WALGREENS     FW1044255   23,600   41,700   34,100   42,600    33,900   29,200   34,183   205,100

100098082   049193490   WALGREENS #11887     DSD               CLARE          MI   48617   WALGREENS     FW1044267   25,500   28,600   26,200   29,600    25,200   25,500   26,767   160,600

100070449   023143859   WEST MILFORD PHARM SERV(X) CPA      WEST MILFORD      NJ   07480   INDEPENDENT   FW1046259    3,600    3,300    1,900    2,900     2,300    2,300    2,717    16,300

100101318   023151696   WEST MILFORD PHY SERV MHA CPA       WEST MILFORD      NJ   07480   INDEPENDENT   FW1046259                                          300      500      400       800

100101637   024100206   WALGREENS #09285     DSD            LOS ANGELES       CA   90019   WALGREENS     FW1046374   10,520   10,900   10,700   11,600    11,600    5,700   10,170    61,020

100095667   055036806   WALGREENS #11463     DSD           TRAVELERS REST     SC   29690   WALGREENS     FW1048710   20,200   18,600   19,000   20,020    15,000   16,000   18,137   108,820

100097491   052221564   WALGREENS #12311     DSD              CLINTON         TN   37716   WALGREENS     FW1051921   14,300   15,200   12,800   12,300    13,600    9,700   12,983    77,900

100100337   037132787   WALGREENS #12357     DSD               LAREDO         TX   78041   WALGREENS     FW1053521    1,300     460     6,400    8,740     8,360    3,100    4,727    28,360

100102401   020161620   WALGREENS #11116     DSD            QUEEN CREEK       AZ   85142   WALGREENS     FW1053747   10,100    9,500    8,630   10,800    14,800   11,000   10,805    64,830

100099740   018398354   WALGREENS #11781     DSD            FAYETTEVILLE      AR   72704   WALGREENS     FW1053759     500     3,300   14,300   14,000    12,900    7,600    8,767    52,600

100098552   025090340   WALGREENS #11952     DSD               SAVAGE         MN   55378   WALGREENS     FW1053785    2,500    4,100    3,500    3,500     5,000    2,500    3,517    21,100

100098794   019174581   WALGREENS #10605     DSD            SHOREWOOD         IL   60404   WALGREENS     FW1058533   12,800   13,400   11,300   13,100    13,500    6,600   11,783    70,700

100102252   046049619   WALGREENS #13678     DSD               DELAND         FL   32724   WALGREENS     FW1058545     300      300     4,800    8,000     6,100   12,000    5,250    31,500

100095096   010231969   WALGREENS #11558     DSD             LYNDHURST        OH   44124   WALGREENS     FW1058557    2,200    3,700    3,700    3,430     5,800    3,000    3,638    21,830

100094873   023138701   WALGREENS #11641     DSD            GARDEN CITY       NY   11530   WALGREENS     FW1063914    1,700    2,000    2,100    1,700     1,900    1,600    1,833    11,000

100087192   003092031   WALGREENS #12650                       CAYEY          PR   00726   WALGREENS     FW1063976                       200     1,200                        700      1,400

100100433   037133116   WALGREENS #11672     DSD             PORT ISABEL      TX   78578   WALGREENS     FW1065463     500     1,000    6,100    6,800     7,100    3,100    4,100    24,600

100100450   018402552   WALGREENS #11566     DSD               HUTTO          TX   78634   WALGREENS     FW1065475    7,000   19,300   21,300   21,100    17,500   12,100   16,383    98,300
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100095490   041150656   WALGREENS #10876     DSD           PRINCETON       WV   24740     WALGREENS         FW1065487    8,500    8,800    7,000    8,500    9,000    6,000    7,967    47,800

100087177   003091660   WALGREENS #09118                   PENUELAS        PR   00624     WALGREENS         FW1065502              200      100      100                        133       400

100095648   055036764   WALGREENS #11724     DSD            SUMTER         SC   29150     WALGREENS         FW1067861    6,100    7,500    6,700    5,000    7,000    7,000    6,550    39,300

100095464   055036319   WALGREENS #11698     DSD            PICKENS        SC   29671     WALGREENS         FW1067873   21,000   20,600   20,500   25,500   27,000   28,100   23,783   142,700

100094577   041146316   WALGREENS #10905     DSD           CAMBRIDGE       MD   21613     WALGREENS         FW1067885    2,700    3,900    3,500    3,000    3,000    2,000    3,017    18,100

100103236   017097931   WALGREENS #10084     DSD             HELENA        MT   59601     WALGREENS         FW1071682   13,400   12,400   14,200   13,100   12,300    9,000   12,400    74,400

100098372   019172163   WALGREENS #12603     DSD          CROSS PLAINS     WI   53528     WALGREENS         FW1071694    8,000    6,100    7,000    7,600    8,500    5,000    7,033    42,200

100098460   019172858   WALGREENS #11860     DSD            RICE LAKE      WI   54868     WALGREENS         FW1071719   11,330   10,300   13,700   12,700   14,900    8,500   11,905    71,430

100099525   021171801   WALGREENS #12115     DSD           COLUMBUS        NE   68601     WALGREENS         FW1071721   16,600   14,100   15,700   17,100   18,200   11,000   15,450    92,700

100097209   040119438   WALGREENS #11539     DSD            MONROE         GA   30655     WALGREENS         FW1075628   20,000   21,000   17,500   20,000   12,500   17,000   18,000   108,000

100094526   023137901   WALGREENS #10678     DSD           BROOKLYN        NY   11205     WALGREENS         FW1077898    1,300    2,200    1,500     800     2,000    1,500    1,550     9,300

100096227   004099887   WALGREENS #10887     DSD             TILTON        NH   03276     WALGREENS         FW1077925    4,900    6,500    4,600    4,800    5,300    4,200    5,050    30,300

100087197   003092130   *WALGREENS #12655                    MANATI        PR   00674     WALGREENS         FW1077937     500                        200                        350       700

100095077   010231894   WALGREENS #12152     DSD            LONDON         KY   40741     WALGREENS         FW1080631    2,100   12,200   13,100   13,500   10,500   11,700   10,517    63,100

100099360   021170290   WALGREENS #11626     DSD          CHILLICOTHE      MO   64601     WALGREENS         FW1080643    1,000    6,500    5,000    5,500    6,500    2,500    4,500    27,000

100096012   004098269   WALGREENS #10427     DSD           LEOMINSTER      MA   01453     WALGREENS         FW1080655    5,600    5,300    5,000    6,800    5,700    6,800    5,867    35,200

100097243   040119719   WALGREENS #11538     DSD          GARDEN CITY      GA   31408     WALGREENS         FW1083120    6,600    6,500    5,600    7,200    5,100    5,500    6,083    36,500

100101708   012108647   WALGREENS #11785     DSD        HUNTINGTON PARK    CA   90255     WALGREENS         FW1083132    3,500    4,300    3,900    4,600    8,400   10,200    5,817    34,900

100097741   052222539   WALGREENS #13034     DSD            PINEVILLE      KY   40977     WALGREENS         FW1085491   47,500   46,500   36,200   32,100   20,600   13,000   32,650   195,900

100097454   052221192   WALGREENS #11634     DSD            DAYTON         TN   37321     WALGREENS         FW1085504   22,800   23,670   22,320   24,600   17,600   18,500   21,582   129,490

100099479   021171348   WALGREENS #11957     DSD              BLAIR        NE   68008     WALGREENS         FW1085516   17,000   16,200   16,600   18,200   17,700   11,500   16,200    97,200

100095137   010232165   WALGREENS #10837     DSD           MEADVILLE       PA   16335     WALGREENS         FW1088500   10,300   12,400   10,000   13,000   13,200    9,300   11,367    68,200

100105717   010236216   WALGREEN EASTERN CO, INC 340B      MEADVILLE       PA   16335   PHS 340B HOSPITAL   FW1088500              100                                          100       100

100098371   019172155   WALGREENS #12136     DSD             BELOIT        WI   53511     WALGREENS         FW1093056   16,300   15,300   14,100   13,800   15,200   12,600   14,550    87,300

100103554   032149336   WALGREENS #11643     DSD            EUGENE         OR   97401     WALGREENS         FW1094820   17,130   16,260   16,790   17,590   17,300   12,600   16,278    97,670

100103552   032149310   WALGREENS #11399     DSD            LEBANON        OR   97355     WALGREENS         FW1094832   17,500   15,000   14,500   15,500   15,000    9,500   14,500    87,000

100099808   018399022   WALGREENS #11718     DSD              ENID         OK   73703     WALGREENS         FW1094856              100     6,100    5,000    5,600    5,000    4,360    21,800

100094995   023138818   WALGREENS #09190     DSD            ISLANDIA       NY   11749     WALGREENS         FW1094868    6,600    5,700    4,900    5,000    7,500    3,800    5,583    33,500

100094961   023138784   WALGREENS #09940     DSD           HICKSVILLE      NY   11801     WALGREENS         FW1094870    3,700    3,200    3,100    2,300    4,000    2,600    3,150    18,900

100094590   010228478   WALGREENS #09950     DSD            CARNEGIE       PA   15106     WALGREENS         FW1097143    5,400    8,200    6,900    6,900    9,800    3,600    6,800    40,800

100099394   021170639   WALGREENS #12062     DSD         BRANSON WEST      MO   65737     WALGREENS         FW1099628    6,700   10,500   11,100   13,200   13,600    9,000   10,683    64,100

100099337   021170068   WALGREENS #11925     DSD           OAK GROVE       MO   64075     WALGREENS         FW1099692    5,300   19,300   20,900   25,400   22,300   17,100   18,383   110,300

100097626   044216473   WALGREENS #12308     DSD           SENATOBIA       MS   38668     WALGREENS         FW1099731    8,200   10,100    7,100    8,500    8,700    6,000    8,100    48,600

100097084   040118190   WALGREENS #12147     DSD             DACULA        GA   30019     WALGREENS         FW1099743    7,200    6,000    6,700    7,200    8,200    7,000    7,050    42,300

100102501   012111385   WALGREENS #10852     DSD         LAGUNA NIGUEL     CA   92677     WALGREENS         FW1099755    8,800    8,400    7,800   11,900   11,900    5,600    9,067    54,400

100103753   008115923   WALGREENS #11242     DSD            MADERA         CA   93637     WALGREENS         FW1099767   16,400   17,910   17,900   17,600   13,500   17,800   16,852   101,110

100069993   038175430   WALGREENS #12918                    BOULDER        CO   80303     WALGREENS         FW1101322    2,600    1,600    2,100    2,000    4,600    1,200    2,350    14,100

100097052   040117879   WALGREENS #11270     DSD        NORTH CHARLESTON   SC   29406     WALGREENS         FW1101360   12,600   10,630   11,000   12,630   14,100   10,100   11,843    71,060

100103731   020164673   WALGREENS #10505     DSD          CASA GRANDE      AZ   85122     WALGREENS         FW1102831    6,800    7,200    7,500    7,500    8,700    6,500    7,367    44,200

100103220   017097881   WALGREENS #12155     DSD            BILLINGS       MT   59102     WALGREENS         FW1102843    7,100    7,600    7,000    9,500    7,500    5,500    7,367    44,200

100103449   008114876   WALGREENS #12570     DSD            SAN JOSE       CA   95134     WALGREENS         FW1102855    1,700    3,500    2,200    1,500    5,300    1,500    2,617    15,700

100087191   003092015   WALGREENS #12649                   RIO PIEDRAS     PR   00925     WALGREENS         FW1104380                       500                                 500       500

100102621   008112714   WALGREENS #10481     DSD            COALINGA       CA   93210     WALGREENS         FW1104443    9,900   10,230    9,600   10,700    8,200    8,100    9,455    56,730

100097905   019170217   WALGREENS #11945     DSD          FORT WAYNE       IN   46818     WALGREENS         FW1107778    5,500    6,600    4,600    4,900    8,500    4,600    5,783    34,700
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100098007   049192740   WALGREENS #11456        DSD      DEARBORN HEIGHTS    MI   48127     WALGREENS         FW1107780   22,400   25,800   25,000   26,100   28,300   15,400   23,833   143,000

100097671   052222364   WALGREENS #12929        DSD        WAYNESBORO        MS   39367     WALGREENS         FW1107792   35,100   34,000   29,200   33,100   26,500   26,000   30,650   183,900

100094404   055032888   WALGREENS #10869        DSD         ANDERSON         SC   29621     WALGREENS         FW1107805   16,100   14,400   17,500   18,900   14,900   15,000   16,133    96,800

100094928   055034157   WALGREENS #12164        DSD         GREENVILLE       SC   29607     WALGREENS         FW1107817    7,700    5,570    6,000    7,700    9,800    3,100    6,645    39,870

100104342   019181339   WALGREENS #04254 AHC 340B 100       MILWAUKEE        WI   53225   PHS 340B HOSPITAL   FW1107817                       100                                 100       100

100097478   052221432   WALGREENS #12373        DSD        JOHNSON CITY      TN   37601     WALGREENS         FW1107831   11,100   11,600   12,300   13,000   12,900    8,700   11,600    69,600

100099739   018398347   WALGREENS #11988        DSD        FAYETTEVILLE      AR   72703     WALGREENS         FW1110422     300     4,600   11,200   10,900    9,500    8,600    7,517    45,100

100098352   019171967   WALGREENS #12524        DSD        BROWN DEER        WI   53223     WALGREENS         FW1112161   14,900   12,800   13,200   12,400   14,800   10,500   13,100    78,600

100095847   004094433   WALGREENS #10562        DSD        BRIDGEWATER       MA   02324     WALGREENS         FW1112173    2,590    3,400    1,740    3,600    3,900    2,300    2,922    17,530

100100132   038107151   WALGREENS #11854        DSD          HOUSTON         TX   77058     WALGREENS         FW1113315     820      700     6,500    9,000    8,300    7,120    5,407    32,440

100102117   012109157   WALGREENS #11081        DSD         FALLBROOK        CA   92028     WALGREENS         FW1113428    7,400    9,000    7,600    8,800   10,800    6,500    8,350    50,100

100102344   046049924   WALGREENS #11485        DSD        ST AUGUSTINE      FL   32084     WALGREENS         FW1113430                      2,500    4,300    8,500    8,500    5,950    23,800

100098863   019175810   WALGREENS #09334        DSD           AURORA         IL   60502     WALGREENS         FW1113442   10,200   11,700    9,700   10,330   10,900    8,600   10,238    61,430

100095766   041151613   WALGREENS #11573        DSD         WINCHESTER       VA   22601     WALGREENS         FW1113454    6,600   11,500    7,000    8,400    9,400    6,300    8,200    49,200

100096112   004099002   WALGREENS #11499        DSD       NORTH READING      MA   01864     WALGREENS         FW1113478    3,300    3,400    3,000    4,100    3,700    3,200    3,450    20,700

100095926   004094946   WALGREENS #11742        DSD         ELLSWORTH        ME   04605     WALGREENS         FW1113480    7,100    9,300    8,000    7,600    8,600    6,500    7,850    47,100

100099590   037131458   WALGREENS #11996        DSD        ABITA SPRINGS     LA   70420     WALGREENS         FW1113492     200     1,700   13,000   19,500   19,400   13,720   11,253    67,520

100100335   037132761   WALGREENS #11817        DSD           LAREDO         TX   78040     WALGREENS         FW1115131    1,940    1,100    3,600    8,060    4,400    4,500    3,933    23,600

100102916   046053835   WALGREENS #12103        DSD        WEEKI WACHEE      FL   34613     WALGREENS         FW1115244              100     1,500    7,600    9,600    8,500    5,460    27,300

100073785   046175471   WALGREENS #13042                 NORTH MIAMI BEACH   FL   33169     WALGREENS         FW1115256              100      100      100               600      225       900

100098182   049194209   WALGREENS #12534        DSD          PETOSKEY        MI   49770     WALGREENS         FW1115268   15,900   23,700   15,360   15,600   17,800    9,100   16,243    97,460

100102179   017097832   WALGREENS #11673        DSD         HURRICANE        UT   84737     WALGREENS         FW1115270   18,500   19,400   18,800   18,200   21,100   12,500   18,083   108,500

100097411   044215293   WALGREENS #11700        DSD       MURFREESBORO       TN   37128     WALGREENS         FW1115282   10,500   10,300    9,600   10,100    8,500    8,500    9,583    57,500

100096161   004099317   WALGREENS #11225        DSD          RAYMOND         NH   03077     WALGREENS         FW1116981    4,800    5,300    3,600    4,800    5,900    3,600    4,667    28,000

100098830   019174961   WALGREENS #11195        DSD         ROMEOVILLE       IL   60446     WALGREENS         FW1119812   22,300   21,520   21,860   23,900   23,000   14,000   21,097   126,580

100107666   019185710   WALGREENS #11195 340B               ROMEOVILLE       IL   60446   PHS 340B HOSPITAL   FW1119812              500                                          500       500

100099911   018400044   WALGREENS #11908        DSD          MCKINNEY        TX   75070     WALGREENS         FW1119836    4,800    7,200    9,500    7,100    8,600    6,500    7,283    43,700

100099890   018399832   WALGREENS #10920        DSD           FRISCO         TX   75034     WALGREENS         FW1119848    5,100    7,800    9,100    7,700    7,700    3,500    6,817    40,900

100097369   052221127   WALGREENS #11704        DSD         PHENIX CITY      AL   36867     WALGREENS         FW1119850   18,400   15,800   16,800   16,500    9,500   17,200   15,700    94,200

100094626   041146381   WALGREENS #09417        DSD      CHARLOTTESVILLE     VA   22911     WALGREENS         FW1119862    5,400    5,900    5,100    4,900    6,000    4,400    5,283    31,700

100094349   041145797   WALGREENS #11169        DSD          ABERDEEN        MD   21001     WALGREENS         FW1121502    6,100    7,700    7,200    7,300    8,400    7,600    7,383    44,300

100098337   019171819   WALGREENS #10963        DSD         WEST ALLIS       WI   53214     WALGREENS         FW1123037   13,700   17,700   14,800   16,600   14,700   13,000   15,083    90,500

100103751   012111732   WALGREENS #11241        DSD         ALISO VIEJO      CA   92656     WALGREENS         FW1123049   10,600   10,000   10,200   12,100   11,400   11,900   11,033    66,200

100094528   023137927   WALGREENS #11141        DSD          BROOKLYN        NY   11221     WALGREENS         FW1123063     700      700      600     1,100              500      720      3,600

100071687   020175869   WESTERN REG MED CTR RETAIL PHC      GOODYEAR         AZ   85338       HOSPITAL        FW1124483    1,500    2,000    4,000    2,000    4,400    6,000    3,317    19,900

100071688   020175877   WESTERN REGIONAL MEDICAL CTR        GOODYEAR         AZ   85338       HOSPITAL        FW1124508     100               100      200      100               125       500

100102187   020161125   WALGREENS #12036        DSD          PHOENIX         AZ   85003     WALGREENS         FW1125310    1,500    1,100    1,000    1,000     600     1,000    1,033     6,200

100097289   052220368   WALGREENS #11469        DSD         BIRMINGHAM       AL   35215     WALGREENS         FW1125322   33,700   32,240   32,300   35,200   30,400   36,500   33,390   200,340

100098177   049194159   WALGREENS #12508        DSD         CHARLEVOIX       MI   49720     WALGREENS         FW1125334    8,200    9,700    6,600    9,600    6,500    5,500    7,683    46,100

100101679   038109371   WALGREENS #11327        DSD         LONGMONT         CO   80501     WALGREENS         FW1125346    8,300    8,900    6,800    9,000    8,900    6,100    8,000    48,000

100097071   040118067   WALGREENS #11252        DSD          BEAUFORT        SC   29902     WALGREENS         FW1125358    8,500    9,200    9,400   10,200    9,400    7,500    9,033    54,200

100103605   032149831   WALGREENS #10995        DSD          TUKWILA         WA   98168     WALGREENS         FW1126970    7,800    9,000    8,500    7,000   10,000    4,100    7,733    46,400

100101229   046044990   WALGREENS #10853        DSD          SANFORD         FL   32771     WALGREENS         FW1126994              200     6,100    5,600    4,200    1,000    3,420    17,100

100101627   038109231   WALGREENS #12366        DSD          GLENDALE        CO   80246     WALGREENS         FW1127009    4,400    6,500    4,600    5,200    8,500    2,500    5,283    31,700
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100097219   040119479   WALGREENS #12107   DSD    WAYNESBORO       GA   30830   WALGREENS   FW1127073    9,300   10,100   10,600   10,600   10,200    8,800    9,933    59,600

100099570   037131250   WALGREENS #11496   DSD    NEW ORLEANS      LA   70124   WALGREENS   FW1128493     100     1,500    6,000    8,800    7,700    7,100    5,200    31,200

100099819   018399121   WALGREENS #12160   DSD   BROKEN ARROW      OK   74012   WALGREENS   FW1129762     500     6,500   14,100   16,000   17,500   10,000   10,767    64,600

100095398   010232413   WALGREENS #11810   DSD    NORTH CANTON     OH   44720   WALGREENS   FW1129774    6,100    5,300    5,300    5,100    6,600    5,700    5,683    34,100

100097697   044216630   WALGREENS #12076   DSD      LEBANON        KY   40033   WALGREENS   FW1129786    1,000   10,000    8,500   10,000    9,000    5,500    7,333    44,000

100098097   049193649   WALGREENS #11955   DSD      OWOSSO         MI   48867   WALGREENS   FW1129798   16,600   16,500   19,000   17,800   17,100   13,100   16,683   100,100

100094405   055032896   WALGREENS #11563   DSD      ANDERSON       SC   29626   WALGREENS   FW1129801   14,100   14,100   13,100   15,900    9,800   10,700   12,950    77,700

100095586   055036616   WALGREENS #10391   DSD    SIMPSONVILLE     SC   29681   WALGREENS   FW1129813    6,000    6,000    5,200    7,000    5,000    5,800    5,833    35,000

100099482   021171371   WALGREENS #11356   DSD      PAPILLION      NE   68046   WALGREENS   FW1129825    8,100    7,300    9,200    6,800    9,500    7,100    8,000    48,000

100098608   025090894   WALGREENS #12535   DSD   NORTH MANKATO     MN   56003   WALGREENS   FW1131616    2,600    6,700    4,000    4,200    5,500    4,000    4,500    27,000

100102360   046051086   WALGREENS #11165   DSD   SAINT AUGUSTINE   FL   32092   WALGREENS   FW1131628                      5,000    4,500   10,700    6,000    6,550    26,200

100102152   008112607   WALGREENS #11754   DSD    CRESCENT CITY    CA   95531   WALGREENS   FW1131630   45,300   43,500   39,200   44,900   45,600   27,500   41,000   246,000

100097291   052220384   WALGREENS #12056   DSD       HOOVER        AL   35226   WALGREENS   FW1131654    9,800    7,200    7,000    6,700    5,700    7,500    7,317    43,900

100102683   046052688   WALGREENS #11658   DSD       NAPLES        FL   34116   WALGREENS   FW1133482     100      600     2,100    4,000    3,900    3,200    2,317    13,900

100100309   038108472   WALGREENS #12355   DSD     BRIDGE CITY     TX   77611   WALGREENS   FW1133494     700     1,900   19,400   24,600   18,000   12,200   12,800    76,800

100094737   041146563   WALGREENS #11675   DSD      CULPEPER       VA   22701   WALGREENS   FW1135258    9,520    9,000    7,900   10,600   13,500    3,900    9,070    54,420

100102012   017097014   WALGREENS #12123   DSD        BOISE        ID   83705   WALGREENS   FW1135551    7,600    7,600    6,600    8,500    8,600    6,500    7,567    45,400

100101530   038108894   WALGREENS #10455   DSD     CENTENNIAL      CO   80122   WALGREENS   FW1135575    9,200    8,600    9,500    7,500    9,600    5,600    8,333    50,000

100100197   038107698   WALGREENS #12165   DSD       CONROE        TX   77301   WALGREENS   FW1135614     100      100    15,000   23,700   12,600   15,200   11,117    66,700

100100080   018401737   WALGREENS #11926   DSD    BROWNWOOD        TX   76801   WALGREENS   FW1135638     300     8,900   22,900   23,700   12,800   11,000   13,267    79,600

100099978   018400713   WALGREENS #11910   DSD   SULPHUR SPRINGS   TX   75482   WALGREENS   FW1135640   12,000   18,100   15,200   16,000    9,000   10,000   13,383    80,300

100103557   032149369   WALGREENS #12068   DSD      ROSEBURG       OR   97470   WALGREENS   FW1135664   11,460   14,530   13,530   14,590   15,600   11,200   13,485    80,910

100098316   019171603   WALGREENS #12638   DSD     WHITEWATER      WI   53190   WALGREENS   FW1135688    7,000    9,600    6,600    8,500    9,500    5,500    7,783    46,700

100099989   018400820   WALGREENS #12358   DSD       TYLER         TX   75702   WALGREENS   FW1135690    1,100            11,300   18,740   17,420   13,100   12,332    61,660

100095399   004093575   WALGREENS #10382   DSD     NORTH CHILI     NY   14514   WALGREENS   FW1135727    3,600    5,000    4,500    5,500    6,000    3,500    4,683    28,100

100094500   023137661   WALGREENS #11172   DSD       BRONX         NY   10462   WALGREENS   FW1135739    1,000     200     1,800    1,600     600     1,000    1,033     6,200

100095692   023146076   WALGREENS #09498   DSD    WADING RIVER     NY   11792   WALGREENS   FW1135765    5,460    5,100    3,860    3,900    6,700    4,200    4,870    29,220

100094470   010228288   WALGREENS #11796   DSD       BEREA         KY   40403   WALGREENS   FW1136818     600    19,600   18,800   22,800   23,300   11,300   16,067    96,400

100095120   055035972   WALGREENS #12495   DSD    MARTINSVILLE     VA   24112   WALGREENS   FW1136832   18,300   17,000   17,000   23,500   21,500   23,500   20,133   120,800

100095714   010233106   WALGREENS #10979   DSD    WAYNESBURG       PA   15370   WALGREENS   FW1137353    5,600    4,100    4,100    6,700    6,000    4,000    5,083    30,500

100094774   010229245   WALGREENS #12288   DSD       DUNDEE        MI   48131   WALGREENS   FW1138064   15,000   14,700   13,500   13,300   16,900    9,900   13,883    83,300

100097153   040118885   WALGREENS #12106   DSD    DOUGLASVILLE     GA   30135   WALGREENS   FW1138076    3,200    4,100    3,200    3,500    3,700    2,700    3,400    20,400

100070316   026175547   WALGREENS #10048            KANEOHE        HI   96744   WALGREENS   FW1138088   21,300   29,000   25,900   24,000   15,200   15,600   21,833   131,000

100073650   008100313   WALGREENS #10044          SAN FRANCISCO    CA   94114   WALGREENS   FW1139991    9,600   11,100    9,700    9,300   15,100   10,300   10,850    65,100

100099088   019178582   WALGREENS #12583   DSD     LOVES PARK      IL   61111   WALGREENS   FW1140007   19,400   18,800   19,700   16,900   26,100   14,300   19,200   115,200

100095507   055036418   WALGREENS #12349   DSD     REIDSVILLE      NC   27320   WALGREENS   FW1140019   23,600   22,980   19,600   23,700   19,600   20,200   21,613   129,680

100095212   023144014   WALGREENS #11962   DSD      NEW YORK       NY   10036   WALGREENS   FW1140021    1,400     900     2,500     300     1,200     700     1,167     7,000

100096244   041152595   WALGREENS #10910   DSD      VINELAND       NJ   08360   WALGREENS   FW1140033    6,000    6,200    5,800    5,900    4,200    4,700    5,467    32,800

100099122   019178871   WALGREENS #11828   DSD    BLOOMINGTON      IL   61701   WALGREENS   FW1141249    5,200   21,490   24,300   24,300   18,500   20,500   19,048   114,290

100094668   041146506   WALGREENS #10539   DSD     CLARKSVILLE     MD   21029   WALGREENS   FW1141275    2,100    4,200    3,600    3,000    1,900    2,100    2,817    16,900

100094878   055033894   WALGREENS #11713   DSD       GARNER        NC   27529   WALGREENS   FW1141299    9,100   10,400    8,300    9,200   11,200    6,000    9,033    54,200

100099568   037131235   WALGREENS #11414   DSD    NEW ORLEANS      LA   70122   WALGREENS   FW1141314    1,200    1,900    7,200   12,100   12,400    5,500    6,717    40,300

100103096   046054833   WALGREENS #09333   DSD     SAINT CLOUD     FL   34772   WALGREENS   FW1142936     600      500     5,500    7,000    8,200    3,400    4,200    25,200

100099755   018398495   WALGREENS #11987   DSD        ALMA         AR   72921   WALGREENS   FW1142948   14,800   18,800   25,100   25,200   14,700   13,500   18,683   112,100
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100097077   040118125   WALGREENS #11993      DSD    ALPHARETTA      GA   30004    WALGREENS       FW1142950     600     2,100    1,500     1,600    2,000     530     1,388     8,330

100094380   010228114   WALGREENS #11748      DSD      AKRON         OH   44319    WALGREENS       FW1142962   14,600   13,700   13,800    15,730   13,500   11,000   13,722    82,330

100095051   041149278   WALGREENS #09838      DSD     LEESBURG       VA   20176    WALGREENS       FW1142974    3,300    3,900    3,500     3,400    4,100    2,900    3,517    21,100

100094459   010228254   WALGREENS #11510      DSD   BEAVERCREEK      OH   45431    WALGREENS       FW1142986    6,630    7,500    5,600     7,000   10,200    7,100    7,338    44,030

100097251   046044461   WALGREENS #10856      DSD     KINGSLAND      GA   31548    WALGREENS       FW1144512   14,320   13,300   12,100    11,000    7,600    5,200   10,587    63,520

100098135   049193821   WALGREENS #12533      DSD     FREMONT        MI   49412    WALGREENS       FW1144536   39,700   39,600   37,000    36,700   36,500   30,500   36,667   220,000

100103530   032149096   WALGREENS #11719      DSD     HILLSBORO      OR   97123    WALGREENS       FW1144562    3,200    4,400    4,600     5,300    5,900    3,600    4,500    27,000

100094460   041146175   WALGREENS #11978      DSD      BECKLEY       WV   25801    WALGREENS       FW1144574   10,200   10,000   10,100     8,100    9,000    5,500    8,817    52,900

100098528   025090100   WALGREENS #11832      DSD      ANOKA         MN   55303    WALGREENS       FW1144586    2,700    3,100    4,000     3,500    4,300    3,100    3,450    20,700

100099391   021170605   WALGREENS #11502      DSD    MARSHFIELD      MO   65706    WALGREENS       FW1144598   10,000   13,600   16,700    19,600   15,600   12,100   14,600    87,600

100097740   052222521   WALGREENS #11884      DSD   BARBOURVILLE     KY   40906    WALGREENS       FW1147304    4,600   15,700   16,100    15,100   10,000   11,500   12,167    73,000

100073736   046175570   WALGREENS #15912 (HSRX)        HIALEAH       FL   33016    WALGREENS       FW1147316    1,220     900     2,560     1,500     700     1,700    1,430     8,580

100095993   004098129   WALGREENS #10673      DSD      HUDSON        MA   01749    WALGREENS       FW1147328    3,000    2,800    3,600     2,500    4,600    2,800    3,217    19,300

100096060   004098616   WALGREENS #10940      DSD    MIDDLETON       MA   01949    WALGREENS       FW1147330    5,500    3,800    4,100     5,100    3,760    3,900    4,360    26,160

100094387   041145839   WALGREENS #10616      DSD    ALEXANDRIA      VA   22306    WALGREENS       FW1149055    5,260    4,800    4,200     4,700    5,300    2,700    4,493    26,960

100102720   046052928   WALGREENS #12102      DSD    BRADENTON       FL   34202    WALGREENS       FW1149106     200      320     3,300     7,200    7,500    4,600    3,853    23,120

100099276   044218735   WALGREENS #11836      DSD    SAINT LOUIS     MO   63132    WALGREENS       FW1149118     100     4,200    6,000     7,700    9,300    4,500    5,300    31,800

100097337   052220848   WALGREENS #12098      DSD   JACKSONVILLE     AL   36265    WALGREENS       FW1149120   17,400   16,100   15,400    17,700   21,300   18,100   17,667   106,000

100098524   025090068   WALGREENS #12403      DSD    NORTH OAKS      MN   55127    WALGREENS       FW1149132    5,200    4,700    4,500     7,200    4,100    4,100    4,967    29,800

100095883   004094672   WALGREENS #11128      DSD     COVENTRY       RI   02816    WALGREENS       FW1149144    4,700    6,100    4,500     4,700    5,300    2,700    4,667    28,000

100095897   023146399   WALGREENS #11358      DSD     DENVILLE       NJ   07834    WALGREENS       FW1149156    2,600    2,700    2,200     2,900    2,900    1,800    2,517    15,100

100095472   010232637   WALGREENS #10345      DSD    PITTSBURGH      PA   15221    WALGREENS       FW1149168    4,500    3,200    3,500     4,100    5,600    4,600    4,250    25,500

100072502   019103994   WILLOW PHARMACY, INC SF       MADISON        WI   53704   LONG TERM CARE   FW1149423    4,800    2,800    1,000     3,500    2,800    3,100    3,000    18,000

100106526   046059360   WINDMOOR HEALTHCARE          CLEARWATER      FL   33764      HOSPITAL      FW1150553    1,000     400      900       300      720     1,260     763      4,580

100102806   046053330   WALGREENS #10668      DSD      ARCADIA       FL   34266    WALGREENS       FW1151606               -      6,700    12,900   10,500   11,600    8,340    41,700

100102384   046051201   WALGREENS #01004      DSD   PORT ORANGE      FL   32128    WALGREENS       FW1151618     100      100     4,600     6,780    9,000   10,600    5,197    31,180

100095689   041151290   WALGREENS #12032      DSD   VIRGINIA BEACH   VA   23456    WALGREENS       FW1152874    3,900    4,200    3,700     4,700    3,300    3,660    3,910    23,460

100103161   020163451   WALGREENS #11958      DSD   ALBUQUERQUE      NM   87110    WALGREENS       FW1154664    5,600    6,100    6,000     5,300    8,600    4,600    6,033    36,200

100095643   041151134   WALGREENS #11981      DSD   SUMMERSVILLE     WV   26651    WALGREENS       FW1154676   10,500   10,000   10,000    11,600   11,000    6,500    9,933    59,600

100099674   037132159   WALGREENS #11830      DSD    MARKSVILLE      LA   71351    WALGREENS       FW1154688     100     1,000    9,700    24,600   27,700   22,000   14,183    85,100

100073664   012176008   WALGREENS #13434              SAN DIEGO      CA   92103    WALGREENS       FW1156543    4,000    4,500    5,000     4,000    4,500    2,500    4,083    24,500

100073665   012176016   WALGREENS #13435            PALM SPRINGS     CA   92264    WALGREENS       FW1156581    8,400   11,060   10,980    11,620   11,300    6,100    9,910    59,460

100094946   055034207   WALGREENS #10329      DSD    HARTSVILLE      SC   29550    WALGREENS       FW1156632   25,600   24,200   26,000    31,100    9,600   28,800   24,217   145,300

100096205   004099614   WALGREENS #10318      DSD   SOUTHBOROUGH     MA   01772    WALGREENS       FW1156644    2,100    1,900    1,000     1,600    1,900    2,000    1,750    10,500

100096121   023146894   WALGREENS #11155      DSD     OAKLAND        NJ   07436    WALGREENS       FW1156656    2,320    3,150    3,190     2,790    2,900    1,900    2,708    16,250

100095422   004093617   WALGREENS #11747      DSD     ONEONTA        NY   13820    WALGREENS       FW1158282   15,000   14,900   14,300    15,900   14,300   13,400   14,633    87,800

100101678   046046516   WALGREENS #11304      DSD       MIAMI        FL   33176    WALGREENS       FW1159501     200      200     1,300     1,400    1,900    1,400    1,067     6,400

100097281   052220285   WALGREENS #12099      DSD    TALLADEGA       AL   35160    WALGREENS       FW1159513   20,200   22,900   20,600    22,300   20,400   18,500   20,817   124,900

100072503   010141374   *WHITE HALL PHARMACY, LLC     WHITEHALL      WV   26554    INDEPENDENT     FW1161924   20,100    2,000     (100)                               7,333    22,000

100094600   004092601   WALGREENS #10955      DSD     CATSKILL       NY   12414    WALGREENS       FW1165819    6,500    7,100    7,700     8,000   10,600    6,500    7,733    46,400

100073737   038175455   WALGREENS #12805             ENGLEWOOD       CO   80113    WALGREENS       FW1167178    6,000    6,200    5,100     5,100    6,600    7,800    6,133    36,800

100099205   044218024   WALGREENS #12890      DSD   MURPHYSBORO      IL   62966    WALGREENS       FW1171759     200    22,500   44,000    44,000   47,100   25,500   30,550   183,300

100072233   040175489   WALGREENS #12604               ATLANTA       GA   30312    WALGREENS       FW1172701    4,500    3,500    5,100     4,500    4,000    3,000    4,100    24,600

100072223   046175562   WALGREENS #13072             PENSACOLA       FL   32514    WALGREENS       FW1178006     100      200     5,500     6,100    6,700   13,000    5,267    31,600
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100072505   032175489   WALGREENS #13128                 RICHLAND      WA   99352     WALGREENS         FW1183336   11,700    13,900   12,100   11,000   16,000   15,500   13,367    80,200

100103264   020163725   WALGREENS #12376        DSD      ANTHONY       TX   79821     WALGREENS         FW1188526    5,200    18,700   21,200   20,500   16,200    2,000   13,967    83,800

100098277   019171215   WALGREENS #12020        DSD     SHEBOYGAN      WI   53083     WALGREENS         FW1188540   12,360    13,200   12,000   12,360   14,800    9,700   12,403    74,420

100068985   026175554   WALGREENS #11118                HONOLULU       HI   96817     WALGREENS         FW1192284   10,600    11,700    9,900    9,900   11,100   12,800   11,000    66,000

100099951   018400440   WALGREENS #11645        DSD       DALLAS       TX   75217     WALGREENS         FW1196321   12,300    24,500   18,100   22,400   13,600   13,000   17,317   103,900

100094974   055034363   WALGREENS #11312        DSD   HOLLY SPRINGS    NC   27540     WALGREENS         FW1197575    2,830     1,800    3,500    3,600    3,600    1,200    2,755    16,530

100094575   055033076   WALGREENS #12045        DSD     BURLINGTON     NC   27215     WALGREENS         FW1197587   10,200     9,800   10,600    9,400    8,700    8,200    9,483    56,900

100099153   044217570   WALGREENS #12395        DSD     MARYVILLE      IL   62062     WALGREENS         FW1198921     200      9,300   14,100   14,800   20,900   13,000   12,050    72,300

100102633   008112748   WALGREENS #11612        DSD      LEMOORE       CA   93245     WALGREENS         FW1201297   18,500    22,600   21,400   25,700   21,600   22,200   22,000   132,000

100097908   019170241   WALGREENS #12506        DSD     FORT WAYNE     IN   46825     WALGREENS         FW1201300    8,700     6,300    8,000    7,600    8,300    6,200    7,517    45,100

100097941   019170480   WALGREENS #12676        DSD     PORTLAND       IN   47371     WALGREENS         FW1201312    9,200     9,700   10,100   11,800   14,100   13,500   11,400    68,400

100097893   019170092   WALGREENS #11494        DSD    KENDALLVILLE    IN   46755     WALGREENS         FW1201324   31,000    29,700   28,100   28,500   29,800   28,900   29,333   176,000

100097203   040119370   WALGREENS #11791        DSD     COMMERCE       GA   30529     WALGREENS         FW1201336   19,900    21,480   20,000   20,500   13,500   17,000   18,730   112,380

100098672   019173369   WALGREENS #11411        DSD      HARVARD       IL   60033     WALGREENS         FW1201348   14,100    15,900   13,200   13,600   18,300    7,500   13,767    82,600

100096117   023146886   WALGREENS #10177        DSD      NORWALK       CT   06854     WALGREENS         FW1201350    2,200     4,000    2,500    3,200    2,700    1,400    2,667    16,000

100096291   004100685   WALGREENS #09746        DSD   WINDSOR LOCKS    CT   06096     WALGREENS         FW1201362    2,100     2,300    2,500    2,700    3,500    1,700    2,467    14,800

100099433   021171025   WALGREENS #09425        DSD      SHAWNEE       KS   66226     WALGREENS         FW1203190     600      6,600    7,100    8,500    9,100    8,500    6,733    40,400

100102875   046053637   WALGREENS #11991        DSD       OCALA        FL   34472     WALGREENS         FW1206374               700     2,000    4,600    9,000    9,200    5,100    25,500

100095661   010232991   WALGREENS #10611        DSD       TOLEDO       OH   43617     WALGREENS         FW1206386    3,200     2,200    3,100    2,600    3,100    2,000    2,700    16,200

100067686   044175489   WALGREENS #11239                SAINT LOUIS    MO   63110     WALGREENS         FW1208556    1,000     2,100    2,700    5,100    4,500    3,000    3,067    18,400

100101978   024120485   WALGREENS #07654        DSD    BALDWIN PARK    CA   91706     WALGREENS         FW1210260    5,130     5,430    6,700    5,600    7,900    4,900    5,943    35,660

100101790   012108829   WALGREENS #10200        DSD      CYPRESS       CA   90630     WALGREENS         FW1211767   10,800    12,300    9,600   11,100   14,600    8,700   11,183    67,100

100067546   023111799   WAYNE PHARMACY II(Z)(GNP)         BUTLER       NJ   07405     INDEPENDENT       FW1213090                        200                                 200       200

100097644   052222125   WALGREENS #12952        DSD       CANTON       MS   39046     WALGREENS         FW1213432    1,500     2,000    1,000    1,000    2,000      -      1,250     7,500

100094976   041147223   WALGREENS #12360        DSD     HOPEWELL       VA   23860     WALGREENS         FW1213444   13,600    13,200   12,300   13,920   12,800   11,700   12,920    77,520

100094863   041147009   WALGREENS #11571        DSD   FREDERICKSBURG   VA   22407     WALGREENS         FW1213456    6,850     7,260    6,130    4,220    5,500    7,800    6,293    37,760

100094932   055034199   WALGREENS #15429        DSD       GREER        SC   29651     WALGREENS         FW1217884   16,200    16,700   17,000   17,500   15,900   13,200   16,083    96,500

100098332   019171769   WALGREENS #12783        DSD     MILWAUKEE      WI   53212     WALGREENS         FW1220564   14,300    17,300   14,000   17,000   19,700    8,600   15,150    90,900

100096563   019163329   WALGREENS #12783 340B           MILWAUKEE      WI   53212   PHS 340B HOSPITAL   FW1220564                        500                                 500       500

100103309   020164020   WALGREENS #11436        DSD      SOCORRO       TX   79927     WALGREENS         FW1220576    4,300    24,600   20,000   20,700   16,600    3,700   14,983    89,900

100102800   046053306   WALGREENS #12105        DSD      TAVARES       FL   32778     WALGREENS         FW1222607     500       100     7,230   10,060    6,900    8,200    5,498    32,990

100101518   038108845   WALGREENS #07837        DSD    CASTLE ROCK     CO   80108     WALGREENS         FW1222621    3,700     4,900    3,730    2,800    3,600    4,100    3,805    22,830

100103017   046054403   WALGREENS #11484        DSD      MINNEOLA      FL   34715     WALGREENS         FW1222633   (1,500)     100     7,200    8,900    8,600    7,100    5,067    30,400

100097226   040119545   WALGREENS #12319        DSD    HAWKINSVILLE    GA   31036     WALGREENS         FW1223584   12,800    13,800   13,800   13,200   13,500    8,500   12,600    75,600

100099347   021170167   WALGREENS #12153        DSD     KANSAS CITY    MO   64119     WALGREENS         FW1223611    2,500    10,600   10,500   13,300   14,100    8,600    9,933    59,600

100103428   020164582   WALGREENS #11206        DSD     LAS VEGAS      NV   89178     WALGREENS         FW1223647   20,740    25,700   23,000   22,700   26,000   18,200   22,723   136,340

100094461   041146183   WALGREENS #12085        DSD      BECKLEY       WV   25801     WALGREENS         FW1223659   11,100    11,700   10,600   10,100    9,200    9,000   10,283    61,700

100102878   020162750   WALGREENS #10684        DSD        VAIL        AZ   85641     WALGREENS         FW1224839   10,400    14,000   10,400   14,000   12,100   11,300   12,033    72,200

100097634   044216531   WALGREENS #12689        DSD       TUPELO       MS   38801     WALGREENS         FW1224841   28,200    24,400   27,800   27,000   28,700   21,500   26,267   157,600

100098095   049193623   WALGREENS #12346        DSD   MOUNT PLEASANT   MI   48858     WALGREENS         FW1224865   17,900    20,500   19,700   18,700   21,500   11,000   18,217   109,300

100097250   040119768   WALGREENS #11792        DSD       JESUP        GA   31545     WALGREENS         FW1224877   17,100    18,100   16,500   16,100   10,100   14,500   15,400    92,400

100097668   052222331   WALGREENS #12537        DSD      MERIDIAN      MS   39305     WALGREENS         FW1224889   14,500    17,500   11,500   17,400   11,500   14,000   14,400    86,400

100097421   044215392   WALGREENS #12961        DSD      SMYRNA        TN   37167     WALGREENS         FW1224891    3,500     4,500    4,500    5,600    6,000    3,500    4,600    27,600

100099389   021170589   WALGREENS #12268        DSD     HOLLISTER      MO   65672     WALGREENS         FW1227140   11,080    16,900   16,460   18,700   22,200   15,600   16,823   100,940
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100098197   021169326   WALGREENS #12947        DSD            PELLA         IA   50219     WALGREENS         FW1228344    4,500    3,600    3,500    5,000    6,500    1,500    4,100    24,600

100102909   046053801   WALGREENS #13590        DSD          ORLANDO         FL   32819     WALGREENS         FW1231226     700      700     3,200    2,600    2,100    3,500    2,133    12,800

100097152   040118877   WALGREENS #10854        DSD        DOUGLASVILLE      GA   30135     WALGREENS         FW1231238    4,600    5,100    4,700    5,500    6,000    3,000    4,817    28,900

100097867   019169839   WALGREENS #12264        DSD           ELKHART        IN   46514     WALGREENS         FW1234981   12,600   14,400   13,400   13,500   12,600   13,100   13,267    79,600

100103124   046054965   WALGREENS #10705        DSD         FORT PIERCE      FL   34947     WALGREENS         FW1234993     300      200     3,100   10,700   10,000    8,700    5,500    33,000

100068987   026175570   WALGREENS #12762                      LAHAINA        HI   96761     WALGREENS         FW1235008    2,600    2,400    3,600    2,700    4,100    3,500    3,150    18,900

100068988   026175588   WALGREENS #12763                      WAILUKU        HI   96793     WALGREENS         FW1235010    5,000    3,200    5,000    5,500    5,400    4,000    4,683    28,100

100068989   026175596   WALGREENS #12764                      WAILUKU        HI   96793     WALGREENS         FW1235022    6,000    7,500    5,500    7,100    9,000    6,500    6,933    41,600

100102184   032148494   WALGREENS #12290        DSD       COTTAGE GROVE      OR   97424     WALGREENS         FW1236769   11,400   11,600   10,800   11,700   11,600    6,300   10,567    63,400

100093934   032147520   WALGREENS #12290 340B             COTTAGE GROVE      OR   97424   PHS 340B HOSPITAL   FW1236769     200                                                   200       200

100094866   010229468   WALGREENS #12159        DSD          FREMONT         OH   43420     WALGREENS         FW1236783    5,000    7,300    6,200    5,500    3,100    6,000    5,517    33,100

100095412   023145649   WALGREENS #10751        DSD         NORTHPORT        NY   11768     WALGREENS         FW1236795    1,890    1,980    2,000    2,780    1,700    1,500    1,975    11,850

100094631   041146423   WALGREENS #11213        DSD         CHESAPEAKE       VA   23322     WALGREENS         FW1236808    8,100    7,100    7,500    7,900    5,400    5,100    6,850    41,100

100094499   023137653   WALGREENS #10989        DSD            BRONX         NY   10467     WALGREENS         FW1236810    1,100     300      500      300      100     1,300     600      3,600

100094697   055033498   WALGREENS #11379        DSD          COLUMBIA        SC   29209     WALGREENS         FW1241520    9,060    9,520   10,400   10,400   10,700    6,600    9,447    56,680

100102668   046052613   WALGREENS #11244        DSD           ALACHUA        FL   32615     WALGREENS         FW1243601      60              2,500    4,100    4,100    5,600    3,272    16,360

100099161   044217653   WALGREENS #12303        DSD          BELLEVILLE      IL   62226     WALGREENS         FW1243613     100     8,600    8,700    8,200   12,600    5,700    7,317    43,900

100094952   055034231   WALGREENS #10886        DSD       HENDERSONVILLE     NC   28791     WALGREENS         FW1243625    6,700    8,300    7,200    8,300    9,700    5,500    7,617    45,700

100094871   041147025   WALGREENS #10822        DSD         GAINESVILLE      VA   20155     WALGREENS         FW1243637    4,100    4,100    4,600    4,100    5,100    3,100    4,183    25,100

100098118   019170712   WALGREENS #12688        DSD          PAW PAW         MI   49079     WALGREENS         FW1246633   26,300   30,200   23,600   30,300   29,100   19,000   26,417   158,500

100097876   019169920   WALGREENS #11625        DSD         MISHAWAKA        IN   46544     WALGREENS         FW1246645    8,900    8,300    8,800    8,200   13,700    6,400    9,050    54,300

100085425   018116806   WALGREENS #12030                    SAN ANTONIO      TX   78224     WALGREENS         FW1253400               -      4,100    8,500    5,000    3,500    4,220    21,100

100095994   004098137   WALGREENS #11554        DSD           HUDSON         NH   03051     WALGREENS         FW1254793    4,000    2,400    3,000    4,200    5,400    3,800    3,800    22,800

100067731   008175521   WALGREENS #12761                      MADERA         CA   93636     WALGREENS         FW1255644    2,300    1,400    1,900    2,400    2,000    1,900    1,983    11,900

100103388   038110239   *WALGREENS #11616       DSD           AURORA         CO   80016     WALGREENS         FW1255822    4,000    1,230                                        2,615     5,230

100102176   032148486   WALGREENS #12275        DSD           YAKIMA         WA   98902     WALGREENS         FW1257802   15,300   13,600   11,700   13,300   11,500    8,100   12,250    73,500

100097481   052221465   WALGREENS #10192        DSD           BRISTOL        TN   37620     WALGREENS         FW1257814   18,600   21,300   20,500   21,000   22,600   15,500   19,917   119,500

100102788   046053231   WALGREENS #12059        DSD           OVIEDO         FL   32765     WALGREENS         FW1260431     100              3,100    2,000    4,500    3,000    2,540    12,700

100102183   017097857   WALGREENS #11674        DSD          ST GEORGE       UT   84770     WALGREENS         FW1260455   19,200   19,600   17,000   16,560   21,500   16,600   18,410   110,460

100102168   020160358   WALGREENS #11899        DSD          LAS VEGAS       NV   89148     WALGREENS         FW1260479   17,000   21,100   16,400   17,500   28,400   24,000   20,733   124,400

100066685   019175976   WALGREENS #13074                   STEVENS POINT     WI   54481     WALGREENS         FW1260506    5,000    5,100    3,500    5,000    8,000    4,500    5,183    31,100

100099919   018400127   WALGREENS #11519        DSD          ROCKWALL        TX   75087     WALGREENS         FW1260544    4,800    8,700    8,600    9,100    8,600    7,000    7,800    46,800

100094514   041146308   WALGREENS #06007        DSD          BROOKLYN        MD   21225     WALGREENS         FW1260582    3,190    3,500    5,000    4,090    4,600    3,500    3,980    23,880

100067654   046175588   WALGREENS #13451                 PALM BEACH GARDEN   FL   33410     WALGREENS         FW1260619     800      100     2,000    3,000    3,000    2,100    1,833    11,000

100097360   052221036   WALGREENS #12333        DSD          PRICHARD        AL   36613     WALGREENS         FW1260645   38,600   43,500   42,100   48,100   35,000   32,500   39,967   239,800

100100025   018401182   WALGREENS #12356        DSD        HUDSON OAKS       TX   76087     WALGREENS         FW1260657    4,020   19,500   18,400   16,500   19,800   10,200   14,737    88,420

100099994   018400879   WALGREENS #12601        DSD            LUFKIN        TX   75904     WALGREENS         FW1260683     700             11,200   21,600   19,400   10,000   12,580    62,900

100097864   019169805   *STEEL FAMILYPHY WALGREEN12943      MERRILLVILLE     IN   46410     WALGREENS         FW1263095   12,700   12,700   13,200   14,600   16,100    7,500   12,800    76,800

100067575   020175620   WALGREENS #13677                       MESA          AZ   85202     WALGREENS         FW1266635    1,000    1,600    1,000    2,100    1,600    1,600    1,483     8,900

100068137   052145375   WILSONS SAV MOR DRUGS LLC            NEWPORT         TN   37821     INDEPENDENT       FW1266990   10,520    9,140   13,220    8,300    8,100    4,060    8,890    53,340

100107293   052224196   WILSONS SAV-MOR DRUGS LLC 340B       NEWPORT         TN   37821    PHS 340B CLINIC    FW1266990              500                                          500       500

100098885   019176511   WALGREENS #11740        DSD        MONTGOMERY        IL   60538     WALGREENS         FW1269174    7,100    7,400    9,300    6,600    8,900    6,200    7,583    45,500

100102110   017097568   WALGREENS #12480        DSD           VERNAL         UT   84078     WALGREENS         FW1269186   10,600   12,700   11,600   11,600    9,500    6,500   10,417    62,500

100102882   020162768   WALGREENS #09952        DSD           MARANA         AZ   85658     WALGREENS         FW1270761    5,300    4,000    4,900    5,500    6,000    4,300    5,000    30,000
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100097756   044217182   WALGREENS #12587     DSD     MADISONVILLE    KY   42431   WALGREENS     FW1270773   24,000    23,000   25,500   29,000   28,600   20,500   25,100   150,600

100095637   010232934   WALGREENS #12014     DSD    STRONGSVILLE     OH   44136   WALGREENS     FW1270785    2,900     4,300    2,700    4,200    5,500    3,000    3,767    22,600

100095406   010232447   WALGREENS #12445     DSD    NORTH OLMSTED    OH   44070   WALGREENS     FW1270800    3,900     4,300    4,500    4,100    4,500    3,900    4,200    25,200

100097223   040119511   WALGREENS #12263     DSD      COCHRAN        GA   31014   WALGREENS     FW1270812    4,000     5,500    4,500    4,000    4,000    4,100    4,350    26,100

100094996   010229773   WALGREENS #12476     DSD       JACKSON       OH   45640   WALGREENS     FW1271927   18,800    19,100   20,200   20,300   18,200   12,500   18,183   109,100

100094398   004092478   WALGREENS #12408     DSD       AMHERST       NY   14228   WALGREENS     FW1271941   12,600    11,100    9,700   11,730   14,300    8,000   11,238    67,430

100094725   004092692   WALGREENS #10696     DSD       CORNING       NY   14830   WALGREENS     FW1271965    3,500     3,500    4,100    4,000    4,100    3,000    3,700    22,200

100095539   004093799   WALGREENS #11208     DSD     ROCHESTER       NY   14624   WALGREENS     FW1271977    2,800     1,000    1,500    2,100    1,000    2,000    1,733    10,400

100094479   004092544   WALGREENS #11207     DSD     BINGHAMTON      NY   13903   WALGREENS     FW1271989    5,500     6,500    4,500    6,500    5,000    3,800    5,300    31,800

100094845   023138594   WALGREENS #11126     DSD      FLUSHING       NY   11367   WALGREENS     FW1271991    1,900     1,600     600     1,100    1,800    1,200    1,367     8,200

100095537   004093773   WALGREENS #10512     DSD     ROCHESTER       NY   14621   WALGREENS     FW1272006    6,700     6,600    5,500    6,500    8,000    6,500    6,633    39,800

100095614   023145912   WALGREENS #02257     DSD    STATEN ISLAND    NY   10303   WALGREENS     FW1272018    2,700     3,700    1,500    2,600    4,100    1,500    2,683    16,100

100097647   052222158   WALGREENS #12536     DSD       FOREST        MS   39074   WALGREENS     FW1274795   14,600    14,500   14,600   12,500   13,000    9,700   13,150    78,900

100094478   055033035   WALGREENS #11893     DSD      BEULAVILLE     NC   28518   WALGREENS     FW1274810   10,900     9,200    9,000   11,500   10,300    4,700    9,267    55,600

100098590   025090720   WALGREENS #12510     DSD      PLYMOUTH       MN   55446   WALGREENS     FW1274822    2,600     3,700    2,600    3,100    3,000    2,900    2,983    17,900

100100331   037132746   WALGREENS #12330     DSD       VICTORIA      TX   77904   WALGREENS     FW1281221     700      2,220   10,600   17,840   17,500    9,700    9,760    58,560

100100121   038107078   WALGREENS #12377     DSD      HOUSTON        TX   77044   WALGREENS     FW1281233     (100)    1,500    5,500    9,000    7,800    3,000    4,450    26,700

100100465   018402701   WALGREENS #12521     DSD     SAN MARCOS      TX   78666   WALGREENS     FW1281396    2,000    10,440    9,800    7,800    9,200    6,720    7,660    45,960

100101528   046045864   WALGREENS #01924     DSD     MIAMI BEACH     FL   33139   WALGREENS     FW1281447               100      500      100      100      200      200      1,000

100100061   018401547   WALGREENS #09224     DSD       KELLER        TX   76244   WALGREENS     FW1281461    4,400    17,900   18,220   18,840   19,800   10,000   14,860    89,160

100094497   023137638   WALGREENS #10411     DSD        BRONX        NY   10458   WALGREENS     FW1281497     600       600      700     1,200     600      700      733      4,400

100097175   040119099   WALGREENS #11758     DSD      RIVERDALE      GA   30274   WALGREENS     FW1282817    9,500    10,400   10,000   10,700    9,100    8,500    9,700    58,200

100101988   017096958   WALGREENS #11687     DSD       MERIDIAN      ID   83646   WALGREENS     FW1283807   10,100     8,600    8,900    9,800    9,000    8,300    9,117    54,700

100094535   023137992   WALGREENS #12007     DSD      BROOKLYN       NY   11236   WALGREENS     FW1283946     500       300      500     1,000     700       -       500      3,000

100097138   040118737   WALGREENS #11685     DSD       BREMEN        GA   30110   WALGREENS     FW1286524   11,100    11,100   11,000   13,200   11,000    8,100   10,917    65,500

100097336   052220830   WALGREENS #11819     DSD      ANNISTON       AL   36207   WALGREENS     FW1286548   16,900    17,200   14,700   17,500   13,300   14,000   15,600    93,600

100097643   052222117   WALGREENS #12822     DSD      BRANDON        MS   39042   WALGREENS     FW1286562   13,000    13,100   11,800   12,800    8,800    9,300   11,467    68,800

100097637   052222091   WALGREENS #12750     DSD        AMORY        MS   38821   WALGREENS     FW1286586   16,200    16,500   17,300   16,600   14,600   14,000   15,867    95,200

100095463   041150573   WALGREENS #10388     DSD     PHOENIXVILLE    PA   19460   WALGREENS     FW1286601    5,200     5,600    6,000    5,100    6,200    4,300    5,400    32,400

100094716   010229013   WALGREENS #12595     DSD      COLUMBUS       OH   43228   WALGREENS     FW1288047   13,900    14,800   12,800   13,700   10,400   10,000   12,600    75,600

100094529   023137935   WALGREENS #11268     DSD      BROOKLYN       NY   11228   WALGREENS     FW1288061     900      2,200    1,500             1,000    1,000    1,320     6,600

100094899   004092825   WALGREENS #10752     DSD    GLOVERSVILLE     NY   12078   WALGREENS     FW1288085    9,500    10,070    9,500    8,700   10,500    9,000    9,545    57,270

100095409   004093591   WALGREENS #12117     DSD   NORTH TONAWANDA   NY   14120   WALGREENS     FW1288097   10,500    11,400    9,500   10,200    8,600   11,000   10,200    61,200

100094394   010228148   WALGREENS #10386     DSD       ALTOONA       PA   16602   WALGREENS     FW1289962   12,200    11,500   10,100   11,900   12,200   10,500   11,400    68,400

100071059   049177790   WALT CHURCHILL'S MARKET      PERRYSBURG      OH   43551   INDEPENDENT   FW1291412    1,800     3,200    2,700    3,100    3,000    1,000    2,467    14,800

100096165   004099366   WALGREENS #11164     DSD      RIDGEFIELD     CT   06877   WALGREENS     FW1293822    1,500     2,100    1,600    1,500    1,300    1,700    1,617     9,700

100102987   008113399   WALGREENS #13669     DSD    SAN FRANCISCO    CA   94102   WALGREENS     FW1294975    3,200     3,600    3,300    3,700    4,300    3,400    3,583    21,500

100102248   008112706   WALGREENS #13668     DSD    SAN FRANCISCO    CA   94102   WALGREENS     FW1295016    9,800     9,290    8,600    8,600   10,100    7,000    8,898    53,390

100103118   008113712   WALGREENS #13667     DSD    SAN FRANCISCO    CA   94118   WALGREENS     FW1295028    5,600     8,600    9,100    8,800   11,000    4,500    7,933    47,600

100103154   008113803   WALGREENS #13670     DSD    SAN FRANCISCO    CA   94127   WALGREENS     FW1295030    6,500     6,500    8,300    5,800    8,600    5,000    6,783    40,700

100103040   008113530   WALGREENS #13666     DSD    SAN FRANCISCO    CA   94109   WALGREENS     FW1295042    6,100     5,500    5,100    5,800    8,100    4,000    5,767    34,600

100103166   008113837   WALGREENS #13671     DSD    SAN FRANCISCO    CA   94132   WALGREENS     FW1295054    6,500     6,300    7,100    6,100    6,800    5,200    6,333    38,000

100103659   032151100   WALGREENS #02647     DSD     MOSES LAKE      WA   98837   WALGREENS     FW1298137   18,500    19,500   17,500   19,500   21,000   15,100   18,517   111,100

100102040   032148361   WALGREENS #12503     DSD       MOSCOW        ID   83843   WALGREENS     FW1298149    8,000     9,000    7,500   10,500    8,500    8,500    8,667    52,000
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100095642   055036715   WALGREENS #10675        DSD   SUMMERFIELD     NC   27358     WALGREENS         FW1298151    7,500    6,600    7,500     7,000    7,000    6,700    7,050    42,300

100100353   018401943   WALGREENS #12479        DSD   SAN ANTONIO     TX   78207     WALGREENS         FW1298163     300      500     9,800    15,000   11,500    6,500    7,267    43,600

100096214   023147025   WALGREENS #10310        DSD    STAMFORD       CT   06902     WALGREENS         FW1298175    2,200    2,700    2,100     2,100    2,100    1,400    2,100    12,600

100094505   023137711   WALGREENS #13120        DSD      BRONX        NY   10472     WALGREENS         FW1298187    1,500     500     1,000     1,000     600      500      850      5,100

100098002   049192690   WALGREENS #12310        DSD    BRIGHTON       MI   48116     WALGREENS         FW1298199    7,300    5,200    6,100     7,100    6,100    6,600    6,400    38,400

100102295   012110817   WALGREENS #10768        DSD     FONTANA       CA   92337     WALGREENS         FW1300653   14,900   15,100   13,400    16,300   16,700   18,800   15,867    95,200

100094905   010229559   WALGREENS #12083        DSD     C_______      OH   43212     WALGREENS         FW1300665    2,600    2,600    2,500     2,000    2,700    2,800    2,533    15,200

100095489   010232686   WALGREENS #11145        DSD     POWELL        OH   43065     WALGREENS         FW1300677    3,100    1,600    3,100     2,100    3,500    3,100    2,750    16,500

100098017   049192849   WALGREENS #12267        DSD      LIVONIA      MI   48152     WALGREENS         FW1301491   13,100   11,900   10,100    10,000   13,800   11,000   11,650    69,900

100098617   025090985   WALGREENS #11374        DSD   LITTLE FALLS    MN   56345     WALGREENS         FW1301504   10,200    9,700   12,500     9,500   10,100    5,500    9,583    57,500

100095895   004094771   WALGREENS #01917        DSD     DEDHAM        MA   02026     WALGREENS         FW1302710     900     2,700    1,600     2,200    2,300    1,800    1,917    11,500

100099073   019178434   WALGREENS #12287        DSD    FREEPORT       IL   61032     WALGREENS         FW1304916   18,800   18,300   18,000    19,600   21,000   11,100   17,800   106,800

100097420   044215384   WALGREENS #12375        DSD     SMYRNA        TN   37167     WALGREENS         FW1304928   22,500   21,800   22,900    25,800   20,200   15,600   21,467   128,800

100095048   055035857   WALGREENS #12568        DSD     LAURENS       SC   29360     WALGREENS         FW1304930   20,100   14,570   14,800    16,500   14,600   14,600   15,862    95,170

100100494   018402990   WALGREENS #11097        DSD      AUSTIN       TX   78756     WALGREENS         FW1304942    2,960    7,400    8,600     6,000    8,400    3,000    6,060    36,360

100097402   044215210   WALGREENS #12513        DSD     LEBANON       TN   37087     WALGREENS         FW1304954   39,600   34,200   31,500    33,100   28,800   32,000   33,200   199,200

100100210   038107813   WALGREENS #10919        DSD   MONTGOMERY      TX   77356     WALGREENS         FW1304966     430     1,700   20,600    31,700   25,400   15,100   15,822    94,930

100101992   017096966   WALGREENS #12483        DSD      NAMPA        ID   83651     WALGREENS         FW1304978   18,700   16,800   16,700    19,000   12,000   14,500   16,283    97,700

100096168   041152454   WALGREENS #11333        DSD    RIVERSIDE      NJ   08075     WALGREENS         FW1304980    3,100    4,100    2,600     3,400    3,600    3,700    3,417    20,500

100101932   017096701   WALGREENS #13673        DSD      BURLEY       ID   83318     WALGREENS         FW1304992   18,000   19,600   16,000    19,000   20,000   16,000   18,100   108,600

100101924   017096685   WALGREENS #13672        DSD    BLACKFOOT      ID   83221     WALGREENS         FW1305019   19,900   21,800   18,000    21,000   18,000    9,500   18,033   108,200

100099765   018398594   WALGREENS #12027        DSD     EL RENO       OK   73036     WALGREENS         FW1306566     100      200    16,200    19,800   12,000   12,500   10,133    60,800

100099822   018399154   WALGREENS #12161        DSD   COLLINSVILLE    OK   74021     WALGREENS         FW1309699     100     8,000   22,100    23,100   26,000   16,500   15,967    95,800

100099748   018398420   WALGREENS #12670        DSD   SPRINGDALE      AR   72764     WALGREENS         FW1312153    1,600    2,700   12,200     9,200   12,800   11,500    8,333    50,000

100101845   012108977   WALGREENS #11082        DSD   LONG BEACH      CA   90805     WALGREENS         FW1312165   11,200   13,900   11,100    13,500   15,100   14,000   13,133    78,800

100097622   044216432   WALGREENS #12436        DSD   NEW ALBANY      MS   38652     WALGREENS         FW1314614   16,300   15,100   17,500    17,200   15,100   10,500   15,283    91,700

100097082   040118174   WALGREENS #12621        DSD    COVINGTON      GA   30016     WALGREENS         FW1314638    6,100    6,100    5,000     7,000    7,500    5,000    6,117    36,700

100070798   021115824   WANEK PHCY         SF            NELIGH       NE   68756     INDEPENDENT       FW1318270     700     2,000     (300)    1,200    2,300    1,600    1,250     7,500

100094057   021014167   WANEK PHARMACY CW INC 340B       NELIGH       NE   68756   PHS 340B HOSPITAL   FW1318270    1,900    2,300    1,400     1,500     100              1,440     7,200

100099037   019178079   WALGREENS #12426        DSD     CHICAGO       IL   60654     WALGREENS         FW1318294    3,400    2,200    2,600     2,600    4,600    1,500    2,817    16,900

100097217   040119453   WALGREENS #10602        DSD      EVANS        GA   30809     WALGREENS         FW1318787    3,100    3,580    4,500     4,500    4,200    4,500    4,063    24,380

100101418   008112276   WALGREENS #02170        DSD     AUBURN        CA   95603     WALGREENS         FW1318799   35,300   34,800   34,800    38,200   24,200   27,400   32,450   194,700

100068885   044175679   WALGREENS #12927                ST. LOUIS     MO   63139     WALGREENS         FW1318802             4,100    4,000     6,000   11,000    9,000    6,820    34,100

100098614   025090951   WALGREENS #12131        DSD     WILLMAR       MN   56201     WALGREENS         FW1318814    6,000    5,100    4,500     5,600    5,000    4,000    5,033    30,200

100068992   026175612   WALGREENS #15531                WAIPAHU       HI   96797     WALGREENS         FW1318826    2,600    5,100    4,200     4,900    2,800    2,200    3,633    21,800

100102172   046049346   WALGREENS #12104        DSD   JACKSONVILLE    FL   32218     WALGREENS         FW1322015     100      200     7,700    10,800    8,000    7,000    5,633    33,800

100102534   046051961   WALGREENS #11190        DSD   LAKE WALES      FL   33859     WALGREENS         FW1322750     100      400      800      8,400    7,500    5,600    3,800    22,800

100099733   018398305   WALGREENS #12417        DSD    BATESVILLE     AR   72501     WALGREENS         FW1322762   11,700   16,100   23,800    24,000   24,900   13,600   19,017   114,100

100103152   046055194   WALGREENS #12122        DSD   PORT ST LUCIE   FL   34953     WALGREENS         FW1322774     500      300     4,600    11,600   11,700    9,400    6,350    38,100

100103378   020164368   WALGREENS #07842        DSD    LAS VEGAS      NV   89109     WALGREENS         FW1331165    3,000    2,600    3,200     1,500    3,600    1,500    2,567    15,400

100102907   046053793   WALGREENS #12391        DSD    SPRING HILL    FL   34609     WALGREENS         FW1334832     300     1,000    1,800    16,560   11,100    7,700    6,410    38,460

100103239   046055541   WALGREENS #11481        DSD   FLORIDA CITY    FL   33034     WALGREENS         FW1334844     260      100     1,300     5,300    7,000    5,200    3,193    19,160

100102760   046053090   WALGREENS #12041        DSD    LAKE MARY      FL   32746     WALGREENS         FW1334868     300      400     7,000     5,600    5,200    5,000    3,917    23,500

100099988   018400812   WALGREENS #12522        DSD      TYLER        TX   75701     WALGREENS         FW1334894     600      200    12,000    18,200   14,700   16,000   10,283    61,700
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100100448   018402537   WALGREENS #12569   DSD     GEORGETOWN        TX   78628   WALGREENS   FW1335745    3,900   20,300   20,320   20,940   18,600    7,500   15,260    91,560

100094464   041146209   WALGREENS #12433   DSD        BEL AIR        MD   21014   WALGREENS   FW1337268    3,100    4,200    4,000    3,000    3,900    3,700    3,650    21,900

100102409   020161646   WALGREENS #10998   DSD     CASA GRANDE       AZ   85194   WALGREENS   FW1339779    8,400    7,800    6,600    9,100    7,200   10,300    8,233    49,400

100094772   041146647   WALGREENS #11972   DSD        DUBLIN         VA   24084   WALGREENS   FW1339781   13,860   15,800   12,260   13,300   11,600   10,200   12,837    77,020

100098620   025091017   WALGREENS #11956   DSD      WAITE PARK       MN   56387   WALGREENS   FW1344667    6,100    6,700    7,100    7,200    8,000    6,000    6,850    41,100

100098648   019173120   WALGREENS #11662   DSD      BARRINGTON       IL   60010   WALGREENS   FW1345138    9,700    9,100    9,600    8,800   12,500    6,500    9,367    56,200

100099966   018400598   WALGREENS #11514   DSD        DALLAS         TX   75238   WALGREENS   FW1345140    3,800    6,700    7,600    7,600    2,100    4,000    5,300    31,800

100095175   055036129   WALGREENS #11895   DSD    MOREHEAD CITY      NC   28557   WALGREENS   FW1345152    4,360    5,920    4,520    4,120    5,300    4,700    4,820    28,920

100096272   041152637   WALGREENS #10543   DSD     WESTAMPTON        NJ   08060   WALGREENS   FW1345164    2,940    2,600    2,700    2,400    3,900    2,200    2,790    16,740

100094700   055033522   WALGREENS #12478   DSD       COLUMBIA        SC   29223   WALGREENS   FW1347815    6,960    8,450    9,140    7,820    5,500    9,100    7,828    46,970

100095783   010233205   WALGREENS #12703   DSD         XENIA         OH   45385   WALGREENS   FW1347853    6,000    6,100    7,500    6,500    8,500    5,500    6,683    40,100

100095877   004094631   WALGREENS #11119   DSD       CLINTON         MA   01510   WALGREENS   FW1347904    4,300    5,400    4,800    5,400    5,900    3,100    4,817    28,900

100103511   008115816   WALGREENS #12527   DSD     PLUMAS LAKE       CA   95961   WALGREENS   FW1350165    9,300   10,000    9,000    9,500    8,500    6,100    8,733    52,400

100103252   017097972   WALGREENS #12347   DSD       WHITEFISH       MT   59937   WALGREENS   FW1350177   14,900   16,900   13,700   12,600   17,200    7,700   13,833    83,000

100100279   038108233   WALGREENS #12715   DSD       BAYTOWN         TX   77521   WALGREENS   FW1350189     160     1,620   20,120   25,800   11,600   15,200   12,417    74,500

100087174   003091603   WALGREENS #07564           BARCELONETA       PR   00617   WALGREENS   FW1350191                       100      100                        100       200

100099329   021169987   WALGREENS #11375   DSD   EXCELSIOR SPRINGS   MO   64024   WALGREENS   FW1351840    2,100    8,000   14,500   11,600   15,600    4,500    9,383    56,300

100099355   021170241   WALGREENS #12114   DSD      KANSAS CITY      MO   64157   WALGREENS   FW1351852    1,100   12,700   12,000   12,700   16,200    7,100   10,300    61,800

100102107   008112581   WALGREENS #11227   DSD        SPARKS         NV   89431   WALGREENS   FW1353488   21,000   24,100   20,600   23,700   24,700   24,000   23,017   138,100

100097946   044217364   WALGREENS #11882   DSD      PRINCETON        IN   47670   WALGREENS   FW1359175     600    16,500   18,100   21,800   16,900   13,000   14,483    86,900

100100445   018402503   WALGREENS #12029   DSD   DRIPPING SPRINGS    TX   78620   WALGREENS   FW1361269    4,600   17,100   16,000   17,200   10,400    8,500   12,300    73,800

100098245   021169763   WALGREENS #11759   DSD     FORT MADISON      IA   52627   WALGREENS   FW1363427    9,730   12,000   10,750   12,500   12,500    8,500   10,997    65,980

100102528   012111443   WALGREENS #12573   DSD    FOUNTAIN VALLEY    CA   92708   WALGREENS   FW1364239   18,000   14,300   18,200   15,900   18,000   15,700   16,683   100,100

100098458   019172833   WALGREENS #10758   DSD       ASHLAND         WI   54806   WALGREENS   FW1365736    5,900   10,000   11,900   12,400   12,300    8,700   10,200    61,200

100094985   010229724   WALGREENS #11980   DSD      HUNTINGTON       WV   25701   WALGREENS   FW1365748   14,660   16,400   13,500   13,500   13,000   13,700   14,127    84,760

100097205   040119396   WALGREENS #12502   DSD        TOCCOA         GA   30577   WALGREENS   FW1366916    7,000    8,600    8,600    9,000    9,600    6,500    8,217    49,300

100094701   055033530   WALGREENS #12677   DSD       COLUMBIA        SC   29229   WALGREENS   FW1368275    4,500    4,230    5,030    4,030    3,500    3,000    4,048    24,290

100095603   055036673   WALGREENS #11693   DSD      SPRING LAKE      NC   28390   WALGREENS   FW1368287    4,100    5,100    4,600    5,500    5,600    3,100    4,667    28,000

100094972   055034348   WALGREENS #11837   DSD     HOLDEN BEACH      NC   28462   WALGREENS   FW1368403   11,800   12,100   10,200   10,730   11,600    9,400   10,972    65,830

100094536   023138008   WALGREENS #12080   DSD       BROOKLYN        NY   11223   WALGREENS   FW1368465     100      500     1,500     500     2,000      -       767      4,600

100096240   023147124   WALGREENS #13705   DSD       VAUXHALL        NJ   07088   WALGREENS   FW1369102    2,000    1,870    1,800    2,100    1,800     600     1,695    10,170

100095830   023146282   WALGREENS #13721   DSD       BOONTON         NJ   07005   WALGREENS   FW1369114    3,190    2,120    4,100    2,500    2,900    1,300    2,685    16,110

100095945   023146530   WALGREENS #12563   DSD     FLORHAM PARK      NJ   07932   WALGREENS   FW1369126    2,300    1,000    1,500    1,900    3,200    1,800    1,950    11,700

100096144   041152421   WALGREENS #13717   DSD    PORT MONMOUTH      NJ   07758   WALGREENS   FW1369138    4,000    5,900    4,400    6,100    5,300    6,100    5,300    31,800

100095981   041152116   WALGREENS #13703   DSD        HAZLET         NJ   07730   WALGREENS   FW1369140    6,000    5,930    5,200    4,360    6,100    4,500    5,348    32,090

100095955   041152017   WALGREENS #13698   DSD       FREEHOLD        NJ   07728   WALGREENS   FW1369152    4,200    4,900    3,700    2,900    4,000    4,230    3,988    23,930

100096122   041152330   WALGREENS #13694   DSD      OLD BRIDGE       NJ   08857   WALGREENS   FW1369164    1,500    1,600    2,300    1,100    2,200    1,300    1,667    10,000

100095956   041152025   WALGREENS #13710   DSD       FREEHOLD        NJ   07728   WALGREENS   FW1369176    1,500    1,600     900     1,000    1,700    1,000    1,283     7,700

100096243   023147132   WALGREENS #13701   DSD        VERONA         NJ   07044   WALGREENS   FW1369188    1,100    2,300    2,400     900     1,700    1,200    1,600     9,600

100101744   046046672   WALGREENS #10793   DSD         MIAMI         FL   33193   WALGREENS   FW1370597     100      100     1,100    1,600    1,700    1,200     967      5,800

100103095   046054825   WALGREENS #11737   DSD      VERO BEACH       FL   32967   WALGREENS   FW1370600     200      200     2,300    3,800    5,900    4,100    2,750    16,500

100097258   040119834   WALGREENS #12553   DSD       CAMILLA         GA   31730   WALGREENS   FW1370612    6,700    7,200    7,000    8,000    6,600    4,500    6,667    40,000

100095922   041151951   WALGREENS #13699   DSD        EDISON         NJ   08820   WALGREENS   FW1372248    1,000     200     1,100    1,000     300      100      617      3,700

100096042   041152256   WALGREENS #13697   DSD       MANVILLE        NJ   08835   WALGREENS   FW1372262    1,600    2,500    1,700     800     1,300    1,600    1,583     9,500
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100096059   041152272   WALGREENS #13696   DSD      MIDDLESEX       NJ   08846   WALGREENS   FW1372286    1,200    1,100    2,600     800     1,200     800     1,283     7,700

100096202   041152520   WALGREENS #13693   DSD   SOUTH PLAINFIELD   NJ   07080   WALGREENS   FW1372298     500     1,700    1,500    1,200     900     1,700    1,250     7,500

100095931   023146480   WALGREENS #13711   DSD     ENGLEWOOD        NJ   07631   WALGREENS   FW1372301     600      800      500     1,300     900     1,300     900      5,400

100096014   023146688   WALGREENS #15000   DSD    LINCOLN PARK      NJ   07035   WALGREENS   FW1372313    1,200    1,700    2,400     700     1,700    1,000    1,450     8,700

100096303   023147223   WALGREENS #13707   DSD      WYCKOFF         NJ   07481   WALGREENS   FW1372325    1,600    1,000    1,700    1,000    1,500     400     1,200     7,200

100096159   023146969   WALGREENS #13704   DSD       RAMSEY         NJ   07446   WALGREENS   FW1372337    1,400    3,400    2,000     800     2,300    1,300    1,867    11,200

100095939   023146522   WALGREENS #13702   DSD      FAIRFIELD       NJ   07004   WALGREENS   FW1372349    2,000    1,100    2,300    1,630     900     1,700    1,605     9,630

100096019   023146696   WALGREENS #13708   DSD     LITTLE FALLS     NJ   07424   WALGREENS   FW1372363    2,900    3,960    3,500    3,600    1,700    1,900    2,927    17,560

100096217   041152546   WALGREENS #12823   DSD       STIRLING       NJ   07980   WALGREENS   FW1373846    1,400    2,700    3,300    2,500    2,600    1,500    2,333    14,000

100096125   023146910   WALGREENS #13466   DSD     PARSIPPANY       NJ   07054   WALGREENS   FW1373860    5,800    5,540    3,800    5,700    4,000    4,100    4,823    28,940

100096252   041152603   WALGREENS #13706   DSD       WARREN         NJ   07059   WALGREENS   FW1373896    2,400    2,300    1,700    3,530    2,060    1,300    2,215    13,290

100096258   023147157   WALGREENS #13719   DSD       WAYNE          NJ   07470   WALGREENS   FW1373911    1,500    1,500    1,100    1,400    1,600    1,300    1,400     8,400

100096275   041152645   WALGREENS #13700   DSD      WESTFIELD       NJ   07090   WALGREENS   FW1373923    2,600    1,200    1,700    1,600    1,200    2,300    1,767    10,600

100095818   023146241   WALGREENS #13718   DSD      BELLEVILLE      NJ   07109   WALGREENS   FW1375220    2,930    1,600    1,430    1,700    3,130    1,600    2,065    12,390

100096185   041152462   WALGREENS #13720   DSD     SAYREVILLE       NJ   08872   WALGREENS   FW1375232    4,200    5,100    4,600    4,200    5,300    3,300    4,450    26,700

100095984   023146597   WALGREENS #13715   DSD       HILLSIDE       NJ   07205   WALGREENS   FW1375244    2,100    1,400    1,600    1,700    1,800    1,000    1,600     9,600

100095992   041152157   WALGREENS #13722   DSD       HOWELL         NJ   07731   WALGREENS   FW1375256    4,600    4,600    3,400    4,700    4,200    3,800    4,217    25,300

100102141   012109215   WALGREENS #09817   DSD       SANTEE         CA   92071   WALGREENS   FW1376791   14,200   14,800   14,200   11,730   16,000   13,160   14,015    84,090

100102185   012110338   WALGREENS #11654   DSD      SAN DIEGO       CA   92126   WALGREENS   FW1376804   11,300   12,220   11,500   12,800   10,900    9,000   11,287    67,720

100102145   012109223   WALGREENS #11406   DSD       SANTEE         CA   92071   WALGREENS   FW1376816   10,200   13,000   11,400   12,100   17,100    9,600   12,233    73,400

100102442   012111245   WALGREENS #10948   DSD      MURRIETA        CA   92563   WALGREENS   FW1376828   14,700   16,600   15,400   15,700   16,400   11,200   15,000    90,000

100102520   012111427   WALGREENS #10397   DSD      SANTA ANA       CA   92706   WALGREENS   FW1376842   13,800   15,100   14,000   14,200   16,300   12,600   14,333    86,000

100102087   038110056   WALGREENS #10935   DSD       DENVER         CO   80219   WALGREENS   FW1378416    8,700   11,100    9,130    9,700   10,800    5,200    9,105    54,630

100100352   018401935   WALGREENS #12520   DSD     SAN ANTONIO      TX   78205   WALGREENS   FW1380106                      3,100    4,500    6,000    2,000    3,900    15,600

100094914   010229575   WALGREENS #10095   DSD     GREENSBURG       PA   15601   WALGREENS   FW1380118    9,000    6,500    7,300    7,400    4,200    6,530    6,822    40,930

100094501   023137679   WALGREENS #11745   DSD        BRONX         NY   10455   WALGREENS   FW1380120    1,330    1,700    2,500    2,500    3,400    1,600    2,172    13,030

100099579   037131342   WALGREENS #12557   DSD    NEW ORLEANS       LA   70131   WALGREENS   FW1385269             1,000    4,600    6,500    9,600    6,800    5,700    28,500

100094410   041145854   WALGREENS #11338   DSD      ARLINGTON       VA   22201   WALGREENS   FW1387667    1,900     870     2,100    1,120    1,800    1,200    1,498     8,990

100099202   044217992   WALGREENS #12089   DSD       HERRIN         IL   62948   WALGREENS   FW1388013     100    19,300   37,500   39,100   36,500   29,500   27,000   162,000

100068560   026175620   WALGREENS #12466              KAILUA        HI   96734   WALGREENS   FW1388025   14,800   13,800   14,400   13,500   17,400   23,900   16,300    97,800

100097185   040119198   WALGREENS #11102   DSD    SANDY SPRINGS     GA   30328   WALGREENS   FW1393987    2,600    4,100    3,100    3,030    2,490    4,480    3,300    19,800

100100058   018401513   WALGREENS #11515   DSD       DENTON         TX   76210   WALGREENS   FW1394004    8,020   11,880   11,700   12,400    9,600    6,300    9,983    59,900

100095548   055036483   WALGREENS #11667   DSD    ROCKY MOUNT       NC   27804   WALGREENS   FW1394028    5,600    8,860    7,220    8,600    9,300    9,000    8,097    48,580

100103805   046057190   WALGREENS #13600   DSD   WEST PALM BEACH    FL   33417   WALGREENS   FW1394054     500      500     2,300    2,500    4,000    2,300    2,017    12,100

100095074   041149336   WALGREENS #10958   DSD       LIMERICK       PA   19468   WALGREENS   FW1394066    3,000    3,600    2,600    3,700    3,600    2,900    3,233    19,400

100102793   020162552   WALGREENS #02209   DSD        YUMA          AZ   85367   WALGREENS   FW1398343   15,000   12,300   15,160   15,030   23,100   13,600   15,698    94,190

100102550   020161976   WALGREENS #04077   DSD      CHANDLER        AZ   85249   WALGREENS   FW1398393    7,800    7,500    6,200    6,700    7,300    5,400    6,817    40,900

100102732   020162404   WALGREENS #11470   DSD       BUCKEYE        AZ   85326   WALGREENS   FW1398406   11,100   10,800   11,060   11,000   11,500    8,200   10,610    63,660

100070541   032175828   WALGREENS #13016           SPRINGFIELD      OR   97477   WALGREENS   FW1398418    3,500    2,600    2,500    3,800    5,500    2,000    3,317    19,900

100098060   049193276   WALGREENS #10499   DSD      HARTLAND        MI   48353   WALGREENS   FW1398696    8,350   11,060    9,020   12,260   13,000    6,500   10,032    60,190

100098623   025091041   WALGREENS #12592   DSD    FERGUS FALLS      MN   56537   WALGREENS   FW1398711   10,200    8,900   10,700    9,000    9,000    4,400    8,700    52,200

100098231   019170894   WALGREENS #11942   DSD      DUBUQUE         IA   52001   WALGREENS   FW1398723   10,500   10,500   10,500   11,000   10,000    6,500    9,833    59,000

100099870   018399634   WALGREENS #11811   DSD      SHAWNEE         OK   74804   WALGREENS   FW1398761                     12,500   16,500   13,100   16,000   14,525    58,100

100100538   019179143   WALGREENS #12555   DSD      ROCKFORD        IL   61108   WALGREENS   FW1400845   16,000   15,500   15,000   16,000   18,500   15,500   16,083    96,500
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100103393   020164418   WALGREENS #12641     DSD         LAS VEGAS      NV   89117   WALGREENS     FW1400857   17,700   16,900   18,100   18,100   17,200   23,500   18,583   111,500

100101691   038109413   WALGREENS #12864     DSD            ERIE        CO   80516   WALGREENS     FW1400869    8,300    8,400    9,800    7,700    9,600    5,600    8,233    49,400

100098465   019172890   WALGREENS #12019     DSD          APPLETON      WI   54911   WALGREENS     FW1403170    7,900    8,500    7,500    7,000    9,200    6,100    7,700    46,200

100095213   023144022   WALGREENS #12474     DSD          NEW YORK      NY   10019   WALGREENS     FW1403182     400     1,000     600              1,100      -       620      3,100

100099678   018397851   WALGREENS #12306     DSD            MANY        LA   71449   WALGREENS     FW1403194     200      600     4,500   10,500   11,000    7,100    5,650    33,900

100100336   037132779   WALGREENS #11816     DSD           LAREDO       TX   78041   WALGREENS     FW1405681    1,820    1,280    4,580    8,840    6,540    2,500    4,260    25,560

100099381   021170506   WALGREENS #12307     DSD           ROLLA        MO   65401   WALGREENS     FW1405693   13,300   18,200   17,880   20,550   22,200   16,000   18,022   108,130

100068886   040175760   WALGREENS #13641                  ATLANTA       GA   30309   WALGREENS     FW1405718    4,500    5,700    5,000    5,800    4,600    4,500    5,017    30,100

100099922   018400150   WALGREENS #09104     DSD          SHERMAN       TX   75090   WALGREENS     FW1405720   26,300   40,700   41,300   37,000   21,400    8,100   29,133   174,800

100100388   018402297   WALGREENS #11520     DSD         SAN ANTONIO    TX   78249   WALGREENS     FW1405732     500      200     4,700    5,900    7,700    2,500    3,583    21,500

100103584   032149625   WALGREENS #12497     DSD           RENTON       WA   98059   WALGREENS     FW1405756    6,100    5,700    5,400    5,300    5,800    5,600    5,650    33,900

100094451   055033001   WALGREENS #12163     DSD         BATESBURG      SC   29006   WALGREENS     FW1409336    5,100    5,660    5,000    7,500    5,500    5,000    5,627    33,760

100096095   023146837   WALGREENS #12064     DSD          NEWARK        NJ   07103   WALGREENS     FW1413905    1,800    2,400    1,900    2,300    3,400    3,000    2,467    14,800

100101914   024120253   WALGREENS #09029     DSD          TARZANA       CA   91335   WALGREENS     FW1413917    7,600    7,400    8,300    8,190    8,800    9,000    8,215    49,290

100100324   018401778   WALGREENS #12838     DSD           BRYAN        TX   77808   WALGREENS     FW1413981    8,300   18,200   18,100   17,600   11,600   16,100   14,983    89,900

100100441   018402461   WALGREENS #12449     DSD           BURNET       TX   78611   WALGREENS     FW1414022    2,100   13,200   12,900   11,100   10,100    7,500    9,483    56,900

100097744   044217067   WALGREENS #12090     DSD          MAYFIELD      KY   42066   WALGREENS     FW1414058   13,000   12,000   13,500   16,100   14,500   14,000   13,850    83,100

100103687   046055673   WALGREENS #12316     DSD         GAINESVILLE    FL   32609   WALGREENS     FW1414072                      1,600    2,000    8,100    5,000    4,175    16,700

100101685   012108597   WALGREENS #10112     DSD          DOWNEY        CA   90241   WALGREENS     FW1417179    5,800    5,700    5,000    4,030    7,700    3,500    5,288    31,730

100098574   025090563   WALGREENS #11835     DSD        ST LOUIS PARK   MN   55426   WALGREENS     FW1417181    7,200    6,800    6,100    6,600    6,800    4,700    6,367    38,200

100098175   049194134   WALGREENS #12894     DSD        TRAVERSE CITY   MI   49686   WALGREENS     FW1420304   20,300   19,800   19,600   18,700   19,300   12,800   18,417   110,500

100102022   046047522   WALGREENS #10062     DSD          DELTONA       FL   32728   WALGREENS     FW1420366     200              9,000    9,800    9,200    7,700    7,180    35,900

100102223   032148528   WALGREENS #12681     DSD          WASILLA       AK   99654   WALGREENS     FW1422512   38,300   47,900   45,000   39,900   50,900   47,100   44,850   269,100

100097477   052221424   WALGREENS #10918     DSD        JOHNSON CITY    TN   37601   WALGREENS     FW1422524    5,530    6,000    8,030    8,000    7,000    7,000    6,927    41,560

100095573   041150961   WALGREENS #11501     DSD        SEVERNA PARK    MD   21146   WALGREENS     FW1422536    3,300    3,100    3,230    3,130    3,000    2,000    2,960    17,760

100068769   023113001   WELLNESS CENTER PHCY(Z)(GNP)      ASTORIA       NY   11103   INDEPENDENT   FW1425405     200      500                                          350       700

100099095   019178657   WALGREENS #12305     DSD          GENESEO       IL   61254   WALGREENS     FW1425633    8,700   10,100    7,500    9,100    7,500    8,600    8,583    51,500

100097424   044215426   WALGREENS #12273     DSD         SPRING HILL    TN   37174   WALGREENS     FW1429655    9,000    8,100   10,200   10,000   10,000    8,000    9,217    55,300

100103405   008114579   WALGREENS #09516     DSD           GILROY       CA   95020   WALGREENS     FW1436206   17,000   16,200   18,800   19,300   21,800   12,800   17,650   105,900

100068557   018175893   WALGREENS #13073                 FORT WORTH     TX   76104   WALGREENS     FW1436218    1,200    9,600    8,300    9,000    7,600    4,500    6,700    40,200

100103026   046054478   WALGREENS #11992     DSD           COCOA        FL   32927   WALGREENS     FW1436232     200      200     2,700    9,200   12,200    7,500    5,333    32,000

100099820   018399139   WALGREENS #12714     DSD          CATOOSA       OK   74015   WALGREENS     FW1436256     140     9,000   29,700   33,700   33,000   25,500   21,840   131,040

100095034   055035832   WALGREENS #10838     DSD         LAKE WYLIE     SC   29710   WALGREENS     FW1439771    7,900    7,300    5,600    8,500    5,800    5,500    6,767    40,600

100095803   004094185   WALGREENS #11797     DSD          ALLSTON       MA   02134   WALGREENS     FW1439795     700     1,000              500      500      500      640      3,200

100102140   046047886   WALGREENS #11684     DSD          ORLANDO       FL   32807   WALGREENS     FW1444695              200     2,800    3,600    2,700    3,500    2,560    12,800

100096143   041152413   WALGREENS #13754     DSD       POINT PLEASANT   NJ   08742   WALGREENS     FW1444710     620     3,300    2,700    2,400    2,200    2,800    2,337    14,020

100099891   018399840   WALGREENS #12292     DSD           FRISCO       TX   75035   WALGREENS     FW1449417    4,600    6,100    7,200    7,300    6,500    2,500    5,700    34,200

100103502   008115725   WALGREENS #12365     DSD        SACRAMENTO      CA   95823   WALGREENS     FW1450383   13,300   14,400   14,400   15,400   13,900   14,200   14,267    85,600

100103490   008115329   WALGREENS #09532     DSD       RANCHO CORDOVA   CA   95742   WALGREENS     FW1453098   10,300   10,800   10,100    8,200   11,800    7,600    9,800    58,800

100095562   055036541   WALGREENS #12078     DSD          SANFORD       NC   27330   WALGREENS     FW1455523    5,900    6,400    6,020    6,500    8,400    4,100    6,220    37,320

100102791   008112912   WALGREENS #12337     DSD           SELMA        CA   93662   WALGREENS     FW1455888    9,200   14,300   13,800   14,800   13,300   12,400   12,967    77,800

100103675   032151290   WALGREENS #12680     DSD         ANCHORAGE      AK   99515   WALGREENS     FW1455890   10,100   12,870   13,800   13,300   15,000   13,100   13,028    78,170

100102219   032148510   WALGREENS #12679     DSD         ANCHORAGE      AK   99504   WALGREENS     FW1455939   14,600   17,810   15,600   15,600   16,400   14,600   15,768    94,610

100102576   012111583   WALGREENS #10336     DSD           ORANGE       CA   92866   WALGREENS     FW1465930   22,030   24,800   25,100   24,400   30,300   17,900   24,088   144,530
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100102790   046053249   WALGREENS #02085        DSD         SARASOTA           FL   34234    WALGREENS        FW1465954     200               6,300   11,300   11,300    6,500    7,120    35,600

100098586   025090688   WALGREENS #11250        DSD        BLOOMINGTON         MN   55437    WALGREENS        FW1465978    5,800    7,100     5,500    5,100    6,000    4,900    5,733    34,400

100102931   008113266   WALGREENS #11261        DSD          PACIFICA          CA   94044    WALGREENS        FW1465992   17,100   17,800    17,700   19,000   21,300   11,800   17,450   104,700

100103301   020163972   WALGREENS #10808        DSD         SILVER CITY        NM   88061    WALGREENS        FW1466007   14,840   14,000    18,700   17,700   12,000   15,400   15,440    92,640

100096047   004098509   WALGREENS #09477        DSD        MARSHFIELD          MA   02050    WALGREENS        FW1466021    1,900    2,000     2,500    2,000    2,900    1,800    2,183    13,100

100101228   046044982   WALGREENS #10794        DSD           NAPLES           FL   34116    WALGREENS        FW1472505                       2,600    4,900    4,000    5,000    4,125    16,500

100098490   025089706   WALGREENS #12404        DSD          RED WING          MN   55066    WALGREENS        FW1473115    9,600    9,200    10,600   11,100   12,800    8,300   10,267    61,600

100094669   055033381   WALGREENS #12464        DSD          CLAYTON           GA   30525    WALGREENS        FW1475830   11,000   13,100    11,600   12,000    7,500   12,500   11,283    67,700

100094502   023137687   WALGREENS #12309        DSD           BRONX            NY   10469    WALGREENS        FW1475842     600     1,200      600     1,100    1,900     500      983      5,900

100094406   004092494   WALGREENS #11334        DSD          ANGOLA            NY   14006    WALGREENS        FW1475866   12,130   12,230    10,530   12,560   12,500    7,000   11,158    66,950

100099027   019177972   WALGREENS #12304        DSD          CHICAGO           IL   60647    WALGREENS        FW1478709    6,400    8,300     7,100    6,700    8,700    3,700    6,817    40,900

100094902   010229542   WALGREENS #12277        DSD          GRAFTON           WV   26354    WALGREENS        FW1481782    9,590    8,600    10,200   11,200   10,000    9,500    9,848    59,090

100103748   012111708   WALGREENS #12547        DSD           RIALTO           CA   92377    WALGREENS        FW1485499   10,600   10,400     9,600   11,000    6,600    8,500    9,450    56,700

100102048   038110031   WALGREENS #10307        DSD       GRAND JUNCTION       CO   81505    WALGREENS        FW1486922   14,300   15,100    19,200   13,800   15,200   12,800   15,067    90,400

100094381   004092445   WALGREENS #09971        DSD           ALBANY           NY   12208    WALGREENS        FW1486960    6,500    7,500     6,000    6,600    9,000    4,000    6,600    39,600

100096110   004098970   WALGREENS #12959        DSD      NORTH KINGSTOWN       RI   02852    WALGREENS        FW1492824    2,500    3,700     1,500    3,600    2,100    2,900    2,717    16,300

100096221   023147066   WALGREENS #13755        DSD           SUMMIT           NJ   07901    WALGREENS        FW1492874    1,300     100       600      300      600       -       483      2,900

100096004   004098160   WALGREENS #10476        DSD         JOHNSTON           RI   02919    WALGREENS        FW1495147    6,300    8,200     5,500    6,700    9,700    5,500    6,983    41,900

100096164   004099358   *WALGREENS #11633       DSD         RICHMOND           RI   02898    WALGREENS        FW1495161     500      (500)                                          -         -

100094734   010229088   WALGREENS #11812        DSD    CRANBERRY TOWNSHIP      PA   16066    WALGREENS        FW1499739    3,600    3,300     3,600    4,100    3,800    3,100    3,583    21,500

100095545   041150888   WALGREENS #13149        DSD         ROCKVILLE          MD   20854    WALGREENS        FW1500455    3,000    4,270     5,330    3,260    3,400    2,700    3,660    21,960

100096308   055037135   WALGREENS #11564        DSD         INDIAN LAND        SC   29707    WALGREENS        FW1500772    3,500    3,500     4,500    4,100    3,500    3,000    3,683    22,100

100095776   055037093   WALGREENS #12046        DSD        WINTERVILLE         NC   28590    WALGREENS        FW1500809    5,500    5,400     5,000    5,600    7,900    2,200    5,267    31,600

100095800   055037119   WALGREENS #12063        DSD          ZEBULON           NC   27597    WALGREENS        FW1500823   14,790   16,200    15,800   15,500   14,700   13,600   15,098    90,590

100094611   010228502   WALGREENS #12454        DSD        CHARLESTON          WV   25302    WALGREENS        FW1508324   21,300   24,400    20,400   21,600   19,600   17,200   20,750   124,500

100100332   037132753   WALGREENS #12494        DSD        PORT LAVACA         TX   77979    WALGREENS        FW1512296     600      100     14,700   25,900   18,600   22,000   13,650    81,900

100100377   018402180   WALGREENS #11521        DSD        SAN ANTONIO         TX   78230    WALGREENS        FW1512309     100      400      9,300   12,000    8,800   11,800    7,067    42,400

100095576   055036566   WALGREENS #01051        DSD         SHALLOTTE          NC   28470    WALGREENS        FW1515759    7,100    8,200     8,800   10,500   10,700    8,500    8,967    53,800

100098446   025089557   WALGREENS #12545        DSD        EAGLE RIVER         WI   54521    WALGREENS        FW1515761    9,400   12,800    10,100    9,500    9,500    5,500    9,467    56,800

100101987   024120527   WALGREENS #11472        DSD         CHINO HILLS        CA   91709    WALGREENS        FW1515862    5,800    6,000     5,600    6,600    9,400    7,000    6,733    40,400

100099801   018398958   WALGREENS #12833        DSD          LAWTON            OK   73501    WALGREENS        FW1515925             2,500    12,500   12,730   14,500   11,000   10,646    53,230

100101909   038109983   WALGREENS #13131        DSD          GILLETTE          WY   82716    WALGREENS        FW1515937    3,100    3,000     1,700    3,600    4,000    2,100    2,917    17,500

100094538   023138024   WALGREENS #12732        DSD         BROOKLYN           NY   11209    WALGREENS        FW1515951    2,200    2,000     2,100     600     1,800    2,400    1,850    11,100

100094981   004092882   WALGREENS #11841        DSD          HUDSON            NY   12534    WALGREENS        FW1520394    6,600    6,100     6,600    6,600    8,500    3,600    6,333    38,000

100098736   019174003   WALGREENS #07596        DSD          ELBURN            IL   60119    WALGREENS        FW1524479    6,800    6,300     6,500    6,600    8,500    4,300    6,500    39,000

100099529   021171843   WALGREENS #12538        DSD        GRAND ISLAND        NE   68803    WALGREENS        FW1529114   12,000   11,700    11,600   11,700   13,000    6,000   11,000    66,000

100095105   041149427   WALGREENS #11234        DSD         MANASSAS           VA   20109    WALGREENS        FW1529138    5,730    5,700     5,200    7,000    6,700    4,800    5,855    35,130

100102103   008112573   WALGREENS #11226        DSD           RENO             NV   89506    WALGREENS        FW1532539   25,700   28,800    22,400   27,000   32,900   16,600   25,567   153,400

100099434   021171033   WALGREENS #13784        DSD       OVERLAND PARK        KS   66251    WALGREENS        FW1532541     500      500       500     1,500    1,000    1,000     833      5,000

100101958   024120410   WALGREENS #11735        DSD           ENCINO           CA   91436    WALGREENS        FW1532565    4,330    5,800     6,000    7,130    8,000    4,700    5,993    35,960

100101977   012109017   WALGREENS #09533        DSD        WESTMINSTER         CA   92683    WALGREENS        FW1532666   11,000   10,200    11,200   10,200    8,700    9,100   10,067    60,400

100102506   012111393   WALGREENS #12916        DSD   RANCHO SANTA MARGARITA   CA   92688    WALGREENS        FW1532692    7,700    6,300     7,600    8,600    8,900    8,100    7,867    47,200

100103468   008115063   WALGREENS #11705        DSD          MODESTO           CA   95355    WALGREENS        FW1532705   40,600   37,800    38,100   40,300   39,900   25,200   36,983   221,900

100105703   008116368   WALGREENS #11705-340B                MODESTO           CA   95355   PHS 340B CLINIC   FW1532705                        500                                 500       500
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100098220   021169540   WALGREENS #12148     DSD               WAVERLY           IA   50677   WALGREENS     FW1532755    6,000    7,100    5,500    7,000    6,500    1,100    5,533    33,200

100098130   049193771   WALGREENS #12820     DSD              TECUMSEH           MI   49286   WALGREENS     FW1536323   15,500   15,700   14,300   15,400   12,100   11,000   14,000    84,000

100098186   025089383   WALGREENS #12776     DSD              MARQUETTE          MI   49855   WALGREENS     FW1536335   27,600   30,260   27,100   28,700   27,000   19,700   26,727   160,360

100098115   049193730   WALGREENS #12951     DSD             BATTLE CREEK        MI   49037   WALGREENS     FW1536361    3,400    3,400    3,400    4,300    4,600    4,800    3,983    23,900

100102166   017097725   WALGREENS #13011     DSD                PAYSON           UT   84651   WALGREENS     FW1539076    8,600    9,600    9,100   10,100    8,000    7,500    8,817    52,900

100102158   017097691   WALGREENS #10552     DSD                LOGAN            UT   84321   WALGREENS     FW1539141    9,400   10,100    8,200   10,700    9,200    7,500    9,183    55,100

100095544   055036459   WALGREENS #11088     DSD             ROCKINGHAM          NC   28379   WALGREENS     FW1539191   25,600   26,000   22,400   26,400   25,700   16,600   23,783   142,700

100094980   055034371   WALGREENS #12780     DSD               HUDSON            NC   28638   WALGREENS     FW1539228   15,400   13,600   11,700   15,800   13,700   12,000   13,700    82,200

100095049   004093476   WALGREENS #11904     DSD                LE ROY           NY   14482   WALGREENS     FW1539278    7,300    7,700    6,600    8,100   11,100    4,600    7,567    45,400

100102061   017097238   WALGREENS #12294     DSD               DRAPER            UT   84020   WALGREENS     FW1539963    7,500    7,600    8,500    7,600    7,200    5,500    7,317    43,900

100095173   055036103   WALGREENS #11892     DSD             MOORESVILLE         NC   28117   WALGREENS     FW1542807    6,330    6,500    6,000    6,600    5,700    5,600    6,122    36,730

100095710   010233098   WALGREENS #12372     DSD        WASHINGTON COURT HOUSE   OH   43160   WALGREENS     FW1542821    7,400    9,420    8,200   11,500    8,600    7,300    8,737    52,420

100070215   024130666   WILSHIRE LE DOUX MEDICAL PHCY        BEVERLY HILLS       CA   90211   INDEPENDENT   FW1547934              200      100              2,800     200      825      3,300

100098468   019172924   WALGREENS #12693     DSD               APPLETON          WI   54914   WALGREENS     FW1547958   16,000   16,100   16,500   18,000   15,100   18,500   16,700   100,200

100101686   046046532   WALGREENS #11920     DSD                MIAMI            FL   33177   WALGREENS     FW1547972     400      200     1,400    4,300    2,300    4,100    2,117    12,700

100094672   055033415   WALGREENS #11769     DSD               CLEMSON           SC   29631   WALGREENS     FW1549700    7,500    8,710    7,600   10,600   10,800   10,500    9,285    55,710

100098539   025090217   WALGREENS #12434     DSD              EXCELSIOR          MN   55331   WALGREENS     FW1559321    5,100    4,100    5,100    3,500    4,700    2,700    4,200    25,200

100097738   052222505   WALGREENS #12110     DSD                CORBIN           KY   40701   WALGREENS     FW1559383    2,000    5,000    6,500    7,000    6,000    4,000    5,083    30,500

100069593   056175836   WALGREENS #12872                     WYNNEWOOD           PA   19096   WALGREENS     FW1559408     700     2,400     800     1,600    1,600    1,700    1,467     8,800

100095913   004094912   WALGREENS #12120     DSD              EAST HAVEN         CT   06512   WALGREENS     FW1559422    4,600    5,000    3,500    5,000    4,000    3,300    4,233    25,400

100100232   037132373   WALGREENS #11970     DSD              RICHMOND           TX   77406   WALGREENS     FW1564649     640     1,200    6,600    9,500    9,200    8,100    5,873    35,240

100101659   038109314   WALGREENS #11326     DSD                DILLON           CO   80435   WALGREENS     FW1564663    4,300    4,000    6,300    3,700    4,200    1,700    4,033    24,200

100094689   041146548   *WALGREENS #12031    DSD           COLONIAL HEIGHTS      VA   23834   WALGREENS     FW1564675    1,000                                                 1,000     1,000

100099178   044217760   WALGREENS #12744     DSD                 PANA            IL   62557   WALGREENS     FW1564687    2,500   16,400   14,900   17,100   17,000   11,500   13,233    79,400

100095532   041150862   WALGREENS #07605     DSD               ROANOKE           VA   24014   WALGREENS     FW1564702    7,660    6,760    6,790    9,500   15,100    6,000    8,635    51,810

100071722   010175935   WALGREENS #13680                        MARION           OH   43302   WALGREENS     FW1565677    7,500   11,700    7,600    9,500    9,600    7,000    8,817    52,900

100097739   052222513   WALGREENS #12111     DSD                CORBIN           KY   40701   WALGREENS     FW1568394    1,000    7,100    6,100    7,100    7,000    5,000    5,550    33,300

100099499   021171546   WALGREENS #11355     DSD               PAPILLION         NE   68133   WALGREENS     FW1572141    8,900    8,060    9,900    8,260   10,500    8,400    9,003    54,020

100096285   041152652   WALGREENS #12003     DSD              WILDWOOD           NJ   08260   WALGREENS     FW1572153    3,200    4,000    3,100    2,300    3,800    2,600    3,167    19,000

100069449   049178251   *WHEELOCK PHARMACY                      ADRIAN           MI   49221   INDEPENDENT   FW1577595    9,600                                                 9,600     9,600

100087135   003090746   WALGREENS #00328                      RIO GRANDE         PR   00745   WALGREENS     FW1579121              500                                          500       500

100072669   008175877   WALGREENS #13583                    SAN FRANCISCO        CA   94109   WALGREENS     FW1580174   11,800   14,000   12,400   10,900   14,800   12,400   12,717    76,300

100099204   044218016   WALGREENS #12504     DSD              METROPOLIS         IL   62960   WALGREENS     FW1582419     500    27,700   38,730   40,330   31,500   28,000   27,793   166,760

100099200   044217976   WALGREENS #12581     DSD                 ANNA            IL   62906   WALGREENS     FW1582433     100    14,800   24,300   27,400   28,100   19,300   19,000   114,000

100097173   040119073   WALGREENS #02454     DSD               NEWNAN            GA   30265   WALGREENS     FW1582457    7,100    6,000    7,000    6,100    7,500    5,500    6,533    39,200

100102271   012110684   WALGREENS #12332     DSD             APPLE VALLEY        CA   92307   WALGREENS     FW1582483   28,500   28,500   29,600   30,300   39,300   22,500   29,783   178,700

100102037   024120725   WALGREENS #10202     DSD               ONTARIO           CA   91762   WALGREENS     FW1585112   11,500   11,600   12,100   13,100   16,800   18,700   13,967    83,800

100103250   008114041   WALGREENS #12767     DSD               DANVILLE          CA   94526   WALGREENS     FW1585124    5,600    3,900    4,100    5,600    6,400    2,800    4,733    28,400

100102783   008112896   WALGREENS #12298     DSD               REEDLEY           CA   93654   WALGREENS     FW1585136   18,100   18,400   18,000   21,100   20,000   17,600   18,867   113,200

100097183   040119172   WALGREENS #11488     DSD               ATLANTA           GA   30315   WALGREENS     FW1585148    4,200    5,200    5,000    5,100    3,700    3,500    4,450    26,700

100096113   004099010   WALGREENS #11998     DSD             NORTHAMPTON         MA   01060   WALGREENS     FW1585150    2,300    2,100    1,500    1,500    3,000     500     1,817    10,900

100097885   019170019   WALGREENS #12585     DSD              SOUTH BEND         IN   46619   WALGREENS     FW1588194   18,000   18,600   16,200   17,900   21,500   11,300   17,250   103,500

100097828   019169441   WALGREENS #12640     DSD               DEMOTTE           IN   46310   WALGREENS     FW1588207   10,300   12,800   11,100   11,900   11,400   11,500   11,500    69,000

100101975   046047365   WALGREENS #12550     DSD             BOCA RATON          FL   33428   WALGREENS     FW1588219     100      300     2,100    2,800    4,300    3,500    2,183    13,100
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100095713   055036863   WALGREENS #11251   DSD      WAXHAW        NC   28173   WALGREENS   FW1588334    4,300    4,400    3,700    4,000    6,600    3,500    4,417    26,500

100102115   046047829   WALGREENS #11246   DSD    LAND O LAKES    FL   34638   WALGREENS   FW1591824     200      300     1,400    5,300    5,800    7,400    3,400    20,400

100070936   046178012   WALGREENS #13578           SARASOTA       FL   34239   WALGREENS   FW1595632     100      100      100     1,800    2,500    3,000    1,267     7,600

100103053   046054619   WALGREENS #10372   DSD     KISSIMMEE      FL   34746   WALGREENS   FW1595656              100     2,800    2,700    3,100    3,000    2,340    11,700

100098133   049193805   WALGREENS #12893   DSD      LOWELL        MI   49331   WALGREENS   FW1595668   13,100   12,500   11,800   12,700   13,100    8,200   11,900    71,400

100100420   037132985   WALGREENS #12837   DSD       ALAMO        TX   78516   WALGREENS   FW1595682     300      300     2,800    5,300    4,100    1,500    2,383    14,300

100094465   041146217   WALGREENS #12748   DSD       BEL AIR      MD   21014   WALGREENS   FW1599034    2,600    2,800    2,500    3,000    3,000    2,200    2,683    16,100

100099696   018398032   WALGREENS #12384   DSD    HOT SPRINGS     AR   71913   WALGREENS   FW1599046   19,300   22,680   27,100   30,200   25,300   14,500   23,180   139,080

100103725   038110262   WALGREENS #12378   DSD        CODY        WY   82414   WALGREENS   FW1600750   10,900   10,200   11,200   10,500   12,300    6,100   10,200    61,200

100102583   046052209   WALGREENS #12578   DSD       PERRY        FL   32348   WALGREENS   FW1600762     300      600     6,600    8,000   15,600   10,200    6,883    41,300

100097344   052220871   WALGREENS #12879   DSD    MONROEVILLE     AL   36460   WALGREENS   FW1607108   14,160   15,100   10,600   14,600   14,000    8,600   12,843    77,060

100099707   018398131   WALGREENS #12418   DSD     MAUMELLE       AR   72113   WALGREENS   FW1607122    8,860    9,290   10,990   10,490   13,300    8,100   10,172    61,030

100103765   032151316   WALGREENS #12910   DSD     GIG HARBOR     WA   98332   WALGREENS   FW1607146    8,740   12,300    9,500    8,700    9,800    5,500    9,090    54,540

100095651   004093849   WALGREENS #09416   DSD     SYRACUSE       NY   13206   WALGREENS   FW1607160   13,960   13,100   11,240   11,400   11,260    8,200   11,527    69,160

100094935   004092858   WALGREENS #11639   DSD     HALFMOON       NY   12065   WALGREENS   FW1607172    3,100    4,600    3,600    4,100    5,200    3,300    3,983    23,900

100095823   023146266   WALGREENS #11804   DSD    BERGENFIELD     NJ   07621   WALGREENS   FW1607209    2,200    2,700    1,720    1,500    2,460    1,060    1,940    11,640

100094525   023137893   WALGREENS #10441   DSD     BROOKLYN       NY   11223   WALGREENS   FW1611145    1,900    1,700    1,000     700     1,900    1,700    1,483     8,900

100099471   021171264   WALGREENS #12586   DSD    MCPHERSON       KS   67460   WALGREENS   FW1616347    7,000   12,100   11,100   14,500   14,500   11,500   11,783    70,700

100097493   052221580   WALGREENS #13107   DSD    GATLINBURG      TN   37738   WALGREENS   FW1616359    3,500    2,000    2,500    3,000    3,000    1,500    2,583    15,500

100100451   018402560   WALGREENS #12517   DSD        KYLE        TX   78640   WALGREENS   FW1616361    5,500   26,100   25,700   23,400   19,800   12,700   18,867   113,200

100100419   037132977   WALGREENS #12859   DSD      MCALLEN       TX   78504   WALGREENS   FW1616385              900     2,700    2,300    2,600    1,500    2,000    10,000

100099436   021171058   WALGREENS #12814   DSD     MANHATTAN      KS   66502   WALGREENS   FW1618808    3,500    5,500    4,000    6,500    7,000    6,500    5,500    33,000

100094812   010229302   WALGREENS #12832   DSD    ENGLEWOOD       OH   45322   WALGREENS   FW1618810    6,200    6,100    7,900    7,600    7,300    4,800    6,650    39,900

100095486   004093724   WALGREENS #11961   DSD   POUGHKEEPSIE     NY   12603   WALGREENS   FW1618822    4,800    5,900    5,100    5,700    6,500    4,800    5,467    32,800

100094584   055033092   WALGREENS #12953   DSD      CANTON        NC   28716   WALGREENS   FW1623847    3,800    3,700    5,200    5,000    5,300    3,200    4,367    26,200

100099338   021170076   WALGREENS #12925   DSD     PLATTE CITY    MO   64079   WALGREENS   FW1623859    2,000    9,000   10,500   10,100   12,000    8,600    8,700    52,200

100095609   041151027   WALGREENS #12800   DSD    SPRINGFIELD     VA   22152   WALGREENS   FW1626538    2,500    1,800    1,500    2,100    2,900    1,400    2,033    12,200

100102121   012109165   WALGREENS #11990   DSD      LAKESIDE      CA   92040   WALGREENS   FW1627922   19,700   17,100   18,600   21,100   20,700   16,900   19,017   114,100

100101894   024120204   WALGREENS #07992   DSD   THOUSAND OAKS    CA   91320   WALGREENS   FW1627946    8,360   10,300    8,300    9,700   11,800    6,900    9,227    55,360

100094717   010229021   WALGREENS #13007   DSD     COLUMBUS       OH   43240   WALGREENS   FW1627958    3,900    3,300    3,000    3,520    5,100    3,800    3,770    22,620

100103298   020163956   WALGREENS #11458   DSD     LAS CRUCES     NM   88011   WALGREENS   FW1627960    9,600    7,800    8,730    9,900   12,200    9,400    9,605    57,630

100094638   010228528   WALGREENS #11294   DSD    CHILLICOTHE     OH   45601   WALGREENS   FW1630272    7,200    7,400    8,000    7,800    7,200    9,500    7,850    47,100

100099925   018400184   WALGREENS #12907   DSD       PLANO        TX   75093   WALGREENS   FW1630284    7,000    9,300    7,720    9,900    7,400    6,000    7,887    47,320

100097513   052221788   WALGREENS #12448   DSD     SEVIERVILLE    TN   37862   WALGREENS   FW1630296   17,500   16,500   19,600   15,700   12,500   15,400   16,200    97,200

100102283   012110767   WALGREENS #10366   DSD      CALIMESA      CA   92320   WALGREENS   FW1632808   30,400   33,830   31,400   37,530   27,700   31,500   32,060   192,360

100102859   008113084   WALGREENS #12281   DSD      FRESNO        CA   93727   WALGREENS   FW1632822    8,400   11,100   11,900   11,600   11,000    6,900   10,150    60,900

100099756   018398503   WALGREENS #12912   DSD    GREENWOOD       AR   72936   WALGREENS   FW1632846    8,700   11,400   12,700   15,000    9,200    8,700   10,950    65,700

100095987   004098095   WALGREENS #11120   DSD      HOLDEN        MA   01520   WALGREENS   FW1632858    1,430    2,960    1,930    2,390    4,000    1,260    2,328    13,970

100099581   037131367   WALGREENS #12626   DSD     THIBODAUX      LA   70301   WALGREENS   FW1632860     200     1,300    7,500   13,500   14,700   12,400    8,267    49,600

100102787   008112904   WALGREENS #12282   DSD      SANGER        CA   93657   WALGREENS   FW1641453   16,300   18,500   18,300   17,700   19,000   10,800   16,767   100,600

100097717   044216838   WALGREENS #11664   DSD     LOUISVILLE     KY   40216   WALGREENS   FW1641465    4,500   24,500   25,500   29,500   20,000   26,500   21,750   130,500

100099428   021170977   WALGREENS #11924   DSD      SHAWNEE       KS   66214   WALGREENS   FW1641477    1,600    8,100    6,600    8,500   11,500    5,200    6,917    41,500

100094739   010229120   WALGREENS #12543   DSD   CUYAHOGA FALLS   OH   44221   WALGREENS   FW1641489    5,400    7,200    6,200    7,000    9,100    4,900    6,633    39,800

100099361   021170308   WALGREENS #12778   DSD   HARRISONVILLE    MO   64701   WALGREENS   FW1641491    3,400   15,800   16,300   20,800   16,800   16,700   14,967    89,800
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100102191   046049403   WALGREENS #12317    DSD             GROVELAND        FL   34736   WALGREENS     FW1641504     300       100      9,080   10,480    9,960    7,000    6,153     36,920

100094639   010228536   WALGREENS #12957    DSD            CHILLICOTHE       OH   45601   WALGREENS     FW1645437    5,730     4,900     6,900    6,800    6,100    3,700    5,688     34,130

100100507   018403121   WALGREENS #13124    DSD              AMARILLO        TX   79109   WALGREENS     FW1645449    1,600    11,600    13,900   18,500   14,600    9,000   11,533     69,200

100095044   010231761   WALGREENS #10549    DSD              LATROBE         PA   15650   WALGREENS     FW1646388    5,400     4,100     5,000    5,000    5,300    4,900    4,950     29,700

100103072   020163238   WALGREENS #12385    DSD            CAMP VERDE        AZ   86322   WALGREENS     FW1648104   14,700    15,000    17,700   12,200   18,400   14,600   15,433     92,600

100099168   044217729   WALGREENS #10205    DSD               TROY           IL   62294   WALGREENS     FW1648116     600     14,900    16,200   16,900   20,200   11,400   13,367     80,200

100100500   018403055   WALGREENS #13010    DSD              AMARILLO        TX   79103   WALGREENS     FW1648128     700     19,200    20,500   20,700   16,100   11,300   14,750     88,500

100100387   018402289   WALGREENS #12519    DSD            SAN ANTONIO       TX   78248   WALGREENS     FW1649877                80      3,000    5,100    5,300    3,000    3,296     16,480

100094724   055033597   WALGREENS #11266    DSD             CORNELIUS        NC   28031   WALGREENS     FW1649889    3,000     4,630     4,130    3,200    5,600    2,000    3,760     22,560

100099604   037131599   WALGREENS #13134    DSD             LAFAYETTE        LA   70503   WALGREENS     FW1649891     300       300      6,440   11,000   12,600    8,000    6,440     38,640

100102965   046054122   WALGREENS #13117    DSD          LAKE BUENA VISTA    FL   32830   WALGREENS     FW1652254    1,000               4,800    6,100    6,300    6,800    5,000     25,000

100099976   018400697   WALGREENS #12293    DSD          MOUNT PLEASANT      TX   75455   WALGREENS     FW1652266    8,200    18,900    17,600   17,800   16,300    7,100   14,317     85,900

100095428   055036293   WALGREENS #12630    DSD              OXFORD          NC   27565   WALGREENS     FW1652305    8,200     7,300     8,800    8,800   11,600    5,200    8,317     49,900

100099530   021171850   EMPLOYERS HEALTH CARE PHCY         GRAND ISLAND      NE   68803   WALGREENS     FW1652381    3,000     3,000     4,500    4,000    6,000     500     3,500     21,000

100069004   024164772   WESTSIDE PHARMACY                  LOS ANGELES       CA   90025   INDEPENDENT   FW1655034    3,000     2,100     1,500    5,000    5,400             3,400     17,000

100096267   023147173   WALGREENS #11507    DSD            WEST MILFORD      NJ   07480   WALGREENS     FW1655503    1,900     1,800     2,300    2,160    3,500    1,400    2,177     13,060

100094913   055034033   WALGREENS #12283    DSD            GREENSBORO        NC   27408   WALGREENS     FW1658206   16,620    17,420    13,300   16,200   18,300   10,000   15,307     91,840

100069848   026175638   WALGREENS #11192                     LAHAINA         HI   96761   WALGREENS     FW1658218   16,700    17,000    14,500   17,100   10,600   10,300   14,367     86,200

100102095   046047753   WALGREENS #10972    DSD            JACKSONVILLE      FL   32256   WALGREENS     FW1661924     200       200      3,500    9,200   10,600    9,600    5,550     33,300

100101959   046047316   WALGREENS #09044    DSD         PALM BEACH GARDENS   FL   33418   WALGREENS     FW1661950     300       200      1,830    4,190    2,600    5,400    2,420     14,520

100068218   008175695   *WALGREENS #13640                 SAN FRANCISCO      CA   94143   WALGREENS     FW1661962    4,100     3,000     1,000                               2,700      8,100

100103209   020163584   WALGREENS #12407    DSD            ALBUQUERQUE       NM   87114   WALGREENS     FW1665415    7,600     7,100     7,100    6,000    8,000    6,600    7,067     42,400

100099813   018399063   WALGREENS #13059    DSD               BIXBY          OK   74008   WALGREENS     FW1665439    1,720     8,700    25,200   26,330   29,600   17,300   18,142    108,850

100098107   019170647   WALGREENS #12849    DSD             KALAMAZOO        MI   49009   WALGREENS     FW1666619   19,700    18,500    18,000   18,200   14,300   13,500   17,033    102,200

100097238   040119669   WALGREENS #10506    DSD           RICHMOND HILL      GA   31324   WALGREENS     FW1666621    6,500     8,100    10,000    9,000    6,000    8,500    8,017     48,100

100102601   024120857   WALGREENS #07449    DSD              OXNARD          CA   93030   WALGREENS     FW1668500   13,600    12,900    11,700   13,900   17,200    8,500   12,967     77,800

100102734   024121152   WALGREENS #07343    DSD             LANCASTER        CA   93536   WALGREENS     FW1668512   16,600    14,700    15,700   18,500   25,600   21,700   18,800    112,800

100095820   004094292   WALGREENS #12589    DSD            BELLINGHAM        MA   02019   WALGREENS     FW1668524    3,700     4,400     2,200    4,200    4,100    1,800    3,400     20,400

100097504   052221697   WALGREENS #12858    DSD            MORRISTOWN        TN   37814   WALGREENS     FW1670202   14,700    15,100    13,600   15,000   16,600    9,500   14,083     84,500

100095204   023143933   *WALGREENS #10753   DSD           NEW ROCHELLE       NY   10801   WALGREENS     FW1672408     200       (330)                                          (65)      (130)

100094537   023138016   WALGREENS #12541    DSD             BROOKLYN         NY   11236   WALGREENS     FW1672410    2,200     1,600     1,100     100     1,600    1,600    1,367      8,200

100095621   023145979   WALGREENS #10475    DSD           STATEN ISLAND      NY   10305   WALGREENS     FW1672422    3,400     2,400     3,200    2,200    4,000    2,900    3,017     18,100

100099411   021170803   WALGREENS #12923    DSD            LEAVENWORTH       KS   66048   WALGREENS     FW1672434    3,500    13,600    13,700   14,900   14,000   15,200   12,483     74,900

100071124   037140145   WOMEN'S & CHLDRNS HOSP   #712       LAFAYETTE        LA   70508    HOSPITAL     FW1674755     500       400       400      800      280      400      463       2,780

100094959   055034264   WALGREENS #12484    DSD              HICKORY         NC   28602   WALGREENS     FW1674844   14,620    13,080    10,500   14,500   16,500    9,000   13,033     78,200

100097216   052220137   WALGREENS #12921    DSD           FT OGLETHORPE      GA   30742   WALGREENS     FW1676824   16,630    18,130    15,060   17,230   19,000   15,000   16,842    101,050

100099416   021170852   WALGREENS #12815    DSD              OLATHE          KS   66062   WALGREENS     FW1676836    2,600     8,400    11,100    7,600   11,700    6,700    8,017     48,100

100102843   008113043   WALGREENS #11877    DSD              FRESNO          CA   93722   WALGREENS     FW1679034   13,200    14,100    13,900   13,300   19,800    6,700   13,500     81,000

100103100   046054858   WALGREENS #11921    DSD            WINDERMERE        FL   34786   WALGREENS     FW1680835      (80)     300      2,600    2,800    3,800    1,800    1,870     11,220

100099356   021170258   WALGREENS #12821    DSD             MARYVILLE        MO   64468   WALGREENS     FW1680847    3,100     7,500    10,100   13,500   13,500    9,600    9,550     57,300

100102721   024121129   WALGREENS #10692    DSD             LANCASTER        CA   93534   WALGREENS     FW1680859   27,900    26,600    24,700   30,100   38,700   28,400   29,400    176,400

100097210   040119446   WALGREENS #12726    DSD              WINDER          GA   30680   WALGREENS     FW1680861   22,830    20,800    21,000   23,200   21,600   20,600   21,672    130,030

100097059   040117945   WALGREENS #12635    DSD            JOHNS ISLAND      SC   29455   WALGREENS     FW1680873    6,000     5,900     5,600    7,800    7,500    5,500    6,383     38,300

100095921   041151944   WALGREENS #09932    DSD               EDISON         NJ   08817   WALGREENS     FW1680897    1,600     1,200     2,100    1,500    2,500    1,800    1,783     10,700
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100097487   052221523   WALGREENS #12934    DSD       KINGSPORT         TN   37660   WALGREENS   FW1683590   13,000    16,300   17,200   16,720   14,500   15,000   15,453    92,720

100097242   040119701   WALGREENS #12946    DSD        SAVANNAH         GA   31405   WALGREENS   FW1683603    6,700     6,500    6,600    6,500    7,000    6,000    6,550    39,300

100094780   055033738   WALGREENS #12728    DSD        DURHAM           NC   27713   WALGREENS   FW1683627    2,600     2,500    3,000    3,700    1,000    2,000    2,467    14,800

100102180   017097840   WALGREENS #12286    DSD       TWIN FALLS        ID   83301   WALGREENS   FW1690444   12,000    13,400   12,200   15,000   16,200   14,500   13,883    83,300

100103555   032149344   WALGREENS #12491    DSD         EUGENE          OR   97404   WALGREENS   FW1690456   16,500    19,010   16,530   18,660   21,000   14,100   17,633   105,800

100094419   055032979   WALGREENS #12779    DSD        ASHEVILLE        NC   28806   WALGREENS   FW1690468   10,300    13,200   12,500   12,600   11,200   12,200   12,000    72,000

100103661   032151126   WALGREENS #12053    DSD         YAKIMA          WA   98908   WALGREENS   FW1690470   15,000    14,500   13,600   14,520   16,500    8,000   13,687    82,120

100097241   040119693   WALGREENS #10635    DSD        SAVANNAH         GA   31405   WALGREENS   FW1690482    6,700     5,500    6,600    7,700    7,800    5,500    6,633    39,800

100097200   040119347   WALGREENS #12944    DSD        BALDWIN          GA   30511   WALGREENS   FW1690494    4,700     5,100    6,100    5,000    5,100    3,500    4,917    29,500

100097143   040118786   WALGREENS #12945    DSD       CARROLLTON        GA   30117   WALGREENS   FW1690507   10,000    12,000   10,000   11,500   11,500    7,000   10,333    62,000

100103759   046056143   WALGREENS #10742    DSD   GOLDEN GATE ESTATES   FL   34120   WALGREENS   FW1690519     (100)     200     4,900    8,600    7,800    5,200    4,433    26,600

100097204   040119388   WALGREENS #12811    DSD    FLOWERY BRANCH       GA   30542   WALGREENS   FW1690521    6,480     6,200    6,500    7,600    7,500    5,500    6,630    39,780

100096224   004099804   WALGREENS #12399    DSD        TAUNTON          MA   02780   WALGREENS   FW1690545    2,500     2,600    2,500    1,700    3,600    2,700    2,600    15,600

100096006   004098186   WALGREENS #10409    DSD        LACONIA          NH   03246   WALGREENS   FW1690571    6,400     5,500    3,000    5,200    6,200    3,900    5,033    30,200

100103593   032149716   WALGREENS #11856    DSD        SEATTLE          WA   98109   WALGREENS   FW1692587    2,500     2,600    2,100    2,600    3,700    2,000    2,583    15,500

100103619   032149971   WALGREENS #12168    DSD       BREMERTON         WA   98312   WALGREENS   FW1692602    4,600     5,500    5,200    5,700    5,600    3,600    5,033    30,200

100102036   032148346   WALGREENS #10314    DSD         HAYDEN          ID   83835   WALGREENS   FW1697676   16,500    15,000   15,700   15,000   17,600   10,100   14,983    89,900

100102639   046052464   WALGREENS #12300    DSD         MILTON          FL   32570   WALGREENS   FW1698135     980      1,920   17,020   28,400   29,700   17,700   15,953    95,720

100101878   024120162   WALGREENS #01606    DSD      LA CRESCENTA       CA   91214   WALGREENS   FW1698147    8,300     9,500    6,600    9,230   10,200    7,400    8,538    51,230

100098439   019172700   WALGREENS #13066    DSD       MARSHFIELD        WI   54449   WALGREENS   FW1698159   10,300    10,000   12,100   12,500   11,000    9,000   10,817    64,900

100100535   044219311   WALGREENS #11665    DSD       LOUISVILLE        KY   40219   WALGREENS   FW1698185    5,500    20,500   19,700   25,100   24,200   16,500   18,583   111,500

100067507   056175943   WALGREENS #12097            NEW BRUNSWICK       NJ   08903   WALGREENS   FW1698200     800      1,900    1,800    1,200    1,200    1,400    1,383     8,300

100099555   037131102   WALGREENS #13586    DSD         MERAUX          LA   70075   WALGREENS   FW1698212     700      1,580   11,800   17,800   20,200   15,000   11,180    67,080

100095793   041151688   WALGREENS #10453    DSD       YORKTOWN          VA   23693   WALGREENS   FW1699822    5,030     5,100    3,700    4,200    4,700    4,200    4,488    26,930

100099068   019178384   WALGREENS #12468    DSD        KANKAKEE         IL   60901   WALGREENS   FW1699834   24,400    25,100   25,500   24,900   25,200   22,100   24,533   147,200

100095043   041149245   WALGREENS #10943    DSD        LANSDALE         PA   19446   WALGREENS   FW1699846    1,700     2,000    1,000    1,200    2,000    1,700    1,600     9,600

100095501   055036384   WALGREENS #12730    DSD        RALEIGH          NC   27614   WALGREENS   FW1701932    7,100     7,300    7,310    6,590    7,500    5,760    6,927    41,560

100103721   046056077   WALGREENS #09170    DSD       NORTH PORT        FL   34287   WALGREENS   FW1701944     (500)     600     4,300    5,700    7,400    6,900    4,067    24,400

100094779   055033720   WALGREENS #11894    DSD        DURHAM           NC   27707   WALGREENS   FW1701956    2,000     2,600    1,600    1,600    2,100    2,000    1,983    11,900

100103613   032149914   WALGREENS #12933    DSD      LAKE STEVENS       WA   98258   WALGREENS   FW1701968    9,700    11,100   10,500   10,100   11,400    7,000    9,967    59,800

100099550   037131052   WALGREENS #12924    DSD         KENNER          LA   70065   WALGREENS   FW1701982      30      1,200    6,800    8,200   10,400    8,300    5,822    34,930

100094884   010229518   WALGREENS #12075    DSD      GEORGETOWN         KY   40324   WALGREENS   FW1704370    2,000    10,500   11,500   13,000   16,000   11,400   10,733    64,400

100103153   020163436   WALGREENS #12004    DSD      ALBUQUERQUE        NM   87122   WALGREENS   FW1704457    7,700     6,700    6,000    6,600    7,800    2,800    6,267    37,600

100102430   012111203   *WALGREENS #11475   DSD        MURRIETA         CA   92562   WALGREENS   FW1706514    5,600     1,500                                        3,550     7,100

100100265   037132605   WALGREENS #13062    DSD          KATY           TX   77494   WALGREENS   FW1706526     300       180     8,900    9,700    7,100    4,200    5,063    30,380

100094474   010228304   WALGREENS #11296    DSD      BETHEL PARK        PA   15102   WALGREENS   FW1708140    3,300     3,200    1,500    2,000    4,500    2,700    2,867    17,200

100101681   024120006   WALGREENS #12419    DSD      LOS ANGELES        CA   90064   WALGREENS   FW1708164    5,500     4,200    5,000    4,600    7,400    4,200    5,150    30,900

100067785   032175687   WALGREENS #13768                PASCO           WA   99301   WALGREENS   FW1709255    8,500     9,200   10,000    9,500    8,000    8,500    8,950    53,700

100067786   032175695   WALGREENS #13769               SPOKANE          WA   99202   WALGREENS   FW1709279    9,500    10,500   11,500    9,500   13,000   11,000   10,833    65,000

100102211   046049478   WALGREENS #12577    DSD          LUTZ           FL   33559   WALGREENS   FW1710359                        100     3,800    8,000    4,700    4,150    16,600

100094736   010229104   WALGREENS #11750    DSD      CROSS LANES        WV   25313   WALGREENS   FW1710361    8,600     8,300    8,600    8,600   11,900    7,400    8,900    53,400

100095465   010232579   WALGREENS #12008    DSD      PICKERINGTON       OH   43147   WALGREENS   FW1710373    5,200     6,500    5,700    6,000    7,900    5,100    6,067    36,400

100094580   023138339   WALGREENS #13787    DSD        CAMP HILL        PA   17011   WALGREENS   FW1710385    1,000     1,000              500      500       -       600      3,000

100102119   008112599   WALGREENS #11262    DSD      SACRAMENTO         CA   95815   WALGREENS   FW1712454   13,700    12,200   12,200   13,500   17,000   13,000   13,600    81,600
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100099240   044218370   WALGREENS #11711      DSD         SAINT LOUIS     MO   63104    WALGREENS        FW1712567     200     7,200   10,500    10,600   11,700    5,100    7,550    45,300

100095880   041151878   WALGREENS #12593      DSD          COLONIA        NJ   07067    WALGREENS        FW1712579    1,990    3,500    2,900     3,190    3,300    3,500    3,063    18,380

100095401   010232421   WALGREENS #09802      DSD      NORTH HUNTINGDON   PA   15642    WALGREENS        FW1718557    2,730    5,300    4,300     5,900    5,600    3,600    4,572    27,430

100099363   021170324   WALGREENS #12713      DSD           JOPLIN        MO   64801    WALGREENS        FW1718608   18,700   28,800   33,800    39,400   30,200   29,000   29,983   179,900

100096050   004098525   *WALGREENS #12323     DSD          MAYNARD        MA   01754    WALGREENS        FW1718658     600      600      (100)                                367      1,100

100094904   004092833   WALGREENS #12066      DSD        GRAND ISLAND     NY   14072    WALGREENS        FW1718660    9,000    9,600    9,000     8,000   12,200    7,000    9,133    54,800

100099138   019179036   WALGREENS #12868      DSD          MAHOMET        IL   61853    WALGREENS        FW1719953    4,000   16,200   18,000    18,600   15,200   12,000   14,000    84,000

100097735   044217018   WALGREENS #10560      DSD         LOUISVILLE      KY   40291    WALGREENS        FW1719965    3,500   13,300   13,000    16,600   13,600   13,500   12,250    73,500

100094833   055033803   WALGREENS #11691      DSD        FAYETTEVILLE     NC   28301    WALGREENS        FW1719977    5,100    5,700    3,700     6,340    5,500    4,100    5,073    30,440

100108688   055044305   WALGREENS #11691 (340B)          FAYETTEVILLE     NC   28301   PHS 340B CLINIC   FW1719977     500     1,000                       1,100              867      2,600

100095169   055036087   WALGREENS #11692      DSD          MONROE         NC   28112    WALGREENS        FW1719989   19,800   18,710   15,930    21,550   20,400   18,700   19,182   115,090

100097067   040118026   WALGREENS #12795      DSD           AIKEN         SC   29801    WALGREENS        FW1722227    7,990    8,630    7,400    10,400    9,500    7,500    8,570    51,420

100075263   025175893   WALGREENS #11834                  ROCHESTER       MN   55902    WALGREENS        FW1724613    5,300    5,500    4,500     5,900    7,400    3,600    5,367    32,200

100095382   041149781   WALGREENS #10140      DSD       NEWPORT NEWS      VA   23608    WALGREENS        FW1726225    7,300    8,700    5,700     6,400    5,800    5,300    6,533    39,200

100095982   041152124   WALGREENS #12564      DSD       HILLSBOROUGH      NJ   08844    WALGREENS        FW1726237    3,100    2,800    3,600     2,200    3,900    3,630    3,205    19,230

100103280   020163832   WALGREENS #12751      DSD            TAOS         NM   87571    WALGREENS        FW1729372   20,700   23,600   19,200    19,700   21,100   12,500   19,467   116,800

100099744   018398388   WALGREENS #12500      DSD          ROGERS         AR   72758    WALGREENS        FW1729384     600     3,900    9,200    11,300   10,000    8,600    7,267    43,600

100095882   004094664   WALGREENS #11919      DSD         COVENTRY        CT   06238    WALGREENS        FW1729396    2,300    2,700    2,060     2,700    3,500    2,400    2,610    15,660

100102101   012109108   WALGREENS #11653      DSD         ENCINITAS       CA   92024    WALGREENS        FW1731872   10,400   11,700   11,900    12,700   11,100   10,700   11,417    68,500

100095070   055035915   WALGREENS #12512      DSD         LEXINGTON       SC   29072    WALGREENS        FW1733864    4,900    6,300    5,630     6,220    4,300    6,600    5,658    33,950

100095089   010231951   WALGREENS #11697      DSD       LOWER BURRELL     PA   15068    WALGREENS        FW1733876    5,600    6,000    6,000     5,500    6,100    4,600    5,633    33,800

100095846   041151803   WALGREENS #07744      DSD         BRIDGETON       NJ   08302    WALGREENS        FW1733888    2,600    3,700    4,300     4,200    3,500    3,500    3,633    21,800

100095894   004094763   WALGREENS #12058      DSD          DAYVILLE       CT   06241    WALGREENS        FW1735274    2,860    3,900    2,800     4,100    4,500    3,300    3,577    21,460

100095473   010232645   WALGREENS #13788      DSD         PITTSBURGH      PA   15222    WALGREENS        FW1736428     100               500       100                        233       700

100101607   038109181   WALGREENS #10118      DSD         THORNTON        CO   80229    WALGREENS        FW1736430    3,860    4,890    4,160     5,120    5,300    4,400    4,622    27,730

100096203   041152538   WALGREENS #13723      DSD      SOUTH PLAINFIELD   NJ   07080    WALGREENS        FW1738915     400     1,300    1,900      700      800      300      900      5,400

100096011   004098251   WALGREENS #10642      DSD            LEE          NH   03861    WALGREENS        FW1743156    3,250    4,000    3,360     3,400    4,100    1,700    3,302    19,810

100068791   038175695   WALGREENS #13100                   DENVER         CO   80218    WALGREENS        FW1746912    4,800    4,300    5,200     5,000    8,500    5,500    5,550    33,300

100094773   055033688   WALGREENS #12447      DSD          DUNCAN         SC   29334    WALGREENS        FW1746936   17,200   18,700   17,200    20,980   17,700   18,200   18,330   109,980

100094609   055033209   WALGREENS #11423      DSD         CHAPEL HILL     NC   27514    WALGREENS        FW1759779    1,000    1,500     500      1,500     500       -       833      5,000

100097823   019169391   *WALGREENS #12948     DSD        CHESTERTON       IN   46304    WALGREENS        FW1761407   10,300   12,000    9,800    10,700   13,200    6,800   10,467    62,800

100067973   019176107   WALGREENS #13591                    ELGIN         IL   60123    WALGREENS        FW1764530    6,300    7,200    6,000     6,600    7,500    6,100    6,617    39,700

100075077   049175752   WOODPOINTE PHARMACY CORP CPA     GRAND RAPIDS     MI   49546    INDEPENDENT      FW1769213    4,100    1,500    1,900     3,600    2,500    2,000    2,600    15,600

100099510   021171652   WALGREENS #12854      DSD       NEBRASKA CITY     NE   68410    WALGREENS        FW1775800    9,800   10,000    9,000     9,900   10,100    8,500    9,550    57,300

100075051   038175869   *WALGREENS #15145                  DENVER         CO   80218    WALGREENS        FW1775812    1,700    2,200     (700)                               1,067     3,200

100087183   003091835   WALGREENS #11231                   TOA BAJA       PR   00949    WALGREENS        FW1775824              100      100       100                        100       300

100098611   025090928   WALGREENS #12972      DSD        NEW PRAGUE       MN   56071    WALGREENS        FW1776888    6,700    3,700    6,600     5,500    5,500    4,500    5,417    32,500

100095678   041151175   WALGREENS #13589      DSD           VIENNA        VA   22180    WALGREENS        FW1778298    2,100    2,800    3,000     2,300    2,500    3,200    2,650    15,900

100098297   019171413   WALGREENS #12413      DSD          KENOSHA        WI   53143    WALGREENS        FW1779810   17,400   20,700   18,400    18,200   18,200   15,400   18,050   108,300

100103056   008113571   WALGREENS #09886      DSD       SAN FRANCISCO     CA   94110    WALGREENS        FW1784885    9,200    8,600    7,600     9,600    7,800    6,800    8,267    49,600

100099565   037131201   WALGREENS #10316      DSD        NEW ORLEANS      LA   70119    WALGREENS        FW1784897    1,300    2,600    7,600    16,700   14,900    8,400    8,583    51,500

100097333   052220806   WALGREENS #13158      DSD        MONTGOMERY       AL   36116    WALGREENS        FW1794925    9,600    9,100   11,200    11,700    7,700    9,500    9,800    58,800

100095417   010232488   WALGREENS #12266      DSD          OAKLAND        MD   21550    WALGREENS        FW1794937   12,100   11,700   11,600    12,100   10,300    8,700   11,083    66,500

100102195   008112672   WALGREENS #12458      DSD           CHICO         CA   95926    WALGREENS        FW1796284   25,800   28,300   25,600    28,000   38,700   19,700   27,683   166,100
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100087182   003091785   WALGREENS #10825           COTO LAUREL     PR   00780   WALGREENS   FW1796296              100               200                        150       300

100075057   046175968   WALGREENS #13630              LARGO        FL   33770   WALGREENS   FW1798606     500               500     5,700    5,200    5,200    3,420    17,100

100103318   020164079   WALGREENS #12793    DSD       HOBBS        NM   88240   WALGREENS   FW1798618   38,800   34,500   29,000   36,800   33,800   15,100   31,333   188,000

100098309   019171538   WALGREENS #12021    DSD       WALES        WI   53183   WALGREENS   FW1800134    8,300    7,800    7,200    9,900    9,200    6,000    8,067    48,400

100095727   023146084   WALGREENS #12082    DSD     WESTBURY       NY   11590   WALGREENS   FW1800158    1,260    1,400     500      500     1,800     500      993      5,960

100095622   023145987   *WALGREENS #11845   DSD   STATEN ISLAND    NY   10314   WALGREENS   FW1800172     600                                                   600       600

100098261   019171058   WALGREENS #13065    DSD      CHILTON       WI   53014   WALGREENS   FW1802215    4,100    4,600    3,600    4,700    5,700    4,500    4,533    27,200

100094951   055034223   WALGREENS #09930    DSD   HENDERSONVILLE   NC   28792   WALGREENS   FW1802227    7,860    8,890    7,600    8,630    7,700    7,200    7,980    47,880

100095697   055036830   WALGREENS #12562    DSD    WALKERTOWN      NC   27051   WALGREENS   FW1804788    6,500    7,900    7,400    7,200    9,500    8,200    7,783    46,700

100095067   055035881   WALGREENS #12437    DSD     LEXINGTON      NC   27292   WALGREENS   FW1804790   20,600   24,240   22,200   24,000   21,000   17,300   21,557   129,340

100067811   037175901   WALGREENS #13778             HOUSTON       TX   77030   WALGREENS   FW1807291     300      400     5,100    6,400   10,900    8,500    5,267    31,600

100095475   004093682   WALGREENS #11378    DSD    PLATTSBURGH     NY   12901   WALGREENS   FW1808495    5,100    8,000    5,000    7,000    7,000    4,100    6,033    36,200

100100315   038108530   WALGREENS #11522    DSD      SILSBEE       TX   77656   WALGREENS   FW1812913    1,040     500    12,600   22,300   12,700    9,000    9,690    58,140

100096215   023147033   WALGREENS #11620    DSD     STAMFORD       CT   06905   WALGREENS   FW1814359    3,900    4,200    4,100    3,700    5,700    4,100    4,283    25,700

100096191   004099549   WALGREENS #13883    DSD     SHERBORN       MA   01770   WALGREENS   FW1815200    1,300    1,700    1,000    1,100    1,000     900     1,167     7,000

100096044   004098475   WALGREENS #13807    DSD    MARBLEHEAD      MA   01945   WALGREENS   FW1815313     600     1,600    1,600    1,500    1,100    1,500    1,317     7,900

100095902   004094821   WALGREENS #13806    DSD    DORCHESTER      MA   02125   WALGREENS   FW1815351     500     1,100    1,000    1,100     600       -       717      4,300

100096277   004100560   WALGREENS #13805    DSD      WESTON        MA   02493   WALGREENS   FW1815363    2,200    1,700    1,000    1,000    1,000    1,600    1,417     8,500

100096322   004100834   WALGREENS #13804    DSD     WELLESLEY      MA   02481   WALGREENS   FW1815387    2,100    1,970    1,800    1,300    1,300    1,300    1,628     9,770

100096293   004100719   WALGREENS #13803    DSD      WOBURN        MA   01801   WALGREENS   FW1815399    2,800    1,200    2,700    1,600    3,000    2,300    2,267    13,600

100096280   004100586   WALGREENS #13802    DSD     WESTWOOD       MA   02090   WALGREENS   FW1815402    1,500    2,000    1,500    2,000    2,700    1,100    1,800    10,800

100095892   004094755   WALGREENS #13801    DSD      DANVERS       MA   01923   WALGREENS   FW1815414    1,500    2,200    2,000    1,500    2,200     500     1,650     9,900

100098544   025090266   WALGREENS #12044    DSD    EDEN PRAIRIE    MN   55344   WALGREENS   FW1818648    3,600    3,000    4,000    3,500    3,500    2,600    3,367    20,200

100094605   041146357   WALGREENS #10331    DSD    CENTREVILLE     VA   20120   WALGREENS   FW1821594    4,160    5,560    5,500    5,000    5,700    3,800    4,953    29,720

100098449   019172767   WALGREENS #12455    DSD     LA CROSSE      WI   54601   WALGREENS   FW1824374    9,000    8,800    8,000    9,600    9,500   10,530    9,238    55,430

100098379   019172239   WALGREENS #13613    DSD     JANESVILLE     WI   53548   WALGREENS   FW1824386   22,200   21,900   20,000   22,600   19,100   14,600   20,067   120,400

100094623   055033332   WALGREENS #11396    DSD     CHARLOTTE      NC   28262   WALGREENS   FW1824398   11,500   11,370   11,200   11,200   15,900    8,100   11,545    69,270

100099506   021171611   WALGREENS #13137    DSD       OMAHA        NE   68137   WALGREENS   FW1824413   13,640   12,300   12,300   13,660   14,600    7,000   12,250    73,500

100102925   046053892   WALGREENS #15017    DSD      ORLANDO       FL   32821   WALGREENS   FW1831242     100              1,800    1,000    1,600    2,500    1,400     7,000

100103180   046055335   WALGREENS #09519    DSD    PORT ST LUCIE   FL   34983   WALGREENS   FW1831266     200      300     2,700    5,300    5,700    3,600    2,967    17,800

100099533   021171884   WALGREENS #12405    DSD    NORTH PLATTE    NE   69101   WALGREENS   FW1831278   10,200    8,100    7,900    9,500    9,900    6,500    8,683    52,100

100098607   025090886   WALGREENS #13902    DSD      MANKATO       MN   56001   WALGREENS   FW1831292    3,500    4,100    3,500    3,000    4,200    2,500    3,467    20,800

100098622   025091033   WALGREENS #13903    DSD    PARK RAPIDS     MN   56470   WALGREENS   FW1831317   13,500   14,600   14,100   14,500   14,000    8,500   13,200    79,200

100098547   025090290   WALGREENS #13938    DSD     MONTICELLO     MN   55362   WALGREENS   FW1831329   12,200   13,100   10,800   12,300   14,400    9,400   12,033    72,200

100099426   021170951   WALGREENS #11370    DSD   OVERLAND PARK    KS   66212   WALGREENS   FW1834692    2,700   11,800   13,400   14,700   10,900    9,900   10,567    63,400

100100522   018403279   WALGREENS #13116    DSD      MIDLAND       TX   79703   WALGREENS   FW1840138     700    22,900   30,500   29,500   17,400   15,500   19,417   116,500

100095611   055036681   WALGREENS #12350    DSD     STALLINGS      NC   28104   WALGREENS   FW1840140    5,200    4,130    5,700    3,300    4,100    3,520    4,325    25,950

100103249   020163683   WALGREENS #12270    DSD     RIO RANCHO     NM   87124   WALGREENS   FW1840203    9,100   11,500    9,100    9,000   10,100    6,000    9,133    54,800

100094987   010229732   WALGREENS #12678    DSD     HURRICANE      WV   25526   WALGREENS   FW1840215    6,800    7,500    6,100    8,000    7,700    7,000    7,183    43,100

100103471   008115113   WALGREENS #09955    DSD     PATTERSON      CA   95363   WALGREENS   FW1840241   26,400   28,530   27,720   22,000   28,900   24,000   26,258   157,550

100102613   024120899   WALGREENS #10354    DSD     SIMI VALLEY    CA   93065   WALGREENS   FW1840253   13,200   11,000   10,600   11,800   12,100    9,900   11,433    68,600

100095620   023145961   WALGREENS #09832    DSD   STATEN ISLAND    NY   10305   WALGREENS   FW1840289    2,900    2,600    1,500    1,100    3,400    1,200    2,117    12,700

100095809   004094243   WALGREENS #12818    DSD      BANGOR        ME   04401   WALGREENS   FW1840291    3,600    3,000    3,600    2,000    4,500    2,600    3,217    19,300

100098260   019171041   WALGREENS #13620    DSD     CEDARBURG      WI   53012   WALGREENS   FW1842271    6,500    6,700    6,600    6,300    4,800    4,500    5,900    35,400
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100095699   004093922   WALGREENS #12158        DSD   WAPPINGERS FALLS   NY   12590     WALGREENS         FW1842283    3,700    4,600    3,100    4,200    4,500    1,500    3,600    21,600

100096146   004099184   WALGREENS #12325        DSD      PORTLAND        ME   04101     WALGREENS         FW1844201    3,500    3,000    2,100    3,500    4,000    1,500    2,933    17,600

100102160   008112615   WALGREENS #11823        DSD     PLACERVILLE      CA   95667     WALGREENS         FW1847081   37,930   40,530   39,020   41,400   35,700   28,900   37,247   223,480

100097324   052220715   WALGREENS #12911        DSD     GUNTERSVILLE     AL   35976     WALGREENS         FW1847093   17,500   17,500   18,200   20,200   13,900   11,000   16,383    98,300

100102198   046049429   WALGREENS #09297        DSD      RIVERVIEW       FL   33578     WALGREENS         FW1849100     260      300     2,000   15,860   14,300   11,200    7,320    43,920

100101600   008112383   WALGREENS #12540        DSD       SPARKS         NV   89441     WALGREENS         FW1849112   15,100   18,900   17,500   19,600   16,000   17,100   17,367   104,200

100103088   020163279   WALGREENS #12880        DSD       KINGMAN        AZ   86401     WALGREENS         FW1851395   26,300   23,900   22,200   23,300   37,700   17,000   25,067   150,400

100102473   020161802   WALGREENS #12335        DSD        MESA          AZ   85209     WALGREENS         FW1851408    8,100    8,470    6,090    6,930   11,100    6,200    7,815    46,890

100099408   021170779   WALGREENS #12922        DSD   BONNER SPRINGS     KS   66012     WALGREENS         FW1851410    1,000   10,900   10,700   15,800   15,700    9,100   10,533    63,200

100099874   018399675   WALGREENS #09121        DSD        ALLEN         TX   75002     WALGREENS         FW1851446    4,200    8,100    7,000    7,600    7,500    6,000    6,733    40,400

100095952   004097915   WALGREENS #13005        DSD       FRANKLIN       MA   02038     WALGREENS         FW1851472    2,400    3,500    2,000    2,800    3,200    2,400    2,717    16,300

100094827   004092783   WALGREENS #11377        DSD       FAIRPORT       NY   14450     WALGREENS         FW1851509    4,700    2,730    4,130    6,160    4,500    3,400    4,270    25,620

100095376   023145607   WALGREENS #10914        DSD      NEWBURGH        NY   12550     WALGREENS         FW1852587    4,600    4,400    3,800    3,600    5,100    3,300    4,133    24,800

100075887   046176032   *WALGREENS #13825                MELBOURNE       FL   32901     WALGREENS         FW1854668     500     1,000    1,500     500                        875      3,500

100101563   038109033   WALGREENS #12769        DSD      MONUMENT        CO   80132     WALGREENS         FW1858729    7,500    8,100    6,700    8,400    8,800    3,700    7,200    43,200

100098625   025091066   WALGREENS #12509        DSD      MOORHEAD        MN   56560     WALGREENS         FW1862538    6,400    6,700    7,300    7,000    7,100    3,500    6,333    38,000

100095461   041150417   WALGREENS #12902        DSD     PHILADELPHIA     PA   19149     WALGREENS         FW1863720    1,000    2,700    1,600    1,600    2,400    1,000    1,717    10,300

100094491   041146274   WALGREENS #13003        DSD     BRIDGEVILLE      DE   19933     WALGREENS         FW1864974    4,800    4,300    5,200    3,800    5,400    3,500    4,500    27,000

100102651   046052522   WALGREENS #10829        DSD     CAPE CORAL       FL   33991     WALGREENS         FW1867867     200      600     4,900    8,500    7,400   10,000    5,267    31,600

100095736   023146118   WALGREENS #11561        DSD     WILKES BARRE     PA   18702     WALGREENS         FW1867879    6,400    5,000    6,200    7,300    6,800    7,500    6,533    39,200

100099372   021170415   WALGREENS #12749        DSD    JEFFERSON CITY    MO   65101     WALGREENS         FW1873187    4,400    9,000    7,300    6,800    9,100    8,400    7,500    45,000

100101862   024120071   WALGREENS #11473        DSD      MONROVIA        CA   91016     WALGREENS         FW1877034    5,700    5,600    7,500    5,000   10,100    5,700    6,600    39,600

100099607   037131623   WALGREENS #12428        DSD      LAFAYETTE       LA   70507     WALGREENS         FW1877046              100     9,300   19,600   19,800   16,000   12,960    64,800

100104578   046057620   WECARE PHARMACY LLC                TAMPA         FL   33626     INDEPENDENT       FW1880079     500              1,000    1,700    4,000     100     1,460     7,300

100103512   008115824   WALGREENS #13001        DSD       ORLAND         CA   95963     WALGREENS         FW1880966   34,900   34,900   30,900   33,400   27,500   33,800   32,567   195,400

100095584   041150979   WALGREENS #12817        DSD    SILVER SPRING     MD   20904     WALGREENS         FW1883013    2,100    1,900    2,400    1,400    1,300    2,600    1,950    11,700

100103295   020163931   WALGREENS #12469        DSD      LAS CRUCES      NM   88007     WALGREENS         FW1883025   11,800   12,160   13,560   12,090   12,500    9,900   12,002    72,010

100100523   018403287   WALGREENS #13115        DSD       MIDLAND        TX   79705     WALGREENS         FW1883037     400    19,100   26,600   27,700   20,500   15,500   18,300   109,800

100094414   041145938   WALGREENS #11771        DSD       ASHBURN        VA   20147     WALGREENS         FW1886538    1,700    2,300    1,600    1,600    2,000    1,200    1,733    10,400

100095460   041150409   WALGREENS #12084        DSD     PHILADELPHIA     PA   19146     WALGREENS         FW1891046    2,200    3,700    1,500    2,600    2,640    3,100    2,623    15,740

100074613   056099432   WALGREENS #12084 (340B)         PHILADELPHIA     PA   19146    PHS 340B CLINIC    FW1891046                                500                        500       500

100101617   017096586   WALGREENS #13809        DSD        ELKO          NV   89801     WALGREENS         FW1891325    9,800   15,600   10,300   15,000   13,400    9,500   12,267    73,600

100075886   046176024   WALGREENS #13849               WILTON MANORS     FL   33305     WALGREENS         FW1893165              200     1,500    3,000    3,000    2,000    1,940     9,700

100102079   020160317   WALGREENS #10862        DSD      LAS VEGAS       NV   89101     WALGREENS         FW1894888   23,100   25,700   24,600   28,200   16,000   19,500   22,850   137,100

100074660   040176172   WEST END RX, INC.    CPA        CARTERSVILLE     GA   30120     INDEPENDENT       FW1896767   16,700   15,600   15,600   13,600   12,100   13,100   14,450    86,700

100099388   021170571   WALGREENS #13762        DSD       BRANSON        MO   65616     WALGREENS         FW1897202    6,600   10,000    9,500    9,000   11,700    8,500    9,217    55,300

100099107   021169912   WALGREENS #11881        DSD      MONMOUTH        IL   61462     WALGREENS         FW1897264   11,200   12,000   12,300   12,100   14,700    9,000   11,883    71,300

100107733   019185934   WALGREENS #11881 340B            MONMOUTH        IL   61462   PHS 340B HOSPITAL   FW1897264    1,000     500               100                        533      1,600

100103186   008113886   WALGREENS #13596        DSD      PALO ALTO       CA   94301     WALGREENS         FW1897276    6,500    7,600    6,000    8,000    6,500    5,700    6,717    40,300

100094696   055033480   WALGREENS #10228        DSD      COLUMBIA        SC   29229     WALGREENS         FW1899547    5,100    4,230    4,250    5,530    6,100    4,300    4,918    29,510

100098596   025090787   WALGREENS #13163        DSD     GRAND RAPIDS     MN   55744     WALGREENS         FW1899559   29,100   17,700   26,300   23,600   25,400   16,100   23,033   138,200

100102977   046054171   WALGREENS #12885        DSD     PALM HARBOR      FL   34685     WALGREENS         FW1899561     700      300     1,230    5,530    8,800    5,000    3,593    21,560

100096186   004099507   WALGREENS #10988        DSD    SCARBOROUGH       ME   04074     WALGREENS         FW1899573    2,700    6,000    5,310    5,000    4,300    2,500    4,302    25,810

100096147   004099192   WALGREENS #12326        DSD      PORTLAND        ME   04103     WALGREENS         FW1899585    2,100    3,000    2,100    2,500    2,000    1,100    2,133    12,800
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100075173   026175836   WALGREENS #12786                  KAHULUI          HI   96732   WALGREENS     FW1901570   10,100    13,500   11,200   13,700   12,900   14,400   12,633     75,800

100074667   041129841   WALNUT HILL PHARMACY(Z)GNP      PETERSBURG         VA   23805   INDEPENDENT   FW1904386    5,360     5,700   27,800     320      700      500     6,730     40,380

100094698   055033506   WALGREENS #11433     DSD          COLUMBIA         SC   29205   WALGREENS     FW1914919    2,590     2,830    3,500    2,700    4,000    3,000    3,103     18,620

100097572   044216044   WALGREENS #15287     DSD          MEMPHIS          TN   38117   WALGREENS     FW1915024    7,200     5,100    6,100    6,700    8,200    5,700    6,500     39,000

100096103   004098913   WALGREENS #10685     DSD          NORFOLK          MA   02056   WALGREENS     FW1915048    2,100     1,500    1,330     600      500      900     1,155      6,930

100087184   003091850   WALGREENS #11232             HATO REY, SAN JUAN    PR   00918   WALGREENS     FW1915062                        500      100                        300        600

100075717   032178061   WALGREENS #13967                  BELLEVUE         WA   98004   WALGREENS     FW1917345    5,200     5,600    6,500    6,100    7,100    8,000    6,417     38,500

100102854   020162693   WALGREENS #12334     DSD         GOODYEAR          AZ   85395   WALGREENS     FW1920277    9,000     7,700    8,400    9,000   13,200    4,800    8,683     52,100

100097186   040119206   WALGREENS #12262     DSD          ATLANTA          GA   30329   WALGREENS     FW1920291    2,500     3,000    2,200    3,300    3,700    2,700    2,900     17,400

100099715   018398214   WALGREENS #12738     DSD         LITTLE ROCK       AR   72205   WALGREENS     FW1920328    6,300    11,200    9,000   11,100   13,600    7,500    9,783     58,700

100098239   021169706   WALGREENS #12393     DSD        CEDAR RAPIDS       IA   52402   WALGREENS     FW1920330    6,000     6,800    7,000    8,100   10,700    5,500    7,350     44,100

100095027   004093443   WALGREENS #02077     DSD          KINGSTON         NY   12401   WALGREENS     FW1920378    7,900     8,200    7,900    7,600   12,600    4,900    8,183     49,100

100094450   010228221   WALGREENS #11977     DSD       BARBOURSVILLE       WV   25504   WALGREENS     FW1925568   14,200    17,900   15,700   18,500   17,900   15,500   16,617     99,700

100103402   020164459   WALGREENS #11668     DSD         LAS VEGAS         NV   89122   WALGREENS     FW1925594   20,100    19,000   17,000   18,600   18,100   13,100   17,650    105,900

100095134   055036020   WALGREENS #13960     DSD           MAXTON          NC   28364   WALGREENS     FW1933729   13,900    14,500   12,100   13,000    9,300   14,500   12,883     77,300

100103701   046055848   WALGREENS #11638     DSD         NORTH MIAMI       FL   33181   WALGREENS     FW1935127               100      200     1,800    1,200    2,300    1,120      5,600

100095754   041151597   WALGREENS #12040     DSD         WILMINGTON        DE   19802   WALGREENS     FW1935139    4,000     4,500    3,230    3,600    2,800    2,800    3,488     20,930

100095959   004097949   WALGREENS #11533     DSD        GLASTONBURY        CT   06033   WALGREENS     FW1935153    2,300     2,100    2,200    1,800    3,100     400     1,983     11,900

100075006   012100842   WESTERN UNIVERSITY PHARM          POMONA           CA   91766     ALT SITE    FW1938541    1,200     2,500    1,400    3,800     500     1,400    1,800     10,800

100100415   037132936   WALGREENS #13166     DSD          MCALLEN          TX   78501   WALGREENS     FW1939985     100       800     1,700    2,500    2,100     500     1,283      7,700

100110386   041154955   WAR MEMORIAL HOSPITAL INC     BERKELEY SPRINGS     WV   25411    HOSPITAL     FW1944330                                 200      200      500      300        900

100099366   021170357   WALGREENS #12628     DSD           JOPLIN          MO   64804   WALGREENS     FW1945887    7,700    14,480   15,600   15,000   17,100   12,500   13,730     82,380

100095706   041151381   WALGREENS #10311     DSD        WASHINGTON         DC   20008   WALGREENS     FW1947499    1,830      160     2,030     830     1,500     500     1,142      6,850

100094823   041146910   *WALGREENS #11570    DSD           FAIRFAX         VA   22030   WALGREENS     FW1958606     (190)                                                  (190)      (190)

100094521   023137851   WALGREENS #10064     DSD          BROOKLYN         NY   11229   WALGREENS     FW1958618    2,400     1,400    2,600     700     2,000    2,200    1,883     11,300

100096100   023146845   WALGREENS #10439     DSD          NEWTON           NJ   07860   WALGREENS     FW1962112    3,800     3,500    4,500    3,800    4,500    2,400    3,750     22,500

100101633   024100107   WALGREENS #12460     DSD        LOS ANGELES        CA   90017   WALGREENS     FW1963758    7,900     7,400    8,600    7,500    9,200    8,400    8,167     49,000

100095965   004097980   WALGREENS #13860     DSD          GROTON           CT   06340   WALGREENS     FW1966463    5,100     6,000    5,000    5,700    4,800    3,900    5,083     30,500

100094778   055033712   WALGREENS #11200     DSD          DURHAM           NC   27705   WALGREENS     FW1970208    4,100     4,900    4,300    3,200    6,500    2,000    4,167     25,000

100094857   055033852   WALGREENS #11968     DSD          FORT MILL        SC   29715   WALGREENS     FW1983899    3,700     4,200    4,100    4,600    4,600    3,500    4,117     24,700

100102661   008112813   WALGREENS #11407     DSD           VISALIA         CA   93291   WALGREENS     FW1990375   15,000    18,700   15,900   17,000   20,400   13,800   16,800    100,800

100101717   012108662   WALGREENS #09685     DSD      MANHATTAN BEACH      CA   90266   WALGREENS     FW2010786   10,500    11,300   11,000   11,200   16,400    9,600   11,667     70,000

100099772   018398669   WALGREENS #13123     DSD          PURCELL          OK   73080   WALGREENS     FW2018908     100              11,000   12,600   10,500    8,500    8,540     42,700

100095690   041151308   WALGREENS #13109     DSD       VIRGINIA BEACH      VA   23451   WALGREENS     FW2018910    2,500     1,400    2,100    2,100    2,700    1,100    1,983     11,900

100095402   010232439   *WALGREENS #11731    DSD     NORTH HUNTINGDON      PA   15642   WALGREENS     FW2020117     (500)                                                  (500)      (500)

100095108   041149450   WALGREENS #13156     DSD         MANASSAS          VA   20110   WALGREENS     FW2021260    3,720     4,560    3,760    4,730    6,000    3,600    4,395     26,370

100095107   041149443   WALGREENS #13012     DSD         MANASSAS          VA   20112   WALGREENS     FW2024115    2,700     3,000    2,700    1,800    4,000    2,800    2,833     17,000

100095991   041152140   WALGREENS #10861     DSD           HOWELL          NJ   07731   WALGREENS     FW2028531    3,700     4,000    4,200    2,600    5,500    2,500    3,750     22,500

100102024   017097048   WALGREENS #11083     DSD            BOISE          ID   83709   WALGREENS     FW2034382   11,100    14,100   12,500   14,000   12,000   11,500   12,533     75,200

100102203   020161166   WALGREENS #12539     DSD         LAS VEGAS         NV   89149   WALGREENS     FW2034394   24,620    25,760   25,350   28,430   21,000   19,100   24,043    144,260

100103386   008114496   WALGREENS #13584     DSD         SAN RAFAEL        CA   94903   WALGREENS     FW2035106    4,500     5,600    5,200    6,500    7,100    4,100    5,500     33,000

100094608   041146373   WALGREENS #12361     DSD          CHANTILLY        VA   20152   WALGREENS     FW2039762    2,370     2,000    3,200    2,430    1,800    2,030    2,305     13,830

100102144   024120832   WALGREENS #11707     DSD           OXNARD          CA   93030   WALGREENS     FW2039798   18,800    18,000   18,700   19,200   18,000   23,600   19,383    116,300

100096142   041152405   WALGREENS #10214     DSD     POINT PLEASANT BORO   NJ   08742   WALGREENS     FW2039813    4,100     2,600    3,820    2,500    4,300    3,900    3,537     21,220
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100102128   046047852   WALGREENS #10791    DSD          BOYNTON BEACH     FL   33473   WALGREENS     FW2047531     300      200     2,000    3,400    4,900    1,800    2,100    12,600

100094411   041145862   WALGREENS #13941    DSD            ARLINGTON       VA   22201   WALGREENS     FW2052859    2,000    1,500    2,500    2,400    1,900    1,100    1,900    11,400

100094504   023137703   WALGREENS #12899    DSD              BRONX         NY   10461   WALGREENS     FW2060185    1,800    1,800    3,100    1,700    2,100    3,000    2,250    13,500

100094533   023137976   WALGREENS #11807    DSD            BROOKLYN        NY   11203   WALGREENS     FW2065274                                200      200      100      167       500

100101543   046045948   WALGREENS #12463    DSD           MIAMI BEACH      FL   33139   WALGREENS     FW2067494     200      100      500                                 267       800

100102640   046052472   WALGREENS #12698    DSD          PORT CHARLOTTE    FL   33952   WALGREENS     FW2072990     100      700     7,600   13,200    9,100   11,700    7,067    42,400

100099424   021170936   WALGREENS #13032    DSD          PRAIRIE VILLAGE   KS   66207   WALGREENS     FW2073005    1,000    5,560    6,300    7,900   10,200    3,500    5,743    34,460

100095052   041149286   WALGREENS #10690    DSD            LEESBURG        VA   20175   WALGREENS     FW2076924    2,600    1,500    1,330    2,290    2,000    2,300    2,003    12,020

100102137   012109207   WALGREENS #12421    DSD              POWAY         CA   92064   WALGREENS     FW2091382   13,400   12,700   12,200   16,300   12,000   10,800   12,900    77,400

100099633   037131896   WALGREENS #13080    DSD          DENHAM SPRINGS    LA   70726   WALGREENS     FW2091421     500      500    11,000   17,100   18,000   14,000   10,183    61,100

100097819   019169359   WALGREENS #11624    DSD           INDIANAPOLIS     IN   46260   WALGREENS     FW2095544    7,200    5,200    9,300    7,800    6,300   12,800    8,100    48,600

100098752   019174169   WALGREENS #11739    DSD             HUNTLEY        IL   60142   WALGREENS     FW2095568    8,300   10,000    8,100    8,500    7,200    5,000    7,850    47,100

100098649   019173138   WALGREENS #11944    DSD           CRYSTAL LAKE     IL   60012   WALGREENS     FW2095594    7,800    7,700    7,400    7,100    7,300    6,600    7,317    43,900

100095538   004093781   WALGREENS #10546    DSD            ROCHESTER       NY   14616   WALGREENS     FW2095619    5,700    5,700    3,400    4,900    5,500    4,200    4,900    29,400

100098283   019171272   WALGREENS #13683    DSD            WEST BEND       WI   53095   WALGREENS     FW2110005   16,600   18,800   17,800   18,800   24,800   13,000   18,300   109,800

100099538   037105072   WALGREENS #13679    DSD             METAIRIE       LA   70005   WALGREENS     FW2114510     400     2,960   14,090   20,900   22,900   21,300   13,758    82,550

100095138   055036038   WALGREENS #11803    DSD             MEBANE         NC   27302   WALGREENS     FW2124612    9,800    8,300    9,300    8,700   10,200    6,200    8,750    52,500

100094794   041146811   WALGREENS #13465    DSD             EDENTON        NC   27932   WALGREENS     FW2124650    6,400    7,100    6,700    7,400    9,400    3,900    6,817    40,900

100068520   024130310   WOODLAKE PHARMACY                  WEST HILLS      CA   91307   INDEPENDENT   FW2132467   27,600   30,400   31,000   31,400   14,600   15,100   25,017   150,100

100101732   046046631   WALGREENS #12260    DSD              MIAMI         FL   33186   WALGREENS     FW2132657     500              1,400    3,300    2,900    2,800    2,180    10,900

100103474   008115154   WALGREENS #10766    DSD              TRACY         CA   95377   WALGREENS     FW2132669   13,200   14,100   12,500   13,000   12,800   11,000   12,767    76,600

100103486   008115287   WALGREENS #12528    DSD           SUTTER CREEK     CA   95685   WALGREENS     FW2132671   22,100   24,600   20,700   24,800   23,300   24,000   23,250   139,500

100098137   019170811   WALGREENS #12345    DSD           GRAND HAVEN      MI   49417   WALGREENS     FW2132683   19,600   15,400   18,700   16,500   19,000   13,500   17,117   102,700

100096062   004098632   WALGREENS #12338    DSD           MIDDLETOWN       CT   06457   WALGREENS     FW2132695    5,300    5,200    3,500    4,500    6,600    3,300    4,733    28,400

100097492   052221572   WALGREENS #12980    DSD            CORRYTON        TN   37721   WALGREENS     FW2137190   10,000   11,100   10,100   11,000   10,600    7,600   10,067    60,400

100097206   040119404   WALGREENS #12886    DSD             ATHENS         GA   30605   WALGREENS     FW2142519   12,200   10,980   10,600   12,200   10,100    7,500   10,597    63,580

100095092   041149377   WALGREENS #12847    DSD           LUTHERVILLE      MD   21093   WALGREENS     FW2146529    3,300    3,470    3,000    2,500    4,500    2,500    3,212    19,270

100096048   004098517   WALGREENS #13135    DSD             MASHPEE        MA   02649   WALGREENS     FW2151215    2,830    3,030    2,230    2,200    3,100    1,500    2,482    14,890

100094897   004092817   WALGREENS #12733    DSD           GLENS FALLS      NY   12801   WALGREENS     FW2151227    6,500    8,600    5,200    8,000    8,500    6,200    7,167    43,000

100092856   044211730   WASHINGTON UNV CNCR CTR PHM WE     SAINT LOUIS     MO   63141    HOSPITAL     FW2156835    1,200    1,100     500      700     2,200    1,600    1,217     7,300

100094984   055034405   WALGREENS #11424    DSD           HUNTERSVILLE     NC   28078   WALGREENS     FW2167814    2,990    3,930    4,630    4,130    7,800    4,500    4,663    27,980

100101478   046045575   WALGREENS #12883    DSD          CORAL SPRINGS     FL   33071   WALGREENS     FW2169250     100      500     1,000     700     1,700    1,100     850      5,100

100098268   019171124   WALGREENS #12962    DSD             KOHLER         WI   53044   WALGREENS     FW2169274    4,600    4,100    4,000    4,000    3,500    4,500    4,117    24,700

100096314   023147280   WALGREENS #12490    DSD          RICHMOND HILL     NY   11418   WALGREENS     FW2171469     730      600      700      100      600      200      488      2,930

100095767   041151621   *WALGREENS #12801   DSD           WINCHESTER       VA   22601   WALGREENS     FW2186244     400                                                   400       400

100099669   018397828   WALGREENS #13605    DSD             RUSTON         LA   71270   WALGREENS     FW2186270     100     4,600    6,400    7,000    8,500    5,500    5,350    32,100

100098282   019171264   WALGREENS #13088    DSD            WEST BEND       WI   53095   WALGREENS     FW2186460   23,100   22,790   20,800   26,900   19,900   20,000   22,248   133,490

100103233   020163642   WALGREENS #13164    DSD           ALBUQUERQUE      NM   87121   WALGREENS     FW2192540    8,000   10,500    8,700    8,600   11,000    4,000    8,467    50,800

100094606   041146365   WALGREENS #12492    DSD           CHADDS FORD      PA   19317   WALGREENS     FW2192552    4,950    4,160    4,200    3,030    5,300    2,900    4,090    24,540

100095136   010232157   WALGREENS #12597    DSD            MCMURRAY        PA   15317   WALGREENS     FW2194760    4,000    2,400    3,300    2,800    3,500    2,800    3,133    18,800

100102156   020160341   WALGREENS #11766    DSD            LAS VEGAS       NV   89139   WALGREENS     FW2194772   17,400   17,700   17,700   17,080   13,100   10,800   15,630    93,780

100095002   055034462   WALGREENS #12133    DSD           JACKSONVILLE     NC   28540   WALGREENS     FW2196942    6,000    5,100    6,300    6,900    7,920    3,100    5,887    35,320

100096156   004099291   WALGREENS #11831    DSD              QUINCY        MA   02171   WALGREENS     FW2196954    1,700    3,000    1,600    1,700    2,600    1,700    2,050    12,300

100088994   056020529   WOODBURY FAMILY PHARMACY CPA       WOODBURY        NJ   08096   INDEPENDENT   FW2197300    1,400    1,400             1,700    1,600             1,525     6,100
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100102748   046053041   WALGREENS #09980      DSD         BRADENTON       FL   34212    WALGREENS        FW2202036     100      600     4,400    7,800    10,600    7,000    5,083     30,500

100095494   023145730   WALGREENS #13448      DSD        QUEENS VILLAGE   NY   11429    WALGREENS        FW2202062     300     1,800     700     1,100     1,300     700      983       5,900

100094534   023137984   WALGREENS #11808      DSD          BROOKLYN       NY   11234    WALGREENS        FW2202101     400      700     1,500     700       900      700      817       4,900

100098071   049193383   WALGREENS #12971      DSD           LAPEER        MI   48446    WALGREENS        FW2204585   32,300   33,350   29,400   30,700    29,900   28,400   30,675    184,050

100102049   017097204   WALGREENS #12452      DSD        WOODS CROSS      UT   84010    WALGREENS        FW2207113    6,500    6,900    8,600    7,000    10,000    5,000    7,333     44,000

100095436   010232553   WALGREENS #12634      DSD            PARMA        OH   44134    WALGREENS        FW2207125    8,000    8,200    8,700    7,000     8,900    6,400    7,867     47,200

100104106   023151944   WYNNEFIELD PHARMACY               PHILADELPHIA    PA   19131    INDEPENDENT      FW2207492     500     1,200    1,300    1,000      400               880       4,400

100095438   023145680   WALGREENS #11778      DSD         PATCHOGUE       NY   11772    WALGREENS        FW2212657    4,200    4,600    4,600    2,900     7,600    3,600    4,583     27,500

100102689   024121012   WALGREENS #11532      DSD         BAKERSFIELD     CA   93311    WALGREENS        FW2219067    7,900    6,500    7,500    7,600     8,100    5,800    7,233     43,400

100097612   044216374   WALGREENS #11969      DSD         COOKEVILLE      TN   38501    WALGREENS        FW2219079   15,600   19,800   16,600   18,200    17,900   12,500   16,767    100,600

100101647   038109280   WALGREENS #12683      DSD           BOULDER       CO   80301    WALGREENS        FW2223030    8,700    9,400    8,100    8,200     9,200    6,000    8,267     49,600

100083609   040097899   WOODY'S PHARMACY       CPA        DAHLONEGA       GA   30533    INDEPENDENT      FW2223496    6,500    6,000    4,000    6,500     9,500    9,400    6,983     41,900

100090175   019157164   WALGREENS #13974                    CHICAGO       IL   60611    WALGREENS        FW2226101    4,000    3,500    2,000    2,500     3,000    2,500    2,917     17,500

100083489   004061929   WALGREENS #13978                 SCHENECTADY      NY   12307    WALGREENS        FW2228307    3,500    3,100    4,500    4,600     5,000    2,100    3,800     22,800

100097340   046044511   WALGREENS #13111      DSD           DOTHAN        AL   36303    WALGREENS        FW2229614    7,500    8,770    7,000    9,600     4,000    8,500    7,562     45,370

100083410   052175885   WALGREENS #13979                    BRISTOL       TN   37620    WALGREENS        FW2230845   12,600   12,600   11,100   12,600    14,000   13,000   12,650     75,900

100083411   052175901   WALGREENS # 13980                  KINGSPORT      TN   37660    WALGREENS        FW2230869    8,500    7,500    7,000    9,500     9,000    8,060    8,260     49,560

100102810   046053355   WALGREENS #11787      DSD           NOKOMIS       FL   34275    WALGREENS        FW2234386     500      200     6,400    8,930     8,300    8,000    5,388     32,330

100102124   046047845   WALGREENS #12342      DSD         LOXAHATCHEE     FL   33470    WALGREENS        FW2234401     100      600     5,400    9,900     7,900    5,500    4,900     29,400

100097051   052220053   WALGREENS #12781      DSD            LENOIR       NC   28645    WALGREENS        FW2234413    9,900   11,600    9,300   13,300    13,800    8,700   11,100     66,600

100097380   044214999   WALGREENS #12875      DSD         CLARKSVILLE     TN   37042    WALGREENS        FW2239261    6,500    6,000    7,500    7,500    10,600    7,000    7,517     45,100

100099199   044217968   WALGREENS #13004      DSD         CARBONDALE      IL   62901    WALGREENS        FW2246139     200     9,500   14,500   17,900    19,500   14,000   12,600     75,600

100102370   012111021   WALGREENS #07991      DSD          RIVERSIDE      CA   92503    WALGREENS        FW2246189   17,500   13,700   13,630   16,100    13,800   15,500   15,038     90,230

100095815   004094276   WALGREENS #13615      DSD           BELFAST       ME   04915    WALGREENS        FW2246204   10,000   10,500   10,000   10,700     8,500    7,500    9,533     57,200

100095762   055036996   WALGREENS #12853      DSD         WILMINGTON      NC   28412    WALGREENS        FW2247559    7,300    7,400    6,300    6,800     7,320    5,700    6,803     40,820

100095547   055036475   WALGREENS #10435      DSD        ROCKY MOUNT      NC   27803    WALGREENS        FW2250520    6,500    5,470    6,100    7,400     7,300    7,000    6,628     39,770

100097193   040119271   WALGREENS #13759      DSD        COLLEGE PARK     GA   30349    WALGREENS        FW2250532    4,800    4,520    3,980    4,600     3,400    3,500    4,133     24,800

100083667   026002907   WAIKIKI HEALTH CTR PHARMACY        HONOLULU       HI   96815   PHS 340B CLINIC   FW2252598    8,500    8,500    8,500    6,100    11,400    8,200    8,533     51,200

100083666   026002881   WAIKIKI HEALTH CTR PHCY-RETAIL     HONOLULU       HI   96815    INDEPENDENT      FW2252598                                (300)                       (300)      (300)

100097997   049192641   WALGREENS #11197      DSD          ANN ARBOR      MI   48103    WALGREENS        FW2253057    3,500    4,000    5,500    5,500     5,000    5,000    4,750     28,500

100101897   024120212   WALGREENS #12023      DSD        SANTA CLARITA    CA   91321    WALGREENS        FW2253069   14,000   14,300   13,500   12,600    16,700   11,400   13,750     82,500

100100457   018402628   WALGREENS #11568      DSD        PFLUGERVILLE     TX   78660    WALGREENS        FW2253108    1,300   11,800   11,000   11,400     7,600    5,700    8,133     48,800

100094682   004092668   WALGREENS #12690      DSD         CLIFTON PARK    NY   12065    WALGREENS        FW2253134    3,600    4,030    2,560    3,660     4,700    3,660    3,702     22,210

100100484   018402891   WALGREENS #13444      DSD            AUSTIN       TX   78748    WALGREENS        FW2257461    3,900   12,600   11,800   12,700    17,100    8,200   11,050     66,300

100095567   023145813   WALGREENS #12668      DSD          SCRANTON       PA   18509    WALGREENS        FW2257485    8,200   10,400    8,100    8,100     8,600    8,400    8,633     51,800

100102393   020161604   WALGREENS #09460      DSD        SAN TAN VALLEY   AZ   85140    WALGREENS        FW2261749   14,800   16,400   18,300   16,400    21,800   12,200   16,650     99,900

100095786   023146175   WALGREENS #11509      DSD           YONKERS       NY   10705    WALGREENS        FW2261763    3,300    3,400    3,000    2,400     3,300    2,800    3,033     18,200

100095198   023143909   WALGREENS #13468      DSD           NEW CITY      NY   10956    WALGREENS        FW2264074    3,300    2,900    2,800    2,600     2,600    1,800    2,667     16,000

100100489   018402941   WALGREENS #11853      DSD            AUSTIN       TX   78750    WALGREENS        FW2266422    4,400   14,170   14,360   13,760    12,500    9,200   11,398     68,390

100100458   018402636   WALGREENS #13446      DSD        PFLUGERVILLE     TX   78660    WALGREENS        FW2266446    2,200    9,090    9,760    7,790     7,600    3,500    6,657     39,940

100102215   032148502   WALGREENS #12596      DSD          MEDFORD        OR   97501    WALGREENS        FW2266458   11,200   11,200   11,300   11,800    12,200    9,700   11,233     67,400

100084041   049180745   WACKERLY PHARMACY                   AUBURN        MI   48611    INDEPENDENT      FW2267626    6,800    6,500    6,900   12,300     5,800    7,100    7,567     45,400

100095962   041152058   WALGREENS #10676      DSD         GREEN BROOK     NJ   08812    WALGREENS        FW2270560    2,300    1,500    2,400    1,900     2,500     200     1,800     10,800

100100426   037133041   WALGREENS #13114      DSD          EDINBURG       TX   78539    WALGREENS        FW2274544     200     1,200    6,300    9,300     7,500    3,100    4,600     27,600
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100103649   032151001   WALGREENS #11635        DSD     VANCOUVER      WA   98661     WALGREENS         FW2274556    9,700   10,300    8,600    9,800   12,000    8,200    9,767    58,600

100101968   017096909   WALGREENS #13614        DSD        KUNA        ID   83634     WALGREENS         FW2274568   14,800   15,500   11,500   13,500   14,000   12,000   13,550    81,300

100102232   046049536   WALGREENS #12810        DSD    MIDDLEBURG      FL   32068     WALGREENS         FW2274582     160              4,600    4,130   11,500    9,000    5,878    29,390

100095007   023138891   WALGREENS #12157        DSD       JAMAICA      NY   11434     WALGREENS         FW2274594    1,200     200     1,500     500      600     1,600     933      5,600

100094936   004092866   WALGREENS #12081        DSD      HAMBURG       NY   14075     WALGREENS         FW2274607   10,200   10,200   10,400   11,400   12,300    7,200   10,283    61,700

100098662   019173260   WALGREENS #15047        DSD      GLENCOE       IL   60022     WALGREENS         FW2277095    6,760    7,290    5,260    6,100    8,730    4,420    6,427    38,560

100098941   019177113   WALGREENS #15044        DSD      CHICAGO       IL   60611     WALGREENS         FW2277122    3,700    3,600    2,900    3,100    4,200    6,130    3,938    23,630

100098718   019173823   WALGREENS #15562        DSD       SKOKIE       IL   60076     WALGREENS         FW2277146    3,700    3,100    2,910    4,200    3,200    2,000    3,185    19,110

100099771   018398651   WALGREENS #15056        DSD      NORMAN        OK   73071     WALGREENS         FW2277172     600      100    23,300   27,300   17,600   21,500   15,067    90,400

100099864   018399576   WALGREENS #15059        DSD     TAHLEQUAH      OK   74464     WALGREENS         FW2277196     800     7,300   17,300   17,800   18,700   21,000   13,817    82,900

100098491   025089714   WALGREENS #15049        DSD      RED WING      MN   55066     WALGREENS         FW2277235    3,000    4,000    4,700    5,100    7,000    2,000    4,300    25,800

100098555   025090373   WALGREENS #15053        DSD      WAYZATA       MN   55391     WALGREENS         FW2277259    2,100    1,500    2,500    3,300    3,500    1,000    2,317    13,900

100099384   021170530   WALGREENS #15054        DSD   MOUNTAIN VIEW    MO   65548     WALGREENS         FW2277273   15,000   17,800   17,900   17,700   18,600   14,100   16,850   101,100

100109438   021176123   WALGREENS #15054 340B         MOUNTAIN VIEW    MO   65548   PHS 340B HOSPITAL   FW2277273     600      600      200                                 467      1,400

100103470   008115105   WALGREENS #11934        DSD      OAKDALE       CA   95361     WALGREENS         FW2279126   29,800   28,300   28,200   28,500   36,600   18,800   28,367   170,200

100083996   040098426   WALGREENS #13873                 DECATUR       GA   30033     WALGREENS         FW2282919    7,600    7,000    7,000    6,500    9,500    6,000    7,267    43,600

100100541   037133165   WALGREENS #13604        DSD        AMITE       LA   70422     WALGREENS         FW2282921     420      700    10,300   15,500   14,100   11,000    8,670    52,020

100094599   041146332   WALGREENS #12790        DSD    CATONSVILLE     MD   21228     WALGREENS         FW2286094    2,300    2,100    3,000    2,700    2,100    2,200    2,400    14,400

100101874   024120147   WALGREENS #10764        DSD      PASADENA      CA   91107     WALGREENS         FW2289557    2,700    2,400    2,900    2,630    4,700    3,200    3,088    18,530

100096027   004098335   WALGREENS #13642        DSD       LOWELL       MA   01850     WALGREENS         FW2289571    5,700    5,700    5,000    5,000    6,200    5,300    5,483    32,900

100094819   041146886   WALGREENS #12857        DSD       EXTON        PA   19341     WALGREENS         FW2289608    2,000    2,200    1,500    1,500     600     1,100    1,483     8,900

100087239   037122333   WESTLANDS PHCY          SF       BELLAIRE      TX   77401     INDEPENDENT       FW2290067   14,600   15,600   14,600   17,500   12,500   12,500   14,550    87,300

100103516   008115865   WALGREENS #12259        DSD      YUBA CITY     CA   95993     WALGREENS         FW2291297   30,600   29,300   28,500   31,900   29,000   26,500   29,300   175,800

100095106   041149435   WALGREENS #11912        DSD     MANASSAS       VA   20110     WALGREENS         FW2296209    7,060    7,590    5,260    6,460    6,600    5,200    6,362    38,170

100084189   019138412   WALGREENS #13956                ELMHURST       IL   60126     WALGREENS         FW2299015   14,400   13,600   13,300   15,000   14,700   22,700   15,617    93,700

100099620   037131763   WALGREENS #13761        DSD    YOUNGSVILLE     LA   70592     WALGREENS         FW2300402     200              5,100    8,600   11,100    7,500    6,500    32,500

100102497   046051771   WALGREENS #13028        DSD   ATLANTIC BEACH   FL   32233     WALGREENS         FW2304486              100     5,600    7,300   11,600    9,000    6,720    33,600

100096036   041152231   WALGREENS #12289        DSD     MANALAPAN      NJ   07726     WALGREENS         FW2306288    1,400     910     1,500     700     2,500    1,100    1,352     8,110

100097266   040119891   WALGREENS #12754        DSD     COLUMBUS       GA   31909     WALGREENS         FW2307963    9,600   11,000    9,900    9,900    7,600    9,500    9,583    57,500

100099883   018399766   WALGREENS #13990        DSD       PLANO        TX   75024     WALGREENS         FW2307975    1,400    1,900    2,500    2,600    1,500    1,700    1,933    11,600

100095870   041151852   WALGREENS #11897        DSD     CHERRY HILL    NJ   08034     WALGREENS         FW2307987    3,000    2,300    3,700    2,160    2,500    2,900    2,760    16,560

100102112   046047811   WALGREENS #09004        DSD    LAKE WORTH      FL   33467     WALGREENS         FW2310592                      1,000    1,700    1,800    2,300    1,700     6,800

100097073   040118083   WALGREENS #09134        DSD       OKATIE       SC   29909     WALGREENS         FW2314398   12,300   13,100   14,000   13,000   10,700   10,300   12,233    73,400

100103259   046055608   WALGREENS #07936        DSD     BIG PINE KEY   FL   33043     WALGREENS         FW2314413     600      900     3,200    6,900    7,600    9,000    4,700    28,200

100094864   041147017   WALGREENS #12135        DSD   FREDERICKSBURG   VA   22407     WALGREENS         FW2316455    5,900    6,400    7,100    7,600    6,400    5,400    6,467    38,800

100095549   041150896   WALGREENS #13013        DSD    ROCKY MOUNT     VA   24151     WALGREENS         FW2316493   11,100   10,500   11,000   11,600   14,000   12,000   11,700    70,200

100102591   046052233   WALGREENS #11659        DSD    PANAMA CITY     FL   32401     WALGREENS         FW2316518                      5,500    9,500   13,000   27,000   13,750    55,000

100102230   012110536   WALGREENS #11611        DSD     COACHELLA      CA   92236     WALGREENS         FW2316520    6,300    6,600    7,300    9,000    7,000    3,300    6,583    39,500

100102472   046051664   WALGREENS #13450        DSD    JACKSONVILLE    FL   32221     WALGREENS         FW2322600     200              6,700    9,100   10,000   13,000    7,800    39,000

100098241   021169722   WALGREENS #12580        DSD    CEDAR RAPIDS    IA   52405     WALGREENS         FW2322612    9,100   10,700   10,000   10,600   11,800   11,000   10,533    63,200

100095755   041151605   WALGREENS #12695        DSD     WILMINGTON     DE   19810     WALGREENS         FW2322636    4,300    3,100    4,800    3,800    2,400    2,500    3,483    20,900

100084215   019138446   WALGREENS #13966                 BERWYN        IL   60402     WALGREENS         FW2324539   10,600   10,900   11,500   11,100   15,200   11,000   11,717    70,300

100097054   040117895   WALGREENS #12782        DSD    CHARLESTON      SC   29407     WALGREENS         FW2324541    9,000    9,000    9,600   10,000    9,600   10,100    9,550    57,300

100102352   046049965   WALGREENS #12579        DSD    ST AUGUSTINE    FL   32086     WALGREENS         FW2324553     100      100     1,700    4,600    3,500    3,500    2,250    13,500
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100101960   017096883   WALGREENS #12124        DSD          EAGLE          ID   83616    WALGREENS        FW2326898   17,600   15,500   13,500   14,600   14,600   13,500   14,883   89,300

100102163   046047944   WALGREENS #11790        DSD       ZEPHYRHILLS       FL   33541    WALGREENS        FW2326913     200      100             10,900   13,500   12,500    7,440   37,200

100101621   024014795   WALGREENS #12913        DSD       LOS ANGELES       CA   90001    WALGREENS        FW2326925    9,800    9,700   10,000   11,000   13,000    9,500   10,500   63,000

100095768   041151639   WALGREENS #12802        DSD       WINCHESTER        VA   22602    WALGREENS        FW2326937    8,500    8,900    9,800   10,800   10,900    8,100    9,500   57,000

100094632   041146431   WALGREENS #13474        DSD       CHESAPEAKE        VA   23320    WALGREENS        FW2326951    5,600    6,100    4,300    5,200    5,500    6,000    5,450   32,700

100083987   019136085   WALGREENS #13924                   PARK RIDGE       IL   60068    WALGREENS        FW2326975    6,600    7,300    6,500    4,800   11,400    5,000    6,933   41,600

100103676   032151308   WALGREENS #13449        DSD       ANCHORAGE         AK   99515    WALGREENS        FW2327903   10,900   11,500   14,300    8,800   14,000    9,000   11,417   68,500

100095005   023138875   WALGREENS #11112        DSD         JAMAICA         NY   11432    WALGREENS        FW2327941    2,100    1,600    2,800    1,600    2,000    1,500    1,933   11,600

100095565   023145797   WALGREENS #12093        DSD        SCARSDALE        NY   10583    WALGREENS        FW2327953    2,100    2,030    2,600    2,640    2,400    3,400    2,528   15,170

100100150   038107334   WALGREENS #13988        DSD         HOUSTON         TX   77070    WALGREENS        FW2332322     100              1,000    1,700    1,500    1,000    1,060    5,300

100098603   025090852   WALGREENS #13463        DSD        ROCHESTER        MN   55901    WALGREENS        FW2332877    4,000    5,700    2,000    3,500    3,800    2,500    3,583   21,500

100094943   041147173   WALGREENS #11756        DSD       HARRINGTON        DE   19952    WALGREENS        FW2337308    5,700    5,200    5,300    5,200    5,700    4,300    5,233   31,400

100096099   004098889   WALGREENS #13081        DSD         NEWTON          MA   02458    WALGREENS        FW2337322    2,300    1,900    2,500    1,600    2,200     700     1,867   11,200

100095957   041152033   WALGREENS #12048        DSD        GLASSBORO        NJ   08028    WALGREENS        FW2341066    3,100    2,300    3,100    2,600    2,100    2,900    2,683   16,100

100096017   041152199   WALGREENS #12898        DSD       LINDENWOLD        NJ   08021    WALGREENS        FW2341078    4,900    3,600    3,200    3,600    3,500    4,100    3,817   22,900

100087170   003091520   WALGREENS #01829                   CABO ROJO        PR   00623    WALGREENS        FW2352932              200      400      300                        300      900

100098602   025090845   WALGREENS #15149        DSD         DULUTH          MN   55811    WALGREENS        FW2354520   15,700   15,600   13,000   15,600   16,000   12,200   14,683   88,100

100098450   019172775   WALGREENS #12456        DSD        LA CROSSE        WI   54601    WALGREENS        FW2357994    9,600    9,400   10,000   11,100   10,000    7,800    9,650   57,900

100103807   012112243   WALGREENS #15094        DSD          PERRIS         CA   92571    WALGREENS        FW2358023   13,600   15,400   12,700   15,700   16,900   11,700   14,333   86,000

100102979   008113373   WALGREENS #04680        DSD      SAN FRANCISCO      CA   94102    WALGREENS        FW2362870    1,700    1,800     700     2,000    1,300    2,000    1,583    9,500

100087618   017089904   UTAH SURGICAL CENTER            WEST VALLEY CITY    UT   84120      HOSPITAL       FW2364127                       200                                 200      200

100055819   019012526   ALGONQUIN ROAD SURGERY CTR      LAKE IN THE HILLS   IL   60156      HOSPITAL       FW2365927              100                        100               100      200

100098310   019171546   WALGREENS #12706        DSD       WATERFORD         WI   53185    WALGREENS        FW2367666   10,300   11,520   10,100   11,600   11,800    8,520   10,640   63,840

100094776   055033696   WALGREENS #12895        DSD          DUNN           NC   28334    WALGREENS        FW2367678   11,600   11,600   11,000   12,100   10,000   14,700   11,833   71,000

100095923   041151969   WALGREENS #13056        DSD     EGG HARBOR TWP      NJ   08234    WALGREENS        FW2367680    5,390    7,900    5,600    7,600    7,200    4,900    6,432   38,590

100101257   055038190   WALGREENS #15351        DSD     CONNELLY SPRINGS    NC   28612    WALGREENS        FW2370485   11,700   12,700   11,200   11,100   12,600    8,100   11,233   67,400

100084828   046034942   WALGREENS #15106                     MIAMI          FL   33125    WALGREENS        FW2370524     500               100                -                200      600

100102133   012109199   WALGREENS #13052        DSD        OCEANSIDE        CA   92056    WALGREENS        FW2373140   11,700   11,900   11,900   11,630   13,200    9,800   11,688   70,130

100101964   017096891   WALGREENS #13105        DSD         EMMETT          ID   83617    WALGREENS        FW2386159   12,500   12,100   13,100   13,500   14,000   11,500   12,783   76,700

100105700   017098244   WALGREENS #13105 340B               EMMETT          ID   83617   PHS 340B CLINIC   FW2386159                       500                                 500      500

100095075   055035923   WALGREENS #11765        DSD       LINCOLNTON        NC   28092    WALGREENS        FW2387620   16,100   16,200   16,900   15,760   13,600   14,000   15,427   92,560

100094490   010228361   WALGREENS #12276        DSD       BRIDGEPORT        WV   26330    WALGREENS        FW2387632   10,500   10,300   10,500   10,000    4,000    6,000    8,550   51,300

100095777   041151647   WALGREENS #11299        DSD       WOODBRIDGE        VA   22192    WALGREENS        FW2390475    3,400    2,800    3,500    1,900    3,900    3,700    3,200   19,200

100085110   004068346   WALGREENS #13969                   NEW HAVEN        CT   06511    WALGREENS        FW2390487     200     1,500    1,100     530      500      500      722     4,330

100094621   055033316   WALGREENS #09184        DSD        CHARLOTTE        NC   28277    WALGREENS        FW2392366    4,200    4,100    4,700    3,700    4,800    5,000    4,417   26,500

100095730   041151431   WALGREENS #13457        DSD       WESTMINSTER       MD   21158    WALGREENS        FW2392378    6,400    4,100    5,700    5,400    3,800    5,700    5,183   31,100

100095170   004093518   WALGREENS #12631        DSD       MONTGOMERY        NY   12549    WALGREENS        FW2398306    3,700    3,200    2,600    3,200    4,000    3,200    3,317   19,900

100095535   004093757   WALGREENS #09665        DSD        ROCHESTER        NY   14626    WALGREENS        FW2398332    2,000    3,000    2,500    2,800    2,700    2,600    2,600   15,600

100094627   004092619   WALGREENS #12473        DSD      CHEEKTOWAGA        NY   14227    WALGREENS        FW2398344   10,730   10,360   10,620   12,000   14,000    7,600   10,885   65,310

100094947   041147181   WALGREENS #11298        DSD          HAYES          VA   23072    WALGREENS        FW2399067    6,000    7,900    9,000    7,400    8,700    5,500    7,417   44,500

100103611   032149898   WALGREENS #11300        DSD       BURLINGTON        WA   98233    WALGREENS        FW2399093   10,600   10,630    9,060   10,500   10,600    8,100    9,915   59,490

100095425   004093625   WALGREENS #12272        DSD      ORCHARD PARK       NY   14127    WALGREENS        FW2399106    7,100    7,530    7,000    7,300    9,100    5,100    7,188   43,130

100084999   026003277   WAIANAE DIST COMP HLTH & HOSP       KAPOLEI         HI   96707   PHS 340B CLINIC   FW2402357    1,000    1,800     600     1,500    1,500    1,800    1,367    8,200

100084998   026003269   KAPOLEI PRO PHCY RETAIL             KAPOLEI         HI   96707    HEALTH PLAN      FW2402357     100      600      500                        700      475     1,900
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100095778   041151654   WALGREENS #12033        DSD        WOODBRIDGE       VA   22192     WALGREENS         FW2404731    3,230    1,500    2,530     800     1,700    2,200    1,993    11,960

100095985   023146605   WALGREENS #13725        DSD          HOBOKEN        NJ   07030     WALGREENS         FW2404755    1,600     600     1,500    1,600    1,000    2,300    1,433     8,600

100104417   021172353   VIA CHRISTI SURGERY CENTER           WICHITA        KS   67206       HOSPITAL        FW2406519     200      100      400      300               360      272      1,360

100095006   023138883   WALGREENS #11316        DSD          JAMAICA        NY   11412     WALGREENS         FW2406800    1,300     400     1,700     100      700      300      750      4,500

100085071   004068254   WALGREENS #13944                    NEW HAVEN       CT   06510     WALGREENS         FW2406836    1,500     500      500      100     1,200     600      733      4,400

100085072   004068262   WALGREENS #13945                    NEW HAVEN       CT   06519     WALGREENS         FW2406848    1,000     400     1,000    1,000    1,000     500      817      4,900

100085074   004068288   WALGREENS #13947                    NEW HAVEN       CT   06511     WALGREENS         FW2406874     300      400     1,200     500     1,700     100      700      4,200

100102517   046051870   WALGREENS #11104        DSD         DAVENPORT       FL   33837     WALGREENS         FW2409870     100              7,300    9,100    9,000    7,500    6,600    33,000

100101588   046046177   WALGREENS #12144        DSD           MIAMI         FL   33155     WALGREENS         FW2415114             1,500     500      500      700     1,200     880      4,400

100102403   046051292   WALGREENS #13631        DSD        CLEARWATER       FL   33761     WALGREENS         FW2415140     500      500     1,600    5,700    4,600    5,200    3,017    18,100

100103305   008114215   WALGREENS #13026        DSD         BAY POINT       CA   94565     WALGREENS         FW2415164   24,100   24,900   24,400   26,800   22,400   21,000   23,933   143,600

100102009   046047472   WALGREENS #09786        DSD         CALLAHAN        FL   32011     WALGREENS         FW2420494     100      300     6,400    8,200   12,500   13,000    6,750    40,500

100097759   044217216   WALGREENS #12775        DSD       ELIZABETHTOWN     KY   42701     WALGREENS         FW2424985    3,500   10,000   13,000   12,000   11,000   10,000    9,917    59,500

100095071   010231860   WALGREENS #13635        DSD      LIBERTY TOWNSHIP   OH   45044     WALGREENS         FW2424997    2,700    2,000    2,600    2,600    3,500    2,100    2,583    15,500

100095440   004093658   WALGREENS #12760        DSD         PEEKSKILL       NY   10566     WALGREENS         FW2425076    3,100    2,900    3,100    2,400    3,300    3,200    3,000    18,000

100103483   008115253   WALGREENS #12525        DSD          LINCOLN        CA   95648     WALGREENS         FW2426965   18,600   19,930   21,200   23,700   18,500   13,500   19,238   115,430

100085122   019140780   WALGREENS #13975                     CHICAGO        IL   60610     WALGREENS         FW2429783    1,900    2,700    2,000    2,000    3,300    3,400    2,550    15,300

100103528   032149070   WALGREENS #12095        DSD         WOODBURN        OR   97071     WALGREENS         FW2431372   11,800   12,300   12,000   12,800   12,200    8,800   11,650    69,900

100095860   004094540   WALGREENS #11526        DSD        BURLINGTON       VT   05401     WALGREENS         FW2441727    1,000     600     1,100    1,100    1,600    1,100    1,083     6,500

100098515   025089979   WALGREENS #11764        DSD      MENDOTA HEIGHTS    MN   55120     WALGREENS         FW2442642    5,000    6,000    5,000    4,500    4,700    3,000    4,700    28,200

100101582   046046151   WALGREENS #11880        DSD           MIAMI         FL   33155     WALGREENS         FW2445383     400      300     2,400    4,500    6,800    5,100    3,250    19,500

100085401   046035998   WALGREENS #13981                 WEST PALM BEACH    FL   33401     WALGREENS         FW2454837     100                       1,000    1,000    1,500     900      3,600

100101231   046045005   WALGREENS #12722        DSD        FORT MYERS       FL   33912     WALGREENS         FW2465309     100              2,800    4,520    6,400    4,340    3,632    18,160

100101476   046045559   WALGREENS #12725        DSD       POMPANO BEACH     FL   33069     WALGREENS         FW2467086              700     2,500    1,100    3,800    3,200    2,260    11,300

100103380   008114470   WALGREENS #13796        DSD         SAN PABLO       CA   94806     WALGREENS         FW2473421   18,300   19,100   17,700   18,500   15,400   14,700   17,283   103,700

100102474   012111328   WALGREENS #12682        DSD        LAKE FOREST      CA   92630     WALGREENS         FW2473433    2,700    3,400    2,700    4,700    4,200    3,000    3,450    20,700

100102492   012111369   WALGREENS #12140        DSD      HUNTINGTON BEACH   CA   92649     WALGREENS         FW2473445   21,100   22,200   19,300   22,200   24,400   22,400   21,933   131,600

100099884   018399774   WALGREENS #15135        DSD           PLANO         TX   75024     WALGREENS         FW2473510     500     1,500     500     1,600    1,500     600     1,033     6,200

100095632   010232900   WALGREENS #11695        DSD        STEUBENVILLE     OH   43952     WALGREENS         FW2479093    4,200    4,500    4,300    5,200    3,800    2,500    4,083    24,500

100103277   020163816   WALGREENS #12005        DSD          SANTA FE       NM   87507     WALGREENS         FW2479118    8,600    9,900   10,600   10,600   11,600   10,100   10,233    61,400

100086482   040106260   KENNESTONE HOSP-RETAIL PHCY          MARIETTA       GA   30060       HOSPITAL        FW2479170    6,800    6,500    6,800    7,200    6,100    6,600    6,667    40,000

100096145   004099176   WALGREENS #11886        DSD         PORTLAND        ME   04101     WALGREENS         FW2483244    1,500    2,000    2,000    2,530    3,000    1,000    2,005    12,030

100086567   046038000   SUNSHINE DRUGS - BELLEVIEW          BELLEVIEW       FL   34420     INDEPENDENT       FW2485832     200      100      100             17,600             4,500    18,000

100088021   038102939   RED ROCKS SURGERY CENTER #712        GOLDEN         CO   80401       HOSPITAL        FW2487482              100                                 200      150       300

100097760   044217224   WALGREENS #13632        DSD         LEITCHFIELD     KY   42754     WALGREENS         FW2490958    5,500   20,200   22,700   21,700    9,200    7,500   14,467    86,800

100095652   041151142   WALGREENS #11140        DSD        TAKOMA PARK      MD   20912     WALGREENS         FW2497192    2,100    1,900    3,200    2,900    3,000    4,600    2,950    17,700

100086063   010211656   CCF WOOSTER ASC                      WOOSTER        OH   44691       HOSPITAL        FW2499538                                          80                80        80

100086010   026003327   WALGREENS #13836                       HILO         HI   96720     WALGREENS         FW2505103   18,600   22,200   20,000   19,700   16,500   14,200   18,533   111,200

100085775   032138305   WALGREENS #15153                     COOS BAY       OR   97420     WALGREENS         FW2510902    5,600    8,900    5,000    7,300    9,000    6,000    6,967    41,800

100094539   023138032   WALGREENS #12855        DSD         BROOKLYN        NY   11228     WALGREENS         FW2512540    1,830    1,100    1,600    1,100    1,300    1,300    1,372     8,230

100085887   037119610   WALGREENS AT TULANE #13777         NEW ORLEANS      LA   70112     WALGREENS         FW2512817     100              3,600    8,300   12,300    7,100    6,280    31,400

100069608   024140046   WEST HILLS HSP&MED CTR    #712      WEST HILLS      CA   91307       HOSPITAL        FW2520422    1,400    1,450    1,800    1,600    1,460    1,920    1,605     9,630

100098900   019176677   WALGREENS #13827        DSD         WESTMONT        IL   60559     WALGREENS         FW2521006   12,700    9,500   10,700   13,800    9,000    8,700   10,733    64,400

100107669   019185744   WALGREENS #13827 340B               WESTMONT        IL   60559   PHS 340B HOSPITAL   FW2521006              200               100                        150       300
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100098550   025090324   WALGREENS #13842      DSD         SAINT MICHAEL    MN   55376   WALGREENS     FW2530334    6,400     6,600    5,700    6,400    8,000    5,000    6,350     38,100

100097479   052221440   WALGREENS #13891      DSD         JOHNSON CITY     TN   37604   WALGREENS     FW2532819   24,700    27,500   24,790   27,530   15,000   25,000   24,087    144,520

100086439   049184010   *WAYNE FAMILY PHCY     SF          WESTLAND        MI   48185   INDEPENDENT   FW2540412    5,100     7,800                                        6,450     12,900

100098511   025089938   WALGREENS #13690      DSD          SAINT PAUL      MN   55116   WALGREENS     FW2544078    5,500     3,000    4,600    4,100    4,200    4,500    4,317     25,900

100084482   018183624   WATSON PHARMACY INC     CPA         FORDYCE        AR   71742   INDEPENDENT   FW2558332   15,400    12,200    6,200    5,700     200     6,100    7,633     45,800

100096128   023146944   WALGREENS #12792      DSD          PATERSON        NJ   07502   WALGREENS     FW2568636     900      1,100    1,700     800     1,100    1,800    1,233      7,400

100102573   020162024   WALGREENS #13758      DSD         SCOTTSDALE       AZ   85253   WALGREENS     FW2571900    7,100     6,000    5,900    5,700    7,900    3,900    6,083     36,500

100103379   038110205   WALGREENS #13148      DSD          CENTENNIAL      CO   80015   WALGREENS     FW2579855    6,900     7,800    8,000    6,700    7,000    6,300    7,117     42,700

100097674   052222398   WALGREENS #13609      DSD           COLUMBIA       MS   39429   WALGREENS     FW2583335   17,130    19,800   19,100   20,200   15,800   17,500   18,255    109,530

100095599   055036632   WALGREENS #02530      DSD          SOUTHPORT       NC   28461   WALGREENS     FW2583359    8,700     7,530    6,600    9,300    2,900    6,600    6,938     41,630

100095181   055036152   WALGREENS #13854      DSD         MOUNT OLIVE      NC   28365   WALGREENS     FW2583373    8,100     9,640    9,500    9,000    8,500    7,500    8,707     52,240

100102637   008112755   WALGREENS #09844      DSD         PORTERVILLE      CA   93257   WALGREENS     FW2586848   40,800    47,500   42,400   46,400   48,500   32,200   42,967    257,800

100095058   041149328   WALGREENS #12752      DSD            LEWES         DE   19958   WALGREENS     FW2591712   14,220    16,900   15,890   16,460   15,500   14,500   15,578     93,470

100087839   010217653   WESTLAND PHARMACY LLC APSC         COLUMBUS        OH   43228   INDEPENDENT   FW2607402     500      1,500    2,000    1,500    1,000     500     1,167      7,000

100102244   032148536   WALGREENS #13656      DSD          ANCHORAGE       AK   99503   WALGREENS     FW2609064   28,900    33,400   30,600   31,300   30,800   40,700   32,617    195,700

100094433   041145953   WALGREENS #11323      DSD          AVONDALE        PA   19311   WALGREENS     FW2622555    3,300     2,620    3,800    2,400    4,000    1,200    2,887     17,320

100101662   046046458   WALGREENS #11938      DSD             MIAMI        FL   33174   WALGREENS     FW2628571                       1,100     800     1,100    1,900    1,225      4,900

100094691   041146555   WALGREENS #11949      DSD           COLUMBIA       MD   21045   WALGREENS     FW2633205    3,900     4,000    4,800    5,400    5,900    5,700    4,950     29,700

100099134   019178996   WALGREENS #15165      DSD          CHAMPAIGN       IL   61821   WALGREENS     FW2634257    1,200     7,200    6,600    6,500    8,200    5,000    5,783     34,700

100099139   019179044   WALGREENS #15166      DSD          MONTICELLO      IL   61856   WALGREENS     FW2634271    1,200     7,200    6,100    6,200    9,500    4,600    5,800     34,800

100086384   019145623   WALGREENS #15170                   CHAMPAIGN       IL   61822   WALGREENS     FW2634283     600      6,800    7,700    7,700   13,600    8,100    7,417     44,500

100086395   019145631   WALGREENS #15169                    MAHOMET        IL   61853   WALGREENS     FW2634346     500      7,500   10,000    7,000   15,000    9,600    8,267     49,600

100094463   041146191   WALGREENS #11999      DSD            BEL AIR       MD   21015   WALGREENS     FW2635792    3,200     2,970    4,100    3,100    2,700    4,200    3,378     20,270

100101832   038109827   WALGREENS #11477      DSD       COLORADO SPRINGS   CO   80920   WALGREENS     FW2635805    4,000     3,500    3,300    4,400    3,700    3,000    3,650     21,900

100094822   041146902   WALGREENS #11297      DSD           FAIRFAX        VA   22031   WALGREENS     FW2640022    1,100     1,560    2,100    1,100    1,500    2,500    1,643      9,860

100100344   018401851   WALGREENS #13086      DSD        NEW BRAUNFELS     TX   78130   WALGREENS     FW2640034     120      1,620   13,900   15,500   15,000   10,000    9,357     56,140

100102435   046051474   *WALGREENS #13030     DSD            LARGO         FL   33771   WALGREENS     FW2640058     (200)                                                  (200)      (200)

100096107   004098947   WALGREENS #11885      DSD       NORTH DARTMOUTH    MA   02747   WALGREENS     FW2649602    1,700     2,600    1,190    2,800    2,500     800     1,932     11,590

100103362   008114405   WALGREENS #13858      DSD           BERKELEY       CA   94709   WALGREENS     FW2663309    3,500     3,500    2,500    4,100    5,500    2,600    3,617     21,700

100096197   004099572   WALGREENS #12869      DSD          SOMERSET        MA   02726   WALGREENS     FW2669705    2,900     2,200    1,200    2,700    2,900    1,100    2,167     13,000

100087405   049185447   WATKINS PHCY & SURG SUPPLY SF      MUSKEGON        MI   49444   INDEPENDENT   FW2675671   28,000    27,000   30,000   36,500   53,500   50,200   37,533    225,200

100106515   044220699   WELLSTONE REGIONAL HOSP ACQ      JEFFERSONVILLE    IN   47130    HOSPITAL     FW2678259     500       300      300      800      280               436       2,180

100095540   004093807   WALGREENS #12489      DSD          ROCHESTER       NY   14612   WALGREENS     FW2680444    2,900     3,430    3,530    2,500    4,560    3,200    3,353     20,120

100099184   044217810   WALGREENS #13852      DSD           SHERMAN        IL   62684   WALGREENS     FW2684062    4,000    14,300   14,600   15,600   18,300    9,600   12,733     76,400

100095139   041149484   WALGREENS #12496      DSD        MECHANICSVILLE    VA   23116   WALGREENS     FW2706301    5,700     6,800    6,100    6,300    6,100    7,200    6,367     38,200

100095848   041151811   WALGREENS #15029      DSD         BRIDGEWATER      NJ   08807   WALGREENS     FW2706351                        100      100               100      100        300

100099540   037105452   WALGREENS #15067      DSD           METAIRIE       LA   70006   WALGREENS     FW2706363              1,600    4,100    7,600   10,400    7,200    6,180     30,900

100097748   044217109   WALGREENS #13815      DSD        BOWLING GREEN     KY   42104   WALGREENS     FW2730275    4,100    11,000   16,200   16,700   16,200   10,000   12,367     74,200

100095581   023145839   WALGREENS #11717      DSD           SHIRLEY        NY   11967   WALGREENS     FW2730287    7,330     7,170    7,900    7,600   11,500    6,700    8,033     48,200

100094496   023137620   WALGREENS #10217      DSD            BRONX         NY   10470   WALGREENS     FW2730302    1,800     1,600     600     1,700    1,700    1,500    1,483      8,900

100096102   004098905   WALGREENS #12315      DSD          NEWTOWN         CT   06470   WALGREENS     FW2730756    2,500     2,500    2,400    2,500    1,900    1,800    2,267     13,600

100103558   032149377   WALGREENS #13819      DSD          ROSEBURG        OR   97471   WALGREENS     FW2738144    8,000     9,800    7,800    9,900   10,100    7,500    8,850     53,100

100103504   008115741   WALGREENS #13597      DSD         SACRAMENTO       CA   95832   WALGREENS     FW2753196    7,800     8,600    7,700    7,700    7,400    6,500    7,617     45,700

100098585   025090670   WALGREENS #13753      DSD            EDINA         MN   55436   WALGREENS     FW2756863    6,600     7,200    6,600    6,000    6,700    5,830    6,488     38,930
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100097414   044215327   WALGREENS #12514         DSD   MURFREESBORO      TN   37129   WALGREENS   FW2759453   10,100   11,500     9,000   12,000    8,000    9,500   10,017    60,100

100087332   040107359   WALGREENS #15131                LAWRENCEVILLE    GA   30046   WALGREENS   FW2766496    1,520    3,000     2,500    3,000    4,000    3,000    2,837    17,020

100103510   008115808   WALGREENS #10881         DSD    GRASS VALLEY     CA   95945   WALGREENS   FW2770786   14,700   18,600    18,600   17,600   16,800   16,600   17,150   102,900

100097484   052221499   WALGREENS #13660         DSD     JONESBORO       TN   37659   WALGREENS   FW2770798   14,230   14,500    14,700   14,180   19,300   10,080   14,498    86,990

100103521   032149005   WALGREENS #13727         DSD     GLADSTONE       OR   97027   WALGREENS   FW2770801   10,200   10,000     9,500   10,000   11,100    8,200    9,833    59,000

100094759   055033662   WALGREENS #13036         DSD       DENVER        NC   28037   WALGREENS   FW2770813    7,000    7,500     7,030    7,130    7,500    5,000    6,860    41,160

100094503   023137695   WALGREENS #12758         DSD        BRONX        NY   10461   WALGREENS   FW2782351    1,300    1,200     1,700    1,000    1,600    1,700    1,417     8,500

100101689   012108605   WALGREENS #09842         DSD       DOWNEY        CA   90242   WALGREENS   FW2786020    3,200    4,600     4,600    4,100    5,100    2,600    4,033    24,200

100095140   041149492   WALGREENS #13830         DSD   MECHANICSVILLE    VA   23111   WALGREENS   FW2792580   10,960    9,400     9,500    8,900   11,800    4,700    9,210    55,260

100087053   018197277   WALGREENS #15011                   DALLAS        TX   75208   WALGREENS   FW2795411    4,500   11,200    10,800   10,200    6,500    5,000    8,033    48,200

100103214   008113951   WALGREENS #11365         DSD   AMERICAN CANYON   CA   94503   WALGREENS   FW2795461   11,600   12,900     9,000   17,000   11,500   13,700   12,617    75,700

100097158   040118935   WALGREENS #11686         DSD       DALLAS        GA   30157   WALGREENS   FW2800109    6,500    8,700     7,500    7,100    7,100    7,200    7,350    44,100

100095185   010232314   WALGREENS #11768         DSD     MURRYSVILLE     PA   15668   WALGREENS   FW2800111    3,100    2,600     2,100    3,090    2,600    1,500    2,498    14,990

100087492   003001628   WALGREENS #12598                   PONCE         PR   00716   WALGREENS   FW2800135     100      200       500      300                        275      1,100

100102025   024120691   WALGREENS #13657         DSD      EASTVALE       CA   91752   WALGREENS   FW2801909   14,600   15,400    14,600   15,600   10,400   13,600   14,033    84,200

100101555   046045997   WALGREENS #11657         DSD     MIAMI BEACH     FL   33141   WALGREENS   FW2804626                       1,000     300     1,000     100      600      2,400

100095722   041151423   WALGREENS #12034         DSD    WEST CHESTER     PA   19380   WALGREENS   FW2811619    2,100    2,100     2,000    2,600    2,600    1,000    2,067    12,400

100095817   023146233   WALGREENS #12079         DSD      BELLEVILLE     NJ   07109   WALGREENS   FW2811645    2,300    1,700     1,600    2,300    2,100    1,700    1,950    11,700

100093773   018396648   SAM'S PHARMACY 10-8259             AUSTIN        TX   78748     CHAIN     FW2816695                                3,000     500      800     1,433     4,300

100087376   041140988   WALGREENS #15133                   RESTON        VA   20190   WALGREENS   FW2818271    6,200    4,700     7,400    7,000   11,300    8,200    7,467    44,800

100102256   032148544   WALGREENS #13780         DSD      HILLSBORO      OR   97123   WALGREENS   FW2818334    9,300   10,900     8,100   10,100   11,200    8,100    9,617    57,700

100094743   055033621   WALGREENS #15218         DSD      DANVILLE       VA   24541   WALGREENS   FW2818358    7,200   10,500     7,500    8,600    8,100    6,000    7,983    47,900

100102272   041153189   WALGREENS #15112         DSD      DANVILLE       VA   24540   WALGREENS   FW2818459   13,300   13,600    11,700   12,600   13,600   11,500   12,717    76,300

100094745   055033647   WALGREENS #15291         DSD      DANVILLE       VA   24541   WALGREENS   FW2818512   12,200   12,300    12,200   13,230   12,600    9,500   12,005    72,030

100102394   012111096   WALGREENS #13813         DSD    LAKE ELSINORE    CA   92530   WALGREENS   FW2824589   22,000   25,300    22,300   24,700   25,100   18,400   22,967   137,800

100100163   038107425   WALGREENS #15226         DSD      HOUSTON        TX   77079   WALGREENS   FW2827509      -                2,000     500     1,000              875      3,500

100095875   023146365   WALGREENS #11357         DSD       CLIFTON       NJ   07012   WALGREENS   FW2829301    1,900    1,100      600      500     1,000    1,500    1,100     6,600

100098090   049193573   WALGREENS #13150         DSD    GRAND LEDGE      MI   48837   WALGREENS   FW2829387   10,300    9,500     9,700   11,600    9,700    8,000    9,800    58,800

100099012   019177824   WALGREENS #13798         DSD       CHICAGO       IL   60640   WALGREENS   FW2835102    7,800    7,900     6,900    9,200    8,500    3,000    7,217    43,300

100098437   019172692   WALGREENS #13771         DSD       WAUSAU        WI   54401   WALGREENS   FW2841408   10,500   10,200    11,600   13,100   13,500   11,500   11,733    70,400

100098471   019172957   WALGREENS #12983         DSD     CLINTONVILLE    WI   54929   WALGREENS   FW2841410    4,500    4,900     4,000    5,500    4,500    4,000    4,567    27,400

100094855   041146977   WALGREENS #12472         DSD     FORESTVILLE     MD   20747   WALGREENS   FW2842599    2,600    2,500     3,500    2,100    3,200    5,600    3,250    19,500

100100439   018402446   WALGREENS #13588         DSD      BASTROP        TX   78602   WALGREENS   FW2842640    1,100   14,300    11,560   13,000    7,100    9,000    9,343    56,060

100103485   008115279   WALGREENS #10599         DSD    CAMERON PARK     CA   95682   WALGREENS   FW2842652   12,300   10,600    12,100   12,000   13,400    9,700   11,683    70,100

100096105   023146852   WALGREENS #12406         DSD    NORTH BERGEN     NJ   07047   WALGREENS   FW2842676    1,000    3,530     1,890    2,400    2,500    2,020    2,223    13,340

100098912   019176792   WALGREENS #13456         DSD     NAPERVILLE      IL   60565   WALGREENS   FW2844808   10,000    9,000    10,400    9,900    6,500    8,000    8,967    53,800

100103495   008115634   WALGREENS #12840         DSD   EL DORADO HILLS   CA   95762   WALGREENS   FW2846989    6,900    9,400     8,600    9,700    9,200    7,500    8,550    51,300

100096130   004099119   WALGREENS #13987         DSD     PAWTUCKET       RI   02861   WALGREENS   FW2847006    9,000    7,400    10,100    8,700    8,600    6,500    8,383    50,300

100102266   046049650   WALGREENS #12673         DSD        TAMPA        FL   33612   WALGREENS   FW2861715              (100)    2,400   18,100   13,800   18,700   10,580    52,900

100100429   037133074   WALGREENS #13931         DSD       MISSION       TX   78572   WALGREENS   FW2861739     700      300      5,500    6,300    7,900    1,100    3,633    21,800

100103628   032150797   WALGREENS #11527         DSD       TACOMA        WA   98403   WALGREENS   FW2864090    4,700    6,000     4,700    4,600    6,200    3,100    4,883    29,300

100102165   012109272   WALGREENS #13161         DSD      SAN DIEGO      CA   92105   WALGREENS   FW2866791    9,200   10,900    12,100   12,200   12,100    8,500   10,833    65,000

100101629   024096883   WALGREENS #12057         DSD     LOS ANGELES     CA   90016   WALGREENS   FW2866816    4,900    4,700     4,100    4,600    5,900    4,300    4,750    28,500

100102625   008112722   WALGREENS #10827         DSD       DELANO        CA   93215   WALGREENS   FW2878823   12,800   13,200    10,500   13,300   13,600    9,100   12,083    72,500
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100099638   037131946   WALGREENS #13779     DSD           PRAIRIEVILLE     LA   70769   WALGREENS     FW2883545     340      600    10,200   15,200   17,000   11,500    9,140    54,840

100107815   004102947   WESTERN MAINE PHCY, INC CPA         KINGFIELD       ME   04947   INDEPENDENT   FW2883951    3,100     700     2,600    2,500    2,000    4,800    2,617    15,700

100087738   046039404   WALGREENS #15114                      MIAMI         FL   33175   WALGREENS     FW2886488     100      600      900      800     1,300    1,500     867      5,200

100103742   012111666   WALGREENS #06496     DSD          REDONDO BEACH     CA   90278   WALGREENS     FW2890184   10,400   11,800    9,800   12,200   14,200   11,300   11,617    69,700

100087869   020155283   WALGREENS #15162                     TUCSON         AZ   85719   WALGREENS     FW2892001    1,500    1,500    1,600    2,000    2,500    2,200    1,883    11,300

100094929   055034165   WALGREENS #12979     DSD            GREENVILLE      SC   29611   WALGREENS     FW2894118   16,500   20,100   16,960   20,000   20,500   17,900   18,660   111,960

100094965   055034322   WALGREENS #12047     DSD            HIGH POINT      NC   27263   WALGREENS     FW2900670   13,300   15,570   13,300   16,400   13,500   10,800   13,812    82,870

100102342   012110940   WALGREENS #12576     DSD            VICTORVILLE     CA   92394   WALGREENS     FW2904072   31,500   30,300   31,500   32,000   33,900   22,000   30,200   181,200

100103641   032150920   WALGREENS #12453     DSD            TUMWATER        WA   98512   WALGREENS     FW2905480    6,630    6,030    6,230    8,590    7,600    5,600    6,780    40,680

100102236   046049551   WALGREENS #12884     DSD              OCOEE         FL   34761   WALGREENS     FW2907701               -      2,700    5,500    2,000    2,500    2,540    12,700

100094408   055032912   WALGREENS #11504     DSD               APEX         NC   27523   WALGREENS     FW2909743    2,200    1,700    1,500    2,100    2,500    1,700    1,950    11,700

100100436   037133140   WALGREENS #13962     DSD             SAN JUAN       TX   78589   WALGREENS     FW2916293     400      800     3,800    3,900    2,900    1,300    2,183    13,100

100103370   038110171   WALGREENS #12024     DSD             AURORA         CO   80013   WALGREENS     FW2916306    6,700    8,570    6,700    7,700    4,300    6,700    6,778    40,670

100098534   025090167   WALGREENS #15124     DSD             BUFFALO        MN   55313   WALGREENS     FW2916421    5,900    8,300    8,000    7,500    8,000    5,300    7,167    43,000

100094889   041147066   WALGREENS #15235     DSD            GLEN ALLEN      VA   23060   WALGREENS     FW2916445     500     1,000    1,000     500     1,000    1,000     833      5,000

100102378   012111054   WALGREENS #07990     DSD            RIVERSIDE       CA   92507   WALGREENS     FW2918134   11,100    8,200   11,000   11,500   11,600    7,500   10,150    60,900

100087883   024076471   WALGREENS #15190                   LOS ANGELES      CA   90035   WALGREENS     FW2918146    2,600    2,600    2,700    2,600    5,300    3,100    3,150    18,900

100095487   004093732   WALGREENS #12633     DSD          POUGHKEEPSIE      NY   12603   WALGREENS     FW2920406    1,800    1,800    2,000    2,500    2,000    2,100    2,033    12,200

100102199   008112680   WALGREENS #12488     DSD             FERNLEY        NV   89408   WALGREENS     FW2926484   27,000   29,500   27,200   27,500   33,000   21,300   27,583   165,500

100099960   018400531   WALGREENS #13930     DSD              DALLAS        TX   75230   WALGREENS     FW2927599    5,000    7,540    9,560    9,500    8,000    4,100    7,283    43,700

100103340   020164236   WALGREENS #13125     DSD             EL PASO        TX   79938   WALGREENS     FW2927602     800     8,400    9,400    8,200    7,100    1,100    5,833    35,000

100103223   046055509   WALGREENS #12723     DSD            HOMESTEAD       FL   33032   WALGREENS     FW2927638              500     1,000    1,000    1,000    1,700    1,040     5,200

100099599   037131540   WALGREENS #13876     DSD              SLIDELL       LA   70460   WALGREENS     FW2929909     300     1,300    8,800   20,700   14,600   11,100    9,467    56,800

100087882   020155291   WALGREENS #15035                    LAS VEGAS       NV   89128   WALGREENS     FW2933390    3,600    4,500    3,500    6,500   13,000   16,500    7,933    47,600

100098575   025090571   WALGREENS #13841     DSD          GOLDEN VALLEY     MN   55427   WALGREENS     FW2933403    9,100    5,300    5,600    5,360    5,600    5,200    6,027    36,160

100094486   041146266   WALGREENS #11500     DSD              BOWIE         MD   20715   WALGREENS     FW2934520    2,800    2,400    2,200    3,500    2,500    2,100    2,583    15,500

100095142   023142984   WALGREENS #11209     DSD             MEDFORD        NY   11763   WALGREENS     FW2935382    5,300    5,000    5,000    5,700    6,600    3,800    5,233    31,400

100096043   023146738   WALGREENS #13686     DSD           MAPLEWOOD        NJ   07040   WALGREENS     FW2935394    1,700    1,700    1,600     800     2,000    1,600    1,567     9,400

100095677   004093914   WALGREENS #12067     DSD           NEW WINDSOR      NY   12553   WALGREENS     FW2938287    1,800    2,700    1,000    2,300    3,600    2,500    2,317    13,900

100095500   055036376   WALGREENS #12077     DSD             RALEIGH        NC   27617   WALGREENS     FW2938302    5,100    5,200    4,500    5,400    5,100    3,100    4,733    28,400

100088132   037126144   WALGREENS #15198                     MARRERO        LA   70072   WALGREENS     FW2944812     400      200     6,000    8,300   14,900    8,200    6,333    38,000

100097061   040117960   WALGREENS #15072     DSD          MOUNT PLEASANT    SC   29466   WALGREENS     FW2951374    6,600    6,700    8,500    6,100    7,000    7,600    7,083    42,500

100098654   019173187   WALGREENS #13933     DSD            DEERFIELD       IL   60015   WALGREENS     FW2964763     500      500      200     2,100                       825      3,300

100095707   041151399   WALGREENS #11408     DSD           WASHINGTON       DC   20008   WALGREENS     FW2966313    1,000     500     1,000    1,000     300      800      767      4,600

100088128   003001693   WALGREENS #13844                    CANOVANAS       PR   00729   WALGREENS     FW2969193     100      600               700                        467      1,400

100097053   040117887   WALGREENS #15024     DSD         NORTH CHARLESTON   SC   29406   WALGREENS     FW2970362   10,000    8,000    8,500   10,100    9,500   10,500    9,433    56,600

100098917   019176842   WALGREENS #15196     DSD             CHICAGO        IL   60601   WALGREENS     FW2986238    2,420    3,700    3,000    3,600    3,000    2,200    2,987    17,920

100097174   040119081   WALGREENS #12554     DSD          PEACHTREE CITY    GA   30269   WALGREENS     FW2986252    3,960    4,000    4,720    3,500    5,200    3,600    4,163    24,980

100088135   019151886   WALGREENS #13923-SILVER CROSS       NEW LENOX       IL   60451   WALGREENS     FW2987204   11,700   10,400   12,500   10,700   12,400   14,500   12,033    72,200

100109990   055044933   WAKEMED BRIER CREEK HEALTHPLEX       RALEIGH        NC   27617    HOSPITAL     FW2990857                       400                                 400       400

100103720   046056069   WALGREENS #11487     DSD              VENICE        FL   34285   WALGREENS     FW2991900              500     2,500    4,500    6,000    4,500    3,600    18,000

100095655   023146050   WALGREENS #10464     DSD           THORNWOOD        NY   10594   WALGREENS     FW2991912    1,700    1,200    1,200     500     2,100    1,000    1,283     7,700

100095408   004093583   WALGREENS #09414     DSD         NORTH SYRACUSE     NY   13212   WALGREENS     FW2994209    4,000    3,100    4,300    6,000    4,000    2,500    3,983    23,900

100103240   017097949   WALGREENS #13818     DSD              BUTTE         MT   59701   WALGREENS     FW2999007   12,800   11,600   12,500   12,500   16,000    8,500   12,317    73,900
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100101667   038109348   WALGREENS #15022      DSD        STEAMBOAT SPRINGS   CO   80487    WALGREENS        FW2999019    3,700    5,700    5,000    4,800    6,100    2,600    4,650    27,900

100098096   049193631   WALGREENS #11286      DSD             OKEMOS         MI   48864    WALGREENS        FW2999021    6,700    7,300    7,700    5,500    7,800    5,000    6,667    40,000

100103296   008114181   WALGREENS #11822      DSD              NAPA          CA   94558    WALGREENS        FW3003390   10,230   11,200   11,960   11,800   15,100    8,700   11,498    68,990

100095666   041151167   WALGREENS #13606      DSD             TOWSON         MD   21204    WALGREENS        FW3014824    3,900    5,230    3,000    3,600    5,000    3,100    3,972    23,830

100088921   018203851   WHITE ROCK PHARMACY                   DALLAS         TX   75218    INDEPENDENT      FW3017387    2,500    1,600             2,000    5,500             2,900    11,600

100095109   041149468   WALGREENS #13989      DSD            MANASSAS        VA   20110    WALGREENS        FW3018339    2,300    3,670    3,330    2,600    3,400    1,800    2,850    17,100

100103381   020164376   WALGREENS #13900      DSD            LAS VEGAS       NV   89109    WALGREENS        FW3022908    3,200    3,500    2,100    3,500    4,100    2,000    3,067    18,400

100095462   041150425   WALGREENS #13141      DSD          PHILADELPHIA      PA   19136    WALGREENS        FW3022910    2,000    2,200    2,000    2,200    2,000    1,700    2,017    12,100

100103585   032149633   WALGREENS #13770      DSD           WOODINVILLE      WA   98077    WALGREENS        FW3025093    5,130    5,760    5,200    4,230    4,800    3,800    4,820    28,920

100088811   023134429   WHITE OAK PHARMACY (ARX)              NUTLEY         NJ   07110    INDEPENDENT      FW3025168    1,300    1,200    1,700     600     3,000     400     1,367     8,200

100103658   032151092   WALGREENS #13971      DSD         EAST WENATCHEE     WA   98802    WALGREENS        FW3033812    9,300    9,800   10,000   10,600   12,600    8,700   10,167    61,000

100094492   041146282   WALGREENS #12167      DSD            BRISTOW         VA   20136    WALGREENS        FW3033848    2,600    2,400    2,260    2,320    2,000    1,800    2,230    13,380

100094685   041146522   WALGREENS #11461      DSD           COATESVILLE      PA   19320    WALGREENS        FW3050933    2,000    4,700    2,900    1,000    3,500    2,400    2,750    16,500

100088823   052178046   WALGREENS #15258                   MONTGOMERY        AL   36106    WALGREENS        FW3053256    7,000    9,300    7,500    9,000    6,500    8,000    7,883    47,300

100089162   056020578   WELLSPAN SURG & REHAB HOSP             YORK          PA   17403      HOSPITAL       FW3053725     300      200      400      100      300               260      1,300

100088774   004088690   WALGREENS #15193                    GREENFIELD       MA   01301    WALGREENS        FW3060061    1,300    2,300    2,500    2,500    2,300    1,100    2,000    12,000

100098419   025089409   WALGREENS #15121      DSD             HUDSON         WI   54016    WALGREENS        FW3067558    5,700    6,600    4,500    6,100    6,500    3,600    5,500    33,000

100095604   023145888   WALGREENS #13726      DSD          SPRING VALLEY     NY   10977    WALGREENS        FW3067572    1,800    1,700    1,800    1,700    3,300    1,500    1,967    11,800

100098944   019177147   WALGREENS #15004      DSD             CHICAGO        IL   60613    WALGREENS        FW3067584    9,230    9,100   10,400   11,000   12,300    6,100    9,688    58,130

100096182   004099473   WALGREENS #12400      DSD            SANFORD         ME   04073    WALGREENS        FW3067635    6,200    7,600    7,500    7,900    9,200    5,200    7,267    43,600

100094942   041147165   WALGREENS #11572      DSD            HAMPTON         VA   23669    WALGREENS        FW3084100    3,400    4,500    3,130    3,220    5,300    2,300    3,642    21,850

100089072   019155028   WALGREENS #15283                    CHAMPAIGN        IL   61820    WALGREENS        FW3086142    3,200   13,000   11,900   12,300    7,800   15,200   10,567    63,400

100089071   019155010   WALGREENS #15282                    CHAMPAIGN        IL   61822    WALGREENS        FW3086154    2,700    7,900    7,600    8,600   16,500   15,600    9,817    58,900

100087881   018199869   WALGREENS #15288                      DALLAS         TX   75235    WALGREENS        FW3086166    1,100    3,000    2,000    3,000    3,000    2,500    2,433    14,600

100102923   008113241   WALGREENS #13948      DSD          MOUNTAIN VIEW     CA   94040    WALGREENS        FW3098616    5,200    5,600    5,300    4,400    5,000    4,700    5,033    30,200

100094610   055033217   WALGREENS #11547      DSD           CHAPEL HILL      NC   27514    WALGREENS        FW3105649    3,600    1,500    2,500    2,100    3,600    1,500    2,467    14,800

100095466   041150607   WALGREENS #12560      DSD            PIKESVILLE      MD   21208    WALGREENS        FW3120386    4,000    4,200    3,700    3,100    4,700    3,300    3,833    23,000

100089390   032155309   COMMUNITY, A WALGREENS PHCY           SEATTLE        WA   98122    WALGREENS        FW3121338     600     1,500    1,100    1,000    1,000    1,000    1,033     6,200

100089380   044210245   COMMUNITY, A WALGREENS PHCY          MEMPHIS         TN   38104    WALGREENS        FW3121390             1,000     500      500      500      500      600      3,000

100089839   037155408   COMMUNITY, A WALGREENS PHCY          HOUSTON         TX   77098    WALGREENS        FW3121427              200     1,300    1,700    2,500      -      1,140     5,700

100089373   018236570   COMMUNITY, A WALGREENS PHCY           DALLAS         TX   75219    WALGREENS        FW3121489    2,500    6,600    6,900    4,500    5,500    3,000    4,833    29,000

100089385   056155309   COMMUNITY, A WALGREENS PHCY        PHILADELPHIA      PA   19107    WALGREENS        FW3121530    1,600    1,600     500      800     1,100             1,120     5,600

100089379   020158139   COMMUNITY, A WALGREENS PHCY          LAS VEGAS       NV   89106    WALGREENS        FW3121542    2,500    3,500    3,500    4,000    9,000   15,500    6,333    38,000

100103560   032149393   WALGREENS #15529      DSD              BEND          OR   97701    WALGREENS        FW3122962    3,600    2,800    3,300    3,100    5,500    1,200    3,250    19,500

100089386   044210237   COMMUNITY, A WALGREENS PHCY         SAINT LOUIS      MO   63108    WALGREENS        FW3124245     100     1,200     600     1,300    1,500     500      867      5,200

100089382   025155309   COMMUNITY, A WALGREENS PHCY         MINNEAPOLIS      MN   55405    WALGREENS        FW3124283    1,000    1,000     500     1,000    1,500    1,000    1,000     6,000

100089378   021167361   WALGREENS # 16072   DSD             KANSAS CITY      MO   64111    WALGREENS        FW3124295             2,500    1,500    3,100    3,500    1,000    2,320    11,600

100089389   008155309   COMMUNITY, A WALGREENS PHCY        SAN FRANCISCO     CA   94114    WALGREENS        FW3124308    2,500    1,500    1,000    2,000    1,500     500     1,500     9,000

100089393   041155309   COMMUNITY, A WALGREENS PHCY         WASHINGTON       DC   20005    WALGREENS        FW3124322     600      800      500      500                        600      2,400

100096216   023147041   WALGREENS #15358      DSD            STAMFORD        CT   06902    WALGREENS        FW3127885     100      800     1,500                                800      2,400

100100199   038107714   WALGREENS #15012      DSD              WILLIS        TX   77318    WALGREENS        FW3127974             1,900   27,800   45,900   44,100   13,730   26,686   133,430

100089371   019156463   COMMUNITY, A WALGREENS PHCY           CHICAGO        IL   60657    WALGREENS        FW3129384     100     1,500     500      500     1,500     500      767      4,600

100089376   019156471   COMMUNITY, A WALGREENS PHCY         INDIANAPOLIS     IN   46204    WALGREENS        FW3129461   12,000   14,800   12,700   14,700   14,100    8,300   12,767    76,600

100105909   019183244   COMMUNITY A WALGREENS PHY 340B      INDIANAPOLIS     IN   46204   PHS 340B CLINIC   FW3129461    1,000              500                                 750      1,500
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100106694   019183707   COMMUNITY A WALGREENS PHY 340B    INDIANAPOLIS    IN   46204   PHS 340B CLINIC   FW3129461     500      500               500                        500      1,500

100089381   019156497   COMMUNITY, A WALGREENS PHCY        MILWAUKEE      WI   53203    WALGREENS        FW3129536     600     1,500     500     1,000    1,000      -       767      4,600

100089377   019156489   COMMUNITY, A WALGREENS PHCY       INDIANAPOLIS    IN   46260    WALGREENS        FW3129562                       500                                 500       500

100089357   040155309   COMMUNITY, A WALGREENS PHCY         ATLANTA       GA   30324    WALGREENS        FW3129601    1,000                       500                        750      1,500

100089388   012155309   COMMUNITY, A WALGREENS PHCY        SAN DIEGO      CA   92103    WALGREENS        FW3129613    2,200    3,700    2,700    3,300    4,000    1,500    2,900    17,400

100089391   024155317   COMMUNITY, A WALGREENS PHCY      SHERMAN OAKS     CA   91403    WALGREENS        FW3129637    1,500    1,100    1,000     600     1,100     500      967      5,800

100090802   019157750   WALGREENS #15148                  FORT WAYNE      IN   46804    WALGREENS        FW3136670    9,000    9,800    7,500    9,000    9,500    9,500    9,050    54,300

100089359   004155317   COMMUNITY, A WALGREENS PHCY         BOSTON        MA   02116    WALGREENS        FW3140845     700      500     2,000              500               925      3,700

100089358   041155317   COMMUNITY, A WALGREENS PHCY        BALTIMORE      MD   21201    WALGREENS        FW3140871     200      500      500                                 400      1,200

100089383   023155317   COMMUNITY, A WALGREENS PHCY        NEW YORK       NY   10011    WALGREENS        FW3140908     300     1,100     200      500      300      200      433      2,600

100089370   023155309   COMMUNITY, A WALGREENS PHCY          BRONX        NY   10467    WALGREENS        FW3140946     700      700     1,000    1,600     900     1,200    1,017     6,100

100089374   004155309   COMMUNITY, A WALGREENS PHCY       HAWTHORNE       NY   10532    WALGREENS        FW3140960     500                                1,000     400      633      1,900

100103589   032149674   WALGREENS #13087    DSD             SEATTLE       WA   98103    WALGREENS        FW3144538    1,500    2,500    2,100    2,700    2,600    2,000    2,233    13,400

100094540   023138040   WALGREENS #13752    DSD            BROOKLYN       NY   11234    WALGREENS        FW3152066    1,300     800     1,500    1,400    1,300     300     1,100     6,600

100098166   049194043   WALGREENS #12561    DSD          GRAND RAPIDS     MI   49546    WALGREENS        FW3152092   10,000   10,900   10,200   10,600   10,700   11,000   10,567    63,400

100089074   019155036   WALGREENS #15210                    AURORA        IL   60504    WALGREENS        FW3152105    7,100    9,600    7,800    7,200   11,700    9,800    8,867    53,200

100099173   019179077   WALGREENS #13921    DSD             DECATUR       IL   62521    WALGREENS        FW3164770    1,700   10,400    8,600   11,200   21,900    9,000   10,467    62,800

100099425   021170944   WALGREENS #13950    DSD            LEAWOOD        KS   66211    WALGREENS        FW3170759     500     5,500    7,500    7,000   11,500    6,100    6,350    38,100

100097373   044214924   WALGREENS #13009    DSD           ASHLAND CITY    TN   37015    WALGREENS        FW3190408   21,500   20,000   20,600   19,600   19,500   16,500   19,617   117,700

100103238   008114017   WALGREENS #15003    DSD            CONCORD        CA   94520    WALGREENS        FW3202544   16,610   18,540   16,410   18,530   17,700   14,300   17,015   102,090

100097300   052220475   WALGREENS #15449    DSD           TUSCALOOSA      AL   35406    WALGREENS        FW3220922    5,100    8,300    5,800    7,600    8,000   10,900    7,617    45,700

100097298   052220459   WALGREENS #15448    DSD           TUSCALOOSA      AL   35404    WALGREENS        FW3220946   21,300   25,400   21,800   24,300   24,600   23,000   23,400   140,400

100090569   052028019   WALGREENS #15450                  TUSCALOOSA      AL   35401    WALGREENS        FW3220972    6,500    5,500    6,100    5,500    7,000    9,500    6,683    40,100

100094862   041146993   WALGREENS #12324    DSD            FREDERICK      MD   21702    WALGREENS        FW3228803    6,680    6,500    6,900    6,280    7,500    6,900    6,793    40,760

100090662   040114272   WELLSTAR PHARMACY NETWORK #7       ACWORTH        GA   30101      HOSPITAL       FW3238195    3,000    2,000    4,100    1,600    1,300    1,500    2,250    13,500

100090796   040114314   WELLSTAR PHCY NETWK #7             ACWORTH        GA   30101      HOSPITAL       FW3238195                                        1,700    1,000    1,350     2,700

100087388   012055764   WHITE CROSS PHARMACY #1          PALM SPRINGS     CA   92262    INDEPENDENT      FW3239589    1,000    2,000    1,600    1,000    1,000    1,300    1,317     7,900

100090155   026003772   WALGREENS #13838                    WAHIAWA       HI   96786    WALGREENS        FW3240176    4,200    4,700    2,500    3,600    5,800    4,200    4,167    25,000

100090156   026003780   WALGREENS #15079                   HONOLULU       HI   96825    WALGREENS        FW3240188    5,200    6,000    6,000    7,900   10,300   11,300    7,783    46,700

100096238   023147116   WALGREENS #12442    DSD            UNION CITY     NJ   07087    WALGREENS        FW3243463    1,100    1,100    1,800    1,800    1,800    2,300    1,650     9,900

100094624   055033365   WALGREENS #13985    DSD            CHARLOTTE      NC   28226    WALGREENS        FW3243487    6,000    6,160    5,750    6,220   10,900    7,000    7,005    42,030

100090580   052028092   WALGREENS #15451                  TUSCALOOSA      AL   35401    WALGREENS        FW3246964    3,200    3,500    2,200    3,500    2,500    3,000    2,983    17,900

100101661   024119958   WALGREENS #12529    DSD           LOS ANGELES     CA   90033    WALGREENS        FW3247360    7,300    6,800    6,600    8,300   12,100    8,700    8,300    49,800

100095427   004093633   WALGREENS #12871    DSD             OSSINING      NY   10562    WALGREENS        FW3247396     100              1,000    1,000     700     1,200     800      4,000

100101970   024120469   WALGREENS #11918    DSD           STUDIO CITY     CA   91604    WALGREENS        FW3269532    3,300    4,900    3,000    3,000    5,300    2,500    3,667    22,000

100103423   008114660   WALGREENS #15108    DSD           SANTA CRUZ      CA   95060    WALGREENS        FW3269556    5,900   10,200    3,700   10,000   12,000    5,300    7,850    47,100

100094635   041146464   WALGREENS #13126    DSD          CHESTERFIELD     VA   23832    WALGREENS        FW3284217    7,430    7,300    9,000    8,000    8,500    6,500    7,788    46,730

100095761   055036988   WALGREENS #11550    DSD           WILMINGTON      NC   28405    WALGREENS        FW3287655    6,100    6,600    4,100    6,320    6,500    5,100    5,787    34,720

100095026   055035808   WALGREENS #15110    DSD          KINGS MOUNTAIN   NC   28086    WALGREENS        FW3287667   14,100   13,660   13,500   16,400   18,500   13,600   14,960    89,760

100102260   017097865   WALGREENS #15013    DSD           SOUTH OGDEN     UT   84405    WALGREENS        FW3290830    6,600    7,300    5,700    7,600    8,400    6,500    7,017    42,100

100095416   023145656   WALGREENS #13611    DSD              NYACK        NY   10960    WALGREENS        FW3290854    3,400    2,000    3,100    2,100    3,400    1,700    2,617    15,700

100100005   018400986   WALGREENS #15085    DSD            ARLINGTON      TX   76016    WALGREENS        FW3296882    4,300   25,400   22,900   24,100   18,800   19,500   19,167   115,000

100100399   018402404   WALGREENS #13940    DSD           SAN ANTONIO     TX   78258    WALGREENS        FW3296894     100      820     7,900   11,700   10,000    6,100    6,103    36,620

100087884   020155309   WALGREENS #15103                   LAS VEGAS      NV   89109    WALGREENS        FW3296919    5,500    7,000    7,000    6,500    7,200    5,900    6,517    39,100
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100094498   023137646   WALGREENS #10911    DSD        BRONX       NY   10459   WALGREENS   FW3304867    1,900    3,700    1,100    3,000    2,600    1,100    2,233    13,400

100103182   008113878   WALGREENS #15127    DSD    SAN FRANCISCO   CA   94133   WALGREENS   FW3312408    2,100    1,300    2,000    2,900    1,700    1,900    1,983    11,900

100103581   032149591   WALGREENS #15387    DSD      REDMOND       WA   98052   WALGREENS   FW3327447    1,500    2,000    1,000    1,000    2,600     500     1,433     8,600

100103457   008114959   WALGREENS #09723    DSD      STOCKTON      CA   95209   WALGREENS   FW3332614   37,000   37,500   28,200   31,900   25,600   25,000   30,867   185,200

100095474   023145706   WALGREENS #12669    DSD      PITTSTON      PA   18640   WALGREENS   FW3336294    3,900    4,800    3,800    4,800    4,800    3,800    4,317    25,900

100099566   037131219   WALGREENS #15109    DSD      JEFFERSON     LA   70121   WALGREENS   FW3350864             1,100    5,000    7,300    8,100    5,500    5,400    27,000

100103455   008114934   WALGREENS #12549    DSD      STOCKTON      CA   95205   WALGREENS   FW3368772   23,100   26,500   23,700   26,100   20,800   18,600   23,133   138,800

100096239   004100180   WALGREENS #15389    DSD      UNIONVILLE    CT   06085   WALGREENS   FW3370006    1,400    2,700    2,100    2,600    3,700    1,700    2,367    14,200

100094966   055034330   WALGREENS #15070    DSD      HIGH POINT    NC   27265   WALGREENS   FW3378139   10,930   10,660    9,300   12,630   10,900    9,100   10,587    63,520

100097354   052220970   WALGREENS #13159    DSD       SEMMES       AL   36575   WALGREENS   FW3378141   25,100   29,000   30,900   32,900   18,700   20,500   26,183   157,100

100100499   018403048   WALGREENS #13447    DSD       UVALDE       TX   78801   WALGREENS   FW3396000     800     1,000    8,600   14,000    9,600    7,100    6,850    41,100

100090833   037129494   WALGREENS #15372             HOUSTON       TX   77002   WALGREENS   FW3397014    1,100             3,000    2,900    2,000    1,000    2,000    10,000

100099782   018398768   WALGREENS #15385    DSD    OKLAHOMA CITY   OK   73118   WALGREENS   FW3402726                       500      500               500      500      1,500

100099119   019178848   WALGREENS #12367    DSD       PEORIA       IL   61615   WALGREENS   FW3418870    1,600    6,600    7,100    7,600    5,000    8,000    5,983    35,900

100094625   055033373   WALGREENS #15008    DSD     CHARLOTTE      NC   28280   WALGREENS   FW3418945    1,700    3,000    2,000    1,500    3,600    2,000    2,300    13,800

100100517   018403220   WALGREENS #15187    DSD       ABILENE      TX   79601   WALGREENS   FW3429986     600     4,300   18,000   18,500   18,600   14,000   12,333    74,000

100100434   037133124   WALGREENS #13691    DSD     SAN BENITO     TX   78586   WALGREENS   FW3429998     700              4,200    5,800    4,900    2,000    3,520    17,600

100096315   023147298   WALGREENS #11905    DSD     RIDGEWOOD      NY   11385   WALGREENS   FW3433187     700     1,700     500     1,100    1,100     300      900      5,400

100095975   041152090   WALGREENS #11313    DSD      HAMILTON      NJ   08619   WALGREENS   FW3436525    3,700    1,900    3,300    1,800    4,800    3,300    3,133    18,800

100091465   056022111   WALGREENS PHARMACY 15254     VOORHEES      NJ   08043   WALGREENS   FW3445156    3,100    3,200    1,000    2,500    2,200    4,300    2,717    16,300

100095384   004093567   WALGREENS #13751    DSD    NIAGARA FALLS   NY   14304   WALGREENS   FW3460514    7,000    6,500    6,500    8,500    8,000    6,000    7,083    42,500

100099750   018398446   WALGREENS #15243    DSD    RUSSELLVILLE    AR   72801   WALGREENS   FW3465160    8,200   11,500   12,800   14,200   13,400    8,000   11,350    68,100

100102279   012110759   WALGREENS #12841    DSD    GRAND TERRACE   CA   92313   WALGREENS   FW3473890   11,100   12,100   11,600   13,600   13,000    9,900   11,883    71,300

100095415   041149880   WALGREENS #13840    DSD     NOTTINGHAM     MD   21236   WALGREENS   FW3473903    4,300    3,230    4,700    4,230    5,500    1,700    3,943    23,660

100103556   032149351   WALGREENS #12901    DSD     NORTH BEND     OR   97459   WALGREENS   FW3476341   10,800    9,500    9,600   11,600   10,400    6,700    9,767    58,600

100100452   018402578   WALGREENS #15156    DSD        KYLE        TX   78640   WALGREENS   FW3480338    2,900   10,600   11,600    8,600   10,400    7,200    8,550    51,300

100102086   012109074   WALGREENS #12915    DSD    LEMON GROVE     CA   91945   WALGREENS   FW3486645    7,830    7,030    8,130    8,200    8,300    7,100    7,765    46,590

100090201   003001909   WALGREENS #00700               PONCE       PR   00716   WALGREENS   FW3493056     100      200      300      200                        200       800

100095502   055036400   WALGREENS #15019    DSD       RALEIGH      NC   27612   WALGREENS   FW3493068    3,500    3,300    2,600    3,000    4,500    2,000    3,150    18,900

100094834   055033811   WALGREENS #15151    DSD     FAYETTEVILLE   NC   28304   WALGREENS   FW3498791    4,120    4,400    5,000    5,060    6,100    4,520    4,867    29,200

100100449   018402545   WALGREENS #15140    DSD    GEORGETOWN      TX   78633   WALGREENS   FW3498804    3,100   17,700   17,100   18,500   17,100   12,600   14,350    86,100

100100430   037133082   WALGREENS #15202    DSD      PALMVIEW      TX   78572   WALGREENS   FW3498816     200              3,400    2,600    3,700    2,000    2,380    11,900

100095492   041150672   WALGREENS #13682    DSD    PURCELLVILLE    VA   20132   WALGREENS   FW3500786    2,600    3,900    2,500    2,260    3,400    3,000    2,943    17,660

100098523   025090050   WALGREENS #15123    DSD     ARDEN HILLS    MN   55126   WALGREENS   FW3503554    2,030    2,060    2,530    3,030    3,000    2,600    2,542    15,250

100102331   012110932   WALGREENS #11989    DSD       RIALTO       CA   92376   WALGREENS   FW3505673   19,600   23,700   21,600   23,300   34,600   20,200   23,833   143,000

100092078   004090340   WALGREENS #15590             DANBURY       CT   06810   WALGREENS   FW3510294    1,400    1,600    1,200    1,000    2,200     800     1,367     8,200

100091493   026003822   WALGREENS #13972             HONOLULU      HI   96814   WALGREENS   FW3513416    9,400    9,000    9,300   10,400    8,600   11,300    9,667    58,000

100092908   012041525   WALGREENS #15539           RANCHO MIRAGE   CA   92270   WALGREENS   FW3515307    6,400    6,800    4,900    6,100    8,300    7,300    6,633    39,800

100096236   023147090   WALGREENS #13687    DSD        UNION       NJ   07083   WALGREENS   FW3522643    1,400    1,100    2,120     600     2,100     700     1,337     8,020

100100509   018403147   WALGREENS #15105    DSD       LUBBOCK      TX   79407   WALGREENS   FW3522679             6,200    9,300    8,400   13,500    9,600    9,400    47,000

100100083   018401760   WALGREENS #12982    DSD     SAN ANGELO     TX   76903   WALGREENS   FW3522718     100    18,200   28,400   29,000   18,000   13,500   17,867   107,200

100100209   037132365   WALGREENS #15339    DSD      MAGNOLIA      TX   77355   WALGREENS   FW3523037     700     1,820   16,000   21,800   18,800   11,700   11,803    70,820

100097282   052220293   WALGREENS #15144    DSD     BIRMINGHAM     AL   35205   WALGREENS   FW3525283    9,700    9,200    7,500   11,100   10,200   10,500    9,700    58,200

100100527   018403329   WALGREENS #15141    DSD       ODESSA       TX   79763   WALGREENS   FW3527655     100    19,300   31,300   23,500   20,800    8,000   17,167   103,000
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100093357   046043521   SAM'S CLUB 10-4861              ST PETERSBURG    FL   33713      CHAIN      FW3527667                       500     8,100     200      400     2,300     9,200

100101999   017096982   WALGREENS #13888     DSD            BOISE        ID   83702   WALGREENS     FW3529522    7,600    8,600    8,400    8,700   10,700    9,200    8,867    53,200

100099940   018400333   WALGREENS #15340     DSD           TERRELL       TX   75160   WALGREENS     FW3533165    6,000   14,600   14,000   13,400   12,600    1,500   10,350    62,100

100097081   040118166   WALGREENS #13760     DSD          COVINGTON      GA   30014   WALGREENS     FW3538468   16,200   14,420   13,600   15,300   12,700   10,000   13,703    82,220

100099746   018398404   WALGREENS #13811     DSD         SPRINGDALE      AR   72762   WALGREENS     FW3540855     800     5,400   14,200   11,600   15,700    6,000    8,950    53,700

100101657   024119941   WALGREENS #15278     DSD         LOS ANGELES     CA   90028   WALGREENS     FW3541441    4,000    5,930    3,860    3,700    6,600    4,900    4,832    28,990

100095932   023146498   WALGREENS #13862     DSD        ENGLISHTOWN      NJ   07726   WALGREENS     FW3552824    1,200     900     2,500     700     2,400    2,000    1,617     9,700

100092505   003002097   WALGREENS #13795                  GUAYNABO       PR   00968   WALGREENS     FW3556276              100                                          100       100

100098895   019176628   WALGREENS #09431     DSD         SUGAR GROVE     IL   60554   WALGREENS     FW3556428    7,300    6,400    7,300    7,800    9,400    5,300    7,250    43,500

100094523   023137877   WALGREENS #10093     DSD          BROOKLYN       NY   11212   WALGREENS     FW3560299    1,100     700     1,100     300     1,500     500      867      5,200

100101881   038109926   WALGREENS #15101     DSD            AVON         CO   81620   WALGREENS     FW3562483    3,200    3,500    5,140    2,500    2,800    2,800    3,323    19,940

100100301   037132670   WALGREENS #10451     DSD         LEAGUE CITY     TX   77573   WALGREENS     FW3562510     200      900     7,500    8,800   10,300    5,600    5,550    33,300

100099938   018400317   WALGREENS #09947     DSD           RED OAK       TX   75154   WALGREENS     FW3562522   10,400   17,600   14,500   17,300   23,400   10,500   15,617    93,700

100102177   012110312   WALGREENS #13859     DSD          CORONADO       CA   92118   WALGREENS     FW3562534    2,500    2,600    3,200    2,300    3,800    1,200    2,600    15,600

100102097   012109090   WALGREENS #12387     DSD           EL CAJON      CA   92021   WALGREENS     FW3562560    9,900    9,500    8,600   10,100   10,700    5,100    8,983    53,900

100099028   019177980   WALGREENS #15065     DSD           CHICAGO       IL   60647   WALGREENS     FW3566138    3,700    4,200    3,500    3,600    5,000    2,700    3,783    22,700

100097272   052220194   WALGREENS #15205     DSD           CULLMAN       AL   35055   WALGREENS     FW3566176   14,600   15,300   13,300   13,100   13,800   14,300   14,067    84,400

100097310   052220574   WALGREENS #13793     DSD           MADISON       AL   35756   WALGREENS     FW3566190    6,000    6,400    7,200    7,500    9,500    4,500    6,850    41,100

100095083   041149344   WALGREENS #11525     DSD           LORTON        VA   22079   WALGREENS     FW3566203    1,180    2,340    1,600    1,500    1,500    1,560    1,613     9,680

100097777   019168930   WALGREENS #15181     DSD          ZIONSVILLE     IN   46077   WALGREENS     FW3570175    3,100    2,500    3,100    3,500    4,300    3,200    3,283    19,700

100099641   037131979   WALGREENS #13925     DSD         BATON ROUGE     LA   70808   WALGREENS     FW3571545                      5,000    6,000    8,000    6,500    6,375    25,500

100100062   018401554   WALGREENS #12410     DSD         FORT WORTH      TX   76248   WALGREENS     FW3571658    3,100   14,200   12,000   11,800   12,700   14,100   11,317    67,900

100095970   023146571   WALGREENS #13083     DSD           HALEDON       NJ   07508   WALGREENS     FW3571711    2,180     800     1,600    2,300    2,100     900     1,647     9,880

100098719   019173831   WALGREENS #15211     DSD          WILMETTE       IL   60091   WALGREENS     FW3574882    5,000    5,900    5,200    5,200    7,100    3,500    5,317    31,900

100095691   041151316   WALGREENS #15087     DSD        VIRGINIA BEACH   VA   23462   WALGREENS     FW3574919    4,900    4,000    3,000    2,600    5,400    3,300    3,867    23,200

100095046   041149260   WALGREENS #15185     DSD           LAUREL        MD   20707   WALGREENS     FW3574933    4,500    4,300    3,660    4,200    4,800    4,300    4,293    25,760

100093045   044211904   WESTMORELAND PHARMACY APSC      JEFFERSONVILLE   IN   47130   INDEPENDENT   FW3576545   20,000   23,000   33,900   22,000   38,500   31,500   28,150   168,900

100102753   020162453   WALGREENS #12386     DSD          GOODYEAR       AZ   85338   WALGREENS     FW3576583    6,420    6,020    6,590    7,960    9,000    3,600    6,598    39,590

100103567   032149450   WALGREENS #10553     DSD          BELLEVUE       WA   98007   WALGREENS     FW3576595    4,700    4,300    4,600    4,200    6,000    3,200    4,500    27,000

100095189   055036228   WALGREENS #13995     DSD        MYRTLE BEACH     SC   29575   WALGREENS     FW3581697    9,100    9,200   10,100   10,100    8,800    8,500    9,300    55,800

100102268   032148551   WALGREENS #15092     DSD         ANCHORAGE       AK   99503   WALGREENS     FW3582081    7,900   10,600   10,800    9,900   10,800   12,600   10,433    62,600

100095015   055034488   WALGREENS #15253     DSD         KANNAPOLIS      NC   28083   WALGREENS     FW3583160    8,000    8,400    8,230   10,700   13,600    7,500    9,405    56,430

100095420   041149898   WALGREENS #13816     DSD           ODENTON       MD   21113   WALGREENS     FW3585013    4,600    3,070    4,300    3,500    5,100    3,700    4,045    24,270

100087189   003091975   WALGREENS #00945                 LAS PIEDRAS     PR   00771   WALGREENS     FW3585037                                500                        500       500

100103817   038110320   WALGREENS #15606     DSD           LARAMIE       WY   82070   WALGREENS     FW3586863    8,700    9,600    8,100   10,200    8,500    8,600    8,950    53,700

100095673   023146068   WALGREENS #15118     DSD          UNIONDALE      NY   11553   WALGREENS     FW3587308    1,700    1,600    1,000     800     1,700     900     1,283     7,700

100096026   004098327   WALGREENS #11726     DSD           LOWELL        MA   01851   WALGREENS     FW3589314    2,100    2,800    3,100    2,700    2,100    2,600    2,567    15,400

100096032   023146720   WALGREENS #13610     DSD           MADISON       NJ   07940   WALGREENS     FW3591129    1,000     200     1,000              400     1,100     740      3,700

100103816   020165241   WALGREENS #15603     DSD           DEMING        NM   88030   WALGREENS     FW3592424   10,800   10,900   13,900   16,400   18,400    8,800   13,200    79,200

100103541   032149203   WALGREENS #15154     DSD          PORTLAND       OR   97219   WALGREENS     FW3602768    5,800    7,300    6,100    6,700    6,700    5,200    6,300    37,800

100094017   044067728   WASH U CANCER CTR PHCY SO RET    SAINT LOUIS     MO   63129    HOSPITAL     FW3608190     200      500      700     1,000    1,800    2,300    1,083     6,500

100092859   052214718   WALGREENS #15481                   MOBILE        AL   36604   WALGREENS     FW3610753   18,600   17,100   17,100   21,500   20,500   17,500   18,717   112,300

100103290   008114165   WALGREENS #15163     DSD          LIVERMORE      CA   94550   WALGREENS     FW3610777   10,900    9,700    9,700    9,900   12,100   10,100   10,400    62,400

100095629   041151092   WALGREENS #15503     DSD        STATEN ISLAND    NY   10309   WALGREENS     FW3613305    3,700    4,200    3,630    3,000    4,800    4,700    4,005    24,030
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100092305   019161158   WALGREENS #15493                    CHICAGO        IL   60657   WALGREENS     FW3615018    1,000     1,500     1,500    1,500    3,500    3,000    2,000     12,000

100092860   044211755   WALGREENS #15585                    MEMPHIS        TN   38119   WALGREENS     FW3628952   12,100    11,600     9,600   10,500   12,500    7,500   10,633     63,800

100100696   012025171   SAM'S CLUB PHARMACY 10-6627         STANTON        CA   90680      CHAIN      FW3629221                         200      100     1,000              433       1,300

100096319   023147314   WALGREENS #12443        DSD        ROSEDALE        NY   11422   WALGREENS     FW3643992     300      1,400      600     1,000     200      800      717       4,300

100097879   019169953   WALGREENS #15598        DSD       NOTRE DAME       IN   46556   WALGREENS     FW3644057               (100)              600     1,100              533       1,600

100102146   017097659   WALGREENS #15289        DSD      SALT LAKE CITY    UT   84117   WALGREENS     FW3648081   14,700    13,970    13,600   16,200   16,100   11,500   14,345     86,070

100093018   040114678   FIEVET PHARMACY CPA               WASHINGTON       GA   30673   INDEPENDENT   FW3648219   12,800    15,100    23,700   23,100    1,100   12,600   14,733     88,400

100095557   041150938   WALGREENS #12130        DSD        SALISBURY       MD   21804   WALGREENS     FW3659440    2,800     2,400     2,700    2,000    1,500    3,300    2,450     14,700

100094284   041145771   WALTER REED NMMC-NEX PHARMACY      BETHESDA        MD   20889    HOSPITAL     FW3664768                        1,400    1,300                      1,350      2,700

100102304   055038240   WALGREENS #15251        DSD         AHOSKIE        NC   27910   WALGREENS     FW3678274    4,600     4,600     3,300    3,730    6,100    1,100    3,905     23,430

100102296   041153197   WALGREENS #15669        DSD        GATE CITY       VA   24251   WALGREENS     FW3678298   26,100    24,000    23,400   27,000   29,900   15,000   24,233    145,400

100102962   020162974   WALGREENS #15363        DSD         TUCSON         AZ   85718   WALGREENS     FW3687172    5,160     5,190     4,030    3,500    5,000    3,700    4,430     26,580

100096414   037102707   WALGREENS #15515                    HOUSTON        TX   77094   WALGREENS     FW3687196     200                3,700    5,700    5,100    5,000    3,940     19,700

100096488   037102756   WALGREENS #15514                  SUGAR LAND       TX   77479   WALGREENS     FW3695977     600      1,300     4,200    7,500    7,300    3,100    4,000     24,000

100100676   019179226   WALGREENS #15636                     PEORIA        IL   61636   WALGREENS     FW3706643    2,000     7,500     7,200    8,000   11,500    7,500    7,283     43,700

100101232   023151613   WALGREENS #12827        DSD      STATEN ISLAND     NY   10301   WALGREENS     FW3712331     600       700      1,000     500      500      500      633       3,800

100101238   025091132   WALGREENS #15439        DSD         CLOQUET        MN   55720   WALGREENS     FW3715630   12,700    13,200    14,500   14,100   17,100   13,100   14,117     84,700

100096656   004101014   WALGREENS #15465                   HARTFORD        CT   06106   WALGREENS     FW3717088     500      1,500      100      600     1,000     500      700       4,200

100101237   041153130   WALGREENS #15360        DSD       WASHINGTON       DC   20001   WALGREENS     FW3728663    1,700     2,000     1,620    2,400     400     3,000    1,853     11,120

100101233   041153122   WALGREENS #13892        DSD       HAGERSTOWN       MD   21740   WALGREENS     FW3749465    5,000     8,000     6,500    7,000   10,600    5,300    7,067     42,400

100101118   037133207   WALKER PHARMACY (6108)              WALKER         LA   70785   INDEPENDENT   FW3750583     (100)                                                   (100)      (100)

100101260   023151639   WALGREENS #11774        DSD      NORTH BERGEN      NJ   07047   WALGREENS     FW3753541     930      1,490     1,030     100      500     2,000    1,008      6,050

100102284   023151753   WALGREENS #13281        DSD         NEWARK         NJ   07105   WALGREENS     FW3763299               200       200      600                        333       1,000

100104023   049194688   WALGREENS #15391        DSD       BIRMINGHAM       MI   48009   WALGREENS     FW3765243    3,000     4,800     5,700    7,500    9,700    4,000    5,783     34,700

100103934   055038364   WALGREENS #15009        DSD      WINSTON-SALEM     NC   27105   WALGREENS     FW3767615    2,600     4,070     4,400    3,500    5,200    2,500    3,712     22,270

100102288   023151761   WALGREENS #15352        DSD        BROOKLYN        NY   11216   WALGREENS     FW3774432     800      1,800      200      500      200     1,000     750       4,500

100100679   019179234   WALGREENS #15031                     JOLIET        IL   60433   WALGREENS     FW3777325    1,500      500      1,000    1,100    1,000     500      933       5,600

100103838   041153254   WALGREENS #13893        DSD       HAGERSTOWN       MD   21740   WALGREENS     FW3777503    6,300     5,900     5,800    6,000    9,600    4,300    6,317     37,900

100103932   008019612   WALGREENS #15195        DSD     RANCHO CORDOVA     CA   95670   WALGREENS     FW3782097   15,200    14,700    15,700   17,900   11,900   22,100   16,250     97,500

100096710   019163600   WALGREENS #15507                    CHICAGO        IL   60624   WALGREENS     FW3784154    1,500     2,500     1,000    2,200    3,100    1,000    1,883     11,300

100103839   025091215   WALGREENS #15150        DSD          MOUND         MN   55364   WALGREENS     FW3787150   10,600    12,900    10,800   10,500   10,700    5,700   10,200     61,200

100103837   018403428   WALGREENS #10787        DSD       SAN ANTONIO      TX   78253   WALGREENS     FW3792113      20       220      2,800    4,100    3,500    4,500    2,523     15,140

100101140   019179309   WALGREENS #15508                    CHICAGO        IL   60609   WALGREENS     FW3794977     600      1,100      100      600     1,500      -       650       3,900

100104155   010234948   WHITESBURG MED CTR PHCY INC       WHITESBURG       KY   41858   INDEPENDENT   FW3796022    3,800     4,600     4,000    4,100    6,000    1,500    4,000     24,000

100106875   049195206   WARREN PHARMACY                     WARREN         MI   48089   INDEPENDENT   FW3801570              2,500     1,000             1,700    4,800    2,500     10,000

100104222   044219626   WAGNER PHARMACY CPA                  MANILA        AR   72442   INDEPENDENT   FW3804273    6,400     7,600     9,000    6,500   10,100             7,920     39,600

100102963   008113340   WALGREENS #00890        DSD      SAN FRANCISCO     CA   94102   WALGREENS     FW3809223    3,600     2,900     3,700    3,800    4,100    1,400    3,250     19,500

100103921   010234658   WALGREENS #10991        DSD         MARION         OH   43302   WALGREENS     FW3809259    4,000     4,600     4,100    4,000    4,700    4,000    4,233     25,400

100103930   019179895   WALGREENS #15116        DSD       INDIANAPOLIS     IN   46219   WALGREENS     FW3816204    7,100     6,700     7,100    7,500   10,500    9,100    8,000     48,000

100103846   004101444   WALGREENS #15390        DSD         BOSTON         MA   02108   WALGREENS     FW3816216     500       500       500                        500      500       2,000

100104012   040120147   WINSHIP CNCR INST ST JOE 340B       ATLANTA        GA   30342    HOSPITAL     FW3824136                                            80                80         80

100090967   046042382   WINSHIPS PHARMACY INC           NORTH PALM BEACH   FL   33408   INDEPENDENT   FW3825378     (100)    1,600     3,600    8,800    7,600    3,700    4,200     25,200

100103933   037133355   WALGREENS #15366        DSD        PORT ALLEN      LA   70767   WALGREENS     FW3826584     200       200      8,500   18,400   15,200   15,600    9,683     58,100

100103936   032151662   WALGREENS #15362        DSD       EAGLE RIVER      AK   99577   WALGREENS     FW3838426    4,000     5,600     5,500    6,600    7,500    6,000    5,867     35,200
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100103935   010234708   WALGREENS #15345        DSD       MORGANTOWN       WV   26505     WALGREENS         FW3847348    5,000     5,900    7,100    7,300   11,500    7,600    7,400   44,400

100104634   032151811   WALGREENS #15239        DSD         NEWPORT        OR   97365     WALGREENS         FW3849405   11,500    13,200   10,700   11,700   12,000   10,100   11,533   69,200

100104234   032126573   WALGREENS #15370        DSD        PENDLETON       OR   97801     WALGREENS         FW3849417    8,000     5,500    7,000    8,700    9,500    6,000    7,450   44,700

100104084   018121715   RISON PHARMACY CPA                   RISON         AR   71665     INDEPENDENT       FW3856171              4,000    4,000    2,000    5,500             3,875   15,500

100103939   026004408   WALGREENS #12742                   HONOLULU        HI   96817     WALGREENS         FW3876781    3,500     4,700    4,700    4,300    5,900    4,200    4,550   27,300

100103937   023151837   WALGREENS #13766        DSD         VINELAND       NJ   08360     WALGREENS         FW3894183    1,600     1,700    2,200    1,500    2,100    1,100    1,700   10,200

100104242   041153379   WALGREENS #15344        DSD        GLEN ALLEN      VA   23060     WALGREENS         FW3905330    4,220     4,650    5,750    4,950    7,700    5,200    5,412   32,470

100104120   044219584   SOO'S WEST END PHARMACY CPA        JONESBORO       AR   72401     INDEPENDENT       FW3912018    1,500     4,200    2,600    3,300    2,500    5,200    3,217   19,300

100104248   026004424   WALGREENS #15146                      EWA          HI   96706     WALGREENS         FW3927780    6,300     9,000    5,500    8,100    8,900    9,500    7,883   47,300

100089384   046155333   COMMUNITY, A WALGREENS PHCY         ORLANDO        FL   32804     WALGREENS         FW3941526               500               100                        300      600

100089838   046155408   COMMUNITY, A WALGREENS PHCY      WILTON MANORS     FL   33305     WALGREENS         FW3941552                                                   100      100      100

100093196   046043224   WALGREENS #15616                   PENSACOLA       FL   32504     WALGREENS         FW3941641                       4,000    5,000    9,500   11,700    7,550   30,200

100103204   046055459   WALGREENS #11305        DSD         STUART         FL   34997     WALGREENS         FW3941704               100     3,100    2,600    4,900    4,200    2,980   14,900

100101448   046045369   WALGREENS #13078        DSD        MARATHON        FL   33050     WALGREENS         FW3941778     600       100      500     2,300    3,200    3,000    1,617    9,700

100103243   046055558   WALGREENS #11482        DSD        HOMESTEAD       FL   33035     WALGREENS         FW3941805     100                        1,000     500     1,500     775     3,100

100101540   046045914   WALGREENS #10983        DSD       MIAMI BEACH      FL   33139     WALGREENS         FW3941829               700      500      600              1,300     775     3,100

100102816   046053389   WALGREENS #15377        DSD        TITUSVILLE      FL   32796     WALGREENS         FW3943152                       1,200    2,500    1,300    1,900    1,725    6,900

100103940   040120139   WALGREENS #12756        DSD        MOULTRIE        GA   31788     WALGREENS         FW3947338    8,200     9,100    7,000    8,100    5,600    8,500    7,750   46,500

100104892   004102103   WOODMARK PHARMACY OF MASS LLC       WALTHAM        MA   02451     INDEPENDENT       FW3948924    3,300     4,600    4,200    3,300    5,800    1,900    3,850   23,100

100104030   046057448   WALGREENS #10670        DSD     NORTH FORT MYERS   FL   33903     WALGREENS         FW3952252               800     6,800    9,600   10,400    9,500    7,420   37,100

100102596   046052258   WALGREENS #11535        DSD       FORT MYERS       FL   33908     WALGREENS         FW3952276     (100)     300     3,700    6,600    7,600    5,600    3,950   23,700

100103104   046054874   WALGREENS #15436        DSD       WINDERMERE       FL   34786     WALGREENS         FW3952339               500     1,700    1,900    2,700    3,400    2,040   10,200

100104102   055038521   WALGREENS #15152        DSD         RALEIGH        NC   27603     WALGREENS         FW3965552    2,500     2,600    4,600    3,500    3,500    3,000    3,283   19,700

100104246   041153387   WALGREENS #13790        DSD       WOODBRIDGE       VA   22191     WALGREENS         FW3965641    3,400     2,560    3,300    2,600    2,800    2,200    2,810   16,860

100104096   023151936   WALGREENS #15336        DSD       PHILADELPHIA     PA   19107     WALGREENS         FW3967366    1,100              1,300     800     1,100    2,000    1,260    6,300

100104100   021172262   WALGREENS #15588                  KANSAS CITY      MO   64139     WALGREENS         FW3974892    2,800    11,300   11,600    9,600   13,600    8,000    9,483   56,900

100105973   021173492   WALGREENS #15588 340B             KANSAS CITY      MO   64139   PHS 340B HOSPITAL   FW3974892     400       200      100      100                        200      800

100109362   021175802   WALGREENS #15588 340B             KANSAS CITY      MO   64139   PHS 340B HOSPITAL   FW3974892     300       100               100                        167      500

100104099   041153288   WALGREENS #15189        DSD      CHARLES TOWN      WV   25414     WALGREENS         FW3980225    3,200     3,500    3,600    5,200    5,100    3,500    4,017   24,100

100104209   004101709   WALGREENS #15184        DSD        CAMBRIDGE       MA   02140     WALGREENS         FW3987231                -                500               600      367     1,100

100104241   023152017   WALGREENS #10440        DSD     NORTH BRUNSWICK    NJ   08902     WALGREENS         FW4000799     200      2,400    1,000    1,100    2,000    1,500    1,367    8,200

100104569   019181727   WALGREENS #15506                    CHICAGO        IL   60623     WALGREENS         FW4032001     500      2,000    1,000    2,000    1,500      -      1,167    7,000

100104089   055038513   WALGREENS #15274        DSD        ROCK HILL       SC   29732     WALGREENS         FW4040755    5,100     4,200    5,200    4,700    7,800    8,100    5,850   35,100

100104620   040120402   WALGREENS #15180        DSD       CARTERSVILLE     GA   30120     WALGREENS         FW4053827    6,100     8,110    8,100   10,000   11,200    7,000    8,418   50,510

100104619   052223172   WALGREENS #15501        DSD        HUNTSVILLE      AL   35806     WALGREENS         FW4066115    7,760     7,500    7,800    8,300    6,700    8,100    7,693   46,160

100104101   026004416   WALGREENS #15909                   HONOLULU        HI   96814     WALGREENS         FW4066228    6,800     7,600    6,200    4,800    6,700    6,700    6,467   38,800

100104921   032146399   WALGREENS #15643                    SPOKANE        WA   99204     WALGREENS         FW4072423    5,600     6,500    4,000    6,000   12,000    7,000    6,850   41,100

100104244   023152025   WALGREENS #12441        DSD        MANALAPAN       NJ   07726     WALGREENS         FW4088060     600      2,400    1,600    1,400    3,000    1,600    1,767   10,600

100104395   046057570   WALGREENS #15617                     MIAMI         FL   33137     WALGREENS         FW4088185                                                   100      100      100

100104625   008116129   WALGREENS #15432        DSD        FAIRFIELD       CA   94533     WALGREENS         FW4097134   11,000    11,500   12,500   12,000   13,500   10,200   11,783   70,700

100104221   004101717   WALGREENS #11291        DSD       DOBBS FERRY      NY   10522     WALGREENS         FW4097146    2,100     2,400    1,600    2,600    2,600    1,500    2,133   12,800

100104635   004101972   WALGREENS #15464        DSD        PLAISTOW        NH   03865     WALGREENS         FW4097158     700       800     2,100    1,000    2,100    2,300    1,500    9,000

100104215   003002279   WALGREENS #13846                  SAINT THOMAS     VI   00802     WALGREENS         FW4097261    2,600     1,700    5,000    1,500    4,000    6,000    3,467   20,800

100104621   055038877   WALGREENS #15511        DSD         KINSTON        NC   28504     WALGREENS         FW4099239    4,700     5,600    5,000    5,600    4,500    5,300    5,117   30,700
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100104624   023152306   WALGREENS #13440       DSD          SPRINGFIELD      NJ   07081   WALGREENS     FW4100424     800     1,000    1,320    1,400    1,800     500     1,137     6,820

100105591   055039156   WAKEMED GARNER HEALTHPLEX PHCY        GARNER         NC   27529    HOSPITAL     FW4103367                                         100               100       100

100104633   037133819   WALGREENS #15381       DSD           HARLINGEN       TX   78550   WALGREENS     FW4111554     200      200     3,200    3,800    4,200    6,000    2,933    17,600

100104250   019181024   WALGREENS #15279                  HOFFMAN ESTATES    IL   60169   WALGREENS     FW4113534    2,500    3,700    2,600    2,500    7,100    5,200    3,933    23,600

100104632   004101964   WALGREENS #15335       DSD            BEVERLY        MA   01915   WALGREENS     FW4127951     500     1,500     700     1,500    2,600    2,600    1,567     9,400

100105751   037134239   WALGREENS #15513                     BEAUMONT        TX   77701   WALGREENS     FW4140252              500     2,000    2,100    3,500     500     1,720     8,600

100104630   041153536   WALGREENS #15117       DSD           ROCKVILLE       MD   20850   WALGREENS     FW4148082     200     1,300    2,030    1,000    2,800    2,500    1,638     9,830

100104580   019181735   WALGREENS #15678                      CHICAGO        IL   60657   WALGREENS     FW4148119    1,000    2,000    1,100    2,200     500     1,500    1,383     8,300

100104095   019180489   WALGREENS #15188       DSD          SHOREWOOD        WI   53211   WALGREENS     FW4155936    7,700    9,000    9,700    8,200    9,500    8,100    8,700    52,200

100105520   018174037   WALGREENS #11340       DSD         FLOWER MOUND      TX   75028   WALGREENS     FW4156596    3,900    4,900    5,700    3,000    5,700    3,500    4,450    26,700

100105573   041153692   WALGREENS #15958-S       DSD        HAGERSTOWN       MD   21742   WALGREENS     FW4164531     500      600     1,500     500      500      500      683      4,100

100104626   052223180   WALGREENS #15480       DSD            MOBILE         AL   36604   WALGREENS     FW4166597   23,000   23,600   26,000   25,600   17,100   24,500   23,300   139,800

100105877   052223628   WALGREENS #15250       DSD            MADISON        MS   39110   WALGREENS     FW4166903    5,030    4,100    5,100    6,730    5,540    5,100    5,267    31,600

100097661   052222273   WALGREENS #15485      DSD             JACKSON        MS   39211   WALGREENS     FW4166939    6,100    7,600    7,860    6,660    6,500    6,100    6,803    40,820

100105519   012034744   WALGREENS #15388       DSD           SAN DIEGO       CA   92103   WALGREENS     FW4178794    3,000    5,510    4,030    4,290    5,100    4,000    4,322    25,930

100106804   010236828   WELLS PHARMACY APSC                     INEZ         KY   41224   INDEPENDENT   FW4185395    5,300    6,200    2,700    4,700    6,500    4,500    4,983    29,900

100104628   023152314   WALGREENS #11267       DSD             BRONX         NY   10451   WALGREENS     FW4186626     600      600      800      700     1,200    1,600     917      5,500

100104622   023152298   WALGREENS #13866       DSD          MILLER PLACE     NY   11764   WALGREENS     FW4198873    3,700    4,100    5,100    4,200    4,600    5,000    4,450    26,700

100105880   008116467   WALGREENS #15549       DSD         ROHNERT PARK      CA   94928   WALGREENS     FW4199027   11,000   13,200   13,400   12,200   13,600    9,500   12,150    72,900

100105874   038110643   WALGREENS #15434       DSD            DENVER         CO   80205   WALGREENS     FW4199039    5,300    4,100    4,600    4,500    5,100    3,300    4,483    26,900

100105878   052223636   WALGREENS #15614       DSD         ALEXANDER CITY    AL   35010   WALGREENS     FW4199065    9,500   10,100   10,600   12,100   10,000    8,000   10,050    60,300

100106826   021173716   WESLEYCARE PHARMACY #714              WICHITA        KS   67226    HOSPITAL     FW4201478     800      800      800      900     1,640     400      890      5,340

100109682   040122093   WELLSTAR PAULDING HSP NRSNG HM         HIRAM         GA   30141    HOSPITAL     FW4203648    1,500    2,400    1,500    1,500    2,800    1,600    1,883    11,300

100109153   040121640   WELLSTAR PAULDING HOSPITAL             HIRAM         GA   30141    HOSPITAL     FW4203648    1,600    2,600     900     2,000    1,560    1,600    1,710    10,260

100106781   032152298   WALGREENS #015548    DSD             MILWAUKIE       OR   97267   WALGREENS     FW4208763    5,500    3,000    5,000    5,000    9,000    4,500    5,333    32,000

100104631   004101956   WALGREENS #15212       DSD          CHAPPAQUA        NY   10514   WALGREENS     FW4215720     100     1,600             1,000                       900      2,700

100106618   046059402   WALGREENS #15618                  FORT LAUDERDALE    FL   33334   WALGREENS     FW4218586              100      500      100      500               300      1,200

100106775   052223933   WALGREENS #015018    DSD             GULFPORT        MS   39501   WALGREENS     FW4220202   11,200   22,700   21,000   25,500   18,500   19,500   19,733   118,400

100106769   020145946   WALGREENS #10582 DSD                  EL PASO        TX   79925   WALGREENS     FW4236116    1,800    4,000    4,300    3,200    4,000    1,100    3,067    18,400

100105879   052223644   WALGREENS #15545       DSD       OWENS CROSS ROADS   AL   35763   WALGREENS     FW4236902    7,200    6,620    7,800    6,300    4,200    5,500    6,270    37,620

100106776   021173708   WALGREENS #010461    DSD            LEE'S SUMMIT     MO   64082   WALGREENS     FW4245420    1,600    7,100    7,800    6,800   10,100    5,700    6,517    39,100

100105882   008116475   WALGREENS #15433       DSD           HOLLISTER       CA   95023   WALGREENS     FW4245444    6,900    8,200    8,700   10,100   10,200    6,500    8,433    50,600

100106785   041154005   WALGREENS #015284    DSD             BALTIMORE       MD   21205   WALGREENS     FW4247309    1,000    1,000     500     1,100     500     1,000     850      5,100

100106779   019183756   WALGREENS #011367    DSD             LAKEMOOR        IL   60051   WALGREENS     FW4247525   13,100   10,900   10,200   12,900   11,000   11,300   11,567    69,400

100106133   055039651   WALGREENS OF NC #16107              HAYESVILLE       NC   28904   WALGREENS     FW4250851   16,500   12,000   15,000   14,500   12,600    9,000   13,267    79,600

100106134   055039669   WALGREENS OF NC #16108                LENOIR         NC   28645   WALGREENS     FW4250926   12,200   13,300   14,000   13,900   17,800    8,500   13,283    79,700

100106135   055039677   WALGREENS OF NC #16109                MURPHY         NC   28906   WALGREENS     FW4250976   22,200   19,300   31,600   18,100   20,400   13,500   20,850   125,100

100106333   055039792   WALGREENS OF NC #16112              MOUNT AIRY       NC   27030   WALGREENS     FW4250988   21,400   18,100   16,800   22,400   17,000   17,000   18,783   112,700

100106338   055039842   WALGREENS OF NC #15648              LAURINBURG       NC   28352   WALGREENS     FW4251067   12,000   13,700   12,600   12,700   10,200   12,500   12,283    73,700

100106340   055039867   WALGREENS OF NC #16119               PEMBROKE        NC   28372   WALGREENS     FW4251079   19,600   14,800   15,300   15,500   17,100   12,200   15,750    94,500

100106349   055039958   WALGREENS OF NC #16128             HILLSBOROUGH      NC   27278   WALGREENS     FW4251081   11,000    6,800    8,700    9,600    9,300    4,700    8,350    50,100

100106350   055039966   WALGREENS OF NC #16129              JAMESTOWN        NC   27282   WALGREENS     FW4251106    4,600    8,200    7,800    7,200    7,600    8,600    7,333    44,000

100106355   055040014   WALGREENS OF NC #16134              GREENSBORO       NC   27408   WALGREENS     FW4251144    2,600    4,000    4,500    6,000    4,500    4,000    4,267    25,600

100106363   055040246   WALGREENS OF NC #16142               PITTSBORO       NC   27312   WALGREENS     FW4251168    7,500    4,830    3,900    8,100    6,100    5,000    5,905    35,430
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100106369   055040444   WALGREENS OF NC #16148         RALEIGH       NC   27615   WALGREENS   FW4251170    2,730    3,730    3,100    2,530    3,100    3,030    3,037   18,220

100106385   055040790   WALGREENS OF NC #16164         NASHVILLE     NC   27856   WALGREENS   FW4251207    7,100   11,200    7,700   11,100    9,900   11,000    9,667   58,000

100106386   055040808   WALGREENS OF NC #16130         PLYMOUTH      NC   27962   WALGREENS   FW4251219   15,700   15,400   15,200   16,700   18,800   13,000   15,800   94,800

100106814   055041970   WALGREENS SPECIALTY #16177     RALEIGH       NC   27616   WALGREENS   FW4251233     500              1,000     200                        567     1,700

100106127   055039594   WALGREENS OF NC #16101         ANDREWS       NC   28901   WALGREENS   FW4251257   15,200   11,000   13,000   13,000   10,500   10,500   12,200   73,200

100106128   055039602   WALGREENS OF NC #16102         ASHEVILLE     NC   28806   WALGREENS   FW4251283    8,300    8,300   10,600   10,500   11,900    7,000    9,433   56,600

100106129   055039610   WALGREENS OF NC #16103        BRYSON CITY    NC   28713   WALGREENS   FW4251295   11,540    9,410   11,790   10,630    8,600    7,200    9,862   59,170

100106131   055039636   WALGREENS OF NC #16105         FRANKLIN      NC   28734   WALGREENS   FW4251308   17,270   11,600   12,160   16,000   14,900    7,700   13,272   79,630

100106343   055039891   WALGREENS OF NC #16122        CHAPEL HILL    NC   27517   WALGREENS   FW4251310    4,100    2,300    2,500    3,600    2,200    1,700    2,733   16,400

100106344   055039909   WALGREENS OF NC #16123          DOBSON       NC   27017   WALGREENS   FW4251322    8,800    8,300    6,900    8,400    8,600    7,400    8,067   48,400

100106345   055039917   WALGREENS OF NC #16124       GREENSBORO      NC   27405   WALGREENS   FW4251334   10,700    9,000    8,500   10,900   12,400    5,700    9,533   57,200

100106356   055040071   WALGREENS OF NC #16135          ANGIER       NC   27501   WALGREENS   FW4251346    7,130    7,300    7,060    6,800    7,100    6,140    6,922   41,530

100106357   055040121   WALGREENS OF NC #16136         CARTHAGE      NC   28327   WALGREENS   FW4251384    8,800    8,900    6,800    8,600    8,500    4,060    7,610   45,660

100106358   055040147   WALGREENS OF NC #16137         DURHAM        NC   27703   WALGREENS   FW4251411    8,100    6,200    6,700    7,100    6,500    6,000    6,767   40,600

100106359   055040188   WALGREENS OF NC #16138         DURHAM        NC   27704   WALGREENS   FW4251435    5,400    5,600    7,400    5,000    8,300    5,200    6,150   36,900

100106361   055040204   WALGREENS OF NC #16140       FRANKLINTON     NC   27525   WALGREENS   FW4251447    6,700    6,500    7,000    8,500    8,000    5,700    7,067   42,400

100106362   055040212   WALGREENS OF NC #16141       FUQUAY VARINA   NC   27526   WALGREENS   FW4251459    6,800    6,700    6,200    5,200    7,200    6,000    6,350   38,100

100106373   055040519   WALGREENS OF NC #16152         DURHAM        NC   27707   WALGREENS   FW4251461    5,700    3,200    4,500    2,700    5,200    4,300    4,267   25,600

100106376   055040600   WALGREENS OF NC #16155         BELHAVEN      NC   27810   WALGREENS   FW4251512    8,660    7,130    5,800    7,800    5,600    6,000    6,832   40,990

100106377   055040659   WALGREENS OF NC #16156          BENSON       NC   27504   WALGREENS   FW4251536    7,400    7,700    8,100    9,100    8,100    7,630    8,005   48,030

100106379   055040675   WALGREENS OF NC #16158         BURGAW        NC   28425   WALGREENS   FW4251548   11,100   11,000   11,400   12,800   12,300    9,100   11,283   67,700

100106380   055040683   WALGREENS OF NC #16159        CHADBOURN      NC   28431   WALGREENS   FW4251550    8,700    8,400    6,900    9,500   10,300    6,700    8,417   50,500

100106382   055040733   WALGREENS OF NC #16161         FAIRMONT      NC   28340   WALGREENS   FW4251574    6,400    7,300    8,100    6,900   11,900    6,800    7,900   47,400

100106136   055039685   WALGREENS OF NC #16110       ROBBINSVILLE    NC   28771   WALGREENS   FW4251586   11,300   11,600   11,000   10,500    9,900    6,700   10,167   61,000

100106352   055039982   WALGREENS OF NC#16131          RAMSEUR       NC   27316   WALGREENS   FW4251637    7,200   10,500    9,100    8,500   10,000    6,500    8,633   51,800

100106364   055040311   WALGREENS OF NC #16143         RALEIGH       NC   27612   WALGREENS   FW4251663    4,900    3,200    1,830    3,700    4,300    2,600    3,422   20,530

100106365   055040329   WALGREENS OF NC #15474         RALEIGH       NC   27609   WALGREENS   FW4251675    5,190    7,700    2,000    4,400    3,500    5,000    4,632   27,790

100106366   055040337   WALGREENS OF NC #16145         RALEIGH       NC   27606   WALGREENS   FW4251702    5,400    6,200    2,200    5,000    5,200    3,600    4,600   27,600

100106367   055040402   WALGREENS OF NC #16146         RALEIGH       NC   27606   WALGREENS   FW4251738    3,100    5,200    2,900    2,600    5,300    2,500    3,600   21,600

100106368   055040428   WALGREENS OF NC #16147         RALEIGH       NC   27609   WALGREENS   FW4251752    7,800    3,700    6,100    3,600    5,900    6,100    5,533   33,200

100106374   055040550   WALGREENS OF NC #16153         RALEIGH       NC   27614   WALGREENS   FW4251764    4,300    3,500    3,900    5,100    4,700    3,000    4,083   24,500

100106341   055039875   WALGREENS OF NC #16120        TROUTMAN       NC   28166   WALGREENS   FW4251788    9,260   11,260    9,780   11,600   12,100    8,100   10,350   62,100

100106342   055039883   WALGREENS OF NC #16121         SPENCER       NC   28159   WALGREENS   FW4251790   12,200   14,000   10,000   12,500   11,000    7,500   11,200   67,200

100106354   055040006   WALGREENS OF NC #16133          SPARTA       NC   28675   WALGREENS   FW4251865   14,000   11,500   13,800   11,200   12,300    8,200   11,833   71,000

100106370   055040451   WALGREENS OF NC #16149         SANFORD       NC   27330   WALGREENS   FW4251889    9,240    8,840    9,620   10,200    8,340    9,600    9,307   55,840

100106371   055040469   WALGREENS OF NC #16150        WARRENTON      NC   27589   WALGREENS   FW4251891    9,400    8,300    7,500   10,000    5,500    6,000    7,783   46,700

100106324   055039701   WALGREENS OF NC #16168        ROSEBORO       NC   28382   WALGREENS   FW4251904    9,800   12,060    9,400   11,200   12,100    6,500   10,177   61,060

100106326   055039727   WALGREENS OF NC #16170        SOUTHPORT      NC   28461   WALGREENS   FW4251930   10,130    9,030   10,500    9,500   10,920    8,500    9,763   58,580

100106327   055039735   WALGREENS OF NC #16171        SAINT PAULS    NC   28384   WALGREENS   FW4251992   14,200   11,800   10,900   13,500   12,500    8,400   11,883   71,300

100106328   055039743   WALGREENS OF NC #16172        TABOR CITY     NC   28463   WALGREENS   FW4252110    9,300   11,400    7,300   11,400    9,400    9,100    9,650   57,900

100106330   055039768   WALGREENS OF NC #16174        WILMINGTON     NC   28401   WALGREENS   FW4252146    5,100    4,600    4,800    6,900    5,400    3,600    5,067   30,400

100106360   055040196   WALGREENS OF NC #16139         DURHAM        NC   27705   WALGREENS   FW4252184    2,100    5,000    2,100    3,400    2,700    4,100    3,233   19,400

100105518   020165993   WALGREENS #12087     DSD       SURPRISE      AZ   85379   WALGREENS   FW4260484    3,000    3,800    4,800    4,900    7,600    4,500    4,767   28,600

100106778   019183749   WALGREENS #015471    DSD       WHEATON       IL   60187   WALGREENS   FW4260496    4,500    5,300    6,600    4,500    6,700    5,500    5,517   33,100
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100106777   018404129   WALGREENS #015402    DSD             MINDEN         LA   71055   WALGREENS     FW4265054    1,300    6,500     7,600    6,800    9,600    7,700    6,583    39,500

100106783   041153999   WALGREENS #012846    DSD            LANDOVER        MD   20785   WALGREENS     FW4268555    2,100    2,800     2,100    1,660    3,100    3,800    2,593    15,560

100105561   004102343   WALGREENS #15104       DSD         LARCHMONT        NY   10538   WALGREENS     FW4273152     120     1,060      620      590     1,000    1,600     832      4,990

100106782   023153346   WALGREENS #015558    DSD           ROBBINSVILLE     NJ   08691   WALGREENS     FW4273304    1,190    1,330     1,500    1,190    2,400    2,830    1,740    10,440

100107254   020166371   WALGREEN'S #13927     DSD          LAS CRUCES       NM   88011   WALGREENS     FW4275764    7,700    9,500     8,500   10,800   11,400    9,500    9,567    57,400

100106784   023153353   WALGREENS #013864    DSD              WAYNE         NJ   07470   WALGREENS     FW4280549     200      700       700               100      200      380      1,900

100107704   049196188   WALGREENS #15650       DSD          ANN ARBOR       MI   48104   WALGREENS     FW4282860    1,000               500     1,100    1,000    1,100     940      4,700

100107266   041154211   WALGREEN'S #15980    DSD           HAGERSTOWN       MD   21742   WALGREENS     FW4295704    6,000    6,000     5,700    8,300    8,100    7,800    6,983    41,900

100107265   041154203   WALGREEN'S #15979    DSD           HAGERSTOWN       MD   21742   WALGREENS     FW4295730    2,600    2,300     2,200    3,300    2,200    3,500    2,683    16,100

100107259   041154195   WALGREEN'S #15978                  HAGERSTOWN       MD   21740   WALGREENS     FW4295778    2,500    3,100     2,000    4,200    4,000    3,000    3,133    18,800

100107787   037134833   WARM SPRINGS REHAB VICTORIA          VICTORIA       TX   77904    HOSPITAL     FW4306898     200      200       300      800      680      340      420      2,520

100107745   046059600   WALGREENS #15495     DSD           THE VILLAGES     FL   32163   WALGREENS     FW4316178     100               4,100    6,100    5,700    3,900    3,980    19,900

100106786   037134478   WALGREENS #015570    DSD             SLIDELL        LA   70458   WALGREENS     FW4316180              800      4,800    7,400    9,300    3,700    5,200    26,000

100107967   008116921   WALGREENS #15331                  SAN FRANCISCO     CA   94143   WALGREENS     FW4321953    4,800    4,100     3,100    6,700    9,300    6,000    5,667    34,000

100107746   052224287   WALGREENS #13937     DSD             HOOVER         AL   35244   WALGREENS     FW4324858   12,300   10,100    10,000   11,100    6,800    9,500    9,967    59,800

100107158   046059535   PALMS OF PASADENA HOSPITAL       SAINT PETERSBURG   FL   33707    HOSPITAL     FW4325331     200      450       600      600      820      320      498      2,990

100107755   021174409   WALGREENS #15647       DSD          SIOUX CITY      IA   51104   WALGREENS     FW4328818    4,100    4,500     6,300    8,000    9,100    6,000    6,333    38,000

100107748   008116798   WALGREENS #15602     DSD           SACRAMENTO       CA   95838   WALGREENS     FW4328894    9,000    8,700    11,100    8,500    8,700   12,100    9,683    58,100

100107757   024114132   WALGREENS #12881       DSD         LOS ANGELES      CA   90013   WALGREENS     FW4329000    5,500    6,700     6,700    6,000    9,200    5,800    6,650    39,900

100107749   032152553   WALGREENS #15404     DSD            EDMONDS         WA   98020   WALGREENS     FW4336295    1,600    2,300     2,060    1,600    2,200    1,300    1,843    11,060

100107127   046059527   MEMORIAL HOSPITAL OF TAMPA            TAMPA         FL   33609    HOSPITAL     FW4338390     450      500       450      900     1,300     200      633      3,800

100107972   017098517   WALGREENS #15290       DSD            OGDEN         UT   84404   WALGREENS     FW4344571    8,000   10,000     8,500    9,700   14,000    6,000    9,367    56,200

100107756   025092098   WALGREENS #15680       DSD         HUTCHINSON       MN   55350   WALGREENS     FW4351843    3,500    4,100     3,500    3,000    3,000    3,100    3,367    20,200

100107734   040121376   WALGREENS #15913                     ALBANY         GA   31705   WALGREENS     FW4369282              (100)              500               500      300       900

100107978   026004622   WALGREENS #15115       DSD           WAILUKU        HI   96793   WALGREENS     FW4370514    2,600    3,000     3,000    3,600    8,000    5,000    4,200    25,200

100108922   012113001   WALGREENS #12862                   VICTORVILLE      CA   92394   WALGREENS     FW4373825   10,500   11,000    12,000   17,300   15,600   15,400   13,633    81,800

100108916   037135111   WALGREENS #15586                 COLLEGE STATION    TX   77845   WALGREENS     FW4373952     100      100      4,300    7,200    7,000    6,300    4,167    25,000

100107974   041154294   WALGREENS #15130       DSD        COCKEYSVILLE      MD   21030   WALGREENS     FW4381074    2,700    2,100     3,100    4,500    2,500    3,500    3,067    18,400

100107975   037134957   WALGREENS #15587       DSD           FRANKLIN       LA   70538   WALGREENS     FW4385488                                6,000   10,000    6,500    7,500    22,500

100109982   040122218   ASC EMORY AMB CTR DUNWOODY          DUNWOODY        GA   30338    HOSPITAL     FW4390390                        100                                 100       100

100108917   018404699   WALGREENS #13118                   FAYETTEVILLE     AR   72704   WALGREENS     FW4399057     300      700      7,700    8,100    8,500    7,100    5,400    32,400

100106780   041153981   WALGREENS #013970    DSD            ANNANDALE       VA   22003   WALGREENS     FW4401535    2,200    1,300      800     2,390    3,300    2,000    1,998    11,990

100107971   052224337   WALGREENS #15935                   BIRMINGHAM       AL   35213   WALGREENS     FW4407094   16,800   22,300    19,100   21,000   21,000   19,200   19,900   119,400

100109855   049197145   WEST MICHIGAN CNCR CR RET PHCY      KALAMAZOO       MI   49007   INDEPENDENT   FW4409199    2,100    3,600     3,400    5,000    9,000    4,000    4,517    27,100

100108920   018404707   WALGREENS #15621                   SAN ANTONIO      TX   78257   WALGREENS     FW4419164     600     1,400     2,520    4,800    7,300    5,000    3,603    21,620

100108923   019186239   WALGREENS #15460                    OAK LAWN        IL   60453   WALGREENS     FW4426842   14,600   18,700    13,500   15,500   25,800   18,000   17,683   106,100

100108921   046059873   WALGREENS #15209                 WEST PALM BEACH    FL   33405   WALGREENS     FW4431475              100       100      500     2,700    2,100    1,100     5,500

100108919   037135129   WALGREENS #15546                      HOUMA         LA   70363   WALGREENS     FW4437314     700     1,600     6,700   14,600   13,400   21,400    9,733    58,400

100108885   041154427   WALGREENS # 016199                  BALTIMORE       MD   21229   WALGREENS     FW4438328    1,000     900      1,000     500     2,000     500      983      5,900

100108881   041154385   WALGREENS # 016186                  BALTIMORE       MD   21204   WALGREENS     FW4438366    3,400    2,000     2,000    2,500    3,100    3,100    2,683    16,100

100108883   041154401   WALGREENS # 016191                  BALTIMORE       MD   21215   WALGREENS     FW4438417    1,400     900      2,800    1,100    2,600    1,500    1,717    10,300

100107968   023153858   WALGREENS #15393                   EAST MEADOW      NY   11554   WALGREENS     FW4438455              500                                           500       500

100108888   041154443   WALGREENS # 016196                REISTERSTOWN      MD   21136   WALGREENS     FW4451869    2,600    2,560     3,100    3,260    2,700    2,000    2,703    16,220

100108886   023159673   WALGREENS # 016198                   CHESTER        PA   19013   WALGREENS     FW4452037    2,000    3,400     5,000    3,000    4,100    1,600    3,183    19,100
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100108884   041154419   WALGREENS # 016197                   TOWSON         MD   21204    WALGREENS       FW4452099    3,700    2,000    2,500    3,600     4,000    6,000    3,633     21,800

100108887   041154435   WALGREENS # 016192                  BALTIMORE       MD   21208    WALGREENS       FW4453065    2,600     700     1,600    1,500     2,000    2,500    1,817     10,900

100109589   026004648   WALGREENS #16100                    HONOLULU        HI   96817    WALGREENS       FW4465767    4,700    4,800    3,600    6,900     5,900    3,100    4,833     29,000

100109777   017098608   WALGREENS #15623                     KEARNS         UT   84118    WALGREENS       FW4487890    3,500    4,500    6,500    6,500     8,500    5,600    5,850     35,100

100108882   041154393   WALGREENS # 016190                  BALTIMORE       MD   21202    WALGREENS       FW4494427    7,200    3,500    3,400    6,000     6,000    7,500    5,600     33,600

100109774   041154633   WALGREENS #15475                    TARBORO         NC   27886    WALGREENS       FW4495455    1,500    2,500    1,500    2,000     4,500    1,700    2,283     13,700

100108015   003002477   WALGREENS #10298                     ISABELA        PR   00662    WALGREENS       FW4504975     200                        100                         150        300

100108880   041154377   WALGREENS # 016188                  BALTIMORE       MD   21223    WALGREENS       FW4509519    1,600    2,100    1,700    2,100     1,200    1,600    1,717     10,300

100108013   017098533   WALGREENS #15333       DSD          HEPHZIBAH       GA   30815    WALGREENS       FW4509696    4,100    4,500    4,000    5,000     7,000    4,000    4,767     28,600

100109476   040121731   WALGREENS #15611       DSD          SAVANNAH        GA   31404    WALGREENS       FW4513570    2,000    3,100    3,000    5,400     6,200    4,000    3,950     23,700

100109962   037135913   WALGREENS #15542       DSD          NEW CANEY       TX   77357    WALGREENS       FW4533192    4,600    9,300   16,300   18,000     9,800   10,600   11,433     68,600

100109475   041154559   WALGREENS #15445       DSD       FREDERICKSBURG     VA   22405    WALGREENS       FW4534649    1,300     500     1,560    1,500     3,600    3,100    1,927     11,560

100107973   023153866   WALGREENS #13942       DSD          RICHBORO        PA   18954    WALGREENS       FW4534714    1,300    1,300    1,500     130      1,600     500     1,055      6,330

100109775   041154641   HEALTH SYSTEM PHARMACY #15949      WASHINGTON       DC   20010    WALGREENS       FW4540476                              (1,600)     600       -       (333)    (1,000)

100109961   032152991   WALGREENS #15654       DSD         ANCHORAGE        AK   99507    WALGREENS       FW4540565    3,800    7,000    4,300    6,000     9,300    8,700    6,517     39,100

100109768   018405258   WALGREENS #15620                      PLANO         TX   75023    WALGREENS       FW4548446              200     3,500    4,200     7,600    5,500    4,200     21,000

100102586   046052217   WALGREENS #03099       DSD         FORT MYERS       FL   33907    WALGREENS       FW4552041     600      800     2,200    2,800     3,300    3,500    2,200     13,200

100102952   046054056   WALGREENS #03629       DSD           HUDSON         FL   34667    WALGREENS       FW4552053    4,100    5,700   10,600   15,500    21,300   15,700   12,150     72,900

100102964   046054114   WALGREENS #03836       DSD         PORT RICHEY      FL   34668    WALGREENS       FW4552065    3,700    2,000    3,900    8,100     7,600    5,600    5,150     30,900

100103168   046055277   WALGREENS #04391       DSD         FORT PIERCE      FL   34981    WALGREENS       FW4552077    3,800    1,600    2,100    3,300     3,200    3,100    2,850     17,100

100108915   008117515   WALGREENS #15986                     HILMAR         CA   95324    WALGREENS       FW4586927   10,500   14,000   19,500   12,000    17,600    9,500   13,850     83,100

100109772   018405266   WALGREENS #15158                   MARYSVILLE       WA   98270    WALGREENS       FW4591980    6,300    1,700    4,000    6,030     6,500    3,700    4,705     28,230

100109773   046060012   WALGREENS #13452                   TALLAHASSEE      FL   32301    WALGREENS       FW4593097     300              1,000     100                500      475       1,900

100110408   037136085   WALGREENS #15638 DSD                 TOMBALL        TX   77375    WALGREENS       FW4600955                      7,900    1,000     3,000    3,000    3,725     14,900

100109967   055044909   WALGREENS #15551       DSD         CREEDMOOR        NC   27522    WALGREENS       FW4600981    1,790    2,000     500     1,000     2,400    2,100    1,632      9,790

100109969   019187336   WALGREENS #15916       DSD         FOND DU LAC      WI   54935    WALGREENS       FW4601022    3,400    2,600    3,100    5,000     6,000    4,000    4,017     24,100

100110191   040122333   SELECT SPECIALTY HOSP-NE ATLTA       ATLANTA        GA   30329      HOSPITAL      FW4601414     250      100       50                300               175        700

100109963   052225011   WALGREENS #15906       DSD          MARYVILLE       TN   37804    WALGREENS       FW4602101    3,000    4,700    3,000    8,000     4,000    7,000    4,950     29,700

100109786   041154658   WALGREENS #12359                   ALEXANDRIA       VA   22301    WALGREENS       FW4605486    3,900     300               500                        1,567      4,700

100109966   032153007   WALGREENS #15203       DSD        MAPLE VALLEY      WA   98038    WALGREENS       FW4639932    5,100     400     2,500    3,500     8,500    3,000    3,833     23,000

100110223   021176552   WALGREENS #16250                   SPRINGFIELD      MO   65806    WALGREENS       FW4640276            14,100    6,900    8,400    12,100   10,500   10,400     52,000

100109769   055044875   WALGREENS #15252                      CARY          NC   27518    WALGREENS       FW4643880             3,900     500     1,000     2,600    2,600    2,120     10,600

100110399   032153114   WALGREENS #15675 DSD                  BEND          OR   97701    WALGREENS       FW4644767            10,900    3,500    9,300    14,600    9,600    9,580     47,900

100110515   019188094   WALGREENS #15637       DSD           DE PERE        WI   54115    WALGREENS       FW4647991                      4,200              1,500    3,000    2,900      8,700

100107970   004103200   WALGREENS #15538                   PROVIDENCE       RI   02905    WALGREENS       FW4660533             3,300             1,000              2,100    2,133      6,400

100087167   003091462   WALGREENS #15172                      PONCE         PR   00731    WALGREENS       FW4660634                       200      100                         150        300

100110405   020167023   WALGREENS #15607 DSD                 GRANTS         NM   87020    WALGREENS       FW4700022             3,400    2,500    3,000     3,500    4,000    3,280     16,400

100109971   023161216   WALGREENS #13750       DSD        STATEN ISLAND     NY   10307    WALGREENS       FW4700034             2,600     600      600       500     2,100    1,280      6,400

100110406   024122762   WALGREENS #12720 DSD              SANTA MONICA      CA   90405    WALGREENS       FW4700046             5,300     400     2,500     4,400    7,000    3,920     19,600

100110840   017000244   PIONEER PHARMACY SERVICES            DRAPER         UT   84020   LONG TERM CARE   FW4722042                               1,900     1,000             1,450      2,900

100110681   018405944   WARM SPRINGS REHAB HSP OF KYLE        KYLE          TX   78640      HOSPITAL      FW4734023                       600      600                500      567       1,700

100109968   023161208   WALGREENS #15694       DSD       CAMBRIA HEIGHTS    NY   11411    WALGREENS       FW4743630                      3,300     100       100      100      900       3,600

100110210   049197210   WALGREENS #16097     DSD             TAYLOR         MI   48180    WALGREENS       FW4751827                     41,730   37,730    33,600   41,200   38,565    154,260

100110211   049197228   WALGREENS #16098     DSD         FARMINGTON HILLS   MI   48334    WALGREENS       FW4751889                     12,200    7,400     8,100    3,500    7,800     31,200
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100110879   037000293   WENDLING'S PHARMACY, INC SF      CHALMETTE      LA   70043    INDEPENDENT     FW4756031                                 2,300    2,500    4,800    3,200    9,600

100110635   021176842   HEALTH SYSTEM PHCY #16073        KANSAS CITY    MO   64132    WALGREENS       FW4765105                       4,700      600     7,600    7,500    5,100   20,400

100109972   003002535   WALGREENS #13845         DSD      DORADO        PR   00646    WALGREENS       FW4765345                       2,500                                2,500    2,500

100110742   037136242   WALGREENS #15988                   SLIDELL      LA   70458    WALGREENS       FW4765460                       4,200     8,200             1,500    4,633   13,900

100110518   040122713   WALGREENS #15592         DSD     GROVETOWN      GA   30813    WALGREENS       FW4778645                       3,100     3,200    3,200    4,000    3,375   13,500

100110521   032153155   WALGREENS #15674         DSD        BEND        OR   97701    WALGREENS       FW4782733                       4,700     1,500    3,500    4,000    3,425   13,700

100110520   032153148   WALGREENS #15403         DSD     BEAVERTON      OR   97007    WALGREENS       FW4782757                       5,230      500     4,500    2,000    3,058   12,230

100105873   020166074   WALGREENS #15929 (HSRX) DSD     ALBUQUERQUE     NM   87106    WALGREENS       FW4782810                       6,600              1,500    3,500    3,867   11,600

100110514   008118703   WALGREENS #15666         DSD      ALAMEDA       CA   94501    WALGREENS       FW4790083                      10,900              3,700    2,500    5,700   17,100

100110519   055045393   WALGREENS #15392         DSD    HUNTERSVILLE    NC   28078    WALGREENS       FW4793027                                 4,600    2,800    3,500    3,633   10,900

100110741   019188193   WALGREENS #15667      DSD         CHICAGO       IL   60603    WALGREENS       FW4801595                       4,900               500     1,000    2,133    6,400

100110982   026001809   WAILEA PHARMACY LLC                WAILEA       HI   96753    INDEPENDENT     FW4804577                                          2,500    4,000    3,250    6,500

100109973   003002543   WALGREENS #15543         DSD     AGUADILLA      PR   00603    WALGREENS       FW4807016                       1,600      100                        850     1,700

100110757   032153221   WALGREENS #15974       DSD      CENTRAL POINT   OR   97502    WALGREENS       FW4811267                                 6,600    7,000    9,700    7,767   23,300

100111098   026001932   WILCOX MEM HSP OP PHCY              LIHUE       HI   96766      HOSPITAL      FW4815037                                                    800      800      800

100110756   049197426   WALGREENS #15535       DSD        HASTINGS      MI   49058    WALGREENS       FW4823084                                14,200   14,100   18,000   15,433   46,300

100110174   032153049   WEST MAIN PHARMACY                MEDFORD       OR   97501    INDEPENDENT     FW4823731                                         24,900   18,600   21,750   43,500

100110755   024122978   WALGREENS #15930       DSD      SAN FERNANDO    CA   91340    WALGREENS       FW4833035                                 4,200    7,000    6,000    5,733   17,200

100111083   037001918   WALGREENS #16030       DSD        PORTLAND      TX   78374    WALGREENS       FW4842286                                          5,500    2,600    4,050    8,100

100110517   023161737   WALGREENS #15368         DSD      BAYONNE       NJ   07002    WALGREENS       FW4855144                                 2,000     100      400      833     2,500

100110523   023161745   HEALTH SYSTEM PHCY #15581         YONKERS       NY   10710    WALGREENS       FW4858188                                 1,600    1,500    6,400    3,167    9,500

100087210   003092395   WALGREENS #10161                   SALINAS      PR   00751    WALGREENS       FW4874726                        500       500                        500     1,000

100111080   019001914   HEALTH SYSTEM PHARMACY #15971     CHICAGO       IL   60611    WALGREENS       FW4887141                                          4,300    6,600    5,450   10,900

100110516   023161729   WALGREENS #15097         DSD     BROOKLYN       NY   11215    WALGREENS       FW4891873                                                    900      900      900

100111388   032000387   WALGREENS #15653   DSD           ANCHORAGE      AK   99518    WALGREENS       FW4891948                                                   3,700    3,700    3,700

100111496   032000500   WALGREENS #16024 DSD             FAIRBANKS      AK   99709    WALGREENS       FW4891950                                                   5,600    5,600    5,600

100111085   010001920   WALGREENS #15467       DSD       MASSILLON      OH   44647    WALGREENS       FW4903589                                                   9,000    9,000    9,000

100110758   023162222   WALGREENS #15937       DSD        READING       PA   19607    WALGREENS       FW4903591                                                   2,600    2,600    2,600

100111086   024001921   WALGREENS #15469       DSD        GLENDALE      CA   91207    WALGREENS       FW4903642                                                   4,800    4,800    4,800

100111337   037002191   WESTPARK SPRINGS (IPS)            RICHMOND      TX   77407   LONG TERM CARE   FW4907272                                                    100      100      100

100110759   004103820   WALGREENS #15468       DSD         BOSTON       MA   02111    WALGREENS       FW4907602                                                   1,700    1,700    1,700

100111084   041001919   WALGREENS #15609       DSD      CHESAPEAKE      VA   23322    WALGREENS       FW4911295                                          1,000    3,100    2,050    4,100

100098947   019177170   WALGREENS #15992         DSD      CHICAGO       IL   60614    WALGREENS       FW4912362    3,500     4,300    3,400     3,200    1,700    3,600    3,283   19,700

100111389   018000388   WALGREENS #15681   DSD              KATY        TX   77494    WALGREENS       FW4915635                                                   3,600    3,600    3,600

100111089   018001924   WALGREENS #16021       DSD      BENTONVILLE     AR   72761    WALGREENS       FW4915647                                                   6,400    6,400    6,400

100111390   019000389   WALGREENS #16085 DSD              CHICAGO       IL   60601    WALGREENS       FW4935548                                                   1,500    1,500    1,500

100111386   037000385   WALGREENS #13875   DSD             BAKER        LA   70714    WALGREENS       FW4936855                                                   7,300    7,300    7,300

100091280   019158402   XPRESS PHARMACY, INC CPA          OAK LAWN      IL   60453    INDEPENDENT     FX3426360     700      2,000    3,100              2,500    1,600    1,980    9,900

100096412   046043976   XUBEX COMMUNITY PHARMACY        CASSELBERRY     FL   32707    INDEPENDENT     FX3643081               200                100      100      600      250     1,000

100097638   044216564   WALGREENS #15735         DSD      BELMONT       MS   38827    WALGREENS       FY0643963   15,100    15,900   14,700    14,300   17,700   12,200   14,983   89,900

100066158   025143040   YELLOW RIVER PHARMACY,INC CPA     WEBSTER       WI   54893    INDEPENDENT     FY0648420   12,600    15,100   13,700    13,000    8,000   13,300   12,617   75,700

100075536   056099119   YOUR DRUG STORE                 PHILADELPHIA    PA   19139    INDEPENDENT     FY1085996                        500                                  500      500

100059578   012171447   YOUR DRUG STORE          VC      VICTORVILLE    CA   92395    INDEPENDENT     FY2357526     200       100      (100)    2,000   19,500     100     3,633   21,800

100087469   012074500   YOUR DRUG STORE          RT        RIALTO       CA   92376    INDEPENDENT     FY2942488     (500)     100                        2,500              700     2,100
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100088301   018201764   YOUR RX PHARMACY                     GRAPEVINE       TX   76051      INDEPENDENT       FY2957782     2,000    2,700     2,500      3,700     1,500      2,600     2,500     15,000

100103988   024032979   YASMIN'S PHARMACY                  BEVERLY HILLS     CA   90211      INDEPENDENT       FY4023622     1,000     500        -                  1,600                 775       3,100

100107023   052223990   YAZOO DRUGS           SF            YAZOO CITY       MS   39194      INDEPENDENT       FY4200349      600     1,100     1,000      1,500     1,500      5,500     1,867     11,200

100107370   032152421   YAKIMA NEIGHBRHD HLT SERV 340B       SUNNYSIDE       WA   98944     PHS 340B CLINIC    FY4233817      500      500       500                  400        200       420       2,100

100107371   032152439   YAKIMA NEIGHBORHOOD HLT/EMP          SUNNYSIDE       WA   98944        ALT SITE        FY4233817      100      200       100        200                            150        600

100107420   012112706   YOUR DRUG STORE            RC    RANCHO CUCAMONGA    CA   91730      INDEPENDENT       FY4244810     1,100               100       1,100     1,000       800       820       4,100

100110538   037136143   YOAKUM DISCOUNT PHARMACY 2            YOAKUM         TX   77995      INDEPENDENT       FY4567648                        1,800      1,700     2,100      3,200     2,200      8,800

100109754   049197095   ZMC PHARMACY          SF             ROYAL OAK       MI   48067      INDEPENDENT       FZ0899445     4,000    3,600      500       6,000    10,760      5,200     5,010     30,060

100084919   046015735   THE MEDICINE SHOPPE PHARMACY         KISSIMMEE       FL   34741      INDEPENDENT       FZ2430281     1,000    2,800      500       1,000     8,500       500      2,383     14,300

100084917   046015727   THE MEDICINE SHOPPE PHARMACY      DAYTONA BEACH      FL   32114      INDEPENDENT       FZ2433655    10,300    7,100     7,100      6,900    12,500     10,500     9,067     54,400

100092293   023136630   ZACK'S PHARMACY & GIFTS              BELVIDERE       NJ   07823      INDEPENDENT       FZ3015383     1,400     700       300        700      1,100       400       767       4,600

100056764   056012252   HANNAS PHARMAC SUPPLY INC           WILMINGTON       DE   19805      ALT CHANNEL       PH0028399      100                                                100       100        200

100053890   012091298   HAL'S MED/DENT SUPPLY                SAN DIEGO       CA   92104      ALT CHANNEL       PH0187117              1,200     1,400     10,200      700       1,100     2,920     14,600

100070223   037109629   LOUISIANA WHOLESALE DRUG CO.          SUNSET         LA   70584      INDEPENDENT       PL0184933              3,600      100     238,460     3,420       240     49,164    245,820

100058189   041065250   USNH GTMO            DDNV            NORFOLK         VA   23511   HOSPITAL (FEDERAL)   PM0059661              1,600                                               1,600      1,600

100053164   024072256   WESTERN MEDICAL SUPPLY, INC           ARCADIA        CA   91006      ALT CHANNEL       PW0000202               600      3,540      7,700     4,800      9,200     5,168     25,840

100053935   037081430   AMERICAN MEDICINE INC              BATON ROUGE       LA   70814        HOSPITAL        RA0163484      200      100       300                                       200        600

100074035   046011973   ASD SPECIALTY HEALTHCARE P/ON         BROOKS         KY   40109   WHOLESALE INTERCO    RA0219798     2,600    4,300     7,800      1,900      420       5,380     3,733     22,400

100076833   046012518   ASD SPEC HLTH ONC SUP P/ON            BROOKS         KY   40109   WHOLESALE INTERCO    RA0219798     1,200    4,500     2,500      6,700     4,300       500      3,283     19,700

100059919   044088468   ASD SPEC HLTHCARE (LOUISVILLE)        BROOKS         KY   40109   WHOLESALE INTERCO    RA0219798               300                                                 300        300

100063904   049099945   ABC CALL TRACKING                   WILLIAMSTON      MI   48895      INDEPENDENT       RA0290736                                    (100)   (1,000)                (550)    (1,100)

100060423   046126680   ATLANTIC BIOLOGICAL WHSLER PC5         MIAMI         FL   33179      ALT CHANNEL       RA0301565                        2,000      1,000     4,000                2,333      7,000

100052307   010041582   AMSC UNSOLICITED MORGUE ACCT.        COLUMBUS        OH   43219   WHOLESALE INTERCO    RA0314562                         (100)                                     (100)      (100)

100055477   046005777   AMATHEON, INC.        PC5              MIAMI         FL   33155      ALT CHANNEL       RA0367551    27,000   30,100    26,600     47,500    39,120     36,200    34,420    206,520

100056488   018029942   AFMLO/AIR FORCE MED                 SAN ANTONIO      TX   78226   HOSPITAL (FEDERAL)   RA0443363               500      1,100                                      800       1,600

100076331   023012153   BELLCO DRUG CORP.                 NORTH AMITYVILLE   NY   11701   WHOLESALE INTERCO    RB0363630     2,400                                                        2,400      2,400

100068628   023111765   CALIGOR RX INC(EAST SIDE)(Z)         NEW YORK        NY   10028      INDEPENDENT       RC0281876      400                                                          400        400

100076570   055000802   WRM (CRD) CSDC CHARLESTON AFB    NORTH CHARLESTON    SC   29418   HOSPITAL (FEDERAL)   RC0374734     1,400              3,800      3,700                          2,967      8,900

100088718   023134189   CALIGOR RX INC                       SECAUCUS        NJ   07094      ALT CHANNEL       RC0433057                                    100                            100        100

100070032   004080051   G MEDICAL DBA PHARMACEUTICS(Z)       NEEDHAM         MA   02494      ALT CHANNEL       RG0365165      200      100       300                              80       170        680

100061576   019094698   HENRY SCHEIN INC                    INDIANAPOLIS     IN   46268      ALT CHANNEL       RH0162494      100      300       100                 1,440       (240)     340       1,700

100057546   024122028   PHARMA PAC                         GROVER BEACH      CA   93433      ALT CHANNEL       RH0425884    36,000                                                       36,000     36,000

100054210   038044503   KAISER PERMANENTE PHCY WAREHSE        AURORA         CO   80011      HEALTH PLAN       RK0297920                                             9,000    115,200    62,100    124,200

100083101   049179259   LIFE CARE SUPPLIES                COMMERCE TWP       MI   48390      ALT CHANNEL       RL0406137     1,000               500       1,000                           833       2,500

100087377   046039107   MWI VETERINARY SUPP / PED             VISALIA        CA   93291      ALT CHANNEL       RM0183094    20,000   50,000    40,000     20,000                         32,500    130,000

100073858   055090209   MEDICAL LOG CO REC. OFFICER        CAMP LEJEUNE      NC   28542   HOSPITAL (FEDERAL)   RM0202793              1,200                                               1,200      1,200

100054632   012104695   MCGUFF COMPANY INC.                  SANTA ANA       CA   92704      ALT CHANNEL       RM0203721      100     1,700                 700                            833       2,500

100061117   044065045   MOHAWK, INC                          LOUISVILLE      KY   40223      ALT CHANNEL       RM0221349     3,700    5,400     1,100      5,300     1,000                3,300     16,500

100052830   026064758   MEDPHARM 14                           DEDEDO         GU   96929      INDEPENDENT       RM0249400              1,100                                               1,100      1,100

100088204   046039701   MWI VETERINARY SUPP PED/ON        ELIZABETHTOWN      PA   17022      ALT CHANNEL       RM0310540     1,700   21,600    10,000     10,000                         10,825     43,300

100071996   046033050   MASTERS SPECIALITY PHARMA              DAVIE         FL   33317      ALT CHANNEL       RM0348094                                              200                  200        200

100074048   046133009   MWI VETERINARY SUPP PED/ON PCO     EDWARDSVILLE      KS   66111      ALT CHANNEL       RM0357841   126,100   55,000   118,900     80,000      (300)              75,940    379,700

100083738   020150144   MEDICAL PURCHASING SOLUTIONS        SCOTTSDALE       AZ   85260      ALT CHANNEL       RM0384088     1,300     600      1,800      3,000      200                 1,380      6,900

100071263   056090266   MYODERM(X)                          NORRISTOWN       PA   19401      ALT CHANNEL       RM0387818               300                                                 300        300
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100056737   046026856   MEDPOINT , INC WHOLESALER PC5        MIAMI       FL   33186      ALT CHANNEL       RM0397679   112,700   121,600   119,400   104,500            40,000   99,640   498,200

100068559   052146373   NAPHCARE INC DISTRIBUTOR           VESTAVIA      AL   35216    LONG TERM CARE      RN0349969     3,000               3,700      700                       2,467     7,400

100053342   024048678   NATIONWIDE MEDICAL/SURGICAL        VAN NUYS      CA   91405      ALT CHANNEL       RN0371269     1,500     4,700     3,200    16,700    3,600   13,000    7,117    42,700

100055114   032061341   ORION MEDICAL SUPPLY              VANCOUVER      WA   98682      ALT CHANNEL       RO0207870      100                 100       100      200      200      140       700

100061692   023024794   PARK SURGICAL CO.INC(X)            BROOKLYN      NY   11219      ALT CHANNEL       RP0159548                100                                            100       100

100076116   008110395   PRESCRIPT PHARMACEUTICALS         PLEASANTON     CA   94566      ALT CHANNEL       RP0177798     1,000               3,000              1,000    3,000    2,000     8,000

100074867   052147579   PHYSICIANS PHAMACUTL CORP SF       KNOXVILLE     TN   37932      ALT CHANNEL       RP0359528    52,700    39,500    45,600    56,300   54,400   61,000   51,583   309,500

100070934   018177790   PHARMACORR, LLC DIST             OKLAHOMA CITY   OK   73149    LONG TERM CARE      RP0384824    37,600    36,000    22,800    22,800    2,600    3,400   20,867   125,200

100086889   019147223   PHARMACORR, LLC (INDY DIST)      INDIANAPOLIS    IN   46278    LONG TERM CARE      RP0413207    20,600    21,900    21,700    10,850    1,250            15,260    76,300

100064359   023096560   R&H PHARMACY INC(X)               CEDARHURST     NY   11516     INDEPENDENT        RR0349743                          400                                  400       400

100054090   012037952   STAT PHARMACEUTICALS, INC           SANTEE       CA   92071      ALT CHANNEL       RS0213481     2,500                                                    2,500     2,500

100107040   004102806   SAFECOR(SENTARA RX)                WOBURN        MA   01801       HOSPITAL         RS0383543     3,600    19,100     3,500                                8,733    26,200

100084070   004065037   SAFECOR HEALTH(JW NON ROBOT)       WOBURN        MA   01801       HOSPITAL         RS0383543                                   1,000                      1,000     1,000

100109798   023161042   SAFECOR HLTH (CHESTER CTY HOS)     WOBURN        MA   01801       HOSPITAL         RS0383543                                    600                        600       600

100083989   004065011   SAFECOR HEALTH(RETREAT)            WOBURN        MA   01801       HOSPITAL         RS0383543                          100                                  100       100

100085282   004068783   SAFECOR HLTH(MTSI OUTSR QUEENS     WOBURN        MA   01801       HOSPITAL         RS0383543      100                                                      100       100

100085004   010197566   SAFECOR HLTH (GRADY MEM)          COLUMBUS       OH   43204       HOSPITAL         RS0409424      200       600       200       900                        475      1,900

100100678   010233940   SAFECOR HLTH (DOCTORS WAC)        COLUMBUS       OH   43204   PHS 340B HOSPITAL    RS0409424                                    900                        900       900

100086740   010213371   SAFECOR HLTH(ST JOHN MED CTR)     COLUMBUS       OH   43204       HOSPITAL         RS0409424      500                                                      500       500

100085028   010197921   SAFECOR HLTH (RIVERSIDE NR)       COLUMBUS       OH   43204       HOSPITAL         RS0409424                                             300               300       300

100093187   010226670   SAFECOR HLTH(SPARROW IONIA)       COLUMBUS       OH   43204       HOSPITAL         RS0409424                200                                            200       200

100109378   010237818   SAFECOR HEALTH (DEL AMO HOSP)     COLUMBUS       OH   43204       HOSPITAL         RS0409424                          200                                  200       200

100076721   012080291   SUNSET PHARMACEUTICALS INC         CARLSBAD      CA   92010      ALT CHANNEL       RS0431039      900       500       200      1,200      80      280      527      3,160

100106851   020166272   ST MARY'S MED PARK PHCY           ORO VALLEY     AZ   85737      HEALTH PLAN       RS0452968    26,000     6,500    21,000    10,000            13,500   15,400    77,000

100058492   044050856   TWO RIVERS MEDICAL-BRIDGETON     SAINT CHARLES   MO   63301      ALT CHANNEL       RT0221399      500       100       100                                  233       700

100104611   023152215   UNIVERSAL MARINE MED SUPP INT    STATEN ISLAND   NY   10305      ALT CHANNEL       RU0445874      100                           100                        100       200

100063242   046095307   45TH MEDICAL GROUP/SGSM           PATRICK AFB    FL   32925   HOSPITAL (FEDERAL)   RU0468466    24,200    22,700    21,400    23,000    9,200   11,400   18,650   111,900
